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        COMPOSITE EXHIBIT E
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    BATTERY FITMENT GUIDE 2018




                                                                               Costco_001456
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How to Use This Fitment Guide

Choosing Your Battery Is as Easy as                                      1 • 2 • 3
1   Identify the make, model and year of your vehicle
    (example: 2013 Ford F-150 Pickup)


2   Find your vehicle in the application guide
                                                             Example

                                                                           BCI Group Size       Original     Fitment
           Year          Engine                        Options                 (notes)         Equipment      Code
                                                                                               CCA/Rating
         Ford F-150
         2015        V6/2.7L       King Ranch, Lariat, Platinum          94R 33                  800
         2015        V6/3.5L       Ex King Ranch, Lariat, Platinum       48                      610           29
         2015        V6/3.5L       King Ranch, Lariat, Platinum          94R                     730           30
         2015        V8/5.0L       Ex King Ranch, Lariat, Platinum       48                      610           29
         2015        V8/5.0L       King Ranch, Lariat, Platinum          94R                     730           30
         2014-11     V6/3.5L                                             65                      750            4
         2014-11     V6/3.7L                                             65                      750            4
         2014-11     V8/5.0L                                             65                      750            4
         2014-10     V8/6.2L                                             65                      750            4
         2010-97     V8/4.6L                                             59                      540           34
         2010-97     V8/5.4L                                             59                      540           34
         2010-08     V8/4.6L       Opt                                   65                      650            4
         2010-08     V8/5.4L       Opt                                   65                      650            4
         2008-05     V6/4.2L                                             59                      540           34


3   Use the fitment code specified in the application guide to find your
    battery on the rack. The fitment code is located in the following places:
                  Front label—right side                                                    Sign on shelf


                             AUTOMOTIVE                                           AUTOMOTIVE BATTERY


                                           4
                                     FITMENT CODE
                                                                                                            Group Size 65



                                                                         4
                                                                       FITMENT CODE
                                                                                                            Item # 850259
                                                                                                   Cold Cranking Amps 850
                                     Group Size   65
                                                                                                       See Application Guide for Fitment
                                     Item #   850259
                                     CCA         850

                                   42-MONTH
                                   Free Replacement



 For a complete list of applications, including vintage, visit Costco.com. Click on Shop All
 Departments / Tires & Auto / Interstate Batteries to find a battery for your car or truck.

                                                                                                                                           Costco_001457
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    Table of Contents                                                                                           1

                    How to Use This Fitment Guide                            Inside Front Cover
                    Battery Basics                                                                     2
                    Battery Specifications                                                             3
                    BCI Assembly Figures                                                               4
                    Group Size Dimensions                                                              5

                    Special Installation Instructions – Imports                                        6

                    Abbreviations                                                                      7
                    Glossary                                                                           7
                    Safety Information                                                                 8
                    Proposition 65 Warning                                                        10
                    Automotive/Light Truck Battery Applications                                   11
                    Footnotes                                                                     88
                    Warranty                                                  Inside Back Cover




                    The replacement battery information in this catalog has been obtained
                    from Battery Council International (“BCI”), original equipment (“OE”)
                    manufacturers and other industry sources. Users are cautioned that the
                    information in this catalog was the most current information provided at
                    the time of publication. However, the information is subject to change upon
                    notice from OE manufacturers or field experience. Therefore, users should
                    use the most current edition of the Battery Replacement Data Book.

                    While Interstate Batteries and BCI have made every effort to accurately
                    catalog the replacement battery information in this catalog, they disclaim
                    any liability, expressed or implied, for the accuracy of this information or for
                    damages as a consequence of using or misusing this information. Since
                    some OE manufacturers do not provide complete replacement battery data,
                    an estimate for replacement battery size is given for end user guidance.
                    For specific replacement battery size information, see the OE manufacturer.




                                                                                                           Costco_001458
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2                                                                             Battery Basics

How a Battery Works                                   2. POWER What are the Cold Cranking Amp
A battery stores energy in chemical form that         requirements of your vehicle? The power a
can be released on demand as electricity. This        battery can deliver decreases as the temperature
electrical power is used by the car’s ignition        gets colder. Batteries are rated at both 32° F
system for cranking the engine. The car’s battery     (Cranking Amps/CA) and 0° F (Cold Cranking
also may power the lights and other accessories.      Amps/CCA). Using either rating for comparison,
Should the alternator or fan belt fail, the battery   the higher the number, the greater the starting
might also need to power the vehicle’s entire         power of the battery.
electrical system for a short period of time.
                                                      3. WARRANTY Automotive batteries are backed
Three Things to Consider                              by an exclusive warranty. The warranty is posted
When Buying a Battery                                 at the battery rack display. You may also visit the
1. SIZE What are the dimensions of your               Tire Sales Desk for details.
original equipment battery? The Battery Council
International (BCI) uses a two-digit number to
identify the height, length and width shape
of original equipment sizes.


                    As the temperature drops, more cranking power is required to start
                       a vehicle’s engine, but a battery’s available power decreases.



                                                                              AS THE
                                                                          TEMPERATURE
                                                                           DECREASES,
                                                                           THE ENGINE
                                                                            DEMANDS
                                                                              MORE
                                                                            CRANKING
                                                                             POWER.




                                                                                                            Costco_001459
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    Battery Specifications                                                                                                                                       3

                                                         Cold                                                       Overall Dimensions* (inches)
         BCI           Fitment                                          Cranking        Reserve
                                     Item Number       Cranking                                    Amp Hours                                            Footnotes
      Group Size        Code                                             Amps           Capacity               Length          Width          Height
                                                        Amps
                                                                              Interstate Automotive
           35              3            850242            640                800          100                     9             6 7⁄8          8 3⁄4
           65              4            850259            850               1000          150                    12             7 1⁄2          7 1⁄2
           75              5            850261            650               875            95                     9             7 1⁄4          7 5⁄8
           25              6           1255390            550               690           100                     9             6 7⁄8          8 3⁄4
           78              7            850263            800               1000          110                   10 1⁄4          7 1⁄4          7 3⁄8
           58              8           1255411            550               690            80                    9 1⁄2          7 1⁄4          6 7⁄8
           34              9            850241            800               1000          110                   10 1⁄4          6 7⁄8          7 3⁄4
          51R             11            850251            500                625           85                    9 3⁄8          5 1⁄8          8 7⁄8
         36R              18            850243            650                815          130                   10 3⁄8          7 1⁄4          8 7⁄8
         40R              19            850244            590                740          105                  10 15⁄16         6 7⁄8          6 7⁄8
           51             20            850248            500               625            85                    9 3⁄8          5 1⁄8          8 7⁄8
           24             22            850231            700               875           130                    11             6 7⁄8          8 3⁄4
          24F             23            850232            700                875          130                    11             6 7⁄8          8 3⁄4
         124R             27            850272            700                875          120                   10 3⁄8           7             8 5⁄8
       H5 (47)            28            850275                                                        60 Ah     9 9⁄16           15
                                                                                                                               6 ⁄16           7 1⁄2
       H6 (48)            29           8850276            730                910          115                    11             6 7⁄8          7 1⁄2
       H7 (94R)           30           883482                                                         80 Ah     12 3⁄8          6 7⁄8          7 1⁄2
           86             31            850265            590                810          110                   9 1⁄16          6 7⁄8           8
          96R             32            850269            590                740           95                    9 1⁄2         6 15⁄16          15
                                                                                                                                              6 ⁄16
       H8 (49)            33            850280                                                        90 Ah    13 15⁄16         6 7⁄8          7 1⁄2
           59             34           1131778            590               740           100                  10 1⁄16          7 5⁄8          7 3⁄4
           27             35           1130807            810               1000          140                  12 1⁄16         6 13⁄16         8 7⁄8
          27F             36           1131909            710                890          165                  12 1⁄16         6 13⁄16         8 7⁄8
        90 (T5)           37           1130736            600               750           100                    9 1⁄2          6 7⁄8          6 7⁄8
         26R              38           1131862            540                675           81                   8 3⁄16         6 13⁄16        7 13⁄16
         121R             39           1130801            600                750          100                    9 3⁄8          5 1⁄8          8 7⁄8
          100             40           1131800            800                965          110                   10 1⁄4          7 1⁄4          7 5⁄8
           79             41           1130672            840               1050          140                  12 1⁄16         7 1⁄16          7 3⁄8
                                                                            Interstate Batteries Marine
         24DC             13           850281             550                700          140                   11              6 7⁄8          9 1⁄2      C, D
         27DC             14           850982             600                750          160                  12 3⁄4           6 3⁄4          9 1⁄2      C, D
                                                                    Interstate Batteries Lawn & Garden
          U1              —            850283             230                300          30                    7 1⁄2          5 3⁄16          7 5⁄16
                                                     Interstate Batteries Golf Car (Reserve Capacity Min. @ 75A)
          GC2             —            850284                                             105                  10 5⁄16          7 1⁄8              11
          GC8             —            850984                                             110                  10 3⁄16          7 1⁄8              11
    FOOTNOTES: C = Combination Automotive & Stud Terminal, D = Deep Cycle
    *Dimensions may differ slightly from BCI dimensions.




                                                                                                                                                        Costco_001460
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4                                                                                                             BCI Assembly Figures

           Dimensions (inches)              Assembly
Group
                                              Figure   Voltage
 Size     Length Width Height
                                             Number
   21       8 1⁄8      6 3⁄4      8 9⁄16       10        12
  21R       8 1⁄8      6 3⁄4      8 9⁄16       11        12
  22F       9 3⁄8      6 7⁄8      8 3⁄16       11F       12
 22NF       9 3⁄8      5 1⁄2      8 13⁄16      11F       12
   24      10 15⁄16    6 7⁄8      8 11⁄16      10        12
  24F      10 15⁄16    6 7⁄8      8 11⁄16      11F       12
   25       9 11⁄16    6 7⁄8      8 13⁄16      10        12
   26       8 1⁄2      6 3⁄4      7 3⁄4        10        12
  26R       8 1⁄2      6 3⁄4      7 3⁄4        11        12
   27      12 3⁄4      6 5⁄8      8 13⁄16      10        12
  27F      12 3⁄4      6 5⁄8      8 13⁄16      11F       12
 29NF      13          5 1⁄2      8 15⁄16      11F       12
   34      10 15⁄16    6 7⁄8      7 13⁄16      10        12
   35       9 11⁄16    6 7⁄8      8 13⁄16      11        12
  36R      10 1⁄4      7 3⁄16     8 1⁄8        19        12
  40R      11 3⁄8      6 13⁄16    6 13⁄16      15        12
   41      12 1⁄4      6 7⁄8      6 7⁄8        15        12
   42       9 1⁄2      6 7⁄8      6 7⁄8        15        12
   45       9 3⁄8      5 1⁄2      8 13⁄16      10F       12
   46      10 15⁄16    6 13⁄16    8 11⁄16      10F       12
47 (H5)     9 5⁄8      6 7⁄8      7 1⁄2      24(A,F)     12
48 (H6)    11 3⁄8      6 7⁄8      7 1⁄2        24        12
49 (H8)    14 5⁄16     6 7⁄8      7 1⁄2        24        12
   50      13 1⁄4      5 9⁄16     8 13⁄16      10        12
   51       9 5⁄16     5          8 11⁄16      10        12
  51R       9 5⁄16     5          8 11⁄16      11        12
   56      10 11⁄16    6          8 5⁄16       19        12
   58      10          7 3⁄16     7            26        12
  58R      10          7 3⁄16     7            19        12
   59      10          7 7⁄16     7 5⁄8        21        12
   64      12 1⁄4      6 1⁄4      8 13⁄16      20        12
   65      12          7 7⁄16     7 5⁄8        21        12
   66      12 1⁄16     7 7⁄16     7 11⁄16      13        12
   70       8 11⁄16    6 3⁄4      7 7⁄16       17        12
   74      10 7⁄8      7 1⁄4      8 3⁄8        17        12
   75       9 11⁄16    7 1⁄4      7 1⁄4        17        12
   78      10 15⁄16    7 1⁄4      7 1⁄4        17        12
   79      12 1⁄16     7 1⁄16     7 3⁄8        35        12
   85       9 1⁄8      6 13⁄16    7 13⁄16      11        12
   86       9 1⁄8      6 13⁄16    7 13⁄16      10        12
   92      12 11⁄16    6 15⁄16    6 15⁄16      24        12
  94R      12 7⁄16     6 15⁄16    7 1⁄2        24        12
  95R      15 9⁄16     6 15⁄16    7 1⁄2        24        12
  96R       9 1⁄2      6 13⁄16    6 7⁄8        15        12
  100      10 1⁄4      7 1⁄16     7 3⁄8        35        12
  101      10 1⁄4      7 1⁄16     6 11⁄16      17        12
 121R       8 1⁄4      7          8 1⁄2        19        12
 124R      10 5⁄16     7          8 5⁄8        19        12
  30H      13 1⁄2      6 13⁄16    9 1⁄4        10        12
   31      13          6 13⁄16    9 3⁄8      18(A,T)     12
  31P      13          6 13⁄16    9 3⁄8      18(A,T)     12
  27M      12 7⁄8      6 3⁄4      9 1⁄8        NA        12
  24M      11 1⁄16     6 3⁄4      9 1⁄8        NA        12
 29HM      13          6 3⁄4     10            NA        12
   4D      20          8 3⁄16     9 9⁄16        8        12
   8D      20 3⁄8     10 1⁄8      9 13⁄16       8        12
   3EE     19 1⁄4      4 1⁄4      8 9⁄16        9        12
   3ET     19 1⁄4      4 1⁄4      9 9⁄16        9        12
  4DLT     20          8 3⁄16     7 15⁄16      NA        12
  16TF     16 9⁄16     7 1⁄8     11 1⁄8        10F       12
  17TF     17 1⁄16     6 15⁄16    7 15⁄16      11L       12
   U1       8 1⁄4      5 3⁄16     7 3⁄16      10(X)      12
  U1R       8 1⁄4      5 3⁄16     7 3⁄16      11(X)      12
 U1RT       8 1⁄4      5 3⁄16     7 3⁄16       11        12
34/78DT    11          7 1⁄4      8 1⁄8        NA        12
75/86DT     9 11⁄16    7 1⁄4      8 1⁄8        NA        12
    1       9 1⁄8      7 1⁄8      9 3⁄8         2         6
    2      10 3⁄8      7 1⁄8      9 3⁄8         2         6
    4      12 7⁄8      7          9 3⁄8         2         6
  3EH      19 1⁄4      4 1⁄4      9 9⁄16        5         6
 17HF       7 3⁄8      6 7⁄8      9            2B         6      Designs and designations supplied by Battery Council International and are provided for reference only.
  19L       8 1⁄2      7          7 1⁄2         2         6
                                                                 See specification chart for dimensional details.


                                                                                                                                                                           Costco_001461
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    Group Size Dimensions                                                                                                                           5



                                               BCI DESIGN                                                                        *DIN DESIGN




                                                    FORD                                                                         FORD/MAZDA




                                                                                       GENERAL MOTORS




    NOTE: Dimensions listed above are Battery Council International (BCI) dimensions. Battery dimensions are rounded to 1/10".
    *DIN = (Deutsches Institut für Normung) - Group sizes shown are BCI equivalent to DIN group sizes.


                                                                                                                                               Costco_001462
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6                       Special Installation Instructions – Imports

Toyota/Nissan’s Recommended Procedures              Mazda’s Recommended Procedures
for Bypassing Battery Sensors                       for Bypassing Battery Sensor
Certain Toyota models equipped with Toyota’s        An electrolyte level sensor was used on the
ESP System (Electrolyte Sensor Probe) and           1979-1981 Mazda 626 Coupe. This sensor is
1979/1980 Nissan 280ZXs equipped with their         not compatible with replacement batteries and
battery level sensor, are not compatible with       therefore, must be bypassed when replacing
replacement batteries. To compensate for this,      the original equipment battery.
both manufacturers have issued procedures for       Mazda provides the following procedures for
bypassing these systems.                            bypassing their sensor:
Below are the recommended Toyota and Nissan         1. Fix the sensor harness to nearby main harness.
procedures for bypassing these systems.
                                                    2. Remove the warning light bulb from the dash.
Toyota—Vehicles equipped with the ESP
System: The battery phase of the ESP System         OR
cannot be made to operate with replacement          Make a suitable harness arrangement to supply
batteries. Toyota suggests unplugging the           voltage from the ignition switch to the sensor
electrolyte sensor and hooking the wire to the      circuit so that the warning light does not come
blue wire of the windshield washer pump.            on. Note that the warning light only comes on
Nissan—Purchase Battery Sensor Substitute,          when the circuit is open. (See circuit diagram.)
part 99996-00202. To install this part, refer to    In other words, all that is necessary is to either
instructions included with part or to the figure    remove the warning light bulb or to hook the
shown below.                                        circuit up to 12 volts via the ignition switch.
When installing your new battery in a 1979
or 1980 280ZX, install the battery sensor
substitute illustrated below so that the computer
warning system can function properly.




                                                                                                         Costco_001463
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    Abbreviations                                                                                                                       7

    2V          2 Valve per Cylinder                EFB      Enhanced Flooded Battery           MY          Model Year
    4V          4 Valve per Cylinder                EFI      Electronic Fuel Injection          N/A         Not Available
    2WD         Two-Wheel Drive                     ELWB     Extra Long Wheel Base              No.         Number
    4WD         Four-Wheel Drive                    Eng      Engine                             OE          Original Equipment
    AC          Air Conditioning                    ETR      Electronic Tuning Radio            OHC         Overhead Cam
    AGM         Absorbed Glass-Mat                  Ex       Except                             OHV         Overhead Valve
    Ah          Amp Hour                            Fig      Figure                             Opt         Optional
    Alt         Alternate                           FI       Fuel Injection                     Pkg         Package
    AT          Automatic Transmission              Fla      Florida                            PPkg        Police Package
    Aux         Auxiliary                           FWD      Front-Wheel Drive                  PS          Power Steering
    AWD         All Wheel Drive                     GVW      Gross Vehicle Weight               PTO         Power Take-Off
    Bat         Battery                             HBL      Heated Back Light (Rear            RC          Reserve Capacity
                                                             Window Defroster)                  RRC         Repetitive Reserve Cycles
    BCI         Battery Council International
                                                    HA       High Altitude
    Calif       California                                                                      Rt          Right
                                                    HD       Heavy Duty
    CA          Cranking Amps                                                                   RWD         Rear-Wheel Drive
                                                    HO       High Output
    Can         Canada                                                                          S/C         Super Charged
                                                    HP       Horsepower
    Carb        Carburetor                                                                      SEO         Special Electrical Option
                                                             High Swirl Combustion (cham-
    CFI         Central Fuel Injection              HSC                                         SG          Sound Guard
                                                             ber)
    cc          Cubic Centimeter                    Htr      Heater                             SHO         Super High Output
    CCA         Cold Cranking Amps (0° F)           HWS      Heated Windshield                  SOHC        Single Overhead Cam
    CDI         Common Direct Injection             Hyb      Hybrid                             Std         Standard
    ci          Cubic inch                          Ign      Ignition                                       Super Ultra Low Emissions
                                                                                                SULEV
                                                                                                            Vehicle
    Comp        Compression                         IHC      International Harvester Co.
                                                                                                TBI         Throttle Body Injection
    Cont        Continental                         Incl     Including
                                                                                                TDI         Turbo Direct Injection
    Conv        Convertible                         Ind      Industrial
                                                                                                US          United States
                Continuously Variable               L        Liter
    CVT         Transmission                                                                    V           Venturi
                                                             In-Line 4, 5 or 6 Cylinder
    Cyl         Cylinder                            L4/L5/L6 Engine                             TTPkg       Trailer Towing Package
    DES         Direct Injection Start              Lft      Left                               Turbo       Turbo Charged
    DIN         Deutsche Institut für Normung       LPG      Liquified Petroleum Gas            w/          With
    DOHC        Dual Overhead Cam                   MFI      Multi-Port Fuel Injection          w/o         Without
    Dsl         Diesel                              Modif    Modified                           Wisc        Wisconsin
    DT          Dual Terminal                       MT       Manual Transmission

    Glossary

    CCA (Cold Cranking Amps)                                              Ah (Amp Hours)
    CCA = The number of amperes a battery at 0° F (-17.8° C)              A unit of measurement for a battery’s electrical storage
    can deliver for 30 seconds and maintain a voltage equal to or         capacity, obtained by multiplying the current in amperes
    higher than 1.2 volts per cell (7.2 volts for a 12-volt battery).     by the time in hours of discharge. Example: A battery
                                                                          delivers 5 amps x 20 Hours = 100 Ah.
    CA (Cranking Amps) or MCA (Marine Cranking Amps)
    CA or MCA is the discharge load in amperes which a new,               Cycle Life (SAE – J240B)
    fully charged battery at 32° F (0° C) can continuously deliver        At 105° F the battery is discharged at 25 amperes
    for 30 seconds and maintain a terminal voltage equal to or            for four minutes and then recharged for 10 minutes.
    higher than 1.2 volts per cell (7.2 volts for a 12-volt battery).     This cycle is continued until the battery fails to meet
                                                                          its specified CCA rating.
    RC (Reserve Capacity)
    A battery must provide emergency power for ignition, lights,          Vibration
    etc., in the event of failure in the vehicle’s battery recharging     The battery is mounted onto a shaker table and vibrated
    system. The RC rating is defined as the number of minutes             at 3.5 Gs until it is physically damaged, loses electrical
    a new fully charged battery at 80° F (26.7° C) can be                 capacity or leaks acid. The minimum vibration time for
    discharged at 25 amperes and maintain a terminal voltage              automotive batteries is four hours.
    equal to or higher than 1.75 volts per cell (10.5 volts for
    a 12-volt battery).


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8                                                                   Safety Information




Do Not Inhale Sulfuric Acid Mist                      • Remove old battery. Note the position of
Danger of Exploding Batteries                           positive (+) terminal and negative (-) terminal.
                                                        Mark the cables for correct connection to
Batteries contain sulfuric acid and produce             new battery.
explosive mixtures of hydrogen and oxygen.
Because self-discharge action generates               • Clean terminals and cable connections with a
hydrogen gas even when the battery is not in            wire brush. Broken connections, frayed or cut
operation, make sure batteries are stored and           cables should be replaced.
worked on in a well-ventilated area. Always wear      • Install the new battery in the same position
safety glasses and a face shield when working           as the old one. Be sure to secure it with the
on or near batteries.                                   holddown assembly.
When working with batteries:                          • Make sure the terminals do not touch any
• Always wear proper eye, face and                      metal mounting, engine or body parts.
  hand protection.                                    • Connect cables tightly. Connect ground cable
• Keep all sparks, flames and cigarettes away           last to avoid sparks and explosion.
  from the battery.
                                                      Handling Battery Acid
• Do not attempt to open a flush-cover battery.
                                                      Battery acid, or electrolyte, is a solution of
• Never lean over battery while boosting,             sulfuric acid and water that can destroy
  testing or charging.                                clothing and burn the skin. Use extreme caution
• Cover vent caps with a damp cloth to                when handling electrolyte and keep an acid
  minimize gas seepage                                neutralizing solution—such as baking soda—
                                                      readily available. When handling batteries:
• Make sure work area is well ventilated.
                                                      • Always wear proper eye, face and hand protection.
• Do not remove or damage vent caps.
                                                      • If electrolyte is splashed into an eye,
• Do not breathe acid mist.
                                                        immediately force the eye open and flood it
                                                        with clean, cool water for at least 15 minutes.
Safe Battery Installation                               Get prompt medical attention.
To assure safe installation and proper operation,
                                                      • If electrolyte is taken internally, drink large
follow these installation procedures.
                                                        quantities of water or milk. Do not induce
• Always wear proper eye, face and hand protection.     vomiting. Call a physician immediately.
• Disconnect ground cable first. This is usually      • Neutralize any electrolyte that spills immediately
  the negative cable; however, older vehicles may       with a mixture of water and baking soda.
  have a positive ground.
                                                      • Mixing acid can be very dangerous. Do not
                                                        attempt without proper training.




                                                                                                             Costco_001465
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    Safety Information                                                                                    9

    Safe Charging                                          Safe Booster Cable Operation
    Before beginning the charging operation, read          When jump-starting, always wear proper eye
    and follow the instructions that come with the         protection and never lean over the battery.
    charger. Never attempt to charge a battery             Do not jump-start a damaged battery; inspect
    without first reviewing the instructions for the       both batteries before connecting booster cable.
    charger being used. In addition to the charger         Be sure vent caps are tight and level. Place a
    manufacturer’s instructions, these general             damp cloth over the vent caps of both batteries.
    precautions should be followed:                        Make certain that the vehicles and cable ends
    • Always charge batteries in a well-ventilated         are not touching and both ignition switches are
      area and wear proper eye protection.                 turned to the OFF position.
    • Turn the charger and timer OFF before                1. Connect positive (+) booster cable to
      connecting the leads to the battery to avoid            positive (+) terminal of discharged battery.
      dangerous sparks.                                    2. Connect other end of positive (+) cable to
    • To avoid an explosion, never try to charge a            positive (+) terminal of assisting battery.
      visibly damaged or frozen battery.                   3. Connect negative (-) cable to negative (-)
    • Connect the charger leads to the battery; red           terminal of assisting battery.
      positive (+) lead to the positive (+) terminal       4. Make final connection of negative (-) cable to
      and black negative (-) lead to the negative (-)         engine block of stalled vehicle, away from
      terminal. If the battery is still in the vehicle,       battery.
      connect the negative lead to the engine block        5. Start vehicle and remove cables in reverse
      to serve as a ground. (If the vehicle is positive       order of connections.
      grounded, connect the positive lead to the
      engine block.)
    • Make sure that the leads to the connections
      are tight.
    • Set the timer, turn the charger on and slowly
      increase the charging rate until the desired
      ampere value is reached.
    • If the battery becomes hot or if violent gassing
      or spewing of electrolyte occurs, reduce the
      charging rate or temporarily halt the charger.
    • Always turn the charger OFF before
      removing charger leads from the battery
      to avoid dangerous sparks.

                                          MAKE CERTAIN VEHICLES
                                             DO NOT TOUCH!




                                                                                                     Costco_001466
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    PROPOSITION 65
    WARNING
    • Battery posts, terminals and
      related accessories contain
      lead and lead compounds,
      chemicals known to the state
      of California to cause cancer
      and reproductive harm.
    • Batteries also contain other
      chemicals known to the state
      of California to cause cancer.
    • Wash hands after handling.

                                                                               Costco_001467
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                                                                                  Acura
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    Automotive/Light Truck                                                                                                                                                              11
                                                                                      Original                                                                                  Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                    Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                           (notes)                    Code
                                                                                     CCA/Rating                                                                                CCA/Rating
    Acura CL                                                                                                Acura TLX (continued)
    2003-01      V6/3.2L                                          24 11                550                  2017      V6/3.5L                               48                   620         29
    1999-98      L4/2.3L                                          24F 11               550                  2016      L4/2.4L                               35                   470
    1999-97      V6/3.0L                                          24 11                550                  2016      V6/3.5L                               48                   620         29
    1997         L4/2.2L                                          24F                  550         23       2015      V6/3.5L                               48                   620         29
    Acura CSX                                                                                               Acura TSX
    2011-08 L4/2.0L                                               51R                  410         11       2014-10 V6/3.5L                                 24F                  550         23
    2007    L4/2.0L                                               51R                  440         11       2014-04 L4/2.4L                                 51R                  430         11
    2006    L4/2.0L                                               51R                  500         11       Acura Vigor
    Acura EL                                                                                                1994-92 L5/2.5L                                 35                   435          3
    2005-01 L4/1.7L                                               51                   410         20       Acura ZDX
    2000-97 L4/1.6L                                               51R                  410         11       2013-10 V6/3.7L                                 24F                  550         23
    Acura ILX                                                                                               Alfa Romeo 164
    2017         L4/2.4L                                          51R                  410         11       1995-91 V6/3.0L                                 31A 50               685
    2016         L4/2.4L                                          51R                  410         11
    2015-13      L4/1.5L        Hybrid                            151R                 340
                                                                                                            Alfa Romeo 4C
    2015-13      L4/2.0L                                          51R                  410         11       2017-15 L4/1.7L                                 140R                 500
    2015-13      L4/2.4L                                          51R                  410         11       2015    L4/1.7L                                 N/A                  500
    Acura Integra                                                                                           Alfa Romeo 8C
    2001-94 L4/1.8L                                               51R                  410         11       2008      V8/4.7L                               24F                  580         23
    1993-92 L4/1.7L                                               25                   435         6        Alfa Romeo Spider
    1993-90 L4/1.8L                                               25                   435         6        1994-91 L4/2.0L      Factory Install            22F 7                300
    Acura Legend                                                                                            1994-90 L4/2.0L      Port of entry installed    34 7                 550         9
    1995-91 V6/3.2L                                               24                   585         22       1990    L4/2.0L      Factory Install            24F 7                500         23
    1990    V6/2.7L                                               24F                  585         23       AM General Humvee
    Acura MDX                                                                                               2001-94 V8/6.5L      Dsl                        78 2                 770          7
    2017         V6/3.5L                                          48                   620         29       1996-95 V8/5.7L                                 78 2                 770          7
    2017         V6/3.5L        Advance Package                   48 33                650                  1993-92 V8/6.2L      Dsl                        78 2                 770          7
    2016         V6/3.5L        FWD                               48                   620         29       American Motors Corp Gremlin, Hornet, Javelin
    2016         V6/3.5L        AWD                               48 33                650                  1978-77   L4/2.0L                               22F                  305         38
    2015-14      V6/3.5L                                          24F                  550         23       1978-77   L4/2.0L    Opt                        24                   410         22
    2013-07      V6/3.7L                                          24F                  630         23       1978-71   L6/4.2L                               22F                  305         38
    2006-01      V6/3.5L                                          24F                  550         23       1978-71   L6/4.2L    Opt                        24                   410         22
    Acura NSX                                                                                               1978-70   L6/3.8L                               22F                  305         38
    2017         V6/3.5L        Hybrid                            47 33                600                  1978-70   L6/3.8L    Opt                        24                   410         22
    2005-97      V6/3.2L        MT                                35                   435         3        1977-75   V8/5.0L    Opt                        24                   410         22
    2005-91      V6/3.0L        AT or HD                          24F                  585         23       1977-71   L6/4.2L                               22F                  305         38
    2005-91      V6/3.0L        MT                                35                   435         3        1977-71   L6/4.2L    Opt                        24                   410         22
    1999         V6/3.2L        AT                                24F                  585         23       1977-71   V8/5.0L                               22F                  305         38
                                                                                                            1977-70   L6/3.8L                               22F                  305         38
    Acura RDX                                                                                               1977-70   L6/3.8L    Opt                        24                   410         22
    2017         V6/3.5L                                          24F 11               630                  1976-72   V8/5.0L                               22F                  305         38
    2016         V6/3.5L                                          24F 11               730                  1976-72   V8/5.0L    Opt                        24                   410         22
    2015-13      V6/3.5L                                          24F                  550         23       1974-71   L6/4.2L                               22F 7                305         38
    2012-07      L4/2.3L                                          35                   440         3        1974-71   L6/4.2L    Opt                        24                   410         22
    Acura RL                                                                                                1974-71   V8/6.6L                               22F                  305         38
                                                                       11
    2012-09 V6/3.7L                                               24                   550                  1974-71   V8/6.6L    Opt                        24 7                 410         22
    2008-05 V6/3.5L                                               24 11                585                  1974-70   L6/3.8L                               22F 7                305         38
    2004-96 V6/3.5L                                               24                   550         22       1974-70   L6/3.8L    Opt                        24                   410         22
    Acura RLX                                                                                               1974-70   V8/5.0L                               22F 7                305         38
    2017    V6/3.5L                                               24F                  550         23       1974-70   V8/5.0L    Opt                        24 7                 410         22
    2016    V6/3.5L                                               24F                  550         23       1974-70   V8/5.9L                               22F                  305         38
    2015-14 V6/3.5L                                               24F                  550         23       1974-70   V8/5.9L    Opt                        24 7                 410         22
    Acura RSX                                                                                               1970-68   V8/6.4L                               22F                  305         38
                                                                                                            1970-68   V8/6.4L    Opt                        24 7                 410         22
    2006-02 L4/2.0L                                               51R                  400         11
                                                                                                            1970      L6/3.3L                               22F                  305         38
    Acura SLX                                                                                               1970      L6/3.3L                               22F 7                305         38
    1999-98      V6/3.5L        AT                                24                   585         22       1970      L6/3.3L    Opt                        24                   410         22
    1999-98      V6/3.5L        Opt                               27                   610         35       1969-68   V8/4.7L                               22F                  305         38
    1997         V6/3.2L                                          24                   585         22       1969-68   V8/4.7L    Opt                        24                   410         22
    1997         V6/3.2L        Opt                               27                   610         35       1969-68   V8/5.6L                               22F                  305         38
    1996         V6/3.2L        AT or HD                          27                   610         35       1969-68   V8/5.6L    Opt                        24 7                 410         22
    Acura TL                                                                                                Aston Martin
    2014-09      V6/3.7L                                          24F 11               550                  2017-15   V12/6.0L   Rapide                     49 50, 54            830
    2014-07      V6/3.5L                                          24F 11               550                  2017-15   V12/6.0L   V12 Vantage                49 50, 54            830
    2008-04      V6/3.2L                                          24F 11               550                  2017-15   V12/6.0L   Vanquish                   49 50, 54            830
    2003-99      V6/3.2L                                          24 11                550                  2017-15   V8/4.7L    V8 Vantage                 49 50, 54            830
    1998-96      V6/3.2L                                          25                   450          6       2016-15   V12/6.0L   DB9                        49 50, 54            830
    1998-95      L5/2.5L                                          35                   450          3       2014-11   V12/6.0L   Rapide                     49 50, 54            830
    Acura TLX                                                                                               2014-09   V8/4.7L    V8 Vantage                 49 50, 54            830
    2017-15 L4/2.4L                                               35                   440                  2014-05   V12/6.0L   DB9                        49 50, 54            830
    2017-15 V6/3.5L SH-AWD, Start/Stop                            48 33                650                  2014      V12/6.0L   Vanquish                   49 50, 54            830
    See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                   Costco_001468
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12                                                                                                                                            Automotive/Light Truck
                                                                                                             Original                                                                                                       Original
    Year          Engine                          Options                            BCI Group Size         Equipment    Fitment      Year     Engine                 Options                        BCI Group Size        Equipment    Fitment
                                                                                         (notes)                          Code                                                                           (notes)                         Code
                                                                                                            CCA/Rating                                                                                                     CCA/Rating
Aston Martin                    (continued)                                                                                        Audi A3, A3 quattro (continued)
2013-10      V12/6.0L        V12 Vantage                                        49 50, 54                     830                  2015      L4/2.0L    PR Code J0T                               N/A 45, 58                  680
2012-08      V12/6.0L        DBS                                                49 50, 54                     830                  2013-10   L4/2.0L    Dsl, PR Code J0N                          47 50, 54, 55, 56, 58       540        28
2012         V12/6.0L        Virage                                             49 50, 54                     830                  2013-10   L4/2.0L    Dsl, PR Code J1D                          48 50, 54, 55, 56, 58       600
2008-06      V8/4.3L         V8 Vantage                                         49 50, 54                     830                  2013-10   L4/2.0L    Dsl, PR Code J0L, J1D                     48 50, 54, 55, 56, 58       640
2006-01      V12/6.0L        Vanquish                                           49 50, 54                     830                  2013-10   L4/2.0L    Dsl, PR Code J2D                          48 33, 50, 54, 55, 56, 58 680
2004-00      V12/6.0L        DB7                                                48 50, 54                     780                  2013-09   L4/2.0L    PR J0L, J1D                               48 50, 54, 55, 56, 58       640
1998-97      L6/3.2L         DB7                                                48 50, 54                     780                  2013-09   L4/2.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
Asüna                                                                                                                              2013-06   L4/2.0L    PR Code J0N                               47 50, 54, 55, 56, 58       540
1993         L4/1.6L         Sunrunner                                          26                            525                  2013-06   L4/2.0L    PR Code J1D                               48 50, 54, 55, 56, 58       600
1993         L4/1.8L         Sunfire                                            35                            350          3       2013-06   L4/2.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 80 Ah           30
1992         L4/1.6L         Sunrunner                                          75                            550          5       2009-06   V6/3.2L    PR Code J0N                               47 50, 54, 55, 56, 58       540
Audi 100, 100 quattro                                                                                                              2009-06   V6/3.2L    PR Code J1D                               48 50, 54, 55, 56, 58       600
1994-92      V6/2.8L                                                            41 50                         575                  2009-06   V6/3.2L    PR Code J0R                               94R 50, 54, 55, 56, 58 80 Ah           30
1994-92      V6/2.8L         Opt                                                41 50                         650                  2009      V6/3.2L    AGM, PR Code J2D                          48 33, 50, 54, 55, 56, 58 68 Ah
1991-90      L5/2.3L                                                            41 50                         575                  2009      V6/3.2L    PR Code J0R                               94R 50, 54, 55, 56, 58 640             30
1991-90      L5/2.3L         Opt                                                41 50                         650                  2008-06   L4/2.0L    Opt                                       48 50, 54, 55, 56           640
Audi 200, 200 quattro                                                                                                              2008-06   L4/2.0L    AGM, PR Code J1N                          94R 33, 50, 54, 55, 56, 58 75 Ah
                                                                                                                                   2008-06   V6/3.2L                                              94R 50, 54, 55, 56          640        30
1991-90 L5/2.2L                                                                 41 50                         650
                                                                                                                                   2008-06   V6/3.2L    AGM, PR Code J1N                          94R 33, 50, 54, 55, 56, 58 75 Ah
Audi 80, 80 quattro                                                                                                                2008-06   V6/3.2L    Opt                                       94R 33, 50, 54, 55, 56 800
1992-91      L5/2.3L         Opt                                                41                            650
                                                                                                                                   Audi A4, A4 allroad, A4 quattro
1992-90      L5/2.3L                                                            41                            575                                                                                 33, 50, 54, 55, 56, 58
                                                                                                                                   2017-16   L4/2.0L    PR Code J0P                                                            950
1990         L4/2.0L                                                            41                            575
                                                                                                                                   2017-16   L4/2.0L    PR Code J0L                               48 50, 54, 55, 56, 58        570       29
1990         L4/2.0L         Opt                                                41                            650
                                                                                                                                   2017-16   L4/2.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58    680
Audi 90, 90 quattro                                                                                                                2017-16   L4/2.0L    PR Code J1U                               49 50, 54, 55, 56, 58        760
1995-93 V6/2.8L                                                                 41                            650                  2017-16   L4/2.0L    PR Code J0B                               49 33, 50, 54, 55, 56, 58    850
1992-90 L5/2.3L                                                                 41                            650                  2017-16   L4/2.0L    PR Code J0R                               94R 50, 54, 55, 56, 58       640       30
Audi A3 Sportback e-tron                                                                                                           2017-16   L4/2.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58   800
2017         L4/1.4L         Hybrid, PR Code J1L                                47 50, 54, 55, 56, 58         540         28       2017-16   L4/2.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58       850
2017         L4/1.4L         Hybrid, PR Code J1D                                48 50, 54, 55, 56, 58         640                  2017-13   L4/2.0L    PR Code J0N or J1L                        47 50, 54, 55, 56, 58        540
2017         L4/1.4L         Hybrid, PR Code J2D                                48 33, 50, 54, 55, 56, 58     680                  2017      L4/2.0L    PR Code J2D, 0K2                          48 33, 50, 54, 55, 56, 58    680
2016         L4/1.4L         Hybrid, PR CODE J0N, J1L                           47 50, 54, 55, 56, 58         540         28       2016      L4/2.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58    680
2016         L4/1.4L         Hybrid                                             47 33, 50,                    N/A                  2016      L4/2.0L    PR Code J0B, B0A, B0L, B0M, B0N,          49 33, 50, 54, 55, 56, 58    850
2016         L4/1.4L         Hybrid, PR Code J1D                                48 50, 54, 55, 56, 58         640                                       B0R, B1C, B1D, B1Q, B1Z, B2E,
Audi A3, A3 quattro                                                                                                                                     B2H, B3D, B3E, B4G, B4K
                                                                                                                                   2016      L4/2.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640         30
2017-16      L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680
                                                                                                                                   2016      L4/2.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58105 Ah
2017-15      L4/2.0L         PR Code J1D                                        48 50, 54, 55, 56, 58         640
                                                                                                                                   2016      L4/2.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950
2017         L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28
                                                                                                                                   2015-13   L4/2.0L    PR Code J1L                               47 50, 54, 55, 56, 58       540    28
2016         L4/1.8L         PR Code J0N or J1L                                 47 50, 54, 55, 56, 58         540         28
                                                                                                                                   2015-13   L4/2.0L    PR Code J0L                               48 50, 54, 55, 56, 58       570    29
2016         L4/1.8L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2015-13   L4/2.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2016         L4/1.8L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015-13   L4/2.0L    PR Code J0B                               49 33, 50, 54, 55, 56, 58 850
2016         L4/1.8L         PR Code J1P                                        N/A                           360                  2015-13   L4/2.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2016         L4/1.8L         PR Code J2S                                        N/A                           480                  2015-13   L4/2.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2016         L4/1.8L         PR Code J0S                                        N/A 59                        540                  2015-13   L4/2.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950
2016         L4/1.8L         PR Code J0T                                        N/A 59                        680                  2015-09   L4/2.0L    AGM, PR Code J0B                          49 33, 50, 54, 55, 56, 58 760
2016         L4/2.0L         Dsl, PR Code J0N, J1L                              47 50, 54, 55, 56, 58         540         28       2015-09   L4/2.0L    PR Code J0B                               49 33, 50, 54, 55, 56, 58 850
2016         L4/2.0L         PR Code J0N or J1L                                 47 50, 54, 55, 56, 58         540         28       2015-09   L4/2.0L    AGM, PR Code J0P                          95R 33, 50, 54, 55, 56, 58105 Ah
2016         L4/2.0L         Dsl, PR Code J1D                                   48 50, 54, 55, 56, 58         640                  2015-09   L4/2.0L    Opt, PR Code J0Z                          95R 50, 54, 55, 56, 58 110 Ah
2016         L4/2.0L         Dsl, PR Code J2D                                   48 33, 50, 54, 55, 56, 58     680                  2015-09   L4/2.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2016         L4/2.0L         Dsl, PR Code J1P                                   N/A                           360                  2015-09   L4/2.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950
2016         L4/2.0L         PR Code J1P                                        N/A 45, 58                    360                  2015-08   L4/2.0L    PR Code J1U                               49 50, 54, 55, 58           760
2016         L4/2.0L         Dsl, PR Code J2S                                   N/A                           480                  2015-08   L4/2.0L    PR Code J0R                               94R 50, 54, 55, 58          640    30
2016         L4/2.0L         PR Code J2S                                        N/A 45, 58                    480                  2015      L4/2.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2016         L4/2.0L         Dsl, PR Code J0S                                   N/A 59                        540                  2014-13   L4/2.0L    PR Code J1L                               47 50, 54, 55, 56, 58       540    28
2016         L4/2.0L         PR Code J0S                                        N/A 45, 58                    540                  2012-09   L4/2.0L    AGM, PR Code J1N                          94R 33, 50, 54, 55, 56, 58 75 Ah
2016         L4/2.0L         Dsl, PR Code J0T                                   N/A 59                        680                  2012-09   L4/2.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2016         L4/2.0L         PR Code J0T                                        N/A 45, 58                    680                  2009-08   V6/3.2L    PR Code J1U                               49 50, 54, 55, 58           760
2015         L4/1.8L         PR Code J0N or J1L                                 47 50, 54, 55, 56, 58         540                  2009-06   V6/3.2L    PR Code J0R                               94R 50, 55, 58              640    30
2015         L4/1.8L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2009      V6/3.2L    AGM, PR Code J0B                          49 33, 50, 54, 55, 56, 58 760
2015         L4/1.8L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2009      V6/3.2L    PR Code J0B                               49 33, 50, 54, 55, 56, 58 850
2015         L4/2.0L         Dsl, PR Code J0N, J1L                              47 50, 54, 55, 56, 58         540         28       2009      V6/3.2L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2015         L4/2.0L         PR Code J0N or J1L                                 47 50, 54, 55, 56, 58         540         28       2009      V6/3.2L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2015         L4/2.0L         Dsl, PR Code J1D                                   48 50, 54, 55, 56, 58         640                  2009      V6/3.2L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950
2015         L4/2.0L         Dsl, PR Code J2D                                   48 33, 50, 54, 55, 56, 58     680                  2008-06   V6/3.2L    PR Code J0R                               94R 50, 55, 58              640    30
2015         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2008      V6/3.2L    PR Code J1U                               49 50, 54, 55, 58           760
2015         L4/2.0L         Dsl, PR Code J1P                                   N/A                           360                  2007-05   L4/2.0L    Opt                                       49 50, 54                   760    33
2015         L4/2.0L         PR Code J1P                                        N/A 45, 58                    360                  2007-05   L4/2.0L                                              94R 50                      640    30
2015         L4/2.0L         Dsl, PR Code J2S                                   N/A                           480                  2007-05   V6/3.2L    Opt                                       49 50, 54                   760    33
2015         L4/2.0L         PR Code J2S                                        N/A 45, 58                    480                  2007-05   V6/3.2L                                              94R 50                      640    30
2015         L4/2.0L         Dsl, PR Code J0S                                   N/A 59                        540                  2006-03   V6/3.0L    Opt                                       49 50, 54                   760    33
2015         L4/2.0L         PR Code J0S                                        N/A 45, 58                    540                  2006-03   V6/3.0L                                              94R 50                      640    30
2015         L4/2.0L         Dsl, PR Code J0T                                   N/A 59                        680                  2006      L4/1.8L    Opt                                       49 50, 54, 55, 56, 58       760    33
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                                                              See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                                                                  Costco_001469
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                                      929
    Automotive/Light Truck                                                                                                                                                                                         13
                                                                                        Original                                                                                                        Original
        Year         Engine                         Options         BCI Group Size     Equipment     Fitment     Year      Engine                   Options                         BCI Group Size     Equipment     Fitment
                                                                        (notes)                       Code                                                                              (notes)                       Code
                                                                                       CCA/Rating                                                                                                      CCA/Rating
    Audi A4, A4 allroad, A4 quattro (continued)                                                                Audi A6, A6 quattro
    2006         L4/1.8L                                          94R 50, 54, 55, 56, 58 640          30       2017      L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58      640       29
    2005-03      L4/1.8L                                          94R 50                  640         30       2017      L4/2.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2005-03      V6/3.0L        Opt                               49 50, 54               760         33       2017      L4/2.0L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    2005-03      V6/3.0L                                          94R 50                  640         30       2017      L4/2.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2005-02      L4/1.8L        Opt                               49 50, 54               760         33       2017      L4/2.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640           30
    2002-97      L4/1.8L                                          48 50                   640         29       2017      L4/2.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2002-97      L4/1.8L        Opt                               94R 50                  640         30       2017      L4/2.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2002-97      L4/1.8L        Opt                               94R 50, 54, 55, 56      720         30       2017      L4/2.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2002         L4/1.8L                                          49 50, 54               760         33       2017      V6/3.0L    PR Code J0L                                  48 50, 54, 55, 56, 58      640       29
    2002         L4/1.8L        Option 1                          49 50, 54, 55, 56       760         33       2017      V6/3.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2002         L4/1.8L        Option 2                          94R 50, 54, 55, 56      640         30       2017      V6/3.0L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    2002         V6/3.0L                                          48 50                   640         29       2017      V6/3.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2002         V6/3.0L        Option 1                          49 50, 54, 55, 56       760         33       2017      V6/3.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640           30
    2002         V6/3.0L        Option 2                          94R 50, 54, 55, 56      640         30       2017      V6/3.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2002         V6/3.0L        Opt                               94R 50, 54, 55, 56      720         30       2017      V6/3.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2001-96      V6/2.8L        Opt                               94R 50                  640         30       2017      V6/3.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2001-96      V6/2.8L        Opt                               94R 50, 54, 55, 56      720         30       2016      L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58      640       29
                                                                                                               2016      L4/2.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2001-00      V6/2.8L                                          48 50                   640         29
                                                                                                               2016      L4/2.0L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    1999-98      V6/2.8L        X                                 41                     64 Ah
                                                                                                               2016      L4/2.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    1999-96      V6/2.8L        Opt                               48 50                   640         29
                                                                                                               2016      L4/2.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640           30
    1997-96      V6/2.8L        X                                 48 50                   540         29
                                                                                                               2016      L4/2.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    1997         L4/1.8L        Opt                               47 50, 54, 55, 56       540
                                                                                                               2016      L4/2.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    1997         V6/2.8L        Opt                               47 50, 54, 55, 56       540
                                                                                                               2016      L4/2.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    1997         V6/2.8L                                          48 50                   640         29       2016      V6/3.0L    Dsl, PR Code J0L                             48 50, 54, 55, 56, 58      640       29
    1996         V6/2.8L                                          47 50, 54, 55, 56       540                  2016      V6/3.0L    PR Code J0L                                  48 50, 54, 55, 56, 58      640       29
    1996         V6/2.8L        Opt                               94R 50, 54, 55, 56      720         30       2016      V6/3.0L    Dsl, PR Code J2D                             48 33, 50, 54, 55, 56, 58 680
    Audi A5, A5 quattro                                                                                        2016      V6/3.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2017-15 L4/2.0L PR Code J1L                                   47 50, 54, 55, 56, 58      540      28       2016      V6/3.0L    Dsl, PR Code J1U                             49 50, 54, 55, 56, 58      760
    2017-15 L4/2.0L PR Code J0L                                   48 50, 54, 55, 56, 58      570      29       2016      V6/3.0L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
                                                                                                                                                                                    33, 50, 54, 55, 56, 58
    2017-15 L4/2.0L PR Code J1U                                   49 50, 54, 55, 56, 58      760               2016      V6/3.0L    Dsl, PR Code J0B                             49                         850
    2017-15 L4/2.0L PR Code J0B                                   49 33, 50, 54, 55, 56, 58 850                2016      V6/3.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2017-15 L4/2.0L PR Code J1N                                   94R 33, 50, 54, 55, 56, 58 800               2016      V6/3.0L    Dsl, PR Code J0R                             94R 50, 54, 55, 56, 58 640           30
    2017-15 L4/2.0L PR Code J0Z                                   95R 50, 54, 55, 56, 58 850                   2016      V6/3.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640           30
    2017-15 L4/2.0L PR Code J0P                                   95R 33, 50, 54, 55, 56, 58 950               2016      V6/3.0L    Dsl, PR Code J1N                             94R 33, 50, 54, 55, 56, 58 800
    2017        L4/2.0L PR Code J2D                               48 33, 50, 54, 55, 56, 58 680                2016      V6/3.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2017        L4/2.0L PR Code J0R                               94R 50, 54, 55, 56, 58 640          30       2016      V6/3.0L    Dsl, PR Code J0Z                             95R 50, 54, 55, 56, 58 850
    2016        L4/2.0L PR Code J2D                               48 33, 50, 54, 55, 56, 58 680                2016      V6/3.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2016        L4/2.0L PR Code J0R                               94R 50, 54, 55, 56, 58 640          30       2016      V6/3.0L    Dsl, PR Code J0P                             95R 33, 50, 54, 55, 56, 58 950
    2015        L4/2.0L PR Code J2D                               48 33, 50, 54, 55, 56, 58 680                2016      V6/3.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2015        L4/2.0L PR Code J0R                               94R 50, 54, 55, 56, 58 640          30       2015-14   V6/3.0L    Dsl, PR Code J0L                             48 50, 54, 55, 56, 58      640       29
    2014-12 L4/2.0L PR Code J0R                                   94R 50, 54, 55, 56, 58 80 Ah        30       2015-12   L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58      640       29
    2014-12 L4/2.0L PR Code J1N                                   94R 33, 50, 54, 55, 56, 58 800               2015-12   V6/3.0L    PR Code J0L                                  48 50, 54, 55, 56, 58      640       29
    2014-10 L4/2.0L PR Code J1L                                   47 50, 54, 55, 56, 58      540      28       2015      L4/2.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2014-10 L4/2.0L PR Code J0L                                   48 50, 54, 55, 56, 58      570      29       2015      L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58 70 Ah          29
    2014-10 L4/2.0L AGM, PR Code J2D                              48 33, 50, 54, 55, 56, 58 68 Ah              2015      L4/2.0L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    2014-10 L4/2.0L PR Code J2D                                   48 33, 50, 54, 55, 56, 58 680                2015      L4/2.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
                                                                                                                                                                                      50, 54, 55, 56, 58
    2014-10 L4/2.0L w/o AGM, PR Code J1D                          48 50, 54, 55, 56, 58 72 Ah                  2015      L4/2.0L    PR Code J0R                                  94R                        640       30
                                                                                                               2015      L4/2.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2014-10 L4/2.0L PR Code J1U                                   49 50, 54, 55, 56, 58      760
                                                                                                               2015      L4/2.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2014-10 L4/2.0L PR Code J0B                                   49 33, 50, 54, 55, 56, 58 850
                                                                                                               2015      L4/2.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2014-10 L4/2.0L AGM, PR Code J0B                              49 33, 50, 54, 55, 56, 58 92 Ah
                                                                                                               2015      V6/3.0L    Dsl, PR Code J2D                             48 33, 50, 54, 55, 56, 58 680
    2014-10 L4/2.0L PR Code J0R                                   94R 50, 54, 55, 56, 58 640          30
                                                                                                               2015      V6/3.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2014-10 L4/2.0L AGM, PR Code J0P                              95R 33, 50, 54, 55, 56, 58105 Ah
                                                                                                               2015      V6/3.0L    Dsl, PR Code J0L                             48 50, 54, 55, 56, 58 70 Ah          29
    2014-10 L4/2.0L PR Code J0Z                                   95R 50, 54, 55, 56, 58 110 Ah
                                                                                                               2015      V6/3.0L    PR Code J0L                                  48 50, 54, 55, 56, 58 70 Ah          29
    2014-10 L4/2.0L PR Code J0Z                                   95R 50, 54, 55, 56, 58 850                   2015      V6/3.0L    Dsl, PR Code J1U                             49 50, 54, 55, 56, 58      760
    2014-10 L4/2.0L PR Code J0P                                   95R 33, 50, 54, 55, 56, 58 950               2015      V6/3.0L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    2010-08 V6/3.2L PR Code J1U                                   49 50, 54, 55, 56, 58      760               2015      V6/3.0L    Dsl, PR Code J0B                             49 33, 50, 54, 55, 56, 58 850
    2010-08 V6/3.2L PR Code J0R                                   94R 50, 54, 55, 56, 58 80 Ah        30       2015      V6/3.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2010-08 V6/3.2L PR Code J0Z                                   95R 50, 54, 55, 56, 58 110 Ah                2015      V6/3.0L    Dsl, PR Code J0R                             94R 50, 54, 55, 56, 58 640           30
    2010        V6/3.2L PR Code J0N or J1L                        47 50, 54, 55, 56, 58      540      28       2015      V6/3.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640           30
    2010        V6/3.2L PR Code J0L                               48 50, 54, 55, 56, 58      570      29       2015      V6/3.0L    Dsl, PR Code J1N                             94R 33, 50, 54, 55, 56, 58 800
    2010        V6/3.2L AGM, PR Code J2D                          48 33, 50, 54, 55, 56, 58 68 Ah              2015      V6/3.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2010        V6/3.2L PR Code J2D                               48 33, 50, 54, 55, 56, 58 680                2015      V6/3.0L    Dsl, PR Code J0Z                             95R 50, 54, 55, 56, 58 850
    2010        V6/3.2L PR Code J1D                               48 50, 54, 55, 56, 58 72 Ah                  2015      V6/3.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2010        V6/3.2L PR Code J0B                               49 33, 50, 54, 55, 56, 58 850                2015      V6/3.0L    Dsl, PR Code J0P                             95R 33, 50, 54, 55, 56, 58 950
    2010        V6/3.2L AGM, PR Code J0B                          49 33, 50, 54, 55, 56, 58 92 Ah              2015      V6/3.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2010        V6/3.2L PR Code J0R                               94R 50, 54, 55, 56, 58 640          30       2014-12   L4/2.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2010        V6/3.2L AGM, PR Code J0P                          95R 33, 50, 54, 55, 56, 58105 Ah             2014-12   L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58 70 Ah          29
    2010        V6/3.2L PR Code J0Z                               95R 50, 54, 55, 56, 58 850                   2014-12   L4/2.0L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    2010        V6/3.2L PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950               2014-12   L4/2.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2009-08 V6/3.2L PR Code J0R                                   94R 50, 54, 55, 56, 58 640          30       2014-12   L4/2.0L    AGM, PR Code J0B                             49 33, 50, 54, 55, 56, 58
                                                                                                                                                                                                           92 Ah
    2009-08 V6/3.2L PR Code J0Z                                   95R 50, 54, 55, 56, 58 850                   2014-12   L4/2.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640           30
    See page 88 for Footnotes. Selection may vary by warehouse.                                                                            Note: PR codes are located on a tag near the spare tire or in the warranty booklet

                                                                                                                                                                                                           Costco_001470
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                                                       929
14                                                                                                                                      Automotive/Light Truck
                                                                                                       Original                                                                                                     Original
    Year          Engine                          Options                            BCI Group Size   Equipment    Fitment      Year     Engine                Options                        BCI Group Size       Equipment    Fitment
                                                                                         (notes)                    Code                                                                          (notes)                        Code
                                                                                                      CCA/Rating                                                                                                   CCA/Rating
Audi A6, A6 quattro (continued)                                                                                              Audi A6, A6 quattro (continued)
2014-12      L4/2.0L         AGM, PR Code J1N                                   94R 33, 50, 54, 55, 56, 58 75 Ah             2009-08   V6/3.2L    Opt                                      95R 50, 54, 55, 56        850
2014-12      L4/2.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 80 Ah        30       2009-06   V6/3.2L    Opt                                      49 50, 54, 55, 56         760         33
2014-12      L4/2.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800               2008-05   V6/3.2L    Opt                                      49 50, 54, 55, 56         760         33
2014-12      L4/2.0L         AGM, PR Code J0P                                   95R 33, 50, 54, 55, 56, 58105 Ah             2008      V6/3.2L                                             48 50, 54, 55, 56         570         29
2014-12      L4/2.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 110 Ah                2008      V6/3.2L    Opt                                      49 33, 50, 54, 55, 56     850
2014-12      L4/2.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                   2008      V6/3.2L    Opt                                      94R 50, 54, 55, 56        640         30
2014-12      L4/2.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58 950               2008      V6/3.2L    Opt                                      95R 50, 54, 55, 56        850
2014-12      V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                2007-05   V6/3.2L                                             48 50, 54, 55, 56         570         29
2014-12      V6/3.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                2007-05   V6/3.2L    Opt                                      49 33, 50, 54, 55, 56     850
2014-12      V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640          30       2007-05   V6/3.2L    Opt                                      94R 50, 54, 55, 56        640         30
2014-12      V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 80 Ah        30       2007-05   V6/3.2L    Opt                                      95R 50, 54, 55, 56        850
2014-12      V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800               2007-05   V8/4.2L                                             48 50, 54, 55, 56         570         29
2014-12      V6/3.0L         AGM, PR Code J0P                                   95R 33, 50, 54, 55, 56, 58105 Ah             2007-05   V8/4.2L    Opt                                      49 33, 50, 54, 55, 56     850
2014-12      V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                   2007-05   V8/4.2L    Opt                                      94R 50, 54, 55, 56        640         30
2014-12      V6/3.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58 950               2007-05   V8/4.2L    Opt                                      95R 50, 54, 55, 56        850
2014-11      V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58 70 Ah         29       2004-02   V6/2.7L    Turbo                                    48 50, 54, 55, 56         640
2014-11      V6/3.0L         AGM, PR Code J0B                                   49 33, 50, 54, 55, 56, 58 92 Ah              2004-02   V6/2.7L    Opt                                      49 50, 54, 55, 56         760         33
2014-11      V6/3.0L         AGM, PR Code J1N                                   94R 33, 50, 54, 55, 56, 58 75 Ah             2004-02   V6/2.7L    Option 2                                 94R 50, 54, 55, 56        640         30
2014-11      V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 110 Ah                2004-02   V6/2.7L    Option 3                                 94R 50, 54, 55, 56        720         30
2014-09      V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58       760              2004-02   V6/3.0L                                             48 50                     640         29
2014         V6/3.0L         Dsl, PR Code J2D                                   48 33, 50, 54, 55, 56, 58 680                2004-02   V6/3.0L    Opt                                      49 50, 54, 55, 56         760         33
2014         V6/3.0L         Dsl, PR Code J0L                                   48 50, 54, 55, 56, 58 70 Ah         29       2004-02   V6/3.0L    Option 3                                 94R 50, 54, 55, 56        640         30
2014         V6/3.0L         Dsl, PR Code J1U                                   49 50, 54, 55, 56, 58       760              2004-02   V6/3.0L    Option 4                                 94R 50, 54, 55, 56        720         30
2014         V6/3.0L         Dsl, PR Code J0B                                   49 33, 50, 54, 55, 56, 58 850                2004-02   V8/4.2L                                             48 50, 54, 55, 56         640
2014         V6/3.0L         Dsl, AGM, PR Code J0B                              49 33, 50, 54, 55, 56, 58 92 Ah              2004-02   V8/4.2L    Opt                                      94R 50, 54, 55, 56        640         30
2014         V6/3.0L         Dsl, PR Code J1U                                   49 50, 54, 55, 56, 58 95 Ah                  2004-02   V8/4.2L    Opt                                      94R 50, 54, 55, 56        720         30
2014         V6/3.0L         Dsl, PR Code J0R                                   94R 50, 54, 55, 56, 58 640          30       2001-95   V6/2.8L                                             41 50                     650
2014         V6/3.0L         Dsl, AGM, PR Code J1N                              94R 33, 50, 54, 55, 56, 58 75 Ah             2001-95   V6/2.8L    Opt                                      48 50                     570         29
2014         V6/3.0L         Dsl, PR Code J0R                                   94R 50, 54, 55, 56, 58 80 Ah        30       2001-00   V6/2.7L    Turbo                                    94R 50                    640         30
2014         V6/3.0L         Dsl, PR Code J1N                                   94R 33, 50, 54, 55, 56, 58 800               2001-00   V8/4.2L                                             49 50                     850
2014         V6/3.0L         Dsl, AGM, PR Code J0P                              95R 33, 50, 54, 55, 56, 58105 Ah
2014         V6/3.0L         Dsl, PR Code J0Z                                   95R 50, 54, 55, 56, 58 110 Ah
                                                                                                                             Audi A7, A7 quattro
2014         V6/3.0L         Dsl, PR Code J0Z                                   95R 50, 54, 55, 56, 58 850                   2017      V6/3.0L    PR Code J2D                              48 33, 50, 54, 55, 56, 58 680
2014         V6/3.0L         Dsl, PR Code J0P                                   95R 33, 50, 54, 55, 56, 58 950               2017      V6/3.0L    PR Code J1U                              49 50, 54, 55, 56, 58      760
2011-10      V6/3.2L         PR Code J1U                                        49 50, 54, 55, 56, 58       760              2017      V6/3.0L    PR Code J0B                              49 33, 50, 54, 55, 56, 58 850
2011-10      V6/3.2L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                2017      V6/3.0L    PR Code J0R                              94R 50, 54, 55, 56, 58 640         30
2011-10      V6/3.2L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640          30       2017      V6/3.0L    PR Code J1N                              94R 33, 50, 54, 55, 56, 58 800
2011-10      V6/3.2L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                   2017      V6/3.0L    PR Code J0Z                              95R 50, 54, 55, 56, 58 850
2011-05      V8/4.2L         AGM, PR Code J0B                                   49 33, 50, 54, 55, 56, 58 92 Ah              2017      V6/3.0L    PR Code J0P                              95R 33, 50, 54, 55, 56, 58 950
2011-05      V8/4.2L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 110 Ah                2016      V6/3.0L    Dsl, PR Code J2D                         48 33, 50, 54, 55, 56, 58 680
2011-02      V8/4.2L         PR Code J1U                                        49 50, 54, 55, 56, 58       760              2016      V6/3.0L    PR Code J2D                              48 33, 50, 54, 55, 56, 58 680
2011-02      V8/4.2L         PR Code J0R                                        94R 50, 54, 55, 56, 58 80 Ah        30       2016      V6/3.0L    Dsl, PR Code J1U                         49 50, 54, 55, 56, 58      760
2011         V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58       640     29       2016      V6/3.0L    PR Code J1U                              49 50, 54, 55, 56, 58      760
2011         V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                2016      V6/3.0L    Dsl, PR Code J0B                         49 33, 50, 54, 55, 56, 58 850
2011         V6/3.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                2016      V6/3.0L    PR Code J0B                              49 33, 50, 54, 55, 56, 58 850
2011         V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640          30       2016      V6/3.0L    Dsl, PR Code J0R                         94R 50, 54, 55, 56, 58 640         30
2011         V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800               2016      V6/3.0L    PR Code J0R                              94R 50, 54, 55, 56, 58 640         30
2011         V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                   2016      V6/3.0L    Dsl, PR Code J1N                         94R 33, 50, 54, 55, 56, 58 800
2011         V6/3.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58 950               2016      V6/3.0L    PR Code J1N                              94R 33, 50, 54, 55, 56, 58 800
2011         V6/3.2L         PR Code J0L                                        48 50, 54, 55, 56, 58       640     29       2016      V6/3.0L    Dsl, PR Code J0Z                         95R 50, 54, 55, 56, 58 850
2011         V6/3.2L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                2016      V6/3.0L    PR Code J0Z                              95R 50, 54, 55, 56, 58 850
2011         V6/3.2L         PR Code J0L                                        48 50, 54, 55, 56, 58 70 Ah         29       2016      V6/3.0L    Dsl, PR Code J0P                         95R 33, 50, 54, 55, 56, 58 950
2011         V6/3.2L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800               2016      V6/3.0L    PR Code J0P                              95R 33, 50, 54, 55, 56, 58 950
2011         V6/3.2L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58 950               2015      V6/3.0L    Dsl, PR Code J2D                         48 33, 50, 54, 55, 56, 58 680
2011         V8/4.2L         PR Code J0L                                        48 50, 54, 55, 56, 58       640     29       2015      V6/3.0L    PR Code J2D                              48 33, 50, 54, 55, 56, 58 680
2011         V8/4.2L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                2015      V6/3.0L    Dsl, PR Code J1U                         49 50, 54, 55, 56, 58      760
2011         V8/4.2L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                2015      V6/3.0L    PR Code J1U                              49 50, 54, 55, 56, 58      760
2011         V8/4.2L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640          30       2015      V6/3.0L    Dsl, PR Code J0B                         49 33, 50, 54, 55, 56, 58 850
2011         V8/4.2L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800               2015      V6/3.0L    PR Code J0B                              49 33, 50, 54, 55, 56, 58 850
2011         V8/4.2L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                   2015      V6/3.0L    Dsl, PR Code J0R                         94R 50, 54, 55, 56, 58 640         30
2011         V8/4.2L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58 950               2015      V6/3.0L    PR Code J0R                              94R 50, 54, 55, 56, 58 640         30
2010-09      V6/3.0L                                                            48 50, 54, 55, 56, 58       570     29       2015      V6/3.0L    Dsl, PR Code J1N                         94R 33, 50, 54, 55, 56, 58 800
2010-09      V6/3.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                2015      V6/3.0L    PR Code J1N                              94R 33, 50, 54, 55, 56, 58 800
2010-09      V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640          30       2015      V6/3.0L    Dsl, PR Code J0Z                         95R 50, 54, 55, 56, 58 850
2010-09      V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                   2015      V6/3.0L    PR Code J0Z                              95R 50, 54, 55, 56, 58 850
2010-08      V8/4.2L                                                            48 50, 54, 55, 56           570     29       2015      V6/3.0L    Dsl, PR Code J0P                         95R 33, 50, 54, 55, 56, 58 950
2010-08      V8/4.2L         Opt                                                49 33, 50, 54, 55, 56       850              2015      V6/3.0L    PR Code J0P                              95R 33, 50, 54, 55, 56, 58 950
2010-08      V8/4.2L         Opt                                                94R 50, 54, 55, 56          640     30       2014-12   V6/3.0L    Gas, AGM, PR Code J2D                    48 33, 50, 54, 55, 56, 58 68 Ah
2010-08      V8/4.2L         Opt                                                95R 50, 54, 55, 56          850              2014-12   V6/3.0L    PR Code J2D                              48 33, 50, 54, 55, 56, 58 680
2010         V6/3.2L                                                            48 50, 54, 55, 56, 58       570     29       2014-12   V6/3.0L    PR Code J1U                              49 50, 54, 55, 56, 58      760
2009-08      V6/3.2L                                                            48 50, 54, 55, 56           570     29       2014-12   V6/3.0L    PR Code J0B                              49 33, 50, 54, 55, 56, 58 850
2009-08      V6/3.2L         Opt                                                49 33, 50, 54, 55, 56
                                                                                                            850              2014-12   V6/3.0L    Gas, PR Code J1U                         49 50, 54, 55, 56, 58 95 Ah
2009-08      V6/3.2L         Opt                                                94R 50, 54, 55, 56          640     30       2014-12   V6/3.0L    PR Code J0R                              94R 50, 54, 55, 56, 58 640         30
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                                                       See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                                                          Costco_001471
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                                      929
    Automotive/Light Truck                                                                                                                                                                                            15
                                                                                           Original                                                                                                         Original
        Year         Engine                         Options          BCI Group Size       Equipment    Fitment      Year     Engine                   Options                         BCI Group Size       Equipment    Fitment
                                                                         (notes)                        Code                                                                              (notes)                        Code
                                                                                          CCA/Rating                                                                                                       CCA/Rating
    Audi A7, A7 quattro (continued)                                                                              Audi A8, A8 quattro (continued)
    2014-12      V6/3.0L        AGM, PR Code J1N                  94R 33, 50, 54, 55, 56, 58 75 Ah               2014-13   V6/3.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2014-12      V6/3.0L        Gas, PR Code J0R                  94R 50, 54, 55, 56, 58 80 Ah          30       2014-13   V6/3.0L    AGM, PR Code J0B                             49 33, 50, 54, 55, 56, 58 92 Ah
    2014-12      V6/3.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58 800                 2014-13   V6/3.0L    AGM, PR Code J0P                             95R 33, 50, 54, 55, 56, 58105 Ah
    2014-12      V6/3.0L        Gas, PR Code J0P                  95R 33, 50, 54, 55, 56, 58105 Ah               2014-13   V6/3.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2014-12      V6/3.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58 850                     2014-13   V6/3.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2014-12      V6/3.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58 950                 2014-13   V8/4.0L    PR Code J1U                                  49 50, 54, 55, 56, 58       760
    2014         V6/3.0L        Dsl, AGM, PR Code J2D             48 33, 50, 54, 55, 56, 58 68 Ah                2014-13   V8/4.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2014         V6/3.0L        Dsl, PR Code J2D                  48 33, 50, 54, 55, 56, 58 680                  2014-13   V8/4.0L    AGM, PR Code J0B                             49 33, 50, 54, 55, 56, 58 92 Ah
    2014         V6/3.0L        Dsl, PR Code J1U                  49 50, 54, 55, 56, 58       760                2014-13   V8/4.0L    AGM, PR Code J0P                             95R 33, 50, 54, 55, 56, 58105 Ah
    2014         V6/3.0L        Dsl, PR Code J0B                  49 33, 50, 54, 55, 56, 58 850                  2014-13   V8/4.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2014         V6/3.0L        Dsl, AGM, PR Code J0B             49 33, 50, 54, 55, 56, 58 92 Ah                2014-13   V8/4.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2014         V6/3.0L        Dsl, PR Code J1U                  49 50, 54, 55, 56, 58 95 Ah                    2014-12   W12/6.3L   PR Code J1U                                  49 50, 54, 55, 56, 58       760
    2014         V6/3.0L        Dsl, PR Code J0R                  94R 50, 54, 55, 56, 58 640            30       2014-12   W12/6.3L   PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2014         V6/3.0L        Dsl, AGM, PR Code J1N             94R 33, 50, 54, 55, 56, 58 75 Ah               2014-12   W12/6.3L   PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2014         V6/3.0L        Dsl, PR Code J0R                  94R 50, 54, 55, 56, 58 80 Ah          30       2014-12   W12/6.3L   PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2014         V6/3.0L        Dsl, PR Code J1N                  94R 33, 50, 54, 55, 56, 58 800                 2014      V6/3.0L    Dsl, PR Code J1U                             49 50, 54, 55, 56, 58       760
    2014         V6/3.0L        Dsl, PR Code J0P                  95R 33, 50, 54, 55, 56, 58105 Ah               2014      V6/3.0L    Dsl, PR Code J0B                             49 33, 50, 54, 55, 56, 58 850
    2014         V6/3.0L        Dsl, PR Code J0Z                  95R 50, 54, 55, 56, 58 850                     2014      V6/3.0L    Dsl, AGM, PR Code J0B                        49 33, 50, 54, 55, 56, 58 92 Ah
    2014         V6/3.0L        Dsl, PR Code J0P                  95R 33, 50, 54, 55, 56, 58 950                 2014      V6/3.0L    AGM, PR Code J1N                             94R 33, 50, 54, 55, 56, 58 75 Ah
    Audi A8, A8 quattro                                                                                          2014      V6/3.0L    Dsl, AGM, PR Code J1N                        94R 33, 50, 54, 55, 56, 58 75 Ah
    2017         V6/3.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2014      V6/3.0L    Dsl, PR Code J1N                             94R 33, 50, 54, 55, 56, 58 800
    2017         V6/3.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2014      V6/3.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2017         V6/3.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2014      V6/3.0L    Dsl, AGM, PR Code J0P                        95R 33, 50, 54, 55, 56, 58105 Ah
    2017         V6/3.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2014      V6/3.0L    Dsl, PR Code J0Z                             95R 50, 54, 55, 56, 58 850
    2017         V6/3.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2014      V6/3.0L    Dsl, PR Code J0P                             95R 33, 50, 54, 55, 56, 58 950
    2017         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2014      V8/4.0L    AGM, PR Code J1N                             94R 33, 50, 54, 55, 56, 58 75 Ah
    2017         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2014      V8/4.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2017         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2014      W12/6.3L   AGM, PR Code J1N                             94R 33, 50, 54, 55, 56, 58 75 Ah
    2017         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2014      W12/6.3L   PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2017         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2013-12   W12/6.3L   PR Code 0K1                                  94R 33, 50, 54, 55, 56, 58 800
    2016         V6/3.0L        Dsl, PR Code J1U                  49 50, 54, 55, 56, 58        760               2013      V6/3.0L    PR Code 0K1                                  94R 33, 50, 54, 55, 56, 58 800
    2016         V6/3.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2013      V8/4.0L    PR Code 0K1                                  94R 33, 50, 54, 55, 56, 58 800
    2016         V6/3.0L        Dsl, PR Code J0B                  49 33, 50, 54, 55, 56, 58    850               2012-10   V8/4.2L    PR Code J1U                                  49 50, 54, 55, 56, 58       760
    2016         V6/3.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2012-10   V8/4.2L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2016         V6/3.0L        Dsl, PR Code J1N                  94R 33, 50, 54, 55, 56, 58   800               2012-10   V8/4.2L    PR Code 0K1                                  94R 33, 50, 54, 55, 56, 58 800
    2016         V6/3.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2012-10   V8/4.2L    AGM, PR Code J0P                             95R 33, 50, 54, 55, 56, 58105 Ah
                                                                                                                 2012-10   V8/4.2L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2016         V6/3.0L        Dsl, PR Code J0Z                  95R 50, 54, 55, 56, 58       850
                                                                                                                 2012-10   V8/4.2L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2016         V6/3.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850
                                                                                                                 2009-08   V8/4.2L    Opt                                          49 33, 50, 54, 55, 56       850
    2016         V6/3.0L        Dsl, PR Code J0P                  95R 33, 50, 54, 55, 56, 58   950
                                                                                                                 2009-08   W12/6.0L   Opt                                          49 33, 50, 54, 55, 56       850
    2016         V6/3.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950
                                                                                                                 2009-08   W12/6.0L   Opt                                          95R 50, 54, 55, 56, 58 850
    2016         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760
                                                                                                                 2009-05   W12/6.0L   Std, PR Code J1U                             49 50, 54, 55, 56, 58       760
    2016         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850
                                                                                                                 2009-00   V8/4.2L    Opt                                          95R 50                      850
    2016         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800
                                                                                                                 2007-05   W12/6.0L                                                95R 50, 54, 55, 56          850
    2016         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850
                                                                                                                 2003-97   V8/4.2L    Std                                          49 50                       760       33
    2016         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950
                                                                                                                 2003-97   V8/4.2L                                                 49 50                       850
    2016         W12/6.3L       PR Code J1U                       49 50, 54, 55, 56, 58        760
                                                                                                                 1999-97   V8/3.7L    Std                                          49 50                       760       33
    2016         W12/6.3L       PR Code J0B                       49 33, 50, 54, 55, 56, 58    850
                                                                                                                 1999-97   V8/3.7L                                                 49 50                       850
    2016         W12/6.3L       PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800
    2016         W12/6.3L       PR Code J0Z                       95R 50, 54, 55, 56, 58       850               Audi allroad
    2016         W12/6.3L       PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2016-13   L4/2.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58    850
    2015         V6/3.0L        Dsl, PR Code J1U                  49 50, 54, 55, 56, 58        760               2016-13   L4/2.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58   800
    2015         V6/3.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2016-13   L4/2.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58   950
    2015         V6/3.0L        Dsl, PR Code J0B                  49 33, 50, 54, 55, 56, 58    850               2016      L4/2.0L    PR Code J0N or J1L                           47 50, 54, 55, 56, 58        540      28
    2015         V6/3.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2016      L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58        570      29
    2015         V6/3.0L        Dsl, PR Code J1N                  94R 33, 50, 54, 55, 56, 58   800               2016      L4/2.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58    680
    2015         V6/3.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2016      L4/2.0L    PR Code J1U                                  49 50, 54, 55, 56, 58        760
    2015         V6/3.0L        Dsl, PR Code J0Z                  95R 50, 54, 55, 56, 58       850               2016      L4/2.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58       640      30
    2015         V6/3.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2016      L4/2.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58       850
    2015         V6/3.0L        Dsl, PR Code J0P                  95R 33, 50, 54, 55, 56, 58   950               2015-13   L4/2.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58    680
    2015         V6/3.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2015      L4/2.0L    PR Code J0N or J1L                           47 50, 54, 55, 56, 58        540      28
    2015         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2015      L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58        570      29
    2015         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2015      L4/2.0L    PR Code J1U                                  49 50, 54, 55, 56, 58        760
    2015         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2015      L4/2.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58       640      30
    2015         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2015      L4/2.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58       850
    2015         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2014-13   L4/2.0L    PR Code J0N or J1L                           47 50, 54, 55, 56, 58        540      28
    2015         W12/6.3L       PR Code J1U                       49 50, 54, 55, 56, 58        760               2014-13   L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58        570      29
    2015         W12/6.3L       PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2014-13   L4/2.0L    PR Code J1U                                  49 50, 54, 55, 56, 58        760
    2015         W12/6.3L       PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2014-13   L4/2.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58       640      30
    2015         W12/6.3L       PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2014-13   L4/2.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58       850
    2015         W12/6.3L       PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               Audi allroad quattro
    2014-13      V6/3.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2005-04 V6/2.7L                                                   94R 50                       650      30
    2014-13      V6/3.0L        PR Code J0B                       49 3                         850               2005-03 V8/4.2L                                                   49 50                        760      33
    See page 88 for Footnotes. Selection may vary by warehouse.                                                                              Note: PR codes are located on a tag near the spare tire or in the warranty booklet

                                                                                                                                                                                                                Costco_001472
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                                                       929
16                                                                                                                                            Automotive/Light Truck
                                                                                                             Original                                                                                                  Original
    Year          Engine                          Options                            BCI Group Size         Equipment    Fitment     Year      Engine                 Options                       BCI Group Size    Equipment    Fitment
                                                                                         (notes)                          Code                                                                          (notes)                     Code
                                                                                                            CCA/Rating                                                                                                CCA/Rating
Audi allroad quattro (continued)                                                                                                   Audi Q5 (continued)
2005-03      V8/4.2L                                                            49 50                         850                  2015      L4/2.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640         30
2003         V6/2.7L                                                            49 50                         760         33       2015      L4/2.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2003         V6/2.7L                                                            49 50                         850                  2015      L4/2.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2002-01      V6/2.7L                                                            94R 50                        640         30       2015      L4/2.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950
Audi Cabriolet                                                                                                                     2015      V6/3.0L    Dsl, PR Code J1L                          47 50, 54, 55, 56, 58       540    28
1998-94 V6/2.8L                                                                 41                            650                  2015      V6/3.0L    PR Code J1L                               47 50, 54, 55, 56, 58       540    28
                                                                                                                                   2015      V6/3.0L    Dsl, PR Code J0L                          48 50, 54, 55, 56, 58       570    29
Audi Coupe quattro                                                                                                                 2015      V6/3.0L    PR Code J0L                               48 50, 54, 55, 56, 58       570    29
1991-90 L5/2.3L                                                                 41 50                         650                  2015      V6/3.0L    Dsl, PR Code J2D                          48 33, 50, 54, 55, 56, 58 680
Audi Q3                                                                                                                            2015      V6/3.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2017-15      L4/2.0L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2015      V6/3.0L    Dsl, PR Code J1U                          49 50, 54, 55, 56, 58       760
2017         L4/2.0L         PR Code J0N or J1L                                 47 50, 54, 55, 56, 58         540         28       2015      V6/3.0L    PR Code J1U                               49 50, 54, 55, 56, 58       760
2017         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015      V6/3.0L    Dsl, PR Code J0B                          49 33, 50, 54, 55, 56, 58 850
2016-15      L4/2.0L         PR Code J0N, J1N                                   47 50, 54, 55, 56, 58         540         28       2015      V6/3.0L    PR Code J0B                               49 33, 50, 54, 55, 56, 58
                                                                                                                                                                                                                              850
2016-15      L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015      V6/3.0L    Dsl, PR Code J0R                          94R 50, 54, 55, 56, 58 640         30
Audi Q3 quattro                                                                                                                    2015      V6/3.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640         30
2017-15      L4/2.0L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2015      V6/3.0L    Dsl, PR Code J1N                          94R 33, 50, 54, 55, 56, 58 800
2017         L4/2.0L         PR Code J0N or J1L                                 47 50, 54, 55, 56, 58         540         28       2015      V6/3.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2017         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015      V6/3.0L    Dsl, PR Code J0Z                          95R 50, 54, 55, 56, 58 850
2016-15      L4/2.0L         PR Code J0N, J1N                                   47 50, 54, 55, 56, 58         540         28       2015      V6/3.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2016-15      L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015      V6/3.0L    Dsl, PR Code J0P                          95R 33, 50, 54, 55, 56, 58 950
                                                                                                                                   2015      V6/3.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950
Audi Q5                                                                                                                            2014-13   V6/3.0L    Gas, PR Code J0N or J1L                   47 50, 54, 55, 56, 58       540    28
2017         L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28       2014-13   V6/3.0L    PR Code J0L                               48 50, 54, 55, 56, 58       570    29
2017         L4/2.0L         PR Code J0L                                        48 50, 54, 55, 56, 58         570         29       2014-13   V6/3.0L    Gas, PR Code J1D                          48 50, 54, 55, 56, 58       600
2017         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2014-13   V6/3.0L    Gas, AGM, PR Code J2D                     48 33, 50, 54, 55, 56, 58 68 Ah
2017         L4/2.0L         PR Code J1U                                        49 50, 54, 55, 56, 58         760                  2014-13   V6/3.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2017         L4/2.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58     850                  2014-13   V6/3.0L    PR Code J1U                               49 50, 54, 55, 56, 58       760
2017         L4/2.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58        640         30       2014-13   V6/3.0L    PR Code J0B                               49 33, 50, 54, 55, 56, 58 850
2017         L4/2.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58    800                  2014-13   V6/3.0L    Gas, AGM, PR Code J0B                     49 33, 50, 54, 55, 56, 58 92 Ah
2017         L4/2.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58        850                  2014-13   V6/3.0L    Gas, PR Code J1U                          49 50, 54, 55, 56, 58 95 Ah
2017         L4/2.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58    950                  2014-13   V6/3.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640         30
2017         V6/3.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28       2014-13   V6/3.0L    Gas, AGM, PR Code J1N                     94R 33, 50, 54, 55, 56, 58 75 Ah
2017         V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58         570         29       2014-13   V6/3.0L    Gas, PR Code J0R                          94R 50, 54, 55, 56, 58 80 Ah 30
2017         V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2014-13   V6/3.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2017         V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58         760                  2014-13   V6/3.0L    Gas, PR Code J0Z                          95R 50, 54, 55, 56, 58 110 Ah
2017         V6/3.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58     850                  2014-13   V6/3.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2017         V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58        640         30       2014-13   V6/3.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950
2017         V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58    800                  2014-11   L4/2.0L    PR Code J0N or J1L                        47 50, 54, 55, 56, 58       540    28
2017         V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58        850                  2014-11   L4/2.0L    PR Code J0L                               48 50, 54, 55, 56, 58       570    29
2017         V6/3.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58    950                  2014-11   L4/2.0L    PR Code J1D                               48 50, 54, 55, 56, 58       600
2016         L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28       2014-11   L4/2.0L    AGM, PR Code J2D                          48 33, 50, 54, 55, 56, 58 68 Ah
2016         L4/2.0L         PR Code J0L                                        48 50, 54, 55, 56, 58         570         29       2014-11   L4/2.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2016         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2014-11   L4/2.0L    PR Code J1U                               49 50, 54, 55, 56, 58       760
2016         L4/2.0L         PR Code J1U                                        49 50, 54, 55, 56, 58         760                  2014-11   L4/2.0L    PR Code J0B                               49 33, 50, 54, 55, 56, 58 850
2016         L4/2.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58     850                  2014-11   L4/2.0L    AGM, PR Code J0B                          49 33, 50, 54, 55, 56, 58 92 Ah
2016         L4/2.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58        640         30       2014-11   L4/2.0L    PR Code J1U                               49 50, 54, 55, 56, 58 95 Ah
2016         L4/2.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58    800                  2014-11   L4/2.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640         30
2016         L4/2.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58        850                  2014-11   L4/2.0L    AGM, PR Code J1N                          94R 33, 50, 54, 55, 56, 58 75 Ah
2016         L4/2.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58    950                  2014-11   L4/2.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 80 Ah 30
2016         V6/3.0L         Dsl, PR Code J1L                                   47 50, 54, 55, 56, 58         540         28       2014-11   L4/2.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2016         V6/3.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28       2014-11   L4/2.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 110 Ah
2016         V6/3.0L         Dsl, PR Code J0L                                   48 50, 54, 55, 56, 58         570         29       2014-11   L4/2.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2016         V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58         570         29       2014-11   L4/2.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950
2016         V6/3.0L         Dsl, PR Code J2D                                   48 33, 50, 54, 55, 56, 58     680                  2014      V6/3.0L    Dsl, PR Code J0N, J1L                     47 50, 54, 55, 56, 58       540    28
2016         V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2014      V6/3.0L    Dsl, PR Code J0L                          48 50, 54, 55, 56, 58       570    29
2016         V6/3.0L         Dsl, PR Code J1U                                   49 50, 54, 55, 56, 58         760                  2014      V6/3.0L    Dsl, PR Code J1D                          48 50, 54, 55, 56, 58       600
2016         V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58         760                  2014      V6/3.0L    Dsl, AGM, PR Code J2D                     48 33, 50, 54, 55, 56, 58 68 Ah
2016         V6/3.0L         Dsl, PR Code J0B                                   49 33, 50, 54, 55, 56, 58     850                  2014      V6/3.0L    Dsl, PR Code J2D                          48 33, 50, 54, 55, 56, 58 680
2016         V6/3.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58     850                  2014      V6/3.0L    Dsl, PR Code J1U                          49 50, 54, 55, 56, 58       760
2016         V6/3.0L         Dsl, PR Code J0R                                   94R 50, 54, 55, 56, 58        640         30       2014      V6/3.0L    Dsl, PR Code J0B                          49 33, 50, 54, 55, 56, 58 850
2016         V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58        640         30       2014      V6/3.0L    Dsl, AGM, PR Code J0B                     49 33, 50, 54, 55, 56, 58 92 Ah
2016         V6/3.0L         Dsl, PR Code J1N                                   94R 33, 50, 54, 55, 56, 58    800                  2014      V6/3.0L    Dsl, PR Code J1U                          49 50, 54, 55, 56, 58 95 Ah
2016         V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58    800                  2014      V6/3.0L    Dsl, PR Code J0R                          94R 50, 54, 55, 56, 58 640         30
2016         V6/3.0L         Dsl, PR Code J0Z                                   95R 50, 54, 55, 56, 58        850                  2014      V6/3.0L    Dsl, AGM, PR Code J1N                     94R 33, 50, 54, 55, 56, 58 75 Ah
2016         V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58        850                  2014      V6/3.0L    Dsl, PR Code J0R                          94R 50, 54, 55, 56, 58 80 Ah 30
2016         V6/3.0L         Dsl, PR Code J0P                                   95R 33, 50, 54, 55, 56, 58    950                  2014      V6/3.0L    Dsl, PR Code J1N                          94R 33, 50, 54, 55, 56, 58 800
2016         V6/3.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58    950                  2014      V6/3.0L    Dsl, PR Code J0Z                          95R 50, 54, 55, 56, 58 110 Ah
2015         L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28       2014      V6/3.0L    Dsl, PR Code J0Z                          95R 50, 54, 55, 56, 58 850
2015         L4/2.0L         PR Code J0L                                        48 50, 54, 55, 56, 58         570         29       2014      V6/3.0L    Dsl, PR Code J0P                          95R 33, 50, 54, 55, 56, 58 950
2015         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2012-09   V6/3.2L    PR Code J0N or J1L                        47 50, 54, 55, 56, 58       540    28
2015         L4/2.0L         PR Code J1U                                        49 50, 54, 55, 56, 58         760                  2012-09   V6/3.2L    PR Code J0L                               48 50, 54, 55, 56, 58       570    29
2015         L4/2.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58     850                  2012-09   V6/3.2L    PR Code J1D                               48 50, 54, 55, 56, 58       600
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                                                              See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                                                              Costco_001473
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    Automotive/Light Truck                                                                                                                                                                                                 17
                                                                                             Original                                                                                                              Original
       Year        Engine                      Options                   BCI Group Size     Equipment     Fitment     Year      Engine                   Options                         BCI Group Size           Equipment    Fitment
                                                                             (notes)                       Code                                                                              (notes)                            Code
                                                                                            CCA/Rating                                                                                                            CCA/Rating
    Audi Q5 (continued)                                                                                             Audi R8 (continued)
    2012-09    V6/3.2L      AGM, PR Code J2D                           48 33, 50, 54, 55, 56, 58 68 Ah              2014      V8/4.2L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 68 Ah
    2012-09    V6/3.2L      PR Code J2D                                48 33, 50, 54, 55, 56, 58 680                2014      V8/4.2L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2012-09    V6/3.2L      PR Code J1U                                49 50, 54, 55, 56, 58       760              2012-10   V10/5.2L   PR Code J0L                                  48 50, 54, 55, 56, 58      570            29
    2012-09    V6/3.2L      PR Code J0B                                49 33, 50, 54, 55, 56, 58 850                2012-10   V10/5.2L   PR Code J2D                                  48 33, 50, 54, 55, 56, 58 68 Ah
    2012-09    V6/3.2L      AGM, PR Code J0B                           49 33, 50, 54, 55, 56, 58 92 Ah              2012-10   V10/5.2L   PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2012-09    V6/3.2L      PR Code J1U                                49 50, 54, 55, 56, 58 95 Ah                  2012-10   V10/5.2L   PR Code J1D                                  48 50, 54, 55, 56, 58      720
    2012-09    V6/3.2L      PR Code J0R                                94R 50, 54, 55, 56, 58 640          30       2012-10   V10/5.2L   PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2012-09    V6/3.2L      AGM, PR Code J1N                           94R 33, 50, 54, 55, 56, 58 75 Ah             2012-08   V8/4.2L    PR Code J0L                                  48 50, 54, 55, 56, 58      570            29
    2012-09    V6/3.2L      PR Code J1N                                94R 33, 50, 54, 55, 56, 58 800               2012-08   V8/4.2L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 68 Ah
                                                                                                                                                                                         33, 50, 54, 55, 56, 58
    2012-09    V6/3.2L      PR Code J0Z                                95R 50, 54, 55, 56, 58 110 Ah                2012-08   V8/4.2L    PR Code J2D                                  48                         680
    2012-09    V6/3.2L      PR Code J0Z                                95R 50, 54, 55, 56, 58 850                   2012-08   V8/4.2L    PR Code J1D                                  48 50, 54, 55, 56, 58      720
    2012-09    V6/3.2L      PR Code J0P                                95R 33, 50, 54, 55, 56, 58 950               2012-08   V8/4.2L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    Audi Q7                                                                                                         Audi RS 4
    2017       L4/2.0L      PR Code J2D                                48 33, 50, 54, 55, 56, 58 680                2008-07 V8/4.2L                                                   49 33, 50, 54, 55, 56      850
    2017       L4/2.0L      PR Code J0B                                49 33, 50, 54, 55, 56, 58 850                2008-07 V8/4.2L      AGM, PR Code J0B                             49 33, 50, 54, 55, 56, 58 92 Ah
    2017       L4/2.0L      PR Code J1N                                94R 33, 50, 54, 55, 56, 58 800               Audi RS 5
    2017       L4/2.0L      PR Code J0P                                95R 33, 50, 54, 55, 56, 58 950               2015      V8/4.2L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2017       V6/3.0L      PR Code J2D                                48 33, 50, 54, 55, 56, 58 680                2015      V8/4.2L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    2017       V6/3.0L      PR Code J0B                                49 33, 50, 54, 55, 56, 58 850                2015      V8/4.2L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2017       V6/3.0L      PR Code J1N                                94R 33, 50, 54, 55, 56, 58 800               2015      V8/4.2L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2017       V6/3.0L      PR Code J0P                                95R 33, 50, 54, 55, 56, 58 950               2015      V8/4.2L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2015       V6/3.0L      Dsl, Opt                                   49 50, 54, 55, 56, 58      760
                                                                                                                    2014-13   V8/4.2L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    2015       V6/3.0L      Opt                                        49 50, 54, 55, 56, 58      760
                                                                                                                    2014-13   V8/4.2L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2015       V6/3.0L      Dsl, Opt                                   49 33, 50, 54, 55, 56, 58 850
                                                                                                                    2014-13   V8/4.2L    Coupe, AGM, PR Code J0B                      49 33, 50, 54, 55, 56, 58 92 Ah
    2015       V6/3.0L      Dsl, Opt, AGM                              49 33, 50, 54, 55, 56, 58 850
                                                                                                                    2014-13   V8/4.2L    Coupe, PR Code J1U                           49 50, 54, 55, 56, 58 95 Ah
    2015       V6/3.0L      Gas, Opt, AGM                              49 33, 50, 54, 55, 56, 58 850
                                                                                                                    2014-13   V8/4.2L    Coupe, AGM, PR Code J0P                      95R 33, 50, 54, 55, 56, 58105 Ah
    2015       V6/3.0L      Opt                                        49 33, 50, 54, 55, 56, 58 850
    2015       V6/3.0L                                                 94R 50, 54, 55, 56, 58 640          30       2014-13   V8/4.2L    Coupe, PR Code J0Z                           95R 50, 54, 55, 56, 58 110 Ah
    2015       V6/3.0L      Dsl                                        94R 50, 54, 55, 56, 58 640          30       2014-13   V8/4.2L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2015       V6/3.0L      Dsl, Opt                                   95R 50, 54, 55, 56, 58 850                   2014-13   V8/4.2L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2015       V6/3.0L      Opt                                        95R 50, 54, 55, 56, 58 850                   2014      V8/4.2L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2015       V6/3.0L      Dsl, Opt                                   95R 33, 50, 54, 55, 56, 58 950               Audi RS 6
    2015       V6/3.0L      Dsl, Opt, AGM                              95R 33, 50, 54, 55, 56, 58 950               2004-03 V8/4.2L                                                   49 50                         760         33
    2015       V6/3.0L      Gas, Opt, AGM                              95R 33, 50, 54, 55, 56, 58 950               2004    V8/4.2L                                                   49 50                         850
    2015       V6/3.0L      Opt                                        95R 33, 50, 54, 55, 56, 58 950               2003    V8/4.2L                                                   49 50                         850
    2014-11    V6/3.0L      Dsl, PR Code J1U                           49 50, 54, 55, 58          760               Audi RS 7
    2014-11    V6/3.0L      PR Code J1U                                49 50, 54, 55, 58          760               2017      V8/4.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2014-11    V6/3.0L      Dsl, Opt                                   49 33, 50, 54, 55, 56      850               2017      V8/4.0L    PR Code J1U                                  49 50, 54, 55, 56, 58       760
    2014-11    V6/3.0L      Opt                                        49 33, 50, 54, 55, 56      850
                                                                                                                    2017      V8/4.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2014-11    V6/3.0L      AGM, PR Code J0B                           49 33, 50, 54, 55, 56, 58 92 Ah
                                                                                                                    2017      V8/4.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640                30
    2014-11    V6/3.0L      Dsl, AGM, PR Code J0B                      49 33, 50, 54, 55, 56, 58 92 Ah
                                                                                                                    2017      V8/4.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2014-11    V6/3.0L      Dsl                                        94R 50, 54, 55, 56         640      30
                                                                                                                    2017      V8/4.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2014-11    V6/3.0L      PR Code J0R                                94R 50, 54, 55, 56, 58 640          30
                                                                                                                    2017      V8/4.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2014-11    V6/3.0L      PR Code J0Z                                95R 50, 54, 55, 56, 58 850
    2014-11    V6/3.0L      AGM, PR Code J0P                           95R 33, 50, 54, 55, 56, 58 950               2016      V8/4.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2014-11    V6/3.0L      Dsl, AGM, PR Code J0P                      95R 33, 50, 54, 55, 56, 58 950               2016      V8/4.0L    PR Code J1U                                  49 50, 54, 55, 56, 58       760
    2014-10    V6/3.0L      Dsl, PR Code J0Z                           95R 50, 54, 55, 56, 58 850                   2016      V8/4.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2010-07    V6/3.6L      PR Code J1U                                49 50, 54, 55, 58          760               2016      V8/4.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640                30
    2010-07    V6/3.6L      PR Code J0Z                                95R 50, 54, 55, 56, 58 850                   2016      V8/4.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2010-07    V8/4.2L      PR Code J1U                                49 50, 54, 55, 58          760               2016      V8/4.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2010-07    V8/4.2L      PR Code J0Z                                95R 50, 54, 55, 56, 58 850                   2016      V8/4.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2010       V6/3.0L      Dsl, PR Code J1U                           49 50, 54, 55, 56, 58      760               2015      V8/4.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2010       V6/3.0L      Dsl, PR Code J0B                           49 33, 50, 54, 55, 56, 58 850                2015      V8/4.0L    PR Code J1U                                  49 50, 54, 55, 56, 58       760
    2010       V6/3.0L      Dsl                                        94R 50, 54, 55, 56, 58 640          30       2015      V8/4.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2010       V6/3.0L      Dsl, PR Code J0P                           95R 33, 50, 54, 55, 56, 58 950               2015      V8/4.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640                30
    2010       V6/3.6L      Opt                                        49 33, 50, 54, 55, 56      850               2015      V8/4.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2010       V6/3.6L                                                 94R 50, 54, 55, 56         640      30       2015      V8/4.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2010       V6/3.6L       Opt                                       95R 33, 50, 54, 55, 56 950                   2015      V8/4.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2010       V8/4.2L       Opt                                       49 33, 50, 54, 55, 56      850               2014      V8/4.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 68 Ah
    2010       V8/4.2L                                                 94R 50, 54, 55, 56         640      30       2014      V8/4.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
                                                                            33, 50, 54, 55, 56
    2010       V8/4.2L      Opt                                        95R                        950               2014      V8/4.0L    PR Code J1U                                  49 50, 54, 55, 56, 58       760
    2009       V6/3.0L      Dsl                                        49 50, 54, 55, 56, 58      760      33       2014      V8/4.0L    AGM, PR Code J0B                             49 33, 50, 54, 55, 56, 58 850
    2009       V6/3.0L      Dsl, Opt                                   95R 50, 54, 55, 56, 58 850                   2014      V8/4.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640                30
    Audi R8                                                                                                         2014      V8/4.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 75 Ah
    2017        V10/5.2L PR Codes J0B+B0A, B0D, B0E, B0G, 49 33, 50, 54, 55, 56, 58 850                             2014      V8/4.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
                                B0H, B0L, B0M, B0N, B0R, B0W,                                                       2014      V8/4.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
                                B1C, B1P, B1Q, B1R, B1S, B2A, B2E,                                                  2014      V8/4.0L    AGM, PR Code J0P                             95R 33, 50, 54, 55, 56, 58 950
                                B2G, B2H, B3E, B3H, B4G, B1Z                                                        Audi S3
    2017        V10/5.2L PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800                   2017      L4/2.0L    PR Code J1L                                  47 50, 54, 55, 56, 58         540         28
    2015        V10/5.2L PR Code J2D                               48 33, 50, 54, 55, 56, 58 680                    2017      L4/2.0L    PR Code J1D                                  48 50, 54, 55, 56, 58         640
    2015        V8/4.2L PR Code J2D                                48 33, 50, 54, 55, 56, 58 680                    2017      L4/2.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58     680
    2014        V10/5.2L PR Code J2D                               48 33, 50, 54, 55, 56, 58 68 Ah                  2016      L4/2.0L    PR Code J0N or J1L                           47 50, 54, 55, 56, 58         540         28
    2014        V10/5.2L PR Code J2D                               48 33, 50, 54, 55, 56, 58 680                    2016      L4/2.0L    PR Code J1D                                  48 50, 54, 55, 56, 58         640
    See page 88 for Footnotes. Selection may vary by warehouse.                                                                                 Note: PR codes are located on a tag near the spare tire or in the warranty booklet

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                                                       929
18                                                                                                                                            Automotive/Light Truck
                                                                                                             Original                                                                                                      Original
    Year          Engine                          Options                            BCI Group Size         Equipment    Fitment     Year      Engine                 Options                        BCI Group Size       Equipment    Fitment
                                                                                         (notes)                          Code                                                                           (notes)                        Code
                                                                                                            CCA/Rating                                                                                                    CCA/Rating
Audi S3 (continued)                                                                                                                Audi S5 (continued)
2016         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2012-10   V8/4.2L    PR Code J1L                               47 50, 54, 55, 56, 58      540        28
2015         L4/2.0L         PR Code J0N or J1L                                 47 50                         540         28       2012-10   V8/4.2L    PR Code J0L                               48 50, 54, 55, 56, 58      570        29
2015         L4/2.0L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2012-10   V8/4.2L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2015         L4/2.0L         PR Code J2D                                        48 33, 50                     680                  2012-10   V8/4.2L    PR Code J0R                               94R 50, 54, 55, 56, 58 640            30
2015         L4/2.0L         PR Code J1P                                        N/A                           360                  2012-09   V8/4.2L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 68 Ah
2015         L4/2.0L         PR Code J2S                                        N/A                           480                  2012-09   V8/4.2L    PR Code J0L                               48 50, 54, 55, 56, 58 70 Ah           29
2015         L4/2.0L         PR Code J0S                                        N/A 59                        540                  2012-09   V8/4.2L    AGM, PR Code J0B                          49 33, 50, 54, 55, 56, 58 850
2015         L4/2.0L         PR Code J0T                                        N/A 59                        680                  2012-09   V8/4.2L    AGM, PR Code J0P                          95R 33, 50, 54, 55, 56, 58 950
Audi S4                                                                                                                            2012-08   V8/4.2L    PR Code J1U                               49 50, 54, 55, 56, 58      760
2016-15      V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58    800                  2012-08   V8/4.2L    PR Code J0R                               94R 50, 54, 55, 56, 58 80 Ah          30
2016-15      V6/3.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58    950                  2012-08   V8/4.2L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2016         V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2012      V8/4.2L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2016         V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58         760                  2009-08   V8/4.2L    PR Code J0R                               94R 50, 54, 55, 56, 58 640            30
2016         V6/3.0L         PR Code J0B, B0A, B0L, B0M, B0N,                   49 33, 50, 54, 55, 56, 58     850                  2009      V8/4.2L    PR Code J0N or J1L                        47 50, 54, 55, 56, 58      540        28
                             B0R, B1C, B1D, B1Q, B1Z, B2E,                                                                         2009      V8/4.2L    PR Code J0L                               48 50, 54, 55, 56, 58      570        29
                             B2H, B3D, B3E, B4G, B4K                                                                               2009      V8/4.2L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2016         V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                         Audi S6
2015         V6/3.0L         PR Code J1L                                        47 50, 54, 55, 56, 58       540           28       2017-16   V8/4.0L    PR Code J0L                               48 50, 54, 55, 56, 58      640        29
2015         V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58       570           29       2017-16   V8/4.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
                                                                                   33, 50, 54, 55, 56, 58
2015         V6/3.0L         PR Code J2D                                        48                          680                    2017-15   V8/4.0L    PR Code J1U                               49 50, 54, 55, 56, 58      760
2015         V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58       760                    2017-15   V8/4.0L    PR Code J0B                               49 33, 50, 54, 55, 56, 58 850
2015         V6/3.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                      2017-15   V8/4.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2015         V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640                30       2017-15   V8/4.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950
2015         V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                         2017      V8/4.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2014-13      V6/3.0L         PR Code J1L                                        47 50, 54, 55, 56, 58       540           28
                                                                                                                                   2017      V8/4.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640            30
2014-13      V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58       570           29
                                                                                                                                   2016      V8/4.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2014-13      V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 68 Ah
                                                                                   33, 50, 54, 55, 56, 58                          2016      V8/4.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640            30
2014-13      V6/3.0L         PR Code J2D                                        48                          680
                                                                                                                                   2015-14   V8/4.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640            30
2014-13      V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58 70 Ah               29
2014-10      V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58       760                    2015-13   V8/4.0L    PR Code J0L                               48 50, 54, 55, 56, 58      640        29
2014-10      V6/3.0L         AGM, PR Code J0B                                   49 33, 50, 54, 55, 56, 58 850                      2015      V8/4.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2014-10      V6/3.0L         PR Code J0R                                        94R 50, 55, 56, 58          640           30       2015      V8/4.0L    PR Code J0L                               48 50, 54, 55, 56, 58 70 Ah           29
2014-10      V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 75 Ah                   2015      V8/4.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2014-10      V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                         2014-13   V8/4.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 68 Ah
2014-10      V6/3.0L         AGM, PR Code J0P                                   95R 33, 50, 54, 55, 56, 58 950                     2014-13   V8/4.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2014         V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800                     2014-13   V8/4.0L    PR Code J0L                               48 50, 54, 55, 56, 58 70 Ah           29
2012-10      V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800                     2014-13   V8/4.0L    PR Code J1U                               49 50, 54, 55, 56, 58      760
2009-04      V8/4.2L         PR Code J1U                                        49 50, 54, 55, 56, 58       760                    2014-13   V8/4.0L    AGM, PR Code J0B                          49 33, 54, 55, 56, 58      850
2009-04      V8/4.2L         PR Code J0R                                        94R 50, 55, 56, 58          640           30       2014-13   V8/4.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2009         V8/4.2L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                      2014-13   V8/4.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2009         V8/4.2L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800                     2014-13   V8/4.0L    AGM, PR Code J0P                          95R 33, 50, 54, 55, 56, 58 950
2009         V8/4.2L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                         2013      V8/4.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640            30
2009         V8/4.2L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58 950                     2011      V10/5.2L   PR Code J0L                               48 50, 54, 55, 56, 58      640        29
2002         V6/2.7L         Turbo                                              94R 50                      640           30       2011      V10/5.2L   PR Code J2D                               48 33, 50, 54, 55, 56, 58 68 Ah
2001-00      V6/2.7L                                                            48 50                       570           29       2011      V10/5.2L   PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
1994-93      L5/2.2L         Turbo                                              41 50                       650                    2011      V10/5.2L   PR Code J0L                               48 50, 54, 55, 56, 58 70 Ah           29
Audi S5                                                                                                                            2011      V10/5.2L   PR Code J1U                               49 50, 54, 55, 56, 58      760
2017-16      V6/3.0L         PR Code J1L                                        47 50, 54, 55, 56, 58      540            28       2011      V10/5.2L   AGM, PR Code J0B                          49 33, 54, 55, 56, 58      850
2017-15      V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58      570            29       2011      V10/5.2L   PR Code J0R                               94R 50, 54, 55, 56, 58 640            30
2017-15      V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58      760                     2011      V10/5.2L   PR Code J0R                               94R 50, 54, 55, 56, 58 80 Ah          30
2017-15      V6/3.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                      2011      V10/5.2L   PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2017-15      V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800                     2011      V10/5.2L   PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2017-15      V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                         2011      V10/5.2L   AGM, PR Code J0P                          95R 33, 50, 54, 55, 56, 58 950
2017-15      V6/3.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58 950                     2010-08   V10/5.2L   Opt                                       49 50, 54, 55, 56          760        33
2017         V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                      2010-08   V10/5.2L   Opt                                       49 33, 50, 54, 55, 56      850
2017         V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640                30       2010-08   V10/5.2L   Opt                                       94R 50, 54, 55, 56         640        30
2016         V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                      2010-08   V10/5.2L   Opt                                       95R 50, 54, 55, 56         850
2016         V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640                30       2010-07   V10/5.2L                                             48 50, 54, 55, 56          570        29
2015         V6/3.0L         PR Code J1L                                        47 50, 54, 55, 56, 58      540            28       2007      V10/5.2L    Opt                                      49 50, 54, 55, 56          760        33
2015         V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                      2007      V10/5.2L    Opt                                      49 33, 50, 54, 55, 56      850
2015         V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640                30       2007      V10/5.2L    Opt                                      94R 50, 54, 55, 56         640        30
2014-12      V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800                     2007      V10/5.2L    Opt                                      95R 50, 54, 55, 56         850
2014-10      V6/3.0L         PR Code J1L                                        47 50, 54, 55, 56, 58      540            28       2003-02   V8/4.2L                                              49 50                      720        33
2014-10      V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58      570            29       1997-95   L5/2.2L                                              41 50                      650
2014-10      V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 68 Ah                    Audi S7
2014-10      V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                      2017      V8/4.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58
                                                                                                                                                                                                                          680
2014-10      V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58 70 Ah               29       2017      V8/4.0L    PR Code J1U                               49 50, 54, 55, 56, 58   760
2014-10      V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58      760                     2017      V8/4.0L    PR Code J0B                               49 33, 50, 54, 55, 56, 58
                                                                                                                                                                                                                          850
2014-10      V6/3.0L         AGM, PR Code J0B                                   49 33, 50, 54, 55, 56, 58 850                      2017      V8/4.0L    PR Code J0R                               94R 50, 54, 55, 56, 58  640        30
2014-10      V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640                30       2017      V8/4.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58
                                                                                                                                                                                                                          800
2014-10      V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 80 Ah              30       2017      V8/4.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58  850
2014-10      V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                         2017      V8/4.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58
                                                                                                                                                                                                                          950
2014-10      V6/3.0L         AGM, PR Code J0P                                   95R 33, 50, 54, 55, 56, 58 950                     2016      V8/4.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58
                                                                                                                                                                                                                          680
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                                                              See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                                                             19
                                                                                           Original                                                                                                           Original
        Year         Engine                         Options          BCI Group Size       Equipment    Fitment      Year     Engine                    Options                         BCI Group Size        Equipment    Fitment
                                                                         (notes)                        Code                                                                               (notes)                         Code
                                                                                          CCA/Rating                                                                                                         CCA/Rating
    Audi S7 (continued)                                                                                          Audi TT, TT quattro (continued)
    2016         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2009-08   L4/2.0L                                                  47 50, 54, 55, 56           480
    2016         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2009-08   V6/3.2L    w/o AGM, PR Code J0R                          94R 50, 54, 55, 56, 58 650             30
    2016         V8/4.0L        PR Code J0R                       94R 50, 54, 55, 56, 58       640      30       2009-08   V6/3.2L    AGM, PR Code JIN                              94R 33, 50, 54, 55, 56, 58 75 Ah
    2016         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2006-04   V6/3.2L    w/o AGM, PR Code J0R                          94R 50, 54, 55, 56, 58 650             30
    2016         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2006-03   L4/1.8L    PR Code J1D, Opt                              48 50, 54, 55, 56, 58 72 Ah
    2016         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2006-00   L4/1.8L                                                  47                          480       N/A
    2015         V8/4.0L        PR Code J2D                       48 33, 50, 54, 55, 56, 58    680               Audi V8 quattro
    2015         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               1994-92 V8/4.2L      32 Valve                                      41 50                      720
    2015         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               1991    V8/3.6L      32 Valve                                      41 50                      720
    2015         V8/4.0L        PR Code J0R                       94R 50, 54, 55, 56, 58       640      30       1990    V8/3.6L      32 Valve                                      41 50                      650
    2015         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800
                                                                                                                 Avanti Avanti
    2015         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850
                                                                                                                 2007-05 V8/4.6L                                                    96R                        590         32
    2015         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950
    2014-13      V8/4.0L        PR Code J2D                       48 33, 50, 54, 55, 56, 58    680               Bentley Arnage
    2014-13      V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2009-08   V8/6.8L    Lft Side Aux Battery                          34 50                      750
    2014-13      V8/4.0L        AGM, PR Code J0B                  49 33, 54, 55, 56, 58        850               2009-08   V8/6.8L    Rt Side                                       91 50                      700
    2014-13      V8/4.0L        PR Code J0R                       94R 50, 54, 55, 56, 58       640      30       2007-00   V8/6.8L                                                  91                         700
    2014-13      V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2001-99   V8/4.4L                                                  91                         700
    2014-13      V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               Bentley Azure
    2014-13      V8/4.0L        AGM, PR Code J0P                  95R 33, 50, 54, 55, 56, 58   950               2010-08   V8/6.8L    Lft Side Aux Battery                          34 50                      750
    Audi S8                                                                                                      2010-08   V8/6.8L    Rt Side                                       91 50                      700
    2017         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2007-06   V8/6.8L                                                  91                         700
    2017         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2003-96   V8/6.8L                                                  91                         700
    2017         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               Bentley Brooklands
    2017         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2009-08 V8/6.8L      Lft Side Aux Battery                          34 50                      750
    2017         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2009-08 V8/6.8L      Rt Side                                       91 50                      700
    2016         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               1998-93 V8/6.8L                                                    91                         700
    2016         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               Bentley Continental
    2016         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2014-13   V8/4.0L    Primary Battery - Rt Side                     47 50, 54                  610
    2016         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2014-13   V8/4.0L    Aux - Lft Side                                49 50, 54                  850
    2016         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2014      W12/6.0L   Primary Battery - Rt Side                     47 50, 54                  610
    2015         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2014      W12/6.0L   Aux - Lft Side                                49 50, 54                  850
    2015         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2013-09   W12/6.0L   Rt Side                                       47 54                      610
    2015         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2013-09   W12/6.0L   Lft Side Aux Battery                          49 54                      850
    2015         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2008-04   W12/6.0L   Rt Side                                       47                         650
    2015         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2008-04   W12/6.0L   Lft Side Aux Battery                          49                         900
    2014-13      V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2003-90   V8/6.8L                                                  24                         650         22
    2014-13      V8/4.0L        AGM, PR Code J0B                  49 33, 54, 55, 56, 58        850               2003      W12/6.0L                                                 24                         650         22
    2014-13      V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850
    2014-13      V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950
                                                                                                                 Bentley Eight
    2014         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               1991-90 V8/6.8L                                                    24                         800
    2013         V8/4.0L        PR Code 0K1                       94R 33, 50, 54, 55, 56, 58   800               Bentley Flying Spur
    2009-08      V10/5.2L       Opt                               49 33, 50, 54, 55, 56        850               2017-15 V8/4.0L                                                    47                         610
    2009         V10/5.2L                                         95R 50, 55                   650               2017-14 W12/6.0L                                                   47                         610
    2009         V10/5.2L                                         95R 50, 54, 55, 56           850               Bentley Mulsanne
    2008-07      V10/5.2L                                         95R 50, 55                   850               2014-13   V8/6.8L    Aux - Lft Side                                49 50, 54                  850
    2003-02      V8/4.2L        PR Code J1U                       49 50, 54, 55, 56, 58        720               2014-11   V8/6.8L    Primary Battery - Rt Side                     47 50, 54                  610
    2001         V8/4.2L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2012-11   V8/6.8L    Aux - Lft Side                                49 50, 54                  850
    2001         V8/4.2L                                          49 50                        850               1992-90   V8/6.8L                                                  24                         800
    Audi SQ5                                                                                                     Bentley Turbo R
    2017         V6/3.0L                                          94R                          640      30       1998-90 V8/6.8L                                                    48                         700         29
    2016         V6/3.0L                                          94R                          640      30       BMW 1 Series M
    2015         V6/3.0L                                          94R 50, 55                   640      30
                                                                                                                 2011      L6/3.0L                                                  48 18, 33, 50, 54          760
    2014         V6/3.0L                                          94R                          640      30
                                                                                                                 BMW 128i
    Audi TT, TT quattro
                                                                                                                 2013-08   L6/3.0L    Option 1                                      48 18, 50, 54              570         29
    2017        L4/2.0L PR Code J2D                               48 33, 50, 54, 55, 56, 58    680
                                                                                                                 2013-08   L6/3.0L    w/AGM, Option 3                               48 18, 33, 50, 54          760
    2017        L4/2.0L PR Code J1U                               49 50, 54, 55, 56, 58        760
                                                                                                                 2013-08   L6/3.0L    Option 3                                      49 18, 50, 54, 56          720         33
    2017        L4/2.0L PR Code J0B                               49 33, 50, 54, 55, 56, 58    850
                                                                                                                 2013-08   L6/3.0L    w/AGM, Option 1                               49 18, 33, 50, 54          850
    2017        L4/2.0L PR Code J0R                               94R 50, 54, 55, 56, 58       640      30
                                                                                                                 2013-08   L6/3.0L    w/AGM, Option 2                               49 18, 33, 50, 54          900
    2017        L4/2.0L PR Code J1N                               94R 33, 50, 54, 55, 56, 58   800
                                                                                                                 2013-08   L6/3.0L    Option 2                                      94R 18, 50, 54             640         30
    2016        L4/2.0L PR Code J2D                               48 33, 50, 54, 55, 56, 58    680
    2016        L4/2.0L PR Code J1U                               49 50, 54, 55, 56, 58        760               BMW 135, 135is
    2016        L4/2.0L PR Code J0B                               49 33, 50, 54, 55, 56, 58    850               2013-08   L6/3.0L                                                  48 18, 50, 54              570         29
    2016        L4/2.0L PR Code J0R                               94R 50, 54, 55, 56, 58       640      30       2013-08   L6/3.0L    w/AGM, Option 1                               48 18, 33, 50, 54          760
    2016        L4/2.0L PR Code J1N                               94R 33, 50, 54, 55, 56, 58   800               2013-08   L6/3.0L    Option 2                                      49 18, 50, 54, 56          720         33
    2015-14 L4/2.0L Opt                                           94R 33, 50, 54, 55, 56       800               2013-08   L6/3.0L    w/AGM, Option 2                               49 18, 33, 50, 54, 56      850
    2015        L4/2.0L                                           47 50, 54, 55, 56            540               2013-08   L6/3.0L    w/AGM, Option 3                               49 18, 33, 50, 54, 56      900
    2015        L4/2.0L Opt                                       94R 50, 54, 55, 56           640      30       2013-08   L6/3.0L    Option 1                                      94R 18, 50, 54             640         30
    2014-09 L4/2.0L                                               47 50, 54, 55, 56            480               BMW 228i
    2014        L4/2.0L                                           47 50, 54, 55, 56            540               2016-14 L4/2.0L      Opt                                           49 33, 50, 54, 55, 56      900
    2014        L4/2.0L Opt                                       94R 50, 54, 55, 56           640      30       2016    L4/2.0L                                                    94R 33, 50, 54, 55, 56     800
    2013-12 L5/2.5L                                               47 50, 54, 55, 56            480               2015    L4/2.0L      Opt                                           49 33, 50, 54, 55, 56      850
    See page 88 for Footnotes. Selection may vary by warehouse.                                                                               Note: PR codes are located on a tag near the spare tire or in the warranty booklet

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20                                                                                                            Automotive/Light Truck
                                                                             Original                                                                                                   Original
  Year      Engine                 Options            BCI Group Size        Equipment    Fitment     Year      Engine                 Options                        BCI Group Size    Equipment    Fitment
                                                          (notes)                         Code                                                                           (notes)                     Code
                                                                            CCA/Rating                                                                                                 CCA/Rating
BMW 228i (continued)                                                                               BMW 325 Series (continued)
2015      L4/2.0L                                  94R 33, 50, 54, 55, 56     800                  2005-04   L6/2.5L    w/N52 Eng & AGM, Option 1                 48 18, 33, 50, 54      760
2014      L4/2.0L    Opt                           49 18, 33, 50, 54, 56      850                  2005-04   L6/2.5L    w/N52 Eng w/o AGM Option 3                49 18, 50, 54          720         33
2014      L4/2.0L                                  94R 18, 33, 50, 54, 56     800                  2005-04   L6/2.5L    w/N52 Eng & AGM, Option 2                 49 18, 33, 50          850
BMW 228i xDrive                                                                                    2005-04   L6/2.5L    w/N52 Eng & AGM, Option 3                 49 18, 33, 50          900
2016-15   L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900                  2005-04   L6/2.5L    w/M54 Eng                                 94R 18, 50, 54         640         30
2016      L4/2.0L                                  94R 33, 50, 54, 55, 56     800                  2005-04   L6/2.5L    w/M54 or N52 Eng w/o AGM,                 94R 18, 50, 54         640         30
2015      L4/2.0L    Opt                           49 33, 50, 54, 55, 56      850                                       Option 2
2015      L4/2.0L                                  94R 33, 50, 54, 55, 56     800                  2005-04   L6/2.5L    w/N52 Eng Opt                             94R 18, 50, 54         640         30
BMW 230i                                                                                           2005-03   L6/2.5L    325Ci SULEV w/AGM, Option 2               49 18, 33, 50          850
2017      L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900                  2005-03   L6/2.5L    SULEV w/AGM, Option 1                     49 18, 33, 50          900
2017      L4/2.0L                                  94R 33, 50, 54, 55, 56     800                  2005-01   L6/2.5L    Ex SULEV                                  94R 18, 50, 54         640         30
                                                                                                   2004      L6/2.5L    w/AGM, Option 2                           49 18, 33, 50          850
BMW 230i xDrive
                                                                                                   2004      L6/2.5L    AGM, Option 3                             49 18, 33, 50          900
2017      L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900
                                                                                                   2003-02   L6/2.5L    Ex SULEV, Option 1                        48 18, 50, 54          570         29
2017      L4/2.0L                                  94R 33, 50, 54, 55, 56     800
                                                                                                   2003-02   L6/2.5L    325i SULEV w/AGM, Option 1                49 18, 33, 50          850
BMW 318i, 318iS, 318Ti                                                                             2003-02   L6/2.5L    SULEV w/AGM, Option 2                     49 18, 33, 50          900
1999-96   L4/1.9L                                  91 50                      600                  2003-02   L6/2.5L    Ex SULEV, Option 2                        94R 18, 50, 54         640         30
1997-96   L4/1.9L    Ex Conv                       91 50                      600                  2003-01   L6/2.5L    X                                         48 18, 50, 54, 56      570         29
1997-96   L4/1.9L    Conv                          92 34, 50                  575                  2003-01   L6/2.5L    Opt                                       94R 18, 50, 54, 56     640         30
1995-91   L4/1.8L                                  91 50                      600                  2003      L6/2.5L    X                                         94R 18, 50, 54, 56     640         30
BMW 320i xDrive                                                                                    2001      L6/2.5L    Opt                                       48 18, 50, 54          570         29
2017      L4/2.0L                                  48 33, 50, 54, 55, 56      760                  2001      L6/2.5L    X                                         48 18, 50, 54          570         29
2017      L4/2.0L    Opt                           94R 33, 50, 54, 55, 56     800                  2001      L6/2.5L                                              94R 18, 50, 54         640         30
2016      L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900                  1995-92   L6/2.5L    Conv                                      92 34                  575
2016      L4/2.0L    Opt                           94R 33, 50, 54, 55, 56     800                  1995-92   L6/2.5L                                              92 50                  650
2015-13   L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900                  1995-92   L6/2.5L    Ex Conv                                   92 50                  650
2015      L4/2.0L    Opt                           49 18, 33, 50, 54, 56      850                  1991-90   L6/2.5L                                              91                     600
2015      L4/2.0L                                  94R 18, 33, 50, 54, 56     800                  BMW 328 Series
2014-13   L4/2.0L    Opt                           49 18, 33, 50, 54, 56      850
                                                                                                   2017      L4/2.0L    Dsl                                       48 33, 50, 54, 55, 56   760
2014-13   L4/2.0L                                  94R 18, 33, 50, 54, 56     800
                                                                                                   2017      L4/2.0L    Dsl, Opt                                  94R 33, 50, 54, 55, 56 800
BMW 320i, 320Xi                                                                                    2016      L4/2.0L                                              49 33, 50, 54, 55, 56   900
2017      L4/2.0L                                  48 33, 50, 54, 55, 56      760                  2016      L4/2.0L    Dsl, Opt                                  49 33, 50, 54, 55, 56   900
2017      L4/2.0L    Opt                           94R 33, 50, 54, 55, 56     800                  2016      L4/2.0L    Opt                                       49 33, 50, 54, 55, 56   900
2016      L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900                  2016      L4/2.0L                                              94R 33, 50, 54, 55, 56 800
2016      L4/2.0L    Opt                           94R 33, 50, 54, 55, 56     800                  2016      L4/2.0L    Dsl, Opt                                  94R 33, 50, 54, 55, 56 800
2015-13   L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900                  2015-14   L4/2.0L    Dsl, Opt                                  49 33, 50, 54, 55, 56   900
2015      L4/2.0L    Opt                           49 18, 33, 50, 54, 56      850                  2015      L4/2.0L    Opt                                       49 33, 50, 54, 55, 56   850
2015      L4/2.0L                                  94R 18, 33, 50, 54, 56     800                  2015      L4/2.0L                                              49 33, 50, 54, 55, 56   900
2014-13   L4/2.0L                                  94R 18, 33, 50, 54, 56     800
                                                                                                   2015      L4/2.0L    Opt                                       49 33, 50, 54, 55, 56   900
2014-12   L4/2.0L    Opt                           49 18, 33, 50, 54, 56      850
                                                                                                   2015      L4/2.0L                                              94R 33, 50, 54, 55, 56 800
2012      L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900
                                                                                                   2014-13   L4/2.0L    Opt                                       49 18, 33, 50, 54, 56   850
2012      L4/2.0L                                  94R 18, 33, 50, 54         800
                                                                                                   2014-13   L4/2.0L                                              94R 18, 33, 50, 54, 56 800
2005-01   L6/2.2L                                  48 18, 50                  570         29
                                                                                                   2014      L4/2.0L    Option 1                                  49 18, 33, 50, 54, 56   850
2005-01   L6/2.2L    Opt                           94R 18, 50, 54, 56         640         30
                                                                                                   2014      L4/2.0L                                              49 33, 50, 54, 55, 56   900
1995-92   L6/2.0L                                  91 50                      600
                                                                                                   2014      L4/2.0L    Option 2                                  94R 18, 33, 50, 54, 56 800
BMW 323i, 323iS, 323Ci                                                                             2013      L4/2.0L    Opt                                       49 18, 33, 50, 54, 56   850
2011-06   L6/2.5L    w/o AGM, Option 1             48 18, 50                  570         29       2013      L4/2.0L                                              94R 18, 33, 50, 54, 56 800
2011-06   L6/2.5L    w/AGM, Option 1               48 18, 33, 50, 54          760                  2013      L6/3.0L                                              48 18, 50, 54, 56       570        29
2011-06   L6/2.5L    w/o AGM, Option 2             49 18, 50, 54, 56          720         33       2013      L6/3.0L    Opt                                       48 18, 33, 50, 54, 56   760
2011-06   L6/2.5L    w/AGM, Option 2               49 18, 33, 50, 54, 56      850                  2013      L6/3.0L    Opt                                       49 18, 50, 54, 56       720        33
2011-06   L6/2.5L    w/AGM, Option 3               49 18, 33, 50, 54, 56      900
                                                                                                   2013      L6/3.0L    Opt                                       49 18, 33, 50, 54, 56   850
2011-06   L6/2.5L    Option 1                      94R 18, 50                 640         30
                                                                                                   2013      L6/3.0L    Opt                                       49 18, 33, 50, 54, 56   900
2000-99   L6/2.5L                                  94R 18, 50                 765         30
                                                                                                   2013      L6/3.0L    Opt                                       94R 18, 50, 54, 56      640        30
2000      L6/2.5L    Ex Conv                       48 18, 33, 50, 54          750
                                                                                                   2012-09   L6/3.0L    AGM, Option 3                             49 18, 33, 50, 54, 56   900
2000      L6/2.5L    Conv                          94R 18, 50, 54, 56         640         30
                                                                                                   2012-09   L6/3.0L    w/o AGM, Option 3                         94R 18, 50, 54, 56      640        30
1999      L6/2.5L                                  94R 18, 50                 765         30
                                                                                                   2012-07   L6/3.0L    w/o AGM, Option 1                         48 18, 50, 54           570        29
1998      L6/2.5L                                  91 50                      600
                                                                                                   2012-07   L6/3.0L    w/AGM, Option 1                           48 18, 33, 50, 54       760
1998      L6/2.5L                                  92 34, 50                  575
                                                                                                   2012-07   L6/3.0L    w/o AGM, Option 2                         49 18, 50, 54           720        33
BMW 325 Series                                                                                     2012-07   L6/3.0L    AGM, Option 2                             49 18, 33, 50, 54, 56   850
2006-03   L6/2.5L    325Ci SULEV w/AGM, Option 2   49 18, 33, 50              850                  2012-07   L6/3.0L    w/AGM, Option 2                           49 18, 33, 50, 54, 56   850
2006-03   L6/2.5L    SULEV w/AGM, Option 1         49 18, 33, 50              900
                                                                                                   2012-07   L6/3.0L    w/AGM, Option 3                           49 18, 33, 50, 54, 56   900
2006-01   L6/2.5L    Ex SULEV                      94R 18, 50, 54             640         30
                                                                                                   2012-07   L6/3.0L    w/o AGM, Option 3                         94R 18, 50, 54          640        30
2006      L6/3.0L    w/o AGM, Option 1             48 18, 50, 54              570         29
                                                                                                   2012      L4/2.0L    Opt                                       49 18, 33, 50, 54, 56   850
2006      L6/3.0L    w/AGM, Option 1               48 18, 33, 50, 54          760
2006      L6/3.0L    w/o AGM, Option 2             49 18, 50, 54, 56          720         33       2012      L4/2.0L                                              94R 18, 33, 50, 54      800
2006      L6/3.0L    w/AGM, Option 3               49 18, 33, 50, 56          850                  2008-07   L6/3.0L    w/o AGM, Option 1                         48 18, 50, 54           570        29
2006      L6/3.0L    w/AGM, Option 2               49 18, 33, 50, 56          900                  2008-07   L6/3.0L    w/AGM, Option 1                           48 18, 33, 50, 54       760
2006      L6/3.0L    w/o AGM, Option 3             94R 18, 50, 54             640         30       2008-07   L6/3.0L    w/o AGM, Option 2                         49 18, 50, 54           720        33
2005-04   L6/2.5L    w/M54 Eng, Option 1           48 18, 50, 54              570         29       2008-07   L6/3.0L    AGM, Option 2                             49 18, 33, 50, 54, 56   850
2005-04   L6/2.5L    w/N52 Eng w/o AGM             48 18, 50, 54              570         29       2008-07   L6/3.0L    w/AGM, Option 2                           49 18, 33, 50, 54, 56   850
2005-04   L6/2.5L    w/N52 or M54 Eng w/o AGM,     48 18, 50, 54              570         29       2008-07   L6/3.0L    AGM, Option 3                             49 18, 33, 50, 54       900
                     Option 1                                                                      2008-07   L6/3.0L    w/AGM, Option 3                           49 18, 33, 50, 54, 56   900
                                                                                                                                                See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                                    21
                                                                                            Original                                                                                  Original
        Year         Engine                         Options          BCI Group Size        Equipment    Fitment     Year      Engine              Options      BCI Group Size        Equipment    Fitment
                                                                         (notes)                         Code                                                      (notes)                         Code
                                                                                           CCA/Rating                                                                                CCA/Rating
    BMW 328 Series (continued)                                                                                    BMW 428i
    2008-07      L6/3.0L        w/o AGM, Option 3                 94R 18, 50, 54             640         30       2016      L4/2.0L                         49 33, 50, 54, 55, 56      900
    2000         L6/2.8L        X                                 48 18, 50, 54              750         29       2015-14   L4/2.0L                         49 33, 50, 54, 55, 56      900
    2000         L6/2.8L        Opt                               94R 18, 50                 765         30       2015      L4/2.0L                         49 33, 50, 54, 55, 56      850
    1999-96      L6/2.8L        Conv                              92 34, 50                  575                  2014      L4/2.0L                         49 18, 33, 50, 54, 56      850
    1999         L6/2.8L                                          94R 18, 50                 765         30       BMW 428i Gran Coupe
    1998-96      L6/2.8L                                          92 50                      650                  2016      L4/2.0L                         49 33, 50, 54, 55, 56      900
    1998-96      L6/2.8L        Ex Conv                           92 50                      650                  2015      L4/2.0L                         49 33, 50, 54, 55, 56      900
    BMW 330Ci, 330i, 330xi                                                                                        BMW 428i xDrive
    2017         L4/2.0L                                          48 33, 50, 54, 55, 56      760                  2016      L4/2.0L                         49 33, 50, 54, 55, 56      900
    2017         L4/2.0L        Opt                               94R 33, 50, 54, 55, 56     800                  2015      L4/2.0L    Coupe                49 33, 50, 54, 55, 56      850
    2006         L6/3.0L                                          48 18, 50, 54              570         29       2015      L4/2.0L    Conv                 49 33, 50, 54, 55, 56      900
    2005-02      L6/3.0L                                          94R 18, 50, 54             640         30       2014      L4/2.0L                         49 18, 33, 50, 54, 56      850
    2001         L6/3.0L                                          94R 50                     765         30       2014      L4/2.0L    Conv                 49 33, 50, 54, 55, 56      900
    BMW 330e                                                                                                      BMW 428i xDrive Gran Coupe
    2017-16 L4/2.0L                                               48 33, 50, 54, 55, 56      760                  2016      L4/2.0L                         49 33, 50, 54, 55, 56      900
    2017-16 L4/2.0L             Opt                               49 33, 50, 54, 55, 56      900                  2015      L4/2.0L                         49 33, 50, 54, 55, 56      900
    2017-16 L4/2.0L             Opt                               94R 33, 50, 54, 55, 56     800                  BMW 430i
    BMW 330i GT xDrive                                                                                            2017      L4/2.0L                         49 33, 50, 54, 55, 56      900
    2017         L4/2.0L                                          49 33, 50, 54, 55, 56      900                  BMW 430i Gran Coupe
    BMW 330i xDrive                                                                                               2017      L4/2.0L                         49 33, 50, 54, 55, 56      900
    2017         L4/2.0L                                          48 33, 50, 54, 55, 56      760                  BMW 430i xDrive
    2017         L4/2.0L        Opt                               94R 33, 50, 54, 55, 56     800                  2017      L4/2.0L                         49 33, 50, 54, 55, 56      900
    BMW 335 Series                                                                                                BMW 430i xDrive Gran Coupe
    2016         L6/3.0L                                          49 33, 50, 54, 55, 56      900                  2017      L4/2.0L                         49 33, 50, 54, 55, 56      900
    2015         L6/3.0L        Opt                               49 33, 50, 54, 55, 56      850
    2015         L6/3.0L                                          49 33, 50, 54, 55, 56      900
                                                                                                                  BMW 435i
    2015         L6/3.0L                                          94R 33, 50, 54, 55, 56     800                  2016      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2014-13      L6/3.0L        Option 2                          49 18, 33, 50, 54, 56      900                  2015      L6/3.0L    Coupe                49 33, 50, 54, 55, 56      850
    2014         L6/3.0L        Opt                               49 18, 33, 50, 54, 56      850                  2015      L6/3.0L    Conv                 49 33, 50, 54, 55, 56      900
    2014         L6/3.0L        Option 1                          49 18, 33, 50, 54, 56      850                  2014      L6/3.0L                         49 18, 33, 50, 54, 56      850
    2014         L6/3.0L                                          94R 18, 33, 50, 54, 56     800                  2014      L6/3.0L    Conv                 49 33, 50, 54, 55, 56      900
    2014         L6/3.0L        Option 2                          94R 18, 33, 50, 54, 56     800                  BMW 435i Gran Coupe
    2013-07      L6/3.0L        w/o AGM, Option 3                 48 18, 50, 54              570         29       2016      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2013-07      L6/3.0L        w/AGM, Option 1                   48 18, 33, 50, 54          760                  2015      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2013-07      L6/3.0L        w/o AGM, Option 1                 49 18, 50, 54, 56          720         33       BMW 435i xDrive
    2013-07      L6/3.0L        w/AGM, Option 2                   49 18, 33, 50, 54, 56      850                  2016      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2013-07      L6/3.0L        w/AGM, Option 3                   49 18, 33, 50, 54, 56      900                  2015      L6/3.0L    Coupe                49 33, 50, 54, 55, 56      850
    2013-07      L6/3.0L        w/o AGM, Option 2                 94R 18, 50, 54             640         30       2015      L6/3.0L    Conv                 49 33, 50, 54, 55, 56      900
    2013         L6/3.0L                                          48 18, 50, 54, 56          570         29       2014      L6/3.0L                         49 18, 33, 50, 54, 56      850
    2013         L6/3.0L        Opt                               48 18, 33, 50, 54, 56      760                  BMW 435i xDrive Gran Coupe
    2013         L6/3.0L        Opt                               49 18, 50, 54, 56          720         33       2016      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2013         L6/3.0L        Option 1                          49 18, 33, 50, 54, 56      850                  2015      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2013         L6/3.0L        Option 2                          49 18, 33, 50, 54, 56      900
    2013         L6/3.0L        Opt                               94R 18, 50, 54, 56         640         30
                                                                                                                  BMW 440i
    2011-09      L6/3.0L        w/o AGM, Option 3                 48 18, 50, 54              570         29       2017      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2011-09      L6/3.0L        w/AGM, Option 1                   48 18, 33, 50, 54          760                  BMW 440i Gran Coupe
    2011-09      L6/3.0L        w/o AGM, Option 1                 49 18, 50, 54, 56          720         33       2017      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2011-09      L6/3.0L        w/AGM, Option 2                   49 18, 33, 50, 54, 56      850                  BMW 440i xDrive
    2011-09      L6/3.0L        w/AGM, Option 3                   49 18, 33, 50, 54, 56      900                  2017      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2011-09      L6/3.0L        w/o AGM, Option 2                 94R 18, 50, 54             640         30       BMW 440i xDrive Gran Coupe
    2008-07      L6/3.0L        w/o AGM, Option 3                 48 18, 50, 54              570         29
                                                                                                                  2017      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2008-07      L6/3.0L        w/AGM, Option 1                   48 18, 33, 50, 54          760
    2008-07      L6/3.0L        w/o AGM, Option 1                 49 18, 50, 54, 56          720         33       BMW 525 Series
    2008-07      L6/3.0L        w/AGM, Option 2                   49 18, 33, 50, 54, 56      850                  2007-06   L6/3.0L    Option 1             49 18, 50, 54              720         33
    2008-07      L6/3.0L        w/AGM, Option 3                   49 18, 33, 50, 54, 56      900                  2007-06   L6/3.0L    Option 3             94R 18, 50, 54             640         30
    2008-07      L6/3.0L        w/o AGM, Option 2                 94R 18, 50, 54             640         30       2007-06   L6/3.0L    Option 2             95R 18, 50, 54             850
                                                                                                                  2005-02   L6/2.5L    Option 3             94R 18, 50, 54             640         30
    BMW 340i                                                                                                      2005      L6/2.5L    Opt                  49 18, 50                  900         33
    2017         L6/3.0L                                          48 33, 50, 54, 55, 56      760                  2004-02   L6/2.5L    Option 1             49 18, 50, 54              720         33
    2017         L6/3.0L        Opt                               94R 33, 50, 54, 55, 56     800                  2004-02   L6/2.5L    Option 2             95R 18, 50, 54             850
    2016         L6/3.0L                                          48 33, 50, 54, 55, 56      760                  2001      L6/2.5L                         49 50                      850         33
    2016         L6/3.0L        Opt                               49 33, 50, 54, 55, 56      900                  1995-93   L6/2.5L    Opt                  93 50                      800
    2016         L6/3.0L        Opt                               94R 33, 50, 54, 55, 56     800                  1995-91   L6/2.5L                         92 50                      650
    BMW 340i GT xDrive                                                                                            1993      L6/2.5L                         93 50                      800
    2017         L6/3.0L                                          49 33, 50, 54, 55, 56      900                  1993      L6/2.5L    Opt                  93 50                      800
    BMW 340i xDrive                                                                                               1990      L6/2.5L                         91 50                      600
    2017        L6/3.0L                                           48 33, 50, 54, 55, 56      760                  BMW 528 Series
    2017        L6/3.0L Opt                                       94R 33, 50, 54, 55, 56     800                  2016      L4/2.0L                         49 33, 50, 54, 55, 56      850
    2016        L6/3.0L                                           48 33, 50, 54, 55, 56      760                  2015      L4/2.0L                         49 33, 50, 54, 55, 56      850
    2016        L6/3.0L Opt                                       49 33, 50, 54, 55, 56      900                  2015      L4/2.0L    Opt                  95R 33, 50, 54, 55, 56     950
    2016        L6/3.0L Opt                                       94R 33, 50, 54, 55, 56     800                  2014      L4/2.0L                         49 18, 33, 50, 54, 56      850
    See page 88 for Footnotes. Selection may vary by warehouse.

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22                                                                                                      Automotive/Light Truck
                                                                       Original                                                                                                       Original
  Year      Engine                 Options      BCI Group Size        Equipment    Fitment     Year      Engine                 Options                        BCI Group Size        Equipment    Fitment
                                                    (notes)                         Code                                                                           (notes)                         Code
                                                                      CCA/Rating                                                                                                     CCA/Rating
BMW 528 Series (continued)                                                                   BMW 545i (continued)
2014      L4/2.0L    Opt                     49 18, 33, 50, 54, 56      900                  2005      V8/4.4L                                              94R 18, 50                 640         30
2014      L4/2.0L    Opt                     95R 33, 50, 54, 55, 56     950                  2005      V8/4.4L                                              95R 50, 54, 55, 56         850
2013-12   L4/2.0L    w/AGM, Option 1         49 18, 33, 50, 54          850                  2004      V8/4.4L    Opt                                       94R 50, 54, 55, 56         640         30
2013-12   L4/2.0L    w/AGM, Option 2         49 18, 33, 50, 54, 56      900                  2004      V8/4.4L                                              95R 18, 50                 850
2013-12   L4/2.0L    w/AGM, Option 3         94R 18, 33, 50, 54         800                  BMW 550 Series
2013-12   L4/2.0L    w/o AGM                 95R 18, 50, 54             950
2011-10   L6/3.0L    w/AGM, Option 1         49 18, 33, 50, 54          850                  2017-16   V8/4.4L                                              49 33, 50, 54, 55, 56      850
2011-10   L6/3.0L    w/AGM, Option 2         49 18, 33, 50, 54, 56      900                  2016      V8/4.4L                                              49 33, 50, 54, 55, 56      850
2011-10   L6/3.0L    w/AGM, Option 3         94R 18, 33, 50, 54         800                  2015      V8/4.4L                                              49 33, 50, 54, 55, 56      850
2011-10   L6/3.0L    w/o AGM                 95R 18, 50, 54             950                  2015      V8/4.4L    Opt                                       95R 33, 50, 54, 55, 56     950
2010      L6/3.0L    w/AGM, Option 1         49 18, 33, 50, 54          850                  2014-13   V8/4.4L                                              49 18, 33, 50, 54, 56      900
2010      L6/3.0L    w/AGM, Option 2         49 18, 33, 50, 54, 56      900                  2014-10   V8/4.4L    Opt                                       49 18, 33, 50, 54, 56      850
2010      L6/3.0L    w/AGM, Option 3         94R 18, 33, 50, 54         800                  2014      V8/4.4L                                              49 18, 33, 50, 54, 56      850
2010      L6/3.0L    w/o AGM                 95R 18, 50, 54             950                  2014      V8/4.4L    Opt                                       49 18, 33, 50, 54, 56      850
2009-08   L6/3.0L    w/o AGM, Option 1       49 18, 50, 54              720         33       2014      V8/4.4L                                              49 18, 33, 54              900
2009-08   L6/3.0L    w/AGM                   49 18, 33, 50, 54, 56      850                  2014      V8/4.4L    Opt                                       95R 33, 50, 54, 55, 56     950
2009-08   L6/3.0L    w/o AGM, Option 2       94R 18, 50, 54             640         30       2013-11   V8/4.4L    Opt                                       49 18, 33, 50, 54, 56      850
2009-08   L6/3.0L    w/o AGM, Option 3       95R 18, 50, 54, 56         850                  2013-11   V8/4.4L    w/AGM, Option 2                           49 18, 33, 50, 54          850
2008      L6/3.0L    w/o AGM, Option 1       49 18, 50, 54              720         33       2013-11   V8/4.4L    w/AGM, Option 1                           49 18, 33, 50, 54          900
2008      L6/3.0L    w/AGM                   49 18, 33, 50, 54, 56      850                  2013-11   V8/4.4L    w/o AGM                                   95R 18, 50, 54             950
2008      L6/3.0L    w/o AGM, Option 2       94R 18, 50, 54             640         30       2013      V8/4.4L                                              49 18, 33, 50, 54, 56      900
2008      L6/3.0L    w/o AGM, Option 3       95R 18, 50, 54, 56         850                  2012-10   V8/4.4L                                              49 18, 33, 54              900
2000-97   L6/2.8L                            49 50                      850         33       2010-06   V8/4.8L    w/o AGM, Option 1                         49 18, 50, 54              720         33
BMW 530 Series                                                                               2010-06   V8/4.8L    w/o AGM, Option 2                         49 18, 50, 56              850         33
2017      L4/2.0L                            47 33, 50, 54, 55, 56      680                  2010-06   V8/4.8L    w/o AGM, Option 3                         94R 18, 50, 54             640         30
2017      L4/2.0L    Opt                     48 33, 50, 54, 55, 56      760                  2010-06   V8/4.8L    w/o AGM, Option 4                         95R 18, 50, 54, 56         850
2017      L4/2.0L    Opt                     49 33, 50, 54, 55, 56      900                  BMW 640 Series
2007-02   L6/3.0L    w/AGM                   49 18, 33, 50, 54, 56      850                  2016      L6/3.0L                                              95R 33, 50, 54, 55, 56     950
2007-02   L6/3.0L    Option 2                94R 18, 50, 54             640         30       2015      L6/3.0L                                              49 33, 50, 54, 55, 56      850
2007-02   L6/3.0L    Option 3                95R 18, 50, 54, 56         850                  2015      L6/3.0L    Opt                                       95R 33, 50, 54, 55, 56     950
2007-01   L6/3.0L    Option 1                49 18, 50, 54              720         33
                                                                                             2015      L6/3.0L    Aux Battery                               N/A 33, 50, 54             200
1995-94   V8/3.0L                            93 50                      800
                                                                                             2015      L6/3.0L    Aux Battery                               N/A 54, 33                 200
BMW 530i xDrive                                                                              2014-13   L6/3.0L                                              49 18, 33, 54              850
2017      L4/2.0L                            47 33, 50, 54, 55, 56      680                  2014-13   L6/3.0L    Opt                                       49 18, 33, 50, 54, 56      850
2017      L4/2.0L    Opt                     48 33, 50, 54, 55, 56      760                  2014-13   L6/3.0L    Opt                                       95R 33, 50, 54, 55, 56     950
2017      L4/2.0L    Opt                     49 33, 50, 54, 55, 56      900                  2014      L6/3.0L    Opt                                       49 18, 33, 54              850
BMW 535 Series                                                                               2014      L6/3.0L                                              49 18, 33, 54              900
2017-16   L6/3.0L                            49 33, 50, 54, 55, 56      850                  2014      L6/3.0L    Opt                                       95R 33, 50, 54, 55, 56     950
2016      L6/3.0L                            49 33, 50, 54, 55, 56      850                  2013      L6/3.0L                                              49 18, 33, 54              850
2015      L6/3.0L                            49 33, 50, 54, 55, 56      850                  2013      L6/3.0L    Opt                                       49 18, 33, 54              900
2015      L6/3.0L    Opt                     95R 33, 50, 54, 55, 56     950                  2012      L6/3.0L    w/AGM, Option 2                           49 18, 33, 50, 54, 56      850
2014      L6/3.0L                            49 18, 33, 50, 54, 56      850                  2012      L6/3.0L    w/AGM, Option 1                           49 18, 33, 50, 54          900
2014      L6/3.0L    Option 1                49 18, 33, 50, 54, 56      850                  2012      L6/3.0L    w/o AGM                                   95R 18, 50, 54             950
2014      L6/3.0L    Option 2                49 18, 33, 50, 54, 56      900                  BMW 645Ci
2014      L6/3.0L    Opt                     95R 33, 50, 54, 55, 56     950                  2005-04 V8/4.4L                                                95R 18, 50                 850
2013-11   L6/3.0L    w/AGM, Option 3         94R 18, 33, 50, 54         800
2013-11   L6/3.0L    w/o AGM                 95R 18, 50, 54             950
                                                                                             BMW 650 Series
2013-10   L6/3.0L    w/AGM, Option 1         49 18, 33, 50, 54, 56      900                  2016      V8/4.4L                                              95R 33, 50, 54, 55, 56     950
2013-08   L6/3.0L    w/AGM, Option 2         49 18, 33, 50, 54, 56      850                  2015      V8/4.4L                                              49 33, 50, 54, 55, 56      850
2010-08   L6/3.0L    w/o AGM, Option 1       49 18, 50, 54              720         33       2015      V8/4.4L    Opt                                       95R 33, 50, 54, 55, 56     950
2010-08   L6/3.0L    w/o AGM, Option 2       94R 18, 50, 54             640         30       2014-13   V8/4.4L    Opt                                       95R 33, 50, 54, 55, 56     950
2010-08   L6/3.0L    w/o AGM, Option 3       95R 18, 50, 54, 56         850                  2014-12   V8/4.4L                                              49 18, 33, 54              850
2008      L6/3.0L    w/o AGM, Option 1       49 18, 50, 54              720         33       2014      V8/4.4L    Opt                                       49 18, 33, 50, 54, 56      850
2008      L6/3.0L    w/AGM, Option 2         49 18, 33, 50, 54, 56      850                  2014      V8/4.4L    Opt                                       49 18, 33, 54              850
2008      L6/3.0L    w/o AGM, Option 2       94R 18, 50, 54             640         30       2014      V8/4.4L                                              49 18, 33, 54              900
2008      L6/3.0L    w/o AGM, Option 3       95R 18, 50, 54, 56         850                  2012      V8/4.4L    w/AGM                                     49 18, 33, 50, 54          900
1993-90   L6/3.5L                            93 50                      800                  2012      V8/4.4L    w/o AGM                                   95R 18, 50, 54             950
BMW 540i                                                                                     2010-06   V8/4.8L    w/AGM, Option 2                           49 18, 33, 50, 54, 56      850
                                                                                             2010-06   V8/4.8L    w/AGM, Option 1                           49 18, 33, 50, 54          900
2017      L6/3.0L                            47 33, 50, 54, 55, 56      680
                                                                                             2007-06   V8/4.8L    w/o AGM                                   95R 18, 50, 54, 56         850
2017      L6/3.0L    Opt                     48 33, 50, 54, 55, 56      760
2017      L6/3.0L    Opt                     49 33, 50, 54, 55, 56      900                  BMW 735i
2003-02   V8/4.4L                            49 18, 50                  720         33       1992-90 L6/3.5L                                                93                         800
2003      V8/4.4L    w/AGM                   49 18, 33, 50              900                  BMW 735iL
2001-97   V8/4.4L                            49 50                      850         33       1992-90 L6/3.5L                                                93                         800
1995-94   V8/4.0L                            93 50                      800                  BMW 740 Series
BMW 540i xDrive                                                                              2017      L6/3.0L                                              47 33, 50, 54, 55, 56   680
2017      L6/3.0L                            47 33, 50, 54, 55, 56      680                  2016      L6/3.0L                                              47 33, 50, 54, 55, 56   680
2017      L6/3.0L    Opt                     48 33, 50, 54, 55, 56      760                  2015      L6/3.0L                                              49 33, 50, 54, 55, 56   850
2017      L6/3.0L    Opt                     49 33, 50, 54, 55, 56      900                  2014-11   L6/3.0L    Opt                                       49 18, 33, 50, 54, 56   850
BMW 545i                                                                                     2014-11   L6/3.0L                                              49 18, 33, 54           900
2005-04 V8/4.4L      Opt                     49 50, 54, 55, 56          720         33       2001      V8/4.4L                                              95R 18, 50              850
2005-04 V8/4.4L      Opt                     49 33, 50, 54, 55, 56      850                  2000-96   V8/4.4L                                              95R 18, 50              950
                                                                                                                                          See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                                       23
                                                                                            Original                                                                                     Original
        Year         Engine                         Options          BCI Group Size        Equipment    Fitment     Year      Engine                 Options      BCI Group Size        Equipment    Fitment
                                                                         (notes)                         Code                                                         (notes)                         Code
                                                                                           CCA/Rating                                                                                   CCA/Rating
    BMW 740 Series (continued)                                                                                    BMW ActiveHybrid 7
    1995    V8/4.0L                                               95R 50                     950                  2015      L6/3.0L    Hybrid                  49 33, 50, 54, 55, 56      850
    1994-93 V8/4.0L                                               93 50                      800                  2014-13   L6/3.0L    Hybrid, Opt             49 18, 33, 50, 54, 56      900
    BMW 740i xDrive                                                                                               2014      L6/3.0L    Hybrid                  49 18, 33, 50, 54, 56      850
    2017         L6/3.0L                                          47 33, 50, 54, 55, 56      680                  2013      L6/3.0L    Opt                     49 18, 33, 50, 54, 56      850
    BMW 740Ld xDrive                                                                                              2013      L6/3.0L                            94R 18, 33, 50, 54         800
    2015         L6/3.0L                                          49 33, 50, 54, 55, 56      850                  BMW Alpina B6 xDrive Gran Coupe
    BMW 745i, 745 Li                                                                                              2016-15 V8/4.4L                              95R 33, 50, 54, 55, 56     950
    2005-02      V8/4.4L        w/AGM                             49 18, 33, 50, 56          900                  BMW Alpina B7
    2003         V8/4.4L                                          95R 18, 50                 800                  2015      V8/4.4L                            49 33, 50, 54, 55, 56      850
    2002         V8/4.4L                                          95R 33, 50, 55             800                  2014      V8/4.4L    Opt                     49 18, 33, 50, 54, 56      850
    2002         V8/4.4L                                          95R 18, 50                 850                  2014      V8/4.4L                            49 18, 33, 54              900
    BMW 750 Series                                                                                                2013-11   V8/4.4L    w/AGM                   49 18, 33, 50, 54          850
    2017         V8/4.4L                                          47 33, 50, 54, 55, 56      680                  2013-11   V8/4.4L    w/AGM, Incl xDrive      49 18, 33, 50, 54          900
    2016         V8/4.4L                                          47 33, 50, 54, 55, 56      680                  2008-07   V8/4.4L                            49 50                      720         33
    2015         V8/4.4L                                          49 33, 50, 54, 55, 56      850
    2014-11      V8/4.4L                                          49 18, 33, 54              900                  BMW Alpina B7 xDrive
    2014-10      V8/4.4L        Opt                               49 18, 33, 50, 54, 56      850                  2015      V8/4.4L                            49 33, 50, 54, 55, 56      850
    2012-11      V8/4.4L        w/AGM Opt 2 Incl ActiveHybrid     49 18, 33, 50, 54          850                  2014      V8/4.4L    Opt                     49 18, 33, 50, 54, 56      850
    2012-11      V8/4.4L        w/AGM Opt 1 Incl ActiveHybrid     49 18, 33, 50, 54          900                  2014      V8/4.4L                            49 18, 33, 54              900
    2011-10      V8/4.4L        w/AGM, Option 1                   49 18, 33, 50, 54          900                  2013-11   V8/4.4L    w/AGM                   49 18, 33, 50, 54          850
    2010-09      V8/4.4L        w/AGM, Option 1                   49 18, 33, 50, 54          900                  2013-11   V8/4.4L    w/AGM, Incl xDrive      49 18, 33, 50, 54          900
    2009         V8/4.4L        Opt                               49 33, 50, 54, 55, 56      850                  BMW Alpina B7L
    2009         V8/4.4L        w/AGM, Option 1                   49 18, 33, 50, 54          900
    2008-06      V8/4.8L        w/AGM, Option 2                   49 18, 33, 50, 54          850                  2015      V8/4.4L                            49 33, 50, 54, 55, 56      850
    2008-06      V8/4.8L        w/AGM, Option 1                   49 18, 33, 50, 54          900                  2014      V8/4.4L    Opt                     49 18, 33, 50, 54, 56      850
    2001         V12/5.4L       Aux Battery                       48 50                      650         29       2014      V8/4.4L                            49 18, 33, 54              900
    2001         V12/5.4L                                         95R 50                     850                  2013-11   V8/4.4L    w/AGM                   49 18, 33, 50, 54          850
    2000-95      V12/5.4L                                         95R 50                     950                  2013-11   V8/4.4L    w/AGM, Incl xDrive      49 18, 33, 50, 54          900
    1999         V12/5.4L       Aux Battery                       48 50                      650         29       BMW Alpina B7L xDrive
    1994-90      V12/5.0L                                         93 50                      800
                                                                                                                  2015      V8/4.4L                            49 33, 50, 54, 55, 56      850
    BMW 760i, 760Li                                                                                               2014      V8/4.4L    Opt                     49 18, 33, 50, 54, 56      850
    2015         V12/6.0L                                         49 33, 50, 54, 55, 56      850                  2014      V8/4.4L                            49 18, 33, 54              900
    2014         V12/6.0L Opt                                     49 18, 33, 50, 54, 56      850                  2013-11   V8/4.4L    w/AGM                   49 18, 33, 50, 54          850
    2014         V12/6.0L                                         49 18, 33, 54              900                  2013-11   V8/4.4L    w/AGM, Incl xDrive      49 18, 33, 50, 54          900
    2013-10      V12/6.0L w/AGM, Option 2                         49 18, 33, 50, 54          850
    2013-10      V12/6.0L w/AGM, Option 1                         49 18, 33, 50, 54          900
                                                                                                                  BMW M2
    2008-06      V12/6.0L                                         49 18, 50                  720         33       2017-16 L6/3.0L      Opt                     49 33, 50, 54, 55, 56      900
    2006         V12/6.0L                                         49 18, 50                  720         33       2017-16 L6/3.0L                              94R 33, 50, 54, 55, 56     800
    2005-03      V12/6.0L                                         49 18, 50                  900         33       BMW M235i
    BMW 840Ci                                                                                                     2016      L6/3.0L    Conv or HD              49 33, 50, 54, 55, 56      900
    1997-96      V8/4.4L        Opt                               91  50
                                                                                             600                  2016      L6/3.0L                            94R 33, 50, 54, 55, 56     800
    1997-96      V8/4.4L                                          93 50                      800                  2015      L6/3.0L    Coupe, Opt              49 33, 50, 54, 55, 56      850
    1995-94      V8/4.0L        Opt                               91 50                      600                  2015      L6/3.0L    Conv                    49 33, 50, 54, 55, 56      900
    1995         V8/4.0L                                          93 50                      600                  2015      L6/3.0L    Coupe                   94R 33, 50, 54, 55, 56     800
    1994         V8/4.0L                                          93 50                      800                  2014      L6/3.0L    Opt                     49 18, 33, 50, 54, 56      850
    BMW 850 Series                                                                                                2014      L6/3.0L    Conv or HD              49 33, 50, 54, 55, 56      900
    1997-95      V12/5.4L       Opt                               91 50                      600                  2014      L6/3.0L                            94R 18, 33, 50, 54, 56     800
    1997-95      V12/5.4L                                         93 50                      800                  BMW M235i xDrive
    1995-94      V12/5.6L       Opt                               91 50                      600                  2016      L6/3.0L    Conv or HD              49 33, 50, 54, 55, 56      900
    1995-94      V12/5.6L                                         93 50                      800                  2016      L6/3.0L                            94R 33, 50, 54, 55, 56     800
    1994-93      V12/5.0L       Opt                               91 50                      600                  2015      L6/3.0L    Opt                     49 33, 50, 54, 55, 56      850
    1994-93      V12/5.0L                                         93 50                      800                  2015      L6/3.0L                            94R 33, 50, 54, 55, 56     800
    1992-91      V12/5.0L       Opt                               91 50                      600                  BMW M240i
    1992-91      V12/5.0L                                         93 50                      800
                                                                                                                  2017      L6/3.0L                            94R 33, 50, 54, 55, 56     800
    BMW ActiveHybrid 3                                                                                            BMW M240i xDrive
    2015         L6/3.0L        Hybrid, Opt                       49 33, 50, 54, 55, 56      850
                                                                                                                  2017      L6/3.0L                            94R 33, 50, 54, 55, 56     800
    2015         L6/3.0L        Hybrid                            94R 33, 50, 54, 55, 56     800
    2014         L6/3.0L        Hybrid, Opt                       49 18, 33, 50, 54, 56      850                  BMW M3
    2014         L6/3.0L        Hybrid                            94R 18, 33, 50, 54, 56     800                  2013-08   V8/4.0L    w/o AGM, Option 3       48 18, 50, 54              570         29
    2013         L6/3.0L        Opt                               49 18, 33, 50, 54, 56      850                  2013-08   V8/4.0L    w/AGM, Option 1         48 18, 33, 50, 54          760
    2013         L6/3.0L                                          94R 18, 33, 50, 54         800                  2013-08   V8/4.0L    w/o AGM, Option 2       49 18, 50, 54, 56          720         33
    BMW ActiveHybrid 5                                                                                            2013-08   V8/4.0L    w/AGM, Option 3         49 18, 33, 50, 54, 56      850
    2016        L6/3.0L Hybrid                                    49 33, 50, 54, 55, 56      850                  2013-08   V8/4.0L    w/AGM, Option 2         49 18, 33, 50, 54, 56      900
    2015        L6/3.0L Hybrid                                    49 33, 50, 54, 55, 56      850                  2013-08   V8/4.0L    w/o AGM, Option 1       94R 18, 50, 54             640         30
    2015        L6/3.0L Hybrid, Opt                               95R 33, 50, 54, 55, 56     950                  2006      L6/3.2L                            48 18, 50                  570         29
    2014        L6/3.0L Hybrid, Opt                               49 18, 33, 50, 54, 56      850                  2005-02   L6/3.2L                            94R 50                     640         30
    2014        L6/3.0L Hybrid                                    49 18, 33, 50, 54, 56      900                  2001      L6/3.2L                            94R 50                     765         30
    2014        L6/3.0L Hybrid, Opt                               95R 33, 50, 54, 55, 56     950                  1999-98   L6/3.2L    Conv                    92 34, 50                  575
    2013-12 L6/3.0L w/AGM, Option 2                               49 18, 33, 50, 54, 56      850                  1999-96   L6/3.2L    Ex Conv                 92 50                      650
    2013-12 L6/3.0L w/AGM, Option 3                               49 18, 33, 50, 54, 56      900                  1999-96   L6/3.2L                            92 47, 50                 75 Ah
    2013-12 L6/3.0L w/o AGM                                       94R 18, 50, 54, 56         800         30       1995      L6/3.0L    Ex Conv                 92 50                      650
    See page 88 for Footnotes. Selection may vary by warehouse.

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24                                                                                                        Automotive/Light Truck
                                                                         Original                                                                                                       Original
  Year      Engine                 Options      BCI Group Size          Equipment    Fitment     Year      Engine                     Options                    BCI Group Size        Equipment    Fitment
                                                    (notes)                           Code                                                                           (notes)                         Code
                                                                        CCA/Rating                                                                                                     CCA/Rating
BMW M3 (continued)                                                                             BMW X3 (continued)
1995    L6/3.0L                              92 47, 50                   75 Ah                 2015      L4/2.0L                                              49 33, 50, 54, 55, 56      850
1994    L6/3.0L                              92 50                        575                  2015      L4/2.0L    Opt                                       94R 33, 50, 54, 55, 56     800
1991-90 L4/2.3L                              91                           600                  2015      L4/2.0L    Opt                                       95R 33, 50, 54, 55, 56     950
BMW M5                                                                                         2015      L6/3.0L                                              49 33, 50, 54, 55, 56      850
2016      V8/4.4L                            49 33, 50, 54, 55, 56        850                  2015      L6/3.0L    Opt                                       94R 33, 50, 54, 55, 56     800
2015      V8/4.4L                            49 33, 50, 54, 55, 56        850                  2014-13   L4/2.0L                                              49 18, 33, 50, 54, 56      900
2015      V8/4.4L    Opt                     95R 33, 50, 54, 55, 56       950                  2014-13   L6/3.0L                                              49 18, 33, 50, 54, 56      900
2014-12   V8/4.4L    Opt                     49 18, 33, 50, 54, 56        850                  2014      L4/2.0L    Option 2                                  49 18, 33, 50, 54, 56      850
2014-12   V8/4.4L                            49 18, 33, 54                900                  2014      L4/2.0L    Opt                                       94R 18, 33, 50, 54, 56     800
2014-12   V8/4.4L    Opt                     95R 33, 50, 54, 55, 56       950                  2014      L6/3.0L    Option 3                                  49 18, 33, 50, 54, 56      850
2010-06   V10/5.0L   w/o AGM, Option 1       49 18, 50, 54, 56            720         33       2014      L6/3.0L    Opt                                       94R 33, 50, 54, 55, 56     800
2010-06   V10/5.0L   w/AGM, Option 1         49 18, 33, 50, 54, 56        850                  2014      L6/3.0L    Opt                                       94R 18, 33, 50, 54, 56     900
2010-06   V10/5.0L   w/o AGM, Opt            94R 18, 50, 54               640         30       2013      L4/2.0L    Option 1                                  49 18, 33, 50, 54, 56      850
2010-06   V10/5.0L   w/o AGM, Option 2       95R 18, 50, 54, 56           850                  2013      L4/2.0L    Option 2                                  94R 18, 33, 50, 54, 56     800
2003      V8/5.0L                            95R 50                       800                  2013      L4/2.0L    Opt                                       95R 50, 54, 55, 56         950
2002-01   V8/5.0L                            95R 50                       850                  2013      L6/3.0L    Option 1                                  49 18, 33, 50, 54, 56      850
2000      V8/5.0L                            95R 50                       950                  2013      L6/3.0L    Option 2                                  94R 18, 33, 50, 54, 56     800
1993-91   L6/3.6L                            93 50                        800                  2013      L6/3.0L    Opt                                       95R 50, 54, 55, 56         950
                                                                                               2012-11   L6/3.0L    w/AGM, Option 2                           94R 18, 33, 50, 54         800
BMW M6                                                                                         2012-11   L6/3.0L    w/o AGM                                   95R 18, 50, 54             950
2016      V8/4.4L                            95R 33, 50, 54, 55, 56       950                  2012-04   L6/3.0L    w/AGM, Option 1                           49 18, 33, 50, 54, 56      850
2015      V8/4.4L                            49 33, 50, 54, 55, 56        850                  2012-04   L6/3.0L    w/AGM, Option 3                           49 18, 33, 50, 54, 56      900
2015      V8/4.4L    Opt                     95R 33, 50, 54, 55, 56       950                  2010-04   L6/3.0L    w/o AGM, Option 2                         48 18, 50, 54              570         29
2014-13   V8/4.4L    Opt                     95R 33, 50, 54, 55, 56       950                  2010-04   L6/3.0L    w/o AGM, Option 1                         49 18, 50, 54, 56          720         33
2014-12   V8/4.4L    Opt                     49 18, 33, 50, 54, 56        850                  2006-04   L6/2.5L                                              48 18, 50, 56              570         29
2014      V8/4.4L                            49 18, 33, 50, 54, 56        900                  2006-04   L6/2.5L    Opt                                       49 33, 50, 54, 55, 56      850
2013-12   V8/4.4L                            49 18, 33, 54                900                  2006-04   L6/2.5L    Opt                                       49 33, 50, 54, 55, 56      900
2012      V8/4.4L    Opt                     95R 50, 54, 55, 56           950                  2006      L6/2.5L    Opt                                       49 50, 54, 55, 56          720         33
2010-06   V10/5.0L   w/AGM, Option 2         49 18, 33, 50, 54            850                  2005-04   L6/2.5L    Opt                                       49 18, 50, 56              720         33
2010-06   V10/5.0L   w/AGM, Option 1         49 18, 33, 50, 54            900
                                                                                               BMW X4
BMW M6 Gran Coupe                                                                              2017-16   L4/2.0L    Opt                                       94R 33, 50, 54, 55, 56     800
                                                   33, 50, 54, 55, 56
2016      V8/4.4L                            95R                          950                  2017-16   L6/3.0L                                              49 33, 50, 54, 55, 56      850
2015      V8/4.4L                            49 33, 50, 54, 55, 56        850                  2017-16   L6/3.0L    Opt                                       94R 33, 50, 54, 55, 56     800
2015      V8/4.4L    Opt                     95R 33, 50, 54, 55, 56       950                  2017      L4/2.0L                                              49 33, 50, 54, 55, 56      850
2014      V8/4.4L                            49 18, 33, 50, 54, 56        850                  2016      L4/2.0L                                              49 33, 50, 54, 55, 56      850
2014      V8/4.4L    Opt                     95R 33, 50, 54, 55, 56       950                  2015      L4/2.0L                                              49 33, 50, 54, 55, 56      850
BMW X1                                                                                         2015      L4/2.0L    Opt                                       94R 33, 50, 54, 55, 56     800
2017-16   L4/2.0L    28i                     94R 33, 50, 54, 55, 56       800                  2015      L6/3.0L                                              49 33, 50, 54, 55, 56      850
2017      L4/2.0L    28iX                    48 33, 50, 54, 55, 56        760                  2015      L6/3.0L    Opt                                       94R 33, 50, 54, 55, 56     800
2015      L4/2.0L                            48 50, 54, 55, 56            570         29       BMW X5
2015      L4/2.0L    Opt                     94R 33, 50, 54, 55, 56       800                  2017-14   L6/3.0L    Dsl, Opt                                  49 33, 50, 54, 55, 56
                                                                                                                                                                                  900
2015      L6/3.0L                            48 50, 54, 55, 56            570         29       2017-14   L6/3.0L    Gas, Opt                                  49 33, 50, 54, 55, 56
                                                                                                                                                                                  900
2015      L6/3.0L    Opt                     48 33, 50, 54, 55, 56        760                  2017-14   V8/4.4L    Opt                                       49 33, 50, 54, 55, 56
                                                                                                                                                                                  900
2015      L6/3.0L    Opt                     94R 50, 54, 55, 56           640         30       2017      L4/2.0L    Hybrid, Opt                               49 33, 50, 54, 55, 56
                                                                                                                                                                                  900
2015      L6/3.0L    Opt                     94R 33, 50, 54, 55, 56       800                  2016      L4/2.0L    Hybrid, Opt                               49 33, 50, 54, 55, 56
                                                                                                                                                                                  900
2014-13   L4/2.0L                            48 18, 54                    570         29       2016      L4/2.0L    Hybrid                                    95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2014-13   L6/3.0L                            48 18, 54                    570         29       2016      L6/3.0L    Dsl                                       95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2014      L4/2.0L    Option 1                48 18, 33, 50, 54, 56        760                  2016      L6/3.0L    Gas                                       95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2014      L4/2.0L    Option 2                94R 18, 50, 54, 56           640         30       2016      V8/4.4L                                              95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2014      L4/2.0L    Option 3                94R 18, 33, 50, 54, 56       800                  2015      L6/3.0L    Dsl                                       95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2014      L6/3.0L    Option 1                48 18, 33, 50, 54, 56        760                  2015      L6/3.0L    Gas                                       95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2014      L6/3.0L    Option 2                94R 18, 50, 54, 56           640         30       2015      V8/4.4L                                              95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2014      L6/3.0L    Option 3                94R 18, 33, 50, 54, 56       800                  2014      L6/3.0L    Dsl                                       95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2013      L4/2.0L    Opt                     48 18, 33, 50, 54, 56        760                  2014      L6/3.0L    Gas                                       95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2013      L4/2.0L    w/o AGM                 94R 18, 50, 54, 56           640         30       2014      V8/4.4L                                              95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2013      L4/2.0L    w/AGM                   94R 18, 33, 50, 54, 56       800                  2013-11   L6/3.0L    Dsl, Opt                                  49 33, 50, 54, 55, 56
                                                                                                                                                                                  850
2013      L6/3.0L    Opt                     48 18, 33, 50, 54, 56        760                  2013      L6/3.0L    Dsl                                       48 50, 54, 55, 56   570        29
2013      L6/3.0L    w/o AGM                 94R 18, 50, 54, 56           640         30       2013      L6/3.0L    Opt                                       48 18, 54           570        29
2013      L6/3.0L    w/AGM                   94R 18, 33, 50, 54, 56       800                  2013      L6/3.0L    Gas, Opt                                  49 18, 33, 50, 54, 56
                                                                                                                                                                                  850
2012      L4/2.0L    w/o AGM, Option 1       48 18, 50, 54                570         29       2013      L6/3.0L    Dsl                                       49 18, 33, 50, 54, 56
                                                                                                                                                                                  900
2012      L4/2.0L    w/AGM, Option 1         48 18, 33, 50, 54            760                  2013      L6/3.0L    Gas                                       49 18, 33, 50, 54, 56
                                                                                                                                                                                  900
2012      L4/2.0L    w/o AGM, Option 2       94R 18, 50, 54               640         30       2013      V8/4.4L    Opt                                       48 18, 50, 54, 56   570        29
2012      L4/2.0L    w/AGM, Option 2         94R 18, 33, 50, 54           800                  2013      V8/4.4L    X                                         48 18, 50, 54, 56   570        29
BMW X3                                                                                         2013      V8/4.4L    Opt                                       49 18, 33, 50, 54, 56
                                                                                                                                                                                  850
2017-16   L4/2.0L                            94R 33, 50, 54, 55, 56       800                  2013      V8/4.4L                                              49 18, 33, 50, 54, 56
                                                                                                                                                                                  900
2017-16   L4/2.0L    Dsl                     94R 33, 50, 54, 55, 56       800                  2012-11   L6/3.0L    Dsl, w/o AGM Option                       48 18, 50, 54       570        29
2017-16   L6/3.0L                            49 33, 50, 54, 55, 56        850                  2012-11   L6/3.0L    Gas, w/o AGM, Opt 1                       48 18, 50, 54       570        29
2017-16   L6/3.0L    Opt                     94R 33, 50, 54, 55, 56       800                  2012-11   L6/3.0L    Gas, w/o AGM, Opt 2                       95R 18, 50, 54      950
2017      L4/2.0L    Dsl, Opt                49 33, 50, 54, 55, 56        850                  2012-11   V8/4.4L    w/o AGM, Option 2                         95R 18, 50, 54      950
2017      L4/2.0L    Opt                     49 33, 50, 54, 55, 56        850                  2012-10   V8/4.4L    w/AGM, Option 1                           49 18, 33, 50, 56   850
2016      L4/2.0L    Dsl, Opt                49 33, 50, 54, 55, 56        850                  2012-10   V8/4.4L    w/AGM, Option 2                           49 18, 33, 50, 56   900
2016      L4/2.0L    Opt                     49 33, 50, 54, 55, 56        850                  2012-09   L6/3.0L    w/AGM, Option 2                           49 18, 33, 50, 56   850
                                                                                                                                        See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                                         25
                                                                                           Original                                                                                        Original
        Year         Engine                         Options          BCI Group Size       Equipment    Fitment     Year      Engine                    Options      BCI Group Size        Equipment    Fitment
                                                                         (notes)                        Code                                                            (notes)                         Code
                                                                                          CCA/Rating                                                                                      CCA/Rating
    BMW X5 (continued)                                                                                           BMW Z4
    2012-09      L6/3.0L        w/AGM, Option 1                   49 18, 33, 50, 54, 56     900                  2016      L4/2.0L    Opt                        94R 33, 50, 54, 55, 56     800
    2012-09      L6/3.0L        Dsl                               95R 18, 50, 54            950                  2016      L6/3.0L                               48 33, 50, 54, 55, 56      760
    2012         V8/4.4L        w/o AGM, Option 1                 48 18, 50, 54             570         29       2016      L6/3.0L    Opt                        94R 33, 50, 54, 55, 56     800
    2011         L6/3.0L        Dsl, Opt                          49 33, 50, 54, 55, 56     900                  2015      L4/2.0L    Opt                        94R 33, 50, 54, 55, 56     800
    2011         V8/4.4L                                          48 33, 50, 54, 55         570                  2015      L6/3.0L                               48 33, 50, 54, 55, 56      760
    2011         V8/4.4L        w/AGM, Option 4                   48 18, 33, 50, 54         750                  2015      L6/3.0L    Opt                        94R 33, 50, 54, 55, 56     800
    2010-09      L6/3.0L        Option 1                          49 18, 33, 50, 56         850                  2014-13   L4/2.0L                               48 18, 33, 50, 54, 56      760
    2010-09      L6/3.0L        Option 2                          49 18, 33, 50, 56         900                  2014-13   L4/2.0L    Opt                        94R 18, 33, 50, 54, 56     800
    2010-07      V8/4.8L        w/AGM, Option 2                   49 18, 33, 50, 56         850                  2014      L6/3.0L                               48 18, 33, 50, 54, 56      760
    2010-07      V8/4.8L        w/AGM, Option 1                   49 18, 33, 50, 54, 56     900                  2014      L6/3.0L    Opt                        94R 18, 33, 50, 54, 56     800
                                                                                                                 2013-09   L6/3.0L    w/AGM                      48 18, 33, 50, 54          760
    2010         L6/3.0L        Dsl, Opt                          48 18, 54                 570         29
                                                                                                                 2013-09   L6/3.0L    w/AGM Option               94R 18, 33, 50, 54         800
    2010         V8/4.4L        w/AGM, Option 3                   48 18, 33, 50, 54         570
                                                                                                                 2012      L4/2.0L    w/AGM                      48 18, 33, 50, 54          760
    2009         L6/3.0L        Dsl, Opt                          48 18                     570         29
                                                                                                                 2012      L4/2.0L    w/AGM Option               94R 18, 33, 50, 54         800
    2008-07      L6/3.0L        w/AGM, Option 1                   49 18, 33, 50, 54, 56     850
                                                                                                                 2008-07   L6/3.0L    Opt                        48 18, 50, 54, 56          570         29
    2008-07      L6/3.0L        w/AGM, Option 2                   49 18, 33, 50, 54, 56     900                  2008-06   L6/3.0L                               47 50, 54, 55, 56          480         28
    2006-04      V8/4.4L                                          49 18, 50                 720         33       2008-06   L6/3.0L    w/AGM Option               48 18, 33, 50, 54          760
    2006-04      V8/4.8L                                          49 18, 50, 54             720         33       2008-06   L6/3.0L    Opt                        94R 18, 50, 54, 56         640         30
    2006-04      V8/4.8L        Opt                               94R 18, 50, 54            640         30       2008-06   L6/3.2L                               47 18, 50                  480         28
    2006-00      V8/4.4L        Opt                               94R 50, 54, 55, 56        640         30       2008      L6/3.0L    Opt                        48 18, 50, 54              570         29
    2006         L6/3.0L                                          49 18, 50, 54             720         33       2007      L6/3.0L    Opt                        48 18, 33, 50, 54, 56      760
    2006         L6/3.0L        Opt                               94R 50, 54, 55, 56        640         30       2006      L6/3.0L    Opt                        48 18, 50, 54              570         29
    2005-03      L6/3.0L                                          49 50, 54, 55, 56         720         33       2005-04   L6/2.5L                               47 50                      480         28
    2005-02      L6/3.0L                                          94R 50                    640         30       2005-04   L6/2.5L    Opt                        48 50                      570         29
    2005         V8/4.4L        Opt                               49 18, 33, 50, 54         720                  2005-04   L6/2.5L    HD, Telematics             94R 50                     640         30
    2003-02      V8/4.6L        Opt                               94R 50, 54, 55, 56        640         30       2005-04   L6/3.0L                               47 50                      480         28
    2003         V8/4.4L                                          49 50, 54, 55, 56         720         33       2005-04   L6/3.0L    Opt                        48 50                      570         29
    2003         V8/4.4L                                          49 50                     740         33       2005-03   L6/3.0L    HD, Telematics             94R 50                     640         30
    2003         V8/4.6L                                          49 50, 54, 55, 56         720         33       2003      L6/2.5L                               48 50                      570         29
    2003         V8/4.6L                                          49 50                     740         33       2003      L6/3.0L                               48 50                      570         29
    2002         L6/3.0L        Opt                               49 50                     720         33       BMW Z8
    2002         V8/4.4L                                          49 50                     720         33       2003      V8/4.8L                               49 50                      740         33
    2002         V8/4.6L                                          49 50                     720         33       2003      V8/5.0L                               49 50                      740         33
    2001-00      V8/4.4L                                          49 50, 54, 55, 56         720         33       2002      V8/5.0L                               49 50                      720         33
    2001-00      V8/4.4L                                          49 50                     850         33       2001-00   V8/5.0L                               49 50                      850         33
    2001         L6/3.0L                                          49 50, 54, 55, 56         720         33       Buick Allure
    2001         L6/3.0L        Opt                               94R 50, 54, 55, 56        640         30       2010      V6/3.0L                               48                         615         29
    2001         L6/3.0L                                          94R 50                    765         30       2010      V6/3.6L                               48                         615         29
    BMW X6                                                                                                       2009-05   V6/3.8L                               34                         750         9
    2017-15      L6/3.0L                                          49 33, 50, 54, 55, 56     900                  2009      V8/5.3L                               85                         625
    2017-15      V8/4.4L                                          49 33, 50, 54, 55, 56     900                  2008-05   V6/3.6L                               34                         680          9
    2014-13      L6/3.0L        X                                 48 18, 50, 54, 56         570         29       2008      V8/5.3L                               85                         590
    2014-13      L6/3.0L        Opt                               49 18, 33, 50, 54, 56     850                  Buick Cascada
    2014-13      L6/3.0L                                          49 18, 33, 50, 54, 56     900                  2017      L4/1.6L                               94R 33                     800
    2014-13      V8/4.4L        Opt                               48 18, 50, 54, 56         570         29       2016      L4/1.6L                               94R 33                     800
    2014-13      V8/4.4L        X                                 48 18, 50, 54, 56         570         29       Buick Century
    2014-13      V8/4.4L        Opt                               49 18, 33, 50, 54, 56     850                  2005-97   V6/3.1L                               78                         600          7
    2014-13      V8/4.4L                                          49 18, 33, 50, 54, 56     900                  1996-94   V6/3.1L                               75                         525          5
    2012-11      V8/4.4L                                          95R 18, 50, 54            950                  1996-93   L4/2.2L                               75                         525          5
    2012-09      V8/4.4L        w/AGM                             49 18, 33, 50             850                  1993-90   V6/3.3L                               75                         630          5
    2012-08      L6/3.0L        w/AGM                             48 18, 33, 50, 54         570                  1992-90   L4/2.5L                               75                         630          5
    2012-08      L6/3.0L                                          95R 18, 50, 54            950
                                                                                                                 Buick Commercial Chassis
    2012-08      V8/4.4L        Opt                               48 18, 50, 54             570         29
                                                                                                                 1996-92 V8/5.7L                                 78                         690          7
    2012         L6/3.0L        w/AGM                             49 18, 33, 50             850
                                                                                                                 1991    V8/5.0L                                 78                         690          7
    2012         V8/4.4L        w/AGM                             95R 18, 33, 50            950
    2011-10      V8/4.4L        Hybrid                            48 18, 33, 54             760                  Buick Electra
    2011         L6/3.0L        Opt                               49 18, 33, 50             850                  1990      V6/3.8L                               75                         630          5
    2010-09      V8/4.4L        w/AGM                             49 18, 33, 50             900                  1990      V6/3.8L    Opt                        78                         730          7
    2010-08      L6/3.0L        Option 1                          49 18, 33, 50, 54, 56     850                  Buick Enclave
    2010-08      L6/3.0L        Option 2                          49 18, 33, 50, 54, 56     900                  2017      V6/3.6L                               48 50                      660         29
    2010-08      V8/4.4L        Option 1                          49 18, 33, 50, 54, 56     850                  2016      V6/3.6L                               48 50                      660         29
    2010-08      V8/4.4L        Option 2                          49 18, 33, 50, 54, 56     900                  2015      V6/3.6L                               48 50                      660         29
    BMW Z3                                                                                                       2014-10   V6/3.6L                               48 50                      660         29
    2002         L6/2.5L                                          48 50                     570         29       2009-08   V6/3.6L                               48 50                      730         29
    2002         L6/3.0L                                          48 50                     570         29       Buick Encore
    2002         L6/3.2L                                          48 50                     570         29       2017-16   L4/1.4L    w/o Start/Stop             47                         525         28
    2001-99      L6/2.5L                                          48 50                     650         29       2017      L4/1.4L    w/Start/Stop               48 33                      700
    2001-98      L6/3.2L                                          48 50                     650         29       2016      L4/1.4L    w/Start/Stop               48 33                      700
    2001         L6/3.0L                                          48 50                     650         29       2016      L4/1.4L                               48 33                      760
    2000-97      L6/2.8L                                          48 50                     650         29       2015      L4/1.4L                               47 50                      525         28
    1998-96      L4/1.9L                                          48 50                     650         29       2014-13   L4/1.4L                               47 50                      525         28
    See page 88 for Footnotes. Selection may vary by warehouse.

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26                                                                                                  Automotive/Light Truck
                                                                   Original                                                                                                     Original
  Year      Engine                   Options     BCI Group Size   Equipment    Fitment     Year      Engine                    Options                       BCI Group Size    Equipment    Fitment
                                                     (notes)                    Code                                                                             (notes)                     Code
                                                                  CCA/Rating                                                                                                   CCA/Rating
Buick Envision                                                                           Buick Riviera
2017-16 L4/2.0L      Start/Stop                94R 33, 50           730                  1999-98 V6/3.8L                                                   79 50                  840         41
2017    L4/2.5L      Start/Stop                94R 33, 50           730                  1997-95 V6/3.8L                                                   76 50                  970         41
Buick LaCrosse                                                                           1993-90 V6/3.8L                                                   78                     770         7
2017      V6/3.6L                              94R 33               730                  Buick Roadmaster
2016-15   L4/2.4L    Hybrid                    47                   525         28       1996-95   V8/5.7L                                                 78                     600         7
2016      V6/3.6L                              48                   615         29       1994-92   V8/5.7L                                                 75                     525         5
2015      V6/3.6L                              48                   615         29       1994      V8/5.7L    Wagon                                        78                     770         7
2014-12   L4/2.4L    Hybrid                    47                   525         28       1993      V8/5.7L    Wagon                                        78                     690         7
2014-10   V6/3.6L                              48                   615         29       1991      V8/5.0L                                                 75                     525         5
2011-10   L4/2.4L                              48                   615         29       Buick Skylark
2010      V6/3.0L                              48 50                615         29
                                                                                         1998-96   L4/2.4L                                                 75                     600         5
2009-08   V6/3.8L                              34 33                720
                                                                                         1998-94   V6/3.1L                                                 75                     600         5
2009-08   V8/5.3L                              85                   590
2008      V6/3.6L                              34 33                720                  1995-93   L4/2.3L                                                 75                     600         5
2007      V6/3.6L                              34 33                750                  1993      V6/3.3L                                                 75                     600         5
2007      V6/3.8L                              34                   750          9       1992-90   L4/2.3L                                                 75                     630         5
2006      V6/3.6L                              34                   690          9       1992-90   V6/3.3L                                                 75                     630         5
2006      V6/3.8L                              34                   690          9       1991-90   L4/2.5L                                                 75                     630         5
2005      V6/3.6L                              34 33                680                  1980      L4/2.5L                                                 75                     500         5
2005      V6/3.8L                              34                   680          9       1980      V6/2.8L                                                 75                     500         5
Buick LeSabre                                                                            1979-77   V8/5.0L                                                 75                     500         5
2005-00   V6/3.8L                              100 50               770         40       1979-75   V6/3.8L                                                 75                     500         5
1999-95   V6/3.8L                              78                   690          7       1979-75   V8/5.7L                                                 75                     500         5
1997-94   V6/3.8L    Opt                       78                   770          7       1977      V8/4.9L                                                 75                     500         5
1994-90   V6/3.8L                              75                   630          5       1976-75   V8/4.3L                                                 75                     500         5
1993-91   V6/3.8L    HD or w/HWS               78                   770          7       1972-68   V8/5.7L                                                 24                     340         22
1990      V8/5.0L                              75                   630          5       1971-70   V8/7.5L                                                 24                     340         22
1990      V8/5.0L    Opt                       78                   730          7       1971-68   L6/4.1L                                                 22F                    330
Buick Lucerne                                                                            1968-65   V8/6.6L                                                 24                     340         22
2011-09   V6/3.9L                              94R 50               720         30       1967-66   V8/5.6L                                                 24                     340         22
2011-09   V8/4.6L                              94R 50               720         30       1967-64   V6/3.7L                                                 22F                    330
2008      V6/3.8L                              48 50                730         29       1967-64   V8/4.9L                                                 24                     340         22
2008      V8/4.6L                              48 50                730         29       1963-61   V8/3.5L                                                 24                     340         22
2007-06   V6/3.8L                              79 50                800         41       Buick Terraza
2007-06   V8/4.6L                              79 50                800         41       2007-06 V6/3.9L                                                   34                     600         9
Buick Park Avenue                                                                        2006-05 V6/3.5L                                                   34                     600         9
2005-03   V6/3.8L                              34                   690          9       Buick Verano
2005-03   V6/3.8L    S/C                       34                   770          9
                                                                                         2017      L4/2.4L                                                 48                     615         29
2002-98   V6/3.8L    S/C                       78                   770          7
                                                                                         2016      L4/2.0L                                                 48                     615         29
2002-96   V6/3.8L    Naturally Aspirated       78                   690          7
1997-91   V6/3.8L    W/HD or HWS               78                   770          7       2016      L4/2.4L                                                 48                     615         29
1995-94   V6/3.8L                              78                   600          7       2015      L4/2.0L                                                 48                     615         29
1993-91   V6/3.8L                              75                   630          5       2015      L4/2.4L                                                 48                     615         29
Buick Rainier                                                                            2014-13   L4/2.0L                                                 48                     615         29
                                                                                         2014-12   L4/2.4L                                                 48                     615         29
2007-04 L6/4.2L                                78 40                600          7
2007-04 V8/5.3L                                78 40                600          7       Buick Wildcat
Buick Reatta                                                                             1970    V8/7.5L                                                   27                     325         35
1991-90 V6/3.8L                                78                   770          7       1969-64 V8/7.0L                                                   27                     325         35
                                                                                         1966-63 V8/6.6L                                                   27                     325         35
Buick Regal
2017      L4/2.0L                              48                   615         29
                                                                                         Cadillac Allanté
2017      L4/2.4L                              48                   615         29       1993    V8/4.6L                                                   78 50                  770         7
2016-15   L4/2.4L    Hybrid                    47                   525         28       1992-90 V8/4.5L                                                   78 50                  770         7
2016-15   L4/2.4L                              48                   615         29       Cadillac ATS
2016      L4/2.0L                              48                   615         29       2017-16   V6/3.6L    ATS-V                                        140R 33, 50             560
2015      L4/2.0L                              48                   615         29       2017-16   V6/3.6L    w/o Start/Stop                               48 33, 50               700
2014-12   L4/2.4L    Hybrid                    47                   525         28       2017      L4/2.0L    w/o Start/Stop                               48 33, 50               700
2014-11   L4/2.0L                              48                   615         29       2017      L4/2.0L    w/Start/Stop                                 94R 33, 50              730
2012-11   L4/2.4L                              48                   615         29       2017      L4/2.5L    w/o Start/Stop                               48 33, 50               700
2004-97   V6/3.8L    S/C                       78                   770          7       2017      L4/2.5L    w/Start/Stop                                 94R 33, 50              730
2004      V6/3.8L                              78                   600          7       2017      V6/3.6L    w/Start/Stop                                 94R 33, 50              730
2003-96   V6/3.8L                              78                   690          7       2016-15   L4/2.5L                                                 48 33, 50               700
1996      V6/3.1L                              78                   600          7       2016-15   V6/3.6L                                                 48 33, 50               700
1995-94   V6/3.8L                              75                   600          5       2016-13   L4/2.0L    Start/Stop                                   94R 33, 50              730
1995-90   V6/3.1L                              75                   525          5       2016-13   L4/2.5L    Start/Stop                                   94R 33, 50              730
1993-90   V6/3.8L                              75                   630          5       2016-13   V6/3.6L    Start/Stop                                   94R 33, 50              730
Buick Rendezvous                                                                         2016      L4/2.0L                                                 48 33, 50               700
2007-06   V6/3.5L                              78                   600          7       2015      L4/2.0L                                                 48 33, 50               700
2006      V6/3.6L                              34                   690          9       2014-13   L4/2.0L    w/o Start/Stop                               48 33, 50               700
2005-04   V6/3.6L                              78                   600          7       2014-13   L4/2.5L    w/o Start/Stop                               48 33, 50               700
2005-02   V6/3.4L                              78                   600          7       2014-13   V6/3.6L    w/o Start/Stop                               48 33, 50               700
                                                                                                                                         See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                             27
                                                                                      Original                                                                                 Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                 Options       BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                          (notes)                    Code
                                                                                     CCA/Rating                                                                               CCA/Rating
    Cadillac Brougham, Fleetwood                                                                            Cadillac ELR
    1996-95      V8/5.7L        RWD                               78                   770          7       2016-15 L4/1.4L      Hybrid                    140R 33, 50          520
    1994         V8/5.7L                                          78                   770          7       2014    L4/1.4L      Hybrid                    140R 33, 50          520
    1993         V8/5.7L                                          78                   540          7       Cadillac Escalade
    1993         V8/5.7L        w/HWS or HD                       78                   770          7       2017      V8/6.2L                              94R                  720         30
    1992-91      V8/4.9L        Primary Battery                   78                   540          7       2016      V8/6.2L                              94R                  720         30
    1992-91      V8/4.9L                                          78                   730          7       2015      V8/6.2L                              48                   660         29
    1992-91      V8/4.9L        w/HWS or HD                       78                   770          7       2015      V8/6.2L    Opt                       48                   730         29
    1992-90      V8/5.0L                                          78                   730          7       2015      V8/6.2L                              94R                  720         30
    1992-90      V8/5.7L                                          78                   730          7       2014-12   V8/6.2L                              48                   660         29
    1990         V8/4.5L                                          78                   540          7       2014-09   V8/6.2L    Opt                       48                   730         29
    1990         V8/4.5L        Opt                               78                   730          7       2013-12   V8/6.0L    Hybrid                    48                   660         29
    1990         V8/4.5L        w/HWS or HD                       78                   770          7       2013-09   V8/6.0L    Hybrid, Opt               48                   730         29
    Cadillac Catera                                                                                         2011-09   V8/6.0L    Hybrid                    48                   615         29
    2001-97 V6/3.0L                                               91                   600                  2011-07   V8/6.2L                              48                   615         29
    Cadillac Commercial Chassis                                                                             2006-02   V8/6.0L                              78                   600          7
    1996-92 V8/5.7L                                               78                   770          7       2005-02   V8/5.3L                              78                   600          7
    1993-91 V8/4.9L                                               78                   770          7       2000-99   V8/5.7L                              78                   600          7
    1990    V8/4.5L                                               78                   770          7       2000-99   V8/5.7L    Opt                       78                   690          7
    Cadillac CT6                                                                                            Cadillac Escalade ESV
    2017         L4/2.0L        Start/Stop                        49 33, 50            850                  2017      V8/6.2L                              94R                  720         30
    2017         V6/3.0L        Start/Stop                        49 33, 50            850                  2016      V8/6.2L                              94R                  720         30
    2017         V6/3.6L        Start/Stop                        49 33, 50            850                  2015      V8/6.2L                              48                   660         29
    2016         L4/2.0L        Start/Stop                        49 33                850                  2015      V8/6.2L    Opt                       48                   730         29
    2016         V6/3.0L        Start/Stop                        49 33                850                  2015      V8/6.2L                              94R                  720         30
    2016         V6/3.6L        Start/Stop                        49 33                850                  2014-12   V8/6.2L                              48                   660         29
    Cadillac CTS                                                                                            2014-09   V8/6.2L    Opt                       48                   730         29
                                                                                                            2011-07   V8/6.2L                              48                   615         29
    2017         L4/2.0L        Start/Stop                        94R 33, 50           730
                                                                                                            2006-03   V8/6.0L                              78                   600          7
    2017         V6/3.6L        Start/Stop                        94R 33, 50           730
    2017         V8/6.2L        Start/Stop                        94R 33, 50           730                  Cadillac Escalade EXT
    2016         L4/2.0L        Start/Stop                        94R 33, 50           730                  2013-12   V8/6.2L                              48                   660         29
    2016         V6/3.6L        Start/Stop                        94R 33, 50           730                  2013-09   V8/6.2L    Opt                       48                   730         29
    2016         V8/6.2L        Start/Stop                        94R 33, 50           730                  2011-07   V8/6.2L                              48                   615         29
    2015         L4/2.0L                                          48 50                660         29       2006-02   V8/6.0L                              78                   600          7
    2015         L4/2.0L        Start/Stop                        94R 33, 50           730                  Cadillac Fleetwood (See Brougham, Fleetwood)
    2015         V6/3.6L                                          48 50                660         29       Cadillac Seville
    2015         V6/3.6L        Start/Stop                        94R 33, 50           730                  2004-98   V8/4.6L                              79                   800         41
    2015         V8/6.2L                                          48 50                660         29       1997-93   V8/4.6L                              78                   770          7
    2015         V8/6.2L        Start/Stop                        94R 33, 50           730                  1993-91   V8/4.9L                              78                   770          7
    2014-10      V6/3.0L                                          48 50                660         29       1990      V8/4.5L                              78                   730          7
    2014-10      V6/3.6L                                          48 50                660         29
    2014-10      V8/6.2L                                          48 50                660         29
                                                                                                            Cadillac Sixty Special
    2014         L4/2.0L                                          48 50                660         29       1993      V8/4.9L                              78                   770          7
    2014         L4/2.0L        Start/Stop                        94R 33, 50           730                  Cadillac SRX
    2014         V6/3.0L        Start/Stop                        94R 33, 50           730                  2016      V6/3.6L                              48                   660         29
    2014         V6/3.6L        Start/Stop                        94R 33, 50           730                  2015      V6/3.6L                              48                   660         29
    2014         V8/6.2L        Start/Stop                        94R 33, 50           730                  2014-12   V6/3.6L                              48                   660         29
    2009-08      V6/3.6L                                          48 50                730         29       2011-10   V6/2.8L                              48                   615         29
    2009         V8/6.2L                                          48 50                730         29       2011-10   V6/3.0L                              48                   615         29
    2007-06      V8/6.0L        V Series                          101                  540                  2009-08   V6/3.6L                              48                   730         29
    2007-05      V6/2.8L                                          101                  540                  2009-08   V8/4.6L                              48                   730         29
    2007-04      V6/3.6L                                          101                  540                  2007-04   V6/3.6L                              101                  540
    2005-04      V8/5.7L                                          101                  540                  2007-04   V8/4.6L                              101                  540
    2004-03      V6/3.2L                                          101                  540                  Cadillac STS
    Cadillac DeVille                                                                                        2011-10   V6/3.6L                              48                   660         29
    2005-00      V8/4.6L                                          79 50                800         41       2010      V8/4.6L                              48                   660         29
    1999-94      V8/4.6L                                          78                   770         7        2009-08   V6/3.6L                              48                   730         29
    1995-94      V8/4.9L                                          78                   770         7        2009-08   V8/4.4L                              48                   730         29
    1993-91      V8/4.9L                                          78                   540         7        2009-08   V8/4.6L                              48                   730         29
    1993-91      V8/4.9L        w/HWS or HD                       78                   770         7        2007-06   V8/4.4L                              101                  540
    1990         V8/4.5L                                          78                   540         7        2007-05   V6/3.6L                              101                  540
    1990         V8/4.5L        w/HWS                             78                   770         7        2007-05   V8/4.6L                              101                  540
    Cadillac DTS                                                                                            Cadillac XLR
    2011-09 V8/4.6L                                               94R 50               720         30       2009-08   V8/4.4L                              85                   590
    2008    V8/4.6L                                               48 50                730         29       2009-08   V8/4.6L                              85                   590
    2007-06 V8/4.6L                                               79 50                800         41       2007-06   V8/4.4L                              90 50                590         37
    Cadillac Eldorado                                                                                       2007-06   V8/4.6L                              90 50                590         37
    2002-93 V8/4.6L                                               78                   770          7       2005-04   V8/4.6L                              86 50                590
    1993-91 V8/4.9L                                               78                   770          7       Cadillac XT5
    1990        V8/4.5L                                           78                   730          7       2017      V6/3.6L    Start/Stop                94R 33               730
    See page 88 for Footnotes. Selection may vary by warehouse.

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28                                                                                                   Automotive/Light Truck
                                                                    Original                                                                                                      Original
  Year      Engine                     Options    BCI Group Size   Equipment    Fitment     Year      Engine                     Options                       BCI Group Size    Equipment    Fitment
                                                      (notes)                    Code                                                                              (notes)                     Code
                                                                   CCA/Rating                                                                                                    CCA/Rating
Cadillac XTS                                                                              Chevrolet C/K, R/V Pickups (continued)
2017      V6/3.6L                                48                  660         29       1998-97   V8/6.5L    Dsl                                           78                     600         7
2016      V6/3.6L                                48                  660         29       1998-94   V6/4.3L                                                  78                     600         7
2015      V6/3.6L                                48                  660         29       1998-94   V8/5.0L                                                  78                     600         7
2014-13   V6/3.6L                                48                  660         29       1996-94   V8/6.5L    Dsl                                           78                     770         7
Checker Marathon                                                                          1995-94   V6/4.3L                                                  78                     600         7
1978-75   V8/5.7L    Opt                         30HR                475                  1995-94   V8/5.0L                                                  78                     600         7
1978      V8/5.0L    Opt                         30HR                475                  1993-92   V8/6.2L    Dsl                                           75                     570         5
1973      V8/5.7L                                30H                 305                  1993-92   V8/6.5L    Dsl                                           75                     570         5
1973      V8/5.7L                                30HR                305                  1993-91   V6/4.3L    Aux Battery                                   78                     540         7
Chevrolet Astro                                                                           1993-91   V6/4.3L                                                  78                     630         7
                                                                                          1993-91   V8/5.0L    Aux Battery                                   78                     540         7
2005-94   V6/4.3L                                78                  600          7
                                                                                          1993-91   V8/5.0L                                                  78                     630         7
2005-02   V6/4.3L    Opt                         78                  770          7
                                                                                          1993-91   V8/5.7L    Aux Battery                                   78                     540         7
1993-91   V6/4.3L                                78                  630          7
                                                                                          1993-91   V8/5.7L                                                  78                     630         7
1990      L4/2.5L                                75                  525          5
                                                                                          1993-90   V8/7.4L    Aux Battery                                   78                     540         7
1990      V6/4.3L                                75                  525          5
                                                                                          1993-90   V8/7.4L                                                  78                     630         7
1990      V6/4.3L    Opt                         78                  630          7
                                                                                          1991-90   V8/6.2L    Dsl                                           75 2                   570         5
Chevrolet Avalanche                                                                       1991-90   V8/7.4L    Aux Battery                                   78                     540         7
2013-09   V8/5.3L    Opt                         48                  730         29       1991-90   V8/7.4L                                                  78                     630         7
2013-07   V8/5.3L    w/o HD                      48                  615         29       1991      V8/5.7L    Aux Battery                                   78                     540         7
2009-07   V8/6.0L    w/o HD                      48                  615         29       1991      V8/5.7L                                                  78                     630         7
2009      V8/6.0L    Opt                         48                  730         29       1991      V8/6.2L    Dsl                                           78                     540         7
Chevrolet Avalanche 1500                                                                  1991      V8/6.2L    Dsl                                           78 2                   540         7
2006-02 V8/5.3L                                  78                  600          7       1990      V6/4.3L                                                  75                     525         5
Chevrolet Avalanche 2500                                                                  1990      V8/5.0L                                                  75                     525         5
2006-02 V8/8.1L                                  78                  600          7       1990      V8/5.0L    Opt                                           78                     630         7
                                                                                          1990      V8/5.7L                                                  75                     525         5
Chevrolet Aveo, Aveo5                                                                     1990      V8/5.7L    Opt                                           78                     630         7
2011-04 L4/1.6L                                  86                  550         31       1990      V8/6.2L    Dsl                                           75                     570         5
Chevrolet Beretta, Corsica                                                                1990      V8/6.2L    Aux Battery                                   78                     540         7
1996-95   V6/3.1L                                75                  600          5       1990      V8/6.2L    Aux, Dsl                                      78                     540         7
1996-93   L4/2.2L    Opt                         75                  600          5       Chevrolet C/K, R/V Suburban
1996-92   L4/2.2L                                75                  525          5       1999-97   V8/6.5L    Dsl                                           78                     600         7
1994-93   L4/2.3L                                75                  600          5
                                                                                          1999-94   V8/5.7L                                                  78                     600         7
1994-93   V6/3.1L    Opt                         75                  600          5
                                                                                          1999-94   V8/7.4L                                                  78                     600         7
1994-90   V6/3.1L                                75                  525          5
                                                                                          1999      V8/5.7L    Opt                                           78                     690         7
1992-90   L4/2.3L                                75                  630          5
                                                                                          1999      V8/5.7L    HD or PPkg                                    78                     770         7
1991-90   L4/2.2L    MT                          70                  525          5
                                                                                          1999      V8/5.7L    PPkg, HD                                      78                     770         7
1991-90   L4/2.2L    HD w/AT                     75                  630          5
                                                                                          1999      V8/6.5L    Dsl & Opt                                     78                     690         7
1991-90   V6/3.1L    Opt                         75                  630          5
                                                                                          1999      V8/6.5L    Dsl, HD                                       78                     690         7
Chevrolet Blazer                                                                          1999      V8/7.4L    Primary Battery                               78                     600         7
2005-95   V6/4.3L                                75                  525          5       1999      V8/7.4L    Opt                                           78                     690         7
2005-95   V6/4.3L    Opt                         75                  690                  1999      V8/7.4L    HD or PPkg                                    78                     770         7
1994      V8/5.7L                                78                  600          7       1999      V8/7.4L    PPkg, HD                                      78                     770         7
1994      V8/6.5L    Dsl                         78                  770          7       1996-94   V8/6.5L    Dsl                                           78                     770         7
1993-91   V8/5.7L    Aux Battery                 78                  540          7       1993-92   V8/5.7L    Aux Battery                                   78                     540         7
1993-91   V8/5.7L                                78                  630          7       1993-92   V8/5.7L                                                  78                     630         7
1991-90   V8/6.2L    Dsl                         78                  540          7       1993-92   V8/7.4L    Aux Battery                                   78                     540         7
1990      V8/5.7L                                75                  525          5       1993-92   V8/7.4L                                                  78                     630         7
1990      V8/5.7L    Opt                         78                  630          7       1991-90   V8/6.2L    Dsl                                           75 2                   570         5
Chevrolet Bolt EV                                                                         1991-90   V8/7.4L    Aux Battery                                   78                     540         7
2017                 Electric                    140R 33             520                  1991-90   V8/7.4L                                                  78                     630         7
Chevrolet C/K, R/V Pickups                                                                1991      V8/5.7L    Aux Battery                                   78                     540         7
2000-99   V8/5.7L    Opt                         78                  690          7       1991      V8/5.7L                                                  78                     630         7
2000-99   V8/6.5L    Dsl, HD                     78                  690          7       1991      V8/6.2L    Dsl                                           78 2                   540         7
2000-99   V8/7.4L    Opt                         78                  690          7       1990      V8/5.7L                                                  75                     525         5
2000-97   V8/6.5L    Dsl                         78                  600          7       1990      V8/5.7L    Opt                                           78                     630         7
2000-94   V8/5.7L                                78                  600          7       1990      V8/6.2L    Aux, Dsl                                      78                     540         7
2000-94   V8/7.4L                                78                  600          7       1990      V8/6.2L    Dsl                                           78 2                   540         7
1999-97   V8/5.0L    Opt                         78                  690          7       1990      V8/7.4L    Aux Battery                                   78                     540         7
1999-94   V8/5.0L                                78                  600          7       1990      V8/7.4L                                                  78                     630         7
1999-94   V8/5.7L                                78                  600          7       Chevrolet Camaro
1999      V8/5.0L                                78                  600          7       2017      L4/2.0L                                                  48 33, 50               700
1999      V8/5.0L    PPkg, HD                    78                  770          7       2017      V6/3.6L                                                  48 33, 50               700
1999      V8/5.7L    Opt                         78                  690          7       2017      V8/6.2L                                                  48 33, 50               700
1999      V8/5.7L    HD or PPkg                  78                  770          7       2016      L4/2.0L                                                  48 33, 50               700
1999      V8/5.7L    PPkg, HD                    78                  770          7       2016      V6/3.6L                                                  48 33, 50               700
1999      V8/6.5L    Dsl & Opt                   78                  690          7       2016      V8/6.2L                                                  48 33, 50               700
1999      V8/7.4L    Primary Battery             78                  600          7       2015      V6/3.6L                                                  94R 50                  720        30
1999      V8/7.4L    HD or PPkg                  78                  770          7       2015      V8/6.2L                                                  94R 50                  720        30
1999      V8/7.4L    PPkg, HD                    78                  770          7       2015      V8/7.0L                                                  48 50                   730        29
1998-97   V8/5.0L    Opt                         78                  690          7       2014-10   V6/3.6L                                                  94R 50                  720        30
                                                                                                                                           See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                  of
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    Automotive/Light Truck                                                                                                                                                            29
                                                                                      Original                                                                                Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                  Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                         (notes)                    Code
                                                                                     CCA/Rating                                                                              CCA/Rating
    Chevrolet Camaro (continued)                                                                            Chevrolet Caprice, Impala
    2014-10 V8/6.2L                                               94R 50               720         30       2017-16   L4/2.5L    Aux for Start/Stop       401 33, 50           155
    2014        V8/7.0L                                           48 50                730         29       2017-16   L4/2.5L    Start/Stop               94R 33               730
    2002-95 V6/3.8L                                               75                   690                  2017-14   V6/3.6L    Ex PPkg Version          48                   615         29
    2002-93 V8/5.7L                                               75                   525          5       2017      V6/3.6L    PPkg Version             34                   720
    1995-93 V6/3.4L                                               75                   525          5       2017      V6/3.6L    PPkg Version             34                   720          9
    1992-90 V6/3.1L                                               75                   525          5       2017      V6/3.6L    PPkg, Opt Aux Bat        48 33, 50            700
    1992-90 V8/5.0L MT                                            75                   525          5       2017      V6/3.6L    PPkg, Primary Bat        48 33, 50            700
    1992-90 V8/5.0L AT                                            75                   570          5       2017      V8/6.0L    PPkg, Opt Aux Bat        48 33, 50            700
    1992-87 V8/5.7L                                               75                   630          5       2017      V8/6.0L    PPkg, Primary Bat        48 33, 50            700
    1989-88 V8/5.0L Ex 110 Amp Generator                          70                   525          5       2016      L4/2.5L                             48                   615         29
    1989-88 V8/5.0L w/110 Amp Generator                           75                   525          5       2016      L4/2.5L    Start/Stop               49 33                850
    1989-87 V6/2.8L                                               75                   525          5       2016      V6/3.6L    Ex PPkg Version          34                   600          9
    1989-86 V6/2.8L Opt                                           75                   570          5       2016      V6/3.6L    PPkg Version             34                   720          9
    1989-86 V8/5.0L Opt                                           75                   570          5       2016      V6/3.6L                             48 33, 50            700
    1987        V8/5.0L MT                                        75                   500          5       2016      V6/3.6L    PPkg                     94R                  700         30
    1987        V8/5.0L AT                                        75                   525          5       2016      V8/6.0L                             48 33, 50            700
    1986-85 L4/2.5L                                               75                   630          5       2016      V8/6.0L    PPkg                     94R                  700         30
    1986        V6/2.8L                                           70                   525          5       2015-14   L4/2.5L    Aux w/Start/Stop         401 33, 50           155
    1986        V8/5.0L                                           70                   525          5       2015-14   L4/2.5L                             48                   615         29
    1985-84 V8/5.0L                                               75                   500          5       2015-14   L4/2.5L    w/Start/Stop             49 33                850
    1985-84 V8/5.0L Opt                                           75                   630          5       2015-13   V6/3.6L    PPkg                     34                   720          9
    1985        V6/2.8L                                           75                   500          5       2015      V6/3.6L    Ex PPkg                  34                   600          9
    1985        V6/2.8L Opt                                       75                   630          5       2015      V6/3.6L                             48 33, 50            700
    1984-83 V6/2.8L Opt                                           75                   500          5       2015      V6/3.6L    Caprice                  48 33, 50            700
    1984        L4/2.5L                                           70                   405          5       2015      V8/6.0L                             48 33, 50            700
    1984        L4/2.5L Opt                                       75                   500          5       2015      V8/6.0L    Caprice                  48 33, 50            700
    1984        V6/2.8L                                           70                   405          5       2014-13   V6/3.6L    PPkg                     34                   720          9
    1983-82 V6/2.8L                                               70                   315          5       2014-12   V6/3.6L    Ex PPkg                  34                   600          9
    1983        L4/2.5L US                                        70                   405          5       2014-11   V8/6.0L    w/PPkg                   94R 50               765         30
    1983        L4/2.5L Can or Opt                                75                   500          5       2014      L4/2.4L    Hybrid                   47                   525         28
                                                                                                            2014      L4/2.4L    Hybrid                   48                   615         29
    1983        V8/5.0L                                           70                   405          5
                                                                                                            2014      V6/3.6L    Aux Battery              48 33, 50            700
    1983        V8/5.0L Opt                                       75                   500          5
                                                                                                            2014      V6/3.6L    PPkg, Opt Aux Bat        48 33, 50            700
    1982-81 V8/5.0L Opt                                           73                   465          5
                                                                                                            2014      V6/3.6L    PPkg, Primary Bat        48 33, 50            700
    1982        L4/2.5L                                           70                   315          5
                                                                                                            2014      V6/3.6L    Primary Battery          48 33, 50            700
    1982        L4/2.5L Opt                                       73                   465          5
                                                                                                            2014      V6/3.6L    w/PPkg                   48 33, 50            700
    1982        V6/2.8L Opt                                       73                   465          5
                                                                                                            2014      V8/6.0L    PPkg, Opt Aux Bat        48 33, 50            700
    1982        V8/5.0L                                           70                   400          5
                                                                                                            2014      V8/6.0L    PPkg, Primary Bat        48 33, 50            700
    1981        V6/3.8L                                           70                   370          5
                                                                                                            2013-12   V6/3.6L    w/PPkg                   94R                  765         30
    1981        V6/3.8L HBL & AC                                  71                   350          5
                                                                                                            2013-12   V6/3.6L    w/PPkg                   94R 50               765         30
    1981        V6/3.8L 229 cid, HD                               73                   465          5
                                                                                                            2012      V6/3.6L    w/PPkg                   34                   720          9
    1981        V6/3.8L 231 cid, HD                               74                   550          7
                                                                                                            2011-10   V6/3.9L    Ex PPkg                  34                   600          9
    1981        V8/4.4L Opt                                       73                   465          5       2011-10   V6/3.9L    w/PPkg                   34                   720          9
    1981        V8/4.4L                                           74                   550          7       2011-08   V6/3.5L                             34                   600          9
    1981        V8/5.0L                                           71                   350          5       2009-08   V8/5.3L                             85                   590
    1981        V8/5.7L                                           71                   350          5       2009      V6/3.9L                             34                   600          9
    1981        V8/5.7L Opt                                       73                   465          5       2008      V6/3.9L                             34                   720          9
    1980-76 V8/5.0L                                               71                   325          5       2007-06   V6/3.5L                             34                   690          9
    1980-76 V8/5.0L Opt                                           74                   450          7       2007-06   V6/3.9L                             34                   750          9
    1980-70 V8/5.7L                                               71                   325          5       2007-06   V8/5.3L    SS                       85                   625
    1980-70 V8/5.7L Opt                                           74                   450          7       2005-00   V6/3.4L                             78                   600          7
    1980        V6/3.8L                                           71                   325          5       2005      V6/3.8L    S/C                      78                   600          7
    1980        V6/3.8L Opt                                       74                   450          7       2005      V6/3.8L                             78                   770          7
    1980        V8/4.4L                                           71                   325          5       2004-00   V6/3.8L                             78                   600          7
    1980        V8/4.4L Opt                                       74                   450          7       2004      V6/3.8L    S/C                      78                   690          7
    1979-70 L6/4.1L                                               71                   325          5       2003-00   V6/3.4L    Opt                      78                   690          7
    1979-70 L6/4.1L Opt                                           74                   450          7       2003-00   V6/3.8L    Opt                      78                   690          7
    1973-70 V8/5.0L                                               71                   325          5       1996-95   V8/4.3L                             78                   600          7
    1973-70 V8/5.0L Opt                                           74                   450          7       1996-95   V8/5.7L                             78                   600          7
    1972-70 V8/6.6L                                               71                   325          5       1996-95   V8/5.7L    HD, SEO                  78                   770          7
    1972-70 V8/6.6L Opt                                           74                   450          7       1994      V8/4.3L                             75                   525          5
    1969        L6/3.8L Late                                      72                   275          5       1994      V8/5.7L                             78                   770          7
    1969        L6/4.1L Late                                      72                   275          5       1993-92   V6/4.3L                             78                   730          7
    1969        V8/4.9L                                           74                   350          7       1993-90   V8/5.0L                             75                   525          5
    1969        V8/5.0L                                           72                   275          5       1993-86   V8/5.7L                             78                   730          7
    1969        V8/5.0L Ex 302                                    74                   350          7       1990-85   V6/4.3L                             75                   630          5
    1969        V8/5.3L                                           74                   350          7       1989-86   V8/5.0L                             70                   525          5
    1969        V8/5.4L                                           74                   350          7       1989-86   V8/5.0L    Opt                      75                   570          5
    1969        V8/5.7L                                           74                   350          7       1987-85   V8/5.7L    Opt                      75                   630          5
    1969        V8/6.5L                                           74                   350          7       1987      V8/5.7L    SEO                      78                   730          7
    1969        V8/7.0L                                           74                   350          7       1985-84   V8/5.0L                             75                   500          5
    1968-67 L6/4.1L                                               22F                  250                  1985-84   V8/5.0L    Opt                      75                   630          5
    1968        L6/3.8L                                           22F                  250                  1985-84   V8/5.7L    Dsl                      70 2                 405          5
    See page 88 for Footnotes. Selection may vary by warehouse.

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30                                                                                              Automotive/Light Truck
                                                               Original                                                                                                  Original
  Year      Engine               Options     BCI Group Size   Equipment    Fitment     Year      Engine                 Options                       BCI Group Size    Equipment    Fitment
                                                 (notes)                    Code                                                                          (notes)                     Code
                                                              CCA/Rating                                                                                                CCA/Rating
Chevrolet Caprice, Impala (continued)                                                Chevrolet Captiva Sport
1985-84   V8/5.7L                          75                   500          5       2015    L4/2.4L                                                48                     615         29
1985-83   V6/3.8L                          71                   390          5       2014-12 L4/2.4L                                                48                     615         29
1985-83   V6/3.8L    Opt                   78                   550          7       2012    V6/3.0L                                                48                     660         29
1985-83   V8/5.7L    Dsl & Opt             78                   550          7       Chevrolet Cavalier
1985      V6/4.3L                          75                   630          5       2005-92   L4/2.2L                                              75                     525         5
1985      V8/5.7L    Opt                   75                   630          5       2002-96   L4/2.4L                                              75                     600         5
1984-83   V6/3.8L    Opt                   75                   500          5
                                                                                     2002      L4/2.2L                                              75                     600         5
1984      V6/3.8L                          70                   405          5
                                                                                     1995      L4/2.3L                                              75                     600         5
1983      V6/3.8L                          70                   355          5
                                                                                     1994-92   V6/3.1L                                              75                     525         5
1983      V8/5.0L                          70                   355          5
                                                                                     1991-90   L4/2.2L                                              75                     630         5
1983      V8/5.0L    Opt                   75                   500          5
                                                                                     1991-90   V6/3.1L                                              75                     630         5
1983      V8/5.7L                          70                   355          5
1983      V8/5.7L    Dsl                   75                   500          5       Chevrolet Celebrity
1983      V8/5.7L    Dsl or HD             75                   500          5       1990      L4/2.5L                                              75                     630         5
1983      V8/5.7L    Opt                   75                   500          5       1990      V6/3.1L                                              75                     630         5
1982-81   V6/3.8L    HBL & AC              71                   350          5       Chevrolet Chevelle
1982-81   V8/4.4L    Opt                   73                   465          5       1973-71   L6/4.1L                                              71                     325         5
1982-81   V8/5.0L                          71                   350          5       1973-71   L6/4.1L    Opt                                       74                     450         7
1982-81   V8/5.0L    Opt                   73                   465          5       1973-71   V8/5.0L                                              71                     325         5
1982-81   V8/5.7L                          71                   350          5       1973-71   V8/5.0L    Opt                                       74                     450         7
1982-81   V8/5.7L    Dsl or HD             73 2                 465          5
                                                                                     1973-71   V8/5.7L                                              71                     325         5
1982-81   V8/5.7L    Dsl, HD               74 2                 550          7
                                                                                     1973-71   V8/5.7L    Opt                                       74                     450         7
1982      V6/3.8L                          70                   400          5
                                                                                     1973-71   V8/6.6L                                              71                     325         5
1982      V8/4.4L                          71                   350          5
1982      V8/5.7L    Dsl                   73 2                 465          5       1973-71   V8/6.6L    Opt                                       74                     450         7
1982      V8/5.7L    Opt                   73                   465          5       1973-71   V8/7.4L                                              71                     325         5
1981      V6/3.8L    Opt                   73                   465          5       1973-71   V8/7.4L    Opt                                       74                     450         7
1981      V6/3.8L    Opt                   74                   550          7       1970-67   L6/4.1L                                              22F                    250         38
1981      V8/4.4L                          74                   550          7       1970      V8/5.0L                                              24                     325         22
1980-78   V8/5.0L                          71                   325          5       1970      V8/5.7L                                              24                     325         22
1980-78   V8/5.0L    Opt                   74                   450          7       1970      V8/6.5L                                              24                     325         22
1980-78   V8/5.7L                          71                   325          5       1970      V8/6.6L                                              24                     325         22
1980-78   V8/5.7L    Opt                   74                   450          7       1970      V8/7.4L                                              74                     450         7
1980      V6/3.8L                          71                   325          5       1969-68   V8/5.0L    Incl Malibu                               24                     325         22
1980      V6/3.8L    Opt                   74                   450          7       1969-68   V8/5.7L    Incl Malibu                               24                     325         22
1980      V8/4.4L                          71                   325          5       1969-67   L6/4.1L    Opt                                       24                     325         22
1980      V8/4.4L    Opt                   74                   450          7       1969-65   V8/6.5L    Incl Malibu                               24                     325         22
1979-78   L6/4.1L                          71                   325          5       1969-64   L6/3.8L                                              22F                    250         38
1979-78   L6/4.1L    Opt                   74                   450          7       1969-64   L6/3.8L    Opt                                       24                     325         22
1977      L6/4.1L                          72                   350          5       1967-64   V8/4.6L    Incl Malibu                               24                     325         22
1977      V8/5.0L                          74                   450          7
                                                                                     1966      L6/3.2L                                              22F                    250
1977      V8/5.7L                          74                   450          7
                                                                                     1966      L6/3.2L    AC                                        24                     450         22
1976-70   V8/7.4L                          74                   450          7
                                                                                     1966      L6/3.8L    AC or HD                                  24                     325         22
1976      V8/5.7L                          72                   350          5
1976      V8/6.6L                          72                   350          5       Chevrolet Chevy II
1976      V8/7.4L                          72                   350          5       1968-67   L6/4.1L                                              22F                    275         38
1975-70   V8/5.7L                          74                   450          7       1968-67   L6/4.1L    HD or w/AC                                24                     380         22
1975-70   V8/6.6L                          74                   450          7       1968-66   V8/5.3L                                              22F                    275         38
1975-70   V8/7.4L                          74                   450          7       1968-65   V8/5.3L    HD or w/AC                                24                     380         22
1974-73   L6/4.1L                          72                   350          5       1968-62   L4/2.5L    HD or w/AC                                24                     380         22
1973-71   V8/5.0L                          74                   450          7       1968      L4/2.5L                                              22F                    275         38
1972-70   L6/4.1L                          74                   450          7       1968      L6/3.8L                                              22F                    275         38
1970-69   V8/5.7L    w/AC                  24                   325         22       1968      L6/3.8L    HD or w/AC                                24                     380         22
1970-65   L6/4.1L    w/o AC                22F                  250         38       1968      V8/5.0L                                              22F                    275         38
1970      V8/6.6L    w/AC                  24                   325         22       1968      V8/5.0L    HD or w/AC                                24                     380         22
1970      V8/7.4L    w/AC                  24                   325         22       1968      V8/5.4L    HD or w/AC                                24                     380         22
1969-68   V8/5.0L    w/AC                  24                   325         22       1968      V8/5.7L    HD or w/AC                                24                     380         22
1969-67   L6/4.1L    w/o AC                22F                  250         38       1968      V8/6.5L    HD or w/AC                                24                     380         22
1969-66   V8/7.0L    w/AC                  24                   325         22       1967-66   V8/4.6L                                              22F                    275         38
1969-65   V8/6.5L    w/AC                  24                   325         22       1967-63   V8/4.6L    HD or w/AC                                24                     380         22
1969-64   V8/5.4L    w/AC                  24                   325         22       1967-62   L4/2.5L                                              22F                    250         38
1969-63   V8/5.3L    w/AC                  24                   325         22       1967-62   L6/3.2L    HD or w/AC                                24                     380         22
1967-66   L6/4.1L                          22F                  250                  1966-65   V8/5.4L    HD or w/AC                                24                     380         22
1967-66   L6/4.1L                          24                   325         22       1966-64   L6/3.8L    HD or w/AC                                24                     380         22
1967-63   V8/4.6L    w/AC                  24                   325         22       1966      V8/5.4L                                              22F                    275         38
1966      L6/4.1L    AC                    24                   325         22       1963-62   L6/3.2L                                              22F                    250
1965-63   L6/3.8L    w/o AC                22F                  250         38
1965-63   V8/6.7L    w/AC                  24                   325         22
                                                                                     Chevrolet City Express
1965-58   L6/3.8L                          24                   325         22       2017-16 L4/2.0L                                                121R                   600         39
1962-61   V8/6.7L                          24                   325         22       2015    L4/2.0L                                                121R                   600         39
1962-58   V8/4.6L                          24                   325         22       2015    L4/2.0L                                                121R                   N/A         39
1962      V8/5.3L                          24                   325         22       Chevrolet Classic
1961-58   V8/5.7L                          24                   325         22       2005-04 L4/2.2L                                                75                      525         5
                                                                                                                                  See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                            31
                                                                                      Original                                                                                Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                  Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                         (notes)                    Code
                                                                                     CCA/Rating                                                                              CCA/Rating
    Chevrolet Cobalt                                                                                        Chevrolet Corvette (continued)
    2010-09      L4/2.0L                                          90 50                590         37       1968-66   V8/7.0L                             24 50                325         22
    2010-08      L4/2.2L                                          90 50                590         37       1968-62   V8/5.3L                             24                   325         22
    2008-05      L4/2.0L                                          90 50                600         37       1968      V8/5.4L                             24                   325         22
    2008         L4/2.4L                                          90 50                590         37       1965      V8/6.5L                             24                   325         22
    2007-06      L4/2.4L                                          90 50                600         37       1961-57   V8/4.6L                             24                   325         22
    2007-05      L4/2.2L                                          90 50                600         37       1956      V8/4.3L                             24                   325         22
    Chevrolet Colorado                                                                                      Chevrolet Cruze
    2017-16      L4/2.5L                                          48                   615         29       2018-17   L4/1.4L    w/Start/Stop             94R 33, 50           730
    2017-16      V6/3.6L                                          48                   615         29       2018-17   L4/1.6L    Dsl                      94R 50               720         30
    2017         L4/2.8L        Dsl                               49 33                850                  2018-16   L4/1.4L    w/o Start/Stop           47 50                525         28
    2016         L4/2.8L        Dsl                               49 33                850                  2018-16   L4/1.4L    w/o Start/Stop/Opt       48 50                615         29
    2015         L4/2.5L                                          48                   615         29       2016      L4/1.4L    Limited                  94R 33               730
    2015         V6/3.6L                                          48                   615         29       2016      L4/1.4L    Premier                  94R 33               730
    2012-09      V8/5.3L                                          86 11, 40            590                  2015-11   L4/1.4L                             47                   525         28
    2012-08      L4/2.9L                                          86 40                590         31       2015-11   L4/1.8L                             47                   525         28
    2012-07      L5/3.7L                                          86 40                590         31       2015      L4/2.0L    Dsl                      94R 33               730
    2007         L4/2.9L                                          86 11, 40            640                  2014      L4/2.0L    Dsl                      94R 33, 50           730
    2006-04      L4/2.8L                                          86 11, 40            640                  Chevrolet Cruze Limited
    2006-04      L5/3.5L                                          86 11, 40            590                  2016      L4/1.4L                             94R 33               730
    Chevrolet Commercial Chassis                                                                            2016      L4/1.8L                             48                   615         29
    1994-91 V8/5.7L                                               78                   690          7       Chevrolet El Camino
    1992-91 V8/5.0L                                               78                   690          7       1987-85   V6/4.3L                             75                   630          5
    1992    V6/4.3L                                               78                   690          7       1987-85   V8/5.0L                             75                   525          5
    Chevrolet Corsica (See Beretta, Corsica)                                                                1987-85   V8/5.0L    Opt                      75                   570          5
    Chevrolet Corvette                                                                                      1984-83   V6/3.8L    Opt                      78                   550          7
    2017         V8/6.2L                                          48 50                615         29       1984-83   V8/5.0L                             70                   405          5
    2016         V8/6.2L                                          48 50                615         29       1984-83   V8/5.0L    Opt                      75                   500          5
    2015         V8/6.2L                                          48 50                615         29       1984-83   V8/5.7L    Dsl, HD                  78                   550          7
    2014         V8/6.2L                                          48                   615         29       1984-81   V6/3.8L                             70                   315          5
    2013-09      V8/7.0L        Z06                               90 50                590         37       1984      V6/3.8L    229 cid                  70                   405          5
    2013-08      V8/6.2L                                          85 50                590                  1984      V6/3.8L    229 cid, HD              75                   500          5
    2013         V8/6.2L        w/52 Pkg                          90 50                590         37       1984      V8/5.7L    Dsl                      70 2                 405          5
    2013         V8/7.0L        Ex Dry Sump System Pkg (Z52)      85                   590                  1983      V6/3.8L    229 cid                  70                   355          5
    2012-11      V8/6.2L        ZR1                               90 50                590         37       1983      V6/3.8L    229 cid, HD              70                   500          5
    2010         V8/6.2L        Z52                               90 50                590         37       1983      V8/5.7L    Dsl                      75                   525          5
    2009         V8/6.2L        Dry Sump Sys Pkg (Z52)            90 50                590         37       1982-81   V8/5.0L    Opt                      73                   465          5
    2008-07      V8/7.0L        Z06                               90 50                600         37       1982      V6/3.8L    229 cid                  70                   400          5
    2007         V8/6.0L                                          90 50                600         37       1982      V6/3.8L    Opt                      73                   465          5
    2006         V8/6.0L                                          90                   590         37       1982      V8/4.4L                             70                   315          5
    2006         V8/7.0L                                          90 50                590         37       1982      V8/4.4L    Opt                      70                   465          5
    2005         V8/6.0L                                          86                   590         31       1982      V8/5.0L                             70                   315          5
    2004         V8/5.7L                                          86                   590         31       1981      V6/3.8L    229 cid                  70                   370          5
    2003         V8/5.7L                                          75 33                600          5       1981      V6/3.8L    w/AC                     71                   350          5
    2002         V8/5.7L                                          75 33                525          5       1981      V6/3.8L    229 cid, HD              73                   465          5
    2001         V8/5.7L                                          75 33                500          5       1981      V6/3.8L    Opt                      74                   550          7
    2000-97      V8/5.7L                                          78                   600          7       1981      V8/4.4L                             70                   370          5
    1996         V8/5.7L        16 Valve                          75                   525          5       1981      V8/4.4L    Opt                      73                   465          5
    1995         V8/5.7L        16 Valve                          75                   525          5       1981      V8/5.0L                             70                   370          5
    1995         V8/5.7L        32 Valve                          75                   690
                                                                                                            1980-79   V8/4.4L                             74                   450          7
    1994         V8/5.7L        16 Valve                          75                   525          5
                                                                                                            1980-78   V6/3.8L                             71                   275          5
    1994         V8/5.7L        32 Valve                          75                   690
                                                                                                            1980-76   V8/5.0L                             71                   350          5
    1993         V8/5.7L        16 Valve                          75                   525          5
                                                                                                            1979-76   V8/5.7L                             71                   350          5
    1993         V8/5.7L        32 Valve                          75                   690
    1992         V8/5.7L        16 Valve                          75                   525          5       1976      V8/6.6L                             71                   350          5
    1992         V8/5.7L        32 Valve                          75                   690                  Chevrolet Epica
    1991         V8/5.7L        16 Valve                          75                   525          5       2006-04 L6/2.5L                               34                   600          9
    1991         V8/5.7L        32 Valve                          75                   690                  Chevrolet Equinox
    1990         V8/5.7L        16 Valve                          75                   525          5       2017      L4/2.4L                             47                   525         28
    1990         V8/5.7L        32 Valve                          75                   690                  2017      V6/3.6L                             48                   660         29
    1988         V8/5.7L                                          75                   525          5       2016-10   L4/2.4L                             47                   525         28
    1987-86      V8/5.7L                                          75                   630          5       2016      V6/3.6L                             48                   660         29
    1985-84      V8/5.7L                                          75                   500          5       2015      V6/3.6L                             48                   660         29
    1982-81      V8/5.7L                                          73                   465          5
                                                                                                            2014-13   V6/3.6L                             48                   660         29
    1980-76      V8/5.7L                                          71                   325          5
                                                                                                            2012      V6/3.0L                             48                   660         29
    1980-76      V8/5.7L        Opt                               74                   450          7
                                                                                                            2011-10   V6/3.0L                             48                   615         29
    1980         V8/5.0L                                          71                   325          5
                                                                                                            2009-08   V6/3.6L                             47                   650
    1980         V8/5.0L        Opt                               74                   450          7
    1974-70      V8/7.4L                                          71                   325          5       2009-07   V6/3.4L                             47                   650
    1974-70      V8/7.4L        Opt                               74                   450          7       2006-05   V6/3.4L                             75                   600          5
    1974-69      V8/5.7L                                          71                   325          5       Chevrolet Express Vans (1500-4500, Cargo)
    1974-69      V8/5.7L        Opt                               74                   450          7       2017      L4/2.8L    Dsl                      78 2                 770          7
    1969         V8/7.0L                                          71                   325          5       2017      V8/4.8L                             78                   600          7
    1969         V8/7.0L        Opt                               74                   450          7       2017      V8/6.0L                             78                   600          7
    See page 88 for Footnotes. Selection may vary by warehouse.

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32                                                                                                    Automotive/Light Truck
                                                                     Original                                                                                                     Original
  Year      Engine                 Options         BCI Group Size   Equipment    Fitment     Year      Engine                    Options                       BCI Group Size    Equipment    Fitment
                                                       (notes)                    Code                                                                             (notes)                     Code
                                                                    CCA/Rating                                                                                                   CCA/Rating
Chevrolet Express Vans (1500-4500, Cargo) (continued)                                      Chevrolet LLV (continued)
2016      V8/4.8L                                78                   600          7       1993-90 L4/2.5L      Opt                                          78                     690         7
2016      V8/6.0L                                78                   600          7       1991-90 L4/2.5L                                                   75                     525         5
2016      V8/6.6L    Dsl                         78 2                 770          7       Chevrolet Lumina, Lumina APV, Venture
2015      V8/4.8L                                78                   600          7       2005-97   V6/3.4L                                                 78                     600         7
2015      V8/6.0L                                78                   600          7       2001-96   V6/3.1L                                                 78                     600         7
2015      V8/6.6L    Dsl                         78 2                 770          7       1999-98   V6/3.8L                                                 78                     690         7
2014-10   V6/4.3L                                78                   600          7       1997-96   V6/3.4L                                                 78                     690         7
2014-07   V8/6.6L    Dsl                         78                   770          7       1996      V6/3.4L                                                 75                     525         5
2014-03   V8/4.8L                                78                   600          7       1995-93   V6/3.1L    HD, SEO                                      75                     690
2014-03   V8/5.3L                                78                   600          7       1995-92   V6/3.8L                                                 75                     630         5
2014      V8/6.0L                                78                   600          7       1995-91   V6/3.4L                                                 75                     690
2013-09   V8/6.6L                                78                   770          7       1995-90   V6/3.1L                                                 75                     525         5
2013-03   V8/6.0L                                78                   600          7       1993      L4/2.2L                                                 75                     525         5
2009-06   V6/4.3L                                78                   600          7       1992-90   L4/2.5L                                                 75                     630         5
2006      V8/6.6L    Dsl                         79 2                 800         41       1992      V6/3.1L    Opt                                          75                     690
2005-96   V6/4.3L                                78                   600          7       Chevrolet Malibu Limited
2005-03   V6/4.3L    Opt                         79                   800         41
                                                                                           2016      L4/2.5L    Aux Battery                                  401 33, 50             155
2005-03   V8/4.8L    Opt                         79                   800         41
                                                                                           2016      L4/2.5L    Start/Stop                                   49 33                  850
2005-03   V8/5.3L                                78                   600          7
                                                                                           2016      L4/2.5L    Start/Stop                                   94R 33                 730
2005-03   V8/5.3L    Opt                         79                   800         41
                                                                                           2016      L4/2.5L    Aux Battery                                  N/A 33, 50             155
2005-03   V8/6.0L    Opt                         79                   800         41
2002-96   V8/5.0L                                78                   600          7       Chevrolet Malibu, Monte Carlo
2002-96   V8/5.7L                                78                   600          7       2017      L4/1.5L                                                 48 33                   700
2002-01   V8/8.1L                                78                   600          7       2017      L4/1.8L    Hybrid                                       47                      525        28
2002      V6/4.3L    Opt                         78                   770          7       2017      L4/2.0L                                                 48                      660        29
2002      V8/5.0L    Opt                         78                   770          7       2016      L4/1.5L                                                 48 33                   700
2002      V8/5.7L    Opt                         78                   770          7       2016      L4/1.8L    Hybrid                                       47                      525        28
2002      V8/6.5L    Dsl                         78                   770          7       2016      L4/2.0L                                                 48                      660        29
2002      V8/8.1L    Opt                         78                   770          7       2015-14   L4/2.5L    Aux for Start/Stop                           401 33, 50              155
2001-96   V8/6.5L    Dsl                         78                   600          7       2015      L4/2.0L                                                 47                      525        28
2001-00   V6/4.3L    Opt                         78                   690          7       2015      L4/2.5L    Start/Stop                                   49 33                   850
2001-00   V8/5.0L    Opt                         78                   690          7       2014-13   L4/2.0L    w/o Start/Stop                               47                      525        28
2001-00   V8/5.7L    Opt                         78                   690          7       2014-13   L4/2.4L    w/o Start/Stop                               47                      525        28
2001-00   V8/6.5L    Dsl, HD                     78                   690          7       2014-13   L4/2.5L    w/o Start/Stop                               47                      525        28
2001      V8/8.1L    Opt                         78                   690          7       2014      L4/2.5L    Start/Stop                                   49 33                   850
2000-96   V8/7.4L                                78                   600          7       2012-09   L4/2.4L    Ex SS                                        90                      590        37
2000      V8/7.4L    Opt                         78                   690          7       2012-08   V6/3.6L    Ex SS                                        90                      590        37
Chevrolet G-Series Vans                                                                    2010-08   V6/3.5L    Ex SS                                        90                      590        37
                                                                                           2008      L4/2.2L    Ex SS                                        90                      590        37
1996-94   V6/4.3L                                78                   600          7
                                                                                           2008      L4/2.4L    HD, Hybrid                                   90                      590        37
1996-94   V8/5.7L                                78                   600          7
                                                                                           2007-06   V8/5.3L    SS                                           85                      625
1996-94   V8/6.5L    Dsl                         78                   600          7
                                                                                           2007-04   L4/2.2L    Ex SS                                        75                      525         5
1996-94   V8/7.4L                                78                   600          7
                                                                                           2007      V6/3.5L                                                 34                      690         9
1995-94   V6/4.3L                                78                   600          7
                                                                                           2007      V6/3.5L    Ex SS                                        75                      690
1995-94   V8/5.0L                                78                   600          7
                                                                                           2007      V6/3.9L    Ex SS                                        75                      690
1995-94   V8/5.7L                                78                   600          7
                                                                                           2006-04   V6/3.5L                                                 75                      525         5
1995-94   V8/6.5L    Dsl                         78                   600          7
                                                                                           2006      V6/3.5L                                                 34                      600         9
1993-91   V6/4.3L                                78                   630          7
                                                                                           2006      V6/3.9L                                                 34                      750         9
1993-91   V8/5.0L                                78                   630          7
                                                                                           2006      V6/3.9L                                                 75                      590         5
1993-91   V8/5.7L                                78                   630          7
                                                                                           2005-04   V6/3.8L                                                 78                      770         7
1993-90   V8/6.2L    Dsl                         78                   540          7
                                                                                           2005-00   V6/3.4L                                                 78                      600         7
1993-90   V8/7.4L                                78                   630          7
                                                                                           2003-98   V6/3.8L                                                 78                      600         7
1990      V6/4.3L                                75                   525          5
                                                                                           2003-97   V6/3.1L    Ex SS                                        75                      600         5
1990      V8/5.0L                                75                   525          5
                                                                                           2000      V6/3.4L    Opt                                          78                      690         7
1990      V8/5.7L                                75                   525          5
                                                                                           2000      V6/3.8L    Opt                                          78                      690         7
Chevrolet HHR                                                                              1999-97   L4/2.4L    Ex SS                                        75                      600         5
2011-06 L4/2.2L                                  90 50                600         37       1999-97   V6/3.1L    Ex SS                                        75                      600         5
2011-06 L4/2.4L                                  90 50                600         37       1999-96   V6/3.1L                                                 78                      600         7
2010-08 L4/2.0L                                  90 50                600         37       1997-96   V6/3.4L                                                 78                      600         7
Chevrolet Impala (See Caprice, Impala)                                                     1995      V6/3.1L                                                 75                      525         5
Chevrolet Impala Limited                                                                   1995      V6/3.1L    HD, SEO                                      75                      690
2016      V6/3.6L    Ex PPkg Version             34                   600          9       1995      V6/3.4L                                                 75                      690
2016      V6/3.6L    PPkg Version                34                   720          9       1988-86   V8/5.0L                                                 70                      525         5
2015      V6/3.6L    Ex PPkg                     34                   600          9       1988-86   V8/5.0L    Opt                                          75                      570         5
2015      V6/3.6L    PPkg                        34                   720          9       1988-85   V6/4.3L                                                 75                      630         5
2014      V6/3.6L    Ex PPkg                     34                   600          9       1987-86   V6/3.8L    Opt                                          75                      630         5
2014      V6/3.6L    PPkg                        34                   720          9       1987      V6/3.8L                                                 75                      525         5
                                                                                           1986-85   V6/3.8L                                                 75                      500         5
Chevrolet K Series Pickup (See C/K, R/V Pickups)                                           1985-84   V8/5.0L                                                 75                      500         5
Chevrolet LLV                                                                              1985-84   V8/5.0L    Opt                                          75                      630         5
1995-94 L4/2.2L                                  75                   525          5       1985-83   V6/3.8L    Opt                                          78                      550         7
1995-94 L4/2.2L      Opt                         78                   690          7       1984-83   V6/3.8L    229 cid, HD                                  75                      500         5
1993-92 L4/2.5L                                  75                   525          5       1984-83   V8/5.7L    Dsl, HD                                      78                      550         7
                                                                                                                                           See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                               33
                                                                                      Original                                                                                   Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                    Options      BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                            (notes)                    Code
                                                                                     CCA/Rating                                                                                 CCA/Rating
    Chevrolet Malibu, Monte Carlo (continued)                                                               Chevrolet Prizm
    1984-81      V6/3.8L                                          70                   315          5       2002-98 L4/1.8L                                 35                    310          3
    1984         V6/3.8L        229 cid                           70                   405          5       Chevrolet R Series Pickup (See C/K, R/V Pickups)
    1984         V8/5.7L        Dsl                               70                   405          5
                                                                                                            Chevrolet Silverado (1500, 2500, 3500)
    1983-82      V6/4.3L        Dsl                               75                   500          5
    1983-81      V6/3.8L                                          70                   315          5       2017-16   V8/5.3L                               94R                   720         30
    1983         V6/3.8L        229 cid                           70                   355          5       2017-16   V8/6.2L                               94R                   720         30
    1983         V6/3.8L        229 cid, HD                       75                   500          5       2017-16   V8/6.6L    Dsl                        48 2                  730         29
    1983         V6/3.8L        Opt                               78                   550          7       2017      V6/4.3L                               48                    730         29
    1983         V6/4.3L        Dsl, HD                           78                   550          7       2017      V8/6.0L                               94R                   720         30
    1983         V8/5.0L                                          70                   405          5       2016      V6/4.3L                               48                    730         29
    1983         V8/5.0L        Opt                               75                   500          5       2016      V8/6.0L                               94R                   720         30
    1983         V8/5.7L        Dsl                               75                   500          5       2016      V8/6.6L    Dsl                        94R 2                 720         30
    1983         V8/5.7L        Dsl, HD                           78                   550          7       2015      V6/4.3L                               48                    730         29
    1982-81      V8/4.4L        Opt                               73                   465          5       2015      V8/5.3L                               94R                   720         30
    1982-81      V8/5.0L        Opt                               73                   465          5       2015      V8/6.0L                               94R                   720         30
    1982         V6/3.8L        229 cid                           70                   400          5       2015      V8/6.2L                               94R                   720         30
    1982         V6/4.3L        Dsl, HD                           73                   465          5       2015      V8/6.6L    Dsl                        48 2                  730         29
    1982         V8/4.4L                                          70                   315          5       2014-09   V6/4.3L    Opt                        48                    730         29
    1982         V8/5.0L                                          70                   315          5       2014-09   V8/5.3L    Opt                        48                    730         29
    1982         V8/5.7L        Dsl                               73 2                 465          5       2014-08   V8/6.6L    Dsl                        48 2                  730         29
    1982         V8/5.7L        Dsl, HD                           74 2                 550          7       2014      V6/4.3L                               48                    730         29
    1981         V6/3.8L        229 cid                           70                   370          5       2014      V6/4.3L                               94R                   720         30
    1981         V6/3.8L        HBL & AC                          71                   350          5       2014      V8/5.3L                               94R                   720         30
    1981         V6/3.8L        229 cid, HD                       73                   465          5       2014      V8/6.0L                               94R                   720         30
    1981         V6/3.8L        Opt                               74                   550          7       2014      V8/6.2L                               94R                   720         30
    1981         V8/4.4L                                          70                   370          5       2013-09   V6/4.3L                               48                    615         29
    1981         V8/5.0L                                          70                   370          5       2013-09   V8/4.8L                               48                    615         29
    1981         V8/5.7L                                          70                   370          5       2013-09   V8/4.8L    Opt                        48                    730         29
    1981         V8/5.7L        Opt                               73                   465          5       2013-09   V8/5.3L                               48                    615         29
    1980-79      V8/4.4L                                          71                   325          5       2013-09   V8/6.0L                               48                    615         29
    1980-79      V8/4.4L        Opt                               74                   450          7       2013-09   V8/6.0L    Opt                        48                    730         29
    1980-78      V6/3.8L                                          71                   325          5       2013-09   V8/6.2L                               48                    615         29
    1980-78      V6/3.8L        Opt                               74                   450          7       2013-09   V8/6.2L    Opt                        48                    730         29
    1980-76      V8/5.0L                                          71                   325          5       2010-09   V8/6.0L    HD, Hybrid                 48                    730         29
    1980-76      V8/5.0L        Opt                               74                   450          7       2008-07   V6/4.3L    From Late 2007             48                    615         29
    1980-73      V8/5.7L                                          71                   325          5       2008-07   V8/4.8L    From Late 2007             48                    615         29
    1980-73      V8/5.7L        Opt                               74                   450          7       2008-07   V8/5.3L    From Late 2007             48                    615         29
    1979-78      V6/3.3L                                          71                   325          5       2008-07   V8/6.0L    From Late 2007             48                    615         29
    1979-78      V6/3.3L        Opt                               74                   450          7       2007-06   V6/4.3L    Early 2007                 78                    600          7
    1977-73      L6/4.1L                                          71                   325          5       2007-06   V8/4.8L    Early 2007                 78                    600          7
    1977-73      L6/4.1L        Opt                               74                   450          7       2007-06   V8/5.3L    Early 2007                 78                    600          7
    1977-71      V8/5.7L                                          71                   325          5       2007-06   V8/6.0L    Early 2007                 78                    600          7
    1977-71      V8/5.7L        Opt                               74                   450          7       2007-03   V8/6.6L    Dsl                        78                    770          7
    1976-71      V8/6.6L                                          71                   325          5       2006-03   V8/6.6L    Dsl                        78                    770          7
    1976-71      V8/6.6L        Opt                               74                   450          7       2006      V8/6.0L    Early 2007                 78                    600          7
    1975-71      V8/7.4L                                          71                   325          5       2006      V8/8.1L    Early 2007                 78                    600          7
    1975-71      V8/7.4L        Opt                               74                   450          7       2005-99   V6/4.3L                               78                    600          7
    1970         V8/5.7L                                          24                   325         22       2005-99   V6/4.3L    Opt                        78                    770          7
    1970         V8/6.6L                                          24                   325         22       2005-99   V8/4.8L                               78                    600          7
    1970         V8/7.4L                                          74                   450          7       2005-99   V8/4.8L    Opt                        78                    770          7
    1967-65      V8/6.5L                                          24                   325         22       2005-04   V8/5.3L                               78                    600          7
    Chevrolet Metro                                                                                         2005-04   V8/5.3L    Opt                        78                    770          7
    2001-98 L4/1.3L                                               26R                  390         38       2005-01   V8/6.0L                               78                    600          7
    2000-98 L3/1.0L                                               26R                  390         38       2005-01   V8/6.0L    Opt                        78                    770          7
    1992    L4/1.3L                                               26                   440                  2005-01   V8/8.1L                               78                    600          7
                                                                                                            2005-01   V8/8.1L    Opt                        78                    770          7
    Chevrolet Monte Carlo (See Malibu, Monte Carlo)
                                                                                                            2004-01   V8/6.0L                               78                    600          7
    Chevrolet Optra                                                                                         2004-01   V8/6.0L    Opt                        78                    770          7
    2007-04 L4/2.0L                                               86                   640                  2003-99   V8/5.3L                               78                    600          7
    Chevrolet Orlando                                                                                       2003-99   V8/5.3L    Opt                        78                    770          7
    2014-12 L4/2.4L                                               48                   615         29       2003-01   V8/6.0L                               78                    600          7
    Chevrolet P30                                                                                           2003-01   V8/6.0L    Opt                        78                    770          7
    1999-94 V8/6.5L Dsl                                           78                   600          7       2002-01   V8/6.6L    Dsl                        78                    600          7
    1999-91 V6/4.3L                                               78                   600          7       2002-01   V8/6.6L    Dsl, HD                    78                    770          7
    1999-91 V8/5.7L                                               78                   600          7       2000-99   V8/5.3L                               78                    600          7
    1999-90 V8/7.4L                                               78                   600          7       2000-99   V8/5.3L    Opt                        78                    770          7
    1993-90 V8/6.2L Dsl                                           78                   600          7       2000-99   V8/6.0L                               78                    600          7
    1991-90 L4/3.9L                                               75                   425          5       2000-99   V8/6.0L    Opt                        78                    770          7
    1991-90 L4/3.9L Opt                                           78                   630          7       Chevrolet Silverado 2500 HD Classic
    1990        V6/4.3L                                           75                   525          5       2007      V8/8.1L    Late                       48                    615         29
    1990        V8/5.7L                                           75                   525          5       2007      V8/8.1L    Early                      78                    600          7
    See page 88 for Footnotes. Selection may vary by warehouse.

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34                                                                                               Automotive/Light Truck
                                                                Original                                                                                                    Original
  Year      Engine                Options     BCI Group Size   Equipment    Fitment     Year      Engine                   Options                       BCI Group Size    Equipment    Fitment
                                                  (notes)                    Code                                                                            (notes)                     Code
                                                               CCA/Rating                                                                                                  CCA/Rating
Chevrolet Silverado 3500 Classic                                                      Chevrolet Tahoe
2007      V8/6.0L    Late                   48                   615         29       2017      V8/5.3L                                                94R                    720         30
2007      V8/6.0L    Early                  78                   600          7       2016      V8/5.3L                                                94R                    720         30
2007      V8/6.6L    Dsl                    78 2                 770          7       2015      V8/5.3L                                                48                     660         29
2007      V8/8.1L    Late                   48                   615         29       2015      V8/5.3L    Opt                                         48                     730         29
2007      V8/8.1L    Early                  78                   600          7       2015      V8/5.3L                                                94R                    720         30
Chevrolet Sonic                                                                       2014-12   V8/5.3L                                                48                     660         29
2017      L4/1.4L                           47                   525         28       2014-09   V8/5.3L    Opt                                         48                     730         29
2017      L4/1.8L                           47                   525         28       2013-12   V8/6.0L    Hybrid                                      48                     660         29
2016      L4/1.4L                           47                   525         28       2013-11   V8/6.0L    Hybrid, Opt                                 48                     730         29
2016      L4/1.8L                           47                   525         28       2011-08   V8/6.0L    Hybrid                                      48                     615         29
2015      L4/1.4L                           47                   525         28       2011-07   V8/5.3L                                                48                     615         29
2015      L4/1.8L                           47                   525         28       2010-09   V8/6.0L    Hybrid Option                               48                     730         29
2014-12   L4/1.4L                           47                   525         28       2009-08   V8/6.2L                                                48                     615         29
2014-12   L4/1.8L                           47                   525         28       2009-08   V8/6.2L    Opt                                         48                     730         29
                                                                                      2009-07   V8/4.8L                                                48                     615         29
Chevrolet Spark
                                                                                      2009      V8/4.8L    Opt                                         48                     730         29
2017-16 L4/1.4L                             140R                 410
                                                                                      2006-00   V8/4.8L                                                78                     600         7
2015    L4/1.2L                             140R                 410
                                                                                      2006-00   V8/5.3L                                                78                     600         7
2014-13 L4/1.2L                             140R 45              410
                                                                                      2005-03   V8/4.8L    Opt                                         78                     770         7
Chevrolet Spark EV                                                                    2005-03   V8/5.3L    Opt                                         78                     770         7
                                                   33
2016                 Electric               140R                 520                  2002-00   V8/4.8L    Opt                                         78                     690         7
2015                 Electric               140R 33              520                  2001-00   V8/5.3L    Opt                                         78                     690         7
2014                 Electric               140R 33              520                  2000-99   V8/5.7L    Opt                                         78                     690         7
Chevrolet Sprint                                                                      2000-95   V8/5.7L                                                78                     600         7
1991-90 L3/1.0L                             45                   400         20       1999      V8/5.7L    HD, PPkg                                    78                     770         7
Chevrolet SS                                                                          1999      V8/6.5L    Dsl                                         78                     690         7
2017      V8/6.2L                           48 33, 50            730                  1998-97   V8/6.5L    Dsl                                         78                     600         7
2016      V8/6.2L                           48 33, 50            730                  1996-95   V8/6.5L    Dsl                                         78                     770         7
2015      V8/6.2L                           48 33, 50            730                  Chevrolet Tracker
2014      V8/6.2L                           48 33, 50            730                  2004-01   V6/2.5L                                                85                     600
Chevrolet S-Series: Blazer, Pickup                                                    2003      L4/2.0L                                                85                     600
2004-94   V6/4.3L    Opt                    75                   690                  2002-99   L4/1.6L                                                85                     550
2004-90   V6/4.3L                           75                   525          5       2002-99   L4/2.0L                                                85                     550
2003-94   L4/2.2L                           75                   525          5       1998      L4/1.6L                                                26R                    500         38
2003-94   L4/2.2L    Opt                    75                   690                  1991-90   L4/1.6L                                                26                     525
1994-90   V6/4.3L                           75                   525          5       Chevrolet TrailBlazer
1994      V6/4.3L    Opt                    75                   690                  2009-06 V8/6.0L                                                  78 40                  600         7
1993-90   L4/2.5L                           75                   525          5       2009-02 L6/4.2L                                                  78 40                  600         7
1993-90   L4/2.5L    Opt                    78                   630          7       2008-06 V8/5.3L                                                  78 40                  600         7
1993-90   V6/2.8L                           75                   525          5       Chevrolet TrailBlazer EXT
1993-90   V6/2.8L    Opt                    78                   630          7       2006-03 V8/5.3L                                                  78 40                  600         7
1993-90   V6/4.3L    Opt                    78                   630          7       2006-02 L6/4.2L                                                  78 40                  600         7
Chevrolet SSR                                                                         Chevrolet Traverse
2006-05 V8/6.0L                             78                   600          7       2017      V6/3.6L                                                48 50                  660         29
2004-03 V8/5.3L                             78                   600          7       2016      V6/3.6L                                                48 50                  660         29
Chevrolet Suburban                                                                    2015      V6/3.6L                                                48 50                  660         29
2017      V8/5.3L                           94R                  720         30       2014-10   V6/3.6L                                                48 50                  660         29
2016      V8/5.3L                           94R                  720         30       2009      V6/3.6L                                                48 50                  730         29
2015      V8/5.3L                           94R                  720         30       Chevrolet Trax
2014-12   V8/5.3L                           48                   660         29       2017-15 L4/1.4L                                                  47                     525         28
2014-09   V8/5.3L    Opt                    48                   730         29       2014-13 L4/1.4L                                                  47                     525         28
2013-12   V8/6.0L                           48                   660         29       Chevrolet Uplander
2013-09   V8/6.0L    Opt                    48                   730         29
                                                                                      2009-06 V6/3.9L                                                  34                     600         9
2011-07   V8/5.3L                           48                   615         29
                                                                                      2006-05 V6/3.5L                                                  34                     600         9
2011-07   V8/6.0L                           48                   615         29
2009-07   V8/6.0L                           48                   615         29       Chevrolet V Series Pickup (See C/K, R/V Pickups)
2009      V8/6.0L    Opt                    48                   730         29       Chevrolet Volt
2006-01   V8/8.1L                           78                   600          7       2017-16   L4/1.5L    Hybrid                                      47 33, 50              600
2006-00   V8/5.3L                           78                   600          7       2016      L4/1.5L    Hybrid                                      47 33, 50              630
2006-00   V8/6.0L                           78                   600          7       2015-11   L4/1.4L    Hybrid                                      47 33, 50              600
2006      V8/6.0L    Opt                    78                   690          7       2015      L4/1.4L    Hybrid                                      47 33, 50              630
2005-03   V8/5.3L    Opt                    78                   770          7       2014-11   L4/1.4L    Hybrid                                      47 33, 50              630
2005-03   V8/6.0L    Opt                    78                   770          7       Chrysler 200
2005-03   V8/8.1L    Opt                    78                   770          7       2017      L4/2.4L                                                48                      600        29
2002-01   V8/8.1L    Opt                    78                   690          7       2017      L4/2.4L    Opt                                         94R                     730        30
2002-00   V8/5.3L    Opt                    78                   690          7       2017      V6/3.6L                                                48                      600        29
2002-00   V8/6.0L    Opt                    78                   690          7       2017      V6/3.6L    Opt                                         94R                     730        30
2000      V8/5.3L    HD or PPkg             78                   770          7       2016      L4/2.4L                                                48                      600        29
2000      V8/6.0L    HD or PPkg             78                   770          7       2016      L4/2.4L    Opt                                         94R                     730        30
Chevrolet Suburban 3500 HD                                                            2016      V6/3.6L                                                48                      600        29
2017-16 V8/6.0L                             94R                  720         30       2016      V6/3.6L    Opt                                         94R                     730        30
                                                                                                                                     See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                                  35
                                                                                      Original                                                                                      Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                 Options            BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                               (notes)                    Code
                                                                                     CCA/Rating                                                                                    CCA/Rating
    Chrysler 200 (continued)                                                                                Chrysler LeBaron
    2015         L4/2.4L                                          48                   600         29       1995-92   V6/3.0L                                   34                   500          9
    2015         L4/2.4L        Opt                               94R                  730         30       1994-92   L4/2.5L                                   34                   600          9
    2015         V6/3.6L                                          48                   600         29       1991      L4/2.5L    Coupe/Conv, Turbo              34                   500          9
    2015         V6/3.6L        Opt                               94R                  730         30       1991      L4/2.5L    Coupe/Conv, Ex Turbo           34                   625          9
    2014-11      L4/2.4L                                          86                   525         31       1991      L4/2.5L    Sedan                          34                   625          9
    2014-11      V6/3.6L                                          86                   525         31       1991      V6/3.0L    Coupe/Conv                     34                   625          9
    Chrysler 300                                                                                            1991      V6/3.0L    Sedan                          34                   625          9
    2017         V6/3.6L                                          94R 50               730         30       1990      L4/2.2L                                   34                   500          9
    2017         V8/5.7L                                          94R 50               730         30       1990      L4/2.5L                                   34                   500          9
    2016         V6/3.6L                                          94R                  730         30       1990      V6/3.0L                                   34                   500          9
    2016         V8/5.7L                                          94R                  730         30       Chrysler Neon
    2015         V6/3.6L                                          94R 50               730         30       2002-00 L4/2.0L                                     26R                  450         38
    2015         V8/5.7L                                          94R 50               730         30       Chrysler New Yorker
    2014-12      V8/6.4L                                          94R 50               730         30       1996-95   V6/3.5L                                   34                   600          9
    2014-11      V6/3.6L                                          94R 50               730         30       1994      V6/3.5L                                   34                   500          9
    2014-11      V8/5.7L                                          94R 50               730         30       1993-91   V6/3.8L                                   34                   500          9
    2010-05      V6/2.7L                                          94R 50               730         30       1993-90   V6/3.3L                                   34                   500          9
    2010-05      V6/3.5L                                          94R 50               730         30
    2010-05      V8/5.7L                                          94R 50               730         30
                                                                                                            Chrysler Pacifica
    2010-05      V8/6.1L                                          94R 50               730         30       2017      V6/3.6L    Hybrid                         48 33                760
                                                                                                            2017      V6/3.6L    Gas                            94R                  750         30
    Chrysler 300M                                                                                           2017      V6/3.6L    US, Gas                        94R                  750         30
    2004-99 V6/3.5L                                               34                   600          9       2008-07   V6/3.8L                                   34                   600          9
    Chrysler Aspen                                                                                          2008-07   V6/4.0L                                   34                   600          9
    2009-08      V8/4.7L                                          65 57                750          4       2006-05   V6/3.5L                                   34                   600          9
    2009-08      V8/5.7L                                          65 57                750          4       2005      V6/3.8L                                   34                   600          9
    2007         V8/4.7L                                          65                   750          4       2004      V6/3.5L                                   34                   500          9
    2007         V8/5.7L                                          65                   750          4       Chrysler Prowler
    Chrysler Cirrus                                                                                         2002-01 V6/3.5L                                     34                   525          9
    2000-99      L4/2.4L                                          75                   510          5       Chrysler PT Cruiser
    2000-95      V6/2.5L                                          75                   510          5       2010-03 L4/2.4L                                     26R                  510         38
    2000         L4/2.0L                                          75                   510          5       2002-01 L4/2.4L                                     26R                  540         38
    1997-95      L4/2.4L                                          75                   510          5
                                                                                                            Chrysler Sebring
    Chrysler Concorde, Intrepid, LHS                                                                        2010-07   V6/3.5L    Top Terminal                   86                   525         31
    2004-98      V6/2.7L                                          34                   500          9       2010-01   L4/2.4L    w/side Terminals               75                   510          5
    2004-00      V6/3.5L                                          34                   600          9       2010-01   L4/2.4L    Top Terminal                   86                   525         31
    2001-98      V6/3.2L                                          34                   600          9
                                                                                                            2010-01   V6/2.7L    w/side Terminals               75                   510          5
    2001-00      V6/3.5L                                          34                   600          9
                                                                                                            2010-01   V6/2.7L    Top Terminal                   86                   525         31
    1999         V6/3.5L                                          34                   600          9
                                                                                                            2005-01   V6/3.0L    w/side Terminals               75                   510          5
    1997-95      V6/3.3L                                          34                   600          9
                                                                                                            2005-01   V6/3.0L    Top Terminal                   86                   525         31
    1997-95      V6/3.5L                                          34                   600          9
                                                                                                            2000-98   V6/2.5L    Top Terminal                   86                   525         31
    1996-95      V6/3.3L                                          34                   600          9
                                                                                                            2000-95   V6/2.5L    w/side Terminals               75                   510          5
    1994-93      V6/3.3L                                          34                   500          9
                                                                                                            1999-98   L4/2.0L    w/side Terminals               75                   510          5
    1994-93      V6/3.5L                                          34                   500          9
                                                                                                            1999-98   L4/2.0L    Top Terminal                   86                   525         31
    Chrysler Crossfire                                                                                      1998      L4/2.4L    Conv                           75                   510          5
    2008         V6/3.2L                                          48 50                700         29       1997-96   L4/2.0L    Ex Conv w/MT                   86                   430         31
    2007-06      V6/3.2L                                          48 50                640         29       1997-96   L4/2.4L    Conv                           75                   510          5
    2005         V6/3.2L                                          48 50                700         29       1997-95   L4/2.0L    Top Terminal, Ex Conv, Ex MT   86                   525         31
    2004         V6/3.2L                                          48 50                580         29       1997-95   V6/2.5L    Top Terminal, Ex Conv, Ex MT   86                   525         31
    Chrysler Daytona, Dynasty                                                                               Chrysler TC by Maserati
    1993-92      L4/2.2L                                          34                   600          9       1991-90 V6/3.0L                                     34                   500          9
    1993-92      L4/2.5L                                          34                   600          9       1990    L4/2.2L                                     34                   500          9
    1993-91      V6/3.3L                                          34                   500          9       Chrysler Town & Country
    1993-90      V6/3.0L                                          34                   500          9
                                                                                                            2016      V6/3.6L                                   94R                  730         30
    1991         L4/2.5L        Turbo                             34                   500          9
                                                                                                            2015      V6/3.6L                                   94R                  730         30
    1991         L4/2.5L                                          34                   625          9
                                                                                                            2014-12   V6/3.6L                                   94R                  730         30
    1991         L4/2.5L        Ex Turbo                          34                   625          9
                                                                                                            2011      V6/3.6L                                   94R                  700         30
    1991         V6/3.0L                                          34                   625          9
                                                                                                            2010      V6/3.3L                                   34                   600          9
    1990         L4/2.2L                                          34                   500          9
                                                                                                            2010      V6/3.8L                                   34                   600          9
    1990         L4/2.5L                                          34                   500          9
                                                                                                            2010      V6/4.0L                                   34                   600          9
    1990         V6/3.0L                                          34                   500          9
                                                                                                            2009-08   V6/3.3L                                   34 57                600          9
    1990         V6/3.3L                                          34                   600          9
                                                                                                            2009-08   V6/3.8L                                   34 57                600          9
    Chrysler Grand Voyager, Voyager                                                                         2009-08   V6/4.0L                                   34 57                600          9
    2003-01      V6/3.3L                                          34                   600          9       2007      V6/3.3L                                   34                   600          9
    2003-00      L4/2.4L                                          34                   600          9       2007      V6/3.8L                                   34                   600          9
    2000         V6/3.0L                                          34                   500          9       2006-96   V6/3.3L                                   34                   500          9
    2000         V6/3.3L                                          34                   500          9       2006-94   V6/3.8L    Opt                            34                   600          9
    2000         V6/3.3L        Opt                               34                   600          9       2006-04   V6/3.3L    Opt                            34                   600          9
    Chrysler Imperial                                                                                       2006-03   V6/3.8L                                   34                   500          9
    1993-91 V6/3.8L                                               34                   500          9       2002-96   V6/3.8L                                   34                   500          9
    1991-90 V6/3.3L                                               34                   500          9       1997      V6/3.8L                                   34                   600          9
    See page 88 for Footnotes. Selection may vary by warehouse.

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36                                                                                                     Automotive/Light Truck
                                                                      Original                                                                                              Original
  Year      Engine                     Options      BCI Group Size   Equipment    Fitment     Year      Engine             Options                       BCI Group Size    Equipment    Fitment
                                                        (notes)                    Code                                                                      (notes)                     Code
                                                                     CCA/Rating                                                                                            CCA/Rating
Chrysler Town & Country (continued)                                                         Dodge Caravan, Grand Caravan (continued)
1995-94 V6/3.8L                                   34                   500          9       2007      V6/3.8L                                          34                     600         9
1993-92 V6/3.3L                                   34                   500          9       2006-90   V6/3.3L                                          34                     500         9
1991-90 V6/3.3L                                   34                   625          9       2006-04   V6/3.8L    Opt                                   34                     600         9
Daewoo Lanos                                                                                2006-03   L4/2.4L                                          34                     500         9
2002-99 L4/1.5L                                   86 11                525         31       2006-03   L4/2.4L    Opt                                   34                     600         9
2002-99 L4/1.6L                                   86 11                525         31       2006-03   V6/3.8L                                          34                     500         9
                                                                                            2006-01   V6/3.3L    Opt                                   34                     600         9
Daewoo Leganza
                                                       11
                                                                                            2002-96   L4/2.4L                                          34                     600         9
2002-01 L4/2.2L                                   86                   620
                                                                                            2002-94   V6/3.8L                                          34                     600         9
2000-99 L4/2.2L                                   86 11                630
                                                                                            2000-91   V6/3.0L                                          34                     500         9
Daewoo Nubira                                                                               1999-96   L4/2.4L    Opt                                   34                     685         9
2002-01 L4/2.0L                                   86 11                620                  1999-96   V6/3.8L                                          34                     600         9
2000-99 L4/2.0L                                   86 11                630                  1999-94   V6/3.8L    Opt                                   34                     685         9
Daihatsu                                                                                    1999-92   V6/3.0L    Opt                                   34                     685         9
1992-90 L3/1.0L      Charade                      26R                  500         38       1999-92   V6/3.3L    Opt                                   34                     685         9
1992-90 L4/1.3L      Charade                      26R                  500         38       1997-96   L4/2.4L                                          34                     600         9
1992-90 L4/1.6L      Rocky                        26                   500                  1997-96   L4/2.4L    Opt                                   34                     685         9
Dodge 2000 GTX                                                                              1995-92   L4/2.5L                                          34                     600         9
1990      L4/2.0L                                 24                   500         22       1995-92   L4/2.5L    Opt                                   34                     685         9
                                                                                            1991-90   L4/2.5L                                          34                     500         9
Dodge Avenger                                                                               1991      V6/3.3L    Opt                                   34                     625         9
2014-11   V6/3.6L                                 86                   525         31       1990      L4/2.5L    Opt                                   34                     625         9
2014-08   L4/2.4L                                 86                   525         31       1990      V6/3.0L                                          34                     500         9
2010-08   V6/2.7L                                 86                   525         31       1990      V6/3.0L    Opt                                   34                     625         9
2010-08   V6/3.5L                                 86                   525         31       1990      V6/3.3L    Opt                                   34                     625         9
2000-95   V6/2.5L                                 86                   525         31
1999-95   L4/2.0L                                 86                   525         31
                                                                                            Dodge Challenger
1997-95   L4/2.0L    MT                           86                   430         31       2017      V6/3.6L                                          94R 50                 730         30
                                                                                            2017      V8/5.7L                                          94R 50                 730         30
Dodge B-Series Vans (150, 250, 350, 1500, 3500)                                             2017      V8/6.2L                                          94R 50                 730         30
1998-95   V6/3.9L    Ex T-Series                  27                   600         35       2017      V8/6.4L                                          94R 50                 730         30
1998-95   V6/3.9L    HD, Ex T-Series              27                   750         35       2016      V6/3.6L                                          94R                    730         30
1998-95   V8/5.2L    Ex T-Series                  27                   600         35       2016      V8/5.7L                                          94R                    730         30
1998-95   V8/5.2L    HD, Ex T-Series              27                   750         35       2016      V8/6.2L                                          94R                    730         30
1998-95   V8/5.9L    Ex T-Series                  27                   600         35       2016      V8/6.4L                                          94R                    730         30
1998-95   V8/5.9L    HD, Ex T-Series              27                   750         35       2015      V6/3.6L                                          94R 50                 730         30
1997-95   V6/3.9L    Ex T-Series                  27                   600         35       2015      V8/5.7L                                          94R 50                 730         30
1997-95   V6/3.9L    HD, Ex T-Series              27                   750         35       2015      V8/6.2L                                          94R 50                 730         30
1995      V6/3.9L    T-Series                     27 16                810                  2015      V8/6.4L                                          94R 50                 730         30
1995      V8/5.2L    T-Series                     27 16                810                  2014-11   V6/3.6L                                          94R 50                 730         30
1995      V8/5.9L    T-Series                     27 16                810                  2014-11   V8/6.4L                                          94R 50                 730         30
1994-92   V6/3.9L    Ex T-Series                  27                   600         35       2014-09   V8/5.7L                                          94R 50                 730         30
1994-92   V6/3.9L    HD, Ex T-Series              27                   750         35       2010-09   V6/3.5L                                          94R 50                 730         30
1994-92   V8/5.2L    Ex T-Series                  27                   600         35       2010-08   V8/6.1L                                          94R 50                 730         30
1994-92   V8/5.2L    HD, Ex T-Series              27                   750         35       1974-72   V8/6.6L                                          27                     350         35
1994-92   V8/5.9L    Ex T-Series                  27                   600         35       1974-71   V8/5.9L                                          27                     350         35
1994-92   V8/5.9L    HD, Ex T-Series              27                   750         35       1974-70   V8/5.2L                                          27                     350         35
1994-90   V6/3.9L    T-Series                     27 16                810                  1973-70   V8/5.6L                                          27                     350         35
1994-90   V8/5.2L    T-Series                     27 16                810                  1972-70   L6/3.7L                                          27                     350         35
1994-90   V8/5.9L    T-Series                     27 16                810                  1972-70   V8/7.2L                                          27                     350         35
1991-90   V6/3.9L                                 34                   600          9       1971-70   L6/3.2L                                          27                     350         35
1991-90   V6/3.9L    Opt                          34                   685          9       1971-70   V8/6.3L                                          27                     350         35
1991-90   V8/5.2L                                 34                   600          9       1971-70   V8/7.0L                                          27                     350         35
1991-90   V8/5.2L    Opt                          34                   685          9
                                                                                            Dodge Charger
1991-90   V8/5.9L                                 34                   685          9
                                                                                            2017      V6/3.6L                                          49 50                   800
Dodge Caliber                                                                               2017      V8/5.7L                                          49 50                   800
2012-07 L4/2.0L                                   86                   525         31       2017      V8/6.2L                                          49 50                   800
2011-07 L4/2.4L                                   86                   525         31       2017      V8/6.4L                                          49 50                   800
2009-07 L4/1.8L                                   86                   525         31       2016-15   V8/6.2L                                          94R 50                  730        30
Dodge Caravan, Grand Caravan                                                                2016      V6/3.6L    PPkg                                  49 50                   800
2017      V6/3.6L                                 94R                  730         30       2016      V6/3.6L                                          94R                     730        30
2016      V6/3.6L                                 94R                  730         30       2016      V8/5.7L    PPkg                                  49 50                   800
2015      V6/3.6L                                 94R                  730         30       2016      V8/5.7L                                          94R                     730        30
2014-12   V6/3.6L                                 94R                  730         30       2016      V8/6.4L    PPkg                                  49 50                   800
2011      V6/3.6L                                 94R                  700         30       2016      V8/6.4L                                          94R                     730        30
2010      V6/3.3L                                 34                   600         9        2015      V6/3.6L    PPkg                                  49 50                   800
2010      V6/3.8L                                 34                   600         9        2015      V6/3.6L    Ex PPkg                               94R 50                  730        30
2010      V6/4.0L                                 34                   600         9        2015      V8/5.7L    PPkg                                  49 50                   800
2009-08   V6/3.3L                                 34 57                600          9       2015      V8/5.7L    Ex PPkg                               94R 50                  730        30
2009-08   V6/3.8L                                 34 57                600          9       2015      V8/6.4L    PPkg                                  49 50                   800
2009-08   V6/4.0L                                 34 57                600          9       2015      V8/6.4L    Ex PPkg                               94R 50                  730        30
2007      L4/2.4L                                 34                   600         9        2014-12   V8/6.4L    Ex PPkg                               94R 50                  730        30
2007      V6/3.3L                                 34                   600         9        2014-11   V6/3.6L    PPkg                                  49 50                   800
                                                                                                                                     See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                   Costco_001493
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                                                                                 Dodge
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    Automotive/Light Truck                                                                                                                                                               37
                                                                                      Original                                                                                   Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                     Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                            (notes)                    Code
                                                                                     CCA/Rating                                                                                 CCA/Rating
    Dodge Charger (continued)                                                                               Dodge Dakota (continued)
    2014-11      V6/3.6L        Ex PPkg                           94R 50               730         30       2009-08   V6/3.7L                                65 57                600          4
    2014-11      V8/5.7L        PPkg                              49 50                800                  2009-08   V8/4.7L                                65 57                600          4
    2014-06      V8/5.7L        Ex PPkg                           94R 50               730         30       2009      V6/3.7L    Opt                         65 57                750          4
    2014         V8/6.4L        PPkg Version                      49 50                800                  2009      V8/4.7L    Opt                         65 57                750          4
    2013-12      V8/6.4L        PPkg                              49 50                800                  2007-06   V6/3.7L                                65                   600          4
    2010-09      V6/3.5L        PPkg                              49 50                800                  2007-06   V8/4.7L                                65                   600          4
    2010-06      V6/2.7L        Ex PPkg                           94R 50               730         30       2006      V6/3.7L    Opt                         65                   650          4
    2010-06      V6/3.5L        Ex PPkg                           94R 50               730         30       2006      V8/4.7L    Opt                         65                   650          4
    2010-06      V8/5.7L        PPkg                              49 50                850                  2005-04   V6/3.7L                                27                   600         35
    2010-06      V8/6.1L        Ex PPkg                           94R 50               730         30       2005-00   V8/4.7L                                27                   600         35
    2010         V8/6.1L        PPkg                              49 50                850                  2004-01   V8/4.7L    Opt                         27                   750         35
    2009         V8/5.7L        PPkg Version                      49 50, 57            800                  2003-98   V8/5.9L                                27                   600         35
    2009         V8/6.1L        PPkg                              49 50, 57            800                  2003-98   V8/5.9L    Opt                         27                   750         35
    2008-06      V6/3.5L        PPkg                              49 50                850                  2003-92   V6/3.9L                                27                   600         35
    2008-06      V8/6.1L        PPkg                              49 50                850                  2003-92   V6/3.9L    Opt                         27                   750         35
    1977-72      V8/6.6L                                          27                   350         35       2002-92   L4/2.5L                                27                   600         35
    1977-71      V8/5.9L                                          27                   350         35       1999-92   L4/2.5L    Opt                         27                   750         35
    1977-66      V8/5.2L                                          27                   350         35       1999-92   V8/5.2L                                27                   600         35
    1976         L6/3.7L                                          27                   350         35       1999-92   V8/5.2L    Opt                         27                   750         35
    1974-68      L6/3.7L                                          27                   350         35       1991-90   L4/2.5L                                34                   600          9
    1974-67      V8/7.2L                                          27                   350         35       1991-90   L4/2.5L    Opt                         34                   685          9
    1973-70      V8/5.6L                                          27                   350         35       1991-90   V6/3.9L                                34                   600          9
    1971-66      V8/6.3L                                          27                   350         35       1991-90   V6/3.9L    Opt                         34                   685          9
    1971-66      V8/7.0L                                          27                   350         35       1991-90   V8/5.2L                                34                   600          9
    1967         V8/4.5L                                          27                   350         35       1991-90   V8/5.2L    Opt                         34                   685          9
    Dodge Colt                                                                                              Dodge Dart
    1995-93      L4/1.5L        Can                               24                   580         22       2016-15   L4/1.4L                                47                   600
    1995-93      L4/1.5L        US                                51                   435         20       2016-14   L4/2.4L    w/AGM                       48 33, 50            600
    1994-93      L4/1.8L        Can                               24                   580         22       2016-13   L4/2.0L    Ex SE                       48                   600         29
    1994-93      L4/1.8L        US                                51                   435         20       2016      L4/2.0L                                47                   600
    1994-93      L4/2.4L        Can                               24                   580         22       2015      L4/2.0L    SE                          47                   600
    1994-93      L4/2.4L        US                                51                   435         20       2014-13   L4/1.4L                                48                   600         29
    1992-91      L4/1.5L        US                                25                   355          6       2014-13   L4/2.0L    SE                          47                   500         28
    1992-91      L4/1.5L        US, HD                            25                   430          6       2014      L4/1.4L                                47                   500         28
    1992         L4/1.5L        Can, Ex Wagon                     25                   420          6       2014      L4/1.4L                                47                   600
    1992         L4/1.8L        US                                25                   355          6       2014      L4/2.0L                                47                   500         28
    1992         L4/1.8L        Can, Ex Wagon                     25                   420          6       2014      L4/2.0L    SE                          47                   600
    1992         L4/1.8L        US, HD                            25                   430          6       2013      L4/2.4L                                48                   600         29
    1991-90      L4/1.5L        Can                               25                   420          6       Dodge Daytona
    1991-90      L4/2.0L        Can                               25                   420          6       1993-92   L4/2.2L                                34                   600          9
    1991         L4/2.0L        US                                51                   435         20       1993-92   L4/2.5L                                34                   600          9
    1990         L4/1.5L        Ex Wagon                          25                   355          6       1993-90   V6/3.0L                                34                   500          9
    1990         L4/1.5L                                          51                   435         20       1991      L4/2.5L    Turbo                       34                   500          9
    1990         L4/1.5L        Wagon                             51                   435         20       1991      L4/2.5L    Ex Turbo                    34                   625          9
    1990         L4/1.6L        Can                               25                   420          6       1990      L4/2.2L                                34                   500          9
    1990         L4/1.6L                                          51                   435         20       1990      L4/2.5L                                34                   500          9
    1990         L4/1.8L                                          25                   355          6
                                                                                                            Dodge Durango
    1990         L4/1.8L        Wagon                             51                   435         20
                                                                                                            2017-16   V6/3.6L    w/o Start/Stop              94R 33, 50           800
    1990         L4/2.0L        Wagon, US                         51                   435         20
                                                                                                            2017      V6/3.6L    w/Start/Stop                48 33, 50            760
    Dodge D/W Series Pickups (150, 250, 350)                                                                2017      V8/5.7L                                49 33, 50            800
    1993-92      L6/5.9L                                          27                   600         35       2016      V6/3.6L    with Stop/Start             48 33, 50            760
    1993-92      L6/5.9L        Opt                               27                   810         35       2016      V6/3.6L                                94R 33, 50           730
    1993-92      V6/3.9L                                          27                   600         35       2016      V8/5.7L                                49 33, 50            800
    1993-92      V6/3.9L        Opt                               27                   810         35       2015      V6/3.6L                                94R 33, 50           730
    1993-92      V8/5.2L                                          27                   600         35       2015      V8/5.7L                                49 33, 50            800
    1993-92      V8/5.2L        Opt                               27                   810         35       2014      V6/3.6L                                94R 33, 50           730
    1993-92      V8/5.9L                                          27                   600         35       2014      V8/5.7L                                49 33                800
    1993-92      V8/5.9L        Opt                               27                   810         35       2013-11   V6/3.6L                                94R 33, 50           700
    1993-90      L6/5.9L        Dsl                               30H 2                1025                 2013-11   V8/5.7L                                94R 33, 50           700
    1991-90      L6/5.9L                                          34                   600          9       2009      V6/3.7L                                65 57                750          4
    1991-90      L6/5.9L        Opt                               34                   685          9       2009      V8/4.7L                                65 57                750          4
    1991-90      V6/3.9L                                          34                   600          9       2009      V8/5.7L                                65 57                750          4
    1991-90      V6/3.9L        Opt                               34                   685          9       2009      V8/5.7L    Hybrid                      90 57                500         37
    1991-90      V8/5.2L                                          34                   600          9       2008      V6/3.7L                                65 57                600          4
    1991-90      V8/5.2L        Opt                               34                   685          9       2008      V8/4.7L                                65 57                600          4
    1991-90      V8/5.9L                                          34                   600          9       2008      V8/5.7L                                65 57                600          4
    1991-90      V8/5.9L        Opt                               34                   685          9       2007-04   V6/3.7L                                65                   600         4
    Dodge Dakota                                                                                            2007-04   V8/4.7L                                65                   600         4
    2010        V6/3.7L                                           65                   600          4       2007-04   V8/5.7L                                65                   600         4
    2010        V6/3.7L Opt                                       65                   750          4       2006-04   V6/3.7L    Opt                         65                   750         4
    2010        V8/4.7L                                           65                   600          4       2006      V8/4.7L    Opt                         65                   750         4
    2010        V8/4.7L Opt                                       65                   750          4       2006      V8/5.7L    Opt                         65                   750         4
    See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                    Costco_001494
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                                                929
38                                                                                                    Automotive/Light Truck
                                                                     Original                                                                                                   Original
  Year      Engine                  Options        BCI Group Size   Equipment    Fitment     Year      Engine                  Options                       BCI Group Size    Equipment    Fitment
                                                       (notes)                    Code                                                                           (notes)                     Code
                                                                    CCA/Rating                                                                                                 CCA/Rating
Dodge Durango (continued)                                                                  Dodge Ram Pickup (1500-3500) (continued)
2003-98   V8/5.9L                             27                      600         35       2009      V8/4.7L    US Production                              94R                    700         30
2003-98   V8/5.9L    Opt                      27                      750         35       2009      V8/5.7L    Mexico Production                          65 57                  700          4
2003-00   V8/4.7L                             27                      600         35       2009      V8/5.7L    US Production                              94R                    700         30
2003-00   V8/4.7L    Opt                      27                      750         35       2008      V6/3.7L                                               65 57                  600          4
2000-98   V8/5.2L                             27                      600         35       2008      V8/4.7L                                               65 57                  600          4
2000-98   V8/5.2L    Opt                      27                      750         35       2008      V8/5.7L    Mexico Production                          65 57                  650          4
1999-98   V6/3.9L                             27                      600         35       2008      V8/5.7L    HD, Mexico Production                      65 57                  750          4
1999-98   V6/3.9L    Opt                      27                      750         35       2008      V8/5.7L    US Production                              94R                    625         30
Dodge Dynasty                                                                              2008      V8/5.7L    HD, US Production                          94R                    730         30
1993-92   L4/2.5L                             34                      600          9       2007-06   V6/3.7L                                               65                     600         4
1993-90   V6/3.0L                             34                      500          9       2007-03   V8/5.7L                                               65                     600         4
1993-90   V6/3.3L                             34                      500          9       2007-03   V8/5.7L    Opt                                        65                     750         4
1991      L4/2.5L    Ex Turbo                 34                      625          9       2007-02   L6/5.9L    Dsl                                        65 2                   750          4
1990      L4/2.5L                             34                      500          9       2007      L6/6.7L    Dsl                                        65 2                   750          4
Dodge Grand Caravan (See Caravan, Grand Caravan)                                           2007      V8/4.7L                                               65                     750         4
                                                                                           2006-03   V6/3.7L    Opt                                        65                     750         4
Dodge Intrepid                                                                             2006-03   V8/4.7L    Opt                                        65                     750         4
2004-98   V6/2.7L                             34                      500          9       2006      V10/8.3L                                              65                     600         4
2004-00   V6/3.5L                             34                      600          9       2006      V10/8.3L   Opt                                        65                     750         4
2000-98   V6/3.2L                             34                      600          9       2006      V8/4.7L                                               65                     600         4
1997-95   V6/3.3L                             34                      600          9       2005-04   V10/8.3L                                              65                     750         4
1997-95   V6/3.5L                             34                      600          9       2005-04   V6/3.7L                                               65                     650         4
1994-93   V6/3.3L                             34                      500          9       2005      V8/4.7L                                               65                     650         4
1994-93   V6/3.5L                             34                      500          9       2004-03   V8/4.7L                                               65                     600         4
Dodge Journey                                                                              2003-94   V8/5.9L                                               27                     600         35
2017      L4/2.4L                             86                      525         31       2003-00   V8/5.9L    Opt                                        27                     750         35
2017      V6/3.6L                             86                      525         31       2003      V10/8.0L   Late 2002 on                               65                     750         4
2016      L4/2.4L                             86                      525         31       2003      V6/3.7L                                               65                     600         4
2016      V6/3.6L                             86                      525         31       2002-94   V8/5.9L                                               27                     600         35
2015      L4/2.4L                             86                      525         31       2002-01   V10/8.0L   Early 2002                                 27                     750         35
2015      V6/3.6L                             86                      525         31       2002-00   V8/5.9L    Opt                                        27                     750         35
2014-11   V6/3.6L                             86                      525         31       2002      L6/5.9L    Dsl, Early, 2500, 3500                     27 2                   750         35
2014-09   L4/2.4L                             86                      525         31       2002      L6/5.9L    Dsl, Late                                  65 2                   650          4
2010-09   V6/3.5L                             86                      525         31       2002      L6/5.9L    Dsl, Late 2002, 2500, 3500                 65 2                   750          4
Dodge Magnum                                                                               2002      V10/8.0L   Late 2002                                  65                     650         4
2008-06   V8/6.1L                             94R 50                  730         30       2002      V6/3.7L    Early or HD                                27                     750         35
2008-05   V6/2.7L                             94R 50                  730         30       2002      V6/3.7L    Late 2002                                  65                     650         4
2008-05   V6/3.5L                             94R 50                  730         30       2002      V8/4.7L    Late 2002, 2500, 3500                      27                     750         35
2008-05   V8/5.7L                             94R 50                  730         30       2002      V8/4.7L    Late 2002                                  65                     650         4
Dodge Monaco                                                                               2002      V8/5.9L    Early or HD                                27                     750         35
1992      V6/3.0L                             34                      600          9       2002      V8/5.9L    Late 2002                                  65                     650         4
1991      V6/3.0L                             34                      625          9       2001-97   L6/5.9L    Dsl or HD                                  27 2                   750         35
1990      V6/3.0L                             34                      500          9       2001-94   V6/3.9L                                               27                     600         35
                                                                                           2001-94   V6/3.9L    Opt                                        27                     750         35
Dodge Neon                                                                                 2001-94   V8/5.2L                                               27                     600         35
2005-03 L4/2.4L                               26R                     450         38       2001-94   V8/5.2L    Opt                                        27                     750         35
2005-00 L4/2.0L                               26R                     450         38       2001-00   L6/5.9L    Dsl                                        27 2                   750         35
1999-95 L4/2.0L                               58 35                   450          8       2000-94   V10/8.0L                                              27                     750         35
Dodge Nitro                                                                                1999-94   V8/5.9L    Opt                                        27                     750         35
2011-07 V6/3.7L                               34                      600          9       1996-94   L6/5.9L                                               27                     600         35
2011-07 V6/4.0L                               34                      600          9       1996-94   L6/5.9L    Dsl                                        27 2                   750         35
Dodge Omni                                                                                 1996-94   V8/5.2L                                               27                     600         35
1990      L4/2.2L                             34                      430          9       1996-94   V8/5.2L    Opt                                        27                     750         35
Dodge Ram 50                                                                               Dodge Ram Van (1500-3500)
1993-91   L4/2.4L    RWD, Can                 24                      490         22       2003-99   V6/3.9L                                               27                     600         35
1993-91   L4/2.4L    4WD                      51                      435         20       2003-99   V6/3.9L    Opt                                        27                     750         35
1993-91   L4/2.4L    RWD, US                  51                      435         20       2003-99   V8/5.2L                                               27                     600         35
1992-91   L4/2.4L    RWD, HD, Can             24                      580         22       2003-99   V8/5.2L    Opt                                        27                     750         35
1991-90   V6/3.0L                             24                      490         22       2003-99   V8/5.9L                                               27                     600         35
1991      V6/3.0L    Opt                      24                      580         22       2003-99   V8/5.9L    Opt                                        27                     750         35
1990      L4/2.4L    Can                      24                      580         22       2001      V6/3.9L                                               27                     600         35
1990      L4/2.4L    US                       51                      435         20       2001      V6/3.9L    Opt                                        27                     750         35
Dodge Ram Pickup (1500-3500)                                                               Dodge Ramcharger
2010      L6/6.7L    Dsl                      94R 2                   730         30       1993-92   V8/5.2L                                               27                      610        35
2010      V6/3.7L                             94R                     700         30       1993-92   V8/5.2L    Opt                                        27                      685        35
2010      V8/4.7L                             94R                     700         30       1993-92   V8/5.9L                                               27                      610        35
2010      V8/5.7L                             94R                     700         30       1993-92   V8/5.9L    Opt                                        27                      685        35
2009-08   L6/6.7L    Dsl                      65 2, 57                750          4       1991-90   V8/5.2L                                               34                      600         9
2009      V6/3.7L    Mexico Production        65 57                   700          4       1991-90   V8/5.2L    Opt                                        34                      685         9
2009      V6/3.7L    US Production            94R                     700         30       1991-90   V8/5.9L                                               34                      600         9
2009      V8/4.7L    Mexico Production        65 57                   700          4       1991-90   V8/5.9L    Opt                                        34                      685         9
                                                                                                                                         See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                 Ferrari
                                      929
    Automotive/Light Truck                                                                                                                                                            39
                                                                                      Original                                                                                Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                  Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                         (notes)                    Code
                                                                                     CCA/Rating                                                                              CCA/Rating
    Dodge Shadow                                                                                            Eagle Summit (continued)
    1994-92      L4/2.5L                                          34                   600          9       1992-90   L4/1.5L    Can                      25                   420          6
    1994-92      V6/3.0L                                          34                   500          9       1992      L4/1.5L    Wagon, Can               24                   580         22
    1994-90      L4/2.2L                                          34                   500          9       1992      L4/1.8L    Wagon, Can               24                   580         22
    1991         L4/2.5L                                          34                   625          9       1992      L4/1.8L    Can                      25                   420          6
    1990         L4/2.5L                                          34                   500          9       1992      L4/1.8L    Opt                      25                   430          6
    Dodge Spirit                                                                                            1992      L4/2.4L    Wagon, Can               24                   580         22
    1995-91      L4/2.5L                                          34                   600          9       1992      L4/2.4L    Ex Wagon                 25                   355          6
    1995-90      V6/3.0L                                          34                   500          9       1992      L4/2.4L    Can                      25                   420          6
    1992-91      L4/2.2L                                          34                   600          9       1992      L4/2.4L    Opt                      25                   430          6
    1990         L4/2.5L                                          34                   500          9       1990      L4/1.5L    US                       25                   355          6
                                                                                                            1990      L4/1.6L    Can                      25                   420          6
    Dodge Sprinter 2500                                                                                     1990      L4/1.6L    US                       51                   435         20
    2009-07 V6/3.0L             Dsl                               49 50                850
    2008-07 V6/3.5L                                               49 50                850
                                                                                                            Eagle Talon
    2006-03 L5/2.7L             Dsl                               49 50                850                  1998-95   L4/2.0L    MT                       86                   430         31
                                                                                                            1998-95   L4/2.0L    AT                       86                   525         31
    Dodge Sprinter 3500                                                                                     1998      L4/2.0L    Turbo                    86                   525         31
    2009-07 V6/3.0L             Dsl                               49 50                850                  1997-95   L4/2.0L    Turbo, AT                86                   525         31
    2008-07 V6/3.5L                                               49 50                850                  1994-93   L4/1.8L    Can, w/MT                86                   430         31
    2006-03 L5/2.7L             Dsl                               49 50                850                  1994-93   L4/1.8L    Can, w/AT                86                   525         31
    Dodge Stealth                                                                                           1994-90   L4/2.0L    US                       86                   430         31
    1996-94      V6/3.0L                                          25                   520          6       1994-90   L4/2.0L    Can or Turbo             86                   525         31
    1993-92      V6/3.0L                                          24                   490         22       1993      L4/1.8L    US                       86                   430         31
    1993-91      V6/3.0L        Opt                               24                   585         22       Eagle Vision
    1991         V6/3.0L        DOHC                              24                   490         22       1997-95   V6/3.3L                             34                   600          9
    1991         V6/3.0L        SOHC                              25                   420          6       1997-95   V6/3.5L                             34                   600          9
    Dodge Stratus                                                                                           1994-93   V6/3.3L                             34                   500          9
    2006-95      L4/2.4L        w/side Terminals                  75                   510          5       1994-93   V6/3.5L                             34                   500          9
    2006-03      V6/2.7L        w/side Terminals                  75                   510          5       Eagle Vista
    2006-01      L4/2.4L        Top Terminal                      86                   525         31       1992-90 L4/1.5L                               25                   420          6
    2006-01      V6/2.7L        Top Terminal                      86                   525         31       1991-90 L4/2.0L                               25                   420          6
    2005-01      V6/3.0L        w/side Terminals                  75                   510          5       Ferrari 348 GTB
    2005-01      V6/3.0L        Top Terminal                      86                   525         31
                                                                                                            1994-93 V8/3.4L                               34R                  N/A
    2002         V6/2.7L        Sedan                             86                   510         31
    2001         V6/2.7L        Sedan                             75                   510          5       Ferrari 348 GTS
    2000-95      L4/2.0L        Top Terminal                      86                   510         31       1994-93 V8/3.4L                               34R                  N/A
    2000-95      V6/2.5L        Top Terminal                      86                   510         31       Ferrari 348 Spider
    Dodge SX 2.0                                                                                            1995-93 V8/3.4L                               34R                  N/A
    2005-03 L4/2.0L                                               26R                  450         38       Ferrari 348 tb
    Dodge Viper                                                                                             1992-90 V8/3.4L                               34R                  N/A
    2017         V10/8.4L                                         90 50                590         37       Ferrari 348 ts
    2016-15      V10/8.4L                                         90 50                590         37       1992-90 V8/3.4L                               34R                  N/A
    2010-08      V10/8.4L                                         34 50                600                  Ferrari 360
    2006-03      V10/8.3L                                         34                   600          9       2005-00 V8/3.6L                               34R 50               570
    2002-97      V10/8.0L                                         78                   650          7       Ferrari 458 Italia
    1996-92      V10/8.0L                                         78                   770          7
                                                                                                            2015-13 V8/4.5L                               48 33, 50, 54        760
    1992         V10/8.0L                                         78                   650          7
                                                                                                            2012-10 V8/4.5L                               48 33, 50, 54        760
    Dodge Viper SRT                                                                                         Ferrari 458 Speciale
    2014-13 V10/8.4L                                              90                   590         37
                                                                                                            2015      V8/4.5L                             48 33, 50, 54        760
    Eagle 2000 GTX                                                                                          Ferrari 458 Spider
    1993-91 L4/2.0L                                               24                   500         22
                                                                                                            2015-12 V8/4.5L                               48 33, 50, 54        760
    Eagle Premier                                                                                           Ferrari 488 GTB
    1992    V6/3.0L                                               34                   600          9
                                                                                                            2017-16 V8/3.9L                               48 33, 50, 54        760
    1991-90 V6/3.0L                                               34                   500          9
                                                                                                            Ferrari 488 Spider
    Eagle Summit
                                                                                                            2017-16 V8/3.9L                               48 33, 50, 54        760
    1996-95      L4/1.5L                                          51                   435         20
    1996-95      L4/1.8L        Wagon                             25                   355          6       Ferrari 575M Maranello
    1996-95      L4/1.8L                                          51                   435         20       2005      V12/5.7L                            34R 54               680
    1996-95      L4/2.4L        Wagon                             24                   490         22       Ferrari 599 GTB
    1996-95      L4/2.4L                                          51                   435         20       2009-07 V12/6.0L                              34R 50, 54           800
    1994-93      L4/1.5L        Can                               24                   580         22       Ferrari 612 Scaglietti
    1994-93      L4/1.5L        US, Wagon                         25                   350          6       2010-05 V12/5.7L                              34R 6, 50, 54        850
    1994-93      L4/1.5L        Ex Wagon, US                      51                   435         20       Ferrari California
    1994-93      L4/1.8L        Can                               24                   580         22
                                                                                                            2014-13 V8/4.3L                               34R 50, 54           850
    1994-93      L4/1.8L        Ex Wagon, US                      51                   435         20
                                                                                                            2012    V8/4.3L                               34R 54               850
    1994-93      L4/2.4L        Can                               24                   580         22
                                                                                                            2011-09 V8/4.3L                               34R 50, 54           850
    1994-93      L4/2.4L        Ex Wagon, US                      51                   435         20
    1994-92      L4/1.8L        Wagon, US                         25                   350          6       Ferrari F430
    1994-92      L4/2.4L        Wagon, US                         24                   490         22       2009-06 V8/4.3L                               34R 50, 54           760
    1992-91      L4/1.5L        Ex Wagon                          25                   355          6       Ferrari Mondial t
    1992-91      L4/1.5L        Opt                               25                   430          6       1990      V8/3.4L                             34R                  700
    See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                 Costco_001496
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                                                929
40                                                                                                      Automotive/Light Truck
                                                                       Original                                                                                                      Original
  Year      Engine                 Options           BCI Group Size   Equipment    Fitment     Year      Engine                     Options                       BCI Group Size    Equipment    Fitment
                                                         (notes)                    Code                                                                              (notes)                     Code
                                                                      CCA/Rating                                                                                                    CCA/Rating
Ferrari Superamerica                                                                         Ford Escape
2005      V12/5.7L                                 34R 54               850                  2017-16   L4/2.5L                                                  96R                    590         32
Ferrari Testarossa                                                                           2017      L4/1.5L    w/Start/Stop, Intelligent access              48 33                  760
1990      H12/4.9L                                 91 45                700                  2017      L4/1.5L    w/o Start/Stop, Intelligent access            96R                    590         32
1990      H12/4.9L                                 T6 45                700                  2017      L4/2.0L    w/Start/Stop, Intelligent access              48 33                  760
Fiat 124 Spider                                                                              2017      L4/2.0L    w/o Start/Stop, Intelligent access            96R                    590         32
                                                                                             2016      L4/1.6L                                                  96R                    590         32
2017      L4/1.4L                                  48                   600         29
                                                                                             2016      L4/2.0L                                                  96R                    590         32
Fiat 500                                                                                     2015      L4/1.6L                                                  96R                    590         32
2016-15 L4/1.4L                                    47                   500         28       2015      L4/2.0L                                                  96R                    590         32
2014-12 L4/1.4L                                    47                   500         28       2015      L4/2.5L                                                  96R                    590         32
Fiat 500L                                                                                    2014-13   L4/1.6L                                                  96R                    500         32
2017-15 L4/1.4L                                    47                   500         28       2014-13   L4/1.6L    Opt                                           96R                    590         32
2014    L4/1.4L                                    47                   500         28       2014-13   L4/2.0L                                                  96R                    500         32
Fiat 500X                                                                                    2014-13   L4/2.0L    Opt                                           96R                    590         32
2016      L4/1.4L                                  47                   500         28       2014-13   L4/2.5L                                                  96R                    500         32
2016      L4/2.4L                                  48                   600         29       2014-13   L4/2.5L    Opt                                           96R                    590         32
Ford Aerostar                                                                                2012-11   L4/2.5L                                                  96R                    590         32
                                                                                             2012-11   V6/3.0L                                                  96R                    590         32
1997-90 V6/3.0L      From 10/1/1988                65                   650          4
                                                                                             2012-09   L4/2.5L    Hybrid                                        96R                    500         32
1997-90 V6/4.0L                                    65                   650          4
                                                                                             2010-09   L4/2.5L    Ex Hybrid                                     40R                    590         19
Ford Aspire                                                                                  2010      L4/2.5L    Gas                                           40R                    650
1997-94 L4/1.3L                                    35                   460          3       2010      L4/2.5L    Gas, Opt                                      96R                    590         32
Ford Bronco                                                                                  2010      V6/3.0L                                                  40R                    650
1996-90 V8/5.0L                                    65                   650          4       2010      V6/3.0L    Opt                                           96R                    590         32
1996-90 V8/5.8L                                    65                   650          4       2009-01   V6/3.0L                                                  40R                    590         19
1992-90 L6/4.9L                                    65                   650          4       2008-05   L4/2.3L    Ex Hybrid                                     40R                    590         19
Ford Bronco II                                                                               2008-05   L4/2.3L    Hybrid                                        96R                    500         32
1990      V6/2.9L                                  65                   650          4       2004-01   L4/2.0L                                                  96R                    500         32
Ford C-Max                                                                                   Ford Escort
2017      L4/2.0L    Hybrid                        67R 50               390                  2003-98   L4/2.0L                                                  58                     500         8
2016      L4/2.0L    Hybrid                        67R 50               390                  1997      L4/2.0L                                                  58                     540         8
2015      L4/2.0L    Hybrid                        67R 50               390                  1996-95   L4/1.8L                                                  35                     540         3
2014      L4/2.0L    Hybrid                        67R 50               390                  1996-91   L4/1.9L                                                  35                     460         3
2013      L4/2.0L    Hybrid                        67R                  390                  1994-91   L4/1.8L                                                  35                     460         3
2013      L4/2.0L    Hybrid, Opt                   67R                  390                  1990      L4/1.9L    w/CFI                                         58                     460         8
Ford Contour                                                                                 1990      L4/1.9L    HD or w/MFI                                   58                     540         8
2000-98   L4/2.0L                                  40R                  590         19       Ford E-Series Vans
2000-98   V6/2.5L                                  40R                  590         19       2017      V10/6.8L   Primary Battery                               65                      650         4
1997-95   L4/2.0L    Opt                           40R                  650                  2017      V10/6.8L   Aux Battery                                   65                      750         4
1997-95   L4/2.0L                                  96R                  590         32       2017      V8/6.2L    Primary Battery                               65                      650         4
1997-95   V6/2.5L                                  40R                  650                  2017      V8/6.2L    Aux Battery                                   65                      750         4
Ford Country Squire                                                                          2016      V10/6.8L   Primary Battery                               65                      650         4
                                                                                             2016      V10/6.8L   Aux Battery                                   65 31                   750
1991-90 V8/5.0L                                    58                   540          8
                                                                                             2016      V8/5.4L    Primary Battery                               65                      650         4
1991-90 V8/5.0L      Opt                           65                   650          4
                                                                                             2016      V8/5.4L    Aux Battery                                   65 31                   750
Ford Crown Victoria                                                                          2015      V10/6.8L   Primary Battery                               65                      650         4
2011-09   V8/4.6L    Opt                           65                   750          4       2015      V10/6.8L   Aux Battery                                   65 31                   750
2011-07   V8/4.6L                                  65                   650          4       2015      V8/5.4L    Primary Battery                               65                      650         4
2006-98   V8/4.6L    US                            65                   650          4       2015      V8/5.4L    Aux Battery                                   65 31                   750
2006-98   V8/4.6L    PPkg                          65                   750          4
                                                                                             2014-07   V10/6.8L   Aux Battery                                   65 31                   750
2006-92   V8/4.6L    Can & Opt                     65                   750          4
                                                                                             2014-07   V8/4.6L    Aux Battery                                   65 31                   750
1997-96   V8/4.6L    Natural Gas                   65                   850          4
                                                                                             2014-07   V8/5.4L    Aux Battery                                   65 31                   750
1997-92   V8/4.6L    w/HWS or PPkg                 65                   850          4
1997      V8/4.6L    US                            59                   540         34       2014-04   V10/6.8L                                                 65                      650         4
1996      V8/4.6L    Early                         58                   540          8       2014-03   V8/4.6L                                                  65                      650         4
1996      V8/4.6L    Late                          59                   540         34       2014-03   V8/5.4L                                                  65                      650         4
1995-92   V8/4.6L    US                            58                   540          8       2010-04   V8/6.0L    Dsl                                           65 2                    750         4
                                                                                             2008-07   V8/5.4L                                                  65 2                    650         4
Ford Edge
                                                                                             2006-04   V10/6.8L   Aux Battery                                   65 31                   625
2017-15   L4/2.0L    Start/Stop                    48 33                760
                                                                                             2006-04   V8/5.4L                                                  65                      650         4
2017-15   L4/2.0L                                  90                   590         37
                                                                                             2006-03   V8/4.6L    Aux Battery                                   65 31                   625
2017-15   V6/2.7L                                  90                   590         37
2017-15   V6/3.5L                                  90                   590         37       2006-03   V8/5.4L    Aux Battery                                   65 31                   625
2014-12   L4/2.0L    w/o Power Code Remote Start   59                   540         34       2005-04   V8/6.0L    Dsl                                           65 2                    750         4
2014-12   L4/2.0L    w/Power Code Remote Start     65                   650          4       2005-03   V8/4.6L    Aux Battery                                   65 31                   625
2014-11   V6/3.5L    w/o Power Code Remote Start   59                   540         34       2005-03   V8/4.6L                                                  65                      650         4
2014-11   V6/3.5L    w/Power Code Remote Start     65                   650          4       2005-03   V8/5.4L    Aux Battery                                   65 31                   625
2014-11   V6/3.7L    w/o Power Code Remote Start   59                   540         34       2005-03   V8/5.4L                                                  65                      650         4
2014-11   V6/3.7L    w/Power Code Remote Start     65                   650          4       2005      V10/6.8L   Aux Battery                                   65 31                   625
2010      V6/3.5L                                  36R                  650         18       2005      V10/6.8L                                                 65                      650         4
2009      V6/3.5L                                  36R                  540         18       2003-99   V10/6.8L   Aux Battery                                   65 31                   625
2009      V6/3.5L    Opt                           36R                  600         18       2003-99   V8/5.4L    Aux Battery                                   65 31                   625
2008      V6/3.5L                                  36R                  600         18       2003-99   V8/5.4L    Primary Battery                               65                      650         4
2007      V6/3.5L                                  36R                  580         18       2003-99   V8/7.3L    Dsl                                           65 2                    750         4
                                                                                                                                              See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                            Costco_001497
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                                      929
    Automotive/Light Truck                                                                                                                                                                     41
                                                                                      Original                                                                                         Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment      Year     Engine                   Options             BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                                  (notes)                    Code
                                                                                     CCA/Rating                                                                                       CCA/Rating
    Ford E-Series Vans (continued)                                                                          Ford Expedition (continued)
    2003         V10/6.8L       Aux Battery                       65 31                625                  2015      V6/3.5L                                      65                   650          4
    2003         V10/6.8L                                         65                   650          4       2015      V6/3.5L    Opt                               65                   750          4
    2003         V10/6.8L       Primary Battery                   65                   650          4       2014-97   V8/5.4L                                      65                   650          4
    2003         V6/4.2L        Aux Battery                       65 31                625                  2014-07   V8/5.4L    Opt                               65                   750          4
    2003         V6/4.2L                                          65                   650          4       2004-97   V8/4.6L                                      65                   650          4
    2003         V8/7.3L        Dsl                               65 2                 750          4       2001-97   V8/4.6L    Opt                               65                   750          4
    2002-99      V10/6.8L       Aux Battery                       65 31                650                  2001-97   V8/5.4L    Opt                               65                   750          4
    2002-99      V10/6.8L       Primary Battery                   65                   750          4       Ford Explorer
    2002-99      V8/5.4L        Opt                               65                   750          4
                                                                                                            2017-16   L4/2.3L    w/o Intelligent Access            59                   540         34
    2002-98      V8/5.4L        Aux Battery                       65 31                625
                                                                                                            2017-16   L4/2.3L    w/Intelligent Access              65                   650          4
    2002-97      V6/4.2L        Aux Battery                       65 31                625
                                                                                                            2017-16   V6/3.5L    w/o Intelligent Access            59                   540         34
    2002-97      V6/4.2L                                          65                   650          4
    2002-97      V6/4.2L        Opt                               65                   750          4       2017-16   V6/3.5L    w/Intelligent Access              65                   650          4
    2002-97      V8/4.6L        Aux Battery                       65 31                625                  2017      V6/3.5L    PPkg Version                      65                   750          4
    2002-97      V8/4.6L        Opt                               65                   750          4       2015-14   V6/3.5L    PPkg Version                      65                   750          4
    2002-97      V8/7.3L        Dsl                               65 2                 750          4       2015      L4/2.0L    w/o Intelligent Access            59                   540         34
    2002-00      V10/6.8L       Aux Battery                       65 31                625                  2015      L4/2.0L    w/Intelligent Access              65                   650          4
    2002-00      V10/6.8L                                         65                   750          4       2015      V6/3.5L    w/o Intelligent Access            59                   540         34
    2002-00      V8/5.4L                                          65                   650          4       2015      V6/3.5L    w/Intelligent Access              65                   650          4
    2002         V8/4.6L        Aux, HD                           65 31                650                  2014-11   V6/3.5L                                      65                   650          4
    2002         V8/5.4L                                          65 31                650          4       2014      L4/2.0L    w/o Power Code Remote Start       59                   540         34
    2002         V8/5.4L        Aux Battery                       65 31                650                  2014      L4/2.0L    w/Power Code Remote Start         65                   650          4
    2001-97      V8/4.6L        Primary Battery                   65                   650          4       2014      V6/3.5L    w/o Power Code Remote Start       59                   540         34
    1999-98      V8/5.4L        Aux Battery                       65                   625          4       2013-12   L4/2.0L                                      65                   650          4
    1999-98      V8/5.4L        Primary Battery                   65                   650          4       2010-91   V6/4.0L                                      65                   650          4
    1999         V10/6.8L       Primary Battery                   65                   750          4       2010-02   V8/4.6L                                      65                   650          4
    1998-97      V10/6.8L       Aux Battery                       65                   625          4       2006      V6/4.0L    Opt                               65                   750          4
    1998-97      V10/6.8L       Aux Battery                       65 31                625                  2006      V8/4.6L    Opt                               65                   750          4
    1998-97      V10/6.8L                                         65                   750          4       2001-96   V8/5.0L                                      65                   650          4
    1998-97      V8/7.3L        Dsl                               65 2                 750          4       Ford Explorer Sport Trac
    1998         V8/5.4L        Aux Battery                       65                   625          4       2010-07 V6/4.0L                                        65                   650          4
    1998         V8/5.4L        Aux Battery                       65 31                625                  2010-07 V8/4.6L                                        65                   650          4
    1998         V8/5.4L        Opt                               65                   750          4       2005-01 V6/4.0L                                        65                   650          4
    1997         V8/5.4L        Aux Battery                       65 31                625
    1997         V8/5.4L        Primary Battery                   65                   650          4
                                                                                                            Ford F-150
    1997         V8/5.4L        Opt                               65                   750          4       2017-16   V6/2.7L    Ex King Ranch, Lariat, Platinum   48 33                760
    1996-95      V8/5.0L                                          65                   650          4       2017-16   V6/3.5L    King Ranch, Lariat, Platinum      94R                  730         30
    1996-95      V8/5.0L        Primary Battery                   65                   650          4       2017-16   V8/5.0L    King Ranch, Lariat, Platinum      94R                  730         30
    1996-95      V8/5.0L                                          65                   850          4       2017      V6/2.7L    King Ranch, Lariat, Platinum      94R 33               800
    1996-95      V8/5.0L        Primary Battery                   65                   850          4       2017      V6/3.5L    Ex King Ranch, Lariat, Platinum   48                   610         29
    1996-92      L6/4.9L        Aux Battery                       50 31                500                  2017      V8/5.0L    Ex King Ranch, Lariat, Platinum   48                   610         29
    1996-92      L6/4.9L                                          65                   650          4       2016      V6/3.5L    Ex King Ranch, Lariat, Platinum   48                   610         29
    1996-92      L6/4.9L        Opt                               65                   850          4       2016      V8/5.0L    Ex King Ranch, Lariat, Platinum   48                   610         29
    1996-92      V8/5.0L        Aux Battery                       50 31                500                  2015      V6/2.7L    Ex King Ranch, Lariat, Platinum   48 33                760
    1996-92      V8/5.8L        Aux Battery                       50 31                500                  2015      V6/2.7L    King Ranch, Lariat, Platinum      94R 33               800
    1996-92      V8/5.8L                                          65                   650          4       2015      V6/3.5L    Ex King Ranch, Lariat, Platinum   48                   610         29
    1996-92      V8/5.8L        Opt                               65                   850          4       2015      V6/3.5L    King Ranch, Lariat, Platinum      94R                  730         30
    1996-92      V8/7.3L        Dsl, Rt Side                      50                   600                  2015      V8/5.0L    Ex King Ranch, Lariat, Platinum   48                   610         29
    1996-92      V8/7.3L        Dsl, Lft Side                     65                   850          4       2015      V8/5.0L    King Ranch, Lariat, Platinum      94R                  730         30
    1996-92      V8/7.5L        Aux Battery                       50 31                500                  2014-11   V6/3.5L                                      65                   750          4
    1996-92      V8/7.5L        Gas                               65                   650         4        2014-11   V6/3.7L                                      65                   750          4
    1996-92      V8/7.5L        Opt                               65                   850         4        2014-11   V8/5.0L                                      65                   750          4
    1994-92      V8/5.0L        Primary Battery                   65                   650         4        2014-10   V8/6.2L                                      65                   750          4
    1994-92      V8/5.0L        Opt                               65                   850         4        2010-97   V8/4.6L                                      59                   540         34
    1991-90      L6/4.9L        Aux Battery                       24F                  350         23       2010-97   V8/5.4L                                      59                   540         34
    1991-90      L6/4.9L        Gas                               64                   535                  2010-08   V8/4.6L    Opt                               65                   650          4
    1991-90      V8/5.0L        Aux Battery                       24F                  350         23       2010-08   V8/5.4L    Opt                               65                   650          4
    1991-90      V8/5.0L        Gas                               64                   535                  2008-05   V6/4.2L                                      59                   540         34
    1991-90      V8/5.8L        Aux Battery                       24F                  350         23       2008      V6/4.2L    Opt                               65                   650          4
    1991-90      V8/5.8L        Gas                               64                   535                  2006-97   V8/4.6L    HD, Can                           65                   650          4
    1991-90      V8/7.3L        Dsl                               27 2                 700         35       2006-97   V8/5.4L    HD, Can                           65                   650          4
    1991-90      V8/7.5L        Aux Battery                       24F                  350         23       2006-05   V6/4.2L    HD, Can                           65                   650          4
    1991-90      V8/7.5L        Gas                               64                   535                  2004      V6/4.2L                                      59                   540         34
    Ford Excursion                                                                                          2004      V6/4.2L    HD, Can                           65                   650          4
    2005-03      V8/6.0L Dsl                                      65 2                 750          4       2004      V8/4.6L                                      59                   540         34
    2005-00      V10/6.8L                                         65                   750          4       2004      V8/4.6L    HD, Can                           65                   650          4
    2005-00      V8/5.4L                                          65                   750          4       2004      V8/5.4L                                      59                   540         34
    2003-00      V8/7.3L Dsl                                      65 2                 750          4       2004      V8/5.4L    HD, Can                           65                   650          4
    Ford Expedition                                                                                         2003-97   V6/4.2L                                      59                   540         34
    2017-16 V6/3.5L             w/o Intelligent Access            65                   650          4       2003-97   V6/4.2L    HD, Can                           65                   650          4
    2017    V6/3.5L             w/Intelligent Access              65                   750          4       1996-90   L6/4.9L                                      65                   650          4
    2016    V6/3.5L             w/Intelligent Access              65                   750          4       1996-90   L6/4.9L    Opt                               65                   850          4
    See page 88 for Footnotes. Selection may vary by warehouse.

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42                                                                                                Automotive/Light Truck
                                                                 Original                                                                                                   Original
  Year      Engine                Options      BCI Group Size   Equipment    Fitment     Year      Engine                  Options                       BCI Group Size    Equipment    Fitment
                                                   (notes)                    Code                                                                           (notes)                     Code
                                                                CCA/Rating                                                                                                 CCA/Rating
Ford F-150 (continued)                                                                 Ford F-350 (continued)
1996-90   V8/5.0L                            65                   650          4       1996-90   L6/4.9L                                               65                     650         4
1996-90   V8/5.0L    Opt                     65                   850          4       1996-90   L6/4.9L    Opt                                        65                     850         4
1996-90   V8/5.8L                            65                   650          4       1996-90   V8/5.8L                                               65                     650         4
1996-90   V8/5.8L    Opt                     65                   850          4       1996-90   V8/5.8L    Opt                                        65                     850         4
Ford F-250                                                                             1996-90   V8/7.3L    Dsl                                        65 2                   850         4
2017      V8/6.2L    XL                      65                   650          4       1996-90   V8/7.5L                                               65                     650         4
2017      V8/6.2L    Ex XL                   65                   750          4       1996-90   V8/7.5L    Opt                                        65                     850         4
2017      V8/6.7L    Dsl                     65 2                 750          4       Ford Falcon
2016      V8/6.2L                            65                   650          4       1970-69   V8/5.8L                                               22F                    250         38
2016      V8/6.2L    Opt                     65                   750          4       1970-68   V8/5.0L                                               22F                    250         38
2016      V8/6.7L    Dsl                     65 2                 750          4       1970-68   V8/5.0L    HD or Opt                                  24F                    325         23
2015      V8/6.2L                            65                   650          4       1970-64   L6/3.3L                                               22F                    250         38
2015      V8/6.2L    Opt                     65                   750          4       1970-64   L6/3.3L    HD or Opt                                  24F                    325         23
2015      V8/6.7L    Dsl                     65 2                 750          4       1970      L6/4.1L                                               22F                    250         38
2014-11   V8/6.2L                            65                   650          4       1970      L6/4.1L    HD or Opt                                  24F                    325         23
2014-11   V8/6.2L    Opt                     65                   750          4       1970      V8/5.8L    MT                                         22F                    250
2014-11   V8/6.7L    Dsl                     65 2                 750          4       1970      V8/5.8L    AT or HD                                   24F                    325         23
2010-99   V10/6.8L                           65                   650          4       1970      V8/7.0L                                               22F                    250         38
2010-99   V10/6.8L   Opt                     65                   750          4       1970      V8/7.0L    Opt                                        24F                    325         23
2010-08   V8/5.4L    HD, Over 8500 lbs GVW   65                   750          4       1969-60   L6/2.8L                                               22F                    250         38
2010-08   V8/6.4L                            65 2                 750          4       1969-60   L6/2.8L    HD or Opt                                  24F                    325         23
2010-00   V8/5.4L                            65                   650          4       1969      V8/5.8L    Opt                                        24F                    325         23
2007-00   V8/5.4L    Opt                     65                   750          4       1968-65   V8/4.7L    HD or Opt                                  24F                    325         23
2007      V8/6.0L    Dsl                     65 2                 650          4       1968-64   V8/4.7L                                               22F                    250         38
2006-03   V8/6.0L    Dsl                     65 2                 750          4       1965-62   V8/4.3L                                               22F                    250         38
2003-99   V8/7.3L    Dsl                     65 2                 750          4       1965-62   V8/4.3L    Opt                                        24F                    325         23
1999-97   V8/4.6L    Under 8500 lbs GVW      59                   540         34       1964-60   L6/2.4L                                               22F                    250         38
1999-97   V8/4.6L    Opt                     65                   650          4       1964-60   L6/2.4L    HD or Opt                                  24F                    325         23
1999-97   V8/5.4L    Under 8500 lbs GVW      59                   540         34       1964      V8/4.7L    Opt                                        24F                    325         23
1999-97   V8/5.4L    Over 8500 lbs GVW       65                   650          4       1963-62   V8/3.6L                                               22F                    250         38
1999-97   V8/5.4L    HD, Over 8500 lbs GVW   65                   750          4       1963-62   V8/3.6L    Opt                                        24F                    325         23
1996-90   L6/4.9L                            65                   650          4       Ford Festiva
1996-90   L6/4.9L    Opt                     65                   850          4       1993-90 L4/1.3L                                                 35                     390         3
1996-90   V8/5.0L                            65                   650          4
1996-90   V8/5.0L    Opt                     65                   850          4
                                                                                       Ford Fiesta
1996-90   V8/5.8L                            65                   650          4       2017-16   L3/1.0L                                               96R                    500         32
1996-90   V8/5.8L    Opt                     65                   850          4       2017-16   L3/1.0L    Opt                                        96R                    590         32
1996-90   V8/7.3L    Dsl                     65 2                 850          4       2017-16   L4/1.6L                                               96R                    500         32
1996-90   V8/7.5L                            65                   650          4       2017-16   L4/1.6L    Opt                                        96R                    590         32
1996-90   V8/7.5L    Opt                     65                   850          4       2015      L3/1.0L                                               96R                    500         32
                                                                                       2015      L3/1.0L    Opt                                        96R                    590         32
Ford F-250 HD                                                                          2015      L4/1.6L                                               96R                    500         32
1997      V8/5.8L                            59                   540         34       2015      L4/1.6L    Opt                                        96R                    590         32
1997      V8/5.8L    Opt                     65                   750          4       2014-11   L4/1.6L                                               96R                    500         32
1997      V8/7.3L    Dsl                     65 2                 750          4       2014      L3/1.0L                                               96R                    500         32
1997      V8/7.5L                            59                   540         34       2014      L3/1.0L    Opt                                        96R                    590         32
1997      V8/7.5L    Opt                     65                   750          4       2014      L4/1.6L    Opt                                        96R                    590         32
Ford F-350                                                                             Ford Five Hundred
2017      V8/6.2L    XL                      65                   650          4       2007-05 V6/3.0L                                                 36R                    540         18
2017      V8/6.2L    Ex XL                   65                   750          4       2006-05 V6/3.0L      Opt                                        36R                    600         18
2017      V8/6.7L    Dsl                     65 2                 750          4
2016      V8/6.2L                            65                   650          4
                                                                                       Ford Flex
2016      V8/6.2L    Opt                     65                   750          4       2017      V6/3.5L    Ex Ecoboost                                65                     650         4
2016      V8/6.7L    Dsl                     65 2                 750          4       2017      V6/3.5L    w/Ecoboost                                 65                     750         4
2015      V8/6.2L                            65                   650          4       2016      V6/3.5L    Ex Ecoboost                                65                     650         4
2015      V8/6.2L    Opt                     65                   750          4       2016      V6/3.5L    w/Ecoboost                                 65                     750         4
2015      V8/6.7L    Dsl                     65 2                 750          4       2015      V6/3.5L    Ex Ecoboost                                65                     650         4
2014-11   V8/6.2L                            65                   650          4       2015      V6/3.5L    w/Ecoboost                                 65                     750         4
2014-11   V8/6.2L    Opt                     65                   750          4       2014-10   V6/3.5L    w/o Ecoboost                               65                     650         4
2014-11   V8/6.7L    Dsl                     65 2                 750          4       2014-10   V6/3.5L    w/Ecoboost                                 65                     750         4
2010-99   V10/6.8L                           65                   650          4       2009      V6/3.5L                                               65                     750         4
2010-99   V10/6.8L   Opt                     65                   750          4       Ford Focus
2010-99   V8/5.4L                            65                   650          4       2017                 Electric                                   67R                     390
2010-99   V8/5.4L    Opt                     65                   750          4       2017      L3/1.0L                                               48 33                   760
2010-08   V8/6.4L    Dsl                     65 2                 750          4       2017      L4/2.0L    MT                                         96R                     500        32
2007      V8/6.0L    Dsl                     65 2                 650          4       2017      L4/2.0L    Automatic Dual Clutch                      96R                     590        32
2006-03   V8/6.0L    Dsl                     65 2                 750          4       2017      L4/2.3L    MT                                         96R                     500        32
2003-99   V8/7.3L    Dsl                     65 2                 750          4       2017      L4/2.3L    Automatic Dual Clutch                      96R                     590        32
1997      V8/5.8L                            59                   540         34       2016-15   L4/2.0L    MT                                         96R                     500        32
1997      V8/5.8L    Opt                     65                   750          4       2016-15   L4/2.0L    Automatic Dual Clutch                      96R                     590        32
1997      V8/7.3L    Dsl                     65 2                 750          4       2016                 Electric                                   67R                     390
1997      V8/7.5L                            59                   540         34       2016      L4/2.3L    MT                                         96R                     500        32
1997      V8/7.5L    Opt                     65                   750          4       2016      L4/2.3L    Automatic Dual Clutch                      96R                     590        32
                                                                                                                                     See page 88 for Footnotes. Selection may vary by warehouse.

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                                      929
    Automotive/Light Truck                                                                                                                                                            43
                                                                                       Original                                                                               Original
        Year         Engine                         Options          BCI Group Size   Equipment    Fitment      Year     Engine                  Options    BCI Group Size   Equipment    Fitment
                                                                         (notes)                    Code                                                        (notes)                    Code
                                                                                      CCA/Rating                                                                             CCA/Rating
    Ford Focus (continued)                                                                                   Ford Galaxie (continued)
    2015                        Electric                           67R                  390                  1967-65   V8/4.7L    AT                       22F                 250
    2014-13      L4/2.0L        w/o Ecoboost                       96R                  500         32       1967-65   V8/4.7L    Opt                      27F                 350         36
    2014-13      L4/2.0L        w/Ecoboost                         96R                  590         32       1967-65   V8/4.7L                             29NF                350
    2014-12                     Electric                           67R                  390                  1967-65   V8/6.4L    AC & AT                  22F                 250
    2012         L4/2.0L        MT                                 96R                  500         32       1967-65   V8/6.4L                             27F                 350         36
    2012         L4/2.0L        Automatic Dual Clutch              96R                  590         32       1967-64   V8/6.4L                             29NF                350
    2011-05      L4/2.0L                                           96R                  500         32       1967-64   V8/7.0L                             29NF                350
    2007-03      L4/2.3L                                           96R                  500         32       1967      V8/5.8L    AC & AT                  24F                 325         23
    2007         L4/2.0L       Immersion Heater or Premium Radio   40R                  590         19       1966-65   V8/5.8L    AT                       22F                 250
    2007         L4/2.3L       Immersion Heater or Premium Radio   40R                  590         19       1966-64   V8/5.8L                             29NF                350
    2006-05      L4/2.0L       Immersion Heater or Premium Radio   40R                  590         19       1966-59   V8/5.8L    Opt                      27F                 350         36
    2006-05      L4/2.3L       Immersion Heater or Premium Radio   40R                  590         19       1966      V8/7.0L                             27F                 350         36
    2004-03      L4/2.0L       Ex Z Tech                           40R                  590         19       1964      L6/3.6L                             29NF                350
    2004-03      L4/2.0L       Z Tech                              96R                  500         32       1964      V8/4.3L                             29NF                350
    2002-00      L4/2.0L       Z Tech                              40R                  590         19       1964      V8/4.7L                             24F                 455         23
    2002-00      L4/2.0L       Ex Z Tech                           96R                  500         32       1963      V8/6.6L                             24F                 325         23
    Ford Freestar                                                                                            1963      V8/7.0L                             24F                 325         23
    2007-04      V6/3.9L                                           59                   540         34       1962-60   V8/4.8L    Opt                      27F                 350         36
    2007-04      V6/3.9L        Opt                                65                   650          4       1962-59   L6/3.6L                             27F                 350         36
    2007-04      V6/4.2L                                           59                   540         34       1962      V8/6.4L    Opt                      27F                 350         36
    2007-04      V6/4.2L        Opt                                65                   650          4       1962      V8/6.6L                             27F                 350         36
                                                                                                             1960      L6/3.7L                             24 43               325         22
    Ford Freestyle                                                                                           1960      L6/3.7L    Opt                      27F                 350         36
    2007-05 V6/3.0L                                                36R                  540         18       1960      V8/4.8L                             24 43               325         22
    2006-05 V6/3.0L             Opt                                36R                  600         18       1960      V8/5.8L                             24 43               325         22
    Ford Fusion                                                                                              1959      V8/4.8L                             27F                 350         36
    2017         L4/1.5L        Start/Stop                         48 33                760                  1959      V8/5.4L    Opt                      27F                 350         36
    2017         L4/1.5L        w/o Intelligent Access             90                   500         37       1959      V8/5.9L                             27F                 350         36
    2017         L4/1.5L        w/Intelligent Access               90                   590         37       Ford LTD Crown Victoria
    2017         L4/2.0L        Gas                                90                   590         37       1991-90   V8/5.0L                             58                  540          8
    2017         L4/2.0L        US, Gas                            90                   590         37       1991-90   V8/5.0L    Opt                      65                  650          4
    2017         L4/2.0L        Hybrid                             99R 50               390                  1991-90   V8/5.0L    w/HWS or PPkg            65                  850          4
    2017         L4/2.5L        w/o Intelligent Access             90                   500         37       1991-90   V8/5.8L                             58                  540          8
    2017         L4/2.5L        w/Intelligent Access               90                   590         37       1991-90   V8/5.8L    Opt                      65                  650          4
    2017         V6/2.7L                                           94R                  730         30       1991-90   V8/5.8L    w/HWS or PPkg            65                  850          4
    2016-15      L4/1.5L       w/o Intelligent Access              90                   500         37       Ford Mustang
    2016-15      L4/1.5L       w/Intelligent Access                90                   590         37
                                                                                                             2017-16   L4/2.3L                             96R                 590         32
    2016-15      L4/2.5L       w/o Intelligent Access              90                   500         37
                                                                                                             2017-16   V6/3.7L                             96R                 590         32
    2016-15      L4/2.5L       w/Intelligent Access                90                   590         37
                                                                                                             2017-16   V8/5.0L                             96R                 590         32
    2016-14      L4/1.5L       Start/Stop                          48 33                760
                                                                                                             2017      V8/5.2L                             99R                 390
    2016         L4/2.0L       Start/Stop                          48 33                760
                                                                                                             2016      V8/5.2L                             67R                 390
    2016         L4/2.0L       w/o Intelligent Access              90                   500         37
                                                                                                             2016      V8/5.2L    Cold Climate             96R                 590         32
    2016         L4/2.0L       w/Intelligent Access                90                   590         37
                                                                                                             2015      L4/2.3L                             96R                 590         32
    2016         L4/2.0L       Hybrid                              99R                  390
                                                                                                             2015      V6/3.7L                             96R                 590         32
    2016         L4/2.5L       Start/Stop                          48 33                760
                                                                                                             2015      V8/5.0L                             96R                 590         32
    2015-13      L4/2.0L       Hybrid                              67R 50               390
                                                                                                             2015      V8/5.2L                             67R                 390
    2015         L4/2.0L       Start/Stop                          48 33                760
                                                                                                             2015      V8/5.2L    Cold Climate             96R                 590         32
    2015         L4/2.0L       Gas                                 90                   590         37
                                                                                                             2014-13   V8/5.8L                             96R                 590         32
    2015         L4/2.5L       Start/Stop                          48 33                760                  2014-12   V8/5.0L    Boss Pkg                 96R                 500         32
    2014-13      L4/1.6L       Start/Stop                          48 33                760                  2014-12   V8/5.0L    Ex Boss Pkg              96R                 590         32
    2014-13      L4/1.6L       w/o Power Code Remote Start         90                   500         37       2014-11   V6/3.7L                             96R                 590         32
    2014-13      L4/1.6L       w/Power Code Remote Start           90                   590         37       2012-11   V8/5.4L                             96R                 590         32
    2014-13      L4/2.0L       Gas                                 90                   500         37       2011      V8/5.0L                             96R                 590         32
    2014-13      L4/2.0L       Gas, Opt                            90                   590         37       2010-08   V8/4.6L                             96R                 500         32
    2014-13      L4/2.5L       w/o Power Code Remote Start         90                   500         37       2010-07   V8/5.4L                             40R                 590         19
    2014-13      L4/2.5L       w/Power Code Remote Start           90                   590         37       2010-05   V6/4.0L                             96R                 500         32
    2014         L4/1.5L       w/o Power Code Remote Start         90                   500         37       2010      V8/5.4L                             96R                 590         32
    2014         L4/1.5L       w/Power Code Remote Start           90                   590         37       2009-08   V6/4.0L    HD, High Elect Content   40R                 590         19
    2013         L4/1.6L                                           96R                  500         32       2009-08   V8/4.6L    HD, High Elect Content   40R                 590         19
    2013         L4/1.6L        Opt                                96R                  590         32       2007      V8/4.6L                             40R                 590         19
    2012-10      L4/2.5L        Hybrid                             67R                  390                  2006-05   V6/4.0L    Opt                      40R                 590         19
    2012-10      L4/2.5L                                           96R                  500         32       2006-05   V8/4.6L    Opt                      40R                 590         19
    2012-10      V6/3.0L                                           96R                  500         32       2006-05   V8/4.6L                             96R                 500         32
    2012-10      V6/3.5L                                           96R                  500         32       2004-97   V6/3.8L                             59                  540         34
    2009-07      L4/2.3L                                           96R                  500         32       2004-97   V8/4.6L                             59                  540         34
    2009-07      V6/3.0L                                           96R                  500         32       2004      V6/3.9L                             59                  540         34
    2009-06      V6/3.0L                                           40R 56               590         19       2000      V8/5.4L                             59                  540         34
    2006         L4/2.3L                                           40R                  590         19       1996      V6/3.8L    Early                    58                  540          8
    Ford Galaxie                                                                                             1996      V6/3.8L    Late                     59                  540         34
    1967-65 L6/3.9L AC & AT                                        22F                  250                  1996      V8/4.6L    Early                    58                  540          8
    1967-65 L6/3.9L                                                27F                  350         36       1996      V8/4.6L    Late                     59                  540         34
    1967-65 L6/3.9L                                                29NF                 350                  1995-94   V6/3.8L                             58                  540          8
    See page 88 for Footnotes. Selection may vary by warehouse.

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44                                                                                                     Automotive/Light Truck
                                                                      Original                                                                                                   Original
   Year     Engine                   Options        BCI Group Size   Equipment    Fitment     Year      Engine                  Options                       BCI Group Size    Equipment    Fitment
                                                        (notes)                    Code                                                                           (notes)                     Code
                                                                     CCA/Rating                                                                                                 CCA/Rating
Ford Mustang (continued)                                                                    Ford Probe (continued)
1995-89   V8/5.0L                                  58                  540          8       1992-90 L4/2.2L                                                 56                     505
1995      V8/5.8L                                  58                  540          8       1992-90 V6/3.0L                                                 58R                    580
1993-89   L4/2.3L    HD w/AT                       58                  540          8       Ford Ranger
1993-87   L4/2.3L    MT                            58                  460          8       2011-97   V6/4.0L                                               59                     540         34
1986-84   L4/2.3L    MT, Ex Conv, Turbo, HA, Can   61                  310                  2011-01   L4/2.3L                                               59                     540         34
1986-84   L4/2.3L                                  61                  540
                                                                                            2008-97   V6/3.0L                                               59                     540         34
1986-84   L4/2.3L    HA, AT, Can                   62                  380
                                                                                            2001-98   L4/2.5L                                               59                     540         34
1986-84   L4/2.3L    Opt                           62                  380
                                                                                            1997-91   V6/3.0L    Opt                                        65                     650         4
1986-84   L4/2.3L    HD, Conv, Turbo               63                  450
                                                                                            1997-90   L4/2.3L    Opt                                        65                     650         4
1986-84   V6/3.8L                                  62                  380
                                                                                            1997-90   V6/4.0L    Opt                                        65                     650         4
1986-84   V6/3.8L    HD, Conv                      63                  450
                                                                                            1997      L4/2.3L                                               59                     540         34
1986-84   V8/5.0L                                  63                  450
1983-82   V8/5.0L                                  61                  310                  1996-91   V6/3.0L                                               58                     540         8
1983      L4/2.3L    MT, US, Ex Turbo              61                  310                  1996-91   V6/4.0L                                               65                     650         4
1983      L4/2.3L    AT or Can                     62                  380                  1996-90   L4/2.3L                                               58                     540         8
1983      L4/2.3L    HD or Turbo                   63                  450                  1992-90   V6/2.9L                                               58                     540         8
1983      V6/3.8L                                  61                  310                  1992-90   V6/2.9L    Opt                                        65                     650         4
1983      V6/3.8L    Conv or HD                    63                  450                  1990      V6/4.0L                                               58                     540         8
1983      V8/5.0L    Conv or HD                    63                  450                  Ford Special Service Police Sedan
1982-81   L6/3.3L                                  61                  310                  2017    L4/2.0L                                                 65                     750         4
1982-81   L6/3.3L    Opt                           63                  450                  2016-15 L4/2.0L                                                 65                     750         4
1982-81   V8/4.2L                                  61                  310                  2014    L4/2.0L                                                 65                     750         4
1982-81   V8/4.2L    Opt                           63                  450                  Ford Taurus, Taurus X
1982      L4/2.3L    MT, Ex Turbo                  61                  310                  2017      L4/2.0L    w/o Intelligent Access                     59                     540         34
1982      L4/2.3L    Turbo, AT                     62                  380
                                                                                            2017      L4/2.0L    w/Intelligent Access                       65                     650         4
1982      V8/5.0L    Opt                           63                  450
                                                                                            2017      V6/3.5L    Duratec w/o Intelligent Access             59                     540         34
1981      L4/2.3L    MT                            62                  380
                                                                                            2017      V6/3.5L    Duratec w/Intelligent Access               65                     650         4
1981      L4/2.3L    AT, Turbo, HD                 63                  450
                                                                                            2017      V6/3.5L    Ecoboost                                   65                     650         4
1980      L4/2.3L                                  63                  450
                                                                                            2016      L4/2.0L    w/o Intelligent Access                     59                     540         34
1980      L6/3.3L                                  63                  450
                                                                                            2016      L4/2.0L    w/Intelligent Access                       65                     650         4
1980      V8/4.2L                                  63                  450
1979      L4/2.3L                                  56                  535                  2016      V6/3.5L    w/o Intelligent Access, Ecoboost           59                     540         34
1979      L6/3.3L                                  56                  535                  2016      V6/3.5L    w/Intelligent Access, Ecoboost             65                     650         4
1979      V6/2.8L                                  56                  535                  2015      L4/2.0L    w/o Intelligent Access                     59                     540         34
1979      V8/5.0L                                  56                  535                  2015      L4/2.0L    w/Intelligent Access                       65                     650         4
1972      V8/5.8L    2V, MT                        22F                 250                  2015      V6/3.5L    w/o Intelligent Access, Ex SHO             59                     540         34
1971-67   V8/7.0L                                  22F                 250                  2015      V6/3.5L    w/Intelligent Access, SHO                  65                     650         4
1971      L6/4.1L                                  22F                 250                  2014-13   L4/2.0L    Ex SHO                                     59                     540         34
1971      V8/5.0L                                  22F                 250                  2014-13   V6/3.5L    PPkg                                       65                     750         4
1971      V8/5.8L                                  22F                 250                  2014-10   V6/3.5L    Ex SHO                                     59                     540         34
1970-67   V8/7.0L    Ex 427 or HD                  22F                 250                  2014-10   V6/3.5L    SHO                                        65                     650         4
1970-67   V8/7.0L    HD or 427                     24F                 325         23       2009-08   V6/3.5L                                               59                     540         34
1970-67   V8/7.0L    Opt                           24F                 325         23       2007-06   V6/3.0L                                               36R                    540         18
1968      V8/7.0L                                  24F                 325         23       2006      V6/3.0L    Opt                                        36R                    600         18
1965-64   V8/4.3L                                  22F                 250                  2005      V6/3.0L    HD & Can, DOHC                             36R                    600         18
1964      L6/3.3L                                  22F                 250                  2005      V6/3.0L    OHV                                        36R                    600         18
1964      V8/4.7L                                  22F                 250                  2004-01   V6/3.0L    OHV                                        36R                    540         18
Ford Police Interceptor Sedan                                                               2004-01   V6/3.0L    HD, OHV                                    36R                    600         18
2017      V6/3.5L                                  65                  750          4       2004-00   V6/3.0L    HD & Can, DOHC                             36R                    600         18
2017      V6/3.7L                                  65                  750          4       2000-96   V6/3.0L    OHV                                        58R                    540
2016      V6/3.5L                                  65                  750          4       1999-96   V8/3.4L    SHO                                        36R                    650         18
2016      V6/3.7L                                  65                  750          4       1999      V6/3.0L    DOHC or HD                                 36R                    650         18
2015      V6/3.5L                                  65                  750          4       1998-96   V6/3.0L    HD & Can, DOHC                             36R                    650         18
2015      V6/3.7L                                  65                  750          4       1995-93   V6/3.2L    SHO                                        34                     650         9
2014-13   V6/3.5L    w/Ecoboost                    65                  650          4       1995-93   V6/3.8L    HD or PPkg                                 65                     850         4
2014-13   V6/3.7L                                  59                  540         34       1995-92   V6/3.0L    Opt                                        65                     650         4
2014      V6/3.5L    Ex Ecoboost                   59                  540         34       1995-92   V6/3.8L                                               65                     650         4
2014      V6/3.5L                                  65                  750          4       1995-91   V6/3.0L                                               58                     540         8
2013      V6/3.5L    w/o Ecoboost                  59                  540         34       1995-90   V6/3.0L    SHO                                        34                     650         9
Ford Police Interceptor Utility                                                             1991-90   V6/3.8L    HD, w/HWS or PPkg                          65                     850         4
2017      V6/3.5L                                  65                  750          4       1991      L4/2.5L                                               65                     650         4
2017      V6/3.7L                                  65                  750          4       1991      V6/3.8L    Wagon                                      65                     650         4
2016      V6/3.5L                                  65                  750          4       1991      V6/3.8L    Ex Wagon                                   65                     850         4
2016      V6/3.7L                                  65                  750          4       1990      L4/2.5L    AT                                         65                     650         4
2015      V6/3.5L                                  65                  750          4       1990      V6/3.0L    Ex SHO                                     58                     540         8
2015      V6/3.7L                                  65                  750          4       1990      V6/3.8L                                               65                     850         4
2014-13   V6/3.7L                                  59                  540         34       Ford Tempo
2014      V6/3.5L    Ex Ecoboost                   59                  540         34       1994-92   V6/3.0L                                               58                      460         8
2014      V6/3.5L    w/Ecoboost                    65                  650          4       1994-92   V6/3.0L    Opt                                        58                      540         8
Ford Probe                                                                                  1994      L4/2.3L                                               58                      540         8
1997-93 L4/2.0L                                    58R                 580                  1993-90   L4/2.3L    MT                                         58                      460         8
1997-93 V6/2.5L                                    58R                 580                  1993-90   L4/2.3L    HD w/AT                                    58                      540         8
                                                                                                                                          See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                             45
                                                                                       Original                                                                                Original
        Year         Engine                         Options          BCI Group Size   Equipment    Fitment     Year      Engine                 Options      BCI Group Size   Equipment    Fitment
                                                                         (notes)                    Code                                                         (notes)                    Code
                                                                                      CCA/Rating                                                                              CCA/Rating
    Ford Thunderbird                                                                                         Ford Transit-250
    2005-02      V8/3.9L                                          66 50                 650                  2017      L5/3.2L    Dsl                     48 2, 33, 50          760
    1997-94      V8/4.6L                                          65                    650          4       2017      V6/3.5L                            48 50                 610         29
    1997-93      V6/3.8L        Can & Opt                         65                    650          4       2017      V6/3.7L                            48 50                 610         29
    1997         V6/3.8L                                          59                    540         34       2016      L5/3.2L    Dsl                     48 33                 760
    1996         V6/3.8L        Early                             58                    540          8       2016      V6/3.5L                            48                    610         29
    1996         V6/3.8L        Late                              59                    540         34       2016      V6/3.7L                            48                    610         29
    1995-93      V6/3.8L        S/C, HD & Can                     65                    650          4       2015      L5/3.2L    Dsl                     48 33                 760
    1995-91      V6/3.8L        S/C, w/MT                         58                    540          8       2015      V6/3.5L                            48                    610         29
    1993-91      V8/5.0L                                          65                    650          4       2015      V6/3.7L                            48                    610         29
    1992-91      V6/3.8L       Naturally Aspirated                58                    460          8       Ford Transit-350
    1992-91      V6/3.8L       HD, Ex S/C                         58                    540          8       2017      L5/3.2L    Dsl                     48 2, 33, 50          760
    1992-91      V6/3.8L       S/C, Can, Cold Climate Pkg         65                    650          4       2017      V6/3.5L                            48 50                 610         29
    1992-91      V6/3.8L       S/C, HD                            65                    650          4       2017      V6/3.7L                            48 50                 610         29
    1990         V6/3.8L       US                                 58                    460          8       2016      L5/3.2L    Dsl                     48 33                 760
    1990         V6/3.8L       US, HD, Ex S/C                     58                    540          8       2016      V6/3.5L                            48                    610         29
    1990         V6/3.8L       S/C                                65                    650          4       2016      V6/3.7L                            48                    610         29
    1970-68      V8/7.0L                                          27F                   350         36       2015      L5/3.2L    Dsl                     48 33                 760
    1968         V8/6.4L                                          27F                   350         36       2015      V6/3.5L                            48                    610         29
    1967-66      V8/7.0L        428 w/AC or HD                    27F                   350         36       2015      V6/3.7L                            48                    610         29
    1967-65      V8/6.4L        Ex 428, w/AC                      24F                   325         23       Ford Transit-350 HD
    1967-65      V8/7.0L        Ex 428, w/AC                      24F                   325         23       2017      L5/3.2L    Dsl                     48 2, 33, 50          760
    1964-63      V8/7.0L                                          29NF                  350                  2017      V6/3.5L                            48 33, 50             760
    1964-61      V8/6.4L                                          29NF                  350                  2017      V6/3.7L                            48 33, 50             760
    1963         V8/6.6L                                          29NF                  350                  2016-15   V6/3.7L                            48 33, 50             760
    1963         V8/6.7L                                          29NF                  350                  2016      L5/3.2L    Dsl                     48 33                 760
    1960-59      V8/5.8L                                          29NF                  350                  2016      V6/3.5L                            48 33                 760
    1960-59      V8/7.0L                                          29NF                  350                  2016      V6/3.7L                            48 33                 660
    1959         V8/5.4L                                          29NF                  350                  2015      L5/3.2L    Dsl                     48 33                 760
    1958         V8/4.8L                                          27F                   350         36       2015      V6/3.5L                            48                    610         29
    1958         V8/5.4L                                          27F                   350         36       2015      V6/3.5L                            48 33, 50             760
    1958         V8/5.8L                                          27F                   350         36       2015      V6/3.7L                            48                    610         29
    1957-56      V8/4.8L                                          29NF                  350                  Ford Windstar
    1957-56      V8/5.1L                                          29NF                  350
                                                                                                             2003-97   V6/3.8L    TTPkg or HD             65                    750          4
    1955         V8/4.4L                                          2N                    450
                                                                                                             2003-95   V6/3.8L                            65                    650          4
    1955         V8/4.8L                                          2N                    450                  2000-97   V6/3.0L                            59                    540         34
    Ford Torino                                                                                              2000      V6/3.0L    TTPkg or HD             65                    750          4
    1976-75      V8/5.8L        Opt                               24F                   455         23       1999-97   V6/3.0L    TTPkg or HD             65                    650          4
    1976-74      V8/6.6L                                          24F                   455         23       1996-95   V6/3.0L                            58                    540          8
    1976-74      V8/7.5L                                          24F                   455         23       1996      V6/3.0L    TTPkg or HD             65                    850          4
    1974         L6/4.1L                                          24F                   455         23       1996      V6/3.8L    Opt                     65                    750          4
    1974         V8/5.0L                                          24F                   455         23       1995      V6/3.0L                            65                    850          4
    1974         V8/5.8L                                          24F                   455         23       Freightliner Sprinter (2500, 3500)
    1973         V8/5.8L                                          24F                   350         23       2017-15   L4/2.1L    Dsl                     48 50                 680         29
    1973         V8/6.6L                                          22F                   440                  2017-15   L4/2.1L    Dsl                     48 33, 50             760
    1973         V8/7.0L                                          22F                   440                  2017-15   V6/3.0L    Dsl                     48 50                 680         29
    1973         V8/7.5L                                          22F                   440                  2017-15   V6/3.0L    Dsl                     48 33, 50             760
    Ford Transit Connect                                                                                     2017      L4/2.1L    Dsl                     49 50                 760
    2017         L4/2.5L                                          40R                   590         19       2017      L4/2.1L    Dsl                     49 33, 50             850
    2016         L4/1.6L                                          40R                   590         19       2017      V6/3.0L    Dsl                     49 50                 760
    2016         L4/2.5L                                          40R                   590         19       2017      V6/3.0L    Dsl                     49 33, 50             850
    2015-14      L4/1.6L                                          40R                   590         19       2016-15   L4/2.1L    Dsl                     49 50                 760
    2015-14      L4/2.5L                                          40R                   590         19       2016-15   V6/3.0L    Dsl                     49 50                 760
    2015         L4/1.6L                                          48                    610         29       2016      L4/2.1L                            49 50                 850
    2015         L4/1.6L        Opt                               48 2, 33              760                  2016      V6/3.0L                            49 50                 850
    2015         L4/2.5L                                          48                    610         29       2015      L4/2.1L    Dsl                     49 50                 850
    2015         L4/2.5L        Opt                               48 2, 33              760                  2015      V6/3.0L    Dsl                     49 50                 850
    2014         L4/1.6L                                          96R                   590         32       2014-07   V6/3.0L    Dsl                     49 50                 850
    2014         L4/2.5L                                          96R                   590         32       2014      L4/2.1L    Dsl                     49 50                 850
    2013-10      L4/2.0L                                          96R                   590         32       2008-07   V6/3.5L                            49 50                 850
    2012                        Electric                          96R                   500         32       2006-02   L5/2.7L    Dsl                     49 50                 850
    Ford Transit-150                                                                                         Geo Metro
    2017         L5/3.2L        Dsl                               48 2, 33, 50          760                  1997-95   L3/1.0L                            26R                   390         38
    2017         V6/3.5L                                          48 50                 610         29       1997-95   L4/1.3L                            26R                   390         38
    2017         V6/3.7L                                          48 50                 610         29       1994      L3/1.0L                            26                    390
    2016         L5/3.2L        Dsl                               48 33                 760                  1994      L4/1.3L                            26                    390
    2016         V6/3.5L                                          48                    610         29       1993-92   L4/1.3L                            26                    440
    2016         V6/3.7L                                          48                    610         29       1993-90   L3/1.0L                            26                    440
    2015         L5/3.2L        Dsl                               48 33                 760                  Geo Prizm
    2015         V6/3.5L                                          48                    610         29       1997-93 L4/1.8L                              35                    310          3
    2015         V6/3.7L                                          48                    610         29       1997-90 L4/1.6L                              35                    310          3
    See page 88 for Footnotes. Selection may vary by warehouse.

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46                                                                                                    Automotive/Light Truck
                                                                     Original                                                                                                  Original
  Year      Engine                     Options     BCI Group Size   Equipment    Fitment     Year      Engine                 Options                       BCI Group Size    Equipment    Fitment
                                                       (notes)                    Code                                                                          (notes)                     Code
                                                                    CCA/Rating                                                                                                CCA/Rating
Geo Storm                                                                                  GMC C/K, R/V Pickups, Jimmy, Suburban (continued)
1993-92 L4/1.8L                                  35                   360          3       1990      V8/5.7L    Aux Battery                               78                     540         7
1993-90 L4/1.6L                                  35                   360          3       1990      V8/5.7L    Opt                                       78                     630         7
Geo Tracker                                                                                1990      V8/6.2L    Dsl                                       75 2                   570         5
1997-95 L4/1.6L                                  26R                  500         38       GMC Canyon
1994-90 L4/1.6L                                  26                   525                  2017      L4/2.5L                                              48                     615         29
GMC Acadia                                                                                 2017      L4/2.8L    Dsl                                       49 33                  850
2017      L4/2.5L    Start/Stop                  94R 33               730                  2017      V6/3.6L                                              48                     615         29
2017      V6/3.6L                                48                   660         29       2016      L4/2.5L                                              48                     615         29
2016      V6/3.6L                                48 50                660         29       2016      L4/2.8L    Dsl                                       49                     850
2015      V6/3.6L                                48 50                660         29       2016      V6/3.6L                                              48                     615         29
2014-10   V6/3.6L                                48 50                660         29       2015      L4/2.5L                                              48                     615         29
2009-07   V6/3.6L                                48 50                730         29       2015      V6/3.6L                                              48                     615         29
GMC Acadia Limited                                                                         2012-09   V8/5.3L                                              86 40                  590         31
2017      V6/3.6L                                48 50                660         29       2012-08   L4/2.9L                                              86 40                  590         31
GMC C/K, R/V Pickups, Jimmy, Suburban                                                      2012-08   L5/3.7L                                              86 40                  590         31
                                                                                           2007      L4/2.9L                                              86 11, 40              640
2005-94   V6/4.3L    Opt                         75                   690
2005-92   V6/4.3L                                75                   525          5       2007      L5/3.7L                                              86 11, 40              590
2000-99   V8/5.7L    Opt                         78                   690          7       2006-04   L4/2.8L                                              86 11, 40              640
2000-99   V8/6.5L    Dsl & Opt                   78 2                 690          7       2006-04   L5/3.5L                                              86 11, 40              590
2000-99   V8/7.4L    Opt                         78                   690          7       GMC Envoy
2000-97   V8/6.5L    Dsl                         78 2                 600          7       2009-05 V8/5.3L                                                78 40                  600         7
2000-94   V8/7.4L                                78                   600          7       2009-02 L6/4.2L                                                78 40                  600         7
2000-91   V8/5.7L                                78                   600          7       GMC Envoy XL
1999-97   V8/6.5L    Dsl                         78 2                 600          7       2006-03 V8/5.3L                                                78 40                  600         7
1999-94   V8/7.4L                                78                   600          7       2006-02 L6/4.2L                                                78 40                  600         7
1999-93   V8/7.4L    Primary Battery             78                   600          7
                                                                                           GMC Envoy XUV
1999-91   V8/5.0L                                78                   600          7
                                                                                           2005-04 L6/4.2L                                                78 40                  600         7
1999-91   V8/5.7L                                78                   600          7
                                                                                           2005-04 V8/5.3L                                                78 40                  600         7
1999      V8/5.0L    Opt                         78                   690          7
1999      V8/5.7L    Opt                         78                   690          7       GMC G-Series Vans (1500, 2500, 3500)
1999      V8/6.5L    Dsl, HD                     78 2                 600          7       1996-94   V8/5.7L                                              78                     600         7
1999      V8/6.5L    Dsl & Opt                   78 2                 690          7       1996-94   V8/6.5L    Dsl                                       78 2                   600         7
1999      V8/7.4L    Opt                         78                   690          7       1996-94   V8/7.4L                                              78                     600         7
1998-97   V8/6.5L    Dsl                         78 2                 600          7       1995-94   V6/4.3L                                              78                     600         7
1998-94   V6/4.3L    Opt                         75                   690                  1995-94   V8/5.0L                                              78                     600         7
1998-94   V6/4.3L                                78                   600          7       1995-94   V8/5.7L                                              78                     600         7
1998      V8/5.0L                                78                   600          7       1995-94   V8/6.5L    Dsl                                       78 2                   600         7
1997      V8/6.5L    Dsl                         78 2                 600          7       1993-91   V6/4.3L                                              78                     630         7
1997      V8/6.5L    Dsl                         78 2                 690          7       1993-91   V8/5.0L                                              78                     630         7
1996-94   V8/6.5L    Dsl                         78 2                 770          7       1993-91   V8/5.7L                                              78                     630         7
1995-94   V6/4.3L    Opt                         75                   690                  1993-90   V8/6.2L    Dsl                                       78 2                   540         7
1995-94   V6/4.3L                                78                   600          7       1993-90   V8/7.4L                                              78                     630         7
1995-91   V8/5.0L                                78                   600          7       1990      V6/4.3L                                              75                     525         5
1993-92   V6/4.3L    Opt                         78                   630          7       1990      V8/5.0L                                              75                     525         5
1993-92   V8/6.2L    Dsl                         75 2                 570          5       1990      V8/5.7L                                              75                     525         5
1993-92   V8/6.5L    Dsl                         75 2                 570          5       GMC K Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
1993-91   V6/4.3L    Primary Battery             78                   600          7       GMC P-Series Vans (3500, 4500)
1993-91   V8/5.0L    Primary Battery             78                   600          7       1999-97   V6/4.3L                                              78                     600         7
1993-91   V8/5.7L    Primary Battery             78                   600          7       1999-97   V6/4.3L    Opt                                       78                     690         7
1993-91   V8/7.4L    Aux Battery                 78                   540          7
                                                                                           1999-97   V8/5.7L                                              78                     600         7
1993-90   V6/4.3L    Aux Battery                 78                   540          7
                                                                                           1999-97   V8/5.7L    Opt                                       78                     690         7
1993-90   V8/5.0L    Aux Battery                 78                   540          7
                                                                                           1999-94   V8/6.5L    Dsl                                       78 2                   600         7
1993-90   V8/5.7L    Aux Battery                 78                   540          7
                                                                                           1999-94   V8/7.4L                                              78                     600         7
1993-90   V8/7.4L    Primary Battery             78                   630          7
                                                                                           1996-94   V6/4.3L    Opt                                       78                     600         7
1993      V6/4.3L    Aux Battery                 75                   525          5
                                                                                           1996-94   V8/5.7L    Opt                                       78                     600         7
1993      V8/7.4L    Aux Battery                 78                   540          7
                                                                                           1996-90   V6/4.3L                                              75                     525         5
1992-91   V6/4.3L                                78                   600          7
                                                                                           1996-90   V8/5.7L                                              75                     525         5
1992-91   V8/7.4L    Primary Battery             78                   630          7
                                                                                           1993-90   V6/4.3L    Opt                                       78                     630         7
1992-90   V8/7.4L    Aux Battery                 78                   540          7
                                                                                           1993-90   V8/5.7L    Opt                                       78                     630         7
1991-90   V8/6.2L    Dsl                         78 2                 540          7
                                                                                           1993-90   V8/6.2L    Dsl                                       78 2                   540         7
1991-90   V8/7.4L    Aux Battery                 78                   540          7
                                                                                           1993-90   V8/7.4L                                              78                     630         7
1991-90   V8/7.4L    Primary Battery             78                   630          7
                                                                                           1991-90   L4/3.9L                                              75                     500         5
1991      V6/4.3L                                78                   600          7
1991      V8/5.7L    Aux Battery                 78                   540          7       GMC R Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
1991      V8/5.7L                                78                   600          7       GMC Safari
1991      V8/5.7L    Primary Battery             78                   630          7       2005-94   V6/4.3L                                              78                      600         7
1990      V6/4.3L    Primary Battery             75                   525          5       2005-04   V6/4.3L    HD or SEO                                 78                      770         7
1990      V6/4.3L    Opt                         78                   630          7       2003-02   V6/4.3L    Opt                                       78                      770         7
1990      V8/5.0L    Primary Battery             75                   525          5       1993-91   V6/4.3L                                              78                      630         7
1990      V8/5.0L    Opt                         78                   630          7       1990      L4/2.5L                                              75                      525         5
1990      V8/5.7L    Primary Battery             75                   525          5       1990      L4/2.5L    Opt                                       78                      630         7
                                                                                                                                        See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                          47
                                                                                      Original                                                                              Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                       (notes)                    Code
                                                                                     CCA/Rating                                                                            CCA/Rating
    GMC Safari (continued)                                                                                  GMC Savana 3500 (continued)
    1990         V6/4.3L                                          75                   525          5       2005-03   V8/6.0L    Opt                    79                   800         41
    1990         V6/4.3L        Opt                               78                   630          7       2002-99   V8/5.7L    Opt                    78                   690          7
    GMC Savana 1500                                                                                         2002-99   V8/6.5L    Dsl                    78 2                 600         7
    2014-96      V6/4.3L                                          78                   600          7       2002-96   V8/5.7L                           78                   600          7
    2014-10      V6/4.3L        Opt                               78                   770          7       2002-96   V8/6.5L    Dsl, HD                78 2                 690         7
    2014-10      V8/5.3L        Opt                               78                   770          7       2002-01   V8/8.1L                           78                   600          7
    2014-03      V8/5.3L                                          78                   600          7       2002-01   V8/8.1L    Opt                    78                   690          7
    2005-03      V6/4.3L        HD or SEO                         79                   800         41       2000      V8/7.4L                           78                   600          7
    2005-03      V8/5.3L        Opt                               79                   800         41       2000      V8/7.4L    Opt                    78                   690          7
    2002-99      V6/4.3L        Opt                               78                   690          7       1999      V8/7.4L                           78                   630          7
    2002-99      V8/5.0L        Opt                               78                   690          7       1998-96   V8/6.5L    Dsl                    78 2                 600         7
    2002-99      V8/5.7L        Opt                               78                   690          7       1998-96   V8/7.4L                           78                   600          7
    2002-96      V8/5.0L                                          78                   600          7       GMC Sierra 1500
    2002-96      V8/5.7L                                          78                   600          7       2017-16   V6/4.3L                           48                   730         29
    GMC Savana 2500                                                                                         2017      V8/5.3L                           94R                  720         30
    2017         V8/4.8L                                          78                   600          7       2016      V6/4.3L                           94R                  720         30
    2017         V8/4.8L        Opt                               78                   770          7       2016      V8/5.3L                           94R                  720         30
    2017         V8/6.0L                                          78                   600          7       2016      V8/6.2L                           94R                  720         30
    2017         V8/6.0L        Opt                               78                   770          7       2015      V6/4.3L                           48                   730         29
    2016         V8/4.8L                                          78                   600          7       2015      V8/5.3L                           94R                  720         30
    2016         V8/4.8L        Opt                               78                   770          7       2015      V8/6.2L                           94R                  720         30
    2016         V8/6.0L                                          78                   600          7       2014-09   V6/4.3L    Opt                    48                   730         29
    2016         V8/6.0L        Opt                               78                   770          7       2014-09   V8/5.3L    Opt                    48                   730         29
    2016         V8/6.6L        Dsl                               78 2                 770          7
                                                                                                            2014-09   V8/6.2L    Opt                    48                   730         29
    2015         V8/4.8L                                          78                   600          7
                                                                                                            2014-08   V8/6.2L                           48                   615         29
    2015         V8/4.8L        Opt                               78                   770          7
                                                                                                            2014-07   V6/4.3L                           48                   615         29
    2015         V8/6.0L                                          78                   600          7
    2015         V8/6.0L        Opt                               78                   770          7       2014-07   V8/5.3L                           48                   615         29
    2015         V8/6.6L        Dsl                               78 2                 770          7       2014      V8/5.3L                           94R                  720         30
    2014-10      V8/4.8L        Opt                               78                   770          7       2014      V8/6.2L                           94R                  720         30
    2014-10      V8/6.0L        Opt                               78                   770          7       2013-09   V8/4.8L    Opt                    48                   730         29
    2014-07      V8/6.6L        Dsl                               78 2                 770          7       2013-07   V8/4.8L                           48                   615         29
    2014-03      V8/4.8L                                          78                   600          7       2013      V8/6.0L    Hybrid                 48                   730         29
    2014-03      V8/6.0L                                          78                   600          7       2012-10   V8/6.0L    Hybrid                 48                   615         29
    2006         V8/6.6L                                          79 2                 800         41       2012-10   V8/6.0L    Hybrid, HD             48                   730         29
    2005-96      V6/4.3L                                          78                   600          7       2009-07   V8/6.0L                           48                   615         29
    2005-03      V6/4.3L        HD or SEO                         79                   800         41       2009      V8/6.0L    Opt                    48                   730         29
    2005-03      V8/4.8L        Opt                               79                   800         41       2007-99   V6/4.3L                           78                   600          7
    2005-03      V8/5.3L                                          78                   600          7       2007-99   V8/4.8L                           78                   600          7
    2005-03      V8/5.3L        Opt                               79                   800         41       2007-99   V8/5.3L                           78                   600          7
    2005-03      V8/6.0L        Opt                               79                   800         41       2007-02   V8/6.0L                           78                   600          7
    2002-99      V6/4.3L        Opt                               78                   690          7       2007      V8/6.2L    Late                   48                   615         29
    2002-99      V8/5.0L        Opt                               78                   690          7       2007      V8/6.2L    Early                  78                   600          7
    2002-99      V8/5.7L        Opt                               78                   690          7       2006-05   V8/6.0L    Opt                    78                   690          7
    2002-99      V8/6.5L        Dsl                               78 2                 600          7       2006      V6/4.3L    Opt                    78                   690          7
    2002-96      V8/5.0L                                          78                   600          7       2006      V8/4.8L    Opt                    78                   690          7
    2002-96      V8/5.7L                                          78                   600          7       2006      V8/5.3L    Opt                    78                   690          7
    2002-96      V8/6.5L        Dsl, HD                           78 2                 690          7       2005-99   V6/4.3L    Opt                    78                   770          7
    1998-96      V8/6.5L        Dsl                               78 2                 600          7       2005-99   V8/4.8L    Opt                    78                   770          7
    GMC Savana 3500                                                                                         2005-04   V8/5.3L    Opt                    78                   770          7
    2017         V8/4.8L                                          78                   600          7       2004-02   V8/6.0L    Opt                    78                   770          7
    2017         V8/4.8L        Opt                               78                   770          7       2001-99   V8/5.3L    Opt                    78                   770          7
    2017         V8/6.0L                                          78                   600          7       2001      V8/6.0L                           78                   600          7
    2017         V8/6.0L        Opt                               78                   770          7       2001      V8/6.0L    Opt                    78                   770          7
    2016         V8/4.8L                                          78                   600          7       GMC Sierra 1500 Classic
    2016         V8/4.8L        Opt                               78                   770          7       2007      V6/4.3L    Late                   48                   615         29
    2016         V8/6.0L                                          78                   600          7       2007      V6/4.3L    Early                  78                   600          7
    2016         V8/6.0L        Opt                               78                   770          7       2007      V8/4.8L    Late                   48                   615         29
    2016         V8/6.6L        Dsl                               78 2                 770          7       2007      V8/4.8L    Early                  78                   600          7
    2015         V8/4.8L                                          78                   600          7       2007      V8/5.3L    Late                   48                   615         29
    2015         V8/4.8L        Opt                               78                   770          7       2007      V8/5.3L    Early                  78                   600          7
    2015         V8/6.0L                                          78                   600          7       2007      V8/6.0L    Late                   48                   615         29
    2015         V8/6.0L        Opt                               78                   770          7       2007      V8/6.0L    Early                  78                   600          7
    2015         V8/6.6L        Dsl                               78 2                 770          7
    2014-07      V8/6.6L        Dsl                               78 2                 770          7       GMC Sierra 1500 HD Classic
    2014-04      V8/4.8L                                          78                   600          7       2007      V8/6.0L    Late                   48                   615         29
    2014-03      V8/6.0L                                          78                   600          7       2007      V8/6.0L    Early                  78                   600          7
    2014         V8/4.8L        Opt                               78                   770          7       GMC Sierra 1500HD
    2014         V8/6.0L        Opt                               78                   770          7       2006-05   V8/6.0L                           78                   600          7
    2013-10      V8/4.8L        Opt                               78                   770          7       2006      V8/6.0L    Opt                    78                   690          7
    2013-10      V8/6.0L        Opt                               78                   770          7       2005      V8/6.0L    Opt                    78                   770          7
    2006         V8/6.6L                                          79 2                 800         41       2003-01   V8/6.0L                           78                   600          7
    2005-04      V8/4.8L        Opt                               79                   800         41       2003-01   V8/6.0L    Opt                    78                   770          7
    See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                               Costco_001504
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48                                                                                               Automotive/Light Truck
                                                                Original                                                                                                  Original
  Year      Engine                Options     BCI Group Size   Equipment    Fitment     Year      Engine                 Options                       BCI Group Size    Equipment    Fitment
                                                  (notes)                    Code                                                                          (notes)                     Code
                                                               CCA/Rating                                                                                                CCA/Rating
GMC Sierra 2500                                                                       GMC Sonoma
2004-99   V8/6.0L                           78                   600          7       2004-94   V6/4.3L    Opt                                       75                     690
2004-99   V8/6.0L    Opt                    78                   770          7       2004-91   V6/4.3L                                              75                     525         5
2000-99   V8/5.3L                           78                   600          7       2003-96   L4/2.2L                                              75                     525         5
2000-99   V8/5.3L    Opt                    78                   770          7       2002-94   L4/2.2L    Opt                                       75                     690
GMC Sierra 2500 HD Classic                                                            1995-94   L4/2.2L                                              75                     525         5
2007      V8/6.0L    Late                   48                   615         29       1993-91   L4/2.5L                                              75                     525         5
2007      V8/6.0L    Early                  78                   600          7       1993-91   L4/2.5L    Opt                                       78                     630         7
2007      V8/6.6L    Dsl, Late              48 2                 730         29       1993-91   V6/2.8L                                              75                     525         5
2007      V8/6.6L    Dsl, Early             78 2                 770          7       1993-91   V6/2.8L    Opt                                       78                     630         7
2007      V8/8.1L    Late                   48                   615         29       1993-91   V6/4.3L    Opt                                       78                     630         7
2007      V8/8.1L    Early                  78                   600          7       GMC S-Series: Pickup, Jimmy
GMC Sierra 2500HD                                                                     1991-90   V6/4.3L                                              75                     525         5
2017-16   V8/6.6L    Dsl                    48 2                 730         29       1991-90   V6/4.3L    Opt                                       78                     630         7
2017      V8/6.0L                           94R                  720         30       1990      L4/2.5L                                              75                     525         5
2016      V8/6.0L                           94R                  720         30       1990      L4/2.5L    Opt                                       78                     630         7
2016      V8/6.6L    Dsl                    94R 2                720         30       1990      V6/2.8L                                              75                     525         5
2015      V8/6.0L                           94R                  720         30       1990      V6/2.8L    Opt                                       78                     630         7
2015      V8/6.6L    Dsl                    48 2                 730         29       1990      V6/4.3L                                              75                     525         5
2014-11   V8/6.0L    Opt                    48                   730         29       1990      V6/4.3L    Opt                                       78                     630         7
2014-08   V8/6.6L    Dsl                    48 2                 730         29       GMC Syclone
2014      V8/6.0L                           94R                  720         30       1991      V6/4.3L                                              75                     525         5
2013-08   V8/6.0L                           48                   615         29       1991      V6/4.3L    Opt                                       78                     630         7
2009      V8/6.0L    Opt                    48                   730         29
2007      V8/6.0L    Late                   48                   615         29       GMC Terrain
2007      V8/6.0L    Early                  78                   600          7       2017      L4/2.4L                                              47                     525         28
2007      V8/6.6L    Dsl, Late              48 2                 730         29       2017      V6/3.6L                                              48                     660         29
2007      V8/6.6L    Dsl, Early             78 2                 770          7       2016-15   L4/2.4L                                              47                     525         28
2006-03   V8/6.6L    Dsl                    78 2                 770          7       2016      V6/3.6L                                              48                     660         29
2006-01   V8/6.0L                           78                   600          7       2015      V6/3.6L                                              48                     660         29
2006-01   V8/8.1L                           78                   600          7       2014-13   V6/3.6L                                              48                     660         29
2006      V8/6.0L    Opt                    78                   690          7       2014-10   L4/2.4L                                              47                     525         28
2006      V8/8.1L    Opt                    78                   690          7       2012      V6/3.0L                                              48                     660         29
2005-03   V8/8.1L    Opt                    78                   770          7       2011-10   V6/3.0L                                              48                     615         29
2005-01   V8/6.0L    Opt                    78                   770          7       GMC Tracker
2004      V8/6.6L    Dsl                    78 2                 600          7
                                                                                      1991-90 L4/1.6L                                                26                     525
2002-01   V8/6.6L    Dsl                    78 2                 600          7
2002-01   V8/6.6L    Dsl, Opt               78 2                 690          7       GMC Typhoon
2002      V8/8.1L    Opt                    78                   690          7       1993-92 V6/4.3L                                                75                     525         5
GMC Sierra 3500                                                                       1993-92 V6/4.3L      Opt                                       78                     630         7
2006-03   V8/6.6L    Dsl                    78 2                 770          7       GMC V Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
2006-01   V8/6.0L                           78                   600          7       GMC Yukon XL
2006-01   V8/8.1L                           78                   600          7       2017      V8/5.3L                                              94R                    720         30
2006      V8/6.0L    Opt                    78                   690          7       2017      V8/6.2L                                              94R                    720         30
2006      V8/8.1L    Opt                    78                   690          7       2016-15   V8/5.3L                                              94R                    720         30
2005-03   V8/8.1L    Opt                    78                   770          7       2016-15   V8/6.2L                                              94R                    720         30
2005-01   V8/6.0L    Opt                    78                   770          7       GMC Yukon, Yukon XL 1500, Yukon XL 2500
2004      V8/6.6L    Dsl                    78 2                 600          7
                                                                                      2017      V8/5.3L                                              94R                     720        30
2002-01   V8/6.6L    Dsl                    78 2                 600          7
                                                                                      2017      V8/6.2L                                              94R                     720        30
2002-01   V8/6.6L    Dsl, HD                78 2                 690          7
                                                                                      2016      V8/5.3L                                              94R                     720        30
2002      V8/8.1L    Opt                    78                   690          7
                                                                                      2016      V8/6.2L                                              94R                     720        30
GMC Sierra 3500 Classic                                                               2015      V8/5.3L                                              48                      660        29
2007      V8/6.0L    Late                   48                   615         29       2015      V8/5.3L    Opt                                       48                      730        29
2007      V8/6.0L    Early                  78                   600          7       2015      V8/5.3L                                              94R                     720        30
2007      V8/6.6L    Dsl, Late              48 2                 730         29       2015      V8/6.2L                                              48                      660        29
2007      V8/6.6L    Dsl, Early             78 2                 770          7       2015      V8/6.2L    Opt                                       48                      730        29
2007      V8/8.1L    Late                   48                   615         29       2015      V8/6.2L                                              94R                     720        30
2007      V8/8.1L    Early                  78                   600          7       2014-12   V8/5.3L                                              48                      660        29
GMC Sierra 3500HD                                                                     2014-12   V8/6.2L                                              48                      660        29
2017-16   V8/6.6L    Dsl                    48 2                 730         29       2014-09   V8/5.3L    Opt                                       48                      730        29
2017      V8/6.0L                           94R                  720         30       2014-09   V8/6.2L    Opt                                       48                      730        29
2016      V8/6.0L                           94R                  720         30       2013-12   V8/6.0L    Hybrid                                    48                      660        29
2016      V8/6.6L    Dsl                    94R 2                720         30       2013-12   V8/6.0L    Hybrid, HD                                48                      730        29
2015      V8/6.0L                           94R                  720         30       2011-10   V8/6.0L    Hybrid, Opt                               48                      730        29
2015      V8/6.6L    Dsl                    48 2                 730         29       2011-10   V8/6.0L    Opt                                       48                      730        29
2014-09   V8/6.0L    Opt                    48                   730         29       2011-07   V8/5.3L                                              48                      615        29
2014-08   V8/6.6L    Dsl                    48 2                 730         29       2011-07   V8/6.0L                                              48                      615        29
2014      V8/6.0L                           94R                  720         30       2011-07   V8/6.2L                                              48                      615        29
2013-08   V8/6.0L                           48                   615         29       2009-07   V8/4.8L                                              48                      615        29
2007      V8/6.0L    Late                   48 2                 615         29       2009-07   V8/6.0L                                              48                      615        29
2007      V8/6.0L    Early                  78 2                 600          7       2009      V8/4.8L    Opt                                       48                      730        29
2007      V8/6.6L    Dsl, Late              48 2                 730         29       2009      V8/6.0L    Hybrid, HD                                48                      730        29
2007      V8/6.6L    Dsl, Early             78 2                 600          7       2009      V8/6.0L    Opt                                       48                      730        29
                                                                                                                                   See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                 Honda
                                      929
    Automotive/Light Truck                                                                                                                                                           49
                                                                                      Original                                                                               Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                 Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                        (notes)                    Code
                                                                                     CCA/Rating                                                                             CCA/Rating
    GMC Yukon, Yukon XL 1500, Yukon XL 2500 (continued)                                                     Honda Civic (continued)
    2006-01      V8/8.1L                                          78                   600          7       2011-08   L4/2.0L    Can                     51R                  410         11
    2006-00      V8/4.8L                                          78                   600          7       2011-06   L4/1.3L    Hybrid                  151R                 340
    2006-00      V8/5.3L                                          78                   600          7       2007-06   L4/1.8L                            51R                  435         11
    2006-00      V8/6.0L                                          78                   600          7       2007      L4/2.0L                            51R                  440         11
    2006         V8/4.8L        Opt                               78                   690          7       2006-02   L4/2.0L    SI                      51R                  435         11
    2006         V8/5.3L        Opt                               78                   690          7       2005-03   L4/1.3L    Hybrid                  51R 6                410         11
    2006         V8/6.0L        Opt                               78                   690          7       2005-01   L4/1.7L                            51                   410         20
    2006         V8/8.1L        Opt                               78                   690          7       2000-92   L4/1.6L                            51R                  410         11
    2005-03      V8/4.8L        Opt                               78                   770          7       1995-92   L4/1.5L                            51R                  410         11
    2005-03      V8/5.3L        Opt                               78                   770          7       1991-90   L4/1.5L                            51                   405         20
    2005-03      V8/6.0L        Opt                               78                   770          7       1991-90   L4/1.6L                            51                   405         20
    2005-03      V8/8.1L        Opt                               78                   770          7
    2005         V8/5.3L        Option 1                          78                   690          7
                                                                                                            Honda Civic del Sol
    2005         V8/5.3L        Option 2                          78                   770          7       1997-93 L4/1.6L                              51R                  410         11
    2004-03      V8/5.3L        Opt                               78                   770          7       1995-93 L4/1.5L                              51R                  410         11
    2004-03      V8/6.0L        Option 1                          78                   690          7       Honda Crosstour
    2004-03      V8/6.0L        Option 2                          78                   770          7       2015      L4/2.4L                            51R                  500         11
    2002-00      V8/4.8L        Opt                               78                   690          7       2015      V6/3.5L                            24F                  550         23
    2002-00      V8/5.3L        Opt                               78                   690          7       2014      L4/2.4L                            51R                  500         11
    2002-00      V8/6.0L        Opt                               78                   690          7       2014      V6/3.5L                            24F                  550         23
    2001         V8/8.1L        Opt                               78                   690          7       2013-12   L4/2.4L    Calif & Can             35                   440          3
    2000-99      V8/5.7L        Opt                               78                   690          7       2013-12   L4/2.4L    US                      51R                  410         11
    2000-99      V8/5.7L        PPkg or HD                        78                   770          7       2013-12   V6/3.5L                            24F 11               550
    2000-94      V8/5.7L                                          78                   600          7       Honda CR-V
    2000         V8/5.3L        PPkg & Opt                        78                   770          7
                                                                                                            2017      L4/1.5L                            51R                  410         11
    2000         V8/6.0L        PPkg or HD                        78                   770          7
                                                                                                            2017      L4/2.4L                            51R                  410         11
    1997         V8/6.5L        Dsl                               78 2                 600          7
                                                                                                            2016-14   L4/2.4L    Can                     35                   440          3
    1996-94      V8/6.5L        Dsl                               78 2                 770          7
                                                                                                            2016      L4/2.4L                            51R                  410         11
    1993-92      V8/5.7L        Aux Battery                       78                   540          7
                                                                                                            2015      L4/2.4L                            51R                  410         11
    1993-92      V8/5.7L        Primary Battery                   78                   630          7
                                                                                                            2014-02   L4/2.4L                            51R                  410         11
    Honda Accord                                                                                            2001-97   L4/2.0L                            51R                  410         11
    2017         L4/2.0L        Hybrid                            51                   500         20
    2017         L4/2.4L                                          51R                  410         11
                                                                                                            Honda CRX
    2017         V6/3.5L                                          24F 11               550                  1991-90 L4/1.5L                              51                   405         20
    2016-08      V6/3.5L                                          24F 11               550                  1991-90 L4/1.6L                              51                   405         20
    2016         L4/2.4L                                          51R                  410         11       Honda CR-Z
    2015         L4/2.0L        Hybrid                            51                   500         20       2016    L4/1.5L      Hybrid                  151R                 340
    2015         L4/2.4L                                          51R                  410         11       2015    L4/1.5L      Hybrid                  151R                 340
    2014-13      L4/2.4L                                          51R                  410         11       2014-11 L4/1.5L      Hybrid                  151R                 340
    2014         L4/2.0L        Hybrid                            51                   500         20       Honda Element
    2013         L4/2.4L        Calif & Can                       35                   440          3       2011-03 L4/2.4L                              51R                  410         11
    2012-08      L4/2.4L        Calif, AT                         35                   440          3       Honda Fit
    2012-08      L4/2.4L        Ex Calif, AT                      51R                  410         11
                                                                                                            2017      L4/1.5L                            151R                 340
    2009-03      L4/2.4L                                          51R                  435         11
                                                                                                            2016      L4/1.5L                            151R                 340
    2007-03      V6/3.0L                                          35                   440          3
                                                                                                            2015      L4/1.5L                            151R                 340
    2002-98      L4/2.3L                                          35                   450          3
                                                                                                            2014-13              Electric                151R                 340
    2002-98      V6/3.0L                                          24                   500         22
                                                                                                            2014-07   L4/1.5L                            151R                 340
    1997-96      V6/2.7L                                          24                   500         22
    1997-94      L4/2.2L                                          24F                  550         23       Honda HR-V
    1995         V6/2.7L                                          24F                  550         23       2017      L4/1.8L                            51R                  500         11
    1993-90      L4/2.2L                                          24                   550         22       2016      L4/1.8L                            51R                  500         11
    Honda Accord Crosstour                                                                                  Honda Insight
    2011-10 V6/3.5L                                               24F    11
                                                                                       550                  2014-10 L4/1.3L      Hybrid                  151R                 340
                                                                                                            2006-00 L3/1.0L      Hybrid                  51                   270         20
    Honda Civic
    2017         L4/1.5L                                          51R                  410         11       Honda Odyssey
    2017         L4/2.0L                                          51R                  410         11       2017      V6/3.5L                            24F                  630         23
    2016         L4/1.5L                                          51R                  410         11       2016      V6/3.5L                            24F                  730
    2016         L4/2.0L                                          51R                  410         11       2015      V6/3.5L                            24F                  550         23
    2015         L4/1.5L        Hybrid                            151R                 340                  2014-05   V6/3.5L                            24F 11               550
    2015         L4/1.8L                                          51R                  410         11       2004-99   V6/3.5L                            24F                  550         23
    2015         L4/2.4L                                          51R                  410         11       1998      L4/2.3L                            24F                  550         23
    2014         L4/1.5L        Hybrid                            151R                 340                  1997-95   L4/2.2L                            24F                  550         23
    2014         L4/1.8L                                          51R                  410         11       Honda Passport
    2014         L4/2.4L                                          51R                  410         11       2002-98   V6/3.2L                            24F                  600         23
    2013-12      L4/1.5L        Hybrid                            151R                 340                  1997-96   V6/3.2L                            24                   600         22
    2013-12      L4/2.4L        US                                51R                  310         11       1996      L4/2.6L    Opt                     24                   600         22
    2013-12      L4/2.4L        Can                               51R                  410         11       1996      L4/2.6L                            86                   430         31
    2013-08      L4/1.8L        US                                51R                  310         11       1995-94   L4/2.6L                            25                   380          6
    2013-08      L4/1.8L        Can                               51R                  410         11       1995-94   V6/3.2L    AT                      24                   600         22
    2011-08      L4/2.0L        US                                51R                  310         11       1995-94   V6/3.2L    MT                      25                   380          6
    See page 88 for Footnotes. Selection may vary by warehouse.

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50                                                                                                   Automotive/Light Truck
                                                                    Original                                                                                                Original
  Year      Engine                    Options     BCI Group Size   Equipment    Fitment     Year      Engine               Options                       BCI Group Size    Equipment    Fitment
                                                      (notes)                    Code                                                                        (notes)                     Code
                                                                   CCA/Rating                                                                                              CCA/Rating
Honda Pilot                                                                               Hyundai Elantra (continued)
2017      V6/3.5L                               48                   620         29       2009-07   L4/2.0L                                            121R                   550         39
2017      V6/3.5L    Elite, Touring             48 33                650                  2006      L4/2.0L                                            124R                   500         27
2016      V6/3.5L    FWD                        48                   620         29       2005-04   L4/2.0L                                            124R                   560         27
2016      V6/3.5L    SH-AWD                     48 33                650                  2003-99   L4/2.0L                                            124R                   550         27
2016      V6/3.5L                               48                   N/A         29       1998-97   L4/1.8L                                            121R                   600         39
2016      V6/3.5L    Elite, Touring             48 33                N/A                  1996-93   L4/1.8L    Can & Opt                               24                     540         22
2015      V6/3.5L                               24F 11               550
                                                                                          1996-93   L4/1.8L                                            25                     435         6
2014-03   V6/3.5L                               24F 11               550
                                                                                          1995-92   L4/1.6L    Can & Opt                               24                     540         22
Honda Prelude                                                                             1995-92   L4/1.6L                                            25                     435         6
2001-92   L4/2.2L                               24F                  550         23
1996-92   L4/2.3L                               24F                  550         23
                                                                                          Hyundai Elantra Coupe
1991-90   L4/2.0L                               24                   550         22       2014      L4/2.0L                                            47                     550
1991-90   L4/2.1L                               24                   550         22       2013      L4/1.8L                                            47                     550
Honda Ridgeline                                                                           Hyundai Elantra GT
2017      V6/3.5L                               48                   620         29       2017-16   L4/2.0L                                            121R                   600         39
2014-11   V6/3.5L                               24F                  550         23       2016      L4/2.0L    MT                                      47                     410         28
2010-06   V6/3.5L                               24F                  585         23       2016      L4/2.0L                                            47                     600
2006      V6/3.5L                               24F                  550         23       2015      L4/2.0L                                            47                     550
Honda S2000                                                                               2014      L4/2.0L                                            47                     550
                                                                                          2013      L4/1.8L                                            47                     550
2009-04 L4/2.2L                                 51                   430         20
2003-00 L4/2.0L                                 51                   430         20       Hyundai Entourage
Hummer H1                                                                                 2010-07 V6/3.8L                                              124R                   600         27
2006    V8/6.6L                                 79                   840         41       Hyundai Equus
2004-03 V8/6.5L                                 79 2                 840         41       2016      V8/5.0L                                            49 50                  740
2002    V8/6.5L                                 78                   770          7       2016      V8/5.0L                                            49                     760
Hummer H2                                                                                 2015      V8/5.0L                                            49 50                  740
2009-08 V8/6.2L                                 48                   730         29       2014-12   V8/5.0L                                            49 54                  740
2007-03 V8/6.0L                                 79                   840         41       2011      V8/4.6L                                            49                     740
Hummer H3                                                                                 Hyundai Excel
2010      L5/3.7L                               86 40                590         31       1994-90 L4/1.5L                                              25                     420         6
2010      V8/5.3L                               86 40                590         31       Hyundai Genesis
2009      L5/3.7L                               86 11, 40            590                  2016      V6/3.8L                                            49 50                  740
2009      V8/5.3L                               86 11, 40            590                  2015      V6/3.8L                                            49 50                  740
2008-07   L5/3.7L                               86 11, 40            640                  2014      V6/3.8L                                            49 50                  740
2008      V8/5.3L                               86 11, 40            640                  2013-12   V8/5.0L                                            124                    600
2006      L5/3.5L                               86 11, 40            640                  2013-09   V6/3.8L    Sedan                                   49 54                  740
Hummer H3T                                                                                2012-09   V8/4.6L    Sedan                                   49 54                  740
2010      L5/3.7L                               86 40                590         31       Hyundai Genesis Coupe
2010      V8/5.3L                               86 40                590         31       2016      V6/3.8L                                            124R                   700         27
2009      L5/3.7L                               86 11, 40            590
                                                                                          2016      V6/3.8L                                            49                     740
2009      V8/5.3L                               86 11, 40            590
                                                                                          2015      V6/3.8L                                            124R                   600         27
Hyundai Accent                                                                            2014-10   L4/2.0L                                            124R                   600         27
2016      L4/1.6L                               47                   600                  2014-10   V6/3.8L                                            124R                   600         27
2016      L4/1.6L                               48                   550         29
                                                                                          Hyundai Santa Fe
2015      L4/1.6L                               48                   550         29
2014      L4/1.6L                               48                   550         29       2016      L4/2.0L                                            124R                   600         27
2013-01   L4/1.6L                               121R                 500         39       2016      L4/2.0L                                            124R                   700         27
2003-01   L4/1.5L                               121R                 500         39       2016      L4/2.4L                                            124R                   600         27
2000-98   L4/1.5L                               121R                 435         39       2016      L4/2.4L                                            124R                   700         27
1997-95   L4/1.5L                               121R                 410         39       2016      V6/3.3L                                            124R                   600         27
1997-95   L4/1.5L    Opt                        121R                 580         39       2016      V6/3.3L                                            124R                   700         27
Hyundai Azera                                                                             2015      L4/2.0L                                            124R                   600         27
                                                                                          2015      L4/2.4L                                            124R                   600         27
2017-16   V6/3.3L                               124R                 600         27
                                                                                          2015      V6/3.3L                                            124R                   600         27
2016      V6/3.3L                               124R                 700         27
                                                                                          2014-13   L4/2.0L                                            124R                   600         27
2015      V6/3.3L                               124R                 600         27
2014-07   V6/3.3L                               124R                 600         27       2014-13   V6/3.3L                                            124R                   600         27
2011-06   V6/3.8L                               124R                 600         27       2014-10   L4/2.4L                                            124R                   600         27
                                                                                          2012-10   V6/3.5L                                            124R                   600         27
Hyundai Elantra                                                                           2009-07   V6/3.3L                                            124R                   600         27
2016-15   L4/1.8L                               47                   550                  2009-01   V6/2.7L                                            124R                   600         27
2016-15   L4/2.0L                               47                   550
                                                                                          2006-03   L4/2.4L                                            124R                   600         27
2016      L4/1.8L    MT                         47                   410         28
                                                                                          2006-03   V6/3.5L                                            124R                   600         27
2016      L4/1.8L                               47                   600
                                                                                          2002      L4/2.4L                                            124R                   550         27
2016      L4/2.0L    MT                         47                   410         28
                                                                                          2001      L4/2.4L                                            124R                   660         27
2016      L4/2.0L                               47                   600
2014-11   L4/1.8L                               47                   550                  Hyundai Santa Fe XL
2014      L4/2.0L                               47                   550                  2016      V6/3.3L                                            124R                    600        27
2013-11   L4/1.8L    Opt                        48                   550         29       2016      V6/3.3L                                            124R                    700        27
2012-11   L4/2.0L                               47                   550                  2015      V6/3.3L                                            124R                    600        27
2012-11   L4/2.0L    Opt                        48                   550         29       2014      V6/3.3L                                            124R                    600        27
2010      L4/2.0L                               121R                 600         39       2013      V6/3.3L                                            124R                    600        27
                                                                                                                                     See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                 Infiniti
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    Automotive/Light Truck                                                                                                                                                             51
                                                                                      Original                                                                                 Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                   Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                          (notes)                    Code
                                                                                     CCA/Rating                                                                               CCA/Rating
    Hyundai Scoupe                                                                                          Infiniti FX37
    1995-94 L4/1.5L             Can & Opt                         24                   540         22       2013      V6/3.7L                              24F                  720
    1995-94 L4/1.5L             Can or Opt                        N/A 45               540                  Infiniti FX45
    1993-91 L4/1.5L                                               25                   420          6       2008-07   V8/4.5L                              24F                  550         23
    Hyundai Sonata                                                                                          2008-06   V8/4.5L    w/Intelligent Key         24F                  750
    2016-15      L4/1.6L                                          94R 33               800                  2008-06   V8/4.5L    w/o Intelligent Key       35                   550          3
    2016-15      L4/2.0L                                          48 33                760                  2006-03   V8/4.5L                              35                   490          3
    2016-15      L4/2.4L                                          94R 33               800                  Infiniti FX50
    2016         L4/2.0L        Hybrid                            H6R 45, 50           600                  2013-09 V8/5.0L                                24F                  720
    2015-11      L4/2.4L        Hybrid                            H6R 45, 50           600
    2014         L4/2.0L                                          48 33                760
                                                                                                            Infiniti G20
    2014         L4/2.4L                                          48 33                760                  2002-99 L4/2.0L                                24F                  585         23
    2013-11      L4/2.0L                                          124R                 600         27       1996-91 L4/2.0L      Ex Calif                  24F                  585         23
    2013-06      L4/2.4L                                          124R                 600         27       1996-91 L4/2.0L      Calif                     35                   360         3
    2010         V6/3.3L                                          124R                 700         27       Infiniti G25
    2009-06      V6/3.3L                                          124R                 600         27       2012-11 V6/2.5L                                24F                  720
    2005-03      L4/2.4L                                          124R                 560         27       2012-11 V6/2.5L                                35                   585          3
    2005-02      V6/2.7L                                          124R                 600         27       Infiniti G35
    2002-99      L4/2.4L                                          124R                 550         27       2008      V6/3.5L                              35                   550         3
    2001         V6/2.5L                                          124R                 600         27       2007-03   V6/3.5L    Sedan                     24F                  550         23
    2000-99      V6/2.5L                                          124R                 540         27       2007-03   V6/3.5L    Coupe                     35                   550         3
    1998-92      L4/2.0L        Opt                               24                   540         22       2006-03   V6/3.5L                              35                   490         3
    1998-92      L4/2.0L                                          25                   420          6
                                                                                                            Infiniti G37
    1998-90      V6/3.0L                                          24                   540         22
                                                                                                            2013-08 V6/3.7L                                35                   585          3
    1991-90      L4/2.4L        Opt                               24                   540         22
    1991-90      L4/2.4L                                          25                   420          6       Infiniti I30
    Hyundai Tiburon                                                                                         2001-98   V6/3.0L                              24F                  585         23
                                                                                                            1997-96   V6/3.0L    Calif                     24F                  415         23
    2008-03      L4/2.0L                                          124R                 600         27
    2008-03      V6/2.7L                                          124R                 600         27       1997-96   V6/3.0L    Can & Opt                 24F                  585         23
    2001-97      L4/2.0L                                          124R                 600         27       1997-96   V6/3.0L    US                        35                   360         3
    1997         L4/1.8L                                          124R                 600         27       Infiniti I35
    Hyundai Tucson                                                                                          2004-03 V6/3.5L                                24F                  445         23
    2016-15                                                       47                   410         28       2002    V6/3.5L                                24F                  585         23
    2016-15                     Electric/Hydrogen                 47                   600                  Infiniti J30
    2016         L4/1.6L                                          124R                 600         27       1997-93 V6/3.0L                                24                   585         22
    2016         L4/1.6L                                          48                   640         29       Infiniti JX35
    2016         L4/2.0L                                          124R                 600         27       2013      V6/3.5L                              24F                  720
    2016         L4/2.0L                                          48                   640         29       Infiniti M30
    2015         L4/2.0L                                          124R                 600         27
                                                                                                            1992      V6/3.0L    Ex Conv                   24                   415         22
    2015         L4/2.4L                                          124R                 600         27
                                                                                                            1992      V6/3.0L    Opt                       24                   585         22
    2014-11      L4/2.0L                                          124R                 600         27
                                                                                                            1992      V6/3.0L    Conv                      25                   360          6
    2014-10      L4/2.4L                                          124R                 600         27
                                                                                                            1991-90   V6/3.0L                              24                   415         22
    2009-05      L4/2.0L                                          124R                 600         27
    2009-05      V6/2.7L                                          124R                 600         27       Infiniti M35
    Hyundai Veloster                                                                                        2010-06 V6/3.5L                                24F                  700         23
    2016-15      L4/1.6L        Turbo                             47                   550                  Infiniti M37
    2016         L4/1.6L        Non Turbo                         121R                 550         39       2013-11 V6/3.7L                                24F                  700         23
    2016         L4/1.6L        Turbo                             47                   410         28       Infiniti M45
    2015         L4/1.6L        Non Turbo                         121R                 550         39       2010-07   V8/4.5L                              24F                  750
    2014-12      L4/1.6L        Non Turbo                         121R                 550         39       2006      V8/4.5L                              24F                  750
    2014         L4/1.6L                                          47                   550                  2004      V8/4.5L                              24 45                490         22
    2013-12      L4/1.6L                                          121R                 600         39       2003      V8/4.5L                              24                   585         22
    2013         L4/1.6L        Turbo                             47                   550                  Infiniti M56
    Hyundai Veracruz                                                                                        2013-11 V8/5.6L                                24F                  750
    2012-09 V6/3.8L                                               124R                 660         27       Infiniti Q40
    2008-07 V6/3.8L                                               124R                 600         27
                                                                                                            2015      V6/3.7L                              35                   585          3
    Hyundai XG300                                                                                           Infiniti Q45
    2001         V6/3.0L                                          124R                 600         27
                                                                                                            2006-02 V8/4.5L                                24F                  585         23
    Hyundai XG350                                                                                           2001-97 V8/4.1L                                24                   585         22
    2005-02 V6/3.5L                                               124R                 600         27       1996-90 V8/4.5L                                27                   625         35
    Infiniti EX35                                                                                           Infiniti Q50
    2012-08 V6/3.5L                                               35                   585          3       2016      V6/3.5L    Ex HEV w/o EFB            35                   640          3
    Infiniti EX37                                                                                           2015      V6/3.5L    Hybrid                    35                   585          3
    2013         V6/3.7L                                          24F                  720         23       2015      V6/3.7L                              35                   585          3
    Infiniti FX35                                                                                           2014      V6/3.5L    Hybrid                    N/A 59               585
    2012-09      V6/3.5L                                          35                   585         3        2014      V6/3.7L                              35                   585          3
    2008-07      V6/3.5L                                          24F                  550         23       Infiniti Q60
    2008-07      V6/3.5L        w/Intelligent Key                 24F                  750                  2015      V6/3.7L                              24F                  720
    2008-07      V6/3.5L        w/o Intelligent Key               35                   550          3       2014      V6/3.7L                              24F                  720
    2006-03      V6/3.5L                                          35                   490          3       2014      V6/3.7L                              35                   585          3
    See page 88 for Footnotes. Selection may vary by warehouse.

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52                                                                                               Automotive/Light Truck
                                                                Original                                                                                                      Original
  Year      Engine                Options     BCI Group Size   Equipment    Fitment     Year      Engine                     Options                       BCI Group Size    Equipment    Fitment
                                                  (notes)                    Code                                                                              (notes)                     Code
                                                               CCA/Rating                                                                                                    CCA/Rating
Infiniti Q70                                                                          Isuzu Impulse
2016      V6/3.7L                           35                   585          3       1992-90 L4/1.6L                                                    35                     355         3
2016      V8/5.6L                           24F                  700         23       1992    L4/1.8L                                                    35                     355         3
2015      V6/3.5L    Hybrid                 35 50                585                  Isuzu Oasis
2015      V6/3.7L                           35                   585          3       1999-98 L4/2.3L                                                    24F                    550         23
2015      V8/5.6L                           35                   585          3       1997-96 L4/2.2L                                                    24F                    550         23
2014      V6/3.5L    Hybrid                 35 50                585
2014      V6/3.7L                           35                   585          3
                                                                                      Isuzu Pickup
2014      V8/5.6L                           35                   585          3       1995-90   L4/2.3L    MT                                            25                     430         6
                                                                                      1995      L4/2.3L    AT                                            24                     600         22
Infiniti Q70L
                                                                                      1995      L4/2.6L                                                  24                     600         22
2016      V6/3.7L                           35                   585          3
                                                                                      1994-91   V6/3.1L                                                  25                     430         6
2016      V8/5.6L                           35                   585          3
                                                                                      1994-90   L4/2.3L    AT                                            24                     600         22
2015      V6/3.7L                           35                   585          3
                                                                                      1994-90   L4/2.6L    AT                                            24                     600         22
2015      V8/5.6L                           35                   585          3
                                                                                      1994-90   L4/2.6L    MT                                            25                     430         6
Infiniti QX4
                                                                                      Isuzu Rodeo
2003      V6/3.5L                           24                   490         22
2002      V6/3.5L                           25                   360          6       2004-98   V6/3.2L                                                  24F                    600         23
2001      V6/3.5L                           24                   490         22       2004      V6/3.5L                                                  24                     650         22
2000-97   V6/3.3L    HD, w/HS & Can         24                   450         22       2003-98   L4/2.2L                                                  24F                    600         23
2000-97   V6/3.3L    US                     25                   360          6       2003-01   V6/3.2L    Can & Opt                                     27F                    625         36
Infiniti QX50                                                                         2003      L4/2.2L    Can & Opt                                     27F                    625         36
                                                                                      1997-93   L4/2.6L                                                  86                     430         31
2016      V6/3.7L    Opt                    24F                  720
2016      V6/3.7L                           35                   550          3       1997      V6/3.2L                                                  24                     600         22
2015      V6/3.7L                           24F                  720                  1996-93   V6/3.2L    AT                                            24                     600         22
2014      V6/3.7L                           24F                  720                  1996-93   V6/3.2L    MT                                            86                     430         31
Infiniti QX56                                                                         1996      L4/2.6L    Opt                                           24                     600         22
                                                                                      1992-91   L4/2.6L    Opt                                           24                     610         22
2013-11 V8/5.6L                             27                   782         35
                                                                                      1992-91   L4/2.6L                                                  25                     380         6
2010    V8/5.6L                             27F                  710         36
2009-04 V8/5.6L                             27F                  710         36       1992-91   V6/3.1L    AT, HD                                        24                     610         22
                                                                                      1992-91   V6/3.1L    MT                                            25                     380         6
Infiniti QX60
2015      L4/2.5L    Hybrid                 51R                  500         11       Isuzu Rodeo Sport
2015      V6/3.5L                           24F                  720                  2003      L4/2.2L    US                                            24F                    600         23
2014      L4/2.5L    Hybrid                 51R                  500         11       2003      L4/2.2L    Can or Opt                                    27F                    625         36
2014      V6/3.5L                           24F                  720                  2003      V6/3.2L    US                                            24F                    600         23
Infiniti QX70                                                                         2003      V6/3.2L    Can or Opt                                    27F                    625         36
                                                                                      2002-01   L4/2.2L                                                  24F                    600         23
2016-15 V6/3.7L      Opt                    24F                  720
                                                                                      2002-01   V6/3.2L                                                  24F                    600         23
2016    V6/3.7L                             35                   550          3
2014    V6/3.7L                             24F                  720                  Isuzu Stylus
Infiniti QX80                                                                         1993-91 L4/1.6L                                                    35                     355         3
                                                                                      1992    L4/1.8L                                                    35                     355         3
2016-14 V8/5.6L                             27                   780         35
Isuzu Amigo                                                                           Isuzu Trooper
2000-98   L4/2.2L                           24F                  600         23       2002-01   V6/3.5L    MT                                            24                     585         22
2000-98   V6/3.2L                           24F                  600         23       2002-01   V6/3.5L    HD or w/AT                                    27                     625         35
1994-92   L4/2.6L    AT                     24                   600         22       2000-98   V6/3.5L    MT                                            24                     580         22
1994-90   L4/2.6L    MT                     25                   430          6       2000-98   V6/3.5L    AT                                            27                     625         35
1993-92   L4/2.3L    AT                     24                   600         22       1997-95   V6/3.2L    MT                                            24                     580         22
1993-90   L4/2.3L    MT                     25                   430          6       1997-95   V6/3.2L    AT                                            27                     625         35
1991-90   L4/2.3L    AT                     24                   600         22       1994-92   V6/3.2L    MT                                            24                     490         22
1991-90   L4/2.6L    AT                     24                   600         22       1994-92   V6/3.2L    AT                                            24                     580         22
Isuzu Ascender                                                                        1994-92   V6/3.2L    Opt                                           27                     620         35
                                                                                      1991-90   L4/2.6L    AT                                            24                     490         22
2008-03 L6/4.2L                             78 40                600          7
                                                                                      1991-90   L4/2.6L    MT                                            25                     350         6
2006-03 V8/5.3L                             78 40                600          7
                                                                                      1991-90   V6/2.8L    AT                                            24                     490         22
Isuzu Axiom                                                                           1991-90   V6/2.8L    MT                                            25                     350         6
2004-02 V6/3.5L                             24F                  600         23
                                                                                      Isuzu VehiCROSS
Isuzu Hombre                                                                          2001-99 V6/3.5L      Opt                                           27                     625         35
2000-97   V6/4.3L                           75                   525          5       2001    V6/3.5L                                                    24                     585         22
2000-97   V6/4.3L    Opt                    75                   690                  2000-99 V6/3.5L                                                    24                     580         22
2000-96   L4/2.2L                           75                   525          5
2000-96   L4/2.2L    Opt                    75                   690
                                                                                      Jaguar F-Pace
                                                                                      2017      L4/2.0L                                                  94R 33                 850
Isuzu i-280                                                                           2017      V6/3.0L                                                  94R 33                 850
                                                 11, 40
2006      L4/2.8L                           86                   640
                                                                                      Jaguar F-Type
Isuzu i-290
                                                                                      2017      V6/3.0L                                                  49 33, 54               900
2008      L4/2.9L                           86 40                640
                                                                                      2017      V8/5.0L                                                  49 33, 54               900
2007      L4/2.9L                           86 11, 40            640
                                                                                      2016-15   V6/3.0L    Primary Battery                               49 33                   900
Isuzu i-350                                                                           2016-15   V8/5.0L    Primary Battery                               49 33                   900
                                                 11, 40
2006      L5/3.5L                           86                   640                  2014      V6/3.0L    Primary Battery                               49 33                   850
Isuzu i-370                                                                           2014      V6/3.0L                                                  49 33, 54               900
2008      L5/3.7L                           86 40                640                  2014      V8/5.0L    Primary Battery                               49 33                   850
2007      L5/3.7L                           86 11, 40            640                  2014      V8/5.0L                                                  49 33, 54               900
                                                                                                                                       See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                     Costco_001509
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    Automotive/Light Truck                                                                                                                                                     53
                                                                                      Original                                                                         Original
       Year       Engine                     Options                BCI Group Size   Equipment    Fitment     Year      Engine           Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                  (notes)                    Code
                                                                                     CCA/Rating                                                                       CCA/Rating
    Jaguar S-Type                                                                                           Jaguar XJ8
    2008-07    V6/3.0L                                            49 50                950                  2009-07   V8/4.2L                      49 50                950
    2008-03    V6/3.0L                                            49 50                800         33       2009-04   V8/4.2L                      49 50               90 Ah        33
    2008-03    V8/4.2L                                            49 50                800         33       2006-04   V8/4.2L                      49 54                750         33
    2008       V8/4.2L                                            49 54                850         33       2003-98   V8/4.0L                      49                   680         33
    2007       V8/4.2L                                            49 50                950                  Jaguar XJR
    2006-03    V6/3.0L                                            49 54                750         33       2009-07   V8/4.2L                      49 50                800         33
    2006-03    V8/4.2L                                            49 54                750         33       2009-07   V8/4.2L                      49 50                950
    2002-00    V6/3.0L                                            49 54                680         33       2006-04   V8/4.2L                      49 50                750         33
    2002-00    V8/4.0L                                            49 54                680         33       2003-98   V8/4.0L                      49                   680         33
    Jaguar Super V8                                                                                         1997      L6/4.0L                      49                   680         33
    2009-07 V8/4.2L                                               93 50                800                  1996-95   L6/4.0L                      47                   590
    2006-05 V8/4.2L                                               93                   680                  Jaguar XJR-S
    Jaguar Vanden Plas                                                                                      1993      V12/6.0L                     47                   590
    2009       V8/4.2L                                            93 50                680                  Jaguar XJS
    2008-04    V8/4.2L                                            93                   680                  1996-95   L6/4.0L                      48                   600         29
    2003-98    V8/4.0L                                            49                   680         33       1995-94   V12/6.0L                     47 5, 50             590
    1997       L6/4.0L                                            93                   680                  1994-92   L6/4.0L                      47 5, 50             590
    1996-94    L6/4.0L                                            47 5, 50             590                  1992-91   V12/5.3L                     47 5, 50             590
    1993       L6/4.0L                                            47                   640                  1990      V12/5.3L                     N/A 30, 54           590
    1992-91    L6/4.0L                                            47 5, 50             590
                                                                                                            Jaguar XK
    Jaguar XE                                                                                               2015-14   V8/5.0L                      93                   800
                                                                       33
    2017       L4/2.0L                                            94R                  850                  2013-10   V8/5.0L                      93 50                800
    2017       V6/3.0L                                            94R 33               850
                                                                                                            2013      V8/5.0L                      49 50                800
    Jaguar XF                                                                                               2012      V8/5.0L    Opt               49 54                800         33
    2017       L4/2.0L                                            94R 33               850                  2011-10   V8/5.0L                      49 54                800         33
    2017       V6/3.0L                                            94R 33               850                  2009-07   V8/4.2L                      93 50                800
    2016-14    V6/3.0L                                            94R 33               850                  Jaguar XK8
    2015-14    L4/2.0L                                            49                   800
                                                                                                            2006      V8/4.2L                      49 54                750         33
    2015-14    V6/3.0L     Flex                                   49 33                900
                                                                                                            2005-04   V8/4.2L                      49 50                750         33
    2015-14    V8/5.0L     Primary Battery                        49 33                900
                                                                                                            2003      V8/4.2L                      49                   680         33
    2013-12    V8/5.0L     Can (from VIN S30208)                  49 33, 50            850
                                                                                                            2002-97   V8/4.0L                      49                   680         33
    2013       L4/2.0L                                            49 50                800
    2013       L4/2.0L     GTDi                                   49                  90 Ah        33       Jaguar XKE
    2013       V6/3.0L     Primary Battery                        49 33                850                  1967-64 L6/4.2L                        22F                  250
    2013       V6/3.0L                                            49 33                900                  1964-61 L6/3.8L                        22F                  250
    2013       V8/5.0L     Primary Battery                        49 33, 54            800                  Jaguar XKR
    2012-10    V8/5.0L                                            49 50                800         33       2015-14   V8/5.0L                      93                   800
    2012-10    V8/5.0L     Can (to VIN S30207)                    49 50               90 Ah        33       2013-10   V8/5.0L                      49 54                800         33
    2010-09    V8/4.2L                                            49 50                800         33       2009-07   V8/4.2L                      93 50                800
    Jaguar XFR                                                                                              2006-04   V8/4.2L                      49 50                750         33
    2015-14 V8/5.0L                                               49 50                800                  2003      V8/4.2L                      49                   680         33
    2015-14 V8/5.0L        Primary Battery                        49 33                900                  2002-00   V8/4.0L                      49                   680         33
    2013-10 V8/5.0L        S/C                                    49 50                800         33       Jaguar XKR-S
    Jaguar XFR-S                                                                                            2015-14 V8/5.0L                        93                   800
    2015-14    V8/5.0L                                            49 50                800                  2013    V8/5.0L                        49 50                800         33
    2015-14    V8/5.0L     Primary Battery                        49 33                900                  2012    V8/5.0L                        49 54                800         33
    2013       V8/5.0L     S/C                                    49 33, 50            800                  Jaguar X-Type
    2013       V8/5.0L     S/C                                    49 50                800                  2008-07   V6/3.0L                      47                   520         28
    Jaguar XJ                                                                                               2006-04   V6/3.0L                      94R                  700         30
    2017       V6/3.0L                                            49 33                900                  2005-02   V6/2.5L                      94R                  700         30
    2017       V8/5.0L                                            49 33                900                  2003-02   V6/2.5L                      94R                  640         30
    2016-14    V6/3.0L     Primary Battery                        49 33                900                  2003-02   V6/3.0L                      94R                  640         30
    2016       V8/5.0L     Aux Battery                            49 33                900                  Jeep Cherokee
    2016       V8/5.0L     Primary Battery                        49 33                900                  2017      L4/2.4L                      48 33, 50            600
    2015-14    V8/5.0L                                            49 33, 50            800                  2017      V6/3.2L                      94R                  730         30
    2015-14    V8/5.0L                                            49 33, 50            900                  2016      L4/2.4L                      48 33, 50            600
    2013-12    V8/5.0L     Can (from VIN V26780)                  49 33, 50            850                  2016      V6/3.2L                      94R 33, 50           730
    2013       V6/3.0L     Primary Battery                        49 33, 50            800                  2015      L4/2.4L                      48 33, 50            600
    2013       V8/5.0L     Primary Battery                        49 33, 50            800                  2015      V6/3.2L                      94R                  730         30
    2012-11    V8/5.0L                                            49 50                800         33       2014      L4/2.4L    w/AGM             48 33, 50            600
    2012-11    V8/5.0L     Can (to VIN V26779)                    49 50                900         33       2014      V6/3.2L                      94R                  730         30
    Jaguar XJ12                                                                                             2001-98   L6/4.0L                      34                   500          9
    1996-94 V12/6.0L                                              47 5, 50             590                  2000-98   L4/2.5L                      34                   500          9
    1992-91 V12/5.3L                                              47 5, 50             590                  1997-90   L4/2.5L                      58                   430          8
    1990    V12/5.3L                                              34 6                 590          9       1997-90   L4/2.5L    Opt               58                   500          8
    Jaguar XJ6                                                                                              1997-90   L6/4.0L                      58                   430          8
    1997-95 L6/4.0L                                               49 50                800         33       1997-90   L6/4.0L    Opt               58                   500          8
    1994-93 L6/4.0L                                               48 50                640         29       Jeep Comanche
    1992-90 L6/4.0L Must use Jaguar tray DBC 10489                48 50                640         29       1992-90 L4/2.5L                        58                   430          8
    1991-90 L6/4.0L Opt                                           42                   450                  1992-90 L4/2.5L      Opt               58                   500          8
    See page 88 for Footnotes. Selection may vary by warehouse.

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54                                                                                                   Automotive/Light Truck
                                                                    Original                                                                                               Original
  Year      Engine                    Options     BCI Group Size   Equipment    Fitment     Year      Engine              Options                       BCI Group Size    Equipment    Fitment
                                                      (notes)                    Code                                                                       (notes)                     Code
                                                                   CCA/Rating                                                                                             CCA/Rating
Jeep Comanche (continued)                                                                 Jeep Grand Wagoneer
1992-90 L6/4.0L                                 58                   430          8       1993    V8/5.2L                                             34                     600         9
1992-90 L6/4.0L      Opt                        58                   500          8       1991-90 V8/5.9L                                             58                     500         8
Jeep Commander                                                                            Jeep Liberty
2010      V6/3.7L                               94R                  625         30       2012-03   V6/3.7L                                           34                     600         9
2010      V8/5.7L                               94R                  625         30       2006-05   L4/2.8L    Dsl                                    N/A 45                 800
2009      V6/3.7L                               94R                  730         30       2005-03   L4/2.4L                                           34                     600         9
2009      V8/4.7L                               94R                  730         30       2002      L4/2.4L                                           86                     525         31
2009      V8/5.7L                               94R                  730         30       2002      V6/3.7L                                           86                     525         31
2008      V6/3.7L    Late                       94R                  625         30       Jeep Patriot
2008      V6/3.7L    Early                      94R                  730         30       2017      L4/2.0L                                           86                     525         31
2008      V8/4.7L    Late                       94R                  625         30       2017      L4/2.4L                                           86                     525         31
2008      V8/4.7L    Early                      94R                  730         30       2016      L4/2.0L                                           86                     525         31
2008      V8/5.7L    Late                       94R                  625         30       2016      L4/2.4L                                           86                     525         31
2008      V8/5.7L    Early                      94R                  730         30       2015      L4/2.0L                                           86                     525         31
2007-06   V6/3.7L                               94R 50               730         30       2015      L4/2.4L                                           86                     525         31
2007-06   V8/4.7L                               94R 50               730         30       2014-07   L4/2.0L                                           86                     525         31
2007-06   V8/5.7L                               94R 50               730         30       2014-07   L4/2.4L                                           86                     525         31
Jeep Compass                                                                              Jeep Renegade
2017      L4/2.0L    Start/Stop                 47 33                500                  2016-15 L4/1.4L                                             48                     600         29
2017      L4/2.0L    w/o Start/Stop             48                   600         29       2016-15 L4/2.4L                                             48                     600         29
2017      L4/2.0L                               86                   525         31       Jeep TJ
2017      L4/2.4L    Start/Stop                 47 33                500                  2006-05   L4/2.4L                                           34                     600         9
2017      L4/2.4L    w/o Start/Stop             48                   600         29       2006-02   L6/4.0L                                           34                     600         9
2017      L4/2.4L                               86                   525         31       2003      L4/2.4L                                           34                     600         9
2016      L4/2.0L                               86                   525         31       2002      L4/2.5L                                           34                     600         9
2016      L4/2.4L                               86                   525         31       2001-97   L4/2.5L                                           34                     500         9
2015      L4/2.0L                               86                   525         31       2001-97   L6/4.0L                                           34                     500         9
2015      L4/2.4L                               86                   525         31       Jeep Wagoneer
2014-07   L4/2.0L                               86                   525         31       1990      L6/4.0L                                           58                     430         8
2014-07   L4/2.4L                               86                   525         31       1990      L6/4.0L    Opt                                    58                     500         8
Jeep Grand Cherokee                                                                       Jeep Wrangler
2017-16   V6/3.6L    Aux for Start/Stop         401  33
                                                                     200                  2016      V6/3.6L                                           48 33, 50              600
2017      V6/3.0L    Aux for Start/Stop         401 33               200                  2015      V6/3.6L                                           48 33, 50              600
2016      V6/3.0L                               49 33, 50            800                  2014      V6/3.6L                                           48 33, 50              600
                                                                                          2013-12   V6/3.6L                                           48                     600         29
2016      V6/3.6L                               49 33, 50            800
                                                                                          2011-07   V6/3.8L                                           34                     600         9
2016      V8/5.7L                               94R 33, 50           730                  2006-03   L4/2.4L    Incl TJ                                34                     600         9
2016      V8/6.4L                               94R 33, 50           730                  2006-02   L6/4.0L    Incl TJ                                34                     600         9
2015      V6/3.0L    Dsl                        49 33, 50            800                  2002      L4/2.5L    Incl TJ                                34                     600         9
2015      V6/3.6L                               49 33, 50            800                  2001-97   L4/2.5L    Incl TJ                                34                     500         9
2015      V8/5.7L                               94R 33, 50           730                  2001-97   L6/4.0L    Incl TJ                                34                     500         9
2015      V8/6.4L                               94R 33, 50           730                  2000-97   L4/2.5L    Opt                                    34                     600         9
2014-11   V8/5.7L                               94R 33, 50           700                  2000-97   L6/4.0L    Opt                                    34                     600         9
2014      V6/3.0L    Dsl                        49 33                800                  1995-91   L6/4.0L                                           58                     430         8
2014      V6/3.6L                               49 33                800                  1995-91   L6/4.0L    Opt                                    58                     500         8
2014      V8/5.7L                               94R 33               730                  1995-90   L4/2.5L                                           58                     430         8
2014      V8/6.4L                               94R 33, 50           730                  1995-90   L4/2.5L    Opt                                    58                     500         8
2013-12   V8/6.4L                               94R 33, 50           700                  1990      L4/2.5L    YJ                                     55                     420
2013-11   V6/3.6L                               94R 33, 50           700                  1990      L4/2.5L    YJ & Opt                               56                     450
2010      V6/3.7L                               94R                  625         30       1990      L4/2.5L    YJ HD                                  56                     500
2010      V8/5.7L                               94R                  625         30       1990      L6/4.2L    YJ                                     55                     420
                                                                                          1990      L6/4.2L    YJ & Opt                               56                     450
2010      V8/6.1L                               94R                  625         30
                                                                                          1990      L6/4.2L    YJ HD                                  56                     500
2009-08   V6/3.0L    Dsl                        49                   800                  1990      L6/4.2L                                           58                     430         8
2009-06   V8/6.1L                               94R                  730         30       1990      L6/4.2L    Opt                                    58                     500         8
2009-05   V6/3.7L                               94R                  730         30
2009-05   V8/4.7L                               94R                  730         30
                                                                                          Kia Amanti
                                                                                          2009-07 V6/3.8L                                             124R                   600         27
2009-05   V8/5.7L                               94R                  730         30
                                                                                          2006-05 V6/3.5L                                             124R                   600         27
2008      V6/3.7L    Late                       94R                  625         30
                                                                                          2004    V6/3.5L                                             34R                    600
2008      V6/3.7L    Early                      94R                  730         30
2008      V8/4.7L    Late                       94R                  625         30       Kia Borrego
2008      V8/4.7L    Early                      94R                  730         30       2011-09 V6/3.8L                                             124R                   600         27
2008      V8/5.7L    Late                       94R                  625         30       2011-09 V8/4.6L                                             N/A 45                 900
2008      V8/5.7L    Early                      94R                  730         30       Kia Cadenza
2008      V8/6.1L    Late                       94R                  625         30       2017      V6/3.3L                                           94R 33                 800
2008      V8/6.1L    Early                      94R                  730         30       2016      V6/3.3L                                           124R                   660         27
2007      V6/3.0L    Dsl                        94R                  730         30       2015      V6/3.3L                                           124R                   660         27
2004-99   L6/4.0L                               65                   625         4        2014      V6/3.3L                                           124R                   660         27
2004-99   V8/4.7L                               65                   625         4        Kia Forte
1998-93   L6/4.0L                               34                   600         9        2017    L4/2.0L      LX                                     47 33                   N/A
1998-93   V8/5.2L                               34                   600         9        2017    L4/2.0L      Ex LX                                  48                      640        29
1998      V8/5.9L                               34                   600         9        2016-15 L4/2.0L                                             48                      640        29
                                                                                                                                    See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                              Lamborghini
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    Automotive/Light Truck                                                                                                                                                           55
                                                                                      Original                                                                               Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment      Year     Engine                 Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                        (notes)                    Code
                                                                                     CCA/Rating                                                                             CCA/Rating
    Kia Forte (continued)                                                                                   Kia Sedona (continued)
    2016-14      L4/1.8L                                          47                   550                  2015      V6/3.3L    R-MDPS                  49 33                850
    2016-14      L4/2.0L                                          47                   550                  2014      V6/3.5L                            124R                 660         27
    2014         L4/2.0L                                          48                   640         29       2012-11   V6/3.5L                            124R                 660         27
    2014         L4/2.0L                                          48                   660         29       2010-06   V6/3.8L                            124R                 600         27
    2013-10      L4/2.0L                                          121R                 550         39       2005-03   V6/3.5L                            24F                  500         23
    2013-10      L4/2.4L                                          121R                 550         39       2002      V6/3.5L                            24F                  600         23
    Kia Forte 5                                                                                             Kia Sephia
    2017         L4/1.6L        Ex LX                             47                   550                  2001-95 L4/1.8L                              90 45                450         37
    2017         L4/1.6L        LX                                47 33                N/A                  1997-94 L4/1.6L                              56 23                450
    2017         L4/2.0L        LX                                47 33                N/A                  Kia Sorento
    2017         L4/2.0L        Ex LX                             48                   640         29
                                                                                                            2017      L4/2.0L                            94R 33               800
    2016-14      L4/1.6L                                          47                   550
                                                                                                            2017      L4/2.4L                            94R 33               800
    2016-14      L4/2.0L                                          48                   640         29
                                                                                                            2017      V6/3.3L                            94R 33               800
    2013-12      L4/2.0L                                          121R                 550         39
                                                                                                            2016      L4/2.0L    AGM                     94R 33               800
    2013-12      L4/2.4L                                          121R                 550         39
                                                                                                            2016      L4/2.4L    AGM                     94R 33               800
    Kia Forte Koup                                                                                          2016      V6/3.3L    AGM                     94R 33               800
    2016-15      L4/1.6L                                          47                   600                  2015      L4/2.4L                            124R                 660         27
    2016-15      L4/2.0L                                          48                   640         29       2015      V6/3.3L                            124R                 660         27
    2015         L4/1.6L                                          121R                 550         39       2014      L4/2.4L                            124R                 600         27
    2015         L4/2.0L                                          121R                 550         39       2014      V6/3.3L                            124R                 660         27
    2014-10      L4/2.0L                                          121R                 550         39       2013-11   L4/2.4L                            124R                 700         27
    2014         L4/1.6L                                          121R                 550         39       2013-11   V6/3.5L                            124R                 700         27
    2014         L4/1.6L                                          47                   600                  2009-08   V6/3.3L                            124                  600
    2014         L4/2.0L                                          48                   640         29       2009-07   V6/3.8L                            124                  600
    2013-12      L4/2.4L                                          121R                 550         39       2006-03   V6/3.5L                            124                  600
    2011-10      L4/2.4L                                          121R                 550         39
                                                                                                            Kia Soul
    Kia K900                                                                                                2017      L4/1.6L    w/o ISG and Turbo       121R                 550         39
                                                                       33
    2016-15 V6/3.8L                                               95R                  950                  2017      L4/1.6L    w/ISG or Turbo          48 33                760
    2016-15 V8/5.0L                                               95R 33               950                  2017      L4/2.0L                            48 33                760
    Kia Magentis                                                                                            2016-13   L4/1.6L    w/ISG                   48 33                760
    2010-02 V6/2.7L                                               124R                 600         27       2016-13   L4/2.0L    w/ISG                   48 33                760
    2010-01 L4/2.4L                                               124R                 600         27       2016      L4/1.6L    w/o ISG                 121R                 550         39
    2001    V6/2.5L                                               124R                 600         27       2016      L4/1.6L    w/o ISG                 121R                 600         39
    Kia Optima                                                                                              2016      L4/2.0L    w/o ISG                 121R                 600         39
    2017-16      L4/1.6L                                          94R 33               800                  2015-10   L4/2.0L    w/o ISG                 121R                 550         39
    2017-16      L4/2.4L                                          94R 33               800                  2015      L4/1.6L    w/o ISG                 121R                 550         39
    2017         L4/2.0L                                          48 33                760                  2014-13   L4/1.6L    w/o ISG                 121R                 550         39
    2017         L4/2.0L        Hybrid                            48 33                760                  2012-10   L4/1.6L    w/o ISG                 121R                 410         39
    2016         L4/2.0L                                          48 33                760                  2012-10   L4/1.6L                            121R                 550         39
    2015-11      L4/2.4L        Hybrid                            H6R 45, 50           600                  Kia Soul EV
    2015         L4/2.0L                                          124R                 600         27       2017-15              Electric                121R                 600         39
    2015         L4/2.4L        Gas                               48 33                760
    2015         L4/2.4L        Hybrid                            48R                  600
                                                                                                            Kia Spectra
    2014-11      L4/2.0L                                          124R                 600         27       2009-04 L4/2.0L                              121R 6               540         39
    2014-11      L4/2.4L        Hybrid                            48R 45, 52           600                  2004    L4/1.8L                              121R 6               540         39
    2014         L4/2.4L        Gas                               48 33                760                  2003-00 L4/1.8L                              90 6                 450         37
    2013-04      L4/2.4L        Ex Hybrid                         124R                 600         27       Kia Spectra 5
    2010-02      V6/2.7L                                          124R                 600         27       2009-05 L4/2.0L                              121R 6               540         39
    2003-01      L4/2.4L                                          47 45                600                  Kia Sportage
    2001         V6/2.5L                                          47 45                600                  2017      L4/2.0L                            48                   640         29
    Kia Rio                                                                                                 2017      L4/2.4L                            48                   640         29
    2017-14      L4/1.6L        w/o ISG                           121R                 550         39       2016      L4/2.0L                            124R                 600         27
    2017-13      L4/1.6L        w/ISG                             48 33                760                  2016      L4/2.4L                            124R                 600         27
    2016         L4/1.6L        w/o ISG                           121R                 600         39       2015      L4/2.0L                            124R                 600         27
    2013-12      L4/1.6L                                          121R                 550         39       2015      L4/2.4L                            124R                 600         27
    2011-03      L4/1.6L                                          35                   500         3        2014-11   L4/2.4L                            124R                 600         27
    2002-01      L4/1.5L                                          35                   500         3        2014-05   L4/2.0L                            124R                 600         27
    Kia Rio 5                                                                                               2010-05   V6/2.7L                            124R                 600         27
    2011-06 L4/1.6L                                               35                   500          3       2002      L4/2.0L    From VIN 5593488        86                   540         31
    Kia Rondo                                                                                               2001-00   L4/2.0L    From VIN 5593488        86 7                 540         31
    2017         L4/2.0L                                          124R                 600         27       2000      L4/2.0L    To 5/16/2000            58 7                 470          8
    2016-14      L4/2.0L                                          124R                 600         27       1999      L4/2.0L                            58 7                 470          8
    2012-07      L4/2.4L                                          124R                 600         27       1999      L4/2.0L    From VIN 5593488        86                   540         31
    2012-07      V6/2.7L                                          124R                 600         27       1998-95   L4/2.0L    To VIN 5593487          58 6                 470          8
    Kia Sedona                                                                                              Lamborghini Aventador
    2017        V6/3.3L non R-MDPS                                124R                 660         27       2012      V12/6.5L                           49 54                800
    2017        V6/3.3L R-MDPS                                    49 33                850                  Lamborghini Diablo
    2016        V6/3.3L                                           124R                 660         27       2001-00 V12/6.0L                             34R 50               700
    2016        V6/3.3L AGM, R-MDPS                               49 33                850                  2000-91 V12/5.7L                             34R 50               700
    2015        V6/3.3L                                           124R                 660         27       1990    V12/5.7L                             34R 54               700
    See page 88 for Footnotes. Selection may vary by warehouse.

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56                                                                                                      Automotive/Light Truck
                                                                       Original                                                                                                       Original
  Year      Engine                     Options       BCI Group Size   Equipment    Fitment     Year      Engine                      Options                       BCI Group Size    Equipment    Fitment
                                                         (notes)                    Code                                                                               (notes)                     Code
                                                                      CCA/Rating                                                                                                     CCA/Rating
Lamborghini Gallardo                                                                         Land Rover Range Rover (continued)
2012-09 V10/5.2L                                   49 50                800                  2002-99   V8/4.6L    Bosch IGN from VIN XA410482                    31A 9                  600
2009-08 V10/5.0L                                   49 50                800                  2000-99   V8/4.0L                                                   30H                    900
2007-04 V10/5.0L                                   34 50                700                  2000-99   V8/4.0L    Bosch IGN from VIN XA410482                    31A 9                  600
Lamborghini Murcielago                                                                       1999-95   V8/4.0L    GEM-IGN to XA410481                            29H 9                  600
2010-08 V12/6.5L                                   49 50                800                  1998-96   V8/4.6L                                                   31A                    660
2007-06 V12/6.5L                                   34R 50               700                  1998-95   V8/4.0L                                                   30H                    825
2007-01 V12/6.2L                                   34R 50               700                  1995-94   V8/4.2L    Classic Series I                               34 9                   600         9
Land Rover Defender 110                                                                      1995      V8/3.9L                                                   30H                    825
1993      V8/3.9L                                  24                   600         22       1995      V8/4.2L                                                   24 9                   600         22
1993      V8/3.9L                                  29H 9                600                  1994-90   V8/3.9L    US                                             24 9                   600         22
Land Rover Defender 90                                                                       1994-90   V8/3.9L    Can                                            24 9                   900
1997      V8/4.0L                                  24 9                 600         22       1994-90   V8/3.9L    Classic Series                                 34 9                   600         9
1997      V8/4.0L                                  29H 9                600                  1994      V8/4.2L    US                                             24 9                   600         22
1995-94   V8/3.9L                                  24 9                 600         22       1994      V8/4.2L    Can                                            24 9                   900
1995-94   V8/3.9L                                  29H 9                600                  1993      V8/4.2L    US                                             24 9                   600         22
Land Rover Discovery                                                                         1993      V8/4.2L    Can                                            24 9                   900
2004-03 V8/4.6L      Series II, Use with adapter   34 9                 700          9       Land Rover Range Rover Evoque
                     No. 358310                                                              2016      L4/2.0L                                                   94R 33                 800
2003      V8/4.6L                                  24 9                 590         22       2015      L4/2.0L                                                   94R 33, 50, 54         800
2002-00   V8/4.0L                                  24 9                 600         22       2014-12   L4/2.0L                                                   94R                   80 Ah        30
1999      V8/4.0L                                  24 9                 600         22
                                                                                             2014      L4/2.0L                                                   94R 33, 50, 54         800
1998-96   V8/4.0L    LJ Ser 1, Use L/R adapter     34                   600         9
                                                                                             2013-12   L4/2.0L                                                   94R 50, 54             770
1998-96   V8/4.0L    LJ Ser 1, Use L/R adapter     34 9                 600          9
1995-94   V8/3.9L                                  34                   600         9        Land Rover Range Rover Sport
Land Rover Discovery Sport                                                                   2016-15   V6/3.0L                                                   49 33                  900
2016-15 L4/2.0L                                    94R    33
                                                                        850                  2016      V6/3.0L    Dsl                                            49 33                  900
2016-15 L4/2.0L      AGM                           94R 33, 50, 54       850                  2016      V8/5.0L                                                   49 33                  900
2016-15 L4/2.0L      Aux Battery                   94R 33               850                  2016      V8/5.0L                                                   49 33                  N/A
                                                                                             2015      V6/3.0L                                                   94R                    720         30
Land Rover Freelander
                                                                                             2015      V8/5.0L                                                   49 33                  900
2005-04 V6/2.5L                                    47                   480         28
                                                                                             2015      V8/5.0L                                                   94R                    720         30
2005-02 V6/2.5L                                    48                   680         29
                                                                                             2014      V6/3.0L    Primary Battery                                49 33                  900
2003-02 V6/2.5L                                    91                   690
                                                                                             2014      V8/5.0L    Primary Battery                                49 33                  900
Land Rover LR2                                                                               2013-10   V8/5.0L                                                   94R                    720         30
2015    L4/2.0L                                    94R                  720         30       2009-06   V8/4.2L                                                   49                     720         33
2014-13 L4/2.0L                                    94R                  720         30       2009-06   V8/4.4L                                                   49                     720         33
2012-08 L6/3.2L                                    94R                  720         30
                                                                                             Lexus CT200h
Land Rover LR3                                                                               2017    L4/1.8L      Hybrid                                         S46B24R 33, 45, 50, 55 325
2009-08   V6/4.0L                                  94R                  700         30       2016-15 L4/1.8L      Hybrid                                         S46B24R 33, 50, 55 325
2009-08   V8/4.4L                                  94R                  700         30
                                                                                             2014-11 L4/1.8L      Hybrid                                         S46B24R 33, 50, 55 325
2009-05   V6/4.0L                                  49                   720         33
2009-05   V8/4.4L                                  49                   720         33       Lexus ES250
2007-05   V8/4.4L                                  94R                  700         30       1991-90 V6/2.5L                                                     35                     360         3
2007      V6/4.0L                                  94R                  700         30       Lexus ES300
Land Rover LR4                                                                               2003-92 V6/3.0L      Opt                                            24F                    585         23
2016      V6/3.0L                                  94R                  720         30       2003-92 V6/3.0L                                                     35                     360         3
2015      V6/3.0L                                  94R                  720         30       Lexus ES300h
2014      V6/3.0L                                  94R                  720         30       2017      L4/2.5L    Hybrid                                         S65D26R 33, 45, 50, 61 450
2013-10   V8/5.0L                                  94R                  720         30       2016      L4/2.5L                                                   S65D26R                325
Land Rover Range Rover                                                                       2016      L4/2.5L    Hybrid                                         S65D26R 33, 45, 50, 61 450
2016      V6/3.0L                                  49 33                900                  2015      L4/2.5L    Hybrid                                         S65D26R 33, 50         450
2016      V8/5.0L                                  49 33                900                  2014-13   L4/2.5L    Hybrid                                         S65D26R 33, 50         325
2015      V6/3.0L                                  49                   720         33       2014-13   L4/2.5L    Hybrid                                         S65D26R 33, 45, 50, 61 450
2015      V6/3.0L                                  49 33                900                  Lexus ES330
2015      V8/5.0L                                  49                   720         33
                                                                                             2006-04 V6/3.3L                                                     24F                    585         23
2015      V8/5.0L                                  49 33                900
2014-13   V8/5.0L    Primary Battery               49 33                900                  Lexus ES350
2014      V6/3.0L                                  49 33                900                  2017      V6/3.5L                                                   24F                    585         23
2012-11   V8/5.0L    Can only                      49 33                850                  2016      V6/3.5L                                                   24F                    580         23
2012-10   V8/5.0L                                  49                   720         33       2016      V6/3.5L                                                   24F                    585         23
2012      V8/5.0L    US (from VIN CA361272)        49 33                850                  2015      V6/3.5L                                                   24F                    585         23
2009-07   V8/4.2L                                  49                   800                  2014-07   V6/3.5L                                                   24F                    585         23
2009-07   V8/4.4L                                  49                   800                  Lexus GS F
2009-06   V8/4.2L    Can only                      49                   720         33       2017-16 V8/5.0L                                                     24                     585         22
2009-06   V8/4.2L    US (to VIN CA361271)          49                   720         33       2016    V8/5.0L                                                     24                     580         22
2009-06   V8/4.4L    Can only                      49                   720         33
2009-06   V8/4.4L    US (to VIN CA361271)          49                   720         33
                                                                                             Lexus GS Turbo
2006-03   V8/4.4L                                  95R                  850                  2017      L4/2.0L                                                   24                     585         22
2006      V8/4.2L                                  95R                  850                  Lexus GS200t
2005-03   V8/4.4L                                  93                   800                  2016      L4/2.0L                                                   24                      580        22
2002-99   V8/4.6L                                  30H                  900                  2016      L4/2.0L                                                   24                      585        22
                                                                                                                                               See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                          57
                                                                                      Original                                                                              Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                       (notes)                    Code
                                                                                     CCA/Rating                                                                            CCA/Rating
    Lexus GS300                                                                                             Lexus LS600h
    2006    V6/3.0L                                               24                   585         22       2016    V8/5.0L                             S75D31L            450
    2005-98 L6/3.0L                                               24                   585         22       2015    V8/5.0L      Hybrid                 S75D31L 33, 45, 50 450
    1997-93 L6/3.0L                                               24F                  585         23       2014-08 V8/5.0L      Hybrid                 S75D31L 33, 50     450
    Lexus GS350                                                                                             Lexus LX450
    2017-15      V6/3.5L                                          24                   585         22       1997-96 L6/4.5L                             27F                   625        36
    2016         V6/3.5L                                          24                   580         22       Lexus LX470
    2015         V6/3.5L                                          24                   580         22       2007-03 V8/4.7L                             27F                   710        36
    2014-13      V6/3.5L                                          24                   585         22       2002    V8/4.7L                             27F                   585        36
    2011-07      V6/3.5L                                          24                   585         22       2001-98 V8/4.7L                             27F                   650        36
    Lexus GS400                                                                                             Lexus LX570
    2000-98 V8/4.0L                                               24                   585         22       2017-16   V8/5.7L                           27F                   710        36
    Lexus GS430                                                                                             2015      V8/5.7L                           27F                   710        36
    2007-01 V8/4.3L                                               24                   585         22       2014-13   V8/5.7L                           27F                   710        36
    Lexus GS450h                                                                                            2011-08   V8/5.7L                           27F                   710        36
    2017         V6/3.5L        Hybrid                            S65D26L 33, 45, 50, 61 360                Lexus NX200t
    2016         V6/3.5L                                          S65D26L                360                2017      L4/2.0L                           24F                   580        23
    2015         V6/3.5L        Hybrid                            S65D26L 33, 50         360                2016      L4/2.0L                           24F                   580        23
    2014-13      V6/3.5L        Hybrid                            S65D26L 33, 50         360                2015      L4/2.0L                           24F                   580        23
    2011-07      V6/3.5L        Hybrid                            S65D26L 33, 50         360                Lexus NX300h
    Lexus GS460                                                                                             2017-15 L4/2.5L      Hybrid                 47                    460        28
    2011-08 V8/4.6L                                               24                   585         22       Lexus RC Turbo
    Lexus GX460                                                                                             2017      L4/2.0L                           24                    585        22
    2017         V8/4.6L                                          24F                  585         23       Lexus RC200t
    2016         V8/4.6L                                          24F                  585         23       2016      L4/2.0L                           24                    580        22
    2015         V8/4.6L                                          24F                  585         23       2016      L4/2.0L                           24                    585        22
    2014-10      V8/4.6L                                          24F                  585         23       Lexus RC300
    Lexus GX470                                                                                             2017-16 V6/3.5L                             24                    585        22
    2009-03 V8/4.7L                                               27F                  710         36       2016    V6/3.5L                             24                    580        22
    Lexus HS250h                                                                                            Lexus RC350
    2012    L4/2.4L             Hybrid                            S55D23R 33, 45, 50, 55 360                2017-15 V6/3.5L                             24                    585        22
    2011-10 L4/2.4L             Hybrid                            S55D23R 33, 50, 54, 55 360                Lexus RX300
    Lexus IS F                                                                                              2003-99 V6/3.0L                             24F                   585        23
    2014-08 V8/5.0L                                               24                   585         22       Lexus RX330
    Lexus IS Turbo                                                                                          2006-04 V6/3.3L                             24F                   585        23
    2017         L4/2.0L                                          24                   585         22       Lexus RX350
    Lexus IS200t                                                                                            2016    V6/3.5L                             24F                   585        23
    2016         L4/2.0L                                          24                   580         22       2015    V6/3.5L                             24F 55                585        23
    2016         L4/2.0L                                          24                   585         22       2014-07 V6/3.5L                             24F                   585        23
    Lexus IS250                                                                                             Lexus RX400h
    2015    V6/2.5L                                               24                   585         22       2008-06 V6/3.3L      Hybrid                 51R                   435        11
    2014-06 V6/2.5L                                               24                   585         22       Lexus RX450h
    Lexus IS300                                                                                             2017      V6/3.5L    Hybrid                 47                     460       28
    2017-16 V6/3.5L                                               24                   585         22       2016      V6/3.5L    Hybrid                 47                     355       28
    2016    V6/3.5L                                               24                   580         22       2016      V6/3.5L    Hybrid                 47                     460       28
    2005-01 L6/3.0L                                               24                   585         22       2015      V6/3.5L    Hybrid                 S55D23L 33, 45, 50, 55 360
                                                                                                                                                                33, 45, 50, 55
    Lexus IS350                                                                                             2014-11   V6/3.5L    Hybrid                 S55D23L                356
    2017         V6/3.5L                                          24                   585         22       2014-11   V6/3.5L    Hybrid                 S55D23L 33, 45, 50, 55, 61360
    2016         V6/3.5L                                          24                   585         22       2010      V6/3.5L    Hybrid                 S55D23L 33, 45, 50, 55 360
    2015         V6/3.5L                                          24                   585         22       Lexus SC300
    2014-06      V6/3.5L                                          24                   585         22       2000-97 L6/3.0L                             24F                   585        23
    Lexus LFA                                                                                               1996-92 L6/3.0L                             27F                   450        36
    2012         V10/4.8L                                         S75D31R 33, 45, 50, 55 450                Lexus SC400
    Lexus LS400                                                                                             2000-93 V8/4.0L                             27F                   625        36
                                                                                                            1992    V8/4.0L                             27F                   450        36
    2000-95 V8/4.0L                                               24F                  585         23
                                                                                                            1992    V8/4.0L      Opt                    27F                   625        36
    1994-90 V8/4.0L                                               27F                  580         36
    Lexus LS430                                                                                             Lexus SC430
                                                                                                            2010-03 V8/4.3L                             48                    585        29
    2006-01 V8/4.3L                                               24F                  585         23
                                                                                                            2002    V8/4.3L                             48                    625        29
    Lexus LS460                                                                                             Lincoln Aviator
    2016         V8/4.6L        w/o PTC Heater                    24                   585         22
                                                                                                            2005-03 V8/4.6L                             65                    650         4
    2016         V8/4.6L        w/PTC Heater                      27                   660         35
    2016         V8/4.6L        Cold Climate Pkg                  27                   680         35       Lincoln Blackwood
    2015         V8/4.6L        w/o PTC Heater                    24                   580         22       2002      V8/5.4L                           65                    650         4
    2015         V8/4.6L        w/o PTC Heater                    24                   585         22       Lincoln Continental
    2015         V8/4.6L        w/PTC Heater                      27                   660         35       2017      V6/2.7L                           94R                   730        30
    2014-13      V8/4.6L        w/PTC Heater                      27                   660         35       2017      V6/3.0L                           94R                   730        30
    2014-07      V8/4.6L                                          24                   585         22       2017      V6/3.7L    Non Livery             48                    610        29
    2014-07      V8/4.6L        Cold Weather Pkg                  27                   710         35       2017      V6/3.7L    Livery                 94R                   730        30
    See page 88 for Footnotes. Selection may vary by warehouse.

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58                                                                                                   Automotive/Light Truck
                                                                    Original                                                                                                  Original
  Year      Engine                    Options     BCI Group Size   Equipment    Fitment     Year      Engine                 Options                       BCI Group Size    Equipment    Fitment
                                                      (notes)                    Code                                                                          (notes)                     Code
                                                                   CCA/Rating                                                                                                CCA/Rating
Lincoln Continental (continued)                                                           Lincoln MKZ (continued)
2002-97   V8/4.6L                               65                   750          4       2016      L4/2.0L                                              90                     590         37
1996-95   V8/4.6L                               65                   850          4       2016      V6/3.7L                                              90                     590         37
1994-90   V6/3.8L                               65                   650          4       2015-13   L4/2.0L    Hybrid                                    67R 50                 390
1994      V6/3.8L    Opt                        65                   850          4       2015      L4/2.0L    Gas                                       90                     590         37
1993-90   V6/3.8L    w/HWS                      65                   850          4       2015      V6/3.7L                                              90                     590         37
Lincoln LS                                                                                2014-13   L4/2.0L    Gas                                       90                     590         37
2006-00   V8/3.9L                               66 50                650                  2014-13   L4/2.0L    Ex Hybrid                                 96R                    500         32
2005-01   V6/3.0L    Opt                        66 50                750                  2014-13   V6/3.7L                                              90                     590         37
2005-01   V8/3.9L    Opt                        66 50                750                  2013      L4/2.0L    Opt                                       96R                    590         32
2005-00   V6/3.0L                               66 50                650                  2012-11   L4/2.5L    Hybrid                                    67R                    390
Lincoln Mark LT                                                                           2012-10   V6/3.5L                                              96R                    500         32
2008-06 V8/5.4L      LT                         59                   540         34       2009-07   V6/3.5L                                              96R                    590         32
2008-06 V8/5.4L      LT, HD                     65                   650          4       Lincoln Navigator
Lincoln Mark VII                                                                          2017      V6/3.5L                                              65                     750         4
1992-90 V8/5.0L                                 65                   850          4       2016      V6/3.5L                                              65                     750         4
Lincoln Mark VIII                                                                         2015      V6/3.5L                                              65                     750         4
1998-97 V8/4.6L      Opt                        65                   750          4       2014-98   V8/5.4L    w/o Heated Seats                          65                     650         4
1998-93 V8/4.6L      US                         65                   650          4       2014-08   V8/5.4L    HD or Heated Seats                        65                     750         4
1996-93 V8/4.6L      HD or Can                  65                   850          4       2007      V8/5.4L    Climate seats                             65                     750         4
Lincoln MKC                                                                               2006-98   V8/5.4L    Can & Opt                                 65                     750         4
2017      L4/2.0L    w/o Start/Stop             48                   610         29       Lincoln Town Car
2017      L4/2.0L    w/Start/Stop               48 33                760                  2011-06   V8/4.6L    Short Wheel Base                          65                     650         4
2017      L4/2.3L                               48                   610         29       2011-06   V8/4.6L    HD & Long Wheel Base                      65                     750         4
2016      L4/2.0L                               48                   610         29       2005-99   V8/4.6L    Limo, HD                                  65                     750         4
2016      L4/2.3L                               48                   610         29       2005-97   V8/4.6L    Ex Limo                                   65                     650         4
2015      L4/2.0L                               48                   610         29       1998-97   V8/4.6L    Limo, HD                                  65                     850         4
2015      L4/2.3L                               48                   610         29       1996-95   V8/4.6L    Ex HWS or Limo                            65                     650         4
Lincoln MKS                                                                               1996-95   V8/4.6L    HWS or HD, Limo                           65                     850         4
2016      V6/3.5L                               65                   650          4       1994-91   V8/4.6L    Ex HWS                                    65                     650         4
2016      V6/3.7L                               65                   650          4       1994-91   V8/4.6L    w/HWS                                     65                     850         4
2015      V6/3.5L                               65                   650          4       1990      V8/5.0L    Ex HWS                                    65                     650         4
2015      V6/3.7L                               65                   650          4       1990      V8/5.0L    w/HWS                                     65                     850         4
2014-10   V6/3.5L                               65                   650          4       Lincoln Zephyr
2014-09   V6/3.7L                               65                   650          4
                                                                                          2006      V6/3.0L                                              40R                    590         19
Lincoln MKT                                                                               Lotus Elise
2017      V6/3.5L                               65                   750          4
                                                                                          2009-08 L4/1.8L                                                47 50                  520         28
2017      V6/3.7L                               65                   750          4
                                                                                          2007-05 L4/1.8L                                                26R                    550         38
2016-15   V6/3.5L                               65                   750          4
2016-15   V6/3.7L                               65                   750          4       Lotus Exige
2016      L4/2.0L                               65                   650          4       2009-08 L4/1.8L                                                48 50                  600         29
2016      V6/3.5L                               65                   650          4       2007-06 L4/1.8L                                                26R                    550         38
2016      V6/3.7L                               65                   650          4       Maserati Coupe
2015      L4/2.0L                               65                   650          4       2007-03 V8/4.2L      Coupe                                     48 50, 54              785
2015      L4/2.0L                               65                   750          4       Maserati GranSport
2015      V6/3.5L                               65                   650          4
                                                                                          2007-05 V8/4.2L      Coupe                                     48 50, 54              785
2015      V6/3.7L                               65                   650          4
2014-13   V6/3.5L                               65                   750          4       Maserati GranTurismo
2014-13   V6/3.7L                               65                   750          4       2013-09 V8/4.7L                                                48 50, 54              600         29
2014      L4/2.0L                               65                   650          4       2011-08 V8/4.2L                                                48 50, 54              600         29
2013      L4/2.0L                               65                   650          4       Maserati Quattroporte
2012-10   V6/3.5L                               65                   650          4       2013-09 V8/4.7L                                                49 50, 54              850
2012-10   V6/3.5L    Opt                        65                   750          4       2011-08 V8/4.2L                                                48 50, 54              600         29
2012-10   V6/3.7L                               65                   650          4       2007-04 V8/4.2L                                                48 50, 54              785
2012-10   V6/3.7L    Opt                        65                   750          4
                                                                                          Maserati Spyder
Lincoln MKX                                                                               2006-02 V8/4.2L                                                48 50, 54              785
2017      V6/2.7L    w/o Start/Stop             94R                  730         30
2017      V6/2.7L    w/Start/Stop               94R 33               800
                                                                                          Maybach 57
2017      V6/3.7L                               94R 33               800                  2012-06   V12/6.0L                                             49 33, 50, 54          850
2016      V6/2.7L                               94R                  730         30       2012-06   V12/6.0L                                             49 33                 95 Ah
2016      V6/3.7L                               94R                  730         30       2012-06   V12/6.0L Opt                                         49 33, 50, 54          950
2015      V6/3.7L                               65                   650         4        2012-03   V12/5.5L                                             49 33, 50, 54          850
2014-11   V6/3.7L                               65                   650         4        2012-03   V12/5.5L                                             49 33                 95 Ah
2010-07   V6/3.5L                               36R                  650         18       2012-03   V12/5.5L Opt                                         49 33, 50, 54          950
Lincoln MKZ                                                                               Maybach 62
2017      L4/2.0L    Hybrid                     90 50                590         37       2012-07   V12/6.0L                                             49 33, 50, 54           850
2017      L4/2.0L    Gas                        94R                  730         30       2012-07   V12/6.0L                                             49 33                 95 Ah
2017      L4/2.0L    US, Gas                    94R                  730         30       2012-07   V12/6.0L Opt                                         49 33, 50, 54           950
2017      L4/2.0L    Start/Stop                 94R 33               800                  2012-03   V12/5.5L                                             49 33, 50, 54           850
2017      V6/3.0L                               94R                  730         30       2012-03   V12/5.5L                                             49 33                 95 Ah
2016      L4/2.0L    Hybrid                     48 33, 50            760                  2012-03   V12/5.5L Opt                                         49 33, 50, 54           950
                                                                                                                                       See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                 Mazda
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    Automotive/Light Truck                                                                                                                                                           59
                                                                                     Original                                                                                Original
        Year         Engine                         Options        BCI Group Size   Equipment    Fitment     Year      Engine                   Options    BCI Group Size   Equipment    Fitment
                                                                       (notes)                    Code                                                         (notes)                    Code
                                                                                    CCA/Rating                                                                              CCA/Rating
    Mazda 2                                                                                                Mazda 6
    2014-11 L4/1.5L                                               21R                 350          3       2017-14   L4/2.5L    Ex i-ELOOP                35                  520          3
    2014    L4/1.5L            Can & Cold Climate                 35                  525          3       2016-14   L4/2.5L    i-ELOOP                   N/A                 520
    2013-11 L4/1.5L            Can or Cold Climate Pkg            35                  525          3       2013-09   L4/2.5L                              96R                 590         32
    Mazda 3                                                                                                2013-09   V6/3.7L                              96R                 590         32
    2016-15      L4/2.0L        Ex i-ELOOP                        35                  520          3       2008-03   L4/2.3L                              40R                 590         19
    2016-15      L4/2.5L        Ex i-ELOOP                        35                  520          3       2008      V6/3.0L                              40R                 590         19
    2016         L4/2.0L        i-ELOOP                           N/A                 520                  2007-06   L4/2.3L    Mazdaspeed                35                  550          3
    2016         L4/2.5L        i-ELOOP                           N/A                 520                  2007-06   L4/2.3L    Ex Mazdaspeed             40R                 585         19
    2015         L4/2.0L                                          21R                 350          3       2007      V6/3.0L                              40R                 585         19
    2015         L4/2.0L        Can & Cold Climate                35                  525         3        2006-03   V6/3.0L                              40R                 590         19
    2015         L4/2.0L        SKYACTIV                          35                  525         3        Mazda 626
    2015         L4/2.5L                                          21R                 350          3       2002-98   L4/2.0L                              36R                 580         18
    2015         L4/2.5L        Can & Cold Climate                35                  525         3        2002-98   V6/2.5L                              36R                 580         18
    2014-11      L4/2.0L                                          21R                 350          3
                                                                                                           1997-93   L4/2.0L                              58R                 580
    2014-11      L4/2.5L                                          21R                 350          3
                                                                                                           1997-93   V6/2.5L                              58R                 580
    2014         L4/2.0L       Can & Cold Climate                 35                  525         3
                                                                                                           1992-91   L4/2.2L    Cold Climate Pkg          35                  350          3
    2014         L4/2.5L       Can & Cold Climate                 35                  525         3
                                                                                                           1992-90   L4/2.2L                              21R                 310          3
    2013-11      L4/2.0L       Cold Climate Pkg or AT             35                  525         3
    2013-11      L4/2.3L                                          35                  525         3        1990      L4/2.2L    Opt                       35                  350          3
    2013-11      L4/2.5L       Cold Climate Pkg or AT             35                  525         3        Mazda 929
    2010-08      L4/2.0L                                          26R                 306         38       1995-92 V6/3.0L      US                        35                  350         3
    2010-08      L4/2.0L        MT                                26R                 310         38       1995-90 V6/3.0L      Can & Opt                 24F                 585         23
    2010-08      L4/2.0L        AT                                35                  355         3        1991-90 V6/3.0L                                21R                 310         3
    2010-08      L4/2.3L        MT                                26R                 310         38       Mazda B2200
    2010         L4/2.5L                                          26R                 306         38       1993-90 L4/2.2L                                21                  310          6
    2010         L4/2.5L        MT                                26R                 310         38
                                                                                                           1990    L4/2.2L      Opt                       24                  490         22
    2010         L4/2.5L        AT                                35                  355         3
    2009-08      L4/2.3L                                          26R                 306         38       Mazda B2300
    2009-08      L4/2.3L        AT                                35                  355         3        2010-01   L4/2.3L                              59                  540         34
    2009-07      L4/2.3L        Mazdaspeed                        35                  360         3        1997-94   L4/2.3L    Opt                       65                  540          4
    2007         L4/2.0L        Cold Climate Pkg                  24F                 585         23       1997      L4/2.3L                              59                  540         34
    2007         L4/2.0L                                          35                  355         3        1996-94   L4/2.3L                              58                  540          8
    2007         L4/2.0L        Cold Climate                      35                  490         3        Mazda B2500
    2007         L4/2.0L        AT                                35                  550         3        2001-98 L4/2.5L                                59                  540         34
    2007         L4/2.3L        Cold Climate Pkg                  24F                 585         23
    2007         L4/2.3L                                          35                  355         3
                                                                                                           Mazda B2600
    2007         L4/2.3L        Cold Climate                      35                  490         3        1993-91   L4/2.6L    Can & Opt                 24                  585         22
    2007         L4/2.3L        AT                                35                  550         3        1993-90   L4/2.6L    US                        21                  310          6
    2006-04      L4/2.3L                                          35                  550         3        1990      L4/2.6L                              21                  310          6
    2006         L4/2.0L                                          35                  550         3        1990      L4/2.6L    Opt                       24                  585         22
    2005-04      L4/2.0L        Opt                               35                  520         3        Mazda B3000
    2005         L4/2.0L                                          21R                 350          3       2008-98 V6/3.0L                                59                  540         34
    2004         L4/2.0L                                          21R                 310          3       1997-94 V6/3.0L                                58                  540          8
    Mazda 3 Sport                                                                                          Mazda B4000
    2014-12      L4/2.0L                                          21R                 350          3       2010-98 V6/4.0L                                59                  540         34
    2014-12      L4/2.5L                                          21R                 350          3       1997-94 V6/4.0L                                65                  650          4
    2014         L4/2.0L        Can & Cold Climate                35                  525          3
                                                                                                           Mazda CX-3
    2014         L4/2.5L        Can & Cold Climate                35                  525          3
                                                                                                           2017      L4/2.0L                              35                  520          3
    2013-12      L4/2.0L        Cold Climate Pkg                  35                  525          3
                                                                                                           2016      L4/2.0L    Ex i-ELOOP                35                  520          3
    2013-12      L4/2.5L        Cold Climate Pkg                  35                  525          3
    Mazda 323                                                                                              Mazda CX-5
                                                                                                           2016-15   L4/2.0L    Cold Weather Pkg          55D23L 45           520         3
    1995-91      L4/1.6L                                          35                  350          3
                                                                                                           2016-15   L4/2.5L    Cold Weather Pkg          55D23L 45           520         3
    1994-93      L4/1.8L                                          21R                 310          3
                                                                                                           2016      L4/2.0L                              26R 45              306         38
    1994-93      L4/1.8L        Opt                               35                  350          3
    1991-90      L4/1.8L        Ex Calif                          35                  350          3       2016      L4/2.5L                              26R 45              306         38
    1991         L4/1.6L        Opt                               21R                 310          3       2014      L4/2.0L    Cold Weather Pkg or HD    55D23L 45           520         3
    1991         L4/1.8L        Calif or HD                       21R                 310          3       2014      L4/2.5L    Cold Weather Pkg or HD    55D23L 45           520         3
    1990         L4/1.6L                                          21R                 310          3       2013      L4/2.0L    Cold Weather Pkg          55D23L 45           520         3
    1990         L4/1.6L        Opt                               35                  360          3       Mazda CX-7
    1990         L4/1.8L        Calif                             21R                 310          3       2012-11   L4/2.3L    Can & Opt                 24F                 585         23
    1990         L4/1.8L        Opt                               35                  360          3       2012-11   L4/2.3L    US                        35                  525         3
    Mazda 5                                                                                                2012-10   L4/2.5L                              35                  550         3
    2015        L4/2.5L MT                                        26R                 540         38       2010      L4/2.3L    Can                       24F                 585         23
    2015        L4/2.5L AT                                        35                  550         3        2010      L4/2.3L    US                        35                  525         3
    2014-12 L4/2.5L MT                                            26R                 540         38       2010      L4/2.3L                              35                  550         3
    2014-12 L4/2.5L AT                                            35                  550         3        2009-07   L4/2.3L                              35                  360         3
    2012        L4/2.5L Cold Climate Pkg                          35                  520         3        Mazda CX-9
    2010        L4/2.3L MT                                        26R                 540         38       2016      L4/2.5L                              35                  520         3
    2010        L4/2.3L AT                                        35                  550         3        2015      V6/3.7L                              24F                 585         23
    2009        L4/2.3L MT                                        26R                 310         38       2014      V6/3.7L                              24F                 585         23
    2009        L4/2.3L AT                                        35                  355         3        2013-08   V6/3.7L                              24F                 585         23
    2008-06 L4/2.3L                                               35                  550         3        2007      V6/3.5L                              24F                 585         23
    See page 88 for Footnotes. Selection may vary by warehouse.

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60                                                                                               Automotive/Light Truck
                                                                Original                                                                                                Original
  Year      Engine                 Options    BCI Group Size   Equipment    Fitment     Year      Engine               Options                       BCI Group Size    Equipment    Fitment
                                                  (notes)                    Code                                                                        (notes)                     Code
                                                               CCA/Rating                                                                                              CCA/Rating
Mazda Miata                                                                           Mazda RX-7
2005-99 L4/1.8L                              46A24L 50           320                  1995-94   R2/1.3L    Can, w/AT                               24F                    490         23
1997-94 L4/1.8L                              46A24L 50           320                  1995-94   R2/1.3L    MT                                      35                     420         3
1993-90 L4/1.6L                              46A24L 50           320                  1993      R2/1.3L    Opt                                     24F                    495         23
Mazda Millenia                                                                        1993      R2/1.3L                                            35                     350         3
2002-95   V6/2.3L    Opt                     24F                 585         23       1991-90   R2/1.3L    Can & Opt                               35                     405         3
2002-01   V6/2.3L                            35                  520          3       1991      R2/1.3L    US                                      35                     350         3
2002-01   V6/2.5L    Opt                     24F                 490         23       1990      R2/1.3L    US                                      21R                    320         3
2002      V6/2.5L                            35                  520          3       Mazda RX-8
2001      V6/2.5L                            35                  360          3       2011      R2/1.3L    Opt                                     24F                    585         23
2000-95   V6/2.3L                            35                  490          3       2011      R2/1.3L                                            35                     525         3
2000-95   V6/2.5L                            35                  350          3       2010      R2/1.3L                                            35                     550         3
2000-95   V6/2.5L    Opt                     35                  490          3       2009-04   R2/1.3L                                            35 9                   640         3
Mazda MPV                                                                             Mazda Tribute
2006-02   V6/3.0L    Opt                     24F                 490         23       2011      L4/2.5L                                            96R                    590         32
2006-02   V6/3.0L                            35                  360          3       2011      V6/3.0L                                            96R                    590         32
2001-00   V6/2.5L    Opt                     24F                 490         23       2010-09   L4/2.5L                                            40R                    590         19
2001-00   V6/2.5L                            35                  360          3       2010-09   L4/2.5L    Hybrid                                  96R                    500         32
1998-96   V6/3.0L    Can & Opt               24F                 490         23       2010      L4/2.5L    Gas                                     40R                    650
1998-96   V6/3.0L    US                      35                  350          3       2010      V6/3.0L                                            40R                    650
1995-93   V6/3.0L    RWD                     21R                 310          3       2009-08   V6/3.0L                                            40R                    590         19
1995-93   V6/3.0L    4WD                     24F                 490         23       2008      L4/2.3L                                            40R                    590         19
1995-93   V6/3.0L    Opt                     24F                 585         23       2008      L4/2.3L    Hybrid                                  96R                    500         32
1994-93   L4/2.6L    RWD                     21R                 310          3       2006-05   L4/2.3L                                            40R                    590         19
1994-93   L4/2.6L    4WD                     24F                 490         23       2006-01   V6/3.0L                                            40R                    590         19
1994-93   L4/2.6L    Opt                     24F                 585         23       2004-01   L4/2.0L                                            96R                    500         32
1992-90   L4/2.6L    US                      21R                 310          3       Mercedes-Benz 190E
1992-90   L4/2.6L    Can & Opt               24F                 585         23
                                                                                      1993-91 L4/2.3L                                              48                     550         29
1992-90   V6/3.0L    US                      21R                 310          3
                                                                                      1993-90 L6/2.6L                                              48                     550         29
1992-90   V6/3.0L    Can & Opt               24F                 585         23
Mazda MX-3                                                                            Mercedes-Benz 300CE
                                                                                      1993    L6/3.2L                                              48                     550         29
1996-95   L4/1.6L                            21R                 310          3
                                                                                      1992-90 L6/3.0L                                              48                     550         29
1995      L4/1.6L    Opt                     35                  350          3
1995      V6/1.8L                            35                  350          3       Mercedes-Benz 300D
1994-92   L4/1.6L    MT                      21R                 310          3       1993-92 L5/2.5L                                              49                     825
1994-92   L4/1.6L    HD w/AT                 35                  350          3       1991-90 L5/2.5L                                              49                     740         33
1994      V6/1.8L    Calif                   21R                 310          3       Mercedes-Benz 300E
1994      V6/1.8L                            24F                 630         23       1993-90   L6/3.0L                                            48                     550         29
1994      V6/1.8L    Ex Calif                35                  420          3       1993-90   L6/3.0L    4-Matic                                 48                     550         29
1993-92   V6/1.8L                            35                  420          3       1993      L6/2.8L                                            48                     550         29
Mazda MX-5 Miata                                                                      1993      L6/3.2L                                            48                     550         29
2017-15 L4/2.0L                              51R                 410         11       1992-90   L6/2.6L                                            48                     550         29
2016    L4/2.0L                              51R                 340         11       Mercedes-Benz 300SD
2014-06 L4/2.0L                              51R                 410         11       1993-92 L6/3.4L      Dsl                                     49                     825
Mazda MX-6                                                                            Mercedes-Benz 300SE
1997-93   L4/2.0L                            58R                 580                  1993-92 L6/3.2L                                              49                     825
1997-93   V6/2.5L                            58R                 580                  1991-90 L6/3.0L                                              49                     740         33
1992-91   L4/2.2L    Cold Climate Pkg        35                  350          3       Mercedes-Benz 300SEL
1992-90   L4/2.2L                            21R                 310          3
                                                                                      1991-90 L6/3.0L                                              49                     740         33
Mazda Navajo                                                                          Mercedes-Benz 300SL
1994-91 V6/4.0L                              65                  650          4
                                                                                      1993-92 L6/3.0L                                              49                     825
Mazda Protegé                                                                         1991-90 L6/3.0L                                              49                     740         33
2003-99   L4/1.6L                            21R                 310          3       Mercedes-Benz 300TE
2003-01   L4/1.6L    Opt                     35                  520          3
                                                                                      1993-90 L6/3.0L                                              48                     550         29
2003-01   L4/2.0L                            21R                 310          3
                                                                                      1993-90 L6/3.0L      4-Matic                                 48                     550         29
2003-01   L4/2.0L    Opt                     35                  520          3
                                                                                      1993    L6/3.2L                                              48                     550         29
2000-99   L4/1.6L    Opt                     35                  350          3
2000-99   L4/1.8L                            35                  350          3       Mercedes-Benz 350SD
1998-95   L4/1.5L                            21R                 310          3       1991      L6/3.4L    Dsl                                     49                     740         33
1998-95   L4/1.5L    Opt                     35                  350          3       Mercedes-Benz 350SDL
1998-95   L4/1.8L                            21R                 310          3       1991-90 L6/3.4L      Dsl                                     49                     740         33
1994-92   L4/1.8L                            21R                 310          3       Mercedes-Benz 400E
1994-92   L4/1.8L    Opt                     35                  350          3       1993-92 V8/4.2L                                              49                     825
1991-90   L4/1.8L    Ex Calif                35                  350          3
1991      L4/1.8L    Calif or HD             21R                 310          3
                                                                                      Mercedes-Benz 400SE
1990      L4/1.8L    Calif                   21R                 310          3       1992      V8/4.2L                                            49                     825
1990      L4/1.8L    Opt                     35                  360          3       Mercedes-Benz 400SEL
Mazda Protegé5                                                                        1993      V8/4.2L                                            49                     825
2003-02 L4/2.0L                              21R                 310          3       Mercedes-Benz 420SEL
2003-02 L4/2.0L      Opt                     35                  520          3       1991-90 V8/4.2L                                              49                      740        33
                                                                                                                                 See page 88 for Footnotes. Selection may vary by warehouse.

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                                      929
    Automotive/Light Truck                                                                                                                                                             61
                                                                                      Original                                                                                 Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                   Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                          (notes)                    Code
                                                                                     CCA/Rating                                                                               CCA/Rating
    Mercedes-Benz 500E                                                                                      Mercedes-Benz C280
    1993-92 V8/5.0L                                               49                   825                  2007-06 V6/3.0L                                49 50                760
    Mercedes-Benz 500SEC                                                                                    2000-98 V6/2.8L                                49 50                825
    1993         V8/5.0L                                          49                   825                  1997-94 L6/2.8L                                49 50                825
    Mercedes-Benz 500SEL                                                                                    Mercedes-Benz C300
    1993-92 V8/5.0L                                               49                   825                  2017-16   L4/2.0L                              47 33, 50, 54        680
                                                                                                            2017      L4/2.0L    Opt                       48 33, 50, 54        760
    Mercedes-Benz 500SL                                                                                     2016      L4/2.0L                              48 33, 54            760
    1993-92 V8/5.0L                                               49                   825                  2015      L4/2.0L                              47 33, 50, 54        680
    1991-90 V8/5.0L                                               49                   740         33       2015      L4/2.0L    Opt                       48 33, 50, 54        760
    Mercedes-Benz 560SEC                                                                                    2015      L4/2.0L                              94R 33, 50, 54       700
    1991-90 V8/5.6L                                               49                   740         33       2014-13   V6/3.5L    AGM Opt Trunk Mtd         49 33, 50, 54      90-95 Ah
    Mercedes-Benz 560SEL                                                                                    2014-13   V6/3.5L                              94R 50, 54           700    30
    1991-90 V8/5.6L                                               49                   740         33       2014-13   V6/3.5L    Front Battery             94R 50              84 Ah
                                                                                                            2012-10   V6/3.0L                              94R 50, 54           700    30
    Mercedes-Benz 600SEC                                                                                    2012-08   V6/3.0L                              94R 50, 54          84 Ah
    1993         V12/6.0L                                         49                   825                  2012      V6/3.0L    AGM Opt Trunk Mtd         49 33, 50, 54      90-95 Ah
    Mercedes-Benz 600SEL                                                                                    2009-08   V6/3.0L                              94R 50, 54           700    30
    1993-92 V12/6.0L                                              49                   825                  Mercedes-Benz C32 AMG
    Mercedes-Benz 600SL                                                                                     2004-03 V6/3.2L                                49 50                825
    1993         V12/6.0L                                         49                   825                  2002    V6/3.2L                                48 50               74 Ah
    Mercedes-Benz AMG GT                                                                                    2002    V6/3.2L                                49 50                850
    2017         V8/4.0L                                          47 33, 54            680                  Mercedes-Benz C320
    2017         V8/4.0L                                          47 60                680                  2005-04   V6/3.2L                              49 50               825
    2017         V8/4.0L        Opt                               48 33, 54            760                  2003      V6/3.2L                              49 33, 50           850
    Mercedes-Benz AMG GT S                                                                                  2002-01   V6/3.2L                              49 50               825
                                                                                                            2002      V6/3.2L                              48 50              74 Ah
    2017-16      V8/4.0L        Opt                               48 33, 54            760
                                                                                                            2001      V6/3.2L    w/o AGM                   49 50, 54          100 Ah
    2017         V8/4.0L                                          47 33, 54            680
    2017         V8/4.0L                                          47 60                680                  Mercedes-Benz C350
    2016         V8/4.0L                                          47 60                680                  2016      V6/3.5L                              94R 50, 54           700         30
    2016         V8/4.0L        Opt                               48 33               80 Ah                 2015      V6/3.5L                              94R 50, 54           700         30
                                                                                                            2015      V6/3.5L                              94R 50, 54          84 Ah
    Mercedes-Benz B Electric Drive                                                                          2014-08   V6/3.5L                              94R 50, 54           700         30
    2015-14                     Electric                          47 33, 54            680                  2014-08   V6/3.5L                              94R 50              84 Ah
    Mercedes-Benz B200                                                                                      2007-06   V6/3.5L                              49 50                760
    2011    L4/2.0L                                               48 50, 54            680         29       Mercedes-Benz C350e
    2010-06 L4/2.0L                                               48 50, 54            680         29       2017-16 L4/2.0L      Hybrid                    49 33, 50, 54        850
    Mercedes-Benz B250                                                                                      Mercedes-Benz C36 AMG
    2017-13      L4/2.0L        Aux Battery                       400 33, 54           200                  1997-95 L6/3.6L                                49 50                825
    2017         L4/2.0L                                          48 33, 50, 54        N/A                  Mercedes-Benz C400
    2017         L4/2.0L        Opt                               48 33, 50, 54        N/A                  2015      V6/3.0L                              48 33, 50, 54        760
    2016-13      L4/2.0L                                          48 33, 54            760
    2016-13      L4/2.0L        Opt                               48 33, 50, 54        800
                                                                                                            Mercedes-Benz C43 AMG
                                                                                                            2017      V6/3.0L                              48 33, 50, 54        760
    Mercedes-Benz B250e                                                                                     2017      V6/3.0L    Opt                       48 33, 50, 54        800
                                                                       33, 50, 54
    2017                        Electric                          47                   680                  2000-99   V8/4.3L                              49 50                825
    2017                        Electric                          47 60                680                  1998      V8/4.3L                              49 50                825
    2016                        Electric                          47 60                680
                                                                                                            Mercedes-Benz C450 AMG
    Mercedes-Benz C220                                                                                      2016      V6/3.0L                              48 33, 54            760
                                                                       50
    1996-94 L4/2.2L                                               49                   825                  Mercedes-Benz C55 AMG
    Mercedes-Benz C230                                                                                      2006-05 V8/5.5L                                49 50, 54          100 Ah
    2009-08      V6/2.5L                                          49 50, 54            760                  2006    V8/5.5L                                49 50               760
    2007-06      V6/2.5L                                          49 50                760                  2005    V8/5.5L                                49 50               825
    2005-04      L4/1.8L        S/C                               49 50                825                  Mercedes-Benz C63 AMG
    2003         L4/1.8L        S/C                               49 33, 50            825                  2017      V8/4.0L                              48 33, 50, 54        800
    2002         L4/2.3L                                          49 50                825                  2017      V8/4.0L    Opt                       49 33, 50, 54        850
    2000-97      L4/2.3L                                          49 50                825                  2016      V8/4.0L                              48 33, 50, 54        800
    Mercedes-Benz C240                                                                                      2016      V8/4.0L    Opt                       49 33, 50, 54        850
    2005-01 V6/2.6L             w/o AGM                           49 50                825                  2015-08   V8/6.3L                              48 33, 50, 54        800
    2003    V6/2.6L             w/AGM                             49 33, 50            850                  2015-08   V8/6.3L                              49 33, 50, 54        800
    Mercedes-Benz C250                                                                                      2015      V8/6.3L                              49 33, 50, 54        850
    2015-14      L4/1.8L        Opt Rear                          49 33, 50, 54       95 Ah                 2014-09   V8/6.3L                              49 33, 54            850
    2015         L4/1.8L        Opt Front                         48                  74 Ah                 2008      V8/6.3L                              49 33, 50, 54        850
    2015         L4/1.8L                                          48 33, 54            760                  Mercedes-Benz C63 AMG S
    2015         L4/1.8L        Front                             94R 50, 54          84 Ah                 2017      V8/4.0L                              48 33, 50, 54        800
    2014-13      L4/1.8L        Front                             94R 50, 54          84 Ah                 2017      V8/4.0L    Opt                       49 33, 50, 54        850
    2014-12      L4/1.8L        Opt Front                         48                  74 Ah                 2016-15   V8/4.0L                              48 33, 50, 54        800
    2014-12      L4/1.8L                                          48 33, 54            760                  2016-15   V8/4.0L    Opt                       49 33, 50, 54        850
    2012-10      V6/2.5L        Opt                               48 33, 54            760                  Mercedes-Benz CL500
    2012-10      V6/2.5L                                          94R 54               700         30       2006-02 V8/5.0L                                49 33, 50           95 Ah
    2012         L4/1.8L        Opt Rear                          49 33, 50, 54       95 Ah                 2006    V8/5.0L                                49 33                850
    See page 88 for Footnotes. Selection may vary by warehouse.

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62                                                                                                                Automotive/Light Truck
                                                                                 Original                                                                                                      Original
  Year       Engine                     Options                BCI Group Size   Equipment    Fitment     Year      Engine                     Options                       BCI Group Size    Equipment    Fitment
                                                                   (notes)                    Code                                                                              (notes)                     Code
                                                                                CCA/Rating                                                                                                    CCA/Rating
Mercedes-Benz CL500 (continued)                                                                        Mercedes-Benz CLK500
2005-02 V8/5.0L                                             49 50                 825                  2006    V8/5.0L                                                    49 50                  760
2003    V8/5.0L       AGM                                   49 33, 50            95 Ah                 2005-03 V8/5.0L      w/o AGM                                       49 50                  825
2001-98 V8/5.0L       w/o AGM                               49 50                 825                  Mercedes-Benz CLK55 AMG
Mercedes-Benz CL55 AMG                                                                                 2006-01 V8/5.5L                                                    49 50                  825
2006      V8/5.5L                                           49 33                 850                  2006    V8/5.5L                                                    49 50                  760
2006      V8/5.5L                                           49 33                95 Ah                 Mercedes-Benz CLK550
2005-04   V8/5.5L                                           49 50                 825                  2009-08   V8/5.5L                                                  49 50                 760
2005-02   V8/5.5L                                           49 33, 50            95 Ah                 2009      V8/5.5L    Cabrio                                        49 47, 50            100 Ah
2003      V8/5.5L                                           49 50                 850                  2008      V8/5.5L                                                  49 47, 50            100 Ah
2002      V8/5.5L                                           49 50                 825                  2007      V8/5.5L                                                  49 50                 760
2001      V8/5.5L                                           49 50                 825
                                                                                                       Mercedes-Benz CLK63 AMG
Mercedes-Benz CL550                                                                                    2009-08   V8/6.3L    Cabrio                                        49 47, 50            100 Ah
2014-12   V8/4.6L     Secondary, 4-Matic                    N/A                  1.2 Ah                2009-07   V8/6.3L                                                  49 50                  760
2014-11   V8/4.6L     Aux Battery                           400 33, 54            200                  2008      V8/6.3L    Black                                         48 33, 50             70 Ah
2014-11   V8/4.6L     On-Board Electrical System Battery    49 33, 50, 54         850                  2008      V8/6.3L    Opt                                           48 33                  760
2014-11   V8/4.6L     Primary, 4-Matic                      49 33, 50, 54        95 Ah                 2007      V8/6.3L                                                  49 47, 50            100 Ah
2011      V8/4.6L     Secondary, 4-Matic                    V4                   35 Ah
                                                                                                       Mercedes-Benz CLS400
2010-09   V8/5.5L     4-Matic                               49 33, 47, 50        95 Ah
                                                                                                       2017-16   V6/3.0L    Aux Battery                                   400 33, 54             200
2010-07   V8/5.5L     On-Board Electrical System Battery,   48 33, 50, 54         760
                      Opt                                                                              2017-16   V6/3.0L                                                  48 33, 50, 54          760
2010-07 V8/5.5L       On-Board Electrical System Battery    49 33, 50, 54         850                  2017-16   V6/3.0L    Opt                                           49 33, 50, 54          850
2008-07 V8/5.5L       Primary Battery                       49 33, 47, 50, 54    95 Ah                 2017-16   V6/3.0L    Opt                                           94R 33, 50, 54         800
2008-07 V8/5.5L       Secondary                             V4 50                35 Ah                 2016      V6/3.0L    Opt                                           48 33, 50, 54          800
                                                                                                       2015      V6/3.0L    Aux Battery                                   400 33, 54             200
Mercedes-Benz CL600
                                                                                                       2015      V6/3.0L                                                  48 33, 50, 54          760
2014-08   V12/5.5L    Primary Battery                       49 33, 47, 50, 54    95 Ah
                                                                                                       2015      V6/3.0L    Opt                                           48 33, 50, 54          800
2014-07   V12/5.5L    On-Board Electrical System Battery    49 33, 50, 54         850
                                                                                                       2015      V6/3.0L    Opt                                           49 33, 50, 54          850
2010      V12/5.5L    Secondary                             V4 50                35 Ah
                                                                                                       2015      V6/3.0L    Opt                                           94R 33, 50, 54         800
2007      V12/5.5L    Starting Motor Battery                V4 45, 54             520
2006-03   V12/5.5L                                          49 33, 50, 54         850                  Mercedes-Benz CLS500
2006-03   V12/5.5L                                          49 33, 50            95 Ah                 2006      V8/5.0L                                                  49 50, 54              760
2002      V12/5.8L                                          49 50                 825                  2006      V8/5.0L                                                  49 33                  850
2001      V12/5.8L                                          49 50                 825                  Mercedes-Benz CLS55 AMG
1999-98   V12/6.0L                                          49 50, 54             760         33       2006      V8/5.5L                                                  49 50, 54              760
1999-98   V12/6.0L                                          49 50                 825         33       2006      V8/5.5L                                                  49 33, 50              850
Mercedes-Benz CL63 AMG                                                                                 Mercedes-Benz CLS550
2014-11   V8/5.5L     Aux Battery                           400 33, 54            200                  2017-16   V8/4.6L    Aux Battery                                   400 33, 54             200
2014-11   V8/5.5L     Primary Battery                       49 33, 50, 54         850                  2017      V8/4.6L                                                  48 33, 50, 54          800
2010-08   V8/6.3L     Secondary                             47 33                60 Ah                 2017      V8/4.6L    Opt                                           49 33, 50, 54          850
2010-08   V8/6.3L                                           49 33, 50, 54         850                  2016      V8/4.6L                                                  48 33, 50, 54          800
2010-08   V8/6.3L     Primary Battery                       49 33, 47, 50        95 Ah                 2016      V8/4.6L                                                  49 33, 50, 54          850
Mercedes-Benz CL65 AMG                                                                                 2015-12   V8/4.6L    Aux Battery                                   400 33, 54             200
2014-08   V12/6.0L On-Board Electrical System Battery       49 33, 50, 54         850                  2015-12   V8/4.6L                                                  48 33, 50, 54          800
2014-08   V12/6.0L Primary Battery                          49 33, 47, 50        95 Ah                 2015-12   V8/4.6L                                                  49 33, 50, 54          800
2011-08   V12/6.0L Secondary                                V4 50                35 Ah                 2015      V8/4.6L    Opt                                           49 33, 50, 54          850
2006-05   V12/6.0L                                          49 33, 50, 54         850                  2015      V8/4.6L                                                  94R 33, 47, 50        80 Ah
2006-05   V12/6.0L                                          49 33, 50            95 Ah                 2014-13   V8/4.6L                                                  49 33, 50, 54          850
Mercedes-Benz CLA250                                                                                   2012      V8/4.6L    Opt                                           49 33, 50, 54          850
                                                                                                       2012      V8/4.6L    Primary Battery                               94R 33, 50, 54        80 Ah
2017      L4/2.0L     Aux Battery                           400 33, 54            200
                                                                                                       2011-07   V8/5.5L                                                  49 50, 54              760
2017      L4/2.0L                                           48 33, 50, 54         760
                                                                                                       2011-07   V8/5.5L    Opt                                           49 33, 50, 54          850
2017      L4/2.0L     Opt                                   48 33, 50, 54         800
                                                                                                       2011-07   V8/5.5L                                                  49 33, 47, 50         95 Ah
2016-14   L4/2.0L     Aux Battery                           400 33, 54            200
2016-14   L4/2.0L                                           48 33, 54             760                  Mercedes-Benz CLS63 AMG
2016-14   L4/2.0L     Opt                                   48 33, 50, 54         800                  2014-12   V8/5.5L    Aux Battery                                   400 33, 54             200
Mercedes-Benz CLA45 AMG                                                                                2014-12   V8/5.5L                                                  48 33, 50, 54          800
                                                                                                       2014-12   V8/5.5L                                                  49 33, 50, 54          800
2017      L4/2.0L     Aux Battery                           400 33, 54            200
                                                                                                       2014-12   V8/5.5L    Opt                                           49 33, 50, 54          850
2017      L4/2.0L                                           48 33, 50, 54         760
                                                                                                       2014-12   V8/5.5L                                                  94R 33, 47, 50        80 Ah
2017      L4/2.0L     Opt                                   48 33, 50, 54         800
                                                                                                       2012      V8/5.5L    Opt                                           94R 33, 50, 56        80 Ah
2016-14   L4/2.0L     Aux Battery                           400 33, 54            200
                                                                                                       2011-07   V8/6.3L                                                  49 33, 50, 54          850
2016-14   L4/2.0L                                           48 33, 54             760
                                                                                                       2011-07   V8/6.3L                                                  49 33, 47, 50         95 Ah
2016-14   L4/2.0L     Opt                                   48 33, 50, 54         800
Mercedes-Benz CLK320                                                                                   Mercedes-Benz CLS63 AMG S
                                                                 50                                    2017-16   V8/5.5L    Aux Battery                                   400 33, 54              200
2005-98 V6/3.2L                                             49                    825
                                                                                                       2017-16   V8/5.5L    Opt                                           49 33, 50, 54           850
Mercedes-Benz CLK350                                                                                   2017      V8/5.5L                                                  48 33, 50, 54           800
2009-06 V6/3.5L                                             49 50                760                   2016      V8/5.5L                                                  48 33, 50, 54           800
2009    V6/3.5L       Cabrio, w/o AGM                       49 47, 50           100 Ah                 2015-14   V8/5.5L    Aux Battery                                   400 33, 54              200
2008-06 V6/3.5L       w/o AGM                               49 47, 50           100 Ah                 2015-14   V8/5.5L                                                  48 33, 50, 54           800
Mercedes-Benz CLK430                                                                                   2015      V8/5.5L    Opt                                           49 33, 50, 54           850
2003-99 V8/4.3L                                             49 50                 825                  2014      V8/5.5L                                                  49 33, 50, 54           850
                                                                                                                                                        See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                           63
                                                                                      Original                                                                               Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                 Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                        (notes)                    Code
                                                                                     CCA/Rating                                                                             CCA/Rating
    Mercedes-Benz E250                                                                                      Mercedes-Benz E400
    2016         L4/2.1L        Aux, Dsl                          400 33, 54           200                  2017-16   V6/3.0L    Aux Battery             400 33, 54           200
    2016         L4/2.1L        Dsl                               48 33, 54            760                  2017-16   V6/3.0L                            48 33, 50, 54        760
    2016         L4/2.1L        Dsl, Opt                          49 33, 54            850                  2017-16   V6/3.0L    Opt                     49 33, 50, 54        850
    2015-14      L4/2.1L        Aux, Dsl                          400 33, 54           200                  2015-13   V6/3.5L    Hybrid, Aux             400 33, 54           200
    2015-14      L4/2.1L        Dsl                               48 33, 54            760                  2015-13   V6/3.5L    Hybrid                  49 33, 50, 54        850
    2015-14      L4/2.1L        Dsl, Opt                          49 33, 54            850                  2015      V6/3.0L    Aux Battery             400 33, 54           200
    Mercedes-Benz E280                                                                                      2015      V6/3.0L                            48 33, 50, 54        760
    2007         V6/3.0L                                          49 50, 54            850                  2015      V6/3.0L    Opt                     49 33, 50, 54        850
    Mercedes-Benz E300                                                                                      Mercedes-Benz E420
    2017         L4/2.0L                                          48 33, 54           760                   1997      V8/4.2L                            48                  690
    2017         L4/2.0L        Opt                               49 33, 54           850                   1997      V8/4.2L                            49 47, 50          100 Ah
    2016-15      V6/3.5L        Aux Battery                       400 33, 54          200                   1995-94   V8/4.2L                            49 47, 50          100 Ah
    2016-15      V6/3.5L                                          48 33, 54           760                   1995-94   V8/4.2L                            49 50               825
    2016-15      V6/3.5L        Opt                               49 33, 54           850                   Mercedes-Benz E43 AMG
    2013-12      V6/3.5L        Aux Battery                       400 33, 54          200                   2017      V6/3.0L                            47 33, 50, 54        680
    2013-12      V6/3.5L                                          49 50, 54           850                   2017      V6/3.0L    Opt                     48 33, 50, 54        760
    2009-08      V6/3.0L                                          49 50, 54           850                   2017      V6/3.0L    Opt                     48 33, 50, 54        800
    1999-96      L6/3.0L        Dsl                               49 50              100 Ah                 2017      V6/3.0L    Opt                     49 33, 50, 54        850
    1999-96      L6/3.0L        Dsl                               49 50               825                   Mercedes-Benz E430
    1995         L6/3.0L        Dsl                               49 47, 50          100 Ah                 2002      V8/4.3L                            49 47, 50          100 Ah
    1995         L6/3.0L        Dsl                               49 50               825                   2002      V8/4.3L                            49 50               825
    Mercedes-Benz E320                                                                                      2001      V8/4.3L                            49 47, 50          100 Ah
    2009-08      V6/3.0L        Dsl                               49 33, 50, 54        850                  2000-98   V8/4.3L                            49 47, 50          100 Ah
    2009-08      V6/3.0L        BLUETEC w/AGM                     49 33, 47, 50       95 Ah                 2000-98   V8/4.3L                            49 50               825
    2007         V6/3.0L        Dsl                               49 33, 50            850                  Mercedes-Benz E500
    2006         L6/3.2L        Dsl                               49 33, 50            850                  2006-03   V8/5.0L                            49 33, 47, 50       95 Ah
    2005-04      V6/3.2L        E320S                             49 47, 50          100 Ah                 2006      V8/5.0L                            49 33, 50            850
    2005-03      V6/3.2L        w/AGM                             49 33, 47, 50       95 Ah                 2005-03   V8/5.0L                            49 50                825
    2005-02      V6/3.2L                                          49 50                825                  1994      V8/5.0L                            49 47, 50          100 Ah
    2005         L6/3.2L        Dsl                               49 50                825                  1994      V8/5.0L                            49 50                825
    2005         L6/3.2L        CDI Dsl w/AGM                     49 33, 47, 50       95 Ah                 Mercedes-Benz E55 AMG
    2005         L6/3.2L        w/AGM                             49 33, 47, 50       95 Ah                 2006-04   V8/5.5L                            49 33, 47, 50       95 Ah
    2002-98      V6/3.2L                                          49 47, 50          100 Ah                 2006      V8/5.5L                            49 33, 50            850
    2001         V6/3.2L        Sedan                             49 50                825                  2005-04   V8/5.5L                            49 50                825
    2001         V6/3.2L        Wagon                             49 50                825                  2003      V8/5.5L                            49 50                850
    2000-99      V6/3.2L                                          49 50                825                  2002-99   V8/5.5L                            49 50                825
    1998         V6/3.2L                                          48                   690                  Mercedes-Benz E550
    1997-96      L6/3.2L                                          48                   690
                                                                                                            2017      V8/4.6L                            94R 50, 54           700         30
    1997-96      L6/3.2L                                          49 47, 50          100 Ah
                                                                                                            2016      V8/4.6L    Aux Battery             400 33, 54           200
    1995-94      L6/3.2L        E320C-A                           49 47, 50          100 Ah
                                                                                                            2016      V8/4.6L                            94R 50, 54           700         30
    1995         L6/3.2L                                          48 50                660         29
                                                                                                            2016      V8/4.6L                            94R 33, 50          80 Ah
    1994         L6/3.2L        Ex Cabriolet                      48 50                660         29
                                                                                                            2015-12   V8/4.6L    Aux Battery             400 33, 54           200
    Mercedes-Benz E350                                                                                      2015      V8/4.6L                            94R 50, 54           700         30
                                                                        33, 54
    2016        V6/3.5L Aux Battery                               400                  200                  2015      V8/4.6L                            94R 33, 50          80 Ah
    2016        V6/3.5L                                           48 33, 50, 54        760                  2014-12   V8/4.6L                            94R 50, 54           700         30
    2016        V6/3.5L Opt                                       49 33, 50, 54        850                  2014-12   V8/4.6L                            94R 33, 50          80 Ah
    2015-12 V6/3.5L Aux Battery                                   400 33, 54           200                  2011-10   V8/5.5L    Aux Battery             400 33, 54           200
    2015-12 V6/3.5L                                               48 33, 50, 54        760                  2011-10   V8/5.5L                            49 50, 54            850
    2015-12 V6/3.5L Opt                                           49 33, 50, 54        850                  2011-10   V8/5.5L                            94R 33, 50          80 Ah
    2015        V6/3.5L                                           94R 33, 50, 54      80 Ah                 2009-07   V8/5.5L                            49 50, 54            760
    2014-12 V6/3.5L                                               94R 33, 50, 56      80 Ah                 2009-07   V8/5.5L    Opt                     49 33, 50, 54        850
    2014-10 V6/3.5L Opt                                           48 33, 50, 56       70 Ah                 2009-07   V8/5.5L                            49 33, 47, 50       95 Ah
    2013-12 V6/3.0L Aux, Dsl                                      400 33, 54           200                  Mercedes-Benz E63 AMG
    2013-11 V6/3.0L Dsl                                           48 33, 50, 54        760                  2015-12   V8/5.5L    Aux Battery             400 33, 54           200
    2013-11 V6/3.0L Dsl, Opt                                      49 33, 50, 54        850                  2015      V8/5.5L                            48 33, 50, 54        760
    2011-10 V6/3.5L Aux Battery                                   400 33, 54           200                  2015      V8/5.5L                            94R 33, 50, 54      80 Ah
    2011-10 V6/3.5L                                               48 33, 50, 54        760                  2014-12   V8/5.5L                            48 33, 50, 54        760
    2011-08 V6/3.5L Opt                                           49 33, 50, 54        850                  2014-12   V8/5.5L                            49 33, 50, 54       95 Ah
    2011        V6/3.0L Aux, Dsl                                  400 33, 54           200                  2014-12   V8/5.5L    Opt                     94R 33, 50, 54      80 Ah
    2009-08 V6/3.5L                                               48 50, 54            680                  2011-10   V8/6.3L    Aux Battery             400 33, 54           200
    2009-08 V6/3.5L Opt                                           48 33, 50, 54        760                  2011-10   V8/6.3L                            48 33, 50, 54        760
    2009-08 V6/3.5L Opt                                           49 50, 54            760                  2011-10   V8/6.3L                            94R 33, 50, 54      80 Ah
    2009-06 V6/3.5L                                               49 33, 47, 50       95 Ah                 2009-08   V8/6.3L                            49 33, 50, 54        850
    2007        V6/3.5L                                           48 50, 54            680                  2009-07   V8/6.3L                            49 33, 47, 50       95 Ah
    2007        V6/3.5L Opt                                       48 33, 50, 54        760                  2007      V8/6.3L                            49 33, 50, 54        850
    2007        V6/3.5L Opt                                       49 50, 54            760                  Mercedes-Benz E63 AMG S
    2007        V6/3.5L Opt                                       49 33, 50, 54        850                  2016      V8/5.5L    Aux Battery             400 33, 54           200
    2006        V6/3.5L                                           48 50, 54            680                  2016      V8/5.5L                            48 33, 50, 54        760
    2006        V6/3.5L Opt                                       48 33, 50, 54        760                  2015-14   V8/5.5L    Aux Battery             400 33, 54           200
    2006        V6/3.5L Opt                                       49 50, 54            760                  2015-14   V8/5.5L                            48 33, 50, 54        760
    2006        V6/3.5L Opt                                       49 33, 50, 54        850                  2014      V8/5.5L                            48 33, 50, 54       70 Ah
    See page 88 for Footnotes. Selection may vary by warehouse.

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64                                                                                                Automotive/Light Truck
                                                                 Original                                                                                                  Original
  Year      Engine                 Options     BCI Group Size   Equipment    Fitment     Year      Engine                 Options                       BCI Group Size    Equipment    Fitment
                                                   (notes)                    Code                                                                          (notes)                     Code
                                                                CCA/Rating                                                                                                CCA/Rating
Mercedes-Benz G500                                                                     Mercedes-Benz GLA45 AMG
2008-07   V8/5.0L                            49 50                850                  2017      L4/2.0L    Aux Battery                               400 33, 54             200
2008-02   V8/5.0L    Aux Battery             400 33, 54           200                  2017      L4/2.0L                                              48 33, 54              760
2008      V8/5.0L    AGM                     49 33, 47, 50       95 Ah                 2016-15   L4/2.0L    Aux Battery                               400 33, 54             200
2007-02   V8/5.0L    AGM                     49 33, 47, 50       90 Ah                 2016-15   L4/2.0L                                              48 33, 54              760
2006-02   V8/5.0L                            49 50                825                  Mercedes-Benz GLC300
Mercedes-Benz G55 AMG                                                                  2017-16 L4/2.0L                                                47 33, 54              680
2011-10   V8/5.5L                            49 50, 54            850                  2017-16 L4/2.0L      Opt                                       48 33, 54              760
2011-08   V8/5.5L                            49 33, 47, 50       95 Ah                 Mercedes-Benz GLC43 AMG
2011-03   V8/5.5L    Aux Battery             400 33, 54           200                  2017      V6/3.0L                                              48 33, 54              760
2009-07   V8/5.5L                            49 50, 54            850                  Mercedes-Benz GLE300d
2007-03   V8/5.5L    AGM                     49 33, 47, 50       90 Ah                 2017-16 L4/2.1L      Aux, Dsl                                  400 33, 54             200
2006-03   V8/5.5L                            49 50                825                  2017    L4/2.1L      Dsl                                       49 33, 50, 54          850
2003      V8/5.5L    Opt                     49 33, 50            850                  2016    L4/2.1L      Dsl                                       49 33, 50, 54          850
Mercedes-Benz G550                                                                     Mercedes-Benz GLE350
2017-16   V8/4.0L                            49 33, 50, 54        850                  2017-16 V6/3.5L      Aux Battery                               400 33, 54             200
2015-09   V8/5.5L    Aux Battery             400 33, 54           200                  2017    V6/3.5L                                                49 33, 50, 54          850
2015      V8/5.5L                            49 33, 50, 54        850                  2016    V6/3.5L                                                49 33, 50, 54          850
2014-09   V8/5.5L                            49 33, 50, 54        850
2014-09   V8/5.5L    AGM                     49 33, 47, 50      90-95 Ah
                                                                                       Mercedes-Benz GLE350d
                                                                                       2016      V6/3.0L    Aux, Dsl                                  400 33, 54             200
Mercedes-Benz G63 AMG                                                                  2016      V6/3.0L    Dsl                                       49 33, 50, 54          850
                                                   33, 54
2017-16   V8/5.5L    Aux Battery             400                  200
                                                                                       Mercedes-Benz GLE400
2017      V8/5.5L                            49 33, 50, 54        850
                                                                                       2017-16 V6/3.0L      Aux Battery                               400 33, 54             200
2016      V8/5.5L                            49 33, 50, 54        850
                                                                                       2017    V6/3.0L                                                49 33, 50, 54          850
2015-13   V8/5.5L    Aux Battery             400 33, 54           200
                                                                                       2016    V6/3.0L                                                49 33, 50, 54          850
2015      V8/5.5L                            49 33, 50, 54        850
2014-13   V8/5.5L                            49 33, 50, 54        850                  Mercedes-Benz GLE43 AMG
2014-13   V8/5.5L                            94R 33, 50          80 Ah                 2017      V6/3.0L    Aux Battery                               400 33, 54             200
                                                                                       2017      V6/3.0L                                              49 33, 50, 54          850
Mercedes-Benz G65 AMG
2017      V12/6.0L                           49 33, 50, 54        850                  Mercedes-Benz GLE450 AMG
2016      V12/6.0L                           49 33, 50, 54        850                  2016      V6/3.0L    Aux Battery                               400 33, 54             200
                                                                                       2016      V6/3.0L                                              49 33, 50, 54          850
Mercedes-Benz GL320
2009-07 V6/3.0L      Dsl                     49 50, 54            850
                                                                                       Mercedes-Benz GLE550
2009-07 V6/3.0L      Dsl, w/AGM              49 33, 47, 50      90-95 Ah               2017-16 V8/4.6L      Aux Battery                               400 33, 54             200
                                                                                       2017    V8/4.6L                                                49 33, 50, 54          850
Mercedes-Benz GL350                                                                    2016    V8/4.6L                                                49 33, 50, 54          850
2016      V6/3.0L    Aux, Dsl                400 33, 54           200
2016      V6/3.0L    Dsl                     49 33, 50, 54        850
                                                                                       Mercedes-Benz GLE550e
2015-13   V6/3.0L    Aux, Dsl                400 33, 54           200                  2017-16 V6/3.0L      Hybrid, Aux                               400 33, 54             200
2015      V6/3.0L    Dsl                     49 33, 50, 54        850                  2017-16 V6/3.0L      Hybrid                                    49 33, 50, 54          850
2014-10   V6/3.0L    Dsl                     49 33, 50, 54        850                  Mercedes-Benz GLE63 AMG
2014-10   V6/3.0L    Dsl, w/AGM              49 33, 47, 50      90-95 Ah               2017-16 V8/5.5L      Aux Battery                               400 33, 54             200
Mercedes-Benz GL450                                                                    2017    V8/5.5L                                                49 33, 50, 54          850
                                                                                       2016    V8/5.5L                                                49 33, 50, 54          850
2016      V6/3.0L    Aux Battery             400 33, 54           200
2016      V6/3.0L                            49 33, 50, 54        850                  Mercedes-Benz GLE63 AMG S
2015      V6/3.0L    Aux Battery             400 33, 54           200                  2017-16 V8/5.5L      Aux Battery                               400 33, 54             200
2015      V6/3.0L                            49 33, 50, 54        850                  2017    V8/5.5L                                                49 33, 50, 54          850
2014-13   V8/4.6L    Aux Battery             400 33, 54           200                  2016    V8/5.5L                                                49 33, 50, 54          850
2014-07   V8/4.6L                            49 33, 50, 54        850                  Mercedes-Benz GLK250
2014-07   V8/4.6L    AGM                     49 33, 47, 50      90-95 Ah               2015-13 L4/2.1L      Aux, Dsl                                  400 33, 54             200
Mercedes-Benz GL550                                                                    2015-13 L4/2.1L      Dsl                                       48 33, 50, 54          800
2016      V8/4.6L    Aux Battery             400 33, 54           200                  Mercedes-Benz GLK350
2016      V8/4.6L                            49 33, 50, 54        850                  2015-10   V6/3.5L    Aux Battery                               400 33, 54             200
2015-13   V8/4.6L    Aux Battery             400 33, 54           200                  2015      V6/3.5L                                              48 33, 50, 54          760
2015      V8/4.6L                            49 33, 50, 54        850                  2015      V6/3.5L                                              94R 33, 50, 54        80 Ah
2014-13   V8/4.6L                            49 33, 50, 54        850                  2014-13   V6/3.5L                                              48 33, 50, 54          760
2014-13   V8/4.6L    AGM                     49 33, 47, 50      90-95 Ah               2012-10   V6/3.5L                                              48 50, 54              680
2012-08   V8/5.5L                            49 33, 50, 54        850                  2012-10   V6/3.5L    Opt                                       48 33, 50, 54          760
2012-08   V8/5.5L    AGM                     49 33, 47, 50      90-95 Ah               2012-10   V6/3.5L    Opt                                       48 33, 50, 54          800
Mercedes-Benz GL63 AMG                                                                 2012-10   V6/3.5L    Opt                                       49 33, 50, 54          800
2016      V8/5.5L    Aux Battery             400 33, 54           200                  2012-10   V6/3.5L    Opt                                       94R 50, 54             700         30
                                                                                       2012-10   V6/3.5L    AGM                                       94R 33, 50            80 Ah
2016      V8/5.5L                            49 33, 50, 54        850
2015-13   V8/5.5L    Aux Battery             400 33, 54           200                  Mercedes-Benz GLS350d
2015      V8/5.5L                            49 33, 50, 54        850                  2017      V6/3.0L    Aux, Dsl                                  400 33, 54             200
2014-13   V8/5.5L                            49 33, 50, 54        850                  2017      V6/3.0L    Dsl                                       49 33, 50, 54          850
2014-13   V8/5.5L    AGM                     49 33, 47, 50      90-95 Ah               Mercedes-Benz GLS450
Mercedes-Benz GLA250                                                                   2017      V6/3.0L    Aux Battery                               400 33, 54             200
2017      L4/2.0L    Aux Battery             400 33, 54           200                  2017      V6/3.0L                                              49 33, 50, 54          850
2017      L4/2.0L                            48 33, 54            760                  Mercedes-Benz GLS550
2016-15   L4/2.0L    Aux Battery             400 33, 54           200                  2017      V8/4.6L    Aux Battery                               400 33, 54              200
2016-15   L4/2.0L                            48 33, 54            760                  2017      V8/4.6L                                              49 33, 50, 54           850
                                                                                                                                    See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                  Costco_001521
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    Automotive/Light Truck                                                                                                                                                                        65
                                                                                      Original                                                                                            Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                  Options                 BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                                     (notes)                    Code
                                                                                     CCA/Rating                                                                                          CCA/Rating
    Mercedes-Benz GLS63 AMG                                                                                 Mercedes-Benz ML550 (continued)
    2017         V8/5.5L        Aux Battery                       400 33, 54           200                  2014-12   V8/4.6L    AGM                                  49 33, 47, 50       95 Ah
    2017         V8/5.5L                                          49 33, 50, 54        850                  2011-10   V8/5.5L                                         49 50, 54            850
    Mercedes-Benz Maybach S550                                                                              2011-08   V8/5.5L    AGM                                  49 33, 47, 50       95 Ah
    2017         V8/4.6L        Aux Battery                       400 33, 54           200                  2009-08   V8/5.5L                                         49 50, 54            850
    2017         V8/4.6L                                          48 33, 50, 54        760                  Mercedes-Benz ML63 AMG
    2017         V8/4.6L        Opt                               48 33, 50, 54        800                  2015-12   V8/5.5L    Aux Battery                          400 33, 54           200
    2017         V8/4.6L        Opt                               49 33, 50, 54        850                  2015      V8/5.5L                                         49 50, 54            850
    Mercedes-Benz Maybach S600                                                                              2014-12   V8/5.5L                                         49 50, 54            850
    2017-16 V12/6.0L Aux Battery                                  400 33, 54           200                  2014-12   V8/5.5L    AGM                                  49 33, 47, 50       95 Ah
    2017-16 V12/6.0L                                              48 33, 54            760                  2011-10   V8/6.3L                                         49 50, 54            850
    2017-16 V12/6.0L Opt                                          49 33, 54            850                  2011-07   V8/6.3L    AGM                                  49 33, 47, 50       95 Ah
                                                                                                            2009-07   V8/6.3L                                         49 50, 54            850
    Mercedes-Benz Metris
    2017         L4/2.0L                                          48 50, 54            680         29
                                                                                                            Mercedes-Benz R320
    2017         L4/2.0L        Opt                               48 33, 50, 54        760                  2009-07 V6/3.0L      Dsl                                  49 33, 50, 54        850
    2017         L4/2.0L        Opt                               49 50, 54            760                  2009    V6/3.0L      Dsl w/AGM, BlueTEC                   49 33, 47, 50      90-95 Ah
    2017         L4/2.0L        Opt                               49 33, 50, 54        850                  Mercedes-Benz R350
    2016         L4/2.0L                                          48 50, 54            680                  2013-12   V6/3.5L                                         48 33, 50, 54        760
    2016         L4/2.0L        Opt                               48 33, 50, 54        760                  2013-12   V6/3.5L    Opt                                  49 33, 50, 54        850
    2016         L4/2.0L        Opt                               49 50, 54            760                  2013-10   V6/3.0L    Dsl                                  49 33, 50, 54        850
    2016         L4/2.0L        Opt                               49 33, 50, 54        850                  2013-06   V6/3.5L    AGM                                  49 33, 47, 50      90-95 Ah
    Mercedes-Benz ML250                                                                                     2012-10   V6/3.0L    Dsl w/AGM, BlueTEC                   49 33, 47, 50      90-95 Ah
                                                                                                            2011-08   V6/3.5L                                         49 33, 50, 54        850
    2015         L4/2.1L        Aux, Dsl                          400 33, 54           200
                                                                                                            2007-06   V6/3.5L                                         49 33, 50, 54        950
    2015         L4/2.1L        Dsl                               49 33, 50, 54        850
    Mercedes-Benz ML320                                                                                     Mercedes-Benz R500
                                                                       33, 47, 50                           2007-06 V8/5.0L      AGM                                  49 33, 47, 50      90-95 Ah
    2009-07      V6/3.0L        AGM, CDI/BlueTEC                  49                  95 Ah
                                                                                                            2007-06 V8/5.0L                                           49 33, 50, 54        950
    2009         V6/3.0L        Dsl                               49 50                760
    2008-07      V6/3.0L        Dsl                               49 50                850                  Mercedes-Benz R63 AMG
    2003-98      V6/3.2L                                          49                   825                  2007      V8/6.3L                                         49 33, 50, 54        850
    2003-98      V6/3.2L        AGM, Opt                          49 33, 50, 54      90-95 Ah               2007      V8/6.3L    AGM                                  49 33, 47, 50      90-95 Ah
    Mercedes-Benz ML350                                                                                     Mercedes-Benz S320
    2015-12      V6/3.0L        Aux, Dsl                          400    33, 54
                                                                                       200                  1999-94 L6/3.2L                                           49 50                825
    2015-12      V6/3.5L        Aux Battery                       400 33, 54           200                  Mercedes-Benz S350
    2015         V6/3.0L        Dsl                               49 33, 50, 54        850                  2013-12   V6/3.0L    Aux, Dsl                             400 33, 54           200
    2015         V6/3.5L                                          49 33, 50, 54        850                  2013-12   V6/3.0L    Dsl w/AGM, BlueTEC                   49 33, 50            850
    2014-12      V6/3.0L        Dsl                               49 33, 50, 54        850                  2006      V6/3.7L    AGM                                  49 33, 50            850
    2014-12      V6/3.5L                                          49 33, 50, 54        850                  1995-94   L6/3.4L    Dsl                                  49 33, 50, 54        760
    2014-06      V6/3.5L        AGM                               49 33, 47, 50       95 Ah                 1995-94   L6/3.4L                                         49                   825
    2012-10      V6/3.0L        Dsl, w/AGM                        49 33, 47, 50       95 Ah                 Mercedes-Benz S400
    2011-10      V6/3.0L        Dsl                               49 33, 50, 54        850                  2013-10   V6/3.5L    Hybrid, Aux                          400 33, 54           200
    2011-08      V6/3.5L                                          49 33, 50, 54        850                  2013      V6/3.5L    Hybrid                               48 33, 50, 54        760
    2007-06      V6/3.5L        AGM, 163/164 Series               49 33, 47, 50       90 Ah                 2012-10   V6/3.5L    Hybrid                               48 33, 50, 54        760
    2007-06      V6/3.5L                                          49 33, 50, 54        950                  2012-10   V6/3.5L    Hybrid                               94R 33, 50, 54      80 Ah
    2005-04      V6/3.7L                                          49 50, 54            760                  Mercedes-Benz S420
    2005-04      V6/3.7L                                          49 50                825
                                                                                                            1999-94 V8/4.2L                                           49                   825
    2003         V6/3.7L                                          49                   825
    Mercedes-Benz ML400                                                                                     Mercedes-Benz S430
                                                                                                            2006-02 V8/4.3L      AGM                                  49 33, 50            850
    2015         V6/3.0L        Aux Battery                       400 33, 54           200
                                                                                                            2005-02 V8/4.3L                                           49 33, 50            825
    2015         V6/3.0L                                          49 33, 50, 54        850
                                                                                                            2001-00 V8/4.3L                                           49                   825
    Mercedes-Benz ML430                                                                                     Mercedes-Benz S450
    2001-99 V8/4.3L                                               49                   825
                                                                                                            2011-08 V8/4.6L      Aux Battery                          400 33, 54           200
    Mercedes-Benz ML450                                                                                     2011-08 V8/4.6L      On-Board Electrical System Battery   49 33, 50, 54        850
                                                                       50, 54
    2011-10 V6/3.5L             Hybrid                            49                   850                  2011-08 V8/4.6L      Starting Motor Battery               V4 45, 54            520
    2011-10 V6/3.5L             AGM                               49 33, 47, 50       95 Ah                 Mercedes-Benz S500
    Mercedes-Benz ML500                                                                                     2006-02 V8/5.0L      AGM                                  49 33, 50            850
    2007-06      V8/5.0L        AGM                               49 33, 47, 50       95 Ah                 2001-94 V8/5.0L                                           49 33, 50, 54        760
    2007         V8/5.0L                                          49 50                950                  2001-94 V8/5.0L                                           49 50                825
    2006         V8/5.0L                                          49 33, 50            950                  Mercedes-Benz S55 AMG
    2005-03      V8/5.0L                                          49                   825                  2006      V8/5.5L                                         49 33, 50            850
    2005-02      V8/5.0L                                          49 50                825                  2005-04   V8/5.5L                                         49 33, 50            825
    2002         V8/5.0L                                          49                 100 Ah                 2003      V8/5.5L                                         49 50                850
    2002         V8/5.0L                                          49                   825                  2002-01   V8/5.5L                                         49 33, 50            825
    Mercedes-Benz ML55 AMG                                                                                  Mercedes-Benz S550
    2003-00 V8/5.5L                                               49 47, 50          100 Ah                 2017-16   V8/4.6L    Aux Battery                          400 33, 54          200
    2003-00 V8/5.5L                                               49                  825                   2017-16   V8/4.6L    On-Board Electrical System Battery   49 33, 50, 54       850
    Mercedes-Benz ML550                                                                                     2016      V8/4.6L    Starting Battery                     V4 50, 54           520
    2015        V8/4.6L Aux Battery                               400 33, 54           200                  2015-14   V8/4.6L    Opt                                  95R 33, 50, 54     105 Ah
    2015        V8/4.6L                                           49 50, 54            850                  2015-12   V8/4.6L    Aux Battery                          400 33, 54          200
    2014-12 V8/4.6L Aux Battery                                   400 33, 54           200                  2015      V8/4.6L    On-Board Electrical System Battery   49 33, 50, 54       850
    2014-12 V8/4.6L                                               49 50, 54            850                  2015      V8/4.6L    Starting Motor Battery               V4 54               520
    See page 88 for Footnotes. Selection may vary by warehouse.

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66                                                                                                             Automotive/Light Truck
                                                                              Original                                                                                                        Original
  Year      Engine                  Options                 BCI Group Size   Equipment    Fitment     Year       Engine                      Options                       BCI Group Size    Equipment    Fitment
                                                                (notes)                    Code                                                                                (notes)                     Code
                                                                             CCA/Rating                                                                                                      CCA/Rating
Mercedes-Benz S550 (continued)                                                                      Mercedes-Benz SL550
2014-12   V8/4.6L                                         49 33, 50            850                  2017      V8/4.6L                                                    49 33, 50, 54          850
2013-12   V8/4.6L    Opt                                  94R 33, 50, 54      80 Ah                 2016      V8/4.6L     Aux Electronics Battery                        49 33, 50, 54          850
2011-07   V8/5.5L    Aux Battery                          400 33, 54           200                  2015      V8/4.6L     On-Board Electrical System Battery             49 33, 50, 54          850
2011-07   V8/5.5L                                         49 33, 50            850                  2015      V8/4.6L     Starting Motor Battery                         V4 54                  520
2011-07   V8/5.5L    Secondary                            V4                  35 Ah                 2014-13   V8/4.6L     On-Board Electrical System Battery             49 33, 50, 54          850
2008-07   V8/5.5L    Opt                                  47 33, 50, 54       60 Ah                 2014-13   V8/4.6L     Starting Motor Battery                         V4 45, 54              520
Mercedes-Benz S550e                                                                                 2012-07   V8/5.5L     AGM, In trunk                                  48 33, 47             70 Ah
                                                                                                    2012-07   V8/5.5L     On-Board Electrical System Battery             48 33, 50, 54          760
2017-15 V6/3.0L      Hybrid, Aux                          400 33, 54           200
                                                                                                    2012-07   V8/5.5L     AGM, Opt                                       49 33, 47             95 Ah
2017-15 V6/3.0L      Hybrid                               48 33, 54            760
                                                                                                    2012-07   V8/5.5L     Secondary                                      V4 50                 35 Ah
2017-15 V6/3.0L      Hybrid, Opt                          49 33, 54            850
                                                                                                    Mercedes-Benz SL600
Mercedes-Benz S600
                                                                                                    2011-04   V12/5.5L AGM                                               48 33, 47             70 Ah
2017-16   V12/6.0L   Aux Battery                          400 33, 54           200
                                                                                                    2011-04   V12/5.5L On-Board Electrical System Battery                48 33, 50, 54          760
2017-16   V12/6.0L                                        48 33, 54            760
                                                                                                    2009-05   V12/5.5L Secondary                                         V4                    35 Ah
2017-16   V12/6.0L   Opt                                  49 33, 54            850
                                                                                                    2002-94   V12/6.0L                                                   49                     825
2015      V12/6.0L   Aux Battery                          400 33, 54           200
2015      V12/6.0L                                        48 33, 54            760                  Mercedes-Benz SL63 AMG
2015      V12/6.0L   Opt                                  49 33, 54            850                  2017      V8/5.5L                                         49 33, 50, 54                     860
2013-08   V12/5.5L   Aux Battery                          49 33, 47, 50       95 Ah                 2016      V8/5.5L                                         49 33, 50, 54                     850
2013-08   V12/5.5L   Primary Battery                      V4 50               35 Ah                 2016      V8/5.5L     Starting Battery                    V4 50, 54                         520
                                                                                                    2015-13   V8/5.5L                                         49 33, 50, 54                     850
2013-07   V12/5.5L   Aux Battery                          400 33, 54           200
                                                                                                    2015-13   V8/5.5L     On-Board Electrical System Battery, 49 33, 50, 54                    95 Ah
2013-07   V12/5.5L   On-Board Electrical System Battery   49 33, 50, 54        850
                                                                                                                          Opt
2007-03   V12/5.5L   AGM                                  49 33, 50           95 Ah
                                                                                                    2015-13   V8/5.5L     Aux Battery                         N/A 33                           12 Ah
2006-03   V12/5.5L                                        49 33, 50, 54        850
                                                                                                    2015      V8/5.5L     On-Board Electrical System Battery 48 33, 50, 54                      760
2002-01   V12/5.8L                                        49                   825
                                                                                                    2015      V8/5.5L     Starting Motor Battery              V4 54                             520
1999-94   V12/6.0L                                        49                   825                  2012-09   V8/6.3L     On-Board Electrical System Battery 48 33, 50, 54                      760
Mercedes-Benz S63 AMG                                                                               2011-09   V8/6.3L     Aux Battery                         48 33, 50                        70 Ah
2017-16   V8/5.5L                                         48 33, 50, 54       760                   2011-09   V8/6.3L     Starting Battery                    V4 50                            35 Ah
2017-11   V8/5.5L    Aux Battery                          400 33, 54          200                   Mercedes-Benz SL65 AMG
2017      V8/5.5L    Opt                                  49 33, 50, 54       850                   2017-16   V12/6.0L                                                   49 33, 50, 54          850
2016      V8/5.5L                                         49 33, 50, 54       850                   2016      V12/6.0L    Starting Battery                               V4 50, 54              520
2015-14   V8/5.5L    Opt                                  95R 33, 50, 54     105 Ah                 2015-13   V12/6.0L                                                   49 33, 50, 54          850
2015      V8/5.5L                                         48 33, 50, 54       760                   2015-13   V12/6.0L    Aux Battery                                    N/A 33                12 Ah
2015      V8/5.5L                                         49 33, 50, 54       850                   2015      V12/6.0L    On-Board Electrical System Battery             48 33, 50, 54          760
2014-11   V8/5.5L    AGM                                  49 33, 47, 50      95 Ah                  2015      V12/6.0L    Starting Motor Battery                         V4 54                  520
2014      V8/5.5L                                         48 33, 50, 54       760                   2014-13   V12/6.0L    On-Board Electrical System Battery             48 33, 50, 54          760
2014      V8/5.5L    Opt                                  49 33, 50, 54       850                   2011-05   V12/6.0L    AGM                                            48 33, 47             70 Ah
2013-11   V8/5.5L                                         49 33, 50, 54       850                   2011-05   V12/6.0L    On-Board Electrical System Battery             48 33, 50, 54          760
2013-11   V8/5.5L    Opt                                  94R 33, 50, 54     80 Ah                  Mercedes-Benz SLC300
2010-09   V8/6.3L    AGM                                  49 33, 47, 50      95 Ah                  2017      L4/2.0L                                                    48 33, 54              760
2010-08   V8/6.3L    Aux Battery                          400 33, 54          200
                                                                                                    Mercedes-Benz SLC43 AMG
2010-08   V8/6.3L                                         49 33, 50, 54       850
                                                                                                    2017      V6/3.0L                                                    48 33, 54              760
Mercedes-Benz S65 AMG                                                                               Mercedes-Benz SLK230
                                                               33, 54
2017-16   V12/6.0L                                        48                   760
                                                                                                    2004-02 L4/2.3L                                                      48 50                  690         29
2017-16   V12/6.0L   Opt                                  49 33, 54            850                  2001-00 L4/2.3L                                                      49                     825
2017-15   V12/6.0L   Aux Battery                          400 33, 54           200                  1999-98 L4/2.3L                                                      48                     690         29
2015      V12/6.0L                                        48 33, 54            760
2015      V12/6.0L   Opt                                  49 33, 54            850
                                                                                                    Mercedes-Benz SLK250
2013-08   V12/6.0L   AGM, Secondary                       49 33, 47, 50       95 Ah                 2015      L4/1.8L                                                    48 33, 50, 54          760
                                                                                                    2015      L4/1.8L     Opt                                            94R 33, 50, 54        80 Ah
2013-08   V12/6.0L   Primary Battery                      V4 50               35 Ah
                                                                                                    2014-13   L4/1.8L                                                    94R 33, 50, 54        80 Ah
2013-07   V12/6.0L   Aux Battery                          400 33, 54           200
                                                                                                    2014-12   L4/1.8L                                                    48 33, 50, 54          760
2013-07   V12/6.0L   On-Board Electrical System Battery   49 33, 50, 54        850
                                                                                                    2012      L4/1.8L                                                    94R 33, 50, 56        80 Ah
2007-06   V12/6.0L   AGM                                  49 33, 47, 50       95 Ah
2006      V12/6.0L                                        49 33, 50, 54        850                  Mercedes-Benz SLK280
                                                                                                    2008-06 V6/3.0L                                                      48 50, 54              680         29
Mercedes-Benz SL320                                                                                 2006    V6/3.0L                                                      98R 33, 50             760
1997-94 L6/3.2L                                           49                   825
                                                                                                    Mercedes-Benz SLK300
Mercedes-Benz SL400                                                                                 2016    L4/2.0L                                                      48 33, 54              760
2016      V6/3.0L                                         49 33, 54            850                  2011-09 V6/3.0L                                                      48 50, 54              680         29
2015      V6/3.0L                                         49 33, 54            850
                                                                                                    Mercedes-Benz SLK32 AMG
Mercedes-Benz SL450                                                                                 2004-02 V6/3.2L                                                      48                     690         29
2017      V6/3.0L                                         49 33, 50, 54        850                  Mercedes-Benz SLK320
Mercedes-Benz SL500                                                                                 2004-02 V6/3.2L                                                      48                     690         29
2006-03 V8/5.0L      AGM                                  48 33, 47, 50       70 Ah                 2001    V6/3.2L                                                      49 50                  825
2006-03 V8/5.0L      On-Board Electrical System Battery   48 33, 50, 54        760                  Mercedes-Benz SLK350
2002-94 V8/5.0L                                           49 50                825                  2016      V6/3.5L                                                    48 33, 50, 54           760
Mercedes-Benz SL55 AMG                                                                              2015-12   V6/3.5L                                                    48 33, 50, 54           760
2008-03 V8/5.5L      AGM                                  48 33, 47, 50       70 Ah                 2015      V6/3.5L                                                    48 50, 54               680        29
2008-03 V8/5.5L      On-Board Electrical System Battery   48 33, 50, 54        760                  2015      V6/3.5L     Opt                                            94R 33, 50, 54        80 Ah
2008-03 V8/5.5L      Secondary                            V4 50               35 Ah                 2014-12   V6/3.5L     Opt                                            94R 33, 50, 54        80 Ah
                                                                                                                                                       See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                                     Costco_001523
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 240Mercury
                                                                                 of
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    Automotive/Light Truck                                                                                                                                                               67
                                                                                        Original                                                                                 Original
        Year         Engine                         Options           BCI Group Size   Equipment    Fitment     Year      Engine                    Options    BCI Group Size   Equipment    Fitment
                                                                          (notes)                    Code                                                          (notes)                    Code
                                                                                       CCA/Rating                                                                               CCA/Rating
    Mercedes-Benz SLK350 (continued)                                                                          Mercury Capri
    2011-05 V6/3.5L                                                 47 50, 54            480         28       1994    L4/1.6L                                 35                  460          3
    2011-05 V6/3.5L                                                 48 50, 54            680         29       1993-91 L4/1.6L                                 35                  390          3
    Mercedes-Benz SLK55 AMG                                                                                   Mercury Colony Park
    2016         V8/5.5L                                            48 33, 50            680                  1991      V8/5.0L                               65                  650          4
    2015-12      V8/5.5L        Opt                                 94R 33, 50, 54      80 Ah                 1990      V8/5.0L                               58                  540          8
    2015         V8/5.5L                                            48 50, 54            680         29       Mercury Comet
    2014-12      V8/5.5L                                            48 50, 54            680         29       1970-64 V8/7.0L      Ex 428                     22F                 250         38
    2011-10      V8/5.5L                                            48 50, 54            680                  Mercury Cougar
    2011-05      V8/5.5L                                            48 50               74 Ah
                                                                                                              2002-99   L4/2.0L                               40R                 590         19
    2009-07      V8/5.5L                                            48 50, 54            680
                                                                                                              2002-99   V6/2.5L                               40R                 590         19
    2006         V8/5.5L                                            98R 33, 50           760
                                                                                                              1997-94   V6/3.8L    Can & Opt                  65                  650          4
    2006         V8/5.5L        Opt                                 98R 33, 50           760
                                                                                                              1997-94   V8/4.6L                               65                  650          4
    2005         V8/5.5L                                            49                   825
                                                                                                              1997      V6/3.8L                               59                  540         34
    Mercedes-Benz SLR McLaren                                                                                 1996      V6/3.8L    Early                      58                  540          8
    2009-06 V8/5.5L            On-Board Electrical System Battery   98R 33, 50           760                  1996      V6/3.8L    US, Late                   59                  540         34
    2009-05 V8/5.5L            Starting Motor Battery               V4 45, 54            520                  1995-94   V6/3.8L                               58                  540          8
    2005    V8/5.5L            On-Board Electrical System Battery   49                   825                  1993-91   V8/5.0L                               65                  650          4
    Mercedes-Benz SLS AMG                                                                                     1993-90   V6/3.8L    Can or Cold Climate Pkg    65                  650          4
    2014-11 V8/6.3L                                                 48 33, 50, 54       70 Ah                 1993      V6/3.8L    US                         58                  540          8
    2014-11 V8/6.3L                                                 48 33, 50, 54        760                  1993      V6/3.8L    Opt                        65                  650          4
    Mercedes-Benz Sprinter 2500                                                                               1992-90   V6/3.8L                               58                  460          8
    2017         L4/2.1L        Dsl                                 48 50, 54            680         29       1992-90   V6/3.8L    Opt                        58                  540          8
    2017         L4/2.1L        Dsl, Opt                            48 33, 50, 54        760                  1990      V6/3.8L    S/C                        65                  650          4
    2017         L4/2.1L        Dsl, Opt                            49 50, 54            760                  1980      L6/3.3L                               63                  450
    2017         L4/2.1L        Dsl, Opt                            49 33, 50, 54        850                  1980      V8/4.2L                               63                  450
    2017         V6/3.0L        Dsl                                 48 50, 54            680         29       1980      V8/5.0L                               63                  450
    2017         V6/3.0L        Dsl, Opt                            48 33, 50, 54        760                  1979-78   V8/5.0L    Opt                        56                  535
    2017         V6/3.0L        Dsl, Opt                            49 50, 54            760                  1979-78   V8/5.8L    Opt                        56                  535
    2017         V6/3.0L        Dsl, Opt                            49 33, 50, 54        850                  1978      V8/6.6L    Opt                        56                  535
    2016-14      L4/2.1L                                            49 50                850                  1977-73   V8/6.6L                               24F                 325         23
    2016         L4/2.1L        Dsl                                 48 50, 54            680                  1977-69   V8/5.8L                               24F                 325         23
    2016         L4/2.1L        Dsl, Opt                            48 33, 50, 54        760                  1977      V8/5.0L                               24F                 325         23
    2016         L4/2.1L        Dsl, Opt                            49 50, 54            760                  1976-73   V8/7.5L                               24F                 325         23
    2016         V6/3.0L        Dsl                                 48 50, 54            680                  1971-68   V8/5.0L                               24F                 325         23
    2016         V6/3.0L        Dsl, Opt                            48 33, 50, 54        760                  1971-68   V8/7.0L                               24F                 325         23
                                                                                                              1970-67   V8/6.4L                               24F                 325         23
    2016         V6/3.0L        Dsl, Opt                            49 50, 54            760
                                                                                                              1968-67   V8/4.7L                               24F                 325         23
    2016         V6/3.0L                                            49 50                850
    2015-14      L4/2.1L        Dsl                                 48 50, 54            680                  Mercury Grand Marquis
    2015-14      L4/2.1L        Dsl, Opt                            48 33, 50, 54        760                  2011-98   V8/4.6L                               65                  650          4
    2015-14      L4/2.1L        Dsl, Opt                            49 50, 54            760                  2011-09   V8/4.6L    HD or PPkg                 65                  750          4
    2015-10      V6/3.0L        Dsl                                 48 50, 54            680                  2006-97   V8/4.6L    Can & Opt                  65                  750          4
    2015-10      V6/3.0L        Dsl, Opt                            48 33, 50, 54        760                  1997      V8/4.6L    US                         59                  540         34
    2015-10      V6/3.0L        Dsl, Opt                            49 50, 54            760                  1996-95   V8/4.6L    PPkg                       65                  850          4
    2015         V6/3.0L        Dsl                                 49 50                850                  1996-93   V8/4.6L    US, Opt or Can             65                  750          4
    2014-10      V6/3.0L        Dsl                                 49 50                850                  1996      V8/4.6L    US, Early                  58                  540          8
    Mercedes-Benz Sprinter 3500                                                                               1996      V8/4.6L    Late                       59                  540         34
                                                                                                              1995-93   V8/4.6L    US                         58                  540          8
    2017        L4/2.1L Dsl                                         48 50, 54            680         29
                                                                                                              1993-92   V8/4.6L    w/HWS                      65                  850          4
    2017        L4/2.1L Dsl, Opt                                    48 33, 50, 54        760
                                                                                                              1992      V8/4.6L    Ex HWS                     65                  650          4
    2017        L4/2.1L Dsl, Opt                                    49 50, 54            760
                                                                                                              1991-90   V8/5.0L    w/HWS                      65                  850          4
    2017        L4/2.1L Dsl, Opt                                    49 33, 50, 54        850
                                                                                                              1991      V8/5.0L                               65                  650          4
    2017        V6/3.0L Dsl                                         48 50, 54            680         29
                                                                                                              1990      V8/5.0L                               58                  540          8
    2017        V6/3.0L Dsl, Opt                                    48 33, 50, 54        760
                                                                                                              1990      V8/5.0L    Opt                        65                  650          4
    2017        V6/3.0L Dsl, Opt                                    49 50, 54            760
                                                                                                              1980      V8/5.0L                               64                  535
    2017        V6/3.0L Dsl, Opt                                    49 33, 50, 54        850
                                                                                                              1980      V8/5.8L                               64                  535
    2016-14 L4/2.1L                                                 49 50                850
                                                                                                              1979-78   V8/5.8L                               56                  535
    2016        L4/2.1L Dsl                                         48 50, 54            680
                                                                                                              1979      V8/5.0L                               56                  535
    2016        L4/2.1L Dsl, Opt                                    48 33, 50, 54        760
                                                                                                              1978      V8/6.6L                               56                  535
    2016        L4/2.1L Dsl, Opt                                    49 50, 54            760
                                                                                                              1978      V8/7.5L                               56                  535
    2016        V6/3.0L Dsl                                         48 50, 54            680
                                                                                                              1977-75   V8/6.6L                               24F                 325         23
    2016        V6/3.0L Dsl, Opt                                    48 33, 50, 54        760
                                                                                                              1977-75   V8/7.5L                               24F                 325         23
    2016        V6/3.0L Dsl, Opt                                    49 50, 54            760
    2016        V6/3.0L                                             49 50                850                  Mercury Marauder
    2015-14 L4/2.1L Dsl                                             48 50, 54            680                  2004-03 V8/4.6L                                 65                  650          4
    2015-14 L4/2.1L Dsl, Opt                                        48 33, 50, 54        760                  Mercury Mariner
    2015-14 L4/2.1L Dsl, Opt                                        49 50, 54            760                  2011-10   V6/3.0L                               96R                 590         32
    2015-10 V6/3.0L Dsl                                             48 50, 54            680                  2011-09   L4/2.5L    Hybrid                     96R                 500         32
    2015-10 V6/3.0L Dsl, Opt                                        48 33, 50, 54        760                  2009-05   V6/3.0L                               40R                 590         19
    2015-10 V6/3.0L Dsl, Opt                                        49 50, 54            760                  2009      L4/2.5L                               40R                 590         19
    2015        V6/3.0L Dsl                                         49                   850                  2008-06   L4/2.3L    Hybrid                     96R                 500         32
    2014-10 V6/3.0L Dsl                                             49 50                850                  2008-05   L4/2.3L                               40R                 590         19
    See page 88 for Footnotes. Selection may vary by warehouse.

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68                                                                                              Automotive/Light Truck
                                                               Original                                                                                                         Original
  Year      Engine                Options    BCI Group Size   Equipment    Fitment     Year      Engine                   Options                        BCI Group Size        Equipment    Fitment
                                                 (notes)                    Code                                                                             (notes)                         Code
                                                              CCA/Rating                                                                                                       CCA/Rating
Mercury Marquis                                                                      Mercury Villager
1967      V8/7.0L                           27F                 350         36       2002-99   V6/3.3L    Can & Opt                                   24F                        525         23
Mercury Milan                                                                        2002-99   V6/3.3L                                                35                         450         3
2011-10   L4/2.5L    Hybrid                 67R                 390                  1998-94   V6/3.0L    Can & Opt                                   24F                        525         23
2011-10   L4/2.5L                           96R                 500         32       1998-94   V6/3.0L    US                                          35                         450         3
2011-10   V6/3.0L                           96R                 500         32       1993      V6/3.0L    Can & Opt                                   24F                        585         23
                                                                                     1993      V6/3.0L    US                                          35                         350         3
2009-08   L4/2.3L                           96R                 500         32
2009      V6/3.0L                           96R                 590         32       Mini Cooper
2008      V6/3.0L                           96R                 500         32       2017-15   L3/1.5L                                                48 33, 50, 54, 55, 56      760
2007-06   L4/2.3L                           40R                 590         19       2017-15   L3/1.5L    Opt                                         94R 33, 50, 54, 55, 56     800
2007-06   V6/3.0L                           40R                 590         19       2017-15   L4/2.0L                                                48 33, 50, 54, 55, 56      760
                                                                                     2017-15   L4/2.0L    Opt                                         94R 33, 50, 54, 55, 56     800
Mercury Montego                                                                      2015-14   L4/1.6L                                                47 50, 54, 55, 56          480         28
2007    V6/3.0L                             36R                 540         18       2015-14   L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
2006-05 V6/3.0L                             36R                 600         18       2015-14   L4/2.0L                                                94R 33, 50, 54, 55, 56     800
Mercury Monterey                                                                     2015-13   L4/1.6L    Opt                                         48 18, 50, 54, 56          570         29
2007    V6/4.2L                             65                  750          4       2015      L4/1.6L                                                140R 18, 50, 54, 56        480
2006-04 V6/4.2L                             59                  540         34       2014      L3/1.5L                                                94R 33, 50, 54, 55, 56     800
2006-04 V6/4.2L      Opt                    65                  750          4       2013      L4/1.6L    w/o AGM                                     47                         470         28
Mercury Mountaineer                                                                  2013      L4/1.6L                                                47 50, 54, 55, 56          480         28
2010-98 V6/4.0L                             65                  650          4       2013      L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
2010-02 V8/4.6L                             65                  650          4       2012-11   L4/1.6L                                                47 50, 54, 55, 56          480         28
                                                                                     2012-11   L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
2001-97 V8/5.0L                             65                  650          4
                                                                                     2012-10   L4/1.6L                                                48 50, 54, 55, 56          570         29
Mercury Mystique                                                                     2011-10   L4/1.6L    Starting Battery                            48 50, 54, 55, 56          570         29
2000-98   L4/2.0L                           40R                 590         19       2010-07   L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
2000-98   V6/2.5L                           40R                 590         19       2010      L4/1.6L    Opt, AGM                                    47 9, 33, 50, 54           480
1997-95   L4/2.0L    Opt                    40R                 650                  2009-07   L4/1.6L    Opt                                         48 50, 54, 55, 56          570         29
1997-95   L4/2.0L                           96R                 590         32       2009-02   L4/1.6L    w/o AGM                                     47 50                      480         28
1997-95   V6/2.5L                           40R                 650                  2009      L4/1.6L    Turbo                                       47 50                      480         28
Mercury Sable                                                                        2005-04   L4/1.6L    Naturally Aspirated                         47 50                      480         28
2009-08   V6/3.5L                           59                  540         34       Mini Cooper Clubman
2005      V6/3.0L    HD & Can, DOHC         36R                 600         18       2017-16 L3/1.5L                                                  48 33, 50, 54, 55, 56      760
2005      V6/3.0L    OHV                    36R                 600         18       2017    L4/2.0L                                                  94R 33, 50, 54, 55, 56     800
2004      V6/3.0L                           36R                 540         18       2016    L4/2.0L                                                  48 33, 50, 54, 55, 56      760
2004      V6/3.0L    US                     36R                 540         18       Mini Cooper Countryman
2004      V6/3.0L    US, Opt or Can         36R                 600         18       2017      L3/1.5L                                                48 33, 50, 54, 55, 56      760
2003      V6/3.0L    HD & Can, DOHC         36R                 600         18       2017      L3/1.5L    Opt                                         94R 33, 50, 54, 55, 56     800
2003      V6/3.0L    OHV                    36R                 600         18       2017      L4/2.0L                                                48 33, 50, 54, 55, 56      760
2002      V6/3.0L    HD & Can, DOHC         36R                 600         18       2017      L4/2.0L    Opt                                         94R 33, 50, 54, 55, 56     800
2002      V6/3.0L    OHV                    36R                 600         18       2016-14   L4/1.6L                                                47 50, 54, 55, 56          480         28
2001      V6/3.0L                           36R                 540         18       2016-14   L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
2001      V6/3.0L    US                     36R                 540         18       2016      L4/1.6L    Opt                                         48 50, 54, 55, 56          570         29
2001      V6/3.0L    US, Opt or Can         36R                 600         18       2015-13   L4/1.6L    Opt                                         48 18, 50, 54, 56          570         29
2000      V6/3.0L    HD & Can, DOHC         36R                 600         18       2015      L4/1.6L                                                140R 50, 54, 55, 56        480
2000      V6/3.0L                           58R                 540                  2013      L4/1.6L    w/o AGM                                     47                         470         28
1999-96   V6/3.0L    HD & Can, DOHC         36R                 650         18       2013      L4/1.6L                                                47 50, 54, 55, 56          480         28
1999-96   V6/3.0L                           58R                 540                  2013      L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
1995-93   V6/3.0L    Opt                    65                  650          4       2012-11   L4/1.6L                                                47 50, 54, 55, 56          480         28
1995-90   V6/3.0L                           58                  540          8       2012-11   L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
1995-90   V6/3.8L                           65                  650          4       2012-11   L4/1.6L                                                48 50, 54, 55, 56          570         29
1995-90   V6/3.8L    HD, w/HWS or PPkg      65                  850          4       Mini Cooper Paceman
1992-91   V6/3.0L    HD, w/HWS or PPkg      65                  850          4       2016-14   L4/1.6L                                                47 50, 54, 55, 56          480         28
1990      V6/3.0L    Opt                    65                  850          4       2016-14   L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
Mercury Tracer, Topaz                                                                2016      L4/1.6L    Opt                                         48 50, 54, 55, 56          570         29
                                                                                     2015      L4/1.6L                                                140R 18, 50, 54, 56        480
1999-98   L4/2.0L                           58                  500          8
                                                                                     2015      L4/1.6L    Opt                                         48 18, 54, 55, 56          570         29
1997      L4/2.0L                           58                  540          8
                                                                                     2014-13   L4/1.6L    Opt                                         48 18, 50, 54, 56          570         29
1996-95   L4/1.8L                           35                  540          3
                                                                                     2013      L4/1.6L    w/o AGM                                     47                         470         28
1996-94   L4/1.9L                           35                  460          3
                                                                                     2013      L4/1.6L                                                47 50, 54, 55, 56          480         28
1994-92   V6/3.0L                           58                  460          8
                                                                                     2013      L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
1994-92   V6/3.0L    Opt                    58                  540          8
1994-91   L4/1.8L                           35                  460          3       Mitsubishi 3000GT
1994-91   L4/2.3L                           58                  540          8       1999-97   V6/3.0L                                                25                         520         6
1993-92   L4/1.9L                           35                  390          3       1996      V6/3.0L                                                25                         520         6
1993-92   L4/1.9L    Opt                    35                  460          3       1995-94   V6/3.0L                                                24                         430         22
1993-92   L4/2.3L    AT & Opt               58                  540          8       1993-91   V6/3.0L                                                24                         490         22
1993      L4/1.9L    MT                     58                  460          8       Mitsubishi Diamante
1992-90   L4/2.3L    MT                     58                  460          8       2004      V6/3.5L                                                24                      600        22
1991      L4/1.9L                           35                  460          3       2003-99   V6/3.5L                                                86                      520        31
1990      L4/1.6L                           35                  390          3       1998-97   V6/3.5L                                                24                      490        22
1990      L4/2.3L    AT                     58                  540          8       1996-92   V6/3.0L                                                24                      490        22
                                                                                                                                    See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                 Nissan
                                      929
    Automotive/Light Truck                                                                                                                                                           69
                                                                                      Original                                                                               Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                  Options    BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                        (notes)                    Code
                                                                                     CCA/Rating                                                                             CCA/Rating
    Mitsubishi Eclipse                                                                                      Mitsubishi Mirage G4
    2012-06      V6/3.8L                                          24                   550         22       2017      L3/1.2L                             35                  435          3
    2012-00      L4/2.4L                                          86                   525         31       Mitsubishi Montero
    2005-00      V6/3.0L                                          86                   525         31       2006-03   V6/3.8L                             24F                 585         23
    1999-96      L4/2.4L                                          86                   430         31       2002-01   V6/3.5L                             24F                 585         23
    1999-95      L4/2.0L        MT                                86                   430         31       2002      V6/3.5L    Opt                      27F                 675         36
    1999-95      L4/2.0L        Turbo, AT                         86                   525         31       2000-94   V6/3.5L                             24                  490         22
    1999         L4/2.0L                                          86                   525         31       1996-90   V6/3.0L                             24                  490         22
    1998-95      L4/2.0L        AT                                86                   525         31       Mitsubishi Montero Sport
    1994-90      L4/1.8L                                          86                   430         31
                                                                                                            2004      V6/3.5L                             24                  585         22
    1994-90      L4/2.0L                                          86                   430         31
                                                                                                            2003-99   V6/3.5L    Opt                      24                  585         22
    Mitsubishi Endeavor                                                                                     2003-97   V6/3.0L    Opt                      24                  585         22
    2011-10 V6/3.8L                                               24                   550         22       2003      V6/3.0L                             25                  520          6
    2008-04 V6/3.8L                                               24                   550         22       2002-97   V6/3.0L                             25                  520          6
    Mitsubishi Expo                                                                                         2001-99   V6/3.5L                             25                  520          6
    1995-92 L4/2.4L                                               24                   490         22       1999-97   L4/2.4L    Opt                      24                  585         22
    Mitsubishi Expo LRV                                                                                     1999-97   L4/2.4L                             25                  520          6
    1994-93 L4/2.4L                                               24                   490         22       Mitsubishi Outlander
    1994-92 L4/1.8L                                               25                   360          6       2017-08   L4/2.4L                             35                  520         3
    Mitsubishi Galant                                                                                       2017      V6/3.0L                             24F                 585         23
                                                                                                            2016-15   V6/3.0L                             24F                 585         23
    2012-99      L4/2.4L                                          86                   525         31
                                                                                                            2014      V6/3.0L                             24F                 585         23
    2009-04      V6/3.8L                                          24                   550         22
                                                                                                            2013-12   V6/3.0L                             35                  520         3
    2003-99      V6/3.0L                                          86                   525         31
                                                                                                            2011-07   V6/3.0L                             24F                 585         23
    1998-94      L4/2.4L                                          26                   490
                                                                                                            2006      L4/2.4L    Opt                      24F                 620         23
    1993-90      L4/2.0L                                          51                   435         20
                                                                                                            2006      L4/2.4L                             35                  520         3
    Mitsubishi i-MiEV                                                                                       2005-04   L4/2.4L                             24F                 620         23
    2017-16                     Electric                          151R                 370                  2003      L4/2.4L                             35                  520         3
    2014                        Electric                          151R                 370                  Mitsubishi Outlander Sport
    2012                        Electric                          151R                 370
                                                                                                            2017-15   L4/2.4L                             35                  520          3
    Mitsubishi Lancer                                                                                       2017-11   L4/2.0L                             35                  520          3
    2017         L4/2.0L                                          35                   520          3       2016-15   L4/2.0L                             35                  530          3
    2017         L4/2.4L                                          35                   520          3       2016-15   L4/2.4L                             35                  530          3
    2016         L4/2.0L                                          35                   520          3       Mitsubishi Precis
    2016         L4/2.4L                                          35                   520          3       1994-90 L4/1.5L                               25                  420          6
    2015         L4/2.0L        Ex Evolution                      35                   520          3
    2015         L4/2.0L        Evolution                         N/A 50               700
                                                                                                            Mitsubishi Raider
    2015         L4/2.4L                                          35                   520          3       2009-06   V6/3.7L                             65                  600          4
    2014-13      L4/2.4L                                          35                   520          3       2007-06   V8/4.7L                             65                  600          4
    2014-11      L4/2.0L        Ex Evolution                      35                   520          3       2006      V6/3.7L    Opt                      65                  650          4
    2013-08      L4/2.0L        Evolution                         34 50                700                  2006      V8/4.7L    Opt                      65                  650          4
    2012-11      L4/2.4L        Ex Evolution                      35                   520          3       Mitsubishi RVR
    2010-08      L4/2.0L                                          35                   520          3       2017-16   L4/2.0L                             35                  520          3
    2010         L4/2.4L                                          35                   520          3       2017-15   L4/2.4L                             35                  520          3
    2009-08      L4/2.0L        ES, DE                            35                   520          3       2015      L4/2.0L                             35                  520          3
    2009         L4/2.4L        GTS                               35                   520          3       2014-11   L4/2.0L                             35                  520          3
    2007         L4/2.0L                                          35                   550          3       Mitsubishi Sigma
    2006-05      V6/3.0L                                          35                   520          3       1990      V6/3.0L                             24                  490         22
    2006-04      L4/2.4L                                          35                   520          3       Mitsubishi Van
    2006-03      L4/2.0L                                          35                   520          3       1990      L4/2.4L                             51                  435         20
    2002         L4/2.0L                                          35                   435          3
                                                                                                            Mobility Ventures MV-1
    Mitsubishi Mighty Max                                                                                   2017-15 V6/3.7L                               65                  750          4
    1996-95      L4/2.4L                                          51                   435         20       2015    V8/4.6L                               65                  760          4
    1994-91      L4/2.4L        RWD, Can                          24                   490         22       2014    V8/4.6L                               65                  750          4
    1994-91      L4/2.4L        RWD, US, 4WD All                  51                   435         20
    1994-90      V6/3.0L                                          24                   490         22
                                                                                                            Nissan 200SX
    1992-91      L4/2.4L        Opt                               24                   580         22       1998-95   L4/1.6L    Can                      24F                 550         23
    1992-91      V6/3.0L        Opt                               24                   580         22       1998-95   L4/1.6L    US                       35                  490         3
                                                                                                            1998-95   L4/2.0L    Can & Opt                24F                 550         23
    1990         L4/2.4L        Can                               24                   580         22
                                                                                                            1998-95   L4/2.0L    US                       35                  490         3
    1990         L4/2.4L        US                                51                   435         20
    Mitsubishi Mirage                                                                                       Nissan 240SX
                                                                                                            1998-97 L4/2.4L      US                       25                  360          6
    2017        L3/1.2L                                           35                   435          3
                                                                                                            1998-90 L4/2.4L      Can & Opt                24                  415         22
    2015-14 L3/1.2L                                               35                   360          3
                                                                                                            1996-90 L4/2.4L      US                       25                  360          6
    2015-14 L3/1.2L                                               35                   435          3
    2002-98 L4/1.5L                                               35                   435          3       Nissan 300ZX
    2002-98 L4/1.8L                                               35                   435          3       1996-93   V6/3.0L    Ex Conv w/MT             24F                 415         23
    1997        L4/1.5L                                           51R                  435         11       1996-93   V6/3.0L    AT                       24F                 575         23
    1997        L4/1.8L                                           51R                  435         11       1996-93   V6/3.0L    Conv                     35                  550         3
    1996-93 L4/1.5L                                               51                   430         20       1992-90   V6/3.0L    MT                       24F                 415         23
    1996-93 L4/1.8L                                               51                   430         20       1992-90   V6/3.0L    AT                       24F                 585         23
    1992-91 L4/1.6L                                               25                   355          6       Nissan 350Z
    1992-90 L4/1.5L                                               25                   355          6       2009-03 V6/3.5L                               35                  585          3
    See page 88 for Footnotes. Selection may vary by warehouse.

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70                                                                                               Automotive/Light Truck
                                                                Original                                                                                                    Original
  Year      Engine                Options     BCI Group Size   Equipment    Fitment     Year      Engine                   Options                       BCI Group Size    Equipment    Fitment
                                                  (notes)                    Code                                                                            (notes)                     Code
                                                               CCA/Rating                                                                                                  CCA/Rating
Nissan 370Z                                                                           Nissan Leaf
2017-16 V6/3.7L                             35                   585          3       2017                 Electric                                    51R                    410         11
2015    V6/3.7L                             35                   585          3       2016-11              Electric                                    51R                    410         11
2014-09 V6/3.7L                             35                   585          3       Nissan Maxima
Nissan Altima                                                                         2017-16   V6/3.5L                                                35                     550         3
2017-16   L4/2.5L                           35                   550          3       2014-09   V6/3.5L                                                35                     550         3
2017-16   V6/3.5L                           35                   550          3       2008-04   V6/3.5L                                                24F                    550         23
2015      L4/2.5L                           35                   550          3       2003      V6/3.5L                                                24F                    445         23
2015      V6/3.5L                           35                   550          3       2002      V6/3.5L                                                24F                    585         23
2014-07   L4/2.5L    Ex Hybrid              35                   550          3       2001-00   V6/3.0L                                                24F                    585         23
2014-07   V6/3.5L                           35                   550          3       1999-95   V6/3.0L    Calif & Can                                 24F                    585         23
2011-07   L4/2.5L    Hybrid                 34 50                700                  1999-95   V6/3.0L    US, Ex Calif                                35                     360         3
2006-02   L4/2.5L                           24F                  550         23       1994-90   V6/3.0L    Can                                         24F                    585         23
2006-02   V6/3.5L                           24F                  550         23       1994-90   V6/3.0L    Can & Opt                                   27F                    625         36
2001-96   L4/2.4L                           24F                  550         23       1994-90   V6/3.0L                                                35                     350         3
1995-93   L4/2.4L    Can & Opt              24F                  585         23       Nissan Murano
1995-93   L4/2.4L    US                     35                   350          3       2017-16   V6/3.5L                                                35                     550         3
Nissan Armada                                                                         2016      V6/3.5L                                                35                     585         3
2017      V8/5.6L                           27                   780         35       2015      V6/3.5L                                                35                     585         3
2015      V8/5.6L    Ex Tow Pkg             24F                  650         23       2014-09   V6/3.5L                                                35                     585         3
2015      V8/5.6L    w/TTPkg                27F                  710         36       2007      V6/3.5L    Ex Intelligent Key (I-Key)                  24F                    575         23
2014-05   V8/5.6L                           24F                  650         23       2007      V6/3.5L    Intelligent Key (I-Key)                     24F                    700         23
2014-05   V8/5.6L    TTPkg                  27F                  710         36       2006-04   V6/3.5L    w/o Intelligent Key (I-Key)                 24F                    575         23
Nissan Axxess                                                                         2006-04   V6/3.5L    w/Intelligent Key (I-Key)                   24F                    700         23
                                                                                      2006-04   V6/3.5L                                                35                     582         3
1992-90 L4/2.4L      Can                    24F                  415         23
                                                                                      2003      V6/3.5L                                                35                     490         3
1990    L4/2.4L      US                     35                   350          3
                                                                                      Nissan NV1500
Nissan Cube
                                                                                      2016      V6/4.0L                                                24F                    650         23
2014-09 L4/1.8L                             35                   405          3
                                                                                      2015      V6/4.0L                                                24F                    650         23
2014-09 L4/1.8L                             35                   410          3
                                                                                      2014      V6/4.0L                                                24F                    650         23
Nissan D21                                                                            2013-12   V6/4.0L    w/o TTPkg                                   24F                    650         23
1994-92   L4/2.4L    US                     25                   360          6       2013-12   V6/4.0L    w/TTPkg                                     27F                    710         36
1994-92   V6/3.0L    US                     25                   360          6       Nissan NV200
1994      L4/2.4L                           24                   530         22       2017      L4/2.0L                                                21R                    470         39
1994      V6/3.0L                           24                   530         22       2016      L4/2.0L                                                21R                    470         39
1993-92   L4/2.4L    Can                    24                   450         22       2015-13   L4/2.0L                                                21R                    470         39
1993-92   V6/3.0L    Can                    27                   450         35       2015      L4/2.0L                                                121R                   470         39
1991-90   L4/2.4L    Can & Opt              24                   415         22       2014-13   L4/2.0L                                                121R                   470         39
1991-90   L4/2.4L    US                     25                   355          6
1991-90   V6/3.0L    US                     25                   355          6
                                                                                      Nissan NV2500
1991-90   V6/3.0L    Can & Opt              27                   450         35       2016      V6/4.0L                                                24F                    650         23
                                                                                      2016      V6/4.0L    w/TTPkg                                     27F                    710         36
Nissan Frontier                                                                       2016      V8/5.6L                                                24F                    650         23
2017-16   L4/2.5L                           35                   550          3       2016      V8/5.6L    w/TTPkg                                     27F                    710         36
2017-16   V6/4.0L                           35                   550          3       2015      V6/4.0L    Ex Tow Pkg                                  24F                    650         23
2015      L4/2.5L                           35                   550          3       2015      V6/4.0L    w/TTPkg                                     27F                    710         36
2015      V6/4.0L                           35                   550          3       2015      V8/5.6L    Ex Tow Pkg                                  24F                    650         23
2014-11   L4/2.5L                           35                   550          3       2015      V8/5.6L    w/TTPkg                                     27F                    710         36
2014-11   V6/4.0L                           35                   550          3       2014-12   V6/4.0L    w/TTPkg                                     27F                    710         36
2010      L4/2.5L                           24F                  575         23       2014-12   V8/5.6L    w/TTPkg                                     27F                    710         36
2010      V6/4.0L                           24F                  575         23       2014      V6/4.0L    Ex Tow Pkg                                  24F                    650         23
2009-05   L4/2.5L                           24F                  550         23       2014      V8/5.6L    Ex Tow Pkg                                  24F                    650         23
2009-05   V6/4.0L                           24F                  550         23       2013-12   V6/4.0L    w/o TTPkg                                   24F                    650         23
2004-03   L4/2.4L    Opt                    24                   575         22       2013-12   V8/5.6L    w/o TTPkg                                   24F                    650         23
2004-03   L4/2.4L                           25                   490          6       Nissan NV3500
2004      V6/3.3L                           24                   575         22
                                                                                      2016      V6/4.0L                                                24F                    650         23
2004      V6/3.3L                           24                   N/A         22
                                                                                      2016      V6/4.0L    w/TTPkg                                     27F                    710         36
2003      V6/3.3L                           24                   575         22
                                                                                      2016      V8/5.6L                                                24F                    650         23
2002-99   V6/3.3L    US                     25                   490          6       2016      V8/5.6L    w/TTPkg                                     27F                    710         36
2002-98   L4/2.4L    Can                    24                   550         22       2015      V6/4.0L    Ex Tow Pkg                                  24F                    650         23
2002-98   L4/2.4L    US                     25                   490          6       2015      V6/4.0L    w/TTPkg                                     27F                    710         36
2002      V6/3.3L    Can                    24                   550         22       2015      V8/5.6L    Ex Tow Pkg                                  24F                    650         23
2001-99   V6/3.3L    Can                    24                   550         22       2015      V8/5.6L    w/TTPkg                                     27F                    710         36
Nissan GT-R                                                                           2014-12   V6/4.0L    w/TTPkg                                     27F                    710         36
2017      V6/3.8L                           51R                  410         11       2014-12   V8/5.6L    w/TTPkg                                     27F                    710         36
2016      V6/3.8L                           51R                  410         11       2014      V6/4.0L    Ex Tow Pkg                                  24F                    650         23
2015      V6/3.8L                           51R                  410         11       2014      V8/5.6L    Ex Tow Pkg                                  24F                    650         23
2014-09   V6/3.8L                           51R                  410         11       2013-12   V6/4.0L    w/o TTPkg                                   24F                    650         23
Nissan Juke                                                                           2013-12   V8/5.6L    w/o TTPkg                                   24F                    650         23
2017-16   L4/1.6L                           35                   570          3       Nissan NX, Pulsar NX
2015-11   L4/1.6L                           35                   570          3       1993-91 L4/1.6L      Can                                         24F                     415        23
2015      L4/1.6L                           35                   550          3       1993-91 L4/1.6L      US                                          35                      350         3
2014-11   L4/1.6L                           35                   550          3       1993-91 L4/2.0L      Can & Opt                                   24F                     585        23
                                                                                                                                     See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                             71
                                                                                      Original                                                                                 Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                  Options      BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                          (notes)                    Code
                                                                                     CCA/Rating                                                                               CCA/Rating
    Nissan NX, Pulsar NX (continued)                                                                        Nissan Stanza
    1993-91 L4/2.0L             US                                35                   350         3        1992-90 L4/2.4L      Can & Opt                 24F                  415         23
    1990    L4/1.6L             Can & Opt                         24F                  415         23       1992-90 L4/2.4L                                35                   350         3
    1990    L4/1.6L             US                                35                   350         3        Nissan Titan
    Nissan Pathfinder                                                                                       2015      V8/5.6L    Ex Tow Pkg                24F                  650         23
    2017         V6/3.5L                                          35                   550          3       2015      V8/5.6L    w/TTPkg                   27F                  710         36
    2016         V6/3.5L        Gas                               35 2                 550          3       2014      V8/5.6L    Ex Tow Pkg                24F                  650         23
    2015         V6/3.5L                                          35                   550          3       2014      V8/5.6L    w/TTPkg                   27F                  710         36
    2014-13      V6/3.5L                                          35                   550          3       2013-06   V8/5.6L    TTPkg                     27F                  710         36
    2012-10      V6/4.0L                                          35                   550          3       2013-04   V8/5.6L                              24F                  650         23
    2012-08      V8/5.6L                                          24F                  650         23       2008      V8/5.6L    Ex Flex Fuel & Ex TTPkg   24F                  650         23
    2009-07      V6/4.0L                                          24F                  550         23       2008      V8/5.6L    Flex Fuel or TTPkg        27F                  710         36
    2006-05      V6/4.0L                                          24F                  700         23
    2004-03      V6/3.5L                                          24                   455         22       Nissan Titan XD
    2002-01      V6/3.5L        US                                25                   360          6       2017      V8/5.0L    Dsl                       35 2                 550          3
    2002-01      V6/3.5L        Can & Opt                         27                   450         35       2016      V8/5.0L    Dsl                       35 2                 550          3
    2000-97      V6/3.3L                                          25                   360          6       Nissan Versa
    2000-96      V6/3.3L        Can & Opt                         27                   450         35       2017-16   L4/1.6L    CVT-Transmission          51R                  410         11
    1996         V6/3.3L                                          25                   360          6       2017-16   L4/1.6L    Ex CVT                    99R 45               470
    1995-92      V6/3.0L        US                                25                   360          6       2016      L4/1.6L    Ex CVT                    99R                  470
    1995-92      V6/3.0L        Can                               27                   450         35       2016      L4/1.6L    Ex CVT                    T4 45                470
    1991-90      V6/3.0L        US                                25                   355          6       2015      L4/1.6L    CVT-Transmission          51R                  410         11
    1991-90      V6/3.0L        Can & Opt                         27                   450         35       2015      L4/1.6L    Ex CVT                    99R                  470
    Nissan Pathfinder Armada                                                                                2015      L4/1.6L    Ex CVT                    99R 45               470
    2004         V8/5.6L                                          24F                  700         23       2015      L4/1.6L    Ex CVT                    T4 45                470
    2004         V8/5.6L        Opt                               27F                  710         36       2014-12   L4/1.6L    CVT-Transmission          51R                  410         11
    Nissan Pickup                                                                                           2014      L4/1.6L    Ex CVT                    99R 45               470
    1997-95      L4/2.4L        Can                               24                   525         22       2013-09   L4/1.6L    Ex CVT                    99R                  470
    1997         L4/2.4L        US                                25                   360          6       2013      L4/1.6L    Ex CVT                    99R 45               470
    1996-95      L4/2.4L        US                                25                   360          6       2013      L4/1.6L    Ex CVT                    T4 45                470
    1995         V6/3.0L        Can                               24                   525         22       2012-10   L4/1.6L    Ex CVT                    90                   470         37
    1995         V6/3.0L        US                                25                   360          6       2012-10   L4/1.8L    Ex CVT                    90                   470         37
    Nissan Quest                                                                                            2012-09   L4/1.6L    Ex CVT                    99R                  590
    2016         V6/3.5L                                          24F                  550         23       2012-09   L4/1.8L    w/CVT                     51R 45               410         11
    2015         V6/3.5L                                          24F                  550         23       2012-07   L4/1.8L    Ex CVT                    99R                  470
    2014-11      V6/3.5L                                          24F                  550         23       2012      L4/1.6L    w/CVT                     51R 45               500         11
    2009-04      V6/3.5L                                          24F                  550         23       2008-07   L4/1.8L    CVT-Transmission          51R                  410         11
    2002-99      V6/3.3L        Can & Opt                         24F                  525         23       2008-07   L4/1.8L    Ex CVT                    90                   470         37
    2002-99      V6/3.3L                                          35                   450         3        Nissan Versa Note
    1998-93      V6/3.0L        Can & Opt                         24F                  525         23       2017-16   L4/1.6L                              99R 45               470
    1998-93      V6/3.0L        US                                35                   450         3        2016      L4/1.6L                              99R                  470
    Nissan Rogue                                                                                            2016      L4/1.6L                              T4 45                470
    2017         L4/2.5L                                          35                   550          3       2015      L4/1.6L                              99R                  470
    2016         L4/2.5L                                          35                   585          3       2015      L4/1.6L                              99R 45               470
    2015         L4/2.5L                                          35                   585          3       2015      L4/1.6L                              T4 45                470
    2014-08      L4/2.5L                                          35                   585          3       2014      L4/1.6L    CVT-Transmission          51R                  410         11
    Nissan Rogue Select                                                                                     2014      L4/1.6L                              99R 45               470
    2015-14 L4/2.5L                                               35                   585          3       Nissan Xterra
    Nissan Sentra                                                                                           2015      V6/4.0L                              35                   550          3
    2017        L4/1.8L                                           21R                  470          3       2014-10   V6/4.0L                              35                   550          3
    2016        L4/1.8L                                           21R                  470          3       2009-05   V6/4.0L                              24F                  550         23
    2015        L4/1.8L                                           21R                  470          3       2004-00   V6/3.3L                              25                   490          6
    2014-13 L4/1.8L                                               21R                  470          3       2004      L4/2.4L    Opt                       24                   550         22
    2012-09 L4/2.5L                                               40R                  550         19       2004      L4/2.4L                              25                   490          6
    2012-07 L4/2.0L                                               21R                  470          3       2004      V6/3.3L    Opt                       24                   550         22
    2012-07 L4/2.5L SE-R                                          40R                  590         19       2003-00   L4/2.4L    Can & Opt                 24                   550         22
    2008-06 L4/2.5L                                               35                   550         3        2003-00   L4/2.4L    US                        25                   490          6
    2008        L4/2.5L                                           40R                  550         19       2003-00   V6/3.3L    Can & Opt                 24                   550         22
    2006        L4/1.8L                                           35                   550         3        Nissan X-Trail
    2005-03 L4/2.5L                                               35                   355         3        2006      L4/2.5L    Can                       24F                  550         23
    2005-00 L4/1.8L                                               35                   355         3        2005      L4/2.5L    US                        35                   550         3
    2002        L4/2.5L                                           21R                  490          3
    2001        L4/2.0L                                           21R                  490          3
                                                                                                            Oldsmobile 88
    2000-99 L4/2.0L                                               35                   490         3        1999-95   V6/3.8L                              78                   690          7
    1999        L4/1.6L                                           35                   490         3        1997-92   V6/3.8L    HD or w/HWS               78                   770          7
    1998-95 L4/1.6L Can                                           24F                  550         23       1994-92   V6/3.8L                              75                   630          5
    1998-95 L4/1.6L US                                            35                   490         3        1994      V6/3.8L    HD or HWS                 78                   770          7
    1998        L4/2.0L Can                                       24F                  550         23       1954      V8/5.3L                              2                    500
    1998        L4/2.0L US                                        35                   490         3        1950      V8/5.0L                              2                    500
    1994-91 L4/2.0L Can & Opt                                     24F                  585         23       Oldsmobile 98
    1994-91 L4/2.0L US                                            35                   350         3        1996-95 V6/3.8L                                78                   690          7
    1994-90 L4/1.6L Can & Opt                                     24F                  415         23       1996-91 V6/3.8L      HD or w/HWS               78                   770          7
    1994-90 L4/1.6L US                                            35                   350         3        1994    V6/3.8L                                78                   600          7
    See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                     Original                                                                                               Original
  Year      Engine                  Options        BCI Group Size   Equipment    Fitment     Year      Engine              Options                       BCI Group Size    Equipment    Fitment
                                                       (notes)                    Code                                                                       (notes)                     Code
                                                                    CCA/Rating                                                                                             CCA/Rating
Oldsmobile 98 (continued)                                                                  Oldsmobile Delta 88 (See Custom Cruiser, Delta 88, Regency)
1993-90   V6/3.8L                                75                   630          5       Oldsmobile Intrigue
1992      V6/3.8L    Opt                         78                   770          7       2002-99 V6/3.5L                                             78                     690         7
1991      V6/3.8L    HD or HWS                   78                   770          7       1999-98 V6/3.8L                                             78                     690         7
1990      V6/3.8L    Opt                         78                   770          7       Oldsmobile LSS
1970-68   V8/7.5L                                24                   325         22
                                                                                           1999-96 V6/3.8L                                             78                     690         7
1967      V8/7.0L                                24                   325         22
1966-65   V8/7.0L                                27                   350         35       Oldsmobile Omega
1966-65   V8/7.0L                                60                   350                  1980      L4/2.5L                                           74                     450         7
1954      V8/5.3L                                2                    500                  1980      V6/2.8L                                           74                     450         7
1953-50   V8/5.0L                                2                    500                  1979-78   V6/3.8L                                           71                     325         5
Oldsmobile Achieva                                                                         1979-78   V8/5.0L                                           71                     325         5
                                                                                           1979-78   V8/5.7L                                           71                     325         5
1998-96   L4/2.4L                                75                   600          5
                                                                                           1977-76   V8/4.3L                                           72                     350         5
1998-94   V6/3.1L                                75                   600          5
                                                                                           1977-76   V8/5.7L                                           72                     350         5
1995-92   L4/2.3L                                75                   600          5
1993-92   V6/3.3L                                75                   600          5       1977      V6/3.8L                                           72                     350         5
                                                                                           1977      V8/5.0L                                           72                     350         5
Oldsmobile Alero                                                                           1976      L6/4.1L                                           72                     350         5
2004-99   V6/3.4L                                75                   600          5
2004      L4/2.2L                                75                   525          5
                                                                                           Oldsmobile Regency (See Custom Cruiser, Delta 88, Regency)
2003-02   L4/2.2L                                75                   600          5       Oldsmobile Silhouette
2001-99   L4/2.4L                                75                   600          5       2004-97   V6/3.4L                                           78                     600         7
Oldsmobile Aurora                                                                          1996      V6/3.4L                                           75                     525         5
                                                                                           1995-92   V6/3.8L                                           75                     630         5
2003-01   V8/4.0L                                100 50               770         40
                                                                                           1994-90   V6/3.1L                                           75                     525         5
2002-01   V6/3.5L                                100 50               770         40
1999-98   V8/4.0L                                79 50                840         41       Oldsmobile Starfire
1997-95   V8/4.0L                                76 50                970         41       1980-78   L4/2.5L                                           74                     450         7
Oldsmobile Bravada                                                                         1980-78   V6/3.8L                                           74                     450         7
                                                                                           1979-78   V8/5.0L                                           74                     450         7
2004-02   L6/4.2L                                78                   600          7
                                                                                           1966-65   V8/7.0L                                           27                     350         35
2001-96   V6/4.3L                                75                   525          5
                                                                                           1966-65   V8/7.0L                                           60                     350
2001-96   V6/4.3L    Opt                         75                   690
1994-91   V6/4.3L                                75                   525          5       Oldsmobile Toronado
1994      V6/4.3L    Opt                         78                   600          7       1992-91   V6/3.8L                                           78                     770         7
1993-91   V6/4.3L    Opt                         78                   630          7       1990      V6/3.8L                                           78                     730         7
                                                                                           1980-79   V8/5.7L    Dsl                                    74 2                   450          7
Oldsmobile Custom Cruiser, Delta 88, Regency                                               1980-79   V8/5.7L    Gas                                    74                     450         7
1998-97   V6/3.8L                                78                   690          7       1978-77   V8/6.6L    Gas                                    74                     450         7
1997      V6/3.8L    HD or w/HWS                 78                   770          7       1976-71   V8/7.5L                                           74                     450         7
1992-90   V8/5.0L                                75                   525          5       1970-68   V8/7.5L                                           24                     325         22
1992      V8/5.7L                                75                   525          5       1966      V8/7.0L                                           27                     350         35
1991-90   V6/3.8L                                75                   630          5       1966      V8/7.0L                                           60                     350
1991-90   V6/3.8L    Opt                         78                   730          7
                                                                                           Panoz AIV Roadster
1991-90   V8/5.0L    Opt                         75                   570          5
                                                                                           2000-99 V8/4.6L                                             58R                    580
1991      V6/3.8L    HD or w/HWS                 78                   770          7
1970-68   V8/5.7L                                24                   325         22       Panoz Esperante
1970-68   V8/7.5L                                24                   325         22       2007-01 V8/4.6L                                             58R                    580
1967      V8/7.0L                                24                   325         22       Peugeot 405
1966-65   V8/7.0L                                27                   350         35       1991-90 L4/1.9L                                             24                     420         22
1966-65   V8/7.0L                                60                   350                  Peugeot 505
Oldsmobile Cutlass Calais                                                                  1991-90   L4/2.2L    Turbo                                  48 5                   495         29
1991-90 L4/2.3L                                  75                   630          5       1991-90   L4/2.2L    Ex Turbo                               48 6                   660         29
1991-90 L4/2.5L                                  75                   630          5       1990      L4/2.2L                                           48 6                   495         29
1991-90 V6/3.3L                                  75                   630          5       1990      V6/2.8L                                           48                     660         29
Oldsmobile Cutlass, Cutlass Ciera, Cutlass Cruiser, Cutlass Supreme                        Plymouth Acclaim
1999-98   V6/3.1L                                75                   600          5       1995-92 L4/2.5L                                             34                     600         9
1997-96   V6/3.1L                                78                   600          7       1995-90 V6/3.0L                                             34                     500         9
1996-94   L4/2.2L                                75                   525          5       1991-90 L4/2.5L                                             34                     500         9
1996      V6/3.1L                                78                   600          7       Plymouth Barracuda
1996      V6/3.4L                                78                   690          7       1974-71   V8/5.9L                                           24                      325        22
1995      V6/3.1L    Early                       75                   525          5       1974-66   V8/5.2L                                           24                      325        22
1995      V6/3.1L    Late Incl Supreme           78                   600          7       1973-68   V8/5.6L                                           24                      325        22
1995      V6/3.4L    Early                       75                   690                  1972-71   V8/7.2L                                           24                      325        22
1995      V6/3.4L    Late Incl Supreme           78                   690          7       1972-64   L6/3.7L                                           24                      325        22
1994-91   V6/3.4L                                75                   690                  1971-70   L6/3.2L                                           24                      325        22
1994-90   V6/3.1L                                75                   525          5       1971      V8/6.3L                                           24                      325        22
1994      V6/3.1L                                75                   630          5       1971      V8/7.0L                                           24                      325        22
1993-90   V6/3.3L                                75                   630          5       1970-68   V8/7.0L                                           27                      440        35
1993      L4/2.2L                                75                   630          5       1970-67   V8/6.3L                                           27                      440        35
1992-90   L4/2.5L                                75                   630          5       1970      V8/7.2L                                           27                      440        35
1991-90   L4/2.3L                                75                   630          5       1968-64   V8/4.5L                                           24                      325        22
1990      V6/3.3L                                75                   630          5       1966-64   L6/2.8L                                           24                      325        22
                                                                                                                                     See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                   Costco_001529
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                                                                                 of
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    Automotive/Light Truck                                                                                                                                                             73
                                                                                     Original                                                                                  Original
        Year         Engine                         Options        BCI Group Size   Equipment    Fitment     Year      Engine               Options          BCI Group Size   Equipment    Fitment
                                                                       (notes)                    Code                                                           (notes)                    Code
                                                                                    CCA/Rating                                                                                CCA/Rating
    Plymouth Belvedere                                                                                     Plymouth Grand Voyager, Voyager
    1970-64      V8/6.3L                                          27                  440         35       2000-96   L4/2.4L                               34                   600          9
    1970-60      L6/3.7L                                          24                  325         22       2000-90   V6/3.0L                               34                   500          9
    1970-58      V8/5.2L                                          24                  325         22       2000-90   V6/3.3L                               34                   500          9
    1969         V8/7.0L                                          27                  440         35       1999-96   L4/2.4L    Opt                        34                   685          9
    1968-64      V8/4.5L                                          24                  325         22       1999-94   V6/3.8L                               34                   600          9
    1967-66      V8/7.2L                                          27                  440         35       1999-94   V6/3.8L    Opt                        34                   685          9
    1967-64      V8/7.0L                                          27                  440         35       1999-91   V6/3.0L    Opt                        34                   685          9
    1966-59      V8/5.9L                                          24                  325         22       1999-91   V6/3.3L    Opt                        34                   685          9
    1964         V8/6.7L                                          27                  440         35       1997-96   L4/2.4L                               34                   600          9
    1963-61      V8/6.7L                                          24                  325         22       1997-96   L4/2.4L    Opt                        34                   685          9
    1963-60      V8/6.3L                                          24                  325         22       1995-92   L4/2.5L                               34                   600          9
    1963         V8/7.0L                                          24                  325         22       1995-91   L4/2.5L    Opt                        34                   685          9
    1959-56      L6/3.8L                                          24                  325         22       1991-90   L4/2.5L                               34                   500          9
    1958-57      V8/5.1L                                          24                  325         22       1990      L4/2.5L    Opt                        34                   625          9
    1958         V8/5.7L                                          24                  325         22       1990      V6/3.0L    Opt                        34                   625          9
    1957-56      V8/4.5L                                          24                  325         22       1990      V6/3.3L    Opt                        34                   625          9
    1957         V8/4.9L                                          24                  325         22       Plymouth Horizon
    1956         V8/4.4L                                          24                  325         22       1990      L4/2.2L                               34                   430          9
    1956         V8/5.0L                                          24                  325         22
                                                                                                           Plymouth Laser
    1955-54      L6/3.8L        Ex w/AT                           1                   400
                                                                                                           1994-90 L4/1.8L                                 86                   430         31
    1955-54      L6/3.8L        AT                                2                   500
                                                                                                           1994-90 L4/2.0L      US                         86                   430         31
    1955         V8/3.9L                                          1                   400
                                                                                                           1994-90 L4/2.0L      Can                        86                   525         31
    1955         V8/3.9L        AT                                2                   500
    1955         V8/4.0L                                          1                   400                  Plymouth Neon
    1955         V8/4.0L        AT                                2                   500                  2001-00 L4/2.0L                                 26R                  450         38
    1955         V8/4.2L                                          1                   400                  2001-00 L4/2.0L      Opt                        26R                  540         38
    1955         V8/4.2L        AT                                2                   500                  1999-95 L4/2.0L                                 58 35                450          8
    1955         V8/4.3L                                          1                   400                  Plymouth Prowler
    1955         V8/4.3L        AT                                2                   500                  2001-99 V6/3.5L                                 34                   525          9
    1954         L6/3.6L        Ex w/AT                           1                   400                  1997    V6/3.5L                                 34                   525          9
    1954         L6/3.6L        AT                                2                   500                  Plymouth Sundance
    Plymouth Breeze                                                                                        1994-93   V6/3.0L                               34                   500          9
    2000-97 L4/2.4L                                               75                  510          5       1994-92   L4/2.5L                               34                   600          9
    2000-96 L4/2.0L                                               75                  510          5       1994-90   L4/2.2L                               34                   500          9
    1996    L4/2.4L                                               75                  575          5       1992      V6/3.0L                               34                   600          9
    Plymouth Colt                                                                                          1991      L4/2.5L                               34                   625          9
    1995-93      L4/1.5L        US                                51                  435         20       1990      L4/2.5L                               34                   500          9
    1994-93      L4/1.5L        Can                               24                  580         22       Plymouth Valiant
    1994-93      L4/1.8L        Can                               24                  580         22       1976-68   L6/3.7L                               24                   370         22
    1994-92      L4/2.4L        US                                24                  490         22       1976-68   L6/3.7L    Opt                        24                   460         22
    1994-92      L4/2.4L        HD or Can                         24                  580         22       1976-68   V8/5.2L                               24                   370         22
    1994         L4/1.8L        US                                25                  435          6       1976-68   V8/5.2L    Opt                        24                   460         22
    1992-91      L4/1.5L        US                                25                  355          6       1976      V8/5.9L                               24                   370         22
    1992-91      L4/1.5L        Opt                               25                  430          6       1976      V8/5.9L    Opt                        24                   460         22
    1992         L4/1.5L        Can, Ex Wagon                     25                  420          6       1974-71   V8/5.9L                               24                   370         22
    1992         L4/1.8L        Wagon                             24                  580         22       1974-71   V8/5.9L    Opt                        24                   460         22
    1992         L4/1.8L        Can, Ex Wagon                     25                  420          6       1974-70   L6/3.2L                               24                   370         22
    1992         L4/1.8L        Opt                               25                  430          6       1974-70   L6/3.2L    Opt                        24                   460         22
    1992         L4/1.8L        US                                51                  350         20       1973-68   V8/5.6L                               24                   370         22
    1992         L4/2.4L        Can                               24                  580         22       1973-68   V8/5.6L    Opt                        24                   460         22
    1992         L4/2.4L        Wagon                             24                  580         22       1971-68   L6/2.8L                               24                   370         22
    1992         L4/2.4L        Can, Ex Wagon                     25                  420          6       1971-68   L6/2.8L    Opt                        24                   460         22
    1992         L4/2.4L        Opt                               25                  430          6       1969-68   V8/4.5L                               24                   370         22
    1991-90      L4/1.5L        Can                               25                  420          6       1969-68   V8/4.5L    Opt                        24                   460         22
    1991-90      L4/2.0L        Can                               25                  420          6       1967-65   L6/2.8L                               24                   375         22
    1991-90      L4/2.0L        US                                51                  435         20       1967-65   L6/3.7L                               24                   375         22
    1990         L4/1.5L        Ex Wagon                          25                  355          6       1967-65   V8/4.5L                               24                   375         22
    1990         L4/1.5L        Wagon                             51                  435         20       Plymouth Voyager (See Grand Voyager, Voyager)
    1990         L4/1.6L        Can                               25                  420          6
    1990         L4/1.6L                                          51                  435         20
                                                                                                           Pontiac 6000, Grand Am
    1990         L4/1.8L        Wagon                             51                  435         20       2005-99   V6/3.4L                               75                   600          5
                                                                                                           2005      L4/2.2L                               75                   600          5
    Plymouth Duster                                                                                        2004      L4/2.2L                               75                   525          5
    1976-74 V8/5.9L                                               24                  370         22       2003-02   L4/2.2L                               75                   600          5
    1976-74 V8/5.9L Opt                                           24                  460         22       2001-96   L4/2.4L                               75                   600          5
    1976-70 L6/3.7L                                               24                  370         22       1998-94   V6/3.1L                               75                   600          5
    1976-70 L6/3.7L Opt                                           24                  460         22       1995-93   L4/2.3L                               75                   600          5
    1976-70 V8/5.2L                                               24                  370         22       1993      V6/3.3L                               75                   600          5
    1976-70 V8/5.2L Opt                                           24                  460         22       1992-90   L4/2.3L                               75                   630          5
    1974-70 L6/3.2L                                               24                  370         22       1992      V6/3.3L                               75                   630          5
    1974-70 L6/3.2L Opt                                           24                  460         22       1991-90   L4/2.5L                               75                   630          5
    1973-70 V8/5.6L                                               24                  370         22       1991-90   V6/3.1L                               75                   525          5
    1973-70 V8/5.6L Opt                                           24                  460         22       1991-90   V6/3.1L    Can & Opt                  75                   630          5
    See page 88 for Footnotes. Selection may vary by warehouse.

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74                                                                                                  Automotive/Light Truck
                                                                   Original                                                                                                  Original
  Year      Engine                   Options     BCI Group Size   Equipment    Fitment     Year      Engine                 Options                       BCI Group Size    Equipment    Fitment
                                                     (notes)                    Code                                                                          (notes)                     Code
                                                                  CCA/Rating                                                                                                CCA/Rating
Pontiac Aztek                                                                            Pontiac Firebird (continued)
2005-01 V6/3.4L                                78                   600          7       1992-90   V6/3.1L                                              75                     525         5
Pontiac Bonneville                                                                       1992-90   V8/5.0L    MT                                        75                     525         5
2005-04   V8/4.6L                              100 50               770         40       1992-90   V8/5.0L    AT                                        75                     570         5
2005-02   V6/3.8L                              100 50               770         40       1992-87   V8/5.7L                                              75                     630         5
2003-02   V6/3.8L    S/C                       79 50                800         41       1989-88   V8/5.0L    Ex 110 Amp Generator                      70                     525         5
2001-00   V6/3.8L                              79 50                840         41       1989-88   V8/5.0L    w/110 Amp Generator                       75                     525         5
1999-98   V6/3.8L    S/C                       78                   770          7       1989-88   V8/5.0L    Opt                                       75                     570         5
1999-95   V6/3.8L                              78                   690          7       1989-87   V6/2.8L                                              75                     525         5
1997-92   V6/3.8L    Opt                       78                   770          7       1989-86   V6/2.8L    Opt                                       75                     570         5
1994-90   V6/3.8L                              75                   630          5       1989      V6/3.8L                                              75                     525         5
1990      V6/3.8L    Opt                       78                   730          7       1987      V8/5.0L    Opt                                       70                     500         5
1975-73   V8/6.6L    Top Terminal              24                   450         22       1987      V8/5.0L    MT, Ex HO                                 75                     525         5
1975-73   V8/6.6L    Side Terminal             74                   450          7       1987      V8/5.0L    HD w/AT                                   75                     570         5
1975-73   V8/7.5L    Top Terminal              24                   450         22       1986-85   L4/2.5L                                              75                     630         5
1975-73   V8/7.5L    Side Terminal             74                   450          7       1986      L4/2.5L    Opt                                       75                     570         5
1974      V8/5.7L    Top Terminal              24                   450         22       1986      V6/2.8L                                              70                     525         5
1974      V8/5.7L    Side Terminal             74                   450          7       1986      V8/5.0L                                              70                     525         5
1972-70   V8/7.5L                              24                   325         22       1985-84   V6/2.8L                                              70                     405         5
1972-69   V8/6.6L                              24                   325         22       1985-84   V8/5.0L    Opt                                       75                     630         5
1971      V8/5.7L                              24                   325         22       1985      V6/2.8L    Opt                                       75                     630         5
1969      V8/7.0L                              24                   325         22       1985      V8/5.0L                                              70                     405         5
1968-67   V8/7.0L                              27                   350         35       1984-83   L4/2.5L                                              70                     405         5
1967      V8/6.6L                              27                   350         35       1984-83   L4/2.5L    Opt                                       75                     500         5
                                                                                         1984-83   V6/2.8L    Opt                                       75                     500         5
1967      V8/7.0L    Opt                       27                   350         35
                                                                                         1984      V8/5.0L                                              75                     500         5
1966      V8/6.4L                              27                   350         35
                                                                                         1983-82   V6/2.8L                                              70                     315         5
1966      V8/6.4L    Opt                       27                   350         35
                                                                                         1983      V8/5.0L                                              70                     405         5
1966      V8/6.9L                              24                   325         22
                                                                                         1983      V8/5.0L    Opt                                       75                     500         5
1965-63   V8/6.9L                              60                   350
                                                                                         1982-81   V8/5.0L    Opt                                       73                     465         5
1965-59   V8/6.4L                              60                   350
                                                                                         1982      L4/2.5L                                              70                     315         5
1962-59   V8/6.4L                              24                   325         22
                                                                                         1982      L4/2.5L    Opt                                       73                     465         5
1958      V8/6.1L                              60                   350
                                                                                         1982      V6/2.8L    Opt                                       73                     465         5
1957      V8/5.7L                              60                   350
                                                                                         1982      V8/5.0L                                              70                     400         5
Pontiac Catalina                                                                         1981      V6/3.8L                                              70                     315         5
1975-73   V8/6.6L    Top Terminal              24                   450         22       1981      V6/3.8L    HBL & AC                                  70                     370         5
1975-73   V8/6.6L    Side Terminal             74                   450          7       1981      V8/4.3L                                              70                     370         5
1975-73   V8/7.5L    Top Terminal              24                   450         22       1981      V8/4.3L    Opt                                       73                     465         5
1975-73   V8/7.5L    Side Terminal             74                   450          7       1981      V8/4.4L                                              70                     370         5
1974-73   V8/5.7L    Top Terminal              24                   450         22       1981      V8/4.4L    Opt                                       73                     465         5
1974-73   V8/5.7L    Side Terminal             74                   450          7       1981      V8/4.9L                                              70                     370         5
1974      L6/4.1L    Top Terminal              24                   450         22       1981      V8/4.9L    Opt                                       73                     465         5
1974      L6/4.1L    Side Terminal             74                   450          7       1981      V8/5.0L                                              70                     370         5
1972-70   V8/5.7L                              24                   325         22       1980-77   V6/3.8L                                              74                     450         7
1972-70   V8/7.5L                              24                   325         22       1980      V8/4.3L                                              74                     450         7
1972-69   V8/6.6L                              24                   325         22       1980      V8/4.9L                                              74                     450         7
1969      V8/7.0L                              24                   325         22       1980      V8/5.0L                                              74                     450         7
1968-67   V8/6.6L                              22F                  250         38       1979-78   V6/3.8L    Opt                                       74                     450         7
1968-67   V8/6.6L    Opt                       27                   350         35       1979-78   V8/5.0L                                              71                     350         5
1968-67   V8/7.0L                              22F                  250         38       1979-78   V8/5.0L    Opt                                       74                     450         7
1968-67   V8/7.0L    Opt                       27                   350         35       1979-78   V8/5.7L                                              71                     350         5
1966      V8/6.4L                              22F                  250         38       1979-78   V8/5.7L    Opt                                       74                     450         7
1966      V8/6.4L    Opt                       27                   350         35       1979-78   V8/6.6L                                              73                     430         5
1966      V8/6.9L                              22F                  250         38       1979-78   V8/6.6L    Opt                                       74                     450         7
1966      V8/6.9L    Opt                       27                   350         35       1979      V8/4.9L                                              71                     350         5
1965-61   V8/6.9L                              60                   350                  1979      V8/4.9L    Opt                                       74                     450         7
1965-59   V8/6.4L                              60                   350                  1977-73   V8/5.7L                                              74                     450         7
1958      V8/6.1L                              60                   350                  1977-73   V8/6.6L                                              74                     450         7
1957      V8/5.7L                              60                   350                  1977      V8/4.9L                                              74                     450         7
1956      V8/5.2L                              60                   350                  1977      V8/5.0L                                              74                     450         7
1955      V8/4.7L                              60                   350                  1976-73   L6/4.1L                                              74                     450         7
1954-50   L6/3.9L                              2E                   485                  1976-73   V8/7.5L                                              74                     450         7
1954-50   L8/4.4L                              2E                   485                  1972-71   V8/7.5L                                              24                     325         22
Pontiac Executive                                                                        1972-68   L6/4.1L                                              24                     325         22
1970-69   V8/6.6L                              24                   325         22       1972-68   V8/5.7L                                              24                     325         22
1970      V8/7.5L                              24                   325         22       1972-67   V8/6.6L                                              24                     325         22
1969      V8/7.0L                              24                   325         22       Pontiac Firefly
1968-67   V8/6.6L                              22F                  250         38       2000-95   L3/1.0L                                              26R                    390         38
1968-67   V8/7.0L                              22F                  250         38       2000-94   L4/1.3L                                              26R                    390         38
Pontiac Firebird                                                                         1994      L3/1.0L                                              26                     390
2002-95 V6/3.8L                                75                   690                  1991-90   L3/1.0L                                              26                     440
2002-93 V8/5.7L                                75                   525          5       Pontiac G3
1995-93 V6/3.4L                                75                   525          5       2010-09 L4/1.6L                                                86                      590        31
                                                                                                                                      See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                    Costco_001531
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    Automotive/Light Truck                                                                                                                                                        75
                                                                                      Original                                                                            Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine              Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                     (notes)                    Code
                                                                                     CCA/Rating                                                                          CCA/Rating
    Pontiac G3 Wave                                                                                         Pontiac GTO, Tempest (continued)
    2009         L4/1.6L                                          86                   550         31       1970-68   V8/5.7L                         24                   325         22
    Pontiac G5, Pursuit                                                                                     1970-67   V8/6.6L                         24                   325         22
    2010-09      L4/2.2L                                          90 50                590         37       1970      V8/7.5L                         24                   325         22
    2008-07      L4/2.2L                                          90 50                600         37       1967-65   L6/3.8L                         22F                  250         38
    2008-07      L4/2.4L                                          90                   600         37       1967-63   V8/5.3L                         24                   325         22
    2006-05      L4/2.2L                                          90 50                600         37       1966-64   V8/6.4L                         24                   325         22
    2006         L4/2.4L                                          90                   600         37       1965-64   L6/3.5L                         22F                  250         38
    Pontiac G6                                                                                              1962      V8/3.5L                         24                   325         22
    2010-08      L4/2.4L                                          90                   590         37       Pontiac LeMans, Optima
    2010-08      V6/3.5L                                          90                   590         37       1993-90   L4/1.6L                         85                   550
    2009-08      V6/3.6L                                          90                   590         37       1991-90   L4/1.6L                         85                   550
    2009-08      V6/3.9L                                          90                   590         37       1990      L4/2.0L                         85                   550
    2007-06      L4/2.4L                                          75                   525          5       1990      L4/2.0L    AT                   85                   630
    2007-06      V6/3.9L                                          75                   525          5       Pontiac Montana
    2007-05      V6/3.5L                                          75                   525          5       2009-06   V6/3.9L                         34                   600          9
    2007         V6/3.6L                                          75                   525          5       2006      V6/3.5L    SV6                  34                   600          9
    Pontiac G8                                                                                              2005-99   V6/3.4L                         78                   600          7
    2009         V6/3.6L                                          94R 50               720         30       2005      V6/3.5L                         34                   600          9
    2009         V8/6.0L                                          94R 50               720         30       Pontiac Solstice
    2009         V8/6.2L                                          94R 50               720         30       2009-08   L4/2.0L                         86                   590         31
    2008         V6/3.6L                                          94R 50               700         30       2009-08   L4/2.4L                         86                   590         31
    2008         V8/6.0L                                          94R 50               700         30       2007      L4/2.0L                         86                   640
    Pontiac Grand Am (See 6000, Grand Am)                                                                   2007      L4/2.4L                         86                   640
    Pontiac Grand Prix                                                                                      2006      L4/2.4L                         86                   590         31
    2008-06      V6/3.8L        w/AGM                             34   33
                                                                                       690                  Pontiac Sunbird
    2008         V8/5.3L                                          85                   590                  1994-92 V6/3.1L                           75                   525          5
    2007-05      V8/5.3L                                          85                   625                  1994-90 L4/2.0L                           75                   630          5
    2005-04      V6/3.8L        w/AGM                             34 33                680                  1991    V6/3.1L                           75                   630          5
    2003-97      V6/3.8L                                          78                   690          7       Pontiac Sunfire
    2003-97      V6/3.8L        S/C                               78                   770          7       2005-95   L4/2.2L                         75                   525          5
    2003-96      V6/3.1L                                          78                   600          7       2002      L4/2.4L                         75                   525          5
    1996         V6/3.4L                                          78                   690          7       2001-96   L4/2.4L                         75                   600          5
    1995         V6/3.1L        Early                             75                   525          5       1995      L4/2.3L                         75                   600          5
    1995         V6/3.1L        Late                              78                   600          7       Pontiac Sunrunner
    1995         V6/3.4L        Early                             75                   690
                                                                                                            1997-95 L4/1.6L                           26R                  390         38
    1995         V6/3.4L        Late                              78                   690          7
                                                                                                            1994    L4/1.6L                           26                   500
    1994-91      V6/3.4L                                          75                   690
    1994-90      V6/3.1L                                          75                   525          5       Pontiac Tempest (See GTO, Tempest)
    1991-90      L4/2.3L                                          75                   630          5       Pontiac Torrent
    1980-78      V6/3.8L                                          74                   450          7       2009-08 V6/3.6L                           47                   650
    1980-78      V8/4.9L                                          74                   450          7       2009-07 V6/3.4L                           47                   650
    1980-78      V8/5.0L                                          74                   450          7       2006    V6/3.4L                           75                   600          5
    1980         V8/4.3L                                          74                   450          7       Pontiac Trans Sport
    1977-76      V8/5.7L                                          72                   350          5       1999-97   V6/3.4L                         78                   600          7
    1977-76      V8/6.6L                                          72                   350          5       1996      V6/3.4L                         75                   525          5
    1977         V8/4.9L                                          72                   350          5       1995-92   V6/3.8L                         75                   630          5
    1977         V8/6.6L                                          74                   450          7       1995-90   V6/3.1L                         75                   525          5
    1976         V8/7.5L                                          74                   450          7
    1975-73      V8/6.6L                                          24                   450         22
                                                                                                            Pontiac Vibe
    1975-73      V8/6.6L        Side Terminal                     74                   450          7       2010-09 L4/2.4L                           24F                  575         23
    1975-73      V8/7.5L                                          24                   450         22       2010-03 L4/1.8L                           35                   550         3
    1975-73      V8/7.5L        Side Terminal                     74                   450          7       Pontiac Wave, Wave 5
    1972-70      V8/7.5L                                          24                   325         22       2008-05 L4/1.6L                           86                   550         31
    1972-69      V8/6.6L                                          24                   325         22       2007-05 L4/1.6L                           86                   590         31
    1969         V8/7.0L                                          24                   325         22       Porsche 911
    1968-67      V8/6.6L                                          27                   350         35       2016-13   H6/3.4L                         49 50                740         33
    1968-67      V8/7.0L                                          27                   350         35       2016-13   H6/3.8L                         49 50                740         33
    1967         V8/7.0L        Opt                               27                   350         35       2016      H6/4.0L                         49 50                740         33
    1966         V8/6.4L                                          27                   350         35       2012-10   H6/3.8L    Option 1             49 50                740         33
    1966         V8/6.9L                                          22F                  250         38       2012-09   H6/3.6L    Option 1             49 50                740         33
    1966         V8/6.9L        Opt                               27                   350         35       2012      H6/3.4L    Option 1             49 50                740         33
    Pontiac GTO, Tempest                                                                                    2011      H6/4.0L                         49 50                740         33
    2006-05      V8/6.0L                                          85                   600                  2009-05   H6/3.6L                         94R 50               740         30
    2004         V8/5.7L                                          85                   600                  2009-05   H6/3.8L                         94R 50               740         30
    1991-90      L4/2.2L        MT                                75                   525         5        2004-02   H6/3.6L    GT2                  91 9, 50             650
    1991-90      L4/2.2L        AT & Opt                          75                   630         5        2004-02   H6/3.6L    Ex GT2               94R                  650         30
    1991-90      V6/3.1L        MT                                75                   525         5        2004-02   H6/3.6L    Ex GT2               94R 9, 50            740         30
    1991-90      V6/3.1L        AT                                75                   630         5        2004-01   H6/3.6L    GT2                  48 50                650         29
    1973-71      V8/6.6L                                          74                   465         7        2001-99   H6/3.4L                         48 50                650         29
    1973-71      V8/7.5L                                          74                   465         7        2001      H6/3.6L    Ex GT2               91 50                650
    1970-68      L6/4.1L                                          22F                  250         38       1998-90   H6/3.6L                         48 50                650         29
    See page 88 for Footnotes. Selection may vary by warehouse.

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76                                                                                           Automotive/Light Truck
                                                            Original                                                                                               Original
  Year      Engine            Options     BCI Group Size   Equipment    Fitment     Year      Engine              Options                       BCI Group Size    Equipment    Fitment
                                              (notes)                    Code                                                                       (notes)                     Code
                                                           CCA/Rating                                                                                             CCA/Rating
Porsche 911 (continued)                                                           Ram 2500
1992      H6/3.3L                       48 54                650         29       2017      L6/6.7L    Dsl                                    94R 2                  730         30
1991      H6/3.3L    Turbo              48 54                650         29       2017      V8/5.7L                                           94R                    730         30
1980-78   H6/3.0L                       49                   650         33       2017      V8/6.4L                                           94R                    730         30
1977-76   H6/2.7L                       39                   650                  2016      L6/6.7L    Dsl                                    94R                    730         30
1977-76   H6/3.0L                       39                   650                  2016      V8/5.7L                                           94R                    730         30
1975-74   H6/2.7L                       42                   300                  2016      V8/6.4L                                           94R                    730         30
1973-72   H6/2.3L                       39                   300                  2015      L6/6.7L    Dsl                                    94R 2                  730         30
1973-72   H6/2.4L                       39                   300                  2015      V8/5.7L                                           94R                    730         30
1971-70   H6/2.2L                       39                   300                  2015      V8/6.4L                                           94R                    730         30
1969      H6/2.0L                       39                   300                  2014-11   L6/6.7L    Dsl                                    94R 2                  730         30
1968-67   H6/2.0L                       22NF                 300         11       2014-11   V8/5.7L                                           94R                    730         30
Porsche 912                                                                       2014      V8/6.4L                                           94R                    730         30
1976    H4/2.0L                         42                   300                  Ram 3500
1969-67 H4/1.6L                         22NF                 300         11
                                                                                  2017      L6/6.7L    Dsl                                    94R 2                  730         30
1969    H4/1.6L                         39                   300
                                                                                  2017      V8/5.7L                                           94R                    730         30
Porsche 914                                                                       2017      V8/6.4L                                           94R                    730         30
1976-74   H4/2.0L                       42                   300                  2016      L6/6.7L    Dsl                                    94R                    730         30
1975-74   H4/1.8L                       42                   300                  2016      V8/5.7L                                           94R                    730         30
1973-70   H4/1.7L                       39                   300                  2016      V8/6.4L                                           94R                    730         30
1973      H4/2.0L                       39                   300                  2015      L6/6.7L    Dsl                                    94R 2                  730         30
1972-70   H6/2.0L                       39                   300                  2015      V8/5.7L                                           94R                    730         30
Porsche 928                                                                       2015      V8/6.4L                                           94R                    730         30
1995-93 V8/5.4L                         48                   650         29       2014-11   L6/6.7L    Dsl                                    94R 2                  730         30
1991-90 V8/5.0L                         48                   650         29       2014-11   V8/5.7L                                           94R                    730         30
Porsche 968                                                                       2014      V8/6.4L                                           94R                    730         30
1995-92 L4/3.0L                         91                   600                  Ram C/V
Porsche Boxster                                                                   2015    V6/3.6L                                             94R                    730         30
2014-13   H6/2.7L                       94R 50               650         30       2014-12 V6/3.6L                                             94R                    730         30
2014-07   H6/3.4L                       94R 50               650         30       Ram Dakota
2012-09   H6/2.9L                       94R 50               650         30       2011      V6/3.7L                                           65                     600         4
2008-06   H6/2.7L                       94R 50               650         30       2011      V6/3.7L    Opt                                    65                     750         4
2006      H6/3.2L                       94R 50               650         30       2011      V8/4.7L                                           65                     600         4
2005-02   H6/2.7L    Opt                94R 50               650         30       2011      V8/4.7L    Opt                                    65                     750         4
2005-02   H6/3.2L    Opt                94R 50               650         30       Ram ProMaster 1500
2005-00   H6/2.7L                       48 50                650         29
                                                                                  2017-14   L4/3.0L    Dsl, Opt                               95R 50                 950
2005-00   H6/3.2L                       48 50                650         29
                                                                                  2017-14   V6/3.6L    Opt                                    95R 50                 950
1999-97   H6/2.5L                       48 50                650         29
                                                                                  2017      L4/3.0L    Dsl                                    49 50                  800
Porsche Carrera GT                                                                2017      V6/3.6L                                           49 50                  800
2005-04 V10/5.7L                        48 54                650         29       2016      L4/3.0L    Dsl                                    49                     800
Porsche Cayenne                                                                   2016      V6/3.6L                                           49                     800
2014-11   V6/3.0L    Hybrid             94R 50               650         30       2015      L4/3.0L    Dsl                                    49                     800
2014-08   V6/3.6L                       94R 50               650         30       2015      V6/3.6L                                           49                     800
2014-08   V8/4.8L                       49 50                740         33       2014      L4/3.0L    Dsl                                    49                     800
2006-04   V6/3.2L                       94R 50               640         30       2014      V6/3.6L                                           49                     800
2006-03   V8/4.5L                       49 50                740         33       Ram ProMaster 2500
Porsche Cayman                                                                    2017-14   L4/3.0L    Dsl, Opt                               95R 50                 950
2014      H6/2.7L                       49 50                740         33       2017-14   V6/3.6L    Opt                                    95R 50                 950
2014      H6/3.4L                       49 50                740         33       2017      L4/3.0L    Dsl                                    49 50                  800
2012-10   H6/3.4L                       49 50                740         33       2017      V6/3.6L                                           49 50                  800
2012-09   H6/2.9L                       49 50                740         33       2016      L4/3.0L    Dsl                                    49                     800
2009-06   H6/3.4L                       94R 50               740         30       2016      V6/3.6L                                           49                     800
2008-07   H6/2.7L                       94R 50               740         30       2015      L4/3.0L    Dsl                                    49                     800
Porsche Panamera                                                                  2015      V6/3.6L                                           49                     800
2014-12 V6/3.0L                         49 50                740         33       2014      L4/3.0L    Dsl                                    49                     800
2014-11 V6/3.6L                         49 50                740         33       2014      V6/3.6L                                           49                     800
2014-10 V8/4.8L                         49 50                740         33       Ram ProMaster 3500
Ram 1500                                                                          2017-14   L4/3.0L    Dsl, Opt                               95R 50                 950
2017      V6/3.0L    Dsl                49   33
                                                             800                  2017-14   V6/3.6L    Opt                                    95R 50                 950
2017      V6/3.6L                       94R                  730         30       2017      L4/3.0L    Dsl                                    49 50                  800
2017      V8/5.7L                       94R                  730         30       2017      V6/3.6L                                           49 50                  800
2016-14   V6/3.0L    Dsl                49 33                800                  2016      L4/3.0L    Dsl                                    49                     800
2016      V6/3.6L                       94R                  730         30       2016      V6/3.6L                                           49                     800
2016      V8/5.7L                       94R                  730         30       2015      L4/3.0L    Dsl                                    49                     800
2015      V6/3.6L                       94R                  730         30       2015      V6/3.6L                                           49                     800
2015      V8/5.7L                       94R                  730         30       2014      L4/3.0L    Dsl                                    49                     800
2014-13   V6/3.6L                       94R                  730         30       2014      V6/3.6L                                           49                     800
2014-11   V8/5.7L                       94R                  730         30       Ram ProMaster City
2013-11   V8/4.7L                       94R                  730         30       2017    L4/2.4L                                             48                      750        29
2012-11   V6/3.7L                       94R                  730         30       2016-15 L4/2.4L                                             48                      750        29
                                                                                                                            See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                 Saturn
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    Automotive/Light Truck                                                                                                                                                                  77
                                                                                      Original                                                                                      Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment      Year     Engine                 Options            BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                               (notes)                    Code
                                                                                     CCA/Rating                                                                                    CCA/Rating
    Renault Fuego                                                                                           Saab 9-2X, 9-3, 9-3X, 9-4X, 9-5, 9-7X (continued)
    1984-82 L4/1.6L             Opt                               42 50                320                  2003-99   V6/3.0L    9-5                            91                   520
    1984    L4/2.2L             Opt                               42 50                320                  2003-02   L4/2.3L                                   48 50                700         29
    Renault R18                                                                                             2003-02   V6/3.0L                                   48                   700         29
    1981         L4/1.6L        Opt                               42 50                320                  2003      L4/2.0L    Conv                           47 40                580
                                                                                                            2003      L4/2.0L    Sport Sedan                    48 50                700         29
    Renault R18i
                                                                                                            2002-99   L4/2.0L    9-3 Conv                       47                   520         28
    1984    L4/2.2L             Opt                               42 50                320
                                                                                                            2002-99   L4/2.3L    9-3 Sedan                      47                   580
    1983-81 L4/1.6L             Opt                               42 50                320
                                                                                                            2002      L4/2.0L                                   47 40                580
    Rolls-Royce Ghost                                                                                       2002      L4/2.3L                                   47 40                580
    2015    V12/6.6L                                              49 33, 50, 54        900                  2001-99   L4/2.0L                                   47                   580
    2014-11 V12/6.6L                                              49 33, 50, 54        900                  2001-99   L4/2.3L                                   47                   580
    2010    V12/6.6L                                              49 33, 50, 54        900                  2001-99   V6/3.0L                                   48                   650         29
    Rolls-Royce Phantom                                                                                     2001-00   L4/2.3L                                   48                   650         29
    2015    V12/6.7L                                              48 33, 50, 54        760                  1999      L4/2.3L                                   48                   700         29
    2014-04 V12/6.7L                                              48 33, 50, 54        760                  Saleen S7
    2014-04 V12/6.7L Opt                                          49 33, 50, 54        900                  2006-02 V8/7.0L                                     34                   750          9
    Rolls-Royce Wraith                                                                                      Saturn Astra
    2015         V12/6.6L                                         49 33, 50, 54        900                  2009-08 L4/1.8L                                     91                   600
    2014         V12/6.6L                                         49 33, 50, 54        900                  Saturn Aura
    Saab 900                                                                                                2009      L4/2.4L                                   90                   600         37
    1998-94      L4/2.0L                                          47                   520         28       2009      V6/3.6L                                   90                   600         37
    1998-94      L4/2.3L                                          47                   520         28       2008      L4/2.4L                                   90                   590         37
    1997-94      V6/2.5L                                          47                   520         28       2008      V6/3.5L                                   90                   590         37
    1994         L4/2.1L                                          47                   520         28       2008      V6/3.6L                                   90                   590         37
    1993-91      L4/2.1L                                          26                   405                  2007      L4/2.4L    XE                             75                   575          5
    1993-90      L4/2.0L                                          26                   405                  2007      L4/2.4L    XR                             75                   690
    Saab 9000                                                                                               2007      V6/3.5L                                   75                   690
    1998-94      L4/2.3L                                          41                   570                  2007      V6/3.6L                                   75                   690
    1998-94      L4/2.3L       Group 47 fits 9 1/2” tray          91 56                520                  Saturn Ion
    1997-95      V6/3.0L                                          41                   570                  2007-06   L4/2.2L    From 6/2006                    78 50                600          7
    1997-95      V6/3.0L       Group 47 fits 9 1/2” tray          91 56                520                  2007-06   L4/2.4L    From 6/2006                    78 50                600          7
    1993-92      L4/2.3L                                          47                   520         28       2007-04   L4/2.0L                                   78 50                600          7
    1991-90      L4/2.3L        Opt                               34R                  450                  2006      L4/2.2L    To 6/2006                      75 50                600          5
    1991-90      L4/2.3L                                          47                   450         28       2006      L4/2.4L    To 6/2006                      75 50                600          5
    1990         L4/2.0L        Opt                               34R                  450                  2005-03   L4/2.2L                                   75 50                600          5
    1990         L4/2.0L                                          47                   450         28
                                                                                                            Saturn L, LS, LW, SC, SL, SW
    Saab 9-2X, 9-3, 9-3X, 9-4X, 9-5, 9-7X                                                                   2002-91   L4/1.9L                                   75                   525          5
                                                                       50
    2011-10 L4/2.0L                                               48                   700         29       2001-93   L4/1.9L                                   75                   525          5
    2011-10 V6/2.8L                                               48                   700         29       2000      L4/2.2L                                   75                   525          5
    2011-10 V6/2.8L 9-5                                           48                   700         29       2000      V6/3.0L                                   75                   525          5
    2011-08 L4/2.0L                                               48                  70 Ah        29       1999-93   L4/1.9L                                   75                   525          5
    2011-08 L4/2.0L 9-3                                           48                  70 Ah        29       1992-91   L4/1.9L                                   75                   525          5
    2011        L4/2.0L                                           91                   550
    2011        L4/2.0L 9-5                                       91                   550
                                                                                                            Saturn L100
    2011        V6/2.8L 9-4X                                      48                   700         29       2002      L4/2.2L                                   78                   600          7
    2011        V6/3.0L                                           48                   700         29       2001      L4/2.2L                                   75                   525          5
    2011        V6/3.0L 9-4X                                      48                   700         29       Saturn L200
    2009-08 L4/2.3L                                               48                  70 Ah        29       2003-02 L4/2.2L                                     78                   600          7
    2009-08 L4/2.3L 9-5                                           48                  70 Ah        29       2001    L4/2.2L                                     75                   525          5
    2009-08 L4/2.3L                                               48 50                700         29       Saturn L300
    2009-08 V6/2.8L                                               48                  70 Ah        29       2005-02 V6/3.0L                                     78                   600          7
    2009-08 V6/2.8L 9-3                                           48                  70 Ah        29       2004    L4/2.2L                                     78                   600          7
    2009-08 V8/6.0L                                               78                   600          7       2001    V6/3.0L                                     75                   525          5
    2009-08 V8/6.0L 9-7X                                          78                   600          7       Saturn LW200
    2009-06 V6/2.8L                                               48 50                700         29
                                                                                                            2003-02 L4/2.2L                                     78                   600          7
    2009-05 L6/4.2L                                               78                   600          7
                                                                                                            2001    L4/2.2L                                     75                   525          5
    2009-05 L6/4.2L 9-7X                                          78                   600          7
    2009-05 V8/5.3L                                               78                   600          7       Saturn LW300
    2009-05 V8/5.3L 9-7X                                          78                   600          7       2003-02 V6/3.0L                                     78                   600          7
    2009-04 L4/2.0L                                               48 50                700         29       2001    V6/3.0L                                     75                   525          5
    2007-99 L4/2.3L                                               91                   520                  Saturn Outlook
    2007-99 L4/2.3L 9-5                                           91                   520                  2010    V6/3.6L                                     48 50                660         29
    2007-04 L4/2.0L 9-3 Conv                                      91                  60 Ah                 2009-07 V6/3.6L                                     48 50                730         29
    2007-04 L4/2.3L                                               48                   700         29       Saturn Relay
    2007-03 L4/2.0L 9-3 Sport Sedan                               91                  60 Ah                 2007-06 V6/3.9L                                     34                   600          9
    2006        H4/2.5L 9-2X Aero                                 35                   550          3       2006-05 V6/3.5L                                     34                   600          9
    2005        H4/2.0L                                           25                   550          6
    2005        H4/2.0L 9-2X Aero                                 75D23R               550          6       Saturn SC, SL, SW (See L, LS, LW, SC, SL, SW)
    2005        H4/2.5L                                           25                   550          6       Saturn Sky
    2005        H4/2.5L 9-2X Linear                               75D23L               550          3       2010-07 L4/2.0L                                     86                   590         31
    2003-99 V6/3.0L                                               91                   520                  2010-07 L4/2.4L                                     86                   590         31
    See page 88 for Footnotes. Selection may vary by warehouse.

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78                                                                                                  Automotive/Light Truck
                                                                   Original                                                                                               Original
  Year      Engine                   Options     BCI Group Size   Equipment    Fitment     Year      Engine              Options                       BCI Group Size    Equipment    Fitment
                                                     (notes)                    Code                                                                       (notes)                     Code
                                                                  CCA/Rating                                                                                             CCA/Rating
Saturn Vue                                                                               Subaru BRZ (continued)
2010-08   L4/2.4L                              47                   650                  2015    H4/2.0L                                             35                     550         3
2010-08   V6/3.6L                              48                   730         29       2014-13 H4/2.0L                                             35                     550         3
2010      V6/3.5L                              48                   730         29       Subaru Crosstrek
2009-08   V6/3.5L                              48                   730         29       2017      H4/2.0L                                           35                     390         3
2007      L4/2.2L                              75                   525          5       2016      H4/2.0L                                           35                     390         3
2007      L4/2.4L                              86                   590         31       Subaru Forester
2007      V6/3.5L                              86                   640
                                                                                         2017      H4/2.0L                                           35                     390         3
2006-04   L4/2.2L                              75                   550          5
                                                                                         2017      H4/2.5L                                           35                     390         3
2006-04   V6/3.5L                              86                   590         31
                                                                                         2016      H4/2.0L                                           35                     390         3
2003-02   L4/2.2L                              75                   600          5
                                                                                         2016      H4/2.5L                                           35                     390         3
2003-02   V6/3.0L                              75                   600          5
                                                                                         2015      H4/2.0L                                           35                     550         3
Scion FR-S                                                                               2015      H4/2.5L                                           35                     550         3
2016      H4/2.0L                              35 50                430                  2014-10   H4/2.5L                                           35                     550         3
2015      H4/2.0L                              35                   430          3       2014      H4/2.0L                                           35                     550         3
2015      H4/2.0L                              55D23L               430          3       2009-08   H4/2.5L                                           35                     490         3
2014-13   H4/2.0L                              35                   430          3       2007      H4/2.5L                                           35                     500         3
2014-13   H4/2.0L                              55D23L 45, 54        430          3       2006      H4/2.5L    MT                                     35                     360         3
Scion iA                                                                                 2006      H4/2.5L    AT                                     35                     490         3
2016      L4/1.5L                              35                   N/A          3       2005-98   H4/2.5L    AT or HD                               35                     520         3
Scion iM                                                                                 2005      H4/2.5L    MT                                     35                     430         3
                                                                                         2004-98   H4/2.5L    MT                                     35                     360         3
2016      L4/1.8L                              35                   N/A          3
Scion iQ                                                                                 Subaru Impreza
                                                                                         2017-16   H4/2.0L                                           35                     550         3
2015      L4/1.3L    Opt, Cold Climate         35                   320          3
                                                                                         2015      H4/2.0L                                           35                     550         3
2015      L4/1.3L                              51                   295         20
                                                                                         2014-12   H4/2.0L                                           35                     550         3
2014-12   L4/1.3L    Opt, Cold Climate         35                   320          3
                                                                                         2014-10   H4/2.5L                                           35                     550         3
2014-12   L4/1.3L                              51                   295         20
                                                                                         2009-07   H4/2.5L                                           35                     520         3
2014      L4/1.3L    Cold Climate Pkg          51 33                320          6       2006      H4/2.5L    MT                                     35                     420         3
Scion tC                                                                                 2006      H4/2.5L    AT                                     35                     490         3
2016      L4/2.5L                              24F                  530         23       2005-02   H4/2.5L    AT                                     35                     520         3
2015      L4/2.5L                              24F                  575         23       2005      H4/2.0L    MT                                     35                     430         3
2014-11   L4/2.5L                              24F                  575         23       2005      H4/2.0L    AT                                     35                     520         3
2010-05   L4/2.4L                              24                   575         22       2005      H4/2.5L    MT                                     35                     430         3
Scion xA                                                                                 2004-02   H4/2.0L    MT                                     35                     360         3
2006-04 L4/1.5L                                25                   550          6       2004-02   H4/2.0L    AT                                     35                     420         3
Scion xB                                                                                 2004-02   H4/2.5L    MT                                     35                     360         3
                                                                                         2001-95   H4/2.2L    MT                                     35                     360         3
2015      L4/2.4L                              24F                  575         23
                                                                                         2001-95   H4/2.2L    AT                                     35                     520         3
2014-10   L4/2.4L                              24F                  575         23
                                                                                         2001      H4/2.5L                                           35                     520         3
2014-10   L4/2.4L                              24F                  585         23
                                                                                         2000-98   H4/2.5L    MT                                     35                     360         3
2009-08   L4/2.4L                              24F                  550         23
                                                                                         2000-98   H4/2.5L    AT                                     35                     520         3
2009-08   L4/2.4L                              24F                  575         23
                                                                                         1997-96   H4/1.8L    MT                                     35                     360         3
2006-04   L4/1.5L                              25                   550          6       1997-93   H4/1.8L    AT                                     35                     520         3
Scion xD                                                                                 1995-94   H4/1.8L    MT                                     35                     360         3
2014-10 L4/1.8L                                35                   550          3       1995      H4/1.8L    MT                                     35                     360         3
2014-08 L4/1.8L                                35                   355          3       1993      H4/1.8L    MT                                     35                     360         3
2009-08 L4/1.8L                                35                   550          3       Subaru Justy
Smart Fortwo                                                                             1995    L3/1.2L                                             35                     550         3
2016-12              AGM, Opt                  47 33, 50, 54        680                  1994-90 L3/1.2L                                             35                     420         3
2016                 Electric                  47 50, 54            480         28       Subaru Legacy, Outback
2016      L3/0.9L                              47 50, 54            480         28       2017-16   H4/2.5L                                           25                      355         6
2016      L3/0.9L    AGM, Opt                  47 33, 50, 54        680                  2017-15   H6/3.6L                                           25                      490         6
2015-12              Electric                  47 50, 54            480         28       2015      H4/2.5L                                           25                      490         6
2015      L3/1.0L    w/o AGM                   47 50, 54            480         28       2015      H6/3.6L                                           25                      490         6
2015      L3/1.0L                              47 33, 50, 54        680                  2014-10   H4/2.5L                                           25                      490         6
2014-08   L3/1.0L    w/o AGM                   47 50, 54            480         28       2014-10   H6/3.6L                                           25                      490         6
2014-08   L3/1.0L    Opt                       47 33, 50, 54        680                  2009-07   H4/2.5L                                           35                      490         3
2011                 Electric                  47 50, 54            480         28       2009-07   H6/3.0L                                           35                      490         3
2011                 Electric, Opt             47 33, 50, 54        680                  2008-00   H4/2.5L    Opt                                    85                      430
2007-05   L3/0.8L                              47 50, 54            540         28       2008      H4/2.5L                                           35                      430         3
Sterling 827                                                                             2006-00   H4/2.5L    MT                                     35                      430         3
1991-90 V6/2.7L                                34R                  675                  2006-00   H4/2.5L    AT                                     35                      490         3
Subaru B9 Tribeca                                                                        2006      H4/2.5L    AT                                     35                      490         3
2007-06 H6/3.0L                                35                   490          3       2006      H6/3.0L    AT                                     35                      490         3
                                                                                         2005-01   H6/3.0L                                           35                      490         3
Subaru Baja                                                                              2005-00   H4/2.5L    AT                                     35                      490         3
2006-03 H4/2.5L      MT                        35                   430          3       1999-97   H4/2.2L    AT                                     35                      490         3
2006-03 H4/2.5L      AT                        35                   490          3       1999-95   H4/2.2L    Opt                                    85                      430
Subaru BRZ                                                                               1999      H4/2.2L    AT, HD                                 35                      430         3
2017      H4/2.0L                              35                   550          3       1999      H4/2.5L    MT                                     35                      430         3
2016      H4/2.0L                              35                   550          3       1999      H4/2.5L    AT                                     35                      490         3
                                                                                                                                   See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                 Toyota
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    Automotive/Light Truck                                                                                                                                                              79
                                                                                      Original                                                                                 Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                 Options       BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                          (notes)                    Code
                                                                                     CCA/Rating                                                                               CCA/Rating
    Subaru Legacy, Outback (continued)                                                                      Suzuki Reno
    1998-96      H4/2.5L        Opt                               35                   430          3       2008-05 L4/2.0L                                86 11                610
    1998-96      H4/2.5L        AT                                35                   490          3       Suzuki Samurai
    1998         H4/2.2L        MT                                35                   430          3       1995-90 L4/1.3L                                51                   405         20
    1997-96      H4/2.5L        MT                                35                   355          3
    1997-95      H4/2.2L        MT                                35                   355          3
                                                                                                            Suzuki Sidekick
    1996-95      H4/2.2L        AT, HD                            35                   490          3       1998-96 L4/1.6L                                26R                  390         38
    1994-91      H4/2.2L        AT & Turbo                        35                   490          3       1998-96 L4/1.8L                                85                   550
    1994-90      H4/2.2L        MT, Ex Turbo                      35                   355          3       1995-90 L4/1.6L                                51                   405         20
    1994-90      H4/2.2L        Opt                               35                   430          3       Suzuki Swift
    1994-90      H4/2.2L                                          35                   550          3       2001-95   L4/1.3L                              26R                  440         38
    Subaru Loyale                                                                                           1994-92   L3/1.0L                              51                   435         20
    1994-91      H4/1.8L        MT                                21                   305          6       1994-90   L4/1.3L                              51                   435         20
    1994-91      H4/1.8L        AT                                25                   420          6       1993-92   L4/1.6L                              51                   435         20
    1990         H4/1.8L        MT                                21                   310          6       Suzuki Swift+
    1990         H4/1.8L        Turbo, AT                         24                   490         22       2009-04 L4/1.6L                                86                   550         31
    1990         H4/1.8L        AT                                25                   420          6       Suzuki SX4, SX4 Crossover
    Subaru Outback (See Legacy, Outback)                                                                    2013-07 L4/2.0L                                24                   700         22
    Subaru SVX                                                                                              2012    L4/2.0L                                24                   700         22
    1997-92 H6/3.3L                                               24                   585         22       Suzuki Verona
    Subaru Tribeca                                                                                          2006-04 L6/2.5L                                34 11                700
    2014-08 H6/3.6L                                               35                   490          3       Suzuki Vitara
    Subaru WRX                                                                                              2004      V6/2.5L                              85                   600
    2017         H4/2.0L                                          35                   390          3       2003-99   L4/2.0L                              85                   550
    2016         H4/2.0L                                          35 45                390          3       2002      L4/1.6L                              26R                  540         38
    2015         H4/2.0L                                          35                   390          3       2001-99   L4/1.6L                              85                   550
    2015         H4/2.0L                                          55D23L               490          3       Suzuki X-90
    2014-13      H4/2.5L                                          35                   390          3       1998-96 L4/1.6L                                26R                  440         38
    2014-13      H4/2.5L                                          55D23L               390          3       Suzuki XL7
    Subaru WRX STI                                                                                          2009-07   V6/3.6L                              47                   650
    2017         H4/2.5L                                          35                   390          3       2006-05   V6/2.7L                              24F                  700         23
    2016         H4/2.5L                                          35 45                390          3       2004      V6/2.7L                              24F                  700         23
    2015-13      H4/2.5L                                          35                   390          3       2003-02   V6/2.7L                              85                   550
    2015         H4/2.5L                                          55D23L 45            390          3       Toyota 4Runner
    2014-13      H4/2.5L                                          55D23L               390          3       2017-15   V6/4.0L                              24F                  585         23
    Subaru XT                                                                                               2014      V6/4.0L                              24F                  530         23
    1991-90      H4/1.8L        MT                                21                   310          6       2014      V6/4.0L                              24F                  585         23
    1991-90      H6/2.7L        MT                                25                   350          6       2013-03   V6/4.0L                              24F                  585         23
    1991         H4/1.8L        AT                                25                   405          6       2010      L4/2.7L                              24F                  585         23
    1991         H6/2.7L        AT                                25                   490          6       2010      L4/2.7L    HD or Cold Climate        27F                  710         36
    1990         H4/1.8L        AT, Ex Turbo                      25                   490          6       2009-03   V6/4.0L    HD or Cold Climate        27F                  710         36
    Subaru XV Crosstrek                                                                                     2009-03   V8/4.7L                              24F                  585         23
    2015         H4/2.0L        Gas                               35                   390          3       2009-03   V8/4.7L    HD or Cold Climate        27F                  710         36
    2015         H4/2.0L        US, Gas                           35                   390          3       2002-01   V6/3.4L                              24F                  585         23
    2014-13      H4/2.0L        Gas                               55D23L 45            N/A          3       2002-01   V6/3.4L    Opt                       27F                  710         36
    2014         H4/2.0L        Gas                               35                   390          3       2000-96   L4/2.7L                              24F                  585         23
    2014         H4/2.0L        US, Gas                           35                   390          3       2000-96   V6/3.4L    Opt                       24F                  585         23
    2013         H4/2.0L                                          35                   390          3       2000-96   V6/3.4L                              35                   360          3
    2013         H4/2.0L                                          35                   550          3       1995-91   L4/2.4L    Opt                       24                   585         22
    Suzuki Aerio                                                                                            1995-91   L4/2.4L                              25                   360          6
    2007-04 L4/2.3L                                               24F                  700         23       1995-91   V6/3.0L    Opt                       24                   585         22
    2003-02 L4/2.0L                                               24F                  700         23       1995-91   V6/3.0L                              25                   360          6
                                                                                                            1990      L4/2.4L                              25                   350          6
    Suzuki Equator                                                                                          1990      V6/3.0L                              24                   585         22
    2012-09 L4/2.5L                                               24F                  550         23
    2012-09 V6/4.0L                                               24F                  550         23       Toyota 86
                                                                                                            2017      H4/2.0L                              35                   355          3
    Suzuki Esteem
    2002-99 L4/1.8L                                               26R                  440         38       Toyota Avalon
    2001    L4/1.6L                                               26R                  540         38       2017-16   L4/2.5L    Hybrid                    S55D23R 33, 45, 50, 61 355
    2000-95 L4/1.6L                                               26R                  440         38       2017-16   V6/3.5L                              24F                    585       23
    Suzuki Forenza                                                                                          2016      L4/2.5L    Hybrid                    24F                    585       23
                                                                                                            2015      L4/2.5L    Hybrid                    S55D23R 33, 50         355
    2008-04 L4/2.0L                                               86 11                610
                                                                                                            2015      L4/2.5L    Hybrid, w/Mayday System   S65D26R 33, 50         450
    Suzuki Grand Vitara                                                                                     2015      V6/3.5L                              24F                    585       23
    2013-09      L4/2.4L                                          24F                  700         23       2015      V6/3.5L    Opt                       35                     390       3
    2010-09      V6/3.2L                                          24F                  700         23       2014-13   L4/2.5L    Hybrid                    S55D23R 33, 50, 54 355
    2008-06      V6/2.7L                                          24F                  700         23       2014-13   L4/2.5L    Hybrid, w/Mayday System   S65D26R 33, 45, 50, 61 450
    2005-04      V6/2.5L                                          24F                  700         23       2014-05   V6/3.5L                              24F                    585       23
    2003-99      V6/2.5L                                          85                   550                  2014-05   V6/3.5L    Opt                       35                     390       3
    2001         V6/2.7L                                          24F                  550         23       2011-05   V6/3.5L    Alt                       35                     310       3
    Suzuki Kizashi                                                                                          2004-03   V6/3.0L                              24F                    585       23
    2013-10 L4/2.4L                                               24F                  700         23       2004-03   V6/3.0L    Opt                       35                     390       3
    See page 88 for Footnotes. Selection may vary by warehouse.

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80                                                                                                 Automotive/Light Truck
                                                                  Original                                                                                                   Original
  Year      Engine                  Options     BCI Group Size   Equipment    Fitment     Year      Engine                  Options                       BCI Group Size    Equipment    Fitment
                                                    (notes)                    Code                                                                           (notes)                     Code
                                                                 CCA/Rating                                                                                                 CCA/Rating
Toyota Avalon (continued)                                                               Toyota Corolla (continued)
2002-95 V6/3.0L      Can & Opt                24F                  585         23       2005-04   L4/1.8L                                               35                     310         3
2002    V6/3.0L      US                       35                   390          3       2003-95   L4/1.8L                                               35                     360         3
2001-95 V6/3.0L      US                       35                   360          3       1997-95   L4/1.6L    Opt                                        35                     310         3
Toyota Camry, Solara                                                                    1996      L4/1.6L    Std Battery                                21R                    360         3
2017-16   L4/2.5L    Hybrid                   S55D23R 33, 45, 50, 61 355                1994-93   L4/1.8L                                               21R                    310         3
2017-16   L4/2.5L    Hybrid w/Moonroof        S65D26R 33, 45, 50, 61 450                1994-93   L4/1.8L    Opt                                        35                     360         3
2017      L4/2.5L    Gas                      24F                    585       23       1994      L4/1.6L    Opt                                        21R                    350         3
2017      L4/2.5L    US, Gas                  24F                    585       23       1994      L4/1.6L                                               35                     310         3
2017      V6/3.5L                             24F                    585       23       1993-91   L4/1.6L    Opt                                        21R                    310         3
2016      L4/2.5L    Hybrid                   24F                    585       23       1993-90   L4/1.6L                                               21R                    310         3
2016      V6/3.5L                             24F                    585       23       1990      L4/1.6L    Opt                                        21R                    350         3
2015      L4/2.5L    Gas                      24F                    585       23       Toyota Corolla iM
2015      L4/2.5L    US, Gas                  24F                    585       23       2017      L4/1.8L                                               35                     355         3
2015      L4/2.5L    Hybrid                   S55D23R 33, 50         355
2015      L4/2.5L    Hybrid w/Moonroof        S65D26R 33, 50
                                                                     450                Toyota Cressida
2015      V6/3.5L                             24F                    585       23       1992-90 L6/3.0L                                                 27F                    450         36
2014-12   L4/2.5L    Hybrid                   S55D23R 33, 45, 50, 61 355                Toyota Echo
2014-12   L4/2.5L    Hybrid w/o Moonroof      S55D23R 33, 50         360                2005-03   L4/1.5L                                               21                     420         6
2014-12   L4/2.5L    Hybrid w/Moonroof        S65D26R 33, 50         360                2002-00   L4/1.5L    US                                         21                     310         6
2014-12   L4/2.5L    Hybrid w/Moonroof        S65D26R 33, 45, 50, 61 450                2002      L4/1.5L    Can & Opt                                  25                     360         6
2014-10   L4/2.5L                             24F                    585       23       2001      L4/1.5L    Can & Opt                                  25                     420         6
2014-07   V6/3.5L                             24F                    585       23       Toyota FJ Cruiser
2011      L4/2.4L    Hybrid w/Moonroof        S65D26R 33, 50         N/A
                                                                                        2014    V6/4.0L                                                 24R                    585         23
2010-07   L4/2.4L    Hybrid                   S65D26R 33, 50         N/A
                                                                                        2013-11 V6/4.0L                                                 24F                    585         23
2009      L4/2.4L    Gas                      24F                    585       23
                                                                                        2010-07 V6/4.0L                                                 27F                    710         36
2009      L4/2.4L    Opt, w/o Cold Climate    35                     390        3
2008-07   V6/3.3L                             24F                    585       23       Toyota Highlander
2008-02   L4/2.4L    Cold Climate             24F                    585       23       2017-16   V6/3.5L    Hybrid                                     S55D23L 33, 45, 50, 61 360
2008      L4/2.4L    Opt                      35                     390        3       2017      L4/2.7L                                               24F                    585         23
2007-02   L4/2.4L                             35                     390        3       2017      V6/3.5L    Gas                                        24F                    585         23
2006-04   V6/3.0L    Cold Climate             24F                    585       23       2017      V6/3.5L    US, Gas                                    24F                    585         23
2006-04   V6/3.0L    w/o Cold Climate         35                     390        3       2016      L4/2.7L                                               24F                    585         23
2006-04   V6/3.3L    Cold Climate             24F                    585       23       2016      V6/3.5L    Gas                                        24F                    585         23
2006-04   V6/3.3L    w/o Cold Climate         35                     390        3       2016      V6/3.5L    Hybrid                                     24F                    585         23
2003-02   L4/2.4L    US                       35                     360        3       2015      L4/2.7L                                               24F                    585         23
2003-02   V6/3.0L    US                       35                     390        3       2015      V6/3.5L    Gas                                        24F                    585         23
2003-01   V6/3.0L    Can & Opt                24F                    585       23       2015      V6/3.5L    Hybrid                                     S55D23L 33, 50         360
2001      L4/2.2L    Can & Opt                24F                    585       23       2014-11   V6/3.5L    Hybrid                                     S55D23L 33, 50         360
2001      L4/2.2L    US                       35                     360        3       2014-09   L4/2.7L                                               24F                    585         23
2001      V6/3.0L    US                       35                     360        3       2014-08   V6/3.5L                                               24F                    585         23
2000-95   V6/3.0L    Can & Cold Climate       24F                    585       23       2010-06   V6/3.3L    Hybrid                                     51R                    435         11
2000-92   L4/2.2L    Opt                      24F                    585       23       2007-04   V6/3.3L                                               24F                    585         23
2000-92   L4/2.2L                             35                     360        3       2007-01   L4/2.4L                                               24F                    585         23
2000-92   V6/3.0L                             35                     360        3       2003-01   V6/3.0L                                               24F                    585         23
1994-92   V6/3.0L    Opt                      24F                    585       23
1991-90   L4/2.0L    US                       21R                    330        3       Toyota Land Cruiser
1991-90   L4/2.0L    Japan Production         35                     350        3       2017      V8/5.7L                                               27F                    710         36
1991-90   V6/2.5L    US                       21R                    330        3       2016      V8/5.7L                                               27F                    710         36
1991-90   V6/2.5L    Japan Production         35                     350        3       2015      V8/5.7L                                               27F                    710         36
Toyota Celica                                                                           2014-13   V8/5.7L                                               27F                    710         36
                                                                                        2011-08   V8/5.7L                                               27F                    710         36
2005-00   L4/1.8L                             35                   310          3
2004-02   L4/1.8L    Opt                      35                   360          3       2007-01   V8/4.7L                                               27F                    710         36
2001-00   L4/1.8L    Opt                      35                   420          3       2000-98   V8/4.7L                                               24F                    575         23
1999-95   L4/2.2L    Opt                      35                   420          3       1997-93   L6/4.5L                                               24F                    450         23
1999-92   L4/2.2L                             35                   360          3       1997-93   L6/4.5L    Can & Opt                                  27F                    625         36
1997-94   L4/1.8L                             35                   360          3       1992-90   L6/4.0L                                               27                     450         35
1996-94   L4/1.8L    Opt                      35                   420          3       Toyota Matrix
1993-92   L4/2.0L                             35                   360          3       2014-09 L4/1.8L                                                 35                     355         3
1993-92   L4/2.2L    Opt                      24F                  490         23       2013-09 L4/2.4L                                                 24F                    575         23
1993-90   L4/1.6L                             35                   360          3       2008-03 L4/1.8L                                                 35                     550         3
1991-90   L4/2.0L    FWD                      35                   350          3       Toyota Mirai
1991-90   L4/2.2L                             35                   350          3
                                                                                        2017-16              Electric/Hydrogen                          S46B24R 45             N/A
Toyota Corolla                                                                          2016                                                            S46B-20R               N/A
2017      L4/1.8L                             35                   355          3       Toyota MR2
2016      L4/1.8L                             35                   355          3
                                                                                        1995-93   L4/2.0L    Opt                                        24F                    490         23
2015      L4/1.8L                             35                   355          3
                                                                                        1995-93   L4/2.0L                                               35                     360         3
2014-09   L4/1.8L                             35                   355          3
2012      L4/2.4L                             24F                  582         23       1995-93   L4/2.2L                                               24F                    490         23
2012      L4/2.4L                             24F                  585         23       1992-91   L4/2.0L                                               35                     350         3
2011      L4/2.4L                             24F                  585         23       1992-91   L4/2.2L                                               35                     350         3
2010-09   L4/2.4L                             24F                  575         23       Toyota MR2 Spyder
2008-06   L4/1.8L                             35                   420          3       2005-00 L4/1.8L                                                 51R                     430        11
                                                                                                                                      See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                 Toyota
                                      929
    Automotive/Light Truck                                                                                                                                                            81
                                                                                        Original                                                                              Original
        Year         Engine                         Options         BCI Group Size     Equipment    Fitment     Year      Engine                 Options    BCI Group Size   Equipment    Fitment
                                                                        (notes)                      Code                                                       (notes)                    Code
                                                                                       CCA/Rating                                                                            CCA/Rating
    Toyota Paseo                                                                                              Toyota Sienna (continued)
    1999-98      L4/1.5L                                          25                     550          6       2013-11   L4/2.7L                            24F                 585         23
    1997-92      L4/1.5L                                          21                     310          6       2006-04   V6/3.3L                            24F                 585         23
    1997         L4/1.5L        Opt                               25                     360          6       2003-02   V6/3.0L    Opt                     24F                 585         23
    1996-93      L4/1.5L        Opt                               25                     410          6       2003-02   V6/3.0L                            35                  360         3
    1992         L4/1.5L        Can & Opt                         25                     350          6       2001-98   V6/3.0L                            24F                 585         23
    Toyota Pickup, T100                                                                                       Toyota Solara (See Camry, Solara)
    1998-95      V6/3.4L                                          24F                    585         23       Toyota Supra
    1998-94      L4/2.7L                                          24F                    585         23       1998-94   L6/3.0L    AT                      24F                 585         23
    1995-91      L4/2.4L        Can & Opt                         24                     585         22       1998-93   L6/3.0L    MT                      24F                 490         23
    1995-91      L4/2.4L        US                                25                     360          6       1993      L6/3.0L    AT                      24F                 485         23
    1995-91      V6/3.0L        Can & Opt                         24                     585         22       1992-90   L6/3.0L                            27F                 450         36
    1995-91      V6/3.0L        US                                25                     360          6       Toyota T100 (See Pickup, T100)
    1994-93      V6/3.0L        Can & Opt                         24                     585         22
    1994-93      V6/3.0L        US                                25                     360          6       Toyota Tacoma
    1990         L4/2.4L                                          21                     320          6       2016      L4/2.7L                            24F                 585         23
    1990         L4/2.4L        Opt                               25                     350          6       2016      V6/3.5L                            27F                 710         36
    1990         V6/3.0L        Opt                               21                     350          6       2015      L4/2.7L                            24F                 585         23
    1990         V6/3.0L                                          24                     585         22       2015      V6/4.0L                            27F                 710         36
                                                                                                              2014-09   V6/4.0L                            27F                 710         36
    Toyota Previa
                                                                                                              2014-05   L4/2.7L                            24F                 585         23
    1997-91 L4/2.4L             Opt                               24F                    585         23
                                                                                                              2008-07   V6/4.0L    Cold Climate or TTPkg   27F                 710         36
    1997-91 L4/2.4L                                               35                     360         3
                                                                                                              2008-05   V6/4.0L                            24F                 585         23
    Toyota Prius                                                                                              2006      V6/4.0L    HD & Cold Climate       27F                 710         36
    2017-16      L4/1.8L        Hybrid                            140R                   480                  2005      V6/4.0L    Cold Climate or TTPkg   27F                 710         36
    2015         L4/1.8L        Hybrid                            S46B24R 33, 50         325                  2004      L4/2.4L                            35                  310         3
    2014-10      L4/1.8L                                          S46B24R 33, 50         325                  2004      L4/2.7L                            35                  310         3
    2014         L4/1.8L        Plug in                           S46B24R 33, 50         360                  2004      V6/3.4L                            24F                 550         23
    2009-04      L4/1.5L        w/o Smart Key                     S34B20R 33, 50         270                  2003-01   L4/2.4L    Can & Opt               24F                 585         23
    2009-04      L4/1.5L        HD, Opt or Smart Key              S46B24R 33, 50         325                  2003-01   L4/2.4L    US                      35                  360         3
    2003-01      L4/1.5L                                          S34B20L 33, 50         270                  2003-01   L4/2.7L    Can & Opt               24F                 585         23
    Toyota Prius c                                                                                            2003-01   L4/2.7L    US                      35                  360         3
    2016    L4/1.5L             Hybrid                            S34B20R 33, 45, 50 270                      2003-01   V6/3.4L    Can & Opt               24F                 585         23
    2015    L4/1.5L             Hybrid                            S34B20R 33, 50     270                      2003-01   V6/3.4L    US                      35                  360         3
    2014-12 L4/1.5L             Hybrid                            S34B20R 33, 50     270                      2000-95   L4/2.4L    Opt                     24F                 585         23
    Toyota Prius Plug-In                                                                                      2000-95   L4/2.4L                            35                  360         3
                                                                                                              2000-95   L4/2.7L                            24F                 585         23
    2015-12 L4/1.8L             Hybrid                            S46B24R 33, 45, 50 325
                                                                                                              2000-95   V6/3.4L    Opt                     24F                 585         23
    Toyota Prius v                                                                                            2000-95   V6/3.4L                            35                  360         3
    2017         L4/1.8L        Hybrid                            S46B24R 33, 45, 50     325                  Toyota Tercel
    2015         L4/1.8L        Hybrid                            S46B24R 33, 50         325
                                                                                                              1999-97   L4/1.5L    Opt                     25                  360          6
    2014-12      L4/1.8L        Hybrid                            S46B24R 33, 45, 50     325                  1999-91   L4/1.5L                            21                  310          6
    2014-12      L4/1.8L        Hybrid                            SC46B24R 33, 50        325                  1996-95   L4/1.5L                            25                  360          6
    Toyota RAV4                                                                                               1996-93   L4/1.5L    Opt                     25                  410          6
    2017-16      L4/2.5L        Gas                               35                     355          3       1994-93   L4/1.5L                            25                  360          6
    2017-16      L4/2.5L        US, Gas                           35                     355          3       1992-91   L4/1.5L    Opt                     25                  350          6
    2017-16      L4/2.5L        Hybrid                            S55D23R 33, 45, 50, 61 355                  1990      L4/1.5L                            21R                 310          3
    2016         L4/2.5L        Gas                               80D23L                 N/A         3        1990      L4/1.5L    Opt                     35                  350          3
    2015         L4/2.5L                                          35                     355         3        Toyota Tundra
    2015         L4/2.5L                                          35                     356         3        2016      V8/4.6L                            24F                 585         23
    2014                        Electric                          55D23L 45              355          3       2016      V8/5.7L                            27F                 710         36
    2014         L4/2.5L                                          35                     356         3        2015      V8/4.6L                            24F                 585         23
    2013-12                     Electric                          55D23L 45              355          3       2015      V8/4.6L    Opt                     27F                 710         36
    2013-09      L4/2.5L                                          24F                    585         23       2015      V8/5.7L                            24F                 585         23
    2012-06      V6/3.5L                                          24F                    585         23       2015      V8/5.7L    Opt                     27F                 710         36
    2008-04      L4/2.4L                                          24F                    585         23       2014-10   V8/4.6L                            24F                 585         23
    2003-01      L4/2.0L                                          35                     420         3        2014-10   V8/4.6L    HD & Cold Climate       27F                 710         36
    2000-96      L4/2.0L                                          35                     360         3        2014-08   V8/5.7L    HD & Cold Climate       27F                 710         36
    Toyota Sequoia                                                                                            2014-07   V8/5.7L                            24F                 585         23
                                                                                                              2014-05   V6/4.0L                            24F                 585         23
    2016         V8/5.7L                                          27F                    710         36
                                                                                                              2014-05   V6/4.0L    HD & Cold Climate       27F                 710         36
    2015         V8/5.7L                                          27F                    710         36       2009-08   V8/4.7L    Opt                     27F                 710         36
    2014-08      V8/5.7L                                          27F                    710         36       2009-00   V8/4.7L                            24F                 585         23
    2012-10      V8/4.6L                                          27F                    710         36       2006-02   V8/4.7L    HD & Cold Climate       27F                 710         36
    2009-04      V8/4.7L                                          27F                    710         36       2004-00   V6/3.4L    AT or HD                24F                 585         23
    2003-02      V8/4.7L        Opt                               27F                    710         36       2004-00   V6/3.4L    MT                      35                  360         3
    2003-01      V8/4.7L                                          24F                    585         23       2000      V8/4.7L    Opt                     27F                 650         36
    2001         V8/4.7L        Opt                               27F                    650         36       Toyota Venza
    Toyota Sienna                                                                                             2016      L4/2.7L                            24F                 585         23
    2017        V6/3.5L                                           24F                    585         23       2016      V6/3.5L                            24F                 585         23
    2016        V6/3.5L                                           24F                    582         23       2015      L4/2.7L                            24F                 585         23
    2016        V6/3.5L                                           24F                    585         23       2015      V6/3.5L                            24F                 585         23
    2015        V6/3.5L                                           24F                    585         23       2014-09   L4/2.7L                            24F                 585         23
    2014-07 V6/3.5L                                               24F                    585         23       2014-09   V6/3.5L                            24F                 585         23
    See page 88 for Footnotes. Selection may vary by warehouse.

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82                                                                                                                                            Automotive/Light Truck
                                                                                                             Original                                                                                                              Original
    Year          Engine                          Options                            BCI Group Size         Equipment    Fitment     Year      Engine                     Options                        BCI Group Size           Equipment    Fitment
                                                                                         (notes)                          Code                                                                               (notes)                            Code
                                                                                                            CCA/Rating                                                                                                            CCA/Rating
Toyota Yaris                                                                                                                       Volkswagen CC (continued)
2016    L4/1.5L              Coupe                                              35 45                         360          3       2017      L4/2.0L    Opt                                           48 33, 50, 54, 55, 56         680
2016    L4/1.5L                                                                 47 45                         360         28       2017      L4/2.0L    Opt                                           49 50, 54, 55, 56             760
2014-06 L4/1.5L                                                                 55D23L 45                     360                  2016-15   L4/2.0L                                                  47 50, 56, 54, 55             540
Volkswagen Beetle                                                                                                                  2016      L4/2.0L    Opt                                           48 50, 54, 55, 56             640
2017-15      L4/2.0L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2016      L4/2.0L    Opt                                           48 33, 50, 54, 55, 56         680
2017-14      L4/1.8L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2016      L4/2.0L    Opt                                           49 50, 54, 55, 56             760
2017         L4/1.8L         PR Code J1L                                        47 50, 54, 55, 56, 58         480         29       2015-12   L4/2.0L    Opt                                           48 50, 54, 55, 56             640
2017         L4/1.8L         PR Code J0N                                        47 50, 54, 55, 56, 58         540                  2015-12   L4/2.0L    Opt                                           48 33, 50, 54, 55, 56         680
2017         L4/1.8L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015-12   L4/2.0L    Opt                                           49 50, 54, 55, 56             760
2017         L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         480         29       2015-12   V6/3.6L    Opt                                           48 50, 54, 55, 56             640
2017         L4/2.0L         PR Code J0N                                        47 50, 54, 55, 56, 58         540                  2015-12   V6/3.6L    Opt                                           48 33, 50, 54, 55, 56         680
2017         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015-12   V6/3.6L    Opt                                           49 50, 54, 55, 56             760
2016-15      L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         480         28       2015      V6/3.6L                                                  47 50, 56, 54, 55             540
2016-15      L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2014-12   L4/2.0L                                                  47 50, 54, 55, 56             540
2016-14      L4/1.8L         PR Code J1L                                        47 50, 54, 55, 56, 58         480         28       2014-12   V6/3.6L                                                  47 50, 54, 55, 56             540
2016-14      L4/1.8L         PR Code J0N                                        47 50, 54, 55, 56, 58         540                  2014-09   L4/2.0L    PR Code J1L                                   47 50, 55, 56, 58            60 Ah        28
2016-14      L4/1.8L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2014-09   L4/2.0L    PR Code JOL                                   48 50, 55, 56, 58            70 Ah        29
2016         L4/2.0L         PR Code J0N                                        47 50, 54, 55, 56, 58         540                  2014-09   V6/3.6L    PR Code J1U                                   49 50, 55, 58                95 Ah
2015-13      L4/2.0L         Dsl, PR Code J1L                                   47 50, 54, 55, 56, 58         480         28       2011-09   L4/2.0L                                                  47 50                         480         28
2015         L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         480         28       2011-09   V6/3.6L                                                  48 50                         640
2015         L4/2.0L         Dsl, PR Code J0N                                   47 50, 54, 55, 56, 58         540                  Volkswagen Corrado
2015         L4/2.0L         PR Code J0N                                        47 50, 54, 55, 56, 58         540                  1995-92 V6/2.8L                                                    42                            460
2015         L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58        60 Ah        28       1992-90 L4/1.8L                                                    42                            460
2015         L4/2.0L         Dsl, PR Code J1D                                   48 50, 54, 55, 56, 58         640                  Volkswagen e-Golf
2015         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2017                 Electric, PR Code J1L                         47 50, 54, 55, 56, 58         540         28
2014-13      L4/2.0L         Dsl, PR Code J1L                                   47 50, 54, 55, 56, 58         540         28       2017                 Electric, PR Code J2D                         48 33, 50, 54, 55, 56, 58     680
2014-13      L4/2.0L         Dsl, PR Code J1D                                   48 50, 54, 55, 56, 58         640                  2016-15              Electric, PR Code J1L                         47 50, 54, 55, 56, 58         540         28
2014-13      L4/2.0L         Dsl, PR Code J2D, AGM                              48 33, 50, 55, 56, 58        68 Ah                 2016-15              Electric, PR Code J2D                         48 33, 50, 54, 55, 56, 58     680
2014-13      L4/2.0L         Dsl, PR Code J2D                                   48 33, 50, 54, 55, 56, 58     680
2014-12      L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         480         28
                                                                                                                                   Volkswagen Eos
2014-12      L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28       2016      L4/2.0L                                                  47 50, 54, 55, 56          540
2014-12      L4/2.0L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2016      L4/2.0L    Opt                                           48 50, 54, 55, 56          640
2014-12      L4/2.0L         PR Code J2D, AGM                                   48 33, 50, 55, 56, 58        68 Ah                 2016      L4/2.0L    Opt                                           48 33, 50, 54, 55, 56      680
2014-12      L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015      L4/2.0L                                                  47 50, 54, 55, 56          540
2014-12      L5/2.5L         PR Code J1L                                        47 50, 54, 55, 56, 58         480         28       2015      L4/2.0L    Opt                                           48 50, 54, 55, 56          640
2014-12      L5/2.5L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28       2015      L4/2.0L    Opt                                           48 33, 50, 54, 55, 56      680
2014-12      L5/2.5L         PR Code J2D, AGM                                   48 33, 50, 54, 55, 56, 58     540                  2014-11   L4/2.0L    PR Code J1L                                   47 50, 55, 56, 58          540            28
2014-12      L5/2.5L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2014-11   L4/2.0L    Opt, no AGM, PR Code J1D                      48 50, 55, 56, 58          640
2014-12      L5/2.5L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2014-09   L4/2.0L    Opt, w/AGM, PR Code J2D                       48 33, 50, 54, 55, 56, 58 680
2012         L4/2.0L         PR Code J1D                                        48 50, 54, 55, 56, 58         680                  2010-07   L4/2.0L                                                  47 50, 54, 55, 56          540
2010-08      L5/2.5L         PR Code J1L                                        47 50, 55, 56, 58            60 Ah        28       2010-07   L4/2.0L    PR Code J0N                                   47 50, 55, 56, 58         61 Ah
2010-08      L5/2.5L         PR Code J1D                                        48 50, 54, 55, 56, 58         540                  2010-07   L4/2.0L    Opt                                           48 50, 54, 55, 56          640
2010-06      L5/2.5L                                                            47 50, 54, 55, 56             540                  2010-07   L4/2.0L    PR Code JOL                                   48 50, 55, 56, 58         70 Ah           29
2010-06      L5/2.5L         Opt                                                48 50, 54, 55, 56             640                  2010-07   L4/2.0L    PR Code J1D                                   48 50, 55, 56, 58         72 Ah
2007-06      L5/2.5L         PR Code J0N or J1L                                 47 50, 55, 56, 58             480         28       2008-07   V6/3.2L    6V, AGM                                       N/A 2                      540
2006-05      L4/1.9L         Dsl                                                47 50, 54, 55, 56             480         28       Volkswagen EuroVan
2006         L4/1.9L         Turbo Dsl                                          47 50, 54, 55, 56             540                  2003-00   V6/2.8L                                                  97R 50                        575
2006         L4/1.9L         Turbo DSL, Opt                                     48 50, 54, 55, 56             640                  2002-99   V6/2.8L    Aux Battery                                   27 31                         570         14
2005-98      L4/2.0L                                                            47 50, 54                     480         28       1999      V6/2.8L                                                  42                            460
2005-04      L4/1.8L                                                            47 50, 54                     480         28       1997-93   L5/2.4L    Aux Battery                                   27 31                         570         14
2004-98      L4/1.9L         Dsl                                                48                            640         29       1997-93   L5/2.4L    Dsl                                           97R                           575
2004-03      L4/1.8L         Turbo                                              48                            640         29       1997      V6/2.8L                                                  42                            460
2003         L4/1.8L                                                            48                            640         29       1996      L5/2.5L    Aux Battery                                   27                            570         14
2002-00      L4/1.8L                                                            47 50, 54                     480         28       1996      L5/2.5L    Primary Battery                               97R                           575
1999         L4/1.8L                                                            48                            640         29       1995-92   L5/2.5L                                                  42                            460
1979-77      H4/1.6L         Gas, w/AC                                          41                            450                  1994      L5/2.4L                                                  42                            460
1979-77      H4/1.6L         Gas, w/o AC                                        42                            300                  Volkswagen Fox
1976-70      H4/1.6L                                                            42                            300                  1993    L4/1.8L                                                    42                            450
1969-67      H4/1.5L                                                            42                            300                  1992-90 L4/1.8L                                                    41                            500
Volkswagen Cabrio, Cabriolet                                                                                                       Volkswagen Golf
2002-00      L4/2.0L                                                            47                            520         28       2017      L4/1.8L    PR Code J0N, J1L                              47 50, 54, 55, 56, 58         540
2002-00      L4/2.0L                                                            47                            575                  2017      L4/1.8L    PR Code J2D                                   48 33, 50, 54, 55, 56, 58 480
1999-98      L4/2.0L                                                            97R                           575                  2017      L4/1.8L    PR Code J1D                                   48 50, 54, 55, 56, 58         640
1997-95      L4/2.0L                                                            42                            460                  2016      L4/1.8L    PR Code J0N, J1L                              47 50, 54, 55, 56, 58         540
1993-90      L4/1.8L                                                            41                            500                  2016      L4/1.8L    PR Code J1D                                   48 50, 54, 55, 56, 58         640
Volkswagen CC                                                                                                                      2016      L4/1.8L    PR Code J2D                                   48 33, 50, 54, 55, 56, 58 680
2017-16      V6/3.6L                                                            47 50, 54, 55, 56             540                  2015      L4/1.8L    PR Code J0N or J1L                            47 50, 54, 55, 56, 58         540
2017-16      V6/3.6L         Opt                                                48 50, 54, 55, 56             640         29       2015      L4/1.8L    PR Code J1D                                   48 50, 54, 55, 56, 58         640
2017-16      V6/3.6L         Opt                                                48 33, 50, 54, 55, 56         680                  2015      L4/1.8L    PR Code J2D                                   48 33, 45, 50, 54, 55, 56, 58 680
2017-16      V6/3.6L         Opt                                                49 50, 54, 55, 56             760                  2015      L4/2.0L    Dsl, PR Code J0N, J1L                         47 50, 54, 55, 56, 58         540
2017         L4/2.0L                                                            47 50, 54, 55, 56             540                  2015      L4/2.0L    Dsl, PR Code J1D                              48 50, 54, 55, 56, 58         640
2017         L4/2.0L         Opt                                                48 50, 54, 55, 56             640         29       2015      L4/2.0L    Dsl, PR Code J2D                              48 33, 45, 50, 54, 55, 56, 58 680
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                                                                  See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                                                                         Costco_001539
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                                                                              Volkswagen
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    Automotive/Light Truck                                                                                                                                                                                                      83
                                                                                               Original                                                                                                                 Original
        Year         Engine                         Options          BCI Group Size           Equipment    Fitment     Year      Engine                       Options                         BCI Group Size           Equipment    Fitment
                                                                         (notes)                            Code                                                                                  (notes)                            Code
                                                                                              CCA/Rating                                                                                                               CCA/Rating
    Volkswagen Golf (continued)                                                                                      Volkswagen Golf SportWagen
    2014-12      L5/2.5L                                          47 50, 54, 55, 56             540                  2017      L4/1.8L    PR Code J0N or J1L                               47 50, 54, 55, 56, 58         540
    2014-10      L5/2.5L       PR Code J0N or J1L                 47 50, 54, 58                 480         28       2017      L4/1.8L    PR Code J1D                                      48 50, 54, 55, 56, 58         640
    2014-10      L5/2.5L       HD, PR Code J1D                    48 50, 54, 58                 640                  2016-15   L4/1.8L                                                     47 50, 54, 55, 56, 58         540
    2014         L4/2.0L       Dsl                                47 50, 54                     540                  2016-15   L4/1.8L    PR Code J1D                                      48 50, 54, 55, 56, 58         640
    2014         L4/2.0L       Dsl, Opt                           48 50, 54                     640         29       2015      L4/2.0L    Dsl                                              47 50, 54, 55, 56, 58         540
    2013-12      L4/2.0L       Dsl                                47 50, 54, 55, 56             540                  2015      L4/2.0L    Dsl, PR Code J1D                                 48 50, 54, 55, 56, 58         640
    2013-12      L4/2.0L       Dsl, Opt                           48 33, 50, 54, 55, 56         680                  Volkswagen GTI
    2013-12      L5/2.5L       Opt                                48 33, 50, 54, 55, 56         680                  2017      L4/2.0L    PR Code J0N, J1L                                 47 50, 54, 55, 56, 58         540
    2013-10      L4/2.0L       TDI, PR Code J1L or J0N            47 58                         480         28       2017      L4/2.0L    PR Code J2D                                      48 33, 50, 54, 55, 56, 58 480
    2013-10      L4/2.0L       TDI, PR Code J1D                   48 50, 55, 56, 58             640                  2017      L4/2.0L    PR Code J1D                                      48 50, 54, 55, 56, 58         640
    2013         L4/2.0L       Gas, PR Code J1L or J0N            47 58                         480         28       2016-15   L4/2.0L                                                     47 50, 54                     540
    2013         L4/2.0L       Gas                                47 50, 54, 55, 56             540                  2016      L4/2.0L    PR Code J1D                                      48 50, 54, 55, 56, 58         640
    2013         L4/2.0L       Gas, HD PR Code J1D                48 50, 55, 56, 58             640                  2016      L4/2.0L    PR Code J2D                                      48 33, 50, 54, 55, 56, 58 680
    2013         L4/2.0L       Gas, Opt                           48 33, 50, 54, 55, 56         680                  2015      L4/2.0L    PR Code J1D                                      48 50, 54, 55, 56, 58         640
    2012         L5/2.5L       Gas, PR Code J1L or J0N            47 58                         480         28       2015      L4/2.0L    PR Code J2D                                      48 33, 45, 50, 54, 55, 56, 58 680
    2012         L5/2.5L       Gas                                47 50, 54, 55, 56             540                  2014-12   L4/2.0L    Opt                                              48 50, 54, 55, 56             640
    2012         L5/2.5L       Gas, HD PR Code J1D                48 50, 55, 56, 58             640                  2014-11   L4/2.0L                                                     47 54                         540
    2012         L5/2.5L       Gas, Opt                           48 33, 50, 54, 55, 56         680                  2014-11   L4/2.0L    Opt                                              48 54                         570         29
    2011-10      L4/2.0L       Dsl                                47 50, 54                     540                  2013-12   L4/2.0L    Opt                                              48 33, 50, 54, 55, 56         680
    2011-10      L5/2.5L                                          47 50, 54                     540                  2010-09   L4/2.0L                                                     48 54                         570         29
    2006         L4/1.8L        PR Code J0N or J1L                47 50, 58                     480         28       2008-06   L4/2.0L                                                     48 54                         540         29
    2006         L4/1.9L        PR Code J1D                       48 50, 55, 56, 58             570                  Volkswagen Jetta
    2006         L4/2.0L        PR Code J0N or J1L                47 50, 58                     480         28       2017-16   L4/1.4L    Opt                                              47 50, 54, 55, 56             540
    2005-04      L4/1.9L        Dsl, PR Code J0R                  94R 50, 58                    640         30       2017-16   L4/1.4L                                                     48 50, 54, 55, 56             480         29
    2005-03      L4/1.8L        PR Code J1L                       47 58                         570         28       2017-16   L4/1.8L    Opt                                              47 50, 54, 55, 56             540
    2005-03      L4/2.0L        PR Code J1L                       47 58                         570         28       2017-16   L4/2.0L    Opt                                              47 50, 54, 55, 56             540
    2005-03      V6/2.8L                                          94R                           640         30       2017      L4/1.4L    Opt                                              48 50, 54, 55, 56             640         29
    2004         V6/3.2L                                          47 54                         480         28       2017      L4/1.4L    Opt                                              48 33, 50, 54, 55, 56, 58     680
    2003         L4/1.9L       Dsl, PR Code J0N, J1L              47 58                         570         28       2017      L4/1.8L                                                     48 50, 54, 55, 56             480         29
    2002-01      L4/1.9L       Dsl, PR Code J0N, J1L              47 58                         575         28       2017      L4/1.8L    Opt                                              48 50, 54, 55, 56             640         29
    2002-00      L4/1.8L       PR Code J0N or J1L                 47 58                         575         28       2017      L4/1.8L    Opt                                              48 33, 50, 54, 55, 56, 58     680
    2002-00      L4/2.0L       PR Code J0N or J1L                 47 58                         575         28       2017      L4/2.0L                                                     48 50, 54, 55, 56             480         29
    2002-00      V6/2.8L       PR Code J0N or J1L                 47 58                         575         28       2017      L4/2.0L    Opt                                              48 50, 54, 55, 56             640         29
    2001-99      L4/2.0L       PR Code J0L                        48 50, 55, 56, 58            70 Ah        29       2017      L4/2.0L    Opt                                              48 33, 50, 54, 55, 56, 58     680
    2000         L4/1.9L                                          94R                           620         30       2016-15   L4/1.8L                                                     48 50, 54, 55, 56, 58         640         29
    1999-98      L4/2.0L                                          97R                           575                  2016      L4/1.4L    Opt                                              48 50, 54, 55, 56             640
    1999-98      V6/2.8L                                          97R                           575                  2016      L4/1.4L    Opt                                              48 33, 50, 54, 55, 56         680
    1999         L4/1.9L        Dsl                               98R                           620                  2016      L4/1.8L                                                     48 50, 54, 55, 56             480         29
    1998         L4/1.8L                                          97R                           575                  2016      L4/1.8L    Opt                                              48 33, 50, 54, 55, 56         680
    1998         L4/1.9L        Dsl                               97R                           575                  2016      L4/2.0L                                                     48 50, 54, 55, 56             480         29
                                                                                                                     2016      L4/2.0L    Opt                                              48 50, 54, 55, 56             640
    1997         L4/1.8L                                          42                            460
                                                                                                                     2016      L4/2.0L    Opt                                              48 33, 50, 54, 55, 56         680
    1997         L4/1.9L        Dsl                               98R                           620
                                                                                                                     2015      L4/1.4L    Hybrid, Opt                                      47 50, 54, 55, 56             540
    1997         L4/2.0L                                          42                            460
                                                                                                                     2015      L4/1.4L    Hybrid                                           48 50, 54, 55, 56             480         29
    1997         V6/2.8L                                          42                            460
                                                                                                                     2015      L4/1.4L    Hybrid, Opt                                      48 50, 54, 55, 56             640
    1996-95      V6/2.8L                                          41                            575
                                                                                                                     2015      L4/1.4L    Hybrid, Opt                                      48 33, 50, 54, 55, 56         680
    1996-95      V6/2.8L        Opt                               41                            650
                                                                                                                     2015      L4/1.8L    Opt                                              47 50, 54, 55, 56             540
    1996-93      L4/1.8L                                          41                            575                  2015      L4/1.8L                                                     48 50, 54, 55, 56             480         29
    1996-93      L4/1.9L        Opt                               41                            650                  2015      L4/1.8L    Opt                                              48 33, 50, 54, 55, 56         680
    1996-93      L4/2.0L                                          41                            575                  2015      L4/2.0L    Dsl, Opt                                         47 50, 54, 55, 56             540
    1996-93      L4/2.0L        Opt                               41                            650                  2015      L4/2.0L    Opt                                              47 50, 54, 55, 56             540
    1996-90      L4/1.8L        Opt                               41                            650                  2015      L4/2.0L                                                     48 50, 54, 55, 56             480         29
    1996         L4/1.9L        Turbo, DSL                        41 6                          650                  2015      L4/2.0L    Dsl                                              48 50, 54, 55, 56             480         29
    1995-93      L4/1.9L                                          41                            575                  2015      L4/2.0L    Dsl, Opt                                         48 50, 54, 55, 56             640
    1992-90      L4/1.6L                                          41                            500                  2015      L4/2.0L    Opt                                              48 50, 54, 55, 56             640
    1992-90      L4/1.8L                                          41                            500                  2015      L4/2.0L    Dsl, Opt                                         48 33, 50, 54, 55, 56         680
    1992-90      L4/2.0L                                          41                            500                  2015      L4/2.0L    Opt                                              48 33, 50, 54, 55, 56         680
    Volkswagen Golf Alltrack                                                                                         2014-13   L4/1.4L    Hybrid                                           47 50, 54                     540
    2017         L4/1.8L        PR Code J0N, J1L                  47 50, 54, 55, 56, 58         540                  2014-13   L4/1.4L    Opt                                              48 50, 54, 55, 56             640
    2017         L4/1.8L        PR Code J2D                       48 33, 50, 54, 55, 56, 58     480                  2014-13   L4/1.4L    Opt                                              48 33, 50, 54, 55, 56         680
    2017         L4/1.8L        PR Code J1D                       48 50, 54, 55, 56, 58         640                  2014-12   L4/2.0L    Dsl, Opt                                         48 50, 54, 55, 56             640
    Volkswagen Golf City                                                                                             2014-12   L4/2.0L    Dsl, Opt                                         48 33, 50, 54, 55, 56         680
                                                                                                                     2014-11   L4/2.0L    Gas, Opt                                         48 50, 54, 55, 56             640
    2010-07 L4/2.0L             PR Code J0N or J1L                47 54, 58                     540         28
                                                                                                                     2014-11   L4/2.0L    Gas, Opt                                         48 33, 50, 54, 55, 56         680
    Volkswagen Golf R                                                                                                2014-11   L5/2.5L    Opt                                              48 50, 54, 55, 56             640
    2017-16      L4/2.0L        PR Code J0N, J1L                  47 50, 54, 55, 56, 58         540                  2014-11   L5/2.5L    Opt                                              48 33, 50, 54, 55, 56         680
    2017-16      L4/2.0L        PR Code J1D                       48 50, 54, 55, 56, 58         640                  2014-09   L4/2.0L    TDI                                              47 54                         540
    2017         L4/2.0L        PR Code J2D                       48 33, 50, 54, 55, 56, 58 480                      2014-09   L4/2.0L    TDI, Opt, PR Code J1D                            48 50, 55, 56, 58             570
    2016         L4/2.0L        PR Code J2D                       48 33, 50, 54, 55, 56, 58 680                      2014-08   L4/2.0L                                                     47 54                         540
    2015         L4/2.0L        Gas, PR Code J1L or J0N           47 50, 54, 55, 56, 58         540                  2014-08   L4/2.0L    Gas, Opt                                         48                            570         29
    2015         L4/2.0L        Gas, PR Code J1D                  48 50, 54, 55, 56, 58         640                  2014-06   L5/2.5L                                                     47 54                         540
    2015         L4/2.0L        Gas; PR-J2D                       48 33, 45, 50, 54, 55, 56, 58 680                  2014-05   L5/2.5L    Opt                                              48                            570         29
    See page 88 for Footnotes. Selection may vary by warehouse.                                                                                      Note: PR codes are located on a tag near the spare tire or in the warranty booklet

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84                                                                                                                                        Automotive/Light Truck
                                                                                                         Original                                                                                                  Original
    Year          Engine                          Options                            BCI Group Size     Equipment    Fitment     Year      Engine                 Options                        BCI Group Size   Equipment    Fitment
                                                                                         (notes)                      Code                                                                           (notes)                    Code
                                                                                                        CCA/Rating                                                                                                CCA/Rating
Volkswagen Jetta (continued)                                                                                                   Volkswagen Jetta (continued)
2014         L4/1.4L         Opt                                                48 50, 54                 570         29       1999-98   L4/1.9L    Dsl                                       47 50, 54              520         28
2014         L4/1.8L                                                            47 50, 54                 540                  1999-98   L4/1.9L    Dsl, Opt                                  48 50, 54              570         29
2014         L4/1.8L         Opt                                                48 50, 54                 570         29       1999-98   L4/1.9L    Dsl, Opt                                  94R 50, 54             640         30
2014         L4/1.8L         Opt                                                48 50, 54, 55, 56         640                  1999-98   L4/1.9L    Dsl                                       97R                    575
2014         L4/1.8L         Opt                                                48 33, 50, 54, 55, 56     680                  1999-98   L4/2.0L                                              47 50, 54              520         28
2011         L4/2.0L         Dsl, Opt                                           48 50, 54, 55, 56         640                  1999-98   L4/2.0L    Opt                                       48 50, 54              570         29
2011         L4/2.0L         Dsl, Opt                                           48 33, 50, 54, 55, 56     680                  1999-98   L4/2.0L    Opt                                       94R 50, 54             640         30
2009-08      L4/2.0L         PR Code J0L                                        48                        570         29
                                                                                                                               1999-98   L4/2.0L                                              97R                    575
2009-08      L4/2.0L         PR Code J0R                                        94R                      80 Ah        30
                                                                                                                               1999-98   V6/2.8L                                              47 50, 54              520         28
2009-06      L5/2.5L         PR Code J0L                                        48                        570         29
                                                                                                                               1999-98   V6/2.8L    Opt                                       48 50, 54              570         29
2009-06      L5/2.5L         PR Code J0R                                        94R                      80 Ah        30
2009         L4/2.0L         Dsl, Opt                                           94R 50, 54                640         30       1999-98   V6/2.8L    Opt                                       94R 50, 54             640         30
2009         L4/2.0L         Gas, Opt                                           94R 50, 54                640         30       1999-98   V6/2.8L                                              97R                    575
2009         L4/2.0L         Dsl & Opt                                          94R                      80 Ah        30       1997      L4/1.9L    Dsl                                       98R                    620
2009         L5/2.5L         Opt                                                94R 50, 54                640         30       1997      L4/2.0L                                              42                     460
2008         L4/2.0L         Gas, Opt                                           94R 50, 54                640         30       1997      V6/2.8L                                              42                     460
2008         L5/2.5L         Opt                                                94R 50, 54                640         30       1996-94   V6/2.8L                                              41                     575
2007-06      L4/2.0L         PR Code J1D                                        48 50                     570                  1996-93   L4/1.9L    Dsl                                       41 6                   650
2007-05      L4/2.0L         Gas, Opt                                           94R                      80 Ah        30       1996-93   L4/2.0L                                              41                     575
2007-05      L5/2.5L         Opt                                                94R 50, 54                640         30       1996-93   L4/2.0L    Opt                                       41                     650
2007         L4/2.0L                                                            47 50, 54                 540                  1996      L4/1.9L    Dsl                                       41 5                   575
2007         L4/2.0L         Opt                                                94R 50, 54                640         30       1996      V6/2.8L    Opt                                       41                     575
2006-05      L4/1.9L         Dsl, Opt                                           48 50, 54                 570         29       1995-93   L4/1.8L                                              41                     575
2006         L4/1.9L         Dsl                                                47 50, 54                 540                  1995      V6/2.8L    Opt                                       41                     650
2006         L4/1.9L         Dsl, PR Code J0L                                   48 50                    70 Ah        29       1994      V6/2.8L    Opt                                       41                     575
2006         L4/1.9L         Dsl, Opt                                           94R 50, 54                640         30       1992-90   L4/1.6L    Dsl                                       41                     650
2006         L4/2.0L         Turbo                                              47 50, 54                 540                  1992-90   L4/1.8L                                              41                     500
2006         L4/2.0L         Turbo, Opt                                         94R 50, 54                640         30
                                                                                                                               1992-90   L4/2.0L                                              41                     500
2005-03      L4/1.8L         PR Code J1L                                        47                       60 Ah        28
2005-03      L4/1.8L         Opt                                                48                        570         29       Volkswagen Jetta City
2005-03      L4/1.8L         Wagon, Opt                                         94R                       640         30       2009-07   L4/2.0L                                              47 54                  540
2005-03      L4/1.9L         PR Code J1L                                        47                       60 Ah        28       2009-07   L4/2.0L    PR Code J1D                               48 50, 55, 56, 58      570
2005-03      L4/1.9L         TDI                                                94R                       640         30       2009-07   L4/2.0L    PR Code J0R                               94R                    640         30
2005-03      L4/2.0L         PR Code J1L                                        47                       60 Ah        28       2008      L4/2.0L                                              94R                    640         30
2005-01      L4/2.0L         Opt Incl Wagon                                     94R                       640         30       Volkswagen Passat
2005-00      L4/1.8L                                                            47                        520         28       2017-16   L4/1.8L    PR Code J1D                               48 50, 54, 55, 56, 58   640
2005         L4/1.8L         Late                                               47 50, 54                 540                  2017-16   V6/3.6L    PR Code J1D                               48 50, 54, 55, 56, 58   640
2005         L4/1.9L         Dsl, Early                                         47 50, 54                 520         28       2017      L4/1.8L    PR Code J0N or J1L                        47 50, 54, 55, 56, 58   540
2005         L4/1.9L         Dsl, Late                                          47 50, 54                 540                  2017      V6/3.6L    PR Code J0N or J1L                        47 50, 54, 55, 56, 58   540
2005         L4/2.0L         Early                                              47 50, 54                 520         28       2016      L4/1.8L    PR Code J0N or J1L                        47 50, 54, 55, 56, 58   540        28
2005         L4/2.0L         Late                                               47 50, 54                 540                  2016      V6/3.6L    PR Code J0N or J1L                        47 50, 54, 55, 56, 58   540        28
2005         L4/2.0L         Opt                                                48 50, 54                 570         29       2015      L4/1.8L                                              47 50, 54, 55, 56       540
2005         L5/2.5L         Early                                              47 50, 54                 520         28       2015      L4/1.8L    Opt                                       48 50, 54, 55, 56       640        29
2005         L5/2.5L         Late                                               47 50, 54                 540                  2015      L4/1.8L    Opt                                       49 50, 54, 55, 56       760
2005         L5/2.5L         PR Code J1L                                        47                       60 Ah        28       2015      L4/2.0L    Dsl                                       47 50, 54, 55, 56       540
2005         L5/2.5L         Opt                                                48 50, 54                 540         29       2015      L4/2.0L    Dsl, Opt                                  48 50, 54, 55, 56       640        29
2004-03      V6/2.8L                                                            47 50, 54                 520         28
                                                                                                                               2015      L4/2.0L    Dsl, Opt                                  49 50, 54, 55, 56       760
2004-02      V6/2.8L         Opt                                                94R                       640         30
                                                                                                                               2015      V6/3.6L                                              47 50, 54, 55, 56       540
2004-00      L4/1.9L         Dsl                                                47 50, 54                 520         28
                                                                                                                               2015      V6/3.6L    Opt                                       48 50, 54, 55, 56       640        29
2004         L4/2.0L                                                            47 50, 54                 520         28
                                                                                                                               2015      V6/3.6L    Opt                                       49 50, 54, 55, 56       760
2004         V6/2.8L         Wagon, Opt                                         94R                       640         30
                                                                                                                               2014-12   L4/2.0L    Dsl                                       47 50, 54, 55, 56       540
2003-00      L4/2.0L                                                            47                        520         28
                                                                                                                               2014-12   L5/2.5L                                              47 50, 54               540
2002-00      L4/1.8L         Opt                                                48 50, 54                 570         29
2002-00      L4/1.9L         Dsl, Opt                                           48 50, 54                 570         29       2014-12   L5/2.5L    Opt                                       48 50, 54               640        29
2002-00      L4/1.9L         Dsl & Opt                                          94R                       620         30       2014-12   L5/2.5L    Opt                                       49 50, 54               760
2002-00      L4/1.9L         Dsl, Opt                                           94R 50, 54                640         30       2014-12   V6/3.6L                                              47 50, 54               540
2002-00      L4/2.0L         Opt                                                48 50, 54                 570         29       2014      L4/1.8L                                              47 50, 54               540
2002-00      V6/2.8L                                                            47                        520         28       2014      L4/1.8L    Opt                                       48 50, 54               640        29
2002-00      V6/2.8L         Opt                                                48 50, 54                 570         29       2014      L4/1.8L    Option 1                                  48 50, 54               640        29
2002         L4/1.8L         Opt                                                94R                       640         30       2014      L4/1.8L    Opt                                       49 50, 54               760
2002         L4/1.9L         TDI, Wagon, Opt                                    48                       72 Ah                 2014      L4/1.8L    Option 2                                  49 50, 54               760
2002         L4/2.0L         Wagon, Opt                                         48                       72 Ah                 2014      L4/2.0L    Option 1                                  48 50, 54               640        29
2001         L4/1.8L         Opt, Cold Climate                                  49 50, 54                 760                  2014      L4/2.0L    Option 2                                  49 50, 54               760
2001         L4/1.8L         Wagon, Opt                                         94R                       640         30       2014      L5/2.5L    Option 1                                  48 50, 54               640        29
2001         L4/1.9L         DSL, Opt, Cold Climate                             49 50, 54                 760                  2014      L5/2.5L    Option 2                                  49 50, 54               760
2001         L4/2.0L         Opt, Cold Climate                                  49 50, 54                 760                  2014      V6/3.6L    Option 1                                  48 50, 54               640        29
2001         L4/2.0L         Wagon                                              49                       95 Ah                 2014      V6/3.6L    Option 2                                  49 50, 54               760
2001         V6/2.8L         Opt, Cold Climate                                  49 50, 54                 760                  2013      L4/2.0L    Dsl, Opt1                                 48 50, 54, 55           640        29
2001         V6/2.8L         Wagon                                              49                       95 Ah                 2013      L4/2.0L    Dsl, Opt2                                 49 50, 54, 55           760
2001         V6/2.8L         Wagon, Opt                                         94R                       640         30       2013      L5/2.5L    Option 1                                  48 50, 54, 55           640        29
2000         L4/1.8L         Opt                                                94R 50, 54                640         30       2013      L5/2.5L    Option 2                                  49 50, 54, 55           760
2000         L4/2.0L         Opt                                                94R 50, 54                640         30       2013      V6/3.6L    Option 1                                  48 50, 54, 55           640        29
2000         V6/2.8L         Opt                                                94R 50, 54                640         30       2013      V6/3.6L    Option 2                                  49 50, 54, 55           760
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                                                          See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                              Volkswagen
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    Automotive/Light Truck                                                                                                                                                                                       85
                                                                                       Original                                                                                                          Original
        Year         Engine                         Options          BCI Group Size   Equipment    Fitment     Year      Engine                    Options                         BCI Group Size       Equipment    Fitment
                                                                         (notes)                    Code                                                                               (notes)                        Code
                                                                                      CCA/Rating                                                                                                        CCA/Rating
    Volkswagen Passat (continued)                                                                            Volkswagen Routan
    2012         L4/2.0L        Dsl, Opt                          48 50, 54             640         29       2014-13   V6/3.6L                                                  94R                       700         30
    2012         L4/2.0L        Dsl, Opt                          49 50, 54             760                  2012-11   V6/3.6L                                                  94R                       700         30
    2012         V6/3.6L        Opt                               48 50, 54             640         29       2010-09   V6/3.8L                                                  34                        700          9
    2012         V6/3.6L        Opt                               49 50, 54             760                  2010-09   V6/4.0L                                                  34                        700          9
    2010-08      V6/3.6L                                          48 54                 640                  2010      V6/3.8L                                                  34                        600          9
    2010-08      V6/3.6L        PR Code J1D                       48 50, 55, 56, 58    72 Ah                 2010      V6/4.0L                                                  34                        600          9
    2010-06      L4/2.0L                                          47 50, 54             540                  2009      V6/3.8L                                                  34                        600          9
    2010-06      L4/2.0L        Opt                               48                   72 Ah                 2009      V6/4.0L                                                  34                        600          9
    2010         L4/2.0L                                          47 54                 480         28       Volkswagen Tiguan
    2010         L4/2.0L        Opt                               48 54                 640                  2017-15   L4/2.0L                                                  47 50, 54, 55, 56         540
    2009-06      L4/2.0L        Syn/4 Mot, AGM, Opt               49 33                92 Ah                 2017-15   L4/2.0L    Opt                                           48 50, 54, 55, 56         640         29
    2009-06      V6/3.6L        Syn/4 Mot, AGM                    48 33                68 Ah                 2014-09   L4/2.0L    PR Code J1D                                   48 50, 54, 55, 56         540
    2009-06      V6/3.6L        Syn/4 Mot, AGM, HD                49 33                92 Ah                 2014-09   L4/2.0L    HD, PR Code J1D                               48 50, 54, 55, 56         640
    2009         L4/2.0L                                          47 54                 480         28       2014-09   L4/2.0L    HD, PR Code J1D                               48 50, 55, 56, 58         640
    2009         L4/2.0L        Opt                               48 54                 640                  2014-09   L4/2.0L    Opt                                           48 33, 50, 54, 55, 56     680
    2008-07      V6/3.6L        Wagon                             48 33                68 Ah                 Volkswagen Touareg
    2008-07      V6/3.6L        Wagon, Opt                        49 33                92 Ah                 2017      V6/3.6L    Opt                             49 33, 50, 54, 55, 56       850
    2008-06      V6/3.6L        Sedan                             49                   95 Ah                 2017      V6/3.6L                                    94R 50, 54, 55, 56          640                     30
    2008         L4/2.0L                                          47 54                 480         28       2017      V6/3.6L    Opt, PR Code J2T, w/o AGM       94R  50, 54, 55, 56
                                                                                                                                                                                              760
    2008         L4/2.0L        Opt                               48 54                 640                  2017      V6/3.6L    Opt                             94R 33, 50, 54, 55, 56 800
    2007         L4/2.0L                                          47                    480         28       2017      V6/3.6L    Opt                             95R 50, 54, 55, 56          850
    2007         L4/2.0L        Opt                               48 54                 640                  2016-15   V6/3.0L    Dsl                             94R 50, 54, 55, 56          640                     30
    2007         V6/3.6L                                          48                    640                  2016-15   V6/3.6L                                    94R                         640                     30
    2006         L4/2.0L                                          47 54                 480         28       2016      V6/3.0L    Dsl, Opt                        49 33, 50, 54, 55, 56       850
    2006         L4/2.0L        Opt                               48 54                 640                  2016      V6/3.0L    Dsl, Opt                        94R 50, 54, 55, 56          760
    2006         V6/3.6L                                          48 54                 640                  2016      V6/3.0L    Dsl, Opt                        94R 33, 50, 54, 55, 56 800
    2005-98      L4/1.8L       Ex 4 Motion                        48                    570         29       2016      V6/3.0L    Dsl, Opt                        95R 50, 54, 55, 56          850
    2005-04      V6/2.8L       Ex 4 Motion                        48 50                 570         29       2016      V6/3.0L    Dsl, Opt                        95R 33, 50, 54, 55, 56 950
    2005-03      V6/2.8L       4 Motion, HD, PR Code J0R          94R 50, 58            640         30       2016      V6/3.6L    Opt                             49 33, 50, 54, 55, 56       850
    2005-01      V6/2.8L                                          48 54                 540         29       2016      V6/3.6L    Opt                             94R 50, 54, 55, 56          760
    2005         L4/1.8L                                          48 50                 570         29       2016      V6/3.6L    Opt                             94R 33, 50, 54, 55, 56 800
    2005         L4/1.8L        Ex 4 Motion                       49 50                 740                  2016      V6/3.6L    Opt                             95R 50, 54, 55, 56          850
    2005         L4/2.0L                                          94R 54                640         30       2016      V6/3.6L    Opt                             95R 33, 50, 54, 55, 56 950
    2004-03      W8/4.0L                                          94R 50                640         30       2015-11   V6/3.0L    Dsl, Opt                        49 33, 50, 54, 55, 56       850
    2004         L4/2.0L        Dsl                               94R 54                640         30       2015-11   V6/3.0L    Hybrid, Opt                     49 33, 50, 54, 55, 56       850
    2004         L4/2.0L        Dsl, PR Code J0R                  94R 50, 58           80 Ah        30       2015-11   V6/3.0L    Dsl, Opt                        94R 50, 54, 55, 56          760
    2003         V6/2.8L        Ex 4 Motion (no vent)             48 50                 570         29       2015-11   V6/3.0L    Hybrid, Opt                     94R 50, 54, 55, 56          760
    2002         V6/2.8L        4 Motion                          48 50                 570         29       2015-11   V6/3.0L    Dsl, Opt                        94R 33, 50, 54, 55, 56 800
    2002         W8/4.0L                                          48 50                 570         29       2015-11   V6/3.0L    Hybrid, Opt                     94R 33, 50, 54, 55, 56 800
    2001         V6/2.8L        HD, PR Code J0R                   94R 50, 58            640         30       2015-11   V6/3.0L    Dsl, Opt                        95R 50, 54, 55, 56          850
    2000         V6/2.8L                                          48 54                 540         29       2015-11   V6/3.0L    Hybrid, Opt                     95R 50, 54, 55, 56          850
    1999-98      V6/2.8L                                          48 54                 540         29       2015-11   V6/3.0L    Dsl, Opt                        95R 33, 50, 54, 55, 56 950
    1997-93      V6/2.8L                                          42                    460                  2015-11   V6/3.0L    Hybrid, Opt                     95R 33, 50, 54, 55, 56 950
    1997         L4/1.9L        Dsl                               98R                   650                  2015-11   V6/3.6L    Opt                             49 33, 50, 54, 55, 56       850
    1996-95      L4/2.0L        Opt                               41                    650                  2015-11   V6/3.6L    Opt                             94R 50, 54, 55, 56          760
    1996-90      L4/2.0L                                          42                    460                  2015-11   V6/3.6L    Opt                             94R 33, 50, 54, 55, 56 800
    1996         L4/1.9L        Dsl                               41 6                  650                  2015-11   V6/3.6L    Opt                             95R 50, 54, 55, 56          850
    1996         V6/2.8L        Opt                               42                    650                  2015-11   V6/3.6L    Opt                             95R 33, 50, 54, 55, 56 950
                                                                                                             2014-11   V6/3.0L    Opt, PR Code J1D, HD            48 50, 55, 56, 58           640
    1995-93      L4/1.9L        Dsl                               42                    460
                                                                                                             2014-11   V6/3.0L    Dsl                             94R 50, 54, 55, 56          640                     30
    1995-93      V6/2.8L        Opt                               41                    650
                                                                                                             2014-11   V6/3.0L    Hybrid                          94R 50, 54, 55, 56          640                     30
    1993         L4/1.8L                                          41                    475
                                                                                                             2014-11   V6/3.0L    Hybrid, PR Code J1N             94R 33, 50, 54, 55, 56, 58 75 Ah
    1992-91      L4/1.8L                                          42                    460
                                                                                                             2014-11   V6/3.0L    Opt, PR Code J2T, w/o AGM       94R 50, 54, 55, 56, 58 85 Ah
    Volkswagen Passat CC                                                                                     2014-11   V6/3.6L    Opt, PR Code J1D, HD            48 50, 54, 55, 56, 58       640
    2010-09      L4/2.0L                                          47 50, 54             480         28       2014-11   V6/3.6L                                    94R 50, 54, 55, 56          640                     30
    2010-09      L4/2.0L        PR Code J1L                       47 50, 54, 58        60 Ah        28       2014-09   V6/3.0L    TDI, PR Code J0Z                95R 50, 54, 55, 56, 58 110 Ah
    2010-09      L4/2.0L        PR Code JOL                       48 50, 55, 56, 58    70 Ah        29       2014-07   V6/3.6L    Opt 1 PR Code J1U               49 50, 54, 55, 56, 58       760
    2010-09      V6/3.6L                                          48 50, 54             640                  2014-07   V6/3.6L    Opt 2 PR Code J0Z               95R 50, 54, 55, 56, 58 110 Ah
    2010-09      V6/3.6L        PR Code J1U                       49 50, 54, 58        95 Ah                 2010-09   V6/3.0L    Dsl                             95R 50, 54                  850
    Volkswagen Phaeton                                                                                       2010-08   V6/3.6L    Opt                             95R 50, 54                  850
    2006-04      V8/4.2L        Starting, In Trunk                47 50, 55, 56        61 Ah                 2009-08   V8/4.2L                                    93 50                       790
    2006-04      V8/4.2L                                          49 50                 740                  2009-04   V8/4.2L    PR Code J2T. Under seat w/o AGM 94R 50, 54, 55, 56, 58 85 Ah
    2006-04      V8/4.2L        Aux, In Trunk                     49 33                92 Ah                 2008-05   V10/5.0L   In trunk - AGM Battery          49 33, 50, 54, 55, 56, 58 92 Ah
    2006-04      W12/6.0L       Starting, In Trunk                47 50, 55, 56        61 Ah                 2008-05   V10/5.0L   w/o AGM                         49 50, 54, 55              95 Ah
    2006-04      W12/6.0L                                         49 50                 740                  2008-05   V10/5.0L   Under driver seat               95R 50, 54, 55            110 Ah
    2006-04      W12/6.0L       Aux, In Trunk                     49 33                92 Ah                 2008      V10/5.0L   Dsl                             93 50                       740
                                                                                                             2007-06   V8/4.2L                                    93 50                       740
    Volkswagen R32                                                                                           2007      V10/5.0L   Dsl                             93 50                       740
    2008         V6/3.2L                                          94R 54                640         30       2007      V6/3.6L    Opt                             95R 50, 54                  850
    Volkswagen Rabbit                                                                                        2007      V8/4.2L                                    93 50, 54                   740
    2009-06 L5/2.5L PR Code J0L                                   48 50, 55, 56, 58     540         29       2006-05   V10/5.0L   Dsl                             49 50, 54
                                                                                                                                                                                              850
    2009-06 L5/2.5L HD, PR Code J0R                               94R 50, 58            640         30       2006-04   V6/3.2L                                    94R 50                      640                     30
    See page 88 for Footnotes. Selection may vary by warehouse.                                                                           Note: PR codes are located on a tag near the spare tire or in the warranty booklet

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86                                                                                                Automotive/Light Truck
                                                                 Original                                                                                                    Original
  Year      Engine                 Options     BCI Group Size   Equipment    Fitment     Year      Engine                   Options                       BCI Group Size    Equipment    Fitment
                                                   (notes)                    Code                                                                            (notes)                     Code
                                                                CCA/Rating                                                                                                  CCA/Rating
Volkswagen Touareg (continued)                                                         Volvo S40 (continued)
2005-04   V8/4.2L                            49 50                740                  2010      L5/2.5L                                                91 50                  590
2004      V10/4.9L Dsl                       49 50, 54            850                  2009-05   L5/2.4L                                                91 50                  590
2004      V10/4.9L Dsl, w/o AGM              49 50, 54, 55       95 Ah                 2009-05   L5/2.5L                                                91 50                  590
2004      V10/4.9L Aux, Dsl                  95R 50, 54           950                  2005      L5/2.4L    Late 2004 on                                91 50                  520
Volkswagen Vanagon                                                                     2005      L5/2.5L    Late 2004 on                                91 50                  520
1991-90 H4/2.1L                              41                   500                  2004-00   L4/1.9L    Early 2004                                  48                     600         29
                                                                                       2004      L4/1.9L    Turbo                                       48 50                  600         29
Volvo 240
                                                                                       2004      L4/1.9L    Late                                        91 50                  590
1993-90 L4/2.3L      Std Battery             47                   500         28
                                                                                       2004      L4/1.9L    Late, w/Premium Stereo                      94R 50                 700         30
1992-91 L4/2.3L      Opt                     48                   600         29
                                                                                       2004      L5/2.4L    Early                                       48                     600         29
Volvo 740                                                                              2004      L5/2.4L    Late                                        91 50                  590
1992-91   L4/2.3L                            47                   520         28       2004      L5/2.4L    Late, w/Premium Stereo                      94R 50                 700         30
1992-91   L4/2.3L    Opt                     48                   600         29       2004      L5/2.5L    Early                                       48                     600         29
1992-90   L4/2.3L    Std Battery             47                   460         28       2004      L5/2.5L    Late                                        91 50                  590
1990      L4/2.3L                            47                   520         28       2004      L5/2.5L    Late, w/Premium Stereo                      94R 50                 700         30
1990      L4/2.3L    Opt                     48                   500         29       Volvo S60
1990      L4/2.3L    Opt                     48                   600         29
                                                                                       2016      L4/2.0L    Turbo, E FWD                                48 33                  760
Volvo 760                                                                              2016      L4/2.0L    Start/Stop or Inscription                   94R 33, 50             800
1990      L4/2.3L                            47                   450         28       2016      L5/2.5L    w/o Premium Stereo                          48 50                  600         29
1990      L4/2.3L                            47                   520         28       2016      L5/2.5L                                                48 33                 70 Ah
1990      L4/2.3L    Opt                     48                   600         29       2016      L5/2.5L    Optional, w/Premium Stereo                  48 33, 50              760
1990      V6/2.8L                            47                   450         28       2016      L5/2.5L    w/Premium Stereo                            92 50                  700
1990      V6/2.8L                            47                   520         28       2016      L5/2.5L    Inscription                                 94R 33, 50             800
1990      V6/2.8L    Opt                     48                   600         29       2016      L6/3.0L    w/o Premium Stereo                          48 50                  600         29
Volvo 780                                                                              2016      L6/3.0L    Polestar                                    48 33, 50              760
1991      L4/2.3L    Coupe                   47                   440         28       2016      L6/3.0L    w/Premium Stereo                            92 50                  700
1991      L4/2.3L                            47                   520         28       2015      L4/2.0L    Start/Stop, Opt                             48 33, 50              760
1991      L4/2.3L    Opt                     48                   600         29       2015      L4/2.0L    Turbo, E FWD, HD                            94R 33, 50             800
1990      L4/2.3L                            47                   520         28       2015      L5/2.5L    w/o Premium Stereo                          48 50                  600         29
1990      L4/2.3L                            48                   500         29       2015      L5/2.5L    Optional, w/Premium Stereo                  48 33, 50              760
1990      L4/2.3L    Opt                     48                   600         29       2015      L5/2.5L    w/Premium Stereo                            92 50                  700
1990      V6/2.8L                            47                   520         28       2015      L6/3.0L    w/o Premium Stereo                          48 50                  600         29
1990      V6/2.8L                            48                   500         29       2015      L6/3.0L    Optional, w/Premium Stereo                  48 33, 50              760
1990      V6/2.8L    Opt                     48                   600         29       2015      L6/3.0L    w/Premium Stereo                            92 50                  700
Volvo 850                                                                              2014-12   L5/2.5L    w/Premium Stereo                            92 50                  700
1997-94 L5/2.3L      Std Battery             47                   520         28       2014-12   L5/2.5L    Premium Audio, RTI, RSE Opt 1               92 47, 50             80 Ah
1997-93 L5/2.4L                              47                   520         28       2014-11   L6/3.0L    w/Premium Stereo                            92 50                  700
                                                                                       2014-11   L6/3.0L    Premium Audio, RTI, RSE Opt 1               92 47, 50             80 Ah
Volvo 940                                                                              2014      L5/2.5L    w/o Premium Stereo                          48 50                  600         29
1995-91 L4/2.3L      Std Battery             47                   520         28       2014      L6/3.0L    w/o Premium Stereo                          48 50                  600         29
1992-91 L4/2.3L      Opt                     48                   600         29       2013-12   L5/2.5L                                                48 50                  600         29
Volvo 960                                                                              2013-11   L6/3.0L                                                48 50                  600         29
1997-92 L6/2.9L                              48                   600         29       2009-03   L5/2.5L    Std Battery                                 48 50                  600         29
Volvo C30                                                                              2009-03   L5/2.5L    Opt                                         49 50                  800         33
2013-10   L5/2.5L    Opt                     94R 50               700         30       2009-03   L5/2.5L    Premium Audio, RTI, RSE Opt 1               92 47, 50             80 Ah
2013-07   L5/2.5L    Std Battery             91 50                590                  2009-01   L5/2.4L    Std Battery                                 48 50                  600         29
2013-07   L5/2.5L    Opt                     94R                 80 Ah        30       2009-01   L5/2.4L    Opt                                         49 50                  800         33
2010      L5/2.4L                            91 50                590                  2009-01   L5/2.4L    Premium Audio, RTI, RSE Opt 1               92 47, 50             80 Ah
2010      L5/2.4L    Opt                     94R 50               700         30       2004-01   L5/2.3L    Std Battery                                 48 50                  600         29
2009-08   L5/2.5L    Opt                     94R 50               700         30       2004-01   L5/2.3L    Opt                                         49 50                  800         33
2009      L5/2.4L                            91 50                590                  Volvo S60 Cross Country
2009      L5/2.4L    Opt                     94R 50               700         30       2017      L4/2.0L    w/o Premium Stereo                          48 50                  600         29
2008-07   L5/2.4L                            91 50                590                  2017      L4/2.0L    Optional, w/Premium Stereo                  48 33, 50              760
2008-07   L5/2.4L    Opt                     94R 50               700         30       2017      L4/2.0L    w/Premium Stereo                            92 50                  700
2007      L5/2.5L    Opt                     94R 50               700         30       2017      L4/2.0L    Inscription                                 94R 33, 50             800
Volvo C70                                                                              2016      L5/2.5L    w/o Premium Stereo                          48 50                  600         29
2013-10   L5/2.5L    Opt                     94R 50               700         30       2016      L5/2.5L                                                48 33, 50              760
2013-06   L5/2.5L    Std Battery             91                   590                  2016      L5/2.5L    w/Premium Stereo                            92 50                  700
2013-06   L5/2.5L    Opt                     94R                 80 Ah        30       2016      L5/2.5L    Inscription                                 94R 33, 50             800
2009-06   L5/2.5L    Opt                     94R 50               700         30       Volvo S70
2004-01   L5/2.3L                            48                   600         29       2000-98   L5/2.3L    Std Battery                                 47                     520         28
2004-01   L5/2.4L                            48                   600         29       2000-98   L5/2.3L    Opt                                         48                     600         29
2000-98   L5/2.3L                            47                   520         28       2000-98   L5/2.4L    Std Battery                                 47                     520         28
2000-98   L5/2.4L                            47                   520         28       2000-98   L5/2.4L    Opt                                         48                     600         29
Volvo S40                                                                              Volvo S80
2011-06   L5/2.5L                            91 50                520                  2016-15   L4/2.0L    Start/Stop                                  94R 33, 50              800
2011-05   L5/2.5L    HD, Late 2004 on        94R                  700         30       2016      L4/2.0L                                                48 33, 50               760
2011      L5/2.5L    w/o Premium Stereo      91 50                590                  2015      L4/2.0L    w/o Premium Stereo                          48 50                   600        29
2010-06   L5/2.4L                            91 50                520                  2015      L4/2.0L    Start/Stop, Opt                             48 33, 50               760
2010-05   L5/2.4L    HD, Late 2004 on        94R                  700         30       2015      L4/2.0L    w/Premium Stereo                            92 50                   700
2010      L5/2.4L                            91 50                590                  2015      L6/3.0L    w/o Premium Stereo                          48 50                   600        29
                                                                                                                                      See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                                87
                                                                                      Original                                                                                    Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                     Options      BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                             (notes)                    Code
                                                                                     CCA/Rating                                                                                  CCA/Rating
    Volvo S80 (continued)                                                                                   Volvo V70 (continued)
    2015         L6/3.0L       Optional, w/Premium Stereo         48 33, 50            760                  2004-01 L5/2.3L      Opt 1                        48 50                600         29
    2015         L6/3.0L       w/Premium Stereo                   92 50                700                  2000-98 L5/2.3L      Opt                          48 50                600         29
    2014-10      L6/3.0L       w/Premium Stereo                   92 50                700                  Volvo V90
    2014-10      L6/3.2L       w/Premium Stereo                   92 50                700                  1998-97 L6/2.9L                                   48 50                600         29
    2014-08      L6/3.0L       Premium Audio, RTI, RSE Opt 1      92 47, 50           80 Ah
    2014-07      L6/3.2L       Premium Audio, RTI, RSE Opt 1      92 47, 50           80 Ah
                                                                                                            Volvo XC60
    2014         L6/3.0L       w/o Premium Stereo                 48 50                600         29       2016-15   L4/2.0L    Start/Stop, Opt              48 33, 50            760
    2014         L6/3.2L       w/o Premium Stereo                 48 50                600         29       2016-15   L5/2.5L    Optional, w/Premium Stereo   48 33, 50            760
    2013-08      L6/3.0L                                          48 50                600         29       2016-15   L6/3.0L    Optional, w/Premium Stereo   48 33, 50            760
    2013-07      L6/3.2L                                          48 50                600         29       2016      L4/2.0L                                 48 33               70 Ah
    2010-07      V8/4.4L                                          48 50                600         29       2016      L4/2.0L    E FWD                        94R 33, 50          80 Ah
    2010-07      V8/4.4L       Premium Audio, RTI, RSE Opt 1      92 47, 50           80 Ah                 2016      L4/2.0L    Start/Stop                   94R 33, 50           800
    2010-07      V8/4.4L       Premium Audio, RTI, RSE Opt 2      93 50                800                  2016      L5/2.5L    w/o Premium Stereo           48 50                600         29
    2010         V8/4.4L       w/Premium Stereo                   92 50                700                  2016      L5/2.5L    Opt                          48 33, 50           70 Ah
    2009-08      L6/3.0L       w/Premium Stereo                   92 50                700                  2016      L5/2.5L                                 92                   700
    2009-08      L6/3.2L       w/Premium Stereo                   92 50                700                  2016      L6/3.0L    w/o Premium Stereo           48 50                600         29
    2009-08      V8/4.4L       Opt                                92 50                700                  2016      L6/3.0L    Opt                          48 33, 50           70 Ah
    2007         L6/3.2L       w/Premium Stereo                   92 50                700                  2016      L6/3.0L                                 92                   700
    2007         V8/4.4L       Opt                                92 50                700                  2015      L4/2.0L                                 94R 33, 50           800
    2006-04      L5/2.5L                                          48 50                600         29       2015      L5/2.5L    w/o Premium Stereo           48 50                600         29
    2006-04      L5/2.5L        HD/Electronic Upgrade             49 50                800         33       2015      L5/2.5L    w/Premium Stereo             92 50                700
    2005-99      L6/2.9L                                          48 50                600         29       2015      L6/3.0L    w/o Premium Stereo           48 50                600         29
    2005-99      L6/2.9L        HD/Electronic Upgrade             49 50                800         33       2015      L6/3.0L    w/Premium Stereo             92 50                700
    2001-99      L6/2.8L                                          48 50                600         29       2015      L6/3.2L    w/o Premium Stereo           48 50                600         29
    2001-99      L6/2.8L        HD/Electronic Upgrade             49 50                800         33       2015      L6/3.2L    Optional, w/Premium Stereo   48 33, 50            760
    Volvo S90                                                                                               2015      L6/3.2L    w/Premium Stereo             92 50                700
                                                                                                            2014-10   L6/3.0L    w/o Premium Stereo           48 50                600         29
    2017    L4/2.0L             Opt                               49 33, 50            850
                                                                                                            2014-10   L6/3.0L    w/Premium Stereo             92 50                700
    2017    L4/2.0L                                               94R 33, 50           800
                                                                                                            2014-10   L6/3.0L    Opt                          92 47               80 Ah
    1998-97 L6/2.9L                                               48 50                600         29
                                                                                                            2014-10   L6/3.2L    w/o Premium Stereo           48 50                600         29
    Volvo V40                                                                                               2014-10   L6/3.2L    w/Premium Stereo             92 50                700
                                                                       50
    2004-00 L4/1.9L                                               48                   600         29       2014-10   L6/3.2L    Opt                          92 47               80 Ah
    Volvo V50                                                                                               2013-10   L6/3.0L    Std Battery                  48                  70 Ah        29
    2011-05      L5/2.5L                                          91                   590                  2013-10   L6/3.2L                                 48                  70 Ah        29
    2011-05      L5/2.5L        Opt                               94R                  700         30       Volvo XC70
    2010-05      L5/2.4L                                          91                   590                  2016      L4/2.0L    E-FWD Pkg, Keyless locking   48 33, 50           70 Ah
    2010-05      L5/2.4L        Opt                               94R                  700         30       2016      L4/2.0L    Start/Stop, Opt              48 33, 50            760
    Volvo V60                                                                                               2016      L4/2.0L                                 94R 33              80 Ah
    2016         L4/2.0L                                          48 33, 50            760                  2016      L4/2.0L    Start/Stop                   94R 33, 50           800
    2016         L4/2.0L        Start/Stop or Inscription         94R 33, 50           800                  2016      L5/2.5L    w/o Premium Stereo           48 50                600         29
    2016         L6/3.0L        w/o Premium Stereo                48 50                600         29       2016      L5/2.5L    AWD                          48 33, 50           70 Ah
    2016         L6/3.0L        Polestar                          48 33, 50            760                  2016      L5/2.5L    Optional, w/Premium Stereo   48 33, 50            760
    2016         L6/3.0L        w/Premium Stereo                  92                   700                  2016      L5/2.5L    w/Premium Stereo             92 50                700
    2015         L4/2.0L        Start/Stop, Opt                   48 33, 50            760                  2016      L5/2.5L                                 94R 33              80 Ah
    2015         L4/2.0L                                          94R 33, 50           800                  2015      L4/2.0L    Start/Stop, Opt              48 33, 50            760
    2015         L5/2.5L        w/o Premium Stereo                48 50                600         29       2015      L4/2.0L                                 94R 33, 50           800
    2015         L5/2.5L        Optional, w/Premium Stereo        48 33, 50            760                  2015      L6/3.0L    w/o Premium Stereo           48 50                600         29
    2015         L5/2.5L        w/Premium Stereo                  92 50                700                  2015      L6/3.0L    Optional, w/Premium Stereo   48 33, 50            760
    2015         L6/3.0L        w/o Premium Stereo                48 50                600         29       2015      L6/3.0L    w/Premium Stereo             92 50                700
    2015         L6/3.0L        Optional, w/Premium Stereo        48 33, 50            760                  2015      L6/3.2L    w/o Premium Stereo           48 50                600         29
    2015         L6/3.0L        w/Premium Stereo                  92 50                700                  2015      L6/3.2L    Optional, w/Premium Stereo   48 33, 50            760
    Volvo V60 Cross Country                                                                                 2015      L6/3.2L    w/Premium Stereo             92 50                700
    2016         L5/2.5L        w/o Premium Stereo                48 50                600         29       2014-09   L6/3.0L    SI6                          48                   590         29
    2016         L5/2.5L        Optional, w/Premium Stereo        48 33                760                  2014-09   L6/3.0L    w/o Premium Stereo           48 50                600         29
    2016         L5/2.5L        w/Premium Stereo                  92 50                700                  2014-09   L6/3.0L    w/Premium Stereo             92 50                700
    2016         L5/2.5L        E FWD                             94R 33              80 Ah                 2014-09   L6/3.0L    SI6, Prem Audio, RTI, RSE    92 47               80 Ah
    2016         L5/2.5L        Inscription                       94R 33, 50           800                  2014-08   L6/3.2L    SI6                          48                   590         29
    2015         L5/2.5L        w/o Premium Stereo                48 50                600         29       2014-08   L6/3.2L    w/o Premium Stereo           48 50                600         29
    2015         L5/2.5L        Optional, w/Premium Stereo        48 33, 50            760                  2014-08   L6/3.2L    w/Premium Stereo             92 50                700
    2015         L5/2.5L        w/Premium Stereo                  92 50                700                  2014-08   L6/3.2L    SI6, Prem Audio, RTI, RSE    92 47               80 Ah
    Volvo V70                                                                                               2007-03   L5/2.5L    Ex Premium Audio, RTI, RSE   47 50                520         28
    2010-08      L6/3.2L       Ex Premium Audio, RTI, RSE         48 50                600         29       2007-03   L5/2.5L    RTI, RSE, Opt 1              48 50                600         29
    2010-08      L6/3.2L       w/Premium Stereo                   92 50                700                  2007-03   L5/2.5L    Opt                          49 50                800         33
    2010-08      L6/3.2L       Premium Audio, RTI, RSE            92 47, 50           80 Ah                 Volvo XC90
    2007-98      L5/2.4L                                          47                   520         28       2016      L4/2.0L    Early                        49 33, 50            850
    2007-98      L5/2.4L        Opt 1                             48 50                600         29       2016      L4/2.0L    Early                        49 33, 50           95 Ah
    2007-03      L5/2.5L                                          47                   520         28       2016      L4/2.0L    Late                         94R 33, 50          80 Ah
    2007-03      L5/2.5L        Opt 1                             48 50                600         29       2016      L4/2.0L    Late                         94R 33, 50           800
    2007-03      L5/2.5L        HD, Electronic Upgrade            49 50                800         33       2014-07   L6/3.2L    Std Battery                  48 50                600         29
    2007-02      L5/2.4L        HD, Electronic Upgrade            49 50                800         33       2014-07   L6/3.2L    Opt                          49 50                760         33
    2004-98      L5/2.3L                                          47                   520         28       2011-05   V8/4.4L    Std Battery                  48 50                600         29
    2004-02      L5/2.3L        HD, Electronic Upgrade            49 50                800         33       2011-05   V8/4.4L    Opt                          49 50                760         33
    See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                     Costco_001544
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88                                                                                                     Automotive/Light Truck
                                                                      Original                                                                              Original
  Year        Engine                 Options        BCI Group Size   Equipment    Fitment     Year      Engine                Options     BCI Group Size   Equipment    Fitment
                                                        (notes)                    Code                                                       (notes)                    Code
                                                                     CCA/Rating                                                                            CCA/Rating
Volvo XC90 (continued)                                                                      Workhorse (continued)
2006-03    L5/2.5L     Std Battery                48 50                600         29       2003-02   V8/5.7L    FasTrack FT1802        78                   690          7
2006-03    L5/2.5L     Opt                        49 50                760         33       2003-02   V8/6.5L    FasTrack FT1802        78 2                 600          7
2005-03    L6/2.9L     Std Battery                48 50                600         29       2002-00   V8/5.7L    FasTrack FT1460        78                   690          7
2005-03    L6/2.9L     Opt                        49 50                760         33       2001-00   V8/5.7L    FasTrack FT1260        78                   690          7
Workhorse                                                                                   2001-00   V8/5.7L    FasTrack FT1600        78                   690          7
2005-04    L4/3.9L     FasTrack FT1261            78                   690          7       2001-00   V8/5.7L    FasTrack FT1800        78                   690          7
2005-04    L4/3.9L     FasTrack FT1461            78                   690          7       Yugo Cabrio
2005-04    L4/3.9L     FasTrack FT1601            78                   690          7       1992    L4/1.3L                             26 45                370
2005-04    V8/4.8L     FasTrack FT1061            78                   690          7       1991-90 L4/1.3L                             N/A                  370          8
2005-04    V8/4.8L     FasTrack FT1461            78                   690          7       Yugo GV
2005-04    V8/4.8L     FasTrack FT1601            78                   690          7       1992      L4/1.3L                           26 45                370
2005-04    V8/6.0L     FasTrack FT1461            78                   690          7       1991      L4/1.3L                           26                   370
2005-04    V8/6.0L     FasTrack FT1801            78                   690          7       1989-87   L4/1.1L                           26                   370
2005-02    V8/5.7L     FasTrack FT1261            78                   690          7       1986      L4/1.1L                           26 45                370
2005-02    V8/5.7L     FasTrack FT1461            78                   690          7
                                                                                            Yugo GVL
2005-02    V8/5.7L     FasTrack FT1601            78                   690          7
                                                                                            1989-88 L4/1.1L                             26                   370
2005-02    V8/6.5L     FasTrack FT1801            78 2                 600          7
2005-00    V8/5.7L     P30                        78                   690          7       Yugo GVS
2005       V8/4.8L     FasTrack FT1261            78                   690          7       1988      L4/1.1L                           26                   370
2004-02    V8/5.7L     FasTrack FT1061            78                   690          7       Yugo GVX
2004-02    V8/5.7L     FasTrack FT1801            78                   690          7       1988-87 L4/1.3L                             26                   370
2003-02    V6/4.3L     FasTrack FT931             78                   690          7




Footnotes
2.       Two batteries may be required.
3.       Three batteries may be required.
5.       Best-ﬁt estimate
6.       Check for height (hood clearance), tray room and holddown ﬁt. Check clearance before connecting cables.
7.       Check polarity and cable length before connecting cables.
9.       Manufacturer’s recommended replacement battery shown. May vary from OE battery.
11.      OE battery has ﬂush vents.
16.      Requires individual vent caps for proper hood clearance. Do not ﬁt batteries with pod-type vent caps.
18.      I-drive vehicles require system reset after battery installation. See BMW authorized repair for service.
23.      Special 12V: 10" x 6 1⁄16" x 8 3⁄8". Check polarity before installing.
30.      Special 12V: 9" x 7 1⁄4" x 7 1⁄2"
31.      Special deep-cycle battery
33.      Valve-regulated AGM battery
34.      Vibration-resistant battery
35.      Without handle bracket
40.      Battery in “active cooling box” with air snorkel to outside of engine compartment.
43.      OE battery has nonstandard terminal location. May require cable modiﬁcations.
45.      Non-BCI group size
47.      The recommended battery for this vehicle is based on Ah and not CCA.
50.      Battery is vented outside of vehicle.
52.      Use with Land Rover adapter AMR3679S, clamp AMR3679, J bolts AMR3681.
54.      CCA is an EN (European Norm) rating
55.      Vehicle computer system must be reset. Contact your service specialist.
56.      Various group size batteries used in production.
57.      Models (2008 and 2009) with “MyGig” REN or REZ radios require the feed fuse for the radio to be removed before disconnecting battery.
         See Chrysler 08-003-09 Service procedure.
58.      PR codes are located on a tag near the spare tire or in the warranty booklet.
59.      Enhanced Flooded Battery (EFB)
60.      Lithium-ion battery only
61.      With sensor

                                                                                                                                                                                  Costco_001545
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    Costco Limited Battery Warranty
    Automotive batteries are backed by an
    exclusive warranty. The warranty is posted
    at the battery rack display. You may also
    visit the tire sales desk for details.




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                                       BATTERY FITMENT GUIDE 2018
                                       NORTH




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    BATTERY FITMENT GUIDE 2018




                                                                               Costco_001549
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How to Use This Fitment Guide

Choosing Your Battery Is as Easy as                                      1 • 2 • 3
1   Identify the make, model and year of your vehicle
    (example: 2013 Ford F-150 Pickup)


2   Find your vehicle in the application guide
                                                              Example
                                                                                            Original
           Year          Engine                     Options               BCI Group Size   Equipment    Fitment
                                                                              (notes)                    Code
                                                                                           CCA/Rating
         Ford F-150
         2015        V6/2.7L       Ex King Ranch, Lariat, Platinum      48 33                 760
         2015        V6/2.7L       King Ranch, Lariat, Platinum         94R 33                800
         2015        V6/3.5L       Ex King Ranch, Lariat, Platinum      48                    610          29
         2015        V6/3.5L       King Ranch, Lariat, Platinum         94R                   730          30
         2015        V8/5.0L       Ex King Ranch, Lariat, Platinum      48                    610          29
         2015        V8/5.0L       King Ranch, Lariat, Platinum         94R                   730          30
         2014-11     V6/3.5L                                            65                    750           1
         2014-11     V6/3.7L                                            65                    750           1
         2014-11     V8/5.0L                                            65                    750           1
         2014-10     V8/6.2L                                            65                    750           1
         2010-97     V8/4.6L                                            59                    540          34
         2010-97     V8/5.4L                                            59                    540          34
         2010-08     V8/4.6L       Opt                                  65                    650           1
         2010-08     V8/5.4L       Opt                                  65                    650           1
         2008-05     V6/4.2L                                            59                    540          34

3   Use the fitment code specified in the application guide to find your
    battery on the rack. The fitment code is located in the following places:
                  Front label—right side                                                   Sign on shelf


                              AUTOMOTIVE
                                           1
                                     FITMENT CODE




                                     Group Size   65
                                     Item #   852186
                                     CCA         850

                                   36-MONTH
                                   Free Replacement



 For a complete list of applications, including vintage, visit Costco.com. Click on Shop All
 Departments / Tires & Auto / Interstate Batteries to find a battery for your car or truck.

                                                                                                                  Costco_001550
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    Table of Contents                                                                                           1

                    How to Use This Fitment Guide                            Inside Front Cover
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                    BCI Assembly Figures                                                               4
                    Group Size Dimensions                                                              5

                    Special Installation Instructions – Imports                                        6

                    Abbreviations                                                                      7
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                    Footnotes                                                                     88
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                    The replacement battery information in this catalog has been obtained
                    from Battery Council International (“BCI”), original equipment (“OE”)
                    manufacturers and other industry sources. Users are cautioned that the
                    information in this catalog was the most current information provided at
                    the time of publication. However, the information is subject to change upon
                    notice from OE manufacturers or field experience. Therefore, users should
                    use the most current edition of the Battery Replacement Data Book.

                    While Interstate Batteries and BCI have made every effort to accurately
                    catalog the replacement battery information in this catalog, they disclaim
                    any liability, expressed or implied, for the accuracy of this information or for
                    damages as a consequence of using or misusing this information. Since
                    some OE manufacturers do not provide complete replacement battery data,
                    an estimate for replacement battery size is given for end user guidance.
                    For specific replacement battery size information, see the OE manufacturer.




                                                                                                           Costco_001551
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2                                                                             Battery Basics

How a Battery Works                                   2. POWER What are the Cold Cranking Amp
A battery stores energy in chemical form that         requirements of your vehicle? The power a
can be released on demand as electricity. This        battery can deliver decreases as the temperature
electrical power is used by the car’s ignition        gets colder. Batteries are rated at both 32° F
system for cranking the engine. The car’s battery     (Cranking Amps/CA) and 0° F (Cold Cranking
also may power the lights and other accessories.      Amps/CCA). Using either rating for comparison,
Should the alternator or fan belt fail, the battery   the higher the number, the greater the starting
might also need to power the vehicle’s entire         power of the battery.
electrical system for a short period of time.
                                                      3. WARRANTY Automotive batteries are backed
Three Things to Consider                              by an exclusive warranty. The warranty is posted
When Buying a Battery                                 at the battery rack display. You may also visit the
1. SIZE What are the dimensions of your               Tire Sales Desk for details.
original equipment battery? The Battery Council
International (BCI) uses a two-digit number to
identify the height, length and width shape
of original equipment sizes.


                    As the temperature drops, more cranking power is required to start
                       a vehicle’s engine, but a battery’s available power decreases.



                                                                              AS THE
                                                                          TEMPERATURE
                                                                           DECREASES,
                                                                           THE ENGINE
                                                                            DEMANDS
                                                                              MORE
                                                                            CRANKING
                                                                             POWER.




                                                                                                            Costco_001552
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    Battery Specifications                                                                                                                                         3

                                                         Cold                                                         Overall Dimensions* (inches)
         BCI           Fitment          Item                            Cranking        Reserve
                                                       Cranking                                    Amp Hours                                              Footnotes
      Group Size        Code           Number                            Amps           Capacity               Length            Width          Height
                                                        Amps
                                                                              Interstate Automotive
          65               1           852186             850               1000          150                    12               7 1⁄2          7 1⁄2
          35               3           852169             550               715           100                     9               6 7⁄8          8 3⁄4
          75               5           852191             550               690            80                     9               7 1⁄4          7 5⁄8
          25               6           852231             550               690           100                     9               6 7⁄8          8 3⁄4
          78               7           879463             800               1000          110                   10 1⁄4            7 1⁄4          7 3⁄8
          58               8           852203             550               690            80                    9 1⁄2            7 1⁄4          6 7⁄8
          34               9           852173             700               875           120                   10 1⁄4            6 7⁄8          7 3⁄4
         51R              11            852210            500                625           85                    9 3⁄8            5 1⁄8          8 7⁄8
         36R              18           852185             650                815          130                   10 3⁄8            7 1⁄4          8 7⁄8
         40R              19           852174             590                740          105                  10 15⁄16           6 7⁄8          6 7⁄8
          51              20           852180             500               625            85                    9 3⁄8            5 1⁄8          8 7⁄8
          24              22           852163             700               875           130                    11               6 7⁄8          8 3⁄4
         24F              23           852154             700                875          130                    11               6 7⁄8          8 3⁄4
        124R              27           852235             700                875          120                   10 3⁄8             7             8 5⁄8
       H5 (47)            28           852243                                                         60 Ah     9 9⁄16             15
                                                                                                                                 6 ⁄16           7 1⁄2
       H6 (48)            29           8852242            730                910          115                    11               6 7⁄8          7 1⁄2
       H7 (94R)           30           852241                                                         80 Ah     12 3⁄8            6 7⁄8          7 1⁄2
       H8 (49)            33           852240                                                         90 Ah    13 15⁄16           6 7⁄8          7 1⁄2
           86             31           852195             590                810          110                   9 1⁄16            6 7⁄8              8
                                                                                                                  1                15                15
          96R             32            852197            590                740           95                   9 ⁄2             6 ⁄16          6 ⁄16
           59             34           1131494            590                740          100                  10 1⁄16            7 5⁄8          7 3⁄4
           27             35           1130806            810               1000          140                  12 1⁄16           6 13⁄16         8 7⁄8
          27F             36           1131901            710                890          165                  12 1⁄16           6 13⁄16         8 7⁄8
        90 (T5)           37           1130685            600               750           100                   9 1⁄2             6 7⁄8          6 7⁄8
         26R              38           1131856            540                675           81                   8 3⁄16           6 13⁄16        7 13⁄16
         121R             39           1130744            600                750          100                   9 3⁄8             5 1⁄8          8 7⁄8
          100             40           1131795            800                965          110                  10 1⁄4             7 1⁄4          7 5⁄8
           79             41           1130566            840               1050          140                  12 1⁄16           7 1⁄16          7 3⁄8
                                                                            Interstate Batteries Marine
         24DC             13           850281             550                700          140                   11                6 7⁄8          9 1⁄2      C, D
         27DC             14           850982             600                750          160                  12 3⁄4             6 3⁄4          9 1⁄2      C, D
                                                                    Interstate Batteries Lawn & Garden
          U1              –            850283             230                300          30                    7 1⁄2            5 3⁄16          7 5⁄16
                                                     Interstate Batteries Golf Car (Reserve Capacity Min. @ 75A)
          GC2             –            850284                                             105                  10 5⁄16            7 1⁄8              11
          GC8             –            850984                                             110                  10 3⁄16            7 1⁄8              11
    FOOTNOTES: C = Combination Automotive & Stud Terminal, D = Deep Cycle
    *Dimensions may differ slightly from BCI dimensions.




                                                                                                                                                          Costco_001553
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4                                                                                                             BCI Assembly Figures

           Dimensions (inches)             Assembly
Group
                                             Figure    Voltage
 Size     Length Width Height               Number
             1          3          9
   21      8 ⁄8       6 ⁄4       8 ⁄16         10        12
  21R      8 1⁄8      6 3⁄4      8 9⁄16        11        12
   22F     9 3⁄8      6 7⁄8      8 3⁄16        11F       12
 22NF      9 3⁄8      5 1⁄2      8 13⁄16       11F       12
   24     11          6 7⁄8      8 3⁄4         10        12
   24F    10 15⁄16    6 7⁄8      8 11⁄16       11F       12
   25      9 11⁄16    6 7⁄8      8 13⁄16       10        12
   26      8 1⁄2      6 3⁄4      7 3⁄4         10        12
  26R      8 1⁄2      6 3⁄4      7 3⁄4         11        12
   27     12 3⁄4      6 5⁄8      8 13⁄16       10        12
   27F    12 3⁄4      6 5⁄8      8 13⁄16       11F       12
 29NF     13          5 1⁄2      8 15⁄16       11F       12
   34     10 15⁄16    6 7⁄8      7 13⁄16       10        12
   35      9 11⁄16    6 7⁄8      8 13⁄16       11        12
  36R     10 3⁄8      7 1⁄4      8 7⁄8         19        12
  40R     11 3⁄8      6 13⁄16    6 13⁄16       15        12
   41     12 1⁄4      6 7⁄8      6 7⁄8         15        12
   42      9 1⁄2      6 7⁄8      6 7⁄8         15        12
   45      9 3⁄8      5 1⁄2      8 13⁄16       10F       12
   46     10 15⁄16    6 13⁄16    8 11⁄16       10F       12
47 (H5)    9 1⁄16     6 15⁄16    7 1⁄2       24(A,F)     12
48 (H6)   11 3⁄8      6 7⁄8      7 1⁄2         24        12
49 (H8)   14 5⁄16     6 7⁄8      7 1⁄2         24        12
   50     13 1⁄4      5 9⁄16     8 13⁄16       10        12
   51      9 3⁄8      5 1⁄8      8 7⁄8         10        12
  51R      9 5⁄16     5          8 11⁄16       11        12
   56     10 11⁄16    6          8 5⁄16        19        12
   58     10          7 3⁄16     7             26        12
  58R     10          7 3⁄16     7             19        12
   59     10          7 7⁄16     7 5⁄8         21        12
   64     12 1⁄4      6 1⁄4      8 13⁄16       20        12
   65     12          7 7⁄16     7 5⁄8         21        12
   66     12 1⁄16     7 7⁄16     7 11⁄16       13        12
   70      8 11⁄16    6 3⁄4      7 7⁄16        17        12
   74     10 7⁄8      7 1⁄4      8 3⁄8         17        12
   75      9 11⁄16    7 1⁄4      7 1⁄4         17        12
   78     10 15⁄16    7 1⁄4      7 1⁄4         17        12
   79     12 1⁄16     7 1⁄16     7 3⁄8         35        12
   85      9 1⁄8      6 13⁄16    7 13⁄16       11        12
   86      9 1⁄16     6 7⁄8      8             10        12
   92     12 11⁄16    6 15⁄16    6 15⁄16       24        12
  94R     12 3⁄8      6 7⁄8      8             24        12
  95R     15 9⁄16     6 15⁄16    7 1⁄2         24        12
  96R      9 1⁄2      6 13⁄16    6 7⁄8         15        12
  100     10 1⁄4      7 1⁄16     7 3⁄8         35        12
  101     10 1⁄4      7 1⁄16     6 11⁄16       17        12
 121R      8 1⁄4      7          8 1⁄2         19        12
 124R     10 5⁄16     7          8 5⁄8         19        12
  30H     13 1⁄2      6 13⁄16    9 1⁄4         10        12
   31     13          6 13⁄16    9 3⁄8       18(A,T)     12
  31P     13          6 13⁄16    9 3⁄8       18(A,T)     12
  27M     12 7⁄8      6 3⁄4      9 1⁄8         NA        12
  24M     11 1⁄16     6 3⁄4      9 1⁄8         NA        12
 29HM     13          6 3⁄4     10             NA        12
   4D     20          8 3⁄16     9 9⁄16         8        12
   8D     20 3⁄8     10 1⁄8      9 13⁄16        8        12
   3EE    19 1⁄4      4 1⁄4      8 9⁄16         9        12
   3ET    19 1⁄4      4 1⁄4      9 9⁄16         9        12
  4DLT    20          8 3⁄16     7 15⁄16       NA        12
  16TF    16 9⁄16     7 1⁄8     11 1⁄8         10F       12
  17TF    17 1⁄16     6 15⁄16    7 15⁄16       11L       12
   U1      8 1⁄4      5 3⁄16     7 3⁄16       10(X)      12
  U1R      8 1⁄4      5 3⁄16     7 3⁄16       11(X)      12
 U1RT      8 1⁄4      5 3⁄16     7 3⁄16        11        12
34/78DT   11          7 1⁄4      8 1⁄8         NA        12
75/86DT    9 11⁄16    7 1⁄4      8 1⁄8         NA        12
    1      9 1⁄8      7 1⁄8      9 3⁄8          2         6
    2     10 3⁄8      7 1⁄8      9 3⁄8          2         6
    4     12 7⁄8      7          9 3⁄8          2         6
  3EH     19 1⁄4      4 1⁄4      9 9⁄16         5         6
 17HF      7 3⁄8      6 7⁄8      9             2B         6      Designs and designations supplied by Battery Council International and are provided for reference only.
  19L      8 1⁄2      7          7 1⁄2          2         6
                                                                 See specification chart for dimensional details.


                                                                                                                                                                           Costco_001554
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    Group Size Dimensions                                                                                                                           5



                                               BCI DESIGN                                                                        *DIN DESIGN




                                                    FORD                                                                         FORD/MAZDA




                                                                                       GENERAL MOTORS




    NOTE: Dimensions listed above are Battery Council International (BCI) dimensions. Battery dimensions are rounded to 1/10".
    *DIN = (Deutsches Institut für Normung) - Group sizes shown are BCI equivalent to DIN group sizes.


                                                                                                                                               Costco_001555
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6                       Special Installation Instructions – Imports

Toyota/Nissan’s Recommended Procedures              Mazda’s Recommended Procedures
for Bypassing Battery Sensors                       for Bypassing Battery Sensor
Certain Toyota models equipped with Toyota’s        An electrolyte level sensor was used on the
ESP System (Electrolyte Sensor Probe) and           1979-1981 Mazda 626 Coupe. This sensor is
1979/1980 Nissan 280ZXs equipped with their         not compatible with replacement batteries and
battery level sensor, are not compatible with       therefore, must be bypassed when replacing
replacement batteries. To compensate for this,      the original equipment battery.
both manufacturers have issued procedures for       Mazda provides the following procedures for
bypassing these systems.                            bypassing their sensor:
Below are the recommended Toyota and Nissan         1. Fix the sensor harness to nearby main harness.
procedures for bypassing these systems.
                                                    2. Remove the warning light bulb from the dash.
Toyota—Vehicles equipped with the ESP
System: The battery phase of the ESP System         OR
cannot be made to operate with replacement          Make a suitable harness arrangement to supply
batteries. Toyota suggests unplugging the           voltage from the ignition switch to the sensor
electrolyte sensor and hooking the wire to the      circuit so that the warning light does not come
blue wire of the windshield washer pump.            on. Note that the warning light only comes on
Nissan—Purchase Battery Sensor Substitute,          when the circuit is open. (See circuit diagram.)
part 99996-00202. To install this part, refer to    In other words, all that is necessary is to either
instructions included with part or to the figure    remove the warning light bulb or to hook the
shown below.                                        circuit up to 12 volts via the ignition switch.
When installing your new battery in a 1979
or 1980 280ZX, install the battery sensor
substitute illustrated below so that the computer
warning system can function properly.




                                                                                                         Costco_001556
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    Abbreviations                                                                                                                       7

    2V          2 Valve per Cylinder                EFB      Enhanced Flooded Battery           MY          Model Year
    4V          4 Valve per Cylinder                EFI      Electronic Fuel Injection          N/A         Not Available
    2WD         Two-Wheel Drive                     ELWB     Extra Long Wheel Base              No.         Number
    4WD         Four-Wheel Drive                    Eng      Engine                             OE          Original Equipment
    AC          Air Conditioning                    ETR      Electronic Tuning Radio            OHC         Overhead Cam
    AGM         Absorbed Glass-Mat                  Ex       Except                             OHV         Overhead Valve
    Ah          Amp Hour                            Fig      Figure                             Opt         Optional
    Alt         Alternate                           FI       Fuel Injection                     Pkg         Package
    AT          Automatic Transmission              Fla      Florida                            PPkg        Police Package
    Aux         Auxiliary                           FWD      Front-Wheel Drive                  PS          Power Steering
    AWD         All Wheel Drive                     GVW      Gross Vehicle Weight               PTO         Power Take-Off
    Bat         Battery                             HBL      Heated Back Light (Rear            RC          Reserve Capacity
                                                             Window Defroster)                  RRC         Repetitive Reserve Cycles
    BCI         Battery Council International
                                                    HA       High Altitude
    Calif       California                                                                      Rt          Right
                                                    HD       Heavy Duty
    CA          Cranking Amps                                                                   RWD         Rear-Wheel Drive
                                                    HO       High Output
    Can         Canada                                                                          S/C         Super Charged
                                                    HP       Horsepower
    Carb        Carburetor                                                                      SEO         Special Electrical Option
                                                             High Swirl Combustion (cham-
    CFI         Central Fuel Injection              HSC                                         SG          Sound Guard
                                                             ber)
    cc          Cubic Centimeter                    Htr      Heater                             SHO         Super High Output
    CCA         Cold Cranking Amps (0° F)           HWS      Heated Windshield                  SOHC        Single Overhead Cam
    CDI         Common Direct Injection             Hyb      Hybrid                             Std         Standard
    ci          Cubic inch                          Ign      Ignition                                       Super Ultra Low Emissions
                                                                                                SULEV
                                                                                                            Vehicle
    Comp        Compression                         IHC      International Harvester Co.
                                                                                                TBI         Throttle Body Injection
    Cont        Continental                         Incl     Including
                                                                                                TDI         Turbo Direct Injection
    Conv        Convertible                         Ind      Industrial
                                                                                                US          United States
                Continuously Variable               L        Liter
    CVT         Transmission                                                                    V           Venturi
                                                             In-Line 4, 5 or 6 Cylinder
    Cyl         Cylinder                            L4/L5/L6 Engine                             TTPkg       Trailer Towing Package
    DES         Direct Injection Start              Lft      Left                               Turbo       Turbo Charged
    DIN         Deutsche Institut für Normung       LPG      Liquified Petroleum Gas            w/          With
    DOHC        Dual Overhead Cam                   MFI      Multi-Port Fuel Injection          w/o         Without
    Dsl         Diesel                              Modif    Modified                           Wisc        Wisconsin
    DT          Dual Terminal                       MT       Manual Transmission

    Glossary

    CCA (Cold Cranking Amps)                                              Ah (Amp Hours)
    CCA = The number of amperes a battery at 0° F (-17.8° C)              A unit of measurement for a battery’s electrical storage
    can deliver for 30 seconds and maintain a voltage equal to or         capacity, obtained by multiplying the current in amperes
    higher than 1.2 volts per cell (7.2 volts for a 12-volt battery).     by the time in hours of discharge. Example: A battery
                                                                          delivers 5 amps x 20 Hours = 100 Ah.
    CA (Cranking Amps) or MCA (Marine Cranking Amps)
    CA or MCA is the discharge load in amperes which a new,               Cycle Life (SAE – J240B)
    fully charged battery at 32° F (0° C) can continuously deliver        At 105° F the battery is discharged at 25 amperes
    for 30 seconds and maintain a terminal voltage equal to or            for four minutes and then recharged for 10 minutes.
    higher than 1.2 volts per cell (7.2 volts for a 12-volt battery).     This cycle is continued until the battery fails to meet
                                                                          its specified CCA rating.
    RC (Reserve Capacity)
    A battery must provide emergency power for ignition, lights,          Vibration
    etc., in the event of failure in the vehicle’s battery recharging     The battery is mounted onto a shaker table and vibrated
    system. The RC rating is defined as the number of minutes             at 3.5 Gs until it is physically damaged, loses electrical
    a new fully charged battery at 80° F (26.7° C) can be                 capacity or leaks acid. The minimum vibration time for
    discharged at 25 amperes and maintain a terminal voltage              automotive batteries is four hours.
    equal to or higher than 1.75 volts per cell (10.5 volts for
    a 12-volt battery).


                                                                                                                                Costco_001557
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8                                                                   Safety Information




Do Not Inhale Sulfuric Acid Mist                      • Remove old battery. Note the position of
Danger of Exploding Batteries                           positive (+) terminal and negative (-) terminal.
                                                        Mark the cables for correct connection to
Batteries contain sulfuric acid and produce             new battery.
explosive mixtures of hydrogen and oxygen.
Because self-discharge action generates               • Clean terminals and cable connections with a
hydrogen gas even when the battery is not in            wire brush. Broken connections, frayed or cut
operation, make sure batteries are stored and           cables should be replaced.
worked on in a well-ventilated area. Always wear      • Install the new battery in the same position
safety glasses and a face shield when working           as the old one. Be sure to secure it with the
on or near batteries.                                   holddown assembly.
When working with batteries:                          • Make sure the terminals do not touch any
• Always wear proper eye, face and                      metal mounting, engine or body parts.
  hand protection.                                    • Connect cables tightly. Connect ground cable
• Keep all sparks, flames and cigarettes away           last to avoid sparks and explosion.
  from the battery.
                                                      Handling Battery Acid
• Do not attempt to open a flush-cover battery.
                                                      Battery acid, or electrolyte, is a solution of
• Never lean over battery while boosting,             sulfuric acid and water that can destroy
  testing or charging.                                clothing and burn the skin. Use extreme caution
• Cover vent caps with a damp cloth to                when handling electrolyte and keep an acid
  minimize gas seepage                                neutralizing solution—such as baking soda—
                                                      readily available. When handling batteries:
• Make sure work area is well ventilated.
                                                      • Always wear proper eye, face and hand protection.
• Do not remove or damage vent caps.
                                                      • If electrolyte is splashed into an eye,
• Do not breathe acid mist.
                                                        immediately force the eye open and flood it
                                                        with clean, cool water for at least 15 minutes.
Safe Battery Installation                               Get prompt medical attention.
To assure safe installation and proper operation,
                                                      • If electrolyte is taken internally, drink large
follow these installation procedures.
                                                        quantities of water or milk. Do not induce
• Always wear proper eye, face and hand protection.     vomiting. Call a physician immediately.
• Disconnect ground cable first. This is usually      • Neutralize any electrolyte that spills immediately
  the negative cable; however, older vehicles may       with a mixture of water and baking soda.
  have a positive ground.
                                                      • Mixing acid can be very dangerous. Do not
                                                        attempt without proper training.




                                                                                                             Costco_001558
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    Safety Information                                                                                    9

    Safe Charging                                          Safe Booster Cable Operation
    Before beginning the charging operation, read          When jump-starting, always wear proper eye
    and follow the instructions that come with the         protection and never lean over the battery.
    charger. Never attempt to charge a battery             Do not jump-start a damaged battery; inspect
    without first reviewing the instructions for the       both batteries before connecting booster cable.
    charger being used. In addition to the charger         Be sure vent caps are tight and level. Place a
    manufacturer’s instructions, these general             damp cloth over the vent caps of both batteries.
    precautions should be followed:                        Make certain that the vehicles and cable ends
    • Always charge batteries in a well-ventilated         are not touching and both ignition switches are
      area and wear proper eye protection.                 turned to the OFF position.
    • Turn the charger and timer OFF before                1. Connect positive (+) booster cable to
      connecting the leads to the battery to avoid            positive (+) terminal of discharged battery.
      dangerous sparks.                                    2. Connect other end of positive (+) cable to
    • To avoid an explosion, never try to charge a            positive (+) terminal of assisting battery.
      visibly damaged or frozen battery.                   3. Connect negative (-) cable to negative (-)
    • Connect the charger leads to the battery; red           terminal of assisting battery.
      positive (+) lead to the positive (+) terminal       4. Make final connection of negative (-) cable to
      and black negative (-) lead to the negative (-)         engine block of stalled vehicle, away from
      terminal. If the battery is still in the vehicle,       battery.
      connect the negative lead to the engine block        5. Start vehicle and remove cables in reverse
      to serve as a ground. (If the vehicle is positive       order of connections.
      grounded, connect the positive lead to the
      engine block.)
    • Make sure that the leads to the connections
      are tight.
    • Set the timer, turn the charger on and slowly
      increase the charging rate until the desired
      ampere value is reached.
    • If the battery becomes hot or if violent gassing
      or spewing of electrolyte occurs, reduce the
      charging rate or temporarily halt the charger.
    • Always turn the charger OFF before
      removing charger leads from the battery
      to avoid dangerous sparks.

                                          MAKE CERTAIN VEHICLES
                                             DO NOT TOUCH!




                                                                                                     Costco_001559
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    PROPOSITION 65
    WARNING
    • Battery posts, terminals and
      related accessories contain
      lead and lead compounds,
      chemicals known to the state
      of California to cause cancer
      and reproductive harm.
    • Batteries also contain other
      chemicals known to the state
      of California to cause cancer.
    • Wash hands after handling.

                                                                               Costco_001560
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                                                                                  Acura
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    Automotive/Light Truck                                                                                                                                                              11
                                                                                      Original                                                                                  Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                    Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                           (notes)                    Code
                                                                                     CCA/Rating                                                                                CCA/Rating
    Acura CL                                                                                                Acura TLX (continued)
    2003-01      V6/3.2L                                          24 11                550                  2017      V6/3.5L                               48                   620         29
    1999-98      L4/2.3L                                          24F 11               550                  2016      L4/2.4L                               35                   470
    1999-97      V6/3.0L                                          24 11                550                  2016      V6/3.5L                               48                   620         29
    1997         L4/2.2L                                          24F                  550         23       2015      V6/3.5L                               48                   620         29
    Acura CSX                                                                                               Acura TSX
    2011-08 L4/2.0L                                               51R                  410         11       2014-10 V6/3.5L                                 24F                  550         23
    2007    L4/2.0L                                               51R                  440         11       2014-04 L4/2.4L                                 51R                  430         11
    2006    L4/2.0L                                               51R                  500         11       Acura Vigor
    Acura EL                                                                                                1994-92 L5/2.5L                                 35                   435          3
    2005-01 L4/1.7L                                               51                   410         20       Acura ZDX
    2000-97 L4/1.6L                                               51R                  410         11       2013-10 V6/3.7L                                 24F                  550         23
    Acura ILX                                                                                               Alfa Romeo 164
    2017         L4/2.4L                                          51R                  410         11       1995-91 V6/3.0L                                 31A 50               685
    2016         L4/2.4L                                          51R                  410         11
    2015-13      L4/1.5L        Hybrid                            151R                 340
                                                                                                            Alfa Romeo 4C
    2015-13      L4/2.0L                                          51R                  410         11       2017-15 L4/1.7L                                 140R                 500
    2015-13      L4/2.4L                                          51R                  410         11       2015    L4/1.7L                                 N/A                  500
    Acura Integra                                                                                           Alfa Romeo 8C
    2001-94 L4/1.8L                                               51R                  410         11       2008      V8/4.7L                               24F                  580         23
    1993-92 L4/1.7L                                               25                   435         6        Alfa Romeo Spider
    1993-90 L4/1.8L                                               25                   435         6        1994-91 L4/2.0L      Factory Install            22F 7                300
    Acura Legend                                                                                            1994-90 L4/2.0L      Port of entry installed    34 7                 550         9
    1995-91 V6/3.2L                                               24                   585         22       1990    L4/2.0L      Factory Install            24F 7                500         23
    1990    V6/2.7L                                               24F                  585         23       AM General Humvee
    Acura MDX                                                                                               2001-94 V8/6.5L      Dsl                        78 2                 770          7
    2017         V6/3.5L                                          48                   620         29       1996-95 V8/5.7L                                 78 2                 770          7
    2017         V6/3.5L        Advance Package                   48 33                650                  1993-92 V8/6.2L      Dsl                        78 2                 770          7
    2016         V6/3.5L        FWD                               48                   620         29       American Motors Corp Gremlin, Hornet, Javelin
    2016         V6/3.5L        AWD                               48 33                650                  1978-77   L4/2.0L                               22F                  305         38
    2015-14      V6/3.5L                                          24F                  550         23       1978-77   L4/2.0L    Opt                        24                   410         22
    2013-07      V6/3.7L                                          24F                  630         23       1978-71   L6/4.2L                               22F                  305         38
    2006-01      V6/3.5L                                          24F                  550         23       1978-71   L6/4.2L    Opt                        24                   410         22
    Acura NSX                                                                                               1978-70   L6/3.8L                               22F                  305         38
    2017         V6/3.5L        Hybrid                            47 33                600                  1978-70   L6/3.8L    Opt                        24                   410         22
    2005-97      V6/3.2L        MT                                35                   435         3        1977-75   V8/5.0L    Opt                        24                   410         22
    2005-91      V6/3.0L        AT or HD                          24F                  585         23       1977-71   L6/4.2L                               22F                  305         38
    2005-91      V6/3.0L        MT                                35                   435         3        1977-71   L6/4.2L    Opt                        24                   410         22
    1999         V6/3.2L        AT                                24F                  585         23       1977-71   V8/5.0L                               22F                  305         38
                                                                                                            1977-70   L6/3.8L                               22F                  305         38
    Acura RDX                                                                                               1977-70   L6/3.8L    Opt                        24                   410         22
    2017         V6/3.5L                                          24F 11               630                  1976-72   V8/5.0L                               22F                  305         38
    2016         V6/3.5L                                          24F 11               730                  1976-72   V8/5.0L    Opt                        24                   410         22
    2015-13      V6/3.5L                                          24F                  550         23       1974-71   L6/4.2L                               22F 7                305         38
    2012-07      L4/2.3L                                          35                   440         3        1974-71   L6/4.2L    Opt                        24                   410         22
    Acura RL                                                                                                1974-71   V8/6.6L                               22F                  305         38
                                                                       11
    2012-09 V6/3.7L                                               24                   550                  1974-71   V8/6.6L    Opt                        24 7                 410         22
    2008-05 V6/3.5L                                               24 11                585                  1974-70   L6/3.8L                               22F 7                305         38
    2004-96 V6/3.5L                                               24                   550         22       1974-70   L6/3.8L    Opt                        24                   410         22
    Acura RLX                                                                                               1974-70   V8/5.0L                               22F 7                305         38
    2017    V6/3.5L                                               24F                  550         23       1974-70   V8/5.0L    Opt                        24 7                 410         22
    2016    V6/3.5L                                               24F                  550         23       1974-70   V8/5.9L                               22F                  305         38
    2015-14 V6/3.5L                                               24F                  550         23       1974-70   V8/5.9L    Opt                        24 7                 410         22
    Acura RSX                                                                                               1970-68   V8/6.4L                               22F                  305         38
                                                                                                            1970-68   V8/6.4L    Opt                        24 7                 410         22
    2006-02 L4/2.0L                                               51R                  400         11
                                                                                                            1970      L6/3.3L                               22F                  305         38
    Acura SLX                                                                                               1970      L6/3.3L                               22F 7                305         38
    1999-98      V6/3.5L        AT                                24                   585         22       1970      L6/3.3L    Opt                        24                   410         22
    1999-98      V6/3.5L        Opt                               27                   610         35       1969-68   V8/4.7L                               22F                  305         38
    1997         V6/3.2L                                          24                   585         22       1969-68   V8/4.7L    Opt                        24                   410         22
    1997         V6/3.2L        Opt                               27                   610         35       1969-68   V8/5.6L                               22F                  305         38
    1996         V6/3.2L        AT or HD                          27                   610         35       1969-68   V8/5.6L    Opt                        24 7                 410         22
    Acura TL                                                                                                Aston Martin
    2014-09      V6/3.7L                                          24F 11               550                  2017-15   V12/6.0L   Rapide                     49 50, 54            830
    2014-07      V6/3.5L                                          24F 11               550                  2017-15   V12/6.0L   V12 Vantage                49 50, 54            830
    2008-04      V6/3.2L                                          24F 11               550                  2017-15   V12/6.0L   Vanquish                   49 50, 54            830
    2003-99      V6/3.2L                                          24 11                550                  2017-15   V8/4.7L    V8 Vantage                 49 50, 54            830
    1998-96      V6/3.2L                                          25                   450          6       2016-15   V12/6.0L   DB9                        49 50, 54            830
    1998-95      L5/2.5L                                          35                   450          3       2014-11   V12/6.0L   Rapide                     49 50, 54            830
    Acura TLX                                                                                               2014-09   V8/4.7L    V8 Vantage                 49 50, 54            830
    2017-15 L4/2.4L                                               35                   440                  2014-05   V12/6.0L   DB9                        49 50, 54            830
    2017-15 V6/3.5L SH-AWD, Start/Stop                            48 33                650                  2014      V12/6.0L   Vanquish                   49 50, 54            830
    See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                   Costco_001561
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12                                                                                                                                            Automotive/Light Truck
                                                                                                             Original                                                                                                     Original
    Year          Engine                          Options                            BCI Group Size         Equipment    Fitment      Year     Engine                     Options                    BCI Group Size      Equipment    Fitment
                                                                                         (notes)                          Code                                                                           (notes)                       Code
                                                                                                            CCA/Rating                                                                                                   CCA/Rating
Aston Martin                    (continued)                                                                                        Audi A3, A3 quattro (continued)
2013-10      V12/6.0L        V12 Vantage                                        49 50, 54                     830                  2015      L4/2.0L    PR Code J0T                                N/A 45, 58                  680
2012-08      V12/6.0L        DBS                                                49 50, 54                     830                  2013-10   L4/2.0L    Dsl, PR Code J0N                           47 50, 54, 55, 56, 58       540
2012         V12/6.0L        Virage                                             49 50, 54                     830                  2013-10   L4/2.0L    Dsl, PR Code J1D                           48 50, 54, 55, 56, 58       600
2008-06      V8/4.3L         V8 Vantage                                         49 50, 54                     830                  2013-10   L4/2.0L    Dsl, PR Code J0L, J1D                      48 50, 54, 55, 56, 58       640
2006-01      V12/6.0L        Vanquish                                           49 50, 54                     830                  2013-10   L4/2.0L    Dsl, PR Code J2D                           48 33, 50, 54, 55, 56, 58 680
2004-00      V12/6.0L        DB7                                                48 50, 54                     780                  2013-09   L4/2.0L    PR J0L, J1D                                48 50, 54, 55, 56, 58       640
1998-97      L6/3.2L         DB7                                                48 50, 54                     780                  2013-09   L4/2.0L    PR Code J2D                                48 33, 50, 54, 55, 56, 58 680
Asüna                                                                                                                              2013-06   L4/2.0L    PR Code J0N                                47 50, 54, 55, 56, 58       540
1993         L4/1.6L         Sunrunner                                          26                            525                  2013-06   L4/2.0L    PR Code J1D                                48 50, 54, 55, 56, 58       600
1993         L4/1.8L         Sunfire                                            35                            350          3       2013-06   L4/2.0L    PR Code J0R                                94R 50, 54, 55, 56, 58 80 Ah        30
1992         L4/1.6L         Sunrunner                                          75                            550          5       2009-06   V6/3.2L    PR Code J0N                                47 50, 54, 55, 56, 58       540
Audi 100, 100 quattro                                                                                                              2009-06   V6/3.2L    PR Code J1D                                48 50, 54, 55, 56, 58       600
                                                                                                                                   2009-06   V6/3.2L    PR Code J0R                                94R 50, 54, 55, 56, 58 80 Ah        30
1994-92      V6/2.8L                                                            41 50                         575
                                                                                                                                   2009      V6/3.2L    AGM, PR Code J2D                           48 33, 50, 54, 55, 56, 58 68 Ah
1994-92      V6/2.8L         Opt                                                41 50                         650
                                                                                                                                   2009      V6/3.2L    PR Code J0R                                94R 50, 54, 55, 56, 58 640          30
1991-90      L5/2.3L                                                            41 50                         575
                                                                                                                                   2008-06   L4/2.0L    Opt                                        48 50, 54, 55, 56           640
1991-90      L5/2.3L         Opt                                                41 50                         650
                                                                                                                                   2008-06   L4/2.0L    AGM, PR Code J1N                           94R 33, 50, 54, 55, 56, 58 75 Ah
Audi 200, 200 quattro                                                                                                              2008-06   V6/3.2L                                               94R 50, 54, 55, 56          640     30
1991-90 L5/2.2L                                                                 41 50                         650                  2008-06   V6/3.2L    AGM, PR Code J1N                           94R 33, 50, 54, 55, 56, 58 75 Ah
Audi 80, 80 quattro                                                                                                                2008-06   V6/3.2L    Opt                                        94R 33, 50, 54, 55, 56 800
1992-91      L5/2.3L         Opt                                                41                            650                  Audi A4, A4 allroad, A4 quattro
1992-90      L5/2.3L                                                            41                            575                  2017-16   L4/2.0L    PR Code J0P                            33, 50, 54, 55, 56, 58
                                                                                                                                                                                                                           950
1990         L4/2.0L                                                            41                            575                  2017-16   L4/2.0L    PR Code J0L                            48 50, 54, 55, 56, 58       570    29
1990         L4/2.0L         Opt                                                41                            650                  2017-16   L4/2.0L    PR Code J2D                            48 33, 50, 54, 55, 56, 58 680
Audi 90, 90 quattro                                                                                                                2017-16   L4/2.0L    PR Code J1U                            49 50, 54, 55, 56, 58       760
1995-93 V6/2.8L                                                                 41                            650                  2017-16   L4/2.0L    PR Code J0B                            49 33, 50, 54, 55, 56, 58 850
1992-90 L5/2.3L                                                                 41                            650                  2017-16   L4/2.0L    PR Code J0R                            94R 50, 54, 55, 56, 58 640         30
Audi A3 Sportback e-tron                                                                                                           2017-16   L4/2.0L    PR Code J1N                            94R 33, 50, 54, 55, 56, 58 800
                                                                                                                                   2017-16   L4/2.0L    PR Code J0Z                            95R 50, 54, 55, 56, 58 850
2017         L4/1.4L         Hybrid, PR Code J1L                                47 50, 54, 55, 56, 58         540         28       2017-13   L4/2.0L    PR Code J0N or J1L                     47 50, 54, 55, 56, 58       540
2017         L4/1.4L         Hybrid, PR Code J1D                                48 50, 54, 55, 56, 58         640                  2017      L4/2.0L    PR Code J2D, 0K2                       48 33, 50, 54, 55, 56, 58 680
2017         L4/1.4L         Hybrid, PR Code J2D                                48 33, 50, 54, 55, 56, 58     680                  2016      L4/2.0L    PR Code J2D                            48 33, 50, 54, 55, 56, 58 680
2016         L4/1.4L         Hybrid, PR CODE J0N, J1L                           47 50, 54, 55, 56, 58         540         28       2016      L4/2.0L    PR Code J0B, B0A, B0L, B0M, B0N, 49 33, 50, 54, 55, 56, 58 850
2016         L4/1.4L         Hybrid                                             47 33, 50,                    N/A                                       B0R, B1C, B1D, B1Q, B1Z, B2E, B2H,
2016         L4/1.4L         Hybrid, PR Code J1D                                48 50, 54, 55, 56, 58         640                                       B3D, B3E, B4G, B4K
Audi A3, A3 quattro                                                                                                                2016      L4/2.0L    PR Code J0R                            94R 50, 54, 55, 56, 58 640         30
2017-16      L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2016      L4/2.0L    PR Code J0P                            95R 33, 50, 54, 55, 56, 58105 Ah
2017-15      L4/2.0L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2016      L4/2.0L    PR Code J0P                            95R 33, 50, 54, 55, 56, 58 950
2017         L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28       2015-13   L4/2.0L    PR Code J1L                            47 50, 54, 55, 56, 58       540    28
2016         L4/1.8L         PR Code J0N or J1L                                 47 50, 54, 55, 56, 58         540                  2015-13   L4/2.0L    PR Code J0L                            48 50, 54, 55, 56, 58       570    29
2016         L4/1.8L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2015-13   L4/2.0L    PR Code J2D                            48 33, 50, 54, 55, 56, 58 680
2016         L4/1.8L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015-13   L4/2.0L    PR Code J0B                            49 33, 50, 54, 55, 56, 58 850
2016         L4/1.8L         PR Code J1P                                        N/A                           360                  2015-13   L4/2.0L    PR Code J1N                            94R 33, 50, 54, 55, 56, 58 800
2016         L4/1.8L         PR Code J2S                                        N/A                           480                  2015-13   L4/2.0L    PR Code J0Z                            95R 50, 54, 55, 56, 58 850
2016         L4/1.8L         PR Code J0S                                        N/A 59                        540                  2015-13   L4/2.0L    PR Code J0P                            95R 33, 50, 54, 55, 56, 58 950
2016         L4/1.8L         PR Code J0T                                        N/A 59                        680                  2015-09   L4/2.0L    AGM, PR Code J0B                       49 33, 50, 54, 55, 56, 58 760
2016         L4/2.0L         Dsl, PR Code J0N, J1L                              47 50, 54, 55, 56, 58         540         28       2015-09   L4/2.0L    PR Code J0B                            49 33, 50, 54, 55, 56, 58 850
2016         L4/2.0L         PR Code J0N or J1L                                 47 50, 54, 55, 56, 58         540                  2015-09   L4/2.0L    AGM, PR Code J0P                       95R 33, 50, 54, 55, 56, 58105 Ah
2016         L4/2.0L         Dsl, PR Code J1D                                   48 50, 54, 55, 56, 58         640                  2015-09   L4/2.0L    Opt, PR Code J0Z                       95R 50, 54, 55, 56, 58 110 Ah
2016         L4/2.0L         Dsl, PR Code J2D                                   48 33, 50, 54, 55, 56, 58     680                  2015-09   L4/2.0L    PR Code J0Z                            95R 50, 54, 55, 56, 58 850
2016         L4/2.0L         Dsl, PR Code J1P                                   N/A                           360                  2015-09   L4/2.0L    PR Code J0P                            95R 33, 50, 54, 55, 56, 58 950
2016         L4/2.0L         PR Code J1P                                        N/A 45, 58                    360                  2015-08   L4/2.0L    PR Code J1U                            49 50, 54, 55, 58           760
2016         L4/2.0L         Dsl, PR Code J2S                                   N/A                           480                  2015-08   L4/2.0L    PR Code J0R                            94R 50, 54, 55, 58          640    30
2016         L4/2.0L         PR Code J2S                                        N/A 45, 58                    480                  2015      L4/2.0L    PR Code J1N                            94R 33, 50, 54, 55, 56, 58 800
2016         L4/2.0L         Dsl, PR Code J0S                                   N/A 59                        540                  2014-13   L4/2.0L    PR Code J1L                            47 50, 54, 55, 56, 58       540    28
2016         L4/2.0L         PR Code J0S                                        N/A 45, 58                    540                  2012-09   L4/2.0L    AGM, PR Code J1N                       94R 33, 50, 54, 55, 56, 58 75 Ah
2016         L4/2.0L         Dsl, PR Code J0T                                   N/A 59                        680                  2012-09   L4/2.0L    PR Code J1N                            94R 33, 50, 54, 55, 56, 58 800
2016         L4/2.0L         PR Code J0T                                        N/A 45, 58                    680                  2009-08   V6/3.2L    PR Code J1U                            49 50, 54, 55, 58           760
2015         L4/1.8L         PR Code J0N or J1L                                 47 50, 54, 55, 56, 58         540                  2009-06   V6/3.2L    PR Code J0R                            94R 50, 55, 58              640    30
2015         L4/1.8L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2009      V6/3.2L    AGM, PR Code J0B                       49 33, 50, 54, 55, 56, 58 760
2015         L4/1.8L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2009      V6/3.2L    PR Code J0B                            49 33, 50, 54, 55, 56, 58 850
2015         L4/2.0L         Dsl, PR Code J0N, J1L                              47 50, 54, 55, 56, 58         540         28       2009      V6/3.2L    PR Code J1N                            94R 33, 50, 54, 55, 56, 58 800
2015         L4/2.0L         PR Code J0N or J1L                                 47 50, 54, 55, 56, 58         540                  2009      V6/3.2L    PR Code J0Z                            95R 50, 54, 55, 56, 58 850
2015         L4/2.0L         Dsl, PR Code J1D                                   48 50, 54, 55, 56, 58         640                  2009      V6/3.2L    PR Code J0P                            95R 33, 50, 54, 55, 56, 58 950
2015         L4/2.0L         Dsl, PR Code J2D                                   48 33, 50, 54, 55, 56, 58     680                  2008-06   V6/3.2L    PR Code J0R                            94R 50, 55, 58              640    30
2015         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2008      V6/3.2L    PR Code J1U                            49 50, 54, 55, 58           760
2015         L4/2.0L         Dsl, PR Code J1P                                   N/A                           360                  2007-05   L4/2.0L    Opt                                    49 50, 54                   760    33
2015         L4/2.0L         PR Code J1P                                        N/A 45, 58                    360                  2007-05   L4/2.0L                                           94R 50                      640    30
2015         L4/2.0L         Dsl, PR Code J2S                                   N/A                           480                  2007-05   V6/3.2L    Opt                                    49 50, 54                   760    33
2015         L4/2.0L         PR Code J2S                                        N/A 45, 58                    480                  2007-05   V6/3.2L                                           94R 50                      640    30
2015         L4/2.0L         Dsl, PR Code J0S                                   N/A 59                        540                  2006-03   V6/3.0L    Opt                                    49 50, 54                   760    33
                                                                                                                                                                                                      50
2015         L4/2.0L         PR Code J0S                                        N/A 45, 58                    540                  2006-03   V6/3.0L                                           94R                         640    30
2015         L4/2.0L         Dsl, PR Code J0T                                   N/A 59                        680                  2006      L4/1.8L    Opt                                    49 50, 54, 55, 56, 58       760    33
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                                                           See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                                                                Costco_001562
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                                      929
    Automotive/Light Truck                                                                                                                                                                                         13
                                                                                        Original                                                                                                        Original
        Year         Engine                         Options         BCI Group Size     Equipment     Fitment     Year      Engine                   Options                         BCI Group Size     Equipment     Fitment
                                                                        (notes)                       Code                                                                              (notes)                       Code
                                                                                       CCA/Rating                                                                                                      CCA/Rating
    Audi A4, A4 allroad, A4 quattro (continued)                                                                Audi A6, A6 quattro
    2006         L4/1.8L                                          94R 50, 54, 55, 56, 58 640          30       2017      L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58      640       29
    2005-03      L4/1.8L                                          94R 50                  640         30       2017      L4/2.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2005-03      V6/3.0L        Opt                               49 50, 54               760         33       2017      L4/2.0L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    2005-03      V6/3.0L                                          94R 50                  640         30       2017      L4/2.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2005-02      L4/1.8L        Opt                               49 50, 54               760         33       2017      L4/2.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640           30
    2002-97      L4/1.8L                                          48 50                   640         29       2017      L4/2.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2002-97      L4/1.8L        Opt                               94R 50                  640         30       2017      L4/2.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2002-97      L4/1.8L        Opt                               94R 50, 54, 55, 56      720         30       2017      L4/2.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2002         L4/1.8L                                          49 50, 54               760         33       2017      V6/3.0L    PR Code J0L                                  48 50, 54, 55, 56, 58      640       29
    2002         L4/1.8L        Option 1                          49 50, 54, 55, 56       760         33       2017      V6/3.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2002         L4/1.8L        Option 2                          94R 50, 54, 55, 56      640         30       2017      V6/3.0L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    2002         V6/3.0L                                          48 50                   640         29       2017      V6/3.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2002         V6/3.0L        Option 1                          49 50, 54, 55, 56       760         33       2017      V6/3.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640           30
    2002         V6/3.0L        Option 2                          94R 50, 54, 55, 56      640         30       2017      V6/3.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2002         V6/3.0L        Opt                               94R 50, 54, 55, 56      720         30       2017      V6/3.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2001-96      V6/2.8L        Opt                               94R 50                  640         30       2017      V6/3.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2001-96      V6/2.8L        Opt                               94R 50, 54, 55, 56      720         30       2016      L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58      640       29
                                                                                                               2016      L4/2.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2001-00      V6/2.8L                                          48 50                   640         29
                                                                                                               2016      L4/2.0L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    1999-98      V6/2.8L        X                                 41                     64 Ah
                                                                                                               2016      L4/2.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    1999-96      V6/2.8L        Opt                               48 50                   640         29
                                                                                                               2016      L4/2.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640           30
    1997-96      V6/2.8L        X                                 48 50                   540         29
                                                                                                               2016      L4/2.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    1997         L4/1.8L        Opt                               47 50, 54, 55, 56       540
                                                                                                               2016      L4/2.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    1997         V6/2.8L        Opt                               47 50, 54, 55, 56       540
                                                                                                               2016      L4/2.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    1997         V6/2.8L                                          48 50                   640         29       2016      V6/3.0L    Dsl, PR Code J0L                             48 50, 54, 55, 56, 58      640       29
    1996         V6/2.8L                                          47 50, 54, 55, 56       540                  2016      V6/3.0L    PR Code J0L                                  48 50, 54, 55, 56, 58      640       29
    1996         V6/2.8L        Opt                               94R 50, 54, 55, 56      720         30       2016      V6/3.0L    Dsl, PR Code J2D                             48 33, 50, 54, 55, 56, 58 680
    Audi A5, A5 quattro                                                                                        2016      V6/3.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2017-15 L4/2.0L PR Code J1L                                   47 50, 54, 55, 56, 58      540      28       2016      V6/3.0L    Dsl, PR Code J1U                             49 50, 54, 55, 56, 58      760
    2017-15 L4/2.0L PR Code J0L                                   48 50, 54, 55, 56, 58      570      29       2016      V6/3.0L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
                                                                                                                                                                                    33, 50, 54, 55, 56, 58
    2017-15 L4/2.0L PR Code J1U                                   49 50, 54, 55, 56, 58      760               2016      V6/3.0L    Dsl, PR Code J0B                             49                         850
    2017-15 L4/2.0L PR Code J0B                                   49 33, 50, 54, 55, 56, 58 850                2016      V6/3.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2017-15 L4/2.0L PR Code J1N                                   94R 33, 50, 54, 55, 56, 58 800               2016      V6/3.0L    Dsl, PR Code J0R                             94R 50, 54, 55, 56, 58 640           30
    2017-15 L4/2.0L PR Code J0Z                                   95R 50, 54, 55, 56, 58 850                   2016      V6/3.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640           30
    2017-15 L4/2.0L PR Code J0P                                   95R 33, 50, 54, 55, 56, 58 950               2016      V6/3.0L    Dsl, PR Code J1N                             94R 33, 50, 54, 55, 56, 58 800
    2017        L4/2.0L PR Code J2D                               48 33, 50, 54, 55, 56, 58 680                2016      V6/3.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2017        L4/2.0L PR Code J0R                               94R 50, 54, 55, 56, 58 640          30       2016      V6/3.0L    Dsl, PR Code J0Z                             95R 50, 54, 55, 56, 58 850
    2016        L4/2.0L PR Code J2D                               48 33, 50, 54, 55, 56, 58 680                2016      V6/3.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2016        L4/2.0L PR Code J0R                               94R 50, 54, 55, 56, 58 640          30       2016      V6/3.0L    Dsl, PR Code J0P                             95R 33, 50, 54, 55, 56, 58 950
    2015        L4/2.0L PR Code J2D                               48 33, 50, 54, 55, 56, 58 680                2016      V6/3.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2015        L4/2.0L PR Code J0R                               94R 50, 54, 55, 56, 58 640          30       2015-14   V6/3.0L    Dsl, PR Code J0L                             48 50, 54, 55, 56, 58      640       29
    2014-12 L4/2.0L PR Code J0R                                   94R 50, 54, 55, 56, 58 80 Ah        30       2015-12   L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58      640       29
    2014-12 L4/2.0L PR Code J1N                                   94R 33, 50, 54, 55, 56, 58 800               2015-12   V6/3.0L    PR Code J0L                                  48 50, 54, 55, 56, 58      640       29
    2014-10 L4/2.0L PR Code J1L                                   47 50, 54, 55, 56, 58      540      28       2015      L4/2.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2014-10 L4/2.0L PR Code J0L                                   48 50, 54, 55, 56, 58      570      29       2015      L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58 70 Ah          29
    2014-10 L4/2.0L AGM, PR Code J2D                              48 33, 50, 54, 55, 56, 58 68 Ah              2015      L4/2.0L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    2014-10 L4/2.0L PR Code J2D                                   48 33, 50, 54, 55, 56, 58 680                2015      L4/2.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
                                                                                                                                                                                      50, 54, 55, 56, 58
    2014-10 L4/2.0L w/o AGM, PR Code J1D                          48 50, 54, 55, 56, 58 72 Ah                  2015      L4/2.0L    PR Code J0R                                  94R                        640       30
                                                                                                               2015      L4/2.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2014-10 L4/2.0L PR Code J1U                                   49 50, 54, 55, 56, 58      760
                                                                                                               2015      L4/2.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2014-10 L4/2.0L PR Code J0B                                   49 33, 50, 54, 55, 56, 58 850
                                                                                                               2015      L4/2.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2014-10 L4/2.0L AGM, PR Code J0B                              49 33, 50, 54, 55, 56, 58 92 Ah
                                                                                                               2015      V6/3.0L    Dsl, PR Code J2D                             48 33, 50, 54, 55, 56, 58 680
    2014-10 L4/2.0L PR Code J0R                                   94R 50, 54, 55, 56, 58 640          30
                                                                                                               2015      V6/3.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2014-10 L4/2.0L AGM, PR Code J0P                              95R 33, 50, 54, 55, 56, 58105 Ah
                                                                                                               2015      V6/3.0L    Dsl, PR Code J0L                             48 50, 54, 55, 56, 58 70 Ah          29
    2014-10 L4/2.0L PR Code J0Z                                   95R 50, 54, 55, 56, 58 110 Ah
                                                                                                               2015      V6/3.0L    PR Code J0L                                  48 50, 54, 55, 56, 58 70 Ah          29
    2014-10 L4/2.0L PR Code J0Z                                   95R 50, 54, 55, 56, 58 850                   2015      V6/3.0L    Dsl, PR Code J1U                             49 50, 54, 55, 56, 58      760
    2014-10 L4/2.0L PR Code J0P                                   95R 33, 50, 54, 55, 56, 58 950               2015      V6/3.0L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    2010-08 V6/3.2L PR Code J1U                                   49 50, 54, 55, 56, 58      760               2015      V6/3.0L    Dsl, PR Code J0B                             49 33, 50, 54, 55, 56, 58 850
    2010-08 V6/3.2L PR Code J0R                                   94R 50, 54, 55, 56, 58 80 Ah        30       2015      V6/3.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2010-08 V6/3.2L PR Code J0Z                                   95R 50, 54, 55, 56, 58 110 Ah                2015      V6/3.0L    Dsl, PR Code J0R                             94R 50, 54, 55, 56, 58 640           30
    2010        V6/3.2L PR Code J0N or J1L                        47 50, 54, 55, 56, 58      540      28       2015      V6/3.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640           30
    2010        V6/3.2L PR Code J0L                               48 50, 54, 55, 56, 58      570      29       2015      V6/3.0L    Dsl, PR Code J1N                             94R 33, 50, 54, 55, 56, 58 800
    2010        V6/3.2L AGM, PR Code J2D                          48 33, 50, 54, 55, 56, 58 68 Ah              2015      V6/3.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2010        V6/3.2L PR Code J2D                               48 33, 50, 54, 55, 56, 58 680                2015      V6/3.0L    Dsl, PR Code J0Z                             95R 50, 54, 55, 56, 58 850
    2010        V6/3.2L PR Code J1D                               48 50, 54, 55, 56, 58 72 Ah                  2015      V6/3.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2010        V6/3.2L PR Code J0B                               49 33, 50, 54, 55, 56, 58 850                2015      V6/3.0L    Dsl, PR Code J0P                             95R 33, 50, 54, 55, 56, 58 950
    2010        V6/3.2L AGM, PR Code J0B                          49 33, 50, 54, 55, 56, 58 92 Ah              2015      V6/3.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2010        V6/3.2L PR Code J0R                               94R 50, 54, 55, 56, 58 640          30       2014-12   L4/2.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2010        V6/3.2L AGM, PR Code J0P                          95R 33, 50, 54, 55, 56, 58105 Ah             2014-12   L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58 70 Ah          29
    2010        V6/3.2L PR Code J0Z                               95R 50, 54, 55, 56, 58 850                   2014-12   L4/2.0L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    2010        V6/3.2L PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950               2014-12   L4/2.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2009-08 V6/3.2L PR Code J0R                                   94R 50, 54, 55, 56, 58 640          30       2014-12   L4/2.0L    AGM, PR Code J0B                             49 33, 50, 54, 55, 56, 58
                                                                                                                                                                                                           92 Ah
    2009-08 V6/3.2L PR Code J0Z                                   95R 50, 54, 55, 56, 58 850                   2014-12   L4/2.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640           30
    See page 88 for Footnotes. Selection may vary by warehouse.                                                                            Note: PR codes are located on a tag near the spare tire or in the warranty booklet

                                                                                                                                                                                                           Costco_001563
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                                                       929
14                                                                                                                                      Automotive/Light Truck
                                                                                                       Original                                                                                                     Original
    Year          Engine                          Options                            BCI Group Size   Equipment    Fitment      Year     Engine                Options                        BCI Group Size       Equipment    Fitment
                                                                                         (notes)                    Code                                                                          (notes)                        Code
                                                                                                      CCA/Rating                                                                                                   CCA/Rating
Audi A6, A6 quattro (continued)                                                                                              Audi A6, A6 quattro (continued)
2014-12      L4/2.0L         AGM, PR Code J1N                                   94R 33, 50, 54, 55, 56, 58 75 Ah             2009-08   V6/3.2L    Opt                                      95R 50, 54, 55, 56        850
2014-12      L4/2.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 80 Ah        30       2009-06   V6/3.2L    Opt                                      49 50, 54, 55, 56         760         33
2014-12      L4/2.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800               2008-05   V6/3.2L    Opt                                      49 50, 54, 55, 56         760         33
2014-12      L4/2.0L         AGM, PR Code J0P                                   95R 33, 50, 54, 55, 56, 58105 Ah             2008      V6/3.2L                                             48 50, 54, 55, 56         570         29
2014-12      L4/2.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 110 Ah                2008      V6/3.2L    Opt                                      49 33, 50, 54, 55, 56     850
2014-12      L4/2.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                   2008      V6/3.2L    Opt                                      94R 50, 54, 55, 56        640         30
2014-12      L4/2.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58 950               2008      V6/3.2L    Opt                                      95R 50, 54, 55, 56        850
2014-12      V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                2007-05   V6/3.2L                                             48 50, 54, 55, 56         570         29
2014-12      V6/3.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                2007-05   V6/3.2L    Opt                                      49 33, 50, 54, 55, 56     850
2014-12      V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640          30       2007-05   V6/3.2L    Opt                                      94R 50, 54, 55, 56        640         30
2014-12      V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 80 Ah        30       2007-05   V6/3.2L    Opt                                      95R 50, 54, 55, 56        850
2014-12      V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800               2007-05   V8/4.2L                                             48 50, 54, 55, 56         570         29
2014-12      V6/3.0L         AGM, PR Code J0P                                   95R 33, 50, 54, 55, 56, 58105 Ah             2007-05   V8/4.2L    Opt                                      49 33, 50, 54, 55, 56     850
2014-12      V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                   2007-05   V8/4.2L    Opt                                      94R 50, 54, 55, 56        640         30
2014-12      V6/3.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58 950               2007-05   V8/4.2L    Opt                                      95R 50, 54, 55, 56        850
2014-11      V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58 70 Ah         29       2004-02   V6/2.7L    Turbo                                    48 50, 54, 55, 56         640
2014-11      V6/3.0L         AGM, PR Code J0B                                   49 33, 50, 54, 55, 56, 58 92 Ah              2004-02   V6/2.7L    Opt                                      49 50, 54, 55, 56         760         33
2014-11      V6/3.0L         AGM, PR Code J1N                                   94R 33, 50, 54, 55, 56, 58 75 Ah             2004-02   V6/2.7L    Option 2                                 94R 50, 54, 55, 56        640         30
2014-11      V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 110 Ah                2004-02   V6/2.7L    Option 3                                 94R 50, 54, 55, 56        720         30
2014-09      V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58       760              2004-02   V6/3.0L                                             48 50                     640         29
2014         V6/3.0L         Dsl, PR Code J2D                                   48 33, 50, 54, 55, 56, 58 680                2004-02   V6/3.0L    Opt                                      49 50, 54, 55, 56         760         33
2014         V6/3.0L         Dsl, PR Code J0L                                   48 50, 54, 55, 56, 58 70 Ah         29       2004-02   V6/3.0L    Option 3                                 94R 50, 54, 55, 56        640         30
2014         V6/3.0L         Dsl, PR Code J1U                                   49 50, 54, 55, 56, 58       760              2004-02   V6/3.0L    Option 4                                 94R 50, 54, 55, 56        720         30
2014         V6/3.0L         Dsl, PR Code J0B                                   49 33, 50, 54, 55, 56, 58 850                2004-02   V8/4.2L                                             48 50, 54, 55, 56         640
2014         V6/3.0L         Dsl, AGM, PR Code J0B                              49 33, 50, 54, 55, 56, 58 92 Ah              2004-02   V8/4.2L    Opt                                      94R 50, 54, 55, 56        640         30
2014         V6/3.0L         Dsl, PR Code J1U                                   49 50, 54, 55, 56, 58 95 Ah                  2004-02   V8/4.2L    Opt                                      94R 50, 54, 55, 56        720         30
2014         V6/3.0L         Dsl, PR Code J0R                                   94R 50, 54, 55, 56, 58 640          30       2001-95   V6/2.8L                                             41 50                     650
2014         V6/3.0L         Dsl, AGM, PR Code J1N                              94R 33, 50, 54, 55, 56, 58 75 Ah             2001-95   V6/2.8L    Opt                                      48 50                     570         29
2014         V6/3.0L         Dsl, PR Code J0R                                   94R 50, 54, 55, 56, 58 80 Ah        30       2001-00   V6/2.7L    Turbo                                    94R 50                    640         30
2014         V6/3.0L         Dsl, PR Code J1N                                   94R 33, 50, 54, 55, 56, 58 800               2001-00   V8/4.2L                                             49 50                     850
2014         V6/3.0L         Dsl, AGM, PR Code J0P                              95R 33, 50, 54, 55, 56, 58105 Ah
2014         V6/3.0L         Dsl, PR Code J0Z                                   95R 50, 54, 55, 56, 58 110 Ah
                                                                                                                             Audi A7, A7 quattro
2014         V6/3.0L         Dsl, PR Code J0Z                                   95R 50, 54, 55, 56, 58 850                   2017      V6/3.0L    PR Code J2D                              48 33, 50, 54, 55, 56, 58 680
2014         V6/3.0L         Dsl, PR Code J0P                                   95R 33, 50, 54, 55, 56, 58 950               2017      V6/3.0L    PR Code J1U                              49 50, 54, 55, 56, 58      760
2011-10      V6/3.2L         PR Code J1U                                        49 50, 54, 55, 56, 58       760              2017      V6/3.0L    PR Code J0B                              49 33, 50, 54, 55, 56, 58 850
2011-10      V6/3.2L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                2017      V6/3.0L    PR Code J0R                              94R 50, 54, 55, 56, 58 640         30
2011-10      V6/3.2L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640          30       2017      V6/3.0L    PR Code J1N                              94R 33, 50, 54, 55, 56, 58 800
2011-10      V6/3.2L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                   2017      V6/3.0L    PR Code J0Z                              95R 50, 54, 55, 56, 58 850
2011-05      V8/4.2L         AGM, PR Code J0B                                   49 33, 50, 54, 55, 56, 58 92 Ah              2017      V6/3.0L    PR Code J0P                              95R 33, 50, 54, 55, 56, 58 950
2011-05      V8/4.2L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 110 Ah                2016      V6/3.0L    Dsl, PR Code J2D                         48 33, 50, 54, 55, 56, 58 680
2011-02      V8/4.2L         PR Code J1U                                        49 50, 54, 55, 56, 58       760              2016      V6/3.0L    PR Code J2D                              48 33, 50, 54, 55, 56, 58 680
2011-02      V8/4.2L         PR Code J0R                                        94R 50, 54, 55, 56, 58 80 Ah        30       2016      V6/3.0L    Dsl, PR Code J1U                         49 50, 54, 55, 56, 58      760
2011         V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58       640     29       2016      V6/3.0L    PR Code J1U                              49 50, 54, 55, 56, 58      760
2011         V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                2016      V6/3.0L    Dsl, PR Code J0B                         49 33, 50, 54, 55, 56, 58 850
2011         V6/3.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                2016      V6/3.0L    PR Code J0B                              49 33, 50, 54, 55, 56, 58 850
2011         V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640          30       2016      V6/3.0L    Dsl, PR Code J0R                         94R 50, 54, 55, 56, 58 640         30
2011         V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800               2016      V6/3.0L    PR Code J0R                              94R 50, 54, 55, 56, 58 640         30
2011         V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                   2016      V6/3.0L    Dsl, PR Code J1N                         94R 33, 50, 54, 55, 56, 58 800
2011         V6/3.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58 950               2016      V6/3.0L    PR Code J1N                              94R 33, 50, 54, 55, 56, 58 800
2011         V6/3.2L         PR Code J0L                                        48 50, 54, 55, 56, 58       640     29       2016      V6/3.0L    Dsl, PR Code J0Z                         95R 50, 54, 55, 56, 58 850
2011         V6/3.2L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                2016      V6/3.0L    PR Code J0Z                              95R 50, 54, 55, 56, 58 850
2011         V6/3.2L         PR Code J0L                                        48 50, 54, 55, 56, 58 70 Ah         29       2016      V6/3.0L    Dsl, PR Code J0P                         95R 33, 50, 54, 55, 56, 58 950
2011         V6/3.2L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800               2016      V6/3.0L    PR Code J0P                              95R 33, 50, 54, 55, 56, 58 950
2011         V6/3.2L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58 950               2015      V6/3.0L    Dsl, PR Code J2D                         48 33, 50, 54, 55, 56, 58 680
2011         V8/4.2L         PR Code J0L                                        48 50, 54, 55, 56, 58       640     29       2015      V6/3.0L    PR Code J2D                              48 33, 50, 54, 55, 56, 58 680
2011         V8/4.2L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                2015      V6/3.0L    Dsl, PR Code J1U                         49 50, 54, 55, 56, 58      760
2011         V8/4.2L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                2015      V6/3.0L    PR Code J1U                              49 50, 54, 55, 56, 58      760
2011         V8/4.2L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640          30       2015      V6/3.0L    Dsl, PR Code J0B                         49 33, 50, 54, 55, 56, 58 850
2011         V8/4.2L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800               2015      V6/3.0L    PR Code J0B                              49 33, 50, 54, 55, 56, 58 850
2011         V8/4.2L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                   2015      V6/3.0L    Dsl, PR Code J0R                         94R 50, 54, 55, 56, 58 640         30
2011         V8/4.2L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58 950               2015      V6/3.0L    PR Code J0R                              94R 50, 54, 55, 56, 58 640         30
2010-09      V6/3.0L                                                            48 50, 54, 55, 56, 58       570     29       2015      V6/3.0L    Dsl, PR Code J1N                         94R 33, 50, 54, 55, 56, 58 800
2010-09      V6/3.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                2015      V6/3.0L    PR Code J1N                              94R 33, 50, 54, 55, 56, 58 800
2010-09      V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640          30       2015      V6/3.0L    Dsl, PR Code J0Z                         95R 50, 54, 55, 56, 58 850
2010-09      V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                   2015      V6/3.0L    PR Code J0Z                              95R 50, 54, 55, 56, 58 850
2010-08      V8/4.2L                                                            48 50, 54, 55, 56           570     29       2015      V6/3.0L    Dsl, PR Code J0P                         95R 33, 50, 54, 55, 56, 58 950
2010-08      V8/4.2L         Opt                                                49 33, 50, 54, 55, 56       850              2015      V6/3.0L    PR Code J0P                              95R 33, 50, 54, 55, 56, 58 950
2010-08      V8/4.2L         Opt                                                94R 50, 54, 55, 56          640     30       2014-12   V6/3.0L    Gas, AGM, PR Code J2D                    48 33, 50, 54, 55, 56, 58 68 Ah
2010-08      V8/4.2L         Opt                                                95R 50, 54, 55, 56          850              2014-12   V6/3.0L    PR Code J2D                              48 33, 50, 54, 55, 56, 58 680
2010         V6/3.2L                                                            48 50, 54, 55, 56, 58       570     29       2014-12   V6/3.0L    PR Code J1U                              49 50, 54, 55, 56, 58      760
2009-08      V6/3.2L                                                            48 50, 54, 55, 56           570     29       2014-12   V6/3.0L    PR Code J0B                              49 33, 50, 54, 55, 56, 58 850
2009-08      V6/3.2L         Opt                                                49 33, 50, 54, 55, 56
                                                                                                            850              2014-12   V6/3.0L    Gas, PR Code J1U                         49 50, 54, 55, 56, 58 95 Ah
2009-08      V6/3.2L         Opt                                                94R 50, 54, 55, 56          640     30       2014-12   V6/3.0L    PR Code J0R                              94R 50, 54, 55, 56, 58 640         30
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                                                       See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                                                          Costco_001564
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                                      929
    Automotive/Light Truck                                                                                                                                                                                            15
                                                                                           Original                                                                                                         Original
        Year         Engine                         Options          BCI Group Size       Equipment    Fitment      Year     Engine                   Options                         BCI Group Size       Equipment    Fitment
                                                                         (notes)                        Code                                                                              (notes)                        Code
                                                                                          CCA/Rating                                                                                                       CCA/Rating
    Audi A7, A7 quattro (continued)                                                                              Audi A8, A8 quattro (continued)
    2014-12      V6/3.0L        AGM, PR Code J1N                  94R 33, 50, 54, 55, 56, 58 75 Ah               2014-13   V6/3.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2014-12      V6/3.0L        Gas, PR Code J0R                  94R 50, 54, 55, 56, 58 80 Ah          30       2014-13   V6/3.0L    AGM, PR Code J0B                             49 33, 50, 54, 55, 56, 58 92 Ah
    2014-12      V6/3.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58 800                 2014-13   V6/3.0L    AGM, PR Code J0P                             95R 33, 50, 54, 55, 56, 58105 Ah
    2014-12      V6/3.0L        Gas, PR Code J0P                  95R 33, 50, 54, 55, 56, 58105 Ah               2014-13   V6/3.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2014-12      V6/3.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58 850                     2014-13   V6/3.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2014-12      V6/3.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58 950                 2014-13   V8/4.0L    PR Code J1U                                  49 50, 54, 55, 56, 58       760
    2014         V6/3.0L        Dsl, AGM, PR Code J2D             48 33, 50, 54, 55, 56, 58 68 Ah                2014-13   V8/4.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2014         V6/3.0L        Dsl, PR Code J2D                  48 33, 50, 54, 55, 56, 58 680                  2014-13   V8/4.0L    AGM, PR Code J0B                             49 33, 50, 54, 55, 56, 58 92 Ah
    2014         V6/3.0L        Dsl, PR Code J1U                  49 50, 54, 55, 56, 58       760                2014-13   V8/4.0L    AGM, PR Code J0P                             95R 33, 50, 54, 55, 56, 58105 Ah
    2014         V6/3.0L        Dsl, PR Code J0B                  49 33, 50, 54, 55, 56, 58 850                  2014-13   V8/4.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2014         V6/3.0L        Dsl, AGM, PR Code J0B             49 33, 50, 54, 55, 56, 58 92 Ah                2014-13   V8/4.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2014         V6/3.0L        Dsl, PR Code J1U                  49 50, 54, 55, 56, 58 95 Ah                    2014-12   W12/6.3L   PR Code J1U                                  49 50, 54, 55, 56, 58       760
    2014         V6/3.0L        Dsl, PR Code J0R                  94R 50, 54, 55, 56, 58 640            30       2014-12   W12/6.3L   PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2014         V6/3.0L        Dsl, AGM, PR Code J1N             94R 33, 50, 54, 55, 56, 58 75 Ah               2014-12   W12/6.3L   PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2014         V6/3.0L        Dsl, PR Code J0R                  94R 50, 54, 55, 56, 58 80 Ah          30       2014-12   W12/6.3L   PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2014         V6/3.0L        Dsl, PR Code J1N                  94R 33, 50, 54, 55, 56, 58 800                 2014      V6/3.0L    Dsl, PR Code J1U                             49 50, 54, 55, 56, 58       760
    2014         V6/3.0L        Dsl, PR Code J0P                  95R 33, 50, 54, 55, 56, 58105 Ah               2014      V6/3.0L    Dsl, PR Code J0B                             49 33, 50, 54, 55, 56, 58 850
    2014         V6/3.0L        Dsl, PR Code J0Z                  95R 50, 54, 55, 56, 58 850                     2014      V6/3.0L    Dsl, AGM, PR Code J0B                        49 33, 50, 54, 55, 56, 58 92 Ah
    2014         V6/3.0L        Dsl, PR Code J0P                  95R 33, 50, 54, 55, 56, 58 950                 2014      V6/3.0L    AGM, PR Code J1N                             94R 33, 50, 54, 55, 56, 58 75 Ah
    Audi A8, A8 quattro                                                                                          2014      V6/3.0L    Dsl, AGM, PR Code J1N                        94R 33, 50, 54, 55, 56, 58 75 Ah
    2017         V6/3.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2014      V6/3.0L    Dsl, PR Code J1N                             94R 33, 50, 54, 55, 56, 58 800
    2017         V6/3.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2014      V6/3.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2017         V6/3.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2014      V6/3.0L    Dsl, AGM, PR Code J0P                        95R 33, 50, 54, 55, 56, 58105 Ah
    2017         V6/3.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2014      V6/3.0L    Dsl, PR Code J0Z                             95R 50, 54, 55, 56, 58 850
    2017         V6/3.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2014      V6/3.0L    Dsl, PR Code J0P                             95R 33, 50, 54, 55, 56, 58 950
    2017         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2014      V8/4.0L    AGM, PR Code J1N                             94R 33, 50, 54, 55, 56, 58 75 Ah
    2017         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2014      V8/4.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2017         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2014      W12/6.3L   AGM, PR Code J1N                             94R 33, 50, 54, 55, 56, 58 75 Ah
    2017         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2014      W12/6.3L   PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2017         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2013-12   W12/6.3L   PR Code 0K1                                  94R 33, 50, 54, 55, 56, 58 800
    2016         V6/3.0L        Dsl, PR Code J1U                  49 50, 54, 55, 56, 58        760               2013      V6/3.0L    PR Code 0K1                                  94R 33, 50, 54, 55, 56, 58 800
    2016         V6/3.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2013      V8/4.0L    PR Code 0K1                                  94R 33, 50, 54, 55, 56, 58 800
    2016         V6/3.0L        Dsl, PR Code J0B                  49 33, 50, 54, 55, 56, 58    850               2012-10   V8/4.2L    PR Code J1U                                  49 50, 54, 55, 56, 58       760
    2016         V6/3.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2012-10   V8/4.2L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2016         V6/3.0L        Dsl, PR Code J1N                  94R 33, 50, 54, 55, 56, 58   800               2012-10   V8/4.2L    PR Code 0K1                                  94R 33, 50, 54, 55, 56, 58 800
    2016         V6/3.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2012-10   V8/4.2L    AGM, PR Code J0P                             95R 33, 50, 54, 55, 56, 58105 Ah
                                                                                                                 2012-10   V8/4.2L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2016         V6/3.0L        Dsl, PR Code J0Z                  95R 50, 54, 55, 56, 58       850
                                                                                                                 2012-10   V8/4.2L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2016         V6/3.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850
                                                                                                                 2009-08   V8/4.2L    Opt                                          49 33, 50, 54, 55, 56       850
    2016         V6/3.0L        Dsl, PR Code J0P                  95R 33, 50, 54, 55, 56, 58   950
                                                                                                                 2009-08   W12/6.0L   Opt                                          49 33, 50, 54, 55, 56       850
    2016         V6/3.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950
                                                                                                                 2009-08   W12/6.0L   Opt                                          95R 50, 54, 55, 56, 58 850
    2016         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760
                                                                                                                 2009-05   W12/6.0L   Std, PR Code J1U                             49 50, 54, 55, 56, 58       760
    2016         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850
                                                                                                                 2009-00   V8/4.2L    Opt                                          95R 50                      850
    2016         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800
                                                                                                                 2007-05   W12/6.0L                                                95R 50, 54, 55, 56          850
    2016         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850
                                                                                                                 2003-97   V8/4.2L    Std                                          49 50                       760       33
    2016         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950
                                                                                                                 2003-97   V8/4.2L                                                 49 50                       850
    2016         W12/6.3L       PR Code J1U                       49 50, 54, 55, 56, 58        760
                                                                                                                 1999-97   V8/3.7L    Std                                          49 50                       760       33
    2016         W12/6.3L       PR Code J0B                       49 33, 50, 54, 55, 56, 58    850
                                                                                                                 1999-97   V8/3.7L                                                 49 50                       850
    2016         W12/6.3L       PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800
    2016         W12/6.3L       PR Code J0Z                       95R 50, 54, 55, 56, 58       850               Audi allroad
    2016         W12/6.3L       PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2016-13   L4/2.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58    850
    2015         V6/3.0L        Dsl, PR Code J1U                  49 50, 54, 55, 56, 58        760               2016-13   L4/2.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58   800
    2015         V6/3.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2016-13   L4/2.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58   950
    2015         V6/3.0L        Dsl, PR Code J0B                  49 33, 50, 54, 55, 56, 58    850               2016      L4/2.0L    PR Code J0N or J1L                           47 50, 54, 55, 56, 58        540      28
    2015         V6/3.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2016      L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58        570      29
    2015         V6/3.0L        Dsl, PR Code J1N                  94R 33, 50, 54, 55, 56, 58   800               2016      L4/2.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58    680
    2015         V6/3.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2016      L4/2.0L    PR Code J1U                                  49 50, 54, 55, 56, 58        760
    2015         V6/3.0L        Dsl, PR Code J0Z                  95R 50, 54, 55, 56, 58       850               2016      L4/2.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58       640      30
    2015         V6/3.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2016      L4/2.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58       850
    2015         V6/3.0L        Dsl, PR Code J0P                  95R 33, 50, 54, 55, 56, 58   950               2015-13   L4/2.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58    680
    2015         V6/3.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2015      L4/2.0L    PR Code J0N or J1L                           47 50, 54, 55, 56, 58        540      28
    2015         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2015      L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58        570      29
    2015         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2015      L4/2.0L    PR Code J1U                                  49 50, 54, 55, 56, 58        760
    2015         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2015      L4/2.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58       640      30
    2015         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2015      L4/2.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58       850
    2015         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2014-13   L4/2.0L    PR Code J0N or J1L                           47 50, 54, 55, 56, 58        540      28
    2015         W12/6.3L       PR Code J1U                       49 50, 54, 55, 56, 58        760               2014-13   L4/2.0L    PR Code J0L                                  48 50, 54, 55, 56, 58        570      29
    2015         W12/6.3L       PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2014-13   L4/2.0L    PR Code J1U                                  49 50, 54, 55, 56, 58        760
    2015         W12/6.3L       PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2014-13   L4/2.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58       640      30
    2015         W12/6.3L       PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2014-13   L4/2.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58       850
    2015         W12/6.3L       PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               Audi allroad quattro
    2014-13      V6/3.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2005-04 V6/2.7L                                                   94R 50                       650      30
    2014-13      V6/3.0L        PR Code J0B                       49 3                         850               2005-03 V8/4.2L                                                   49 50                        760      33
    See page 88 for Footnotes. Selection may vary by warehouse.                                                                              Note: PR codes are located on a tag near the spare tire or in the warranty booklet

                                                                                                                                                                                                                Costco_001565
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                                                       929
16                                                                                                                                            Automotive/Light Truck
                                                                                                             Original                                                                                                  Original
    Year          Engine                          Options                            BCI Group Size         Equipment    Fitment     Year      Engine                 Options                       BCI Group Size    Equipment    Fitment
                                                                                         (notes)                          Code                                                                          (notes)                     Code
                                                                                                            CCA/Rating                                                                                                CCA/Rating
Audi allroad quattro (continued)                                                                                                   Audi Q5 (continued)
2005-03      V8/4.2L                                                            49 50                         850                  2015      L4/2.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640         30
2003         V6/2.7L                                                            49 50                         760         33       2015      L4/2.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2003         V6/2.7L                                                            49 50                         850                  2015      L4/2.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2002-01      V6/2.7L                                                            94R 50                        640         30       2015      L4/2.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950
Audi Cabriolet                                                                                                                     2015      V6/3.0L    Dsl, PR Code J1L                          47 50, 54, 55, 56, 58       540    28
1998-94 V6/2.8L                                                                 41                            650                  2015      V6/3.0L    PR Code J1L                               47 50, 54, 55, 56, 58       540    28
                                                                                                                                   2015      V6/3.0L    Dsl, PR Code J0L                          48 50, 54, 55, 56, 58       570    29
Audi Coupe quattro                                                                                                                 2015      V6/3.0L    PR Code J0L                               48 50, 54, 55, 56, 58       570    29
1991-90 L5/2.3L                                                                 41 50                         650                  2015      V6/3.0L    Dsl, PR Code J2D                          48 33, 50, 54, 55, 56, 58 680
Audi Q3                                                                                                                            2015      V6/3.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2017-15      L4/2.0L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2015      V6/3.0L    Dsl, PR Code J1U                          49 50, 54, 55, 56, 58       760
2017         L4/2.0L         PR Code J0N or J1L                                 47 50, 54, 55, 56, 58         540         28       2015      V6/3.0L    PR Code J1U                               49 50, 54, 55, 56, 58       760
2017         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015      V6/3.0L    Dsl, PR Code J0B                          49 33, 50, 54, 55, 56, 58 850
2016-15      L4/2.0L         PR Code J0N, J1N                                   47 50, 54, 55, 56, 58         540         28       2015      V6/3.0L    PR Code J0B                               49 33, 50, 54, 55, 56, 58
                                                                                                                                                                                                                              850
2016-15      L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015      V6/3.0L    Dsl, PR Code J0R                          94R 50, 54, 55, 56, 58 640         30
Audi Q3 quattro                                                                                                                    2015      V6/3.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640         30
2017-15      L4/2.0L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2015      V6/3.0L    Dsl, PR Code J1N                          94R 33, 50, 54, 55, 56, 58 800
2017         L4/2.0L         PR Code J0N or J1L                                 47 50, 54, 55, 56, 58         540         28       2015      V6/3.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2017         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015      V6/3.0L    Dsl, PR Code J0Z                          95R 50, 54, 55, 56, 58 850
2016-15      L4/2.0L         PR Code J0N, J1N                                   47 50, 54, 55, 56, 58         540         28       2015      V6/3.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2016-15      L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015      V6/3.0L    Dsl, PR Code J0P                          95R 33, 50, 54, 55, 56, 58 950
                                                                                                                                   2015      V6/3.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950
Audi Q5                                                                                                                            2014-13   V6/3.0L    Gas, PR Code J0N or J1L                   47 50, 54, 55, 56, 58       540    28
2017         L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28       2014-13   V6/3.0L    PR Code J0L                               48 50, 54, 55, 56, 58       570    29
2017         L4/2.0L         PR Code J0L                                        48 50, 54, 55, 56, 58         570         29       2014-13   V6/3.0L    Gas, PR Code J1D                          48 50, 54, 55, 56, 58       600
2017         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2014-13   V6/3.0L    Gas, AGM, PR Code J2D                     48 33, 50, 54, 55, 56, 58 68 Ah
2017         L4/2.0L         PR Code J1U                                        49 50, 54, 55, 56, 58         760                  2014-13   V6/3.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2017         L4/2.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58     850                  2014-13   V6/3.0L    PR Code J1U                               49 50, 54, 55, 56, 58       760
2017         L4/2.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58        640         30       2014-13   V6/3.0L    PR Code J0B                               49 33, 50, 54, 55, 56, 58 850
2017         L4/2.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58    800                  2014-13   V6/3.0L    Gas, AGM, PR Code J0B                     49 33, 50, 54, 55, 56, 58 92 Ah
2017         L4/2.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58        850                  2014-13   V6/3.0L    Gas, PR Code J1U                          49 50, 54, 55, 56, 58 95 Ah
2017         L4/2.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58    950                  2014-13   V6/3.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640         30
2017         V6/3.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28       2014-13   V6/3.0L    Gas, AGM, PR Code J1N                     94R 33, 50, 54, 55, 56, 58 75 Ah
2017         V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58         570         29       2014-13   V6/3.0L    Gas, PR Code J0R                          94R 50, 54, 55, 56, 58 80 Ah 30
2017         V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2014-13   V6/3.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2017         V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58         760                  2014-13   V6/3.0L    Gas, PR Code J0Z                          95R 50, 54, 55, 56, 58 110 Ah
2017         V6/3.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58     850                  2014-13   V6/3.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2017         V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58        640         30       2014-13   V6/3.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950
2017         V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58    800                  2014-11   L4/2.0L    PR Code J0N or J1L                        47 50, 54, 55, 56, 58       540    28
2017         V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58        850                  2014-11   L4/2.0L    PR Code J0L                               48 50, 54, 55, 56, 58       570    29
2017         V6/3.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58    950                  2014-11   L4/2.0L    PR Code J1D                               48 50, 54, 55, 56, 58       600
2016         L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28       2014-11   L4/2.0L    AGM, PR Code J2D                          48 33, 50, 54, 55, 56, 58 68 Ah
2016         L4/2.0L         PR Code J0L                                        48 50, 54, 55, 56, 58         570         29       2014-11   L4/2.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2016         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2014-11   L4/2.0L    PR Code J1U                               49 50, 54, 55, 56, 58       760
2016         L4/2.0L         PR Code J1U                                        49 50, 54, 55, 56, 58         760                  2014-11   L4/2.0L    PR Code J0B                               49 33, 50, 54, 55, 56, 58 850
2016         L4/2.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58     850                  2014-11   L4/2.0L    AGM, PR Code J0B                          49 33, 50, 54, 55, 56, 58 92 Ah
2016         L4/2.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58        640         30       2014-11   L4/2.0L    PR Code J1U                               49 50, 54, 55, 56, 58 95 Ah
2016         L4/2.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58    800                  2014-11   L4/2.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640         30
2016         L4/2.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58        850                  2014-11   L4/2.0L    AGM, PR Code J1N                          94R 33, 50, 54, 55, 56, 58 75 Ah
2016         L4/2.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58    950                  2014-11   L4/2.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 80 Ah 30
2016         V6/3.0L         Dsl, PR Code J1L                                   47 50, 54, 55, 56, 58         540         28       2014-11   L4/2.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2016         V6/3.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28       2014-11   L4/2.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 110 Ah
2016         V6/3.0L         Dsl, PR Code J0L                                   48 50, 54, 55, 56, 58         570         29       2014-11   L4/2.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2016         V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58         570         29       2014-11   L4/2.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950
2016         V6/3.0L         Dsl, PR Code J2D                                   48 33, 50, 54, 55, 56, 58     680                  2014      V6/3.0L    Dsl, PR Code J0N, J1L                     47 50, 54, 55, 56, 58       540    28
2016         V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2014      V6/3.0L    Dsl, PR Code J0L                          48 50, 54, 55, 56, 58       570    29
2016         V6/3.0L         Dsl, PR Code J1U                                   49 50, 54, 55, 56, 58         760                  2014      V6/3.0L    Dsl, PR Code J1D                          48 50, 54, 55, 56, 58       600
2016         V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58         760                  2014      V6/3.0L    Dsl, AGM, PR Code J2D                     48 33, 50, 54, 55, 56, 58 68 Ah
2016         V6/3.0L         Dsl, PR Code J0B                                   49 33, 50, 54, 55, 56, 58     850                  2014      V6/3.0L    Dsl, PR Code J2D                          48 33, 50, 54, 55, 56, 58 680
2016         V6/3.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58     850                  2014      V6/3.0L    Dsl, PR Code J1U                          49 50, 54, 55, 56, 58       760
2016         V6/3.0L         Dsl, PR Code J0R                                   94R 50, 54, 55, 56, 58        640         30       2014      V6/3.0L    Dsl, PR Code J0B                          49 33, 50, 54, 55, 56, 58 850
2016         V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58        640         30       2014      V6/3.0L    Dsl, AGM, PR Code J0B                     49 33, 50, 54, 55, 56, 58 92 Ah
2016         V6/3.0L         Dsl, PR Code J1N                                   94R 33, 50, 54, 55, 56, 58    800                  2014      V6/3.0L    Dsl, PR Code J1U                          49 50, 54, 55, 56, 58 95 Ah
2016         V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58    800                  2014      V6/3.0L    Dsl, PR Code J0R                          94R 50, 54, 55, 56, 58 640         30
2016         V6/3.0L         Dsl, PR Code J0Z                                   95R 50, 54, 55, 56, 58        850                  2014      V6/3.0L    Dsl, AGM, PR Code J1N                     94R 33, 50, 54, 55, 56, 58 75 Ah
2016         V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58        850                  2014      V6/3.0L    Dsl, PR Code J0R                          94R 50, 54, 55, 56, 58 80 Ah 30
2016         V6/3.0L         Dsl, PR Code J0P                                   95R 33, 50, 54, 55, 56, 58    950                  2014      V6/3.0L    Dsl, PR Code J1N                          94R 33, 50, 54, 55, 56, 58 800
2016         V6/3.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58    950                  2014      V6/3.0L    Dsl, PR Code J0Z                          95R 50, 54, 55, 56, 58 110 Ah
2015         L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28       2014      V6/3.0L    Dsl, PR Code J0Z                          95R 50, 54, 55, 56, 58 850
2015         L4/2.0L         PR Code J0L                                        48 50, 54, 55, 56, 58         570         29       2014      V6/3.0L    Dsl, PR Code J0P                          95R 33, 50, 54, 55, 56, 58 950
2015         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2012-09   V6/3.2L    PR Code J0N or J1L                        47 50, 54, 55, 56, 58       540    28
2015         L4/2.0L         PR Code J1U                                        49 50, 54, 55, 56, 58         760                  2012-09   V6/3.2L    PR Code J0L                               48 50, 54, 55, 56, 58       570    29
2015         L4/2.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58     850                  2012-09   V6/3.2L    PR Code J1D                               48 50, 54, 55, 56, 58       600
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                                                              See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                                                                 17
                                                                                             Original                                                                                                              Original
       Year        Engine                      Options                   BCI Group Size     Equipment     Fitment     Year      Engine                   Options                         BCI Group Size           Equipment    Fitment
                                                                             (notes)                       Code                                                                              (notes)                            Code
                                                                                            CCA/Rating                                                                                                            CCA/Rating
    Audi Q5 (continued)                                                                                             Audi R8 (continued)
    2012-09    V6/3.2L      AGM, PR Code J2D                           48 33, 50, 54, 55, 56, 58 68 Ah              2014      V8/4.2L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 68 Ah
    2012-09    V6/3.2L      PR Code J2D                                48 33, 50, 54, 55, 56, 58 680                2014      V8/4.2L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2012-09    V6/3.2L      PR Code J1U                                49 50, 54, 55, 56, 58       760              2012-10   V10/5.2L   PR Code J0L                                  48 50, 54, 55, 56, 58      570            29
    2012-09    V6/3.2L      PR Code J0B                                49 33, 50, 54, 55, 56, 58 850                2012-10   V10/5.2L   PR Code J2D                                  48 33, 50, 54, 55, 56, 58 68 Ah
    2012-09    V6/3.2L      AGM, PR Code J0B                           49 33, 50, 54, 55, 56, 58 92 Ah              2012-10   V10/5.2L   PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2012-09    V6/3.2L      PR Code J1U                                49 50, 54, 55, 56, 58 95 Ah                  2012-10   V10/5.2L   PR Code J1D                                  48 50, 54, 55, 56, 58      720
    2012-09    V6/3.2L      PR Code J0R                                94R 50, 54, 55, 56, 58 640          30       2012-10   V10/5.2L   PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2012-09    V6/3.2L      AGM, PR Code J1N                           94R 33, 50, 54, 55, 56, 58 75 Ah             2012-08   V8/4.2L    PR Code J0L                                  48 50, 54, 55, 56, 58      570            29
    2012-09    V6/3.2L      PR Code J1N                                94R 33, 50, 54, 55, 56, 58 800               2012-08   V8/4.2L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 68 Ah
                                                                                                                                                                                         33, 50, 54, 55, 56, 58
    2012-09    V6/3.2L      PR Code J0Z                                95R 50, 54, 55, 56, 58 110 Ah                2012-08   V8/4.2L    PR Code J2D                                  48                         680
    2012-09    V6/3.2L      PR Code J0Z                                95R 50, 54, 55, 56, 58 850                   2012-08   V8/4.2L    PR Code J1D                                  48 50, 54, 55, 56, 58      720
    2012-09    V6/3.2L      PR Code J0P                                95R 33, 50, 54, 55, 56, 58 950               2012-08   V8/4.2L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    Audi Q7                                                                                                         Audi RS 4
    2017       L4/2.0L      PR Code J2D                                48 33, 50, 54, 55, 56, 58 680                2008-07 V8/4.2L                                                   49 33, 50, 54, 55, 56      850
    2017       L4/2.0L      PR Code J0B                                49 33, 50, 54, 55, 56, 58 850                2008-07 V8/4.2L      AGM, PR Code J0B                             49 33, 50, 54, 55, 56, 58 92 Ah
    2017       L4/2.0L      PR Code J1N                                94R 33, 50, 54, 55, 56, 58 800               Audi RS 5
    2017       L4/2.0L      PR Code J0P                                95R 33, 50, 54, 55, 56, 58 950               2015      V8/4.2L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2017       V6/3.0L      PR Code J2D                                48 33, 50, 54, 55, 56, 58 680                2015      V8/4.2L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    2017       V6/3.0L      PR Code J0B                                49 33, 50, 54, 55, 56, 58 850                2015      V8/4.2L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2017       V6/3.0L      PR Code J1N                                94R 33, 50, 54, 55, 56, 58 800               2015      V8/4.2L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2017       V6/3.0L      PR Code J0P                                95R 33, 50, 54, 55, 56, 58 950               2015      V8/4.2L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2015       V6/3.0L      Dsl, Opt                                   49 50, 54, 55, 56, 58      760
                                                                                                                    2014-13   V8/4.2L    PR Code J1U                                  49 50, 54, 55, 56, 58      760
    2015       V6/3.0L      Opt                                        49 50, 54, 55, 56, 58      760
                                                                                                                    2014-13   V8/4.2L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2015       V6/3.0L      Dsl, Opt                                   49 33, 50, 54, 55, 56, 58 850
                                                                                                                    2014-13   V8/4.2L    Coupe, AGM, PR Code J0B                      49 33, 50, 54, 55, 56, 58 92 Ah
    2015       V6/3.0L      Dsl, Opt, AGM                              49 33, 50, 54, 55, 56, 58 850
                                                                                                                    2014-13   V8/4.2L    Coupe, PR Code J1U                           49 50, 54, 55, 56, 58 95 Ah
    2015       V6/3.0L      Gas, Opt, AGM                              49 33, 50, 54, 55, 56, 58 850
                                                                                                                    2014-13   V8/4.2L    Coupe, AGM, PR Code J0P                      95R 33, 50, 54, 55, 56, 58105 Ah
    2015       V6/3.0L      Opt                                        49 33, 50, 54, 55, 56, 58 850
    2015       V6/3.0L                                                 94R 50, 54, 55, 56, 58 640          30       2014-13   V8/4.2L    Coupe, PR Code J0Z                           95R 50, 54, 55, 56, 58 110 Ah
    2015       V6/3.0L      Dsl                                        94R 50, 54, 55, 56, 58 640          30       2014-13   V8/4.2L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2015       V6/3.0L      Dsl, Opt                                   95R 50, 54, 55, 56, 58 850                   2014-13   V8/4.2L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2015       V6/3.0L      Opt                                        95R 50, 54, 55, 56, 58 850                   2014      V8/4.2L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2015       V6/3.0L      Dsl, Opt                                   95R 33, 50, 54, 55, 56, 58 950               Audi RS 6
    2015       V6/3.0L      Dsl, Opt, AGM                              95R 33, 50, 54, 55, 56, 58 950               2004-03 V8/4.2L                                                   49 50                         760         33
    2015       V6/3.0L      Gas, Opt, AGM                              95R 33, 50, 54, 55, 56, 58 950               2004    V8/4.2L                                                   49 50                         850
    2015       V6/3.0L      Opt                                        95R 33, 50, 54, 55, 56, 58 950               2003    V8/4.2L                                                   49 50                         850
    2014-11    V6/3.0L      Dsl, PR Code J1U                           49 50, 54, 55, 58          760               Audi RS 7
    2014-11    V6/3.0L      PR Code J1U                                49 50, 54, 55, 58          760               2017      V8/4.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2014-11    V6/3.0L      Dsl, Opt                                   49 33, 50, 54, 55, 56      850               2017      V8/4.0L    PR Code J1U                                  49 50, 54, 55, 56, 58       760
    2014-11    V6/3.0L      Opt                                        49 33, 50, 54, 55, 56      850
                                                                                                                    2017      V8/4.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2014-11    V6/3.0L      AGM, PR Code J0B                           49 33, 50, 54, 55, 56, 58 92 Ah
                                                                                                                    2017      V8/4.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640                30
    2014-11    V6/3.0L      Dsl, AGM, PR Code J0B                      49 33, 50, 54, 55, 56, 58 92 Ah
                                                                                                                    2017      V8/4.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2014-11    V6/3.0L      Dsl                                        94R 50, 54, 55, 56         640      30
                                                                                                                    2017      V8/4.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2014-11    V6/3.0L      PR Code J0R                                94R 50, 54, 55, 56, 58 640          30
                                                                                                                    2017      V8/4.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2014-11    V6/3.0L      PR Code J0Z                                95R 50, 54, 55, 56, 58 850
    2014-11    V6/3.0L      AGM, PR Code J0P                           95R 33, 50, 54, 55, 56, 58 950               2016      V8/4.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2014-11    V6/3.0L      Dsl, AGM, PR Code J0P                      95R 33, 50, 54, 55, 56, 58 950               2016      V8/4.0L    PR Code J1U                                  49 50, 54, 55, 56, 58       760
    2014-10    V6/3.0L      Dsl, PR Code J0Z                           95R 50, 54, 55, 56, 58 850                   2016      V8/4.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2010-07    V6/3.6L      PR Code J1U                                49 50, 54, 55, 58          760               2016      V8/4.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640                30
    2010-07    V6/3.6L      PR Code J0Z                                95R 50, 54, 55, 56, 58 850                   2016      V8/4.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2010-07    V8/4.2L      PR Code J1U                                49 50, 54, 55, 58          760               2016      V8/4.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2010-07    V8/4.2L      PR Code J0Z                                95R 50, 54, 55, 56, 58 850                   2016      V8/4.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2010       V6/3.0L      Dsl, PR Code J1U                           49 50, 54, 55, 56, 58      760               2015      V8/4.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
    2010       V6/3.0L      Dsl, PR Code J0B                           49 33, 50, 54, 55, 56, 58 850                2015      V8/4.0L    PR Code J1U                                  49 50, 54, 55, 56, 58       760
    2010       V6/3.0L      Dsl                                        94R 50, 54, 55, 56, 58 640          30       2015      V8/4.0L    PR Code J0B                                  49 33, 50, 54, 55, 56, 58 850
    2010       V6/3.0L      Dsl, PR Code J0P                           95R 33, 50, 54, 55, 56, 58 950               2015      V8/4.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640                30
    2010       V6/3.6L      Opt                                        49 33, 50, 54, 55, 56      850               2015      V8/4.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
    2010       V6/3.6L                                                 94R 50, 54, 55, 56         640      30       2015      V8/4.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
    2010       V6/3.6L       Opt                                       95R 33, 50, 54, 55, 56 950                   2015      V8/4.0L    PR Code J0P                                  95R 33, 50, 54, 55, 56, 58 950
    2010       V8/4.2L       Opt                                       49 33, 50, 54, 55, 56      850               2014      V8/4.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 68 Ah
    2010       V8/4.2L                                                 94R 50, 54, 55, 56         640      30       2014      V8/4.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58 680
                                                                            33, 50, 54, 55, 56
    2010       V8/4.2L      Opt                                        95R                        950               2014      V8/4.0L    PR Code J1U                                  49 50, 54, 55, 56, 58       760
    2009       V6/3.0L      Dsl                                        49 50, 54, 55, 56, 58      760      33       2014      V8/4.0L    AGM, PR Code J0B                             49 33, 50, 54, 55, 56, 58 850
    2009       V6/3.0L      Dsl, Opt                                   95R 50, 54, 55, 56, 58 850                   2014      V8/4.0L    PR Code J0R                                  94R 50, 54, 55, 56, 58 640                30
    Audi R8                                                                                                         2014      V8/4.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 75 Ah
    2017        V10/5.2L PR Codes J0B+B0A, B0D, B0E, B0G, 49 33, 50, 54, 55, 56, 58 850                             2014      V8/4.0L    PR Code J1N                                  94R 33, 50, 54, 55, 56, 58 800
                                B0H, B0L, B0M, B0N, B0R, B0W,                                                       2014      V8/4.0L    PR Code J0Z                                  95R 50, 54, 55, 56, 58 850
                                B1C, B1P, B1Q, B1R, B1S, B2A, B2E,                                                  2014      V8/4.0L    AGM, PR Code J0P                             95R 33, 50, 54, 55, 56, 58 950
                                B2G, B2H, B3E, B3H, B4G, B1Z                                                        Audi S3
    2017        V10/5.2L PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800                   2017      L4/2.0L    PR Code J1L                                  47 50, 54, 55, 56, 58         540         28
    2015        V10/5.2L PR Code J2D                               48 33, 50, 54, 55, 56, 58 680                    2017      L4/2.0L    PR Code J1D                                  48 50, 54, 55, 56, 58         640
    2015        V8/4.2L PR Code J2D                                48 33, 50, 54, 55, 56, 58 680                    2017      L4/2.0L    PR Code J2D                                  48 33, 50, 54, 55, 56, 58     680
    2014        V10/5.2L PR Code J2D                               48 33, 50, 54, 55, 56, 58 68 Ah                  2016      L4/2.0L    PR Code J0N or J1L                           47 50, 54, 55, 56, 58         540         28
    2014        V10/5.2L PR Code J2D                               48 33, 50, 54, 55, 56, 58 680                    2016      L4/2.0L    PR Code J1D                                  48 50, 54, 55, 56, 58         640
    See page 88 for Footnotes. Selection may vary by warehouse.                                                                                 Note: PR codes are located on a tag near the spare tire or in the warranty booklet

                                                                                                                                                                                                                      Costco_001567
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                                                       929
18                                                                                                                                            Automotive/Light Truck
                                                                                                             Original                                                                                                      Original
    Year          Engine                          Options                            BCI Group Size         Equipment    Fitment     Year      Engine                 Options                        BCI Group Size       Equipment    Fitment
                                                                                         (notes)                          Code                                                                           (notes)                        Code
                                                                                                            CCA/Rating                                                                                                    CCA/Rating
Audi S3 (continued)                                                                                                                Audi S5 (continued)
2016         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2012-10   V8/4.2L    PR Code J1L                               47 50, 54, 55, 56, 58      540        28
2015         L4/2.0L         PR Code J0N or J1L                                 47 50                         540         28       2012-10   V8/4.2L    PR Code J0L                               48 50, 54, 55, 56, 58      570        29
2015         L4/2.0L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2012-10   V8/4.2L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2015         L4/2.0L         PR Code J2D                                        48 33, 50                     680                  2012-10   V8/4.2L    PR Code J0R                               94R 50, 54, 55, 56, 58 640            30
2015         L4/2.0L         PR Code J1P                                        N/A                           360                  2012-09   V8/4.2L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 68 Ah
2015         L4/2.0L         PR Code J2S                                        N/A                           480                  2012-09   V8/4.2L    PR Code J0L                               48 50, 54, 55, 56, 58 70 Ah           29
2015         L4/2.0L         PR Code J0S                                        N/A 59                        540                  2012-09   V8/4.2L    AGM, PR Code J0B                          49 33, 50, 54, 55, 56, 58 850
2015         L4/2.0L         PR Code J0T                                        N/A 59                        680                  2012-09   V8/4.2L    AGM, PR Code J0P                          95R 33, 50, 54, 55, 56, 58 950
Audi S4                                                                                                                            2012-08   V8/4.2L    PR Code J1U                               49 50, 54, 55, 56, 58      760
2016-15      V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58    800                  2012-08   V8/4.2L    PR Code J0R                               94R 50, 54, 55, 56, 58 80 Ah          30
2016-15      V6/3.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58    950                  2012-08   V8/4.2L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2016         V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2012      V8/4.2L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2016         V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58         760                  2009-08   V8/4.2L    PR Code J0R                               94R 50, 54, 55, 56, 58 640            30
2016         V6/3.0L         PR Code J0B, B0A, B0L, B0M, B0N,                   49 33, 50, 54, 55, 56, 58     850                  2009      V8/4.2L    PR Code J0N or J1L                        47 50, 54, 55, 56, 58      540        28
                             B0R, B1C, B1D, B1Q, B1Z, B2E,                                                                         2009      V8/4.2L    PR Code J0L                               48 50, 54, 55, 56, 58      570        29
                             B2H, B3D, B3E, B4G, B4K                                                                               2009      V8/4.2L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2016         V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                         Audi S6
2015         V6/3.0L         PR Code J1L                                        47 50, 54, 55, 56, 58       540           28       2017-16   V8/4.0L    PR Code J0L                               48 50, 54, 55, 56, 58      640        29
2015         V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58       570           29       2017-16   V8/4.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
                                                                                   33, 50, 54, 55, 56, 58
2015         V6/3.0L         PR Code J2D                                        48                          680                    2017-15   V8/4.0L    PR Code J1U                               49 50, 54, 55, 56, 58      760
2015         V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58       760                    2017-15   V8/4.0L    PR Code J0B                               49 33, 50, 54, 55, 56, 58 850
2015         V6/3.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                      2017-15   V8/4.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2015         V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640                30       2017-15   V8/4.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58 950
2015         V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                         2017      V8/4.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2014-13      V6/3.0L         PR Code J1L                                        47 50, 54, 55, 56, 58       540           28
                                                                                                                                   2017      V8/4.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640            30
2014-13      V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58       570           29
                                                                                                                                   2016      V8/4.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2014-13      V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 68 Ah
                                                                                   33, 50, 54, 55, 56, 58                          2016      V8/4.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640            30
2014-13      V6/3.0L         PR Code J2D                                        48                          680
                                                                                                                                   2015-14   V8/4.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640            30
2014-13      V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58 70 Ah               29
2014-10      V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58       760                    2015-13   V8/4.0L    PR Code J0L                               48 50, 54, 55, 56, 58      640        29
2014-10      V6/3.0L         AGM, PR Code J0B                                   49 33, 50, 54, 55, 56, 58 850                      2015      V8/4.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2014-10      V6/3.0L         PR Code J0R                                        94R 50, 55, 56, 58          640           30       2015      V8/4.0L    PR Code J0L                               48 50, 54, 55, 56, 58 70 Ah           29
2014-10      V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 75 Ah                   2015      V8/4.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2014-10      V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                         2014-13   V8/4.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 68 Ah
2014-10      V6/3.0L         AGM, PR Code J0P                                   95R 33, 50, 54, 55, 56, 58 950                     2014-13   V8/4.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
2014         V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800                     2014-13   V8/4.0L    PR Code J0L                               48 50, 54, 55, 56, 58 70 Ah           29
2012-10      V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800                     2014-13   V8/4.0L    PR Code J1U                               49 50, 54, 55, 56, 58      760
2009-04      V8/4.2L         PR Code J1U                                        49 50, 54, 55, 56, 58       760                    2014-13   V8/4.0L    AGM, PR Code J0B                          49 33, 54, 55, 56, 58      850
2009-04      V8/4.2L         PR Code J0R                                        94R 50, 55, 56, 58          640           30       2014-13   V8/4.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2009         V8/4.2L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                      2014-13   V8/4.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2009         V8/4.2L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800                     2014-13   V8/4.0L    AGM, PR Code J0P                          95R 33, 50, 54, 55, 56, 58 950
2009         V8/4.2L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                         2013      V8/4.0L    PR Code J0R                               94R 50, 54, 55, 56, 58 640            30
2009         V8/4.2L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58 950                     2011      V10/5.2L   PR Code J0L                               48 50, 54, 55, 56, 58      640        29
2002         V6/2.7L         Turbo                                              94R 50                      640           30       2011      V10/5.2L   PR Code J2D                               48 33, 50, 54, 55, 56, 58 68 Ah
2001-00      V6/2.7L                                                            48 50                       570           29       2011      V10/5.2L   PR Code J2D                               48 33, 50, 54, 55, 56, 58 680
1994-93      L5/2.2L         Turbo                                              41 50                       650                    2011      V10/5.2L   PR Code J0L                               48 50, 54, 55, 56, 58 70 Ah           29
Audi S5                                                                                                                            2011      V10/5.2L   PR Code J1U                               49 50, 54, 55, 56, 58      760
2017-16      V6/3.0L         PR Code J1L                                        47 50, 54, 55, 56, 58      540            28       2011      V10/5.2L   AGM, PR Code J0B                          49 33, 54, 55, 56, 58      850
2017-15      V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58      570            29       2011      V10/5.2L   PR Code J0R                               94R 50, 54, 55, 56, 58 640            30
2017-15      V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58      760                     2011      V10/5.2L   PR Code J0R                               94R 50, 54, 55, 56, 58 80 Ah          30
2017-15      V6/3.0L         PR Code J0B                                        49 33, 50, 54, 55, 56, 58 850                      2011      V10/5.2L   PR Code J1N                               94R 33, 50, 54, 55, 56, 58 800
2017-15      V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800                     2011      V10/5.2L   PR Code J0Z                               95R 50, 54, 55, 56, 58 850
2017-15      V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                         2011      V10/5.2L   AGM, PR Code J0P                          95R 33, 50, 54, 55, 56, 58 950
2017-15      V6/3.0L         PR Code J0P                                        95R 33, 50, 54, 55, 56, 58 950                     2010-08   V10/5.2L   Opt                                       49 50, 54, 55, 56          760        33
2017         V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                      2010-08   V10/5.2L   Opt                                       49 33, 50, 54, 55, 56      850
2017         V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640                30       2010-08   V10/5.2L   Opt                                       94R 50, 54, 55, 56         640        30
2016         V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                      2010-08   V10/5.2L   Opt                                       95R 50, 54, 55, 56         850
2016         V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640                30       2010-07   V10/5.2L                                             48 50, 54, 55, 56          570        29
2015         V6/3.0L         PR Code J1L                                        47 50, 54, 55, 56, 58      540            28       2007      V10/5.2L    Opt                                      49 50, 54, 55, 56          760        33
2015         V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                      2007      V10/5.2L    Opt                                      49 33, 50, 54, 55, 56      850
2015         V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640                30       2007      V10/5.2L    Opt                                      94R 50, 54, 55, 56         640        30
2014-12      V6/3.0L         PR Code J1N                                        94R 33, 50, 54, 55, 56, 58 800                     2007      V10/5.2L    Opt                                      95R 50, 54, 55, 56         850
2014-10      V6/3.0L         PR Code J1L                                        47 50, 54, 55, 56, 58      540            28       2003-02   V8/4.2L                                              49 50                      720        33
2014-10      V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58      570            29       1997-95   L5/2.2L                                              41 50                      650
2014-10      V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 68 Ah                    Audi S7
2014-10      V6/3.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58 680                      2017      V8/4.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58
                                                                                                                                                                                                                          680
2014-10      V6/3.0L         PR Code J0L                                        48 50, 54, 55, 56, 58 70 Ah               29       2017      V8/4.0L    PR Code J1U                               49 50, 54, 55, 56, 58   760
2014-10      V6/3.0L         PR Code J1U                                        49 50, 54, 55, 56, 58      760                     2017      V8/4.0L    PR Code J0B                               49 33, 50, 54, 55, 56, 58
                                                                                                                                                                                                                          850
2014-10      V6/3.0L         AGM, PR Code J0B                                   49 33, 50, 54, 55, 56, 58 850                      2017      V8/4.0L    PR Code J0R                               94R 50, 54, 55, 56, 58  640        30
2014-10      V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 640                30       2017      V8/4.0L    PR Code J1N                               94R 33, 50, 54, 55, 56, 58
                                                                                                                                                                                                                          800
2014-10      V6/3.0L         PR Code J0R                                        94R 50, 54, 55, 56, 58 80 Ah              30       2017      V8/4.0L    PR Code J0Z                               95R 50, 54, 55, 56, 58  850
2014-10      V6/3.0L         PR Code J0Z                                        95R 50, 54, 55, 56, 58 850                         2017      V8/4.0L    PR Code J0P                               95R 33, 50, 54, 55, 56, 58
                                                                                                                                                                                                                          950
2014-10      V6/3.0L         AGM, PR Code J0P                                   95R 33, 50, 54, 55, 56, 58 950                     2016      V8/4.0L    PR Code J2D                               48 33, 50, 54, 55, 56, 58
                                                                                                                                                                                                                          680
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                                                              See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                                                             19
                                                                                           Original                                                                                                           Original
        Year         Engine                         Options          BCI Group Size       Equipment    Fitment      Year     Engine                    Options                         BCI Group Size        Equipment    Fitment
                                                                         (notes)                        Code                                                                               (notes)                         Code
                                                                                          CCA/Rating                                                                                                         CCA/Rating
    Audi S7 (continued)                                                                                          Audi TT, TT quattro (continued)
    2016         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2009-08   L4/2.0L                                                  47 50, 54, 55, 56           480
    2016         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2009-08   V6/3.2L    w/o AGM, PR Code J0R                          94R 50, 54, 55, 56, 58 650             30
    2016         V8/4.0L        PR Code J0R                       94R 50, 54, 55, 56, 58       640      30       2009-08   V6/3.2L    AGM, PR Code JIN                              94R 33, 50, 54, 55, 56, 58 75 Ah
    2016         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2006-04   V6/3.2L    w/o AGM, PR Code J0R                          94R 50, 54, 55, 56, 58 650             30
    2016         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2006-03   L4/1.8L    PR Code J1D, Opt                              48 50, 54, 55, 56, 58 72 Ah
    2016         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2006-00   L4/1.8L                                                  47                          480        28
    2015         V8/4.0L        PR Code J2D                       48 33, 50, 54, 55, 56, 58    680               Audi V8 quattro
    2015         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               1994-92 V8/4.2L      32 Valve                                      41 50                      720
    2015         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               1991    V8/3.6L      32 Valve                                      41 50                      720
    2015         V8/4.0L        PR Code J0R                       94R 50, 54, 55, 56, 58       640      30       1990    V8/3.6L      32 Valve                                      41 50                      650
    2015         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800
                                                                                                                 Avanti Avanti
    2015         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850
                                                                                                                 2007-05 V8/4.6L                                                    96R                        590         32
    2015         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950
    2014-13      V8/4.0L        PR Code J2D                       48 33, 50, 54, 55, 56, 58    680               Bentley Arnage
    2014-13      V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2009-08   V8/6.8L    Lft Side Aux Battery                          34 50                      750
    2014-13      V8/4.0L        AGM, PR Code J0B                  49 33, 54, 55, 56, 58        850               2009-08   V8/6.8L    Rt Side                                       91 50                      700
    2014-13      V8/4.0L        PR Code J0R                       94R 50, 54, 55, 56, 58       640      30       2007-00   V8/6.8L                                                  91                         700
    2014-13      V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2001-99   V8/4.4L                                                  91                         700
    2014-13      V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               Bentley Azure
    2014-13      V8/4.0L        AGM, PR Code J0P                  95R 33, 50, 54, 55, 56, 58   950               2010-08   V8/6.8L    Lft Side Aux Battery                          34 50                      750
    Audi S8                                                                                                      2010-08   V8/6.8L    Rt Side                                       91 50                      700
    2017         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2007-06   V8/6.8L                                                  91                         700
    2017         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2003-96   V8/6.8L                                                  91                         700
    2017         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               Bentley Brooklands
    2017         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2009-08 V8/6.8L      Lft Side Aux Battery                          34 50                      750
    2017         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2009-08 V8/6.8L      Rt Side                                       91 50                      700
    2016         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               1998-93 V8/6.8L                                                    91                         700
    2016         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               Bentley Continental
    2016         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2014-13   V8/4.0L    Primary Battery - Rt Side                     47 50, 54                  610
    2016         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2014-13   V8/4.0L    Aux - Lft Side                                49 50, 54                  850
    2016         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2014      W12/6.0L   Primary Battery - Rt Side                     47 50, 54                  610
    2015         V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2014      W12/6.0L   Aux - Lft Side                                49 50, 54                  850
    2015         V8/4.0L        PR Code J0B                       49 33, 50, 54, 55, 56, 58    850               2013-09   W12/6.0L   Rt Side                                       47 54                      610
    2015         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               2013-09   W12/6.0L   Lft Side Aux Battery                          49 54                      850
    2015         V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850               2008-04   W12/6.0L   Rt Side                                       47                         650
    2015         V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950               2008-04   W12/6.0L   Lft Side Aux Battery                          49                         900
    2014-13      V8/4.0L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2003-90   V8/6.8L                                                  24                         650         22
    2014-13      V8/4.0L        AGM, PR Code J0B                  49 33, 54, 55, 56, 58        850               2003      W12/6.0L                                                 24                         650         22
    2014-13      V8/4.0L        PR Code J0Z                       95R 50, 54, 55, 56, 58       850
    2014-13      V8/4.0L        PR Code J0P                       95R 33, 50, 54, 55, 56, 58   950
                                                                                                                 Bentley Eight
    2014         V8/4.0L        PR Code J1N                       94R 33, 50, 54, 55, 56, 58   800               1991-90 V8/6.8L                                                    24                         800
    2013         V8/4.0L        PR Code 0K1                       94R 33, 50, 54, 55, 56, 58   800               Bentley Flying Spur
    2009-08      V10/5.2L       Opt                               49 33, 50, 54, 55, 56        850               2017-15 V8/4.0L                                                    47                         610
    2009         V10/5.2L                                         95R 50, 55                   650               2017-14 W12/6.0L                                                   47                         610
    2009         V10/5.2L                                         95R 50, 54, 55, 56           850               Bentley Mulsanne
    2008-07      V10/5.2L                                         95R 50, 55                   850               2014-13   V8/6.8L    Aux - Lft Side                                49 50, 54                  850
    2003-02      V8/4.2L        PR Code J1U                       49 50, 54, 55, 56, 58        720               2014-11   V8/6.8L    Primary Battery - Rt Side                     47 50, 54                  610
    2001         V8/4.2L        PR Code J1U                       49 50, 54, 55, 56, 58        760               2012-11   V8/6.8L    Aux - Lft Side                                49 50, 54                  850
    2001         V8/4.2L                                          49 50                        850               1992-90   V8/6.8L                                                  24                         800
    Audi SQ5                                                                                                     Bentley Turbo R
    2017         V6/3.0L                                          94R                          640      30       1998-90 V8/6.8L                                                    48                         700         29
    2016         V6/3.0L                                          94R                          640      30       BMW 1 Series M
    2015         V6/3.0L                                          94R 50, 55                   640      30
                                                                                                                 2011      L6/3.0L                                                  48 18, 33, 50, 54          760
    2014         V6/3.0L                                          94R                          640      30
                                                                                                                 BMW 128i
    Audi TT, TT quattro
                                                                                                                 2013-08   L6/3.0L    Option 1                                      48 18, 50, 54              570         29
    2017        L4/2.0L PR Code J2D                               48 33, 50, 54, 55, 56, 58    680
                                                                                                                 2013-08   L6/3.0L    w/AGM, Option 3                               48 18, 33, 50, 54          760
    2017        L4/2.0L PR Code J1U                               49 50, 54, 55, 56, 58        760
                                                                                                                 2013-08   L6/3.0L    Option 3                                      49 18, 50, 54, 56          720         33
    2017        L4/2.0L PR Code J0B                               49 33, 50, 54, 55, 56, 58    850
                                                                                                                 2013-08   L6/3.0L    w/AGM, Option 1                               49 18, 33, 50, 54          850
    2017        L4/2.0L PR Code J0R                               94R 50, 54, 55, 56, 58       640      30
                                                                                                                 2013-08   L6/3.0L    w/AGM, Option 2                               49 18, 33, 50, 54          900
    2017        L4/2.0L PR Code J1N                               94R 33, 50, 54, 55, 56, 58   800
                                                                                                                 2013-08   L6/3.0L    Option 2                                      94R 18, 50, 54             640         30
    2016        L4/2.0L PR Code J2D                               48 33, 50, 54, 55, 56, 58    680
    2016        L4/2.0L PR Code J1U                               49 50, 54, 55, 56, 58        760               BMW 135, 135is
    2016        L4/2.0L PR Code J0B                               49 33, 50, 54, 55, 56, 58    850               2013-08   L6/3.0L                                                  48 18, 50, 54              570         29
    2016        L4/2.0L PR Code J0R                               94R 50, 54, 55, 56, 58       640      30       2013-08   L6/3.0L    w/AGM, Option 1                               48 18, 33, 50, 54          760
    2016        L4/2.0L PR Code J1N                               94R 33, 50, 54, 55, 56, 58   800               2013-08   L6/3.0L    Option 2                                      49 18, 50, 54, 56          720         33
    2015-14 L4/2.0L Opt                                           94R 33, 50, 54, 55, 56       800               2013-08   L6/3.0L    w/AGM, Option 2                               49 18, 33, 50, 54, 56      850
    2015        L4/2.0L                                           47 50, 54, 55, 56            540               2013-08   L6/3.0L    w/AGM, Option 3                               49 18, 33, 50, 54, 56      900
    2015        L4/2.0L Opt                                       94R 50, 54, 55, 56           640      30       2013-08   L6/3.0L    Option 1                                      94R 18, 50, 54             640         30
    2014-09 L4/2.0L                                               47 50, 54, 55, 56            480               BMW 228i
    2014        L4/2.0L                                           47 50, 54, 55, 56            540               2016-14 L4/2.0L      Opt                                           49 33, 50, 54, 55, 56      900
    2014        L4/2.0L Opt                                       94R 50, 54, 55, 56           640      30       2016    L4/2.0L                                                    94R 33, 50, 54, 55, 56     800
    2013-12 L5/2.5L                                               47 50, 54, 55, 56            480               2015    L4/2.0L      Opt                                           49 33, 50, 54, 55, 56      850
    See page 88 for Footnotes. Selection may vary by warehouse.                                                                               Note: PR codes are located on a tag near the spare tire or in the warranty booklet

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20                                                                                                            Automotive/Light Truck
                                                                             Original                                                                                                       Original
  Year      Engine                 Options            BCI Group Size        Equipment    Fitment     Year      Engine                 Options                        BCI Group Size        Equipment    Fitment
                                                          (notes)                         Code                                                                           (notes)                         Code
                                                                            CCA/Rating                                                                                                     CCA/Rating
BMW 228i (continued)                                                                               BMW 325 Series (continued)
2015      L4/2.0L                                  94R 33, 50, 54, 55, 56     800                  2005-04   L6/2.5L    w/N52 Eng & AGM, Option 1                 48 18, 33, 50, 54          760
2014      L4/2.0L    Opt                           49 18, 33, 50, 54, 56      850                  2005-04   L6/2.5L    w/N52 Eng w/o AGM Option 3                49 18, 50, 54              720         33
2014      L4/2.0L                                  94R 18, 33, 50, 54, 56     800                  2005-04   L6/2.5L    w/N52 Eng & AGM, Option 2                 49 18, 33, 50              850
BMW 228i xDrive                                                                                    2005-04   L6/2.5L    w/N52 Eng & AGM, Option 3                 49 18, 33, 50              900
2016-15   L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900                  2005-04   L6/2.5L    w/M54 Eng                                 94R 18, 50, 54             640         30
2016      L4/2.0L                                  94R 33, 50, 54, 55, 56     800                  2005-04   L6/2.5L    w/M54 or N52 Eng w/o AGM,                 94R 18, 50, 54             640         30
2015      L4/2.0L    Opt                           49 33, 50, 54, 55, 56      850                                       Option 2
2015      L4/2.0L                                  94R 33, 50, 54, 55, 56     800                  2005-04   L6/2.5L    w/N52 Eng Opt                             94R 18, 50, 54             640         30
BMW 230i                                                                                           2005-03   L6/2.5L    325Ci SULEV w/AGM, Option 2               49 18, 33, 50              850
                                                                                                   2005-03   L6/2.5L    SULEV w/AGM, Option 1                     49 18, 33, 50              900
2017      L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900
                                                                                                   2005-01   L6/2.5L    Ex SULEV                                  94R 18, 50, 54             640         30
2017      L4/2.0L                                  94R 33, 50, 54, 55, 56     800
                                                                                                   2004      L6/2.5L    w/AGM, Option 2                           49 18, 33, 50              850
BMW 230i xDrive                                                                                    2004      L6/2.5L    AGM, Option 3                             49 18, 33, 50              900
2017      L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900                  2003-02   L6/2.5L    Ex SULEV, Option 1                        48 18, 50, 54              570         29
2017      L4/2.0L                                  94R 33, 50, 54, 55, 56     800                  2003-02   L6/2.5L    325i SULEV w/AGM, Option 1                49 18, 33, 50              850
BMW 318i, 318iS, 318Ti                                                                             2003-02   L6/2.5L    SULEV w/AGM, Option 2                     49 18, 33, 50              900
1999-96   L4/1.9L                                  91 50                      600                  2003-02   L6/2.5L    Ex SULEV, Option 2                        94R 18, 50, 54             640         30
1997-96   L4/1.9L    Ex Conv                       91 50                      600                  2003-01   L6/2.5L    X                                         48 18, 50, 54, 56          570         29
1997-96   L4/1.9L    Conv                          92 34, 50                  575                  2003-01   L6/2.5L    Opt                                       94R 18, 50, 54, 56         640         30
1995-91   L4/1.8L                                  91 50                      600                  2003      L6/2.5L    X                                         94R 18, 50, 54, 56         640         30
BMW 320i xDrive                                                                                    2001      L6/2.5L    Opt                                       48 18, 50, 54              570         29
2017      L4/2.0L                                  48 33, 50, 54, 55, 56      760                  2001      L6/2.5L    X                                         48 18, 50, 54              570         29
2017      L4/2.0L    Opt                           94R 33, 50, 54, 55, 56     800                  2001      L6/2.5L                                              94R 18, 50, 54             640         30
2016      L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900                  1995-92   L6/2.5L    Conv                                      92 34                      575
2016      L4/2.0L    Opt                           94R 33, 50, 54, 55, 56     800                  1995-92   L6/2.5L                                              92 50                      650
2015-13   L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900                  1995-92   L6/2.5L    Ex Conv                                   92 50                      650
2015      L4/2.0L    Opt                           49 18, 33, 50, 54, 56      850                  1991-90   L6/2.5L                                              91                         600
2015      L4/2.0L                                  94R 18, 33, 50, 54, 56     800                  BMW 328 Series
2014-13   L4/2.0L    Opt                           49 18, 33, 50, 54, 56      850                  2017      L4/2.0L    Dsl                                       48 33, 50, 54, 55, 56   760
2014-13   L4/2.0L                                  94R 18, 33, 50, 54, 56     800                  2017      L4/2.0L    Dsl, Opt                                  94R 33, 50, 54, 55, 56  800
BMW 320i, 320Xi                                                                                    2016      L4/2.0L                                              49 33, 50, 54, 55, 56   900
2017      L4/2.0L                                  48 33, 50, 54, 55, 56      760                  2016      L4/2.0L    Dsl, Opt                                  49 33, 50, 54, 55, 56   900
2017      L4/2.0L    Opt                           94R 33, 50, 54, 55, 56     800                  2016      L4/2.0L    Opt                                       49 33, 50, 54, 55, 56   900
2016      L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900                  2016      L4/2.0L                                              94R 33, 50, 54, 55, 56  800
2016      L4/2.0L    Opt                           94R 33, 50, 54, 55, 56     800                  2016      L4/2.0L    Dsl, Opt                                  94R 33, 50, 54, 55, 56  800
2015-13   L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900                  2015-14   L4/2.0L    Dsl, Opt                                  49 33, 50, 54, 55, 56   900
2015      L4/2.0L    Opt                           49 18, 33, 50, 54, 56      850                  2015      L4/2.0L    Opt                                       49 33, 50, 54, 55, 56   850
2015      L4/2.0L                                  94R 18, 33, 50, 54, 56     800                  2015      L4/2.0L                                              49 33, 50, 54, 55, 56   900
2014-13   L4/2.0L                                  94R 18, 33, 50, 54, 56     800                  2015      L4/2.0L    Opt                                       49 33, 50, 54, 55, 56   900
2014-12   L4/2.0L    Opt                           49 18, 33, 50, 54, 56      850
                                                                                                   2015      L4/2.0L                                              94R 33, 50, 54, 55, 56  800
2012      L4/2.0L    Opt                           49 33, 50, 54, 55, 56      900
                                                                                                   2014-13   L4/2.0L    Opt                                       49 18, 33, 50, 54, 56   850
2012      L4/2.0L                                  94R 18, 33, 50, 54         800
                                                                                                   2014-13   L4/2.0L                                              94R 18, 33, 50, 54, 56  800
2005-01   L6/2.2L                                  48 18, 50                  570         29
                                                                                                   2014      L4/2.0L    Option 1                                  49 18, 33, 50, 54, 56   850
2005-01   L6/2.2L    Opt                           94R 18, 50, 54, 56         640         30
1995-92   L6/2.0L                                  91 50                      600                  2014      L4/2.0L                                              49 33, 50, 54, 55, 56   900
                                                                                                   2014      L4/2.0L    Option 2                                  94R 18, 33, 50, 54, 56  800
BMW 323i, 323iS, 323Ci                                                                             2013      L4/2.0L    Opt                                       49 18, 33, 50, 54, 56   850
2011-06   L6/2.5L    w/o AGM, Option 1             48 18, 50                  570         29       2013      L4/2.0L                                              94R 18, 33, 50, 54, 56  800
2011-06   L6/2.5L    w/AGM, Option 1               48 18, 33, 50, 54          760
                                                                                                   2013      L6/3.0L                                              48 18, 50, 54, 56       570        29
2011-06   L6/2.5L    w/o AGM, Option 2             49 18, 50, 54, 56          720         33
                                                                                                   2013      L6/3.0L    Opt                                       48 18, 33, 50, 54, 56   760
2011-06   L6/2.5L    w/AGM, Option 2               49 18, 33, 50, 54, 56      850
                                                                                                   2013      L6/3.0L    Opt                                       49 18, 50, 54, 56       720        33
2011-06   L6/2.5L    w/AGM, Option 3               49 18, 33, 50, 54, 56      900
                                                                                                   2013      L6/3.0L    Opt                                       49 18, 33, 50, 54, 56   850
2011-06   L6/2.5L    Option 1                      94R 18, 50                 640         30
2000-99   L6/2.5L                                  94R 18, 50                 765         30       2013      L6/3.0L    Opt                                       49 18, 33, 50, 54, 56   900
2000      L6/2.5L    Ex Conv                       48 18, 33, 50, 54          750                  2013      L6/3.0L    Opt                                       94R 18, 50, 54, 56      640        30
2000      L6/2.5L    Conv                          94R 18, 50, 54, 56         640         30       2012-09   L6/3.0L    AGM, Option 3                             49 18, 33, 50, 54, 56   900
1999      L6/2.5L                                  94R 18, 50                 765         30       2012-09   L6/3.0L    w/o AGM, Option 3                         94R 18, 50, 54, 56      640        30
1998      L6/2.5L                                  91 50                      600                  2012-07   L6/3.0L    w/o AGM, Option 1                         48 18, 50, 54           570        29
1998      L6/2.5L                                  92 34, 50                  575                  2012-07   L6/3.0L    w/AGM, Option 1                           48 18, 33, 50, 54       760
BMW 325 Series                                                                                     2012-07   L6/3.0L    w/o AGM, Option 2                         49 18, 50, 54           720        33
                                                                                                   2012-07   L6/3.0L    AGM, Option 2                             49 18, 33, 50, 54, 56   850
2006-03   L6/2.5L    325Ci SULEV w/AGM, Option 2   49 18, 33, 50              850
2006-03   L6/2.5L    SULEV w/AGM, Option 1         49 18, 33, 50              900                  2012-07   L6/3.0L    w/AGM, Option 2                           49 18, 33, 50, 54, 56   850
2006-01   L6/2.5L    Ex SULEV                      94R 18, 50, 54             640         30       2012-07   L6/3.0L    w/AGM, Option 3                           49 18, 33, 50, 54, 56   900
2006      L6/3.0L    w/o AGM, Option 1             48 18, 50, 54              570         29       2012-07   L6/3.0L    w/o AGM, Option 3                         94R 18, 50, 54          640        30
2006      L6/3.0L    w/AGM, Option 1               48 18, 33, 50, 54          760                  2012      L4/2.0L    Opt                                       49 18, 33, 50, 54, 56   850
2006      L6/3.0L    w/o AGM, Option 2             49 18, 50, 54, 56          720         33       2012      L4/2.0L                                              94R 18, 33, 50, 54      800
2006      L6/3.0L    w/AGM, Option 3               49 18, 33, 50, 56          850                  2008-07   L6/3.0L    w/o AGM, Option 1                         48 18, 50, 54           570        29
2006      L6/3.0L    w/AGM, Option 2               49 18, 33, 50, 56          900                  2008-07   L6/3.0L    w/AGM, Option 1                           48 18, 33, 50, 54       760
2006      L6/3.0L    w/o AGM, Option 3             94R 18, 50, 54             640         30       2008-07   L6/3.0L    w/o AGM, Option 2                         49 18, 50, 54           720        33
2005-04   L6/2.5L    w/M54 Eng, Option 1           48 18, 50, 54              570         29       2008-07   L6/3.0L    AGM, Option 2                             49 18, 33, 50, 54, 56   850
2005-04   L6/2.5L    w/N52 Eng w/o AGM             48 18, 50, 54              570         29       2008-07   L6/3.0L    w/AGM, Option 2                           49 18, 33, 50, 54, 56   850
2005-04   L6/2.5L    w/N52 or M54 Eng w/o AGM,     48 18, 50, 54              570         29       2008-07   L6/3.0L    AGM, Option 3                             49 18, 33, 50, 54       900
                     Option 1                                                                      2008-07   L6/3.0L    w/AGM, Option 3                           49 18, 33, 50, 54, 56   900
                                                                                                                                                See page 88 for Footnotes. Selection may vary by warehouse.

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                                      929
    Automotive/Light Truck                                                                                                                                                                    21
                                                                                            Original                                                                                  Original
        Year         Engine                         Options          BCI Group Size        Equipment    Fitment     Year      Engine              Options      BCI Group Size        Equipment    Fitment
                                                                         (notes)                         Code                                                      (notes)                         Code
                                                                                           CCA/Rating                                                                                CCA/Rating
    BMW 328 Series (continued)                                                                                    BMW 428i
    2008-07      L6/3.0L        w/o AGM, Option 3                 94R 18, 50, 54             640         30       2016      L4/2.0L                         49 33, 50, 54, 55, 56      900
    2000         L6/2.8L        X                                 48 18, 50, 54              750         29       2015-14   L4/2.0L                         49 33, 50, 54, 55, 56      900
    2000         L6/2.8L        Opt                               94R 18, 50                 765         30       2015      L4/2.0L                         49 33, 50, 54, 55, 56      850
    1999-96      L6/2.8L        Conv                              92 34, 50                  575                  2014      L4/2.0L                         49 18, 33, 50, 54, 56      850
    1999         L6/2.8L                                          94R 18, 50                 765         30       BMW 428i Gran Coupe
    1998-96      L6/2.8L                                          92 50                      650                  2016      L4/2.0L                         49 33, 50, 54, 55, 56      900
    1998-96      L6/2.8L        Ex Conv                           92 50                      650                  2015      L4/2.0L                         49 33, 50, 54, 55, 56      900
    BMW 330Ci, 330i, 330xi                                                                                        BMW 428i xDrive
    2017         L4/2.0L                                          48 33, 50, 54, 55, 56      760                  2016      L4/2.0L                         49 33, 50, 54, 55, 56      900
    2017         L4/2.0L        Opt                               94R 33, 50, 54, 55, 56     800                  2015      L4/2.0L    Coupe                49 33, 50, 54, 55, 56      850
    2006         L6/3.0L                                          48 18, 50, 54              570         29       2015      L4/2.0L    Conv                 49 33, 50, 54, 55, 56      900
    2005-02      L6/3.0L                                          94R 18, 50, 54             640         30       2014      L4/2.0L                         49 18, 33, 50, 54, 56      850
    2001         L6/3.0L                                          94R 50                     765         30       2014      L4/2.0L    Conv                 49 33, 50, 54, 55, 56      900
    BMW 330e                                                                                                      BMW 428i xDrive Gran Coupe
    2017-16 L4/2.0L                                               48 33, 50, 54, 55, 56      760                  2016      L4/2.0L                         49 33, 50, 54, 55, 56      900
    2017-16 L4/2.0L             Opt                               49 33, 50, 54, 55, 56      900                  2015      L4/2.0L                         49 33, 50, 54, 55, 56      900
    2017-16 L4/2.0L             Opt                               94R 33, 50, 54, 55, 56     800                  BMW 430i
    BMW 330i GT xDrive                                                                                            2017      L4/2.0L                         49 33, 50, 54, 55, 56      900
    2017         L4/2.0L                                          49 33, 50, 54, 55, 56      900                  BMW 430i Gran Coupe
    BMW 330i xDrive                                                                                               2017      L4/2.0L                         49 33, 50, 54, 55, 56      900
    2017         L4/2.0L                                          48 33, 50, 54, 55, 56      760                  BMW 430i xDrive
    2017         L4/2.0L        Opt                               94R 33, 50, 54, 55, 56     800                  2017      L4/2.0L                         49 33, 50, 54, 55, 56      900
    BMW 335 Series                                                                                                BMW 430i xDrive Gran Coupe
    2016         L6/3.0L                                          49 33, 50, 54, 55, 56      900                  2017      L4/2.0L                         49 33, 50, 54, 55, 56      900
    2015         L6/3.0L        Opt                               49 33, 50, 54, 55, 56      850
    2015         L6/3.0L                                          49 33, 50, 54, 55, 56      900
                                                                                                                  BMW 435i
    2015         L6/3.0L                                          94R 33, 50, 54, 55, 56     800                  2016      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2014-13      L6/3.0L        Option 2                          49 18, 33, 50, 54, 56      900                  2015      L6/3.0L    Coupe                49 33, 50, 54, 55, 56      850
    2014         L6/3.0L        Opt                               49 18, 33, 50, 54, 56      850                  2015      L6/3.0L    Conv                 49 33, 50, 54, 55, 56      900
    2014         L6/3.0L        Option 1                          49 18, 33, 50, 54, 56      850                  2014      L6/3.0L                         49 18, 33, 50, 54, 56      850
    2014         L6/3.0L                                          94R 18, 33, 50, 54, 56     800                  2014      L6/3.0L    Conv                 49 33, 50, 54, 55, 56      900
    2014         L6/3.0L        Option 2                          94R 18, 33, 50, 54, 56     800                  BMW 435i Gran Coupe
    2013-07      L6/3.0L        w/o AGM, Option 3                 48 18, 50, 54              570         29       2016      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2013-07      L6/3.0L        w/AGM, Option 1                   48 18, 33, 50, 54          760                  2015      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2013-07      L6/3.0L        w/o AGM, Option 1                 49 18, 50, 54, 56          720         33       BMW 435i xDrive
    2013-07      L6/3.0L        w/AGM, Option 2                   49 18, 33, 50, 54, 56      850                  2016      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2013-07      L6/3.0L        w/AGM, Option 3                   49 18, 33, 50, 54, 56      900                  2015      L6/3.0L    Coupe                49 33, 50, 54, 55, 56      850
    2013-07      L6/3.0L        w/o AGM, Option 2                 94R 18, 50, 54             640         30       2015      L6/3.0L    Conv                 49 33, 50, 54, 55, 56      900
    2013         L6/3.0L                                          48 18, 50, 54, 56          570         29       2014      L6/3.0L                         49 18, 33, 50, 54, 56      850
    2013         L6/3.0L        Opt                               48 18, 33, 50, 54, 56      760                  BMW 435i xDrive Gran Coupe
    2013         L6/3.0L        Opt                               49 18, 50, 54, 56          720         33       2016      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2013         L6/3.0L        Option 1                          49 18, 33, 50, 54, 56      850                  2015      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2013         L6/3.0L        Option 2                          49 18, 33, 50, 54, 56      900
    2013         L6/3.0L        Opt                               94R 18, 50, 54, 56         640         30
                                                                                                                  BMW 440i
    2011-09      L6/3.0L        w/o AGM, Option 3                 48 18, 50, 54              570         29       2017      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2011-09      L6/3.0L        w/AGM, Option 1                   48 18, 33, 50, 54          760                  BMW 440i Gran Coupe
    2011-09      L6/3.0L        w/o AGM, Option 1                 49 18, 50, 54, 56          720         33       2017      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2011-09      L6/3.0L        w/AGM, Option 2                   49 18, 33, 50, 54, 56      850                  BMW 440i xDrive
    2011-09      L6/3.0L        w/AGM, Option 3                   49 18, 33, 50, 54, 56      900                  2017      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2011-09      L6/3.0L        w/o AGM, Option 2                 94R 18, 50, 54             640         30       BMW 440i xDrive Gran Coupe
    2008-07      L6/3.0L        w/o AGM, Option 3                 48 18, 50, 54              570         29
                                                                                                                  2017      L6/3.0L                         49 33, 50, 54, 55, 56      900
    2008-07      L6/3.0L        w/AGM, Option 1                   48 18, 33, 50, 54          760
    2008-07      L6/3.0L        w/o AGM, Option 1                 49 18, 50, 54, 56          720         33       BMW 525 Series
    2008-07      L6/3.0L        w/AGM, Option 2                   49 18, 33, 50, 54, 56      850                  2007-06   L6/3.0L    Option 1             49 18, 50, 54              720         33
    2008-07      L6/3.0L        w/AGM, Option 3                   49 18, 33, 50, 54, 56      900                  2007-06   L6/3.0L    Option 3             94R 18, 50, 54             640         30
    2008-07      L6/3.0L        w/o AGM, Option 2                 94R 18, 50, 54             640         30       2007-06   L6/3.0L    Option 2             95R 18, 50, 54             850
                                                                                                                  2005-02   L6/2.5L    Option 3             94R 18, 50, 54             640         30
    BMW 340i                                                                                                      2005      L6/2.5L    Opt                  49 18, 50                  900         33
    2017         L6/3.0L                                          48 33, 50, 54, 55, 56      760                  2004-02   L6/2.5L    Option 1             49 18, 50, 54              720         33
    2017         L6/3.0L        Opt                               94R 33, 50, 54, 55, 56     800                  2004-02   L6/2.5L    Option 2             95R 18, 50, 54             850
    2016         L6/3.0L                                          48 33, 50, 54, 55, 56      760                  2001      L6/2.5L                         49 50                      850         33
    2016         L6/3.0L        Opt                               49 33, 50, 54, 55, 56      900                  1995-93   L6/2.5L    Opt                  93 50                      800
    2016         L6/3.0L        Opt                               94R 33, 50, 54, 55, 56     800                  1995-91   L6/2.5L                         92 50                      650
    BMW 340i GT xDrive                                                                                            1993      L6/2.5L                         93 50                      800
    2017         L6/3.0L                                          49 33, 50, 54, 55, 56      900                  1993      L6/2.5L    Opt                  93 50                      800
    BMW 340i xDrive                                                                                               1990      L6/2.5L                         91 50                      600
    2017        L6/3.0L                                           48 33, 50, 54, 55, 56      760                  BMW 528 Series
    2017        L6/3.0L Opt                                       94R 33, 50, 54, 55, 56     800                  2016      L4/2.0L                         49 33, 50, 54, 55, 56      850
    2016        L6/3.0L                                           48 33, 50, 54, 55, 56      760                  2015      L4/2.0L                         49 33, 50, 54, 55, 56      850
    2016        L6/3.0L Opt                                       49 33, 50, 54, 55, 56      900                  2015      L4/2.0L    Opt                  95R 33, 50, 54, 55, 56     950
    2016        L6/3.0L Opt                                       94R 33, 50, 54, 55, 56     800                  2014      L4/2.0L                         49 18, 33, 50, 54, 56      850
    See page 88 for Footnotes. Selection may vary by warehouse.

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22                                                                                                      Automotive/Light Truck
                                                                       Original                                                                                                       Original
  Year      Engine                 Options      BCI Group Size        Equipment    Fitment     Year      Engine                 Options                        BCI Group Size        Equipment    Fitment
                                                    (notes)                         Code                                                                           (notes)                         Code
                                                                      CCA/Rating                                                                                                     CCA/Rating
BMW 528 Series (continued)                                                                   BMW 545i (continued)
2014      L4/2.0L    Opt                     49 18, 33, 50, 54, 56      900                  2005      V8/4.4L                                              94R 18, 50                 640         30
2014      L4/2.0L    Opt                     95R 33, 50, 54, 55, 56     950                  2005      V8/4.4L                                              95R 50, 54, 55, 56         850
2013-12   L4/2.0L    w/AGM, Option 1         49 18, 33, 50, 54          850                  2004      V8/4.4L    Opt                                       94R 50, 54, 55, 56         640         30
2013-12   L4/2.0L    w/AGM, Option 2         49 18, 33, 50, 54, 56      900                  2004      V8/4.4L                                              95R 18, 50                 850
2013-12   L4/2.0L    w/AGM, Option 3         94R 18, 33, 50, 54         800                  BMW 550 Series
2013-12   L4/2.0L    w/o AGM                 95R 18, 50, 54             950
                                                                                             2017-16   V8/4.4L                                              49 33, 50, 54, 55, 56      850
2011-10   L6/3.0L    w/AGM, Option 1         49 18, 33, 50, 54          850
2011-10   L6/3.0L    w/AGM, Option 2         49 18, 33, 50, 54, 56      900                  2016      V8/4.4L                                              49 33, 50, 54, 55, 56      850
2011-10   L6/3.0L    w/AGM, Option 3         94R 18, 33, 50, 54         800                  2015      V8/4.4L                                              49 33, 50, 54, 55, 56      850
2011-10   L6/3.0L    w/o AGM                 95R 18, 50, 54             950                  2015      V8/4.4L    Opt                                       95R 33, 50, 54, 55, 56     950
2010      L6/3.0L    w/AGM, Option 1         49 18, 33, 50, 54          850                  2014-13   V8/4.4L                                              49 18, 33, 50, 54, 56      900
2010      L6/3.0L    w/AGM, Option 2         49 18, 33, 50, 54, 56      900                  2014-10   V8/4.4L    Opt                                       49 18, 33, 50, 54, 56      850
2010      L6/3.0L    w/AGM, Option 3         94R 18, 33, 50, 54         800                  2014      V8/4.4L                                              49 18, 33, 50, 54, 56      850
2010      L6/3.0L    w/o AGM                 95R 18, 50, 54             950                  2014      V8/4.4L    Opt                                       49 18, 33, 50, 54, 56      850
2009-08   L6/3.0L    w/o AGM, Option 1       49 18, 50, 54              720         33       2014      V8/4.4L                                              49 18, 33, 54              900
2009-08   L6/3.0L    w/AGM                   49 18, 33, 50, 54, 56      850                  2014      V8/4.4L    Opt                                       95R 33, 50, 54, 55, 56     950
2009-08   L6/3.0L    w/o AGM, Option 2       94R 18, 50, 54             640         30       2013-11   V8/4.4L    Opt                                       49 18, 33, 50, 54, 56      850
2009-08   L6/3.0L    w/o AGM, Option 3       95R 18, 50, 54, 56         850                  2013-11   V8/4.4L    w/AGM, Option 2                           49 18, 33, 50, 54          850
2008      L6/3.0L    w/o AGM, Option 1       49 18, 50, 54              720         33       2013-11   V8/4.4L    w/AGM, Option 1                           49 18, 33, 50, 54          900
2008      L6/3.0L    w/AGM                   49 18, 33, 50, 54, 56      850
                                                                                             2013-11   V8/4.4L    w/o AGM                                   95R 18, 50, 54             950
2008      L6/3.0L    w/o AGM, Option 2       94R 18, 50, 54             640         30
2008      L6/3.0L    w/o AGM, Option 3       95R 18, 50, 54, 56         850                  2013      V8/4.4L                                              49 18, 33, 50, 54, 56      900
2000-97   L6/2.8L                            49 50                      850         33       2012-10   V8/4.4L                                              49 18, 33, 54              900
                                                                                             2010-06   V8/4.8L    w/o AGM, Option 1                         49 18, 50, 54              720         33
BMW 530 Series
                                                                                             2010-06   V8/4.8L    w/o AGM, Option 2                         49 18, 50, 56              850         33
2017      L4/2.0L                            47 33, 50, 54, 55, 56      680
                                                                                             2010-06   V8/4.8L    w/o AGM, Option 3                         94R 18, 50, 54             640         30
2017      L4/2.0L    Opt                     48 33, 50, 54, 55, 56      760
                                                                                             2010-06   V8/4.8L    w/o AGM, Option 4                         95R 18, 50, 54, 56         850
2017      L4/2.0L    Opt                     49 33, 50, 54, 55, 56      900
2007-02   L6/3.0L    w/AGM                   49 18, 33, 50, 54, 56      850                  BMW 640 Series
2007-02   L6/3.0L    Option 2                94R 18, 50, 54             640         30       2016      L6/3.0L                                              95R 33, 50, 54, 55, 56     950
2007-02   L6/3.0L    Option 3                95R 18, 50, 54, 56         850                  2015      L6/3.0L                                              49 33, 50, 54, 55, 56      850
2007-01   L6/3.0L    Option 1                49 18, 50, 54              720         33       2015      L6/3.0L    Opt                                       95R 33, 50, 54, 55, 56     950
1995-94   V8/3.0L                            93 50                      800                  2015      L6/3.0L    Aux Battery                               N/A 33, 50, 54             200
BMW 530i xDrive                                                                              2015      L6/3.0L    Aux Battery                               N/A 54, 33                 200
                                                                                             2014-13   L6/3.0L                                              49 18, 33, 54              850
2017      L4/2.0L                            47 33, 50, 54, 55, 56      680
                                                                                             2014-13   L6/3.0L    Opt                                       49 18, 33, 50, 54, 56      850
2017      L4/2.0L    Opt                     48 33, 50, 54, 55, 56      760
                                                                                             2014-13   L6/3.0L    Opt                                       95R 33, 50, 54, 55, 56     950
2017      L4/2.0L    Opt                     49 33, 50, 54, 55, 56      900
                                                                                             2014      L6/3.0L    Opt                                       49 18, 33, 54              850
BMW 535 Series                                                                               2014      L6/3.0L                                              49 18, 33, 54              900
2017-16   L6/3.0L                            49 33, 50, 54, 55, 56      850                  2014      L6/3.0L    Opt                                       95R 33, 50, 54, 55, 56     950
2016      L6/3.0L                            49 33, 50, 54, 55, 56      850                  2013      L6/3.0L                                              49 18, 33, 54              850
2015      L6/3.0L                            49 33, 50, 54, 55, 56      850                  2013      L6/3.0L    Opt                                       49 18, 33, 54              900
2015      L6/3.0L    Opt                     95R 33, 50, 54, 55, 56     950                  2012      L6/3.0L    w/AGM, Option 2                           49 18, 33, 50, 54, 56      850
2014      L6/3.0L                            49 18, 33, 50, 54, 56      850                  2012      L6/3.0L    w/AGM, Option 1                           49 18, 33, 50, 54          900
2014      L6/3.0L    Option 1                49 18, 33, 50, 54, 56      850                  2012      L6/3.0L    w/o AGM                                   95R 18, 50, 54             950
2014      L6/3.0L    Option 2                49 18, 33, 50, 54, 56      900
2014      L6/3.0L    Opt                     95R 33, 50, 54, 55, 56     950
                                                                                             BMW 645Ci
2013-11   L6/3.0L    w/AGM, Option 3         94R 18, 33, 50, 54         800                  2005-04 V8/4.4L                                                95R 18, 50                 850
2013-11   L6/3.0L    w/o AGM                 95R 18, 50, 54             950                  BMW 650 Series
2013-10   L6/3.0L    w/AGM, Option 1         49 18, 33, 50, 54, 56      900                  2016      V8/4.4L                                              95R 33, 50, 54, 55, 56     950
2013-08   L6/3.0L    w/AGM, Option 2         49 18, 33, 50, 54, 56      850                  2015      V8/4.4L                                              49 33, 50, 54, 55, 56      850
2010-08   L6/3.0L    w/o AGM, Option 1       49 18, 50, 54              720         33       2015      V8/4.4L    Opt                                       95R 33, 50, 54, 55, 56     950
2010-08   L6/3.0L    w/o AGM, Option 2       94R 18, 50, 54             640         30       2014-13   V8/4.4L    Opt                                       95R 33, 50, 54, 55, 56     950
2010-08   L6/3.0L    w/o AGM, Option 3       95R 18, 50, 54, 56         850                  2014-12   V8/4.4L                                              49 18, 33, 54              850
2008      L6/3.0L    w/o AGM, Option 1       49 18, 50, 54              720         33       2014      V8/4.4L    Opt                                       49 18, 33, 50, 54, 56      850
2008      L6/3.0L    w/AGM, Option 2         49 18, 33, 50, 54, 56      850                  2014      V8/4.4L    Opt                                       49 18, 33, 54              850
2008      L6/3.0L    w/o AGM, Option 2       94R 18, 50, 54             640         30       2014      V8/4.4L                                              49 18, 33, 54              900
2008      L6/3.0L    w/o AGM, Option 3       95R 18, 50, 54, 56         850                  2012      V8/4.4L    w/AGM                                     49 18, 33, 50, 54          900
1993-90   L6/3.5L                            93 50                      800                  2012      V8/4.4L    w/o AGM                                   95R 18, 50, 54             950
BMW 540i                                                                                     2010-06   V8/4.8L    w/AGM, Option 2                           49 18, 33, 50, 54, 56      850
2017      L6/3.0L                            47 33, 50, 54, 55, 56      680                  2010-06   V8/4.8L    w/AGM, Option 1                           49 18, 33, 50, 54          900
2017      L6/3.0L    Opt                     48 33, 50, 54, 55, 56      760                  2007-06   V8/4.8L    w/o AGM                                   95R 18, 50, 54, 56         850
2017      L6/3.0L    Opt                     49 33, 50, 54, 55, 56      900                  BMW 735i
2003-02   V8/4.4L                            49 18, 50                  720         33       1992-90 L6/3.5L                                                93                         800
2003      V8/4.4L    w/AGM                   49 18, 33, 50              900                  BMW 735iL
2001-97   V8/4.4L                            49 50                      850         33       1992-90 L6/3.5L                                                93                         800
1995-94   V8/4.0L                            93 50                      800                  BMW 740 Series
BMW 540i xDrive                                                                              2017      L6/3.0L                                              47 33, 50, 54, 55, 56   680
2017      L6/3.0L                            47 33, 50, 54, 55, 56      680                  2016      L6/3.0L                                              47 33, 50, 54, 55, 56   680
2017      L6/3.0L    Opt                     48 33, 50, 54, 55, 56      760                  2015      L6/3.0L                                              49 33, 50, 54, 55, 56   850
2017      L6/3.0L    Opt                     49 33, 50, 54, 55, 56      900                  2014-11   L6/3.0L    Opt                                       49 18, 33, 50, 54, 56   850
BMW 545i                                                                                     2014-11   L6/3.0L                                              49 18, 33, 54           900
2005-04 V8/4.4L      Opt                     49  50, 54, 55, 56
                                                                        720         33       2001      V8/4.4L                                              95R 18, 50              850
2005-04 V8/4.4L      Opt                     49 33, 50, 54, 55, 56      850                  2000-96   V8/4.4L                                              95R 18, 50              950
                                                                                                                                          See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                                       23
                                                                                            Original                                                                                     Original
        Year         Engine                         Options          BCI Group Size        Equipment    Fitment     Year      Engine                 Options      BCI Group Size        Equipment    Fitment
                                                                         (notes)                         Code                                                         (notes)                         Code
                                                                                           CCA/Rating                                                                                   CCA/Rating
    BMW 740 Series (continued)                                                                                    BMW ActiveHybrid 7
    1995    V8/4.0L                                               95R 50                     950                  2015      L6/3.0L    Hybrid                  49 33, 50, 54, 55, 56      850
    1994-93 V8/4.0L                                               93 50                      800                  2014-13   L6/3.0L    Hybrid, Opt             49 18, 33, 50, 54, 56      900
    BMW 740i xDrive                                                                                               2014      L6/3.0L    Hybrid                  49 18, 33, 50, 54, 56      850
    2017         L6/3.0L                                          47 33, 50, 54, 55, 56      680                  2013      L6/3.0L    Opt                     49 18, 33, 50, 54, 56      850
    BMW 740Ld xDrive                                                                                              2013      L6/3.0L                            94R 18, 33, 50, 54         800
    2015         L6/3.0L                                          49 33, 50, 54, 55, 56      850                  BMW Alpina B6 xDrive Gran Coupe
    BMW 745i, 745 Li                                                                                              2016-15 V8/4.4L                              95R 33, 50, 54, 55, 56     950
    2005-02      V8/4.4L        w/AGM                             49 18, 33, 50, 56          900                  BMW Alpina B7
    2003         V8/4.4L                                          95R 18, 50                 800                  2015      V8/4.4L                            49 33, 50, 54, 55, 56      850
    2002         V8/4.4L                                          95R 33, 50, 55             800                  2014      V8/4.4L    Opt                     49 18, 33, 50, 54, 56      850
    2002         V8/4.4L                                          95R 18, 50                 850                  2014      V8/4.4L                            49 18, 33, 54              900
    BMW 750 Series                                                                                                2013-11   V8/4.4L    w/AGM                   49 18, 33, 50, 54          850
    2017         V8/4.4L                                          47 33, 50, 54, 55, 56      680                  2013-11   V8/4.4L    w/AGM, Incl xDrive      49 18, 33, 50, 54          900
    2016         V8/4.4L                                          47 33, 50, 54, 55, 56      680                  2008-07   V8/4.4L                            49 50                      720         33
    2015         V8/4.4L                                          49 33, 50, 54, 55, 56      850                  BMW Alpina B7 xDrive
    2014-11      V8/4.4L                                          49 18, 33, 54              900                  2015      V8/4.4L                            49 33, 50, 54, 55, 56      850
    2014-10      V8/4.4L        Opt                               49 18, 33, 50, 54, 56      850                  2014      V8/4.4L    Opt                     49 18, 33, 50, 54, 56      850
    2012-11      V8/4.4L        w/AGM Opt 2 Incl ActiveHybrid     49 18, 33, 50, 54          850                  2014      V8/4.4L                            49 18, 33, 54              900
    2012-11      V8/4.4L        w/AGM Opt 1 Incl ActiveHybrid     49 18, 33, 50, 54          900                  2013-11   V8/4.4L    w/AGM                   49 18, 33, 50, 54          850
    2011-10      V8/4.4L        w/AGM, Option 1                   49 18, 33, 50, 54          900                  2013-11   V8/4.4L    w/AGM, Incl xDrive      49 18, 33, 50, 54          900
    2010-09      V8/4.4L        w/AGM, Option 1                   49 18, 33, 50, 54          900
    2009         V8/4.4L        Opt                               49 33, 50, 54, 55, 56      850
                                                                                                                  BMW Alpina B7L
    2009         V8/4.4L        w/AGM, Option 1                   49 18, 33, 50, 54          900                  2015      V8/4.4L                            49 33, 50, 54, 55, 56      850
    2008-06      V8/4.8L        w/AGM, Option 2                   49 18, 33, 50, 54          850                  2014      V8/4.4L    Opt                     49 18, 33, 50, 54, 56      850
    2008-06      V8/4.8L        w/AGM, Option 1                   49 18, 33, 50, 54          900                  2014      V8/4.4L                            49 18, 33, 54              900
    2001         V12/5.4L       Aux Battery                       48 50                      650         29       2013-11   V8/4.4L    w/AGM                   49 18, 33, 50, 54          850
    2001         V12/5.4L                                         95R 50                     850                  2013-11   V8/4.4L    w/AGM, Incl xDrive      49 18, 33, 50, 54          900
    2000-95      V12/5.4L                                         95R 50                     950                  BMW Alpina B7L xDrive
    1999         V12/5.4L       Aux Battery                       48 50                      650         29       2015      V8/4.4L                            49 33, 50, 54, 55, 56      850
    1994-90      V12/5.0L                                         93 50                      800                  2014      V8/4.4L    Opt                     49 18, 33, 50, 54, 56      850
    BMW 760i, 760Li                                                                                               2014      V8/4.4L                            49 18, 33, 54              900
    2015         V12/6.0L                                         49 33, 50, 54, 55, 56      850                  2013-11   V8/4.4L    w/AGM                   49 18, 33, 50, 54          850
    2014         V12/6.0L Opt                                     49 18, 33, 50, 54, 56      850                  2013-11   V8/4.4L    w/AGM, Incl xDrive      49 18, 33, 50, 54          900
    2014         V12/6.0L                                         49 18, 33, 54              900                  BMW M2
    2013-10      V12/6.0L w/AGM, Option 2                         49 18, 33, 50, 54          850                  2017-16 L6/3.0L      Opt                     49 33, 50, 54, 55, 56      900
    2013-10      V12/6.0L w/AGM, Option 1                         49 18, 33, 50, 54          900                  2017-16 L6/3.0L                              94R 33, 50, 54, 55, 56     800
    2008-06      V12/6.0L                                         49 18, 50                  720         33
    2006         V12/6.0L                                         49 18, 50                  720         33       BMW M235i
    2005-03      V12/6.0L                                         49 18, 50                  900         33       2016      L6/3.0L    Conv or HD              49 33, 50, 54, 55, 56      900
    BMW 840Ci                                                                                                     2016      L6/3.0L                            94R 33, 50, 54, 55, 56     800
                                                                                                                  2015      L6/3.0L    Coupe, Opt              49 33, 50, 54, 55, 56      850
    1997-96      V8/4.4L        Opt                               91 50                      600
    1997-96      V8/4.4L                                          93 50                      800                  2015      L6/3.0L    Conv                    49 33, 50, 54, 55, 56      900
    1995-94      V8/4.0L        Opt                               91 50                      600                  2015      L6/3.0L    Coupe                   94R 33, 50, 54, 55, 56     800
    1995         V8/4.0L                                          93 50                      600                  2014      L6/3.0L    Opt                     49 18, 33, 50, 54, 56      850
    1994         V8/4.0L                                          93 50                      800                  2014      L6/3.0L    Conv or HD              49 33, 50, 54, 55, 56      900
    BMW 850 Series                                                                                                2014      L6/3.0L                            94R 18, 33, 50, 54, 56     800
    1997-95      V12/5.4L       Opt                               91 50                      600                  BMW M235i xDrive
    1997-95      V12/5.4L                                         93 50                      800                  2016      L6/3.0L    Conv or HD              49 33, 50, 54, 55, 56      900
    1995-94      V12/5.6L       Opt                               91 50                      600                  2016      L6/3.0L                            94R 33, 50, 54, 55, 56     800
    1995-94      V12/5.6L                                         93 50                      800                  2015      L6/3.0L    Opt                     49 33, 50, 54, 55, 56      850
    1994-93      V12/5.0L       Opt                               91 50                      600                  2015      L6/3.0L                            94R 33, 50, 54, 55, 56     800
    1994-93      V12/5.0L                                         93 50                      800                  BMW M240i
    1992-91      V12/5.0L       Opt                               91 50                      600
                                                                                                                  2017      L6/3.0L                            94R 33, 50, 54, 55, 56     800
    1992-91      V12/5.0L                                         93 50                      800
    BMW ActiveHybrid 3                                                                                            BMW M240i xDrive
    2015         L6/3.0L        Hybrid, Opt                       49 33, 50, 54, 55, 56      850                  2017      L6/3.0L                            94R 33, 50, 54, 55, 56     800
    2015         L6/3.0L        Hybrid                            94R 33, 50, 54, 55, 56     800                  BMW M3
    2014         L6/3.0L        Hybrid, Opt                       49 18, 33, 50, 54, 56      850                  2013-08   V8/4.0L    w/o AGM, Option 3       48 18, 50, 54              570         29
    2014         L6/3.0L        Hybrid                            94R 18, 33, 50, 54, 56     800                  2013-08   V8/4.0L    w/AGM, Option 1         48 18, 33, 50, 54          760
    2013         L6/3.0L        Opt                               49 18, 33, 50, 54, 56      850                  2013-08   V8/4.0L    w/o AGM, Option 2       49 18, 50, 54, 56          720         33
    2013         L6/3.0L                                          94R 18, 33, 50, 54         800                  2013-08   V8/4.0L    w/AGM, Option 3         49 18, 33, 50, 54, 56      850
    BMW ActiveHybrid 5                                                                                            2013-08   V8/4.0L    w/AGM, Option 2         49 18, 33, 50, 54, 56      900
    2016         L6/3.0L        Hybrid                            49 33, 50, 54, 55, 56      850                  2013-08   V8/4.0L    w/o AGM, Option 1       94R 18, 50, 54             640         30
    2015         L6/3.0L        Hybrid                            49 33, 50, 54, 55, 56      850                  2006      L6/3.2L                            48 18, 50                  570         29
    2015         L6/3.0L        Hybrid, Opt                       95R 33, 50, 54, 55, 56     950
                                                                                                                  2005-02   L6/3.2L                            94R 50                     640         30
    2014         L6/3.0L        Hybrid, Opt                       49 18, 33, 50, 54, 56      850
    2014         L6/3.0L        Hybrid                            49 18, 33, 50, 54, 56      900                  2001      L6/3.2L                            94R 50                     765         30
    2014         L6/3.0L        Hybrid, Opt                       95R 33, 50, 54, 55, 56     950                  1999-98   L6/3.2L    Conv                    92 34, 50                  575
    2013-12      L6/3.0L        w/AGM, Option 2                   49 18, 33, 50, 54, 56      850                  1999-96   L6/3.2L    Ex Conv                 92 50                      650
    2013-12      L6/3.0L        w/AGM, Option 3                   49 18, 33, 50, 54, 56      900                  1999-96   L6/3.2L                            92 47, 50                 75 Ah
    2013-12      L6/3.0L        w/o AGM                           94R 18, 50, 54, 56         800         30       1995      L6/3.0L    Ex Conv                 92 50                      650
    See page 88 for Footnotes. Selection may vary by warehouse.

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24                                                                                                        Automotive/Light Truck
                                                                         Original                                                                                                       Original
  Year      Engine                 Options      BCI Group Size          Equipment    Fitment     Year      Engine                     Options                    BCI Group Size        Equipment    Fitment
                                                    (notes)                           Code                                                                           (notes)                         Code
                                                                        CCA/Rating                                                                                                     CCA/Rating
BMW M3 (continued)                                                                             BMW X3 (continued)
1995    L6/3.0L                              92 47, 50                   75 Ah                 2015      L4/2.0L                                              49 33, 50, 54, 55, 56      850
1994    L6/3.0L                              92 50                        575                  2015      L4/2.0L    Opt                                       94R 33, 50, 54, 55, 56     800
1991-90 L4/2.3L                              91                           600                  2015      L4/2.0L    Opt                                       95R 33, 50, 54, 55, 56     950
BMW M5                                                                                         2015      L6/3.0L                                              49 33, 50, 54, 55, 56      850
2016      V8/4.4L                            49 33, 50, 54, 55, 56        850                  2015      L6/3.0L    Opt                                       94R 33, 50, 54, 55, 56     800
2015      V8/4.4L                            49 33, 50, 54, 55, 56        850                  2014-13   L4/2.0L                                              49 18, 33, 50, 54, 56      900
2015      V8/4.4L    Opt                     95R 33, 50, 54, 55, 56       950                  2014-13   L6/3.0L                                              49 18, 33, 50, 54, 56      900
2014-12   V8/4.4L    Opt                     49 18, 33, 50, 54, 56        850                  2014      L4/2.0L    Option 2                                  49 18, 33, 50, 54, 56      850
2014-12   V8/4.4L                            49 18, 33, 54                900                  2014      L4/2.0L    Opt                                       94R 18, 33, 50, 54, 56     800
2014-12   V8/4.4L    Opt                     95R 33, 50, 54, 55, 56       950                  2014      L6/3.0L    Option 3                                  49 18, 33, 50, 54, 56      850
2010-06   V10/5.0L   w/o AGM, Option 1       49 18, 50, 54, 56            720         33       2014      L6/3.0L    Opt                                       94R 33, 50, 54, 55, 56     800
2010-06   V10/5.0L   w/AGM, Option 1         49 18, 33, 50, 54, 56        850                  2014      L6/3.0L    Opt                                       94R 18, 33, 50, 54, 56     900
2010-06   V10/5.0L   w/o AGM, Opt            94R 18, 50, 54               640         30       2013      L4/2.0L    Option 1                                  49 18, 33, 50, 54, 56      850
2010-06   V10/5.0L   w/o AGM, Option 2       95R 18, 50, 54, 56           850                  2013      L4/2.0L    Option 2                                  94R 18, 33, 50, 54, 56     800
2003      V8/5.0L                            95R 50                       800                  2013      L4/2.0L    Opt                                       95R 50, 54, 55, 56         950
2002-01   V8/5.0L                            95R 50                       850                  2013      L6/3.0L    Option 1                                  49 18, 33, 50, 54, 56      850
2000      V8/5.0L                            95R 50                       950                  2013      L6/3.0L    Option 2                                  94R 18, 33, 50, 54, 56     800
1993-91   L6/3.6L                            93 50                        800                  2013      L6/3.0L    Opt                                       95R 50, 54, 55, 56         950
                                                                                               2012-11   L6/3.0L    w/AGM, Option 2                           94R 18, 33, 50, 54         800
BMW M6                                                                                         2012-11   L6/3.0L    w/o AGM                                   95R 18, 50, 54             950
2016      V8/4.4L                            95R 33, 50, 54, 55, 56       950                  2012-04   L6/3.0L    w/AGM, Option 1                           49 18, 33, 50, 54, 56      850
2015      V8/4.4L                            49 33, 50, 54, 55, 56        850                  2012-04   L6/3.0L    w/AGM, Option 3                           49 18, 33, 50, 54, 56      900
2015      V8/4.4L    Opt                     95R 33, 50, 54, 55, 56       950                  2010-04   L6/3.0L    w/o AGM, Option 2                         48 18, 50, 54              570         29
2014-13   V8/4.4L    Opt                     95R 33, 50, 54, 55, 56       950                  2010-04   L6/3.0L    w/o AGM, Option 1                         49 18, 50, 54, 56          720         33
2014-12   V8/4.4L    Opt                     49 18, 33, 50, 54, 56        850                  2006-04   L6/2.5L                                              48 18, 50, 56              570         29
2014      V8/4.4L                            49 18, 33, 50, 54, 56        900                  2006-04   L6/2.5L    Opt                                       49 33, 50, 54, 55, 56      850
2013-12   V8/4.4L                            49 18, 33, 54                900                  2006-04   L6/2.5L    Opt                                       49 33, 50, 54, 55, 56      900
2012      V8/4.4L    Opt                     95R 50, 54, 55, 56           950                  2006      L6/2.5L    Opt                                       49 50, 54, 55, 56          720         33
2010-06   V10/5.0L   w/AGM, Option 2         49 18, 33, 50, 54            850                  2005-04   L6/2.5L    Opt                                       49 18, 50, 56              720         33
2010-06   V10/5.0L   w/AGM, Option 1         49 18, 33, 50, 54            900
                                                                                               BMW X4
BMW M6 Gran Coupe                                                                              2017-16   L4/2.0L    Opt                                       94R 33, 50, 54, 55, 56     800
                                                   33, 50, 54, 55, 56
2016      V8/4.4L                            95R                          950                  2017-16   L6/3.0L                                              49 33, 50, 54, 55, 56      850
2015      V8/4.4L                            49 33, 50, 54, 55, 56        850                  2017-16   L6/3.0L    Opt                                       94R 33, 50, 54, 55, 56     800
2015      V8/4.4L    Opt                     95R 33, 50, 54, 55, 56       950                  2017      L4/2.0L                                              49 33, 50, 54, 55, 56      850
2014      V8/4.4L                            49 18, 33, 50, 54, 56        850                  2016      L4/2.0L                                              49 33, 50, 54, 55, 56      850
2014      V8/4.4L    Opt                     95R 33, 50, 54, 55, 56       950                  2015      L4/2.0L                                              49 33, 50, 54, 55, 56      850
BMW X1                                                                                         2015      L4/2.0L    Opt                                       94R 33, 50, 54, 55, 56     800
2017-16   L4/2.0L    28i                     94R 33, 50, 54, 55, 56       800                  2015      L6/3.0L                                              49 33, 50, 54, 55, 56      850
2017      L4/2.0L    28iX                    48 33, 50, 54, 55, 56        760                  2015      L6/3.0L    Opt                                       94R 33, 50, 54, 55, 56     800
2015      L4/2.0L                            48 50, 54, 55, 56            570         29       BMW X5
2015      L4/2.0L    Opt                     94R 33, 50, 54, 55, 56       800                  2017-14   L6/3.0L    Dsl, Opt                                  49 33, 50, 54, 55, 56
                                                                                                                                                                                  900
2015      L6/3.0L                            48 50, 54, 55, 56            570         29       2017-14   L6/3.0L    Gas, Opt                                  49 33, 50, 54, 55, 56
                                                                                                                                                                                  900
2015      L6/3.0L    Opt                     48 33, 50, 54, 55, 56        760                  2017-14   V8/4.4L    Opt                                       49 33, 50, 54, 55, 56
                                                                                                                                                                                  900
2015      L6/3.0L    Opt                     94R 50, 54, 55, 56           640         30       2017      L4/2.0L    Hybrid, Opt                               49 33, 50, 54, 55, 56
                                                                                                                                                                                  900
2015      L6/3.0L    Opt                     94R 33, 50, 54, 55, 56       800                  2016      L4/2.0L    Hybrid, Opt                               49 33, 50, 54, 55, 56
                                                                                                                                                                                  900
2014-13   L4/2.0L                            48 18, 54                    570         29       2016      L4/2.0L    Hybrid                                    95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2014-13   L6/3.0L                            48 18, 54                    570         29       2016      L6/3.0L    Dsl                                       95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2014      L4/2.0L    Option 1                48 18, 33, 50, 54, 56        760                  2016      L6/3.0L    Gas                                       95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2014      L4/2.0L    Option 2                94R 18, 50, 54, 56           640         30       2016      V8/4.4L                                              95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2014      L4/2.0L    Option 3                94R 18, 33, 50, 54, 56       800                  2015      L6/3.0L    Dsl                                       95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2014      L6/3.0L    Option 1                48 18, 33, 50, 54, 56        760                  2015      L6/3.0L    Gas                                       95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2014      L6/3.0L    Option 2                94R 18, 50, 54, 56           640         30       2015      V8/4.4L                                              95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2014      L6/3.0L    Option 3                94R 18, 33, 50, 54, 56       800                  2014      L6/3.0L    Dsl                                       95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2013      L4/2.0L    Opt                     48 18, 33, 50, 54, 56        760                  2014      L6/3.0L    Gas                                       95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2013      L4/2.0L    w/o AGM                 94R 18, 50, 54, 56           640         30       2014      V8/4.4L                                              95R 33, 50, 54, 55, 56
                                                                                                                                                                                  950
2013      L4/2.0L    w/AGM                   94R 18, 33, 50, 54, 56       800                  2013-11   L6/3.0L    Dsl, Opt                                  49 33, 50, 54, 55, 56
                                                                                                                                                                                  850
2013      L6/3.0L    Opt                     48 18, 33, 50, 54, 56        760                  2013      L6/3.0L    Dsl                                       48 50, 54, 55, 56   570        29
2013      L6/3.0L    w/o AGM                 94R 18, 50, 54, 56           640         30       2013      L6/3.0L    Opt                                       48 18, 54           570        29
2013      L6/3.0L    w/AGM                   94R 18, 33, 50, 54, 56       800                  2013      L6/3.0L    Gas, Opt                                  49 18, 33, 50, 54, 56
                                                                                                                                                                                  850
2012      L4/2.0L    w/o AGM, Option 1       48 18, 50, 54                570         29       2013      L6/3.0L    Dsl                                       49 18, 33, 50, 54, 56
                                                                                                                                                                                  900
2012      L4/2.0L    w/AGM, Option 1         48 18, 33, 50, 54            760                  2013      L6/3.0L    Gas                                       49 18, 33, 50, 54, 56
                                                                                                                                                                                  900
2012      L4/2.0L    w/o AGM, Option 2       94R 18, 50, 54               640         30       2013      V8/4.4L    Opt                                       48 18, 50, 54, 56   570        29
2012      L4/2.0L    w/AGM, Option 2         94R 18, 33, 50, 54           800                  2013      V8/4.4L    X                                         48 18, 50, 54, 56   570        29
BMW X3                                                                                         2013      V8/4.4L    Opt                                       49 18, 33, 50, 54, 56
                                                                                                                                                                                  850
2017-16   L4/2.0L                            94R 33, 50, 54, 55, 56       800                  2013      V8/4.4L                                              49 18, 33, 50, 54, 56
                                                                                                                                                                                  900
2017-16   L4/2.0L    Dsl                     94R 33, 50, 54, 55, 56       800                  2012-11   L6/3.0L    Dsl, w/o AGM Option                       48 18, 50, 54       570        29
2017-16   L6/3.0L                            49 33, 50, 54, 55, 56        850                  2012-11   L6/3.0L    Gas, w/o AGM, Opt 1                       48 18, 50, 54       570        29
2017-16   L6/3.0L    Opt                     94R 33, 50, 54, 55, 56       800                  2012-11   L6/3.0L    Gas, w/o AGM, Opt 2                       95R 18, 50, 54      950
2017      L4/2.0L    Dsl, Opt                49 33, 50, 54, 55, 56        850                  2012-11   V8/4.4L    w/o AGM, Option 2                         95R 18, 50, 54      950
2017      L4/2.0L    Opt                     49 33, 50, 54, 55, 56        850                  2012-10   V8/4.4L    w/AGM, Option 1                           49 18, 33, 50, 56   850
2016      L4/2.0L    Dsl, Opt                49 33, 50, 54, 55, 56        850                  2012-10   V8/4.4L    w/AGM, Option 2                           49 18, 33, 50, 56   900
2016      L4/2.0L    Opt                     49 33, 50, 54, 55, 56        850                  2012-09   L6/3.0L    w/AGM, Option 2                           49 18, 33, 50, 56   850
                                                                                                                                        See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                                         25
                                                                                           Original                                                                                        Original
        Year         Engine                         Options          BCI Group Size       Equipment    Fitment     Year      Engine                    Options      BCI Group Size        Equipment    Fitment
                                                                         (notes)                        Code                                                            (notes)                         Code
                                                                                          CCA/Rating                                                                                      CCA/Rating
    BMW X5 (continued)                                                                                           BMW Z4
    2012-09      L6/3.0L        w/AGM, Option 1                   49 18, 33, 50, 54, 56     900                  2016      L4/2.0L    Opt                        94R 33, 50, 54, 55, 56     800
    2012-09      L6/3.0L        Dsl                               95R 18, 50, 54            950                  2016      L6/3.0L                               48 33, 50, 54, 55, 56      760
    2012         V8/4.4L        w/o AGM, Option 1                 48 18, 50, 54             570         29       2016      L6/3.0L    Opt                        94R 33, 50, 54, 55, 56     800
    2011         L6/3.0L        Dsl, Opt                          49 33, 50, 54, 55, 56     900                  2015      L4/2.0L    Opt                        94R 33, 50, 54, 55, 56     800
    2011         V8/4.4L                                          48 33, 50, 54, 55         570                  2015      L6/3.0L                               48 33, 50, 54, 55, 56      760
    2011         V8/4.4L        w/AGM, Option 4                   48 18, 33, 50, 54         750                  2015      L6/3.0L    Opt                        94R 33, 50, 54, 55, 56     800
    2010-09      L6/3.0L        Option 1                          49 18, 33, 50, 56         850                  2014-13   L4/2.0L                               48 18, 33, 50, 54, 56      760
    2010-09      L6/3.0L        Option 2                          49 18, 33, 50, 56         900                  2014-13   L4/2.0L    Opt                        94R 18, 33, 50, 54, 56     800
    2010-07      V8/4.8L        w/AGM, Option 2                   49 18, 33, 50, 56         850                  2014      L6/3.0L                               48 18, 33, 50, 54, 56      760
    2010-07      V8/4.8L        w/AGM, Option 1                   49 18, 33, 50, 54, 56     900                  2014      L6/3.0L    Opt                        94R 18, 33, 50, 54, 56     800
                                                                                                                 2013-09   L6/3.0L    w/AGM                      48 18, 33, 50, 54          760
    2010         L6/3.0L        Dsl, Opt                          48 18, 54                 570         29
                                                                                                                 2013-09   L6/3.0L    w/AGM Option               94R 18, 33, 50, 54         800
    2010         V8/4.4L        w/AGM, Option 3                   48 18, 33, 50, 54         570
                                                                                                                 2012      L4/2.0L    w/AGM                      48 18, 33, 50, 54          760
    2009         L6/3.0L        Dsl, Opt                          48 18                     570         29
                                                                                                                 2012      L4/2.0L    w/AGM Option               94R 18, 33, 50, 54         800
    2008-07      L6/3.0L        w/AGM, Option 1                   49 18, 33, 50, 54, 56     850
                                                                                                                 2008-07   L6/3.0L    Opt                        48 18, 50, 54, 56          570         29
    2008-07      L6/3.0L        w/AGM, Option 2                   49 18, 33, 50, 54, 56     900                  2008-06   L6/3.0L                               47 50, 54, 55, 56          480         28
    2006-04      V8/4.4L                                          49 18, 50                 720         33       2008-06   L6/3.0L    w/AGM Option               48 18, 33, 50, 54          760
    2006-04      V8/4.8L                                          49 18, 50, 54             720         33       2008-06   L6/3.0L    Opt                        94R 18, 50, 54, 56         640         30
    2006-04      V8/4.8L        Opt                               94R 18, 50, 54            640         30       2008-06   L6/3.2L                               47 18, 50                  480         28
    2006-00      V8/4.4L        Opt                               94R 50, 54, 55, 56        640         30       2008      L6/3.0L    Opt                        48 18, 50, 54              570         29
    2006         L6/3.0L                                          49 18, 50, 54             720         33       2007      L6/3.0L    Opt                        48 18, 33, 50, 54, 56      760
    2006         L6/3.0L        Opt                               94R 50, 54, 55, 56        640         30       2006      L6/3.0L    Opt                        48 18, 50, 54              570         29
    2005-03      L6/3.0L                                          49 50, 54, 55, 56         720         33       2005-04   L6/2.5L                               47 50                      480         28
    2005-02      L6/3.0L                                          94R 50                    640         30       2005-04   L6/2.5L    Opt                        48 50                      570         29
    2005         V8/4.4L        Opt                               49 18, 33, 50, 54         720                  2005-04   L6/2.5L    HD, Telematics             94R 50                     640         30
    2003-02      V8/4.6L        Opt                               94R 50, 54, 55, 56        640         30       2005-04   L6/3.0L                               47 50                      480         28
    2003         V8/4.4L                                          49 50, 54, 55, 56         720         33       2005-04   L6/3.0L    Opt                        48 50                      570         29
    2003         V8/4.4L                                          49 50                     740         33       2005-03   L6/3.0L    HD, Telematics             94R 50                     640         30
    2003         V8/4.6L                                          49 50, 54, 55, 56         720         33       2003      L6/2.5L                               48 50                      570         29
    2003         V8/4.6L                                          49 50                     740         33       2003      L6/3.0L                               48 50                      570         29
    2002         L6/3.0L        Opt                               49 50                     720         33       BMW Z8
    2002         V8/4.4L                                          49 50                     720         33       2003      V8/4.8L                               49 50                      740         33
    2002         V8/4.6L                                          49 50                     720         33       2003      V8/5.0L                               49 50                      740         33
    2001-00      V8/4.4L                                          49 50, 54, 55, 56         720         33       2002      V8/5.0L                               49 50                      720         33
    2001-00      V8/4.4L                                          49 50                     850         33       2001-00   V8/5.0L                               49 50                      850         33
    2001         L6/3.0L                                          49 50, 54, 55, 56         720         33       Buick Allure
    2001         L6/3.0L        Opt                               94R 50, 54, 55, 56        640         30       2010      V6/3.0L                               48                         615         29
    2001         L6/3.0L                                          94R 50                    765         30       2010      V6/3.6L                               48                         615         29
    BMW X6                                                                                                       2009-05   V6/3.8L                               34                         750
    2017-15      L6/3.0L                                          49 33, 50, 54, 55, 56     900                  2009      V8/5.3L                               85                         625
    2017-15      V8/4.4L                                          49 33, 50, 54, 55, 56     900                  2008-05   V6/3.6L                               34                         680          9
    2014-13      L6/3.0L        X                                 48 18, 50, 54, 56         570         29       2008      V8/5.3L                               85                         590
    2014-13      L6/3.0L        Opt                               49 18, 33, 50, 54, 56     850                  Buick Cascada
    2014-13      L6/3.0L                                          49 18, 33, 50, 54, 56     900                  2017      L4/1.6L                               94R 33                     800
    2014-13      V8/4.4L        Opt                               48 18, 50, 54, 56         570         29       2016      L4/1.6L                               94R 33                     800
    2014-13      V8/4.4L        X                                 48 18, 50, 54, 56         570         29       Buick Century
    2014-13      V8/4.4L        Opt                               49 18, 33, 50, 54, 56     850                  2005-97   V6/3.1L                               78                         600          7
    2014-13      V8/4.4L                                          49 18, 33, 50, 54, 56     900                  1996-94   V6/3.1L                               75                         525          5
    2012-11      V8/4.4L                                          95R 18, 50, 54            950                  1996-93   L4/2.2L                               75                         525          5
    2012-09      V8/4.4L        w/AGM                             49 18, 33, 50             850                  1993-90   V6/3.3L                               75                         630
    2012-08      L6/3.0L        w/AGM                             48 18, 33, 50, 54         570                  1992-90   L4/2.5L                               75                         630
    2012-08      L6/3.0L                                          95R 18, 50, 54            950
                                                                                                                 Buick Commercial Chassis
    2012-08      V8/4.4L        Opt                               48 18, 50, 54             570         29
                                                                                                                 1996-92 V8/5.7L                                 78                         690          7
    2012         L6/3.0L        w/AGM                             49 18, 33, 50             850
                                                                                                                 1991    V8/5.0L                                 78                         690          7
    2012         V8/4.4L        w/AGM                             95R 18, 33, 50            950
    2011-10      V8/4.4L        Hybrid                            48 18, 33, 54             760                  Buick Electra
    2011         L6/3.0L        Opt                               49 18, 33, 50             850                  1990      V6/3.8L                               75                         630
    2010-09      V8/4.4L        w/AGM                             49 18, 33, 50             900                  1990      V6/3.8L    Opt                        78                         730          7
    2010-08      L6/3.0L        Option 1                          49 18, 33, 50, 54, 56     850                  Buick Enclave
    2010-08      L6/3.0L        Option 2                          49 18, 33, 50, 54, 56     900                  2017      V6/3.6L                               48 50                      660         29
    2010-08      V8/4.4L        Option 1                          49 18, 33, 50, 54, 56     850                  2016      V6/3.6L                               48 50                      660         29
    2010-08      V8/4.4L        Option 2                          49 18, 33, 50, 54, 56     900                  2015      V6/3.6L                               48 50                      660         29
    BMW Z3                                                                                                       2014-10   V6/3.6L                               48 50                      660         29
    2002         L6/2.5L                                          48 50                     570         29       2009-08   V6/3.6L                               48 50                      730         29
    2002         L6/3.0L                                          48 50                     570         29       Buick Encore
    2002         L6/3.2L                                          48 50                     570         29       2017-16   L4/1.4L    w/o Start/Stop             47                         525         28
    2001-99      L6/2.5L                                          48 50                     650         29       2017      L4/1.4L    w/Start/Stop               48 33                      700
    2001-98      L6/3.2L                                          48 50                     650         29       2016      L4/1.4L    w/Start/Stop               48 33                      700
    2001         L6/3.0L                                          48 50                     650         29       2016      L4/1.4L                               48 33                      760
    2000-97      L6/2.8L                                          48 50                     650         29       2015      L4/1.4L                               47 50                      525         28
    1998-96      L4/1.9L                                          48 50                     650         29       2014-13   L4/1.4L                               47 50                      525         28
    See page 88 for Footnotes. Selection may vary by warehouse.

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26                                                                                                  Automotive/Light Truck
                                                                   Original                                                                                                     Original
  Year      Engine                   Options     BCI Group Size   Equipment    Fitment     Year      Engine                    Options                       BCI Group Size    Equipment    Fitment
                                                     (notes)                    Code                                                                             (notes)                     Code
                                                                  CCA/Rating                                                                                                   CCA/Rating
Buick Envision                                                                           Buick Riviera
2017-16 L4/2.0L      Start/Stop                94R 33, 50           730                  1999-98 V6/3.8L                                                   79 50                  840         41
2017    L4/2.5L      Start/Stop                94R 33, 50           730                  1997-95 V6/3.8L                                                   76 50                  970         41
Buick LaCrosse                                                                           1993-90 V6/3.8L                                                   78                     770         7
2017      V6/3.6L                              94R 33               730                  Buick Roadmaster
2016-15   L4/2.4L    Hybrid                    47                   525         28       1996-95   V8/5.7L                                                 78                     600         7
2016      V6/3.6L                              48                   615         29       1994-92   V8/5.7L                                                 75                     525         5
2015      V6/3.6L                              48                   615         29       1994      V8/5.7L    Wagon                                        78                     770         7
2014-12   L4/2.4L    Hybrid                    47                   525         28       1993      V8/5.7L    Wagon                                        78                     690         7
2014-10   V6/3.6L                              48                   615         29       1991      V8/5.0L                                                 75                     525         5
2011-10   L4/2.4L                              48                   615         29       Buick Skylark
2010      V6/3.0L                              48 50                615         29
                                                                                         1998-96   L4/2.4L                                                 75                     600
2009-08   V6/3.8L                              34 33                720
                                                                                         1998-94   V6/3.1L                                                 75                     600
2009-08   V8/5.3L                              85                   590
                                                                                         1995-93   L4/2.3L                                                 75                     600
2008      V6/3.6L                              34 33                720
2007      V6/3.6L                              34 33                750                  1993      V6/3.3L                                                 75                     600
2007      V6/3.8L                              34                   750                  1992-90   L4/2.3L                                                 75                     630
2006      V6/3.6L                              34                   690          9       1992-90   V6/3.3L                                                 75                     630
2006      V6/3.8L                              34                   690          9       1991-90   L4/2.5L                                                 75                     630
2005      V6/3.6L                              34 33                680                  1980      L4/2.5L                                                 75                     500         5
2005      V6/3.8L                              34                   680          9       1980      V6/2.8L                                                 75                     500         5
Buick LeSabre                                                                            1979-77   V8/5.0L                                                 75                     500         5
2005-00   V6/3.8L                              100 50               770         40       1979-75   V6/3.8L                                                 75                     500         5
1999-95   V6/3.8L                              78                   690          7       1979-75   V8/5.7L                                                 75                     500         5
1997-94   V6/3.8L    Opt                       78                   770          7       1977      V8/4.9L                                                 75                     500         5
1994-90   V6/3.8L                              75                   630                  1976-75   V8/4.3L                                                 75                     500         5
1993-91   V6/3.8L    HD or w/HWS               78                   770          7       1972-68   V8/5.7L                                                 24                     340         22
1990      V8/5.0L                              75                   630                  1971-70   V8/7.5L                                                 24                     340         22
1990      V8/5.0L    Opt                       78                   730          7       1971-68   L6/4.1L                                                 22F                    330
Buick Lucerne                                                                            1968-65   V8/6.6L                                                 24                     340         22
2011-09   V6/3.9L                              94R 50               720         30       1967-66   V8/5.6L                                                 24                     340         22
2011-09   V8/4.6L                              94R 50               720         30       1967-64   V6/3.7L                                                 22F                    330
2008      V6/3.8L                              48 50                730         29       1967-64   V8/4.9L                                                 24                     340         22
2008      V8/4.6L                              48 50                730         29       1963-61   V8/3.5L                                                 24                     340         22
2007-06   V6/3.8L                              79 50                800         41       Buick Terraza
2007-06   V8/4.6L                              79 50                800         41       2007-06 V6/3.9L                                                   34                     600         9
Buick Park Avenue                                                                        2006-05 V6/3.5L                                                   34                     600         9
2005-03   V6/3.8L                              34                   690          9       Buick Verano
2005-03   V6/3.8L    S/C                       34                   770                  2017      L4/2.4L                                                 48                     615         29
2002-98   V6/3.8L    S/C                       78                   770          7       2016      L4/2.0L                                                 48                     615         29
2002-96   V6/3.8L    Naturally Aspirated       78                   690          7       2016      L4/2.4L                                                 48                     615         29
1997-91   V6/3.8L    W/HD or HWS               78                   770          7       2015      L4/2.0L                                                 48                     615         29
1995-94   V6/3.8L                              78                   600          7       2015      L4/2.4L                                                 48                     615         29
1993-91   V6/3.8L                              75                   630                  2014-13   L4/2.0L                                                 48                     615         29
Buick Rainier                                                                            2014-12   L4/2.4L                                                 48                     615         29
2007-04 L6/4.2L                                78 40                600          7       Buick Wildcat
2007-04 V8/5.3L                                78 40                600          7       1970    V8/7.5L                                                   27                     325         35
Buick Reatta                                                                             1969-64 V8/7.0L                                                   27                     325         35
1991-90 V6/3.8L                                78                   770          7       1966-63 V8/6.6L                                                   27                     325         35
Buick Regal                                                                              Cadillac Allanté
2017      L4/2.0L                              48                   615         29       1993    V8/4.6L                                                   78 50                  770         7
2017      L4/2.4L                              48                   615         29       1992-90 V8/4.5L                                                   78 50                  770         7
2016-15   L4/2.4L    Hybrid                    47                   525         28       Cadillac ATS
2016-15   L4/2.4L                              48                   615         29
                                                                                         2017-16   V6/3.6L    ATS-V                                        140R 33, 50             560
2016      L4/2.0L                              48                   615         29
                                                                                         2017-16   V6/3.6L    w/o Start/Stop                               48 33, 50               700
2015      L4/2.0L                              48                   615         29
2014-12   L4/2.4L    Hybrid                    47                   525         28       2017      L4/2.0L    w/o Start/Stop                               48 33, 50               700
2014-11   L4/2.0L                              48                   615         29       2017      L4/2.0L    w/Start/Stop                                 94R 33, 50              730
2012-11   L4/2.4L                              48                   615         29       2017      L4/2.5L    w/o Start/Stop                               48 33, 50               700
2004-97   V6/3.8L    S/C                       78                   770          7       2017      L4/2.5L    w/Start/Stop                                 94R 33, 50              730
2004      V6/3.8L                              78                   600          7       2017      V6/3.6L    w/Start/Stop                                 94R 33, 50              730
2003-96   V6/3.8L                              78                   690          7       2016-15   L4/2.5L                                                 48 33, 50               700
1996      V6/3.1L                              78                   600          7       2016-15   V6/3.6L                                                 48 33, 50               700
1995-94   V6/3.8L                              75                   600                  2016-13   L4/2.0L    Start/Stop                                   94R 33, 50              730
1995-90   V6/3.1L                              75                   525          5       2016-13   L4/2.5L    Start/Stop                                   94R 33, 50              730
1993-90   V6/3.8L                              75                   630                  2016-13   V6/3.6L    Start/Stop                                   94R 33, 50              730
Buick Rendezvous                                                                         2016      L4/2.0L                                                 48 33, 50               700
2007-06   V6/3.5L                              78                   600          7       2015      L4/2.0L                                                 48 33, 50               700
2006      V6/3.6L                              34                   690          9       2014-13   L4/2.0L    w/o Start/Stop                               48 33, 50               700
2005-04   V6/3.6L                              78                   600          7       2014-13   L4/2.5L    w/o Start/Stop                               48 33, 50               700
2005-02   V6/3.4L                              78                   600          7       2014-13   V6/3.6L    w/o Start/Stop                               48 33, 50               700
                                                                                                                                         See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                             27
                                                                                      Original                                                                                 Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                 Options       BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                          (notes)                    Code
                                                                                     CCA/Rating                                                                               CCA/Rating
    Cadillac Brougham, Fleetwood                                                                            Cadillac ELR
    1996-95      V8/5.7L        RWD                               78                   770          7       2016-15 L4/1.4L      Hybrid                    140R 33, 50          520
    1994         V8/5.7L                                          78                   770          7       2014    L4/1.4L      Hybrid                    140R 33, 50          520
    1993         V8/5.7L                                          78                   540          7       Cadillac Escalade
    1993         V8/5.7L        w/HWS or HD                       78                   770          7       2017      V8/6.2L                              94R                  720         30
    1992-91      V8/4.9L        Primary Battery                   78                   540          7       2016      V8/6.2L                              94R                  720         30
    1992-91      V8/4.9L                                          78                   730          7       2015      V8/6.2L                              48                   660         29
    1992-91      V8/4.9L        w/HWS or HD                       78                   770          7       2015      V8/6.2L    Opt                       48                   730         29
    1992-90      V8/5.0L                                          78                   730          7       2015      V8/6.2L                              94R                  720         30
    1992-90      V8/5.7L                                          78                   730          7       2014-12   V8/6.2L                              48                   660         29
    1990         V8/4.5L                                          78                   540          7       2014-09   V8/6.2L    Opt                       48                   730         29
    1990         V8/4.5L        Opt                               78                   730          7       2013-12   V8/6.0L    Hybrid                    48                   660         29
    1990         V8/4.5L        w/HWS or HD                       78                   770          7       2013-09   V8/6.0L    Hybrid, Opt               48                   730         29
    Cadillac Catera                                                                                         2011-09   V8/6.0L    Hybrid                    48                   615         29
    2001-97 V6/3.0L                                               91                   600                  2011-07   V8/6.2L                              48                   615         29
    Cadillac Commercial Chassis                                                                             2006-02   V8/6.0L                              78                   600          7
    1996-92 V8/5.7L                                               78                   770          7       2005-02   V8/5.3L                              78                   600          7
    1993-91 V8/4.9L                                               78                   770          7       2000-99   V8/5.7L                              78                   600          7
    1990    V8/4.5L                                               78                   770          7       2000-99   V8/5.7L    Opt                       78                   690          7
    Cadillac CT6                                                                                            Cadillac Escalade ESV
    2017         L4/2.0L        Start/Stop                        49 33, 50            850                  2017      V8/6.2L                              94R                  720         30
    2017         V6/3.0L        Start/Stop                        49 33, 50            850                  2016      V8/6.2L                              94R                  720         30
    2017         V6/3.6L        Start/Stop                        49 33, 50            850                  2015      V8/6.2L                              48                   660         29
    2016         L4/2.0L        Start/Stop                        49 33                850                  2015      V8/6.2L    Opt                       48                   730         29
    2016         V6/3.0L        Start/Stop                        49 33                850                  2015      V8/6.2L                              94R                  720         30
    2016         V6/3.6L        Start/Stop                        49 33                850                  2014-12   V8/6.2L                              48                   660         29
    Cadillac CTS                                                                                            2014-09   V8/6.2L    Opt                       48                   730         29
                                                                                                            2011-07   V8/6.2L                              48                   615         29
    2017         L4/2.0L        Start/Stop                        94R 33, 50           730
                                                                                                            2006-03   V8/6.0L                              78                   600          7
    2017         V6/3.6L        Start/Stop                        94R 33, 50           730
    2017         V8/6.2L        Start/Stop                        94R 33, 50           730                  Cadillac Escalade EXT
    2016         L4/2.0L        Start/Stop                        94R 33, 50           730                  2013-12   V8/6.2L                              48                   660         29
    2016         V6/3.6L        Start/Stop                        94R 33, 50           730                  2013-09   V8/6.2L    Opt                       48                   730         29
    2016         V8/6.2L        Start/Stop                        94R 33, 50           730                  2011-07   V8/6.2L                              48                   615         29
    2015         L4/2.0L                                          48 50                660         29       2006-02   V8/6.0L                              78                   600          7
    2015         L4/2.0L        Start/Stop                        94R 33, 50           730                  Cadillac Fleetwood (See Brougham, Fleetwood)
    2015         V6/3.6L                                          48 50                660         29       Cadillac Seville
    2015         V6/3.6L        Start/Stop                        94R 33, 50           730                  2004-98   V8/4.6L                              79                   800         41
    2015         V8/6.2L                                          48 50                660         29       1997-93   V8/4.6L                              78                   770          7
    2015         V8/6.2L        Start/Stop                        94R 33, 50           730                  1993-91   V8/4.9L                              78                   770          7
    2014-10      V6/3.0L                                          48 50                660         29       1990      V8/4.5L                              78                   730          7
    2014-10      V6/3.6L                                          48 50                660         29
    2014-10      V8/6.2L                                          48 50                660         29
                                                                                                            Cadillac Sixty Special
    2014         L4/2.0L                                          48 50                660         29       1993      V8/4.9L                              78                   770          7
    2014         L4/2.0L        Start/Stop                        94R 33, 50           730                  Cadillac SRX
    2014         V6/3.0L        Start/Stop                        94R 33, 50           730                  2016      V6/3.6L                              48                   660         29
    2014         V6/3.6L        Start/Stop                        94R 33, 50           730                  2015      V6/3.6L                              48                   660         29
    2014         V8/6.2L        Start/Stop                        94R 33, 50           730                  2014-12   V6/3.6L                              48                   660         29
    2009-08      V6/3.6L                                          48 50                730         29       2011-10   V6/2.8L                              48                   615         29
    2009         V8/6.2L                                          48 50                730         29       2011-10   V6/3.0L                              48                   615         29
    2007-06      V8/6.0L        V Series                          101                  540                  2009-08   V6/3.6L                              48                   730         29
    2007-05      V6/2.8L                                          101                  540                  2009-08   V8/4.6L                              48                   730         29
    2007-04      V6/3.6L                                          101                  540                  2007-04   V6/3.6L                              101                  540
    2005-04      V8/5.7L                                          101                  540                  2007-04   V8/4.6L                              101                  540
    2004-03      V6/3.2L                                          101                  540                  Cadillac STS
    Cadillac DeVille                                                                                        2011-10   V6/3.6L                              48                   660         29
    2005-00      V8/4.6L                                          79 50                800         41       2010      V8/4.6L                              48                   660         29
    1999-94      V8/4.6L                                          78                   770         7        2009-08   V6/3.6L                              48                   730         29
    1995-94      V8/4.9L                                          78                   770         7        2009-08   V8/4.4L                              48                   730         29
    1993-91      V8/4.9L                                          78                   540         7        2009-08   V8/4.6L                              48                   730         29
    1993-91      V8/4.9L        w/HWS or HD                       78                   770         7        2007-06   V8/4.4L                              101                  540
    1990         V8/4.5L                                          78                   540         7        2007-05   V6/3.6L                              101                  540
    1990         V8/4.5L        w/HWS                             78                   770         7        2007-05   V8/4.6L                              101                  540
    Cadillac DTS                                                                                            Cadillac XLR
    2011-09 V8/4.6L                                               94R 50               720         30       2009-08   V8/4.4L                              85                   590
    2008    V8/4.6L                                               48 50                730         29       2009-08   V8/4.6L                              85                   590
    2007-06 V8/4.6L                                               79 50                800         41       2007-06   V8/4.4L                              90 50                590         37
    Cadillac Eldorado                                                                                       2007-06   V8/4.6L                              90 50                590         37
    2002-93 V8/4.6L                                               78                   770          7       2005-04   V8/4.6L                              86 50                590
    1993-91 V8/4.9L                                               78                   770          7       Cadillac XT5
    1990        V8/4.5L                                           78                   730          7       2017      V6/3.6L    Start/Stop                94R 33               730
    See page 88 for Footnotes. Selection may vary by warehouse.

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28                                                                                                   Automotive/Light Truck
                                                                    Original                                                                                                      Original
  Year      Engine                     Options    BCI Group Size   Equipment    Fitment     Year      Engine                     Options                       BCI Group Size    Equipment    Fitment
                                                      (notes)                    Code                                                                              (notes)                     Code
                                                                   CCA/Rating                                                                                                    CCA/Rating
Cadillac XTS                                                                              Chevrolet C/K, R/V Pickups (continued)
2017      V6/3.6L                                48                  660         29       1998-97   V8/6.5L    Dsl                                           78                     600         7
2016      V6/3.6L                                48                  660         29       1998-94   V6/4.3L                                                  78                     600         7
2015      V6/3.6L                                48                  660         29       1998-94   V8/5.0L                                                  78                     600         7
2014-13   V6/3.6L                                48                  660         29       1996-94   V8/6.5L    Dsl                                           78                     770         7
Checker Marathon                                                                          1995-94   V6/4.3L                                                  78                     600         7
1978-75   V8/5.7L    Opt                         30HR                475                  1995-94   V8/5.0L                                                  78                     600         7
1978      V8/5.0L    Opt                         30HR                475                  1993-92   V8/6.2L    Dsl                                           75                     570
1973      V8/5.7L                                30H                 305                  1993-92   V8/6.5L    Dsl                                           75                     570
1973      V8/5.7L                                30HR                305                  1993-91   V6/4.3L    Aux Battery                                   78                     540         7
Chevrolet Astro                                                                           1993-91   V6/4.3L                                                  78                     630         7
                                                                                          1993-91   V8/5.0L    Aux Battery                                   78                     540         7
2005-94   V6/4.3L                                78                  600          7
                                                                                          1993-91   V8/5.0L                                                  78                     630         7
2005-02   V6/4.3L    Opt                         78                  770          7
                                                                                          1993-91   V8/5.7L    Aux Battery                                   78                     540         7
1993-91   V6/4.3L                                78                  630          7
                                                                                          1993-91   V8/5.7L                                                  78                     630         7
1990      L4/2.5L                                75                  525          5
                                                                                          1993-90   V8/7.4L    Aux Battery                                   78                     540         7
1990      V6/4.3L                                75                  525          5
                                                                                          1993-90   V8/7.4L                                                  78                     630         7
1990      V6/4.3L    Opt                         78                  630          7
                                                                                          1991-90   V8/6.2L    Dsl                                           75 2                   570
Chevrolet Avalanche                                                                       1991-90   V8/7.4L    Aux Battery                                   78                     540         7
2013-09   V8/5.3L    Opt                         48                  730         29       1991-90   V8/7.4L                                                  78                     630         7
2013-07   V8/5.3L    w/o HD                      48                  615         29       1991      V8/5.7L    Aux Battery                                   78                     540         7
2009-07   V8/6.0L    w/o HD                      48                  615         29       1991      V8/5.7L                                                  78                     630         7
2009      V8/6.0L    Opt                         48                  730         29       1991      V8/6.2L    Dsl                                           78                     540         7
Chevrolet Avalanche 1500                                                                  1991      V8/6.2L    Dsl                                           78 2                   540         7
2006-02 V8/5.3L                                  78                  600          7       1990      V6/4.3L                                                  75                     525         5
Chevrolet Avalanche 2500                                                                  1990      V8/5.0L                                                  75                     525         5
2006-02 V8/8.1L                                  78                  600          7       1990      V8/5.0L    Opt                                           78                     630         7
                                                                                          1990      V8/5.7L                                                  75                     525         5
Chevrolet Aveo, Aveo5                                                                     1990      V8/5.7L    Opt                                           78                     630         7
2011-04 L4/1.6L                                  86                  550         31       1990      V8/6.2L    Dsl                                           75                     570
Chevrolet Beretta, Corsica                                                                1990      V8/6.2L    Aux Battery                                   78                     540         7
1996-95   V6/3.1L                                75                  600                  1990      V8/6.2L    Aux, Dsl                                      78                     540         7
1996-93   L4/2.2L    Opt                         75                  600                  Chevrolet C/K, R/V Suburban
1996-92   L4/2.2L                                75                  525          5       1999-97   V8/6.5L    Dsl                                           78                     600         7
1994-93   L4/2.3L                                75                  600
                                                                                          1999-94   V8/5.7L                                                  78                     600         7
1994-93   V6/3.1L    Opt                         75                  600
                                                                                          1999-94   V8/7.4L                                                  78                     600         7
1994-90   V6/3.1L                                75                  525          5
                                                                                          1999      V8/5.7L    Opt                                           78                     690         7
1992-90   L4/2.3L                                75                  630
                                                                                          1999      V8/5.7L    HD or PPkg                                    78                     770         7
1991-90   L4/2.2L    MT                          70                  525          5
                                                                                          1999      V8/5.7L    PPkg, HD                                      78                     770         7
1991-90   L4/2.2L    HD w/AT                     75                  630
                                                                                          1999      V8/6.5L    Dsl & Opt                                     78                     690         7
1991-90   V6/3.1L    Opt                         75                  630
                                                                                          1999      V8/6.5L    Dsl, HD                                       78                     690         7
Chevrolet Blazer                                                                          1999      V8/7.4L    Primary Battery                               78                     600         7
2005-95   V6/4.3L                                75                  525          5       1999      V8/7.4L    Opt                                           78                     690         7
2005-95   V6/4.3L    Opt                         75                  690                  1999      V8/7.4L    HD or PPkg                                    78                     770         7
1994      V8/5.7L                                78                  600          7       1999      V8/7.4L    PPkg, HD                                      78                     770         7
1994      V8/6.5L    Dsl                         78                  770          7       1996-94   V8/6.5L    Dsl                                           78                     770         7
1993-91   V8/5.7L    Aux Battery                 78                  540          7       1993-92   V8/5.7L    Aux Battery                                   78                     540         7
1993-91   V8/5.7L                                78                  630          7       1993-92   V8/5.7L                                                  78                     630         7
1991-90   V8/6.2L    Dsl                         78                  540          7       1993-92   V8/7.4L    Aux Battery                                   78                     540         7
1990      V8/5.7L                                75                  525          5       1993-92   V8/7.4L                                                  78                     630         7
1990      V8/5.7L    Opt                         78                  630          7       1991-90   V8/6.2L    Dsl                                           75 2                   570
Chevrolet Bolt EV                                                                         1991-90   V8/7.4L    Aux Battery                                   78                     540         7
2017                 Electric                    140R 33             520                  1991-90   V8/7.4L                                                  78                     630         7
Chevrolet C/K, R/V Pickups                                                                1991      V8/5.7L    Aux Battery                                   78                     540         7
2000-99   V8/5.7L    Opt                         78                  690          7       1991      V8/5.7L                                                  78                     630         7
2000-99   V8/6.5L    Dsl, HD                     78                  690          7       1991      V8/6.2L    Dsl                                           78 2                   540         7
2000-99   V8/7.4L    Opt                         78                  690          7       1990      V8/5.7L                                                  75                     525         5
2000-97   V8/6.5L    Dsl                         78                  600          7       1990      V8/5.7L    Opt                                           78                     630         7
2000-94   V8/5.7L                                78                  600          7       1990      V8/6.2L    Aux, Dsl                                      78                     540         7
2000-94   V8/7.4L                                78                  600          7       1990      V8/6.2L    Dsl                                           78 2                   540         7
1999-97   V8/5.0L    Opt                         78                  690          7       1990      V8/7.4L    Aux Battery                                   78                     540         7
1999-94   V8/5.0L                                78                  600          7       1990      V8/7.4L                                                  78                     630         7
1999-94   V8/5.7L                                78                  600          7       Chevrolet Camaro
1999      V8/5.0L                                78                  600          7       2017      L4/2.0L                                                  48 33, 50               700
1999      V8/5.0L    PPkg, HD                    78                  770          7       2017      V6/3.6L                                                  48 33, 50               700
1999      V8/5.7L    Opt                         78                  690          7       2017      V8/6.2L                                                  48 33, 50               700
1999      V8/5.7L    HD or PPkg                  78                  770          7       2016      L4/2.0L                                                  48 33, 50               700
1999      V8/5.7L    PPkg, HD                    78                  770          7       2016      V6/3.6L                                                  48 33, 50               700
1999      V8/6.5L    Dsl & Opt                   78                  690          7       2016      V8/6.2L                                                  48 33, 50               700
1999      V8/7.4L    Primary Battery             78                  600          7       2015      V6/3.6L                                                  94R 50                  720        30
1999      V8/7.4L    HD or PPkg                  78                  770          7       2015      V8/6.2L                                                  94R 50                  720        30
1999      V8/7.4L    PPkg, HD                    78                  770          7       2015      V8/7.0L                                                  48 50                   730        29
1998-97   V8/5.0L    Opt                         78                  690          7       2014-10   V6/3.6L                                                  94R 50                  720        30
                                                                                                                                           See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                         Costco_001578
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                                                                                  of
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    Automotive/Light Truck                                                                                                                                                            29
                                                                                      Original                                                                                Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                  Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                         (notes)                    Code
                                                                                     CCA/Rating                                                                              CCA/Rating
    Chevrolet Camaro (continued)                                                                            Chevrolet Caprice, Impala
    2014-10 V8/6.2L                                               94R 50               720         30       2017-16   L4/2.5L    Aux for Start/Stop       401 33, 50           155
    2014        V8/7.0L                                           48 50                730         29       2017-16   L4/2.5L    Start/Stop               94R 33               730
    2002-95 V6/3.8L                                               75                   690                  2017-14   V6/3.6L    Ex PPkg Version          48                   615         29
    2002-93 V8/5.7L                                               75                   525          5       2017      V6/3.6L    PPkg Version             34                   720
    1995-93 V6/3.4L                                               75                   525          5       2017      V6/3.6L    PPkg Version             34                   720
    1992-90 V6/3.1L                                               75                   525          5       2017      V6/3.6L    PPkg, Opt Aux Bat        48 33, 50            700
    1992-90 V8/5.0L MT                                            75                   525          5       2017      V6/3.6L    PPkg, Primary Bat        48 33, 50            700
    1992-90 V8/5.0L AT                                            75                   570                  2017      V8/6.0L    PPkg, Opt Aux Bat        48 33, 50            700
    1992-87 V8/5.7L                                               75                   630                  2017      V8/6.0L    PPkg, Primary Bat        48 33, 50            700
    1989-88 V8/5.0L Ex 110 Amp Generator                          70                   525          5       2016      L4/2.5L                             48                   615         29
    1989-88 V8/5.0L w/110 Amp Generator                           75                   525          5       2016      L4/2.5L    Start/Stop               49 33                850
    1989-87 V6/2.8L                                               75                   525          5       2016      V6/3.6L    Ex PPkg Version          34                   600          9
    1989-86 V6/2.8L Opt                                           75                   570                  2016      V6/3.6L    PPkg Version             34                   720
    1989-86 V8/5.0L Opt                                           75                   570                  2016      V6/3.6L                             48 33, 50            700
    1987        V8/5.0L MT                                        75                   500          5       2016      V6/3.6L    PPkg                     94R                  700         30
    1987        V8/5.0L AT                                        75                   525          5       2016      V8/6.0L                             48 33, 50            700
    1986-85 L4/2.5L                                               75                   630                  2016      V8/6.0L    PPkg                     94R                  700         30
    1986        V6/2.8L                                           70                   525          5       2015-14   L4/2.5L    Aux w/Start/Stop         401 33, 50           155
    1986        V8/5.0L                                           70                   525          5       2015-14   L4/2.5L                             48                   615         29
    1985-84 V8/5.0L                                               75                   500          5       2015-14   L4/2.5L    w/Start/Stop             49 33                850
    1985-84 V8/5.0L Opt                                           75                   630                  2015-13   V6/3.6L    PPkg                     34                   720
    1985        V6/2.8L                                           75                   500          5       2015      V6/3.6L    Ex PPkg                  34                   600          9
    1985        V6/2.8L Opt                                       75                   630                  2015      V6/3.6L                             48 33, 50            700
    1984-83 V6/2.8L Opt                                           75                   500          5       2015      V6/3.6L    Caprice                  48 33, 50            700
    1984        L4/2.5L                                           70                   405          5       2015      V8/6.0L                             48 33, 50            700
    1984        L4/2.5L Opt                                       75                   500          5       2015      V8/6.0L    Caprice                  48 33, 50            700
    1984        V6/2.8L                                           70                   405          5       2014-13   V6/3.6L    PPkg                     34                   720
    1983-82 V6/2.8L                                               70                   315          5       2014-12   V6/3.6L    Ex PPkg                  34                   600          9
    1983        L4/2.5L US                                        70                   405          5       2014-11   V8/6.0L    w/PPkg                   94R 50               765         30
    1983        L4/2.5L Can or Opt                                75                   500          5       2014      L4/2.4L    Hybrid                   47                   525         28
                                                                                                            2014      L4/2.4L    Hybrid                   48                   615         29
    1983        V8/5.0L                                           70                   405          5
                                                                                                            2014      V6/3.6L    Aux Battery              48 33, 50            700
    1983        V8/5.0L Opt                                       75                   500          5
                                                                                                            2014      V6/3.6L    PPkg, Opt Aux Bat        48 33, 50            700
    1982-81 V8/5.0L Opt                                           73                   465          5
                                                                                                            2014      V6/3.6L    PPkg, Primary Bat        48 33, 50            700
    1982        L4/2.5L                                           70                   315          5
                                                                                                            2014      V6/3.6L    Primary Battery          48 33, 50            700
    1982        L4/2.5L Opt                                       73                   465          5
                                                                                                            2014      V6/3.6L    w/PPkg                   48 33, 50            700
    1982        V6/2.8L Opt                                       73                   465          5
                                                                                                            2014      V8/6.0L    PPkg, Opt Aux Bat        48 33, 50            700
    1982        V8/5.0L                                           70                   400          5
                                                                                                            2014      V8/6.0L    PPkg, Primary Bat        48 33, 50            700
    1981        V6/3.8L                                           70                   370          5
                                                                                                            2013-12   V6/3.6L    w/PPkg                   94R                  765         30
    1981        V6/3.8L HBL & AC                                  71                   350          5
                                                                                                            2013-12   V6/3.6L    w/PPkg                   94R 50               765         30
    1981        V6/3.8L 229 cid, HD                               73                   465          5
                                                                                                            2012      V6/3.6L    w/PPkg                   34                   720
    1981        V6/3.8L 231 cid, HD                               74                   550          7
                                                                                                            2011-10   V6/3.9L    Ex PPkg                  34                   600          9
    1981        V8/4.4L Opt                                       73                   465          5       2011-10   V6/3.9L    w/PPkg                   34                   720
    1981        V8/4.4L                                           74                   550          7       2011-08   V6/3.5L                             34                   600          9
    1981        V8/5.0L                                           71                   350          5       2009-08   V8/5.3L                             85                   590
    1981        V8/5.7L                                           71                   350          5       2009      V6/3.9L                             34                   600          9
    1981        V8/5.7L Opt                                       73                   465          5       2008      V6/3.9L                             34                   720
    1980-76 V8/5.0L                                               71                   325          5       2007-06   V6/3.5L                             34                   690          9
    1980-76 V8/5.0L Opt                                           74                   450          7       2007-06   V6/3.9L                             34                   750
    1980-70 V8/5.7L                                               71                   325          5       2007-06   V8/5.3L    SS                       85                   625
    1980-70 V8/5.7L Opt                                           74                   450          7       2005-00   V6/3.4L                             78                   600          7
    1980        V6/3.8L                                           71                   325          5       2005      V6/3.8L    S/C                      78                   600          7
    1980        V6/3.8L Opt                                       74                   450          7       2005      V6/3.8L                             78                   770          7
    1980        V8/4.4L                                           71                   325          5       2004-00   V6/3.8L                             78                   600          7
    1980        V8/4.4L Opt                                       74                   450          7       2004      V6/3.8L    S/C                      78                   690          7
    1979-70 L6/4.1L                                               71                   325          5       2003-00   V6/3.4L    Opt                      78                   690          7
    1979-70 L6/4.1L Opt                                           74                   450          7       2003-00   V6/3.8L    Opt                      78                   690          7
    1973-70 V8/5.0L                                               71                   325          5       1996-95   V8/4.3L                             78                   600          7
    1973-70 V8/5.0L Opt                                           74                   450          7       1996-95   V8/5.7L                             78                   600          7
    1972-70 V8/6.6L                                               71                   325          5       1996-95   V8/5.7L    HD, SEO                  78                   770          7
    1972-70 V8/6.6L Opt                                           74                   450          7       1994      V8/4.3L                             75                   525          5
    1969        L6/3.8L Late                                      72                   275          5       1994      V8/5.7L                             78                   770          7
    1969        L6/4.1L Late                                      72                   275          5       1993-92   V6/4.3L                             78                   730          7
    1969        V8/4.9L                                           74                   350          7       1993-90   V8/5.0L                             75                   525          5
    1969        V8/5.0L                                           72                   275          5       1993-86   V8/5.7L                             78                   730          7
    1969        V8/5.0L Ex 302                                    74                   350          7       1990-85   V6/4.3L                             75                   630
    1969        V8/5.3L                                           74                   350          7       1989-86   V8/5.0L                             70                   525          5
    1969        V8/5.4L                                           74                   350          7       1989-86   V8/5.0L    Opt                      75                   570
    1969        V8/5.7L                                           74                   350          7       1987-85   V8/5.7L    Opt                      75                   630
    1969        V8/6.5L                                           74                   350          7       1987      V8/5.7L    SEO                      78                   730          7
    1969        V8/7.0L                                           74                   350          7       1985-84   V8/5.0L                             75                   500          5
    1968-67 L6/4.1L                                               22F                  250                  1985-84   V8/5.0L    Opt                      75                   630
    1968        L6/3.8L                                           22F                  250                  1985-84   V8/5.7L    Dsl                      70 2                 405          5
    See page 88 for Footnotes. Selection may vary by warehouse.

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30                                                                                              Automotive/Light Truck
                                                               Original                                                                                                  Original
  Year      Engine               Options     BCI Group Size   Equipment    Fitment     Year      Engine                 Options                       BCI Group Size    Equipment    Fitment
                                                 (notes)                    Code                                                                          (notes)                     Code
                                                              CCA/Rating                                                                                                CCA/Rating
Chevrolet Caprice, Impala (continued)                                                Chevrolet Captiva Sport
1985-84   V8/5.7L                          75                   500          5       2015    L4/2.4L                                                48                     615         29
1985-83   V6/3.8L                          71                   390          5       2014-12 L4/2.4L                                                48                     615         29
1985-83   V6/3.8L    Opt                   78                   550          7       2012    V6/3.0L                                                48                     660         29
1985-83   V8/5.7L    Dsl & Opt             78                   550          7       Chevrolet Cavalier
1985      V6/4.3L                          75                   630                  2005-92   L4/2.2L                                              75                     525         5
1985      V8/5.7L    Opt                   75                   630                  2002-96   L4/2.4L                                              75                     600
1984-83   V6/3.8L    Opt                   75                   500          5
                                                                                     2002      L4/2.2L                                              75                     600
1984      V6/3.8L                          70                   405          5
                                                                                     1995      L4/2.3L                                              75                     600
1983      V6/3.8L                          70                   355          5
                                                                                     1994-92   V6/3.1L                                              75                     525         5
1983      V8/5.0L                          70                   355          5
                                                                                     1991-90   L4/2.2L                                              75                     630
1983      V8/5.0L    Opt                   75                   500          5
                                                                                     1991-90   V6/3.1L                                              75                     630
1983      V8/5.7L                          70                   355          5
1983      V8/5.7L    Dsl                   75                   500          5       Chevrolet Celebrity
1983      V8/5.7L    Dsl or HD             75                   500          5       1990      L4/2.5L                                              75                     630
1983      V8/5.7L    Opt                   75                   500          5       1990      V6/3.1L                                              75                     630
1982-81   V6/3.8L    HBL & AC              71                   350          5       Chevrolet Chevelle
1982-81   V8/4.4L    Opt                   73                   465          5       1973-71   L6/4.1L                                              71                     325         5
1982-81   V8/5.0L                          71                   350          5       1973-71   L6/4.1L    Opt                                       74                     450         7
1982-81   V8/5.0L    Opt                   73                   465          5       1973-71   V8/5.0L                                              71                     325         5
1982-81   V8/5.7L                          71                   350          5       1973-71   V8/5.0L    Opt                                       74                     450         7
1982-81   V8/5.7L    Dsl or HD             73 2                 465          5
                                                                                     1973-71   V8/5.7L                                              71                     325         5
1982-81   V8/5.7L    Dsl, HD               74 2                 550          7
                                                                                     1973-71   V8/5.7L    Opt                                       74                     450         7
1982      V6/3.8L                          70                   400          5
                                                                                     1973-71   V8/6.6L                                              71                     325         5
1982      V8/4.4L                          71                   350          5
1982      V8/5.7L    Dsl                   73 2                 465          5       1973-71   V8/6.6L    Opt                                       74                     450         7
1982      V8/5.7L    Opt                   73                   465          5       1973-71   V8/7.4L                                              71                     325         5
1981      V6/3.8L    Opt                   73                   465          5       1973-71   V8/7.4L    Opt                                       74                     450         7
1981      V6/3.8L    Opt                   74                   550          7       1970-67   L6/4.1L                                              22F                    250         38
1981      V8/4.4L                          74                   550          7       1970      V8/5.0L                                              24                     325         22
1980-78   V8/5.0L                          71                   325          5       1970      V8/5.7L                                              24                     325         22
1980-78   V8/5.0L    Opt                   74                   450          7       1970      V8/6.5L                                              24                     325         22
1980-78   V8/5.7L                          71                   325          5       1970      V8/6.6L                                              24                     325         22
1980-78   V8/5.7L    Opt                   74                   450          7       1970      V8/7.4L                                              74                     450         7
1980      V6/3.8L                          71                   325          5       1969-68   V8/5.0L    Incl Malibu                               24                     325         22
1980      V6/3.8L    Opt                   74                   450          7       1969-68   V8/5.7L    Incl Malibu                               24                     325         22
1980      V8/4.4L                          71                   325          5       1969-67   L6/4.1L    Opt                                       24                     325         22
1980      V8/4.4L    Opt                   74                   450          7       1969-65   V8/6.5L    Incl Malibu                               24                     325         22
1979-78   L6/4.1L                          71                   325          5       1969-64   L6/3.8L                                              22F                    250         38
1979-78   L6/4.1L    Opt                   74                   450          7       1969-64   L6/3.8L    Opt                                       24                     325         22
1977      L6/4.1L                          72                   350          5       1967-64   V8/4.6L    Incl Malibu                               24                     325         22
1977      V8/5.0L                          74                   450          7
                                                                                     1966      L6/3.2L                                              22F                    250
1977      V8/5.7L                          74                   450          7
                                                                                     1966      L6/3.2L    AC                                        24                     450         22
1976-70   V8/7.4L                          74                   450          7
                                                                                     1966      L6/3.8L    AC or HD                                  24                     325         22
1976      V8/5.7L                          72                   350          5
1976      V8/6.6L                          72                   350          5       Chevrolet Chevy II
1976      V8/7.4L                          72                   350          5       1968-67   L6/4.1L                                              22F                    275         38
1975-70   V8/5.7L                          74                   450          7       1968-67   L6/4.1L    HD or w/AC                                24                     380         22
1975-70   V8/6.6L                          74                   450          7       1968-66   V8/5.3L                                              22F                    275         38
1975-70   V8/7.4L                          74                   450          7       1968-65   V8/5.3L    HD or w/AC                                24                     380         22
1974-73   L6/4.1L                          72                   350          5       1968-62   L4/2.5L    HD or w/AC                                24                     380         22
1973-71   V8/5.0L                          74                   450          7       1968      L4/2.5L                                              22F                    275         38
1972-70   L6/4.1L                          74                   450          7       1968      L6/3.8L                                              22F                    275         38
1970-69   V8/5.7L    w/AC                  24                   325         22       1968      L6/3.8L    HD or w/AC                                24                     380         22
1970-65   L6/4.1L    w/o AC                22F                  250         38       1968      V8/5.0L                                              22F                    275         38
1970      V8/6.6L    w/AC                  24                   325         22       1968      V8/5.0L    HD or w/AC                                24                     380         22
1970      V8/7.4L    w/AC                  24                   325         22       1968      V8/5.4L    HD or w/AC                                24                     380         22
1969-68   V8/5.0L    w/AC                  24                   325         22       1968      V8/5.7L    HD or w/AC                                24                     380         22
1969-67   L6/4.1L    w/o AC                22F                  250         38       1968      V8/6.5L    HD or w/AC                                24                     380         22
1969-66   V8/7.0L    w/AC                  24                   325         22       1967-66   V8/4.6L                                              22F                    275         38
1969-65   V8/6.5L    w/AC                  24                   325         22       1967-63   V8/4.6L    HD or w/AC                                24                     380         22
1969-64   V8/5.4L    w/AC                  24                   325         22       1967-62   L4/2.5L                                              22F                    250         38
1969-63   V8/5.3L    w/AC                  24                   325         22       1967-62   L6/3.2L    HD or w/AC                                24                     380         22
1967-66   L6/4.1L                          22F                  250                  1966-65   V8/5.4L    HD or w/AC                                24                     380         22
1967-66   L6/4.1L                          24                   325         22       1966-64   L6/3.8L    HD or w/AC                                24                     380         22
1967-63   V8/4.6L    w/AC                  24                   325         22       1966      V8/5.4L                                              22F                    275         38
1966      L6/4.1L    AC                    24                   325         22       1963-62   L6/3.2L                                              22F                    250
1965-63   L6/3.8L    w/o AC                22F                  250         38
1965-63   V8/6.7L    w/AC                  24                   325         22
                                                                                     Chevrolet City Express
1965-58   L6/3.8L                          24                   325         22       2017-16 L4/2.0L                                                121R                   600         39
1962-61   V8/6.7L                          24                   325         22       2015    L4/2.0L                                                121R                   600         39
1962-58   V8/4.6L                          24                   325         22       2015    L4/2.0L                                                121R                   N/A         39
1962      V8/5.3L                          24                   325         22       Chevrolet Classic
1961-58   V8/5.7L                          24                   325         22       2005-04 L4/2.2L                                                75                      525         5
                                                                                                                                  See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                            31
                                                                                      Original                                                                                Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                  Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                         (notes)                    Code
                                                                                     CCA/Rating                                                                              CCA/Rating
    Chevrolet Cobalt                                                                                        Chevrolet Corvette (continued)
    2010-09      L4/2.0L                                          90 50                590         37       1968-66   V8/7.0L                             24 50                325         22
    2010-08      L4/2.2L                                          90 50                590         37       1968-62   V8/5.3L                             24                   325         22
    2008-05      L4/2.0L                                          90 50                600         37       1968      V8/5.4L                             24                   325         22
    2008         L4/2.4L                                          90 50                590         37       1965      V8/6.5L                             24                   325         22
    2007-06      L4/2.4L                                          90 50                600         37       1961-57   V8/4.6L                             24                   325         22
    2007-05      L4/2.2L                                          90 50                600         37       1956      V8/4.3L                             24                   325         22
    Chevrolet Colorado                                                                                      Chevrolet Cruze
    2017-16      L4/2.5L                                          48                   615         29       2018-17   L4/1.4L    w/Start/Stop             94R 33, 50           730
    2017-16      V6/3.6L                                          48                   615         29       2018-17   L4/1.6L    Dsl                      94R 50               720         30
    2017         L4/2.8L        Dsl                               49 33                850                  2018-16   L4/1.4L    w/o Start/Stop           47 50                525         28
    2016         L4/2.8L        Dsl                               49 33                850                  2018-16   L4/1.4L    w/o Start/Stop/Opt       48 50                615         29
    2015         L4/2.5L                                          48                   615         29       2016      L4/1.4L    Limited                  94R 33               730
    2015         V6/3.6L                                          48                   615         29       2016      L4/1.4L    Premier                  94R 33               730
    2012-09      V8/5.3L                                          86 11, 40            590                  2015-11   L4/1.4L                             47                   525         28
    2012-08      L4/2.9L                                          86 40                590         31       2015-11   L4/1.8L                             47                   525         28
    2012-07      L5/3.7L                                          86 40                590         31       2015      L4/2.0L    Dsl                      94R 33               730
    2007         L4/2.9L                                          86 11, 40            640                  2014      L4/2.0L    Dsl                      94R 33, 50           730
    2006-04      L4/2.8L                                          86 11, 40            640                  Chevrolet Cruze Limited
    2006-04      L5/3.5L                                          86 11, 40            590                  2016      L4/1.4L                             94R 33               730
    Chevrolet Commercial Chassis                                                                            2016      L4/1.8L                             48                   615         29
    1994-91 V8/5.7L                                               78                   690          7       Chevrolet El Camino
    1992-91 V8/5.0L                                               78                   690          7       1987-85   V6/4.3L                             75                   630
    1992    V6/4.3L                                               78                   690          7       1987-85   V8/5.0L                             75                   525          5
    Chevrolet Corsica (See Beretta, Corsica)                                                                1987-85   V8/5.0L    Opt                      75                   570
    Chevrolet Corvette                                                                                      1984-83   V6/3.8L    Opt                      78                   550          7
    2017         V8/6.2L                                          48 50                615         29       1984-83   V8/5.0L                             70                   405          5
    2016         V8/6.2L                                          48 50                615         29       1984-83   V8/5.0L    Opt                      75                   500          5
    2015         V8/6.2L                                          48 50                615         29       1984-83   V8/5.7L    Dsl, HD                  78                   550          7
    2014         V8/6.2L                                          48                   615         29       1984-81   V6/3.8L                             70                   315          5
    2013-09      V8/7.0L        Z06                               90 50                590         37       1984      V6/3.8L    229 cid                  70                   405          5
    2013-08      V8/6.2L                                          85 50                590                  1984      V6/3.8L    229 cid, HD              75                   500          5
    2013         V8/6.2L        w/52 Pkg                          90 50                590         37       1984      V8/5.7L    Dsl                      70 2                 405          5
    2013         V8/7.0L        Ex Dry Sump System Pkg (Z52)      85                   590                  1983      V6/3.8L    229 cid                  70                   355          5
    2012-11      V8/6.2L        ZR1                               90 50                590         37       1983      V6/3.8L    229 cid, HD              70                   500          5
    2010         V8/6.2L        Z52                               90 50                590         37       1983      V8/5.7L    Dsl                      75                   525          5
    2009         V8/6.2L        Dry Sump Sys Pkg (Z52)            90 50                590         37       1982-81   V8/5.0L    Opt                      73                   465          5
    2008-07      V8/7.0L        Z06                               90 50                600         37       1982      V6/3.8L    229 cid                  70                   400          5
    2007         V8/6.0L                                          90 50                600         37       1982      V6/3.8L    Opt                      73                   465          5
    2006         V8/6.0L                                          90                   590         37       1982      V8/4.4L                             70                   315          5
    2006         V8/7.0L                                          90 50                590         37       1982      V8/4.4L    Opt                      70                   465          5
    2005         V8/6.0L                                          86                   590         31       1982      V8/5.0L                             70                   315          5
    2004         V8/5.7L                                          86                   590         31       1981      V6/3.8L    229 cid                  70                   370          5
    2003         V8/5.7L                                          75 33                600                  1981      V6/3.8L    w/AC                     71                   350          5
    2002         V8/5.7L                                          75 33                525          5       1981      V6/3.8L    229 cid, HD              73                   465          5
    2001         V8/5.7L                                          75 33                500          5       1981      V6/3.8L    Opt                      74                   550          7
    2000-97      V8/5.7L                                          78                   600          7       1981      V8/4.4L                             70                   370          5
    1996         V8/5.7L        16 Valve                          75                   525          5       1981      V8/4.4L    Opt                      73                   465          5
    1995         V8/5.7L        16 Valve                          75                   525          5       1981      V8/5.0L                             70                   370          5
    1995         V8/5.7L        32 Valve                          75                   690                  1980-79   V8/4.4L                             74                   450          7
    1994         V8/5.7L        16 Valve                          75                   525          5
                                                                                                            1980-78   V6/3.8L                             71                   275          5
    1994         V8/5.7L        32 Valve                          75                   690
                                                                                                            1980-76   V8/5.0L                             71                   350          5
    1993         V8/5.7L        16 Valve                          75                   525          5
                                                                                                            1979-76   V8/5.7L                             71                   350          5
    1993         V8/5.7L        32 Valve                          75                   690
                                                                                                            1976      V8/6.6L                             71                   350          5
    1992         V8/5.7L        16 Valve                          75                   525          5
    1992         V8/5.7L        32 Valve                          75                   690                  Chevrolet Epica
    1991         V8/5.7L        16 Valve                          75                   525          5       2006-04 L6/2.5L                               34                   600          9
    1991         V8/5.7L        32 Valve                          75                   690                  Chevrolet Equinox
    1990         V8/5.7L        16 Valve                          75                   525          5       2017      L4/2.4L                             47                   525         28
    1990         V8/5.7L        32 Valve                          75                   690                  2017      V6/3.6L                             48                   660         29
    1988         V8/5.7L                                          75                   525          5       2016-10   L4/2.4L                             47                   525         28
    1987-86      V8/5.7L                                          75                   630                  2016      V6/3.6L                             48                   660         29
    1985-84      V8/5.7L                                          75                   500          5       2015      V6/3.6L                             48                   660         29
    1982-81      V8/5.7L                                          73                   465          5       2014-13   V6/3.6L                             48                   660         29
    1980-76      V8/5.7L                                          71                   325          5
                                                                                                            2012      V6/3.0L                             48                   660         29
    1980-76      V8/5.7L        Opt                               74                   450          7
                                                                                                            2011-10   V6/3.0L                             48                   615         29
    1980         V8/5.0L                                          71                   325          5
                                                                                                            2009-08   V6/3.6L                             47                   650
    1980         V8/5.0L        Opt                               74                   450          7
                                                                                                            2009-07   V6/3.4L                             47                   650
    1974-70      V8/7.4L                                          71                   325          5
    1974-70      V8/7.4L        Opt                               74                   450          7       2006-05   V6/3.4L                             75                   600
    1974-69      V8/5.7L                                          71                   325          5       Chevrolet Express Vans (1500-4500, Cargo)
    1974-69      V8/5.7L        Opt                               74                   450          7       2017      L4/2.8L    Dsl                      78 2                 770          7
    1969         V8/7.0L                                          71                   325          5       2017      V8/4.8L                             78                   600          7
    1969         V8/7.0L        Opt                               74                   450          7       2017      V8/6.0L                             78                   600          7
    See page 88 for Footnotes. Selection may vary by warehouse.

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                                                929
32                                                                                                    Automotive/Light Truck
                                                                     Original                                                                                                     Original
  Year      Engine                 Options         BCI Group Size   Equipment    Fitment     Year      Engine                    Options                       BCI Group Size    Equipment    Fitment
                                                       (notes)                    Code                                                                             (notes)                     Code
                                                                    CCA/Rating                                                                                                   CCA/Rating
Chevrolet Express Vans (1500-4500, Cargo) (continued)                                      Chevrolet LLV (continued)
2016      V8/4.8L                                78                   600          7       1993-90 L4/2.5L      Opt                                          78                     690         7
2016      V8/6.0L                                78                   600          7       1991-90 L4/2.5L                                                   75                     525         5
2016      V8/6.6L    Dsl                         78 2                 770          7       Chevrolet Lumina, Lumina APV, Venture
2015      V8/4.8L                                78                   600          7       2005-97   V6/3.4L                                                 78                     600         7
2015      V8/6.0L                                78                   600          7       2001-96   V6/3.1L                                                 78                     600         7
2015      V8/6.6L    Dsl                         78 2                 770          7       1999-98   V6/3.8L                                                 78                     690         7
2014-10   V6/4.3L                                78                   600          7       1997-96   V6/3.4L                                                 78                     690         7
2014-07   V8/6.6L    Dsl                         78                   770          7       1996      V6/3.4L                                                 75                     525         5
2014-03   V8/4.8L                                78                   600          7       1995-93   V6/3.1L    HD, SEO                                      75                     690
2014-03   V8/5.3L                                78                   600          7       1995-92   V6/3.8L                                                 75                     630
2014      V8/6.0L                                78                   600          7       1995-91   V6/3.4L                                                 75                     690
2013-09   V8/6.6L                                78                   770          7       1995-90   V6/3.1L                                                 75                     525         5
2013-03   V8/6.0L                                78                   600          7       1993      L4/2.2L                                                 75                     525         5
2009-06   V6/4.3L                                78                   600          7       1992-90   L4/2.5L                                                 75                     630
2006      V8/6.6L    Dsl                         79 2                 800         41       1992      V6/3.1L    Opt                                          75                     690
2005-96   V6/4.3L                                78                   600          7       Chevrolet Malibu Limited
2005-03   V6/4.3L    Opt                         79                   800         41
                                                                                           2016      L4/2.5L    Aux Battery                                  401 33, 50             155
2005-03   V8/4.8L    Opt                         79                   800         41
                                                                                           2016      L4/2.5L    Start/Stop                                   49 33                  850
2005-03   V8/5.3L                                78                   600          7
                                                                                           2016      L4/2.5L    Start/Stop                                   94R 33                 730
2005-03   V8/5.3L    Opt                         79                   800         41
                                                                                           2016      L4/2.5L    Aux Battery                                  N/A 33, 50             155
2005-03   V8/6.0L    Opt                         79                   800         41
2002-96   V8/5.0L                                78                   600          7       Chevrolet Malibu, Monte Carlo
2002-96   V8/5.7L                                78                   600          7       2017      L4/1.5L                                                 48 33                   700
2002-01   V8/8.1L                                78                   600          7       2017      L4/1.8L    Hybrid                                       47                      525        28
2002      V6/4.3L    Opt                         78                   770          7       2017      L4/2.0L                                                 48                      660        29
2002      V8/5.0L    Opt                         78                   770          7       2016      L4/1.5L                                                 48 33                   700
2002      V8/5.7L    Opt                         78                   770          7       2016      L4/1.8L    Hybrid                                       47                      525        28
2002      V8/6.5L    Dsl                         78                   770          7       2016      L4/2.0L                                                 48                      660        29
2002      V8/8.1L    Opt                         78                   770          7       2015-14   L4/2.5L    Aux for Start/Stop                           401 33, 50              155
2001-96   V8/6.5L    Dsl                         78                   600          7       2015      L4/2.0L                                                 47                      525        28
2001-00   V6/4.3L    Opt                         78                   690          7       2015      L4/2.5L    Start/Stop                                   49 33                   850
2001-00   V8/5.0L    Opt                         78                   690          7       2014-13   L4/2.0L    w/o Start/Stop                               47                      525        28
2001-00   V8/5.7L    Opt                         78                   690          7       2014-13   L4/2.4L    w/o Start/Stop                               47                      525        28
2001-00   V8/6.5L    Dsl, HD                     78                   690          7       2014-13   L4/2.5L    w/o Start/Stop                               47                      525        28
2001      V8/8.1L    Opt                         78                   690          7       2014      L4/2.5L    Start/Stop                                   49 33                   850
2000-96   V8/7.4L                                78                   600          7       2012-09   L4/2.4L    Ex SS                                        90                      590        37
2000      V8/7.4L    Opt                         78                   690          7       2012-08   V6/3.6L    Ex SS                                        90                      590        37
Chevrolet G-Series Vans                                                                    2010-08   V6/3.5L    Ex SS                                        90                      590        37
                                                                                           2008      L4/2.2L    Ex SS                                        90                      590        37
1996-94   V6/4.3L                                78                   600          7
                                                                                           2008      L4/2.4L    HD, Hybrid                                   90                      590        37
1996-94   V8/5.7L                                78                   600          7
                                                                                           2007-06   V8/5.3L    SS                                           85                      625
1996-94   V8/6.5L    Dsl                         78                   600          7
                                                                                           2007-04   L4/2.2L    Ex SS                                        75                      525         5
1996-94   V8/7.4L                                78                   600          7
                                                                                           2007      V6/3.5L                                                 34                      690         9
1995-94   V6/4.3L                                78                   600          7
                                                                                           2007      V6/3.5L    Ex SS                                        75                      690
1995-94   V8/5.0L                                78                   600          7
                                                                                           2007      V6/3.9L    Ex SS                                        75                      690
1995-94   V8/5.7L                                78                   600          7
                                                                                           2006-04   V6/3.5L                                                 75                      525         5
1995-94   V8/6.5L    Dsl                         78                   600          7
                                                                                           2006      V6/3.5L                                                 34                      600         9
1993-91   V6/4.3L                                78                   630          7
                                                                                           2006      V6/3.9L                                                 34                      750
1993-91   V8/5.0L                                78                   630          7
                                                                                           2006      V6/3.9L                                                 75                      590
1993-91   V8/5.7L                                78                   630          7
                                                                                           2005-04   V6/3.8L                                                 78                      770         7
1993-90   V8/6.2L    Dsl                         78                   540          7
                                                                                           2005-00   V6/3.4L                                                 78                      600         7
1993-90   V8/7.4L                                78                   630          7
                                                                                           2003-98   V6/3.8L                                                 78                      600         7
1990      V6/4.3L                                75                   525          5
                                                                                           2003-97   V6/3.1L    Ex SS                                        75                      600
1990      V8/5.0L                                75                   525          5
                                                                                           2000      V6/3.4L    Opt                                          78                      690         7
1990      V8/5.7L                                75                   525          5
                                                                                           2000      V6/3.8L    Opt                                          78                      690         7
Chevrolet HHR                                                                              1999-97   L4/2.4L    Ex SS                                        75                      600
2011-06 L4/2.2L                                  90 50                600         37       1999-97   V6/3.1L    Ex SS                                        75                      600
2011-06 L4/2.4L                                  90 50                600         37       1999-96   V6/3.1L                                                 78                      600         7
2010-08 L4/2.0L                                  90 50                600         37       1997-96   V6/3.4L                                                 78                      600         7
Chevrolet Impala (See Caprice, Impala)                                                     1995      V6/3.1L                                                 75                      525         5
Chevrolet Impala Limited                                                                   1995      V6/3.1L    HD, SEO                                      75                      690
2016      V6/3.6L    Ex PPkg Version             34                   600                  1995      V6/3.4L                                                 75                      690
2016      V6/3.6L    PPkg Version                34                   720                  1988-86   V8/5.0L                                                 70                      525         5
2015      V6/3.6L    Ex PPkg                     34                   600          9       1988-86   V8/5.0L    Opt                                          75                      570
2015      V6/3.6L    PPkg                        34                   720                  1988-85   V6/4.3L                                                 75                      630
2014      V6/3.6L    Ex PPkg                     34                   600          9       1987-86   V6/3.8L    Opt                                          75                      630
2014      V6/3.6L    PPkg                        34                   720                  1987      V6/3.8L                                                 75                      525         5
                                                                                           1986-85   V6/3.8L                                                 75                      500         5
Chevrolet K Series Pickup (See C/K, R/V Pickups)                                           1985-84   V8/5.0L                                                 75                      500         5
Chevrolet LLV                                                                              1985-84   V8/5.0L    Opt                                          75                      630
1995-94 L4/2.2L                                  75                   525          5       1985-83   V6/3.8L    Opt                                          78                      550         7
1995-94 L4/2.2L      Opt                         78                   690          7       1984-83   V6/3.8L    229 cid, HD                                  75                      500         5
1993-92 L4/2.5L                                  75                   525          5       1984-83   V8/5.7L    Dsl, HD                                      78                      550         7
                                                                                                                                           See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                  of
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    Automotive/Light Truck                                                                                                                                                               33
                                                                                      Original                                                                                   Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                    Options      BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                            (notes)                    Code
                                                                                     CCA/Rating                                                                                 CCA/Rating
    Chevrolet Malibu, Monte Carlo (continued)                                                               Chevrolet Prizm
    1984-81      V6/3.8L                                          70                   315          5       2002-98 L4/1.8L                                 35                    310          3
    1984         V6/3.8L        229 cid                           70                   405          5       Chevrolet R Series Pickup (See C/K, R/V Pickups)
    1984         V8/5.7L        Dsl                               70                   405          5
                                                                                                            Chevrolet Silverado (1500, 2500, 3500)
    1983-82      V6/4.3L        Dsl                               75                   500          5
    1983-81      V6/3.8L                                          70                   315          5       2017-16   V8/5.3L                               94R                   720         30
    1983         V6/3.8L        229 cid                           70                   355          5       2017-16   V8/6.2L                               94R                   720         30
    1983         V6/3.8L        229 cid, HD                       75                   500          5       2017-16   V8/6.6L    Dsl                        48 2                  730         29
    1983         V6/3.8L        Opt                               78                   550          7       2017      V6/4.3L                               48                    730         29
    1983         V6/4.3L        Dsl, HD                           78                   550          7       2017      V8/6.0L                               94R                   720         30
    1983         V8/5.0L                                          70                   405          5       2016      V6/4.3L                               48                    730         29
    1983         V8/5.0L        Opt                               75                   500          5       2016      V8/6.0L                               94R                   720         30
    1983         V8/5.7L        Dsl                               75                   500          5       2016      V8/6.6L    Dsl                        94R 2                 720         30
    1983         V8/5.7L        Dsl, HD                           78                   550          7       2015      V6/4.3L                               48                    730         29
    1982-81      V8/4.4L        Opt                               73                   465          5       2015      V8/5.3L                               94R                   720         30
    1982-81      V8/5.0L        Opt                               73                   465          5       2015      V8/6.0L                               94R                   720         30
    1982         V6/3.8L        229 cid                           70                   400          5       2015      V8/6.2L                               94R                   720         30
    1982         V6/4.3L        Dsl, HD                           73                   465          5       2015      V8/6.6L    Dsl                        48 2                  730         29
    1982         V8/4.4L                                          70                   315          5       2014-09   V6/4.3L    Opt                        48                    730         29
    1982         V8/5.0L                                          70                   315          5       2014-09   V8/5.3L    Opt                        48                    730         29
    1982         V8/5.7L        Dsl                               73 2                 465          5       2014-08   V8/6.6L    Dsl                        48 2                  730         29
    1982         V8/5.7L        Dsl, HD                           74 2                 550          7       2014      V6/4.3L                               48                    730         29
    1981         V6/3.8L        229 cid                           70                   370          5       2014      V6/4.3L                               94R                   720         30
    1981         V6/3.8L        HBL & AC                          71                   350          5       2014      V8/5.3L                               94R                   720         30
    1981         V6/3.8L        229 cid, HD                       73                   465          5       2014      V8/6.0L                               94R                   720         30
    1981         V6/3.8L        Opt                               74                   550          7       2014      V8/6.2L                               94R                   720         30
    1981         V8/4.4L                                          70                   370          5       2013-09   V6/4.3L                               48                    615         29
    1981         V8/5.0L                                          70                   370          5       2013-09   V8/4.8L                               48                    615         29
    1981         V8/5.7L                                          70                   370          5       2013-09   V8/4.8L    Opt                        48                    730         29
    1981         V8/5.7L        Opt                               73                   465          5       2013-09   V8/5.3L                               48                    615         29
    1980-79      V8/4.4L                                          71                   325          5       2013-09   V8/6.0L                               48                    615         29
    1980-79      V8/4.4L        Opt                               74                   450          7       2013-09   V8/6.0L    Opt                        48                    730         29
    1980-78      V6/3.8L                                          71                   325          5       2013-09   V8/6.2L                               48                    615         29
    1980-78      V6/3.8L        Opt                               74                   450          7       2013-09   V8/6.2L    Opt                        48                    730         29
    1980-76      V8/5.0L                                          71                   325          5       2010-09   V8/6.0L    HD, Hybrid                 48                    730         29
    1980-76      V8/5.0L        Opt                               74                   450          7       2008-07   V6/4.3L    From Late 2007             48                    615         29
    1980-73      V8/5.7L                                          71                   325          5       2008-07   V8/4.8L    From Late 2007             48                    615         29
    1980-73      V8/5.7L        Opt                               74                   450          7       2008-07   V8/5.3L    From Late 2007             48                    615         29
    1979-78      V6/3.3L                                          71                   325          5       2008-07   V8/6.0L    From Late 2007             48                    615         29
    1979-78      V6/3.3L        Opt                               74                   450          7       2007-06   V6/4.3L    Early 2007                 78                    600          7
    1977-73      L6/4.1L                                          71                   325          5       2007-06   V8/4.8L    Early 2007                 78                    600          7
    1977-73      L6/4.1L        Opt                               74                   450          7       2007-06   V8/5.3L    Early 2007                 78                    600          7
    1977-71      V8/5.7L                                          71                   325          5       2007-06   V8/6.0L    Early 2007                 78                    600          7
    1977-71      V8/5.7L        Opt                               74                   450          7       2007-03   V8/6.6L    Dsl                        78                    770          7
    1976-71      V8/6.6L                                          71                   325          5       2006-03   V8/6.6L    Dsl                        78                    770          7
    1976-71      V8/6.6L        Opt                               74                   450          7       2006      V8/6.0L    Early 2007                 78                    600          7
    1975-71      V8/7.4L                                          71                   325          5       2006      V8/8.1L    Early 2007                 78                    600          7
    1975-71      V8/7.4L        Opt                               74                   450          7       2005-99   V6/4.3L                               78                    600          7
    1970         V8/5.7L                                          24                   325         22       2005-99   V6/4.3L    Opt                        78                    770          7
    1970         V8/6.6L                                          24                   325         22       2005-99   V8/4.8L                               78                    600          7
    1970         V8/7.4L                                          74                   450          7       2005-99   V8/4.8L    Opt                        78                    770          7
    1967-65      V8/6.5L                                          24                   325         22       2005-04   V8/5.3L                               78                    600          7
    Chevrolet Metro                                                                                         2005-04   V8/5.3L    Opt                        78                    770          7
    2001-98 L4/1.3L                                               26R                  390         38       2005-01   V8/6.0L                               78                    600          7
    2000-98 L3/1.0L                                               26R                  390         38       2005-01   V8/6.0L    Opt                        78                    770          7
    1992    L4/1.3L                                               26                   440                  2005-01   V8/8.1L                               78                    600          7
                                                                                                            2005-01   V8/8.1L    Opt                        78                    770          7
    Chevrolet Monte Carlo (See Malibu, Monte Carlo)
                                                                                                            2004-01   V8/6.0L                               78                    600          7
    Chevrolet Optra                                                                                         2004-01   V8/6.0L    Opt                        78                    770          7
    2007-04 L4/2.0L                                               86                   640                  2003-99   V8/5.3L                               78                    600          7
    Chevrolet Orlando                                                                                       2003-99   V8/5.3L    Opt                        78                    770          7
    2014-12 L4/2.4L                                               48                   615         29       2003-01   V8/6.0L                               78                    600          7
    Chevrolet P30                                                                                           2003-01   V8/6.0L    Opt                        78                    770          7
    1999-94 V8/6.5L Dsl                                           78                   600          7       2002-01   V8/6.6L    Dsl                        78                    600          7
    1999-91 V6/4.3L                                               78                   600          7       2002-01   V8/6.6L    Dsl, HD                    78                    770          7
    1999-91 V8/5.7L                                               78                   600          7       2000-99   V8/5.3L                               78                    600          7
    1999-90 V8/7.4L                                               78                   600          7       2000-99   V8/5.3L    Opt                        78                    770          7
    1993-90 V8/6.2L Dsl                                           78                   600          7       2000-99   V8/6.0L                               78                    600          7
    1991-90 L4/3.9L                                               75                   425          5       2000-99   V8/6.0L    Opt                        78                    770          7
    1991-90 L4/3.9L Opt                                           78                   630          7       Chevrolet Silverado 2500 HD Classic
    1990        V6/4.3L                                           75                   525          5       2007      V8/8.1L    Late                       48                    615         29
    1990        V8/5.7L                                           75                   525          5       2007      V8/8.1L    Early                      78                    600          7
    See page 88 for Footnotes. Selection may vary by warehouse.

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34                                                                                               Automotive/Light Truck
                                                                Original                                                                                                    Original
  Year      Engine                Options     BCI Group Size   Equipment    Fitment     Year      Engine                   Options                       BCI Group Size    Equipment    Fitment
                                                  (notes)                    Code                                                                            (notes)                     Code
                                                               CCA/Rating                                                                                                  CCA/Rating
Chevrolet Silverado 3500 Classic                                                      Chevrolet Tahoe
2007      V8/6.0L    Late                   48                   615         29       2017      V8/5.3L                                                94R                    720         30
2007      V8/6.0L    Early                  78                   600          7       2016      V8/5.3L                                                94R                    720         30
2007      V8/6.6L    Dsl                    78 2                 770          7       2015      V8/5.3L                                                48                     660         29
2007      V8/8.1L    Late                   48                   615         29       2015      V8/5.3L    Opt                                         48                     730         29
2007      V8/8.1L    Early                  78                   600          7       2015      V8/5.3L                                                94R                    720         30
Chevrolet Sonic                                                                       2014-12   V8/5.3L                                                48                     660         29
2017      L4/1.4L                           47                   525         28       2014-09   V8/5.3L    Opt                                         48                     730         29
2017      L4/1.8L                           47                   525         28       2013-12   V8/6.0L    Hybrid                                      48                     660         29
2016      L4/1.4L                           47                   525         28       2013-11   V8/6.0L    Hybrid, Opt                                 48                     730         29
2016      L4/1.8L                           47                   525         28       2011-08   V8/6.0L    Hybrid                                      48                     615         29
2015      L4/1.4L                           47                   525         28       2011-07   V8/5.3L                                                48                     615         29
2015      L4/1.8L                           47                   525         28       2010-09   V8/6.0L    Hybrid Option                               48                     730         29
2014-12   L4/1.4L                           47                   525         28       2009-08   V8/6.2L                                                48                     615         29
2014-12   L4/1.8L                           47                   525         28       2009-08   V8/6.2L    Opt                                         48                     730         29
                                                                                      2009-07   V8/4.8L                                                48                     615         29
Chevrolet Spark
                                                                                      2009      V8/4.8L    Opt                                         48                     730         29
2017-16 L4/1.4L                             140R                 410
                                                                                      2006-00   V8/4.8L                                                78                     600         7
2015    L4/1.2L                             140R                 410
                                                                                      2006-00   V8/5.3L                                                78                     600         7
2014-13 L4/1.2L                             140R 45              410
                                                                                      2005-03   V8/4.8L    Opt                                         78                     770         7
Chevrolet Spark EV                                                                    2005-03   V8/5.3L    Opt                                         78                     770         7
                                                   33
2016                 Electric               140R                 520                  2002-00   V8/4.8L    Opt                                         78                     690         7
2015                 Electric               140R 33              520                  2001-00   V8/5.3L    Opt                                         78                     690         7
2014                 Electric               140R 33              520                  2000-99   V8/5.7L    Opt                                         78                     690         7
Chevrolet Sprint                                                                      2000-95   V8/5.7L                                                78                     600         7
1991-90 L3/1.0L                             45                   400         20       1999      V8/5.7L    HD, PPkg                                    78                     770         7
Chevrolet SS                                                                          1999      V8/6.5L    Dsl                                         78                     690         7
2017      V8/6.2L                           48 33, 50            730                  1998-97   V8/6.5L    Dsl                                         78                     600         7
2016      V8/6.2L                           48 33, 50            730                  1996-95   V8/6.5L    Dsl                                         78                     770         7
2015      V8/6.2L                           48 33, 50            730                  Chevrolet Tracker
2014      V8/6.2L                           48 33, 50            730                  2004-01   V6/2.5L                                                85                     600
Chevrolet S-Series: Blazer, Pickup                                                    2003      L4/2.0L                                                85                     600
2004-94   V6/4.3L    Opt                    75                   690                  2002-99   L4/1.6L                                                85                     550
2004-90   V6/4.3L                           75                   525          5       2002-99   L4/2.0L                                                85                     550
2003-94   L4/2.2L                           75                   525          5       1998      L4/1.6L                                                26R                    500         38
2003-94   L4/2.2L    Opt                    75                   690                  1991-90   L4/1.6L                                                26                     525
1994-90   V6/4.3L                           75                   525          5       Chevrolet TrailBlazer
1994      V6/4.3L    Opt                    75                   690                  2009-06 V8/6.0L                                                  78 40                  600         7
1993-90   L4/2.5L                           75                   525          5       2009-02 L6/4.2L                                                  78 40                  600         7
1993-90   L4/2.5L    Opt                    78                   630          7       2008-06 V8/5.3L                                                  78 40                  600         7
1993-90   V6/2.8L                           75                   525          5       Chevrolet TrailBlazer EXT
1993-90   V6/2.8L    Opt                    78                   630          7       2006-03 V8/5.3L                                                  78 40                  600         7
1993-90   V6/4.3L    Opt                    78                   630          7       2006-02 L6/4.2L                                                  78 40                  600         7
Chevrolet SSR                                                                         Chevrolet Traverse
2006-05 V8/6.0L                             78                   600          7       2017      V6/3.6L                                                48 50                  660         29
2004-03 V8/5.3L                             78                   600          7       2016      V6/3.6L                                                48 50                  660         29
Chevrolet Suburban                                                                    2015      V6/3.6L                                                48 50                  660         29
2017      V8/5.3L                           94R                  720         30       2014-10   V6/3.6L                                                48 50                  660         29
2016      V8/5.3L                           94R                  720         30       2009      V6/3.6L                                                48 50                  730         29
2015      V8/5.3L                           94R                  720         30       Chevrolet Trax
2014-12   V8/5.3L                           48                   660         29       2017-15 L4/1.4L                                                  47                     525         28
2014-09   V8/5.3L    Opt                    48                   730         29       2014-13 L4/1.4L                                                  47                     525         28
2013-12   V8/6.0L                           48                   660         29       Chevrolet Uplander
2013-09   V8/6.0L    Opt                    48                   730         29
                                                                                      2009-06 V6/3.9L                                                  34                     600         9
2011-07   V8/5.3L                           48                   615         29
                                                                                      2006-05 V6/3.5L                                                  34                     600         9
2011-07   V8/6.0L                           48                   615         29
2009-07   V8/6.0L                           48                   615         29       Chevrolet V Series Pickup (See C/K, R/V Pickups)
2009      V8/6.0L    Opt                    48                   730         29       Chevrolet Volt
2006-01   V8/8.1L                           78                   600          7       2017-16   L4/1.5L    Hybrid                                      47 33, 50              600
2006-00   V8/5.3L                           78                   600          7       2016      L4/1.5L    Hybrid                                      47 33, 50              630
2006-00   V8/6.0L                           78                   600          7       2015-11   L4/1.4L    Hybrid                                      47 33, 50              600
2006      V8/6.0L    Opt                    78                   690          7       2015      L4/1.4L    Hybrid                                      47 33, 50              630
2005-03   V8/5.3L    Opt                    78                   770          7       2014-11   L4/1.4L    Hybrid                                      47 33, 50              630
2005-03   V8/6.0L    Opt                    78                   770          7       Chrysler 200
2005-03   V8/8.1L    Opt                    78                   770          7       2017      L4/2.4L                                                48                      600        29
2002-01   V8/8.1L    Opt                    78                   690          7       2017      L4/2.4L    Opt                                         94R                     730        30
2002-00   V8/5.3L    Opt                    78                   690          7       2017      V6/3.6L                                                48                      600        29
2002-00   V8/6.0L    Opt                    78                   690          7       2017      V6/3.6L    Opt                                         94R                     730        30
2000      V8/5.3L    HD or PPkg             78                   770          7       2016      L4/2.4L                                                48                      600        29
2000      V8/6.0L    HD or PPkg             78                   770          7       2016      L4/2.4L    Opt                                         94R                     730        30
Chevrolet Suburban 3500 HD                                                            2016      V6/3.6L                                                48                      600        29
2017-16 V8/6.0L                             94R                  720         30       2016      V6/3.6L    Opt                                         94R                     730        30
                                                                                                                                     See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                                  35
                                                                                      Original                                                                                      Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                 Options            BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                               (notes)                    Code
                                                                                     CCA/Rating                                                                                    CCA/Rating
    Chrysler 200 (continued)                                                                                Chrysler LeBaron
    2015         L4/2.4L                                          48                   600         29       1995-92   V6/3.0L                                   34                   500          9
    2015         L4/2.4L        Opt                               94R                  730         30       1994-92   L4/2.5L                                   34                   600          9
    2015         V6/3.6L                                          48                   600         29       1991      L4/2.5L    Coupe/Conv, Turbo              34                   500          9
    2015         V6/3.6L        Opt                               94R                  730         30       1991      L4/2.5L    Coupe/Conv, Ex Turbo           34                   625          9
    2014-11      L4/2.4L                                          86                   525         31       1991      L4/2.5L    Sedan                          34                   625          9
    2014-11      V6/3.6L                                          86                   525         31       1991      V6/3.0L    Coupe/Conv                     34                   625          9
    Chrysler 300                                                                                            1991      V6/3.0L    Sedan                          34                   625          9
    2017         V6/3.6L                                          94R 50               730         30       1990      L4/2.2L                                   34                   500          9
    2017         V8/5.7L                                          94R 50               730         30       1990      L4/2.5L                                   34                   500          9
    2016         V6/3.6L                                          94R                  730         30       1990      V6/3.0L                                   34                   500          9
    2016         V8/5.7L                                          94R                  730         30       Chrysler Neon
    2015         V6/3.6L                                          94R 50               730         30       2002-00 L4/2.0L                                     26R                  450         38
    2015         V8/5.7L                                          94R 50               730         30       Chrysler New Yorker
    2014-12      V8/6.4L                                          94R 50               730         30       1996-95   V6/3.5L                                   34                   600          9
    2014-11      V6/3.6L                                          94R 50               730         30       1994      V6/3.5L                                   34                   500          9
    2014-11      V8/5.7L                                          94R 50               730         30       1993-91   V6/3.8L                                   34                   500          9
    2010-05      V6/2.7L                                          94R 50               730         30       1993-90   V6/3.3L                                   34                   500          9
    2010-05      V6/3.5L                                          94R 50               730         30
    2010-05      V8/5.7L                                          94R 50               730         30
                                                                                                            Chrysler Pacifica
    2010-05      V8/6.1L                                          94R 50               730         30       2017      V6/3.6L    Hybrid                         48 33                760
                                                                                                            2017      V6/3.6L    Gas                            94R                  750         30
    Chrysler 300M                                                                                           2017      V6/3.6L    US, Gas                        94R                  750         30
    2004-99 V6/3.5L                                               34                   600          9       2008-07   V6/3.8L                                   34                   600          9
    Chrysler Aspen                                                                                          2008-07   V6/4.0L                                   34                   600          9
    2009-08      V8/4.7L                                          65 57                750          1       2006-05   V6/3.5L                                   34                   600          9
    2009-08      V8/5.7L                                          65 57                750          1       2005      V6/3.8L                                   34                   600          9
    2007         V8/4.7L                                          65                   750          1       2004      V6/3.5L                                   34                   500          9
    2007         V8/5.7L                                          65                   750          1       Chrysler Prowler
    Chrysler Cirrus                                                                                         2002-01 V6/3.5L                                     34                   525          9
    2000-99      L4/2.4L                                          75                   510          5       Chrysler PT Cruiser
    2000-95      V6/2.5L                                          75                   510          5       2010-03 L4/2.4L                                     26R                  510         38
    2000         L4/2.0L                                          75                   510          5       2002-01 L4/2.4L                                     26R                  540         38
    1997-95      L4/2.4L                                          75                   510          5
                                                                                                            Chrysler Sebring
    Chrysler Concorde, Intrepid, LHS                                                                        2010-07   V6/3.5L    Top Terminal                   86                   525         31
    2004-98      V6/2.7L                                          34                   500          9       2010-01   L4/2.4L    w/side Terminals               75                   510          5
    2004-00      V6/3.5L                                          34                   600          9       2010-01   L4/2.4L    Top Terminal                   86                   525         31
    2001-98      V6/3.2L                                          34                   600          9
                                                                                                            2010-01   V6/2.7L    w/side Terminals               75                   510          5
    2001-00      V6/3.5L                                          34                   600          9
                                                                                                            2010-01   V6/2.7L    Top Terminal                   86                   525         31
    1999         V6/3.5L                                          34                   600          9
                                                                                                            2005-01   V6/3.0L    w/side Terminals               75                   510          5
    1997-95      V6/3.3L                                          34                   600          9
                                                                                                            2005-01   V6/3.0L    Top Terminal                   86                   525         31
    1997-95      V6/3.5L                                          34                   600          9
                                                                                                            2000-98   V6/2.5L    Top Terminal                   86                   525         31
    1996-95      V6/3.3L                                          34                   600          9
                                                                                                            2000-95   V6/2.5L    w/side Terminals               75                   510          5
    1994-93      V6/3.3L                                          34                   500          9
                                                                                                            1999-98   L4/2.0L    w/side Terminals               75                   510          5
    1994-93      V6/3.5L                                          34                   500          9
                                                                                                            1999-98   L4/2.0L    Top Terminal                   86                   525         31
    Chrysler Crossfire                                                                                      1998      L4/2.4L    Conv                           75                   510          5
    2008         V6/3.2L                                          48 50                700         29       1997-96   L4/2.0L    Ex Conv w/MT                   86                   430         31
    2007-06      V6/3.2L                                          48 50                640         29       1997-96   L4/2.4L    Conv                           75                   510          5
    2005         V6/3.2L                                          48 50                700         29       1997-95   L4/2.0L    Top Terminal, Ex Conv, Ex MT   86                   525         31
    2004         V6/3.2L                                          48 50                580         29       1997-95   V6/2.5L    Top Terminal, Ex Conv, Ex MT   86                   525         31
    Chrysler Daytona, Dynasty                                                                               Chrysler TC by Maserati
    1993-92      L4/2.2L                                          34                   600          9       1991-90 V6/3.0L                                     34                   500          9
    1993-92      L4/2.5L                                          34                   600          9       1990    L4/2.2L                                     34                   500          9
    1993-91      V6/3.3L                                          34                   500          9       Chrysler Town & Country
    1993-90      V6/3.0L                                          34                   500          9
                                                                                                            2016      V6/3.6L                                   94R                  730         30
    1991         L4/2.5L        Turbo                             34                   500          9
                                                                                                            2015      V6/3.6L                                   94R                  730         30
    1991         L4/2.5L                                          34                   625          9
                                                                                                            2014-12   V6/3.6L                                   94R                  730         30
    1991         L4/2.5L        Ex Turbo                          34                   625          9
                                                                                                            2011      V6/3.6L                                   94R                  700         30
    1991         V6/3.0L                                          34                   625          9
                                                                                                            2010      V6/3.3L                                   34                   600
    1990         L4/2.2L                                          34                   500          9
                                                                                                            2010      V6/3.8L                                   34                   600
    1990         L4/2.5L                                          34                   500          9
                                                                                                            2010      V6/4.0L                                   34                   600
    1990         V6/3.0L                                          34                   500          9
                                                                                                            2009-08   V6/3.3L                                   34 57                600
    1990         V6/3.3L                                          34                   600          9
                                                                                                            2009-08   V6/3.8L                                   34 57                600
    Chrysler Grand Voyager, Voyager                                                                         2009-08   V6/4.0L                                   34 57                600
    2003-01      V6/3.3L                                          34                   600          9       2007      V6/3.3L                                   34                   600
    2003-00      L4/2.4L                                          34                   600          9       2007      V6/3.8L                                   34                   600
    2000         V6/3.0L                                          34                   500          9       2006-96   V6/3.3L                                   34                   500          9
    2000         V6/3.3L                                          34                   500          9       2006-94   V6/3.8L    Opt                            34                   600          9
    2000         V6/3.3L        Opt                               34                   600          9       2006-04   V6/3.3L    Opt                            34                   600          9
    Chrysler Imperial                                                                                       2006-03   V6/3.8L                                   34                   500          9
    1993-91 V6/3.8L                                               34                   500          9       2002-96   V6/3.8L                                   34                   500          9
    1991-90 V6/3.3L                                               34                   500          9       1997      V6/3.8L                                   34                   600          9
    See page 88 for Footnotes. Selection may vary by warehouse.

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36                                                                                                     Automotive/Light Truck
                                                                      Original                                                                                              Original
  Year      Engine                     Options      BCI Group Size   Equipment    Fitment     Year      Engine             Options                       BCI Group Size    Equipment    Fitment
                                                        (notes)                    Code                                                                      (notes)                     Code
                                                                     CCA/Rating                                                                                            CCA/Rating
Chrysler Town & Country (continued)                                                         Dodge Caravan, Grand Caravan (continued)
1995-94 V6/3.8L                                   34                   500          9       2007      V6/3.8L                                          34                     600
1993-92 V6/3.3L                                   34                   500          9       2006-90   V6/3.3L                                          34                     500         9
1991-90 V6/3.3L                                   34                   625          9       2006-04   V6/3.8L    Opt                                   34                     600         9
Daewoo Lanos                                                                                2006-03   L4/2.4L                                          34                     500         9
2002-99 L4/1.5L                                   86 11                525         31       2006-03   L4/2.4L    Opt                                   34                     600         9
2002-99 L4/1.6L                                   86 11                525         31       2006-03   V6/3.8L                                          34                     500         9
                                                                                            2006-01   V6/3.3L    Opt                                   34                     600         9
Daewoo Leganza
                                                       11
                                                                                            2002-96   L4/2.4L                                          34                     600         9
2002-01 L4/2.2L                                   86                   620
                                                                                            2002-94   V6/3.8L                                          34                     600         9
2000-99 L4/2.2L                                   86 11                630
                                                                                            2000-91   V6/3.0L                                          34                     500         9
Daewoo Nubira                                                                               1999-96   L4/2.4L    Opt                                   34                     685         9
2002-01 L4/2.0L                                   86 11                620                  1999-96   V6/3.8L                                          34                     600         9
2000-99 L4/2.0L                                   86 11                630                  1999-94   V6/3.8L    Opt                                   34                     685         9
Daihatsu                                                                                    1999-92   V6/3.0L    Opt                                   34                     685         9
1992-90 L3/1.0L      Charade                      26R                  500         38       1999-92   V6/3.3L    Opt                                   34                     685         9
1992-90 L4/1.3L      Charade                      26R                  500         38       1997-96   L4/2.4L                                          34                     600         9
1992-90 L4/1.6L      Rocky                        26                   500                  1997-96   L4/2.4L    Opt                                   34                     685         9
Dodge 2000 GTX                                                                              1995-92   L4/2.5L                                          34                     600         9
1990      L4/2.0L                                 24                   500         22       1995-92   L4/2.5L    Opt                                   34                     685         9
                                                                                            1991-90   L4/2.5L                                          34                     500         9
Dodge Avenger                                                                               1991      V6/3.3L    Opt                                   34                     625         9
2014-11   V6/3.6L                                 86                   525         31       1990      L4/2.5L    Opt                                   34                     625         9
2014-08   L4/2.4L                                 86                   525         31       1990      V6/3.0L                                          34                     500         9
2010-08   V6/2.7L                                 86                   525         31       1990      V6/3.0L    Opt                                   34                     625         9
2010-08   V6/3.5L                                 86                   525         31       1990      V6/3.3L    Opt                                   34                     625         9
2000-95   V6/2.5L                                 86                   525         31
1999-95   L4/2.0L                                 86                   525         31
                                                                                            Dodge Challenger
1997-95   L4/2.0L    MT                           86                   430         31       2017      V6/3.6L                                          94R 50                 730         30
                                                                                            2017      V8/5.7L                                          94R 50                 730         30
Dodge B-Series Vans (150, 250, 350, 1500, 3500)                                             2017      V8/6.2L                                          94R 50                 730         30
1998-95   V6/3.9L    Ex T-Series                  27                   600         35       2017      V8/6.4L                                          94R 50                 730         30
1998-95   V6/3.9L    HD, Ex T-Series              27                   750         35       2016      V6/3.6L                                          94R                    730         30
1998-95   V8/5.2L    Ex T-Series                  27                   600         35       2016      V8/5.7L                                          94R                    730         30
1998-95   V8/5.2L    HD, Ex T-Series              27                   750         35       2016      V8/6.2L                                          94R                    730         30
1998-95   V8/5.9L    Ex T-Series                  27                   600         35       2016      V8/6.4L                                          94R                    730         30
1998-95   V8/5.9L    HD, Ex T-Series              27                   750         35       2015      V6/3.6L                                          94R 50                 730         30
1997-95   V6/3.9L    Ex T-Series                  27                   600         35       2015      V8/5.7L                                          94R 50                 730         30
1997-95   V6/3.9L    HD, Ex T-Series              27                   750         35       2015      V8/6.2L                                          94R 50                 730         30
1995      V6/3.9L    T-Series                     27 16                810                  2015      V8/6.4L                                          94R 50                 730         30
1995      V8/5.2L    T-Series                     27 16                810                  2014-11   V6/3.6L                                          94R 50                 730         30
1995      V8/5.9L    T-Series                     27 16                810                  2014-11   V8/6.4L                                          94R 50                 730         30
1994-92   V6/3.9L    Ex T-Series                  27                   600         35       2014-09   V8/5.7L                                          94R 50                 730         30
1994-92   V6/3.9L    HD, Ex T-Series              27                   750         35       2010-09   V6/3.5L                                          94R 50                 730         30
1994-92   V8/5.2L    Ex T-Series                  27                   600         35       2010-08   V8/6.1L                                          94R 50                 730         30
1994-92   V8/5.2L    HD, Ex T-Series              27                   750         35       1974-72   V8/6.6L                                          27                     350         35
1994-92   V8/5.9L    Ex T-Series                  27                   600         35       1974-71   V8/5.9L                                          27                     350         35
1994-92   V8/5.9L    HD, Ex T-Series              27                   750         35       1974-70   V8/5.2L                                          27                     350         35
1994-90   V6/3.9L    T-Series                     27 16                810                  1973-70   V8/5.6L                                          27                     350         35
1994-90   V8/5.2L    T-Series                     27 16                810                  1972-70   L6/3.7L                                          27                     350         35
1994-90   V8/5.9L    T-Series                     27 16                810                  1972-70   V8/7.2L                                          27                     350         35
1991-90   V6/3.9L                                 34                   600          9       1971-70   L6/3.2L                                          27                     350         35
1991-90   V6/3.9L    Opt                          34                   685          9       1971-70   V8/6.3L                                          27                     350         35
1991-90   V8/5.2L                                 34                   600          9       1971-70   V8/7.0L                                          27                     350         35
1991-90   V8/5.2L    Opt                          34                   685          9
                                                                                            Dodge Charger
1991-90   V8/5.9L                                 34                   685          9
                                                                                            2017      V6/3.6L                                          49 50                   800
Dodge Caliber                                                                               2017      V8/5.7L                                          49 50                   800
2012-07 L4/2.0L                                   86                   525         31       2017      V8/6.2L                                          49 50                   800
2011-07 L4/2.4L                                   86                   525         31       2017      V8/6.4L                                          49 50                   800
2009-07 L4/1.8L                                   86                   525         31       2016-15   V8/6.2L                                          94R 50                  730        30
Dodge Caravan, Grand Caravan                                                                2016      V6/3.6L    PPkg                                  49 50                   800
2017      V6/3.6L                                 94R                  730         30       2016      V6/3.6L                                          94R                     730        30
2016      V6/3.6L                                 94R                  730         30       2016      V8/5.7L    PPkg                                  49 50                   800
2015      V6/3.6L                                 94R                  730         30       2016      V8/5.7L                                          94R                     730        30
2014-12   V6/3.6L                                 94R                  730         30       2016      V8/6.4L    PPkg                                  49 50                   800
2011      V6/3.6L                                 94R                  700         30       2016      V8/6.4L                                          94R                     730        30
2010      V6/3.3L                                 34                   600                  2015      V6/3.6L    PPkg                                  49 50                   800
2010      V6/3.8L                                 34                   600                  2015      V6/3.6L    Ex PPkg                               94R 50                  730        30
2010      V6/4.0L                                 34                   600                  2015      V8/5.7L    PPkg                                  49 50                   800
2009-08   V6/3.3L                                 34 57                600                  2015      V8/5.7L    Ex PPkg                               94R 50                  730        30
2009-08   V6/3.8L                                 34 57                600                  2015      V8/6.4L    PPkg                                  49 50                   800
2009-08   V6/4.0L                                 34 57                600                  2015      V8/6.4L    Ex PPkg                               94R 50                  730        30
2007      L4/2.4L                                 34                   600                  2014-12   V8/6.4L    Ex PPkg                               94R 50                  730        30
2007      V6/3.3L                                 34                   600                  2014-11   V6/3.6L    PPkg                                  49 50                   800
                                                                                                                                     See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                 Dodge
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    Automotive/Light Truck                                                                                                                                                               37
                                                                                      Original                                                                                   Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                     Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                            (notes)                    Code
                                                                                     CCA/Rating                                                                                 CCA/Rating
    Dodge Charger (continued)                                                                               Dodge Dakota (continued)
    2014-11      V6/3.6L        Ex PPkg                           94R 50               730         30       2009-08   V6/3.7L                                65 57                600          1
    2014-11      V8/5.7L        PPkg                              49 50                800                  2009-08   V8/4.7L                                65 57                600          1
    2014-06      V8/5.7L        Ex PPkg                           94R 50               730         30       2009      V6/3.7L    Opt                         65 57                750          1
    2014         V8/6.4L        PPkg Version                      49 50                800                  2009      V8/4.7L    Opt                         65 57                750          1
    2013-12      V8/6.4L        PPkg                              49 50                800                  2007-06   V6/3.7L                                65                   600          1
    2010-09      V6/3.5L        PPkg                              49 50                800                  2007-06   V8/4.7L                                65                   600          1
    2010-06      V6/2.7L        Ex PPkg                           94R 50               730         30       2006      V6/3.7L    Opt                         65                   650          1
    2010-06      V6/3.5L        Ex PPkg                           94R 50               730         30       2006      V8/4.7L    Opt                         65                   650          1
    2010-06      V8/5.7L        PPkg                              49 50                850                  2005-04   V6/3.7L                                27                   600         35
    2010-06      V8/6.1L        Ex PPkg                           94R 50               730         30       2005-00   V8/4.7L                                27                   600         35
    2010         V8/6.1L        PPkg                              49 50                850                  2004-01   V8/4.7L    Opt                         27                   750         35
    2009         V8/5.7L        PPkg Version                      49 50, 57            800                  2003-98   V8/5.9L                                27                   600         35
    2009         V8/6.1L        PPkg                              49 50, 57            800                  2003-98   V8/5.9L    Opt                         27                   750         35
    2008-06      V6/3.5L        PPkg                              49 50                850                  2003-92   V6/3.9L                                27                   600         35
    2008-06      V8/6.1L        PPkg                              49 50                850                  2003-92   V6/3.9L    Opt                         27                   750         35
    1977-72      V8/6.6L                                          27                   350         35       2002-92   L4/2.5L                                27                   600         35
    1977-71      V8/5.9L                                          27                   350         35       1999-92   L4/2.5L    Opt                         27                   750         35
    1977-66      V8/5.2L                                          27                   350         35       1999-92   V8/5.2L                                27                   600         35
    1976         L6/3.7L                                          27                   350         35       1999-92   V8/5.2L    Opt                         27                   750         35
    1974-68      L6/3.7L                                          27                   350         35       1991-90   L4/2.5L                                34                   600          9
    1974-67      V8/7.2L                                          27                   350         35       1991-90   L4/2.5L    Opt                         34                   685          9
    1973-70      V8/5.6L                                          27                   350         35       1991-90   V6/3.9L                                34                   600          9
    1971-66      V8/6.3L                                          27                   350         35       1991-90   V6/3.9L    Opt                         34                   685          9
    1971-66      V8/7.0L                                          27                   350         35       1991-90   V8/5.2L                                34                   600          9
    1967         V8/4.5L                                          27                   350         35       1991-90   V8/5.2L    Opt                         34                   685          9
    Dodge Colt                                                                                              Dodge Dart
    1995-93      L4/1.5L        Can                               24                   580         22       2016-15   L4/1.4L                                47                   600
    1995-93      L4/1.5L        US                                51                   435         20       2016-14   L4/2.4L    w/AGM                       48 33, 50            600
    1994-93      L4/1.8L        Can                               24                   580         22       2016-13   L4/2.0L    Ex SE                       48                   600         29
    1994-93      L4/1.8L        US                                51                   435         20       2016      L4/2.0L                                47                   600
    1994-93      L4/2.4L        Can                               24                   580         22       2015      L4/2.0L    SE                          47                   600
    1994-93      L4/2.4L        US                                51                   435         20       2014-13   L4/1.4L                                48                   600         29
    1992-91      L4/1.5L        US                                25                   355          6       2014-13   L4/2.0L    SE                          47                   500         28
    1992-91      L4/1.5L        US, HD                            25                   430          6       2014      L4/1.4L                                47                   500         28
    1992         L4/1.5L        Can, Ex Wagon                     25                   420          6       2014      L4/1.4L                                47                   600
    1992         L4/1.8L        US                                25                   355          6       2014      L4/2.0L                                47                   500         28
    1992         L4/1.8L        Can, Ex Wagon                     25                   420          6       2014      L4/2.0L    SE                          47                   600
    1992         L4/1.8L        US, HD                            25                   430          6       2013      L4/2.4L                                48                   600         29
    1991-90      L4/1.5L        Can                               25                   420          6       Dodge Daytona
    1991-90      L4/2.0L        Can                               25                   420          6       1993-92   L4/2.2L                                34                   600          9
    1991         L4/2.0L        US                                51                   435         20       1993-92   L4/2.5L                                34                   600          9
    1990         L4/1.5L        Ex Wagon                          25                   355          6       1993-90   V6/3.0L                                34                   500          9
    1990         L4/1.5L                                          51                   435         20       1991      L4/2.5L    Turbo                       34                   500          9
    1990         L4/1.5L        Wagon                             51                   435         20       1991      L4/2.5L    Ex Turbo                    34                   625          9
    1990         L4/1.6L        Can                               25                   420          6       1990      L4/2.2L                                34                   500          9
    1990         L4/1.6L                                          51                   435         20       1990      L4/2.5L                                34                   500          9
    1990         L4/1.8L                                          25                   355          6
                                                                                                            Dodge Durango
    1990         L4/1.8L        Wagon                             51                   435         20
                                                                                                            2017-16   V6/3.6L    w/o Start/Stop              94R 33, 50           800
    1990         L4/2.0L        Wagon, US                         51                   435         20
                                                                                                            2017      V6/3.6L    w/Start/Stop                48 33, 50            760
    Dodge D/W Series Pickups (150, 250, 350)                                                                2017      V8/5.7L                                49 33, 50            800
    1993-92      L6/5.9L                                          27                   600         35       2016      V6/3.6L    with Stop/Start             48 33, 50            760
    1993-92      L6/5.9L        Opt                               27                   810         35       2016      V6/3.6L                                94R 33, 50           730
    1993-92      V6/3.9L                                          27                   600         35       2016      V8/5.7L                                49 33, 50            800
    1993-92      V6/3.9L        Opt                               27                   810         35       2015      V6/3.6L                                94R 33, 50           730
    1993-92      V8/5.2L                                          27                   600         35       2015      V8/5.7L                                49 33, 50            800
    1993-92      V8/5.2L        Opt                               27                   810         35       2014      V6/3.6L                                94R 33, 50           730
    1993-92      V8/5.9L                                          27                   600         35       2014      V8/5.7L                                49 33                800
    1993-92      V8/5.9L        Opt                               27                   810         35       2013-11   V6/3.6L                                94R 33, 50           700
    1993-90      L6/5.9L        Dsl                               30H 2                1025                 2013-11   V8/5.7L                                94R 33, 50           700
    1991-90      L6/5.9L                                          34                   600          9       2009      V6/3.7L                                65 57                750          1
    1991-90      L6/5.9L        Opt                               34                   685          9       2009      V8/4.7L                                65 57                750          1
    1991-90      V6/3.9L                                          34                   600          9       2009      V8/5.7L                                65 57                750          1
    1991-90      V6/3.9L        Opt                               34                   685          9       2009      V8/5.7L    Hybrid                      90 57                500         37
    1991-90      V8/5.2L                                          34                   600          9       2008      V6/3.7L                                65 57                600          1
    1991-90      V8/5.2L        Opt                               34                   685          9       2008      V8/4.7L                                65 57                600          1
    1991-90      V8/5.9L                                          34                   600          9       2008      V8/5.7L                                65 57                600          1
    1991-90      V8/5.9L        Opt                               34                   685          9       2007-04   V6/3.7L                                65                   600         1
    Dodge Dakota                                                                                            2007-04   V8/4.7L                                65                   600         1
    2010        V6/3.7L                                           65                   600          1       2007-04   V8/5.7L                                65                   600         1
    2010        V6/3.7L Opt                                       65                   750          1       2006-04   V6/3.7L    Opt                         65                   750         1
    2010        V8/4.7L                                           65                   600          1       2006      V8/4.7L    Opt                         65                   750         1
    2010        V8/4.7L Opt                                       65                   750          1       2006      V8/5.7L    Opt                         65                   750         1
    See page 88 for Footnotes. Selection may vary by warehouse.

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38                                                                                                    Automotive/Light Truck
                                                                     Original                                                                                                   Original
  Year      Engine                  Options        BCI Group Size   Equipment    Fitment     Year      Engine                  Options                       BCI Group Size    Equipment    Fitment
                                                       (notes)                    Code                                                                           (notes)                     Code
                                                                    CCA/Rating                                                                                                 CCA/Rating
Dodge Durango (continued)                                                                  Dodge Ram Pickup (1500-3500) (continued)
2003-98   V8/5.9L                             27                      600         35       2009      V8/4.7L    US Production                              94R                    700         30
2003-98   V8/5.9L    Opt                      27                      750         35       2009      V8/5.7L    Mexico Production                          65 57                  700          1
2003-00   V8/4.7L                             27                      600         35       2009      V8/5.7L    US Production                              94R                    700         30
2003-00   V8/4.7L    Opt                      27                      750         35       2008      V6/3.7L                                               65 57                  600          1
2000-98   V8/5.2L                             27                      600         35       2008      V8/4.7L                                               65 57                  600          1
2000-98   V8/5.2L    Opt                      27                      750         35       2008      V8/5.7L    Mexico Production                          65 57                  650          1
1999-98   V6/3.9L                             27                      600         35       2008      V8/5.7L    HD, Mexico Production                      65 57                  750          1
1999-98   V6/3.9L    Opt                      27                      750         35       2008      V8/5.7L    US Production                              94R                    625         30
Dodge Dynasty                                                                              2008      V8/5.7L    HD, US Production                          94R                    730         30
1993-92   L4/2.5L                             34                      600          9       2007-06   V6/3.7L                                               65                     600         1
1993-90   V6/3.0L                             34                      500          9       2007-03   V8/5.7L                                               65                     600         1
1993-90   V6/3.3L                             34                      500          9       2007-03   V8/5.7L    Opt                                        65                     750         1
1991      L4/2.5L    Ex Turbo                 34                      625          9       2007-02   L6/5.9L    Dsl                                        65 2                   750          1
1990      L4/2.5L                             34                      500          9       2007      L6/6.7L    Dsl                                        65 2                   750          1
Dodge Grand Caravan (See Caravan, Grand Caravan)                                           2007      V8/4.7L                                               65                     750         1
                                                                                           2006-03   V6/3.7L    Opt                                        65                     750         1
Dodge Intrepid                                                                             2006-03   V8/4.7L    Opt                                        65                     750         1
2004-98   V6/2.7L                             34                      500          9       2006      V10/8.3L                                              65                     600         1
2004-00   V6/3.5L                             34                      600          9       2006      V10/8.3L   Opt                                        65                     750         1
2000-98   V6/3.2L                             34                      600          9       2006      V8/4.7L                                               65                     600         1
1997-95   V6/3.3L                             34                      600          9       2005-04   V10/8.3L                                              65                     750         1
1997-95   V6/3.5L                             34                      600          9       2005-04   V6/3.7L                                               65                     650         1
1994-93   V6/3.3L                             34                      500          9       2005      V8/4.7L                                               65                     650         1
1994-93   V6/3.5L                             34                      500          9       2004-03   V8/4.7L                                               65                     600         1
Dodge Journey                                                                              2003-94   V8/5.9L                                               27                     600         35
2017      L4/2.4L                             86                      525         31       2003-00   V8/5.9L    Opt                                        27                     750         35
2017      V6/3.6L                             86                      525         31       2003      V10/8.0L   Late 2002 on                               65                     750         1
2016      L4/2.4L                             86                      525         31       2003      V6/3.7L                                               65                     600         1
2016      V6/3.6L                             86                      525         31       2002-94   V8/5.9L                                               27                     600         35
2015      L4/2.4L                             86                      525         31       2002-01   V10/8.0L   Early 2002                                 27                     750         35
2015      V6/3.6L                             86                      525         31       2002-00   V8/5.9L    Opt                                        27                     750         35
2014-11   V6/3.6L                             86                      525         31       2002      L6/5.9L    Dsl, Early, 2500, 3500                     27 2                   750         35
2014-09   L4/2.4L                             86                      525         31       2002      L6/5.9L    Dsl, Late                                  65 2                   650          1
2010-09   V6/3.5L                             86                      525         31       2002      L6/5.9L    Dsl, Late 2002, 2500, 3500                 65 2                   750          1
Dodge Magnum                                                                               2002      V10/8.0L   Late 2002                                  65                     650         1
2008-06   V8/6.1L                             94R 50                  730         30       2002      V6/3.7L    Early or HD                                27                     750         35
2008-05   V6/2.7L                             94R 50                  730         30       2002      V6/3.7L    Late 2002                                  65                     650         1
2008-05   V6/3.5L                             94R 50                  730         30       2002      V8/4.7L    Late 2002, 2500, 3500                      27                     750         35
2008-05   V8/5.7L                             94R 50                  730         30       2002      V8/4.7L    Late 2002                                  65                     650         1
Dodge Monaco                                                                               2002      V8/5.9L    Early or HD                                27                     750         35
1992      V6/3.0L                             34                      600          9       2002      V8/5.9L    Late 2002                                  65                     650         1
1991      V6/3.0L                             34                      625          9       2001-97   L6/5.9L    Dsl or HD                                  27 2                   750         35
1990      V6/3.0L                             34                      500          9       2001-94   V6/3.9L                                               27                     600         35
                                                                                           2001-94   V6/3.9L    Opt                                        27                     750         35
Dodge Neon                                                                                 2001-94   V8/5.2L                                               27                     600         35
2005-03 L4/2.4L                               26R                     450         38       2001-94   V8/5.2L    Opt                                        27                     750         35
2005-00 L4/2.0L                               26R                     450         38       2001-00   L6/5.9L    Dsl                                        27 2                   750         35
1999-95 L4/2.0L                               58 35                   450          8       2000-94   V10/8.0L                                              27                     750         35
Dodge Nitro                                                                                1999-94   V8/5.9L    Opt                                        27                     750         35
2011-07 V6/3.7L                               34                      600          9       1996-94   L6/5.9L                                               27                     600         35
2011-07 V6/4.0L                               34                      600          9       1996-94   L6/5.9L    Dsl                                        27 2                   750         35
Dodge Omni                                                                                 1996-94   V8/5.2L                                               27                     600         35
1990      L4/2.2L                             34                      430          9       1996-94   V8/5.2L    Opt                                        27                     750         35
Dodge Ram 50                                                                               Dodge Ram Van (1500-3500)
1993-91   L4/2.4L    RWD, Can                 24                      490         22       2003-99   V6/3.9L                                               27                     600         35
1993-91   L4/2.4L    4WD                      51                      435         20       2003-99   V6/3.9L    Opt                                        27                     750         35
1993-91   L4/2.4L    RWD, US                  51                      435         20       2003-99   V8/5.2L                                               27                     600         35
1992-91   L4/2.4L    RWD, HD, Can             24                      580         22       2003-99   V8/5.2L    Opt                                        27                     750         35
1991-90   V6/3.0L                             24                      490         22       2003-99   V8/5.9L                                               27                     600         35
1991      V6/3.0L    Opt                      24                      580         22       2003-99   V8/5.9L    Opt                                        27                     750         35
1990      L4/2.4L    Can                      24                      580         22       2001      V6/3.9L                                               27                     600         35
1990      L4/2.4L    US                       51                      435         20       2001      V6/3.9L    Opt                                        27                     750         35
Dodge Ram Pickup (1500-3500)                                                               Dodge Ramcharger
2010      L6/6.7L    Dsl                      94R 2                   730         30       1993-92   V8/5.2L                                               27                      610        35
2010      V6/3.7L                             94R                     700         30       1993-92   V8/5.2L    Opt                                        27                      685        35
2010      V8/4.7L                             94R                     700         30       1993-92   V8/5.9L                                               27                      610        35
2010      V8/5.7L                             94R                     700         30       1993-92   V8/5.9L    Opt                                        27                      685        35
2009-08   L6/6.7L    Dsl                      65 2, 57                750          1       1991-90   V8/5.2L                                               34                      600         9
2009      V6/3.7L    Mexico Production        65 57                   700          1       1991-90   V8/5.2L    Opt                                        34                      685         9
2009      V6/3.7L    US Production            94R                     700         30       1991-90   V8/5.9L                                               34                      600         9
2009      V8/4.7L    Mexico Production        65 57                   700          1       1991-90   V8/5.9L    Opt                                        34                      685         9
                                                                                                                                         See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                 Ferrari
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    Automotive/Light Truck                                                                                                                                                            39
                                                                                      Original                                                                                Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                  Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                         (notes)                    Code
                                                                                     CCA/Rating                                                                              CCA/Rating
    Dodge Shadow                                                                                            Eagle Summit (continued)
    1994-92      L4/2.5L                                          34                   600          9       1992-90   L4/1.5L    Can                      25                   420          6
    1994-92      V6/3.0L                                          34                   500          9       1992      L4/1.5L    Wagon, Can               24                   580         22
    1994-90      L4/2.2L                                          34                   500          9       1992      L4/1.8L    Wagon, Can               24                   580         22
    1991         L4/2.5L                                          34                   625          9       1992      L4/1.8L    Can                      25                   420          6
    1990         L4/2.5L                                          34                   500          9       1992      L4/1.8L    Opt                      25                   430          6
    Dodge Spirit                                                                                            1992      L4/2.4L    Wagon, Can               24                   580         22
    1995-91      L4/2.5L                                          34                   600          9       1992      L4/2.4L    Ex Wagon                 25                   355          6
    1995-90      V6/3.0L                                          34                   500          9       1992      L4/2.4L    Can                      25                   420          6
    1992-91      L4/2.2L                                          34                   600          9       1992      L4/2.4L    Opt                      25                   430          6
    1990         L4/2.5L                                          34                   500          9       1990      L4/1.5L    US                       25                   355          6
                                                                                                            1990      L4/1.6L    Can                      25                   420          6
    Dodge Sprinter 2500                                                                                     1990      L4/1.6L    US                       51                   435         20
    2009-07 V6/3.0L             Dsl                               49 50                850
    2008-07 V6/3.5L                                               49 50                850
                                                                                                            Eagle Talon
    2006-03 L5/2.7L             Dsl                               49 50                850                  1998-95   L4/2.0L    MT                       86                   430         31
                                                                                                            1998-95   L4/2.0L    AT                       86                   525         31
    Dodge Sprinter 3500                                                                                     1998      L4/2.0L    Turbo                    86                   525         31
    2009-07 V6/3.0L             Dsl                               49 50                850                  1997-95   L4/2.0L    Turbo, AT                86                   525         31
    2008-07 V6/3.5L                                               49 50                850                  1994-93   L4/1.8L    Can, w/MT                86                   430         31
    2006-03 L5/2.7L             Dsl                               49 50                850                  1994-93   L4/1.8L    Can, w/AT                86                   525         31
    Dodge Stealth                                                                                           1994-90   L4/2.0L    US                       86                   430         31
    1996-94      V6/3.0L                                          25                   520          6       1994-90   L4/2.0L    Can or Turbo             86                   525         31
    1993-92      V6/3.0L                                          24                   490         22       1993      L4/1.8L    US                       86                   430         31
    1993-91      V6/3.0L        Opt                               24                   585         22       Eagle Vision
    1991         V6/3.0L        DOHC                              24                   490         22       1997-95   V6/3.3L                             34                   600          9
    1991         V6/3.0L        SOHC                              25                   420          6       1997-95   V6/3.5L                             34                   600          9
    Dodge Stratus                                                                                           1994-93   V6/3.3L                             34                   500          9
    2006-95      L4/2.4L        w/side Terminals                  75                   510          5       1994-93   V6/3.5L                             34                   500          9
    2006-03      V6/2.7L        w/side Terminals                  75                   510          5       Eagle Vista
    2006-01      L4/2.4L        Top Terminal                      86                   525         31       1992-90 L4/1.5L                               25                   420          6
    2006-01      V6/2.7L        Top Terminal                      86                   525         31       1991-90 L4/2.0L                               25                   420          6
    2005-01      V6/3.0L        w/side Terminals                  75                   510          5       Ferrari 348 GTB
    2005-01      V6/3.0L        Top Terminal                      86                   525         31
                                                                                                            1994-93 V8/3.4L                               34R                  N/A
    2002         V6/2.7L        Sedan                             86                   510         31
    2001         V6/2.7L        Sedan                             75                   510          5       Ferrari 348 GTS
    2000-95      L4/2.0L        Top Terminal                      86                   510         31       1994-93 V8/3.4L                               34R                  N/A
    2000-95      V6/2.5L        Top Terminal                      86                   510         31       Ferrari 348 Spider
    Dodge SX 2.0                                                                                            1995-93 V8/3.4L                               34R                  N/A
    2005-03 L4/2.0L                                               26R                  450         38       Ferrari 348 tb
    Dodge Viper                                                                                             1992-90 V8/3.4L                               34R                  N/A
    2017         V10/8.4L                                         90 50                590         37       Ferrari 348 ts
    2016-15      V10/8.4L                                         90 50                590         37       1992-90 V8/3.4L                               34R                  N/A
    2010-08      V10/8.4L                                         34 50                600                  Ferrari 360
    2006-03      V10/8.3L                                         34                   600          9       2005-00 V8/3.6L                               34R 50               570
    2002-97      V10/8.0L                                         78                   650          7       Ferrari 458 Italia
    1996-92      V10/8.0L                                         78                   770          7
                                                                                                            2015-13 V8/4.5L                               48 33, 50, 54        760
    1992         V10/8.0L                                         78                   650          7
                                                                                                            2012-10 V8/4.5L                               48 33, 50, 54        760
    Dodge Viper SRT                                                                                         Ferrari 458 Speciale
    2014-13 V10/8.4L                                              90                   590         37
                                                                                                            2015      V8/4.5L                             48 33, 50, 54        760
    Eagle 2000 GTX                                                                                          Ferrari 458 Spider
    1993-91 L4/2.0L                                               24                   500         22
                                                                                                            2015-12 V8/4.5L                               48 33, 50, 54        760
    Eagle Premier                                                                                           Ferrari 488 GTB
    1992    V6/3.0L                                               34                   600          9
                                                                                                            2017-16 V8/3.9L                               48 33, 50, 54        760
    1991-90 V6/3.0L                                               34                   500          9
                                                                                                            Ferrari 488 Spider
    Eagle Summit
                                                                                                            2017-16 V8/3.9L                               48 33, 50, 54        760
    1996-95      L4/1.5L                                          51                   435         20
    1996-95      L4/1.8L        Wagon                             25                   355          6       Ferrari 575M Maranello
    1996-95      L4/1.8L                                          51                   435         20       2005      V12/5.7L                            34R 54               680
    1996-95      L4/2.4L        Wagon                             24                   490         22       Ferrari 599 GTB
    1996-95      L4/2.4L                                          51                   435         20       2009-07 V12/6.0L                              34R 50, 54           800
    1994-93      L4/1.5L        Can                               24                   580         22       Ferrari 612 Scaglietti
    1994-93      L4/1.5L        US, Wagon                         25                   350          6       2010-05 V12/5.7L                              34R 6, 50, 54        850
    1994-93      L4/1.5L        Ex Wagon, US                      51                   435         20       Ferrari California
    1994-93      L4/1.8L        Can                               24                   580         22
                                                                                                            2014-13 V8/4.3L                               34R 50, 54           850
    1994-93      L4/1.8L        Ex Wagon, US                      51                   435         20
                                                                                                            2012    V8/4.3L                               34R 54               850
    1994-93      L4/2.4L        Can                               24                   580         22
                                                                                                            2011-09 V8/4.3L                               34R 50, 54           850
    1994-93      L4/2.4L        Ex Wagon, US                      51                   435         20
    1994-92      L4/1.8L        Wagon, US                         25                   350          6       Ferrari F430
    1994-92      L4/2.4L        Wagon, US                         24                   490         22       2009-06 V8/4.3L                               34R 50, 54           760
    1992-91      L4/1.5L        Ex Wagon                          25                   355          6       Ferrari Mondial t
    1992-91      L4/1.5L        Opt                               25                   430          6       1990      V8/3.4L                             34R                  700
    See page 88 for Footnotes. Selection may vary by warehouse.

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40                                                                                                      Automotive/Light Truck
                                                                       Original                                                                                                      Original
  Year      Engine                 Options           BCI Group Size   Equipment    Fitment     Year      Engine                     Options                       BCI Group Size    Equipment    Fitment
                                                         (notes)                    Code                                                                              (notes)                     Code
                                                                      CCA/Rating                                                                                                    CCA/Rating
Ferrari Superamerica                                                                         Ford Escape
2005      V12/5.7L                                 34R 54               850                  2017-16   L4/2.5L                                                  96R                    590         32
Ferrari Testarossa                                                                           2017      L4/1.5L    w/Start/Stop, Intelligent access              48 33                  760
1990      H12/4.9L                                 91 45                700                  2017      L4/1.5L    w/o Start/Stop, Intelligent access            96R                    590         32
1990      H12/4.9L                                 T6 45                700                  2017      L4/2.0L    w/Start/Stop, Intelligent access              48 33                  760
                                                                                             2017      L4/2.0L    w/o Start/Stop, Intelligent access            96R                    590         32
Fiat 124 Spider
                                                                                             2016      L4/1.6L                                                  96R                    590         32
2017      L4/1.4L                                  48                   600         29
                                                                                             2016      L4/2.0L                                                  96R                    590         32
Fiat 500                                                                                     2015      L4/1.6L                                                  96R                    590         32
2016-15 L4/1.4L                                    47                   500         28       2015      L4/2.0L                                                  96R                    590         32
2014-12 L4/1.4L                                    47                   500         28       2015      L4/2.5L                                                  96R                    590         32
Fiat 500L                                                                                    2014-13   L4/1.6L                                                  96R                    500         32
2017-15 L4/1.4L                                    47                   500         28       2014-13   L4/1.6L    Opt                                           96R                    590         32
2014    L4/1.4L                                    47                   500         28       2014-13   L4/2.0L                                                  96R                    500         32
Fiat 500X                                                                                    2014-13   L4/2.0L    Opt                                           96R                    590         32
2016      L4/1.4L                                  47                   500         28       2014-13   L4/2.5L                                                  96R                    500         32
2016      L4/2.4L                                  48                   600         29       2014-13   L4/2.5L    Opt                                           96R                    590         32
                                                                                             2012-11   L4/2.5L                                                  96R                    590         32
Ford Aerostar                                                                                2012-11   V6/3.0L                                                  96R                    590         32
1997-90 V6/3.0L      From 10/1/1988                65                   650          1       2012-09   L4/2.5L    Hybrid                                        96R                    500         32
1997-90 V6/4.0L                                    65                   650          1       2010-09   L4/2.5L    Ex Hybrid                                     40R                    590         19
Ford Aspire                                                                                  2010      L4/2.5L    Gas                                           40R                    650
1997-94 L4/1.3L                                    35                   460          3       2010      L4/2.5L    Gas, Opt                                      96R                    590         32
Ford Bronco                                                                                  2010      V6/3.0L                                                  40R                    650
1996-90 V8/5.0L                                    65                   650          1       2010      V6/3.0L    Opt                                           96R                    590         32
1996-90 V8/5.8L                                    65                   650          1       2009-01   V6/3.0L                                                  40R                    590         19
1992-90 L6/4.9L                                    65                   650          1       2008-05   L4/2.3L    Ex Hybrid                                     40R                    590         19
Ford Bronco II                                                                               2008-05   L4/2.3L    Hybrid                                        96R                    500         32
1990      V6/2.9L                                  65                   650          1       2004-01   L4/2.0L                                                  96R                    500         32
Ford C-Max                                                                                   Ford Escort
2017      L4/2.0L    Hybrid                        67R   50
                                                                        390                  2003-98   L4/2.0L                                                  58                     500         8
2016      L4/2.0L    Hybrid                        67R 50               390                  1997      L4/2.0L                                                  58                     540         8
2015      L4/2.0L    Hybrid                        67R 50               390                  1996-95   L4/1.8L                                                  35                     540         3
2014      L4/2.0L    Hybrid                        67R 50               390                  1996-91   L4/1.9L                                                  35                     460         3
2013      L4/2.0L    Hybrid                        67R                  390                  1994-91   L4/1.8L                                                  35                     460         3
2013      L4/2.0L    Hybrid, Opt                   67R                  390                  1990      L4/1.9L    w/CFI                                         58                     460         8
                                                                                             1990      L4/1.9L    HD or w/MFI                                   58                     540         8
Ford Contour
2000-98   L4/2.0L                                  40R                  590         19
                                                                                             Ford E-Series Vans
2000-98   V6/2.5L                                  40R                  590         19       2017      V10/6.8L   Primary Battery                               65                      650         1
1997-95   L4/2.0L    Opt                           40R                  650                  2017      V10/6.8L   Aux Battery                                   65                      750         1
1997-95   L4/2.0L                                  96R                  590         32       2017      V8/6.2L    Primary Battery                               65                      650         1
1997-95   V6/2.5L                                  40R                  650                  2017      V8/6.2L    Aux Battery                                   65                      750         1
Ford Country Squire                                                                          2016      V10/6.8L   Primary Battery                               65                      650         1
1991-90 V8/5.0L                                    58                   540          8       2016      V10/6.8L   Aux Battery                                   65 31                   750
1991-90 V8/5.0L      Opt                           65                   650          1       2016      V8/5.4L    Primary Battery                               65                      650         1
                                                                                             2016      V8/5.4L    Aux Battery                                   65 31                   750
Ford Crown Victoria                                                                          2015      V10/6.8L   Primary Battery                               65                      650         1
2011-09   V8/4.6L    Opt                           65                   750          1       2015      V10/6.8L   Aux Battery                                   65 31                   750
2011-07   V8/4.6L                                  65                   650          1       2015      V8/5.4L    Primary Battery                               65                      650         1
2006-98   V8/4.6L    US                            65                   650          1
                                                                                             2015      V8/5.4L    Aux Battery                                   65 31                   750
2006-98   V8/4.6L    PPkg                          65                   750          1
                                                                                             2014-07   V10/6.8L   Aux Battery                                   65 31                   750
2006-92   V8/4.6L    Can & Opt                     65                   750          1
                                                                                             2014-07   V8/4.6L    Aux Battery                                   65 31                   750
1997-96   V8/4.6L    Natural Gas                   65                   850          1
1997-92   V8/4.6L    w/HWS or PPkg                 65                   850          1       2014-07   V8/5.4L    Aux Battery                                   65 31                   750
1997      V8/4.6L    US                            59                   540         34       2014-04   V10/6.8L                                                 65                      650         1
1996      V8/4.6L    Early                         58                   540          8       2014-03   V8/4.6L                                                  65                      650         1
1996      V8/4.6L    Late                          59                   540         34       2014-03   V8/5.4L                                                  65                      650         1
1995-92   V8/4.6L    US                            58                   540          8       2010-04   V8/6.0L    Dsl                                           65 2                    750         1
Ford Edge                                                                                    2008-07   V8/5.4L                                                  65 2                    650         1
                                                                                             2006-04   V10/6.8L   Aux Battery                                   65 31                   625
2017-15   L4/2.0L    Start/Stop                    48 33                760
                                                                                             2006-04   V8/5.4L                                                  65                      650         1
2017-15   L4/2.0L                                  90                   590         37
2017-15   V6/2.7L                                  90                   590         37       2006-03   V8/4.6L    Aux Battery                                   65 31                   625
2017-15   V6/3.5L                                  90                   590         37       2006-03   V8/5.4L    Aux Battery                                   65 31                   625
2014-12   L4/2.0L    w/o Power Code Remote Start   59                   540         34       2005-04   V8/6.0L    Dsl                                           65 2                    750         1
2014-12   L4/2.0L    w/Power Code Remote Start     65                   650          1       2005-03   V8/4.6L    Aux Battery                                   65 31                   625
2014-11   V6/3.5L    w/o Power Code Remote Start   59                   540         34       2005-03   V8/4.6L                                                  65                      650         1
2014-11   V6/3.5L    w/Power Code Remote Start     65                   650          1       2005-03   V8/5.4L    Aux Battery                                   65 31                   625
2014-11   V6/3.7L    w/o Power Code Remote Start   59                   540         34       2005-03   V8/5.4L                                                  65                      650         1
2014-11   V6/3.7L    w/Power Code Remote Start     65                   650          1       2005      V10/6.8L   Aux Battery                                   65 31                   625
2010      V6/3.5L                                  36R                  650         18       2005      V10/6.8L                                                 65                      650         1
2009      V6/3.5L                                  36R                  540         18       2003-99   V10/6.8L   Aux Battery                                   65 31                   625
2009      V6/3.5L    Opt                           36R                  600         18       2003-99   V8/5.4L    Aux Battery                                   65 31                   625
2008      V6/3.5L                                  36R                  600         18       2003-99   V8/5.4L    Primary Battery                               65                      650         1
2007      V6/3.5L                                  36R                  580         18       2003-99   V8/7.3L    Dsl                                           65 2                    750         1
                                                                                                                                              See page 88 for Footnotes. Selection may vary by warehouse.

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                                      929
    Automotive/Light Truck                                                                                                                                                                     41
                                                                                      Original                                                                                         Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment      Year     Engine                   Options             BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                                  (notes)                    Code
                                                                                     CCA/Rating                                                                                       CCA/Rating
    Ford E-Series Vans (continued)                                                                          Ford Expedition (continued)
    2003         V10/6.8L       Aux Battery                       65 31                625                  2015      V6/3.5L                                      65                   650          1
    2003         V10/6.8L                                         65                   650          1       2015      V6/3.5L    Opt                               65                   750          1
    2003         V10/6.8L       Primary Battery                   65                   650          1       2014-97   V8/5.4L                                      65                   650          1
    2003         V6/4.2L        Aux Battery                       65 31                625                  2014-07   V8/5.4L    Opt                               65                   750          1
    2003         V6/4.2L                                          65                   650          1       2004-97   V8/4.6L                                      65                   650          1
    2003         V8/7.3L        Dsl                               65 2                 750          1       2001-97   V8/4.6L    Opt                               65                   750          1
    2002-99      V10/6.8L       Aux Battery                       65 31                650                  2001-97   V8/5.4L    Opt                               65                   750          1
    2002-99      V10/6.8L       Primary Battery                   65                   750          1       Ford Explorer
    2002-99      V8/5.4L        Opt                               65                   750          1       2017-16   L4/2.3L    w/o Intelligent Access            59                   540         34
    2002-98      V8/5.4L        Aux Battery                       65 31                625                  2017-16   L4/2.3L    w/Intelligent Access              65                   650          1
    2002-97      V6/4.2L        Aux Battery                       65 31                625                  2017-16   V6/3.5L    w/o Intelligent Access            59                   540         34
    2002-97      V6/4.2L                                          65                   650          1       2017-16   V6/3.5L    w/Intelligent Access              65                   650          1
    2002-97      V6/4.2L        Opt                               65                   750          1       2017      V6/3.5L    PPkg Version                      65                   750          1
    2002-97      V8/4.6L        Aux Battery                       65 31                625                  2015-14   V6/3.5L    PPkg Version                      65                   750          1
    2002-97      V8/4.6L        Opt                               65                   750          1       2015      L4/2.0L    w/o Intelligent Access            59                   540         34
    2002-97      V8/7.3L        Dsl                               65 2                 750          1       2015      L4/2.0L    w/Intelligent Access              65                   650          1
    2002-00      V10/6.8L       Aux Battery                       65 31                625                  2015      V6/3.5L    w/o Intelligent Access            59                   540         34
    2002-00      V10/6.8L                                         65                   750          1       2015      V6/3.5L    w/Intelligent Access              65                   650          1
    2002-00      V8/5.4L                                          65                   650          1
                                                                                                            2014-11   V6/3.5L                                      65                   650          1
    2002         V8/4.6L        Aux, HD                           65 31                650
                                                                                                            2014      L4/2.0L    w/o Power Code Remote Start       59                   540         34
    2002         V8/5.4L                                          65 31                650          1
                                                                                                            2014      L4/2.0L    w/Power Code Remote Start         65                   650          1
    2002         V8/5.4L        Aux Battery                       65 31                650
                                                                                                            2014      V6/3.5L    w/o Power Code Remote Start       59                   540         34
    2001-97      V8/4.6L        Primary Battery                   65                   650          1
                                                                                                            2013-12   L4/2.0L                                      65                   650          1
    1999-98      V8/5.4L        Aux Battery                       65                   625          1
                                                                                                            2010-91   V6/4.0L                                      65                   650          1
    1999-98      V8/5.4L        Primary Battery                   65                   650          1
                                                                                                            2010-02   V8/4.6L                                      65                   650          1
    1999         V10/6.8L       Primary Battery                   65                   750          1
                                                                                                            2006      V6/4.0L    Opt                               65                   750          1
    1998-97      V10/6.8L       Aux Battery                       65                   625          1
                                                                                                            2006      V8/4.6L    Opt                               65                   750          1
    1998-97      V10/6.8L       Aux Battery                       65 31                625
                                                                                                            2001-96   V8/5.0L                                      65                   650          1
    1998-97      V10/6.8L                                         65                   750          1
    1998-97      V8/7.3L        Dsl                               65 2                 750          1       Ford Explorer Sport Trac
    1998         V8/5.4L        Aux Battery                       65                   625          1       2010-07 V6/4.0L                                        65                   650          1
    1998         V8/5.4L        Aux Battery                       65 31                625                  2010-07 V8/4.6L                                        65                   650          1
    1998         V8/5.4L        Opt                               65                   750          1       2005-01 V6/4.0L                                        65                   650          1
    1997         V8/5.4L        Aux Battery                       65 31                625                  Ford F-150
    1997         V8/5.4L        Primary Battery                   65                   650          1       2017-16   V6/2.7L    Ex King Ranch, Lariat, Platinum   48 33                760
    1997         V8/5.4L        Opt                               65                   750          1       2017-16   V6/3.5L    King Ranch, Lariat, Platinum      94R                  730         30
    1996-95      V8/5.0L                                          65                   650          1       2017-16   V8/5.0L    King Ranch, Lariat, Platinum      94R                  730         30
    1996-95      V8/5.0L        Primary Battery                   65                   650          1       2017      V6/2.7L    King Ranch, Lariat, Platinum      94R 33               800
    1996-95      V8/5.0L                                          65                   850          1       2017      V6/3.5L    Ex King Ranch, Lariat, Platinum   48                   610         29
    1996-95      V8/5.0L        Primary Battery                   65                   850          1       2017      V8/5.0L    Ex King Ranch, Lariat, Platinum   48                   610         29
    1996-92      L6/4.9L        Aux Battery                       50 31                500                  2016      V6/3.5L    Ex King Ranch, Lariat, Platinum   48                   610         29
    1996-92      L6/4.9L                                          65                   650          1       2016      V8/5.0L    Ex King Ranch, Lariat, Platinum   48                   610         29
    1996-92      L6/4.9L        Opt                               65                   850          1
                                                                                                            2015      V6/2.7L    Ex King Ranch, Lariat, Platinum   48 33                760
    1996-92      V8/5.0L        Aux Battery                       50 31                500
                                                                                                            2015      V6/2.7L    King Ranch, Lariat, Platinum      94R 33               800
    1996-92      V8/5.8L        Aux Battery                       50 31                500
                                                                                                            2015      V6/3.5L    Ex King Ranch, Lariat, Platinum   48                   610         29
    1996-92      V8/5.8L                                          65                   650          1
                                                                                                            2015      V6/3.5L    King Ranch, Lariat, Platinum      94R                  730         30
    1996-92      V8/5.8L        Opt                               65                   850          1
    1996-92      V8/7.3L        Dsl, Rt Side                      50                   600                  2015      V8/5.0L    Ex King Ranch, Lariat, Platinum   48                   610         29
    1996-92      V8/7.3L        Dsl, Lft Side                     65                   850          1       2015      V8/5.0L    King Ranch, Lariat, Platinum      94R                  730         30
    1996-92      V8/7.5L        Aux Battery                       50 31                500                  2014-11   V6/3.5L                                      65                   750          1
    1996-92      V8/7.5L        Gas                               65                   650         1        2014-11   V6/3.7L                                      65                   750          1
    1996-92      V8/7.5L        Opt                               65                   850         1        2014-11   V8/5.0L                                      65                   750          1
    1994-92      V8/5.0L        Primary Battery                   65                   650         1        2014-10   V8/6.2L                                      65                   750          1
    1994-92      V8/5.0L        Opt                               65                   850         1        2010-97   V8/4.6L                                      59                   540         34
    1991-90      L6/4.9L        Aux Battery                       24F                  350         23       2010-97   V8/5.4L                                      59                   540         34
    1991-90      L6/4.9L        Gas                               64                   535                  2010-08   V8/4.6L    Opt                               65                   650          1
    1991-90      V8/5.0L        Aux Battery                       24F                  350         23       2010-08   V8/5.4L    Opt                               65                   650          1
    1991-90      V8/5.0L        Gas                               64                   535                  2008-05   V6/4.2L                                      59                   540         34
    1991-90      V8/5.8L        Aux Battery                       24F                  350         23       2008      V6/4.2L    Opt                               65                   650          1
    1991-90      V8/5.8L        Gas                               64                   535                  2006-97   V8/4.6L    HD, Can                           65                   650          1
    1991-90      V8/7.3L        Dsl                               27 2                 700         35       2006-97   V8/5.4L    HD, Can                           65                   650          1
    1991-90      V8/7.5L        Aux Battery                       24F                  350         23       2006-05   V6/4.2L    HD, Can                           65                   650          1
    1991-90      V8/7.5L        Gas                               64                   535                  2004      V6/4.2L                                      59                   540         34
    Ford Excursion                                                                                          2004      V6/4.2L    HD, Can                           65                   650          1
    2005-03      V8/6.0L Dsl                                      65 2                 750          1       2004      V8/4.6L                                      59                   540         34
    2005-00      V10/6.8L                                         65                   750          1       2004      V8/4.6L    HD, Can                           65                   650          1
    2005-00      V8/5.4L                                          65                   750          1       2004      V8/5.4L                                      59                   540         34
    2003-00      V8/7.3L Dsl                                      65 2                 750          1       2004      V8/5.4L    HD, Can                           65                   650          1
    Ford Expedition                                                                                         2003-97   V6/4.2L                                      59                   540         34
    2017-16 V6/3.5L             w/o Intelligent Access            65                   650          1       2003-97   V6/4.2L    HD, Can                           65                   650          1
    2017    V6/3.5L             w/Intelligent Access              65                   750          1       1996-90   L6/4.9L                                      65                   650          1
    2016    V6/3.5L             w/Intelligent Access              65                   750          1       1996-90   L6/4.9L    Opt                               65                   850          1
    See page 88 for Footnotes. Selection may vary by warehouse.

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42                                                                                                Automotive/Light Truck
                                                                 Original                                                                                                   Original
  Year      Engine                Options      BCI Group Size   Equipment    Fitment     Year      Engine                  Options                       BCI Group Size    Equipment    Fitment
                                                   (notes)                    Code                                                                           (notes)                     Code
                                                                CCA/Rating                                                                                                 CCA/Rating
Ford F-150 (continued)                                                                 Ford F-350 (continued)
1996-90   V8/5.0L                            65                   650          1       1996-90   L6/4.9L                                               65                     650         1
1996-90   V8/5.0L    Opt                     65                   850          1       1996-90   L6/4.9L    Opt                                        65                     850         1
1996-90   V8/5.8L                            65                   650          1       1996-90   V8/5.8L                                               65                     650         1
1996-90   V8/5.8L    Opt                     65                   850          1       1996-90   V8/5.8L    Opt                                        65                     850         1
Ford F-250                                                                             1996-90   V8/7.3L    Dsl                                        65 2                   850         1
2017      V8/6.2L    XL                      65                   650          1       1996-90   V8/7.5L                                               65                     650         1
2017      V8/6.2L    Ex XL                   65                   750          1       1996-90   V8/7.5L    Opt                                        65                     850         1
2017      V8/6.7L    Dsl                     65 2                 750          1       Ford Falcon
2016      V8/6.2L                            65                   650          1       1970-69   V8/5.8L                                               22F                    250         38
2016      V8/6.2L    Opt                     65                   750          1       1970-68   V8/5.0L                                               22F                    250         38
2016      V8/6.7L    Dsl                     65 2                 750          1       1970-68   V8/5.0L    HD or Opt                                  24F                    325         23
2015      V8/6.2L                            65                   650          1       1970-64   L6/3.3L                                               22F                    250         38
2015      V8/6.2L    Opt                     65                   750          1       1970-64   L6/3.3L    HD or Opt                                  24F                    325         23
2015      V8/6.7L    Dsl                     65 2                 750          1       1970      L6/4.1L                                               22F                    250         38
2014-11   V8/6.2L                            65                   650          1       1970      L6/4.1L    HD or Opt                                  24F                    325         23
2014-11   V8/6.2L    Opt                     65                   750          1       1970      V8/5.8L    MT                                         22F                    250
2014-11   V8/6.7L    Dsl                     65 2                 750          1       1970      V8/5.8L    AT or HD                                   24F                    325         23
2010-99   V10/6.8L                           65                   650          1       1970      V8/7.0L                                               22F                    250         38
2010-99   V10/6.8L   Opt                     65                   750          1       1970      V8/7.0L    Opt                                        24F                    325         23
2010-08   V8/5.4L    HD, Over 8500 lbs GVW   65                   750          1       1969-60   L6/2.8L                                               22F                    250         38
2010-08   V8/6.4L                            65 2                 750          1       1969-60   L6/2.8L    HD or Opt                                  24F                    325         23
2010-00   V8/5.4L                            65                   650          1       1969      V8/5.8L    Opt                                        24F                    325         23
2007-00   V8/5.4L    Opt                     65                   750          1       1968-65   V8/4.7L    HD or Opt                                  24F                    325         23
2007      V8/6.0L    Dsl                     65 2                 650          1       1968-64   V8/4.7L                                               22F                    250         38
2006-03   V8/6.0L    Dsl                     65 2                 750          1       1965-62   V8/4.3L                                               22F                    250         38
2003-99   V8/7.3L    Dsl                     65 2                 750          1       1965-62   V8/4.3L    Opt                                        24F                    325         23
1999-97   V8/4.6L    Under 8500 lbs GVW      59                   540         34       1964-60   L6/2.4L                                               22F                    250         38
1999-97   V8/4.6L    Opt                     65                   650          1       1964-60   L6/2.4L    HD or Opt                                  24F                    325         23
1999-97   V8/5.4L    Under 8500 lbs GVW      59                   540         34       1964      V8/4.7L    Opt                                        24F                    325         23
1999-97   V8/5.4L    Over 8500 lbs GVW       65                   650          1       1963-62   V8/3.6L                                               22F                    250         38
1999-97   V8/5.4L    HD, Over 8500 lbs GVW   65                   750          1       1963-62   V8/3.6L    Opt                                        24F                    325         23
1996-90   L6/4.9L                            65                   650          1       Ford Festiva
1996-90   L6/4.9L    Opt                     65                   850          1       1993-90 L4/1.3L                                                 35                     390         3
1996-90   V8/5.0L                            65                   650          1
1996-90   V8/5.0L    Opt                     65                   850          1
                                                                                       Ford Fiesta
1996-90   V8/5.8L                            65                   650          1       2017-16   L3/1.0L                                               96R                    500         32
1996-90   V8/5.8L    Opt                     65                   850          1       2017-16   L3/1.0L    Opt                                        96R                    590         32
1996-90   V8/7.3L    Dsl                     65 2                 850          1       2017-16   L4/1.6L                                               96R                    500         32
1996-90   V8/7.5L                            65                   650          1       2017-16   L4/1.6L    Opt                                        96R                    590         32
1996-90   V8/7.5L    Opt                     65                   850          1       2015      L3/1.0L                                               96R                    500         32
                                                                                       2015      L3/1.0L    Opt                                        96R                    590         32
Ford F-250 HD                                                                          2015      L4/1.6L                                               96R                    500         32
1997      V8/5.8L                            59                   540         34       2015      L4/1.6L    Opt                                        96R                    590         32
1997      V8/5.8L    Opt                     65                   750          1       2014-11   L4/1.6L                                               96R                    500         32
1997      V8/7.3L    Dsl                     65 2                 750          1       2014      L3/1.0L                                               96R                    500         32
1997      V8/7.5L                            59                   540         34       2014      L3/1.0L    Opt                                        96R                    590         32
1997      V8/7.5L    Opt                     65                   750          1       2014      L4/1.6L    Opt                                        96R                    590         32
Ford F-350                                                                             Ford Five Hundred
2017      V8/6.2L    XL                      65                   650          1       2007-05 V6/3.0L                                                 36R                    540         18
2017      V8/6.2L    Ex XL                   65                   750          1       2006-05 V6/3.0L      Opt                                        36R                    600         18
2017      V8/6.7L    Dsl                     65 2                 750          1
2016      V8/6.2L                            65                   650          1
                                                                                       Ford Flex
2016      V8/6.2L    Opt                     65                   750          1       2017      V6/3.5L    Ex Ecoboost                                65                     650         1
2016      V8/6.7L    Dsl                     65 2                 750          1       2017      V6/3.5L    w/Ecoboost                                 65                     750         1
2015      V8/6.2L                            65                   650          1       2016      V6/3.5L    Ex Ecoboost                                65                     650         1
2015      V8/6.2L    Opt                     65                   750          1       2016      V6/3.5L    w/Ecoboost                                 65                     750         1
2015      V8/6.7L    Dsl                     65 2                 750          1       2015      V6/3.5L    Ex Ecoboost                                65                     650         1
2014-11   V8/6.2L                            65                   650          1       2015      V6/3.5L    w/Ecoboost                                 65                     750         1
2014-11   V8/6.2L    Opt                     65                   750          1       2014-10   V6/3.5L    w/o Ecoboost                               65                     650         1
2014-11   V8/6.7L    Dsl                     65 2                 750          1       2014-10   V6/3.5L    w/Ecoboost                                 65                     750         1
2010-99   V10/6.8L                           65                   650          1       2009      V6/3.5L                                               65                     750         1
2010-99   V10/6.8L   Opt                     65                   750          1       Ford Focus
2010-99   V8/5.4L                            65                   650          1       2017                 Electric                                   67R                     390
2010-99   V8/5.4L    Opt                     65                   750          1       2017      L3/1.0L                                               48 33                   760
2010-08   V8/6.4L    Dsl                     65 2                 750          1       2017      L4/2.0L    MT                                         96R                     500        32
2007      V8/6.0L    Dsl                     65 2                 650          1       2017      L4/2.0L    Automatic Dual Clutch                      96R                     590        32
2006-03   V8/6.0L    Dsl                     65 2                 750          1       2017      L4/2.3L    MT                                         96R                     500        32
2003-99   V8/7.3L    Dsl                     65 2                 750          1       2017      L4/2.3L    Automatic Dual Clutch                      96R                     590        32
1997      V8/5.8L                            59                   540         34       2016-15   L4/2.0L    MT                                         96R                     500        32
1997      V8/5.8L    Opt                     65                   750          1       2016-15   L4/2.0L    Automatic Dual Clutch                      96R                     590        32
1997      V8/7.3L    Dsl                     65 2                 750          1       2016                 Electric                                   67R                     390
1997      V8/7.5L                            59                   540         34       2016      L4/2.3L    MT                                         96R                     500        32
1997      V8/7.5L    Opt                     65                   750          1       2016      L4/2.3L    Automatic Dual Clutch                      96R                     590        32
                                                                                                                                     See page 88 for Footnotes. Selection may vary by warehouse.

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                                      929
    Automotive/Light Truck                                                                                                                                                            43
                                                                                       Original                                                                               Original
        Year         Engine                         Options          BCI Group Size   Equipment    Fitment      Year     Engine                  Options    BCI Group Size   Equipment    Fitment
                                                                         (notes)                    Code                                                        (notes)                    Code
                                                                                      CCA/Rating                                                                             CCA/Rating
    Ford Focus (continued)                                                                                   Ford Galaxie (continued)
    2015                        Electric                           67R                  390                  1967-65   V8/4.7L    AT                       22F                 250
    2014-13      L4/2.0L        w/o Ecoboost                       96R                  500         32       1967-65   V8/4.7L    Opt                      27F                 350         36
    2014-13      L4/2.0L        w/Ecoboost                         96R                  590         32       1967-65   V8/4.7L                             29NF                350
    2014-12                     Electric                           67R                  390                  1967-65   V8/6.4L    AC & AT                  22F                 250
    2012         L4/2.0L        MT                                 96R                  500         32       1967-65   V8/6.4L                             27F                 350         36
    2012         L4/2.0L        Automatic Dual Clutch              96R                  590         32       1967-64   V8/6.4L                             29NF                350
    2011-05      L4/2.0L                                           96R                  500         32       1967-64   V8/7.0L                             29NF                350
    2007-03      L4/2.3L                                           96R                  500         32       1967      V8/5.8L    AC & AT                  24F                 325         23
    2007         L4/2.0L       Immersion Heater or Premium Radio   40R                  590         19       1966-65   V8/5.8L    AT                       22F                 250
    2007         L4/2.3L       Immersion Heater or Premium Radio   40R                  590         19       1966-64   V8/5.8L                             29NF                350
    2006-05      L4/2.0L       Immersion Heater or Premium Radio   40R                  590         19       1966-59   V8/5.8L    Opt                      27F                 350         36
    2006-05      L4/2.3L       Immersion Heater or Premium Radio   40R                  590         19       1966      V8/7.0L                             27F                 350         36
    2004-03      L4/2.0L       Ex Z Tech                           40R                  590         19       1964      L6/3.6L                             29NF                350
    2004-03      L4/2.0L       Z Tech                              96R                  500         32       1964      V8/4.3L                             29NF                350
    2002-00      L4/2.0L       Z Tech                              40R                  590         19       1964      V8/4.7L                             24F                 455         23
    2002-00      L4/2.0L       Ex Z Tech                           96R                  500         32       1963      V8/6.6L                             24F                 325         23
    Ford Freestar                                                                                            1963      V8/7.0L                             24F                 325         23
    2007-04      V6/3.9L                                           59                   540         34       1962-60   V8/4.8L    Opt                      27F                 350         36
    2007-04      V6/3.9L        Opt                                65                   650          1       1962-59   L6/3.6L                             27F                 350         36
    2007-04      V6/4.2L                                           59                   540         34       1962      V8/6.4L    Opt                      27F                 350         36
    2007-04      V6/4.2L        Opt                                65                   650          1       1962      V8/6.6L                             27F                 350         36
                                                                                                             1960      L6/3.7L                             24 43               325         22
    Ford Freestyle                                                                                           1960      L6/3.7L    Opt                      27F                 350         36
    2007-05 V6/3.0L                                                36R                  540         18       1960      V8/4.8L                             24 43               325         22
    2006-05 V6/3.0L             Opt                                36R                  600         18       1960      V8/5.8L                             24 43               325         22
    Ford Fusion                                                                                              1959      V8/4.8L                             27F                 350         36
    2017         L4/1.5L        Start/Stop                         48 33                760                  1959      V8/5.4L    Opt                      27F                 350         36
    2017         L4/1.5L        w/o Intelligent Access             90                   500         37       1959      V8/5.9L                             27F                 350         36
    2017         L4/1.5L        w/Intelligent Access               90                   590         37       Ford LTD Crown Victoria
    2017         L4/2.0L        Gas                                90                   590         37       1991-90   V8/5.0L                             58                  540          8
    2017         L4/2.0L        US, Gas                            90                   590         37       1991-90   V8/5.0L    Opt                      65                  650          1
    2017         L4/2.0L        Hybrid                             99R 50               390                  1991-90   V8/5.0L    w/HWS or PPkg            65                  850          1
    2017         L4/2.5L        w/o Intelligent Access             90                   500         37       1991-90   V8/5.8L                             58                  540          8
    2017         L4/2.5L        w/Intelligent Access               90                   590         37       1991-90   V8/5.8L    Opt                      65                  650          1
    2017         V6/2.7L                                           94R                  730         30       1991-90   V8/5.8L    w/HWS or PPkg            65                  850          1
    2016-15      L4/1.5L       w/o Intelligent Access              90                   500         37       Ford Mustang
    2016-15      L4/1.5L       w/Intelligent Access                90                   590         37
                                                                                                             2017-16   L4/2.3L                             96R                 590         32
    2016-15      L4/2.5L       w/o Intelligent Access              90                   500         37
                                                                                                             2017-16   V6/3.7L                             96R                 590         32
    2016-15      L4/2.5L       w/Intelligent Access                90                   590         37
                                                                                                             2017-16   V8/5.0L                             96R                 590         32
    2016-14      L4/1.5L       Start/Stop                          48 33                760
                                                                                                             2017      V8/5.2L                             99R                 390
    2016         L4/2.0L       Start/Stop                          48 33                760
                                                                                                             2016      V8/5.2L                             67R                 390
    2016         L4/2.0L       w/o Intelligent Access              90                   500         37
                                                                                                             2016      V8/5.2L    Cold Climate             96R                 590         32
    2016         L4/2.0L       w/Intelligent Access                90                   590         37
                                                                                                             2015      L4/2.3L                             96R                 590         32
    2016         L4/2.0L       Hybrid                              99R                  390
                                                                                                             2015      V6/3.7L                             96R                 590         32
    2016         L4/2.5L       Start/Stop                          48 33                760
                                                                                                             2015      V8/5.0L                             96R                 590         32
    2015-13      L4/2.0L       Hybrid                              67R 50               390
                                                                                                             2015      V8/5.2L                             67R                 390
    2015         L4/2.0L       Start/Stop                          48 33                760
                                                                                                             2015      V8/5.2L    Cold Climate             96R                 590         32
    2015         L4/2.0L       Gas                                 90                   590         37
                                                                                                             2014-13   V8/5.8L                             96R                 590         32
    2015         L4/2.5L       Start/Stop                          48 33                760                  2014-12   V8/5.0L    Boss Pkg                 96R                 500         32
    2014-13      L4/1.6L       Start/Stop                          48 33                760                  2014-12   V8/5.0L    Ex Boss Pkg              96R                 590         32
    2014-13      L4/1.6L       w/o Power Code Remote Start         90                   500         37       2014-11   V6/3.7L                             96R                 590         32
    2014-13      L4/1.6L       w/Power Code Remote Start           90                   590         37       2012-11   V8/5.4L                             96R                 590         32
    2014-13      L4/2.0L       Gas                                 90                   500         37       2011      V8/5.0L                             96R                 590         32
    2014-13      L4/2.0L       Gas, Opt                            90                   590         37       2010-08   V8/4.6L                             96R                 500         32
    2014-13      L4/2.5L       w/o Power Code Remote Start         90                   500         37       2010-07   V8/5.4L                             40R                 590         19
    2014-13      L4/2.5L       w/Power Code Remote Start           90                   590         37       2010-05   V6/4.0L                             96R                 500         32
    2014         L4/1.5L       w/o Power Code Remote Start         90                   500         37       2010      V8/5.4L                             96R                 590         32
    2014         L4/1.5L       w/Power Code Remote Start           90                   590         37       2009-08   V6/4.0L    HD, High Elect Content   40R                 590         19
    2013         L4/1.6L                                           96R                  500         32       2009-08   V8/4.6L    HD, High Elect Content   40R                 590         19
    2013         L4/1.6L        Opt                                96R                  590         32       2007      V8/4.6L                             40R                 590         19
    2012-10      L4/2.5L        Hybrid                             67R                  390                  2006-05   V6/4.0L    Opt                      40R                 590         19
    2012-10      L4/2.5L                                           96R                  500         32       2006-05   V8/4.6L    Opt                      40R                 590         19
    2012-10      V6/3.0L                                           96R                  500         32       2006-05   V8/4.6L                             96R                 500         32
    2012-10      V6/3.5L                                           96R                  500         32       2004-97   V6/3.8L                             59                  540         34
    2009-07      L4/2.3L                                           96R                  500         32       2004-97   V8/4.6L                             59                  540         34
    2009-07      V6/3.0L                                           96R                  500         32       2004      V6/3.9L                             59                  540         34
    2009-06      V6/3.0L                                           40R 56               590         19       2000      V8/5.4L                             59                  540         34
    2006         L4/2.3L                                           40R                  590         19       1996      V6/3.8L    Early                    58                  540          8
    Ford Galaxie                                                                                             1996      V6/3.8L    Late                     59                  540         34
    1967-65 L6/3.9L AC & AT                                        22F                  250                  1996      V8/4.6L    Early                    58                  540          8
    1967-65 L6/3.9L                                                27F                  350         36       1996      V8/4.6L    Late                     59                  540         34
    1967-65 L6/3.9L                                                29NF                 350                  1995-94   V6/3.8L                             58                  540          8
    See page 88 for Footnotes. Selection may vary by warehouse.

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44                                                                                                     Automotive/Light Truck
                                                                      Original                                                                                                   Original
   Year     Engine                   Options        BCI Group Size   Equipment    Fitment     Year      Engine                  Options                       BCI Group Size    Equipment    Fitment
                                                        (notes)                    Code                                                                           (notes)                     Code
                                                                     CCA/Rating                                                                                                 CCA/Rating
Ford Mustang (continued)                                                                    Ford Probe (continued)
1995-89   V8/5.0L                                  58                  540          8       1992-90 L4/2.2L                                                 56                     505
1995      V8/5.8L                                  58                  540          8       1992-90 V6/3.0L                                                 58R                    580
1993-89   L4/2.3L    HD w/AT                       58                  540          8       Ford Ranger
1993-87   L4/2.3L    MT                            58                  460          8       2011-97   V6/4.0L                                               59                     540         34
1986-84   L4/2.3L    MT, Ex Conv, Turbo, HA, Can   61                  310                  2011-01   L4/2.3L                                               59                     540         34
1986-84   L4/2.3L                                  61                  540
                                                                                            2008-97   V6/3.0L                                               59                     540         34
1986-84   L4/2.3L    HA, AT, Can                   62                  380
                                                                                            2001-98   L4/2.5L                                               59                     540         34
1986-84   L4/2.3L    Opt                           62                  380
                                                                                            1997-91   V6/3.0L    Opt                                        65                     650         1
1986-84   L4/2.3L    HD, Conv, Turbo               63                  450
                                                                                            1997-90   L4/2.3L    Opt                                        65                     650         1
1986-84   V6/3.8L                                  62                  380
                                                                                            1997-90   V6/4.0L    Opt                                        65                     650         1
1986-84   V6/3.8L    HD, Conv                      63                  450
                                                                                            1997      L4/2.3L                                               59                     540         34
1986-84   V8/5.0L                                  63                  450
1983-82   V8/5.0L                                  61                  310                  1996-91   V6/3.0L                                               58                     540         8
1983      L4/2.3L    MT, US, Ex Turbo              61                  310                  1996-91   V6/4.0L                                               65                     650         1
1983      L4/2.3L    AT or Can                     62                  380                  1996-90   L4/2.3L                                               58                     540         8
1983      L4/2.3L    HD or Turbo                   63                  450                  1992-90   V6/2.9L                                               58                     540         8
1983      V6/3.8L                                  61                  310                  1992-90   V6/2.9L    Opt                                        65                     650         1
1983      V6/3.8L    Conv or HD                    63                  450                  1990      V6/4.0L                                               58                     540         8
1983      V8/5.0L    Conv or HD                    63                  450                  Ford Special Service Police Sedan
1982-81   L6/3.3L                                  61                  310                  2017    L4/2.0L                                                 65                     750         1
1982-81   L6/3.3L    Opt                           63                  450                  2016-15 L4/2.0L                                                 65                     750         1
1982-81   V8/4.2L                                  61                  310                  2014    L4/2.0L                                                 65                     750         1
1982-81   V8/4.2L    Opt                           63                  450                  Ford Taurus, Taurus X
1982      L4/2.3L    MT, Ex Turbo                  61                  310                  2017      L4/2.0L    w/o Intelligent Access                     59                     540         34
1982      L4/2.3L    Turbo, AT                     62                  380
                                                                                            2017      L4/2.0L    w/Intelligent Access                       65                     650         1
1982      V8/5.0L    Opt                           63                  450
                                                                                            2017      V6/3.5L    Duratec w/o Intelligent Access             59                     540         34
1981      L4/2.3L    MT                            62                  380
                                                                                            2017      V6/3.5L    Duratec w/Intelligent Access               65                     650         1
1981      L4/2.3L    AT, Turbo, HD                 63                  450
                                                                                            2017      V6/3.5L    Ecoboost                                   65                     650         1
1980      L4/2.3L                                  63                  450
                                                                                            2016      L4/2.0L    w/o Intelligent Access                     59                     540         34
1980      L6/3.3L                                  63                  450
                                                                                            2016      L4/2.0L    w/Intelligent Access                       65                     650         1
1980      V8/4.2L                                  63                  450
1979      L4/2.3L                                  56                  535                  2016      V6/3.5L    w/o Intelligent Access, Ecoboost           59                     540         34
1979      L6/3.3L                                  56                  535                  2016      V6/3.5L    w/Intelligent Access, Ecoboost             65                     650         1
1979      V6/2.8L                                  56                  535                  2015      L4/2.0L    w/o Intelligent Access                     59                     540         34
1979      V8/5.0L                                  56                  535                  2015      L4/2.0L    w/Intelligent Access                       65                     650         1
1972      V8/5.8L    2V, MT                        22F                 250                  2015      V6/3.5L    w/o Intelligent Access, Ex SHO             59                     540         34
1971-67   V8/7.0L                                  22F                 250                  2015      V6/3.5L    w/Intelligent Access, SHO                  65                     650         1
1971      L6/4.1L                                  22F                 250                  2014-13   L4/2.0L    Ex SHO                                     59                     540         34
1971      V8/5.0L                                  22F                 250                  2014-13   V6/3.5L    PPkg                                       65                     750         1
1971      V8/5.8L                                  22F                 250                  2014-10   V6/3.5L    Ex SHO                                     59                     540         34
1970-67   V8/7.0L    Ex 427 or HD                  22F                 250                  2014-10   V6/3.5L    SHO                                        65                     650         1
1970-67   V8/7.0L    HD or 427                     24F                 325         23       2009-08   V6/3.5L                                               59                     540         34
1970-67   V8/7.0L    Opt                           24F                 325         23       2007-06   V6/3.0L                                               36R                    540         18
1968      V8/7.0L                                  24F                 325         23       2006      V6/3.0L    Opt                                        36R                    600         18
1965-64   V8/4.3L                                  22F                 250                  2005      V6/3.0L    HD & Can, DOHC                             36R                    600         18
1964      L6/3.3L                                  22F                 250                  2005      V6/3.0L    OHV                                        36R                    600         18
1964      V8/4.7L                                  22F                 250                  2004-01   V6/3.0L    OHV                                        36R                    540         18
Ford Police Interceptor Sedan                                                               2004-01   V6/3.0L    HD, OHV                                    36R                    600         18
2017      V6/3.5L                                  65                  750          1       2004-00   V6/3.0L    HD & Can, DOHC                             36R                    600         18
2017      V6/3.7L                                  65                  750          1       2000-96   V6/3.0L    OHV                                        58R                    540
2016      V6/3.5L                                  65                  750          1       1999-96   V8/3.4L    SHO                                        36R                    650         18
2016      V6/3.7L                                  65                  750          1       1999      V6/3.0L    DOHC or HD                                 36R                    650         18
2015      V6/3.5L                                  65                  750          1       1998-96   V6/3.0L    HD & Can, DOHC                             36R                    650         18
2015      V6/3.7L                                  65                  750          1       1995-93   V6/3.2L    SHO                                        34                     650         9
2014-13   V6/3.5L    w/Ecoboost                    65                  650          1       1995-93   V6/3.8L    HD or PPkg                                 65                     850         1
2014-13   V6/3.7L                                  59                  540         34       1995-92   V6/3.0L    Opt                                        65                     650         1
2014      V6/3.5L    Ex Ecoboost                   59                  540         34       1995-92   V6/3.8L                                               65                     650         1
2014      V6/3.5L                                  65                  750          1       1995-91   V6/3.0L                                               58                     540         8
2013      V6/3.5L    w/o Ecoboost                  59                  540         34       1995-90   V6/3.0L    SHO                                        34                     650         9
Ford Police Interceptor Utility                                                             1991-90   V6/3.8L    HD, w/HWS or PPkg                          65                     850         1
2017      V6/3.5L                                  65                  750          1       1991      L4/2.5L                                               65                     650         1
2017      V6/3.7L                                  65                  750          1       1991      V6/3.8L    Wagon                                      65                     650         1
2016      V6/3.5L                                  65                  750          1       1991      V6/3.8L    Ex Wagon                                   65                     850         1
2016      V6/3.7L                                  65                  750          1       1990      L4/2.5L    AT                                         65                     650         1
2015      V6/3.5L                                  65                  750          1       1990      V6/3.0L    Ex SHO                                     58                     540         8
2015      V6/3.7L                                  65                  750          1       1990      V6/3.8L                                               65                     850         1
2014-13   V6/3.7L                                  59                  540         34       Ford Tempo
2014      V6/3.5L    Ex Ecoboost                   59                  540         34       1994-92   V6/3.0L                                               58                      460         8
2014      V6/3.5L    w/Ecoboost                    65                  650          1       1994-92   V6/3.0L    Opt                                        58                      540         8
Ford Probe                                                                                  1994      L4/2.3L                                               58                      540         8
1997-93 L4/2.0L                                    58R                 580                  1993-90   L4/2.3L    MT                                         58                      460         8
1997-93 V6/2.5L                                    58R                 580                  1993-90   L4/2.3L    HD w/AT                                    58                      540         8
                                                                                                                                          See page 88 for Footnotes. Selection may vary by warehouse.

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                                      929
    Automotive/Light Truck                                                                                                                                                             45
                                                                                       Original                                                                                Original
        Year         Engine                         Options          BCI Group Size   Equipment    Fitment     Year      Engine                 Options      BCI Group Size   Equipment    Fitment
                                                                         (notes)                    Code                                                         (notes)                    Code
                                                                                      CCA/Rating                                                                              CCA/Rating
    Ford Thunderbird                                                                                         Ford Transit-250
    2005-02      V8/3.9L                                          66 50                 650                  2017      L5/3.2L    Dsl                     48 2, 33, 50          760
    1997-94      V8/4.6L                                          65                    650          1       2017      V6/3.5L                            48 50                 610         29
    1997-93      V6/3.8L        Can & Opt                         65                    650          1       2017      V6/3.7L                            48 50                 610         29
    1997         V6/3.8L                                          59                    540         34       2016      L5/3.2L    Dsl                     48 33                 760
    1996         V6/3.8L        Early                             58                    540          8       2016      V6/3.5L                            48                    610         29
    1996         V6/3.8L        Late                              59                    540         34       2016      V6/3.7L                            48                    610         29
    1995-93      V6/3.8L        S/C, HD & Can                     65                    650          1       2015      L5/3.2L    Dsl                     48 33                 760
    1995-91      V6/3.8L        S/C, w/MT                         58                    540          8       2015      V6/3.5L                            48                    610         29
    1993-91      V8/5.0L                                          65                    650          1       2015      V6/3.7L                            48                    610         29
    1992-91      V6/3.8L       Naturally Aspirated                58                    460          8       Ford Transit-350
    1992-91      V6/3.8L       HD, Ex S/C                         58                    540          8       2017      L5/3.2L    Dsl                     48 2, 33, 50          760
    1992-91      V6/3.8L       S/C, Can, Cold Climate Pkg         65                    650          1       2017      V6/3.5L                            48 50                 610         29
    1992-91      V6/3.8L       S/C, HD                            65                    650          1       2017      V6/3.7L                            48 50                 610         29
    1990         V6/3.8L       US                                 58                    460          8       2016      L5/3.2L    Dsl                     48 33                 760
    1990         V6/3.8L       US, HD, Ex S/C                     58                    540          8       2016      V6/3.5L                            48                    610         29
    1990         V6/3.8L       S/C                                65                    650          1       2016      V6/3.7L                            48                    610         29
    1970-68      V8/7.0L                                          27F                   350         36       2015      L5/3.2L    Dsl                     48 33                 760
    1968         V8/6.4L                                          27F                   350         36       2015      V6/3.5L                            48                    610         29
    1967-66      V8/7.0L        428 w/AC or HD                    27F                   350         36       2015      V6/3.7L                            48                    610         29
    1967-65      V8/6.4L        Ex 428, w/AC                      24F                   325         23       Ford Transit-350 HD
    1967-65      V8/7.0L        Ex 428, w/AC                      24F                   325         23       2017      L5/3.2L    Dsl                     48 2, 33, 50          760
    1964-63      V8/7.0L                                          29NF                  350                  2017      V6/3.5L                            48 33, 50             760
    1964-61      V8/6.4L                                          29NF                  350                  2017      V6/3.7L                            48 33, 50             760
    1963         V8/6.6L                                          29NF                  350                  2016-15   V6/3.7L                            48 33, 50             760
    1963         V8/6.7L                                          29NF                  350                  2016      L5/3.2L    Dsl                     48 33                 760
    1960-59      V8/5.8L                                          29NF                  350                  2016      V6/3.5L                            48 33                 760
    1960-59      V8/7.0L                                          29NF                  350                  2016      V6/3.7L                            48 33                 660
    1959         V8/5.4L                                          29NF                  350                  2015      L5/3.2L    Dsl                     48 33                 760
    1958         V8/4.8L                                          27F                   350         36       2015      V6/3.5L                            48                    610         29
    1958         V8/5.4L                                          27F                   350         36       2015      V6/3.5L                            48 33, 50             760
    1958         V8/5.8L                                          27F                   350         36       2015      V6/3.7L                            48                    610         29
    1957-56      V8/4.8L                                          29NF                  350                  Ford Windstar
    1957-56      V8/5.1L                                          29NF                  350
                                                                                                             2003-97   V6/3.8L    TTPkg or HD             65                    750          1
    1955         V8/4.4L                                          2N                    450
                                                                                                             2003-95   V6/3.8L                            65                    650          1
    1955         V8/4.8L                                          2N                    450                  2000-97   V6/3.0L                            59                    540         34
    Ford Torino                                                                                              2000      V6/3.0L    TTPkg or HD             65                    750          1
    1976-75      V8/5.8L        Opt                               24F                   455         23       1999-97   V6/3.0L    TTPkg or HD             65                    650          1
    1976-74      V8/6.6L                                          24F                   455         23       1996-95   V6/3.0L                            58                    540          8
    1976-74      V8/7.5L                                          24F                   455         23       1996      V6/3.0L    TTPkg or HD             65                    850          1
    1974         L6/4.1L                                          24F                   455         23       1996      V6/3.8L    Opt                     65                    750          1
    1974         V8/5.0L                                          24F                   455         23       1995      V6/3.0L                            65                    850          1
    1974         V8/5.8L                                          24F                   455         23       Freightliner Sprinter (2500, 3500)
    1973         V8/5.8L                                          24F                   350         23       2017-15   L4/2.1L    Dsl                     48 50                 680         29
    1973         V8/6.6L                                          22F                   440                  2017-15   L4/2.1L    Dsl                     48 33, 50             760
    1973         V8/7.0L                                          22F                   440                  2017-15   V6/3.0L    Dsl                     48 50                 680         29
    1973         V8/7.5L                                          22F                   440                  2017-15   V6/3.0L    Dsl                     48 33, 50             760
    Ford Transit Connect                                                                                     2017      L4/2.1L    Dsl                     49 50                 760
    2017         L4/2.5L                                          40R                   590         19       2017      L4/2.1L    Dsl                     49 33, 50             850
    2016         L4/1.6L                                          40R                   590         19       2017      V6/3.0L    Dsl                     49 50                 760
    2016         L4/2.5L                                          40R                   590         19       2017      V6/3.0L    Dsl                     49 33, 50             850
    2015-14      L4/1.6L                                          40R                   590         19       2016-15   L4/2.1L    Dsl                     49 50                 760
    2015-14      L4/2.5L                                          40R                   590         19       2016-15   V6/3.0L    Dsl                     49 50                 760
    2015         L4/1.6L                                          48                    610         29       2016      L4/2.1L                            49 50                 850
    2015         L4/1.6L        Opt                               48 2, 33              760                  2016      V6/3.0L                            49 50                 850
    2015         L4/2.5L                                          48                    610         29       2015      L4/2.1L    Dsl                     49 50                 850
    2015         L4/2.5L        Opt                               48 2, 33              760                  2015      V6/3.0L    Dsl                     49 50                 850
    2014         L4/1.6L                                          96R                   590         32       2014-07   V6/3.0L    Dsl                     49 50                 850
    2014         L4/2.5L                                          96R                   590         32       2014      L4/2.1L    Dsl                     49 50                 850
    2013-10      L4/2.0L                                          96R                   590         32       2008-07   V6/3.5L                            49 50                 850
    2012                        Electric                          96R                   500         32       2006-02   L5/2.7L    Dsl                     49 50                 850
    Ford Transit-150                                                                                         Geo Metro
    2017         L5/3.2L        Dsl                               48 2, 33, 50          760                  1997-95   L3/1.0L                            26R                   390         38
    2017         V6/3.5L                                          48 50                 610         29       1997-95   L4/1.3L                            26R                   390         38
    2017         V6/3.7L                                          48 50                 610         29       1994      L3/1.0L                            26                    390
    2016         L5/3.2L        Dsl                               48 33                 760                  1994      L4/1.3L                            26                    390
    2016         V6/3.5L                                          48                    610         29       1993-92   L4/1.3L                            26                    440
    2016         V6/3.7L                                          48                    610         29       1993-90   L3/1.0L                            26                    440
    2015         L5/3.2L        Dsl                               48 33                 760                  Geo Prizm
    2015         V6/3.5L                                          48                    610         29       1997-93 L4/1.8L                              35                    310          3
    2015         V6/3.7L                                          48                    610         29       1997-90 L4/1.6L                              35                    310          3
    See page 88 for Footnotes. Selection may vary by warehouse.

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                                                929
46                                                                                                    Automotive/Light Truck
                                                                     Original                                                                                                  Original
  Year      Engine                     Options     BCI Group Size   Equipment    Fitment     Year      Engine                 Options                       BCI Group Size    Equipment    Fitment
                                                       (notes)                    Code                                                                          (notes)                     Code
                                                                    CCA/Rating                                                                                                CCA/Rating
Geo Storm                                                                                  GMC C/K, R/V Pickups, Jimmy, Suburban (continued)
1993-92 L4/1.8L                                  35                   360          3       1990      V8/5.7L    Aux Battery                               78                     540         7
1993-90 L4/1.6L                                  35                   360          3       1990      V8/5.7L    Opt                                       78                     630         7
Geo Tracker                                                                                1990      V8/6.2L    Dsl                                       75 2                   570
1997-95 L4/1.6L                                  26R                  500         38       GMC Canyon
1994-90 L4/1.6L                                  26                   525                  2017      L4/2.5L                                              48                     615         29
GMC Acadia                                                                                 2017      L4/2.8L    Dsl                                       49 33                  850
2017      L4/2.5L    Start/Stop                  94R 33               730                  2017      V6/3.6L                                              48                     615         29
2017      V6/3.6L                                48                   660         29       2016      L4/2.5L                                              48                     615         29
2016      V6/3.6L                                48 50                660         29       2016      L4/2.8L    Dsl                                       49                     850
2015      V6/3.6L                                48 50                660         29       2016      V6/3.6L                                              48                     615         29
2014-10   V6/3.6L                                48 50                660         29       2015      L4/2.5L                                              48                     615         29
2009-07   V6/3.6L                                48 50                730         29       2015      V6/3.6L                                              48                     615         29
GMC Acadia Limited                                                                         2012-09   V8/5.3L                                              86 40                  590         31
2017      V6/3.6L                                48 50                660         29       2012-08   L4/2.9L                                              86 40                  590         31
GMC C/K, R/V Pickups, Jimmy, Suburban                                                      2012-08   L5/3.7L                                              86 40                  590         31
                                                                                           2007      L4/2.9L                                              86 11, 40              640
2005-94   V6/4.3L    Opt                         75                   690
2005-92   V6/4.3L                                75                   525          5       2007      L5/3.7L                                              86 11, 40              590
2000-99   V8/5.7L    Opt                         78                   690          7       2006-04   L4/2.8L                                              86 11, 40              640
2000-99   V8/6.5L    Dsl & Opt                   78 2                 690          7       2006-04   L5/3.5L                                              86 11, 40              590
2000-99   V8/7.4L    Opt                         78                   690          7       GMC Envoy
2000-97   V8/6.5L    Dsl                         78 2                 600          7       2009-05 V8/5.3L                                                78 40                  600         7
2000-94   V8/7.4L                                78                   600          7       2009-02 L6/4.2L                                                78 40                  600         7
2000-91   V8/5.7L                                78                   600          7       GMC Envoy XL
1999-97   V8/6.5L    Dsl                         78 2                 600          7       2006-03 V8/5.3L                                                78 40                  600         7
1999-94   V8/7.4L                                78                   600          7       2006-02 L6/4.2L                                                78 40                  600         7
1999-93   V8/7.4L    Primary Battery             78                   600          7       GMC Envoy XUV
1999-91   V8/5.0L                                78                   600          7
                                                                                           2005-04 L6/4.2L                                                78 40                  600         7
1999-91   V8/5.7L                                78                   600          7
                                                                                           2005-04 V8/5.3L                                                78 40                  600         7
1999      V8/5.0L    Opt                         78                   690          7
1999      V8/5.7L    Opt                         78                   690          7       GMC G-Series Vans (1500, 2500, 3500)
1999      V8/6.5L    Dsl, HD                     78 2                 600          7       1996-94   V8/5.7L                                              78                     600         7
1999      V8/6.5L    Dsl & Opt                   78 2                 690          7       1996-94   V8/6.5L    Dsl                                       78 2                   600         7
1999      V8/7.4L    Opt                         78                   690          7       1996-94   V8/7.4L                                              78                     600         7
1998-97   V8/6.5L    Dsl                         78 2                 600          7       1995-94   V6/4.3L                                              78                     600         7
1998-94   V6/4.3L    Opt                         75                   690                  1995-94   V8/5.0L                                              78                     600         7
1998-94   V6/4.3L                                78                   600          7       1995-94   V8/5.7L                                              78                     600         7
1998      V8/5.0L                                78                   600          7       1995-94   V8/6.5L    Dsl                                       78 2                   600         7
1997      V8/6.5L    Dsl                         78 2                 600          7       1993-91   V6/4.3L                                              78                     630         7
1997      V8/6.5L    Dsl                         78 2                 690          7       1993-91   V8/5.0L                                              78                     630         7
1996-94   V8/6.5L    Dsl                         78 2                 770          7       1993-91   V8/5.7L                                              78                     630         7
1995-94   V6/4.3L    Opt                         75                   690                  1993-90   V8/6.2L    Dsl                                       78 2                   540         7
1995-94   V6/4.3L                                78                   600          7       1993-90   V8/7.4L                                              78                     630         7
1995-91   V8/5.0L                                78                   600          7       1990      V6/4.3L                                              75                     525         5
1993-92   V6/4.3L    Opt                         78                   630          7       1990      V8/5.0L                                              75                     525         5
1993-92   V8/6.2L    Dsl                         75 2                 570                  1990      V8/5.7L                                              75                     525         5
1993-92   V8/6.5L    Dsl                         75 2                 570                  GMC K Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
1993-91   V6/4.3L    Primary Battery             78                   600          7       GMC P-Series Vans (3500, 4500)
1993-91   V8/5.0L    Primary Battery             78                   600          7       1999-97   V6/4.3L                                              78                     600         7
1993-91   V8/5.7L    Primary Battery             78                   600          7       1999-97   V6/4.3L    Opt                                       78                     690         7
1993-91   V8/7.4L    Aux Battery                 78                   540          7       1999-97   V8/5.7L                                              78                     600         7
1993-90   V6/4.3L    Aux Battery                 78                   540          7       1999-97   V8/5.7L    Opt                                       78                     690         7
1993-90   V8/5.0L    Aux Battery                 78                   540          7       1999-94   V8/6.5L    Dsl                                       78 2                   600         7
1993-90   V8/5.7L    Aux Battery                 78                   540          7       1999-94   V8/7.4L                                              78                     600         7
1993-90   V8/7.4L    Primary Battery             78                   630          7       1996-94   V6/4.3L    Opt                                       78                     600         7
1993      V6/4.3L    Aux Battery                 75                   525          5       1996-94   V8/5.7L    Opt                                       78                     600         7
1993      V8/7.4L    Aux Battery                 78                   540          7       1996-90   V6/4.3L                                              75                     525         5
1992-91   V6/4.3L                                78                   600          7       1996-90   V8/5.7L                                              75                     525         5
1992-91   V8/7.4L    Primary Battery             78                   630          7       1993-90   V6/4.3L    Opt                                       78                     630         7
1992-90   V8/7.4L    Aux Battery                 78                   540          7       1993-90   V8/5.7L    Opt                                       78                     630         7
1991-90   V8/6.2L    Dsl                         78 2                 540          7       1993-90   V8/6.2L    Dsl                                       78 2                   540         7
1991-90   V8/7.4L    Aux Battery                 78                   540          7
                                                                                           1993-90   V8/7.4L                                              78                     630         7
1991-90   V8/7.4L    Primary Battery             78                   630          7
                                                                                           1991-90   L4/3.9L                                              75                     500         5
1991      V6/4.3L                                78                   600          7
1991      V8/5.7L    Aux Battery                 78                   540          7       GMC R Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
1991      V8/5.7L                                78                   600          7       GMC Safari
1991      V8/5.7L    Primary Battery             78                   630          7       2005-94   V6/4.3L                                              78                      600         7
1990      V6/4.3L    Primary Battery             75                   525          5       2005-04   V6/4.3L    HD or SEO                                 78                      770         7
1990      V6/4.3L    Opt                         78                   630          7       2003-02   V6/4.3L    Opt                                       78                      770         7
1990      V8/5.0L    Primary Battery             75                   525          5       1993-91   V6/4.3L                                              78                      630         7
1990      V8/5.0L    Opt                         78                   630          7       1990      L4/2.5L                                              75                      525         5
1990      V8/5.7L    Primary Battery             75                   525          5       1990      L4/2.5L    Opt                                       78                      630         7
                                                                                                                                        See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                      Costco_001596
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    Automotive/Light Truck                                                                                                                                                          47
                                                                                      Original                                                                              Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                       (notes)                    Code
                                                                                     CCA/Rating                                                                            CCA/Rating
    GMC Safari (continued)                                                                                  GMC Savana 3500 (continued)
    1990         V6/4.3L                                          75                   525          5       2005-03   V8/6.0L    Opt                    79                   800         41
    1990         V6/4.3L        Opt                               78                   630          7       2002-99   V8/5.7L    Opt                    78                   690          7
    GMC Savana 1500                                                                                         2002-99   V8/6.5L    Dsl                    78 2                 600         7
    2014-96      V6/4.3L                                          78                   600          7       2002-96   V8/5.7L                           78                   600          7
    2014-10      V6/4.3L        Opt                               78                   770          7       2002-96   V8/6.5L    Dsl, HD                78 2                 690         7
    2014-10      V8/5.3L        Opt                               78                   770          7       2002-01   V8/8.1L                           78                   600          7
    2014-03      V8/5.3L                                          78                   600          7       2002-01   V8/8.1L    Opt                    78                   690          7
    2005-03      V6/4.3L        HD or SEO                         79                   800         41       2000      V8/7.4L                           78                   600          7
    2005-03      V8/5.3L        Opt                               79                   800         41       2000      V8/7.4L    Opt                    78                   690          7
    2002-99      V6/4.3L        Opt                               78                   690          7       1999      V8/7.4L                           78                   630          7
    2002-99      V8/5.0L        Opt                               78                   690          7       1998-96   V8/6.5L    Dsl                    78 2                 600         7
    2002-99      V8/5.7L        Opt                               78                   690          7       1998-96   V8/7.4L                           78                   600          7
    2002-96      V8/5.0L                                          78                   600          7       GMC Sierra 1500
    2002-96      V8/5.7L                                          78                   600          7       2017-16   V6/4.3L                           48                   730         29
    GMC Savana 2500                                                                                         2017      V8/5.3L                           94R                  720         30
    2017         V8/4.8L                                          78                   600          7       2016      V6/4.3L                           94R                  720         30
    2017         V8/4.8L        Opt                               78                   770          7       2016      V8/5.3L                           94R                  720         30
    2017         V8/6.0L                                          78                   600          7       2016      V8/6.2L                           94R                  720         30
    2017         V8/6.0L        Opt                               78                   770          7       2015      V6/4.3L                           48                   730         29
    2016         V8/4.8L                                          78                   600          7       2015      V8/5.3L                           94R                  720         30
    2016         V8/4.8L        Opt                               78                   770          7       2015      V8/6.2L                           94R                  720         30
    2016         V8/6.0L                                          78                   600          7       2014-09   V6/4.3L    Opt                    48                   730         29
    2016         V8/6.0L        Opt                               78                   770          7       2014-09   V8/5.3L    Opt                    48                   730         29
    2016         V8/6.6L        Dsl                               78 2                 770          7       2014-09   V8/6.2L    Opt                    48                   730         29
    2015         V8/4.8L                                          78                   600          7       2014-08   V8/6.2L                           48                   615         29
    2015         V8/4.8L        Opt                               78                   770          7       2014-07   V6/4.3L                           48                   615         29
    2015         V8/6.0L                                          78                   600          7       2014-07   V8/5.3L                           48                   615         29
    2015         V8/6.0L        Opt                               78                   770          7       2014      V8/5.3L                           94R                  720         30
    2015         V8/6.6L        Dsl                               78 2                 770          7       2014      V8/6.2L                           94R                  720         30
    2014-10      V8/4.8L        Opt                               78                   770          7
                                                                                                            2013-09   V8/4.8L    Opt                    48                   730         29
    2014-10      V8/6.0L        Opt                               78                   770          7
                                                                                                            2013-07   V8/4.8L                           48                   615         29
    2014-07      V8/6.6L        Dsl                               78 2                 770          7
    2014-03      V8/4.8L                                          78                   600          7       2013      V8/6.0L    Hybrid                 48                   730         29
    2014-03      V8/6.0L                                          78                   600          7       2012-10   V8/6.0L    Hybrid                 48                   615         29
    2006         V8/6.6L                                          79 2                 800         41       2012-10   V8/6.0L    Hybrid, HD             48                   730         29
    2005-96      V6/4.3L                                          78                   600          7       2009-07   V8/6.0L                           48                   615         29
    2005-03      V6/4.3L        HD or SEO                         79                   800         41       2009      V8/6.0L    Opt                    48                   730         29
    2005-03      V8/4.8L        Opt                               79                   800         41       2007-99   V6/4.3L                           78                   600          7
    2005-03      V8/5.3L                                          78                   600          7       2007-99   V8/4.8L                           78                   600          7
    2005-03      V8/5.3L        Opt                               79                   800         41       2007-99   V8/5.3L                           78                   600          7
    2005-03      V8/6.0L        Opt                               79                   800         41       2007-02   V8/6.0L                           78                   600          7
    2002-99      V6/4.3L        Opt                               78                   690          7       2007      V8/6.2L    Late                   48                   615         29
    2002-99      V8/5.0L        Opt                               78                   690          7       2007      V8/6.2L    Early                  78                   600          7
    2002-99      V8/5.7L        Opt                               78                   690          7       2006-05   V8/6.0L    Opt                    78                   690          7
    2002-99      V8/6.5L        Dsl                               78 2                 600          7       2006      V6/4.3L    Opt                    78                   690          7
    2002-96      V8/5.0L                                          78                   600          7       2006      V8/4.8L    Opt                    78                   690          7
    2002-96      V8/5.7L                                          78                   600          7       2006      V8/5.3L    Opt                    78                   690          7
    2002-96      V8/6.5L        Dsl, HD                           78 2                 690          7       2005-99   V6/4.3L    Opt                    78                   770          7
    1998-96      V8/6.5L        Dsl                               78 2                 600          7       2005-99   V8/4.8L    Opt                    78                   770          7
    GMC Savana 3500                                                                                         2005-04   V8/5.3L    Opt                    78                   770          7
    2017         V8/4.8L                                          78                   600          7       2004-02   V8/6.0L    Opt                    78                   770          7
    2017         V8/4.8L        Opt                               78                   770          7       2001-99   V8/5.3L    Opt                    78                   770          7
    2017         V8/6.0L                                          78                   600          7       2001      V8/6.0L                           78                   600          7
    2017         V8/6.0L        Opt                               78                   770          7       2001      V8/6.0L    Opt                    78                   770          7
    2016         V8/4.8L                                          78                   600          7       GMC Sierra 1500 Classic
    2016         V8/4.8L        Opt                               78                   770          7       2007      V6/4.3L    Late                   48                   615         29
    2016         V8/6.0L                                          78                   600          7       2007      V6/4.3L    Early                  78                   600          7
    2016         V8/6.0L        Opt                               78                   770          7       2007      V8/4.8L    Late                   48                   615         29
    2016         V8/6.6L        Dsl                               78 2                 770          7       2007      V8/4.8L    Early                  78                   600          7
    2015         V8/4.8L                                          78                   600          7       2007      V8/5.3L    Late                   48                   615         29
    2015         V8/4.8L        Opt                               78                   770          7       2007      V8/5.3L    Early                  78                   600          7
    2015         V8/6.0L                                          78                   600          7       2007      V8/6.0L    Late                   48                   615         29
    2015         V8/6.0L        Opt                               78                   770          7       2007      V8/6.0L    Early                  78                   600          7
    2015         V8/6.6L        Dsl                               78 2                 770          7
    2014-07      V8/6.6L        Dsl                               78 2                 770          7
                                                                                                            GMC Sierra 1500 HD Classic
    2014-04      V8/4.8L                                          78                   600          7       2007      V8/6.0L    Late                   48                   615         29
    2014-03      V8/6.0L                                          78                   600          7       2007      V8/6.0L    Early                  78                   600          7
    2014         V8/4.8L        Opt                               78                   770          7       GMC Sierra 1500HD
    2014         V8/6.0L        Opt                               78                   770          7       2006-05   V8/6.0L                           78                   600          7
    2013-10      V8/4.8L        Opt                               78                   770          7       2006      V8/6.0L    Opt                    78                   690          7
    2013-10      V8/6.0L        Opt                               78                   770          7       2005      V8/6.0L    Opt                    78                   770          7
    2006         V8/6.6L                                          79 2                 800         41       2003-01   V8/6.0L                           78                   600          7
    2005-04      V8/4.8L        Opt                               79                   800         41       2003-01   V8/6.0L    Opt                    78                   770          7
    See page 88 for Footnotes. Selection may vary by warehouse.

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48                                                                                               Automotive/Light Truck
                                                                Original                                                                                                  Original
  Year      Engine                Options     BCI Group Size   Equipment    Fitment     Year      Engine                 Options                       BCI Group Size    Equipment    Fitment
                                                  (notes)                    Code                                                                          (notes)                     Code
                                                               CCA/Rating                                                                                                CCA/Rating
GMC Sierra 2500                                                                       GMC Sonoma
2004-99   V8/6.0L                           78                   600          7       2004-94   V6/4.3L    Opt                                       75                     690
2004-99   V8/6.0L    Opt                    78                   770          7       2004-91   V6/4.3L                                              75                     525         5
2000-99   V8/5.3L                           78                   600          7       2003-96   L4/2.2L                                              75                     525         5
2000-99   V8/5.3L    Opt                    78                   770          7       2002-94   L4/2.2L    Opt                                       75                     690
GMC Sierra 2500 HD Classic                                                            1995-94   L4/2.2L                                              75                     525         5
2007      V8/6.0L    Late                   48                   615         29       1993-91   L4/2.5L                                              75                     525         5
2007      V8/6.0L    Early                  78                   600          7       1993-91   L4/2.5L    Opt                                       78                     630         7
2007      V8/6.6L    Dsl, Late              48 2                 730         29       1993-91   V6/2.8L                                              75                     525         5
2007      V8/6.6L    Dsl, Early             78 2                 770          7       1993-91   V6/2.8L    Opt                                       78                     630         7
2007      V8/8.1L    Late                   48                   615         29       1993-91   V6/4.3L    Opt                                       78                     630         7
2007      V8/8.1L    Early                  78                   600          7       GMC S-Series: Pickup, Jimmy
GMC Sierra 2500HD                                                                     1991-90   V6/4.3L                                              75                     525         5
2017-16   V8/6.6L    Dsl                    48 2                 730         29       1991-90   V6/4.3L    Opt                                       78                     630         7
2017      V8/6.0L                           94R                  720         30       1990      L4/2.5L                                              75                     525         5
2016      V8/6.0L                           94R                  720         30       1990      L4/2.5L    Opt                                       78                     630         7
2016      V8/6.6L    Dsl                    94R 2                720         30       1990      V6/2.8L                                              75                     525         5
2015      V8/6.0L                           94R                  720         30       1990      V6/2.8L    Opt                                       78                     630         7
2015      V8/6.6L    Dsl                    48 2                 730         29       1990      V6/4.3L                                              75                     525         5
2014-11   V8/6.0L    Opt                    48                   730         29       1990      V6/4.3L    Opt                                       78                     630         7
2014-08   V8/6.6L    Dsl                    48 2                 730         29       GMC Syclone
2014      V8/6.0L                           94R                  720         30       1991      V6/4.3L                                              75                     525         5
2013-08   V8/6.0L                           48                   615         29       1991      V6/4.3L    Opt                                       78                     630         7
2009      V8/6.0L    Opt                    48                   730         29       GMC Terrain
2007      V8/6.0L    Late                   48                   615         29
                                                                                      2017      L4/2.4L                                              47                     525         28
2007      V8/6.0L    Early                  78                   600          7
                                                                                      2017      V6/3.6L                                              48                     660         29
2007      V8/6.6L    Dsl, Late              48 2                 730         29
                                                                                      2016-15   L4/2.4L                                              47                     525         28
2007      V8/6.6L    Dsl, Early             78 2                 770          7
                                                                                      2016      V6/3.6L                                              48                     660         29
2006-03   V8/6.6L    Dsl                    78 2                 770          7
2006-01   V8/6.0L                           78                   600          7       2015      V6/3.6L                                              48                     660         29
2006-01   V8/8.1L                           78                   600          7       2014-13   V6/3.6L                                              48                     660         29
2006      V8/6.0L    Opt                    78                   690          7       2014-10   L4/2.4L                                              47                     525         28
2006      V8/8.1L    Opt                    78                   690          7       2012      V6/3.0L                                              48                     660         29
2005-03   V8/8.1L    Opt                    78                   770          7       2011-10   V6/3.0L                                              48                     615         29
2005-01   V8/6.0L    Opt                    78                   770          7       GMC Tracker
2004      V8/6.6L    Dsl                    78 2                 600          7       1991-90 L4/1.6L                                                26                     525
2002-01   V8/6.6L    Dsl                    78 2                 600          7       GMC Typhoon
2002-01   V8/6.6L    Dsl, Opt               78 2                 690          7       1993-92 V6/4.3L                                                75                     525         5
2002      V8/8.1L    Opt                    78                   690          7       1993-92 V6/4.3L      Opt                                       78                     630         7
GMC Sierra 3500                                                                       GMC V Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
2006-03   V8/6.6L    Dsl                    78 2                 770          7
                                                                                      GMC Yukon XL
2006-01   V8/6.0L                           78                   600          7
                                                                                      2017      V8/5.3L                                              94R                    720         30
2006-01   V8/8.1L                           78                   600          7
                                                                                      2017      V8/6.2L                                              94R                    720         30
2006      V8/6.0L    Opt                    78                   690          7
2006      V8/8.1L    Opt                    78                   690          7       2016-15   V8/5.3L                                              94R                    720         30
2005-03   V8/8.1L    Opt                    78                   770          7       2016-15   V8/6.2L                                              94R                    720         30
2005-01   V8/6.0L    Opt                    78                   770          7       GMC Yukon, Yukon XL 1500, Yukon XL 2500
2004      V8/6.6L    Dsl                    78 2                 600          7       2017      V8/5.3L                                              94R                     720        30
2002-01   V8/6.6L    Dsl                    78 2                 600          7       2017      V8/6.2L                                              94R                     720        30
2002-01   V8/6.6L    Dsl, HD                78 2                 690          7       2016      V8/5.3L                                              94R                     720        30
2002      V8/8.1L    Opt                    78                   690          7       2016      V8/6.2L                                              94R                     720        30
GMC Sierra 3500 Classic                                                               2015      V8/5.3L                                              48                      660        29
2007      V8/6.0L    Late                   48                   615         29       2015      V8/5.3L    Opt                                       48                      730        29
2007      V8/6.0L    Early                  78                   600          7       2015      V8/5.3L                                              94R                     720        30
2007      V8/6.6L    Dsl, Late              48 2                 730         29       2015      V8/6.2L                                              48                      660        29
2007      V8/6.6L    Dsl, Early             78 2                 770          7       2015      V8/6.2L    Opt                                       48                      730        29
2007      V8/8.1L    Late                   48                   615         29       2015      V8/6.2L                                              94R                     720        30
2007      V8/8.1L    Early                  78                   600          7       2014-12   V8/5.3L                                              48                      660        29
                                                                                      2014-12   V8/6.2L                                              48                      660        29
GMC Sierra 3500HD
                                                                                      2014-09   V8/5.3L    Opt                                       48                      730        29
2017-16   V8/6.6L    Dsl                    48 2                 730         29
                                                                                      2014-09   V8/6.2L    Opt                                       48                      730        29
2017      V8/6.0L                           94R                  720         30
                                                                                      2013-12   V8/6.0L    Hybrid                                    48                      660        29
2016      V8/6.0L                           94R                  720         30
2016      V8/6.6L    Dsl                    94R 2                720         30       2013-12   V8/6.0L    Hybrid, HD                                48                      730        29
2015      V8/6.0L                           94R                  720         30       2011-10   V8/6.0L    Hybrid, Opt                               48                      730        29
2015      V8/6.6L    Dsl                    48 2                 730         29       2011-10   V8/6.0L    Opt                                       48                      730        29
2014-09   V8/6.0L    Opt                    48                   730         29       2011-07   V8/5.3L                                              48                      615        29
2014-08   V8/6.6L    Dsl                    48 2                 730         29       2011-07   V8/6.0L                                              48                      615        29
2014      V8/6.0L                           94R                  720         30       2011-07   V8/6.2L                                              48                      615        29
2013-08   V8/6.0L                           48                   615         29       2009-07   V8/4.8L                                              48                      615        29
2007      V8/6.0L    Late                   48 2                 615         29       2009-07   V8/6.0L                                              48                      615        29
2007      V8/6.0L    Early                  78 2                 600          7       2009      V8/4.8L    Opt                                       48                      730        29
2007      V8/6.6L    Dsl, Late              48 2                 730         29       2009      V8/6.0L    Hybrid, HD                                48                      730        29
2007      V8/6.6L    Dsl, Early             78 2                 600          7       2009      V8/6.0L    Opt                                       48                      730        29
                                                                                                                                   See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                 Honda
                                      929
    Automotive/Light Truck                                                                                                                                                           49
                                                                                      Original                                                                               Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                 Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                        (notes)                    Code
                                                                                     CCA/Rating                                                                             CCA/Rating
    GMC Yukon, Yukon XL 1500, Yukon XL 2500 (continued)                                                     Honda Civic (continued)
    2006-01      V8/8.1L                                          78                   600          7       2011-08   L4/2.0L    Can                     51R                  410         11
    2006-00      V8/4.8L                                          78                   600          7       2011-06   L4/1.3L    Hybrid                  151R                 340
    2006-00      V8/5.3L                                          78                   600          7       2007-06   L4/1.8L                            51R                  435         11
    2006-00      V8/6.0L                                          78                   600          7       2007      L4/2.0L                            51R                  440         11
    2006         V8/4.8L        Opt                               78                   690          7       2006-02   L4/2.0L    SI                      51R                  435         11
    2006         V8/5.3L        Opt                               78                   690          7       2005-03   L4/1.3L    Hybrid                  51R 6                410         11
    2006         V8/6.0L        Opt                               78                   690          7       2005-01   L4/1.7L                            51                   410         20
    2006         V8/8.1L        Opt                               78                   690          7       2000-92   L4/1.6L                            51R                  410         11
    2005-03      V8/4.8L        Opt                               78                   770          7       1995-92   L4/1.5L                            51R                  410         11
    2005-03      V8/5.3L        Opt                               78                   770          7       1991-90   L4/1.5L                            51                   405         20
    2005-03      V8/6.0L        Opt                               78                   770          7       1991-90   L4/1.6L                            51                   405         20
    2005-03      V8/8.1L        Opt                               78                   770          7
                                                                                                            Honda Civic del Sol
    2005         V8/5.3L        Option 1                          78                   690          7
                                                                                                            1997-93 L4/1.6L                              51R                  410         11
    2005         V8/5.3L        Option 2                          78                   770          7
                                                                                                            1995-93 L4/1.5L                              51R                  410         11
    2004-03      V8/5.3L        Opt                               78                   770          7
    2004-03      V8/6.0L        Option 1                          78                   690          7       Honda Crosstour
    2004-03      V8/6.0L        Option 2                          78                   770          7       2015      L4/2.4L                            51R                  500         11
    2002-00      V8/4.8L        Opt                               78                   690          7       2015      V6/3.5L                            24F                  550         23
    2002-00      V8/5.3L        Opt                               78                   690          7       2014      L4/2.4L                            51R                  500         11
    2002-00      V8/6.0L        Opt                               78                   690          7       2014      V6/3.5L                            24F                  550         23
    2001         V8/8.1L        Opt                               78                   690          7       2013-12   L4/2.4L    Calif & Can             35                   440          3
    2000-99      V8/5.7L        Opt                               78                   690          7       2013-12   L4/2.4L    US                      51R                  410         11
    2000-99      V8/5.7L        PPkg or HD                        78                   770          7       2013-12   V6/3.5L                            24F 11               550
    2000-94      V8/5.7L                                          78                   600          7       Honda CR-V
    2000         V8/5.3L        PPkg & Opt                        78                   770          7       2017      L4/1.5L                            51R                  410         11
    2000         V8/6.0L        PPkg or HD                        78                   770          7       2017      L4/2.4L                            51R                  410         11
    1997         V8/6.5L        Dsl                               78 2                 600          7       2016-14   L4/2.4L    Can                     35                   440          3
    1996-94      V8/6.5L        Dsl                               78 2                 770          7       2016      L4/2.4L                            51R                  410         11
    1993-92      V8/5.7L        Aux Battery                       78                   540          7       2015      L4/2.4L                            51R                  410         11
    1993-92      V8/5.7L        Primary Battery                   78                   630          7       2014-02   L4/2.4L                            51R                  410         11
    Honda Accord                                                                                            2001-97   L4/2.0L                            51R                  410         11
    2017         L4/2.0L        Hybrid                            51                   500         20       Honda CRX
    2017         L4/2.4L                                          51R                  410         11       1991-90 L4/1.5L                              51                   405         20
    2017         V6/3.5L                                          24F 11               550                  1991-90 L4/1.6L                              51                   405         20
    2016-08      V6/3.5L                                          24F 11               550
                                                                                                            Honda CR-Z
    2016         L4/2.4L                                          51R                  410         11
                                                                                                            2016    L4/1.5L      Hybrid                  151R                 340
    2015         L4/2.0L        Hybrid                            51                   500         20
                                                                                                            2015    L4/1.5L      Hybrid                  151R                 340
    2015         L4/2.4L                                          51R                  410         11
                                                                                                            2014-11 L4/1.5L      Hybrid                  151R                 340
    2014-13      L4/2.4L                                          51R                  410         11
    2014         L4/2.0L        Hybrid                            51                   500         20       Honda Element
    2013         L4/2.4L        Calif & Can                       35                   440          3       2011-03 L4/2.4L                              51R                  410         11
    2012-08      L4/2.4L        Calif, AT                         35                   440          3       Honda Fit
    2012-08      L4/2.4L        Ex Calif, AT                      51R                  410         11       2017      L4/1.5L                            151R                 340
    2009-03      L4/2.4L                                          51R                  435         11       2016      L4/1.5L                            151R                 340
    2007-03      V6/3.0L                                          35                   440          3       2015      L4/1.5L                            151R                 340
    2002-98      L4/2.3L                                          35                   450          3       2014-13              Electric                151R                 340
    2002-98      V6/3.0L                                          24                   500         22       2014-07   L4/1.5L                            151R                 340
    1997-96      V6/2.7L                                          24                   500         22       Honda HR-V
    1997-94      L4/2.2L                                          24F                  550         23       2017      L4/1.8L                            51R                  500         11
    1995         V6/2.7L                                          24F                  550         23       2016      L4/1.8L                            51R                  500         11
    1993-90      L4/2.2L                                          24                   550         22
                                                                                                            Honda Insight
    Honda Accord Crosstour                                                                                  2014-10 L4/1.3L      Hybrid                  151R                 340
    2011-10 V6/3.5L                                               24F 11               550                  2006-00 L3/1.0L      Hybrid                  51                   270         20
    Honda Civic                                                                                             Honda Odyssey
    2017        L4/1.5L                                           51R                  410         11       2017      V6/3.5L                            24F                  630         23
    2017        L4/2.0L                                           51R                  410         11       2016      V6/3.5L                            24F                  730
    2016        L4/1.5L                                           51R                  410         11       2015      V6/3.5L                            24F                  550         23
    2016        L4/2.0L                                           51R                  410         11
                                                                                                            2014-05   V6/3.5L                            24F 11               550
    2015        L4/1.5L Hybrid                                    151R                 340
                                                                                                            2004-99   V6/3.5L                            24F                  550         23
    2015        L4/1.8L                                           51R                  410         11
                                                                                                            1998      L4/2.3L                            24F                  550         23
    2015        L4/2.4L                                           51R                  410         11
                                                                                                            1997-95   L4/2.2L                            24F                  550         23
    2014        L4/1.5L Hybrid                                    151R                 340
    2014        L4/1.8L                                           51R                  410         11       Honda Passport
    2014        L4/2.4L                                           51R                  410         11       2002-98   V6/3.2L                            24F                  600         23
    2013-12 L4/1.5L Hybrid                                        151R                 340                  1997-96   V6/3.2L                            24                   600         22
    2013-12 L4/2.4L US                                            51R                  310         11       1996      L4/2.6L    Opt                     24                   600         22
    2013-12 L4/2.4L Can                                           51R                  410         11       1996      L4/2.6L                            86                   430         31
    2013-08 L4/1.8L US                                            51R                  310         11       1995-94   L4/2.6L                            25                   380          6
    2013-08 L4/1.8L Can                                           51R                  410         11       1995-94   V6/3.2L    AT                      24                   600         22
    2011-08 L4/2.0L US                                            51R                  310         11       1995-94   V6/3.2L    MT                      25                   380          6
    See page 88 for Footnotes. Selection may vary by warehouse.

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50                                                                                                   Automotive/Light Truck
                                                                    Original                                                                                                Original
  Year      Engine                    Options     BCI Group Size   Equipment    Fitment     Year      Engine               Options                       BCI Group Size    Equipment    Fitment
                                                      (notes)                    Code                                                                        (notes)                     Code
                                                                   CCA/Rating                                                                                              CCA/Rating
Honda Pilot                                                                               Hyundai Elantra (continued)
2017      V6/3.5L                               48                   620         29       2009-07   L4/2.0L                                            121R                   550         39
2017      V6/3.5L    Elite, Touring             48 33                650                  2006      L4/2.0L                                            124R                   500         27
2016      V6/3.5L    FWD                        48                   620         29       2005-04   L4/2.0L                                            124R                   560         27
2016      V6/3.5L    SH-AWD                     48 33                650                  2003-99   L4/2.0L                                            124R                   550         27
2016      V6/3.5L                               48                   N/A         29       1998-97   L4/1.8L                                            121R                   600         39
2016      V6/3.5L    Elite, Touring             48 33                N/A                  1996-93   L4/1.8L    Can & Opt                               24                     540         22
2015      V6/3.5L                               24F 11               550
                                                                                          1996-93   L4/1.8L                                            25                     435         6
2014-03   V6/3.5L                               24F 11               550
                                                                                          1995-92   L4/1.6L    Can & Opt                               24                     540         22
Honda Prelude                                                                             1995-92   L4/1.6L                                            25                     435         6
2001-92   L4/2.2L                               24F                  550         23
1996-92   L4/2.3L                               24F                  550         23
                                                                                          Hyundai Elantra Coupe
1991-90   L4/2.0L                               24                   550         22       2014      L4/2.0L                                            47                     550
1991-90   L4/2.1L                               24                   550         22       2013      L4/1.8L                                            47                     550
Honda Ridgeline                                                                           Hyundai Elantra GT
2017      V6/3.5L                               48                   620         29       2017-16   L4/2.0L                                            121R                   600         39
2014-11   V6/3.5L                               24F                  550         23       2016      L4/2.0L    MT                                      47                     410         28
2010-06   V6/3.5L                               24F                  585         23       2016      L4/2.0L                                            47                     600
2006      V6/3.5L                               24F                  550         23       2015      L4/2.0L                                            47                     550
Honda S2000                                                                               2014      L4/2.0L                                            47                     550
                                                                                          2013      L4/1.8L                                            47                     550
2009-04 L4/2.2L                                 51                   430         20
2003-00 L4/2.0L                                 51                   430         20       Hyundai Entourage
Hummer H1                                                                                 2010-07 V6/3.8L                                              124R                   600         27
2006    V8/6.6L                                 79                   840         41       Hyundai Equus
2004-03 V8/6.5L                                 79 2                 840         41       2016      V8/5.0L                                            49 50                  740
2002    V8/6.5L                                 78                   770          7       2016      V8/5.0L                                            49                     760
Hummer H2                                                                                 2015      V8/5.0L                                            49 50                  740
2009-08 V8/6.2L                                 48                   730         29       2014-12   V8/5.0L                                            49 54                  740
2007-03 V8/6.0L                                 79                   840         41       2011      V8/4.6L                                            49                     740
Hummer H3                                                                                 Hyundai Excel
2010      L5/3.7L                               86 40                590         31       1994-90 L4/1.5L                                              25                     420         6
2010      V8/5.3L                               86 40                590         31       Hyundai Genesis
2009      L5/3.7L                               86 11, 40            590                  2016      V6/3.8L                                            49 50                  740
2009      V8/5.3L                               86 11, 40            590                  2015      V6/3.8L                                            49 50                  740
2008-07   L5/3.7L                               86 11, 40            640                  2014      V6/3.8L                                            49 50                  740
2008      V8/5.3L                               86 11, 40            640                  2013-12   V8/5.0L                                            124                    600
2006      L5/3.5L                               86 11, 40            640                  2013-09   V6/3.8L    Sedan                                   49 54                  740
Hummer H3T                                                                                2012-09   V8/4.6L    Sedan                                   49 54                  740
2010      L5/3.7L                               86 40                590         31       Hyundai Genesis Coupe
2010      V8/5.3L                               86 40                590         31       2016      V6/3.8L                                            124R                   700         27
2009      L5/3.7L                               86 11, 40            590
                                                                                          2016      V6/3.8L                                            49                     740
2009      V8/5.3L                               86 11, 40            590
                                                                                          2015      V6/3.8L                                            124R                   600         27
Hyundai Accent                                                                            2014-10   L4/2.0L                                            124R                   600         27
2016      L4/1.6L                               47                   600                  2014-10   V6/3.8L                                            124R                   600         27
2016      L4/1.6L                               48                   550         29
                                                                                          Hyundai Santa Fe
2015      L4/1.6L                               48                   550         29
2014      L4/1.6L                               48                   550         29       2016      L4/2.0L                                            124R                   600         27
2013-01   L4/1.6L                               121R                 500         39       2016      L4/2.0L                                            124R                   700         27
2003-01   L4/1.5L                               121R                 500         39       2016      L4/2.4L                                            124R                   600         27
2000-98   L4/1.5L                               121R                 435         39       2016      L4/2.4L                                            124R                   700         27
1997-95   L4/1.5L                               121R                 410         39       2016      V6/3.3L                                            124R                   600         27
1997-95   L4/1.5L    Opt                        121R                 580         39       2016      V6/3.3L                                            124R                   700         27
Hyundai Azera                                                                             2015      L4/2.0L                                            124R                   600         27
                                                                                          2015      L4/2.4L                                            124R                   600         27
2017-16   V6/3.3L                               124R                 600         27
                                                                                          2015      V6/3.3L                                            124R                   600         27
2016      V6/3.3L                               124R                 700         27
                                                                                          2014-13   L4/2.0L                                            124R                   600         27
2015      V6/3.3L                               124R                 600         27
2014-07   V6/3.3L                               124R                 600         27       2014-13   V6/3.3L                                            124R                   600         27
2011-06   V6/3.8L                               124R                 600         27       2014-10   L4/2.4L                                            124R                   600         27
                                                                                          2012-10   V6/3.5L                                            124R                   600         27
Hyundai Elantra                                                                           2009-07   V6/3.3L                                            124R                   600         27
2016-15   L4/1.8L                               47                   550                  2009-01   V6/2.7L                                            124R                   600         27
2016-15   L4/2.0L                               47                   550
                                                                                          2006-03   L4/2.4L                                            124R                   600         27
2016      L4/1.8L    MT                         47                   410         28
                                                                                          2006-03   V6/3.5L                                            124R                   600         27
2016      L4/1.8L                               47                   600
                                                                                          2002      L4/2.4L                                            124R                   550         27
2016      L4/2.0L    MT                         47                   410         28
                                                                                          2001      L4/2.4L                                            124R                   660         27
2016      L4/2.0L                               47                   600
2014-11   L4/1.8L                               47                   550                  Hyundai Santa Fe XL
2014      L4/2.0L                               47                   550                  2016      V6/3.3L                                            124R                    600        27
2013-11   L4/1.8L    Opt                        48                   550         29       2016      V6/3.3L                                            124R                    700        27
2012-11   L4/2.0L                               47                   550                  2015      V6/3.3L                                            124R                    600        27
2012-11   L4/2.0L    Opt                        48                   550         29       2014      V6/3.3L                                            124R                    600        27
2010      L4/2.0L                               121R                 600         39       2013      V6/3.3L                                            124R                    600        27
                                                                                                                                     See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                 Infiniti
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    Automotive/Light Truck                                                                                                                                                             51
                                                                                      Original                                                                                 Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                   Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                          (notes)                    Code
                                                                                     CCA/Rating                                                                               CCA/Rating
    Hyundai Scoupe                                                                                          Infiniti FX37
    1995-94 L4/1.5L             Can & Opt                         24                   540         22       2013      V6/3.7L                              24F                  720
    1995-94 L4/1.5L             Can or Opt                        N/A 45               540                  Infiniti FX45
    1993-91 L4/1.5L                                               25                   420          6       2008-07   V8/4.5L                              24F                  550         23
    Hyundai Sonata                                                                                          2008-06   V8/4.5L    w/Intelligent Key         24F                  750
    2016-15      L4/1.6L                                          94R 33               800                  2008-06   V8/4.5L    w/o Intelligent Key       35                   550          3
    2016-15      L4/2.0L                                          48 33                760                  2006-03   V8/4.5L                              35                   490          3
    2016-15      L4/2.4L                                          94R 33               800                  Infiniti FX50
    2016         L4/2.0L        Hybrid                            H6R 45, 50           600                  2013-09 V8/5.0L                                24F                  720
    2015-11      L4/2.4L        Hybrid                            H6R 45, 50           600
    2014         L4/2.0L                                          48 33                760
                                                                                                            Infiniti G20
    2014         L4/2.4L                                          48 33                760                  2002-99 L4/2.0L                                24F                  585         23
    2013-11      L4/2.0L                                          124R                 600         27       1996-91 L4/2.0L      Ex Calif                  24F                  585         23
    2013-06      L4/2.4L                                          124R                 600         27       1996-91 L4/2.0L      Calif                     35                   360         3
    2010         V6/3.3L                                          124R                 700         27       Infiniti G25
    2009-06      V6/3.3L                                          124R                 600         27       2012-11 V6/2.5L                                24F                  720
    2005-03      L4/2.4L                                          124R                 560         27       2012-11 V6/2.5L                                35                   585
    2005-02      V6/2.7L                                          124R                 600         27       Infiniti G35
    2002-99      L4/2.4L                                          124R                 550         27       2008      V6/3.5L                              35                   550         3
    2001         V6/2.5L                                          124R                 600         27       2007-03   V6/3.5L    Sedan                     24F                  550         23
    2000-99      V6/2.5L                                          124R                 540         27       2007-03   V6/3.5L    Coupe                     35                   550         3
    1998-92      L4/2.0L        Opt                               24                   540         22       2006-03   V6/3.5L                              35                   490         3
    1998-92      L4/2.0L                                          25                   420          6
                                                                                                            Infiniti G37
    1998-90      V6/3.0L                                          24                   540         22
                                                                                                            2013-08 V6/3.7L                                35                   585
    1991-90      L4/2.4L        Opt                               24                   540         22
    1991-90      L4/2.4L                                          25                   420          6       Infiniti I30
    Hyundai Tiburon                                                                                         2001-98   V6/3.0L                              24F                  585         23
                                                                                                            1997-96   V6/3.0L    Calif                     24F                  415         23
    2008-03      L4/2.0L                                          124R                 600         27
    2008-03      V6/2.7L                                          124R                 600         27       1997-96   V6/3.0L    Can & Opt                 24F                  585         23
    2001-97      L4/2.0L                                          124R                 600         27       1997-96   V6/3.0L    US                        35                   360         3
    1997         L4/1.8L                                          124R                 600         27       Infiniti I35
    Hyundai Tucson                                                                                          2004-03 V6/3.5L                                24F                  445         23
    2016-15                                                       47                   410         28       2002    V6/3.5L                                24F                  585         23
    2016-15                     Electric/Hydrogen                 47                   600                  Infiniti J30
    2016         L4/1.6L                                          124R                 600         27       1997-93 V6/3.0L                                24                   585         22
    2016         L4/1.6L                                          48                   640         29       Infiniti JX35
    2016         L4/2.0L                                          124R                 600         27       2013      V6/3.5L                              24F                  720
    2016         L4/2.0L                                          48                   640         29       Infiniti M30
    2015         L4/2.0L                                          124R                 600         27
                                                                                                            1992      V6/3.0L    Ex Conv                   24                   415         22
    2015         L4/2.4L                                          124R                 600         27
                                                                                                            1992      V6/3.0L    Opt                       24                   585         22
    2014-11      L4/2.0L                                          124R                 600         27
                                                                                                            1992      V6/3.0L    Conv                      25                   360          6
    2014-10      L4/2.4L                                          124R                 600         27
                                                                                                            1991-90   V6/3.0L                              24                   415         22
    2009-05      L4/2.0L                                          124R                 600         27
    2009-05      V6/2.7L                                          124R                 600         27       Infiniti M35
    Hyundai Veloster                                                                                        2010-06 V6/3.5L                                24F                  700         23
    2016-15      L4/1.6L        Turbo                             47                   550                  Infiniti M37
    2016         L4/1.6L        Non Turbo                         121R                 550         39       2013-11 V6/3.7L                                24F                  700         23
    2016         L4/1.6L        Turbo                             47                   410         28       Infiniti M45
    2015         L4/1.6L        Non Turbo                         121R                 550         39       2010-07   V8/4.5L                              24F                  750
    2014-12      L4/1.6L        Non Turbo                         121R                 550         39       2006      V8/4.5L                              24F                  750
    2014         L4/1.6L                                          47                   550                  2004      V8/4.5L                              24 45                490         22
    2013-12      L4/1.6L                                          121R                 600         39       2003      V8/4.5L                              24                   585         22
    2013         L4/1.6L        Turbo                             47                   550                  Infiniti M56
    Hyundai Veracruz                                                                                        2013-11 V8/5.6L                                24F                  750
    2012-09 V6/3.8L                                               124R                 660         27       Infiniti Q40
    2008-07 V6/3.8L                                               124R                 600         27
                                                                                                            2015      V6/3.7L                              35                   585
    Hyundai XG300                                                                                           Infiniti Q45
    2001         V6/3.0L                                          124R                 600         27
                                                                                                            2006-02 V8/4.5L                                24F                  585         23
    Hyundai XG350                                                                                           2001-97 V8/4.1L                                24                   585         22
    2005-02 V6/3.5L                                               124R                 600         27       1996-90 V8/4.5L                                27                   625         35
    Infiniti EX35                                                                                           Infiniti Q50
    2012-08 V6/3.5L                                               35                   585                  2016      V6/3.5L    Ex HEV w/o EFB            35                   640
    Infiniti EX37                                                                                           2015      V6/3.5L    Hybrid                    35                   585
    2013         V6/3.7L                                          24F                  720         23       2015      V6/3.7L                              35                   585
    Infiniti FX35                                                                                           2014      V6/3.5L    Hybrid                    N/A 59               585
    2012-09      V6/3.5L                                          35                   585                  2014      V6/3.7L                              35                   585
    2008-07      V6/3.5L                                          24F                  550         23       Infiniti Q60
    2008-07      V6/3.5L        w/Intelligent Key                 24F                  750                  2015      V6/3.7L                              24F                  720
    2008-07      V6/3.5L        w/o Intelligent Key               35                   550          3       2014      V6/3.7L                              24F                  720
    2006-03      V6/3.5L                                          35                   490          3       2014      V6/3.7L                              35                   585
    See page 88 for Footnotes. Selection may vary by warehouse.

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52                                                                                               Automotive/Light Truck
                                                                Original                                                                                                      Original
  Year      Engine                Options     BCI Group Size   Equipment    Fitment     Year      Engine                     Options                       BCI Group Size    Equipment    Fitment
                                                  (notes)                    Code                                                                              (notes)                     Code
                                                               CCA/Rating                                                                                                    CCA/Rating
Infiniti Q70                                                                          Isuzu Impulse
2016      V6/3.7L                           35                   585                  1992-90 L4/1.6L                                                    35                     355         3
2016      V8/5.6L                           24F                  700         23       1992    L4/1.8L                                                    35                     355         3
2015      V6/3.5L    Hybrid                 35 50                585                  Isuzu Oasis
2015      V6/3.7L                           35                   585                  1999-98 L4/2.3L                                                    24F                    550         23
2015      V8/5.6L                           35                   585                  1997-96 L4/2.2L                                                    24F                    550         23
2014      V6/3.5L    Hybrid                 35 50                585
2014      V6/3.7L                           35                   585
                                                                                      Isuzu Pickup
2014      V8/5.6L                           35                   585                  1995-90   L4/2.3L    MT                                            25                     430         6
                                                                                      1995      L4/2.3L    AT                                            24                     600         22
Infiniti Q70L
                                                                                      1995      L4/2.6L                                                  24                     600         22
2016      V6/3.7L                           35                   585
                                                                                      1994-91   V6/3.1L                                                  25                     430         6
2016      V8/5.6L                           35                   585
                                                                                      1994-90   L4/2.3L    AT                                            24                     600         22
2015      V6/3.7L                           35                   585
                                                                                      1994-90   L4/2.6L    AT                                            24                     600         22
2015      V8/5.6L                           35                   585
                                                                                      1994-90   L4/2.6L    MT                                            25                     430         6
Infiniti QX4
                                                                                      Isuzu Rodeo
2003      V6/3.5L                           24                   490         22
2002      V6/3.5L                           25                   360          6       2004-98   V6/3.2L                                                  24F                    600         23
2001      V6/3.5L                           24                   490         22       2004      V6/3.5L                                                  24                     650         22
2000-97   V6/3.3L    HD, w/HS & Can         24                   450         22       2003-98   L4/2.2L                                                  24F                    600         23
2000-97   V6/3.3L    US                     25                   360          6       2003-01   V6/3.2L    Can & Opt                                     27F                    625         36
Infiniti QX50                                                                         2003      L4/2.2L    Can & Opt                                     27F                    625         36
                                                                                      1997-93   L4/2.6L                                                  86                     430         31
2016      V6/3.7L    Opt                    24F                  720
2016      V6/3.7L                           35                   550          3       1997      V6/3.2L                                                  24                     600         22
2015      V6/3.7L                           24F                  720                  1996-93   V6/3.2L    AT                                            24                     600         22
2014      V6/3.7L                           24F                  720                  1996-93   V6/3.2L    MT                                            86                     430         31
Infiniti QX56                                                                         1996      L4/2.6L    Opt                                           24                     600         22
                                                                                      1992-91   L4/2.6L    Opt                                           24                     610         22
2013-11 V8/5.6L                             27                   782         35
                                                                                      1992-91   L4/2.6L                                                  25                     380         6
2010    V8/5.6L                             27F                  710         36
2009-04 V8/5.6L                             27F                  710         36       1992-91   V6/3.1L    AT, HD                                        24                     610         22
                                                                                      1992-91   V6/3.1L    MT                                            25                     380         6
Infiniti QX60
2015      L4/2.5L    Hybrid                 51R                  500         11       Isuzu Rodeo Sport
2015      V6/3.5L                           24F                  720                  2003      L4/2.2L    US                                            24F                    600         23
2014      L4/2.5L    Hybrid                 51R                  500         11       2003      L4/2.2L    Can or Opt                                    27F                    625         36
2014      V6/3.5L                           24F                  720                  2003      V6/3.2L    US                                            24F                    600         23
Infiniti QX70                                                                         2003      V6/3.2L    Can or Opt                                    27F                    625         36
                                                                                      2002-01   L4/2.2L                                                  24F                    600         23
2016-15 V6/3.7L      Opt                    24F                  720
                                                                                      2002-01   V6/3.2L                                                  24F                    600         23
2016    V6/3.7L                             35                   550          3
2014    V6/3.7L                             24F                  720                  Isuzu Stylus
Infiniti QX80                                                                         1993-91 L4/1.6L                                                    35                     355         3
                                                                                      1992    L4/1.8L                                                    35                     355         3
2016-14 V8/5.6L                             27                   780         35
Isuzu Amigo                                                                           Isuzu Trooper
2000-98   L4/2.2L                           24F                  600         23       2002-01   V6/3.5L    MT                                            24                     585         22
2000-98   V6/3.2L                           24F                  600         23       2002-01   V6/3.5L    HD or w/AT                                    27                     625         35
1994-92   L4/2.6L    AT                     24                   600         22       2000-98   V6/3.5L    MT                                            24                     580         22
1994-90   L4/2.6L    MT                     25                   430          6       2000-98   V6/3.5L    AT                                            27                     625         35
1993-92   L4/2.3L    AT                     24                   600         22       1997-95   V6/3.2L    MT                                            24                     580         22
1993-90   L4/2.3L    MT                     25                   430          6       1997-95   V6/3.2L    AT                                            27                     625         35
1991-90   L4/2.3L    AT                     24                   600         22       1994-92   V6/3.2L    MT                                            24                     490         22
1991-90   L4/2.6L    AT                     24                   600         22       1994-92   V6/3.2L    AT                                            24                     580         22
Isuzu Ascender                                                                        1994-92   V6/3.2L    Opt                                           27                     620         35
                                                                                      1991-90   L4/2.6L    AT                                            24                     490         22
2008-03 L6/4.2L                             78 40                600          7
                                                                                      1991-90   L4/2.6L    MT                                            25                     350         6
2006-03 V8/5.3L                             78 40                600          7
                                                                                      1991-90   V6/2.8L    AT                                            24                     490         22
Isuzu Axiom                                                                           1991-90   V6/2.8L    MT                                            25                     350         6
2004-02 V6/3.5L                             24F                  600         23
                                                                                      Isuzu VehiCROSS
Isuzu Hombre                                                                          2001-99 V6/3.5L      Opt                                           27                     625         35
2000-97   V6/4.3L                           75                   525          5       2001    V6/3.5L                                                    24                     585         22
2000-97   V6/4.3L    Opt                    75                   690                  2000-99 V6/3.5L                                                    24                     580         22
2000-96   L4/2.2L                           75                   525          5
2000-96   L4/2.2L    Opt                    75                   690
                                                                                      Jaguar F-Pace
                                                                                      2017      L4/2.0L                                                  94R 33                 850
Isuzu i-280                                                                           2017      V6/3.0L                                                  94R 33                 850
                                                 11, 40
2006      L4/2.8L                           86                   640
                                                                                      Jaguar F-Type
Isuzu i-290
                                                                                      2017      V6/3.0L                                                  49 33, 54               900
2008      L4/2.9L                           86 40                640
                                                                                      2017      V8/5.0L                                                  49 33, 54               900
2007      L4/2.9L                           86 11, 40            640
                                                                                      2016-15   V6/3.0L    Primary Battery                               49 33                   900
Isuzu i-350                                                                           2016-15   V8/5.0L    Primary Battery                               49 33                   900
                                                 11, 40
2006      L5/3.5L                           86                   640                  2014      V6/3.0L    Primary Battery                               49 33                   850
Isuzu i-370                                                                           2014      V6/3.0L                                                  49 33, 54               900
2008      L5/3.7L                           86 40                640                  2014      V8/5.0L    Primary Battery                               49 33                   850
2007      L5/3.7L                           86 11, 40            640                  2014      V8/5.0L                                                  49 33, 54               900
                                                                                                                                       See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                     Costco_001602
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    Automotive/Light Truck                                                                                                                                                     53
                                                                                      Original                                                                         Original
       Year       Engine                     Options                BCI Group Size   Equipment    Fitment     Year      Engine           Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                  (notes)                    Code
                                                                                     CCA/Rating                                                                       CCA/Rating
    Jaguar S-Type                                                                                           Jaguar XJ8
    2008-07    V6/3.0L                                            49 50                950                  2009-07   V8/4.2L                      49 50                950
    2008-03    V6/3.0L                                            49 50                800         33       2009-04   V8/4.2L                      49 50               90 Ah        33
    2008-03    V8/4.2L                                            49 50                800         33       2006-04   V8/4.2L                      49 54                750         33
    2008       V8/4.2L                                            49 54                850         33       2003-98   V8/4.0L                      49                   680         33
    2007       V8/4.2L                                            49 50                950                  Jaguar XJR
    2006-03    V6/3.0L                                            49 54                750         33       2009-07   V8/4.2L                      49 50                800         33
    2006-03    V8/4.2L                                            49 54                750         33       2009-07   V8/4.2L                      49 50                950
    2002-00    V6/3.0L                                            49 54                680         33       2006-04   V8/4.2L                      49 50                750         33
    2002-00    V8/4.0L                                            49 54                680         33       2003-98   V8/4.0L                      49                   680         33
    Jaguar Super V8                                                                                         1997      L6/4.0L                      49                   680         33
    2009-07 V8/4.2L                                               93 50                800                  1996-95   L6/4.0L                      47                   590
    2006-05 V8/4.2L                                               93                   680                  Jaguar XJR-S
    Jaguar Vanden Plas                                                                                      1993      V12/6.0L                     47                   590
    2009       V8/4.2L                                            93 50                680                  Jaguar XJS
    2008-04    V8/4.2L                                            93                   680                  1996-95   L6/4.0L                      48                   600         29
    2003-98    V8/4.0L                                            49                   680         33       1995-94   V12/6.0L                     47 5, 50             590
    1997       L6/4.0L                                            93                   680                  1994-92   L6/4.0L                      47 5, 50             590
    1996-94    L6/4.0L                                            47 5, 50             590                  1992-91   V12/5.3L                     47 5, 50             590
    1993       L6/4.0L                                            47                   640                  1990      V12/5.3L                     N/A 30, 54           590
    1992-91    L6/4.0L                                            47 5, 50             590
                                                                                                            Jaguar XK
    Jaguar XE                                                                                               2015-14   V8/5.0L                      93                   800
                                                                       33
    2017       L4/2.0L                                            94R                  850                  2013-10   V8/5.0L                      93 50                800
    2017       V6/3.0L                                            94R 33               850
                                                                                                            2013      V8/5.0L                      49 50                800
    Jaguar XF                                                                                               2012      V8/5.0L    Opt               49 54                800         33
    2017       L4/2.0L                                            94R 33               850                  2011-10   V8/5.0L                      49 54                800         33
    2017       V6/3.0L                                            94R 33               850                  2009-07   V8/4.2L                      93 50                800
    2016-14    V6/3.0L                                            94R 33               850                  Jaguar XK8
    2015-14    L4/2.0L                                            49                   800
                                                                                                            2006      V8/4.2L                      49 54                750         33
    2015-14    V6/3.0L     Flex                                   49 33                900
                                                                                                            2005-04   V8/4.2L                      49 50                750         33
    2015-14    V8/5.0L     Primary Battery                        49 33                900
                                                                                                            2003      V8/4.2L                      49                   680         33
    2013-12    V8/5.0L     Can (from VIN S30208)                  49 33, 50            850
                                                                                                            2002-97   V8/4.0L                      49                   680         33
    2013       L4/2.0L                                            49 50                800
    2013       L4/2.0L     GTDi                                   49                  90 Ah        33       Jaguar XKE
    2013       V6/3.0L     Primary Battery                        49 33                850                  1967-64 L6/4.2L                        22F                  250
    2013       V6/3.0L                                            49 33                900                  1964-61 L6/3.8L                        22F                  250
    2013       V8/5.0L     Primary Battery                        49 33, 54            800                  Jaguar XKR
    2012-10    V8/5.0L                                            49 50                800         33       2015-14   V8/5.0L                      93                   800
    2012-10    V8/5.0L     Can (to VIN S30207)                    49 50               90 Ah        33       2013-10   V8/5.0L                      49 54                800         33
    2010-09    V8/4.2L                                            49 50                800         33       2009-07   V8/4.2L                      93 50                800
    Jaguar XFR                                                                                              2006-04   V8/4.2L                      49 50                750         33
    2015-14 V8/5.0L                                               49 50                800                  2003      V8/4.2L                      49                   680         33
    2015-14 V8/5.0L        Primary Battery                        49 33                900                  2002-00   V8/4.0L                      49                   680         33
    2013-10 V8/5.0L        S/C                                    49 50                800         33       Jaguar XKR-S
    Jaguar XFR-S                                                                                            2015-14 V8/5.0L                        93                   800
    2015-14    V8/5.0L                                            49 50                800                  2013    V8/5.0L                        49 50                800         33
    2015-14    V8/5.0L     Primary Battery                        49 33                900                  2012    V8/5.0L                        49 54                800         33
    2013       V8/5.0L     S/C                                    49 33, 50            800                  Jaguar X-Type
    2013       V8/5.0L     S/C                                    49 50                800                  2008-07   V6/3.0L                      47                   520         28
    Jaguar XJ                                                                                               2006-04   V6/3.0L                      94R                  700         30
    2017       V6/3.0L                                            49 33                900                  2005-02   V6/2.5L                      94R                  700         30
    2017       V8/5.0L                                            49 33                900                  2003-02   V6/2.5L                      94R                  640         30
    2016-14    V6/3.0L     Primary Battery                        49 33                900                  2003-02   V6/3.0L                      94R                  640         30
    2016       V8/5.0L     Aux Battery                            49 33                900                  Jeep Cherokee
    2016       V8/5.0L     Primary Battery                        49 33                900                  2017      L4/2.4L                      48 33, 50            600
    2015-14    V8/5.0L                                            49 33, 50            800                  2017      V6/3.2L                      94R                  730         30
    2015-14    V8/5.0L                                            49 33, 50            900                  2016      L4/2.4L                      48 33, 50            600
    2013-12    V8/5.0L     Can (from VIN V26780)                  49 33, 50            850                  2016      V6/3.2L                      94R 33, 50           730
    2013       V6/3.0L     Primary Battery                        49 33, 50            800                  2015      L4/2.4L                      48 33, 50            600
    2013       V8/5.0L     Primary Battery                        49 33, 50            800                  2015      V6/3.2L                      94R                  730         30
    2012-11    V8/5.0L                                            49 50                800         33       2014      L4/2.4L    w/AGM             48 33, 50            600
    2012-11    V8/5.0L     Can (to VIN V26779)                    49 50                900         33       2014      V6/3.2L                      94R                  730         30
    Jaguar XJ12                                                                                             2001-98   L6/4.0L                      34                   500          9
    1996-94 V12/6.0L                                              47 5, 50             590                  2000-98   L4/2.5L                      34                   500          9
    1992-91 V12/5.3L                                              47 5, 50             590                  1997-90   L4/2.5L                      58                   430          8
    1990    V12/5.3L                                              34 6                 590          9       1997-90   L4/2.5L    Opt               58                   500          8
    Jaguar XJ6                                                                                              1997-90   L6/4.0L                      58                   430          8
    1997-95 L6/4.0L                                               49 50                800         33       1997-90   L6/4.0L    Opt               58                   500          8
    1994-93 L6/4.0L                                               48 50                640         29       Jeep Comanche
    1992-90 L6/4.0L Must use Jaguar tray DBC 10489                48 50                640         29       1992-90 L4/2.5L                        58                   430          8
    1991-90 L6/4.0L Opt                                           42                   450                  1992-90 L4/2.5L      Opt               58                   500          8
    See page 88 for Footnotes. Selection may vary by warehouse.

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54                                                                                                   Automotive/Light Truck
                                                                    Original                                                                                               Original
  Year      Engine                    Options     BCI Group Size   Equipment    Fitment     Year      Engine              Options                       BCI Group Size    Equipment    Fitment
                                                      (notes)                    Code                                                                       (notes)                     Code
                                                                   CCA/Rating                                                                                             CCA/Rating
Jeep Comanche (continued)                                                                 Jeep Grand Wagoneer
1992-90 L6/4.0L                                 58                   430          8       1993    V8/5.2L                                             34                     600         9
1992-90 L6/4.0L      Opt                        58                   500          8       1991-90 V8/5.9L                                             58                     500         8
Jeep Commander                                                                            Jeep Liberty
2010      V6/3.7L                               94R                  625         30       2012-03   V6/3.7L                                           34                     600         9
2010      V8/5.7L                               94R                  625         30       2006-05   L4/2.8L    Dsl                                    N/A 45                 800
2009      V6/3.7L                               94R                  730         30       2005-03   L4/2.4L                                           34                     600         9
2009      V8/4.7L                               94R                  730         30       2002      L4/2.4L                                           86                     525         31
2009      V8/5.7L                               94R                  730         30       2002      V6/3.7L                                           86                     525         31
2008      V6/3.7L    Late                       94R                  625         30       Jeep Patriot
2008      V6/3.7L    Early                      94R                  730         30       2017      L4/2.0L                                           86                     525         31
2008      V8/4.7L    Late                       94R                  625         30       2017      L4/2.4L                                           86                     525         31
2008      V8/4.7L    Early                      94R                  730         30       2016      L4/2.0L                                           86                     525         31
2008      V8/5.7L    Late                       94R                  625         30       2016      L4/2.4L                                           86                     525         31
2008      V8/5.7L    Early                      94R                  730         30       2015      L4/2.0L                                           86                     525         31
2007-06   V6/3.7L                               94R 50               730         30       2015      L4/2.4L                                           86                     525         31
2007-06   V8/4.7L                               94R 50               730         30       2014-07   L4/2.0L                                           86                     525         31
2007-06   V8/5.7L                               94R 50               730         30       2014-07   L4/2.4L                                           86                     525         31
Jeep Compass                                                                              Jeep Renegade
2017      L4/2.0L    Start/Stop                 47 33                500                  2016-15 L4/1.4L                                             48                     600         29
2017      L4/2.0L    w/o Start/Stop             48                   600         29       2016-15 L4/2.4L                                             48                     600         29
2017      L4/2.0L                               86                   525         31       Jeep TJ
2017      L4/2.4L    Start/Stop                 47 33                500                  2006-05   L4/2.4L                                           34                     600         9
2017      L4/2.4L    w/o Start/Stop             48                   600         29       2006-02   L6/4.0L                                           34                     600         9
2017      L4/2.4L                               86                   525         31       2003      L4/2.4L                                           34                     600         9
2016      L4/2.0L                               86                   525         31       2002      L4/2.5L                                           34                     600         9
2016      L4/2.4L                               86                   525         31       2001-97   L4/2.5L                                           34                     500         9
2015      L4/2.0L                               86                   525         31       2001-97   L6/4.0L                                           34                     500         9
2015      L4/2.4L                               86                   525         31       Jeep Wagoneer
2014-07   L4/2.0L                               86                   525         31       1990      L6/4.0L                                           58                     430         8
2014-07   L4/2.4L                               86                   525         31       1990      L6/4.0L    Opt                                    58                     500         8
Jeep Grand Cherokee                                                                       Jeep Wrangler
2017-16   V6/3.6L    Aux for Start/Stop         401  33
                                                                     200                  2016      V6/3.6L                                           48 33, 50              600
2017      V6/3.0L    Aux for Start/Stop         401 33               200                  2015      V6/3.6L                                           48 33, 50              600
2016      V6/3.0L                               49 33, 50            800                  2014      V6/3.6L                                           48 33, 50              600
                                                                                          2013-12   V6/3.6L                                           48                     600         29
2016      V6/3.6L                               49 33, 50            800
                                                                                          2011-07   V6/3.8L                                           34                     600         9
2016      V8/5.7L                               94R 33, 50           730                  2006-03   L4/2.4L    Incl TJ                                34                     600         9
2016      V8/6.4L                               94R 33, 50           730                  2006-02   L6/4.0L    Incl TJ                                34                     600         9
2015      V6/3.0L    Dsl                        49 33, 50            800                  2002      L4/2.5L    Incl TJ                                34                     600         9
2015      V6/3.6L                               49 33, 50            800                  2001-97   L4/2.5L    Incl TJ                                34                     500         9
2015      V8/5.7L                               94R 33, 50           730                  2001-97   L6/4.0L    Incl TJ                                34                     500         9
2015      V8/6.4L                               94R 33, 50           730                  2000-97   L4/2.5L    Opt                                    34                     600         9
2014-11   V8/5.7L                               94R 33, 50           700                  2000-97   L6/4.0L    Opt                                    34                     600         9
2014      V6/3.0L    Dsl                        49 33                800                  1995-91   L6/4.0L                                           58                     430         8
2014      V6/3.6L                               49 33                800                  1995-91   L6/4.0L    Opt                                    58                     500         8
2014      V8/5.7L                               94R 33               730                  1995-90   L4/2.5L                                           58                     430         8
2014      V8/6.4L                               94R 33, 50           730                  1995-90   L4/2.5L    Opt                                    58                     500         8
2013-12   V8/6.4L                               94R 33, 50           700                  1990      L4/2.5L    YJ                                     55                     420
2013-11   V6/3.6L                               94R 33, 50           700                  1990      L4/2.5L    YJ & Opt                               56                     450
2010      V6/3.7L                               94R                  625         30       1990      L4/2.5L    YJ HD                                  56                     500
2010      V8/5.7L                               94R                  625         30       1990      L6/4.2L    YJ                                     55                     420
                                                                                          1990      L6/4.2L    YJ & Opt                               56                     450
2010      V8/6.1L                               94R                  625         30
                                                                                          1990      L6/4.2L    YJ HD                                  56                     500
2009-08   V6/3.0L    Dsl                        49                   800                  1990      L6/4.2L                                           58                     430         8
2009-06   V8/6.1L                               94R                  730         30       1990      L6/4.2L    Opt                                    58                     500         8
2009-05   V6/3.7L                               94R                  730         30
2009-05   V8/4.7L                               94R                  730         30
                                                                                          Kia Amanti
                                                                                          2009-07 V6/3.8L                                             124R                   600         27
2009-05   V8/5.7L                               94R                  730         30
                                                                                          2006-05 V6/3.5L                                             124R                   600         27
2008      V6/3.7L    Late                       94R                  625         30
                                                                                          2004    V6/3.5L                                             34R                    600
2008      V6/3.7L    Early                      94R                  730         30
2008      V8/4.7L    Late                       94R                  625         30       Kia Borrego
2008      V8/4.7L    Early                      94R                  730         30       2011-09 V6/3.8L                                             124R                   600         27
2008      V8/5.7L    Late                       94R                  625         30       2011-09 V8/4.6L                                             N/A 45                 900
2008      V8/5.7L    Early                      94R                  730         30       Kia Cadenza
2008      V8/6.1L    Late                       94R                  625         30       2017      V6/3.3L                                           94R 33                 800
2008      V8/6.1L    Early                      94R                  730         30       2016      V6/3.3L                                           124R                   660         27
2007      V6/3.0L    Dsl                        94R                  730         30       2015      V6/3.3L                                           124R                   660         27
2004-99   L6/4.0L                               65                   625         1        2014      V6/3.3L                                           124R                   660         27
2004-99   V8/4.7L                               65                   625         1        Kia Forte
1998-93   L6/4.0L                               34                   600         9        2017    L4/2.0L      LX                                     47 33                   N/A
1998-93   V8/5.2L                               34                   600         9        2017    L4/2.0L      Ex LX                                  48                      640        29
1998      V8/5.9L                               34                   600         9        2016-15 L4/2.0L                                             48                      640        29
                                                                                                                                    See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                              Lamborghini
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    Automotive/Light Truck                                                                                                                                                           55
                                                                                      Original                                                                               Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment      Year     Engine                 Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                        (notes)                    Code
                                                                                     CCA/Rating                                                                             CCA/Rating
    Kia Forte (continued)                                                                                   Kia Sedona (continued)
    2016-14      L4/1.8L                                          47                   550                  2015      V6/3.3L    R-MDPS                  49 33                850
    2016-14      L4/2.0L                                          47                   550                  2014      V6/3.5L                            124R                 660         27
    2014         L4/2.0L                                          48                   640         29       2012-11   V6/3.5L                            124R                 660         27
    2014         L4/2.0L                                          48                   660         29       2010-06   V6/3.8L                            124R                 600         27
    2013-10      L4/2.0L                                          121R                 550         39       2005-03   V6/3.5L                            24F                  500         23
    2013-10      L4/2.4L                                          121R                 550         39       2002      V6/3.5L                            24F                  600         23
    Kia Forte 5                                                                                             Kia Sephia
    2017         L4/1.6L        Ex LX                             47                   550                  2001-95 L4/1.8L                              90 45                450         37
    2017         L4/1.6L        LX                                47 33                N/A                  1997-94 L4/1.6L                              56 23                450
    2017         L4/2.0L        LX                                47 33                N/A                  Kia Sorento
    2017         L4/2.0L        Ex LX                             48                   640         29
                                                                                                            2017      L4/2.0L                            94R 33               800
    2016-14      L4/1.6L                                          47                   550
                                                                                                            2017      L4/2.4L                            94R 33               800
    2016-14      L4/2.0L                                          48                   640         29
                                                                                                            2017      V6/3.3L                            94R 33               800
    2013-12      L4/2.0L                                          121R                 550         39
                                                                                                            2016      L4/2.0L    AGM                     94R 33               800
    2013-12      L4/2.4L                                          121R                 550         39
                                                                                                            2016      L4/2.4L    AGM                     94R 33               800
    Kia Forte Koup                                                                                          2016      V6/3.3L    AGM                     94R 33               800
    2016-15      L4/1.6L                                          47                   600                  2015      L4/2.4L                            124R                 660         27
    2016-15      L4/2.0L                                          48                   640         29       2015      V6/3.3L                            124R                 660         27
    2015         L4/1.6L                                          121R                 550         39       2014      L4/2.4L                            124R                 600         27
    2015         L4/2.0L                                          121R                 550         39       2014      V6/3.3L                            124R                 660         27
    2014-10      L4/2.0L                                          121R                 550         39       2013-11   L4/2.4L                            124R                 700         27
    2014         L4/1.6L                                          121R                 550         39       2013-11   V6/3.5L                            124R                 700         27
    2014         L4/1.6L                                          47                   600                  2009-08   V6/3.3L                            124                  600
    2014         L4/2.0L                                          48                   640         29       2009-07   V6/3.8L                            124                  600
    2013-12      L4/2.4L                                          121R                 550         39       2006-03   V6/3.5L                            124                  600
    2011-10      L4/2.4L                                          121R                 550         39
                                                                                                            Kia Soul
    Kia K900                                                                                                2017      L4/1.6L    w/o ISG and Turbo       121R                 550         39
                                                                       33
    2016-15 V6/3.8L                                               95R                  950                  2017      L4/1.6L    w/ISG or Turbo          48 33                760
    2016-15 V8/5.0L                                               95R 33               950                  2017      L4/2.0L                            48 33                760
    Kia Magentis                                                                                            2016-13   L4/1.6L    w/ISG                   48 33                760
    2010-02 V6/2.7L                                               124R                 600         27       2016-13   L4/2.0L    w/ISG                   48 33                760
    2010-01 L4/2.4L                                               124R                 600         27       2016      L4/1.6L    w/o ISG                 121R                 550         39
    2001    V6/2.5L                                               124R                 600         27       2016      L4/1.6L    w/o ISG                 121R                 600         39
    Kia Optima                                                                                              2016      L4/2.0L    w/o ISG                 121R                 600         39
    2017-16      L4/1.6L                                          94R 33               800                  2015-10   L4/2.0L    w/o ISG                 121R                 550         39
    2017-16      L4/2.4L                                          94R 33               800                  2015      L4/1.6L    w/o ISG                 121R                 550         39
    2017         L4/2.0L                                          48 33                760                  2014-13   L4/1.6L    w/o ISG                 121R                 550         39
    2017         L4/2.0L        Hybrid                            48 33                760                  2012-10   L4/1.6L    w/o ISG                 121R                 410         39
    2016         L4/2.0L                                          48 33                760                  2012-10   L4/1.6L                            121R                 550         39
    2015-11      L4/2.4L        Hybrid                            H6R 45, 50           600                  Kia Soul EV
    2015         L4/2.0L                                          124R                 600         27       2017-15              Electric                121R                 600         39
    2015         L4/2.4L        Gas                               48 33                760
    2015         L4/2.4L        Hybrid                            48R                  600
                                                                                                            Kia Spectra
    2014-11      L4/2.0L                                          124R                 600         27       2009-04 L4/2.0L                              121R 6               540         39
    2014-11      L4/2.4L        Hybrid                            48R 45, 52           600                  2004    L4/1.8L                              121R 6               540         39
    2014         L4/2.4L        Gas                               48 33                760                  2003-00 L4/1.8L                              90 6                 450         37
    2013-04      L4/2.4L        Ex Hybrid                         124R                 600         27       Kia Spectra 5
    2010-02      V6/2.7L                                          124R                 600         27       2009-05 L4/2.0L                              121R 6               540         39
    2003-01      L4/2.4L                                          47 45                600                  Kia Sportage
    2001         V6/2.5L                                          47 45                600                  2017      L4/2.0L                            48                   640         29
    Kia Rio                                                                                                 2017      L4/2.4L                            48                   640         29
    2017-14      L4/1.6L        w/o ISG                           121R                 550         39       2016      L4/2.0L                            124R                 600         27
    2017-13      L4/1.6L        w/ISG                             48 33                760                  2016      L4/2.4L                            124R                 600         27
    2016         L4/1.6L        w/o ISG                           121R                 600         39       2015      L4/2.0L                            124R                 600         27
    2013-12      L4/1.6L                                          121R                 550         39       2015      L4/2.4L                            124R                 600         27
    2011-03      L4/1.6L                                          35                   500         3        2014-11   L4/2.4L                            124R                 600         27
    2002-01      L4/1.5L                                          35                   500         3        2014-05   L4/2.0L                            124R                 600         27
    Kia Rio 5                                                                                               2010-05   V6/2.7L                            124R                 600         27
    2011-06 L4/1.6L                                               35                   500          3       2002      L4/2.0L    From VIN 5593488        86                   540         31
    Kia Rondo                                                                                               2001-00   L4/2.0L    From VIN 5593488        86 7                 540         31
    2017         L4/2.0L                                          124R                 600         27       2000      L4/2.0L    To 5/16/2000            58 7                 470          8
    2016-14      L4/2.0L                                          124R                 600         27       1999      L4/2.0L                            58 7                 470          8
    2012-07      L4/2.4L                                          124R                 600         27       1999      L4/2.0L    From VIN 5593488        86                   540         31
    2012-07      V6/2.7L                                          124R                 600         27       1998-95   L4/2.0L    To VIN 5593487          58 6                 470          8
    Kia Sedona                                                                                              Lamborghini Aventador
    2017        V6/3.3L non R-MDPS                                124R                 660         27       2012      V12/6.5L                           49 54                800
    2017        V6/3.3L R-MDPS                                    49 33                850                  Lamborghini Diablo
    2016        V6/3.3L                                           124R                 660         27       2001-00 V12/6.0L                             34R 50               700
    2016        V6/3.3L AGM, R-MDPS                               49 33                850                  2000-91 V12/5.7L                             34R 50               700
    2015        V6/3.3L                                           124R                 660         27       1990    V12/5.7L                             34R 54               700
    See page 88 for Footnotes. Selection may vary by warehouse.

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56                                                                                                      Automotive/Light Truck
                                                                       Original                                                                                                       Original
  Year      Engine                     Options       BCI Group Size   Equipment    Fitment     Year      Engine                      Options                       BCI Group Size    Equipment    Fitment
                                                         (notes)                    Code                                                                               (notes)                     Code
                                                                      CCA/Rating                                                                                                     CCA/Rating
Lamborghini Gallardo                                                                         Land Rover Range Rover (continued)
2012-09 V10/5.2L                                   49 50                800                  2002-99   V8/4.6L    Bosch IGN from VIN XA410482                    31A 9                  600
2009-08 V10/5.0L                                   49 50                800                  2000-99   V8/4.0L                                                   30H                    900
2007-04 V10/5.0L                                   34 50                700                  2000-99   V8/4.0L    Bosch IGN from VIN XA410482                    31A 9                  600
Lamborghini Murcielago                                                                       1999-95   V8/4.0L    GEM-IGN to XA410481                            29H 9                  600
2010-08 V12/6.5L                                   49 50                800                  1998-96   V8/4.6L                                                   31A                    660
2007-06 V12/6.5L                                   34R 50               700                  1998-95   V8/4.0L                                                   30H                    825
2007-01 V12/6.2L                                   34R 50               700                  1995-94   V8/4.2L    Classic Series I                               34 9                   600         9
Land Rover Defender 110                                                                      1995      V8/3.9L                                                   30H                    825
1993      V8/3.9L                                  24                   600         22       1995      V8/4.2L                                                   24 9                   600         22
1993      V8/3.9L                                  29H 9                600                  1994-90   V8/3.9L    US                                             24 9                   600         22
Land Rover Defender 90                                                                       1994-90   V8/3.9L    Can                                            24 9                   900
1997      V8/4.0L                                  24 9                 600         22       1994-90   V8/3.9L    Classic Series                                 34 9                   600         9
1997      V8/4.0L                                  29H 9                600                  1994      V8/4.2L    US                                             24 9                   600         22
1995-94   V8/3.9L                                  24 9                 600         22       1994      V8/4.2L    Can                                            24 9                   900
1995-94   V8/3.9L                                  29H 9                600                  1993      V8/4.2L    U.S.                                           24 9                   600         22
Land Rover Discovery                                                                         1993      V8/4.2L    Can                                            24 9                   900
2004-03 V8/4.6L      Series II, Use with adapter   34 9                 700          9       Land Rover Range Rover Evoque
                     No. 358310                                                              2016      L4/2.0L                                                   94R 33                 800
2003      V8/4.6L                                  24 9                 590         22       2015      L4/2.0L                                                   94R 33, 50, 54         800
2002-00   V8/4.0L                                  24 9                 600         22       2014-12   L4/2.0L                                                   94R                   80 Ah        30
1999      V8/4.0L                                  24 9                 600         22
                                                                                             2014      L4/2.0L                                                   94R 33, 50, 54         800
1998-96   V8/4.0L    LJ Ser 1, Use L/R adapter     34                   600         9
                                                                                             2013-12   L4/2.0L                                                   94R 50, 54             770
1998-96   V8/4.0L    LJ Ser 1, Use L/R adapter     34 9                 600          9
1995-94   V8/3.9L                                  34                   600         9        Land Rover Range Rover Sport
Land Rover Discovery Sport                                                                   2016-15   V6/3.0L                                                   49 33                  900
2016-15 L4/2.0L                                    94R    33
                                                                        850                  2016      V6/3.0L    Dsl                                            49 33                  900
2016-15 L4/2.0L      AGM                           94R 33, 50, 54       850                  2016      V8/5.0L                                                   49 33                  900
2016-15 L4/2.0L      Aux Battery                   94R 33               850                  2016      V8/5.0L                                                   49 33                  N/A
                                                                                             2015      V6/3.0L                                                   94R                    720         30
Land Rover Freelander
                                                                                             2015      V8/5.0L                                                   49 33                  900
2005-04 V6/2.5L                                    47                   480         28
                                                                                             2015      V8/5.0L                                                   94R                    720         30
2005-02 V6/2.5L                                    48                   680         29
                                                                                             2014      V6/3.0L    Primary Battery                                49 33                  900
2003-02 V6/2.5L                                    91                   690
                                                                                             2014      V8/5.0L    Primary Battery                                49 33                  900
Land Rover LR2                                                                               2013-10   V8/5.0L                                                   94R                    720         30
2015    L4/2.0L                                    94R                  720         30       2009-06   V8/4.2L                                                   49                     720         33
2014-13 L4/2.0L                                    94R                  720         30       2009-06   V8/4.4L                                                   49                     720         33
2012-08 L6/3.2L                                    94R                  720         30
                                                                                             Lexus CT200h
Land Rover LR3                                                                               2017    L4/1.8L      Hybrid                                         S46B24R 33, 45, 50, 55 325
2009-08   V6/4.0L                                  94R                  700         30       2016-15 L4/1.8L      Hybrid                                         S46B24R 33, 50, 55 325
2009-08   V8/4.4L                                  94R                  700         30
                                                                                             2014-11 L4/1.8L      Hybrid                                         S46B24R 33, 50, 55 325
2009-05   V6/4.0L                                  49                   720         33
2009-05   V8/4.4L                                  49                   720         33       Lexus ES250
2007-05   V8/4.4L                                  94R                  700         30       1991-90 V6/2.5L                                                     35                     360         3
2007      V6/4.0L                                  94R                  700         30       Lexus ES300
Land Rover LR4                                                                               2003-92 V6/3.0L      Opt                                            24F                    585         23
2016      V6/3.0L                                  94R                  720         30       2003-92 V6/3.0L                                                     35                     360         3
2015      V6/3.0L                                  94R                  720         30       Lexus ES300h
2014      V6/3.0L                                  94R                  720         30       2017      L4/2.5L    Hybrid                                         S65D26R 33, 45, 50, 61 450
2013-10   V8/5.0L                                  94R                  720         30       2016      L4/2.5L                                                   S65D26R                325
Land Rover Range Rover                                                                       2016      L4/2.5L    Hybrid                                         S65D26R 33, 45, 50, 61 450
2016      V6/3.0L                                  49 33                900                  2015      L4/2.5L    Hybrid                                         S65D26R 33, 50         450
2016      V8/5.0L                                  49 33                900                  2014-13   L4/2.5L    Hybrid                                         S65D26R 33, 50         325
2015      V6/3.0L                                  49                   720         33       2014-13   L4/2.5L    Hybrid                                         S65D26R 33, 45, 50, 61 450
2015      V6/3.0L                                  49 33                900                  Lexus ES330
2015      V8/5.0L                                  49                   720         33
                                                                                             2006-04 V6/3.3L                                                     24F                    585         23
2015      V8/5.0L                                  49 33                900
2014-13   V8/5.0L    Primary Battery               49 33                900                  Lexus ES350
2014      V6/3.0L                                  49 33                900                  2017      V6/3.5L                                                   24F                    585         23
2012-11   V8/5.0L    Can only                      49 33                850                  2016      V6/3.5L                                                   24F                    580         23
2012-10   V8/5.0L                                  49                   720         33       2016      V6/3.5L                                                   24F                    585         23
2012      V8/5.0L    US (from VIN CA361272)        49 33                850                  2015      V6/3.5L                                                   24F                    585         23
2009-07   V8/4.2L                                  49                   800                  2014-07   V6/3.5L                                                   24F                    585         23
2009-07   V8/4.4L                                  49                   800                  Lexus GS F
2009-06   V8/4.2L    Can only                      49                   720         33       2017-16 V8/5.0L                                                     24                     585         22
2009-06   V8/4.2L    US (to VIN CA361271)          49                   720         33       2016    V8/5.0L                                                     24                     580         22
2009-06   V8/4.4L    Can only                      49                   720         33
2009-06   V8/4.4L    US (to VIN CA361271)          49                   720         33
                                                                                             Lexus GS Turbo
2006-03   V8/4.4L                                  95R                  850                  2017      L4/2.0L                                                   24                     585         22
2006      V8/4.2L                                  95R                  850                  Lexus GS200t
2005-03   V8/4.4L                                  93                   800                  2016      L4/2.0L                                                   24                      580        22
2002-99   V8/4.6L                                  30H                  900                  2016      L4/2.0L                                                   24                      585        22
                                                                                                                                               See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                          57
                                                                                      Original                                                                              Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                       (notes)                    Code
                                                                                     CCA/Rating                                                                            CCA/Rating
    Lexus GS300                                                                                             Lexus LS600h
    2006    V6/3.0L                                               24                   585         22       2016    V8/5.0L                             S75D31L            450
    2005-98 L6/3.0L                                               24                   585         22       2015    V8/5.0L      Hybrid                 S75D31L 33, 45, 50 450
    1997-93 L6/3.0L                                               24F                  585         23       2014-08 V8/5.0L      Hybrid                 S75D31L 33, 50     450
    Lexus GS350                                                                                             Lexus LX450
    2017-15      V6/3.5L                                          24                   585         22       1997-96 L6/4.5L                             27F                   625        36
    2016         V6/3.5L                                          24                   580         22       Lexus LX470
    2015         V6/3.5L                                          24                   580         22       2007-03 V8/4.7L                             27F                   710        36
    2014-13      V6/3.5L                                          24                   585         22       2002    V8/4.7L                             27F                   585        36
    2011-07      V6/3.5L                                          24                   585         22       2001-98 V8/4.7L                             27F                   650        36
    Lexus GS400                                                                                             Lexus LX570
    2000-98 V8/4.0L                                               24                   585         22       2017-16   V8/5.7L                           27F                   710        36
    Lexus GS430                                                                                             2015      V8/5.7L                           27F                   710        36
    2007-01 V8/4.3L                                               24                   585         22       2014-13   V8/5.7L                           27F                   710        36
    Lexus GS450h                                                                                            2011-08   V8/5.7L                           27F                   710        36
    2017         V6/3.5L        Hybrid                            S65D26L 33, 45, 50, 61 360                Lexus NX200t
    2016         V6/3.5L                                          S65D26L                360                2017      L4/2.0L                           24F                   580        23
    2015         V6/3.5L        Hybrid                            S65D26L 33, 50         360                2016      L4/2.0L                           24F                   580        23
    2014-13      V6/3.5L        Hybrid                            S65D26L 33, 50         360                2015      L4/2.0L                           24F                   580        23
    2011-07      V6/3.5L        Hybrid                            S65D26L 33, 50         360                Lexus NX300h
    Lexus GS460                                                                                             2017-15 L4/2.5L      Hybrid                 47                    460        28
    2011-08 V8/4.6L                                               24                   585         22       Lexus RC Turbo
    Lexus GX460                                                                                             2017      L4/2.0L                           24                    585        22
    2017         V8/4.6L                                          24F                  585         23       Lexus RC200t
    2016         V8/4.6L                                          24F                  585         23       2016      L4/2.0L                           24                    580        22
    2015         V8/4.6L                                          24F                  585         23       2016      L4/2.0L                           24                    585        22
    2014-10      V8/4.6L                                          24F                  585         23       Lexus RC300
    Lexus GX470                                                                                             2017-16 V6/3.5L                             24                    585        22
    2009-03 V8/4.7L                                               27F                  710         36       2016    V6/3.5L                             24                    580        22
    Lexus HS250h                                                                                            Lexus RC350
    2012    L4/2.4L             Hybrid                            S55D23R 33, 45, 50, 55 360                2017-15 V6/3.5L                             24                    585        22
    2011-10 L4/2.4L             Hybrid                            S55D23R 33, 50, 54, 55 360                Lexus RX300
    Lexus IS F                                                                                              2003-99 V6/3.0L                             24F                   585        23
    2014-08 V8/5.0L                                               24                   585         22       Lexus RX330
    Lexus IS Turbo                                                                                          2006-04 V6/3.3L                             24F                   585        23
    2017         L4/2.0L                                          24                   585         22       Lexus RX350
    Lexus IS200t                                                                                            2016    V6/3.5L                             24F                   585        23
    2016         L4/2.0L                                          24                   580         22       2015    V6/3.5L                             24F 55                585        23
    2016         L4/2.0L                                          24                   585         22       2014-07 V6/3.5L                             24F                   585        23
    Lexus IS250                                                                                             Lexus RX400h
    2015    V6/2.5L                                               24                   585         22       2008-06 V6/3.3L      Hybrid                 51R                   435        11
    2014-06 V6/2.5L                                               24                   585         22       Lexus RX450h
    Lexus IS300                                                                                             2017      V6/3.5L    Hybrid                 47                     460       28
    2017-16 V6/3.5L                                               24                   585         22       2016      V6/3.5L    Hybrid                 47                     355       28
    2016    V6/3.5L                                               24                   580         22       2016      V6/3.5L    Hybrid                 47                     460       28
    2005-01 L6/3.0L                                               24                   585         22       2015      V6/3.5L    Hybrid                 S55D23L 33, 45, 50, 55 360
                                                                                                                                                                33, 45, 50, 55
    Lexus IS350                                                                                             2014-11   V6/3.5L    Hybrid                 S55D23L                356
    2017         V6/3.5L                                          24                   585         22       2014-11   V6/3.5L    Hybrid                 S55D23L 33, 45, 50, 55, 61360
    2016         V6/3.5L                                          24                   585         22       2010      V6/3.5L    Hybrid                 S55D23L 33, 45, 50, 55 360
    2015         V6/3.5L                                          24                   585         22       Lexus SC300
    2014-06      V6/3.5L                                          24                   585         22       2000-97 L6/3.0L                             24F                   585        23
    Lexus LFA                                                                                               1996-92 L6/3.0L                             27F                   450        36
    2012         V10/4.8L                                         S75D31R 33, 45, 50, 55 450                Lexus SC400
    Lexus LS400                                                                                             2000-93 V8/4.0L                             27F                   625        36
                                                                                                            1992    V8/4.0L                             27F                   450        36
    2000-95 V8/4.0L                                               24F                  585         23
                                                                                                            1992    V8/4.0L      Opt                    27F                   625        36
    1994-90 V8/4.0L                                               27F                  580         36
    Lexus LS430                                                                                             Lexus SC430
                                                                                                            2010-03 V8/4.3L                             48                    585        29
    2006-01 V8/4.3L                                               24F                  585         23
                                                                                                            2002    V8/4.3L                             48                    625        29
    Lexus LS460                                                                                             Lincoln Aviator
    2016         V8/4.6L        w/o PTC Heater                    24                   585         22
                                                                                                            2005-03 V8/4.6L                             65                    650         1
    2016         V8/4.6L        w/PTC Heater                      27                   660         35
    2016         V8/4.6L        Cold Climate Pkg                  27                   680         35       Lincoln Blackwood
    2015         V8/4.6L        w/o PTC Heater                    24                   580         22       2002      V8/5.4L                           65                    650         1
    2015         V8/4.6L        w/o PTC Heater                    24                   585         22       Lincoln Continental
    2015         V8/4.6L        w/PTC Heater                      27                   660         35       2017      V6/2.7L                           94R                   730        30
    2014-13      V8/4.6L        w/PTC Heater                      27                   660         35       2017      V6/3.0L                           94R                   730        30
    2014-07      V8/4.6L                                          24                   585         22       2017      V6/3.7L    Non Livery             48                    610        29
    2014-07      V8/4.6L        Cold Weather Pkg                  27                   710         35       2017      V6/3.7L    Livery                 94R                   730        30
    See page 88 for Footnotes. Selection may vary by warehouse.

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58                                                                                                   Automotive/Light Truck
                                                                    Original                                                                                                  Original
  Year      Engine                    Options     BCI Group Size   Equipment    Fitment     Year      Engine                 Options                       BCI Group Size    Equipment    Fitment
                                                      (notes)                    Code                                                                          (notes)                     Code
                                                                   CCA/Rating                                                                                                CCA/Rating
Lincoln Continental (continued)                                                           Lincoln MKZ (continued)
2002-97   V8/4.6L                               65                   750          1       2016      L4/2.0L                                              90                     590         37
1996-95   V8/4.6L                               65                   850          1       2016      V6/3.7L                                              90                     590         37
1994-90   V6/3.8L                               65                   650          1       2015-13   L4/2.0L    Hybrid                                    67R 50                 390
1994      V6/3.8L    Opt                        65                   850          1       2015      L4/2.0L    Gas                                       90                     590         37
1993-90   V6/3.8L    w/HWS                      65                   850          1       2015      V6/3.7L                                              90                     590         37
Lincoln LS                                                                                2014-13   L4/2.0L    Gas                                       90                     590         37
2006-00   V8/3.9L                               66 50                650                  2014-13   L4/2.0L    Ex Hybrid                                 96R                    500         32
2005-01   V6/3.0L    Opt                        66 50                750                  2014-13   V6/3.7L                                              90                     590         37
2005-01   V8/3.9L    Opt                        66 50                750                  2013      L4/2.0L    Opt                                       96R                    590         32
2005-00   V6/3.0L                               66 50                650                  2012-11   L4/2.5L    Hybrid                                    67R                    390
Lincoln Mark LT                                                                           2012-10   V6/3.5L                                              96R                    500         32
2008-06 V8/5.4L      LT                         59                   540         34       2009-07   V6/3.5L                                              96R                    590         32
2008-06 V8/5.4L      LT, HD                     65                   650          1       Lincoln Navigator
Lincoln Mark VII                                                                          2017      V6/3.5L                                              65                     750         1
1992-90 V8/5.0L                                 65                   850          1       2016      V6/3.5L                                              65                     750         1
Lincoln Mark VIII                                                                         2015      V6/3.5L                                              65                     750         1
1998-97 V8/4.6L      Opt                        65                   750          1       2014-98   V8/5.4L    w/o Heated Seats                          65                     650         1
1998-93 V8/4.6L      US                         65                   650          1       2014-08   V8/5.4L    HD or Heated Seats                        65                     750         1
1996-93 V8/4.6L      HD or Can                  65                   850          1       2007      V8/5.4L    Climate seats                             65                     750         1
Lincoln MKC                                                                               2006-98   V8/5.4L    Can & Opt                                 65                     750         1
2017      L4/2.0L    w/o Start/Stop             48                   610         29       Lincoln Town Car
2017      L4/2.0L    w/Start/Stop               48 33                760                  2011-06   V8/4.6L    Short Wheel Base                          65                     650         1
2017      L4/2.3L                               48                   610         29       2011-06   V8/4.6L    HD & Long Wheel Base                      65                     750         1
2016      L4/2.0L                               48                   610         29       2005-99   V8/4.6L    Limo, HD                                  65                     750         1
2016      L4/2.3L                               48                   610         29       2005-97   V8/4.6L    Ex Limo                                   65                     650         1
2015      L4/2.0L                               48                   610         29       1998-97   V8/4.6L    Limo, HD                                  65                     850         1
2015      L4/2.3L                               48                   610         29       1996-95   V8/4.6L    Ex HWS or Limo                            65                     650         1
Lincoln MKS                                                                               1996-95   V8/4.6L    HWS or HD, Limo                           65                     850         1
2016      V6/3.5L                               65                   650          1       1994-91   V8/4.6L    Ex HWS                                    65                     650         1
2016      V6/3.7L                               65                   650          1       1994-91   V8/4.6L    w/HWS                                     65                     850         1
2015      V6/3.5L                               65                   650          1       1990      V8/5.0L    Ex HWS                                    65                     650         1
2015      V6/3.7L                               65                   650          1       1990      V8/5.0L    w/HWS                                     65                     850         1
2014-10   V6/3.5L                               65                   650          1       Lincoln Zephyr
2014-09   V6/3.7L                               65                   650          1
                                                                                          2006      V6/3.0L                                              40R                    590         19
Lincoln MKT                                                                               Lotus Elise
2017      V6/3.5L                               65                   750          1
                                                                                          2009-08 L4/1.8L                                                47 50                  520         28
2017      V6/3.7L                               65                   750          1
                                                                                          2007-05 L4/1.8L                                                26R                    550         38
2016-15   V6/3.5L                               65                   750          1
2016-15   V6/3.7L                               65                   750          1       Lotus Exige
2016      L4/2.0L                               65                   650          1       2009-08 L4/1.8L                                                48 50                  600         29
2016      V6/3.5L                               65                   650          1       2007-06 L4/1.8L                                                26R                    550         38
2016      V6/3.7L                               65                   650          1       Maserati Coupe
2015      L4/2.0L                               65                   650          1       2007-03 V8/4.2L      Coupe                                     48 50, 54              785
2015      L4/2.0L                               65                   750          1       Maserati GranSport
2015      V6/3.5L                               65                   650          1
                                                                                          2007-05 V8/4.2L      Coupe                                     48 50, 54              785
2015      V6/3.7L                               65                   650          1
2014-13   V6/3.5L                               65                   750          1       Maserati GranTurismo
2014-13   V6/3.7L                               65                   750          1       2013-09 V8/4.7L                                                48 50, 54              600         29
2014      L4/2.0L                               65                   650          1       2011-08 V8/4.2L                                                48 50, 54              600         29
2013      L4/2.0L                               65                   650          1       Maserati Quattroporte
2012-10   V6/3.5L                               65                   650          1       2013-09 V8/4.7L                                                49 50, 54              850
2012-10   V6/3.5L    Opt                        65                   750          1       2011-08 V8/4.2L                                                48 50, 54              600         29
2012-10   V6/3.7L                               65                   650          1       2007-04 V8/4.2L                                                48 50, 54              785
2012-10   V6/3.7L    Opt                        65                   750          1
                                                                                          Maserati Spyder
Lincoln MKX                                                                               2006-02 V8/4.2L                                                48 50, 54              785
2017      V6/2.7L    w/o Start/Stop             94R                  730         30
2017      V6/2.7L    w/Start/Stop               94R 33               800
                                                                                          Maybach 57
2017      V6/3.7L                               94R 33               800                  2012-06   V12/6.0L                                             49 33, 50, 54          850
2016      V6/2.7L                               94R                  730         30       2012-06   V12/6.0L                                             49 33                 95 Ah
2016      V6/3.7L                               94R                  730         30       2012-06   V12/6.0L Opt                                         49 33, 50, 54          950
2015      V6/3.7L                               65                   650         1        2012-03   V12/5.5L                                             49 33, 50, 54          850
2014-11   V6/3.7L                               65                   650         1        2012-03   V12/5.5L                                             49 33                 95 Ah
2010-07   V6/3.5L                               36R                  650         18       2012-03   V12/5.5L Opt                                         49 33, 50, 54          950
Lincoln MKZ                                                                               Maybach 62
2017      L4/2.0L    Hybrid                     90 50                590         37       2012-07   V12/6.0L                                             49 33, 50, 54           850
2017      L4/2.0L    Gas                        94R                  730         30       2012-07   V12/6.0L                                             49 33                 95 Ah
2017      L4/2.0L    US, Gas                    94R                  730         30       2012-07   V12/6.0L Opt                                         49 33, 50, 54           950
2017      L4/2.0L    Start/Stop                 94R 33               800                  2012-03   V12/5.5L                                             49 33, 50, 54           850
2017      V6/3.0L                               94R                  730         30       2012-03   V12/5.5L                                             49 33                 95 Ah
2016      L4/2.0L    Hybrid                     48 33, 50            760                  2012-03   V12/5.5L Opt                                         49 33, 50, 54           950
                                                                                                                                       See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                     Costco_001608
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                                                                                 Mazda
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    Automotive/Light Truck                                                                                                                                                           59
                                                                                     Original                                                                                Original
        Year         Engine                         Options        BCI Group Size   Equipment    Fitment     Year      Engine                   Options    BCI Group Size   Equipment    Fitment
                                                                       (notes)                    Code                                                         (notes)                    Code
                                                                                    CCA/Rating                                                                              CCA/Rating
    Mazda 2                                                                                                Mazda 6
    2014-11 L4/1.5L                                               21R                 350          3       2017-14   L4/2.5L    Ex i-ELOOP                35                  520          3
    2014    L4/1.5L            Can & Cold Climate                 35                  525          3       2016-14   L4/2.5L    i-ELOOP                   N/A                 520
    2013-11 L4/1.5L            Can or Cold Climate Pkg            35                  525          3       2013-09   L4/2.5L                              96R                 590         32
    Mazda 3                                                                                                2013-09   V6/3.7L                              96R                 590         32
    2016-15      L4/2.0L        Ex i-ELOOP                        35                  520          3       2008-03   L4/2.3L                              40R                 590         19
    2016-15      L4/2.5L        Ex i-ELOOP                        35                  520          3       2008      V6/3.0L                              40R                 590         19
    2016         L4/2.0L        i-ELOOP                           N/A                 520                  2007-06   L4/2.3L    Mazdaspeed                35                  550          3
    2016         L4/2.5L        i-ELOOP                           N/A                 520                  2007-06   L4/2.3L    Ex Mazdaspeed             40R                 585         19
    2015         L4/2.0L                                          21R                 350          3       2007      V6/3.0L                              40R                 585         19
    2015         L4/2.0L        Can & Cold Climate                35                  525         3        2006-03   V6/3.0L                              40R                 590         19
    2015         L4/2.0L        SKYACTIV                          35                  525         3        Mazda 626
    2015         L4/2.5L                                          21R                 350          3       2002-98   L4/2.0L                              36R                 580         18
    2015         L4/2.5L        Can & Cold Climate                35                  525         3        2002-98   V6/2.5L                              36R                 580         18
    2014-11      L4/2.0L                                          21R                 350          3
                                                                                                           1997-93   L4/2.0L                              58R                 580
    2014-11      L4/2.5L                                          21R                 350          3
                                                                                                           1997-93   V6/2.5L                              58R                 580
    2014         L4/2.0L       Can & Cold Climate                 35                  525         3
                                                                                                           1992-91   L4/2.2L    Cold Climate Pkg          35                  350          3
    2014         L4/2.5L       Can & Cold Climate                 35                  525         3
                                                                                                           1992-90   L4/2.2L                              21R                 310          3
    2013-11      L4/2.0L       Cold Climate Pkg or AT             35                  525         3
    2013-11      L4/2.3L                                          35                  525         3        1990      L4/2.2L    Opt                       35                  350          3
    2013-11      L4/2.5L       Cold Climate Pkg or AT             35                  525         3        Mazda 929
    2010-08      L4/2.0L                                          26R                 306         38       1995-92 V6/3.0L      US                        35                  350         3
    2010-08      L4/2.0L        MT                                26R                 310         38       1995-90 V6/3.0L      Can & Opt                 24F                 585         23
    2010-08      L4/2.0L        AT                                35                  355         3        1991-90 V6/3.0L                                21R                 310         3
    2010-08      L4/2.3L        MT                                26R                 310         38       Mazda B2200
    2010         L4/2.5L                                          26R                 306         38       1993-90 L4/2.2L                                21                  310          6
    2010         L4/2.5L        MT                                26R                 310         38
                                                                                                           1990    L4/2.2L      Opt                       24                  490         22
    2010         L4/2.5L        AT                                35                  355         3
    2009-08      L4/2.3L                                          26R                 306         38       Mazda B2300
    2009-08      L4/2.3L        AT                                35                  355         3        2010-01   L4/2.3L                              59                  540         34
    2009-07      L4/2.3L        Mazdaspeed                        35                  360         3        1997-94   L4/2.3L    Opt                       65                  540          1
    2007         L4/2.0L        Cold Climate Pkg                  24F                 585         23       1997      L4/2.3L                              59                  540         34
    2007         L4/2.0L                                          35                  355         3        1996-94   L4/2.3L                              58                  540          8
    2007         L4/2.0L        Cold Climate                      35                  490         3        Mazda B2500
    2007         L4/2.0L        AT                                35                  550         3        2001-98 L4/2.5L                                59                  540         34
    2007         L4/2.3L        Cold Climate Pkg                  24F                 585         23
    2007         L4/2.3L                                          35                  355         3
                                                                                                           Mazda B2600
    2007         L4/2.3L        Cold Climate                      35                  490         3        1993-91   L4/2.6L    Can & Opt                 24                  585         22
    2007         L4/2.3L        AT                                35                  550         3        1993-90   L4/2.6L    US                        21                  310          6
    2006-04      L4/2.3L                                          35                  550         3        1990      L4/2.6L                              21                  310          6
    2006         L4/2.0L                                          35                  550         3        1990      L4/2.6L    Opt                       24                  585         22
    2005-04      L4/2.0L        Opt                               35                  520         3        Mazda B3000
    2005         L4/2.0L                                          21R                 350          3       2008-98 V6/3.0L                                59                  540         34
    2004         L4/2.0L                                          21R                 310          3       1997-94 V6/3.0L                                58                  540          8
    Mazda 3 Sport                                                                                          Mazda B4000
    2014-12      L4/2.0L                                          21R                 350          3       2010-98 V6/4.0L                                59                  540         34
    2014-12      L4/2.5L                                          21R                 350          3       1997-94 V6/4.0L                                65                  650          1
    2014         L4/2.0L        Can & Cold Climate                35                  525          3
                                                                                                           Mazda CX-3
    2014         L4/2.5L        Can & Cold Climate                35                  525          3
                                                                                                           2017      L4/2.0L                              35                  520          3
    2013-12      L4/2.0L        Cold Climate Pkg                  35                  525          3
                                                                                                           2016      L4/2.0L    Ex i-ELOOP                35                  520          3
    2013-12      L4/2.5L        Cold Climate Pkg                  35                  525          3
    Mazda 323                                                                                              Mazda CX-5
                                                                                                           2016-15   L4/2.0L    Cold Weather Pkg          55D23L 45           520         3
    1995-91      L4/1.6L                                          35                  350          3
                                                                                                           2016-15   L4/2.5L    Cold Weather Pkg          55D23L 45           520         3
    1994-93      L4/1.8L                                          21R                 310          3
                                                                                                           2016      L4/2.0L                              26R 45              306         38
    1994-93      L4/1.8L        Opt                               35                  350          3
    1991-90      L4/1.8L        Ex Calif                          35                  350          3       2016      L4/2.5L                              26R 45              306         38
    1991         L4/1.6L        Opt                               21R                 310          3       2014      L4/2.0L    Cold Weather Pkg or HD    55D23L 45           520         3
    1991         L4/1.8L        Calif or HD                       21R                 310          3       2014      L4/2.5L    Cold Weather Pkg or HD    55D23L 45           520         3
    1990         L4/1.6L                                          21R                 310          3       2013      L4/2.0L    Cold Weather Pkg          55D23L 45           520         3
    1990         L4/1.6L        Opt                               35                  360          3       Mazda CX-7
    1990         L4/1.8L        Calif                             21R                 310          3       2012-11   L4/2.3L    Can & Opt                 24F                 585         23
    1990         L4/1.8L        Opt                               35                  360          3       2012-11   L4/2.3L    US                        35                  525         3
    Mazda 5                                                                                                2012-10   L4/2.5L                              35                  550         3
    2015        L4/2.5L MT                                        26R                 540         38       2010      L4/2.3L    Can                       24F                 585         23
    2015        L4/2.5L AT                                        35                  550         3        2010      L4/2.3L    US                        35                  525         3
    2014-12 L4/2.5L MT                                            26R                 540         38       2010      L4/2.3L                              35                  550         3
    2014-12 L4/2.5L AT                                            35                  550         3        2009-07   L4/2.3L                              35                  360         3
    2012        L4/2.5L Cold Climate Pkg                          35                  520         3        Mazda CX-9
    2010        L4/2.3L MT                                        26R                 540         38       2016      L4/2.5L                              35                  520         3
    2010        L4/2.3L AT                                        35                  550         3        2015      V6/3.7L                              24F                 585         23
    2009        L4/2.3L MT                                        26R                 310         38       2014      V6/3.7L                              24F                 585         23
    2009        L4/2.3L AT                                        35                  355         3        2013-08   V6/3.7L                              24F                 585         23
    2008-06 L4/2.3L                                               35                  550         3        2007      V6/3.5L                              24F                 585         23
    See page 88 for Footnotes. Selection may vary by warehouse.

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60                                                                                               Automotive/Light Truck
                                                                Original                                                                                                Original
  Year      Engine                 Options    BCI Group Size   Equipment    Fitment     Year      Engine               Options                       BCI Group Size    Equipment    Fitment
                                                  (notes)                    Code                                                                        (notes)                     Code
                                                               CCA/Rating                                                                                              CCA/Rating
Mazda Miata                                                                           Mazda RX-7
2005-99 L4/1.8L                              46A24L 50           320                  1995-94   R2/1.3L    Can, w/AT                               24F                    490         23
1997-94 L4/1.8L                              46A24L 50           320                  1995-94   R2/1.3L    MT                                      35                     420         3
1993-90 L4/1.6L                              46A24L 50           320                  1993      R2/1.3L    Opt                                     24F                    495         23
Mazda Millenia                                                                        1993      R2/1.3L                                            35                     350         3
2002-95   V6/2.3L    Opt                     24F                 585         23       1991-90   R2/1.3L    Can & Opt                               35                     405         3
2002-01   V6/2.3L                            35                  520          3       1991      R2/1.3L    US                                      35                     350         3
2002-01   V6/2.5L    Opt                     24F                 490         23       1990      R2/1.3L    US                                      21R                    320         3
2002      V6/2.5L                            35                  520          3       Mazda RX-8
2001      V6/2.5L                            35                  360          3       2011      R2/1.3L    Opt                                     24F                    585         23
2000-95   V6/2.3L                            35                  490          3       2011      R2/1.3L                                            35                     525         3
2000-95   V6/2.5L                            35                  350          3       2010      R2/1.3L                                            35                     550         3
2000-95   V6/2.5L    Opt                     35                  490          3       2009-04   R2/1.3L                                            35 9                   640
Mazda MPV                                                                             Mazda Tribute
2006-02   V6/3.0L    Opt                     24F                 490         23       2011      L4/2.5L                                            96R                    590         32
2006-02   V6/3.0L                            35                  360          3       2011      V6/3.0L                                            96R                    590         32
2001-00   V6/2.5L    Opt                     24F                 490         23       2010-09   L4/2.5L                                            40R                    590         19
2001-00   V6/2.5L                            35                  360          3       2010-09   L4/2.5L    Hybrid                                  96R                    500         32
1998-96   V6/3.0L    Can & Opt               24F                 490         23       2010      L4/2.5L    Gas                                     40R                    650
1998-96   V6/3.0L    US                      35                  350          3       2010      V6/3.0L                                            40R                    650
1995-93   V6/3.0L    RWD                     21R                 310          3       2009-08   V6/3.0L                                            40R                    590         19
1995-93   V6/3.0L    4WD                     24F                 490         23       2008      L4/2.3L                                            40R                    590         19
1995-93   V6/3.0L    Opt                     24F                 585         23       2008      L4/2.3L    Hybrid                                  96R                    500         32
1994-93   L4/2.6L    RWD                     21R                 310          3       2006-05   L4/2.3L                                            40R                    590         19
1994-93   L4/2.6L    4WD                     24F                 490         23       2006-01   V6/3.0L                                            40R                    590         19
1994-93   L4/2.6L    Opt                     24F                 585         23       2004-01   L4/2.0L                                            96R                    500         32
1992-90   L4/2.6L    US                      21R                 310          3       Mercedes-Benz 190E
1992-90   L4/2.6L    Can & Opt               24F                 585         23
                                                                                      1993-91 L4/2.3L                                              48                     550         29
1992-90   V6/3.0L    US                      21R                 310          3
                                                                                      1993-90 L6/2.6L                                              48                     550         29
1992-90   V6/3.0L    Can & Opt               24F                 585         23
Mazda MX-3                                                                            Mercedes-Benz 300CE
                                                                                      1993    L6/3.2L                                              48                     550         29
1996-95   L4/1.6L                            21R                 310          3
                                                                                      1992-90 L6/3.0L                                              48                     550         29
1995      L4/1.6L    Opt                     35                  350          3
1995      V6/1.8L                            35                  350          3       Mercedes-Benz 300D
1994-92   L4/1.6L    MT                      21R                 310          3       1993-92 L5/2.5L                                              49                     825
1994-92   L4/1.6L    HD w/AT                 35                  350          3       1991-90 L5/2.5L                                              49                     740         33
1994      V6/1.8L    Calif                   21R                 310          3       Mercedes-Benz 300E
1994      V6/1.8L                            24F                 630         23       1993-90   L6/3.0L                                            48                     550         29
1994      V6/1.8L    Ex Calif                35                  420          3       1993-90   L6/3.0L    4-Matic                                 48                     550         29
1993-92   V6/1.8L                            35                  420          3       1993      L6/2.8L                                            48                     550         29
Mazda MX-5 Miata                                                                      1993      L6/3.2L                                            48                     550         29
2017-15 L4/2.0L                              51R                 410         11       1992-90   L6/2.6L                                            48                     550         29
2016    L4/2.0L                              51R                 340         11       Mercedes-Benz 300SD
2014-06 L4/2.0L                              51R                 410         11       1993-92 L6/3.4L      Dsl                                     49                     825
Mazda MX-6                                                                            Mercedes-Benz 300SE
1997-93   L4/2.0L                            58R                 580                  1993-92 L6/3.2L                                              49                     825
1997-93   V6/2.5L                            58R                 580                  1991-90 L6/3.0L                                              49                     740         33
1992-91   L4/2.2L    Cold Climate Pkg        35                  350          3       Mercedes-Benz 300SEL
1992-90   L4/2.2L                            21R                 310          3
                                                                                      1991-90 L6/3.0L                                              49                     740         33
Mazda Navajo                                                                          Mercedes-Benz 300SL
1994-91 V6/4.0L                              65                  650          1
                                                                                      1993-92 L6/3.0L                                              49                     825
Mazda Protegé                                                                         1991-90 L6/3.0L                                              49                     740         33
2003-99   L4/1.6L                            21R                 310          3       Mercedes-Benz 300TE
2003-01   L4/1.6L    Opt                     35                  520          3
                                                                                      1993-90 L6/3.0L                                              48                     550         29
2003-01   L4/2.0L                            21R                 310          3
                                                                                      1993-90 L6/3.0L      4-Matic                                 48                     550         29
2003-01   L4/2.0L    Opt                     35                  520          3
                                                                                      1993    L6/3.2L                                              48                     550         29
2000-99   L4/1.6L    Opt                     35                  350          3
2000-99   L4/1.8L                            35                  350          3       Mercedes-Benz 350SD
1998-95   L4/1.5L                            21R                 310          3       1991      L6/3.4L    Dsl                                     49                     740         33
1998-95   L4/1.5L    Opt                     35                  350          3       Mercedes-Benz 350SDL
1998-95   L4/1.8L                            21R                 310          3       1991-90 L6/3.4L      Dsl                                     49                     740         33
1994-92   L4/1.8L                            21R                 310          3       Mercedes-Benz 400E
1994-92   L4/1.8L    Opt                     35                  350          3       1993-92 V8/4.2L                                              49                     825
1991-90   L4/1.8L    Ex Calif                35                  350          3
1991      L4/1.8L    Calif or HD             21R                 310          3
                                                                                      Mercedes-Benz 400SE
1990      L4/1.8L    Calif                   21R                 310          3       1992      V8/4.2L                                            49                     825
1990      L4/1.8L    Opt                     35                  360          3       Mercedes-Benz 400SEL
Mazda Protegé5                                                                        1993      V8/4.2L                                            49                     825
2003-02 L4/2.0L                              21R                 310          3       Mercedes-Benz 420SEL
2003-02 L4/2.0L      Opt                     35                  520          3       1991-90 V8/4.2L                                              49                      740        33
                                                                                                                                 See page 88 for Footnotes. Selection may vary by warehouse.

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                                      929
    Automotive/Light Truck                                                                                                                                                             61
                                                                                      Original                                                                                 Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                   Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                          (notes)                    Code
                                                                                     CCA/Rating                                                                               CCA/Rating
    Mercedes-Benz 500E                                                                                      Mercedes-Benz C280
    1993-92 V8/5.0L                                               49                   825                  2007-06 V6/3.0L                                49 50                760
    Mercedes-Benz 500SEC                                                                                    2000-98 V6/2.8L                                49 50                825
    1993         V8/5.0L                                          49                   825                  1997-94 L6/2.8L                                49 50                825
    Mercedes-Benz 500SEL                                                                                    Mercedes-Benz C300
    1993-92 V8/5.0L                                               49                   825                  2017-16   L4/2.0L                              47 33, 50, 54        680
                                                                                                            2017      L4/2.0L    Opt                       48 33, 50, 54        760
    Mercedes-Benz 500SL                                                                                     2016      L4/2.0L                              48 33, 54            760
    1993-92 V8/5.0L                                               49                   825                  2015      L4/2.0L                              47 33, 50, 54        680
    1991-90 V8/5.0L                                               49                   740         33       2015      L4/2.0L    Opt                       48 33, 50, 54        760
    Mercedes-Benz 560SEC                                                                                    2015      L4/2.0L                              94R 33, 50, 54       700
    1991-90 V8/5.6L                                               49                   740         33       2014-13   V6/3.5L    AGM Opt Trunk Mtd         49 33, 50, 54      90-95 Ah
    Mercedes-Benz 560SEL                                                                                    2014-13   V6/3.5L                              94R 50, 54           700    30
    1991-90 V8/5.6L                                               49                   740         33       2014-13   V6/3.5L    Front Battery             94R 50              84 Ah
                                                                                                            2012-10   V6/3.0L                              94R 50, 54           700    30
    Mercedes-Benz 600SEC                                                                                    2012-08   V6/3.0L                              94R 50, 54          84 Ah
    1993         V12/6.0L                                         49                   825                  2012      V6/3.0L    AGM Opt Trunk Mtd         49 33, 50, 54      90-95 Ah
    Mercedes-Benz 600SEL                                                                                    2009-08   V6/3.0L                              94R 50, 54           700    30
    1993-92 V12/6.0L                                              49                   825                  Mercedes-Benz C32 AMG
    Mercedes-Benz 600SL                                                                                     2004-03 V6/3.2L                                49 50                825
    1993         V12/6.0L                                         49                   825                  2002    V6/3.2L                                48 50               74 Ah
    Mercedes-Benz AMG GT                                                                                    2002    V6/3.2L                                49 50                850
    2017         V8/4.0L                                          47 33, 54            680                  Mercedes-Benz C320
    2017         V8/4.0L                                          47 60                680                  2005-04   V6/3.2L                              49 50               825
    2017         V8/4.0L        Opt                               48 33, 54            760                  2003      V6/3.2L                              49 33, 50           850
    Mercedes-Benz AMG GT S                                                                                  2002-01   V6/3.2L                              49 50               825
                                                                                                            2002      V6/3.2L                              48 50              74 Ah
    2017-16      V8/4.0L        Opt                               48 33, 54            760
                                                                                                            2001      V6/3.2L    w/o AGM                   49 50, 54          100 Ah
    2017         V8/4.0L                                          47 33, 54            680
    2017         V8/4.0L                                          47 60                680                  Mercedes-Benz C350
    2016         V8/4.0L                                          47 60                680                  2016      V6/3.5L                              94R 50, 54           700         30
    2016         V8/4.0L        Opt                               48 33               80 Ah                 2015      V6/3.5L                              94R 50, 54           700         30
                                                                                                            2015      V6/3.5L                              94R 50, 54          84 Ah
    Mercedes-Benz B Electric Drive                                                                          2014-08   V6/3.5L                              94R 50, 54           700         30
    2015-14                     Electric                          47 33, 54            680                  2014-08   V6/3.5L                              94R 50              84 Ah
    Mercedes-Benz B200                                                                                      2007-06   V6/3.5L                              49 50                760
    2011    L4/2.0L                                               48 50, 54            680         29       Mercedes-Benz C350e
    2010-06 L4/2.0L                                               48 50, 54            680         29       2017-16 L4/2.0L      Hybrid                    49 33, 50, 54        850
    Mercedes-Benz B250                                                                                      Mercedes-Benz C36 AMG
    2017-13      L4/2.0L        Aux Battery                       400 33, 54           200                  1997-95 L6/3.6L                                49 50                825
    2017         L4/2.0L                                          48 33, 50, 54        N/A                  Mercedes-Benz C400
    2017         L4/2.0L        Opt                               48 33, 50, 54        N/A                  2015      V6/3.0L                              48 33, 50, 54        760
    2016-13      L4/2.0L                                          48 33, 54            760
    2016-13      L4/2.0L        Opt                               48 33, 50, 54        800
                                                                                                            Mercedes-Benz C43 AMG
                                                                                                            2017      V6/3.0L                              48 33, 50, 54        760
    Mercedes-Benz B250e                                                                                     2017      V6/3.0L    Opt                       48 33, 50, 54        800
                                                                       33, 50, 54
    2017                        Electric                          47                   680                  2000-99   V8/4.3L                              49 50                825
    2017                        Electric                          47 60                680                  1998      V8/4.3L                              49 50                825
    2016                        Electric                          47 60                680
                                                                                                            Mercedes-Benz C450 AMG
    Mercedes-Benz C220                                                                                      2016      V6/3.0L                              48 33, 54            760
                                                                       50
    1996-94 L4/2.2L                                               49                   825                  Mercedes-Benz C55 AMG
    Mercedes-Benz C230                                                                                      2006-05 V8/5.5L                                49 50, 54          100 Ah
    2009-08      V6/2.5L                                          49 50, 54            760                  2006    V8/5.5L                                49 50               760
    2007-06      V6/2.5L                                          49 50                760                  2005    V8/5.5L                                49 50               825
    2005-04      L4/1.8L        S/C                               49 50                825                  Mercedes-Benz C63 AMG
    2003         L4/1.8L        S/C                               49 33, 50            825                  2017      V8/4.0L                              48 33, 50, 54        800
    2002         L4/2.3L                                          49 50                825                  2017      V8/4.0L    Opt                       49 33, 50, 54        850
    2000-97      L4/2.3L                                          49 50                825                  2016      V8/4.0L                              48 33, 50, 54        800
    Mercedes-Benz C240                                                                                      2016      V8/4.0L    Opt                       49 33, 50, 54        850
    2005-01 V6/2.6L             w/o AGM                           49 50                825                  2015-08   V8/6.3L                              48 33, 50, 54        800
    2003    V6/2.6L             w/AGM                             49 33, 50            850                  2015-08   V8/6.3L                              49 33, 50, 54        800
    Mercedes-Benz C250                                                                                      2015      V8/6.3L                              49 33, 50, 54        850
    2015-14      L4/1.8L        Opt Rear                          49 33, 50, 54       95 Ah                 2014-09   V8/6.3L                              49 33, 54            850
    2015         L4/1.8L        Opt Front                         48                  74 Ah                 2008      V8/6.3L                              49 33, 50, 54        850
    2015         L4/1.8L                                          48 33, 54            760                  Mercedes-Benz C63 AMG S
    2015         L4/1.8L        Front                             94R 50, 54          84 Ah                 2017      V8/4.0L                              48 33, 50, 54        800
    2014-13      L4/1.8L        Front                             94R 50, 54          84 Ah                 2017      V8/4.0L    Opt                       49 33, 50, 54        850
    2014-12      L4/1.8L        Opt Front                         48                  74 Ah                 2016-15   V8/4.0L                              48 33, 50, 54        800
    2014-12      L4/1.8L                                          48 33, 54            760                  2016-15   V8/4.0L    Opt                       49 33, 50, 54        850
    2012-10      V6/2.5L        Opt                               48 33, 54            760                  Mercedes-Benz CL500
    2012-10      V6/2.5L                                          94R 54               700         30       2006-02 V8/5.0L                                49 33, 50           95 Ah
    2012         L4/1.8L        Opt Rear                          49 33, 50, 54       95 Ah                 2006    V8/5.0L                                49 33                850
    See page 88 for Footnotes. Selection may vary by warehouse.

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62                                                                                                                Automotive/Light Truck
                                                                                 Original                                                                                                      Original
  Year       Engine                     Options                BCI Group Size   Equipment    Fitment     Year      Engine                     Options                       BCI Group Size    Equipment    Fitment
                                                                   (notes)                    Code                                                                              (notes)                     Code
                                                                                CCA/Rating                                                                                                    CCA/Rating
Mercedes-Benz CL500 (continued)                                                                        Mercedes-Benz CLK500
2005-02 V8/5.0L                                             49 50                 825                  2006    V8/5.0L                                                    49 50                  760
2003    V8/5.0L       AGM                                   49 33, 50            95 Ah                 2005-03 V8/5.0L      w/o AGM                                       49 50                  825
2001-98 V8/5.0L       w/o AGM                               49 50                 825                  Mercedes-Benz CLK55 AMG
Mercedes-Benz CL55 AMG                                                                                 2006-01 V8/5.5L                                                    49 50                  825
2006      V8/5.5L                                           49 33                 850                  2006    V8/5.5L                                                    49 50                  760
2006      V8/5.5L                                           49 33                95 Ah                 Mercedes-Benz CLK550
2005-04   V8/5.5L                                           49 50                 825                  2009-08   V8/5.5L                                                  49 50                 760
2005-02   V8/5.5L                                           49 33, 50            95 Ah                 2009      V8/5.5L    Cabrio                                        49 47, 50            100 Ah
2003      V8/5.5L                                           49 50                 850                  2008      V8/5.5L                                                  49 47, 50            100 Ah
2002      V8/5.5L                                           49 50                 825                  2007      V8/5.5L                                                  49 50                 760
2001      V8/5.5L                                           49 50                 825
                                                                                                       Mercedes-Benz CLK63 AMG
Mercedes-Benz CL550                                                                                    2009-08   V8/6.3L    Cabrio                                        49 47, 50            100 Ah
2014-12   V8/4.6L     Secondary, 4-Matic                    N/A                  1.2 Ah                2009-07   V8/6.3L                                                  49 50                  760
2014-11   V8/4.6L     Aux Battery                           400 33, 54            200                  2008      V8/6.3L    Black                                         48 33, 50             70 Ah
2014-11   V8/4.6L     On-Board Electrical System Battery    49 33, 50, 54         850                  2008      V8/6.3L    Opt                                           48 33                  760
2014-11   V8/4.6L     Primary, 4-Matic                      49 33, 50, 54        95 Ah                 2007      V8/6.3L                                                  49 47, 50            100 Ah
2011      V8/4.6L     Secondary, 4-Matic                    V4                   35 Ah
                                                                                                       Mercedes-Benz CLS400
2010-09   V8/5.5L     4-Matic                               49 33, 47, 50        95 Ah
                                                                                                       2017-16   V6/3.0L    Aux Battery                                   400 33, 54             200
2010-07   V8/5.5L     On-Board Electrical System Battery,   48 33, 50, 54         760
                      Opt                                                                              2017-16   V6/3.0L                                                  48 33, 50, 54          760
2010-07 V8/5.5L       On-Board Electrical System Battery    49 33, 50, 54         850                  2017-16   V6/3.0L    Opt                                           49 33, 50, 54          850
2008-07 V8/5.5L       Primary Battery                       49 33, 47, 50, 54    95 Ah                 2017-16   V6/3.0L    Opt                                           94R 33, 50, 54         800
2008-07 V8/5.5L       Secondary                             V4 50                35 Ah                 2016      V6/3.0L    Opt                                           48 33, 50, 54          800
                                                                                                       2015      V6/3.0L    Aux Battery                                   400 33, 54             200
Mercedes-Benz CL600
                                                                                                       2015      V6/3.0L                                                  48 33, 50, 54          760
2014-08   V12/5.5L    Primary Battery                       49 33, 47, 50, 54    95 Ah
                                                                                                       2015      V6/3.0L    Opt                                           48 33, 50, 54          800
2014-07   V12/5.5L    On-Board Electrical System Battery    49 33, 50, 54         850
                                                                                                       2015      V6/3.0L    Opt                                           49 33, 50, 54          850
2010      V12/5.5L    Secondary                             V4 50                35 Ah
                                                                                                       2015      V6/3.0L    Opt                                           94R 33, 50, 54         800
2007      V12/5.5L    Starting Motor Battery                V4 45, 54             520
2006-03   V12/5.5L                                          49 33, 50, 54         850                  Mercedes-Benz CLS500
2006-03   V12/5.5L                                          49 33, 50            95 Ah                 2006      V8/5.0L                                                  49 50, 54              760
2002      V12/5.8L                                          49 50                 825                  2006      V8/5.0L                                                  49 33                  850
2001      V12/5.8L                                          49 50                 825                  Mercedes-Benz CLS55 AMG
1999-98   V12/6.0L                                          49 50, 54             760         33       2006      V8/5.5L                                                  49 50, 54              760
1999-98   V12/6.0L                                          49 50                 825         33       2006      V8/5.5L                                                  49 33, 50              850
Mercedes-Benz CL63 AMG                                                                                 Mercedes-Benz CLS550
2014-11   V8/5.5L     Aux Battery                           400 33, 54            200                  2017-16   V8/4.6L    Aux Battery                                   400 33, 54             200
2014-11   V8/5.5L     Primary Battery                       49 33, 50, 54         850                  2017      V8/4.6L                                                  48 33, 50, 54          800
2010-08   V8/6.3L     Secondary                             47 33                60 Ah                 2017      V8/4.6L    Opt                                           49 33, 50, 54          850
2010-08   V8/6.3L                                           49 33, 50, 54         850                  2016      V8/4.6L                                                  48 33, 50, 54          800
2010-08   V8/6.3L     Primary Battery                       49 33, 47, 50        95 Ah                 2016      V8/4.6L                                                  49 33, 50, 54          850
Mercedes-Benz CL65 AMG                                                                                 2015-12   V8/4.6L    Aux Battery                                   400 33, 54             200
2014-08   V12/6.0L On-Board Electrical System Battery       49 33, 50, 54         850                  2015-12   V8/4.6L                                                  48 33, 50, 54          800
2014-08   V12/6.0L Primary Battery                          49 33, 47, 50        95 Ah                 2015-12   V8/4.6L                                                  49 33, 50, 54          800
2011-08   V12/6.0L Secondary                                V4 50                35 Ah                 2015      V8/4.6L    Opt                                           49 33, 50, 54          850
2006-05   V12/6.0L                                          49 33, 50, 54         850                  2015      V8/4.6L                                                  94R 33, 47, 50        80 Ah
2006-05   V12/6.0L                                          49 33, 50            95 Ah                 2014-13   V8/4.6L                                                  49 33, 50, 54          850
Mercedes-Benz CLA250                                                                                   2012      V8/4.6L    Opt                                           49 33, 50, 54          850
                                                                                                       2012      V8/4.6L    Primary Battery                               94R 33, 50, 54        80 Ah
2017      L4/2.0L     Aux Battery                           400 33, 54            200
                                                                                                       2011-07   V8/5.5L                                                  49 50, 54              760
2017      L4/2.0L                                           48 33, 50, 54         760
                                                                                                       2011-07   V8/5.5L    Opt                                           49 33, 50, 54          850
2017      L4/2.0L     Opt                                   48 33, 50, 54         800
                                                                                                       2011-07   V8/5.5L                                                  49 33, 47, 50         95 Ah
2016-14   L4/2.0L     Aux Battery                           400 33, 54            200
2016-14   L4/2.0L                                           48 33, 54             760                  Mercedes-Benz CLS63 AMG
2016-14   L4/2.0L     Opt                                   48 33, 50, 54         800                  2014-12   V8/5.5L    Aux Battery                                   400 33, 54             200
Mercedes-Benz CLA45 AMG                                                                                2014-12   V8/5.5L                                                  48 33, 50, 54          800
                                                                                                       2014-12   V8/5.5L                                                  49 33, 50, 54          800
2017      L4/2.0L     Aux Battery                           400 33, 54            200
                                                                                                       2014-12   V8/5.5L    Opt                                           49 33, 50, 54          850
2017      L4/2.0L                                           48 33, 50, 54         760
                                                                                                       2014-12   V8/5.5L                                                  94R 33, 47, 50        80 Ah
2017      L4/2.0L     Opt                                   48 33, 50, 54         800
                                                                                                       2012      V8/5.5L    Opt                                           94R 33, 50, 56        80 Ah
2016-14   L4/2.0L     Aux Battery                           400 33, 54            200
                                                                                                       2011-07   V8/6.3L                                                  49 33, 50, 54          850
2016-14   L4/2.0L                                           48 33, 54             760
                                                                                                       2011-07   V8/6.3L                                                  49 33, 47, 50         95 Ah
2016-14   L4/2.0L     Opt                                   48 33, 50, 54         800
Mercedes-Benz CLK320                                                                                   Mercedes-Benz CLS63 AMG S
                                                                 50                                    2017-16   V8/5.5L    Aux Battery                                   400 33, 54              200
2005-98 V6/3.2L                                             49                    825
                                                                                                       2017-16   V8/5.5L    Opt                                           49 33, 50, 54           850
Mercedes-Benz CLK350                                                                                   2017      V8/5.5L                                                  48 33, 50, 54           800
2009-06 V6/3.5L                                             49 50                760                   2016      V8/5.5L                                                  48 33, 50, 54           800
2009    V6/3.5L       Cabrio, w/o AGM                       49 47, 50           100 Ah                 2015-14   V8/5.5L    Aux Battery                                   400 33, 54              200
2008-06 V6/3.5L       w/o AGM                               49 47, 50           100 Ah                 2015-14   V8/5.5L                                                  48 33, 50, 54           800
Mercedes-Benz CLK430                                                                                   2015      V8/5.5L    Opt                                           49 33, 50, 54           850
2003-99 V8/4.3L                                             49 50                 825                  2014      V8/5.5L                                                  49 33, 50, 54           850
                                                                                                                                                        See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                           63
                                                                                      Original                                                                               Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                 Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                        (notes)                    Code
                                                                                     CCA/Rating                                                                             CCA/Rating
    Mercedes-Benz E250                                                                                      Mercedes-Benz E400
    2016         L4/2.1L        Aux, Dsl                          400 33, 54           200                  2017-16   V6/3.0L    Aux Battery             400 33, 54           200
    2016         L4/2.1L        Dsl                               48 33, 54            760                  2017-16   V6/3.0L                            48 33, 50, 54        760
    2016         L4/2.1L        Dsl, Opt                          49 33, 54            850                  2017-16   V6/3.0L    Opt                     49 33, 50, 54        850
    2015-14      L4/2.1L        Aux, Dsl                          400 33, 54           200                  2015-13   V6/3.5L    Hybrid, Aux             400 33, 54           200
    2015-14      L4/2.1L        Dsl                               48 33, 54            760                  2015-13   V6/3.5L    Hybrid                  49 33, 50, 54        850
    2015-14      L4/2.1L        Dsl, Opt                          49 33, 54            850                  2015      V6/3.0L    Aux Battery             400 33, 54           200
    Mercedes-Benz E280                                                                                      2015      V6/3.0L                            48 33, 50, 54        760
    2007         V6/3.0L                                          49 50, 54            850                  2015      V6/3.0L    Opt                     49 33, 50, 54        850
    Mercedes-Benz E300                                                                                      Mercedes-Benz E420
    2017         L4/2.0L                                          48 33, 54           760                   1997      V8/4.2L                            48                  690
    2017         L4/2.0L        Opt                               49 33, 54           850                   1997      V8/4.2L                            49 47, 50          100 Ah
    2016-15      V6/3.5L        Aux Battery                       400 33, 54          200                   1995-94   V8/4.2L                            49 47, 50          100 Ah
    2016-15      V6/3.5L                                          48 33, 54           760                   1995-94   V8/4.2L                            49 50               825
    2016-15      V6/3.5L        Opt                               49 33, 54           850                   Mercedes-Benz E43 AMG
    2013-12      V6/3.5L        Aux Battery                       400 33, 54          200                   2017      V6/3.0L                            47 33, 50, 54        680
    2013-12      V6/3.5L                                          49 50, 54           850                   2017      V6/3.0L    Opt                     48 33, 50, 54        760
    2009-08      V6/3.0L                                          49 50, 54           850                   2017      V6/3.0L    Opt                     48 33, 50, 54        800
    1999-96      L6/3.0L        Dsl                               49 50              100 Ah                 2017      V6/3.0L    Opt                     49 33, 50, 54        850
    1999-96      L6/3.0L        Dsl                               49 50               825                   Mercedes-Benz E430
    1995         L6/3.0L        Dsl                               49 47, 50          100 Ah                 2002      V8/4.3L                            49 47, 50          100 Ah
    1995         L6/3.0L        Dsl                               49 50               825                   2002      V8/4.3L                            49 50               825
    Mercedes-Benz E320                                                                                      2001      V8/4.3L                            49 47, 50          100 Ah
    2009-08      V6/3.0L        Dsl                               49 33, 50, 54        850                  2000-98   V8/4.3L                            49 47, 50          100 Ah
    2009-08      V6/3.0L        BLUETEC w/AGM                     49 33, 47, 50       95 Ah                 2000-98   V8/4.3L                            49 50               825
    2007         V6/3.0L        Dsl                               49 33, 50            850                  Mercedes-Benz E500
    2006         L6/3.2L        Dsl                               49 33, 50            850                  2006-03   V8/5.0L                            49 33, 47, 50       95 Ah
    2005-04      V6/3.2L        E320S                             49 47, 50          100 Ah                 2006      V8/5.0L                            49 33, 50            850
    2005-03      V6/3.2L        w/AGM                             49 33, 47, 50       95 Ah                 2005-03   V8/5.0L                            49 50                825
    2005-02      V6/3.2L                                          49 50                825                  1994      V8/5.0L                            49 47, 50          100 Ah
    2005         L6/3.2L        Dsl                               49 50                825                  1994      V8/5.0L                            49 50                825
    2005         L6/3.2L        CDI Dsl w/AGM                     49 33, 47, 50       95 Ah                 Mercedes-Benz E55 AMG
    2005         L6/3.2L        w/AGM                             49 33, 47, 50       95 Ah                 2006-04   V8/5.5L                            49 33, 47, 50       95 Ah
    2002-98      V6/3.2L                                          49 47, 50          100 Ah                 2006      V8/5.5L                            49 33, 50            850
    2001         V6/3.2L        Sedan                             49 50                825                  2005-04   V8/5.5L                            49 50                825
    2001         V6/3.2L        Wagon                             49 50                825                  2003      V8/5.5L                            49 50                850
    2000-99      V6/3.2L                                          49 50                825                  2002-99   V8/5.5L                            49 50                825
    1998         V6/3.2L                                          48                   690                  Mercedes-Benz E550
    1997-96      L6/3.2L                                          48                   690
                                                                                                            2017      V8/4.6L                            94R 50, 54           700         30
    1997-96      L6/3.2L                                          49 47, 50          100 Ah
                                                                                                            2016      V8/4.6L    Aux Battery             400 33, 54           200
    1995-94      L6/3.2L        E320C-A                           49 47, 50          100 Ah
                                                                                                            2016      V8/4.6L                            94R 50, 54           700         30
    1995         L6/3.2L                                          48 50                660         29
                                                                                                            2016      V8/4.6L                            94R 33, 50          80 Ah
    1994         L6/3.2L        Ex Cabriolet                      48 50                660         29
                                                                                                            2015-12   V8/4.6L    Aux Battery             400 33, 54           200
    Mercedes-Benz E350                                                                                      2015      V8/4.6L                            94R 50, 54           700         30
                                                                        33, 54
    2016        V6/3.5L Aux Battery                               400                  200                  2015      V8/4.6L                            94R 33, 50          80 Ah
    2016        V6/3.5L                                           48 33, 50, 54        760                  2014-12   V8/4.6L                            94R 50, 54           700         30
    2016        V6/3.5L Opt                                       49 33, 50, 54        850                  2014-12   V8/4.6L                            94R 33, 50          80 Ah
    2015-12 V6/3.5L Aux Battery                                   400 33, 54           200                  2011-10   V8/5.5L    Aux Battery             400 33, 54           200
    2015-12 V6/3.5L                                               48 33, 50, 54        760                  2011-10   V8/5.5L                            49 50, 54            850
    2015-12 V6/3.5L Opt                                           49 33, 50, 54        850                  2011-10   V8/5.5L                            94R 33, 50          80 Ah
    2015        V6/3.5L                                           94R 33, 50, 54      80 Ah                 2009-07   V8/5.5L                            49 50, 54            760
    2014-12 V6/3.5L                                               94R 33, 50, 56      80 Ah                 2009-07   V8/5.5L    Opt                     49 33, 50, 54        850
    2014-10 V6/3.5L Opt                                           48 33, 50, 56       70 Ah                 2009-07   V8/5.5L                            49 33, 47, 50       95 Ah
    2013-12 V6/3.0L Aux, Dsl                                      400 33, 54           200                  Mercedes-Benz E63 AMG
    2013-11 V6/3.0L Dsl                                           48 33, 50, 54        760                  2015-12   V8/5.5L    Aux Battery             400 33, 54           200
    2013-11 V6/3.0L Dsl, Opt                                      49 33, 50, 54        850                  2015      V8/5.5L                            48 33, 50, 54        760
    2011-10 V6/3.5L Aux Battery                                   400 33, 54           200                  2015      V8/5.5L                            94R 33, 50, 54      80 Ah
    2011-10 V6/3.5L                                               48 33, 50, 54        760                  2014-12   V8/5.5L                            48 33, 50, 54        760
    2011-08 V6/3.5L Opt                                           49 33, 50, 54        850                  2014-12   V8/5.5L                            49 33, 50, 54       95 Ah
    2011        V6/3.0L Aux, Dsl                                  400 33, 54           200                  2014-12   V8/5.5L    Opt                     94R 33, 50, 54      80 Ah
    2009-08 V6/3.5L                                               48 50, 54            680                  2011-10   V8/6.3L    Aux Battery             400 33, 54           200
    2009-08 V6/3.5L Opt                                           48 33, 50, 54        760                  2011-10   V8/6.3L                            48 33, 50, 54        760
    2009-08 V6/3.5L Opt                                           49 50, 54            760                  2011-10   V8/6.3L                            94R 33, 50, 54      80 Ah
    2009-06 V6/3.5L                                               49 33, 47, 50       95 Ah                 2009-08   V8/6.3L                            49 33, 50, 54        850
    2007        V6/3.5L                                           48 50, 54            680                  2009-07   V8/6.3L                            49 33, 47, 50       95 Ah
    2007        V6/3.5L Opt                                       48 33, 50, 54        760                  2007      V8/6.3L                            49 33, 50, 54        850
    2007        V6/3.5L Opt                                       49 50, 54            760                  Mercedes-Benz E63 AMG S
    2007        V6/3.5L Opt                                       49 33, 50, 54        850                  2016      V8/5.5L    Aux Battery             400 33, 54           200
    2006        V6/3.5L                                           48 50, 54            680                  2016      V8/5.5L                            48 33, 50, 54        760
    2006        V6/3.5L Opt                                       48 33, 50, 54        760                  2015-14   V8/5.5L    Aux Battery             400 33, 54           200
    2006        V6/3.5L Opt                                       49 50, 54            760                  2015-14   V8/5.5L                            48 33, 50, 54        760
    2006        V6/3.5L Opt                                       49 33, 50, 54        850                  2014      V8/5.5L                            48 33, 50, 54       70 Ah
    See page 88 for Footnotes. Selection may vary by warehouse.

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                                                             929
64                                                                                                Automotive/Light Truck
                                                                 Original                                                                                                  Original
  Year      Engine                 Options     BCI Group Size   Equipment    Fitment     Year      Engine                 Options                       BCI Group Size    Equipment    Fitment
                                                   (notes)                    Code                                                                          (notes)                     Code
                                                                CCA/Rating                                                                                                CCA/Rating
Mercedes-Benz G500                                                                     Mercedes-Benz GLA45 AMG
2008-07   V8/5.0L                            49 50                850                  2017      L4/2.0L    Aux Battery                               400 33, 54             200
2008-02   V8/5.0L    Aux Battery             400 33, 54           200                  2017      L4/2.0L                                              48 33, 54              760
2008      V8/5.0L    AGM                     49 33, 47, 50       95 Ah                 2016-15   L4/2.0L    Aux Battery                               400 33, 54             200
2007-02   V8/5.0L    AGM                     49 33, 47, 50       90 Ah                 2016-15   L4/2.0L                                              48 33, 54              760
2006-02   V8/5.0L                            49 50                825                  Mercedes-Benz GLC300
Mercedes-Benz G55 AMG                                                                  2017-16 L4/2.0L                                                47 33, 54              680
2011-10   V8/5.5L                            49 50, 54            850                  2017-16 L4/2.0L      Opt                                       48 33, 54              760
2011-08   V8/5.5L                            49 33, 47, 50       95 Ah                 Mercedes-Benz GLC43 AMG
2011-03   V8/5.5L    Aux Battery             400 33, 54           200                  2017      V6/3.0L                                              48 33, 54              760
2009-07   V8/5.5L                            49 50, 54            850                  Mercedes-Benz GLE300d
2007-03   V8/5.5L    AGM                     49 33, 47, 50       90 Ah                 2017-16 L4/2.1L      Aux, Dsl                                  400 33, 54             200
2006-03   V8/5.5L                            49 50                825                  2017    L4/2.1L      Dsl                                       49 33, 50, 54          850
2003      V8/5.5L    Opt                     49 33, 50            850                  2016    L4/2.1L      Dsl                                       49 33, 50, 54          850
Mercedes-Benz G550                                                                     Mercedes-Benz GLE350
2017-16   V8/4.0L                            49 33, 50, 54        850                  2017-16 V6/3.5L      Aux Battery                               400 33, 54             200
2015-09   V8/5.5L    Aux Battery             400 33, 54           200                  2017    V6/3.5L                                                49 33, 50, 54          850
2015      V8/5.5L                            49 33, 50, 54        850                  2016    V6/3.5L                                                49 33, 50, 54          850
2014-09   V8/5.5L                            49 33, 50, 54        850
2014-09   V8/5.5L    AGM                     49 33, 47, 50      90-95 Ah
                                                                                       Mercedes-Benz GLE350d
                                                                                       2016      V6/3.0L    Aux, Dsl                                  400 33, 54             200
Mercedes-Benz G63 AMG                                                                  2016      V6/3.0L    Dsl                                       49 33, 50, 54          850
                                                   33, 54
2017-16   V8/5.5L    Aux Battery             400                  200
                                                                                       Mercedes-Benz GLE400
2017      V8/5.5L                            49 33, 50, 54        850
                                                                                       2017-16 V6/3.0L      Aux Battery                               400 33, 54             200
2016      V8/5.5L                            49 33, 50, 54        850
                                                                                       2017    V6/3.0L                                                49 33, 50, 54          850
2015-13   V8/5.5L    Aux Battery             400 33, 54           200
                                                                                       2016    V6/3.0L                                                49 33, 50, 54          850
2015      V8/5.5L                            49 33, 50, 54        850
2014-13   V8/5.5L                            49 33, 50, 54        850                  Mercedes-Benz GLE43 AMG
2014-13   V8/5.5L                            94R 33, 50          80 Ah                 2017      V6/3.0L    Aux Battery                               400 33, 54             200
                                                                                       2017      V6/3.0L                                              49 33, 50, 54          850
Mercedes-Benz G65 AMG
2017      V12/6.0L                           49 33, 50, 54        850                  Mercedes-Benz GLE450 AMG
2016      V12/6.0L                           49 33, 50, 54        850                  2016      V6/3.0L    Aux Battery                               400 33, 54             200
                                                                                       2016      V6/3.0L                                              49 33, 50, 54          850
Mercedes-Benz GL320
2009-07 V6/3.0L      Dsl                     49 50, 54            850
                                                                                       Mercedes-Benz GLE550
2009-07 V6/3.0L      Dsl, w/AGM              49 33, 47, 50      90-95 Ah               2017-16 V8/4.6L      Aux Battery                               400 33, 54             200
                                                                                       2017    V8/4.6L                                                49 33, 50, 54          850
Mercedes-Benz GL350                                                                    2016    V8/4.6L                                                49 33, 50, 54          850
2016      V6/3.0L    Aux, Dsl                400 33, 54           200
2016      V6/3.0L    Dsl                     49 33, 50, 54        850
                                                                                       Mercedes-Benz GLE550e
2015-13   V6/3.0L    Aux, Dsl                400 33, 54           200                  2017-16 V6/3.0L      Hybrid, Aux                               400 33, 54             200
2015      V6/3.0L    Dsl                     49 33, 50, 54        850                  2017-16 V6/3.0L      Hybrid                                    49 33, 50, 54          850
2014-10   V6/3.0L    Dsl                     49 33, 50, 54        850                  Mercedes-Benz GLE63 AMG
2014-10   V6/3.0L    Dsl, w/AGM              49 33, 47, 50      90-95 Ah               2017-16 V8/5.5L      Aux Battery                               400 33, 54             200
Mercedes-Benz GL450                                                                    2017    V8/5.5L                                                49 33, 50, 54          850
                                                                                       2016    V8/5.5L                                                49 33, 50, 54          850
2016      V6/3.0L    Aux Battery             400 33, 54           200
2016      V6/3.0L                            49 33, 50, 54        850                  Mercedes-Benz GLE63 AMG S
2015      V6/3.0L    Aux Battery             400 33, 54           200                  2017-16 V8/5.5L      Aux Battery                               400 33, 54             200
2015      V6/3.0L                            49 33, 50, 54        850                  2017    V8/5.5L                                                49 33, 50, 54          850
2014-13   V8/4.6L    Aux Battery             400 33, 54           200                  2016    V8/5.5L                                                49 33, 50, 54          850
2014-07   V8/4.6L                            49 33, 50, 54        850                  Mercedes-Benz GLK250
2014-07   V8/4.6L    AGM                     49 33, 47, 50      90-95 Ah               2015-13 L4/2.1L      Aux, Dsl                                  400 33, 54             200
Mercedes-Benz GL550                                                                    2015-13 L4/2.1L      Dsl                                       48 33, 50, 54          800
2016      V8/4.6L    Aux Battery             400 33, 54           200                  Mercedes-Benz GLK350
2016      V8/4.6L                            49 33, 50, 54        850                  2015-10   V6/3.5L    Aux Battery                               400 33, 54             200
2015-13   V8/4.6L    Aux Battery             400 33, 54           200                  2015      V6/3.5L                                              48 33, 50, 54          760
2015      V8/4.6L                            49 33, 50, 54        850                  2015      V6/3.5L                                              94R 33, 50, 54        80 Ah
2014-13   V8/4.6L                            49 33, 50, 54        850                  2014-13   V6/3.5L                                              48 33, 50, 54          760
2014-13   V8/4.6L    AGM                     49 33, 47, 50      90-95 Ah               2012-10   V6/3.5L                                              48 50, 54              680
2012-08   V8/5.5L                            49 33, 50, 54        850                  2012-10   V6/3.5L    Opt                                       48 33, 50, 54          760
2012-08   V8/5.5L    AGM                     49 33, 47, 50      90-95 Ah               2012-10   V6/3.5L    Opt                                       48 33, 50, 54          800
Mercedes-Benz GL63 AMG                                                                 2012-10   V6/3.5L    Opt                                       49 33, 50, 54          800
2016      V8/5.5L    Aux Battery             400 33, 54           200                  2012-10   V6/3.5L    Opt                                       94R 50, 54             700         30
                                                                                       2012-10   V6/3.5L    AGM                                       94R 33, 50            80 Ah
2016      V8/5.5L                            49 33, 50, 54        850
2015-13   V8/5.5L    Aux Battery             400 33, 54           200                  Mercedes-Benz GLS350d
2015      V8/5.5L                            49 33, 50, 54        850                  2017      V6/3.0L    Aux, Dsl                                  400 33, 54             200
2014-13   V8/5.5L                            49 33, 50, 54        850                  2017      V6/3.0L    Dsl                                       49 33, 50, 54          850
2014-13   V8/5.5L    AGM                     49 33, 47, 50      90-95 Ah               Mercedes-Benz GLS450
Mercedes-Benz GLA250                                                                   2017      V6/3.0L    Aux Battery                               400 33, 54             200
2017      L4/2.0L    Aux Battery             400 33, 54           200                  2017      V6/3.0L                                              49 33, 50, 54          850
2017      L4/2.0L                            48 33, 54            760                  Mercedes-Benz GLS550
2016-15   L4/2.0L    Aux Battery             400 33, 54           200                  2017      V8/4.6L    Aux Battery                               400 33, 54              200
2016-15   L4/2.0L                            48 33, 54            760                  2017      V8/4.6L                                              49 33, 50, 54           850
                                                                                                                                    See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                  Costco_001614
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    Automotive/Light Truck                                                                                                                                                                        65
                                                                                      Original                                                                                            Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                  Options                 BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                                     (notes)                    Code
                                                                                     CCA/Rating                                                                                          CCA/Rating
    Mercedes-Benz GLS63 AMG                                                                                 Mercedes-Benz ML550 (continued)
    2017         V8/5.5L        Aux Battery                       400 33, 54           200                  2014-12   V8/4.6L    AGM                                  49 33, 47, 50       95 Ah
    2017         V8/5.5L                                          49 33, 50, 54        850                  2011-10   V8/5.5L                                         49 50, 54            850
    Mercedes-Benz Maybach S550                                                                              2011-08   V8/5.5L    AGM                                  49 33, 47, 50       95 Ah
    2017         V8/4.6L        Aux Battery                       400 33, 54           200                  2009-08   V8/5.5L                                         49 50, 54            850
    2017         V8/4.6L                                          48 33, 50, 54        760                  Mercedes-Benz ML63 AMG
    2017         V8/4.6L        Opt                               48 33, 50, 54        800                  2015-12   V8/5.5L    Aux Battery                          400 33, 54           200
    2017         V8/4.6L        Opt                               49 33, 50, 54        850                  2015      V8/5.5L                                         49 50, 54            850
    Mercedes-Benz Maybach S600                                                                              2014-12   V8/5.5L                                         49 50, 54            850
    2017-16 V12/6.0L Aux Battery                                  400 33, 54           200                  2014-12   V8/5.5L    AGM                                  49 33, 47, 50       95 Ah
    2017-16 V12/6.0L                                              48 33, 54            760                  2011-10   V8/6.3L                                         49 50, 54            850
    2017-16 V12/6.0L Opt                                          49 33, 54            850                  2011-07   V8/6.3L    AGM                                  49 33, 47, 50       95 Ah
                                                                                                            2009-07   V8/6.3L                                         49 50, 54            850
    Mercedes-Benz Metris
    2017         L4/2.0L                                          48 50, 54            680         29
                                                                                                            Mercedes-Benz R320
    2017         L4/2.0L        Opt                               48 33, 50, 54        760                  2009-07 V6/3.0L      Dsl                                  49 33, 50, 54        850
    2017         L4/2.0L        Opt                               49 50, 54            760                  2009    V6/3.0L      Dsl w/AGM, BlueTEC                   49 33, 47, 50      90-95 Ah
    2017         L4/2.0L        Opt                               49 33, 50, 54        850                  Mercedes-Benz R350
    2016         L4/2.0L                                          48 50, 54            680                  2013-12   V6/3.5L                                         48 33, 50, 54        760
    2016         L4/2.0L        Opt                               48 33, 50, 54        760                  2013-12   V6/3.5L    Opt                                  49 33, 50, 54        850
    2016         L4/2.0L        Opt                               49 50, 54            760                  2013-10   V6/3.0L    Dsl                                  49 33, 50, 54        850
    2016         L4/2.0L        Opt                               49 33, 50, 54        850                  2013-06   V6/3.5L    AGM                                  49 33, 47, 50      90-95 Ah
    Mercedes-Benz ML250                                                                                     2012-10   V6/3.0L    Dsl w/AGM, BlueTEC                   49 33, 47, 50      90-95 Ah
                                                                                                            2011-08   V6/3.5L                                         49 33, 50, 54        850
    2015         L4/2.1L        Aux, Dsl                          400 33, 54           200
                                                                                                            2007-06   V6/3.5L                                         49 33, 50, 54        950
    2015         L4/2.1L        Dsl                               49 33, 50, 54        850
    Mercedes-Benz ML320                                                                                     Mercedes-Benz R500
                                                                       33, 47, 50                           2007-06 V8/5.0L      AGM                                  49 33, 47, 50      90-95 Ah
    2009-07      V6/3.0L        AGM, CDI/BlueTEC                  49                  95 Ah
                                                                                                            2007-06 V8/5.0L                                           49 33, 50, 54        950
    2009         V6/3.0L        Dsl                               49 50                760
    2008-07      V6/3.0L        Dsl                               49 50                850                  Mercedes-Benz R63 AMG
    2003-98      V6/3.2L                                          49                   825                  2007      V8/6.3L                                         49 33, 50, 54        850
    2003-98      V6/3.2L        AGM, Opt                          49 33, 50, 54      90-95 Ah               2007      V8/6.3L    AGM                                  49 33, 47, 50      90-95 Ah
    Mercedes-Benz ML350                                                                                     Mercedes-Benz S320
    2015-12      V6/3.0L        Aux, Dsl                          400    33, 54
                                                                                       200                  1999-94 L6/3.2L                                           49 50                825
    2015-12      V6/3.5L        Aux Battery                       400 33, 54           200                  Mercedes-Benz S350
    2015         V6/3.0L        Dsl                               49 33, 50, 54        850                  2013-12   V6/3.0L    Aux, Dsl                             400 33, 54           200
    2015         V6/3.5L                                          49 33, 50, 54        850                  2013-12   V6/3.0L    Dsl w/AGM, BlueTEC                   49 33, 50            850
    2014-12      V6/3.0L        Dsl                               49 33, 50, 54        850                  2006      V6/3.7L    AGM                                  49 33, 50            850
    2014-12      V6/3.5L                                          49 33, 50, 54        850                  1995-94   L6/3.4L    Dsl                                  49 33, 50, 54        760
    2014-06      V6/3.5L        AGM                               49 33, 47, 50       95 Ah                 1995-94   L6/3.4L                                         49                   825
    2012-10      V6/3.0L        Dsl, w/AGM                        49 33, 47, 50       95 Ah                 Mercedes-Benz S400
    2011-10      V6/3.0L        Dsl                               49 33, 50, 54        850                  2013-10   V6/3.5L    Hybrid, Aux                          400 33, 54           200
    2011-08      V6/3.5L                                          49 33, 50, 54        850                  2013      V6/3.5L    Hybrid                               48 33, 50, 54        760
    2007-06      V6/3.5L        AGM, 163/164 Series               49 33, 47, 50       90 Ah                 2012-10   V6/3.5L    Hybrid                               48 33, 50, 54        760
    2007-06      V6/3.5L                                          49 33, 50, 54        950                  2012-10   V6/3.5L    Hybrid                               94R 33, 50, 54      80 Ah
    2005-04      V6/3.7L                                          49 50, 54            760                  Mercedes-Benz S420
    2005-04      V6/3.7L                                          49 50                825
                                                                                                            1999-94 V8/4.2L                                           49                   825
    2003         V6/3.7L                                          49                   825
    Mercedes-Benz ML400                                                                                     Mercedes-Benz S430
                                                                                                            2006-02 V8/4.3L      AGM                                  49 33, 50            850
    2015         V6/3.0L        Aux Battery                       400 33, 54           200
                                                                                                            2005-02 V8/4.3L                                           49 33, 50            825
    2015         V6/3.0L                                          49 33, 50, 54        850
                                                                                                            2001-00 V8/4.3L                                           49                   825
    Mercedes-Benz ML430                                                                                     Mercedes-Benz S450
    2001-99 V8/4.3L                                               49                   825
                                                                                                            2011-08 V8/4.6L      Aux Battery                          400 33, 54           200
    Mercedes-Benz ML450                                                                                     2011-08 V8/4.6L      On-Board Electrical System Battery   49 33, 50, 54        850
                                                                       50, 54
    2011-10 V6/3.5L             Hybrid                            49                   850                  2011-08 V8/4.6L      Starting Motor Battery               V4 45, 54            520
    2011-10 V6/3.5L             AGM                               49 33, 47, 50       95 Ah                 Mercedes-Benz S500
    Mercedes-Benz ML500                                                                                     2006-02 V8/5.0L      AGM                                  49 33, 50            850
    2007-06      V8/5.0L        AGM                               49 33, 47, 50       95 Ah                 2001-94 V8/5.0L                                           49 33, 50, 54        760
    2007         V8/5.0L                                          49 50                950                  2001-94 V8/5.0L                                           49 50                825
    2006         V8/5.0L                                          49 33, 50            950                  Mercedes-Benz S55 AMG
    2005-03      V8/5.0L                                          49                   825                  2006      V8/5.5L                                         49 33, 50            850
    2005-02      V8/5.0L                                          49 50                825                  2005-04   V8/5.5L                                         49 33, 50            825
    2002         V8/5.0L                                          49                 100 Ah                 2003      V8/5.5L                                         49 50                850
    2002         V8/5.0L                                          49                   825                  2002-01   V8/5.5L                                         49 33, 50            825
    Mercedes-Benz ML55 AMG                                                                                  Mercedes-Benz S550
    2003-00 V8/5.5L                                               49 47, 50          100 Ah                 2017-16   V8/4.6L    Aux Battery                          400 33, 54          200
    2003-00 V8/5.5L                                               49                  825                   2017-16   V8/4.6L    On-Board Electrical System Battery   49 33, 50, 54       850
    Mercedes-Benz ML550                                                                                     2016      V8/4.6L    Starting Battery                     V4 50, 54           520
    2015        V8/4.6L Aux Battery                               400 33, 54           200                  2015-14   V8/4.6L    Opt                                  95R 33, 50, 54     105 Ah
    2015        V8/4.6L                                           49 50, 54            850                  2015-12   V8/4.6L    Aux Battery                          400 33, 54          200
    2014-12 V8/4.6L Aux Battery                                   400 33, 54           200                  2015      V8/4.6L    On-Board Electrical System Battery   49 33, 50, 54       850
    2014-12 V8/4.6L                                               49 50, 54            850                  2015      V8/4.6L    Starting Motor Battery               V4 54               520
    See page 88 for Footnotes. Selection may vary by warehouse.

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66                                                                                                             Automotive/Light Truck
                                                                              Original                                                                                                        Original
  Year      Engine                  Options                 BCI Group Size   Equipment    Fitment     Year       Engine                      Options                       BCI Group Size    Equipment    Fitment
                                                                (notes)                    Code                                                                                (notes)                     Code
                                                                             CCA/Rating                                                                                                      CCA/Rating
Mercedes-Benz S550 (continued)                                                                      Mercedes-Benz SL550
2014-12   V8/4.6L                                         49 33, 50            850                  2017      V8/4.6L                                                    49 33, 50, 54          850
2013-12   V8/4.6L    Opt                                  94R 33, 50, 54      80 Ah                 2016      V8/4.6L     Aux Electronics Battery                        49 33, 50, 54          850
2011-07   V8/5.5L    Aux Battery                          400 33, 54           200                  2015      V8/4.6L     On-Board Electrical System Battery             49 33, 50, 54          850
2011-07   V8/5.5L                                         49 33, 50            850                  2015      V8/4.6L     Starting Motor Battery                         V4 54                  520
2011-07   V8/5.5L    Secondary                            V4                  35 Ah                 2014-13   V8/4.6L     On-Board Electrical System Battery             49 33, 50, 54          850
2008-07   V8/5.5L    Opt                                  47 33, 50, 54       60 Ah                 2014-13   V8/4.6L     Starting Motor Battery                         V4 45, 54              520
Mercedes-Benz S550e                                                                                 2012-07   V8/5.5L     AGM, In trunk                                  48 33, 47             70 Ah
                                                                                                    2012-07   V8/5.5L     On-Board Electrical System Battery             48 33, 50, 54          760
2017-15 V6/3.0L      Hybrid, Aux                          400 33, 54           200
                                                                                                    2012-07   V8/5.5L     AGM, Opt                                       49 33, 47             95 Ah
2017-15 V6/3.0L      Hybrid                               48 33, 54            760
                                                                                                    2012-07   V8/5.5L     Secondary                                      V4 50                 35 Ah
2017-15 V6/3.0L      Hybrid, Opt                          49 33, 54            850
Mercedes-Benz S600                                                                                  Mercedes-Benz SL600
                                                                33, 54
                                                                                                    2011-04   V12/5.5L AGM                                               48 33, 47             70 Ah
2017-16   V12/6.0L   Aux Battery                          400                  200
                                                                                                    2011-04   V12/5.5L On-Board Electrical System Battery                48 33, 50, 54          760
2017-16   V12/6.0L                                        48 33, 54            760                  2009-05   V12/5.5L Secondary                                         V4                    35 Ah
2017-16   V12/6.0L   Opt                                  49 33, 54            850                  2002-94   V12/6.0L                                                   49                     825
2015      V12/6.0L   Aux Battery                          400 33, 54           200
                                                                                                    Mercedes-Benz SL63 AMG
2015      V12/6.0L                                        48 33, 54            760
                                                                                                    2017      V8/5.5L                                         49 33, 50, 54                     860
2015      V12/6.0L   Opt                                  49 33, 54            850
                                                                                                    2016      V8/5.5L                                         49 33, 50, 54                     850
2013-08   V12/5.5L   Aux Battery                          49 33, 47, 50       95 Ah                 2016      V8/5.5L     Starting Battery                    V4 50, 54                         520
2013-08   V12/5.5L   Primary Battery                      V4 50               35 Ah                 2015-13   V8/5.5L                                         49 33, 50, 54                     850
2013-07   V12/5.5L   Aux Battery                          400 33, 54           200                  2015-13   V8/5.5L     On-Board Electrical System Battery, 49 33, 50, 54                    95 Ah
2013-07   V12/5.5L   On-Board Electrical System Battery   49 33, 50, 54        850                                        Opt
2007-03   V12/5.5L   AGM                                  49 33, 50           95 Ah                 2015-13   V8/5.5L     Aux Battery                         N/A 33                           12 Ah
2006-03   V12/5.5L                                        49 33, 50, 54        850                  2015      V8/5.5L     On-Board Electrical System Battery 48 33, 50, 54                      760
2002-01   V12/5.8L                                        49                   825                  2015      V8/5.5L     Starting Motor Battery              V4 54                             520
1999-94   V12/6.0L                                        49                   825                  2012-09   V8/6.3L     On-Board Electrical System Battery 48 33, 50, 54                      760
Mercedes-Benz S63 AMG                                                                               2011-09   V8/6.3L     Aux Battery                         48 33, 50                        70 Ah
2017-16   V8/5.5L                                         48 33, 50, 54       760                   2011-09   V8/6.3L     Starting Battery                    V4 50                            35 Ah
2017-11   V8/5.5L    Aux Battery                          400 33, 54          200                   Mercedes-Benz SL65 AMG
2017      V8/5.5L    Opt                                  49 33, 50, 54       850                   2017-16   V12/6.0L                                                   49 33, 50, 54          850
2016      V8/5.5L                                         49 33, 50, 54       850                   2016      V12/6.0L    Starting Battery                               V4 50, 54              520
2015-14   V8/5.5L    Opt                                  95R 33, 50, 54     105 Ah                 2015-13   V12/6.0L                                                   49 33, 50, 54          850
2015      V8/5.5L                                         48 33, 50, 54       760                   2015-13   V12/6.0L    Aux Battery                                    N/A 33                12 Ah
2015      V8/5.5L                                         49 33, 50, 54       850                   2015      V12/6.0L    On-Board Electrical System Battery             48 33, 50, 54          760
2014-11   V8/5.5L    AGM                                  49 33, 47, 50      95 Ah                  2015      V12/6.0L    Starting Motor Battery                         V4 54                  520
2014      V8/5.5L                                         48 33, 50, 54       760                   2014-13   V12/6.0L    On-Board Electrical System Battery             48 33, 50, 54          760
2014      V8/5.5L    Opt                                  49 33, 50, 54       850                   2011-05   V12/6.0L    AGM                                            48 33, 47             70 Ah
2013-11   V8/5.5L                                         49 33, 50, 54       850                   2011-05   V12/6.0L    On-Board Electrical System Battery             48 33, 50, 54          760
2013-11   V8/5.5L    Opt                                  94R 33, 50, 54     80 Ah                  Mercedes-Benz SLC300
2010-09   V8/6.3L    AGM                                  49 33, 47, 50      95 Ah                  2017      L4/2.0L                                                    48 33, 54              760
2010-08   V8/6.3L    Aux Battery                          400 33, 54          200                   Mercedes-Benz SLC43 AMG
2010-08   V8/6.3L                                         49 33, 50, 54       850                   2017      V6/3.0L                                                    48 33, 54              760
Mercedes-Benz S65 AMG                                                                               Mercedes-Benz SLK230
2017-16   V12/6.0L                                        48 33, 54            760                  2004-02 L4/2.3L                                                      48 50                  690         29
2017-16   V12/6.0L   Opt                                  49 33, 54            850                  2001-00 L4/2.3L                                                      49                     825
2017-15   V12/6.0L   Aux Battery                          400 33, 54           200                  1999-98 L4/2.3L                                                      48                     690         29
2015      V12/6.0L                                        48 33, 54            760                  Mercedes-Benz SLK250
2015      V12/6.0L   Opt                                  49 33, 54            850
                                                                                                    2015      L4/1.8L                                                    48 33, 50, 54          760
2013-08   V12/6.0L   AGM, Secondary                       49 33, 47, 50       95 Ah                 2015      L4/1.8L     Opt                                            94R 33, 50, 54        80 Ah
2013-08   V12/6.0L   Primary Battery                      V4 50               35 Ah                 2014-13   L4/1.8L                                                    94R 33, 50, 54        80 Ah
2013-07   V12/6.0L   Aux Battery                          400 33, 54           200                  2014-12   L4/1.8L                                                    48 33, 50, 54          760
2013-07   V12/6.0L   On-Board Electrical System Battery   49 33, 50, 54        850                  2012      L4/1.8L                                                    94R 33, 50, 56        80 Ah
2007-06   V12/6.0L   AGM                                  49 33, 47, 50       95 Ah
2006      V12/6.0L                                        49 33, 50, 54        850
                                                                                                    Mercedes-Benz SLK280
                                                                                                    2008-06 V6/3.0L                                                      48 50, 54              680         29
Mercedes-Benz SL320                                                                                 2006    V6/3.0L                                                      98R 33, 50             760
1997-94 L6/3.2L                                           49                   825
                                                                                                    Mercedes-Benz SLK300
Mercedes-Benz SL400                                                                                 2016    L4/2.0L                                                      48 33, 54              760
2016      V6/3.0L                                         49 33, 54            850                  2011-09 V6/3.0L                                                      48 50, 54              680         29
2015      V6/3.0L                                         49 33, 54            850                  Mercedes-Benz SLK32 AMG
Mercedes-Benz SL450                                                                                 2004-02 V6/3.2L                                                      48                     690         29
2017      V6/3.0L                                         49 33, 50, 54        850                  Mercedes-Benz SLK320
Mercedes-Benz SL500                                                                                 2004-02 V6/3.2L                                                      48                     690         29
2006-03 V8/5.0L      AGM                                  48 33, 47, 50       70 Ah                 2001    V6/3.2L                                                      49 50                  825
2006-03 V8/5.0L      On-Board Electrical System Battery   48 33, 50, 54        760                  Mercedes-Benz SLK350
2002-94 V8/5.0L                                           49 50                825                  2016      V6/3.5L                                                    48 33, 50, 54           760
Mercedes-Benz SL55 AMG                                                                              2015-12   V6/3.5L                                                    48 33, 50, 54           760
2008-03 V8/5.5L      AGM                                  48 33, 47, 50       70 Ah                 2015      V6/3.5L                                                    48 50, 54               680        29
2008-03 V8/5.5L      On-Board Electrical System Battery   48 33, 50, 54        760                  2015      V6/3.5L     Opt                                            94R 33, 50, 54        80 Ah
2008-03 V8/5.5L      Secondary                            V4 50               35 Ah                 2014-12   V6/3.5L     Opt                                            94R 33, 50, 54        80 Ah
                                                                                                                                                       See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                                     Costco_001616
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 333Mercury
                                                                                 of
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    Automotive/Light Truck                                                                                                                                                               67
                                                                                        Original                                                                                 Original
        Year         Engine                         Options           BCI Group Size   Equipment    Fitment     Year      Engine                    Options    BCI Group Size   Equipment    Fitment
                                                                          (notes)                    Code                                                          (notes)                    Code
                                                                                       CCA/Rating                                                                               CCA/Rating
    Mercedes-Benz SLK350 (continued)                                                                          Mercury Capri
    2011-05 V6/3.5L                                                 47 50, 54            480         28       1994    L4/1.6L                                 35                  460          3
    2011-05 V6/3.5L                                                 48 50, 54            680         29       1993-91 L4/1.6L                                 35                  390          3
    Mercedes-Benz SLK55 AMG                                                                                   Mercury Colony Park
    2016         V8/5.5L                                            48 33, 50            680                  1991      V8/5.0L                               65                  650          1
    2015-12      V8/5.5L        Opt                                 94R 33, 50, 54      80 Ah                 1990      V8/5.0L                               58                  540          8
    2015         V8/5.5L                                            48 50, 54            680         29       Mercury Comet
    2014-12      V8/5.5L                                            48 50, 54            680         29       1970-64 V8/7.0L      Ex 428                     22F                 250         38
    2011-10      V8/5.5L                                            48 50, 54            680                  Mercury Cougar
    2011-05      V8/5.5L                                            48 50               74 Ah
                                                                                                              2002-99   L4/2.0L                               40R                 590         19
    2009-07      V8/5.5L                                            48 50, 54            680
                                                                                                              2002-99   V6/2.5L                               40R                 590         19
    2006         V8/5.5L                                            98R 33, 50           760
                                                                                                              1997-94   V6/3.8L    Can & Opt                  65                  650          1
    2006         V8/5.5L        Opt                                 98R 33, 50           760
                                                                                                              1997-94   V8/4.6L                               65                  650          1
    2005         V8/5.5L                                            49                   825
                                                                                                              1997      V6/3.8L                               59                  540         34
    Mercedes-Benz SLR McLaren                                                                                 1996      V6/3.8L    Early                      58                  540          8
    2009-06 V8/5.5L            On-Board Electrical System Battery   98R 33, 50           760                  1996      V6/3.8L    US, Late                   59                  540         34
    2009-05 V8/5.5L            Starting Motor Battery               V4 45, 54            520                  1995-94   V6/3.8L                               58                  540          8
    2005    V8/5.5L            On-Board Electrical System Battery   49                   825                  1993-91   V8/5.0L                               65                  650          1
    Mercedes-Benz SLS AMG                                                                                     1993-90   V6/3.8L    Can or Cold Climate Pkg    65                  650          1
    2014-11 V8/6.3L                                                 48 33, 50, 54       70 Ah                 1993      V6/3.8L    US                         58                  540          8
    2014-11 V8/6.3L                                                 48 33, 50, 54        760                  1993      V6/3.8L    Opt                        65                  650          1
    Mercedes-Benz Sprinter 2500                                                                               1992-90   V6/3.8L                               58                  460          8
    2017         L4/2.1L        Dsl                                 48 50, 54            680         29       1992-90   V6/3.8L    Opt                        58                  540          8
    2017         L4/2.1L        Dsl, Opt                            48 33, 50, 54        760                  1990      V6/3.8L    S/C                        65                  650          1
    2017         L4/2.1L        Dsl, Opt                            49 50, 54            760                  1980      L6/3.3L                               63                  450
    2017         L4/2.1L        Dsl, Opt                            49 33, 50, 54        850                  1980      V8/4.2L                               63                  450
    2017         V6/3.0L        Dsl                                 48 50, 54            680         29       1980      V8/5.0L                               63                  450
    2017         V6/3.0L        Dsl, Opt                            48 33, 50, 54        760                  1979-78   V8/5.0L    Opt                        56                  535
    2017         V6/3.0L        Dsl, Opt                            49 50, 54            760                  1979-78   V8/5.8L    Opt                        56                  535
    2017         V6/3.0L        Dsl, Opt                            49 33, 50, 54        850                  1978      V8/6.6L    Opt                        56                  535
    2016-14      L4/2.1L                                            49 50                850                  1977-73   V8/6.6L                               24F                 325         23
    2016         L4/2.1L        Dsl                                 48 50, 54            680                  1977-69   V8/5.8L                               24F                 325         23
    2016         L4/2.1L        Dsl, Opt                            48 33, 50, 54        760                  1977      V8/5.0L                               24F                 325         23
    2016         L4/2.1L        Dsl, Opt                            49 50, 54            760                  1976-73   V8/7.5L                               24F                 325         23
    2016         V6/3.0L        Dsl                                 48 50, 54            680                  1971-68   V8/5.0L                               24F                 325         23
    2016         V6/3.0L        Dsl, Opt                            48 33, 50, 54        760                  1971-68   V8/7.0L                               24F                 325         23
                                                                                                              1970-67   V8/6.4L                               24F                 325         23
    2016         V6/3.0L        Dsl, Opt                            49 50, 54            760
                                                                                                              1968-67   V8/4.7L                               24F                 325         23
    2016         V6/3.0L                                            49 50                850
    2015-14      L4/2.1L        Dsl                                 48 50, 54            680                  Mercury Grand Marquis
    2015-14      L4/2.1L        Dsl, Opt                            48 33, 50, 54        760                  2011-98   V8/4.6L                               65                  650          1
    2015-14      L4/2.1L        Dsl, Opt                            49 50, 54            760                  2011-09   V8/4.6L    HD or PPkg                 65                  750          1
    2015-10      V6/3.0L        Dsl                                 48 50, 54            680                  2006-97   V8/4.6L    Can & Opt                  65                  750          1
    2015-10      V6/3.0L        Dsl, Opt                            48 33, 50, 54        760                  1997      V8/4.6L    US                         59                  540         34
    2015-10      V6/3.0L        Dsl, Opt                            49 50, 54            760                  1996-95   V8/4.6L    PPkg                       65                  850          1
    2015         V6/3.0L        Dsl                                 49 50                850                  1996-93   V8/4.6L    US, Opt or Can             65                  750          1
    2014-10      V6/3.0L        Dsl                                 49 50                850                  1996      V8/4.6L    US, Early                  58                  540          8
    Mercedes-Benz Sprinter 3500                                                                               1996      V8/4.6L    Late                       59                  540         34
                                                                                                              1995-93   V8/4.6L    US                         58                  540          8
    2017        L4/2.1L Dsl                                         48 50, 54            680         29
                                                                                                              1993-92   V8/4.6L    w/HWS                      65                  850          1
    2017        L4/2.1L Dsl, Opt                                    48 33, 50, 54        760
                                                                                                              1992      V8/4.6L    Ex HWS                     65                  650          1
    2017        L4/2.1L Dsl, Opt                                    49 50, 54            760
                                                                                                              1991-90   V8/5.0L    w/HWS                      65                  850          1
    2017        L4/2.1L Dsl, Opt                                    49 33, 50, 54        850
                                                                                                              1991      V8/5.0L                               65                  650          1
    2017        V6/3.0L Dsl                                         48 50, 54            680         29
                                                                                                              1990      V8/5.0L                               58                  540          8
    2017        V6/3.0L Dsl, Opt                                    48 33, 50, 54        760
                                                                                                              1990      V8/5.0L    Opt                        65                  650          1
    2017        V6/3.0L Dsl, Opt                                    49 50, 54            760
                                                                                                              1980      V8/5.0L                               64                  535
    2017        V6/3.0L Dsl, Opt                                    49 33, 50, 54        850
                                                                                                              1980      V8/5.8L                               64                  535
    2016-14 L4/2.1L                                                 49 50                850
                                                                                                              1979-78   V8/5.8L                               56                  535
    2016        L4/2.1L Dsl                                         48 50, 54            680
                                                                                                              1979      V8/5.0L                               56                  535
    2016        L4/2.1L Dsl, Opt                                    48 33, 50, 54        760
                                                                                                              1978      V8/6.6L                               56                  535
    2016        L4/2.1L Dsl, Opt                                    49 50, 54            760
                                                                                                              1978      V8/7.5L                               56                  535
    2016        V6/3.0L Dsl                                         48 50, 54            680
                                                                                                              1977-75   V8/6.6L                               24F                 325         23
    2016        V6/3.0L Dsl, Opt                                    48 33, 50, 54        760
                                                                                                              1977-75   V8/7.5L                               24F                 325         23
    2016        V6/3.0L Dsl, Opt                                    49 50, 54            760
    2016        V6/3.0L                                             49 50                850                  Mercury Marauder
    2015-14 L4/2.1L Dsl                                             48 50, 54            680                  2004-03 V8/4.6L                                 65                  650          1
    2015-14 L4/2.1L Dsl, Opt                                        48 33, 50, 54        760                  Mercury Mariner
    2015-14 L4/2.1L Dsl, Opt                                        49 50, 54            760                  2011-10   V6/3.0L                               96R                 590         32
    2015-10 V6/3.0L Dsl                                             48 50, 54            680                  2011-09   L4/2.5L    Hybrid                     96R                 500         32
    2015-10 V6/3.0L Dsl, Opt                                        48 33, 50, 54        760                  2009-05   V6/3.0L                               40R                 590         19
    2015-10 V6/3.0L Dsl, Opt                                        49 50, 54            760                  2009      L4/2.5L                               40R                 590         19
    2015        V6/3.0L Dsl                                         49                   850                  2008-06   L4/2.3L    Hybrid                     96R                 500         32
    2014-10 V6/3.0L Dsl                                             49 50                850                  2008-05   L4/2.3L                               40R                 590         19
    See page 88 for Footnotes. Selection may vary by warehouse.

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68                                                                                              Automotive/Light Truck
                                                               Original                                                                                                         Original
  Year      Engine                Options    BCI Group Size   Equipment    Fitment     Year      Engine                   Options                        BCI Group Size        Equipment    Fitment
                                                 (notes)                    Code                                                                             (notes)                         Code
                                                              CCA/Rating                                                                                                       CCA/Rating
Mercury Marquis                                                                      Mercury Villager
1967      V8/7.0L                           27F                 350         36       2002-99   V6/3.3L    Can & Opt                                   24F                        525         23
Mercury Milan                                                                        2002-99   V6/3.3L                                                35                         450         3
2011-10   L4/2.5L    Hybrid                 67R                 390                  1998-94   V6/3.0L    Can & Opt                                   24F                        525         23
2011-10   L4/2.5L                           96R                 500         32       1998-94   V6/3.0L    US                                          35                         450         3
2011-10   V6/3.0L                           96R                 500         32       1993      V6/3.0L    Can & Opt                                   24F                        585         23
2009-08   L4/2.3L                           96R                 500         32       1993      V6/3.0L    US                                          35                         350         3
2009      V6/3.0L                           96R                 590         32       Mini Cooper
2008      V6/3.0L                           96R                 500         32       2017-15   L3/1.5L                                                48 33, 50, 54, 55, 56      760
2007-06   L4/2.3L                           40R                 590         19       2017-15   L3/1.5L    Opt                                         94R 33, 50, 54, 55, 56     800
2007-06   V6/3.0L                           40R                 590         19       2017-15   L4/2.0L                                                48 33, 50, 54, 55, 56      760
Mercury Montego                                                                      2017-15   L4/2.0L    Opt                                         94R 33, 50, 54, 55, 56     800
2007    V6/3.0L                             36R                 540         18       2015-14   L4/1.6L                                                47 50, 54, 55, 56          480         28
2006-05 V6/3.0L                             36R                 600         18       2015-14   L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
                                                                                     2015-14   L4/2.0L                                                94R 33, 50, 54, 55, 56     800
Mercury Monterey                                                                     2015-13   L4/1.6L    Opt                                         48 18, 50, 54, 56          570         29
2007    V6/4.2L                             65                  750          1       2015      L4/1.6L                                                140R 18, 50, 54, 56        480
2006-04 V6/4.2L                             59                  540         34       2014      L3/1.5L                                                94R 33, 50, 54, 55, 56     800
2006-04 V6/4.2L      Opt                    65                  750          1       2013      L4/1.6L    w/o AGM                                     47                         470         28
Mercury Mountaineer                                                                  2013      L4/1.6L                                                47 50, 54, 55, 56          480         28
2010-98 V6/4.0L                             65                  650          1       2013      L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
2010-02 V8/4.6L                             65                  650          1       2012-11   L4/1.6L                                                47 50, 54, 55, 56          480         28
2001-97 V8/5.0L                             65                  650          1       2012-11   L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
Mercury Mystique                                                                     2012-10   L4/1.6L                                                48 50, 54, 55, 56          570         29
2000-98   L4/2.0L                           40R                 590         19       2011-10   L4/1.6L    Starting Battery                            48 50, 54, 55, 56          570         29
2000-98   V6/2.5L                           40R                 590         19       2010-07   L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
1997-95   L4/2.0L    Opt                    40R                 650                  2010      L4/1.6L    Opt, AGM                                    47 9, 33, 50, 54           480
1997-95   L4/2.0L                           96R                 590         32       2009-07   L4/1.6L    Opt                                         48 50, 54, 55, 56          570         29
1997-95   V6/2.5L                           40R                 650                  2009-02   L4/1.6L    w/o AGM                                     47 50                      480         28
                                                                                     2009      L4/1.6L    Turbo                                       47 50                      480         28
Mercury Sable                                                                        2005-04   L4/1.6L    Naturally Aspirated                         47 50                      480         28
2009-08   V6/3.5L                           59                  540         34
2005      V6/3.0L    HD & Can, DOHC         36R                 600         18
                                                                                     Mini Cooper Clubman
                                                                                     2017-16 L3/1.5L                                                  48 33, 50, 54, 55, 56      760
2005      V6/3.0L    OHV                    36R                 600         18
                                                                                     2017    L4/2.0L                                                  94R 33, 50, 54, 55, 56     800
2004      V6/3.0L                           36R                 540         18
                                                                                     2016    L4/2.0L                                                  48 33, 50, 54, 55, 56      760
2004      V6/3.0L    US                     36R                 540         18
2004      V6/3.0L    US, Opt or Can         36R                 600         18       Mini Cooper Countryman
2003      V6/3.0L    HD & Can, DOHC         36R                 600         18       2017      L3/1.5L                                                48 33, 50, 54, 55, 56      760
2003      V6/3.0L    OHV                    36R                 600         18       2017      L3/1.5L    Opt                                         94R 33, 50, 54, 55, 56     800
2002      V6/3.0L    HD & Can, DOHC         36R                 600         18       2017      L4/2.0L                                                48 33, 50, 54, 55, 56      760
                                                                                     2017      L4/2.0L    Opt                                         94R 33, 50, 54, 55, 56     800
2002      V6/3.0L    OHV                    36R                 600         18
                                                                                     2016-14   L4/1.6L                                                47 50, 54, 55, 56          480         28
2001      V6/3.0L                           36R                 540         18
                                                                                     2016-14   L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
2001      V6/3.0L    US                     36R                 540         18
                                                                                     2016      L4/1.6L    Opt                                         48 50, 54, 55, 56          570         29
2001      V6/3.0L    US, Opt or Can         36R                 600         18
                                                                                     2015-13   L4/1.6L    Opt                                         48 18, 50, 54, 56          570         29
2000      V6/3.0L    HD & Can, DOHC         36R                 600         18       2015      L4/1.6L                                                140R 50, 54, 55, 56        480
2000      V6/3.0L                           58R                 540                  2013      L4/1.6L    w/o AGM                                     47                         470         28
1999-96   V6/3.0L    HD & Can, DOHC         36R                 650         18       2013      L4/1.6L                                                47 50, 54, 55, 56          480         28
1999-96   V6/3.0L                           58R                 540                  2013      L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
1995-93   V6/3.0L    Opt                    65                  650          1       2012-11   L4/1.6L                                                47 50, 54, 55, 56          480         28
1995-90   V6/3.0L                           58                  540          8       2012-11   L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
1995-90   V6/3.8L                           65                  650          1       2012-11   L4/1.6L                                                48 50, 54, 55, 56          570         29
1995-90   V6/3.8L    HD, w/HWS or PPkg      65                  850          1       Mini Cooper Paceman
1992-91   V6/3.0L    HD, w/HWS or PPkg      65                  850          1       2016-14   L4/1.6L                                                47 50, 54, 55, 56          480         28
1990      V6/3.0L    Opt                    65                  850          1       2016-14   L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
Mercury Tracer, Topaz                                                                2016      L4/1.6L    Opt                                         48 50, 54, 55, 56          570         29
1999-98   L4/2.0L                           58                  500          8       2015      L4/1.6L                                                140R 18, 50, 54, 56        480
1997      L4/2.0L                           58                  540          8       2015      L4/1.6L    Opt                                         48 18, 54, 55, 56          570         29
1996-95   L4/1.8L                           35                  540          3       2014-13   L4/1.6L    Opt                                         48 18, 50, 54, 56          570         29
1996-94   L4/1.9L                           35                  460          3       2013      L4/1.6L    w/o AGM                                     47                         470         28
1994-92   V6/3.0L                           58                  460          8       2013      L4/1.6L                                                47 50, 54, 55, 56          480         28
1994-92   V6/3.0L    Opt                    58                  540          8       2013      L4/1.6L    Opt                                         47 33, 50, 54, 55, 56      680
1994-91   L4/1.8L                           35                  460          3       Mitsubishi 3000GT
1994-91   L4/2.3L                           58                  540          8       1999-97   V6/3.0L                                                25                         520         6
1993-92   L4/1.9L                           35                  390          3       1996      V6/3.0L                                                25                         520         6
1993-92   L4/1.9L    Opt                    35                  460          3       1995-94   V6/3.0L                                                24                         430         22
1993-92   L4/2.3L    AT & Opt               58                  540          8       1993-91   V6/3.0L                                                24                         490         22
1993      L4/1.9L    MT                     58                  460          8       Mitsubishi Diamante
1992-90   L4/2.3L    MT                     58                  460          8       2004      V6/3.5L                                                24                      600        22
1991      L4/1.9L                           35                  460          3       2003-99   V6/3.5L                                                86                      520        31
1990      L4/1.6L                           35                  390          3       1998-97   V6/3.5L                                                24                      490        22
1990      L4/2.3L    AT                     58                  540          8       1996-92   V6/3.0L                                                24                      490        22
                                                                                                                                    See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                      Costco_001618
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                                                                                 Nissan
                                      929
    Automotive/Light Truck                                                                                                                                                           69
                                                                                      Original                                                                               Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                  Options    BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                        (notes)                    Code
                                                                                     CCA/Rating                                                                             CCA/Rating
    Mitsubishi Eclipse                                                                                      Mitsubishi Mirage G4
    2012-06      V6/3.8L                                          24                   550         22       2017      L3/1.2L                             35                  435          3
    2012-00      L4/2.4L                                          86                   525         31       Mitsubishi Montero
    2005-00      V6/3.0L                                          86                   525         31       2006-03   V6/3.8L                             24F                 585         23
    1999-96      L4/2.4L                                          86                   430         31       2002-01   V6/3.5L                             24F                 585         23
    1999-95      L4/2.0L        MT                                86                   430         31       2002      V6/3.5L    Opt                      27F                 675         36
    1999-95      L4/2.0L        Turbo, AT                         86                   525         31       2000-94   V6/3.5L                             24                  490         22
    1999         L4/2.0L                                          86                   525         31       1996-90   V6/3.0L                             24                  490         22
    1998-95      L4/2.0L        AT                                86                   525         31       Mitsubishi Montero Sport
    1994-90      L4/1.8L                                          86                   430         31
                                                                                                            2004      V6/3.5L                             24                  585         22
    1994-90      L4/2.0L                                          86                   430         31
                                                                                                            2003-99   V6/3.5L    Opt                      24                  585         22
    Mitsubishi Endeavor                                                                                     2003-97   V6/3.0L    Opt                      24                  585         22
    2011-10 V6/3.8L                                               24                   550         22       2003      V6/3.0L                             25                  520          6
    2008-04 V6/3.8L                                               24                   550         22       2002-97   V6/3.0L                             25                  520          6
    Mitsubishi Expo                                                                                         2001-99   V6/3.5L                             25                  520          6
    1995-92 L4/2.4L                                               24                   490         22       1999-97   L4/2.4L    Opt                      24                  585         22
    Mitsubishi Expo LRV                                                                                     1999-97   L4/2.4L                             25                  520          6
    1994-93 L4/2.4L                                               24                   490         22       Mitsubishi Outlander
    1994-92 L4/1.8L                                               25                   360          6       2017-08   L4/2.4L                             35                  520         3
    Mitsubishi Galant                                                                                       2017      V6/3.0L                             24F                 585         23
                                                                                                            2016-15   V6/3.0L                             24F                 585         23
    2012-99      L4/2.4L                                          86                   525         31
                                                                                                            2014      V6/3.0L                             24F                 585         23
    2009-04      V6/3.8L                                          24                   550         22
                                                                                                            2013-12   V6/3.0L                             35                  520         3
    2003-99      V6/3.0L                                          86                   525         31
                                                                                                            2011-07   V6/3.0L                             24F                 585         23
    1998-94      L4/2.4L                                          26                   490
                                                                                                            2006      L4/2.4L    Opt                      24F                 620         23
    1993-90      L4/2.0L                                          51                   435         20
                                                                                                            2006      L4/2.4L                             35                  520         3
    Mitsubishi i-MiEV                                                                                       2005-04   L4/2.4L                             24F                 620         23
    2017-16                     Electric                          151R                 370                  2003      L4/2.4L                             35                  520         3
    2014                        Electric                          151R                 370                  Mitsubishi Outlander Sport
    2012                        Electric                          151R                 370
                                                                                                            2017-15   L4/2.4L                             35                  520          3
    Mitsubishi Lancer                                                                                       2017-11   L4/2.0L                             35                  520          3
    2017         L4/2.0L                                          35                   520          3       2016-15   L4/2.0L                             35                  530          3
    2017         L4/2.4L                                          35                   520          3       2016-15   L4/2.4L                             35                  530          3
    2016         L4/2.0L                                          35                   520          3       Mitsubishi Precis
    2016         L4/2.4L                                          35                   520          3       1994-90 L4/1.5L                               25                  420          6
    2015         L4/2.0L        Ex Evolution                      35                   520          3
    2015         L4/2.0L        Evolution                         N/A 50               700
                                                                                                            Mitsubishi Raider
    2015         L4/2.4L                                          35                   520          3       2009-06   V6/3.7L                             65                  600          1
    2014-13      L4/2.4L                                          35                   520          3       2007-06   V8/4.7L                             65                  600          1
    2014-11      L4/2.0L        Ex Evolution                      35                   520          3       2006      V6/3.7L    Opt                      65                  650          1
    2013-08      L4/2.0L        Evolution                         34 50                700                  2006      V8/4.7L    Opt                      65                  650          1
    2012-11      L4/2.4L        Ex Evolution                      35                   520          3       Mitsubishi RVR
    2010-08      L4/2.0L                                          35                   520          3       2017-16   L4/2.0L                             35                  520          3
    2010         L4/2.4L                                          35                   520          3       2017-15   L4/2.4L                             35                  520          3
    2009-08      L4/2.0L        ES, DE                            35                   520          3       2015      L4/2.0L                             35                  520          3
    2009         L4/2.4L        GTS                               35                   520          3       2014-11   L4/2.0L                             35                  520          3
    2007         L4/2.0L                                          35                   550          3       Mitsubishi Sigma
    2006-05      V6/3.0L                                          35                   520          3       1990      V6/3.0L                             24                  490         22
    2006-04      L4/2.4L                                          35                   520          3       Mitsubishi Van
    2006-03      L4/2.0L                                          35                   520          3       1990      L4/2.4L                             51                  435         20
    2002         L4/2.0L                                          35                   435          3
                                                                                                            Mobility Ventures MV-1
    Mitsubishi Mighty Max                                                                                   2017-15 V6/3.7L                               65                  750          1
    1996-95      L4/2.4L                                          51                   435         20       2015    V8/4.6L                               65                  760          1
    1994-91      L4/2.4L        RWD, Can                          24                   490         22       2014    V8/4.6L                               65                  750          1
    1994-91      L4/2.4L        RWD, US, 4WD All                  51                   435         20
    1994-90      V6/3.0L                                          24                   490         22
                                                                                                            Nissan 200SX
    1992-91      L4/2.4L        Opt                               24                   580         22       1998-95   L4/1.6L    Can                      24F                 550         23
    1992-91      V6/3.0L        Opt                               24                   580         22       1998-95   L4/1.6L    US                       35                  490         3
                                                                                                            1998-95   L4/2.0L    Can & Opt                24F                 550         23
    1990         L4/2.4L        Can                               24                   580         22
                                                                                                            1998-95   L4/2.0L    US                       35                  490         3
    1990         L4/2.4L        US                                51                   435         20
    Mitsubishi Mirage                                                                                       Nissan 240SX
                                                                                                            1998-97 L4/2.4L      US                       25                  360          6
    2017        L3/1.2L                                           35                   435          3
                                                                                                            1998-90 L4/2.4L      Can & Opt                24                  415         22
    2015-14 L3/1.2L                                               35                   360          3
                                                                                                            1996-90 L4/2.4L      US                       25                  360          6
    2015-14 L3/1.2L                                               35                   435          3
    2002-98 L4/1.5L                                               35                   435          3       Nissan 300ZX
    2002-98 L4/1.8L                                               35                   435          3       1996-93   V6/3.0L    Ex Conv w/MT             24F                 415         23
    1997        L4/1.5L                                           51R                  435         11       1996-93   V6/3.0L    AT                       24F                 575         23
    1997        L4/1.8L                                           51R                  435         11       1996-93   V6/3.0L    Conv                     35                  550         3
    1996-93 L4/1.5L                                               51                   430         20       1992-90   V6/3.0L    MT                       24F                 415         23
    1996-93 L4/1.8L                                               51                   430         20       1992-90   V6/3.0L    AT                       24F                 585         23
    1992-91 L4/1.6L                                               25                   355          6       Nissan 350Z
    1992-90 L4/1.5L                                               25                   355          6       2009-03 V6/3.5L                               35                  585
    See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                Costco_001619
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70                                                                                               Automotive/Light Truck
                                                                Original                                                                                                    Original
  Year      Engine                Options     BCI Group Size   Equipment    Fitment     Year      Engine                   Options                       BCI Group Size    Equipment    Fitment
                                                  (notes)                    Code                                                                            (notes)                     Code
                                                               CCA/Rating                                                                                                  CCA/Rating
Nissan 370Z                                                                           Nissan Leaf
2017-16 V6/3.7L                             35                   585                  2017                 Electric                                    51R                    410         11
2015    V6/3.7L                             35                   585                  2016-11              Electric                                    51R                    410         11
2014-09 V6/3.7L                             35                   585                  Nissan Maxima
Nissan Altima                                                                         2017-16   V6/3.5L                                                35                     550         3
2017-16   L4/2.5L                           35                   550          3       2014-09   V6/3.5L                                                35                     550         3
2017-16   V6/3.5L                           35                   550          3       2008-04   V6/3.5L                                                24F                    550         23
2015      L4/2.5L                           35                   550          3       2003      V6/3.5L                                                24F                    445         23
2015      V6/3.5L                           35                   550          3       2002      V6/3.5L                                                24F                    585         23
2014-07   L4/2.5L    Ex Hybrid              35                   550          3       2001-00   V6/3.0L                                                24F                    585         23
2014-07   V6/3.5L                           35                   550          3       1999-95   V6/3.0L    Calif & Can                                 24F                    585         23
2011-07   L4/2.5L    Hybrid                 34 50                700                  1999-95   V6/3.0L    US, Ex Calif                                35                     360         3
2006-02   L4/2.5L                           24F                  550         23       1994-90   V6/3.0L    Can                                         24F                    585         23
2006-02   V6/3.5L                           24F                  550         23       1994-90   V6/3.0L    Can & Opt                                   27F                    625         36
2001-96   L4/2.4L                           24F                  550         23       1994-90   V6/3.0L                                                35                     350         3
1995-93   L4/2.4L    Can & Opt              24F                  585         23       Nissan Murano
1995-93   L4/2.4L    US                     35                   350          3       2017-16   V6/3.5L                                                35                     550         3
Nissan Armada                                                                         2016      V6/3.5L                                                35                     585
2017      V8/5.6L                           27                   780         35       2015      V6/3.5L                                                35                     585
2015      V8/5.6L    Ex Tow Pkg             24F                  650         23       2014-09   V6/3.5L                                                35                     585
2015      V8/5.6L    w/TTPkg                27F                  710         36       2007      V6/3.5L    Ex Intelligent Key (I-Key)                  24F                    575         23
2014-05   V8/5.6L                           24F                  650         23       2007      V6/3.5L    Intelligent Key (I-Key)                     24F                    700         23
2014-05   V8/5.6L    TTPkg                  27F                  710         36       2006-04   V6/3.5L    w/o Intelligent Key (I-Key)                 24F                    575         23
Nissan Axxess                                                                         2006-04   V6/3.5L    w/Intelligent Key (I-Key)                   24F                    700         23
                                                                                      2006-04   V6/3.5L                                                35                     582
1992-90 L4/2.4L      Can                    24F                  415         23
                                                                                      2003      V6/3.5L                                                35                     490         3
1990    L4/2.4L      US                     35                   350          3
                                                                                      Nissan NV1500
Nissan Cube
                                                                                      2016      V6/4.0L                                                24F                    650         23
2014-09 L4/1.8L                             35                   405          3
                                                                                      2015      V6/4.0L                                                24F                    650         23
2014-09 L4/1.8L                             35                   410          3
                                                                                      2014      V6/4.0L                                                24F                    650         23
Nissan D21                                                                            2013-12   V6/4.0L    w/o TTPkg                                   24F                    650         23
1994-92   L4/2.4L    US                     25                   360          6       2013-12   V6/4.0L    w/TTPkg                                     27F                    710         36
1994-92   V6/3.0L    US                     25                   360          6       Nissan NV200
1994      L4/2.4L                           24                   530         22       2017      L4/2.0L                                                21R                    470         39
1994      V6/3.0L                           24                   530         22       2016      L4/2.0L                                                21R                    470         39
1993-92   L4/2.4L    Can                    24                   450         22       2015-13   L4/2.0L                                                21R                    470         39
1993-92   V6/3.0L    Can                    27                   450         35       2015      L4/2.0L                                                121R                   470         39
1991-90   L4/2.4L    Can & Opt              24                   415         22       2014-13   L4/2.0L                                                121R                   470         39
1991-90   L4/2.4L    US                     25                   355          6
1991-90   V6/3.0L    US                     25                   355          6
                                                                                      Nissan NV2500
1991-90   V6/3.0L    Can & Opt              27                   450         35       2016      V6/4.0L                                                24F                    650         23
                                                                                      2016      V6/4.0L    w/TTPkg                                     27F                    710         36
Nissan Frontier                                                                       2016      V8/5.6L                                                24F                    650         23
2017-16   L4/2.5L                           35                   550          3       2016      V8/5.6L    w/TTPkg                                     27F                    710         36
2017-16   V6/4.0L                           35                   550          3       2015      V6/4.0L    Ex Tow Pkg                                  24F                    650         23
2015      L4/2.5L                           35                   550          3       2015      V6/4.0L    w/TTPkg                                     27F                    710         36
2015      V6/4.0L                           35                   550          3       2015      V8/5.6L    Ex Tow Pkg                                  24F                    650         23
2014-11   L4/2.5L                           35                   550          3       2015      V8/5.6L    w/TTPkg                                     27F                    710         36
2014-11   V6/4.0L                           35                   550          3       2014-12   V6/4.0L    w/TTPkg                                     27F                    710         36
2010      L4/2.5L                           24F                  575         23       2014-12   V8/5.6L    w/TTPkg                                     27F                    710         36
2010      V6/4.0L                           24F                  575         23       2014      V6/4.0L    Ex Tow Pkg                                  24F                    650         23
2009-05   L4/2.5L                           24F                  550         23       2014      V8/5.6L    Ex Tow Pkg                                  24F                    650         23
2009-05   V6/4.0L                           24F                  550         23       2013-12   V6/4.0L    w/o TTPkg                                   24F                    650         23
2004-03   L4/2.4L    Opt                    24                   575         22       2013-12   V8/5.6L    w/o TTPkg                                   24F                    650         23
2004-03   L4/2.4L                           25                   490          6       Nissan NV3500
2004      V6/3.3L                           24                   575         22
                                                                                      2016      V6/4.0L                                                24F                    650         23
2004      V6/3.3L                           24                   N/A         22
                                                                                      2016      V6/4.0L    w/TTPkg                                     27F                    710         36
2003      V6/3.3L                           24                   575         22
                                                                                      2016      V8/5.6L                                                24F                    650         23
2002-99   V6/3.3L    US                     25                   490          6       2016      V8/5.6L    w/TTPkg                                     27F                    710         36
2002-98   L4/2.4L    Can                    24                   550         22       2015      V6/4.0L    Ex Tow Pkg                                  24F                    650         23
2002-98   L4/2.4L    US                     25                   490          6       2015      V6/4.0L    w/TTPkg                                     27F                    710         36
2002      V6/3.3L    Can                    24                   550         22       2015      V8/5.6L    Ex Tow Pkg                                  24F                    650         23
2001-99   V6/3.3L    Can                    24                   550         22       2015      V8/5.6L    w/TTPkg                                     27F                    710         36
Nissan GT-R                                                                           2014-12   V6/4.0L    w/TTPkg                                     27F                    710         36
2017      V6/3.8L                           51R                  410         11       2014-12   V8/5.6L    w/TTPkg                                     27F                    710         36
2016      V6/3.8L                           51R                  410         11       2014      V6/4.0L    Ex Tow Pkg                                  24F                    650         23
2015      V6/3.8L                           51R                  410         11       2014      V8/5.6L    Ex Tow Pkg                                  24F                    650         23
2014-09   V6/3.8L                           51R                  410         11       2013-12   V6/4.0L    w/o TTPkg                                   24F                    650         23
Nissan Juke                                                                           2013-12   V8/5.6L    w/o TTPkg                                   24F                    650         23
2017-16   L4/1.6L                           35                   570                  Nissan NX, Pulsar NX
2015-11   L4/1.6L                           35                   570                  1993-91 L4/1.6L      Can                                         24F                     415        23
2015      L4/1.6L                           35                   550          3       1993-91 L4/1.6L      US                                          35                      350         3
2014-11   L4/1.6L                           35                   550          3       1993-91 L4/2.0L      Can & Opt                                   24F                     585        23
                                                                                                                                     See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                              Oldsmobile
                                      929
    Automotive/Light Truck                                                                                                                                                             71
                                                                                      Original                                                                                 Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                  Options      BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                          (notes)                    Code
                                                                                     CCA/Rating                                                                               CCA/Rating
    Nissan NX, Pulsar NX (continued)                                                                        Nissan Stanza
    1993-91 L4/2.0L             US                                35                   350         3        1992-90 L4/2.4L      Can & Opt                 24F                  415         23
    1990    L4/1.6L             Can & Opt                         24F                  415         23       1992-90 L4/2.4L                                35                   350         3
    1990    L4/1.6L             US                                35                   350         3        Nissan Titan
    Nissan Pathfinder                                                                                       2015      V8/5.6L    Ex Tow Pkg                24F                  650         23
    2017         V6/3.5L                                          35                   550          3       2015      V8/5.6L    w/TTPkg                   27F                  710         36
    2016         V6/3.5L        Gas                               35 2                 550          3       2014      V8/5.6L    Ex Tow Pkg                24F                  650         23
    2015         V6/3.5L                                          35                   550          3       2014      V8/5.6L    w/TTPkg                   27F                  710         36
    2014-13      V6/3.5L                                          35                   550          3       2013-06   V8/5.6L    TTPkg                     27F                  710         36
    2012-10      V6/4.0L                                          35                   550          3       2013-04   V8/5.6L                              24F                  650         23
    2012-08      V8/5.6L                                          24F                  650         23       2008      V8/5.6L    Ex Flex Fuel & Ex TTPkg   24F                  650         23
    2009-07      V6/4.0L                                          24F                  550         23       2008      V8/5.6L    Flex Fuel or TTPkg        27F                  710         36
    2006-05      V6/4.0L                                          24F                  700         23
    2004-03      V6/3.5L                                          24                   455         22
                                                                                                            Nissan Titan XD
    2002-01      V6/3.5L        US                                25                   360          6       2017      V8/5.0L    Dsl                       35 2                 550          3
    2002-01      V6/3.5L        Can & Opt                         27                   450         35       2016      V8/5.0L    Dsl                       35 2                 550          3
    2000-97      V6/3.3L                                          25                   360          6       Nissan Versa
    2000-96      V6/3.3L        Can & Opt                         27                   450         35       2017-16   L4/1.6L    CVT-Transmission          51R                  410         11
    1996         V6/3.3L                                          25                   360          6       2017-16   L4/1.6L    Ex CVT                    99R 45               470
    1995-92      V6/3.0L        US                                25                   360          6       2016      L4/1.6L    Ex CVT                    99R                  470
    1995-92      V6/3.0L        Can                               27                   450         35       2016      L4/1.6L    Ex CVT                    T4 45                470
    1991-90      V6/3.0L        US                                25                   355          6       2015      L4/1.6L    CVT-Transmission          51R                  410         11
    1991-90      V6/3.0L        Can & Opt                         27                   450         35       2015      L4/1.6L    Ex CVT                    99R                  470
    Nissan Pathfinder Armada                                                                                2015      L4/1.6L    Ex CVT                    99R 45               470
    2004         V8/5.6L                                          24F                  700         23       2015      L4/1.6L    Ex CVT                    T4 45                470
    2004         V8/5.6L        Opt                               27F                  710         36       2014-12   L4/1.6L    CVT-Transmission          51R                  410         11
    Nissan Pickup                                                                                           2014      L4/1.6L    Ex CVT                    99R 45               470
    1997-95      L4/2.4L        Can                               24                   525         22       2013-09   L4/1.6L    Ex CVT                    99R                  470
    1997         L4/2.4L        US                                25                   360          6       2013      L4/1.6L    Ex CVT                    99R 45               470
    1996-95      L4/2.4L        US                                25                   360          6       2013      L4/1.6L    Ex CVT                    T4 45                470
    1995         V6/3.0L        Can                               24                   525         22       2012-10   L4/1.6L    Ex CVT                    90                   470         37
    1995         V6/3.0L        US                                25                   360          6       2012-10   L4/1.8L    Ex CVT                    90                   470         37
    Nissan Quest                                                                                            2012-09   L4/1.6L    Ex CVT                    99R                  590
                                                                                                            2012-09   L4/1.8L    w/CVT                     51R 45               410         11
    2016         V6/3.5L                                          24F                  550         23
                                                                                                            2012-07   L4/1.8L    Ex CVT                    99R                  470
    2015         V6/3.5L                                          24F                  550         23
                                                                                                            2012      L4/1.6L    w/CVT                     51R 45               500         11
    2014-11      V6/3.5L                                          24F                  550         23
                                                                                                            2008-07   L4/1.8L    CVT-Transmission          51R                  410         11
    2009-04      V6/3.5L                                          24F                  550         23
                                                                                                            2008-07   L4/1.8L    Ex CVT                    90                   470         37
    2002-99      V6/3.3L        Can & Opt                         24F                  525         23
    2002-99      V6/3.3L                                          35                   450         3        Nissan Versa Note
    1998-93      V6/3.0L        Can & Opt                         24F                  525         23       2017-16   L4/1.6L                              99R 45               470
    1998-93      V6/3.0L        US                                35                   450         3        2016      L4/1.6L                              99R                  470
    Nissan Rogue                                                                                            2016      L4/1.6L                              T4 45                470
                                                                                                            2015      L4/1.6L                              99R                  470
    2017         L4/2.5L                                          35                   550          3
                                                                                                            2015      L4/1.6L                              99R 45               470
    2016         L4/2.5L                                          35                   585
                                                                                                            2015      L4/1.6L                              T4 45                470
    2015         L4/2.5L                                          35                   585
                                                                                                            2014      L4/1.6L    CVT-Transmission          51R                  410         11
    2014-08      L4/2.5L                                          35                   585
                                                                                                            2014      L4/1.6L                              99R 45               470
    Nissan Rogue Select
                                                                                                            Nissan Xterra
    2015-14 L4/2.5L                                               35                   585
                                                                                                            2015      V6/4.0L                              35                   550          3
    Nissan Sentra                                                                                           2014-10   V6/4.0L                              35                   550          3
    2017        L4/1.8L                                           21R                  470          3       2009-05   V6/4.0L                              24F                  550         23
    2016        L4/1.8L                                           21R                  470          3       2004-00   V6/3.3L                              25                   490          6
    2015        L4/1.8L                                           21R                  470          3       2004      L4/2.4L    Opt                       24                   550         22
    2014-13 L4/1.8L                                               21R                  470          3
                                                                                                            2004      L4/2.4L                              25                   490          6
    2012-09 L4/2.5L                                               40R                  550         19
                                                                                                            2004      V6/3.3L    Opt                       24                   550         22
    2012-07 L4/2.0L                                               21R                  470          3
                                                                                                            2003-00   L4/2.4L    Can & Opt                 24                   550         22
    2012-07 L4/2.5L SE-R                                          40R                  590         19
    2008-06 L4/2.5L                                               35                   550         3        2003-00   L4/2.4L    US                        25                   490          6
    2008        L4/2.5L                                           40R                  550         19       2003-00   V6/3.3L    Can & Opt                 24                   550         22
    2006        L4/1.8L                                           35                   550         3        Nissan X-Trail
    2005-03 L4/2.5L                                               35                   355         3        2006      L4/2.5L    Can                       24F                  550         23
    2005-00 L4/1.8L                                               35                   355         3        2005      L4/2.5L    US                        35                   550         3
    2002        L4/2.5L                                           21R                  490          3       Oldsmobile 88
    2001        L4/2.0L                                           21R                  490          3       1999-95   V6/3.8L                              78                   690          7
    2000-99 L4/2.0L                                               35                   490         3        1997-92   V6/3.8L    HD or w/HWS               78                   770          7
    1999        L4/1.6L                                           35                   490         3
                                                                                                            1994-92   V6/3.8L                              75                   630
    1998-95 L4/1.6L Can                                           24F                  550         23
                                                                                                            1994      V6/3.8L    HD or HWS                 78                   770          7
    1998-95 L4/1.6L US                                            35                   490         3
                                                                                                            1954      V8/5.3L                              2                    500
    1998        L4/2.0L Can                                       24F                  550         23
    1998        L4/2.0L US                                        35                   490         3        1950      V8/5.0L                              2                    500
    1994-91 L4/2.0L Can & Opt                                     24F                  585         23       Oldsmobile 98
    1994-91 L4/2.0L US                                            35                   350         3        1996-95 V6/3.8L                                78                   690          7
    1994-90 L4/1.6L Can & Opt                                     24F                  415         23       1996-91 V6/3.8L      HD or w/HWS               78                   770          7
    1994-90 L4/1.6L US                                            35                   350         3        1994    V6/3.8L                                78                   600          7
    See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                  Costco_001621
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72                                                                                                    Automotive/Light Truck
                                                                     Original                                                                                               Original
  Year      Engine                  Options        BCI Group Size   Equipment    Fitment     Year      Engine              Options                       BCI Group Size    Equipment    Fitment
                                                       (notes)                    Code                                                                       (notes)                     Code
                                                                    CCA/Rating                                                                                             CCA/Rating
Oldsmobile 98 (continued)                                                                  Oldsmobile Delta 88 (See Custom Cruiser, Delta 88, Regency)
1993-90   V6/3.8L                                75                   630                  Oldsmobile Intrigue
1992      V6/3.8L    Opt                         78                   770          7       2002-99 V6/3.5L                                             78                     690         7
1991      V6/3.8L    HD or HWS                   78                   770          7       1999-98 V6/3.8L                                             78                     690         7
1990      V6/3.8L    Opt                         78                   770          7       Oldsmobile LSS
1970-68   V8/7.5L                                24                   325         22
                                                                                           1999-96 V6/3.8L                                             78                     690         7
1967      V8/7.0L                                24                   325         22
1966-65   V8/7.0L                                27                   350         35       Oldsmobile Omega
1966-65   V8/7.0L                                60                   350                  1980      L4/2.5L                                           74                     450         7
1954      V8/5.3L                                2                    500                  1980      V6/2.8L                                           74                     450         7
1953-50   V8/5.0L                                2                    500                  1979-78   V6/3.8L                                           71                     325         5
Oldsmobile Achieva                                                                         1979-78   V8/5.0L                                           71                     325         5
                                                                                           1979-78   V8/5.7L                                           71                     325         5
1998-96   L4/2.4L                                75                   600
                                                                                           1977-76   V8/4.3L                                           72                     350         5
1998-94   V6/3.1L                                75                   600
                                                                                           1977-76   V8/5.7L                                           72                     350         5
1995-92   L4/2.3L                                75                   600
1993-92   V6/3.3L                                75                   600                  1977      V6/3.8L                                           72                     350         5
                                                                                           1977      V8/5.0L                                           72                     350         5
Oldsmobile Alero                                                                           1976      L6/4.1L                                           72                     350         5
2004-99   V6/3.4L                                75                   600
2004      L4/2.2L                                75                   525          5
                                                                                           Oldsmobile Regency (See Custom Cruiser, Delta 88, Regency)
2003-02   L4/2.2L                                75                   600                  Oldsmobile Silhouette
2001-99   L4/2.4L                                75                   600                  2004-97   V6/3.4L                                           78                     600         7
Oldsmobile Aurora                                                                          1996      V6/3.4L                                           75                     525         5
                                                                                           1995-92   V6/3.8L                                           75                     630
2003-01   V8/4.0L                                100 50               770         40
                                                                                           1994-90   V6/3.1L                                           75                     525         5
2002-01   V6/3.5L                                100 50               770         40
1999-98   V8/4.0L                                79 50                840         41       Oldsmobile Starfire
1997-95   V8/4.0L                                76 50                970         41       1980-78   L4/2.5L                                           74                     450         7
Oldsmobile Bravada                                                                         1980-78   V6/3.8L                                           74                     450         7
                                                                                           1979-78   V8/5.0L                                           74                     450         7
2004-02   L6/4.2L                                78                   600          7
                                                                                           1966-65   V8/7.0L                                           27                     350         35
2001-96   V6/4.3L                                75                   525          5
                                                                                           1966-65   V8/7.0L                                           60                     350
2001-96   V6/4.3L    Opt                         75                   690
1994-91   V6/4.3L                                75                   525          5       Oldsmobile Toronado
1994      V6/4.3L    Opt                         78                   600          7       1992-91   V6/3.8L                                           78                     770         7
1993-91   V6/4.3L    Opt                         78                   630          7       1990      V6/3.8L                                           78                     730         7
                                                                                           1980-79   V8/5.7L    Dsl                                    74 2                   450          7
Oldsmobile Custom Cruiser, Delta 88, Regency                                               1980-79   V8/5.7L    Gas                                    74                     450         7
1998-97   V6/3.8L                                78                   690          7       1978-77   V8/6.6L    Gas                                    74                     450         7
1997      V6/3.8L    HD or w/HWS                 78                   770          7       1976-71   V8/7.5L                                           74                     450         7
1992-90   V8/5.0L                                75                   525          5       1970-68   V8/7.5L                                           24                     325         22
1992      V8/5.7L                                75                   525          5       1966      V8/7.0L                                           27                     350         35
1991-90   V6/3.8L                                75                   630                  1966      V8/7.0L                                           60                     350
1991-90   V6/3.8L    Opt                         78                   730          7
                                                                                           Panoz AIV Roadster
1991-90   V8/5.0L    Opt                         75                   570
                                                                                           2000-99 V8/4.6L                                             58R                    580
1991      V6/3.8L    HD or w/HWS                 78                   770          7
1970-68   V8/5.7L                                24                   325         22       Panoz Esperante
1970-68   V8/7.5L                                24                   325         22       2007-01 V8/4.6L                                             58R                    580
1967      V8/7.0L                                24                   325         22       Peugeot 405
1966-65   V8/7.0L                                27                   350         35       1991-90 L4/1.9L                                             24                     420         22
1966-65   V8/7.0L                                60                   350                  Peugeot 505
Oldsmobile Cutlass Calais                                                                  1991-90   L4/2.2L    Turbo                                  48 5                   495         29
1991-90 L4/2.3L                                  75                   630                  1991-90   L4/2.2L    Ex Turbo                               48 6                   660         29
1991-90 L4/2.5L                                  75                   630                  1990      L4/2.2L                                           48 6                   495         29
1991-90 V6/3.3L                                  75                   630                  1990      V6/2.8L                                           48                     660         29
Oldsmobile Cutlass, Cutlass Ciera, Cutlass Cruiser, Cutlass Supreme                        Plymouth Acclaim
1999-98   V6/3.1L                                75                   600                  1995-92 L4/2.5L                                             34                     600         9
1997-96   V6/3.1L                                78                   600          7       1995-90 V6/3.0L                                             34                     500         9
1996-94   L4/2.2L                                75                   525          5       1991-90 L4/2.5L                                             34                     500         9
1996      V6/3.1L                                78                   600          7       Plymouth Barracuda
1996      V6/3.4L                                78                   690          7       1974-71   V8/5.9L                                           24                      325        22
1995      V6/3.1L    Early                       75                   525          5       1974-66   V8/5.2L                                           24                      325        22
1995      V6/3.1L    Late Incl Supreme           78                   600          7       1973-68   V8/5.6L                                           24                      325        22
1995      V6/3.4L    Early                       75                   690                  1972-71   V8/7.2L                                           24                      325        22
1995      V6/3.4L    Late Incl Supreme           78                   690          7       1972-64   L6/3.7L                                           24                      325        22
1994-91   V6/3.4L                                75                   690                  1971-70   L6/3.2L                                           24                      325        22
1994-90   V6/3.1L                                75                   525          5       1971      V8/6.3L                                           24                      325        22
1994      V6/3.1L                                75                   630                  1971      V8/7.0L                                           24                      325        22
1993-90   V6/3.3L                                75                   630                  1970-68   V8/7.0L                                           27                      440        35
1993      L4/2.2L                                75                   630                  1970-67   V8/6.3L                                           27                      440        35
1992-90   L4/2.5L                                75                   630                  1970      V8/7.2L                                           27                      440        35
1991-90   L4/2.3L                                75                   630                  1968-64   V8/4.5L                                           24                      325        22
1990      V6/3.3L                                75                   630                  1966-64   L6/2.8L                                           24                      325        22
                                                                                                                                     See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                             73
                                                                                     Original                                                                                  Original
        Year         Engine                         Options        BCI Group Size   Equipment    Fitment     Year      Engine               Options          BCI Group Size   Equipment    Fitment
                                                                       (notes)                    Code                                                           (notes)                    Code
                                                                                    CCA/Rating                                                                                CCA/Rating
    Plymouth Belvedere                                                                                     Plymouth Grand Voyager, Voyager
    1970-64      V8/6.3L                                          27                  440         35       2000-96   L4/2.4L                               34                   600          9
    1970-60      L6/3.7L                                          24                  325         22       2000-90   V6/3.0L                               34                   500          9
    1970-58      V8/5.2L                                          24                  325         22       2000-90   V6/3.3L                               34                   500          9
    1969         V8/7.0L                                          27                  440         35       1999-96   L4/2.4L    Opt                        34                   685          9
    1968-64      V8/4.5L                                          24                  325         22       1999-94   V6/3.8L                               34                   600          9
    1967-66      V8/7.2L                                          27                  440         35       1999-94   V6/3.8L    Opt                        34                   685          9
    1967-64      V8/7.0L                                          27                  440         35       1999-91   V6/3.0L    Opt                        34                   685          9
    1966-59      V8/5.9L                                          24                  325         22       1999-91   V6/3.3L    Opt                        34                   685          9
    1964         V8/6.7L                                          27                  440         35       1997-96   L4/2.4L                               34                   600          9
    1963-61      V8/6.7L                                          24                  325         22       1997-96   L4/2.4L    Opt                        34                   685          9
    1963-60      V8/6.3L                                          24                  325         22       1995-92   L4/2.5L                               34                   600          9
    1963         V8/7.0L                                          24                  325         22       1995-91   L4/2.5L    Opt                        34                   685          9
    1959-56      L6/3.8L                                          24                  325         22       1991-90   L4/2.5L                               34                   500          9
    1958-57      V8/5.1L                                          24                  325         22       1990      L4/2.5L    Opt                        34                   625          9
    1958         V8/5.7L                                          24                  325         22       1990      V6/3.0L    Opt                        34                   625          9
    1957-56      V8/4.5L                                          24                  325         22       1990      V6/3.3L    Opt                        34                   625          9
    1957         V8/4.9L                                          24                  325         22       Plymouth Horizon
    1956         V8/4.4L                                          24                  325         22       1990      L4/2.2L                               34                   430          9
    1956         V8/5.0L                                          24                  325         22
                                                                                                           Plymouth Laser
    1955-54      L6/3.8L        Ex w/AT                           1                   400
                                                                                                           1994-90 L4/1.8L                                 86                   430         31
    1955-54      L6/3.8L        AT                                2                   500
                                                                                                           1994-90 L4/2.0L      US                         86                   430         31
    1955         V8/3.9L                                          1                   400
                                                                                                           1994-90 L4/2.0L      Can                        86                   525         31
    1955         V8/3.9L        AT                                2                   500
    1955         V8/4.0L                                          1                   400                  Plymouth Neon
    1955         V8/4.0L        AT                                2                   500                  2001-00 L4/2.0L                                 26R                  450         38
    1955         V8/4.2L                                          1                   400                  2001-00 L4/2.0L      Opt                        26R                  540         38
    1955         V8/4.2L        AT                                2                   500                  1999-95 L4/2.0L                                 58 35                450          8
    1955         V8/4.3L                                          1                   400                  Plymouth Prowler
    1955         V8/4.3L        AT                                2                   500                  2001-99 V6/3.5L                                 34                   525          9
    1954         L6/3.6L        Ex w/AT                           1                   400                  1997    V6/3.5L                                 34                   525          9
    1954         L6/3.6L        AT                                2                   500                  Plymouth Sundance
    Plymouth Breeze                                                                                        1994-93   V6/3.0L                               34                   500          9
    2000-97 L4/2.4L                                               75                  510          5       1994-92   L4/2.5L                               34                   600          9
    2000-96 L4/2.0L                                               75                  510          5       1994-90   L4/2.2L                               34                   500          9
    1996    L4/2.4L                                               75                  575                  1992      V6/3.0L                               34                   600          9
    Plymouth Colt                                                                                          1991      L4/2.5L                               34                   625          9
    1995-93      L4/1.5L        US                                51                  435         20       1990      L4/2.5L                               34                   500          9
    1994-93      L4/1.5L        Can                               24                  580         22       Plymouth Valiant
    1994-93      L4/1.8L        Can                               24                  580         22       1976-68   L6/3.7L                               24                   370         22
    1994-92      L4/2.4L        US                                24                  490         22       1976-68   L6/3.7L    Opt                        24                   460         22
    1994-92      L4/2.4L        HD or Can                         24                  580         22       1976-68   V8/5.2L                               24                   370         22
    1994         L4/1.8L        US                                25                  435          6       1976-68   V8/5.2L    Opt                        24                   460         22
    1992-91      L4/1.5L        US                                25                  355          6       1976      V8/5.9L                               24                   370         22
    1992-91      L4/1.5L        Opt                               25                  430          6       1976      V8/5.9L    Opt                        24                   460         22
    1992         L4/1.5L        Can, Ex Wagon                     25                  420          6       1974-71   V8/5.9L                               24                   370         22
    1992         L4/1.8L        Wagon                             24                  580         22       1974-71   V8/5.9L    Opt                        24                   460         22
    1992         L4/1.8L        Can, Ex Wagon                     25                  420          6       1974-70   L6/3.2L                               24                   370         22
    1992         L4/1.8L        Opt                               25                  430          6       1974-70   L6/3.2L    Opt                        24                   460         22
    1992         L4/1.8L        US                                51                  350         20       1973-68   V8/5.6L                               24                   370         22
    1992         L4/2.4L        Can                               24                  580         22       1973-68   V8/5.6L    Opt                        24                   460         22
    1992         L4/2.4L        Wagon                             24                  580         22       1971-68   L6/2.8L                               24                   370         22
    1992         L4/2.4L        Can, Ex Wagon                     25                  420          6       1971-68   L6/2.8L    Opt                        24                   460         22
    1992         L4/2.4L        Opt                               25                  430          6       1969-68   V8/4.5L                               24                   370         22
    1991-90      L4/1.5L        Can                               25                  420          6       1969-68   V8/4.5L    Opt                        24                   460         22
    1991-90      L4/2.0L        Can                               25                  420          6       1967-65   L6/2.8L                               24                   375         22
    1991-90      L4/2.0L        US                                51                  435         20       1967-65   L6/3.7L                               24                   375         22
    1990         L4/1.5L        Ex Wagon                          25                  355          6       1967-65   V8/4.5L                               24                   375         22
    1990         L4/1.5L        Wagon                             51                  435         20       Plymouth Voyager (See Grand Voyager, Voyager)
    1990         L4/1.6L        Can                               25                  420          6
    1990         L4/1.6L                                          51                  435         20
                                                                                                           Pontiac 6000, Grand Am
    1990         L4/1.8L        Wagon                             51                  435         20       2005-99   V6/3.4L                               75                   600
                                                                                                           2005      L4/2.2L                               75                   600
    Plymouth Duster                                                                                        2004      L4/2.2L                               75                   525          5
    1976-74 V8/5.9L                                               24                  370         22       2003-02   L4/2.2L                               75                   600
    1976-74 V8/5.9L Opt                                           24                  460         22       2001-96   L4/2.4L                               75                   600
    1976-70 L6/3.7L                                               24                  370         22       1998-94   V6/3.1L                               75                   600
    1976-70 L6/3.7L Opt                                           24                  460         22       1995-93   L4/2.3L                               75                   600
    1976-70 V8/5.2L                                               24                  370         22       1993      V6/3.3L                               75                   600
    1976-70 V8/5.2L Opt                                           24                  460         22       1992-90   L4/2.3L                               75                   630
    1974-70 L6/3.2L                                               24                  370         22       1992      V6/3.3L                               75                   630
    1974-70 L6/3.2L Opt                                           24                  460         22       1991-90   L4/2.5L                               75                   630
    1973-70 V8/5.6L                                               24                  370         22       1991-90   V6/3.1L                               75                   525          5
    1973-70 V8/5.6L Opt                                           24                  460         22       1991-90   V6/3.1L    Can & Opt                  75                   630
    See page 88 for Footnotes. Selection may vary by warehouse.

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74                                                                                                  Automotive/Light Truck
                                                                   Original                                                                                                  Original
  Year      Engine                   Options     BCI Group Size   Equipment    Fitment     Year      Engine                 Options                       BCI Group Size    Equipment    Fitment
                                                     (notes)                    Code                                                                          (notes)                     Code
                                                                  CCA/Rating                                                                                                CCA/Rating
Pontiac Aztek                                                                            Pontiac Firebird (continued)
2005-01 V6/3.4L                                78                   600          7       1992-90   V6/3.1L                                              75                     525         5
Pontiac Bonneville                                                                       1992-90   V8/5.0L    MT                                        75                     525         5
2005-04   V8/4.6L                              100 50               770         40       1992-90   V8/5.0L    AT                                        75                     570
2005-02   V6/3.8L                              100 50               770         40       1992-87   V8/5.7L                                              75                     630
2003-02   V6/3.8L    S/C                       79 50                800         41       1989-88   V8/5.0L    Ex 110 Amp Generator                      70                     525         5
2001-00   V6/3.8L                              79 50                840         41       1989-88   V8/5.0L    w/110 Amp Generator                       75                     525         5
1999-98   V6/3.8L    S/C                       78                   770          7       1989-88   V8/5.0L    Opt                                       75                     570
1999-95   V6/3.8L                              78                   690          7       1989-87   V6/2.8L                                              75                     525         5
1997-92   V6/3.8L    Opt                       78                   770          7       1989-86   V6/2.8L    Opt                                       75                     570
1994-90   V6/3.8L                              75                   630                  1989      V6/3.8L                                              75                     525         5
1990      V6/3.8L    Opt                       78                   730          7       1987      V8/5.0L    Opt                                       70                     500         5
1975-73   V8/6.6L    Top Terminal              24                   450         22       1987      V8/5.0L    MT, Ex HO                                 75                     525         5
1975-73   V8/6.6L    Side Terminal             74                   450          7       1987      V8/5.0L    HD w/AT                                   75                     570
1975-73   V8/7.5L    Top Terminal              24                   450         22       1986-85   L4/2.5L                                              75                     630
1975-73   V8/7.5L    Side Terminal             74                   450          7       1986      L4/2.5L    Opt                                       75                     570
1974      V8/5.7L    Top Terminal              24                   450         22       1986      V6/2.8L                                              70                     525         5
1974      V8/5.7L    Side Terminal             74                   450          7       1986      V8/5.0L                                              70                     525         5
1972-70   V8/7.5L                              24                   325         22       1985-84   V6/2.8L                                              70                     405         5
1972-69   V8/6.6L                              24                   325         22       1985-84   V8/5.0L    Opt                                       75                     630
1971      V8/5.7L                              24                   325         22       1985      V6/2.8L    Opt                                       75                     630
1969      V8/7.0L                              24                   325         22       1985      V8/5.0L                                              70                     405         5
1968-67   V8/7.0L                              27                   350         35       1984-83   L4/2.5L                                              70                     405         5
1967      V8/6.6L                              27                   350         35       1984-83   L4/2.5L    Opt                                       75                     500         5
                                                                                         1984-83   V6/2.8L    Opt                                       75                     500         5
1967      V8/7.0L    Opt                       27                   350         35
                                                                                         1984      V8/5.0L                                              75                     500         5
1966      V8/6.4L                              27                   350         35
                                                                                         1983-82   V6/2.8L                                              70                     315         5
1966      V8/6.4L    Opt                       27                   350         35
                                                                                         1983      V8/5.0L                                              70                     405         5
1966      V8/6.9L                              24                   325         22
                                                                                         1983      V8/5.0L    Opt                                       75                     500         5
1965-63   V8/6.9L                              60                   350
                                                                                         1982-81   V8/5.0L    Opt                                       73                     465         5
1965-59   V8/6.4L                              60                   350
                                                                                         1982      L4/2.5L                                              70                     315         5
1962-59   V8/6.4L                              24                   325         22
                                                                                         1982      L4/2.5L    Opt                                       73                     465         5
1958      V8/6.1L                              60                   350
                                                                                         1982      V6/2.8L    Opt                                       73                     465         5
1957      V8/5.7L                              60                   350
                                                                                         1982      V8/5.0L                                              70                     400         5
Pontiac Catalina                                                                         1981      V6/3.8L                                              70                     315         5
1975-73   V8/6.6L    Top Terminal              24                   450         22       1981      V6/3.8L    HBL & AC                                  70                     370         5
1975-73   V8/6.6L    Side Terminal             74                   450          7       1981      V8/4.3L                                              70                     370         5
1975-73   V8/7.5L    Top Terminal              24                   450         22       1981      V8/4.3L    Opt                                       73                     465         5
1975-73   V8/7.5L    Side Terminal             74                   450          7       1981      V8/4.4L                                              70                     370         5
1974-73   V8/5.7L    Top Terminal              24                   450         22       1981      V8/4.4L    Opt                                       73                     465         5
1974-73   V8/5.7L    Side Terminal             74                   450          7       1981      V8/4.9L                                              70                     370         5
1974      L6/4.1L    Top Terminal              24                   450         22       1981      V8/4.9L    Opt                                       73                     465         5
1974      L6/4.1L    Side Terminal             74                   450          7       1981      V8/5.0L                                              70                     370         5
1972-70   V8/5.7L                              24                   325         22       1980-77   V6/3.8L                                              74                     450         7
1972-70   V8/7.5L                              24                   325         22       1980      V8/4.3L                                              74                     450         7
1972-69   V8/6.6L                              24                   325         22       1980      V8/4.9L                                              74                     450         7
1969      V8/7.0L                              24                   325         22       1980      V8/5.0L                                              74                     450         7
1968-67   V8/6.6L                              22F                  250         38       1979-78   V6/3.8L    Opt                                       74                     450         7
1968-67   V8/6.6L    Opt                       27                   350         35       1979-78   V8/5.0L                                              71                     350         5
1968-67   V8/7.0L                              22F                  250         38       1979-78   V8/5.0L    Opt                                       74                     450         7
1968-67   V8/7.0L    Opt                       27                   350         35       1979-78   V8/5.7L                                              71                     350         5
1966      V8/6.4L                              22F                  250         38       1979-78   V8/5.7L    Opt                                       74                     450         7
1966      V8/6.4L    Opt                       27                   350         35       1979-78   V8/6.6L                                              73                     430         5
1966      V8/6.9L                              22F                  250         38       1979-78   V8/6.6L    Opt                                       74                     450         7
1966      V8/6.9L    Opt                       27                   350         35       1979      V8/4.9L                                              71                     350         5
1965-61   V8/6.9L                              60                   350                  1979      V8/4.9L    Opt                                       74                     450         7
1965-59   V8/6.4L                              60                   350                  1977-73   V8/5.7L                                              74                     450         7
1958      V8/6.1L                              60                   350                  1977-73   V8/6.6L                                              74                     450         7
1957      V8/5.7L                              60                   350                  1977      V8/4.9L                                              74                     450         7
1956      V8/5.2L                              60                   350                  1977      V8/5.0L                                              74                     450         7
1955      V8/4.7L                              60                   350                  1976-73   L6/4.1L                                              74                     450         7
1954-50   L6/3.9L                              2E                   485                  1976-73   V8/7.5L                                              74                     450         7
1954-50   L8/4.4L                              2E                   485                  1972-71   V8/7.5L                                              24                     325         22
Pontiac Executive                                                                        1972-68   L6/4.1L                                              24                     325         22
1970-69   V8/6.6L                              24                   325         22       1972-68   V8/5.7L                                              24                     325         22
1970      V8/7.5L                              24                   325         22       1972-67   V8/6.6L                                              24                     325         22
1969      V8/7.0L                              24                   325         22       Pontiac Firefly
1968-67   V8/6.6L                              22F                  250         38       2000-95   L3/1.0L                                              26R                    390         38
1968-67   V8/7.0L                              22F                  250         38       2000-94   L4/1.3L                                              26R                    390         38
Pontiac Firebird                                                                         1994      L3/1.0L                                              26                     390
2002-95 V6/3.8L                                75                   690                  1991-90   L3/1.0L                                              26                     440
2002-93 V8/5.7L                                75                   525          5       Pontiac G3
1995-93 V6/3.4L                                75                   525          5       2010-09 L4/1.6L                                                86                      590        31
                                                                                                                                      See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                    Costco_001624
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    Automotive/Light Truck                                                                                                                                                        75
                                                                                      Original                                                                            Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine              Options     BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                     (notes)                    Code
                                                                                     CCA/Rating                                                                          CCA/Rating
    Pontiac G3 Wave                                                                                         Pontiac GTO, Tempest (continued)
    2009         L4/1.6L                                          86                   550         31       1970-68   V8/5.7L                         24                   325         22
    Pontiac G5, Pursuit                                                                                     1970-67   V8/6.6L                         24                   325         22
    2010-09      L4/2.2L                                          90 50                590         37       1970      V8/7.5L                         24                   325         22
    2008-07      L4/2.2L                                          90 50                600         37       1967-65   L6/3.8L                         22F                  250         38
    2008-07      L4/2.4L                                          90                   600         37       1967-63   V8/5.3L                         24                   325         22
    2006-05      L4/2.2L                                          90 50                600         37       1966-64   V8/6.4L                         24                   325         22
    2006         L4/2.4L                                          90                   600         37       1965-64   L6/3.5L                         22F                  250         38
    Pontiac G6                                                                                              1962      V8/3.5L                         24                   325         22
    2010-08      L4/2.4L                                          90                   590         37       Pontiac LeMans, Optima
    2010-08      V6/3.5L                                          90                   590         37       1993-90   L4/1.6L                         85                   550
    2009-08      V6/3.6L                                          90                   590         37       1991-90   L4/1.6L                         85                   550
    2009-08      V6/3.9L                                          90                   590         37       1990      L4/2.0L                         85                   550
    2007-06      L4/2.4L                                          75                   525          5       1990      L4/2.0L    AT                   85                   630
    2007-06      V6/3.9L                                          75                   525          5       Pontiac Montana
    2007-05      V6/3.5L                                          75                   525          5       2009-06   V6/3.9L                         34                   600          9
    2007         V6/3.6L                                          75                   525          5       2006      V6/3.5L    SV6                  34                   600          9
    Pontiac G8                                                                                              2005-99   V6/3.4L                         78                   600          7
    2009         V6/3.6L                                          94R 50               720         30       2005      V6/3.5L                         34                   600          9
    2009         V8/6.0L                                          94R 50               720         30       Pontiac Solstice
    2009         V8/6.2L                                          94R 50               720         30       2009-08   L4/2.0L                         86                   590         31
    2008         V6/3.6L                                          94R 50               700         30       2009-08   L4/2.4L                         86                   590         31
    2008         V8/6.0L                                          94R 50               700         30       2007      L4/2.0L                         86                   640
    Pontiac Grand Am (See 6000, Grand Am)                                                                   2007      L4/2.4L                         86                   640
    Pontiac Grand Prix                                                                                      2006      L4/2.4L                         86                   590         31
    2008-06      V6/3.8L        w/AGM                             34   33
                                                                                       690                  Pontiac Sunbird
    2008         V8/5.3L                                          85                   590                  1994-92 V6/3.1L                           75                   525          5
    2007-05      V8/5.3L                                          85                   625                  1994-90 L4/2.0L                           75                   630
    2005-04      V6/3.8L        w/AGM                             34 33                680                  1991    V6/3.1L                           75                   630
    2003-97      V6/3.8L                                          78                   690          7       Pontiac Sunfire
    2003-97      V6/3.8L        S/C                               78                   770          7       2005-95   L4/2.2L                         75                   525          5
    2003-96      V6/3.1L                                          78                   600          7       2002      L4/2.4L                         75                   525          5
    1996         V6/3.4L                                          78                   690          7       2001-96   L4/2.4L                         75                   600
    1995         V6/3.1L        Early                             75                   525          5       1995      L4/2.3L                         75                   600
    1995         V6/3.1L        Late                              78                   600          7       Pontiac Sunrunner
    1995         V6/3.4L        Early                             75                   690
                                                                                                            1997-95 L4/1.6L                           26R                  390         38
    1995         V6/3.4L        Late                              78                   690          7
                                                                                                            1994    L4/1.6L                           26                   500
    1994-91      V6/3.4L                                          75                   690
    1994-90      V6/3.1L                                          75                   525          5       Pontiac Tempest (See GTO, Tempest)
    1991-90      L4/2.3L                                          75                   630                  Pontiac Torrent
    1980-78      V6/3.8L                                          74                   450          7       2009-08 V6/3.6L                           47                   650
    1980-78      V8/4.9L                                          74                   450          7       2009-07 V6/3.4L                           47                   650
    1980-78      V8/5.0L                                          74                   450          7       2006    V6/3.4L                           75                   600
    1980         V8/4.3L                                          74                   450          7       Pontiac Trans Sport
    1977-76      V8/5.7L                                          72                   350          5       1999-97   V6/3.4L                         78                   600          7
    1977-76      V8/6.6L                                          72                   350          5       1996      V6/3.4L                         75                   525          5
    1977         V8/4.9L                                          72                   350          5       1995-92   V6/3.8L                         75                   630
    1977         V8/6.6L                                          74                   450          7       1995-90   V6/3.1L                         75                   525          5
    1976         V8/7.5L                                          74                   450          7
    1975-73      V8/6.6L                                          24                   450         22
                                                                                                            Pontiac Vibe
    1975-73      V8/6.6L        Side Terminal                     74                   450          7       2010-09 L4/2.4L                           24F                  575         23
    1975-73      V8/7.5L                                          24                   450         22       2010-03 L4/1.8L                           35                   550         3
    1975-73      V8/7.5L        Side Terminal                     74                   450          7       Pontiac Wave, Wave 5
    1972-70      V8/7.5L                                          24                   325         22       2008-05 L4/1.6L                           86                   550         31
    1972-69      V8/6.6L                                          24                   325         22       2007-05 L4/1.6L                           86                   590         31
    1969         V8/7.0L                                          24                   325         22       Porsche 911
    1968-67      V8/6.6L                                          27                   350         35       2016-13   H6/3.4L                         49 50                740         33
    1968-67      V8/7.0L                                          27                   350         35       2016-13   H6/3.8L                         49 50                740         33
    1967         V8/7.0L        Opt                               27                   350         35       2016      H6/4.0L                         49 50                740         33
    1966         V8/6.4L                                          27                   350         35       2012-10   H6/3.8L    Option 1             49 50                740         33
    1966         V8/6.9L                                          22F                  250         38       2012-09   H6/3.6L    Option 1             49 50                740         33
    1966         V8/6.9L        Opt                               27                   350         35       2012      H6/3.4L    Option 1             49 50                740         33
    Pontiac GTO, Tempest                                                                                    2011      H6/4.0L                         49 50                740         33
    2006-05      V8/6.0L                                          85                   600                  2009-05   H6/3.6L                         94R 50               740         30
    2004         V8/5.7L                                          85                   600                  2009-05   H6/3.8L                         94R 50               740         30
    1991-90      L4/2.2L        MT                                75                   525          5       2004-02   H6/3.6L    GT2                  91 9, 50             650
    1991-90      L4/2.2L        AT & Opt                          75                   630                  2004-02   H6/3.6L    Ex GT2               94R                  650         30
    1991-90      V6/3.1L        MT                                75                   525          5       2004-02   H6/3.6L    Ex GT2               94R 9, 50            740         30
    1991-90      V6/3.1L        AT                                75                   630                  2004-01   H6/3.6L    GT2                  48 50                650         29
    1973-71      V8/6.6L                                          74                   465         7        2001-99   H6/3.4L                         48 50                650         29
    1973-71      V8/7.5L                                          74                   465         7        2001      H6/3.6L    Ex GT2               91 50                650
    1970-68      L6/4.1L                                          22F                  250         38       1998-90   H6/3.6L                         48 50                650         29
    See page 88 for Footnotes. Selection may vary by warehouse.

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76                                                                                           Automotive/Light Truck
                                                            Original                                                                                               Original
  Year      Engine            Options     BCI Group Size   Equipment    Fitment     Year      Engine              Options                       BCI Group Size    Equipment    Fitment
                                              (notes)                    Code                                                                       (notes)                     Code
                                                           CCA/Rating                                                                                             CCA/Rating
Porsche 911 (continued)                                                           Ram 2500
1992      H6/3.3L                       48 54                650         29       2017      L6/6.7L    Dsl                                    94R 2                  730         30
1991      H6/3.3L    Turbo              48 54                650         29       2017      V8/5.7L                                           94R                    730         30
1980-78   H6/3.0L                       49                   650         33       2017      V8/6.4L                                           94R                    730         30
1977-76   H6/2.7L                       39                   650                  2016      L6/6.7L    Dsl                                    94R                    730         30
1977-76   H6/3.0L                       39                   650                  2016      V8/5.7L                                           94R                    730         30
1975-74   H6/2.7L                       42                   300                  2016      V8/6.4L                                           94R                    730         30
1973-72   H6/2.3L                       39                   300                  2015      L6/6.7L    Dsl                                    94R 2                  730         30
1973-72   H6/2.4L                       39                   300                  2015      V8/5.7L                                           94R                    730         30
1971-70   H6/2.2L                       39                   300                  2015      V8/6.4L                                           94R                    730         30
1969      H6/2.0L                       39                   300                  2014-11   L6/6.7L    Dsl                                    94R 2                  730         30
1968-67   H6/2.0L                       22NF                 300         11       2014-11   V8/5.7L                                           94R                    730         30
Porsche 912                                                                       2014      V8/6.4L                                           94R                    730         30
1976    H4/2.0L                         42                   300                  Ram 3500
1969-67 H4/1.6L                         22NF                 300         11       2017      L6/6.7L    Dsl                                    94R 2                  730         30
1969    H4/1.6L                         39                   300                  2017      V8/5.7L                                           94R                    730         30
Porsche 914                                                                       2017      V8/6.4L                                           94R                    730         30
1976-74   H4/2.0L                       42                   300                  2016      L6/6.7L    Dsl                                    94R                    730         30
1975-74   H4/1.8L                       42                   300                  2016      V8/5.7L                                           94R                    730         30
1973-70   H4/1.7L                       39                   300                  2016      V8/6.4L                                           94R                    730         30
1973      H4/2.0L                       39                   300                  2015      L6/6.7L    Dsl                                    94R 2                  730         30
1972-70   H6/2.0L                       39                   300                  2015      V8/5.7L                                           94R                    730         30
Porsche 928                                                                       2015      V8/6.4L                                           94R                    730         30
1995-93 V8/5.4L                         48                   650         29       2014-11   L6/6.7L    Dsl                                    94R 2                  730         30
1991-90 V8/5.0L                         48                   650         29       2014-11   V8/5.7L                                           94R                    730         30
                                                                                  2014      V8/6.4L                                           94R                    730         30
Porsche 968
1995-92 L4/3.0L                         91                   600                  Ram C/V
Porsche Boxster                                                                   2015    V6/3.6L                                             94R                    730         30
                                              50                                  2014-12 V6/3.6L                                             94R                    730         30
2014-13   H6/2.7L                       94R                  650         30
2014-07   H6/3.4L                       94R 50               650         30       Ram Dakota
2012-09   H6/2.9L                       94R 50               650         30       2011      V6/3.7L                                           65                     600         1
2008-06   H6/2.7L                       94R 50               650         30       2011      V6/3.7L    Opt                                    65                     750         1
2006      H6/3.2L                       94R 50               650         30       2011      V8/4.7L                                           65                     600         1
2005-02   H6/2.7L    Opt                94R 50               650         30       2011      V8/4.7L    Opt                                    65                     750         1
2005-02   H6/3.2L    Opt                94R 50               650         30       Ram ProMaster 1500
2005-00   H6/2.7L                       48 50                650         29       2017-14   L4/3.0L    Dsl, Opt                               95R 50                 950
2005-00   H6/3.2L                       48 50                650         29       2017-14   V6/3.6L    Opt                                    95R 50                 950
1999-97   H6/2.5L                       48 50                650         29       2017      L4/3.0L    Dsl                                    49 50                  800
Porsche Carrera GT                                                                2017      V6/3.6L                                           49 50                  800
2005-04 V10/5.7L                        48 54                650         29       2016      L4/3.0L    Dsl                                    49                     800
Porsche Cayenne                                                                   2016      V6/3.6L                                           49                     800
2014-11   V6/3.0L    Hybrid             94R 50               650         30       2015      L4/3.0L    Dsl                                    49                     800
2014-08   V6/3.6L                       94R 50               650         30       2015      V6/3.6L                                           49                     800
2014-08   V8/4.8L                       49 50                740         33       2014      L4/3.0L    Dsl                                    49                     800
2006-04   V6/3.2L                       94R 50               640         30       2014      V6/3.6L                                           49                     800
2006-03   V8/4.5L                       49 50                740         33       Ram ProMaster 2500
Porsche Cayman                                                                    2017-14   L4/3.0L    Dsl, Opt                               95R 50                 950
2014      H6/2.7L                       49   50
                                                             740         33       2017-14   V6/3.6L    Opt                                    95R 50                 950
2014      H6/3.4L                       49 50                740         33       2017      L4/3.0L    Dsl                                    49 50                  800
2012-10   H6/3.4L                       49 50                740         33       2017      V6/3.6L                                           49 50                  800
2012-09   H6/2.9L                       49 50                740         33       2016      L4/3.0L    Dsl                                    49                     800
2009-06   H6/3.4L                       94R 50               740         30       2016      V6/3.6L                                           49                     800
2008-07   H6/2.7L                       94R 50               740         30       2015      L4/3.0L    Dsl                                    49                     800
Porsche Panamera                                                                  2015      V6/3.6L                                           49                     800
                                                                                  2014      L4/3.0L    Dsl                                    49                     800
2014-12 V6/3.0L                         49 50                740         33
                                                                                  2014      V6/3.6L                                           49                     800
2014-11 V6/3.6L                         49 50                740         33
2014-10 V8/4.8L                         49 50                740         33       Ram ProMaster 3500
Ram 1500                                                                          2017-14   L4/3.0L    Dsl, Opt                               95R 50                 950
2017      V6/3.0L    Dsl                49   33
                                                             800                  2017-14   V6/3.6L    Opt                                    95R 50                 950
2017      V6/3.6L                       94R                  730         30       2017      L4/3.0L    Dsl                                    49 50                  800
2017      V8/5.7L                       94R                  730         30       2017      V6/3.6L                                           49 50                  800
2016-14   V6/3.0L    Dsl                49 33                800                  2016      L4/3.0L    Dsl                                    49                     800
2016      V6/3.6L                       94R                  730         30       2016      V6/3.6L                                           49                     800
2016      V8/5.7L                       94R                  730         30       2015      L4/3.0L    Dsl                                    49                     800
2015      V6/3.6L                       94R                  730         30       2015      V6/3.6L                                           49                     800
2015      V8/5.7L                       94R                  730         30       2014      L4/3.0L    Dsl                                    49                     800
2014-13   V6/3.6L                       94R                  730         30       2014      V6/3.6L                                           49                     800
2014-11   V8/5.7L                       94R                  730         30       Ram ProMaster City
2013-11   V8/4.7L                       94R                  730         30       2017    L4/2.4L                                             48                      750        29
2012-11   V6/3.7L                       94R                  730         30       2016-15 L4/2.4L                                             48                      750        29
                                                                                                                            See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                 Saturn
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    Automotive/Light Truck                                                                                                                                                                  77
                                                                                      Original                                                                                      Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment      Year     Engine                 Options            BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                               (notes)                    Code
                                                                                     CCA/Rating                                                                                    CCA/Rating
    Renault Fuego                                                                                           Saab 9-2X, 9-3, 9-3X, 9-4X, 9-5, 9-7X (continued)
    1984-82 L4/1.6L             Opt                               42 50                320                  2003-99   V6/3.0L    9-5                            91                   520
    1984    L4/2.2L             Opt                               42 50                320                  2003-02   L4/2.3L                                   48 50                700         29
    Renault R18                                                                                             2003-02   V6/3.0L                                   48                   700         29
    1981         L4/1.6L        Opt                               42 50                320                  2003      L4/2.0L    Conv                           47 40                580
                                                                                                            2003      L4/2.0L    Sport Sedan                    48 50                700         29
    Renault R18i
                                                                                                            2002-99   L4/2.0L    9-3 Conv                       47                   520         28
    1984    L4/2.2L             Opt                               42 50                320
                                                                                                            2002-99   L4/2.3L    9-3 Sedan                      47                   580
    1983-81 L4/1.6L             Opt                               42 50                320
                                                                                                            2002      L4/2.0L                                   47 40                580
    Rolls-Royce Ghost                                                                                       2002      L4/2.3L                                   47 40                580
    2015    V12/6.6L                                              49 33, 50, 54        900                  2001-99   L4/2.0L                                   47                   580
    2014-11 V12/6.6L                                              49 33, 50, 54        900                  2001-99   L4/2.3L                                   47                   580
    2010    V12/6.6L                                              49 33, 50, 54        900                  2001-99   V6/3.0L                                   48                   650         29
    Rolls-Royce Phantom                                                                                     2001-00   L4/2.3L                                   48                   650         29
    2015    V12/6.7L                                              48 33, 50, 54        760                  1999      L4/2.3L                                   48                   700         29
    2014-04 V12/6.7L                                              48 33, 50, 54        760                  Saleen S7
    2014-04 V12/6.7L Opt                                          49 33, 50, 54        900                  2006-02 V8/7.0L                                     34                   750
    Rolls-Royce Wraith                                                                                      Saturn Astra
    2015         V12/6.6L                                         49 33, 50, 54        900                  2009-08 L4/1.8L                                     91                   600
    2014         V12/6.6L                                         49 33, 50, 54        900                  Saturn Aura
    Saab 900                                                                                                2009      L4/2.4L                                   90                   600         37
    1998-94      L4/2.0L                                          47                   520         28       2009      V6/3.6L                                   90                   600         37
    1998-94      L4/2.3L                                          47                   520         28       2008      L4/2.4L                                   90                   590         37
    1997-94      V6/2.5L                                          47                   520         28       2008      V6/3.5L                                   90                   590         37
    1994         L4/2.1L                                          47                   520         28       2008      V6/3.6L                                   90                   590         37
    1993-91      L4/2.1L                                          26                   405                  2007      L4/2.4L    XE                             75                   575
    1993-90      L4/2.0L                                          26                   405                  2007      L4/2.4L    XR                             75                   690
    Saab 9000                                                                                               2007      V6/3.5L                                   75                   690
    1998-94      L4/2.3L                                          41                   570                  2007      V6/3.6L                                   75                   690
    1998-94      L4/2.3L       Group 47 fits 9 1/2" tray          91 56                520                  Saturn Ion
    1997-95      V6/3.0L                                          41                   570                  2007-06   L4/2.2L    From 6/2006                    78 50                600          7
    1997-95      V6/3.0L       Group 47 fits 9 1/2" tray          91 56                520                  2007-06   L4/2.4L    From 6/2006                    78 50                600          7
    1993-92      L4/2.3L                                          47                   520         28       2007-04   L4/2.0L                                   78 50                600          7
    1991-90      L4/2.3L        Opt                               34R                  450                  2006      L4/2.2L    To 6/2006                      75 50                600
    1991-90      L4/2.3L                                          47                   450         28       2006      L4/2.4L    To 6/2006                      75 50                600
    1990         L4/2.0L        Opt                               34R                  450                  2005-03   L4/2.2L                                   75 50                600
    1990         L4/2.0L                                          47                   450         28
                                                                                                            Saturn L, LS, LW, SC, SL, SW
    Saab 9-2X, 9-3, 9-3X, 9-4X, 9-5, 9-7X                                                                   2002-91   L4/1.9L                                   75                   525          5
                                                                       50
    2011-10 L4/2.0L                                               48                   700         29       2001-93   L4/1.9L                                   75                   525          5
    2011-10 V6/2.8L                                               48                   700         29       2000      L4/2.2L                                   75                   525          5
    2011-10 V6/2.8L 9-5                                           48                   700         29       2000      V6/3.0L                                   75                   525          5
    2011-08 L4/2.0L                                               48                  70 Ah        29       1999-93   L4/1.9L                                   75                   525          5
    2011-08 L4/2.0L 9-3                                           48                  70 Ah        29       1992-91   L4/1.9L                                   75                   525          5
    2011        L4/2.0L                                           91                   550
    2011        L4/2.0L 9-5                                       91                   550
                                                                                                            Saturn L100
    2011        V6/2.8L 9-4X                                      48                   700         29       2002      L4/2.2L                                   78                   600          7
    2011        V6/3.0L                                           48                   700         29       2001      L4/2.2L                                   75                   525          5
    2011        V6/3.0L 9-4X                                      48                   700         29       Saturn L200
    2009-08 L4/2.3L                                               48                  70 Ah        29       2003-02 L4/2.2L                                     78                   600          7
    2009-08 L4/2.3L 9-5                                           48                  70 Ah        29       2001    L4/2.2L                                     75                   525          5
    2009-08 L4/2.3L                                               48 50                700         29       Saturn L300
    2009-08 V6/2.8L                                               48                  70 Ah        29       2005-02 V6/3.0L                                     78                   600          7
    2009-08 V6/2.8L 9-3                                           48                  70 Ah        29       2004    L4/2.2L                                     78                   600          7
    2009-08 V8/6.0L                                               78                   600          7       2001    V6/3.0L                                     75                   525          5
    2009-08 V8/6.0L 9-7X                                          78                   600          7       Saturn LW200
    2009-06 V6/2.8L                                               48 50                700         29
                                                                                                            2003-02 L4/2.2L                                     78                   600          7
    2009-05 L6/4.2L                                               78                   600          7
                                                                                                            2001    L4/2.2L                                     75                   525          5
    2009-05 L6/4.2L 9-7X                                          78                   600          7
    2009-05 V8/5.3L                                               78                   600          7       Saturn LW300
    2009-05 V8/5.3L 9-7X                                          78                   600          7       2003-02 V6/3.0L                                     78                   600          7
    2009-04 L4/2.0L                                               48 50                700         29       2001    V6/3.0L                                     75                   525          5
    2007-99 L4/2.3L                                               91                   520                  Saturn Outlook
    2007-99 L4/2.3L 9-5                                           91                   520                  2010    V6/3.6L                                     48 50                660         29
    2007-04 L4/2.0L 9-3 Conv                                      91                  60 Ah                 2009-07 V6/3.6L                                     48 50                730         29
    2007-04 L4/2.3L                                               48                   700         29       Saturn Relay
    2007-03 L4/2.0L 9-3 Sport Sedan                               91                  60 Ah                 2007-06 V6/3.9L                                     34                   600          9
    2006        H4/2.5L 9-2X Aero                                 35                   550          3       2006-05 V6/3.5L                                     34                   600          9
    2005        H4/2.0L                                           25                   550          6
    2005        H4/2.0L 9-2X Aero                                 75D23R               550          6       Saturn SC, SL, SW (See L, LS, LW, SC, SL, SW)
    2005        H4/2.5L                                           25                   550          6       Saturn Sky
    2005        H4/2.5L 9-2X Linear                               75D23L               550          3       2010-07 L4/2.0L                                     86                   590         31
    2003-99 V6/3.0L                                               91                   520                  2010-07 L4/2.4L                                     86                   590         31
    See page 88 for Footnotes. Selection may vary by warehouse.

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78                                                                                                  Automotive/Light Truck
                                                                   Original                                                                                               Original
  Year      Engine                   Options     BCI Group Size   Equipment    Fitment     Year      Engine              Options                       BCI Group Size    Equipment    Fitment
                                                     (notes)                    Code                                                                       (notes)                     Code
                                                                  CCA/Rating                                                                                             CCA/Rating
Saturn Vue                                                                               Subaru BRZ (continued)
2010-08   L4/2.4L                              47                   650                  2015    H4/2.0L                                             35                     550         3
2010-08   V6/3.6L                              48                   730         29       2014-13 H4/2.0L                                             35                     550         3
2010      V6/3.5L                              48                   730         29       Subaru Crosstrek
2009-08   V6/3.5L                              48                   730         29       2017      H4/2.0L                                           35                     390         3
2007      L4/2.2L                              75                   525          5       2016      H4/2.0L                                           35                     390         3
2007      L4/2.4L                              86                   590         31       Subaru Forester
2007      V6/3.5L                              86                   640                  2017      H4/2.0L                                           35                     390         3
2006-04   L4/2.2L                              75                   550          5       2017      H4/2.5L                                           35                     390         3
2006-04   V6/3.5L                              86                   590         31       2016      H4/2.0L                                           35                     390         3
2003-02   L4/2.2L                              75                   600                  2016      H4/2.5L                                           35                     390         3
2003-02   V6/3.0L                              75                   600                  2015      H4/2.0L                                           35                     550         3
Scion FR-S                                                                               2015      H4/2.5L                                           35                     550         3
2016      H4/2.0L                              35 50                430                  2014-10   H4/2.5L                                           35                     550         3
2015      H4/2.0L                              35                   430          3       2014      H4/2.0L                                           35                     550         3
2015      H4/2.0L                              55D23L               430          3       2009-08   H4/2.5L                                           35                     490         3
2014-13   H4/2.0L                              35                   430          3       2007      H4/2.5L                                           35                     500         3
2014-13   H4/2.0L                              55D23L 45, 54        430          3       2006      H4/2.5L    MT                                     35                     360         3
Scion iA                                                                                 2006      H4/2.5L    AT                                     35                     490         3
                                                                                         2005-98   H4/2.5L    AT or HD                               35                     520         3
2016      L4/1.5L                              35                   N/A          3
                                                                                         2005      H4/2.5L    MT                                     35                     430         3
Scion iM                                                                                 2004-98   H4/2.5L    MT                                     35                     360         3
2016      L4/1.8L                              35                   N/A          3       Subaru Impreza
Scion iQ                                                                                 2017-16   H4/2.0L                                           35                     550         3
2015      L4/1.3L    Opt, Cold Climate         35                   320          3       2015      H4/2.0L                                           35                     550         3
2015      L4/1.3L                              51                   295         20       2014-12   H4/2.0L                                           35                     550         3
2014-12   L4/1.3L    Opt, Cold Climate         35                   320          3       2014-10   H4/2.5L                                           35                     550         3
2014-12   L4/1.3L                              51                   295         20       2009-07   H4/2.5L                                           35                     520         3
2014      L4/1.3L    Cold Climate Pkg          51 33                320          6       2006      H4/2.5L    MT                                     35                     420         3
Scion tC                                                                                 2006      H4/2.5L    AT                                     35                     490         3
2016      L4/2.5L                              24F                  530         23       2005-02   H4/2.5L    AT                                     35                     520         3
2015      L4/2.5L                              24F                  575         23       2005      H4/2.0L    MT                                     35                     430         3
2014-11   L4/2.5L                              24F                  575         23       2005      H4/2.0L    AT                                     35                     520         3
2010-05   L4/2.4L                              24                   575         22       2005      H4/2.5L    MT                                     35                     430         3
Scion xA                                                                                 2004-02   H4/2.0L    MT                                     35                     360         3
2006-04 L4/1.5L                                25                   550          6       2004-02   H4/2.0L    AT                                     35                     420         3
                                                                                         2004-02   H4/2.5L    MT                                     35                     360         3
Scion xB                                                                                 2001-95   H4/2.2L    MT                                     35                     360         3
2015      L4/2.4L                              24F                  575         23       2001-95   H4/2.2L    AT                                     35                     520         3
2014-10   L4/2.4L                              24F                  575         23       2001      H4/2.5L                                           35                     520         3
2014-10   L4/2.4L                              24F                  585         23       2000-98   H4/2.5L    MT                                     35                     360         3
2009-08   L4/2.4L                              24F                  550         23       2000-98   H4/2.5L    AT                                     35                     520         3
2009-08   L4/2.4L                              24F                  575         23       1997-96   H4/1.8L    MT                                     35                     360         3
2006-04   L4/1.5L                              25                   550          6       1997-93   H4/1.8L    AT                                     35                     520         3
Scion xD                                                                                 1995-94   H4/1.8L    MT                                     35                     360         3
2014-10 L4/1.8L                                35                   550          3       1995      H4/1.8L    MT                                     35                     360         3
2014-08 L4/1.8L                                35                   355          3       1993      H4/1.8L    MT                                     35                     360         3
2009-08 L4/1.8L                                35                   550          3       Subaru Justy
Smart Fortwo                                                                             1995    L3/1.2L                                             35                     550         3
2016-12              AGM, Opt                  47 33, 50, 54        680                  1994-90 L3/1.2L                                             35                     420         3
2016                 Electric                  47 50, 54            480         28       Subaru Legacy, Outback
2016      L3/0.9L                              47 50, 54            480         28       2017-16   H4/2.5L                                           25                      355         6
2016      L3/0.9L    AGM, Opt                  47 33, 50, 54        680                  2017-15   H6/3.6L                                           25                      490         6
2015-12              Electric                  47 50, 54            480         28       2015      H4/2.5L                                           25                      490         6
2015      L3/1.0L    w/o AGM                   47 50, 54            480         28       2015      H6/3.6L                                           25                      490         6
2015      L3/1.0L                              47 33, 50, 54        680                  2014-10   H4/2.5L                                           25                      490         6
2014-08   L3/1.0L    w/o AGM                   47 50, 54            480         28       2014-10   H6/3.6L                                           25                      490         6
2014-08   L3/1.0L    Opt                       47 33, 50, 54        680                  2009-07   H4/2.5L                                           35                      490         3
2011                 Electric                  47 50, 54            480         28       2009-07   H6/3.0L                                           35                      490         3
2011                 Electric, Opt             47 33, 50, 54        680                  2008-00   H4/2.5L    Opt                                    85                      430
2007-05   L3/0.8L                              47 50, 54            540         28       2008      H4/2.5L                                           35                      430         3
Sterling 827                                                                             2006-00   H4/2.5L    MT                                     35                      430         3
1991-90 V6/2.7L                                34R                  675                  2006-00   H4/2.5L    AT                                     35                      490         3
Subaru B9 Tribeca                                                                        2006      H4/2.5L    AT                                     35                      490         3
2007-06 H6/3.0L                                35                   490          3       2006      H6/3.0L    AT                                     35                      490         3
                                                                                         2005-01   H6/3.0L                                           35                      490         3
Subaru Baja                                                                              2005-00   H4/2.5L    AT                                     35                      490         3
2006-03 H4/2.5L      MT                        35                   430          3       1999-97   H4/2.2L    AT                                     35                      490         3
2006-03 H4/2.5L      AT                        35                   490          3       1999-95   H4/2.2L    Opt                                    85                      430
Subaru BRZ                                                                               1999      H4/2.2L    AT, HD                                 35                      430         3
2017      H4/2.0L                              35                   550          3       1999      H4/2.5L    MT                                     35                      430         3
2016      H4/2.0L                              35                   550          3       1999      H4/2.5L    AT                                     35                      490         3
                                                                                                                                   See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                                 Toyota
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    Automotive/Light Truck                                                                                                                                                              79
                                                                                      Original                                                                                 Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                 Options       BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                          (notes)                    Code
                                                                                     CCA/Rating                                                                               CCA/Rating
    Subaru Legacy, Outback (continued)                                                                      Suzuki Reno
    1998-96      H4/2.5L        Opt                               35                   430          3       2008-05 L4/2.0L                                86 11                610
    1998-96      H4/2.5L        AT                                35                   490          3       Suzuki Samurai
    1998         H4/2.2L        MT                                35                   430          3       1995-90 L4/1.3L                                51                   405         20
    1997-96      H4/2.5L        MT                                35                   355          3
    1997-95      H4/2.2L        MT                                35                   355          3
                                                                                                            Suzuki Sidekick
    1996-95      H4/2.2L        AT, HD                            35                   490          3       1998-96 L4/1.6L                                26R                  390         38
    1994-91      H4/2.2L        AT & Turbo                        35                   490          3       1998-96 L4/1.8L                                85                   550
    1994-90      H4/2.2L        MT, Ex Turbo                      35                   355          3       1995-90 L4/1.6L                                51                   405         20
    1994-90      H4/2.2L        Opt                               35                   430          3       Suzuki Swift
    1994-90      H4/2.2L                                          35                   550          3       2001-95   L4/1.3L                              26R                  440         38
    Subaru Loyale                                                                                           1994-92   L3/1.0L                              51                   435         20
    1994-91      H4/1.8L        MT                                21                   305          6       1994-90   L4/1.3L                              51                   435         20
    1994-91      H4/1.8L        AT                                25                   420          6       1993-92   L4/1.6L                              51                   435         20
    1990         H4/1.8L        MT                                21                   310          6       Suzuki Swift+
    1990         H4/1.8L        Turbo, AT                         24                   490         22       2009-04 L4/1.6L                                86                   550         31
    1990         H4/1.8L        AT                                25                   420          6       Suzuki SX4, SX4 Crossover
    Subaru Outback (See Legacy, Outback)                                                                    2013-07 L4/2.0L                                24                   700         22
    Subaru SVX                                                                                              2012    L4/2.0L                                24                   700         22
    1997-92 H6/3.3L                                               24                   585         22       Suzuki Verona
    Subaru Tribeca                                                                                          2006-04 L6/2.5L                                34 11                700
    2014-08 H6/3.6L                                               35                   490          3       Suzuki Vitara
    Subaru WRX                                                                                              2004      V6/2.5L                              85                   600
    2017         H4/2.0L                                          35                   390          3       2003-99   L4/2.0L                              85                   550
    2016         H4/2.0L                                          35 45                390          3       2002      L4/1.6L                              26R                  540         38
    2015         H4/2.0L                                          35                   390          3       2001-99   L4/1.6L                              85                   550
    2015         H4/2.0L                                          55D23L               490          3       Suzuki X-90
    2014-13      H4/2.5L                                          35                   390          3       1998-96 L4/1.6L                                26R                  440         38
    2014-13      H4/2.5L                                          55D23L               390          3       Suzuki XL7
    Subaru WRX STI                                                                                          2009-07   V6/3.6L                              47                   650
    2017         H4/2.5L                                          35                   390          3       2006-05   V6/2.7L                              24F                  700         23
    2016         H4/2.5L                                          35 45                390          3       2004      V6/2.7L                              24F                  700         23
    2015-13      H4/2.5L                                          35                   390          3       2003-02   V6/2.7L                              85                   550
    2015         H4/2.5L                                          55D23L 45            390          3       Toyota 4Runner
    2014-13      H4/2.5L                                          55D23L               390          3       2017-15   V6/4.0L                              24F                  585         23
    Subaru XT                                                                                               2014      V6/4.0L                              24F                  530         23
    1991-90      H4/1.8L        MT                                21                   310          6       2014      V6/4.0L                              24F                  585         23
    1991-90      H6/2.7L        MT                                25                   350          6       2013-03   V6/4.0L                              24F                  585         23
    1991         H4/1.8L        AT                                25                   405          6       2010      L4/2.7L                              24F                  585         23
    1991         H6/2.7L        AT                                25                   490          6       2010      L4/2.7L    HD or Cold Climate        27F                  710         36
    1990         H4/1.8L        AT, Ex Turbo                      25                   490          6       2009-03   V6/4.0L    HD or Cold Climate        27F                  710         36
    Subaru XV Crosstrek                                                                                     2009-03   V8/4.7L                              24F                  585         23
    2015         H4/2.0L        Gas                               35                   390          3       2009-03   V8/4.7L    HD or Cold Climate        27F                  710         36
    2015         H4/2.0L        US, Gas                           35                   390          3       2002-01   V6/3.4L                              24F                  585         23
    2014-13      H4/2.0L        Gas                               55D23L 45            N/A          3       2002-01   V6/3.4L    Opt                       27F                  710         36
    2014         H4/2.0L        Gas                               35                   390          3       2000-96   L4/2.7L                              24F                  585         23
    2014         H4/2.0L        US, Gas                           35                   390          3       2000-96   V6/3.4L    Opt                       24F                  585         23
    2013         H4/2.0L                                          35                   390          3       2000-96   V6/3.4L                              35                   360          3
    2013         H4/2.0L                                          35                   550          3       1995-91   L4/2.4L    Opt                       24                   585         22
    Suzuki Aerio                                                                                            1995-91   L4/2.4L                              25                   360          6
    2007-04 L4/2.3L                                               24F                  700         23       1995-91   V6/3.0L    Opt                       24                   585         22
    2003-02 L4/2.0L                                               24F                  700         23       1995-91   V6/3.0L                              25                   360          6
                                                                                                            1990      L4/2.4L                              25                   350          6
    Suzuki Equator                                                                                          1990      V6/3.0L                              24                   585         22
    2012-09 L4/2.5L                                               24F                  550         23
    2012-09 V6/4.0L                                               24F                  550         23       Toyota 86
                                                                                                            2017      H4/2.0L                              35                   355          3
    Suzuki Esteem
    2002-99 L4/1.8L                                               26R                  440         38       Toyota Avalon
    2001    L4/1.6L                                               26R                  540         38       2017-16   L4/2.5L    Hybrid                    S55D23R 33, 45, 50, 61 355
    2000-95 L4/1.6L                                               26R                  440         38       2017-16   V6/3.5L                              24F                    585       23
    Suzuki Forenza                                                                                          2016      L4/2.5L    Hybrid                    24F                    585       23
                                                                                                            2015      L4/2.5L    Hybrid                    S55D23R 33, 50         355
    2008-04 L4/2.0L                                               86 11                610
                                                                                                            2015      L4/2.5L    Hybrid, w/Mayday System   S65D26R 33, 50         450
    Suzuki Grand Vitara                                                                                     2015      V6/3.5L                              24F                    585       23
    2013-09      L4/2.4L                                          24F                  700         23       2015      V6/3.5L    Opt                       35                     390       3
    2010-09      V6/3.2L                                          24F                  700         23       2014-13   L4/2.5L    Hybrid                    S55D23R 33, 50, 54 355
    2008-06      V6/2.7L                                          24F                  700         23       2014-13   L4/2.5L    Hybrid, w/Mayday System   S65D26R 33, 45, 50, 61 450
    2005-04      V6/2.5L                                          24F                  700         23       2014-05   V6/3.5L                              24F                    585       23
    2003-99      V6/2.5L                                          85                   550                  2014-05   V6/3.5L    Opt                       35                     390       3
    2001         V6/2.7L                                          24F                  550         23       2011-05   V6/3.5L    Alt                       35                     310       3
    Suzuki Kizashi                                                                                          2004-03   V6/3.0L                              24F                    585       23
    2013-10 L4/2.4L                                               24F                  700         23       2004-03   V6/3.0L    Opt                       35                     390       3
    See page 88 for Footnotes. Selection may vary by warehouse.

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80                                                                                                 Automotive/Light Truck
                                                                  Original                                                                                                   Original
  Year      Engine                  Options     BCI Group Size   Equipment    Fitment     Year      Engine                  Options                       BCI Group Size    Equipment    Fitment
                                                    (notes)                    Code                                                                           (notes)                     Code
                                                                 CCA/Rating                                                                                                 CCA/Rating
Toyota Avalon (continued)                                                               Toyota Corolla (continued)
2002-95 V6/3.0L      Can & Opt                24F                  585         23       2005-04   L4/1.8L                                               35                     310         3
2002    V6/3.0L      US                       35                   390          3       2003-95   L4/1.8L                                               35                     360         3
2001-95 V6/3.0L      US                       35                   360          3       1997-95   L4/1.6L    Opt                                        35                     310         3
Toyota Camry, Solara                                                                    1996      L4/1.6L    Std Battery                                21R                    360         3
2017-16   L4/2.5L    Hybrid                   S55D23R 33, 45, 50, 61 355                1994-93   L4/1.8L                                               21R                    310         3
2017-16   L4/2.5L    Hybrid w/Moonroof        S65D26R 33, 45, 50, 61 450                1994-93   L4/1.8L    Opt                                        35                     360         3
2017      L4/2.5L    Gas                      24F                    585       23       1994      L4/1.6L    Opt                                        21R                    350         3
2017      L4/2.5L    US, Gas                  24F                    585       23       1994      L4/1.6L                                               35                     310         3
2017      V6/3.5L                             24F                    585       23       1993-91   L4/1.6L    Opt                                        21R                    310         3
2016      L4/2.5L    Hybrid                   24F                    585       23       1993-90   L4/1.6L                                               21R                    310         3
2016      V6/3.5L                             24F                    585       23       1990      L4/1.6L    Opt                                        21R                    350         3
2015      L4/2.5L    Gas                      24F                    585       23       Toyota Corolla iM
2015      L4/2.5L    US, Gas                  24F                    585       23       2017      L4/1.8L                                               35                     355         3
2015      L4/2.5L    Hybrid                   S55D23R 33, 50         355
2015      L4/2.5L    Hybrid w/Moonroof        S65D26R 33, 50
                                                                     450                Toyota Cressida
2015      V6/3.5L                             24F                    585       23       1992-90 L6/3.0L                                                 27F                    450         36
2014-12   L4/2.5L    Hybrid                   S55D23R 33, 45, 50, 61 355                Toyota Echo
2014-12   L4/2.5L    Hybrid w/o Moonroof      S55D23R 33, 50         360                2005-03   L4/1.5L                                               21                     420         6
2014-12   L4/2.5L    Hybrid w/Moonroof        S65D26R 33, 50         360                2002-00   L4/1.5L    US                                         21                     310         6
2014-12   L4/2.5L    Hybrid w/Moonroof        S65D26R 33, 45, 50, 61 450                2002      L4/1.5L    Can & Opt                                  25                     360         6
2014-10   L4/2.5L                             24F                    585       23       2001      L4/1.5L    Can & Opt                                  25                     420         6
2014-07   V6/3.5L                             24F                    585       23       Toyota FJ Cruiser
2011      L4/2.4L    Hybrid w/Moonroof        S65D26R 33, 50         N/A
                                                                                        2014    V6/4.0L                                                 24R                    585         23
2010-07   L4/2.4L    Hybrid                   S65D26R 33, 50         N/A
                                                                                        2013-11 V6/4.0L                                                 24F                    585         23
2009      L4/2.4L    Gas                      24F                    585       23
                                                                                        2010-07 V6/4.0L                                                 27F                    710         36
2009      L4/2.4L    Opt, w/o Cold Climate    35                     390        3
2008-07   V6/3.3L                             24F                    585       23       Toyota Highlander
2008-02   L4/2.4L    Cold Climate             24F                    585       23       2017-16   V6/3.5L    Hybrid                                     S55D23L 33, 45, 50, 61 360
2008      L4/2.4L    Opt                      35                     390        3       2017      L4/2.7L                                               24F                    585         23
2007-02   L4/2.4L                             35                     390        3       2017      V6/3.5L    Gas                                        24F                    585         23
2006-04   V6/3.0L    Cold Climate             24F                    585       23       2017      V6/3.5L    US, Gas                                    24F                    585         23
2006-04   V6/3.0L    w/o Cold Climate         35                     390        3       2016      L4/2.7L                                               24F                    585         23
2006-04   V6/3.3L    Cold Climate             24F                    585       23       2016      V6/3.5L    Gas                                        24F                    585         23
2006-04   V6/3.3L    w/o Cold Climate         35                     390        3       2016      V6/3.5L    Hybrid                                     24F                    585         23
2003-02   L4/2.4L    US                       35                     360        3       2015      L4/2.7L                                               24F                    585         23
2003-02   V6/3.0L    US                       35                     390        3       2015      V6/3.5L    Gas                                        24F                    585         23
2003-01   V6/3.0L    Can & Opt                24F                    585       23       2015      V6/3.5L    Hybrid                                     S55D23L 33, 50         360
2001      L4/2.2L    Can & Opt                24F                    585       23       2014-11   V6/3.5L    Hybrid                                     S55D23L 33, 50         360
2001      L4/2.2L    US                       35                     360        3       2014-09   L4/2.7L                                               24F                    585         23
2001      V6/3.0L    US                       35                     360        3       2014-08   V6/3.5L                                               24F                    585         23
2000-95   V6/3.0L    Can & Cold Climate       24F                    585       23       2010-06   V6/3.3L    Hybrid                                     51R                    435         11
2000-92   L4/2.2L    Opt                      24F                    585       23       2007-04   V6/3.3L                                               24F                    585         23
2000-92   L4/2.2L                             35                     360        3       2007-01   L4/2.4L                                               24F                    585         23
2000-92   V6/3.0L                             35                     360        3       2003-01   V6/3.0L                                               24F                    585         23
1994-92   V6/3.0L    Opt                      24F                    585       23
1991-90   L4/2.0L    US                       21R                    330        3       Toyota Land Cruiser
1991-90   L4/2.0L    Japan Production         35                     350        3       2017      V8/5.7L                                               27F                    710         36
1991-90   V6/2.5L    US                       21R                    330        3       2016      V8/5.7L                                               27F                    710         36
1991-90   V6/2.5L    Japan Production         35                     350        3       2015      V8/5.7L                                               27F                    710         36
Toyota Celica                                                                           2014-13   V8/5.7L                                               27F                    710         36
                                                                                        2011-08   V8/5.7L                                               27F                    710         36
2005-00   L4/1.8L                             35                   310          3
2004-02   L4/1.8L    Opt                      35                   360          3       2007-01   V8/4.7L                                               27F                    710         36
2001-00   L4/1.8L    Opt                      35                   420          3       2000-98   V8/4.7L                                               24F                    575         23
1999-95   L4/2.2L    Opt                      35                   420          3       1997-93   L6/4.5L                                               24F                    450         23
1999-92   L4/2.2L                             35                   360          3       1997-93   L6/4.5L    Can & Opt                                  27F                    625         36
1997-94   L4/1.8L                             35                   360          3       1992-90   L6/4.0L                                               27                     450         35
1996-94   L4/1.8L    Opt                      35                   420          3       Toyota Matrix
1993-92   L4/2.0L                             35                   360          3       2014-09 L4/1.8L                                                 35                     355         3
1993-92   L4/2.2L    Opt                      24F                  490         23       2013-09 L4/2.4L                                                 24F                    575         23
1993-90   L4/1.6L                             35                   360          3       2008-03 L4/1.8L                                                 35                     550         3
1991-90   L4/2.0L    FWD                      35                   350          3       Toyota Mirai
1991-90   L4/2.2L                             35                   350          3
                                                                                        2017-16              Electric/Hydrogen                          S46B24R 45             N/A
Toyota Corolla                                                                          2016                                                            S46B-20R               N/A
2017      L4/1.8L                             35                   355          3       Toyota MR2
2016      L4/1.8L                             35                   355          3
                                                                                        1995-93   L4/2.0L    Opt                                        24F                    490         23
2015      L4/1.8L                             35                   355          3
                                                                                        1995-93   L4/2.0L                                               35                     360         3
2014-09   L4/1.8L                             35                   355          3
2012      L4/2.4L                             24F                  582         23       1995-93   L4/2.2L                                               24F                    490         23
2012      L4/2.4L                             24F                  585         23       1992-91   L4/2.0L                                               35                     350         3
2011      L4/2.4L                             24F                  585         23       1992-91   L4/2.2L                                               35                     350         3
2010-09   L4/2.4L                             24F                  575         23       Toyota MR2 Spyder
2008-06   L4/1.8L                             35                   420          3       2005-00 L4/1.8L                                                 51R                     430        11
                                                                                                                                      See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                    Costco_001630
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                                                                                 Toyota
                                      929
    Automotive/Light Truck                                                                                                                                                            81
                                                                                        Original                                                                              Original
        Year         Engine                         Options         BCI Group Size     Equipment    Fitment     Year      Engine                 Options    BCI Group Size   Equipment    Fitment
                                                                        (notes)                      Code                                                       (notes)                    Code
                                                                                       CCA/Rating                                                                            CCA/Rating
    Toyota Paseo                                                                                              Toyota Sienna (continued)
    1999-98      L4/1.5L                                          25                     550          6       2013-11   L4/2.7L                            24F                 585         23
    1997-92      L4/1.5L                                          21                     310          6       2006-04   V6/3.3L                            24F                 585         23
    1997         L4/1.5L        Opt                               25                     360          6       2003-02   V6/3.0L    Opt                     24F                 585         23
    1996-93      L4/1.5L        Opt                               25                     410          6       2003-02   V6/3.0L                            35                  360         3
    1992         L4/1.5L        Can & Opt                         25                     350          6       2001-98   V6/3.0L                            24F                 585         23
    Toyota Pickup, T100                                                                                       Toyota Solara (See Camry, Solara)
    1998-95      V6/3.4L                                          24F                    585         23       Toyota Supra
    1998-94      L4/2.7L                                          24F                    585         23       1998-94   L6/3.0L    AT                      24F                 585         23
    1995-91      L4/2.4L        Can & Opt                         24                     585         22       1998-93   L6/3.0L    MT                      24F                 490         23
    1995-91      L4/2.4L        US                                25                     360          6       1993      L6/3.0L    AT                      24F                 485         23
    1995-91      V6/3.0L        Can & Opt                         24                     585         22       1992-90   L6/3.0L                            27F                 450         36
    1995-91      V6/3.0L        US                                25                     360          6       Toyota T100 (See Pickup, T100)
    1994-93      V6/3.0L        Can & Opt                         24                     585         22
    1994-93      V6/3.0L        US                                25                     360          6       Toyota Tacoma
    1990         L4/2.4L                                          21                     320          6       2016      L4/2.7L                            24F                 585         23
    1990         L4/2.4L        Opt                               25                     350          6       2016      V6/3.5L                            27F                 710         36
    1990         V6/3.0L        Opt                               21                     350          6       2015      L4/2.7L                            24F                 585         23
    1990         V6/3.0L                                          24                     585         22       2015      V6/4.0L                            27F                 710         36
                                                                                                              2014-09   V6/4.0L                            27F                 710         36
    Toyota Previa
                                                                                                              2014-05   L4/2.7L                            24F                 585         23
    1997-91 L4/2.4L             Opt                               24F                    585         23
                                                                                                              2008-07   V6/4.0L    Cold Climate or TTPkg   27F                 710         36
    1997-91 L4/2.4L                                               35                     360         3
                                                                                                              2008-05   V6/4.0L                            24F                 585         23
    Toyota Prius                                                                                              2006      V6/4.0L    HD & Cold Climate       27F                 710         36
    2017-16      L4/1.8L        Hybrid                            140R                   480                  2005      V6/4.0L    Cold Climate or TTPkg   27F                 710         36
    2015         L4/1.8L        Hybrid                            S46B24R 33, 50         325                  2004      L4/2.4L                            35                  310         3
    2014-10      L4/1.8L                                          S46B24R 33, 50         325                  2004      L4/2.7L                            35                  310         3
    2014         L4/1.8L        Plug in                           S46B24R 33, 50         360                  2004      V6/3.4L                            24F                 550         23
    2009-04      L4/1.5L        w/o Smart Key                     S34B20R 33, 50         270                  2003-01   L4/2.4L    Can & Opt               24F                 585         23
    2009-04      L4/1.5L        HD, Opt or Smart Key              S46B24R 33, 50         325                  2003-01   L4/2.4L    US                      35                  360         3
    2003-01      L4/1.5L                                          S34B20L 33, 50         270                  2003-01   L4/2.7L    Can & Opt               24F                 585         23
    Toyota Prius c                                                                                            2003-01   L4/2.7L    US                      35                  360         3
    2016    L4/1.5L             Hybrid                            S34B20R 33, 45, 50 270                      2003-01   V6/3.4L    Can & Opt               24F                 585         23
    2015    L4/1.5L             Hybrid                            S34B20R 33, 50     270                      2003-01   V6/3.4L    US                      35                  360         3
    2014-12 L4/1.5L             Hybrid                            S34B20R 33, 50     270                      2000-95   L4/2.4L    Opt                     24F                 585         23
    Toyota Prius Plug-In                                                                                      2000-95   L4/2.4L                            35                  360         3
                                                                                                              2000-95   L4/2.7L                            24F                 585         23
    2015-12 L4/1.8L             Hybrid                            S46B24R 33, 45, 50 325
                                                                                                              2000-95   V6/3.4L    Opt                     24F                 585         23
    Toyota Prius v                                                                                            2000-95   V6/3.4L                            35                  360         3
    2017         L4/1.8L        Hybrid                            S46B24R 33, 45, 50     325                  Toyota Tercel
    2015         L4/1.8L        Hybrid                            S46B24R 33, 50         325
                                                                                                              1999-97   L4/1.5L    Opt                     25                  360          6
    2014-12      L4/1.8L        Hybrid                            S46B24R 33, 45, 50     325                  1999-91   L4/1.5L                            21                  310          6
    2014-12      L4/1.8L        Hybrid                            SC46B24R 33, 50        325                  1996-95   L4/1.5L                            25                  360          6
    Toyota RAV4                                                                                               1996-93   L4/1.5L    Opt                     25                  410          6
    2017-16      L4/2.5L        Gas                               35                     355          3       1994-93   L4/1.5L                            25                  360          6
    2017-16      L4/2.5L        US, Gas                           35                     355          3       1992-91   L4/1.5L    Opt                     25                  350          6
    2017-16      L4/2.5L        Hybrid                            S55D23R 33, 45, 50, 61 355                  1990      L4/1.5L                            21R                 310          3
    2016         L4/2.5L        Gas                               80D23L                 N/A         3        1990      L4/1.5L    Opt                     35                  350          3
    2015         L4/2.5L                                          35                     355         3        Toyota Tundra
    2015         L4/2.5L                                          35                     356         3        2016      V8/4.6L                            24F                 585         23
    2014                        Electric                          55D23L 45              355          3       2016      V8/5.7L                            27F                 710         36
    2014         L4/2.5L                                          35                     356         3        2015      V8/4.6L                            24F                 585         23
    2013-12                     Electric                          55D23L 45              355          3       2015      V8/4.6L    Opt                     27F                 710         36
    2013-09      L4/2.5L                                          24F                    585         23       2015      V8/5.7L                            24F                 585         23
    2012-06      V6/3.5L                                          24F                    585         23       2015      V8/5.7L    Opt                     27F                 710         36
    2008-04      L4/2.4L                                          24F                    585         23       2014-10   V8/4.6L                            24F                 585         23
    2003-01      L4/2.0L                                          35                     420         3        2014-10   V8/4.6L    HD & Cold Climate       27F                 710         36
    2000-96      L4/2.0L                                          35                     360         3        2014-08   V8/5.7L    HD & Cold Climate       27F                 710         36
    Toyota Sequoia                                                                                            2014-07   V8/5.7L                            24F                 585         23
                                                                                                              2014-05   V6/4.0L                            24F                 585         23
    2016         V8/5.7L                                          27F                    710         36
                                                                                                              2014-05   V6/4.0L    HD & Cold Climate       27F                 710         36
    2015         V8/5.7L                                          27F                    710         36       2009-08   V8/4.7L    Opt                     27F                 710         36
    2014-08      V8/5.7L                                          27F                    710         36       2009-00   V8/4.7L                            24F                 585         23
    2012-10      V8/4.6L                                          27F                    710         36       2006-02   V8/4.7L    HD & Cold Climate       27F                 710         36
    2009-04      V8/4.7L                                          27F                    710         36       2004-00   V6/3.4L    AT or HD                24F                 585         23
    2003-02      V8/4.7L        Opt                               27F                    710         36       2004-00   V6/3.4L    MT                      35                  360         3
    2003-01      V8/4.7L                                          24F                    585         23       2000      V8/4.7L    Opt                     27F                 650         36
    2001         V8/4.7L        Opt                               27F                    650         36       Toyota Venza
    Toyota Sienna                                                                                             2016      L4/2.7L                            24F                 585         23
    2017        V6/3.5L                                           24F                    585         23       2016      V6/3.5L                            24F                 585         23
    2016        V6/3.5L                                           24F                    582         23       2015      L4/2.7L                            24F                 585         23
    2016        V6/3.5L                                           24F                    585         23       2015      V6/3.5L                            24F                 585         23
    2015        V6/3.5L                                           24F                    585         23       2014-09   L4/2.7L                            24F                 585         23
    2014-07 V6/3.5L                                               24F                    585         23       2014-09   V6/3.5L                            24F                 585         23
    See page 88 for Footnotes. Selection may vary by warehouse.

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82                                                                                                                                            Automotive/Light Truck
                                                                                                             Original                                                                                                              Original
    Year          Engine                          Options                            BCI Group Size         Equipment    Fitment     Year      Engine                     Options                        BCI Group Size           Equipment    Fitment
                                                                                         (notes)                          Code                                                                               (notes)                            Code
                                                                                                            CCA/Rating                                                                                                            CCA/Rating
Toyota Yaris                                                                                                                       Volkswagen CC (continued)
2016    L4/1.5L              Coupe                                              35 45                         360          3       2017      L4/2.0L    Opt                                           48 33, 50, 54, 55, 56         680
2016    L4/1.5L                                                                 47 45                         360         28       2017      L4/2.0L    Opt                                           49 50, 54, 55, 56             760
2014-06 L4/1.5L                                                                 55D23L 45                     360                  2016-15   L4/2.0L                                                  47 50, 56, 54, 55             540
Volkswagen Beetle                                                                                                                  2016      L4/2.0L    Opt                                           48 50, 54, 55, 56             640
2017-15      L4/2.0L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2016      L4/2.0L    Opt                                           48 33, 50, 54, 55, 56         680
2017-14      L4/1.8L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2016      L4/2.0L    Opt                                           49 50, 54, 55, 56             760
2017         L4/1.8L         PR Code J1L                                        47 50, 54, 55, 56, 58         480         29       2015-12   L4/2.0L    Opt                                           48 50, 54, 55, 56             640
2017         L4/1.8L         PR Code J0N                                        47 50, 54, 55, 56, 58         540                  2015-12   L4/2.0L    Opt                                           48 33, 50, 54, 55, 56         680
2017         L4/1.8L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015-12   L4/2.0L    Opt                                           49 50, 54, 55, 56             760
2017         L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         480         29       2015-12   V6/3.6L    Opt                                           48 50, 54, 55, 56             640
2017         L4/2.0L         PR Code J0N                                        47 50, 54, 55, 56, 58         540                  2015-12   V6/3.6L    Opt                                           48 33, 50, 54, 55, 56         680
2017         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015-12   V6/3.6L    Opt                                           49 50, 54, 55, 56             760
2016-15      L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         480         28       2015      V6/3.6L                                                  47 50, 56, 54, 55             540
2016-15      L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2014-12   L4/2.0L                                                  47 50, 54, 55, 56             540
2016-14      L4/1.8L         PR Code J1L                                        47 50, 54, 55, 56, 58         480         28       2014-12   V6/3.6L                                                  47 50, 54, 55, 56             540
2016-14      L4/1.8L         PR Code J0N                                        47 50, 54, 55, 56, 58         540                  2014-09   L4/2.0L    PR Code J1L                                   47 50, 55, 56, 58            60 Ah        28
2016-14      L4/1.8L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2014-09   L4/2.0L    PR Code JOL                                   48 50, 55, 56, 58            70 Ah        29
2016         L4/2.0L         PR Code J0N                                        47 50, 54, 55, 56, 58         540                  2014-09   V6/3.6L    PR Code J1U                                   49 50, 55, 58                95 Ah
2015-13      L4/2.0L         Dsl, PR Code J1L                                   47 50, 54, 55, 56, 58         480         28       2011-09   L4/2.0L                                                  47 50                         480         28
2015         L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         480         28       2011-09   V6/3.6L                                                  48 50                         640
2015         L4/2.0L         Dsl, PR Code J0N                                   47 50, 54, 55, 56, 58         540                  Volkswagen Corrado
2015         L4/2.0L         PR Code J0N                                        47 50, 54, 55, 56, 58         540                  1995-92 V6/2.8L                                                    42                            460
2015         L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58        60 Ah        28       1992-90 L4/1.8L                                                    42                            460
2015         L4/2.0L         Dsl, PR Code J1D                                   48 50, 54, 55, 56, 58         640                  Volkswagen e-Golf
2015         L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2017                 Electric, PR Code J1L                         47 50, 54, 55, 56, 58         540         28
2014-13      L4/2.0L         Dsl, PR Code J1L                                   47 50, 54, 55, 56, 58         540         28       2017                 Electric, PR Code J2D                         48 33, 50, 54, 55, 56, 58     680
2014-13      L4/2.0L         Dsl, PR Code J1D                                   48 50, 54, 55, 56, 58         640                  2016-15              Electric, PR Code J1L                         47 50, 54, 55, 56, 58         540         28
2014-13      L4/2.0L         Dsl, PR Code J2D, AGM                              48 33, 50, 55, 56, 58        68 Ah                 2016-15              Electric, PR Code J2D                         48 33, 50, 54, 55, 56, 58     680
2014-13      L4/2.0L         Dsl, PR Code J2D                                   48 33, 50, 54, 55, 56, 58     680
2014-12      L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         480         28
                                                                                                                                   Volkswagen Eos
2014-12      L4/2.0L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28       2016      L4/2.0L                                                  47 50, 54, 55, 56          540
2014-12      L4/2.0L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2016      L4/2.0L    Opt                                           48 50, 54, 55, 56          640
2014-12      L4/2.0L         PR Code J2D, AGM                                   48 33, 50, 55, 56, 58        68 Ah                 2016      L4/2.0L    Opt                                           48 33, 50, 54, 55, 56      680
2014-12      L4/2.0L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2015      L4/2.0L                                                  47 50, 54, 55, 56          540
2014-12      L5/2.5L         PR Code J1L                                        47 50, 54, 55, 56, 58         480         28       2015      L4/2.0L    Opt                                           48 50, 54, 55, 56          640
2014-12      L5/2.5L         PR Code J1L                                        47 50, 54, 55, 56, 58         540         28       2015      L4/2.0L    Opt                                           48 33, 50, 54, 55, 56      680
2014-12      L5/2.5L         PR Code J2D, AGM                                   48 33, 50, 54, 55, 56, 58     540                  2014-11   L4/2.0L    PR Code J1L                                   47 50, 55, 56, 58          540            28
2014-12      L5/2.5L         PR Code J1D                                        48 50, 54, 55, 56, 58         640                  2014-11   L4/2.0L    Opt, no AGM, PR Code J1D                      48 50, 55, 56, 58          640
2014-12      L5/2.5L         PR Code J2D                                        48 33, 50, 54, 55, 56, 58     680                  2014-09   L4/2.0L    Opt, w/AGM, PR Code J2D                       48 33, 50, 54, 55, 56, 58 680
2012         L4/2.0L         PR Code J1D                                        48 50, 54, 55, 56, 58         680                  2010-07   L4/2.0L                                                  47 50, 54, 55, 56          540
2010-08      L5/2.5L         PR Code J1L                                        47 50, 55, 56, 58            60 Ah        28       2010-07   L4/2.0L    PR Code J0N                                   47 50, 55, 56, 58         61 Ah
2010-08      L5/2.5L         PR Code J1D                                        48 50, 54, 55, 56, 58         540                  2010-07   L4/2.0L    Opt                                           48 50, 54, 55, 56          640
2010-06      L5/2.5L                                                            47 50, 54, 55, 56             540                  2010-07   L4/2.0L    PR Code JOL                                   48 50, 55, 56, 58         70 Ah           29
2010-06      L5/2.5L         Opt                                                48 50, 54, 55, 56             640                  2010-07   L4/2.0L    PR Code J1D                                   48 50, 55, 56, 58         72 Ah
2007-06      L5/2.5L         PR Code J0N or J1L                                 47 50, 55, 56, 58             480         28       2008-07   V6/3.2L    6V, AGM                                       N/A 2                      540
2006-05      L4/1.9L         Dsl                                                47 50, 54, 55, 56             480         28       Volkswagen EuroVan
2006         L4/1.9L         Turbo Dsl                                          47 50, 54, 55, 56             540                  2003-00   V6/2.8L                                                  97R 50                        575
2006         L4/1.9L         Turbo DSL, Opt                                     48 50, 54, 55, 56             640                  2002-99   V6/2.8L    Aux Battery                                   27 31                         570         14
2005-98      L4/2.0L                                                            47 50, 54                     480         28       1999      V6/2.8L                                                  42                            460
2005-04      L4/1.8L                                                            47 50, 54                     480         28       1997-93   L5/2.4L    Aux Battery                                   27 31                         570         14
2004-98      L4/1.9L         Dsl                                                48                            640         29       1997-93   L5/2.4L    Dsl                                           97R                           575
2004-03      L4/1.8L         Turbo                                              48                            640         29       1997      V6/2.8L                                                  42                            460
2003         L4/1.8L                                                            48                            640         29       1996      L5/2.5L    Aux Battery                                   27                            570         14
2002-00      L4/1.8L                                                            47 50, 54                     480         28       1996      L5/2.5L    Primary Battery                               97R                           575
1999         L4/1.8L                                                            48                            640         29       1995-92   L5/2.5L                                                  42                            460
1979-77      H4/1.6L         Gas, w/AC                                          41                            450                  1994      L5/2.4L                                                  42                            460
1979-77      H4/1.6L         Gas, w/o AC                                        42                            300                  Volkswagen Fox
1976-70      H4/1.6L                                                            42                            300                  1993    L4/1.8L                                                    42                            450
1969-67      H4/1.5L                                                            42                            300                  1992-90 L4/1.8L                                                    41                            500
Volkswagen Cabrio, Cabriolet                                                                                                       Volkswagen Golf
2002-00      L4/2.0L                                                            47                            520         28       2017      L4/1.8L    PR Code J0N, J1L                              47 50, 54, 55, 56, 58         540
2002-00      L4/2.0L                                                            47                            575                  2017      L4/1.8L    PR Code J2D                                   48 33, 50, 54, 55, 56, 58 480
1999-98      L4/2.0L                                                            97R                           575                  2017      L4/1.8L    PR Code J1D                                   48 50, 54, 55, 56, 58         640
1997-95      L4/2.0L                                                            42                            460                  2016      L4/1.8L    PR Code J0N, J1L                              47 50, 54, 55, 56, 58         540
1993-90      L4/1.8L                                                            41                            500                  2016      L4/1.8L    PR Code J1D                                   48 50, 54, 55, 56, 58         640
Volkswagen CC                                                                                                                      2016      L4/1.8L    PR Code J2D                                   48 33, 50, 54, 55, 56, 58 680
2017-16      V6/3.6L                                                            47 50, 54, 55, 56             540                  2015      L4/1.8L    PR Code J0N or J1L                            47 50, 54, 55, 56, 58         540
2017-16      V6/3.6L         Opt                                                48 50, 54, 55, 56             640         29       2015      L4/1.8L    PR Code J1D                                   48 50, 54, 55, 56, 58         640
2017-16      V6/3.6L         Opt                                                48 33, 50, 54, 55, 56         680                  2015      L4/1.8L    PR Code J2D                                   48 33, 45, 50, 54, 55, 56, 58 680
2017-16      V6/3.6L         Opt                                                49 50, 54, 55, 56             760                  2015      L4/2.0L    Dsl, PR Code J0N, J1L                         47 50, 54, 55, 56, 58         540
2017         L4/2.0L                                                            47 50, 54, 55, 56             540                  2015      L4/2.0L    Dsl, PR Code J1D                              48 50, 54, 55, 56, 58         640
2017         L4/2.0L         Opt                                                48 50, 54, 55, 56             640         29       2015      L4/2.0L    Dsl, PR Code J2D                              48 33, 45, 50, 54, 55, 56, 58 680
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                                                                  See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                                                                         Costco_001632
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                                                                              Volkswagen
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    Automotive/Light Truck                                                                                                                                                                                                      83
                                                                                               Original                                                                                                                 Original
        Year         Engine                         Options          BCI Group Size           Equipment    Fitment     Year      Engine                       Options                         BCI Group Size           Equipment    Fitment
                                                                         (notes)                            Code                                                                                  (notes)                            Code
                                                                                              CCA/Rating                                                                                                               CCA/Rating
    Volkswagen Golf (continued)                                                                                      Volkswagen Golf SportWagen
    2014-12      L5/2.5L                                          47 50, 54, 55, 56             540                  2017      L4/1.8L    PR Code J0N or J1L                               47 50, 54, 55, 56, 58         540
    2014-10      L5/2.5L       PR Code J0N or J1L                 47 50, 54, 58                 480         28       2017      L4/1.8L    PR Code J1D                                      48 50, 54, 55, 56, 58         640
    2014-10      L5/2.5L       HD, PR Code J1D                    48 50, 54, 58                 640                  2016-15   L4/1.8L                                                     47 50, 54, 55, 56, 58         540
    2014         L4/2.0L       Dsl                                47 50, 54                     540                  2016-15   L4/1.8L    PR Code J1D                                      48 50, 54, 55, 56, 58         640
    2014         L4/2.0L       Dsl, Opt                           48 50, 54                     640         29       2015      L4/2.0L    Dsl                                              47 50, 54, 55, 56, 58         540
    2013-12      L4/2.0L       Dsl                                47 50, 54, 55, 56             540                  2015      L4/2.0L    Dsl, PR Code J1D                                 48 50, 54, 55, 56, 58         640
    2013-12      L4/2.0L       Dsl, Opt                           48 33, 50, 54, 55, 56         680                  Volkswagen GTI
    2013-12      L5/2.5L       Opt                                48 33, 50, 54, 55, 56         680                  2017      L4/2.0L    PR Code J0N, J1L                                 47 50, 54, 55, 56, 58         540
    2013-10      L4/2.0L       TDI, PR Code J1L or J0N            47 58                         480         28       2017      L4/2.0L    PR Code J2D                                      48 33, 50, 54, 55, 56, 58 480
    2013-10      L4/2.0L       TDI, PR Code J1D                   48 50, 55, 56, 58             640                  2017      L4/2.0L    PR Code J1D                                      48 50, 54, 55, 56, 58         640
    2013         L4/2.0L       Gas, PR Code J1L or J0N            47 58                         480         28       2016-15   L4/2.0L                                                     47 50, 54                     540
    2013         L4/2.0L       Gas                                47 50, 54, 55, 56             540                  2016      L4/2.0L    PR Code J1D                                      48 50, 54, 55, 56, 58         640
    2013         L4/2.0L       Gas, HD PR Code J1D                48 50, 55, 56, 58             640                  2016      L4/2.0L    PR Code J2D                                      48 33, 50, 54, 55, 56, 58 680
    2013         L4/2.0L       Gas, Opt                           48 33, 50, 54, 55, 56         680                  2015      L4/2.0L    PR Code J1D                                      48 50, 54, 55, 56, 58         640
    2012         L5/2.5L       Gas, PR Code J1L or J0N            47 58                         480         28       2015      L4/2.0L    PR Code J2D                                      48 33, 45, 50, 54, 55, 56, 58 680
    2012         L5/2.5L       Gas                                47 50, 54, 55, 56             540                  2014-12   L4/2.0L    Opt                                              48 50, 54, 55, 56             640
    2012         L5/2.5L       Gas, HD PR Code J1D                48 50, 55, 56, 58             640                  2014-11   L4/2.0L                                                     47 54                         540
    2012         L5/2.5L       Gas, Opt                           48 33, 50, 54, 55, 56         680                  2014-11   L4/2.0L    Opt                                              48 54                         570         29
    2011-10      L4/2.0L       Dsl                                47 50, 54                     540                  2013-12   L4/2.0L    Opt                                              48 33, 50, 54, 55, 56         680
    2011-10      L5/2.5L                                          47 50, 54                     540                  2010-09   L4/2.0L                                                     48 54                         570         29
    2006         L4/1.8L        PR Code J0N or J1L                47 50, 58                     480         28       2008-06   L4/2.0L                                                     48 54                         540         29
    2006         L4/1.9L        PR Code J1D                       48 50, 55, 56, 58             570                  Volkswagen Jetta
    2006         L4/2.0L        PR Code J0N or J1L                47 50, 58                     480         28       2017-16   L4/1.4L    Opt                                              47 50, 54, 55, 56             540
    2005-04      L4/1.9L        Dsl, PR Code J0R                  94R 50, 58                    640         30       2017-16   L4/1.4L                                                     48 50, 54, 55, 56             480         29
    2005-03      L4/1.8L        PR Code J1L                       47 58                         570         28       2017-16   L4/1.8L    Opt                                              47 50, 54, 55, 56             540
    2005-03      L4/2.0L        PR Code J1L                       47 58                         570         28       2017-16   L4/2.0L    Opt                                              47 50, 54, 55, 56             540
    2005-03      V6/2.8L                                          94R                           640         30       2017      L4/1.4L    Opt                                              48 50, 54, 55, 56             640         29
    2004         V6/3.2L                                          47 54                         480         28       2017      L4/1.4L    Opt                                              48 33, 50, 54, 55, 56, 58     680
    2003         L4/1.9L       Dsl, PR Code J0N, J1L              47 58                         570         28       2017      L4/1.8L                                                     48 50, 54, 55, 56             480         29
    2002-01      L4/1.9L       Dsl, PR Code J0N, J1L              47 58                         575         28       2017      L4/1.8L    Opt                                              48 50, 54, 55, 56             640         29
    2002-00      L4/1.8L       PR Code J0N or J1L                 47 58                         575         28       2017      L4/1.8L    Opt                                              48 33, 50, 54, 55, 56, 58     680
    2002-00      L4/2.0L       PR Code J0N or J1L                 47 58                         575         28       2017      L4/2.0L                                                     48 50, 54, 55, 56             480         29
    2002-00      V6/2.8L       PR Code J0N or J1L                 47 58                         575         28       2017      L4/2.0L    Opt                                              48 50, 54, 55, 56             640         29
    2001-99      L4/2.0L       PR Code J0L                        48 50, 55, 56, 58            70 Ah        29       2017      L4/2.0L    Opt                                              48 33, 50, 54, 55, 56, 58     680
    2000         L4/1.9L                                          94R                           620         30       2016-15   L4/1.8L                                                     48 50, 54, 55, 56, 58         640         29
    1999-98      L4/2.0L                                          97R                           575                  2016      L4/1.4L    Opt                                              48 50, 54, 55, 56             640
    1999-98      V6/2.8L                                          97R                           575                  2016      L4/1.4L    Opt                                              48 33, 50, 54, 55, 56         680
    1999         L4/1.9L        Dsl                               98R                           620                  2016      L4/1.8L                                                     48 50, 54, 55, 56             480         29
    1998         L4/1.8L                                          97R                           575                  2016      L4/1.8L    Opt                                              48 33, 50, 54, 55, 56         680
    1998         L4/1.9L        Dsl                               97R                           575                  2016      L4/2.0L                                                     48 50, 54, 55, 56             480         29
                                                                                                                     2016      L4/2.0L    Opt                                              48 50, 54, 55, 56             640
    1997         L4/1.8L                                          42                            460
                                                                                                                     2016      L4/2.0L    Opt                                              48 33, 50, 54, 55, 56         680
    1997         L4/1.9L        Dsl                               98R                           620
                                                                                                                     2015      L4/1.4L    Hybrid, Opt                                      47 50, 54, 55, 56             540
    1997         L4/2.0L                                          42                            460
                                                                                                                     2015      L4/1.4L    Hybrid                                           48 50, 54, 55, 56             480         29
    1997         V6/2.8L                                          42                            460
                                                                                                                     2015      L4/1.4L    Hybrid, Opt                                      48 50, 54, 55, 56             640
    1996-95      V6/2.8L                                          41                            575
                                                                                                                     2015      L4/1.4L    Hybrid, Opt                                      48 33, 50, 54, 55, 56         680
    1996-95      V6/2.8L        Opt                               41                            650
                                                                                                                     2015      L4/1.8L    Opt                                              47 50, 54, 55, 56             540
    1996-93      L4/1.8L                                          41                            575                  2015      L4/1.8L                                                     48 50, 54, 55, 56             480         29
    1996-93      L4/1.9L        Opt                               41                            650                  2015      L4/1.8L    Opt                                              48 33, 50, 54, 55, 56         680
    1996-93      L4/2.0L                                          41                            575                  2015      L4/2.0L    Dsl, Opt                                         47 50, 54, 55, 56             540
    1996-93      L4/2.0L        Opt                               41                            650                  2015      L4/2.0L    Opt                                              47 50, 54, 55, 56             540
    1996-90      L4/1.8L        Opt                               41                            650                  2015      L4/2.0L                                                     48 50, 54, 55, 56             480         29
    1996         L4/1.9L        Turbo, DSL                        41 6                          650                  2015      L4/2.0L    Dsl                                              48 50, 54, 55, 56             480         29
    1995-93      L4/1.9L                                          41                            575                  2015      L4/2.0L    Dsl, Opt                                         48 50, 54, 55, 56             640
    1992-90      L4/1.6L                                          41                            500                  2015      L4/2.0L    Opt                                              48 50, 54, 55, 56             640
    1992-90      L4/1.8L                                          41                            500                  2015      L4/2.0L    Dsl, Opt                                         48 33, 50, 54, 55, 56         680
    1992-90      L4/2.0L                                          41                            500                  2015      L4/2.0L    Opt                                              48 33, 50, 54, 55, 56         680
    Volkswagen Golf Alltrack                                                                                         2014-13   L4/1.4L    Hybrid                                           47 50, 54                     540
    2017         L4/1.8L        PR Code J0N, J1L                  47 50, 54, 55, 56, 58         540                  2014-13   L4/1.4L    Opt                                              48 50, 54, 55, 56             640
    2017         L4/1.8L        PR Code J2D                       48 33, 50, 54, 55, 56, 58     480                  2014-13   L4/1.4L    Opt                                              48 33, 50, 54, 55, 56         680
    2017         L4/1.8L        PR Code J1D                       48 50, 54, 55, 56, 58         640                  2014-12   L4/2.0L    Dsl, Opt                                         48 50, 54, 55, 56             640
    Volkswagen Golf City                                                                                             2014-12   L4/2.0L    Dsl, Opt                                         48 33, 50, 54, 55, 56         680
                                                                                                                     2014-11   L4/2.0L    Gas, Opt                                         48 50, 54, 55, 56             640
    2010-07 L4/2.0L             PR Code J0N or J1L                47 54, 58                     540         28
                                                                                                                     2014-11   L4/2.0L    Gas, Opt                                         48 33, 50, 54, 55, 56         680
    Volkswagen Golf R                                                                                                2014-11   L5/2.5L    Opt                                              48 50, 54, 55, 56             640
    2017-16      L4/2.0L        PR Code J0N, J1L                  47 50, 54, 55, 56, 58         540                  2014-11   L5/2.5L    Opt                                              48 33, 50, 54, 55, 56         680
    2017-16      L4/2.0L        PR Code J1D                       48 50, 54, 55, 56, 58         640                  2014-09   L4/2.0L    TDI                                              47 54                         540
    2017         L4/2.0L        PR Code J2D                       48 33, 50, 54, 55, 56, 58 480                      2014-09   L4/2.0L    TDI, Opt, PR Code J1D                            48 50, 55, 56, 58             570
    2016         L4/2.0L        PR Code J2D                       48 33, 50, 54, 55, 56, 58 680                      2014-08   L4/2.0L                                                     47 54                         540
    2015         L4/2.0L        Gas, PR Code J1L or J0N           47 50, 54, 55, 56, 58         540                  2014-08   L4/2.0L    Gas, Opt                                         48                            570         29
    2015         L4/2.0L        Gas, PR Code J1D                  48 50, 54, 55, 56, 58         640                  2014-06   L5/2.5L                                                     47 54                         540
    2015         L4/2.0L        Gas; PR-J2D                       48 33, 45, 50, 54, 55, 56, 58 680                  2014-05   L5/2.5L    Opt                                              48                            570         29
    See page 88 for Footnotes. Selection may vary by warehouse.                                                                                      Note: PR codes are located on a tag near the spare tire or in the warranty booklet

                                                                                                                                                                                                                           Costco_001633
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84                                                                                                                                        Automotive/Light Truck
                                                                                                         Original                                                                                                      Original
    Year          Engine                          Options                            BCI Group Size     Equipment    Fitment     Year      Engine                 Options                        BCI Group Size       Equipment    Fitment
                                                                                         (notes)                      Code                                                                           (notes)                        Code
                                                                                                        CCA/Rating                                                                                                    CCA/Rating
Volkswagen Jetta (continued)                                                                                                   Volkswagen Jetta (continued)
2014         L4/1.4L         Opt                                                48 50, 54                 570         29       1999-98   L4/1.9L    Dsl                                       47 50, 54                 520         28
2014         L4/1.8L                                                            47 50, 54                 540                  1999-98   L4/1.9L    Dsl, Opt                                  48 50, 54                 570         29
2014         L4/1.8L         Opt                                                48 50, 54                 570         29       1999-98   L4/1.9L    Dsl, Opt                                  94R 50, 54                640         30
2014         L4/1.8L         Opt                                                48 50, 54, 55, 56         640                  1999-98   L4/1.9L    Dsl                                       97R                       575
2014         L4/1.8L         Opt                                                48 33, 50, 54, 55, 56     680                  1999-98   L4/2.0L                                              47 50, 54                 520         28
2011         L4/2.0L         Dsl, Opt                                           48 50, 54, 55, 56         640                  1999-98   L4/2.0L    Opt                                       48 50, 54                 570         29
2011         L4/2.0L         Dsl, Opt                                           48 33, 50, 54, 55, 56     680                  1999-98   L4/2.0L    Opt                                       94R 50, 54                640         30
2009-08      L4/2.0L         PR Code J0L                                        48                        570         29       1999-98   L4/2.0L                                              97R                       575
2009-08      L4/2.0L         PR Code J0R                                        94R                      80 Ah        30       1999-98   V6/2.8L                                              47 50, 54                 520         28
2009-06      L5/2.5L         PR Code J0L                                        48                        570         29       1999-98   V6/2.8L    Opt                                       48 50, 54                 570         29
2009-06      L5/2.5L         PR Code J0R                                        94R                      80 Ah        30       1999-98   V6/2.8L    Opt                                       94R 50, 54                640         30
2009         L4/2.0L         Dsl, Opt                                           94R 50, 54                640         30
                                                                                                                               1999-98   V6/2.8L                                              97R                       575
2009         L4/2.0L         Gas, Opt                                           94R 50, 54                640         30
                                                                                                                               1997      L4/1.9L    Dsl                                       98R                       620
2009         L4/2.0L         Dsl & Opt                                          94R                      80 Ah        30
                                                                                                                               1997      L4/2.0L                                              42                        460
2009         L5/2.5L         Opt                                                94R 50, 54                640         30
                                                                                                                               1997      V6/2.8L                                              42                        460
2008         L4/2.0L         Gas, Opt                                           94R 50, 54                640         30
2008         L5/2.5L         Opt                                                94R 50, 54                640         30       1996-94   V6/2.8L                                              41                        575
2007-06      L4/2.0L         PR Code J1D                                        48 50                     570                  1996-93   L4/1.9L    Dsl                                       41 6                      650
2007-05      L4/2.0L         Gas, Opt                                           94R                      80 Ah        30       1996-93   L4/2.0L                                              41                        575
2007-05      L5/2.5L         Opt                                                94R 50, 54                640         30       1996-93   L4/2.0L    Opt                                       41                        650
2007         L4/2.0L                                                            47 50, 54                 540                  1996      L4/1.9L    Dsl                                       41 5                      575
2007         L4/2.0L         Opt                                                94R 50, 54                640         30       1996      V6/2.8L    Opt                                       41                        575
2006-05      L4/1.9L         Dsl, Opt                                           48 50, 54                 570         29       1995-93   L4/1.8L                                              41                        575
2006         L4/1.9L         Dsl                                                47 50, 54                 540                  1995      V6/2.8L    Opt                                       41                        650
2006         L4/1.9L         Dsl, PR Code J0L                                   48 50                    70 Ah        29       1994      V6/2.8L    Opt                                       41                        575
2006         L4/1.9L         Dsl, Opt                                           94R 50, 54                640         30       1992-90   L4/1.6L    Dsl                                       41                        650
2006         L4/2.0L         Turbo                                              47 50, 54                 540                  1992-90   L4/1.8L                                              41                        500
2006         L4/2.0L         Turbo, Opt                                         94R 50, 54                640         30       1992-90   L4/2.0L                                              41                        500
2005-03      L4/1.8L         PR Code J1L                                        47                       60 Ah        28       Volkswagen Jetta City
2005-03      L4/1.8L         Opt                                                48                        570         29       2009-07   L4/2.0L                                              47 54                     540
2005-03      L4/1.8L         Wagon, Opt                                         94R                       640         30       2009-07   L4/2.0L    PR Code J1D                               48 50, 55, 56, 58         570
2005-03      L4/1.9L         PR Code J1L                                        47                       60 Ah        28       2009-07   L4/2.0L    PR Code J0R                               94R                       640         30
2005-03      L4/1.9L         TDI                                                94R                       640         30       2008      L4/2.0L                                              94R                       640         30
2005-03      L4/2.0L         PR Code J1L                                        47                       60 Ah        28
2005-01      L4/2.0L         Opt Incl Wagon                                     94R                       640         30
                                                                                                                               Volkswagen Passat
2005-00      L4/1.8L                                                            47                        520         28       2017-16   L4/1.8L    PR Code J1D                               48 50, 54, 55, 56, 58   640
2005         L4/1.8L         Late                                               47 50, 54                 540                  2017-16   V6/3.6L    PR Code J1D                               48 50, 54, 55, 56, 58   640
2005         L4/1.9L         Dsl, Early                                         47 50, 54                 520         28       2017      L4/1.8L    PR Code J0N or J1L                        47 50, 54, 55, 56, 58   540
2005         L4/1.9L         Dsl, Late                                          47 50, 54                 540                  2017      V6/3.6L    PR Code J0N or J1L                        47 50, 54, 55, 56, 58   540
2005         L4/2.0L         Early                                              47 50, 54                 520         28       2016      L4/1.8L    PR Code J0N or J1L                        47 50, 54, 55, 56, 58   540        28
2005         L4/2.0L         Late                                               47 50, 54                 540                  2016      V6/3.6L    PR Code J0N or J1L                        47 50, 54, 55, 56, 58   540        28
2005         L4/2.0L         Opt                                                48 50, 54                 570         29       2015      L4/1.8L                                              47 50, 54, 55, 56       540
2005         L5/2.5L         Early                                              47 50, 54                 520         28       2015      L4/1.8L    Opt                                       48 50, 54, 55, 56       640        29
2005         L5/2.5L         Late                                               47 50, 54                 540                  2015      L4/1.8L    Opt                                       49 50, 54, 55, 56       760
2005         L5/2.5L         PR Code J1L                                        47                       60 Ah        28       2015      L4/2.0L    Dsl                                       47 50, 54, 55, 56       540
2005         L5/2.5L         Opt                                                48 50, 54                 540         29       2015      L4/2.0L    Dsl, Opt                                  48 50, 54, 55, 56       640        29
2004-03      V6/2.8L                                                            47 50, 54                 520         28       2015      L4/2.0L    Dsl, Opt                                  49 50, 54, 55, 56       760
2004-02      V6/2.8L         Opt                                                94R                       640         30       2015      V6/3.6L                                              47 50, 54, 55, 56       540
2004-00      L4/1.9L         Dsl                                                47 50, 54                 520         28       2015      V6/3.6L    Opt                                       48 50, 54, 55, 56       640        29
2004         L4/2.0L                                                            47 50, 54                 520         28       2015      V6/3.6L    Opt                                       49 50, 54, 55, 56       760
2004         V6/2.8L         Wagon, Opt                                         94R                       640         30       2014-12   L4/2.0L    Dsl                                       47 50, 54, 55, 56       540
2003-00      L4/2.0L                                                            47                        520         28       2014-12   L5/2.5L                                              47 50, 54               540
2002-00      L4/1.8L         Opt                                                48 50, 54                 570         29       2014-12   L5/2.5L    Opt                                       48 50, 54               640        29
2002-00      L4/1.9L         Dsl, Opt                                           48 50, 54                 570         29       2014-12   L5/2.5L    Opt                                       49 50, 54               760
2002-00      L4/1.9L         Dsl & Opt                                          94R                       620         30       2014-12   V6/3.6L                                              47 50, 54               540
2002-00      L4/1.9L         Dsl, Opt                                           94R 50, 54                640         30       2014      L4/1.8L                                              47 50, 54               540
2002-00      L4/2.0L         Opt                                                48 50, 54                 570         29
                                                                                                                               2014      L4/1.8L    Opt                                       48 50, 54               640        29
2002-00      V6/2.8L                                                            47                        520         28
                                                                                                                               2014      L4/1.8L    Option 1                                  48 50, 54               640        29
2002-00      V6/2.8L         Opt                                                48 50, 54                 570         29
                                                                                                                               2014      L4/1.8L    Opt                                       49 50, 54               760
2002         L4/1.8L         Opt                                                94R                       640         30
                                                                                                                               2014      L4/1.8L    Option 2                                  49 50, 54               760
2002         L4/1.9L         TDI, Wagon, Opt                                    48                       72 Ah
2002         L4/2.0L         Wagon, Opt                                         48                       72 Ah                 2014      L4/2.0L    Option 1                                  48 50, 54               640        29
2001         L4/1.8L         Opt, Cold Climate                                  49 50, 54                 760                  2014      L4/2.0L    Option 2                                  49 50, 54               760
2001         L4/1.8L         Wagon, Opt                                         94R                       640         30       2014      L5/2.5L    Option 1                                  48 50, 54               640        29
2001         L4/1.9L         DSL, Opt, Cold Climate                             49 50, 54                 760                  2014      L5/2.5L    Option 2                                  49 50, 54               760
2001         L4/2.0L         Opt, Cold Climate                                  49 50, 54                 760                  2014      V6/3.6L    Option 1                                  48 50, 54               640        29
2001         L4/2.0L         Wagon                                              49                       95 Ah                 2014      V6/3.6L    Option 2                                  49 50, 54               760
2001         V6/2.8L         Opt, Cold Climate                                  49 50, 54                 760                  2013      L4/2.0L    Dsl, Opt1                                 48 50, 54, 55           640        29
2001         V6/2.8L         Wagon                                              49                       95 Ah                 2013      L4/2.0L    Dsl, Opt2                                 49 50, 54, 55           760
2001         V6/2.8L         Wagon, Opt                                         94R                       640         30       2013      L5/2.5L    Option 1                                  48 50, 54, 55           640        29
2000         L4/1.8L         Opt                                                94R 50, 54                640         30       2013      L5/2.5L    Option 2                                  49 50, 54, 55           760
2000         L4/2.0L         Opt                                                94R 50, 54                640         30       2013      V6/3.6L    Option 1                                  48 50, 54, 55           640        29
2000         V6/2.8L         Opt                                                94R 50, 54                640         30       2013      V6/3.6L    Option 2                                  49 50, 54, 55           760
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                                                          See page 88 for Footnotes. Selection may vary by warehouse.

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                                                                              Volkswagen
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    Automotive/Light Truck                                                                                                                                                                                       85
                                                                                       Original                                                                                                          Original
        Year         Engine                         Options          BCI Group Size   Equipment    Fitment     Year      Engine                    Options                         BCI Group Size       Equipment    Fitment
                                                                         (notes)                    Code                                                                               (notes)                        Code
                                                                                      CCA/Rating                                                                                                        CCA/Rating
    Volkswagen Passat (continued)                                                                            Volkswagen Routan
    2012         L4/2.0L        Dsl, Opt                          48 50, 54             640         29       2014-13   V6/3.6L                                                  94R                       700         30
    2012         L4/2.0L        Dsl, Opt                          49 50, 54             760                  2012-11   V6/3.6L                                                  94R                       700         30
    2012         V6/3.6L        Opt                               48 50, 54             640         29       2010-09   V6/3.8L                                                  34                        700
    2012         V6/3.6L        Opt                               49 50, 54             760                  2010-09   V6/4.0L                                                  34                        700
    2010-08      V6/3.6L                                          48 54                 640                  2010      V6/3.8L                                                  34                        600
    2010-08      V6/3.6L        PR Code J1D                       48 50, 55, 56, 58    72 Ah                 2010      V6/4.0L                                                  34                        600
    2010-06      L4/2.0L                                          47 50, 54             540                  2009      V6/3.8L                                                  34                        600
    2010-06      L4/2.0L        Opt                               48                   72 Ah                 2009      V6/4.0L                                                  34                        600
    2010         L4/2.0L                                          47 54                 480         28       Volkswagen Tiguan
    2010         L4/2.0L        Opt                               48 54                 640                  2017-15   L4/2.0L                                                  47 50, 54, 55, 56         540
    2009-06      L4/2.0L        Syn/4 Mot, AGM, Opt               49 33                92 Ah                 2017-15   L4/2.0L    Opt                                           48 50, 54, 55, 56         640         29
    2009-06      V6/3.6L        Syn/4 Mot, AGM                    48 33                68 Ah                 2014-09   L4/2.0L    PR Code J1D                                   48 50, 54, 55, 56         540
    2009-06      V6/3.6L        Syn/4 Mot, AGM, HD                49 33                92 Ah                 2014-09   L4/2.0L    HD, PR Code J1D                               48 50, 54, 55, 56         640
    2009         L4/2.0L                                          47 54                 480         28       2014-09   L4/2.0L    HD, PR Code J1D                               48 50, 55, 56, 58         640
    2009         L4/2.0L        Opt                               48 54                 640                  2014-09   L4/2.0L    Opt                                           48 33, 50, 54, 55, 56     680
    2008-07      V6/3.6L        Wagon                             48 33                68 Ah                 Volkswagen Touareg
    2008-07      V6/3.6L        Wagon, Opt                        49 33                92 Ah                 2017      V6/3.6L    Opt                             49 33, 50, 54, 55, 56       850
    2008-06      V6/3.6L        Sedan                             49                   95 Ah                 2017      V6/3.6L                                    94R 50, 54, 55, 56          640                     30
    2008         L4/2.0L                                          47 54                 480         28       2017      V6/3.6L    Opt, PR Code J2T, w/o AGM       94R  50, 54, 55, 56
                                                                                                                                                                                              760
    2008         L4/2.0L        Opt                               48 54                 640                  2017      V6/3.6L    Opt                             94R 33, 50, 54, 55, 56 800
    2007         L4/2.0L                                          47                    480         28       2017      V6/3.6L    Opt                             95R 50, 54, 55, 56          850
    2007         L4/2.0L        Opt                               48 54                 640                  2016-15   V6/3.0L    Dsl                             94R 50, 54, 55, 56          640                     30
    2007         V6/3.6L                                          48                    640                  2016-15   V6/3.6L                                    94R                         640                     30
    2006         L4/2.0L                                          47 54                 480         28       2016      V6/3.0L    Dsl, Opt                        49 33, 50, 54, 55, 56       850
    2006         L4/2.0L        Opt                               48 54                 640                  2016      V6/3.0L    Dsl, Opt                        94R 50, 54, 55, 56          760
    2006         V6/3.6L                                          48 54                 640                  2016      V6/3.0L    Dsl, Opt                        94R 33, 50, 54, 55, 56 800
    2005-98      L4/1.8L       Ex 4 Motion                        48                    570         29       2016      V6/3.0L    Dsl, Opt                        95R 50, 54, 55, 56          850
    2005-04      V6/2.8L       Ex 4 Motion                        48 50                 570         29       2016      V6/3.0L    Dsl, Opt                        95R 33, 50, 54, 55, 56 950
    2005-03      V6/2.8L       4 Motion, HD, PR Code J0R          94R 50, 58            640         30       2016      V6/3.6L    Opt                             49 33, 50, 54, 55, 56       850
    2005-01      V6/2.8L                                          48 54                 540         29       2016      V6/3.6L    Opt                             94R 50, 54, 55, 56          760
    2005         L4/1.8L                                          48 50                 570         29       2016      V6/3.6L    Opt                             94R 33, 50, 54, 55, 56 800
    2005         L4/1.8L        Ex 4 Motion                       49 50                 740                  2016      V6/3.6L    Opt                             95R 50, 54, 55, 56          850
    2005         L4/2.0L                                          94R 54                640         30       2016      V6/3.6L    Opt                             95R 33, 50, 54, 55, 56 950
    2004-03      W8/4.0L                                          94R 50                640         30       2015-11   V6/3.0L    Dsl, Opt                        49 33, 50, 54, 55, 56       850
    2004         L4/2.0L        Dsl                               94R 54                640         30       2015-11   V6/3.0L    Hybrid, Opt                     49 33, 50, 54, 55, 56       850
    2004         L4/2.0L        Dsl, PR Code J0R                  94R 50, 58           80 Ah        30       2015-11   V6/3.0L    Dsl, Opt                        94R 50, 54, 55, 56          760
    2003         V6/2.8L        Ex 4 Motion (no vent)             48 50                 570         29       2015-11   V6/3.0L    Hybrid, Opt                     94R 50, 54, 55, 56          760
    2002         V6/2.8L        4 Motion                          48 50                 570         29       2015-11   V6/3.0L    Dsl, Opt                        94R 33, 50, 54, 55, 56 800
    2002         W8/4.0L                                          48 50                 570         29       2015-11   V6/3.0L    Hybrid, Opt                     94R 33, 50, 54, 55, 56 800
    2001         V6/2.8L        HD, PR Code J0R                   94R 50, 58            640         30       2015-11   V6/3.0L    Dsl, Opt                        95R 50, 54, 55, 56          850
    2000         V6/2.8L                                          48 54                 540         29       2015-11   V6/3.0L    Hybrid, Opt                     95R 50, 54, 55, 56          850
    1999-98      V6/2.8L                                          48 54                 540         29       2015-11   V6/3.0L    Dsl, Opt                        95R 33, 50, 54, 55, 56 950
    1997-93      V6/2.8L                                          42                    460                  2015-11   V6/3.0L    Hybrid, Opt                     95R 33, 50, 54, 55, 56 950
    1997         L4/1.9L        Dsl                               98R                   650                  2015-11   V6/3.6L    Opt                             49 33, 50, 54, 55, 56       850
    1996-95      L4/2.0L        Opt                               41                    650                  2015-11   V6/3.6L    Opt                             94R 50, 54, 55, 56          760
    1996-90      L4/2.0L                                          42                    460                  2015-11   V6/3.6L    Opt                             94R 33, 50, 54, 55, 56 800
    1996         L4/1.9L        Dsl                               41 6                  650                  2015-11   V6/3.6L    Opt                             95R 50, 54, 55, 56          850
    1996         V6/2.8L        Opt                               42                    650                  2015-11   V6/3.6L    Opt                             95R 33, 50, 54, 55, 56 950
                                                                                                             2014-11   V6/3.0L    Opt, PR Code J1D, HD            48 50, 55, 56, 58           640
    1995-93      L4/1.9L        Dsl                               42                    460
                                                                                                             2014-11   V6/3.0L    Dsl                             94R 50, 54, 55, 56          640                     30
    1995-93      V6/2.8L        Opt                               41                    650
                                                                                                             2014-11   V6/3.0L    Hybrid                          94R 50, 54, 55, 56          640                     30
    1993         L4/1.8L                                          41                    475
                                                                                                             2014-11   V6/3.0L    Hybrid, PR Code J1N             94R 33, 50, 54, 55, 56, 58 75 Ah
    1992-91      L4/1.8L                                          42                    460
                                                                                                             2014-11   V6/3.0L    Opt, PR Code J2T, w/o AGM       94R 50, 54, 55, 56, 58 85 Ah
    Volkswagen Passat CC                                                                                     2014-11   V6/3.6L    Opt, PR Code J1D, HD            48 50, 54, 55, 56, 58       640
    2010-09      L4/2.0L                                          47 50, 54             480         28       2014-11   V6/3.6L                                    94R 50, 54, 55, 56          640                     30
    2010-09      L4/2.0L        PR Code J1L                       47 50, 54, 58        60 Ah        28       2014-09   V6/3.0L    TDI, PR Code J0Z                95R 50, 54, 55, 56, 58 110 Ah
    2010-09      L4/2.0L        PR Code JOL                       48 50, 55, 56, 58    70 Ah        29       2014-07   V6/3.6L    Opt 1 PR Code J1U               49 50, 54, 55, 56, 58       760
    2010-09      V6/3.6L                                          48 50, 54             640                  2014-07   V6/3.6L    Opt 2 PR Code J0Z               95R 50, 54, 55, 56, 58 110 Ah
    2010-09      V6/3.6L        PR Code J1U                       49 50, 54, 58        95 Ah                 2010-09   V6/3.0L    Dsl                             95R 50, 54                  850
    Volkswagen Phaeton                                                                                       2010-08   V6/3.6L    Opt                             95R 50, 54                  850
    2006-04      V8/4.2L        Starting, In Trunk                47 50, 55, 56        61 Ah                 2009-08   V8/4.2L                                    93 50                       790
    2006-04      V8/4.2L                                          49 50                 740                  2009-04   V8/4.2L    PR Code J2T. Under seat w/o AGM 94R 50, 54, 55, 56, 58 85 Ah
    2006-04      V8/4.2L        Aux, In Trunk                     49 33                92 Ah                 2008-05   V10/5.0L   In trunk - AGM Battery          49 33, 50, 54, 55, 56, 58 92 Ah
    2006-04      W12/6.0L       Starting, In Trunk                47 50, 55, 56        61 Ah                 2008-05   V10/5.0L   w/o AGM                         49 50, 54, 55              95 Ah
    2006-04      W12/6.0L                                         49 50                 740                  2008-05   V10/5.0L   Under driver seat               95R 50, 54, 55            110 Ah
    2006-04      W12/6.0L       Aux, In Trunk                     49 33                92 Ah                 2008      V10/5.0L   Dsl                             93 50                       740
                                                                                                             2007-06   V8/4.2L                                    93 50                       740
    Volkswagen R32                                                                                           2007      V10/5.0L   Dsl                             93 50                       740
    2008         V6/3.2L                                          94R 54                640         30       2007      V6/3.6L    Opt                             95R 50, 54                  850
    Volkswagen Rabbit                                                                                        2007      V8/4.2L                                    93 50, 54                   740
    2009-06 L5/2.5L PR Code J0L                                   48 50, 55, 56, 58     540         29       2006-05   V10/5.0L   Dsl                             49 50, 54
                                                                                                                                                                                              850
    2009-06 L5/2.5L HD, PR Code J0R                               94R 50, 58            640         30       2006-04   V6/3.2L                                    94R 50                      640                     30
    See page 88 for Footnotes. Selection may vary by warehouse.                                                                           Note: PR codes are located on a tag near the spare tire or in the warranty booklet

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86                                                                                                Automotive/Light Truck
                                                                 Original                                                                                                    Original
  Year      Engine                 Options     BCI Group Size   Equipment    Fitment     Year      Engine                   Options                       BCI Group Size    Equipment    Fitment
                                                   (notes)                    Code                                                                            (notes)                     Code
                                                                CCA/Rating                                                                                                  CCA/Rating
Volkswagen Touareg (continued)                                                         Volvo S40 (continued)
2005-04   V8/4.2L                            49 50                740                  2010      L5/2.5L                                                91 50                  590
2004      V10/4.9L Dsl                       49 50, 54            850                  2009-05   L5/2.4L                                                91 50                  590
2004      V10/4.9L Dsl, w/o AGM              49 50, 54, 55       95 Ah                 2009-05   L5/2.5L                                                91 50                  590
2004      V10/4.9L Aux, Dsl                  95R 50, 54           950                  2005      L5/2.4L    Late 2004 on                                91 50                  520
Volkswagen Vanagon                                                                     2005      L5/2.5L    Late 2004 on                                91 50                  520
1991-90 H4/2.1L                              41                   500                  2004-00   L4/1.9L    Early 2004                                  48                     600         29
                                                                                       2004      L4/1.9L    Turbo                                       48 50                  600         29
Volvo 240
                                                                                       2004      L4/1.9L    Late                                        91 50                  590
1993-90 L4/2.3L      Std Battery             47                   500         28
                                                                                       2004      L4/1.9L    Late, w/Premium Stereo                      94R 50                 700         30
1992-91 L4/2.3L      Opt                     48                   600         29
                                                                                       2004      L5/2.4L    Early                                       48                     600         29
Volvo 740                                                                              2004      L5/2.4L    Late                                        91 50                  590
1992-91   L4/2.3L                            47                   520         28       2004      L5/2.4L    Late, w/Premium Stereo                      94R 50                 700         30
1992-91   L4/2.3L    Opt                     48                   600         29       2004      L5/2.5L    Early                                       48                     600         29
1992-90   L4/2.3L    Std Battery             47                   460         28       2004      L5/2.5L    Late                                        91 50                  590
1990      L4/2.3L                            47                   520         28       2004      L5/2.5L    Late, w/Premium Stereo                      94R 50                 700         30
1990      L4/2.3L    Opt                     48                   500         29       Volvo S60
1990      L4/2.3L    Opt                     48                   600         29
                                                                                       2016      L4/2.0L    Turbo, E FWD                                48 33                  760
Volvo 760                                                                              2016      L4/2.0L    Start/Stop or Inscription                   94R 33, 50             800
1990      L4/2.3L                            47                   450         28       2016      L5/2.5L    w/o Premium Stereo                          48 50                  600         29
1990      L4/2.3L                            47                   520         28       2016      L5/2.5L                                                48 33                 70 Ah
1990      L4/2.3L    Opt                     48                   600         29       2016      L5/2.5L    Optional, w/Premium Stereo                  48 33, 50              760
1990      V6/2.8L                            47                   450         28       2016      L5/2.5L    w/Premium Stereo                            92 50                  700
1990      V6/2.8L                            47                   520         28       2016      L5/2.5L    Inscription                                 94R 33, 50             800
1990      V6/2.8L    Opt                     48                   600         29       2016      L6/3.0L    w/o Premium Stereo                          48 50                  600         29
Volvo 780                                                                              2016      L6/3.0L    Polestar                                    48 33, 50              760
1991      L4/2.3L    Coupe                   47                   440         28       2016      L6/3.0L    w/Premium Stereo                            92 50                  700
1991      L4/2.3L                            47                   520         28       2015      L4/2.0L    Start/Stop, Opt                             48 33, 50              760
1991      L4/2.3L    Opt                     48                   600         29       2015      L4/2.0L    Turbo, E FWD, HD                            94R 33, 50             800
1990      L4/2.3L                            47                   520         28       2015      L5/2.5L    w/o Premium Stereo                          48 50                  600         29
1990      L4/2.3L                            48                   500         29       2015      L5/2.5L    Optional, w/Premium Stereo                  48 33, 50              760
1990      L4/2.3L    Opt                     48                   600         29       2015      L5/2.5L    w/Premium Stereo                            92 50                  700
1990      V6/2.8L                            47                   520         28       2015      L6/3.0L    w/o Premium Stereo                          48 50                  600         29
1990      V6/2.8L                            48                   500         29       2015      L6/3.0L    Optional, w/Premium Stereo                  48 33, 50              760
1990      V6/2.8L    Opt                     48                   600         29       2015      L6/3.0L    w/Premium Stereo                            92 50                  700
Volvo 850                                                                              2014-12   L5/2.5L    w/Premium Stereo                            92 50                  700
1997-94 L5/2.3L      Std Battery             47                   520         28       2014-12   L5/2.5L    Premium Audio, RTI, RSE Opt 1               92 47, 50             80 Ah
1997-93 L5/2.4L                              47                   520         28       2014-11   L6/3.0L    w/Premium Stereo                            92 50                  700
                                                                                       2014-11   L6/3.0L    Premium Audio, RTI, RSE Opt 1               92 47, 50             80 Ah
Volvo 940                                                                              2014      L5/2.5L    w/o Premium Stereo                          48 50                  600         29
1995-91 L4/2.3L      Std Battery             47                   520         28       2014      L6/3.0L    w/o Premium Stereo                          48 50                  600         29
1992-91 L4/2.3L      Opt                     48                   600         29       2013-12   L5/2.5L                                                48 50                  600         29
Volvo 960                                                                              2013-11   L6/3.0L                                                48 50                  600         29
1997-92 L6/2.9L                              48                   600         29       2009-03   L5/2.5L    Std Battery                                 48 50                  600         29
Volvo C30                                                                              2009-03   L5/2.5L    Opt                                         49 50                  800         33
2013-10   L5/2.5L    Opt                     94R 50               700         30       2009-03   L5/2.5L    Premium Audio, RTI, RSE Opt 1               92 47, 50             80 Ah
2013-07   L5/2.5L    Std Battery             91 50                590                  2009-01   L5/2.4L    Std Battery                                 48 50                  600         29
2013-07   L5/2.5L    Opt                     94R                 80 Ah        30       2009-01   L5/2.4L    Opt                                         49 50                  800         33
2010      L5/2.4L                            91 50                590                  2009-01   L5/2.4L    Premium Audio, RTI, RSE Opt 1               92 47, 50             80 Ah
2010      L5/2.4L    Opt                     94R 50               700         30       2004-01   L5/2.3L    Std Battery                                 48 50                  600         29
2009-08   L5/2.5L    Opt                     94R 50               700         30       2004-01   L5/2.3L    Opt                                         49 50                  800         33
2009      L5/2.4L                            91 50                590                  Volvo S60 Cross Country
2009      L5/2.4L    Opt                     94R 50               700         30       2017      L4/2.0L    w/o Premium Stereo                          48 50                  600         29
2008-07   L5/2.4L                            91 50                590                  2017      L4/2.0L    Optional, w/Premium Stereo                  48 33, 50              760
2008-07   L5/2.4L    Opt                     94R 50               700         30       2017      L4/2.0L    w/Premium Stereo                            92 50                  700
2007      L5/2.5L    Opt                     94R 50               700         30       2017      L4/2.0L    Inscription                                 94R 33, 50             800
Volvo C70                                                                              2016      L5/2.5L    w/o Premium Stereo                          48 50                  600         29
2013-10   L5/2.5L    Opt                     94R 50               700         30       2016      L5/2.5L                                                48 33, 50              760
2013-06   L5/2.5L    Std Battery             91                   590                  2016      L5/2.5L    w/Premium Stereo                            92 50                  700
2013-06   L5/2.5L    Opt                     94R                 80 Ah        30       2016      L5/2.5L    Inscription                                 94R 33, 50             800
2009-06   L5/2.5L    Opt                     94R 50               700         30       Volvo S70
2004-01   L5/2.3L                            48                   600         29       2000-98   L5/2.3L    Std Battery                                 47                     520         28
2004-01   L5/2.4L                            48                   600         29       2000-98   L5/2.3L    Opt                                         48                     600         29
2000-98   L5/2.3L                            47                   520         28       2000-98   L5/2.4L    Std Battery                                 47                     520         28
2000-98   L5/2.4L                            47                   520         28       2000-98   L5/2.4L    Opt                                         48                     600         29
Volvo S40                                                                              Volvo S80
2011-06   L5/2.5L                            91 50                520                  2016-15   L4/2.0L    Start/Stop                                  94R 33, 50              800
2011-05   L5/2.5L    HD, Late 2004 on        94R                  700         30       2016      L4/2.0L                                                48 33, 50               760
2011      L5/2.5L    w/o Premium Stereo      91 50                590                  2015      L4/2.0L    w/o Premium Stereo                          48 50                   600        29
2010-06   L5/2.4L                            91 50                520                  2015      L4/2.0L    Start/Stop, Opt                             48 33, 50               760
2010-05   L5/2.4L    HD, Late 2004 on        94R                  700         30       2015      L4/2.0L    w/Premium Stereo                            92 50                   700
2010      L5/2.4L                            91 50                590                  2015      L6/3.0L    w/o Premium Stereo                          48 50                   600        29
                                                                                                                                      See page 88 for Footnotes. Selection may vary by warehouse.

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    Automotive/Light Truck                                                                                                                                                                87
                                                                                      Original                                                                                    Original
        Year         Engine                         Options         BCI Group Size   Equipment    Fitment     Year      Engine                     Options      BCI Group Size   Equipment    Fitment
                                                                        (notes)                    Code                                                             (notes)                    Code
                                                                                     CCA/Rating                                                                                  CCA/Rating
    Volvo S80 (continued)                                                                                   Volvo V70 (continued)
    2015         L6/3.0L       Optional, w/Premium Stereo         48 33, 50            760                  2004-01 L5/2.3L      Opt 1                        48 50                600         29
    2015         L6/3.0L       w/Premium Stereo                   92 50                700                  2000-98 L5/2.3L      Opt                          48 50                600         29
    2014-10      L6/3.0L       w/Premium Stereo                   92 50                700                  Volvo V90
    2014-10      L6/3.2L       w/Premium Stereo                   92 50                700                  1998-97 L6/2.9L                                   48 50                600         29
    2014-08      L6/3.0L       Premium Audio, RTI, RSE Opt 1      92 47, 50           80 Ah
    2014-07      L6/3.2L       Premium Audio, RTI, RSE Opt 1      92 47, 50           80 Ah
                                                                                                            Volvo XC60
    2014         L6/3.0L       w/o Premium Stereo                 48 50                600         29       2016-15   L4/2.0L    Start/Stop, Opt              48 33, 50            760
    2014         L6/3.2L       w/o Premium Stereo                 48 50                600         29       2016-15   L5/2.5L    Optional, w/Premium Stereo   48 33, 50            760
    2013-08      L6/3.0L                                          48 50                600         29       2016-15   L6/3.0L    Optional, w/Premium Stereo   48 33, 50            760
    2013-07      L6/3.2L                                          48 50                600         29       2016      L4/2.0L                                 48 33               70 Ah
    2010-07      V8/4.4L                                          48 50                600         29       2016      L4/2.0L    E FWD                        94R 33, 50          80 Ah
    2010-07      V8/4.4L       Premium Audio, RTI, RSE Opt 1      92 47, 50           80 Ah                 2016      L4/2.0L    Start/Stop                   94R 33, 50           800
    2010-07      V8/4.4L       Premium Audio, RTI, RSE Opt 2      93 50                800                  2016      L5/2.5L    w/o Premium Stereo           48 50                600         29
    2010         V8/4.4L       w/Premium Stereo                   92 50                700                  2016      L5/2.5L    Opt                          48 33, 50           70 Ah
    2009-08      L6/3.0L       w/Premium Stereo                   92 50                700                  2016      L5/2.5L                                 92                   700
    2009-08      L6/3.2L       w/Premium Stereo                   92 50                700                  2016      L6/3.0L    w/o Premium Stereo           48 50                600         29
    2009-08      V8/4.4L       Opt                                92 50                700                  2016      L6/3.0L    Opt                          48 33, 50           70 Ah
    2007         L6/3.2L       w/Premium Stereo                   92 50                700                  2016      L6/3.0L                                 92                   700
    2007         V8/4.4L       Opt                                92 50                700                  2015      L4/2.0L                                 94R 33, 50           800
    2006-04      L5/2.5L                                          48 50                600         29       2015      L5/2.5L    w/o Premium Stereo           48 50                600         29
    2006-04      L5/2.5L        HD/Electronic Upgrade             49 50                800         33       2015      L5/2.5L    w/Premium Stereo             92 50                700
    2005-99      L6/2.9L                                          48 50                600         29       2015      L6/3.0L    w/o Premium Stereo           48 50                600         29
    2005-99      L6/2.9L        HD/Electronic Upgrade             49 50                800         33       2015      L6/3.0L    w/Premium Stereo             92 50                700
    2001-99      L6/2.8L                                          48 50                600         29       2015      L6/3.2L    w/o Premium Stereo           48 50                600         29
    2001-99      L6/2.8L        HD/Electronic Upgrade             49 50                800         33       2015      L6/3.2L    Optional, w/Premium Stereo   48 33, 50            760
    Volvo S90                                                                                               2015      L6/3.2L    w/Premium Stereo             92 50                700
                                                                                                            2014-10   L6/3.0L    w/o Premium Stereo           48 50                600         29
    2017    L4/2.0L             Opt                               49 33, 50            850
                                                                                                            2014-10   L6/3.0L    w/Premium Stereo             92 50                700
    2017    L4/2.0L                                               94R 33, 50           800
                                                                                                            2014-10   L6/3.0L    Opt                          92 47               80 Ah
    1998-97 L6/2.9L                                               48 50                600         29
                                                                                                            2014-10   L6/3.2L    w/o Premium Stereo           48 50                600         29
    Volvo V40                                                                                               2014-10   L6/3.2L    w/Premium Stereo             92 50                700
                                                                       50
    2004-00 L4/1.9L                                               48                   600         29       2014-10   L6/3.2L    Opt                          92 47               80 Ah
    Volvo V50                                                                                               2013-10   L6/3.0L    Std Battery                  48                  70 Ah        29
    2011-05      L5/2.5L                                          91                   590                  2013-10   L6/3.2L                                 48                  70 Ah        29
    2011-05      L5/2.5L        Opt                               94R                  700         30       Volvo XC70
    2010-05      L5/2.4L                                          91                   590                  2016      L4/2.0L    E-FWD Pkg, Keyless locking   48 33, 50           70 Ah
    2010-05      L5/2.4L        Opt                               94R                  700         30       2016      L4/2.0L    Start/Stop, Opt              48 33, 50            760
    Volvo V60                                                                                               2016      L4/2.0L                                 94R 33              80 Ah
    2016         L4/2.0L                                          48 33, 50            760                  2016      L4/2.0L    Start/Stop                   94R 33, 50           800
    2016         L4/2.0L        Start/Stop or Inscription         94R 33, 50           800                  2016      L5/2.5L    w/o Premium Stereo           48 50                600         29
    2016         L6/3.0L        w/o Premium Stereo                48 50                600         29       2016      L5/2.5L    AWD                          48 33, 50           70 Ah
    2016         L6/3.0L        Polestar                          48 33, 50            760                  2016      L5/2.5L    Optional, w/Premium Stereo   48 33, 50            760
    2016         L6/3.0L        w/Premium Stereo                  92                   700                  2016      L5/2.5L    w/Premium Stereo             92 50                700
    2015         L4/2.0L        Start/Stop, Opt                   48 33, 50            760                  2016      L5/2.5L                                 94R 33              80 Ah
    2015         L4/2.0L                                          94R 33, 50           800                  2015      L4/2.0L    Start/Stop, Opt              48 33, 50            760
    2015         L5/2.5L        w/o Premium Stereo                48 50                600         29       2015      L4/2.0L                                 94R 33, 50           800
    2015         L5/2.5L        Optional, w/Premium Stereo        48 33, 50            760                  2015      L6/3.0L    w/o Premium Stereo           48 50                600         29
    2015         L5/2.5L        w/Premium Stereo                  92 50                700                  2015      L6/3.0L    Optional, w/Premium Stereo   48 33, 50            760
    2015         L6/3.0L        w/o Premium Stereo                48 50                600         29       2015      L6/3.0L    w/Premium Stereo             92 50                700
    2015         L6/3.0L        Optional, w/Premium Stereo        48 33, 50            760                  2015      L6/3.2L    w/o Premium Stereo           48 50                600         29
    2015         L6/3.0L        w/Premium Stereo                  92 50                700                  2015      L6/3.2L    Optional, w/Premium Stereo   48 33, 50            760
    Volvo V60 Cross Country                                                                                 2015      L6/3.2L    w/Premium Stereo             92 50                700
    2016         L5/2.5L        w/o Premium Stereo                48 50                600         29       2014-09   L6/3.0L    SI6                          48                   590         29
    2016         L5/2.5L        Optional, w/Premium Stereo        48 33                760                  2014-09   L6/3.0L    w/o Premium Stereo           48 50                600         29
    2016         L5/2.5L        w/Premium Stereo                  92 50                700                  2014-09   L6/3.0L    w/Premium Stereo             92 50                700
    2016         L5/2.5L        E FWD                             94R 33              80 Ah                 2014-09   L6/3.0L    SI6, Prem Audio, RTI, RSE    92 47               80 Ah
    2016         L5/2.5L        Inscription                       94R 33, 50           800                  2014-08   L6/3.2L    SI6                          48                   590         29
    2015         L5/2.5L        w/o Premium Stereo                48 50                600         29       2014-08   L6/3.2L    w/o Premium Stereo           48 50                600         29
    2015         L5/2.5L        Optional, w/Premium Stereo        48 33, 50            760                  2014-08   L6/3.2L    w/Premium Stereo             92 50                700
    2015         L5/2.5L        w/Premium Stereo                  92 50                700                  2014-08   L6/3.2L    SI6, Prem Audio, RTI, RSE    92 47               80 Ah
    Volvo V70                                                                                               2007-03   L5/2.5L    Ex Premium Audio, RTI, RSE   47 50                520         28
    2010-08      L6/3.2L       Ex Premium Audio, RTI, RSE         48 50                600         29       2007-03   L5/2.5L    RTI, RSE, Opt 1              48 50                600         29
    2010-08      L6/3.2L       w/Premium Stereo                   92 50                700                  2007-03   L5/2.5L    Opt                          49 50                800         33
    2010-08      L6/3.2L       Premium Audio, RTI, RSE            92 47, 50           80 Ah                 Volvo XC90
    2007-98      L5/2.4L                                          47                   520         28       2016      L4/2.0L    Early                        49 33, 50            850
    2007-98      L5/2.4L        Opt 1                             48 50                600         29       2016      L4/2.0L    Early                        49 33, 50           95 Ah
    2007-03      L5/2.5L                                          47                   520         28       2016      L4/2.0L    Late                         94R 33, 50          80 Ah
    2007-03      L5/2.5L        Opt 1                             48 50                600         29       2016      L4/2.0L    Late                         94R 33, 50           800
    2007-03      L5/2.5L        HD, Electronic Upgrade            49 50                800         33       2014-07   L6/3.2L    Std Battery                  48 50                600         29
    2007-02      L5/2.4L        HD, Electronic Upgrade            49 50                800         33       2014-07   L6/3.2L    Opt                          49 50                760         33
    2004-98      L5/2.3L                                          47                   520         28       2011-05   V8/4.4L    Std Battery                  48 50                600         29
    2004-02      L5/2.3L        HD, Electronic Upgrade            49 50                800         33       2011-05   V8/4.4L    Opt                          49 50                760         33
    See page 88 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                     Costco_001637
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88                                                                                                     Automotive/Light Truck
                                                                      Original                                                                              Original
  Year        Engine                 Options        BCI Group Size   Equipment    Fitment     Year      Engine                Options     BCI Group Size   Equipment    Fitment
                                                        (notes)                    Code                                                       (notes)                    Code
                                                                     CCA/Rating                                                                            CCA/Rating
Volvo XC90 (continued)                                                                      Workhorse (continued)
2006-03    L5/2.5L     Std Battery                48 50                600         29       2003-02   V8/5.7L    FasTrack FT1802        78                   690          7
2006-03    L5/2.5L     Opt                        49 50                760         33       2003-02   V8/6.5L    FasTrack FT1802        78 2                 600          7
2005-03    L6/2.9L     Std Battery                48 50                600         29       2002-00   V8/5.7L    FasTrack FT1460        78                   690          7
2005-03    L6/2.9L     Opt                        49 50                760         33       2001-00   V8/5.7L    FasTrack FT1260        78                   690          7
Workhorse                                                                                   2001-00   V8/5.7L    FasTrack FT1600        78                   690          7
2005-04    L4/3.9L     FasTrack FT1261            78                   690          7       2001-00   V8/5.7L    FasTrack FT1800        78                   690          7
2005-04    L4/3.9L     FasTrack FT1461            78                   690          7       Yugo Cabrio
2005-04    L4/3.9L     FasTrack FT1601            78                   690          7       1992    L4/1.3L                             26 45                370
2005-04    V8/4.8L     FasTrack FT1061            78                   690          7       1991-90 L4/1.3L                             N/A                  370          8
2005-04    V8/4.8L     FasTrack FT1461            78                   690          7       Yugo GV
2005-04    V8/4.8L     FasTrack FT1601            78                   690          7       1992      L4/1.3L                           26 45                370
2005-04    V8/6.0L     FasTrack FT1461            78                   690          7       1991      L4/1.3L                           26                   370
2005-04    V8/6.0L     FasTrack FT1801            78                   690          7       1989-87   L4/1.1L                           26                   370
2005-02    V8/5.7L     FasTrack FT1261            78                   690          7       1986      L4/1.1L                           26 45                370
2005-02    V8/5.7L     FasTrack FT1461            78                   690          7
                                                                                            Yugo GVL
2005-02    V8/5.7L     FasTrack FT1601            78                   690          7
                                                                                            1989-88 L4/1.1L                             26                   370
2005-02    V8/6.5L     FasTrack FT1801            78 2                 600          7
2005-00    V8/5.7L     P30                        78                   690          7       Yugo GVS
2005       V8/4.8L     FasTrack FT1261            78                   690          7       1988      L4/1.1L                           26                   370
2004-02    V8/5.7L     FasTrack FT1061            78                   690          7       Yugo GVX
2004-02    V8/5.7L     FasTrack FT1801            78                   690          7       1988-87 L4/1.3L                             26                   370
2003-02    V6/4.3L     FasTrack FT931             78                   690          7




Footnotes
2.       Two batteries may be required.
3.       Three batteries may be required.
5.       Best-ﬁt estimate
6.       Check for height (hood clearance), tray room and holddown ﬁt. Check clearance before connecting cables.
7.       Check polarity and cable length before connecting cables.
9.       Manufacturer’s recommended replacement battery shown. May vary from OE battery.
11.      OE battery has ﬂush vents.
16.      Requires individual vent caps for proper hood clearance. Do not ﬁt batteries with pod-type vent caps.
18.      I-drive vehicles require system reset after battery installation. See BMW authorized repair for service.
23.      Special 12V: 10" x 6 1⁄16" x 8 3⁄8". Check polarity before installing.
30.      Special 12V: 9" x 7 1⁄4" x 7 1⁄2"
31.      Special deep-cycle battery
33.      Valve-regulated AGM battery
34.      Vibration-resistant battery
35.      Without handle bracket
40.      Battery in “active cooling box” with air snorkel to outside of engine compartment.
43.      OE battery has nonstandard terminal location. May require cable modiﬁcations.
45.      Non-BCI group size
47.      The recommended battery for this vehicle is based on Ah and not CCA.
50.      Battery is vented outside of vehicle.
52.      Use with Land Rover adapter AMR3679S, clamp AMR3679, J bolts AMR3681.
54.      CCA is an EN (European Norm) rating
55.      Vehicle computer system must be reset. Contact your service specialist.
56.      Various group size batteries used in production.
57.      Models (2008 and 2009) with “MyGig” REN or REZ radios require the feed fuse for the radio to be removed before disconnecting battery.
         See Chrysler 08-003-09 Service procedure.
58.      PR codes are located on a tag near the spare tire or in the warranty booklet.
59.      Enhanced Flooded Battery (EFB)
60.      Lithium-ion battery only
61.      With sensor

                                                                                                                                                                                  Costco_001638
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    Costco Limited Battery Warranty
    Automotive batteries are backed by an
    exclusive warranty. The warranty is posted
    at the battery rack display. You may also
    visit the tire sales desk for details.




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                                                                                              Costco_001640
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                                       BATTERY FITMENT GUIDE 2018
                                       SOUTH




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                 FIND THE
                 RIGHT FIT
                 FOR YOU
                  BATTERY REPLACEMENT GUIDE 2019


                                                              USA




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How to Use This Battery Replacement Guide

Choosing Your Battery Is as Easy as                                                           1 • 2 • 3
1 ,GHQWLI\ WKH PDNH PRGHO DQG \HDU RI \RXU YHKLFOH
       H[DPSOH  )RUG ) 3LFNXS


2 )LQG \RXU YHKLFOH LQ WKH UHSODFHPHQW JXLGH
                                                          Example
                                                                       ORIGINAL              GROUP SIZE
                 YEAR      ENGINE                   OPTIONS           EQUIPMENT               (NOTES)
                                                                      CCA/RATING
              Ford F-150, F-150 Heritage
               2017-15   V8/5.0L    King Ranch, Lariat, Platinum      730          H7 (94R)
               2015      V6/2.7L    King Ranch, Lariat, Platinum      800          H7 (94R) AGM 33
               2014-11   V6/3.5L                                      750          65
               2014-11   V6/3.7L                                      750          65
               2014-11   V8/5.0L                                      750          65
               2014-10   V8/6.2L                                      750          65
               2010-07   V8/4.6L    Opt                               650          65
               2010-07   V8/5.4L    Opt                               650          65
               2010-97   V8/4.6L                                      540          59
               2010-97   V8/5.4L                                      540          59




3 8VH WKH *URXS 6L]H VSHFLĬHG LQ WKH UHSODFHPHQW JXLGH WR ĬQG \RXU
      EDWWHU\ RQ WKH UDFN 7KH *URXS 6L]H LV ORFDWHG LQ WKH IROORZLQJ SODFHV

                             Front label                                                                  Sign on shelf



                                                    65
                                                                      AUTOMOTIVE




                                           GROUP



                                                                                                                                   850
                                             SIZE




                                                    850                                      65
                                                                                                                            CCA




                                                                                                                                   36
                                             CCA                                    GROUP
                                                                                      SIZE                               LIMITED
                                                                                                                      WARRANTY




                                                    36
                                                                                                                                     MONTH
                                                                                                                    REPLACEMENT


                                          LIMITED
                                       WARRANTY               MONTH
                                     REPLACEMENT                                                                           ITEM# 852186




    )RU D FRPSOHWH OLVW RI DSSOLFDWLRQV LQFOXGLQJ YLQWDJH YLVLW &RVWFRFRP &OLFN RQ 6KRS $OO
    'HSDUWPHQWV  7LUHV $XWR  ,QWHUVWDWH %DWWHULHV WR ĬQG D EDWWHU\ IRU \RXU FDU RU WUXFN


                                                       MOYER_DEPO 000309
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           The replacement battery information in this catalog has been obtained from Battery Council
           International (“BCI”), original equipment (“OE”) manufacturers and other industry sources.
           Users are cautioned that the information in this catalog was the most current information
           provided at the time of publication. However, the information is subject to change upon
           QRWLFHIURP2(PDQXIDFWXUHUVRUĬHOGH[SHULHQFH7KHUHIRUHXVHUVVKRXOGXVHWKHPRVW
           current edition of the Battery Replacement Data Book.

           :KLOH,QWHUVWDWH%DWWHULHVDQG%&,KDYHPDGHHYHU\HıRUWWRDFFXUDWHO\FDWDORJWKHUHSODFHPHQW
           EDWWHU\LQIRUPDWLRQLQWKLVFDWDORJWKH\GLVFODLPDQ\OLDELOLW\H[SUHVVHGRULPSOLHGIRUWKH
           accuracy of this information or for damages as a consequence of using or misusing this
           information. Since some OE manufacturers do not provide complete replacement battery
           GDWDDQHVWLPDWHIRUUHSODFHPHQWEDWWHU\VL]HLVJLYHQIRUHQGXVHUJXLGDQFH)RUVSHFLĬF
           replacement battery size information, see the OE manufacturer.




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2                                                                Battery Basics

How a Battery Works                              2. POWER What are the Cold Cranking Amp
A battery stores energy in chemical form that    requirements of your vehicle? The power a
can be released on demand as electricity. This   battery can deliver decreases as the tempera-
electrical power is used by the car’s ignition   ture gets colder. Batteries are rated at both
system for cranking the engine. The car’s        Ƅb) &UDQNLQJ$PSV&$ DQGƄb) &ROG
battery also may power the lights and other      Cranking Amps/CCA). Using either rating
accessories. Should the alternator or fan belt   for comparison, the higher the number, the
fail, the battery might also need to power the   greater the starting power of the battery.
vehicle’s entire electrical system for a short
period of time.                                  3. WARRANTY Automotive batteries are
                                                 EDFNHGE\DQH[FOXVLYHZDUUDQW\7KHZDUUDQW\
Three Things to Consider When Buying             is posted at the battery rack display. You may
a Battery                                        also visit the Tire Sales Desk for details.
1. SIZE What are the dimensions of your
original equipment battery? The Battery
Council International (BCI) uses a two-digit
number to identify the height, length and
width shape of original equipment sizes.


             As the temperature drops, more cranking power is required to start
                a vehicle’s engine, but a battery’s available power decreases.



                                                                     AS THE
                                                                  TEMPERATURE
                                                                   DECREASES,
                                                                   THE ENGINE
                                                                    DEMANDS
                                                                      MORE
                                                                    CRANKING
                                                                     POWER.




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   %DWWHU\6SHFLğFDWLRQV                                                                                             

                   Costco Item                                               Overall Dimensions * (inches)
      Group Size                 CCA        CA        RC        Ah                                             Warranty
                    Number                                                 Length*      Width*      Height*
                                              Interstate Automotive
          25        852231       550         690        100         —        9           6 7Ş8       8 3Ş4       36
          51        852180       500         625         85         —        9 3Ş8       5 1Ş8       8 7Ş8       36
         51R        852210       500         625         85         —        9 3Ş8       5 1Ş8       8 7Ş8       36
          58        852203       550         690         80         —        9 1Ş2       7 1Ş4       6 7Ş8       36
          59       1131494        590        740        100         —       10 1Ş16      7 5Ş8       7 3Ş4       36
          65        852186       850        1000        150         —       11 3Ş8       7 1Ş2       7 1Ş2       36
         96R        852197       590         740         95         —        9 1Ş2       6 15Ş16     6 15Ş16     36
        121R       1130744        600        750        100         —        8 1Ş4       7           5           36
        124R        852235       700         875        120         —       10 3Ş8       7           8 5Ş8       36
          24        852163       700         875        130         —        8 3Ş4       6 7Ş8      11           36
         24F        852154       700         875        130         —        8 3Ş4       6 7Ş8      11           36
          27       1130806        810       1000        140         —       12 1Ş16      6 13Ş16     8 7Ş8       36
          34       8850241        800       1000        110         —       10 1Ş4       6 13Ş16     7 7Ş8       36
          35       8850242        640        800        100         —        9           6 7Ş8       8 3Ş4       36
         36R        852185       650         815        130         —       10 3Ş8       7 1Ş4       8 1Ş8       36
         40R        852174       590         740        105         —       10 15Ş16     6 7Ş8       6 7Ş8       36
       H6 (48)     8852242        730        910        115        70       10 7Ş8       6 7Ş8       7 1Ş2       36
          75       8850261        650        875         95         —        9           7 1Ş4       7 5Ş8       36
          78        879463       800        1000        110         —       10 1Ş4       7 1Ş4       7 5Ş8       36
         100       1131795       800         965        110         —       10 1Ş4       7 1Ş4       7 5Ş8       36
          86        852195       590         810        110         —        9 1Ş16      6 13Ş16     8           36
       90 (T5)     1130685        600        750        100         —        9 9Ş16      6 7Ş8       6 7Ş8       36
         26R       1131856       540         675         81         —        8 3Ş16      6 13Ş16     7 13Ş16     36
       H5 (47)      852243         —          —           —        60        9 1Ş2       6 7Ş8       7 1Ş2       36
      H7 (94R)      852241         —          —           —        80       12 3Ş8       6 7Ş8       7 1Ş2       36
       H8 (49)      852240       730         910        175        90       13 15Ş16     6 7Ş8       7 1Ş2       36
          79       1130566        840       1050        140         —       12 1Ş16      7 1Ş16      7 3Ş8       36
         27F       1131901       710         890        165         —       12 1Ş16      6 13Ş16     8 7Ş8       36
    H5 (47) AGM    1355768       650         750        100        60        9 1Ş2       6 7Ş8       7 1Ş2       36
    H6 (48) AGM    1355770       760         950        120        70       10 15Ş16     6 7Ş8       7 1Ş2       36
    H7 (94R) AGM   1355852       850        1000        140        80       12 9Ş16      6 7Ş8       7 1Ş2       36
    H8 (49) AGM    1355853       900        1000        160        95       13 15Ş16     6 7Ş8       7 1Ş2       36
    H9 (95R) AGM   1355854       950        1000        190       100       15 9Ş16      6 7Ş8       7 1Ş2       36
                                         Interstate Batteries Marine/RV
        24DC        850281       550      MCA 700       140         —       11           6 7Ş8       9 1Ş2       12
        27DC        850982       600      MCA 750       160         —       12 3Ş4       6 3Ş4       9 1Ş2       12
                                      Interstate Batteries Lawn & Garden
         U1         850283       230         300         30         —        7 3Ş4       5 3Ş16      7 5Ş16       6
                                        Interstate Batteries Commercial
         8D         989782       1400       1750        450         —       20 3Ş4      11           9 5Ş8       12
         31T       1333133        950       1190        195         —       13           6 3Ş4       9 3Ş8       18
         31A       1333040       950        1190        195        —        13           6 3Ş4       9 3Ş8       18
                                          Interstate Batteries Golf Car
        GC2         850284             RC @ 75A 105               210       10 5Ş16      7 1Ş8      11           12
        GC8         850984             RC @ 56A 110               160       10 5Ş16      7 1Ş8      11           12
        GC12        851560            MOYER_DEPO 000312 150
                                        RC @  75A 70                        13           7 1Ş8      10 3Ş4       12
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4                                                                           BCI Assembly Figures
                                   Assembly
Group Dimensions (inches)
                                     Figure Voltage
  Size Length Width Height
                                    Number
   21    8 Ş8
           1
                  6 Ş4
                    3
                           8 Ş16
                             9
                                       10     12
  21R    8 1Ş8    6 3Ş4    8 9Ş16      11     12
  22F    9 3Ş8    6 7Ş8    8 3Ş16      11F    12
 22NF    9 3Ş8    5 1Ş2    8 13Ş16     11F    12
   24   11        6 7Ş8    8 3Ş4       10     12
  24F   10 15Ş16  6 7Ş8    8 11Ş16     11F    12
   25    9 11Ş16  6 7Ş8    8 13Ş16     10     12
   26    8 1Ş2    6 3Ş4    7 3Ş4       10     12
  26R    8 1Ş2    6 3Ş4    7 3Ş4       11     12
   27   12 3Ş4    6 5Ş8    8 13Ş16     10     12
  27F   12 3Ş4    6 5Ş8    8 13Ş16     11F    12
 29NF 13          5 1Ş2    8 15Ş16     11F    12
   34   10 15Ş16  6 7Ş8    7 13Ş16     10     12
   35    9 11Ş16  6 7Ş8    8 13Ş16     11     12
  36R   10 3Ş8    7 1Ş4    8 7Ş8       19     12
  40R   11 3Ş8    6 13Ş16  6 13Ş16     15     12
   41   12 1Ş4    6 7Ş8    6 7Ş8       15     12
   42    9 1Ş2    6 7Ş8    6 7Ş8       15     12
   45    9 3Ş8    5 1Ş2    8 13Ş16     10F    12
   46   10 15Ş16  6 13Ş16  8 11Ş16     10F    12
47 (H5) 9 1Ş16    6 15Ş16  7 1Ş2     24(A,F)  12
48 (H6) 11 3Ş8    6 7Ş8    7 1Ş2       24     12
49 (H8) 14 5Ş16   6 7Ş8    7 1Ş2       24     12
   50   13 1Ş4    5 9Ş16   8 13Ş16     10     12
   51    9 3Ş8    5 1Ş8    8 7Ş8       10     12
  51R    9 5Ş16   5        8 11Ş16     11     12
   56   10 11Ş16  6        8 5Ş16      19     12
   58   10        7 3Ş16   7           26     12
  58R   10        7 3Ş16   7           19     12
   59   10        7 7Ş16   7 5Ş8       21     12
   64   12 1Ş4    6 1Ş4    8 13Ş16     20     12
   65   12        7 7Ş16   7 5Ş8       21     12
   66   12 1Ş16   7 7Ş16   7 11Ş16     13     12
   70    8 11Ş16  6 3Ş4    7 7Ş16      17     12
   74   10 7Ş8    7 1Ş4    8 3Ş8       17     12
   75    9 11Ş16  7 1Ş4    7 1Ş4       17     12
   78   10 15Ş16  7 1Ş4    7 1Ş4       17     12
   79   12 1Ş16   7 1Ş16   7 3Ş8       35     12
   85    9 1Ş8    6 13Ş16  7 13Ş16     11     12
   86    9 1Ş16   6 7Ş8    8           10     12
   92   12 11Ş16  6 15Ş16  6 15Ş16     24     12
  94R   12 3Ş8    6 7Ş8    8           24     12
  95R   15 9Ş16   6 15Ş16  7 1Ş2       24     12
  96R    9 1Ş2    6 13Ş16  6 7Ş8       15     12
  100   10 1Ş4    7 1Ş16   7 3Ş8       35     12
  101   10 1Ş4    7 1Ş16   6 11Ş16     17     12
 121R    8 1Ş4    7        8 1Ş2       19     12
 124R 10 5Ş16     7        8 5Ş8       19     12
  30H   13 1Ş2    6 13Ş16  9 1Ş4       10     12
   31   13        6 13Ş16  9 3Ş8     18(A,T)  12
  31P   13        6 13Ş16  9 3Ş8     18(A,T)  12
  27M 12 7Ş8      6 3Ş4    9 1Ş8       NA     12
  24M 11 1Ş16     6 3Ş4    9 1Ş8       NA     12
 29HM 13          6 3Ş4   10           NA     12
   4D   20        8 3Ş16   9 9Ş16       8     12
   8D   20 3Ş8   10 1Ş8    9 13Ş16      8     12
  3EE   19 1Ş4    4 1Ş4    8 9Ş16       9     12
   3ET  19 1Ş4    4 1Ş4    9 9Ş16       9     12
  4DLT 20         8 3Ş16   7 15Ş16     NA     12
  16TF 16 9Ş16    7 1Ş8   11 1Ş8       10F    12
  17TF 17 1Ş16    6 15Ş16  7 15Ş16     11L    12
   U1    8 1Ş4    5 3Ş16   7 3Ş16     10(X)   12
  U1R    8 1Ş4    5 3Ş16   7 3Ş16     11(X)   12
 U1RT    8 1Ş4    5 3Ş16   7 3Ş16      11     12
34/78DT 11        7 1Ş4    8 1Ş8       NA     12
75/86DT 9 11Ş16   7 1Ş4    8 1Ş8       NA     12
    1    9 1Ş8    7 1Ş8    9 3Ş8        2      6
    2   10 3Ş8    7 1Ş8    9 3Ş8        2      6
    4   12 7Ş8    7        9 3Ş8        2      6
  3EH   19 1Ş4    4 1Ş4    9 9Ş16       5      6
 17HF    7 3Ş8    6 7Ş8    9           2B      6
  19L    8 1Ş2    7        7 1Ş2        2      6      Designs and designations supplied by Battery Council International and are provided for
                                                              MOYER_DEPO 000313
                                                      UHIHUHQFHRQO\6HHVSHFLŴFDWLRQFKDUWIRUGLPHQVLRQDOGHWDLOV
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   Group Size Dimensions                                                                                                        5

                                    BCI DESIGN                                                          *DIN DESIGN




                                        FORD                                                           FORD/MAZDA




                                                                   GENERAL MOTORS




   127('LPHQVLRQVOLVWHGDERYHDUH%DWWHU\&RXQFLO,QWHUQDWLRQDO %&, GLPHQVLRQV%DWWHU\GLPHQVLRQVDUHURXQGHGWR".
                                                       MOYER_DEPO 000314
    ',1  'HXWVFKHV,QVWLWXWI¾U1RUPXQJ *URXSVL]HVVKRZQDUH%&,HTXLYDOHQWWR',1JURXSVL]HV
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6         Special Installation Instructions—Imports

Toyota/Nissan’s Recommended Procedures              Mazda’s Recommended Procedures
for Bypassing Battery Sensors                       for Bypassing Battery Sensor
Certain Toyota models equipped with                 An electrolyte level sensor was used on the
Toyota’s ESP System (Electrolyte Sensor             1979-1981 Mazda 626 Coupe. This sensor is
3UREH DQG1LVVDQ=;V                 not compatible with replacement batteries
equipped with their battery level sensor, are       and therefore, must be bypassed when
not compatible with replacement batteries.          replacing the original equipment battery.
To compensate for this, both manufacturers          Mazda provides the following procedures for
have issued procedures for bypassing these          bypassing their sensor:
systems.
                                                    )L[WKHVHQVRUKDUQHVVWRQHDUE\PDLQ
Below are the recommended Toyota and                   harness.
1LVVDQSURFHGXUHVIRUE\SDVVLQJWKHVH
systems.                                            2. Remove the warning light bulb from the
                                                        dash.
Toyota—Vehicles equipped with the ESP
System: The battery phase of the ESP                OR
System cannot be made to operate with               Make a suitable harness arrangement to
replacement batteries. Toyota suggests              supply voltage from the ignition switch to the
unplugging the electrolyte sensor and               sensor circuit so that the warning light does
hooking the wire to the blue wire of the            QRWFRPHRQ1RWHWKDWWKHZDUQLQJOLJKW
windshield washer pump.                             only comes on when the circuit is open. (See
Nissan—Purchase Battery Sensor Substitute,          circuit diagram.)
SDUW7RLQVWDOOWKLVSDUWUHIHUWR   In other words, all that is necessary is to
instructions included with part or to the           either remove the warning light bulb or to
ĬJXUHVKRZQEHORZ                                  hook the circuit up to 12 volts via the ignition
When installing your new battery in a               switch.
RU=;LQVWDOOWKHEDWWHU\
sensor substitute illustrated below so that
the computer warning system can function
properly.




                                           MOYER_DEPO 000315
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   Abbreviations                                                                                                          7
   2V         2 Valve per Cylinder            DT       Dual Terminal                   MT         Manual Transmission
   4V         4 Valve per Cylinder            EFB      Enhanced Flooded Battery        MY         Model Year
   2WD        Two-Wheel Drive                 EFI      Electronic Fuel Injection       N/A        1RW$YDLODEOH
   4WD        Four-Wheel Drive                ELWB     ([WUD/RQJ:KHHO%DVH           No.        1XPEHU
   AC         Air Conditioning                Eng      Engine                          OE         Original Equipment
   AGM        Absorbed Glass-Mat              ETR      Electronic Tuning Radio         OHC        Overhead Cam
   Ah         Amp Hour                        Ex       ([FHSW                          OHV        Overhead Valve
   Alt        Alternate                       Fig      Figure                          Opt        Optional
   AT         Automatic Transmission          FI       Fuel Injection                  Pkg        Package
   Aux        $X[LOLDU\                       Fla      Florida                         PPkg       Police Package
   AWD        All Wheel Drive                 FWD      Front-Wheel Drive               PS         Power Steering
   Bat        Battery                         GVW      Gross Vehicle Weight            PTO        Power Take-Off
   BCI        Battery Council International            Heated Back Light (Rear         RC         Reserve Capacity
                                              HBL      Window Defroster)               RRC        Repetitive Reserve Cycles
   Calif      California
                                              HA       High Altitude                   Rt         Right
   CA         Cranking Amps
                                              HD       Heavy Duty                      RWD        Rear-Wheel Drive
   Can        Canada
                                              HO       High Output                     S/C        Super Charged
   Carb       Carburetor
                                              HP       Horsepower                      SEO        Special Electrical Option
   CFI        Central Fuel Injection
                                                       High Swirl Combustion
   cc         Cubic Centimeter                HSC                                      SG         Sound Guard
                                                       (chamber)
   CCA        &ROG&UDQNLQJ$PSV Ƅ)        Htr      Heater                          SHO        Super High Output
   CDI        Common Direct Injection         HWS      Heated Windshield               SOHC       Single Overhead Cam
   ci         Cubic inch                      Hyb      Hybrid                          Std        Standard
   Comp       Compression                     Ign      Ignition                                   Super Ultra Low Emissions
                                                                                       SULEV      Vehicle
   Cont       Continental                     IHC      International Harvester Co.     TBI        Throttle Body Injection
   Conv       Convertible                     Incl     Including                       TDI        Turbo Direct Injection
              Continuously Variable           Ind      Industrial
   CVT                                                                                 US         United States
              Transmission
                                              L        Liter                           V          Venturi
   Cyl        Cylinder
                                              L4/L5/L6 In-Line 4, 5 or 6 Cylinder
   DES        Direct Injection Start                   Engine                          TTPkg      Trailer Towing Package
              Deutsche Institut für           Lft      Left                            Turbo      Turbo Charged
   DIN        1RUPXQJ                                                                  w/         With
                                              LPG      Liquified Petroleum Gas
   DOHC       Dual Overhead Cam                                                        w/o        Without
                                              MFI      Multi-Port Fuel Injection
   Dsl        Diesel                                                                   Wisc       Wisconsin
                                              Modif    Modified


   Glossary
   CCA (Cold Cranking Amps)                                         Ah (Amp Hours)
   &&$ 7KHQXPEHURIDPSHUHVDEDWWHU\DWƄbF                    A unit of measurement for a battery’s electrical storage
   (-17.8Ƅb& FDQGHOLYHUIRUVHFRQGVDQGPDLQWDLQD            capacity, obtained by multiplying the current in
   voltage equal to or higher than 1.2 volts per cell (7.2          DPSHUHVE\WKHWLPHLQKRXUVRIGLVFKDUJH([DPSOH$
   volts for a 12-volt battery).                                    EDWWHU\GHOLYHUVDPSV[+RXUV $K
   CA (Cranking Amps) or MCA (Marine Cranking Amps)                 Cycle Life (SAE – J240B)
   CA or MCA is the discharge load in amperes which                 $WƄbF the battery is discharged at 25 amperes for
   a new, fully charged battery at 32Ƅb) ƄbC) can                 IRXUPLQXWHVDQGWKHQUHFKDUJHGIRUPLQXWHV7KLV
   FRQWLQXRXVO\GHOLYHUIRUVHFRQGVDQGPDLQWDLQD              cycle is continued until the battery fails to meet its
   terminal voltage equal to or higher than 1.2 volts per cell      VSHFLĬHG&&$UDWLQJ
   (7.2 volts for a 12-volt battery).                               Vibration
   RC (Reserve Capacity)                                            The battery is mounted onto a shaker table and
   A battery must provide emergency power for ignition,             vibrated at 3.5 Gs until it is physically damaged, loses
   lights, etc., in the event of failure in the vehicle’s battery   electrical capacity or leaks acid. The minimum vibration
   UHFKDUJLQJV\VWHP7KH5&UDWLQJLVGHĬQHGDVWKH               time for automotive batteries is four hours.
   number of minutes a new fully charged battery at
   ƄbF (26.7ƄbC) can be discharged at 25 amperes and
   maintain a terminal voltage equal to or higher than
                                                  MOYER_DEPO
   YROWVSHUFHOO YROWVIRUDYROWEDWWHU\         000316
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8                                                     Safety Information




Do Not Inhale Sulfuric Acid Mist                 ş5HPRYHROGEDWWHU\1RWHWKHSRVLWLRQ
Danger of Exploding Batteries                       of positive (+) terminal and negative
                                                    (-) terminal. Mark the cables for correct
Batteries contain sulfuric acid and produce         connection to new battery.
H[SORVLYHPL[WXUHVRIK\GURJHQDQGR[\JHQ
Because self-discharge action generates          • Clean terminals and cable connections with
hydrogen gas even when the battery is not in        a wire brush. Broken connections, frayed or
operation, make sure batteries are stored and       cut cables should be replaced.
worked on in a well-ventilated area. Always      • Install the new battery in the same position
wear safety glasses and a face shield when          as the old one. Be sure to secure it with the
working on or near batteries.                       holddown assembly.
When working with batteries:                     • Make sure the terminals do not touch any
• Always wear proper eye, face and                  metal mounting, engine or body parts.
  hand protection.                               • Connect cables tightly. Connect ground
• Remove all jewelry to avoid electrical            FDEOHODVWWRDYRLGVSDUNVDQGH[SORVLRQ
   contact, which can create sparks or cause
   severe burns.                                 Handling Battery Acid
ş.HHSDOOVSDUNVĭDPHVDQGFLJDUHWWHVDZD\   Battery acid, or electrolyte, is a solution
   from the battery.                             of sulfuric acid and water that can destroy
                                                 FORWKLQJDQGEXUQWKHVNLQ8VHH[WUHPH
ş'RQRWDWWHPSWWRRSHQDĭXVKFRYHU          caution when handling electrolyte and keep
   battery.                                      an acid neutralizing solution—such as baking
ş1HYHUOHDQRYHUEDWWHU\ZKLOHERRVWLQJ      soda—readily available. When handling
   testing or charging.                          batteries:
• Cover vent caps with a damp cloth to           • Always wear proper eye, face and hand
   minimize gas seepage.                           protection.
• Make sure work area is well ventilated.        • If electrolyte is splashed into an eye,
                                                    LPPHGLDWHO\IRUFHWKHH\HRSHQDQGĭRRGLW
• Do not remove or damage vent caps.
                                                    with clean, cool water for at least 15 minutes.
• Do not breathe acid mist.                         Get prompt medical attention.
                                                 • If electrolyte is taken internally, drink large
Safe Battery Installation                           quantities of water or milk. Do not induce
To assure safe installation and proper              vomiting. Call a physician immediately.
operation, follow these installation
                                                 ş1HXWUDOL]HDQ\HOHFWURO\WHWKDWVSLOOV
procedures.
                                                    LPPHGLDWHO\ZLWKDPL[WXUHRIZDWHUDQG
• Always wear proper eye, face and hand             baking soda.
  protection.
                                                 ş0L[LQJDFLGFDQEHYHU\GDQJHURXV'R
ş'LVFRQQHFWJURXQGFDEOHĬUVW7KLVLV           not attempt without proper training.
   usually the negative cable; however, older
   vehicles may have a positive ground.
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   Safety Information                                                                                  9

   Safe Charging                                          • Always turn the charger OFF before
   Before beginning the charging operation,                 removing charger leads from the battery
   read and follow the instructions that                    to avoid dangerous sparks.
   FRPHZLWKWKHFKDUJHU1HYHUDWWHPSWWR               Safe Booster Cable Operation
   FKDUJHDEDWWHU\ZLWKRXWĬUVWUHYLHZLQJWKH
   instructions for the charger being used.               When jump-starting, always wear proper
   In addition to the charger manufacturer’s              eye, face and hand protection and never
   instructions, these general precautions                lean over the battery. Do not jump-start a
   should be followed:                                    damaged battery; inspect both batteries
                                                          before connecting booster cable. Be sure
   • Always charge batteries in a well-                   vent caps are tight and level. Place a damp
      ventilated area and wear proper eye, face           cloth over the vent caps of both batteries.
      and hand protection.                                Make certain that the vehicles and cable
   • Turn the charger and timer OFF before                ends are not touching and both ignition
      connecting the leads to the battery to              switches are turned to the OFF position.
      avoid dangerous sparks.                             1. Connect positive (+) booster cable to
   ş7RDYRLGDQH[SORVLRQQHYHUWU\WRFKDUJH             positive (+) terminal of discharged
      a visibly damaged or frozen battery.                    battery.
   • Connect the charger leads to the battery;            2. Connect other end of positive (+) cable to
      red positive (+) lead to the positive (+)               positive (+) terminal of assisting battery.
      terminal and black negative (-) lead to the         3. Connect negative (-) cable to negative (-)
      negative (-) terminal. If the battery is still in       terminal of assisting battery.
      the vehicle, connect the negative lead to
      the engine block to serve as a ground. (If          0DNHĬQDOFRQQHFWLRQRIQHJDWLYH  FDEOH
      the vehicle is positive grounded, connect               to engine block of stalled vehicle, away from
      the positive lead to the engine block.)                 battery.
   • Make sure that the leads to the                      5. Start vehicle and remove cables in reverse
      connections are tight.                                  order of connections.
   • Set the timer, turn the charger on and
      slowly increase the charging rate until the
      desired ampere value is reached.
   • If the battery becomes hot or if violent
      gassing or spewing of electrolyte occurs,
      reduce the charging rate or temporarily
      halt the charger.

                                        MAKE CERTAIN VEHICLES
                                           DO NOT TOUCH!




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   PROPOSITION 65
      WARNING

   • Battery posts, terminals and
     related accessories contain
     lead and lead compounds,
     chemicals known to the state
     of California to cause cancer
     and reproductive harm.

   • Batteries also contain other
     chemicals known to the state
     of California to cause cancer.

   • Wash hands after handling.


                                MOYER_DEPO 000319
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                                      929
   Automotive/Light Truck                                                                                                                                                11
                                                          ORIGINAL            GROUP SIZE                                                    ORIGINAL              GROUP SIZE
     YEAR      ENGINE                OPTIONS             EQUIPMENT             (NOTES)        YEAR      ENGINE                 OPTIONS     EQUIPMENT               (NOTES)
                                                         CCA/RATING                                                                        CCA/RATING
   Acura CL                                                                                 Acura TLX (continued)
   2003-01   V6/3.2L                                     550          —                     2018-15 V6/3.5L                                620          H6 (48)
   1999-98   L4/2.3L                                     550          —                     2017-15 L4/2.4L                                440          —
   1999-97   V6/3.0L                                     550          —                     Acura TSX
   1997      L4/2.2L                                     550          24F                   2014-10 V6/3.5L                                550          24F
   Acura CSX                                                                                2014-04 L4/2.4L                                430          51R
   2011-08 L4/2.0L                                       410          51R                   Acura Vigor
   2007    L4/2.0L                                       440          51R                   1994-92 L5/2.5L                                435          35
   2006    L4/2.0L                                       500          51R
                                                                                            Acura ZDX
   Acura EL                                                                                 2013-10 V6/3.7L                                550          24F
   2005-01 L4/1.7L                                       410          51
                                                                                            Alfa Romeo 164
   2000-97 L4/1.6L                                       410          51R
                                                                                            1995-91 V6/3.0L                                685          31A 50
   Acura ILX
                                                                                            Alfa Romeo 4C
   2018-13 L4/2.4L                                       410          51R
                                                                                            2019-15 L4/1.7L                                500          —
   2015-13 L4/1.5L       Hybrid                          340          —
   2015-13 L4/2.0L                                       410          51R                   Alfa Romeo 8C
   Acura Integra                                                                            2008      V8/4.7L                              580          24F
   2001-94 L4/1.8L                                       410          51R                   Alfa Romeo Giulia
   1993-92 L4/1.7L                                       435          25                    2018-17 L4/2.0L                                95 Ah        —
   1993-90 L4/1.8L                                       435          25                    2018-17 V6/2.9L                                95 Ah        —
   Acura Legend                                                                             Alfa Romeo Spider
   1995-91 V6/3.2L                                       585          24                    1994-91 L4/2.0L      Factory Install           300          —
   1990    V6/2.7L                                       585          24F                   1994-90 L4/2.0L      Port of entry installed   550          34 7
   Acura MDX                                                                                1990    L4/2.0L      Factory Install           500          24F 7
   2019-17   V6/3.0L     Hybrid                          650          H6 (48) AGM 33        Alfa Romeo Stelvio
   2018-16   V6/3.5L                                     620          H6 (48)               2018      L4/2.0L                              800          H7 (94R) 54
   2018-16   V6/3.5L     Advance Package                 650          H6 (48) AGM 33        2018      V6/2.9L                              800          H7 (94R) 54
   2016      V6/3.5L     AWD                             650          H6 (48) AGM 33        AM General Humvee
   2016      V6/3.5L     FWD                             620          H6 (48)               2001-94 V8/6.5L      Dsl                       770          78 2
   2015-14   V6/3.5L                                     550          24F                   1996-95 V8/5.7L                                770          78 2
   2013-07   V6/3.7L                                     630          24F                   1993-92 V8/6.2L      Dsl                       770          78 2
   2006-01   V6/3.5L                                     550          24F                   American Motors Corp Gremlin, Hornet, Javelin
   Acura NSX                                                                                1974-71   V8/5.9L                              385          24 7
   2018-17   V6/3.5L     Hybrid                          600          H5 (47) AGM 33        1974-71   V8/6.6L                              305          26R
   2005-97   V6/3.2L     MT                              435          35                    1974-71   V8/6.6L    Opt                       410          24 7
   2005-91   V6/3.0L     AT or HD                        585          24F                   1974-70   V8/5.9L                              305          26R
   2005-91   V6/3.0L     MT                              435          35                    1974-70   V8/5.9L                              410          24 7
   1999      V6/3.2L     AT                              585          24F                   1974-70   V8/5.9L    Opt                       410          24 7
   Acura RDX                                                                                1970-68   V8/6.4L                              305          26R
   2019      L4/2.0L                                     650          H6 (48) AGM 33        1970-68   V8/6.4L    Opt                       410          24 7
   2018      V6/3.5L                                     630          24F                   1969-68   V8/4.7L                              305          26R
   2017      V6/3.5L                                     630          —                     1969-68   V8/4.7L    Opt                       410          24
   2016      V6/3.5L                                     730          —                     1969-68   V8/5.6L                              305          26R
   2015-13   V6/3.5L                                     550          24F                   1969-68   V8/5.6L    Opt                       410          24 7
   2012-07   L4/2.3L                                     440          35                    1968      L6/3.8L                              410          24 7
   Acura RL                                                                                 Aston Martin DB11
   2012-09 V6/3.7L                                       550          —                     2018-17 V12/5.2L                               850          H8 (49) AGM 33, 54
   2008-05 V6/3.5L                                       585          —                     Aston Martin DB7
   2004-96 V6/3.5L                                       550          24                    2004-00 V12/6.0L                               780          —
   Acura RLX                                                                                1998-97 L6/3.2L                                780          —
   2019-14 V6/3.5L                                       550          24F                   Aston Martin DB9
   Acura RSX                                                                                2016-05 V12/6.0L                               830          —
   2006-02 L4/2.0L                                       400          51R                   Aston Martin DBS
   Acura SLX                                                                                2012-08 V12/6.0L                               830          —
   1999-98   V6/3.5L     AT                              585          24                    Aston Martin One-77
   1999-98   V6/3.5L     Opt                             610          27                    2011      V12/7.3L                             830          —
   1997      V6/3.2L                                     585          24                    Aston Martin Rapide
   1997      V6/3.2L     Opt                             610          27
                                                                                            2018-11 V12/6.0L                               830          —
   1996      V6/3.2L     AT or HD                        610          27
                                                                                            Aston Martin V12 Vantage
   Acura TL
                                                                                            2017-15 V12/6.0L                               830          —
   2014-09   V6/3.7L                                     550          —
                                                                                            2013-10 V12/6.0L                               830          —
   2014-07   V6/3.5L                                     550          —
   2008-04   V6/3.2L                                     550          —                     Aston Martin V8 Vantage
   2003-99   V6/3.2L                                     550          —                     2017-09 V8/4.7L                                830          —
   1998-96   V6/3.2L                                     450          25                    2008-06 V8/4.3L                                830          —
   1998-95   L5/2.5L                                     450          35                    Aston Martin Vanquish
   Acura TLX                                                                                2017-14 V12/6.0L                               830          —
   2019-18 L4/2.4L                                        470         —                     2006-01 V12/6.0L                               830          —
   2019-15 V6/3.5L SH-AWD, Start/Stop                     650         H6 (48) AGM 33        Aston Martin Virage
   2019      V6/3.5L                                      650         H6MOYER_DEPO
                                                                         (48)              000320
                                                                                            2012 V12/6.0L                                  830          —
   See page 80 for Footnotes. Selection may vary by warehouse.
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                                                     929
12                                                                                                      Automotive/Light Truck
                                                          ORIGINAL               GROUP SIZE                                                                      ORIGINAL                GROUP SIZE
   YEAR      ENGINE                 OPTIONS              EQUIPMENT                (NOTES)                     YEAR      ENGINE               OPTIONS            EQUIPMENT                 (NOTES)
                                                         CCA/RATING                                                                                             CCA/RATING
Asüna 6XQğUH                                                                                                Audi A3 quattro (continued)
1993      L4/1.8L                                        350          35                                    2016-09   L4/2.0L    PR Code J1L                    540          H5 (47) 50, 54, 55, 56, 58
Asüna Sunrunner                                                                                             2013-09   L4/2.0L    PR Code J0R                    80 Ah        H7 (94R) 50, 54, 55, 56, 58
1993      L4/1.6L                                        525          —                                     2013-09   L4/2.0L    PR J0L, J1D                    640          —
1992      L4/1.6L                                        550          75                                    2009-06   V6/3.2L    PR Code J1L                    540          H5 (47) 50, 54, 55, 56, 58
                                                                                                            2009-06   V6/3.2L    PR Code J0R                    80 Ah        H7 (94R) 50, 54, 55, 56, 58
Audi 100, 100 quattro
                                                                                                            2009      V6/3.2L    PR Code J2D                    68 Ah        H6 (48) AGM 33, 50, 54, 55, 56, 58
1994-92   V6/2.8L                                        575          —
                                                                                                            2008-06   V6/3.2L                                   640          H7 (94R) 50, 54, 55, 56
1994-92   V6/2.8L      Opt                               650          —
                                                                                                            2008-06   V6/3.2L    Opt                            800          H7 (94R) AGM 33, 50, 54, 55, 56
1991-90   L5/2.3L                                        575          —
                                                                                                            2008-06   V6/3.2L    PR Code J1N                    75 Ah        H7 (94R) AGM 33, 50, 54, 55, 56, 58
1991-90   L5/2.3L      Opt                               650          —
Audi 200, 200 quattro                                                                                       Audi A3 Sportback e-tron
                                                                                                            2018-17   L4/1.4L    Hybrid, PR Code J0T            680          —
1991-90 L5/2.2L                                          650          —
                                                                                                            2018-17   L4/1.4L    Hybrid, PR Code J1L            540          H5 (47) 50, 54, 55, 56, 58
Audi 80, 80 quattro                                                                                         2018-16   L4/1.4L    Hybrid, PR Code J0S            540          —
1992-91   L5/2.3L      Opt                               650          —                                     2018-16   L4/1.4L    Hybrid, PR Code J1D            640          —
1992-90   L5/2.3L                                        575          —                                     2018-16   L4/1.4L    Hybrid, PR Code J1P            360          —
1990      L4/2.0L                                        575          —                                     2018-16   L4/1.4L    Hybrid, PR Code J2D            680          H6 (48) AGM 33, 50, 54, 55, 56, 58
1990      L4/2.0L      Opt                               650          —                                     2016      L4/1.4L    Hybrid                         N/A          —
Audi 90, 90 quattro                                                                                         2016      L4/1.4L    Hybrid, Multiple PR Codes      680          —
1995-93 V6/2.8L                                          650          —                                     2016      L4/1.4L    Hybrid, PR CODE J0N            540          —
1992-90 L5/2.3L                                          650          —                                     2016      L4/1.4L    Hybrid, PR Code J2S            480          —
Audi A3                                                                                                     Audi A4
2019      L4/2.0L      PR Code J0H                       58 Ah        —                                  2019-09 L4/2.0L PR Code J0P                     105 Ah —
2019      L4/2.0L      PR Code J0S                       59 Ah        —                                  2019    L4/2.0L PR Code J0B                     92 Ah H8 (49) AGM 33, 50, 55, 56, 58
2019      L4/2.0L      PR Code J0T                       69 Ah        —                                  2019    L4/2.0L PR Code J0H                     58 Ah —
2019      L4/2.0L      PR Code J0V                       70 Ah        —                                  2019    L4/2.0L PR Code J0K                     93 Ah —
2019      L4/2.0L      PR Code J1D                       72 Ah        —                                  2019    L4/2.0L PR Code J0Z                     110 Ah —
2019      L4/2.0L      PR Code J1L                       60 Ah        H5 (47) 55, 56, 58                 2019    L4/2.0L PR Code J1N                     75 Ah H7 (94R) AGM 33, 50, 55, 56, 58
2019      L4/2.0L      PR Code J1P                       44 Ah        —                                  2019    L4/2.0L PR Code J1U                     95 Ah —
2019      L4/2.0L      PR Code J2D                       68 Ah        H6 (48) AGM 33, 55, 56, 58         2019    L4/2.0L PR Code JE4                     79 Ah —
2018-17   L4/2.0L      PR Code J0S                       540          —                                  2018-16 L4/2.0L PR Code J0Z                     850        —
2018-17   L4/2.0L      PR Code J1D                       640          —                                  2018-16 L4/2.0L PR Code J2D, 0K2                680         H6 (48) AGM 33, 50, 54, 55, 56, 58
2018-17   L4/2.0L      PR Code J1L                       540          H5 (47) 50, 54, 55, 56, 58         2018-09 L4/2.0L PR Code J0B                     850        H8 (49) AGM 33, 50, 54, 55, 56, 58
2018-17   L4/2.0L      PR Code J1P                       360          —                                  2018-08 L4/2.0L PR Code J1U                     760        —
2018-09   L4/2.0L      PR Code J0T                       680          —                                  2018    L4/2.0L PR Code J0P                     950        H9 (95R) AGM 33, 50, 54, 55, 56, 58
2018-09   L4/2.0L      PR Code J2D                       680          H6 (48) AGM 33, 50, 54, 55, 56, 58 2018    L4/2.0L PR Code J1N                     800        H7 (94R) AGM 33, 50, 54, 55, 56, 58
2016-15   L4/1.8L      PR Code J1L                       540          H5 (47) 50, 54, 55, 56, 58         2018    L4/2.0L PR Code J4E                     N/A        —
2016-15   L4/1.8L      PR Code J0S                       540          —                                  2017-15 L4/2.0L PR Code J1N                     75 Ah H7 (94R) AGM 33, 50, 54, 55, 56, 58
2016-15   L4/1.8L      PR Code J0T                       680          —                                  2016-13 L4/2.0L PR Code J2D                     680        H6 (48) AGM 33, 50, 54, 55, 56, 58
2016-15   L4/1.8L      PR Code J1D                       640          —                                  2015-13 L4/2.0L PR Code J0L                     570        H6 (48) 50, 54, 55, 56, 58
2016-15   L4/1.8L      PR Code J1P                       360          —                                  2015-13 L4/2.0L PR Code J1L                     540        H5 (47) 50, 54, 55, 56, 58
2016-15   L4/1.8L      PR Code J2D                       680          H6 (48) AGM 33, 50, 54, 55, 56, 58 2015-09 L4/2.0L Opt, PR Code J0Z                110 Ah —
2016-15   L4/1.8L      PR Code J2S                       480          —                                  2015-08 L4/2.0L PR Code J0R                     640        H7 (94R) 50, 54, 55, 56, 58
2016-15   L4/2.0L      Dsl, PR Code J0S                  540          —                                  2012-09 L4/2.0L PR Code J1N                     75 Ah H7 (94R) AGM 33, 50, 54, 55, 56, 58
2016-15   L4/2.0L      Dsl, PR Code J1D                  640          —                                  2008-06 V6/3.2L PR Code J0R                     640        H7 (94R) 50, 54, 55, 56, 58
2016-15   L4/2.0L      Dsl, PR Code J1P                  360          —                                  2008    V6/3.2L PR Code J1U                     760        —
2016-15   L4/2.0L      Dsl, PR Code J2S                  480          —                                  2007-06 V6/3.2L                                 640         H7 (94R) 50
2016-10   L4/2.0L      Dsl, PR Code J0N                  540          —                                  2007-06 V6/3.2L                                 640         H7 (94R) 50, 54, 55, 56
2016-10   L4/2.0L      Dsl, PR Code J0T                  680          —                                  2007-06 V6/3.2L Opt                             760        —
2016-10   L4/2.0L      Dsl, PR Code J2D                  680          H6 (48) AGM 33, 50, 54, 55, 56, 58 2007-06 V6/3.2L Opt                             760        —
2013-10   L4/2.0L      Dsl, PR Code J0L, J1D             640          —                                  2007-05 L4/2.0L                                 640        H7 (94R) 50
2013-09   L4/2.0L      PR J0L, J1D                       640          —                                  2007-05 L4/2.0L Opt                             760        —
2013-06   L4/2.0L      PR Code J1L                       540          H5 (47) 50, 54, 55, 56, 58         2006    L4/1.8L                                 640        H7 (94R) 50, 54, 55, 56, 58
2013-06   L4/2.0L      PR Code J0R                       80 Ah        H7 (94R) 50, 54, 55, 56, 58        2006    L4/1.8L Opt                             760        —
2008-06   L4/2.0L      Opt                               640          —                                  2006    L4/2.0L                                 640         H7 (94R) 50, 54, 55, 56
2008-06   L4/2.0L      PR Code J1N                       75 Ah        H7 (94R) AGM 33, 50, 54, 55, 56, 582006    L4/2.0L Opt                             760        —
Audi A3 quattro                                                                                          2005-03 L4/1.8L                                 640        H7 (94R) 50
2019      L4/2.0L      PR Code J0H                         58 Ah —                                       2005-03 V6/3.0L                                 640         H7 (94R) 50
2019      L4/2.0L      PR Code J0S                         59 Ah —                                       2005-03 V6/3.0L Opt                             760        —
2019      L4/2.0L      PR Code J0T                         69 Ah —                                       2005-02 L4/1.8L Opt                             760        —
2019      L4/2.0L      PR Code J0V                         70 Ah —                                       2002-97 L4/1.8L                                 640        H6 (48) 50
2019      L4/2.0L      PR Code J1D                         72 Ah —                                       2002-97 L4/1.8L Opt                             640        H7 (94R) 50
2019      L4/2.0L      PR Code J1L                         60 Ah H5 (47) 55, 56, 58                      2002-97 L4/1.8L Opt                             720        H7 (94R) 50, 54, 55, 56
2019      L4/2.0L      PR Code J1P                         44 Ah —                                       2002    L4/1.8L Option 1                        760        —
2019      L4/2.0L      PR Code J2D                         68 Ah H6 (48) AGM 33, 55, 56, 58              2002    L4/1.8L Option 2                        640         H7 (94R) 50, 54, 55, 56
2018-17 L4/2.0L        PR Code J0S                         540        —                                  2002    V6/3.0L                                 640        —
2018-17 L4/2.0L        PR Code J1L                         540        H5 (47) 50, 54, 55, 56, 58         2002    V6/3.0L Opt                             720        H7 (94R) 50, 54, 55, 56
2018-15 L4/2.0L        PR Code J1D                         640        —                                  2002    V6/3.0L Option 1                        760        —
2018-15 L4/2.0L        PR Code J1P                         360        —                                  2002    V6/3.0L Option 2                        640         H7 (94R) 50, 54, 55, 56
2018-09 L4/2.0L        PR Code J0T                         680        —                                  2001-00 V6/2.8L                                 640        —
2018-09 L4/2.0L        PR Code J2D                         680        H6 (48) AGM 33, 50, 54, 55, 56, 58 2001-96 V6/2.8L Opt                             640        H7 (94R) 50
2016-15 L4/2.0L        PR Code J0S                         540        —                                  2001-96 V6/2.8L Opt                             720        H7 (94R) 50, 54, 55, 56
2016-15 L4/2.0L        PR Code J2S                         480        —                     MOYER_DEPO             000321
                                                                                                         1999-98 V6/2.8L                                 64 Ah —
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                  See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                                             13
                                                         ORIGINAL               GROUP SIZE                                                                           ORIGINAL               GROUP SIZE
     YEAR      ENGINE                OPTIONS            EQUIPMENT                (NOTES)                      YEAR      ENGINE                 OPTIONS              EQUIPMENT                (NOTES)
                                                        CCA/RATING                                                                                                  CCA/RATING
   Audi A4 (continued)                                                                                      Audi A4 quattro (continued)
   1999-96   V6/2.8L    Opt                              640         H6 (48) 50                             2002      L4/1.8L    Option 2                           640          H7 (94R) 50, 54, 55, 56
   1997-96   V6/2.8L                                     540         H6 (48) 50                             2002      V6/3.0L                                       640          —
   1997      L4/1.8L    Opt                              540         —                                      2002      V6/3.0L    Opt                                720          H7 (94R) 50, 54, 55, 56
   1997      V6/2.8L                                     640         H6 (48) 50                             2002      V6/3.0L    Option 1                           760          —
   1997      V6/2.8L                                     640         —                                      2002      V6/3.0L    Option 2                           640          H7 (94R) 50, 54, 55, 56
   1997      V6/2.8L    Opt                              360         —                                      2001-00   V6/2.8L                                       640          —
   1997      V6/2.8L    Opt                              540         —                                      2001-96   V6/2.8L    Opt                                640          H7 (94R) 50
   1997      V6/2.8L    Opt                              640         H7 (94R) 50, 54, 55, 56                2001-96   V6/2.8L    Opt                                720          H7 (94R) 50, 54, 55, 56
   Audi A4 allroad                                                                                          2001      V6/2.8L                                       640          —
   2019      L4/2.0L    PR Code J0B                      92 Ah       H8 (49) AGM 33, 50, 55, 56, 58         2001      V6/2.8L    Opt                                640          H7 (94R) 50, 54, 55, 56
   2019      L4/2.0L    PR Code J0H                      58 Ah       —                                      1999-98   V6/2.8L                                       64 Ah        —
   2019      L4/2.0L    PR Code J0K                      93 Ah       —                                      1999-96   V6/2.8L    Opt                                640          H6 (48) 50
   2019      L4/2.0L    PR Code J0P                      105 Ah      —                                      1998      V6/2.8L                                       640          —
   2019      L4/2.0L    PR Code J0Z                      110 Ah      —                                      1997-96   V6/2.8L                                       540          H6 (48) 50
   2019      L4/2.0L    PR Code J1N                      75 Ah       H7 (94R) AGM 33, 50, 55, 56, 58        1997      V6/2.8L    Opt                                640          —
   2019      L4/2.0L    PR Code J1U                      95 Ah       —                                      1996      V6/2.8L                                       540          —
   2019      L4/2.0L    PR Code JE4                      79 Ah       —                                      Audi A5
   2018-16   L4/2.0L    PR Code J0Z                      850         —                                      2014-12   L4/2.0L    PR Code J1N                        800          H7 (94R) AGM 33, 50, 54, 55, 56, 58
   2018-13   L4/2.0L    PR Code J0B                      850         H8 (49) AGM 33, 50, 54, 55, 56, 58     2014-11   L4/2.0L    PR Code J0R                        80 Ah        H7 (94R) 50, 54, 55, 56, 58
   2018-13   L4/2.0L    PR Code J0L                      570         H6 (48) 50, 54, 55, 56, 58             2014-10   L4/2.0L    PR Code J0B                        92 Ah        H8 (49) AGM 33, 50, 54, 55, 56, 58
   2018-13   L4/2.0L    PR Code J1L                      540         H5 (47) 50, 54, 55, 56, 58             2014-10   L4/2.0L    PR Code J0L                        570          H6 (48) 50, 54, 55, 56, 58
   2018-13   L4/2.0L    PR Code J0R                      640         H7 (94R) 50, 54, 55, 56, 58            2014-10   L4/2.0L    PR Code J0P                        105 Ah       —
   2018-13   L4/2.0L    PR Code J1U                      760         —                                      2014-10   L4/2.0L    PR Code J0Z                        110 Ah       —
   2018-13   L4/2.0L    PR Code J2D                      680         H6 (48) AGM 33, 50, 54, 55, 56, 58     2014-10   L4/2.0L    PR Code J1D                        72 Ah        —
   2018      L4/2.0L    PR Code J0P                      950         H9 (95R) AGM 33, 50, 54, 55, 56, 58    2014-10   L4/2.0L    PR Code J1L                        540          H5 (47) 50, 54, 55, 56, 58
   2018      L4/2.0L    PR Code J1N                      800         H7 (94R) AGM 33, 50, 54, 55, 56, 58    2014-10   L4/2.0L    PR Code J1U                        760          —
   2017-13   L4/2.0L    PR Code J0P                      105 Ah      —                                      2014-10   L4/2.0L    PR Code J2D                        68 Ah        H6 (48) AGM 33, 50, 54, 55, 56, 58
   2017-13   L4/2.0L    PR Code J1N                      75 Ah       H7 (94R) AGM 33, 50, 54, 55, 56, 58    2010      L4/2.0L    PR Code J0R                        640          H7 (94R) 50, 54, 55, 56, 58
   2015-13   L4/2.0L    Opt, PR Code J0Z                 110 Ah      —                                      Audi A5 quattro
   Audi A4 quattro                                                                                          2019      L4/2.0L    PR Code J0B                        92 Ah        H8 (49) AGM 33, 50, 55, 56, 58
   2019      L4/2.0L     PR Code J0B                      92 Ah      H8 (49) AGM     33, 50, 55, 56, 58     2019      L4/2.0L    PR Code J0H                        58 Ah        —
   2019      L4/2.0L     PR Code J0H                      58 Ah      —                                      2019      L4/2.0L    PR Code J0K                        93 Ah        —
   2019      L4/2.0L     PR Code J0K                      93 Ah      —                                      2019      L4/2.0L    PR Code J0P                        105 Ah       —
   2019      L4/2.0L     PR Code J0P                      105 Ah     —                                      2019      L4/2.0L    PR Code J0Z                        110 Ah       —
   2019      L4/2.0L     PR Code J0Z                      110 Ah     —                                      2019      L4/2.0L    PR Code J1N                        75 Ah        H7 (94R) AGM 33, 50, 55, 56, 58
   2019      L4/2.0L     PR Code J1N                      75 Ah      H7 (94R) AGM 33, 50, 55, 56, 58        2019      L4/2.0L    PR Code J1U                        95 Ah        —
   2019      L4/2.0L     PR Code J1U                      95 Ah      —                                      2019      L4/2.0L    PR Code J2D                        68 Ah        H6 (48) AGM 33, 50, 55, 56, 58
   2019      L4/2.0L     PR Code JE4                      79 Ah      —                                      2019      L4/2.0L    PR Code J4E                        79 Ah        —
   2018-16 L4/2.0L       PR Code J0Z                      850        —                                      2018-17   L4/2.0L    PR Code J0B                        850          H8 (49) AGM 33, 50, 54, 55, 56, 58
   2018-15 L4/2.0L       PR Code J1L                      540        H5 (47) 50, 54, 55, 56, 58             2018-15   L4/2.0L    PR Code J0P                        950          H9 (95R) AGM 33, 50, 54, 55, 56, 58
   2018-13 L4/2.0L       PR Code J0L                      570        H6 (48) 50, 54, 55, 56, 58             2018-15   L4/2.0L    PR Code J0Z                        850          —
   2018-13 L4/2.0L       PR Code J2D                      680        H6 (48) AGM 33, 50, 54, 55, 56, 58     2018-12   L4/2.0L    PR Code J1N                        800          H7 (94R) AGM 33, 50, 54, 55, 56, 58
   2018-09 L4/2.0L       PR Code J0B                      850        H8 (49) AGM 33, 50, 54, 55, 56, 58     2018      L4/2.0L    PR Code PR-0K0                     680          H6 (48) AGM 33, 50, 54, 55, 56, 58
   2018-08 L4/2.0L       PR Code J0R                      640        H7 (94R) 50, 54, 55, 56, 58            2017-15   L4/2.0L    PR Code J0R                        640          H7 (94R) 50, 54, 55, 56, 58
   2018-08 L4/2.0L       PR Code J1U                      760        —                                      2017-10   L4/2.0L    PR Code J0L                        570          H6 (48) 50, 54, 55, 56, 58
   2018      L4/2.0L     PR Code J0P                      950        H9 (95R) AGM 33, 50, 54, 55, 56, 58    2017-10   L4/2.0L    PR Code J1L                        540          H5 (47) 50, 54, 55, 56, 58
   2018      L4/2.0L     PR Code J1N                      800        H7 (94R) AGM 33, 50, 54, 55, 56, 58    2017-10   L4/2.0L    PR Code J1U                        760          —
   2017-15 L4/2.0L       PR Code J1N                      75 Ah      H7 (94R) AGM 33, 50, 54, 55, 56, 58    2017-10   L4/2.0L    PR Code J2D                        680          H6 (48) AGM 33, 50, 54, 55, 56, 58
   2017-09 L4/2.0L       PR Code J0P                      105 Ah     —                                      2015      L4/2.0L    PR Code J0B                        850          H8 (49) AGM 33, 50, 54, 55, 56, 58
   2015-09 L4/2.0L       Opt, PR Code J0Z                 110 Ah     —                                      2014-10   L4/2.0L    PR Code J0B                        92 Ah        H8 (49) AGM 33, 50, 54, 55, 56, 58
   2014-13 L4/2.0L       PR Code J1L                      540        H5 (47) 50, 54, 55, 56, 58             2014-10   L4/2.0L    PR Code J0P                        105 Ah       —
   2012-09 L4/2.0L       PR Code J1N                      75 Ah      H7 (94R) AGM 33, 50, 54, 55, 56, 58    2014-10   L4/2.0L    PR Code J0R                        80 Ah        H7 (94R) 50, 54, 55, 56, 58
   2009-08 V6/3.2L PR Code J1U                            760        —                                      2014-10   L4/2.0L    PR Code J0Z                        110 Ah       —
   2009-06 V6/3.2L PR Code J0R                            640        H7 (94R) 50, 54, 55, 56, 58            2014-10   L4/2.0L    PR Code J1D                        72 Ah        —
   2009      V6/3.2L PR Code J0B                          850        H8 (49) AGM 33, 50, 54, 55, 56, 58     2010-08   V6/3.2L    PR Code J0R                        80 Ah        H7 (94R) 50, 54, 55, 56, 58
   2009      V6/3.2L PR Code J0P                          105 Ah     —                                      2010-08   V6/3.2L    PR Code J0Z                        110 Ah       —
   2009      V6/3.2L PR Code J0Z                          850        —                                      2010-08   V6/3.2L    PR Code J1U                        760          —
   2009      V6/3.2L PR Code J1N                          75 Ah      H7 (94R) AGM 33, 50, 54, 55, 56, 58    2010      V6/3.2L    PR Code J0B                        92 Ah        H8 (49) AGM 33, 50, 54, 55, 56, 58
   2007-05 L4/2.0L                                        640        H7 (94R) 50                            2010      V6/3.2L    PR Code J0L                        570          H6 (48) 50, 54, 55, 56, 58
   2007-05 L4/2.0L       Opt                              760        —                                      2010      V6/3.2L    PR Code J1L                        540          H5 (47) 50, 54, 55, 56, 58
   2007-05 V6/3.2L                                        640        H7 (94R) 50, 54, 55, 56                2010      V6/3.2L    PR Code J0P                        105 Ah       —
   2007-05 V6/3.2L Opt                                    760        —                                      2010      V6/3.2L    PR Code J1D                        72 Ah        —
   2007-05 V6/3.2L Opt                                    760        —                                      2010      V6/3.2L    PR Code J2D                        68 Ah        H6 (48) AGM 33, 50, 54, 55, 56, 58
   2006-03 V6/3.0L                                        640        H7 (94R) 50                            2010      V6/3.2L    PR Code J2D                        680          H6 (48) AGM 33, 50, 54, 55, 56, 58
   2006-03 V6/3.0L Opt                                    760        —                                      Audi A5 Sportback
   2005-03 L4/1.8L                                        640        H7 (94R) 50                            2019 L4/2.0L         PR Code J0B                        92 Ah        H8 (49) AGM 33, 50, 55, 56, 58
   2005-03 L4/1.8L       Opt                              760        —                                      2019 L4/2.0L         PR Code J0H                        58 Ah        —
   2002-99 L4/1.8L       Opt                              720        H7 (94R) 50, 54, 55, 56                2019 L4/2.0L         PR Code J0K                        93 Ah        —
   2002-97 L4/1.8L                                        640        H6 (48) 50                             2019 L4/2.0L         PR Code J0P                        105 Ah       —
   2002-97 L4/1.8L       Opt                              640        H7 (94R) 50                            2019 L4/2.0L         PR Code J0Z                        110 Ah       —
   2002      L4/1.8L                                      760        —                                      2019 L4/2.0L         PR Code J1N                        75 Ah        H7 (94R) AGM 33, 50, 55, 56, 58
   2002      L4/1.8L     Option 1                         760        —MOYER_DEPO                           000322
                                                                                                            2019 L4/2.0L         PR Code J1U                        95 Ah        —
   See page 80 for Footnotes. Selection may vary by warehouse.                                                            Note: PR codes are located on a tag near the spare tire or in the warranty booklet
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                                                      929
14                                                                                                        Automotive/Light Truck
                                                            ORIGINAL               GROUP SIZE                                                                         ORIGINAL               GROUP SIZE
   YEAR      ENGINE                  OPTIONS               EQUIPMENT                (NOTES)                     YEAR      ENGINE               OPTIONS               EQUIPMENT                (NOTES)
                                                           CCA/RATING                                                                                                CCA/RATING
Audi A5 Sportback (continued)                                                                                 Audi A6 quattro (continued)
2019       L4/2.0L     PR Code J2D                         68 Ah        H6 (48) AGM 33, 50, 55, 56, 58        2016      V6/3.0L    Dsl, PR Code J1N                  800          H7 (94R) AGM 33, 50, 54, 55, 56, 58
2019       L4/2.0L     PR Code J4E                         79 Ah        —                                     2015-14   V6/3.0L    Dsl, PR Code J0L                  70 Ah        H6 (48) 50, 54, 55, 56, 58
2018       L4/2.0L     PR Code J0B                         850          H8 (49) AGM 33, 50, 54, 55, 56, 58    2015-14   V6/3.0L    Dsl, PR Code J0P                  105 Ah       —
2018       L4/2.0L     PR Code J0P                         950          H9 (95R) AGM 33, 50, 54, 55, 56, 58   2015-14   V6/3.0L    Dsl, PR Code J1N                  75 Ah        H7 (94R) AGM 33, 50, 54, 55, 56, 58
2018       L4/2.0L     PR Code J0Z                         850          —                                     2015-13   L4/2.0L    PR Code J0L                       70 Ah        H6 (48) 50, 54, 55, 56, 58
2018       L4/2.0L     PR Code J1N                         800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   2015-13   L4/2.0L    PR Code J0R                       80 Ah        H7 (94R) 50, 54, 55, 56, 58
2018       L4/2.0L     PR Code PR-0K0                      680          H6 (48) AGM 33, 50, 54, 55, 56, 58    2015-13   L4/2.0L    PR Code J0Z                       110 Ah       —
Audi A6                                                                                                       2015-11   V6/3.0L    PR Code J0L                       70 Ah        H6 (48) 50, 54, 55, 56, 58
2018-16    L4/2.0L     PR Code J0L                         640          H6 (48) 50, 54, 55, 56, 58            2015-11   V6/3.0L    PR Code J0R                       80 Ah        H7 (94R) 50, 54, 55, 56, 58
2018-16    L4/2.0L     PR Code J0R                         640          H7 (94R) 50, 54, 55, 56, 58           2015-11   V6/3.0L    PR Code J0Z                       110 Ah       —
2018-16    L4/2.0L     PR Code J0Z                         850          —                                     2014-13   L4/2.0L    PR Code J0B                       92 Ah        H8 (49) AGM 33, 50, 54, 55, 56, 58
2018-15    L4/2.0L     PR Code J0B                         850          H8 (49) AGM 33, 50, 54, 55, 56, 58    2014-13   L4/2.0L    PR Code J0P                       105 Ah       —
2018-15    L4/2.0L     PR Code J0P                         950          H9 (95R) AGM 33, 50, 54, 55, 56, 58   2014-13   L4/2.0L    PR Code J1N                       75 Ah        H7 (94R) AGM 33, 50, 54, 55, 56, 58
2018-15    L4/2.0L     PR Code J1N                         800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   2014-12   V6/3.0L    AGM, PR Code J0P                  105 Ah       —
2018-12    L4/2.0L     PR Code J1U                         760          —                                     2014-11   V6/3.0L    PR Code J0B                       92 Ah        H8 (49) AGM 33, 50, 54, 55, 56, 58
2018-12    L4/2.0L     PR Code J2D                         680          H6 (48) AGM 33, 50, 54, 55, 56, 58    2014-11   V6/3.0L    PR Code J1N                       75 Ah        H7 (94R) AGM 33, 50, 54, 55, 56, 58
2015-12    L4/2.0L     PR Code J0L                         70 Ah        H6 (48) 50, 54, 55, 56, 58            2014      V6/3.0L    Dsl, PR Code J0B                  92 Ah        H8 (49) AGM 33, 50, 54, 55, 56, 58
2015-12    L4/2.0L     PR Code J0R                         80 Ah        H7 (94R) 50, 54, 55, 56, 58           2014      V6/3.0L    Dsl, PR Code J0R                  80 Ah        H7 (94R) 50, 54, 55, 56, 58
2015-12    L4/2.0L     PR Code J0Z                         110 Ah       —                                     2014      V6/3.0L    Dsl, PR Code J0Z                  110 Ah       —
2014-12    L4/2.0L     PR Code J0B                         92 Ah        H8 (49) AGM 33, 50, 54, 55, 56, 58    2014      V6/3.0L    Dsl, PR Code J1U                  95 Ah        —
2014-12    L4/2.0L     PR Code J0P                         105 Ah       —                                     2011-05   V8/4.2L    PR Code J0B                       92 Ah        H8 (49) AGM 33, 50, 54, 55, 56, 58
2014-12    L4/2.0L     PR Code J1N                         75 Ah        H7 (94R) AGM 33, 50, 54, 55, 56, 58   2011-05   V8/4.2L    PR Code J0Z                       110 Ah       —
2011-10    V6/3.2L     PR Code J0B                         850          H8 (49) AGM 33, 50, 54, 55, 56, 58    2011-02   V8/4.2L    PR Code J0R                       80 Ah        H7 (94R) 50, 54, 55, 56, 58
2011-10    V6/3.2L     PR Code J1U                         760          —                                     2011-02   V8/4.2L    PR Code J1U                       760          —
2011       V6/3.2L     PR Code J0L                         70 Ah        H6 (48) 50, 54, 55, 56, 58            2011      V8/4.2L    PR Code J0L                       70 Ah        H6 (48) 50, 54, 55, 56, 58
2011       V6/3.2L     PR Code J0P                         950          H9 (95R) AGM 33, 50, 54, 55, 56, 58   2011      V8/4.2L    PR Code J0P                       950          H9 (95R) AGM 33, 50, 54, 55, 56, 58
2011       V6/3.2L     PR Code J0R                         80 Ah        H7 (94R) 50, 54, 55, 56, 58           2011      V8/4.2L    PR Code J1N                       800          H7 (94R) AGM 33, 50, 54, 55, 56, 58
2011       V6/3.2L     PR Code J0Z                         110 Ah       —                                     2011      V8/4.2L    PR Code J2D                       680          H6 (48) AGM 33, 50, 54, 55, 56, 58
2011       V6/3.2L     PR Code J1N                         800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   2010-09   V6/3.0L    PR Code J0B                       850          H8 (49) AGM 33, 50, 54, 55, 56, 58
2011       V6/3.2L     PR Code J2D                         680          H6 (48) AGM 33, 50, 54, 55, 56, 58    2010-09   V6/3.0L    PR Code J0R                       640          H7 (94R) 50, 54, 55, 56, 58
2010       V6/3.2L                                         570          H6 (48) 50, 54, 55, 56, 58            2010-09   V6/3.0L    PR Code J0Z                       850          —
2010       V6/3.2L     PR Code J0R                         640          H7 (94R) 50, 54, 55, 56, 58           2010-05   V8/4.2L                                      570          H6 (48) 50, 54, 55, 56
2010       V6/3.2L     PR Code J0Z                         850          —                                     2010-05   V8/4.2L    Opt                               850          H8 (49) AGM 33, 50, 54, 55, 56
2009-06    V6/3.2L                                         570          H6 (48) 50, 54, 55, 56                2010-05   V8/4.2L    Opt                               850          —
2009-06    V6/3.2L     Opt                                 760          —                                     2010-02   V8/4.2L    Opt                               640          H7 (94R) 50, 54, 55, 56
2009-06    V6/3.2L     Opt                                 850          H8 (49) AGM 33, 50, 54, 55, 56        2010      V6/3.0L                                      570          H6 (48) 50, 54, 55, 56
2009-06    V6/3.2L     Opt                                 640          H7 (94R) 50, 54, 55, 56               2010      V6/3.0L    Opt                               760          —
2009-06    V6/3.2L     Opt                                 850          —                                     2010      V6/3.0L    Opt                               850          H8 (49) AGM 33, 50, 54, 55, 56
2004-02    V6/3.0L                                         640          —                                     2010      V6/3.0L    Opt                               640          H7 (94R) 50, 54, 55, 56
2004-02    V6/3.0L                                         640          —                                     2010      V6/3.0L    Opt                               850          —
2004-02    V6/3.0L     Opt                                 760          —                                     2009      V6/3.0L                                      570          H6 (48) 50, 54, 55, 56, 58
2004-02    V6/3.0L     Opt                                 640          H7 (94R) 50, 54, 55, 56               2008-05   V6/3.2L                                      570          H6 (48) 50, 54, 55, 56
2004-02    V6/3.0L     Opt                                 720          H7 (94R) 50, 54, 55, 56               2008-05   V6/3.2L    Opt                               760          —
2004-02    V6/3.0L     Option 3                            640          H7 (94R) 50, 54, 55, 56               2008-05   V6/3.2L    Opt                               850          H8 (49) AGM 33, 50, 54, 55, 56
2004-02    V6/3.0L     Option 4                            720          H7 (94R) 50, 54, 55, 56               2008-05   V6/3.2L    Opt                               640          H7 (94R) 50, 54, 55, 56
2001-99    V6/2.8L                                         570          H6 (48) 50, 54                        2008-05   V6/3.2L    Opt                               850          —
2001-95    V6/2.8L     Opt                                 570          H6 (48) 50                            2004-02   V6/2.7L    Opt                               760          —
1995       V6/2.8L                                         650          —                                     2004-02   V6/2.7L    Option 2                          640          H7 (94R) 50, 54, 55, 56
Audi A6 quattro                                                                                               2004-02   V6/2.7L    Option 3                          720          H7 (94R) 50, 54, 55, 56
2018-16    L4/2.0L     PR Code J0L                         640        H6 (48) 50, 54, 55, 56, 58              2004-02   V6/2.7L    Turbo                             640          —
2018-16    L4/2.0L     PR Code J0R                         640        H7 (94R) 50, 54, 55, 56, 58             2004-02   V6/3.0L                                      640          —
2018-16    L4/2.0L     PR Code J0Z                         850        —                                       2004-02   V6/3.0L                                      640          —
2018-16    V6/3.0L     PR Code J0L                         640        H6 (48) 50, 54, 55, 56, 58              2004-02   V6/3.0LOpt                                   760          —
2018-16    V6/3.0L     PR Code J0R                         640        H7 (94R) 50, 54, 55, 56, 58             2004-02   V6/3.0LOpt                                   640          H7 (94R) 50, 54, 55, 56
2018-16    V6/3.0L     PR Code J0Z                         850        —                                       2004-02   V6/3.0LOpt                                   720          H7 (94R) 50, 54, 55, 56
2018-15    L4/2.0L     PR Code J0B                         850        H8 (49) AGM     33, 50, 54, 55, 56, 58  2004-02   V6/3.0LOption  3                             640          H7 (94R) 50, 54, 55, 56
2018-15    L4/2.0L     PR Code J0P                         950        H9 (95R) AGM 33, 50, 54, 55, 56, 58     2004-02   V6/3.0LOption 4                              720          H7 (94R) 50, 54, 55, 56
2018-15    L4/2.0L     PR Code J1N                         800        H7 (94R) AGM 33, 50, 54, 55, 56, 58     2004-02   V8/4.2L                                      640          —
2018-15    V6/3.0L     PR Code J0B                         850        H8 (49) AGM 33, 50, 54, 55, 56, 58      2004-02   V8/4.2LOpt                                   720          H7 (94R) 50, 54, 55, 56
2018-15    V6/3.0L     PR Code J1N                         800        H7 (94R) AGM 33, 50, 54, 55, 56, 58     2001-00   V6/2.7LTurbo                                 640          H7 (94R) 50
2018-13    L4/2.0L     PR Code J1U                         760        —                                       2001-00   V8/4.2L                                      850          —
2018-13    L4/2.0L     PR Code J2D                         680        H6 (48) AGM 33, 50, 54, 55, 56, 58      2001-99   V6/2.8L                                      570          H6 (48) 50, 54
2018-11    V6/3.0L     PR Code J0P                         950        H9 (95R) AGM 33, 50, 54, 55, 56, 58     2001-95   V6/2.8LOpt                                   570          H6 (48) 50
2018-11    V6/3.0L     PR Code J2D                         680        H6 (48) AGM 33, 50, 54, 55, 56, 58       Audi A7 quattro
2018-09    V6/3.0L     PR Code J1U                         760        —                                        2018-15 V6/3.0L PR Code J1N                     800        H7 (94R) AGM 33, 50, 54, 55, 56, 58
2016-15    V6/3.0L     Dsl, PR Code J0B                    850        H8 (49) AGM 33, 50, 54, 55, 56, 58       2018-15 V6/3.0L PR Code J1U                     760        —
2016-15    V6/3.0L     Dsl, PR Code J0R                    640        H7 (94R) 50, 54, 55, 56, 58              2018-15 V6/3.0L PR Code J2D                     680        H6 (48) AGM 33, 50, 54, 55, 56, 58
2016-15    V6/3.0L     Dsl, PR Code J0Z                    850        —                                        2018-12 V6/3.0L PR Code J0B                     850        H8 (49) AGM 33, 50, 54, 55, 56, 58
2016-15    V6/3.0L     Dsl, PR Code J1U                    760        —                                        2018-12 V6/3.0L PR Code J0P                     950        H9 (95R) AGM 33, 50, 54, 55, 56, 58
2016-14    V6/3.0L     Dsl, PR Code J2D                    680        H6 (48) AGM 33, 50, 54, 55, 56, 58       2018-12 V6/3.0L PR Code J0R                     640        H7 (94R) 50, 54, 55, 56, 58
2016       V6/3.0L     Dsl, PR Code J0L                    640        H6 (48) 50, 54, 55, 56, 58               2018-12 V6/3.0L PR Code J0Z                     850        —
2016       V6/3.0L     Dsl, PR Code J0P                    950        H9 (95R) AGM 33, 50,  MOYER_DEPO
                                                                                                54, 55, 56, 58          000323
                                                                                                               2016-15 V6/3.0L Dsl, PR Code J0B                850         H8 (49) AGM 33, 50, 54, 55, 56, 58
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                        See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                                               15
                                                          ORIGINAL               GROUP SIZE                                                                            ORIGINAL                GROUP SIZE
     YEAR      ENGINE                OPTIONS             EQUIPMENT                (NOTES)                       YEAR      ENGINE                 OPTIONS              EQUIPMENT                 (NOTES)
                                                         CCA/RATING                                                                                                   CCA/RATING
   Audi A7 quattro (continued)                                                                               Audi Cabriolet
   2016-15   V6/3.0L     Dsl, PR Code J0P                950          H9 (95R) AGM 33, 50, 54, 55, 56, 58     1998-94 V6/2.8L                                         650          —
   2016-15   V6/3.0L     Dsl, PR Code J0R                640          H7 (94R) 50, 54, 55, 56, 58            Audi Coupe quattro
   2016-15   V6/3.0L     Dsl, PR Code J1N                800          H7 (94R) AGM 33, 50, 54, 55, 56, 58
                                                                                                              1991-90 L5/2.3L                                         650          —
   2016-15   V6/3.0L     Dsl, PR Code J1U                760          —
   2016-15   V6/3.0L     Dsl, PR Code J2D                680          H6 (48) AGM 33, 50, 54, 55, 56, 58     Audi Q3
   2016-14   V6/3.0L     Dsl, PR Code J0Z                850          —                                       2018-16   L4/2.0L    PR Code J0T                        680          —
   2014-12   V6/3.0L     Gas, PR Code J0P                105 Ah       —                                       2018-15   L4/2.0L    PR Code J1L                        540          H5 (47) 50, 54, 55, 56, 58
   2014-12   V6/3.0L     Gas, PR Code J0R                80 Ah        H7 (94R) 50, 54, 55, 56, 58             2018-15   L4/2.0L    PR Code J1D                        640          —
   2014-12   V6/3.0L     PR Code J1N                     75 Ah        H7 (94R) AGM 33, 50, 54, 55, 56, 58     2018-15   L4/2.0L    PR Code J1P                        360          —
   2014-12   V6/3.0L     PR Code J1U                     95 Ah        —                                       2018-15   L4/2.0L    PR Code J2D                        680          H6 (48) AGM 33, 50, 54, 55, 56, 58
   2014-12   V6/3.0L     PR Code J2D                     68 Ah        H6 (48) AGM 33, 50, 54, 55, 56, 58      2018-15   L4/2.0L    PR Code J2S                        480          —
   2014      V6/3.0L     Dsl, PR Code J0B                92 Ah        H8 (49) AGM 33, 50, 54, 55, 56, 58
                                                                                                             Audi Q3 quattro
   2014      V6/3.0L     Dsl, PR Code J0P                105 Ah       —
   2014      V6/3.0L     Dsl, PR Code J0R                80 Ah        H7 (94R) 50, 54, 55, 56, 58             2018-16   L4/2.0L    PR Code J0T                        680          —
   2014      V6/3.0L     Dsl, PR Code J1N                75 Ah        H7 (94R) AGM 33, 50, 54, 55, 56, 58     2018-15   L4/2.0L    PR Code J1L                        540          H5 (47) 50, 54, 55, 56, 58
   2014      V6/3.0L     Dsl, PR Code J1U                95 Ah        —                                       2018-15   L4/2.0L    PR Code J1D                        640          —
   2014      V6/3.0L     Dsl, PR Code J2D                68 Ah        H6 (48) AGM 33, 50, 54, 55, 56, 58      2018-15   L4/2.0L    PR Code J1P                        360          —
                                                                                                              2018-15   L4/2.0L    PR Code J2D                        680          H6 (48) AGM 33, 50, 54, 55, 56, 58
   Audi A8
                                                                                                              2018-15   L4/2.0L    PR Code J2S                        480          —
   1999-97 V8/3.7L                                       850          —
   1999-97 V8/3.7L       Std                             760          —                                      Audi Q5
   Audi A8 quattro                                                                                            2018-11   L4/2.0L    PR Code J0B                        92 Ah        H8 (49) AGM 33, 50, 54, 55, 56, 58
   2018-15   V8/4.0L     PR Code J0B                     850          H8 (49) AGM 33, 50, 54, 55, 56, 58      2018-11   L4/2.0L    PR Code J0P                        950          H9 (95R) AGM 33, 50, 54, 55, 56, 58
   2018-15   V8/4.0L     PR Code J0P                     950          H9 (95R) AGM 33, 50, 54, 55, 56, 58     2018-11   L4/2.0L    PR Code J1N                        800          H7 (94R) AGM 33, 50, 54, 55, 56, 58
   2018-14   V6/3.0L     PR Code J1N                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58     2018-11   L4/2.0L    PR Code J2D                        680          H6 (48) AGM 33, 50, 54, 55, 56, 58
   2018-14   V8/4.0L     PR Code J1N                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58     2017-13   L4/2.0L    PR Code J1L                        540          H5 (47) 50, 54, 55, 56, 58
   2018-13   V6/3.0L     PR Code J0B                     850          H8 (49) AGM 33, 50, 54, 55, 56, 58      2017-13   V6/3.0L    PR Code J0B                        92 Ah        H8 (49) AGM 33, 50, 54, 55, 56, 58
   2018-13   V6/3.0L     PR Code J0P                     950          H9 (95R) AGM 33, 50, 54, 55, 56, 58     2017-13   V6/3.0L    PR Code J0L                        570          H6 (48) 50, 54, 55, 56, 58
   2018-13   V6/3.0L     PR Code J0Z                     850          —                                       2017-13   V6/3.0L    PR Code J0P                        950          H9 (95R) AGM 33, 50, 54, 55, 56, 58
   2018-13   V6/3.0L     PR Code J1U                     760          —                                       2017-13   V6/3.0L    PR Code J0R                        640          H7 (94R) 50, 54, 55, 56, 58
   2018-13   V8/4.0L     PR Code J0Z                     850          —                                       2017-13   V6/3.0L    PR Code J0Z                        110 Ah       —
   2018-13   V8/4.0L     PR Code J1U                     760          —                                       2017-13   V6/3.0L    PR Code J1L                        540          H5 (47) 50, 54, 55, 56, 58
   2016-15   V6/3.0L     Dsl, PR Code J0P                950          H9 (95R) AGM 33, 50, 54, 55, 56, 58     2017-13   V6/3.0L    PR Code J1N                        75 Ah        H7 (94R) AGM 33, 50, 54, 55, 56, 58
   2016-15   V6/3.0L     Dsl, PR Code J1N                800          H7 (94R) AGM 33, 50, 54, 55, 56, 58     2017-13   V6/3.0L    PR Code J1U                        760          —
   2016-14   V6/3.0L     Dsl, PR Code J0B                850          H8 (49) AGM 33, 50, 54, 55, 56, 58      2017-13   V6/3.0L    PR Code J2D                        680          H6 (48) AGM 33, 50, 54, 55, 56, 58
   2016-14   V6/3.0L     Dsl, PR Code J1U                760          —                                       2017-11   L4/2.0L    PR Code J0L                        570          H6 (48) 50, 54, 55, 56, 58
   2016-14   W12/6.3L    PR Code J1N                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58     2017-11   L4/2.0L    PR Code J0R                        640          H7 (94R) 50, 54, 55, 56, 58
   2016-12   W12/6.3L    PR Code J0B                     850          H8 (49) AGM 33, 50, 54, 55, 56, 58      2017-11   L4/2.0L    PR Code J0Z                        850          —
   2016-12   W12/6.3L    PR Code J0P                     950          H9 (95R) AGM 33, 50, 54, 55, 56, 58     2017-11   L4/2.0L    PR Code J1U                        760          —
   2016-12   W12/6.3L    PR Code J0Z                     850          —
                                                                                                              2016-14   V6/3.0L    Dsl, PR Code J0B                   92 Ah        H8 (49) AGM 33, 50, 54, 55, 56, 58
   2016-12   W12/6.3L    PR Code J1U                     760          —
                                                                                                              2016-14   V6/3.0L    Dsl, PR Code J0L                   570          H6 (48) 50, 54, 55, 56, 58
   2014-13   V8/4.0L     PR Code J0B                     92 Ah        H8 (49) AGM 33, 50, 54, 55, 56, 58
   2014-13   V8/4.0L     PR Code J0P                     105 Ah       —                                       2016-14   V6/3.0L    Dsl, PR Code J0P                   950          H9 (95R) AGM 33, 50, 54, 55, 56, 58
   2014      V6/3.0L     Dsl, PR Code J0Z                850          —                                       2016-14   V6/3.0L    Dsl, PR Code J0R                   80 Ah        H7 (94R) 50, 54, 55, 56, 58
   2013-12   W12/6.3L    PR Code 0K1                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58     2016-14   V6/3.0L    Dsl, PR Code J0Z                   110 Ah       —
   2013      V6/3.0L     PR Code 0K1                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58     2016-14   V6/3.0L    Dsl, PR Code J1L                   540          H5 (47) 50, 54, 55, 56, 58
   2013      V8/4.0L     PR Code 0K1                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58     2016-14   V6/3.0L    Dsl, PR Code J1N                   75 Ah        H7 (94R) AGM 33, 50, 54, 55, 56, 58
   2012-10   V8/4.2L     PR Code 0K1                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58     2016-14   V6/3.0L    Dsl, PR Code J1U                   760          —
   2012-10   V8/4.2L     PR Code J0B                     850          H8 (49) AGM 33, 50, 54, 55, 56, 58      2016-14   V6/3.0L    Dsl, PR Code J2D                   68 Ah        H6 (48) AGM 33, 50, 54, 55, 56, 58
   2012-10   V8/4.2L     PR Code J0P                     105 Ah       —                                       2012-11   L4/2.0L    PR Code J1L                        540          H5 (47) 50, 54, 55, 56, 58
   2012-10   V8/4.2L     PR Code J0Z                     850          —                                       2012-09   V6/3.2L    PR Code J0B                        92 Ah        H8 (49) AGM 33, 50, 54, 55, 56, 58
   2012-10   V8/4.2L     PR Code J1U                     760          —                                       2012-09   V6/3.2L    PR Code J0L                        570          H6 (48) 50, 54, 55, 56, 58
   2009-08   V8/4.2L     Opt                             850          H8 (49) AGM 33, 50, 54, 55, 56          2012-09   V6/3.2L    PR Code J1L                        540          H5 (47) 50, 54, 55, 56, 58
   2009-04   V8/4.2L                                     850          —                                       2012-09   V6/3.2L    PR Code J0P                        950          H9 (95R) AGM 33, 50, 54, 55, 56, 58
   2003-00   V8/4.2L     Opt                             850          —                                       2012-09   V6/3.2L    PR Code J0R                        640          H7 (94R) 50, 54, 55, 56, 58
   2003-97   V8/4.2L                                     850          —                                       2012-09   V6/3.2L    PR Code J0Z                        110 Ah       —
   Audi allroad                                                                                               2012-09   V6/3.2L    PR Code J1N                        75 Ah        H7 (94R) AGM 33, 50, 54, 55, 56, 58
   2016-13   L4/2.0L     PR Code J0B                     850          H8 (49) AGM 33, 50, 54, 55, 56, 58      2012-09   V6/3.2L    PR Code J1U                        95 Ah        —
   2016-13   L4/2.0L     PR Code J0L                     570          H6 (48) 50, 54, 55, 56, 58              2012-09   V6/3.2L    PR Code J2D                        68 Ah        H6 (48) AGM 33, 50, 54, 55, 56, 58
   2016-13   L4/2.0L     PR Code J1L                     540          H5 (47) 50, 54, 55, 56, 58             Audi Q7
   2016-13   L4/2.0L     PR Code J0P                     950          H9 (95R) AGM 33, 50, 54, 55, 56, 58    2019-17 V6/3.0L       PR Code J0B                        850          H8 (49) AGM 33, 50, 54, 55, 56
   2016-13   L4/2.0L     PR Code J0R                     640          H7 (94R) 50, 54, 55, 56, 58            2019-17 V6/3.0L       PR Code J0P                        950          H9 (95R) AGM 33, 50, 54, 55, 56
   2016-13   L4/2.0L     PR Code J0Z                     850          —                                      2019-17 V6/3.0L       PR Code J1N                        800          H7 (94R) AGM 33, 50, 54, 55, 56, 58
   2016-13   L4/2.0L     PR Code J1N                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58    2019-17 V6/3.0L       PR Code J2D                        680          H6 (48) AGM 33, 50, 54, 55, 56, 58
   2016-13   L4/2.0L     PR Code J1U                     760          —                                      2018-17 L4/2.0L       PR Code J0B                        850          H8 (49) AGM 33, 50, 54, 55, 56, 58
   2016-13   L4/2.0L     PR Code J2D                     680          H6 (48) AGM 33, 50, 54, 55, 56, 58     2018-17 L4/2.0L       PR Code J0P                        950          H9 (95R) AGM 33, 50, 54, 55, 56
   Audi allroad quattro                                                                                      2018-17 L4/2.0L       PR Code J1N                        800          H7 (94R) AGM 33, 50, 54, 55, 56, 58
   2005-04 V6/2.7L                                        650         H7 (94R) 50                            2018-17 L4/2.0L       PR Code J2D                        680          H6 (48) AGM 33, 50, 54, 55, 56, 58
   2005-03 V8/4.2L                                        760         —                                      2015-11 V6/3.0L       PR Code J0B                        850          H8 (49) AGM 33, 50, 54, 55, 56
   2004      V6/2.7L                                      650         H7 (94R) 50, 54                        2015-11 V6/3.0L       PR Code J0P                        950          H9 (95R) AGM 33, 50, 54, 55, 56
   2003      V6/2.7L                                      760         —                                      2015-11 V6/3.0L       PR Code J0R                        640          H7 (94R) 50, 54, 55, 56
   2002-01 V6/2.7L                                        640         H7 (94R) 50                            2015-11 V6/3.0L       PR Code J0Z                        850          —
   2002-01 V6/2.7L                                        640         H7MOYER_DEPO
                                                                         (94R) 50, 54                       000324
                                                                                                             2015-11 V6/3.0L       PR Code J1U                        760          —
   See page 80 for Footnotes. Selection may vary by warehouse.                                                              Note: PR codes are located on a tag near the spare tire or in the warranty booklet
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16                                                                                                               Automotive/Light Truck
                                                            ORIGINAL                GROUP SIZE                                                                          ORIGINAL               GROUP SIZE
   YEAR      ENGINE                  OPTIONS               EQUIPMENT                 (NOTES)                        YEAR      ENGINE               OPTIONS             EQUIPMENT                (NOTES)
                                                           CCA/RATING                                                                                                  CCA/RATING
Audi Q7 (continued)                                                                                               Audi S4 (continued)
2015-10    V6/3.0L     Dsl, Opt                            850          H8 (49) AGM 33, 50, 54, 55, 56            2016-13   V6/3.0L    PR Code J2D                     680          H6 (48) AGM 33, 50, 54, 55, 56, 58
2015-10    V6/3.0L     Dsl, PR Code J0P                    950          H9 (95R) AGM 33, 50, 54, 55, 56           2016-10   V6/3.0L    PR Code J0B                     850          H8 (49) AGM 33, 50, 54, 55, 56, 58
2015-10    V6/3.0L     Dsl, PR Code J0R                    640          H7 (94R) 50, 54, 55, 56                   2016-10   V6/3.0L    PR Code J0Z                     850          —
2015-09    V6/3.0L     Dsl, PR Code J0Z                    850          —                                         2016-10   V6/3.0L    PR Code J1N                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58
2015-09    V6/3.0L     Dsl, PR Code J1U                    760          —                                         2016-10   V6/3.0L    PR Code J1U                     760          —
2014-11    V6/3.0L     Dsl, PR Code J0B                    92 Ah        H8 (49) AGM 33, 50, 54, 55, 56            2016      V6/3.0L    PR Code J0B, B0A, B0L, B0M,     850          H8 (49) AGM 33, 50, 54, 55, 56, 58
2010-07    V6/3.6L     PR Code J0Z                         850          —                                                              B0N, B0R, B1C, B1D, B1Q, B1Z,
2010-07    V8/4.2L     PR Code J0Z                         850          —                                                              B2E, B2H, B3D, B3E, B4G, B4K
2010       V6/3.6L     Opt                                 850          H8 (49) AGM 33, 50, 54, 55, 56            2015-13   V6/3.0L    PR Code J0L                     570          H6 (48) 50, 54, 55, 56, 58
2010       V6/3.6L     PR Code J0P                         950          H9 (95R) AGM 33, 50, 54, 55, 56           2015-13   V6/3.0L    PR Code J1L                     540          H5 (47) 50, 54, 55, 56, 58
2010       V6/3.6L     PR Code J0R                         640          H7 (94R) 50, 54, 55, 56                   2015-10   V6/3.0L    PR Code J0R                     640          H7 (94R) 50, 54, 55, 56, 58
2010       V8/4.2L     Opt                                 850          H8 (49) AGM 33, 50, 54, 55, 56            2009-04   V8/4.2L    PR Code J0R                     640          H7 (94R) 50, 54, 55, 56, 58
2010       V8/4.2L     PR Code J0P                         950          H9 (95R) AGM 33, 50, 54, 55, 56           2009-04   V8/4.2L    PR Code J1U                     760          —
2010       V8/4.2L     PR Code J0R                         640          H7 (94R) 50, 54, 55, 56                   2009      V8/4.2L    PR Code J0B                     850          H8 (49) AGM 33, 50, 54, 55, 56, 58
Audi R8                                                                                                           2009      V8/4.2L    PR Code J0P                     950          H9 (95R) AGM 33, 50, 54, 55, 56, 58
2018-17 V10/5.2L PR Code J0B                               850          H8 (49) AGM 33, 50, 54, 55, 56, 58        2009      V8/4.2L    PR Code J0Z                     850          —
                                                                                                                  2009      V8/4.2L    PR Code J1N                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58
2018-17 V10/5.2L PR Code J1N                               800          H7 (94R) AGM 33, 50, 54, 55, 56, 58
                                                                                                                  2002      V6/2.7L    Turbo                           640          H7 (94R) 50
2017    V10/5.2L PR Code J0B, B0A, B0D, B0E,               850          H8 (49) AGM 33, 50, 54, 55, 56, 58
                                                                                                                  2001-00   V6/2.7L                                    570          H6 (48) 50, 54
                 B0G, B0H, B0L, B0M, B0N, B0R,
                                                                                                                  1994-93   L5/2.2L    Turbo                           650          —
                 B0W, B1C, B1P, B1Q, B1R, B1S,                                                                    1992      L5/2.2L                                    650          —
                 B2A, B2E, B2G, B2H, B3E, B3H,
                 B4G, B1Z                                                                                         Audi S5
2015    V10/5.2L PR Code J2D                               680          H6 (48) AGM 33, 50, 54, 55, 56, 58        2018-12   V6/3.0L    PR Code J1N                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58
                                                                                                                  2018-10   V6/3.0L    PR Code J0B                     850          H8 (49) AGM 33, 50, 54, 55, 56, 58
2015    V8/4.2L PR Code J2D                                680          H6 (48) AGM 33, 50, 54, 55, 56, 58        2018-10   V6/3.0L    PR Code J0P                     950          H9 (95R) AGM 33, 50, 54, 55, 56, 58
2014    V10/5.2L PR Code J2D                               68 Ah        H6 (48) AGM 33, 50, 54, 55, 56, 58        2018-10   V6/3.0L    PR Code J0Z                     850          —
2014    V8/4.2L PR Code J2D                                68 Ah        H6 (48) AGM 33, 50, 54, 55, 56, 58        2018      V6/3.0L    PR Code PR-0K0                  680          H6 (48) AGM 33, 50, 54, 55, 56, 58
2012-10 V10/5.2L PR Code J0L                               570          H6 (48) 50, 54, 55, 56, 58                2017-15   V6/3.0L    PR Code J0L                     570          H6 (48) 50, 54, 55, 56, 58
2012-10 V10/5.2L PR Code J0Z                               850          —                                         2017-15   V6/3.0L    PR Code J0R                     640          H7 (94R) 50, 54, 55, 56, 58
2012-10 V10/5.2L PR Code J1D                               72 Ah        —                                         2017-15   V6/3.0L    PR Code J2D                     680          H6 (48) AGM 33, 50, 54, 55, 56, 58
2012-09 V10/5.2L PR Code J2D                               68 Ah        H6 (48) AGM 33, 50, 54, 55, 56, 58        2017-10   V6/3.0L    PR Code J1L                     540          H5 (47) 50, 54, 55, 56, 58
2012-08 V8/4.2L PR Code J0L                                570          H6 (48) 50, 54, 55, 56, 58                2017-10   V6/3.0L    PR Code J1U                     760          —
2012-08 V8/4.2L PR Code J0Z                                850          —                                         2014-10   V6/3.0L    PR Code J0L                     70 Ah        H6 (48) 50, 54, 55, 56, 58
2012-08 V8/4.2L PR Code J1D                                72 Ah        —                                         2014-10   V6/3.0L    PR Code J0R                     80 Ah        H7 (94R) 50, 54, 55, 56, 58
2012-08 V8/4.2L PR Code J2D                                68 Ah        H6 (48) AGM 33, 50, 54, 55, 56, 58        2014-10   V6/3.0L    PR Code J2D                     68 Ah        H6 (48) AGM 33, 50, 54, 55, 56, 58
2009    V10/5.2L PR Code J0L                               70 Ah        H6 (48) 50, 54, 55, 56, 58                2012-10   V8/4.2L    PR Code J1L                     540          H5 (47) 50, 54, 55, 56, 58
2009    V10/5.2L PR Code J0Z                               110 Ah       —                                         2012-09   V8/4.2L    PR Code J0B                     850          H8 (49) AGM 33, 50, 54, 55, 56, 58
Audi RS 4                                                                                                         2012-09   V8/4.2L    PR Code J0L                     70 Ah        H6 (48) 50, 54, 55, 56, 58
                                                                                                                  2012-09   V8/4.2L    PR Code J0P                     950          H9 (95R) AGM 33, 50, 54, 55, 56, 58
2008-07 V8/4.2L        PR Code J0B                         92 Ah        H8 (49) AGM 33, 50, 54, 55, 56, 58        2012-09   V8/4.2L    PR Code J2D                     68 Ah        H6 (48) AGM 33, 50, 54, 55, 56, 58
Audi RS 5                                                                                                         2012-08   V8/4.2L    PR Code J0R                     80 Ah        H7 (94R) 50, 54, 55, 56, 58
2018       V6/2.9L     PR Code J0P                         950          H9 (95R) AGM 33, 50, 54, 55, 56, 58       2012-08   V8/4.2L    PR Code J0Z                     850          —
2018       V6/2.9L     PR Code J1N                         800          H7 (94R) AGM 33, 50, 54, 55, 56, 58       2012-08   V8/4.2L    PR Code J1U                     760          —
Audi RS 6                                                                                                         2012      V8/4.2L    PR Code J1N                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58
                                                                                                                  2009      V8/4.2L    PR Code J1L                     540          H5 (47) 50, 54, 55, 56, 58
2004-03 V8/4.2L                                            850          —
Audi RS 7                                                                                                         Audi S5 Sportback
                                                                                                                  2018      V6/3.0L    PR Code J0B                     850          H8 (49) AGM 33, 50, 54, 55, 56, 58
2018-14    V8/4.0L     PR Code J0B                         850          H8 (49) AGM     33, 50, 54, 55, 56, 58
                                                                                                                  2018      V6/3.0L    PR Code J0P                     950          H9 (95R) AGM 33, 50, 54, 55, 56, 58
2018-14    V8/4.0L     PR Code J0P                         950          H9 (95R) AGM 33, 50, 54, 55, 56, 58
                                                                                                                  2018      V6/3.0L    PR Code J0Z                     850          —
2018-14    V8/4.0L     PR Code J0R                         640          H7 (94R) 50, 54, 55, 56, 58
                                                                                                                  2018      V6/3.0L    PR Code J1N                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58
2018-14    V8/4.0L     PR Code J0Z                         850          —
                                                                                                                  2018      V6/3.0L    PR Code PR-0K0                  680          H6 (48) AGM 33, 50, 54, 55, 56, 58
2018-14    V8/4.0L     PR Code J1N                         800          H7 (94R) AGM 33, 50, 54, 55, 56, 58
2018-14    V8/4.0L     PR Code J1U                         760          —                                         Audi S6
2018-14    V8/4.0L     PR Code J2D                         680          H6 (48) AGM 33, 50, 54, 55, 56, 58     2018-13 V8/4.0L PR Code J0B                     850        H8 (49) AGM 33, 50, 54, 55, 56, 58
Audi RS3                                                                                                       2018-13 V8/4.0L  PR Code J0L                    640        H6 (48) 50, 54, 55, 56, 58
                                                                                                               2018-13 V8/4.0L  PR Code J0P                    950        H9 (95R) AGM 33, 50, 54, 55, 56, 58
2018-17 L5/2.5L        PR Code J1N                         800        H7 (94R) AGM 33, 50, 54, 55, 56, 58
                                                                                                               2018-13 V8/4.0L PR Code J0R                     640        H7 (94R) 50, 54, 55, 56, 58
Audi S3                                                                                                        2018-13 V8/4.0L PR Code J0Z                     850        —
2018-17 L4/2.0L        PR Code J1L                         540        H5 (47) 50, 54, 55, 56, 58               2018-13 V8/4.0L PR Code J1N                     800         H7 (94R) AGM 33, 50, 54, 55, 56, 58
2018-15 L4/2.0L        PR Code J0S                         540        —                                        2018-13 V8/4.0L PR Code J1U                     760        —
2018-15 L4/2.0L        PR Code J0T                         680        —                                        2018-13 V8/4.0L PR Code J2D                     680        H6 (48) AGM 33, 50, 54, 55, 56, 58
2018-15 L4/2.0L        PR Code J1D                         640        —                                        2011    V10/5.2L PR Code J0B                    850        H8 (49) AGM 33, 50, 54, 55, 56, 58
2018-15 L4/2.0L        PR Code J2D                         680        H6 (48) AGM 33, 50, 54, 55, 56, 58       2011    V10/5.2L PR Code J0P                    950        H9 (95R) AGM 33, 50, 54, 55, 56, 58
2017-15 L4/2.0L        PR Code J1P                         360        —                                        2011    V10/5.2L PR Code J0R                    80 Ah H7 (94R) 50, 54, 55, 56, 58
2016-15 L4/2.0L        PR Code J1L                         540        H5 (47) 50, 54, 55, 56, 58               2011    V10/5.2L PR Code J0Z                    850        —
2016-15 L4/2.0L        PR Code J2S                         480        —                                        2011    V10/5.2L PR Code J1N                    800         H7 (94R) AGM 33, 50, 54, 55, 56, 58
Audi S4                                                                                                        2011    V10/5.2L PR Code J1U                    760        —
2018      V6/3.0L PR Code J0B                              850        H8 (49) AGM 33, 50, 54, 55, 56, 58       2011    V10/5.2L PR Code J2D                    68 Ah H6 (48) AGM 33, 50, 54, 55, 56, 58
2018      V6/3.0L PR Code J0P                              950        H9 (95R) AGM 33, 50, 54, 55, 56, 58      2010-07 V10/5.2L                                570        H6 (48) 50, 54, 55, 56
2018      V6/3.0L PR Code J0Z                              850        —                                        2010-07 V10/5.2L Opt                            760        —
2018      V6/3.0L PR Code J1N                              800        H7 (94R) AGM 33, 50, 54, 55, 56, 58      2010-07 V10/5.2L Opt                            850        H8 (49) AGM 33, 50, 54, 55, 56
2018      V6/3.0L PR Code J1U                              760        —                                        2010-07 V10/5.2L Opt                            640        H7 (94R) 50, 54, 55, 56
2018      V6/3.0L PR Code J2D, 0K2                         680        H6 (48) AGM 33, 50, 54, 55, 56, 58       2010-07 V10/5.2L Opt                            850        —
2018      V6/3.0L PR Code J4E                              N/A        —                                        2002    V8/4.2L                                 720        H8 (49) 50, 54
2016-14 V6/3.0L PR Code J0P                                950        H9 (95R) AGM 33, 50,  MOYER_DEPO
                                                                                                54, 55, 56, 58          000325
                                                                                                               1997-95 L5/2.2L                                 650        —
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                        See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                                               17
                                                          ORIGINAL               GROUP SIZE                                                                            ORIGINAL               GROUP SIZE
     YEAR      ENGINE                 OPTIONS            EQUIPMENT                (NOTES)                       YEAR      ENGINE                 OPTIONS              EQUIPMENT                (NOTES)
                                                         CCA/RATING                                                                                                   CCA/RATING
   Audi S7                                                                                                   Bentley Continental (continued)
   2018-13   V8/4.0L     PR Code J0B                     850          H8 (49) AGM 33, 50, 54, 55, 56, 58      2008-04 W12/6.0L Rt Side                                650          —
   2018-13   V8/4.0L     PR Code J0P                     950          H9 (95R) AGM 33, 50, 54, 55, 56, 58     2003-89 V8/6.8L                                         650          24
   2018-13   V8/4.0L     PR Code J0R                     640          H7 (94R) 50, 54, 55, 56, 58             2003    W12/6.0L                                        650          24
   2018-13   V8/4.0L     PR Code J0Z                     850          —                                      Bentley Eight
   2018-13   V8/4.0L     PR Code J1N                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58     1991-90 V8/6.8L                                         800          —
   2018-13   V8/4.0L     PR Code J1U                     760          —
   2018-13   V8/4.0L     PR Code J2D                     680          H6 (48) AGM 33, 50, 54, 55, 56, 58
                                                                                                             Bentley Flying Spur
                                                                                                              2017-15 V8/4.0L                                         610          —
   Audi S8                                                                                                    2017-14 W12/6.0L                                        610          —
   2018-13   V8/4.0L     PR Code J0B                     850          H8 (49) AGM 33, 50, 54, 55, 56, 58
   2018-13   V8/4.0L     PR Code J0P                     950          H9 (95R) AGM 33, 50, 54, 55, 56, 58
                                                                                                             Bentley Mulsanne
   2018-13   V8/4.0L     PR Code J0Z                     850          —                                       2014-11 V8/6.8L      Aux - Lft Side                     850          —
   2018-13   V8/4.0L     PR Code J1N                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58     2014-11 V8/6.8L      Primary Battery - Rt Side          610          —
   2018-13   V8/4.0L     PR Code J1U                     760          —                                       1992-90 V8/6.8L                                         800          —
   2013      V8/4.0L     PR Code 0K1                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58    Bentley Turbo R
   2009-08   V10/5.2L    Opt                             850          H8 (49) AGM 33, 50, 54, 55, 56          1998-89 V8/6.8L                                         700          H6 (48)
   2009      V10/5.2L                                    650          —                                      BMW 1 Series M
   2009      V10/5.2L                                    850          —                                       2011      L6/3.0L                                       760          H6 (48) AGM 18, 33, 50, 54
   2008-07   V10/5.2L                                    850          —                                      BMW 128i
   2003-02   V8/4.2L                                     720          H8 (49) 50, 54
                                                                                                              2013-08   L6/3.0L    Option 1                           570          H6 (48) 18, 50, 54
   2001      V8/4.2L                                     760          —
                                                                                                              2013-08   L6/3.0L    Option 2                           640          H7 (94R) 18, 50, 54
   Audi SQ5                                                                                                   2013-08   L6/3.0L    Option 3                           720          H8 (49) 18, 50, 54, 56
   2018-14 V6/3.0L                                       640          H7 (94R) 54                             2013-08   L6/3.0L    w/AGM, Option 1                    850          H8 (49) AGM 18, 33, 50, 54
   Audi TT, TT quattro                                                                                        2013-08   L6/3.0L    w/AGM, Option 2                    900          H8 (49) AGM 18, 33, 50, 54
   2018-16   L4/2.0L     PR Code J0B                     850          H8 (49) AGM 33, 50, 54, 55, 56, 58      2013-08   L6/3.0L    w/AGM, Option 3                    760          H6 (48) AGM 18, 33, 50, 54
   2018-16   L4/2.0L     PR Code J0R                     640          H7 (94R) 50, 54, 55, 56, 58            BMW 135, 135is
   2018-16   L4/2.0L     PR Code J1N                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58     2013-08   L6/3.0L                                       570          H6 (48) 18, 50, 54
   2018-16   L4/2.0L     PR Code J1U                     760          —                                       2013-08   L6/3.0L    Option 1                           640          H7 (94R) 18, 50, 54
   2018-16   L4/2.0L     PR Code J2D                     680          H6 (48) AGM 33, 50, 54, 55, 56, 58      2013-08   L6/3.0L    Option 2                           720          H8 (49) 18, 50, 54, 56
   2018      L5/2.5L     PR Code J0B                     850          H8 (49) AGM 33, 50, 54, 55, 56, 58      2013-08   L6/3.0L    w/AGM, Option 1                    760          H6 (48) AGM 18, 33, 50, 54
   2018      L5/2.5L     PR Code J0R                     640          H7 (94R) 50, 54, 55, 56, 58             2013-08   L6/3.0L    w/AGM, Option 2                    850          H8 (49) AGM 18, 33, 50, 54, 56
   2018      L5/2.5L     PR Code J1N                     800          H7 (94R) AGM 33, 50, 54, 55, 56, 58     2013-08   L6/3.0L    w/AGM, Option 3                    900          H8 (49) AGM 18, 33, 50, 54, 56
   2018      L5/2.5L     PR Code J1U                     760          —
                                                                                                             BMW 228i
   2018      L5/2.5L     PR Code J2D                     680          H6 (48) AGM 33, 50, 54, 55, 56, 58
                                                                                                              2016-14 L4/2.0L                                         800          H7 (94R) AGM 33, 50, 54, 55, 56
   2015-14   L4/2.0L                                     540          —
                                                                                                              2016-14 L4/2.0L      Opt                                900          H8 (49) AGM 33, 50, 54, 55, 56
   2015-14   L4/2.0L     Opt                             640          H7 (94R) 50, 54, 55, 56
                                                                                                              2015-14 L4/2.0L      Opt                                850          H8 (49) AGM 33, 50, 54, 55, 56
   2015-14   L4/2.0L     Opt                             800          H7 (94R) AGM 33, 50, 54, 55, 56
   2014-08   L4/2.0L                                     480          —                                      BMW 228i xDrive
   2013-12   L5/2.5L                                     480          —                                       2016-15 L4/2.0L                                         800          H7 (94R) AGM 33, 50, 54, 55, 56
   2009-08   V6/3.2L     PR Code J0R                     650          H7 (94R) 50, 54, 55, 56, 58             2016-15 L4/2.0L      Opt                                900          H8 (49) AGM 33, 50, 54, 55, 56
   2009-08   V6/3.2L     PR Code J1N                     75 Ah        H7 (94R) AGM 33, 50, 54, 55, 56, 58    BMW 230i
   2006-04   V6/3.2L     PR Code J0R                     650          H7 (94R) 50, 54, 55, 56, 58             2019      L4/2.0L                                       90 Ah        H8 (49) AGM 33, 50, 54, 55, 56
   2006-03   L4/1.8L     PR Code J1D, Opt                72 Ah        —                                       2018      L4/2.0L                                       900          H8 (49) AGM 33, 50, 54, 55, 56
   2006-00   L4/1.8L                                     480          —                                       2017      L4/2.0L                                       800          H7 (94R) AGM 33, 50, 54, 55, 56
   Audi V8 quattro                                                                                            2017      L4/2.0L    Opt                                900          H8 (49) AGM 33, 50, 54, 55, 56
   1994-92 V8/4.2L       32 Valve                        720          —                                      BMW 230i xDrive
   1991    V8/3.6L       32 Valve                        720          —                                       2018      L4/2.0L                                       900          —
   1990    V8/3.6L       32 Valve                        650          —                                       2017      L4/2.0L                                       800          H7 (94R) AGM 33, 50, 54, 55, 56
   Avanti Avanti                                                                                              2017      L4/2.0L    Opt                                900          H8 (49) AGM 33, 50, 54, 55, 56
   2007-05 V8/4.6L                                       590          96R                                    BMW 318i, 318iS, 318Ti
   Bentley Arnage                                                                                             1995-91   L4/1.8L                                       600          —
   2009-08   V8/6.8L     Lft Side Aux Battery            750          —                                       1999-96   L4/1.9L                                       600          —
   2009-08   V8/6.8L     Rt Side                         700          —                                       1997-96   L4/1.9L                                       600          —
   2007-00   V8/6.8L                                     700          —                                       1997-96   L4/1.9L                                       575          —
   2001-99   V8/4.4L                                     700          —                                      BMW 320i xDrive
   Bentley Azure                                                                                              2018-16   L4/2.0L    Opt                                800          H7 (94R) AGM 33, 50, 54, 55, 56
   2010-08   V8/6.8L     Lft Side Aux Battery            750          —                                       2018-13   L4/2.0L                                       760          H6 (48) AGM 33, 50, 54, 55, 56
   2010-08   V8/6.8L     Rt Side                         700          —                                       2016-13   L4/2.0L    Opt                                900          H8 (49) AGM 33, 50, 54, 55, 56
   2007-06   V8/6.8L                                     700          —                                       2015-13   L4/2.0L                                       800          H7 (94R) AGM 18, 33, 50, 54, 56
   2003-96   V8/6.8L                                     700          —                                       2015-13   L4/2.0L    Aux Battery                        40 Ah        —
   Bentley Brooklands                                                                                         2015-13   L4/2.0L    Opt                                850          H8 (49) AGM 18, 33, 50, 54, 56
   2009-08 V8/6.8L       Lft Side Aux Battery            750          —                                      BMW 320i, 320Xi
   2009-08 V8/6.8L       Rt Side                         700          —                                       2018-16   L4/2.0L    Opt                                800          H7 (94R) AGM 33, 50, 54, 55, 56
   1998-93 V8/6.8L                                       700          —                                       2018-12   L4/2.0L                                       760          H6 (48) AGM 33, 50, 54, 55, 56
   Bentley Continental                                                                                        2016-12   L4/2.0L    Opt                                900          H8 (49) AGM 33, 50, 54, 55, 56
   2014-13 V8/4.0L Aux - Lft Side                         850         —                                       2015-12   L4/2.0L    Aux Battery                        40 Ah        —
   2014-13 V8/4.0L Primary Battery - Rt Side              610         —                                       2005-01   L6/2.2L                                       570          H6 (48) 18, 50
   2014-09 W12/6.0L Aux - Lft Side                        850         H8 (49) AGM 33, 50, 54                  2005-01   L6/2.2L    Opt                                640          H7 (94R) 18, 50, 54, 56
   2014      W12/6.0L Primary Battery - Rt Side           610         —                                      BMW 323i, 323iS, 323Ci
   2013-09 W12/6.0L Rt Side                               610         —                                       2011-06 L6/2.5L      Option 1                           640          H7 (94R) 18, 50
   2008-04 W12/6.0L Aux - Lft Side                        900         H8MOYER_DEPO
                                                                         (49) AGM 33                        000326
                                                                                                             2011-06 L6/2.5L       w/AGM, Option 1                    760          H6 (48) AGM 18, 33, 50, 54
   See page 80 for Footnotes. Selection may vary by warehouse.                                                              Note: PR codes are located on a tag near the spare tire or in the warranty booklet
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18                                                                                               Automotive/Light Truck
                                                    ORIGINAL               GROUP SIZE                                                                    ORIGINAL               GROUP SIZE
  YEAR      ENGINE                 OPTIONS         EQUIPMENT                (NOTES)                 YEAR      ENGINE                 OPTIONS            EQUIPMENT                (NOTES)
                                                   CCA/RATING                                                                                           CCA/RATING
BMW 323i, 323iS, 323Ci (continued)                                                                BMW 328 Series (continued)
2011-06   L6/2.5L    w/AGM, Option 2               850          H8 (49) AGM 18, 33, 50, 54, 56    2012      L4/2.0L                                     800          H7 (94R) AGM 18, 33, 50, 54
2011-06   L6/2.5L    w/AGM, Option 3               900          H8 (49) AGM 18, 33, 50, 54, 56    2008-07   L6/3.0L    AGM, Option 3                    900          H8 (49) AGM 18, 33, 50, 54
2011-06   L6/2.5L    w/o AGM, Option 1             570          H6 (48) 18, 50                    2008-07   L6/3.0L    w/o AGM, Option 3                640          H7 (94R) 18, 50, 54
2011-06   L6/2.5L    w/o AGM, Option 2             720          H8 (49) 18, 50, 54, 56            2000      L6/2.8L                                     750          —
2000-99   L6/2.5L                                  765          H7 (94R) 18, 50                   2000      L6/2.8L    Opt                              765          H7 (94R) 18, 50
2000      L6/2.5L    Conv                          640          H7 (94R) 18, 50, 54, 56           1999-96   L6/2.8L    Conv                             575          —
2000      L6/2.5L    Ex Conv                       750          H6 (48) AGM 18, 33, 50, 54        1998-96   L6/2.8L                                     650          —
1998      L6/2.5L                                  600          —                                 1998-96   L6/2.8L    Ex Conv                          650          —
1998      L6/2.5L                                  575          —                                 1999      L6/2.8L                                     765          H7 (94R) 18, 50
BMW 325 Series                                                                                    BMW 330Ci, 330i, 330xi
2006-03   L6/2.5L    325Ci SULEV w/AGM, Option 2   850          H8 (49) AGM 18, 33, 50            2018-17   L4/2.0L                                     760          H6 (48) AGM 33, 50, 54, 55, 56
2006-03   L6/2.5L    SULEV w/AGM, Option 1         900          H8 (49) AGM 18, 33, 50            2018-17   L4/2.0L    Opt                              800          H7 (94R) AGM 33, 50, 54, 55, 56
2006-01   L6/2.5L    Ex SULEV                      640          H7 (94R) 18, 50, 54               2006      L6/3.0L                                     570          H6 (48) 18, 50, 54
2006      L6/3.0L    w/AGM, Option 1               760          H6 (48) AGM 18, 33, 50, 54        2005-02   L6/3.0L                                     640          H7 (94R) 18, 50, 54
2006      L6/3.0L    w/AGM, Option 2               900          H8 (49) AGM 18, 33, 50, 56        2001      L6/3.0L                                     765          H7 (94R) 50
2006      L6/3.0L    w/AGM, Option 3               850          H8 (49) AGM 18, 33, 50, 56        BMW 330e
2006      L6/3.0L    w/o AGM, Option 1             570          H6 (48) 18, 50, 54
                                                                                                  2018-16 L4/2.0L                                       760          H6 (48) AGM 33, 50, 54, 55, 56
2006      L6/3.0L    w/o AGM, Option 2             720          H8 (49) 18, 50, 54, 56
                                                                                                  2018-16 L4/2.0L      Opt                              900          H8 (49) AGM 33, 50, 54, 55, 56
2006      L6/3.0L    w/o AGM, Option 3             640          H7 (94R) 18, 50, 54
                                                                                                  2018-16 L4/2.0L      Opt                              800          H7 (94R) AGM 33, 50, 54, 55, 56
2005-04   L6/2.5L    w/M54 Eng                     640          H7 (94R) 18, 50, 54
2005-04   L6/2.5L    w/M54 Eng, Option 1           570          H6 (48) 18, 50, 54                BMW 330i GT xDrive
2005-04   L6/2.5L    w/M54 or N52 Eng w/o AGM,     640          H7 (94R) 18, 50, 54               2018-17 L4/2.0L                                       900          H8 (49) AGM 33, 50, 54, 55, 56
                     Option 2                                                                     BMW 330i xDrive
2005-04   L6/2.5L    w/N52 Eng & AGM, Option 1     760          H6 (48) AGM 18, 33, 50, 54        2018-17 L4/2.0L                                       760          H6 (48) AGM 33, 50, 54, 55, 56
2005-04   L6/2.5L    w/N52 Eng & AGM, Option 2     850          H8 (49) AGM 18, 33, 50            2018-17 L4/2.0L      Opt                              800          H7 (94R) AGM 33, 50, 54, 55, 56
2005-04   L6/2.5L    w/N52 Eng & AGM, Option 3     900          H8 (49) AGM 18, 33, 50            BMW 335 Series
2005-04   L6/2.5L    w/N52 Eng Opt                 640          H7 (94R) 18, 50, 54               2016-15   L6/3.0L                                     900          H8 (49) AGM 33, 50, 54, 55, 56
2005-04   L6/2.5L    w/N52 Eng w/o AGM             570          H6 (48) 18, 50, 54                2015-14   L6/3.0L    Aux Battery                      40 Ah        —
2005-04   L6/2.5L    w/N52 Eng w/o AGM Option 3    720          H8 (49) 18, 50, 54                2015      L6/3.0L                                     800          H7 (94R) AGM 33, 50, 54, 55, 56
2005-04   L6/2.5L    w/N52 or M54 Eng w/o AGM,     570          H6 (48) 18, 50, 54                2015      L6/3.0L    Opt                              850          H8 (49) AGM 33, 50, 54, 55, 56
                     Option 1                                                                     2014-13   L6/3.0L    Option 1                         850          H8 (49) AGM 18, 33, 50, 54, 56
2003-02   L6/2.5L    325i SULEV w/AGM, Option 1    850          H8 (49) AGM 18, 33, 50            2014      L6/3.0L                                     800          H7 (94R) AGM 18, 33, 50, 54, 56
2003-02   L6/2.5L    Ex SULEV, Option 1            570          H6 (48) 18, 50, 54                2014      L6/3.0L    Opt                              850          H8 (49) AGM 18, 33, 50, 54, 56
2003-02   L6/2.5L    Ex SULEV, Option 2            640          H7 (94R) 18, 50, 54
                                                                                                  2014      L6/3.0L    Option 2                         800          H7 (94R) AGM 18, 33, 50, 54, 56
2003-02   L6/2.5L    SULEV w/AGM, Option 2         900          H8 (49) AGM 18, 33, 50
                                                                                                  2013-07   L6/3.0L    w/AGM, Option 1                  760          H6 (48) AGM 18, 33, 50, 54
2003-01   L6/2.5L                                  570          H6 (48) 18, 50, 54, 56
                                                                                                  2013-07   L6/3.0L    w/AGM, Option 2                  850          H8 (49) AGM 18, 33, 50, 54, 56
2003-01   L6/2.5L    Opt                           640          H7 (94R) 18, 50, 54, 56
                                                                                                  2013-07   L6/3.0L    w/AGM, Option 3                  900          H8 (49) AGM 18, 33, 50, 54, 56
2001      L6/2.5L                                  640          H7 (94R) 18, 50, 54
                                                                                                  2013-07   L6/3.0L    w/o AGM, Option 1                720          H8 (49) 18, 50, 54, 56
2001      L6/2.5L    Opt                           570          H6 (48) 18, 50, 54, 56
                                                                                                  2013-07   L6/3.0L    w/o AGM, Option 2                640          H7 (94R) 18, 50, 54
1991-90   L6/2.5L                                  600          —
                                                                                                  2013-07   L6/3.0L    w/o AGM, Option 3                570          H6 (48) 18, 50, 54
1995-92   L6/2.5L                                  575          —
                                                                                                  2013      L6/3.0L                                     570          H6 (48) 18, 50, 54, 56
1995-92   L6/2.5L                                  650          —
                                                                                                  2013      L6/3.0L    Opt                              760          H6 (48) AGM 18, 33, 50, 54, 56
1995-92   L6/2.5L                                  650          —
                                                                                                  2013      L6/3.0L    Opt                              720          H8 (49) 18, 50, 54, 56
BMW 328 Series                                                                                    2013      L6/3.0L    Opt                              640          H7 (94R) 18, 50, 54, 56
2018-16   L4/2.0L    Dsl, Opt                      800          H7 (94R) AGM 33, 50, 54, 55, 56   2013      L6/3.0L    Option 2                         900          H8 (49) AGM 18, 33, 50, 54, 56
2018-14   L4/2.0L    Dsl                           760          H6 (48) AGM 33, 50, 54, 55, 56
                                                                                                     BMW 340i
2018      L4/2.0L    Dsl, Opt                      900          —
                                                                                                     2018-16 L6/3.0L                               760        H6 (48) AGM 33, 50, 54, 55, 56
2016-15   L4/2.0L                                  800          H7 (94R) AGM      33, 50, 54, 55, 56
                                                                                                     2018-16 L6/3.0L   Opt                         800        H7 (94R) AGM 33, 50, 54, 55, 56
2016-15   L4/2.0L    Opt                           900          H8 (49) AGM     33, 50, 54, 55, 56
                                                                                                     2016    L6/3.0L   Opt                         900        H8  (49) AGM 33, 50, 54, 55, 56
2016-14   L4/2.0L                                  900          H8 (49) AGM 33, 50, 54, 55, 56
2016-14   L4/2.0L    Dsl, Opt                      900          H8 (49) AGM     33, 50, 54, 55, 56   BMW     340i  GT xDrive
2015-14   L4/2.0L    Aux, Dsl                      40 Ah        —                                    2018-17 L6/3.0L                               900        H8 (49) AGM 33, 50, 54, 55, 56
2015-12   L4/2.0L    Aux Battery                   40 Ah        —                                    BMW 340i xDrive
2015      L4/2.0L    Opt                           850          H8 (49) AGM 33, 50, 54, 55, 56       2018-16 L6/3.0L                               760        H6 (48) AGM 33, 50, 54, 55, 56
2014-13   L4/2.0L                                  800          H7 (94R) AGM      18, 33, 50, 54, 56
                                                                                                     2018-16 L6/3.0L   Opt                         800        H7 (94R) AGM 33, 50, 54, 55, 56
2014-12   L4/2.0L    Opt                           850          H8 (49) AGM 18, 33, 50, 54, 56       2016    L6/3.0L   Opt                         900        H8 (49) AGM 33, 50, 54, 55, 56
2014      L4/2.0L    Option 1                      850          H8 (49) AGM 18, 33, 50, 54, 56       BMW 428i
2014      L4/2.0L    Option 2                      800          H7 (94R) AGM 18, 33, 50, 54, 56
                                                                                                     2016-14 L4/2.0L                               900        H8 (49) AGM 33, 50, 54, 55, 56
2013      L6/3.0L                                  570          H6 (48) 18, 50, 54, 56

2013      L6/3.0L    Opt                           760          H6 (48) AGM     18, 33, 50, 54, 56   BMW     428i  xDrive
2013      L6/3.0L    Opt                           720          H8 (49) 18, 50, 54, 56               2016    L4/2.0L                               900        H8 (49) AGM 33, 50, 54, 55, 56
2013      L6/3.0L    Opt                           850          H8 (49) AGM     18, 33, 50, 54, 56   2015-14 L4/2.0L   Conv                        900        H8 (49) AGM 33, 50, 54, 55, 56
2013      L6/3.0L    Opt                           900          H8 (49) AGM     18, 33, 50, 54, 56   2015-14 L4/2.0L   Coupe                       850         H8 (49) AGM 33, 50, 54, 55, 56
2013      L6/3.0L    Opt                           640          H7 (94R) 18, 50, 54, 56              BMW 428i xDrive Gran Coupe
2012-09   L6/3.0L    AGM, Option 3                 900          H8 (49) AGM 18, 33, 50, 54, 56       2016-15 L4/2.0L                               900        H8 (49) AGM 33, 50, 54, 55, 56
2012-09   L6/3.0L    w/o AGM, Option 3             640          H7 (94R) 18, 50, 54, 56              BMW 430i
2012-07   L6/3.0L    AGM, Option 2                 850          H8 (49) AGM 18, 33, 50, 54, 56       2018-17 L4/2.0L                               900        H8 (49) AGM 33, 50, 54, 55, 56
2012-07   L6/3.0L    w/AGM, Option 1               760          H6 (48) AGM     18, 33, 50, 54

2012-07   L6/3.0L    w/AGM, Option 2               850          H8 (49) AGM     18, 33, 50, 54, 56   BMW     430i  Gran Coupe
2012-07   L6/3.0L    w/AGM, Option 3               900          H8 (49) AGM 18, 33, 50, 54, 56       2018-17 L4/2.0L                               900        H8 (49) AGM 33, 50, 54, 55, 56
2012-07   L6/3.0L    w/o AGM, Option 1             570          H6 (48) 18, 50, 54                   BMW 430i xDrive
2012-07   L6/3.0L    w/o AGM, Option 2             720          H8 (49) 18, 50, 54 MOYER_DEPO                  000327
                                                                                                     2018-17 L4/2.0L                               900        H8 (49) AGM 33, 50, 54, 55, 56
                                                                                                                              See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                               19
                                                         ORIGINAL               GROUP SIZE                                                             ORIGINAL               GROUP SIZE
     YEAR      ENGINE                 OPTIONS           EQUIPMENT                (NOTES)                   YEAR      ENGINE                 OPTIONS   EQUIPMENT                (NOTES)
                                                        CCA/RATING                                                                                    CCA/RATING
   BMW 430i xDrive Gran Coupe                                                                           BMW 530e xDrive
   2018-17 L4/2.0L                                      900          H8 (49) AGM 33, 50, 54, 55, 56      2018      L4/2.0L    Hybrid                  900          H8 (49) AGM 33, 50, 54, 55, 56
   BMW 435i                                                                                              2018      L4/2.0L    Hybrid, Aux             60 Ah        H5 (47) AGM 33, 50, 55, 56
   2016      L6/3.0L                                    900          H8 (49) AGM 33, 50, 54, 55, 56     BMW 530i xDrive
   2015-14   L6/3.0L    Conv                            900          H8 (49) AGM 33, 50, 54, 55, 56      2018-17   L4/2.0L                            680          —
   2015      L6/3.0L    Coupe                           850          H8 (49) AGM 33, 50, 54, 55, 56      2018-17   L4/2.0L    Aux Battery             12 Ah        —
   2014      L6/3.0L                                    850          H8 (49) AGM 18, 33, 50, 54, 56      2018-17   L4/2.0L    Opt                     760          H6 (48) AGM 33, 50, 54, 55, 56
   BMW 435i Gran Coupe                                                                                   2018-17   L4/2.0L    Opt                     900          H8 (49) AGM 33, 50, 54, 55, 56
   2016-15 L6/3.0L                                      900          H8 (49) AGM 33, 50, 54, 55, 56      2018-17   L4/2.0L    Opt                     950          H9 (95R) AGM 33, 50, 54, 55, 56
   BMW 435i xDrive                                                                                      BMW 535 Series
   2016      L6/3.0L                                    900          H8 (49) AGM 33, 50, 54, 55, 56      2017-15   L6/3.0L                            850          H8 (49) AGM 33, 50, 54, 55, 56
   2015      L6/3.0L    Conv                            900          H8 (49) AGM 33, 50, 54, 55, 56      2015-14   L6/3.0L    Opt                     950          H9 (95R) AGM 33, 50, 54, 55, 56
   2015      L6/3.0L    Coupe                           850          H8 (49) AGM 33, 50, 54, 55, 56      2014      L6/3.0L                            850          H8 (49) AGM 18, 33, 50, 54, 56
   2014      L6/3.0L                                    850          H8 (49) AGM 18, 33, 50, 54, 56      2014      L6/3.0L    Option 1                850          H8 (49) AGM 18, 33, 50, 54, 56
   BMW 435i xDrive Gran Coupe                                                                            2014      L6/3.0L    Option 2                900          H8 (49) AGM 18, 33, 50, 54, 56
                                                                                                         2013-11   L6/3.0L    w/AGM, Option 3         800          H7 (94R) AGM 18, 33, 50, 54
   2016-15 L6/3.0L                                      900          H8 (49) AGM 33, 50, 54, 55, 56
                                                                                                         2013-11   L6/3.0L    w/o AGM                 950          —
   BMW 440i                                                                                              2013-10   L6/3.0L    w/AGM, Option 1         900          H8 (49) AGM 18, 33, 50, 54, 56
   2018-17 L6/3.0L                                      900          H8 (49) AGM 33, 50, 54, 55, 56      2013-08   L6/3.0L    w/AGM, Option 2         850          H8 (49) AGM 18, 33, 50, 54, 56
   BMW 440i Gran Coupe                                                                                   2010-08   L6/3.0L    w/o AGM, Option 1       720          H8 (49) 18, 50, 54
   2018-17 L6/3.0L                                      900          H8 (49) AGM 33, 50, 54, 55, 56      2010-08   L6/3.0L    w/o AGM, Option 2       640          H7 (94R) 18, 50, 54
   BMW 440i xDrive                                                                                       2010-08   L6/3.0L    w/o AGM, Option 3       850          —
   2018-17 L6/3.0L                                      900          H8 (49) AGM 33, 50, 54, 55, 56      1993-90   L6/3.5L                            800          —
   BMW 440i xDrive Gran Coupe                                                                           BMW 540i
   2018-17 L6/3.0L                                      900          H8 (49) AGM 33, 50, 54, 55, 56      2018-17   L6/3.0L                            680          —
                                                                                                         2018-17   L6/3.0L    Aux Battery             12 Ah        —
   BMW 525 Series
                                                                                                         2018-17   L6/3.0L    Opt                     760          H6 (48) AGM 33, 50, 54, 55, 56
   2007-06   L6/3.0L    Option 1                        720          H8 (49) 18, 50, 54
                                                                                                         2018-17   L6/3.0L    Opt                     900          H8 (49) AGM 33, 50, 54, 55, 56
   2007-06   L6/3.0L    Option 2                        850          —
                                                                                                         2018-17   L6/3.0L    Opt                     950          H9 (95R) AGM 33, 50, 54, 55, 56
   2007-06   L6/3.0L    Option 3                        640          H7 (94R) 18, 50, 54
                                                                                                         2003-02   V8/4.4L                            720          H8 (49) 18, 50
   2005-02   L6/2.5L    Option 3                        640          H7 (94R) 18, 50, 54
                                                                                                         2003      V8/4.4L    w/AGM                   900          H8 (49) AGM 18, 33, 50
   2005      L6/2.5L    Opt                             900          —
                                                                                                         2001-97   V8/4.4L                            760          H6 (48) AGM 50
   2004-02   L6/2.5L    Option 1                        720          H8 (49) 18, 50, 54
                                                                                                         1995-94   V8/4.0L                            800          —
   2004-02   L6/2.5L    Option 2                        850          —
   2001      L6/2.5L                                    760          —                                  BMW 540i xDrive
   1995-91   L6/2.5L                                    650          —                                   2018-17   L6/3.0L                            680          —
   1995-93   L6/2.5L                                    800          —                                   2018-17   L6/3.0L    Aux Battery             12 Ah        —
   1993      L6/2.5L    Opt                             800          —                                   2018-17   L6/3.0L    Opt                     760          H6 (48) AGM 33, 50, 54, 55, 56
   1993      L6/2.5L    Opt                             800          —                                   2018-17   L6/3.0L    Opt                     900          H8 (49) AGM 33, 50, 54, 55, 56
   BMW 528 Series                                                                                        2018-17   L6/3.0L    Opt                     950          H9 (95R) AGM 33, 50, 54, 55, 56
   2016-15   L4/2.0L                                    850          H8 (49) AGM 33, 50, 54, 55, 56     BMW 545i
   2015-14   L4/2.0L    Opt                             950          H9 (95R) AGM 33, 50, 54, 55, 56     2005-04   V8/4.4L    Opt                     720          H8 (49) 50, 54, 55, 56
   2014      L4/2.0L                                    850          H8 (49) AGM 18, 33, 50, 54, 56      2005-04   V8/4.4L    Opt                     850          H8 (49) AGM 33, 50, 54, 55, 56
   2014      L4/2.0L    Opt                             900          H8 (49) AGM 18, 33, 50, 54, 56      2005      V8/4.4L                            640          H7 (94R) 18, 50
   2013-12   L4/2.0L    w/AGM, Option 1                 850          H8 (49) AGM 18, 33, 50, 54          2005      V8/4.4L                            850          —
   2013-12   L4/2.0L    w/AGM, Option 2                 900          H8 (49) AGM 18, 33, 50, 54, 56      2004      V8/4.4L                            850          —
   2013-12   L4/2.0L    w/AGM, Option 3                 800          H7 (94R) AGM 18, 33, 50, 54         2004      V8/4.4L    Opt                     640          H7 (94R) 50, 54, 55, 56
   2013-12   L4/2.0L    w/o AGM                         950          —                                  BMW 550 Series
   2011-10   L6/3.0L    w/AGM, Option 1                 850          H8 (49) AGM 18, 33, 50, 54          2017-15   V8/4.4L                            850          H8 (49) AGM 33, 50, 54, 55, 56
   2011-10   L6/3.0L    w/AGM, Option 2                 900          H8 (49) AGM 18, 33, 50, 54, 56      2015-14   V8/4.4L    Opt                     950          H9 (95R) AGM 33, 50, 54, 55, 56
   2011-10   L6/3.0L    w/AGM, Option 3                 800          H7 (94R) AGM 18, 33, 50, 54         2014-13   V8/4.4L                            900          H8 (49) AGM 18, 33, 50, 54, 56
   2011-10   L6/3.0L    w/o AGM                         950          —                                   2014-10   V8/4.4L                            900          H8 (49) AGM 18, 33, 54
   2009-08   L6/3.0L    w/AGM                           850          H8 (49) AGM 18, 33, 50, 54, 56      2014-10   V8/4.4L    Opt                     850          H8 (49) AGM 18, 33, 50, 54, 56
   2009-08   L6/3.0L    w/o AGM, Option 1               720          H8 (49) 18, 50, 54                  2014      V8/4.4L                            850          H8 (49) AGM 18, 33, 50, 54, 56
   2009-08   L6/3.0L    w/o AGM, Option 2               640          H7 (94R) 18, 50, 54                 2013-11   V8/4.4L    w/AGM, Option 1         900          H8 (49) AGM 18, 33, 50, 54
   2009-08   L6/3.0L    w/o AGM, Option 3               850          —                                   2013-11   V8/4.4L    w/AGM, Option 2         850          H8 (49) AGM 18, 33, 50, 54
   2000-97   L6/2.8L                                    760          —                                   2013-11   V8/4.4L    w/o AGM                 950          —
   BMW 530 Series                                                                                        2010-06   V8/4.8L    w/o AGM, Option 1       720          H8 (49) 18, 50, 54
   2018-17   L4/2.0L                                    680          —                                   2010-06   V8/4.8L    w/o AGM, Option 2       850          —
   2018-17   L4/2.0L    Aux Battery                     12 Ah        —                                   2010-06   V8/4.8L    w/o AGM, Option 3       640          H7 (94R) 18, 50, 54
   2018-17   L4/2.0L    Opt                             760          H6 (48) AGM 33, 50, 54, 55, 56      2010-06   V8/4.8L    w/o AGM, Option 4       850          —
   2018-17   L4/2.0L    Opt                             900          H8 (49) AGM 33, 50, 54, 55, 56     BMW 640 Series
   2018-17   L4/2.0L    Opt                             950          H9 (95R) AGM 33, 50, 54, 55, 56    2018-16 L6/3.0L                               950          H9 (95R) AGM 33, 50, 54, 55, 56
   2007-02   L6/3.0L    Option 2                        640          H7 (94R) 18, 50, 54                2015-13 L6/3.0L       Opt                     950          H9 (95R) AGM 33, 50, 54, 55, 56
   2007-02   L6/3.0L    Option 3                        850          —                                  2015    L6/3.0L                               850          H8 (49) AGM 33, 50, 54, 55, 56
   2007-02   L6/3.0L    w/AGM                           850          H8 (49) AGM 18, 33, 50, 54, 56     2015    L6/3.0L       Aux Battery             200          —
   2007-01   L6/3.0L    Option 1                        720          H8 (49) 18, 50, 54                 2014-13 L6/3.0L       Opt                     850          H8 (49) AGM 18, 33, 50, 54, 56
   1995-94   V8/3.0L                                    800          —                                  2014    L6/3.0L                               900          H8 (49) AGM 18, 33, 54
   BMW 530e                                                                                             2013    L6/3.0L       Opt                     900          H8 (49) AGM 18, 33, 54
   2018      L4/2.0L     Hybrid                           900    H8 (49) AGM 33, 50, 54, 55, 56         2012    L6/3.0L       w/AGM, Option 1         900          H8 (49) AGM 18, 33, 50, 54
   2018      L4/2.0L     Hybrid                           105 Ah —                                      2012    L6/3.0L       w/AGM, Option 2         850          H8 (49) AGM 18, 33, 50, 54, 56
   2018      L4/2.0L     Hybrid, Aux                      60 Ah H5 MOYER_DEPO
                                                                    (47) AGM 33, 50, 55, 56            000328
                                                                                                        2012    L6/3.0L       w/o AGM                 950          —
   See page 80 for Footnotes. Selection may vary by warehouse.
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20                                                                                                  Automotive/Light Truck
                                                      ORIGINAL               GROUP SIZE                                                                     ORIGINAL               GROUP SIZE
  YEAR      ENGINE                 OPTIONS           EQUIPMENT                (NOTES)                  YEAR      ENGINE                   OPTIONS          EQUIPMENT                (NOTES)
                                                     CCA/RATING                                                                                            CCA/RATING
BMW 640i xDrive Gran Turismo                                                                         BMW 850 Series (continued)
2018      L6/3.0L                                    900          H8 (49) AGM 33, 50, 54, 55, 56     1997-95   V12/5.4L Opt                                600          —
2018      L6/3.0L    Aux w/Executive Drive           60 Ah        H5 (47) AGM 33, 50, 55, 56         1997-95   V12/5.4L                                    800          —
BMW 645Ci                                                                                            1995-94   V12/5.6L Opt                                600          —
2005-04 V8/4.4L                                      850          —                                  1995-94   V12/5.6L                                    800          —
BMW 650 Series                                                                                       BMW ActiveHybrid 3
2018-16   V8/4.4L                                    950          H9 (95R) AGM 33, 50, 54, 55, 56    2015      L6/3.0L    Hybrid                           800          H7 (94R) AGM 33, 50, 54, 55, 56
2015-12   V8/4.4L                                    850          H8 (49) AGM 18, 33, 54             2015      L6/3.0L    Hybrid, Opt                      850          H8 (49) AGM 33, 50, 54, 55, 56
2015-13   V8/4.4L    Opt                             950          H9 (95R) AGM 33, 50, 54, 55, 56    2014      L6/3.0L    Hybrid                           800          H7 (94R) AGM 18, 33, 50, 54, 56
2014      V8/4.4L                                    900          H8 (49) AGM 18, 33, 54             2014      L6/3.0L    Hybrid, Opt                      850          H8 (49) AGM 18, 33, 50, 54, 56
2014      V8/4.4L    Opt                             850          H8 (49) AGM 18, 33, 50, 54, 56     2013      L6/3.0L                                     800          H7 (94R) AGM 18, 33, 50, 54
2012      V8/4.4L    w/AGM                           900          H8 (49) AGM 18, 33, 50, 54         2013      L6/3.0L    Opt                              850          H8 (49) AGM 18, 33, 50, 54, 56
2012      V8/4.4L    w/o AGM                         950          —                                  BMW ActiveHybrid 5
2010-06   V8/4.8L    w/AGM, Option 1                 900          H8 (49) AGM 18, 33, 50, 54         2016-15   L6/3.0L    Hybrid                           850          H8 (49) AGM 33, 50, 54, 55, 56
2010-06   V8/4.8L    w/AGM, Option 2                 850          H8 (49) AGM 18, 33, 50, 54, 56     2015-14   L6/3.0L    Hybrid, Opt                      950          H9 (95R) AGM 33, 50, 54, 55, 56
2007-06   V8/4.8L    w/o AGM                         850          —                                  2014      L6/3.0L    Hybrid                           900          H8 (49) AGM 18, 33, 50, 54, 56
BMW 740 Series                                                                                       2014      L6/3.0L    Hybrid, Opt                      850          H8 (49) AGM 18, 33, 50, 54, 56
2018      L6/3.0L                                    900          H8 (49) AGM 33, 50, 54, 55, 56     2013-12   L6/3.0L    w/AGM                            950          H9 (95R) AGM 18, 33, 50, 54, 56
2018-17   L6/3.0L    Aux w/Executive Drive           60 Ah        H5 (47) AGM 33, 50, 55, 56         2013-12   L6/3.0L    w/AGM, Option 2                  850          H8 (49) AGM 18, 33, 50, 54, 56
2017-16   L6/3.0L                                    680          —                                  2013-12   L6/3.0L    w/AGM, Option 3                  900          H8 (49) AGM 18, 33, 50, 54, 56
2016      L6/3.0L    Aux Battery                     12 Ah        —                                  2013-12   L6/3.0L    w/o AGM                          800          H7 (94R) 18, 50, 54, 56
2015      L6/3.0L                                    850          H8 (49) AGM 33, 50, 54, 55, 56     BMW ActiveHybrid 7
2014-11   L6/3.0L                                    900          H8 (49) AGM 18, 33, 54             2015      L6/3.0L    Hybrid                           850          H8 (49) AGM 33, 50, 54, 55, 56
2014-11   L6/3.0L    Opt                             850          H8 (49) AGM 18, 33, 50, 54, 56     2014-13   L6/3.0L    Hybrid, Opt                      900          H8 (49) AGM 18, 33, 50, 54, 56
2001      V8/4.4L                                    850          —                                  2014      L6/3.0L    Hybrid                           850          H8 (49) AGM 18, 33, 50, 54, 56
2000-96   V8/4.4L                                    950          —                                  2013      L6/3.0L                                     800          H7 (94R) AGM 18, 33, 50, 54
1994-93   V8/4.0L                                    800          —
                                                                                                     2013      L6/3.0L    Opt                              850          H8 (49) AGM 18, 33, 50, 54, 56
1995      V8/4.0L                                    950          —
                                                                                                     BMW Alpina B6 Gran Coupe
BMW 740e xDrive
                                                                                                     2016      V8/4.4L                                     950          H9 (95R) AGM 33, 50, 54, 55, 56
2018    L4/2.0L      Hybrid                          600          H8 (49) AGM 33, 50, 54, 55, 56
2018-17 L4/2.0L      Hybrid, Aux                     60 Ah        H5 (47) AGM 33, 50, 55, 56         BMW Alpina B6 xDrive Gran Coupe
BMW 740i xDrive                                                                                      2018-15 V8/4.4L                                       950          H9 (95R) AGM 33, 50, 54, 55, 56
2018-17 L6/3.0L      Aux w/Executive Drive           60 Ah        H5 (47) AGM     33, 50, 55, 56     BMW Alpina B7
2018    L6/3.0L                                      900          H8 (49) AGM 33, 50, 54, 55, 56     2018-17   V8/4.4L                                     900          H8 (49) AGM 33, 50, 54, 55, 56
2017    L6/3.0L                                      680          —                                  2015      V8/4.4L                                     850          H8 (49) AGM 33, 50, 54, 55, 56
BMW 740Ld xDrive                                                                                     2014      V8/4.4L                                     900          H8 (49) AGM 18, 33, 54
2015      L6/3.0L                                    850          H8 (49) AGM 33, 50, 54, 55, 56     2014      V8/4.4L    Opt                              850          H8 (49) AGM 18, 33, 50, 54, 56
                                                                                                     2013-11   V8/4.4L    w/AGM                            850          H8 (49) AGM 18, 33, 50, 54
BMW 745i, 745 Li                                                                                     2013-11   V8/4.4L    w/AGM, Incl xDrive               900          H8 (49) AGM 18, 33, 50, 54
2005-02   V8/4.4L    w/AGM                           900          H8 (49) AGM 18, 33, 50, 56         2008-07   V8/4.4L                                     720          H8 (49) 50
2003      V8/4.4L                                    800          —
2002      V8/4.4L                                    800          H9 (95R) AGM 33, 50, 55
                                                                                                     BMW Alpina B7 xDrive
2002      V8/4.4L                                    850          —                                  2015      V8/4.4L                                     850          H8 (49) AGM 33, 50, 54, 55, 56
                                                                                                     2014      V8/4.4L                                     900          H8 (49) AGM 18, 33, 54
BMW 750 Series
                                                                                                     2014      V8/4.4L    Opt                              850          H8 (49) AGM 18, 33, 50, 54, 56
2018      V8/4.4L                                    900          H8 (49) AGM 33, 50, 54, 55, 56
                                                                                                     2013-11   V8/4.4L    w/AGM                            850          H8 (49) AGM 18, 33, 50, 54
2018-17   V8/4.4L    Aux w/Executive Drive           60 Ah        H5 (47) AGM 33, 50, 55, 56
                                                                                                     2013-11   V8/4.4L    w/AGM, Incl xDrive               900          H8 (49) AGM 18, 33, 50, 54
2017-16   V8/4.4L                                    680          —
2015      V8/4.4L                                    850          H8 (49) AGM 33, 50, 54, 55, 56     BMW Alpina B7L
2014-11   V8/4.4L                                    900          H8 (49) AGM 18, 33, 54             2015      V8/4.4L                                     850          H8 (49) AGM 33, 50, 54, 55, 56
2014-10   V8/4.4L    Opt                             850          H8 (49) AGM 18, 33, 50, 54, 56     2014      V8/4.4L                                     900          H8 (49) AGM 18, 33, 54
2012-11   V8/4.4L    w/AGM Opt 1 Incl ActiveHybrid   900          H8 (49) AGM 18, 33, 50, 54         2014      V8/4.4L    Opt                              850          H8 (49) AGM 18, 33, 50, 54, 56
2012-11   V8/4.4L    w/AGM Opt 2 Incl ActiveHybrid   850          H8 (49) AGM 18, 33, 50, 54         2013-11   V8/4.4L    w/AGM                            850          H8 (49) AGM 18, 33, 50, 54
2011-09   V8/4.4L    w/AGM, Option 1                 900          H8 (49) AGM 18, 33, 50, 54         2013-11   V8/4.4L    w/AGM, Incl xDrive               900          H8 (49) AGM 18, 33, 50, 54
2009      V8/4.4L    Opt                             850          H8 (49) AGM 33, 50, 54, 55, 56     BMW Alpina B7L xDrive
2008-06   V8/4.8L    w/AGM, Option 1                 900          H8 (49) AGM 18, 33, 50, 54         2015      V8/4.4L                                     850          H8 (49) AGM 33, 50, 54, 55, 56
2008-06   V8/4.8L    w/AGM, Option 2                 850          H8 (49) AGM 18, 33, 50, 54         2014      V8/4.4L                                     900          H8 (49) AGM 18, 33, 54
2001      V12/5.4L                                   850          —                                  2014      V8/4.4L    Opt                              850          H8 (49) AGM 18, 33, 50, 54, 56
2001      V12/5.4L   Aux Battery                     650          H6 (48) 50                         2013-11   V8/4.4L    w/AGM                            850          H8 (49) AGM 18, 33, 50, 54
2000-95   V12/5.4L                                   950          —                                  2013-11   V8/4.4L    w/AGM, Incl xDrive               900          H8 (49) AGM 18, 33, 50, 54
BMW 760i, 760Li                                                                                      BMW i3
2015      V12/6.0L                                   850          H8 (49) AGM 33, 50, 54, 55, 56     2018-14              Electric                         40 Ah        —
2014      V12/6.0L                                   900          H8 (49) AGM 18, 33, 54             2018-14              Electric, Opt                    20 Ah        —
2014      V12/6.0L Opt                               850          H8 (49) AGM 18, 33, 50, 54, 56     2018    L2/0.6L      Hybrid                           40 Ah        —
2013-10   V12/6.0L w/AGM, Option 1                   900          H8 (49) AGM 18, 33, 50, 54         2018    L2/0.6L      Hybrid, Opt                      20 Ah        —
2013-10   V12/6.0L w/AGM, Option 2                   850          H8 (49) AGM 18, 33, 50, 54
2008-06   V12/6.0L                                   720          H8 (49) 18, 50
                                                                                                     BMW i3s
2005-03   V12/6.0L                                   900          —                                  2018      L2/0.6L    Hybrid                           20 Ah        —
BMW 850 Series                                                                                       BMW i8
1994-93   V12/5.0L Opt                               600          —                                  2017-14 L3/1.5L      Hybrid                           50 Ah        —
1992-91   V12/5.0L Opt                               600          —                                  BMW M2
1994-93   V12/5.0L                                   800          —                                  2018-16 L6/3.0L                                       800          H7 (94R) AGM 33, 50, 54, 55, 56
1992-91   V12/5.0L                                   800          —                     MOYER_DEPO      000329
                                                                                              2017-16 L6/3.0L Opt                                          900          H8 (49) AGM 33, 50, 54, 55, 56
                                                                                                                                      See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                                21
                                                          ORIGINAL               GROUP SIZE                                                             ORIGINAL               GROUP SIZE
     YEAR      ENGINE                OPTIONS             EQUIPMENT                (NOTES)                   YEAR      ENGINE                 OPTIONS   EQUIPMENT                (NOTES)
                                                         CCA/RATING                                                                                    CCA/RATING
   BMW M235i                                                                                             BMW M760i xDrive
   2016-14   L6/3.0L    Conv or HD                       900          H8 (49) AGM 33, 50, 54, 55, 56      2018-17 V12/6.6L                             900          H8 (49) AGM 33, 50, 54, 55, 56
   2016      L6/3.0L                                     800          H7 (94R) AGM 33, 50, 54, 55, 56     2018-17 V12/6.6L Aux Battery                 60 Ah        H5 (47) AGM 33, 50, 55, 56
   2015      L6/3.0L    Conv                             900          H8 (49) AGM 33, 50, 54, 55, 56     BMW X1
   2015      L6/3.0L    Coupe                            800          H7 (94R) AGM 33, 50, 54, 55, 56     2018-16   L4/2.0L    28i                     800          H7 (94R) AGM 33, 50, 54, 55, 56
   2015      L6/3.0L    Coupe, Opt                       850          H8 (49) AGM 33, 50, 54, 55, 56      2018-16   L4/2.0L    28iX                    760          H6 (48) AGM 33, 50, 54, 55, 56
   2014      L6/3.0L                                     800          H7 (94R) AGM 18, 33, 50, 54, 56     2015      L4/2.0L                            570          H6 (48) 50, 54, 55, 56
   2014      L6/3.0L    Opt                              850          H8 (49) AGM 18, 33, 50, 54, 56      2015      L4/2.0L    Opt                     760          H6 (48) AGM 33, 50, 54, 55, 56
   BMW M235i xDrive                                                                                       2015      L4/2.0L    Opt                     640          H7 (94R) 50, 54, 55, 56
   2016-15 L6/3.0L                                       800          H7 (94R) AGM 33, 50, 54, 55, 56     2015      L4/2.0L    Opt                     800          H7 (94R) AGM 33, 50, 54, 55, 56
   2016    L6/3.0L      Conv or HD                       900          H8 (49) AGM 33, 50, 54, 55, 56      2015      L6/3.0L                            570          H6 (48) 50, 54, 55, 56
   2015    L6/3.0L      Opt                              850          H8 (49) AGM 33, 50, 54, 55, 56      2015      L6/3.0L    Opt                     760          H6 (48) AGM 33, 50, 54, 55, 56
   BMW M240i                                                                                              2015      L6/3.0L    Opt                     640          H7 (94R) 50, 54, 55, 56
   2018-17 L6/3.0L                                       800          H7 (94R) AGM 33, 50, 54, 55, 56     2015      L6/3.0L    Opt                     800          H7 (94R) AGM 33, 50, 54, 55, 56
   BMW M240i xDrive                                                                                       2014      L4/2.0L    Option 1                760          H6 (48) AGM 18, 33, 50, 54, 56
   2018-17 L6/3.0L                                       800          H7 (94R) AGM 33, 50, 54, 55, 56     2014      L4/2.0L    Option 2                640          H7 (94R) 18, 50, 54, 56
                                                                                                          2014      L4/2.0L    Option 3                800          H7 (94R) AGM 18, 33, 50, 54, 56
   BMW M3                                                                                                 2014      L6/3.0L    Option 1                760          H6 (48) AGM 18, 33, 50, 54, 56
   2018-16   L6/3.0L    Li-ion Battery Only              60 Ah        —                                   2014      L6/3.0L    Option 2                640          H7 (94R) 18, 50, 54, 56
   2013-08   V8/4.0L    w/AGM, Option 1                  760          H6 (48) AGM 18, 33, 50, 54          2014      L6/3.0L    Option 3                800          H7 (94R) AGM 18, 33, 50, 54, 56
   2013-08   V8/4.0L    w/AGM, Option 2                  900          H8 (49) AGM 18, 33, 50, 54, 56      2014-13   L4/2.0L                            570          H6 (48) 18, 54
   2013-08   V8/4.0L    w/AGM, Option 3                  850          H8 (49) AGM 18, 33, 50, 54, 56      2014-13   L6/3.0L                            570          H6 (48) 18, 54
   2013-08   V8/4.0L    w/o AGM, Option 1                640          H7 (94R) 18, 50, 54                 2013      L4/2.0L    Opt                     760          H6 (48) AGM 18, 33, 50, 54, 56
   2013-08   V8/4.0L    w/o AGM, Option 2                720          H8 (49) 18, 50, 54, 56              2013      L4/2.0L    w/AGM                   800          H7 (94R) AGM 18, 33, 50, 54, 56
   2013-08   V8/4.0L    w/o AGM, Option 3                570          H6 (48) 18, 50, 54                  2013      L4/2.0L    w/o AGM                 640          H7 (94R) 18, 50, 54, 56
   2006      L6/3.2L                                     570          H6 (48) 18, 50                      2013      L6/3.0L    Opt                     760          H6 (48) AGM 18, 33, 50, 54, 56
   2005-02   L6/3.2L                                     640          H7 (94R) 50                         2013      L6/3.0L    w/AGM                   800          H7 (94R) AGM 18, 33, 50, 54, 56
   2001      L6/3.2L                                     765          H7 (94R) 50                         2013      L6/3.0L    w/o AGM                 640          H7 (94R) 18, 50, 54, 56
   1994      L6/3.0L                                     575          —                                   2012      L4/2.0L    w/AGM, Option 1         760          H6 (48) AGM 18, 33, 50, 54
   1995      L6/3.0L                                     650          —
                                                                                                          2012      L4/2.0L    w/AGM, Option 2         800          H7 (94R) AGM 18, 33, 50, 54
   1995      L6/3.0L                                     75 Ah        —
                                                                                                          2012      L4/2.0L    w/o AGM, Option 1       570          H6 (48) 18, 50, 54
   1999-98   L6/3.2L                                     575          —
                                                                                                          2012      L4/2.0L    w/o AGM, Option 2       640          H7 (94R) 18, 50, 54
   1999-96   L6/3.2L                                     650          —
   1999-96   L6/3.2L                                     75 Ah        —                                  BMW X3
   BMW M4                                                                                                 2018-15   L4/2.0L                            850          H8 (49) AGM 33, 50, 54, 55, 56
                                                                                                          2018-15   L4/2.0L    Opt                     800          H7 (94R) AGM 33, 50, 54, 55, 56
   2018-16 L6/3.0L      Li-ion Battery Only              60 Ah        —
                                                                                                          2018-15   L6/3.0L                            850          H8 (49) AGM 33, 50, 54, 55, 56
   BMW M5                                                                                                 2018-14   L6/3.0L    Opt                     800          H7 (94R) AGM 33, 50, 54, 55, 56
   2018      V8/4.4L    Li-ion Battery Only              69 Ah        —                                   2017-16   L4/2.0L                            800          H7 (94R) AGM 33, 50, 54, 55, 56
   2016-15   V8/4.4L                                     850          H8 (49) AGM 33, 50, 54, 55, 56      2017-16   L4/2.0L    Dsl                     800          H7 (94R) AGM 33, 50, 54, 55, 56
   2015-12   V8/4.4L    Opt                              950          H9 (95R) AGM 33, 50, 54, 55, 56     2017-16   L4/2.0L    Dsl, Opt                850          H8 (49) AGM 33, 50, 54, 55, 56
   2014-12   V8/4.4L                                     900          H8 (49) AGM 18, 33, 54              2017-16   L4/2.0L    Opt                     850          H8 (49) AGM 33, 50, 54, 55, 56
   2014-12   V8/4.4L    Opt                              850          H8 (49) AGM 18, 33, 50, 54, 56      2015      L4/2.0L    Opt                     950          H9 (95R) AGM 33, 50, 54, 55, 56
   2010-06   V10/5.0L   w/AGM, Option 1                  850          H8 (49) AGM 18, 33, 50, 54, 56      2014-13   L4/2.0L                            900          H8 (49) AGM 18, 33, 50, 54, 56
   2010-06   V10/5.0L   w/o AGM, Opt                     640          H7 (94R) 18, 50, 54                 2014-13   L4/2.0L    Option 1                850          H8 (49) AGM 18, 33, 50, 54, 56
   2010-06   V10/5.0L   w/o AGM, Option 1                720          H8 (49) 18, 50, 54, 56              2014-13   L6/3.0L                            900          H8 (49) AGM 18, 33, 50, 54, 56
   2010-06   V10/5.0L   w/o AGM, Option 2                850          —                                   2014      L4/2.0L    Opt                     800          H7 (94R) AGM 18, 33, 50, 54, 56
   2003      V8/5.0L                                     800          —                                   2014      L6/3.0L    Opt                     900          —
   2002-01   V8/5.0L                                     850          —                                   2014      L6/3.0L    Option 3                850          H8 (49) AGM 18, 33, 50, 54, 56
   2000      V8/5.0L                                     950          —                                   2013      L4/2.0L    Opt                     950          —
   1993-91   L6/3.6L                                     800          —                                   2013      L4/2.0L    Option 2                800          H7 (94R) AGM 18, 33, 50, 54, 56
   BMW M550i xDrive                                                                                       2013      L6/3.0L    Opt                     950          —
   2018      V8/4.4L                                   900            H8 (49) AGM 33, 50, 54, 55, 56      2013      L6/3.0L    Option 1                850          H8 (49) AGM 18, 33, 50, 54, 56
   2018      V8/4.4L    Aux w/M Sports Suspension      60 Ah          H5 (47) AGM 33, 50, 55, 56          2013      L6/3.0L    Option 2                800          H7 (94R) AGM 18, 33, 50, 54, 56
   2018      V8/4.4L    Aux, Opt w/M Sports Suspension 50 Ah          —                                   2012-11   L6/3.0L    w/AGM, Option 2         800          H7 (94R) AGM 18, 33, 50, 54
   BMW M6                                                                                                 2012-11   L6/3.0L    w/o AGM                 950          —
   2018-16   V8/4.4L                                     950          H9 (95R) AGM 33, 50, 54, 55, 56     2012-04   L6/3.0L    w/AGM, Option 1         850          H8 (49) AGM 18, 33, 50, 54, 56
   2015      V8/4.4L                                     850          H8 (49) AGM 33, 50, 54, 55, 56      2012-04   L6/3.0L    w/AGM, Option 3         900          H8 (49) AGM 18, 33, 50, 54, 56
   2015-13   V8/4.4L    Opt                              950          H9 (95R) AGM 33, 50, 54, 55, 56     2010-04   L6/3.0L    w/o AGM, Option 1       720          H8 (49) 18, 50, 54, 56
   2014      V8/4.4L                                     900          H8 (49) AGM 18, 33, 50, 54, 56      2010-04   L6/3.0L    w/o AGM, Option 2       570          H6 (48) 18, 50, 54
   2014-12   V8/4.4L    Opt                              850          H8 (49) AGM 18, 33, 50, 54, 56      2006-04   L6/2.5L                            570          H6 (48) 18, 50, 56
   2013-12   V8/4.4L                                     900          H8 (49) AGM 18, 33, 54              2006-04   L6/2.5L    Opt                     850          H8 (49) AGM 33, 50, 54, 55, 56
   2012      V8/4.4L    Opt                              950          —                                   2006-04   L6/2.5L    Opt                     900          H8 (49) AGM 33, 50, 54, 55, 56
   2010-06   V10/5.0L   w/AGM, Option 1                  900          H8 (49) AGM 18, 33, 50, 54          2006      L6/2.5L    Opt                     720          H8 (49) 50, 54, 55, 56
   2010-06   V10/5.0L   w/AGM, Option 2                  850          H8 (49) AGM 18, 33, 50, 54          2005-04   L6/2.5L    Opt                     720          H8 (49) 18, 50, 56
   BMW M6 Gran Coupe                                                                                     BMW X4
   2018-16   V8/4.4L                                     950          H9 (95R) AGM 33, 50, 54, 55, 56     2018-15   L4/2.0L                            850          H8 (49) AGM 33, 50, 54, 55, 56
   2015      V8/4.4L                                     850          H8 (49) AGM 33, 50, 54, 55, 56      2018-15   L4/2.0L    Opt                     800          H7 (94R) AGM 33, 50, 54, 55, 56
   2015-14   V8/4.4L    Opt                              950          H9 (95R) AGM 33, 50, 54, 55, 56     2018-15   L6/3.0L                            850          H8 (49) AGM 33, 50, 54, 55, 56
   2014      V8/4.4L                                     850          H8 (49) AGM 18, 33, 50, 54, 56      2018-15   L6/3.0L    Opt                     800          H7 (94R) AGM 33, 50, 54, 55, 56
   BMW M760Li xDrive                                                                                     BMW X5
   2018      V12/6.6L                                     900         H8 (49) AGM 33, 50, 54, 55, 56      2018-16 L4/2.0L      Hybrid                  950          H9 (95R) AGM 33, 50, 54, 55, 56
   2018      V12/6.6L Aux Battery                         60 Ah        MOYER_DEPO
                                                                      H5 (47) AGM 33, 50, 55, 56        000330
                                                                                                         2018-16 L4/2.0L       Hybrid, Aux             50 Ah        —
   See page 80 for Footnotes. Selection may vary by warehouse.
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22                                                                                          Automotive/Light Truck
                                              ORIGINAL               GROUP SIZE                                                                    ORIGINAL               GROUP SIZE
  YEAR      ENGINE                 OPTIONS   EQUIPMENT                (NOTES)                  YEAR      ENGINE               OPTIONS             EQUIPMENT                (NOTES)
                                             CCA/RATING                                                                                           CCA/RATING
BMW X5 (continued)                                                                           BMW X6 (continued)
2018-16   L4/2.0L    Hybrid, Opt             900          H8 (49) AGM 33, 50, 54, 55, 56     2014-13   V8/4.4L    Opt                             850          H8 (49) AGM 18, 33, 50, 54, 56
2018-14   L6/3.0L    Aux, Dsl                50 Ah        —                                  2012-11   V8/4.4L                                    950          —
2018-14   L6/3.0L    Dsl                     950          H9 (95R) AGM 33, 50, 54, 55, 56    2012-09   V8/4.4L    w/AGM                           850          H8 (49) AGM 18, 33, 50
2018-14   L6/3.0L    Gas                     950          H9 (95R) AGM 33, 50, 54, 55, 56    2012-08   L6/3.0L                                    950          —
2018-14   L6/3.0L    Gas, Aux                50 Ah        —                                  2012-08   L6/3.0L    w/AGM                           570          H6 (48) AGM 18, 33, 50, 54
2018-14   L6/3.0L    Gas, Opt                900          H8 (49) AGM 33, 50, 54, 55, 56     2012-08   V8/4.4L    Opt                             570          H6 (48) 18, 50, 54
2018-14   V8/4.4L                            950          H9 (95R) AGM 33, 50, 54, 55, 56    2012      L6/3.0L    w/AGM                           850          H8 (49) AGM 18, 33, 50
2018-14   V8/4.4L    Aux Battery             50 Ah        —                                  2012      V8/4.4L    w/AGM                           950          H9 (95R) AGM 18, 33, 50
2018-11   L6/3.0L    Dsl, Opt                900          H8 (49) AGM 33, 50, 54, 55, 56     2011-10   V8/4.4L    Hybrid                          760          H6 (48) AGM 18, 33, 54
2018      V8/4.4L                            900          H8 (49) AGM 33, 50, 54, 55, 56     2011      L6/3.0L    Opt                             850          H8 (49) AGM 18, 33, 50
2017-14   V8/4.4L    Opt                     900          H8 (49) AGM 33, 50, 54, 55, 56     2010-09   V8/4.4L    w/AGM                           900          H8 (49) AGM 18, 33, 50
2017      L6/3.0L    US, Gas                 950          H9 (95R) AGM 33, 50, 54, 55, 56    2010-08   L6/3.0L    Option 1                        850          H8 (49) AGM 18, 33, 50, 54, 56
2013-11   L6/3.0L    Dsl, Opt                850          H8 (49) AGM 33, 50, 54, 55, 56     2010-08   L6/3.0L    Option 2                        900          H8 (49) AGM 18, 33, 50, 54, 56
2013      L6/3.0L    Dsl                     570          H6 (48) 50, 54, 55, 56             2010-08   V8/4.4L    Option 1                        850          H8 (49) AGM 18, 33, 50, 54, 56
2013      L6/3.0L    Dsl, Opt                900          H8 (49) AGM 18, 33, 50, 54, 56     2010-08   V8/4.4L    Option 2                        900          H8 (49) AGM 18, 33, 50, 54, 56
2013      L6/3.0L    Gas                     900          H8 (49) AGM 18, 33, 50, 54, 56     BMW Z3
2013      L6/3.0L    Gas, Opt                850          H8 (49) AGM 18, 33, 50, 54, 56     2002      L6/2.5L                                    570          H6 (48) 50
2013      L6/3.0L    Opt                     570          H6 (48) 18, 54                     2002      L6/3.0L                                    570          H6 (48) 50
2013      V8/4.4L                            570          H6 (48) 18, 50, 54, 56             2002      L6/3.2L                                    570          H6 (48) 50
2013      V8/4.4L    Opt 1                   900          H8 (49) AGM 18, 33, 50, 54, 56     2001-99   L6/2.5L                                    650          H6 (48) 50
2013      V8/4.4L    Opt 2                   850          H8 (49) AGM 18, 33, 50, 54, 56     2001-98   L6/3.2L                                    650          H6 (48) 50
2012-11   L6/3.0L    Dsl, w/o AGM Option     570          H6 (48) 18, 50, 54                 2001      L6/3.0L                                    650          H6 (48) 50
2012-11   L6/3.0L    Gas, w/o AGM, Opt 1     570          H6 (48) 18, 50, 54                 2000-97   L6/2.8L                                    650          H6 (48) 50
2012-11   L6/3.0L    Gas, w/o AGM, Opt 2     950          —                                  1998-96   L4/1.9L                                    650          H6 (48) 50
2012-11   V8/4.4L    w/o AGM, Option 2       950          —                                  BMW Z4
2012-10   V8/4.4L    w/AGM, Option 1         850          H8 (49) AGM 18, 33, 50, 56         2016-15   L4/2.0L                                    760          H6 (48) AGM 33, 50, 54, 55, 56
2012-10   V8/4.4L    w/AGM, Option 2         900          H8 (49) AGM 18, 33, 50, 56         2016-15   L4/2.0L    Opt                             800          H7 (94R) AGM 33, 50, 54, 55, 56
2012-09   L6/3.0L    Dsl                     950          —                                  2016-15   L6/3.0L                                    760          H6 (48) AGM 33, 50, 54, 55, 56
2012-09   L6/3.0L    w/AGM, Option 1         900          H8 (49) AGM 18, 33, 50, 54, 56     2016-15   L6/3.0L    Opt                             800          H7 (94R) AGM 33, 50, 54, 55, 56
2012-09   L6/3.0L    w/AGM, Option 2         850          H8 (49) AGM 18, 33, 50, 56         2014-13   L4/2.0L                                    760          H6 (48) AGM 18, 33, 50, 54, 56
2012      V8/4.4L    w/o AGM, Option 1       570          H6 (48) 18, 50, 54                 2014-13   L4/2.0L    Opt                             800          H7 (94R) AGM 18, 33, 50, 54, 56
2011      V8/4.4L                            570          H6 (48) AGM 33, 50, 54, 55         2014      L6/3.0L                                    760          H6 (48) AGM 18, 33, 50, 54, 56
2011      V8/4.4L    w/AGM, Option 4         750          H6 (48) AGM 18, 33, 50, 54         2014      L6/3.0L    Opt                             800          H7 (94R) AGM 18, 33, 50, 54, 56
2010-09   L6/3.0L    Option 1                850          H8 (49) AGM 18, 33, 50, 56         2013-09   L6/3.0L    w/AGM                           760          H6 (48) AGM 18, 33, 50, 54
2010-09   L6/3.0L    Option 2                900          H8 (49) AGM 18, 33, 50, 56         2013-09   L6/3.0L    w/AGM Option                    800          H7 (94R) AGM 18, 33, 50, 54
2010-07   V8/4.8L    w/AGM, Option 1         900          H8 (49) AGM 18, 33, 50, 54, 56     2012      L4/2.0L    w/AGM                           760          H6 (48) AGM 18, 33, 50, 54
2010-07   V8/4.8L    w/AGM, Option 2         850          H8 (49) AGM 18, 33, 50, 56         2012      L4/2.0L    w/AGM Option                    800          H7 (94R) AGM 18, 33, 50, 54
2010      L6/3.0L    Dsl, Opt                570          H6 (48) 18, 54                     2008-07   L6/3.0L    Opt                             570          H6 (48) 18, 50, 54, 56
2010      V8/4.4L    w/AGM, Option 3         570          H6 (48) AGM 18, 33, 50, 54         2008-06   L6/3.0L                                    480          H5 (47) 50, 54, 55, 56
2009      L6/3.0L    Dsl, Opt                570          H6 (48) 18                         2008-06   L6/3.0L    Opt                             640          H7 (94R) 18, 50, 54, 56
2008-07   L6/3.0L    w/AGM, Option 1         850          H8 (49) AGM 18, 33, 50, 54, 56     2008-06   L6/3.0L    w/AGM Option                    760          H6 (48) AGM 18, 33, 50, 54
2008-07   L6/3.0L    w/AGM, Option 2         900          H8 (49) AGM 18, 33, 50, 54, 56     2008-06   L6/3.2L                                    480          H5 (47) 18, 50
2006-04   V8/4.4L                            720          H8 (49) 18, 50                     2007      L6/3.0L    Opt                             760          H6 (48) AGM 18, 33, 50, 54, 56
2006-04   V8/4.8L                            720          H8 (49) 18, 50, 54                 2006      L6/3.0L    Opt                             570          H6 (48) 18, 50, 54
2006-04   V8/4.8L    Opt                     640          H7 (94R) 18, 50, 54                2005-04   L6/2.5L                                    480          H5 (47) 50
2006-01   L6/3.0L    Opt                     640          H7 (94R) 50, 54, 55, 56            2005-04   L6/2.5L    HD, Telematics                  640          H7 (94R) 50
2006-00   V8/4.4L    Opt                     640          H7 (94R) 50, 54, 55, 56            2005-04   L6/2.5L    Opt                             570          H6 (48) 50
2006      L6/3.0L                            720          H8 (49) 18, 50, 54                 2005-04   L6/3.0L                                    480          H5 (47) 50
2005-02   L6/3.0L                            640          H7 (94R) 50                        2005-04   L6/3.0L    Opt                             570          H6 (48) 50
2005-01   L6/3.0L                            720          H8 (49) 50, 54, 55, 56             2005-03   L6/3.0L    HD, Telematics                  640          H7 (94R) 50
2005      V8/4.4L    Opt                     720          H8 (49) AGM 18, 33, 50, 54         2003      L6/2.5L                                    570          H6 (48) 50
2003-02   V8/4.6L                            720          H8 (49) 50, 54, 55, 56             2003      L6/3.0L                                    570          H6 (48) 50
2003-02   V8/4.6L                            740          —
                                                                                             BMW Z8
2003-02   V8/4.6L    Opt                     640          H7 (94R) 50, 54, 55, 56
                                                                                             2003      V8/4.8L                                    740          —
2003-00   V8/4.4L                            720          H8 (49) 50, 54, 55, 56
                                                                                             2003      V8/5.0L                                    740          —
2003      V8/4.4L                            740          —
                                                                                             2002      V8/5.0L                                    720          H8 (49) 50
2002      L6/3.0L    Opt                     720          H8 (49) 50
                                                                                             2001-00   V8/5.0L                                    760          —
2002      V8/4.4L                            720          H8 (49) 50
2002      V8/4.6L                            720          H8 (49) 50                         Buick Allure
2001-00   V8/4.4L                            760          —                                  2010      V6/3.0L                                    615          H6 (48)
2001      L6/3.0L                            765          H7 (94R) 50                        2010      V6/3.6L                                    615          H6 (48)
BMW X6                                                                                       2009-05   V6/3.8L                                    750          34
                                                                                             2009      V8/5.3L                                    625          —
2018-15   L6/3.0L                            900          H8 (49) AGM 33, 50, 54, 55, 56
                                                                                             2008-05   V6/3.6L                                    680          34
2018-15   L6/3.0L    Aux Battery             50 Ah        —
                                                                                             2008      V8/5.3L                                    590          —
2018-15   V8/4.4L                            900          H8 (49) AGM 33, 50, 54, 55, 56
2018-15   V8/4.4L    Aux Battery             50 Ah        —                              Buick Cascada
2014-13   L6/3.0L                            570          H6 (48) 18, 50, 54, 56         2019-17 L4/1.6L                                          730          H7 (94R) AGM 33, 50
2014-13   L6/3.0L                            900          H8 (49) AGM 18, 33, 50, 54, 56 2016    L4/1.6L                                          800          H7 (94R) AGM 33
2014-13   L6/3.0L    Opt                     850          H8 (49) AGM 18, 33, 50, 54, 56 Buick Century
2014-13   V8/4.4L                            570          H6 (48) 18, 50, 54, 56         2005-97 V6/3.1L                                          600          78
2014-13   V8/4.4L                            900          H8 (49) AGM 18, 33, 50, 54, 56 1996-94 V6/3.1L                                          525          75
2014-13   V8/4.4L    Opt                     570          H6 (48) 18, 50, 54, 56MOYER_DEPO        000331
                                                                                         1996-93 L4/2.2L                                          525          75
                                                                                                                             See page 80 for Footnotes. Selection may vary by warehouse.
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 382Cadillac
                                                                                 of
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   Automotive/Light Truck                                                                                                                                               23
                                                          ORIGINAL             GROUP SIZE                                                 ORIGINAL              GROUP SIZE
     YEAR      ENGINE                 OPTIONS            EQUIPMENT              (NOTES)         YEAR      ENGINE               OPTIONS   EQUIPMENT               (NOTES)
                                                         CCA/RATING                                                                      CCA/RATING
   Buick Century (continued)                                                                 Buick Rainier
   1993-89 V6/3.3L                                       630          75                      2007-04 L6/4.2L                            600          78 40
   1992-85 L4/2.5L                                       630          75                      2007-04 V8/5.3L                            600          78 40
   Buick Commercial Chassis                                                                  Buick Reatta
   1996-92 V8/5.7L                                       690          78                      1991-88 V6/3.8L                            770          78
   1991    V8/5.0L                                       690          78                     Buick Regal
   Buick Electra                                                                              2017-11   L4/2.0L                          615          H6 (48)
   1990-85 V6/3.8L                                       630          75                      2017-11   L4/2.4L                          615          H6 (48)
   1990    V6/3.8L       Opt                             730          78                      2016-12   L4/2.4L    Gas                   615          H6 (48)
   Buick Enclave                                                                              2016-12   L4/2.4L    Hybrid                525          H5 (47)
   2019-18 V6/3.6L                                       730          H7 (94R) AGM 33, 50     2004-97   V6/3.8L    S/C                   770          78
   2017-10 V6/3.6L                                       660          H6 (48) 50              2004      V6/3.8L                          600          78
   2009-08 V6/3.6L                                       730          H6 (48) 50              2003-96   V6/3.8L                          690          78
                                                                                              1996      V6/3.1L                          600          78
   Buick Encore                                                                               1995-94   V6/3.8L                          600          75
   2019-16   L4/1.4L     w/o Start/Stop                  525          H5 (47)                 1995-90   V6/3.1L                          525          75
   2019-16   L4/1.4L     w/Start/Stop                    700          H6 (48) AGM 33          1993-90   V6/3.8L                          630          75
   2016      L4/1.4L                                     760          H6 (48) AGM 33          1985-84   V6/3.8L    Turbo, HD             630          75
   2015-13   L4/1.4L                                     525          H5 (47) 50              1984      V6/3.8L    Turbo                 500          75
   Buick Envision                                                                            Buick Regal Sportback
   2019-18   L4/2.5L     Start/Stop                      720          H7 (94R) AGM 33, 50     2019-18 L4/2.0L                            720          H7 (94R) AGM 33
   2019-16   L4/2.0L     Start/Stop                      720          H7 (94R) AGM 33, 50     2019-18 V6/3.6L                            720          H7 (94R) AGM 33
   2017-16   L4/2.0L     Start/Stop                      730          H7 (94R) AGM 33, 50
   2017      L4/2.5L     Start/Stop                      730          H7 (94R) AGM 33, 50
                                                                                             Buick Regal TourX
                                                                                              2019-18 L4/2.0L                            720          H7 (94R) AGM 33
   Buick Gran Sport
   1967    V8/6.6L                                       350          24
                                                                                             Buick Rendezvous
   1966-65 V8/6.6L                                       440          24                      2007-06   V6/3.5L                          600          78
                                                                                              2006      V6/3.6L                          690          34
   Buick GS 350                                                                               2005-04   V6/3.6L                          600          78
   1969-68 V8/5.7L                                       440          24                      2005-02   V6/3.4L                          600          78
   Buick GS 400                                                                              Buick Riviera
   1969-68 V8/6.6L                                       440          24                      1999-98   V6/3.8L                          840          79 50
   Buick LaCrosse                                                                             1997-95   V6/3.8L                          970          —
   2019-18   L4/2.5L     Hybrid                          615          H6 (48)                 1993-90   V6/3.8L                          770          78
   2019-18   V6/3.6L                                     850          H7 (94R) AGM 33         1970      V8/7.5L                          500          27
   2017      V6/3.6L                                     730          H7 (94R) AGM 33         1969-68   V8/7.0L                          360          27
   2016-12   L4/2.4L     Hybrid                          525          H5 (47)                 1969-65   V8/7.0L                          500          27
   2016-10   V6/3.6L                                     615          H6 (48)                 1967-63   V8/7.0L                          325          27
   2011-10   L4/2.4L                                     615          H6 (48)                 1965-63   V8/6.6L                          325          27
   2010      V6/3.0L                                     615          H6 (48) 50             Buick Roadmaster
   2009-08   V6/3.8L                                     720          —                       1996-95   V8/5.7L                          600          78
   2009-08   V8/5.3L                                     590          —                       1994-92   V8/5.7L                          525          75
   2008      V6/3.6L                                     720          —                       1994      V8/5.7L    Wagon                 770          78
   2007      V6/3.6L                                     750          —                       1993      V8/5.7L    Wagon                 690          78
   2007      V6/3.8L                                     750          34                      1991      V8/5.0L                          525          75
   2006      V6/3.6L                                     690          34
                                                                                             Buick Skylark
   2006      V6/3.8L                                     690          34
                                                                                              1998-96   L4/2.4L                          600          75
   2005      V6/3.6L                                     680          —
                                                                                              1998-94   V6/3.1L                          600          75
   2005      V6/3.8L                                     680          34
                                                                                              1995-93   L4/2.3L                          600          75
   Buick LeSabre                                                                              1993      V6/3.3L                          600          75
   2005-00   V6/3.8L                                     770          100 50                  1992-89   V6/3.3L                          630          75
   1999-95   V6/3.8L                                     690          78                      1992-88   L4/2.3L                          630          75
   1997-94   V6/3.8L     Opt                             770          78                      1991-85   L4/2.5L                          630          75
   1994-86   V6/3.8L                                     630          75                     Buick Terraza
   1993-91   V6/3.8L     HD or w/HWS                     770          78
                                                                                              2007-06 V6/3.9L                            600          34
   1990-86   V8/5.0L                                     630          75
                                                                                              2006-05 V6/3.5L                            600          34
   1990      V8/5.0L     Opt                             730          78
   Buick Lucerne                                                                             Buick Verano
                                                                                              2017-12 L4/2.4L                            615          H6 (48)
   2011-09   V6/3.9L                                     720          H7 (94R)  50
                                                                                              2016-13 L4/2.0L                            615          H6 (48)
   2011-09   V8/4.6L                                     720          H7 (94R) 50
   2008      V6/3.8L                                     730          H6 (48) 50             Buick Wildcat
   2008      V8/4.6L                                     730          H6 (48) 50              1970      V8/7.5L                          325          27
   2007-06   V6/3.8L                                     800          79 50                   1969-64   V8/7.0L                          325          27
   2007-06   V8/4.6L                                     800          79 50                   1966-63   V8/6.6L                          325          27
                                                                                              1962      V8/6.6L                          350          27
   Buick Park Avenue
   2005-03 V6/3.8L                                        690         34                     Cadillac Allanté
   2005-03 V6/3.8L S/C                                    770         34                      1993    V8/4.6L                            770          78 50
   2002-98 V6/3.8L S/C                                    770         78                      1992-89 V8/4.5L                            770          78 50
   2002-96 V6/3.8L Naturally Aspirated                    690         78                     Cadillac ATS
   1997-91 V6/3.8L W/HD or HWS                            770         78                     2019-13 L4/2.0L       w/o Start/Stop        700          H6 (48) AGM 33, 50
   1995-94 V6/3.8L                                        600         78                     2019-13 L4/2.0L       w/Start/Stop          730          H7 (94R) AGM 33, 50
   1993-91 V6/3.8L                                        630         75MOYER_DEPO          000332
                                                                                             2019-13 V6/3.6L       w/o Start/Stop        700          H6 (48) AGM 33, 50
   See page 80 for Footnotes. Selection may vary by warehouse.
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24                                                                               Automotive/Light Truck
                                             ORIGINAL             GROUP SIZE                                                                ORIGINAL                 GROUP SIZE
  YEAR      ENGINE                OPTIONS   EQUIPMENT              (NOTES)            YEAR      ENGINE                 OPTIONS             EQUIPMENT                  (NOTES)
                                            CCA/RATING                                                                                     CCA/RATING
Cadillac ATS (continued)                                                            Cadillac ELR
2019-13   V6/3.6L    w/Start/Stop           730          H7 (94R) AGM 33, 50        2016-14 L4/1.4L      Hybrid                            520          —
2018      L4/2.0L    w/o Start/Stop         700          H6 (48)                    Cadillac Eldorado
2018      L4/2.0L    w/Start/Stop           730          H7 (94R)                   2000-93 V8/4.6L                                        770          78
2017-16   L4/2.5L    w/Start/Stop           730          H7 (94R) AGM 33, 50        1993-91 V8/4.9L                                        770          78
2017-16   V6/3.6L    ATS-V                  560          —                          1990    V8/4.5L                                        730          78
2017-13   L4/2.5L    w/o Start/Stop         700          H6 (48) AGM 33, 50
                                                                                    Cadillac Escalade
2016-15   L4/2.0L                           700          H6 (48) AGM 33, 50
2016-15   L4/2.5L                           700          H6 (48) AGM 33, 50         2019-15   V8/6.2L                                      720          H7 (94R)
2016-15   V6/3.6L                           700          H6 (48) AGM 33, 50         2015-12   V8/6.2L                                      660          H6 (48)
2016-13   L4/2.0L    Start/Stop             730          H7 (94R) AGM 33, 50        2015-09   V8/6.2L    Opt                               730          H6 (48)
2016-13   L4/2.5L    Start/Stop             730          H7 (94R) AGM 33, 50        2013-12   V8/6.0L    Hybrid                            660          H6 (48)
2015-13   V6/3.6L    Start/Stop             730          H7 (94R) AGM 33, 50        2013-09   V8/6.0L    Hybrid, Opt                       730          H6 (48)
                                                                                    2011-09   V8/6.0L    Hybrid                            615          H6 (48)
Cadillac Brougham, Fleetwood
                                                                                    2011-07   V8/6.2L                                      615          H6 (48)
1996-95   V8/5.7L                           770          78
                                                                                    2006-02   V8/6.0L                                      600          78
1994-92   V8/5.7L                           770          78
                                                                                    2005-02   V8/5.3L                                      600          78
1992-91   V8/4.9L                           540          78
1992-91   V8/4.9L                           770          78                         2000-99   V8/5.7L                                      600          78
1991      V8/5.7L                           730          78                         2000-99   V8/5.7L    Opt                               690          78
1991      V8/5.0L                           730          78                         Cadillac Escalade ESV
1990      V8/5.0L                           730          78                         2019-15   V8/6.2L                                      720          H7 (94R)
1990      V8/5.0L                           730          78                         2015-12   V8/6.2L                                      660          H6 (48)
Cadillac Catera                                                                     2015-09   V8/6.2L    Opt                               730          H6 (48)
2001-97 V6/3.0L                             600          —                          2011-07   V8/6.2L                                      615          H6 (48)
                                                                                    2006-03   V8/6.0L                                      600          78
Cadillac Commercial Chassis
1996-92 V8/5.7L                             770          78
                                                                                    Cadillac Escalade EXT
1993-91 V8/4.9L                             770          78                         2013-12   V8/6.2L                                      660          H6 (48)
1990-89 V8/4.5L                             770          78                         2013-09   V8/6.2L    Opt                               730          H6 (48)
                                                                                    2011-07   V8/6.2L                                      615          H6 (48)
Cadillac CT6                                                                        2006-02   V8/6.0L                                      600          78
2019      L4/2.0L                           730          H7 (94R) AGM 33, 50
2019      V6/3.0L                           730          H7 (94R) AGM 33, 50
                                                                                    Cadillac Fleetwood (See Brougham, Fleetwood)
2019      V6/3.6L                           730          H7 (94R) AGM 33, 50        Cadillac Seville
2019      V8/4.2L                           730          H7 (94R) AGM 33, 50        2004-98   V8/4.6L                                      800          79
2018-17   V6/3.0L    Start/Stop             850          H8 (49) AGM 33, 50         1997-93   V8/4.6L                                      770          78
2018-17   V6/3.6L    Start/Stop             850          H8 (49) AGM 33, 50         1993-91   V8/4.9L                                      770          78
2018-16   L4/2.0L    Start/Stop             850          H8 (49) AGM 33, 50         1990      V8/4.5L                                      730          78
2016      L4/2.0L    Start/Stop             850          H8 (49) AGM 33             Cadillac Sixty Special
2016      V6/3.0L    Start/Stop             850          H8 (49) AGM 33             1993      V8/4.9L                                      770          78
2016      V6/3.6L    Start/Stop             850          H8 (49) AGM 33             Cadillac SRX
Cadillac CTS                                                                        2016-12   V6/3.6L                                      660          H6 (48)
2019-14   L4/2.0L    Start/Stop             730          H7 (94R) AGM 33, 50        2011-10   V6/2.8L                                      615          H6 (48)
2019-14   V6/3.6L    Start/Stop             730          H7 (94R) AGM 33, 50        2011-10   V6/3.0L                                      615          H6 (48)
2019-14   V8/6.2L    Start/Stop             730          H7 (94R) AGM 33, 50        2009-08   V6/3.6L                                      730          H6 (48)
2015-14   L4/2.0L                           660          H6 (48) 50                 2009-08   V8/4.6L                                      730          H6 (48)
2015-14   L4/2.0L    w/o Start/Stop         660          H6 (48) 50                 2007-04   V6/3.6L                                      540          —
2015-14   L4/2.0L    w/Start/Stop           730          H7 (94R) AGM 33, 50        2007-04   V8/4.6L                                      540          —
2015-14   V6/3.6L    w/o Start/Stop         660          H6 (48) 50                 Cadillac STS
2015-14   V6/3.6L    w/Start/Stop           730          H7 (94R) AGM 33, 50
                                                                                    2011-10   V6/3.6L                                      660          H6 (48)
2015-14   V8/6.2L    w/o Start/Stop         660          H6 (48) 50
                                                                                    2010      V8/4.6L                                      660          H6 (48)
2015-14   V8/6.2L    w/Start/Stop           730          H7 (94R) AGM 33, 50
                                                                                    2009-08   V6/3.6L                                      730          H6 (48)
2015-10   V6/3.6L                           660          H6 (48) 50
                                                                                    2009-08   V8/4.4L                                      730          H6 (48)
2015-10   V8/6.2L                           660          H6 (48) 50
                                                                                    2009-08   V8/4.6L                                      730          H6 (48)
2014-10   V6/3.0L                           660          H6 (48) 50
                                                                                    2007-06   V8/4.4L                                      540          —
2014      V6/3.0L    Start/Stop             730          H7 (94R) AGM 33, 50
                                                                                    2007-05   V6/3.6L                                      540          —
2009-08   V6/3.6L                           730          H6 (48) 50
                                                                                    2007-05   V8/4.6L                                      540          —
2009      V8/6.2L                           730          H6 (48) 50
2007-06   V8/6.0L    V Series               540          —                          Cadillac XLR
2007-05   V6/2.8L                           540          —                          2009-08   V8/4.4L                                      590          —
2007-04   V6/3.6L                           540          —                          2009-08   V8/4.6L                                      590          —
2005-04   V8/5.7L                           540          —                          2007-06   V8/4.4L                                      590          90 (T5) 50
2004-03   V6/3.2L                           540          —                          2007-06   V8/4.6L                                      590          90 (T5) 50
                                                                                    2005-04   V8/4.6L                                      590          —
Cadillac DTS
2011-09 V8/4.6L                             720          H7 (94R) 50                Cadillac XT5
2008    V8/4.6L                             730          H6 (48) 50                 2019-17 V6/3.6L      Start/Stop                        730          H7 (94R) AGM 33
2007-06 V8/4.6L                             800          79 50                      Cadillac XTS
Cadillac DeVille                                                                    2019-13 V6/3.6L                                        660          H6 (48)
20205-00             V8/4.6L                             800             79 50      Chevrolet Astro
1999-94 V8/4.6L                             770          78                     2005-02 V6/4.3L Opt                                        770        78
1993-91 V8/4.9L                             540          78                     2005-94 V6/4.3L                                            600        78
1995-94 V8/4.9L                             770          78                     1993-91 V6/4.3L                                            630        78
1993-91 V8/4.9L                             770          78               MOYER_DEPO     000333
                                                                                1990-87 L4/2.5L                                            525        75
                                                                                                                      See page 80 for Footnotes. Selection may vary by warehouse.
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                                                                               Chevrolet
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   Automotive/Light Truck                                                                                                                                                 25
                                                          ORIGINAL              GROUP SIZE                                                   ORIGINAL             GROUP SIZE
     YEAR      ENGINE                  OPTIONS           EQUIPMENT               (NOTES)         YEAR      ENGINE                 OPTIONS   EQUIPMENT              (NOTES)
                                                         CCA/RATING                                                                         CCA/RATING
   Chevrolet Astro (continued)                                                                Chevrolet C/K, R/V Pickups (continued)
   1990-87   V6/4.3L                                     525          75                       1993-91   V8/5.7L    Aux Battery             540          78
   1990-87   V6/4.3L     Opt                             630          78                       1993-91   V8/5.7L    Primary Battery         630          78
   1989-87   L4/2.5L     Opt                             630          78                       1993-90   V8/6.2L    Dsl                     570          75
   1986-85   L4/2.5L     Opt                             540          78                       1993-90   V8/7.4L                            630          78
   1986-85   V6/4.3L                                     500          75                       1993-90   V8/7.4L    Aux Battery             540          78
   Chevrolet Avalanche                                                                         1991-88   V8/6.2L    Dsl                     570          75 2
   2013-09   V8/5.3L     Opt                             730          H6 (48)                  1991      V8/5.7L                            630          78
   2013-07   V8/5.3L     w/o HD                          615          H6 (48)                  1991      V8/6.2L    Dsl                     540          78
   2009-07   V8/6.0L     w/o HD                          615          H6 (48)                  1991      V8/6.2L    Dsl                     540          78 2
   2009      V8/6.0L     Opt                             730          H6 (48)                  1990-88   V6/4.3L                            525          75
                                                                                               1990-88   V8/5.7L                            525          75
   Chevrolet Avalanche 1500
                                                                                               1990      V8/5.0L                            525          75
   2006-02 V8/5.3L                                       600          78
                                                                                               1990      V8/5.0L    Opt                     630          78
   Chevrolet Avalanche 2500                                                                    1990      V8/5.7L    Opt                     630          78
   2006-02 V8/8.1L                                       600          78                       1990      V8/6.2L    Aux Battery             540          78
   Chevrolet Aveo, Aveo5                                                                       1990      V8/6.2L    Aux, Dsl                540          78
   2011-04 L4/1.6L                                       550          86                      Chevrolet C/K, R/V Suburban
   Chevrolet Bel Air                                                                           1999-97   V8/6.5L    Dsl                     600          78
   1965-55   L6/3.8L     12-Volt                         350          24                       1999-94   V8/5.7L                            600          78
   1957-55   L6/3.9L                                     350          24                       1999-94   V8/7.4L                            600          78
   1957-55   L6/3.9L     12-Volt                         350          24                       1999      V8/5.7L    HD or PPkg              770          78
   1957-55   V8/4.3L                                     350          24                       1999      V8/5.7L    Opt                     690          78
   1957-55   V8/4.3L     12-Volt                         350          24                       1999      V8/5.7L    PPkg, HD                770          78
   Chevrolet Beretta, Corsica                                                                  1999      V8/6.5L    Dsl & Opt               690          78
   1996-95   V6/3.1L                                     600          75                       1999      V8/6.5L    Dsl, HD                 690          78
   1996-93   L4/2.2L     Opt                             600          75                       1999      V8/7.4L    HD or PPkg              770          78
   1996-92   L4/2.2L                                     525          75                       1999      V8/7.4L    Opt                     690          78
   1994-93   L4/2.3L                                     600          75                       1999      V8/7.4L    PPkg, HD                770          78
   1994-93   V6/3.1L     Opt                             600          75                       1999      V8/7.4L    Primary Battery         600          78
   1994-90   V6/3.1L                                     525          75                       1996-94   V8/6.5L    Dsl                     770          78
   1992-90   L4/2.3L                                     630          75                       1993-91   V8/5.7L                            630          78
   1991-90   L4/2.2L     HD w/AT                         630          75                       1993-91   V8/5.7L    Aux Battery             540          78
   1991-90   L4/2.2L     MT                              525          75                       1993-90   V8/7.4L                            630          78
   1991-90   V6/3.1L     Opt                             630          75                       1993-89   V8/7.4L    Aux Battery             540          78
                                                                                               1991-90   V8/6.2L    Dsl                     540          78 2
   Chevrolet Blazer                                                                            1991-89   V8/6.2L    Dsl                     570          75 2
   2019      L4/2.5L                                     720          H7 (94R) AGM 33, 50      1990-89   V8/5.7L                            525          75
   2019      V6/3.6L                                     720          H7 (94R) AGM 33, 50      1990      V8/5.7L    Opt                     630          78
   2005-95   V6/4.3L                                     525          75                       1990      V8/6.2L    Aux, Dsl                540          78
   2005-95   V6/4.3L     Opt                             690          —
   1994      V8/5.7L                                     600          78
                                                                                              Chevrolet Camaro
   1994      V8/6.5L     Dsl                             770          78                      2019-16 L4/2.0L                               700          H6 (48) AGM 33, 50
   1993-91   V8/5.7L                                     630          78                      2019-16 V6/3.6L                               700          H6 (48) AGM 33, 50
   1993-91   V8/5.7L     Aux Battery                     540          78                      2019-16 V8/6.2L                               700          H6 (48) AGM 33, 50
                                                                                              2015-14 V8/7.0L                               730          H6 (48) 50
   1991-90   V8/6.2L     Dsl                             540          78
                                                                                              2015-10 V6/3.6L                               720          H7 (94R) 50
   1990-87   V8/5.7L                                     525          75
                                                                                              2015-10 V8/6.2L                               720          H7 (94R) 50
   1990      V8/5.7L     Opt                             630          78
                                                                                              2002-95 V6/3.8L                               690          —
   Chevrolet Bolt EV                                                                          2002-93 V8/5.7L                               525          75
   2018                  Electric                        520          —                       1995-93 V6/3.4L                               525          75
   2017                  Electric                        520          —                       1992-90 V6/3.1L                               525          75
   Chevrolet C/K, R/V Pickups                                                                 1992-90 V8/5.0L       AT                      570          75
   2000-99 V8/5.7L Opt                                    690         78                      1992-90 V8/5.0L       MT                      525          75
   2000-99 V8/6.5L Dsl, HD                                690         78                      1992-87 V8/5.7L                               630          75
   2000-99 V8/7.4L Opt                                    690         78                      1969    L6/3.8L       Late                    275          75
   2000-97 V8/6.5L Dsl                                    600         78                      1969    L6/4.1L       Late                    275          75
   2000-94 V8/5.7L                                        600         78                      1969    V8/4.9L                               350          78
   2000-94 V8/7.4L                                        600         78                      1969    V8/5.0L                               275          75
   1999-97 V8/5.0L Opt                                    690         78                      1969    V8/5.0L       Ex 302                  350          78
   1999-94 V8/5.0L                                        600         78                      1969    V8/5.3L                               350          78
   1999      V8/5.0L PPkg, HD                             770         78                      1969    V8/5.4L                               350          78
   1999      V8/5.7L HD or PPkg                           770         78                      1969    V8/5.7L                               350          78
   1999      V8/5.7L PPkg, HD                             770         78                      1969    V8/6.5L                               350          78
   1999      V8/6.5L Dsl & Opt                            690         78                      1969    V8/7.0L                               350          78
   1999      V8/7.4L HD or PPkg                           770         78                      1968-67 L6/4.1L                               250          26R
   1999      V8/7.4L PPkg, HD                             770         78                      1968-67 V8/4.9L                               350          24
   1999      V8/7.4L Primary Battery                      600         78                      1968-67 V8/5.3L                               350          24
   1998-94 V6/4.3L                                        600         78                      1968    L6/3.8L                               250          26R
   1996-94 V8/6.5L Dsl                                    770         78                      1968    V8/5.4L                               350          24
   1993-92 V8/6.5L Dsl                                    570         75                      1968    V8/5.7L                               350          24
   1993-91 V6/4.3L                                        630         78                      1968    V8/5.7L                               380          24
   1993-91 V8/5.0L                                        630         78                      1968    V8/6.5L                               350          24
   1993-91 V8/5.0L Aux Battery                            540         78MOYER_DEPO           000334
                                                                                              1967    V8/6.5L                               325          24
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26                                                                                         Automotive/Light Truck
                                                         ORIGINAL           GROUP SIZE                                                             ORIGINAL       GROUP SIZE
  YEAR      ENGINE                OPTIONS               EQUIPMENT            (NOTES)                 YEAR    ENGINE             OPTIONS           EQUIPMENT        (NOTES)
                                                        CCA/RATING                                                                                CCA/RATING
Chevrolet Caprice, Impala                                                                     Chevrolet Caprice, Impala (continued)
2019-18   L4/2.5L    Aux for Start/Stop                 180          —                        1983    V8/5.7L Dsl or HD                      500        75
2019-14   L4/2.5L    w/o Start/Stop                     615          H6 (48)                  1983    V8/5.7L Opt                            500        75
2019      L4/2.5L    w/Start/Stop                       850          H7 (94R) AGM 33          1982-81 V6/3.8L HBL & AC                       350        75
2019      V6/3.6L    Aux for Start/Stop                 180          —                        1982-81 V8/4.4L Opt                            465        75
2019      V6/3.6L    w/o Start/Stop                     615          H6 (48)                  1982-81 V8/5.0L                                350        75
2019      V6/3.6L    w/Start/Stop                       850          H7 (94R) AGM 33          1982-81 V8/5.0L Opt                            465        75
2018      L4/2.5L    Start/Stop                         850          H7 (94R) AGM 33          1982-81 V8/5.7L Dsl or HD                      465        75 2
2018      V6/3.6L                                       615          H6 (48)                  1982-81 V8/5.7L Dsl, HD                        550        78 2
2017-16   L4/2.5L    Impala Aux for Start/Stop          155          —                        1982-81 V8/5.7L Opt                            550        78 2
2017-16   L4/2.5L    Start/Stop                         730          H7 (94R) AGM 33          1982-79 V8/5.7L                                350        75
2017-14   V6/3.6L    Caprice w/PPkg, Opt, Aux Battery   700          H6 (48) AGM 33, 50       1982    V6/3.8L                                400        75
2017-14   V6/3.6L    Caprice w/PPkg, Primary Battery    700          H6 (48) AGM 33, 50       1982    V8/4.4L                                350        75
2017-14   V6/3.6L    Impala Ex PPkg                     615          H6 (48)                  1982    V8/5.7L Dsl                            465        75 2
2017-14   V8/6.0L    Caprice w/PPkg, Opt, Aux Battery   700          H6 (48) AGM 33, 50       1982    V8/5.7L Opt                            465        75
2017-14   V8/6.0L    Caprice w/PPkg, Primary Battery    700          H6 (48) AGM 33, 50       1981    V6/3.8L Opt                            465        75
2017-12   V6/3.6L    Impala w/PPkg                      720          34                       1981    V6/3.8L Opt                            550        78
2016-15   V8/6.0L                                       700          H6 (48) AGM 33, 50       1981    V8/4.4L                                550        78
2016-14   L4/2.5L                                       615          H6 (48)                  1981    V8/5.7L                                350        75
2016      V8/6.0L    Caprice w/PPkg                     700          H7 (94R)                 1981    V8/5.7L                                465        78
2015-14   L4/2.5L    Aux w/Start/Stop                   155          —                        1980-78 V8/5.0L                                325        75
2015-14   L4/2.5L    w/Start/Stop                       850          H8 (49) AGM 33           1980-78 V8/5.0L Opt                            450        78
2015      V8/6.0L    Caprice                            700          H6 (48) AGM 33, 50       1980-78 V8/5.7L                                325        75
2014-12   V6/3.6L    Impala Ex PPkg                     600          34                       1980-78 V8/5.7L Opt                            450        78
2014-11   V8/6.0L    Caprice w/PPkg                     765          H7 (94R) 50              1980-75 V8/5.7L Opt                            465        78
2014      L4/2.4L    Hybrid                             525          H5 (47)                  1980    V6/3.8L                                325        75
2014      L4/2.4L    Hybrid                             615          H6 (48)                  1980    V6/3.8L Opt                            450        78
2014      V6/3.6L    Caprice Aux Battery                700          H6 (48) AGM 33, 50       1980    V8/4.4L                                325        75
2014      V6/3.6L    Caprice Primary Battery            700          H6 (48) AGM 33, 50       1980    V8/4.4L Opt                            450        78
2013-12   V6/3.6L    Caprice w/PPkg                     765          H7 (94R) 50              1980    V8/5.7L Opt                            540        78 2
2011-10   V6/3.9L    Ex PPkg                            600          34                       1979-78 L6/4.1L                                325        75
2011-10   V6/3.9L    w/PPkg                             720          34                       1979-78 L6/4.1L Opt                            450        78
2011-08   V6/3.5L                                       600          34                       1979    V8/5.7L Opt                            505        78
2009-08   V8/5.3L                                       590          —                        1977-73 L6/4.1L                                350        75
2009      V6/3.9L                                       600          34                       1977-71 V8/5.0L                                450        78
2008      V6/3.9L                                       720          34                       1977-70 V8/5.7L                                450        78
2007-06   V6/3.5L                                       690          34                       1976-70 V8/7.4L                                450        78
2007-06   V6/3.9L                                       750          34                       1976    V8/5.7L                                350        75
2007-06   V8/5.3L    SS                                 625          —                        1976    V8/6.6L                                350        75
2005-00   V6/3.4L                                       600          78                       1976    V8/7.4L                                350        75
2005      V6/3.8L                                       770          78                       1975-70 V8/6.6L                                450        78
2005      V6/3.8L    S/C                                600          78                       1975    V8/5.7L                                350        78
2004-00   V6/3.8L                                       600          78                       1972-70 L6/4.1L                                450        78
2004      V6/3.8L    S/C                                690          78                       1970-69 V8/5.7L w/AC                           325        24
2003-00   V6/3.4L    Opt                                690          78                       1970-65 L6/4.1L w/o AC                         250        26R
2003-00   V6/3.8L    Opt                                690          78                       1970    V8/6.6L w/AC                           325        24
1996-95   V8/4.3L                                       600          78                       1970    V8/7.4L w/AC                           325        24
1996-95   V8/5.7L                                       600          78                       1969-68 V8/5.0L w/AC                           325        24
1996-95   V8/5.7L    HD, SEO                            770          78                       1969-65 V8/6.5L w/AC                           325        24
1994      V8/4.3L                                       525          75                       1969-64 V8/5.4L w/AC                           325        24
1994      V8/5.7L                                       770          78                       1969-63 V8/5.3L w/AC                           325        24
1993-92   V6/4.3L                                       730          78                       1969-63 V8/7.0L w/AC                           325        24
1993-90   V8/5.0L                                       525          75                       1967-66 L6/4.1L                                250        26R
1993-86   V8/5.7L                                       730          78                       1967-66 L6/4.1L                                325        24
1990-85   V6/4.3L                                       630          75                       1967-63 V8/4.6L w/AC                           325        24
                                                                                              1966    L6/4.1L AC                             325        24
1989-86   V8/5.0L                                       525          75
                                                                                              1965-63 L6/3.8L w/o AC                         250        26R
1989-86   V8/5.0L    Opt                                570          75
                                                                                              1965-63 V8/6.7L w/AC                           325        24
1987-85   V8/5.7L    Opt                                630          75
                                                                                              1965-58 L6/3.8L                                325        24
1987      V8/5.7L    SEO                                730          78
                                                                                              1963    V8/7.0L                                350        26R
1985-84   V8/5.0L                                       500          75
                                                                                              1963    V8/7.0L AC                             350        24
1985-84   V8/5.0L    Opt                                630          75
                                                                                              1962-61 V8/6.7L                                325        24
1985-84   V8/5.7L                                       500          75
                                                                                              1962-58 V8/4.6L                                325        24
1985-84   V8/5.7L    Dsl                                405          75 2
                                                                                              1962    V8/5.3L                                325        24
1985-83   V6/3.8L                                       390          75
                                                                                              1961-58 V8/5.7L                                325        24
1985-83   V6/3.8L    Opt                                550          78
1985-83   V8/5.7L    Dsl & Opt                          550          78                       Chevrolet Captiva Sport
1984-83   V6/3.8L    Opt                                500          75                       2015-12 L4/2.4L                                615        H6 (48)
1984      V6/3.8L                                       405          75                       2012    V6/3.0L                                660        H6 (48)
1983      V6/3.8L                                       355          75                       Chevrolet Cavalier
1983      V8/5.0L                                       355          75                       2005-92 L4/2.2L                                525        75
1983      V8/5.0L    Opt                                500          75                       2002-96 L4/2.4L                                600        75
1983      V8/5.7L                                       355          75                       2002    L4/2.2L                                600        75
1983      V8/5.7L    Dsl                                500          75                 MOYER_DEPO
                                                                                              1995      000335
                                                                                                      L4/2.3L                                600        75
                                                                                                                        See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                             27
                                                           ORIGINAL                 GROUP SIZE                                                          ORIGINAL             GROUP SIZE
     YEAR       ENGINE                 OPTIONS            EQUIPMENT                  (NOTES)         YEAR      ENGINE                OPTIONS           EQUIPMENT              (NOTES)
                                                          CCA/RATING                                                                                   CCA/RATING
   Chevrolet Cavalier (continued)                                                                 Chevrolet Colorado (continued)
   1994-92 V6/3.1L                                        525          75                          2006-04 L4/2.8L                                     640          —
   1991-90 L4/2.2L                                        630          75                          2006-04 L5/3.5L                                     590          —
   1991-90 V6/3.1L                                        630          75                         Chevrolet Commercial Chassis
   Chevrolet Celebrity                                                                             1994-91 V8/5.7L                                     690          78
   1990-85 L4/2.5L                                        630          75                          1992-91 V8/5.0L                                     690          78
   1990    V6/3.1L                                        630          75                          1992    V6/4.3L                                     690          78
   Chevrolet Chevelle                                                                             Chevrolet Corsica (See Beretta, Corsica)
   1973-71   L6/4.1L                                      325          75                         Chevrolet Corvette
   1973-71   L6/4.1L     Opt                              450          78                          2019-14   V8/6.2L                                   615          H6 (48) 50
   1973-71   V8/5.0L                                      325          75                          2013-09   V8/6.2L    Dry Sump Sys Pkg (Z52)         590          90 (T5) 50
   1973-71   V8/5.0L     Opt                              450          78                          2013-09   V8/6.2L    Ex Dry Sump System Pkg (Z52)   590          —
   1973-71   V8/5.7L                                      325          75                          2013-09   V8/7.0L    Z06                            590          90 (T5) 50
   1973-71   V8/5.7L     Opt                              450          78                          2013      V8/7.0L    Ex Dry Sump System Pkg (Z52)   590          —
   1973-71   V8/6.6L                                      325          75                          2008-07   V8/7.0L    Z06                            600          90 (T5) 50
   1973-71   V8/6.6L     Opt                              450          78                          2007      V8/6.0L                                   600          90 (T5) 50
   1973-71   V8/7.4L                                      325          75                          2006      V8/6.0L                                   590          90 (T5)
   1973-71   V8/7.4L     Opt                              450          78                          2006      V8/7.0L                                   590          90 (T5) 50
   1970-67   L6/4.1L                                      250          26R                         2005      V8/6.0L                                   590          86
   1970      V8/5.0L                                      325          24                          2004      V8/5.7L                                   590          86
   1970      V8/5.7L                                      325          24                          2003      V8/5.7L                                   600          —
   1970      V8/6.5L                                      325          24                          2002      V8/5.7L                                   525          —
   1970      V8/6.6L                                      325          24                          2001      V8/5.7L                                   500          —
   1970      V8/7.4L                                      450          78                          2000-97   V8/5.7L                                   600          78
   1969-68   V8/5.0L     Incl Malibu                      325          24                          1996-90   V8/5.7L    32 Valve                       690          —
   1969-68   V8/5.7L     Incl Malibu                      325          24                          1996-89   V8/5.7L    16 Valve                       525          75
   1969-67   L6/4.1L     Opt                              325          24                          1988      V8/5.7L                                   525          75
   1969-65   V8/6.5L     Incl Malibu                      325          24                          1987-86   V8/5.7L                                   630          75
   1969-64   L6/3.8L                                      250          26R                         1985-84   V8/5.7L                                   500          75
   1969-64   L6/3.8L     Opt                              325          24                          1982-81   V8/5.7L                                   465          75
   1968-64   V8/5.3L                                      350          24                          1980-69   V8/5.7L                                   325          75
   1968      V8/5.4L                                      350          24                          1980-69   V8/5.7L    Opt                            450          78
   1967-65   V8/5.4L                                      N/A          24                          1980      V8/5.0L                                   325          75
                                                                                                   1980      V8/5.0L    Opt                            450          78
   1967-64   V8/4.6L     Incl Malibu                      325          24
                                                                                                   1975      V8/5.7L                                   420          78
   1966      L6/3.2L                                      250          26R
                                                                                                   1974-70   V8/7.4L                                   325          75
   1966      L6/3.2L     AC                               450          24
                                                                                                   1974-70   V8/7.4L    Opt                            450          78
   1966      L6/3.8L     AC or HD                         325          24
                                                                                                   1969      V8/7.0L                                   325          75
   1965      L6/3.2L                                      450          24
                                                                                                   1969      V8/7.0L    Opt                            450          78
   Chevrolet Chevy II                                                                              1968-66   V8/7.0L                                   325          —
   1968-66   V8/5.3L                                      275          26R                         1968-62   V8/5.3L                                   325          24
   1968-65   V8/5.3L     HD or w/AC                       380          24                          1968      V8/5.4L                                   325          24
   1968-65   V8/5.4L     HD or w/AC                       380          24                          1965      V8/6.5L                                   325          24
   1968      V8/5.0L                                      275          26R                         1961-57   V8/4.6L                                   325          24
   1968      V8/5.0L     HD or w/AC                       380          24                          1956      V8/4.3L                                   325          24
   1968      V8/5.7L     HD or w/AC                       380          24                          1955      V8/4.3L                                   N/A          24
   1968      V8/6.5L     HD or w/AC                       380          24                          1953      L6/3.9L                                   N/A          —
   1967-66   V8/4.6L                                      275          26R                        Chevrolet Cruze
   1967-63   V8/4.6L     HD or w/AC                       380          24
                                                                                                   2019      L4/1.4L                                   800          H7 (94R) AGM 33, 50
   1966      V8/5.4L                                      275          26R
                                                                                                   2019      L4/1.6L    Dsl                            800          H7 (94R) AGM 33, 50
   Chevrolet City Express                                                                          2018-17   L4/1.6L    Dsl                            720          H7 (94R) 50
   2018-15 L4/2.0L                                        500          121R                        2018-16   L4/1.4L    w/o Start/Stop                 525          H5 (47) 50
   2017-15 L4/2.0L                                        600          121R                        2018-16   L4/1.4L    w/o Start/Stop, Opt            615          H6 (48) 50
   2015    L4/2.0L                                        N/A          121R                        2018-16   L4/1.4L    w/Start/Stop                   730          H7 (94R) AGM 33, 50
   Chevrolet Classic                                                                               2016      L4/1.4L    Limited                        730          H7 (94R) AGM 33
   2005-04 L4/2.2L                                        525          75                          2016      L4/1.4L    Premier                        730          H7 (94R) AGM 33
   Chevrolet Cobalt                                                                                2015-11   L4/1.4L                                   525          H5 (47)
   2010-09   L4/2.0L                                      590          90 (T5) 50                  2015-11   L4/1.8L                                   525          H5 (47)
   2010-08   L4/2.2L                                      590          90 (T5) 50                  2015      L4/2.0L    Dsl                            730          H7 (94R) AGM 33
   2008-05   L4/2.0L                                      600          90 (T5) 50                  2014      L4/2.0L    Dsl                            730          H7 (94R) AGM 33, 50
   2008      L4/2.4L                                      590          90 (T5) 50                 Chevrolet Cruze Limited
   2007-06   L4/2.4L                                      600          90 (T5) 50                  2016      L4/1.4L                                   730          H7 (94R) AGM 33
   2007-05   L4/2.2L                                      600          90 (T5) 50                  2016      L4/1.8L                                   615          H6 (48)
   Chevrolet Colorado                                                                             Chevrolet El Camino
   2019-16   L4/2.8L     Dsl                              850          H8 (49) AGM 33             1987-85 V6/4.3L                                      630          75
   2019-15   L4/2.5L                                      615          H6 (48)                    1987-85 V8/5.0L                                      525          75
   2019-15   V6/3.6L                                      615          H6 (48)                    1987-85 V8/5.0L       Opt                            570          75
   2012-09   V8/5.3L                                      590          86 11, 40                  1984-83 V6/3.8L       Opt                            550          78
   2012-08   L4/2.9L                                      590          86 40                      1984-83 V8/5.0L                                      405          75
   2012-07   L5/3.7L                                      590          86 40                      1984-83 V8/5.0L       Opt                            500          75
   2007      L4/2.9L                                      640          —                          1984-83 V8/5.7L       Dsl, HD                        550          78
   2007      L5/3.7L                                      590          —MOYER_DEPO               000336
                                                                                                  1984-81 V6/3.8L                                      315          75
   See page 80 for Footnotes. Selection may vary by warehouse.
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28                                                                                Automotive/Light Truck
                                              ORIGINAL            GROUP SIZE                                                             ORIGINAL                 GROUP SIZE
  YEAR      ENGINE                 OPTIONS   EQUIPMENT             (NOTES)                  YEAR      ENGINE                 OPTIONS    EQUIPMENT                  (NOTES)
                                             CCA/RATING                                                                                 CCA/RATING
Chevrolet El Camino (continued)                                                           Chevrolet Express Vans (1500-4500, Cargo) (continued)
1984      V6/3.8L    229 cid                 405          75                              2005-03   V8/6.0L    Opt                      800          79
1984      V6/3.8L    229 cid, HD             500          75                              2002-01   V8/8.1L                             600          78
1984      V8/5.7L    Dsl                     405          75 2                            2002-96   V8/5.0L                             600          78
1983      V6/3.8L    229 cid                 355          75                              2002-96   V8/5.7L                             600          78
1983      V6/3.8L    229 cid, HD             500          75                              2002      V6/4.3L    Opt                      770          78
1983      V8/5.7L    Dsl                     525          75                              2002      V8/5.0L    Opt                      770          78
1982-81   V8/5.0L    Opt                     465          75                              2002      V8/5.7L    Opt                      770          78
1982      V6/3.8L    229 cid                 400          75                              2002      V8/6.5L    Dsl                      770          78
1982      V6/3.8L    Opt                     465          75                              2002      V8/8.1L    Opt                      770          78
1982      V8/4.4L                            315          75                              2001-00   V6/4.3L    Opt                      690          78
1982      V8/4.4L    Opt                     465          75                              2001-00   V8/5.0L    Opt                      690          78
1982      V8/5.0L                            315          75                              2001-00   V8/5.7L    Opt                      690          78
1981      V6/3.8L    229 cid                 370          75                              2001-00   V8/6.5L    Dsl, HD                  690          78
1981      V6/3.8L    229 cid, HD             465          75                              2001-96   V8/6.5L    Dsl                      600          78
1981      V6/3.8L    Opt                     550          78                              2001      V8/8.1L    Opt                      690          78
1981      V6/3.8L    w/AC                    350          75                              2000-96   V8/7.4L                             600          78
1981      V8/4.4L                            370          75                              2000      V8/7.4L    Opt                      690          78
1981      V8/4.4L    Opt                     465          75                              Chevrolet G-Series Vans
1981      V8/5.0L                            370          75                              1996-94   V6/4.3L                             600          78
1980-79   V8/4.4L                            450          78                              1996-94   V8/5.7L                             600          78
1980-78   V6/3.8L                            275          75                              1996-94   V8/6.5L    Dsl                      600          78
1980-76   V8/5.0L                            350          75                              1996-94   V8/7.4L                             600          78
1979-76   V8/5.7L                            350          75                              1995-94   V8/5.0L                             600          78
1976      V8/6.6L                            350          75                              1993-91   V6/4.3L                             630          78
1975-72   V8/6.6L                            350          78                              1993-91   V8/5.0L                             630          78
1975-72   V8/7.4L                            465          78                              1993-91   V8/5.7L                             630          78
1975-71   V8/5.7L                            350          78                              1993-90   V8/7.4L                             630          78
1974-72   V8/6.6L                            465          78                              1993-90   V8/6.2L    Dsl                      540          78
1974-71   V8/5.7L                            465          78                              1990      V8/5.0L                             525          75
1973-71   V8/5.0L                            465          78
1973      V8/5.0L                            350          78                              Chevrolet HHR
1972      V8/7.4L                            350          78                              2011-06 L4/2.2L                               600          90 (T5) 50
1971      V8/6.6L                            420          75                              2011-06 L4/2.4L                               600          90 (T5) 50
1971      V8/7.4L                            420          75                              2010-08 L4/2.0L                               600          90 (T5) 50
1970-69   V8/5.7L                            350          24                              Chevrolet Impala (See Caprice, Impala)
1970-68   V8/5.0L                            350          24                              Chevrolet Impala Limited
1970      V8/6.5L                            340          24                              2016-14 V6/3.6L      Ex PPkg                  600          34
1970      V8/6.6L                            350          24                              2016-14 V6/3.6L      PPkg                     720          34
1970      V8/7.4L                            350          24
1969      V8/6.5L                            350          24
                                                                                          Chevrolet K Series Pickup (See C/K, R/V Pickups)
1968      V8/5.4L                            350          24                              Chevrolet LLV
1968      V8/6.5L                            320          26R                             1995-94   L4/2.2L                             525          75
1967-66   V8/6.5L                            325          24                              1995-94   L4/2.2L    Opt                      690          78
1967-64   V8/4.6L                            320          26R                             1993-90   L4/2.5L                             525          75
1960-59   V8/4.6L                            450          24                              1993-90   L4/2.5L    Opt                      690          78
1960-59   V8/5.7L                            450          24                              Chevrolet Lumina, Lumina APV, Venture
Chevrolet Epica                                                                           2005-97   V6/3.4L                             600          78
2006-04 L6/2.5L                              600          34                              2001-96   V6/3.1L                             600          78
Chevrolet Equinox                                                                         1999-98   V6/3.8L                             690          78
2019-18   L4/1.5L                            730          H6 (48) AGM 33                  1997-96   V6/3.4L                             690          78
2019-18   L4/1.6L    Dsl                     730          H6 (48) AGM 33                  1996      V6/3.4L                             525          75
2019-18   L4/2.0L                            730          H6 (48) AGM 33                  1995-93   V6/3.1L    HD, SEO                  690          —
2017-13   V6/3.6L                            660          H6 (48)                         1995-92   V6/3.8L                             630          75
2017-10   L4/2.4L                            525          H5 (47)                         1995-91   V6/3.4L                             690          —
2012      V6/3.0L                            660          H6 (48)                         1995-90   V6/3.1L                             525          75
2011-10   V6/3.0L                            615          H6 (48)                         1993      L4/2.2L                             525          75
2009-08   V6/3.6L                            650          —                               1992-90   L4/2.5L                             630          75
2009-07   V6/3.4L                            650          —                               1992      V6/3.1L    Opt                      690          —
2006-05   V6/3.4L                            600          75                              Chevrolet Malibu Limited
Chevrolet Express Vans (1500-4500, Cargo)                                                 2016      L4/2.5L    Aux Battery              180          —
2019-17   L4/2.8L    Dsl                     770          78 2                            2016      L4/2.5L    Aux Battery              155          —
2019-03   V8/6.0L                            600          78                              2016      L4/2.5L    Start/Stop               730          H7 (94R) AGM 33
2019-96   V6/4.3L                            600          78                              Chevrolet Malibu, Monte Carlo
2017-03   V8/4.8L                            600          78                     2019-16 L4/1.8L Hybrid                           525        H5 (47)
2016-15   V8/6.6L    Dsl                     770          78 2                   2019-16 L4/2.0L                                  660        H6 (48)
2014-07   V8/6.6L    Dsl                     770          78                     2019    L4/1.5L                                  700        H6 (48) AGM 33, 50
2014-03   V8/5.3L                            600          78                     2018-16 L4/1.5L                                  700        H6 (48) AGM 33
2013-09   V8/6.6L                            770          78                     2015-14 L4/2.5L Aux for Start/Stop               155        —
2006      V8/6.6L    Dsl                     800          79 2                   2015-14 L4/2.5L Start/Stop                       850        H8 (49) AGM 33
2005-03   V6/4.3L    Opt                     800          79                     2015-13 L4/2.0L                                  525        H5 (47)
2005-03   V8/4.8L    Opt                     800          79                     2014-13 L4/2.4L Hybrid                           525        H5 (47)
2005-03   V8/5.3L    Opt                     800          79               MOYER_DEPO
                                                                                 2013      000337
                                                                                         L4/2.5L                                  525        H5 (47)
                                                                                                             See page 80 for Footnotes. Selection may vary by warehouse.
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                                                                               Chevrolet
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   Automotive/Light Truck                                                                                                                                       29
                                                          ORIGINAL       GROUP SIZE                                                   ORIGINAL           GROUP SIZE
     YEAR      ENGINE                OPTIONS             EQUIPMENT        (NOTES)         YEAR      ENGINE                 OPTIONS   EQUIPMENT            (NOTES)
                                                         CCA/RATING                                                                  CCA/RATING
   Chevrolet Malibu, Monte Carlo (continued)                                           Chevrolet Malibu, Monte Carlo (continued)
   2012-09 L4/2.4L                                        590         90 (T5)           1980-71   V8/5.7L    Opt                     450          78
   2012-08 V6/3.6L                                        590         90 (T5)           1979-78   V6/3.3L                            325          75
   2010-08 V6/3.5L                                        590         90 (T5)           1979-78   V6/3.3L    Opt                     450          78
   2008      L4/2.2L                                      590         90 (T5)           1977-73   L6/4.1L                            325          75
   2008      L4/2.4L     Gas                              590         90 (T5)           1977-73   L6/4.1L    Opt                     450          78
   2008      L4/2.4L     Hybrid                           590         90 (T5)           1976-71   V8/6.6L                            325          75
   2007-06 V8/5.3L SS                                     625         —                 1976-71   V8/6.6L    Opt                     450          78
   2007-04 L4/2.2L                                        525         75                1975-71   V8/7.4L                            325          75
   2007      V6/3.5L                                      690         34                1975-71   V8/7.4L    Opt                     450          78
   2007      V6/3.5L                                      690         —                 1975      L6/4.1L                            275          75
   2007      V6/3.5L Ex SS                                690         —                 1973      V8/5.0L                            350          78
   2007      V6/3.9L                                      690         —                 1973      V8/5.0L    Opt                     465          78
   2006-04 V6/3.5L                                        525         75                1970      V8/5.7L                            325          24
   2006      V6/3.5L                                      600         34                1970      V8/6.6L                            325          24
   2006      V6/3.9L                                      750         34                1970      V8/7.4L                            450          78
   2006      V6/3.9L                                      590         75                1967-66   L6/3.8L                            N/A          26R
   2005-04 V6/3.8L                                        770         78                1967-65   V8/6.5L                            325          24
   2005-00 V6/3.4L                                        600         78                1967-64   V8/4.6L                            N/A          24
   2003-98 V6/3.8L                                        600         78                1967-64   V8/4.6L    Incl Malibu             325          24
   2003-97 V6/3.1L                                        600         75                1967      L6/4.1L                            275          26R
   2003-97 V6/3.1L Ex SS                                  600         75                1967      L6/4.1L    Opt                     380          24 7
   2000      V6/3.4L Opt                                  690         78                1966      L6/3.2L                            N/A          26R
   2000      V6/3.8L Opt                                  690         78                1966      L6/3.2L    AC                      N/A          24
   1999-97 L4/2.4L                                        600         75                1966      L6/3.8L    AC                      N/A          24
   1999-96 V6/3.1L                                        600         78                1965-64   L6/3.2L                            N/A          24
   1997-96 V6/3.4L                                        600         78                1965-64   L6/3.8L                            N/A          24
   1995      V6/3.1L                                      525         75               Chevrolet Metro
   1995      V6/3.1L HD, SEO                              690         —                 2001-98 L4/1.3L                              390          26R
   1995      V6/3.4L                                      690         —                 2000-98 L3/1.0L                              390          26R
   1988-86 V8/5.0L                                        525         75                1992    L4/1.3L                              440          —
   1988-86 V8/5.0L Opt                                    570         75               Chevrolet Monte Carlo (See Malibu, Monte Carlo)
   1988-85 V6/4.3L                                        630         75
   1987-86 V6/3.8L Opt                                    630         75               Chevrolet Nomad
   1987      V6/3.8L                                      525         75                1961-58   V8/5.7L    12-Volt                 350          24
   1986-85 V6/3.8L                                        500         75                1961-57   V8/4.6L    12-Volt                 350          24
   1985-84 V8/5.0L                                        500         75                1961-55   L6/3.8L    12-Volt                 350          24
   1985-84 V8/5.0L Opt                                    630         75                1961      V8/6.7L    12-Volt                 350          24
   1985-83 V6/3.8L Opt                                    550         78                1957-55   V8/4.3L    12-Volt                 350          24
   1984-83 V6/3.8L 229 cid, HD                            500         75               Chevrolet Nova
   1984-83 V8/5.7L Dsl, HD                                550         78               1979-78 L6/4.1L                               275          75
   1984-81 V6/3.8L                                        315         75               1979-78 V8/5.0L                               350          75
   1984      V6/3.8L 229 cid                              405         75               1979-78 V8/5.7L                               350          75
   1984      V8/5.7L Dsl                                  405         75               1979    L6/4.1L       Opt                     505          78
   1983-82 V6/4.3L Dsl                                    500         75               1979    V8/5.0L       Opt                     505          78
   1983      V6/3.8L 229 cid                              355         75               1979    V8/5.7L       Opt                     505          78
   1983      V6/4.3L Dsl, HD                              550         78               1978-71 L6/4.1L       Opt                     465          78
   1983      V8/5.0L                                      405         75               1977-76 V8/5.0L                               350          75
   1983      V8/5.0L Opt                                  500         75               1977-76 V8/5.0L       Opt                     465          78
   1983      V8/5.7L Dsl                                  500         75               1977-76 V8/5.7L                               350          75
   1982-81 V8/4.4L Opt                                    465         75               1977-71 L6/4.1L                               275          75
   1982-81 V8/5.0L Opt                                    465         75               1977-70 V8/5.7L       Opt                     465          78
   1982      V6/3.8L 229 cid                              400         75               1975-73 V8/5.7L                               350          78
   1982      V6/4.3L Dsl, HD                              465         75               1975    V8/4.3L                               350          78
   1982      V8/4.4L                                      315         75               1975    V8/4.3L       Opt                     465          78
   1982      V8/5.0L                                      315         75               1974-71 V8/5.7L                               350          75
   1982      V8/5.7L Dsl                                  465         75 2             1973-71 V8/5.0L                               350          75
   1982      V8/5.7L Dsl, HD                              550         78 2             1973-70 V8/5.0L       Opt                     465          78
   1981      V6/3.8L 229 cid                              370         75               1973    V8/5.0L                               350          78
   1981      V6/3.8L 229 cid, HD                          465         75               1972-71 V8/6.6L                               350          75
   1981      V6/3.8L HBL & AC                             350         75               1972-70 V8/6.6L       Opt                     465          78
   1981      V6/3.8L Opt                                  550         78               1971-70 V8/7.4L       Opt                     465          78
   1981      V8/4.4L                                      370         75               1971    V8/7.4L                               350          75
   1981      V8/5.0L                                      370         75               1970-69 L4/2.5L       Opt                     285          24
   1981      V8/5.7L                                      370         75               1970-69 L6/3.8L       Opt                     285          24
   1981      V8/5.7L Opt                                  465         75               1970-69 L6/4.1L       Opt                     285          24
   1980-79 V8/4.4L                                        325         75               1970    L4/2.5L                               275          26R
   1980-79 V8/4.4L Opt                                    450         78               1970    L6/3.8L                               275          26R
   1980-78 V6/3.8L                                        325         75               1970    L6/4.1L                               275          26R
   1980-78 V6/3.8L Opt                                    450         78               1970    V8/5.0L                               350          24
   1980-76 V8/5.0L                                        325         75               1970    V8/5.7L                               350          24
   1980-76 V8/5.0L Opt                                    450         78               1970    V8/6.5L                               350          24
   1980-71 V8/5.7L                                        325         75MOYER_DEPO    000338
                                                                                       1970    V8/6.5L       Opt                     465          78
   See page 80 for Footnotes. Selection may vary by warehouse.
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30                                                                               Automotive/Light Truck
                                              ORIGINAL              GROUP SIZE                                                          ORIGINAL              GROUP SIZE
  YEAR      ENGINE                 OPTIONS   EQUIPMENT               (NOTES)              YEAR     ENGINE              OPTIONS         EQUIPMENT               (NOTES)
                                             CCA/RATING                                                                                CCA/RATING
Chevrolet Nova (continued)                                                             Chevrolet Silverado (1500, 2500, 3500) (continued)
1970      V8/6.6L                            350          24                           2005-99   V8/4.8L                               600          78
1970      V8/7.4L                            350          24                           2005-99   V8/4.8L    Opt                        770          78
1969      L4/2.5L    AC, AT or HD            400          24                           2005-99   V8/5.3L                               600          78
1969      L4/2.5L    Ex AC, AT or HD         275          26R                          2005-99   V8/5.3L    Opt                        770          78
1969      L6/3.8L    AC, AT or HD            400          24                           2005-99   V8/6.0L                               600          78
1969      L6/3.8L    Ex AC, AT or HD         275          26R                          2005-99   V8/6.0L    Opt                        770          78
1969      L6/4.1L    AC, AT or HD            400          24                           2002-01   V8/6.6L    Dsl, HD                    770          78 2
1969      L6/4.1L    Ex AC, AT or HD         275          26R                          2002-01   V8/6.6L    Dsl, Opt                   770          78 2
1969      V8/5.0L    AC, AT or HD            400          24                           Chevrolet Silverado 1500 LD
1969      V8/5.0L    Ex AC, AT or HD         275          26R                          2019      V8/5.3L                               720          H7 (94R)
1969      V8/5.0L    Opt                     285          24
1969      V8/5.7L    AC, AT or HD            400          24                           Chevrolet Silverado 2500 HD Classic
1969      V8/5.7L    Ex AC, AT or HD         275          26R                          2007      V8/8.1L    Early                      600          78
1969      V8/5.7L    Opt                     285          24                           2007      V8/8.1L    Late                       615          H6 (48)
1969      V8/6.5L    AC, AT or HD            400          24                           Chevrolet Silverado 3500 Classic
1969      V8/6.5L    Ex AC, AT or HD         275          26R                          2007      V8/6.0L    Early                      600          78
1969      V8/6.5L    Opt                     285          24                           2007      V8/6.0L    Late                       615          H6 (48)
Chevrolet Optra                                                                        2007      V8/6.6L    Dsl                        770          78 2
2007-04 L4/2.0L                              640          86                           2007      V8/8.1L    Early                      600          78
Chevrolet Orlando                                                                      2007      V8/8.1L    Late                       615          H6 (48)
2014-12 L4/2.4L                              615          H6 (48)                      Chevrolet Sonic
Chevrolet P30                                                                          2019-12 L4/1.4L                                 525          H5 (47)
                                                                                       2018-12 L4/1.8L                                 525          H5 (47)
1991-90   L4/3.9L                            425          75
1991-90   L4/3.9L                            630          78                           Chevrolet Spark
1990      V6/4.3L                            525          75                           2019      L4/1.4L                               375          —
1999-91   V6/4.3L                            600          78                           2018-16   L4/1.4L                               375          —
1990-87   V8/5.7L                            525          75                           2017-16   L4/1.4L                               410          —
1999-91   V8/5.7L                            600          78                           2015-13   L4/1.2L                               375          —
1993-90   V8/6.2L                            600          78                           2015-13   L4/1.2L                               410          —
1999-94   V8/6.5L                            600          78                           Chevrolet Spark EV
1999-90   V8/7.4L                            600          78                           2016-14              Electric                   520          —
Chevrolet R Series Pickup (See C/K, R/V Pickups)                                       Chevrolet SS
Chevrolet Silverado (1500, 2500, 3500)                                          2017-14 V8/6.2L                                   730        H6 (48) AGM 33, 50
2019-14   V6/4.3L                            730          H6 (48)               Chevrolet S-Series: Blazer, Pickup
2019      L4/2.7L                            720          H7 (94R) AGM 33       2004-94 V6/4.3L Opt                               690        —
2019      V8/6.0L                            600          78                    2004-88 V6/4.3L                                   525        75
2019      V8/6.0L    Aux Battery             770          78                    2003-94 L4/2.2L                                   525        75
2019      V8/6.2L                            720          H7 (94R) AGM 33       2003-94 L4/2.2L   Opt                             690        —
2019      V8/6.6L    Dsl                     600          78                    1993-90 L4/2.5L   Opt                             630        78
2018-14   V8/5.3L                            720          H7 (94R)              1993-88 V6/4.3L Opt                               630        78
2018-14   V8/6.0L                            720          H7 (94R)              1993-87 V6/2.8L Opt                               630        78
2018-14   V8/6.2L                            720          H7 (94R)              1989-87 V6/2.8L                                   525        75
2018-08   V8/6.6L    Dsl                     730          H6 (48) 2

2016      V8/6.6L    Dsl                     720          H7 (94R)  2           Chevrolet       SSR
2014-09   V6/4.3L    Opt                     730          H6 (48)               2006-05 V8/6.0L                                   600        78
2014-09   V8/5.3L    Opt                     730          H6 (48)               2004-03 V8/5.3L                                   600        78
2014      V6/4.3L                            720          H7 (94R)              Chevrolet Suburban
2013-09   V6/4.3L                            615          H6 (48)               2019-15 V8/5.3L                                   720        H7 (94R)
2013-09   V8/4.8L                            615          H6 (48)               2019    V8/5.3L Aux Battery                       730        H6 (48)
2013-09   V8/4.8L    Opt                     730          H6 (48)               2019    V8/6.2L                                   720        H7 (94R)
2013-09   V8/5.3L                            615          H6 (48)               2019    V8/6.2L Aux Battery                       730        H6 (48)
2013-09   V8/6.0L                            615          H6 (48)               2014-12 V8/5.3L                                   660        H6 (48)
2013-09   V8/6.0L    Opt                     730          H6 (48)               2014-09 V8/5.3L Opt                               730        H6 (48)
2013-09   V8/6.2L                            615          H6 (48)               2013-12 V8/6.0L                                   660        H6 (48)
2013-09   V8/6.2L    Opt                     730          H6 (48)               2013-09 V8/6.0L Opt                               730        H6 (48)
2012-01   V8/6.6L    Dsl                     600          78                    2011-07 V8/5.3L                                   615        H6 (48)
2010-09   V8/6.0L    HD, Hybrid              730          H6 (48)               2011-07 V8/6.0L                                   615        H6 (48)
2008-07   V6/4.3L    From Late 2007          615          H6 (48)
                                                                                2006-01 V8/8.1L                                   600        78
2008-07   V8/4.8L    From Late 2007          615          H6 (48)
                                                                                2006-00 V8/5.3L Primary Battery                   600        78
2008-07   V8/5.3L    From Late 2007          615          H6 (48)
                                                                                2006-00 V8/6.0L                                   600        78
2008-07   V8/6.0L    From Late 2007          615          H6 (48)
2007-06   V6/4.3L    Early 2007              600          78                    2006    V8/6.0L Opt                               690        78
2007-06   V8/4.8L    Early 2007              600          78                    2005-03 V8/5.3L Opt                               770        78
2007-06   V8/5.3L    Early 2007              600          78                    2005-03 V8/6.0L Opt                               770        78
2007-06   V8/6.0L    Early 2007              600          78                    2005-03 V8/8.1L Opt                               770        78
2007-03   V8/6.6L    Dsl                     770          78                    2002-01 V8/8.1L Opt                               690        78
2006      V8/8.1L    Early 2007              600          78                    2002-00 V8/5.3L Opt                               690        78
2005-01   V8/8.1L                            600          78                    2002-00 V8/6.0L Opt                               690        78
2005-01   V8/8.1L    Opt                     770          78                    2000    V8/5.3L HD or PPkg                        770        78
2005-99   V6/4.3L                            600          78                    2000    V8/5.3L PPkg & Opt                        770        78
2005-99   V6/4.3L    Opt                     770          78              MOYER_DEPO
                                                                                2000      000339
                                                                                        V8/6.0L   HD or PPkg                      770        78
                                                                                                             See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                 31
                                                           ORIGINAL             GROUP SIZE                                                  ORIGINAL              GROUP SIZE
     YEAR       ENGINE                 OPTIONS            EQUIPMENT              (NOTES)         YEAR      ENGINE               OPTIONS    EQUIPMENT               (NOTES)
                                                          CCA/RATING                                                                       CCA/RATING
   Chevrolet Suburban 3500 HD                                                                 Chrysler 300
   2019-16 V8/6.0L                                        720          H7 (94R)                2018-11   V6/3.6L                           730          H7 (94R) 50
   2019    V8/6.0L       Aux Battery                      730          H6 (48)                 2018-05   V8/5.7L                           730          H7 (94R) 50
   Chevrolet Tahoe                                                                             2014-12   V8/6.4L                           730          H7 (94R) 50
   2019-18   V8/6.2L                                      720          H7 (94R)                2010-05   V6/2.7L                           730          H7 (94R) 50
   2019-15   V8/5.3L                                      720          H7 (94R)                2010-05   V6/3.5L                           730          H7 (94R) 50
   2019      V8/5.3L     Aux Battery                      730          H6 (48)                 2010-05   V8/6.1L                           730          H7 (94R) 50
   2019      V8/6.2L     Aux Battery                      730          H6 (48)                 2009-08   V6/3.5L                           730          H7 (94R) 50, 57
   2015-12   V8/5.3L                                      660          H6 (48)                Chrysler 300M
   2015-09   V8/5.3L     Opt                              730          H6 (48)
                                                                                               2004-99 V6/3.5L                             600          34
   2013-12   V8/6.0L     Hybrid                           660          H6 (48)
   2013-09   V8/6.0L     Hybrid, Opt                      730          H6 (48)                Chrysler Aspen
   2011-08   V8/6.0L     Hybrid                           615          H6 (48)                 2009-08   V8/4.7L                           750          65 57
   2011-07   V8/5.3L                                      615          H6 (48)                 2009-08   V8/5.7L                           750          65 57
   2009-08   V8/6.2L                                      615          H6 (48)                 2007      V8/4.7L                           750          65
   2009-08   V8/6.2L     Opt                              730          H6 (48)                 2007      V8/5.7L                           750          65
   2009-07   V8/4.8L                                      615          H6 (48)                Chrysler Cirrus
   2009      V8/4.8L     Opt                              730          H6 (48)                 2000-95 L4/2.4L                             510          75
   2006-00   V8/4.8L                                      600          78
                                                                                               2000-95 V6/2.5L                             510          75
   2006-00   V8/5.3L                                      600          78
                                                                                               2000    L4/2.0L                             510          75
   2005-03   V8/4.8L     Opt                              770          78
   2005-03   V8/5.3L     Opt                              770          78                     Chrysler Concorde, Intrepid, LHS
   2002-00   V8/4.8L     Opt                              690          78                      2004-98   V6/2.7L                           500          34
   2001-00   V8/5.3L     Opt                              690          78                      2004-95   V6/3.5L                           600          34
   2000-99   V8/5.7L     Opt                              690          78                      2001-98   V6/3.2L                           600          34
   2000-95   V8/5.7L                                      600          78                      1997-95   V6/3.3L                           600          34
   1999      V8/5.7L     HD, PPkg                         770          78                      1994-93   V6/3.3L                           500          34
   1999      V8/6.5L     Dsl                              690          78                      1994-93   V6/3.5L                           500          34
   1998-97   V8/6.5L     Dsl                              600          78                     Chrysler &URVVğUH
   1996-95   V8/6.5L     Dsl                              770          78
                                                                                               2008      V6/3.2L                           700          H6 (48) 50
   Chevrolet Tracker                                                                           2007-06   V6/3.2L                           640          H6 (48) 50
   2004-01   V6/2.5L                                      600          —                       2005      V6/3.2L                           700          H6 (48) 50
   2003      L4/2.0L                                      600          —                       2004      V6/3.2L                           580          H6 (48) 50
   2002-99   L4/1.6L                                      550          —
   2002-99   L4/2.0L                                      550          —                      Chrysler Daytona, Dynasty
   1998      L4/1.6L                                      500          26R                     1993-92   L4/2.2L                           600          34
   1991-90   L4/1.6L                                      525          —                       1993-92   L4/2.5L                           600          34
   1989      L4/1.6L                                      470          51                      1993-91   V6/3.3L                           500          34
   Chevrolet TrailBlazer                                                                       1993-89   V6/3.0L                           500          34
   2009-06 V8/6.0L                                        600          78 40                   1991      L4/2.5L                           625          34
   2009-02 L6/4.2L                                        600          78 40                   1991      L4/2.5L    Ex Turbo               625          34
   2008-06 V8/5.3L                                        600          78 40                   1991      L4/2.5L    Turbo                  500          34
   Chevrolet TrailBlazer EXT                                                                   1991      V6/3.0L                           625          34
   2006-03 V8/5.3L                                        600          78 40                   1990-88   L4/2.2L                           500          34
   2006-02 L6/4.2L                                        600          78 40                   1990-88   L4/2.5L                           500          34
   Chevrolet Traverse                                                                          1990      V6/3.3L                           600          34
   2019-18   L4/2.0L                                      730          H7 (94R) AGM 33        Chrysler Grand Voyager, Voyager
   2019-18   V6/3.6L                                      730          H7 (94R) AGM 33         2003-01   V6/3.3L                           600          34
   2017-10   V6/3.6L                                      660          H6 (48) 50              2003-00   L4/2.4L                           600          34
   2009      V6/3.6L                                      730          H6 (48) 50              2000      V6/3.0L                           500          34
   Chevrolet Trax                                                                              2000      V6/3.3L                           500          34
   2019-18 L4/1.4L       w/o Start/Stop                   525          H5 (47)                 2000      V6/3.3L    Opt                    600          34
   2019-18 L4/1.4L       w/Start/Stop                     730          H6 (48) AGM 33         Chrysler Imperial
   2017-13 L4/1.4L                                        525          H5 (47)                 1993-91 V6/3.8L                             500          34
   Chevrolet Uplander                                                                          1991-90 V6/3.3L                             500          34
   2009-06 V6/3.9L                                        600          34                     Chrysler LeBaron
   2006-05 V6/3.5L                                        600          34                      1995-92   V6/3.0L                           500          34
   Chevrolet V Series Pickup (See C/K, R/V Pickups)                                            1994-92   L4/2.5L                           600          34
   Chevrolet Volt                                                                              1991      L4/2.5L    Convertible, Turbo     500          34
   2019      L4/1.5L     Hybrid                           630          H5 (47) AGM 33, 50      1991      L4/2.5L    Coupe, Ex Turbo        625          34
   2018-16   L4/1.5L     Hybrid                           600          H5 (47) AGM 33, 50      1991      L4/2.5L    Coupe, Turbo           500          34
   2016      L4/1.5L     Hybrid                           630          H5 (47) AGM 33, 50      1991      L4/2.5L    Coupe/Conv, Ex Turbo   625          34
   2015-11   L4/1.4L     Hybrid                           600          H5 (47) AGM 33, 50      1991      L4/2.5L    Coupe/Conv, Turbo      500          34
   2015-11   L4/1.4L     Hybrid                           630          H5 (47) AGM 33, 50      1991      L4/2.5L    Sedan                  625          34
   Chrysler 200                                                                                1991      V6/3.0L    Coupe/Conv             625          34
   2017-15   L4/2.4L                                      600          H6 (48)                 1991      V6/3.0L    Sedan                  625          34
   2017-15   L4/2.4L     Opt                              730          H7 (94R)                1990-88   L4/2.2L                           500          34
   2017-15   V6/3.6L                                      600          H6 (48)                 1990-88   L4/2.5L                           500          34
   2017-15   V6/3.6L     Opt                              730          H7 (94R)                1990      V6/3.0L                           500          34
   2014-11   L4/2.4L                                      525          86                     Chrysler Neon
   2014-11   V6/3.6L                                      525          86MOYER_DEPO          000340
                                                                                              2002-00 L4/2.0L                              450          26R
   See page 80 for Footnotes. Selection may vary by warehouse.
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32                                                                                      Automotive/Light Truck
                                                     ORIGINAL              GROUP SIZE                                                           ORIGINAL            GROUP SIZE
  YEAR      ENGINE               OPTIONS            EQUIPMENT               (NOTES)         YEAR      ENGINE               OPTIONS             EQUIPMENT             (NOTES)
                                                    CCA/RATING                                                                                 CCA/RATING
Chrysler New Yorker                                                                       Dodge 2000 GTX
1996-95   V6/3.5L                                   600          34                       1990      L4/2.0L                                    500          24
1994      V6/3.5L                                   500          34                       Dodge Avenger
1993-91   V6/3.8L                                   500          34                       2014-11   V6/3.6L                                    525          86
1993-90   V6/3.3L                                   500          34                       2014-08   L4/2.4L                                    525          86
Chrysler 3DFLğFD                                                                          2010-08   V6/2.7L                                    525          86
2018-17   V6/3.6L    Hybrid                         760          H6 (48) AGM 33           2010-08   V6/3.5L                                    525          86
2018      V6/3.6L    Gas                            650          H6 (48) AGM 33           2009-08   V6/3.5L                                    525          86 57
2017      V6/3.6L    Gas                            750          H7 (94R)                 2000-95   V6/2.5L                                    525          86
2008-07   V6/3.8L                                   600          34                       1999-95   L4/2.0L                                    525          86
2008-07   V6/4.0L                                   600          34                       1997-95   L4/2.0L    MT                              430          86
2006-05   V6/3.5L                                   600          34                       Dodge B-Series Vans (150, 250, 350, 1500, 3500)
2005      V6/3.8L                                   600          34                       1998-96   V8/5.2L                                    600          27
2004      V6/3.5L                                   500          34                       1998-96   V8/5.2L    Opt                             750          27
Chrysler Prowler                                                                          1998-92   V6/3.9L    Ex T-Series                     600          27
2002-01 V6/3.5L                                     525          34                       1998-92   V6/3.9L    HD, Ex T-Series                 750          27
Chrysler PT Cruiser                                                                       1998-92   V8/5.2L    Ex T-Series                     600          27
2010-03 L4/2.4L                                     510          26R                      1998-92   V8/5.2L    HD, Ex T-Series                 750          27
2002-01 L4/2.4L                                     540          26R                      1998-92   V8/5.9L    Ex T-Series                     600          27
                                                                                          1998-92   V8/5.9L    HD, Ex T-Series                 750          27
Chrysler Sebring                                                                          1995-88   V6/3.9L    T-Series                        810          —
2010-07   V6/3.5L    Top Terminal                   525          86                       1995-88   V8/5.2L    T-Series                        810          —
2010-01   L4/2.4L    Top Terminal                   525          86                       1995-88   V8/5.9L    T-Series                        810          —
2010-01   L4/2.4L    w/side Terminals               510          75                       1995      V8/5.2L    Cutaway                         810          —
2010-01   V6/2.7L    Top Terminal                   525          86                       1995      V8/5.2L    Ex Cutaway                      600          27
2010-01   V6/2.7L    w/side Terminals               510          75                       1995      V8/5.2L    Ex Cutaway Opt                  750          27
2005-01   V6/3.0L    Top Terminal                   525          86                       1991-89   V8/5.9L                                    685          34
2005-01   V6/3.0L    w/side Terminals               510          75                       1991-88   V6/3.9L                                    600          34
2000-98   V6/2.5L    Top Terminal                   525          86                       1991-88   V6/3.9L    Opt                             685          34
2000-95   V6/2.5L    w/side Terminals               510          75                       1991-88   V8/5.2L                                    600          34
1999-98   L4/2.0L    Top Terminal                   525          86                       1991-88   V8/5.2L    Opt                             685          34
1999-98   L4/2.0L    w/side Terminals               510          75
1998-96   L4/2.4L    Conv                           510          75
                                                                                          Dodge Caliber
                                                                                          2012-07 L4/2.0L                                      525          86
1997-96   L4/2.0L    Ex Conv w/MT                   430          86
                                                                                          2011-07 L4/2.4L                                      525          86
1997-95   L4/2.0L    Top Terminal, Ex Conv, Ex MT   525          86
                                                                                          2009-07 L4/1.8L                                      525          86
1997-95   V6/2.5L    Top Terminal, Ex Conv, Ex MT   525          86
Chrysler TC by Maserati                                                                   Dodge Caravan, Grand Caravan
                                                                                          2019-12   V6/3.6L                                    730          H7 (94R)
1991-90 V6/3.0L                                     500          34
                                                                                          2011      V6/3.6L                                    700          H7 (94R)
1990-89 L4/2.2L                                     500          34
                                                                                          2010-07   V6/3.3L                                    600          34
Chrysler Town & Country                                                                   2010      V6/3.8L                                    600          34
2016-12   V6/3.6L                                   730          H7 (94R)                 2010      V6/4.0L                                    600          34
2011      V6/3.6L                                   700          H7 (94R)                 2009-08   V6/3.3L                                    600          34 57
2010      V6/3.3L                                   600          34                       2009-08   V6/3.8L                                    600          34 57
2010      V6/3.8L                                   600          34                       2009-08   V6/4.0L                                    600          34 57
2010      V6/4.0L                                   600          34                       2007      L4/2.4L                                    600          34
2009-08   V6/3.3L                                   600          34 57                    2007      V6/3.8L                                    600          34
2009-08   V6/3.8L                                   600          34 57                    2006-04   V6/3.8L    Opt                             600          34
2009-08   V6/4.0L                                   600          34 57                    2006-03   L4/2.4L                                    500          34
2007      V6/3.3L                                   600          34                       2006-03   L4/2.4L    Opt                             600          34
2007      V6/3.8L                                   600          34                       2006-03   V6/3.8L                                    500          34
2006-04   V6/3.3L    Opt                            600          34                       2006-01   V6/3.3L    Opt                             600          34
2006-96   V6/3.3L                                   500          34                       2006-90   V6/3.3L                                    500          34
2006-94   V6/3.8L                                   500          34                       2002-96   L4/2.4L                                    600          34
2006-94   V6/3.8L    Opt                            600          34                       2002-94   V6/3.8L                                    600          34
1997      V6/3.8L                                   600          34                       2000-90   V6/3.0L                                    500          34
1993-92   V6/3.3L                                   500          34                       1999-96   L4/2.4L    Opt                             685          34
1991-90   V6/3.3L                                   625          34                       1999-94   V6/3.8L    Opt                             685          34
Daewoo Lanos                                                                              1999-92   V6/3.0L    Opt                             685          34
2002-99 L4/1.5L                                     525          86 11                    1999-92   V6/3.3L    Opt                             685          34
2002-99 L4/1.6L                                     525          86 11                    1995-92   L4/2.5L                                    600          34
Daewoo Leganza                                                                            1995-92   L4/2.5L    Opt                             685          34
2002-01 L4/2.2L                                     620          86 11                    1991-90   V6/3.3L    Opt                             625          34
2000-99 L4/2.2L                                     630          86 11                    1991-88   L4/2.5L                                    500          34
                                                                                          1990      L4/2.5L    Opt                             625          34
Daewoo Nubira                                                                             1990      V6/3.0L    Opt                             625          34
2002-01 L4/2.0L                                     620          86   11

2000-99 L4/2.0L                                     630          86 11
                                                                                          Dodge Challenger
                                                                                        2019-16 V8/6.2L                                        730        H7 (94R) 50
Daihatsu Charade                                                                        2019-11 V6/3.6L                                        730         H7 (94R) 50
1992-89 L4/1.3L                                     500          26R                    2019-11 V8/6.4L                                        730         H7 (94R) 50
1992-88 L3/1.0L                                     500          26R                    2019-09 V8/5.7L                                        730         H7 (94R) 50
Daihatsu Rocky                                                                          2010-09 V6/3.5L                                        730         H7 (94R) 50
1992-90 L4/1.6L                                     500          —                MOYER_DEPO     000341
                                                                                        2010-08 V8/6.1L                                        730         H7 (94R) 50
                                                                                                                          See page 80 for Footnotes. Selection may vary by warehouse.
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                                                                                 Dodge
                                      929
   Automotive/Light Truck                                                                                                                                              33
                                                          ORIGINAL              GROUP SIZE                                                ORIGINAL              GROUP SIZE
     YEAR      ENGINE                OPTIONS             EQUIPMENT               (NOTES)         YEAR      ENGINE              OPTIONS   EQUIPMENT               (NOTES)
                                                         CCA/RATING                                                                      CCA/RATING
   Dodge Challenger (continued)                                                               Dodge Colt (continued)
   1974-72   V8/6.6L                                     350          27                       1990-88   L4/1.5L    Wagon                435          51
   1974-71   V8/5.9L                                     350          27                       1990      L4/1.5L                         435          51
   1974-70   V8/5.2L                                     350          27                       1990      L4/1.5L    Ex Wagon             355          25
   1974      V8/5.9L                                     440          24                       1990      L4/1.6L                         435          51
   1973-70   V8/5.6L                                     350          27                       1990      L4/1.6L    Can                  420          25
   1972-70   L6/3.7L                                     350          27                       1990      L4/1.8L                         355          25
   1972-70   V8/7.2L                                     350          27                      Dodge D/W Series Pickups (150, 250, 350)
   1971-70   L6/3.2L                                     350          27                       1993-92   L6/5.9L                         600          27
   1971-70   V8/6.3L                                     350          27                       1993-92   L6/5.9L    Opt                  810          27
   1971-70   V8/7.0L                                     350          27                       1993-92   V6/3.9L                         600          27
   Dodge Charger                                                                               1993-92   V6/3.9L    Opt                  810          27
   2018-17   V8/6.4L                                     730          H7 (94R) 50              1993-92   V8/5.2L                         600          27
   2018-15   V8/6.2L     Ex PPkg                         730          H7 (94R) 50              1993-92   V8/5.2L    Opt                  810          27
   2018-11   V6/3.6L     Ex PPkg                         730          H7 (94R) 50              1993-92   V8/5.9L                         600          27
   2018-11   V6/3.6L     PPkg                            800          —                        1993-92   V8/5.9L    Opt                  810          27
   2018-11   V8/5.7L     PPkg                            800          —                        1993-89   L6/5.9L    Dsl                  600          27 2
   2018-10   V8/5.7L     Ex PPkg                         730          H7 (94R) 50              1993-89   L6/5.9L    Dsl                  1025         —
   2016-12   V8/6.4L     Ex PPkg                         730          H7 (94R) 50              1993-89   L6/5.9L    Dsl, Opt             770          78 2
   2016-12   V8/6.4L     PPkg                            800          —                        1991-89   L6/5.9L                         600          34
   2010-06   V6/2.7L     Ex PPkg                         730          H7 (94R) 50              1991-89   L6/5.9L    Opt                  685          34
   2010      V6/2.7L                                     730          H7 (94R) 50              1991-88   V6/3.9L                         600          34
   2010      V6/3.5L     Ex PPkg                         730          H7 (94R) 50              1991-88   V6/3.9L    Opt                  685          34
   2010      V6/3.5L     PPkg                            800          —                        1991-88   V8/5.2L                         600          34
   2010      V8/5.7L     PPkg                            850          —                        1991-88   V8/5.2L    Opt                  685          34
   2010      V8/6.1L     Ex PPkg                         730          H7 (94R) 50              1991-88   V8/5.9L                         600          34
   2010      V8/6.1L     PPkg                            850          —                        1991-88   V8/5.9L    Opt                  685          34
   2009-08   V6/2.7L                                     730          H7 (94R) 50, 57         Dodge Dakota
   2009-08   V6/3.5L     Ex PPkg                         730          H7 (94R) 50, 57          2010      V6/3.7L                         600          65
   2009-08   V8/5.7L     Ex PPkg                         730          H7 (94R) 50, 57          2010      V6/3.7L    Opt                  750          65
   2009      V6/3.5L     PPkg                            800          —                        2010      V8/4.7L                         600          65
   2009      V8/5.7L     PPkg                            800          —                        2010      V8/4.7L    Opt                  750          65
   2009      V8/6.1L     Ex PPkg                         730          H7 (94R) 50, 57          2009-08   V6/3.7L                         600          65 57
   2009      V8/6.1L     PPkg                            800          —                        2009-08   V8/4.7L                         600          65 57
   2008-06   V8/5.7L     PPkg                            850          —                        2009      V6/3.7L    Opt                  750          65 57
   2008-06   V8/6.1L     Ex PPkg                         730          H7 (94R) 50              2009      V8/4.7L    Opt                  750          65 57
   2008-06   V8/6.1L     PPkg                            850          —                        2007-06   V6/3.7L                         600          65
   2008      V6/3.5L     PPkg                            850          —                        2007-06   V8/4.7L                         600          65
   2007-06   V6/2.7L                                     730          H7 (94R) 50              2006      V6/3.7L    Opt                  650          65
   2007-06   V6/3.5L     Ex PPkg                         730          H7 (94R) 50              2006      V8/4.7L    Opt                  650          65
   2007-06   V6/3.5L     PPkg                            850          —                        2005-04   V6/3.7L                         600          27
   2007-06   V8/5.7L     Ex PPkg                         730          H7 (94R) 50              2005-00   V8/4.7L                         600          27
   1977-72   V8/6.6L                                     350          27                       2004-01   V8/4.7L    Opt                  750          27
   1977-71   V8/5.9L                                     350          27                       2003-98   V8/5.9L                         600          27
   1977-66   V8/5.2L                                     350          27                       2003-98   V8/5.9L    Opt                  750          27
   1976-68   L6/3.7L                                     350          27                       2003-92   V6/3.9L                         600          27
   1974-67   V8/7.2L                                     350          27                       2003-92   V6/3.9L    Opt                  750          27
   1974      V8/5.9L                                     440          24                       2002-92   L4/2.5L                         600          27
   1973-70   V8/5.6L                                     350          27                       1999-92   L4/2.5L    Opt                  750          27
   1971-66   V8/6.3L                                     350          27                       1999-92   V8/5.2L                         600          27
   1971-66   V8/7.0L                                     350          27                       1999-92   V8/5.2L    Opt                  750          27
                                                                                               1991-89   L4/2.5L                         600          34
   1969      V8/7.2L                                     440          27
                                                                                               1991-89   L4/2.5L    Opt                  685          34
   1967      V8/4.5L                                     350          27
                                                                                               1991-89   V8/5.2L                         600          34
   1966      V8/5.9L                                     350          24
                                                                                               1991-89   V8/5.2L    Opt                  685          34
   Dodge Colt                                                                                  1991-88   V6/3.9L                         600          34
   1995-93 L4/1.5L       Can                              580         24                       1991-88   V6/3.9L    Opt                  685          34
   1995-93 L4/1.5L       US                               435         51
                                                                                              Dodge Dart
   1994-93 L4/1.8L       Can                              580         24
   1994-93 L4/1.8L       US                               435         51                       2016-14   L4/1.4L                         600          —
   1994-93 L4/2.4L       Can                              580         24                       2016-14   L4/2.0L    SE                   600          —
   1994-93 L4/2.4L       US                               435         51                       2016-13   L4/2.0L    Ex SE                600          H6 (48)
   1992-91 L4/1.5L       US                               355         25                       2016-13   L4/2.4L                         600          H6 (48)
   1992-91 L4/1.5L       US, HD                           430         25                       2016-13   L4/2.4L    Opt                  500          H5 (47)
   1992      L4/1.5L     Can, Ex Wagon                    420         25                       2016      L4/2.0L                         600          —
   1992      L4/1.8L     Can, Ex Wagon                    420         25                       2014-13   L4/1.4L                         600          H6 (48)
   1992      L4/1.8L     US                               355         25                       2014-13   L4/2.0L    SE                   500          H5 (47)
   1992      L4/1.8L     US, HD                           430         25                       2014      L4/1.4L                         500          H5 (47)
   1991-90 L4/1.5L       Can                              420         25                       2014      L4/2.0L                         500          H5 (47)
   1991-84 L4/2.0L       Can                              420         25                      Dodge Daytona
   1991      L4/2.0L     US                               435         51                      1993-92 L4/2.2L                            600          34
   1990-89 L4/1.8L       Wagon                            435         51                      1993-92 L4/2.5L                            600          34
   1990-89 L4/2.0L       Wagon, US                        435         51MOYER_DEPO           000342
                                                                                              1993-90 V6/3.0L                            500          34
   See page 80 for Footnotes. Selection may vary by warehouse.
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                                                     929
34                                                                                Automotive/Light Truck
                                             ORIGINAL             GROUP SIZE                                                             ORIGINAL            GROUP SIZE
  YEAR      ENGINE                OPTIONS   EQUIPMENT              (NOTES)                 YEAR      ENGINE              OPTIONS        EQUIPMENT             (NOTES)
                                            CCA/RATING                                                                                  CCA/RATING
Dodge Daytona (continued)                                                                Dodge Neon
1991      L4/2.5L    Ex Turbo               625          34                              2005-03 L4/2.4L                                450          26R
1991      L4/2.5L    Turbo                  500          34                              2005-00 L4/2.0L                                450          26R
1990-88   L4/2.2L                           500          34                              1999-95 L4/2.0L                                450          58 35
1990-88   L4/2.5L                           500          34                              Dodge Nitro
Dodge Durango                                                                            2011-07 V6/3.7L                                600          34
2018      V6/3.6L    Aux for Start/Stop     200          —                               2011-07 V6/4.0L                                600          34
2018      V6/3.6L    w/o Start/Stop         700          H7 (94R) 50                     Dodge Omni
2018      V6/3.6L    w/Start/Stop           650          H6 (48) AGM 33, 50              1990      L4/2.2L                              430          34
2018      V8/5.7L                           700          H7 (94R) 50                     Dodge Ram 50
2018      V8/5.7L    Opt                    800          —                               1993-91   L4/2.4L    4WD                       435          51
2018      V8/6.4L                           700          H7 (94R) 50                     1993-91   L4/2.4L    RWD, Can                  490          24
2018      V8/6.4L    Opt                    800          —                               1993-91   L4/2.4L    RWD, US                   435          51
2017-16   V6/3.6L    Aux for Start/Stop     200          —                               1992-91   L4/2.4L    RWD, HD, Can              580          24
2017-16   V6/3.6L    w/o Start/Stop         800          H7 (94R) AGM 33, 50             1991-90   V6/3.0L                              490          24
2017-16   V6/3.6L    w/Start/Stop           760          H6 (48) AGM 33, 50              1991      V6/3.0L    Opt                       580          24
2017-15   V8/5.7L                           800          H8 (49) AGM 33, 50              1990      L4/2.4L    Can                       580          24
2015-14   V6/3.6L                           730          H7 (94R) AGM 33, 50             1990      L4/2.4L    US                        435          51
2014      V8/5.7L                           800          H8 (49) AGM 33
                                                                                         Dodge Ram Pickup (1500-3500)
2013-11   V6/3.6L                           700          H7 (94R) AGM 33, 50
                                                                                2010    L6/6.7L  Dsl                               730        H7 (94R) 2
2013-11   V8/5.7L                           700          H7 (94R) AGM 33, 50
                                                                                2010    V6/3.7L                                    700        H7 (94R)
2009      V6/3.7L                           750          65 57
                                                                                2010    V8/4.7L                                    700        H7 (94R)
2009      V8/4.7L                           750          65 57
                                                                                2010    V8/5.7L                                    700        H7 (94R)
2009      V8/5.7L                           750          65 57
                                                                                2009-08 L6/6.7L  Dsl                               750        65 2, 57
2009      V8/5.7L    Hybrid                 500          90 (T5) 57
                                                                                2009    V6/3.7L Mexico Production                  700        65 57
2008      V6/3.7L                           600          65 57                  2009    V6/3.7L US Production                      700        H7 (94R)
2008      V8/4.7L                           600          65 57                  2009    V8/4.7L Mexico Production                  700        65 57
2008      V8/5.7L                           600          65 57                  2009    V8/4.7L US                                 700        H7 (94R) 57
2007-04   V6/3.7L                           600          65                     2009    V8/4.7L US Production                      700        H7 (94R)
2007-04   V8/4.7L                           600          65                     2009    V8/5.7L Mexico Production                  700        65 57
2007-04   V8/5.7L                           600          65                     2009    V8/5.7L US Production                      700        H7 (94R)
2006-04   V6/3.7L    Opt                    750          65                     2008    V6/3.7L                                    600        65 57
2006      V8/4.7L    Opt                    750          65                     2008    V8/4.7L                                    600        65 57
2006      V8/5.7L    Opt                    750          65                     2008    V8/5.7L HD, Mexico Production              750        65 57
2003-00   V8/4.7L                           600          27                     2008    V8/5.7L HD, US Production                  730         H7 (94R)
2003-00   V8/4.7L    Opt                    750          27                     2008    V8/5.7L Mexico Production                  650        65 57
2003-98   V8/5.9L                           600          27                     2008    V8/5.7L US                                 625        H7 (94R) 57
2003-98   V8/5.9L    Opt                    750          27                     2008    V8/5.7L US Production                      625        H7 (94R)
2000-98   V8/5.2L                           600          27                     2007-06 V6/3.7L                                    600        65
2000-98   V8/5.2L    Opt                    750          27                     2007-03 V8/5.7L                                    600        65
1999-98   V6/3.9L                           600          27                     2007-03 V8/5.7L Opt                                750        65
1999-98   V6/3.9L    Opt                    750          27                     2007-02 L6/5.9L  Dsl                               750        65 2
Dodge Dynasty                                                                   2007    L6/6.7L  Dsl                               750        65 2
1993-92   L4/2.5L                           600          34                     2007    V8/4.7L                                    750        65
1993-90   V6/3.3L                           500          34                     2006-03 V6/3.7L Opt                                750        65
1993-88   V6/3.0L                           500          34                     2006-03 V8/4.7L Opt                                750        65
1991      L4/2.5L    Ex Turbo               625          34                     2006    V10/8.3L                                   600        65
1990-88   L4/2.5L                           500          34                     2006    V10/8.3L Opt                               750        65
Dodge Grand Caravan (See Caravan, Grand Caravan)                                2006    V8/4.7L                                    600        65
                                                                                2005-04 V10/8.3L                                   750        65
Dodge Intrepid                                                                  2005-04 V6/3.7L                                    650        65
2004-00   V6/3.5L                           600          34                     2005    V8/4.7L                                    650        65
2004-98   V6/2.7L                           500          34                     2004-03 V8/4.7L                                    600        65
2000-98   V6/3.2L                           600          34                     2003-94 V8/5.9L                                    600        27
1997-95   V6/3.3L                           600          34                     2003-94 V8/5.9L Opt                                750        27
1997-95   V6/3.5L                           600          34                     2003    V10/8.0L Late 2002 on                      750        65
1994-93   V6/3.3L                           500          34                     2003    V6/3.7L                                    600        65
1994-93   V6/3.5L                           500          34                     2002-01 V10/8.0L Early 2002                        750        27
Dodge Journey                                                                   2002    L6/5.9L  Dsl, Early, 2500, 3500            750        27 2
2018-11 V6/3.6L                             525          86                     2002    L6/5.9L  Dsl, Late                         650        65 2
2018-09 L4/2.4L                             525          86                     2002    L6/5.9L  Dsl, Late 2002, 2500, 3500        750        65 2
2010-09 V6/3.5L                             525          86                     2002    V10/8.0L Late 2002                         650        65
                                                                                2002    V6/3.7L Early or HD                        750        27
Dodge Magnum                                                                    2002    V6/3.7L Late 2002                          650        65
2008-06   V8/6.1L                           730          H7 (94R) 50            2002    V8/4.7L Late 2002                          650        65
2008-05   V6/2.7L                           730          H7 (94R) 50            2002    V8/4.7L Late 2002, 2500, 3500              750        27
2008-05   V6/3.5L                           730          H7 (94R) 50            2002    V8/5.9L Early or HD                        750        27
2008-05   V8/5.7L                           730          H7 (94R) 50            2002    V8/5.9L Late                               650        65
Dodge Monaco                                                                    2002    V8/5.9L Late 2002                          650        65
1992      V6/3.0L                           600          34                     2001-00 L6/5.9L  Dsl                               750        27 2
1991      V6/3.0L                           625          34                     2001-97 L6/5.9L  Dsl or HD                         750        27 2
1990      V6/3.0L                           500          34               MOYER_DEPO      000343
                                                                                2001-94 V6/3.9L                                    600        27
                                                                                                              See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                35
                                                          ORIGINAL           GROUP SIZE                                                   ORIGINAL              GROUP SIZE
     YEAR      ENGINE                   OPTIONS          EQUIPMENT            (NOTES)        YEAR      ENGINE                  OPTIONS   EQUIPMENT               (NOTES)
                                                         CCA/RATING                                                                      CCA/RATING
   Dodge Ram Pickup (1500-3500) (continued)                                                Dodge Viper SRT
   2001-94   V6/3.9L Opt                                 750          27                   2014-13 V10/8.4L                              590          90 (T5)
   2001-94   V8/5.2L                                     600          27                   Eagle 2000 GTX
   2001-94   V8/5.2L Opt                                 750          27                   1993-91 L4/2.0L                               500          24
   2000-94   V10/8.0L                                    750          27
                                                                                           Eagle Premier
   1996-94   L6/5.9L                                     600          27
                                                                                           1992    V6/3.0L                               600          34
   1996-94   L6/5.9L  Dsl                                750          27 2
                                                                                           1991-90 V6/3.0L                               500          34
   Dodge Ram Van (1500-3500)
                                                                                           Eagle Summit
   2003-99   V6/3.9L                                     600          27
                                                                                           1996-95   L4/1.5L                             435          51
   2003-99   V6/3.9L     Opt                             750          27
                                                                                           1996-95   L4/1.8L                             435          51
   2003-99   V8/5.2L                                     600          27
                                                                                           1996-95   L4/1.8L    Wagon                    355          25
   2003-99   V8/5.2L     Opt                             750          27
                                                                                           1996-95   L4/2.4L                             435          51
   2003-99   V8/5.9L                                     600          27
                                                                                           1996-95   L4/2.4L    Wagon                    490          24
   2003-99   V8/5.9L     Opt                             750          27
                                                                                           1994-93   L4/1.5L    Can                      580          24
   Dodge Ramcharger                                                                        1994-93   L4/1.5L    Ex Wagon, US             435          51
   1993-92   V8/5.2L                                     610          27                   1994-93   L4/1.5L    US, Wagon                350          25
   1993-92   V8/5.2L     Opt                             685          27                   1994-93   L4/1.8L    Can                      580          24
   1993-92   V8/5.9L                                     610          27                   1994-93   L4/1.8L    Ex Wagon, US             435          51
   1993-92   V8/5.9L     Opt                             685          27                   1994-93   L4/2.4L    Can                      580          24
   1991-89   V8/5.2L     Opt                             685          34                   1994-93   L4/2.4L    Ex Wagon, US             435          51
   1991-89   V8/5.9L     Opt                             685          34                   1994-92   L4/1.8L    Wagon, US                350          25
   1991-88   V8/5.2L                                     600          34                   1994-92   L4/2.4L    Wagon, US                490          24
   1991-88   V8/5.9L                                     600          34                   1992-91   L4/1.5L    Ex Wagon                 355          25
   Dodge Shadow                                                                            1992-91   L4/1.5L    Opt                      430          25
   1994-92   L4/2.5L                                     600          34                   1992-90   L4/1.5L    Can                      420          25
   1994-92   V6/3.0L                                     500          34                   1992      L4/1.5L    Wagon, Can               580          24
   1994-90   L4/2.2L                                     500          34                   1992      L4/1.8L    Can                      420          25
   1991      L4/2.5L                                     625          34                   1992      L4/1.8L    Opt                      430          25
   1990-88   L4/2.5L                                     500          34                   1992      L4/1.8L    Wagon, Can               580          24
   Dodge Spirit                                                                            1992      L4/2.4L    Can                      420          25
   1995-91   L4/2.5L                                     600          34                   1992      L4/2.4L    Ex Wagon                 355          25
   1995-89   V6/3.0L                                     500          34                   1992      L4/2.4L    Opt                      430          25
   1992-91   L4/2.2L                                     600          34                   1992      L4/2.4L    Wagon, Can               580          24
   1990-89   L4/2.5L                                     500          34                   1990      L4/1.5L    US                       355          25
                                                                                           1990      L4/1.6L    Can                      420          25
   Dodge Sprinter 2500                                                                     1990      L4/1.6L    US                       435          51
   2009-07 V6/3.0L       Dsl                             850          —
   2008-07 V6/3.5L                                       850          —
                                                                                           Eagle Talon
   2006-03 L5/2.7L       Dsl                             850          —                    1998-95   L4/2.0L    AT                       525          86
                                                                                           1998-95   L4/2.0L    MT                       430          86
   Dodge Sprinter 3500                                                                     1998      L4/2.0L    Turbo                    525          86
   2009-07 V6/3.0L       Dsl                             850          —                    1997-95   L4/2.0L    Turbo, AT                525          86
   2008-07 V6/3.5L                                       850          —                    1994-93   L4/1.8L    Can, w/AT                525          86
   2006-03 L5/2.7L       Dsl                             850          —                    1994-93   L4/1.8L    Can, w/MT                430          86
   Dodge Stealth                                                                           1994-90   L4/2.0L    Can or Turbo             525          86
   1996-94   V6/3.0L                                     520          25                   1994-90   L4/2.0L    US                       430          86
   1993-92   V6/3.0L                                     490          24                   1993      L4/1.8L    US                       430          86
   1993-91   V6/3.0L     Opt                             585          24                   Eagle Vision
   1991      V6/3.0L     DOHC                            490          24                   1997-95   V6/3.3L                             600          34
   1991      V6/3.0L     SOHC                            420          25                   1997-95   V6/3.5L                             600          34
   Dodge Stratus                                                                           1994-93   V6/3.3L                             500          34
   2006-03   V6/2.7L     Sedan                           510          75                   1994-93   V6/3.5L                             500          34
   2006-03   V6/2.7L     w/side Terminals                510          75                   Eagle Vista
   2006-01   L4/2.4L     Top Terminal                    525          86                   1992-90 L4/1.5L                               420          25
   2006-01   V6/2.7L     Coupe                           525          86                   1991-90 L4/2.0L                               420          25
   2006-01   V6/2.7L     Top Terminal                    525          86
   2006-95   L4/2.4L     w/side Terminals                510          75
                                                                                           Ferrari 348 GTB
   2005-01   V6/3.0L     Top Terminal                    525          86                   1994-93 V8/3.4L                               N/A          —
   2005-01   V6/3.0L     w/side Terminals                510          75                   Ferrari 348 GTS
   2002      V6/2.7L     Sedan                           510          86                   1994-93 V8/3.4L                               N/A          —
   2001      V6/2.7L     Sedan                           510          75                   Ferrari 348 Spider
   2000-98   L4/2.0L                                     510          86                   1995-93 V8/3.4L                               N/A          —
   2000-95   L4/2.0L     Top Terminal                    510          86                   Ferrari 348 tb
   2000-95   V6/2.5L     Top Terminal                    510          86
                                                                                           1992-90 V8/3.4L                               N/A          —
   Dodge SX 2.0                                                                            Ferrari 348 ts
   2005-03 L4/2.0L                                       450          26R
                                                                                           1992-89 V8/3.4L                               N/A          —
   Dodge Viper                                                                             Ferrari 360
   2017-15 V10/8.4L                                       590         90 (T5) 50
                                                                                           2005-00 V8/3.6L                               570          —
   2010-08 V10/8.4L                                       600         34 50
   2006-03 V10/8.3L                                       600         34                   Ferrari 458 Italia
   2002-97 V10/8.0L                                       650         78                   2015-10 V8/4.5L                               760          H6 (48) AGM 33, 50, 54
   1996-92 V10/8.0L                                       770         78                   Ferrari 458 Speciale
   1992      V10/8.0L                                     650         78MOYER_DEPO        000344
                                                                                           2015 V8/4.5L                                  760          H6 (48) AGM 33, 50, 54
   See page 80 for Footnotes. Selection may vary by warehouse.
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36                                                                              Automotive/Light Truck
                                          ORIGINAL              GROUP SIZE                                                                    ORIGINAL            GROUP SIZE
  YEAR      ENGINE             OPTIONS   EQUIPMENT               (NOTES)                  YEAR      ENGINE                 OPTIONS           EQUIPMENT             (NOTES)
                                         CCA/RATING                                                                                          CCA/RATING
Ferrari 458 Spider                                                                      Ford Country Squire
2015-12 V8/4.5L                          760          H6 (48) AGM 33, 50, 54            1991-90 V8/5.0L      Opt                             650          65
Ferrari 488 GTB                                                                         1991-90 V8/5.0L                                      540          58
2019-18 V8/3.9L                          70 Ah        H6 (48) AGM 33, 50, 54            Ford EcoSport
2017-16 V8/3.9L                          760          H6 (48) AGM 33, 50, 54            2019-18 L3/1.0L                                      760          H6 (48) AGM 33
Ferrari 488 Spider                                                                      2019-18 L4/2.0L                                      760          H6 (48) AGM 33
2017-16 V8/3.9L                          760          H6 (48) AGM 33, 50, 54            Ford Edge
Ferrari 575M Maranello                                                                  2019      L4/2.0L                                    760          H6 (48) AGM 33
2005      V12/5.7L                       680          —                                 2019      V6/2.7L                                    760          H6 (48) AGM 33
Ferrari 599 GTB                                                                         2018-15   L4/2.0L    w/o Start/Stop                  590          90 (T5)
                                                                                        2018-15   L4/2.0L    w/Start/Stop                    760          H6 (48) AGM 33
2009-07 V12/6.0L                         800          —
                                                                                        2018-15   V6/2.7L                                    590          90 (T5)
Ferrari 612 Scaglietti                                                                  2018-15   V6/3.5L                                    590          90 (T5)
2010-05 V12/5.7L                         850          —                                 2017-15   L4/2.0L                                    590          90 (T5)
2008    V12/5.7L                         850          —                                 2017-15   L4/2.0L    Start/Stop                      760          H6 (48) AGM 33
2006    V12/5.7L                         850          —                                 2014-12   L4/2.0L    w/o Power Code Remote Start     540          59
Ferrari California                                                                      2014-12   L4/2.0L    w/Power Code Remote Start       650          65
2014-13 V8/4.3L                          850          —                                 2014-11   V6/3.5L    w/o Power Code Remote Start     540          59
2012    V8/4.3L                          850          —                                 2014-11   V6/3.5L    w/Power Code Remote Start       650          65
2011-09 V8/4.3L                          850          —                                 2014-11   V6/3.7L    w/o Power Code Remote Start     540          59
Ferrari F430                                                                            2014-11   V6/3.7L    w/Power Code Remote Start       650          65
2009-06 V8/4.3L                          760          —                                 2010      V6/3.5L                                    650          36R
                                                                                        2009      V6/3.5L                                    540          36R
Ferrari Mondial t
                                                                                        2009      V6/3.5L    Opt                             600          36R
1990      V8/3.4L                        700          —
                                                                                        2008      V6/3.5L                                    600          36R
Ferrari Superamerica                                                                    2007      V6/3.5L                                    580          36R
2005      V12/5.7L                       850          —                                 Ford Escape
Ferrari Testarossa                                                                      2019-11   L4/2.5L                                      590        96R
1990      H12/4.9L                       700          —                                 2019      L4/1.5L                                      760        H6 (48) AGM 33
Fiat 124 Spider                                                                         2019      L4/2.0L                                      760        H6 (48) AGM 33
2017      L4/1.4L                        600          H6 (48)                           2018-17   L4/1.5L    w/o Start/Stop/Intelligent access 590        96R
Fiat 500                                                                                2018-17   L4/1.5L    w/Start/Stop/Intelligent access 760          H6 (48) AGM 33
2016-12 L4/1.4L                          500          H5 (47)                           2018-17   L4/2.0L    w/o Start/Stop/Intelligent access 590        96R
                                                                                        2018-17   L4/2.0L    w/Start/Stop/Intelligent access 760          H6 (48) AGM 33
Fiat 500L                                                                               2016-15   L4/1.6L                                      590        96R
2017-14 L4/1.4L                          500          H5 (47)
                                                                                        2016-15   L4/2.0L                                      590        96R
Fiat 500X                                                                               2014-13   L4/1.6L                                      500        96R
2016      L4/1.4L                        500          H5 (47)                           2014-13   L4/1.6L    Opt                               590        96R
2016      L4/2.4L                        600          H6 (48)                           2014-13   L4/2.0L    Opt                               590        96R
Ford Aerostar                                                                           2014-13   L4/2.5L                                      500        96R
1997-90 V6/4.0L                          650          65                                2014-13   L4/2.5L    Opt                               590        96R
1997-89 V6/3.0L      From 10/1/1988      650          65                                2014-01   L4/2.0L                                      500        96R
Ford Aspire                                                                             2012-11   V6/3.0L                                      590        96R
1997-94 L4/1.3L                          460          35                                2012-09   L4/2.5L    Hybrid                            500        96R
                                                                                        2010-09   L4/2.5L    Ex Hybrid                         590        40R
Ford Bronco                                                                             2010      L4/2.5L    Gas                               650        —
1996-90 V8/5.0L                          650          65                                2010      L4/2.5L    Gas, Opt                          590        96R
1996-90 V8/5.8L                          650          65                                2010      V6/3.0L                                      650        —
1992-90 L6/4.9L                          650          65                                2010      V6/3.0L    Opt                               590        96R
Ford Bronco II                                                                          2009-01   V6/3.0L                                      590        40R
1990      V6/2.9L                        650          65                                2008-05   L4/2.3L    Ex Hybrid                         590        40R
Ford C-Max                                                                              2008-05   L4/2.3L    Hybrid                            500        96R
2018-13 L4/2.0L      Hybrid              390          —                                 Ford Escort
Ford Contour                                                                            2003-98   L4/2.0L                                    500          58
2000-98   L4/2.0L                        590          40R                               1997      L4/2.0L                                    540          58
2000-98   V6/2.5L                        590          40R                               1996-95   L4/1.8L                                    540          35
1997-95   L4/2.0L                        590          96R                               1996-91   L4/1.9L                                    460          35
1997-95   L4/2.0L    Opt                 650          —                                 1994-91   L4/1.8L                                    460          35
1997-95   V6/2.5L                        650          —                                 1990-87   L4/1.9L    HD or w/MFI                     540          58
Ford Crown Victoria                                                                     1990      L4/1.9L    w/CFI                           460          58
2011-09   V8/4.6L    Opt                 750          65                                Ford E-Series Vans
2011-07   V8/4.6L                        650          65                       2019-17 V10/6.8L Aux Battery                      750        —
2006-98   V8/4.6L    PPkg                750          65                       2019-17 V8/6.2L Aux Battery                       750        —
2006-98   V8/4.6L    US                  650          65                       2019-17 V8/6.2L Primary Battery                   650        65
2006-92   V8/4.6L    Can & Opt           750          65                       2019-03 V10/6.8L Primary Battery                  650        65
2003      V8/4.6L    Can or Opt          750          65                       2016-07 V10/6.8L Aux Battery                      750        —
1997-96   V8/4.6L    Natural Gas         850          65                       2016-07 V8/5.4L Aux Battery                       750        —
1997-92   V8/4.6L    w/HWS or PPkg       850          65                       2016-97 V8/5.4L Primary Battery                   650        65
1997      V8/4.6L    US                  540          59                       2014-07 V8/4.6L Aux Battery                       750        —
1996      V8/4.6L    Early               540          58                       2014-03 V10/6.8L                                  650        65
1996      V8/4.6L    Late                540          59                       2014-03 V8/4.6L                                   650        65
1995-92   V8/4.6L    US                  540          58                 MOYER_DEPO     000345
                                                                               2014-00 V8/5.4L                                   650        65
                                                                                                            See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                      37
                                                          ORIGINAL            GROUP SIZE                                                         ORIGINAL            GROUP SIZE
     YEAR      ENGINE                  OPTIONS           EQUIPMENT             (NOTES)         YEAR      ENGINE              OPTIONS            EQUIPMENT             (NOTES)
                                                         CCA/RATING                                                                             CCA/RATING
   Ford E-Series Vans (continued)                                                           Ford Explorer (continued)
   2010-04   V8/6.0L     Dsl                             750          65 2                   2014      L4/2.0L    w/o Power Code Remote Start    540         59
   2008-07   V8/5.4L                                     650          65 2                   2014      L4/2.0L    w/Power Code Remote Start      650         65
   2006-97   V10/6.8L    Aux Battery                     625          —                      2014      V6/3.5L    w/o Power Code Remote Start    540         59
   2006-97   V8/4.6L     Aux Battery                     625          —                      2014      V6/3.5L    w/Power Code Remote Start      650         65
   2006-97   V8/5.4L     Aux Battery                     625          —                      2013-12   L4/2.0L                                   650         65
   2003-97   V6/4.2L                                     650          65                     2010-02   V8/4.6L                                   650         65
   2003-97   V6/4.2L     Aux Battery                     625          —                      2010-91   V6/4.0L                                   650         65
   2003-97   V8/7.3L     Dsl                             750          65 2                   2006      V6/4.0L    Opt                            750         65
   2002-99   V10/6.8L    Aux Battery                     650          —                      2006      V8/4.6L    Opt                            750         65
   2002-99   V10/6.8L    Primary Battery                 750          65                     2001-96   V8/5.0L                                   650         65
   2002-97   V10/6.8L                                    750          65                    Ford Explorer Sport Trac
   2002-97   V6/4.2L     Opt                             750          65                     2010-07 V6/4.0L                                     650         65
   2002-97   V8/4.6L     Opt                             750          65                     2010-07 V8/4.6L                                     650         65
   2002-97   V8/5.4L     Opt                             750          65                     2005-01 V6/4.0L                                     650         65
   2002      V8/4.6L     Aux, HD                         650          —
                                                                                            Ford F-150, F-150 Heritage
   2002      V8/5.4L                                     650          —
   2002      V8/5.4L     Aux Battery                     650          —                      2019-18   V6/3.0L    Dsl                             850        H8 (49) AGM 33
   2001-97   V8/4.6L     Primary Battery                 650          65                     2019-18   V6/3.3L    Ex King Ranch, Lariat, Platinum 760        H6 (48) AGM 33
   1996-95   V8/5.0L                                     650          65                     2019-18   V6/3.3L    King Ranch, Lariat, Platinum    800        H7 (94R) AGM 33
   1996-95   V8/5.0L                                     850          65                     2019-18   V6/3.5L    Ex King Ranch, Lariat, Platinum 760        H6 (48) AGM 33
   1996-95   V8/5.0L     Primary Battery                 850          65                     2019-18   V6/3.5L    King Ranch, Lariat, Platinum    800        H7 (94R) AGM 33
   1996-92   L6/4.9L                                     650          65                     2019-18   V8/5.0L    Ex King Ranch, Lariat, Platinum 760        H6 (48) AGM 33
   1996-92   L6/4.9L     Aux Battery                     500          —                      2019-18   V8/5.0L    King Ranch, Lariat, Platinum    800        H7 (94R) AGM 33
   1996-92   L6/4.9L     Opt                             850          65                     2019-17   V6/2.7L    King Ranch, Lariat, Platinum    800        H7 (94R) AGM 33
   1996-92   L6/4.9L     Primary Battery                 650          65
                                                                                             2019-15   V6/2.7L    Ex King Ranch, Lariat, Platinum 760        H6 (48) AGM 33
   1996-92   V8/5.0L     Aux Battery                     500          —
                                                                                             2017-15   V6/3.5L    Ex King Ranch, Lariat, Platinum 610        H6 (48)
   1996-92   V8/5.0L     Primary Battery                 650          65
                                                                                             2017-15   V6/3.5L    King Ranch, Lariat, Platinum    730        H7 (94R)
   1996-92   V8/5.8L                                     650          65
                                                                                             2017-15   V8/5.0L    Ex King Ranch, Lariat, Platinum 610        H6 (48)
   1996-92   V8/5.8L     Aux Battery                     500          —
                                                                                             2017-15   V8/5.0L    King Ranch, Lariat, Platinum    730        H7 (94R)
   1996-92   V8/5.8L     Opt                             850          65
   1996-92   V8/7.3L     Dsl, Lft Side                   850          65                     2015      V6/2.7L    King Ranch, Lariat, Platinum    800        H7 (94R) AGM 33
   1996-92   V8/7.3L     Dsl, Rt Side                    600          —                      2014-11   V6/3.5L                                    750        65
   1996-92   V8/7.5L     Aux Battery                     500          —                      2014-11   V6/3.7L                                    750        65
   1996-92   V8/7.5L     Gas                             650          65                     2014-11   V8/5.0L                                    750        65
   1996-92   V8/7.5L     Opt                             850          65                     2014-10   V8/6.2L                                    750        65
   1994-92   V8/5.0L     Opt                             850          65                     2010-07   V8/4.6L    Opt                             650        65
   1991-90   L6/4.9L     Aux Battery                     350          24F                    2010-07   V8/5.4L    Opt                             650        65
   1991-90   L6/4.9L     Gas                             535          —                      2010-97   V8/4.6L                                    540        59
   1991-90   V8/5.0L     Aux Battery                     350          24F                    2010-97   V8/5.4L                                    540        59
   1991-90   V8/5.0L     Gas                             535          —                      2008-07   V6/4.2L    Opt                             650        65
   1991-90   V8/5.8L     Aux Battery                     350          24F                    2008-97   V6/4.2L                                    540        59
   1991-90   V8/5.8L     Gas                             535          —                      2006-97   V6/4.2L    HD, Can                         650        65
   1991-90   V8/7.3L     Dsl                             700          27 2                   2006-97   V8/4.6L    HD, Can                         650        65
   1991-90   V8/7.5L     Aux Battery                     350          24F                    2006-97   V8/5.4L    HD, Can                         650        65
   1991-90   V8/7.5L     Gas                             535          —                      1996-90   L6/4.9L    Opt                             850        65
   1991-89   L6/4.9L     Primary Battery                 535          —                      1996-87   L6/4.9L                                    650        65
   1991-86   L6/4.9L                                     535          —                      1996-87   V8/5.0L                                    650        65
   Ford Excursion                                                                            1996-87   V8/5.0L    Opt                             850        65
   2005-03   V8/6.0L Dsl                                 750          65 2                   1996-87   V8/5.8L                                    650        65
   2005-00   V10/6.8L                                    750          65                     1996-87   V8/5.8L    Opt                             850        65
   2005-00   V8/5.4L                                     750          65                    Ford F-250 HD
   2003-00   V8/7.3L Dsl                                 750          65 2                   1997      V8/5.8L                                   540         59
   Ford Expedition                                                                           1997      V8/5.8L    Opt                            750         65
   2019-18   V6/3.5L                                     800          H7 (94R) AGM 33        1997      V8/7.3L    Dsl                            750         65 2
   2017-16   V6/3.5L     w/Intelligent Access            750          65                     1997      V8/7.5L                                   540         59
   2017-16   V6/3.5L     w/o Intelligent Access          650          65                     1997      V8/7.5L    Opt                            750         65
   2015      V6/3.5L                                     650          65                    Ford F-250, F-250 Super Duty
   2015      V6/3.5L     Opt                             750          65                    2019-17 V8/6.2L       Ex XL                          750         65
   2014-07   V8/5.4L     Opt                             750          65                    2019-17 V8/6.2L       XL                             650         65
   2014-97   V8/5.4L                                     650          65                    2019-11 V8/6.7L       Dsl                            750         65 2
   2004-97   V8/4.6L                                     650          65                    2016-11 V8/6.2L                                      650         65
   2001-97   V8/4.6L     Opt                             750          65                    2016-11 V8/6.2L       Opt                            750         65
   2001-97   V8/5.4L     Opt                             750          65                    2010-08 V8/5.4L       HD, Over 8500 lb. GVW          750         65
   Ford Explorer                                                                            2010-08 V8/6.4L                                      750         65 2
   2019-16 L4/2.3L       w/Intelligent Access             650         65                    2010-00 V8/5.4L                                      650         65
   2019-16 L4/2.3L       w/o Intelligent Access           540         59                    2010-99 V10/6.8L                                     650         65
   2019-15 V6/3.5L w/Intelligent Access                   650         65                    2010-99 V10/6.8L      Opt                            750         65
   2019-15 V6/3.5L w/o Intelligent Access                 540         59                    2010    V8/6.4L       Dsl                            750         65 2
   2017-14 V6/3.5L PPkg Version                           750         65                    2007-99 V8/5.4L       Opt                            750         65
   2015      L4/2.0L     w/Intelligent Access             650         65                    2007    V8/6.0L       Dsl                            650         65 2
   2015      L4/2.0L     w/o Intelligent Access           540         59                    2006-03 V8/6.0L       Dsl                            750         65 2
   2014-11 V6/3.5L                                        650         65MOYER_DEPO         000346
                                                                                            2003-99 V8/7.3L       Dsl                            750         65 2
   See page 80 for Footnotes. Selection may vary by warehouse.
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38                                                                             Automotive/Light Truck
                                              ORIGINAL            GROUP SIZE                                                             ORIGINAL            GROUP SIZE
  YEAR      ENGINE               OPTIONS     EQUIPMENT             (NOTES)           YEAR      ENGINE                OPTIONS            EQUIPMENT             (NOTES)
                                             CCA/RATING                                                                                 CCA/RATING
Ford F-250, F-250 Super Duty (continued)                                           Ford Focus (continued)
1999-97   V8/4.6L    Opt                     650          65                       2007-05 L4/2.0L      Immersion Heater or             590          40R
1999-97   V8/4.6L    Opt over 8500 lb.       650          65                                            Premium Radio
1999-97   V8/4.6L    Under 8500 lb. GVW      540          59                       2007-05 L4/2.3L      Immersion Heater or             590          40R
1999-97   V8/5.4L    HD, Over 8500 lb. GVW   750          65                                            Premium Radio
1999-97   V8/5.4L    Over 8500 lb. GVW       650          65                       2007-03   L4/2.3L                                    500          96R
1999-97   V8/5.4L    Under 8500 lb. GVW      540          59                       2004-03   L4/2.0L    Ex Zetec                        590          40R
1996-88   V8/7.3L    Dsl                     850          65 2                     2004-03   L4/2.0L    Zetec                           500          96R
1996-87   L6/4.9L                            650          65                       2002-00   L4/2.0L    Ex Zetec                        500          96R
1996-87   L6/4.9L    Opt                     850          65                       2002-00   L4/2.0L    Zetec                           590          40R
1996-87   V8/5.0L                            650          65                       Ford Freestar
1996-87   V8/5.0L    Opt                     850          65                       2007-04   V6/3.9L                                    540          59
1996-87   V8/5.8L                            650          65                       2007-04   V6/3.9L    Opt                             650          65
1996-87   V8/5.8L    Opt                     850          65                       2007-04   V6/4.2L                                    540          59
1996-87   V8/7.5L                            650          65                       2007-04   V6/4.2L    Opt                             650          65
1996-87   V8/7.5L    Opt                     850          65                       Ford Freestyle
Ford F-350, F-350 Super Duty                                                       2007-05 V6/3.0L                                      540          36R
2019-17   V8/6.2L    Ex XL                   750          65                       2006-05 V6/3.0L      Opt                             600          36R
2019-17   V8/6.2L    XL                      650          65                       Ford Fusion
2019-11   V8/6.7L    Dsl                     750          65 2                     2019-18   L4/1.5L                                    760          H6 (48) AGM 33
2016-11   V8/6.2L                            650          65                       2019-18   L4/2.0L    Gas w/Intelligent Access        590          90 (T5)
2016-11   V8/6.2L    Opt                     750          65                       2019-18   L4/2.0L    Gas w/Start/Stop                760          H6 (48) AGM 33
2010-08   V8/6.4L    Dsl                     750          65 2                     2019-18   L4/2.5L                                    590          90 (T5)
2010-99   V10/6.8L                           650          65
                                                                                   2019-18   V6/2.7L                                    590          90 (T5)
2010-99   V10/6.8L   Opt                     750          65
                                                                                   2018      L4/2.0L    Hybrid                          590          90 (T5)
2010-99   V8/5.4L                            650          65
                                                                                   2017-15   L4/1.5L    w/Intelligent Access            590          90 (T5)
2010-99   V8/5.4L    Opt                     750          65
                                                                                   2017-15   L4/1.5L    w/o Intelligent Access          500          90 (T5)
2007      V8/6.0L    Dsl                     650          65 2
2006-03   V8/6.0L    Dsl                     750          65 2                     2017-15   L4/2.5L    w/Intelligent Access            590          90 (T5)
2003-97   V8/7.3L    Dsl                     750          65 2                     2017-15   L4/2.5L    w/o Intelligent Access          500          90 (T5)
1997      V8/5.8L                            540          59                       2017-14   L4/1.5L    Start/Stop                      760          H6 (48) AGM 33
1997      V8/5.8L    Opt                     750          65                       2017      L4/1.5L    w/Start/Stop                    760          H6 (48) AGM 33
1997      V8/7.5L                            540          59                       2017      L4/2.0L    Gas                             590          90 (T5)
1997      V8/7.5L    Opt                     750          65                       2017      L4/2.0L    Hybrid                          390          —
1996-88   V8/7.3L    Dsl                     850          65 2                     2017      L4/2.0L    US, Gas                         590          90 (T5)
1996-87   L6/4.9L                            650          65                       2017      V6/2.7L                                    730          H7 (94R)
1996-87   L6/4.9L    Opt                     850          65                       2016-15   L4/2.0L    Start/Stop                      760          H6 (48) AGM 33
1996-87   V8/5.8L                            650          65                       2016-15   L4/2.5L    Start/Stop                      760          H6 (48) AGM 33
1996-87   V8/5.8L    Opt                     850          65                       2016      L4/2.0L    Hybrid                          390          —
1996-87   V8/7.5L                            650          65                       2016      L4/2.0L    w/Intelligent Access            590          90 (T5)
1996-87   V8/7.5L    Opt                     850          65                       2016      L4/2.0L    w/o Intelligent Access          500          90 (T5)
Ford Festiva                                                                       2015-13   L4/2.0L    Hybrid                          390          —
1993-88 L4/1.3L                              390          35                       2015      L4/2.0L    Gas                             590          90 (T5)
Ford Fiesta                                                                        2014-13   L4/1.6L    Start/Stop                      760          H6 (48) AGM 33
2019-11   L4/1.6L                            500          96R                      2014-13   L4/1.6L    w/o Power Code Remote Start     500          90 (T5)
2017-14   L3/1.0L                            500          96R                      2014-13   L4/1.6L    w/Power Code Remote Start       590          90 (T5)
2017-14   L3/1.0L    Opt                     590          96R                      2014-13   L4/2.0L    Gas                             500          90 (T5)
2017-14   L4/1.6L    Opt                     590          96R                      2014-13   L4/2.0L    Gas, Opt                        590          90 (T5)
Ford Five Hundred                                                                  2014-13   L4/2.5L    w/o Power Code Remote Start     500          90 (T5)
2007-05 V6/3.0L                              540          36R                      2014-13   L4/2.5L    w/Power Code Remote Start       590          90 (T5)
2006-05 V6/3.0L      Opt                     600          36R                      2014      L4/1.5L    w/o Power Code Remote Start     500          90 (T5)
Ford Flex                                                                          2014      L4/1.5L    w/Power Code Remote Start       590          90 (T5)
2019-15   V6/3.5L    Ex Ecoboost             650          65                       2013      L4/1.6L                                    500          96R
2019-10   V6/3.5L    w/Ecoboost              750          65                       2013      L4/1.6L    Opt                             590          96R
2014-10   V6/3.5L    w/o Ecoboost            650          65                       2012-10   L4/2.5L                                    500          96R
2009      V6/3.5L                            750          65                       2012-10   L4/2.5L    Gas                             500          96R
Ford Focus                                                                         2012-10   L4/2.5L    Hybrid                          390          —
                                                                                   2012-10   V6/3.5L                                    500          96R
2018-16   L4/2.0L    AT                      590          96R
2018-16   L4/2.3L                            760          H6 (48) AGM 33           2012-07   V6/3.0L                                    500          96R
2018-15   L3/1.0L                            760          H6 (48) AGM 33           2009-07   L4/2.3L                                    500          96R
2018-15   L4/2.0L    MT                      500          96R                      2006      L4/2.3L                                    590          40R
2018                 Electric                390          —                        2006      V6/3.0L                                    590          40R
2017-16   L4/2.3L    Automatic Dual Clutch   590          96R                      Ford Gran Torino
2017-16   L4/2.3L    MT                      500          96R                    1976-75 V8/5.8L                                        N/A        26R
2017-15   L4/2.0L    Automatic Dual Clutch   590          96R                    1976-75 V8/6.6L                                        N/A        24F
2017-12              Electric                390          —                      1976-75 V8/7.5L                                        N/A        24F
2014-13   L4/2.0L    w/Ecoboost              590          96R                    1974-72 V8/5.0L                                        290        26R
2014-13   L4/2.0L    w/o Ecoboost            500          96R                    1974    L6/4.1L                                        290        26R
2012      L4/2.0L    Automatic Dual Clutch   590          96R                    1974    V8/5.8L                                        290        26R
2012      L4/2.0L    MT                      500          96R                    1974    V8/6.6L                                        455        24F
2011-05   L4/2.0L                            500          96R              MOYER_DEPO
                                                                                 1974     000347
                                                                                         V8/7.5L                                        455        24F
                                                                                                                   See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                    39
                                                          ORIGINAL          GROUP SIZE                                                              ORIGINAL          GROUP SIZE
     YEAR      ENGINE                   OPTIONS          EQUIPMENT           (NOTES)         YEAR      ENGINE                OPTIONS               EQUIPMENT           (NOTES)
                                                         CCA/RATING                                                                                CCA/RATING
   Ford Gran Torino (continued)                                                           Ford Ranger (continued)
   1973-72   V8/6.6L                                     475          24F                  2011-01   L4/2.3L                                       540          59
   1973-72   V8/7.0L                                     475          24F                  2011-97   V6/4.0L                                       540          59
   1973      L6/4.1L                                     440          26R                  2008-97   V6/3.0L                                       540          59
   1973      V8/5.0L     Opt                             475          24F                  2001-98   L4/2.5L                                       540          59
   1973      V8/5.8L                                     350          24F                  1997-91   V6/3.0L    Opt                                650          65
   1972      L6/4.1L                                     290          26R                  1997-90   V6/4.0L    Opt                                650          65
   1972      V8/5.8L                                     475          24F                  1997-89   L4/2.3L    Opt                                650          65
   Ford GT                                                                                 1997      L4/2.3L                                       540          59
   2006-05 V8/5.4L                                       720          —                    1996-91   V6/3.0L                                       540          58
   Ford LTD Crown Victoria                                                                 1996-91   V6/4.0L                                       650          65
                                                                                           1996-89   L4/2.3L                                       540          58
   1991-90   V8/5.8L     Opt                             650          65
   1991-88   V8/5.0L     w/HWS or PPkg                   850          65                   1992-89   V6/2.9L                                       540          58
   1991-88   V8/5.8L                                     540          58                   1992-89   V6/2.9L    Opt                                650          65
   1991-88   V8/5.8L     w/HWS or PPkg                   850          65                   1990      V6/4.0L                                       540          58
   1991-87   V8/5.0L                                     540          58                  Ford Special Service Police Sedan
   1991-87   V8/5.0L     Opt                             650          65                   2018-14 L4/2.0L                                         750          65
   Ford Mustang                                                                           Ford Taurus, Taurus X
   2019-15   L4/2.3L                                     590          96R                  2019-16   V6/3.5L    Duratec w/Intelligent Access       650          65
   2019-15   V8/5.0L                                     590          96R                  2019-16   V6/3.5L    Duratec w/o Intelligent Access     540          59
   2018-17   V8/5.2L                                     390          —                    2019-16   V6/3.5L    Ecoboost                           650          65
   2017-11   V6/3.7L                                     590          96R                  2017-15   L4/2.0L    w/Intelligent Access               650          65
   2016-15   V8/5.2L                                     390          —                    2017-15   L4/2.0L    w/o Intelligent Access             540          59
   2016-15   V8/5.2L     Cold Climate                    590          96R                  2016      V6/3.5L    w/Intelligent Access, Ecoboost     650          65
   2014-13   V8/5.8L                                     590          96R                  2016      V6/3.5L    w/o Intelligent Access, Ecoboost   540          59
   2014-12   V8/5.0L     Boss Pkg                        500          96R                  2015      V6/3.5L    w/Intelligent Access, SHO          650          65
   2014-12   V8/5.0L     Ex Boss Pkg                     590          96R                  2015      V6/3.5L    w/o Intelligent Access, Ex SHO     540          59
   2012-10   V8/5.4L                                     590          96R                  2014-13   L4/2.0L    Ex SHO                             540          59
   2011      V8/5.0L                                     590          96R                  2014-13   V6/3.5L    PPkg                               750          65
   2010-08   V8/4.6L                                     500          96R                  2014-10   V6/3.5L    Ex SHO                             540          59
   2010-07   V8/5.4L                                     590          40R                  2014-10   V6/3.5L    SHO                                650          65
   2010-05   V6/4.0L                                     500          96R                  2009-08   V6/3.5L                                       540          59
   2009-08   V6/4.0L     HD, High Elect Content          590          40R                  2007-06   V6/3.0L                                       540          36R
   2009-08   V8/4.6L     HD, High Elect Content          590          40R                  2006      V6/3.0L    Opt                                600          36R
   2007      V8/4.6L                                     590          40R                  2005-00   V6/3.0L    HD & Can, DOHC                     600          36R
   2006-05   V6/4.0L     Opt                             590          40R                  2005      V6/3.0L    OHV                                600          36R
   2006-05   V8/4.6L                                     500          96R                  2004-01   V6/3.0L    HD, OHV                            600          36R
   2006-05   V8/4.6L     Opt                             590          40R                  2004-01   V6/3.0L    OHV                                540          36R
   2004-97   V6/3.8L                                     540          59                   2000-96   V6/3.0L    OHV                                540          —
   2004-97   V8/4.6L                                     540          59                   1999-96   V8/3.4L    SHO                                650          36R
   2004      V6/3.9L                                     540          59                   1999      V6/3.0L    DOHC or HD                         650          36R
   2000      V8/5.4L                                     540          59                   1998-96   V6/3.0L    HD & Can, DOHC                     650          36R
   1996      V6/3.8L     Early                           540          58                   1995-93   V6/3.2L    SHO                                650          34
   1996      V6/3.8L     Late                            540          59                   1995-93   V6/3.8L    HD or PPkg                         850          65
   1996      V8/4.6L     Early                           540          58                   1995-92   V6/3.0L    Ex SHO Opt                         650          65
   1996      V8/4.6L     Late                            540          59                   1995-92   V6/3.0L    Opt                                650          65
   1995-94   V6/3.8L                                     540          58                   1995-92   V6/3.8L                                       650          65
   1995-87   V8/5.0L                                     540          58                   1995-91   V6/3.0L                                       540          58
   1995      V8/5.8L                                     540          58                   1995-90   V6/3.0L    Ex SHO                             540          58
   1993-89   L4/2.3L     HD w/AT                         540          58                   1995-89   V6/3.0L    SHO                                650          34
   1993-87   L4/2.3L     MT                              460          58                   1991-90   V6/3.8L    HD, w/HWS or PPkg                  850          65
   Ford Police Interceptor Sedan                                                           1991      L4/2.5L                                       650          65
   2019-15   V6/3.7L                                     750          65                   1991      V6/3.8L    Ex Wagon                           850          65
   2019-14   V6/3.5L                                     750          65                   1991      V6/3.8L    Wagon                              650          65
   2014-13   V6/3.5L     w/Ecoboost                      650          65                   1990-89   V6/3.8L                                       850          65
   2014-13   V6/3.7L                                     540          59                   1990-88   L4/2.5L    AT                                 650          65
   2014      V6/3.5L     Ex Ecoboost                     540          59                  Ford Tempo
   2013      V6/3.5L     w/o Ecoboost                    540          59                   1994-92   V6/3.0L                                       460          58
   Ford Police Interceptor Utility                                                         1994-92   V6/3.0L    Opt                                540          58
   2019-15   V6/3.5L                                     750          65                   1994      L4/2.3L                                       540          58
   2019-15   V6/3.7L                                     750          65                   1993-87   L4/2.3L    HD w/AT                            540          58
   2014-13   V6/3.7L                                     540          59                   1993-87   L4/2.3L    MT                                 460          58
   2014      V6/3.5L     Ex Ecoboost                     540          59                  Ford Thunderbird
   2014      V6/3.5L     w/Ecoboost                      650          65
                                                                                          2005-02 V8/3.9L                                          650          —
   Ford Probe                                                                             1997-94 V8/4.6L                                          650          65
   1997-93   L4/2.0L                                     580          —                   1997-93 V6/3.8L       Can & Opt                          650          65
   1997-93   V6/2.5L                                     580          —                   1997    V6/3.8L                                          540          59
   1992-90   L4/2.2L                                     505          —                   1996    V6/3.8L       Early                              540          58
   1992-90   V6/3.0L                                     580          —                   1996    V6/3.8L       Late                               540          59
   Ford Ranger                                                                            1995-93 V6/3.8L       S/C, HD & Can                      650          65
   2019      L4/2.3L                                      610         H6 (48) AGM 33      1995-91 V6/3.8L       S/C, w/MT                          540          58
   2019      L4/2.3L     Opt                              800          MOYER_DEPO
                                                                      H7 (94R) AGM 33    000348
                                                                                          1994-93 V6/3.8L       US                                 540          58
   See page 80 for Footnotes. Selection may vary by warehouse.
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40                                                                                     Automotive/Light Truck
                                                   ORIGINAL              GROUP SIZE                                                            ORIGINAL             GROUP SIZE
  YEAR      ENGINE                 OPTIONS        EQUIPMENT               (NOTES)           YEAR     ENGINE                 OPTIONS           EQUIPMENT              (NOTES)
                                                  CCA/RATING                                                                                  CCA/RATING
Ford Thunderbird (continued)                                                             Ford Windstar (continued)
1994-93   V6/3.8L    US, Opt or Can               650          65                        2000      V6/3.0L    Opt                             750          65
1993-91   V8/5.0L                                 650          65                        2000      V6/3.0L    TTPkg or HD                     750          65
1992-91   V6/3.8L    HD, Ex S/C                   540          58                        1999-97   V6/3.0L    TTPkg or HD                     650          65
1992-91   V6/3.8L    Naturally Aspirated          460          58                        1996-95   V6/3.0L                                    540          58
1992-91   V6/3.8L    S/C, Can, Cold Climate Pkg   650          65                        1996-95   V6/3.0L                                    850          65
1992-91   V6/3.8L    S/C, HD                      650          65                        1996-95   V6/3.0L    TTPkg or HD                     540          58
1992-90   V6/3.8L    Can or Turbo                 650          65                        1996      V6/3.0L    TTPkg or HD                     850          65
1992-90   V6/3.8L    US Ex SC                     460          58                        1996      V6/3.8L    Opt                             750          65
1992-90   V6/3.8L    US Opt Ex SC                 540          58                        Freightliner Sprinter (2500, 3500)
1990-89   V6/3.8L    S/C                          650          65                        2017-15   L4/2.1L    Aux, Dsl                        10 Ah        —
1990-89   V6/3.8L    US                           460          58                        2017-15   L4/2.1L    Dsl                             680          —
1990-89   V6/3.8L    US, HD, Ex S/C               540          58                        2017-15   L4/2.1L    Dsl, Opt                        760          H6 (48) AGM 33, 50
1958      V8/4.8L                                 350          27F                       2017-15   L4/2.1L    Dsl, Opt                        760          —
1958      V8/5.4L                                 350          27F                       2017-15   L4/2.1L    Dsl, Opt                        850          H8 (49) AGM 33, 50
1958      V8/5.8L                                 350          27F                       2017-15   V6/3.0L    Aux, Dsl                        10 Ah        —
Ford Torino                                                                              2017-15   V6/3.0L    Dsl                             680          —
1976-75   V8/5.8L    Opt                          455          24F                       2017-15   V6/3.0L    Dsl, Opt                        760          H6 (48) AGM 33, 50
1976-74   V8/6.6L                                 455          24F                       2017-15   V6/3.0L    Dsl, Opt                        760          —
1974      L6/4.1L                                 455          24F                       2017-15   V6/3.0L    Dsl, Opt                        850          H8 (49) AGM 33, 50
1974      V8/5.0L                                 455          24F                       2014-07   V6/3.0L    Dsl                             850          —
1974      V8/5.8L                                 455          24F                       2014      L4/2.1L    Dsl                             850          —
1973      L6/4.1L    Opt                          N/A          24F                       2008-07   V6/3.5L                                    850          —
1973      V8/5.0L    Opt                          N/A          24F                       2006-02   L5/2.7L    Dsl                             850          —
1973      V8/5.8L                                 350          24F                       Genesis G80
1973      V8/7.0L                                 440          24F                       2019-18 V6/3.3L                                      950          H9 (95R) AGM 33, 50
1973      V8/7.5L                                 440          24F                       2019-17 V6/3.8L                                      950          H9 (95R) AGM 33, 50
1972-69   L6/4.1L                                 290          26R                       2019-17 V8/5.0L                                      950          H9 (95R) AGM 33, 50
1972-69   V8/5.0L                                 290          26R
1972-69   V8/5.8L                                 475          24F
                                                                                         Genesis G90
1972-68   V8/7.0L                                 475          24F                       2019-17 V6/3.3L                                      950          H9 (95R) AGM 33, 50
1972      V8/6.6L                                 475          24F                       2019-17 V8/5.0L                                      950          H9 (95R) AGM 33, 50
1971-70   V8/7.0L                                 440          24F                       Geo Metro
1971-69   V8/7.0L    Opt                          450          27F                       1997-95   L3/1.0L                                    390          26R
1971      V8/5.8L    Opt                          290          26R                       1997-95   L4/1.3L                                    390          26R
1970-68   V8/6.4L                                 475          24F                       1994      L3/1.0L                                    390          —
1968      L6/3.3L                                 290          26R                       1994      L4/1.3L                                    390          —
1968      V8/7.0L    Opt                          435          27F                       1993-92   L4/1.3L                                    440          —
Ford Transit Connect                                                                     1993-90   L3/1.0L                                    440          —
2019-14 L4/2.5L                                   590          40R                       Geo Prizm
2016-14 L4/1.6L                                   590          40R                       1997-90 L4/1.6L                                      310          35
2013-10 L4/2.0L                                   590          96R                       Geo Storm
2012                 Electric                     500          96R                       1993-92 L4/1.8L                                      360          35
Ford Transit-150                                                                         1993-90 L4/1.6L                                      360          35
2019-17   L5/3.2L    Dsl                          760          H6 (48) AGM 2, 33, 50     Geo Tracker
2019-17   V6/3.5L                                 610          H6 (48) 50                1997-95 L4/1.6L                                      500          26R
2019-17   V6/3.7L                                 610          H6 (48) 50                1994-90 L4/1.6L                                      525          —
2016-15   L5/3.2L    Dsl                          760          H6 (48) AGM 33            GMC Acadia
2016-15   V6/3.5L                                 610          H6 (48)
                                                                                         2019-17   L4/2.5L    w/o Start/Stop                  660          H6 (48)
2016-15   V6/3.7L                                 610          H6 (48)
                                                                                         2019-17   L4/2.5L    w/Start/Stop                    730          H7 (94R) AGM 33
Ford Transit-250                                                                         2019-17   V6/3.6L    w/o Start/Stop                  660          H6 (48)
2019-17   L5/3.2L    Dsl                          760          H6 (48) AGM 2, 33, 50     2019-17   V6/3.6L    w/Start/Stop                    730          H7 (94R) AGM 33
2019-17   V6/3.5L                                 610          H6 (48) 50                2017      L4/2.5L    Start/Stop                      730          H7 (94R) AGM 33
2019-17   V6/3.7L                                 610          H6 (48) 50                2017      V6/3.6L                                    660          H6 (48)
2016-15   L5/3.2L    Dsl                          760          H6 (48) AGM 33            2016-10   V6/3.6L                                    660          H6 (48) 50
2016-15   V6/3.5L                                 610          H6 (48)                   2009-07   V6/3.6L                                    730          H6 (48) 50
2016-15   V6/3.7L                                 610          H6 (48)                   GMC Acadia Limited
Ford Transit-350                                                                         2017      V6/3.6L                                    660          H6 (48) 50
2019-17   L5/3.2L    Dsl                          760          H6 (48) AGM 2, 33, 50
                                                                                         GMC C/K, R/V Pickups, Jimmy, Suburban
2019-17   V6/3.5L                                 610          H6 (48) 50
                                                                                        2005-94 V6/4.3L Opt                                   690          —
2019-17   V6/3.7L                                 610          H6 (48) 50
                                                                                        2005-92 V6/4.3L                                       525          75
2016-15   L5/3.2L    Dsl                          760          H6 (48) AGM 33
                                                                                        2000-99 V8/5.7L Opt                                   690          78
2016-15   V6/3.5L                                 610          H6 (48)
                                                                                        2000-99 V8/6.5L Dsl & Opt                             690          78 2
2016-15   V6/3.7L                                 610          H6 (48)
                                                                                        2000-99 V8/7.4L Opt                                   690          78
Ford Transit-350 HD                                                                     2000-97 V8/6.5L Dsl                                   600          78 2
2019-15 L5/3.2L      Dsl                          760          H6 (48) AGM 2, 33, 50    2000-94 V8/7.4L                                       600          78
2019-15 V6/3.5L                                   760          H6 (48) AGM 33, 50
                                                                                        2000-91 V8/5.7L                                       600          78
2019-15 V6/3.7L                                   760          H6 (48) AGM 33, 50       1999-93 V8/7.4L Primary Battery                       600          78
Ford Windstar                                                                           1999-91 V8/5.0L                                       600          78
2003-97 V6/3.8L      TTPkg or HD                  750          65                       1999    V8/5.0L Opt                                   690          78
2003-95 V6/3.8L                                   650          65                       1999    V8/6.5L Dsl, HD                               600          78 2
2000-97 V6/3.0L                                   540          59                 MOYER_DEPO     000349
                                                                                        1998-94 V6/4.3L                                       600          78
                                                                                                                         See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                           41
                                                           ORIGINAL            GROUP SIZE                                                 ORIGINAL           GROUP SIZE
     YEAR       ENGINE               OPTIONS              EQUIPMENT             (NOTES)         YEAR      ENGINE               OPTIONS   EQUIPMENT            (NOTES)
                                                          CCA/RATING                                                                     CCA/RATING
   GMC C/K, R/V Pickups, Jimmy, Suburban (continued)                                         GMC P-Series Vans (3500, 4500) (continued)
   1997      V8/6.5L     Dsl                              690          78 2                   1996-89   V8/5.7L                          525          75
   1996-94   V8/6.5L     Dsl                              770          78 2                   1993-90   V6/4.3L    Opt                   630          78
   1993-92   V6/4.3L     Opt                              630          78                     1993-90   V8/5.7L    Opt                   630          78
   1993-92   V8/6.2L     Dsl                              570          75 2                   1993-90   V8/7.4L                          630          78
   1993-92   V8/6.5L     Dsl                              570          75 2                   1993-89   V8/6.2L    Dsl                   540          78 2
   1993-91   V6/4.3L     Primary Battery                  600          78                     1991-89   L4/3.9L                          500          75
   1993-91   V8/5.0L     Primary Battery                  600          78                    GMC R Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
   1993-91   V8/5.7L     Primary Battery                  600          78                    GMC Safari
   1993-90   V8/7.4L     Aux Battery                      540          78
                                                                                              2005-04   V6/4.3L    HD or SEO             770          78
   1993-90   V8/7.4L     Primary Battery                  630          78
                                                                                              2005-94   V6/4.3L                          600          78
   1993-88   V6/4.3L     Aux Battery                      540          78
                                                                                              2003-02   V6/4.3L    Opt                   770          78
   1993-88   V8/5.0L     Aux Battery                      540          78
                                                                                              1993-91   V6/4.3L                          630          78
   1993-88   V8/5.7L     Aux Battery                      540          78
                                                                                              1990-87   L4/2.5L                          525          75
   1993      V6/4.3L     Aux Battery                      525          75
                                                                                              1990-87   V6/4.3L                          525          75
   1992-91   V6/4.3L                                      600          78
                                                                                              1990      L4/2.5L    Opt                   630          78
   1991-90   V8/6.2L     Dsl                              540          78 2
                                                                                              1990      V6/4.3L    Opt                   630          78
   1991      V8/5.7L     Primary Battery                  630          78
   1990-88   V6/4.3L     Primary Battery                  525          75                    GMC Savana 1500
   1990-88   V8/5.7L     Primary Battery                  525          75                     2014-10   V6/4.3L    Opt                   770          78
   1990-87   V8/6.2L     Dsl                              570          75 2                   2014-10   V8/5.3L    Opt                   770          78
   1990      V6/4.3L     Opt                              630          78                     2014-03   V8/5.3L                          600          78
   1990      V8/5.0L     Opt                              630          78                     2014-96   V6/4.3L                          600          78
   1990      V8/5.0L     Primary Battery                  525          75                     2005-03   V6/4.3L    HD or SEO             800          79
   1990      V8/5.7L     Opt                              630          78                     2005-03   V8/5.3L    Opt                   800          79
                                                                                              2002-99   V6/4.3L    Opt                   690          78
   GMC Canyon                                                                                 2002-99   V8/5.0L    Opt                   690          78
   2019-17   L4/2.8L     Dsl                              850          H8 (49) AGM 33         2002-99   V8/5.7L    Opt                   690          78
   2019-15   L4/2.5L                                      615          H6 (48)                2002-96   V8/5.0L                          600          78
   2019-15   V6/3.6L                                      615          H6 (48)                2002-96   V8/5.7L                          600          78
   2016      L4/2.8L     Dsl                              850          —
   2012-09   V8/5.3L                                      590          86 40
                                                                                             GMC Savana 2500
   2012-08   L4/2.9L                                      590          86 40                  2019-18   V6/4.3L                          600          78
   2012-08   L5/3.7L                                      590          86 40                  2019-17   L4/2.8L    Dsl                   770          78 2
   2007      L4/2.9L                                      640          —                      2019-03   V8/6.0L                          600          78
   2007      L5/3.7L                                      590          —                      2017-10   V8/4.8L    Opt                   770          78
   2006-04   L4/2.8L                                      640          —                      2017-10   V8/6.0L    Opt                   770          78
   2006-04   L5/3.5L                                      590          —                      2017-03   V8/4.8L                          600          78
                                                                                              2016-07   V8/6.6L    Dsl                   770          78 2
   GMC Envoy                                                                                  2006      V8/6.6L                          800          79 2
   2009-05 V8/5.3L                                        600          78 40
                                                                                              2006      V8/6.6L    Dsl                   800          79 2
   2009-02 L6/4.2L                                        600          78 40                  2005-03   V6/4.3L    HD or SEO             800          79
   GMC Envoy XL                                                                               2005-03   V8/4.8L    Opt                   800          79
   2006-03 V8/5.3L                                        600          78 40                  2005-03   V8/5.3L                          600          78
   2006-02 L6/4.2L                                        600          78 40                  2005-03   V8/5.3L    Opt                   800          79
   GMC Envoy XUV                                                                              2005-03   V8/6.0L    Opt                   800          79
   2005-04 L6/4.2L                                        600          78 40                  2005-96   V6/4.3L                          600          78
   2005-04 V8/5.3L                                        600          78 40                  2002-99   V6/4.3L    Opt                   690          78
                                                                                              2002-99   V8/5.0L    Opt                   690          78
   GMC G-Series Vans (1500, 2500, 3500)
                                                                                              2002-99   V8/5.7L    Opt                   690          78
   1996-94   V8/5.7L                                      600          78
                                                                                              2002-96   V8/5.0L                          600          78
   1996-94   V8/6.5L     Dsl                              600          78 2                   2002-96   V8/5.7L                          600          78
   1996-94   V8/7.4L                                      600          78                     2002-96   V8/6.5L    Dsl                   600          78 2
   1995-94   V6/4.3L                                      600          78                     2002-96   V8/6.5L    Dsl, HD               690          78 2
   1995-94   V8/5.0L                                      600          78
   1993-91   V6/4.3L                                      630          78
                                                                                             GMC Savana 3500
   1993-91   V8/5.0L                                      630          78                    2019-18 V6/4.3L                             600          78
   1993-91   V8/5.7L                                      630          78                    2019-17 L4/2.8L       Dsl                   770          78 2
   1993-88   V8/7.4L                                      630          78                    2019-03 V8/6.0L                             600          78
   1993-87   V8/6.2L     Dsl                              540          78 2                  2017-10 V8/4.8L       Opt                   770          78
   1990-87   V6/4.3L                                      525          75                    2017-10 V8/6.0L       Opt                   770          78
   1990-87   V8/5.7L                                      525          75                    2017-04 V8/4.8L                             600          78
   1990      V8/5.0L                                      525          75                    2016-07 V8/6.6L       Dsl                   770          78 2
                                                                                             2006    V8/6.6L                             800          79 2
   GMC K Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)                              2006    V8/6.6L       Dsl                   800          79 2
   GMC P-Series Vans (3500, 4500)                                                            2005-04 V8/4.8L       Opt                   800          79
   1999-97   V6/4.3L                                      600          78                    2005-03 V8/6.0L       Opt                   800          79
   1999-97   V6/4.3L     Opt                              690          78                    2002-01 V8/8.1L                             600          78
   1999-97   V8/5.7L                                      600          78                    2002-01 V8/8.1L       Opt                   690          78
   1999-97   V8/5.7L     Opt                              690          78                    2002-99 V8/5.7L       Opt                   690          78
   1999-94   V8/6.5L     Dsl                              600          78 2                  2002-96 V8/5.7L                             600          78
   1999-94   V8/7.4L                                      600          78                    2002-96 V8/6.5L       Dsl                   600          78 2
   1996-94   V6/4.3L     Opt                              600          78                    2002-96 V8/6.5L       Dsl, HD               690          78 2
   1996-94   V8/5.7L     Opt                              600          78                    2000    V8/7.4L                             600          78
   1996-90   V6/4.3L                                      525          75MOYER_DEPO         000350
                                                                                             2000    V8/7.4L       Opt                   690          78
   See page 80 for Footnotes. Selection may vary by warehouse.
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42                                                                                Automotive/Light Truck
                                               ORIGINAL              GROUP SIZE                                                                ORIGINAL                GROUP SIZE
  YEAR      ENGINE                  OPTIONS   EQUIPMENT               (NOTES)           YEAR      ENGINE                  OPTIONS             EQUIPMENT                 (NOTES)
                                              CCA/RATING                                                                                      CCA/RATING
GMC Savana 3500 (continued)                                                           GMC Sierra 2500 HD Classic (continued)
1999    V8/7.4L                               630          78                         2007      V8/6.6L    Dsl, Late                          730          H6 (48) 2
1998-96 V8/7.4L                               600          78                         2007      V8/8.1L    Early                              600          78
GMC Sierra 1500                                                                       2007      V8/8.1L    Late                               615          H6 (48)
2019-18   V8/5.3L    w/o Start/Stop           720          H7 (94R)                   GMC Sierra 2500HD
2019-15   V6/4.3L                             730          H6 (48)                    2019-17   V8/6.0L    Aux Battery                        730          H6 (48)
2019      L4/2.7L                             800          H7 (94R) AGM 33, 50        2019-08   V8/6.6L    Dsl                                730          H6 (48) 2
2019      V8/5.3L    w/Start/Stop             800          H7 (94R) AGM 33, 50        2019      V8/6.0L                                       730          H7 (94R) AGM 33
2019      V8/6.2L                             800          H7 (94R) AGM 33, 50        2018      V8/6.0L    w/o Start/Stop                     720          H7 (94R)
2018-14   V8/6.2L                             720          H7 (94R)                   2018      V8/6.0L    w/Start/Stop                       730          H7 (94R) AGM 33
2018      V8/5.3L    w/Start/Stop             730          H7 (94R) AGM 33            2017-14   V8/6.0L                                       720          H7 (94R)
                                                                                      2016      V8/6.6L    Dsl                                720          H7 (94R) 2
2017-14   V8/5.3L                             720          H7 (94R)
                                                                                      2014-11   V8/6.0L    Opt                                730          H6 (48)
2016      V6/4.3L                             720          H7 (94R)
                                                                                      2013-08   V8/6.0L                                       615          H6 (48)
2014-09   V6/4.3L    Opt                      730          H6 (48)
                                                                                      2009      V8/6.0L    Opt                                730          H6 (48)
2014-09   V8/5.3L    Opt                      730          H6 (48)                    2007      V8/6.0L    Early                              600          78
2014-09   V8/6.2L    Opt                      730          H6 (48)                    2007      V8/6.0L    Late                               615          H6 (48)
2014-08   V8/6.2L                             615          H6 (48)                    2007      V8/6.6L    Dsl, Early                         770          78 2
2014-07   V6/4.3L                             615          H6 (48)                    2007      V8/6.6L    Dsl, Late                          730          H6 (48) 2
2014-07   V8/5.3L                             615          H6 (48)                    2006-03   V8/6.6L    Dsl                                770          78 2
2013-09   V8/4.8L    Opt                      730          H6 (48)                    2006-02   V8/8.1L    Opt                                690          78
2013-07   V8/4.8L                             615          H6 (48)                    2006-01   V8/6.0L                                       600          78
2013      V8/6.0L    Hybrid                   730          H6 (48)                    2006-01   V8/8.1L                                       600          78
2012-10   V8/6.0L    Hybrid                   615          H6 (48)                    2006      V8/6.0L    Opt                                690          78
2012-10   V8/6.0L    Hybrid, HD               730          H6 (48)                    2005-03   V8/8.1L    Opt                                770          78
2009-07   V8/6.0L                             615          H6 (48)                    2005-01   V8/6.0L    Opt                                770          78
2009      V8/6.0L    Opt                      730          H6 (48)                    2004      V8/6.6L    Dsl                                600          78 2
2007-01   V8/6.0L                             600          78                         2002-01   V8/6.6L    Dsl                                600          78 2
2007-99   V6/4.3L                             600          78                         2002-01   V8/6.6L    Dsl, Opt                           690          78 2
2007-99   V8/4.8L                             600          78                         GMC Sierra 3500
2007-99   V8/5.3L                             600          78                         2006-03   V8/6.6L    Dsl                                770          78 2
2007      V8/6.2L    Early                    600          78                         2006-02   V8/8.1L    Opt                                690          78
2007      V8/6.2L    Late                     615          H6 (48)                    2006-01   V8/6.0L                                       600          78
2006-05   V8/6.0L    Opt                      690          78                         2006-01   V8/8.1L                                       600          78
2006      V6/4.3L    Opt                      690          78                         2006      V8/6.0L    Opt                                690          78
2006      V8/4.8L    Opt                      690          78                         2005-03   V8/8.1L    Opt                                770          78
2006      V8/5.3L    Opt                      690          78                         2005-01   V8/6.0L    Opt                                770          78
2005-04   V8/5.3L    Opt                      770          78                         2004      V8/6.6L    Dsl                                600          78 2
2005-99   V6/4.3L    Opt                      770          78                         2002-01   V8/6.6L    Dsl                                600          78 2
2005-99   V8/4.8L    Opt                      770          78                         2002-01   V8/6.6L    Dsl, HD                            690          78 2
2004-01   V8/6.0L    Opt                      770          78                         2002-01   V8/6.6L    Dsl, Opt                           690          78 2
2001-99   V8/5.3L    Opt                      770          78                         2001      V8/8.1L    Opt                                770          78
GMC Sierra 1500 Classic                                                               GMC Sierra 3500 Classic
2007      V6/4.3L    Early                    600          78                         2007      V8/6.0L    Early                              600          78
2007      V6/4.3L    Late                     615          H6 (48)                    2007      V8/6.0L    Late                               615          H6 (48)
2007      V8/4.8L    Early                    600          78                         2007      V8/6.6L    Dsl, Early                         770          78 2
2007      V8/4.8L    Late                     615          H6 (48)                    2007      V8/6.6L    Dsl, Late                          730          H6 (48) 2
2007      V8/5.3L    Early                    600          78                         2007      V8/8.1L    Early                              600          78
2007      V8/5.3L    Late                     615          H6 (48)                    2007      V8/8.1L    Late                               615          H6 (48)
2007      V8/6.0L    Early                    600          78                         GMC Sierra 3500HD
2007      V8/6.0L    Late                     615          H6 (48)                    2019-17   V8/6.0L    Aux Battery                        730          H6 (48)
GMC Sierra 1500 HD Classic                                                            2019-08   V8/6.6L    Dsl                                730          H6 (48) 2
2007      V8/6.0L    Early                    600          78                         2019      V8/6.0L                                       730          H7 (94R) AGM 33
2007      V8/6.0L    Late                     615          H6 (48)                    2018      V8/6.0L    w/o Start/Stop                     720          H7 (94R)
GMC Sierra 1500 Limited                                                               2018      V8/6.0L    w/Start/Stop                       730          H7 (94R) AGM 33
2019      V8/5.3L                             720          H7 (94R)                   2017-14   V8/6.0L                                       720          H7 (94R)
2019      V8/5.3L    Aux Battery              730          H6 (48)                    2016      V8/6.6L    Dsl                                720          H7 (94R) 2
                                                                                      2014-09   V8/6.0L    Opt                                730          H6 (48)
GMC Sierra 1500HD                                                                     2013-08   V8/6.0L                                       615          H6 (48)
2006-05   V8/6.0L                             600          78                         2007      V8/6.0L    Early                              600          78 2
2006      V8/6.0L    Opt                      690          78                         2007      V8/6.0L    Late                               615          H6 (48) 2
2005      V8/6.0L    Opt                      770          78                         2007      V8/6.6L    Dsl, Early                         600          78 2
2003-01   V8/6.0L                             600          78                         2007      V8/6.6L    Dsl, Late                          730          H6 (48) 2
2003-01   V8/6.0L    Opt                      770          78
                                                                                      GMC Sonoma
GMC Sierra 2500                                                                   2004-94 V6/4.3L Opt                                         690          —
2004-99   V8/6.0L                             600          78                     2004-91 V6/4.3L                                             525          75
2004-99   V8/6.0L    Opt                      770          78                     2003-94 L4/2.2L                                             525          75
2000-99   V8/5.3L                             600          78                     2002-94 L4/2.2L Opt                                         690          —
2000-99   V8/5.3L    Opt                      770          78                     1993-91 L4/2.5L                                             525          75
GMC Sierra 2500 HD Classic                                                        1993-91 L4/2.5L Opt                                         630          78
2007      V8/6.0L    Early                    600          78                     1993-91 V6/2.8L                                             525          75
2007      V8/6.0L    Late                     615          H6 (48)                1993-91 V6/2.8L Opt                                         630          78
2007      V8/6.6L    Dsl, Early               770          78 2             MOYER_DEPO      000351
                                                                                  1993-91 V6/4.3L Opt                                         630          78
                                                                                                                         See page 80 for Footnotes. Selection may vary by warehouse.
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                                                                                 Honda
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   Automotive/Light Truck                                                                                                                                                43
                                                          ORIGINAL            GROUP SIZE                                                    ORIGINAL              GROUP SIZE
     YEAR      ENGINE                  OPTIONS           EQUIPMENT             (NOTES)         YEAR      ENGINE                  OPTIONS   EQUIPMENT               (NOTES)
                                                         CCA/RATING                                                                        CCA/RATING
   GMC S-Series: Pickup, Jimmy                                                              GMC Yukon, Yukon XL 1500, Yukon XL 2500 (continued)
   1991-90   V6/4.3L     Opt                             630          78                     2002-00   V8/6.0L    Opt                      690          78
   1991-88   V6/4.3L                                     525          75                     2000-99   V8/5.7L    Opt                      690          78
   1990-87   L4/2.5L                                     525          75                     2000-99   V8/5.7L    PPkg or HD               770          78
   1990-87   V6/2.8L                                     525          75                     2000-94   V8/5.7L                             600          78
   1990      L4/2.5L     Opt                             630          78                     2000      V8/5.3L    PPkg & Opt               770          78
   1990      V6/2.8L     Opt                             630          78                     2000      V8/5.3L    Primary Battery          600          78
   GMC Syclone                                                                               2000      V8/6.0L    PPkg or HD               770          78
   1991      V6/4.3L                                     525          75                     1999      V8/5.7L    PPkg & Opt               770          78
   1991      V6/4.3L     Opt                             630          78                     1997      V8/6.5L    Dsl                      600          78 2
   GMC Terrain                                                                               1996-94   V8/6.5L    Dsl                      770          78 2
                                                                                             1993-92   V8/5.7L    Aux Battery              540          78
   2019      L4/1.5L                                     730          H6 (48) AGM 33
                                                                                             1993-92   V8/5.7L    Primary Battery          630          78
   2019      L4/1.6L                                     730          H6 (48) AGM 33
   2019      L4/2.0L                                     730          H6 (48) AGM 33        Honda Accord
   2018      L4/1.5L     w/o Start/Stop                  525          H5 (47)                2019-17   L4/2.0L    Hybrid                   500          51
   2018      L4/1.5L     w/Start/Stop                    730          H6 (48) AGM 33         2019-18   L4/1.5L                             N/A          H5 (47)
   2018      L4/1.6L     w/o Start/Stop                  525          H5 (47)                2019-18   L4/2.0L                             N/A          H6 (48)
   2018      L4/1.6L     w/Start/Stop                    730          H6 (48) AGM 33         2017-13   L4/2.4L                             410          51R
   2018      L4/2.0L     w/o Start/Stop                  525          H5 (47)                2017-08   V6/3.5L                             550          —
   2018      L4/2.0L     w/Start/Stop                    730          H6 (48) AGM 33         2015-14   L4/2.0L    Hybrid                   500          51
   2017-13   V6/3.6L                                     660          H6 (48)                2013-12   L4/2.4L    US, Ex Calif             410          51R
   2017-10   L4/2.4L                                     525          H5 (47)                2013      L4/2.4L    Calif & Can              440          35
   2012      V6/3.0L                                     660          H6 (48)                2012-08   L4/2.4L    Calif, AT                440          35
   2011-10   V6/3.0L                                     615          H6 (48)                2012-08   L4/2.4L    Ex Calif, AT             410          51R
   GMC Tracker                                                                               2012      L4/2.4L    Can & CA                 440          35
                                                                                             2011-10   L4/2.4L    MT                       410          51R
   1991-90 L4/1.6L                                       525          —
                                                                                             2009-03   L4/2.4L                             435          51R
   GMC Typhoon                                                                               2007-03   V6/3.0L                             440          35
   1993-92 V6/4.3L                                       525          75                     2002-98   L4/2.3L                             450          35
   1993-92 V6/4.3L       Opt                             630          78                     2002-98   V6/3.0L                             500          24
   GMC V Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)                              1997-96   V6/2.7L                             500          24
   GMC Yukon XL                                                                              1997-94   L4/2.2L                             550          24F
   2019-18   V8/5.3L     Aux Battery                     730          H6 (48)                1995      V6/2.7L                             550          24F
   2019-18   V8/6.2L     Aux Battery                     730          H6 (48)                1993-90   L4/2.2L                             550          24
   2019-15   V8/5.3L                                     720          H7 (94R)              Honda Accord Crosstour
   2019-15   V8/6.2L                                     720          H7 (94R)               2011-10 V6/3.5L                               550          —
   GMC Yukon, Yukon XL 1500, Yukon XL 2500                                                  Honda Civic
   2019-17 V8/5.3L Aux Battery                            730         H6 (48)                2019-18   L4/2.0L    Type R                   410          H5 (47)
   2019-17 V8/6.2L Aux Battery                            730         H6 (48)                2019-16   L4/1.5L                             410          51R
   2019-15 V8/5.3L                                        720         H7 (94R)               2019-18   L4/2.0L    Ex Type R                410          51R
   2019-15 V8/6.2L                                        720         H7 (94R)               2017-16   L4/2.0L                             410          51R
   2015-12 V8/5.3L                                        660         H6 (48)                2015-14   L4/1.8L                             410          51R
   2015-12 V8/6.2L                                        660         H6 (48)                2015-14   L4/2.4L                             410          51R
   2015-09 V8/5.3L Opt                                    730         H6 (48)                2015-12   L4/1.5L    Hybrid                   340          —
   2015-09 V8/6.2L Opt                                    730         H6 (48)                2013-12   L4/2.4L    Can                      410          51R
   2013-12 V8/6.0L Hybrid                                 660         H6 (48)                2013-12   L4/2.4L    US                       310          51R
   2013-12 V8/6.0L Hybrid, HD                             730         H6 (48)                2013-08   L4/1.8L    Can                      410          51R
   2011-10 V8/6.0L Hybrid, Opt                            730         H6 (48)                2013-08   L4/1.8L    US                       310          51R
   2011-09 V8/6.0L Opt                                    730         H6 (48)                2011-08   L4/2.0L    Can                      410          51R
   2011-07 V8/5.3L                                        615         H6 (48)                2011-08   L4/2.0L    US                       310          51R
   2011-07 V8/6.0L                                        615         H6 (48)                2011-06   L4/1.3L    Hybrid                   340          —
   2011-07 V8/6.2L                                        615         H6 (48)                2007-06   L4/1.8L                             435          51R
   2009-07 V8/4.8L                                        615         H6 (48)                2007      L4/2.0L                             440          51R
   2009      V8/4.8L Opt                                  730         H6 (48)                2006-02   L4/2.0L                             435          51R
   2009      V8/6.0L Hybrid, HD                           730         H6 (48)                2005-03   L4/1.3L    Hybrid                   410          51R 6
   2006-01 V8/8.1L                                        600         78                     2005-01   L4/1.7L                             410          51
   2006-01 V8/8.1L Opt                                    690         78                     2000-92   L4/1.6L                             410          51R
   2006-00 V8/4.8L                                        600         78                     1995-92   L4/1.5L                             410          51R
   2006-00 V8/5.3L                                        600         78                     1991-90   L4/1.5L                             405          51
   2006-00 V8/6.0L                                        600         78                     1991-90   L4/1.6L                             405          51
   2006      V8/4.8L Opt                                  690         78                    Honda Civic del Sol
   2006      V8/5.3L Opt                                  690         78                     1997-93 L4/1.6L                               410          51R
   2006      V8/6.0L Opt                                  690         78                     1995-93 L4/1.5L                               410          51R
   2005-03 V8/4.8L Opt                                    770         78
   2005-03 V8/5.3L Opt                                    770         78                    Honda Clarity
   2005-03 V8/6.0L Opt                                    770         78                     2019-18                                       500          51R
   2005-03 V8/8.1L Opt                                    770         78                     2019-18 L4/1.5L                               500          51R
   2005      V8/5.3L Option 1                             690         78                    Honda Crosstour
   2005      V8/5.3L Option 2                             770         78                    2015-14 L4/2.4L                                500          51R
   2004-03 V8/6.0L Option 1                               690         78                    2015-14 V6/3.5L                                550          24F
   2004-03 V8/6.0L Option 2                               770         78                    2013-12 L4/2.4L       Calif & Can              440          35
   2002-00 V8/4.8L Opt                                    690         78                    2013-12 L4/2.4L       US                       410          51R
   2002-00 V8/5.3L Opt                                    690         78MOYER_DEPO         000352
                                                                                            2013-12 V6/3.5L                                550          —
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44                                                                                  Automotive/Light Truck
                                                 ORIGINAL              GROUP SIZE                                                              ORIGINAL                GROUP SIZE
  YEAR      ENGINE                    OPTIONS   EQUIPMENT               (NOTES)           YEAR      ENGINE                OPTIONS             EQUIPMENT                 (NOTES)
                                                CCA/RATING                                                                                    CCA/RATING
Honda CR-V                                                                              Hummer H2
2019-18   L4/2.4L                               410          51R                        2009-08 V8/6.2L                                       730          H6 (48)
2019      L4/1.5L                               410          51R                        2007-03 V8/6.0L                                       840          79
2018-17   L4/1.5L                               410          51R                        Hummer H3
2017-02   L4/2.4L                               410          51R                        2010      L5/3.7L                                     590          86 40
2016-14   L4/2.4L    Can                        440          35                         2010      V8/5.3L                                     590          86 40
2016-14   L4/2.4L    US                         410          51R                        2009      L5/3.7L                                     590          86 11, 40
2001-97   L4/2.0L                               410          51R                        2009      V8/5.3L                                     590          86 11, 40
Honda CRX                                                                               2008-07   L5/3.7L                                     640          86 11, 40
1991-90 L4/1.5L                                 405          51                         2008      V8/5.3L                                     640          86 11, 40
1991-90 L4/1.6L                                 405          51                         2006      L5/3.5L                                     640          —
Honda CR-Z                                                                              Hummer H3T
2016-11 L4/1.5L      Hybrid                     340          —                          2010      L5/3.7L                                     590          86 40
Honda Element                                                                           2010      V8/5.3L                                     590          86 40
2011-03 L4/2.4L                                 410          51R                        2009      L5/3.7L                                     590          86 11, 40
Honda Fit                                                                               2009      V8/5.3L                                     590          86 11, 40
2019-07 L4/1.5L                                 340          —                          Hyundai Accent
2014-13              Electric                   340          —                          2019-18   L4/1.6L                                     60 Ah        H5 (47) AGM 33
Honda HR-V                                                                              2017-14   L4/1.6L                                     N/A          H5 (47)
2019-18 L4/1.8L                                 500          51R                        2016      L4/1.6L                                     600          —
2017-16 L4/1.8L                                 500          51R                        2013-01   L4/1.6L                                     500          121R
                                                                                        2003-01   L4/1.5L                                     500          121R
Honda Insight                                                                           2000-98   L4/1.5L                                     435          121R
2014-10 L4/1.3L      Hybrid                     340          —                          1997-95   L4/1.5L                                     410          121R
2006-00 L3/1.0L      Hybrid                     270          51                         1997-95   L4/1.5L    Opt                              580          121R
Honda Odyssey                                                                           Hyundai Azera
2019-18   V6/3.5L    Elite, Touring             650          H6 (48) AGM 33             2017-07 V6/3.3L                                       600          124R
2019-18   V6/3.5L    Ex Elite, Touring          620          H6 (48)                    2016    V6/3.3L                                       700          124R
2017      V6/3.5L                               630          24F                        2011-06 V6/3.8L                                       600          124R
2016      V6/3.5L                               730          —
2015      V6/3.5L                               550          24F
                                                                                        Hyundai Elantra
2014-05   V6/3.5L                               550          —                          2019-17   L4/1.4L                                     60 Ah        H6 (48) AGM 33
2004-99   V6/3.5L                               550          24F                        2019-17   L4/1.6L                                     60 Ah        H5 (47)
1998      L4/2.3L                               550          24F                        2019-17   L4/2.0L                                     60 Ah        H6 (48) AGM 33
1997-95   L4/2.2L                               550          24F                        2016-14   L4/1.8L    AT                               760          H6 (48) AGM 33
                                                                                        2016-14   L4/1.8L    MT                               550          —
Honda Passport
                                                                                        2016-11   L4/2.0L                                     550          —
2019      V6/3.5L                               650          H6 (48) AGM 33
                                                                                        2013-11   L4/1.8L                                     550          —
2002-98   V6/3.2L                               600          24F
                                                                                        2013-11   L4/1.8L    Opt                              550          H6 (48)
1997-96   V6/3.2L                               600          24
                                                                                        2010      L4/2.0L                                     600          121R
1996      L4/2.6L                               430          86
                                                                                        2009-07   L4/2.0L                                     550          121R
1996      L4/2.6L    Opt                        600          24
                                                                                        2006      L4/2.0L                                     500          124R
1995-94   L4/2.6L                               380          25
                                                                                        2005-04   L4/2.0L                                     560          124R
1995-94   V6/3.2L    AT                         600          24
                                                                                        2003-99   L4/2.0L                                     550          124R
1995-94   V6/3.2L    MT                         380          25
                                                                                        1998-97   L4/1.8L                                     600          121R
Honda Pilot                                                                             1996-93   L4/1.8L                                     435          25
2019-18   V6/3.5L    Elite, Touring, TRG        650          H6 (48) AGM 33             1996-93   L4/1.8L    Can & Opt                        540          24
2019-18   V6/3.5L    Ex Elite, Touring, TRG     620          H6 (48)                    1995-92   L4/1.6L                                     435          25
2017-16   V6/3.5L                               620          H6 (48)                    1995-92   L4/1.6L    Can & Opt                        540          24
2017-16   V6/3.5L    Elite, Touring             650          H6 (48) AGM 33
                                                                                        Hyundai Elantra Coupe
2016      V6/3.5L                               N/A          H6 (48)
                                                                                        2014      L4/2.0L                                     550          —
2016      V6/3.5L    Elite, Touring             N/A          H6 (48) AGM 33
                                                                                        2013      L4/1.8L                                     550          —
2016      V6/3.5L    FWD                        620          H6 (48)
2016      V6/3.5L    SH-AWD                     650          H6 (48) AGM 33             Hyundai Elantra GT
2015-03   V6/3.5L                               550          —                          2019-18 L4/1.6L                                       60 Ah        H5 (47)
Honda Prelude                                                                           2019-14 L4/2.0L                                       68 Ah        H6 (48)
2001-92   L4/2.2L                               550          24F                        2013    L4/1.8L                                       550          —
1996-92   L4/2.3L                               550          24F                        Hyundai Entourage
1991-90   L4/2.0L                               550          24                         2010-07 V6/3.8L                                       600          124R
1991-90   L4/2.1L                               550          24                         Hyundai Equus
Honda Ridgeline                                                                         2016-12 V8/5.0L                                       740          —
2019-17   V6/3.5L                               620          H6 (48)                    2011    V8/4.6L                                       740          —
2014-11   V6/3.5L                               550          24F                        Hyundai Excel
2010-06   V6/3.5L                               585          24F                        1994-90 L4/1.5L                                       420          25
2006      V6/3.5L                               550          24F                        Hyundai Genesis
Honda S2000                                                                         2016-14 V6/3.8L                                           740          —
2009-04 L4/2.2L                                 430          51                     2016-14 V8/5.0L                                           950          H9 (95R) AGM 33, 50
2003-00 L4/2.0L                                 430          51                     2016    V6/3.8L AGM                                       950          H9 (95R) AGM 33
Hummer H1                                                                           2016    V8/5.0L AGM                                       950          H9 (95R) AGM 33
2006    V8/6.6L                                 840          79                     2013-12 V8/5.0L                                           600          —
2004-03 V8/6.5L                                 840          79 2                   2013-09 V6/3.8L Sedan                                     740          —
2002    V8/6.5L                                 770          78               MOYER_DEPO     000353
                                                                                    2012-09 V8/4.6L Sedan                                     740          —
                                                                                                                         See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                              45
                                                          ORIGINAL            GROUP SIZE                                                  ORIGINAL              GROUP SIZE
     YEAR      ENGINE                 OPTIONS            EQUIPMENT             (NOTES)         YEAR      ENGINE                OPTIONS   EQUIPMENT               (NOTES)
                                                         CCA/RATING                                                                      CCA/RATING
   Hyundai Genesis Coupe                                                                    Hyundai Veloster
   2016    V6/3.8L                                       700          124R                   2016-13   L4/1.6L    Turbo                  550          —
   2015-10 V6/3.8L                                       600          124R                   2016-12   L4/1.6L    Non Turbo              550          121R
   2014-10 L4/2.0L                                       600          124R                   2016      L4/1.6L    Turbo                  410          H5 (47)
   Hyundai Kona                                                                              2014      L4/1.6L                           550          —
   2018      L4/1.6L                                     760          H6 (48) AGM 33         2013-12   L4/1.6L                           600          121R
   2018      L4/2.0L                                     760          H6 (48) AGM 33        Hyundai Veracruz
   Hyundai Santa Fe                                                                          2012-09 V6/3.8L                             660          124R
   2019-03   L4/2.4L                                     600          124R                   2008-07 V6/3.8L                             600          124R
   2019      L4/2.0L                                     600          124R                  Hyundai XG300
   2018-07   V6/3.3L                                     600          124R                   2001      V6/3.0L                           600          124R
   2016      V6/3.3L                                     700          124R                  Hyundai XG350
   2012-03   V6/3.5L                                     600          124R                   2005-02 V6/3.5L                             600          124R
   2009-01   V6/2.7L                                     600          124R                  ,QğQLWLEX35
   2002      L4/2.4L                                     550          124R
                                                                                             2012-08 V6/3.5L                             585          35
   2001      L4/2.4L                                     660          124R
   Hyundai Santa Fe Sport                                                                   ,QğQLWLEX37
                                                                                             2013      V6/3.7L                           720          —
   2018-17   L4/2.0L                                     800          H7 (94R) AGM 33
   2018-17   L4/2.4L                                     800          H7 (94R) AGM 33       ,QğQLWLFX35
   2016-13   L4/2.0L                                     700          124R                   2012-09   V6/3.5L                           585          35
   2016-13   L4/2.4L                                     700          124R                   2008-07   V6/3.5L                           550          24F
                                                                                             2008-07   V6/3.5L    w/Intelligent Key      750          —
   Hyundai Santa Fe XL
                                                                                             2008-07   V6/3.5L    w/o Intelligent Key    550          35
   2016-13 V6/3.3L                                       600          124R
                                                                                             2006-03   V6/3.5L                           490          35
   2016    V6/3.3L                                       700          124R
                                                                                            ,QğQLWLFX37
   Hyundai Scoupe
                                                                                             2013      V6/3.7L                           720          —
   1995-94 L4/1.5L       Can & Opt                       540          24
   1995-94 L4/1.5L       Can or Opt                      540          —                     ,QğQLWLFX45
   1993-91 L4/1.5L                                       420          25                     2008-07   V8/4.5L                           550          24F
                                                                                             2008-06   V8/4.5L    w/Intelligent Key      750          —
   Hyundai Sonata
                                                                                             2008-06   V8/4.5L    w/o Intelligent Key    550          35
   2019-18   L4/2.0L     Hybrid                          600          —                      2006-03   V8/4.5L                           490          35
   2019-18   L4/2.4L                                     760          H6 (48) AGM 33
   2019-14   L4/2.0L                                     760          H6 (48) AGM 33
                                                                                            ,QğQLWLFX50
   2018      L4/1.6L                                     760          H6 (48) AGM 33         2013-09 V8/5.0L                             720          —
   2017-15   L4/1.6L                                     800          H7 (94R) AGM 33       ,QğQLWLG20
   2017-15   L4/2.4L                                     800          H7 (94R) AGM 33        2002-99 L4/2.0L                             585          24F
   2016      L4/2.0L     Gas                             760          H6 (48) AGM 33         1996-91 L4/2.0L      Calif                  360          35
   2016      L4/2.0L     Hybrid                          600          —                      1996-91 L4/2.0L      Ex Calif               585          24F
   2015-11   L4/2.4L     Hybrid                          600          —                     ,QğQLWLG25
   2015      L4/2.4L     Gas                             800          H7 (94R) AGM 33        2012-11 V6/2.5L                             720          —
   2014      L4/2.4L     Gas                             760          H6 (48) AGM 33         2012-11 V6/2.5L                             585          35
   2013-11   L4/2.0L                                     600          124R                  ,QğQLWLG35
   2013-06   L4/2.4L     Gas                             600          124R
                                                                                             2008      V6/3.5L                           550          35
   2010      V6/3.3L                                     700          124R
                                                                                             2007-03   V6/3.5L    Coupe                  550          35
   2009-06   V6/3.3L                                     600          124R
                                                                                             2007-03   V6/3.5L    Sedan                  550          24F
   2005-03   L4/2.4L                                     560          124R
                                                                                             2006-03   V6/3.5L                           490          35
   2005-02   V6/2.7L                                     600          124R
   2002-99   L4/2.4L                                     550          124R                  ,QğQLWLG37
   2001      V6/2.5L                                     600          124R                   2013-08 V6/3.7L                             585          35
   2000-99   V6/2.5L                                     540          124R                  ,QğQLWLI30
   1998-92   L4/2.0L                                     420          25                     2001-98   V6/3.0L                           585          24F
   1998-92   L4/2.0L     Opt                             540          24                     1997-96   V6/3.0L    Calif                  415          24F
   1998-90   V6/3.0L                                     540          24                     1997-96   V6/3.0L    Can & Opt              585          24F
   1991-89   L4/2.4L                                     420          25                     1997-96   V6/3.0L    US                     360          35
   1991-89   L4/2.4L     Opt                             540          24                    ,QğQLWLI35
   Hyundai Tiburon                                                                           2004-03 V6/3.5L                             445          24F
   2008-03 V6/2.7L                                       600          124R                   2002    V6/3.5L                             585          24F
   2008-97 L4/2.0L                                       600          124R                  ,QğQLWLJ30
   1997    L4/1.8L                                       600          124R                   1997-93 V6/3.0L                             585          24
   Hyundai Tucson                                                                           ,QğQLWLJX35
   2019-18 L4/2.4L                                        640         H6 (48)                2013      V6/3.5L                           720          —
   2019-16 L4/2.0L                                        640         H6 (48)               ,QğQLWLM30
   2018-16 L4/1.6L                                        640         H6 (48)
                                                                                             1992      V6/3.0L    Conv                   360          25
   2017                  Electric/Hydrogen                600         —
                                                                                             1992      V6/3.0L    Ex Conv                415          24
   2016-15                                                410         H5 (47)
                                                                                             1992      V6/3.0L    Opt                    585          24
   2016-15               Electric/Hydrogen                600         —
                                                                                             1991-90   V6/3.0L                           415          24
   2016-11 L4/2.0L                                        600         124R
   2016      L4/1.6L                                      600         124R                  ,QğQLWLM35
   2015-10 L4/2.4L                                        600         124R                   2010-06 V6/3.5L                             700          24F
   2009-05 L4/2.0L                                        600         124R                  ,QğQLWLM37
   2009-05 V6/2.7L                                        600           MOYER_DEPO
                                                                      124R                 000354
                                                                                            2013-11 V6/3.7L                              700          24F
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46                                                                          Automotive/Light Truck
                                           ORIGINAL            GROUP SIZE                                                                ORIGINAL                GROUP SIZE
  YEAR      ENGINE              OPTIONS   EQUIPMENT             (NOTES)            YEAR      ENGINE                 OPTIONS             EQUIPMENT                 (NOTES)
                                          CCA/RATING                                                                                    CCA/RATING
,QğQLWLM45                                                                      Isuzu Axiom
2010-06 V8/4.5L                           750          —                         2004-02 V6/3.5L                                        600          24F
2004    V8/4.5L                           490          25 45                     Isuzu Hombre
2003    V8/4.5L                           585          24                        2000-97   V6/4.3L                                      525          75
,QğQLWLM56                                                                      2000-97   V6/4.3L    Opt                               690          —
2013-11 V8/5.6L                           750          —                         2000-96   L4/2.2L                                      525          75
,QğQLWLQ40                                                                      2000-96   L4/2.2L    Opt                               690          —
2015      V6/3.7L                         585          35                        Isuzu i-280
,QğQLWLQ45                                                                      2006      L4/2.8L                                      640          86 11, 40
2006-02 V8/4.5L                           585          24F                       Isuzu i-290
2001-97 V8/4.1L                           585          24                        2008      L4/2.9L                                      640          86 40
1996-90 V8/4.5L                           625          27                        2007      L4/2.9L                                      640          86 11, 40
,QğQLWLQ50                                                                      Isuzu i-350
                                                                                 2006      L5/3.5L                                      640          86 11, 40
2019-18   V6/3.0L                         600          —
2018      V6/3.5L    Hybrid               600          —                         Isuzu i-370
2016      V6/3.5L    Ex HEV w/o EFB       640          35                        2008      L5/3.7L                                      640          86 40
2015-14   V6/3.7L                         585          35                        2007      L5/3.7L                                      640          86 11, 40
2015      V6/3.5L    Hybrid               585          35                        Isuzu Impulse
2014      V6/3.5L    Hybrid               585          —                         1992-90 L4/1.6L                                        355          35
,QğQLWLQ60                                                                      1992    L4/1.8L                                        355          35
2019-17 V6/3.0L                           600          —                         Isuzu Oasis
2015-14 V6/3.7L                           720          —                         1999-98 L4/2.3L                                        550          24F
2014    V6/3.7L                           585          35                        1997-96 L4/2.2L                                        550          24F
,QğQLWLQ70                                                                      Isuzu Pickup
2016      V8/5.6L                         700          24F                       1995-90   L4/2.3L    AT                                600          24
2016-14   V6/3.7L                         585          35                        1995-90   L4/2.3L    MT                                430          25
2015-14   V6/3.5L    Hybrid               585          —                         1995      L4/2.6L                                      600          24
2015-14   V8/5.6L                         585          35                        1994-91   V6/3.1L                                      430          25
                                                                                 1994-90   L4/2.6L    AT                                600          24
,QğQLWLQ70L                                                                     1994-90   L4/2.6L    MT                                430          25
2016-15 V6/3.7L                           585          35
                                                                                 Isuzu Rodeo
2016-15 V8/5.6L                           585          35
                                                                                 2004-98   V6/3.2L                                      600          24F
,QğQLWLQX4                                                                      2004      V6/3.5L                                      650          24
2003      V6/3.5L                         490          24                        2003-01   V6/3.2L    Can & Opt                         625          27F
2002      V6/3.5L                         360          25                        2003-98   L4/2.2L                                      600          24F
2001      V6/3.5L                         490          24                        2003      L4/2.2L    Can & Opt                         625          27F
2000-97   V6/3.3L    HD, w/HS & Can       450          24                        1997-93   L4/2.6L                                      430          86
2000-97   V6/3.3L    US                   360          25                        1997      V6/3.2L                                      600          24
,QğQLWLQX50                                                                     1996-93   V6/3.2L    AT                                600          24
2017      V6/3.7L                         585          35                        1996-93   V6/3.2L    MT                                430          86
2016      V6/3.7L                         550          35                        1996      L4/2.6L    Opt                               600          24
2016      V6/3.7L    Opt                  720          —                         1992-91   L4/2.6L                                      380          25
2015-14   V6/3.7L                         720          —                         1992-91   L4/2.6L    Opt                               610          24
                                                                                 1992-91   V6/3.1L    AT, HD                            610          24
,QğQLWLQX56                                                                     1992-91   V6/3.1L    MT                                380          25
2013-12 V8/5.6L                           710          27
                                                                                 Isuzu Rodeo Sport
2010-04 V8/5.6L                           710          27F
                                                                                 2003      L4/2.2L    Can or Opt                        625          27F
,QğQLWLQX60                                                                     2003      L4/2.2L    US                                600          24F
2017-14 V6/3.5L                           550          35                        2003      V6/3.2L    Can or Opt                        625          27F
2015-14 L4/2.5L      Hybrid               500          51R                       2003      V6/3.2L    US                                600          24F
2015-14 V6/3.5L                           720          —                         2002-01   L4/2.2L                                      600          24F
,QğQLWLQX70                                                                     2002-01   V6/3.2L                                      600          24F
2017      V6/3.7L                         585          35                        Isuzu Stylus
2016-15   V6/3.7L    Opt                  720          —                         1993-91 L4/1.6L                                        355          35
2016      V6/3.7L                         550          35                        1992    L4/1.8L                                        355          35
2015-14   V6/3.7L                         720          —                         Isuzu Trooper
,QğQLWLQX80                                                                2002-01 V6/3.5L HD or w/AT                                  625        27
2017-14 V8/5.6L                           780          27                   2002-01 V6/3.5L MT                                          585        24
Isuzu Amigo                                                                 2000-98 V6/3.5L AT                                          625        27
                                                                            2000-98 V6/3.5L MT                                          580        24
2000-98   L4/2.2L                         600          24F
                                                                            1997-95 V6/3.2L AT                                          625        27
2000-98   V6/3.2L                         600          24F
                                                                            1997-95 V6/3.2L MT                                          580        24
1994-90   L4/2.6L    AT                   600          24
                                                                            1994-92 V6/3.2L AT                                          580        24
1994-90   L4/2.6L    MT                   430          25
                                                                            1994-92 V6/3.2L MT                                          490        24
1993-90   L4/2.3L    AT                   600          24                   1994-92 V6/3.2L Opt                                         620        27
1993-90   L4/2.3L    MT                   430          25                   1991-90 L4/2.6L AT                                          490        24
Isuzu Ascender                                                              1991-90 L4/2.6L MT                                          350        25
2008-03 L6/4.2L                           600          78 40                1991-90 V6/2.8L AT                                          490        24
2006-03 V8/5.3L                           600          78 40          MOYER_DEPO      000355
                                                                            1991-90 V6/2.8L MT                                          350        25
                                                                                                                   See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                       47
                                                          ORIGINAL              GROUP SIZE                                                         ORIGINAL              GROUP SIZE
     YEAR      ENGINE                OPTIONS             EQUIPMENT               (NOTES)         YEAR      ENGINE               OPTIONS           EQUIPMENT               (NOTES)
                                                         CCA/RATING                                                                               CCA/RATING
   Isuzu VehiCROSS                                                                            Jaguar XJ (continued)
   2001-99 V6/3.5L       Opt                             625          27                       2015-14   V8/5.0L                                  800          H8 (49) AGM 33, 50
   2001    V6/3.5L                                       585          24                       2015-14   V8/5.0L                                  900          H8 (49) AGM 33, 50
   2000-99 V6/3.5L                                       580          24                       2013-12   V8/5.0L    Can (from VIN V26780)         850          H8 (49) AGM 33, 50
   Jaguar F-Pace                                                                               2013-11   V8/5.0L                                  800          —
   2017      L4/2.0L                                     850          H7 (94R) AGM 33          2013      V6/3.0L                                  800          —
   2017      V6/3.0L                                     850          H7 (94R) AGM 33          2013      V8/5.0L    Primary Battery               800          H8 (49) AGM 33, 50
   Jaguar F-Type                                                                               2012-11   V8/5.0L                                  800          —
   2017-14   V6/3.0L                                     900          H8 (49) AGM 33, 54      Jaguar XJ12
   2017-14   V8/5.0L                                     900          H8 (49) AGM 33, 54       1996-94 V12/6.0L                                   590          —
   2016-15   V6/3.0L     Primary Battery                 900          H8 (49) AGM 33           1992-91 V12/5.3L                                   590          —
   2016-15   V8/5.0L     Primary Battery                 900          H8 (49) AGM 33           1990-86 V12/5.3L                                   590          34 6
   2014      V6/3.0L     Primary Battery                 850          H8 (49) AGM 33          Jaguar XJ6
   2014      V8/5.0L     Primary Battery                 850          H8 (49) AGM 33           1997-95   L6/4.0L                                   800         —
   Jaguar S-Type                                                                               1994-93   L6/4.0L                                   640         H6 (48) 50
   2008-07   V6/3.0L                                     90 Ah        H8 (49) 50               1992-90   L6/4.0L    Must use Jaguar tray DBC 10489 640         H6 (48) 50
   2008      V8/4.2L                                     800          —                        1991-90   L6/4.0L    Opt                            450         —
   2008      V8/4.2L                                     850          —                       Jaguar XJ8
   2008      V8/4.2L                                     850          —                        2009-04 V8/4.2L                                    90 Ah        H8 (49) 50
   2007      V8/4.2L                                     90 Ah        H8 (49) 50               2003-98 V8/4.0L                                    680          H8 (49)
   2006-03   V6/3.0L                                     750          —                       Jaguar XJR
   2006-03   V6/3.0L                                     750          —                        2009-07   V8/4.2L                                  800          —
   2006-03   V6/3.0L                                     800          —                        2006-04   V8/4.2L                                  750          —
   2006-03   V8/4.2L                                     750          —
                                                                                               2003-98   V8/4.0L                                  680          H8 (49)
   2006-03   V8/4.2L                                     750          —
                                                                                               1997      L6/4.0L                                  680          H8 (49)
   2006-03   V8/4.2L                                     800          —
                                                                                               1996-95   L6/4.0L                                  590          —
   2002-01   V6/3.0L                                     680          H8 (49) 50
   2002-00   V6/3.0L                                     680          H8 (49) 54              Jaguar XJR-S
   2002-00   V8/4.0L                                     680          H8 (49) 54               1993      V12/6.0L                                 590          —
   Jaguar Super V8                                                                            Jaguar XJS
   2009-07 V8/4.2L                                       800          —                        1996-95   L6/4.0L                                  600          H6 (48)
   2006-05 V8/4.2L                                       680          —                        1995-94   V12/6.0L                                 590          —
   Jaguar Vanden Plas                                                                          1994-92   L6/4.0L                                  590          —
                                                                                               1992-91   V12/5.3L                                 590          —
   2009      V8/4.2L                                     680          —
                                                                                               1990-89   V12/5.3L                                 590          —
   2008-04   V8/4.2L                                     680          —
   2003-98   V8/4.0L                                     680          H8 (49)                 Jaguar XK
   1997      L6/4.0L                                     680          —                        2015-14   V8/5.0L                                  800          —
   1996-94   L6/4.0L                                     590          —                        2013-10   V8/5.0L                                  800          —
   1993      L6/4.0L                                     640          —                        2013      V8/5.0L                                  800          —
   1992-91   L6/4.0L                                     590          —                        2012      V8/5.0L    Opt                           800          —
   1990      L6/4.0L                                     590          —                        2011-10   V8/5.0L                                  800          —
   Jaguar XE                                                                                   2009-07   V8/4.2L                                  800          —
   2017      L4/2.0L                                     850          H7 (94R) AGM 33         Jaguar XK8
   2017      V6/3.0L                                     850          H7 (94R) AGM 33          2006      V8/4.2L                                  750          —
   Jaguar XF                                                                                   2005-04   V8/4.2L                                  750          —
                                                                                               2003      V8/4.2L                                  680          H8 (49)
   2017-14   V6/3.0L                                     850          H7 (94R) AGM 33
                                                                                               2002-97   V8/4.0L                                  680          H8 (49)
   2017      L4/2.0L                                     850          H7 (94R) AGM 33
   2015-14   L4/2.0L                                     800          —                       Jaguar XKR
   2015-14   V8/5.0L                                     900          H8 (49) AGM 33           2015-14   V8/5.0L                                  800          —
   2015-14   V8/5.0L     Primary Battery                 900          H8 (49) AGM 33           2013-10   V8/5.0L                                  800          —
   2015-13   V6/3.0L                                     900          H8 (49) AGM 33           2013-10   V8/5.0L                                  800          —
   2013-12   V8/5.0L     Can (from VIN S30208)           850          H8 (49) AGM 33, 50       2009-07   V8/4.2L                                  800          —
   2013      L4/2.0L                                     800          —                        2006-04   V8/4.2L                                  750          —
   2013      L4/2.0L     GTDi                            90 Ah        H8 (49)                  2003      V8/4.2L                                  680          H8 (49)
   2013      V8/5.0L     Primary Battery                 800          H8 (49) AGM 33, 54       2002-00   V8/4.0L                                  680          H8 (49)
   2012-10   V8/5.0L                                     800          —                       Jaguar XKR-S
   2012-10   V8/5.0L     Can (to VIN S30207)             90 Ah        H8 (49) 50               2015-14 V8/5.0L                                    800          —
   2010-09   V8/4.2L                                     800          —                        2013    V8/5.0L                                    800          —
   Jaguar XFR                                                                                  2012    V8/5.0L                                    800          —
   2015-14 V8/5.0L       Primary Battery                 900          H8 (49) AGM 33          Jaguar X-Type
   2015-11 V8/5.0L                                       800          —                        2008-07   V6/3.0L                                  80 Ah        H7 (94R)
   2013-10 V8/5.0L       S/C                             800          —                        2006-04   V6/3.0L                                  700          H7 (94R)
   Jaguar XFR-S                                                                                2005-02   V6/2.5L                                  700          H7 (94R)
   2015-14 V8/5.0L       Primary Battery                 900          H8 (49) AGM 33           2003-02   V6/2.5L                                  640          H7 (94R)
   2015-13 V8/5.0L                                       800          —                        2003-02   V6/3.0L                                  640          H7 (94R)
   2013    V8/5.0L       S/C                             800          H8 (49) AGM 33, 50      Jeep Cherokee
   Jaguar XJ                                                                                  2019    L4/2.0L                                     700          H7 (94R)
   2017-16 V8/5.0L                                        900         H8 (49) AGM 33          2019    L4/2.4L                                     700          H7 (94R)
   2017-14 V6/3.0L                                        900         H8 (49) AGM 33          2019    V6/3.2L                                     700          H7 (94R)
   2016      V8/5.0L Aux Battery                          900         H8 (49) AGM 33          2018-14 L4/2.4L                                     600          H6 (48)
   2016      V8/5.0L Primary Battery                      900          MOYER_DEPO
                                                                      H8 (49) AGM 33         000356
                                                                                              2018-14 V6/3.2L                                     730          H7 (94R)
   See page 80 for Footnotes. Selection may vary by warehouse.
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48                                                                            Automotive/Light Truck
                                             ORIGINAL            GROUP SIZE                                                                 ORIGINAL              GROUP SIZE
  YEAR      ENGINE                OPTIONS   EQUIPMENT             (NOTES)            YEAR      ENGINE                  OPTIONS             EQUIPMENT               (NOTES)
                                            CCA/RATING                                                                                     CCA/RATING
Jeep Cherokee (continued)                                                         Jeep Grand Cherokee (continued)
2001-98   L6/4.0L                           500          34                        2007-05   V8/4.7L                                       730          H7 (94R)
2000-98   L4/2.5L                           500          34                        2007-05   V8/5.7L                                       730          H7 (94R)
1997-90   L4/2.5L                           430          58                        2004-99   L6/4.0L                                       625          65
1997-90   L4/2.5L    Opt                    500          58                        2004-99   V8/4.7L                                       625          65
1997-90   L6/4.0L                           430          58                        1998-93   L6/4.0L                                       600          34
1997-90   L6/4.0L    Opt                    500          58                        1998-93   V8/5.2L                                       600          34
Jeep Comanche                                                                      1998      V8/5.9L                                       600          34
1992-90   L4/2.5L                           430          58                       Jeep Grand Wagoneer
1992-90   L4/2.5L    Opt                    500          58                        1993    V8/5.2L                                         600          34
1992-90   L6/4.0L                           430          58                        1991-90 V8/5.9L                                         500          58
1992-90   L6/4.0L    Opt                    500          58                       Jeep Liberty
Jeep Commander                                                                     2012-03   V6/3.7L                                       600          34
2010      V6/3.7L                           625          H7 (94R)                  2006-05   L4/2.8L    Dsl                                800          —
2010      V8/5.7L                           625          H7 (94R)                  2005-03   L4/2.4L                                       600          34
2009      V6/3.7L                           730          H7 (94R)                  2002      L4/2.4L                                       525          86
2009      V8/4.7L                           730          H7 (94R)                  2002      V6/3.7L                                       525          86
2009      V8/4.7L                           730          H7 (94R) 57              Jeep Patriot
2009      V8/5.7L                           730          H7 (94R)                  2017-07 L4/2.0L                                         525          86
2008      V6/3.7L    Early                  730          H7 (94R)                  2017-07 L4/2.4L                                         525          86
2008      V6/3.7L    Late                   625          H7 (94R)                 Jeep Renegade
2008      V8/4.7L    Early                  730          H7 (94R)
                                                                                   2018-17 L4/1.4L                                         500          H5 (47)
2008      V8/4.7L    Early                  730          H7 (94R) 57
                                                                                   2018-15 L4/2.4L                                         600          H6 (48)
2008      V8/4.7L    Late                   625          H7 (94R)
                                                                                   2016-15 L4/1.4L                                         600          H6 (48)
2008      V8/4.7L    Late                   625          H7 (94R) 57
2008      V8/5.7L    Early                  730          H7 (94R)                 Jeep TJ
2008      V8/5.7L    Late                   625          H7 (94R)                  2006-05   L4/2.4L                                       600          34
2007-06   V6/3.7L                           730          H7 (94R) 50               2006-02   L6/4.0L                                       600          34
2007-06   V8/4.7L                           730          H7 (94R)                  2003      L4/2.4L                                       600          34
2007-06   V8/4.7L                           730          H7 (94R) 50               2002      L4/2.5L                                       600          34
2007-06   V8/5.7L                           730          H7 (94R) 50               2001-97   L4/2.5L                                       500          34
                                                                                   2001-97   L6/4.0L                                       500          34
Jeep Compass
2019-18   L4/2.4L    Aux for Start/Stop     200          —
                                                                                  Jeep Wagoneer
2019-18   L4/2.4L    w/Start/Stop           600          H5 (47) AGM 33            1990      L6/4.0L                                       430          58
2019-17   L4/2.4L    w/o Start/Stop         600          H6 (48)                   1990      L6/4.0L    Opt                                500          58
2017      L4/2.4L    Start/Stop             500          H5 (47) AGM 33           Jeep Wrangler
2017      L4/2.4L    w/Start/Stop           500          H5 (47) AGM 33            2018      V6/3.6L                                       650          H6 (48) AGM 33, 50
2017-07   L4/2.0L                           525          86                        2018      V6/3.6L    Aux Battery                        200          —
2016-07   L4/2.4L                           525          86                        2017      V6/3.6L                                       600          H6 (48)
Jeep Grand Cherokee                                                                2016-14   V6/3.6L                                       600          H6 (48) AGM 33, 50
2017-16   V6/3.6L    Aux for Start/Stop     180          —                         2013-12   V6/3.6L                                       600          H6 (48)
2017      V6/3.0L    Aux for Start/Stop     180          —                         2011-07   V6/3.8L                                       600          34
2017      V8/5.7L                           800          H8 (49) AGM 33, 50        2006-03   L4/2.4L
                                                                                                  Incl TJ                                  600          34
2017-15   V6/3.0L    Dsl                    800          H8 (49) AGM 33, 50        2006-02   L6/4.0L                                       600          34
2017-14   V6/3.6L                           800          H8 (49) AGM 33, 50        2006-02   L6/4.0L
                                                                                                  Incl TJ                                  600          34
2016-14   V8/5.7L                           730          H7 (94R) AGM  33, 50      2005-03   L4/2.4L                                       600          34
2016-14   V8/6.4L                           730          H7 (94R) AGM 33, 50       2002      L4/2.5L                                       600          34
                                                                                   2002      L4/2.5L
                                                                                                  Incl TJ                                  600          34
2014-11   V8/5.7L                           700          H7 (94R) AGM 33, 50
                                                                                   2001-98   L6/4.0L                                       500          34
2013-12   V8/6.4L                           700          H7 (94R) AGM  33, 50
                                                                                   2001-97   L4/2.5L                                       500          34
2013-11   V6/3.6L                           700          H7 (94R) AGM 33, 50
                                                                                   2001-97   L4/2.5L
                                                                                                  Incl TJ                                  500          34
2010      V6/3.7L                           625          H7 (94R)
                                                                                   2001-97   L6/4.0L
                                                                                                  Incl TJ                                  500          34
2010      V8/5.7L                           625          H7 (94R)
                                                                                   2000-97   L4/2.5L
                                                                                                  Opt                                      600          34
2010      V8/6.1L                           625          H7 (94R)
                                                                                   2000-97   L6/4.0L
                                                                                                  Opt                                      600          34
2009      V8/6.1L                           730          H7 (94R)
                                                                                   1995-91   L6/4.0L                                       430          58
2009      V6/3.7L                           730          H7 (94R)
                                                                                   1995-91   L6/4.0L
                                                                                                  Opt                                      500          58
2009      V8/4.7L                           730          H7 (94R)
                                                                                   1995-90   L4/2.5L                                       430          58
2009      V8/5.7L                           730          H7 (94R)
                                                                                   1995-90   L4/2.5L
                                                                                                  Opt                                      500          58
2009      V8/4.7L                           730          H7 (94R) 57
                                                                                   1990      L4/2.5L
                                                                                                  YJ                                       420          —
2009-08   V6/3.0L    Dsl                    800          —
                                                                                   1990      L4/2.5L
                                                                                                  YJ & Opt                                 450          —
2008      V6/3.7L    Early                  730          H7 (94R)
                                                                                   1990      L4/2.5L
                                                                                                  YJ HD                                    500          —
2008      V6/3.7L    Late                   625          H7 (94R)
                                                                                   1990      L6/4.2L                                       430          58
2008      V8/4.7L    Early                  730          H7 (94R)
                                                                                   1990      L6/4.2L
                                                                                                  Opt                                      500          58
2008      V8/4.7L    Early                  730          H7 (94R) 57
                                                                                   1990      L6/4.2L
                                                                                                  YJ                                       420          —
2008      V8/4.7L    Late                   625          H7 (94R)
                                                                                   1990      L6/4.2L
                                                                                                  YJ & Opt                                 450          —
2008      V8/4.7L    Late                   625          H7 (94R) 57
                                                                                   1990      L6/4.2L
                                                                                                  YJ HD                                    500          —
2008      V8/5.7L    Early                  730          H7 (94R)
2008      V8/5.7L    Late                   625          H7 (94R)                 Jeep Wrangler JK
2008      V8/6.1L    Early                  730          H7 (94R)                 2018    V6/3.6L                                          600          H6 (48)
2008      V8/6.1L    Late                   625          H7 (94R)                 Kia Amanti
2007      V6/3.0L    Dsl                    730          H7 (94R)                 2009-07 V6/3.8L                                          600        124R
2007-06   V8/6.1L                           730          H7 (94R)                 2006-05 V6/3.5L                                          600        124R
2007-05   V6/3.7L                           730          H7 (94R)           MOYER_DEPO
                                                                                  2004     000357
                                                                                          V6/3.5L                                          600        —
                                                                                                                      See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                   49
                                                           ORIGINAL              GROUP SIZE                                                 ORIGINAL                 GROUP SIZE
     YEAR       ENGINE                OPTIONS             EQUIPMENT               (NOTES)         YEAR      ENGINE               OPTIONS   EQUIPMENT                  (NOTES)
                                                          CCA/RATING                                                                       CCA/RATING
   Kia Borrego                                                                                 Kia Sedona (continued)
   2011-09 V6/3.8L                                        600          124R                     2012-11   V6/3.5L                          660          124R
   2011-09 V8/4.6L                                        900          —                        2010-06   V6/3.8L                          600          124R
   Kia Cadenza                                                                                  2005-03   V6/3.5L                          500          24F
   2019-17 V6/3.3L                                        800          H7 (94R) AGM 33          2002      V6/3.5L                          600          24F
   2016-14 V6/3.3L                                        660          124R                    Kia Sephia
   Kia Forte                                                                                    2001-95 L4/1.8L                            450          90 (T5) 45
   2017      L4/2.0L     Ex LX                            640          H6 (48)                  1997-94 L4/1.6L                            450          —
   2017      L4/2.0L     LX                               N/A          H5 (47) AGM 33          Kia Sorento
   2016-14   L4/1.8L                                      550          —                        2019-16   L4/2.4L                          800          H7 (94R) AGM 33
   2016-14   L4/2.0L                                      550          —                        2019-16   V6/3.3L                          800          H7 (94R) AGM 33
   2016-14   L4/2.0L                                      640          H6 (48)                  2018-16   L4/2.0L                          800          H7 (94R) AGM 33
   2014      L4/2.0L                                      660          H6 (48)                  2016      L4/2.0L    AGM                   800          H7 (94R) AGM 33
   2013-10   L4/2.0L                                      550          121R                     2016      L4/2.4L    AGM                   800          H7 (94R) AGM 33
   2013-10   L4/2.4L                                      550          121R                     2016      V6/3.3L    AGM                   800          H7 (94R) AGM 33
   Kia Forte 5                                                                                  2015-14   V6/3.3L                          660          124R
   2017      L4/1.6L     Ex LX                            550          —                        2015      L4/2.4L                          660          124R
   2017      L4/1.6L     LX                               N/A          H5 (47) AGM 33           2014      L4/2.4L                          600          124R
   2017      L4/2.0L     Ex LX                            640          H6 (48)                  2013-11   L4/2.4L                          700          124R
   2017      L4/2.0L     LX                               N/A          H5 (47) AGM 33           2013-11   V6/3.5L                          700          124R
   2016-14   L4/1.6L                                      550          —                        2009-08   V6/3.3L                          600          —
   2016-14   L4/2.0L                                      640          H6 (48)                  2009-07   V6/3.8L                          600          —
   2013-12   L4/2.0L                                      550          121R                     2006-03   V6/3.5L                          600          —
   2013-12   L4/2.4L                                      550          121R                    Kia Soul
   Kia Forte Koup                                                                               2019-18   L4/1.6L    AT                    600          H5 (47) AGM 33
   2017-14   L4/1.6L                                      600          —                        2019-16   L4/2.0L                          760          H6 (48) AGM 33
   2016-14   L4/2.0L                                      640          H6 (48)                  2017      L4/1.6L    w/ISG or Turbo        760          H6 (48) AGM 33
   2015-14   L4/1.6L                                      550          121R                     2017      L4/1.6L    w/o ISG and Turbo     550          121R
   2015-10   L4/2.0L                                      550          121R                     2016-13   L4/1.6L    w/ISG                 760          H6 (48) AGM 33
   2013-10   L4/2.4L                                      550          121R                     2016-13   L4/1.6L    w/o ISG               550          121R
                                                                                                2016-13   L4/2.0L    w/ISG                 760          H6 (48) AGM 33
   Kia K900
                                                                                                2016      L4/1.6L    w/o ISG               600          121R
   2019    V6/3.3L                                        950          H9 (95R) AGM 33
                                                                                                2016      L4/2.0L    w/o ISG               600          121R
   2017-15 V6/3.8L                                        950          H9 (95R) AGM 33
                                                                                                2015-10   L4/2.0L    w/o ISG               550          121R
   2017-15 V8/5.0L                                        950          H9 (95R) AGM 33
                                                                                                2012-10   L4/1.6L                          550          121R
   Kia Magentis                                                                                 2012-10   L4/1.6L    w/o ISG               410          121R
   2010-02 V6/2.7L                                        600          124R                    Kia Soul EV
   2010-01 L4/2.4L                                        600          124R
                                                                                                2019-18              Electric              600          121R
   2001    V6/2.5L                                        600          124R
                                                                                                2017-15              Electric              600          121R
   Kia Optima                                                                                  Kia Spectra
   2019      L4/1.6L                                      760          H6 (48) AGM 33
                                                                                                2009-04 L4/2.0L                            540          121R 6
   2019      L4/2.4L                                      760          H6 (48) AGM 33
                                                                                                2004    L4/1.8L                            540          121R 6
   2019-16   L4/2.0L                                      760          H6 (48) AGM 33
                                                                                                2003-00 L4/1.8L                            450          90 (T5) 6
   2018-17   L4/2.0L     Hybrid                           760          H6 (48) AGM 33
   2018-16   L4/1.6L                                      800          H7 (94R) AGM 33         Kia Spectra 5
   2018-16   L4/2.4L                                      800          H7 (94R) AGM 33          2009-05 L4/2.0L                            540          121R 6
   2015-14   L4/2.4L     Gas                              760          H6 (48) AGM 33          Kia Sportage
   2015-11   L4/2.0L                                      600          124R                     2019-17   L4/2.0L                          640          H6 (48)
   2015-11   L4/2.4L     Hybrid                           600          —                        2019-17   L4/2.4L                          640          H6 (48)
   2013-04   L4/2.4L     Ex Hybrid                        600          124R                     2016-11   L4/2.4L                          600          124R
   2010-02   V6/2.7L                                      600          124R                     2016-05   L4/2.0L                          600          124R
   2003-01   L4/2.4L                                      600          —                        2010-05   V6/2.7L                          600          124R
   2001      V6/2.5L                                      600          —                        2002      L4/2.0L    From VIN 5593488      540          86
   Kia Rio                                                                                      2001-00   L4/2.0L    From VIN 5593488      540          86 7
   2019-18   L4/1.6L                                      600          H5 (47) AGM 33           2000      L4/2.0L    To 5/16/2000          470          58 7
   2017-14   L4/1.6L     w/o ISG                          550          121R                     1999      L4/2.0L                          470          58 7
   2017-13   L4/1.6L     w/ISG                            760          H6 (48) AGM 33           1999      L4/2.0L    From VIN 5593488      540          86
   2016      L4/1.6L     w/o ISG                          600          121R                     1998-95   L4/2.0L    To VIN 5593487        470          58 6
   2013-12   L4/1.6L                                      550          121R                    Kia Stinger
   2011-03   L4/1.6L                                      500          35                       2019-18 L4/2.0L                            800          H7 (94R) AGM 33
   2002-01   L4/1.5L                                      500          35                       2019-18 V6/3.3L                            850          H8 (49) AGM 33
   Kia Rio 5                                                                                   Lamborghini Aventador
   2011-06 L4/1.6L                                        500          35                       2012      V12/6.5L                         800          —
   Kia Rondo                                                                                   Lamborghini Diablo
   2017-14 L4/2.0L                                        600          124R                     2001-00 V12/6.0L                           700          —
   2012-07 L4/2.4L                                        600          124R                     2000-91 V12/5.7L                           700          —
   2012-07 V6/2.7L                                        600          124R                     1990    V12/5.7L                           700          —
   Kia Sedona                                                                                  Lamborghini Gallardo
   2019-15 V6/3.3L       non R-MDPS                       660          124R                    2012-09 V10/5.2L                            800          —
   2019-15 V6/3.3L       R-MDPS                           850          H8 (49) AGM 33          2009-08 V10/5.0L                            800          —
   2014    V6/3.5L                                        660           MOYER_DEPO
                                                                       124R                   000358
                                                                                               2007-04 V10/5.0L                            700          —
   See page 80 for Footnotes. Selection may vary by warehouse.
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Lamborghini                                               Document 117-5 Entered on FLSD Docket 02/20/2023 Page 409 of
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50                                                                                        Automotive/Light Truck
                                                    ORIGINAL              GROUP SIZE                                                                ORIGINAL              GROUP SIZE
  YEAR      ENGINE                 OPTIONS         EQUIPMENT               (NOTES)           YEAR      ENGINE                  OPTIONS             EQUIPMENT               (NOTES)
                                                   CCA/RATING                                                                                      CCA/RATING
Lamborghini Murcielago                                                                     Land Rover Range Rover (continued)
2010-08 V12/6.5L                                   800          —                          2002-99   V8/4.6L                                900                 —
2007-06 V12/6.5L                                   700          —                          2002-99   V8/4.6L    Bosch IGN from VIN XA410482 600                 31A 9
2007-01 V12/6.2L                                   700          —                          2000-99   V8/4.0L                                900                 —
Land Rover Defender 110                                                                    2000-99   V8/4.0L    Bosch IGN from VIN XA410482 600                 31A 9
1993      V8/3.9L                                  600          24                         1999-95   V8/4.0L    GEM-IGN to XA410481         600                 —
1993      V8/3.9L                                  600          —                          1998-96   V8/4.6L                                660                 31A
Land Rover Defender 90                                                                     1998-95   V8/4.0L                                825                 —
1997      V8/4.0L                                  600          24 9                       1995-94   V8/4.2L    Classic I                   600                 34 9
1997      V8/4.0L                                  600          —                          1995      V8/3.9L                                825                 —
1995-94   V8/3.9L                                  600          24 9                       1995      V8/4.2L                                600                 24 9
1995-94   V8/3.9L                                  600          —                          1994-93   V8/4.2L    Can                         900                 —
                                                                                           1994-93   V8/4.2L    US                          600                 24 9
Land Rover Discovery
                                                                                           1994-90   V8/3.9L    Can                         900                 —
2004-03 V8/4.6L      Series II, Use with adapter   700          —
                                                                                           1994-90   V8/3.9L    Classic                     600                 34 9
                     No. 358310
                                                                                           1994-89   V8/3.9L    US                          600                 24 9
2003      V8/4.6L                                  590          24 9
2002-99   V8/4.0L                                  600          24 9                       Land Rover Range Rover Evoque
1998-96   V8/4.0L    LJ Ser 1, Use L/R adapter     600          34 9                       2017-14   L4/2.0L    Aux Battery                        200          —
1995-94   V8/3.9L                                  600          34                         2017      L4/2.0L                                       800          H7 (94R) AGM 33, 50, 54
Land Rover Discovery Sport                                                                 2016      L4/2.0L                                       800          H7 (94R) AGM 33
2016-15 L4/2.0L                                    850          H7 (94R) AGM 33, 50, 54    2015      L4/2.0L                                       800          H7 (94R) AGM 33, 50, 54
2016-15 L4/2.0L      Aux Battery                   N/A          —                          2014-12   L4/2.0L                                       80 Ah        H7 (94R)
Land Rover Freelander                                                                      Land Rover Range Rover Sport
2005-04 V6/2.5L                                    480          H5 (47)                    2017-16   V6/3.0L    Dsl                                760          H8 (49) AGM 33, 50, 54
2005-02 V6/2.5L                                    680          H6 (48)                    2017-16   V6/3.0L    Dsl, Aux for Start/Stop            200          —
2003-02 V6/2.5L                                    690          —                          2017-16   V6/3.0L    DSL, Ex Cold Climate               850          H8 (49) AGM 33, 50, 54
                                                                                           2017-14   V6/3.0L                                       850          H8 (49) AGM 33, 50, 54
Land Rover LR2
                                                                                           2017-14   V6/3.0L    Aux for Start/Stop                 200          —
2015-13 L4/2.0L                                    720          H7 (94R)
                                                                                           2017-14   V8/5.0L                                       850          H8 (49) AGM 33, 50, 54
2012-08 L6/3.2L                                    720          H7 (94R)
                                                                                           2017-14   V8/5.0L    Aux for Start/Stop                 200          —
Land Rover LR3                                                                             2016-15   V6/3.0L                                       900          H8 (49) AGM 33
2009-07   V6/4.0L                                  700          H7 (94R)                   2016-15   V8/5.0L                                       900          H8 (49) AGM 33
2009-05   V6/4.0L                                  720          H8 (49)                    2016      V6/3.0L    Dsl                                900          H8 (49) AGM 33
2009-05   V8/4.4L                                  720          H8 (49)                    2016      V8/5.0L                                       N/A          H8 (49) AGM 33
2009-05   V8/4.4L                                  700          H7 (94R)                   2015-10   V8/5.0L                                       720          H7 (94R)
Land Rover LR4                                                                             2015      V6/3.0L                                       720          H7 (94R)
2016-14 V6/3.0L                                    720          H7 (94R)                   2014      V6/3.0L    Primary Battery                    900          H8 (49) AGM 33
2013-10 V8/5.0L                                    720          H7 (94R)                   2014      V8/5.0L    Primary Battery                    900          H8 (49) AGM 33
Land Rover Range Rover                                                                     2013-10   V8/5.0L                                       700          H7 (94R)
2017-16   V6/3.0L    Dsl                           760          H8 (49) AGM 33             2009-06   V8/4.2L                                       720          H8 (49)
2017-16   V6/3.0L    Dsl, Cold Climate             850          H8 (49) AGM 33, 50, 54     2009-06   V8/4.2L                                       700          H7 (94R)
2017-16   V6/3.0L    Dsl, Aux for Start/Stop       200          —                          2009-06   V8/4.4L                                       720          H8 (49)
2017-14   V6/3.0L                                  850          H8 (49) AGM 33, 50, 54     2009-06   V8/4.4L                                       700          H7 (94R)
2017-14   V6/3.0L    Aux for Start/Stop            200          —                        Lexus CT200h
2017-13   V8/5.0L                                  850          H8 (49) AGM 33, 50, 54   2017-11 L4/1.8L  Hybrid                                   325          —
2017-13   V8/5.0L    Aux for Start/Stop            200          —
                                                                                         Lexus    ES250
2016-15   V8/5.0L                                  900          H8 (49) AGM 33
                                                                                         1991-90 V6/2.5L                                           360          35
2016-14   V6/3.0L                                  900          H8 (49) AGM 33
2015      V6/3.0L                                  720          H8 (49)                  Lexus ES300
2015      V8/5.0L                                  720          H8 (49)                  2003-92 V6/3.0L                                           360          35
2014-13   V8/5.0L    Primary Battery               900          H8 (49) AGM 33           2003-92 V6/3.0L Opt                                       585          24F
2012-11   V8/5.0L    Can only                      850          H8 (49) AGM 33           Lexus ES300h
2012-10   V8/5.0L                                  720          H8 (49)                  2018-13 L4/2.5L  Hybrid                                   450          —
2012-10   V8/5.0L    Aux Battery                   500          —                        2016    L4/2.5L                                           325          —
2012      V8/5.0L                                  850          H8 (49) AGM 33, 54
                                                                                         2015    L4/2.5L  Hybrid                                   450          —
2012      V8/5.0L    US (from VIN CA361272)        850          H8 (49) AGM 33           2014-13 L4/2.5L  Hybrid                                   325          —
2011      V8/5.0L    Optional up to VIN BA346442   900          H8 (49) AGM 33

2011      V8/5.0L    Up to VIN BA346442            720          H8 (49)
                                                                                         Lexus ES330
2011      V8/5.0L    VIN BA346443 to BA349790      900          H8 (49) AGM 33           2006-04 V6/3.3L                                           585          24F
2011      V8/5.0L    VIN BA349791 up               850          H8 (49) AGM 33, 54       Lexus ES350
2010      V8/5.0L    Opt on VIN AA309295 up        900          —                        2018-07 V6/3.5L                                           585          24F
2009-07   V8/4.2L                                  800          —                        2016    V6/3.5L                                           580          24F
2009-07   V8/4.4L                                  800          —                        Lexus GS F
2009-06   V8/4.2L    Aux Battery                   500          —                        2019    V8/5.0L                                           70 Ah        24
2009-06   V8/4.2L    Can only                      720          H8 (49)                  2018-16 V8/5.0L                                           585          24
2009-06   V8/4.2L    US (to VIN CA361271)          720          H8 (49)                  2016    V8/5.0L                                           580          24
2009-06   V8/4.4L    Can only                      720          H8 (49)
2009-06   V8/4.4L    US (to VIN CA361271)          720          H8 (49)
                                                                                         Lexus    GS Turbo
2009-03   V8/4.4L    Aux Battery                   500          —                        2017    L4/2.0L                                           585          24
2006-03   V8/4.4L                                  850          —                        Lexus GS200t
2006      V8/4.2L                                  850          —                        2016    L4/2.0L                                           580          24
2005-03   V8/4.4L                                  800          —                  MOYER_DEPO
                                                                                         2016      000359
                                                                                                 L4/2.0L                                           585          24
                                                                                                                              See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                          51
                                                           ORIGINAL            GROUP SIZE                                             ORIGINAL              GROUP SIZE
     YEAR       ENGINE                  OPTIONS           EQUIPMENT             (NOTES)        YEAR      ENGINE            OPTIONS   EQUIPMENT               (NOTES)
                                                          CCA/RATING                                                                 CCA/RATING
   Lexus GS300                                                                               Lexus LX450
   2019-18   L4/2.0L                                      70 Ah        24                    1997-96 L6/4.5L                         625          27F
   2006      V6/3.0L                                      585          24                    Lexus LX470
   2005-98   L6/3.0L                                      585          24
                                                                                             2007-03 V8/4.7L                         710          27F
   1997-93   L6/3.0L                                      585          24F
                                                                                             2002    V8/4.7L                         585          27F
   Lexus GS350                                                                               2001-98 V8/4.7L                         650          27F
   2019-18   V6/3.5L                                      70 Ah        24
   2017-13   V6/3.5L                                      585          24                    Lexus LX570
   2016-15   V6/3.5L                                      580          24                    2019-13 V8/5.7L                         710          27F
   2011-07   V6/3.5L                                      585          24                    2011-08 V8/5.7L                         710          27F
   Lexus GS400                                                                               Lexus NX200t
   2000-98 V8/4.0L                                        585          24                    2017-15 L4/2.0L                         580          24F
   Lexus GS430                                                                               Lexus NX300
   2007-01 V8/4.3L                                        585          24                    2019-18 L4/2.0L                         580          24F
   Lexus GS450h                                                                              Lexus NX300h
   2017-16   V6/3.5L     Hybrid                           360          —                     2019-18 L4/2.5L      Hybrid             60 Ah        H5 (47) 50
   2016      V6/3.5L                                      360          —                     2017-15 L4/2.5L      Hybrid             460          H5 (47)
   2015-13   V6/3.5L     Hybrid                           360          —
   2011-07   V6/3.5L     Hybrid                           360          —
                                                                                             Lexus RC F
                                                                                             2019-18 V8/5.0L                         70 Ah        —
   Lexus GS460
                                                                                             2017-15 V8/5.0L                         595          —
   2011-08 V8/4.6L                                        585          24
   Lexus GX460                                                                               Lexus RC Turbo
                                                                                             2017      L4/2.0L                       585          24
   2019-10 V8/4.6L                                        585          24F
   Lexus GX470                                                                               Lexus RC200t
   2009-03 V8/4.7L                                        710          27F                   2016      L4/2.0L                       580          24
                                                                                             2016      L4/2.0L                       585          24
   Lexus HS250h
   2012    L4/2.4L       Hybrid                           360          —
                                                                                             Lexus RC300
   2011-10 L4/2.4L       Hybrid                           360          —                     2019-18 L4/2.0L                         585          24
                                                                                             2019-16 V6/3.5L                         585          24
   Lexus IS F
                                                                                             2016    V6/3.5L                         580          24
   2014-08 V8/5.0L                                        585          24
   Lexus IS Turbo                                                                            Lexus RC350
                                                                                             2019-15 V6/3.5L                         585          24
   2017      L4/2.0L                                      585          24
   Lexus IS200t                                                                              Lexus RX300
   2016      L4/2.0L                                      580          24                    2003-99 V6/3.0L                         585          24F
   2016      L4/2.0L                                      585          24                    Lexus RX330
   Lexus IS250                                                                               2006-04 V6/3.3L                         585          24F
   2015-06 V6/2.5L                                        585          24                    Lexus RX350
   Lexus IS300                                                                               2019-16 V6/3.5L                         585          24F
   2019-18   L4/2.0L                                      585          24                    2015    V6/3.5L                         585          24F 55
   2019-16   V6/3.5L                                      585          24                    2014-07 V6/3.5L                         585          24F
   2016      V6/3.5L                                      580          24                    Lexus RX350L
   2005-01   L6/3.0L                                      585          24                    2019-18 V6/3.5L                         585          24F
   Lexus IS350                                                                               Lexus RX400h
   2019-06 V6/3.5L                                        585          24                    2008-06 V6/3.3L      Hybrid             435          51R
   Lexus LC500                                                                               Lexus RX450h
   2019-18 V8/5.0L                                        70 Ah        H6 (48) 50            2017-16   V6/3.5L    Hybrid             460          H5 (47)
   2019-18 V8/5.0L       Cold Climate                     80 Ah        H7 (94R) 50           2016      V6/3.5L    Hybrid             355          H5 (47)
   Lexus LC500h                                                                              2015      V6/3.5L    Hybrid             360          —
   2019-18 V6/3.5L       Hybrid                           80 Ah        —                     2014-11   V6/3.5L    Hybrid             356          —
   Lexus LFA                                                                                 2014-11   V6/3.5L    Hybrid             360          —
   2012      V10/4.8L                                     450          —                     2010      V6/3.5L    Hybrid             360          —
   Lexus LS400                                                                               Lexus SC300
   2000-95 V8/4.0L                                        585          24F                   2000-97 L6/3.0L                         585          24F
   1994-90 V8/4.0L                                        580          27F                   1996-92 L6/3.0L                         450          27F
   Lexus LS430                                                                               Lexus SC400
   2006-01 V8/4.3L                                        585          24F                   2000-93 V8/4.0L                         625          27F
   Lexus LS460                                                                               1992    V8/4.0L                         450          27F
   2017-15   V8/4.6L     w/o PTC Heater                   585          24                    1992    V8/4.0L      Opt                625          27F
   2017-13   V8/4.6L     w/PTC Heater                     660          27                    Lexus SC430
   2016      V8/4.6L     Cold Climate Pkg                 680          27                    2010-03 V8/4.3L                         585          H6 (48)
   2015      V8/4.6L     w/o PTC Heater                   580          24                    2002    V8/4.3L                         625          H6 (48)
   2014-07   V8/4.6L                                      585          24
                                                                                             Lexus UX200
   2014-07   V8/4.6L     Cold Weather Pkg                 710          27
                                                                                             2019      L4/2.0L                       70 Ah        H6 (48)
   Lexus LS600h
   2016      V8/5.0L                                      450          —
                                                                                             Lincoln Aviator
   2016      V8/5.0L     Hybrid                           450          —                     2005-03 V8/4.6L                         650          65
   2015      V8/5.0L     Hybrid                           450          —                     Lincoln Blackwood
   2014-08   V8/5.0L     Hybrid                           450          —MOYER_DEPO          000360
                                                                                             2002 V8/5.4L                            650          65
   See page 80 for Footnotes. Selection may vary by warehouse.
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52                                                                            Automotive/Light Truck
                                             ORIGINAL            GROUP SIZE                                                              ORIGINAL              GROUP SIZE
  YEAR      ENGINE                OPTIONS   EQUIPMENT             (NOTES)           YEAR      ENGINE                OPTIONS             EQUIPMENT               (NOTES)
                                            CCA/RATING                                                                                  CCA/RATING
Lincoln Continental                                                               Lincoln MKZ (continued)
2019      V6/2.7L                           800          H7 (94R) AGM 33          2012-11 L4/2.5L      Hybrid                           390          —
2019      V6/3.0L                           800          H7 (94R) AGM 33          2012-10 V6/3.5L                                       500          96R
2019      V6/3.7L    Livery                 800          H7 (94R) AGM 33          2009-07 V6/3.5L                                       590          96R
2019      V6/3.7L    Non Livery             760          H6 (48) AGM 33           Lincoln Nautilus
2018-17   V6/2.7L                           730          H7 (94R)                 2019      L4/2.0L                                     800          H7 (94R) AGM 33
2018-17   V6/3.0L                           730          H7 (94R)                 2019      V6/2.7L                                     800          H7 (94R) AGM 33
2018-17   V6/3.7L    Livery                 730          H7 (94R)
2018-17   V6/3.7L    Non Livery             610          H6 (48)                  Lincoln Navigator
2002-97   V8/4.6L                           750          65                       2019-18   V6/3.5L                                     850          H8 (49) AGM 33
1996-95   V8/4.6L                           850          65                       2017-15   V6/3.5L                                     750          65
1994-90   V6/3.8L                           650          65                       2014-08   V8/5.4L    HD or Heated Seats               750          65
1994      V6/3.8L    Opt                    850          65                       2014-98   V8/5.4L    w/o Heated Seats                 650          65
1993-90   V6/3.8L    w/HWS                  850          65                       2014      V8/5.4L                                     750          65
Lincoln LS                                                                        2013-11   V8/5.4L    Climate seats                    750          65
                                                                                  2008-07   V8/5.4L    Climate seats                    750          65
2006-00   V8/3.9L                           650          —
                                                                                  2006-98   V8/5.4L                                     650          65
2005-01   V6/3.0L    Opt                    750          —
2005-01   V8/3.9L    Opt                    750          —                        2006-98   V8/5.4L    Can & Opt                        750          65
2005-00   V6/3.0L                           650          —                        2006-98   V8/5.4L    Opt                              750          65
Lincoln Mark LT                                                                   Lincoln Town Car
2008-06   V8/5.4L                           540          59                       2011-06   V8/4.6L    HD & Long Wheel Base             750          65
2008-06   V8/5.4L    LT                     540          59                       2011-06   V8/4.6L    Short Wheel Base                 650          65
2008-06   V8/5.4L    LT, HD                 650          65                       2005-99   V8/4.6L    Limo, HD                         750          65
2008-06   V8/5.4L    Opt                    650          65                       2005-97   V8/4.6L    Ex Limo                          650          65
                                                                                  1998-97   V8/4.6L    Limo, HD                         850          65
Lincoln Mark VII
                                                                                  1996-95   V8/4.6L    Ex HWS or Limo                   650          65
1992-90 V8/5.0L                             850          65
                                                                                  1996-95   V8/4.6L    HWS or HD, Limo                  850          65
Lincoln Mark VIII                                                                 1994-91   V8/4.6L    Ex HWS                           650          65
1998-97 V8/4.6L      Opt                    750          65                       1994-91   V8/4.6L    w/HWS                            850          65
1998-93 V8/4.6L      US                     650          65                       1990      V8/5.0L    Ex HWS                           650          65
1996-93 V8/4.6L      HD or Can              850          65                       1990      V8/5.0L    w/HWS                            850          65
Lincoln MKC                                                                       Lincoln Zephyr
2019-17   L4/2.0L    w/o Start/Stop         610          H6 (48)                  2006      V6/3.0L                                     590          40R
2019-17   L4/2.0L    w/Start/Stop           760          H6 (48) AGM 33
2018-15   L4/2.3L                           610          H6 (48)
                                                                                  Lotus Elise
2016-15   L4/2.0L                           610          H6 (48)                  2009-08 L4/1.8L                                       520          H5 (47) 50
                                                                                  2007-05 L4/1.8L                                       550          26R
Lincoln MKS
2016-10 V6/3.5L                             650          65                       Lotus Exige
2016-09 V6/3.7L                             650          65                       2009-08 L4/1.8L                                       600          H6 (48) 50
                                                                                  2007-06 L4/1.8L                                       550          26R
Lincoln MKT
2019-13   V6/3.5L                           750          65                       Maserati Coupe
2019-13   V6/3.7L                           750          65                       2007-03 V8/4.2L      Coupe                            785          —
2016-15   V6/3.5L                           650          65                       Maserati Ghibli
2016-13   L4/2.0L                           650          65                       2019-14 V6/3.0L                                       95 Ah        H8 (49) AGM 33, 50, 54
2016-10   V6/3.7L                           650          65                       Maserati GranSport
2015      L4/2.0L                           750          65                       2007-05 V8/4.2L      Coupe                            785          —
2012-10   V6/3.5L                           650          65
2012-10   V6/3.5L    Opt                    750          65                       Maserati GranTurismo
2012-10   V6/3.7L    Opt                    750          65                       2019-14 V8/4.7L                                       95 Ah        H8 (49) AGM 33, 50, 54
                                                                                  2013-09 V8/4.7L                                       600          H6 (48) 50, 54
Lincoln MKX
                                                                                  2011-08 V8/4.2L                                       600          H6 (48) 50, 54
2018-17   V6/2.7L    w/o Start/Stop         730          H7 (94R)
2018-17   V6/2.7L    w/Start/Stop           800          H7 (94R) AGM 33          Maserati Levante
2018-17   V6/3.7L                           800          H7 (94R) AGM 33          2019-17 V6/3.0L                                       95 Ah        H8 (49) AGM 33, 50, 54
2016      V6/2.7L                           730          H7 (94R)                 2019    V8/3.8L                                       95 Ah        H8 (49) AGM 33, 50, 54
2016      V6/3.7L                           730          H7 (94R)                 Maserati Quattroporte
2015-11   V6/3.7L                           650          65                       2019-14   V6/3.0L                                     95 Ah        H8 (49) AGM 33, 50, 54
2010-07   V6/3.5L                           650          36R                      2019-14   V8/3.8L                                     95 Ah        H8 (49) AGM 33, 50, 54
Lincoln MKZ                                                                       2013-09   V8/4.7L                                     850          —
2019-17   L4/2.0L    Hybrid                 590          90 (T5) 50               2011-08   V8/4.2L                                     600          H6 (48) 50, 54
2019      L4/2.0L    Gas                    800          H7 (94R) AGM 33          2007-04   V8/4.2L                                     785          —
2019      V6/3.0L                           800          H7 (94R) AGM 33          Maserati Spyder
2018-17   L4/2.0L    Gas                    730          H7 (94R)                 2006-02 V8/4.2L                                       80 Ah        —
2018-17   L4/2.0L    Start/Stop             800          H7 (94R) AGM  33
                                                                                  Maybach 57
2018-17   V6/3.0L                           730          H7 (94R)
2017      L4/2.0L    US, Gas                730          H7 (94R)                 2012-06 V12/6.0L Opt                                  950          —
2016-13   L4/2.0L    Gas                    590          90 (T5)                  2012-03 V12/5.5L                                      850          H8 (49) AGM 33
2016-13   V6/3.7L                           590          90 (T5)                  2012-03 V12/5.5L Opt                                  950          —
2016      L4/2.0L                           590          90 (T5)                  Maybach       62
2016      L4/2.0L    Hybrid                 760          H6 (48) AGM 33, 50       2012-07 V12/6.0L                                      850        H8 (49) AGM 33
2015-13   L4/2.0L    Hybrid                 390          —                        2012-07 V12/6.0L Opt                                  950        —
2014-13   L4/2.0L    Ex Hybrid              500          96R                      2012-03 V12/5.5L                                      850        H8 (49) AGM 33
2013      L4/2.0L    Opt                    590          96R                MOYER_DEPO     000361
                                                                                  2012-03 V12/5.5L Opt                                  950        —
                                                                                                                   See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                              53
                                                           ORIGINAL          GROUP SIZE                                                    ORIGINAL             GROUP SIZE
     YEAR       ENGINE                 OPTIONS            EQUIPMENT           (NOTES)         YEAR      ENGINE                 OPTIONS    EQUIPMENT              (NOTES)
                                                          CCA/RATING                                                                      CCA/RATING
   Mazda 2                                                                                 Mazda 5
   2014    L4/1.5L       Can & Cold Climate               525          35                   2015-12   L4/2.5L    AT                       550          35
   2014-11 L4/1.5L                                        350          35                   2015-12   L4/2.5L    MT                       540          26R
   2013-11 L4/1.5L       Can or Cold Climate Pkg          525          35                   2012      L4/2.5L    Cold Climate Pkg         520          35
   Mazda 3                                                                                  2010      L4/2.3L    AT                       550          35
   2018-17   L4/2.0L     i-ELOOP                          520          —                    2010      L4/2.3L    MT                       540          26R
   2018-17   L4/2.5L     i-ELOOP                          520          —                    2009      L4/2.3L    AT                       355          35
   2018-15   L4/2.0L     Ex i-ELOOP                       520          35                   2009      L4/2.3L    MT                       310          26R
   2018-15   L4/2.5L     Ex i-ELOOP                       520          35                   2008-06   L4/2.3L                             550          35
   2016      L4/2.0L     i-ELOOP                          520          —                   Mazda 6
   2016      L4/2.5L     i-ELOOP                          520          —                    2018-14   L4/2.5L    Ex i-ELOOP               520          35
   2015-11   L4/2.0L     Can & Cold Climate               525          35                   2018      L4/2.5L    i-ELOOP                  520          —
   2015-11   L4/2.5L                                      350          35                   2017      L4/2.5L    i-ELOOP                  520          —
   2015-11   L4/2.5L     Can & Cold Climate               525          35                   2016-14   L4/2.5L    i-ELOOP                  520          —
   2015-05   L4/2.0L                                      350          35                   2013-09   L4/2.5L                             590          96R
   2015      L4/2.0L     SKYACTIV                         525          35                   2013-09   V6/3.7L                             590          96R
   2013-12   L4/2.0L     SKYACTIV                         525          35                   2008-03   L4/2.3L                             590          40R
   2013-11   L4/2.0L     Cold Climate Pkg or AT           525          35                   2008-03   V6/3.0L                             590          40R
   2013-11   L4/2.3L                                      525          35                   2007-06   L4/2.3L    Ex Mazdaspeed            585          40R
   2013-11   L4/2.5L     Cold Climate Pkg or AT           525          35                   2007-06   L4/2.3L    Mazdaspeed               550          35
   2010-08   L4/2.0L                                      306          26R                  2007      V6/3.0L                             585          40R
   2010-08   L4/2.0L     AT                               355          35                  Mazda 626
   2010-08   L4/2.0L     MT                               310          26R                  2002-98   L4/2.0L                             580          36R
   2010-08   L4/2.3L     MT                               310          26R                  2002-98   V6/2.5L                             580          36R
   2010      L4/2.5L                                      306          26R                  1997-93   L4/2.0L                             580          —
   2010      L4/2.5L     AT                               355          35                   1997-93   V6/2.5L                             580          —
   2010      L4/2.5L     MT                               310          26R                  1992-91   L4/2.2L    Cold Climate Pkg         350          35
   2009-08   L4/2.3L                                      306          26R
                                                                                            1992-90   L4/2.2L                             310          35
   2009-08   L4/2.3L     AT                               355          35
                                                                                            1990      L4/2.2L    Opt                      350          35
   2009-07   L4/2.3L     Mazdaspeed                       360          35
   2007      L4/2.0L                                      355          35
                                                                                           Mazda 929
   2007      L4/2.0L     AT                               550          35                   1995-92   V6/3.0L    US                       350          35
   2007      L4/2.0L     Cold Climate                     490          35                   1995-90   V6/3.0L    Can & Opt                585          24F
   2007      L4/2.0L     Cold Climate Pkg                 585          24F                  1993-92   V6/3.0L    Serenia, US              350          35
   2007      L4/2.3L                                      355          35                   1991-90   V6/3.0L                             310          35
   2007      L4/2.3L     AT                               550          35                   1991      V6/3.0L    US                       310          35
   2007      L4/2.3L     Cold Climate                     490          35                  Mazda B2200
   2007      L4/2.3L     Cold Climate Pkg                 585          24F                  1993-90 L4/2.2L                               310          25
   2006-04   L4/2.3L                                      550          35                   1990    L4/2.2L      Opt                      490          24
   2006      L4/2.0L                                      550          35                  Mazda B2300
   2005-04   L4/2.0L     Opt                              520          35                   2010-97 L4/2.3L                               540          59
   2004      L4/2.0L                                      310          35                   1997-94 L4/2.3L      Opt                      540          65
   Mazda 3 Sport                                                                            1996-94 L4/2.3L                               540          58
   2018-15   L4/2.0L     Ex i-ELOOP                       520          35                  Mazda B2500
   2018-15   L4/2.0L     i-ELOOP                          520          —
                                                                                            2001-98 L4/2.5L                               540          59
   2018-15   L4/2.5L     Ex i-ELOOP                       520          35
   2018-15   L4/2.5L     i-ELOOP                          520          —                   Mazda B2600
   2014-11   L4/2.0L                                      350          35                   1993-91   L4/2.6L    Can & Opt                585          24
   2014-11   L4/2.5L                                      350          35                   1993-90   L4/2.6L    US                       310          25
   2014      L4/2.0L     Can & Cold Climate               525          35                   1990      L4/2.6L                             310          25
   2014      L4/2.5L     Can & Cold Climate               525          35                   1990      L4/2.6L    Opt                      585          24
   2013-12   L4/2.0L     Cold Climate Pkg                 525          35                  Mazda B3000
   2013-12   L4/2.5L     Cold Climate Pkg                 525          35                   2008-98 V6/3.0L                               540          59
   2011      L4/2.0L     Can & Cold Climate               525          35                   1997-94 V6/3.0L                               540          58
   2011      L4/2.5L     Can & Cold Climate               525          35
                                                                                           Mazda B4000
   2010-09   L4/2.0L     AT                               355          35
                                                                                            2010-98 V6/4.0L                               540          59
   2010-09   L4/2.0L     MT                               310          26R
                                                                                            1997-94 V6/4.0L                               650          65
   2010      L4/2.5L     AT                               355          35
   2010      L4/2.5L     MT                               310          26R                 Mazda CX-3
   Mazda 323                                                                                2019-16 L4/2.0L                               520          35
                                                                                            2016    L4/2.0L      Ex i-ELOOP               520          35
   1995-91   L4/1.6L                                      350          35
   1994-93   L4/1.8L                                      310          35                  Mazda CX-5
   1994-93   L4/1.8L     Opt                              350          35                  2016-15 L4/2.5L       Cold Weather Pkg         520          35 45
   1991-90   L4/1.8L     Ex Calif                         350          35                  2016-13 L4/2.0L       Cold Weather Pkg         520          35 45
   1991      L4/1.6L     Opt                              310          35                  2016    L4/2.0L                                306          26R 45
   1991      L4/1.8L     Calif or HD                      310          35                  2016    L4/2.0L                                N/A          35 45
   1990      L4/1.6L                                      310          35                  2016    L4/2.5L                                306          26R 45
   1990      L4/1.6L     Opt                              360          35                  2016    L4/2.5L                                N/A          35 45
   1990      L4/1.8L     Calif                            310          35                  2014    L4/2.0L       Cold Weather Pkg or HD   520          35 45
   1990      L4/1.8L     Opt                              360          35MOYER_DEPO       000362
                                                                                           2014    L4/2.5L       Cold Weather Pkg or HD   520          35 45
   See page 80 for Footnotes. Selection may vary by warehouse.
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54                                                                         Automotive/Light Truck
                                            ORIGINAL          GROUP SIZE                                                              ORIGINAL              GROUP SIZE
  YEAR      ENGINE               OPTIONS   EQUIPMENT           (NOTES)         YEAR      ENGINE                  OPTIONS             EQUIPMENT               (NOTES)
                                           CCA/RATING                                                                                CCA/RATING
Mazda CX-7                                                                   Mazda Protegé (continued)
2012-11   L4/2.3L    Can & Opt             585          24F                  1991-90   L4/1.8L    Ex Calif                           350          35
2012-10   L4/2.3L    US                    525          35                   1991      L4/1.8L    Calif or HD                        310          35
2012-10   L4/2.5L                          550          35                   1990      L4/1.8L    Calif                              310          35
2010      L4/2.3L                          550          35                   1990      L4/1.8L    Opt                                360          35
2010      L4/2.3L    Can                   585          24F                  Mazda Protegé5
2009-07   L4/2.3L                          360          35                   2003-02 L4/2.0L                                         310          35
Mazda CX-9                                                                   2003-02 L4/2.0L      Opt                                520          35
2019-16 L4/2.5L                            520          35                   Mazda RX-7
2015-08 V6/3.7L                            585          24F                  1995-94   R2/1.3L    Can, w/AT                          490          24F
2007    V6/3.5L                            585          24F
                                                                             1995-94   R2/1.3L    MT                                 420          35
Mazda Miata                                                                  1993      R2/1.3L                                       350          35
2005-94 L4/1.8L                            320          —                    1993      R2/1.3L    Opt                                495          24F
1993-90 L4/1.6L                            320          —                    1991-90   R2/1.3L    Can & Opt                          405          35
Mazda Millenia                                                               1991      R2/1.3L    US                                 350          35
2002-01   V6/2.3L                          520          35                   1990      R2/1.3L    US                                 320          35
2002-01   V6/2.5L    Opt                   490          24F                  Mazda RX-8
2002-95   V6/2.3L    Opt                   585          24F                  2011      R2/1.3L                                       525          35
2002      V6/2.5L                          520          35                   2011      R2/1.3L    Opt                                585          24F
2001      V6/2.5L                          360          35                   2010      R2/1.3L                                       550          35
2000-95   V6/2.3L                          490          35                   2009-04   R2/1.3L                                       640          35 9
2000-95   V6/2.5L                          350          35
2000-95   V6/2.5L    Opt                   490          35
                                                                             Mazda Tribute
                                                                             2011      L4/2.5L                                       590          96R
Mazda MPV                                                                    2011      V6/3.0L                                       590          96R
2006-02   V6/3.0L                          360          35                   2010-09   L4/2.5L                                       590          40R
2006-02   V6/3.0L    Opt                   490          24F                  2010-09   L4/2.5L    Hybrid                             500          96R
2001-00   V6/2.5L                          360          35                   2010      L4/2.5L    Gas                                650          —
2001-00   V6/2.5L    Opt                   490          24F                  2010      V6/3.0L                                       650          —
1998-96   V6/3.0L    Can & Opt             490          24F
                                                                             2009-01   V6/3.0L                                       590          40R
1998-96   V6/3.0L    US                    350          35
                                                                             2008      L4/2.3L                                       590          40R
1995-93   V6/3.0L    4WD                   490          24F
                                                                             2008      L4/2.3L    Hybrid                             500          96R
1995-93   V6/3.0L    Opt                   585          24F
                                                                             2006-05   L4/2.3L                                       590          40R
1995-93   V6/3.0L    RWD                   310          35
                                                                             2004-01   L4/2.0L                                       500          96R
1994-93   L4/2.6L    4WD                   490          24F
1994-93   L4/2.6L    Opt                   585          24F                  Mercedes-Benz 190E
1994-93   L4/2.6L    RWD                   310          35                   1993-91 L4/2.3L                                         550          H6 (48)
1993      V6/3.0L    2WD                   310          35                   1993-90 L6/2.6L                                         550          H6 (48)
1992-90   L4/2.6L    Can & Opt             585          24F                  Mercedes-Benz 300CE
1992-90   L4/2.6L    US                    310          35                   1993    L6/3.2L                                         550          H6 (48)
1992-90   V6/3.0L    Can & Opt             585          24F                  1992-90 L6/3.0L                                         550          H6 (48)
1992-90   V6/3.0L    US                    310          35                   Mercedes-Benz 300D
Mazda MX-3                                                                   1993-92 L5/2.5L                                         760          —
1996-95   L4/1.6L                          310          35                   1991-90 L5/2.5L                                         740          H8 (49)
1995      L4/1.6L    Opt                   350          35                   Mercedes-Benz 300E
1995      V6/1.8L                          350          35
                                                                             1993-90   L6/3.0L                                       550          H6 (48)
1994-92   L4/1.6L    HD w/AT               350          35
                                                                             1993-90   L6/3.0L    4-Matic                            550          H6 (48)
1994-92   L4/1.6L    MT                    310          35
                                                                             1993      L6/2.8L                                       550          H6 (48)
1994      V6/1.8L                          630          24F
                                                                             1993      L6/3.2L                                       550          H6 (48)
1994      V6/1.8L    Calif                 310          35
                                                                             1992-90   L6/2.6L                                       550          H6 (48)
1994      V6/1.8L    Ex Calif              420          35
1993-92   V6/1.8L                          420          35                   Mercedes-Benz 300SD
Mazda MX-5 Miata                                                             1993-92 L6/3.4L      Dsl                                760          —
2019-06 L4/2.0L                            340          51R                  Mercedes-Benz 300SE
Mazda MX-6                                                                   1993-92 L6/3.2L                                         760          —
1997-93   L4/2.0L                          580          —                    1991-90 L6/3.0L                                         740          H8 (49)
1997-93   V6/2.5L                          580          —                    Mercedes-Benz 300SEL
1992-91   L4/2.2L    Cold Climate Pkg      350          35                   1991-90 L6/3.0L                                         740          H8 (49)
1992-90   L4/2.2L                          310          35                   Mercedes-Benz 300SL
Mazda Navajo                                                                 1993-92 L6/3.0L                                         760          —
1994-91 V6/4.0L                            650          65                   1991-90 L6/3.0L                                         740          H8 (49)
Mazda Protegé                                                                Mercedes-Benz 300TE
2003-01   L4/1.6L    Opt                   520          35                   1993-90 L6/3.0L                                         550          H6 (48)
2003-01   L4/2.0L                          310          35                   1993-90 L6/3.0L      4-Matic                            550          H6 (48)
2003-01   L4/2.0L    Opt                   520          35                   1993    L6/3.2L                                         550          H6 (48)
2003-99   L4/1.6L                          310          35                   Mercedes-Benz 350SD
2000-99   L4/1.6L    Opt                   350          35                   1991      L6/3.4L    Dsl                                740          H8 (49)
2000-99   L4/1.8L                          350          35
1998-95   L4/1.5L                          310          35
                                                                             Mercedes-Benz 350SDL
1998-95   L4/1.5L    Opt                   350          35                   1991-90 L6/3.4L      Dsl                                740          H8 (49)
1998-92   L4/1.8L                          310          35                   Mercedes-Benz 400E
1994-92   L4/1.8L    Opt                   350          35           MOYER_DEPO     000363
                                                                           1993-92 V8/4.2L                                           760        —
                                                                                                                See page 80 for Footnotes. Selection may vary by warehouse.
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 PageMercedes-Benz
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   Automotive/Light Truck                                                                                                                                                       55
                                                          ORIGINAL              GROUP SIZE                                                       ORIGINAL              GROUP SIZE
     YEAR      ENGINE                 OPTIONS            EQUIPMENT               (NOTES)             YEAR      ENGINE                 OPTIONS   EQUIPMENT               (NOTES)
                                                         CCA/RATING                                                                             CCA/RATING
   Mercedes-Benz 400SE                                                                            Mercedes-Benz B250 (continued)
   1992      V8/4.2L                                     760          —                            2019      L4/2.0L    Battery Backup          1.2 Ah       —
   Mercedes-Benz 400SEL                                                                            2019      L4/2.0L    Opt                     80 Ah        —
   1993      V8/4.2L                                     760          —                            2018      L4/2.0L    Aux Battery             200          —
   Mercedes-Benz 420SEL                                                                            2017      L4/2.0L                            N/A          H6 (48) AGM 33, 50, 54
   1991-90 V8/4.2L                                       740          H8 (49)                      2017      L4/2.0L    Opt                     N/A          H6 (48) AGM 33, 50, 54
   Mercedes-Benz 500E                                                                              2017-13   L4/2.0L    Aux Battery             200          —
   1993-92 V8/5.0L                                       760          —                            2016-13   L4/2.0L                            760          H6 (48) AGM 33, 54
                                                                                                   2016-13   L4/2.0L    Opt                     800          —
   Mercedes-Benz 500SEC
   1993      V8/5.0L                                     760          —
                                                                                                  Mercedes-Benz B250e
                                                                                                   2017                 Electric                680          —
   Mercedes-Benz 500SEL                                                                            2017                 Opt, Li-ion             N/A          —
   1993-92 V8/5.0L                                       760          —
                                                                                                   2017-16              Electric                60 Ah        H5 (47) AGM 33, 50, 54
   Mercedes-Benz 500SL                                                                             2016                 Electric                680          —
   1993-92 V8/5.0L                                       760          —                           Mercedes-Benz C220
   1991-90 V8/5.0L                                       740          H8 (49)
                                                                                                   1996-94 L4/2.2L                              760          —
   Mercedes-Benz 560SEC
                                                                                                  Mercedes-Benz C230
   1991-86 V8/5.6L                                       740          H8 (49)
                                                                                                   2009-08   V6/2.5L                            760          —
   Mercedes-Benz 560SEL                                                                            2009-08   V6/2.5L    Aux Battery             200          —
   1991-86 V8/5.6L                                       740          H8 (49)                      2007-06   V6/2.5L                            760          —
   Mercedes-Benz 600SEC                                                                            2005-04   L4/1.8L    S/C                     760          —
   1993      V12/6.0L                                    760          —                            2003      L4/1.8L    S/C                     825          H8 (49) AGM 33, 50
   Mercedes-Benz 600SEL                                                                            2002      L4/2.3L                            760          —
   1993-92 V12/6.0L                                      760          —                            2000-97   L4/2.3L                            760          —
   Mercedes-Benz 600SL                                                                            Mercedes-Benz C240
   1993      V12/6.0L                                    760          —                            2005-01 V6/2.6L      w/o AGM                 760          —
   Mercedes-Benz AMG GT                                                                            2003    V6/2.6L      w/AGM                   850          H8 (49) AGM 33, 50
   2019      V8/4.0L                                     60 Ah        H5 (47) AGM 33, 50, 56      Mercedes-Benz C250
   2019      V8/4.0L    Opt                              80 Ah        —                            2015-14   L4/1.8L    Opt Rear                95 Ah        H8 (49) AGM 33, 50, 54
   2019      V8/4.0L    Opt                              58 Ah        —                            2015-13   L4/1.8L    Front                   84 Ah        —
   2018      V8/4.0L                                     60 Ah        H5 (47) AGM 33, 50, 56       2015-12   L4/1.8L                            760          H6 (48) AGM 33, 54
   2018      V8/4.0L    Opt                              800          —                            2015-12   L4/1.8L    Aux Battery             200          —
   2018      V8/4.0L    Opt, Li-ion                      78 Ah        —                            2012-10   V6/2.5L                            700          H7 (94R) 54
   2017      V8/4.0L                                     680          —                            2012-10   V6/2.5L    Aux Battery             200          —
   2017      V8/4.0L    Opt                              760          H6 (48) AGM 33, 54           2012-10   V6/2.5L    Opt                     760          H6 (48) AGM 33, 54
   2017      V8/4.0L    Opt, Li-ion                      N/A          —
                                                                                                   2012      L4/1.8L    Opt Rear                95 Ah        H8 (49) AGM 33, 50, 54
   Mercedes-Benz AMG GT C                                                                         Mercedes-Benz C280
   2019      V8/4.0L                                     60 Ah        H5 (47) AGM 33, 50, 56
                                                                                                   2007-06 V6/3.0L                              760          —
   2019      V8/4.0L    Opt                              80 Ah        —
                                                                                                   2000-98 V6/2.8L                              760          —
   2019      V8/4.0L    Opt                              58 Ah        —
                                                                                                   1997-94 L6/2.8L                              760          —
   2018      V8/4.0L                                     60 Ah        H5 (47) AGM 33, 50, 56
   2018      V8/4.0L    Opt                              800          —                           Mercedes-Benz C300
   Mercedes-Benz AMG GT R                                                                          2018      L4/2.0L                            660      —
                                                                                                   2018      L4/2.0L    Opt                     760      H6 (48) AGM 33, 50, 56
   2019      V8/4.0L                                     60 Ah        H5 (47) AGM 33, 50, 56
                                                                                                   2018      L4/2.0L    Opt                     800      —
   2019      V8/4.0L    Opt                              80 Ah        —
                                                                                                   2018      L4/2.0L    Opt, Li-ion             48 Ah —
   2019      V8/4.0L    Opt                              58 Ah        —
                                                                                                   2017-16   L4/2.0L    Opt, Li-ion             78 Ah —
   2018      V8/4.0L                                     60 Ah        H5 (47) AGM 33, 50, 56
                                                                                                   2017-15   L4/2.0L                            680      —
   2018      V8/4.0L    Opt                              800          —
                                                                                                   2017      L4/2.0L    Opt                     760      H6 (48) AGM 33, 50, 54
   Mercedes-Benz AMG GT S                                                                          2016      L4/2.0L                            760      H6 (48) AGM 33, 54
   2019      V8/4.0L                                     60 Ah        H5 (47) AGM   33, 50, 56
                                                                                                   2015      L4/2.0L                            700      H7 (94R) AGM 33, 50, 54
   2019      V8/4.0L    Opt                              80 Ah        —                            2015      L4/2.0L    Opt                     760      H6 (48) AGM 33, 50, 54
   2019      V8/4.0L    Opt                              58 Ah        —                            2015      L4/2.0L    Opt, Li-ion             78 Ah —
   2018      V8/4.0L                                     60 Ah        H5 (47) AGM 33, 50, 56       2014-13   V6/3.5L                            700      H7 (94R) 50, 54
   2018      V8/4.0L    Opt                              800          —                            2014-13   V6/3.5L    AGM Opt Trunk Mtd       90-95 Ah H8 (49) AGM 33, 50, 54
   2018      V8/4.0L    Opt, Li-ion                      78 Ah        —                            2014-13   V6/3.5L    Aux Battery             200      —
   2017      V8/4.0L                                     680          —                            2014-13   V6/3.5L    Front Battery           84 Ah —
   2017      V8/4.0L    Opt, Li-ion                      N/A          —                            2012-08   V6/3.0L                            84 Ah —
   2017-16   V8/4.0L    Opt                              760          H6 (48) AGM 33, 54           2012-08   V6/3.0L    Aux Battery             200      —
   2016      V8/4.0L                                     680          —                            2012      V6/3.0L    AGM Opt Trunk Mtd       90-95 Ah H8 (49) AGM 33, 50, 54
   2016      V8/4.0L    Opt                              80 Ah        —
                                                                                                  Mercedes-Benz C32 AMG
   2016      V8/4.0L    Opt, Li-ion                      78 Ah        —
                                                                                                   2004-03 V6/3.2L                              760          —
   Mercedes-Benz B Electric Drive                                                                  2002    V6/3.2L                              74 Ah        —
   2015-14              Electric                         680          —                            2002    V6/3.2L                              850          —
   Mercedes-Benz B200                                                                             Mercedes-Benz C320
   2011-06 L4/2.0L                                       680          —                           2005-04 V6/3.2L                               760          —
   2011-06 L4/2.0L      Aux Battery                      200          —                           2003    V6/3.2L                               850          H8 (49) AGM 33, 50
   Mercedes-Benz B250                                                                             2002-01 V6/3.2L                               760          —
   2019      L4/2.0L                                      70 Ah       H6 (48) AGM 33, 50, 56      2002    V6/3.2L                               74 Ah        —
   2019      L4/2.0L     Aux Battery                      12 Ah       —MOYER_DEPO                000364
                                                                                                  2001    V6/3.2L       w/o AGM                 100 Ah       —
   See page 80 for Footnotes. Selection may vary by warehouse.
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56                                                                                       Automotive/Light Truck
                                                   ORIGINAL              GROUP SIZE                                                                    ORIGINAL               GROUP SIZE
  YEAR      ENGINE                 OPTIONS        EQUIPMENT               (NOTES)               YEAR      ENGINE                  OPTIONS             EQUIPMENT                (NOTES)
                                                  CCA/RATING                                                                                          CCA/RATING
Mercedes-Benz C350                                                                            Mercedes-Benz CL550 (continued)
2016      V6/3.5L                                 700          H7 (94R) 50, 54                2010-07 V8/5.5L      On-Board Electrical System         760          H6 (48) AGM 33, 50, 54
2016-08   V6/3.5L    Aux Battery                  200          —                                                   Battery, Opt
2015      V6/3.5L                                 84 Ah        —                              2008-07 V8/5.5L      Primary Battery                    95 Ah        H8 (49) AGM 33, 47, 50, 54
2014-08   V6/3.5L                                 84 Ah        —                              2008-07 V8/5.5L      Secondary Battery                  35 Ah        —
2007-06   V6/3.5L                                 760          —                              Mercedes-Benz CL600
Mercedes-Benz C350e                                                                           2014-08 V12/5.5L Primary Battery                        95 Ah        H8 (49) AGM 33, 47, 50, 54
2018-16   L4/2.0L    Hybrid, Opt, Li-ion          78 Ah        —                              2014-07 V12/5.5L On-Board Electrical System             850          H8 (49) AGM 33, 50, 54
2018      L4/2.0L    Hybrid                       800          H7 (94R) AGM 33, 50, 56                         Battery
2018      L4/2.0L    Hybrid, Opt                  800          H7 (94R) AGM 33, 50, 56        2010    V12/5.5L Secondary Battery                      35 Ah        —
2017-16   L4/2.0L    Hybrid                       850          H8 (49) AGM 33, 50, 54         2007    V12/5.5L Starting Motor Battery                 520          —
Mercedes-Benz C36 AMG                                                                         2006-03 V12/5.5L                                        95 Ah        H8 (49) AGM 33, 50
1997-95 L6/3.6L                                   760          —                              2002-01 V12/5.8L                                        760          —
                                                                                              1999-98 V12/6.0L                                        760          —
Mercedes-Benz C400
2015      V6/3.0L                                 760          H6 (48) AGM 33, 50, 54
                                                                                              Mercedes-Benz CL63 AMG
2015      V6/3.0L    Opt, Li-ion                  78 Ah        —                              2014-11   V8/5.5L    Aux Battery                        200          —
                                                                                              2014-11   V8/5.5L    Primary Battery                    850          H8 (49) AGM 33, 50, 54
Mercedes-Benz C43 AMG                                                                         2010-08   V8/6.3L                                       850          H8 (49) AGM 33, 50, 54
2019      V6/3.0L                                 70 Ah        H6 (48) AGM 33, 50, 56         2010-08   V8/6.3L    Primary Battery                    95 Ah        H8 (49) AGM 33, 47, 50
2019      V6/3.0L    Opt                          80 Ah        —                              2010-08   V8/6.3L    Secondary Battery                  60 Ah        H5 (47) AGM 33
2018-17   V6/3.0L    Opt, Li-ion                  78 Ah        —
2018      V6/3.0L                                 760          H6 (48) AGM 33, 50, 56
                                                                                              Mercedes-Benz CL65 AMG
2018      V6/3.0L    Opt                          800          —                              2014-08 V12/6.0L On-Board Electrical System             850          H8 (49) AGM 33, 50, 54
2017      V6/3.0L                                 760          H6 (48) AGM 33, 50, 54                          Battery
2017      V6/3.0L    Opt                          800          H7 (94R) AGM 33, 50, 54        2014-08 V12/6.0L Primary Battery                        95 Ah        H8 (49) AGM 33, 47, 50
2000-98   V8/4.3L                                 760          —                              2011-08 V12/6.0L Secondary Battery                      35 Ah        —
                                                                                              2006-05 V12/6.0L                                        95 Ah        H8 (49) AGM 33, 50
Mercedes-Benz C450 AMG
2016      V6/3.0L                                 760          H6 (48) AGM 33, 54
                                                                                              Mercedes-Benz CLA250
2016      V6/3.0L    Opt, Li-ion                  78 Ah        —                              2019      L4/2.0L                                       70 Ah        H6 (48) AGM 33, 50, 56
                                                                                              2019      L4/2.0L    Aux Battery                        12 Ah        —
Mercedes-Benz C55 AMG                                                                         2019      L4/2.0L    Battery Backup                     1.2 Ah       —
2006-05 V8/5.5L                                   100 Ah —                                    2019      L4/2.0L    Opt                                800          H7 (94R) AGM 33, 50, 54,56
Mercedes-Benz C63 AMG                                                                         2018      L4/2.0L                                       760          H6 (48) AGM 33, 50, 56
2019      V8/4.0L                                 60 Ah        H5 (47) AGM 33, 50, 56         2018      L4/2.0L    Aux Battery                        200          —
2019      V8/4.0L    Opt                          80 Ah        —                              2018      L4/2.0L    Opt                                800          —
2019      V8/4.0L    Opt                          92 Ah        H8 (49) AGM 33, 50, 56         2017-14   L4/2.0L    Aux Battery                        200          —
2019      V8/4.0L    Opt                          95 Ah        H8 (49) AGM 33, 50, 56         2017-14   L4/2.0L    Opt                                800          H7 (94R) AGM 33, 50, 54
2018-16   V8/4.0L    Opt, Li-ion                  78 Ah        —                              2017      L4/2.0L                                       760          H6 (48) AGM 33, 50, 54
2018      V8/4.0L                                 680          —                              2016-14   L4/2.0L                                       760          H6 (48) AGM 33, 54
2018      V8/4.0L    Opt                          800          —                              Mercedes-Benz CLA45 AMG
2018      V8/4.0L    Opt                          800          H7 (94R) AGM 33, 50, 56        2019      L4/2.0L                                       70 Ah        H6 (48) AGM 33, 50, 56
2017-16   V8/4.0L                                 850          H8 (49) AGM 33, 50, 54         2019      L4/2.0L    Aux Battery                        12 Ah        —
2015-08   V8/6.3L                                 850          H8 (49) AGM 33, 50, 54         2019      L4/2.0L    Battery Backup                     1.2 Ah       —
2015-08   V8/6.3L    Aux Battery                  200          —                              2019      L4/2.0L    Opt                                80 Ah        H7 (94R) AGM 33, 50, 56
Mercedes-Benz C63 AMG S                                                                       2018      L4/2.0L                                       760          H6 (48) AGM 33, 50, 56
2019      V8/4.0L                                 60 Ah        H5 (47) AGM 33, 50, 56         2018      L4/2.0L    Aux Battery                        200          —
2019      V8/4.0L    Opt                          80 Ah        —                              2018      L4/2.0L    Opt                                800          —
2019      V8/4.0L    Opt                          92 Ah        H8 (49) AGM 33, 50, 56         2017-16   L4/2.0L    Opt                                800          H7 (94R) AGM 33, 50, 54
2019      V8/4.0L    Opt                          95 Ah        H8 (49) AGM 33, 50, 56         2017-14   L4/2.0L    Aux Battery                        200          —
2018-15   V8/4.0L    Opt, Li-ion                  78 Ah        —                              2017      L4/2.0L                                       760          H6 (48) AGM 33, 50, 54
2018      V8/4.0L                                 60 Ah        H5 (47) AGM 33, 50, 56         2016-14   L4/2.0L                                       760          H6 (48) AGM 33, 54
2018      V8/4.0L    Opt                          800          —                              2015-14   L4/2.0L    Opt                                N/A          —
2018      V8/4.0L    Opt                          800          H7 (94R) AGM 33, 50, 56        Mercedes-Benz CLK320
2017-15   V8/4.0L                                 800          —                              2005-98 V6/3.2L                                         760          —
2017-15   V8/4.0L    Opt                          850          H8 (49) AGM 33, 50, 54         Mercedes-Benz CLK350
Mercedes-Benz CL500                                                                           2009-06 V6/3.5L                                         760    —
2006-02 V8/5.0L                                   95 Ah        H8 (49) AGM 33, 50             2009    V6/3.5L      Cabrio, w/o AGM                    100 Ah —
2001-98 V8/5.0L      w/o AGM                      760          —                              2008-06 V6/3.5L      w/o AGM                            100 Ah —
Mercedes-Benz CL55 AMG                                                                        Mercedes-Benz CLK430
2006-02 V8/5.5L                                   95 Ah        H8 (49) AGM 33                 2003-99 V8/4.3L                                         760          —
2005-02 V8/5.5L                                   95 Ah        H8 (49) AGM 33, 50             Mercedes-Benz CLK500
2001    V8/5.5L                                   760          —
                                                                                              2006-03 V8/5.0L                                         100 Ah —
Mercedes-Benz CL550                                                                           Mercedes-Benz CLK55 AMG
2014-12 V8/4.6L      Secondary Bat, 4-Matic       1.2 Ah       —
                                                                                              2006-01 V8/5.5L                                         760          —
2014-11 V8/4.6L      Aux Battery                  200          —
2014-11 V8/4.6L      On-Board Electrical System   850          H8 (49) AGM 33, 50, 54         Mercedes-Benz CLK550
                     Battery                                                                  2009-07 V8/5.5L                                         760    —
2014-11   V8/4.6L    Primary, 4-Matic             95 Ah        H8 (49) AGM 33, 50, 54         2009    V8/5.5L      Cabrio                             100 Ah —
2011      V8/4.6L    Secondary Bat, 4-Matic       35 Ah        —                              2008    V8/5.5L                                         100 Ah —
2010-09   V8/5.5L    4-Matic                      95 Ah        H8 (49) AGM 33, 47, 50         Mercedes-Benz CLK63 AMG
2010-07   V8/5.5L    On-Board Electrical System   850          H8 (49) AGM 33, 50, 54         2009-08 V8/6.3L                                         760        —
                     Battery                                                        MOYER_DEPO     000365
                                                                                          2009-08 V8/6.3L Cabrio                                      100 Ah —
                                                                                                                                 See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                         57
                                                           ORIGINAL              GROUP SIZE                                                        ORIGINAL              GROUP SIZE
     YEAR       ENGINE                 OPTIONS            EQUIPMENT               (NOTES)             YEAR      ENGINE                  OPTIONS   EQUIPMENT               (NOTES)
                                                          CCA/RATING                                                                              CCA/RATING
   Mercedes-Benz CLK63 AMG (continued)                                                             Mercedes-Benz E320 (continued)
   2008      V8/6.3L     Black                            70 Ah H6 (48) AGM 33, 50                  2005-03   V6/3.2L                             95 Ah        H8 (49) AGM 33, 47, 50
   2008      V8/6.3L     Opt                              760    H6 (48) AGM 33                     2004      V6/3.2L    E320S                    100 Ah       —
   2007      V8/6.3L                                      100 Ah —                                  2002-98   V6/3.2L                             100 Ah       —
   Mercedes-Benz CLS400                                                                             1997-96   L6/3.2L                             690          H6 (48)
   2017-15   V6/3.0L                                      760          H6 (48) AGM 33, 50, 54       1997-96   L6/3.2L                             100 Ah       —
   2017-15   V6/3.0L     Aux Battery                      200          —                            1995-94   L6/3.2L    E320C-A                  100 Ah       —
   2017-15   V6/3.0L     Opt                              850          H8 (49) AGM 33, 50, 54       1995      L6/3.2L                             660          H6 (48) 50
   2017-15   V6/3.0L     Opt                              800          H7 (94R) AGM 33, 50, 54      1994      L6/3.2L    Ex Cabriolet             660          H6 (48) 50
   Mercedes-Benz CLS500                                                                            Mercedes-Benz E350
   2006      V8/5.0L                                      760          —                            2016-10   V6/3.5L                             760          H6 (48) AGM 33, 50, 54
   2006      V8/5.0L                                      850          H8 (49) AGM 33               2016-10   V6/3.5L    Aux Battery              200          —
   2006      V8/5.0L     Aux Battery                      200          —                            2016-06   V6/3.5L    Opt                      850          H8 (49) AGM 33, 50, 54
   Mercedes-Benz CLS55 AMG                                                                          2015      V6/3.5L                             80 Ah        H7 (94R) AGM 33, 50, 54
   2006      V8/5.5L                                      760          —                            2014-12   V6/3.5L                             80 Ah        H7 (94R) AGM 33, 50, 56
   2006      V8/5.5L                                      850          H8 (49) AGM 33, 50           2014-10   V6/3.5L    Opt                      70 Ah        H6 (48) AGM 33, 50, 56
   2006      V8/5.5L     Aux Battery                      200          —                            2013-11   V6/3.0L    Aux, Dsl                 200          —
                                                                                                    2013-11   V6/3.0L    Dsl                      760          H6 (48) AGM 33, 50, 54
   Mercedes-Benz CLS550
                                                                                                    2013-11   V6/3.0L    Dsl, Opt                 850          H8 (49) AGM 33, 50, 54
   2018      V8/4.6L                                      800          —
                                                                                                    2009-06   V6/3.5L                             680          —
   2018      V8/4.6L     Aux Battery                      200          —
                                                                                                    2009-06   V6/3.5L                             95 Ah        H8 (49) AGM 33, 47, 50
   2018      V8/4.6L     Opt                              800          H7 (94R) AGM 33, 50, 56
                                                                                                    2009-06   V6/3.5L    Aux Battery              200          —
   2017-12   V8/4.6L                                      800          H7 (94R) AGM 33, 50, 54
                                                                                                    2009-06   V6/3.5L    Opt                      760          H6 (48) AGM 33, 50, 54
   2017-12   V8/4.6L     Aux Battery                      200          —
                                                                                                    2009-06   V6/3.5L    Opt                      760          —
   2017-12   V8/4.6L     Opt                              850          H8 (49) AGM 33, 50, 54
   2011-07   V8/5.5L                                      95 Ah        H8 (49) AGM 33, 47, 50      Mercedes-Benz E400
   2011-07   V8/5.5L     Aux Battery                      200          —                            2018      V6/3.0L    Opt                      60 Ah        H5 (47) AGM 33, 50, 56
                                                                                                    2018      V6/3.0L    Opt                      800          —
   Mercedes-Benz CLS63 AMG
                                                                                                    2018      V6/3.0L    Opt, Li-ion              78 Ah        —
   2014-12   V8/5.5L                                      80 Ah        H7 (94R) AGM 33, 47, 50
                                                                                                    2018      V6/3.0L    Opt, Li-ion              80 Ah        —
   2014-12   V8/5.5L     Aux Battery                      200          —
                                                                                                    2018-15   V6/3.0L                             760          H6 (48) AGM 33, 50, 54
   2014-12   V8/5.5L     Opt                              850          H8 (49) AGM 33, 50, 54
                                                                                                    2017-15   V6/3.0L    Aux Battery              200          —
   2011-07   V8/6.3L                                      95 Ah        H8 (49) AGM 33, 47, 50
                                                                                                    2018-15   V6/3.0L    Opt                      850          H8 (49) AGM 33, 50, 54
   2011-07   V8/6.3L     Aux Battery                      200          —
                                                                                                    2015-13   V6/3.5L    Hybrid                   850          H8 (49) AGM 33, 50, 54
   Mercedes-Benz CLS63 AMG S                                                                        2015-13   V6/3.5L    Hybrid, Aux              200          —
   2018-14   V8/5.5L     Aux Battery                      200          —                           Mercedes-Benz E420
   2018      V8/5.5L                                      800          —
                                                                                                    1997    V8/4.2L                               690    H6 (48)
   2018      V8/5.5L     4-Matic                          800          H7 (94R) AGM 33, 50, 56
                                                                                                    1997    V8/4.2L                               100 Ah —
   2018      V8/5.5L     Opt                              800          H7 (94R) AGM 33, 50, 56
                                                                                                    1995-94 V8/4.2L                               100 Ah —
   2017-15   V8/5.5L     Opt                              850          H8 (49) AGM 33, 50, 54
   2017-14   V8/5.5L                                      800          H7 (94R) AGM 33, 50, 54     Mercedes-Benz E43 AMG
   2014      V8/5.5L                                      850          H8 (49) AGM 33, 50, 54       2018      V6/3.0L    Opt                      800          —
                                                                                                    2018-17   V6/3.0L    Opt, Li-ion              78 Ah        —
   Mercedes-Benz E250
                                                                                                    2018-17   V6/3.0L    Opt, Li-ion              80 Ah        —
   2016-14 L4/2.1L       Aux, Dsl                         200          —
                                                                                                    2018-17   V6/3.0L                             760          H6 (48) AGM 33, 50, 56
   2016-14 L4/2.1L       Dsl                              760          H6 (48) AGM 33, 54
                                                                                                    2018-17   V6/3.0L    Opt                      60 Ah        H5 (47) AGM 33, 50, 56
   2016-14 L4/2.1L       Dsl, Opt                         850          H8 (49) AGM 33, 54
                                                                                                    2018-17   V6/3.0L    Opt                      850          H8 (49) AGM 33, 50, 56
   Mercedes-Benz E280                                                                               2017      V6/3.0L    Opt                      800          H7 (94R) AGM 33, 50, 54
   2007      V6/3.0L                                      760          —                           Mercedes-Benz E430
   2007      V6/3.0L     Aux Battery                      200          —
                                                                                                    2002-98 V8/4.3L                               100 Ah —
   Mercedes-Benz E300                                                                              Mercedes-Benz E500
   2019-17   L4/2.0L                                      70 Ah        H6 (48) AGM   33, 50, 56
                                                                                                    2006-03 V8/5.0L                               95 Ah H8 (49) AGM 33, 47, 50
   2019-17   L4/2.0L     Opt                              60 Ah        H5 (47) AGM 33, 50, 56
                                                                                                    2006-03 V8/5.0L      Aux Battery              200    —
   2018-17   L4/2.0L     Opt                              80 Ah        H7 (94R) AGM 33, 50, 56
                                                                                                    1994    V8/5.0L                               100 Ah —
   2019-17   L4/2.0L     Opt                              92 Ah        H8 (49) AGM 33, 50, 56
   2019      L4/2.0L     Opt                              58 Ah        —                           Mercedes-Benz E55 AMG
   2019      L4/2.0L     Opt                              78 Ah        —                            2006-04   V8/5.5L                             95 Ah        H8 (49) AGM 33, 47, 50
   2018-17   L4/2.0L     Opt, Li-ion                      78 Ah        —                            2006-03   V8/5.5L    Aux Battery              200          —
   2018-17   L4/2.0L     Opt, Li-ion                      80 Ah        —                            2003      V8/5.5L                             850          —
   2016-15   V6/3.5L                                      760          H6 (48) AGM 33, 54           2002-99   V8/5.5L                             760          —
   2016-15   V6/3.5L     Opt                              850          H8 (49) AGM 33, 54          Mercedes-Benz E550
   2016-12   V6/3.5L     Aux Battery                      200          —                            2017      V8/4.6L                             700          H7 (94R) 50, 54
   2013-12   V6/3.5L                                      760          —                            2017      V8/4.6L    Aux Battery              200          —
   2009-08   V6/3.0L                                      760          —                            2016-12   V8/4.6L                             80 Ah        H7 (94R) AGM 33, 50
   2009-08   V6/3.0L     Aux Battery                      200          —                            2016-12   V8/4.6L    Aux Battery              200          —
   1999-95   L6/3.0L     Dsl                              100 Ah       —                            2011-10   V8/5.5L                             850          —
   Mercedes-Benz E320                                                                               2011-10   V8/5.5L                             80 Ah        H7 (94R) AGM 33, 50
   2009-08   V6/3.0L     BlueTEC w/AGM                    850          H8 (49) AGM 33, 47, 50       2011-10   V8/5.5L    Aux Battery              200          —
   2009-08   V6/3.0L     Dsl                              850          H8 (49) AGM 33, 50, 54       2009-07   V8/5.5L                             95 Ah        H8 (49) AGM 33, 47, 50
   2009-07   V6/3.0L     Aux, Dsl                         200          —                            2009-07   V8/5.5L    Aux Battery              200          —
   2007      V6/3.0L     Dsl                              850          H8 (49) AGM 33, 50           2009-07   V8/5.5L    Opt                      850          H8 (49) AGM 33, 50, 54
   2006-05   L6/3.2L     Aux, Dsl                         200          —                           Mercedes-Benz E63 AMG
   2006      L6/3.2L     Dsl                              850          H8 (49) AGM 33, 50           2015      V8/5.5L                             80 Ah        H7 (94R) AGM 33, 50, 54
   2005-03   V6/3.2L     Aux Battery                      200          —MOYER_DEPO                000366
                                                                                                   2015-12 V8/5.5L                                760          H6 (48) AGM 33, 50, 54
   See page 80 for Footnotes. Selection may vary by warehouse.
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58                                                                                   Automotive/Light Truck
                                              ORIGINAL              GROUP SIZE                                                                 ORIGINAL              GROUP SIZE
  YEAR      ENGINE                 OPTIONS   EQUIPMENT               (NOTES)            YEAR      ENGINE                  OPTIONS             EQUIPMENT               (NOTES)
                                             CCA/RATING                                                                                       CCA/RATING
Mercedes-Benz E63 AMG (continued)                                                     Mercedes-Benz GLE350
2015-12   V8/5.5L    Aux Battery             200          —                           2018-16 V6/3.5L                                         850          H8 (49) AGM 33, 50, 54
2014-12   V8/5.5L                            95 Ah        H8 (49) AGM 33, 50, 54      2018-16 V6/3.5L      Aux Battery                        200          —
2014-12   V8/5.5L    Opt                     80 Ah        H7 (94R) AGM 33, 50, 54     Mercedes-Benz GLE350d
2011-10   V8/6.3L                            760          H6 (48) AGM 33, 50, 54      2016      V6/3.0L    Aux, Dsl                           200          —
2011-10   V8/6.3L                            80 Ah        H7 (94R) AGM 33, 50, 54     2016      V6/3.0L    Dsl                                850          H8 (49) AGM 33, 50, 54
2011-10   V8/6.3L    Aux Battery             200          —                           Mercedes-Benz GLE400
2009-07   V8/6.3L                            95 Ah        H8 (49) AGM 33, 47, 50
                                                                                      2017-16 V6/3.0L                                         850          H8 (49) AGM 33, 50, 54
2009-07   V8/6.3L    Aux Battery             200          —
                                                                                      2017-16 V6/3.0L      Aux Battery                        200          —
Mercedes-Benz E63 AMG S                                                               Mercedes-Benz GLE43 AMG
2016-15 V8/5.5L                              760          H6 (48) AGM 33, 50, 54      2019-17 V6/3.0L                                         850          H8 (49) AGM 33, 50, 54
2016-14 V8/5.5L      Aux Battery             200          —                           2019-17 V6/3.0L      Aux Battery                        12 Ah        —
Mercedes-Benz G500                                                                    Mercedes-Benz GLE450 AMG
2008-07   V8/5.0L                            850          —                           2016      V6/3.0L                                       850          H8 (49) AGM 33, 50, 54
2008-02   V8/5.0L    Aux Battery             200          —                           2016      V6/3.0L    Aux Battery                        200          —
2008      V8/5.0L    AGM                     95 Ah        H8 (49) AGM 33, 47, 50
2007-02   V8/5.0L    AGM                     90 Ah        H8 (49) AGM 33, 47, 50
                                                                                      Mercedes-Benz GLE550
2006-02   V8/5.0L                            760          —                           2017-16 V8/4.6L                                         850          H8 (49) AGM 33, 50, 54
                                                                                      2017-16 V8/4.6L      Aux Battery                        200          —
Mercedes-Benz G55 AMG
                                                                                      Mercedes-Benz GLE550e
2011-07   V8/5.5L                            850          —
                                                                                      2018-16 V6/3.0L      Hybrid                             850          H8 (49) AGM 33, 50, 54
2011-03   V8/5.5L    Aux Battery             200          —
                                                                                      2018    V6/3.0L      Hybrid, Aux                        200          —
2006-03   V8/5.5L                            825          —
                                                                                      2017-16 V6/3.0L      Hybrid, Aux                        200          —
2003      V8/5.5L    Opt                     850          H8 (49) AGM 33, 50
Mercedes-Benz G550                                                                    Mercedes-Benz GLE63 AMG
                                                                                      2018-16 V8/5.5L                                         850          H8 (49) AGM 33, 50, 54
2018-16   V8/4.0L                            850          H8 (49) AGM 33, 50, 54
                                                                                      2018    V8/5.5L      Aux Battery                        200          —
2018-16   V8/4.0L                                         —
                                                                                      2017-16 V8/5.5L      Aux Battery                        200          —
2015-09   V8/5.5L    Aux Battery             850          H8 (49) AGM 33, 50, 54
2015-09   V8/5.5L    Aux Battery             200          —                           Mercedes-Benz GLE63 AMG S
                                                                                      2018-16 V8/5.5L                                         850          H8 (49) AGM 33, 50, 54
Mercedes-Benz G63 AMG
                                                                                      2018    V8/5.5L      Aux Battery                        200          —
2018-13 V8/5.5L                              850          H8 (49) AGM   33, 50, 54
                                                                                      2017-16 V8/5.5L      Aux Battery                        200          —
2018-13 V8/5.5L      Aux Battery             200          —
2014-13 V8/5.5L                              80 Ah        H7 (94R) AGM 33, 50
                                                                                      Mercedes-Benz GLK250
                                                                                      2015-13 L4/2.1L      Aux, Dsl                           200          —
Mercedes-Benz G65 AMG                                                                 2015-13 L4/2.1L      Aux, Dsl                           1.2 Ah       —
2018-16 V12/6.0L                             850          H8 (49) AGM 33, 50, 54      2015-13 L4/2.1L      Dsl                                800          H7 (94R) AGM 33, 50, 54
Mercedes-Benz GL320                                                                   Mercedes-Benz GLK350
2009-07 V6/3.0L      Dsl                     850          —                           2015-13   V6/3.5L                                       760          H6 (48) AGM 33, 50, 54
Mercedes-Benz GL350                                                                   2015-10   V6/3.5L    Aux Battery                        200          —
2016-13 V6/3.0L      Aux, Dsl                200      —                               2015      V6/3.5L                                       80 Ah        H7 (94R) AGM 33, 50, 54
2016-10 V6/3.0L      Dsl                     850      H8 (49) AGM 33, 50, 54          2012-10   V6/3.5L                                       680          —
2014-10 V6/3.0L      Dsl, w/AGM              90-95 Ah H8 (49) AGM 33, 47, 50          2012-10   V6/3.5L    AGM                                80 Ah        H7 (94R) AGM 33, 50
Mercedes-Benz GL450                                                                   2012-10   V6/3.5L    Aux Battery                        1.2 Ah       —
2016-15   V6/3.0L                            850          H8 (49) AGM 33, 50, 54      2012-10   V6/3.5L    Opt                                760          H6 (48) AGM 33, 50, 54
2016-15   V6/3.0L    Aux Battery             200          —                           2012-10   V6/3.5L    Opt                                800          H8 (49) AGM 33, 50, 54
2014-13   V8/4.6L    Aux Battery             200          —                           2012-10   V6/3.5L    Opt                                700          H7 (94R) 50, 54
2014-07   V8/4.6L                            850          H8 (49) AGM 33, 50, 54      2012-10   V6/3.5L    Opt                                800          H7 (94R) AGM 33, 50, 54
Mercedes-Benz GL550                                                                   Mercedes-Benz GLS450
2016-13 V8/4.6L                              850          H8 (49) AGM   33, 50, 54    2018-17 V6/3.0L                                         850          H8 (49) AGM 33, 50, 54
2016-13 V8/4.6L      Aux Battery             200          —                           2018    V6/3.0L      Aux Battery                        200          —
                                                                                      2017    V6/3.0L      Aux Battery                        200          —
2012-08 V8/5.5L                              850          H8 (49) AGM 33, 50, 54
Mercedes-Benz GL63 AMG                                                                Mercedes-Benz GLS550
                                                                                      2018    V8/4.6L                                         200          —
2016-13 V8/5.5L                              850          H8 (49) AGM 33, 50, 54
                                                                                      2018-17 V8/4.6L                                         850          H8 (49) AGM 33, 50, 54
2016-13 V8/5.5L      Aux Battery             200          —
                                                                                      2017    V8/4.6L      Aux Battery                        200          —
Mercedes-Benz GLA250                                                                  Mercedes-Benz GLS63 AMG
2019-15 L4/2.0L                              760          H6 (48) AGM   33, 54
                                                                                      2018-17 V8/5.5L                                         850          H8 (49) AGM 33, 50, 54
2019-15 L4/2.0L      Aux Battery             12 Ah        —
                                                                                      2018    V8/5.5L      Aux Battery                        200          —
Mercedes-Benz GLA45 AMG                                                               2017    V8/5.5L      Aux Battery                        200          —
2019-15 L4/2.0L                              760          H6 (48) AGM 33, 54          Mercedes-Benz Maybach S550
2019-15 L4/2.0L      Aux Battery             12 Ah        —
                                                                                      2017      V8/4.6L                                       760          H6 (48) AGM 33, 50, 54
Mercedes-Benz GLC300                                                                  2017      V8/4.6L    Aux Battery                        200          —
2018-16 L4/2.0L                              680          —                           2017      V8/4.6L    Opt                                850          H8 (49) AGM 33, 50, 54
2018-16 L4/2.0L      Opt                     760          H6 (48) AGM 33, 54          2017      V8/4.6L    Opt                                800          —
2018-16 L4/2.0L      Opt, Li-ion             78 Ah        —                           Mercedes-Benz Maybach S600
Mercedes-Benz GLC43 AMG                                                               2017-16 V12/6.0L                                        760          H6 (48) AGM 33, 54
2018-17 V6/3.0L                              760          H6 (48) AGM 33, 54          2017-16 V12/6.0L Aux Battery                            200          —
2018-17 V6/3.0L      Opt, Li-ion             78 Ah        —                           2017-16 V12/6.0L Opt                                    850          H8 (49) AGM 33, 54
Mercedes-Benz GLE300d                                                                 Mercedes-Benz Metris
2016      L4/2.1L    Aux, Dsl                200          —                        2018-16 L4/2.0L                                            680        —
2016      L4/2.1L    Dsl                     850          H8 (49) AGM 33, 50,MOYER_DEPO
                                                                             54              000367
                                                                                   2018-16 L4/2.0L Aux Battery                                200        —
                                                                                                                         See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                       59
                                                     ORIGINAL              GROUP SIZE                                                            ORIGINAL              GROUP SIZE
     YEAR      ENGINE                 OPTIONS       EQUIPMENT               (NOTES)             YEAR      ENGINE                 OPTIONS        EQUIPMENT               (NOTES)
                                                    CCA/RATING                                                                                  CCA/RATING
   Mercedes-Benz Metris (continued)                                                          Mercedes-Benz S320
   2018-16   L4/2.0L    Opt                         760          —                            1999-94 L6/3.2L                                   760          —
   2018      L4/2.0L    Opt                         760          H6 (48) AGM 33, 45, 54      Mercedes-Benz S350
   2018      L4/2.0L    Opt                         850          H8 (49) AGM 33, 45, 54       2013-12   V6/3.0L    Aux, Dsl                     200          —
   2017-16   L4/2.0L    Opt                         760          H6 (48) AGM 33, 50, 54       2013-12   V6/3.0L    Dsl w/AGM, BlueTEC           850          H8 (49) AGM 33, 50
   2017-16   L4/2.0L    Opt                         850          H8 (49) AGM 33, 50, 54       2006      V6/3.7L    AGM                          850          H8 (49) AGM 33, 50
   Mercedes-Benz ML250                                                                        1995-94   L6/3.4L                                 760          —
   2015      L4/2.1L    Aux, Dsl                    200          —                            1995-94   L6/3.4L    Dsl                          760          —
   2015      L4/2.1L    Dsl                         850          H8 (49) AGM 33, 50, 54      Mercedes-Benz S400
   Mercedes-Benz ML320                                                                        2013-10 V6/3.5L      Hybrid                       760          H6 (48) AGM 33, 50, 54
   2009-07   V6/3.0L    AGM, CDI/BlueTEC            95 Ah        H8 (49) AGM 33, 47, 50       2013-10 V6/3.5L      Hybrid, Aux                  200          —
   2009-07   V6/3.0L    Dsl                         760          —                            2012-10 V6/3.5L      Hybrid                       80 Ah        H7 (94R) AGM 33, 50, 54
   2003-98   V6/3.2L                                760          —                           Mercedes-Benz S420
   2003-98   V6/3.2L    AGM, Opt                    90-95 Ah     H8 (49) AGM 33, 50, 54
                                                                                              1999-94 V8/4.2L                                   825          —
   Mercedes-Benz ML350                                                                       Mercedes-Benz S430
   2015-12   V6/3.0L    Aux, Dsl                    200          —
                                                                                              2006-02 V8/4.3L      AGM                          850          H8 (49) AGM 33, 50
   2015-12   V6/3.5L    Aux Battery                 200          —
                                                                                              2005-02 V8/4.3L                                   825          H8 (49) AGM 33, 50
   2015-10   V6/3.0L    Dsl                         850          H8 (49) AGM 33, 50, 54
                                                                                              2001-00 V8/4.3L                                   760          —
   2015-08   V6/3.5L                                850          H8 (49) AGM 33, 50, 54
   2014-06   V6/3.5L    AGM                         95 Ah        H8 (49) AGM 33, 47, 50      Mercedes-Benz S450
   2012-10   V6/3.0L    Dsl, w/AGM                  95 Ah        H8 (49) AGM 33, 47, 50       2011-08 V8/4.6L      Aux Battery                  200          —
   2007-06   V6/3.5L                                950          —                            2011-08 V8/4.6L      On-Board Electrical System   850          H8 (49) AGM 33, 50, 54
   2007-06   V6/3.5L    AGM, 163/164                90 Ah        H8 (49) AGM 33, 47, 50                            Battery
   2005-04   V6/3.7L                                760          —                            2011-08 V8/4.6L      Starting Motor Battery       520          —
   2005-04   V6/3.7L                                760          —                           Mercedes-Benz S500
   2003      V6/3.7L                                825          —                            2006-02 V8/5.0L      AGM                          850          H8 (49) AGM 33, 50
   Mercedes-Benz ML400                                                                        2001-94 V8/5.0L                                   760          H8 (49) AGM 33, 50, 54
   2015      V6/3.0L                                850          H8 (49) AGM 33, 50, 54       2001-94 V8/5.0L                                   760          —
   2015      V6/3.0L    Aux Battery                 200          —                           Mercedes-Benz S55 AMG
   Mercedes-Benz ML430                                                                        2006      V8/5.5L                                 850          H8 (49) AGM 33, 50
   2001-99 V8/4.3L                                  825          —                            2005-04   V8/5.5L                                 825          H8 (49) AGM 33, 50
   Mercedes-Benz ML450                                                                        2003      V8/5.5L                                 760          —
   2011-10 V6/3.5L      AGM                         95 Ah        H8 (49) AGM 33, 47, 50       2002-01   V8/5.5L                                 825          H8 (49) AGM 33, 50
   2011-10 V6/3.5L      Hybrid                      760          —                           Mercedes-Benz S550
   Mercedes-Benz ML500                                                                        2017-15 V8/4.6L      On-Board Electrical System   850          H8 (49) AGM 33, 50, 54
   2007      V8/5.0L                                950          —                                                 Battery
   2007-06   V8/5.0L    AGM                         95 Ah        H8 (49) AGM 33, 47, 50       2017-12   V8/4.6L    Aux Battery                  200          —
   2006      V8/5.0L                                950          —                            2016      V8/4.6L    Starting Battery             520          —
   2005-02   V8/5.0L                                100 Ah       —                            2015-14   V8/4.6L    Opt                          105 Ah       —
   Mercedes-Benz ML55 AMG                                                                     2015      V8/4.6L    Starting Motor Battery       520          —
                                                                                              2014-12   V8/4.6L                                 850          H8 (49) AGM 33, 50
   2003-00 V8/5.5L                                  100 Ah —
                                                                                              2013-12   V8/4.6L    Opt                          80 Ah        H7 (94R) AGM 33, 50, 54
   Mercedes-Benz ML550                                                                        2011-07   V8/5.5L                                 850          H8 (49) AGM 33, 50
   2015-12   V8/4.6L                                760          —                            2011-07   V8/5.5L    Aux Battery                  200          —
   2015-12   V8/4.6L    Aux Battery                 200          —                            2011-07   V8/5.5L    Secondary Battery            35 Ah        —
   2014-12   V8/4.6L    AGM                         95 Ah        H8 (49) AGM 33, 47, 50       2008-07   V8/5.5L    Opt                          60 Ah        H5 (47) AGM 33, 50, 54
   2011-08   V8/5.5L                                760          —
                                                                                             Mercedes-Benz S550e
   2011-08   V8/5.5L    AGM                         95 Ah        H8 (49) AGM 33, 47, 50
                                                                                              2017-15 V6/3.0L      Hybrid                       760          H6 (48) AGM 33, 54
   Mercedes-Benz ML63 AMG                                                                     2017-15 V6/3.0L      Hybrid, Aux                  200          —
   2015-12   V8/5.5L                                850          H8 (49) AGM 33               2017-15 V6/3.0L      Hybrid, Opt                  850          H8 (49) AGM 33, 54
   2015-12   V8/5.5L    Aux Battery                 200          —
   2014-12   V8/5.5L    AGM                         95 Ah        H8 (49) AGM 33, 47, 50
                                                                                             Mercedes-Benz S600
   2011-07   V8/6.3L                                850          H8 (49) AGM 33               2017-15   V12/6.0L                                760          H6 (48) AGM 33, 54
   2011-07   V8/6.3L    AGM                         95 Ah        H8 (49) AGM 33, 47, 50       2017-15   V12/6.0L Aux Battery                    200          —
                                                                                              2017-15   V12/6.0L Opt                            850          H8 (49) AGM 33, 54
   Mercedes-Benz R320                                                                         2013-08   V12/5.5L Aux Battery                    95 Ah        H8 (49) AGM 33, 47, 50
   2009-07 V6/3.0L      Dsl                         850      H8 (49) AGM 33, 50, 54           2013-08   V12/5.5L Primary Battery                35 Ah        —
   2009    V6/3.0L      Dsl w/AGM, BlueTEC          90-95 Ah H8 (49) AGM 33, 47, 50           2013-07   V12/5.5L Aux Battery                    200          —
   Mercedes-Benz R350                                                                         2013-07   V12/5.5L On-Board Electrical System     850          H8 (49) AGM 33, 50, 54
   2013-12   V6/3.5L                                760      H6 (48) AGM 33, 50, 54                              Battery
   2013-12   V6/3.5L    Opt                         850      H8 (49) AGM 33, 50, 54           2007-03   V12/5.5L AGM                            95 Ah        H8 (49) AGM 33, 50
   2013-10   V6/3.0L    Dsl                         850      H8 (49) AGM 33, 50, 54           2006-03   V12/5.5L                                850          H8 (49) AGM 33, 50, 54
   2013-06   V6/3.5L    AGM                         90-95 Ah H8 (49) AGM 33, 47, 50           2002-01   V12/5.8L                                760          —
   2012-10   V6/3.0L    Dsl w/AGM, BlueTEC          90-95 Ah H8 (49) AGM 33, 47, 50           1999-94   V12/6.0L                                760          —
   2011-08   V6/3.5L                                850      H8 (49) AGM 33, 50, 54          Mercedes-Benz S63 AMG
   2007-06   V6/3.5L                                950      —
                                                                                             2018    V8/4.0L                                    760          H6 (48) AGM 33, 50, 54
   Mercedes-Benz R500                                                                        2018    V8/4.0L       Aux Battery                  200          —
   2007-06 V8/5.0L                                  950      —                               2018    V8/4.0L       Opt                          850          H8 (49) AGM 33, 50, 54
   2007-06 V8/5.0L      AGM                         90-95 Ah H8 (49) AGM 33, 47, 50          2018    V8/4.0L       Opt, Li-ion                  78 Ah        —
   Mercedes-Benz R63 AMG                                                                     2017-14 V8/5.5L                                    760          H6 (48) AGM 33, 50, 54
   2007      V8/6.3L                                      850      H8 (49) AGM 33, 50, 54    2017-14 V8/5.5L       Opt, Li-ion                  78 Ah        —
   2007      V8/6.3L AGM                                            MOYER_DEPO
                                                          90-95 Ah H8 (49) AGM 33, 47, 50   000368
                                                                                             2017-11 V8/5.5L       Aux Battery                  200          —
   See page 80 for Footnotes. Selection may vary by warehouse.
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60                                                                                         Automotive/Light Truck
                                                   ORIGINAL              GROUP SIZE                                                                      ORIGINAL              GROUP SIZE
  YEAR      ENGINE                 OPTIONS        EQUIPMENT               (NOTES)                 YEAR      ENGINE                  OPTIONS             EQUIPMENT               (NOTES)
                                                  CCA/RATING                                                                                            CCA/RATING
Mercedes-Benz S63 AMG (continued)                                                               Mercedes-Benz SL63 AMG (continued)
2017      V8/5.5L    Opt                          850          H8 (49) AGM 33, 50, 54           2011-09 V8/6.3L      Aux Battery                        70 Ah        H6 (48) AGM 33, 50
2016-11   V8/5.5L                                 850          H8 (49) AGM 33, 50, 54           2011-09 V8/6.3L      Starting Battery                   35 Ah        —
2015-14   V8/5.5L    Opt                          105 Ah       —                                Mercedes-Benz SL65 AMG
2014-11   V8/5.5L    AGM                          95 Ah        H8 (49) AGM 33, 47, 50           2017-13   V12/6.0L                                      850          H8 (49) AGM 33, 50, 54
2014      V8/5.5L    Opt                          850          H8 (49) AGM 33, 50, 54           2017-13   V12/6.0L
                                                                                                                 Aux Battery                            200          —
2013-11   V8/5.5L    Opt                          80 Ah        H7 (94R) AGM 33, 50, 54          2016      V12/6.0L
                                                                                                                 Starting Battery                       520          —
2010-09   V8/6.3L    AGM                          95 Ah        H8 (49) AGM 33, 47, 50           2015      V12/6.0L
                                                                                                                 Starting Motor Battery                 520          —
2010-08   V8/6.3L                                 850          H8 (49) AGM 33, 50, 54           2015-13   V12/6.0L
                                                                                                                 Aux Battery                            12 Ah        —
2010-08   V8/6.3L    Aux Battery                  200          —                                2015-13   V12/6.0L
                                                                                                                 On-Board Electrical System             760          H6 (48) AGM 33, 50, 54
Mercedes-Benz S65 AMG                                                                                            Battery
2017-15   V12/6.0L                                760          H6 (48) AGM 33, 54               2011-05 V12/6.0L AGM                                    70 Ah        H6 (48) AGM 33, 47
2017-15   V12/6.0L
                 Opt                              850          H8 (49) AGM 33, 54               2011-05 V12/6.0L On-Board Electrical System             760          H6 (48) AGM 33, 50, 54
2017-15   V12/6.0L
                 Opt, Li-ion                      78 Ah        —                                                 Battery
2017-07   V12/6.0L
                 Aux Battery                      200          —                                Mercedes-Benz SLC300
2013-08   V12/6.0L
                 AGM, Secondary Battery           95 Ah        H8 (49) AGM 33, 47, 50           2018    L4/2.0L                                         800          —
2013-08   V12/6.0L
                 Primary Battery                  35 Ah        —                                2018-17 L4/2.0L      Aux Battery                        200          —
2013-07   V12/6.0L
                 On-Board Electrical System       850          H8 (49) AGM 33, 50, 54           2017    L4/2.0L                                         760          H6 (48) AGM 33, 54
                 Battery                                                                        Mercedes-Benz SLC43 AMG
2007-06 V12/6.0L AGM                              95 Ah        H8 (49) AGM 33, 47, 50
                                                                                                2017      V6/3.0L                                       760          H6 (48) AGM 33, 54
2006    V12/6.0L                                  850          H8 (49) AGM 33, 50, 54
                                                                                                2017      V6/3.0L    Aux Battery                        200          —
Mercedes-Benz SL320                                                                             Mercedes-Benz SLK230
1997-94 L6/3.2L                                   760          —
                                                                                                2004-02 L4/2.3L                                         690          —
Mercedes-Benz SL400                                                                             2001-00 L4/2.3L                                         760          —
2016-15 V6/3.0L                                   850          H8 (49) AGM   33, 54
                                                                                                1999-98 L4/2.3L                                         690          H6 (48)
2016-15 V6/3.0L      Aux Battery                  200          —                                Mercedes-Benz SLK250
Mercedes-Benz SL450                                                                             2015      L4/1.8L    Opt                                80 Ah        H7 (94R) AGM 33, 50, 54
2017      V6/3.0L                                 850          H8 (49) AGM 33, 50, 54           2015-12   L4/1.8L                                       760          H6 (48) AGM 33, 50, 54
2017      V6/3.0L    Aux Battery                  200          —                                2015-12   L4/1.8L    Aux Battery                        200          —
Mercedes-Benz SL500                                                                             2014-13   L4/1.8L                                       80 Ah        H7 (94R) AGM 33, 50, 54
2006-03 V8/5.0L      AGM                          70 Ah        H6 (48) AGM 33, 47, 50           2012      L4/1.8L                                       80 Ah        H7 (94R) AGM 33, 50, 56
2006-03 V8/5.0L      On-Board Electrical System   760          H6 (48) AGM 33, 50, 54           Mercedes-Benz SLK280
                     Battery                                                                    2008-06 V6/3.0L                                         680          —
2002-94 V8/5.0L                                   760          —                                2006    V6/3.0L                                         760          —
Mercedes-Benz SL55 AMG                                                                          Mercedes-Benz SLK300
2008-03 V8/5.5L      AGM                          70 Ah        H6 (48) AGM 33, 47, 50           2016    L4/2.0L                                         760          H6 (48) AGM 33, 54
2008-03 V8/5.5L      On-Board Electrical System   760          H6 (48) AGM 33, 50, 54           2016    L4/2.0L      Aux Battery                        200          —
                     Battery                                                                    2011-09 V6/3.0L                                         680          —
2008-03 V8/5.5L      Secondary Battery            35 Ah        —                                Mercedes-Benz SLK32 AMG
Mercedes-Benz SL550                                                                             2004-02 V6/3.2L                                         690          —
2017      V8/4.6L                                 850          H8 (49) AGM 33, 50, 54           Mercedes-Benz SLK320
2017-13   V8/4.6L    Aux Battery                  200          —                                2004-01 V6/3.2L                                         690          —
2016      V8/4.6L    Aux Electronics Battery      850          H8 (49) AGM 33, 50, 54
2015      V8/4.6L    Starting Motor Battery       520          —
                                                                                                Mercedes-Benz SLK350
2015-13   V8/4.6L    On-Board Electrical System   850          H8 (49) AGM 33, 50, 54           2016-12   V6/3.5L                                       760          H6 (48) AGM 33, 50, 54
                     Battery                                                                    2016-12   V6/3.5L    Aux Battery                        200          —
2014-13   V8/4.6L    Starting Motor Battery       520          —                                2015-12   V6/3.5L    Opt                                80 Ah        H7 (94R) AGM 33, 50, 54
                                                                                                2015      V6/3.5L                                       680          —
2012-07   V8/5.5L    AGM, In trunk                70 Ah        H6 (48) AGM 33, 47
                                                                                                2011-05   V6/3.5L                                       480          H5 (47) 50, 54
2012-07   V8/5.5L    AGM, Opt                     95 Ah        H8 (49) AGM 33, 47
                                                                                                2011-05   V6/3.5L                                       680          —
2012-07   V8/5.5L    On-Board Electrical System   760          H6 (48) AGM 33, 50, 54
                     Battery                                                                    Mercedes-Benz SLK55 AMG
2012-07 V8/5.5L      Secondary Battery            35 Ah        —                                2016      V8/5.5L                                       680          H6 (48) AGM 33, 50
Mercedes-Benz SL600                                                                             2016-12   V8/5.5L    Aux Battery                        200          —
                                                                                                2015-12   V8/5.5L                                       680          —
2011-04 V12/5.5L AGM                              70 Ah        H6 (48) AGM 33, 47
                                                                                                2015-12   V8/5.5L    Opt                                80 Ah        H7 (94R) AGM 33, 50, 54
2011-04 V12/5.5L On-Board Electrical System       760          H6 (48) AGM 33, 50, 54
                                                                                                2011-05   V8/5.5L                                       74 Ah        —
                 Battery
                                                                                                2006      V8/5.5L                                       760          —
2009-05 V12/5.5L Secondary Battery                35 Ah        —
                                                                                                2006      V8/5.5L    Opt                                760          —
2002-94 V12/6.0L                                  760          —
                                                                                                2005      V8/5.5L                                       825          —
Mercedes-Benz SL63 AMG                                                                          Mercedes-Benz SLR McLaren
2017      V8/5.5L                                 860          H8 (49) AGM 33, 50, 54
                                                                                                2009-06 V8/5.5L      On-Board Electrical System         760          —
2017-13   V8/5.5L    Aux Battery                  200          —
                                                                                                                     Battery
2016      V8/5.5L    Starting Battery             520          —
                                                                                                2009-05 V8/5.5L      Starting Motor Battery             520          —
2016-13   V8/5.5L                                 850          H8 (49) AGM 33, 50, 54
                                                                                                2005    V8/5.5L      On-Board Electrical System         825          —
2015-13   V8/5.5L    Aux Battery                  12 Ah        —
                                                                                                                     Battery
2015-13   V8/5.5L    On-Board Electrical System   95 Ah        H8 (49) AGM 33, 50, 54
                     Battery, Opt                                                               Mercedes-Benz SLS AMG
2015      V8/5.5L    On-Board Electrical System   760          H6 (48) AGM 33, 50, 54           2015    V8/6.3L                                         760          H6 (48) AGM 33, 50, 54
                     Battery                                                                    2014-11 V8/6.3L                                         70 Ah        H6 (48) AGM 33, 50, 54
2015    V8/5.5L      Starting Motor Battery       520          —                                Mercedes-Benz Sprinter 2500
2012-09 V8/6.3L      On-Board Electrical System   760          H6 (48) AGM 33, 50, 54           2017      L4/2.1L    Dsl, Opt                           850        H8 (49) AGM 33, 50, 54
                     Battery                                                          MOYER_DEPO
                                                                                            2017  000369
                                                                                                 V6/3.0L Dsl, Opt                                       850        H8 (49) AGM 33, 50, 54
                                                                                                                                   See page 80 for Footnotes. Selection may vary by warehouse.
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 420Mercury
                                                                                 of
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   Automotive/Light Truck                                                                                                                                              61
                                                          ORIGINAL              GROUP SIZE                                                    ORIGINAL          GROUP SIZE
     YEAR      ENGINE                OPTIONS             EQUIPMENT               (NOTES)           YEAR      ENGINE                OPTIONS   EQUIPMENT           (NOTES)
                                                         CCA/RATING                                                                          CCA/RATING
   Mercedes-Benz Sprinter 2500 (continued)                                                      Mercury Cyclone
   2017-14   L4/2.1L     Aux, Dsl                        200          —                          1969-68   V8/6.4L                           415          27F
   2017-14   L4/2.1L     Dsl                             680          —                          1968      V8/7.0L                           435          27F
   2017-14   L4/2.1L     Dsl, Opt                        760          H6 (48) AGM 33, 50, 54     1967-65   V8/4.7L                           N/A          24F
   2017-14   L4/2.1L     Dsl, Opt                        760          —                          1967      V8/6.4L                           N/A          27F
   2017-10   V6/3.0L     Aux, Dsl                        200          —                          1966      V8/6.4L    AT                     N/A          24F
   2017-10   V6/3.0L     Dsl                             680          —                          1965      V8/7.0L                           N/A          27F
   2017-10   V6/3.0L     Dsl, Opt                        760          H6 (48) AGM 33, 50, 54     1964      L6/3.3L                           N/A          —
   2017-10   V6/3.0L     Dsl, Opt                        760          —                          1964      L6/3.3L    Opt                    N/A          27F
   2016      V6/3.0L                                     850          —                          1964      V8/4.3L                           N/A          —
   2016-14   L4/2.1L                                     850          —                          1964      V8/4.3L    Opt                    N/A          27F
   2015-10   V6/3.0L     Dsl                             760          —                          1964      V8/4.7L    Opt                    N/A          27F
   Mercedes-Benz Sprinter 3500                                                                  Mercury Grand Marquis
   2017      L4/2.1L     Dsl, Opt                        850          H8 (49) AGM 33, 50, 54     2011-09   V8/4.6L    HD or PPkg             750          65
   2017      V6/3.0L     Dsl, Opt                        850          H8 (49) AGM 33, 50, 54     2011-98   V8/4.6L                           650          65
   2017-14   L4/2.1L     Aux, Dsl                        200          —                          2006-97   V8/4.6L    Can & Opt              750          65
   2017-14   L4/2.1L     Dsl                             680          —                          1997      V8/4.6L    US                     540          59
   2017-14   L4/2.1L     Dsl, Opt                        760          H6 (48) AGM 33, 50, 54     1996      V8/4.6L    Late                   540          59
   2017-14   L4/2.1L     Dsl, Opt                        760          —                          1996-95   V8/4.6L    PPkg                   850          65
   2017-10   V6/3.0L     Aux, Dsl                        200          —                          1996-93   V8/4.6L    US, Opt or Can         750          65
   2017-10   V6/3.0L     Dsl                             680          —                          1996      V8/4.6L    US, Early              540          58
   2017-10   V6/3.0L     Dsl, Opt                        760          H6 (48) AGM 33, 50, 54     1995-93   V8/4.6L    US                     540          58
   2017-10   V6/3.0L     Dsl, Opt                        760          —                          1993-92   V8/4.6L    w/HWS                  850          65
   2016      V6/3.0L                                     850          —                          1992      V8/4.6L    Ex HWS                 650          65
   2016-14   L4/2.1L                                     850          —                          1991      V8/5.0L                           650          65
   2015      V6/3.0L     Dsl                             850          —                          1991-90   V8/5.0L    w/HWS                  850          65
   2014-10   V6/3.0L     Dsl                             760          —                          1990      V8/5.0L                           540          58
   Mercury Capri                                                                                 1990      V8/5.0L    Opt                    650          65
   1994    L4/1.6L                                       460          35                        Mercury Marauder
   1993-91 L4/1.6L                                       390          35                         2004-03 V8/4.6L                             650          65
   Mercury Colony Park                                                                           1967    V8/6.4L      AT                     N/A          24F
   1991      V8/5.0L                                     650          65                        Mercury Mariner
   1990      V8/5.0L                                     540          58                         2011-10   V6/3.0L                           590          96R
   Mercury Comet                                                                                 2011-09   L4/2.5L    Hybrid                 500          96R
   1969      L6/4.1L                                     290          26R                        2009-05   V6/3.0L                           590          40R
   1969      L6/4.1L     Opt                             350          24F                        2009      L4/2.5L                           590          40R
   1969      V8/5.8L                                     290          26R                        2008-06   L4/2.3L    Hybrid                 500          96R
   1969      V8/5.8L     AT, Opt                         350          24F                        2008-05   L4/2.3L                           590          40R
   1969      V8/5.8L     Opt                             415          27F                       Mercury Milan
   1969      V8/5.8L     Opt                             415          27F                        2011-10   L4/2.5L                           500          96R
   1969      V8/6.4L     AT, Opt                         350          24F                        2011-10   L4/2.5L    Hybrid                 390          —
   1969      V8/6.4L     Opt                             415          27F                        2011-10   V6/3.0L                           500          96R
   1969      V8/6.4L     Opt                             415          27F                        2009-08   L4/2.3L                           500          96R
   1969-68   V8/5.0L                                     290          —                          2009      V6/3.0L                           590          96R
   1969-68   V8/5.0L                                     290          26R                        2008      V6/3.0L                           500          96R
   1969-68   V8/5.0L     Opt                             350          24F                        2007-06   L4/2.3L                           590          40R
   1969-68   V8/6.4L                                     290          26R                        2007-06   V6/3.0L                           590          40R
   1968      L6/3.3L     Opt                             350          24F                       Mercury Montego
   1968      V8/6.4L     Opt                             350          24F                        2007    V6/3.0L                             540          36R
   1968-64   V8/4.7L                                     250          26R                        2006-05 V6/3.0L                             600          36R
   1967-66   V8/6.4L                                     250          26R                       Mercury Monterey
   1967-66   V8/6.4L     Opt                             N/A          24F
                                                                                                 2007    V6/4.2L                             750          65
   1967-65   V8/4.7L     Opt                             N/A          24F
                                                                                                 2006-04 V6/4.2L                             540          59
   Mercury Cougar                                                                                2006-04 V6/4.2L      Opt                    750          65
   2002-99 L4/2.0L                                        590         40R                       Mercury Mountaineer
   2002-99 V6/2.5L                                        590         40R
                                                                                                 2010-02 V8/4.6L                             650          65
   1997      V6/3.8L                                      540         59
                                                                                                 2010-98 V6/4.0L                             650          65
   1997-94 V6/3.8L Can & Opt                              650         65
                                                                                                 2001-97 V8/5.0L                             650          65
   1997-94 V8/4.6L                                        650         65
   1996      V6/3.8L Early                                540         58                        Mercury Mystique
   1996      V6/3.8L US, Late                             540         59                         2000-98   L4/2.0L                           590          40R
   1995-94 V6/3.8L                                        540         58                         2000-98   V6/2.5L                           590          40R
   1993      V6/3.8L Opt                                  650         65                         1997-95   L4/2.0L                           590          96R
   1993      V6/3.8L US                                   540         58                         1997-95   L4/2.0L    Opt                    650          —
   1993-91 V8/5.0L                                        650         65                         1997-95   V6/2.5L                           650          —
   1993-90 V6/3.8L Can or Cold Climate Pkg                650         65                        Mercury Sable
   1992-90 V6/3.8L                                        460         58                        2009-08 V6/3.5L                              540          59
   1992-90 V6/3.8L Opt                                    540         58                        2005    V6/3.0L       HD & Can, DOHC         600          36R
   1990      V6/3.8L S/C                                  650         65                        2005    V6/3.0L       OHV                    600          36R
   1969      V8/5.0L                                      330         —                         2004    V6/3.0L                              540          36R
   1968      V8/5.0L                                      325         24F                       2004    V6/3.0L       US                     540          36R
   1968-67 V8/4.7L                                        325           MOYER_DEPO
                                                                      24F                      000370
                                                                                                2004    V6/3.0L       US, Opt or Can         600          36R
   See page 80 for Footnotes. Selection may vary by warehouse.
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62                                                                                         Automotive/Light Truck
                                             ORIGINAL               GROUP SIZE                                                                     ORIGINAL                GROUP SIZE
  YEAR      ENGINE                OPTIONS   EQUIPMENT                (NOTES)                  YEAR      ENGINE                  OPTIONS           EQUIPMENT                 (NOTES)
                                            CCA/RATING                                                                                            CCA/RATING
Mercury Sable (continued)                                                                   Mini Cooper Countryman (continued)
2003-02   V6/3.0L    HD & Can, DOHC         600          36R                                2016-11   L4/1.6L    Opt                              680          —
2003-02   V6/3.0L    OHV                    600          36R                                2016-11   L4/1.6L    Opt                              570          H6 (48) 50, 54, 55, 56
2001      V6/3.0L                           540          36R                                2015      L4/1.6L                                     480          —
2001      V6/3.0L    US                     540          36R                                2015-13   L4/1.6L    Opt                              570          H6 (48) 18, 50, 54, 56
2001      V6/3.0L    US, Opt or Can         600          36R                                2013      L4/1.6L    w/o AGM                          470          H5 (47)
2000      V6/3.0L    HD & Can, DOHC         600          36R                                2012-11   L4/1.6L                                     570          H6 (48) 50, 54, 55, 56
2000-96   V6/3.0L                           540          —                                  Mini Cooper Paceman
2000-96   V6/3.0L    SOHC                   540          —                                  2016-13   L4/1.6L                                     480          H5 (47) 50, 54, 55, 56
1999-96   V6/3.0L    HD & Can, DOHC         650          36R                                2016-13   L4/1.6L    Opt                              680          —
1995-93   V6/3.0L    Opt                    650          65                                 2016-13   L4/1.6L    Opt                              570          H6 (48) 50, 54, 55, 56
1995-90   V6/3.0L                           540          58                                 2015      L4/1.6L                                     480          —
1995-90   V6/3.8L                           650          65                                 2015      L4/1.6L    Opt                              570          H6 (48) 18, 54, 55, 56
1995-90   V6/3.8L    HD, w/HWS or PPkg      850          65                                 2014-13   L4/1.6L    Opt                              570          H6 (48) 18, 50, 54, 56
1992-91   V6/3.0L    Ex HWS or PPKG         540          58                                 2013      L4/1.6L    w/o AGM                          470          H5 (47)
1992-91   V6/3.0L    HD, w/HWS or PPkg      850          65                                 Mitsubishi 3000GT
1990      V6/3.0L    Opt                    850          65                                 1999-96 V6/3.0L                                       520          25
Mercury Tracer, Topaz                                                                       1995-94 V6/3.0L                                       430          24
1999-98   L4/2.0L                           500          58                                 1993-91 V6/3.0L                                       490          24
1997      L4/2.0L                           540          58                                 Mitsubishi Diamante
1996-95   L4/1.8L                           540          35                                 2004      V6/3.5L                                     600          24
1996-94   L4/1.9L                           460          35                                 2003-99   V6/3.5L                                     520          86
1994-92   V6/3.0L                           460          58                                 1998-97   V6/3.5L                                     490          24
1994-92   V6/3.0L    Opt                    540          58                                 1996-92   V6/3.0L                                     490          24
1994-91   L4/1.8L                           460          35                                 Mitsubishi Eclipse
1994-91   L4/2.3L                           540          58
                                                                                            2012-06   V6/3.8L                                     550          24
1993-92   L4/1.9L                           390          35
                                                                                            2012-00   L4/2.4L                                     525          86
1993-92   L4/1.9L    Opt                    460          35
                                                                                            2005-00   V6/3.0L                                     525          86
1993-92   L4/2.3L    AT & Opt               540          58
                                                                                            1999      L4/2.0L                                     525          86
1993      L4/1.9L    MT                     460          58
                                                                                            1999-96   L4/2.4L                                     430          86
1992-90   L4/2.3L    MT                     460          58                                 1999-95   L4/2.0L    MT                               430          86
1991      L4/1.9L                           460          35                                 1999-95   L4/2.0L    Turbo, AT                        525          86
1990      L4/1.6L                           390          35                                 1998-95   L4/2.0L    AT                               525          86
1990      L4/2.3L    AT                     540          58                                 1994-90   L4/1.8L                                     430          86
Mercury Villager                                                                            1994-90   L4/2.0L                                     430          86
2002-99   V6/3.3L                           450          35                                 Mitsubishi Endeavor
2002-99   V6/3.3L    Can & Opt              525          24F                                2011-04 V6/3.8L                                       550          24
1998-94   V6/3.0L    Can & Opt              525          24F
1998-94   V6/3.0L    US                     450          35
                                                                                            Mitsubishi Expo
1993      V6/3.0L    Can & Opt              585          24F                                1995-92 L4/2.4L                                       490          24
1993      V6/3.0L    US                     350          35                                 Mitsubishi Expo LRV
Mini Cooper                                                                                 1994-93 L4/2.4L                                       490          24
2017-15   L3/1.5L                           760          H6 (48) AGM 33, 50, 54, 55, 56     1994-92 L4/1.8L                                       360          25
2017-15   L3/1.5L    Opt                    800          H7 (94R) AGM 33, 50, 54, 55, 56    Mitsubishi Galant
2017-15   L4/2.0L                           760          H6 (48) AGM 33, 50, 54, 55, 56     2012-99   L4/2.4L                                     525          86
2017-15   L4/2.0L    Opt                    800          H7 (94R) AGM 33, 50, 54, 55, 56    2009-04   V6/3.8L                                     550          24
2015      L4/1.6L                           480          —                                  2003-99   V6/3.0L                                     525          86
2015-14   L4/2.0L                           800          H7 (94R) AGM 33, 50, 54, 55, 56    1998-94   L4/2.4L                                     490          —
2015-13   L4/1.6L    Opt                    570          H6 (48) 18, 50, 54, 56             1993-90   L4/2.0L                                     435          51
2015-07   L4/1.6L                           480          H5 (47) 50, 54, 55, 56             Mitsubishi i-MiEV
2015-07   L4/1.6L    Opt                    680          —                                  2017-12              Electric                         370          —
2015-07   L4/1.6L    Opt                    570          H6 (48) 50, 54, 55, 56             Mitsubishi Lancer
2014      L3/1.5L                           800          H7 (94R) AGM 33, 50, 54, 55, 56    2017-04   L4/2.4L                                     520          35
2013      L4/1.6L    w/o AGM                470          H5 (47)                            2017-03   L4/2.0L                                     520          35
2012-10   L4/1.6L                           570          H6 (48) 50, 54, 55, 56             2015      L4/2.0L    Evolution                        700          —
2011-10   L4/1.6L    Starting Battery       570          H6 (48) 50, 54, 55, 56             2015-13   L4/2.0L    Evolution                        700          —
2010      L4/1.6L    Opt, AGM               480          H5 (47) AGM 9, 33, 50, 54          2015-11   L4/2.0L    Ex Evolution                     520          35
2009-02   L4/1.6L    w/o AGM                480          H5 (47) 50                         2013-08   L4/2.0L    Evolution                        700          —
2009      L4/1.6L    Turbo                  480          H5 (47) 50                         2012-11   L4/2.4L    Ex Evolution                     520          35
2008-02   L4/1.6L    Turbo or SC            480          H5 (47) 50, 54, 55, 56             2009      L4/2.4L    GTS                              520          35
2008-02   L4/1.6L    w/o Turbo or S/C       480          H5 (47) 50, 54, 55, 56             2009-08   L4/2.0L    ES, DE                           520          35
2005-04   L4/1.6L    Naturally Aspirated    480          H5 (47) 50                         2007      L4/2.0L                                     550          35
Mini Cooper Clubman                                                                         2002      L4/2.0L                                     435          35
2017    L4/2.0L                             800          H7 (94R) AGM 33, 50, 54, 55, 56    Mitsubishi Mighty Max
2017-16 L3/1.5L                             760          H6 (48) AGM 33, 50, 54, 55, 56  1996-95 L4/2.4L                                          435          51
2016    L4/2.0L                             760          H6 (48) AGM 33, 50, 54, 55, 56  1994-91 L4/2.4L RWD, Can                                 490          24
Mini Cooper Countryman                                                                   1994-91 L4/2.4L RWD, US, 4WD All                         435          51
2017      L3/1.5L                           760          H6 (48) AGM 33, 50, 54, 55, 56  1994-90 V6/3.0L                                          490          24
2017      L3/1.5L    Opt                    800          H7 (94R) AGM 33, 50, 54, 55, 56 1992-91 L4/2.4L Opt                                      580          24
2017      L4/2.0L                           760          H6 (48) AGM 33, 50, 54, 55, 56  1992-91 V6/3.0L Opt                                      580          24
2017      L4/2.0L    Opt                    800          H7 (94R) AGM 33, 50, 54, 55, 56 1990    L4/2.4L Can                                      580          24
2016-11   L4/1.6L                           480          H5 (47) 50, 54, 55, 56MOYER_DEPO1990      000371
                                                                                                 L4/2.4L US                                       435          51
                                                                                                                             See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                         63
                                                          ORIGINAL          GROUP SIZE                                                   ORIGINAL          GROUP SIZE
     YEAR      ENGINE                OPTIONS             EQUIPMENT           (NOTES)         YEAR      ENGINE                 OPTIONS   EQUIPMENT           (NOTES)
                                                         CCA/RATING                                                                     CCA/RATING
   Mitsubishi Mirage                                                                      Nissan 300ZX (continued)
   2017-14   L3/1.2L                                     435          35                   1992-90 V6/3.0L      AT                      585          24F
   2015-14   L3/1.2L                                     360          35                   1992-90 V6/3.0L      MT                      415          24F
   2002-98   L4/1.5L                                     435          35                  Nissan 350Z
   2002-98   L4/1.8L                                     435          35                   2009-03 V6/3.5L                              585          35
   1997      L4/1.5L                                     435          51R                 Nissan 370Z
   1997      L4/1.8L                                     435          51R                  2018-09 V6/3.7L                              585          35
   1996-93   L4/1.5L                                     430          51
                                                                                          Nissan Altima
   1996-93   L4/1.8L                                     430          51
                                                                                           2018-15   L4/2.5L                            550          35
   1992-91   L4/1.6L                                     355          25
                                                                                           2018-07   V6/3.5L                            550          35
   1992-90   L4/1.5L                                     355          25
                                                                                           2014-07   L4/2.5L    Ex Hybrid               550          35
   Mitsubishi Mirage G4                                                                    2011-07   L4/2.5L    Hybrid                  700          —
   2017      L3/1.2L                                     435          35                   2006-02   L4/2.5L                            550          24F
   Mitsubishi Montero                                                                      2006-02   V6/3.5L                            550          24F
   2006-03   V6/3.8L                                     585          24F                  2001-96   L4/2.4L                            550          24F
   2002-01   V6/3.5L                                     585          24F                  1995-93   L4/2.4L    Can & Opt               585          24F
   2002      V6/3.5L     Opt                             675          27F                  1995-93   L4/2.4L    US                      350          35
   2000-94   V6/3.5L                                     490          24                  Nissan Armada
   1996-90   V6/3.0L                                     490          24                   2018-17 V8/5.6L                              780          27
   Mitsubishi Montero Sport                                                                2015-05 V8/5.6L      TTPkg                   710          27F
   2004-03   V6/3.5L                                     585          24                   2015-05 V8/5.6L      w/o TTPkg               650          24F
   2003-99   V6/3.5L     Opt                             585          24                  Nissan Axxess
   2003-97   V6/3.0L                                     520          25                   1992-90 L4/2.4L      Can                     415          24F
   2003-97   V6/3.0L     Opt                             585          24                   1990    L4/2.4L      US                      350          35
   2001-99   V6/3.5L                                     520          25                  Nissan Cube
   1999-97   L4/2.4L                                     520          25
                                                                                           2014-09 L4/1.8L                              405          35
   1999-97   L4/2.4L     Opt                             585          24
                                                                                           2014-09 L4/1.8L                              410          35
   Mitsubishi Outlander                                                                   Nissan D21
   2017-07   V6/3.0L                                     585          24F
                                                                                           1994      L4/2.4L                            530          24
   2017-03   L4/2.4L                                     520          35
                                                                                           1994      V6/3.0L                            530          24
   2013-12   V6/3.0L                                     520          35
                                                                                           1994-92   L4/2.4L    US                      360          25
   2006      L4/2.4L     Opt                             620          24F
                                                                                           1994-92   V6/3.0L    US                      360          25
   2005-04   L4/2.4L                                     620          24F
                                                                                           1993-92   L4/2.4L    Can                     450          24
   Mitsubishi Outlander Sport                                                              1993-92   V6/3.0L    Can                     450          27
   2017-15   L4/2.4L                                     520          35                   1991-90   L4/2.4L    Can & Opt               415          24
   2017-11   L4/2.0L                                     520          35                   1991-90   L4/2.4L    US                      355          25
   2016-15   L4/2.0L                                     530          35                   1991-90   V6/3.0L    Can & Opt               450          27
   2016-15   L4/2.4L                                     530          35                   1991-90   V6/3.0L    US                      355          25
   Mitsubishi Precis                                                                      Nissan Frontier
   1994-90 L4/1.5L                                       420          25                   2018-11   L4/2.5L                            550          35
   Mitsubishi Raider                                                                       2018-11   V6/4.0L                            550          35
   2009-06   V6/3.7L                                     600          65                   2010      L4/2.5L                            575          24F
   2007-06   V8/4.7L                                     600          65                   2010      V6/4.0L                            575          24F
   2006      V6/3.7L     Opt                             650          65                   2009-05   L4/2.5L                            550          24F
   2006      V8/4.7L     Opt                             650          65                   2009-05   V6/4.0L                            550          24F
   Mitsubishi RVR                                                                          2004      V6/3.3L                            N/A          24
   2017-15 L4/2.4L                                       520          35                   2004-03   L4/2.4L                            490          25
   2017-11 L4/2.0L                                       520          35                   2004-03   L4/2.4L    Opt                     575          24
                                                                                           2004-03   V6/3.3L                            575          24
   Mitsubishi Sigma                                                                        2002-01   L4/2.4L    Can & Opt               550          24
   1990      V6/3.0L                                     490          24                   2002-99   V6/3.3L    Can                     550          24
   Mitsubishi Van                                                                          2002-99   V6/3.3L    US                      490          25
   1990      L4/2.4L                                     435          51                   2002-98   L4/2.4L    Can                     550          24
   Mobility Ventures MV-1                                                                  2002-98   L4/2.4L    US                      490          25
   2017-15 V6/3.7L                                       750          65                  Nissan GT-R
   2015    V8/4.6L                                       760          65                   2019-09 V6/3.8L                              410          51R
   2014    V8/4.6L                                       750          65                  Nissan Juke
   Nissan 200SX                                                                            2017-11 L4/1.6L                              570          35
   1998-95   L4/1.6L     Can                             550          24F                  2015-11 L4/1.6L                              550          35
   1998-95   L4/1.6L     US                              490          35                  Nissan Leaf
   1998-95   L4/2.0L     Can & Opt                       550          24F                  2019-18              Electric                410          51R
   1998-95   L4/2.0L     US                              490          35                   2017-11              Electric                410          51R
   Nissan 240SX                                                                           Nissan Maxima
   1998-90 L4/2.4L       Can & Opt                       415          24                  2018-16 V6/3.5L                               550          35
   1998-90 L4/2.4L       US                              360          25                  2014-09 V6/3.5L                               550          35
   Nissan 300ZX                                                                           2008-04 V6/3.5L                               550          24F
   1996-93 V6/3.0L AT                                     575         24F                 2003    V6/3.5L                               445          24F
   1996-93 V6/3.0L Conv                                   550         35                  2002    V6/3.5L                               585          24F
   1996-93 V6/3.0L Ex Conv w/MT                           415         24F                 2001-00 V6/3.0L                               585          24F
   1996      V6/3.0L Ex Conv                              575          MOYER_DEPO
                                                                      24F                000372
                                                                                          1999-95 V6/3.0L       Calif & Can             585          24F
   See page 80 for Footnotes. Selection may vary by warehouse.
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64                                                                             Automotive/Light Truck
                                               ORIGINAL           GROUP SIZE                                                            ORIGINAL              GROUP SIZE
  YEAR      ENGINE                  OPTIONS   EQUIPMENT            (NOTES)         YEAR      ENGINE                OPTIONS             EQUIPMENT               (NOTES)
                                              CCA/RATING                                                                               CCA/RATING
Nissan Maxima (continued)                                                        Nissan Pickup (continued)
1999-95   V6/3.0L    US, Ex Calif             360          35                    1995      V6/3.0L    Can                              525          24
1994-90   V6/3.0L                             350          35                    1995      V6/3.0L    US                               360          25
1994-90   V6/3.0L    Can                      585          24F                   Nissan Quest
1994-90   V6/3.0L    Can & Opt                625          27F                   2017-11   V6/3.5L                                     550          24F
Nissan Micra                                                                     2009-04   V6/3.5L                                     550          24F
2019-15 L4/1.6L      Can                      470          —                     2002-99   V6/3.3L                                     450          35
Nissan Murano                                                                    2002-99   V6/3.3L    Can & Opt                        525          24F
2018-16   V6/3.5L                             550          35                    1998-93   V6/3.0L    Can & Opt                        525          24F
2016      L4/2.5L    Hybrid                   410          51R                   1998-93   V6/3.0L    US                               450          35
2016-09   V6/3.5L                             585          35                    Nissan Rogue
2007      V6/3.5L    Ex Intelligent Key       575          24F                   2017    L4/2.5L                                       550          35
2007      V6/3.5L    Intelligent Key          700          24F                   2016-08 L4/2.5L                                       585          35
2006-04   V6/3.5L                             582          35                    Nissan Rogue Select
2006-04   V6/3.5L    w/Intelligent Key        700          24F                   2015-14 L4/2.5L                                       585          35
2006-04   V6/3.5L    w/o Intelligent Key      575          24F
                                                                                 Nissan Sentra
2003      V6/3.5L                             490          35
                                                                                 2017-13   L4/1.8L                                     470          35
Nissan NV1500                                                                    2012-08   L4/2.5L                                     550          40R
2019-14 V6/4.0L                               650          24F                   2012-07   L4/2.0L                                     470          35
2013-12 V6/4.0L      w/o TTPkg                650          24F                   2012-07   L4/2.5L    SE-R                             590          40R
2013-12 V6/4.0L      w/TTPkg                  710          27F                   2008-06   L4/2.5L                                     550          35
Nissan NV200                                                                     2006      L4/1.8L                                     550          35
2019-13 L4/2.0L                               470          121R                  2005-03   L4/2.5L                                     355          35
2015-13 L4/2.0L                               470          121R                  2005-00   L4/1.8L                                     355          35
Nissan NV2500                                                                    2002      L4/2.5L                                     490          35
2016      V6/4.0L                             650          24F                   2001      L4/2.0L                                     490          35
2016      V8/5.6L                             650          24F                   2000-99   L4/2.0L                                     490          35
2016-13   V6/4.0L    TTPkg                    710          27F                   1999      L4/1.6L                                     490          35
2016-13   V8/5.6L    TTPkg                    710          27F                   1998-95   L4/1.6L    Can                              550          24F
2016-12   V6/4.0L    w/o TTPkg                650          24F                   1998-95   L4/1.6L    US                               490          35
2016-12   V6/4.0L    w/TTPkg                  710          27F                   1998      L4/2.0L    Can                              550          24F
2016-12   V8/5.6L    w/o TTPkg                650          24F                   1998      L4/2.0L    US                               490          35
2016-12   V8/5.6L    w/TTPkg                  710          27F                   1994-91   L4/2.0L    Can & Opt                        585          24F
                                                                                 1994-91   L4/2.0L    US                               350          35
Nissan NV3500
                                                                                 1994-90   L4/1.6L    Can & Opt                        415          24F
2016      V6/4.0L                             650          24F
                                                                                 1994-90   L4/1.6L    US                               350          35
2016      V6/4.0L    TTPkg                    710          27F
2016      V8/5.6L                             650          24F                   Nissan Stanza
2016      V8/5.6L    TTPkg                    710          27F                   1992-90 L4/2.4L                                       350          35
2016-12   V6/4.0L    w/o TTPkg                650          24F                   1992-90 L4/2.4L      Can & Opt                        415          24F
2016-12   V6/4.0L    w/TTPkg                  710          27F                   Nissan Titan
2016-12   V8/5.6L    w/o TTPkg                650          24F                   2018-17   V8/5.6L                                     720          —
2016-12   V8/5.6L    w/TTPkg                  710          27F                   2015-14   V8/5.6L    w/TTPkg                          710          27F
Nissan NX, Pulsar NX                                                             2015-10   V8/5.6L    w/o TTPkg                        650          24F
1993-91   L4/1.6L    Can                      415          24F                   2015-06   V8/5.6L    TTPkg                            710          27F
1993-91   L4/2.0L    Can & Opt                585          24F                   2013-04   V8/5.6L                                     650          24F
1993-91   L4/2.0L    US                       350          35                    2008      V8/5.6L    Ex Flex Fuel & Ex TTPkg          650          24F
1993-83   L4/1.6L    US                       350          35                    2008      V8/5.6L    Flex                             710          27F
1990      L4/1.6L    Can & Opt                415          24F                   2008      V8/5.6L    Flex Fuel or TTPkg               710          27F
                                                                                 2008      V8/5.6L    Gas                              650          24F
Nissan 3DWKğQGHU
                                                                                 2006      V8/5.6L    TTPkg or HD                      710          27F
2017-13   V6/3.5L                             550          35
                                                                                 2006      V8/5.6L    w/o TTPkg                        650          24F
2012-10   V6/4.0L                             550          35
2012-08   V8/5.6L                             650          24F                   Nissan Titan XD
2009-07   V6/4.0L                             550          24F                   2018-16 V8/5.0L      Dsl                              550          35 2
2006-05   V6/4.0L                             700          24F                   2018-16 V8/5.6L                                       780          27
2004-03   V6/3.5L                             455          24                    Nissan Versa
2002-01   V6/3.5L                             360          25                    2019-12   L4/1.6L    CVT-Transmission                 410          51R
2002-01   V6/3.5L    Can & Opt                450          27                    2019      L4/1.6L    Ex CVT                           470          —
2002-01   V6/3.5L    Opt                      450          27                    2018-13   L4/1.6L    Ex CVT                           470          —
2002-01   V6/3.5L    US                       360          25                    2012      L4/1.6L    w/CVT                            500          51R 45
2000-96   V6/3.3L                             360          25                    2012-10   L4/1.6L    Ex CVT                           470          90 (T5)
2000-96   V6/3.3L    Can & Opt                450          27                    2012-10   L4/1.8L    Ex CVT                           470          90 (T5)
1995-92   V6/3.0L    Can                      450          27                    2012-09   L4/1.6L    Ex CVT                           470          —
1995-92   V6/3.0L    US                       360          25                    2012-09   L4/1.8L    w/CVT                            410          51R 45
1991-90   V6/3.0L    Can & Opt                450          27                    2012-07   L4/1.8L    Ex CVT                           470          —
1991-90   V6/3.0L    US                       355          25                    2008-07   L4/1.8L    CVT-Transmission                 410          51R
Nissan 3DWKğQGHU$UPDGD                                                          2008-07   L4/1.8L    Ex CVT                           470          90 (T5)
2004      V8/5.6L                             700          24F                   Nissan Versa Note
2004      V8/5.6L    Opt                      710          27F                   2019-18 L4/1.6L                                       470          —
Nissan Pickup                                                                    Nissan Xterra
1997-95 L4/2.4L      Can                      525          24                    2015-10 V6/4.0L                                       550          35
1997-95 L4/2.4L      US                       360          25            MOYER_DEPO     000373
                                                                               2009-05 V6/4.0L                                         550          24F
                                                                                                                  See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                 65
                                                           ORIGINAL             GROUP SIZE                                                 ORIGINAL                GROUP SIZE
     YEAR       ENGINE               OPTIONS              EQUIPMENT              (NOTES)         YEAR      ENGINE               OPTIONS   EQUIPMENT                 (NOTES)
                                                          CCA/RATING                                                                      CCA/RATING
   Nissan Xterra (continued)                                                                  Oldsmobile Cutlass, Cutlass Ciera, Cutlass Cruiser, Cutlass Supreme
   2004      L4/2.4L                                      490          25                     (continued)
   2004      L4/2.4L     Opt                              550          24                      1995     V6/3.1L     Late Incl Supreme     600          78
   2004      V6/3.3L     Opt                              550          24                      1995     V6/3.4L     Early                 690          —
   2004-00   V6/3.3L                                      490          25                      1995     V6/3.4L     Late Incl Supreme     690          78
   2003-00   L4/2.4L     Can & Opt                        550          24                      1994-91 V6/3.4L                            690          —
   2003-00   L4/2.4L     US                               490          25                      1994-90 V6/3.1L                            525          75
   2003-00   V6/3.3L     Can & Opt                        550          24                      1994     V6/3.1L                           630          75
   Nissan X-Trail                                                                              1993-89 V6/3.3L                            630          75
   2006      L4/2.5L     Can                              550          24F                     1993     L4/2.2L                           630          75
   2005      L4/2.5L     US                               550          35                      1992-84 L4/2.5L                            630          75
   Oldsmobile 442                                                                              1991-90 L4/2.3L                            630          75
   1969-68   V8/6.6L                                      380          24                      1969-68 V8/5.7L                            350          24
   1969-68   V8/7.5L                                      380          24                      1968-67 V8/6.6L                            350          24
   1967      V8/6.6L                                      N/A          24                      1968     V8/6.6L                           400          24
   1966-65   V8/6.6L                                      N/A          27                      1967-66 V8/5.4L                            350          24
                                                                                               1967     V8/5.4L                           N/A          24
   Oldsmobile 88                                                                               1966-65 V8/6.6L                            N/A          27
   1999-95   V6/3.8L     Ex HWS                           690          78                      1965-64 V8/5.4L                            380          24
   1997-92   V6/3.8L     HD or w/HWS                      770          78
   1995      V6/3.8L     w/HWS                            770          78
                                                                                              Oldsmobile Delta 88 (See Custom Cruiser, Delta 88, Regency)
   1994-92   V6/3.8L                                      630          75                     Oldsmobile Intrigue
   1994      V6/3.8L     HD or HWS                        770          78                      2002-99 V6/3.5L                            690          78
   Oldsmobile 98                                                                               1999-98 V6/3.8L                            690          78
   1996-95   V6/3.8L                                      690          78                     Oldsmobile LSS
   1996-91   V6/3.8L     HD or w/HWS                      770          78                      1999-96 V6/3.8L                            690          78
   1994      V6/3.8L                                      600          78                     Oldsmobile Regency (See Custom Cruiser, Delta 88, Regency)
   1993-85   V6/3.8L                                      630          75                     Oldsmobile Silhouette
   1992      V6/3.8L     Opt                              770          78
                                                                                               2004-97   V6/3.4L                          600          78
   1991      V6/3.8L     HD or HWS                        770          78
                                                                                               1996      V6/3.4L                          525          75
   1990-85   V6/3.8L     Opt                              770          78
                                                                                               1995-92   V6/3.8L                          630          75
   Oldsmobile Achieva                                                                          1994-90   V6/3.1L                          525          75
   1998-96   L4/2.4L                                      600          75                     Oldsmobile Toronado
   1998-94   V6/3.1L                                      600          75
                                                                                               1992-91 V6/3.8L                            770          78
   1995-92   L4/2.3L                                      600          75
                                                                                               1990    V6/3.8L                            730          78
   1993-92   V6/3.3L                                      600          75
                                                                                              Panoz AIV Roadster
   Oldsmobile Alero
                                                                                               2000-99 V8/4.6L                            580          —
   2004      L4/2.2L                                      525          75
   2004-99   V6/3.4L                                      600          75                     Panoz Esperante
   2003-02   L4/2.2L                                      600          75                      2007-01 V8/4.6L                            580          —
   2001-99   L4/2.4L                                      600          75                     Peugeot 405
   Oldsmobile Aurora                                                                           1991-90 L4/1.9L                            420          24
   2003-01   V8/4.0L                                      770          100 50                 Peugeot 505
   2002-01   V6/3.5L                                      770          100 50                  1991-90   L4/2.2L    Ex Turbo              660          H6 (48) 6
   1999-98   V8/4.0L                                      840          79 50                   1991-90   L4/2.2L    Turbo                 495          H6 (48) 5
   1997-95   V8/4.0L                                      970          —                       1990      L4/2.2L                          495          H6 (48) 6
   Oldsmobile Bravada                                                                          1990      V6/2.8L                          660          H6 (48)
   2004-02   L6/4.2L                                      600          78                     Plymouth Acclaim
   2001-96   V6/4.3L     Opt                              690          —                       1995-92 L4/2.5L                            600          34
   2001-91   V6/4.3L                                      525          75                      1995-90 V6/3.0L                            500          34
   1994      V6/4.3L     Opt                              600          78                      1991-90 L4/2.5L                            500          34
   1993-91   V6/4.3L     Opt                              630          78                     Plymouth Barracuda
   Oldsmobile Custom Cruiser, Delta 88, Regency                                                1974-66   V8/5.2L                          325          24
   1998-97   V6/3.8L                                      690          78                      1974-64   V8/5.9L                          325          24
   1997      V6/3.8L     HD or w/HWS                      770          78                      1974      V8/5.9L                          305          24
   1992      V8/5.7L                                      525          75                      1973-68   V8/5.6L                          325          24
   1992-90   V8/5.0L                                      525          75                      1972-71   V8/7.2L                          325          24
   1991      V6/3.8L     HD or w/HWS                      770          78                      1972-64   L6/3.7L                          325          24
   1991-90   V6/3.8L     Opt                              730          78                      1971-70   L6/3.2L                          325          24
   1991-87   V8/5.0L     Opt                              570          75                      1971      V8/6.3L                          325          24
   1991-86   V6/3.8L                                      630          75                      1971      V8/7.0L                          325          24
   Oldsmobile Cutlass Calais                                                                   1970-67   V8/6.3L                          440          27
   1991-90 L4/2.3L                                        630          75                      1969-68   V8/7.0L                          440          27
   1991-89 V6/3.3L                                        630          75                      1968-64   V8/4.5L                          325          24
   1991-88 L4/2.5L                                        630          75                      1966-64   L6/2.8L                          325          24
   Oldsmobile Cutlass, Cutlass Ciera, Cutlass Cruiser, Cutlass Supreme                        Plymouth Belvedere
   1999-98   V6/3.1L                                      600          75                      1970-64 V8/6.3L                            440          27
   1997-96   V6/3.1L                                      600          78                     Plymouth Breeze
   1996      V6/3.4L                                      690          78                     2000-97 L4/2.4L                             510          75
   1996-94   L4/2.2L                                      525          75                     2000-96 L4/2.0L                             510          75
   1995      V6/3.1L     Early                            525          75MOYER_DEPO          000374
                                                                                              1996    L4/2.4L                             575          75
   See page 80 for Footnotes. Selection may vary by warehouse.
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66                                                                       Automotive/Light Truck
                                           ORIGINAL         GROUP SIZE                                                               ORIGINAL               GROUP SIZE
  YEAR      ENGINE              OPTIONS   EQUIPMENT          (NOTES)            YEAR      ENGINE                OPTIONS             EQUIPMENT                (NOTES)
                                          CCA/RATING                                                                                CCA/RATING
Plymouth Colt                                                                Plymouth Neon
1995-93   L4/1.5L    US                   435          51                     2001-00 L4/2.0L                                       450          26R
1994-93   L4/1.5L    Can                  580          24                     2001-00 L4/2.0L      Opt                              540          26R
1994-93   L4/1.8L    Can                  580          24                     1999-95 L4/2.0L                                       450          58 35
1994-92   L4/2.4L    HD or Can            580          24                    Plymouth Prowler
1994-92   L4/2.4L    US                   490          24                     2001-99 V6/3.5L                                       525          34
1994      L4/1.8L    US                   435          25                     1997    V6/3.5L                                       525          34
1992-91   L4/1.5L    Opt                  430          25                    Plymouth Road Runner
1992-91   L4/1.5L    US                   355          25                     1974      V8/5.9L                                     440          27
1992      L4/1.5L    Can, Ex Wagon        420          25                     1974-73   V8/5.2L                                     440          27
1992      L4/1.8L    Can, Ex Wagon        420          25                     1974-73   V8/6.6L                                     440          27
1992      L4/1.8L    Opt                  430          25                     1974-73   V8/7.2L                                     440          27
1992      L4/1.8L    US                   350          51                     1973      V8/5.6L                                     375          24
1992      L4/1.8L    Wagon                580          24                     1972      V8/5.2L                                     400          24
1992      L4/2.4L    Can                  580          24                     1972      V8/6.6L                                     400          24
1992      L4/2.4L    Can, Ex Wagon        420          25                     1972-71   V8/5.6L                                     400          24
1992      L4/2.4L    Opt                  430          25                     1972-70   V8/7.2L                                     400          24
1992      L4/2.4L    Wagon                580          24                     1971      V8/6.3L                                     400          24
1991-90   L4/1.5L    Can                  420          25                     1971      V8/7.0L                                     400          24
1991-90   L4/2.0L    Can                  420          25                     1970-68   V8/6.3L                                     440          27
1991-90   L4/2.0L    US                   435          51                     1970-68   V8/7.0L                                     440          27
1990      L4/1.5L    Ex Wagon             355          25                     1969      V8/7.2L                                     440          27
1990      L4/1.5L    Wagon                435          51                     1968      V8/4.5L                                     400          24
1990      L4/1.6L                         435          51                     1968      V8/5.2L                                     400          24
1990      L4/1.6L    Can                  420          25                    Plymouth Satellite
1990      L4/1.8L    Wagon                435          51                     1967-66 V8/7.2L                                       N/A          27
Plymouth Cuda                                                                 1967-65 V8/7.0L                                       N/A          27
1974-73   V8/5.2L                         305          24                    Plymouth Sundance
1974      V8/5.2L    Opt                  375          24                     1994-93   V6/3.0L                                     500          34
1974      V8/5.9L                         305          24                     1994-92   L4/2.5L                                     600          34
1974      V8/5.9L    Opt                  375          24                     1994-90   L4/2.2L                                     500          34
1973      V8/5.2L    Opt                  440          24                     1992      V6/3.0L                                     600          34
1973      V8/5.6L                         305          24                     1991      L4/2.5L                                     625          34
1973      V8/5.6L    Opt                  440          24                     1990      L4/2.5L                                     500          34
1972-70   V8/5.6L                         305          25                    Plymouth Superbird
1972-70   V8/5.6L    Opt                  375          24                     1970      V8/7.2L                                     440          27
1972      V8/5.6L    Opt                  440          27
1971-70   V8/6.3L                         375          24
                                                                             Plymouth Voyager (See Grand Voyager, Voyager)
1971-70   V8/6.3L    Opt                  440          27                    Pontiac 6000, Grand Am
1971-70   V8/7.0L                         440          27                     2005-02   L4/2.2L                                     600          75
1971-70   V8/7.2L                         440          27                     2005-99   V6/3.4L                                     600          75
Plymouth Duster                                                               2004      L4/2.2L                                     525          75
1976-74   V8/5.9L                         370          24                     2001-96   L4/2.4L                                     600          75
1976-74   V8/5.9L    Opt                  460          24                     1998-94   V6/3.1L                                     600          75
1976-70   V8/5.2L                         370          24                     1995-93   L4/2.3L                                     600          75
                                                                              1993      V6/3.3L                                     600          75
1976-70   V8/5.2L    Opt                  460          24
                                                                              1992-88   L4/2.3L                                     630          75
1974      V8/5.9L                         305          24
                                                                              1992      V6/3.3L                                     630          75
1973-70   V8/5.6L                         370          24
                                                                              1991-90   V6/3.1L    Can & Opt                        630          75
1973-70   V8/5.6L    Opt                  460          24
                                                                              1991-88   V6/3.1L                                     525          75
Plymouth Grand Voyager, Voyager                                               1991-85   L4/2.5L                                     630          75
2000-96   L4/2.4L                         600          34                    Pontiac Aztek
2000-90   V6/3.0L                         500          34
                                                                              2005-01 V6/3.4L                                       600          78
2000-90   V6/3.3L                         500          34
1999-96   L4/2.4L    Opt                  685          34                    Pontiac Bonneville
1999-94   V6/3.8L                         600          34                2005-04 V8/4.6L                                            770          100 50
1999-94   V6/3.8L    Opt                  685          34                2005-02 V6/3.8L                                            770          100 50
1999-91   V6/3.0L    Opt                  685          34                2003-02 V6/3.8L S/C                                        800          79 50,51
1999-91   V6/3.3L    Opt                  685          34                2001-00 V6/3.8L                                            840          79 50,51
1995-92   L4/2.5L                         600          34                1999-98 V6/3.8L S/C                                        770          78
1995-91   L4/2.5L    Opt                  685          34                1999-95 V6/3.8L Ex S/C                                     690          78
1991-90   L4/2.5L                         500          34                1997-92 V6/3.8L Opt                                        770          78
1990      L4/2.5L    Opt                  625          34                1994-86 V6/3.8L                                            630          75
1990      V6/3.0L    Opt                  625          34                1990    V6/3.8L Opt                                        730          78
1990      V6/3.3L    Opt                  625          34                1969    V8/7.0L                                            325          24
                                                                         1968-67 V8/7.0L                                            350          27
Plymouth Horizon                                                         1968    V8/6.6L w/High Comp                                350          24
1990      L4/2.2L                         430          34                1967    V8/6.6L                                            350          27
Plymouth Laser                                                           1967    V8/7.0L Opt                                        350          27
1994-90 L4/1.8L                           430          86                1966    V8/6.4L                                            350          27
1994-90 L4/2.0L      Can                  525          86                1966    V8/6.4L Opt                                        350          27
1994-90 L4/2.0L      US                   430          86          MOYER_DEPO
                                                                         1966     000375
                                                                                 V8/6.9L                                            325          24
                                                                                                               See page 80 for Footnotes. Selection may vary by warehouse.
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 426 Pontiac
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   Automotive/Light Truck                                                                                                                                                67
                                                          ORIGINAL                 GROUP SIZE                                                 ORIGINAL            GROUP SIZE
     YEAR      ENGINE                OPTIONS             EQUIPMENT                  (NOTES)         YEAR      ENGINE               OPTIONS   EQUIPMENT             (NOTES)
                                                         CCA/RATING                                                                          CCA/RATING
   Pontiac Bonneville (continued)                                                                Pontiac Grand Prix (continued)
   1965-63 V8/6.9L                                       350          27                          2007-05   V8/5.3L                          625          —
   1965-59 V8/6.4L                                       350          27                          2005-04   V6/3.8L    w/AGM                 680          34 33
   Pontiac Catalina                                                                               2003-97   V6/3.8L    Ex S/C                690          78
   1969      V8/7.0L                                     325          24                          2003-97   V6/3.8L    S/C                   770          78
   1968-67   V8/6.6L                                     250          26R                         2003-96   V6/3.1L                          600          78
   1968-67   V8/6.6L     Opt                             350          27                          1996      V6/3.4L                          690          78
   1968-67   V8/7.0L                                     250          26R                         1995      V6/3.1L    Early                 525          75
   1968-67   V8/7.0L     Opt                             350          27                          1995      V6/3.1L    Late                  600          78
   1966      V8/6.4L                                     250          26R                         1995      V6/3.4L    Early                 690          —
   1966      V8/6.4L     Opt                             350          27                          1995      V6/3.4L    Late                  690          78
                                                                                                  1994-91   V6/3.4L                          690          —
   Pontiac Firebird
                                                                                                  1994-90   V6/3.1L                          525          75
   2002-95   V6/3.8L                                     690          —
                                                                                                  1991-90   L4/2.3L                          630          75
   2002-93   V8/5.7L                                     525          75
                                                                                                  1977      V8/4.9L                          350          75
   1995-93   V6/3.4L                                     525          75
                                                                                                  1977      V8/6.6L                          450          78
   1992-90   V6/3.1L                                     525          75
                                                                                                  1977-76   V8/5.7L                          350          75
   1992-90   V8/5.0L     AT                              570          75
                                                                                                  1977-76   V8/6.6L                          350          75
   1992-90   V8/5.0L     MT                              525          75
                                                                                                  1976      V8/7.5L                          450          78
   1992-87   V8/5.7L                                     630          75
                                                                                                  1975-73   V8/6.6L                          450          24
   1979-78   V6/3.8L     Opt                             450          78
                                                                                                  1975-73   V8/6.6L    Side Terminal         450          78
   1979-78   V8/5.0L                                     350          75
                                                                                                  1975-73   V8/7.5L                          450          24
   1979-78   V8/5.0L     Opt                             450          78
                                                                                                  1975-73   V8/7.5L    Side Terminal         450          78
   1979-78   V8/5.7L                                     350          75
                                                                                                  1972-70   V8/7.5L                          325          24
   1979-78   V8/5.7L     Opt                             450          78
                                                                                                  1972-69   V8/6.6L                          325          24
   1979-78   V8/6.6L                                     430          75
                                                                                                  1969      V8/7.0L                          325          24
   1979-78   V8/6.6L     Opt                             450          78
                                                                                                  1968-67   V8/6.6L                          350          27
   1979      V8/4.9L                                     350          75
                                                                                                  1968-67   V8/7.0L                          350          27
   1979      V8/4.9L     Opt                             450          78
                                                                                                  1967      V8/7.0L    Opt                   350          27
   1977-73   V8/5.7L                                     450          78
                                                                                                  1966      V8/6.4L                          350          27
   1977-73   V8/6.6L                                     450          78
                                                                                                  1966      V8/6.9L                          250          26R
   1977      V8/4.9L                                     450          78
                                                                                                  1966      V8/6.9L    Opt                   350          27
   1977      V8/5.0L                                     450          78
                                                                                                  1965-63   V8/6.9L                          350          27
   1976-73   L6/4.1L                                     450          78
                                                                                                  1965-63   V8/6.9L    Opt                   N/A          27
   1976-73   V8/7.5L                                     450          78
   1972-71   V8/7.5L                                     325          24                         Pontiac GTO, Tempest
   1972-68   L6/4.1L                                     325          24                          2006-05   V8/6.0L                          600          —
   1972-68   V8/5.7L                                     325          24                          2004      V8/5.7L                          600          —
   1972-67   V8/6.6L                                     325          24                          1991-90   L4/2.2L    AT & Opt              630          75
   1967      L6/3.8L                                     350          —                           1991-90   L4/2.2L    MT                    525          75
   Pontiac )LUHĠ\                                                                                 1991-90   V6/3.1L    AT                    630          75
                                                                                                  1991-90   V6/3.1L    MT                    525          75
   2000-95   L3/1.0L                                     390          26R
                                                                                                  1973-71   V8/6.6L                          465          78
   2000-94   L4/1.3L                                     390          26R
                                                                                                  1973-71   V8/7.5L                          465          78
   1994      L3/1.0L                                     390          —
                                                                                                  1970-68   L6/4.1L                          250          26R
   1991-90   L3/1.0L                                     440          —
                                                                                                  1970-68   V8/5.7L                          325          24
   Pontiac G3                                                                                     1970-67   V8/6.6L                          325          24
   2010-09 L4/1.6L                                       590          86                          1970      V8/7.5L                          325          24
   Pontiac G3 Wave                                                                                1967-63   V8/5.3L                          325          24
   2009      L4/1.6L                                     550          86                          1966-64   V8/6.4L                          325          24
   Pontiac G5, Pursuit                                                                           Pontiac LeMans, Optima
   2010-09 L4/2.2L                                       590          90 (T5) 50                  1993-90 L4/1.6L                            550          —
   2008-06 L4/2.4L                                       600          90 (T5)                     1990    L4/2.0L                            550          —
   2008-05 L4/2.2L                                       600          90 (T5) 50                  1990    L4/2.0L      AT                    630          —
   Pontiac G6                                                                                    Pontiac Montana
   2010-08   L4/2.4L                                     590          90 (T5)                     2009-06 V6/3.9L                            600          34
   2010-08   V6/3.5L                                     590          90 (T5)                     2006-05 V6/3.5L                            600          34
   2009-08   V6/3.6L                                     590          90 (T5)                     2005-99 V6/3.4L                            600          78
   2009-08   V6/3.9L                                     590          90 (T5)                    Pontiac Solstice
   2007-06   L4/2.4L                                     525          75                          2009-08   L4/2.0L                          590          86
   2007      V6/3.6L                                     525          75                          2009-08   L4/2.4L                          590          86
   2007-06   V6/3.9L                                     525          75                          2007      L4/2.0L                          640          86
   2007-05   V6/3.5L                                     525          75                          2007      L4/2.4L                          640          86
   Pontiac G8                                                                                     2006      L4/2.4L                          590          86
   2009      V6/3.6L                                     720          H7 (94R) 50                Pontiac Sunbird
   2009      V8/6.0L                                     720          H7 (94R) 50                 1994-92 V6/3.1L                            525          75
   2009      V8/6.2L                                     720          H7 (94R) 50                 1994-88 L4/2.0L                            630          75
   2008      V6/3.6L                                     700          H7 (94R) 50                 1991    V6/3.1L                            630          75
   2008      V8/6.0L                                     700          H7 (94R) 50
                                                                                                 Pontiac 6XQğUH
   Pontiac Grand Am (See 6000, Grand Am)                                                         2005-95 L4/2.2L                             525          75
   Pontiac Grand Prix                                                                            2002    L4/2.4L                             525          75
   2008      V8/5.3L                                      590         —                          2001-96 L4/2.4L                             600          75
   2008-06 V6/3.8L w/AGM                                  690         34MOYER_DEPO
                                                                        33                      000376
                                                                                                 1995    L4/2.3L                             600          75
   See page 80 for Footnotes. Selection may vary by warehouse.
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68                                                                            Automotive/Light Truck
                                           ORIGINAL              GROUP SIZE                                                                ORIGINAL              GROUP SIZE
  YEAR      ENGINE              OPTIONS   EQUIPMENT               (NOTES)              YEAR      ENGINE               OPTIONS             EQUIPMENT               (NOTES)
                                          CCA/RATING                                                                                      CCA/RATING
Pontiac Sunrunner                                                                    Porsche Panamera
1997-95 L4/1.6L                           390          26R                           2014-12 V6/3.0L                                      740          H8 (49) 50
1994    L4/1.6L                           500          —                             2014-11 V6/3.6L                                      740          H8 (49) 50
Pontiac Tempest (See GTO, Tempest)                                                   2014-10 V8/4.8L                                      740          H8 (49) 50
Pontiac Torrent                                                                      Ram 1500
2009-08 V6/3.6L                           650          —                             2017-14   V6/3.0L    Dsl                             800          H8 (49) AGM 33
2009-07 V6/3.4L                           650          —                             2017-13   V6/3.6L                                    730          H7 (94R)
2006    V6/3.4L                           600          75                            2017-11   V8/5.7L                                    730          H7 (94R)
                                                                                     2013-11   V8/4.7L                                    730          H7 (94R)
Pontiac Trans Sport                                                                  2012-11   V6/3.7L                                    730          H7 (94R)
1999-97   V6/3.4L                         600          78
1996      V6/3.4L                         525          75
                                                                                     Ram 2500
1995-92   V6/3.8L                         630          75                            2017-14   V8/6.4L                                    730          H7 (94R)
1995-90   V6/3.1L                         525          75                            2017-11   L6/6.7L    Dsl                             730          H7 (94R) 2
                                                                                     2017-11   V8/5.7L                                    730          H7 (94R)
Pontiac Vibe                                                                         2016      L6/6.7L    Dsl                             730          H7 (94R)
2010-09 L4/2.4L                           575          24F
2008-03 L4/1.8L                           550          35
                                                                                     Ram 3500
                                                                                     2017-14   V8/6.4L                                    730          H7 (94R)
Pontiac Wave, Wave 5                                                                 2017-11   V8/5.7L                                    730          H7 (94R)
2008-05 L4/1.6L                           550          86                            2016      L6/6.7L    Dsl                             730          H7 (94R)
2007-05 L4/1.6L                           590          86                            2015-11   L6/6.7L    Dsl                             730          H7 (94R) 2
Porsche 911                                                                          2014      L6/6.7L    Dsl                             730          H7 (94R) 2
2016-12   H6/3.4L                         740          H8 (49) 50                    Ram C/V
2016-10   H6/3.8L                         740          H8 (49) 50                    2015-12 V6/3.6L                                      730          H7 (94R)
2016      H6/4.0L                         740          H8 (49) 50
                                                                                     Ram Dakota
2012-10   H6/3.6L                         740          H8 (49) 50
                                                                                     2011      V6/3.7L                                    600          65
2012-10   H6/3.8L    Option 1             740          H8 (49) 50
                                                                                     2011      V6/3.7L    Opt                             750          65
2012-09   H6/3.6L    Option 1             740          H8 (49) 50
                                                                                     2011      V8/4.7L                                    600          65
2012      H6/3.4L    Option 1             740          H8 (49) 50
                                                                                     2011      V8/4.7L    Opt                             750          65
2011      H6/4.0L                         740          H8 (49) 50
2009-05   H6/3.6L                         740          H7 (94R) 50                   Ram ProMaster 1500
2009-05   H6/3.8L                         740          H7 (94R) 50                   2017      L4/3.0L    Dsl                             800          —
2004-02   H6/3.6L    Ex GT2               650          H7 (94R)                      2017      V6/3.6L                                    800          —
2004-02   H6/3.6L    Ex GT2               740          H7 (94R) 9, 50                2017-14   L4/3.0L    Dsl, Opt                        950          H9 (95R) AGM 33, 50
2004-02   H6/3.6L    GT2                  650          —                             2017-14   V6/3.6L    Opt                             950          H9 (95R) AGM 33, 50
2004-01   H6/3.6L    GT2                  650          H6 (48) 50                    2016-14   L4/3.0L    Dsl                             800          —
2001-99   H6/3.4L                         650          H6 (48) 50                    2016-14   V6/3.6L                                    800          —
2001      H6/3.6L    Ex GT2               650          —                             Ram ProMaster 2500
1998-90   H6/3.6L                         650          H6 (48) 50                    2017      L4/3.0L    Dsl                             800          —
1992      H6/3.3L                         650          H6 (48) 54                    2017      V6/3.6L                                    800          —
1991      H6/3.3L    Turbo                650          H6 (48) 54                    2017-14   L4/3.0L    Dsl, Opt                        950          H9 (95R) AGM 33, 50
Porsche 928                                                                          2017-14   V6/3.6L    Opt                             950          H9 (95R) AGM 33, 50
1995-93 V8/5.4L                           650          H6 (48)                       2016-14   L4/3.0L    Dsl                             800          —
1991-90 V8/5.0L                           650          H6 (48)                       2016-14   V6/3.6L                                    800          —
Porsche 968                                                                          Ram ProMaster 3500
1995-92 L4/3.0L                           600          —                             2017      L4/3.0L    Dsl                             800          —
                                                                                     2017      V6/3.6L                                    800          —
Porsche Boxster                                                                      2017-14   L4/3.0L    Dsl, Opt                        950          H9 (95R) AGM 33, 50
2014-13   H6/2.7L                         650          H7 (94R) 50                   2017-14   V6/3.6L    Opt                             950          H9 (95R) AGM 33, 50
2014-07   H6/3.4L                         650          H7 (94R) 50                   2016-14   L4/3.0L    Dsl                             800          —
2012-09   H6/2.9L                         650          H7 (94R) 50                   2016-14   V6/3.6L                                    800          —
2008-06   H6/2.7L                         650          H7 (94R) 50
2006      H6/3.2L                         650          H7 (94R) 50
                                                                                     Ram ProMaster City
2005-02   H6/2.7L    Opt                  650          H7 (94R) 50                   2017-15 L4/2.4L                                      750          —
2005-02   H6/3.2L    Opt                  650          H7 (94R) 50                   Rolls-Royce Ghost
2005-00   H6/2.7L                         650          H6 (48) 50                    2015-10 V12/6.6L                                     900          H8 (49) AGM 33, 50, 54
2005-00   H6/3.2L                         650          H6 (48) 50                    Rolls-Royce Phantom
1999-97   H6/2.5L                         650          H6 (48) 50                    2015-04 V12/6.7L                                     760          H6 (48) AGM 33, 50, 54
Porsche Carrera GT                                                                   2014-04 V12/6.7L Opt                                 900          H8 (49) AGM 33, 50, 54
2005-04 V10/5.7L                          650          H6 (48) 54                    Rolls-Royce Wraith
Porsche Cayenne                                                                      2015-14 V12/6.6L                                     900          H8 (49) AGM 33, 50, 54
2014-11   V6/3.0L    Hybrid               650          H7 (94R)  50
                                                                                     Saab 900
2014-08   V6/3.6L                         650          H7 (94R) 50                   1998-94   L4/2.0L                                    520          H5 (47)
2014-08   V8/4.8L                         740          H8 (49) 50                    1998-94   L4/2.3L                                    520          H5 (47)
2006-04   V6/3.2L                         640          H7 (94R) 50                   1997-94   V6/2.5L                                    520          H5 (47)
2006-03   V8/4.5L                         740          H8 (49) 50                    1994      L4/2.1L                                    520          H5 (47)
Porsche Cayman                                                                       1993-91   L4/2.1L                                    405          —
2014      H6/2.7L                         740          H8 (49) 50                    1993-90   L4/2.0L                                    405          —
2014      H6/3.4L                         740          H8 (49) 50                    Saab 9000
2012-10   H6/3.4L                         740          H8 (49) 50             1998-94 L4/2.3L                                             570          —
2012-09   H6/2.9L                         740          H8 (49) 50             1998-94 L4/2.3L Group 47 fits 9 1/2" tray                   520          —
2009-06   H6/3.4L                         740          H7 (94R) 50            1997-95 V6/3.0L                                             570          —
2008-07   H6/2.7L                         740          H7 (94R) 50      MOYER_DEPO      000377
                                                                              1997-95 V6/3.0L Group 47 fits 9 1/2" tray                   520          —
                                                                                                                     See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                                                   69
                                                          ORIGINAL              GROUP SIZE                                                     ORIGINAL              GROUP SIZE
     YEAR      ENGINE                  OPTIONS           EQUIPMENT               (NOTES)         YEAR      ENGINE                   OPTIONS   EQUIPMENT               (NOTES)
                                                         CCA/RATING                                                                           CCA/RATING
   Saab 9000 (continued)                                                                      Saturn L300
   1993-92   L4/2.3L                                     520          H5 (47)                  2005-02 V6/3.0L                                600          78
   1991-90   L4/2.3L                                     450          H5 (47)                  2004    L4/2.2L                                600          78
   1991-90   L4/2.3L     Opt                             450          —                        2001    V6/3.0L                                525          75
   1990-86   L4/2.0L                                     450          H5 (47)                 Saturn LW200
   1990-86   L4/2.0L     Opt                             450          —
                                                                                               2003-02 L4/2.2L                                600          78
   Saab 9-2X, 9-3, 9-3X, 9-4X, 9-5, 9-7X                                                       2001    L4/2.2L                                525          75
   2011-10   L4/2.0L     9-3                             70 Ah        H6 (48)
   2011      L4/2.0L     9-5                             550          —
                                                                                              Saturn LW300
   2011-10   V6/2.8L     9-5                             700          H6 (48)                  2003-02 V6/3.0L                                600          78
   2011-08   L4/2.0L                                     70 Ah        H6 (48)                  2001    V6/3.0L                                525          75
   2011      V6/2.8L     9-4X                            700          H6 (48)                 Saturn Outlook
   2011      V6/3.0L     9-4X                            700          H6 (48)                  2010    V6/3.6L                                660          H6 (48) 50
   2009-08   L4/2.3L     9-5                             70 Ah        H6 (48)                  2009-07 V6/3.6L                                730          H6 (48) 50
   2009-08   V8/6.0L     9-7X                            600          78
                                                                                              Saturn Relay
   2009-06   V6/2.8L                                     70 Ah        H6 (48) 50
   2009-05   L6/4.2L     9-7X                            600          78                       2007-06 V6/3.9L                                600          34
   2009-05   V8/5.3L     9-7X                            600          78                       2006-05 V6/3.5L                                600          34
   2007-04   L4/2.0L                                     700          H6 (48) 50              Saturn SC, SL, SW (See L, LS, LW, SC, SL, SW)
   2007-04   L4/2.0L     Conv                            60 Ah        —                       Saturn Sky
   2007-04   L4/2.3L                                     700          H6 (48)                  2010-07 L4/2.0L                                590          86
   2007-03   L4/2.0L     Sport Sedan                     60 Ah        —
                                                                                               2010-07 L4/2.4L                                590          86
   2007-99   L4/2.3L     9-5                             520          —
   2006      H4/2.5L     9-2X Aero                       550          35                      Saturn Vue
   2005      H4/2.0L                                     550          25                       2010-08   L4/2.4L                              650          —
   2005      H4/2.0L     9-2X Aero                       550          25                       2010-08   V6/3.5L                              730          H6 (48)
   2005      H4/2.5L                                     550          25                       2010-08   V6/3.6L                              730          H6 (48)
   2005      H4/2.5L     9-2X Linear                     550          35                       2007      L4/2.2L                              525          75
   2003      L4/2.0L     Conv                            580          H5 (47) 40               2007      L4/2.4L                              590          86
   2003      L4/2.0L     Sport Sedan                     700          H6 (48) 50               2007      V6/3.5L                              640          86
   2003-02   L4/2.3L                                     700          H6 (48) 50               2006-04   L4/2.2L                              550          75
   2003-02   V6/3.0L                                     700          H6 (48)                  2006-04   V6/3.5L                              590          86
   2003-99   V6/3.0L     9-5                             520          —                        2003-02   L4/2.2L                              600          75
   2002      L4/2.0L                                     580          H5 (47) 40               2003-02   V6/3.0L                              600          75
   2002-99   L4/2.0L     Conv                            520          H5 (47)                 Scion FR-S
   2002-99   L4/2.3L     Sedan                           580          H5 (47) 40               2016    H4/2.0L                                430          35
   2001-00   L4/2.3L                                     650          H6 (48)                  2015-13 H4/2.0L                                430          35
   2001-99   L4/2.0L                                     580          —
   2001-99   V6/3.0L                                     650          H6 (48)
                                                                                              Scion iA
   1999      L4/2.3L                                     700          H6 (48)                  2016      L4/1.5L                              N/A          35
   Saleen S7                                                                                  Scion iM
   2006-02 V8/7.0L                                       750          34                       2016      L4/1.8L                              N/A          35
   Saturn Astra                                                                               Scion iQ
   2009-08 L4/1.8L                                       600          —                        2015-12 L4/1.3L                                295          51
                                                                                               2015-12 L4/1.3L      Opt, Cold Climate         320          35
   Saturn Aura
                                                                                               2014    L4/1.3L      Cold Climate Pkg          320          25
   2009      L4/2.4L                                     600          90 (T5)
   2009      V6/3.6L                                     600          90 (T5)                 Scion tC
   2008      L4/2.4L                                     590          90 (T5)                  2016    L4/2.5L                                530          24F
   2008      V6/3.5L                                     590          90 (T5)                  2015-11 L4/2.5L                                575          24F
   2008      V6/3.6L                                     590          90 (T5)                  2010-05 L4/2.4L                                575          24
   2007      L4/2.4L     XE                              575          75                      Scion xA
   2007      L4/2.4L     XR                              690          —                        2006-04 L4/1.5L                                550          25
   2007      V6/3.5L                                     690          —                       Scion xB
   2007      V6/3.6L                                     690          —
                                                                                               2015-08   L4/2.4L                              575          24F
   Saturn Ion                                                                                  2014-10   L4/2.4L                              585          24F
   2007-06   L4/2.2L     From 6/2006                     600          78 50                    2009-08   L4/2.4L                              550          24F
   2007-06   L4/2.4L     From 6/2006                     600          78 50                    2006-04   L4/1.5L                              550          25
   2007-04   L4/2.0L                                     600          78 50
                                                                                              Smart Fortwo
   2006      L4/2.2L     To 6/2006                       600          —
   2006      L4/2.4L     To 6/2006                       600          —                       2016                  Electric, Opt             680          —
   2005-03   L4/2.2L                                     600          —                       2016    L3/0.9L                                 480          H5 (47) 50, 54
                                                                                              2016    L3/0.9L       Opt                       680          —
   Saturn L, LS, LW, SC, SL, SW                                                               2016    L3/0.9L       AGM, Opt                  680          —
   2002-91 L4/1.9L                                       525          75                      2016-12               AGM, Opt                  680          —
   2000    L4/2.2L                                       525          75                      2016-11               Electric                  480          H5 (47) 50, 54
   2000    V6/3.0L                                       525          75
                                                                                              2015-12 L3/1.0L                                 480          H5 (47) 50, 54
   Saturn L100                                                                                2015-08 L3/1.0L       w/o AGM                   480          H5 (47) 50, 54
   2002      L4/2.2L                                     600          78                      2015    L3/1.0L                                 680          —
   2001      L4/2.2L                                     525          75                      2014-08 L3/1.0L       Opt                       680          —
   Saturn L200                                                                                2011                  Electric, Opt             680          —
   2003-02 L4/2.2L                                        600         78                      2010-08 L3/1.0L                                 480          H5 (47) 50, 54
   2001      L4/2.2L                                      525         75MOYER_DEPO           000378
                                                                                              2007-05 L3/0.8L                                 540          —
   See page 80 for Footnotes. Selection may vary by warehouse.
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70                                                                           Automotive/Light Truck
                                               ORIGINAL         GROUP SIZE                                                               ORIGINAL            GROUP SIZE
  YEAR      ENGINE                  OPTIONS   EQUIPMENT          (NOTES)         YEAR      ENGINE                   OPTIONS             EQUIPMENT             (NOTES)
                                              CCA/RATING                                                                                CCA/RATING
Sterling 827                                                                   Subaru Loyale
1991-89 V6/2.7L                               675          —                   1994-91   H4/1.8L    MT                                  305          25
Subaru Ascent                                                                  1994-90   H4/1.8L    AT                                  420          25
2019      H4/2.4L                             550          35                  1990      H4/1.8L    MT                                  310          25
                                                                               1990      H4/1.8L    Turbo, AT                           490          24
Subaru B9 Tribeca
2007-06 H6/3.0L                               490          35
                                                                               Subaru Outback (See Legacy, Outback)
Subaru Baja                                                                    Subaru SVX
                                                                               1997-92 H6/3.3L                                          585          24
2006-03 H4/2.5L      AT                       490          35
2006-03 H4/2.5L      MT                       430          35                  Subaru Tribeca
Subaru BRZ                                                                     2014-08 H6/3.6L                                          490          35
2019-13 H4/2.0L                               550          35                  Subaru WRX
Subaru Crosstrek                                                               2019-15 H4/2.0L                                          390          35
                                                                               2014-13 H4/2.5L                                          390          35
2019-16 H4/2.0L                               390          35
                                                                               Subaru WRX STI
Subaru Forester
                                                                               2019-17   H4/2.5L                                        390          35
2018-16   H4/2.0L                             390          35                  2016      H4/2.5L                                        390          35 45
2018-16   H4/2.5L                             390          35                  2015      H4/2.5L                                        390          35 45
2015-14   H4/2.0L                             550          35                  2015-13   H4/2.5L                                        390          35
2015-10   H4/2.5L                             550          35                  2014-13   H4/2.5L                                        390          35
2009-08   H4/2.5L                             490          35                  Subaru XT
2007      H4/2.5L                             500          35                  1991      H4/1.8L    AT                                  405          25
2006      H4/2.5L    AT                       490          35                  1991      H6/2.7L    AT                                  490          25
2006      H4/2.5L    MT                       360          35                  1991-90   H4/1.8L    MT                                  310          25
2005      H4/2.5L    MT                       430          35                  1991-90   H6/2.7L    MT                                  350          25
2005-98   H4/2.5L    AT or HD                 520          35                  1990      H4/1.8L    AT, Ex Turbo                        490          25
2004-98   H4/2.5L    MT                       360          35                  Subaru XV Crosstrek
Subaru Impreza                                                                 2015-14 H4/2.0L      Hybrid                                           —
2019-12   H4/2.0L                             550          35                  2015-13 H4/2.0L      Gas                                 390          35
2014-10   H4/2.5L                             550          35                  Sunbeam Tiger
2009-01   H4/2.5L                             520          35                  1967-64 V8/4.3L      Ex Sport Sedan                      325          24
2006      H4/2.5L    AT                       490          35                  1967-64 V8/4.3L      Opt                                 350          27
2006      H4/2.5L    MT                       420          35                  1967    V8/4.7L      Ex Sport Sedan                      325          24
2005      H4/2.0L    AT                       520          35
                                                                               Suzuki Aerio
2005      H4/2.0L    MT                       430          35
                                                                               2007-04 L4/2.3L                                          700          24F
2005      H4/2.5L    MT                       430          35
                                                                               2003-02 L4/2.0L                                          700          24F
2005-98   H4/2.5L    AT                       520          35
2004-02   H4/2.0L    AT                       420          35                  Suzuki Equator
2004-02   H4/2.0L    MT                       360          35                  2012-09 L4/2.5L                                          550          24F
2004-98   H4/2.5L    MT                       360          35                  2012-09 V6/4.0L                                          550          24F
2001-95   H4/2.2L    AT                       520          35                  Suzuki Esteem
2001-95   H4/2.2L    MT                       360          35                  2002-99 L4/1.8L                                          440          26R
1997-93   H4/1.8L    AT                       520          35                  2001    L4/1.6L                                          540          26R
1997-93   H4/1.8L    MT                       360          35                  2000-95 L4/1.6L                                          440          26R
Subaru Justy                                                                   Suzuki Forenza
1995    L3/1.2L                               550          35                  2008-04 L4/2.0L                                          610          86 11
1994-90 L3/1.2L                               420          35                  Suzuki Grand Vitara
Subaru Legacy, Outback                                                         2013-09   L4/2.4L                                        700          24F
2017-16   H4/2.5L                             355          25                  2010-09   V6/3.2L                                        700          24F
2017-10   H6/3.6L                             490          25                  2008-06   V6/2.7L                                        700          24F
2015-10   H4/2.5L                             490          25                  2005-04   V6/2.5L                                        700          24F
2009-07   H4/2.5L                             490          35                  2003-99   V6/2.5L                                        550          —
2009-07   H6/3.0L                             490          35                  2001      V6/2.7L                                        550          24F
2008      H4/2.5L    Legacy                   430          35                  Suzuki Kizashi
2008-00   H4/2.5L    Opt                      430          —                   2013-10 L4/2.4L                                          700          24F
2006      H6/3.0L    AT                       490          35                  Suzuki Reno
2006-99   H4/2.5L    MT                       430          35                  2008-05 L4/2.0L                                          610          86 11
2006-96   H4/2.5L    AT                       490          35                  Suzuki Samurai
2005-01   H6/3.0L                             490          35                  1995-90 L4/1.3L                                          405          51
1999-97   H4/2.2L    AT                       490          35
1999-95   H4/2.2L    Opt                      430          —
                                                                               Suzuki Sidekick
1999      H4/2.2L    AT, HD                   430          35                  1998-96 L4/1.6L                                          390          26R
1998-96   H4/2.5L    Opt                      430          35                  1998-96 L4/1.8L                                          550          —
1998      H4/2.2L    MT                       430          35                  1995-90 L4/1.6L                                          405          51
1997-96   H4/2.5L    MT                       355          35                  Suzuki Swift
1997-95   H4/2.2L    MT                       355          35                  2001-95   L4/1.3L                                        440          26R
1996-95   H4/2.2L    AT, HD                   490          35                  1994-92   L3/1.0L                                        435          51
1994-91   H4/2.2L    AT & Turbo               490          35                  1994-90   L4/1.3L                                        435          51
1994-90   H4/2.2L                             550          35                  1993-92   L4/1.6L                                        435          51
1994-90   H4/2.2L    MT, Ex Turbo             355          35                  Suzuki Swift+
1994-90   H4/2.2L    Opt                      430          35          MOYER_DEPO     000379
                                                                             2009-04 L4/1.6L                                            550        86
                                                                                                                   See page 80 for Footnotes. Selection may vary by warehouse.
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                                                                                 Toyota
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   Automotive/Light Truck                                                                                                                                                 71
                                                          ORIGINAL             GROUP SIZE                                                    ORIGINAL              GROUP SIZE
     YEAR      ENGINE                OPTIONS             EQUIPMENT              (NOTES)         YEAR      ENGINE                  OPTIONS   EQUIPMENT               (NOTES)
                                                         CCA/RATING                                                                         CCA/RATING
   Suzuki SX4, SX4 Crossover                                                                 Toyota Camry, Solara (continued)
   2013-07 L4/2.0L                                       700          24                      2008-02   L4/2.4L    Cold Climate             585          24F
   Suzuki Verona                                                                              2007-02   L4/2.4L                             390          35
   2006-04 L6/2.5L                                       700          —                       2006-05   V6/3.0L                             585          24F
   Suzuki Vitara                                                                              2006-04   V6/3.0L    Cold Climate             585          24F
                                                                                              2006-04   V6/3.0L    w/o Cold Climate         390          35
   2004      V6/2.5L                                     600          —
                                                                                              2006-04   V6/3.3L    Cold Climate             585          24F
   2003-99   L4/2.0L                                     550          —
                                                                                              2006-04   V6/3.3L    w/o Cold Climate         390          35
   2002      L4/1.6L                                     540          26R
   2001-99   L4/1.6L                                     550          —                       2003-02   L4/2.4L                             360          35
                                                                                              2003-02   L4/2.4L    Opt                      585          24F
   Suzuki X-90                                                                                2003-02   L4/2.4L    US                       360          35
   1998-96 L4/1.6L                                       440          26R                     2003-02   V6/3.0L    US                       390          35
   Suzuki XL7                                                                                 2003-01   V6/3.0L    Can & Opt                585          24F
   2009-07 V6/3.6L                                       650          —                       2002      V6/3.0L    Can or Opt               585          24F
   2006-04 V6/2.7L                                       700          24F                     2001      L4/2.2L    Can & Opt                585          24F
   2003-02 V6/2.7L                                       550          —                       2001      L4/2.2L    US                       360          35
   Toyota 4Runner                                                                             2001      V6/3.0L    US                       360          35
   2019-03   V6/4.0L                                     585          24F                     2000-95   V6/3.0L    Can & Cold Climate       585          24F
   2010      L4/2.7L    HD or Cold Climate               710          27F                     2000-92   L4/2.2L                             360          35
   2010-96   L4/2.7L                                     585          24F                     2000-92   L4/2.2L    Opt                      585          24F
   2009-03   V6/4.0L    HD or Cold Climate               710          27F                     2000-92   V6/3.0L                             360          35
   2009-03   V8/4.7L                                     585          24F                     1994-92   V6/3.0L    Opt                      585          24F
   2009-03   V8/4.7L    HD or Cold Climate               710          27F                     1991-90   L4/2.0L    Japan Production         350          35
   2002-01   V6/3.4L                                     585          24F                     1991-90   L4/2.0L    US                       330          35
   2002-01   V6/3.4L    Opt                              710          27F                     1991-90   V6/2.5L    Japan Production         350          35
   2000-96   V6/3.4L                                     360          35                      1991-90   V6/2.5L    US                       330          35
   2000-96   V6/3.4L    Opt                              585          24F                    Toyota Celica
   1995-91   L4/2.4L                                     360          25                      2005-00   L4/1.8L                             310          35
   1995-91   L4/2.4L    Opt                              585          24                      2004-02   L4/1.8L    Opt                      360          35
   1995-91   V6/3.0L                                     360          25                      2001-94   L4/1.8L    Opt                      420          35
   1995-91   V6/3.0L    Opt                              585          24
                                                                                              1999-95   L4/2.2L    Opt                      420          35
   1990      L4/2.4L                                     350          25
                                                                                              1999-92   L4/2.2L                             360          35
   1990      V6/3.0L                                     585          24
                                                                                              1997-94   L4/1.8L                             360          35
   Toyota 86                                                                                  1993-92   L4/2.0L                             360          35
   2019-18 H4/2.0L                                       390          35                      1993-92   L4/2.2L    Opt                      490          24F
   2017    H4/2.0L                                       355          35                      1993-90   L4/1.6L                             360          35
   Toyota Avalon                                                                              1991-90   L4/2.2L                             350          35
   2019      L4/2.5L    Hybrid                           355          H5 (47) 50              1991-86   L4/2.0L    FWD                      350          35
   2019      V6/3.5L                                     70 Ah        H6 (48)                Toyota C-HR
   2018-16   L4/2.5L    Hybrid                           355          —                       2019-18 L4/2.0L                               60 Ah        H5 (47)
   2018-05   V6/3.5L                                     585          24F
   2016      L4/2.5L    Hybrid                           585          24F
                                                                                             Toyota Corolla
   2015      L4/2.5L    Hybrid                           355          —                       2019      L4/2.0L                             60 Ah        H5 (47)
   2015      L4/2.5L    Hybrid, w/Mayday System          450          —                       2019-18   L4/1.8L                             60 Ah        35
   2015-05   V6/3.5L    Opt                              390          35                      2017-09   L4/1.8L                             355          35
   2014-13   L4/2.5L    Hybrid                           355          —                       2012-11   L4/2.4L                             585          24F
   2014-13   L4/2.5L    Hybrid, w/Mayday System          450          —                       2010-09   L4/2.4L                             575          24F
   2011-05   V6/3.5L    Alt                              310          35                      2008-06   L4/1.8L                             420          35
   2004-03   V6/3.0L                                     585          24F                     2005-04   L4/1.8L                             310          35
   2004-03   V6/3.0L    Opt                              390          35                      2003-95   L4/1.8L                             360          35
   2002      V6/3.0L    US                               390          35                      1997-95   L4/1.6L    Opt                      310          35
   2002-95   V6/3.0L    Can & Opt                        585          24F                     1996      L4/1.6L    Std Battery              360          35
   2001-95   V6/3.0L    US                               360          35                      1994      L4/1.6L                             310          35
   Toyota Camry, Solara                                                                       1994-93   L4/1.8L                             310          35
   2019-18 L4/2.5L       Gas                              70 Ah       H6 (48)                 1994-93   L4/1.8L    Opt                      360          35
   2019-18 L4/2.5L       Hybrid                           55 Ah       H5 (47) 50              1994-90   L4/1.6L    Opt                      350          35
   2019-18 L4/2.5L       Hybrid w/Moonroof                64 Ah       —                       1993-91   L4/1.6L    Opt                      310          35
   2019-18 V6/3.5L                                        70 Ah       H6 (48)                 1993-90   L4/1.6L                             310          35
   2017-16 L4/2.5L       Hybrid w/Moonroof                450         —                      Toyota Corolla iM
   2017-12 L4/2.5L       Gas                              585         24F                     2018-17 L4/1.8L                               355          35
   2017-12 L4/2.5L       Hybrid                           355         —                      Toyota Cressida
   2017-07 V6/3.5L                                        585         24F                     1992-90 L6/3.0L                               450          27F
   2015      L4/2.5L     Hybrid                           355         —
                                                                                             Toyota Echo
   2015      L4/2.5L     Hybrid w/Moonroof                450         —
   2011      L4/2.4L     Hybrid w/Moonroof                N/A         —                       2005-03   L4/1.5L                             420          25
   2011-10 L4/2.5L                                        585         24F                     2002      L4/1.5L    Can & Opt                360          25
   2010-07 L4/2.4L       Hybrid                           N/A         —                       2002-00   L4/1.5L    US                       310          25
   2009      L4/2.4L     Opt, w/o Cold Climate            390         35                      2001      L4/1.5L    Can & Opt                420          25
   2009-07 L4/2.4L       Hybrid                           N/A         —                      Toyota FJ Cruiser
   2009-04 L4/2.4L       Gas                              585         24F                    2014    V6/4.0L                                585          24F
   2008      L4/2.4L     Opt                              390         35                     2013-11 V6/4.0L                                585          24F
   2008-07 V6/3.3L                                        585           MOYER_DEPO
                                                                      24F                   000380
                                                                                             2010-07 V6/4.0L                                710          27F
   See page 80 for Footnotes. Selection may vary by warehouse.
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72                                                                          Automotive/Light Truck
                                             ORIGINAL          GROUP SIZE                                                              ORIGINAL            GROUP SIZE
  YEAR      ENGINE               OPTIONS    EQUIPMENT           (NOTES)           YEAR      ENGINE                OPTIONS             EQUIPMENT             (NOTES)
                                            CCA/RATING                                                                                CCA/RATING
Toyota Highlander                                                               Toyota Prius Plug-In
2019      V6/3.5L    Gas w/Start/Stop       70 Ah        —                      2015-12 L4/1.8L      Hybrid                           325          —
2019-09   L4/2.7L                           585          24F                    Toyota Prius Prime
2018-16   V6/3.5L    Hybrid                 360          —                      2019-18 L4/1.8L      Hybrid                           295          —
2018-11   V6/3.5L    Gas                    585          24F                    2017    L4/1.8L      Hybrid                           480          —
2017      V6/3.5L    US, Gas                585          24F                    Toyota Prius v
2016      V6/3.5L    Hybrid                 585          24F
                                                                                2018-12 L4/1.8L      Hybrid                           325          —
2015-11   V6/3.5L    Hybrid                 360          —
2014-08   V6/3.5L                           585          24F                    Toyota RAV4
2010-06   V6/3.3L    Hybrid                 435          51R                    2019      L4/2.5L    Gas w/Start/Stop                 65 Ah        —
2007-04   V6/3.3L                           585          24F                    2017      L4/2.5L    US, Gas                          355          35
2007-01   L4/2.4L                           585          24F                    2017-16   L4/2.5L    Gas                              355          35
2003-01   V6/3.0L                           585          24F                    2017-16   L4/2.5L    Hybrid                           355          —
                                                                                2015      L4/2.5L                                     355          35
Toyota Land Cruiser
                                                                                2014-12              Electric                         355          35 45
2019-13   V8/5.7L                           710          27F                    2014      L4/2.5L                                     356          35
2011-08   V8/5.7L                           710          27F                    2013-09   L4/2.5L                                     585          24F
2007-01   V8/4.7L                           710          27F                    2012-06   V6/3.5L                                     585          24F
2000-98   V8/4.7L                           575          24F                    2008-04   L4/2.4L                                     585          24F
1997-93   L6/4.5L                           450          24F                    2003-01   L4/2.0L                                     420          35
1997-93   L6/4.5L    Can & Opt              625          27F                    2000-96   L4/2.0L                                     360          35
1992-90   L6/4.0L                           450          27
                                                                                Toyota Sequoia
Toyota Matrix                                                                   2019      V8/5.7L                                     80 Ah        27F
2013-09 L4/2.4L                             575          24F                    2018-08   V8/5.7L                                     710          27F
2008-03 L4/1.8L                             550          35                     2012-10   V8/4.6L                                     710          27F
Toyota Mirai                                                                    2009-04   V8/4.7L                                     710          27F
2019-18              Electric/Hydrogen      360          —                      2003-02   V8/4.7L    Opt                              710          27F
2017-16              Electric/Hydrogen      N/A          —                      2003-01   V8/4.7L                                     585          24F
2017-16              Electric/Hydrogen      N/A          —                      2001      V8/4.7L    Opt                              650          27F
2016                                        N/A          —                      Toyota Sienna
Toyota MR2                                                                      2019-07   V6/3.5L                                     585          24F
1995-93   L4/2.0L                           360          35                     2016      V6/3.5L                                     582          24F
1995-93   L4/2.0L    Opt                    490          24F                    2013-11   L4/2.7L                                     585          24F
1995-93   L4/2.2L                           490          24F                    2006-04   V6/3.3L                                     585          24F
1992-91   L4/2.0L                           350          35                     2003-02   V6/3.0L                                     360          35
1992-91   L4/2.2L                           350          35                     2003-02   V6/3.0L    Opt                              585          24F
Toyota MR2 Spyder                                                               2001-98   V6/3.0L                                     585          24F
2005-00 L4/1.8L                             430          51R                    Toyota Solara (See Camry, Solara)
Toyota Paseo                                                                    Toyota Supra
1999-98   L4/1.5L                           550          25                     1998-94   L6/3.0L    AT                               585          24F
1997-92   L4/1.5L                           310          25                     1998-93   L6/3.0L    MT                               490          24F
1997      L4/1.5L    Opt                    360          25                     1993      L6/3.0L    AT                               485          24F
1996-93   L4/1.5L    Opt                    410          25                     1992-90   L6/3.0L                                     450          27F
1992      L4/1.5L    Can & Opt              350          25                     Toyota T100 (See Pickup, T100)
Toyota Pickup, T100                                                             Toyota Tacoma
1998-95   V6/3.4L                           585          24F                    2019-17   V6/3.5L                                     585          24F
1998-94   L4/2.7L                           585          24F                    2019-95   L4/2.7L                                     585          24F
1995-91   L4/2.4L    Can & Opt              585          24                     2016      V6/3.5L                                     710          27F
1995-91   L4/2.4L    US                     360          25                     2015-09   V6/4.0L                                     710          27F
1995-91   V6/3.0L    Can & Opt              585          24                     2008-07   V6/4.0L    Cold Climate or TTPkg            710          27F
1995-91   V6/3.0L    US                     360          25                     2008-05   V6/4.0L                                     585          24F
1990      L4/2.4L                           320          25                     2006      V6/4.0L    HD & Cold Climate                710          27F
1990      L4/2.4L    Opt                    350          25                     2005      V6/4.0L    Cold Climate or TTPkg            710          27F
1990      V6/3.0L                           585          24                     2004      L4/2.4L                                     310          35
1990      V6/3.0L    Opt                    350          25                     2004      L4/2.7L                                     310          35
Toyota Previa                                                                   2004      V6/3.4L                                     550          24F
1997-91 L4/2.4L                             360          35                     2003-01   L4/2.4L    Can & Opt                        585          24F
1997-91 L4/2.4L      Opt                    585          24F                    2003-01   L4/2.4L    US                               360          35
                                                                                2003-01   L4/2.7L    Can & Opt                        585          24F
Toyota Prius                                                                    2003-01   L4/2.7L    US                               360          35
2019-18   L4/1.8L    Hybrid                 295          —                      2003-01   V6/3.4L    Can & Opt                        585          24F
2017-16   L4/1.8L    Hybrid                 480          —                      2003-01   V6/3.4L    US                               360          35
2015-10   L4/1.8L    Hybrid                 325          —                      2000-95   L4/2.4L                                     360          35
2014      L4/1.8L    Plug in                360          —                      2000-95   L4/2.4L    Opt                              585          24F
2009-04   L4/1.5L    HD, Opt or Smart Key   325          —                      2000-95   V6/3.4L                                     360          35
2009-04   L4/1.5L    w/o Smart Key          270          —                      2000-95   V6/3.4L    Opt                              585          24F
2003-01   L4/1.5L                           270          —
                                                                                Toyota Tercel
Toyota Prius AWD-e                                                          1999-97 L4/1.5L Opt                                       360          25
2019      L4/1.8L    Hybrid                 295          —                  1999-91 L4/1.5L                                           310          25
Toyota Prius c                                                              1996-93 L4/1.5L                                           360          25
2019    L4/1.5L      Hybrid                 280          —                  1996-93 L4/1.5L Opt                                       410          25
2017-12 L4/1.5L      Hybrid                 270          —            MOYER_DEPO      000381
                                                                            1992-91 L4/1.5L Opt                                       350          25
                                                                                                                 See page 80 for Footnotes. Selection may vary by warehouse.
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                                                                             Volkswagen
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   Automotive/Light Truck                                                                                                                                                                               73
                                                           ORIGINAL                GROUP SIZE                                                                          ORIGINAL                GROUP SIZE
     YEAR       ENGINE                 OPTIONS            EQUIPMENT                 (NOTES)                     YEAR      ENGINE                 OPTIONS              EQUIPMENT                 (NOTES)
                                                          CCA/RATING                                                                                                  CCA/RATING
   Toyota Tercel (continued)                                                                                 Volkswagen Beetle (continued)
   1990      L4/1.5L                                      310          35                                     2010-06   L5/2.5L                                       540          —
   1990      L4/1.5L     Opt                              350          35                                     2010-06   L5/2.5L    Opt                                640          —
   Toyota Tundra                                                                                              2007-06   L5/2.5L    PR Code J1L                        480          H5 (47) 50, 55, 56, 58
   2019-17   V8/4.6L     Opt                              710          27F                                    2006      L4/1.9L    Turbo Dsl                          540          —
   2019-17   V8/5.7L                                      585          24F                                    2006-05   L4/1.9L    Dsl                                480          H5 (47) 50, 54, 55, 56
   2019-17   V8/5.7L     Opt                              710          27F                                    2006      L4/1.9L    Turbo DSL, Opt                     640          —
   2019-10   V8/4.6L                                      585          24F                                    2005-04   L4/1.8L                                       480          H5 (47) 50, 54
   2016      V8/5.7L                                      710          27F                                    2005-98   L4/2.0L                                       480          H5 (47) 50, 54
   2015      V8/4.6L     Opt                              710          27F                                    2004-03   L4/1.8L    Turbo                              640          —
   2015      V8/5.7L     Opt                              710          27F                                    2004-98   L4/1.9L    Dsl                                640          —
   2015-07   V8/5.7L                                      585          24F                                    2003      L4/1.8L                                       640          —
   2014-10   V8/4.6L     HD & Cold Climate                710          27F                                    2002-00   L4/1.8L                                       480          H5 (47) 50, 54
   2014-08   V8/5.7L     HD & Cold Climate                710          27F                                    1999      L4/1.8L                                       640          —
   2014-05   V6/4.0L                                      585          24F                                   Volkswagen Cabrio, Cabriolet
   2014-05   V6/4.0L     HD & Cold Climate                710          27F                                    2002-00   L4/2.0L                                       520          H5 (47)
   2009-08   V8/4.7L     Opt                              710          27F                                    2002-00   L4/2.0L                                       540          —
   2009-00   V8/4.7L                                      585          24F                                    1999-98   L4/2.0L                                       575          —
   2006-02   V8/4.7L     HD & Cold Climate                710          27F                                    1997-95   L4/2.0L                                       460          —
   2004-00   V6/3.4L     AT or HD                         585          24F                                    1993-90   L4/1.8L                                       500          —
   2004-00   V6/3.4L     MT                               360          35                                    Volkswagen CC
   2000      V8/4.7L     Opt                              650          27F                                    2017-12   L4/2.0L                                       540          —
   Toyota Venza                                                                                               2017-12   L4/2.0L    Opt                                640          —
   2016-09 L4/2.7L                                        585          24F                                    2017-12   L4/2.0L    Opt                                680          H6 (48) AGM 33, 50, 54, 55, 56
   2016-09 V6/3.5L                                        585          24F                                    2017-12   L4/2.0L    Opt                                760          —
   Toyota Yaris                                                                                               2017-12   L4/2.0L    Opt                                680          —
   2019-17   L4/1.5L                                      355          H5 (47)                                2017-12   V6/3.6L                                       540          —
   2016      L4/1.5L     Hatchback                        360          H5 (47) 45                             2017-12   V6/3.6L    Opt                                640          —
   2016      L4/1.5L     Sedan                            360          35 45                                  2017-12   V6/3.6L    Opt                                680          H6 (48) AGM 33, 50, 54, 55, 56
   2016-15   L4/1.5L     Sedan                            360          35 45                                  2017-12   V6/3.6L    Opt                                760          —
   2014-06   L4/1.5L                                      360          —                                      2017-12   V6/3.6L    Opt                                680          —
                                                                                                              2014-09   L4/2.0L    PR Code J1L                        60 Ah        H5 (47) 50, 55, 56, 58
   Volkswagen Atlas
                                                                                                              2014-09   L4/2.0L    PR Code JOL                        70 Ah        H6 (48) 50, 55, 56, 58
   2018      L4/2.0L     PR Code J1L                      540          H5 (47) 50, 54, 55, 56, 58
                                                                                                              2014-09   V6/3.6L    PR Code J1U                        95 Ah        —
   2018      L4/2.0L     PR Code J0T                      680          —
                                                                                                              2011-09   L4/2.0L                                       480          H5 (47) 50, 54
   2018      L4/2.0L     PR Code J1D                      640          —
                                                                                                              2011-09   V6/3.6L                                       640          —
   2018      L4/2.0L     PR Code J2D                      680          H6 (48) AGM 33, 50, 54, 55, 56, 58
   2018      V6/3.6L     PR Code J1L                      540          H5 (47) 50, 54, 55, 56, 58            Volkswagen Corrado
   2018      V6/3.6L     PR Code J0T                      680          —                                      1995-92 V6/2.8L                                         460          —
   2018      V6/3.6L     PR Code J1D                      640          —                                      1992-90 L4/1.8L                                         460          —
   2018      V6/3.6L     PR Code J2D                      680          H6 (48) AGM 33, 50, 54, 55, 56, 58    Volkswagen e-Golf
   Volkswagen Beetle                                                                                          2017-16              Electric, PR Code J0S              540          —
   2017      L4/1.8L     PR Code J0S                      540          —                                      2017-15              Electric, PR Code J1P              360          —
   2017      L4/2.0L     PR Code J0S                      540          —                                      2017-15              Electric, PR Code J1L              540          H5 (47) 50, 54, 55, 56, 58
   2017-14   L4/1.8L     PR Code J0N                      540          —                                      2017-15              Electric, PR Code J2D              680          H6 (48) AGM 33, 50, 54, 55, 56, 58
   2017-14   L4/1.8L     PR Code J0T                      680          —                                      2015                 Electric, PR Code J0S              540          —
   2017-14   L4/1.8L     PR Code J1D                      640          —                                     Volkswagen Eos
   2017-14   L4/1.8L     PR Code J1L                      480          H5 (47) 50, 54, 55, 56, 58             2016-15   L4/2.0L                                       540          —
   2017-14   L4/1.8L     PR Code J2D                      680          H6 (48) AGM 33, 50, 54, 55, 56, 58     2016-15   L4/2.0L    Opt                                680          H6 (48) AGM 33, 50, 54, 55, 56
   2017-12   L4/2.0L     PR Code J0N                      540          —                                      2016-11   L4/2.0L    Opt                                680          —
   2017-12   L4/2.0L     PR Code J0T                      680          —                                      2016-07   L4/2.0L    Opt                                640          —
   2017-12   L4/2.0L     PR Code J1D                      640          —                                      2014-11   L4/2.0L    Opt, no AGM, PR Code J1D           640          —
   2017-12   L4/2.0L     PR Code J1L                      480          H5 (47) 50, 54, 55, 56, 58             2014-11   L4/2.0L    PR Code J1L                        540          H5 (47) 50, 55, 56, 58
   2017-12   L4/2.0L     PR Code J2D                      680          H6 (48) AGM 33, 50, 54, 55, 56, 58
                                                                                                              2014-09   L4/2.0L    Opt, w/AGM, PR Code J2D            680          H6 (48) AGM 33, 50, 54, 55, 56, 58
   2015      L4/2.0L     Dsl, PR Code J0N                 540          —
                                                                                                              2010      L4/2.0L    Opt                                680          H6 (48) AGM 33, 50, 54, 55, 56
   2015      L4/2.0L     PR Code J1L                      60 Ah        H5 (47) 50, 54, 55, 56, 58
                                                                                                              2010-07   L4/2.0L                                       540          —
   2015-13   L4/2.0L     Dsl, PR Code J0T                 680          —
   2015-13   L4/2.0L     Dsl, PR Code J1D                 640          —                                      2010-07   L4/2.0L    PR Code J1L                        60 Ah        H5 (47) 50, 55, 56, 58
   2015-13   L4/2.0L     Dsl, PR Code J1L                 480          H5 (47) 50, 54, 55, 56, 58             2010-07   L4/2.0L    PR Code J1D                        72 Ah        —
   2015-13   L4/2.0L     Dsl, PR Code J2D                 680          H6 (48) AGM 33, 50, 54, 55, 56, 58     2010-07   L4/2.0L    PR Code JOL                        70 Ah        H6 (48) 50, 55, 56, 58
   2014-13   L4/2.0L     Dsl, PR Code J1L                 540          H5 (47) 50, 54, 55, 56, 58             2008-07   V6/3.2L    6V, AGM                            540          —
   2014-13   L4/2.0L     Dsl, PR Code J2D, AGM            68 Ah        H6 (48) AGM 33, 50, 55, 56, 58        Volkswagen EuroVan
   2014-12   L4/2.0L     PR Code J1L                      540          H5 (47) 50, 54, 55, 56, 58            2003-00 V6/2.8L                                          575          —
   2014-12   L4/2.0L     PR Code J2D, AGM                 68 Ah        H6 (48) AGM 33, 50, 55, 56, 58        2002-00 V6/2.8L       Primary Battery                    575          —
   2014-12   L5/2.5L     PR Code J0T                      680          —                                     2002-99 V6/2.8L       Aux Battery                        570          27DC 31
   2014-12   L5/2.5L     PR Code J1D                      640          —                                     1999    V6/2.8L                                          460          —
   2014-12   L5/2.5L     PR Code J1L                      480          H5 (47) 50, 54, 55, 56, 58            1997-93 L5/2.4L       Aux Battery                        570          27DC 31
   2014-12   L5/2.5L     PR Code J1L                      540          H5 (47) 50, 54, 55, 56, 58            1997-93 L5/2.4L       Dsl                                575          —
   2014-12   L5/2.5L     PR Code J2D                      680          H6 (48) AGM 33, 50, 54, 55, 56, 58    1997    V6/2.8L                                          460          —
   2014-12   L5/2.5L     PR Code J2D, AGM                 540          H6 (48) AGM 33, 50, 54, 55, 56, 58    1996    L5/2.5L       Aux Battery                        570          27DC
   2012      L4/2.0L     PR Code J1D                      680          —                                     1996    L5/2.5L       Primary Battery                    575          —
   2010-08   L5/2.5L     PR Code J1D                      540          —                                     1995-92 L5/2.5L                                          460          —
   2010-08   L5/2.5L     PR Code J1L                      60 Ah        H5MOYER_DEPO
                                                                          (47) 50, 55, 56, 58               000382
                                                                                                             1994    L5/2.4L                                          460          —
   See page 80 for Footnotes. Selection may vary by warehouse.                                                              Note: PR codes are located on a tag near the spare tire or in the warranty booklet
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74                                                                                           Automotive/Light Truck
                                                           ORIGINAL           GROUP SIZE                                                                       ORIGINAL                GROUP SIZE
   YEAR      ENGINE                 OPTIONS               EQUIPMENT            (NOTES)                  YEAR      ENGINE             OPTIONS                  EQUIPMENT                 (NOTES)
                                                          CCA/RATING                                                                                          CCA/RATING
Volkswagen Fox                                                                                       Volkswagen Golf (continued)
1993    L4/1.8L                                           450          —                              1996-95   V6/2.8L    Opt                                650          —
1992-90 L4/1.8L                                           500          —                              1996-93   L4/1.8L                                       575          —
Volkswagen Golf                                                                                       1996-93   L4/1.9L    Opt                                650          —
2017      L4/1.8L      PR Code J2D                        480                                         1996-93
                                                                       H6 (48) AGM 33, 50, 54, 55, 56, 58       L4/2.0L                                       575          —
2017-15   L4/1.8L      PR Code J1L                        540          H5 (47) 50, 54, 55, 56, 58     1996-93   L4/2.0L       Opt                             650          —
2017-15   L4/1.8L      PR Code J0S                        540          —                              1996-90   L4/1.8L       Opt                             650          —
2017-15   L4/1.8L      PR Code J0T                        680          —                              1996      L4/1.9L       Turbo, DSL                      650          —
2017-15   L4/1.8L      PR Code J1D                        640          —                              1995-93   L4/1.9L                                       575          —
2017-15   L4/1.8L      PR Code J1P                        360          —                              1992-90   L4/1.6L                                       500          —
2017-15   L4/1.8L      PR Code J2S                        480          —                              1992-90   L4/1.8L                                       500          —
2016      L4/1.8L      PR Code J2D                        680                                         1992-90
                                                                       H6 (48) AGM 33, 50, 54, 55, 56, 58       L4/2.0L                                       500          —
2015      L4/1.8L      PR Code J2D                        680          H6 (48) AGM 33, 45, 50, 54, 55, 56, 58 Volkswagen Golf Alltrack
2015      L4/2.0L      Dsl, PR Code J0N, J1L              540          —                                      2017    L4/1.8L PR Code J0N                     540          —
2015      L4/2.0L      Dsl, PR Code J1D                   640          —                                      2017    L4/1.8L PR Code J0S                     540          —
2015      L4/2.0L      Dsl, PR Code J1P                   360          —                                      2017    L4/1.8L PR Code J0T                     680          —
2015      L4/2.0L      Dsl, PR Code J2D                   680          H6 (48) AGM 33, 45, 50, 54, 55, 56, 58 2017    L4/1.8L PR Code J1D                     640          —
2015-14   L4/2.0L      Dsl, PR Code J0S                   540          —                                      2017    L4/1.8L PR Code J1P                     360          —
2015-14   L4/2.0L      Dsl, PR Code J2S                   480          —                                      2017    L4/1.8L PR Code J2D                     480          H6 (48) AGM 33, 50, 54, 55, 56, 58
2015-13   L4/2.0L      Dsl, PR Code J0T                   680          —                                      2017    L4/1.8L PR Code J2S                     480          —
2014      L4/2.0L      Dsl                                540          —                                      Volkswagen Golf City
2014      L4/2.0L      Dsl, Opt                           640          —                                      2010-07 L4/2.0L PR Code J1L                     540          H5 (47) 54, 58
2014      L5/2.5L      PR Code J0S                        540          —                                      Volkswagen Golf R
2014      L5/2.5L      PR Code J2S                        480          —
                                                                                                              2017    L4/2.0L PR Code J2D                     480          H6 (48) AGM 33, 50, 54, 55, 56, 58
2014-13   L5/2.5L      PR Code J0T                        680          —
                                                                                                              2017-16 L4/2.0L PR Code J0N                     540          —
2014-12   L5/2.5L                                         540          —
                                                                                                              2017-16 L4/2.0L PR Code J0S                     540          —
2014-12   L5/2.5L      Opt                                640          —
                                                                                                              2017-16 L4/2.0L PR Code J0T                     680          —
2014-10   L5/2.5L      HD, PR Code J1D                    640          —
                                                                                                              2017-16 L4/2.0L PR Code J1D                     640          —
2014-10   L5/2.5L      PR Code J1L                        480          H5 (47) 50, 54, 58
                                                                                                              2017-16 L4/2.0L PR Code J1P                     360          —
2013-12   L4/2.0L      Dsl                                540          —
                                                                                                              2017-16 L4/2.0L PR Code J2S                     480          —
2013-12   L4/2.0L      Dsl, Opt                           640          —
                                                                                                              2016    L4/2.0L PR Code J2D                     680          H6 (48) AGM 33, 50, 54, 55, 56, 58
2013-12   L4/2.0L      Dsl, Opt                           680          H6 (48) AGM 33, 50, 54, 55, 56
                                                                                                              2015    L4/2.0L Gas, PR Code J0S                540          —
2013-12   L5/2.5L      Opt                                680          H6 (48) AGM     33, 50, 54, 55, 56
                                                                                                              2015    L4/2.0L Gas, PR Code J0T                680          —
2013-10   L4/2.0L      TDI, PR Code J1D                   640          —
                                                                                                              2015    L4/2.0L Gas, PR Code J1D                640          —
2013-10   L4/2.0L      TDI, PR Code J1L                   480          H5 (47) 58
                                                                                                              2015    L4/2.0L Gas, PR Code J0N                540          —
2013      L4/2.0L      Gas                                540          —
                                                                                                              2015    L4/2.0L Gas, PR Code J1P                360          —
2013      L4/2.0L      Gas, HD PR Code J1D                640          —
                                                                                                              2015    L4/2.0L Gas, PR Code J2S                480          —
2013      L4/2.0L      Gas, Opt                           640          —
                                                                                                              2015    L4/2.0L Gas, PR-J2D                     680          H6 (48) AGM 33, 45, 50, 54, 55, 56, 58
2013      L4/2.0L      Gas, Opt                           680          H6 (48) AGM     33, 50, 54, 55, 56
                                                                                                              2012    L4/2.0L Gas                             540          —
2013      L4/2.0L      Gas, PR Code J0T                   680          —
                                                                                                              2012    L4/2.0L Gas, Opt                        640          —
2013      L4/2.0L      Gas, PR Code J1L                   480          H5 (47) 58
                                                                                                              2012    L4/2.0L Gas, Opt                        680          H6 (48) AGM 33, 50, 54, 55, 56
2012      L4/2.0L      Dsl, Opt                           680          —
                                                                                                              2012    L4/2.0L Gas, Opt                        680          —
2012      L5/2.5L      Gas                                540          —
2012      L5/2.5L      Gas, HD PR Code J1D                640          —                                      Volkswagen Golf SportWagen
2012      L5/2.5L      Gas, Opt                           680          H6 (48) AGM 33, 50, 54, 55, 56         2017-15 L4/1.8L PR Code J0N                     540          —
2012      L5/2.5L      Gas, PR Code J1L                   480          H5 (47) 58                             2017-15 L4/1.8L PR Code J0S                     540          —
2012      L5/2.5L      Opt                                680          —                                      2017-15 L4/1.8L PR Code J0T                     680          —
2011-10   L4/2.0L      Dsl                                540          —                                      2017-15 L4/1.8L PR Code J1D                     640          —
2011-10   L5/2.5L                                         540          —                                      2017-15 L4/1.8L PR Code J2S                     480          —
2006      L4/1.8L      PR Code J1L                        480          H5 (47) 50, 58                         2016-15 L4/1.8L                                 540          —
2006      L4/1.9L      PR Code J1D                        570          —                                      2015    L4/2.0L Dsl                             540          —
2006      L4/2.0L      PR Code J1L                        480          H5 (47) 50, 58                         2015    L4/2.0L Dsl, PR Code J0N                540          —
2005-04   L4/1.9L      Dsl, PR Code J0R                   640          H7 (94R) 50, 58                        2015    L4/2.0L Dsl, PR Code J0S                540          —
2005-03   L4/1.8L      PR Code J1L                        540          H5 (47) 58                             2015    L4/2.0L Dsl, PR Code J0T                680          —
2005-03   L4/2.0L      PR Code J1L                        540          H5 (47) 58                             2015    L4/2.0L Dsl, PR Code J1D                640          —
2005-03   V6/2.8L                                         640          H7 (94R)                               2015    L4/2.0L Dsl, PR Code J2S                480          —
2004      V6/3.2L                                         480          H5 (47) 54                             Volkswagen GTI
2003-01   L4/1.9L      Dsl, PR Code J0N, J1L              540          —                                      2017    L4/2.0L PR Code J2D                480        H6 (48) AGM 33, 50, 54, 55, 56, 58
2002-00   L4/1.8L      PR Code J0N                        540          —                                      2017-15 L4/2.0L PR Code J0N                540        —
2002-00   L4/2.0L      PR Code J0N                        540          —                                      2017-15 L4/2.0L PR Code J1D                640        —
2002-00   V6/2.8L      PR Code J0N                        540          —                                      2017-15 L4/2.0L PR Code J1P                360        —
2001-99   L4/2.0L      PR Code J0L                        70 Ah        H6 (48) 50, 55, 56, 58                 2017-14 L4/2.0L PR Code J0S                540        —
2000      L4/1.9L                                         620          H7 (94R)                               2017-14 L4/2.0L PR Code J2S                480        —
1999-98   L4/2.0L                                         575          —                                      2017-13 L4/2.0L PR Code J0T                680        —
1999-98   V6/2.8L                                         575          —                                      2016    L4/2.0L PR Code J2D                680         H6 (48) AGM 33, 50, 54, 55, 56, 58
1999      L4/1.9L      Dsl                                620          —                                      2016-15 L4/2.0L                            540        —
1998      L4/1.8L                                         575          —                                      2015    L4/2.0L PR Code J2D                680         H6 (48) AGM 33, 45, 50, 54, 55, 56, 58
1998      L4/1.9L      Dsl                                575          —                                      2014-12 L4/2.0L Opt                        640        —
1997      L4/1.8L                                         460          —                                      2014-11 L4/2.0L                            540        —
1997      L4/1.9L      Dsl                                620          —                                      2014-11 L4/2.0L Opt                        570        H6 (48) 54
1997      L4/2.0L                                         460          —                                      2013-12 L4/2.0L                            540        —
1997      V6/2.8L                                         460          —                                      2013-12 L4/2.0L Opt                        680        H6 (48) AGM 33, 50, 54, 55, 56
1996-95   V6/2.8L                                         575          —                      MOYER_DEPO      2012      000383
                                                                                                                      L4/2.0L Opt                        680        —
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                                  See page 80 for Footnotes. Selection may vary by warehouse.
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                                                                             Volkswagen
                                      929
   Automotive/Light Truck                                                                                                                                                                        75
                                                          ORIGINAL              GROUP SIZE                                                                         ORIGINAL              GROUP SIZE
     YEAR      ENGINE                OPTIONS             EQUIPMENT               (NOTES)                       YEAR    ENGINE                 OPTIONS             EQUIPMENT               (NOTES)
                                                         CCA/RATING                                                                                               CCA/RATING
   Volkswagen GTI (continued)                                                                               Volkswagen Jetta (continued)
   2011      L4/2.0L                                     540          —                                     2011    L4/2.0L     Gas, Opt                          540          —
   2011      L4/2.0L     Opt                             570          H6 (48) 50, 54                        2011    L5/2.5L     Opt                               540          —
   2010-09   L4/2.0L                                     570          H6 (48) 54                            2010-08 L4/2.0L     Gas                               540          —
   2008-06   L4/2.0L                                     540          H6 (48) 54                            2010-08 L4/2.0L     Gas, Opt                          570          H6 (48) 50, 54
   Volkswagen Jetta                                                                                         2009    L4/2.0L     Dsl & Opt                         80 Ah        H7 (94R)
   2017      L4/1.4L     Opt                              680         H6 (48) AGM 33, 50, 54, 55, 56, 58    2009    L4/2.0L     Dsl, Opt                          640          H7 (94R) 50, 54
   2017      L4/1.4L     Opt                              540         —                                     2009-08 L4/2.0L     Gas, Opt                          640          H7 (94R) 50, 54
   2017      L4/1.8L     Opt                              680         H6 (48) AGM 33, 50, 54, 55, 56, 58    2009-08 L4/2.0L     PR Code J0L                       570          H6 (48)
   2017      L4/1.8L     Opt                              540         —                                     2009-08 L4/2.0L     PR Code J0R                       80 Ah        H7 (94R)
   2017      L4/2.0L     Opt                              680         H6 (48) AGM 33, 50, 54, 55, 56, 58    2009-06 L5/2.5L     PR Code J0L                       570          H6 (48)
   2017      L4/2.0L     Opt                              540         —                                     2009-06 L5/2.5L     PR Code J0R                       80 Ah        H7 (94R)
   2017-16 L4/1.4L                                        480         H6 (48) 50, 54, 55, 56                2009-05 L5/2.5L     Opt                               640          H7 (94R) 50, 54
   2017-16 L4/1.4L       Opt                              540         —                                     2007    L4/2.0L                                       540          —
   2017-16 L4/1.4L       Opt                              640         —                                     2007    L4/2.0L     Opt                               570          H6 (48) 50, 54
   2017-16 L4/1.4L       Opt                              680         —                                     2007    L4/2.0L     Opt                               640          H7 (94R) 50, 54
   2017-16 L4/1.8L       Opt                              640         —                                     2007-06 L4/2.0L     PR Code J1D                       570          —
   2017-16 L4/1.8L       Opt                              680         —                                     2007-05 L4/2.0L     Gas, Opt                          80 Ah        H7 (94R)
   2017-16 L4/2.0L       Opt                              680         —                                     2006    L4/1.9L     Dsl                               540          —
   2017-15 L4/1.8L                                        480         H6 (48) 50, 54, 55, 56                2006    L4/1.9L     Dsl, PR Code J0L                  70 Ah        H6 (48) 50
   2017-15 L4/1.8L       Opt                              540         —                                     2006    L4/2.0L     Turbo                             540          —
   2017-15 L4/2.0L                                        480         H6 (48) 50, 54, 55, 56                2006    L4/2.0L     Turbo, Opt                        570          H6 (48) 50, 54
   2017-15 L4/2.0L       Opt                              540         —                                     2006    L4/2.0L     Turbo, Opt                        640          H7 (94R) 50, 54
   2017-15 L4/2.0L       Opt                              640         —                                     2006-05 L4/1.9L     Dsl, Opt                          570          H6 (48) 50, 54
   2016      L4/1.4L     Opt                              680         H6 (48) AGM 33, 50, 54, 55, 56        2006-98 L4/1.9L     Dsl, Opt                          640          H7 (94R) 50, 54
   2016      L4/1.4L     PR Code J0S                      540         —                                     2005    L4/1.8L     Late                              540          —
   2016      L4/1.8L     PR Code J0S                      540         —                                     2005    L4/1.9L     Dsl, Early                        520          H5 (47) 50, 54
   2016      L4/2.0L     PR Code J0S                      540         —                                     2005    L4/1.9L     Dsl, Late                         540          —
   2016-15 L4/1.8L                                        640         —                                     2005    L4/2.0L     Early                             520          H5 (47) 50, 54
   2016-15 L4/2.0L       Opt                              680         H6 (48) AGM 33, 50, 54, 55, 56        2005    L4/2.0L     Late                              540          —
   2016-14 L4/1.8L       Opt                              680         H6 (48) AGM 33, 50, 54, 55, 56        2005    L4/2.0L     Opt                               570          H6 (48) 50, 54
   2015      L4/1.4L     Hybrid                           480         H6 (48) 50, 54, 55, 56                2005    L5/2.5L     Early                             520          H5 (47) 50, 54
   2015      L4/1.4L     Hybrid, Opt                      540         —                                     2005    L5/2.5L     Late                              540          —
   2015      L4/1.4L     Hybrid, Opt                      640         —                                     2005    L5/2.5L     Opt                               540          H6 (48) 50, 54
   2015      L4/1.4L     Hybrid, Opt                      680         H6 (48) AGM 33, 50, 54, 55, 56        2005    L5/2.5L     PR Code J1L                       60 Ah        H5 (47)
   2015      L4/1.4L     Hybrid, Opt                      680         —                                     2005-03 L4/1.8L     Opt                               570          H6 (48)
   2015      L4/1.4L     Hybrid, PR Code J0S              540         —                                     2005-03 L4/1.8L     PR Code J1L                       60 Ah        H5 (47)
   2015      L4/2.0L     Dsl                              480         H6 (48) 50, 54, 55, 56                2005-03 L4/1.8L     Wagon, Opt                        640          H7 (94R)
   2015      L4/2.0L     Dsl, Opt                         540         —                                     2005-03 L4/1.9L     PR Code J1L                       60 Ah        H5 (47)
   2015      L4/2.0L     Opt                              680         —                                     2005-03 L4/1.9L     TDI                               640          H7 (94R)
   2015      L4/2.0L     PR Code J0S                      540         —                                     2005-03 L4/2.0L     PR Code J1L                       60 Ah        H5 (47)
   2015-14 L4/1.8L       Opt                              680         —                                     2005-01 L4/2.0L     Opt Incl Wagon                    640          H7 (94R)
   2015-14 L4/1.8L       PR Code J0S                      540         —                                     2005-00 L4/1.8L                                       520          H5 (47)
   2015-12 L4/2.0L       Dsl, PR Code J0S                 540         —                                     2004    L4/2.0L                                       520          H5 (47) 50, 54
   2015-11 L4/2.0L       Dsl, Opt                         640         —                                     2004    V6/2.8L     Wagon, Opt                        640          H7 (94R)
   2015-11 L4/2.0L       Dsl, Opt                         680         H6 (48) AGM 33, 50, 54, 55, 56        2004-03 V6/2.8L                                       520          H5 (47) 50, 54
   2015-11 L4/2.0L       Dsl, Opt                         680         —                                     2004-02 V6/2.8L     Opt                               640          H7 (94R)
   2014      L4/1.4L     Opt                              570         H6 (48) 50, 54                        2004-98 L4/1.9L     Dsl                               520          H5 (47) 50, 54
   2014      L4/1.8L                                      540         —                                     2003-00 L4/2.0L                                       520          H5 (47)
   2014      L4/1.8L     Opt                              570         H6 (48) 50, 54                        2002    L4/1.8L     Opt                               640          H7 (94R)
   2014      L4/1.8L     Opt                              640         —                                     2002    L4/1.9L     TDI, Wagon, Opt                   72 Ah        —
   2014-13 L4/1.4L       Hybrid                           540         —                                     2002    L4/2.0L     Wagon, Opt                        72 Ah        —
   2014-13 L4/1.4L       Opt                              640         —                                     2002-00 L4/1.9L     Dsl & Opt                         620          H7 (94R)
   2014-13 L4/1.4L       Opt                              680         H6 (48) AGM 33, 50, 54, 55, 56        2002-00 V6/2.8L                                       520          H5 (47)
   2014-13 L4/1.4L       Opt                              680         —                                     2002-98 L4/1.9L     Dsl, Opt                          570          H6 (48) 50, 54
   2014-13 L4/1.4L       PR Code J0S                      540         —                                     2002-98 L4/2.0L     Opt                               570          H6 (48) 50, 54
   2014-12 L4/2.0L       Gas, PR Code J0S                 540         —                                     2002-98 V6/2.8L     Opt                               570          H6 (48) 50, 54
   2014-12 L5/2.5L       PR Code J0S                      540         —                                     2001    L4/1.8L     Opt, Cold Climate                 760          —
   2014-11 L4/2.0L       Dsl                              540         —                                     2001    L4/1.8L     Wagon, Opt                        640          H7 (94R)
   2014-11 L4/2.0L       Gas, Opt                         640         —                                     2001    L4/1.9L     Dsl, Opt, Cold Climate            760          —
   2014-11 L4/2.0L       Gas, Opt                         680         H6 (48) AGM 33, 50, 54, 55, 56        2001    L4/2.0L     Opt, Cold Climate                 760          —
   2014-11 L4/2.0L       Gas, Opt                         680         —                                     2001    L4/2.0L     Wagon                             95 Ah        —
   2014-11 L5/2.5L       Opt                              640         —                                     2001    V6/2.8L     Opt, Cold Climate                 760          —
   2014-11 L5/2.5L       Opt                              680         H6 (48) AGM 33, 50, 54, 55, 56        2001    V6/2.8L     Wagon                             95 Ah        —
   2014-11 L5/2.5L       Opt                              680         —                                     2001    V6/2.8L     Wagon, Opt                        640          H7 (94R)
   2014-09 L4/2.0L       TDI                              540         —                                     2000    L4/1.8L     Opt                               640          H7 (94R) 50, 54
   2014-09 L4/2.0L       TDI, Opt, PR Code J1D            570         —                                     2000-98 L4/2.0L     Opt                               640          H7 (94R) 50, 54
   2014-08 L4/2.0L                                        540         —                                     2000-98 V6/2.8L     Opt                               640          H7 (94R) 50, 54
   2014-08 L4/2.0L       Gas, Opt                         570         H6 (48) AGM                           1999-98 L4/1.9L     Dsl                               575          —
   2014-06 L5/2.5L                                        540         —                                     1999-98 L4/2.0L                                       520          H5 (47) 50, 54
   2014-05 L5/2.5L       Opt                              570         —                                     1999-98 L4/2.0L                                       575          —
   2012-00 L4/1.8L       Opt                              570         H6 (48) 50, 54                        1999-98 V6/2.8L                                       520          H5 (47) 50, 54
   2011      L4/2.0L     Dsl, Opt                         540         —MOYER_DEPO                          000384
                                                                                                            1999-98 V6/2.8L                                       575          —
   See page 80 for Footnotes. Selection may vary by warehouse.                                                          Note: PR codes are located on a tag near the spare tire or in the warranty booklet
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76                                                                                               Automotive/Light Truck
                                                           ORIGINAL              GROUP SIZE                                                               ORIGINAL                GROUP SIZE
   YEAR      ENGINE                  OPTIONS              EQUIPMENT               (NOTES)                  YEAR      ENGINE                 OPTIONS      EQUIPMENT                 (NOTES)
                                                          CCA/RATING                                                                                     CCA/RATING
Volkswagen Jetta (continued)                                                                            Volkswagen Passat (continued)
1997      L4/1.9L      Dsl                                620          —                                 2005-98   V6/2.8L                               540          H6 (48) 54
1997      L4/2.0L                                         460          —                                 2004      L4/2.0L    Dsl                        640          H7 (94R) 54
1997      V6/2.8L                                         460          —                                 2004      L4/2.0L    Dsl, PR Code J0R           80 Ah        H7 (94R) 50, 58
1996      L4/1.9L      Dsl                                575          —                                 2004-03   W8/4.0L                               640          H7 (94R) 50
1996      V6/2.8L      Opt                                575          —                                 2003      V6/2.8L    Ex 4 Motion (no vent)      570          H6 (48) 50
1996-94   V6/2.8L                                         575          —                                 2002      V6/2.8L    4 Motion                   570          H6 (48) 50
1996-93   L4/1.9L      Dsl                                650          —                                 2002      W8/4.0L                               570          H6 (48) 50
1996-93   L4/2.0L                                         575          —                                 2002      W8/4.0L    Ex 4 Motion                570          H6 (48) 50, 54
1996-93   L4/2.0L      Opt                                650          —                                 2001      V6/2.8L    HD, PR Code J0R            640          H7 (94R) 50, 58
1995-93   L4/1.8L                                         575          —                                 1997      L4/1.9L    Dsl                        650          —
1995      V6/2.8L      Opt                                650          —                                 1997-93   V6/2.8L                               460          —
1994      V6/2.8L      Opt                                575          —                                 1996      L4/1.9L    Dsl                        650          —
1992-90   L4/1.6L      Dsl                                650          —                                 1996-95   L4/2.0L    Opt                        650          —
1992-90   L4/1.8L                                         500          —                                 1996-90   L4/2.0L                               460          —
1992-90   L4/2.0L                                         500          —                                 1993      L4/1.8L                               475          —
Volkswagen Jetta City                                                                                    1995-93   L4/1.9L    Dsl                        460          —
2009-07   L4/2.0L                                         540          —                                 1995-93   V6/2.8L    Opt                        650          —
2009-07   L4/2.0L      Opt                                570          H6 (48) 50, 54                    1992-91   L4/1.8L                               460          —
2009-07   L4/2.0L      Opt                                640          H7 (94R) 50, 54                  Volkswagen Passat CC
2009-07   L4/2.0L      PR Code J0R                        640          H7 (94R)                          2010-09   L4/2.0L                               480          H5 (47) 50, 54
2009-07   L4/2.0L      PR Code J1D                        570          —                                 2010-09   L4/2.0L    PR Code J1L                60 Ah        H5 (47) 50, 54, 58
2008      L4/2.0L                                         640          H7 (94R)                          2010-09   L4/2.0L    PR Code JOL                70 Ah        H6 (48) 50, 55, 56, 58
Volkswagen Passat                                                                                        2010-09   V6/3.6L                               640          —
2017-16   L4/1.8L      PR Code J0N                        540          —                                 2010-09   V6/3.6L    PR Code J1U                95 Ah        —
2017-16   L4/1.8L      PR Code J1D                        640          —                                Volkswagen Phaeton
2017-16   V6/3.6L      PR Code J0N                        540          —                                 2006      W12/6.0L                              740          —
2017-16   V6/3.6L      PR Code J1D                        640          —                                 2006      W12/6.0L   Aux, In Trunk              92 Ah        H8 (49) AGM 33
2015      L4/2.0L      Dsl, Opt                           640          —                                 2006      W12/6.0L   Starting, In Trunk         61 Ah        —
2015      L4/2.0L      Dsl, Opt                           760          —                                 2006-04   V8/4.2L                               740          —
2015-14   L4/1.8L                                         540          —                                 2006-04   V8/4.2L    Aux, In Trunk              92 Ah        H8 (49) AGM 33
2015-14   L4/1.8L      Opt                                640          —                                 2006-04   V8/4.2L    Starting, In Trunk         61 Ah        —
2015-14   L4/1.8L      Opt                                760          —                                Volkswagen R32
2015-12   L4/2.0L      Dsl                                540          —                                 2008      V6/3.2L                               640          H7 (94R) 54
2014      L4/1.8L      Option 1                           640          —                                Volkswagen Rabbit
2014      L4/1.8L      Option 2                           760          —                                 2009-06 L5/2.5L      HD, PR Code J0R            640          H7 (94R) 50, 58
2014      L4/2.0L      Option 1                           640          —                                 2009-06 L5/2.5L      PR Code J0L                540          H6 (48) 50, 55, 56, 58
2014      L4/2.0L      Option 2                           760          —
2014-13   L5/2.5L      Option 1                           640          —
                                                                                                        Volkswagen Routan
2014-13   L5/2.5L      Option 2                           760          —                                 2014-11   V6/3.6L                               700          H7 (94R)
2014-13   V6/3.6L      Option 1                           640          —                                 2010-09   V6/3.8L                               600          34
2014-13   V6/3.6L      Option 2                           760          —                                 2010-09   V6/3.8L                               700          34
2014-12   L5/2.5L                                         540          —                                 2010-09   V6/4.0L                               600          34
2014-12   L5/2.5L      Opt                                640          —                                 2010-09   V6/4.0L                               700          34
2014-12   L5/2.5L      Opt                                760          —                                Volkswagen Tiguan
2014-12   V6/3.6L                                         540          —                                 2017-12   L4/2.0L    Opt                        680          —
2014-12   V6/3.6L      Opt                                640          —                                 2017-12   L4/2.0L    PR Code J0S                540          —
2014-12   V6/3.6L      Opt                                760          —                                 2017-09   L4/2.0L                               540          —
2013      L4/2.0L      Dsl, Opt1                          640          —                                 2017-09   L4/2.0L    Opt                        640          —
2013      L4/2.0L      Dsl, Opt2                          760          —                                 2014-09   L4/2.0L    HD, PR Code J1D            640          —
2012      L4/2.0L      Dsl, Opt                           640          —                                 2014-09   L4/2.0L    Opt                        680          H6 (48) AGM 33, 50, 54, 55, 56
2012      L4/2.0L      Dsl, Opt                           760          —                                 2014-09   L4/2.0L    PR Code J1D                540          —
2010-08   L4/2.0L                                         480          H5 (47) 54                       Volkswagen Touareg
2010-08   V6/3.6L                                         640          —                       2017-11 V6/3.6L                                  640        H7 (94R) 50, 54, 55, 56
2010-08   V6/3.6L      PR Code J1D                        72 Ah        —                       2017-11 V6/3.6L Opt                              850        H8 (49) AGM 33, 50, 54, 55, 56
2010-06   L4/2.0L                                         480          H5 (47) 50, 54          2017-11 V6/3.6L Opt                              800        H7 (94R) AGM 33, 50, 54, 55, 56
2010-06   L4/2.0L      Opt                                72 Ah        —                       2017-11 V6/3.6L Opt                              850        —
2009-06   L4/2.0L      Syn/4 Mot, AGM, Opt                92 Ah        H8 (49) AGM 33          2017-11 V6/3.6L Opt                              950        —
2009-06   V6/3.6L      Syn/4 Mot, AGM                     68 Ah        H6 (48) AGM 33          2017-11 V6/3.6L Opt, PR Code J2T, w/o AGM        760         H7 (94R) 50, 54, 55, 56
2009-06   V6/3.6L      Syn/4 Mot, AGM, HD                 92 Ah        H8 (49) AGM 33          2016-11 V6/3.0L Dsl                              640        H7 (94R) 50, 54, 55, 56
2008-07   V6/3.6L      Wagon                              68 Ah        H6 (48) AGM 33          2016-11 V6/3.0L Dsl, Opt                         850        H8 (49) AGM 33, 50, 54, 55, 56
2008-07   V6/3.6L      Wagon, Opt                         92 Ah        H8 (49) AGM 33          2016-11 V6/3.0L Dsl, Opt                         800        H7 (94R) AGM 33, 50, 54, 55, 56
2008-06   V6/3.6L      Sedan                              95 Ah        —                       2016-11 V6/3.0L Dsl, Opt                         850        —
2007      L4/2.0L                                         480          H5 (47)                 2016-11 V6/3.0L Dsl, Opt                         950        —
2007      V6/3.6L                                         640          —                       2016-11 V6/3.0L Dsl, Opt, PR Code J2T            760         H7 (94R) 50, 54, 55, 56
2006      L4/2.0L                                         480          H5 (47) 54              2016-11 V6/3.0L Hybrid                           640        H7 (94R) 50, 54, 55, 56
2006      V6/3.6L                                         640          —                       2016-11 V6/3.0L Hybrid, Opt                      850         H8 (49) AGM 33, 50, 54, 55, 56
2005      L4/1.8L                                         570          H6 (48) 50              2016-11 V6/3.0L Hybrid, Opt                      800        H7 (94R) AGM 33, 50, 54, 55, 56
2005      L4/1.8L      Ex 4 Motion                        740          —                       2016-11 V6/3.0L Hybrid, Opt                      850        —
2005      L4/2.0L                                         640          H7 (94R) 54             2016-11 V6/3.0L Hybrid, Opt                      950        —
2005-04   V6/2.8L      Ex 4 Motion                        570          H6 (48) 50              2016-11 V6/3.0L Hybrid, Opt, PR Code J2T         760         H7 (94R) 50, 54, 55, 56
2005-03   V6/2.8L      4 Motion, HD, PR Code J0R          640          H7 (94R) 50, 58         2014-11 V6/3.0L Hybrid, PR Code J1N              75 Ah H7 (94R) AGM 33, 50, 54, 55, 56, 58
2005-98   L4/1.8L      Ex 4 Motion                        570          H6 (48)           MOYER_DEPO     000385
                                                                                               2014-11 V6/3.0L Opt, PR Code J1D, HD             640        —
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                         See page 80 for Footnotes. Selection may vary by warehouse.
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                                      929
   Automotive/Light Truck                                                                                                                                                                           77
                                                           ORIGINAL                GROUP SIZE                                                                          ORIGINAL              GROUP SIZE
     YEAR       ENGINE                 OPTIONS            EQUIPMENT                 (NOTES)                     YEAR      ENGINE                 OPTIONS              EQUIPMENT               (NOTES)
                                                          CCA/RATING                                                                                                  CCA/RATING
   Volkswagen Touareg (continued)                                                                            Volvo S40
   2014-11   V6/3.0L     Opt, PR Code J2T, w/o AGM       85 Ah         —                                      2011      L5/2.5L    w/o Premium Stereo                 590          —
   2014-11   V6/3.6L     Opt, PR Code J1D, HD            640           —                                      2011-06   L5/2.5L                                       520          —
   2014-09   V6/3.0L     TDI, PR Code J0Z                110 Ah        —                                      2011-05   L5/2.5L    HD, Late 2004 on                   700          H7 (94R)
   2014-07   V6/3.6L     Opt 1 PR Code J1U               760           —                                      2011-05   L5/2.5L    w/Premium Stereo                   700          H7 (94R) 50
   2014-07   V6/3.6L     Opt 2 PR Code J0Z               110 Ah        —                                      2010-07   L5/2.4L    w/Premium Stereo                   700          H7 (94R) 50
   2010-09   V6/3.0L     Dsl                             850           —                                      2010-06   L5/2.4L                                       520          —
   2010-07   V6/3.6L     Opt                             850           —                                      2010-05   L5/2.4L                                       590          —
   2009-08   V8/4.2L                                     790           —                                      2010-05   L5/2.4L    HD, Late 2004 on                   700          H7 (94R)
   2009-04   V8/4.2L     PR Code J2T. Under seat w/o AGM 85 Ah         —                                      2010-05   L5/2.5L                                       590          —
   2008-07   V10/5.0L    Dsl                             740           —                                      2005      L5/2.4L    Late 2004 on                       520          —
   2008-05   V10/5.0L    In trunk - AGM Battery          92 Ah         H8 (49) AGM 33, 50, 54, 55, 56, 58     2005      L5/2.5L    Late 2004 on                       520          —
   2008-05   V10/5.0L    Under driver seat               110 Ah        —                                      2004      L4/1.9L    Late                               590          —
   2008-05   V10/5.0L    w/o AGM                         95 Ah         —                                      2004      L4/1.9L    Late, w/Premium Stereo             700          H7 (94R) 50
   2007-06   V8/4.2L                                     740           —
                                                                                                              2004      L4/1.9L    Turbo                              600          H6 (48) 50
   2006-05   V10/5.0L    Dsl                             850           H8 (49) AGM 33, 50, 54
                                                                                                              2004      L5/2.4L    Early                              600          H6 (48)
   2006-05   V6/3.2L                                     640           H7 (94R) 50
                                                                                                              2004      L5/2.4L    Late                               590          —
   2005-04   V8/4.2L                                     740           —
                                                                                                              2004      L5/2.4L    Late, w/Premium Stereo             700          H7 (94R) 50
   2004      V10/4.9L    Aux, Dsl                        950           —
                                                                                                              2004      L5/2.5L    Early                              600          H6 (48)
   2004      V10/4.9L    Dsl                             850           H8 (49) AGM 33, 50, 54
   2004      V10/4.9L    Dsl, w/o AGM                    95 Ah         —                                      2004      L5/2.5L    Late                               590          —
   2004      V6/3.2L                                     640           H7 (94R) 50, 54                        2004      L5/2.5L    Late, w/Premium Stereo             700          H7 (94R) 50
                                                                                                              2004-00   L4/1.9L    Early 2004                         600          H6 (48)
   Volkswagen Vanagon
                                                                                                              2002-00   L4/1.9L                                       600          H6 (48)
   1991-87 H4/2.1L                                        500          —
                                                                                                             Volvo S60
   Volvo 1800
                                                                                                              2016      L4/2.0L    Start/Stop or Inscription          800          H7 (94R) AGM 33, 50
   1968    L4/1.8L                                        350          24
   1967-61 L4/1.8L                                        315          24                                     2016      L4/2.0L    Turbo, E FWD                       760          H6 (48) AGM 33
                                                                                                              2016      L5/2.5L                                       70 Ah        H6 (48) AGM 33
   Volvo 240
                                                                                                              2016      L5/2.5L    Inscription                        800          H7 (94R) AGM 33, 50
   1993-90 L4/2.3L       Std Battery                      500          H5 (47)
   1992-91 L4/2.3L       Opt                              600          H6 (48)                                2016      L6/3.0L    Polestar                           760          H6 (48) AGM 33, 50
                                                                                                              2016-15   L4/2.0L    Start/Stop, Opt                    760          H6 (48) AGM 33, 50
   Volvo 740
                                                                                                              2016-15   L5/2.5L    Opt, w/Premium Stereo              760          H6 (48) AGM 33, 50
   1992-89   L4/2.3L     Std Battery                      460          H5 (47)
   1992-85   L4/2.3L                                      520          H5 (47)                                2016-15   L6/3.0L    Opt, w/Premium Stereo              760          H6 (48) AGM 33, 50
   1992-85   L4/2.3L     Opt                              600          H6 (48)                                2016-14   L5/2.5L    w/o Premium Stereo                 600          H6 (48) 50
   1990      L4/2.3L     Opt                              500          H6 (48)                                2016-12   L5/2.5L    w/Premium Stereo                   700          —
                                                                                                              2016-11   L6/3.0L    w/o Premium Stereo                 600          H6 (48) 50
   Volvo 760
                                                                                                              2016-11   L6/3.0L    w/Premium Stereo                   700          —
   1990      L4/2.3L                                      450          H5 (47)
                                                                                                              2015      L4/2.0L    Start/Stop                         800          H7 (94R) AGM 33, 50
   1990      V6/2.8L                                      450          H5 (47)
   1990-84   L4/2.3L                                      520          H5 (47)                                2015      L4/2.0L    Turbo, E FWD, HD                   800          H7 (94R) AGM 33, 50
   1990-84   L4/2.3L     Opt                              600          H6 (48)                                2014-11   L6/3.0L    Premium Audio, RTI, RSE Opt 1      80 Ah        —
   1990-83   V6/2.8L                                      520          H5 (47)                                2014-03   L5/2.5L    Premium Audio, RTI, RSE Opt 1      80 Ah        —
   1990-83   V6/2.8L     Opt                              600          H6 (48)                                2013-12   L5/2.5L                                       600          H6 (48) 50
   Volvo 780                                                                                                  2013-11   L6/3.0L                                       600          H6 (48) 50
                                                                                                              2009-03   L5/2.5L    Opt                                800          —
   1991      L4/2.3L     Coupe                            440          H5 (47)
   1991-90   L4/2.3L     Opt                              600          H6 (48)                                2009-03   L5/2.5L    Std Battery                        600          H6 (48) 50
   1991-89   L4/2.3L                                      520          H5 (47)                                2009-01   L5/2.4L    Opt                                800          —
   1990      V6/2.8L     Opt                              600          H6 (48)                                2009-01   L5/2.4L    Premium Audio, RTI, RSE Opt 1      80 Ah        —
   1990-87   V6/2.8L                                      520          H5 (47)                                2009-01   L5/2.4L    Std Battery                        600          H6 (48) 50
                                                                                                              2008-06   L5/2.4L                                       600          H6 (48) 50
   Volvo 850
                                                                                                              2007-04   L5/2.5L                                       600          H6 (48) 50
   1997-94 L5/2.3L       Std Battery                      520          H5 (47)
                                                                                                              2004-01   L5/2.3L    Opt                                800          —
   1997-93 L5/2.4L                                        520          H5 (47)
                                                                                                              2004-01   L5/2.3L    Std Battery                        600          H6 (48) 50
   Volvo 940                                                                                                  2003-01   L5/2.4L                                       600          H6 (48) 50
   1995-91 L4/2.3L       Std Battery                      520          H5 (47)
                                                                                                             Volvo S60 Cross Country
   1992-91 L4/2.3L       Opt                              600          H6 (48)
                                                                                                              2017      L4/2.0L    Inscription                        800          H7 (94R) AGM 33, 50
   Volvo 960                                                                                                  2017      L4/2.0L    Opt, w/Premium Stereo              760          H6 (48) AGM 33, 50
   1997-92 L6/2.9L                                        600          H6 (48)                                2017      L4/2.0L    w/o Premium Stereo                 600          H6 (48) 50
   Volvo C30                                                                                                  2017      L4/2.0L    w/Premium Stereo                   700          —
   2013-08   L5/2.5L                                      590          —                                      2016      L5/2.5L                                       760          H6 (48) AGM 33, 50
   2013-07   L5/2.5L     Opt                              80 Ah        H7 (94R)                               2016      L5/2.5L    Inscription                        800          H7 (94R) AGM 33, 50
   2013-07   L5/2.5L     Std Battery                      590          —                                      2016      L5/2.5L    Opt, w/Premium Stereo              760          H6 (48) AGM 33, 50
   2010-07   L5/2.4L                                      590          —                                      2016      L5/2.5L    w/o Premium Stereo                 600          H6 (48) 50
   2010-07   L5/2.4L     Opt                              700          H7 (94R) 50                            2016      L5/2.5L    w/Premium Stereo                   700          —
   Volvo C70                                                                                                 Volvo S70
   2013-06   L5/2.5L                                      590          —                                     2000    L5/2.4L                                          600          H6 (48)
   2013-06   L5/2.5L     Opt                              80 Ah        H7 (94R)                              2000-98 L5/2.3L       Opt                                600          H6 (48)
   2013-06   L5/2.5L     Std Battery                      590          —                                     2000-98 L5/2.3L       Std Battery                        520          H5 (47)
   2004-01   L5/2.3L                                      600          H6 (48)                               2000-98 L5/2.4L       Opt                                600          H6 (48)
   2004-01   L5/2.4L                                      600          H6 (48)                               2000-98 L5/2.4L       Std Battery                        520          H5 (47)
   2000-98   L5/2.3L                                      520          H5 (47)                               1999    L5/2.4L                                          520          H5 (47)
   2000-98   L5/2.4L                                      520          H5MOYER_DEPO
                                                                          (47)                              000386
                                                                                                             1999    L5/2.4L       From Chassis #491304               600          H6 (48)
   See page 80 for Footnotes. Selection may vary by warehouse.                                                              Note: PR codes are located on a tag near the spare tire or in the warranty booklet
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                                                     929
78                                                                                       Automotive/Light Truck
                                                      ORIGINAL             GROUP SIZE                                                               ORIGINAL             GROUP SIZE
  YEAR      ENGINE                OPTIONS            EQUIPMENT              (NOTES)             YEAR      ENGINE                OPTIONS            EQUIPMENT              (NOTES)
                                                     CCA/RATING                                                                                    CCA/RATING
Volvo S80                                                                                     Volvo V70 (continued)
2016      L4/2.0L                                    760          H6 (48) AGM 33, 50          2004-01   L5/2.3L    Opt 1                           600          H6 (48) 50
2016-15   L4/2.0L    Start/Stop                      800          H7 (94R) AGM 33, 50         2004-98   L5/2.3L                                    520          H5 (47)
2016-15   L4/2.0L    Start/Stop, Opt                 760          H6 (48) AGM 33, 50          2003-02   L5/2.4L    Opt                             800          —
2015      L4/2.0L    w/o Premium Stereo              600          H6 (48) 50                  2003-99   L5/2.4L                                    520          H5 (47) 50
2015      L4/2.0L    w/Premium Stereo                700          —                           2003-99   L5/2.4L    Opt                             600          H6 (48) 50
2015      L6/3.0L    Opt, w/Premium Stereo           760          H6 (48) AGM 33, 50          2000-98   L5/2.3L    Opt                             600          H6 (48) 50
2015-14   L6/3.0L    w/o Premium Stereo              600          H6 (48) 50                  Volvo V90
2015-08   L6/3.0L    w/Premium Stereo                700          —                           1998-97 L6/2.9L                                      600          H6 (48) 50
2014      L6/3.2L    w/o Premium Stereo              600          H6 (48) 50
2014-08   L6/3.0L    Premium Audio, RTI, RSE Opt 1   80 Ah        —
                                                                                              Volvo XC60
2014-07   L6/3.2L    Premium Audio, RTI, RSE Opt 1   80 Ah        —                           2016      L4/2.0L                                    70 Ah        H6 (48) AGM 33
2014-07   L6/3.2L    w/Premium Stereo                700          —                           2016      L4/2.0L    E FWD                           80 Ah        H7 (94R) AGM 33, 50
2013-08   L6/3.0L                                    600          H6 (48) 50                  2016      L5/2.5L                                    700          —
2013-07   L6/3.2L                                    600          H6 (48) 50                  2016      L5/2.5L    Opt                             70 Ah        H6 (48) AGM 33, 50
2011-10   L6/3.0L    w/o Premium Stereo              600          H6 (48) 50                  2016      L6/3.0L                                    700          —
2010      V8/4.4L    w/Premium Stereo                700          —                           2016      L6/3.0L    Opt                             70 Ah        H6 (48) AGM 33, 50
2010-07   V8/4.4L                                    600          H6 (48) 50                  2016-15   L4/2.0L    Start/Stop                      800          H7 (94R) AGM 33, 50
2010-07   V8/4.4L    Premium Audio, RTI, RSE Opt 1   80 Ah        —                           2016-15   L4/2.0L    Start/Stop, Opt                 760          H6 (48) AGM 33, 50
2010-07   V8/4.4L    Premium Audio, RTI, RSE Opt 2   800          —                           2016-15   L5/2.5L    Opt, w/Premium Stereo           760          H6 (48) AGM 33, 50
2009-08   L6/3.2L    w/o Premium Stereo              600          H6 (48) 50                  2016-15   L5/2.5L    w/o Premium Stereo              600          H6 (48) 50
2009-07   V8/4.4L    Opt                             700          —                           2016-15   L5/2.5L    w/Premium Stereo                700          —
2006-04   L5/2.5L                                    600          H6 (48) 50                  2016-15   L6/3.0L    Opt, w/Premium Stereo           760          H6 (48) AGM 33, 50
2006-04   L5/2.5L    Opt                             800          —                           2016-10   L6/3.0L    w/o Premium Stereo              600          H6 (48) 50
2005-99   L6/2.9L                                    600          H6 (48) 50                  2016-10   L6/3.0L    w/Premium Stereo                700          —
2005-99   L6/2.9L    Opt                             800          —                           2015      L4/2.0L                                    800          H7 (94R) AGM 33, 50
2001-99   L6/2.8L                                    600          H6 (48) 50                  2015      L6/3.2L    Opt, w/Premium Stereo           760          H6 (48) AGM 33, 50
2001-99   L6/2.8L    Opt                             800          —                           2015-10   L6/3.2L    w/o Premium Stereo              600          H6 (48) 50
Volvo S90                                                                                     2015-10   L6/3.2L    w/Premium Stereo                700          —
                                                                                              2014-10   L6/3.0L    Opt                             80 Ah        —
2017    L4/2.0L                                      800          H7 (94R) AGM 33, 50
                                                                                              2014-10   L6/3.2L    Opt                             80 Ah        —
2017    L4/2.0L      Opt                             850          H8 (49) AGM 33, 50
                                                                                              2013-10   L6/3.0L    Std Battery                     70 Ah        H6 (48)
1998-97 L6/2.9L                                      600          H6 (48) 50
                                                                                              2013-10   L6/3.2L                                    70 Ah        H6 (48)
Volvo V40
                                                                                              Volvo XC70
2004-00 L4/1.9L                                      600          H6 (48) 50
                                                                                              2016-15   L4/2.0L    Start/Stop, Opt                 760          H6 (48) AGM 33, 50
Volvo V50                                                                                     2016      L4/2.0L                                    80 Ah        H7 (94R) AGM 33
2011-05   L5/2.5L                                    590          —                           2016      L4/2.0L    E-FWD Pkg, Keyless locking      70 Ah        H6 (48) AGM 33, 50
2011-05   L5/2.5L    Opt                             700          H7 (94R)                    2016      L4/2.0L    Start/Stop                      800          H7 (94R) AGM 33, 50
2010-05   L5/2.4L                                    590          —                           2016      L5/2.5L                                    80 Ah        H7 (94R) AGM 33
2010-05   L5/2.4L    Opt                             700          H7 (94R)                    2016      L5/2.5L    AWD                             70 Ah        H6 (48) AGM 33, 50
2007-05   L5/2.5L    w/o Premium Stereo              590          —                           2016      L5/2.5L    Opt, w/Premium Stereo           760          H6 (48) AGM 33, 50
2007-05   L5/2.5L    w/Premium Stereo                700          H7 (94R) 50                 2016      L5/2.5L    w/o Premium Stereo              600          H6 (48) 50
Volvo V60                                                                                     2016      L5/2.5L    w/Premium Stereo                700          —
2016      L4/2.0L                                    760          H6 (48) AGM 33, 50          2015      L4/2.0L                                    800          H7 (94R) AGM 33, 50
2016      L4/2.0L    Start/Stop or Inscription       800          H7 (94R) AGM 33, 50         2015      L6/3.0L    Opt, w/Premium Stereo           760          H6 (48) AGM 33, 50
2016      L6/3.0L    Polestar                        760          H6 (48) AGM 33, 50          2015      L6/3.2L    Opt, w/Premium Stereo           760          H6 (48) AGM 33, 50
2016      L6/3.0L    w/Premium Stereo                700          —                           2015-09   L6/3.0L    w/o Premium Stereo              600          H6 (48) 50
2016-15   L4/2.0L    Start/Stop, Opt                 760          H6 (48) AGM 33, 50          2015-09   L6/3.0L    w/Premium Stereo                700          —
2016-15   L6/3.0L    Opt, w/Premium Stereo           760          H6 (48) AGM 33, 50          2015-08   L6/3.2L    w/o Premium Stereo              600          H6 (48) 50
2016-15   L6/3.0L    w/o Premium Stereo              600          H6 (48) 50                  2015-08   L6/3.2L    w/Premium Stereo                700          —
2015      L4/2.0L                                    800          H7 (94R) AGM 33, 50         2014-09   L6/3.0L    SI6                             590          H6 (48)
2015      L4/2.0L    Start/Stop                      800          H7 (94R) AGM 33, 50         2014-09   L6/3.0L    SI6, Prem Audio, RTI, RSE       80 Ah        —
2015      L5/2.5L    Opt, w/Premium Stereo           760          H6 (48) AGM 33, 50          2014-08   L6/3.2L    SI6                             590          H6 (48)
2015      L5/2.5L    w/o Premium Stereo              600          H6 (48) 50                  2014-08   L6/3.2L    SI6, Prem Audio, RTI, RSE       80 Ah        —
2015      L5/2.5L    w/Premium Stereo                700          —                           2007-04   L5/2.5L                                    520          H5 (47) 50
2015      L6/3.0L    w/Premium Stereo                700          —                           2007-04   L5/2.5L    Opt                             600          H6 (48) 50
Volvo V60 Cross Country                                                                       2007-03   L5/2.5L    Ex Premium Audio, RTI, RSE      520          H5 (47) 50
2016      L5/2.5L    E FWD                           80 Ah        H7 (94R) AGM 33             2007-03   L5/2.5L    Opt                             800          —
2016      L5/2.5L    Inscription                     800          H7 (94R) AGM 33, 50         2007-03   L5/2.5L    RTI, RSE, Opt 1                 600          H6 (48) 50
2016-15   L5/2.5L    Opt, w/Premium Stereo           760          H6 (48) AGM 33, 50          Volvo XC90
2016-15   L5/2.5L    w/o Premium Stereo              600          H6 (48) 50             2016    L4/2.0L Early                                     95 Ah H8 (49) AGM 33, 50
2016-15   L5/2.5L    w/Premium Stereo                700          —                      2016    L4/2.0L Late                                      80 Ah H7 (94R) AGM 33, 50
Volvo V70                                                                                2014-07 L6/3.2L Opt                                       760        —
2010-08   L6/3.2L    Ex Premium Audio, RTI, RSE      600          H6 (48) 50             2014-07 L6/3.2L Std Battery                               600         H6 (48) 50
2010-08   L6/3.2L    Premium Audio, RTI, RSE         80 Ah        —                      2011-05 V8/4.4L Opt                                       760        —
2010-08   L6/3.2L    w/Premium Stereo                700          —                      2011-05 V8/4.4L Std Battery                               600         H6 (48) 50
2007-03   L5/2.5L                                    520          H5 (47)                2010-07 L6/3.2L                                           600        H6 (48) 50
2007-03   L5/2.5L    HD, Electronic Upgrade          800          —                      2006-04 L5/2.5L                                           600        H6 (48) 50
2007-03   L5/2.5L    Opt 1                           600          H6 (48) 50             2006-03 L5/2.5L Opt                                       760        —
2007-02   L5/2.4L    HD, Electronic Upgrade          800          —                      2006-03 L5/2.5L Std Battery                               600         H6 (48) 50
2007-98   L5/2.4L                                    520          H5 (47)                2005-03 L6/2.9L                                           600        H6 (48) 50
2007-98   L5/2.4L    Opt 1                           600          H6 (48) 50             2005-03 L6/2.9L Opt                                       760        —
2004-02   L5/2.3L    HD, Electronic Upgrade          800          —                MOYER_DEPO      000387
                                                                                         2005-03 L6/2.9L Std Battery                               600         H6 (48) 50
                                                                                                                              See page 80 for Footnotes. Selection may vary by warehouse.
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   Automotive/Light Truck                                                                                                                           79
                                                           ORIGINAL         GROUP SIZE                                   ORIGINAL            GROUP SIZE
     YEAR       ENGINE               OPTIONS              EQUIPMENT          (NOTES)       YEAR     ENGINE    OPTIONS   EQUIPMENT             (NOTES)
                                                          CCA/RATING                                                    CCA/RATING
   Workhorse FasTrack FT1061                                                             Workhorse FasTrack FT1800
   2005-04 V8/4.8L                                        690          78                2001-00 V8/5.7L                690          78
   2004-02 V8/5.7L                                        690          78                Workhorse FasTrack FT1801
   Workhorse FasTrack FT1260                                                             2005-04 V8/6.0L                690          78
   2001-00 V8/5.7L                                        690          78                2005-02 V8/6.5L                600          78 2
   Workhorse FasTrack FT1261                                                             2004-02 V8/5.7L                690          78
   2005    V8/4.8L                                        690          78                Workhorse FasTrack FT1802
   2005-04 L4/3.9L                                        690          78                2003-02 V8/5.7L                690          78
   2005-02 V8/5.7L                                        690          78                2003-02 V8/6.5L                600          78 2
   Workhorse FasTrack FT1460                                                             Workhorse FasTrack FT931
   2002-00 V8/5.7L                                        690          78                2003-02 V6/4.3L                690          78
   Workhorse FasTrack FT1461                                                             Workhorse P30
   2005-04   L4/3.9L                                      690          78                2005-00 V8/5.7L                690          78
   2005-04   V8/4.8L                                      690          78                Yugo Cabrio
   2005-04   V8/6.0L                                      690          78                1992    L4/1.3L                370          58 45
   2005-02   V8/5.7L                                      690          78                1991-90 L4/1.3L                370          58
   Workhorse FasTrack FT1600                                                             Yugo GV
   2001-00 V8/5.7L                                        690          78                1992     L4/1.3L               370          —
   Workhorse FasTrack FT1601                                                             1991     L4/1.3L               370          —
   2005-04 L4/3.9L                                        690          78                1990     L4/1.3L               370          —
   2005-04 V8/4.8L                                        690          78
   2005-02 V8/5.7L                                        690          78




                                                                        MOYER_DEPO 000388
   See page 80 for Footnotes. Selection may vary by warehouse.
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80                                                                                                                      Footnotes
2.      Two batteries may be required.
      %HVWŴWHVWLPDWH
     &KHFNIRUKHLJKW KRRGFOHDUDQFH WUD\URRPDQGKROGGRZQŴW&KHFNFOHDUDQFHEHIRUHFRQQHFWLQJFDEOHV
7.      Check polarity and cable length before connecting cables.
9.       Manufacturer’s recommended replacement battery shown. May vary from OE battery.
     2(EDWWHU\KDVŵXVKYHQWV
   5 HTXLUHVLQGLYLGXDOYHQWFDSVIRUSURSHUKRRGFOHDUDQFH'RQRWŴWEDWWHULHVZLWKSRGW\SHYHQWFDSV
18.    I-drive vehicles require system reset after battery installation. See BMW authorized repair for service.
23.    Special 12V: 10" x 6 1Ş16" x 8 3Ş8". Check polarity before installing.
30.    Special 12V: 9" x 7 1Ş4" x 7 1Ş2"
31.    Special deep-cycle battery
33.    Valve-regulated AGM battery
34.    Vibration-resistant battery
35.    Without handle bracket
40.    Battery in “active cooling box” with air snorkel to outside of engine compartment.
45.    Non-BCI group size
47.    The recommended battery for this vehicle is based on Ah and not CCA.
50.    Battery is vented outside of vehicle.
52.    Use with Land Rover adapter AMR3679S, clamp AMR3679, J bolts AMR3681.
54.    CCA is an EN (European Norm) rating
55.    Vehicle computer system must be reset. Contact your service specialist.
56.    Various group size batteries used in production.
57.    Models (2008 and 2009) with “MyGig” REN or REZ radios require the feed fuse for the radio to be removed before disconnecting battery.
       See Chrysler 08-003-09 Service procedure.
58.    PR codes are located on a tag near the spare tire or in the warranty booklet.
59.    Enhanced Flooded Battery (EFB)
60.    Lithium-ion battery only
61.    With sensor




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                                BATTERY
                                BASICS                               AGM
                                                                      G VS.
                                                                         S FLOODED
                                                                             OO




   INTERSTATE® ABSORBED GLASS-MAT (AGM)) BATTERIES DUH
   GHVLJQHG WR SURYLGH WKH VXSHULRU SRZHU
                                       ZHU UHOLDELOLW\
   DQG VDIHW\ QHHGHG IRU PDQ\ RI WRGD\ŔV
                                       \ŔV YHKLFOHV
   7RGD\ YHKLFOHV KDYH  HOHFWULFDO GHYLFHV  \HDUV
   DJR YHKLFOHV KDG DURXQG  — Modern
                                       ern Tire Dealer
   • 'HVLJQHG IRU KLJKHU DFFHVVRU\ ORDGV
                                       DGV VWDUWVWRS
    V\VWHPV *36 %OXHWRRWK VDWHOOLWH UDGLR DQG PRUH
   • 6XSHULRU VWDUWLQJ SRZHU DQG SHUIRUPDQFH
                                      UPDQFH LQ
    H[WUHPH ZHDWKHU FRQGLWLRQV
   •   6SLOOSURRI GHVLJQ




                                                           INTERSTATE STARTING/STANDARD BATTERIES SURYLGH
                                                           INTERSTATE
                                                           WKH SRZHU WR VWDUW D YHKLFOH DQG VXSSRUW VWDQGDUG
                                                           HOHFWULFDO DFFHVVRULHV UHOLDEO\
                                                           •   ,QWHQGHG IRU QRUPDO VWDUWLQJ OLJKWLQJ DQG LJQLWLRQ
                                                           •   5HOLDEOH FUDQNLQJ SRZHU
                                                           •   )LWV VWDQGDUG YHKLFOH PRGHOV
                                                           6WLOOQRWVXUHDERXWWKHEHVWĬWIRU\RXUYHKLFOH"
                                                           &RQVXOWWKLVEDWWHU\UHSODFHPHQWJXLGHRUD&RVWFR
                                                           VDOHVDVVRFLDWHIRUPRUHLQIRUPDWLRQ




                                         COSTCO LIMITED BATTERY WARRANTY
                 $XWRPRWLYH EDWWHULHV DUH EDFNHG E\ DQ H[FOXVLYH ZDUUDQW\ 7KH ZDUUDQW\ LV SRVWHG
                    DW WKH EDWWHU\ UDFN GLVSOD\ <RX PD\ DOVR YLVLW WKH 7LUH 6DOHV 'HVN IRU GHWDLOV

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                                        BATTERY REPLACEMENT GUIDE 2019
                                          USA




                                       DEP
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             FIND YOUR
             PERFECT
             FIT                  BATTERY REPLACEMENT
                                  GUIDE 2 0 2 0
                                   USA




                                                                                Costco_001642
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How to Use This Battery Replacement Guide

Choosing Your Battery Is as Easy as                                                                                 1 • 2 • 3
1 ,GHQWLI\ WKH PDNH PRGHO DQG \HDU RI \RXU YHKLFOH
      H[DPSOH  )RUG ) 3LFNXS


2 )LQG \RXU YHKLFOH LQ WKH UHSODFHPHQW JXLGH
                                                                      Example
                YEAR      ENGINE                     OPTIONS             ORIGINAL EQUIPMENT           GROUP SIZE        ALTERNATE SIZE
                                                                             CCA/RATING                (NOTES)             (NOTES)

              Ford F-150, F-150 Heritage
              2017-15   V8/5.0L     Ex King Ranch, Lariat, Platinum            610              H6 (48)             H6 (48) AGM
              2017-15   V8/5.0L     King Ranch, Lariat, Platinum               730              H7 (94R)            H7 (94R) AGM
              2015      V6/2.7L     King Ranch, Lariat, Platinum               800              H7 (94R) AGM 33     — 33
              2014-11   V6/3.5L                                                750              65                  65 AGM
              2014-11   V6/3.7L                                                750              65                  65 AGM
              2014-11   V8/5.0L                                                750              65                  65 AGM
              2014-10   V8/6.2L                                                750              65                  65 AGM
              2010-07   V8/4.6L     Opt                                        650              65                  65 AGM
              2010-07   V8/5.4L     Opt                                        650              65                  65 AGM
              2010-97   V8/4.6L                                                540              59                  —
              2010-97   V8/5.4L                                                540              59                  —
              2008-07   V6/4.2L     Opt                                        650              65                  65 AGM
              2008-97   V6/4.2L                                                540              59                  —
              2006-97   V6/4.2L     HD, Can                                    650              65                  65 AGM




3 8VH WKH *URXS 6L]H VSHFLĬHG LQ WKH UHSODFHPHQW JXLGH WR ĬQG \RXU
       EDWWHU\ RQ WKH UDFN 7KH *URXS 6L]H LV ORFDWHG LQ WKH IROORZLQJ SODFHV

                                   Front label                                                                                     Sign on shelf



                                                             65
                                                                                        AUTOMOTIVE




                                                   GROUP



                                                                                                                                                            850
                                                     SIZE




                                                             850                                                    65
                                                                                                                                                     CCA




                                                                                                                                                            36
                                                      CCA                                                  GROUP
                                                                                                             SIZE                                 LIMITED
                                                                                                                                               WARRANTY




                                                             36
                                                                                                                                                              MONTH
                                                                                                                                             REPLACEMENT


                                                   LIMITED
                                                WARRANTY              MONTH
                                              REPLACEMENT                                                                                           ITEM# 852186




    )RU D FRPSOHWH OLVW RI DSSOLFDWLRQV LQFOXGLQJ YLQWDJH YLVLW &RVWFRFRP &OLFN RQ 6KRS $OO
    'HSDUWPHQWV  7LUHV $XWR  ,QWHUVWDWH %DWWHULHV WR ĬQG D EDWWHU\ IRU \RXU FDU RU WUXFN




                                                                                                                                                                      Costco_001643
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   Table of Contents                                                                                           1

          How to Use This Battery Replacement Guide                            Inside Front Cover

          Battery Basics                                                                               2

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          AGM vs. Flooded/Warranty                                              Inside Back Cover




          The replacement battery information in this catalog has been obtained from Battery Council
          International (“BCI”), original equipment (“OE”) manufacturers and other industry sources.
          Users are cautioned that the information in this catalog was the most current information
          provided at the time of publication. However, the information is subject to change upon
          QRWLFHIURP2(PDQXIDFWXUHUVRUĬHOGH[SHULHQFH7KHUHIRUHXVHUVVKRXOGXVHWKHPRVW
          current edition of the Battery Replacement Data Book.

          :KLOH,QWHUVWDWH%DWWHULHVDQG%&,KDYHPDGHHYHU\HıRUWWRDFFXUDWHO\FDWDORJWKHUHSODFHPHQW
          EDWWHU\LQIRUPDWLRQLQWKLVFDWDORJWKH\GLVFODLPDQ\OLDELOLW\H[SUHVVHGRULPSOLHGIRUWKH
          accuracy of this information or for damages as a consequence of using or misusing this
          information. Since some OE manufacturers do not provide complete replacement battery
          GDWDDQHVWLPDWHIRUUHSODFHPHQWEDWWHU\VL]HLVJLYHQIRUHQGXVHUJXLGDQFH)RUVSHFLĬF
          replacement battery size information, see the OE manufacturer.




                                                                                                             Costco_001644
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2                                                                Battery Basics

How a Battery Works                              2. POWER What are the Cold Cranking Amp
A battery stores energy in chemical form that    requirements of your vehicle? The power a
can be released on demand as electricity. This   battery can deliver decreases as the tempera-
electrical power is used by the car’s ignition   ture gets colder. Batteries are rated at both
system for cranking the engine. The car’s        Ƅb) &UDQNLQJ$PSV&$ DQGƄb) &ROG
battery also may power the lights and other      Cranking Amps/CCA). Using either rating
accessories. Should the alternator or fan belt   for comparison, the higher the number, the
fail, the battery might also need to power the   greater the starting power of the battery.
vehicle’s entire electrical system for a short
period of time.                                  3. WARRANTY Automotive batteries are
                                                 EDFNHGE\DQH[FOXVLYHZDUUDQW\7KHZDUUDQW\
Three Things to Consider When Buying             is posted at the battery rack display. You may
a Battery                                        also visit the Tire Sales Desk for details.
1. SIZE What are the dimensions of your
original equipment battery? The Battery
Council International (BCI) uses a two-digit
number to identify the height, length and
width shape of original equipment sizes.


             As the temperature drops, more cranking power is required to start
                a vehicle’s engine, but a battery’s available power decreases.



                                                                     AS THE
                                                                  TEMPERATURE
                                                                   DECREASES,
                                                                   THE ENGINE
                                                                    DEMANDS
                                                                      MORE
                                                                    CRANKING
                                                                     POWER.




                                                                                                  Costco_001645
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   %DWWHU\6SHFLğFDWLRQV                                                                                                     

                           Costco Item                                                 Overall Dimensions (inches)     Warranty
      Group Size                             CCA            CA        RC      Ah
                            Number                                                   Length       Width      Height    (months)
                                                       Interstate Automotive
          25                852231           550             690       100      —     9           6 7Ş8      8 3Ş4       36
          51                852180           500             625        85      —     9 3Ş8       5 1Ş8      8 7Ş8       36
         51R               852210            500             625       85      —      9 3Ş8       5 1Ş8      8 7Ş8       36
          58                852203           550             690        80      —     9 1Ş2       7 1Ş4      6 7Ş8       36
          59               1131494           590             740       100      —    10 1Ş16      7 5Ş8      7 3Ş4       36
          65                852186           850            1000       150      —    11 3Ş8       7 1Ş2      7 1Ş2       36
         96R               852197            590             740       95      —      9 1Ş2       6 15Ş16    6 15Ş16     36
        121R               1130744           600             750       100      —     8 1Ş4       7          5           36
        124R                852235           700             875       120      —    10 3Ş8       7          8 5Ş8       36
          24                852163           700             875       130      —     8 3Ş4       6 7Ş8     11           36
         24F               852154            700             875       130      —     8 3Ş4       6 7Ş8     11           36
          27               1130806           810            1000       140      —    12 1Ş16      6 13Ş16    8 7Ş8       36
          34               8850241           800            1000       110      —    10 1Ş4       6 13Ş16    7 7Ş8       36
          35               8850242           640             800       100      —     9           6 7Ş8      8 3Ş4       36
         36R               852185            650             815       130      —    10 3Ş8       7 1Ş4      8 1Ş8       36
         40R               852174            590             740       105      —    10 15Ş16     6 7Ş8      6 7Ş8       36
       H6 (48)             8852242           730             910       115     70    10 7Ş8       6 7Ş8      7 1Ş2       36
          75               8850261           650             875        95      —     9           7 1Ş4      7 5Ş8       36
          78                879463           800            1000       110      —    10 1Ş4       7 1Ş4      7 5Ş8       36
         100               1131795           800             965       110      —    10 1Ş4       7 1Ş4      7 5Ş8       36
          86                852195           590             810       110      —     9 1Ş16      6 13Ş16    8           36
       90 (T5)             1130685           600             750       100      —     9 9Ş16      6 7Ş8      6 7Ş8       36
         26R               1131856           540             675        81      —     8 3Ş16      6 13Ş16    7 13Ş16     36
       H5 (47)             852243             —               —          —     60     9 1Ş2       6 7Ş8      7 1Ş2       36
      H7 (94R)              852241            —               —          —     80    12 3Ş8       6 7Ş8      7 1Ş2       36
       H8 (49)             852240            730             910       175     90    13 15Ş16     6 7Ş8      7 1Ş2       36
          79               1130566           840            1050       140      —    12 1Ş16      7 1Ş16     7 3Ş8       36
         27F               1131901           710             890       165      —    12 1Ş16      6 13Ş16    8 7Ş8       36
    H5 (47) AGM            1355768           650             750       100     60     9 1Ş2       6 7Ş8      7 1Ş2       36
    H6 (48) AGM            1355770           760             950       120     70    10 15Ş16     6 7Ş8      7 1Ş2       36
    H7 (94R) AGM           1355852           850            1000       140     80    12 9Ş16      6 7Ş8      7 1Ş2       36
    H8 (49) AGM            1355853           900            1000       160     95    13 15Ş16     6 7Ş8      7 1Ş2       36
    H9 (95R) AGM           1355854           950            1000       190    100    15 9Ş16      6 7Ş8      7 1Ş2       36
      24F AGM              1421400           710             885       120      —    10 15Ş16     6 3Ş4      9           36
      35 AGM               1421402           650             800       100      —     9 1Ş16      6 15Ş16    8 7Ş8       36
      65 AGM               1421403           750             935       120      —    12 1Ş16      7 9Ş16     7 7Ş16      36
                                                   Interstate Batteries Marine/RV
        24DC                850281            550         MCA 700      140      —    11           6 7Ş8       9 1Ş2      12
        27DC                850982            600         MCA 750      160      —    12 3Ş4       6 3Ş4       9 1Ş2      12
      24M AGM              1444326            750         MCA 940      140     70    10 1Ş4       6 13Ş16     8 7Ş8      12
                                                Interstate Batteries Lawn & Garden
         U1                 850283            230            300        30      —     7 3Ş4       5 3Ş16      7 5Ş16      6
                                                  Interstate Batteries Commercial
         8D                989782            1400           1750       450      —    20 3Ş4      11           9 5Ş8      12
         31T               1333133            950           1190       195      —    13           6 3Ş4       9 3Ş8      18
         31A               1333040            950           1190       195      —    13           6 3Ş4       9 3Ş8      18
                                                   Interstate Batteries Golf Car
                               Costco Item                                             Overall Dimensions (inches)     Warranty
    Group Size     Volts                                 RC                   Ah
                                Number                                               Length       Width      Height    (months)
      GC2            6           850284             RC @ 75A 105              175    10 5Ş16      7 1Ş8     11           12
      GC8            8           850984             RC @ 56A 110              135    10 5Ş16      7 1Ş8     11           12
      GC12          12           851560             RC @ 75A 70               120    13           7 1Ş8     10 3Ş4       12


                                                                                                                          Costco_001646
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4                                                                          BCI Assembly Figures
                                   Assembly
Group Dimensions (inches)
                                    Figure Voltage
  Size Length Width Height Number
   21    8 1Ş8    6 3Ş4    8 9Ş16      10    12
  21R    8 1Ş8    6 3Ş4    8 9Ş16      11    12
  22F    9 3Ş8    6 7Ş8    8 3Ş16      11F   12
 22NF    9 Ş8
           3
                  5 Ş2
                    1
                           8 Ş16
                             13
                                       11F   12
   24   11        6 7Ş8    8 3Ş4       10    12
  24F   10 15Ş16  6 7Ş8    8 11Ş16     11F   12
   25    9 11Ş16  6 7Ş8    8 13Ş16     10    12
   26    8 1Ş2    6 3Ş4    7 3Ş4       10    12
  26R    8 1Ş2    6 3Ş4    7 3Ş4       11    12
   27   12 3Ş4    6 5Ş8    8 13Ş16     10    12
  27F   12 3Ş4    6 5Ş8    8 13Ş16     11F   12
 29NF 13          5 1Ş2    8 15Ş16     11F   12
   34   10 15Ş16  6 7Ş8    7 13Ş16     10    12
   35    9 11Ş16  6 7Ş8    8 13Ş16     11    12
  36R   10 3Ş8    7 1Ş4    8 7Ş8       19    12
  40R   11 3Ş8    6 13Ş16  6 13Ş16     15    12
   41   12 1Ş4    6 7Ş8    6 7Ş8       15    12
   42    9 Ş2
           1
                  6 Ş8
                    7
                           6 Ş8
                             7
                                       15    12
   45    9 3Ş8    5 1Ş2    8 13Ş16     10F   12
   46   10 15Ş16  6 13Ş16  8 11Ş16     10F   12
47 (H5) 9 1Ş16    6 15Ş16  7 1Ş2    24(A,F)  12
48 (H6) 11 3Ş8    6 7Ş8    7 1Ş2       24    12
49 (H8) 14 Ş16
           5
                  6 Ş8
                    7
                           7 Ş2
                             1
                                       24    12
   50   13 1Ş4    5 9Ş16   8 13Ş16     10    12
   51    9 3Ş8    5 1Ş8    8 7Ş8       10    12
  51R    9 5Ş16   5        8 11Ş16     11    12
   56   10 11Ş16  6        8 5Ş16      19    12
   58   10        7 Ş16
                    3
                           7           26    12
  58R   10        7 3Ş16   7           19    12
   59   10        7 7Ş16   7 5Ş8       21    12
   64   12 1Ş4    6 1Ş4    8 13Ş16     20    12
   65   12        7 7Ş16   7 5Ş8       21    12
   66   12 Ş16
           1
                  7 Ş16
                    7
                           7 Ş16
                             11
                                       13    12
   70    8 11Ş16  6 3Ş4    7 7Ş16      17    12
   74   10 7Ş8    7 1Ş4    8 3Ş8       17    12
   75    9 11Ş16  7 1Ş4    7 1Ş4       17    12
   78   10 15Ş16  7 1Ş4    7 1Ş4       17    12
   79   12 1Ş16   7 1Ş16   7 3Ş8       35    12
   85    9 1Ş8    6 13Ş16  7 13Ş16     11    12
   86    9 1Ş16   6 7Ş8    8           10    12
   92   12 11Ş16  6 15Ş16  6 15Ş16     24    12
  94R   12 3Ş8    6 7Ş8    8           24    12
  95R   15 9Ş16   6 15Ş16  7 1Ş2       24    12
  96R    9 1Ş2    6 13Ş16  6 7Ş8       15    12
  100   10 1Ş4    7 1Ş16   7 3Ş8       35    12
  101   10 1Ş4    7 1Ş16   6 11Ş16     17    12
 121R    8 Ş4
           1
                  7        8 Ş2
                             1
                                       19    12
 124R 10 5Ş16     7        8 5Ş8       19    12
  30H   13 1Ş2    6 13Ş16  9 1Ş4       10    12
   31   13        6 13Ş16  9 3Ş8     18(A,T) 12
  31P   13        6 13Ş16  9 3Ş8     18(A,T) 12
  27M 12 7Ş8      6 3Ş4    9 1Ş8       NA    12
  24M 11 1Ş16     6 3Ş4    9 1Ş8       NA    12
 29HM 13          6 3Ş4   10           NA    12
   4D   20        8 3Ş16   9 9Ş16       8    12
   8D   20 3Ş8   10 1Ş8    9 13Ş16      8    12
  3EE   19 1Ş4    4 1Ş4    8 9Ş16       9    12
   3ET  19 1Ş4    4 1Ş4    9 9Ş16       9    12
  4DLT 20         8 3Ş16   7 15Ş16     NA    12
  16TF 16 9Ş16    7 1Ş8   11 1Ş8       10F   12
  17TF 17 1Ş16    6 15Ş16  7 15Ş16     11L   12
   U1    8 1Ş4    5 3Ş16   7 3Ş16     10(X)  12
  U1R    8 1Ş4    5 3Ş16   7 3Ş16     11(X)  12
 U1RT    8 1Ş4    5 3Ş16   7 3Ş16      11    12
34/78DT 11        7 1Ş4    8 1Ş8       NA    12
75/86DT 9 11Ş16   7 1Ş4    8 1Ş8       NA    12
    1    9 1Ş8    7 1Ş8    9 3Ş8        2     6
    2   10 3Ş8    7 1Ş8    9 3Ş8        2     6
    4   12 7Ş8    7        9 3Ş8        2     6
  3EH   19 1Ş4    4 1Ş4    9 9Ş16       5     6
 17HF    7 3Ş8    6 7Ş8    9           2B     6
  19L    8 Ş2
           1
                  7        7 Ş2
                             1
                                        2     6      Designs and designations supplied by Battery Council International and are provided for
                                                     UHIHUHQFHRQO\6HHVSHFLŴFDWLRQFKDUWIRUGLPHQVLRQDOGHWDLOV


                                                                                                                                               Costco_001647
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   Group Size Dimensions                                                                                                          5

                                    BCI DESIGN                                                          *DIN DESIGN




                                        FORD                                                           FORD/MAZDA




                                                                   GENERAL MOTORS




   127('LPHQVLRQVOLVWHGDERYHDUH%DWWHU\&RXQFLO,QWHUQDWLRQDO %&, GLPHQVLRQV%DWWHU\GLPHQVLRQVDUHURXQGHGWR".
    ',1  'HXWVFKHV,QVWLWXWI¾U1RUPXQJ *URXSVL]HVVKRZQDUH%&,HTXLYDOHQWWR',1JURXSVL]HV


                                                                                                                                Costco_001648
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6         Special Installation Instructions—Imports

Toyota/Nissan’s Recommended Procedures              Mazda’s Recommended Procedures
for Bypassing Battery Sensors                       for Bypassing Battery Sensor
Certain Toyota models equipped with                 An electrolyte level sensor was used on the
Toyota’s ESP System (Electrolyte Sensor             1979-1981 Mazda 626 Coupe. This sensor is
3UREH DQG1LVVDQ=;V                 not compatible with replacement batteries
equipped with their battery level sensor, are       and therefore, must be bypassed when
not compatible with replacement batteries.          replacing the original equipment battery.
To compensate for this, both manufacturers          Mazda provides the following procedures for
have issued procedures for bypassing these          bypassing their sensor:
systems.
                                                    )L[WKHVHQVRUKDUQHVVWRQHDUE\PDLQ
Below are the recommended Toyota and                    harness.
1LVVDQSURFHGXUHVIRUE\SDVVLQJWKHVH
systems.                                            2. Remove the warning light bulb from the
                                                        dash.
Toyota—Vehicles equipped with the ESP
System: The battery phase of the ESP                OR
System cannot be made to operate with               Make a suitable harness arrangement to
replacement batteries. Toyota suggests              supply voltage from the ignition switch to the
unplugging the electrolyte sensor and               sensor circuit so that the warning light does
hooking the wire to the blue wire of the            QRWFRPHRQ1RWHWKDWWKHZDUQLQJOLJKW
windshield washer pump.                             only comes on when the circuit is open. (See
Nissan—Purchase Battery Sensor Substitute,          circuit diagram.)
SDUW7RLQVWDOOWKLVSDUWUHIHUWR   In other words, all that is necessary is to
instructions included with part or to the           either remove the warning light bulb or to
ĬJXUHVKRZQEHORZ                                  hook the circuit up to 12 volts via the ignition
When installing your new battery in a               switch.
RU=;LQVWDOOWKHEDWWHU\
sensor substitute illustrated below so that
the computer warning system can function
properly.




                                                                                                       Costco_001649
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   Abbreviations                                                                                                             7
   2V          2 Valve per Cylinder              DT       Dual Terminal                   MT         Manual Transmission
   4V          4 Valve per Cylinder              EFB      Enhanced Flooded Battery        MY         Model Year
   2WD         Two-Wheel Drive                   EFI      Electronic Fuel Injection       N/A        1RW$YDLODEOH
   4WD         Four-Wheel Drive                  ELWB     ([WUD/RQJ:KHHO%DVH           No.        1XPEHU
   AC          Air Conditioning                  Eng      Engine                          OE         Original Equipment
   AGM         Absorbed Glass-Mat                ETR      Electronic Tuning Radio         OHC        Overhead Cam
   Ah          Amp Hour                          Ex       ([FHSW                          OHV        Overhead Valve
   Alt         Alternate                         Fig      Figure                          Opt        Optional
   AT          Automatic Transmission            FI       Fuel Injection                  Pkg        Package
   Aux         $X[LOLDU\                         Fla      Florida                         PPkg       Police Package
   AWD         All Wheel Drive                   FWD      Front-Wheel Drive               PS         Power Steering
   Bat         Battery                           GVW      Gross Vehicle Weight            PTO        Power Take-Off
   BCI         Battery Council International     HBL      Heated Back Light (Rear         RC         Reserve Capacity
                                                          Window Defroster)               RRC        Repetitive Reserve Cycles
   Calif       California
                                                 HA       High Altitude                   Rt         Right
   CA          Cranking Amps
                                                 HD       Heavy Duty                      RWD        Rear-Wheel Drive
   Can         Canada
                                                 HO       High Output                     S/C        Super Charged
   Carb        Carburetor
                                                 HP       Horsepower                      SEO        Special Electrical Option
   CFI         Central Fuel Injection
                                                          High Swirl Combustion
   cc          Cubic Centimeter                  HSC      (chamber)                       SG         Sound Guard
   CCA         &ROG&UDQNLQJ$PSV Ƅ)          Htr      Heater                          SHO        Super High Output
   CDI         Common Direct Injection           HWS      Heated Windshield               SOHC       Single Overhead Cam
   ci          Cubic inch                        Hyb      Hybrid                          Std        Standard
   Comp        Compression                       Ign      Ignition                        SULEV      Super Ultra Low Emissions
                                                                                                     Vehicle
   Cont        Continental                       IHC      International Harvester Co.     TBI        Throttle Body Injection
   Conv        Convertible                       Incl     Including                       TDI        Turbo Direct Injection
               Continuously Variable             Ind      Industrial
   CVT                                                                                    US         United States
               Transmission
                                                 L        Liter                           V          Venturi
   Cyl         Cylinder
                                                          In-Line 4, 5 or 6 Cylinder
   DES         Direct Injection Start            L4/L5/L6 Engine                          TTPkg      Trailer Towing Package
               Deutsche Institut für             Lft      Left                            Turbo      Turbo Charged
   DIN
               1RUPXQJ                                                                    w/         With
                                                 LPG      Liquified Petroleum Gas
   DOHC        Dual Overhead Cam                                                          w/o        Without
                                                 MFI      Multi-Port Fuel Injection
   Dsl         Diesel                                                                     Wisc       Wisconsin
                                                 Modif    Modified


   Glossary
   CCA (Cold Cranking Amps)                                            Ah (Amp Hours)
   &&$ 7KHQXPEHURIDPSHUHVDEDWWHU\DWƄbF                       A unit of measurement for a battery’s electrical storage
   (-17.8Ƅb& FDQGHOLYHUIRUVHFRQGVDQGPDLQWDLQD               capacity, obtained by multiplying the current in
   voltage equal to or higher than 1.2 volts per cell (7.2             DPSHUHVE\WKHWLPHLQKRXUVRIGLVFKDUJH([DPSOH$
   volts for a 12-volt battery).                                       EDWWHU\GHOLYHUVDPSV[+RXUV $K
   CA (Cranking Amps) or MCA (Marine Cranking Amps)                    Cycle Life (SAE – J240B)
   CA or MCA is the discharge load in amperes which                    $WƄbF the battery is discharged at 25 amperes for
   a new, fully charged battery at 32Ƅb) ƄbC) can                    IRXUPLQXWHVDQGWKHQUHFKDUJHGIRUPLQXWHV7KLV
   FRQWLQXRXVO\GHOLYHUIRUVHFRQGVDQGPDLQWDLQD                 cycle is continued until the battery fails to meet its
   terminal voltage equal to or higher than 1.2 volts per cell         VSHFLĬHG&&$UDWLQJ
   (7.2 volts for a 12-volt battery).                                  Vibration
   RC (Reserve Capacity)                                               The battery is mounted onto a shaker table and
   A battery must provide emergency power for ignition,                vibrated at 3.5 Gs until it is physically damaged, loses
   lights, etc., in the event of failure in the vehicle’s battery      electrical capacity or leaks acid. The minimum vibration
   UHFKDUJLQJV\VWHP7KH5&UDWLQJLVGHĬQHGDVWKH                  time for automotive batteries is four hours.
   number of minutes a new fully charged battery at
   ƄbF (26.7ƄbC) can be discharged at 25 amperes and
   maintain a terminal voltage equal to or higher than
   YROWVSHUFHOO YROWVIRUDYROWEDWWHU\ 


                                                                                                                          Costco_001650
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8                                                     Safety Information




Do Not Inhale Sulfuric Acid Mist                 ş5HPRYHROGEDWWHU\1RWHWKHSRVLWLRQ
Danger of Exploding Batteries                       of positive (+) terminal and negative
                                                    (-) terminal. Mark the cables for correct
Batteries contain sulfuric acid and produce         connection to new battery.
H[SORVLYHPL[WXUHVRIK\GURJHQDQGR[\JHQ
Because self-discharge action generates          • Clean terminals and cable connections with
hydrogen gas even when the battery is not in        a wire brush. Broken connections, frayed or
operation, make sure batteries are stored and       cut cables should be replaced.
worked on in a well-ventilated area. Always      • Install the new battery in the same position
wear safety glasses and a face shield when          as the old one. Be sure to secure it with the
working on or near batteries.                       holddown assembly.
When working with batteries:                     • Make sure the terminals do not touch any
• Always wear proper eye, face and                  metal mounting, engine or body parts.
  hand protection.                               • Connect cables tightly. Connect ground
• Remove all jewelry to avoid electrical            FDEOHODVWWRDYRLGVSDUNVDQGH[SORVLRQ
   contact, which can create sparks or cause
   severe burns.                                 Handling Battery Acid
ş.HHSDOOVSDUNVĭDPHVDQGFLJDUHWWHVDZD\   Battery acid, or electrolyte, is a solution
   from the battery.                             of sulfuric acid and water that can destroy
                                                 FORWKLQJDQGEXUQWKHVNLQ8VHH[WUHPH
ş'RQRWDWWHPSWWRRSHQDĭXVKFRYHU          caution when handling electrolyte and keep
   battery.                                      an acid neutralizing solution—such as baking
ş1HYHUOHDQRYHUEDWWHU\ZKLOHERRVWLQJ      soda—readily available. When handling
   testing or charging.                          batteries:
• Cover vent caps with a damp cloth to           • Always wear proper eye, face and hand
   minimize gas seepage.                           protection.
• Make sure work area is well ventilated.        • If electrolyte is splashed into an eye,
                                                    LPPHGLDWHO\IRUFHWKHH\HRSHQDQGĭRRGLW
• Do not remove or damage vent caps.
                                                    with clean, cool water for at least 15 minutes.
• Do not breathe acid mist.                         Get prompt medical attention.
                                                 • If electrolyte is taken internally, drink large
Safe Battery Installation                           quantities of water or milk. Do not induce
To assure safe installation and proper              vomiting. Call a physician immediately.
operation, follow these installation
                                                 ş1HXWUDOL]HDQ\HOHFWURO\WHWKDWVSLOOV
procedures.
                                                    LPPHGLDWHO\ZLWKDPL[WXUHRIZDWHUDQG
• Always wear proper eye, face and hand             baking soda.
  protection.
                                                 ş0L[LQJDFLGFDQEHYHU\GDQJHURXV'R
ş'LVFRQQHFWJURXQGFDEOHĬUVW7KLVLV           not attempt without proper training.
   usually the negative cable; however, older
   vehicles may have a positive ground.



                                                                                                      Costco_001651
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   Safety Information                                                                                  9

   Safe Charging                                          • Always turn the charger OFF before
   Before beginning the charging operation,                 removing charger leads from the battery
   read and follow the instructions that                    to avoid dangerous sparks.
   FRPHZLWKWKHFKDUJHU1HYHUDWWHPSWWR               Safe Booster Cable Operation
   FKDUJHDEDWWHU\ZLWKRXWĬUVWUHYLHZLQJWKH
   instructions for the charger being used.               When jump-starting, always wear proper
   In addition to the charger manufacturer’s              eye, face and hand protection and never
   instructions, these general precautions                lean over the battery. Do not jump-start a
   should be followed:                                    damaged battery; inspect both batteries
                                                          before connecting booster cable. Be sure
   • Always charge batteries in a well-                   vent caps are tight and level. Place a damp
      ventilated area and wear proper eye, face           cloth over the vent caps of both batteries.
      and hand protection.                                Make certain that the vehicles and cable
   • Turn the charger and timer OFF before                ends are not touching and both ignition
      connecting the leads to the battery to              switches are turned to the OFF position.
      avoid dangerous sparks.                             1. Connect positive (+) booster cable to
   ş7RDYRLGDQH[SORVLRQQHYHUWU\WRFKDUJH             positive (+) terminal of discharged
      a visibly damaged or frozen battery.                    battery.
   • Connect the charger leads to the battery;            2. Connect other end of positive (+) cable to
      red positive (+) lead to the positive (+)               positive (+) terminal of assisting battery.
      terminal and black negative (-) lead to the         3. Connect negative (-) cable to negative (-)
      negative (-) terminal. If the battery is still in       terminal of assisting battery.
      the vehicle, connect the negative lead to
      the engine block to serve as a ground. (If          0DNHĬQDOFRQQHFWLRQRIQHJDWLYH  FDEOH
      the vehicle is positive grounded, connect               to engine block of stalled vehicle, away from
      the positive lead to the engine block.)                 battery.
   • Make sure that the leads to the                      5. Start vehicle and remove cables in reverse
      connections are tight.                                  order of connections.
   • Set the timer, turn the charger on and
      slowly increase the charging rate until the
      desired ampere value is reached.
   • If the battery becomes hot or if violent
      gassing or spewing of electrolyte occurs,
      reduce the charging rate or temporarily
      halt the charger.

                                        MAKE CERTAIN VEHICLES
                                           DO NOT TOUCH!




                                                                                                     Costco_001652
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     PROPOSITION 65
        WARNING

    • Battery posts, terminals and
      related accessories contain
      lead and lead compounds,
      chemicals known to the state
      of California to cause cancer
      and reproductive harm.

    • Batteries also contain other
      chemicals known to the state
      of California to cause cancer.

    • Wash hands after handling.



                                                                                Costco_001653
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 455Acura
                                                                                 of
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   Automotive/Light Truck                                                                                                             11
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT           GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                (NOTES)               (NOTES)

   Acura CL
   2003-01   V6/3.2L                                                               550           —                    —
   1999-98   L4/2.3L                                                               550           — 11                 24F AGM 11
   1999-97   V6/3.0L                                                               550           —                    —
   1997      L4/2.2L                                                               550           24F                  24F AGM
   Acura CSX
   2011-08 L4/2.0L                                                                 410           51R                  —
   2007    L4/2.0L                                                                 440           51R                  —
   2006    L4/2.0L                                                                 500           51R                  —
   Acura EL
   2005-01 L4/1.7L                                                                 410           51                   —
   2000-97 L4/1.6L                                                                 410           51R                  —
   Acura ILX
   2020-19   L4/2.4L                                                               500           51R                  —
   2018-13   L4/2.4L                                                               410           51R                  —
   2015-13   L4/1.5L      Hybrid                                                   340           —                    —
   2015-13   L4/2.0L                                                               410           51R                  —
   Acura Integra
   2001-94 L4/1.8L                                                                 410           51R                  —
   1993-92 L4/1.7L                                                                 435           25                   —
   1993-90 L4/1.8L                                                                 435           25                   —
   Acura Legend
   1995-91 V6/3.2L                                                                 585           24                   —
   1990    V6/2.7L                                                                 585           24F                  24F AGM
   Acura MDX
   2020-17   V6/3.0L      Hybrid                                                   650           H6 (48) AGM 33       — 33
   2020-16   V6/3.5L                                                               620           H6 (48)              H6 (48) AGM
   2020-16   V6/3.5L      Advance Package                                          650           H6 (48) AGM 33       — 33
   2016      V6/3.5L      AWD                                                      650           H6 (48) AGM 33       — 33
   2016      V6/3.5L      FWD                                                      620           H6 (48)              H6 (48) AGM
   2015-14   V6/3.5L                                                               550           24F                  24F AGM
   2013-07   V6/3.7L                                                               630           24F                  24F AGM
   2006-01   V6/3.5L                                                               550           24F                  24F AGM
   Acura NSX
   2020-17   V6/3.5L      Hybrid                                                   600           H5 (47) AGM 33       — 33
   2005-97   V6/3.2L      MT                                                       435           35                   35 AGM
   2005-91   V6/3.0L      AT or HD                                                 585           24F                  24F AGM
   2005-91   V6/3.0L      MT                                                       435           35                   35 AGM
   1999      V6/3.2L      AT                                                       585           24F                  24F AGM
   Acura RDX
   2020-19   L4/2.0L                                                               650           H6 (48) AGM 33       — 33
   2018      V6/3.5L                                                               630           24F                  24F AGM
   2017      V6/3.5L                                                               630           — 11                 24F AGM 11
   2016      V6/3.5L                                                               730           —                    —
   2015-13   V6/3.5L                                                               550           24F                  24F AGM
   2012-07   L4/2.3L                                                               440           35                   35 AGM
   Acura RL
   2012-09 V6/3.7L                                                                 550           —                    —
   2008-05 V6/3.5L                                                                 585           —                    —
   2004-96 V6/3.5L                                                                 550           24                   —
   Acura RLX
   2020    V6/3.5L                                                                               —                    —
   2019-14 V6/3.5L                                                                 550           24F                  24F AGM
   Acura RSX
   2006-02 L4/2.0L                                                                 400           51R                  —
   Acura SLX
   1999-98   V6/3.5L      AT                                                       585           24                   —
   1999-98   V6/3.5L      Opt                                                      610           27                   —
   1997      V6/3.2L                                                               585           24                   —
   1997      V6/3.2L      Opt                                                      610           27                   —
   1996      V6/3.2L      AT or HD                                                 610           27                   —
   Acura TL
   2014-09 V6/3.7L                                                                 550           — 11                 24F AGM 11
   2014-07 V6/3.5L                                                                 550           — 11                 24F AGM 11
   2008-04 V6/3.2L                                                                 550           — 11                 24F AGM 11
   2003-99 V6/3.2L                                                                 550           —                    —
   1998-96 V6/3.2L                                                                 450           25                   —
   1998-95 L5/2.5L                                                                 450           35                   35 AGM
   See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                        Costco_001654
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12                                                       Automotive/Light Truck
  YEAR      ENGINE                             OPTIONS        ORIGINAL EQUIPMENT            GROUP SIZE                  ALTERNATE SIZE
                                                                  CCA/RATING                 (NOTES)                       (NOTES)

Acura TLX
2020-18   L4/2.4L                                                    470           —                         —
2020-15   V6/3.5L    SH-AWD, Start/Stop                              650           H6 (48) AGM 33            — 33
2020-19   V6/3.5L                                                    650           H6 (48)                   H6 (48) AGM
2018-15   V6/3.5L                                                    620           H6 (48)                   H6 (48) AGM
2017-15   L4/2.4L                                                    440           —                         —
Acura TSX
2014-10 V6/3.5L                                                      550           24F                       24F AGM
2014-04 L4/2.4L                                                      430           51R                       —
Acura Vigor
1994-92 L5/2.5L                                                      435           35                        35 AGM
Acura ZDX
2013-10 V6/3.7L                                                      550           24F                       24F AGM
Alfa Romeo 164
1995-91 V6/3.0L                                                      685           31A 50                    — 50
Alfa Romeo 4C
2020-15 L4/1.7L                                                      500           —                         —
Alfa Romeo 8C
2008      V8/4.7L                                                    580           24F                       24F AGM
Alfa Romeo Giulia
2019-17 L4/2.0L                                                     95 Ah          —                         —
2019-17 V6/2.9L                                                     95 Ah          —                         —
Alfa Romeo Spider
1994-91 L4/2.0L      Factory Install                                 300           —                         —
1994-90 L4/2.0L      Port of entry installed                         550           34 7                      —7
1990    L4/2.0L      Factory Install                                 500           24F 7                     24F AGM 7
Alfa Romeo Stelvio
2019-18 L4/2.0L                                                      800           H7 (94R) 54               H7 (94R) AGM 54
2018    V6/2.9L                                                      800           H7 (94R) 54               H7 (94R) AGM 54
AM General Humvee
2001-94 V8/6.5L      Dsl                                             770           78 2                      —2
1996-95 V8/5.7L                                                      770           78 2                      —2
1993-92 V8/6.2L      Dsl                                             770           78 2                      —2
American Motors Corp Gremlin, Hornet, Javelin
1974-71   V8/5.9L                                                    385           24 7                      —7
1974-71   V8/6.6L                                                    305           26R                       —
1974-71   V8/6.6L    Opt                                             410           24 7                      —7
1974-70   V8/5.9L                                                    305           26R                       —
1974-70   V8/5.9L                                                    410           24 7                      —7
1974-70   V8/5.9L    Opt                                             410           24 7                      —7
1970-68   V8/6.4L                                                    305           26R                       —
1970-68   V8/6.4L    Opt                                             410           24 7                      —7
1969-68   V8/4.7L                                                    305           26R                       —
1969-68   V8/4.7L    Opt                                             410           24                        —
1969-68   V8/5.6L                                                    305           26R                       —
1969-68   V8/5.6L    Opt                                             410           24 7                      —7
1968      L6/3.8L                                                    410           24 7                      —7
Aston Martin DB11
2018-17 V12/5.2L                                                     850           H8 (49) AGM 33, 54        — 33, 54
Aston Martin DB7
2004-00 V12/6.0L                                                     780           —                         —
1998-97 L6/3.2L                                                      780           —                         —
Aston Martin DB9
2016-05 V12/6.0L                                                     830           —                         —
Aston Martin DBS
2012-08 V12/6.0L                                                     830           —                         —
Aston Martin One-77
2011      V12/7.3L                                                   830           —                         —
Aston Martin Rapide
2018-11 V12/6.0L                                                     830           —                         —
Aston Martin V12 Vantage
2017-15 V12/6.0L                                                     830           —                         —
2013-10 V12/6.0L                                                     830           —                         —
Aston Martin V8 Vantage
2017-09 V8/4.7L                                                      830           —                         —
2008-06 V8/4.3L                                                      830           —                         —
Aston Martin Vanquish
2017-14 V12/6.0L                                                     830           —                         —
2006-01 V12/6.0L                                                     830           —                         —
                                                                            See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                           Costco_001655
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   Automotive/Light Truck                                                                                                                                      13
      YEAR       ENGINE                                           OPTIONS       ORIGINAL EQUIPMENT               GROUP SIZE                         ALTERNATE SIZE
                                                                                    CCA/RATING                    (NOTES)                              (NOTES)

   Aston Martin Virage
   2012      V12/6.0L                                                                  830           —                                     —
   Asüna 6XQğUH
   1993      L4/1.8L                                                                   350           35                                    35 AGM
   Asüna Sunrunner
   1993      L4/1.6L                                                                   525           —                                     —
   1992      L4/1.6L                                                                   550           75                                    —
   Audi 100, 100 quattro
   1994-92   V6/2.8L                                                                   575           —                                     —
   1994-92   V6/2.8L      Opt                                                          650           —                                     —
   1991-90   L5/2.3L                                                                   575           —                                     —
   1991-90   L5/2.3L      Opt                                                          650           —                                     —
   Audi 200, 200 quattro
   1991-90 L5/2.2L                                                                     650           —                                     —
   Audi 80, 80 quattro
   1992-91   L5/2.3L      Opt                                                          650           —                                     —
   1992-90   L5/2.3L                                                                   575           —                                     —
   1990      L4/2.0L                                                                   575           —                                     —
   1990      L4/2.0L      Opt                                                          650           —                                     —
   Audi 90, 90 quattro
   1995-93 V6/2.8L                                                                     650           —                                     —
   1992-90 L5/2.3L                                                                     650           —                                     —
   Audi A3
   2020-19   L4/1.4L      PR Code J0S                                                   540          —                                     —
   2020-19   L4/1.4L      PR Code J1L                                                   540          H5 (47) 55, 56, 58                    H5 (47) AGM 55, 56, 58
   2020-19   L4/1.4L      PR Code J2D                                                   680          H6 (48) AGM 33, 55, 56, 58            — 33, 55, 56, 58
   2020-19   L4/1.4L      PR Code J0T                                                   680          —                                     —
   2020-19   L4/1.4L      PR Code J0V                                                   680          —                                     —
   2020-19   L4/2.0L      PR Code J0V                                                   680          —                                     —
   2020-19   L4/1.4L      PR Code J1D                                                   640          —                                     —
   2020-17   L4/2.0L      PR Code J0S                                                   540          —                                     —
   2018-17   L4/2.0L      PR Code J1D                                                   640          —                                     —
   2018-17   L4/2.0L      PR Code J1L                                                   540          H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
   2020-09   L4/2.0L      PR Code J0T                                                   680          —                                     —
   2020-09   L4/2.0L      PR Code J2D                                                   680          H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2016-15   L4/1.8L      PR Code J1L                                                   540          H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
   2016-15   L4/1.8L      PR Code J0S                                                   540          —                                     —
   2016-15   L4/1.8L      PR Code J0T                                                   680          —                                     —
   2016-15   L4/1.8L      PR Code J1D                                                   640          —                                     —
   2016-15   L4/1.8L      PR Code J1P                                                   360          —                                     —
   2016-15   L4/1.8L      PR Code J2D                                                   680          H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2016-15   L4/1.8L      PR Code J2S                                                   480          —                                     —
   2018-17   L4/2.0L      PR Code J1P                                                   360          —                                     —
   2016-15   L4/2.0L      Dsl, PR Code J0S                                              540          —                                     —
   2016-15   L4/2.0L      Dsl, PR Code J1D                                              640          —                                     —
   2016-15   L4/2.0L      Dsl, PR Code J1P                                              360          —                                     —
   2016-15   L4/2.0L      Dsl, PR Code J2S                                              480          —                                     —
   2016-10   L4/2.0L      Dsl, PR Code J0N                                              540          —                                     —
   2016-10   L4/2.0L      Dsl, PR Code J0T                                              680          —                                     —
   2016-10   L4/2.0L      Dsl, PR Code J2D                                              680          H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2013-10   L4/2.0L      Dsl, PR Code J0L, J1D                                         640          —                                     —
   2013-09   L4/2.0L      PR Code J0L, J1D                                              640          —                                     —
   2013-06   L4/2.0L      PR Code J1L                                                   540          H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
   2013-06   L4/2.0L      PR Code J0R                                                  80 Ah         H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2008-06   L4/2.0L      PR Code J0L, J1D                                              640          —                                     —
   2008-06   L4/2.0L      PR Code J1N                                                  75 Ah         H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   Audi A3 quattro
   2019      L4/2.0L     PR Code J0H                                                   58 Ah         —                                     —
   2019      L4/2.0L     PR Code J0S                                                   59 Ah         —                                     —
   2019      L4/2.0L     PR Code J0T                                                   69 Ah         —                                     —
   2019      L4/2.0L     PR Code J0V                                                   70 Ah         —                                     —
   2019      L4/2.0L     PR Code J1D                                                   72 Ah         —                                     —
   2019      L4/2.0L     PR Code J1L                                                   60 Ah         H5 (47) 55, 56, 58                    H5 (47) AGM 55, 56, 58
   2019      L4/2.0L     PR Code J1P                                                   44 Ah         —                                     —
   2019      L4/2.0L     PR Code J2D                                                   68 Ah         H6 (48) AGM 33, 55, 56, 58            — 33, 55, 56, 58
   2018-17 L4/2.0L       PR Code J0S                                                    540          —                                     —
   2018-17 L4/2.0L       PR Code J1L                                                    540          H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
   2018-15 L4/2.0L       PR Code J1D                                                    640          —                                     —
   2018-15 L4/2.0L       PR Code J1P                                                    360          —                                     —
   2018-09 L4/2.0L       PR Code J0T                                                    680          —                                     —
   2018-09 L4/2.0L       PR Code J2D                                                    680          H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   See page 151 for Footnotes. Selection may vary by warehouse.             Note: PR codes are located on a tag near the spare tire or in the warranty booklet

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14                                                                                   Automotive/Light Truck
   YEAR       ENGINE                                                  OPTIONS             ORIGINAL EQUIPMENT               GROUP SIZE                         ALTERNATE SIZE
                                                                                              CCA/RATING                    (NOTES)                              (NOTES)

Audi A3 quattro (continued)
2016-15    L4/2.0L      PR Code J0S                                                              540           —                                     —
2016-15    L4/2.0L      PR Code J2S                                                              480           —                                     —
2016-09    L4/2.0L      PR Code J1L                                                              540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2013-09    L4/2.0L      PR Code J0R                                                             80 Ah          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2013-09    L4/2.0L      PR Code J0L, J1D                                                         640           —                                     —
2009-06    V6/3.2L      PR Code J1L                                                              540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2009-06    V6/3.2L      PR Code J0R                                                             80 Ah          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2009       V6/3.2L      PR Code J2D                                                             68 Ah          H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2008-06    V6/3.2L                                                                               640           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2008-06    V6/3.2L      Opt                                                                      800           H7 (94R) AGM 33, 50, 54, 55, 56       — 33, 50, 54, 55, 56
2008-06    V6/3.2L      PR Code J1N                                                             75 Ah          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
Audi A3 Sportback e-tron
2018-17    L4/1.4L      Hybrid, PR Code J0T                                                      680           —                                     —
2018-17    L4/1.4L      Hybrid, PR Code J1L                                                      540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2018-16    L4/1.4L      Hybrid, PR Code J0S                                                      540           —                                     —
2018-16    L4/1.4L      Hybrid, PR Code J1D                                                      640           —                                     —
2018-16    L4/1.4L      Hybrid, PR Code J1P                                                      360           —                                     —
2018-16    L4/1.4L      Hybrid, PR Code J2D                                                      680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2016       L4/1.4L      Hybrid                                                                   N/A           —                                     —
2016       L4/1.4L      Hybrid, Multiple PR Codes                                                680           —                                     —
2016       L4/1.4L      Hybrid, PR Code J0N                                                      540           —                                     —
2016       L4/1.4L      Hybrid, PR Code J2S                                                      480           —                                     —
Audi A4
2020-19    L4/2.0L      PR Code J2D, 0K0, 0K2, 0K4                                               680           H6 (48) AGM 33, 50, 55, 56, 58        — 33, 50, 55, 56, 58
2020-18    L4/2.0L      PR Code J1N                                                              800           H7 (94R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
2020-16    L4/2.0L      PR Code J0Z                                                              850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
2020-09    L4/2.0L      PR Code J0P                                                              950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2020-09    L4/2.0L      PR Code J0B                                                              850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2020-08    L4/2.0L      PR Code J1U                                                              760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2019       L4/2.0L      PR Code J0H                                                            58 Ah           —                                     —
2019       L4/2.0L      PR Code J0K                                                            93 Ah           —                                     —
2019-18    L4/2.0L      PR Code JE4                                                            79 Ah           —                                     —
2018-16    L4/2.0L      PR Code J2D, 0K2                                                         680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2017-15    L4/2.0L      PR Code J1N                                                             75 Ah          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2016-13    L4/2.0L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2015-13    L4/2.0L      PR Code J0L                                                              570           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2015-13    L4/2.0L      PR Code J1L                                                              540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2015-09    L4/2.0L      Opt, PR Code J0Z                                                       110 Ah          —                                     —
2015-08    L4/2.0L      PR Code J0R                                                              640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2012-09    L4/2.0L      PR Code J1N                                                             75 Ah          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2008-06    V6/3.2L      PR Code J0R                                                              640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2008       V6/3.2L      PR Code J1U                                                              760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2007-06    V6/3.2L                                                                               640           H7 (94R) 50                           H7 (94R) AGM 50
2007-06    V6/3.2L                                                                               640           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2007-06    V6/3.2L      Opt                                                                      760           — 50, 54                              H8 (49) AGM 50, 54
2007-06    V6/3.2L      Opt                                                                      760           — 50, 54, 55, 56                      H8 (49) AGM 50, 54, 55, 56
2007-05    L4/2.0L                                                                               640           H7 (94R) 50                           H7 (94R) AGM 50
2007-05    L4/2.0L      Opt                                                                      760           — 50, 54                              H8 (49) AGM 50, 54
2006       L4/1.8L                                                                               640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2006       L4/1.8L      Opt                                                                      760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2006       L4/2.0L                                                                               640           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2006       L4/2.0L      Opt                                                                      760           — 50, 54, 55, 56                      H8 (49) AGM 50, 54, 55, 56
2005-03    L4/1.8L                                                                               640           H7 (94R) 50                           H7 (94R) AGM 50
2005-03    V6/3.0L                                                                               640           H7 (94R) 50                           H7 (94R) AGM 50
2005-03    V6/3.0L      Opt                                                                      760           — 50, 54                              H8 (49) AGM 50, 54
2005-02    L4/1.8L      Opt                                                                      760           — 50, 54                              H8 (49) AGM 50, 54
2002-97    L4/1.8L                                                                               640           H6 (48) 50                            H6 (48) AGM 50
2002-97    L4/1.8L      Opt                                                                      640           H7 (94R) 50                           H7 (94R) AGM 50
2002-97    L4/1.8L      Opt                                                                      720           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2002       L4/1.8L      Option 1                                                                 760           — 50, 54, 55, 56                      H8 (49) AGM 50, 54, 55, 56
2002       L4/1.8L      Option 2                                                                 640           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2002       V6/3.0L                                                                               640           —                                     —
2002       V6/3.0L      Opt                                                                      720           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2002       V6/3.0L      Option 1                                                                 760           — 50, 54, 55, 56                      H8 (49) AGM 50, 54, 55, 56
2002       V6/3.0L      Option 2                                                                 640           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2001-00    V6/2.8L                                                                               640           —                                     —
2001-96    V6/2.8L      Opt                                                                      640           H7 (94R) 50                           H7 (94R) AGM 50
2001-96    V6/2.8L      Opt                                                                      720           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
1999-98    V6/2.8L                                                                             64 Ah           —                                     —
1999-96    V6/2.8L      Opt                                                                      640           H6 (48) 50                            H6 (48) AGM 50
1997-96    V6/2.8L                                                                               540           H6 (48) 50                            H6 (48) AGM 50
1997       L4/1.8L      Opt                                                                      540           —                                     —
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                      See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                       Costco_001657
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   Automotive/Light Truck                                                                                                                                     15
      YEAR       ENGINE                                           OPTIONS       ORIGINAL EQUIPMENT              GROUP SIZE                          ALTERNATE SIZE
                                                                                    CCA/RATING                   (NOTES)                               (NOTES)

   Audi A4 (continued)
   1997      V6/2.8L                                                                   640           H6 (48) 50                            H6 (48) AGM 50
   1997      V6/2.8L                                                                   640           —                                     —
   1997      V6/2.8L      Opt                                                          360           —                                     —
   1997      V6/2.8L      Opt                                                          540           —                                     —
   1997      V6/2.8L      Opt                                                          640           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   Audi A4 allroad
   2020-19   L4/2.0L      PR Code J2D, 0K0, 0K2, 0K4                                    680          H6 (48) AGM 33, 50, 55, 56, 58        — 33, 50, 55, 56, 58
   2020-19   L4/2.0L      PR Code J0B                                                   850          H8 (49) AGM 33, 50, 55, 56, 58        — 33, 50, 55, 56, 58
   2020-19   L4/2.0L      PR Code J1U                                                   760          — 50, 55, 56, 58                      H8 (49) AGM 50, 55, 56, 58
   2020-19   L4/2.0L      PR Code J1N                                                   800          H7 (94R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
   2020-19   L4/2.0L      PR Code J0P                                                   950          H9 (95R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
   2020-19   L4/2.0L      PR Code J0Z                                                   850          — 50, 55, 56, 58                      H9 (95R) AGM 50, 55, 56, 58
   2019      L4/2.0L      PR Code J0H                                                  58 Ah         —                                     —
   2019      L4/2.0L      PR Code J0K                                                 93 Ah          —                                     —
   2019      L4/2.0L      PR Code JE4                                                  79 Ah         —                                     —
   2018-16   L4/2.0L      PR Code J0Z                                                   850          — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2018-13   L4/2.0L      PR Code J0B                                                   850          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018-13   L4/2.0L      PR Code J0L                                                   570          H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
   2018-13   L4/2.0L      PR Code J1L                                                   540          H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
   2018-13   L4/2.0L      PR Code J0R                                                   640          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2018-13   L4/2.0L      PR Code J1U                                                   760          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2018-13   L4/2.0L      PR Code J2D                                                   680          H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018      L4/2.0L      PR Code J0P                                                   950          H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018      L4/2.0L      PR Code J1N                                                   800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2017-13   L4/2.0L      PR Code J0P                                                 105 Ah         —                                     —
   2017-13   L4/2.0L      PR Code J1N                                                  75 Ah         H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2015-13   L4/2.0L      Opt, PR Code J0Z                                            110 Ah         —                                     —
   Audi A4 quattro
   2020-19   L4/2.0L      PR Code J2D, 0K0, 0K2, 0K4                                    680          H6 (48) AGM 33, 50, 55, 56, 58        — 33, 50, 55, 56, 58
   2020-19   L4/2.0L      PR Code J1N                                                   800          H7 (94R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
   2020-19   L4/2.0L      PR Code J0P                                                 105 Ah         —                                     —
   2020-19   L4/2.0L      PR Code J0P                                                   950          H9 (95R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
   2020-18   L4/2.0L      PR Code J0P                                                   950          H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2020-16   L4/2.0L      PR Code J0Z                                                   850          — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2019      L4/2.0L      PR Code J0H                                                  58 Ah         —                                     —
   2019      L4/2.0L      PR Code J0K                                                 93 Ah          —                                     —
   2019      L4/2.0L      PR Code JE4                                                  79 Ah         —                                     —
   2019-09   L4/2.0L      PR Code J0B                                                   850          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2019-08   L4/2.0L      PR Code J1U                                                   760          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2018      L4/2.0L      PR Code J1N                                                   800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018-15   L4/2.0L      PR Code J1L                                                   540          H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
   2018-13   L4/2.0L      PR Code J0L                                                   570          H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
   2018-13   L4/2.0L      PR Code J2D                                                   680          H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018-08   L4/2.0L      PR Code J0R                                                   640          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2017-15   L4/2.0L      PR Code J1N                                                  75 Ah         H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2017-09   L4/2.0L      PR Code J0P                                                 105 Ah         —                                     —
   2015-09   L4/2.0L      Opt, PR Code J0Z                                            110 Ah         —                                     —
   2014-13   L4/2.0L      PR Code J1L                                                   540          H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
   2012-09   L4/2.0L      PR Code J1N                                                  75 Ah         H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2009      V6/3.2L      PR Code J0B                                                   850          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2009      V6/3.2L      PR Code J0P                                                 105 Ah         —                                     —
   2009      V6/3.2L      PR Code J0Z                                                   850          — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2009      V6/3.2L      PR Code J1N                                                  75 Ah         H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2009-08   V6/3.2L      PR Code J1U                                                   760          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2009-06   V6/3.2L      PR Code J0R                                                   640          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2007-05   L4/2.0L                                                                    640          H7 (94R) 50                           H7 (94R) AGM 50
   2007-05   L4/2.0L      Opt                                                           760          — 50, 54                              H8 (49) AGM 50, 54
   2007-05   V6/3.2L                                                                    640          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2007-05   V6/3.2L      Opt                                                           760          — 50, 54                              H8 (49) AGM 50, 54
   2007-05   V6/3.2L      Opt                                                           760          — 50, 54, 55, 56                      H8 (49) AGM 50, 54, 55, 56
   2006-03   V6/3.0L                                                                    640          H7 (94R) 50                           H7 (94R) AGM 50
   2006-03   V6/3.0L      Opt                                                           760          — 50, 54                              H8 (49) AGM 50, 54
   2005-03   L4/1.8L                                                                    640          H7 (94R) 50                           H7 (94R) AGM 50
   2005-03   L4/1.8L      Opt                                                           760          — 50, 54                              H8 (49) AGM 50, 54
   2002      L4/1.8L                                                                    760          — 50, 54                              H8 (49) AGM 50, 54
   2002      L4/1.8L      Option 1                                                      760          — 50, 54, 55, 56                      H8 (49) AGM 50, 54, 55, 56
   2002      L4/1.8L      Option 2                                                      640          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2002      V6/3.0L                                                                    640          —                                     —
   2002      V6/3.0L      Opt                                                           720          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2002      V6/3.0L      Option 1                                                      760          — 50, 54, 55, 56                      H8 (49) AGM 50, 54, 55, 56
   2002      V6/3.0L      Option 2                                                      640          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2002-99   L4/1.8L      Opt                                                           720          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   See page 151 for Footnotes. Selection may vary by warehouse.             Note: PR codes are located on a tag near the spare tire or in the warranty booklet

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16                                                                                   Automotive/Light Truck
   YEAR       ENGINE                                                  OPTIONS             ORIGINAL EQUIPMENT               GROUP SIZE                         ALTERNATE SIZE
                                                                                              CCA/RATING                    (NOTES)                              (NOTES)

Audi A4 quattro (continued)
2002-97    L4/1.8L                                                                               640           H6 (48) 50                            H6 (48) AGM 50
2002-97    L4/1.8L      Opt                                                                      640           H7 (94R) 50                           H7 (94R) AGM 50
2001       V6/2.8L                                                                               640           —                                     —
2001       V6/2.8L      Opt                                                                      640           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2001-00    V6/2.8L                                                                               640           —                                     —
2001-96    V6/2.8L      Opt                                                                      640           H7 (94R) 50                           H7 (94R) AGM 50
2001-96    V6/2.8L      Opt                                                                      720           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
1999-98    V6/2.8L                                                                              64 Ah          —                                     —
1999-96    V6/2.8L      Opt                                                                      640           H6 (48) 50                            H6 (48) AGM 50
1998       V6/2.8L                                                                               640           —                                     —
1997-96    V6/2.8L                                                                               540           H6 (48) 50                            H6 (48) AGM 50
1997       V6/2.8L      Opt                                                                      640           —                                     —
1996       V6/2.8L                                                                               540           —                                     —
Audi A5
2019       L4/2.0L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 55, 56, 58        — 33, 50, 55, 56, 58
2019       L4/2.0L      PR Code J0B                                                              850           H8 (49) AGM 33, 50, 55, 56, 58        — 33, 50, 55, 56, 58
2019       L4/2.0L      PR Code J1U                                                              760           — 50, 55, 56, 58                      H8 (49) AGM 50, 55, 56, 58
2019       L4/2.0L      PR Code J1N                                                              800           H7 (94R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
2019       L4/2.0L      PR Code J0P                                                              950           H9 (95R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
2019       L4/2.0L      PR Code J0Z                                                              850           — 50, 55, 56, 58                      H9 (95R) AGM 50, 55, 56, 58
2014-12    L4/2.0L      PR Code J1N                                                              800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2014-11    L4/2.0L      PR Code J0R                                                             80 Ah          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2014-10    L4/2.0L      PR Code J0B                                                             92 Ah          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2014-10    L4/2.0L      PR Code J0L                                                              570           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2014-10    L4/2.0L      PR Code J0P                                                            105 Ah          —                                     —
2014-10    L4/2.0L      PR Code J0Z                                                            110 Ah          —                                     —
2014-10    L4/2.0L      PR Code J1D                                                             72 Ah          —                                     —
2014-10    L4/2.0L      PR Code J1L                                                              540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2014-10    L4/2.0L      PR Code J1U                                                              760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2014-10    L4/2.0L      PR Code J2D                                                             68 Ah          H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2010       L4/2.0L      PR Code J0R                                                              640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
Audi A5 quattro
2020-19    L4/2.0L      PR Code J1N                                                              800           H7 (94R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
2020-19    L4/2.0L      PR Code J0P                                                              950           H9 (95R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
2020-19    L4/2.0L      PR Code J0Z                                                              850           — 50, 55, 56, 58                      H9 (95R) AGM 50, 55, 56, 58
2020-15    L4/2.0L      PR Code J0B                                                              850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2020-10    L4/2.0L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2020-10    L4/2.0L      PR Code J1U                                                              760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2018-15    L4/2.0L      PR Code J0P                                                              950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2018-15    L4/2.0L      PR Code J0Z                                                              850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
2018-12    L4/2.0L      PR Code J1N                                                              800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2018       L4/2.0L      PR Code 0K0                                                              680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2017-15    L4/2.0L      PR Code J0R                                                              640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2017-10    L4/2.0L      PR Code J0L                                                              570           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2017-10    L4/2.0L      PR Code J1L                                                              540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2014-10    L4/2.0L      PR Code J0B                                                             92 Ah          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2014-10    L4/2.0L      PR Code J0P                                                            105 Ah          —                                     —
2014-10    L4/2.0L      PR Code J0R                                                             80 Ah          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2014-10    L4/2.0L      PR Code J0Z                                                            110 Ah          —                                     —
2014-10    L4/2.0L      PR Code J1D                                                             72 Ah          —                                     —
2010-08    V6/3.2L      PR Code J0R                                                             80 Ah          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2010-08    V6/3.2L      PR Code J0Z                                                            110 Ah          —                                     —
2010-08    V6/3.2L      PR Code J1U                                                              760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2010       V6/3.2L      PR Code J0P                                                            105 Ah          —                                     —
2010       V6/3.2L      PR Code J0B                                                             92 Ah          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2010       V6/3.2L      PR Code J0L                                                              570           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2010       V6/3.2L      PR Code J1L                                                              540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2010       V6/3.2L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
Audi A5 Sportback
2020-19    L4/2.0L      PR Code J1U                                                              760           — 50, 55, 56, 58                      H8 (49) AGM 50, 55, 56, 58
2020-18    L4/2.0L      PR Code J0Z                                                              850           —                                     —
2020-18    L4/2.0L      PR Code J1N                                                              800           H7 (94R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
2020-18    L4/2.0L      PR Code J0B                                                              850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2020-18    L4/2.0L      PR Code J0P                                                              950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2019       L4/2.0L      PR Code J0H                                                             58 Ah          —                                     —
2019       L4/2.0L      PR Code J0K                                                             93 Ah          —                                     —
2019       L4/2.0L      PR Code J4E                                                             79 Ah          —                                     —
2018       L4/2.0L      PR Code 0K0                                                              680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
Audi A6
2018-16 L4/2.0L         PR Code J0L                                                              640           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2018-16 L4/2.0L         PR Code J0R                                                              640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                      See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                       Costco_001659
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                                                                                 of
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   Automotive/Light Truck                                                                                                                                     17
      YEAR       ENGINE                                           OPTIONS       ORIGINAL EQUIPMENT              GROUP SIZE                          ALTERNATE SIZE
                                                                                    CCA/RATING                   (NOTES)                               (NOTES)

   Audi A6 (continued)
   2018-16   L4/2.0L      PR Code J0Z                                                   850          — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2018-15   L4/2.0L      PR Code J0B                                                   850          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018-15   L4/2.0L      PR Code J0P                                                   950          H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018-15   L4/2.0L      PR Code J1N                                                   800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018-12   L4/2.0L      PR Code J1U                                                   760          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2018-12   L4/2.0L      PR Code J2D                                                   680          H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2015-12   L4/2.0L      PR Code J0L                                                 70 Ah          H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
   2015-12   L4/2.0L      PR Code J0R                                                  80 Ah         H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2015-12   L4/2.0L      PR Code J0Z                                                 110 Ah         —                                     —
   2014-12   L4/2.0L      PR Code J0B                                                  92 Ah         H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2014-12   L4/2.0L      PR Code J0P                                                 105 Ah         —                                     —
   2014-12   L4/2.0L      PR Code J1N                                                  75 Ah         H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2011-10   V6/3.2L      PR Code J0B                                                   850          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2011-10   V6/3.2L      PR Code J1U                                                   760          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2011      V6/3.2L      PR Code J0L                                                  70 Ah         H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
   2011      V6/3.2L      PR Code J0P                                                   950          H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2011      V6/3.2L      PR Code J0R                                                  80 Ah         H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2011      V6/3.2L      PR Code J0Z                                                 110 Ah         —                                     —
   2011      V6/3.2L      PR Code J1N                                                   800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2011      V6/3.2L      PR Code J2D                                                   680          H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2010      V6/3.2L                                                                    570          H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
   2010      V6/3.2L      PR Code J0R                                                   640          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2010      V6/3.2L      PR Code J0Z                                                   850          — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2009-06   V6/3.2L                                                                    570          H6 (48) 50, 54, 55, 56                H6 (48) AGM 50, 54, 55, 56
   2009-06   V6/3.2L      Opt                                                           760          — 50, 54, 55, 56                      H8 (49) AGM 50, 54, 55, 56
   2009-06   V6/3.2L      Opt                                                           850          H8 (49) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
   2009-06   V6/3.2L      Opt                                                           640          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2009-06   V6/3.2L      Opt                                                           850          — 50, 54, 55, 56                      H9 (95R) AGM 50, 54, 55, 56
   2004-02   V6/3.0L                                                                    640          —                                     —
   2004-02   V6/3.0L                                                                    640          —                                     —
   2004-02   V6/3.0L      Opt                                                           760          — 50, 54, 55, 56                      H8 (49) AGM 50, 54, 55, 56
   2004-02   V6/3.0L      Opt                                                           640          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2004-02   V6/3.0L      Opt                                                           720          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2004-02   V6/3.0L      Option 3                                                      640          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2004-02   V6/3.0L      Option 4                                                      720          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2001-99   V6/2.8L                                                                    570          H6 (48) 50, 54                        H6 (48) AGM 50, 54
   2001-95   V6/2.8L      Opt                                                           570          H6 (48) 50                            H6 (48) AGM 50
   1995      V6/2.8L                                                                    650          —                                     —
   Audi A6 allroad
   2020      V6/3.0L      Hybrid, PR Code J0V                                          680           —                                     —
   2020      V6/3.0L      Hybrid, PR Code J2D                                          680           H6 (48) AGM 33, 50, 55, 56, 58        — 33, 50, 55, 56, 58
   2020      V6/3.0L      Hybrid, PR Code J0Z                                          850           — 50, 55, 56, 58                      H9 (95R) AGM 50, 55, 56, 58
   2020      V6/3.0L      Hybrid, PR Code J0P                                          950           H9 (95R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
   Audi A6 quattro
   2020-19   L4/2.0L      PR Code J0V                                                  680           —                                     —
   2020-19   V6/3.0L      Hybrid, PR Code J0Z                                          680           —                                     —
   2020-19   V6/3.0L      Hybrid, PR Code J2D                                          680           H6 (48) AGM 33, 50, 55, 56, 58        — 33, 50, 55, 56, 58
   2020-19   V6/3.0L      Hybrid, PR Code J0P                                          950           H9 (95R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
   2020-19   V6/3.0L      Hybrid, PR Code J0Z                                          850           — 50, 55, 56, 58                      H9 (95R) AGM 50, 55, 56, 58
   2018-16   L4/2.0L      PR Code J0L                                                  640           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
   2018-16   L4/2.0L      PR Code J0R                                                  640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2018-16   L4/2.0L      PR Code J0Z                                                  850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2018-16   V6/3.0L      PR Code J0L                                                  640           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
   2018-16   V6/3.0L      PR Code J0R                                                  640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2020-09   V6/3.0L      PR Code J0Z                                                  850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2018-15   L4/2.0L      PR Code J0B                                                  850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2020-15   L4/2.0L      PR Code J0P                                                  950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018-15   L4/2.0L      PR Code J1N                                                  800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018-15   V6/3.0L      PR Code J0B                                                  850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018-15   V6/3.0L      PR Code J1N                                                  800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018-13   L4/2.0L      PR Code J1U                                                  760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2020-13   L4/2.0L      PR Code J2D                                                  680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018-11   V6/3.0L      PR Code J0P                                                  950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018-11   V6/3.0L      PR Code J2D                                                  680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018-09   V6/3.0L      PR Code J1U                                                  760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2016-15   V6/3.0L      Dsl, PR Code J0B                                             850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2016-15   V6/3.0L      Dsl, PR Code J0R                                             640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2016-15   V6/3.0L      Dsl, PR Code J0Z                                             850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2016-15   V6/3.0L      Dsl, PR Code J1U                                             760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2016-14   V6/3.0L      Dsl, PR Code J2D                                             680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2016      V6/3.0L      Dsl, PR Code J0L                                             640           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
   2016      V6/3.0L      Dsl, PR Code J0P                                             950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   See page 151 for Footnotes. Selection may vary by warehouse.             Note: PR codes are located on a tag near the spare tire or in the warranty booklet

                                                                                                                                                                 Costco_001660
  Case
Audi           9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 462 of
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18                                                                                   Automotive/Light Truck
   YEAR       ENGINE                                                  OPTIONS             ORIGINAL EQUIPMENT              GROUP SIZE                          ALTERNATE SIZE
                                                                                              CCA/RATING                   (NOTES)                               (NOTES)

Audi A6 quattro (continued)
2016       V6/3.0L      Dsl, PR Code J1N                                                         800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2015-14    V6/3.0L      Dsl, PR Code J0L                                                        70 Ah          H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2015-14    V6/3.0L      Dsl, PR Code J0P                                                       105 Ah          —                                     —
2015-14    V6/3.0L      Dsl, PR Code J1N                                                        75 Ah          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2015-13    L4/2.0L      PR Code J0L                                                            70 Ah           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2015-13    L4/2.0L      PR Code J0R                                                             80 Ah          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2015-13    L4/2.0L      PR Code J0Z                                                            110 Ah          —                                     —
2015-11    V6/3.0L      PR Code J0L                                                             70 Ah          H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2015-11    V6/3.0L      PR Code J0R                                                             80 Ah          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2014-13    L4/2.0L      PR Code J0B                                                             92 Ah          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2014-13    L4/2.0L      PR Code J0P                                                            105 Ah          —                                     —
2014-13    L4/2.0L      PR Code J1N                                                             75 Ah          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2014-12    V6/3.0L      AGM, PR Code J0P                                                       105 Ah          —                                     —
2014-11    V6/3.0L      PR Code J0B                                                             92 Ah          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2014-11    V6/3.0L      PR Code J1N                                                             75 Ah          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2014       V6/3.0L      Dsl, PR Code J0B                                                        92 Ah          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2014       V6/3.0L      Dsl, PR Code J0R                                                        80 Ah          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2014       V6/3.0L      Dsl, PR Code J0Z                                                       110 Ah          —                                     —
2014       V6/3.0L      Dsl, PR Code J1U                                                        95 Ah          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2011-05    V8/4.2L      PR Code J0B                                                             92 Ah          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2011-05    V8/4.2L      PR Code J0Z                                                            110 Ah          —                                     —
2011-02    V8/4.2L      PR Code J0R                                                             80 Ah          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2011-02    V8/4.2L      PR Code J1U                                                              760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2011       V8/4.2L      PR Code J0L                                                             70 Ah          H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2011       V8/4.2L      PR Code J0P                                                              950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2011       V8/4.2L      PR Code J1N                                                              800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2011       V8/4.2L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2010-09    V6/3.0L      PR Code J0B                                                              850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2010-09    V6/3.0L      PR Code J0R                                                              640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2010-05    V8/4.2L                                                                               570           H6 (48) 50, 54, 55, 56                H6 (48) AGM 50, 54, 55, 56
2010-05    V8/4.2L      Opt                                                                      850           H8 (49) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
2010-05    V8/4.2L      Opt                                                                      850           — 50, 54, 55, 56                      H9 (95R) AGM 50, 54, 55, 56
2010-02    V8/4.2L      Opt                                                                      640           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2010       V6/3.0L                                                                               570           H6 (48) 50, 54, 55, 56                H6 (48) AGM 50, 54, 55, 56
2010       V6/3.0L      Opt                                                                      760           — 50, 54, 55, 56                      H8 (49) AGM 50, 54, 55, 56
2010       V6/3.0L      Opt                                                                      850           H8 (49) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
2010       V6/3.0L      Opt                                                                      640           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2010       V6/3.0L      Opt                                                                      850           — 50, 54, 55, 56                      H9 (95R) AGM 50, 54, 55, 56
2009       V6/3.0L                                                                               570           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2008-05    V6/3.2L                                                                               570           H6 (48) 50, 54, 55, 56                H6 (48) AGM 50, 54, 55, 56
2008-05    V6/3.2L      Opt                                                                      760           — 50, 54, 55, 56                      H8 (49) AGM 50, 54, 55, 56
2008-05    V6/3.2L      Opt                                                                      850           H8 (49) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
2008-05    V6/3.2L      Opt                                                                      640           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2008-05    V6/3.2L      Opt                                                                      850           — 50, 54, 55, 56                      H9 (95R) AGM 50, 54, 55, 56
2004-02    V6/2.7L      Opt                                                                      760           — 50, 54, 55, 56                      H8 (49) AGM 50, 54, 55, 56
2004-02    V6/2.7L      Option 2                                                                 640           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2004-02    V6/2.7L      Option 3                                                                 720           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2004-02    V6/2.7L      Turbo                                                                    640           —                                     —
2004-02    V6/3.0L                                                                               640           —                                     —
2004-02    V6/3.0L                                                                               640           —                                     —
2004-02    V6/3.0L      Opt                                                                      760           — 50, 54, 55, 56                      H8 (49) AGM 50, 54, 55, 56
2004-02    V6/3.0L      Opt                                                                      640           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2004-02    V6/3.0L      Opt                                                                      720           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2004-02    V6/3.0L      Option 3                                                                 640           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2004-02    V6/3.0L      Option 4                                                                 720           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2004-02    V8/4.2L                                                                               640           —                                     —
2004-02    V8/4.2L      Opt                                                                      720           H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
2001-00    V6/2.7L      Turbo                                                                    640           H7 (94R) 50                           H7 (94R) AGM 50
2001-00    V8/4.2L                                                                               850           — 50                                  H8 (49) AGM 50
2001-99    V6/2.8L                                                                               570           H6 (48) 50, 54                        H6 (48) AGM 50, 54
2001-95    V6/2.8L      Opt                                                                      570           H6 (48) 50                            H6 (48) AGM 50
Audi A7 quattro
2020-19    V6/3.0L      PR Code J0T                                                              680           —                                     —
2020-19    V6/3.0L      PR Code J0V                                                              680           —                                     —
2020-19    V6/3.0L      PR Code J0P                                                              950           H9 (95R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
2020-19    V6/3.0L      PR Code J0Z                                                              850           — 50, 55, 56, 58                      H9 (95R) AGM 50, 55, 56, 58
2020-15    V6/3.0L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2018-15    V6/3.0L      PR Code J1N                                                              800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2018-15    V6/3.0L      PR Code J1U                                                              760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2018-12    V6/3.0L      PR Code J0B                                                              850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2018-12    V6/3.0L      PR Code J0P                                                              950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2018-12    V6/3.0L      PR Code J0R                                                              640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                      See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                       Costco_001661
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                                                                                 of
                                      929
   Automotive/Light Truck                                                                                                                                     19
      YEAR       ENGINE                                           OPTIONS       ORIGINAL EQUIPMENT              GROUP SIZE                          ALTERNATE SIZE
                                                                                    CCA/RATING                   (NOTES)                               (NOTES)

   Audi A7 quattro (continued)
   2018-12   V6/3.0L      PR Code J0Z                                                   850          — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2016-15   V6/3.0L      Dsl, PR Code J0B                                              850          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2016-15   V6/3.0L      Dsl, PR Code J0P                                              950          H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2016-15   V6/3.0L      Dsl, PR Code J0R                                              640          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2016-15   V6/3.0L      Dsl, PR Code J1N                                              800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2016-15   V6/3.0L      Dsl, PR Code J1U                                              760          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2016-15   V6/3.0L      Dsl, PR Code J2D                                              680          H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2016-14   V6/3.0L      Dsl, PR Code J0Z                                              850          — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2014-12   V6/3.0L      Gas, PR Code J0P                                            105 Ah         —                                     —
   2014-12   V6/3.0L      Gas, PR Code J0R                                             80 Ah         H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2014-12   V6/3.0L      PR Code J1N                                                  75 Ah         H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2014-12   V6/3.0L      PR Code J1U                                                 95 Ah          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2014-12   V6/3.0L      PR Code J2D                                                  68 Ah         H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2014      V6/3.0L      Dsl, PR Code J0B                                             92 Ah         H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2014      V6/3.0L      Dsl, PR Code J0P                                            105 Ah         —                                     —
   2014      V6/3.0L      Dsl, PR Code J0R                                             80 Ah         H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2014      V6/3.0L      Dsl, PR Code J1N                                             75 Ah         H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2014      V6/3.0L      Dsl, PR Code J1U                                            95 Ah          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2014      V6/3.0L      Dsl, PR Code J2D                                             68 Ah         H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   Audi A7 Sportback
   2020-19   V6/3.0L      PR Code J2D                                                  680           H6 (48) AGM 33, 50, 55, 56, 58        — 33, 50, 55, 56, 58
   2020-19   V6/3.0L      PR Code JOT                                                  680           —                                     —
   2020-19   V6/3.0L      PR Code JOV                                                  680           —                                     —
   2020-19   V6/3.0L      PR Code JOZ                                                  850           — 50, 55, 56, 58                      H9 (95R) AGM 50, 55, 56, 58
   2020-19   V6/3.0L      PR Code JOP                                                  950           H9 (95R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
   Audi A8
   1999-97 V8/3.7L                                                                     850           — 50                                  H8 (49) AGM 50
   1999-97 V8/3.7L        Std                                                          760           — 50                                  H8 (49) AGM 50
   Audi A8 quattro
   2020-19   V8/4.0L      PR Code J2D                                                   680          H6 (48) AGM 33, 50, 55, 56, 58        — 33, 50, 55, 56, 58
   2020-19   V8/4.0L      PR Code J0V                                                   680          —                                     —
   2020-19   V8/4.0L      PR Code J0T                                                   680          —                                     —
   2020-15   V8/4.0L      PR Code J0B                                                   850          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2020-15   V8/4.0L      PR Code J0P                                                   950          H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2020-19   V6/3.0L      PR Code J0T                                                   680          —                                     —
   2020-19   V6/3.0L      PR Code J0V                                                   680          —                                     —
   2020-19   V6/3.0L      PR Code J2D                                                   680          H6 (48) AGM 33, 50, 55, 56, 58        — 33, 50, 55, 56, 58
   2020-15   V6/3.0L      Dsl, PR Code J0P                                              950          H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018-14   V6/3.0L      PR Code J1N                                                   800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018-14   V8/4.0L      PR Code J1N                                                   800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2020-13   V6/3.0L      PR Code J0B                                                   850          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018-13   V6/3.0L      PR Code J0P                                                   950          H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018-13   V6/3.0L      PR Code J0Z                                                   850          — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2018-13   V6/3.0L      PR Code J1U                                                   760          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2018-13   V8/4.0L      PR Code J0Z                                                   850          — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2018-13   V8/4.0L      PR Code J1U                                                   760          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2016-15   V6/3.0L      Dsl, PR Code J1N                                              800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2016-14   V6/3.0L      Dsl, PR Code J0B                                              850          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2016-14   V6/3.0L      Dsl, PR Code J1U                                              760          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2016-14   W12/6.3L     PR Code J1N                                                   800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2016-12   W12/6.3L     PR Code J0B                                                   850          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2016-12   W12/6.3L     PR Code J0P                                                   950          H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2016-12   W12/6.3L     PR Code J0Z                                                   850          — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2016-12   W12/6.3L     PR Code J1U                                                   760          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2014-13   V8/4.0L      PR Code J0B                                                  92 Ah         H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2014-13   V8/4.0L      PR Code J0P                                                 105 Ah         —                                     —
   2014      V6/3.0L      Dsl, PR Code J0Z                                              850          — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2013-12   W12/6.3L     PR Code 0K1                                                   800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2013      V6/3.0L      PR Code 0K1                                                   800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2013      V8/4.0L      PR Code 0K1                                                   800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2012-10   V8/4.2L      PR Code 0K1                                                   800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2012-10   V8/4.2L      PR Code J0B                                                   850          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2012-10   V8/4.2L      PR Code J0P                                                 105 Ah         —                                     —
   2012-10   V8/4.2L      PR Code J0Z                                                   850          — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2012-10   V8/4.2L      PR Code J1U                                                   760          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2009-08   V8/4.2L      Opt                                                           850          H8 (49) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
   2009-04   V8/4.2L                                                                    850          — 50, 54, 55, 56                      H9 (95R) AGM 50, 54, 55, 56
   2003-00   V8/4.2L      Opt                                                           850          — 50, 54                              H9 (95R) AGM 50, 54
   2003-97   V8/4.2L                                                                    850          — 50, 54                              H8 (49) AGM 50, 54
   See page 151 for Footnotes. Selection may vary by warehouse.             Note: PR codes are located on a tag near the spare tire or in the warranty booklet

                                                                                                                                                                 Costco_001662
  Case
Audi           9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 464 of
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20                                                                                   Automotive/Light Truck
   YEAR       ENGINE                                                  OPTIONS             ORIGINAL EQUIPMENT               GROUP SIZE                            ALTERNATE SIZE
                                                                                              CCA/RATING                    (NOTES)                                 (NOTES)

Audi allroad
2016-13    L4/2.0L      PR Code J0B                                                              850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2016-13    L4/2.0L      PR Code J0L                                                              570           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2016-13    L4/2.0L      PR Code J1L                                                              540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2016-13    L4/2.0L      PR Code J0P                                                              950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2016-13    L4/2.0L      PR Code J0R                                                              640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2016-13    L4/2.0L      PR Code J0Z                                                              850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
2016-13    L4/2.0L      PR Code J1N                                                              800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2016-13    L4/2.0L      PR Code J1U                                                              760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2016-13    L4/2.0L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
Audi allroad quattro
2005-04    V6/2.7L                                                                               650           H7 (94R) 50                           H7 (94R) AGM 50
2005-03    V8/4.2L                                                                               760           — 50                                  H8 (49) AGM 50
2004       V6/2.7L                                                                               650           H7 (94R) 50, 54                       H7 (94R) AGM 50, 54
2003       V6/2.7L                                                                               760           — 50, 54                              H8 (49) AGM 50, 54
2002-01    V6/2.7L                                                                               640           H7 (94R) 50                           H7 (94R) AGM 50
2002-01    V6/2.7L                                                                               640           H7 (94R) 50, 54                       H7 (94R) AGM 50, 54
Audi Cabriolet
1998-94 V6/2.8L                                                                                  650           —                                     —
Audi Coupe quattro
1991-90 L5/2.3L                                                                                  650           —                                     —
Audi e-tron quattro
2020-19                 PR Code J2D                                                              680           H6 (48) AGM 33, 50, 55, 56, 58        — 33, 50, 55, 56, 58
Audi Q3
2020-19    L4/2.0L      PR Code J0S                                                              540           —                                     —
2020-19    L4/2.0L      PR Code J0V, J0T                                                         680           —                                     —
2020-15    L4/2.0L      PR Code J1L                                                              540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2020-15    L4/2.0L      PR Code J1D                                                              640           —                                     —
2018-16    L4/2.0L      PR Code J0T                                                              680           —                                     —
2018-15    L4/2.0L      PR Code J1P                                                              360           —                                     —
2020-15    L4/2.0L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2018-15    L4/2.0L      PR Code J2S                                                              480           —                                     —
Audi Q3 quattro
2018-16    L4/2.0L      PR Code J0T                                                              680           —                                     —
2018-15    L4/2.0L      PR Code J1L                                                              540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2018-15    L4/2.0L      PR Code J1D                                                              640           —                                     —
2018-15    L4/2.0L      PR Code J1P                                                              360           —                                     —
2018-15    L4/2.0L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2018-15    L4/2.0L      PR Code J2S                                                              480           —                                     —
Audi Q5
2020-11    L4/2.0L      PR Code J0P                                                              950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2020-11    L4/2.0L      PR Code J1N                                                              800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2020-11    L4/2.0L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2018-11    L4/2.0L      PR Code J0B                                                             92 Ah          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2017-13    L4/2.0L      PR Code J1L                                                              540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2017-13    V6/3.0L      PR Code J0B                                                             92 Ah          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2017-13    V6/3.0L      PR Code J0L                                                              570           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2017-13    V6/3.0L      PR Code J0P                                                              950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2017-13    V6/3.0L      PR Code J0R                                                              640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2017-13    V6/3.0L      PR Code J0Z                                                            110 Ah          —                                     —
2017-13    V6/3.0L      PR Code J1L                                                              540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2017-13    V6/3.0L      PR Code J1N                                                             75 Ah          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2017-13    V6/3.0L      PR Code J1U                                                              760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2017-13    V6/3.0L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2017-11    L4/2.0L      PR Code J0L                                                              570           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2017-11    L4/2.0L      PR Code J0R                                                              640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2017-11    L4/2.0L      PR Code J0Z                                                              850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
2017-11    L4/2.0L      PR Code J1U                                                              760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2016-14    V6/3.0L      Dsl, PR Code J0B                                                        92 Ah          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2016-14    V6/3.0L      Dsl, PR Code J0L                                                         570           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2016-14    V6/3.0L      Dsl, PR Code J0P                                                         950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2016-14    V6/3.0L      Dsl, PR Code J0R                                                        80 Ah          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2016-14    V6/3.0L      Dsl, PR Code J0Z                                                       110 Ah          —                                     —
2016-14    V6/3.0L      Dsl, PR Code J1L                                                         540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2016-14    V6/3.0L      Dsl, PR Code J1N                                                        75 Ah          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2016-14    V6/3.0L      Dsl, PR Code J1U                                                         760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2016-14    V6/3.0L      Dsl, PR Code J2D                                                        68 Ah          H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2012-11    L4/2.0L      PR Code J1L                                                              540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2012-09    V6/3.2L      PR Code J0B                                                             92 Ah          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2012-09    V6/3.2L      PR Code J0L                                                              570           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2012-09    V6/3.2L      PR Code J1L                                                              540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2012-09    V6/3.2L      PR Code J0P                                                              950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2012-09    V6/3.2L      PR Code J0R                                                              640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                      See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                       Costco_001663
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                                                                                 of
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   Automotive/Light Truck                                                                                                                                                                                     21
      YEAR       ENGINE                                            OPTIONS                                             ORIGINAL EQUIPMENT               GROUP SIZE                             ALTERNATE SIZE
                                                                                                                           CCA/RATING                    (NOTES)                                  (NOTES)

   Audi Q5 (continued)
   2012-09   V6/3.2L      PR Code J0Z                                                                                        110 Ah         —                                      —
   2012-09   V6/3.2L      PR Code J1N                                                                                         75 Ah         H7 (94R) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2012-09   V6/3.2L      PR Code J1U                                                                                        95 Ah          — 50, 54, 55, 56, 58                   H8 (49) AGM 50, 54, 55, 56, 58
   2012-09   V6/3.2L      PR Code J2D                                                                                         68 Ah         H6 (48) AGM 33, 50, 54, 55, 56, 58     — 33, 50, 54, 55, 56, 58
   Audi Q7
   2019-17   V6/3.0L      PR Code J0B                                                                                          850          H8 (49) AGM 33, 50, 54, 55, 56         — 33, 50, 54, 55, 56
   2019-17   V6/3.0L      PR Code J0P                                                                                          950          H9 (95R) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
   2019-17   V6/3.0L      PR Code J1N                                                                                          800          H7 (94R) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2019-17   V6/3.0L      PR Code J2D                                                                                          680          H6 (48) AGM 33, 50, 54, 55, 56, 58     — 33, 50, 54, 55, 56, 58
   2018-17   L4/2.0L      PR Code J0B                                                                                          850          H8 (49) AGM 33, 50, 54, 55, 56, 58     — 33, 50, 54, 55, 56, 58
   2018-17   L4/2.0L      PR Code J0P                                                                                          950          H9 (95R) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
   2018-17   L4/2.0L      PR Code J1N                                                                                          800          H7 (94R) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018-17   L4/2.0L      PR Code J2D                                                                                          680          H6 (48) AGM 33, 50, 54, 55, 56, 58     — 33, 50, 54, 55, 56, 58
   2015-11   V6/3.0L      PR Code J0B                                                                                          850          H8 (49) AGM 33, 50, 54, 55, 56         — 33, 50, 54, 55, 56
   2015-11   V6/3.0L      PR Code J0P                                                                                          950          H9 (95R) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
   2015-11   V6/3.0L      PR Code J0R                                                                                          640          H7 (94R) 50, 54, 55, 56                H7 (94R) AGM 50, 54, 55, 56
   2015-11   V6/3.0L      PR Code J0Z                                                                                          850          — 50, 54, 55, 56                       H9 (95R) AGM 50, 54, 55, 56
   2015-11   V6/3.0L      PR Code J1U                                                                                          760          — 50, 54, 55, 56                       H8 (49) AGM 50, 54, 55, 56
   2015-10   V6/3.0L      Dsl, Opt                                                                                             850          H8 (49) AGM 33, 50, 54, 55, 56         — 33, 50, 54, 55, 56
   2015-10   V6/3.0L      Dsl, PR Code J0P                                                                                     950          H9 (95R) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
   2015-10   V6/3.0L      Dsl, PR Code J0R                                                                                     640          H7 (94R) 50, 54, 55, 56                H7 (94R) AGM 50, 54, 55, 56
   2015-09   V6/3.0L      Dsl, PR Code J0Z                                                                                     850          — 50, 54, 55, 56                       H9 (95R) AGM 50, 54, 55, 56
   2015-09   V6/3.0L      Dsl, PR Code J1U                                                                                     760          — 50, 54, 55, 56                       H8 (49) AGM 50, 54, 55, 56
   2014-11   V6/3.0L      Dsl, PR Code J0B                                                                                    92 Ah         H8 (49) AGM 33, 50, 54, 55, 56         — 33, 50, 54, 55, 56
   2010-07   V6/3.6L      PR Code J0Z                                                                                          850          — 50, 54, 55, 56                       H9 (95R) AGM 50, 54, 55, 56
   2010-07   V8/4.2L      PR Code J0Z                                                                                          850          — 50, 54, 55, 56                       H9 (95R) AGM 50, 54, 55, 56
   2010      V6/3.6L      Opt                                                                                                  850          H8 (49) AGM 33, 50, 54, 55, 56         — 33, 50, 54, 55, 56
   2010      V6/3.6L      PR Code J0P                                                                                          950          H9 (95R) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
   2010      V6/3.6L      PR Code J0R                                                                                          640          H7 (94R) 50, 54, 55, 56                H7 (94R) AGM 50, 54, 55, 56
   2010      V8/4.2L      Opt                                                                                                  850          H8 (49) AGM 33, 50, 54, 55, 56         — 33, 50, 54, 55, 56
   2010      V8/4.2L      PR Code J0P                                                                                          950          H9 (95R) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
   2010      V8/4.2L      PR Code J0R                                                                                          640          H7 (94R) 50, 54, 55, 56                H7 (94R) AGM 50, 54, 55, 56
   Audi R8
   2018-17 V10/5.2L       PR Code J0B                                                                                         850           H8 (49) AGM 33, 50, 54, 55, 56, 58 — 33, 50, 54, 55, 56, 58
   2018-17 V10/5.2L       PR Code J1N                                                                                         800           H7 (94R) AGM 33, 50, 54, 55, 56, 58 — 33, 50, 54, 55, 56, 58
   2017    V10/5.2L       PR Code J0B, B0A, B0D,B0E, B0G, B0H, B0L, B0M, B0N, B0R, B0W, B1C, B1P, B1Q, B1R, B1S,              850           H8 (49) AGM 33, 50, 54, 55, 56, 58 — 33, 50, 54, 55, 56, 58
                          B2A, B2E, B2G, B2H, B3E, B3H, B4G, B1Z
   2015      V10/5.2L     PR Code J2D                                                                                          680          H6 (48) AGM 33, 50, 54, 55, 56, 58     — 33, 50, 54, 55, 56, 58
   2015      V8/4.2L      PR Code J2D                                                                                          680          H6 (48) AGM 33, 50, 54, 55, 56, 58     — 33, 50, 54, 55, 56, 58
   2014      V10/5.2L     PR Code J2D                                                                                         68 Ah         H6 (48) AGM 33, 50, 54, 55, 56, 58     — 33, 50, 54, 55, 56, 58
   2014      V8/4.2L      PR Code J2D                                                                                         68 Ah         H6 (48) AGM 33, 50, 54, 55, 56, 58     — 33, 50, 54, 55, 56, 58
   2012-10   V10/5.2L     PR Code J0L                                                                                          570          H6 (48) 50, 54, 55, 56, 58             H6 (48) AGM 50, 54, 55, 56, 58
   2012-10   V10/5.2L     PR Code J0Z                                                                                          850          — 50, 54, 55, 56, 58                   H9 (95R) AGM 50, 54, 55, 56, 58
   2012-10   V10/5.2L     PR Code J1D                                                                                        72 Ah          —                                      —
   2012-09   V10/5.2L     PR Code J2D                                                                                        68 Ah          H6 (48) AGM 33, 50, 54, 55, 56, 58     — 33, 50, 54, 55, 56, 58
   2012-08   V8/4.2L      PR Code J0L                                                                                          570          H6 (48) 50, 54, 55, 56, 58             H6 (48) AGM 50, 54, 55, 56, 58
   2012-08   V8/4.2L      PR Code J0Z                                                                                          850          — 50, 54, 55, 56, 58                   H9 (95R) AGM 50, 54, 55, 56, 58
   2012-08   V8/4.2L      PR Code J1D                                                                                         72 Ah         —                                      —
   2012-08   V8/4.2L      PR Code J2D                                                                                         68 Ah         H6 (48) AGM 33, 50, 54, 55, 56, 58     — 33, 50, 54, 55, 56, 58
   2009      V10/5.2L     PR Code J0L                                                                                        70 Ah          H6 (48) 50, 54, 55, 56, 58             H6 (48) AGM 50, 54, 55, 56, 58
   2009      V10/5.2L     PR Code J0Z                                                                                        110 Ah         —                                      —
   Audi RS 4
   2008-07 V8/4.2L        PR Code J0B                                                                                         92 Ah         H8 (49) AGM 33, 50, 54, 55, 56, 58     — 33, 50, 54, 55, 56, 58
   Audi RS 5
   2018      V6/2.9L      PR Code J0P                                                                                         950           H9 (95R) AGM 33, 50, 54, 55, 56, 58 — 33, 50, 54, 55, 56, 58
   2018      V6/2.9L      PR Code J1N                                                                                         800           H7 (94R) AGM 33, 50, 54, 55, 56, 58 — 33, 50, 54, 55, 56, 58
   Audi RS 6
   2004-03 V8/4.2L                                                                                                            850           — 50, 54                               H8 (49) AGM 50, 54
   Audi RS 7
   2018-14   V8/4.0L      PR Code J0B                                                                                         850           H8 (49) AGM 33, 50, 54, 55, 56, 58     — 33, 50, 54, 55, 56, 58
   2018-14   V8/4.0L      PR Code J0P                                                                                         950           H9 (95R) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018-14   V8/4.0L      PR Code J0R                                                                                         640           H7 (94R) 50, 54, 55, 56, 58            H7 (94R) AGM 50, 54, 55, 56, 58
   2018-14   V8/4.0L      PR Code J0Z                                                                                         850           — 50, 54, 55, 56, 58                   H9 (95R) AGM 50, 54, 55, 56, 58
   2018-14   V8/4.0L      PR Code J1N                                                                                         800           H7 (94R) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018-14   V8/4.0L      PR Code J1U                                                                                         760           — 50, 54, 55, 56, 58                   H8 (49) AGM 50, 54, 55, 56, 58
   2018-14   V8/4.0L      PR Code J2D                                                                                         680           H6 (48) AGM 33, 50, 54, 55, 56, 58     — 33, 50, 54, 55, 56, 58
   Audi RS3
   2018-17 L5/2.5L        PR Code J1N                                                                                         800           H7 (94R) AGM 33, 50, 54, 55, 56, 58 — 33, 50, 54, 55, 56, 58
   Audi S3
   2017-15 L4/2.0L        PR Code J0S                                                                                         540           —                                      —
   See page 151 for Footnotes. Selection may vary by warehouse.                                                    Note: PR codes are located on a tag near the spare tire or in the warranty booklet

                                                                                                                                                                                                              Costco_001664
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22                                                                                       Automotive/Light Truck
   YEAR       ENGINE                                                  OPTIONS                                    ORIGINAL EQUIPMENT               GROUP SIZE                         ALTERNATE SIZE
                                                                                                                     CCA/RATING                    (NOTES)                              (NOTES)

Audi S3 (continued)
2017-15    L4/2.0L      PR Code J0T                                                                                     680           —                                     —
2017-15    L4/2.0L      PR Code J1D                                                                                     640           —                                     —
2017-15    L4/2.0L      PR Code J2D                                                                                     680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2017-15    L4/2.0L      PR Code J1P                                                                                     360           —                                     —
2017-15    L4/2.0L      PR Code J1L                                                                                     540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2016-15    L4/2.0L      PR Code J2S                                                                                     480           —                                     —
Audi S4
2018       V6/3.0L      PR Code J0B                                                                                     850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2018       V6/3.0L      PR Code J0P                                                                                     950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2018       V6/3.0L      PR Code J0Z                                                                                     850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
2018       V6/3.0L      PR Code J1N                                                                                     800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2018       V6/3.0L      PR Code J1U                                                                                     760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2018       V6/3.0L      PR Code J2D, 0K2                                                                                680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2018       V6/3.0L      PR Code J4E                                                                                     N/A           —                                     —
2016-14    V6/3.0L      PR Code J0P                                                                                     950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2016-13    V6/3.0L      PR Code J2D                                                                                     680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2016-10    V6/3.0L      PR Code J0B                                                                                     850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2016-10    V6/3.0L      PR Code J0Z                                                                                     850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
2016-10    V6/3.0L      PR Code J1N                                                                                     800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2016-10    V6/3.0L      PR Code J1U                                                                                     760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2016       V6/3.0L      PR Code J0B, B0A, B0L, B0M, B0N, B0R, B1C, B1D, B1Q, B1Z, B2E, B2H, B3D, B3E, B4G, B4K          850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2015-13    V6/3.0L      PR Code J0L                                                                                     570           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2015-13    V6/3.0L      PR Code J1L                                                                                     540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2015-10    V6/3.0L      PR Code J0R                                                                                     640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2009-04    V8/4.2L      PR Code J0R                                                                                     640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2009-04    V8/4.2L      PR Code J1U                                                                                     760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2009       V8/4.2L      PR Code J0B                                                                                     850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2009       V8/4.2L      PR Code J0P                                                                                     950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2009       V8/4.2L      PR Code J0Z                                                                                     850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
2009       V8/4.2L      PR Code J1N                                                                                     800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2002       V6/2.7L      Turbo                                                                                           640           H7 (94R) 50                           H7 (94R) AGM 50
2001-00    V6/2.7L                                                                                                      570           H6 (48) 50, 54                        H6 (48) AGM 50, 54
1994-93    L5/2.2L      Turbo                                                                                           650           —                                     —
1992       L5/2.2L                                                                                                      650           —                                     —
Audi S5
2018-12    V6/3.0L      PR Code J1N                                                                                     800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2018-10    V6/3.0L      PR Code J0B                                                                                     850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2018-10    V6/3.0L      PR Code J0P                                                                                     950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2018-10    V6/3.0L      PR Code J0Z                                                                                     850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
2018       V6/3.0L      PR Code 0K0                                                                                     680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2017-10    V6/3.0L      PR Code J0L                                                                                     570           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2017-10    V6/3.0L      PR Code J0R                                                                                     640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2017-10    V6/3.0L      PR Code J2D                                                                                     680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2017-10    V6/3.0L      PR Code J1L                                                                                     540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2017-10    V6/3.0L      PR Code J1U                                                                                     760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2012-09    V8/4.2L      PR Code J1L                                                                                     540           H5 (47) 50, 54, 55, 56, 58            H5 (47) AGM 50, 54, 55, 56, 58
2012-09    V8/4.2L      PR Code J0B                                                                                     850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2012-09    V8/4.2L      PR Code J0L                                                                                    70 Ah          H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2012-09    V8/4.2L      PR Code J0P                                                                                     950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2012-09    V8/4.2L      PR Code J2D                                                                                    68 Ah          H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2012-08    V8/4.2L      PR Code J0R                                                                                     640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2012-08    V8/4.2L      PR Code J0Z                                                                                     850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
2012-08    V8/4.2L      PR Code J1U                                                                                     760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
Audi S5 Sportback
2018       V6/3.0L      PR Code J0B                                                                                     850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2018       V6/3.0L      PR Code J0P                                                                                     950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2018       V6/3.0L      PR Code J0Z                                                                                     850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
2018       V6/3.0L      PR Code J1N                                                                                     800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2018       V6/3.0L      PR Code 0K0                                                                                     680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
Audi S6
2018-13    V8/4.0L      PR Code J0B                                                                                     850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2018-13    V8/4.0L      PR Code J0L                                                                                     640           H6 (48) 50, 54, 55, 56, 58            H6 (48) AGM 50, 54, 55, 56, 58
2018-13    V8/4.0L      PR Code J0P                                                                                     950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2018-13    V8/4.0L      PR Code J0R                                                                                     640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
2018-13    V8/4.0L      PR Code J0Z                                                                                     850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
2018-13    V8/4.0L      PR Code J1N                                                                                     800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2018-13    V8/4.0L      PR Code J1U                                                                                     760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
2018-13    V8/4.0L      PR Code J2D                                                                                     680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2011       V10/5.2L     PR Code J0B                                                                                     850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
2011       V10/5.2L     PR Code J0P                                                                                     950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2011       V10/5.2L     PR Code J0R                                                                                    80 Ah          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                                             See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                                                              Costco_001665
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                                                                               Bentley
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   Automotive/Light Truck                                                                                                                                     23
      YEAR       ENGINE                                           OPTIONS       ORIGINAL EQUIPMENT              GROUP SIZE                          ALTERNATE SIZE
                                                                                    CCA/RATING                   (NOTES)                               (NOTES)

   Audi S6 (continued)
   2011      V10/5.2L     PR Code J0Z                                                   850          — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2011      V10/5.2L     PR Code J1N                                                   800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2011      V10/5.2L     PR Code J1U                                                   760          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2011      V10/5.2L     PR Code J2D                                                  68 Ah         H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2010-07   V10/5.2L                                                                   570          H6 (48) 50, 54, 55, 56                H6 (48) AGM 50, 54, 55, 56
   2010-07   V10/5.2L     Opt                                                           760          — 50, 54, 55, 56                      H8 (49) AGM 50, 54, 55, 56
   2010-07   V10/5.2L     Opt                                                           850          H8 (49) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
   2010-07   V10/5.2L     Opt                                                           640          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2010-07   V10/5.2L     Opt                                                           850          — 50, 54, 55, 56                      H9 (95R) AGM 50, 54, 55, 56
   2002      V8/4.2L                                                                    720          H8 (49) 50, 54                        H8 (49) AGM 50, 54
   1997-95   L5/2.2L                                                                    650          —                                     —
   Audi S7
   2018-13   V8/4.0L      PR Code J0B                                                  850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018-13   V8/4.0L      PR Code J0P                                                  950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018-13   V8/4.0L      PR Code J0R                                                  640           H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2018-13   V8/4.0L      PR Code J0Z                                                  850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2018-13   V8/4.0L      PR Code J1N                                                  800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018-13   V8/4.0L      PR Code J1U                                                  760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2018-13   V8/4.0L      PR Code J2D                                                  680           H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   Audi S8
   2018-13   V8/4.0L      PR Code J0B                                                  850           H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018-13   V8/4.0L      PR Code J0P                                                  950           H9 (95R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018-13   V8/4.0L      PR Code J0Z                                                  850           — 50, 54, 55, 56, 58                  H9 (95R) AGM 50, 54, 55, 56, 58
   2018-13   V8/4.0L      PR Code J1N                                                  800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018-13   V8/4.0L      PR Code J1U                                                  760           — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2013      V8/4.0L      PR Code 0K1                                                  800           H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2009-08   V10/5.2L     Opt                                                          850           H8 (49) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
   2009      V10/5.2L                                                                  650           — 50, 55                              H9 (95R) AGM 50, 55
   2009      V10/5.2L                                                                  850           — 50, 54, 55, 56                      H9 (95R) AGM 50, 54, 55, 56
   2008-07   V10/5.2L                                                                  850           — 50, 55                              H9 (95R) AGM 50, 55
   2003-02   V8/4.2L                                                                   720           H8 (49) 50, 54                        H8 (49) AGM 50, 54
   2001      V8/4.2L                                                                   760           — 50, 54                              H8 (49) AGM 50, 54
   Audi SQ5
   2018-14 V6/3.0L                                                                     640           H7 (94R) 54                           H7 (94R) AGM 54
   Audi TT, TT quattro
   2018-16   L4/2.0L      PR Code J0B                                                   850          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018-16   L4/2.0L      PR Code J0R                                                   640          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2018-16   L4/2.0L      PR Code J1N                                                   800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018-16   L4/2.0L      PR Code J1U                                                   760          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2018-16   L4/2.0L      PR Code J2D                                                   680          H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018      L5/2.5L      PR Code J0B                                                   850          H8 (49) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2018      L5/2.5L      PR Code J0R                                                   640          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2018      L5/2.5L      PR Code J1N                                                   800          H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018      L5/2.5L      PR Code J1U                                                   760          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2018      L5/2.5L      PR Code J2D                                                   680          H6 (48) AGM 33, 50, 54, 55, 56, 58    — 33, 50, 54, 55, 56, 58
   2015-14   L4/2.0L                                                                    540          —                                     —
   2015-14   L4/2.0L      Opt                                                           640          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2015-14   L4/2.0L      Opt                                                           800          H7 (94R) AGM 33, 50, 54, 55, 56       — 33, 50, 54, 55, 56
   2014-08   L4/2.0L                                                                    480          —                                     —
   2013-12   L5/2.5L                                                                    480          —                                     —
   2009-08   V6/3.2L      PR Code J0R                                                   650          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2009-08   V6/3.2L      PR Code J1N                                                  75 Ah         H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2006-04   V6/3.2L      PR Code J0R                                                   650          H7 (94R) 50, 54, 55, 56, 58           H7 (94R) AGM 50, 54, 55, 56, 58
   2006-03   L4/1.8L      PR Code J1D, Opt                                             72 Ah         —                                     —
   2006-00   L4/1.8L                                                                    480          —                                     —
   Audi V8 quattro
   1994-92 V8/4.2L        32 Valve                                                     720           —                                     —
   1991    V8/3.6L        32 Valve                                                     720           —                                     —
   1990    V8/3.6L        32 Valve                                                     650           —                                     —
   Avanti Avanti
   2007-05 V8/4.6L                                                                     590           96R                                   —
   Bentley Arnage
   2009-08   V8/6.8L      Lft Side Aux Battery                                         750           —                                     —
   2009-08   V8/6.8L      Rt Side                                                      700           —                                     —
   2007-00   V8/6.8L                                                                   700           —                                     —
   2001-99   V8/4.4L                                                                   700           —                                     —
   Bentley Azure
   2010-08 V8/6.8L       Lft Side Aux Battery                                          750           —                                     —
   2010-08 V8/6.8L       Rt Side                                                       700           —                                     —
   2007-06 V8/6.8L                                                                     700           —                                     —
   See page 151 for Footnotes. Selection may vary by warehouse.             Note: PR codes are located on a tag near the spare tire or in the warranty booklet

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24                                                      Automotive/Light Truck
  YEAR       ENGINE                           OPTIONS        ORIGINAL EQUIPMENT              GROUP SIZE                         ALTERNATE SIZE
                                                                 CCA/RATING                   (NOTES)                              (NOTES)

Bentley Azure (continued)
2003-96 V8/6.8L                                                     700           —                                 —
Bentley Brooklands
2009-08 V8/6.8L       Lft Side Aux Battery                          750           —                                 —
2009-08 V8/6.8L       Rt Side                                       700           —                                 —
1998-93 V8/6.8L                                                     700           —                                 —
Bentley Continental
2014-13   V8/4.0L     Aux - Lft Side                                850           — 50, 54                          H8 (49) AGM 50, 54
2014-13   V8/4.0L     Primary Bat - Rt Side                         610           —                                 —
2014-09   W12/6.0L    Aux - Lft Side                                850           H8 (49) AGM 33, 50, 54            — 33, 50, 54
2014      W12/6.0L    Primary Bat - Rt Side                         610           —                                 —
2013-09   W12/6.0L    Rt Side                                       610           —                                 —
2008-04   W12/6.0L    Aux - Lft Side                                900           H8 (49) AGM 33                    — 33
2008-04   W12/6.0L    Rt Side                                       650           —                                 —
2003-89   V8/6.8L                                                   650           24                                —
2003      W12/6.0L                                                  650           24                                —
Bentley Eight
1991-90 V8/6.8L                                                     800           —                                 —
Bentley Flying Spur
2017-15 V8/4.0L                                                     610           —                                 —
2017-14 W12/6.0L                                                    610           —                                 —
Bentley Mulsanne
2014-11 V8/6.8L       Aux - Lft Side                                850           — 50, 54                          H8 (49) AGM 50, 54
2014-11 V8/6.8L       Primary Bat - Rt Side                         610           —                                 —
1992-90 V8/6.8L                                                     800           —                                 —
Bentley Turbo R
1998-89 V8/6.8L                                                     700           H6 (48)                           H6 (48) AGM
BMW 1 Series M
2011      L6/3.0L                                                   760           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
BMW 128i
2013-08   L6/3.0L     Option 1                                      570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
2013-08   L6/3.0L     Option 2                                      640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
2013-08   L6/3.0L     Option 3                                      720           H8 (49) 18, 50, 54, 56            H8 (49) AGM 18, 50, 54, 56
2013-08   L6/3.0L     w/AGM, Option 1                               850           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2013-08   L6/3.0L     w/AGM, Option 2                               900           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2013-08   L6/3.0L     w/AGM, Option 3                               760           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
BMW 135, 135is
2013-08   L6/3.0L                                                   570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
2013-08   L6/3.0L     Option 1                                      640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
2013-08   L6/3.0L     Option 2                                      720           H8 (49) 18, 50, 54, 56            H8 (49) AGM 18, 50, 54, 56
2013-08   L6/3.0L     w/AGM, Option 1                               760           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2013-08   L6/3.0L     w/AGM, Option 2                               850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013-08   L6/3.0L     w/AGM, Option 3                               900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
BMW 228i
2016-14 L4/2.0L                                                     800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2016-14 L4/2.0L       Opt                                           900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2015-14 L4/2.0L       Opt                                           850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
BMW 228i xDrive
2016-15 L4/2.0L                                                     800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2016-15 L4/2.0L       Opt                                           900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
BMW 230i
2019      L4/2.0L                                                   900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018      L4/2.0L                                                   900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2017      L4/2.0L                                                   800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2017      L4/2.0L     Opt                                           900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
BMW 230i xDrive
2018      L4/2.0L                                                   900           — 54                              H8 (49) AGM 54
2017      L4/2.0L                                                   800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2017      L4/2.0L     Opt                                           900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
BMW 318i, 318iS, 318Ti
1995-91   L4/1.8L                                                   600           —                                 —
1999-96   L4/1.9L                                                   600           —                                 —
1997-96   L4/1.9L                                                   600           —                                 —
1997-96   L4/1.9L                                                   575           —                                 —
BMW 320i xDrive
2018-16   L4/2.0L     Opt                                           800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2018-13   L4/2.0L                                                   760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2016-13   L4/2.0L     Opt                                           900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2015-13   L4/2.0L                                                   800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
                                                                          See page 151 for Footnotes. Selection may vary by warehouse.

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                                                                                 of
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   Automotive/Light Truck                                                                                                                                 25
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT              GROUP SIZE                         ALTERNATE SIZE
                                                                                CCA/RATING                   (NOTES)                              (NOTES)

   BMW 320i xDrive (continued)
   2015-13 L4/2.0L        Aux Bat                                                 40 Ah          —                                 —
   2015-13 L4/2.0L        Opt                                                      850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   BMW 320i, 320Xi
   2018-16   L4/2.0L      Opt                                                      800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2018-12   L4/2.0L                                                               760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2016-12   L4/2.0L      Opt                                                      900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2015-12   L4/2.0L      Aux Bat                                                 40 Ah          —                                 —
   2005-01   L6/2.2L                                                               570           H6 (48) 18, 50                    H6 (48) AGM 18, 50
   2005-01   L6/2.2L      Opt                                                      640           H7 (94R) 18, 50, 54, 56           H7 (94R) AGM 18, 50, 54, 56
   BMW 323i, 323iS, 323Ci
   2011-06   L6/2.5L      Option 1                                                 640           H7 (94R) 18, 50                   H7 (94R) AGM 18, 50
   2011-06   L6/2.5L      w/AGM, Option 1                                          760           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2011-06   L6/2.5L      w/AGM, Option 2                                          850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2011-06   L6/2.5L      w/AGM, Option 3                                          900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2011-06   L6/2.5L      w/o AGM, Option 1                                        570           H6 (48) 18, 50                    H6 (48) AGM 18, 50
   2011-06   L6/2.5L      w/o AGM, Option 2                                        720           H8 (49) 18, 50, 54, 56            H8 (49) AGM 18, 50, 54, 56
   2000-99   L6/2.5L                                                               765           H7 (94R) 18, 50                   H7 (94R) AGM 18, 50
   2000      L6/2.5L      Conv                                                     640           H7 (94R) 18, 50, 54, 56           H7 (94R) AGM 18, 50, 54, 56
   2000      L6/2.5L      Ex Conv                                                  750           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   1998      L6/2.5L                                                               600           —                                 —
   1998      L6/2.5L                                                               575           —                                 —
   BMW 325 Series
   2006-03   L6/2.5L      325Ci SULEV w/AGM, Option 2                              850           H8 (49) AGM 18, 33, 50            — 18, 33, 50
   2006-03   L6/2.5L      SULEV w/AGM, Option 1                                    900           H8 (49) AGM 18, 33, 50            — 18, 33, 50
   2006-01   L6/2.5L      Ex SULEV                                                 640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
   2006      L6/3.0L      w/AGM, Option 1                                          760           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2006      L6/3.0L      w/AGM, Option 2                                          900           H8 (49) AGM 18, 33, 50, 56        — 18, 33, 50, 56
   2006      L6/3.0L      w/AGM, Option 3                                          850           H8 (49) AGM 18, 33, 50, 56        — 18, 33, 50, 56
   2006      L6/3.0L      w/o AGM, Option 1                                        570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
   2006      L6/3.0L      w/o AGM, Option 2                                        720           H8 (49) 18, 50, 54, 56            H8 (49) AGM 18, 50, 54, 56
   2006      L6/3.0L      w/o AGM, Option 3                                        640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
   2005-04   L6/2.5L      w/M54 Eng                                                640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
   2005-04   L6/2.5L      w/M54 Eng, Option 1                                      570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
   2005-04   L6/2.5L      w/M54 or N52 Eng w/o AGM, Option 2                       640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
   2005-04   L6/2.5L      w/N52 Eng & AGM, Option 1                                760           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2005-04   L6/2.5L      w/N52 Eng & AGM, Option 2                                850           H8 (49) AGM 18, 33, 50            — 18, 33, 50
   2005-04   L6/2.5L      w/N52 Eng & AGM, Option 3                                900           H8 (49) AGM 18, 33, 50            — 18, 33, 50
   2005-04   L6/2.5L      w/N52 Eng Opt                                            640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
   2005-04   L6/2.5L      w/N52 Eng w/o AGM                                        570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
   2005-04   L6/2.5L      w/N52 Eng w/o AGM Option 3                               720           H8 (49) 18, 50, 54                H8 (49) AGM 18, 50, 54
   2005-04   L6/2.5L      w/N52 or M54 Eng w/o AGM, Option 1                       570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
   2003-02   L6/2.5L      325i SULEV w/AGM, Option 1                               850           H8 (49) AGM 18, 33, 50            — 18, 33, 50
   2003-02   L6/2.5L      Ex SULEV, Option 1                                       570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
   2003-02   L6/2.5L      Ex SULEV, Option 2                                       640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
   2003-02   L6/2.5L      SULEV w/AGM, Option 2                                    900           H8 (49) AGM 18, 33, 50            — 18, 33, 50
   2003-01   L6/2.5L                                                               570           H6 (48) 18, 50, 54, 56            H6 (48) AGM 18, 50, 54, 56
   2003-01   L6/2.5L      Opt                                                      640           H7 (94R) 18, 50, 54, 56           H7 (94R) AGM 18, 50, 54, 56
   2001      L6/2.5L                                                               640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
   2001      L6/2.5L      Opt                                                      570           H6 (48) 18, 50, 54, 56            H6 (48) AGM 18, 50, 54, 56
   1991-90   L6/2.5L                                                               600           —                                 —
   1995-92   L6/2.5L                                                               575           —                                 —
   1995-92   L6/2.5L                                                               650           —                                 —
   BMW 328 Series
   2018-16   L4/2.0L      Dsl, Opt                                                 800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2018-14   L4/2.0L      Dsl                                                      760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2018      L4/2.0L      Dsl, Opt                                                 900           —                                 —
   2016-15   L4/2.0L                                                               800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2016-15   L4/2.0L      Opt                                                      900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2016-14   L4/2.0L                                                               900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2016-14   L4/2.0L      Dsl, Opt                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2015-14   L4/2.0L      Aux, Dsl                                                40 Ah          —                                 —
   2015-12   L4/2.0L      Aux Bat                                                 40 Ah          —                                 —
   2015      L4/2.0L      Opt                                                      850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2014-13   L4/2.0L                                                               800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
   2014-12   L4/2.0L      Opt                                                      850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2014      L4/2.0L      Option 1                                                 850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2014      L4/2.0L      Option 2                                                 800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
   2013      L6/3.0L                                                               570           H6 (48) 18, 50, 54, 56            H6 (48) AGM 18, 50, 54, 56
   2013      L6/3.0L      Opt                                                      760           H6 (48) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2013      L6/3.0L      Opt                                                      720           H8 (49) 18, 50, 54, 56            H8 (49) AGM 18, 50, 54, 56
   2013      L6/3.0L      Opt                                                      850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   See page 151 for Footnotes. Selection may vary by warehouse.

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26                                                  Automotive/Light Truck
  YEAR       ENGINE                       OPTIONS        ORIGINAL EQUIPMENT              GROUP SIZE                         ALTERNATE SIZE
                                                             CCA/RATING                   (NOTES)                              (NOTES)

BMW 328 Series (continued)
2013      L6/3.0L     Opt                                       900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013      L6/3.0L     Opt                                       640           H7 (94R) 18, 50, 54, 56           H7 (94R) AGM 18, 50, 54, 56
2012-09   L6/3.0L     AGM, Option 3                             900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2012-09   L6/3.0L     w/o AGM, Option 3                         640           H7 (94R) 18, 50, 54, 56           H7 (94R) AGM 18, 50, 54, 56
2012-07   L6/3.0L     AGM, Option 2                             850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2012-07   L6/3.0L     w/AGM, Option 1                           760           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2012-07   L6/3.0L     w/AGM, Option 2                           850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2012-07   L6/3.0L     w/AGM, Option 3                           900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2012-07   L6/3.0L     w/o AGM, Option 1                         570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
2012-07   L6/3.0L     w/o AGM, Option 2                         720           H8 (49) 18, 50, 54                H8 (49) AGM 18, 50, 54
2012      L4/2.0L                                               800           H7 (94R) AGM 18, 33, 50, 54       — 18, 33, 50, 54
2008-07   L6/3.0L     AGM, Option 3                             900           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2008-07   L6/3.0L     w/o AGM, Option 3                         640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
2000      L6/2.8L                                               750           —                                 —
2000      L6/2.8L     Opt                                       765           H7 (94R) 18, 50                   H7 (94R) AGM 18, 50
1999-96   L6/2.8L     Conv                                      575           —                                 —
1998-96   L6/2.8L                                               650           —                                 —
1998-96   L6/2.8L     Ex Conv                                   650           —                                 —
1999      L6/2.8L                                               765           H7 (94R) 18, 50                   H7 (94R) AGM 18, 50
BMW 330Ci, 330i, 330xi
2018-17   L4/2.0L                                               760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-17   L4/2.0L     Opt                                       800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2006      L6/3.0L                                               570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
2005-02   L6/3.0L                                               640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
2001      L6/3.0L                                               765           H7 (94R) 50                       H7 (94R) AGM 50
BMW 330e
2018-16 L4/2.0L                                                 760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-16 L4/2.0L       Opt                                       900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-16 L4/2.0L       Opt                                       800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
BMW 330i GT xDrive
2018-17 L4/2.0L                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
BMW 330i xDrive
2018-17 L4/2.0L                                                 760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-17 L4/2.0L       Opt                                       800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
BMW 335 Series
2016-15   L6/3.0L                                               900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2015-14   L6/3.0L     Aux Bat                                  40 Ah          —                                 —
2015      L6/3.0L                                               800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2015      L6/3.0L     Opt                                       850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2014-13   L6/3.0L     Option 1                                  850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014      L6/3.0L                                               800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
2014      L6/3.0L     Opt                                       850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014      L6/3.0L     Option 2                                  800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
2013-07   L6/3.0L     w/AGM, Option 1                           760           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2013-07   L6/3.0L     w/AGM, Option 2                           850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013-07   L6/3.0L     w/AGM, Option 3                           900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013-07   L6/3.0L     w/o AGM, Option 1                         720           H8 (49) 18, 50, 54, 56            H8 (49) AGM 18, 50, 54, 56
2013-07   L6/3.0L     w/o AGM, Option 2                         640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
2013-07   L6/3.0L     w/o AGM, Option 3                         570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
2013      L6/3.0L                                               570           H6 (48) 18, 50, 54, 56            H6 (48) AGM 18, 50, 54, 56
2013      L6/3.0L     Opt                                       760           H6 (48) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013      L6/3.0L     Opt                                       720           H8 (49) 18, 50, 54, 56            H8 (49) AGM 18, 50, 54, 56
2013      L6/3.0L     Opt                                       640           H7 (94R) 18, 50, 54, 56           H7 (94R) AGM 18, 50, 54, 56
2013      L6/3.0L     Option 2                                  900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
BMW 340i
2018-16 L6/3.0L                                                 760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-16 L6/3.0L       Opt                                       800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2016    L6/3.0L       Opt                                       900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
BMW 340i GT xDrive
2018-17 L6/3.0L                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
BMW 340i xDrive
2018-16 L6/3.0L                                                 760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-16 L6/3.0L       Opt                                       800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2016    L6/3.0L       Opt                                       900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
BMW 428i
2016-14 L4/2.0L                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
BMW 428i xDrive
2016    L4/2.0L                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2015-14 L4/2.0L       Conv                                      900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2015-14 L4/2.0L       Coupe                                     850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
                                                                       See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                                 27
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT              GROUP SIZE                         ALTERNATE SIZE
                                                                                CCA/RATING                   (NOTES)                              (NOTES)

   BMW 428i xDrive Gran Coupe
   2016-15 L4/2.0L                                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   BMW 430i
   2018-17 L4/2.0L                                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   BMW 430i Gran Coupe
   2018-17 L4/2.0L                                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   BMW 430i xDrive
   2018-17 L4/2.0L                                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   BMW 430i xDrive Gran Coupe
   2018-17 L4/2.0L                                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   BMW 435i
   2016      L6/3.0L                                                               900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2015-14   L6/3.0L      Conv                                                     900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2015      L6/3.0L      Coupe                                                    850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2014      L6/3.0L                                                               850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   BMW 435i Gran Coupe
   2016-15 L6/3.0L                                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   BMW 435i xDrive
   2016      L6/3.0L                                                               900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2015      L6/3.0L      Conv                                                     900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2015      L6/3.0L      Coupe                                                    850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2014      L6/3.0L                                                               850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   BMW 435i xDrive Gran Coupe
   2016-15 L6/3.0L                                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   BMW 440i
   2018-17 L6/3.0L                                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   BMW 440i Gran Coupe
   2018-17 L6/3.0L                                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   BMW 440i xDrive
   2018-17 L6/3.0L                                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   BMW 440i xDrive Gran Coupe
   2018-17 L6/3.0L                                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   BMW 525 Series
   2007-06   L6/3.0L      Option 1                                                 720           H8 (49) 18, 50, 54                H8 (49) AGM 18, 50, 54
   2007-06   L6/3.0L      Option 2                                                 850           — 18, 50, 54                      H9 (95R) AGM 18, 50, 54
   2007-06   L6/3.0L      Option 3                                                 640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
   2005-02   L6/2.5L      Option 3                                                 640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
   2005      L6/2.5L      Opt                                                      900           — 18, 50                          H8 (49) AGM 18, 50
   2004-02   L6/2.5L      Option 1                                                 720           H8 (49) 18, 50, 54                H8 (49) AGM 18, 50, 54
   2004-02   L6/2.5L      Option 2                                                 850           — 18, 50, 54                      H9 (95R) AGM 18, 50, 54
   2001      L6/2.5L                                                               760           — 50                              H8 (49) AGM 50
   1995-91   L6/2.5L                                                               650           —                                 —
   1995-93   L6/2.5L                                                               800           —                                 —
   1993      L6/2.5L      Opt                                                      800           —                                 —
   BMW 528 Series
   2016-15   L4/2.0L                                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2015-14   L4/2.0L      Opt                                                      950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2014      L4/2.0L                                                               850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2014      L4/2.0L      Opt                                                      900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2013-12   L4/2.0L      w/AGM, Option 1                                          850           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2013-12   L4/2.0L      w/AGM, Option 2                                          900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2013-12   L4/2.0L      w/AGM, Option 3                                          800           H7 (94R) AGM 18, 33, 50, 54       — 18, 33, 50, 54
   2013-12   L4/2.0L      w/o AGM                                                  950           — 18, 50, 54                      H9 (95R) AGM 18, 50, 54
   2011-10   L6/3.0L      w/AGM, Option 1                                          850           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2011-10   L6/3.0L      w/AGM, Option 2                                          900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2011-10   L6/3.0L      w/AGM, Option 3                                          800           H7 (94R) AGM 18, 33, 50, 54       — 18, 33, 50, 54
   2011-10   L6/3.0L      w/o AGM                                                  950           — 18, 50, 54                      H9 (95R) AGM 18, 50, 54
   2009-08   L6/3.0L      w/AGM                                                    850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2009-08   L6/3.0L      w/o AGM, Option 1                                        720           H8 (49) 18, 50, 54                H8 (49) AGM 18, 50, 54
   2009-08   L6/3.0L      w/o AGM, Option 2                                        640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
   2009-08   L6/3.0L      w/o AGM, Option 3                                        850           — 18, 50, 54, 56                  H9 (95R) AGM 18, 50, 54, 56
   2000-97   L6/2.8L                                                               760           — 50                              H8 (49) AGM 50
   BMW 530 Series
   2018-17   L4/2.0L                                                               680           —                                 —
   2018-17   L4/2.0L      Aux Bat                                                 12 Ah          —                                 —
   2018-17   L4/2.0L      Opt                                                      760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2018-17   L4/2.0L      Opt                                                      900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2018-17   L4/2.0L      Opt                                                      950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2007-02   L6/3.0L      Option 2                                                 640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
   See page 151 for Footnotes. Selection may vary by warehouse.

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28                                                  Automotive/Light Truck
  YEAR       ENGINE                       OPTIONS        ORIGINAL EQUIPMENT              GROUP SIZE                         ALTERNATE SIZE
                                                             CCA/RATING                   (NOTES)                              (NOTES)

BMW 530 Series (continued)
2007-02   L6/3.0L     Option 3                                  850           — 18, 50, 54, 56                  H9 (95R) AGM 18, 50, 54, 56
2007-02   L6/3.0L     w/AGM                                     850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2007-01   L6/3.0L     Option 1                                  720           H8 (49) 18, 50, 54                H8 (49) AGM 18, 50, 54
1995-94   V8/3.0L                                               800           —                                 —
BMW 530e
2018      L4/2.0L     Hybrid                                    900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018      L4/2.0L     Hybrid                                  105 Ah          —                                 —
2018      L4/2.0L     Hybrid, Aux                              60 Ah          H5 (47) AGM 33, 50, 55, 56        — 33, 50, 55, 56
BMW 530e xDrive
2018      L4/2.0L     Hybrid                                    900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018      L4/2.0L     Hybrid, Aux                              60 Ah          H5 (47) AGM 33, 50, 55, 56        — 33, 50, 55, 56
BMW 530i xDrive
2018-17   L4/2.0L                                               680           —                                 —
2018-17   L4/2.0L     Aux Bat                                  12 Ah          —                                 —
2018-17   L4/2.0L     Opt                                       760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-17   L4/2.0L     Opt                                       900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-17   L4/2.0L     Opt                                       950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
BMW 535 Series
2017-15   L6/3.0L                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2015-14   L6/3.0L     Opt                                       950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2014      L6/3.0L                                               850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014      L6/3.0L     Option 1                                  850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014      L6/3.0L     Option 2                                  900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013-11   L6/3.0L     w/AGM, Option 3                           800           H7 (94R) AGM 18, 33, 50, 54       — 18, 33, 50, 54
2013-11   L6/3.0L     w/o AGM                                   950           — 18, 50, 54                      H9 (95R) AGM 18, 50, 54
2013-10   L6/3.0L     w/AGM, Option 1                           900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013-08   L6/3.0L     w/AGM, Option 2                           850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2010-08   L6/3.0L     w/o AGM, Option 1                         720           H8 (49) 18, 50, 54                H8 (49) AGM 18, 50, 54
2010-08   L6/3.0L     w/o AGM, Option 2                         640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
2010-08   L6/3.0L     w/o AGM, Option 3                         850           — 18, 50, 54, 56                  H9 (95R) AGM 18, 50, 54, 56
1993-90   L6/3.5L                                               800           —                                 —
BMW 540i
2018-17   L6/3.0L                                               680           —                                 —
2018-17   L6/3.0L     Aux Bat                                  12 Ah          —                                 —
2018-17   L6/3.0L     Opt                                       760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-17   L6/3.0L     Opt                                       900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-17   L6/3.0L     Opt                                       950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2003-02   V8/4.4L                                               720           H8 (49) 18, 50                    H8 (49) AGM 18, 50
2003      V8/4.4L     w/AGM                                     900           H8 (49) AGM 18, 33, 50            — 18, 33, 50
2001-97   V8/4.4L                                               760           — 50                              H8 (49) AGM 50
1995-94   V8/4.0L                                               800           —                                 —
BMW 540i xDrive
2018-17   L6/3.0L                                               680           —                                 —
2018-17   L6/3.0L     Aux Bat                                  12 Ah          —                                 —
2018-17   L6/3.0L     Opt                                       760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-17   L6/3.0L     Opt                                       900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-17   L6/3.0L     Opt                                       950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
BMW 545i
2005-04   V8/4.4L     Opt                                       720           H8 (49) 50, 54, 55, 56            H8 (49) AGM 50, 54, 55, 56
2005-04   V8/4.4L     Opt                                       850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2005      V8/4.4L                                               640           H7 (94R) 18, 50                   H7 (94R) AGM 18, 50
2005      V8/4.4L                                               850           — 50, 54, 55, 56                  H9 (95R) AGM 50, 54, 55, 56
2004      V8/4.4L                                               850           — 18, 50                          H9 (95R) AGM 18, 50
2004      V8/4.4L     Opt                                       640           H7 (94R) 50, 54, 55, 56           H7 (94R) AGM 50, 54, 55, 56
BMW 550 Series
2017-15   V8/4.4L                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2015-14   V8/4.4L     Opt                                       950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2014-13   V8/4.4L                                               900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014-10   V8/4.4L                                               900           H8 (49) AGM 18, 33, 54            — 18, 33, 54
2014-10   V8/4.4L     Opt                                       850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014      V8/4.4L                                               850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013-11   V8/4.4L     w/AGM, Option 1                           900           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2013-11   V8/4.4L     w/AGM, Option 2                           850           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2013-11   V8/4.4L     w/o AGM                                   950           — 18, 50, 54                      H9 (95R) AGM 18, 50, 54
2010-06   V8/4.8L     w/o AGM, Option 1                         720           H8 (49) 18, 50, 54                H8 (49) AGM 18, 50, 54
2010-06   V8/4.8L     w/o AGM, Option 2                         850           — 18, 50, 56                      H8 (49) AGM 18, 50, 56
2010-06   V8/4.8L     w/o AGM, Option 3                         640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
2010-06   V8/4.8L     w/o AGM, Option 4                         850           — 18, 50, 54, 56                  H9 (95R) AGM 18, 50, 54, 56
                                                                       See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                                 29
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT              GROUP SIZE                         ALTERNATE SIZE
                                                                                CCA/RATING                   (NOTES)                              (NOTES)

   BMW 640 Series
   2018-16   L6/3.0L                                                               950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2015-13   L6/3.0L      Opt                                                      950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2015      L6/3.0L                                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2015      L6/3.0L      Aux Bat                                                  200           —                                 —
   2014-13   L6/3.0L      Opt                                                      850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2014      L6/3.0L                                                               900           H8 (49) AGM 18, 33, 54            — 18, 33, 54
   2013      L6/3.0L      Opt                                                      900           H8 (49) AGM 18, 33, 54            — 18, 33, 54
   2012      L6/3.0L      w/AGM, Option 1                                          900           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2012      L6/3.0L      w/AGM, Option 2                                          850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2012      L6/3.0L      w/o AGM                                                  950           — 18, 50, 54                      H9 (95R) AGM 18, 50, 54
   BMW 640i xDrive Gran Turismo
   2018      L6/3.0L                                                               900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2018      L6/3.0L      Aux w/Executive Drive                                   60 Ah          H5 (47) AGM 33, 50, 55, 56        — 33, 50, 55, 56
   BMW 645Ci
   2005-04 V8/4.4L                                                                 850           — 18, 50                          H9 (95R) AGM 18, 50
   BMW 650 Series
   2018-16   V8/4.4L                                                               950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2015-12   V8/4.4L                                                               850           H8 (49) AGM 18, 33, 54            — 18, 33, 54
   2015-13   V8/4.4L      Opt                                                      950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2014      V8/4.4L                                                               900           H8 (49) AGM 18, 33, 54            — 18, 33, 54
   2014      V8/4.4L      Opt                                                      850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2012      V8/4.4L      w/AGM                                                    900           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2012      V8/4.4L      w/o AGM                                                  950           — 18, 50, 54                      H9 (95R) AGM 18, 50, 54
   2010-06   V8/4.8L      w/AGM, Option 1                                          900           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2010-06   V8/4.8L      w/AGM, Option 2                                          850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2007-06   V8/4.8L      w/o AGM                                                  850           — 18, 50, 54, 56                  H9 (95R) AGM 18, 50, 54, 56
   BMW 740 Series
   2018      L6/3.0L                                                               900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2018-17   L6/3.0L      Aux w/Executive Drive                                   60 Ah          H5 (47) AGM 33, 50, 55, 56        — 33, 50, 55, 56
   2017-16   L6/3.0L                                                               680           —                                 —
   2016      L6/3.0L      Aux Bat                                                 12 Ah          —                                 —
   2015      L6/3.0L                                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2014-11   L6/3.0L                                                               900           H8 (49) AGM 18, 33, 54            — 18, 33, 54
   2014-11   L6/3.0L      Opt                                                      850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2001      V8/4.4L                                                               850           — 18, 50                          H9 (95R) AGM 18, 50
   2000-96   V8/4.4L                                                               950           — 18, 50                          H9 (95R) AGM 18, 50
   1994-93   V8/4.0L                                                               800           —                                 —
   1995      V8/4.0L                                                               950           — 50                              H9 (95R) AGM 50
   BMW 740e xDrive
   2018    L4/2.0L        Hybrid                                                   600           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2018-17 L4/2.0L        Hybrid, Aux                                             60 Ah          H5 (47) AGM 33, 50, 55, 56        — 33, 50, 55, 56
   BMW 740i xDrive
   2018-17 L6/3.0L        Aux w/Executive Drive                                   60 Ah          H5 (47) AGM 33, 50, 55, 56        — 33, 50, 55, 56
   2018    L6/3.0L                                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2017    L6/3.0L                                                                 680           —                                 —
   BMW 740Ld xDrive
   2015      L6/3.0L                                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   BMW 745i, 745 Li
   2005-02   V8/4.4L      w/AGM                                                    900           H8 (49) AGM 18, 33, 50, 56        — 18, 33, 50, 56
   2003      V8/4.4L                                                               800           — 18, 50                          H9 (95R) AGM 18, 50
   2002      V8/4.4L                                                               800           H9 (95R) AGM 33, 50, 55           — 33, 50, 55
   2002      V8/4.4L                                                               850           — 18, 50                          H9 (95R) AGM 18, 50
   BMW 750 Series
   2018      V8/4.4L                                                               900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2018-17   V8/4.4L      Aux w/Executive Drive                                   60 Ah          H5 (47) AGM 33, 50, 55, 56        — 33, 50, 55, 56
   2017-16   V8/4.4L                                                               680           —                                 —
   2015      V8/4.4L                                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2014-11   V8/4.4L                                                               900           H8 (49) AGM 18, 33, 54            — 18, 33, 54
   2014-10   V8/4.4L      Opt                                                      850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2012-11   V8/4.4L      w/AGM Opt 1 Incl ActiveHybrid                            900           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2012-11   V8/4.4L      w/AGM Opt 2 Incl ActiveHybrid                            850           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2011-09   V8/4.4L      w/AGM, Option 1                                          900           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2009      V8/4.4L      Opt                                                      850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2008-06   V8/4.8L      w/AGM, Option 1                                          900           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2008-06   V8/4.8L      w/AGM, Option 2                                          850           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2001      V12/5.4L                                                              850           — 50                              H9 (95R) AGM 50
   2001      V12/5.4L     Aux Bat                                                  650           H6 (48) 50                        H6 (48) AGM 50
   2000-95   V12/5.4L                                                              950           — 50                              H9 (95R) AGM 50
   See page 151 for Footnotes. Selection may vary by warehouse.

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30                                                   Automotive/Light Truck
  YEAR       ENGINE                        OPTIONS        ORIGINAL EQUIPMENT              GROUP SIZE                         ALTERNATE SIZE
                                                              CCA/RATING                   (NOTES)                              (NOTES)

BMW 760i, 760Li
2015      V12/6.0L                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2014      V12/6.0L                                               900           H8 (49) AGM 18, 33, 54            — 18, 33, 54
2014      V12/6.0L    Opt                                        850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013-10   V12/6.0L    w/AGM, Option 1                            900           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2013-10   V12/6.0L    w/AGM, Option 2                            850           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2008-06   V12/6.0L                                               720           H8 (49) 18, 50                    H8 (49) AGM 18, 50
2005-03   V12/6.0L                                               900           — 18, 50                          H8 (49) AGM 18, 50
BMW 850 Series
1994-93   V12/5.0L    Opt                                        600           —                                 —
1992-91   V12/5.0L    Opt                                        600           —                                 —
1994-93   V12/5.0L                                               800           —                                 —
1992-91   V12/5.0L                                               800           —                                 —
1997-95   V12/5.4L    Opt                                        600           —                                 —
1997-95   V12/5.4L                                               800           —                                 —
1995-94   V12/5.6L    Opt                                        600           —                                 —
1995-94   V12/5.6L                                               800           —                                 —
BMW ActiveHybrid 3
2015      L6/3.0L     Hybrid                                     800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2015      L6/3.0L     Hybrid, Opt                                850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2014      L6/3.0L     Hybrid                                     800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
2014      L6/3.0L     Hybrid, Opt                                850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013      L6/3.0L                                                800           H7 (94R) AGM 18, 33, 50, 54       — 18, 33, 50, 54
2013      L6/3.0L     Opt                                        850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
BMW ActiveHybrid 5
2016-15   L6/3.0L     Hybrid                                     850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2015-14   L6/3.0L     Hybrid, Opt                                950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2014      L6/3.0L     Hybrid                                     900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014      L6/3.0L     Hybrid, Opt                                850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013-12   L6/3.0L     w/AGM                                      950           H9 (95R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
2013-12   L6/3.0L     w/AGM, Option 2                            850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013-12   L6/3.0L     w/AGM, Option 3                            900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013-12   L6/3.0L     w/o AGM                                    800           H7 (94R) 18, 50, 54, 56           H7 (94R) AGM 18, 50, 54, 56
BMW ActiveHybrid 7
2015      L6/3.0L     Hybrid                                     850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2014-13   L6/3.0L     Hybrid, Opt                                900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014      L6/3.0L     Hybrid                                     850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013      L6/3.0L                                                800           H7 (94R) AGM 18, 33, 50, 54       — 18, 33, 50, 54
2013      L6/3.0L     Opt                                        850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
BMW Alpina B6 Gran Coupe
2016      V8/4.4L                                                950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
BMW Alpina B6 xDrive Gran Coupe
2018-15 V8/4.4L                                                  950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
BMW Alpina B7
2018-17   V8/4.4L                                                900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2015      V8/4.4L                                                850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2014      V8/4.4L                                                900           H8 (49) AGM 18, 33, 54            — 18, 33, 54
2014      V8/4.4L     Opt                                        850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013-11   V8/4.4L     w/AGM                                      850           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2013-11   V8/4.4L     w/AGM, Incl xDrive                         900           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2008-07   V8/4.4L                                                720           H8 (49) 50                        H8 (49) AGM 50
BMW Alpina B7 xDrive
2015      V8/4.4L                                                850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2014      V8/4.4L                                                900           H8 (49) AGM 18, 33, 54            — 18, 33, 54
2014      V8/4.4L     Opt                                        850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013-11   V8/4.4L     w/AGM                                      850           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2013-11   V8/4.4L     w/AGM, Incl xDrive                         900           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
BMW Alpina B7L
2015      V8/4.4L                                                850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2014      V8/4.4L                                                900           H8 (49) AGM 18, 33, 54            — 18, 33, 54
2014      V8/4.4L     Opt                                        850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013-11   V8/4.4L     w/AGM                                      850           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2013-11   V8/4.4L     w/AGM, Incl xDrive                         900           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
BMW Alpina B7L xDrive
2015      V8/4.4L                                                850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2014      V8/4.4L                                                900           H8 (49) AGM 18, 33, 54            — 18, 33, 54
2014      V8/4.4L     Opt                                        850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013-11   V8/4.4L     w/AGM                                      850           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2013-11   V8/4.4L     w/AGM, Incl xDrive                         900           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
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   Automotive/Light Truck                                                                                                                                 31
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT              GROUP SIZE                         ALTERNATE SIZE
                                                                                CCA/RATING                   (NOTES)                              (NOTES)

   BMW i3
   2018-14                Electric                                                40 Ah          —                                 —
   2018-14                Electric, Opt                                           20 Ah          —                                 —
   2018    L2/0.6L        Hybrid                                                  40 Ah          —                                 —
   2018    L2/0.6L        Hybrid, Opt                                             20 Ah          —                                 —
   BMW i3s
   2018      L2/0.6L      Hybrid                                                  20 Ah          —                                 —
   BMW i8
   2017-14 L3/1.5L        Hybrid                                                  50 Ah          —                                 —
   BMW M2
   2018-16 L6/3.0L                                                                 800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2017-16 L6/3.0L        Opt                                                      900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   BMW M235i
   2016-14   L6/3.0L      Conv or HD                                               900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2016      L6/3.0L                                                               800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2015      L6/3.0L      Conv                                                     900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2015      L6/3.0L      Coupe                                                    800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2015      L6/3.0L      Coupe, Opt                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2014      L6/3.0L                                                               800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
   2014      L6/3.0L      Opt                                                      850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   BMW M235i xDrive
   2016-15 L6/3.0L                                                                 800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2016    L6/3.0L        Conv or HD                                               900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2015    L6/3.0L        Opt                                                      850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   BMW M240i
   2018-17 L6/3.0L                                                                 800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   BMW M240i xDrive
   2018-17 L6/3.0L                                                                 800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   BMW M3
   2018-16   L6/3.0L      Li-ion Battery Only                                     60 Ah          —                                 —
   2013-08   V8/4.0L      w/AGM, Option 1                                          760           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2013-08   V8/4.0L      w/AGM, Option 2                                          900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2013-08   V8/4.0L      w/AGM, Option 3                                          850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2013-08   V8/4.0L      w/o AGM, Option 1                                        640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
   2013-08   V8/4.0L      w/o AGM, Option 2                                        720           H8 (49) 18, 50, 54, 56            H8 (49) AGM 18, 50, 54, 56
   2013-08   V8/4.0L      w/o AGM, Option 3                                        570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
   2006      L6/3.2L                                                               570           H6 (48) 18, 50                    H6 (48) AGM 18, 50
   2005-02   L6/3.2L                                                               640           H7 (94R) 50                       H7 (94R) AGM 50
   2001      L6/3.2L                                                               765           H7 (94R) 50                       H7 (94R) AGM 50
   1994      L6/3.0L                                                               575           —                                 —
   1995      L6/3.0L                                                               650           —                                 —
   1995      L6/3.0L                                                              75 Ah          —                                 —
   1999-98   L6/3.2L                                                               575           —                                 —
   1999-96   L6/3.2L                                                               650           —                                 —
   1999-96   L6/3.2L                                                              75 Ah          —                                 —
   BMW M4
   2018-16 L6/3.0L        Li-ion Battery Only                                     60 Ah          —                                 —
   BMW M5
   2018      V8/4.4L      Li-ion Battery Only                                     69 Ah          —                                 —
   2016-15   V8/4.4L                                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2015-12   V8/4.4L      Opt                                                      950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2014-12   V8/4.4L                                                               900           H8 (49) AGM 18, 33, 54            — 18, 33, 54
   2014-12   V8/4.4L      Opt                                                      850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2010-06   V10/5.0L     w/AGM, Option 1                                          850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2010-06   V10/5.0L     w/o AGM, Opt                                             640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
   2010-06   V10/5.0L     w/o AGM, Option 1                                        720           H8 (49) 18, 50, 54, 56            H8 (49) AGM 18, 50, 54, 56
   2010-06   V10/5.0L     w/o AGM, Option 2                                        850           — 18, 50, 54, 56                  H9 (95R) AGM 18, 50, 54, 56
   2003      V8/5.0L                                                               800           — 50                              H9 (95R) AGM 50
   2002-01   V8/5.0L                                                               850           — 50                              H9 (95R) AGM 50
   2000      V8/5.0L                                                               950           — 50                              H9 (95R) AGM 50
   1993-91   L6/3.6L                                                               800           —                                 —
   BMW M550i xDrive
   2018      V8/4.4L                                                               900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2018      V8/4.4L      Aux w/M Sports Suspension                               60 Ah          H5 (47) AGM 33, 50, 55, 56        — 33, 50, 55, 56
   2018      V8/4.4L      Aux, Opt w/M Sports Suspension                          50 Ah          —                                 —
   BMW M6
   2018-16   V8/4.4L                                                               950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2015      V8/4.4L                                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2015-13   V8/4.4L      Opt                                                      950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2014      V8/4.4L                                                               900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   See page 151 for Footnotes. Selection may vary by warehouse.

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32                                                  Automotive/Light Truck
  YEAR       ENGINE                       OPTIONS        ORIGINAL EQUIPMENT              GROUP SIZE                         ALTERNATE SIZE
                                                             CCA/RATING                   (NOTES)                              (NOTES)

BMW M6 (continued)
2014-12   V8/4.4L     Opt                                       850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013-12   V8/4.4L                                               900           H8 (49) AGM 18, 33, 54            — 18, 33, 54
2012      V8/4.4L     Opt                                       950           — 50, 54, 55, 56                  H9 (95R) AGM 50, 54, 55, 56
2010-06   V10/5.0L    w/AGM, Option 1                           900           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2010-06   V10/5.0L    w/AGM, Option 2                           850           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
BMW M6 Gran Coupe
2018-16   V8/4.4L                                               950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2015      V8/4.4L                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2015-14   V8/4.4L     Opt                                       950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2014      V8/4.4L                                               850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
BMW M760Li xDrive
2018      V12/6.6L                                              900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018      V12/6.6L    Aux Bat                                  60 Ah          H5 (47) AGM 33, 50, 55, 56        — 33, 50, 55, 56
BMW M760i xDrive
2018-17 V12/6.6L                                                900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-17 V12/6.6L      Aux Bat                                  60 Ah          H5 (47) AGM 33, 50, 55, 56        — 33, 50, 55, 56
BMW X1
2018-16   L4/2.0L     28i                                       800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2018-16   L4/2.0L     28iX                                      760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2015      L4/2.0L                                               570           H6 (48) 50, 54, 55, 56            H6 (48) AGM 50, 54, 55, 56
2015      L4/2.0L     Opt                                       760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2015      L4/2.0L     Opt                                       640           H7 (94R) 50, 54, 55, 56           H7 (94R) AGM 50, 54, 55, 56
2015      L4/2.0L     Opt                                       800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2015      L6/3.0L                                               570           H6 (48) 50, 54, 55, 56            H6 (48) AGM 50, 54, 55, 56
2015      L6/3.0L     Opt                                       760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2015      L6/3.0L     Opt                                       640           H7 (94R) 50, 54, 55, 56           H7 (94R) AGM 50, 54, 55, 56
2015      L6/3.0L     Opt                                       800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2014      L4/2.0L     Option 1                                  760           H6 (48) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014      L4/2.0L     Option 2                                  640           H7 (94R) 18, 50, 54, 56           H7 (94R) AGM 18, 50, 54, 56
2014      L4/2.0L     Option 3                                  800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
2014      L6/3.0L     Option 1                                  760           H6 (48) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014      L6/3.0L     Option 2                                  640           H7 (94R) 18, 50, 54, 56           H7 (94R) AGM 18, 50, 54, 56
2014      L6/3.0L     Option 3                                  800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
2014-13   L4/2.0L                                               570           H6 (48) 18, 54                    H6 (48) AGM 18, 54
2014-13   L6/3.0L                                               570           H6 (48) 18, 54                    H6 (48) AGM 18, 54
2013      L4/2.0L     Opt                                       760           H6 (48) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013      L4/2.0L     w/AGM                                     800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
2013      L4/2.0L     w/o AGM                                   640           H7 (94R) 18, 50, 54, 56           H7 (94R) AGM 18, 50, 54, 56
2013      L6/3.0L     Opt                                       760           H6 (48) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013      L6/3.0L     w/AGM                                     800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
2013      L6/3.0L     w/o AGM                                   640           H7 (94R) 18, 50, 54, 56           H7 (94R) AGM 18, 50, 54, 56
2012      L4/2.0L     w/AGM, Option 1                           760           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2012      L4/2.0L     w/AGM, Option 2                           800           H7 (94R) AGM 18, 33, 50, 54       — 18, 33, 50, 54
2012      L4/2.0L     w/o AGM, Option 1                         570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
2012      L4/2.0L     w/o AGM, Option 2                         640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
BMW X3
2018-15   L4/2.0L                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-15   L4/2.0L     Opt                                       800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2018-15   L6/3.0L                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-14   L6/3.0L     Opt                                       800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2017-16   L4/2.0L                                               800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2017-16   L4/2.0L     Dsl                                       800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2017-16   L4/2.0L     Dsl, Opt                                  850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2017-16   L4/2.0L     Opt                                       850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2015      L4/2.0L     Opt                                       950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2014-13   L4/2.0L                                               900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014-13   L4/2.0L     Option 1                                  850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014-13   L6/3.0L                                               900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014      L4/2.0L     Opt                                       800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
2014      L6/3.0L     Opt                                       900           —                                 —
2014      L6/3.0L     Option 3                                  850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013      L4/2.0L     Opt                                       950           — 50, 54, 55, 56                  H9 (95R) AGM 50, 54, 55, 56
2013      L4/2.0L     Option 2                                  800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
2013      L6/3.0L     Opt                                       950           — 50, 54, 55, 56                  H9 (95R) AGM 50, 54, 55, 56
2013      L6/3.0L     Option 1                                  850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2013      L6/3.0L     Option 2                                  800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
2012-11   L6/3.0L     w/AGM, Option 2                           800           H7 (94R) AGM 18, 33, 50, 54       — 18, 33, 50, 54
2012-11   L6/3.0L     w/o AGM                                   950           — 18, 50, 54                      H9 (95R) AGM 18, 50, 54
2012-04   L6/3.0L     w/AGM, Option 1                           850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2012-04   L6/3.0L     w/AGM, Option 3                           900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2010-04   L6/3.0L     w/o AGM, Option 1                         720           H8 (49) 18, 50, 54, 56            H8 (49) AGM 18, 50, 54, 56
                                                                       See page 151 for Footnotes. Selection may vary by warehouse.

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                                                                                 of
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   Automotive/Light Truck                                                                                                                                 33
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT              GROUP SIZE                         ALTERNATE SIZE
                                                                                CCA/RATING                   (NOTES)                              (NOTES)

   BMW X3 (continued)
   2010-04   L6/3.0L      w/o AGM, Option 2                                        570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
   2006-04   L6/2.5L                                                               570           H6 (48) 18, 50, 56                H6 (48) AGM 18, 50, 56
   2006-04   L6/2.5L      Opt                                                      850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2006-04   L6/2.5L      Opt                                                      900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2006      L6/2.5L      Opt                                                      720           H8 (49) 50, 54, 55, 56            H8 (49) AGM 50, 54, 55, 56
   2005-04   L6/2.5L      Opt                                                      720           H8 (49) 18, 50, 56                H8 (49) AGM 18, 50, 56
   BMW X4
   2018-15   L4/2.0L                                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2018-15   L4/2.0L      Opt                                                      800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2018-15   L6/3.0L                                                               850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2018-15   L6/3.0L      Opt                                                      800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   BMW X5
   2018-16   L4/2.0L      Hybrid                                                   950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2018-16   L4/2.0L      Hybrid, Aux                                             50 Ah          —                                 —
   2018-16   L4/2.0L      Hybrid, Opt                                              900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2018-14   L6/3.0L      Aux, Dsl                                                50 Ah          —                                 —
   2018-14   L6/3.0L      Dsl                                                      950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2018-14   L6/3.0L      Gas                                                      950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2018-14   L6/3.0L      Gas, Aux bat                                            50 Ah          —                                 —
   2018-14   L6/3.0L      Gas, Opt                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2018-14   V8/4.4L                                                               950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2018-14   V8/4.4L      Aux Bat                                                 50 Ah          —                                 —
   2018-11   L6/3.0L      Dsl, Opt                                                 900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2018      V8/4.4L                                                               900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2017-14   V8/4.4L      Opt                                                      900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2017      L6/3.0L      US, Gas                                                  950           H9 (95R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2013-11   L6/3.0L      Dsl, Opt                                                 850           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2013      L6/3.0L      Dsl                                                      570           H6 (48) 50, 54, 55, 56            H6 (48) AGM 50, 54, 55, 56
   2013      L6/3.0L      Dsl, Opt                                                 900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2013      L6/3.0L      Gas                                                      900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2013      L6/3.0L      Gas, Opt                                                 850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2013      L6/3.0L      Opt                                                      570           H6 (48) 18, 54                    H6 (48) AGM 18, 54
   2013      V8/4.4L                                                               570           H6 (48) 18, 50, 54, 56            H6 (48) AGM 18, 50, 54, 56
   2013      V8/4.4L      Opt 1                                                    900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2013      V8/4.4L      Opt 2                                                    850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2012-11   L6/3.0L      Dsl, w/o AGM Option                                      570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
   2012-11   L6/3.0L      Gas, w/o AGM, Opt 1                                      570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
   2012-11   L6/3.0L      Gas, w/o AGM, Opt 2                                      950           — 18, 50, 54                      H9 (95R) AGM 18, 50, 54
   2012-11   V8/4.4L      w/o AGM, Option 2                                        950           — 18, 50, 54                      H9 (95R) AGM 18, 50, 54
   2012-10   V8/4.4L      w/AGM, Option 1                                          850           H8 (49) AGM 18, 33, 50, 56        — 18, 33, 50, 56
   2012-10   V8/4.4L      w/AGM, Option 2                                          900           H8 (49) AGM 18, 33, 50, 56        — 18, 33, 50, 56
   2012-09   L6/3.0L      Dsl                                                      950           — 18, 50, 54                      H9 (95R) AGM 18, 50, 54
   2012-09   L6/3.0L      w/AGM, Option 1                                          900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2012-09   L6/3.0L      w/AGM, Option 2                                          850           H8 (49) AGM 18, 33, 50, 56        — 18, 33, 50, 56
   2012      V8/4.4L      w/o AGM, Option 1                                        570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
   2011      V8/4.4L                                                               570           H6 (48) AGM 33, 50, 54, 55        — 33, 50, 54, 55
   2011      V8/4.4L      w/AGM, Option 4                                          750           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2010-09   L6/3.0L      Option 1                                                 850           H8 (49) AGM 18, 33, 50, 56        — 18, 33, 50, 56
   2010-09   L6/3.0L      Option 2                                                 900           H8 (49) AGM 18, 33, 50, 56        — 18, 33, 50, 56
   2010-07   V8/4.8L      w/AGM, Option 1                                          900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2010-07   V8/4.8L      w/AGM, Option 2                                          850           H8 (49) AGM 18, 33, 50, 56        — 18, 33, 50, 56
   2010      L6/3.0L      Dsl, Opt                                                 570           H6 (48) 18, 54                    H6 (48) AGM 18, 54
   2010      V8/4.4L      w/AGM, Option 3                                          570           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2009      L6/3.0L      Dsl, Opt                                                 570           H6 (48) 18                        H6 (48) AGM 18
   2008-07   L6/3.0L      w/AGM, Option 1                                          850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2008-07   L6/3.0L      w/AGM, Option 2                                          900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
   2006-04   V8/4.4L                                                               720           H8 (49) 18, 50                    H8 (49) AGM 18, 50
   2006-04   V8/4.8L                                                               720           H8 (49) 18, 50, 54                H8 (49) AGM 18, 50, 54
   2006-04   V8/4.8L      Opt                                                      640           H7 (94R) 18, 50, 54               H7 (94R) AGM 18, 50, 54
   2006-01   L6/3.0L      Opt                                                      640           H7 (94R) 50, 54, 55, 56           H7 (94R) AGM 50, 54, 55, 56
   2006-00   V8/4.4L      Opt                                                      640           H7 (94R) 50, 54, 55, 56           H7 (94R) AGM 50, 54, 55, 56
   2006      L6/3.0L                                                               720           H8 (49) 18, 50, 54                H8 (49) AGM 18, 50, 54
   2005-02   L6/3.0L                                                               640           H7 (94R) 50                       H7 (94R) AGM 50
   2005-01   L6/3.0L                                                               720           H8 (49) 50, 54, 55, 56            H8 (49) AGM 50, 54, 55, 56
   2005      V8/4.4L      Opt                                                      720           H8 (49) AGM 18, 33, 50, 54        — 18, 33, 50, 54
   2003-02   V8/4.6L                                                               720           H8 (49) 50, 54, 55, 56            H8 (49) AGM 50, 54, 55, 56
   2003-02   V8/4.6L                                                               740           — 50                              H8 (49) AGM 50
   2003-02   V8/4.6L      Opt                                                      640           H7 (94R) 50, 54, 55, 56           H7 (94R) AGM 50, 54, 55, 56
   2003-00   V8/4.4L                                                               720           H8 (49) 50, 54, 55, 56            H8 (49) AGM 50, 54, 55, 56
   2003      V8/4.4L                                                               740           — 50                              H8 (49) AGM 50
   2002      L6/3.0L      Opt                                                      720           H8 (49) 50                        H8 (49) AGM 50
   2002      V8/4.4L                                                               720           H8 (49) 50                        H8 (49) AGM 50
   See page 151 for Footnotes. Selection may vary by warehouse.

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34                                               Automotive/Light Truck
  YEAR       ENGINE                    OPTIONS           ORIGINAL EQUIPMENT              GROUP SIZE                      ALTERNATE SIZE
                                                             CCA/RATING                   (NOTES)                           (NOTES)

BMW X5 (continued)
2002    V8/4.6L                                                 720           H8 (49) 50                        H8 (49) AGM 50
2001-00 V8/4.4L                                                 760           — 50                              H8 (49) AGM 50
2001    L6/3.0L                                                 765           H7 (94R) 50                       H7 (94R) AGM 50
BMW X6
2018-15   L6/3.0L                                               900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-15   L6/3.0L     Aux Bat                                  50 Ah          —                                 —
2018-15   V8/4.4L                                               900           H8 (49) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2018-15   V8/4.4L     Aux Bat                                  50 Ah          —                                 —
2014-13   L6/3.0L                                               570           H6 (48) 18, 50, 54, 56            H6 (48) AGM 18, 50, 54, 56
2014-13   L6/3.0L                                               900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014-13   L6/3.0L     Opt                                       850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014-13   V8/4.4L                                               570           H6 (48) 18, 50, 54, 56            H6 (48) AGM 18, 50, 54, 56
2014-13   V8/4.4L                                               900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014-13   V8/4.4L     Opt                                       570           H6 (48) 18, 50, 54, 56            H6 (48) AGM 18, 50, 54, 56
2014-13   V8/4.4L     Opt                                       850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2012-11   V8/4.4L                                               950           — 18, 50, 54                      H9 (95R) AGM 18, 50, 54
2012-09   V8/4.4L     w/AGM                                     850           H8 (49) AGM 18, 33, 50            — 18, 33, 50
2012-08   L6/3.0L                                               950           — 18, 50, 54                      H9 (95R) AGM 18, 50, 54
2012-08   L6/3.0L     w/AGM                                     570           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2012-08   V8/4.4L     Opt                                       570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
2012      L6/3.0L     w/AGM                                     850           H8 (49) AGM 18, 33, 50            — 18, 33, 50
2012      V8/4.4L     w/AGM                                     950           H9 (95R) AGM 18, 33, 50           — 18, 33, 50
2011-10   V8/4.4L     Hybrid                                    760           H6 (48) AGM 18, 33, 54            — 18, 33, 54
2011      L6/3.0L     Opt                                       850           H8 (49) AGM 18, 33, 50            — 18, 33, 50
2010-09   V8/4.4L     w/AGM                                     900           H8 (49) AGM 18, 33, 50            — 18, 33, 50
2010-08   L6/3.0L     Option 1                                  850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2010-08   L6/3.0L     Option 2                                  900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2010-08   V8/4.4L     Option 1                                  850           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2010-08   V8/4.4L     Option 2                                  900           H8 (49) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
BMW Z3
2002      L6/2.5L                                               570           H6 (48) 50                        H6 (48) AGM 50
2002      L6/3.0L                                               570           H6 (48) 50                        H6 (48) AGM 50
2002      L6/3.2L                                               570           H6 (48) 50                        H6 (48) AGM 50
2001-99   L6/2.5L                                               650           H6 (48) 50                        H6 (48) AGM 50
2001-98   L6/3.2L                                               650           H6 (48) 50                        H6 (48) AGM 50
2001      L6/3.0L                                               650           H6 (48) 50                        H6 (48) AGM 50
2000-97   L6/2.8L                                               650           H6 (48) 50                        H6 (48) AGM 50
1998-96   L4/1.9L                                               650           H6 (48) 50                        H6 (48) AGM 50
BMW Z4
2016-15   L4/2.0L                                               760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2016-15   L4/2.0L     Opt                                       800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2016-15   L6/3.0L                                               760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
2016-15   L6/3.0L     Opt                                       800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
2014-13   L4/2.0L                                               760           H6 (48) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014-13   L4/2.0L     Opt                                       800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
2014      L6/3.0L                                               760           H6 (48) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2014      L6/3.0L     Opt                                       800           H7 (94R) AGM 18, 33, 50, 54, 56   — 18, 33, 50, 54, 56
2013-09   L6/3.0L     w/AGM                                     760           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2013-09   L6/3.0L     w/AGM Option                              800           H7 (94R) AGM 18, 33, 50, 54       — 18, 33, 50, 54
2012      L4/2.0L     w/AGM                                     760           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2012      L4/2.0L     w/AGM Option                              800           H7 (94R) AGM 18, 33, 50, 54       — 18, 33, 50, 54
2008-07   L6/3.0L     Opt                                       570           H6 (48) 18, 50, 54, 56            H6 (48) AGM 18, 50, 54, 56
2008-06   L6/3.0L                                               480           H5 (47) 50, 54, 55, 56            H5 (47) AGM 50, 54, 55, 56
2008-06   L6/3.0L     Opt                                       640           H7 (94R) 18, 50, 54, 56           H7 (94R) AGM 18, 50, 54, 56
2008-06   L6/3.0L     w/AGM Option                              760           H6 (48) AGM 18, 33, 50, 54        — 18, 33, 50, 54
2008-06   L6/3.2L                                               480           H5 (47) 18, 50                    H5 (47) AGM 18, 50
2007      L6/3.0L     Opt                                       760           H6 (48) AGM 18, 33, 50, 54, 56    — 18, 33, 50, 54, 56
2006      L6/3.0L     Opt                                       570           H6 (48) 18, 50, 54                H6 (48) AGM 18, 50, 54
2005-04   L6/2.5L                                               480           H5 (47) 50                        H5 (47) AGM 50
2005-04   L6/2.5L     HD, Telematics                            640           H7 (94R) 50                       H7 (94R) AGM 50
2005-04   L6/2.5L     Opt                                       570           H6 (48) 50                        H6 (48) AGM 50
2005-04   L6/3.0L                                               480           H5 (47) 50                        H5 (47) AGM 50
2005-04   L6/3.0L     Opt                                       570           H6 (48) 50                        H6 (48) AGM 50
2005-03   L6/3.0L     HD, Telematics                            640           H7 (94R) 50                       H7 (94R) AGM 50
2003      L6/2.5L                                               570           H6 (48) 50                        H6 (48) AGM 50
2003      L6/3.0L                                               570           H6 (48) 50                        H6 (48) AGM 50
BMW Z8
2003      V8/4.8L                                               740           — 50                              H8 (49) AGM 50
2003      V8/5.0L                                               740           — 50                              H8 (49) AGM 50
2002      V8/5.0L                                               720           H8 (49) 50                        H8 (49) AGM 50
2001-00   V8/5.0L                                               760           — 50                              H8 (49) AGM 50
                                                                       See page 151 for Footnotes. Selection may vary by warehouse.

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Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 479Buick
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   Automotive/Light Truck                                                                                                                   35
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE              ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)                   (NOTES)

   Buick Allure
   2010      V6/3.0L                                                               615           H6 (48)                H6 (48) AGM
   2010      V6/3.6L                                                               615           H6 (48)                H6 (48) AGM
   2009-05   V6/3.8L                                                               750           34                     —
   2009      V8/5.3L                                                               625           —                      —
   2008-05   V6/3.6L                                                               680           34                     —
   2008      V8/5.3L                                                               590           —                      —
   Buick Cascada
   2019-17 L4/1.6L                                                                 730           H7 (94R) AGM 33, 50    — 33, 50
   2016    L4/1.6L                                                                 800           H7 (94R) AGM 33        — 33
   Buick Century
   2005-97   V6/3.1L                                                               600           78                     —
   1996-94   V6/3.1L                                                               525           75                     —
   1996-93   L4/2.2L                                                               525           75                     —
   1993-89   V6/3.3L                                                               630           75                     —
   1992-85   L4/2.5L                                                               630           75                     —
   Buick Commercial Chassis
   1996-92 V8/5.7L                                                                 690           78                     —
   1991    V8/5.0L                                                                 690           78                     —
   Buick Electra
   1990-85 V6/3.8L                                                                 630           75                     —
   1990    V6/3.8L        Opt                                                      730           78                     —
   Buick Enclave
   2020-19   V6/3.6L                                                               850           H7 (94R) AGM 33, 50    — 33, 50
   2019-18   V6/3.6L                                                               730           H7 (94R) AGM 33, 50    — 33, 50
   2017-10   V6/3.6L                                                               660           H6 (48) 50             H6 (48) AGM 50
   2009-08   V6/3.6L                                                               730           H6 (48) 50             H6 (48) AGM 50
   Buick Encore
   2020      L4/1.4L                                                               525           H5 (47)                H5 (47) AGM
   2019-16   L4/1.4L      w/o Start/Stop                                           525           H5 (47)                H5 (47) AGM
   2019-16   L4/1.4L      w/Start/Stop                                             700           H6 (48) AGM 33         — 33
   2016      L4/1.4L                                                               760           H6 (48) AGM 33         — 33
   2015-13   L4/1.4L                                                               525           H5 (47) 50             H5 (47) AGM 50
   Buick Envision
   2020-18   L4/2.5L      w/Start/Stop                                             720           H7 (94R) AGM 33, 50    — 33, 50
   2020-16   L4/2.0L      w/Start/Stop                                             720           H7 (94R) AGM 33, 50    — 33, 50
   2017-16   L4/2.0L      w/Start/Stop                                             730           H7 (94R) AGM 33, 50    — 33, 50
   2017      L4/2.5L      w/Start/Stop                                             730           H7 (94R) AGM 33, 50    — 33, 50
   Buick Gran Sport
   1967    V8/6.6L                                                                 350           24                     —
   1966-65 V8/6.6L                                                                 440           24                     —
   Buick GS 350
   1969-68 V8/5.7L                                                                 440           24                     —
   Buick GS 400
   1969-68 V8/6.6L                                                                 440           24                     —
   Buick LaCrosse
   2019-18   L4/2.5L      Hybrid                                                   615           H6 (48)                H6 (48) AGM
   2019-18   V6/3.6L                                                               850           H7 (94R) AGM 33        — 33
   2017      V6/3.6L                                                               730           H7 (94R) AGM 33        — 33
   2016-12   L4/2.4L      Hybrid                                                   525           H5 (47)                H5 (47) AGM
   2016-10   V6/3.6L                                                               615           H6 (48)                H6 (48) AGM
   2011-10   L4/2.4L                                                               615           H6 (48)                H6 (48) AGM
   2010      V6/3.0L                                                               615           H6 (48) 50             H6 (48) AGM 50
   2009-08   V6/3.8L                                                               720           —                      —
   2009-08   V8/5.3L                                                               590           —                      —
   2008      V6/3.6L                                                               720           —                      —
   2007      V6/3.6L                                                               750           —                      —
   2007      V6/3.8L                                                               750           34                     —
   2006      V6/3.6L                                                               690           34                     —
   2006      V6/3.8L                                                               690           34                     —
   2005      V6/3.6L                                                               680           —                      —
   2005      V6/3.8L                                                               680           34                     —
   Buick LeSabre
   2005-00 V6/3.8L                                                                 770           100 50                 — 50
   1999-95 V6/3.8L                                                                 690           78                     —
   1997-94 V6/3.8L       Opt                                                       770           78                     —
   1994-86 V6/3.8L                                                                 630           75                     —
   1993-91 V6/3.8L       HD or w/HWS                                               770           78                     —
   1990-86 V8/5.0L                                                                 630           75                     —
   1990      V8/5.0L     Opt                                                       730           78                     —
   See page 151 for Footnotes. Selection may vary by warehouse.

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36                                                   Automotive/Light Truck
  YEAR      ENGINE                         OPTIONS        ORIGINAL EQUIPMENT             GROUP SIZE            ALTERNATE SIZE
                                                              CCA/RATING                  (NOTES)                 (NOTES)

Buick Lucerne
2011-09   V6/3.9L                                                720           H7 (94R) 50              H7 (94R) AGM 50
2011-09   V8/4.6L                                                720           H7 (94R) 50              H7 (94R) AGM 50
2008      V6/3.8L                                                730           H6 (48) 50               H6 (48) AGM 50
2008      V8/4.6L                                                730           H6 (48) 50               H6 (48) AGM 50
2007-06   V6/3.8L                                                800           79 50                    — 50
2007-06   V8/4.6L                                                800           79 50                    — 50
Buick Park Avenue
2005-03   V6/3.8L                                                690           34                       —
2005-03   V6/3.8L    S/C                                         770           34                       —
2002-98   V6/3.8L    S/C                                         770           78                       —
2002-96   V6/3.8L    Naturally Aspirated                         690           78                       —
1997-91   V6/3.8L    W/HD or HWS                                 770           78                       —
1995-94   V6/3.8L                                                600           78                       —
1993-91   V6/3.8L                                                630           75                       —
Buick Rainier
2007-04 L6/4.2L                                                  600           78 40                    — 40
2007-04 V8/5.3L                                                  600           78 40                    — 40
Buick Reatta
1991-88 V6/3.8L                                                  770           78                       —
Buick Regal
2017-11   L4/2.0L                                                615           H6 (48)                  H6 (48) AGM
2017-11   L4/2.4L                                                615           H6 (48)                  H6 (48) AGM
2016-12   L4/2.4L    Gas                                         615           H6 (48)                  H6 (48) AGM
2016-12   L4/2.4L    Hybrid                                      525           H5 (47)                  H5 (47) AGM
2004-97   V6/3.8L    S/C                                         770           78                       —
2004      V6/3.8L                                                600           78                       —
2003-96   V6/3.8L                                                690           78                       —
1996      V6/3.1L                                                600           78                       —
1995-94   V6/3.8L                                                600           75                       —
1995-90   V6/3.1L                                                525           75                       —
1993-90   V6/3.8L                                                630           75                       —
1985-84   V6/3.8L    Turbo, HD                                   630           75                       —
1984      V6/3.8L    Turbo                                       500           75                       —
Buick Regal Sportback
2020-18 L4/2.0L                                                  720           H7 (94R) AGM 33          — 33
2020-18 V6/3.6L                                                  720           H7 (94R) AGM 33          — 33
Buick Regal TourX
2020-18 L4/2.0L                                                  720           H7 (94R) AGM 33          — 33
Buick Rendezvous
2007-06   V6/3.5L                                                600           78                       —
2006      V6/3.6L                                                690           34                       —
2005-04   V6/3.6L                                                600           78                       —
2005-02   V6/3.4L                                                600           78                       —
Buick Riviera
1999-98   V6/3.8L                                                840           79 50                    — 50
1997-95   V6/3.8L                                                970           —                        —
1993-90   V6/3.8L                                                770           78                       —
1970      V8/7.5L                                                500           27                       —
1969-68   V8/7.0L                                                360           27                       —
1969-65   V8/7.0L                                                500           27                       —
1967-63   V8/7.0L                                                325           27                       —
1965-63   V8/6.6L                                                325           27                       —
Buick Roadmaster
1996-95   V8/5.7L                                                600           78                       —
1994-92   V8/5.7L                                                525           75                       —
1994      V8/5.7L    Wagon                                       770           78                       —
1993      V8/5.7L    Wagon                                       690           78                       —
1991      V8/5.0L                                                525           75                       —
Buick Skylark
1998-96   L4/2.4L                                                600           75                       —
1998-94   V6/3.1L                                                600           75                       —
1995-93   L4/2.3L                                                600           75                       —
1993      V6/3.3L                                                600           75                       —
1992-89   V6/3.3L                                                630           75                       —
1992-88   L4/2.3L                                                630           75                       —
1991-85   L4/2.5L                                                630           75                       —
Buick Terraza
2007-06 V6/3.9L                                                  600           34                       —
2006-05 V6/3.5L                                                  600           34                       —
                                                                       See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                   37
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE              ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)                   (NOTES)

   Buick Verano
   2017-12 L4/2.4L                                                                 615           H6 (48)                H6 (48) AGM
   2016-13 L4/2.0L                                                                 615           H6 (48)                H6 (48) AGM
   Buick Wildcat
   1970      V8/7.5L                                                               325           27                     —
   1969-64   V8/7.0L                                                               325           27                     —
   1966-63   V8/6.6L                                                               325           27                     —
   1962      V8/6.6L                                                               350           27                     —
   Cadillac Allanté
   1993    V8/4.6L                                                                 770           78 50                  — 50
   1992-89 V8/4.5L                                                                 770           78 50                  — 50
   Cadillac ATS
   2019-13   L4/2.0L      w/o Start/Stop                                           700           H6 (48) AGM 33, 50     — 33, 50
   2019-13   L4/2.0L      w/Start/Stop                                             730           H7 (94R) AGM 33, 50    — 33, 50
   2019-13   V6/3.6L      w/o Start/Stop                                           700           H6 (48) AGM 33, 50     — 33, 50
   2019-13   V6/3.6L      w/Start/Stop                                             730           H7 (94R) AGM 33, 50    — 33, 50
   2018      L4/2.0L      w/o Start/Stop                                           700           H6 (48)                H6 (48) AGM
   2018      L4/2.0L      w/Start/Stop                                             730           H7 (94R)               H7 (94R) AGM
   2017-16   L4/2.5L      w/Start/Stop                                             730           H7 (94R) AGM 33, 50    — 33, 50
   2017-16   V6/3.6L      ATS-V                                                    560           —                      —
   2017-13   L4/2.5L      w/o Start/Stop                                           700           H6 (48) AGM 33, 50     — 33, 50
   2016-15   L4/2.0L                                                               700           H6 (48) AGM 33, 50     — 33, 50
   2016-15   L4/2.5L                                                               700           H6 (48) AGM 33, 50     — 33, 50
   2016-15   V6/3.6L                                                               700           H6 (48) AGM 33, 50     — 33, 50
   2016-13   L4/2.0L      w/Start/Stop                                             730           H7 (94R) AGM 33, 50    — 33, 50
   2016-13   L4/2.5L      w/Start/Stop                                             730           H7 (94R) AGM 33, 50    — 33, 50
   2015-13   V6/3.6L      w/Start/Stop                                             730           H7 (94R) AGM 33, 50    — 33, 50
   Cadillac Brougham, Fleetwood
   1996-95   V8/5.7L                                                               770           78                     —
   1994-92   V8/5.7L                                                               770           78                     —
   1992-91   V8/4.9L                                                               540           78                     —
   1992-91   V8/4.9L                                                               770           78                     —
   1991      V8/5.7L                                                               730           78                     —
   1991      V8/5.0L                                                               730           78                     —
   1990      V8/5.0L                                                               730           78                     —
   Cadillac Catera
   2001-97 V6/3.0L                                                                 600           —                      —
   Cadillac Commercial Chassis
   1996-92 V8/5.7L                                                                 770           78                     —
   1993-91 V8/4.9L                                                                 770           78                     —
   1990-89 V8/4.5L                                                                 770           78                     —
   Cadillac CT4
   2020      L4/2.7L                                                               800           H7 (94R) AGM 33, 50    — 33, 50
   2020      L4/2.0L                                                               800           H7 (94R) AGM 33, 50    — 33, 50
   Cadillac CT5
   2020      L4/2.0L                                                               800           H7 (94R) AGM 33, 50    — 33, 50
   2020      V6/3.0L                                                               800           H7 (94R) AGM 33, 50    — 33, 50
   Cadillac CT6
   2020      V8/4.2L                                                               900           H8 (49) AGM 33, 50     — 33, 50
   2020      V6/3.6L                                                               900           H8 (49) AGM 33, 50     — 33, 50
   2019      L4/2.0L                                                               730           H7 (94R) AGM 33, 50    — 33, 50
   2019      V6/3.0L                                                               730           H7 (94R) AGM 33, 50    — 33, 50
   2019      V6/3.6L                                                               730           H7 (94R) AGM 33, 50    — 33, 50
   2019      V8/4.2L                                                               730           H7 (94R) AGM 33, 50    — 33, 50
   2018-17   V6/3.0L      w/Start/Stop                                             850           H8 (49) AGM 33, 50     — 33, 50
   2018-17   V6/3.6L      w/Start/Stop                                             850           H8 (49) AGM 33, 50     — 33, 50
   2018-16   L4/2.0L      w/Start/Stop                                             850           H8 (49) AGM 33, 50     — 33, 50
   2016      L4/2.0L      w/Start/Stop                                             850           H8 (49) AGM 33         — 33
   2016      V6/3.0L      w/Start/Stop                                             850           H8 (49) AGM 33         — 33
   2016      V6/3.6L      w/Start/Stop                                             850           H8 (49) AGM 33         — 33
   Cadillac CTS
   2019-14   L4/2.0L      w/Start/Stop                                             730           H7 (94R) AGM 33, 50    — 33, 50
   2019-14   V6/3.6L      w/Start/Stop                                             730           H7 (94R) AGM 33, 50    — 33, 50
   2019-14   V8/6.2L      w/Start/Stop                                             730           H7 (94R) AGM 33, 50    — 33, 50
   2015-14   L4/2.0L                                                               660           H6 (48) 50             H6 (48) AGM 50
   2015-14   L4/2.0L      w/o Start/Stop                                           660           H6 (48) 50             H6 (48) AGM 50
   2015-14   L4/2.0L      w/Start/Stop                                             730           H7 (94R) AGM 33, 50    — 33, 50
   2015-14   V6/3.6L      w/o Start/Stop                                           660           H6 (48) 50             H6 (48) AGM 50
   2015-14   V6/3.6L      w/Start/Stop                                             730           H7 (94R) AGM 33, 50    — 33, 50
   2015-14   V8/6.2L      w/o Start/Stop                                           660           H6 (48) 50             H6 (48) AGM 50
   2015-14   V8/6.2L      w/Start/Stop                                             730           H7 (94R) AGM 33, 50    — 33, 50
   See page 151 for Footnotes. Selection may vary by warehouse.

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38                                                       Automotive/Light Truck
  YEAR      ENGINE                             OPTIONS        ORIGINAL EQUIPMENT             GROUP SIZE            ALTERNATE SIZE
                                                                  CCA/RATING                  (NOTES)                 (NOTES)

Cadillac CTS (continued)
2015-10   V6/3.6L                                                    660           H6 (48) 50               H6 (48) AGM 50
2015-10   V8/6.2L                                                    660           H6 (48) 50               H6 (48) AGM 50
2014-10   V6/3.0L                                                    660           H6 (48) 50               H6 (48) AGM 50
2014      V6/3.0L    w/Start/Stop                                    730           H7 (94R) AGM 33, 50      — 33, 50
2009-08   V6/3.6L                                                    730           H6 (48) 50               H6 (48) AGM 50
2009      V8/6.2L                                                    730           H6 (48) 50               H6 (48) AGM 50
2007-06   V8/6.0L    V Series                                        540           —                        —
2007-05   V6/2.8L                                                    540           —                        —
2007-04   V6/3.6L                                                    540           —                        —
2005-04   V8/5.7L                                                    540           —                        —
2004-03   V6/3.2L                                                    540           —                        —
Cadillac DTS
2011-09 V8/4.6L                                                      720           H7 (94R) 50              H7 (94R) AGM 50
2008    V8/4.6L                                                      730           H6 (48) 50               H6 (48) AGM 50
2007-06 V8/4.6L                                                      800           79 50                    — 50
Cadillac DeVille
2005-00   V8/4.6L                                                    800           79 50                    — 50
1999-94   V8/4.6L                                                    770           78                       —
1993-91   V8/4.9L                                                    540           78                       —
1995-94   V8/4.9L                                                    770           78                       —
1993-91   V8/4.9L                                                    770           78                       —
Cadillac ELR
2016-14 L4/1.4L      Hybrid                                          520           —                        —
Cadillac Eldorado
2000-93 V8/4.6L                                                      770           78                       —
1993-91 V8/4.9L                                                      770           78                       —
1990    V8/4.5L                                                      730           78                       —
Cadillac Escalade
2019-15   V8/6.2L                                                    720           H7 (94R)                 H7 (94R) AGM
2015-12   V8/6.2L                                                    660           H6 (48)                  H6 (48) AGM
2015-09   V8/6.2L    Opt                                             730           H6 (48)                  H6 (48) AGM
2013-12   V8/6.0L    Hybrid                                          660           H6 (48)                  H6 (48) AGM
2013-09   V8/6.0L    Hybrid, Opt                                     730           H6 (48)                  H6 (48) AGM
2011-09   V8/6.0L    Hybrid                                          615           H6 (48)                  H6 (48) AGM
2011-07   V8/6.2L                                                    615           H6 (48)                  H6 (48) AGM
2006-02   V8/6.0L                                                    600           78                       —
2005-02   V8/5.3L                                                    600           78                       —
2000-99   V8/5.7L                                                    600           78                       —
2000-99   V8/5.7L    Opt                                             690           78                       —
Cadillac Escalade ESV
2019-15   V8/6.2L                                                    720           H7 (94R)                 H7 (94R) AGM
2015-12   V8/6.2L                                                    660           H6 (48)                  H6 (48) AGM
2015-09   V8/6.2L    Opt                                             730           H6 (48)                  H6 (48) AGM
2011-07   V8/6.2L                                                    615           H6 (48)                  H6 (48) AGM
2006-03   V8/6.0L                                                    600           78                       —
Cadillac Escalade EXT
2013-12   V8/6.2L                                                    660           H6 (48)                  H6 (48) AGM
2013-09   V8/6.2L    Opt                                             730           H6 (48)                  H6 (48) AGM
2011-07   V8/6.2L                                                    615           H6 (48)                  H6 (48) AGM
2006-02   V8/6.0L                                                    600           78                       —
Cadillac Fleetwood (See Brougham, Fleetwood)
Cadillac Seville
2004-98   V8/4.6L                                                    800           79                       —
1997-93   V8/4.6L                                                    770           78                       —
1993-91   V8/4.9L                                                    770           78                       —
1990      V8/4.5L                                                    730           78                       —
Cadillac Sixty Special
1993      V8/4.9L                                                    770           78                       —
Cadillac SRX
2016-12   V6/3.6L                                                    660           H6 (48)                  H6 (48) AGM
2011-10   V6/2.8L                                                    615           H6 (48)                  H6 (48) AGM
2011-10   V6/3.0L                                                    615           H6 (48)                  H6 (48) AGM
2009-08   V6/3.6L                                                    730           H6 (48)                  H6 (48) AGM
2009-08   V8/4.6L                                                    730           H6 (48)                  H6 (48) AGM
2007-04   V6/3.6L                                                    540           —                        —
2007-04   V8/4.6L                                                    540           —                        —
Cadillac STS
2011-10 V6/3.6L                                                      660        H6 (48)                     H6 (48) AGM
2010    V8/4.6L                                                      660        H6 (48)                     H6 (48) AGM
                                                                           See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                   39
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE              ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)                   (NOTES)

   Cadillac STS (continued)
   2009-08   V6/3.6L                                                               730           H6 (48)                H6 (48) AGM
   2009-08   V8/4.4L                                                               730           H6 (48)                H6 (48) AGM
   2009-08   V8/4.6L                                                               730           H6 (48)                H6 (48) AGM
   2007-06   V8/4.4L                                                               540           —                      —
   2007-05   V6/3.6L                                                               540           —                      —
   2007-05   V8/4.6L                                                               540           —                      —
   Cadillac XLR
   2009-08   V8/4.4L                                                               590           —                      —
   2009-08   V8/4.6L                                                               590           —                      —
   2007-06   V8/4.4L                                                               590           90 (T5) 50             — 50
   2007-06   V8/4.6L                                                               590           90 (T5) 50             — 50
   2005-04   V8/4.6L                                                               590           —                      —
   Cadillac XT4
   2020-19 L4/2.0L                                                                 720           H7 (94R) AGM 33, 50    — 33, 50
   Cadillac XT5
   2020    L4/2.0L                                                                 730           H7 (94R) AGM 33        — 33
   2020-19 V6/3.6L                                                                 730           H7 (94R) AGM 33        — 33
   2019-17 V6/3.6L        w/Start/Stop                                             730           H7 (94R) AGM 33        — 33
   Cadillac XT6
   2020      V6/3.6L                                                               730           H7 (94R) AGM 33        — 33
   Cadillac XTS
   2019-13 V6/3.6L                                                                 660           H6 (48)                H6 (48) AGM
   Chevrolet Blazer
   2020      L4/2.5L                                                               720           H7 (94R) AGM 33, 50    — 33, 50
   2020      L4/2.0L                                                               720           H7 (94R) AGM 33, 50    — 33, 50
   2020-19   V6/3.6L                                                               720           H7 (94R) AGM 33, 50    — 33, 50
   2020-19   L4/2.5L                                                               720           H7 (94R) AGM 33, 50    — 33, 50
   Chevrolet Astro
   2005-02   V6/4.3L      Opt                                                      770           78                     —
   2005-94   V6/4.3L                                                               600           78                     —
   1993-91   V6/4.3L                                                               630           78                     —
   1990-87   L4/2.5L                                                               525           75                     —
   1990-87   V6/4.3L                                                               525           75                     —
   1990-87   V6/4.3L      Opt                                                      630           78                     —
   1989-87   L4/2.5L      Opt                                                      630           78                     —
   1986-85   L4/2.5L      Opt                                                      540           78                     —
   1986-85   V6/4.3L                                                               500           75                     —
   Chevrolet Avalanche
   2013-09   V8/5.3L      Opt                                                      730           H6 (48)                H6 (48) AGM
   2013-07   V8/5.3L      w/o HD                                                   615           H6 (48)                H6 (48) AGM
   2009-07   V8/6.0L      w/o HD                                                   615           H6 (48)                H6 (48) AGM
   2009      V8/6.0L      Opt                                                      730           H6 (48)                H6 (48) AGM
   Chevrolet Avalanche 1500
   2006-02 V8/5.3L                                                                 600           78                     —
   Chevrolet Avalanche 2500
   2006-02 V8/8.1L                                                                 600           78                     —
   Chevrolet Aveo, Aveo5
   2011-04 L4/1.6L                                                                 550           86                     —
   Chevrolet Bel Air
   1965-55   L6/3.8L      12-Volt                                                  350           24                     —
   1957-55   L6/3.9L                                                               350           24                     —
   1957-55   L6/3.9L      12-Volt                                                  350           24                     —
   1957-55   V8/4.3L                                                               350           24                     —
   1957-55   V8/4.3L      12-Volt                                                  350           24                     —
   Chevrolet Beretta, Corsica
   1996-95   V6/3.1L                                                               600           75                     —
   1996-93   L4/2.2L      Opt                                                      600           75                     —
   1996-92   L4/2.2L                                                               525           75                     —
   1994-93   L4/2.3L                                                               600           75                     —
   1994-93   V6/3.1L      Opt                                                      600           75                     —
   1994-90   V6/3.1L                                                               525           75                     —
   1992-90   L4/2.3L                                                               630           75                     —
   1991-90   L4/2.2L      HD w/AT                                                  630           75                     —
   1991-90   L4/2.2L      MT                                                       525           75                     —
   1991-90   V6/3.1L      Opt                                                      630           75                     —
   Chevrolet Blazer
   2019      L4/2.5L                                                               720           H7 (94R) AGM 33, 50    — 33, 50
   2019      V6/3.6L                                                               720           H7 (94R) AGM 33, 50    — 33, 50
   See page 151 for Footnotes. Selection may vary by warehouse.

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40                                              Automotive/Light Truck
  YEAR      ENGINE                   OPTIONS               ORIGINAL EQUIPMENT          GROUP SIZE               ALTERNATE SIZE
                                                               CCA/RATING               (NOTES)                    (NOTES)

Chevrolet Blazer (continued)
2005-95   V6/4.3L                                                 525           75                       —
2005-95   V6/4.3L    Opt                                          690           —                        —
1994      V8/5.7L                                                 600           78                       —
1994      V8/6.5L    Dsl                                          770           78                       —
1993-91   V8/5.7L                                                 630           78                       —
1993-91   V8/5.7L    Aux Bat                                      540           78                       —
1991-90   V8/6.2L    Dsl                                          540           78                       —
1990-87   V8/5.7L                                                 525           75                       —
1990      V8/5.7L    Opt                                          630           78                       —
Chevrolet Bolt EV
2020-17              Electric                                     520           —                        —
Chevrolet C/K, R/V Pickups
2000-99   V8/5.7L    Opt                                          690           78                      —
2000-99   V8/6.5L    Dsl, HD                                      690           78                      —
2000-99   V8/7.4L    Opt                                          690           78                      —
2000-97   V8/6.5L    Dsl                                          600           78                      —
2000-94   V8/5.7L                                                 600           78                      —
2000-94   V8/7.4L                                                 600           78                      —
1999-97   V8/5.0L    Opt                                          690           78                      —
1999-94   V8/5.0L                                                 600           78                      —
1999      V8/5.0L    PPkg, HD                                     770           78                      —
1999      V8/5.7L    HD or PPkg                                   770           78                      —
1999      V8/5.7L    PPkg, HD                                     770           78                      —
1999      V8/6.5L    Dsl & Opt                                    690           78                      —
1999      V8/7.4L    HD or PPkg                                   770           78                      —
1999      V8/7.4L    PPkg, HD                                     770           78                      —
1999      V8/7.4L    Primary Bat                                  600           78                      —
1998-94   V6/4.3L                                                 600           78                      —
1996-94   V8/6.5L    Dsl                                          770           78                      —
1993-92   V8/6.5L    Dsl                                          570           75                      —
1993-91   V6/4.3L                                                 630           78                      —
1993-91   V8/5.0L                                                 630           78                      —
1993-91   V8/5.0L    Aux Bat                                      540           78                      —
1993-91   V8/5.7L    Aux Bat                                      540           78                      —
1993-91   V8/5.7L    Primary Bat                                  630           78                      —
1993-90   V8/6.2L    Dsl                                          570           75                      —
1993-90   V8/7.4L                                                 630           78                      —
1993-90   V8/7.4L    Aux Bat                                      540           78                      —
1991-88   V8/6.2L    Dsl                                          570           75 2                    —2
1991      V8/5.7L                                                 630           78                      —
1991      V8/6.2L    Dsl                                          540           78                      —
1991      V8/6.2L    Dsl                                          540           78 2                    —2
1990-88   V6/4.3L                                                 525           75                      —
1990-88   V8/5.7L                                                 525           75                      —
1990      V8/5.0L                                                 525           75                      —
1990      V8/5.0L    Opt                                          630           78                      —
1990      V8/5.7L    Opt                                          630           78                      —
1990      V8/6.2L    Aux Bat                                      540           78                      —
1990      V8/6.2L    Aux, Dsl                                     540           78                      —
Chevrolet C/K, R/V Suburban
1999-97   V8/6.5L    Dsl                                          600        78                          —
1999-94   V8/5.7L                                                 600        78                          —
1999-94   V8/7.4L                                                 600        78                          —
1999      V8/5.7L    HD or PPkg                                   770        78                          —
1999      V8/5.7L    Opt                                          690        78                          —
1999      V8/5.7L    PPkg, HD                                     770        78                          —
1999      V8/6.5L    Dsl & Opt                                    690        78                          —
1999      V8/6.5L    Dsl, HD                                      690        78                          —
1999      V8/7.4L    HD or PPkg                                   770        78                          —
1999      V8/7.4L    Opt                                          690        78                          —
1999      V8/7.4L    PPkg, HD                                     770        78                          —
1999      V8/7.4L    Primary Bat                                  600        78                          —
1996-94   V8/6.5L    Dsl                                          770        78                          —
1993-91   V8/5.7L                                                 630        78                          —
1993-91   V8/5.7L    Aux Bat                                      540        78                          —
1993-90   V8/7.4L                                                 630        78                          —
1993-89   V8/7.4L    Aux Bat                                      540        78                          —
1991-90   V8/6.2L    Dsl                                          540        78 2                        —2
1991-89   V8/6.2L    Dsl                                          570        75 2                        —2
1990-89   V8/5.7L                                                 525        75                          —
1990      V8/5.7L    Opt                                          630        78                          —
1990      V8/6.2L    Aux, Dsl                                     540        78                          —
                                                                        See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                41
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT            GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                 (NOTES)               (NOTES)

   Chevrolet Camaro
   2020-16   L4/2.0L                                                               700           H6 (48) AGM 33, 50    — 33, 50
   2020-16   V6/3.6L                                                               700           H6 (48) AGM 33, 50    — 33, 50
   2020-16   V8/6.2L                                                               700           H6 (48) AGM 33, 50    — 33, 50
   2015-14   V8/7.0L                                                               730           H6 (48) 50            H6 (48) AGM 50
   2015-10   V6/3.6L                                                               720           H7 (94R) 50           H7 (94R) AGM 50
   2015-10   V8/6.2L                                                               720           H7 (94R) 50           H7 (94R) AGM 50
   2002-95   V6/3.8L                                                               690           —                     —
   2002-93   V8/5.7L                                                               525           75                    —
   1995-93   V6/3.4L                                                               525           75                    —
   1992-90   V6/3.1L                                                               525           75                    —
   1992-90   V8/5.0L      AT                                                       570           75                    —
   1992-90   V8/5.0L      MT                                                       525           75                    —
   1992-87   V8/5.7L                                                               630           75                    —
   1969      L6/3.8L      Late                                                     275           75                    —
   1969      L6/4.1L      Late                                                     275           75                    —
   1969      V8/4.9L                                                               350           78                    —
   1969      V8/5.0L                                                               275           75                    —
   1969      V8/5.0L      Ex 302                                                   350           78                    —
   1969      V8/5.3L                                                               350           78                    —
   1969      V8/5.4L                                                               350           78                    —
   1969      V8/5.7L                                                               350           78                    —
   1969      V8/6.5L                                                               350           78                    —
   1969      V8/7.0L                                                               350           78                    —
   1968-67   L6/4.1L                                                               250           26R                   —
   1968-67   V8/4.9L                                                               350           24                    —
   1968-67   V8/5.3L                                                               350           24                    —
   1968      L6/3.8L                                                               250           26R                   —
   1968      V8/5.4L                                                               350           24                    —
   1968      V8/5.7L                                                               350           24                    —
   1968      V8/5.7L                                                               380           24                    —
   1968      V8/6.5L                                                               350           24                    —
   1967      V8/6.5L                                                               325           24                    —
   Chevrolet Caprice, Impala
   2020-19   V6/3.6L      w/o Start/Stop                                           615           H6 (48)               H6 (48) AGM
   2020-19   L4/2.5L      w/Start/Stop                                             850           H7 (94R) AGM 33       — 33
   2020-18   L4/2.5L      Aux for Start/Stop                                       180           —                     —
   2019-14   L4/2.5L      w/o Start/Stop                                           615           H6 (48)               H6 (48) AGM
   2019      V6/3.6L      Aux for Start/Stop                                       180           —                     —
   2019      V6/3.6L      w/Start/Stop                                             850           H7 (94R) AGM 33       — 33
   2018      L4/2.5L      w/Start/Stop                                             850           H7 (94R) AGM 33       — 33
   2018      V6/3.6L                                                               615           H6 (48)               H6 (48) AGM
   2017-16   L4/2.5L      Impala Aux for Start/Stop                                155           —                     —
   2017-16   L4/2.5L      w/Start/Stop                                             730           H7 (94R) AGM 33       — 33
   2017-14   V6/3.6L      Caprice w/PPkg, Opt, Aux Bat                             700           H6 (48) AGM 33, 50    — 33, 50
   2017-14   V6/3.6L      Caprice w/PPkg, Primary Bat                              700           H6 (48) AGM 33, 50    — 33, 50
   2017-14   V6/3.6L      Impala Ex PPkg                                           615           H6 (48)               H6 (48) AGM
   2017-14   V8/6.0L      Caprice w/PPkg, Opt, Aux Bat                             700           H6 (48) AGM 33, 50    — 33, 50
   2017-14   V8/6.0L      Caprice w/PPkg, Primary Bat                              700           H6 (48) AGM 33, 50    — 33, 50
   2017-12   V6/3.6L      Impala w/PPkg                                            720           34                    —
   2016-15   V8/6.0L                                                               700           H6 (48) AGM 33, 50    — 33, 50
   2016-14   L4/2.5L                                                               615           H6 (48)               H6 (48) AGM
   2016      V8/6.0L      Caprice w/PPkg                                           700           H7 (94R)              H7 (94R) AGM
   2015-14   L4/2.5L      Aux w/Start/Stop                                         155           —                     —
   2015-14   L4/2.5L      w/Start/Stop                                             850           H8 (49) AGM 33        — 33
   2015      V8/6.0L      Caprice                                                  700           H6 (48) AGM 33, 50    — 33, 50
   2014-12   V6/3.6L      Impala Ex PPkg                                           600           34                    —
   2014-11   V8/6.0L      Caprice w/PPkg                                           765           H7 (94R) 50           H7 (94R) AGM 50
   2014      L4/2.4L      Hybrid                                                   525           H5 (47)               H5 (47) AGM
   2014      L4/2.4L      Hybrid                                                   615           H6 (48)               H6 (48) AGM
   2014      V6/3.6L      Caprice Aux Bat                                          700           H6 (48) AGM 33, 50    — 33, 50
   2014      V6/3.6L      Caprice Primary Bat                                      700           H6 (48) AGM 33, 50    — 33, 50
   2013-12   V6/3.6L      Caprice w/PPkg                                           765           H7 (94R) 50           H7 (94R) AGM 50
   2011-10   V6/3.9L      Ex PPkg                                                  600           34                    —
   2011-10   V6/3.9L      w/PPkg                                                   720           34                    —
   2011-08   V6/3.5L                                                               600           34                    —
   2009-08   V8/5.3L                                                               590           —                     —
   2009      V6/3.9L                                                               600           34                    —
   2008      V6/3.9L                                                               720           34                    —
   2007-06   V6/3.5L                                                               690           34                    —
   2007-06   V6/3.9L                                                               750           34                    —
   2007-06   V8/5.3L      SS                                                       625           —                     —
   2005-00   V6/3.4L                                                               600           78                    —
   See page 151 for Footnotes. Selection may vary by warehouse.

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42                                                   Automotive/Light Truck
  YEAR      ENGINE                        OPTIONS               ORIGINAL EQUIPMENT         GROUP SIZE                ALTERNATE SIZE
                                                                    CCA/RATING              (NOTES)                     (NOTES)

Chevrolet Caprice, Impala (continued)
2005      V6/3.8L                                                      770        78                          —
2005      V6/3.8L    S/C                                               600        78                          —
2004-00   V6/3.8L                                                      600        78                          —
2004      V6/3.8L    S/C                                               690        78                          —
2003-00   V6/3.4L    Opt                                               690        78                          —
2003-00   V6/3.8L    Opt                                               690        78                          —
1996-95   V8/4.3L                                                      600        78                          —
1996-95   V8/5.7L                                                      600        78                          —
1996-95   V8/5.7L    HD, SEO                                           770        78                          —
1994      V8/4.3L                                                      525        75                          —
1994      V8/5.7L                                                      770        78                          —
1993-92   V6/4.3L                                                      730        78                          —
1993-90   V8/5.0L                                                      525        75                          —
1993-86   V8/5.7L                                                      730        78                          —
1990-85   V6/4.3L                                                      630        75                          —
1989-86   V8/5.0L                                                      525        75                          —
1989-86   V8/5.0L    Opt                                               570        75                          —
1987-85   V8/5.7L    Opt                                               630        75                          —
1987      V8/5.7L    SEO                                               730        78                          —
1985-84   V8/5.0L                                                      500        75                          —
1985-84   V8/5.0L    Opt                                               630        75                          —
1985-84   V8/5.7L                                                      500        75                          —
1985-84   V8/5.7L    Dsl                                               405        75 2                        —2
1985-83   V6/3.8L                                                      390        75                          —
1985-83   V6/3.8L    Opt                                               550        78                          —
1985-83   V8/5.7L    Dsl & Opt                                         550        78                          —
1984-83   V6/3.8L    Opt                                               500        75                          —
1984      V6/3.8L                                                      405        75                          —
1983      V6/3.8L                                                      355        75                          —
1983      V8/5.0L                                                      355        75                          —
1983      V8/5.0L    Opt                                               500        75                          —
1983      V8/5.7L                                                      355        75                          —
1983      V8/5.7L    Dsl                                               500        75                          —
1983      V8/5.7L    Dsl or HD                                         500        75                          —
1983      V8/5.7L    Opt                                               500        75                          —
1982-81   V6/3.8L    HBL & AC                                          350        75                          —
1982-81   V8/4.4L    Opt                                               465        75                          —
1982-81   V8/5.0L                                                      350        75                          —
1982-81   V8/5.0L    Opt                                               465        75                          —
1982-81   V8/5.7L    Dsl or HD                                         465        75 2                        —2
1982-81   V8/5.7L    Dsl, HD                                           550        78 2                        —2
1982-81   V8/5.7L    Opt                                               550        78 2                        —2
1982-79   V8/5.7L                                                      350        75                          —
1982      V6/3.8L                                                      400        75                          —
1982      V8/4.4L                                                      350        75                          —
1982      V8/5.7L    Dsl                                               465        75 2                        —2
1982      V8/5.7L    Opt                                               465        75                          —
1981      V6/3.8L    Opt                                               465        75                          —
1981      V6/3.8L    Opt                                               550        78                          —
1981      V8/4.4L                                                      550        78                          —
1981      V8/5.7L                                                      350        75                          —
1981      V8/5.7L                                                      465        78                          —
1980-78   V8/5.0L                                                      325        75                          —
1980-78   V8/5.0L    Opt                                               450        78                          —
1980-78   V8/5.7L                                                      325        75                          —
1980-78   V8/5.7L    Opt                                               450        78                          —
1980-75   V8/5.7L    Opt                                               465        78                          —
1980      V6/3.8L                                                      325        75                          —
1980      V6/3.8L    Opt                                               450        78                          —
1980      V8/4.4L                                                      325        75                          —
1980      V8/4.4L    Opt                                               450        78                          —
1980      V8/5.7L    Opt                                               540        78 2                        —2
1979-78   L6/4.1L                                                      325        75                          —
1979-78   L6/4.1L    Opt                                               450        78                          —
1979      V8/5.7L    Opt                                               505        78                          —
1977-73   L6/4.1L                                                      350        75                          —
1977-71   V8/5.0L                                                      450        78                          —
1977-70   V8/5.7L                                                      450        78                          —
1976-70   V8/7.4L                                                      450        78                          —
1976      V8/5.7L                                                      350        75                          —
1976      V8/6.6L                                                      350        75                          —
1976      V8/7.4L                                                      350        75                          —
                                                                             See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                              43
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE         ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)              (NOTES)

   Chevrolet Caprice, Impala (continued)
   1975-70   V8/6.6L                                                               450           78                     —
   1975      V8/5.7L                                                               350           78                     —
   1972-70   L6/4.1L                                                               450           78                     —
   1970-69   V8/5.7L      w/AC                                                     325           24                     —
   1970-65   L6/4.1L      w/o AC                                                   250           26R                    —
   1970      V8/6.6L      w/AC                                                     325           24                     —
   1970      V8/7.4L      w/AC                                                     325           24                     —
   1969-68   V8/5.0L      w/AC                                                     325           24                     —
   1969-65   V8/6.5L      w/AC                                                     325           24                     —
   1969-64   V8/5.4L      w/AC                                                     325           24                     —
   1969-63   V8/5.3L      w/AC                                                     325           24                     —
   1969-63   V8/7.0L      w/AC                                                     325           24                     —
   1967-66   L6/4.1L                                                               250           26R                    —
   1967-66   L6/4.1L                                                               325           24                     —
   1967-63   V8/4.6L      w/AC                                                     325           24                     —
   1966      L6/4.1L      AC                                                       325           24                     —
   1965-63   L6/3.8L      w/o AC                                                   250           26R                    —
   1965-63   V8/6.7L      w/AC                                                     325           24                     —
   1965-58   L6/3.8L                                                               325           24                     —
   1963      V8/7.0L                                                               350           26R                    —
   1963      V8/7.0L      AC                                                       350           24                     —
   1962-61   V8/6.7L                                                               325           24                     —
   1962-58   V8/4.6L                                                               325           24                     —
   1962      V8/5.3L                                                               325           24                     —
   1961-58   V8/5.7L                                                               325           24                     —
   Chevrolet Captiva Sport
   2015-12 L4/2.4L                                                                 615           H6 (48)                H6 (48) AGM
   2012    V6/3.0L                                                                 660           H6 (48)                H6 (48) AGM
   Chevrolet Cavalier
   2005-92   L4/2.2L                                                               525           75                     —
   2002-96   L4/2.4L                                                               600           75                     —
   2002      L4/2.2L                                                               600           75                     —
   1995      L4/2.3L                                                               600           75                     —
   1994-92   V6/3.1L                                                               525           75                     —
   1991-90   L4/2.2L                                                               630           75                     —
   1991-90   V6/3.1L                                                               630           75                     —
   Chevrolet Celebrity
   1990-85 L4/2.5L                                                                 630           75                     —
   1990    V6/3.1L                                                                 630           75                     —
   Chevrolet Chevelle
   1973-71 L6/4.1L                                                                 325           75                     —
   1973-71 L6/4.1L       Opt                                                       450           78                     —
   1973-71 V8/5.0L                                                                 325           75                     —
   1973-71 V8/5.0L       Opt                                                       450           78                     —
   1973-71 V8/5.7L                                                                 325           75                     —
   1973-71 V8/5.7L       Opt                                                       450           78                     —
   1973-71 V8/6.6L                                                                 325           75                     —
   1973-71 V8/6.6L       Opt                                                       450           78                     —
   1973-71 V8/7.4L                                                                 325           75                     —
   1973-71 V8/7.4L       Opt                                                       450           78                     —
   1970-67 L6/4.1L                                                                 250           26R                    —
   1970      V8/5.0L                                                               325           24                     —
   1970      V8/5.7L                                                               325           24                     —
   1970      V8/6.5L                                                               325           24                     —
   1970      V8/6.6L                                                               325           24                     —
   1970      V8/7.4L                                                               450           78                     —
   1969-68 V8/5.0L       Incl Malibu                                               325           24                     —
   1969-68 V8/5.7L       Incl Malibu                                               325           24                     —
   1969-67 L6/4.1L       Opt                                                       325           24                     —
   1969-65 V8/6.5L       Incl Malibu                                               325           24                     —
   1969-64 L6/3.8L                                                                 250           26R                    —
   1969-64 L6/3.8L       Opt                                                       325           24                     —
   1968-64 V8/5.3L                                                                 350           24                     —
   1968      V8/5.4L                                                               350           24                     —
   1967-65 V8/5.4L                                                                 N/A           24                     —
   1967-64 V8/4.6L       Incl Malibu                                               325           24                     —
   1966      L6/3.2L                                                               250           26R                    —
   1966      L6/3.2L     AC                                                        450           24                     —
   1966      L6/3.8L     AC or HD                                                  325           24                     —
   1965      L6/3.2L                                                               450           24                     —
   See page 151 for Footnotes. Selection may vary by warehouse.

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44                                                               Automotive/Light Truck
  YEAR      ENGINE                                    OPTIONS               ORIGINAL EQUIPMENT            GROUP SIZE             ALTERNATE SIZE
                                                                                CCA/RATING                 (NOTES)                  (NOTES)

Chevrolet Chevy II
1968-66   V8/5.3L                                                                  275           26R                     —
1968-65   V8/5.3L    HD or w/AC                                                    380           24                      —
1968-65   V8/5.4L    HD or w/AC                                                    380           24                      —
1968      V8/5.0L                                                                  275           26R                     —
1968      V8/5.0L    HD or w/AC                                                    380           24                      —
1968      V8/5.7L    HD or w/AC                                                    380           24                      —
1968      V8/6.5L    HD or w/AC                                                    380           24                      —
1967-66   V8/4.6L                                                                  275           26R                     —
1967-63   V8/4.6L    HD or w/AC                                                    380           24                      —
1966      V8/5.4L                                                                  275           26R                     —
Chevrolet City Express
2018-15 L4/2.0L                                                                    500           121R                     —
2017-15 L4/2.0L                                                                    600           121R                     —
2015    L4/2.0L                                                                    N/A           121R                     —
Chevrolet Classic
2005-04 L4/2.2L                                                                    525           75                       —
Chevrolet Cobalt
2010-09   L4/2.0L                                                                  590           90 (T5) 50               — 50
2010-08   L4/2.2L                                                                  590           90 (T5) 50               — 50
2008-05   L4/2.0L                                                                  600           90 (T5) 50               — 50
2008      L4/2.4L                                                                  590           90 (T5) 50               — 50
2007-06   L4/2.4L                                                                  600           90 (T5) 50               — 50
2007-05   L4/2.2L                                                                  600           90 (T5) 50               — 50
Chevrolet Colorado
2020-16   L4/2.8L    Dsl                                                           850           H8 (49) AGM 33           — 33
2020-15   L4/2.5L                                                                  615           H6 (48)                  H6 (48) AGM
2020-15   V6/3.6L                                                                  615           H6 (48)                  H6 (48) AGM
2012-09   V8/5.3L                                                                  590           86 11, 40                — 11, 40
2012-08   L4/2.9L                                                                  590           86 40                    — 40
2012-07   L5/3.7L                                                                  590           86 40                    — 40
2007      L4/2.9L                                                                  640           —                        —
2007      L5/3.7L                                                                  590           —                        —
2006-04   L4/2.8L                                                                  640           —                        —
2006-04   L5/3.5L                                                                  590           —                        —
Chevrolet Commercial Chassis
1994-91 V8/5.7L                                                                    690           78                       —
1992-91 V8/5.0L                                                                    690           78                       —
1992    V6/4.3L                                                                    690           78                       —
Chevrolet Corsica (See Beretta, Corsica)
Chevrolet Corvette
2019-14   V8/6.2L                                                                  615           H6 (48) 50              H6 (48) AGM 50
2013-09   V8/6.2L    Dry Sump Sys Pkg (Z52)                                        590           90 (T5) 50              — 50
2013-09   V8/6.2L    Ex Dry Sump System Pkg (Z52)                                  590           —                       —
2013-09   V8/7.0L    Z06                                                           590           90 (T5) 50              — 50
2013      V8/7.0L    Ex Dry Sump System Pkg (Z52)                                  590           —                       —
2008-07   V8/7.0L    Z06                                                           600           90 (T5) 50              — 50
2007      V8/6.0L                                                                  600           90 (T5) 50              — 50
2006      V8/6.0L                                                                  590           90 (T5)                 —
2006      V8/7.0L                                                                  590           90 (T5) 50              — 50
2005      V8/6.0L                                                                  590           86                      —
2004      V8/5.7L                                                                  590           86                      —
2003      V8/5.7L                                                                  600           —                       —
2002      V8/5.7L                                                                  525           —                       —
2001      V8/5.7L                                                                  500           —                       —
2000-97   V8/5.7L                                                                  600           78                      —
1996-90   V8/5.7L    32 Valve                                                      690           —                       —
1996-89   V8/5.7L    16 Valve                                                      525           75                      —
1988      V8/5.7L                                                                  525           75                      —
1987-86   V8/5.7L                                                                  630           75                      —
1985-84   V8/5.7L                                                                  500           75                      —
1982-81   V8/5.7L                                                                  465           75                      —
1980-69   V8/5.7L                                                                  325           75                      —
1980-69   V8/5.7L    Opt                                                           450           78                      —
1980      V8/5.0L                                                                  325           75                      —
1980      V8/5.0L    Opt                                                           450           78                      —
1975      V8/5.7L                                                                  420           78                      —
1974-70   V8/7.4L                                                                  325           75                      —
1974-70   V8/7.4L    Opt                                                           450           78                      —
1969      V8/7.0L                                                                  325           75                      —
1969      V8/7.0L    Opt                                                           450           78                      —
                                                                                         See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                45
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT            GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                 (NOTES)               (NOTES)

   Chevrolet Corvette (continued)
   1968-66   V8/7.0L                                                               325           —                     —
   1968-62   V8/5.3L                                                               325           24                    —
   1968      V8/5.4L                                                               325           24                    —
   1965      V8/6.5L                                                               325           24                    —
   1961-57   V8/4.6L                                                               325           24                    —
   1956      V8/4.3L                                                               325           24                    —
   1955      V8/4.3L                                                               N/A           24                    —
   1953      L6/3.9L                                                               N/A           —                     —
   Chevrolet Cruze
   2019      L4/1.4L                                                               800           H7 (94R) AGM 33, 50   — 33, 50
   2019-17   L4/1.6L      Dsl                                                      720           H7 (94R) 50           H7 (94R) AGM 50
   2018-16   L4/1.4L      w/o Start/Stop                                           525           H5 (47) 50            H5 (47) AGM 50
   2018-16   L4/1.4L      w/o Start/Stop, Opt                                      615           H6 (48) 50            H6 (48) AGM 50
   2018-16   L4/1.4L      w/Start/Stop                                             730           H7 (94R) AGM 33, 50   — 33, 50
   2016      L4/1.4L      Limited                                                  730           H7 (94R) AGM 33       — 33
   2016      L4/1.4L      Premier                                                  730           H7 (94R) AGM 33       — 33
   2015-11   L4/1.4L                                                               525           H5 (47)               H5 (47) AGM
   2015-11   L4/1.8L                                                               525           H5 (47)               H5 (47) AGM
   2015      L4/2.0L      Dsl                                                      730           H7 (94R) AGM 33       — 33
   2014      L4/2.0L      Dsl                                                      730           H7 (94R) AGM 33, 50   — 33, 50
   Chevrolet Cruze Limited
   2016      L4/1.4L                                                               730           H7 (94R) AGM 33       — 33
   2016      L4/1.8L                                                               615           H6 (48)               H6 (48) AGM
   Chevrolet El Camino
   1987-85 V6/4.3L                                                                 630           75                    —
   1987-85 V8/5.0L                                                                 525           75                    —
   1987-85 V8/5.0L       Opt                                                       570           75                    —
   1984-83 V6/3.8L       Opt                                                       550           78                    —
   1984-83 V8/5.0L                                                                 405           75                    —
   1984-83 V8/5.0L       Opt                                                       500           75                    —
   1984-83 V8/5.7L       Dsl, HD                                                   550           78                    —
   1984-81 V6/3.8L                                                                 315           75                    —
   1984      V6/3.8L     229 cid                                                   405           75                    —
   1984      V6/3.8L     229 cid, HD                                               500           75                    —
   1984      V8/5.7L     Dsl                                                       405           75 2                  —2
   1983      V6/3.8L     229 cid                                                   355           75                    —
   1983      V6/3.8L     229 cid, HD                                               500           75                    —
   1983      V8/5.7L     Dsl                                                       525           75                    —
   1982-81 V8/5.0L       Opt                                                       465           75                    —
   1982      V6/3.8L     229 cid                                                   400           75                    —
   1982      V6/3.8L     Opt                                                       465           75                    —
   1982      V8/4.4L                                                               315           75                    —
   1982      V8/4.4L     Opt                                                       465           75                    —
   1982      V8/5.0L                                                               315           75                    —
   1981      V6/3.8L     229 cid                                                   370           75                    —
   1981      V6/3.8L     229 cid, HD                                               465           75                    —
   1981      V6/3.8L     Opt                                                       550           78                    —
   1981      V6/3.8L     w/AC                                                      350           75                    —
   1981      V8/4.4L                                                               370           75                    —
   1981      V8/4.4L     Opt                                                       465           75                    —
   1981      V8/5.0L                                                               370           75                    —
   1980-79 V8/4.4L                                                                 450           78                    —
   1980-78 V6/3.8L                                                                 275           75                    —
   1980-76 V8/5.0L                                                                 350           75                    —
   1979-76 V8/5.7L                                                                 350           75                    —
   1976      V8/6.6L                                                               350           75                    —
   1975-72 V8/6.6L                                                                 350           78                    —
   1975-72 V8/7.4L                                                                 465           78                    —
   1975-71 V8/5.7L                                                                 350           78                    —
   1974-72 V8/6.6L                                                                 465           78                    —
   1974-71 V8/5.7L                                                                 465           78                    —
   1973-71 V8/5.0L                                                                 465           78                    —
   1973      V8/5.0L                                                               350           78                    —
   1972      V8/7.4L                                                               350           78                    —
   1971      V8/6.6L                                                               420           75                    —
   1971      V8/7.4L                                                               420           75                    —
   1970-69 V8/5.7L                                                                 350           24                    —
   1970-68 V8/5.0L                                                                 350           24                    —
   1970      V8/6.5L                                                               340           24                    —
   1970      V8/6.6L                                                               350           24                    —
   1970      V8/7.4L                                                               350           24                    —
   1969      V8/6.5L                                                               350           24                    —
   See page 151 for Footnotes. Selection may vary by warehouse.

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46                                                       Automotive/Light Truck
  YEAR      ENGINE                            OPTIONS               ORIGINAL EQUIPMENT            GROUP SIZE             ALTERNATE SIZE
                                                                        CCA/RATING                 (NOTES)                  (NOTES)

Chevrolet El Camino (continued)
1968      V8/5.4L                                                          350           24                       —
1968      V8/6.5L                                                          320           26R                      —
1967-66   V8/6.5L                                                          325           24                       —
1967-64   V8/4.6L                                                          320           26R                      —
1960-59   V8/4.6L                                                          450           24                       —
1960-59   V8/5.7L                                                          450           24                       —
Chevrolet Epica
2006-04 L6/2.5L                                                            600           34                       —
Chevrolet Equinox
2020-18   L4/1.5L                                                          730           H6 (48) AGM 33           — 33
2020-18   L4/2.0L                                                          730           H6 (48) AGM 33           — 33
2019-18   L4/1.6L    Dsl                                                   730           H6 (48) AGM 33           — 33
2017-13   V6/3.6L                                                          660           H6 (48)                  H6 (48) AGM
2017-10   L4/2.4L                                                          525           H5 (47)                  H5 (47) AGM
2012      V6/3.0L                                                          660           H6 (48)                  H6 (48) AGM
2011-10   V6/3.0L                                                          615           H6 (48)                  H6 (48) AGM
2009-08   V6/3.6L                                                          650           —                        —
2009-07   V6/3.4L                                                          650           —                        —
2006-05   V6/3.4L                                                          600           75                       —
Chevrolet Express Vans (1500-4500, Cargo)
2020-17   L4/2.8L    Dsl                                                   770           78 2                     —2
2020-03   V8/6.0L                                                          600           78                       —
2020-96   V6/4.3L                                                          600           78                       —
2017-03   V8/4.8L                                                          600           78                       —
2016-15   V8/6.6L    Dsl                                                   770           78 2                     —2
2014-07   V8/6.6L    Dsl                                                   770           78                       —
2014-03   V8/5.3L                                                          600           78                       —
2013-09   V8/6.6L                                                          770           78                       —
2006      V8/6.6L    Dsl                                                   800           79 2                     —2
2005-03   V6/4.3L    Opt                                                   800           79                       —
2005-03   V8/4.8L    Opt                                                   800           79                       —
2005-03   V8/5.3L    Opt                                                   800           79                       —
2005-03   V8/6.0L    Opt                                                   800           79                       —
2002-01   V8/8.1L                                                          600           78                       —
2002-96   V8/5.0L                                                          600           78                       —
2002-96   V8/5.7L                                                          600           78                       —
2002      V6/4.3L    Opt                                                   770           78                       —
2002      V8/5.0L    Opt                                                   770           78                       —
2002      V8/5.7L    Opt                                                   770           78                       —
2002      V8/6.5L    Dsl                                                   770           78                       —
2002      V8/8.1L    Opt                                                   770           78                       —
2001-00   V6/4.3L    Opt                                                   690           78                       —
2001-00   V8/5.0L    Opt                                                   690           78                       —
2001-00   V8/5.7L    Opt                                                   690           78                       —
2001-00   V8/6.5L    Dsl, HD                                               690           78                       —
2001-96   V8/6.5L    Dsl                                                   600           78                       —
2001      V8/8.1L    Opt                                                   690           78                       —
2000-96   V8/7.4L                                                          600           78                       —
2000      V8/7.4L    Opt                                                   690           78                       —
Chevrolet G-Series Vans
1996-94   V6/4.3L                                                          600           78                       —
1996-94   V8/5.7L                                                          600           78                       —
1996-94   V8/6.5L    Dsl                                                   600           78                       —
1996-94   V8/7.4L                                                          600           78                       —
1995-94   V8/5.0L                                                          600           78                       —
1993-91   V6/4.3L                                                          630           78                       —
1993-91   V8/5.0L                                                          630           78                       —
1993-91   V8/5.7L                                                          630           78                       —
1993-90   V8/7.4L                                                          630           78                       —
1993-90   V8/6.2L    Dsl                                                   540           78                       —
1990      V8/5.0L                                                          525           75                       —
Chevrolet HHR
2011-06 L4/2.2L                                                            600           90 (T5) 50               — 50
2011-06 L4/2.4L                                                            600           90 (T5) 50               — 50
2010-08 L4/2.0L                                                            600           90 (T5) 50               — 50
Chevrolet Impala (See Caprice, Impala)
Chevrolet Impala Limited
2016-14 V6/3.6L      Ex PPkg                                               600        34                          —
2016-14 V6/3.6L      PPkg                                                  720        34                          —
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   Automotive/Light Truck                                                                                                              47
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT            GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                 (NOTES)               (NOTES)

   Chevrolet K Series Pickup (See C/K, R/V Pickups)
   Chevrolet LLV
   1995-94   L4/2.2L                                                               525           75                    —
   1995-94   L4/2.2L      Opt                                                      690           78                    —
   1993-90   L4/2.5L                                                               525           75                    —
   1993-90   L4/2.5L      Opt                                                      690           78                    —
   Chevrolet Lumina, Lumina APV, Venture
   2005-97   V6/3.4L                                                               600           78                    —
   2001-96   V6/3.1L                                                               600           78                    —
   1999-98   V6/3.8L                                                               690           78                    —
   1997-96   V6/3.4L                                                               690           78                    —
   1996      V6/3.4L                                                               525           75                    —
   1995-93   V6/3.1L      HD, SEO                                                  690           —                     —
   1995-92   V6/3.8L                                                               630           75                    —
   1995-91   V6/3.4L                                                               690           —                     —
   1995-90   V6/3.1L                                                               525           75                    —
   1993      L4/2.2L                                                               525           75                    —
   1992-90   L4/2.5L                                                               630           75                    —
   1992      V6/3.1L      Opt                                                      690           —                     —
   Chevrolet Malibu Limited
   2016      L4/2.5L      Aux Bat                                                  180           —                     —
   2016      L4/2.5L      Aux Bat                                                  155           —                     —
   2016      L4/2.5L      w/Start/Stop                                             730           H7 (94R) AGM 33       — 33
   Chevrolet Malibu, Monte Carlo
   2020-16 L4/2.0L                                                                 660           H6 (48)               H6 (48) AGM
   2020-16 L4/1.5L                                                                 700           H6 (48) AGM 33, 50    — 33, 50
   2019-16 L4/1.8L       Hybrid                                                    525           H5 (47)               H5 (47) AGM
   2015-14 L4/2.5L       Aux for Start/Stop                                        155           —                     —
   2015-14 L4/2.5L       w/Start/Stop                                              850           H8 (49) AGM 33        — 33
   2015-13 L4/2.0L                                                                 525           H5 (47)               H5 (47) AGM
   2014-13 L4/2.4L       Hybrid                                                    525           H5 (47)               H5 (47) AGM
   2013      L4/2.5L                                                               525           H5 (47)               H5 (47) AGM
   2012-09 L4/2.4L                                                                 590           90 (T5)               —
   2012-08 V6/3.6L                                                                 590           90 (T5)               —
   2010-08 V6/3.5L                                                                 590           90 (T5)               —
   2008      L4/2.2L                                                               590           90 (T5)               —
   2008      L4/2.4L     Gas                                                       590           90 (T5)               —
   2008      L4/2.4L     Hybrid                                                    590           90 (T5)               —
   2007-06 V8/5.3L       SS                                                        625           —                     —
   2007-04 L4/2.2L                                                                 525           75                    —
   2007      V6/3.5L                                                               690           34                    —
   2007      V6/3.5L                                                               690           —                     —
   2007      V6/3.5L     Ex SS                                                     690           —                     —
   2007      V6/3.9L                                                               690           —                     —
   2006-04 V6/3.5L                                                                 525           75                    —
   2006      V6/3.5L                                                               600           34                    —
   2006      V6/3.9L                                                               750           34                    —
   2006      V6/3.9L                                                               590           75                    —
   2005-04 V6/3.8L                                                                 770           78                    —
   2005-00 V6/3.4L                                                                 600           78                    —
   2003-98 V6/3.8L                                                                 600           78                    —
   2003-97 V6/3.1L                                                                 600           75                    —
   2003-97 V6/3.1L       Ex SS                                                     600           75                    —
   2000      V6/3.4L     Opt                                                       690           78                    —
   2000      V6/3.8L     Opt                                                       690           78                    —
   1999-97 L4/2.4L                                                                 600           75                    —
   1999-96 V6/3.1L                                                                 600           78                    —
   1997-96 V6/3.4L                                                                 600           78                    —
   1995      V6/3.1L                                                               525           75                    —
   1995      V6/3.1L     HD, SEO                                                   690           —                     —
   1995      V6/3.4L                                                               690           —                     —
   1988-86 V8/5.0L                                                                 525           75                    —
   1988-86 V8/5.0L       Opt                                                       570           75                    —
   1988-85 V6/4.3L                                                                 630           75                    —
   1987-86 V6/3.8L       Opt                                                       630           75                    —
   1987      V6/3.8L                                                               525           75                    —
   1986-85 V6/3.8L                                                                 500           75                    —
   1985-84 V8/5.0L                                                                 500           75                    —
   1985-84 V8/5.0L       Opt                                                       630           75                    —
   1985-83 V6/3.8L       Opt                                                       550           78                    —
   1984-83 V6/3.8L       229 cid, HD                                               500           75                    —
   1984-83 V8/5.7L       Dsl, HD                                                   550           78                    —
   See page 151 for Footnotes. Selection may vary by warehouse.

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48                                                       Automotive/Light Truck
  YEAR      ENGINE                            OPTIONS               ORIGINAL EQUIPMENT          GROUP SIZE               ALTERNATE SIZE
                                                                        CCA/RATING               (NOTES)                    (NOTES)

Chevrolet Malibu, Monte Carlo (continued)
1984-81   V6/3.8L                                                          315           75                      —
1984      V6/3.8L    229 cid                                               405           75                      —
1984      V8/5.7L    Dsl                                                   405           75                      —
1983-82   V6/4.3L    Dsl                                                   500           75                      —
1983      V6/3.8L    229 cid                                               355           75                      —
1983      V6/4.3L    Dsl, HD                                               550           78                      —
1983      V8/5.0L                                                          405           75                      —
1983      V8/5.0L    Opt                                                   500           75                      —
1983      V8/5.7L    Dsl                                                   500           75                      —
1982-81   V8/4.4L    Opt                                                   465           75                      —
1982-81   V8/5.0L    Opt                                                   465           75                      —
1982      V6/3.8L    229 cid                                               400           75                      —
1982      V6/4.3L    Dsl, HD                                               465           75                      —
1982      V8/4.4L                                                          315           75                      —
1982      V8/5.0L                                                          315           75                      —
1982      V8/5.7L    Dsl                                                   465           75 2                    —2
1982      V8/5.7L    Dsl, HD                                               550           78 2                    —2
1981      V6/3.8L    229 cid                                               370           75                      —
1981      V6/3.8L    229 cid, HD                                           465           75                      —
1981      V6/3.8L    HBL & AC                                              350           75                      —
1981      V6/3.8L    Opt                                                   550           78                      —
1981      V8/4.4L                                                          370           75                      —
1981      V8/5.0L                                                          370           75                      —
1981      V8/5.7L                                                          370           75                      —
1981      V8/5.7L    Opt                                                   465           75                      —
1980-79   V8/4.4L                                                          325           75                      —
1980-79   V8/4.4L    Opt                                                   450           78                      —
1980-78   V6/3.8L                                                          325           75                      —
1980-78   V6/3.8L    Opt                                                   450           78                      —
1980-76   V8/5.0L                                                          325           75                      —
1980-76   V8/5.0L    Opt                                                   450           78                      —
1980-71   V8/5.7L                                                          325           75                      —
1980-71   V8/5.7L    Opt                                                   450           78                      —
1979-78   V6/3.3L                                                          325           75                      —
1979-78   V6/3.3L    Opt                                                   450           78                      —
1977-73   L6/4.1L                                                          325           75                      —
1977-73   L6/4.1L    Opt                                                   450           78                      —
1976-71   V8/6.6L                                                          325           75                      —
1976-71   V8/6.6L    Opt                                                   450           78                      —
1975-71   V8/7.4L                                                          325           75                      —
1975-71   V8/7.4L    Opt                                                   450           78                      —
1975      L6/4.1L                                                          275           75                      —
1973      V8/5.0L                                                          350           78                      —
1973      V8/5.0L    Opt                                                   465           78                      —
1970      V8/5.7L                                                          325           24                      —
1970      V8/6.6L                                                          325           24                      —
1970      V8/7.4L                                                          450           78                      —
1967-66   L6/3.8L                                                          N/A           26R                     —
1967-65   V8/6.5L                                                          325           24                      —
1967-64   V8/4.6L                                                          N/A           24                      —
1967-64   V8/4.6L    Incl Malibu                                           325           24                      —
1967      L6/4.1L                                                          275           26R                     —
1967      L6/4.1L    Opt                                                   380           24 7                    —7
1966      L6/3.2L                                                          N/A           26R                     —
1966      L6/3.2L    AC                                                    N/A           24                      —
1966      L6/3.8L    AC                                                    N/A           24                      —
1965-64   L6/3.2L                                                          N/A           24                      —
1965-64   L6/3.8L                                                          N/A           24                      —
Chevrolet Metro
2001-98 L4/1.3L                                                            390           26R                      —
2000-98 L3/1.0L                                                            390           26R                      —
1992    L4/1.3L                                                            440           —                        —
Chevrolet Monte Carlo (See Malibu, Monte Carlo)
Chevrolet Nomad
1961-58   V8/5.7L    12-Volt                                               350           24                       —
1961-57   V8/4.6L    12-Volt                                               350           24                       —
1961-55   L6/3.8L    12-Volt                                               350           24                       —
1961      V8/6.7L    12-Volt                                               350           24                       —
1957-55   V8/4.3L    12-Volt                                               350           24                       —
                                                                                 See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                              49
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE         ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)              (NOTES)

   Chevrolet Nova
   1979-78   L6/4.1L                                                               275           75                     —
   1979-78   V8/5.0L                                                               350           75                     —
   1979-78   V8/5.7L                                                               350           75                     —
   1979      L6/4.1L      Opt                                                      505           78                     —
   1979      V8/5.0L      Opt                                                      505           78                     —
   1979      V8/5.7L      Opt                                                      505           78                     —
   1978-71   L6/4.1L      Opt                                                      465           78                     —
   1977-76   V8/5.0L                                                               350           75                     —
   1977-76   V8/5.0L      Opt                                                      465           78                     —
   1977-76   V8/5.7L                                                               350           75                     —
   1977-71   L6/4.1L                                                               275           75                     —
   1977-70   V8/5.7L      Opt                                                      465           78                     —
   1975-73   V8/5.7L                                                               350           78                     —
   1975      V8/4.3L                                                               350           78                     —
   1975      V8/4.3L      Opt                                                      465           78                     —
   1974-71   V8/5.7L                                                               350           75                     —
   1973-71   V8/5.0L                                                               350           75                     —
   1973-70   V8/5.0L      Opt                                                      465           78                     —
   1973      V8/5.0L                                                               350           78                     —
   1972-71   V8/6.6L                                                               350           75                     —
   1972-70   V8/6.6L      Opt                                                      465           78                     —
   1971-70   V8/7.4L      Opt                                                      465           78                     —
   1971      V8/7.4L                                                               350           75                     —
   1970-69   L4/2.5L      Opt                                                      285           24                     —
   1970-69   L6/3.8L      Opt                                                      285           24                     —
   1970-69   L6/4.1L      Opt                                                      285           24                     —
   1970      L4/2.5L                                                               275           26R                    —
   1970      L6/3.8L                                                               275           26R                    —
   1970      L6/4.1L                                                               275           26R                    —
   1970      V8/5.0L                                                               350           24                     —
   1970      V8/5.7L                                                               350           24                     —
   1970      V8/6.5L                                                               350           24                     —
   1970      V8/6.5L      Opt                                                      465           78                     —
   1970      V8/6.6L                                                               350           24                     —
   1970      V8/7.4L                                                               350           24                     —
   1969      L4/2.5L      AC, AT or HD                                             400           24                     —
   1969      L4/2.5L      Ex AC, AT or HD                                          275           26R                    —
   1969      L6/3.8L      AC, AT or HD                                             400           24                     —
   1969      L6/3.8L      Ex AC, AT or HD                                          275           26R                    —
   1969      L6/4.1L      AC, AT or HD                                             400           24                     —
   1969      L6/4.1L      Ex AC, AT or HD                                          275           26R                    —
   1969      V8/5.0L      AC, AT or HD                                             400           24                     —
   1969      V8/5.0L      Ex AC, AT or HD                                          275           26R                    —
   1969      V8/5.0L      Opt                                                      285           24                     —
   1969      V8/5.7L      AC, AT or HD                                             400           24                     —
   1969      V8/5.7L      Ex AC, AT or HD                                          275           26R                    —
   1969      V8/5.7L      Opt                                                      285           24                     —
   1969      V8/6.5L      AC, AT or HD                                             400           24                     —
   1969      V8/6.5L      Ex AC, AT or HD                                          275           26R                    —
   1969      V8/6.5L      Opt                                                      285           24                     —
   Chevrolet Optra
   2007-04 L4/2.0L                                                                 640           86                     —
   Chevrolet Orlando
   2014-12 L4/2.4L                                                                 615           H6 (48)                H6 (48) AGM
   Chevrolet P30
   1991-90   L4/3.9L                                                               425           75                     —
   1991-90   L4/3.9L                                                               630           78                     —
   1990      V6/4.3L                                                               525           75                     —
   1999-91   V6/4.3L                                                               600           78                     —
   1990-87   V8/5.7L                                                               525           75                     —
   1999-91   V8/5.7L                                                               600           78                     —
   1993-90   V8/6.2L                                                               600           78                     —
   1999-94   V8/6.5L                                                               600           78                     —
   1999-90   V8/7.4L                                                               600           78                     —
   Chevrolet R Series Pickup (See C/K, R/V Pickups)
   Chevrolet Silverado (1500, 2500, 3500)
   2020      V8/5.3L      Aux Bat                                                  730           H6 (48)                H6 (48) AGM
   2020      V8/6.2L      Aux Bat                                                  730           H6 (48)                H6 (48) AGM
   2020      V8/6.6L      Aux Bat, 2500 HD                                         730           H6 (48)                H6 (48) AGM
   2020      V8/6.6L      Aux Bat, 3500 HD                                         730           H6 (48)                H6 (48) AGM
   2020-19   V8/6.6L      2500 HD Opt, AGM                                         730           H7 (94R) AGM 33        — 33
   See page 151 for Footnotes. Selection may vary by warehouse.

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50                                                         Automotive/Light Truck
  YEAR      ENGINE                               OPTIONS            ORIGINAL EQUIPMENT             GROUP SIZE            ALTERNATE SIZE
                                                                        CCA/RATING                  (NOTES)                 (NOTES)

Chevrolet Silverado (1500, 2500, 3500) (continued)
2020-19   V8/6.6L    3500 HD Opt, AGM                                      730           H7 (94R) AGM 33          — 33
2020-19   V8/6.2L                                                          720           H7 (94R) AGM 33          — 33
2020-19   V8/5.3L    VIN F                                                 720           H7 (94R)                 H7 (94R) AGM
2020-19   V8/5.3L    VIN D                                                 730           H7 (94R) AGM 33          — 33
2020-19   V8/6.6L    Dsl, 2500 HD                                          730           H6 (48) 2                H6 (48) AGM 2
2020-19   V8/6.6L    Dsl, 3500 HD                                          730           H6 (48) 2                H6 (48) AGM 2
2020-19   L4/2.7L                                                          720           H7 (94R) AGM 33          — 33
2020-19   V8/6.2L                                                          720           H7 (94R) AGM 33          — 33
2020-14   V6/4.3L                                                          730           H6 (48)                  H6 (48) AGM
2018-14   V8/5.3L                                                          720           H7 (94R)                 H7 (94R) AGM
2018-14   V8/6.0L                                                          720           H7 (94R)                 H7 (94R) AGM
2018-14   V8/6.2L                                                          720           H7 (94R)                 H7 (94R) AGM
2018-15   V8/6.6L    Dsl, Aux                                              730           H6 (48) 2                H6 (48) AGM 2
2018-08   V8/6.6L    Dsl                                                   730           H6 (48) 2                H6 (48) AGM 2
2014-09   V6/4.3L    Opt                                                   730           H6 (48)                  H6 (48) AGM
2014-09   V8/5.3L    Opt                                                   730           H6 (48)                  H6 (48) AGM
2014      V6/4.3L                                                          720           H7 (94R)                 H7 (94R) AGM
2013-09   V6/4.3L                                                          615           H6 (48)                  H6 (48) AGM
2013-09   V8/4.8L                                                          615           H6 (48)                  H6 (48) AGM
2013-09   V8/4.8L    Opt                                                   730           H6 (48)                  H6 (48) AGM
2013-09   V8/5.3L                                                          615           H6 (48)                  H6 (48) AGM
2013-09   V8/6.0L                                                          615           H6 (48)                  H6 (48) AGM
2013-09   V8/6.0L    Opt                                                   730           H6 (48)                  H6 (48) AGM
2013-09   V8/6.2L                                                          615           H6 (48)                  H6 (48) AGM
2013-09   V8/6.2L    Opt                                                   730           H6 (48)                  H6 (48) AGM
2007-01   V8/6.6L    Dsl                                                   600           78                       —
2010-09   V8/6.0L    HD, Hybrid                                            730           H6 (48)                  H6 (48) AGM
2008-07   V6/4.3L    From Late 2007                                        615           H6 (48)                  H6 (48) AGM
2008-07   V8/4.8L    From Late 2007                                        615           H6 (48)                  H6 (48) AGM
2008-07   V8/5.3L    From Late 2007                                        615           H6 (48)                  H6 (48) AGM
2008-07   V8/6.0L    From Late 2007                                        615           H6 (48)                  H6 (48) AGM
2007-06   V6/4.3L    Early 2007                                            600           78                       —
2007-06   V8/4.8L    Early 2007                                            600           78                       —
2007-06   V8/5.3L    Early 2007                                            600           78                       —
2007-06   V8/6.0L    Early 2007                                            600           78                       —
2007-03   V8/6.6L    Dsl                                                   770           78                       —
2006      V8/8.1L    Early 2007                                            600           78                       —
2005-01   V8/8.1L                                                          600           78                       —
2005-01   V8/8.1L    Opt                                                   770           78                       —
2005-99   V6/4.3L                                                          600           78                       —
2005-99   V6/4.3L    Opt                                                   770           78                       —
2005-99   V8/4.8L                                                          600           78                       —
2005-99   V8/4.8L    Opt                                                   770           78                       —
2005-99   V8/5.3L                                                          600           78                       —
2005-99   V8/5.3L    Opt                                                   770           78                       —
2005-99   V8/6.0L                                                          600           78                       —
2005-99   V8/6.0L    Opt                                                   770           78                       —
2002-01   V8/6.6L    Dsl, HD                                               770           78 2                     —2
2002-01   V8/6.6L    Dsl, Opt                                              770           78 2                     —2
Chevrolet Silverado 1500 LD
2019      V8/5.3L                                                          720           H7 (94R)                 H7 (94R) AGM
Chevrolet Silverado 2500 HD Classic
2007      V8/8.1L    Early                                                 600           78                       —
2007      V8/8.1L    Late                                                  615           H6 (48)                  H6 (48) AGM
Chevrolet Silverado 3500 Classic
2007      V8/6.0L    Early                                                 600           78                       —
2007      V8/6.0L    Late                                                  615           H6 (48)                  H6 (48) AGM
2007      V8/6.6L    Dsl                                                   770           78 2                     —2
2007      V8/8.1L    Early                                                 600           78                       —
2007      V8/8.1L    Late                                                  615           H6 (48)                  H6 (48) AGM
Chevrolet Sonic
2020-12 L4/1.4L                                                            525           H5 (47)                  H5 (47) AGM
2018-12 L4/1.8L                                                            525           H5 (47)                  H5 (47) AGM
Chevrolet Spark
2020-19   L4/1.4L                                                          375           —                        —
2018-16   L4/1.4L                                                          375           —                        —
2017-16   L4/1.4L                                                          410           —                        —
2015-13   L4/1.2L                                                          375           —                        —
2015-13   L4/1.2L                                                          410           —                        —
Chevrolet Spark EV
2016-14              Electric                                              520           —                        —
                                                                                 See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                  51
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT            GROUP SIZE              ALTERNATE SIZE
                                                                                CCA/RATING                 (NOTES)                   (NOTES)

   Chevrolet SS
   2017-14 V8/6.2L                                                                 730           H6 (48) AGM 33, 50    — 33, 50
   Chevrolet S-Series: Blazer, Pickup
   2004-94   V6/4.3L      Opt                                                      690           —                     —
   2004-88   V6/4.3L                                                               525           75                    —
   2003-94   L4/2.2L                                                               525           75                    —
   2003-94   L4/2.2L      Opt                                                      690           —                     —
   1993-90   L4/2.5L      Opt                                                      630           78                    —
   1993-88   V6/4.3L      Opt                                                      630           78                    —
   1993-87   V6/2.8L      Opt                                                      630           78                    —
   1989-87   V6/2.8L                                                               525           75                    —
   Chevrolet SSR
   2006-05 V8/6.0L                                                                 600           78                    —
   2004-03 V8/5.3L                                                                 600           78                    —
   Chevrolet Suburban
   2020-19   V8/5.3L                                                               720           H7 (94R)              H7 (94R) AGM
   2020-19   V8/5.3L      Aux Bat                                                  730           H6 (48)               H6 (48) AGM
   2020-19   V8/6.2L                                                               720           H7 (94R)              H7 (94R) AGM
   2020-19   V8/6.2L      Aux Bat                                                  730           H6 (48)               H6 (48) AGM
   2014-12   V8/5.3L                                                               660           H6 (48)               H6 (48) AGM
   2014-09   V8/5.3L      Opt                                                      730           H6 (48)               H6 (48) AGM
   2013-12   V8/6.0L                                                               660           H6 (48)               H6 (48) AGM
   2013-09   V8/6.0L      Opt                                                      730           H6 (48)               H6 (48) AGM
   2011-07   V8/5.3L                                                               615           H6 (48)               H6 (48) AGM
   2011-07   V8/6.0L                                                               615           H6 (48)               H6 (48) AGM
   2006-01   V8/8.1L                                                               600           78                    —
   2006-00   V8/5.3L      Primary Bat                                              600           78                    —
   2006-00   V8/6.0L                                                               600           78                    —
   2006      V8/6.0L      Opt                                                      690           78                    —
   2005-03   V8/5.3L      Opt                                                      770           78                    —
   2005-03   V8/6.0L      Opt                                                      770           78                    —
   2005-03   V8/8.1L      Opt                                                      770           78                    —
   2002-01   V8/8.1L      Opt                                                      690           78                    —
   2002-00   V8/5.3L      Opt                                                      690           78                    —
   2002-00   V8/6.0L      Opt                                                      690           78                    —
   2000      V8/5.3L      HD or PPkg                                               770           78                    —
   2000      V8/5.3L      PPkg & Opt                                               770           78                    —
   2000      V8/6.0L      HD or PPkg                                               770           78                    —
   Chevrolet Suburban 3500 HD
   2019-16 V8/6.0L                                                                 720           H7 (94R)              H7 (94R) AGM
   2020-19 V8/6.0L        Aux Bat                                                  730           H6 (48)               H6 (48) AGM
   Chevrolet Tahoe
   2020-18   V8/6.2L                                                               720           H7 (94R)              H7 (94R) AGM
   2020-15   V8/5.3L                                                               720           H7 (94R)              H7 (94R) AGM
   2020-19   V8/5.3L      Aux Bat                                                  730           H6 (48)               H6 (48) AGM
   2020-19   V8/6.2L      Aux Bat                                                  730           H6 (48)               H6 (48) AGM
   2015-12   V8/5.3L                                                               660           H6 (48)               H6 (48) AGM
   2015-09   V8/5.3L      Opt                                                      730           H6 (48)               H6 (48) AGM
   2013-12   V8/6.0L      Hybrid                                                   660           H6 (48)               H6 (48) AGM
   2013-09   V8/6.0L      Hybrid, Opt                                              730           H6 (48)               H6 (48) AGM
   2011-08   V8/6.0L      Hybrid                                                   615           H6 (48)               H6 (48) AGM
   2011-07   V8/5.3L                                                               615           H6 (48)               H6 (48) AGM
   2009-08   V8/6.2L                                                               615           H6 (48)               H6 (48) AGM
   2009-08   V8/6.2L      Opt                                                      730           H6 (48)               H6 (48) AGM
   2009-07   V8/4.8L                                                               615           H6 (48)               H6 (48) AGM
   2009      V8/4.8L      Opt                                                      730           H6 (48)               H6 (48) AGM
   2006-00   V8/4.8L                                                               600           78                    —
   2006-00   V8/5.3L                                                               600           78                    —
   2005-03   V8/4.8L      Opt                                                      770           78                    —
   2005-03   V8/5.3L      Opt                                                      770           78                    —
   2002-00   V8/4.8L      Opt                                                      690           78                    —
   2001-00   V8/5.3L      Opt                                                      690           78                    —
   2000-99   V8/5.7L      Opt                                                      690           78                    —
   2000-95   V8/5.7L                                                               600           78                    —
   1999      V8/5.7L      HD, PPkg                                                 770           78                    —
   1999      V8/6.5L      Dsl                                                      690           78                    —
   1998-97   V8/6.5L      Dsl                                                      600           78                    —
   1996-95   V8/6.5L      Dsl                                                      770           78                    —
   Chevrolet Tracker
   2004-01 V6/2.5L                                                                 600           —                     —
   2003    L4/2.0L                                                                 600           —                     —
   2002-99 L4/1.6L                                                                 550           —                     —
   See page 151 for Footnotes. Selection may vary by warehouse.

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52                                                           Automotive/Light Truck
  YEAR       ENGINE                                OPTIONS          ORIGINAL EQUIPMENT             GROUP SIZE                ALTERNATE SIZE
                                                                        CCA/RATING                  (NOTES)                     (NOTES)

Chevrolet Tracker (continued)
2002-99   L4/2.0L                                                          550           —                        —
1998      L4/1.6L                                                          500           26R                      —
1991-90   L4/1.6L                                                          525           —                        —
1989      L4/1.6L                                                          470           51                       —
Chevrolet TrailBlazer
2009-06 V8/6.0L                                                            600           78 40                    — 40
2009-02 L6/4.2L                                                            600           78 40                    — 40
2008-06 V8/5.3L                                                            600           78 40                    — 40
Chevrolet TrailBlazer EXT
2006-03 V8/5.3L                                                            600           78 40                    — 40
2006-02 L6/4.2L                                                            600           78 40                    — 40
Chevrolet Traverse
2020      V6/3.6L                                                          850           H7 (94R) AGM 33          — 33
2019-18   L4/2.0L                                                          730           H7 (94R) AGM 33          — 33
2019-18   V6/3.6L                                                          730           H7 (94R) AGM 33          — 33
2017-10   V6/3.6L                                                          660           H6 (48) 50               H6 (48) AGM 50
2009      V6/3.6L                                                          730           H6 (48) 50               H6 (48) AGM 50
Chevrolet Trax
2020-18 L4/1.4L       w/o Start/Stop                                       525           H5 (47)                  H5 (47) AGM
2020-18 L4/1.4L       w/Start/Stop                                         730           H6 (48) AGM 33           — 33
2017-13 L4/1.4L                                                            525           H5 (47)                  H5 (47) AGM
Chevrolet Uplander
2009-06 V6/3.9L                                                            600           34                       —
2006-05 V6/3.5L                                                            600           34                       —
Chevrolet V Series Pickup (See C/K, R/V Pickups)
Chevrolet Volt
2019      L4/1.5L     Hybrid                                               630           H5 (47) AGM 33, 50       — 33, 50
2018-16   L4/1.5L     Hybrid                                               600           H5 (47) AGM 33, 50       — 33, 50
2016      L4/1.5L     Hybrid                                               630           H5 (47) AGM 33, 50       — 33, 50
2015-11   L4/1.4L     Hybrid                                               600           H5 (47) AGM 33, 50       — 33, 50
2015-11   L4/1.4L     Hybrid                                               630           H5 (47) AGM 33, 50       — 33, 50
Chrysler 200
2017-15   L4/2.4L                                                          600           H6 (48)                  H6 (48) AGM
2017-15   L4/2.4L     Opt                                                  730           H7 (94R)                 H7 (94R) AGM
2017-15   V6/3.6L                                                          600           H6 (48)                  H6 (48) AGM
2017-15   V6/3.6L     Opt                                                  730           H7 (94R)                 H7 (94R) AGM
2014-11   L4/2.4L                                                          525           86                       —
2014-11   V6/3.6L                                                          525           86                       —
Chrysler 300
2020-11   V6/3.6L                                                          730           H7 (94R) 50              H7 (94R) AGM 50
2020-05   V8/5.7L                                                          730           H7 (94R) 50              H7 (94R) AGM 50
2014-12   V8/6.4L                                                          730           H7 (94R) 50              H7 (94R) AGM 50
2010-05   V6/2.7L                                                          730           H7 (94R) 50              H7 (94R) AGM 50
2010-05   V6/3.5L                                                          730           H7 (94R) 50              H7 (94R) AGM 50
2010-05   V8/6.1L                                                          730           H7 (94R) 50              H7 (94R) AGM 50
2009-08   V6/3.5L                                                          730           H7 (94R) 50, 57          H7 (94R) AGM 50, 57
Chrysler 300M
2004-99 V6/3.5L                                                            600           34                       —
Chrysler Aspen
2009-08   V8/4.7L                                                          750           65 57                    65 AGM 57
2009-08   V8/5.7L                                                          750           65 57                    65 AGM 57
2007      V8/4.7L                                                          750           65                       65 AGM
2007      V8/5.7L                                                          750           65                       65 AGM
Chrysler Cirrus
2000-95 L4/2.4L                                                            510           75                       —
2000-95 V6/2.5L                                                            510           75                       —
2000    L4/2.0L                                                            510           75                       —
Chrysler Concorde, Intrepid, LHS
2004-98   V6/2.7L                                                          500           34                       —
2004-95   V6/3.5L                                                          600           34                       —
2001-98   V6/3.2L                                                          600           34                       —
1997-95   V6/3.3L                                                          600           34                       —
1994-93   V6/3.3L                                                          500           34                       —
1994-93   V6/3.5L                                                          500           34                       —
Chrysler &URVVğUH
2008      V6/3.2L                                                          700           H6 (48) 50               H6 (48) AGM 50
2007-06   V6/3.2L                                                          640           H6 (48) 50               H6 (48) AGM 50
2005      V6/3.2L                                                          700           H6 (48) 50               H6 (48) AGM 50
2004      V6/3.2L                                                          580           H6 (48) 50               H6 (48) AGM 50
                                                                                 See page 151 for Footnotes. Selection may vary by warehouse.

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                                                                              Chrysler
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   Automotive/Light Truck                                                                                                                  53
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT            GROUP SIZE              ALTERNATE SIZE
                                                                                CCA/RATING                 (NOTES)                   (NOTES)

   Chrysler Daytona, Dynasty
   1993-92   L4/2.2L                                                               600           34                    —
   1993-92   L4/2.5L                                                               600           34                    —
   1993-91   V6/3.3L                                                               500           34                    —
   1993-89   V6/3.0L                                                               500           34                    —
   1991      L4/2.5L                                                               625           34                    —
   1991      L4/2.5L      Ex Turbo                                                 625           34                    —
   1991      L4/2.5L      Turbo                                                    500           34                    —
   1991      V6/3.0L                                                               625           34                    —
   1990-88   L4/2.2L                                                               500           34                    —
   1990-88   L4/2.5L                                                               500           34                    —
   1990      V6/3.3L                                                               600           34                    —
   Chrysler Grand Voyager, Voyager
   2020      V6/3.6L      w/Start/Stop                                             650           H6 (48) AGM 33, 50    — 33, 50
   2020      V6/3.6L      Aux Bat for Start/Stop                                   200           —                     —
   2020      V6/3.6L      w/o Start/Stop                                           730           H7 (94R) AGM 33, 50   — 33, 50
   2003-01   V6/3.3L                                                               600           34                    —
   2003-00   L4/2.4L                                                               600           34                    —
   2000      V6/3.0L                                                               500           34                    —
   2000      V6/3.3L                                                               500           34                    —
   2000      V6/3.3L      Opt                                                      600           34                    —
   Chrysler Imperial
   1993-91 V6/3.8L                                                                 500           34                    —
   1991-90 V6/3.3L                                                                 500           34                    —
   Chrysler LeBaron
   1995-92   V6/3.0L                                                               500           34                    —
   1994-92   L4/2.5L                                                               600           34                    —
   1991      L4/2.5L      Convertible, Turbo                                       500           34                    —
   1991      L4/2.5L      Coupe, Ex Turbo                                          625           34                    —
   1991      L4/2.5L      Coupe, Turbo                                             500           34                    —
   1991      L4/2.5L      Coupe/Conv, Ex Turbo                                     625           34                    —
   1991      L4/2.5L      Coupe/Conv, Turbo                                        500           34                    —
   1991      L4/2.5L      Sedan                                                    625           34                    —
   1991      V6/3.0L      Coupe/Conv                                               625           34                    —
   1991      V6/3.0L      Sedan                                                    625           34                    —
   1990-88   L4/2.2L                                                               500           34                    —
   1990-88   L4/2.5L                                                               500           34                    —
   1990      V6/3.0L                                                               500           34                    —
   Chrysler Neon
   2002-00 L4/2.0L                                                                 450           26R                   —
   Chrysler New Yorker
   1996-95   V6/3.5L                                                               600           34                    —
   1994      V6/3.5L                                                               500           34                    —
   1993-91   V6/3.8L                                                               500           34                    —
   1993-90   V6/3.3L                                                               500           34                    —
   Chrysler 3DFLğFD
   2020-19   V6/3.6L      w/Start/Stop                                             650           H6 (48) AGM 33, 50    — 33, 50
   2020-19   V6/3.6L      Aux Bat for Start/Stop                                   200           —                     —
   2020-19   V6/3.6L      w/o Start/Stop                                           730           H7 (94R)              H7 (94R) AGM
   2018-17   V6/3.6L      Hybrid                                                   760           H6 (48) AGM 33        — 33
   2018      V6/3.6L      Gas                                                      650           H6 (48) AGM 33        — 33
   2017      V6/3.6L      Gas                                                      750           H7 (94R)              H7 (94R) AGM
   2008-07   V6/3.8L                                                               600           34                    —
   2008-07   V6/4.0L                                                               600           34                    —
   2006-05   V6/3.5L                                                               600           34                    —
   2005      V6/3.8L                                                               600           34                    —
   2004      V6/3.5L                                                               500           34                    —
   Chrysler Prowler
   2002-01 V6/3.5L                                                                 525           34                    —
   Chrysler PT Cruiser
   2010-03 L4/2.4L                                                                 510           26R                   —
   2002-01 L4/2.4L                                                                 540           26R                   —
   Chrysler Sebring
   2010-07   V6/3.5L      Top Terminal                                             525           86                    —
   2010-01   L4/2.4L      Top Terminal                                             525           86                    —
   2010-01   L4/2.4L      w/side Terminals                                         510           75                    —
   2010-01   V6/2.7L      Top Terminal                                             525           86                    —
   2010-01   V6/2.7L      w/side Terminals                                         510           75                    —
   2005-01   V6/3.0L      Top Terminal                                             525           86                    —
   2005-01   V6/3.0L      w/side Terminals                                         510           75                    —
   2000-98   V6/2.5L      Top Terminal                                             525           86                    —
   See page 151 for Footnotes. Selection may vary by warehouse.

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54                                                            Automotive/Light Truck
  YEAR      ENGINE                                  OPTIONS        ORIGINAL EQUIPMENT           GROUP SIZE              ALTERNATE SIZE
                                                                       CCA/RATING                (NOTES)                   (NOTES)

Chrysler Sebring (continued)
2000-95   V6/2.5L    w/side Terminals                                     510           75                      —
1999-98   L4/2.0L    Top Terminal                                         525           86                      —
1999-98   L4/2.0L    w/side Terminals                                     510           75                      —
1998-96   L4/2.4L    Conv                                                 510           75                      —
1997-96   L4/2.0L    Ex Conv w/MT                                         430           86                      —
1997-95   L4/2.0L    Top Terminal, Ex Conv, Ex MT                         525           86                      —
1997-95   V6/2.5L    Top Terminal, Ex Conv, Ex MT                         525           86                      —
Chrysler TC by Maserati
1991-90 V6/3.0L                                                           500           34                       —
1990-89 L4/2.2L                                                           500           34                       —
Chrysler Town & Country
2016-12   V6/3.6L                                                         730           H7 (94R)                 H7 (94R) AGM
2011      V6/3.6L                                                         700           H7 (94R)                 H7 (94R) AGM
2010      V6/3.3L                                                         600           34                       —
2010      V6/3.8L                                                         600           34                       —
2010      V6/4.0L                                                         600           34                       —
2009-08   V6/3.3L                                                         600           34 57                    — 57
2009-08   V6/3.8L                                                         600           34 57                    — 57
2009-08   V6/4.0L                                                         600           34 57                    — 57
2007      V6/3.3L                                                         600           34                       —
2007      V6/3.8L                                                         600           34                       —
2006-04   V6/3.3L    Opt                                                  600           34                       —
2006-96   V6/3.3L                                                         500           34                       —
2006-94   V6/3.8L                                                         500           34                       —
2006-94   V6/3.8L    Opt                                                  600           34                       —
1997      V6/3.8L                                                         600           34                       —
1993-92   V6/3.3L                                                         500           34                       —
1991-90   V6/3.3L                                                         625           34                       —
Daewoo Lanos
2002-99 L4/1.5L                                                           525           86 11                    — 11
2002-99 L4/1.6L                                                           525           86 11                    — 11
Daewoo Leganza
2002-01 L4/2.2L                                                           620           86 11                    — 11
2000-99 L4/2.2L                                                           630           86 11                    — 11
Daewoo Nubira
2002-01 L4/2.0L                                                           620           86 11                    — 11
2000-99 L4/2.0L                                                           630           86 11                    — 11
Daihatsu Charade
1992-89 L4/1.3L                                                           500           26R                      —
1992-88 L3/1.0L                                                           500           26R                      —
Daihatsu Rocky
1992-90 L4/1.6L                                                           500           —                        —
Dodge 2000 GTX
1990      L4/2.0L                                                         500           24                       —
Dodge Avenger
2014-11   V6/3.6L                                                         525           86                       —
2014-08   L4/2.4L                                                         525           86                       —
2010-08   V6/2.7L                                                         525           86                       —
2010-08   V6/3.5L                                                         525           86                       —
2009-08   V6/3.5L                                                         525           86 57                    — 57
2000-95   V6/2.5L                                                         525           86                       —
1999-95   L4/2.0L                                                         525           86                       —
1997-95   L4/2.0L    MT                                                   430           86                       —
Dodge B-Series Vans (150, 250, 350, 1500, 3500)
1998-96   V8/5.2L                                                         600           27                       —
1998-96   V8/5.2L    Opt                                                  750           27                       —
1998-92   V6/3.9L    Ex T-Series                                          600           27                       —
1998-92   V6/3.9L    HD, Ex T-Series                                      750           27                       —
1998-92   V8/5.2L    Ex T-Series                                          600           27                       —
1998-92   V8/5.2L    HD, Ex T-Series                                      750           27                       —
1998-92   V8/5.9L    Ex T-Series                                          600           27                       —
1998-92   V8/5.9L    HD, Ex T-Series                                      750           27                       —
1995-88   V6/3.9L    T-Series                                             810           —                        —
1995-88   V8/5.2L    T-Series                                             810           —                        —
1995-88   V8/5.9L    T-Series                                             810           —                        —
1995      V8/5.2L    Cutaway                                              810           —                        —
1995      V8/5.2L    Ex Cutaway                                           600           27                       —
1995      V8/5.2L    Ex Cutaway Opt                                       750           27                       —
1991-89   V8/5.9L                                                         685           34                       —
1991-88   V6/3.9L                                                         600           34                       —
                                                                                See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                 55
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)               (NOTES)

   Dodge B-Series Vans (150, 250, 350, 1500, 3500) (continued)
   1991-88 V6/3.9L        Opt                                                      685           34                     —
   1991-88 V8/5.2L                                                                 600           34                     —
   1991-88 V8/5.2L        Opt                                                      685           34                     —
   Dodge Caliber
   2012-07 L4/2.0L                                                                 525           86                     —
   2011-07 L4/2.4L                                                                 525           86                     —
   2009-07 L4/1.8L                                                                 525           86                     —
   Dodge Caravan, Grand Caravan
   2020-12   V6/3.6L                                                               730           H7 (94R)               H7 (94R) AGM
   2011      V6/3.6L                                                               700           H7 (94R)               H7 (94R) AGM
   2010-07   V6/3.3L                                                               600           34                     —
   2010      V6/3.8L                                                               600           34                     —
   2010      V6/4.0L                                                               600           34                     —
   2009-08   V6/3.3L                                                               600           34 57                  — 57
   2009-08   V6/3.8L                                                               600           34 57                  — 57
   2009-08   V6/4.0L                                                               600           34 57                  — 57
   2007      L4/2.4L                                                               600           34                     —
   2007      V6/3.8L                                                               600           34                     —
   2006-04   V6/3.8L      Opt                                                      600           34                     —
   2006-03   L4/2.4L                                                               500           34                     —
   2006-03   L4/2.4L      Opt                                                      600           34                     —
   2006-03   V6/3.8L                                                               500           34                     —
   2006-01   V6/3.3L      Opt                                                      600           34                     —
   2006-90   V6/3.3L                                                               500           34                     —
   2002-96   L4/2.4L                                                               600           34                     —
   2002-94   V6/3.8L                                                               600           34                     —
   2000-90   V6/3.0L                                                               500           34                     —
   1999-96   L4/2.4L      Opt                                                      685           34                     —
   1999-94   V6/3.8L      Opt                                                      685           34                     —
   1999-92   V6/3.0L      Opt                                                      685           34                     —
   1999-92   V6/3.3L      Opt                                                      685           34                     —
   1995-92   L4/2.5L                                                               600           34                     —
   1995-92   L4/2.5L      Opt                                                      685           34                     —
   1991-90   V6/3.3L      Opt                                                      625           34                     —
   1991-88   L4/2.5L                                                               500           34                     —
   1990      L4/2.5L      Opt                                                      625           34                     —
   1990      V6/3.0L      Opt                                                      625           34                     —
   Dodge Challenger
   2020-15   V8/6.2L                                                               730           H7 (94R) 50            H7 (94R) AGM 50
   2019-11   V6/3.6L                                                               730           H7 (94R) 50            H7 (94R) AGM 50
   2019-11   V8/6.4L                                                               730           H7 (94R) 50            H7 (94R) AGM 50
   2020-09   V8/5.7L                                                               730           H7 (94R) 50            H7 (94R) AGM 50
   2010-09   V6/3.5L                                                               730           H7 (94R) 50            H7 (94R) AGM 50
   2010-08   V8/6.1L                                                               730           H7 (94R) 50            H7 (94R) AGM 50
   1974-72   V8/6.6L                                                               350           27                     —
   1974-71   V8/5.9L                                                               350           27                     —
   1974-70   V8/5.2L                                                               350           27                     —
   1974      V8/5.9L                                                               440           24                     —
   1973-70   V8/5.6L                                                               350           27                     —
   1972-70   L6/3.7L                                                               350           27                     —
   1972-70   V8/7.2L                                                               350           27                     —
   1971-70   L6/3.2L                                                               350           27                     —
   1971-70   V8/6.3L                                                               350           27                     —
   1971-70   V8/7.0L                                                               350           27                     —
   Dodge Charger
   2020-17   V8/6.4L                                                               730           H7 (94R) 50            H7 (94R) AGM 50
   2020-15   V8/6.2L      Ex PPkg                                                  730           H7 (94R) 50            H7 (94R) AGM 50
   2020-11   V6/3.6L      Ex PPkg                                                  730           H7 (94R) 50            H7 (94R) AGM 50
   2020-11   V6/3.6L      PPkg                                                     800           — 50                   H8 (49) AGM 50
   2020-11   V8/5.7L      PPkg                                                     800           — 50                   H8 (49) AGM 50
   2020-10   V8/5.7L      Ex PPkg                                                  730           H7 (94R) 50            H7 (94R) AGM 50
   2016-12   V8/6.4L      Ex PPkg                                                  730           H7 (94R) 50            H7 (94R) AGM 50
   2016-12   V8/6.4L      PPkg                                                     800           — 50                   H8 (49) AGM 50
   2010-06   V6/2.7L      Ex PPkg                                                  730           H7 (94R) 50            H7 (94R) AGM 50
   2010      V6/2.7L                                                               730           H7 (94R) 50            H7 (94R) AGM 50
   2010      V6/3.5L      Ex PPkg                                                  730           H7 (94R) 50            H7 (94R) AGM 50
   2010      V6/3.5L      PPkg                                                     800           — 50                   H8 (49) AGM 50
   2010      V8/5.7L      PPkg                                                     850           — 50                   H8 (49) AGM 50
   2010      V8/6.1L      Ex PPkg                                                  730           H7 (94R) 50            H7 (94R) AGM 50
   2010      V8/6.1L      PPkg                                                     850           — 50                   H8 (49) AGM 50
   2009-08   V6/2.7L                                                               730           H7 (94R) 50, 57        H7 (94R) AGM 50, 57
   See page 151 for Footnotes. Selection may vary by warehouse.

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56                                                   Automotive/Light Truck
  YEAR       ENGINE                        OPTIONS        ORIGINAL EQUIPMENT             GROUP SIZE            ALTERNATE SIZE
                                                              CCA/RATING                  (NOTES)                 (NOTES)

Dodge Charger (continued)
2009-08   V6/3.5L     Ex PPkg                                    730           H7 (94R) 50, 57          H7 (94R) AGM 50, 57
2009-08   V8/5.7L     Ex PPkg                                    730           H7 (94R) 50, 57          H7 (94R) AGM 50, 57
2009      V6/3.5L     PPkg                                       800           — 50, 57                 H8 (49) AGM 50, 57
2009      V8/5.7L     PPkg                                       800           — 50, 57                 H8 (49) AGM 50, 57
2009      V8/6.1L     Ex PPkg                                    730           H7 (94R) 50, 57          H7 (94R) AGM 50, 57
2009      V8/6.1L     PPkg                                       800           — 50, 57                 H8 (49) AGM 50, 57
2008-06   V8/5.7L     PPkg                                       850           — 50                     H8 (49) AGM 50
2008-06   V8/6.1L     Ex PPkg                                    730           H7 (94R) 50              H7 (94R) AGM 50
2008-06   V8/6.1L     PPkg                                       850           — 50                     H8 (49) AGM 50
2008      V6/3.5L     PPkg                                       850           — 50, 57                 H8 (49) AGM 50, 57
2007-06   V6/2.7L                                                730           H7 (94R) 50              H7 (94R) AGM 50
2007-06   V6/3.5L     Ex PPkg                                    730           H7 (94R) 50              H7 (94R) AGM 50
2007-06   V6/3.5L     PPkg                                       850           — 50                     H8 (49) AGM 50
2007-06   V8/5.7L     Ex PPkg                                    730           H7 (94R) 50              H7 (94R) AGM 50
1977-72   V8/6.6L                                                350           27                       —
1977-71   V8/5.9L                                                350           27                       —
1977-66   V8/5.2L                                                350           27                       —
1976-68   L6/3.7L                                                350           27                       —
1974-67   V8/7.2L                                                350           27                       —
1974      V8/5.9L                                                440           24                       —
1973-70   V8/5.6L                                                350           27                       —
1971-66   V8/6.3L                                                350           27                       —
1971-66   V8/7.0L                                                350           27                       —
1969      V8/7.2L                                                440           27                       —
1967      V8/4.5L                                                350           27                       —
1966      V8/5.9L                                                350           24                       —
Dodge Colt
1995-93   L4/1.5L     Can                                        580           24                      —
1995-93   L4/1.5L     US                                         435           51                      —
1994-93   L4/1.8L     Can                                        580           24                      —
1994-93   L4/1.8L     US                                         435           51                      —
1994-93   L4/2.4L     Can                                        580           24                      —
1994-93   L4/2.4L     US                                         435           51                      —
1992-91   L4/1.5L     US                                         355           25                      —
1992-91   L4/1.5L     US, HD                                     430           25                      —
1992      L4/1.5L     Can, Ex Wagon                              420           25                      —
1992      L4/1.8L     Can, Ex Wagon                              420           25                      —
1992      L4/1.8L     US                                         355           25                      —
1992      L4/1.8L     US, HD                                     430           25                      —
1991-90   L4/1.5L     Can                                        420           25                      —
1991-84   L4/2.0L     Can                                        420           25                      —
1991      L4/2.0L     US                                         435           51                      —
1990-89   L4/1.8L     Wagon                                      435           51                      —
1990-89   L4/2.0L     Wagon, US                                  435           51                      —
1990-88   L4/1.5L     Wagon                                      435           51                      —
1990      L4/1.5L                                                435           51                      —
1990      L4/1.5L     Ex Wagon                                   355           25                      —
1990      L4/1.6L                                                435           51                      —
1990      L4/1.6L     Can                                        420           25                      —
1990      L4/1.8L                                                355           25                      —
Dodge D/W Series Pickups (150, 250, 350)
1993-92   L6/5.9L                                                600           27                       —
1993-92   L6/5.9L     Opt                                        810           27                       —
1993-92   V6/3.9L                                                600           27                       —
1993-92   V6/3.9L     Opt                                        810           27                       —
1993-92   V8/5.2L                                                600           27                       —
1993-92   V8/5.2L     Opt                                        810           27                       —
1993-92   V8/5.9L                                                600           27                       —
1993-92   V8/5.9L     Opt                                        810           27                       —
1993-89   L6/5.9L     Dsl                                        600           27 2                     —2
1993-89   L6/5.9L     Dsl                                       1025           —                        —
1993-89   L6/5.9L     Dsl, Opt                                   770           78 2                     —2
1991-89   L6/5.9L                                                600           34                       —
1991-89   L6/5.9L     Opt                                        685           34                       —
1991-88   V6/3.9L                                                600           34                       —
1991-88   V6/3.9L     Opt                                        685           34                       —
1991-88   V8/5.2L                                                600           34                       —
1991-88   V8/5.2L     Opt                                        685           34                       —
1991-88   V8/5.9L                                                600           34                       —
1991-88   V8/5.9L     Opt                                        685           34                       —
                                                                       See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                 57
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)               (NOTES)

   Dodge Dakota
   2010      V6/3.7L                                                               600           65                     65 AGM
   2010      V6/3.7L      Opt                                                      750           65                     65 AGM
   2010      V8/4.7L                                                               600           65                     65 AGM
   2010      V8/4.7L      Opt                                                      750           65                     65 AGM
   2009-08   V6/3.7L                                                               600           65 57                  65 AGM 57
   2009-08   V8/4.7L                                                               600           65 57                  65 AGM 57
   2009      V6/3.7L      Opt                                                      750           65 57                  65 AGM 57
   2009      V8/4.7L      Opt                                                      750           65 57                  65 AGM 57
   2007-06   V6/3.7L                                                               600           65                     65 AGM
   2007-06   V8/4.7L                                                               600           65                     65 AGM
   2006      V6/3.7L      Opt                                                      650           65                     65 AGM
   2006      V8/4.7L      Opt                                                      650           65                     65 AGM
   2005-04   V6/3.7L                                                               600           27                     —
   2005-00   V8/4.7L                                                               600           27                     —
   2004-01   V8/4.7L      Opt                                                      750           27                     —
   2003-98   V8/5.9L                                                               600           27                     —
   2003-98   V8/5.9L      Opt                                                      750           27                     —
   2003-92   V6/3.9L                                                               600           27                     —
   2003-92   V6/3.9L      Opt                                                      750           27                     —
   2002-92   L4/2.5L                                                               600           27                     —
   1999-92   L4/2.5L      Opt                                                      750           27                     —
   1999-92   V8/5.2L                                                               600           27                     —
   1999-92   V8/5.2L      Opt                                                      750           27                     —
   1991-89   L4/2.5L                                                               600           34                     —
   1991-89   L4/2.5L      Opt                                                      685           34                     —
   1991-89   V8/5.2L                                                               600           34                     —
   1991-89   V8/5.2L      Opt                                                      685           34                     —
   1991-88   V6/3.9L                                                               600           34                     —
   1991-88   V6/3.9L      Opt                                                      685           34                     —
   Dodge Dart
   2016-14   L4/1.4L                                                               600           —                      —
   2016-14   L4/2.0L      SE                                                       600           —                      —
   2016-13   L4/2.0L      Ex SE                                                    600           H6 (48)                H6 (48) AGM
   2016-13   L4/2.4L                                                               600           H6 (48)                H6 (48) AGM
   2016-13   L4/2.4L      Opt                                                      500           H5 (47)                H5 (47) AGM
   2016      L4/2.0L                                                               600           —                      —
   2014-13   L4/1.4L                                                               600           H6 (48)                H6 (48) AGM
   2014-13   L4/2.0L      SE                                                       500           H5 (47)                H5 (47) AGM
   2014      L4/1.4L                                                               500           H5 (47)                H5 (47) AGM
   2014      L4/2.0L                                                               500           H5 (47)                H5 (47) AGM
   Dodge Daytona
   1993-92   L4/2.2L                                                               600           34                     —
   1993-92   L4/2.5L                                                               600           34                     —
   1993-90   V6/3.0L                                                               500           34                     —
   1991      L4/2.5L      Ex Turbo                                                 625           34                     —
   1991      L4/2.5L      Turbo                                                    500           34                     —
   1990-88   L4/2.2L                                                               500           34                     —
   1990-88   L4/2.5L                                                               500           34                     —
   Dodge Durango
   2020-19   V8/5.7L      w/Special Service Package                                800           H8 (49) AGM 33, 50     — 33, 50
   2020-19   V6/3.6L      w/Special Service Package                                800           H8 (49) AGM 33, 50     — 33, 50
   2020-19   V6/3.6L      Aux Bat for Start/Stop                                   200           —                      —
   2020-18   V8/5.7L                                                               700           H7 (94R) 50            H7 (94R) AGM 50
   2020-18   V8/6.4L                                                               700           H7 (94R) 50            H7 (94R) AGM 50
   2020-18   V6/3.6L      w/o Start/Stop                                           700           H7 (94R) 50            H7 (94R) AGM 50
   2020-18   V6/3.6L      w/Start/Stop                                             650           H6 (48) AGM 33, 50     — 33, 50
   2018      V8/5.7L      Opt                                                      800           — 50                   H8 (49) AGM 50
   2018      V8/6.4L      Opt                                                      800           — 50                   H8 (49) AGM 50
   2017-16   V6/3.6L      Aux for Start/Stop                                       200           —                      —
   2017-16   V6/3.6L      w/o Start/Stop                                           800           H7 (94R) AGM 33, 50    — 33, 50
   2017-16   V6/3.6L      w/Start/Stop                                             760           H6 (48) AGM 33, 50     — 33, 50
   2017-15   V8/5.7L                                                               800           H8 (49) AGM 33, 50     — 33, 50
   2015-14   V6/3.6L                                                               730           H7 (94R) AGM 33, 50    — 33, 50
   2014      V8/5.7L                                                               800           H8 (49) AGM 33         — 33
   2013-11   V6/3.6L                                                               700           H7 (94R) AGM 33, 50    — 33, 50
   2013-11   V8/5.7L                                                               700           H7 (94R) AGM 33, 50    — 33, 50
   2009      V6/3.7L                                                               750           65 57                  65 AGM 57
   2009      V8/4.7L                                                               750           65 57                  65 AGM 57
   2009      V8/5.7L                                                               750           65 57                  65 AGM 57
   2009      V8/5.7L      Hybrid                                                   500           90 (T5) 57             — 57
   2008      V6/3.7L                                                               600           65 57                  65 AGM 57
   2008      V8/4.7L                                                               600           65 57                  65 AGM 57
   See page 151 for Footnotes. Selection may vary by warehouse.

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58                                                      Automotive/Light Truck
  YEAR      ENGINE                            OPTIONS        ORIGINAL EQUIPMENT           GROUP SIZE              ALTERNATE SIZE
                                                                 CCA/RATING                (NOTES)                   (NOTES)

Dodge Durango (continued)
2008      V8/5.7L                                                   600           65 57                    65 AGM 57
2007-04   V6/3.7L                                                   600           65                       65 AGM
2007-04   V8/4.7L                                                   600           65                       65 AGM
2007-04   V8/5.7L                                                   600           65                       65 AGM
2006-04   V6/3.7L    Opt                                            750           65                       65 AGM
2006      V8/4.7L    Opt                                            750           65                       65 AGM
2006      V8/5.7L    Opt                                            750           65                       65 AGM
2003-00   V8/4.7L                                                   600           27                       —
2003-00   V8/4.7L    Opt                                            750           27                       —
2003-98   V8/5.9L                                                   600           27                       —
2003-98   V8/5.9L    Opt                                            750           27                       —
2000-98   V8/5.2L                                                   600           27                       —
2000-98   V8/5.2L    Opt                                            750           27                       —
1999-98   V6/3.9L                                                   600           27                       —
1999-98   V6/3.9L    Opt                                            750           27                       —
Dodge Dynasty
1993-92   L4/2.5L                                                   600           34                      —
1993-90   V6/3.3L                                                   500           34                      —
1993-88   V6/3.0L                                                   500           34                      —
1991      L4/2.5L    Ex Turbo                                       625           34                      —
1990-88   L4/2.5L                                                   500           34                      —
Dodge Grand Caravan (See Caravan, Grand Caravan)
Dodge Intrepid
2004-00   V6/3.5L                                                   600           34                       —
2004-98   V6/2.7L                                                   500           34                       —
2000-98   V6/3.2L                                                   600           34                       —
1997-95   V6/3.3L                                                   600           34                       —
1997-95   V6/3.5L                                                   600           34                       —
1994-93   V6/3.3L                                                   500           34                       —
1994-93   V6/3.5L                                                   500           34                       —
Dodge Journey
2019-11 V6/3.6L                                                     525           86                       —
2019-09 L4/2.4L                                                     525           86                       —
2010-09 V6/3.5L                                                     525           86                       —
Dodge Magnum
2008-06   V8/6.1L                                                   730           H7 (94R) 50              H7 (94R) AGM 50
2008-05   V6/2.7L                                                   730           H7 (94R) 50              H7 (94R) AGM 50
2008-05   V6/3.5L                                                   730           H7 (94R) 50              H7 (94R) AGM 50
2008-05   V8/5.7L                                                   730           H7 (94R) 50              H7 (94R) AGM 50
Dodge Monaco
1992      V6/3.0L                                                   600           34                       —
1991      V6/3.0L                                                   625           34                       —
1990      V6/3.0L                                                   500           34                       —
Dodge Neon
2005-03 L4/2.4L                                                     450           26R                      —
2005-00 L4/2.0L                                                     450           26R                      —
1999-95 L4/2.0L                                                     450           58 35                    — 35
Dodge Nitro
2011-07 V6/3.7L                                                     600           34                       —
2011-07 V6/4.0L                                                     600           34                       —
Dodge Omni
1990      L4/2.2L                                                   430           34                       —
Dodge Ram 50
1993-91   L4/2.4L    4WD                                            435           51                      —
1993-91   L4/2.4L    RWD, Can                                       490           24                      —
1993-91   L4/2.4L    RWD, US                                        435           51                      —
1992-91   L4/2.4L    RWD, HD, Can                                   580           24                      —
1991-90   V6/3.0L                                                   490           24                      —
1991      V6/3.0L    Opt                                            580           24                      —
1990      L4/2.4L    Can                                            580           24                      —
1990      L4/2.4L    US                                             435           51                      —
Dodge Ram Pickup (1500-3500)
2010      L6/6.7L    Dsl                                            730           H7 (94R) 2               H7 (94R) AGM 2
2010      V6/3.7L                                                   700           H7 (94R)                 H7 (94R) AGM
2010      V8/4.7L                                                   700           H7 (94R)                 H7 (94R) AGM
2010      V8/5.7L                                                   700           H7 (94R)                 H7 (94R) AGM
2009-08   L6/6.7L    Dsl                                            750           65 2, 57                 65 AGM 2, 57
2009      V6/3.7L    Mexico Production                              700           65 57                    65 AGM 57
2009      V6/3.7L    US Production                                  700           H7 (94R)                 H7 (94R) AGM
                                                                          See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                         Costco_001701
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 503Dodge
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   Automotive/Light Truck                                                                                                               59
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT           GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                (NOTES)               (NOTES)

   Dodge Ram Pickup (1500-3500) (continued)
   2009      V8/4.7L      Mexico Production                                        700           65 57                65 AGM 57
   2009      V8/4.7L      US                                                       700           H7 (94R) 57          H7 (94R) AGM 57
   2009      V8/4.7L      US Production                                            700           H7 (94R)             H7 (94R) AGM
   2009      V8/5.7L      Mexico Production                                        700           65 57                65 AGM 57
   2009      V8/5.7L      US Production                                            700           H7 (94R)             H7 (94R) AGM
   2008      V6/3.7L                                                               600           65 57                65 AGM 57
   2008      V8/4.7L                                                               600           65 57                65 AGM 57
   2008      V8/5.7L      HD, Mexico Production                                    750           65 57                65 AGM 57
   2008      V8/5.7L      HD, US Production                                        730           H7 (94R)             H7 (94R) AGM
   2008      V8/5.7L      Mexico Production                                        650           65 57                65 AGM 57
   2008      V8/5.7L      US                                                       625           H7 (94R) 57          H7 (94R) AGM 57
   2008      V8/5.7L      US Production                                            625           H7 (94R)             H7 (94R) AGM
   2007-06   V6/3.7L                                                               600           65                   65 AGM
   2007-03   V8/5.7L                                                               600           65                   65 AGM
   2007-03   V8/5.7L      Opt                                                      750           65                   65 AGM
   2007-02   L6/5.9L      Dsl                                                      750           65 2                 65 AGM 2
   2007      L6/6.7L      Dsl                                                      750           65 2                 65 AGM 2
   2007      V8/4.7L                                                               750           65                   65 AGM
   2006-03   V6/3.7L      Opt                                                      750           65                   65 AGM
   2006-03   V8/4.7L      Opt                                                      750           65                   65 AGM
   2006      V10/8.3L                                                              600           65                   65 AGM
   2006      V10/8.3L     Opt                                                      750           65                   65 AGM
   2006      V8/4.7L                                                               600           65                   65 AGM
   2005-04   V10/8.3L                                                              750           65                   65 AGM
   2005-04   V6/3.7L                                                               650           65                   65 AGM
   2005      V8/4.7L                                                               650           65                   65 AGM
   2004-03   V8/4.7L                                                               600           65                   65 AGM
   2003-94   V8/5.9L                                                               600           27                   —
   2003-94   V8/5.9L      Opt                                                      750           27                   —
   2003      V10/8.0L     Late 2002 on                                             750           65                   65 AGM
   2003      V6/3.7L                                                               600           65                   65 AGM
   2002-01   V10/8.0L     Early 2002                                               750           27                   —
   2002      L6/5.9L      Dsl, Early, 2500, 3500                                   750           27 2                 —2
   2002      L6/5.9L      Dsl, Late                                                650           65 2                 65 AGM 2
   2002      L6/5.9L      Dsl, Late 2002, 2500, 3500                               750           65 2                 65 AGM 2
   2002      V10/8.0L     Late 2002                                                650           65                   65 AGM
   2002      V6/3.7L      Early or HD                                              750           27                   —
   2002      V6/3.7L      Late 2002                                                650           65                   65 AGM
   2002      V8/4.7L      Late 2002                                                650           65                   65 AGM
   2002      V8/4.7L      Late 2002, 2500, 3500                                    750           27                   —
   2002      V8/5.9L      Early or HD                                              750           27                   —
   2002      V8/5.9L      Late                                                     650           65                   65 AGM
   2002      V8/5.9L      Late 2002                                                650           65                   65 AGM
   2001-00   L6/5.9L      Dsl                                                      750           27 2                 —2
   2001-97   L6/5.9L      Dsl or HD                                                750           27 2                 —2
   2001-94   V6/3.9L                                                               600           27                   —
   2001-94   V6/3.9L      Opt                                                      750           27                   —
   2001-94   V8/5.2L                                                               600           27                   —
   2001-94   V8/5.2L      Opt                                                      750           27                   —
   2000-94   V10/8.0L                                                              750           27                   —
   1996-94   L6/5.9L                                                               600           27                   —
   1996-94   L6/5.9L      Dsl                                                      750           27 2                 —2
   Dodge Ram Van (1500-3500)
   2003-99   V6/3.9L                                                               600           27                   —
   2003-99   V6/3.9L      Opt                                                      750           27                   —
   2003-99   V8/5.2L                                                               600           27                   —
   2003-99   V8/5.2L      Opt                                                      750           27                   —
   2003-99   V8/5.9L                                                               600           27                   —
   2003-99   V8/5.9L      Opt                                                      750           27                   —
   Dodge Ramcharger
   1993-92   V8/5.2L                                                               610           27                   —
   1993-92   V8/5.2L      Opt                                                      685           27                   —
   1993-92   V8/5.9L                                                               610           27                   —
   1993-92   V8/5.9L      Opt                                                      685           27                   —
   1991-89   V8/5.2L      Opt                                                      685           34                   —
   1991-89   V8/5.9L      Opt                                                      685           34                   —
   1991-88   V8/5.2L                                                               600           34                   —
   1991-88   V8/5.9L                                                               600           34                   —
   Dodge Shadow
   1994-92 L4/2.5L                                                                 600           34                   —
   1994-92 V6/3.0L                                                                 500           34                   —
   1994-90 L4/2.2L                                                                 500           34                   —
   See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                        Costco_001702
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60                                                 Automotive/Light Truck
  YEAR       ENGINE                      OPTIONS         ORIGINAL EQUIPMENT             GROUP SIZE            ALTERNATE SIZE
                                                             CCA/RATING                  (NOTES)                 (NOTES)

Dodge Shadow (continued)
1991    L4/2.5L                                                 625           34                       —
1990-88 L4/2.5L                                                 500           34                       —
Dodge Spirit
1995-91   L4/2.5L                                               600           34                       —
1995-89   V6/3.0L                                               500           34                       —
1992-91   L4/2.2L                                               600           34                       —
1990-89   L4/2.5L                                               500           34                       —
Dodge Sprinter 2500
2009-07 V6/3.0L       Dsl                                       850           — 50                     H8 (49) AGM 50
2008-07 V6/3.5L                                                 850           — 50                     H8 (49) AGM 50
2006-03 L5/2.7L       Dsl                                       850           — 50                     H8 (49) AGM 50
Dodge Sprinter 3500
2009-07 V6/3.0L       Dsl                                       850           — 50                     H8 (49) AGM 50
2008-07 V6/3.5L                                                 850           — 50                     H8 (49) AGM 50
2006-03 L5/2.7L       Dsl                                       850           — 50                     H8 (49) AGM 50
Dodge Stealth
1996-94   V6/3.0L                                               520           25                       —
1993-92   V6/3.0L                                               490           24                       —
1993-91   V6/3.0L     Opt                                       585           24                       —
1991      V6/3.0L     DOHC                                      490           24                       —
1991      V6/3.0L     SOHC                                      420           25                       —
Dodge Stratus
2006-03   V6/2.7L     Sedan                                     510           75                       —
2006-03   V6/2.7L     w/side Terminals                          510           75                       —
2006-01   L4/2.4L     Top Terminal                              525           86                       —
2006-01   V6/2.7L     Coupe                                     525           86                       —
2006-01   V6/2.7L     Top Terminal                              525           86                       —
2006-95   L4/2.4L     w/side Terminals                          510           75                       —
2005-01   V6/3.0L     Top Terminal                              525           86                       —
2005-01   V6/3.0L     w/side Terminals                          510           75                       —
2002      V6/2.7L     Sedan                                     510           86                       —
2001      V6/2.7L     Sedan                                     510           75                       —
2000-98   L4/2.0L                                               510           86                       —
2000-95   L4/2.0L     Top Terminal                              510           86                       —
2000-95   V6/2.5L     Top Terminal                              510           86                       —
Dodge SX 2.0
2005-03 L4/2.0L                                                 450           26R                      —
Dodge Viper
2017-15   V10/8.4L                                              590           90 (T5) 50               — 50
2010-08   V10/8.4L                                              600           34 50                    — 50
2006-03   V10/8.3L                                              600           34                       —
2002-97   V10/8.0L                                              650           78                       —
1996-92   V10/8.0L                                              770           78                       —
1992      V10/8.0L                                              650           78                       —
Dodge Viper SRT
2014-13 V10/8.4L                                                590           90 (T5)                  —
Eagle 2000 GTX
1993-91 L4/2.0L                                                 500           24                       —
Eagle Premier
1992    V6/3.0L                                                 600           34                       —
1991-90 V6/3.0L                                                 500           34                       —
Eagle Summit
1996-95   L4/1.5L                                               435           51                      —
1996-95   L4/1.8L                                               435           51                      —
1996-95   L4/1.8L     Wagon                                     355           25                      —
1996-95   L4/2.4L                                               435           51                      —
1996-95   L4/2.4L     Wagon                                     490           24                      —
1994-93   L4/1.5L     Can                                       580           24                      —
1994-93   L4/1.5L     Ex Wagon, US                              435           51                      —
1994-93   L4/1.5L     US, Wagon                                 350           25                      —
1994-93   L4/1.8L     Can                                       580           24                      —
1994-93   L4/1.8L     Ex Wagon, US                              435           51                      —
1994-93   L4/2.4L     Can                                       580           24                      —
1994-93   L4/2.4L     Ex Wagon, US                              435           51                      —
1994-92   L4/1.8L     Wagon, US                                 350           25                      —
1994-92   L4/2.4L     Wagon, US                                 490           24                      —
1992-91   L4/1.5L     Ex Wagon                                  355           25                      —
1992-91   L4/1.5L     Opt                                       430           25                      —
1992-90   L4/1.5L     Can                                       420           25                      —
                                                                      See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                     Costco_001703
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   Automotive/Light Truck                                                                                                                     61
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE                ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)                     (NOTES)

   Eagle Summit (continued)
   1992      L4/1.5L      Wagon, Can                                               580           24                       —
   1992      L4/1.8L      Can                                                      420           25                       —
   1992      L4/1.8L      Opt                                                      430           25                       —
   1992      L4/1.8L      Wagon, Can                                               580           24                       —
   1992      L4/2.4L      Can                                                      420           25                       —
   1992      L4/2.4L      Ex Wagon                                                 355           25                       —
   1992      L4/2.4L      Opt                                                      430           25                       —
   1992      L4/2.4L      Wagon, Can                                               580           24                       —
   1990      L4/1.5L      US                                                       355           25                       —
   1990      L4/1.6L      Can                                                      420           25                       —
   1990      L4/1.6L      US                                                       435           51                       —
   Eagle Talon
   1998-95   L4/2.0L      AT                                                       525           86                       —
   1998-95   L4/2.0L      MT                                                       430           86                       —
   1998      L4/2.0L      Turbo                                                    525           86                       —
   1997-95   L4/2.0L      Turbo, AT                                                525           86                       —
   1994-93   L4/1.8L      Can, w/AT                                                525           86                       —
   1994-93   L4/1.8L      Can, w/MT                                                430           86                       —
   1994-90   L4/2.0L      Can or Turbo                                             525           86                       —
   1994-90   L4/2.0L      US                                                       430           86                       —
   1993      L4/1.8L      US                                                       430           86                       —
   Eagle Vision
   1997-95   V6/3.3L                                                               600           34                       —
   1997-95   V6/3.5L                                                               600           34                       —
   1994-93   V6/3.3L                                                               500           34                       —
   1994-93   V6/3.5L                                                               500           34                       —
   Eagle Vista
   1992-90 L4/1.5L                                                                 420           25                       —
   1991-90 L4/2.0L                                                                 420           25                       —
   Ferrari 348 GTB
   1994-93 V8/3.4L                                                                 N/A           —                        —
   Ferrari 348 GTS
   1994-93 V8/3.4L                                                                 N/A           —                        —
   Ferrari 348 Spider
   1995-93 V8/3.4L                                                                 N/A           —                        —
   Ferrari 348 tb
   1992-90 V8/3.4L                                                                 N/A           —                        —
   Ferrari 348 ts
   1992-89 V8/3.4L                                                                 N/A           —                        —
   Ferrari 360
   2005-00 V8/3.6L                                                                 570           —                        —
   Ferrari 458 Italia
   2015-10 V8/4.5L                                                                 760           H6 (48) AGM 33, 50, 54   — 33, 50, 54
   Ferrari 458 Speciale
   2015      V8/4.5L                                                               760           H6 (48) AGM 33, 50, 54   — 33, 50, 54
   Ferrari 458 Spider
   2015-12 V8/4.5L                                                                 760           H6 (48) AGM 33, 50, 54   — 33, 50, 54
   Ferrari 488 GTB
   2019-18 V8/3.9L                                                                 760           H6 (48) AGM 33, 50, 54   — 33, 50, 54
   2017-16 V8/3.9L                                                                 760           H6 (48) AGM 33, 50, 54   — 33, 50, 54
   Ferrari 488 Spider
   2017-16 V8/3.9L                                                                 760           H6 (48) AGM 33, 50, 54   — 33, 50, 54
   Ferrari 575M Maranello
   2005      V12/5.7L                                                              680           —                        —
   Ferrari 599 GTB
   2009-07 V12/6.0L                                                                800           —                        —
   Ferrari 612 Scaglietti
   2010-05 V12/5.7L                                                                850           —                        —
   2008    V12/5.7L                                                                850           —                        —
   2006    V12/5.7L                                                                850           —                        —
   Ferrari California
   2014-13 V8/4.3L                                                                 850           —                        —
   2012    V8/4.3L                                                                 850           —                        —
   2011-09 V8/4.3L                                                                 850           —                        —
   Ferrari F430
   2009-06 V8/4.3L                                                                 760           —                        —
   See page 151 for Footnotes. Selection may vary by warehouse.

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62                                                           Automotive/Light Truck
  YEAR      ENGINE                                 OPTIONS        ORIGINAL EQUIPMENT             GROUP SIZE              ALTERNATE SIZE
                                                                      CCA/RATING                  (NOTES)                   (NOTES)

Ferrari Mondial t
1990      V8/3.4L                                                        700           —                        —
Ferrari Superamerica
2005      V12/5.7L                                                       850           —                        —
Ferrari Testarossa
1990      H12/4.9L                                                       700           —                        —
Fiat 124 Spider
2017      L4/1.4L                                                        600           H6 (48)                  H6 (48) AGM
Fiat 500
2019                 Electric, US                                        500           H5 (47)                  H5 (47) AGM
2019    L4/1.4L      Can                                                 650           —                        H5 (47) AGM
2019    L4/1.4L      US                                                  500           H5 (47)                  H5 (47) AGM
2019                 Electric, Can                                       650           —                        H5 (47) AGM
2018-12 L4/1.4L                                                          500           H5 (47)                  H5 (47) AGM
Fiat 500L
2017-14 L4/1.4L                                                          500           H5 (47)                  H5 (47) AGM
Fiat 500X
2016      L4/1.4L                                                        500           H5 (47)                  H5 (47) AGM
2016      L4/2.4L                                                        600           H6 (48)                  H6 (48) AGM
Ford Aerostar
1997-90 V6/4.0L                                                          650           65                       65 AGM
1997-89 V6/3.0L      From 10/1/1988                                      650           65                       65 AGM
Ford Aspire
1997-94 L4/1.3L                                                          460           35                       35 AGM
Ford Bronco
1996-90 V8/5.0L                                                          650           65                       65 AGM
1996-90 V8/5.8L                                                          650           65                       65 AGM
1992-90 L6/4.9L                                                          650           65                       65 AGM
Ford Bronco II
1990      V6/2.9L                                                        650           65                       65 AGM
Ford C-Max
2018-13 L4/2.0L      Hybrid                                              390           —                        —
Ford Contour
2000-98   L4/2.0L                                                        590           40R                      —
2000-98   V6/2.5L                                                        590           40R                      —
1997-95   L4/2.0L                                                        590           96R                      —
1997-95   L4/2.0L    Opt                                                 650           —                        —
1997-95   V6/2.5L                                                        650           —                        —
Ford Crown Victoria
2011-09   V8/4.6L    Opt                                                 750           65                      65 AGM
2011-07   V8/4.6L                                                        650           65                      65 AGM
2006-98   V8/4.6L    PPkg                                                750           65                      65 AGM
2006-98   V8/4.6L    US                                                  650           65                      65 AGM
2006-92   V8/4.6L    Can & Opt                                           750           65                      65 AGM
2003      V8/4.6L    Can or Opt                                          750           65                      65 AGM
1997-96   V8/4.6L    Natural Gas                                         850           65                      —
1997-92   V8/4.6L    w/HWS or PPkg                                       850           65                      —
1997      V8/4.6L    US                                                  540           59                      —
1996      V8/4.6L    Early                                               540           58                      —
1996      V8/4.6L    Late                                                540           59                      —
1995-92   V8/4.6L    US                                                  540           58                      —
Ford Country Squire
1991-90 V8/5.0L      Opt                                                 650           65                       65 AGM
1991-90 V8/5.0L                                                          540           58                       —
Ford EcoSport
2020-18 L3/1.0L                                                          760           H6 (48) AGM 33           — 33
2020-18 L4/2.0L                                                          760           H6 (48) AGM 33           — 33
Ford Edge
2020-19   L4/2.0L                                                        760        H6 (48) AGM 33              — 33
2020-19   V6/2.7L                                                        760        H6 (48) AGM 33              — 33
2018-15   L4/2.0L    w/o Start/Stop                                      590        90 (T5)                     —
2018-15   L4/2.0L    w/Start/Stop                                        760        H6 (48) AGM 33              — 33
2018-15   V6/2.7L                                                        590        90 (T5)                     —
2018-15   V6/3.5L                                                        590        90 (T5)                     —
2017-15   L4/2.0L                                                        590        90 (T5)                     —
2017-15   L4/2.0L    w/Start/Stop                                        760        H6 (48) AGM 33              — 33
2014-12   L4/2.0L    w/o Power Code Remote Start                         540        59                          —
2014-12   L4/2.0L    w/Power Code Remote Start                           650        65                          65 AGM
2014-11   V6/3.5L    w/o Power Code Remote Start                         540        59                          —
                                                                               See page 151 for Footnotes. Selection may vary by warehouse.

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                                                                                 Ford
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   Automotive/Light Truck                                                                                                               63
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT           GROUP SIZE            ALTERNATE SIZE
                                                                                CCA/RATING                (NOTES)                 (NOTES)

   Ford Edge (continued)
   2014-11   V6/3.5L      w/Power Code Remote Start                                650           65                   65 AGM
   2014-11   V6/3.7L      w/o Power Code Remote Start                              540           59                   —
   2014-11   V6/3.7L      w/Power Code Remote Start                                650           65                   65 AGM
   2010      V6/3.5L                                                               650           36R                  —
   2009      V6/3.5L                                                               540           36R                  —
   2009      V6/3.5L      Opt                                                      600           36R                  —
   2008      V6/3.5L                                                               600           36R                  —
   2007      V6/3.5L                                                               580           36R                  —
   Ford Escape
   2020      L3/1.5L                                                               700           —                    —
   2020      L4/2.0L                                                               700           —                    —
   2020      L4/2.5L      Hybrid                                                   470           —                    —
   2019      L4/1.5L                                                               760           H6 (48) AGM 33       — 33
   2019      L4/2.0L                                                               760           H6 (48) AGM 33       — 33
   2019-11   L4/2.5L                                                               590           96R                  —
   2018-17   L4/1.5L      w/o Start/Stop/Intelligent access                        590           96R                  —
   2018-17   L4/1.5L      w/Start/Stop/Intelligent access                          760           H6 (48) AGM 33       — 33
   2018-17   L4/2.0L      w/o Start/Stop/Intelligent access                        590           96R                  —
   2018-17   L4/2.0L      w/Start/Stop/Intelligent access                          760           H6 (48) AGM 33       — 33
   2016-15   L4/1.6L                                                               590           96R                  —
   2016-15   L4/2.0L                                                               590           96R                  —
   2014-13   L4/1.6L                                                               500           96R                  —
   2014-13   L4/1.6L      Opt                                                      590           96R                  —
   2014-13   L4/2.0L      Opt                                                      590           96R                  —
   2014-13   L4/2.5L                                                               500           96R                  —
   2014-13   L4/2.5L      Opt                                                      590           96R                  —
   2014-01   L4/2.0L                                                               500           96R                  —
   2012-11   V6/3.0L                                                               590           96R                  —
   2012-09   L4/2.5L      Hybrid                                                   500           96R                  —
   2010-09   L4/2.5L      Ex Hybrid                                                590           40R                  —
   2010      L4/2.5L      Gas                                                      650           —                    —
   2010      L4/2.5L      Gas, Opt                                                 590           96R                  —
   2010      V6/3.0L                                                               650           —                    —
   2010      V6/3.0L      Opt                                                      590           96R                  —
   2009-01   V6/3.0L                                                               590           40R                  —
   2008-05   L4/2.3L      Ex Hybrid                                                590           40R                  —
   2008-05   L4/2.3L      Hybrid                                                   500           96R                  —
   Ford Escort
   2003-98   L4/2.0L                                                               500           58                   —
   1997      L4/2.0L                                                               540           58                   —
   1996-95   L4/1.8L                                                               540           35                   35 AGM
   1996-91   L4/1.9L                                                               460           35                   35 AGM
   1994-91   L4/1.8L                                                               460           35                   35 AGM
   1990-87   L4/1.9L      HD or w/MFI                                              540           58                   —
   1990      L4/1.9L      w/CFI                                                    460           58                   —
   Ford E-Series Vans
   2019-17   V10/6.8L     Aux Bat                                                  750           —                    65 AGM
   2019-17   V8/6.2L      Aux Bat                                                  750           —                    65 AGM
   2019-17   V8/6.2L      Primary Bat                                              650           65                   65 AGM
   2019-03   V10/6.8L     Primary Bat                                              650           65                   65 AGM
   2016-07   V10/6.8L     Aux Bat                                                  750           — 31                 65 AGM 31
   2016-07   V8/5.4L      Aux Bat                                                  750           — 31                 65 AGM 31
   2016-97   V8/5.4L      Primary Bat                                              650           65                   65 AGM
   2014-07   V8/4.6L      Aux Bat                                                  750           — 31                 65 AGM 31
   2014-03   V10/6.8L                                                              650           65                   65 AGM
   2014-03   V8/4.6L                                                               650           65                   65 AGM
   2014-00   V8/5.4L                                                               650           65                   65 AGM
   2010-04   V8/6.0L      Dsl                                                      750           65 2                 65 AGM 2
   2008-07   V8/5.4L                                                               650           65 2                 65 AGM 2
   2006-97   V10/6.8L     Aux Bat                                                  625           — 31                 65 AGM 31
   2006-97   V8/4.6L      Aux Bat                                                  625           — 31                 65 AGM 31
   2006-97   V8/5.4L      Aux Bat                                                  625           — 31                 65 AGM 31
   2003-97   V6/4.2L                                                               650           65                   65 AGM
   2003-97   V6/4.2L      Aux Bat                                                  625           — 31                 65 AGM 31
   2003-97   V8/7.3L      Dsl                                                      750           65 2                 65 AGM 2
   2002-99   V10/6.8L     Aux Bat                                                  650           — 31                 65 AGM 31
   2002-99   V10/6.8L     Primary Bat                                              750           65                   65 AGM
   2002-97   V10/6.8L                                                              750           65                   65 AGM
   2002-97   V6/4.2L      Opt                                                      750           65                   65 AGM
   2002-97   V8/4.6L      Opt                                                      750           65                   65 AGM
   2002-97   V8/5.4L      Opt                                                      750           65                   65 AGM
   2002      V8/4.6L      Aux, HD                                                  650           — 31                 65 AGM 31
   2002      V8/5.4L                                                               650           — 31                 65 AGM 31
   See page 151 for Footnotes. Selection may vary by warehouse.

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64                                                           Automotive/Light Truck
  YEAR      ENGINE                                 OPTIONS        ORIGINAL EQUIPMENT           GROUP SIZE                ALTERNATE SIZE
                                                                      CCA/RATING                (NOTES)                     (NOTES)

Ford E-Series Vans (continued)
2002      V8/5.4L    Aux Bat                                             650           — 31                    65 AGM 31
2001-97   V8/4.6L    Primary Bat                                         650           65                      65 AGM
1996-95   V8/5.0L                                                        650           65                      65 AGM
1996-95   V8/5.0L                                                        850           65                      —
1996-95   V8/5.0L    Primary Bat                                         850           65                      —
1996-92   L6/4.9L                                                        650           65                      65 AGM
1996-92   L6/4.9L    Aux Bat                                             500           —                       —
1996-92   L6/4.9L    Opt                                                 850           65                      —
1996-92   L6/4.9L    Primary Bat                                         650           65                      65 AGM
1996-92   V8/5.0L    Aux Bat                                             500           —                       —
1996-92   V8/5.0L    Primary Bat                                         650           65                      65 AGM
1996-92   V8/5.8L                                                        650           65                      65 AGM
1996-92   V8/5.8L    Aux Bat                                             500           —                       —
1996-92   V8/5.8L    Opt                                                 850           65                      —
1996-92   V8/7.3L    Dsl, Lft Side                                       850           65                      —
1996-92   V8/7.3L    Dsl, Rt Side                                        600           —                       —
1996-92   V8/7.5L    Aux Bat                                             500           —                       —
1996-92   V8/7.5L    Gas                                                 650           65                      65 AGM
1996-92   V8/7.5L    Opt                                                 850           65                      —
1994-92   V8/5.0L    Opt                                                 850           65                      —
1991-90   L6/4.9L    Aux Bat                                             350           24F                     24F AGM
1991-90   L6/4.9L    Gas                                                 535           —                       —
1991-90   V8/5.0L    Aux Bat                                             350           24F                     24F AGM
1991-90   V8/5.0L    Gas                                                 535           —                       —
1991-90   V8/5.8L    Aux Bat                                             350           24F                     24F AGM
1991-90   V8/5.8L    Gas                                                 535           —                       —
1991-90   V8/7.3L    Dsl                                                 700           27 2                    —2
1991-90   V8/7.5L    Aux Bat                                             350           24F                     24F AGM
1991-90   V8/7.5L    Gas                                                 535           —                       —
1991-89   L6/4.9L    Primary Bat                                         535           —                       —
1991-86   L6/4.9L                                                        535           —                       —
Ford Excursion
2005-03   V8/6.0L    Dsl                                                 750           65 2                     65 AGM 2
2005-00   V10/6.8L                                                       750           65                       65 AGM
2005-00   V8/5.4L                                                        750           65                       65 AGM
2003-00   V8/7.3L    Dsl                                                 750           65 2                     65 AGM 2
Ford Expedition
2020-18   V6/3.5L                                                        800           H7 (94R) AGM 33          — 33
2017-16   V6/3.5L    w/Intelligent Access                                750           65                       65 AGM
2017-16   V6/3.5L    w/o Intelligent Access                              650           65                       65 AGM
2015      V6/3.5L                                                        650           65                       65 AGM
2015      V6/3.5L    Opt                                                 750           65                       65 AGM
2014-07   V8/5.4L    Opt                                                 750           65                       65 AGM
2014-97   V8/5.4L                                                        650           65                       65 AGM
2004-97   V8/4.6L                                                        650           65                       65 AGM
2001-97   V8/4.6L    Opt                                                 750           65                       65 AGM
2001-97   V8/5.4L    Opt                                                 750           65                       65 AGM
Ford Explorer
2020      L4/2.3L                                                        760           H6 (48) AGM 33           — 33
2020      V6/3.0L                                                        760           H6 (48) AGM 33           — 33
2020      V6/3.3L    Hybrid                                              760           H6 (48) AGM 33           — 33
2019-16   L4/2.3L    w/Intelligent Access                                650           65                       65 AGM
2019-16   L4/2.3L    w/o Intelligent Access                              540           59                       —
2019-15   V6/3.5L    w/Intelligent Access                                650           65                       65 AGM
2019-15   V6/3.5L    w/o Intelligent Access                              540           59                       —
2017-14   V6/3.5L    PPkg Version                                        750           65                       65 AGM
2015      L4/2.0L    w/Intelligent Access                                650           65                       65 AGM
2015      L4/2.0L    w/o Intelligent Access                              540           59                       —
2014-11   V6/3.5L                                                        650           65                       65 AGM
2014      L4/2.0L    w/o Power Code Remote Start                         540           59                       —
2014      L4/2.0L    w/Power Code Remote Start                           650           65                       65 AGM
2014      V6/3.5L    w/o Power Code Remote Start                         540           59                       —
2014      V6/3.5L    w/Power Code Remote Start                           650           65                       65 AGM
2013-12   L4/2.0L                                                        650           65                       65 AGM
2010-02   V8/4.6L                                                        650           65                       65 AGM
2010-91   V6/4.0L                                                        650           65                       65 AGM
2006      V6/4.0L    Opt                                                 750           65                       65 AGM
2006      V8/4.6L    Opt                                                 750           65                       65 AGM
2001-96   V8/5.0L                                                        650           65                       65 AGM
Ford Explorer Sport Trac
2010-07 V6/4.0L                                                          650           65                       65 AGM
2010-07 V8/4.6L                                                          650           65                       65 AGM
2005-01 V6/4.0L                                                          650           65                       65 AGM
                                                                               See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                               65
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT           GROUP SIZE            ALTERNATE SIZE
                                                                                CCA/RATING                (NOTES)                 (NOTES)

   Ford F-150, F-150 Heritage
   2020-18   V6/3.0L      Dsl                                                      850           H8 (49) AGM 33       — 33
   2020-18   V6/3.3L      Ex King Ranch, Lariat, Platinum                          760           H6 (48) AGM 33       — 33
   2020-18   V6/3.3L      King Ranch, Lariat, Platinum                             800           H7 (94R) AGM 33      — 33
   2020-18   V6/3.5L      Ex King Ranch, Lariat, Platinum                          760           H6 (48) AGM 33       — 33
   2020-18   V6/3.5L      King Ranch, Lariat, Platinum                             800           H7 (94R) AGM 33      — 33
   2020-18   V8/5.0L      Ex King Ranch, Lariat, Platinum                          760           H6 (48) AGM 33       — 33
   2020-18   V8/5.0L      King Ranch, Lariat, Platinum                             800           H7 (94R) AGM 33      — 33
   2020-17   V6/2.7L      King Ranch, Lariat, Platinum                             800           H7 (94R) AGM 33      — 33
   2020-15   V6/2.7L      Ex King Ranch, Lariat, Platinum                          760           H6 (48) AGM 33       — 33
   2017-15   V6/3.5L      Ex King Ranch, Lariat, Platinum                          610           H6 (48)              H6 (48) AGM
   2017-15   V6/3.5L      King Ranch, Lariat, Platinum                             730           H7 (94R)             H7 (94R) AGM
   2017-15   V8/5.0L      Ex King Ranch, Lariat, Platinum                          610           H6 (48)              H6 (48) AGM
   2017-15   V8/5.0L      King Ranch, Lariat, Platinum                             730           H7 (94R)             H7 (94R) AGM
   2015      V6/2.7L      King Ranch, Lariat, Platinum                             800           H7 (94R) AGM 33      — 33
   2014-11   V6/3.5L                                                               750           65                   65 AGM
   2014-11   V6/3.7L                                                               750           65                   65 AGM
   2014-11   V8/5.0L                                                               750           65                   65 AGM
   2014-10   V8/6.2L                                                               750           65                   65 AGM
   2010-07   V8/4.6L      Opt                                                      650           65                   65 AGM
   2010-07   V8/5.4L      Opt                                                      650           65                   65 AGM
   2010-97   V8/4.6L                                                               540           59                   —
   2010-97   V8/5.4L                                                               540           59                   —
   2008-07   V6/4.2L      Opt                                                      650           65                   65 AGM
   2008-97   V6/4.2L                                                               540           59                   —
   2006-97   V6/4.2L      HD, Can                                                  650           65                   65 AGM
   2006-97   V8/4.6L      HD, Can                                                  650           65                   65 AGM
   2006-97   V8/5.4L      HD, Can                                                  650           65                   65 AGM
   1996-90   L6/4.9L      Opt                                                      850           65                   —
   1996-87   L6/4.9L                                                               650           65                   65 AGM
   1996-87   V8/5.0L                                                               650           65                   65 AGM
   1996-87   V8/5.0L      Opt                                                      850           65                   —
   1996-87   V8/5.8L                                                               650           65                   65 AGM
   1996-87   V8/5.8L      Opt                                                      850           65                   —
   Ford F-250 HD
   1997      V8/5.8L                                                               540           59                   —
   1997      V8/5.8L      Opt                                                      750           65                   65 AGM
   1997      V8/7.3L      Dsl                                                      750           65 2                 65 AGM 2
   1997      V8/7.5L                                                               540           59                   —
   1997      V8/7.5L      Opt                                                      750           65                   65 AGM
   Ford F-250 Super Duty
   2020      V8/7.3L                                                               750           65                   65 AGM
   Ford F-250, F-250 Super Duty
   2020-17 V8/6.2L       Ex XL                                                     750           65                   65 AGM
   2020-17 V8/6.2L       XL                                                        650           65                   65 AGM
   2020-11 V8/6.7L       Dsl                                                       750           65 2                 65 AGM 2
   2016-11 V8/6.2L                                                                 650           65                   65 AGM
   2016-11 V8/6.2L       Opt                                                       750           65                   65 AGM
   2010-08 V8/5.4L       HD, Over 8500 lb. GVW                                     750           65                   65 AGM
   2010-08 V8/6.4L                                                                 750           65 2                 65 AGM 2
   2010-00 V8/5.4L                                                                 650           65                   65 AGM
   2010-99 V10/6.8L                                                                650           65                   65 AGM
   2010-99 V10/6.8L Opt                                                            750           65                   65 AGM
   2010      V8/6.4L     Dsl                                                       750           65 2                 65 AGM 2
   2007-99 V8/5.4L       Opt                                                       750           65                   65 AGM
   2007      V8/6.0L     Dsl                                                       650           65 2                 65 AGM 2
   2006-03 V8/6.0L       Dsl                                                       750           65 2                 65 AGM 2
   2003-99 V8/7.3L       Dsl                                                       750           65 2                 65 AGM 2
   1999-97 V8/4.6L       Opt                                                       650           65                   65 AGM
   1999-97 V8/4.6L       Opt over 8500 lb.                                         650           65                   65 AGM
   1999-97 V8/4.6L       Under 8500 lb. GVW                                        540           59                   —
   1999-97 V8/5.4L       HD, Over 8500 lb. GVW                                     750           65                   65 AGM
   1999-97 V8/5.4L       Over 8500 lb. GVW                                         650           65                   65 AGM
   1999-97 V8/5.4L       Under 8500 lb. GVW                                        540           59                   —
   1996-88 V8/7.3L       Dsl                                                       850           65 2                 —2
   1996-87 L6/4.9L                                                                 650           65                   65 AGM
   1996-87 L6/4.9L       Opt                                                       850           65                   —
   1996-87 V8/5.0L                                                                 650           65                   65 AGM
   1996-87 V8/5.0L       Opt                                                       850           65                   —
   1996-87 V8/5.8L                                                                 650           65                   65 AGM
   1996-87 V8/5.8L       Opt                                                       850           65                   —
   1996-87 V8/7.5L                                                                 650           65                   65 AGM
   1996-87 V8/7.5L       Opt                                                       850           65                   —
   See page 151 for Footnotes. Selection may vary by warehouse.

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66                                                                  Automotive/Light Truck
  YEAR       ENGINE                                       OPTIONS        ORIGINAL EQUIPMENT           GROUP SIZE                ALTERNATE SIZE
                                                                             CCA/RATING                (NOTES)                     (NOTES)

Ford F-350 Super Duty
2020      V8/7.3L                                                               750           65                       65 AGM
Ford F-350, F-350 Super Duty
2020-17   V8/6.2L     Ex XL                                                     750           65                       65 AGM
2020-17   V8/6.2L     XL                                                        650           65                       65 AGM
2020-11   V8/6.7L     Dsl                                                       750           65 2                     65 AGM 2
2016-11   V8/6.2L                                                               650           65                       65 AGM
2016-11   V8/6.2L     Opt                                                       750           65                       65 AGM
2010-08   V8/6.4L     Dsl                                                       750           65 2                     65 AGM 2
2010-99   V10/6.8L                                                              650           65                       65 AGM
2010-99   V10/6.8L    Opt                                                       750           65                       65 AGM
2010-99   V8/5.4L                                                               650           65                       65 AGM
2010-99   V8/5.4L     Opt                                                       750           65                       65 AGM
2007      V8/6.0L     Dsl                                                       650           65 2                     65 AGM 2
2006-03   V8/6.0L     Dsl                                                       750           65 2                     65 AGM 2
2003-97   V8/7.3L     Dsl                                                       750           65 2                     65 AGM 2
1997      V8/5.8L                                                               540           59                       —
1997      V8/5.8L     Opt                                                       750           65                       65 AGM
1997      V8/7.5L                                                               540           59                       —
1997      V8/7.5L     Opt                                                       750           65                       65 AGM
1996-88   V8/7.3L     Dsl                                                       850           65 2                     —2
1996-87   L6/4.9L                                                               650           65                       65 AGM
1996-87   L6/4.9L     Opt                                                       850           65                       —
1996-87   V8/5.8L                                                               650           65                       65 AGM
1996-87   V8/5.8L     Opt                                                       850           65                       —
1996-87   V8/7.5L                                                               650           65                       65 AGM
1996-87   V8/7.5L     Opt                                                       850           65                       —
Ford Festiva
1993-88 L4/1.3L                                                                 390           35                       35 AGM
Ford Fiesta
2019-11   L4/1.6L                                                               500           96R                      —
2017-14   L3/1.0L                                                               500           96R                      —
2017-14   L3/1.0L     Opt                                                       590           96R                      —
2017-14   L4/1.6L     Opt                                                       590           96R                      —
Ford Five Hundred
2007-05 V6/3.0L                                                                 540           36R                      —
2006-05 V6/3.0L       Opt                                                       600           36R                      —
Ford Flex
2019-15   V6/3.5L     Ex Ecoboost                                               650           65                       65 AGM
2019-10   V6/3.5L     w/Ecoboost                                                750           65                       65 AGM
2014-10   V6/3.5L     w/o Ecoboost                                              650           65                       65 AGM
2009      V6/3.5L                                                               750           65                       65 AGM
Ford Focus
2018-16   L4/2.0L     AT                                                        590           96R                      —
2018-16   L4/2.3L                                                               760           H6 (48) AGM 33           — 33
2018-15   L3/1.0L                                                               760           H6 (48) AGM 33           — 33
2018-15   L4/2.0L     MT                                                        500           96R                      —
2018                  Electric                                                  390           —                        —
2017-16   L4/2.3L     Automatic Dual Clutch                                     590           96R                      —
2017-16   L4/2.3L     MT                                                        500           96R                      —
2017-15   L4/2.0L     Automatic Dual Clutch                                     590           96R                      —
2017-12               Electric                                                  390           —                        —
2014-13   L4/2.0L     w/Ecoboost                                                590           96R                      —
2014-13   L4/2.0L     w/o Ecoboost                                              500           96R                      —
2012      L4/2.0L     Automatic Dual Clutch                                     590           96R                      —
2012      L4/2.0L     MT                                                        500           96R                      —
2011-05   L4/2.0L                                                               500           96R                      —
2007-05   L4/2.0L     Immersion Heater or Premium Radio                         590           40R                      —
2007-05   L4/2.3L     Immersion Heater or Premium Radio                         590           40R                      —
2007-03   L4/2.3L                                                               500           96R                      —
2004-03   L4/2.0L     Ex Zetec                                                  590           40R                      —
2004-03   L4/2.0L     Zetec                                                     500           96R                      —
2002-00   L4/2.0L     Ex Zetec                                                  500           96R                      —
2002-00   L4/2.0L     Zetec                                                     590           40R                      —
Ford Freestar
2007-04   V6/3.9L                                                               540        59                          —
2007-04   V6/3.9L     Opt                                                       650        65                          65 AGM
2007-04   V6/4.2L                                                               540        59                          —
2007-04   V6/4.2L     Opt                                                       650        65                          65 AGM
                                                                                      See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                               67
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT           GROUP SIZE            ALTERNATE SIZE
                                                                                CCA/RATING                (NOTES)                 (NOTES)

   Ford Freestyle
   2007-05 V6/3.0L                                                                 540           36R                  —
   2006-05 V6/3.0L        Opt                                                      600           36R                  —
   Ford Fusion
   2020-18   L4/1.5L                                                               760           H6 (48) AGM 33       — 33
   2020-18   L4/2.0L      Gas w/Intelligent Access                                 590           90 (T5)              —
   2020-18   L4/2.0L      Gas w/Start/Stop                                         760           H6 (48) AGM 33       — 33
   2020-18   L4/2.5L                                                               590           90 (T5)              —
   2019-18   V6/2.7L                                                               590           90 (T5)              —
   2020-18   L4/2.0L      Hybrid                                                   590           90 (T5)              —
   2017-15   L4/1.5L      w/Intelligent Access                                     590           90 (T5)              —
   2017-15   L4/1.5L      w/o Intelligent Access                                   500           90 (T5)              —
   2017-15   L4/2.5L      w/Intelligent Access                                     590           90 (T5)              —
   2017-15   L4/2.5L      w/o Intelligent Access                                   500           90 (T5)              —
   2017-14   L4/1.5L      w/Start/Stop                                             760           H6 (48) AGM 33       — 33
   2017      L4/1.5L      w/Start/Stop                                             760           H6 (48) AGM 33       — 33
   2017      L4/2.0L      Gas                                                      590           90 (T5)              —
   2017      L4/2.0L      Hybrid                                                   390           —                    —
   2017      L4/2.0L      US, Gas                                                  590           90 (T5)              —
   2017      V6/2.7L                                                               730           H7 (94R)             H7 (94R) AGM
   2016-15   L4/2.0L      w/Start/Stop                                             760           H6 (48) AGM 33       — 33
   2016-15   L4/2.5L      w/Start/Stop                                             760           H6 (48) AGM 33       — 33
   2016      L4/2.0L      Hybrid                                                   390           —                    —
   2016      L4/2.0L      w/Intelligent Access                                     590           90 (T5)              —
   2016      L4/2.0L      w/o Intelligent Access                                   500           90 (T5)              —
   2015-13   L4/2.0L      Hybrid                                                   390           —                    —
   2015      L4/2.0L      Gas                                                      590           90 (T5)              —
   2014-13   L4/1.6L      w/Start/Stop                                             760           H6 (48) AGM 33       — 33
   2014-13   L4/1.6L      w/o Power Code Remote Start                              500           90 (T5)              —
   2014-13   L4/1.6L      w/Power Code Remote Start                                590           90 (T5)              —
   2014-13   L4/2.0L      Gas                                                      500           90 (T5)              —
   2014-13   L4/2.0L      Gas, Opt                                                 590           90 (T5)              —
   2014-13   L4/2.5L      w/o Power Code Remote Start                              500           90 (T5)              —
   2014-13   L4/2.5L      w/Power Code Remote Start                                590           90 (T5)              —
   2014      L4/1.5L      w/o Power Code Remote Start                              500           90 (T5)              —
   2014      L4/1.5L      w/Power Code Remote Start                                590           90 (T5)              —
   2013      L4/1.6L                                                               500           96R                  —
   2013      L4/1.6L      Opt                                                      590           96R                  —
   2012-10   L4/2.5L                                                               500           96R                  —
   2012-10   L4/2.5L      Gas                                                      500           96R                  —
   2012-10   L4/2.5L      Hybrid                                                   390           —                    —
   2012-10   V6/3.5L                                                               500           96R                  —
   2012-07   V6/3.0L                                                               500           96R                  —
   2009-07   L4/2.3L                                                               500           96R                  —
   2006      L4/2.3L                                                               590           40R                  —
   2006      V6/3.0L                                                               590           40R                  —
   Ford Gran Torino
   1976-75   V8/5.8L                                                               N/A           26R                  —
   1976-75   V8/6.6L                                                               N/A           24F                  24F AGM
   1976-75   V8/7.5L                                                               N/A           24F                  24F AGM
   1974-72   V8/5.0L                                                               290           26R                  —
   1974      L6/4.1L                                                               290           26R                  —
   1974      V8/5.8L                                                               290           26R                  —
   1974      V8/6.6L                                                               455           24F                  24F AGM
   1974      V8/7.5L                                                               455           24F                  24F AGM
   1973-72   V8/6.6L                                                               475           24F                  24F AGM
   1973-72   V8/7.0L                                                               475           24F                  24F AGM
   1973      L6/4.1L                                                               440           26R                  —
   1973      V8/5.0L      Opt                                                      475           24F                  24F AGM
   1973      V8/5.8L                                                               350           24F                  24F AGM
   1972      L6/4.1L                                                               290           26R                  —
   1972      V8/5.8L                                                               475           24F                  24F AGM
   Ford GT
   2006-05 V8/5.4L                                                                 720           —                    —
   Ford LTD Crown Victoria
   1991-90 V8/5.8L       Opt                                                       650           65                   65 AGM
   1991-88 V8/5.0L       w/HWS or PPkg                                             850           65                   —
   1991-88 V8/5.8L                                                                 540           58                   —
   1991-88 V8/5.8L       w/HWS or PPkg                                             850           65                   —
   1991-87 V8/5.0L                                                                 540           58                   —
   1991-87 V8/5.0L       Opt                                                       650           65                   65 AGM
   See page 151 for Footnotes. Selection may vary by warehouse.

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68                                                      Automotive/Light Truck
  YEAR      ENGINE                            OPTIONS        ORIGINAL EQUIPMENT           GROUP SIZE                ALTERNATE SIZE
                                                                 CCA/RATING                (NOTES)                     (NOTES)

Ford Mustang
2020-19   V8/5.2L                                                   390           —                        —
2020-15   L4/2.3L                                                   590           96R                      —
2020-15   V8/5.0L                                                   590           96R                      —
2018-17   V8/5.2L                                                   390           —                        —
2017-11   V6/3.7L                                                   590           96R                      —
2016-15   V8/5.2L                                                   390           —                        —
2016-15   V8/5.2L    Cold Climate                                   590           96R                      —
2014-13   V8/5.8L                                                   590           96R                      —
2014-12   V8/5.0L    Boss Pkg                                       500           96R                      —
2014-12   V8/5.0L    Ex Boss Pkg                                    590           96R                      —
2012-10   V8/5.4L                                                   590           96R                      —
2011      V8/5.0L                                                   590           96R                      —
2010-08   V8/4.6L                                                   500           96R                      —
2010-07   V8/5.4L                                                   590           40R                      —
2010-05   V6/4.0L                                                   500           96R                      —
2009-08   V6/4.0L    HD, High Elect Content                         590           40R                      —
2009-08   V8/4.6L    HD, High Elect Content                         590           40R                      —
2007      V8/4.6L                                                   590           40R                      —
2006-05   V6/4.0L    Opt                                            590           40R                      —
2006-05   V8/4.6L                                                   500           96R                      —
2006-05   V8/4.6L    Opt                                            590           40R                      —
2004-97   V6/3.8L                                                   540           59                       —
2004-97   V8/4.6L                                                   540           59                       —
2004      V6/3.9L                                                   540           59                       —
2000      V8/5.4L                                                   540           59                       —
1996      V6/3.8L    Early                                          540           58                       —
1996      V6/3.8L    Late                                           540           59                       —
1996      V8/4.6L    Early                                          540           58                       —
1996      V8/4.6L    Late                                           540           59                       —
1995-94   V6/3.8L                                                   540           58                       —
1995-87   V8/5.0L                                                   540           58                       —
1995      V8/5.8L                                                   540           58                       —
1993-89   L4/2.3L    HD w/AT                                        540           58                       —
1993-87   L4/2.3L    MT                                             460           58                       —
Ford Police Interceptor Sedan
2019-15   V6/3.7L                                                   750           65                       65 AGM
2019-14   V6/3.5L                                                   750           65                       65 AGM
2014-13   V6/3.5L    w/Ecoboost                                     650           65                       65 AGM
2014-13   V6/3.7L                                                   540           59                       —
2014      V6/3.5L    Ex Ecoboost                                    540           59                       —
2013      V6/3.5L    w/o Ecoboost                                   540           59                       —
Ford Police Interceptor Utility
2020      V6/3.0L    Opt                                            850           H8 (49) AGM 33           — 33
2020      V6/3.3L    Gas/Hybrid Opt                                 850           H8 (49) AGM 33           — 33
2020      V6/3.0L                                                   730           H7 (94R)                 H7 (94R) AGM
2020      V6/3.3L    Hybrid                                         800           H7 (94R) AGM 33          — 33
2020      V6/3.3L    Gas                                            730           H7 (94R)                 H7 (94R) AGM
2019-15   V6/3.5L                                                   750           65                       65 AGM
2019-15   V6/3.7L                                                   750           65                       65 AGM
2014-13   V6/3.7L                                                   540           59                       —
2014      V6/3.5L    Ex Ecoboost                                    540           59                       —
2014      V6/3.5L    w/Ecoboost                                     650           65                       65 AGM
Ford Probe
1997-93   L4/2.0L                                                   580           —                        —
1997-93   V6/2.5L                                                   580           —                        —
1992-90   L4/2.2L                                                   505           —                        —
1992-90   V6/3.0L                                                   580           —                        —
Ford Ranger
2020-19   L4/2.3L                                                   610        H6 (48) AGM 33              — 33
2020-19   L4/2.3L    Opt                                            800        H7 (94R) AGM 33             — 33
2011-01   L4/2.3L                                                   540        59                          —
2011-97   V6/4.0L                                                   540        59                          —
2008-97   V6/3.0L                                                   540        59                          —
2001-98   L4/2.5L                                                   540        59                          —
1997-91   V6/3.0L    Opt                                            650        65                          65 AGM
1997-90   V6/4.0L    Opt                                            650        65                          65 AGM
1997-89   L4/2.3L    Opt                                            650        65                          65 AGM
1997      L4/2.3L                                                   540        59                          —
1996-91   V6/3.0L                                                   540        58                          —
1996-91   V6/4.0L                                                   650        65                          65 AGM
1996-89   L4/2.3L                                                   540        58                          —
                                                                          See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                             69
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT         GROUP SIZE            ALTERNATE SIZE
                                                                                CCA/RATING              (NOTES)                 (NOTES)

   Ford Ranger (continued)
   1992-89 V6/2.9L                                                                 540           58                 —
   1992-89 V6/2.9L        Opt                                                      650           65                 65 AGM
   1990    V6/4.0L                                                                 540           58                 —
   Ford Special Service Police Sedan
   2018-14 L4/2.0L                                                                 750           65                 65 AGM
   Ford Taurus, Taurus X
   2019-16   V6/3.5L      Duratec w/Intelligent Access                             650           65                 65 AGM
   2019-16   V6/3.5L      Duratec w/o Intelligent Access                           540           59                 —
   2019-16   V6/3.5L      Ecoboost                                                 650           65                 65 AGM
   2017-15   L4/2.0L      w/Intelligent Access                                     650           65                 65 AGM
   2017-15   L4/2.0L      w/o Intelligent Access                                   540           59                 —
   2016      V6/3.5L      w/Intelligent Access, Ecoboost                           650           65                 65 AGM
   2016      V6/3.5L      w/o Intelligent Access, Ecoboost                         540           59                 —
   2015      V6/3.5L      w/Intelligent Access, SHO                                650           65                 65 AGM
   2015      V6/3.5L      w/o Intelligent Access, Ex SHO                           540           59                 —
   2014-13   L4/2.0L      Ex SHO                                                   540           59                 —
   2014-13   V6/3.5L      PPkg                                                     750           65                 65 AGM
   2014-10   V6/3.5L      Ex SHO                                                   540           59                 —
   2014-10   V6/3.5L      SHO                                                      650           65                 65 AGM
   2009-08   V6/3.5L                                                               540           59                 —
   2007-06   V6/3.0L                                                               540           36R                —
   2006      V6/3.0L      Opt                                                      600           36R                —
   2005-00   V6/3.0L      HD & Can, DOHC                                           600           36R                —
   2005      V6/3.0L      OHV                                                      600           36R                —
   2004-01   V6/3.0L      HD, OHV                                                  600           36R                —
   2004-01   V6/3.0L      OHV                                                      540           36R                —
   2000-96   V6/3.0L      OHV                                                      540           —                  —
   1999-96   V8/3.4L      SHO                                                      650           36R                —
   1999      V6/3.0L      DOHC or HD                                               650           36R                —
   1998-96   V6/3.0L      HD & Can, DOHC                                           650           36R                —
   1995-93   V6/3.2L      SHO                                                      650           34                 —
   1995-93   V6/3.8L      HD or PPkg                                               850           65                 —
   1995-92   V6/3.0L      Ex SHO Opt                                               650           65                 65 AGM
   1995-92   V6/3.0L      Opt                                                      650           65                 65 AGM
   1995-92   V6/3.8L                                                               650           65                 65 AGM
   1995-91   V6/3.0L                                                               540           58                 —
   1995-90   V6/3.0L      Ex SHO                                                   540           58                 —
   1995-89   V6/3.0L      SHO                                                      650           34                 —
   1991-90   V6/3.8L      HD, w/HWS or PPkg                                        850           65                 —
   1991      L4/2.5L                                                               650           65                 65 AGM
   1991      V6/3.8L      Ex Wagon                                                 850           65                 —
   1991      V6/3.8L      Wagon                                                    650           65                 65 AGM
   1990-89   V6/3.8L                                                               850           65                 —
   1990-88   L4/2.5L      AT                                                       650           65                 65 AGM
   Ford Tempo
   1994-92   V6/3.0L                                                               460           58                 —
   1994-92   V6/3.0L      Opt                                                      540           58                 —
   1994      L4/2.3L                                                               540           58                 —
   1993-87   L4/2.3L      HD w/AT                                                  540           58                 —
   1993-87   L4/2.3L      MT                                                       460           58                 —
   Ford Thunderbird
   2005-02 V8/3.9L                                                                 650           —                  —
   1997-94 V8/4.6L                                                                 650           65                 65 AGM
   1997-93 V6/3.8L       Can & Opt                                                 650           65                 65 AGM
   1997      V6/3.8L                                                               540           59                 —
   1996      V6/3.8L     Early                                                     540           58                 —
   1996      V6/3.8L     Late                                                      540           59                 —
   1995-93 V6/3.8L       S/C, HD & Can                                             650           65                 65 AGM
   1995-91 V6/3.8L       S/C, w/MT                                                 540           58                 —
   1994-93 V6/3.8L       US                                                        540           58                 —
   1994-93 V6/3.8L       US, Opt or Can                                            650           65                 65 AGM
   1993-91 V8/5.0L                                                                 650           65                 65 AGM
   1992-91 V6/3.8L       HD, Ex S/C                                                540           58                 —
   1992-91 V6/3.8L       Naturally Aspirated                                       460           58                 —
   1992-91 V6/3.8L       S/C, Can, Cold Climate Pkg                                650           65                 65 AGM
   1992-91 V6/3.8L       S/C, HD                                                   650           65                 65 AGM
   1992-90 V6/3.8L       Can or Turbo                                              650           65                 65 AGM
   1992-90 V6/3.8L       US Ex SC                                                  460           58                 —
   1992-90 V6/3.8L       US Opt Ex SC                                              540           58                 —
   1990-89 V6/3.8L       S/C                                                       650           65                 65 AGM
   1990-89 V6/3.8L       US                                                        460           58                 —
   See page 151 for Footnotes. Selection may vary by warehouse.

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70                                              Automotive/Light Truck
  YEAR      ENGINE                    OPTIONS            ORIGINAL EQUIPMENT             GROUP SIZE                   ALTERNATE SIZE
                                                             CCA/RATING                  (NOTES)                        (NOTES)

Ford Thunderbird (continued)
1990-89   V6/3.8L    US, HD, Ex S/C                             540           58                      —
1958      V8/4.8L                                               350           27F                     —
1958      V8/5.4L                                               350           27F                     —
1958      V8/5.8L                                               350           27F                     —
Ford Torino
1976-75   V8/5.8L    Opt                                        455           24F                      24F AGM
1976-74   V8/6.6L                                               455           24F                      24F AGM
1974      L6/4.1L                                               455           24F                      24F AGM
1974      V8/5.0L                                               455           24F                      24F AGM
1974      V8/5.8L                                               455           24F                      24F AGM
1973      L6/4.1L    Opt                                        N/A           24F                      24F AGM
1973      V8/5.0L    Opt                                        N/A           24F                      24F AGM
1973      V8/5.8L                                               350           24F                      24F AGM
1973      V8/7.0L                                               440           24F                      24F AGM
1973      V8/7.5L                                               440           24F                      24F AGM
1972-69   L6/4.1L                                               290           26R                      —
1972-69   V8/5.0L                                               290           26R                      —
1972-69   V8/5.8L                                               475           24F                      24F AGM
1972-68   V8/7.0L                                               475           24F                      24F AGM
1972      V8/6.6L                                               475           24F                      24F AGM
1971-70   V8/7.0L                                               440           24F                      24F AGM
1971-69   V8/7.0L    Opt                                        450           27F                      —
1971      V8/5.8L    Opt                                        290           26R                      —
1970-68   V8/6.4L                                               475           24F                      24F AGM
1968      L6/3.3L                                               290           26R                      —
1968      V8/7.0L    Opt                                        435           27F                      —
Ford Transit Connect
2020-14 L4/2.5L                                                 590           40R                      —
2016-14 L4/1.6L                                                 590           40R                      —
2013-10 L4/2.0L                                                 590           96R                      —
2012                 Electric                                   500           96R                      —
Ford Transit-150
2019-17   L5/3.2L    Dsl                                        760           H6 (48) AGM 2, 33, 50    — 2, 33, 50
2020-17   V6/3.5L                                               610           H6 (48) 50               H6 (48) AGM 50
2019-17   V6/3.7L                                               610           H6 (48) 50               H6 (48) AGM 50
2016-15   L5/3.2L    Dsl                                        760           H6 (48) AGM 33           — 33
2016-15   V6/3.5L                                               610           H6 (48)                  H6 (48) AGM
2016-15   V6/3.7L                                               610           H6 (48)                  H6 (48) AGM
Ford Transit-250
2019-17   L5/3.2L    Dsl                                        760           H6 (48) AGM 2, 33, 50    — 2, 33, 50
2020-17   V6/3.5L                                               610           H6 (48) 50               H6 (48) AGM 50
2019-17   V6/3.7L                                               610           H6 (48) 50               H6 (48) AGM 50
2016-15   L5/3.2L    Dsl                                        760           H6 (48) AGM 33           — 33
2016-15   V6/3.5L                                               610           H6 (48)                  H6 (48) AGM
2016-15   V6/3.7L                                               610           H6 (48)                  H6 (48) AGM
Ford Transit-350
2020      L4/2.0L    Dsl                                        760           H6 (48) AGM 2, 33, 50    — 2, 33, 50
2020-17   V6/3.5L                                               610           H6 (48) 50               H6 (48) AGM 50
2019-17   V6/3.7L                                               610           H6 (48) 50               H6 (48) AGM 50
2016-15   L5/3.2L    Dsl                                        760           H6 (48) AGM 33           — 33
2016-15   V6/3.5L                                               610           H6 (48)                  H6 (48) AGM
2016-15   V6/3.7L                                               610           H6 (48)                  H6 (48) AGM
Ford Transit-350 HD
2019-15 L5/3.2L      Dsl                                        760           H6 (48) AGM 2, 33, 50    — 2, 33, 50
2019-15 V6/3.5L                                                 760           H6 (48) AGM 33, 50       — 33, 50
2019-15 V6/3.7L                                                 760           H6 (48) AGM 33, 50       — 33, 50
Ford Windstar
2003-97   V6/3.8L    TTPkg or HD                                750           65                       65 AGM
2003-95   V6/3.8L                                               650           65                       65 AGM
2000-97   V6/3.0L                                               540           59                       —
2000      V6/3.0L    Opt                                        750           65 48                    65 AGM 48
2000      V6/3.0L    TTPkg or HD                                750           65                       65 AGM
1999-97   V6/3.0L    TTPkg or HD                                650           65                       65 AGM
1996-95   V6/3.0L                                               540           58                       —
1996-95   V6/3.0L                                               850           65                       —
1996-95   V6/3.0L    TTPkg or HD                                540           58                       —
1996      V6/3.0L    TTPkg or HD                                850           65                       —
1996      V6/3.8L    Opt                                        750           65                       65 AGM
                                                                      See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                  71
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT            GROUP SIZE              ALTERNATE SIZE
                                                                                CCA/RATING                 (NOTES)                   (NOTES)

   Freightliner Sprinter (2500, 3500)
   2017-15   L4/2.1L      Aux, Dsl                                                10 Ah          —                     —
   2017-15   L4/2.1L      Dsl                                                      680           —                     —
   2017-15   L4/2.1L      Dsl, Opt                                                 760           H6 (48) AGM 33, 50    — 33, 50
   2017-15   L4/2.1L      Dsl, Opt                                                 760           — 50                  H8 (49) AGM 50
   2017-15   L4/2.1L      Dsl, Opt                                                 850           H8 (49) AGM 33, 50    — 33, 50
   2017-15   V6/3.0L      Aux, Dsl                                                10 Ah          —                     —
   2017-15   V6/3.0L      Dsl                                                      680           —                     —
   2017-15   V6/3.0L      Dsl, Opt                                                 760           H6 (48) AGM 33, 50    — 33, 50
   2017-15   V6/3.0L      Dsl, Opt                                                 760           — 50                  H8 (49) AGM 50
   2017-15   V6/3.0L      Dsl, Opt                                                 850           H8 (49) AGM 33, 50    — 33, 50
   2014-07   V6/3.0L      Dsl                                                      850           — 50                  H8 (49) AGM 50
   2014      L4/2.1L      Dsl                                                      850           — 50                  H8 (49) AGM 50
   2008-07   V6/3.5L                                                               850           — 50                  H8 (49) AGM 50
   2006-02   L5/2.7L      Dsl                                                      850           — 50                  H8 (49) AGM 50
   Genesis G80
   2019-18 V6/3.3L                                                                 950           H9 (95R) AGM 33, 50   — 33, 50
   2019-17 V6/3.8L                                                                 950           H9 (95R) AGM 33, 50   — 33, 50
   2019-17 V8/5.0L                                                                 950           H9 (95R) AGM 33, 50   — 33, 50
   Genesis G90
   2019-17 V6/3.3L                                                                 950           H9 (95R) AGM 33, 50   — 33, 50
   2019-17 V8/5.0L                                                                 950           H9 (95R) AGM 33, 50   — 33, 50
   Geo Metro
   1997-95   L3/1.0L                                                               390           26R                   —
   1997-95   L4/1.3L                                                               390           26R                   —
   1994      L3/1.0L                                                               390           —                     —
   1994      L4/1.3L                                                               390           —                     —
   1993-92   L4/1.3L                                                               440           —                     —
   1993-90   L3/1.0L                                                               440           —                     —
   Geo Prizm
   1997-90 L4/1.6L                                                                 310           35                    35 AGM
   Geo Storm
   1993-92 L4/1.8L                                                                 360           35                    35 AGM
   1993-90 L4/1.6L                                                                 360           35                    35 AGM
   Geo Tracker
   1997-95 L4/1.6L                                                                 500           26R                   —
   1994-90 L4/1.6L                                                                 525           —                     —
   GMC Acadia
   2020      V6/3.6L                                                               800           H7 (94R) AGM 33       — 33
   2020      L4/2.0L                                                               800           H7 (94R) AGM 33       — 33
   2020      L4/2.5L                                                               800           H7 (94R) AGM 33       — 33
   2019-17   L4/2.5L      w/o Start/Stop                                           660           H6 (48)               H6 (48) AGM
   2019-17   L4/2.5L      w/Start/Stop                                             730           H7 (94R) AGM 33       — 33
   2019-17   V6/3.6L      w/o Start/Stop                                           660           H6 (48)               H6 (48) AGM
   2019-17   V6/3.6L      w/Start/Stop                                             730           H7 (94R) AGM 33       — 33
   2017      L4/2.5L      w/Start/Stop                                             730           H7 (94R) AGM 33       — 33
   2017      V6/3.6L                                                               660           H6 (48)               H6 (48) AGM
   2016-10   V6/3.6L                                                               660           H6 (48) 50            H6 (48) AGM 50
   2009-07   V6/3.6L                                                               730           H6 (48) 50            H6 (48) AGM 50
   GMC Acadia Limited
   2017      V6/3.6L                                                               660           H6 (48) 50            H6 (48) AGM 50
   GMC C/K, R/V Pickups, Jimmy, Suburban
   2005-94   V6/4.3L      Opt                                                      690           —                     —
   2005-92   V6/4.3L                                                               525           75                    —
   2000-99   V8/5.7L      Opt                                                      690           78                    —
   2000-99   V8/6.5L      Dsl & Opt                                                690           78 2                  —2
   2000-99   V8/7.4L      Opt                                                      690           78                    —
   2000-97   V8/6.5L      Dsl                                                      600           78 2                  —2
   2000-94   V8/7.4L                                                               600           78                    —
   2000-91   V8/5.7L                                                               600           78                    —
   1999-93   V8/7.4L      Primary Bat                                              600           78                    —
   1999-91   V8/5.0L                                                               600           78                    —
   1999      V8/5.0L      Opt                                                      690           78                    —
   1999      V8/6.5L      Dsl, HD                                                  600           78 2                  —2
   1998-94   V6/4.3L                                                               600           78                    —
   1997      V8/6.5L      Dsl                                                      690           78 2                  —2
   1996-94   V8/6.5L      Dsl                                                      770           78 2                  —2
   1993-92   V6/4.3L      Opt                                                      630           78                    —
   1993-92   V8/6.2L      Dsl                                                      570           75 2                  —2
   1993-92   V8/6.5L      Dsl                                                      570           75 2                  —2
   1993-91   V6/4.3L      Primary Bat                                              600           78                    —
   See page 151 for Footnotes. Selection may vary by warehouse.

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72                                                             Automotive/Light Truck
  YEAR      ENGINE                                  OPTIONS         ORIGINAL EQUIPMENT           GROUP SIZE              ALTERNATE SIZE
                                                                        CCA/RATING                (NOTES)                   (NOTES)

GMC C/K, R/V Pickups, Jimmy, Suburban (continued)
1993-91   V8/5.0L    Primary Bat                                           600           78                      —
1993-91   V8/5.7L    Primary Bat                                           600           78                      —
1993-90   V8/7.4L    Aux Bat                                               540           78                      —
1993-90   V8/7.4L    Primary Bat                                           630           78                      —
1993-88   V6/4.3L    Aux Bat                                               540           78                      —
1993-88   V8/5.0L    Aux Bat                                               540           78                      —
1993-88   V8/5.7L    Aux Bat                                               540           78                      —
1993      V6/4.3L    Aux Bat                                               525           75                      —
1992-91   V6/4.3L                                                          600           78                      —
1991-90   V8/6.2L    Dsl                                                   540           78 2                    —2
1991      V8/5.7L    Primary Bat                                           630           78                      —
1990-88   V6/4.3L    Primary Bat                                           525           75                      —
1990-88   V8/5.7L    Primary Bat                                           525           75                      —
1990-87   V8/6.2L    Dsl                                                   570           75 2                    —2
1990      V6/4.3L    Opt                                                   630           78                      —
1990      V8/5.0L    Opt                                                   630           78                      —
1990      V8/5.0L    Primary Bat                                           525           75                      —
1990      V8/5.7L    Opt                                                   630           78                      —
GMC Canyon
2020-17   L4/2.8L    Dsl                                                   850           H8 (49) AGM 33           — 33
2020-15   L4/2.5L                                                          615           H6 (48)                  H6 (48) AGM
2020-15   V6/3.6L                                                          615           H6 (48)                  H6 (48) AGM
2016      L4/2.8L    Dsl                                                   850           —                        H8 (49) AGM
2012-09   V8/5.3L                                                          590           86 40                    — 40
2012-08   L4/2.9L                                                          590           86 40                    — 40
2012-08   L5/3.7L                                                          590           86 40                    — 40
2007      L4/2.9L                                                          640           —                        —
2007      L5/3.7L                                                          590           —                        —
2006-04   L4/2.8L                                                          640           —                        —
2006-04   L5/3.5L                                                          590           —                        —
GMC Envoy
2009-05 V8/5.3L                                                            600           78 40                    — 40
2009-02 L6/4.2L                                                            600           78 40                    — 40
GMC Envoy XL
2006-03 V8/5.3L                                                            600           78 40                    — 40
2006-02 L6/4.2L                                                            600           78 40                    — 40
GMC Envoy XUV
2005-04 L6/4.2L                                                            600           78 40                    — 40
2005-04 V8/5.3L                                                            600           78 40                    — 40
GMC G-Series Vans (1500, 2500, 3500)
1996-94   V8/5.7L                                                          600           78                       —
1996-94   V8/6.5L    Dsl                                                   600           78 2                     —2
1996-94   V8/7.4L                                                          600           78                       —
1995-94   V6/4.3L                                                          600           78                       —
1995-94   V8/5.0L                                                          600           78                       —
1993-91   V6/4.3L                                                          630           78                       —
1993-91   V8/5.0L                                                          630           78                       —
1993-91   V8/5.7L                                                          630           78                       —
1993-88   V8/7.4L                                                          630           78                       —
1993-87   V8/6.2L    Dsl                                                   540           78 2                     —2
1990-87   V6/4.3L                                                          525           75                       —
1990-87   V8/5.7L                                                          525           75                       —
1990      V8/5.0L                                                          525           75                       —
GMC K Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
GMC P-Series Vans (3500, 4500)
1999-97   V6/4.3L                                                          600           78                       —
1999-97   V6/4.3L    Opt                                                   690           78                       —
1999-97   V8/5.7L                                                          600           78                       —
1999-97   V8/5.7L    Opt                                                   690           78                       —
1999-94   V8/6.5L    Dsl                                                   600           78 2                     —2
1999-94   V8/7.4L                                                          600           78                       —
1996-94   V6/4.3L    Opt                                                   600           78                       —
1996-94   V8/5.7L    Opt                                                   600           78                       —
1996-90   V6/4.3L                                                          525           75                       —
1996-89   V8/5.7L                                                          525           75                       —
1993-90   V6/4.3L    Opt                                                   630           78                       —
1993-90   V8/5.7L    Opt                                                   630           78                       —
1993-90   V8/7.4L                                                          630           78                       —
1993-89   V8/6.2L    Dsl                                                   540           78 2                     —2
1991-89   L4/3.9L                                                          500           75                       —
                                                                                 See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                             73
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT            GROUP SIZE         ALTERNATE SIZE
                                                                                CCA/RATING                 (NOTES)              (NOTES)

   GMC R Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
   GMC Safari
   2005-04   V6/4.3L      HD or SEO                                                770           78                    —
   2005-94   V6/4.3L                                                               600           78                    —
   2003-02   V6/4.3L      Opt                                                      770           78                    —
   1993-91   V6/4.3L                                                               630           78                    —
   1990-87   L4/2.5L                                                               525           75                    —
   1990-87   V6/4.3L                                                               525           75                    —
   1990      L4/2.5L      Opt                                                      630           78                    —
   1990      V6/4.3L      Opt                                                      630           78                    —
   GMC Savana 1500
   2014-10   V6/4.3L      Opt                                                      770           78                    —
   2014-10   V8/5.3L      Opt                                                      770           78                    —
   2014-03   V8/5.3L                                                               600           78                    —
   2014-96   V6/4.3L                                                               600           78                    —
   2005-03   V6/4.3L      HD or SEO                                                800           79                    —
   2005-03   V8/5.3L      Opt                                                      800           79                    —
   2002-99   V6/4.3L      Opt                                                      690           78                    —
   2002-99   V8/5.0L      Opt                                                      690           78                    —
   2002-99   V8/5.7L      Opt                                                      690           78                    —
   2002-96   V8/5.0L                                                               600           78                    —
   2002-96   V8/5.7L                                                               600           78                    —
   GMC Savana 2500
   2020-18   V6/4.3L                                                               600           78                    —
   2020-17   L4/2.8L      Dsl                                                      770           78 2                  —2
   2020-03   V8/6.0L                                                               600           78                    —
   2017-10   V8/4.8L      Opt                                                      770           78                    —
   2017-10   V8/6.0L      Opt                                                      770           78                    —
   2017-03   V8/4.8L                                                               600           78                    —
   2016-07   V8/6.6L      Dsl                                                      770           78 2                  —2
   2006      V8/6.6L                                                               800           79 2                  —2
   2006      V8/6.6L      Dsl                                                      800           79 2                  —2
   2005-03   V6/4.3L      HD or SEO                                                800           79                    —
   2005-03   V8/4.8L      Opt                                                      800           79                    —
   2005-03   V8/5.3L                                                               600           78                    —
   2005-03   V8/5.3L      Opt                                                      800           79                    —
   2005-03   V8/6.0L      Opt                                                      800           79                    —
   2005-96   V6/4.3L                                                               600           78                    —
   2002-99   V6/4.3L      Opt                                                      690           78                    —
   2002-99   V8/5.0L      Opt                                                      690           78                    —
   2002-99   V8/5.7L      Opt                                                      690           78                    —
   2002-96   V8/5.0L                                                               600           78                    —
   2002-96   V8/5.7L                                                               600           78                    —
   2002-96   V8/6.5L      Dsl                                                      600           78 2                  —2
   2002-96   V8/6.5L      Dsl, HD                                                  690           78 2                  —2
   GMC Savana 3500
   2020-18   V6/4.3L                                                               600           78                    —
   2020-17   L4/2.8L      Dsl                                                      770           78 2                  —2
   2020-03   V8/6.0L                                                               600           78                    —
   2017-10   V8/4.8L      Opt                                                      770           78                    —
   2017-10   V8/6.0L      Opt                                                      770           78                    —
   2017-04   V8/4.8L                                                               600           78                    —
   2016-07   V8/6.6L      Dsl                                                      770           78 2                  —2
   2006      V8/6.6L                                                               800           79 2                  —2
   2006      V8/6.6L      Dsl                                                      800           79 2                  —2
   2005-04   V8/4.8L      Opt                                                      800           79                    —
   2005-03   V8/6.0L      Opt                                                      800           79                    —
   2002-01   V8/8.1L                                                               600           78                    —
   2002-01   V8/8.1L      Opt                                                      690           78                    —
   2002-99   V8/5.7L      Opt                                                      690           78                    —
   2002-96   V8/5.7L                                                               600           78                    —
   2002-96   V8/6.5L      Dsl                                                      600           78 2                  —2
   2002-96   V8/6.5L      Dsl, HD                                                  690           78 2                  —2
   2000      V8/7.4L                                                               600           78                    —
   2000      V8/7.4L      Opt                                                      690           78                    —
   1999      V8/7.4L                                                               630           78                    —
   1998-96   V8/7.4L                                                               600           78                    —
   GMC Sierra 1500
   2020-18   V8/5.3L      w/o Start/Stop                                           720           H7 (94R)              H7 (94R) AGM
   2020-15   V6/4.3L                                                               730           H6 (48)               H6 (48) AGM
   2020-19   L4/2.7L                                                               800           H7 (94R) AGM 33, 50   — 33, 50
   2020-19   V8/5.3L      w/Start/Stop                                             800           H7 (94R) AGM 33, 50   — 33, 50
   See page 151 for Footnotes. Selection may vary by warehouse.

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74                                            Automotive/Light Truck
  YEAR      ENGINE                  OPTIONS              ORIGINAL EQUIPMENT             GROUP SIZE            ALTERNATE SIZE
                                                             CCA/RATING                  (NOTES)                 (NOTES)

GMC Sierra 1500 (continued)
2019      V8/6.2L                                               800           H7 (94R) AGM 33, 50      — 33, 50
2018-14   V8/6.2L                                               720           H7 (94R)                 H7 (94R) AGM
2018      V8/5.3L    w/Start/Stop                               730           H7 (94R) AGM 33          — 33
2017-14   V8/5.3L                                               720           H7 (94R)                 H7 (94R) AGM
2016      V6/4.3L                                               720           H7 (94R)                 H7 (94R) AGM
2014-09   V6/4.3L    Opt                                        730           H6 (48)                  H6 (48) AGM
2014-09   V8/5.3L    Opt                                        730           H6 (48)                  H6 (48) AGM
2014-09   V8/6.2L    Opt                                        730           H6 (48)                  H6 (48) AGM
2014-08   V8/6.2L                                               615           H6 (48)                  H6 (48) AGM
2014-07   V6/4.3L                                               615           H6 (48)                  H6 (48) AGM
2014-07   V8/5.3L                                               615           H6 (48)                  H6 (48) AGM
2013-09   V8/4.8L    Opt                                        730           H6 (48)                  H6 (48) AGM
2013-07   V8/4.8L                                               615           H6 (48)                  H6 (48) AGM
2013      V8/6.0L    Hybrid                                     730           H6 (48)                  H6 (48) AGM
2012-10   V8/6.0L    Hybrid                                     615           H6 (48)                  H6 (48) AGM
2012-10   V8/6.0L    Hybrid, HD                                 730           H6 (48)                  H6 (48) AGM
2009-07   V8/6.0L                                               615           H6 (48)                  H6 (48) AGM
2009      V8/6.0L    Opt                                        730           H6 (48)                  H6 (48) AGM
2007-01   V8/6.0L                                               600           78                       —
2007-99   V6/4.3L                                               600           78                       —
2007-99   V8/4.8L                                               600           78                       —
2007-99   V8/5.3L                                               600           78                       —
2007      V8/6.2L    Early                                      600           78                       —
2007      V8/6.2L    Late                                       615           H6 (48)                  H6 (48) AGM
2006-05   V8/6.0L    Opt                                        690           78                       —
2006      V6/4.3L    Opt                                        690           78                       —
2006      V8/4.8L    Opt                                        690           78                       —
2006      V8/5.3L    Opt                                        690           78                       —
2005-04   V8/5.3L    Opt                                        770           78                       —
2005-99   V6/4.3L    Opt                                        770           78                       —
2005-99   V8/4.8L    Opt                                        770           78                       —
2004-01   V8/6.0L    Opt                                        770           78                       —
2001-99   V8/5.3L    Opt                                        770           78                       —
GMC Sierra 1500 Classic
2007      V6/4.3L    Early                                      600           78                       —
2007      V6/4.3L    Late                                       615           H6 (48)                  H6 (48) AGM
2007      V8/4.8L    Early                                      600           78                       —
2007      V8/4.8L    Late                                       615           H6 (48)                  H6 (48) AGM
2007      V8/5.3L    Early                                      600           78                       —
2007      V8/5.3L    Late                                       615           H6 (48)                  H6 (48) AGM
2007      V8/6.0L    Early                                      600           78                       —
2007      V8/6.0L    Late                                       615           H6 (48)                  H6 (48) AGM
GMC Sierra 1500 HD Classic
2007      V8/6.0L    Early                                      600           78                       —
2007      V8/6.0L    Late                                       615           H6 (48)                  H6 (48) AGM
GMC Sierra 1500 Limited
2019      V8/5.3L                                               720           H7 (94R)                 H7 (94R) AGM
2019      V8/5.3L    Aux Bat                                    730           H6 (48)                  H6 (48) AGM
GMC Sierra 1500HD
2006-05   V8/6.0L                                               600           78                       —
2006      V8/6.0L    Opt                                        690           78                       —
2005      V8/6.0L    Opt                                        770           78                       —
2003-01   V8/6.0L                                               600           78                       —
2003-01   V8/6.0L    Opt                                        770           78                       —
GMC Sierra 2500
2004-99   V8/6.0L                                               600           78                       —
2004-99   V8/6.0L    Opt                                        770           78                       —
2000-99   V8/5.3L                                               600           78                       —
2000-99   V8/5.3L    Opt                                        770           78                       —
GMC Sierra 2500 HD Classic
2007      V8/6.0L    Early                                      600        78                          —
2007      V8/6.0L    Late                                       615        H6 (48)                     H6 (48) AGM
2007      V8/6.6L    Dsl, Early                                 770        78 2                        —2
2007      V8/6.6L    Dsl, Late                                  730        H6 (48) 2                   H6 (48) AGM 2
2007      V8/8.1L    Early                                      600        78                          —
2007      V8/8.1L    Late                                       615        H6 (48)                     H6 (48) AGM
                                                                      See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                  75
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT               GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                    (NOTES)               (NOTES)

   GMC Sierra 2500 HD
   2020      V8/6.6L                                                               730           H7 (94R) AGM 33          — 33
   2020      V8/6.6L      Aux Bat                                                  730           H6 (48)                  H6 (48) AGM
   2020-08   V8/6.6L      Dsl                                                      730           H6 (48) 2                H6 (48) AGM 2
   2019      V8/6.0L                                                               730           H7 (94R) AGM 33          — 33
   2018      V8/6.0L      w/o Start/Stop                                           720           H7 (94R)                 H7 (94R) AGM
   2018      V8/6.0L      w/Start/Stop                                             730           H7 (94R) AGM 33          — 33
   2019-17   V8/6.0L      Aux Bat                                                  730           H6 (48)                  H6 (48) AGM
   2017-14   V8/6.0L                                                               720           H7 (94R)                 H7 (94R) AGM
   2016      V8/6.6L      Dsl                                                      720           H7 (94R) 2               H7 (94R) AGM 2
   2014-11   V8/6.0L      Opt                                                      730           H6 (48)                  H6 (48) AGM
   2013-08   V8/6.0L                                                               615           H6 (48)                  H6 (48) AGM
   2009      V8/6.0L      Opt                                                      730           H6 (48)                  H6 (48) AGM
   2007      V8/6.0L      Early                                                    600           78                       —
   2007      V8/6.0L      Late                                                     615           H6 (48)                  H6 (48) AGM
   2007      V8/6.6L      Dsl, Early                                               770           78 2                     —2
   2007      V8/6.6L      Dsl, Late                                                730           H6 (48) 2                H6 (48) AGM 2
   2006-03   V8/6.6L      Dsl                                                      770           78 2                     —2
   2006-02   V8/8.1L      Opt                                                      690           78                       —
   2006-01   V8/6.0L                                                               600           78                       —
   2006-01   V8/8.1L                                                               600           78                       —
   2006      V8/6.0L      Opt                                                      690           78                       —
   2005-03   V8/8.1L      Opt                                                      770           78                       —
   2005-01   V8/6.0L      Opt                                                      770           78                       —
   2004      V8/6.6L      Dsl                                                      600           78 2                     —2
   2002-01   V8/6.6L      Dsl                                                      600           78 2                     —2
   2002-01   V8/6.6L      Dsl, Opt                                                 690           78 2                     —2
   GMC Sierra 3500
   2006-03   V8/6.6L      Dsl                                                      770           78 2                     —2
   2006-02   V8/8.1L      Opt                                                      690           78                       —
   2006-01   V8/6.0L                                                               600           78                       —
   2006-01   V8/8.1L                                                               600           78                       —
   2006      V8/6.0L      Opt                                                      690           78                       —
   2005-03   V8/8.1L      Opt                                                      770           78                       —
   2005-01   V8/6.0L      Opt                                                      770           78                       —
   2004      V8/6.6L      Dsl                                                      600           78 2                     —2
   2002-01   V8/6.6L      Dsl                                                      600           78 2                     —2
   2002-01   V8/6.6L      Dsl, HD                                                  690           78 2                     —2
   2002-01   V8/6.6L      Dsl, Opt                                                 690           78 2                     —2
   2001      V8/8.1L      Opt                                                      770           78                       —
   GMC Sierra 3500 Classic
   2007      V8/6.0L      Early                                                    600           78                       —
   2007      V8/6.0L      Late                                                     615           H6 (48)                  H6 (48) AGM
   2007      V8/6.6L      Dsl, Early                                               770           78 2                     —2
   2007      V8/6.6L      Dsl, Late                                                730           H6 (48) 2                H6 (48) AGM 2
   2007      V8/8.1L      Early                                                    600           78                       —
   2007      V8/8.1L      Late                                                     615           H6 (48)                  H6 (48) AGM
   GMC Sierra 3500 HD
   2020      V8/6.6L      Aux Bat                                                  730           H6 (48)                  H6 (48) AGM
   2020      V8/6.6L                                                               730           H7 (94R) AGM 33          — 33
   2020-08   V8/6.6L      Dsl                                                      730           H6 (48) 2                H6 (48) AGM 2
   2019-17   V8/6.0L      Aux Bat                                                  730           H6 (48)                  H6 (48) AGM
   2019      V8/6.0L                                                               730           H7 (94R) AGM 33          — 33
   2018      V8/6.0L      w/o Start/Stop                                           720           H7 (94R)                 H7 (94R) AGM
   2018      V8/6.0L      w/Start/Stop                                             730           H7 (94R) AGM 33          — 33
   2017-14   V8/6.0L                                                               720           H7 (94R)                 H7 (94R) AGM
   2016      V8/6.6L      Dsl                                                      720           H7 (94R) 2               H7 (94R) AGM 2
   2014-09   V8/6.0L      Opt                                                      730           H6 (48)                  H6 (48) AGM
   2013-08   V8/6.0L                                                               615           H6 (48)                  H6 (48) AGM
   2007      V8/6.0L      Early                                                    600           78 2                     —2
   2007      V8/6.0L      Late                                                     615           H6 (48) 2                H6 (48) AGM 2
   2007      V8/6.6L      Dsl, Early                                               600           78 2                     —2
   2007      V8/6.6L      Dsl, Late                                                730           H6 (48) 2                H6 (48) AGM 2
   GMC Sonoma
   2004-94   V6/4.3L      Opt                                                      690           —                        —
   2004-91   V6/4.3L                                                               525           75                       —
   2003-94   L4/2.2L                                                               525           75                       —
   2002-94   L4/2.2L      Opt                                                      690           —                        —
   See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                            Costco_001718
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  YEAR      ENGINE                               OPTIONS            ORIGINAL EQUIPMENT           GROUP SIZE              ALTERNATE SIZE
                                                                        CCA/RATING                (NOTES)                   (NOTES)

GMC Sonoma (continued)
1993-91   L4/2.5L                                                          525           75                       —
1993-91   L4/2.5L    Opt                                                   630           78                       —
1993-91   V6/2.8L                                                          525           75                       —
1993-91   V6/2.8L    Opt                                                   630           78                       —
1993-91   V6/4.3L    Opt                                                   630           78                       —
GMC S-Series: Pickup, Jimmy
1991-90   V6/4.3L    Opt                                                   630           78                       —
1991-88   V6/4.3L                                                          525           75                       —
1990-87   L4/2.5L                                                          525           75                       —
1990-87   V6/2.8L                                                          525           75                       —
1990      L4/2.5L    Opt                                                   630           78                       —
1990      V6/2.8L    Opt                                                   630           78                       —
GMC Syclone
1991      V6/4.3L                                                          525           75                       —
1991      V6/4.3L    Opt                                                   630           78                       —
GMC Terrain
2020-19   L4/1.5L                                                          730           H6 (48) AGM 33           — 33
2020-19   L4/2.0L                                                          730           H6 (48) AGM 33           — 33
2019      L4/1.6L                                                          730           H6 (48) AGM 33           — 33
2018      L4/1.5L    w/o Start/Stop                                        525           H5 (47)                  H5 (47) AGM
2018      L4/1.5L    w/Start/Stop                                          730           H6 (48) AGM 33           — 33
2018      L4/1.6L    w/o Start/Stop                                        525           H5 (47)                  H5 (47) AGM
2018      L4/1.6L    w/Start/Stop                                          730           H6 (48) AGM 33           — 33
2018      L4/2.0L    w/o Start/Stop                                        525           H5 (47)                  H5 (47) AGM
2018      L4/2.0L    w/Start/Stop                                          730           H6 (48) AGM 33           — 33
2017-13   V6/3.6L                                                          660           H6 (48)                  H6 (48) AGM
2017-10   L4/2.4L                                                          525           H5 (47)                  H5 (47) AGM
2012      V6/3.0L                                                          660           H6 (48)                  H6 (48) AGM
2011-10   V6/3.0L                                                          615           H6 (48)                  H6 (48) AGM
GMC Tracker
1991-90 L4/1.6L                                                            525           —                        —
GMC Typhoon
1993-92 V6/4.3L                                                            525           75                       —
1993-92 V6/4.3L      Opt                                                   630           78                       —
GMC V Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
GMC Yukon XL
2020-18   V8/5.3L    Aux Bat                                               730           H6 (48)                  H6 (48) AGM
2020-18   V8/6.2L    Aux Bat                                               730           H6 (48)                  H6 (48) AGM
2020-15   V8/5.3L                                                          720           H7 (94R)                 H7 (94R) AGM
2020-15   V8/6.2L                                                          720           H7 (94R)                 H7 (94R) AGM
GMC Yukon, Yukon XL 1500, Yukon XL 2500
2020-17   V8/5.3L    Aux Bat                                               730        H6 (48)                     H6 (48) AGM
2020-17   V8/6.2L    Aux Bat                                               730        H6 (48)                     H6 (48) AGM
2020-15   V8/5.3L                                                          720        H7 (94R)                    H7 (94R) AGM
2020-15   V8/6.2L                                                          720        H7 (94R)                    H7 (94R) AGM
2014-12   V8/5.3L                                                          660        H6 (48)                     H6 (48) AGM
2014-12   V8/6.2L                                                          660        H6 (48)                     H6 (48) AGM
2015-09   V8/5.3L    Opt                                                   730        H6 (48)                     H6 (48) AGM
2015-09   V8/6.2L    Opt                                                   730        H6 (48)                     H6 (48) AGM
2013-12   V8/6.0L    Hybrid                                                660        H6 (48)                     H6 (48) AGM
2013-12   V8/6.0L    Hybrid, HD                                            730        H6 (48)                     H6 (48) AGM
2011-10   V8/6.0L    Hybrid, Opt                                           730        H6 (48)                     H6 (48) AGM
2011-09   V8/6.0L    Opt                                                   730        H6 (48)                     H6 (48) AGM
2011-07   V8/5.3L                                                          615        H6 (48)                     H6 (48) AGM
2011-07   V8/6.0L                                                          615        H6 (48)                     H6 (48) AGM
2011-07   V8/6.2L                                                          615        H6 (48)                     H6 (48) AGM
2009-07   V8/4.8L                                                          615        H6 (48)                     H6 (48) AGM
2009      V8/4.8L    Opt                                                   730        H6 (48)                     H6 (48) AGM
2009      V8/6.0L    Hybrid, HD                                            730        H6 (48)                     H6 (48) AGM
2006-01   V8/8.1L                                                          600        78                          —
2006-01   V8/8.1L    Opt                                                   690        78                          —
2006-00   V8/4.8L                                                          600        78                          —
2006-00   V8/5.3L                                                          600        78                          —
2006-00   V8/6.0L                                                          600        78                          —
2006      V8/4.8L    Opt                                                   690        78                          —
                                                                                 See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                Costco_001719
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 521Honda
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   Automotive/Light Truck                                                                                                               77
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)               (NOTES)

   GMC Yukon, Yukon XL 1500, Yukon XL 2500 (continued)
   2006      V8/5.3L      Opt                                                      690           78                     —
   2006      V8/6.0L      Opt                                                      690           78                     —
   2005-03   V8/4.8L      Opt                                                      770           78                     —
   2005-03   V8/5.3L      Opt                                                      770           78                     —
   2005-03   V8/6.0L      Opt                                                      770           78                     —
   2005-03   V8/8.1L      Opt                                                      770           78                     —
   2005      V8/5.3L      Option 1                                                 690           78                     —
   2005      V8/5.3L      Option 2                                                 770           78                     —
   2004-03   V8/6.0L      Option 1                                                 690           78                     —
   2004-03   V8/6.0L      Option 2                                                 770           78                     —
   2002-00   V8/4.8L      Opt                                                      690           78                     —
   2002-00   V8/5.3L      Opt                                                      690           78                     —
   2002-00   V8/6.0L      Opt                                                      690           78                     —
   2000-99   V8/5.7L      Opt                                                      690           78                     —
   2000-99   V8/5.7L      PPkg or HD                                               770           78                     —
   2000-94   V8/5.7L                                                               600           78                     —
   2000      V8/5.3L      PPkg & Opt                                               770           78                     —
   2000      V8/5.3L      Primary Bat                                              600           78                     —
   2000      V8/6.0L      PPkg or HD                                               770           78                     —
   1999      V8/5.7L      PPkg & Opt                                               770           78                     —
   1997      V8/6.5L      Dsl                                                      600           78 2                   —2
   1996-94   V8/6.5L      Dsl                                                      770           78 2                   —2
   1993-92   V8/5.7L      Aux Bat                                                  540           78                     —
   1993-92   V8/5.7L      Primary Bat                                              630           78                     —
   Honda Accord
   2020-19   L4/2.0L      Hybrid                                                   500           51                     —
   2020-18   L4/1.5L                                                               N/A           H5 (47)                H5 (47) AGM
   2020-18   L4/2.0L                                                               620           H6 (48)                H6 (48) AGM
   2019-17   L4/2.0L      Hybrid                                                   500           51                     —
   2017-13   L4/2.4L                                                               410           51R                    —
   2017-08   V6/3.5L                                                               550           — 11                   24F AGM 11
   2015-14   L4/2.0L      Hybrid                                                   500           51                     —
   2013-12   L4/2.4L      US, Ex Calif                                             410           51R                    —
   2013      L4/2.4L      Calif & Can                                              440           35                     35 AGM
   2012-08   L4/2.4L      Calif, AT                                                440           35                     35 AGM
   2012-08   L4/2.4L      Ex Calif, AT                                             410           51R                    —
   2012      L4/2.4L      Can & CA                                                 440           35                     35 AGM
   2011-10   L4/2.4L      MT                                                       410           51R                    —
   2009-03   L4/2.4L                                                               435           51R                    —
   2007-03   V6/3.0L                                                               440           35                     35 AGM
   2002-98   L4/2.3L                                                               450           35                     35 AGM
   2002-98   V6/3.0L                                                               500           24                     —
   1997-96   V6/2.7L                                                               500           24                     —
   1997-94   L4/2.2L                                                               550           24F                    24F AGM
   1995      V6/2.7L                                                               550           24F                    24F AGM
   1993-90   L4/2.2L                                                               550           24                     —
   Honda Accord Crosstour
   2011-10 V6/3.5L                                                                 550           — 11                   24F AGM 11
   Honda Civic
   2020-18 L4/2.0L       Type R                                                    410           H5 (47)                H5 (47) AGM
   2020-16 L4/1.5L                                                                 410           51R                    —
   2020-18 L4/2.0L       Ex Type R                                                 410           51R                    —
   2017-16 L4/2.0L                                                                 410           51R                    —
   2015-14 L4/1.8L                                                                 410           51R                    —
   2015-14 L4/2.4L                                                                 410           51R                    —
   2015-12 L4/1.5L       Hybrid                                                    340           —                      —
   2013-12 L4/2.4L       Can                                                       410           51R                    —
   2013-12 L4/2.4L       US                                                        310           51R                    —
   2013-08 L4/1.8L       Can                                                       410           51R                    —
   2013-08 L4/1.8L       US                                                        310           51R                    —
   2011-08 L4/2.0L       Can                                                       410           51R                    —
   2011-08 L4/2.0L       US                                                        310           51R                    —
   2011-06 L4/1.3L       Hybrid                                                    340           —                      —
   2007-06 L4/1.8L                                                                 435           51R                    —
   2007      L4/2.0L                                                               440           51R                    —
   2006-02 L4/2.0L                                                                 435           51R                    —
   2005-03 L4/1.3L       Hybrid                                                    410           51R 6                  —6
   2005-01 L4/1.7L                                                                 410           51                     —
   2000-92 L4/1.6L                                                                 410           51R                    —
   1995-92 L4/1.5L                                                                 410           51R                    —
   See page 151 for Footnotes. Selection may vary by warehouse.

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78                                                       Automotive/Light Truck
  YEAR       ENGINE                            OPTIONS        ORIGINAL EQUIPMENT           GROUP SIZE                ALTERNATE SIZE
                                                                  CCA/RATING                (NOTES)                     (NOTES)

Honda Civic (continued)
1991-90 L4/1.5L                                                      405           51                       —
1991-90 L4/1.6L                                                      405           51                       —
Honda Civic del Sol
1997-93 L4/1.6L                                                      410           51R                      —
1995-93 L4/1.5L                                                      410           51R                      —
Honda Clarity
2020-18                                                              500           51R                      —
2020-18 L4/1.5L                                                      500           51R                      —
Honda Crosstour
2015-14   L4/2.4L                                                    500           51R                     —
2015-14   V6/3.5L                                                    550           24F                     24F AGM
2013-12   L4/2.4L     Calif & Can                                    440           35                      35 AGM
2013-12   L4/2.4L     US                                             410           51R                     —
2013-12   V6/3.5L                                                    550           — 11                    24F AGM 11
Honda CR-V
2020      L4/1.5L                                                    450           —                        —
2020-18   L4/2.4L                                                    410           51R                      —
2020-17   L4/1.5L                                                    410           51R                      —
2017-02   L4/2.4L                                                    410           51R                      —
2016-14   L4/2.4L     Can                                            440           35                       35 AGM
2016-14   L4/2.4L     US                                             410           51R                      —
2001-97   L4/2.0L                                                    410           51R                      —
Honda CRX
1991-90 L4/1.5L                                                      405           51                       —
1991-90 L4/1.6L                                                      405           51                       —
Honda CR-Z
2016-11 L4/1.5L       Hybrid                                         340           —                        —
Honda Element
2011-03 L4/2.4L                                                      410           51R                      —
Honda Fit
2020-07 L4/1.5L                                                      340           —                        —
2014-13               Electric                                       340           —                        —
Honda HR-V
2020-18 L4/1.8L                                                      500           51R                      —
2017-16 L4/1.8L                                                      500           51R                      —
Honda Insight
2020-19 L4/1.5L       Hybrid                                         295           —                        —
2014-10 L4/1.3L       Hybrid                                         340           —                        —
2006-00 L3/1.0L       Hybrid                                         270           51                       —
Honda Odyssey
2020-18   V6/3.5L     Elite, Touring                                 650           H6 (48) AGM 33           — 33
2020-18   V6/3.5L     Ex Elite, Touring                              620           H6 (48)                  H6 (48) AGM
2017      V6/3.5L                                                    630           24F                      24F AGM
2016      V6/3.5L                                                    730           —                        —
2015      V6/3.5L                                                    550           24F                      24F AGM
2014-05   V6/3.5L                                                    550           — 11                     24F AGM 11
2004-99   V6/3.5L                                                    550           24F                      24F AGM
1998      L4/2.3L                                                    550           24F                      24F AGM
1997-95   L4/2.2L                                                    550           24F                      24F AGM
Honda Passport
2020-19   V6/3.5L                                                    650           H6 (48) AGM 33           — 33
2002-98   V6/3.2L                                                    600           24F                      24F AGM
1997-96   V6/3.2L                                                    600           24                       —
1996      L4/2.6L                                                    430           86                       —
1996      L4/2.6L     Opt                                            600           24                       —
1995-94   L4/2.6L                                                    380           25                       —
1995-94   V6/3.2L     AT                                             600           24                       —
1995-94   V6/3.2L     MT                                             380           25                       —
Honda Pilot
2020-18   V6/3.5L     Elite, Touring, TRG                            650           H6 (48) AGM 33           — 33
2020-18   V6/3.5L     Ex Elite, Touring, TRG                         620           H6 (48)                  H6 (48) AGM
2017-16   V6/3.5L                                                    620           H6 (48)                  H6 (48) AGM
2017-16   V6/3.5L     Elite, Touring                                 650           H6 (48) AGM 33           — 33
2016      V6/3.5L     FWD                                            620           H6 (48)                  H6 (48) AGM
2016      V6/3.5L     SH-AWD                                         650           H6 (48) AGM 33           — 33
2015-03   V6/3.5L                                                    550           — 11                     24F AGM 11
                                                                           See page 151 for Footnotes. Selection may vary by warehouse.

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                                                                              Hyundai
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   Automotive/Light Truck                                                                                                                     79
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT               GROUP SIZE              ALTERNATE SIZE
                                                                                CCA/RATING                    (NOTES)                   (NOTES)

   Honda Prelude
   2001-92   L4/2.2L                                                               550           24F                      24F AGM
   1996-92   L4/2.3L                                                               550           24F                      24F AGM
   1991-90   L4/2.0L                                                               550           24                       —
   1991-90   L4/2.1L                                                               550           24                       —
   Honda Ridgeline
   2020-17   V6/3.5L                                                               620           H6 (48)                  H6 (48) AGM
   2014-11   V6/3.5L                                                               550           24F                      24F AGM
   2010-06   V6/3.5L                                                               585           24F                      24F AGM
   2006      V6/3.5L                                                               550           24F                      24F AGM
   Honda S2000
   2009-04 L4/2.2L                                                                 430           51                       —
   2003-00 L4/2.0L                                                                 430           51                       —
   Hummer H1
   2006    V8/6.6L                                                                 840           79                       —
   2004-03 V8/6.5L                                                                 840           79 2                     —2
   2002    V8/6.5L                                                                 770           78                       —
   Hummer H2
   2009-08 V8/6.2L                                                                 730           H6 (48)                  H6 (48) AGM
   2007-03 V8/6.0L                                                                 840           79                       —
   Hummer H3
   2010      L5/3.7L                                                               590           86 40                    — 40
   2010      V8/5.3L                                                               590           86 40                    — 40
   2009      L5/3.7L                                                               590           86 11, 40                — 11, 40
   2009      V8/5.3L                                                               590           86 11, 40                — 11, 40
   2008-07   L5/3.7L                                                               640           86 11, 40                — 11, 40
   2008      V8/5.3L                                                               640           86 11, 40                — 11, 40
   2006      L5/3.5L                                                               640           —                        —
   Hummer H3T
   2010      L5/3.7L                                                               590           86 40                    — 40
   2010      V8/5.3L                                                               590           86 40                    — 40
   2009      L5/3.7L                                                               590           86 11, 40                — 11, 40
   2009      V8/5.3L                                                               590           86 11, 40                — 11, 40
   Hyundai Accent
   2020-18   L4/1.6L                                                              60 Ah          H5 (47) AGM 33           — 33
   2017-14   L4/1.6L                                                               N/A           H5 (47)                  H5 (47) AGM
   2016      L4/1.6L                                                               600           —                        —
   2013-01   L4/1.6L                                                               500           121R                     —
   2003-01   L4/1.5L                                                               500           121R                     —
   2000-98   L4/1.5L                                                               435           121R                     —
   1997-95   L4/1.5L                                                               410           121R                     —
   1997-95   L4/1.5L      Opt                                                      580           121R                     —
   Hyundai Azera
   2017-07 V6/3.3L                                                                 600           124R                     —
   2016    V6/3.3L                                                                 700           124R                     —
   2011-06 V6/3.8L                                                                 600           124R                     —
   Hyundai Elantra
   2020-17   L4/1.4L                                                               760           H6 (48) AGM 33           — 33
   2019-17   L4/1.6L                                                               550           H5 (47)                  H5 (47) AGM
   2019-17   L4/2.0L                                                              60 Ah          H6 (48) AGM 33           — 33
   2016-14   L4/1.8L      AT                                                       760           H6 (48) AGM 33           — 33
   2016-14   L4/1.8L      MT                                                       550           —                        H5 (47) AGM
   2016-11   L4/2.0L                                                               550           —                        H5 (47) AGM
   2013-11   L4/1.8L                                                               550           —                        H5 (47) AGM
   2013-11   L4/1.8L      Opt                                                      550           H6 (48)                  H6 (48) AGM
   2010      L4/2.0L                                                               600           121R                     —
   2009-07   L4/2.0L                                                               550           121R                     —
   2006      L4/2.0L                                                               500           124R                     —
   2005-04   L4/2.0L                                                               560           124R                     —
   2003-99   L4/2.0L                                                               550           124R                     —
   1998-97   L4/1.8L                                                               600           121R                     —
   1996-93   L4/1.8L                                                               435           25                       —
   1996-93   L4/1.8L      Can & Opt                                                540           24                       —
   1995-92   L4/1.6L                                                               435           25                       —
   1995-92   L4/1.6L      Can & Opt                                                540           24                       —
   Hyundai Elantra Coupe
   2014      L4/2.0L                                                               550           —                        H5 (47) AGM
   2013      L4/1.8L                                                               550           —                        H5 (47) AGM
   See page 151 for Footnotes. Selection may vary by warehouse.

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80                                           Automotive/Light Truck
  YEAR      ENGINE                 OPTIONS               ORIGINAL EQUIPMENT             GROUP SIZE            ALTERNATE SIZE
                                                             CCA/RATING                  (NOTES)                 (NOTES)

Hyundai Elantra GT
2019-18 L4/1.6L                                                 550           H5 (47)                  H5 (47) AGM
2019-14 L4/2.0L                                                 600           H6 (48)                  H6 (48) AGM
2013    L4/1.8L                                                 550           —                        H5 (47) AGM
Hyundai Entourage
2010-07 V6/3.8L                                                 600           124R                     —
Hyundai Equus
2016-12 V8/5.0L                                                 740           — 50                     H8 (49) AGM 50
2011    V8/4.6L                                                 740           —                        H8 (49) AGM
Hyundai Excel
1994-90 L4/1.5L                                                 420           25                       —
Hyundai Genesis
2016-14   V6/3.8L                                               740           — 50                     H8 (49) AGM 50
2016-14   V8/5.0L                                               950           H9 (95R) AGM 33, 50      — 33, 50
2016      V6/3.8L    AGM                                        950           H9 (95R) AGM 33          — 33
2016      V8/5.0L    AGM                                        950           H9 (95R) AGM 33          — 33
2013-12   V8/5.0L                                               600           —                        —
2013-09   V6/3.8L    Sedan                                      740           — 54                     H8 (49) AGM 54
2012-09   V8/4.6L    Sedan                                      740           — 54                     H8 (49) AGM 54
Hyundai Genesis Coupe
2016    V6/3.8L                                                 700           124R                     —
2015-10 V6/3.8L                                                 600           124R                     —
2014-10 L4/2.0L                                                 600           124R                     —
Hyundai Kona
2018      L4/1.6L                                               760           H6 (48) AGM 33           — 33
2018      L4/2.0L                                               760           H6 (48) AGM 33           — 33
Hyundai Santa Fe
2019-03   L4/2.4L                                               600           124R                     —
2019      L4/2.0L                                               600           124R                     —
2018-07   V6/3.3L                                               600           124R                     —
2016      V6/3.3L                                               700           124R                     —
2012-03   V6/3.5L                                               600           124R                     —
2009-01   V6/2.7L                                               600           124R                     —
2002      L4/2.4L                                               550           124R                     —
2001      L4/2.4L                                               660           124R                     —
Hyundai Santa Fe Sport
2018-17   L4/2.0L                                               800           H7 (94R) AGM 33          — 33
2018-17   L4/2.4L                                               800           H7 (94R) AGM 33          — 33
2016-13   L4/2.0L                                               700           124R                     —
2016-13   L4/2.4L                                               700           124R                     —
Hyundai Santa Fe XL
2016-13 V6/3.3L                                                 600           124R                     —
2016    V6/3.3L                                                 700           124R                     —
Hyundai Scoupe
1995-94 L4/1.5L      Can & Opt                                  540           24                      —
1995-94 L4/1.5L      Can or Opt                                 540           —                       —
1993-91 L4/1.5L                                                 420           25                      —
Hyundai Sonata
2019-18   L4/2.0L    Hybrid                                     600           —                        —
2019-18   L4/2.4L                                               760           H6 (48) AGM 33           — 33
2019-14   L4/2.0L                                               760           H6 (48) AGM 33           — 33
2018      L4/1.6L                                               760           H6 (48) AGM 33           — 33
2017-15   L4/1.6L                                               800           H7 (94R) AGM 33          — 33
2017-15   L4/2.4L                                               800           H7 (94R) AGM 33          — 33
2016      L4/2.0L    Gas                                        760           H6 (48) AGM 33           — 33
2016      L4/2.0L    Hybrid                                     600           —                        —
2015-11   L4/2.4L    Hybrid                                     600           —                        —
2015      L4/2.4L    Gas                                        800           H7 (94R) AGM 33          — 33
2014      L4/2.4L    Gas                                        760           H6 (48) AGM 33           — 33
2013-11   L4/2.0L                                               600           124R                     —
2013-06   L4/2.4L    Gas                                        600           124R                     —
2010      V6/3.3L                                               700           124R                     —
2009-06   V6/3.3L                                               600           124R                     —
2005-03   L4/2.4L                                               560           124R                     —
2005-02   V6/2.7L                                               600           124R                     —
2002-99   L4/2.4L                                               550           124R                     —
2001      V6/2.5L                                               600           124R                     —
2000-99   V6/2.5L                                               540           124R                     —
1998-92   L4/2.0L                                               420           25                       —
1998-92   L4/2.0L    Opt                                        540           24                       —
                                                                      See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                 81
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE            ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)                 (NOTES)

   Hyundai Sonata (continued)
   1998-90 V6/3.0L                                                                 540           24                     —
   1991-89 L4/2.4L                                                                 420           25                     —
   1991-89 L4/2.4L        Opt                                                      540           24                     —
   Hyundai Tiburon
   2008-03 V6/2.7L                                                                 600           124R                   —
   2008-97 L4/2.0L                                                                 600           124R                   —
   1997    L4/1.8L                                                                 600           124R                   —
   Hyundai Tucson
   2019-18   L4/2.4L                                                               640           H6 (48)                H6 (48) AGM
   2019-16   L4/2.0L                                                               640           H6 (48)                H6 (48) AGM
   2018-16   L4/1.6L                                                               640           H6 (48)                H6 (48) AGM
   2017                   Electric/Hydrogen                                        600           —                      —
   2016-15                                                                         410           H5 (47)                H5 (47) AGM
   2016-15                Electric/Hydrogen                                        600           —                      —
   2016-11   L4/2.0L                                                               600           124R                   —
   2016      L4/1.6L                                                               600           124R                   —
   2015-10   L4/2.4L                                                               600           124R                   —
   2009-05   L4/2.0L                                                               600           124R                   —
   2009-05   V6/2.7L                                                               600           124R                   —
   Hyundai Veloster
   2016-13   L4/1.6L      Turbo                                                    550           —                      H5 (47) AGM
   2016-12   L4/1.6L      Non Turbo                                                550           121R                   —
   2016      L4/1.6L      Turbo                                                    410           H5 (47)                H5 (47) AGM
   2014      L4/1.6L                                                               550           —                      H5 (47) AGM
   2013-12   L4/1.6L                                                               600           121R                   —
   Hyundai Veracruz
   2012-09 V6/3.8L                                                                 660           124R                   —
   2008-07 V6/3.8L                                                                 600           124R                   —
   Hyundai XG300
   2001      V6/3.0L                                                               600           124R                   —
   Hyundai XG350
   2005-02 V6/3.5L                                                                 600           124R                   —
   ,QğQLWLEX35
   2012-08 V6/3.5L                                                                 585           35                     35 AGM
   ,QğQLWLEX37
   2013      V6/3.7L                                                               720           —                      —
   ,QğQLWLFX35
   2012-09   V6/3.5L                                                               585           35                     35 AGM
   2008-07   V6/3.5L                                                               550           24F                    24F AGM
   2008-07   V6/3.5L      w/Intelligent Key                                        750           —                      —
   2008-07   V6/3.5L      w/o Intelligent Key                                      550           35                     35 AGM
   2006-03   V6/3.5L                                                               490           35                     35 AGM
   ,QğQLWLFX37
   2013      V6/3.7L                                                               720           —                      —
   ,QğQLWLFX45
   2008-07   V8/4.5L                                                               550           24F                    24F AGM
   2008-06   V8/4.5L      w/Intelligent Key                                        750           —                      —
   2008-06   V8/4.5L      w/o Intelligent Key                                      550           35                     35 AGM
   2006-03   V8/4.5L                                                               490           35                     35 AGM
   ,QğQLWLFX50
   2013-09 V8/5.0L                                                                 720           —                      —
   ,QğQLWLG20
   2002-99 L4/2.0L                                                                 585           24F                    24F AGM
   1996-91 L4/2.0L        Calif                                                    360           35                     35 AGM
   1996-91 L4/2.0L        Ex Calif                                                 585           24F                    24F AGM
   ,QğQLWLG25
   2012-11 V6/2.5L                                                                 720           —                      —
   2012-11 V6/2.5L                                                                 585           35                     35 AGM
   ,QğQLWLG35
   2008      V6/3.5L                                                               550           35                     35 AGM
   2007-03   V6/3.5L      Coupe                                                    550           35                     35 AGM
   2007-03   V6/3.5L      Sedan                                                    550           24F                    24F AGM
   2006-03   V6/3.5L                                                               490           35                     35 AGM
   ,QğQLWLG37
   2013-08 V6/3.7L                                                                 585           35                     35 AGM
   ,QğQLWLI30
   2001-98 V6/3.0L                                                                 585           24F                    24F AGM
   1997-96 V6/3.0L       Calif                                                     415           24F                    24F AGM
   See page 151 for Footnotes. Selection may vary by warehouse.

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82                                              Automotive/Light Truck
  YEAR      ENGINE                    OPTIONS            ORIGINAL EQUIPMENT           GROUP SIZE                ALTERNATE SIZE
                                                             CCA/RATING                (NOTES)                     (NOTES)

,QğQLWLI30 (continued)
1997-96 V6/3.0L      Can & Opt                                  585           24F                     24F AGM
1997-96 V6/3.0L      US                                         360           35                      35 AGM
,QğQLWLI35
2004-03 V6/3.5L                                                 445           24F                      24F AGM
2002    V6/3.5L                                                 585           24F                      24F AGM
,QğQLWLJ30
1997-93 V6/3.0L                                                 585           24                       —
,QğQLWLJX35
2013      V6/3.5L                                               720           —                        —
,QğQLWLM30
1992      V6/3.0L    Conv                                       360           25                       —
1992      V6/3.0L    Ex Conv                                    415           24                       —
1992      V6/3.0L    Opt                                        585           24                       —
1991-90   V6/3.0L                                               415           24                       —
,QğQLWLM35
2010-06 V6/3.5L                                                 700           24F                      24F AGM
,QğQLWLM37
2013-11 V6/3.7L                                                 700           24F                      24F AGM
,QğQLWLM45
2010-06 V8/4.5L                                                 750           —                        —
2004    V8/4.5L                                                 490           25 45                    — 45
2003    V8/4.5L                                                 585           24                       —
,QğQLWLM56
2013-11 V8/5.6L                                                 750           —                        —
,QğQLWLQ40
2015      V6/3.7L                                               585           35                       35 AGM
,QğQLWLQ45
2006-02 V8/4.5L                                                 585           24F                      24F AGM
2001-97 V8/4.1L                                                 585           24                       —
1996-90 V8/4.5L                                                 625           27                       —
,QğQLWLQ50
2019-18   V6/3.0L                                               600           —                        —
2018      V6/3.5L    Hybrid                                     600           —                        —
2016      V6/3.5L    Ex HEV w/o EFB                             640           35                       35 AGM
2015-14   V6/3.7L                                               585           35                       35 AGM
2015      V6/3.5L    Hybrid                                     585           35                       35 AGM
2014      V6/3.5L    Hybrid                                     585           —                        —
,QğQLWLQ60
2019-17 V6/3.0L                                                 600           —                        —
2015-14 V6/3.7L                                                 720           —                        —
2014    V6/3.7L                                                 585           35                       35 AGM
,QğQLWLQ70
2016      V8/5.6L                                               700           24F                      24F AGM
2016-14   V6/3.7L                                               585           35                       35 AGM
2015-14   V6/3.5L    Hybrid                                     585           —                        —
2015-14   V8/5.6L                                               585           35                       35 AGM
,QğQLWLQ70L
2016-15 V6/3.7L                                                 585           35                       35 AGM
2016-15 V8/5.6L                                                 585           35                       35 AGM
,QğQLWLQX4
2003      V6/3.5L                                               490           24                      —
2002      V6/3.5L                                               360           25                      —
2001      V6/3.5L                                               490           24                      —
2000-97   V6/3.3L    HD, w/HS & Can                             450           24                      —
2000-97   V6/3.3L    US                                         360           25                      —
,QğQLWLQX50
2020-19   L4/2.0L                                               700           —                        —
2017      V6/3.7L                                               585           35                       35 AGM
2016      V6/3.7L                                               550           35                       35 AGM
2016      V6/3.7L    Opt                                        720           —                        —
2015-14   V6/3.7L                                               720           —                        —
,QğQLWLQX56
2013-12 V8/5.6L                                                 710           27                       —
2010-04 V8/5.6L                                                 710           27F                      —
,QğQLWLQX60
2017-14 V6/3.5L                                                 550        35                          35 AGM
2015-14 L4/2.5L      Hybrid                                     500        51R                         —
2015-14 V6/3.5L                                                 720        —                           —
                                                                      See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                     Costco_001725
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 527 Isuzu
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   Automotive/Light Truck                                                                                                                     83
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT               GROUP SIZE              ALTERNATE SIZE
                                                                                CCA/RATING                    (NOTES)                   (NOTES)

   ,QğQLWLQX70
   2017      V6/3.7L                                                               585           35                       35 AGM
   2016-15   V6/3.7L      Opt                                                      720           —                        —
   2016      V6/3.7L                                                               550           35                       35 AGM
   2015-14   V6/3.7L                                                               720           —                        —
   ,QğQLWLQX80
   2017-14 V8/5.6L                                                                 780           27                       —
   Isuzu Amigo
   2000-98   L4/2.2L                                                               600           24F                      24F AGM
   2000-98   V6/3.2L                                                               600           24F                      24F AGM
   1994-90   L4/2.6L      AT                                                       600           24                       —
   1994-90   L4/2.6L      MT                                                       430           25                       —
   1993-90   L4/2.3L      AT                                                       600           24                       —
   1993-90   L4/2.3L      MT                                                       430           25                       —
   Isuzu Ascender
   2008-03 L6/4.2L                                                                 600           78 40                    — 40
   2006-03 V8/5.3L                                                                 600           78 40                    — 40
   Isuzu Axiom
   2004-02 V6/3.5L                                                                 600           24F                      24F AGM
   Isuzu Hombre
   2000-97   V6/4.3L                                                               525           75                       —
   2000-97   V6/4.3L      Opt                                                      690           —                        —
   2000-96   L4/2.2L                                                               525           75                       —
   2000-96   L4/2.2L      Opt                                                      690           —                        —
   Isuzu i-280
   2006      L4/2.8L                                                               640           86 11, 40                — 11, 40
   Isuzu i-290
   2008      L4/2.9L                                                               640           86 40                    — 40
   2007      L4/2.9L                                                               640           86 11, 40                — 11, 40
   Isuzu i-350
   2006      L5/3.5L                                                               640           86 11, 40                — 11, 40
   Isuzu i-370
   2008      L5/3.7L                                                               640           86 40                    — 40
   2007      L5/3.7L                                                               640           86 11, 40                — 11, 40
   Isuzu Impulse
   1992-90 L4/1.6L                                                                 355           35                       35 AGM
   1992    L4/1.8L                                                                 355           35                       35 AGM
   Isuzu Oasis
   1999-98 L4/2.3L                                                                 550           24F                      24F AGM
   1997-96 L4/2.2L                                                                 550           24F                      24F AGM
   Isuzu Pickup
   1995-90   L4/2.3L      AT                                                       600           24                       —
   1995-90   L4/2.3L      MT                                                       430           25                       —
   1995      L4/2.6L                                                               600           24                       —
   1994-91   V6/3.1L                                                               430           25                       —
   1994-90   L4/2.6L      AT                                                       600           24                       —
   1994-90   L4/2.6L      MT                                                       430           25                       —
   Isuzu Rodeo
   2004-98   V6/3.2L                                                               600           24F                      24F AGM
   2004      V6/3.5L                                                               650           24                       —
   2003-01   V6/3.2L      Can & Opt                                                625           27F                      —
   2003-98   L4/2.2L                                                               600           24F                      24F AGM
   2003      L4/2.2L      Can & Opt                                                625           27F                      —
   1997-93   L4/2.6L                                                               430           86                       —
   1997      V6/3.2L                                                               600           24                       —
   1996-93   V6/3.2L      AT                                                       600           24                       —
   1996-93   V6/3.2L      MT                                                       430           86                       —
   1996      L4/2.6L      Opt                                                      600           24                       —
   1992-91   L4/2.6L                                                               380           25                       —
   1992-91   L4/2.6L      Opt                                                      610           24                       —
   1992-91   V6/3.1L      AT, HD                                                   610           24                       —
   1992-91   V6/3.1L      MT                                                       380           25                       —
   Isuzu Rodeo Sport
   2003      L4/2.2L      Can or Opt                                               625           27F                      —
   2003      L4/2.2L      US                                                       600           24F                      24F AGM
   2003      V6/3.2L      Can or Opt                                               625           27F                      —
   2003      V6/3.2L      US                                                       600           24F                      24F AGM
   2002-01   L4/2.2L                                                               600           24F                      24F AGM
   2002-01   V6/3.2L                                                               600           24F                      24F AGM
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84                                                     Automotive/Light Truck
  YEAR      ENGINE                           OPTIONS        ORIGINAL EQUIPMENT             GROUP SIZE                 ALTERNATE SIZE
                                                                CCA/RATING                  (NOTES)                      (NOTES)

Isuzu Stylus
1993-91 L4/1.6L                                                    355           35                        35 AGM
1992    L4/1.8L                                                    355           35                        35 AGM
Isuzu Trooper
2002-01   V6/3.5L    HD or w/AT                                    625           27                       —
2002-01   V6/3.5L    MT                                            585           24                       —
2000-98   V6/3.5L    AT                                            625           27                       —
2000-98   V6/3.5L    MT                                            580           24                       —
1997-95   V6/3.2L    AT                                            625           27                       —
1997-95   V6/3.2L    MT                                            580           24                       —
1994-92   V6/3.2L    AT                                            580           24                       —
1994-92   V6/3.2L    MT                                            490           24                       —
1994-92   V6/3.2L    Opt                                           620           27                       —
1991-90   L4/2.6L    AT                                            490           24                       —
1991-90   L4/2.6L    MT                                            350           25                       —
1991-90   V6/2.8L    AT                                            490           24                       —
1991-90   V6/2.8L    MT                                            350           25                       —
Isuzu VehiCROSS
2001-99 V6/3.5L      Opt                                           625           27                        —
2001    V6/3.5L                                                    585           24                        —
2000-99 V6/3.5L                                                    580           24                        —
Jaguar F-Pace
2017      L4/2.0L                                                  850           H7 (94R) AGM 33           — 33
2017      V6/3.0L                                                  850           H7 (94R) AGM 33           — 33
Jaguar F-Type
2017-14   V6/3.0L                                                  900           H8 (49) AGM 33, 54        — 33, 54
2017-14   V8/5.0L                                                  900           H8 (49) AGM 33, 54        — 33, 54
2016-15   V6/3.0L    Primary Bat                                   900           H8 (49) AGM 33            — 33
2016-15   V8/5.0L    Primary Bat                                   900           H8 (49) AGM 33            — 33
2014      V6/3.0L    Primary Bat                                   850           H8 (49) AGM 33            — 33
2014      V8/5.0L    Primary Bat                                   850           H8 (49) AGM 33            — 33
Jaguar S-Type
2008-07   V6/3.0L                                                 90 Ah          H8 (49) 50                H8 (49) AGM 50
2008      V8/4.2L                                                  800           — 50                      H8 (49) AGM 50
2008      V8/4.2L                                                  850           — 50                      H8 (49) AGM 50
2008      V8/4.2L                                                  850           — 54                      H8 (49) AGM 54
2007      V8/4.2L                                                 90 Ah          H8 (49) 50                H8 (49) AGM 50
2006-03   V6/3.0L                                                  750           — 50                      H8 (49) AGM 50
2006-03   V6/3.0L                                                  750           — 54                      H8 (49) AGM 54
2006-03   V6/3.0L                                                  800           — 50                      H8 (49) AGM 50
2006-03   V8/4.2L                                                  750           — 50                      H8 (49) AGM 50
2006-03   V8/4.2L                                                  750           — 54                      H8 (49) AGM 54
2006-03   V8/4.2L                                                  800           — 50                      H8 (49) AGM 50
2002-01   V6/3.0L                                                  680           H8 (49) 50                H8 (49) AGM 50
2002-00   V6/3.0L                                                  680           H8 (49) 54                H8 (49) AGM 54
2002-00   V8/4.0L                                                  680           H8 (49) 54                H8 (49) AGM 54
Jaguar Super V8
2009-07 V8/4.2L                                                    800           —                         —
2006-05 V8/4.2L                                                    680           —                         —
Jaguar Vanden Plas
2009      V8/4.2L                                                  680           —                         —
2008-04   V8/4.2L                                                  680           —                         —
2003-98   V8/4.0L                                                  680           H8 (49)                   H8 (49) AGM
1997      L6/4.0L                                                  680           —                         —
1996-94   L6/4.0L                                                  590           —                         —
1993      L6/4.0L                                                  640           —                         —
1992-91   L6/4.0L                                                  590           —                         —
1990      L6/4.0L                                                  590           —                         —
Jaguar XE
2017      L4/2.0L                                                  850           H7 (94R) AGM 33           — 33
2017      V6/3.0L                                                  850           H7 (94R) AGM 33           — 33
Jaguar XF
2017-14   V6/3.0L                                                  850           H7 (94R) AGM 33           — 33
2017      L4/2.0L                                                  850           H7 (94R) AGM 33           — 33
2015-14   L4/2.0L                                                  800           —                         H8 (49) AGM
2015-14   V8/5.0L                                                  900           H8 (49) AGM 33            — 33
2015-14   V8/5.0L    Primary Bat                                   900           H8 (49) AGM 33            — 33
2015-13   V6/3.0L                                                  900           H8 (49) AGM 33            — 33
2013-12   V8/5.0L    Can (from VIN S30208)                         850           H8 (49) AGM 33, 50        — 33, 50
2013      L4/2.0L                                                  800           — 50                      H8 (49) AGM 50
2013      L4/2.0L    GTDi                                         90 Ah          H8 (49)                   H8 (49) AGM
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                                                                                                                                         Costco_001727
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   Automotive/Light Truck                                                                                                                 85
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT              GROUP SIZE           ALTERNATE SIZE
                                                                                CCA/RATING                   (NOTES)                (NOTES)

   Jaguar XF (continued)
   2013      V8/5.0L      Primary Bat                                              800           H8 (49) AGM 33, 54      — 33, 54
   2012-10   V8/5.0L                                                               800           — 50                    H8 (49) AGM 50
   2012-10   V8/5.0L      Can (to VIN S30207)                                     90 Ah          H8 (49) 50              H8 (49) AGM 50
   2010-09   V8/4.2L                                                               800           — 50                    H8 (49) AGM 50
   Jaguar XFR
   2015-14 V8/5.0L        Primary Bat                                              900           H8 (49) AGM 33          — 33
   2015-11 V8/5.0L                                                                 800           — 50                    H8 (49) AGM 50
   2013-10 V8/5.0L        S/C                                                      800           — 50                    H8 (49) AGM 50
   Jaguar XFR-S
   2015-14 V8/5.0L        Primary Bat                                              900           H8 (49) AGM 33          — 33
   2015-13 V8/5.0L                                                                 800           — 50                    H8 (49) AGM 50
   2013    V8/5.0L        S/C                                                      800           H8 (49) AGM 33, 50      — 33, 50
   Jaguar XJ
   2017-16   V8/5.0L                                                               900           H8 (49) AGM 33          — 33
   2017-14   V6/3.0L                                                               900           H8 (49) AGM 33          — 33
   2016      V8/5.0L      Aux Bat                                                  900           H8 (49) AGM 33          — 33
   2016      V8/5.0L      Primary Bat                                              900           H8 (49) AGM 33          — 33
   2015-14   V8/5.0L                                                               800           H8 (49) AGM 33, 50      — 33, 50
   2015-14   V8/5.0L                                                               900           H8 (49) AGM 33, 50      — 33, 50
   2013-12   V8/5.0L      Can (from VIN V26780)                                    850           H8 (49) AGM 33, 50      — 33, 50
   2013-11   V8/5.0L                                                               800           — 50                    H8 (49) AGM 50
   2013      V6/3.0L                                                               800           — 50                    H8 (49) AGM 50
   2013      V8/5.0L      Primary Bat                                              800           H8 (49) AGM 33, 50      — 33, 50
   2012-11   V8/5.0L                                                               800           — 50, 54                H8 (49) AGM 50, 54
   Jaguar XJ12
   1996-94 V12/6.0L                                                                590           —                       —
   1992-91 V12/5.3L                                                                590           —                       —
   1990-86 V12/5.3L                                                                590           34 6                    —6
   Jaguar XJ6
   1997-95   L6/4.0L                                                               800           — 50                    H8 (49) AGM 50
   1994-93   L6/4.0L                                                               640           H6 (48) 50              H6 (48) AGM 50
   1992-90   L6/4.0L      Must use Jaguar tray DBC 10489                           640           H6 (48) 50              H6 (48) AGM 50
   1991-90   L6/4.0L      Opt                                                      450           —                       —
   Jaguar XJ8
   2009-04 V8/4.2L                                                                90 Ah          H8 (49) 50              H8 (49) AGM 50
   2003-98 V8/4.0L                                                                 680           H8 (49)                 H8 (49) AGM
   Jaguar XJR
   2009-07   V8/4.2L                                                               800           — 50, 54                H8 (49) AGM 50, 54
   2006-04   V8/4.2L                                                               750           — 50                    H8 (49) AGM 50
   2003-98   V8/4.0L                                                               680           H8 (49)                 H8 (49) AGM
   1997      L6/4.0L                                                               680           H8 (49)                 H8 (49) AGM
   1996-95   L6/4.0L                                                               590           —                       —
   Jaguar XJR-S
   1993      V12/6.0L                                                              590           —                       —
   Jaguar XJS
   1996-95   L6/4.0L                                                               600           H6 (48)                 H6 (48) AGM
   1995-94   V12/6.0L                                                              590           —                       —
   1994-92   L6/4.0L                                                               590           —                       —
   1992-91   V12/5.3L                                                              590           —                       —
   1990-89   V12/5.3L                                                              590           —                       —
   Jaguar XK
   2015-14   V8/5.0L                                                               800           —                       —
   2013-10   V8/5.0L                                                               800           —                       —
   2013      V8/5.0L                                                               800           — 50                    H8 (49) AGM 50
   2012      V8/5.0L      Opt                                                      800           — 54                    H8 (49) AGM 54
   2011-10   V8/5.0L                                                               800           — 54                    H8 (49) AGM 54
   2009-07   V8/4.2L                                                               800           —                       —
   Jaguar XK8
   2006      V8/4.2L                                                               750           — 54                    H8 (49) AGM 54
   2005-04   V8/4.2L                                                               750           — 50                    H8 (49) AGM 50
   2003      V8/4.2L                                                               680           H8 (49)                 H8 (49) AGM
   2002-97   V8/4.0L                                                               680           H8 (49)                 H8 (49) AGM
   Jaguar XKR
   2015-14 V8/5.0L                                                                 800           —                       —
   2013-10 V8/5.0L                                                                 800           — 50                    H8 (49) AGM 50
   2013-10 V8/5.0L                                                                 800           — 54                    H8 (49) AGM 54
   2009-07 V8/4.2L                                                                 800           —                       —
   2006-04 V8/4.2L                                                                 750           — 50                    H8 (49) AGM 50
   2003      V8/4.2L                                                               680           H8 (49)                 H8 (49) AGM
   2002-00 V8/4.0L                                                                 680           H8 (49)                 H8 (49) AGM
   See page 151 for Footnotes. Selection may vary by warehouse.

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86                                                           Automotive/Light Truck
  YEAR       ENGINE                                OPTIONS        ORIGINAL EQUIPMENT            GROUP SIZE                  ALTERNATE SIZE
                                                                      CCA/RATING                 (NOTES)                       (NOTES)

Jaguar XKR-S
2015-14 V8/5.0L                                                          800           —                         —
2013    V8/5.0L                                                          800           — 50                      H8 (49) AGM 50
2012    V8/5.0L                                                          800           — 54                      H8 (49) AGM 54
Jaguar X-Type
2008-07   V6/3.0L                                                       80 Ah          H7 (94R)                  H7 (94R) AGM
2006-04   V6/3.0L                                                        700           H7 (94R)                  H7 (94R) AGM
2005-02   V6/2.5L                                                        700           H7 (94R)                  H7 (94R) AGM
2003-02   V6/2.5L                                                        640           H7 (94R)                  H7 (94R) AGM
2003-02   V6/3.0L                                                        640           H7 (94R)                  H7 (94R) AGM
Jeep Cherokee
2020-19   L4/2.0L                                                        700           H7 (94R)                  H7 (94R) AGM
2020-19   L4/2.4L                                                        700           H7 (94R)                  H7 (94R) AGM
2020-19   V6/3.2L                                                        700           H7 (94R)                  H7 (94R) AGM
2018-14   L4/2.4L                                                        600           H6 (48)                   H6 (48) AGM
2018-14   V6/3.2L                                                        730           H7 (94R)                  H7 (94R) AGM
2001-98   L6/4.0L                                                        500           34                        —
2000-98   L4/2.5L                                                        500           34                        —
1997-90   L4/2.5L                                                        430           58                        —
1997-90   L4/2.5L     Opt                                                500           58                        —
1997-90   L6/4.0L                                                        430           58                        —
1997-90   L6/4.0L     Opt                                                500           58                        —
Jeep Comanche
1992-90   L4/2.5L                                                        430           58                        —
1992-90   L4/2.5L     Opt                                                500           58                        —
1992-90   L6/4.0L                                                        430           58                        —
1992-90   L6/4.0L     Opt                                                500           58                        —
Jeep Commander
2010      V6/3.7L                                                        625           H7 (94R)                  H7 (94R) AGM
2010      V8/5.7L                                                        625           H7 (94R)                  H7 (94R) AGM
2009      V6/3.7L                                                        730           H7 (94R)                  H7 (94R) AGM
2009      V8/4.7L                                                        730           H7 (94R)                  H7 (94R) AGM
2009      V8/4.7L                                                        730           H7 (94R) 57               H7 (94R) AGM 57
2009      V8/5.7L                                                        730           H7 (94R)                  H7 (94R) AGM
2008      V6/3.7L     Early                                              730           H7 (94R)                  H7 (94R) AGM
2008      V6/3.7L     Late                                               625           H7 (94R)                  H7 (94R) AGM
2008      V8/4.7L     Early                                              730           H7 (94R)                  H7 (94R) AGM
2008      V8/4.7L     Early                                              730           H7 (94R) 57               H7 (94R) AGM 57
2008      V8/4.7L     Late                                               625           H7 (94R)                  H7 (94R) AGM
2008      V8/4.7L     Late                                               625           H7 (94R) 57               H7 (94R) AGM 57
2008      V8/5.7L     Early                                              730           H7 (94R)                  H7 (94R) AGM
2008      V8/5.7L     Late                                               625           H7 (94R)                  H7 (94R) AGM
2007-06   V6/3.7L                                                        730           H7 (94R) 50               H7 (94R) AGM 50
2007-06   V8/4.7L                                                        730           H7 (94R)                  H7 (94R) AGM
2007-06   V8/4.7L                                                        730           H7 (94R) 50               H7 (94R) AGM 50
2007-06   V8/5.7L                                                        730           H7 (94R) 50               H7 (94R) AGM 50
Jeep Compass
2020-18   L4/2.4L     Aux for Start/Stop                                 200           —                         —
2020-18   L4/2.4L     w/Start/Stop                                       600           H5 (47) AGM 33            — 33
2020-17   L4/2.4L     w/o Start/Stop                                     600           H6 (48)                   H6 (48) AGM
2017      L4/2.4L     w/Start/Stop                                       500           H5 (47) AGM 33            — 33
2017      L4/2.4L     w/Start/Stop                                       500           H5 (47) AGM 33            — 33
2017-07   L4/2.0L                                                        525           86                        —
2016-07   L4/2.4L                                                        525           86                        —
Jeep Gladiator
2020      V6/3.6L                                                        650           H6 (48) AGM 33           — 33
2020      V6/3.6L     Aux Bat                                            200           —                        —
2020      V6/3.6L     Optional                                           700           H7 (94R) AGM 33          — 33
Jeep Grand Cherokee
2020      V6/3.6L     Opt Aux Bat for Start/Stop                         180           —                         —
2020-19   V6/3.0L     Dsl                                                800           H8 (49) AGM 33, 50        — 33, 50
2020-19   V8/6.4L                                                        700           H7 (94R) AGM 33, 50       — 33, 50
2020-19   V8/6.2L                                                        700           H7 (94R) AGM 33, 50       — 33, 50
2020-16   V6/3.6L     Aux Bat for Start/Stop                             200           —                         —
2020-16   V6/3.6L     w/Start/Stop                                       650           H6 (48) AGM 33, 50        — 33, 50
2020-16   V6/3.6L     w/o Start/Stop                                     700           H7 (94R) AGM 33, 50       — 33, 50
2017-16   V6/3.6L     Aux for Start/Stop                                 180           —                         —
2017      V6/3.0L     Aux for Start/Stop                                 180           —                         —
2020-16   V8/5.7L                                                        700           H7 (94R) AGM 33, 50       — 33, 50
2017-11   V8/5.7L     Opt                                                800           H8 (49) AGM 33, 50        — 33, 50
2017-15   V6/3.0L     Dsl                                                800           H8 (49) AGM 33, 50        — 33, 50
2015      V6/3.6L     Opt                                                800           H8 (49) AGM 33, 50        — 33, 50
                                                                                See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                               Costco_001729
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 531 Jeep
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   Automotive/Light Truck                                                                                                                   87
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE              ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)                   (NOTES)

   Jeep Grand Cherokee (continued)
   2015-14   V8/5.7L                                                               700           H7 (94R) AGM 33, 50    — 33, 50
   2016-14   V8/6.4L                                                               730           H7 (94R) AGM 33, 50    — 33, 50
   2014-11   V8/5.7L                                                               700           H7 (94R) AGM 33, 50    — 33, 50
   2013-12   V8/6.4L                                                               700           H7 (94R) AGM 33, 50    — 33, 50
   2013-11   V6/3.6L                                                               700           H7 (94R) AGM 33, 50    — 33, 50
   2010      V6/3.7L                                                               625           H7 (94R)               H7 (94R) AGM
   2010      V8/5.7L                                                               750           H7 (94R)               H7 (94R) AGM
   2010      V8/6.1L                                                               625           H7 (94R)               H7 (94R) AGM
   2009      V8/6.1L                                                               730           H7 (94R)               H7 (94R) AGM
   2009      V6/3.7L                                                               730           H7 (94R)               H7 (94R) AGM
   2009      V8/4.7L                                                               730           H7 (94R)               H7 (94R) AGM
   2009      V8/5.7L                                                               730           H7 (94R)               H7 (94R) AGM
   2009      V8/4.7L                                                               730           H7 (94R) 57            H7 (94R) AGM 57
   2009-08   V6/3.0L      Dsl                                                      800           —                      H8 (49) AGM
   2008      V6/3.7L      Early                                                    730           H7 (94R)               H7 (94R) AGM
   2008      V6/3.7L      Late                                                     625           H7 (94R)               H7 (94R) AGM
   2008      V8/4.7L      Early                                                    730           H7 (94R)               H7 (94R) AGM
   2008      V8/4.7L      Early                                                    730           H7 (94R) 57            H7 (94R) AGM 57
   2008      V8/4.7L      Late                                                     625           H7 (94R)               H7 (94R) AGM
   2008      V8/4.7L      Late                                                     625           H7 (94R) 57            H7 (94R) AGM 57
   2008      V8/5.7L      Early                                                    730           H7 (94R)               H7 (94R) AGM
   2008      V8/5.7L      Late                                                     625           H7 (94R)               H7 (94R) AGM
   2008      V8/6.1L      Early                                                    730           H7 (94R)               H7 (94R) AGM
   2008      V8/6.1L      Late                                                     625           H7 (94R)               H7 (94R) AGM
   2007      V6/3.0L      Dsl                                                      730           H7 (94R)               H7 (94R) AGM
   2007-06   V8/6.1L                                                               730           H7 (94R)               H7 (94R) AGM
   2007-05   V6/3.7L                                                               730           H7 (94R)               H7 (94R) AGM
   2007-05   V8/4.7L                                                               730           H7 (94R)               H7 (94R) AGM
   2007-05   V8/5.7L                                                               730           H7 (94R)               H7 (94R) AGM
   2004-99   L6/4.0L                                                               625           65                     65 AGM
   2004-99   V8/4.7L                                                               625           65                     65 AGM
   1998-93   L6/4.0L                                                               600           34                     —
   1998-93   V8/5.2L                                                               600           34                     —
   1998      V8/5.9L                                                               600           34                     —
   Jeep Grand Wagoneer
   1993    V8/5.2L                                                                 600           34                     —
   1991-90 V8/5.9L                                                                 500           58                     —
   Jeep Liberty
   2012-03   V6/3.7L                                                               600           34                     —
   2006-05   L4/2.8L      Dsl                                                      800           —                      —
   2005-03   L4/2.4L                                                               600           34                     —
   2002      L4/2.4L                                                               525           86                     —
   2002      V6/3.7L                                                               525           86                     —
   Jeep Patriot
   2017-07 L4/2.0L                                                                 525           86                     —
   2017-07 L4/2.4L                                                                 525           86                     —
   Jeep Renegade
   2018-17 L4/1.4L                                                                 500           H5 (47)                H5 (47) AGM
   2018-15 L4/2.4L                                                                 600           H6 (48)                H6 (48) AGM
   2016-15 L4/1.4L                                                                 600           H6 (48)                H6 (48) AGM
   Jeep TJ
   2006-05   L4/2.4L                                                               600           34                     —
   2006-02   L6/4.0L                                                               600           34                     —
   2003      L4/2.4L                                                               600           34                     —
   2002      L4/2.5L                                                               600           34                     —
   2001-97   L4/2.5L                                                               500           34                     —
   2001-97   L6/4.0L                                                               500           34                     —
   Jeep Wagoneer
   1990      L6/4.0L                                                               430           58                     —
   1990      L6/4.0L      Opt                                                      500           58                     —
   Jeep Wrangler
   2020      V6/3.6L     Aux Bat, w/Start/Stop                                     200           —                      —
   2020      V6/3.0L     w/Start/Stop                                              650           H6 (48) AGM 33, 50     — 33, 50
   2020      V6/3.0L     w/o Start/Stop                                            700           H7 (94R) AGM 33, 50    — 33, 50
   2020      V6/3.0L     Aux Bat, w/Start/Stop                                     200           —                      —
   2020      V6/3.0L     Opt Aux Bat, w/Start/Stop                                 180           —                      —
   2020      L4/2.0L     w/o Start/Stop                                            700           H7 (94R) AGM 33, 50    — 33, 50
   2020      L4/2.0L     w/Start/Stop                                              650           H6 (48) AGM 33, 50     — 33, 50
   2020      L4/2.0L     Aux Bat, w/Start/Stop                                     200           —                      —
   2020      L4/2.0L     Opt Aux Bat, w/Start/Stop                                 180           —                      —
   2020-19 V6/3.6L       w/Start/Stop                                              650           H6 (48) AGM 33, 50     — 33, 50
   See page 151 for Footnotes. Selection may vary by warehouse.

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  YEAR       ENGINE                                      OPTIONS        ORIGINAL EQUIPMENT             GROUP SIZE            ALTERNATE SIZE
                                                                            CCA/RATING                  (NOTES)                 (NOTES)

Jeep Wrangler (continued)
2020-19   V6/3.6L     Opt Aux Bat, w/Start/Stop                                180           —                       —
2020-19   V6/3.6L     w/o Start/Stop                                           700           H7 (94R) AGM 33, 50     — 33, 50
2019      L4/2.0L     Hybrid, w/Start/Stop                                     650           H6 (48) AGM 33, 50      — 33, 50
2019      L4/2.0L     Hybrid Aux Bat, w/Start/Stop                             200           —                       —
2019      L4/2.0L     Hybrid Opt Aux Bat, w/Start/Stop                         180           —                       —
2019      L4/2.0L     Hybrid, w/o Start/Stop                                   700           H7 (94R) AGM 33, 50     — 33, 50
2019-18   V6/3.6L     Aux Bat                                                  200           —                       —
2018      V6/3.6L                                                              650           H6 (48) AGM 33, 50      — 33, 50
2017      V6/3.6L                                                              600           H6 (48)                 H6 (48) AGM
2016-14   V6/3.6L                                                              600           H6 (48) AGM 33, 50      — 33, 50
2013-12   V6/3.6L                                                              600           H6 (48)                 H6 (48) AGM
2011-07   V6/3.8L                                                              600           34                      —
2006-03   L4/2.4L     Incl TJ                                                  600           34                      —
2006-02   L6/4.0L                                                              600           34                      —
2006-02   L6/4.0L     Incl TJ                                                  600           34                      —
2005-03   L4/2.4L                                                              600           34                      —
2002      L4/2.5L                                                              600           34                      —
2002      L4/2.5L     Incl TJ                                                  600           34                      —
2001-98   L6/4.0L                                                              500           34                      —
2001-97   L4/2.5L                                                              500           34                      —
2001-97   L4/2.5L     Incl TJ                                                  500           34                      —
2001-97   L6/4.0L     Incl TJ                                                  500           34                      —
2000-97   L4/2.5L     Opt                                                      600           34                      —
2000-97   L6/4.0L     Opt                                                      600           34                      —
1995-91   L6/4.0L                                                              430           58                      —
1995-91   L6/4.0L     Opt                                                      500           58                      —
1995-90   L4/2.5L                                                              430           58                      —
1995-90   L4/2.5L     Opt                                                      500           58                      —
1990      L4/2.5L     YJ                                                       420           —                       —
1990      L4/2.5L     YJ & Opt                                                 450           —                       —
1990      L4/2.5L     YJ HD                                                    500           —                       —
1990      L6/4.2L                                                              430           58                      —
1990      L6/4.2L     Opt                                                      500           58                      —
1990      L6/4.2L     YJ                                                       420           —                       —
1990      L6/4.2L     YJ & Opt                                                 450           —                       —
1990      L6/4.2L     YJ HD                                                    500           —                       —
Jeep Wrangler JK
2018      V6/3.6L                                                              600           H6 (48)                  H6 (48) AGM
Kia Amanti
2009-07 V6/3.8L                                                                600           124R                     —
2006-05 V6/3.5L                                                                600           124R                     —
2004    V6/3.5L                                                                600           —                        —
Kia Borrego
2011-09 V6/3.8L                                                                600           124R                     —
2011-09 V8/4.6L                                                                900           —                        —
Kia Cadenza
2019-17 V6/3.3L                                                                800           H7 (94R) AGM 33          — 33
2016-14 V6/3.3L                                                                660           124R                     —
Kia Forte
2017      L4/2.0L     Ex LX                                                    640           H6 (48)                  H6 (48) AGM
2017      L4/2.0L     LX                                                       N/A           H5 (47) AGM 33           — 33
2016-14   L4/1.8L                                                              550           —                        H5 (47) AGM
2016-14   L4/2.0L                                                              550           —                        H5 (47) AGM
2016-14   L4/2.0L                                                              640           H6 (48)                  H6 (48) AGM
2014      L4/2.0L                                                              660           H6 (48)                  H6 (48) AGM
2013-10   L4/2.0L                                                              550           121R                     —
2013-10   L4/2.4L                                                              550           121R                     —
Kia Forte 5
2017      L4/1.6L     Ex LX                                                    550           —                        H5 (47) AGM
2017      L4/1.6L     LX                                                       N/A           H5 (47) AGM 33           — 33
2017      L4/2.0L     Ex LX                                                    640           H6 (48)                  H6 (48) AGM
2017      L4/2.0L     LX                                                       N/A           H5 (47) AGM 33           — 33
2016-14   L4/1.6L                                                              550           —                        H5 (47) AGM
2016-14   L4/2.0L                                                              640           H6 (48)                  H6 (48) AGM
2013-12   L4/2.0L                                                              550           121R                     —
2013-12   L4/2.4L                                                              550           121R                     —
Kia Forte Koup
2017-14   L4/1.6L                                                              600           —                        —
2016-14   L4/2.0L                                                              640           H6 (48)                  H6 (48) AGM
2015-14   L4/1.6L                                                              550           121R                     —
2015-10   L4/2.0L                                                              550           121R                     —
2013-10   L4/2.4L                                                              550           121R                     —
                                                                                     See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                89
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT            GROUP SIZE            ALTERNATE SIZE
                                                                                CCA/RATING                 (NOTES)                 (NOTES)

   Kia K900
   2020-19 V6/3.3L                                                                 950           H9 (95R) AGM 33       — 33
   2017-15 V6/3.8L                                                                 950           H9 (95R) AGM 33       — 33
   2017-15 V8/5.0L                                                                 950           H9 (95R) AGM 33       — 33
   Kia Magentis
   2010-02 V6/2.7L                                                                 600           124R                  —
   2010-01 L4/2.4L                                                                 600           124R                  —
   2001    V6/2.5L                                                                 600           124R                  —
   Kia Optima
   2019      L4/1.6L                                                               760           H6 (48) AGM 33        — 33
   2019      L4/2.4L                                                               760           H6 (48) AGM 33        — 33
   2019-16   L4/2.0L                                                               760           H6 (48) AGM 33        — 33
   2019-17   L4/2.0L      Hybrid                                                   760           H6 (48) AGM 33        — 33
   2018-16   L4/1.6L                                                               800           H7 (94R) AGM 33       — 33
   2018-16   L4/2.4L                                                               800           H7 (94R) AGM 33       — 33
   2015-14   L4/2.4L      Gas                                                      760           H6 (48) AGM 33        — 33
   2015-11   L4/2.0L                                                               600           124R                  —
   2015-11   L4/2.4L      Hybrid                                                   600           —                     —
   2013-04   L4/2.4L      Ex Hybrid                                                600           124R                  —
   2010-02   V6/2.7L                                                               600           124R                  —
   2003-01   L4/2.4L                                                               600           —                     —
   2001      V6/2.5L                                                               600           —                     —
   Kia Rio
   2020-18   L4/1.6L                                                               600           H5 (47) AGM 33        — 33
   2017-14   L4/1.6L      w/o ISG                                                  550           121R                  —
   2017-13   L4/1.6L      w/ISG                                                    760           H6 (48) AGM 33        — 33
   2016      L4/1.6L      w/o ISG                                                  600           121R                  —
   2013-12   L4/1.6L                                                               550           121R                  —
   2011-03   L4/1.6L                                                               500           35                    35 AGM
   2002-01   L4/1.5L                                                               500           35                    35 AGM
   Kia Rio 5
   2011-06 L4/1.6L                                                                 500           35                    35 AGM
   Kia Rondo
   2017-14 L4/2.0L                                                                 600           124R                  —
   2012-07 L4/2.4L                                                                 600           124R                  —
   2012-07 V6/2.7L                                                                 600           124R                  —
   Kia Sedona
   2019-15   V6/3.3L      non R-MDPS                                               660           124R                  —
   2019-15   V6/3.3L      R-MDPS                                                   850           H8 (49) AGM 33        — 33
   2014      V6/3.5L                                                               660           124R                  —
   2012-11   V6/3.5L                                                               660           124R                  —
   2010-06   V6/3.8L                                                               600           124R                  —
   2005-03   V6/3.5L                                                               500           24F                   24F AGM
   2002      V6/3.5L                                                               600           24F                   24F AGM
   Kia Sephia
   2001-95 L4/1.8L                                                                 450           90 (T5) 45            — 45
   1997-94 L4/1.6L                                                                 450           —                     —
   Kia Sorento
   2019-16   L4/2.4L                                                               800           H7 (94R) AGM 33       — 33
   2019-16   V6/3.3L                                                               800           H7 (94R) AGM 33       — 33
   2018-16   L4/2.0L                                                               800           H7 (94R) AGM 33       — 33
   2016      L4/2.0L      AGM                                                      800           H7 (94R) AGM 33       — 33
   2016      L4/2.4L      AGM                                                      800           H7 (94R) AGM 33       — 33
   2016      V6/3.3L      AGM                                                      800           H7 (94R) AGM 33       — 33
   2015-14   V6/3.3L                                                               660           124R                  —
   2015      L4/2.4L                                                               660           124R                  —
   2014      L4/2.4L                                                               600           124R                  —
   2013-11   L4/2.4L                                                               700           124R                  —
   2013-11   V6/3.5L                                                               700           124R                  —
   2009-08   V6/3.3L                                                               600           —                     —
   2009-07   V6/3.8L                                                               600           —                     —
   2006-03   V6/3.5L                                                               600           —                     —
   Kia Soul
   2019      L4/1.6L      MT or Turbo                                              600           121R                  —
   2019-18   L4/1.6L      AT                                                       600           H5 (47) AGM 33        — 33
   2019-16   L4/2.0L                                                               760           H6 (48) AGM 33        — 33
   2017      L4/1.6L      w/ISG or Turbo                                           760           H6 (48) AGM 33        — 33
   2017      L4/1.6L      w/o ISG and Turbo                                        550           121R                  —
   2016-13   L4/1.6L      w/ISG                                                    760           H6 (48) AGM 33        — 33
   2016-13   L4/1.6L      w/o ISG                                                  550           121R                  —
   2016-13   L4/2.0L      w/ISG                                                    760           H6 (48) AGM 33        — 33
   See page 151 for Footnotes. Selection may vary by warehouse.

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90                                                                       Automotive/Light Truck
  YEAR       ENGINE                                            OPTIONS        ORIGINAL EQUIPMENT               GROUP SIZE               ALTERNATE SIZE
                                                                                  CCA/RATING                    (NOTES)                    (NOTES)

Kia Soul (continued)
2016      L4/1.6L     w/o ISG                                                        600           121R                      —
2016      L4/2.0L     w/o ISG                                                        600           121R                      —
2015-10   L4/2.0L     w/o ISG                                                        550           121R                      —
2012-10   L4/1.6L                                                                    550           121R                      —
2012-10   L4/1.6L     w/o ISG                                                        410           121R                      —
Kia Soul EV
2019-18               Electric                                                       600           121R                      —
2017-15               Electric                                                       600           121R                      —
Kia Spectra
2009-04 L4/2.0L                                                                      540           121R 6                    —6
2004    L4/1.8L                                                                      540           121R 6                    —6
2003-00 L4/1.8L                                                                      450           90 (T5) 6                 —6
Kia Spectra 5
2009-05 L4/2.0L                                                                      540           121R 6                    —6
Kia Sportage
2019-17   L4/2.0L                                                                    640           H6 (48)                   H6 (48) AGM
2019-17   L4/2.4L                                                                    640           H6 (48)                   H6 (48) AGM
2016-11   L4/2.4L                                                                    600           124R                      —
2016-05   L4/2.0L                                                                    600           124R                      —
2010-05   V6/2.7L                                                                    600           124R                      —
2002      L4/2.0L     From VIN 5593488                                               540           86                        —
2001-00   L4/2.0L     From VIN 5593488                                               540           86 7                      —7
2000      L4/2.0L     To 5/16/2000                                                   470           58 7                      —7
1999      L4/2.0L                                                                    470           58 7                      —7
1999      L4/2.0L     From VIN 5593488                                               540           86                        —
1998-95   L4/2.0L     To VIN 5593487                                                 470           58 6                      —6
Kia Stinger
2019-18 L4/2.0L                                                                      800           H7 (94R) AGM 33           — 33
2019-18 V6/3.3L                                                                      850           H8 (49) AGM 33            — 33
Lamborghini Aventador
2012      V12/6.5L                                                                   800           — 54                      H8 (49) AGM 54
Lamborghini Diablo
2001-00 V12/6.0L                                                                     700           —                         —
2000-91 V12/5.7L                                                                     700           —                         —
1990    V12/5.7L                                                                     700           —                         —
Lamborghini Gallardo
2012-09 V10/5.2L                                                                     800           — 50                      H8 (49) AGM 50
2009-08 V10/5.0L                                                                     800           — 50                      H8 (49) AGM 50
2007-04 V10/5.0L                                                                     700           —                         —
Lamborghini Murcielago
2010-08 V12/6.5L                                                                     800           — 50                      H8 (49) AGM 50
2007-06 V12/6.5L                                                                     700           —                         —
2007-01 V12/6.2L                                                                     700           —                         —
Land Rover Defender 110
2020      L4/2.0L                                                                    850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2020      L6/3.0L     Hybrid                                                         850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
1993      V8/3.9L                                                                    600           24                        —
1993      V8/3.9L                                                                    600           —                         —
Land Rover Defender 90
2020      L4/2.0L                                                                    850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
1997      V8/4.0L                                                                    600           24 9                      —9
1997      V8/4.0L                                                                    600           —                         —
1995-94   V8/3.9L                                                                    600           24 9                      —9
1995-94   V8/3.9L                                                                    600           —                         —
Land Rover Discovery
2004-03   V8/4.6L     Series II, Use with adapter No. 358310                         700           34 9, 1B                  — 9, 1B
2003      V8/4.6L                                                                    590           24 9                      —9
2002-99   V8/4.0L                                                                    600           24 9                      —9
1998-96   V8/4.0L     LJ Ser 1, Use L/R adapter                                      600           34 9                      —9
1995-94   V8/3.9L                                                                    600           34                        —
Land Rover Discovery Sport
2016-15 L4/2.0L                                                                      850           H7 (94R) AGM 33, 50, 54   — 33, 50, 54
2016-15 L4/2.0L       Aux Bat                                                        N/A           —                         —
Land Rover Freelander
2005-04 V6/2.5L                                                                      480        H5 (47)                     H5 (47) AGM
2005-02 V6/2.5L                                                                      680        H6 (48)                     H6 (48) AGM
2003-02 V6/2.5L                                                                      690        —                           —
                                                                                           See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                          Costco_001733
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   Automotive/Light Truck                                                                                                                      91
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE                 ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)                      (NOTES)

   Land Rover LR2
   2015-13 L4/2.0L                                                                 720           H7 (94R)                  H7 (94R) AGM
   2012-08 L6/3.2L                                                                 720           H7 (94R)                  H7 (94R) AGM
   Land Rover LR3
   2009-07   V6/4.0L                                                               700           H7 (94R)                  H7 (94R) AGM
   2009-05   V6/4.0L                                                               720           H8 (49)                   H8 (49) AGM
   2009-05   V8/4.4L                                                               720           H8 (49)                   H8 (49) AGM
   2009-05   V8/4.4L                                                               700           H7 (94R)                  H7 (94R) AGM
   Land Rover LR4
   2016-14 V6/3.0L                                                                 720           H7 (94R)                  H7 (94R) AGM
   2013-10 V8/5.0L                                                                 720           H7 (94R)                  H7 (94R) AGM
   Land Rover Range Rover
   2017-16   V6/3.0L      Dsl                                                      760           H8 (49) AGM 33            — 33
   2017-16   V6/3.0L      Dsl, Cold Climate                                        850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2017-16   V6/3.0L      Dsl, Aux for Start/Stop                                  200           —                         —
   2017-14   V6/3.0L                                                               850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2017-14   V6/3.0L      Aux for Start/Stop                                       200           —                         —
   2017-13   V8/5.0L                                                               850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2017-13   V8/5.0L      Aux for Start/Stop                                       200           —                         —
   2016-15   V8/5.0L                                                               900           H8 (49) AGM 33            — 33
   2016-14   V6/3.0L                                                               900           H8 (49) AGM 33            — 33
   2015      V6/3.0L                                                               720           H8 (49)                   H8 (49) AGM
   2015      V8/5.0L                                                               720           H8 (49)                   H8 (49) AGM
   2014-13   V8/5.0L      Primary Bat                                              900           H8 (49) AGM 33            — 33
   2012-11   V8/5.0L      Can only                                                 850           H8 (49) AGM 33            — 33
   2012-10   V8/5.0L                                                               720           H8 (49)                   H8 (49) AGM
   2012-10   V8/5.0L      Aux Bat                                                  500           —                         —
   2012      V8/5.0L                                                               850           H8 (49) AGM 33, 54        — 33, 54
   2012      V8/5.0L      US (from VIN CA361272)                                   850           H8 (49) AGM 33            — 33
   2011      V8/5.0L      Opt up to VIN BA346442                                   900           H8 (49) AGM 33            — 33
   2011      V8/5.0L      Up to VIN BA346442                                       720           H8 (49)                   H8 (49) AGM
   2011      V8/5.0L      VIN BA346443 to BA349790                                 900           H8 (49) AGM 33            — 33
   2011      V8/5.0L      VIN BA349791 up                                          850           H8 (49) AGM 33, 54        — 33, 54
   2010      V8/5.0L      Opt on VIN AA309295 up                                   900           —                         H8 (49) AGM
   2009-07   V8/4.2L                                                               800           —                         H8 (49) AGM
   2009-07   V8/4.4L                                                               800           —                         H8 (49) AGM
   2009-06   V8/4.2L      Aux Bat                                                  500           —                         —
   2009-06   V8/4.2L      Can only                                                 720           H8 (49)                   H8 (49) AGM
   2009-06   V8/4.2L      US (to VIN CA361271)                                     720           H8 (49)                   H8 (49) AGM
   2009-06   V8/4.4L      Can only                                                 720           H8 (49)                   H8 (49) AGM
   2009-06   V8/4.4L      US (to VIN CA361271)                                     720           H8 (49)                   H8 (49) AGM
   2009-03   V8/4.4L      Aux Bat                                                  500           —                         —
   2006-03   V8/4.4L                                                               850           —                         H9 (95R) AGM
   2006      V8/4.2L                                                               850           —                         H9 (95R) AGM
   2005-03   V8/4.4L                                                               800           —                         —
   2002-99   V8/4.6L                                                               900           —                         —
   2002-99   V8/4.6L      Bosch IGN from VIN XA410482                              600           31A 9                     —9
   2000-99   V8/4.0L                                                               900           —                         —
   2000-99   V8/4.0L      Bosch IGN from VIN XA410482                              600           31A 9                     —9
   1999-95   V8/4.0L      GEM-IGN to XA410481                                      600           —                         —
   1998-96   V8/4.6L                                                               660           31A                       —
   1998-95   V8/4.0L                                                               825           —                         —
   1995-94   V8/4.2L      Classic I                                                600           34 9                      —9
   1995      V8/3.9L                                                               825           —                         —
   1995      V8/4.2L                                                               600           24 9                      —9
   1994-93   V8/4.2L      Can                                                      900           —                         —
   1994-93   V8/4.2L      US                                                       600           24 9                      —9
   1994-90   V8/3.9L      Can                                                      900           —                         —
   1994-90   V8/3.9L      Classic                                                  600           34 9                      —9
   1994-89   V8/3.9L      US                                                       600           24 9                      —9
   Land Rover Range Rover Evoque
   2017-14   L4/2.0L      Aux Bat                                                  200           —                         —
   2017      L4/2.0L                                                               800           H7 (94R) AGM 33, 50, 54   — 33, 50, 54
   2016      L4/2.0L                                                               800           H7 (94R) AGM 33           — 33
   2015      L4/2.0L                                                               800           H7 (94R) AGM 33, 50, 54   — 33, 50, 54
   2014-12   L4/2.0L                                                              80 Ah          H7 (94R)                  H7 (94R) AGM
   Land Rover Range Rover Sport
   2017-16   V6/3.0L      Dsl                                                      760           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2017-16   V6/3.0L      Dsl, Aux for Start/Stop                                  200           —                         —
   2017-16   V6/3.0L      Dsl, Ex Cold Climate                                     850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2017-14   V6/3.0L                                                               850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2017-14   V6/3.0L      Aux for Start/Stop                                       200           —                         —
   See page 151 for Footnotes. Selection may vary by warehouse.

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92                                                      Automotive/Light Truck
  YEAR       ENGINE                          OPTIONS               ORIGINAL EQUIPMENT             GROUP SIZE               ALTERNATE SIZE
                                                                       CCA/RATING                  (NOTES)                    (NOTES)

Land Rover Range Rover Sport (continued)
2017-14   V8/5.0L                                                         850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2017-14   V8/5.0L     Aux for Start/Stop                                  200           —                         —
2016-15   V6/3.0L                                                         900           H8 (49) AGM 33            — 33
2016-15   V8/5.0L                                                         900           H8 (49) AGM 33            — 33
2016      V6/3.0L     Dsl                                                 900           H8 (49) AGM 33            — 33
2016      V8/5.0L                                                         N/A           H8 (49) AGM 33            — 33
2015-10   V8/5.0L                                                         720           H7 (94R)                  H7 (94R) AGM
2015      V6/3.0L                                                         720           H7 (94R)                  H7 (94R) AGM
2014      V6/3.0L     Primary Bat                                         900           H8 (49) AGM 33            — 33
2014      V8/5.0L     Primary Bat                                         900           H8 (49) AGM 33            — 33
2013-10   V8/5.0L                                                         700           H7 (94R)                  H7 (94R) AGM
2009-06   V8/4.2L                                                         720           H8 (49)                   H8 (49) AGM
2009-06   V8/4.2L                                                         700           H7 (94R)                  H7 (94R) AGM
2009-06   V8/4.4L                                                         720           H8 (49)                   H8 (49) AGM
2009-06   V8/4.4L                                                         700           H7 (94R)                  H7 (94R) AGM
Lexus CT200h
2017-11 L4/1.8L       Hybrid                                              325           —                         —
Lexus ES250
1991-90 V6/2.5L                                                           360           35                        35 AGM
Lexus ES300
2003-92 V6/3.0L                                                           360           35                        35 AGM
2003-92 V6/3.0L       Opt                                                 585           24F                       24F AGM
Lexus ES300h
2018-13   L4/2.5L     Hybrid                                              450           —                         —
2016      L4/2.5L                                                         325           —                         —
2015      L4/2.5L     Hybrid                                              450           —                         —
2014-13   L4/2.5L     Hybrid                                              325           —                         —
Lexus ES330
2006-04 V6/3.3L                                                           585           24F                       24F AGM
Lexus ES350
2018-07 V6/3.5L                                                           585           24F                       24F AGM
2016    V6/3.5L                                                           580           24F                       24F AGM
Lexus GS F
2019    V8/5.0L                                                          70 Ah          24                        —
2018-16 V8/5.0L                                                           585           24                        —
2016    V8/5.0L                                                           580           24                        —
Lexus GS Turbo
2017      L4/2.0L                                                         585           24                        —
Lexus GS200t
2016      L4/2.0L                                                         580           24                        —
2016      L4/2.0L                                                         585           24                        —
Lexus GS300
2019-18   L4/2.0L                                                        70 Ah          24                        —
2006      V6/3.0L                                                         585           24                        —
2005-98   L6/3.0L                                                         585           24                        —
1997-93   L6/3.0L                                                         585           24F                       24F AGM
Lexus GS350
2019-18   V6/3.5L                                                        70 Ah          24                        —
2017-13   V6/3.5L                                                         585           24                        —
2016-15   V6/3.5L                                                         580           24                        —
2011-07   V6/3.5L                                                         585           24                        —
Lexus GS400
2000-98 V8/4.0L                                                           585           24                        —
Lexus GS430
2007-01 V8/4.3L                                                           585           24                        —
Lexus GS450h
2017-16   V6/3.5L     Hybrid                                              360           —                         —
2016      V6/3.5L                                                         360           —                         —
2015-13   V6/3.5L     Hybrid                                              360           —                         —
2011-07   V6/3.5L     Hybrid                                              360           —                         —
Lexus GS460
2011-08 V8/4.6L                                                           585           24                        —
Lexus GX460
2019-10 V8/4.6L                                                           585           24F                       24F AGM
Lexus GX470
2009-03 V8/4.7L                                                           710           27F                       —
                                                                                 See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                Costco_001735
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 537Lexus
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   Automotive/Light Truck                                                                                                                 93
      YEAR       ENGINE                                            OPTIONS   ORIGINAL EQUIPMENT            GROUP SIZE          ALTERNATE SIZE
                                                                                 CCA/RATING                 (NOTES)               (NOTES)

   Lexus HS250h
   2012    L4/2.4L        Hybrid                                                    360           —                     —
   2011-10 L4/2.4L        Hybrid                                                    360           —                     —
   Lexus IS F
   2014-08 V8/5.0L                                                                  585           24                    —
   Lexus IS Turbo
   2017      L4/2.0L                                                                585           24                    —
   Lexus IS200t
   2016      L4/2.0L                                                                580           24                    —
   2016      L4/2.0L                                                                585           24                    —
   Lexus IS250
   2015-06 V6/2.5L                                                                  585           24                    —
   Lexus IS300
   2019-18   L4/2.0L                                                                585           24                    —
   2019-16   V6/3.5L                                                                585           24                    —
   2016      V6/3.5L                                                                580           24                    —
   2005-01   L6/3.0L                                                                585           24                    —
   Lexus IS350
   2019-06 V6/3.5L                                                                  585           24                    —
   Lexus LC500
   2019-18 V8/5.0L                                                                 70 Ah          H6 (48) 50            H6 (48) AGM 50
   2019-18 V8/5.0L        Cold Climate                                             80 Ah          H7 (94R) 50           H7 (94R) AGM 50
   Lexus LC500h
   2019-18 V6/3.5L        Hybrid                                                   80 Ah          —                     —
   Lexus LFA
   2012      V10/4.8L                                                               450           —                     —
   Lexus LS400
   2000-95 V8/4.0L                                                                  585           24F                   24F AGM
   1994-90 V8/4.0L                                                                  580           27F                   —
   Lexus LS430
   2006-01 V8/4.3L                                                                  585           24F                   24F AGM
   Lexus LS460
   2017-15   V8/4.6L      w/o PTC Heater                                            585           24                    —
   2017-13   V8/4.6L      w/PTC Heater                                              660           27                    —
   2016      V8/4.6L      Cold Climate Pkg                                          680           27                    —
   2015      V8/4.6L      w/o PTC Heater                                            580           24                    —
   2014-07   V8/4.6L                                                                585           24                    —
   2014-07   V8/4.6L      Cold Weather Pkg                                          710           27                    —
   Lexus LS500
   2019      V6/3.5L      Ex Executive, Luxury, F Sport Plus Pkg                    605           H6 (48) 50            H6 (48) AGM 50
   2019      V6/3.5L      Executive, Luxury, F Sport Plus Pkg                       795           — 50                  H8 (49) AGM 50
   2019      V6/3.5L      Opt F Sport Interior Upgrade Pkg                          690           H7 (94R) 50           H7 (94R) AGM 50
   Lexus LS500h
   2019      V6/3.5L      Hybrid, Ex Executive Pkg                                  605           H6 (48) 50            H6 (48) AGM 50
   2019      V6/3.5L      Hybrid, Opt or Executive Pkg                              795           — 50                  H8 (49) AGM 50
   Lexus LS600h
   2016      V8/5.0L                                                                450           —                     —
   2016      V8/5.0L      Hybrid                                                    450           —                     —
   2015      V8/5.0L      Hybrid                                                    450           —                     —
   2014-08   V8/5.0L      Hybrid                                                    450           —                     —
   Lexus LX450
   1997-96 L6/4.5L                                                                  625           27F                   —
   Lexus LX470
   2007-03 V8/4.7L                                                                  710           27F                   —
   2002    V8/4.7L                                                                  585           27F                   —
   2001-98 V8/4.7L                                                                  650           27F                   —
   Lexus LX570
   2019-13 V8/5.7L                                                                  710           27F                   —
   2011-08 V8/5.7L                                                                  710           27F                   —
   Lexus NX200t
   2017-15 L4/2.0L                                                                  580           24F                   24F AGM
   Lexus NX300
   2019-18 L4/2.0L                                                                  580           24F                   24F AGM
   Lexus NX300h
   2019-18 L4/2.5L        Hybrid                                                   60 Ah          H5 (47) 50            H5 (47) AGM 50
   2017-15 L4/2.5L        Hybrid                                                    460           H5 (47)               H5 (47) AGM
   See page 151 for Footnotes. Selection may vary by warehouse.

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94                                           Automotive/Light Truck
  YEAR       ENGINE                OPTIONS               ORIGINAL EQUIPMENT               GROUP SIZE                  ALTERNATE SIZE
                                                             CCA/RATING                    (NOTES)                       (NOTES)

Lexus RC F
2019-18 V8/5.0L                                                70 Ah          —                           —
2017-15 V8/5.0L                                                 595           —                           —
Lexus RC Turbo
2017      L4/2.0L                                               585           24                          —
Lexus RC200t
2016      L4/2.0L                                               580           24                          —
2016      L4/2.0L                                               585           24                          —
Lexus RC300
2019-18 L4/2.0L                                                 585           24                          —
2019-16 V6/3.5L                                                 585           24                          —
2016    V6/3.5L                                                 580           24                          —
Lexus RC350
2019-15 V6/3.5L                                                 585           24                          —
Lexus RX300
2003-99 V6/3.0L                                                 585           24F                         24F AGM
Lexus RX330
2006-04 V6/3.3L                                                 585           24F                         24F AGM
Lexus RX350
2019-16 V6/3.5L                                                 585           24F                         24F AGM
2015    V6/3.5L                                                 585           24F 55                      24F AGM 55
2014-07 V6/3.5L                                                 585           24F                         24F AGM
Lexus RX350L
2019-18 V6/3.5L                                                 585           24F                         24F AGM
Lexus RX400h
2008-06 V6/3.3L       Hybrid                                    435           51R                         —
Lexus RX450h
2019      V6/3.5L     Hybrid                                    460           H5 (47) AGM 33, 50, 55      — 33, 50, 55
2017-16   V6/3.5L     Hybrid                                    460           H5 (47)                     H5 (47) AGM
2016      V6/3.5L     Hybrid                                    355           H5 (47)                     H5 (47) AGM
2015      V6/3.5L     Hybrid                                    360           —                           —
2014-11   V6/3.5L     Hybrid                                    356           —                           —
2014-11   V6/3.5L     Hybrid                                    360           —                           —
2010      V6/3.5L     Hybrid                                    360           —                           —
Lexus RX450hL
2019      V6/3.5L     Hybrid                                    360           35 AGM 33, 45, 50, 61, 55   — 33, 45, 50, 61, 55
Lexus SC300
2000-97 L6/3.0L                                                 585           24F                         24F AGM
1996-92 L6/3.0L                                                 450           27F                         —
Lexus SC400
2000-93 V8/4.0L                                                 625           27F                         —
1992    V8/4.0L                                                 450           27F                         —
1992    V8/4.0L       Opt                                       625           27F                         —
Lexus SC430
2010-03 V8/4.3L                                                 585           H6 (48)                     H6 (48) AGM
2002    V8/4.3L                                                 625           H6 (48)                     H6 (48) AGM
Lexus UX200
2019      L4/2.0L                                               590           H6 (48)                     H6 (48) AGM
Lexus UX250h
2019      L4/2.0L     Hybrid                                    285           —                           —
Lincoln Aviator
2020    V6/3.0L                                                 800           H7 (94R) AGM 33, 50         — 33, 50
2020    V6/3.0L       Opt                                       850           H8 (49) AGM 33, 50          — 33, 50
2005-03 V8/4.6L                                                 650           65                          65 AGM
Lincoln Blackwood
2002      V8/5.4L                                               650           65                          65 AGM
Lincoln Continental
2020-19   V6/2.7L                                               800           H7 (94R) AGM 33             — 33
2020-19   V6/3.0L                                               800           H7 (94R) AGM 33             — 33
2020-19   V6/3.7L     Livery                                    800           H7 (94R) AGM 33             — 33
2020-19   V6/3.7L     Non Livery                                760           H6 (48) AGM 33              — 33
2018-17   V6/2.7L                                               730           H7 (94R)                    H7 (94R) AGM
2018-17   V6/3.0L                                               730           H7 (94R)                    H7 (94R) AGM
2018-17   V6/3.7L     Livery                                    730           H7 (94R)                    H7 (94R) AGM
2018-17   V6/3.7L     Non Livery                                610           H6 (48)                     H6 (48) AGM
2002-97   V8/4.6L                                               750           65                          65 AGM
1996-95   V8/4.6L                                               850           65                          —
1994-90   V6/3.8L                                               650           65                          65 AGM
                                                                       See page 151 for Footnotes. Selection may vary by warehouse.

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      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT            GROUP SIZE            ALTERNATE SIZE
                                                                                CCA/RATING                 (NOTES)                 (NOTES)

   Lincoln Continental (continued)
   1994    V6/3.8L        Opt                                                      850           65                    —
   1993-90 V6/3.8L        w/HWS                                                    850           65                    —
   Lincoln Corsair
   2020      L4/2.0L                                                               800           H7 (94R) AGM 33       — 33
   2020      L4/2.3L                                                               800           H7 (94R) AGM 33       — 33
   Lincoln LS
   2006-00   V8/3.9L                                                               650           —                     —
   2005-01   V6/3.0L      Opt                                                      750           —                     —
   2005-01   V8/3.9L      Opt                                                      750           —                     —
   2005-00   V6/3.0L                                                               650           —                     —
   Lincoln Mark LT
   2008-06   V8/5.4L                                                               540           59                    —
   2008-06   V8/5.4L      LT                                                       540           59                    —
   2008-06   V8/5.4L      LT, HD                                                   650           65                    65 AGM
   2008-06   V8/5.4L      Opt                                                      650           65                    65 AGM
   Lincoln Mark VII
   1992-90 V8/5.0L                                                                 850           65                    —
   Lincoln Mark VIII
   1998-97 V8/4.6L        Opt                                                      750           65                    65 AGM
   1998-93 V8/4.6L        US                                                       650           65                    65 AGM
   1996-93 V8/4.6L        HD or Can                                                850           65                    —
   Lincoln MKC
   2019-17   L4/2.0L      w/o Start/Stop                                           610           H6 (48)               H6 (48) AGM
   2019-17   L4/2.0L      w/Start/Stop                                             760           H6 (48) AGM 33        — 33
   2018-15   L4/2.3L                                                               610           H6 (48)               H6 (48) AGM
   2016-15   L4/2.0L                                                               610           H6 (48)               H6 (48) AGM
   Lincoln MKS
   2016-10 V6/3.5L                                                                 650           65                    65 AGM
   2016-09 V6/3.7L                                                                 650           65                    65 AGM
   Lincoln MKT
   2019-13   V6/3.5L                                                               750           65                    65 AGM
   2019-13   V6/3.7L                                                               750           65                    65 AGM
   2016-15   V6/3.5L                                                               650           65                    65 AGM
   2016-13   L4/2.0L                                                               650           65                    65 AGM
   2016-10   V6/3.7L                                                               650           65                    65 AGM
   2015      L4/2.0L                                                               750           65                    65 AGM
   2012-10   V6/3.5L                                                               650           65                    65 AGM
   2012-10   V6/3.5L      Opt                                                      750           65                    65 AGM
   2012-10   V6/3.7L      Opt                                                      750           65                    65 AGM
   Lincoln MKX
   2018-17   V6/2.7L      w/o Start/Stop                                           730           H7 (94R)              H7 (94R) AGM
   2018-17   V6/2.7L      w/Start/Stop                                             800           H7 (94R) AGM 33       — 33
   2018-17   V6/3.7L                                                               800           H7 (94R) AGM 33       — 33
   2016      V6/2.7L                                                               730           H7 (94R)              H7 (94R) AGM
   2016      V6/3.7L                                                               730           H7 (94R)              H7 (94R) AGM
   2015-11   V6/3.7L                                                               650           65                    65 AGM
   2010-07   V6/3.5L                                                               650           36R                   —
   Lincoln MKZ
   2020-17   L4/2.0L      Hybrid                                                   590           90 (T5) 50            — 50
   2020-19   L4/2.0L      Gas                                                      800           H7 (94R) AGM 33       — 33
   2020-19   V6/3.0L                                                               800           H7 (94R) AGM 33       — 33
   2018-17   L4/2.0L      Gas                                                      730           H7 (94R)              H7 (94R) AGM
   2018-17   L4/2.0L      w/Start/Stop                                             800           H7 (94R) AGM 33       — 33
   2018-17   V6/3.0L                                                               730           H7 (94R)              H7 (94R) AGM
   2017      L4/2.0L      US, Gas                                                  730           H7 (94R)              H7 (94R) AGM
   2016-13   L4/2.0L      Gas                                                      590           90 (T5)               —
   2016-13   V6/3.7L                                                               590           90 (T5)               —
   2016      L4/2.0L                                                               590           90 (T5)               —
   2016      L4/2.0L      Hybrid                                                   760           H6 (48) AGM 33, 50    — 33, 50
   2015-13   L4/2.0L      Hybrid                                                   390           —                     —
   2014-13   L4/2.0L      Ex Hybrid                                                500           96R                   —
   2013      L4/2.0L      Opt                                                      590           96R                   —
   2012-11   L4/2.5L      Hybrid                                                   390           —                     —
   2012-10   V6/3.5L                                                               500           96R                   —
   2009-07   V6/3.5L                                                               590           96R                   —
   Lincoln Nautilus
   2020-19 L4/2.0L                                                                 800           H7 (94R) AGM 33       — 33
   2020-19 V6/2.7L                                                                 800           H7 (94R) AGM 33       — 33
   See page 151 for Footnotes. Selection may vary by warehouse.

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96                                                       Automotive/Light Truck
  YEAR      ENGINE                             OPTIONS        ORIGINAL EQUIPMENT             GROUP SIZE                 ALTERNATE SIZE
                                                                  CCA/RATING                  (NOTES)                      (NOTES)

Lincoln Navigator
2020-18   V6/3.5L                                                    850           H8 (49) AGM 33           — 33
2017-15   V6/3.5L                                                    750           65                       65 AGM
2014-08   V8/5.4L    HD or Heated Seats                              750           65                       65 AGM
2014-98   V8/5.4L    w/o Heated Seats                                650           65                       65 AGM
2014      V8/5.4L                                                    750           65                       65 AGM
2013-11   V8/5.4L    Climate seats                                   750           65                       65 AGM
2008-07   V8/5.4L    Climate seats                                   750           65                       65 AGM
2006-98   V8/5.4L                                                    650           65                       65 AGM
2006-98   V8/5.4L    Can & Opt                                       750           65                       65 AGM
2006-98   V8/5.4L    Opt                                             750           65                       65 AGM
Lincoln Town Car
2011-06   V8/4.6L    HD & Long Wheel Base                            750           65                       65 AGM
2011-06   V8/4.6L    Short Wheel Base                                650           65                       65 AGM
2005-99   V8/4.6L    Limo, HD                                        750           65                       65 AGM
2005-97   V8/4.6L    Ex Limo                                         650           65                       65 AGM
1998-97   V8/4.6L    Limo, HD                                        850           65                       —
1996-95   V8/4.6L    Ex HWS or Limo                                  650           65                       65 AGM
1996-95   V8/4.6L    HWS or HD, Limo                                 850           65                       —
1994-91   V8/4.6L    Ex HWS                                          650           65                       65 AGM
1994-91   V8/4.6L    w/HWS                                           850           65                       —
1990      V8/5.0L    Ex HWS                                          650           65                       65 AGM
1990      V8/5.0L    w/HWS                                           850           65                       —
Lincoln Zephyr
2006      V6/3.0L                                                    590           40R                       —
Lotus Elise
2009-08 L4/1.8L                                                      520           H5 (47) 50                H5 (47) AGM 50
2007-05 L4/1.8L                                                      550           26R                       —
Lotus Exige
2009-08 L4/1.8L                                                      600           H6 (48) 50                H6 (48) AGM 50
2007-06 L4/1.8L                                                      550           26R                       —
Maserati Coupe
2007-03 V8/4.2L      Coupe                                           785           —                         —
Maserati Ghibli
2019-14 V6/3.0L                                                     95 Ah          H8 (49) AGM 33, 50, 54    — 33, 50, 54
Maserati GranSport
2007-05 V8/4.2L      Coupe                                           785           —                         —
Maserati GranTurismo
2019-14 V8/4.7L                                                     95 Ah          H8 (49) AGM 33, 50, 54    — 33, 50, 54
2013-09 V8/4.7L                                                      600           H6 (48) 50, 54            H6 (48) AGM 50, 54
2011-08 V8/4.2L                                                      600           H6 (48) 50, 54            H6 (48) AGM 50, 54
Maserati Levante
2019-17 V6/3.0L                                                     95 Ah          H8 (49) AGM 33, 50, 54    — 33, 50, 54
2019    V8/3.8L                                                     95 Ah          H8 (49) AGM 33, 50, 54    — 33, 50, 54
Maserati Quattroporte
2019-14   V6/3.0L                                                   95 Ah          H8 (49) AGM 33, 50, 54    — 33, 50, 54
2019-14   V8/3.8L                                                   95 Ah          H8 (49) AGM 33, 50, 54    — 33, 50, 54
2013-09   V8/4.7L                                                    850           — 50, 54                  H8 (49) AGM 50, 54
2011-08   V8/4.2L                                                    600           H6 (48) 50, 54            H6 (48) AGM 50, 54
2007-04   V8/4.2L                                                    785           —                         —
Maserati Spyder
2006-02 V8/4.2L                                                     80 Ah          —                         —
Maybach 57
2012-06 V12/6.0L     Opt                                             950           —                         —
2012-03 V12/5.5L                                                     850           H8 (49) AGM 33            — 33
2012-03 V12/5.5L     Opt                                             950           —                         —
Maybach 62
2012-07   V12/6.0L                                                   850           H8 (49) AGM 33            — 33
2012-07   V12/6.0L   Opt                                             950           —                         —
2012-03   V12/5.5L                                                   850           H8 (49) AGM 33            — 33
2012-03   V12/5.5L   Opt                                             950           —                         —
Mazda 2
2014    L4/1.5L      Can & Cold Climate                              525           35                        35 AGM
2014-11 L4/1.5L                                                      350           35                        35 AGM
2013-11 L4/1.5L      Can or Cold Climate Pkg                         525           35                        35 AGM
Mazda 3
2018-17 L4/2.0L      i-ELOOP                                         520           —                         —
2018-17 L4/2.5L      i-ELOOP                                         520           —                         —
2018-15 L4/2.0L      Ex i-ELOOP                                      520           35                        35 AGM
                                                                            See page 151 for Footnotes. Selection may vary by warehouse.

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      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT         GROUP SIZE            ALTERNATE SIZE
                                                                                CCA/RATING              (NOTES)                 (NOTES)

   Mazda 3 (continued)
   2018-15   L4/2.5L      Ex i-ELOOP                                               520           35                 35 AGM
   2016      L4/2.0L      i-ELOOP                                                  520           —                  —
   2016      L4/2.5L      i-ELOOP                                                  520           —                  —
   2015-11   L4/2.0L      Can & Cold Climate                                       525           35                 35 AGM
   2015-11   L4/2.5L                                                               350           35                 35 AGM
   2015-11   L4/2.5L      Can & Cold Climate                                       525           35                 35 AGM
   2015-05   L4/2.0L                                                               350           35                 35 AGM
   2015      L4/2.0L      SKYACTIV                                                 525           35                 35 AGM
   2013-12   L4/2.0L      SKYACTIV                                                 525           35                 35 AGM
   2013-11   L4/2.0L      Cold Climate Pkg or AT                                   525           35                 35 AGM
   2013-11   L4/2.3L                                                               525           35                 35 AGM
   2013-11   L4/2.5L      Cold Climate Pkg or AT                                   525           35                 35 AGM
   2010-08   L4/2.0L                                                               306           26R                —
   2010-08   L4/2.0L      AT                                                       355           35                 35 AGM
   2010-08   L4/2.0L      MT                                                       310           26R                —
   2010-08   L4/2.3L      MT                                                       310           26R                —
   2010      L4/2.5L                                                               306           26R                —
   2010      L4/2.5L      AT                                                       355           35                 35 AGM
   2010      L4/2.5L      MT                                                       310           26R                —
   2009-08   L4/2.3L                                                               306           26R                —
   2009-08   L4/2.3L      AT                                                       355           35                 35 AGM
   2009-07   L4/2.3L      Mazdaspeed                                               360           35                 35 AGM
   2007      L4/2.0L                                                               355           35                 35 AGM
   2007      L4/2.0L      AT                                                       550           35                 35 AGM
   2007      L4/2.0L      Cold Climate                                             490           35                 35 AGM
   2007      L4/2.0L      Cold Climate Pkg                                         585           24F                24F AGM
   2007      L4/2.3L                                                               355           35                 35 AGM
   2007      L4/2.3L      AT                                                       550           35                 35 AGM
   2007      L4/2.3L      Cold Climate                                             490           35                 35 AGM
   2007      L4/2.3L      Cold Climate Pkg                                         585           24F                24F AGM
   2006-04   L4/2.3L                                                               550           35                 35 AGM
   2006      L4/2.0L                                                               550           35                 35 AGM
   2005-04   L4/2.0L      Opt                                                      520           35                 35 AGM
   2004      L4/2.0L                                                               310           35                 35 AGM
   Mazda 3 Sport
   2018-15   L4/2.0L      Ex i-ELOOP                                               520           35                 35 AGM
   2018-15   L4/2.0L      i-ELOOP                                                  520           —                  —
   2018-15   L4/2.5L      Ex i-ELOOP                                               520           35                 35 AGM
   2018-15   L4/2.5L      i-ELOOP                                                  520           —                  —
   2014-11   L4/2.0L                                                               350           35                 35 AGM
   2014-11   L4/2.5L                                                               350           35                 35 AGM
   2014      L4/2.0L      Can & Cold Climate                                       525           35                 35 AGM
   2014      L4/2.5L      Can & Cold Climate                                       525           35                 35 AGM
   2013-12   L4/2.0L      Cold Climate Pkg                                         525           35                 35 AGM
   2013-12   L4/2.5L      Cold Climate Pkg                                         525           35                 35 AGM
   2011      L4/2.0L      Can & Cold Climate                                       525           35                 35 AGM
   2011      L4/2.5L      Can & Cold Climate                                       525           35                 35 AGM
   2010-09   L4/2.0L      AT                                                       355           35                 35 AGM
   2010-09   L4/2.0L      MT                                                       310           26R                —
   2010      L4/2.5L      AT                                                       355           35                 35 AGM
   2010      L4/2.5L      MT                                                       310           26R                —
   Mazda 323
   1995-91   L4/1.6L                                                               350           35                 35 AGM
   1994-93   L4/1.8L                                                               310           35                 35 AGM
   1994-93   L4/1.8L      Opt                                                      350           35                 35 AGM
   1991-90   L4/1.8L      Ex Calif                                                 350           35                 35 AGM
   1991      L4/1.6L      Opt                                                      310           35                 35 AGM
   1991      L4/1.8L      Calif or HD                                              310           35                 35 AGM
   1990      L4/1.6L                                                               310           35                 35 AGM
   1990      L4/1.6L      Opt                                                      360           35                 35 AGM
   1990      L4/1.8L      Calif                                                    310           35                 35 AGM
   1990      L4/1.8L      Opt                                                      360           35                 35 AGM
   Mazda 5
   2015-12   L4/2.5L      AT                                                       550           35                 35 AGM
   2015-12   L4/2.5L      MT                                                       540           26R                —
   2012      L4/2.5L      Cold Climate Pkg                                         520           35                 35 AGM
   2010      L4/2.3L      AT                                                       550           35                 35 AGM
   2010      L4/2.3L      MT                                                       540           26R                —
   2009      L4/2.3L      AT                                                       355           35                 35 AGM
   2009      L4/2.3L      MT                                                       310           26R                —
   2008-06   L4/2.3L                                                               550           35                 35 AGM
   See page 151 for Footnotes. Selection may vary by warehouse.

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  YEAR       ENGINE                            OPTIONS        ORIGINAL EQUIPMENT            GROUP SIZE               ALTERNATE SIZE
                                                                  CCA/RATING                 (NOTES)                    (NOTES)

Mazda 6
2018-14   L4/2.5L     Ex i-ELOOP                                     520           35                      35 AGM
2018      L4/2.5L     i-ELOOP                                        520           —                       —
2017      L4/2.5L     i-ELOOP                                        520           —                       —
2016-14   L4/2.5L     i-ELOOP                                        520           —                       —
2013-09   L4/2.5L                                                    590           96R                     —
2013-09   V6/3.7L                                                    590           96R                     —
2008-03   L4/2.3L                                                    590           40R                     —
2008-03   V6/3.0L                                                    590           40R                     —
2007-06   L4/2.3L     Ex Mazdaspeed                                  585           40R                     —
2007-06   L4/2.3L     Mazdaspeed                                     550           35                      35 AGM
2007      V6/3.0L                                                    585           40R                     —
Mazda 626
2002-98   L4/2.0L                                                    580           36R                      —
2002-98   V6/2.5L                                                    580           36R                      —
1997-93   L4/2.0L                                                    580           —                        —
1997-93   V6/2.5L                                                    580           —                        —
1992-91   L4/2.2L     Cold Climate Pkg                               350           35                       35 AGM
1992-90   L4/2.2L                                                    310           35                       35 AGM
1990      L4/2.2L     Opt                                            350           35                       35 AGM
Mazda 929
1995-92   V6/3.0L     US                                             350           35                      35 AGM
1995-90   V6/3.0L     Can & Opt                                      585           24F                     24F AGM
1993-92   V6/3.0L     Serenia, US                                    350           35                      35 AGM
1991-90   V6/3.0L                                                    310           35                      35 AGM
1991      V6/3.0L     US                                             310           35                      35 AGM
Mazda B2200
1993-90 L4/2.2L                                                      310           25                       —
1990    L4/2.2L       Opt                                            490           24                       —
Mazda B2300
2010-97 L4/2.3L                                                      540           59                       —
1997-94 L4/2.3L       Opt                                            540           65                       65 AGM
1996-94 L4/2.3L                                                      540           58                       —
Mazda B2500
2001-98 L4/2.5L                                                      540           59                       —
Mazda B2600
1993-91   L4/2.6L     Can & Opt                                      585           24                      —
1993-90   L4/2.6L     US                                             310           25                      —
1990      L4/2.6L                                                    310           25                      —
1990      L4/2.6L     Opt                                            585           24                      —
Mazda B3000
2008-98 V6/3.0L                                                      540           59                       —
1997-94 V6/3.0L                                                      540           58                       —
Mazda B4000
2010-98 V6/4.0L                                                      540           59                       —
1997-94 V6/4.0L                                                      650           65                       65 AGM
Mazda CX-3
2019-16 L4/2.0L                                                      520           35                       35 AGM
2016    L4/2.0L       Ex i-ELOOP                                     520           35                       35 AGM
Mazda CX-5
2016-15   L4/2.5L     Cold Weather Pkg                               520           35 45                    35 AGM 45
2016-13   L4/2.0L     Cold Weather Pkg                               520           35 45                    35 AGM 45
2016      L4/2.0L                                                    306           26R 45                   — 45
2016      L4/2.0L                                                    N/A           35 45                    35 AGM 45
2016      L4/2.5L                                                    306           26R 45                   — 45
2016      L4/2.5L                                                    N/A           35 45                    35 AGM 45
2014      L4/2.0L     Cold Weather Pkg or HD                         520           35 45                    35 AGM 45
2014      L4/2.5L     Cold Weather Pkg or HD                         520           35 45                    35 AGM 45
Mazda CX-7
2012-11   L4/2.3L     Can & Opt                                      585           24F                     24F AGM
2012-10   L4/2.3L     US                                             525           35                      35 AGM
2012-10   L4/2.5L                                                    550           35                      35 AGM
2010      L4/2.3L                                                    550           35                      35 AGM
2010      L4/2.3L     Can                                            585           24F                     24F AGM
2009-07   L4/2.3L                                                    360           35                      35 AGM
Mazda CX-9
2019-16 L4/2.5L                                                      520        35                          35 AGM
2015-08 V6/3.7L                                                      585        24F                         24F AGM
2007    V6/3.5L                                                      585        24F                         24F AGM
                                                                           See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                             99
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT         GROUP SIZE            ALTERNATE SIZE
                                                                                CCA/RATING              (NOTES)                 (NOTES)

   Mazda Miata
   2005-94 L4/1.8L                                                                 320           —                  —
   1993-90 L4/1.6L                                                                 320           —                  —
   Mazda Millenia
   2002-01   V6/2.3L                                                               520           35                 35 AGM
   2002-01   V6/2.5L      Opt                                                      490           24F                24F AGM
   2002-95   V6/2.3L      Opt                                                      585           24F                24F AGM
   2002      V6/2.5L                                                               520           35                 35 AGM
   2001      V6/2.5L                                                               360           35                 35 AGM
   2000-95   V6/2.3L                                                               490           35                 35 AGM
   2000-95   V6/2.5L                                                               350           35                 35 AGM
   2000-95   V6/2.5L      Opt                                                      490           35                 35 AGM
   Mazda MPV
   2006-02   V6/3.0L                                                               360           35                 35 AGM
   2006-02   V6/3.0L      Opt                                                      490           24F                24F AGM
   2001-00   V6/2.5L                                                               360           35                 35 AGM
   2001-00   V6/2.5L      Opt                                                      490           24F                24F AGM
   1998-96   V6/3.0L      Can & Opt                                                490           24F                24F AGM
   1998-96   V6/3.0L      US                                                       350           35                 35 AGM
   1995-93   V6/3.0L      4WD                                                      490           24F                24F AGM
   1995-93   V6/3.0L      Opt                                                      585           24F                24F AGM
   1995-93   V6/3.0L      RWD                                                      310           35                 35 AGM
   1994-93   L4/2.6L      4WD                                                      490           24F                24F AGM
   1994-93   L4/2.6L      Opt                                                      585           24F                24F AGM
   1994-93   L4/2.6L      RWD                                                      310           35                 35 AGM
   1993      V6/3.0L      2WD                                                      310           35                 35 AGM
   1992-90   L4/2.6L      Can & Opt                                                585           24F                24F AGM
   1992-90   L4/2.6L      US                                                       310           35                 35 AGM
   1992-90   V6/3.0L      Can & Opt                                                585           24F                24F AGM
   1992-90   V6/3.0L      US                                                       310           35                 35 AGM
   Mazda MX-3
   1996-95   L4/1.6L                                                               310           35                 35 AGM
   1995      L4/1.6L      Opt                                                      350           35                 35 AGM
   1995      V6/1.8L                                                               350           35                 35 AGM
   1994-92   L4/1.6L      HD w/AT                                                  350           35                 35 AGM
   1994-92   L4/1.6L      MT                                                       310           35                 35 AGM
   1994      V6/1.8L                                                               630           24F                24F AGM
   1994      V6/1.8L      Calif                                                    310           35                 35 AGM
   1994      V6/1.8L      Ex Calif                                                 420           35                 35 AGM
   1993-92   V6/1.8L                                                               420           35                 35 AGM
   Mazda MX-5 Miata
   2019-06 L4/2.0L                                                                 340           51R                —
   Mazda MX-6
   1997-93   L4/2.0L                                                               580           —                  —
   1997-93   V6/2.5L                                                               580           —                  —
   1992-91   L4/2.2L      Cold Climate Pkg                                         350           35                 35 AGM
   1992-90   L4/2.2L                                                               310           35                 35 AGM
   Mazda Navajo
   1994-91 V6/4.0L                                                                 650           65                 65 AGM
   Mazda Protegé
   2003-01   L4/1.6L      Opt                                                      520           35                 35 AGM
   2003-01   L4/2.0L                                                               310           35                 35 AGM
   2003-01   L4/2.0L      Opt                                                      520           35                 35 AGM
   2003-99   L4/1.6L                                                               310           35                 35 AGM
   2000-99   L4/1.6L      Opt                                                      350           35                 35 AGM
   2000-99   L4/1.8L                                                               350           35                 35 AGM
   1998-95   L4/1.5L                                                               310           35                 35 AGM
   1998-95   L4/1.5L      Opt                                                      350           35                 35 AGM
   1998-92   L4/1.8L                                                               310           35                 35 AGM
   1994-92   L4/1.8L      Opt                                                      350           35                 35 AGM
   1991-90   L4/1.8L      Ex Calif                                                 350           35                 35 AGM
   1991      L4/1.8L      Calif or HD                                              310           35                 35 AGM
   1990      L4/1.8L      Calif                                                    310           35                 35 AGM
   1990      L4/1.8L      Opt                                                      360           35                 35 AGM
   Mazda Protegé5
   2003-02 L4/2.0L                                                                 310           35                 35 AGM
   2003-02 L4/2.0L        Opt                                                      520           35                 35 AGM
   Mazda RX-7
   1995-94 R2/1.3L        Can, w/AT                                                490           24F                24F AGM
   1995-94 R2/1.3L        MT                                                       420           35                 35 AGM
   1993    R2/1.3L                                                                 350           35                 35 AGM
   See page 151 for Footnotes. Selection may vary by warehouse.

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  YEAR       ENGINE                OPTIONS               ORIGINAL EQUIPMENT             GROUP SIZE            ALTERNATE SIZE
                                                             CCA/RATING                  (NOTES)                 (NOTES)

Mazda RX-7 (continued)
1993      R2/1.3L     Opt                                       495           24F                     24F AGM
1991-90   R2/1.3L     Can & Opt                                 405           35                      35 AGM
1991      R2/1.3L     US                                        350           35                      35 AGM
1990      R2/1.3L     US                                        320           35                      35 AGM
Mazda RX-8
2011      R2/1.3L                                               525           35                       35 AGM
2011      R2/1.3L     Opt                                       585           24F                      24F AGM
2010      R2/1.3L                                               550           35                       35 AGM
2009-04   R2/1.3L                                               640           35 9                     35 AGM 9
Mazda Tribute
2011      L4/2.5L                                               590           96R                      —
2011      V6/3.0L                                               590           96R                      —
2010-09   L4/2.5L                                               590           40R                      —
2010-09   L4/2.5L     Hybrid                                    500           96R                      —
2010      L4/2.5L     Gas                                       650           —                        —
2010      V6/3.0L                                               650           —                        —
2009-01   V6/3.0L                                               590           40R                      —
2008      L4/2.3L                                               590           40R                      —
2008      L4/2.3L     Hybrid                                    500           96R                      —
2006-05   L4/2.3L                                               590           40R                      —
2004-01   L4/2.0L                                               500           96R                      —
Mercedes-Benz 190E
1993-91 L4/2.3L                                                 550           H6 (48)                  H6 (48) AGM
1993-90 L6/2.6L                                                 550           H6 (48)                  H6 (48) AGM
Mercedes-Benz 300CE
1993    L6/3.2L                                                 550           H6 (48)                  H6 (48) AGM
1992-90 L6/3.0L                                                 550           H6 (48)                  H6 (48) AGM
Mercedes-Benz 300D
1993-92 L5/2.5L                                                 760           —                        —
1991-90 L5/2.5L                                                 740           H8 (49)                  H8 (49) AGM
Mercedes-Benz 300E
1993-90   L6/3.0L                                               550           H6 (48)                  H6 (48) AGM
1993-90   L6/3.0L     4-Matic                                   550           H6 (48)                  H6 (48) AGM
1993      L6/2.8L                                               550           H6 (48)                  H6 (48) AGM
1993      L6/3.2L                                               550           H6 (48)                  H6 (48) AGM
1992-90   L6/2.6L                                               550           H6 (48)                  H6 (48) AGM
Mercedes-Benz 300SD
1993-92 L6/3.4L       Dsl                                       760           —                        —
Mercedes-Benz 300SE
1993-92 L6/3.2L                                                 760           —                        —
1991-90 L6/3.0L                                                 740           H8 (49)                  H8 (49) AGM
Mercedes-Benz 300SEL
1991-90 L6/3.0L                                                 740           H8 (49)                  H8 (49) AGM
Mercedes-Benz 300SL
1993-92 L6/3.0L                                                 760           —                        —
1991-90 L6/3.0L                                                 740           H8 (49)                  H8 (49) AGM
Mercedes-Benz 300TE
1993-90 L6/3.0L                                                 550           H6 (48)                  H6 (48) AGM
1993-90 L6/3.0L       4-Matic                                   550           H6 (48)                  H6 (48) AGM
1993    L6/3.2L                                                 550           H6 (48)                  H6 (48) AGM
Mercedes-Benz 350SD
1991      L6/3.4L     Dsl                                       740           H8 (49)                  H8 (49) AGM
Mercedes-Benz 350SDL
1991-90 L6/3.4L       Dsl                                       740           H8 (49)                  H8 (49) AGM
Mercedes-Benz 400E
1993-92 V8/4.2L                                                 760           —                        —
Mercedes-Benz 400SE
1992      V8/4.2L                                               760           —                        —
Mercedes-Benz 400SEL
1993      V8/4.2L                                               760           —                        —
Mercedes-Benz 420SEL
1991-90 V8/4.2L                                                 740           H8 (49)                  H8 (49) AGM
Mercedes-Benz 500E
1993-92 V8/5.0L                                                 760           —                        —
Mercedes-Benz 500SEC
1993      V8/5.0L                                               760           —                        —
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   Automotive/Light Truck                                                                                                                101
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE                ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)                     (NOTES)

   Mercedes-Benz 500SEL
   1993-92 V8/5.0L                                                                 760           —                        —
   Mercedes-Benz 500SL
   1993-92 V8/5.0L                                                                 760           —                        —
   1991-90 V8/5.0L                                                                 740           H8 (49)                  H8 (49) AGM
   Mercedes-Benz 560SEC
   1991-86 V8/5.6L                                                                 740           H8 (49)                  H8 (49) AGM
   Mercedes-Benz 560SEL
   1991-86 V8/5.6L                                                                 740           H8 (49)                  H8 (49) AGM
   Mercedes-Benz 600SEC
   1993      V12/6.0L                                                              760           —                        —
   Mercedes-Benz 600SEL
   1993-92 V12/6.0L                                                                760           —                        —
   Mercedes-Benz 600SL
   1993      V12/6.0L                                                              760           —                        —
   Mercedes-Benz AMG GT
   2019      V8/4.0L                                                              60 Ah          H5 (47) AGM 33, 50, 56   — 33, 50, 56
   2019      V8/4.0L      Opt                                                     80 Ah          —                        —
   2019      V8/4.0L      Opt                                                     58 Ah          —                        —
   2018      V8/4.0L                                                              60 Ah          H5 (47) AGM 33, 50, 56   — 33, 50, 56
   2018      V8/4.0L      Opt                                                      800           —                        —
   2018      V8/4.0L      Opt, Li-ion                                             78 Ah          —                        —
   2017      V8/4.0L                                                               680           —                        —
   2017      V8/4.0L      Opt                                                      760           H6 (48) AGM 33, 54       — 33, 54
   2017      V8/4.0L      Opt, Li-ion                                              N/A           —                        —
   Mercedes-Benz AMG GT C
   2019      V8/4.0L                                                              60 Ah          H5 (47) AGM 33, 50, 56   — 33, 50, 56
   2019      V8/4.0L      Opt                                                     80 Ah          —                        —
   2019      V8/4.0L      Opt                                                     58 Ah          —                        —
   2018      V8/4.0L                                                              60 Ah          H5 (47) AGM 33, 50, 56   — 33, 50, 56
   2018      V8/4.0L      Opt                                                      800           —                        —
   Mercedes-Benz AMG GT R
   2019      V8/4.0L                                                              60 Ah          H5 (47) AGM 33, 50, 56   — 33, 50, 56
   2019      V8/4.0L      Opt                                                     80 Ah          —                        —
   2019      V8/4.0L      Opt                                                     58 Ah          —                        —
   2018      V8/4.0L                                                              60 Ah          H5 (47) AGM 33, 50, 56   — 33, 50, 56
   2018      V8/4.0L      Opt                                                      800           —                        —
   Mercedes-Benz AMG GT S
   2019      V8/4.0L                                                              60 Ah          H5 (47) AGM 33, 50, 56   — 33, 50, 56
   2019      V8/4.0L      Opt                                                     80 Ah          —                        —
   2019      V8/4.0L      Opt                                                     58 Ah          —                        —
   2018      V8/4.0L                                                              60 Ah          H5 (47) AGM 33, 50, 56   — 33, 50, 56
   2018      V8/4.0L      Opt                                                      800           —                        —
   2018      V8/4.0L      Opt, Li-ion                                             78 Ah          —                        —
   2017      V8/4.0L                                                               680           —                        —
   2017      V8/4.0L      Opt, Li-ion                                              N/A           —                        —
   2017-16   V8/4.0L      Opt                                                      760           H6 (48) AGM 33, 54       — 33, 54
   2016      V8/4.0L                                                               680           —                        —
   2016      V8/4.0L      Opt                                                     80 Ah          —                        —
   2016      V8/4.0L      Opt, Li-ion                                             78 Ah          —                        —
   Mercedes-Benz B Electric Drive
   2015-14                Electric                                                 680           —                        —
   Mercedes-Benz B200
   2011-06 L4/2.0L                                                                 680           —                        —
   2011-06 L4/2.0L        Aux Bat                                                  200           —                        —
   Mercedes-Benz B250
   2019      L4/2.0L                                                              70 Ah          H6 (48) AGM 33, 50, 56   — 33, 50, 56
   2019      L4/2.0L      Aux Bat                                                 12 Ah          —                        —
   2019      L4/2.0L      Bat Backup                                              1.2 Ah         —                        —
   2019      L4/2.0L      Opt                                                     80 Ah          —                        —
   2018      L4/2.0L      Aux Bat                                                  200           —                        —
   2017      L4/2.0L                                                               N/A           H6 (48) AGM 33, 50, 54   — 33, 50, 54
   2017      L4/2.0L      Opt                                                      N/A           H6 (48) AGM 33, 50, 54   — 33, 50, 54
   2017-13   L4/2.0L      Aux Bat                                                  200           —                        —
   2016-13   L4/2.0L                                                               760           H6 (48) AGM 33, 54       — 33, 54
   2016-13   L4/2.0L      Opt                                                      800           —                        —
   Mercedes-Benz B250e
   2017                   Electric                                                 680           —                        —
   2017                   Opt, Li-ion                                              N/A           —                        —
   2017-16                Electric                                                60 Ah          H5 (47) AGM 33, 50, 54   — 33, 50, 54
   2016                   Electric                                                 680           —                        —
   See page 151 for Footnotes. Selection may vary by warehouse.

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  YEAR       ENGINE                           OPTIONS               ORIGINAL EQUIPMENT             GROUP SIZE                 ALTERNATE SIZE
                                                                        CCA/RATING                  (NOTES)                      (NOTES)

Mercedes-Benz C220
1996-94 L4/2.2L                                                            760           —                         —
Mercedes-Benz C230
2009-08   V6/2.5L                                                          760           —                         —
2009-08   V6/2.5L     Aux Bat                                              200           —                         —
2007-06   V6/2.5L                                                          760           —                         —
2005-04   L4/1.8L     S/C                                                  760           —                         —
2003      L4/1.8L     S/C                                                  825           H8 (49) AGM 33, 50        — 33, 50
2002      L4/2.3L                                                          760           —                         —
2000-97   L4/2.3L                                                          760           —                         —
Mercedes-Benz C240
2005-01 V6/2.6L       w/o AGM                                              760           —                         —
2003    V6/2.6L       w/AGM                                                850           H8 (49) AGM 33, 50        — 33, 50
Mercedes-Benz C250
2015-14   L4/1.8L     Opt Rear                                            95 Ah          H8 (49) AGM 33, 50, 54    — 33, 50, 54
2015-13   L4/1.8L     Front                                               84 Ah          —                         —
2015-12   L4/1.8L                                                          760           H6 (48) AGM 33, 54        — 33, 54
2015-12   L4/1.8L     Aux Bat                                              200           —                         —
2012-10   V6/2.5L                                                          700           H7 (94R) 54               H7 (94R) AGM 54
2012-10   V6/2.5L     Aux Bat                                              200           —                         —
2012-10   V6/2.5L     Opt                                                  760           H6 (48) AGM 33, 54        — 33, 54
2012      L4/1.8L     Opt Rear                                            95 Ah          H8 (49) AGM 33, 50, 54    — 33, 50, 54
Mercedes-Benz C280
2007-06 V6/3.0L                                                            760           —                         —
2000-98 V6/2.8L                                                            760           —                         —
1997-94 L6/2.8L                                                            760           —                         —
Mercedes-Benz C300
2018      L4/2.0L                                                          660           —                         —
2018      L4/2.0L     Opt                                                  760           H6 (48) AGM 33, 50, 56    — 33, 50, 56
2018      L4/2.0L     Opt                                                  800           —                         —
2018      L4/2.0L     Opt, Li-ion                                         48 Ah          —                         —
2017-16   L4/2.0L     Opt, Li-ion                                         78 Ah          —                         —
2017-15   L4/2.0L                                                          680           —                         —
2017      L4/2.0L     Opt                                                  760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2016      L4/2.0L                                                          760           H6 (48) AGM 33, 54        — 33, 54
2015      L4/2.0L                                                          700           H7 (94R) AGM 33, 50, 54   — 33, 50, 54
2015      L4/2.0L     Opt                                                  760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2015      L4/2.0L     Opt, Li-ion                                         78 Ah          —                         —
2014-13   V6/3.5L                                                          700           H7 (94R) 50, 54           H7 (94R) AGM 50, 54
2014-13   V6/3.5L     AGM Opt Trunk Mtd                                   95 Ah          H8 (49) AGM 33, 50, 54    — 33, 50, 54
2014-13   V6/3.5L     Aux Bat                                              200           —                         —
2014-13   V6/3.5L     Front Battery                                       84 Ah          —                         —
2012-08   V6/3.0L                                                         84 Ah          —                         —
2012-08   V6/3.0L     Aux Bat                                              200           —                         —
2012      V6/3.0L     AGM Opt Trunk Mtd                                   95 Ah          H8 (49) AGM 33, 50, 54    — 33, 50, 54
Mercedes-Benz C32 AMG
2004-03 V6/3.2L                                                            760           —                         —
2002    V6/3.2L                                                           74 Ah          —                         —
2002    V6/3.2L                                                            850           —                         —
Mercedes-Benz C320
2005-04   V6/3.2L                                                         760            —                         —
2003      V6/3.2L                                                         850            H8 (49) AGM 33, 50        — 33, 50
2002-01   V6/3.2L                                                         760            —                         —
2002      V6/3.2L                                                        74 Ah           —                         —
2001      V6/3.2L     w/o AGM                                            100 Ah          —                         —
Mercedes-Benz C350
2016      V6/3.5L                                                          700           H7 (94R) 50, 54           H7 (94R) AGM 50, 54
2016-08   V6/3.5L     Aux Bat                                              200           —                         —
2015      V6/3.5L                                                         84 Ah          —                         —
2014-08   V6/3.5L                                                         84 Ah          —                         —
2007-06   V6/3.5L                                                          760           —                         —
Mercedes-Benz C350e
2018-16   L4/2.0L     Hybrid, Opt, Li-ion                                 78 Ah          —                         —
2018      L4/2.0L     Hybrid                                               800           H7 (94R) AGM 33, 50, 56   — 33, 50, 56
2018      L4/2.0L     Hybrid, Opt                                          800           H7 (94R) AGM 33, 50, 56   — 33, 50, 56
2017-16   L4/2.0L     Hybrid                                               850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
Mercedes-Benz C36 AMG
1997-95 L6/3.6L                                                            760           —                         —
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   Automotive/Light Truck                                                                                                                      103
      YEAR       ENGINE                                             OPTIONS   ORIGINAL EQUIPMENT              GROUP SIZE                   ALTERNATE SIZE
                                                                                  CCA/RATING                   (NOTES)                        (NOTES)

   Mercedes-Benz C400
   2015      V6/3.0L                                                                 760           H6 (48) AGM 33, 50, 54       — 33, 50, 54
   2015      V6/3.0L      Opt, Li-ion                                               78 Ah          —                            —
   Mercedes-Benz C43 AMG
   2020-19   V6/3.0L                                                                 760           H6 (48) AGM 33, 50, 56       — 33, 50, 56
   2020-19   V6/3.0L      Opt                                                        800           —                            —
   2018      V6/3.0L                                                                 760           H6 (48) AGM 33, 50, 56       — 33, 50, 56
   2018      V6/3.0L      Opt                                                        800           —                            —
   2018-17   V6/3.0L      Opt, Li-ion                                               78 Ah          —                            —
   2017      V6/3.0L                                                                 760           H6 (48) AGM 33, 50, 54       — 33, 50, 54
   2017      V6/3.0L      Opt                                                        800           H7 (94R) AGM 33, 50, 54      — 33, 50, 54
   2000-98   V8/4.3L                                                                 760           —                            —
   Mercedes-Benz C450 AMG
   2016      V6/3.0L                                                                 760           H6 (48) AGM 33, 54           — 33, 54
   2016      V6/3.0L      Opt, Li-ion                                               78 Ah          —                            —
   Mercedes-Benz C55 AMG
   2006-05 V8/5.5L                                                                 100 Ah          —                            —
   Mercedes-Benz C63 AMG
   2019      V8/4.0L                                                                 680           H5 (47) AGM 33, 50, 56       — 33, 50, 56
   2019      V8/4.0L      Opt                                                        800           —                            —
   2019      V8/4.0L      Opt                                                        850           H8 (49) AGM 33, 50, 56       — 33, 50, 56
   2018-16   V8/4.0L      Opt, Li-ion                                               78 Ah          —                            —
   2018      V8/4.0L                                                                 680           —                            —
   2018      V8/4.0L      Opt                                                        800           —                            —
   2018      V8/4.0L      Opt                                                        800           H7 (94R) AGM 33, 50, 56      — 33, 50, 56
   2017-16   V8/4.0L                                                                 850           H8 (49) AGM 33, 50, 54       — 33, 50, 54
   2015-08   V8/6.3L                                                                 850           H8 (49) AGM 33, 50, 54       — 33, 50, 54
   2015-08   V8/6.3L      Aux Bat                                                    200           —                            —
   Mercedes-Benz C63 AMG S
   2019      V8/4.0L                                                                 680           H5 (47) AGM 33, 50, 56       — 33, 50, 56
   2019      V8/4.0L      Opt                                                        800           —                            —
   2019      V8/4.0L      Opt                                                        850           H8 (49) AGM 33, 50, 56       — 33, 50, 56
   2018-15   V8/4.0L      Opt, Li-ion                                               78 Ah          —                            —
   2018      V8/4.0L                                                                60 Ah          H5 (47) AGM 33, 50, 56       — 33, 50, 56
   2018      V8/4.0L      Opt                                                        800           —                            —
   2018      V8/4.0L      Opt                                                        800           H7 (94R) AGM 33, 50, 56      — 33, 50, 56
   2017-15   V8/4.0L                                                                 800           —                            —
   2017-15   V8/4.0L      Opt                                                        850           H8 (49) AGM 33, 50, 54       — 33, 50, 54
   Mercedes-Benz CL500
   2006-02 V8/5.0L                                                                  95 Ah          H8 (49) AGM 33, 50           — 33, 50
   2001-98 V8/5.0L        w/o AGM                                                    760           —                            —
   Mercedes-Benz CL55 AMG
   2006-02 V8/5.5L                                                                  95 Ah          H8 (49) AGM 33               — 33
   2005-02 V8/5.5L                                                                  95 Ah          H8 (49) AGM 33, 50           — 33, 50
   2001    V8/5.5L                                                                   760           —                            —
   Mercedes-Benz CL550
   2014-12   V8/4.6L      Secondary Bat, 4-Matic                                    1.2 Ah         —                            —
   2014-11   V8/4.6L      Aux Bat                                                    200           —                            —
   2014-11   V8/4.6L      On-Board Electrical System Battery                         850           H8 (49) AGM 33, 50, 54       — 33, 50, 54
   2014-11   V8/4.6L      Primary, 4-Matic                                          95 Ah          H8 (49) AGM 33, 50, 54       — 33, 50, 54
   2011      V8/4.6L      Secondary Bat, 4-Matic                                    35 Ah          —                            —
   2010-09   V8/5.5L      4-Matic                                                   95 Ah          H8 (49) AGM 33, 47, 50       — 33, 47, 50
   2010-07   V8/5.5L      On-Board Electrical System Battery                         850           H8 (49) AGM 33, 50, 54       — 33, 50, 54
   2010-07   V8/5.5L      On-Board Electrical System Battery, Opt                    760           H6 (48) AGM 33, 50, 54       — 33, 50, 54
   2008-07   V8/5.5L      Primary Bat                                               95 Ah          H8 (49) AGM 33, 47, 50, 54   — 33, 47, 50, 54
   2008-07   V8/5.5L      Secondary Bat                                             35 Ah          —                            —
   Mercedes-Benz CL600
   2014-08   V12/5.5L     Primary Bat                                               95 Ah          H8 (49) AGM 33, 47, 50, 54   — 33, 47, 50, 54
   2014-07   V12/5.5L     On-Board Electrical System Battery                         850           H8 (49) AGM 33, 50, 54       — 33, 50, 54
   2010      V12/5.5L     Secondary Bat                                             35 Ah          —                            —
   2007      V12/5.5L     Starting Motor Battery                                     520           —                            —
   2006-03   V12/5.5L                                                               95 Ah          H8 (49) AGM 33, 50           — 33, 50
   2002-01   V12/5.8L                                                                760           —                            —
   1999-98   V12/6.0L                                                                760           —                            —
   Mercedes-Benz CL63 AMG
   2014-11   V8/5.5L      Aux Bat                                                    200           —                            —
   2014-11   V8/5.5L      Primary Bat                                                850           H8 (49) AGM 33, 50, 54       — 33, 50, 54
   2010-08   V8/6.3L                                                                 850           H8 (49) AGM 33, 50, 54       — 33, 50, 54
   2010-08   V8/6.3L      Primary Bat                                               95 Ah          H8 (49) AGM 33, 47, 50       — 33, 47, 50
   2010-08   V8/6.3L      Secondary Bat                                             60 Ah          H5 (47) AGM 33               — 33
   See page 151 for Footnotes. Selection may vary by warehouse.

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104                                                                     Automotive/Light Truck
  YEAR       ENGINE                                          OPTIONS               ORIGINAL EQUIPMENT             GROUP SIZE                  ALTERNATE SIZE
                                                                                       CCA/RATING                  (NOTES)                       (NOTES)

Mercedes-Benz CL65 AMG
2014-08   V12/6.0L    On-Board Electrical System Battery                                  850           H8 (49) AGM 33, 50, 54     — 33, 50, 54
2014-08   V12/6.0L    Primary Bat                                                        95 Ah          H8 (49) AGM 33, 47, 50     — 33, 47, 50
2011-08   V12/6.0L    Secondary Bat                                                      35 Ah          —                          —
2006-05   V12/6.0L                                                                       95 Ah          H8 (49) AGM 33, 50         — 33, 50
Mercedes-Benz CLA250
2020-18   L4/2.0L                                                                         760           H6 (48) AGM 33, 50, 55     — 33, 50, 55
2020-19   L4/2.0L     Opt                                                                 800           —                          —
2020-19   L4/2.0L     Aux Bat                                                             800           —                          —
2020-18   L4/2.0L     Aux Bat                                                             200           —                          —
2020-18   L4/2.0L     Opt                                                                 800           —                          —
2020-14   L4/2.0L     Opt                                                                 800           H7 (94R) AGM 33, 50, 54    — 33, 50, 54
2017      L4/2.0L                                                                         760           H6 (48) AGM 33, 50, 54     — 33, 50, 54
2017-14   L4/2.0L     Aux Bat                                                             200           —                          —
2016-14   L4/2.0L                                                                         760           H6 (48) AGM 33, 54         — 33, 54
Mercedes-Benz CLA45 AMG
2019      L4/2.0L                                                                         760           H6 (48) AGM 33, 50, 56     — 33, 50, 56
2019      L4/2.0L     Opt                                                                 800           —                          —
2019      L4/2.0L     Aux Bat                                                             200           —                          —
2019      L4/2.0L     Bat Backup                                                         1.2 Ah         —                          —
2019      L4/2.0L     Opt                                                                80 Ah          H7 (94R) AGM 33, 50, 56    — 33, 50, 56
2018      L4/2.0L                                                                         760           H6 (48) AGM 33, 50, 56     — 33, 50, 56
2018      L4/2.0L     Aux Bat                                                             200           —                          —
2018      L4/2.0L     Opt                                                                 800           —                          —
2017-16   L4/2.0L     Opt                                                                 800           H7 (94R) AGM 33, 50, 54    — 33, 50, 54
2017-14   L4/2.0L     Aux Bat                                                             200           —                          —
2017      L4/2.0L                                                                         760           H6 (48) AGM 33, 50, 54     — 33, 50, 54
2016-14   L4/2.0L                                                                         760           H6 (48) AGM 33, 54         — 33, 54
2015-14   L4/2.0L     Opt                                                                 N/A           —                          —
Mercedes-Benz CLK320
2005-98 V6/3.2L                                                                           760           —                          —
Mercedes-Benz CLK350
2009-06 V6/3.5L                                                                          760            —                         —
2009    V6/3.5L       Cabrio, w/o AGM                                                   100 Ah          —                         —
2008-06 V6/3.5L       w/o AGM                                                           100 Ah          —                         —
Mercedes-Benz CLK430
2003-99 V8/4.3L                                                                           760           —                          —
Mercedes-Benz CLK500
2006-03 V8/5.0L                                                                         100 Ah          —                          —
Mercedes-Benz CLK55 AMG
2006-01 V8/5.5L                                                                           760           —                          —
Mercedes-Benz CLK550
2009-07 V8/5.5L                                                                          760            —                          —
2009    V8/5.5L       Cabrio                                                            100 Ah          —                          —
2008    V8/5.5L                                                                         100 Ah          —                          —
Mercedes-Benz CLK63 AMG
2009-08   V8/6.3L                                                                         760           —                          —
2009-08   V8/6.3L     Cabrio                                                            100 Ah          —                          —
2008      V8/6.3L     Black                                                              70 Ah          H6 (48) AGM 33, 50         — 33, 50
2008      V8/6.3L     Opt                                                                 760           H6 (48) AGM 33             — 33
2007      V8/6.3L                                                                       100 Ah          —                          —
Mercedes-Benz CLS400
2017-15   V6/3.0L                                                                         760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2017-15   V6/3.0L     Aux Bat                                                             200           —                         —
2017-15   V6/3.0L     Opt                                                                 850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2017-15   V6/3.0L     Opt                                                                 800           H7 (94R) AGM 33, 50, 54   — 33, 50, 54
Mercedes-Benz CLS500
2006      V8/5.0L                                                                         760           —                         —
2006      V8/5.0L                                                                         850           H8 (49) AGM 33            — 33
2006      V8/5.0L     Aux Bat                                                             200           —                         —
Mercedes-Benz CLS55 AMG
2006      V8/5.5L                                                                         760           —                         —
2006      V8/5.5L                                                                         850           H8 (49) AGM 33, 50        — 33, 50
2006      V8/5.5L     Aux Bat                                                             200           —                         —
Mercedes-Benz CLS550
2018      V8/4.6L                                                                         800           —                         —
2018      V8/4.6L     Aux Bat                                                             200           —                         —
2018      V8/4.6L     Opt                                                                 800           H7 (94R) AGM 33, 50, 56   — 33, 50, 56
2017-12   V8/4.6L                                                                         800           H7 (94R) AGM 33, 50, 54   — 33, 50, 54
2017-12   V8/4.6L     Aux Bat                                                             200           —                         —
                                                                                                  See page 151 for Footnotes. Selection may vary by warehouse.

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      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE                 ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)                      (NOTES)

   Mercedes-Benz CLS550 (continued)
   2017-12 V8/4.6L        Opt                                                      850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2011-07 V8/5.5L                                                                95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
   2011-07 V8/5.5L        Aux Bat                                                  200           —                         —
   Mercedes-Benz CLS63 AMG
   2014-12   V8/5.5L                                                              80 Ah          H7 (94R) AGM 33, 47, 50   — 33, 47, 50
   2014-12   V8/5.5L      Aux Bat                                                  200           —                         —
   2014-12   V8/5.5L      Opt                                                      850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2011-07   V8/6.3L                                                              95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
   2011-07   V8/6.3L      Aux Bat                                                  200           —                         —
   Mercedes-Benz CLS63 AMG S
   2018-14   V8/5.5L      Aux Bat                                                  200           —                         —
   2018      V8/5.5L                                                               800           —                         —
   2018      V8/5.5L      4-Matic                                                  800           H7 (94R) AGM 33, 50, 56   — 33, 50, 56
   2018      V8/5.5L      Opt                                                      800           H7 (94R) AGM 33, 50, 56   — 33, 50, 56
   2017-15   V8/5.5L      Opt                                                      850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2017-14   V8/5.5L                                                               800           H7 (94R) AGM 33, 50, 54   — 33, 50, 54
   2014      V8/5.5L                                                               850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   Mercedes-Benz E250
   2016-14 L4/2.1L        Aux, Dsl                                                 200           —                         —
   2016-14 L4/2.1L        Dsl                                                      760           H6 (48) AGM 33, 54        — 33, 54
   2016-14 L4/2.1L        Dsl, Opt                                                 850           H8 (49) AGM 33, 54        — 33, 54
   Mercedes-Benz E280
   2007      V6/3.0L                                                               760           —                         —
   2007      V6/3.0L      Aux Bat                                                  200           —                         —
   Mercedes-Benz E300
   2019-17   L4/2.0L                                                               760           H6 (48) AGM 33, 50, 56    — 33, 50, 56
   2019-17   L4/2.0L      Opt                                                      680           H5 (47) AGM 33, 50, 56    — 33, 50, 56
   2018-17   L4/2.0L      Opt                                                     80 Ah          H7 (94R) AGM 33, 50, 56   — 33, 50, 56
   2019      L4/2.0L      Opt                                                      800           —                         —
   2019-17   L4/2.0L      Opt                                                      850           H8 (49) AGM 33, 50, 56    — 33, 50, 56
   2018-17   L4/2.0L      Opt, Li-ion                                             78 Ah          —                         —
   2018-17   L4/2.0L      Opt, Li-ion                                             80 Ah          —                         —
   2016-15   V6/3.5L                                                               760           H6 (48) AGM 33, 54        — 33, 54
   2016-15   V6/3.5L      Opt                                                      850           H8 (49) AGM 33, 54        — 33, 54
   2016-12   V6/3.5L      Aux Bat                                                  200           —                         —
   2013-12   V6/3.5L                                                               760           —                         —
   2009-08   V6/3.0L                                                               760           —                         —
   2009-08   V6/3.0L      Aux Bat                                                  200           —                         —
   1999-95   L6/3.0L      Dsl                                                    100 Ah          —                         —
   Mercedes-Benz E320
   2009-08   V6/3.0L      BlueTEC w/AGM                                            850           H8 (49) AGM 33, 47, 50    — 33, 47, 50
   2009-08   V6/3.0L      Dsl                                                      850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2009-07   V6/3.0L      Aux, Dsl                                                 200           —                         —
   2007      V6/3.0L      Dsl                                                      850           H8 (49) AGM 33, 50        — 33, 50
   2006-05   L6/3.2L      Aux, Dsl                                                 200           —                         —
   2006      L6/3.2L      Dsl                                                      850           H8 (49) AGM 33, 50        — 33, 50
   2005-03   V6/3.2L      Aux Bat                                                  200           —                         —
   2005-03   V6/3.2L                                                              95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
   2004      V6/3.2L      E320S                                                  100 Ah          —                         —
   2002-98   V6/3.2L                                                             100 Ah          —                         —
   1997-96   L6/3.2L                                                               690           H6 (48)                   H6 (48) AGM
   1997-96   L6/3.2L                                                             100 Ah          —                         —
   1995-94   L6/3.2L      E320C-A                                                100 Ah          —                         —
   1995      L6/3.2L                                                               660           H6 (48) 50                H6 (48) AGM 50
   1994      L6/3.2L      Ex Cabriolet                                             660           H6 (48) 50                H6 (48) AGM 50
   Mercedes-Benz E350
   2016-10   V6/3.5L                                                               760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
   2016-10   V6/3.5L      Aux Bat                                                  200           —                         —
   2016-06   V6/3.5L      Opt                                                      850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2015      V6/3.5L                                                              80 Ah          H7 (94R) AGM 33, 50, 54   — 33, 50, 54
   2014-12   V6/3.5L                                                              80 Ah          H7 (94R) AGM 33, 50, 56   — 33, 50, 56
   2014-10   V6/3.5L      Opt                                                     70 Ah          H6 (48) AGM 33, 50, 56    — 33, 50, 56
   2013-11   V6/3.0L      Aux, Dsl                                                 200           —                         —
   2013-11   V6/3.0L      Dsl                                                      760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
   2013-11   V6/3.0L      Dsl, Opt                                                 850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2009-06   V6/3.5L                                                               680           —                         —
   2009-06   V6/3.5L                                                              95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
   2009-06   V6/3.5L      Aux Bat                                                  200           —                         —
   2009-06   V6/3.5L      Opt                                                      760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
   2009-06   V6/3.5L      Opt                                                      760           —                         —
   See page 151 for Footnotes. Selection may vary by warehouse.

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106                                             Automotive/Light Truck
  YEAR      ENGINE                   OPTIONS               ORIGINAL EQUIPMENT             GROUP SIZE                 ALTERNATE SIZE
                                                               CCA/RATING                  (NOTES)                      (NOTES)

Mercedes-Benz E400
2018      V6/3.0L    Opt                                         60 Ah          H5 (47) AGM 33, 50, 56    — 33, 50, 56
2018      V6/3.0L    Opt                                          800           —                         —
2018      V6/3.0L    Opt, Li-ion                                 78 Ah          —                         —
2018      V6/3.0L    Opt, Li-ion                                 80 Ah          —                         —
2018-15   V6/3.0L                                                 760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2017-15   V6/3.0L    Aux Bat                                      200           —                         —
2018-15   V6/3.0L    Opt                                          850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2015-13   V6/3.5L    Hybrid                                       850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2015-13   V6/3.5L    Hybrid, Aux                                  200           —                         —
Mercedes-Benz E420
1997    V8/4.2L                                                  690            H6 (48)                   H6 (48) AGM
1997    V8/4.2L                                                 100 Ah          —                         —
1995-94 V8/4.2L                                                 100 Ah          —                         —
Mercedes-Benz E43 AMG
2018      V6/3.0L    Opt                                          800           —                         —
2018-17   V6/3.0L    Opt, Li-ion                                 78 Ah          —                         —
2018-17   V6/3.0L    Opt, Li-ion                                 80 Ah          —                         —
2018-17   V6/3.0L                                                 760           H6 (48) AGM 33, 50, 56    — 33, 50, 56
2018-17   V6/3.0L    Opt                                         60 Ah          H5 (47) AGM 33, 50, 56    — 33, 50, 56
2018-17   V6/3.0L    Opt                                          850           H8 (49) AGM 33, 50, 56    — 33, 50, 56
2017      V6/3.0L    Opt                                          800           H7 (94R) AGM 33, 50, 54   — 33, 50, 54
Mercedes-Benz E430
2002-98 V8/4.3L                                                 100 Ah          —                         —
Mercedes-Benz E500
2006-03 V8/5.0L                                                  95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
2006-03 V8/5.0L      Aux Bat                                      200           —                         —
1994    V8/5.0L                                                 100 Ah          —                         —
Mercedes-Benz E55 AMG
2006-04   V8/5.5L                                                95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
2006-03   V8/5.5L    Aux Bat                                      200           —                         —
2003      V8/5.5L                                                 850           —                         —
2002-99   V8/5.5L                                                 760           —                         —
Mercedes-Benz E550
2017      V8/4.6L                                                 700           H7 (94R) 50, 54           H7 (94R) AGM 50, 54
2017      V8/4.6L    Aux Bat                                      200           —                         —
2016-12   V8/4.6L                                                80 Ah          H7 (94R) AGM 33, 50       — 33, 50
2016-12   V8/4.6L    Aux Bat                                      200           —                         —
2011-10   V8/5.5L                                                 850           —                         —
2011-10   V8/5.5L                                                80 Ah          H7 (94R) AGM 33, 50       — 33, 50
2011-10   V8/5.5L    Aux Bat                                      200           —                         —
2009-07   V8/5.5L                                                95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
2009-07   V8/5.5L    Aux Bat                                      200           —                         —
2009-07   V8/5.5L    Opt                                          850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
Mercedes-Benz E63 AMG
2015      V8/5.5L                                                80 Ah          H7 (94R) AGM 33, 50, 54   — 33, 50, 54
2015-12   V8/5.5L                                                 760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2015-12   V8/5.5L    Aux Bat                                      200           —                         —
2014-12   V8/5.5L                                                95 Ah          H8 (49) AGM 33, 50, 54    — 33, 50, 54
2014-12   V8/5.5L    Opt                                         80 Ah          H7 (94R) AGM 33, 50, 54   — 33, 50, 54
2011-10   V8/6.3L                                                 760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2011-10   V8/6.3L                                                80 Ah          H7 (94R) AGM 33, 50, 54   — 33, 50, 54
2011-10   V8/6.3L    Aux Bat                                      200           —                         —
2009-07   V8/6.3L                                                95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
2009-07   V8/6.3L    Aux Bat                                      200           —                         —
Mercedes-Benz E63 AMG S
2016-15 V8/5.5L                                                   760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2016-14 V8/5.5L      Aux Bat                                      200           —                         —
Mercedes-Benz G500
2008-07   V8/5.0L                                                 850           —                         —
2008-02   V8/5.0L    Aux Bat                                      200           —                         —
2008      V8/5.0L    AGM                                         95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
2007-02   V8/5.0L    AGM                                         90 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
2006-02   V8/5.0L                                                 760           —                         —
Mercedes-Benz G55 AMG
2011-07   V8/5.5L                                                 850           —                         —
2011-03   V8/5.5L    Aux Bat                                      200           —                         —
2006-03   V8/5.5L                                                 825           —                         —
2003      V8/5.5L    Opt                                          850           H8 (49) AGM 33, 50        — 33, 50
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   Automotive/Light Truck                                                                                                                107
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE                ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)                     (NOTES)

   Mercedes-Benz G550
   2018-16   V8/4.0L                                                               850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   2018-16   V8/4.0L                                                                             —                        —
   2015-09   V8/5.5L      Aux Bat                                                  850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   2015-09   V8/5.5L      Aux Bat                                                  200           —                        —
   Mercedes-Benz G63 AMG
   2018-13 V8/5.5L                                                                 850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   2018-13 V8/5.5L        Aux Bat                                                  200           —                        —
   2014-13 V8/5.5L                                                                80 Ah          H7 (94R) AGM 33, 50      — 33, 50
   Mercedes-Benz G65 AMG
   2018-16 V12/6.0L                                                                850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   Mercedes-Benz GL320
   2009-07 V6/3.0L        Dsl                                                      850           —                        —
   Mercedes-Benz GL350
   2016-13 V6/3.0L        Aux, Dsl                                                 200           —                        —
   2016-10 V6/3.0L        Dsl                                                      850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   2014-10 V6/3.0L        Dsl, w/AGM                                               850           H8 (49) AGM 33, 47, 50   — 33, 47, 50
   Mercedes-Benz GL450
   2016-15   V6/3.0L                                                               850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   2016-15   V6/3.0L      Aux Bat                                                  200           —                        —
   2014-13   V8/4.6L      Aux Bat                                                  200           —                        —
   2014-07   V8/4.6L                                                               850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   Mercedes-Benz GL550
   2016-13 V8/4.6L                                                                 850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   2016-13 V8/4.6L        Aux Bat                                                  200           —                        —
   2012-08 V8/5.5L                                                                 850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   Mercedes-Benz GL63 AMG
   2016-13 V8/5.5L                                                                 850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   2016-13 V8/5.5L        Aux Bat                                                  200           —                        —
   Mercedes-Benz GLA250
   2020-15 L4/2.0L                                                                 760           H6 (48) AGM 33, 54       — 33, 54
   2020-15 L4/2.0L        Aux Bat                                                 12 Ah          —                        —
   Mercedes-Benz GLA45 AMG
   2020-15 L4/2.0L                                                                 760           H6 (48) AGM 33, 54       — 33, 54
   2020-15 L4/2.0L        Aux Bat                                                 12 Ah          —                        —
   Mercedes-Benz GLC300
   2018-16 L4/2.0L                                                                 680           —                        —
   2018-16 L4/2.0L        Opt                                                      760           H6 (48) AGM 33, 54       — 33, 54
   2018-16 L4/2.0L        Opt, Li-ion                                             78 Ah          —                        —
   Mercedes-Benz GLC43 AMG
   2018-17 V6/3.0L                                                                 760           H6 (48) AGM 33, 54       — 33, 54
   2018-17 V6/3.0L        Opt, Li-ion                                             78 Ah          —                        —
   Mercedes-Benz GLE300d
   2016      L4/2.1L      Aux, Dsl                                                 200           —                        —
   2016      L4/2.1L      Dsl                                                      850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   Mercedes-Benz GLE350
   2018-16 V6/3.5L                                                                 850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   2018-16 V6/3.5L        Aux Bat                                                  200           —                        —
   Mercedes-Benz GLE350d
   2016      V6/3.0L      Aux, Dsl                                                 200           —                        —
   2016      V6/3.0L      Dsl                                                      850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   Mercedes-Benz GLE400
   2019-18   V6/3.0L                                                               850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   2019-18   V6/3.0L      Aux Bat                                                  200           —                        —
   2017-16   V6/3.0L                                                               850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   2017-16   V6/3.0L      Aux Bat                                                  200           —                        —
   Mercedes-Benz GLE43 AMG
   2019-17 V6/3.0L                                                                 850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   2019-17 V6/3.0L        Aux Bat                                                 12 Ah          —                        —
   Mercedes-Benz GLE450 AMG
   2016      V6/3.0L                                                               850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   2016      V6/3.0L      Aux Bat                                                  200           —                        —
   Mercedes-Benz GLE550
   2017-16 V8/4.6L                                                                 850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   2017-16 V8/4.6L        Aux Bat                                                  200           —                        —
   Mercedes-Benz GLE550e
   2018-16 V6/3.0L        Hybrid                                                   850           H8 (49) AGM 33, 50, 54   — 33, 50, 54
   2018    V6/3.0L        Hybrid, Aux                                              200           —                        —
   2017-16 V6/3.0L        Hybrid, Aux                                              200           —                        —
   See page 151 for Footnotes. Selection may vary by warehouse.

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  YEAR       ENGINE                        OPTIONS               ORIGINAL EQUIPMENT             GROUP SIZE                  ALTERNATE SIZE
                                                                     CCA/RATING                  (NOTES)                       (NOTES)

Mercedes-Benz GLE63 AMG
2019-16 V8/5.5L                                                         850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2019-16 V8/5.5L       Aux Bat                                           200           —                         —
Mercedes-Benz GLE63 AMG S
2019-16 V8/5.5L                                                         850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2019-16 V8/5.5L       Aux Bat                                           200           —                         —
Mercedes-Benz GLK250
2015-13 L4/2.1L       Aux, Dsl                                          200           —                         —
2015-13 L4/2.1L       Aux, Dsl                                         1.2 Ah         —                         —
2015-13 L4/2.1L       Dsl                                               800           H7 (94R) AGM 33, 50, 54   — 33, 50, 54
Mercedes-Benz GLK350
2015-13   V6/3.5L                                                       760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2015-10   V6/3.5L     Aux Bat                                           200           —                         —
2015      V6/3.5L                                                      80 Ah          H7 (94R) AGM 33, 50, 54   — 33, 50, 54
2012-10   V6/3.5L                                                       680           —                         —
2012-10   V6/3.5L     AGM                                              80 Ah          H7 (94R) AGM 33, 50       — 33, 50
2012-10   V6/3.5L     Aux Bat                                          1.2 Ah         —                         —
2012-10   V6/3.5L     Opt                                               760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2012-10   V6/3.5L     Opt                                               800           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2012-10   V6/3.5L     Opt                                               700           H7 (94R) 50, 54           H7 (94R) AGM 50, 54
2012-10   V6/3.5L     Opt                                               800           H7 (94R) AGM 33, 50, 54   — 33, 50, 54
Mercedes-Benz GLS450
2019-17 V6/3.0L                                                         850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2019-17 V6/3.0L       Aux Bat                                           200           —                         —
Mercedes-Benz GLS550
2018-17 V8/4.6L                                                         850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2017    V8/4.6L       Aux Bat                                           200           —                         —
Mercedes-Benz GLS63 AMG
2019-17 V8/5.5L                                                         850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2019-17 V8/5.5L       Aux Bat                                           200           —                         —
Mercedes-Benz Maybach S550
2017      V8/4.6L                                                       760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2017      V8/4.6L     Aux Bat                                           200           —                         —
2017      V8/4.6L     Opt                                               850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2017      V8/4.6L     Opt                                               800           —                         —
Mercedes-Benz Maybach S560
2020-19 V8/4.0L       Aux Bat                                           200           —                          —
Mercedes-Benz Maybach S650
2020-19 V12/6.0L      Aux Bat                                           200           —                          —
Mercedes-Benz Maybach S600
2017-16 V12/6.0L                                                        760           H6 (48) AGM 33, 54         — 33, 54
2017-16 V12/6.0L      Aux Bat                                           200           —                          —
2017-16 V12/6.0L      Opt                                               850           H8 (49) AGM 33, 54         — 33, 54
Mercedes-Benz Metris
2020-16   L4/2.0L                                                       680           —                          —
2020-16   L4/2.0L     Opt                                               760           —                          —
2020-16   L4/2.0L     Aux Bat                                           200           —                          —
2020-18   L4/2.0L     Opt                                               850           H8 (49) AGM 33, 45, 54     — 33, 45, 54
2020-18   L4/2.0L     Opt                                               760           H6 (48) AGM 33, 45, 54     — 33, 45, 54
2017-16   L4/2.0L     Opt                                               760           H6 (48) AGM 33, 50, 54     — 33, 50, 54
2017-16   L4/2.0L     Opt                                               850           H8 (49) AGM 33, 50, 54     — 33, 50, 54
Mercedes-Benz ML250
2015      L4/2.1L     Aux, Dsl                                          200           —                         —
2015      L4/2.1L     Dsl                                               850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
Mercedes-Benz ML320
2009-07   V6/3.0L     AGM, CDI/BlueTEC                                 95 Ah          H8 (49) AGM 33, 47, 50     — 33, 47, 50
2009-07   V6/3.0L     Dsl                                               760           —                          —
2003-98   V6/3.2L                                                       760           —                          —
2003-98   V6/3.2L     AGM, Opt                                          825           H8 (49) AGM 33, 50, 54     — 33, 50, 54
Mercedes-Benz ML350
2015-12   V6/3.0L     Aux, Dsl                                          200           —                         —
2015-12   V6/3.5L     Aux Bat                                           200           —                         —
2015-10   V6/3.0L     Dsl                                               850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2015-08   V6/3.5L                                                       850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2014-06   V6/3.5L     AGM                                              95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
2012-10   V6/3.0L     Dsl, w/AGM                                       95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
2007-06   V6/3.5L                                                       950           —                         —
2007-06   V6/3.5L     AGM, 163/164                                     90 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
2005-04   V6/3.7L                                                       760           —                         —
                                                                                See page 151 for Footnotes. Selection may vary by warehouse.

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      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE                 ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)                      (NOTES)

   Mercedes-Benz ML350 (continued)
   2005-04 V6/3.7L                                                                 760           —                         —
   2003    V6/3.7L                                                                 825           —                         —
   Mercedes-Benz ML400
   2015      V6/3.0L                                                               850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2015      V6/3.0L      Aux Bat                                                  200           —                         —
   Mercedes-Benz ML430
   2001-99 V8/4.3L                                                                 825           —                         —
   Mercedes-Benz ML450
   2011-10 V6/3.5L        AGM                                                     95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
   2011-10 V6/3.5L        Hybrid                                                   760           —                         —
   Mercedes-Benz ML500
   2007      V8/5.0L                                                               950           —                         —
   2007-06   V8/5.0L      AGM                                                     95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
   2006      V8/5.0L                                                               950           —                         —
   2005-02   V8/5.0L                                                             100 Ah          —                         —
   Mercedes-Benz ML55 AMG
   2003-00 V8/5.5L                                                               100 Ah          —                         —
   Mercedes-Benz ML550
   2015-12   V8/4.6L                                                               760           —                         —
   2015-12   V8/4.6L      Aux Bat                                                  200           —                         —
   2014-12   V8/4.6L      AGM                                                     95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
   2011-08   V8/5.5L                                                               760           —                         —
   2011-08   V8/5.5L      AGM                                                     95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
   Mercedes-Benz ML63 AMG
   2015-12   V8/5.5L                                                               850           H8 (49) AGM 33            — 33
   2015-12   V8/5.5L      Aux Bat                                                  200           —                         —
   2014-12   V8/5.5L      AGM                                                     95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
   2011-07   V8/6.3L                                                               850           H8 (49) AGM 33            — 33
   2011-07   V8/6.3L      AGM                                                     95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
   Mercedes-Benz R320
   2009-07 V6/3.0L        Dsl                                                      850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2009    V6/3.0L        Dsl w/AGM, BlueTEC                                       850           H8 (49) AGM 33, 47, 50    — 33, 47, 50
   Mercedes-Benz R350
   2013-12   V6/3.5L                                                               760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
   2013-12   V6/3.5L      Opt                                                      850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2013-10   V6/3.0L      Dsl                                                      850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2013-06   V6/3.5L      AGM                                                     92 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
   2012-10   V6/3.0L      Dsl w/AGM, BlueTEC                                      92 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
   2011-08   V6/3.5L                                                               850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2007-06   V6/3.5L                                                               950           —                         —
   Mercedes-Benz R500
   2007-06 V8/5.0L                                                                 950           —                         —
   2007-06 V8/5.0L        AGM                                                     92 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
   Mercedes-Benz R63 AMG
   2007      V8/6.3L                                                               850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2007      V8/6.3L      AGM                                                      850           H8 (49) AGM 33, 47, 50    — 33, 47, 50
   Mercedes-Benz S320
   1999-94 L6/3.2L                                                                 760           —                         —
   Mercedes-Benz S350
   2013-12   V6/3.0L      Aux, Dsl                                                 200           —                         —
   2013-12   V6/3.0L      Dsl w/AGM, BlueTEC                                       850           H8 (49) AGM 33, 50        — 33, 50
   2006      V6/3.7L      AGM                                                      850           H8 (49) AGM 33, 50        — 33, 50
   1995-94   L6/3.4L                                                               760           —                         —
   1995-94   L6/3.4L      Dsl                                                      760           —                         —
   Mercedes-Benz S400
   2013-10 V6/3.5L        Hybrid                                                   760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
   2013-10 V6/3.5L        Hybrid, Aux                                              200           —                         —
   2012-10 V6/3.5L        Hybrid                                                  80 Ah          H7 (94R) AGM 33, 50, 54   — 33, 50, 54
   Mercedes-Benz S420
   1999-94 V8/4.2L                                                                 825           —                         —
   Mercedes-Benz S430
   2006-02 V8/4.3L        AGM                                                      850           H8 (49) AGM 33, 50        — 33, 50
   2005-02 V8/4.3L                                                                 825           H8 (49) AGM 33, 50        — 33, 50
   2001-00 V8/4.3L                                                                 760           —                         —
   Mercedes-Benz S450
   2020-19   V6/3.0L      Aux Bat                                                  200           —                         —
   2011-08   V8/4.6L      Aux Bat                                                  200           —                         —
   2011-08   V8/4.6L      On-Board Electrical System Battery                       850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2011-08   V8/4.6L      Starting Motor Battery                                   520           —                         —
   See page 151 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                                          OPTIONS               ORIGINAL EQUIPMENT             GROUP SIZE                 ALTERNATE SIZE
                                                                                      CCA/RATING                  (NOTES)                      (NOTES)

Mercedes-Benz S500
2006-02 V8/5.0L      AGM                                                                 850           H8 (49) AGM 33, 50        — 33, 50
2001-94 V8/5.0L                                                                          760           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2001-94 V8/5.0L                                                                          760           —                         —
Mercedes-Benz S55 AMG
2006      V8/5.5L                                                                        850           H8 (49) AGM 33, 50        — 33, 50
2005-04   V8/5.5L                                                                        825           H8 (49) AGM 33, 50        — 33, 50
2003      V8/5.5L                                                                        760           —                         —
2002-01   V8/5.5L                                                                        825           H8 (49) AGM 33, 50        — 33, 50
Mercedes-Benz S550
2017-15   V8/4.6L    On-Board Electrical System Battery                                  850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2017-12   V8/4.6L    Aux Bat                                                             200           —                         —
2016      V8/4.6L    Starting Bat                                                        520           —                         —
2015-14   V8/4.6L    Opt                                                               105 Ah          —                         —
2015      V8/4.6L    Starting Motor Battery                                              520           —                         —
2014-12   V8/4.6L                                                                        850           H8 (49) AGM 33, 50        — 33, 50
2013-12   V8/4.6L    Opt                                                                80 Ah          H7 (94R) AGM 33, 50, 54   — 33, 50, 54
2011-07   V8/5.5L                                                                        850           H8 (49) AGM 33, 50        — 33, 50
2011-07   V8/5.5L    Aux Bat                                                             200           —                         —
2011-07   V8/5.5L    Secondary Bat                                                      35 Ah          —                         —
2008-07   V8/5.5L    Opt                                                                60 Ah          H5 (47) AGM 33, 50, 54    — 33, 50, 54
Mercedes-Benz S550e
2017-15 V6/3.0L      Hybrid                                                              760           H6 (48) AGM 33, 54        — 33, 54
2017-15 V6/3.0L      Hybrid, Aux                                                         200           —                         —
2017-15 V6/3.0L      Hybrid, Opt                                                         850           H8 (49) AGM 33, 54        — 33, 54
Mercedes-Benz S560
2020-19 V8/4.0L      Aux Bat                                                             200           —                         —
Mercedes-Benz S600
2017-15   V12/6.0L                                                                       760           H6 (48) AGM 33, 54        — 33, 54
2017-15   V12/6.0L   Aux Bat                                                             200           —                         —
2017-15   V12/6.0L   Opt                                                                 850           H8 (49) AGM 33, 54        — 33, 54
2013-08   V12/5.5L   Aux Bat                                                            95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
2013-08   V12/5.5L   Primary Bat                                                        35 Ah          —                         —
2013-07   V12/5.5L   Aux Bat                                                             200           —                         —
2013-07   V12/5.5L   On-Board Electrical System Battery                                  850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2007-03   V12/5.5L   AGM                                                                95 Ah          H8 (49) AGM 33, 50        — 33, 50
2006-03   V12/5.5L                                                                       850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2002-01   V12/5.8L                                                                       760           —                         —
1999-94   V12/6.0L                                                                       760           —                         —
Mercedes-Benz S63 AMG
2020-18   V8/4.0L    Aux Bat                                                             200           —                         —
2018      V8/4.0L    Opt                                                                 850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2018      V8/4.0L    Opt, Li-ion                                                        78 Ah          —                         —
2018-14   V8/5.5L                                                                        760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2017-14   V8/5.5L    Opt, Li-ion                                                        78 Ah          —                         —
2017-11   V8/5.5L    Aux Bat                                                             200           —                         —
2017      V8/5.5L    Opt                                                                 850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2016-11   V8/5.5L                                                                        850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2015-14   V8/5.5L    Opt                                                               105 Ah          —                         —
2014-11   V8/5.5L    AGM                                                                95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
2014      V8/5.5L    Opt                                                                 850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2013-11   V8/5.5L    Opt                                                                80 Ah          H7 (94R) AGM 33, 50, 54   — 33, 50, 54
2010-09   V8/6.3L    AGM                                                                95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
2010-08   V8/6.3L                                                                        850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2010-08   V8/6.3L    Aux Bat                                                             200           —                         —
Mercedes-Benz S65 AMG
2019-15   V12/6.0L                                                                       760           H6 (48) AGM 33, 54        — 33, 54
2019-15   V12/6.0L   Opt                                                                 850           H8 (49) AGM 33, 54        — 33, 54
2019-07   V12/6.0L   Aux Bat                                                             200           —                         —
2017-15   V12/6.0L   Opt, Li-ion                                                        78 Ah          —                         —
2013-08   V12/6.0L   AGM, Secondary Bat                                                 95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
2013-08   V12/6.0L   Primary Bat                                                        35 Ah          —                         —
2013-07   V12/6.0L   On-Board Electrical System Battery                                  850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2007-06   V12/6.0L   AGM                                                                95 Ah          H8 (49) AGM 33, 47, 50    — 33, 47, 50
2006      V12/6.0L                                                                       850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
Mercedes-Benz SL320
1997-94 L6/3.2L                                                                          760           —                         —
Mercedes-Benz SL400
2016-15 V6/3.0L                                                                          850           H8 (49) AGM 33, 54        — 33, 54
2016-15 V6/3.0L      Aux Bat                                                             200           —                         —
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   Automotive/Light Truck                                                                                                                   111
      YEAR       ENGINE                                             OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE                 ALTERNATE SIZE
                                                                                  CCA/RATING                  (NOTES)                      (NOTES)

   Mercedes-Benz SL450
   2020-17 V6/3.0L                                                                   850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2020-17 V6/3.0L        Aux Bat                                                    200           —                         —
   Mercedes-Benz SL500
   2006-03 V8/5.0L        AGM                                                       70 Ah          H6 (48) AGM 33, 47, 50    — 33, 47, 50
   2006-03 V8/5.0L        On-Board Electrical System Battery                         760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
   2002-94 V8/5.0L                                                                   760           —                         —
   Mercedes-Benz SL55 AMG
   2008-03 V8/5.5L        AGM                                                       70 Ah          H6 (48) AGM 33, 47, 50    — 33, 47, 50
   2008-03 V8/5.5L        On-Board Electrical System Battery                         760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
   2008-03 V8/5.5L        Secondary Bat                                             35 Ah          —                         —
   Mercedes-Benz SL550
   2020-17   V8/4.6L                                                                 850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2020-13   V8/4.6L      Aux Bat                                                    200           —                         —
   2016      V8/4.6L      Aux Electronics Battery                                    850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2015      V8/4.6L      Starting Motor Battery                                     520           —                         —
   2015-13   V8/4.6L      On-Board Electrical System Battery                         850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2014-13   V8/4.6L      Starting Motor Battery                                     520           —                         —
   2012-07   V8/5.5L      AGM, In trunk                                             70 Ah          H6 (48) AGM 33, 47        — 33, 47
   2012-07   V8/5.5L      AGM, Opt                                                  95 Ah          H8 (49) AGM 33, 47        — 33, 47
   2012-07   V8/5.5L      On-Board Electrical System Battery                         760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
   2012-07   V8/5.5L      Secondary Bat                                             35 Ah          —                         —
   Mercedes-Benz SL600
   2011-04   V12/5.5L     AGM                                                       70 Ah          H6 (48) AGM 33, 47        — 33, 47
   2011-04   V12/5.5L     On-Board Electrical System Battery                         760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
   2009-05   V12/5.5L     Secondary Bat                                             35 Ah          —                         —
   2002-94   V12/6.0L                                                                760           —                         —
   Mercedes-Benz SL63 AMG
   2020-19   V8/5.5L                                                                 850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2020-13   V8/5.5L      Aux Bat                                                    200           —                         —
   2017      V8/5.5L                                                                 860           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2016      V8/5.5L      Starting Bat                                               520           —                         —
   2016-13   V8/5.5L                                                                 850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2015-13   V8/5.5L      Aux Bat                                                   12 Ah          —                         —
   2015-13   V8/5.5L      On-Board Electrical System Battery, Opt                   95 Ah          H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2015      V8/5.5L      On-Board Electrical System Battery                         760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
   2015      V8/5.5L      Starting Motor Battery                                     520           —                         —
   2012-09   V8/6.3L      On-Board Electrical System Battery                         760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
   2011-09   V8/6.3L      Aux Bat                                                   70 Ah          H6 (48) AGM 33, 50        — 33, 50
   2011-09   V8/6.3L      Starting Bat                                              35 Ah          —                         —
   Mercedes-Benz SL65 AMG
   2017-13   V12/6.0L                                                                850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
   2017-13   V12/6.0L     Aux Bat                                                    200           —                         —
   2016      V12/6.0L     Starting Bat                                               520           —                         —
   2015      V12/6.0L     Starting Motor Battery                                     520           —                         —
   2015-13   V12/6.0L     Aux Bat                                                   12 Ah          —                         —
   2015-13   V12/6.0L     On-Board Electrical System Battery                         760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
   2011-05   V12/6.0L     AGM                                                       70 Ah          H6 (48) AGM 33, 47        — 33, 47
   2011-05   V12/6.0L     On-Board Electrical System Battery                         760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
   Mercedes-Benz SLC300
   2018    L4/2.0L                                                                   800           —                         —
   2020-17 L4/2.0L        Aux Bat                                                    200           —                         —
   2017    L4/2.0L                                                                   760           H6 (48) AGM 33, 54        — 33, 54
   Mercedes-Benz SLC43 AMG
   2017    V6/3.0L                                                                   760           H6 (48) AGM 33, 54        — 33, 54
   2020-17 V6/3.0L        Aux Bat                                                    200           —                         —
   Mercedes-Benz SLK230
   2004-02 L4/2.3L                                                                   690           —                         —
   2001-00 L4/2.3L                                                                   760           —                         —
   1999-98 L4/2.3L                                                                   690           H6 (48)                   H6 (48) AGM
   Mercedes-Benz SLK250
   2015      L4/1.8L      Opt                                                       80 Ah          H7 (94R) AGM 33, 50, 54   — 33, 50, 54
   2015-12   L4/1.8L                                                                 760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
   2015-12   L4/1.8L      Aux Bat                                                    200           —                         —
   2014-13   L4/1.8L                                                                80 Ah          H7 (94R) AGM 33, 50, 54   — 33, 50, 54
   2012      L4/1.8L                                                                80 Ah          H7 (94R) AGM 33, 50, 56   — 33, 50, 56
   Mercedes-Benz SLK280
   2008-06 V6/3.0L                                                                   680           —                         —
   2006      V6/3.0L                                                                 760           —                         —
   See page 151 for Footnotes. Selection may vary by warehouse.

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112                                                                    Automotive/Light Truck
  YEAR      ENGINE                                          OPTIONS               ORIGINAL EQUIPMENT             GROUP SIZE                 ALTERNATE SIZE
                                                                                      CCA/RATING                  (NOTES)                      (NOTES)

Mercedes-Benz SLK300
2016    L4/2.0L                                                                          760           H6 (48) AGM 33, 54        — 33, 54
2016    L4/2.0L      Aux Bat                                                             200           —                         —
2011-09 V6/3.0L                                                                          680           —                         —
Mercedes-Benz SLK32 AMG
2004-02 V6/3.2L                                                                          690           —                         —
Mercedes-Benz SLK320
2004-01 V6/3.2L                                                                          690           —                         —
Mercedes-Benz SLK350
2016-12   V6/3.5L                                                                        760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2016-12   V6/3.5L    Aux Bat                                                             200           —                         —
2015-12   V6/3.5L    Opt                                                                80 Ah          H7 (94R) AGM 33, 50, 54   — 33, 50, 54
2015      V6/3.5L                                                                        680           —                         —
2011-05   V6/3.5L                                                                        480           H5 (47) 50, 54            H5 (47) AGM 50, 54
2011-05   V6/3.5L                                                                        680           —                         —
Mercedes-Benz SLK55 AMG
2016      V8/5.5L                                                                        680           H6 (48) AGM 33, 50        — 33, 50
2016-12   V8/5.5L    Aux Bat                                                             200           —                         —
2015-12   V8/5.5L                                                                        680           —                         —
2015-12   V8/5.5L    Opt                                                                80 Ah          H7 (94R) AGM 33, 50, 54   — 33, 50, 54
2011-05   V8/5.5L                                                                       74 Ah          —                         —
2006      V8/5.5L                                                                        760           —                         —
2006      V8/5.5L    Opt                                                                 760           —                         —
2005      V8/5.5L                                                                        825           —                         —
Mercedes-Benz SLR McLaren
2009-06 V8/5.5L      On-Board Electrical System Battery                                  760           —                         —
2009-05 V8/5.5L      Starting Motor Battery                                              520           —                         —
2005    V8/5.5L      On-Board Electrical System Battery                                  825           —                         —
Mercedes-Benz SLS AMG
2015    V8/6.3L                                                                          760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2014-11 V8/6.3L                                                                         70 Ah          H6 (48) AGM 33, 50, 54    — 33, 50, 54
Mercedes-Benz Sprinter 2500
2017      L4/2.1L    Dsl, Opt                                                            850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2017      V6/3.0L    Dsl, Opt                                                            850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2017-14   L4/2.1L    Aux, Dsl                                                            200           —                         —
2017-14   L4/2.1L    Dsl                                                                 680           —                         —
2017-14   L4/2.1L    Dsl, Opt                                                            760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2017-14   L4/2.1L    Dsl, Opt                                                            760           —                         —
2017-10   V6/3.0L    Aux, Dsl                                                            200           —                         —
2017-10   V6/3.0L    Dsl                                                                 680           —                         —
2017-10   V6/3.0L    Dsl, Opt                                                            760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2017-10   V6/3.0L    Dsl, Opt                                                            760           —                         —
2016      V6/3.0L                                                                        850           —                         —
2016-14   L4/2.1L                                                                        850           —                         —
2015-10   V6/3.0L    Dsl                                                                 760           —                         —
Mercedes-Benz Sprinter 3500
2017      L4/2.1L    Dsl, Opt                                                            850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2017      V6/3.0L    Dsl, Opt                                                            850           H8 (49) AGM 33, 50, 54    — 33, 50, 54
2017-14   L4/2.1L    Aux, Dsl                                                            200           —                         —
2017-14   L4/2.1L    Dsl                                                                 680           —                         —
2017-14   L4/2.1L    Dsl, Opt                                                            760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2017-14   L4/2.1L    Dsl, Opt                                                            760           —                         —
2017-10   V6/3.0L    Aux, Dsl                                                            200           —                         —
2017-10   V6/3.0L    Dsl                                                                 680           —                         —
2017-10   V6/3.0L    Dsl, Opt                                                            760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2017-10   V6/3.0L    Dsl, Opt                                                            760           —                         —
2016      V6/3.0L                                                                        850           —                         —
2016-14   L4/2.1L                                                                        850           —                         —
2015      V6/3.0L    Dsl                                                                 850           —                         —
2014-10   V6/3.0L    Dsl                                                                 760           —                         —
Mercury Capri
1994    L4/1.6L                                                                          460           35                        35 AGM
1993-91 L4/1.6L                                                                          390           35                        35 AGM
Mercury Colony Park
1991      V8/5.0L                                                                        650           65                        65 AGM
1990      V8/5.0L                                                                        540           58                        —
Mercury Comet
1969      L6/4.1L                                                                        290           26R                       —
1969      L6/4.1L    Opt                                                                 350           24F                       24F AGM
1969      V8/5.8L                                                                        290           26R                       —
                                                                                                See page 151 for Footnotes. Selection may vary by warehouse.

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                                                                              Mercury
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   Automotive/Light Truck                                                                                                      113
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT         GROUP SIZE            ALTERNATE SIZE
                                                                                CCA/RATING              (NOTES)                 (NOTES)

   Mercury Comet (continued)
   1969      V8/5.8L      AT, Opt                                                  350           24F                24F AGM
   1969      V8/5.8L      Opt                                                      415           27F                —
   1969      V8/5.8L      Opt                                                      415           27F                —
   1969      V8/6.4L      AT, Opt                                                  350           24F                24F AGM
   1969      V8/6.4L      Opt                                                      415           27F                —
   1969      V8/6.4L      Opt                                                      415           27F                —
   1969-68   V8/5.0L                                                               290           —                  —
   1969-68   V8/5.0L                                                               290           26R                —
   1969-68   V8/5.0L      Opt                                                      350           24F                24F AGM
   1969-68   V8/6.4L                                                               290           26R                —
   1968      L6/3.3L      Opt                                                      350           24F                24F AGM
   1968      V8/6.4L      Opt                                                      350           24F                24F AGM
   1968-64   V8/4.7L                                                               250           26R                —
   1967-66   V8/6.4L                                                               250           26R                —
   1967-66   V8/6.4L      Opt                                                      N/A           24F                24F AGM
   1967-65   V8/4.7L      Opt                                                      N/A           24F                24F AGM
   Mercury Cougar
   2002-99   L4/2.0L                                                               590           40R                —
   2002-99   V6/2.5L                                                               590           40R                —
   1997      V6/3.8L                                                               540           59                 —
   1997-94   V6/3.8L      Can & Opt                                                650           65                 65 AGM
   1997-94   V8/4.6L                                                               650           65                 65 AGM
   1996      V6/3.8L      Early                                                    540           58                 —
   1996      V6/3.8L      US, Late                                                 540           59                 —
   1995-94   V6/3.8L                                                               540           58                 —
   1993      V6/3.8L      Opt                                                      650           65                 65 AGM
   1993      V6/3.8L      US                                                       540           58                 —
   1993-91   V8/5.0L                                                               650           65                 65 AGM
   1993-90   V6/3.8L      Can or Cold Climate Pkg                                  650           65                 65 AGM
   1992-90   V6/3.8L                                                               460           58                 —
   1992-90   V6/3.8L      Opt                                                      540           58                 —
   1990      V6/3.8L      S/C                                                      650           65                 65 AGM
   1969      V8/5.0L                                                               330           —                  —
   1968      V8/5.0L                                                               325           24F                24F AGM
   1968-67   V8/4.7L                                                               325           24F                24F AGM
   Mercury Cyclone
   1969-68   V8/6.4L                                                               415           27F                —
   1968      V8/7.0L                                                               435           27F                —
   1967-65   V8/4.7L                                                               N/A           24F                24F AGM
   1967      V8/6.4L                                                               N/A           27F                —
   1966      V8/6.4L      AT                                                       N/A           24F                24F AGM
   1965      V8/7.0L                                                               N/A           27F                —
   1964      L6/3.3L                                                               N/A           —                  —
   1964      L6/3.3L      Opt                                                      N/A           27F                —
   1964      V8/4.3L                                                               N/A           —                  —
   1964      V8/4.3L      Opt                                                      N/A           27F                —
   1964      V8/4.7L      Opt                                                      N/A           27F                —
   Mercury Grand Marquis
   2011-09   V8/4.6L      HD or PPkg                                               750           65                 65 AGM
   2011-98   V8/4.6L                                                               650           65                 65 AGM
   2006-97   V8/4.6L      Can & Opt                                                750           65                 65 AGM
   1997      V8/4.6L      US                                                       540           59                 —
   1996      V8/4.6L      Late                                                     540           59                 —
   1996-95   V8/4.6L      PPkg                                                     850           65                 —
   1996-93   V8/4.6L      US, Opt or Can                                           750           65                 65 AGM
   1996      V8/4.6L      US, Early                                                540           58                 —
   1995-93   V8/4.6L      US                                                       540           58                 —
   1993-92   V8/4.6L      w/HWS                                                    850           65                 —
   1992      V8/4.6L      Ex HWS                                                   650           65                 65 AGM
   1991      V8/5.0L                                                               650           65                 65 AGM
   1991-90   V8/5.0L      w/HWS                                                    850           65                 —
   1990      V8/5.0L                                                               540           58                 —
   1990      V8/5.0L      Opt                                                      650           65                 65 AGM
   Mercury Marauder
   2004-03 V8/4.6L                                                                 650           65                 65 AGM
   1967    V8/6.4L        AT                                                       N/A           24F                24F AGM
   Mercury Mariner
   2011-10   V6/3.0L                                                               590           96R                —
   2011-09   L4/2.5L      Hybrid                                                   500           96R                —
   2009-05   V6/3.0L                                                               590           40R                —
   2009      L4/2.5L                                                               590           40R                —
   See page 151 for Footnotes. Selection may vary by warehouse.

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114                                                Automotive/Light Truck
  YEAR      ENGINE                       OPTIONS         ORIGINAL EQUIPMENT         GROUP SIZE                  ALTERNATE SIZE
                                                             CCA/RATING              (NOTES)                       (NOTES)

Mercury Mariner (continued)
2008-06 L4/2.3L      Hybrid                                     500           96R                      —
2008-05 L4/2.3L                                                 590           40R                      —
Mercury Milan
2011-10   L4/2.5L                                               500           96R                      —
2011-10   L4/2.5L    Hybrid                                     390           —                        —
2011-10   V6/3.0L                                               500           96R                      —
2009-08   L4/2.3L                                               500           96R                      —
2009      V6/3.0L                                               590           96R                      —
2008      V6/3.0L                                               500           96R                      —
2007-06   L4/2.3L                                               590           40R                      —
2007-06   V6/3.0L                                               590           40R                      —
Mercury Montego
2007    V6/3.0L                                                 540           36R                      —
2006-05 V6/3.0L                                                 600           36R                      —
Mercury Monterey
2007    V6/4.2L                                                 750           65                       65 AGM
2006-04 V6/4.2L                                                 540           59                       —
2006-04 V6/4.2L      Opt                                        750           65                       65 AGM
Mercury Mountaineer
2010-02 V8/4.6L                                                 650           65                       65 AGM
2010-98 V6/4.0L                                                 650           65                       65 AGM
2001-97 V8/5.0L                                                 650           65                       65 AGM
Mercury Mystique
2000-98   L4/2.0L                                               590           40R                      —
2000-98   V6/2.5L                                               590           40R                      —
1997-95   L4/2.0L                                               590           96R                      —
1997-95   L4/2.0L    Opt                                        650           —                        —
1997-95   V6/2.5L                                               650           —                        —
Mercury Sable
2009-08   V6/3.5L                                               540           59                      —
2005      V6/3.0L    HD & Can, DOHC                             600           36R                     —
2005      V6/3.0L    OHV                                        600           36R                     —
2004      V6/3.0L                                               540           36R                     —
2004      V6/3.0L    US                                         540           36R                     —
2004      V6/3.0L    US, Opt or Can                             600           36R                     —
2003-02   V6/3.0L    HD & Can, DOHC                             600           36R                     —
2003-02   V6/3.0L    OHV                                        600           36R                     —
2001      V6/3.0L                                               540           36R                     —
2001      V6/3.0L    US                                         540           36R                     —
2001      V6/3.0L    US, Opt or Can                             600           36R                     —
2000      V6/3.0L    HD & Can, DOHC                             600           36R                     —
2000-96   V6/3.0L                                               540           —                       —
2000-96   V6/3.0L    SOHC                                       540           —                       —
1999-96   V6/3.0L    HD & Can, DOHC                             650           36R                     —
1995-93   V6/3.0L    Opt                                        650           65                      65 AGM
1995-90   V6/3.0L                                               540           58                      —
1995-90   V6/3.8L                                               650           65                      65 AGM
1995-90   V6/3.8L    HD, w/HWS or PPkg                          850           65                      —
1992-91   V6/3.0L    Ex HWS or PPKG                             540           58                      —
1992-91   V6/3.0L    HD, w/HWS or PPkg                          850           65                      —
1990      V6/3.0L    Opt                                        850           65                      —
Mercury Tracer, Topaz
1999-98   L4/2.0L                                               500        58                          —
1997      L4/2.0L                                               540        58                          —
1996-95   L4/1.8L                                               540        35                          35 AGM
1996-94   L4/1.9L                                               460        35                          35 AGM
1994-92   V6/3.0L                                               460        58                          —
1994-92   V6/3.0L    Opt                                        540        58                          —
1994-91   L4/1.8L                                               460        35                          35 AGM
1994-91   L4/2.3L                                               540        58                          —
1993-92   L4/1.9L                                               390        35                          35 AGM
1993-92   L4/1.9L    Opt                                        460        35                          35 AGM
1993-92   L4/2.3L    AT & Opt                                   540        58                          —
1993      L4/1.9L    MT                                         460        58                          —
1992-90   L4/2.3L    MT                                         460        58                          —
1991      L4/1.9L                                               460        35                          35 AGM
1990      L4/1.6L                                               390        35                          35 AGM
1990      L4/2.3L    AT                                         540        58                          —
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   Automotive/Light Truck                                                                                                                          115
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT               GROUP SIZE                        ALTERNATE SIZE
                                                                                CCA/RATING                    (NOTES)                             (NOTES)

   Mercury Villager
   2002-99   V6/3.3L                                                               450           35                                35 AGM
   2002-99   V6/3.3L      Can & Opt                                                525           24F                               24F AGM
   1998-94   V6/3.0L      Can & Opt                                                525           24F                               24F AGM
   1998-94   V6/3.0L      US                                                       450           35                                35 AGM
   1993      V6/3.0L      Can & Opt                                                585           24F                               24F AGM
   1993      V6/3.0L      US                                                       350           35                                35 AGM
   Mini Cooper
   2017-15   L3/1.5L                                                               760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2017-15   L3/1.5L      Opt                                                      800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2017-15   L4/2.0L                                                               760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2017-15   L4/2.0L      Opt                                                      800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2015      L4/1.6L                                                               480           —                                 —
   2015-14   L4/2.0L                                                               800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2015-13   L4/1.6L      Opt                                                      570           H6 (48) 18, 50, 54, 56            H6 (48) AGM 18, 50, 54, 56
   2015-07   L4/1.6L                                                               480           H5 (47) 50, 54, 55, 56            H5 (47) AGM 50, 54, 55, 56
   2015-07   L4/1.6L      Opt                                                      680           —                                 —
   2015-07   L4/1.6L      Opt                                                      570           H6 (48) 50, 54, 55, 56            H6 (48) AGM 50, 54, 55, 56
   2014      L3/1.5L                                                               800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2013      L4/1.6L      w/o AGM                                                  470           H5 (47)                           H5 (47) AGM
   2012-10   L4/1.6L                                                               570           H6 (48) 50, 54, 55, 56            H6 (48) AGM 50, 54, 55, 56
   2011-10   L4/1.6L      Starting Bat                                             570           H6 (48) 50, 54, 55, 56            H6 (48) AGM 50, 54, 55, 56
   2010      L4/1.6L      Opt, AGM                                                 480           H5 (47) AGM 9, 33, 50, 54         — 9, 33, 50, 54
   2009-02   L4/1.6L      w/o AGM                                                  480           H5 (47) 50                        H5 (47) AGM 50
   2009      L4/1.6L      Turbo                                                    480           H5 (47) 50                        H5 (47) AGM 50
   2008-02   L4/1.6L      Turbo or SC                                              480           H5 (47) 50, 54, 55, 56            H5 (47) AGM 50, 54, 55, 56
   2008-02   L4/1.6L      w/o Turbo or S/C                                         480           H5 (47) 50, 54, 55, 56            H5 (47) AGM 50, 54, 55, 56
   2005-04   L4/1.6L      Naturally Aspirated                                      480           H5 (47) 50                        H5 (47) AGM 50
   Mini Cooper Clubman
   2017    L4/2.0L                                                                 800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2017-16 L3/1.5L                                                                 760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2016    L4/2.0L                                                                 760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   Mini Cooper Countryman
   2017      L3/1.5L                                                               760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2017      L3/1.5L      Opt                                                      800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2017      L4/2.0L                                                               760           H6 (48) AGM 33, 50, 54, 55, 56    — 33, 50, 54, 55, 56
   2017      L4/2.0L      Opt                                                      800           H7 (94R) AGM 33, 50, 54, 55, 56   — 33, 50, 54, 55, 56
   2016-11   L4/1.6L                                                               480           H5 (47) 50, 54, 55, 56            H5 (47) AGM 50, 54, 55, 56
   2016-11   L4/1.6L      Opt                                                      680           —                                 —
   2016-11   L4/1.6L      Opt                                                      570           H6 (48) 50, 54, 55, 56            H6 (48) AGM 50, 54, 55, 56
   2015      L4/1.6L                                                               480           —                                 —
   2015-13   L4/1.6L      Opt                                                      570           H6 (48) 18, 50, 54, 56            H6 (48) AGM 18, 50, 54, 56
   2013      L4/1.6L      w/o AGM                                                  470           H5 (47)                           H5 (47) AGM
   2012-11   L4/1.6L                                                               570           H6 (48) 50, 54, 55, 56            H6 (48) AGM 50, 54, 55, 56
   Mini Cooper Paceman
   2016-13   L4/1.6L                                                               480           H5 (47) 50, 54, 55, 56            H5 (47) AGM 50, 54, 55, 56
   2016-13   L4/1.6L      Opt                                                      680           —                                 —
   2016-13   L4/1.6L      Opt                                                      570           H6 (48) 50, 54, 55, 56            H6 (48) AGM 50, 54, 55, 56
   2015      L4/1.6L                                                               480           —                                 —
   2015      L4/1.6L      Opt                                                      570           H6 (48) 18, 54, 55, 56            H6 (48) AGM 18, 54, 55, 56
   2014-13   L4/1.6L      Opt                                                      570           H6 (48) 18, 50, 54, 56            H6 (48) AGM 18, 50, 54, 56
   2013      L4/1.6L      w/o AGM                                                  470           H5 (47)                           H5 (47) AGM
   Mitsubishi RVR
   2019      L4/2.0L                                                               520           35                                35 AGM
   2019      L4/2.4L                                                               520           35                                35 AGM
   Mitsubishi 3000GT
   1999-96 V6/3.0L                                                                 520           25                                —
   1995-94 V6/3.0L                                                                 430           24                                —
   1993-91 V6/3.0L                                                                 490           24                                —
   Mitsubishi Diamante
   2004      V6/3.5L                                                               600           24                                —
   2003-99   V6/3.5L                                                               520           86                                —
   1998-97   V6/3.5L                                                               490           24                                —
   1996-92   V6/3.0L                                                               490           24                                —
   Mitsubishi Eclipse
   2012-06 V6/3.8L                                                                 550           24                                —
   2012-00 L4/2.4L                                                                 525           86                                —
   2005-00 V6/3.0L                                                                 525           86                                —
   1999      L4/2.0L                                                               525           86                                —
   1999-96 L4/2.4L                                                                 430           86                                —
   1999-95 L4/2.0L       MT                                                        430           86                                —
   See page 151 for Footnotes. Selection may vary by warehouse.

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116                                                   Automotive/Light Truck
  YEAR       ENGINE                        OPTIONS               ORIGINAL EQUIPMENT         GROUP SIZE                  ALTERNATE SIZE
                                                                     CCA/RATING              (NOTES)                       (NOTES)

Mitsubishi Eclipse (continued)
1999-95   L4/2.0L     Turbo, AT                                         525           86                       —
1998-95   L4/2.0L     AT                                                525           86                       —
1994-90   L4/1.8L                                                       430           86                       —
1994-90   L4/2.0L                                                       430           86                       —
Mitsubishi Eclipse Cross
2019-18 L4/1.5L                                                         520           35                       35 AGM
Mitsubishi Endeavor
2011-04 V6/3.8L                                                         550           24                       —
Mitsubishi Expo
1995-92 L4/2.4L                                                         490           24                       —
Mitsubishi Expo LRV
1994-93 L4/2.4L                                                         490           24                       —
1994-92 L4/1.8L                                                         360           25                       —
Mitsubishi Galant
2012-99   L4/2.4L                                                       525           86                       —
2009-04   V6/3.8L                                                       550           24                       —
2003-99   V6/3.0L                                                       525           86                       —
1998-94   L4/2.4L                                                       490           —                        —
1993-90   L4/2.0L                                                       435           51                       —
Mitsubishi i-MiEV
2017-12               Electric                                          370           —                        —
Mitsubishi Lancer
2017-04   L4/2.4L                                                       520           35                       35 AGM
2017-03   L4/2.0L                                                       520           35                       35 AGM
2015      L4/2.0L     Evolution                                         700           —                        —
2015-13   L4/2.0L     Evolution                                         700           —                        —
2015-11   L4/2.0L     Ex Evolution                                      520           35                       35 AGM
2013-08   L4/2.0L     Evolution                                         700           —                        —
2012-11   L4/2.4L     Ex Evolution                                      520           35                       35 AGM
2009      L4/2.4L     GTS                                               520           35                       35 AGM
2009-08   L4/2.0L     ES, DE                                            520           35                       35 AGM
2007      L4/2.0L                                                       550           35                       35 AGM
2002      L4/2.0L                                                       435           35                       35 AGM
Mitsubishi Mighty Max
1996-95   L4/2.4L                                                       435           51                      —
1994-91   L4/2.4L     RWD, Can                                          490           24                      —
1994-91   L4/2.4L     RWD, US, 4WD All                                  435           51                      —
1994-90   V6/3.0L                                                       490           24                      —
1992-91   L4/2.4L     Opt                                               580           24                      —
1992-91   V6/3.0L     Opt                                               580           24                      —
1990      L4/2.4L     Can                                               580           24                      —
1990      L4/2.4L     US                                                435           51                      —
Mitsubishi Mirage
2019-14   L3/1.2L                                                       355           35                       35 AGM
2015-14   L3/1.2L                                                       360           35                       35 AGM
2002-98   L4/1.5L                                                       435           35                       35 AGM
2002-98   L4/1.8L                                                       435           35                       35 AGM
1997      L4/1.5L                                                       435           51R                      —
1997      L4/1.8L                                                       435           51R                      —
1996-93   L4/1.5L                                                       430           51                       —
1996-93   L4/1.8L                                                       430           51                       —
1992-91   L4/1.6L                                                       355           25                       —
1992-90   L4/1.5L                                                       355           25                       —
Mitsubishi Mirage G4
2019-17 L3/1.2L                                                         435           35                       35 AGM
Mitsubishi Montero
2006-03   V6/3.8L                                                       585           24F                      24F AGM
2002-01   V6/3.5L                                                       585           24F                      24F AGM
2002      V6/3.5L     Opt                                               675           27F                      —
2000-94   V6/3.5L                                                       490           24                       —
1996-90   V6/3.0L                                                       490           24                       —
Mitsubishi Montero Sport
2004-03   V6/3.5L                                                       585        24                          —
2003-99   V6/3.5L     Opt                                               585        24                          —
2003-97   V6/3.0L                                                       520        25                          —
2003-97   V6/3.0L     Opt                                               585        24                          —
2001-99   V6/3.5L                                                       520        25                          —
1999-97   L4/2.4L                                                       520        25                          —
1999-97   L4/2.4L     Opt                                               585        24                          —
                                                                              See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                      117
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT         GROUP SIZE            ALTERNATE SIZE
                                                                                CCA/RATING              (NOTES)                 (NOTES)

   Mitsubishi Outlander
   2019-07   V6/3.0L                                                               585           24F                24F AGM
   2019-03   L4/2.4L                                                               520           35                 35 AGM
   2013-12   V6/3.0L                                                               520           35                 35 AGM
   2006      L4/2.4L      Opt                                                      620           24F                24F AGM
   2005-04   L4/2.4L                                                               620           24F                24F AGM
   Mitsubishi Outlander PHEV
   2019      L4/2.0L                                                                             —                  —
   Mitsubishi Outlander Sport
   2019-15   L4/2.4L                                                               520           35                 35 AGM
   2019-11   L4/2.0L                                                               520           35                 35 AGM
   2016-15   L4/2.0L                                                               530           35                 35 AGM
   2016-15   L4/2.4L                                                               530           35                 35 AGM
   Mitsubishi Precis
   1994-90 L4/1.5L                                                                 420           25                 —
   Mitsubishi Raider
   2009-06   V6/3.7L                                                               600           65                 65 AGM
   2007-06   V8/4.7L                                                               600           65                 65 AGM
   2006      V6/3.7L      Opt                                                      650           65                 65 AGM
   2006      V8/4.7L      Opt                                                      650           65                 65 AGM
   Mitsubishi RVR
   2017-15 L4/2.4L                                                                 520           35                 35 AGM
   2017-11 L4/2.0L                                                                 520           35                 35 AGM
   Mitsubishi Sigma
   1990      V6/3.0L                                                               490           24                 —
   Mitsubishi Van
   1990      L4/2.4L                                                               435           51                 —
   Mobility Ventures MV-1
   2017-15 V6/3.7L                                                                 750           65                 65 AGM
   2015    V8/4.6L                                                                 760           65                 65 AGM
   2014    V8/4.6L                                                                 750           65                 65 AGM
   Nissan 200SX
   1998-95   L4/1.6L      Can                                                      550           24F                24F AGM
   1998-95   L4/1.6L      US                                                       490           35                 35 AGM
   1998-95   L4/2.0L      Can & Opt                                                550           24F                24F AGM
   1998-95   L4/2.0L      US                                                       490           35                 35 AGM
   Nissan 240SX
   1998-90 L4/2.4L        Can & Opt                                                415           24                 —
   1998-90 L4/2.4L        US                                                       360           25                 —
   Nissan 300ZX
   1996-93   V6/3.0L      AT                                                       575           24F                24F AGM
   1996-93   V6/3.0L      Conv                                                     550           35                 35 AGM
   1996-93   V6/3.0L      Ex Conv w/MT                                             415           24F                24F AGM
   1996      V6/3.0L      Ex Conv                                                  575           24F                24F AGM
   1992-90   V6/3.0L      AT                                                       585           24F                24F AGM
   1992-90   V6/3.0L      MT                                                       415           24F                24F AGM
   Nissan 350Z
   2009-03 V6/3.5L                                                                 585           35                 35 AGM
   Nissan 370Z
   2020-09 V6/3.7L                                                                 585           35                 35 AGM
   Nissan Altima
   2020-19   L4/2.5L                                                               510           —                  —
   2020-19   L4/2.0L                                                               510           —                  —
   2018-15   L4/2.5L                                                               550           35                 35 AGM
   2018-07   V6/3.5L                                                               550           35                 35 AGM
   2014-07   L4/2.5L      Ex Hybrid                                                550           35                 35 AGM
   2011-07   L4/2.5L      Hybrid                                                   700           —                  —
   2006-02   L4/2.5L                                                               550           24F                24F AGM
   2006-02   V6/3.5L                                                               550           24F                24F AGM
   2001-96   L4/2.4L                                                               550           24F                24F AGM
   1995-93   L4/2.4L      Can & Opt                                                585           24F                24F AGM
   1995-93   L4/2.4L      US                                                       350           35                 35 AGM
   Nissan Armada
   2020-17 V8/5.6L                                                                 780           27                 —
   2015-05 V8/5.6L        TTPkg                                                    710           27F                —
   2015-05 V8/5.6L        w/o TTPkg                                                650           24F                24F AGM
   Nissan Axxess
   1992-90 L4/2.4L       Can                                                       415           24F                24F AGM
   1990      L4/2.4L     US                                                        350           35                 35 AGM
   See page 151 for Footnotes. Selection may vary by warehouse.

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118                                                  Automotive/Light Truck
  YEAR      ENGINE                         OPTIONS        ORIGINAL EQUIPMENT         GROUP SIZE                  ALTERNATE SIZE
                                                              CCA/RATING              (NOTES)                       (NOTES)

Nissan Cube
2014-09 L4/1.8L                                                  405           35                       35 AGM
2014-09 L4/1.8L                                                  410           35                       35 AGM
Nissan D21
1994      L4/2.4L                                                530           24                      —
1994      V6/3.0L                                                530           24                      —
1994-92   L4/2.4L    US                                          360           25                      —
1994-92   V6/3.0L    US                                          360           25                      —
1993-92   L4/2.4L    Can                                         450           24                      —
1993-92   V6/3.0L    Can                                         450           27                      —
1991-90   L4/2.4L    Can & Opt                                   415           24                      —
1991-90   L4/2.4L    US                                          355           25                      —
1991-90   V6/3.0L    Can & Opt                                   450           27                      —
1991-90   V6/3.0L    US                                          355           25                      —
Nissan Frontier
2019      V6/4.0L                                                550           —                       H5 (47) AGM
2019      L4/2.5L                                                550           —                       H5 (47) AGM
2018-11   L4/2.5L                                                550           35                      35 AGM
2018-11   V6/4.0L                                                550           35                      35 AGM
2010      L4/2.5L                                                575           24F                     24F AGM
2010      V6/4.0L                                                575           24F                     24F AGM
2009-05   L4/2.5L                                                550           24F                     24F AGM
2009-05   V6/4.0L                                                550           24F                     24F AGM
2004      V6/3.3L                                                N/A           24                      —
2004-03   L4/2.4L                                                490           25                      —
2004-03   L4/2.4L    Opt                                         575           24                      —
2004-03   V6/3.3L                                                575           24                      —
2002-01   L4/2.4L    Can & Opt                                   550           24                      —
2002-99   V6/3.3L    Can                                         550           24                      —
2002-99   V6/3.3L    US                                          490           25                      —
2002-98   L4/2.4L    Can                                         550           24                      —
2002-98   L4/2.4L    US                                          490           25                      —
Nissan GT-R
2020-19 V6/3.8L                                                  430           51R                      —
2018-09 V6/3.8L                                                  410           51R                      —
Nissan Juke
2017-11 L4/1.6L                                                  570           35                       35 AGM
2015-11 L4/1.6L                                                  550           35                       35 AGM
Nissan Kicks
2019      L4/1.6L                                                510           —                        —
Nissan Leaf
2019-13              Electric                                    410           51                       —
Nissan Maxima
2020-19   V6/3.5L                                                550           —                       H5 (47) AGM
2018-16   V6/3.5L                                                550           35                      35 AGM
2014-09   V6/3.5L                                                550           35                      35 AGM
2008-04   V6/3.5L                                                550           24F                     24F AGM
2003      V6/3.5L                                                445           24F                     24F AGM
2002      V6/3.5L                                                585           24F                     24F AGM
2001-00   V6/3.0L                                                585           24F                     24F AGM
1999-95   V6/3.0L    Calif & Can                                 585           24F                     24F AGM
1999-95   V6/3.0L    US, Ex Calif                                360           35                      35 AGM
1994-90   V6/3.0L                                                350           35                      35 AGM
1994-90   V6/3.0L    Can                                         585           24F                     24F AGM
1994-90   V6/3.0L    Can & Opt                                   625           27F                     —
Nissan Micra
2019-15 L4/1.6L      Can                                         470           —                        —
Nissan Murano
2020-19   V6/3.5L                                                550           —                        H5 (47) AGM
2018-16   V6/3.5L                                                550           35                       35 AGM
2016      L4/2.5L    Hybrid                                      410           51R                      —
2016-09   V6/3.5L                                                585           35                       35 AGM
2007      V6/3.5L    Ex Intelligent Key                          575           24F                      24F AGM
2007      V6/3.5L    Intelligent Key                             700           24F                      24F AGM
2006-04   V6/3.5L                                                582           35                       35 AGM
2006-04   V6/3.5L    w/Intelligent Key                           700           24F                      24F AGM
2006-04   V6/3.5L    w/o Intelligent Key                         575           24F                      24F AGM
2003      V6/3.5L                                                490           35                       35 AGM
Nissan NV1500
2019-14 V6/4.0L                                                  650           24F                      24F AGM
2013-12 V6/4.0L      w/o TTPkg                                   650           24F                      24F AGM
2013-12 V6/4.0L      w/TTPkg                                     710           27F                      —
                                                                       See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                       119
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT          GROUP SIZE            ALTERNATE SIZE
                                                                                CCA/RATING               (NOTES)                 (NOTES)

   Nissan NV200
   2020-13 L4/2.0L                                                                 470           121R                —
   2015-13 L4/2.0L                                                                 470           121R                —
   Nissan NV2500
   2020-17   V8/5.6L                                                               710           27F                 —
   2020-17   V6/4.0L                                                               710           27F                 —
   2016      V6/4.0L                                                               650           24F                 24F AGM
   2016      V8/5.6L                                                               650           24F                 24F AGM
   2016-13   V6/4.0L      TTPkg                                                    710           27F                 —
   2016-13   V8/5.6L      TTPkg                                                    710           27F                 —
   2016-12   V6/4.0L      w/o TTPkg                                                650           24F                 24F AGM
   2016-12   V6/4.0L      w/TTPkg                                                  710           27F                 —
   2016-12   V8/5.6L      w/o TTPkg                                                650           24F                 24F AGM
   2016-12   V8/5.6L      w/TTPkg                                                  710           27F                 —
   Nissan NV3500
   2020-17   V8/5.6L                                                               710           27F                 —
   2020-17   V6/4.0L                                                               710           27F                 —
   2016      V6/4.0L                                                               650           24F                 24F AGM
   2016      V6/4.0L      TTPkg                                                    710           27F                 —
   2016      V8/5.6L                                                               650           24F                 24F AGM
   2016      V8/5.6L      TTPkg                                                    710           27F                 —
   2016-12   V6/4.0L      w/o TTPkg                                                650           24F                 24F AGM
   2016-12   V6/4.0L      w/TTPkg                                                  710           27F                 —
   2016-12   V8/5.6L      w/o TTPkg                                                650           24F                 24F AGM
   2016-12   V8/5.6L      w/TTPkg                                                  710           27F                 —
   Nissan NX, Pulsar NX
   1993-91   L4/1.6L      Can                                                      415           24F                 24F AGM
   1993-91   L4/2.0L      Can & Opt                                                585           24F                 24F AGM
   1993-91   L4/2.0L      US                                                       350           35                  35 AGM
   1993-83   L4/1.6L      US                                                       350           35                  35 AGM
   1990      L4/1.6L      Can & Opt                                                415           24F                 24F AGM
   Nissan 3DWKğQGHU
   2020-19   V6/3.5L                                                               550           —                   H5 (47) AGM
   2017-13   V6/3.5L                                                               550           35                  35 AGM
   2012-10   V6/4.0L                                                               550           35                  35 AGM
   2012-08   V8/5.6L                                                               650           24F                 24F AGM
   2009-07   V6/4.0L                                                               550           24F                 24F AGM
   2006-05   V6/4.0L                                                               700           24F                 24F AGM
   2004-03   V6/3.5L                                                               455           24                  —
   2002-01   V6/3.5L                                                               360           25                  —
   2002-01   V6/3.5L      Can & Opt                                                450           27                  —
   2002-01   V6/3.5L      Opt                                                      450           27                  —
   2002-01   V6/3.5L      US                                                       360           25                  —
   2000-96   V6/3.3L                                                               360           25                  —
   2000-96   V6/3.3L      Can & Opt                                                450           27                  —
   1995-92   V6/3.0L      Can                                                      450           27                  —
   1995-92   V6/3.0L      US                                                       360           25                  —
   1991-90   V6/3.0L      Can & Opt                                                450           27                  —
   1991-90   V6/3.0L      US                                                       355           25                  —
   Nissan 3DWKğQGHU$UPDGD
   2004      V8/5.6L                                                               700           24F                 24F AGM
   2004      V8/5.6L      Opt                                                      710           27F                 —
   Nissan Pickup
   1997-95   L4/2.4L      Can                                                      525           24                  —
   1997-95   L4/2.4L      US                                                       360           25                  —
   1995      V6/3.0L      Can                                                      525           24                  —
   1995      V6/3.0L      US                                                       360           25                  —
   Nissan Qashqai
   2019      L4/2.0L      Canada                                                   510           —                   —
   Nissan Quest
   2017-11   V6/3.5L                                                               550           24F                 24F AGM
   2009-04   V6/3.5L                                                               550           24F                 24F AGM
   2002-99   V6/3.3L                                                               450           35                  35 AGM
   2002-99   V6/3.3L      Can & Opt                                                525           24F                 24F AGM
   1998-93   V6/3.0L      Can & Opt                                                525           24F                 24F AGM
   1998-93   V6/3.0L      US                                                       450           35                  35 AGM
   Nissan Rogue
   2020-19   L4/2.5L                                                               585           35                  35 AGM
   2019      L4/2.0L      Hybrid                                                   770           —                   —
   2018-17   L4/2.5L                                                               550           35                  35 AGM
   2016-08   L4/2.5L                                                               585           35                  35 AGM
   See page 151 for Footnotes. Selection may vary by warehouse.

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120                                                       Automotive/Light Truck
  YEAR       ENGINE                             OPTIONS        ORIGINAL EQUIPMENT             GROUP SIZE              ALTERNATE SIZE
                                                                   CCA/RATING                  (NOTES)                   (NOTES)

Nissan Rogue Select
2015-14 L4/2.5L                                                       585           35                       35 AGM
Nissan Rogue Sport
2020-19 L4/2.0L                                                       510           —                        —
Nissan Sentra
2019      L4/1.8L                                                     550           35                      35 AGM
2019      L4/1.6L                                                     550           35                      35 AGM
2017-13   L4/1.8L                                                     470           35                      35 AGM
2012-08   L4/2.5L                                                     550           40R                     —
2012-07   L4/2.0L                                                     470           35                      35 AGM
2012-07   L4/2.5L     SE-R                                            590           40R                     —
2008-06   L4/2.5L                                                     550           35                      35 AGM
2006      L4/1.8L                                                     550           35                      35 AGM
2005-03   L4/2.5L                                                     355           35                      35 AGM
2005-00   L4/1.8L                                                     355           35                      35 AGM
2002      L4/2.5L                                                     490           35                      35 AGM
2001      L4/2.0L                                                     490           35                      35 AGM
2000-99   L4/2.0L                                                     490           35                      35 AGM
1999      L4/1.6L                                                     490           35                      35 AGM
1998-95   L4/1.6L     Can                                             550           24F                     24F AGM
1998-95   L4/1.6L     US                                              490           35                      35 AGM
1998      L4/2.0L     Can                                             550           24F                     24F AGM
1998      L4/2.0L     US                                              490           35                      35 AGM
1994-91   L4/2.0L     Can & Opt                                       585           24F                     24F AGM
1994-91   L4/2.0L     US                                              350           35                      35 AGM
1994-90   L4/1.6L     Can & Opt                                       415           24F                     24F AGM
1994-90   L4/1.6L     US                                              350           35                      35 AGM
Nissan Stanza
1992-90 L4/2.4L                                                       350           35                      35 AGM
1992-90 L4/2.4L       Can & Opt                                       415           24F                     24F AGM
Nissan Titan
2019-17   V8/5.6L                                                     720           —                        —
2015-14   V8/5.6L     w/TTPkg                                         710           27F                      —
2015-10   V8/5.6L     w/o TTPkg                                       650           24F                      24F AGM
2015-06   V8/5.6L     TTPkg                                           710           27F                      —
2013-04   V8/5.6L                                                     650           24F                      24F AGM
2008      V8/5.6L     Ex Flex Fuel & Ex TTPkg                         650           24F                      24F AGM
2008      V8/5.6L     Flex                                            710           27F                      —
2008      V8/5.6L     Flex Fuel or TTPkg                              710           27F                      —
2008      V8/5.6L     Gas                                             650           24F                      24F AGM
2006      V8/5.6L     TTPkg or HD                                     710           27F                      —
2006      V8/5.6L     w/o TTPkg                                       650           24F                      24F AGM
Nissan Titan XD
2019    V8/5.6L                                                       650           24F                      24F AGM
2019-16 V8/5.0L       Dsl                                             550           35 2                     35 AGM 2
2018-16 V8/5.6L                                                       780           27                       —
Nissan Versa
2019-12   L4/1.6L     CVT-Transmission                                410           51R                      —
2019      L4/1.6L     Ex CVT                                          470           —                        —
2018-13   L4/1.6L     Ex CVT                                          470           —                        —
2012      L4/1.6L     w/CVT                                           500           51R 45                   — 45
2012-10   L4/1.6L     Ex CVT                                          470           90 (T5)                  —
2012-10   L4/1.8L     Ex CVT                                          470           90 (T5)                  —
2012-09   L4/1.6L     Ex CVT                                          470           —                        —
2012-09   L4/1.8L     w/CVT                                           410           51R 45                   — 45
2012-07   L4/1.8L     Ex CVT                                          470           —                        —
2008-07   L4/1.8L     CVT-Transmission                                410           51R                      —
2008-07   L4/1.8L     Ex CVT                                          470           90 (T5)                  —
Nissan Versa Note
2019-18 L4/1.6L                                                       470           —                        —
Nissan Xterra
2015-10   V6/4.0L                                                     550        35                          35 AGM
2009-05   V6/4.0L                                                     550        24F                         24F AGM
2004      L4/2.4L                                                     490        25                          —
2004      L4/2.4L     Opt                                             550        24                          —
2004      V6/3.3L     Opt                                             550        24                          —
2004-00   V6/3.3L                                                     490        25                          —
2003-00   L4/2.4L     Can & Opt                                       550        24                          —
2003-00   L4/2.4L     US                                              490        25                          —
2003-00   V6/3.3L     Can & Opt                                       550        24                          —
                                                                            See page 151 for Footnotes. Selection may vary by warehouse.

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Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 PageOldsmobile
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   Automotive/Light Truck                                                                                                        121
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT            GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                 (NOTES)               (NOTES)

   Nissan X-Trail
   2006      L4/2.5L      Can                                                      550           24F                   24F AGM
   2005      L4/2.5L      US                                                       550           35                    35 AGM
   Oldsmobile 442
   1969-68   V8/6.6L                                                               380           24                    —
   1969-68   V8/7.5L                                                               380           24                    —
   1967      V8/6.6L                                                               N/A           24                    —
   1966-65   V8/6.6L                                                               N/A           27                    —
   Oldsmobile 88
   1999-95   V6/3.8L      Ex HWS                                                   690           78                    —
   1997-92   V6/3.8L      HD or w/HWS                                              770           78                    —
   1995      V6/3.8L      w/HWS                                                    770           78                    —
   1994-92   V6/3.8L                                                               630           75                    —
   1994      V6/3.8L      HD or HWS                                                770           78                    —
   Oldsmobile 98
   1996-95   V6/3.8L                                                               690           78                    —
   1996-91   V6/3.8L      HD or w/HWS                                              770           78                    —
   1994      V6/3.8L                                                               600           78                    —
   1993-85   V6/3.8L                                                               630           75                    —
   1992      V6/3.8L      Opt                                                      770           78                    —
   1991      V6/3.8L      HD or HWS                                                770           78                    —
   1990-85   V6/3.8L      Opt                                                      770           78                    —
   Oldsmobile Achieva
   1998-96   L4/2.4L                                                               600           75                    —
   1998-94   V6/3.1L                                                               600           75                    —
   1995-92   L4/2.3L                                                               600           75                    —
   1993-92   V6/3.3L                                                               600           75                    —
   Oldsmobile Alero
   2004      L4/2.2L                                                               525           75                    —
   2004-99   V6/3.4L                                                               600           75                    —
   2003-02   L4/2.2L                                                               600           75                    —
   2001-99   L4/2.4L                                                               600           75                    —
   Oldsmobile Aurora
   2003-01   V8/4.0L                                                               770           100 50                — 50
   2002-01   V6/3.5L                                                               770           100 50                — 50
   1999-98   V8/4.0L                                                               840           79 50                 — 50
   1997-95   V8/4.0L                                                               970           —                     —
   Oldsmobile Bravada
   2004-02   L6/4.2L                                                               600           78                    —
   2001-96   V6/4.3L      Opt                                                      690           —                     —
   2001-91   V6/4.3L                                                               525           75                    —
   1994      V6/4.3L      Opt                                                      600           78                    —
   1993-91   V6/4.3L      Opt                                                      630           78                    —
   Oldsmobile Custom Cruiser, Delta 88, Regency
   1998-97   V6/3.8L                                                               690           78                    —
   1997      V6/3.8L      HD or w/HWS                                              770           78                    —
   1992      V8/5.7L                                                               525           75                    —
   1992-90   V8/5.0L                                                               525           75                    —
   1991      V6/3.8L      HD or w/HWS                                              770           78                    —
   1991-90   V6/3.8L      Opt                                                      730           78                    —
   1991-87   V8/5.0L      Opt                                                      570           75                    —
   1991-86   V6/3.8L                                                               630           75                    —
   Oldsmobile Cutlass Calais
   1991-90 L4/2.3L                                                                 630           75                    —
   1991-89 V6/3.3L                                                                 630           75                    —
   1991-88 L4/2.5L                                                                 630           75                    —
   Oldsmobile Cutlass, Cutlass Ciera, Cutlass Cruiser, Cutlass Supreme
   1999-98   V6/3.1L                                                               600           75                    —
   1997-96   V6/3.1L                                                               600           78                    —
   1996      V6/3.4L                                                               690           78                    —
   1996-94   L4/2.2L                                                               525           75                    —
   1995      V6/3.1L      Early                                                    525           75                    —
   1995      V6/3.1L      Late Incl Supreme                                        600           78                    —
   1995      V6/3.4L      Early                                                    690           —                     —
   1995      V6/3.4L      Late Incl Supreme                                        690           78                    —
   1994-91   V6/3.4L                                                               690           —                     —
   1994-90   V6/3.1L                                                               525           75                    —
   1994      V6/3.1L                                                               630           75                    —
   1993-89   V6/3.3L                                                               630           75                    —
   1993      L4/2.2L                                                               630           75                    —
   1992-84   L4/2.5L                                                               630           75                    —
   See page 151 for Footnotes. Selection may vary by warehouse.

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Oldsmobile                                    Document 117-5 Entered on FLSD Docket 02/20/2023 Page 566 of
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122                                                                   Automotive/Light Truck
  YEAR       ENGINE                                OPTIONS                        ORIGINAL EQUIPMENT               GROUP SIZE          ALTERNATE SIZE
                                                                                      CCA/RATING                    (NOTES)               (NOTES)

Oldsmobile Cutlass, Cutlass Ciera, Cutlass Cruiser, Cutlass Supreme (continued)
1991-90   L4/2.3L                                                                        630           75                       —
1969-68   V8/5.7L                                                                        350           24                       —
1968-67   V8/6.6L                                                                        350           24                       —
1968      V8/6.6L                                                                        400           24                       —
1967-66   V8/5.4L                                                                        350           24                       —
1967      V8/5.4L                                                                        N/A           24                       —
1966-65   V8/6.6L                                                                        N/A           27                       —
1965-64   V8/5.4L                                                                        380           24                       —
Oldsmobile Delta 88 (See Custom Cruiser, Delta 88, Regency)
Oldsmobile Intrigue
2002-99 V6/3.5L                                                                          690           78                       —
1999-98 V6/3.8L                                                                          690           78                       —
Oldsmobile LSS
1999-96 V6/3.8L                                                                          690           78                       —
Oldsmobile Regency (See Custom Cruiser, Delta 88, Regency)
Oldsmobile Silhouette
2004-97   V6/3.4L                                                                        600           78                       —
1996      V6/3.4L                                                                        525           75                       —
1995-92   V6/3.8L                                                                        630           75                       —
1994-90   V6/3.1L                                                                        525           75                       —
Oldsmobile Toronado
1992-91 V6/3.8L                                                                          770           78                       —
1990    V6/3.8L                                                                          730           78                       —
Panoz AIV Roadster
2000-99 V8/4.6L                                                                          580           —                        —
Panoz Esperante
2007-01 V8/4.6L                                                                          580           —                        —
Peugeot 405
1991-90 L4/1.9L                                                                          420           24                       —
Peugeot 505
1991-90   L4/2.2L     Ex Turbo                                                           660           H6 (48) 6                H6 (48) AGM 6
1991-90   L4/2.2L     Turbo                                                              495           H6 (48) 5                H6 (48) AGM 5
1990      L4/2.2L                                                                        495           H6 (48) 6                H6 (48) AGM 6
1990      V6/2.8L                                                                        660           H6 (48)                  H6 (48) AGM
Plymouth Acclaim
1995-92 L4/2.5L                                                                          600           34                       —
1995-90 V6/3.0L                                                                          500           34                       —
1991-90 L4/2.5L                                                                          500           34                       —
Plymouth Barracuda
1974-66   V8/5.2L                                                                        325           24                       —
1974-64   V8/5.9L                                                                        325           24                       —
1974      V8/5.9L                                                                        305           24                       —
1973-68   V8/5.6L                                                                        325           24                       —
1972-71   V8/7.2L                                                                        325           24                       —
1972-64   L6/3.7L                                                                        325           24                       —
1971-70   L6/3.2L                                                                        325           24                       —
1971      V8/6.3L                                                                        325           24                       —
1971      V8/7.0L                                                                        325           24                       —
1970-67   V8/6.3L                                                                        440           27                       —
1969-68   V8/7.0L                                                                        440           27                       —
1968-64   V8/4.5L                                                                        325           24                       —
1966-64   L6/2.8L                                                                        325           24                       —
Plymouth Belvedere
1970-64 V8/6.3L                                                                          440           27                       —
Plymouth Breeze
2000-97 L4/2.4L                                                                          510           75                       —
2000-96 L4/2.0L                                                                          510           75                       —
1996    L4/2.4L                                                                          575           75                       —
Plymouth Colt
1995-93   L4/1.5L     US                                                                 435           51                       —
1994-93   L4/1.5L     Can                                                                580           24                       —
1994-93   L4/1.8L     Can                                                                580           24                       —
1994-92   L4/2.4L     HD or Can                                                          580           24                       —
1994-92   L4/2.4L     US                                                                 490           24                       —
1994      L4/1.8L     US                                                                 435           25                       —
1992-91   L4/1.5L     Opt                                                                430           25                       —
1992-91   L4/1.5L     US                                                                 355           25                       —
1992      L4/1.5L     Can, Ex Wagon                                                      420           25                       —
                                                                                               See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                      123
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT           GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                (NOTES)               (NOTES)

   Plymouth Colt (continued)
   1992      L4/1.8L      Can, Ex Wagon                                            420           25                   —
   1992      L4/1.8L      Opt                                                      430           25                   —
   1992      L4/1.8L      US                                                       350           51                   —
   1992      L4/1.8L      Wagon                                                    580           24                   —
   1992      L4/2.4L      Can                                                      580           24                   —
   1992      L4/2.4L      Can, Ex Wagon                                            420           25                   —
   1992      L4/2.4L      Opt                                                      430           25                   —
   1992      L4/2.4L      Wagon                                                    580           24                   —
   1991-90   L4/1.5L      Can                                                      420           25                   —
   1991-90   L4/2.0L      Can                                                      420           25                   —
   1991-90   L4/2.0L      US                                                       435           51                   —
   1990      L4/1.5L      Ex Wagon                                                 355           25                   —
   1990      L4/1.5L      Wagon                                                    435           51                   —
   1990      L4/1.6L                                                               435           51                   —
   1990      L4/1.6L      Can                                                      420           25                   —
   1990      L4/1.8L      Wagon                                                    435           51                   —
   Plymouth Cuda
   1974-73   V8/5.2L                                                               305           24                   —
   1974      V8/5.2L      Opt                                                      375           24                   —
   1974      V8/5.9L                                                               305           24                   —
   1974      V8/5.9L      Opt                                                      375           24                   —
   1973      V8/5.2L      Opt                                                      440           24                   —
   1973      V8/5.6L                                                               305           24                   —
   1973      V8/5.6L      Opt                                                      440           24                   —
   1972-70   V8/5.6L                                                               305           25                   —
   1972-70   V8/5.6L      Opt                                                      375           24                   —
   1972      V8/5.6L      Opt                                                      440           27                   —
   1971-70   V8/6.3L                                                               375           24                   —
   1971-70   V8/6.3L      Opt                                                      440           27                   —
   1971-70   V8/7.0L                                                               440           27                   —
   1971-70   V8/7.2L                                                               440           27                   —
   Plymouth Duster
   1976-74   V8/5.9L                                                               370           24                   —
   1976-74   V8/5.9L      Opt                                                      460           24                   —
   1976-70   V8/5.2L                                                               370           24                   —
   1976-70   V8/5.2L      Opt                                                      460           24                   —
   1974      V8/5.9L                                                               305           24                   —
   1973-70   V8/5.6L                                                               370           24                   —
   1973-70   V8/5.6L      Opt                                                      460           24                   —
   Plymouth Grand Voyager, Voyager
   2000-96   L4/2.4L                                                               600           34                   —
   2000-90   V6/3.0L                                                               500           34                   —
   2000-90   V6/3.3L                                                               500           34                   —
   1999-96   L4/2.4L      Opt                                                      685           34                   —
   1999-94   V6/3.8L                                                               600           34                   —
   1999-94   V6/3.8L      Opt                                                      685           34                   —
   1999-91   V6/3.0L      Opt                                                      685           34                   —
   1999-91   V6/3.3L      Opt                                                      685           34                   —
   1995-92   L4/2.5L                                                               600           34                   —
   1995-91   L4/2.5L      Opt                                                      685           34                   —
   1991-90   L4/2.5L                                                               500           34                   —
   1990      L4/2.5L      Opt                                                      625           34                   —
   1990      V6/3.0L      Opt                                                      625           34                   —
   1990      V6/3.3L      Opt                                                      625           34                   —
   Plymouth Horizon
   1990      L4/2.2L                                                               430           34                   —
   Plymouth Laser
   1994-90 L4/1.8L                                                                 430           86                   —
   1994-90 L4/2.0L        Can                                                      525           86                   —
   1994-90 L4/2.0L        US                                                       430           86                   —
   Plymouth Neon
   2001-00 L4/2.0L                                                                 450           26R                  —
   2001-00 L4/2.0L        Opt                                                      540           26R                  —
   1999-95 L4/2.0L                                                                 450           58 35                — 35
   Plymouth Prowler
   2001-99 V6/3.5L                                                                 525           34                   —
   1997    V6/3.5L                                                                 525           34                   —
   Plymouth Road Runner
   1974      V8/5.9L                                                               440           27                   —
   1974-73 V8/5.2L                                                                 440           27                   —
   See page 151 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                              OPTIONS          ORIGINAL EQUIPMENT              GROUP SIZE              ALTERNATE SIZE
                                                                     CCA/RATING                   (NOTES)                   (NOTES)

Plymouth Road Runner (continued)
1974-73   V8/6.6L                                                       440           27                       —
1974-73   V8/7.2L                                                       440           27                       —
1973      V8/5.6L                                                       375           24                       —
1972      V8/5.2L                                                       400           24                       —
1972      V8/6.6L                                                       400           24                       —
1972-71   V8/5.6L                                                       400           24                       —
1972-70   V8/7.2L                                                       400           24                       —
1971      V8/6.3L                                                       400           24                       —
1971      V8/7.0L                                                       400           24                       —
1970-68   V8/6.3L                                                       440           27                       —
1970-68   V8/7.0L                                                       440           27                       —
1969      V8/7.2L                                                       440           27                       —
1968      V8/4.5L                                                       400           24                       —
1968      V8/5.2L                                                       400           24                       —
Plymouth Satellite
1967-66 V8/7.2L                                                         N/A           27                       —
1967-65 V8/7.0L                                                         N/A           27                       —
Plymouth Sundance
1994-93   V6/3.0L                                                       500           34                       —
1994-92   L4/2.5L                                                       600           34                       —
1994-90   L4/2.2L                                                       500           34                       —
1992      V6/3.0L                                                       600           34                       —
1991      L4/2.5L                                                       625           34                       —
1990      L4/2.5L                                                       500           34                       —
Plymouth Superbird
1970      V8/7.2L                                                       440           27                       —
Plymouth Voyager (See Grand Voyager, Voyager)
Pontiac 6000, Grand Am
2005-02   L4/2.2L                                                       600           75                      —
2005-99   V6/3.4L                                                       600           75                      —
2004      L4/2.2L                                                       525           75                      —
2001-96   L4/2.4L                                                       600           75                      —
1998-94   V6/3.1L                                                       600           75                      —
1995-93   L4/2.3L                                                       600           75                      —
1993      V6/3.3L                                                       600           75                      —
1992-88   L4/2.3L                                                       630           75                      —
1992      V6/3.3L                                                       630           75                      —
1991-90   V6/3.1L    Can & Opt                                          630           75                      —
1991-88   V6/3.1L                                                       525           75                      —
1991-85   L4/2.5L                                                       630           75                      —
Pontiac Aztek
2005-01 V6/3.4L                                                         600           78                       —
Pontiac Bonneville
2005-04   V8/4.6L                                                       770           100 50                   — 50
2005-02   V6/3.8L                                                       770           100 50                   — 50
2003-02   V6/3.8L    S/C                                                800           79 50,51                 — 50,51
2001-00   V6/3.8L                                                       840           79 50,51                 — 50,51
1999-98   V6/3.8L    S/C                                                770           78                       —
1999-95   V6/3.8L    Ex S/C                                             690           78                       —
1997-92   V6/3.8L    Opt                                                770           78                       —
1994-86   V6/3.8L                                                       630           75                       —
1990      V6/3.8L    Opt                                                730           78                       —
1969      V8/7.0L                                                       325           24                       —
1968-67   V8/7.0L                                                       350           27                       —
1968      V8/6.6L    w/High Comp                                        350           24                       —
1967      V8/6.6L                                                       350           27                       —
1967      V8/7.0L    Opt                                                350           27                       —
1966      V8/6.4L                                                       350           27                       —
1966      V8/6.4L    Opt                                                350           27                       —
1966      V8/6.9L                                                       325           24                       —
1965-63   V8/6.9L                                                       350           27                       —
1965-59   V8/6.4L                                                       350           27                       —
Pontiac Catalina
1969      V8/7.0L                                                       325        24                          —
1968-67   V8/6.6L                                                       250        26R                         —
1968-67   V8/6.6L    Opt                                                350        27                          —
1968-67   V8/7.0L                                                       250        26R                         —
1968-67   V8/7.0L    Opt                                                350        27                          —
1966      V8/6.4L                                                       250        26R                         —
1966      V8/6.4L    Opt                                                350        27                          —
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   Automotive/Light Truck                                                                                                        125
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)               (NOTES)

   Pontiac Firebird
   2002-95   V6/3.8L                                                               690           —                      —
   2002-93   V8/5.7L                                                               525           75                     —
   1995-93   V6/3.4L                                                               525           75                     —
   1992-90   V6/3.1L                                                               525           75                     —
   1992-90   V8/5.0L      AT                                                       570           75                     —
   1992-90   V8/5.0L      MT                                                       525           75                     —
   1992-87   V8/5.7L                                                               630           75                     —
   1979-78   V6/3.8L      Opt                                                      450           78                     —
   1979-78   V8/5.0L                                                               350           75                     —
   1979-78   V8/5.0L      Opt                                                      450           78                     —
   1979-78   V8/5.7L                                                               350           75                     —
   1979-78   V8/5.7L      Opt                                                      450           78                     —
   1979-78   V8/6.6L                                                               430           75                     —
   1979-78   V8/6.6L      Opt                                                      450           78                     —
   1979      V8/4.9L                                                               350           75                     —
   1979      V8/4.9L      Opt                                                      450           78                     —
   1977-73   V8/5.7L                                                               450           78                     —
   1977-73   V8/6.6L                                                               450           78                     —
   1977      V8/4.9L                                                               450           78                     —
   1977      V8/5.0L                                                               450           78                     —
   1976-73   L6/4.1L                                                               450           78                     —
   1976-73   V8/7.5L                                                               450           78                     —
   1972-71   V8/7.5L                                                               325           24                     —
   1972-68   L6/4.1L                                                               325           24                     —
   1972-68   V8/5.7L                                                               325           24                     —
   1972-67   V8/6.6L                                                               325           24                     —
   1967      L6/3.8L                                                               350           —                      —
   Pontiac )LUHĠ\
   2000-95   L3/1.0L                                                               390           26R                    —
   2000-94   L4/1.3L                                                               390           26R                    —
   1994      L3/1.0L                                                               390           —                      —
   1991-90   L3/1.0L                                                               440           —                      —
   Pontiac G3
   2010-09 L4/1.6L                                                                 590           86                     —
   Pontiac G3 Wave
   2009      L4/1.6L                                                               550           86                     —
   Pontiac G5, Pursuit
   2010-09 L4/2.2L                                                                 590           90 (T5) 50             — 50
   2008-06 L4/2.4L                                                                 600           90 (T5)                —
   2008-05 L4/2.2L                                                                 600           90 (T5) 50             — 50
   Pontiac G6
   2010-08   L4/2.4L                                                               590           90 (T5)                —
   2010-08   V6/3.5L                                                               590           90 (T5)                —
   2009-08   V6/3.6L                                                               590           90 (T5)                —
   2009-08   V6/3.9L                                                               590           90 (T5)                —
   2007-06   L4/2.4L                                                               525           75                     —
   2007      V6/3.6L                                                               525           75                     —
   2007-06   V6/3.9L                                                               525           75                     —
   2007-05   V6/3.5L                                                               525           75                     —
   Pontiac G8
   2009      V6/3.6L                                                               720           H7 (94R) 50            H7 (94R) AGM 50
   2009      V8/6.0L                                                               720           H7 (94R) 50            H7 (94R) AGM 50
   2009      V8/6.2L                                                               720           H7 (94R) 50            H7 (94R) AGM 50
   2008      V6/3.6L                                                               700           H7 (94R) 50            H7 (94R) AGM 50
   2008      V8/6.0L                                                               700           H7 (94R) 50            H7 (94R) AGM 50
   Pontiac Grand Am (See 6000, Grand Am)
   Pontiac Grand Prix
   2008      V8/5.3L                                                               590           —                      —
   2008-06 V6/3.8L       w/AGM                                                     690           34 33                  — 33
   2007-05 V8/5.3L                                                                 625           —                      —
   2005-04 V6/3.8L       w/AGM                                                     680           34 33                  — 33
   2003-97 V6/3.8L       Ex S/C                                                    690           78                     —
   2003-97 V6/3.8L       S/C                                                       770           78                     —
   2003-96 V6/3.1L                                                                 600           78                     —
   1996      V6/3.4L                                                               690           78                     —
   1995      V6/3.1L     Early                                                     525           75                     —
   1995      V6/3.1L     Late                                                      600           78                     —
   1995      V6/3.4L     Early                                                     690           —                      —
   1995      V6/3.4L     Late                                                      690           78                     —
   1994-91 V6/3.4L                                                                 690           —                      —
   See page 151 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                   OPTIONS             ORIGINAL EQUIPMENT         GROUP SIZE                ALTERNATE SIZE
                                                             CCA/RATING              (NOTES)                     (NOTES)

Pontiac Grand Prix (continued)
1994-90   V6/3.1L                                               525           75                       —
1991-90   L4/2.3L                                               630           75                       —
1977      V8/4.9L                                               350           75                       —
1977      V8/6.6L                                               450           78                       —
1977-76   V8/5.7L                                               350           75                       —
1977-76   V8/6.6L                                               350           75                       —
1976      V8/7.5L                                               450           78                       —
1975-73   V8/6.6L                                               450           24                       —
1975-73   V8/6.6L    Side Terminal                              450           78                       —
1975-73   V8/7.5L                                               450           24                       —
1975-73   V8/7.5L    Side Terminal                              450           78                       —
1972-70   V8/7.5L                                               325           24                       —
1972-69   V8/6.6L                                               325           24                       —
1969      V8/7.0L                                               325           24                       —
1968-67   V8/6.6L                                               350           27                       —
1968-67   V8/7.0L                                               350           27                       —
1967      V8/7.0L    Opt                                        350           27                       —
1966      V8/6.4L                                               350           27                       —
1966      V8/6.9L                                               250           26R                      —
1966      V8/6.9L    Opt                                        350           27                       —
1965-63   V8/6.9L                                               350           27                       —
1965-63   V8/6.9L    Opt                                        N/A           27                       —
Pontiac GTO, Tempest
2006-05   V8/6.0L                                               600           —                       —
2004      V8/5.7L                                               600           —                       —
1991-90   L4/2.2L    AT & Opt                                   630           75                      —
1991-90   L4/2.2L    MT                                         525           75                      —
1991-90   V6/3.1L    AT                                         630           75                      —
1991-90   V6/3.1L    MT                                         525           75                      —
1973-71   V8/6.6L                                               465           78                      —
1973-71   V8/7.5L                                               465           78                      —
1970-68   L6/4.1L                                               250           26R                     —
1970-68   V8/5.7L                                               325           24                      —
1970-67   V8/6.6L                                               325           24                      —
1970      V8/7.5L                                               325           24                      —
1967-63   V8/5.3L                                               325           24                      —
1966-64   V8/6.4L                                               325           24                      —
Pontiac LeMans, Optima
1993-90 L4/1.6L                                                 550           —                        —
1990    L4/2.0L                                                 550           —                        —
1990    L4/2.0L      AT                                         630           —                        —
Pontiac Montana
2009-06 V6/3.9L                                                 600           34                       —
2006-05 V6/3.5L                                                 600           34                       —
2005-99 V6/3.4L                                                 600           78                       —
Pontiac Solstice
2009-08   L4/2.0L                                               590           86                       —
2009-08   L4/2.4L                                               590           86                       —
2007      L4/2.0L                                               640           86                       —
2007      L4/2.4L                                               640           86                       —
2006      L4/2.4L                                               590           86                       —
Pontiac Sunbird
1994-92 V6/3.1L                                                 525           75                       —
1994-88 L4/2.0L                                                 630           75                       —
1991    V6/3.1L                                                 630           75                       —
Pontiac 6XQğUH
2005-95   L4/2.2L                                               525           75                       —
2002      L4/2.4L                                               525           75                       —
2001-96   L4/2.4L                                               600           75                       —
1995      L4/2.3L                                               600           75                       —
Pontiac Sunrunner
1997-95 L4/1.6L                                                 390           26R                      —
1994    L4/1.6L                                                 500           —                        —
Pontiac Tempest (See GTO, Tempest)
Pontiac Torrent
2009-08 V6/3.6L                                                 650           —                        —
2009-07 V6/3.4L                                                 650           —                        —
2006    V6/3.4L                                                 600           75                       —
                                                                      See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                         127
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)               (NOTES)

   Pontiac Trans Sport
   1999-97   V6/3.4L                                                               600           78                     —
   1996      V6/3.4L                                                               525           75                     —
   1995-92   V6/3.8L                                                               630           75                     —
   1995-90   V6/3.1L                                                               525           75                     —
   Pontiac Vibe
   2010-09 L4/2.4L                                                                 575           24F                    24F AGM
   2008-03 L4/1.8L                                                                 550           35                     35 AGM
   Pontiac Wave, Wave 5
   2008-05 L4/1.6L                                                                 550           86                     —
   2007-05 L4/1.6L                                                                 590           86                     —
   Porsche 911
   2016-12   H6/3.4L                                                               740           H8 (49) 50             H8 (49) AGM 50
   2016-10   H6/3.8L                                                               740           H8 (49) 50             H8 (49) AGM 50
   2016      H6/4.0L                                                               740           H8 (49) 50             H8 (49) AGM 50
   2012-10   H6/3.6L                                                               740           H8 (49) 50             H8 (49) AGM 50
   2012-10   H6/3.8L      Option 1                                                 740           H8 (49) 50             H8 (49) AGM 50
   2012-09   H6/3.6L      Option 1                                                 740           H8 (49) 50             H8 (49) AGM 50
   2012      H6/3.4L      Option 1                                                 740           H8 (49) 50             H8 (49) AGM 50
   2011      H6/4.0L                                                               740           H8 (49) 50             H8 (49) AGM 50
   2009-05   H6/3.6L                                                               740           H7 (94R) 50            H7 (94R) AGM 50
   2009-05   H6/3.8L                                                               740           H7 (94R) 50            H7 (94R) AGM 50
   2004-02   H6/3.6L      Ex GT2                                                   650           H7 (94R)               H7 (94R) AGM
   2004-02   H6/3.6L      Ex GT2                                                   740           H7 (94R) 9, 50         H7 (94R) AGM 9, 50
   2004-02   H6/3.6L      GT2                                                      650           —                      —
   2004-01   H6/3.6L      GT2                                                      650           H6 (48) 50             H6 (48) AGM 50
   2001-99   H6/3.4L                                                               650           H6 (48) 50             H6 (48) AGM 50
   2001      H6/3.6L      Ex GT2                                                   650           —                      —
   1998-90   H6/3.6L                                                               650           H6 (48) 50             H6 (48) AGM 50
   1992      H6/3.3L                                                               650           H6 (48) 54             H6 (48) AGM 54
   1991      H6/3.3L      Turbo                                                    650           H6 (48) 54             H6 (48) AGM 54
   Porsche 928
   1995-93 V8/5.4L                                                                 650           H6 (48)                H6 (48) AGM
   1991-90 V8/5.0L                                                                 650           H6 (48)                H6 (48) AGM
   Porsche 968
   1995-92 L4/3.0L                                                                 600           —                      —
   Porsche Boxster
   2014-13   H6/2.7L                                                               650           H7 (94R) 50            H7 (94R) AGM 50
   2014-07   H6/3.4L                                                               650           H7 (94R) 50            H7 (94R) AGM 50
   2012-09   H6/2.9L                                                               650           H7 (94R) 50            H7 (94R) AGM 50
   2008-06   H6/2.7L                                                               650           H7 (94R) 50            H7 (94R) AGM 50
   2006      H6/3.2L                                                               650           H7 (94R) 50            H7 (94R) AGM 50
   2005-02   H6/2.7L      Opt                                                      650           H7 (94R) 50            H7 (94R) AGM 50
   2005-02   H6/3.2L      Opt                                                      650           H7 (94R) 50            H7 (94R) AGM 50
   2005-00   H6/2.7L                                                               650           H6 (48) 50             H6 (48) AGM 50
   2005-00   H6/3.2L                                                               650           H6 (48) 50             H6 (48) AGM 50
   1999-97   H6/2.5L                                                               650           H6 (48) 50             H6 (48) AGM 50
   Porsche Carrera GT
   2005-04 V10/5.7L                                                                650           H6 (48) 54             H6 (48) AGM 54
   Porsche Cayenne
   2014-11   V6/3.0L      Hybrid                                                   650           H7 (94R) 50            H7 (94R) AGM 50
   2014-08   V6/3.6L                                                               650           H7 (94R) 50            H7 (94R) AGM 50
   2014-08   V8/4.8L                                                               740           H8 (49) 50             H8 (49) AGM 50
   2006-04   V6/3.2L                                                               640           H7 (94R) 50            H7 (94R) AGM 50
   2006-03   V8/4.5L                                                               740           H8 (49) 50             H8 (49) AGM 50
   Porsche Cayman
   2014      H6/2.7L                                                               740           H8 (49) 50             H8 (49) AGM 50
   2014      H6/3.4L                                                               740           H8 (49) 50             H8 (49) AGM 50
   2012-10   H6/3.4L                                                               740           H8 (49) 50             H8 (49) AGM 50
   2012-09   H6/2.9L                                                               740           H8 (49) 50             H8 (49) AGM 50
   2009-06   H6/3.4L                                                               740           H7 (94R) 50            H7 (94R) AGM 50
   2008-07   H6/2.7L                                                               740           H7 (94R) 50            H7 (94R) AGM 50
   Porsche Panamera
   2014-12 V6/3.0L                                                                 740           H8 (49) 50             H8 (49) AGM 50
   2014-11 V6/3.6L                                                                 740           H8 (49) 50             H8 (49) AGM 50
   2014-10 V8/4.8L                                                                 740           H8 (49) 50             H8 (49) AGM 50
   Ram ProMaster City
   2019      L4/2.4L                                                               750           H6 (48) AGM            —
   See page 151 for Footnotes. Selection may vary by warehouse.

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128                                                        Automotive/Light Truck
  YEAR      ENGINE                               OPTIONS        ORIGINAL EQUIPMENT             GROUP SIZE                 ALTERNATE SIZE
                                                                    CCA/RATING                  (NOTES)                      (NOTES)

Ram 1500
2020-14   V6/3.0L    Dsl                                               800           H8 (49) AGM 33            — 33
2020-13   V6/3.6L                                                      730           H7 (94R)                  H7 (94R) AGM
2020-11   V8/5.7L                                                      730           H7 (94R)                  H7 (94R) AGM
2013-11   V8/4.7L                                                      730           H7 (94R)                  H7 (94R) AGM
2012-11   V6/3.7L                                                      730           H7 (94R)                  H7 (94R) AGM
Ram 2500
2020-14 V8/6.4L                                                        730           H7 (94R)                  H7 (94R) AGM
2020-11 L6/6.7L      Dsl                                               730           H7 (94R) 2                H7 (94R) AGM 2
2018-11 V8/5.7L                                                        730           H7 (94R)                  H7 (94R) AGM
Ram 3500
2020-14 V8/6.4L                                                        730           H7 (94R)                  H7 (94R) AGM
2018-11 V8/5.7L                                                        730           H7 (94R)                  H7 (94R) AGM
2020-12 L6/6.7L      Dsl                                               730           H7 (94R) 2                H7 (94R) AGM 2
Ram C/V
2015-12 V6/3.6L                                                        730           H7 (94R)                  H7 (94R) AGM
Ram Dakota
2011      V6/3.7L                                                      600           65                        65 AGM
2011      V6/3.7L    Opt                                               750           65                        65 AGM
2011      V8/4.7L                                                      600           65                        65 AGM
2011      V8/4.7L    Opt                                               750           65                        65 AGM
Ram ProMaster 1500
2017      L4/3.0L    Dsl                                               800           — 50                      H8 (49) AGM 50
2020-17   V6/3.6L                                                      800           — 50                      H8 (49) AGM 50
2017-14   L4/3.0L    Dsl, Opt                                          950           H9 (95R) AGM 33, 50       — 33, 50
2017-14   V6/3.6L    Opt                                               950           H9 (95R) AGM 33, 50       — 33, 50
2017-14   L4/3.0L    Dsl                                               800           —                         H8 (49) AGM
2016-14   V6/3.6L                                                      800           —                         H8 (49) AGM
Ram ProMaster 2500
2018-17   L4/3.0L    Dsl                                               800           — 50                      H8 (49) AGM 50
2017-14   L4/3.0L    Dsl, Opt                                          950           H9 (95R) AGM 33, 50       — 33, 50
2020-14   V6/3.6L    Opt                                               950           H9 (95R) AGM 33, 50       — 33, 50
2016-14   L4/3.0L    Dsl                                               800           — 50                      H8 (49) AGM 50
2020-17   V6/3.6L                                                      800           —                         H8 (49) AGM
Ram ProMaster 3500
2018-14   L4/3.0L    Dsl                                               800           — 50                      H8 (49) AGM 50
2018-14   L4/3.0L    Dsl, Opt                                          950           H9 (95R) AGM 33, 50       — 33, 50
2020-17   V6/3.6L                                                      800           —                         H8 (49) AGM
2020-14   V6/3.6L    Opt                                               950           H9 (95R) AGM 33, 50       — 33, 50
2020-14   V6/3.6L                                                      800           —                         H8 (49) AGM
Ram ProMaster City
2019-17 L4/2.4L                                                        750           —                         —
Rolls-Royce Ghost
2015-10 V12/6.6L                                                       900           H8 (49) AGM 33, 50, 54    — 33, 50, 54
Rolls-Royce Phantom
2015-04 V12/6.7L                                                       760           H6 (48) AGM 33, 50, 54    — 33, 50, 54
2014-04 V12/6.7L     Opt                                               900           H8 (49) AGM 33, 50, 54    — 33, 50, 54
Rolls-Royce Wraith
2015-14 V12/6.6L                                                       900           H8 (49) AGM 33, 50, 54    — 33, 50, 54
Saab 900
1998-94   L4/2.0L                                                      520           H5 (47)                   H5 (47) AGM
1998-94   L4/2.3L                                                      520           H5 (47)                   H5 (47) AGM
1997-94   V6/2.5L                                                      520           H5 (47)                   H5 (47) AGM
1994      L4/2.1L                                                      520           H5 (47)                   H5 (47) AGM
1993-91   L4/2.1L                                                      405           —                         —
1993-90   L4/2.0L                                                      405           —                         —
Saab 9000
1998-94   L4/2.3L                                                      570           —                         —
1998-94   L4/2.3L    Group 47 fits 9 1/2” tray                         520           —                         —
1997-95   V6/3.0L                                                      570           —                         —
1997-95   V6/3.0L    Group 47 fits 9 1/2” tray                         520           —                         —
1993-92   L4/2.3L                                                      520           H5 (47)                   H5 (47) AGM
1991-90   L4/2.3L                                                      450           H5 (47)                   H5 (47) AGM
1991-90   L4/2.3L    Opt                                               450           —                         —
1990-86   L4/2.0L                                                      450           H5 (47)                   H5 (47) AGM
1990-86   L4/2.0L    Opt                                               450           —                         —
Saab 9-2X, 9-3, 9-3X, 9-4X, 9-5, 9-7X
2011-10 L4/2.0L      9-3                                              70 Ah          H6 (48)                   H6 (48) AGM
2011    L4/2.0L      9-5                                               550           —                         —
2011-10 V6/2.8L      9-5                                               700           H6 (48)                   H6 (48) AGM
                                                                              See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                        129
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)               (NOTES)

   Saab 9-2X, 9-3, 9-3X, 9-4X, 9-5, 9-7X (continued)
   2011-08   L4/2.0L                                                              70 Ah          H6 (48)                H6 (48) AGM
   2011      V6/2.8L      9-4X                                                     700           H6 (48)                H6 (48) AGM
   2011      V6/3.0L      9-4X                                                     700           H6 (48)                H6 (48) AGM
   2009-08   L4/2.3L      9-5                                                     70 Ah          H6 (48)                H6 (48) AGM
   2009-08   V8/6.0L      9-7X                                                     600           78                     —
   2009-06   V6/2.8L                                                              70 Ah          H6 (48) 50             H6 (48) AGM 50
   2009-05   L6/4.2L      9-7X                                                     600           78                     —
   2009-05   V8/5.3L      9-7X                                                     600           78                     —
   2007-04   L4/2.0L                                                               700           H6 (48) 50             H6 (48) AGM 50
   2007-04   L4/2.0L      Conv                                                    60 Ah          —                      —
   2007-04   L4/2.3L                                                               700           H6 (48)                H6 (48) AGM
   2007-03   L4/2.0L      Sport Sedan                                             60 Ah          —                      —
   2007-99   L4/2.3L      9-5                                                      520           —                      —
   2006      H4/2.5L      9-2X Aero                                                550           35                     35 AGM
   2005      H4/2.0L                                                               550           25                     —
   2005      H4/2.0L      9-2X Aero                                                550           25                     —
   2005      H4/2.5L                                                               550           25                     —
   2005      H4/2.5L      9-2X Linear                                              550           35                     35 AGM
   2003      L4/2.0L      Conv                                                     580           H5 (47) 40             H5 (47) AGM 40
   2003      L4/2.0L      Sport Sedan                                              700           H6 (48) 50             H6 (48) AGM 50
   2003-02   L4/2.3L                                                               700           H6 (48) 50             H6 (48) AGM 50
   2003-02   V6/3.0L                                                               700           H6 (48)                H6 (48) AGM
   2003-99   V6/3.0L      9-5                                                      520           —                      —
   2002      L4/2.0L                                                               580           H5 (47) 40             H5 (47) AGM 40
   2002-99   L4/2.0L      Conv                                                     520           H5 (47)                H5 (47) AGM
   2002-99   L4/2.3L      Sedan                                                    580           H5 (47) 40             H5 (47) AGM 40
   2001-00   L4/2.3L                                                               650           H6 (48)                H6 (48) AGM
   2001-99   L4/2.0L                                                               580           —                      —
   2001-99   V6/3.0L                                                               650           H6 (48)                H6 (48) AGM
   1999      L4/2.3L                                                               700           H6 (48)                H6 (48) AGM
   Saleen S7
   2006-02 V8/7.0L                                                                 750           34                     —
   Saturn Astra
   2009-08 L4/1.8L                                                                 600           —                      —
   Saturn Aura
   2009      L4/2.4L                                                               600           90 (T5)                —
   2009      V6/3.6L                                                               600           90 (T5)                —
   2008      L4/2.4L                                                               590           90 (T5)                —
   2008      V6/3.5L                                                               590           90 (T5)                —
   2008      V6/3.6L                                                               590           90 (T5)                —
   2007      L4/2.4L      XE                                                       575           75                     —
   2007      L4/2.4L      XR                                                       690           —                      —
   2007      V6/3.5L                                                               690           —                      —
   2007      V6/3.6L                                                               690           —                      —
   Saturn Ion
   2007-06   L4/2.2L      From 6/2006                                              600           78 50                  — 50
   2007-06   L4/2.4L      From 6/2006                                              600           78 50                  — 50
   2007-04   L4/2.0L                                                               600           78 50                  — 50
   2006      L4/2.2L      To 6/2006                                                600           —                      —
   2006      L4/2.4L      To 6/2006                                                600           —                      —
   2005-03   L4/2.2L                                                               600           —                      —
   Saturn L, LS, LW, SC, SL, SW
   2002-91 L4/1.9L                                                                 525           75                     —
   2000    L4/2.2L                                                                 525           75                     —
   2000    V6/3.0L                                                                 525           75                     —
   Saturn L100
   2002      L4/2.2L                                                               600           78                     —
   2001      L4/2.2L                                                               525           75                     —
   Saturn L200
   2003-02 L4/2.2L                                                                 600           78                     —
   2001    L4/2.2L                                                                 525           75                     —
   Saturn L300
   2005-02 V6/3.0L                                                                 600           78                     —
   2004    L4/2.2L                                                                 600           78                     —
   2001    V6/3.0L                                                                 525           75                     —
   Saturn LW200
   2003-02 L4/2.2L                                                                 600           78                     —
   2001    L4/2.2L                                                                 525           75                     —
   See page 151 for Footnotes. Selection may vary by warehouse.

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130                                                       Automotive/Light Truck
  YEAR       ENGINE                             OPTIONS        ORIGINAL EQUIPMENT             GROUP SIZE              ALTERNATE SIZE
                                                                   CCA/RATING                  (NOTES)                   (NOTES)

Saturn LW300
2003-02 V6/3.0L                                                       600           78                       —
2001    V6/3.0L                                                       525           75                       —
Saturn Outlook
2010    V6/3.6L                                                       660           H6 (48) 50               H6 (48) AGM 50
2009-07 V6/3.6L                                                       730           H6 (48) 50               H6 (48) AGM 50
Saturn Relay
2007-06 V6/3.9L                                                       600           34                       —
2006-05 V6/3.5L                                                       600           34                       —
Saturn SC, SL, SW (See L, LS, LW, SC, SL, SW)
Saturn Sky
2010-07 L4/2.0L                                                       590           86                       —
2010-07 L4/2.4L                                                       590           86                       —
Saturn Vue
2010-08   L4/2.4L                                                     650           —                        —
2010-08   V6/3.5L                                                     730           H6 (48)                  H6 (48) AGM
2010-08   V6/3.6L                                                     730           H6 (48)                  H6 (48) AGM
2007      L4/2.2L                                                     525           75                       —
2007      L4/2.4L                                                     590           86                       —
2007      V6/3.5L                                                     640           86                       —
2006-04   L4/2.2L                                                     550           75                       —
2006-04   V6/3.5L                                                     590           86                       —
2003-02   L4/2.2L                                                     600           75                       —
2003-02   V6/3.0L                                                     600           75                       —
Scion FR-S
2016    H4/2.0L                                                       430           35                       35 AGM
2015-13 H4/2.0L                                                       430           35                       35 AGM
Scion iA
2016      L4/1.5L                                                     N/A           35                       35 AGM
Scion iM
2016      L4/1.8L                                                     N/A           35                       35 AGM
Scion iQ
2015-12 L4/1.3L                                                       295           51                       —
2015-12 L4/1.3L       Opt, Cold Climate                               320           35                       35 AGM
2014    L4/1.3L       Cold Climate Pkg                                320           25                       —
Scion tC
2016    L4/2.5L                                                       530           24F                      24F AGM
2015-11 L4/2.5L                                                       575           24F                      24F AGM
2010-05 L4/2.4L                                                       575           24                       —
Scion xA
2006-04 L4/1.5L                                                       550           25                       —
Scion xB
2015-08   L4/2.4L                                                     575           24F                      24F AGM
2014-10   L4/2.4L                                                     585           24F                      24F AGM
2009-08   L4/2.4L                                                     550           24F                      24F AGM
2006-04   L4/1.5L                                                     550           25                       —
Smart Fortwo
2016                  Electric, Opt                                   680           —                       —
2016      L3/0.9L                                                     480           H5 (47) 50, 54          H5 (47) AGM 50, 54
2016      L3/0.9L     Opt                                             680           —                       —
2016      L3/0.9L     AGM, Opt                                        680           —                       —
2016-12               AGM, Opt                                        680           —                       —
2016-11               Electric                                        480           H5 (47) 50, 54          H5 (47) AGM 50, 54
2015-12   L3/1.0L                                                     480           H5 (47) 50, 54          H5 (47) AGM 50, 54
2015-08   L3/1.0L     w/o AGM                                         480           H5 (47) 50, 54          H5 (47) AGM 50, 54
2015      L3/1.0L                                                     680           —                       —
2014-08   L3/1.0L     Opt                                             680           —                       —
2011                  Electric, Opt                                   680           —                       —
2010-08   L3/1.0L                                                     480           H5 (47) 50, 54          H5 (47) AGM 50, 54
2007-05   L3/0.8L                                                     540           —                       —
Sterling 827
1991-89 V6/2.7L                                                       675           —                        —
Subaru Ascent
2020-19 H4/2.4L                                                       550           35                       35 AGM
Subaru B9 Tribeca
2007-06 H6/3.0L                                                       490           35                       35 AGM
Subaru Baja
2006-03 H4/2.5L       AT                                              490        35                          35 AGM
2006-03 H4/2.5L       MT                                              430        35                          35 AGM
                                                                            See page 151 for Footnotes. Selection may vary by warehouse.

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                                                                               Subaru
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   Automotive/Light Truck                                                                                                     131
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT        GROUP SIZE            ALTERNATE SIZE
                                                                                CCA/RATING             (NOTES)                 (NOTES)

   Subaru BRZ
   2020-13 H4/2.0L                                                                 550           35                35 AGM
   Subaru Crosstrek
   2020    H4/2.0L        Gas, w/o Start/Stop                                      550           35                35 AGM
   2020-19 H4/2.0L        Hybrid                                                   390           35                35 AGM
   2019-16 H4/2.0L                                                                 390           35                35 AGM
   Subaru Forester
   2018-16   H4/2.0L                                                               390           35                35 AGM
   2018-16   H4/2.5L                                                               390           35                35 AGM
   2015-14   H4/2.0L                                                               550           35                35 AGM
   2015-10   H4/2.5L                                                               550           35                35 AGM
   2009-08   H4/2.5L                                                               490           35                35 AGM
   2007      H4/2.5L                                                               500           35                35 AGM
   2006      H4/2.5L      AT                                                       490           35                35 AGM
   2006      H4/2.5L      MT                                                       360           35                35 AGM
   2005      H4/2.5L      MT                                                       430           35                35 AGM
   2005-98   H4/2.5L      AT or HD                                                 520           35                35 AGM
   2004-98   H4/2.5L      MT                                                       360           35                35 AGM
   Subaru Impreza
   2020-12   H4/2.0L                                                               550           35                35 AGM
   2014-10   H4/2.5L                                                               550           35                35 AGM
   2009-01   H4/2.5L                                                               520           35                35 AGM
   2006      H4/2.5L      AT                                                       490           35                35 AGM
   2006      H4/2.5L      MT                                                       420           35                35 AGM
   2005      H4/2.0L      AT                                                       520           35                35 AGM
   2005      H4/2.0L      MT                                                       430           35                35 AGM
   2005      H4/2.5L      MT                                                       430           35                35 AGM
   2005-98   H4/2.5L      AT                                                       520           35                35 AGM
   2004-02   H4/2.0L      AT                                                       420           35                35 AGM
   2004-02   H4/2.0L      MT                                                       360           35                35 AGM
   2004-98   H4/2.5L      MT                                                       360           35                35 AGM
   2001-95   H4/2.2L      AT                                                       520           35                35 AGM
   2001-95   H4/2.2L      MT                                                       360           35                35 AGM
   1997-93   H4/1.8L      AT                                                       520           35                35 AGM
   1997-93   H4/1.8L      MT                                                       360           35                35 AGM
   Subaru Justy
   1995    L3/1.2L                                                                 550           35                35 AGM
   1994-90 L3/1.2L                                                                 420           35                35 AGM
   Subaru Legacy, Outback
   2020      H4/2.4L                                                               620           —                 H5 (47) AGM
   2020      H4/2.5L                                                               620           —                 H5 (47) AGM
   2019-16   H4/2.5L                                                               355           25                —
   2019-10   H6/3.6L                                                               490           25                —
   2015-10   H4/2.5L                                                               490           25                —
   2009-07   H4/2.5L                                                               490           35                35 AGM
   2009-07   H6/3.0L                                                               490           35                35 AGM
   2008      H4/2.5L      Legacy                                                   430           35                35 AGM
   2008-00   H4/2.5L      Opt                                                      430           —                 —
   2006      H6/3.0L      AT                                                       490           35                35 AGM
   2006-99   H4/2.5L      MT                                                       430           35                35 AGM
   2006-96   H4/2.5L      AT                                                       490           35                35 AGM
   2005-01   H6/3.0L                                                               490           35                35 AGM
   1999-97   H4/2.2L      AT                                                       490           35                35 AGM
   1999-95   H4/2.2L      Opt                                                      430           —                 —
   1999      H4/2.2L      AT, HD                                                   430           35                35 AGM
   1998-96   H4/2.5L      Opt                                                      430           35                35 AGM
   1998      H4/2.2L      MT                                                       430           35                35 AGM
   1997-96   H4/2.5L      MT                                                       355           35                35 AGM
   1997-95   H4/2.2L      MT                                                       355           35                35 AGM
   1996-95   H4/2.2L      AT, HD                                                   490           35                35 AGM
   1994-91   H4/2.2L      AT & Turbo                                               490           35                35 AGM
   1994-90   H4/2.2L                                                               550           35                35 AGM
   1994-90   H4/2.2L      MT, Ex Turbo                                             355           35                35 AGM
   1994-90   H4/2.2L      Opt                                                      430           35                35 AGM
   Subaru Loyale
   1994-91   H4/1.8L      MT                                                       305           25                —
   1994-90   H4/1.8L      AT                                                       420           25                —
   1990      H4/1.8L      MT                                                       310           25                —
   1990      H4/1.8L      Turbo, AT                                                490           24                —
   See page 151 for Footnotes. Selection may vary by warehouse.

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132                                              Automotive/Light Truck
  YEAR      ENGINE                     OPTIONS           ORIGINAL EQUIPMENT           GROUP SIZE                ALTERNATE SIZE
                                                             CCA/RATING                (NOTES)                     (NOTES)

Subaru Outback (See Legacy, Outback)
Subaru SVX
1997-92 H6/3.3L                                                 585           24                       —
Subaru Tribeca
2014-08 H6/3.6L                                                 490           35                       35 AGM
Subaru WRX
2020-19 H4/2.0L                                                 550           35                       35 AGM
2019-15 H4/2.0L                                                 390           35                       35 AGM
2014-13 H4/2.5L                                                 390           35                       35 AGM
Subaru WRX STI
2020-19   H4/2.5L                                               550           35                       35 AGM
2019-17   H4/2.5L                                               390           35                       35 AGM
2016      H4/2.5L                                               390           35 45                    35 AGM 45
2015      H4/2.5L                                               390           35 45                    35 AGM 45
2015-13   H4/2.5L                                               390           35                       35 AGM
2014-13   H4/2.5L                                               390           35                       35 AGM
Subaru XT
1991      H4/1.8L    AT                                         405           25                       —
1991      H6/2.7L    AT                                         490           25                       —
1991-90   H4/1.8L    MT                                         310           25                       —
1991-90   H6/2.7L    MT                                         350           25                       —
1990      H4/1.8L    AT, Ex Turbo                               490           25                       —
Subaru XV Crosstrek
2015-14 H4/2.0L      Hybrid                                                   —                        —
2015-13 H4/2.0L      Gas                                        390           35                       35 AGM
Sunbeam Tiger
1967-64 V8/4.3L      Ex Sport Sedan                             325           24                      —
1967-64 V8/4.3L      Opt                                        350           27                      —
1967    V8/4.7L      Ex Sport Sedan                             325           24                      —
Suzuki Aerio
2007-04 L4/2.3L                                                 700           24F                      24F AGM
2003-02 L4/2.0L                                                 700           24F                      24F AGM
Suzuki Equator
2012-09 L4/2.5L                                                 550           24F                      24F AGM
2012-09 V6/4.0L                                                 550           24F                      24F AGM
Suzuki Esteem
2002-99 L4/1.8L                                                 440           26R                      —
2001    L4/1.6L                                                 540           26R                      —
2000-95 L4/1.6L                                                 440           26R                      —
Suzuki Forenza
2008-04 L4/2.0L                                                 610           86 11                    — 11
Suzuki Grand Vitara
2013-09   L4/2.4L                                               700           24F                      24F AGM
2010-09   V6/3.2L                                               700           24F                      24F AGM
2008-06   V6/2.7L                                               700           24F                      24F AGM
2005-04   V6/2.5L                                               700           24F                      24F AGM
2003-99   V6/2.5L                                               550           —                        —
2001      V6/2.7L                                               550           24F                      24F AGM
Suzuki Kizashi
2013-10 L4/2.4L                                                 700           24F                      24F AGM
Suzuki Reno
2008-05 L4/2.0L                                                 610           86 11                    — 11
Suzuki Samurai
1995-90 L4/1.3L                                                 405           51                       —
Suzuki Sidekick
1998-96 L4/1.6L                                                 390           26R                      —
1998-96 L4/1.8L                                                 550           —                        —
1995-90 L4/1.6L                                                 405           51                       —
Suzuki Swift
2001-95   L4/1.3L                                               440           26R                      —
1994-92   L3/1.0L                                               435           51                       —
1994-90   L4/1.3L                                               435           51                       —
1993-92   L4/1.6L                                               435           51                       —
Suzuki Swift+
2009-04 L4/1.6L                                                 550           86                       —
Suzuki SX4, SX4 Crossover
2013-07 L4/2.0L                                                 700           24                       —
                                                                      See page 151 for Footnotes. Selection may vary by warehouse.

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Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 577Toyota
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   Automotive/Light Truck                                                                                                         133
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT            GROUP SIZE            ALTERNATE SIZE
                                                                                CCA/RATING                 (NOTES)                 (NOTES)

   Suzuki Verona
   2006-04 L6/2.5L                                                                 700           —                     —
   Suzuki Vitara
   2004      V6/2.5L                                                               600           —                     —
   2003-99   L4/2.0L                                                               550           —                     —
   2002      L4/1.6L                                                               540           26R                   —
   2001-99   L4/1.6L                                                               550           —                     —
   Suzuki X-90
   1998-96 L4/1.6L                                                                 440           26R                   —
   Suzuki XL7
   2009-07 V6/3.6L                                                                 650           —                     —
   2006-04 V6/2.7L                                                                 700           24F                   24F AGM
   2003-02 V6/2.7L                                                                 550           —                     —
   Toyota 4Runner
   2020-03   V6/4.0L                                                               585           24F                   24F AGM
   2010      L4/2.7L      HD or Cold Climate                                       710           27F                   —
   2010-96   L4/2.7L                                                               585           24F                   24F AGM
   2009-03   V6/4.0L      HD or Cold Climate                                       710           27F                   —
   2009-03   V8/4.7L                                                               585           24F                   24F AGM
   2009-03   V8/4.7L      HD or Cold Climate                                       710           27F                   —
   2002-01   V6/3.4L                                                               585           24F                   24F AGM
   2002-01   V6/3.4L      Opt                                                      710           27F                   —
   2000-96   V6/3.4L                                                               360           35                    35 AGM
   2000-96   V6/3.4L      Opt                                                      585           24F                   24F AGM
   1995-91   L4/2.4L                                                               360           25                    —
   1995-91   L4/2.4L      Opt                                                      585           24                    —
   1995-91   V6/3.0L                                                               360           25                    —
   1995-91   V6/3.0L      Opt                                                      585           24                    —
   1990      L4/2.4L                                                               350           25                    —
   1990      V6/3.0L                                                               585           24                    —
   Toyota 86
   2020-18 H4/2.0L                                                                 390           35                    35 AGM
   2017    H4/2.0L                                                                 355           35                    35 AGM
   Toyota Avalon
   2019      L4/2.5L      Hybrid                                                   355           H5 (47) 50            H5 (47) AGM 50
   2019      V6/3.5L                                                               605           H6 (48)               H6 (48) AGM
   2018-16   L4/2.5L      Hybrid                                                   355           —                     —
   2018-05   V6/3.5L                                                               585           24F                   24F AGM
   2016      L4/2.5L      Hybrid                                                   585           24F                   24F AGM
   2015      L4/2.5L      Hybrid                                                   355           —                     —
   2015      L4/2.5L      Hybrid, w/Mayday System                                  450           —                     —
   2015-05   V6/3.5L      Opt                                                      390           35                    35 AGM
   2014-13   L4/2.5L      Hybrid                                                   355           —                     —
   2014-13   L4/2.5L      Hybrid, w/Mayday System                                  450           —                     —
   2011-05   V6/3.5L      Alt                                                      310           35                    35 AGM
   2004-03   V6/3.0L                                                               585           24F                   24F AGM
   2004-03   V6/3.0L      Opt                                                      390           35                    35 AGM
   2002      V6/3.0L      US                                                       390           35                    35 AGM
   2002-95   V6/3.0L      Can & Opt                                                585           24F                   24F AGM
   2001-95   V6/3.0L      US                                                       360           35                    35 AGM
   Toyota Camry, Solara
   2019-18 L4/2.5L       Gas                                                       605           H6 (48)               H6 (48) AGM
   2019-18 L4/2.5L       Hybrid                                                    345           H5 (47) 50            H5 (47) AGM 50
   2019-18 L4/2.5L       Hybrid w/Moonroof                                         355           —                     —
   2019-18 V6/3.5L                                                                 605           H6 (48)               H6 (48) AGM
   2017-16 L4/2.5L       Hybrid w/Moonroof                                         450           —                     —
   2017-12 L4/2.5L       Gas                                                       585           24F                   24F AGM
   2017-12 L4/2.5L       Hybrid                                                    355           —                     —
   2017-07 V6/3.5L                                                                 585           24F                   24F AGM
   2015      L4/2.5L     Hybrid                                                    355           —                     —
   2015      L4/2.5L     Hybrid w/Moonroof                                         450           —                     —
   2011      L4/2.4L     Hybrid w/Moonroof                                         N/A           —                     —
   2011-10 L4/2.5L                                                                 585           24F                   24F AGM
   2010-07 L4/2.4L       Hybrid                                                    N/A           —                     —
   2009      L4/2.4L     Opt, w/o Cold Climate                                     390           35                    35 AGM
   2009-07 L4/2.4L       Hybrid                                                    N/A           —                     —
   2009-04 L4/2.4L       Gas                                                       585           24F                   24F AGM
   2008      L4/2.4L     Opt                                                       390           35                    35 AGM
   2008-07 V6/3.3L                                                                 585           24F                   24F AGM
   2008-02 L4/2.4L       Cold Climate                                              585           24F                   24F AGM
   2007-02 L4/2.4L                                                                 390           35                    35 AGM
   2006-05 V6/3.0L                                                                 585           24F                   24F AGM
   See page 151 for Footnotes. Selection may vary by warehouse.

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  YEAR       ENGINE                        OPTIONS        ORIGINAL EQUIPMENT             GROUP SIZE              ALTERNATE SIZE
                                                              CCA/RATING                  (NOTES)                   (NOTES)

Toyota Camry, Solara (continued)
2006-04   V6/3.0L     Cold Climate                               585           24F                     24F AGM
2006-04   V6/3.0L     w/o Cold Climate                           390           35                      35 AGM
2006-04   V6/3.3L     Cold Climate                               585           24F                     24F AGM
2006-04   V6/3.3L     w/o Cold Climate                           390           35                      35 AGM
2003-02   L4/2.4L                                                360           35                      35 AGM
2003-02   L4/2.4L     Opt                                        585           24F                     24F AGM
2003-02   L4/2.4L     US                                         360           35                      35 AGM
2003-02   V6/3.0L     US                                         390           35                      35 AGM
2003-01   V6/3.0L     Can & Opt                                  585           24F                     24F AGM
2002      V6/3.0L     Can or Opt                                 585           24F                     24F AGM
2001      L4/2.2L     Can & Opt                                  585           24F                     24F AGM
2001      L4/2.2L     US                                         360           35                      35 AGM
2001      V6/3.0L     US                                         360           35                      35 AGM
2000-95   V6/3.0L     Can & Cold Climate                         585           24F                     24F AGM
2000-92   L4/2.2L                                                360           35                      35 AGM
2000-92   L4/2.2L     Opt                                        585           24F                     24F AGM
2000-92   V6/3.0L                                                360           35                      35 AGM
1994-92   V6/3.0L     Opt                                        585           24F                     24F AGM
1991-90   L4/2.0L     Japan Production                           350           35                      35 AGM
1991-90   L4/2.0L     US                                         330           35                      35 AGM
1991-90   V6/2.5L     Japan Production                           350           35                      35 AGM
1991-90   V6/2.5L     US                                         330           35                      35 AGM
Toyota Celica
2005-00   L4/1.8L                                                310           35                       35 AGM
2004-02   L4/1.8L     Opt                                        360           35                       35 AGM
2001-94   L4/1.8L     Opt                                        420           35                       35 AGM
1999-95   L4/2.2L     Opt                                        420           35                       35 AGM
1999-92   L4/2.2L                                                360           35                       35 AGM
1997-94   L4/1.8L                                                360           35                       35 AGM
1993-92   L4/2.0L                                                360           35                       35 AGM
1993-92   L4/2.2L     Opt                                        490           24F                      24F AGM
1993-90   L4/1.6L                                                360           35                       35 AGM
1991-90   L4/2.2L                                                350           35                       35 AGM
1991-86   L4/2.0L     FWD                                        350           35                       35 AGM
Toyota C-HR
2019-18 L4/2.0L                                                  345           H5 (47)                  H5 (47) AGM
Toyota Corolla
2019      L4/2.0L                                                345           H5 (47)                  H5 (47) AGM
2019-18   L4/1.8L                                                360           35                       35 AGM
2017-09   L4/1.8L                                                355           35                       35 AGM
2012-11   L4/2.4L                                                585           24F                      24F AGM
2010-09   L4/2.4L                                                575           24F                      24F AGM
2008-06   L4/1.8L                                                420           35                       35 AGM
2005-04   L4/1.8L                                                310           35                       35 AGM
2003-95   L4/1.8L                                                360           35                       35 AGM
1997-95   L4/1.6L     Opt                                        310           35                       35 AGM
1996      L4/1.6L     Std Batt                                   360           35                       35 AGM
1994      L4/1.6L                                                310           35                       35 AGM
1994-93   L4/1.8L                                                310           35                       35 AGM
1994-93   L4/1.8L     Opt                                        360           35                       35 AGM
1994-90   L4/1.6L     Opt                                        350           35                       35 AGM
1993-91   L4/1.6L     Opt                                        310           35                       35 AGM
1993-90   L4/1.6L                                                310           35                       35 AGM
Toyota Corolla iM
2018-17 L4/1.8L                                                  355           35                       35 AGM
Toyota Cressida
1992-90 L6/3.0L                                                  450           27F                      —
Toyota Echo
2005-03   L4/1.5L                                                420           25                      —
2002      L4/1.5L     Can & Opt                                  360           25                      —
2002-00   L4/1.5L     US                                         310           25                      —
2001      L4/1.5L     Can & Opt                                  420           25                      —
Toyota FJ Cruiser
2014    V6/4.0L                                                  585           24F                      24F AGM
2013-11 V6/4.0L                                                  585           24F                      24F AGM
2010-07 V6/4.0L                                                  710           27F                      —
Toyota Highlander
2019    V6/3.5L       Gas w/Start/Stop                           585        24F 45                      24F AGM 45
2019-09 L4/2.7L                                                  585        24F                         24F AGM
2019-16 V6/3.5L       Hybrid                                     360        —                           —
                                                                       See page 151 for Footnotes. Selection may vary by warehouse.

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      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT         GROUP SIZE         ALTERNATE SIZE
                                                                                CCA/RATING              (NOTES)              (NOTES)

   Toyota Highlander (continued)
   2018-11   V6/3.5L      Gas                                                      585           24F                24F AGM
   2017      V6/3.5L      US, Gas                                                  585           24F                24F AGM
   2016      V6/3.5L      Hybrid                                                   585           24F                24F AGM
   2015-11   V6/3.5L      Hybrid                                                   360           —                  —
   2014-08   V6/3.5L                                                               585           24F                24F AGM
   2010-06   V6/3.3L      Hybrid                                                   435           51R                —
   2007-04   V6/3.3L                                                               585           24F                24F AGM
   2007-01   L4/2.4L                                                               585           24F                24F AGM
   2003-01   V6/3.0L                                                               585           24F                24F AGM
   Toyota Land Cruiser
   2019-13   V8/5.7L                                                               710           27F                —
   2011-08   V8/5.7L                                                               710           27F                —
   2007-01   V8/4.7L                                                               710           27F                —
   2000-98   V8/4.7L                                                               575           24F                24F AGM
   1997-93   L6/4.5L                                                               450           24F                24F AGM
   1997-93   L6/4.5L      Can & Opt                                                625           27F                —
   1992-90   L6/4.0L                                                               450           27                 —
   Toyota Matrix
   2013-09 L4/2.4L                                                                 575           24F                24F AGM
   2008-03 L4/1.8L                                                                 550           35                 35 AGM
   Toyota Mirai
   2019-18                Electric/Hydrogen                                        360           —                  —
   2017-16                Electric/Hydrogen                                        N/A           —                  —
   2016                                                                            N/A           —                  —
   Toyota MR2
   1995-93   L4/2.0L                                                               360           35                 35 AGM
   1995-93   L4/2.0L      Opt                                                      490           24F                24F AGM
   1995-93   L4/2.2L                                                               490           24F                24F AGM
   1992-91   L4/2.0L                                                               350           35                 35 AGM
   1992-91   L4/2.2L                                                               350           35                 35 AGM
   Toyota MR2 Spyder
   2005-00 L4/1.8L                                                                 430           51R                —
   Toyota Paseo
   1999-98   L4/1.5L                                                               550           25                 —
   1997-92   L4/1.5L                                                               310           25                 —
   1997      L4/1.5L      Opt                                                      360           25                 —
   1996-93   L4/1.5L      Opt                                                      410           25                 —
   1992      L4/1.5L      Can & Opt                                                350           25                 —
   Toyota Pickup, T100
   1998-95   V6/3.4L                                                               585           24F                24F AGM
   1998-94   L4/2.7L                                                               585           24F                24F AGM
   1995-91   L4/2.4L      Can & Opt                                                585           24                 —
   1995-91   L4/2.4L      US                                                       360           25                 —
   1995-91   V6/3.0L      Can & Opt                                                585           24                 —
   1995-91   V6/3.0L      US                                                       360           25                 —
   1990      L4/2.4L                                                               320           25                 —
   1990      L4/2.4L      Opt                                                      350           25                 —
   1990      V6/3.0L                                                               585           24                 —
   1990      V6/3.0L      Opt                                                      350           25                 —
   Toyota Previa
   1997-91 L4/2.4L                                                                 360           35                 35 AGM
   1997-91 L4/2.4L        Opt                                                      585           24F                24F AGM
   Toyota Prius
   2019-18   L4/1.8L      Hybrid                                                   295           —                  —
   2017-16   L4/1.8L      Hybrid                                                   480           —                  —
   2015-10   L4/1.8L      Hybrid                                                   325           —                  —
   2014      L4/1.8L      Plug in                                                  360           —                  —
   2009-04   L4/1.5L      HD, Opt or Smart Key                                     325           —                  —
   2009-04   L4/1.5L      w/o Smart Key                                            270           —                  —
   2003-01   L4/1.5L                                                               270           —                  —
   Toyota Prius AWD-e
   2019      L4/1.8L      Hybrid                                                   295           —                  —
   Toyota Prius c
   2019    L4/1.5L        Hybrid                                                   280           —                  —
   2017-12 L4/1.5L        Hybrid                                                   270           —                  —
   Toyota Prius Plug-In
   2015-12 L4/1.8L        Hybrid                                                   325           —                  —
   See page 151 for Footnotes. Selection may vary by warehouse.

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  YEAR       ENGINE                                              OPTIONS        ORIGINAL EQUIPMENT            GROUP SIZE             ALTERNATE SIZE
                                                                                    CCA/RATING                 (NOTES)                  (NOTES)

Toyota Prius Prime
2020-18 L4/1.8L       Hybrid                                                           295           —                        —
2017    L4/1.8L       Hybrid                                                           480           —                        —
Toyota Prius v
2018-12 L4/1.8L       Hybrid                                                           325           —                        —
Toyota RAV4
2019      L4/2.5L     Gas w/o Start/Stop                                               565           —                        H5 (47) AGM
2019      L4/2.5L     Hybrid w/Wireless /Smart door lock, Opt Audio                    345           H5 (47) 50               H5 (47) AGM 50
2019      L4/2.5L     Hybrid w/o Wireless /Smart door lock, Opt Audio                  285           —                        —
2019      L4/2.5L     Gas w/Start/Stop                                                 605           —                        —
2017      L4/2.5L     US, Gas                                                          355           35                       35 AGM
2017-16   L4/2.5L     Gas                                                              355           35                       35 AGM
2017-16   L4/2.5L     Hybrid                                                           355           —                        —
2015      L4/2.5L                                                                      355           35                       35 AGM
2014-12               Electric                                                         355           35 45                    35 AGM 45
2014      L4/2.5L                                                                      356           35                       35 AGM
2013-09   L4/2.5L                                                                      585           24F                      24F AGM
2012-06   V6/3.5L                                                                      585           24F                      24F AGM
2008-04   L4/2.4L                                                                      585           24F                      24F AGM
2003-01   L4/2.0L                                                                      420           35                       35 AGM
2000-96   L4/2.0L                                                                      360           35                       35 AGM
Toyota Sequoia
2019      V8/5.7L                                                                      710           27F                      —
2018-08   V8/5.7L                                                                      710           27F                      —
2012-10   V8/4.6L                                                                      710           27F                      —
2009-04   V8/4.7L                                                                      710           27F                      —
2003-02   V8/4.7L     Opt                                                              710           27F                      —
2003-01   V8/4.7L                                                                      585           24F                      24F AGM
2001      V8/4.7L     Opt                                                              650           27F                      —
Toyota Sienna
2019-07   V6/3.5L                                                                      585           24F                      24F AGM
2016      V6/3.5L                                                                      582           24F                      24F AGM
2013-11   L4/2.7L                                                                      585           24F                      24F AGM
2006-04   V6/3.3L                                                                      585           24F                      24F AGM
2003-02   V6/3.0L                                                                      360           35                       35 AGM
2003-02   V6/3.0L     Opt                                                              585           24F                      24F AGM
2001-98   V6/3.0L                                                                      585           24F                      24F AGM
Toyota Solara (See Camry, Solara)
Toyota Supra
1998-94   L6/3.0L     AT                                                               585           24F                      24F AGM
1998-93   L6/3.0L     MT                                                               490           24F                      24F AGM
1993      L6/3.0L     AT                                                               485           24F                      24F AGM
1992-90   L6/3.0L                                                                      450           27F                      —
Toyota T100 (See Pickup, T100)
Toyota Tacoma
2019-17   V6/3.5L                                                                      585           24F                     24F AGM
2019-95   L4/2.7L                                                                      585           24F                     24F AGM
2016      V6/3.5L                                                                      710           27F                     —
2015-09   V6/4.0L                                                                      710           27F                     —
2008-07   V6/4.0L     Cold Climate or TTPkg                                            710           27F                     —
2008-05   V6/4.0L                                                                      585           24F                     24F AGM
2006      V6/4.0L     HD & Cold Climate                                                710           27F                     —
2005      V6/4.0L     Cold Climate or TTPkg                                            710           27F                     —
2004      L4/2.4L                                                                      310           35                      35 AGM
2004      L4/2.7L                                                                      310           35                      35 AGM
2004      V6/3.4L                                                                      550           24F                     24F AGM
2003-01   L4/2.4L     Can & Opt                                                        585           24F                     24F AGM
2003-01   L4/2.4L     US                                                               360           35                      35 AGM
2003-01   L4/2.7L     Can & Opt                                                        585           24F                     24F AGM
2003-01   L4/2.7L     US                                                               360           35                      35 AGM
2003-01   V6/3.4L     Can & Opt                                                        585           24F                     24F AGM
2003-01   V6/3.4L     US                                                               360           35                      35 AGM
2000-95   L4/2.4L                                                                      360           35                      35 AGM
2000-95   L4/2.4L     Opt                                                              585           24F                     24F AGM
2000-95   V6/3.4L                                                                      360           35                      35 AGM
2000-95   V6/3.4L     Opt                                                              585           24F                     24F AGM
Toyota Tercel
1999-97   L4/1.5L     Opt                                                              360           25                       —
1999-91   L4/1.5L                                                                      310           25                       —
1996-93   L4/1.5L                                                                      360           25                       —
1996-93   L4/1.5L     Opt                                                              410           25                       —
                                                                                             See page 151 for Footnotes. Selection may vary by warehouse.

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      YEAR       ENGINE                                           OPTIONS       ORIGINAL EQUIPMENT               GROUP SIZE                           ALTERNATE SIZE
                                                                                    CCA/RATING                    (NOTES)                                (NOTES)

   Toyota Tercel (continued)
   1992-91 L4/1.5L        Opt                                                          350           25                                   —
   1990    L4/1.5L                                                                     310           35                                   35 AGM
   1990    L4/1.5L        Opt                                                          350           35                                   35 AGM
   Toyota Tundra
   2019-17   V8/4.6L      Opt                                                          710           27F                                  —
   2019-17   V8/5.7L                                                                   585           24F                                  24F AGM
   2019-17   V8/5.7L      Opt                                                          710           27F                                  —
   2019-10   V8/4.6L                                                                   585           24F                                  24F AGM
   2016      V8/5.7L                                                                   710           27F                                  —
   2015      V8/4.6L      Opt                                                          710           27F                                  —
   2015      V8/5.7L      Opt                                                          710           27F                                  —
   2015-07   V8/5.7L                                                                   585           24F                                  24F AGM
   2014-10   V8/4.6L      HD & Cold Climate                                            710           27F                                  —
   2014-08   V8/5.7L      HD & Cold Climate                                            710           27F                                  —
   2014-05   V6/4.0L                                                                   585           24F                                  24F AGM
   2014-05   V6/4.0L      HD & Cold Climate                                            710           27F                                  —
   2009-08   V8/4.7L      Opt                                                          710           27F                                  —
   2009-00   V8/4.7L                                                                   585           24F                                  24F AGM
   2006-02   V8/4.7L      HD & Cold Climate                                            710           27F                                  —
   2004-00   V6/3.4L      AT or HD                                                     585           24F                                  24F AGM
   2004-00   V6/3.4L      MT                                                           360           35                                   35 AGM
   2000      V8/4.7L      Opt                                                          650           27F                                  —
   Toyota Venza
   2016-09 L4/2.7L                                                                     585           24F                                  24F AGM
   2016-09 V6/3.5L                                                                     585           24F                                  24F AGM
   Toyota Yaris
   2019-17   L4/1.5L                                                                   355           H5 (47)                              H5 (47) AGM
   2016      L4/1.5L      Hatchback                                                    360           H5 (47)                              H5 (47) AGM
   2016      L4/1.5L      Sedan                                                        360           35                                   35 AGM
   2016-15   L4/1.5L      Sedan                                                        360           35 45                                35 AGM 45
   2014-06   L4/1.5L                                                                   360           —                                    —
   Volkswagen Arteon
   2020-19   L4/2.0L      PR Code J0N                                                  540           —                                    —
   2020-19   L4/2.0L      PR Code J0S                                                  540           —                                    —
   2020-19   L4/2.0L      PR Code J1D                                                  640           —                                    —
   2020-19   L4/2.0L      PR Code J0T                                                  680           —                                    —
   2020-19   L4/2.0L      PR Code J2D                                                  680           H6 (48) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
   2020-19   L4/2.0L      PR Code J0B                                                  850           H8 (49) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
   Volkswagen Atlas
   2020-19   L4/2.0L      PR Code J1L                                                  540           H5 (47) 55, 56, 58                   H5 (47) AGM 55, 56, 58
   2020-19   L4/2.0L      PR Code J2D                                                  680           H6 (48) AGM 33, 55, 56, 58           — 33, 55, 56, 58
   2020-19   L4/2.0L      PR Code J0T                                                  680           —                                    —
   2020-19   L4/2.0L      PR Code J0V, J0T                                             680           —                                    —
   2020-19   L4/2.0L      PR Code J1D                                                  640           —                                    —
   2020-19   V6/3.6L      PR Code J1D                                                  640           —                                    —
   2020-19   V6/3.6L      PR Code J0T                                                  680           —                                    —
   2020-19   V6/3.6L      PR Code J0V, J0T                                             680           —                                    —
   2020-19   V6/3.6L      PR Code J2D                                                  680           H6 (48) AGM 33, 55, 56, 58           — 33, 55, 56, 58
   2018      L4/2.0L      PR Code J1L                                                  540           H5 (47) 50, 54, 55, 56, 58           H5 (47) AGM 50, 54, 55, 56, 58
   2018      L4/2.0L      PR Code J0T                                                  680           —                                    —
   2018      L4/2.0L      PR Code J1D                                                  640           —                                    —
   2018      L4/2.0L      PR Code J2D                                                  680           H6 (48) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2018      V6/3.6L      PR Code J1L                                                  540           H5 (47) 50, 54, 55, 56, 58           H5 (47) AGM 50, 54, 55, 56, 58
   2018      V6/3.6L      PR Code J0T                                                  680           —                                    —
   2018      V6/3.6L      PR Code J1D                                                  640           —                                    —
   2018      V6/3.6L      PR Code J2D                                                  680           H6 (48) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   Volkswagen Atlas Cross Sport
   2020      V6/3.6L      PR Code J0V                                                  680           —                                    —
   2020      L4/2.0L      PR Code J0V                                                  680           —                                    —
   Volkswagen Beetle
   2019-18 L4/2.0L       PR Code J0N                                                   540           —                                    —
   2019-18 L5/2.5L       PR Code J0N                                                   540           —                                    —
   2019-17 L4/2.0L       PR Code J0S                                                   540           —                                    —
   2019-18 L5/2.5L       PR Code J0S                                                   540           —                                    —
   2019-18 L4/2.0L       PR Code J2D                                                   680           H6 (48) AGM 33, 55, 56, 58           — 33, 55, 56, 58
   2019-18 L5/2.5L       PR Code J2D                                                   680           H6 (48) AGM 33, 55, 56, 58           — 33, 55, 56, 58
   2019-18 L4/2.0L       PR Code J1D                                                   640           —                                    —
   2019-18 L5/2.5L       PR Code J1D                                                   640           —                                    —
   2019-18 L4/2.0L       PR Code J0T                                                   680           —                                    —
   2019-18 L5/2.5L       PR Code J0T                                                   680           —                                    —
   2017      L4/1.8L     PR Code J0S                                                   540           —                                    —
   See page 151 for Footnotes. Selection may vary by warehouse.             Note: PR codes are located on a tag near the spare tire or in the warranty booklet

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   YEAR       ENGINE                                                  OPTIONS             ORIGINAL EQUIPMENT               GROUP SIZE                        ALTERNATE SIZE
                                                                                              CCA/RATING                    (NOTES)                             (NOTES)

Volkswagen Beetle (continued)
2017-14    L4/1.8L      PR Code J0N                                                              540           —                                    —
2017-14    L4/1.8L      PR Code J0T                                                              680           —                                    —
2017-14    L4/1.8L      PR Code J1D                                                              640           —                                    —
2017-14    L4/1.8L      PR Code J1L                                                              480           H5 (47) 50, 54, 55, 56, 58           H5 (47) AGM 50, 54, 55, 56, 58
2017-14    L4/1.8L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2017-12    L4/2.0L      PR Code J0N                                                              540           —                                    —
2017-12    L4/2.0L      PR Code J0T                                                              680           —                                    —
2017-12    L4/2.0L      PR Code J1D                                                              640           —                                    —
2017-12    L4/2.0L      PR Code J1L                                                              480           H5 (47) 50, 54, 55, 56, 58           H5 (47) AGM 50, 54, 55, 56, 58
2017-12    L4/2.0L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2015       L4/2.0L      Dsl, PR Code J0N                                                         540           —                                    —
2015       L4/2.0L      PR Code J1L                                                             60 Ah          H5 (47) 50, 54, 55, 56, 58           H5 (47) AGM 50, 54, 55, 56, 58
2015-13    L4/2.0L      Dsl, PR Code J0T                                                         680           —                                    —
2015-13    L4/2.0L      Dsl, PR Code J1D                                                         640           —                                    —
2015-13    L4/2.0L      Dsl, PR Code J1L                                                         480           H5 (47) 50, 54, 55, 56, 58           H5 (47) AGM 50, 54, 55, 56, 58
2015-13    L4/2.0L      Dsl, PR Code J2D                                                         680           H6 (48) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2014-13    L4/2.0L      Dsl, PR Code J1L                                                         540           H5 (47) 50, 54, 55, 56, 58           H5 (47) AGM 50, 54, 55, 56, 58
2014-13    L4/2.0L      Dsl, PR Code J2D                                                        68 Ah          H6 (48) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
2014-11    L4/2.0L      PR Code J1L                                                              540           H5 (47) 50, 54, 55, 56, 58           H5 (47) AGM 50, 54, 55, 56, 58
2014-11    L4/2.0L      PR Code J2D, AGM                                                        68 Ah          H6 (48) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
2014-11    L5/2.5L      PR Code J0T                                                              680           —                                    —
2014-11    L5/2.5L      PR Code J1D                                                              640           —                                    —
2014-11    L5/2.5L      PR Code J1L                                                              480           H5 (47) 50, 54, 55, 56, 58           H5 (47) AGM 50, 54, 55, 56, 58
2014-11    L5/2.5L      PR Code J1L                                                              540           H5 (47) 50, 54, 55, 56, 58           H5 (47) AGM 50, 54, 55, 56, 58
2014-11    L5/2.5L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2014-11    L5/2.5L      PR Code J2D, AGM                                                         540           H6 (48) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2012       L4/2.0L      PR Code J1D                                                              680           —                                    —
2010-08    L5/2.5L      PR Code J1D                                                              540           —                                    —
2010-08    L5/2.5L      PR Code J1L                                                             60 Ah          H5 (47) 50, 55, 56, 58               H5 (47) AGM 50, 55, 56, 58
2010-06    L5/2.5L                                                                               540           —                                    —
2010-06    L5/2.5L      Opt                                                                      640           —                                    —
2007-06    L5/2.5L      PR Code J1L                                                              480           H5 (47) 50, 55, 56, 58               H5 (47) AGM 50, 55, 56, 58
2006       L4/1.9L      Turbo Dsl                                                                540           —                                    —
2006-05    L4/1.9L      Dsl                                                                      480           H5 (47) 50, 54, 55, 56               H5 (47) AGM 50, 54, 55, 56
2006       L4/1.9L      Turbo DSL, Opt                                                           640           —                                    —
2005-04    L4/1.8L                                                                               480           H5 (47) 50, 54                       H5 (47) AGM 50, 54
2005-98    L4/2.0L                                                                               480           H5 (47) 50, 54                       H5 (47) AGM 50, 54
2004-03    L4/1.8L      Turbo                                                                    640           —                                    —
2004-98    L4/1.9L      Dsl                                                                      640           —                                    —
2003       L4/1.8L                                                                               640           —                                    —
2002-00    L4/1.8L                                                                               480           H5 (47) 50, 54                       H5 (47) AGM 50, 54
1999       L4/1.8L                                                                               640           —                                    —
Volkswagen Cabrio, Cabriolet
2002-00    L4/2.0L                                                                               520           H5 (47)                              H5 (47) AGM
2002-00    L4/2.0L                                                                               540           —                                    —
1999-98    L4/2.0L                                                                               575           —                                    —
1997-95    L4/2.0L                                                                               460           —                                    —
1993-90    L4/1.8L                                                                               500           —                                    —
Volkswagen CC
2017-12    L4/2.0L                                                                               540           —                                    —
2017-12    L4/2.0L      Opt                                                                      640           —                                    —
2017-12    L4/2.0L      Opt                                                                      680           H6 (48) AGM 33, 50, 54, 55, 56       — 33, 50, 54, 55, 56
2017-12    L4/2.0L      Opt                                                                      760           — 50, 54, 55, 56                     H8 (49) AGM 50, 54, 55, 56
2017-12    L4/2.0L      Opt                                                                      680           —                                    —
2017-12    V6/3.6L                                                                               540           —                                    —
2017-12    V6/3.6L      Opt                                                                      640           —                                    —
2017-12    V6/3.6L      Opt                                                                      680           H6 (48) AGM 33, 50, 54, 55, 56       — 33, 50, 54, 55, 56
2017-12    V6/3.6L      Opt                                                                      760           — 50, 54, 55, 56                     H8 (49) AGM 50, 54, 55, 56
2017-12    V6/3.6L      Opt                                                                      680           —                                    —
2014-09    L4/2.0L      PR Code J1L                                                             60 Ah          H5 (47) 50, 55, 56, 58               H5 (47) AGM 50, 55, 56, 58
2014-09    L4/2.0L      PR Code JOL                                                             70 Ah          H6 (48) 50, 55, 56, 58               H6 (48) AGM 50, 55, 56, 58
2014-09    V6/3.6L      PR Code J1U                                                             95 Ah          — 50, 55, 58                         H8 (49) AGM 50, 55, 58
2011-09    L4/2.0L                                                                               480           H5 (47) 50, 54                       H5 (47) AGM 50, 54
2011-09    V6/3.6L                                                                               640           —                                    —
Volkswagen Corrado
1995-92 V6/2.8L                                                                                  460           —                                    —
1992-90 L4/1.8L                                                                                  460           —                                    —
Volkswagen e-Golf
2017-16                 Electric, PR Code J0S                                                    540         —                           —
2017-15                 Electric, PR Code J1P                                                    360         —                           —
2017-15                 Electric, PR Code J1L                                                    540         H5 (47) 50, 54, 55, 56, 58  H5 (47) AGM 50, 54, 55, 56, 58
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                      See page 151 for Footnotes. Selection may vary by warehouse.

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      YEAR       ENGINE                                           OPTIONS       ORIGINAL EQUIPMENT               GROUP SIZE                               ALTERNATE SIZE
                                                                                    CCA/RATING                    (NOTES)                                    (NOTES)

   Volkswagen e-Golf (continued)
   2017-15                Electric, PR Code J2D                                         680          H6 (48) AGM 33, 50, 54, 55, 56, 58       — 33, 50, 54, 55, 56, 58
   2015                   Electric, PR Code J0S                                         540          —                                        —
   Volkswagen Eos
   2016-15   L4/2.0L                                                                    540          —                                        —
   2016-15   L4/2.0L      Opt                                                           680          H6 (48) AGM 33, 50, 54, 55, 56           — 33, 50, 54, 55, 56
   2016-11   L4/2.0L      Opt                                                           680          —                                        —
   2016-07   L4/2.0L      Opt                                                           640          —                                        —
   2014-11   L4/2.0L      Opt, w/o AGM, PR Code J1D                                     640          —                                        —
   2014-11   L4/2.0L      PR Code J1L                                                   540          H5 (47) 50, 55, 56, 58                   H5 (47) AGM 50, 55, 56, 58
   2014-09   L4/2.0L      Opt, w/AGM, PR Code J2D                                       680          H6 (48) AGM 33, 50, 54, 55, 56, 58       — 33, 50, 54, 55, 56, 58
   2010      L4/2.0L      Opt                                                           680          H6 (48) AGM 33, 50, 54, 55, 56           — 33, 50, 54, 55, 56
   2010-07   L4/2.0L                                                                    540          —                                        —
   2010-07   L4/2.0L      PR Code J1L                                                  60 Ah         H5 (47) 50, 55, 56, 58                   H5 (47) AGM 50, 55, 56, 58
   2010-07   L4/2.0L      PR Code J1D                                                   640          —                                        —
   2010-07   L4/2.0L      PR Code JOL                                                  70 Ah         H6 (48) 50, 55, 56, 58                   H6 (48) AGM 50, 55, 56, 58
   2008-07   V6/3.2L      6V, AGM                                                       540          —                                        —
   Volkswagen EuroVan
   2003-00   V6/2.8L                                                                   575           —                                        —
   2002-00   V6/2.8L      Primary Bat                                                  575           —                                        —
   2002-99   V6/2.8L      Aux Bat                                                      570           27DC 31                                  — 31
   1999      V6/2.8L                                                                   460           —                                        —
   1997-93   L5/2.4L      Aux Bat                                                      570           27DC 31                                  — 31
   1997-93   L5/2.4L      Dsl                                                          575           —                                        —
   1997      V6/2.8L                                                                   460           —                                        —
   1996      L5/2.5L      Aux Bat                                                      570           27DC                                     —
   1996      L5/2.5L      Primary Bat                                                  575           —                                        —
   1995-92   L5/2.5L                                                                   460           —                                        —
   1994      L5/2.4L                                                                   460           —                                        —
   Volkswagen Fox
   1993    L4/1.8L                                                                     450           —                                        —
   1992-90 L4/1.8L                                                                     500           —                                        —
   Volkswagen e-Golf
   2020-18                Electric, PR Code J0S                                         540          —                                        —
   2020-18                Electric, PR Code J1L                                         540          H5 (47) 55, 56, 58                       H5 (47) AGM 55, 56, 58
   2020-18                Electric, PR Code J2D w/o Start/Stop                          680          H6 (48) AGM 33, 55, 56, 58               — 33, 55, 56, 58
   2020-18                Electric, PR Code J2D w/Start/Stop                            680          —                                        —
   Volkswagen Golf
   2020-19   L4/1.4L      PR Code J0S                                                  540           —                                        —
   2020-19   L4/1.4L      PR Code J0T                                                  680           —                                        —
   2020-19   L4/2.0L      PR Code J0S                                                  540           —                                        —
   2020-19   L4/2.0L      PR Code J0T                                                  680           —                                        —
   2020-19   L4/2.0L      PR Code J1D                                                  640           —                                        —
   2020-19   L4/2.0L      PR Code J2D                                                  680           H6 (48) AGM 33, 55, 56, 58               — 33, 55, 56, 58
   2020-18   L4/1.4L      PR Code J1D                                                  640           —                                        —
   2020-18   L4/1.4L      PR Code J2D                                                  680           H6 (48) AGM 33, 55, 56, 58               — 33, 55, 56, 58
   2018-17   L4/1.8L      PR Code J2D                                                  480           H6 (48) AGM 33, 50, 54, 55, 56, 58       — 33, 50, 54, 55, 56, 58
   2018-15   L4/1.8L      PR Code J1L                                                  540           H5 (47) 50, 54, 55, 56, 58               H5 (47) AGM 50, 54, 55, 56, 58
   2018-15   L4/1.8L      PR Code J0S                                                  540           —                                        —
   2018-15   L4/1.8L      PR Code J0T                                                  680           —                                        —
   2018-15   L4/1.8L      PR Code J1D                                                  640           —                                        —
   2017-15   L4/1.8L      PR Code J1P                                                  360           —                                        —
   2017-15   L4/1.8L      PR Code J2S                                                  480           —                                        —
   2016      L4/1.8L      PR Code J2D                                                  680           H6 (48) AGM 33, 50, 54, 55, 56, 58       — 33, 50, 54, 55, 56, 58
   2015      L4/1.8L      PR Code J2D                                                  680           H6 (48) AGM 33, 45, 50, 54, 55, 56, 58   — 33, 45, 50, 54, 55, 56, 58
   2015      L4/2.0L      Dsl, PR Code J0N, J1L                                        540           —                                        —
   2015      L4/2.0L      Dsl, PR Code J1D                                             640           —                                        —
   2015      L4/2.0L      Dsl, PR Code J1P                                             360           —                                        —
   2015      L4/2.0L      Dsl, PR Code J2D                                             680           H6 (48) AGM 33, 45, 50, 54, 55, 56, 58   — 33, 45, 50, 54, 55, 56, 58
   2015-14   L4/2.0L      Dsl, PR Code J0S                                             540           —                                        —
   2015-14   L4/2.0L      Dsl, PR Code J2S                                             480           —                                        —
   2015-13   L4/2.0L      Dsl, PR Code J0T                                             680           —                                        —
   2014      L4/2.0L      Dsl                                                          540           —                                        —
   2014      L4/2.0L      Dsl, Opt                                                     640           —                                        —
   2014      L5/2.5L      PR Code J0S                                                  540           —                                        —
   2014      L5/2.5L      PR Code J2S                                                  480           —                                        —
   2014-13   L5/2.5L      PR Code J0T                                                  680           —                                        —
   2014-12   L5/2.5L                                                                   540           —                                        —
   2014-12   L5/2.5L      Opt                                                          640           —                                        —
   2014-10   L5/2.5L      HD, PR Code J1D                                              640           —                                        —
   2014-10   L5/2.5L      PR Code J1L                                                  480           H5 (47) 50, 54, 58                       H5 (47) AGM 50, 54, 58
   2013-12   L4/2.0L      Dsl                                                          540           —                                        —
   See page 151 for Footnotes. Selection may vary by warehouse.             Note: PR codes are located on a tag near the spare tire or in the warranty booklet

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140                                                                                  Automotive/Light Truck
   YEAR       ENGINE                                                  OPTIONS             ORIGINAL EQUIPMENT               GROUP SIZE                           ALTERNATE SIZE
                                                                                              CCA/RATING                    (NOTES)                                (NOTES)

Volkswagen Golf (continued)
2013-12    L4/2.0L      Dsl, Opt                                                                 640           —                                    —
2013-12    L4/2.0L      Dsl, Opt                                                                 680           H6 (48) AGM 33, 50, 54, 55, 56       — 33, 50, 54, 55, 56
2013-12    L5/2.5L      Opt                                                                      680           H6 (48) AGM 33, 50, 54, 55, 56       — 33, 50, 54, 55, 56
2013-10    L4/2.0L      TDI, PR Code J1D                                                         640           —                                    —
2013-10    L4/2.0L      TDI, PR Code J1L                                                         480           H5 (47) 58                           H5 (47) AGM 58
2013       L4/2.0L      Gas                                                                      540           —                                    —
2013       L4/2.0L      Gas, HD PR Code J1D                                                      640           —                                    —
2013       L4/2.0L      Gas, Opt                                                                 640           —                                    —
2013       L4/2.0L      Gas, Opt                                                                 680           H6 (48) AGM 33, 50, 54, 55, 56       — 33, 50, 54, 55, 56
2013       L4/2.0L      Gas, PR Code J0T                                                         680           —                                    —
2013       L4/2.0L      Gas, PR Code J1L                                                         480           H5 (47) 58                           H5 (47) AGM 58
2012       L4/2.0L      Dsl, Opt                                                                 680           —                                    —
2012       L5/2.5L      Gas                                                                      540           —                                    —
2012       L5/2.5L      Gas, HD PR Code J1D                                                      640           —                                    —
2012       L5/2.5L      Gas, Opt                                                                 680           H6 (48) AGM 33, 50, 54, 55, 56       — 33, 50, 54, 55, 56
2012       L5/2.5L      Gas, PR Code J1L                                                         480           H5 (47) 58                           H5 (47) AGM 58
2012       L5/2.5L      Opt                                                                      680           —                                    —
2011-10    L4/2.0L      Dsl                                                                      540           —                                    —
2011-10    L5/2.5L                                                                               540           —                                    —
2006       L4/1.8L      PR Code J1L                                                              480           H5 (47) 50, 58                       H5 (47) AGM 50, 58
2006       L4/1.9L      PR Code J1D                                                              570           —                                    —
2006       L4/2.0L      PR Code J1L                                                              480           H5 (47) 50, 58                       H5 (47) AGM 50, 58
2005-04    L4/1.9L      Dsl, PR Code J0R                                                         640           H7 (94R) 50, 58                      H7 (94R) AGM 50, 58
2005-03    L4/1.8L      PR Code J1L                                                              540           H5 (47) 58                           H5 (47) AGM 58
2005-03    L4/2.0L      PR Code J1L                                                              540           H5 (47) 58                           H5 (47) AGM 58
2005-03    V6/2.8L                                                                               640           H7 (94R)                             H7 (94R) AGM
2004       V6/3.2L                                                                               480           H5 (47) 54                           H5 (47) AGM 54
2003-01    L4/1.9L      Dsl, PR Code J0N, J1L                                                    540           —                                    —
2002-00    L4/1.8L      PR Code J0N                                                              540           —                                    —
2002-00    L4/2.0L      PR Code J0N                                                              540           —                                    —
2002-00    V6/2.8L      PR Code J0N                                                              540           —                                    —
2001-99    L4/2.0L      PR Code J0L                                                              570           H6 (48) 50, 55, 56, 58               H6 (48) AGM 50, 55, 56, 58
2000       L4/1.9L                                                                               620           H7 (94R)                             H7 (94R) AGM
1999-98    L4/2.0L                                                                               575           —                                    —
1999-98    V6/2.8L                                                                               575           —                                    —
1999       L4/1.9L      Dsl                                                                      620           —                                    —
1998       L4/1.8L                                                                               575           —                                    —
1998       L4/1.9L      Dsl                                                                      575           —                                    —
1997       L4/1.8L                                                                               460           —                                    —
1997       L4/1.9L      Dsl                                                                      620           —                                    —
1997       L4/2.0L                                                                               460           —                                    —
1997       V6/2.8L                                                                               460           —                                    —
1996-95    V6/2.8L                                                                               575           —                                    —
1996-95    V6/2.8L      Opt                                                                      650           —                                    —
1996-93    L4/1.8L                                                                               575           —                                    —
1996-93    L4/1.9L      Opt                                                                      650           —                                    —
1996-93    L4/2.0L                                                                               575           —                                    —
1996-93    L4/2.0L      Opt                                                                      650           —                                    —
1996-90    L4/1.8L      Opt                                                                      650           —                                    —
1996       L4/1.9L      Turbo, DSL                                                               650           —                                    —
1995-93    L4/1.9L                                                                               575           —                                    —
1992-90    L4/1.6L                                                                               500           —                                    —
1992-90    L4/1.8L                                                                               500           —                                    —
1992-90    L4/2.0L                                                                               500           —                                    —
Volkswagen Golf Alltrack
2019-17    L4/1.8L      PR Code J0S                                                              540           —                                    —
2019-17    L4/1.8L      PR Code J0T                                                              680           —                                    —
2019-18    L4/1.8L      PR Code J1D                                                              640           —                                    —
2019-18    L4/1.8L      PR Code J2D                                                              680           H6 (48) AGM 33, 55, 56, 58           — 33, 55, 56, 58
2017       L4/1.8L      PR Code J0N                                                              540           —                                    —
2017       L4/1.8L      PR Code J1D                                                              640           —                                    —
2017       L4/1.8L      PR Code J1P                                                              360           —                                    —
2017       L4/1.8L      PR Code J2D                                                              480           H6 (48) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2017       L4/1.8L      PR Code J2S                                                              480           —                                    —
Volkswagen Golf City
2010-07 L4/2.0L         PR Code J1L                                                              540           H5 (47) 54, 58                       H5 (47) AGM 54, 58
Volkswagen Golf R
2019-18    L4/2.0L      PR Code J0S                                                              540        —                                  —
2019-18    L4/2.0L      PR Code J2D                                                              680        H6 (48) AGM 33, 55, 56, 58         — 33, 55, 56, 58
2019-18    L4/2.0L      PR Code J0T                                                              680        —                                  —
2019-18    L4/2.0L      PR Code J1D                                                              640        —                                  —
2017-16    L4/2.0L      PR Code J2D                                                              480        H6 (48) AGM 33, 50, 54, 55, 56, 58 — 33, 50, 54, 55, 56, 58
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                     See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                                     141
      YEAR       ENGINE                                           OPTIONS       ORIGINAL EQUIPMENT               GROUP SIZE                               ALTERNATE SIZE
                                                                                    CCA/RATING                    (NOTES)                                    (NOTES)

   Volkswagen Golf R (continued)
   2017-16   L4/2.0L      PR Code J0N                                                  540           —                                        —
   2017-16   L4/2.0L      PR Code J0S                                                  540           —                                        —
   2017-16   L4/2.0L      PR Code J0T                                                  680           —                                        —
   2017-16   L4/2.0L      PR Code J1D                                                  640           —                                        —
   2017-16   L4/2.0L      PR Code J1P                                                  360           —                                        —
   2017-16   L4/2.0L      PR Code J2S                                                  480           —                                        —
   2015      L4/2.0L      Gas, PR Code J0S                                             540           —                                        —
   2015      L4/2.0L      Gas, PR Code J0T                                             680           —                                        —
   2015      L4/2.0L      Gas, PR Code J1D                                             640           —                                        —
   2015      L4/2.0L      Gas, PR Code J0N                                             540           —                                        —
   2015      L4/2.0L      Gas, PR Code J1P                                             360           —                                        —
   2015      L4/2.0L      Gas, PR Code J2S                                             480           —                                        —
   2015      L4/2.0L      Gas, PR Code J2D                                             680           H6 (48) AGM 33, 45, 50, 54, 55, 56, 58   — 33, 45, 50, 54, 55, 56, 58
   2013-12   L4/2.0L      Gas                                                          540           —                                        —
   2013-12   L4/2.0L      Gas, Opt                                                     640           —                                        —
   2013-12   L4/2.0L      Gas, Opt                                                     680           H6 (48) AGM 33, 50, 54, 55, 56           — 33, 50, 54, 55, 56
   Volkswagen Golf SportWagen
   2019      L4/1.4L      PR Code J0S                                                  540           —                                        —
   2019      L4/1.4L      PR Code J1D                                                  640           —                                        —
   2019      L4/1.4L      PR Code J0T                                                  680           —                                        —
   2019-15   L4/1.8L      PR Code J1D                                                  640           —                                        —
   2019-15   L4/1.8L      PR Code J0T                                                  680           —                                        —
   2019-15   L4/1.8L      PR Code J0S                                                  540           —                                        —
   2017-15   L4/1.8L      PR Code J0N                                                  540           —                                        —
   2017-15   L4/1.8L      PR Code J2S                                                  480           —                                        —
   2015      L4/2.0L      Dsl, PR Code J0N                                             540           —                                        —
   2015      L4/2.0L      Dsl, PR Code J0S                                             540           —                                        —
   2015      L4/2.0L      Dsl, PR Code J0T                                             680           —                                        —
   2015      L4/2.0L      Dsl, PR Code J1D                                             640           —                                        —
   2015      L4/2.0L      Dsl, PR Code J2S                                             480           —                                        —
   Volkswagen GTI
   2020-19   L4/2.0L      PR Code J0S                                                  540           —                                        —
   2020-18   L4/2.0L      PR Code J0T                                                  680           —                                        —
   2020-18   L4/2.0L      PR Code J1D                                                  640           —                                        —
   2020-18   L4/2.0L      PR Code J2D                                                  680           H6 (48) AGM 33, 55, 56, 58               — 33, 55, 56, 58
   2017      L4/2.0L      PR Code J2D                                                  480           H6 (48) AGM 33, 50, 54, 55, 56, 58       — 33, 50, 54, 55, 56, 58
   2017-15   L4/2.0L      PR Code J0N                                                  540           —                                        —
   2017-15   L4/2.0L      PR Code J1D                                                  640           —                                        —
   2017-15   L4/2.0L      PR Code J1P                                                  360           —                                        —
   2017-14   L4/2.0L      PR Code J0S                                                  540           —                                        —
   2017-14   L4/2.0L      PR Code J2S                                                  480           —                                        —
   2017-13   L4/2.0L      PR Code J0T                                                  680           —                                        —
   2016      L4/2.0L      PR Code J2D                                                  680           H6 (48) AGM 33, 50, 54, 55, 56, 58       — 33, 50, 54, 55, 56, 58
   2016-15   L4/2.0L                                                                   540           —                                        —
   2015      L4/2.0L      PR Code J2D                                                  680           H6 (48) AGM 33, 45, 50, 54, 55, 56, 58   — 33, 45, 50, 54, 55, 56, 58
   2014-12   L4/2.0L      Opt                                                          640           —                                        —
   2014-11   L4/2.0L                                                                   540           —                                        —
   2014-11   L4/2.0L      Opt                                                          570           H6 (48) 54                               H6 (48) AGM 54
   2013-12   L4/2.0L                                                                   540           —                                        —
   2013-12   L4/2.0L      Opt                                                          680           H6 (48) AGM 33, 50, 54, 55, 56           — 33, 50, 54, 55, 56
   2012      L4/2.0L      Opt                                                          680           —                                        —
   2011      L4/2.0L                                                                   540           —                                        —
   2011      L4/2.0L      Opt                                                          570           H6 (48) 50, 54                           H6 (48) AGM 50, 54
   2010-09   L4/2.0L                                                                   570           H6 (48) 54                               H6 (48) AGM 54
   2008-06   L4/2.0L                                                                   540           H6 (48) 54                               H6 (48) AGM 54
   Volkswagen Jetta
   2020-19   L4/2.0L      PR Code J0T                                                  680           —                                        —
   2020-19   L4/2.0L      PR Code J1D                                                  640           —                                        —
   2020-19   L4/2.0L      PR Code J2D                                                  680           H6 (48) AGM 33, 55, 56, 58               — 33, 55, 56, 58
   2020-19   L4/2.0L      PR Code J0N                                                  540           —                                        —
   2020-19   L4/2.0L      PR Code J0S                                                  540           —                                        —
   2020-19   L4/1.4L      PR Code J1D                                                  640           —                                        —
   2020-18   L4/1.4L      PR Code J0N                                                  540           —                                        —
   2020-18   L4/1.4L      PR Code J0S                                                  540           —                                        —
   2020-18   L4/1.4L      PR Code J0T                                                  680           —                                        —
   2020-18   L4/1.4L      PR Code J2D                                                  680           H6 (48) AGM 33, 55, 56, 58               — 33, 55, 56, 58
   2018-14   L4/1.8L      PR Code J0N                                                  540           —                                        —
   2018-14   L4/1.8L      PR Code J0S                                                  540           —                                        —
   2018-14   L4/1.8L      PR Code J0T                                                  680           —                                        —
   2018-14   L4/1.8L      PR Code J1D                                                  640           —                                        —
   2018-14   L4/1.8L      PR Code J2D                                                  680           H6 (48) AGM 33, 55, 56, 58               — 33, 55, 56, 58
   2017      L4/1.4L      PR Code J2D                                                  680           H6 (48) AGM 33, 55, 56, 58               — 33, 55, 56, 58
   See page 151 for Footnotes. Selection may vary by warehouse.             Note: PR codes are located on a tag near the spare tire or in the warranty booklet

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   YEAR       ENGINE                                                  OPTIONS             ORIGINAL EQUIPMENT           GROUP SIZE                   ALTERNATE SIZE
                                                                                              CCA/RATING                (NOTES)                        (NOTES)

Volkswagen Jetta (continued)
2017       L4/1.4L      Opt                                                                      540         —                                  —
2017       L4/2.0L      PR Code J2D                                                              680         H6 (48) AGM 33, 50, 54, 55, 56, 58 — 33, 50, 54, 55, 56, 58
2017       L4/2.0L      Opt                                                                      540         —                                  —
2017-16    L4/1.4L                                                                               480         H6 (48) 50, 54, 55, 56             H6 (48) AGM 50, 54, 55, 56
2017-16    L4/1.4L      Opt                                                                      540         —                                  —
2017-16    L4/1.4L      PR Code J1D                                                              640         —                                  —
2017-16    L4/1.4L      PR Code J0T                                                              680         —                                  —
2017-16    L4/2.0L      Opt                                                                      680         —                                  —
2017-15    L4/2.0L                                                                               480         H6 (48) 50, 54, 55, 56             H6 (48) AGM 50, 54, 55, 56
2017-15    L4/2.0L      Opt                                                                      540         —                                  —
2017-15    L4/2.0L      Opt                                                                      640         —                                  —
2016       L4/1.4L      Opt                                                                      680         H6 (48) AGM 33, 50, 54, 55, 56     — 33, 50, 54, 55, 56
2016       L4/1.4L      PR Code J0S                                                              540         —                                  —
2016       L4/2.0L      PR Code J0S                                                              540         —                                  —
2016-15    L4/2.0L      Opt                                                                      680         H6 (48) AGM 33, 50, 54, 55, 56     — 33, 50, 54, 55, 56
2015       L4/1.4L      Hybrid                                                                   480         H6 (48) 50, 54, 55, 56             H6 (48) AGM 50, 54, 55, 56
2015       L4/1.4L      Hybrid, Opt                                                              540         —                                  —
2015       L4/1.4L      Hybrid, Opt                                                              640         —                                  —
2015       L4/1.4L      Hybrid, Opt                                                              680         H6 (48) AGM 33, 50, 54, 55, 56     — 33, 50, 54, 55, 56
2015       L4/1.4L      Hybrid, Opt                                                              680         —                                  —
2015       L4/1.4L      Hybrid, PR Code J0S                                                      540         —                                  —
2015       L4/2.0L      Dsl                                                                      480         H6 (48) 50, 54, 55, 56             H6 (48) AGM 50, 54, 55, 56
2015       L4/2.0L      Dsl, Opt                                                                 540         —                                  —
2015       L4/2.0L      Opt                                                                      680         —                                  —
2015       L4/2.0L      PR Code J0S                                                              540         —                                  —
2015-12    L4/2.0L      Dsl, PR Code J0S                                                         540         —                                  —
2015-11    L4/2.0L      Dsl, Opt                                                                 640         —                                  —
2015-11    L4/2.0L      Dsl, Opt                                                                 680         H6 (48) AGM 33, 50, 54, 55, 56     — 33, 50, 54, 55, 56
2015-11    L4/2.0L      Dsl, Opt                                                                 680         —                                  —
2014       L4/1.4L      Opt                                                                      570         H6 (48) 50, 54                     H6 (48) AGM 50, 54
2014-13    L4/1.4L      Hybrid                                                                   540         —                                  —
2014-13    L4/1.4L      Opt                                                                      640         —                                  —
2014-13    L4/1.4L      Opt                                                                      680         H6 (48) AGM 33, 50, 54, 55, 56     — 33, 50, 54, 55, 56
2014-13    L4/1.4L      Opt                                                                      680         —                                  —
2014-13    L4/1.4L      PR Code J0S                                                              540         —                                  —
2014-12    L4/2.0L      Gas, PR Code J0S                                                         540         —                                  —
2014-12    L5/2.5L      PR Code J0S                                                              540         —                                  —
2014-11    L4/2.0L      Dsl                                                                      540         —                                  —
2014-11    L4/2.0L      Gas, Opt                                                                 640         —                                  —
2014-11    L4/2.0L      Gas, Opt                                                                 680         H6 (48) AGM 33, 50, 54, 55, 56     — 33, 50, 54, 55, 56
2014-11    L4/2.0L      Gas, Opt                                                                 680         —                                  —
2014-11    L5/2.5L      Opt                                                                      640         —                                  —
2014-11    L5/2.5L      Opt                                                                      680         H6 (48) AGM 33, 50, 54, 55, 56     — 33, 50, 54, 55, 56
2014-11    L5/2.5L      Opt                                                                      680         —                                  —
2014-09    L4/2.0L      TDI                                                                      540         —                                  —
2014-09    L4/2.0L      TDI, Opt, PR Code J0L                                                    570         H6 (48) 50, 55, 56, 58             H6 (48) AGM 50, 55, 56, 58
2014-08    L4/2.0L                                                                               540         —                                  —
2014-08    L4/2.0L      Gas, Opt                                                                 570         H6 (48) AGM                        —
2014-06    L5/2.5L                                                                               540         —                                  —
2014-05    L5/2.5L      Opt                                                                      570         —                                  —
2011       L4/2.0L      Dsl, Opt                                                                 540         —                                  —
2011       L4/2.0L      Gas, Opt                                                                 540         —                                  —
2011       L5/2.5L      Opt                                                                      540         —                                  —
2010-09    L4/1.8L      PR Code J1P                                                              360         —                                  —
2010-09    L4/1.8L      PR Code J0N                                                              540         —                                  —
2010-08    L4/2.0L      Gas                                                                      540         —                                  —
2010-08    L4/2.0L      Gas, Opt                                                                 570         H6 (48) 50, 54                     H6 (48) AGM 50, 54
2009       L4/2.0L      Dsl & Opt                                                               80 Ah        H7 (94R)                           H7 (94R) AGM
2009       L4/2.0L      Dsl, Opt                                                                 640         H7 (94R) 50, 54                    H7 (94R) AGM 50, 54
2009-08    L4/2.0L      Gas, Opt                                                                 640         H7 (94R) 50, 54                    H7 (94R) AGM 50, 54
2009-08    L4/2.0L      PR Code J0L                                                              570         H6 (48)                            H6 (48) AGM
2009-08    L4/2.0L      PR Code J0R                                                             80 Ah        H7 (94R)                           H7 (94R) AGM
2009-06    L5/2.5L      PR Code J0L                                                              570         H6 (48)                            H6 (48) AGM
2009-06    L5/2.5L      PR Code J0R                                                             80 Ah        H7 (94R)                           H7 (94R) AGM
2009-05    L5/2.5L      Opt                                                                      640         H7 (94R) 50, 54                    H7 (94R) AGM 50, 54
2007       L4/2.0L                                                                               540         —                                  —
2007       L4/2.0L      Opt                                                                      570         H6 (48) 50, 54                     H6 (48) AGM 50, 54
2007       L4/2.0L      Opt                                                                      640         H7 (94R)  50, 54
                                                                                                                                                H7 (94R) AGM 50, 54
2007-06    L4/2.0L      PR Code J0L                                                              570         H6 (48) 50                         H6 (48) AGM 50
2007-05    L4/2.0L      Gas, Opt                                                                80 Ah        H7 (94R)                           H7 (94R) AGM
2006       L4/1.9L      Dsl                                                                      540         —                                  —
2006       L4/1.9L      Dsl, PR Code J0L                                                        70 Ah        H6 (48) 50                         H6 (48) AGM 50
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                      See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                  143
      YEAR       ENGINE                                           OPTIONS       ORIGINAL EQUIPMENT             GROUP SIZE                ALTERNATE SIZE
                                                                                    CCA/RATING                  (NOTES)                     (NOTES)

   Volkswagen Jetta (continued)
   2006      L4/2.0L      Turbo                                                         540          —                           —
   2006      L4/2.0L      Turbo, Opt                                                    570          H6 (48) 50, 54              H6 (48) AGM 50, 54
   2006      L4/2.0L      Turbo, Opt                                                    640          H7 (94R) 50, 54             H7 (94R) AGM 50, 54
   2006-05   L4/1.9L      Dsl, Opt                                                      570          H6 (48) 50, 54              H6 (48) AGM 50, 54
   2006-98   L4/1.9L      Dsl, Opt                                                      640          H7 (94R) 50, 54             H7 (94R) AGM 50, 54
   2005      L4/1.8L      Late                                                          540          —                           —
   2005      L4/1.9L      Dsl, Early                                                    520          H5 (47) 50, 54              H5 (47) AGM 50, 54
   2005      L4/1.9L      Dsl, Late                                                     540          —                           —
   2005      L4/2.0L      Early                                                         520          H5 (47) 50, 54              H5 (47) AGM 50, 54
   2005      L4/2.0L      Late                                                          540          —                           —
   2005      L4/2.0L      Opt                                                           570          H6 (48) 50, 54              H6 (48) AGM 50, 54
   2005      L5/2.5L      Early                                                         520          H5 (47) 50, 54              H5 (47) AGM 50, 54
   2005      L5/2.5L      Late                                                          540          —                           —
   2005      L5/2.5L      Opt                                                           540          H6 (48) 50, 54              H6 (48) AGM 50, 54
   2005      L5/2.5L      PR Code J1L                                                  60 Ah         H5 (47)                     H5 (47) AGM
   2005-03   L4/1.8L      Opt                                                           570          H6 (48)                     H6 (48) AGM
   2005-03   L4/1.8L      PR Code J1L                                                  60 Ah         H5 (47)                     H5 (47) AGM
   2005-03   L4/1.8L      Wagon, Opt                                                    640          H7 (94R)                    H7 (94R) AGM
   2005-03   L4/1.9L      PR Code J1L                                                  60 Ah         H5 (47)                     H5 (47) AGM
   2005-03   L4/1.9L      TDI                                                           640          H7 (94R)                    H7 (94R) AGM
   2005-03   L4/2.0L      PR Code J1L                                                  60 Ah         H5 (47)                     H5 (47) AGM
   2005-01   L4/2.0L      Opt Incl Wagon                                                640          H7 (94R)                    H7 (94R) AGM
   2005-00   L4/1.8L                                                                    520          H5 (47)                     H5 (47) AGM
   2004      L4/2.0L                                                                    520          H5 (47) 50, 54              H5 (47) AGM 50, 54
   2004      V6/2.8L      Wagon, Opt                                                    640          H7 (94R)                    H7 (94R) AGM
   2004-03   V6/2.8L                                                                    520          H5 (47) 50, 54              H5 (47) AGM 50, 54
   2004-02   V6/2.8L      Opt                                                           640          H7 (94R)                    H7 (94R) AGM
   2004-98   L4/1.9L      Dsl                                                           520          H5 (47) 50, 54              H5 (47) AGM 50, 54
   2003-00   L4/2.0L                                                                    520          H5 (47)                     H5 (47) AGM
   2002      L4/1.8L      Opt                                                           640          H7 (94R)                    H7 (94R) AGM
   2002      L4/1.9L      TDI, Wagon, Opt                                              72 Ah         —                           —
   2002      L4/2.0L      Wagon, Opt                                                   72 Ah         —                           —
   2002-00   L4/1.9L      Dsl & Opt                                                     620          H7 (94R)                    H7 (94R) AGM
   2002-00   V6/2.8L                                                                    520          H5 (47)                     H5 (47) AGM
   2002-98   L4/1.9L      Dsl, Opt                                                      570          H6 (48) 50, 54              H6 (48) AGM 50, 54
   2002-98   L4/2.0L      Opt                                                           570          H6 (48) 50, 54              H6 (48) AGM 50, 54
   2002-98   V6/2.8L      Opt                                                           570          H6 (48) 50, 54              H6 (48) AGM 50, 54
   2001      L4/1.8L      Opt, Cold Climate                                             760          — 50, 54                    H8 (49) AGM 50, 54
   2001      L4/1.8L      Wagon, Opt                                                    640          H7 (94R)                    H7 (94R) AGM
   2001      L4/1.9L      Dsl, Opt, Cold Climate                                        760          — 50, 54                    H8 (49) AGM 50, 54
   2001      L4/2.0L      Opt, Cold Climate                                             760          — 50, 54                    H8 (49) AGM 50, 54
   2001      L4/2.0L      Wagon                                                        95 Ah         —                           H8 (49) AGM
   2001      V6/2.8L      Opt, Cold Climate                                             760          — 50, 54                    H8 (49) AGM 50, 54
   2001      V6/2.8L      Wagon                                                        95 Ah         —                           H8 (49) AGM
   2001      V6/2.8L      Wagon, Opt                                                    640          H7 (94R)                    H7 (94R) AGM
   2000      L4/1.8L      Opt                                                           640          H7 (94R) 50, 54             H7 (94R) AGM 50, 54
   2000-98   L4/2.0L      Opt                                                           640          H7 (94R) 50, 54             H7 (94R) AGM 50, 54
   2000-98   V6/2.8L      Opt                                                           640          H7 (94R) 50, 54             H7 (94R) AGM 50, 54
   1999-98   L4/1.9L      Dsl                                                           575          —                           —
   1999-98   L4/2.0L                                                                    520          H5 (47) 50, 54              H5 (47) AGM 50, 54
   1999-98   L4/2.0L                                                                    575          —                           —
   1999-98   V6/2.8L                                                                    520          H5 (47) 50, 54              H5 (47) AGM 50, 54
   1999-98   V6/2.8L                                                                    575          —                           —
   1997      L4/1.9L      Dsl                                                           620          —                           —
   1997      L4/2.0L                                                                    460          —                           —
   1997      V6/2.8L                                                                    460          —                           —
   1996      L4/1.9L      Dsl                                                           575          —                           —
   1996      V6/2.8L      Opt                                                           575          —                           —
   1996-94   V6/2.8L                                                                    575          —                           —
   1996-93   L4/1.9L      Dsl                                                           650          —                           —
   1996-93   L4/2.0L                                                                    575          —                           —
   1996-93   L4/2.0L      Opt                                                           650          —                           —
   1995-93   L4/1.8L                                                                    575          —                           —
   1995      V6/2.8L      Opt                                                           650          —                           —
   1994      V6/2.8L      Opt                                                           575          —                           —
   1992-90   L4/1.6L      Dsl                                                           650          —                           —
   1992-90   L4/1.8L                                                                    500          —                           —
   1992-90   L4/2.0L                                                                    500          —                           —
   Volkswagen Jetta City
   2009-07 L4/2.0L                                                                     540           —                           —
   2009-07 L4/2.0L        Opt                                                          570           H6 (48) 50, 54              H6 (48) AGM 50, 54
   2009-07 L4/2.0L        Opt                                                          640           H7 (94R) 50, 54             H7 (94R) AGM 50, 54
   See page 151 for Footnotes. Selection may vary by warehouse.             Note: PR codes are located on a tag near the spare tire or in the warranty booklet

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   YEAR       ENGINE                                                  OPTIONS             ORIGINAL EQUIPMENT               GROUP SIZE                    ALTERNATE SIZE
                                                                                              CCA/RATING                    (NOTES)                         (NOTES)

Volkswagen Jetta City (continued)
2009-07 L4/2.0L         PR Code J0R                                                              640           H7 (94R)                         H7 (94R) AGM
2009-07 L4/2.0L         PR Code J0L                                                              570           H6 (48) 50, 55, 56, 58           H6 (48) AGM 50, 55, 56, 58
2008    L4/2.0L                                                                                  640           H7 (94R)                         H7 (94R) AGM
Volkswagen Passat
2020-18    L4/2.0L      PR Code J0N                                                              540           —                                —
2020-18    L4/2.0L      PR Code J1D                                                              640           —                                —
2020-18    L4/2.0L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 55, 56, 58   — 33, 50, 55, 56, 58
2020-18    L4/2.0L      PR Code J1U                                                              760           — 50, 55, 56, 58                 H8 (49) AGM 50, 55, 56, 58
2018       L5/2.5L      PR Code J0N                                                              540           —                                —
2018       L5/2.5L      PR Code J1D                                                              640           —                                —
2018       L5/2.5L      PR Code J2D                                                              680           H6 (48) AGM 33, 50, 55, 56, 58   — 33, 50, 55, 56, 58
2018       L5/2.5L      PR Code J1U                                                              760           — 50, 55, 56, 58                 H8 (49) AGM 50, 55, 56, 58
2017-16    L4/1.8L      PR Code J0N                                                              540           —                                —
2017-16    L4/1.8L      PR Code J1D                                                              640           —                                —
2018-16    V6/3.6L      PR Code J0N                                                              540           —                                —
2018-16    V6/3.6L      PR Code J1D                                                              640           —                                —
2018-16    V6/3.6L      PR Code J1U                                                              760           — 50, 55, 56, 58                 H8 (49) AGM 50, 55, 56, 58
2015       L4/2.0L      Dsl, PR Code J1D                                                         640           —                                —
2015       L4/2.0L      Dsl, PR Code J1U                                                         760           — 50, 54, 55, 56                 H8 (49) AGM 50, 54, 55, 56
2015-14    L4/1.8L      PR Code J0N                                                              540           —                                —
2015-14    L4/1.8L      Dsl, PR Code J1D                                                         640           —                                —
2015-14    L4/1.8L      Dsl, PR Code J1U                                                         760           — 50, 54, 55, 56                 H8 (49) AGM 50, 54, 55, 56
2015-12    L4/2.0L      Dsl, PR Code J0N                                                         540           —                                —
2014       L4/2.0L      PR Code J1D                                                              640           —                                —
2014       L4/2.0L      PR Code J1U                                                              760           — 50, 54, 55, 56                 H8 (49) AGM 50, 54, 55, 56
2014-12    L5/2.5L      PR Code J0N                                                              540           —                                —
2014-12    L5/2.5L      PR Code J1D                                                              640           —                                —
2014-12    L5/2.5L      PR Code J1U                                                              760           — 50, 54, 55, 56                 H8 (49) AGM 50, 54, 55, 56
2014-12    V6/3.6L      PR Code J0N                                                              540           —                                —
2014-12    V6/3.6L      PR Code J1D                                                              640           —                                —
2014-12    V6/3.6L      PR Code J1U                                                              760           — 50, 54, 55, 56                 H8 (49) AGM 50, 54, 55, 56
2013-12    L4/2.0L      Dsl, PR Code J1D                                                         640           —                                —
2013-12    L4/2.0L      Dsl, PR Code J1U                                                         760           — 50, 54, 55, 56                 H8 (49) AGM 50, 54, 55, 56
2010-08    L4/2.0L                                                                               480           H5 (47) 54                       H5 (47) AGM 54
2010-08    V6/3.6L                                                                               640           —                                —
2010-08    V6/3.6L      PR Code J1D                                                             72 Ah          —                                —
2010-06    L4/2.0L                                                                               480           H5 (47) 50, 54                   H5 (47) AGM 50, 54
2010-06    L4/2.0L      Opt                                                                     72 Ah          —                                —
2009-06    L4/2.0L      Syn/4 Mot, AGM, Opt                                                     92 Ah          H8 (49) AGM 33                   — 33
2009-06    V6/3.6L      Syn/4 Mot, AGM                                                          68 Ah          H6 (48) AGM 33                   — 33
2009-06    V6/3.6L      Syn/4 Mot, AGM, HD                                                      92 Ah          H8 (49) AGM 33                   — 33
2008-07    V6/3.6L      Wagon                                                                   68 Ah          H6 (48) AGM 33                   — 33
2008-07    V6/3.6L      Wagon, Opt                                                              92 Ah          H8 (49) AGM 33                   — 33
2008-06    V6/3.6L      Sedan                                                                   95 Ah          —                                H8 (49) AGM
2007       L4/2.0L                                                                               480           H5 (47)                          H5 (47) AGM
2007       V6/3.6L                                                                               640           —                                —
2006       L4/2.0L                                                                               480           H5 (47) 54                       H5 (47) AGM 54
2006       V6/3.6L                                                                               640           —                                —
2005       L4/1.8L                                                                               570           H6 (48) 50                       H6 (48) AGM 50
2005       L4/1.8L      Ex 4 Motion                                                              740           — 50                             H8 (49) AGM 50
2005       L4/2.0L                                                                               640           H7 (94R) 54                      H7 (94R) AGM 54
2005-04    V6/2.8L      Ex 4 Motion                                                              570           H6 (48) 50                       H6 (48) AGM 50
2005-03    V6/2.8L      4 Motion, HD, PR Code J0R                                                640           H7 (94R) 50, 58                  H7 (94R) AGM 50, 58
2005-98    L4/1.8L      Ex 4 Motion                                                              570           H6 (48)                          H6 (48) AGM
2005-98    V6/2.8L                                                                               540           H6 (48) 54                       H6 (48) AGM 54
2004       L4/2.0L      Dsl                                                                      640           H7 (94R) 54                      H7 (94R) AGM 54
2004       L4/2.0L      Dsl, PR Code J0R                                                        80 Ah          H7 (94R) 50, 58                  H7 (94R) AGM 50, 58
2004-03    W8/4.0L                                                                               640           H7 (94R) 50                      H7 (94R) AGM 50
2003       V6/2.8L      Ex 4 Motion (no vent)                                                    570           H6 (48) 50                       H6 (48) AGM 50
2002       V6/2.8L      4 Motion                                                                 570           H6 (48) 50                       H6 (48) AGM 50
2002       W8/4.0L                                                                               570           H6 (48) 50                       H6 (48) AGM 50
2002       W8/4.0L      Ex 4 Motion                                                              570           H6 (48) 50, 54                   H6 (48) AGM 50, 54
2001       V6/2.8L      HD, PR Code J0R                                                          640           H7 (94R) 50, 58                  H7 (94R) AGM 50, 58
1997       L4/1.9L      Dsl                                                                      650           —                                —
1997-93    V6/2.8L                                                                               460           —                                —
1996       L4/1.9L      Dsl                                                                      650           —                                —
1996-95    L4/2.0L      Opt                                                                      650           —                                —
1996-90    L4/2.0L                                                                               460           —                                —
1993       L4/1.8L                                                                               475           —                                —
1995-93    L4/1.9L      Dsl                                                                      460           —                                —
1995-93    V6/2.8L      Opt                                                                      650           —                                —
1992-91    L4/1.8L                                                                               460           —                                —
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                      See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                              145
      YEAR       ENGINE                                           OPTIONS       ORIGINAL EQUIPMENT               GROUP SIZE                         ALTERNATE SIZE
                                                                                    CCA/RATING                    (NOTES)                              (NOTES)

   Volkswagen Passat CC
   2010-09   L4/2.0L                                                                    480          H5 (47) 50, 54                        H5 (47) AGM 50, 54
   2010-09   L4/2.0L      PR Code J1L                                                  60 Ah         H5 (47) 50, 54, 58                    H5 (47) AGM 50, 54, 58
   2010-09   L4/2.0L      PR Code JOL                                                  70 Ah         H6 (48) 50, 55, 56, 58                H6 (48) AGM 50, 55, 56, 58
   2010-09   V6/3.6L                                                                    640          —                                     —
   2010-09   V6/3.6L      PR Code J1U                                                  95 Ah         — 50, 54, 58                          H8 (49) AGM 50, 54, 58
   Volkswagen Phaeton
   2006      W12/6.0L                                                                   740          — 50                                  H8 (49) AGM 50
   2006      W12/6.0L     Aux, In Trunk                                                92 Ah         H8 (49) AGM 33                        — 33
   2006      W12/6.0L     Starting, In Trunk                                           61 Ah         —                                     —
   2006-04   V8/4.2L                                                                    740          — 50                                  H8 (49) AGM 50
   2006-04   V8/4.2L      Aux, In Trunk                                                92 Ah         H8 (49) AGM 33                        — 33
   2006-04   V8/4.2L      Starting, In Trunk                                           61 Ah         —                                     —
   Volkswagen R32
   2008      V6/3.2L                                                                   640           H7 (94R) 54                           H7 (94R) AGM 54
   Volkswagen Rabbit
   2009-06 L5/2.5L        HD, PR Code J0R                                              640           H7 (94R) 50, 58                       H7 (94R) AGM 50, 58
   2009-06 L5/2.5L        PR Code J0L                                                  540           H6 (48) 50, 55, 56, 58                H6 (48) AGM 50, 55, 56, 58
   Volkswagen Routan
   2014-11   V6/3.6L                                                                   700           H7 (94R)                              H7 (94R) AGM
   2010-09   V6/3.8L                                                                   600           34                                    —
   2010-09   V6/3.8L                                                                   700           34                                    —
   2010-09   V6/4.0L                                                                   600           34                                    —
   2010-09   V6/4.0L                                                                   700           34                                    —
   Volkswagen Tiguan
   2020-19   L4/1.4L      PR Code J0V                                                  680           —                                     —
   2020-19   L4/1.4L      PR Code J1D                                                  640           —                                     —
   2020-19   L4/1.4L      PR Code J2D                                                  680           H6 (48) AGM 33, 50, 55, 56, 58        — 33, 50, 55, 56, 58
   2020-19   L4/1.4L      PR Code J1N                                                  800           H7 (94R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
   2020-18   L4/2.0L      PR Code J1N                                                  800           H7 (94R) AGM 33, 50, 55, 56, 58       — 33, 50, 55, 56, 58
   2020-18   L4/2.0L      PR Code J0V                                                  680           —                                     —
   2020-18   L4/2.0L      PR Code J1D                                                  640           —                                     —
   2020-17   L4/2.0L      PR Code J2D                                                  680           H6 (48) AGM 33, 50, 55, 56, 58        — 33, 50, 55, 56, 58
   2018      L4/2.0L      PR Code J0N                                                  540           —                                     —
   2018      L4/2.0L      PR Code J0S                                                  540           —                                     —
   2018      L4/2.0L      PR Code J0T                                                  680           —                                     —
   2018      L4/2.0L      PR Code J1P                                                  360           —                                     —
   2018-17   L4/2.0L      PR Code J2S                                                  480           —                                     —
   2017-12   L4/2.0L      Opt                                                          680           —                                     —
   2017-12   L4/2.0L      PR Code J0S                                                  540           —                                     —
   2017-09   L4/2.0L                                                                   540           —                                     —
   2017-09   L4/2.0L      Opt                                                          640           —                                     —
   2014-09   L4/2.0L      HD, PR Code J1D                                              640           —                                     —
   2014-09   L4/2.0L      Opt                                                          680           H6 (48) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
   2014-09   L4/2.0L      PR Code J0L                                                  540           H6 (48) 50, 54, 55, 56                H6 (48) AGM 50, 54, 55, 56
   Volkswagen Touareg
   2017-11   V6/3.6L      PR Code J1N                                                   640          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2017-11   V6/3.6L       PR Code J1U                                                  850          H8 (49) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
   2017-11   V6/3.6L      Opt                                                           800          H7 (94R) AGM 33, 50, 54, 55, 56       — 33, 50, 54, 55, 56
   2017-11   V6/3.6L      Opt                                                           850          — 50, 54, 55, 56                      H9 (95R) AGM 50, 54, 55, 56
   2017-11   V6/3.6L      Opt                                                           950          — 33, 50, 54, 55, 56                  H9 (95R) AGM 33, 50, 54, 55, 56
   2017-11   V6/3.6L      Opt, PR Code J2T, w/o AGM                                     760          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2016-11   V6/3.0L      Dsl                                                           640          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2016-11   V6/3.0L      Dsl, Opt                                                      850          H8 (49) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
   2016-11   V6/3.0L      Dsl, Opt                                                      800          H7 (94R) AGM 33, 50, 54, 55, 56       — 33, 50, 54, 55, 56
   2016-11   V6/3.0L      Dsl, Opt                                                      850          — 50, 54, 55, 56                      H9 (95R) AGM 50, 54, 55, 56
   2016-11   V6/3.0L      Dsl, Opt                                                      950          — 33, 50, 54, 55, 56                  H9 (95R) AGM 33, 50, 54, 55, 56
   2016-11   V6/3.0L      Dsl, Opt, PR Code J2T                                         760          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2016-11   V6/3.0L      Hybrid                                                        640          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2016-11   V6/3.0L      Hybrid, Opt                                                   850          H8 (49) AGM 33, 50, 54, 55, 56        — 33, 50, 54, 55, 56
   2016-11   V6/3.0L      Hybrid, Opt                                                   800          H7 (94R) AGM 33, 50, 54, 55, 56       — 33, 50, 54, 55, 56
   2016-11   V6/3.0L      Hybrid, Opt                                                   850          — 50, 54, 55, 56                      H9 (95R) AGM 50, 54, 55, 56
   2016-11   V6/3.0L      Hybrid, Opt                                                   950          — 33, 50, 54, 55, 56                  H9 (95R) AGM 33, 50, 54, 55, 56
   2016-11   V6/3.0L      Hybrid, Opt, PR Code J2T                                      760          H7 (94R) 50, 54, 55, 56               H7 (94R) AGM 50, 54, 55, 56
   2014-11   V6/3.0L      Hybrid, PR Code J1N                                          75 Ah         H7 (94R) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
   2014-11   V6/3.0L      Opt, PR Code J1D, HD                                          640          —                                     —
   2014-11   V6/3.0L      Opt, PR Code J2T, w/o AGM                                   85 Ah          —                                     —
   2014-11   V6/3.6L      Opt, PR Code J1D, HD                                          640          —                                     —
   2014-09   V6/3.0L      TDI, PR Code J0Z                                            110 Ah         —                                     —
   2014-07   V6/3.6L      Opt 1 PR Code J1U                                             760          — 50, 54, 55, 56, 58                  H8 (49) AGM 50, 54, 55, 56, 58
   2014-07   V6/3.6L      Opt 2 PR Code J0Z                                           110 Ah         —                                     —
   2010-09   V6/3.0L      Dsl                                                           850          — 50, 54                              H9 (95R) AGM 50, 54
   See page 151 for Footnotes. Selection may vary by warehouse.             Note: PR codes are located on a tag near the spare tire or in the warranty booklet

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146                                                                                  Automotive/Light Truck
   YEAR       ENGINE                                                  OPTIONS             ORIGINAL EQUIPMENT               GROUP SIZE                        ALTERNATE SIZE
                                                                                              CCA/RATING                    (NOTES)                             (NOTES)

Volkswagen Touareg (continued)
2010-07    V6/3.6L      Opt                                                                      850           — 50, 54                             H9 (95R) AGM 50, 54
2009-08    V8/4.2L                                                                               790           —                                    —
2009-04    V8/4.2L      PR Code J2T. Under seat w/o AGM                                         85 Ah          —                                    —
2008-07    V10/5.0L     Dsl                                                                      740           —                                    —
2008-05    V10/5.0L     In trunk - AGM Battery                                                  92 Ah          H8 (49) AGM 33, 50, 54, 55, 56, 58   — 33, 50, 54, 55, 56, 58
2008-05    V10/5.0L     Under driver’s seat                                                    110 Ah          —                                    —
2008-05    V10/5.0L     w/o AGM                                                                95 Ah           — 50, 54, 55                         H8 (49) AGM 50, 54, 55
2007-06    V8/4.2L                                                                               740           —                                    —
2006-05    V10/5.0L     Dsl                                                                      850           H8 (49) AGM 33, 50, 54               — 33, 50, 54
2006-05    V6/3.2L                                                                               640           H7 (94R) 50                          H7 (94R) AGM 50
2005-04    V8/4.2L                                                                               740           — 50                                 H8 (49) AGM 50
2004       V10/4.9L     Aux, Dsl                                                                 950           — 50, 54                             H9 (95R) AGM 50, 54
2004       V10/4.9L     Dsl                                                                      850           H8 (49) AGM 33, 50, 54               — 33, 50, 54
2004       V10/4.9L     Dsl, w/o AGM                                                           95 Ah           — 50, 54, 55                         H8 (49) AGM 50, 54, 55
2004       V6/3.2L                                                                               640           H7 (94R) 50, 54                      H7 (94R) AGM 50, 54
Volkswagen Vanagon
1991-87 H4/2.1L                                                                                  500           —                                    —
Volvo 1800
1968    L4/1.8L                                                                                  350           24                                   —
1967-61 L4/1.8L                                                                                  315           24                                   —
Volvo 240
1993-90 L4/2.3L         Std Batt                                                                 500           H5 (47)                              H5 (47) AGM
1992-91 L4/2.3L         Opt                                                                      600           H6 (48)                              H6 (48) AGM
Volvo 740
1992-89    L4/2.3L      Std Batt                                                                 460           H5 (47)                              H5 (47) AGM
1992-85    L4/2.3L                                                                               520           H5 (47)                              H5 (47) AGM
1992-85    L4/2.3L      Opt                                                                      600           H6 (48)                              H6 (48) AGM
1990       L4/2.3L      Opt                                                                      500           H6 (48)                              H6 (48) AGM
Volvo 760
1990       L4/2.3L                                                                               450           H5 (47)                              H5 (47) AGM
1990       V6/2.8L                                                                               450           H5 (47)                              H5 (47) AGM
1990-84    L4/2.3L                                                                               520           H5 (47)                              H5 (47) AGM
1990-84    L4/2.3L      Opt                                                                      600           H6 (48)                              H6 (48) AGM
1990-83    V6/2.8L                                                                               520           H5 (47)                              H5 (47) AGM
1990-83    V6/2.8L      Opt                                                                      600           H6 (48)                              H6 (48) AGM
Volvo 780
1991       L4/2.3L      Coupe                                                                    440           H5 (47)                              H5 (47) AGM
1991-90    L4/2.3L      Opt                                                                      600           H6 (48)                              H6 (48) AGM
1991-89    L4/2.3L                                                                               520           H5 (47)                              H5 (47) AGM
1990       V6/2.8L      Opt                                                                      600           H6 (48)                              H6 (48) AGM
1990-87    V6/2.8L                                                                               520           H5 (47)                              H5 (47) AGM
Volvo 850
1997-94 L5/2.3L         Std Batt                                                                 520           H5 (47)                              H5 (47) AGM
1997-93 L5/2.4L                                                                                  520           H5 (47)                              H5 (47) AGM
Volvo 940
1995-91 L4/2.3L         Std Batt                                                                 520           H5 (47)                              H5 (47) AGM
1992-91 L4/2.3L         Opt                                                                      600           H6 (48)                              H6 (48) AGM
Volvo 960
1997-92 L6/2.9L                                                                                  600           H6 (48)                              H6 (48) AGM
Volvo C30
2013-08    L5/2.5L                                                                               590           —                                    —
2013-07    L5/2.5L      Opt                                                                     80 Ah          H7 (94R)                             H7 (94R) AGM
2013-07    L5/2.5L      Std Batt                                                                 590           —                                    —
2010-07    L5/2.4L                                                                               590           —                                    —
2010-07    L5/2.4L      Opt                                                                      700           H7 (94R) 50                          H7 (94R) AGM 50
Volvo C70
2013-06    L5/2.5L                                                                               590           —                                    —
2013-06    L5/2.5L      Opt                                                                     80 Ah          H7 (94R)                             H7 (94R) AGM
2013-06    L5/2.5L      Std Batt                                                                 590           —                                    —
2004-01    L5/2.3L                                                                               600           H6 (48)                              H6 (48) AGM
2004-01    L5/2.4L                                                                               600           H6 (48)                              H6 (48) AGM
2000-98    L5/2.3L                                                                               520           H5 (47)                              H5 (47) AGM
2000-98    L5/2.4L                                                                               520           H5 (47)                              H5 (47) AGM
Volvo S40
2011       L5/2.5L      w/o Premium Stereo                                                       590           —                                    —
2011-06    L5/2.5L                                                                               520           —                                    —
2011-05    L5/2.5L      HD, Late 2004 on                                                         700           H7 (94R)                             H7 (94R) AGM
2011-05    L5/2.5L      w/Premium Stereo                                                         700           H7 (94R) 50                          H7 (94R) AGM 50
2010-07    L5/2.4L      w/Premium Stereo                                                         700           H7 (94R) 50                          H7 (94R) AGM 50
Note: PR codes are located on a tag near the spare tire or in the warranty booklet                      See page 151 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                        147
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT             GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                  (NOTES)               (NOTES)

   Volvo S40 (continued)
   2010-06   L5/2.4L                                                               520           —                      —
   2010-05   L5/2.4L                                                               590           —                      —
   2010-05   L5/2.4L      HD, Late 2004 on                                         700           H7 (94R)               H7 (94R) AGM
   2010-05   L5/2.5L                                                               590           —                      —
   2005      L5/2.4L      Late 2004 on                                             520           —                      —
   2005      L5/2.5L      Late 2004 on                                             520           —                      —
   2004      L4/1.9L      Late                                                     590           —                      —
   2004      L4/1.9L      Late, w/Premium Stereo                                   700           H7 (94R) 50            H7 (94R) AGM 50
   2004      L4/1.9L      Turbo                                                    600           H6 (48) 50             H6 (48) AGM 50
   2004      L5/2.4L      Early                                                    600           H6 (48)                H6 (48) AGM
   2004      L5/2.4L      Late                                                     590           —                      —
   2004      L5/2.4L      Late, w/Premium Stereo                                   700           H7 (94R) 50            H7 (94R) AGM 50
   2004      L5/2.5L      Early                                                    600           H6 (48)                H6 (48) AGM
   2004      L5/2.5L      Late                                                     590           —                      —
   2004      L5/2.5L      Late, w/Premium Stereo                                   700           H7 (94R) 50            H7 (94R) AGM 50
   2004-00   L4/1.9L      Early 2004                                               600           H6 (48)                H6 (48) AGM
   2002-00   L4/1.9L                                                               600           H6 (48)                H6 (48) AGM
   Volvo S60
   2016      L4/2.0L      w/Start/Stop or Inscription                              800           H7 (94R) AGM 33, 50    — 33, 50
   2016      L4/2.0L      Turbo, E FWD                                             760           H6 (48) AGM 33         — 33
   2016      L5/2.5L                                                              70 Ah          H6 (48) AGM 33         — 33
   2016      L5/2.5L      Inscription                                              800           H7 (94R) AGM 33, 50    — 33, 50
   2016      L6/3.0L      Polestar                                                 760           H6 (48) AGM 33, 50     — 33, 50
   2016-15   L4/2.0L      w/Start/Stop, Opt                                        760           H6 (48) AGM 33, 50     — 33, 50
   2016-15   L5/2.5L      Opt, w/Premium Stereo                                    760           H6 (48) AGM 33, 50     — 33, 50
   2016-15   L6/3.0L      Opt, w/Premium Stereo                                    760           H6 (48) AGM 33, 50     — 33, 50
   2016-14   L5/2.5L      w/o Premium Stereo                                       600           H6 (48) 50             H6 (48) AGM 50
   2016-12   L5/2.5L      w/Premium Stereo                                         700           —                      —
   2016-11   L6/3.0L      w/o Premium Stereo                                       600           H6 (48) 50             H6 (48) AGM 50
   2016-11   L6/3.0L      w/Premium Stereo                                         700           —                      —
   2015      L4/2.0L      w/Start/Stop                                             800           H7 (94R) AGM 33, 50    — 33, 50
   2015      L4/2.0L      Turbo, E FWD, HD                                         800           H7 (94R) AGM 33, 50    — 33, 50
   2014-11   L6/3.0L      Premium Audio, RTI, RSE Opt 1                           80 Ah          —                      —
   2014-03   L5/2.5L      Premium Audio, RTI, RSE Opt 1                           80 Ah          —                      —
   2013-12   L5/2.5L                                                               600           H6 (48) 50             H6 (48) AGM 50
   2013-11   L6/3.0L                                                               600           H6 (48) 50             H6 (48) AGM 50
   2009-03   L5/2.5L      Opt                                                      800           — 50                   H8 (49) AGM 50
   2009-03   L5/2.5L      Std Batt                                                 600           H6 (48) 50             H6 (48) AGM 50
   2009-01   L5/2.4L      Opt                                                      800           — 50                   H8 (49) AGM 50
   2009-01   L5/2.4L      Premium Audio, RTI, RSE Opt 1                           80 Ah          —                      —
   2009-01   L5/2.4L      Std Batt                                                 600           H6 (48) 50             H6 (48) AGM 50
   2008-06   L5/2.4L                                                               600           H6 (48) 50             H6 (48) AGM 50
   2007-04   L5/2.5L                                                               600           H6 (48) 50             H6 (48) AGM 50
   2004-01   L5/2.3L      Opt                                                      800           — 50                   H8 (49) AGM 50
   2004-01   L5/2.3L      Std Batt                                                 600           H6 (48) 50             H6 (48) AGM 50
   2003-01   L5/2.4L                                                               600           H6 (48) 50             H6 (48) AGM 50
   Volvo S60 Cross Country
   2017      L4/2.0L      Inscription                                              800           H7 (94R) AGM 33, 50    — 33, 50
   2017      L4/2.0L      Opt, w/Premium Stereo                                    760           H6 (48) AGM 33, 50     — 33, 50
   2017      L4/2.0L      w/o Premium Stereo                                       600           H6 (48) 50             H6 (48) AGM 50
   2017      L4/2.0L      w/Premium Stereo                                         700           —                      —
   2016      L5/2.5L                                                               760           H6 (48) AGM 33, 50     — 33, 50
   2016      L5/2.5L      Inscription                                              800           H7 (94R) AGM 33, 50    — 33, 50
   2016      L5/2.5L      Opt, w/Premium Stereo                                    760           H6 (48) AGM 33, 50     — 33, 50
   2016      L5/2.5L      w/o Premium Stereo                                       600           H6 (48) 50             H6 (48) AGM 50
   2016      L5/2.5L      w/Premium Stereo                                         700           —                      —
   Volvo S70
   2000      L5/2.4L                                                               600           H6 (48)                H6 (48) AGM
   2000-98   L5/2.3L      Opt                                                      600           H6 (48)                H6 (48) AGM
   2000-98   L5/2.3L      Std Batt                                                 520           H5 (47)                H5 (47) AGM
   2000-98   L5/2.4L      Opt                                                      600           H6 (48)                H6 (48) AGM
   2000-98   L5/2.4L      Std Batt                                                 520           H5 (47)                H5 (47) AGM
   1999      L5/2.4L                                                               520           H5 (47)                H5 (47) AGM
   1999      L5/2.4L      From Chassis #491304                                     600           H6 (48)                H6 (48) AGM
   Volvo S80
   2016      L4/2.0L                                                               760           H6 (48) AGM 33, 50     — 33, 50
   2016-15 L4/2.0L       w/Start/Stop                                              800           H7 (94R) AGM 33, 50    — 33, 50
   2016-15 L4/2.0L       w/Start/Stop, Opt                                         760           H6 (48) AGM 33, 50     — 33, 50
   2015      L4/2.0L     w/o Premium Stereo                                        600           H6 (48) 50             H6 (48) AGM 50
   2015      L4/2.0L     w/Premium Stereo                                          700           —                      —
   2015      L6/3.0L     Opt, w/Premium Stereo                                     760           H6 (48) AGM 33, 50     — 33, 50
   See page 151 for Footnotes. Selection may vary by warehouse.

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148                                                             Automotive/Light Truck
  YEAR       ENGINE                                   OPTIONS        ORIGINAL EQUIPMENT            GROUP SIZE              ALTERNATE SIZE
                                                                         CCA/RATING                 (NOTES)                   (NOTES)

Volvo S80 (continued)
2015-14   L6/3.0L     w/o Premium Stereo                                    600           H6 (48) 50                H6 (48) AGM 50
2015-08   L6/3.0L     w/Premium Stereo                                      700           —                         —
2014      L6/3.2L     w/o Premium Stereo                                    600           H6 (48) 50                H6 (48) AGM 50
2014-08   L6/3.0L     Premium Audio, RTI, RSE Opt 1                        80 Ah          —                         —
2014-07   L6/3.2L     Premium Audio, RTI, RSE Opt 1                        80 Ah          —                         —
2014-07   L6/3.2L     w/Premium Stereo                                      700           —                         —
2013-08   L6/3.0L                                                           600           H6 (48) 50                H6 (48) AGM 50
2013-07   L6/3.2L                                                           600           H6 (48) 50                H6 (48) AGM 50
2011-10   L6/3.0L     w/o Premium Stereo                                    600           H6 (48) 50                H6 (48) AGM 50
2010      V8/4.4L     w/Premium Stereo                                      700           —                         —
2010-07   V8/4.4L                                                           600           H6 (48) 50                H6 (48) AGM 50
2010-07   V8/4.4L     Premium Audio, RTI, RSE Opt 1                        80 Ah          —                         —
2010-07   V8/4.4L     Premium Audio, RTI, RSE Opt 2                         800           —                         —
2009-08   L6/3.2L     w/o Premium Stereo                                    600           H6 (48) 50                H6 (48) AGM 50
2009-07   V8/4.4L     Opt                                                   700           —                         —
2006-04   L5/2.5L                                                           600           H6 (48) 50                H6 (48) AGM 50
2006-04   L5/2.5L     Opt                                                   800           — 50                      H8 (49) AGM 50
2005-99   L6/2.9L                                                           600           H6 (48) 50                H6 (48) AGM 50
2005-99   L6/2.9L     Opt                                                   800           — 50                      H8 (49) AGM 50
2001-99   L6/2.8L                                                           600           H6 (48) 50                H6 (48) AGM 50
2001-99   L6/2.8L     Opt                                                   800           — 50                      H8 (49) AGM 50
Volvo S90
2017    L4/2.0L                                                             800           H7 (94R) AGM 33, 50       — 33, 50
2017    L4/2.0L       Opt                                                   850           H8 (49) AGM 33, 50        — 33, 50
1998-97 L6/2.9L                                                             600           H6 (48) 50                H6 (48) AGM 50
Volvo V40
2004-00 L4/1.9L                                                             600           H6 (48) 50                H6 (48) AGM 50
Volvo V50
2011-05   L5/2.5L                                                           590           —                         —
2011-05   L5/2.5L     Opt                                                   700           H7 (94R)                  H7 (94R) AGM
2010-05   L5/2.4L                                                           590           —                         —
2010-05   L5/2.4L     Opt                                                   700           H7 (94R)                  H7 (94R) AGM
2007-05   L5/2.5L     w/o Premium Stereo                                    590           —                         —
2007-05   L5/2.5L     w/Premium Stereo                                      700           H7 (94R) 50               H7 (94R) AGM 50
Volvo V60
2016      L4/2.0L                                                           760           H6 (48) AGM 33, 50        — 33, 50
2016      L4/2.0L     w/Start/Stop or Inscription                           800           H7 (94R) AGM 33, 50       — 33, 50
2016      L6/3.0L     Polestar                                              760           H6 (48) AGM 33, 50        — 33, 50
2016      L6/3.0L     w/Premium Stereo                                      700           —                         —
2016-15   L4/2.0L     w/Start/Stop, Opt                                     760           H6 (48) AGM 33, 50        — 33, 50
2016-15   L6/3.0L     Opt, w/Premium Stereo                                 760           H6 (48) AGM 33, 50        — 33, 50
2016-15   L6/3.0L     w/o Premium Stereo                                    600           H6 (48) 50                H6 (48) AGM 50
2015      L4/2.0L                                                           800           H7 (94R) AGM 33, 50       — 33, 50
2015      L4/2.0L     w/Start/Stop                                          800           H7 (94R) AGM 33, 50       — 33, 50
2015      L5/2.5L     Opt, w/Premium Stereo                                 760           H6 (48) AGM 33, 50        — 33, 50
2015      L5/2.5L     w/o Premium Stereo                                    600           H6 (48) 50                H6 (48) AGM 50
2015      L5/2.5L     w/Premium Stereo                                      700           —                         —
2015      L6/3.0L     w/Premium Stereo                                      700           —                         —
Volvo V60 Cross Country
2016      L5/2.5L     E FWD                                                80 Ah          H7 (94R) AGM 33           — 33
2016      L5/2.5L     Inscription                                           800           H7 (94R) AGM 33, 50       — 33, 50
2016-15   L5/2.5L     Opt, w/Premium Stereo                                 760           H6 (48) AGM 33, 50        — 33, 50
2016-15   L5/2.5L     w/o Premium Stereo                                    600           H6 (48) 50                H6 (48) AGM 50
2016-15   L5/2.5L     w/Premium Stereo                                      700           —                         —
Volvo V70
2010-08   L6/3.2L     Ex Premium Audio, RTI, RSE                            600           H6 (48) 50                H6 (48) AGM 50
2010-08   L6/3.2L     Premium Audio, RTI, RSE                              80 Ah          —                         —
2010-08   L6/3.2L     w/Premium Stereo                                      700           —                         —
2007-03   L5/2.5L                                                           520           H5 (47)                   H5 (47) AGM
2007-03   L5/2.5L     HD, Electronic Upgrade                                800           — 50                      H8 (49) AGM 50
2007-03   L5/2.5L     Opt 1                                                 600           H6 (48) 50                H6 (48) AGM 50
2007-02   L5/2.4L     HD, Electronic Upgrade                                800           — 50                      H8 (49) AGM 50
2007-98   L5/2.4L                                                           520           H5 (47)                   H5 (47) AGM
2007-98   L5/2.4L     Opt 1                                                 600           H6 (48) 50                H6 (48) AGM 50
2004-02   L5/2.3L     HD, Electronic Upgrade                                800           — 50                      H8 (49) AGM 50
2004-01   L5/2.3L     Opt 1                                                 600           H6 (48) 50                H6 (48) AGM 50
2004-98   L5/2.3L                                                           520           H5 (47)                   H5 (47) AGM
2003-02   L5/2.4L     Opt                                                   800           — 50                      H8 (49) AGM 50
2003-99   L5/2.4L                                                           520           H5 (47) 50                H5 (47) AGM 50
2003-99   L5/2.4L     Opt                                                   600           H6 (48) 50                H6 (48) AGM 50
2000-98   L5/2.3L     Opt                                                   600           H6 (48) 50                H6 (48) AGM 50
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   Automotive/Light Truck                                                                                                       149
      YEAR       ENGINE                                           OPTIONS   ORIGINAL EQUIPMENT            GROUP SIZE          ALTERNATE SIZE
                                                                                CCA/RATING                 (NOTES)               (NOTES)

   Volvo V90
   1998-97 L6/2.9L                                                                 600           H6 (48) 50            H6 (48) AGM 50
   Volvo XC60
   2016      L4/2.0L                                                              70 Ah          H6 (48) AGM 33        — 33
   2016      L4/2.0L      E FWD                                                   80 Ah          H7 (94R) AGM 33, 50   — 33, 50
   2016      L5/2.5L                                                               700           —                     —
   2016      L5/2.5L      Opt                                                     70 Ah          H6 (48) AGM 33, 50    — 33, 50
   2016      L6/3.0L                                                               700           —                     —
   2016      L6/3.0L      Opt                                                     70 Ah          H6 (48) AGM 33, 50    — 33, 50
   2016-15   L4/2.0L      w/Start/Stop                                             800           H7 (94R) AGM 33, 50   — 33, 50
   2016-15   L4/2.0L      w/Start/Stop, Opt                                        760           H6 (48) AGM 33, 50    — 33, 50
   2016-15   L5/2.5L      Opt, w/Premium Stereo                                    760           H6 (48) AGM 33, 50    — 33, 50
   2016-15   L5/2.5L      w/o Premium Stereo                                       600           H6 (48) 50            H6 (48) AGM 50
   2016-15   L5/2.5L      w/Premium Stereo                                         700           —                     —
   2016-15   L6/3.0L      Opt, w/Premium Stereo                                    760           H6 (48) AGM 33, 50    — 33, 50
   2016-10   L6/3.0L      w/o Premium Stereo                                       600           H6 (48) 50            H6 (48) AGM 50
   2016-10   L6/3.0L      w/Premium Stereo                                         700           —                     —
   2015      L4/2.0L                                                               800           H7 (94R) AGM 33, 50   — 33, 50
   2015      L6/3.2L      Opt, w/Premium Stereo                                    760           H6 (48) AGM 33, 50    — 33, 50
   2015-10   L6/3.2L      w/o Premium Stereo                                       600           H6 (48) 50            H6 (48) AGM 50
   2015-10   L6/3.2L      w/Premium Stereo                                         700           —                     —
   2014-10   L6/3.0L      Opt                                                     80 Ah          —                     —
   2014-10   L6/3.2L      Opt                                                     80 Ah          —                     —
   2013-10   L6/3.0L      Std Batt                                                70 Ah          H6 (48)               H6 (48) AGM
   2013-10   L6/3.2L                                                              70 Ah          H6 (48)               H6 (48) AGM
   Volvo XC70
   2016-15   L4/2.0L      w/Start/Stop, Opt                                        760           H6 (48) AGM 33, 50    — 33, 50
   2016      L4/2.0L                                                              80 Ah          H7 (94R) AGM 33       — 33
   2016      L4/2.0L      E-FWD Pkg, Keyless locking                              70 Ah          H6 (48) AGM 33, 50    — 33, 50
   2016      L4/2.0L      w/Start/Stop                                             800           H7 (94R) AGM 33, 50   — 33, 50
   2016      L5/2.5L                                                              80 Ah          H7 (94R) AGM 33       — 33
   2016      L5/2.5L      AWD                                                     70 Ah          H6 (48) AGM 33, 50    — 33, 50
   2016      L5/2.5L      Opt, w/Premium Stereo                                    760           H6 (48) AGM 33, 50    — 33, 50
   2016      L5/2.5L      w/o Premium Stereo                                       600           H6 (48) 50            H6 (48) AGM 50
   2016      L5/2.5L      w/Premium Stereo                                         700           —                     —
   2015      L4/2.0L                                                               800           H7 (94R) AGM 33, 50   — 33, 50
   2015      L6/3.0L      Opt, w/Premium Stereo                                    760           H6 (48) AGM 33, 50    — 33, 50
   2015      L6/3.2L      Opt, w/Premium Stereo                                    760           H6 (48) AGM 33, 50    — 33, 50
   2015-09   L6/3.0L      w/o Premium Stereo                                       600           H6 (48) 50            H6 (48) AGM 50
   2015-09   L6/3.0L      w/Premium Stereo                                         700           —                     —
   2015-08   L6/3.2L      w/o Premium Stereo                                       600           H6 (48) 50            H6 (48) AGM 50
   2015-08   L6/3.2L      w/Premium Stereo                                         700           —                     —
   2014-09   L6/3.0L      SI6                                                      590           H6 (48)               H6 (48) AGM
   2014-09   L6/3.0L      SI6, Prem Audio, RTI, RSE                               80 Ah          —                     —
   2014-08   L6/3.2L      SI6                                                      590           H6 (48)               H6 (48) AGM
   2014-08   L6/3.2L      SI6, Prem Audio, RTI, RSE                               80 Ah          —                     —
   2007-04   L5/2.5L                                                               520           H5 (47) 50            H5 (47) AGM 50
   2007-04   L5/2.5L      Opt                                                      600           H6 (48) 50            H6 (48) AGM 50
   2007-03   L5/2.5L      Ex Premium Audio, RTI, RSE                               520           H5 (47) 50            H5 (47) AGM 50
   2007-03   L5/2.5L      Opt                                                      800           — 50                  H8 (49) AGM 50
   2007-03   L5/2.5L      RTI, RSE, Opt 1                                          600           H6 (48) 50            H6 (48) AGM 50
   Volvo XC90
   2016      L4/2.0L      Early                                                   95 Ah          H8 (49) AGM 33, 50    — 33, 50
   2016      L4/2.0L      Late                                                    80 Ah          H7 (94R) AGM 33, 50   — 33, 50
   2014-07   L6/3.2L      Opt                                                      760           — 50                  H8 (49) AGM 50
   2014-07   L6/3.2L      Std Batt                                                 600           H6 (48) 50            H6 (48) AGM 50
   2011-05   V8/4.4L      Opt                                                      760           — 50                  H8 (49) AGM 50
   2011-05   V8/4.4L      Std Batt                                                 600           H6 (48) 50            H6 (48) AGM 50
   2010-07   L6/3.2L                                                               600           H6 (48) 50            H6 (48) AGM 50
   2006-04   L5/2.5L                                                               600           H6 (48) 50            H6 (48) AGM 50
   2006-03   L5/2.5L      Opt                                                      760           — 50                  H8 (49) AGM 50
   2006-03   L5/2.5L      Std Batt                                                 600           H6 (48) 50            H6 (48) AGM 50
   2005-03   L6/2.9L                                                               600           H6 (48) 50            H6 (48) AGM 50
   2005-03   L6/2.9L      Opt                                                      760           — 50                  H8 (49) AGM 50
   2005-03   L6/2.9L      Std Batt                                                 600           H6 (48) 50            H6 (48) AGM 50
   Workhorse FasTrack FT1061
   2005-04 V8/4.8L                                                                 690           78                    —
   2004-02 V8/5.7L                                                                 690           78                    —
   Workhorse FasTrack FT1260
   2001-00 V8/5.7L                                                                 690           78                    —
   Workhorse FasTrack FT1261
   2005      V8/4.8L                                                               690           78                    —
   See page 151 for Footnotes. Selection may vary by warehouse.

                                                                                                                                         Costco_001792
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Workhorse                   Document 117-5 Entered on FLSD Docket 02/20/2023 Page 594 of
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150                                      Automotive/Light Truck
  YEAR      ENGINE            OPTIONS               ORIGINAL EQUIPMENT           GROUP SIZE              ALTERNATE SIZE
                                                        CCA/RATING                (NOTES)                   (NOTES)

2005-04 L4/3.9L                                            690           78                       —
2005-02 V8/5.7L                                            690           78                       —
Workhorse FasTrack FT1460
2002-00 V8/5.7L                                            690           78                       —
Workhorse FasTrack FT1461
2005-04   L4/3.9L                                          690           78                       —
2005-04   V8/4.8L                                          690           78                       —
2005-04   V8/6.0L                                          690           78                       —
2005-02   V8/5.7L                                          690           78                       —
Workhorse FasTrack FT1600
2001-00 V8/5.7L                                            690           78                       —
Workhorse FasTrack FT1601
2005-04 L4/3.9L                                            690           78                       —
2005-04 V8/4.8L                                            690           78                       —
2005-02 V8/5.7L                                            690           78                       —
Workhorse FasTrack FT1800
2001-00 V8/5.7L                                            690           78                       —
Workhorse FasTrack FT1801
2005-04 V8/6.0L                                            690           78                       —
2005-02 V8/6.5L                                            600           78 2                     —2
2004-02 V8/5.7L                                            690           78                       —
Workhorse FasTrack FT1802
2003-02 V8/5.7L                                            690           78                       —
2003-02 V8/6.5L                                            600           78 2                     —2
Workhorse FasTrack FT931
2003-02 V6/4.3L                                            690           78                       —
Workhorse P30
2005-00 V8/5.7L                                            690           78                       —
Yugo Cabrio
1992    L4/1.3L                                            370           58 45                    — 45
1991-90 L4/1.3L                                            370           58                       —
Yugo GV
1992      L4/1.3L                                          370           —                        —
1991      L4/1.3L                                          370           —                        —
1990      L4/1.3L                                          370           —                        —




                                                                 See page 151 for Footnotes. Selection may vary by warehouse.

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   Footnotes                                                                                                                                   151
   2.    Two batteries may be required.
      %HVWŴWHVWLPDWH
      & KHFNIRUKHLJKW KRRGFOHDUDQFH WUD\URRPDQGKROGGRZQŴW&KHFNFOHDUDQFHEHIRUHFRQQHFWLQJFDEOHV
   7.     Check polarity and cable length before connecting cables.
   9. Manufacturer’s recommended replacement battery shown. May vary from OE battery.
    2(EDWWHU\KDVŵXVKYHQWV
    5 HTXLUHVLQGLYLGXDOYHQWFDSVIRUSURSHUKRRGFOHDUDQFH'RQRWŴWEDWWHULHVZLWKSRGW\SHYHQWFDSV
   18. I-drive vehicles require system reset after battery installation. See BMW authorized repair for service.
   23. Special 12V: 10" x 6 1Ş16" x 8 3Ş8". Check polarity before installing.
   30. Special 12V: 9" x 7 1Ş4" x 7 1Ş2"
   31. Special deep-cycle battery
   33. Valve-regulated AGM battery
   34. Vibration-resistant battery
   35.   Without handle bracket
   40.   Battery in “active cooling box” with air snorkel to outside of engine compartment.
   45.   Non-BCI group size
   47.   The recommended battery for this vehicle is based on Ah and not CCA.
   50. Battery is vented outside of vehicle.
   52. Use with Land Rover adapter AMR3679S, clamp AMR3679, J bolts AMR3681.
   54. CCA is an EN (European Norm) rating
   55. Vehicle computer system must be reset. Contact your service specialist.
   56. Various group size batteries used in production.
   57. Models (2008 and 2009) with “MyGig” REN or REZ radios require the feed fuse for the radio to be removed before disconnecting battery.
       See Chrysler 08-003-09 Service procedure.
   58. PR codes are located on a tag near the spare tire or in the warranty booklet.
   59. Enhanced Flooded Battery (EFB)
   60. Lithium-ion battery only
   61. With sensor




                                                                                                                                                Costco_001794
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                                 BATTERY
                                 BASICS                               AGM VS. FLOODED




    INTERSTATE® ABSORBED GLASS-MAT (AGM)) BATTERIES DUH
                                        ZHU UHOLDELOLW\
    GHVLJQHG WR SURYLGH WKH VXSHULRU SRZHU
    DQG VDIHW\ QHHGHG IRU PDQ\ RI WRGD\ŔV
                                        \ŔV YHKLFOHV
    7RGD\ YHKLFOHV KDYH  HOHFWULFDO GHYLFHV  \HDUV
                                        ern Tire Dealerr
    DJR YHKLFOHV KDG DURXQG  — Modern
    •   'HVLJQHG IRU KLJKHU DFFHVVRU\ ORDGV
                                          DGV VWDUWVWRS
        V\VWHPV *36 %OXHWRRWK VDWHOOLWH UDGLR DQG PRUH
    •   6XSHULRU VWDUWLQJ SRZHU DQG SHUIRUPDQFH
                                         UPDQFH LQ
        H[WUHPH ZHDWKHU FRQGLWLRQV
    •   6SLOOSURRI GHVLJQ




                                                            INTERSTATE STARTING/STANDARD BATTERIES SURYLGH
                                                            INTERSTATE
                                                            WKH SRZHU WR VWDUW D YHKLFOH DQG VXSSRUW VWDQGDUG
                                                            HOHFWULFDO DFFHVVRULHV UHOLDEO\
                                                            •   ,QWHQGHG IRU QRUPDO VWDUWLQJ OLJKWLQJ DQG LJQLWLRQ
                                                            •   5HOLDEOH FUDQNLQJ SRZHU
                                                            •   )LWV VWDQGDUG YHKLFOH PRGHOV
                                                            6WLOOQRWVXUHDERXWWKHEHVWĬWIRU\RXUYHKLFOH"
                                                            &RQVXOWWKLVEDWWHU\UHSODFHPHQWJXLGHRUD&RVWFR
                                                            VDOHVDVVRFLDWHIRUPRUHLQIRUPDWLRQ




                                          COSTCO LIMITED BATTERY WARRANTY
                  $XWRPRWLYH EDWWHULHV DUH EDFNHG E\ DQ H[FOXVLYH ZDUUDQW\ 7KH ZDUUDQW\ LV SRVWHG
                     DW WKH EDWWHU\ UDFN GLVSOD\ <RX PD\ DOVR YLVLW WKH 7LUH 6DOHV 'HVN IRU GHWDLOV




                                                                                                                      Costco_001796
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                                                                                                  Costco_001797
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                                        BATTERY REPLACEMENT GUIDE 2020
                                          USA




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                                                                              USA




 FINDYOURFIT     2021 BATTERY REPLACEMENT GUIDE




                                                                                Costco_001799
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How to Use This Battery Replacement Guide

Choosing Your Battery Is as Easy as                                                                                 1 • 2 • 3
1 ,GHQWLI\ WKH PDNH PRGHO DQG \HDU RI \RXU YHKLFOH
      H[DPSOH  )RUG ) 3LFNXS


2 )LQG \RXU YHKLFOH LQ WKH UHSODFHPHQW JXLGH
                                                                       Example
                YEAR       ENGINE                   OPTIONS               ORIGINAL EQUIPMENT          GROUP SIZE        ALTERNATE SIZE
                                                                              CCA/RATING               (NOTES)             (NOTES)

              Ford F-150, F-150 Heritage
              2017-15   V8/5.0LL     Ex King Ranch, Lariat, Platinum             610             H6 (48)            H6 (48) AGM
              2017-15   V8/5.0LL     King Ranch, Lariat, Platinum                730             H7 (94R)           H7 (94R) AGM
              2015      V6/2.7LL     King Ranch, Lariat, Platinum               80033            H7 (94R) AGM       —
              2014-11   V6/3.5LL                                                 750             65                 65 AGM
              2014-11   V6/3.7LL                                                 750             65                 65 AGM
              2014-11   V8/5.0LL                                                 750             65                 65 AGM
              2014-10   V8/6.2LL                                                 750             65                 65 AGM
              2010-97   V8/4.6LL                                                 540             59                 —
              2010-97   V8/5.4LL                                                 540             59                 —
              2010-07   V8/4.6L      Opt                                         650             65                 65 AGM
              2010-07   V8/5.4LL     Opt                                         650             65                 65 AGM
              2008-97   V6/4.2LL                                                 540             59                 —
              2008-07   V6/4.2LL     Opt                                         650             65                 65 AGM
              2006-97   V6/4.2LL     HD, Canada                                  650             65                 65 AGM




3 8VH WKH *URXS 6L]H VSHFLĬHG LQ WKH UHSODFHPHQW JXLGH WR ĬQG \RXU
      EDWWHU\ RQ WKH UDFN 7KH *URXS 6L]H LV ORFDWHG LQ WKH IROORZLQJ SODFHV

                                    Front label                                                                                    Sign on shelf



                                                            65
                                                                                         AUTOMOTIVE




                                                  GROUP



                                                                                                                                                            850
                                                    SIZE




                                                            850                                                     65
                                                                                                                                                     CCA




                                                                                                                                                            36
                                                     CCA                                                   GROUP
                                                                                                             SIZE                                 LIMITED
                                                                                                                                               WARRANTY




                                                            36
                                                                                                                                                              MONTH
                                                                                                                                             REPLACEMENT


                                                  LIMITED
                                               WARRANTY                MONTH
                                             REPLACEMENT                                                                                            ITEM# 852186




    )RU D FRPSOHWH OLVW RI DSSOLFDWLRQV LQFOXGLQJ YLQWDJH YLVLW &RVWFRFRP &OLFN RQ 6KRS $OO
    'HSDUWPHQWV  7LUHV $XWR  ,QWHUVWDWH %DWWHULHV WR ĬQG D EDWWHU\ IRU \RXU FDU RU WUXFN




                                                                                                                                                                      Costco_001800
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          The replacement battery information in this catalog has been obtained from Battery Council
          International (“BCI”), original equipment (“OE”) manufacturers and other industry sources.
          Users are cautioned that the information in this catalog was the most current information
          provided at the time of publication. However, the information is subject to change upon
          QRWLFHIURP2(PDQXIDFWXUHUVRUĬHOGH[SHULHQFH7KHUHIRUHXVHUVVKRXOGXVHWKHPRVW
          current edition of the Battery Replacement Data Book.

          :KLOH,QWHUVWDWH%DWWHULHVDQG%&,KDYHPDGHHYHU\HıRUWWRDFFXUDWHO\FDWDORJWKHUHSODFHPHQW
          EDWWHU\LQIRUPDWLRQLQWKLVFDWDORJWKH\GLVFODLPDQ\OLDELOLW\H[SUHVVHGRULPSOLHGIRUWKH
          accuracy of this information or for damages as a consequence of using or misusing this
          information. Since some OE manufacturers do not provide complete replacement battery
          GDWDDQHVWLPDWHIRUUHSODFHPHQWEDWWHU\VL]HLVJLYHQIRUHQGXVHUJXLGDQFH)RUVSHFLĬF
          replacement battery size information, see the OE manufacturer.




                                                                                                             Costco_001801
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2                                                                Battery Basics

How a Battery Works                              2. POWER What are the Cold Cranking Amp
A battery stores energy in chemical form that    requirements of your vehicle? The power a
can be released on demand as electricity. This   battery can deliver decreases as the tempera-
electrical power is used by the car’s ignition   ture gets colder. Batteries are rated at both
system for cranking the engine. The car’s        Ƅb) &UDQNLQJ$PSV&$ DQGƄb) &ROG
battery also may power the lights and other      Cranking Amps/CCA). Using either rating
accessories. Should the alternator or fan belt   for comparison, the higher the number, the
fail, the battery might also need to power the   greater the starting power of the battery.
vehicle’s entire electrical system for a short
period of time.                                  3. WARRANTY Automotive batteries are
                                                 EDFNHGE\DQH[FOXVLYHZDUUDQW\7KHZDUUDQW\
Three Things to Consider When Buying             is posted at the battery rack display. You may
a Battery                                        also visit the Tire Sales Desk for details.
1. SIZE What are the dimensions of your
original equipment battery? The Battery
Council International (BCI) uses a two-digit
number to identify the height, length and
width shape of original equipment sizes.


             As the temperature drops, more cranking power is required to start
                a vehicle’s engine, but a battery’s available power decreases.



                                                                     AS THE
                                                                  TEMPERATURE
                                                                   DECREASES,
                                                                   THE ENGINE
                                                                    DEMANDS
                                                                      MORE
                                                                    CRANKING
                                                                     POWER.




                                                                                                  Costco_001802
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   %DWWHU\6SHFLğFDWLRQV                                                                                                         
                           Costco Item                                                   Overall Dimensions (inches)       Warranty
      Group Size                              CCA               CA     RC      Ah
                            Number                                                    Length        Width       Height     (months)
                                                        Interstate Automotive
          24               852163             700             875       130      —    11            6 7Ş8        8 3Ş4       36
         24F                852154            700             875       130      —    11            6 7Ş8        8 3Ş4       36
          25               852231             550             690       100      —     9            6 7Ş8        8 3Ş4       36
         26R               1131856            540             675        81      —     8 1Ş4        6 3Ş4        7 3Ş4       36
          27               1130806            810            1000       140      —    12            6 3Ş4        8 7Ş8       36
         27F               1131901            710             890       165      —    12            6 3Ş4        8 7Ş8       36
          34               8850241            800            1000       110      —    10 1Ş4        6 7Ş8        7 3Ş4       36
          35               8850242            640             800       100      —     9            6 7Ş8        8 3Ş4       36
         36R                852185            650             815       130      —    10 3Ş8        7 1Ş4        8 1Ş8       36
         40R                852174            590             740       105      —    10 15Ş16      6 7Ş8        6 7Ş8       36
          51               852180             500             625        85      —     9 3Ş8        5 1Ş8        8 7Ş8       36
         51R                852210            500             625        85      —     9 3Ş8        5 1Ş8        8 7Ş8       36
          58               852203             550             690        80      —    10            7 1Ş4        7 1Ş2       36
          59               1131494            590             740       100      —    10 1Ş16       7 5Ş8        7 3Ş4       36
          65               852186             850            1000       150      —    12            7 1Ş2        7 1Ş2       36
          75               8850261            650             875        95      —     9            7 1Ş4        7 5Ş8       36
          78               879463             800            1000       110      —    10 1Ş4        7 1Ş4        7 5Ş8       36
          79               1130566            840            1050       140      —    12 1Ş16       7 1Ş16       7 3Ş8       36
          86               852195             590             810       110      —     9 1Ş16       6 13Ş16      8           36
       90 (T5)             1130685            600             750       100      —     9 9Ş16       7            6 15Ş16     36
         96R                852197            590             740        95      —     9 1Ş2        6 15Ş16      6 15Ş16     36
         100               1131795            800             965       110      —    10 1Ş4        7 1Ş4        7 5Ş8       36
        121R               1130744            600             750       100      —     8 1Ş4        7            5           36
        124R               852235             700             875       120      —    10 3Ş8        7            8 5Ş8       36
       H5 (47)              852243             —               —          —     60     9 5Ş16       7            7 1Ş2       36
       H6 (48)             8852242            730             910       115     70    10 7Ş8        6 7Ş8        7 1Ş2       36
      H7 (94R)             852241              —               —          —     80    12 3Ş8        6 7Ş8        7 1Ş2       36
       H8 (49)              852240            730             910       175     90    13 15Ş16      6 7Ş8        7 1Ş2       36
      24F AGM              1421400            710             885       120      —    10 15Ş16      6 3Ş4        9           36
      35 AGM               1421402            650             800       100      —     9 1Ş16       6 15Ş16      8 7Ş8       36
      65 AGM               1421403            750             935       120      —    12 1Ş16       7 9Ş16       7 7Ş16      36
     S46B AGM              1525444            410             510        75     41    10            5 1Ş16       8 15Ş16     36
    H5 (47) AGM            1355768            650             750       100     60     9 1Ş2        6 7Ş8        7 1Ş2       36
    H6 (48) AGM            1355770            760             950       120     70    10 15Ş16      6 7Ş8        7 1Ş2       36
    H7 (94R) AGM           1355852            850            1000       140     80    12 9Ş16       6 7Ş8        7 1Ş2       36
    H8 (49) AGM            1355853            900            1000       160     95    13 15Ş16      6 7Ş8        7 1Ş2       36
    H9 (95R) AGM           1355854            950            1000       190    100    15 9Ş16       6 7Ş8        7 1Ş2       36
                                                    Interstate Batteries Marine/RV
        24DC                850281             550         MCA 700      140      —    11            6 7Ş8        9 1Ş2       12
        27DC                850982             600         MCA 750      160      —    12 3Ş4        6 3Ş4        9 1Ş2       12
      24M AGM              1444326             750         MCA 940      140     70    10 1Ş4        6 13Ş16      8 7Ş8       12
                                                 Interstate Batteries Lawn & Garden
          U1                850283             230            300        30      —     7 3Ş4        5 3Ş16       7 5Ş16       6
                                                   Interstate Batteries Commercial
         8D                989782             1400           1750       450      —    20 3Ş4      11             9 5Ş8       12
         31T               1333133             950           1190       195      —    13           6 3Ş4         9 3Ş8       18
         31A               1333040             950           1190       195      —    13           6 3Ş4         9 3Ş8       18
                                                    Interstate Batteries Golf Car
                                Costco Item                                              Overall Dimensions (inches)       Warranty
    Group Size     Volts                                   RC                  Ah
                                 Number                                               Length        Width       Height     (months)
     GC2            6            850284              RC @ 75A 105              175    10 5Ş16       7 1Ş8      11            12
     GC8            8            850984              RC @ 56A 110              135    10 5Ş16       7 1Ş8      11            12
     GC12          12            851560              RC @ 75A 70               120    13            7 1Ş8      10 3Ş4        12


                                                                                                                              Costco_001803
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4                                                                           BCI Assembly Figures
                                   Assembly
Group Dimensions (inches)
                                     Figure Voltage
  Size Length Width Height
                                    Number
   21    8 1Ş8    6 3Ş4    8 9Ş16      10     12
  21R    8 1Ş8    6 3Ş4    8 9Ş16      11     12
  22F    9 3Ş8    6 7Ş8    8 3Ş16      11F    12
 22NF    9 Ş8
           3
                  5 Ş2
                    1
                           8 Ş16
                             13
                                       11F    12
   24   11        6 7Ş8    8 3Ş4       10     12
  24F   10 15Ş16  6 7Ş8    8 11Ş16     11F    12
   25    9 11Ş16  6 7Ş8    8 13Ş16     10     12
   26    8 1Ş2    6 3Ş4    7 3Ş4       10     12
  26R    8 1Ş2    6 3Ş4    7 3Ş4       11     12
   27   12 3Ş4    6 5Ş8    8 13Ş16     10     12
  27F   12 3Ş4    6 5Ş8    8 13Ş16     11F    12
 29NF 13          5 1Ş2    8 15Ş16     11F    12
   34   10 15Ş16  6 7Ş8    7 13Ş16     10     12
   35    9 11Ş16  6 7Ş8    8 13Ş16     11     12
  36R   10 3Ş8    7 1Ş4    8 7Ş8       19     12
  40R   11 3Ş8    6 13Ş16  6 13Ş16     15     12
   41   12 1Ş4    6 7Ş8    6 7Ş8       15     12
   42    9 Ş2
           1
                  6 Ş8
                    7
                           6 Ş8
                             7
                                       15     12
   45    9 3Ş8    5 1Ş2    8 13Ş16     10F    12
   46   10 15Ş16  6 13Ş16  8 11Ş16     10F    12
47 (H5) 9 1Ş16    6 15Ş16  7 1Ş2     24(A,F)  12
48 (H6) 11 3Ş8    6 7Ş8    7 1Ş2       24     12
49 (H8) 14 Ş16
           5
                  6 Ş8
                    7
                           7 Ş2
                             1
                                       24     12
   50   13 1Ş4    5 9Ş16   8 13Ş16     10     12
   51    9 3Ş8    5 1Ş8    8 7Ş8       10     12
  51R    9 5Ş16   5        8 11Ş16     11     12
   56   10 11Ş16  6        8 5Ş16      19     12
   58   10        7 Ş16
                    3
                           7           26     12
  58R   10        7 3Ş16   7           19     12
   59   10        7 7Ş16   7 5Ş8       21     12
   64   12 1Ş4    6 1Ş4    8 13Ş16     20     12
   65   12        7 7Ş16   7 5Ş8       21     12
   66   12 Ş16
           1
                  7 Ş16
                    7
                           7 Ş16
                             11
                                       13     12
   70    8 11Ş16  6 3Ş4    7 7Ş16      17     12
   74   10 7Ş8    7 1Ş4    8 3Ş8       17     12
   75    9 11Ş16  7 1Ş4    7 1Ş4       17     12
   78   10 15Ş16  7 1Ş4    7 1Ş4       17     12
   79   12 1Ş16   7 1Ş16   7 3Ş8       35     12
   85    9 1Ş8    6 13Ş16  7 13Ş16     11     12
   86    9 1Ş16   6 7Ş8    8           10     12
   92   12 11Ş16  6 15Ş16  6 15Ş16     24     12
  94R   12 3Ş8    6 7Ş8    8           24     12
  95R   15 9Ş16   6 15Ş16  7 1Ş2       24     12
  96R    9 1Ş2    6 13Ş16  6 7Ş8       15     12
  100   10 1Ş4    7 1Ş16   7 3Ş8       35     12
  101   10 1Ş4    7 1Ş16   6 11Ş16     17     12
 121R    8 Ş4
           1
                  7        8 Ş2
                             1
                                       19     12
 124R 10 5Ş16     7        8 5Ş8       19     12
  30H   13 1Ş2    6 13Ş16  9 1Ş4       10     12
   31   13        6 13Ş16  9 3Ş8     18(A,T)  12
  31P   13        6 13Ş16  9 3Ş8     18(A,T)  12
  27M 12 7Ş8      6 3Ş4    9 1Ş8       NA     12
  24M 11 1Ş16     6 3Ş4    9 1Ş8       NA     12
 29HM 13          6 3Ş4   10           NA     12
   4D   20        8 3Ş16   9 9Ş16       8     12
   8D   20 3Ş8   10 1Ş8    9 13Ş16      8     12
  3EE   19 1Ş4    4 1Ş4    8 9Ş16       9     12
   3ET  19 1Ş4    4 1Ş4    9 9Ş16       9     12
  4DLT 20         8 3Ş16   7 15Ş16     NA     12
  16TF 16 9Ş16    7 1Ş8   11 1Ş8       10F    12
  17TF 17 1Ş16    6 15Ş16  7 15Ş16     11L    12
   U1    8 1Ş4    5 3Ş16   7 3Ş16     10(X)   12
  U1R    8 1Ş4    5 3Ş16   7 3Ş16     11(X)   12
 U1RT    8 1Ş4    5 3Ş16   7 3Ş16      11     12
34/78DT 11        7 1Ş4    8 1Ş8       NA     12
75/86DT 9 11Ş16   7 1Ş4    8 1Ş8       NA     12
    1    9 1Ş8    7 1Ş8    9 3Ş8        2      6
    2   10 3Ş8    7 1Ş8    9 3Ş8        2      6
    4   12 7Ş8    7        9 3Ş8        2      6
  3EH   19 1Ş4    4 1Ş4    9 9Ş16       5      6
 17HF    7 3Ş8    6 7Ş8    9           2B      6
  19L    8 Ş2
           1
                  7        7 Ş2
                             1
                                        2      6      Designs and designations supplied by Battery Council International and are provided for
                                                      UHIHUHQFHRQO\6HHVSHFLŴFDWLRQFKDUWIRUGLPHQVLRQDOGHWDLOV


                                                                                                                                                Costco_001804
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                                      929
   Group Size Dimensions                                                                                                          5

                                    BCI DESIGN                                                          *DIN DESIGN




                                        FORD                                                           FORD/MAZDA




                                                                   GENERAL MOTORS




   127('LPHQVLRQVOLVWHGDERYHDUH%DWWHU\&RXQFLO,QWHUQDWLRQDO %&, GLPHQVLRQV%DWWHU\GLPHQVLRQVDUHURXQGHGWR".
    ',1  'HXWVFKHV,QVWLWXWI¾U1RUPXQJ *URXSVL]HVVKRZQDUH%&,HTXLYDOHQWWR',1JURXSVL]HV


                                                                                                                                Costco_001805
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6                                                                                      Abbreviations
2V          2 Valve per Cylinder              DT       Dual Terminal                   MT         Manual Transmission
4V          4 Valve per Cylinder              EFB      Enhanced Flooded Battery        MY         Model Year
2WD         Two-Wheel Drive                   EFI      Electronic Fuel Injection       N/A        Not Available
4WD         Four-Wheel Drive                  ELWB     ([WUD/RQJ:KHHO%DVH           No.        Number
AC          Air Conditioning                  Eng      Engine                          OE         Original Equipment
AGM         Absorbed Glass-Mat                ETR      Electronic Tuning Radio         OHC        Overhead Cam
Ah          Amp Hour                          Ex       ([FHSW                          OHV        Overhead Valve
Alt         Alternate                         Fig      Figure                          Opt        Optional
AT          Automatic Transmission            FI       Fuel Injection                  Pkg        Package
Aux         $X[LOLDU\                         Fla      Florida                         PPkg       Police Package
AWD         All Wheel Drive                   FWD      Front-Wheel Drive               PS         Power Steering
Bat         Battery                           GVW      Gross Vehicle Weight            PTO        Power Take-Off
BCI         Battery Council International     HBL      Heated Back Light (Rear         RC         Reserve Capacity
                                                       Window Defroster)               RRC        Repetitive Reserve Cycles
Calif       California
                                              HA       High Altitude                   Rt         Right
CA          Cranking Amps
                                              HD       Heavy Duty                      RWD        Rear-Wheel Drive
Can         Canada
                                              HO       High Output                     S/C        Super Charged
Carb        Carburetor
                                              HP       Horsepower                      SEO        Special Electrical Option
CFI         Central Fuel Injection
                                                       High Swirl Combustion
cc          Cubic Centimeter                  HSC      (chamber)                       SG         Sound Guard
CCA         &ROG&UDQNLQJ$PSV Ƅ)          Htr      Heater                          SHO        Super High Output
CDI         Common Direct Injection           HWS      Heated Windshield               SOHC       Single Overhead Cam
ci          Cubic inch                        Hyb      Hybrid                          Std        Standard
Comp        Compression                       Ign      Ignition                        SULEV      Super Ultra Low Emissions
                                                                                                  Vehicle
Cont        Continental                       IHC      International Harvester Co.     TBI        Throttle Body Injection
Conv        Convertible                       Incl     Including                       TDI        Turbo Direct Injection
            Continuously Variable             Ind      Industrial
CVT                                                                                    US         United States
            Transmission
                                              L        Liter                           V          Venturi
Cyl         Cylinder
                                                       In-Line 4, 5 or 6 Cylinder
DES         Direct Injection Start            L4/L5/L6 Engine                          TTPkg      Trailer Towing Package
            Deutsche Institut für             Lft      Left                            Turbo      Turbo Charged
DIN
            Normung                                                                    w/         With
                                              LPG      Liquified Petroleum Gas
DOHC        Dual Overhead Cam                                                          w/o        Without
                                              MFI      Multi-Port Fuel Injection
Dsl         Diesel                                                                     Wisc       Wisconsin
                                              Modif    Modified


Glossary
CCA (Cold Cranking Amps)                                            Ah (Amp Hours)
&&$ 7KHQXPEHURIDPSHUHVDEDWWHU\DWƄbF                       A unit of measurement for a battery’s electrical storage
(-17.8Ƅb& FDQGHOLYHUIRUVHFRQGVDQGPDLQWDLQD               capacity, obtained by multiplying the current in
voltage equal to or higher than 1.2 volts per cell (7.2             DPSHUHVE\WKHWLPHLQKRXUVRIGLVFKDUJH([DPSOH$
volts for a 12-volt battery).                                       EDWWHU\GHOLYHUVDPSV[+RXUV $K
CA (Cranking Amps) or MCA (Marine Cranking Amps)                    Cycle Life (SAE – J240B)
CA or MCA is the discharge load in amperes which                    $WƄbF the battery is discharged at 25 amperes for
a new, fully charged battery at 32Ƅb) ƄbC) can                    IRXUPLQXWHVDQGWKHQUHFKDUJHGIRUPLQXWHV7KLV
FRQWLQXRXVO\GHOLYHUIRUVHFRQGVDQGPDLQWDLQD                 cycle is continued until the battery fails to meet its
terminal voltage equal to or higher than 1.2 volts per cell         VSHFLĬHG&&$UDWLQJ
(7.2 volts for a 12-volt battery).                                  Vibration
RC (Reserve Capacity)                                               The battery is mounted onto a shaker table and
A battery must provide emergency power for ignition,                vibrated at 3.5 Gs until it is physically damaged, loses
lights, etc., in the event of failure in the vehicle’s battery      electrical capacity or leaks acid. The minimum vibration
UHFKDUJLQJV\VWHP7KH5&UDWLQJLVGHĬQHGDVWKH                  time for automotive batteries is four hours.
number of minutes a new fully charged battery at
ƄbF (26.7ƄbC) can be discharged at 25 amperes and
maintain a terminal voltage equal to or higher than
YROWVSHUFHOO YROWVIRUDYROWEDWWHU\ 


                                                                                                                               Costco_001806
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   Safety Information                                                                             7




   Do Not Inhale Sulfuric Acid Mist                 • Remove old battery. Note the position
   Danger of Exploding Batteries                      of positive (+) terminal and negative
                                                      (-) terminal. Mark the cables for correct
   Batteries contain sulfuric acid and produce        connection to new battery.
   H[SORVLYHPL[WXUHVRIK\GURJHQDQGR[\JHQ
   Because self-discharge action generates          • Clean terminals and cable connections with
   hydrogen gas even when the battery is not in       a wire brush. Broken connections, frayed or
   operation, make sure batteries are stored and      cut cables should be replaced.
   worked on in a well-ventilated area. Always      • Install the new battery in the same position
   wear safety glasses and a face shield when         as the old one. Be sure to secure it with the
   working on or near batteries.                      holddown assembly.
   :KHQZRUNLQJZLWKEDWWHULHV                     • Make sure the terminals do not touch any
   • Always wear proper eye, face and                 metal mounting, engine or body parts.
     hand protection.                               • Connect cables tightly. Connect ground
   • Remove all jewelry to avoid electrical           FDEOHODVWWRDYRLGVSDUNVDQGH[SORVLRQ
      contact, which can create sparks or cause
      severe burns.                                 Handling Battery Acid
   ş.HHSDOOVSDUNVĭDPHVDQGFLJDUHWWHVDZD\   Battery acid, or electrolyte, is a solution
     from the battery.                              of sulfuric acid and water that can destroy
                                                    FORWKLQJDQGEXUQWKHVNLQ8VHH[WUHPH
   ş'RQRWDWWHPSWWRRSHQDĭXVKFRYHU          caution when handling electrolyte and keep
      battery.                                      an acid neutralizing solution—such as baking
   • Never lean over battery while boosting,        soda—readily available. When handling
     testing or charging.                           EDWWHULHV
   • Cover vent caps with a damp cloth to           • Always wear proper eye, face and hand
     minimize gas seepage.                            protection.
   • Make sure work area is well ventilated.        • If electrolyte is splashed into an eye,
                                                       LPPHGLDWHO\IRUFHWKHH\HRSHQDQGĭRRGLW
   • Do not remove or damage vent caps.
                                                       with clean, cool water for at least 15 minutes.
   • Do not breathe acid mist.                         Get prompt medical attention.
                                                    • If electrolyte is taken internally, drink large
   Safe Battery Installation                           quantities of water or milk. Do not induce
   To assure safe installation and proper              vomiting. Call a physician immediately.
   operation, follow these installation
                                                    • Neutralize any electrolyte that spills
   procedures.
                                                       LPPHGLDWHO\ZLWKDPL[WXUHRIZDWHUDQG
   • Always wear proper eye, face and hand             baking soda.
     protection.
                                                    ş0L[LQJDFLGFDQEHYHU\GDQJHURXV'R
   ş'LVFRQQHFWJURXQGFDEOHĬUVW7KLVLV           not attempt without proper training.
      usually the negative cable; however, older
      vehicles may have a positive ground.



                                                                                                Costco_001807
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8                                                          Safety Information

Safe Charging                                          • Always turn the charger OFF before
Before beginning the charging operation,                 removing charger leads from the battery
read and follow the instructions that                    to avoid dangerous sparks.
come with the charger. Never attempt to                Safe Booster Cable Operation
FKDUJHDEDWWHU\ZLWKRXWĬUVWUHYLHZLQJWKH
instructions for the charger being used.               When jump-starting, always wear proper
In addition to the charger manufacturer’s              eye, face and hand protection and never
instructions, these general precautions                lean over the battery. Do not jump-start a
VKRXOGEHIROORZHG                                    damaged battery; inspect both batteries
                                                       before connecting booster cable. Be sure
• Always charge batteries in a well-                   vent caps are tight and level. Place a damp
   ventilated area and wear proper eye, face           cloth over the vent caps of both batteries.
   and hand protection.                                Make certain that the vehicles and cable
• Turn the charger and timer OFF before                ends are not touching and both ignition
   connecting the leads to the battery to              switches are turned to the OFF position.
   avoid dangerous sparks.                             1. Connect positive (+) booster cable to
ş7RDYRLGDQH[SORVLRQQHYHUWU\WRFKDUJH            positive (+) terminal of discharged
   a visibly damaged or frozen battery.                   battery.
• Connect the charger leads to the battery;            2. Connect other end of positive (+) cable to
   red positive (+) lead to the positive (+)               positive (+) terminal of assisting battery.
   terminal and black negative (-) lead to the         3. Connect negative (-) cable to negative (-)
   negative (-) terminal. If the battery is still in       terminal of assisting battery.
   the vehicle, connect the negative lead to
   the engine block to serve as a ground. (If          0DNHĬQDOFRQQHFWLRQRIQHJDWLYH  FDEOH
   the vehicle is positive grounded, connect               to engine block of stalled vehicle, away from
   the positive lead to the engine block.)                 battery.
• Make sure that the leads to the                      5. Start vehicle and remove cables in reverse
   connections are tight.                                  order of connections.
• Set the timer, turn the charger on and
   slowly increase the charging rate until the
   desired ampere value is reached.
• If the battery becomes hot or if violent
   gassing or spewing of electrolyte occurs,
   reduce the charging rate or temporarily
   halt the charger.

                                     MAKE CERTAIN VEHICLES
                                        DO NOT TOUCH!




                                                                                                           Costco_001808
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         PROPOSITION 65
            WARNING

         • Battery posts, terminals and
           related accessories contain
           lead and lead compounds,
           chemicals known to the state
           of California to cause cancer
           and reproductive harm.

         • Batteries also contain other
           chemicals known to the state
           of California to cause cancer.

         • Wash hands after handling.



                                                                                Costco_001809
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10                                                                   Notes




                                                                                Costco_001810
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 612Acura
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   Automotive/Light Truck                                                                                                   11
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Acura CL
   2003-01     V6/3.2L                                                      55011                  —                 —
   1999-98     L4/2.3L                                                      55011                  24F 6, 10         24F AGM
   1999-97     V6/3.0L                                                      55011                  —                 —
   1997        L4/2.2L                                                      550                    24F               24F AGM
   Acura CSX
   2011-08 L4/2.0L                                                          410                    51R               —
   2007    L4/2.0L                                                          440                    51R               —
   2006    L4/2.0L                                                          500                    51R               —
   Acura EL
   2005-01 L4/1.7L                                                          410                    51                —
   2000-97 L4/1.6L                                                          410                    51R               —
   Acura ILX
   2020-19     L4/2.4L                                                      500                    51R               —
   2018-13     L4/2.4L                                                      410                    51R               —
   2015-13     L4/1.5L     Hybrid                                           340                    —                 —
   2015-13     L4/2.0L                                                      410                    51R               —
   Acura Integra
   2001-94 L4/1.8L                                                          410                    51R               —
   1993-92 L4/1.7L                                                          435                    25                —
   1993-90 L4/1.8L                                                          435                    25                —
   Acura Legend
   1995-91 V6/3.2L                                                          585                    24                —
   1990    V6/2.7L                                                          585                    24F               24F AGM
   Acura MDX
   2020-17     V6/3.0L     Hybrid                                           65033                  H6 (48) AGM       —
   2020-16     V6/3.5L                                                      620                    H6 (48)           H6 (48) AGM
   2020-16     V6/3.5L     Advance Package                                  65033                  H6 (48) AGM       —
   2016        V6/3.5L     AWD                                              65033                  H6 (48) AGM       —
   2016        V6/3.5L     FWD                                              620                    H6 (48)           H6 (48) AGM
   2015-14     V6/3.5L                                                      550                    24F               24F AGM
   2013-07     V6/3.7L                                                      630                    24F               24F AGM
   2006-01     V6/3.5L                                                      550                    24F               24F AGM
   Acura NSX
   2021-17     V6/3.5L     Hybrid                                           60033                  H5 (47) AGM       —
   2005-97     V6/3.2L     MT                                               435                    35                35 AGM
   2005-91     V6/3.0L     AT or HD                                         585                    24F               24F AGM
   2005-91     V6/3.0L     MT                                               435                    35                35 AGM
   1999        V6/3.2L     AT                                               585                    24F               24F AGM
   Acura RDX
   2021-19     L4/2.0L                                                      65033                  H6 (48) AGM       —
   2018        V6/3.5L                                                      630                    24F               24F AGM
   2017        V6/3.5L                                                      63011                  24F 6, 10         24F AGM
   2016        V6/3.5L                                                      73011                  —                 —
   2015-13     V6/3.5L                                                      550                    24F               24F AGM
   2012-07     L4/2.3L                                                      440                    35                35 AGM
   Acura RL
   2012-09 V6/3.7L                                                          55011                  —                 —
   2008-05 V6/3.5L                                                          58511                  —                 —
   2004-96 V6/3.5L                                                          550                    24                —
   Acura RLX
   2020-14 V6/3.5L                                                          550                    24F               24F AGM
   Acura RSX
   2006-02 L4/2.0L                                                          400                    51R               —
   Acura SLX
   1999-98     V6/3.5L     AT                                               585                    24                —
   1999-98     V6/3.5L     Opt                                              610                    27                —
   1997        V6/3.2L                                                      585                    24                —
   1997        V6/3.2L     Opt                                              610                    27                —
   1996        V6/3.2L     AT or HD                                         610                    27                —
   Acura TL
   2014-09     V6/3.7L                                                      55011                  24F 6, 10         24F AGM
   2014-07     V6/3.5L                                                      55011                  24F 6, 10         24F AGM
   2008-04     V6/3.2L                                                      55011                  24F 6, 10         24F AGM
   2003-99     V6/3.2L                                                      55011                  —                 —
   1998-96     V6/3.2L                                                      450                    25                —
   1998-95     L5/2.5L                                                      450                    35                35 AGM
   Acura TLX
   2021       L4/2.0L                                                       85033                  H7 (94R) AGM      —
   2020-19 V6/3.5L                                                          650                    H6 (48)           H6 (48) AGM
   See page 157 for Footnotes. Selection may vary by warehouse.

                                                                                                                               Costco_001811
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12                                                       Automotive/Light Truck
  YEAR      ENGINE                             OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                        CCA/RATING             (NOTES)            (NOTES)

Acura TLX (continued)
2020-18   L4/2.4L                                                 470                    —                 —
2020-15   V6/3.5L    SH-AWD, Start-Stop                           65033                  H6 (48) AGM       —
2018-15   V6/3.5L                                                 620                    H6 (48)           H6 (48) AGM
2017-15   L4/2.4L                                                 440                    —                 —
Acura TSX
2014-10 V6/3.5L                                                   550                    24F               24F AGM
2014-04 L4/2.4L                                                   430                    51R               —
Acura Vigor
1994-92 L5/2.5L                                                   435                    35                35 AGM
Acura ZDX
2013-10 V6/3.7L                                                   550                    24F               24F AGM
Alfa Romeo 164
1995-91 V6/3.0L                                                   68550                  31A               —
Alfa Romeo 4C
2020-15 L4/1.7L                                                   500                    —                 —
Alfa Romeo 8C
2008      V8/4.7L                                                 580                    24F               24F AGM
Alfa Romeo Giulia
2019-17 L4/2.0L                                                   95 Ah                  —                 —
2019-17 V6/2.9L                                                   95 Ah                  —                 —
Alfa Romeo Spider
1994-91 L4/2.0L      Factory Install                              3007                   —                 —
1994-90 L4/2.0L      Port of entry installed                      5507                   34                —
1990    L4/2.0L      Factory Install                              5007                   24F               24F AGM
Alfa Romeo Stelvio
2019-18 L4/2.0L                                                   80054                  H7 (94R)          H7 (94R) AGM
2018    V6/2.9L                                                   80054                  H7 (94R)          H7 (94R) AGM
AM General Humvee
2001-94 V8/6.5L      Dsl                                          7702                   78                —
1996-95 V8/5.7L                                                   7702                   78                —
1993-92 V8/6.2L      Dsl                                          7702                   78                —
AmeriCanada Motors Corp Gremlin, Hornet, Javelin
1974-71   V8/5.9L                                                 3857                   24                —
1974-71   V8/6.6L                                                 305                    26R               —
1974-71   V8/6.6L    Opt                                          4107                   24                —
1974-70   V8/5.9L                                                 305                    26R               —
1974-70   V8/5.9L                                                 4107                   24                —
1974-70   V8/5.9L    Opt                                          4107                   24                —
1970-68   V8/6.4L                                                 305                    26R               —
1970-68   V8/6.4L    Opt                                          4107                   24                —
1969-68   V8/4.7L                                                 305                    26R               —
1969-68   V8/4.7L    Opt                                          410                    24                —
1969-68   V8/5.6L                                                 305                    26R               —
1969-68   V8/5.6L    Opt                                          4107                   24                —
1968      L6/3.8L                                                 4107                   24                —
Aston Martin DB11
2018-17 V12/5.2L                                                  85033, 54              H8 (49) AGM       —
Aston Martin DB7
2004-00 V12/6.0L                                                  78050, 54              —                 —
1998-97 L6/3.2L                                                   78050, 54              —                 —
Aston Martin DB9
2016-05 V12/6.0L                                                  83050, 54              —                 —
Aston Martin DBS
2012-08 V12/6.0L                                                  83050, 54              —                 —
Aston Martin One-77
2011      V12/7.3L                                                83054                  —                 —
Aston Martin Rapide
2018-11 V12/6.0L                                                  83050, 54              —                 —
Aston Martin V12 Vantage
2017-15 V12/6.0L                                                  83050, 54              —                 —
2013-10 V12/6.0L                                                  83050, 54              —                 —
Aston Martin V8 Vantage
2017-09 V8/4.7L                                                   83050, 54              —                 —
2008-06 V8/4.3L                                                   83050, 54              —                 —
Aston Martin Vanquish
2017-14 V12/6.0L                                                  83050, 54              —                 —
2006-01 V12/6.0L                                                  83050, 54              —                 —
                                                                 See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                              13
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT              GROUP SIZE       ALTERNATE SIZE
                                                                                                       CCA/RATING                   (NOTES)            (NOTES)

   Aston Martin Virage
   2012        V12/6.0L                                                                         83050, 54                     —                 —
   Asüna 6XQğUH
   1993        L4/1.8L                                                                          350                           35                35 AGM
   Asüna Sunrunner
   1993        L4/1.6L                                                                          525                           —                 —
   1992        L4/1.6L                                                                          550                           75                —
   Audi 100, 100 quattro
   1994-92     V6/2.8L                                                                          57550                         —                 —
   1994-92     V6/2.8L     Opt                                                                  65050                         —                 —
   1991-90     L5/2.3L                                                                          57550                         —                 —
   1991-90     L5/2.3L     Opt                                                                  65050                         —                 —
   Audi 200, 200 quattro
   1991-90 L5/2.2L                                                                              65050                         —                 —
   Audi 80, 80 quattro
   1992-91     L5/2.3L     Opt                                                                  650                           —                 —
   1992-90     L5/2.3L                                                                          575                           —                 —
   1990        L4/2.0L                                                                          575                           —                 —
   1990        L4/2.0L     Opt                                                                  650                           —                 —
   Audi 90, 90 quattro
   1995-93 V6/2.8L                                                                              650                           —                 —
   1992-90 L5/2.3L                                                                              650                           —                 —
   Audi A3
   2020-19     L4/1.4L     PR Code J0S                                                          54055, 56, 58, 59             —                 —
   2020-19     L4/1.4L     PR Code J1L                                                          54055, 56, 58                 H5 (47)           H5 (47) AGM
   2020-19     L4/1.4L     PR Code J2D                                                          68033, 55, 56, 58             H6 (48) AGM       —
   2020-19     L4/1.4L     PR Code J0T                                                          68055, 56, 58, 59             —                 —
   2020-19     L4/1.4L     PR Code J0V                                                          68055, 56, 58, 59             —                 —
   2020-19     L4/1.4L     PR Code J1D                                                          64055, 56, 58                 —                 —
   2020-19     L4/2.0L     PR Code J0V                                                          68055, 56, 58, 59             —                 —
   2020-17     L4/2.0L     PR Code J0S                                                          54045, 54, 58, 59             —                 —
   2020-09     L4/2.0L     PR Code J0T                                                          68045, 54, 58, 59             —                 —
   2020-09     L4/2.0L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM       —
   2018-17     L4/2.0L     PR Code J1D                                                          64050, 54, 55, 56, 58         —                 —
   2018-17     L4/2.0L     PR Code J1L                                                          54050, 54, 55, 56, 58         H5 (47)           H5 (47) AGM
   2018-17     L4/2.0L     PR Code J1P                                                          36045, 54, 58                 —                 —
   2016-15     L4/1.8L     PR Code J1L                                                          54050, 54, 55, 56, 58         H5 (47)           H5 (47) AGM
   2016-15     L4/1.8L     PR Code J0S                                                          54045, 54, 58, 59             —                 —
   2016-15     L4/1.8L     PR Code J0T                                                          68045, 54, 58, 59             —                 —
   2016-15     L4/1.8L     PR Code J1D                                                          64050, 54, 55, 56, 58         —                 —
   2016-15     L4/1.8L     PR Code J1P                                                          36045, 54, 58                 —                 —
   2016-15     L4/1.8L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM       —
   2016-15     L4/1.8L     PR Code J2S                                                          48045, 54, 58                 —                 —
   2016-15     L4/2.0L     Dsl, PR Code J0S                                                     54059                         —                 —
   2016-15     L4/2.0L     Dsl, PR Code J1D                                                     64050, 54, 55, 56, 58         —                 —
   2016-15     L4/2.0L     Dsl, PR Code J1P                                                     36045, 54, 58                 —                 —
   2016-15     L4/2.0L     Dsl, PR Code J2S                                                     48045, 54, 58                 —                 —
   2016-10     L4/2.0L     Dsl, PR Code J0N                                                     54050, 54, 55, 56, 58         —                 —
   2016-10     L4/2.0L     Dsl, PR Code J0T                                                     68045, 54, 58, 59             —                 —
   2016-10     L4/2.0L     Dsl, PR Code J2D                                                     68033, 50, 54, 55, 56, 58     H6 (48) AGM       —
   2013-10     L4/2.0L     Dsl, PR Code J0L, J1D                                                64050, 54, 55, 56, 58         —                 —
   2013-09     L4/2.0L     PR Code J0L, J1D                                                     64050, 54, 55, 56, 58         —                 —
   2013-06     L4/2.0L     PR Code J1L                                                          54050, 54, 55, 56, 58         H5 (47)           H5 (47) AGM
   2013-06     L4/2.0L     PR Code J0R                                                          80 Ah50, 54, 55, 56, 58       H7 (94R)          H7 (94R) AGM
   2008-06     L4/2.0L     PR Code J0L, J1D                                                     64050, 54, 55, 56             —                 —
   2008-06     L4/2.0L     PR Code J1N                                                          75 Ah33, 50, 54, 55, 56, 58   H7 (94R) AGM      —
   Audi A3 quattro
   2019       L4/2.0L      PR Code J0H                                                          58 Ah33, 45, 55, 56, 58       —                 —
   2019       L4/2.0L      PR Code J0S                                                          59 Ah55, 56, 58, 59           —                 —
   2019       L4/2.0L      PR Code J0T                                                          69 Ah55, 56, 58, 59           —                 —
   2019       L4/2.0L      PR Code J0V                                                          70 Ah45, 55, 56, 58, 59       —                 —
   2019       L4/2.0L      PR Code J1D                                                          72 Ah55, 56, 58               —                 —
   2019       L4/2.0L      PR Code J1L                                                          60 Ah55, 56, 58               H5 (47)           H5 (47) AGM
   2019       L4/2.0L      PR Code J1P                                                          44 Ah45, 55, 56, 58           —                 —
   2019       L4/2.0L      PR Code J2D                                                          68 Ah33, 55, 56, 58           H6 (48) AGM       —
   2018-17 L4/2.0L         PR Code J0S                                                          54045, 54, 58, 59             —                 —
   2018-17 L4/2.0L         PR Code J1L                                                          54050, 54, 55, 56, 58         H5 (47)           H5 (47) AGM
   2018-15 L4/2.0L         PR Code J1D                                                          64050, 54, 55, 56, 58         —                 —
   2018-15 L4/2.0L         PR Code J1P                                                          36045, 54, 58                 —                 —
   2018-09 L4/2.0L         PR Code J0T                                                          68045, 54, 58, 59             —                 —
   2018-09 L4/2.0L         PR Code J2D                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM       —
   See page 157 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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14                                                                                      Automotive/Light Truck
   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT            GROUP SIZE    ALTERNATE SIZE
                                                                                                        CCA/RATING                 (NOTES)         (NOTES)

Audi A3 quattro (continued)
2016-15     L4/2.0L      PR Code J0S                                                             54045, 58                     —               —
2016-15     L4/2.0L      PR Code J2S                                                             48045, 58                     —               —
2016-09     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
2013-09     L4/2.0L      PR Code J0R                                                             80 Ah50, 54, 55, 56, 58       H7 (94R)        H7 (94R) AGM
2013-09     L4/2.0L      PR Code J0L, J1D                                                        64050, 54, 55, 56, 58         —               —
2009        V6/3.2L      PR Code J2D                                                             68 Ah33, 50, 54, 55, 56, 58   H6 (48) AGM     —
2009-06     V6/3.2L      PR Code J1L                                                             54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
2009-06     V6/3.2L      PR Code J0R                                                             80 Ah50, 54, 55, 56, 58       H7 (94R)        H7 (94R) AGM
2008-06     V6/3.2L                                                                              64050, 54, 55, 56             H7 (94R)        H7 (94R) AGM
2008-06     V6/3.2L      Opt                                                                     80033, 50, 54, 55, 56         H7 (94R) AGM    —
2008-06     V6/3.2L      PR Code J1N                                                             75 Ah33, 50, 54, 55, 56, 58   H7 (94R) AGM    —
Audi A3 Sportback e-tron
2018-17     L4/1.4L      Hybrid, PR Code J0T                                                     68045, 54, 58, 59             —               —
2018-17     L4/1.4L      Hybrid, PR Code J1L                                                     54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
2018-16     L4/1.4L      Hybrid, PR Code J0S                                                     54045, 54, 58, 59             —               —
2018-16     L4/1.4L      Hybrid, PR Code J1D                                                     64050, 54, 55, 56, 58         —               —
2018-16     L4/1.4L      Hybrid, PR Code J1P                                                     36045, 54, 58                 —               —
2018-16     L4/1.4L      Hybrid, PR Code J2D                                                     68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
2016        L4/1.4L      Hybrid, PR Code J0S                                                     N/A33, 50, 56, 59             —               —
2016        L4/1.4L      Hybrid, Multiple PR Codes                                               68045, 54, 58, 59             —               —
2016        L4/1.4L      Hybrid, PR Code J0N                                                     54050, 54, 55, 56, 58         —               —
2016        L4/1.4L      Hybrid, PR Code J2S                                                     48045, 54, 58                 —               —
Audi A4
2020-19     L4/2.0L      PR Code J2D, 0K0, 0K2, 0K4                                              68033, 50, 55, 56, 58       H6 (48) AGM   —
2020-18     L4/2.0L      PR Code J1N                                                             80033, 50, 55, 56, 58       H7 (94R) AGM —
2020-16     L4/2.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58       —             H9 (95R) AGM
2020-09     L4/2.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58   H9 (95R) AGM —
2020-09     L4/2.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58   H8 (49) AGM   —
2020-08     L4/2.0L      PR Code J1U                                                             76050, 54, 55, 56, 58       —             H8 (49) AGM
2019        L4/2.0L      PR Code J0H                                                             58 Ah33, 45, 50, 55, 56, 58 —             —
2019        L4/2.0L      PR Code J0K                                                             93 Ah45, 50, 55, 56, 58, 59 —             —
2019-18     L4/2.0L      PR Code JE4                                                             79 Ah45, 50, 55, 56, 58, 59 —             —
2018-16     L4/2.0L      PR Code J2D, 0K2                                                        68033, 50, 54, 55, 56, 58   H6 (48) AGM   —
2017-15     L4/2.0L      PR Code J1N                                                             75 Ah33, 50, 54, 55, 56, 58 H7 (94R) AGM —
2016-13     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM   —
2015-13     L4/2.0L      PR Code J0L                                                             57050, 54, 55, 56, 58       H6 (48)       H6 (48) AGM
2015-13     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58       H5 (47)       H5 (47) AGM
2015-09     L4/2.0L      Opt, PR Code J0Z                                                        110 Ah50, 54, 55, 56, 58    —             —
2015-08     L4/2.0L      PR Code J0R                                                             64050, 54, 55, 56, 58       H7 (94R)      H7 (94R) AGM
2012-09     L4/2.0L      PR Code J1N                                                             75 Ah33, 50, 54, 55, 56, 58 H7 (94R) AGM —
2008        V6/3.2L      PR Code J1U                                                             76050, 54, 55, 56, 58       —             H8 (49) AGM
2008-06     V6/3.2L      PR Code J0R                                                             64050, 54, 55, 56, 58       H7 (94R)      H7 (94R) AGM
2007-06     V6/3.2L                                                                              64050                       H7 (94R)      H7 (94R) AGM
2007-06     V6/3.2L                                                                              64050, 54, 55, 56           H7 (94R)      H7 (94R) AGM
2007-06     V6/3.2L      Opt                                                                     76050, 54                   —             H8 (49) AGM
2007-06     V6/3.2L      Opt                                                                     76050, 54, 55, 56           —             H8 (49) AGM
2007-05     L4/2.0L                                                                              64050                       H7 (94R)      H7 (94R) AGM
2007-05     L4/2.0L      Opt                                                                     76050, 54                   —             H8 (49) AGM
2006        L4/1.8L                                                                              64050, 54, 55, 56, 58       H7 (94R)      H7 (94R) AGM
2006        L4/1.8L      Opt                                                                     76050, 54, 55, 56, 58       —             H8 (49) AGM
2006        L4/2.0L                                                                              64050, 54, 55, 56           H7 (94R)      H7 (94R) AGM
2006        L4/2.0L      Opt                                                                     76050, 54, 55, 56           —             H8 (49) AGM
2005-03     L4/1.8L                                                                              64050                       H7 (94R)      H7 (94R) AGM
2005-03     V6/3.0L                                                                              64050                       H7 (94R)      H7 (94R) AGM
2005-03     V6/3.0L      Opt                                                                     76050, 54                   —             H8 (49) AGM
2005-02     L4/1.8L      Opt                                                                     76050, 54                   —             H8 (49) AGM
2002-97     L4/1.8L                                                                              64050                       H6 (48)       H6 (48) AGM
2002-97     L4/1.8L      Opt                                                                     64050                       H7 (94R)      H7 (94R) AGM
2002-97     L4/1.8L      Opt                                                                     72050, 54, 55, 56           H7 (94R)      H7 (94R) AGM
2002        L4/1.8L      Option 1                                                                76050, 54, 55, 56           —             H8 (49) AGM
2002        L4/1.8L      Option 2                                                                64050, 54, 55, 56           H7 (94R)      H7 (94R) AGM
2002        V6/3.0L                                                                              64050                       —             —
2002        V6/3.0L      Opt                                                                     72050, 54, 55, 56           H7 (94R)      H7 (94R) AGM
2002        V6/3.0L      Option 1                                                                76050, 54, 55, 56           —             H8 (49) AGM
2002        V6/3.0L      Option 2                                                                64050, 54, 55, 56           H7 (94R)      H7 (94R) AGM
2001-96     V6/2.8L      Opt                                                                     64050                       H7 (94R)      H7 (94R) AGM
2001-96     V6/2.8L      Opt                                                                     72050, 54, 55, 56           H7 (94R)      H7 (94R) AGM
2001-00     V6/2.8L                                                                              64050                       —             —
1999-98     V6/2.8L                                                                              64 Ah                       —             —
1999-96     V6/2.8L      Opt                                                                     64050                       H6 (48)       H6 (48) AGM
1997        L4/1.8L      Opt                                                                     54050, 54, 55, 56           —             —
1997        V6/2.8L                                                                              64050                       H6 (48)       H6 (48) AGM
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                                15
      YEAR        ENGINE                                                OPTIONS                          ORIGINAL EQUIPMENT             GROUP SIZE    ALTERNATE SIZE
                                                                                                             CCA/RATING                  (NOTES)         (NOTES)

   Audi A4 (continued)
   1997        V6/2.8L                                                                                64050, 54, 55, 56              —               —
   1997        V6/2.8L     Opt                                                                        36045                          —               —
   1997        V6/2.8L     Opt                                                                        54050, 54, 55, 56              —               —
   1997        V6/2.8L     Opt                                                                        64050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
   1997-96     V6/2.8L                                                                                54050                          H6 (48)         H6 (48) AGM
   Audi A4 allroad
   2021        L4/2.0L     Hybrid, PR Code J0B                                                        92 Ah33, 50, 55, 56, 58        H8 (49) AGM     —
   2021        L4/2.0L     Hybrid, PR Code J0H                                                        58 Ah33, 50, 55, 56, 58        H5 (47) AGM     —
   2021        L4/2.0L     Hybrid, PR Code J0P                                                        105 Ah33, 50, 55, 56, 58       —               —
   2021        L4/2.0L     Hybrid, PR Code J0Z                                                        110 Ah50, 55, 56, 58           —               —
   2021        L4/2.0L     Hybrid, PR Code J1N                                                        75 Ah33, 50, 55, 56, 58        H7 (94R) AGM    —
   2021        L4/2.0L     Hybrid, PR Code J1U                                                        95 Ah50, 55, 56, 58            —               H8 (49) AGM
   2021        L4/2.0L     Hybrid, PR Code J2D, 0K0, 0K2, 0K4                                         68 Ah33, 50, 55, 56, 58        H6 (48) AGM     —
   2021        L4/2.0L     Hybrid, Auxiliary Li-ion Only, PR Code 0K4                                 N/A45, 50, 55, 56, 58, 60      —               —
   2021        L4/2.0L     Hybrid, PR Code J0K                                                        93 Ah50, 55, 56, 58, 59        —               —
   2021        L4/2.0L     Hybrid, PR Code J4E                                                        79 Ah50, 55, 56, 58, 59        —               —
   2020-19     L4/2.0L     PR Code J2D,0K0,0K2,0K4                                                    68033, 50, 55, 56, 58          H6 (48) AGM     —
   2021-19     L4/2.0L     PR Code J0B                                                                85033, 50, 55, 56, 58          H8 (49) AGM     —
   2020-19     L4/2.0L     PR Code J1U                                                                76050, 55, 56, 58              —               H8 (49) AGM
   2020-19     L4/2.0L     PR Code J1N                                                                80033, 50, 55, 56, 58          H7 (94R) AGM    —
   2020-19     L4/2.0L     PR Code J0P                                                                95033, 50, 55, 56, 58          H9 (95R) AGM    —
   2020-19     L4/2.0L     PR Code J0Z                                                                85050, 55, 56, 58              —               H9 (95R) AGM
   2019        L4/2.0L     PR Code J0H                                                                58 Ah33, 45, 50, 55, 56, 58    —               —
   2019        L4/2.0L     PR Code J0K                                                                93 Ah45, 50, 55, 56, 58, 59    —               —
   2019        L4/2.0L     PR Code JE4                                                                79 Ah45, 50, 55, 56, 58, 59    —               —
   2018        L4/2.0L     PR Code J0P                                                                95033, 50, 54, 55, 56, 58      H9 (95R) AGM    —
   2018        L4/2.0L     PR Code J1N                                                                80033, 50, 54, 55, 56, 58      H7 (94R) AGM    —
   2018-16     L4/2.0L     PR Code J0Z                                                                85050, 54, 55, 56, 58          —               H9 (95R) AGM
   2018-13     L4/2.0L     PR Code J0B                                                                85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
   2018-13     L4/2.0L     PR Code J0L                                                                57050, 54, 55, 56, 58          H6 (48)         H6 (48) AGM
   2018-13     L4/2.0L     PR Code J1L                                                                54050, 54, 55, 56, 58          H5 (47)         H5 (47) AGM
   2018-13     L4/2.0L     PR Code J0R                                                                64050, 54, 55, 56, 58          H7 (94R)        H7 (94R) AGM
   2018-13     L4/2.0L     PR Code J1U                                                                76050, 54, 55, 56, 58          —               H8 (49) AGM
   2018-13     L4/2.0L     PR Code J2D                                                                68033, 50, 54, 55, 56, 58      H6 (48) AGM     —
   2017-13     L4/2.0L     PR Code J0P                                                                105 Ah33, 50, 54, 55, 56, 58   —               —
   2017-13     L4/2.0L     PR Code J1N                                                                75 Ah33, 50, 54, 55, 56, 58    H7 (94R) AGM    —
   2015-13     L4/2.0L     Opt, PR Code J0Z                                                           110 Ah50, 54, 55, 56, 58       —               —
   Audi A4 quattro
   2020-19 L4/2.0L         PR Code J2D, 0K0,0K2, 0K4                                                  68033, 50, 55, 56, 58          H6 (48) AGM     —
   2020-19 L4/2.0L         PR Code J1N                                                                80033, 50, 55, 56, 58          H7 (94R) AGM    —
   2020-19 L4/2.0L         PR Code J0P                                                                105 Ah33, 50, 55, 56, 58       —               —
   2020-19 L4/2.0L         PR Code J0P                                                                95033, 50, 55, 56, 58          H9 (95R) AGM    —
   2020-18 L4/2.0L         PR Code J0P                                                                95033, 50, 54, 55, 56, 58      H9 (95R) AGM    —
   2020-16 L4/2.0L         PR Code J0Z                                                                85050, 54, 55, 56, 58          —               H9 (95R) AGM
   2019       L4/2.0L      PR Code J0H                                                                58 Ah33, 45, 50, 55, 56, 58    —               —
   2019       L4/2.0L      PR Code J0K                                                                93 Ah45, 50, 55, 56, 58, 59    —               —
   2019       L4/2.0L      PR Code JE4                                                                79 Ah45, 50, 55, 56, 58, 59    —               —
   2019-09 L4/2.0L         PR Code J0B                                                                85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
   2019-08 L4/2.0L         PR Code J1U                                                                76050, 54, 55, 56, 58          —               H8 (49) AGM
   2018       L4/2.0L      PR Code J1N                                                                80033, 50, 54, 55, 56, 58      H7 (94R) AGM    —
   2018-15 L4/2.0L         PR Code J1L                                                                54050, 54, 55, 56, 58          H5 (47)         H5 (47) AGM
   2018-13 L4/2.0L         PR Code J0L                                                                57050, 54, 55, 56, 58          H6 (48)         H6 (48) AGM
   2018-13 L4/2.0L         PR Code J2D                                                                68033, 50, 54, 55, 56, 58      H6 (48) AGM     —
   2018-08 L4/2.0L         PR Code J0R                                                                64050, 54, 55, 56, 58          H7 (94R)        H7 (94R) AGM
   2017-15 L4/2.0L         PR Code J1N                                                                75 Ah33, 50, 54, 55, 56, 58    H7 (94R) AGM    —
   2017-09 L4/2.0L         PR Code J0P                                                                105 Ah33, 50, 54, 55, 56, 58   —               —
   2015-09 L4/2.0L         Opt, PR Code J0Z                                                           110 Ah50, 54, 55, 56, 58       —               —
   2014-13 L4/2.0L         PR Code J1L                                                                54050, 54, 55, 56, 58          H5 (47)         H5 (47) AGM
   2012-09 L4/2.0L         PR Code J1N                                                                75 Ah33, 50, 54, 55, 56, 58    H7 (94R) AGM    —
   2009       V6/3.2L      PR Code J0B                                                                85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
   2009       V6/3.2L      PR Code J0P                                                                105 Ah33, 50, 54, 55, 56, 58   —               —
   2009       V6/3.2L      PR Code J0Z                                                                85050, 54, 55, 56, 58          —               H9 (95R) AGM
   2009       V6/3.2L      PR Code J1N                                                                75 Ah33, 50, 54, 55, 56, 58    H7 (94R) AGM    —
   2009-08 V6/3.2L         PR Code J1U                                                                76050, 54, 55, 56, 58          —               H8 (49) AGM
   2009-06 V6/3.2L         PR Code J0R                                                                64050, 54, 55, 56, 58          H7 (94R)        H7 (94R) AGM
   2007-05 L4/2.0L                                                                                    64050                          H7 (94R)        H7 (94R) AGM
   2007-05 L4/2.0L         Opt                                                                        76050, 54                      —               H8 (49) AGM
   2007-05 V6/3.2L                                                                                    64050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
   2007-05 V6/3.2L         Opt                                                                        76050, 54                      —               H8 (49) AGM
   2007-05 V6/3.2L         Opt                                                                        76050, 54, 55, 56              —               H8 (49) AGM
   2006-03 V6/3.0L                                                                                    64050                          H7 (94R)        H7 (94R) AGM
   2006-03 V6/3.0L         Opt                                                                        76050, 54                      —               H8 (49) AGM
   See page 157 for Footnotes. Selection may vary by warehouse.                   Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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16                                                                                      Automotive/Light Truck
   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT             GROUP SIZE    ALTERNATE SIZE
                                                                                                        CCA/RATING                  (NOTES)         (NOTES)

Audi A4 quattro (continued)
2005-03     L4/1.8L                                                                              64050                          H7 (94R)        H7 (94R) AGM
2005-03     L4/1.8L      Opt                                                                     76050, 54                      —               H8 (49) AGM
2002-99     L4/1.8L      Opt                                                                     72050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2002-97     L4/1.8L                                                                              64050                          H6 (48)         H6 (48) AGM
2002-97     L4/1.8L      Opt                                                                     64050                          H7 (94R)        H7 (94R) AGM
2002        L4/1.8L                                                                              76050, 54                      —               H8 (49) AGM
2002        L4/1.8L      Option 1                                                                76050, 54, 55, 56              —               H8 (49) AGM
2002        L4/1.8L      Option 2                                                                64050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2002        V6/3.0L                                                                              64050                          —               —
2002        V6/3.0L      Opt                                                                     72050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2002        V6/3.0L      Option 1                                                                76050, 54, 55, 56              —               H8 (49) AGM
2002        V6/3.0L      Option 2                                                                64050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2001-96     V6/2.8L      Opt                                                                     64050                          H7 (94R)        H7 (94R) AGM
2001-96     V6/2.8L      Opt                                                                     72050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2001        V6/2.8L                                                                              64050, 54, 55, 56              —               —
2001        V6/2.8L      Opt                                                                     64050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2001-00     V6/2.8L                                                                              64050                          —               —
1999-98     V6/2.8L                                                                              64 Ah                          —               —
1999-96     V6/2.8L      Opt                                                                     64050                          H6 (48)         H6 (48) AGM
1998        V6/2.8L                                                                              64050, 54, 55, 56              —               —
1997        V6/2.8L      Opt                                                                     64050, 54, 55, 56              —               —
1997-96     V6/2.8L                                                                              54050                          H6 (48)         H6 (48) AGM
1996        V6/2.8L                                                                              54050, 54, 55, 56              —               —
Audi A5
2019        L4/2.0L      PR Code J2D                                                             68033, 50, 55, 56, 58          H6 (48) AGM     —
2019        L4/2.0L      PR Code J0B                                                             85033, 50, 55, 56, 58          H8 (49) AGM     —
2019        L4/2.0L      PR Code J1U                                                             76050, 55, 56, 58              —               H8 (49) AGM
2019        L4/2.0L      PR Code J1N                                                             80033, 50, 55, 56, 58          H7 (94R) AGM    —
2019        L4/2.0L      PR Code J0P                                                             95033, 50, 55, 56, 58          H9 (95R) AGM    —
2019        L4/2.0L      PR Code J0Z                                                             85050, 55, 56, 58              —               H9 (95R) AGM
2014-12     L4/2.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58      H7 (94R) AGM    —
2014-11     L4/2.0L      PR Code J0R                                                             80 Ah50, 54, 55, 56, 58        H7 (94R)        H7 (94R) AGM
2014-10     L4/2.0L      PR Code J0B                                                             92 Ah33, 50, 54, 55, 56, 58    H8 (49) AGM     —
2014-10     L4/2.0L      PR Code J0L                                                             57050, 54, 55, 56, 58          H6 (48)         H6 (48) AGM
2014-10     L4/2.0L      PR Code J0P                                                             105 Ah33, 50, 54, 55, 56, 58   —               —
2014-10     L4/2.0L      PR Code J0Z                                                             110 Ah50, 54, 55, 56, 58       —               —
2014-10     L4/2.0L      PR Code J1D                                                             72 Ah50, 54, 55, 56, 58        —               —
2014-10     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58          H5 (47)         H5 (47) AGM
2014-10     L4/2.0L      PR Code J1U                                                             76050, 54, 55, 56, 58          —               H8 (49) AGM
2014-10     L4/2.0L      PR Code J2D                                                             68 Ah33, 50, 54, 55, 56, 58    H6 (48) AGM     —
2010        L4/2.0L      PR Code J0R                                                             64050, 54, 55, 56, 58          H7 (94R)        H7 (94R) AGM
Audi A5 quattro
2020-19     L4/2.0L      PR Code J1N                                                             80033, 50, 55, 56, 58          H7 (94R) AGM    —
2020-19     L4/2.0L      PR Code J0P                                                             95033, 50, 55, 56, 58          H9 (95R) AGM    —
2020-19     L4/2.0L      PR Code J0Z                                                             85050, 55, 56, 58              —               H9 (95R) AGM
2020-15     L4/2.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
2020-10     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58      H6 (48) AGM     —
2020-10     L4/2.0L      PR Code J1U                                                             76050, 54, 55, 56, 58          —               H8 (49) AGM
2018        L4/2.0L      PR Code 0K0                                                             68033, 50, 54, 55, 56, 58      H6 (48) AGM     —
2018-15     L4/2.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58      H9 (95R) AGM    —
2018-15     L4/2.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58          —               H9 (95R) AGM
2018-12     L4/2.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58      H7 (94R) AGM    —
2017-15     L4/2.0L      PR Code J0R                                                             64050, 54, 55, 56, 58          H7 (94R)        H7 (94R) AGM
2017-10     L4/2.0L      PR Code J0L                                                             57050, 54, 55, 56, 58          H6 (48)         H6 (48) AGM
2017-10     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58          H5 (47)         H5 (47) AGM
2014-10     L4/2.0L      PR Code J0B                                                             92 Ah33, 50, 54, 55, 56, 58    H8 (49) AGM     —
2014-10     L4/2.0L      PR Code J0P                                                             105 Ah33, 50, 54, 55, 56, 58   —               —
2014-10     L4/2.0L      PR Code J0R                                                             80 Ah50, 54, 55, 56, 58        H7 (94R)        H7 (94R) AGM
2014-10     L4/2.0L      PR Code J0Z                                                             110 Ah50, 54, 55, 56, 58       —               —
2014-10     L4/2.0L      PR Code J1D                                                             72 Ah50, 54, 55, 56, 58        —               —
2010        V6/3.2L      PR Code J0P                                                             105 Ah33, 50, 54, 55, 56, 58   —               —
2010        V6/3.2L      PR Code J0B                                                             92 Ah33, 50, 54, 55, 56, 58    H8 (49) AGM     —
2010        V6/3.2L      PR Code J0L                                                             57050, 54, 55, 56, 58          H6 (48)         H6 (48) AGM
2010        V6/3.2L      PR Code J1L                                                             54050, 54, 55, 56, 58          H5 (47)         H5 (47) AGM
2010        V6/3.2L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58      H6 (48) AGM     —
2010-08     V6/3.2L      PR Code J0R                                                             80 Ah50, 54, 55, 56, 58        H7 (94R)        H7 (94R) AGM
2010-08     V6/3.2L      PR Code J0Z                                                             110 Ah50, 54, 55, 56, 58       —               —
2010-08     V6/3.2L      PR Code J1U                                                             76050, 54, 55, 56, 58          —               H8 (49) AGM
Audi A5 Sportback
2020-19 L4/2.0L          PR Code J1U                                                             76050, 55, 56, 58              —               H8 (49) AGM
2020-18 L4/2.0L          PR Code J0Z                                                             85050, 54, 55, 56, 58          —               —
2020-18 L4/2.0L          PR Code J1N                                                             80033, 50, 55, 56, 58          H7 (94R) AGM    —
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 157 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                  Costco_001816
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                                                                                 of
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   Automotive/Light Truck                                                                                                                             17
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT             GROUP SIZE       ALTERNATE SIZE
                                                                                                       CCA/RATING                  (NOTES)            (NOTES)

   Audi A5 Sportback (continued)
   2020-18     L4/2.0L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
   2020-18     L4/2.0L     PR Code J0P                                                          95033, 50, 54, 55, 56, 58      H9 (95R) AGM    —
   2019        L4/2.0L     PR Code J0H                                                          58 Ah33, 45, 50, 55, 56, 58    —               —
   2019        L4/2.0L     PR Code J0K                                                          93 Ah45, 50, 55, 56, 58, 59    —               —
   2019        L4/2.0L     PR Code J4E                                                          79 Ah45, 50, 55, 56, 58, 59    —               —
   2018        L4/2.0L     PR Code 0K0                                                          68033, 50, 54, 55, 56, 58      H6 (48) AGM     —
   Audi A6
   2018-16     L4/2.0L     PR Code J0L                                                          64050, 54, 55, 56, 58          H6 (48)         H6 (48) AGM
   2018-16     L4/2.0L     PR Code J0R                                                          64050, 54, 55, 56, 58          H7 (94R)        H7 (94R) AGM
   2018-16     L4/2.0L     PR Code J0Z                                                          85050, 54, 55, 56, 58          —               H9 (95R) AGM
   2018-15     L4/2.0L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
   2018-15     L4/2.0L     PR Code J0P                                                          95033, 50, 54, 55, 56, 58      H9 (95R) AGM    —
   2018-15     L4/2.0L     PR Code J1N                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM    —
   2018-12     L4/2.0L     PR Code J1U                                                          76050, 54, 55, 56, 58          —               H8 (49) AGM
   2018-12     L4/2.0L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58      H6 (48) AGM     —
   2015-12     L4/2.0L     PR Code J0L                                                          70 Ah50, 54, 55, 56, 58        H6 (48)         H6 (48) AGM
   2015-12     L4/2.0L     PR Code J0R                                                          80 Ah50, 54, 55, 56, 58        H7 (94R)        H7 (94R) AGM
   2015-12     L4/2.0L     PR Code J0Z                                                          110 Ah50, 54, 55, 56, 58       —               —
   2014-12     L4/2.0L     PR Code J0B                                                          92 Ah33, 50, 54, 55, 56, 58    H8 (49) AGM     —
   2014-12     L4/2.0L     PR Code J0P                                                          105 Ah33, 50, 54, 55, 56, 58   —               —
   2014-12     L4/2.0L     PR Code J1N                                                          75 Ah33, 50, 54, 55, 56, 58    H7 (94R) AGM    —
   2011        V6/3.2L     PR Code J0L                                                          70 Ah50, 54, 55, 56, 58        H6 (48)         H6 (48) AGM
   2011        V6/3.2L     PR Code J0P                                                          95033, 50, 54, 55, 56, 58      H9 (95R) AGM    —
   2011        V6/3.2L     PR Code J0R                                                          80 Ah50, 54, 55, 56, 58        H7 (94R)        H7 (94R) AGM
   2011        V6/3.2L     PR Code J0Z                                                          110 Ah50, 54, 55, 56, 58       —               —
   2011        V6/3.2L     PR Code J1N                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM    —
   2011        V6/3.2L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58      H6 (48) AGM     —
   2011-10     V6/3.2L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
   2011-10     V6/3.2L     PR Code J1U                                                          76050, 54, 55, 56, 58          —               H8 (49) AGM
   2010        V6/3.2L                                                                          57050, 54, 55, 56, 58          H6 (48)         H6 (48) AGM
   2010        V6/3.2L     PR Code J0R                                                          64050, 54, 55, 56, 58          H7 (94R)        H7 (94R) AGM
   2010        V6/3.2L     PR Code J0Z                                                          85050, 54, 55, 56, 58          —               H9 (95R) AGM
   2009-06     V6/3.2L                                                                          57050, 54, 55, 56              H6 (48)         H6 (48) AGM
   2009-06     V6/3.2L     Opt                                                                  76050, 54, 55, 56              —               H8 (49) AGM
   2009-06     V6/3.2L     Opt                                                                  85033, 50, 54, 55, 56          H8 (49) AGM     —
   2009-06     V6/3.2L     Opt                                                                  64050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
   2009-06     V6/3.2L     Opt                                                                  85050, 54, 55, 56              —               H9 (95R) AGM
   2004-02     V6/3.0L                                                                          64050                          —               —
   2004-02     V6/3.0L                                                                          64050, 54, 55, 56              —               —
   2004-02     V6/3.0L     Opt                                                                  76050, 54, 55, 56              —               H8 (49) AGM
   2004-02     V6/3.0L     Opt                                                                  64050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
   2004-02     V6/3.0L     Opt                                                                  72050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
   2004-02     V6/3.0L     Option 3                                                             64050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
   2004-02     V6/3.0L     Option 4                                                             72050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
   2001-99     V6/2.8L                                                                          57050, 54                      H6 (48)         H6 (48) AGM
   2001-95     V6/2.8L     Opt                                                                  57050                          H6 (48)         H6 (48) AGM
   1995        V6/2.8L                                                                          65050                          —               —
   Audi A6 allroad
   2021-20     V6/3.0L     Hybrid, PR Code J0P                                                  105 Ah33, 50, 55, 56, 58       —               —
   2020        V6/3.0L     Hybrid, PR Code J0V                                                  68050, 56, 55, 58, 59          —               —
   2020        V6/3.0L     Hybrid, PR Code J2D                                                  68033, 50, 55, 56, 58          H6 (48) AGM     —
   2020        V6/3.0L     Hybrid, PR Code J0Z                                                  85050, 55, 56, 58              —               H9 (95R) AGM
   2020        V6/3.0L     Hybrid, PR Code J0P                                                  95033, 50, 55, 56, 58          H9 (95R) AGM    —
   Audi A6 quattro
   2021-19     L4/2.0L     EFB, PR Code J0V                                                     70 Ah50, 55, 56, 58, 59        —               —
   2021-19     V6/3.0L     Hybrid, PR Code J0P                                                  105 Ah33, 50, 55, 56, 58       —               —
   2021-19     V6/3.0L     Hybrid, PR Code J0Z                                                  110 Ah50, 55, 56, 58           —               —
   2021-19     V6/3.0L     Hybrid, PR Code J2D                                                  68 Ah33, 50, 55, 56, 58        H6 (48) AGM     —
   2021-19     V6/3.0L     Hybrid, EFB, PR Code J0V                                             70 Ah50, 55, 56, 58, 59        —               —
   2021-13     L4/2.0L     PR Code J0P                                                          95033, 50, 55, 56, 58          —               —
   2021-13     L4/2.0L     PR Code J0Z                                                          85050, 55, 56, 58              —               H9 (95R) AGM
   2021-13     L4/2.0L     PR Code J2D                                                          68 Ah33, 50, 55, 56, 58        H6 (48) AGM     —
   2020-09     V6/3.0L     PR Code J0Z                                                          85050, 54, 55, 56, 58          —               H9 (95R) AGM
   2018-13     L4/2.0L     PR Code J0L                                                          64050, 54, 55, 56, 58          H6 (48)         H6 (48) AGM
   2018-13     L4/2.0L     PR Code J0R                                                          64050, 54, 55, 56, 58          H7 (94R)        H7 (94R) AGM
   2018-11     V6/3.0L     PR Code J0L                                                          64050, 54, 55, 56, 58          H6 (48)         H6 (48) AGM
   2018-16     V6/3.0L     PR Code J0R                                                          64050, 54, 55, 56, 58          H7 (94R)        H7 (94R) AGM
   2018-13     L4/2.0L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
   2018-13     L4/2.0L     PR Code J1N                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM    —
   2018-15     V6/3.0L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
   2018-15     V6/3.0L     PR Code J1N                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM    —
   2018-13     L4/2.0L     PR Code J1U                                                          76050, 54, 55, 56, 58          —               H8 (49) AGM
   See page 157 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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18                                                                                      Automotive/Light Truck
   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT             GROUP SIZE    ALTERNATE SIZE
                                                                                                        CCA/RATING                  (NOTES)         (NOTES)

Audi A6 quattro (continued)
2018-11     V6/3.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58      H9 (95R) AGM    —
2018-11     V6/3.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58      H6 (48) AGM     —
2018-09     V6/3.0L      PR Code J1U                                                             76050, 54, 55, 56, 58          —               H8 (49) AGM
2016        V6/3.0L      Dsl, PR Code J0P                                                        95033, 50, 54, 55, 56, 58      H9 (95R) AGM    —
2016        V6/3.0L      Dsl, PR Code J1N                                                        80033, 50, 54, 55, 56, 58      H7 (94R) AGM    —
2016-15     V6/3.0L      Dsl, PR Code J0B                                                        85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
2016-15     V6/3.0L      Dsl, PR Code J0R                                                        64050, 54, 55, 56, 58          H7 (94R)        H7 (94R) AGM
2016-15     V6/3.0L      Dsl, PR Code J0Z                                                        85050, 54, 55, 56, 58          —               H9 (95R) AGM
2016-15     V6/3.0L      Dsl, PR Code J1U                                                        76050, 54, 55, 56, 58          —               H8 (49) AGM
2016-14     V6/3.0L      Dsl, PR Code J2D                                                        68033, 50, 54, 55, 56, 58      H6 (48) AGM     —
2015-14     V6/3.0L      Dsl, PR Code J0P                                                        105 Ah33, 50, 54, 55, 56, 58   —               —
2015-14     V6/3.0L      Dsl, PR Code J1N                                                        75 Ah33, 50, 54, 55, 56, 58    H7 (94R) AGM    —
2015-11     V6/3.0L      PR Code J0R                                                             80 Ah50, 54, 55, 56, 58        H7 (94R)        H7 (94R) AGM
2014        V6/3.0L      Dsl, PR Code J0B                                                        92 Ah33, 50, 54, 55, 56, 58    H8 (49) AGM     —
2014        V6/3.0L      Dsl, PR Code J0R                                                        80 Ah50, 54, 55, 56, 58        H7 (94R)        H7 (94R) AGM
2014        V6/3.0L      Dsl, PR Code J0Z                                                        110 Ah50, 54, 55, 56, 58       —               —
2014        V6/3.0L      Dsl, PR Code J1U                                                        95 Ah50, 54, 55, 56, 58        —               H8 (49) AGM
2014-12     V6/3.0L      AGM, PR Code J0P                                                        105 Ah33, 50, 54, 55, 56, 58   —               —
2014-11     V6/3.0L      PR Code J0B                                                             92 Ah33, 50, 54, 55, 56, 58    H8 (49) AGM     —
2014-11     V6/3.0L      PR Code J1N                                                             75 Ah33, 50, 54, 55, 56, 58    H7 (94R) AGM    —
2011        V8/4.2L      PR Code J0L                                                             70 Ah50, 54, 55, 56, 58        H6 (48)         H6 (48) AGM
2011        V8/4.2L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58      H9 (95R) AGM    —
2011        V8/4.2L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58      H7 (94R) AGM    —
2011        V8/4.2L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58      H6 (48) AGM     —
2011-05     V8/4.2L      PR Code J0B                                                             92 Ah33, 50, 54, 55, 56, 58    H8 (49) AGM     —
2011-05     V8/4.2L      PR Code J0Z                                                             110 Ah50, 54, 55, 56, 58       —               —
2011-02     V8/4.2L      PR Code J0R                                                             80 Ah50, 54, 55, 56, 58        H7 (94R)        H7 (94R) AGM
2011-02     V8/4.2L      PR Code J1U                                                             76050, 54, 55, 56, 58          —               H8 (49) AGM
2010        V6/3.0L                                                                              57050, 54, 55, 56              H6 (48)         H6 (48) AGM
2010        V6/3.0L      Opt                                                                     76050, 54, 55, 56              —               H8 (49) AGM
2010        V6/3.0L      Opt                                                                     85033, 50, 54, 55, 56          H8 (49) AGM     —
2010        V6/3.0L      Opt                                                                     64050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2010        V6/3.0L      Opt                                                                     85050, 54, 55, 56              —               H9 (95R) AGM
2010-09     V6/3.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
2010-09     V6/3.0L      PR Code J0R                                                             64050, 54, 55, 56, 58          H7 (94R)        H7 (94R) AGM
2010-05     V8/4.2L                                                                              57050, 54, 55, 56              H6 (48)         H6 (48) AGM
2010-05     V8/4.2L      Opt                                                                     85033, 50, 54, 55, 56          H8 (49) AGM     —
2010-05     V8/4.2L      Opt                                                                     85050, 54, 55, 56              —               H9 (95R) AGM
2010-02     V8/4.2L      Opt                                                                     64050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2009        V6/3.0L                                                                              57050, 54, 55, 56, 58          H6 (48)         H6 (48) AGM
2008-05     V6/3.2L                                                                              57050, 54, 55, 56              H6 (48)         H6 (48) AGM
2008-05     V6/3.2L      Opt                                                                     76050, 54, 55, 56              —               H8 (49) AGM
2008-05     V6/3.2L      Opt                                                                     85033, 50, 54, 55, 56          H8 (49) AGM     —
2008-05     V6/3.2L      Opt                                                                     64050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2008-05     V6/3.2L      Opt                                                                     85050, 54, 55, 56              —               H9 (95R) AGM
2004-02     V6/2.7L      Opt                                                                     76050, 54, 55, 56              —               H8 (49) AGM
2004-02     V6/2.7L      Option 2                                                                64050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2004-02     V6/2.7L      Option 3                                                                72050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2004-02     V6/2.7L      Turbo                                                                   64050, 54, 55, 56              —               —
2004-02     V6/3.0L                                                                              64050, 54, 55, 56              —               —
2004-02     V6/3.0L      Opt                                                                     76050, 54, 55, 56              —               H8 (49) AGM
2004-02     V6/3.0L      Opt                                                                     64050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2004-02     V6/3.0L      Opt                                                                     72050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2004-02     V6/3.0L      Option 3                                                                64050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2004-02     V6/3.0L      Option 4                                                                72050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2004-02     V8/4.2L                                                                              64050, 54, 55, 56              —               —
2004-02     V8/4.2L      Opt                                                                     72050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
2001-99     V6/2.8L                                                                              57050, 54                      H6 (48)         H6 (48) AGM
2001-95     V6/2.8L      Opt                                                                     57050                          H6 (48)         H6 (48) AGM
2001-00     V6/2.7L      Turbo                                                                   64050                          H7 (94R)        H7 (94R) AGM
2001-00     V8/4.2L                                                                              85050                          —               H8 (49) AGM
Audi A7 quattro
2021-18     V6/3.0L      Hybrid, PR Code J0P                                                     105 Ah33, 50, 55, 56, 58  —               —
2021-18     V6/3.0L      Hybrid, PR Code J0Z                                                     110 Ah50, 55, 56, 58      —               —
2021-18     V6/3.0L      Hybrid, PR Code J2D                                                     68 Ah33, 50, 55, 56, 58   H6 (48) AGM     —
2021-18     V6/3.0L      Hybrid, Auxiliary, PR Code 0K4                                          N/A45                     —               —
2021-18     V6/3.0L      Hybrid, PR Code J0T                                                     69 Ah50, 55, 56, 58, 59   —               —
2021-18     V6/3.0L      Hybrid, PR Code J0V                                                     70 Ah50, 55, 56, 58, 59   —               —
2018-12     V6/3.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58 H6 (48) AGM     —
2018-12     V6/3.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58 H7 (94R) AGM —
2018-12     V6/3.0L      PR Code J1U                                                             76050, 54, 55, 56, 58     —               H8 (49) AGM
2018-12     V6/3.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58 H8 (49) AGM     —
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 157 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                  Costco_001818
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                                                                                 of
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   Automotive/Light Truck                                                                                                                              19
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT              GROUP SIZE       ALTERNATE SIZE
                                                                                                       CCA/RATING                   (NOTES)            (NOTES)

   Audi A7 quattro (continued)
   2018-12     V6/3.0L     PR Code J0P                                                          95033, 50, 54, 55, 56, 58      H9 (95R) AGM     —
   2018-12     V6/3.0L     PR Code J0R                                                          64050, 54, 55, 56, 58          H7 (94R)         H7 (94R) AGM
   2018-12     V6/3.0L     PR Code J0Z                                                          85050, 54, 55, 56, 58          —                H9 (95R) AGM
   2016-15     V6/3.0L     Dsl, PR Code J0B                                                     85033, 50, 54, 55, 56, 58      H8 (49) AGM      —
   2016-15     V6/3.0L     Dsl, PR Code J0P                                                     95033, 50, 54, 55, 56, 58      H9 (95R) AGM     —
   2016-15     V6/3.0L     Dsl, PR Code J0R                                                     64050, 54, 55, 56, 58          H7 (94R)         H7 (94R) AGM
   2016-15     V6/3.0L     Dsl, PR Code J1N                                                     80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2016-15     V6/3.0L     Dsl, PR Code J1U                                                     76050, 54, 55, 56, 58          —                H8 (49) AGM
   2016-15     V6/3.0L     Dsl, PR Code J2D                                                     68033, 50, 54, 55, 56, 58      H6 (48) AGM      —
   2016-14     V6/3.0L     Dsl, PR Code J0Z                                                     85050, 54, 55, 56, 58          —                H9 (95R) AGM
   2014        V6/3.0L     Dsl, PR Code J0B                                                     92 Ah33, 50, 54, 55, 56, 58    H8 (49) AGM      —
   2014        V6/3.0L     Dsl, PR Code J0P                                                     105 Ah33, 50, 54, 55, 56, 58   —                —
   2014        V6/3.0L     Dsl, PR Code J0R                                                     80 Ah50, 54, 55, 56, 58        H7 (94R)         H7 (94R) AGM
   2014        V6/3.0L     Dsl, PR Code J1N                                                     75 Ah33, 50, 54, 55, 56, 58    H7 (94R) AGM     —
   2014        V6/3.0L     Dsl, PR Code J1U                                                     95 Ah50, 54, 55, 56, 58        —                H8 (49) AGM
   2014        V6/3.0L     Dsl, PR Code J2D                                                     68 Ah33, 50, 54, 55, 56, 58    H6 (48) AGM      —
   2014-12     V6/3.0L     Gas, PR Code J0P                                                     105 Ah33, 50, 54, 55, 56, 58   —                —
   2014-12     V6/3.0L     Gas, PR Code J0R                                                     80 Ah50, 54, 55, 56, 58        H7 (94R)         H7 (94R) AGM
   2014-12     V6/3.0L     PR Code J1N                                                          75 Ah33, 50, 54, 55, 56, 58    H7 (94R) AGM     —
   2014-12     V6/3.0L     PR Code J1U                                                          95 Ah50, 54, 55, 56, 58        —                H8 (49) AGM
   2014-12     V6/3.0L     PR Code J2D                                                          68 Ah33, 50, 54, 55, 56, 58    H6 (48) AGM      —
   Audi A7 Sportback
   2021-19     V6/3.0L     Hybrid, PR Code J0P                                                  105 Ah33, 50, 55, 56, 58       —                —
   2021-19     V6/3.0L     Hybrid, PR Code J0Z                                                  110 Ah50, 55, 56, 58           —                —
   2021-19     V6/3.0L     Hybrid, PR Code J2D                                                  68 Ah33, 50, 55, 56, 58        H6 (48) AGM      —
   2021-19     V6/3.0L     Hybrid, Auxiliary, PR Code 0K4                                       N/A45                          —                —
   2021-19     V6/3.0L     Hybrid, PR Code J0T                                                  69 Ah50, 55, 56, 58, 59        —                —
   2021-19     V6/3.0L     Hybrid, PR Code J0V                                                  70 Ah50, 55, 56, 58, 59        —                —
   Audi A8
   1999-97 V8/3.7L                                                                              85050                          —                H8 (49) AGM
   1999-97 V8/3.7L         Std                                                                  76050                          —                H8 (49) AGM
   Audi A8 quattro
   2021        V8/4.0L     Hybrid, PR Code J0V                                                  78 Ah50, 55, 56, 58, 59        —                —
   2021-19     V6/3.0L     Hybrid, PR Code J0B                                                  92 Ah33, 50, 55, 56, 58        H8 (49) AGM      —
   2021-19     V6/3.0L     Hybrid, PR Code J0P                                                  105 Ah33, 50, 55, 56, 58       —                —
   2021-19     V6/3.0L     Hybrid, PR Code J2D                                                  68 Ah33, 50, 55, 56, 58        H6 (48) AGM      —
   2021-19     V6/3.0L     Hybrid, PR Code J0T                                                  69 Ah50, 55, 56, 58, 59        —                —
   2021-19     V6/3.0L     Hybrid, PR Code J0V                                                  70 Ah50, 55, 56, 58, 59        —                —
   2021-19     V8/4.0L     Hybrid, PR Code J0B                                                  92 Ah33, 50, 55, 56, 58        H8 (49) AGM      —
   2021-19     V8/4.0L     Hybrid, PR Code J0P                                                  105 Ah33, 50, 55, 56, 58       —                —
   2021-19     V8/4.0L     Hybrid, PR Code J2D                                                  68 Ah33, 50, 55, 56, 58        H6 (48) AGM      —
   2021-19     V8/4.0L     Hybrid, PR Code J0T                                                  69 Ah50, 55, 56, 58, 59        —                —
   2018-13     V6/3.0L     PR Code J1N                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2018-13     V8/4.0L     PR Code J1N                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2018-13     V6/3.0L     PR Code J0P                                                          95033, 50, 54, 55, 56, 58      H9 (95R) AGM     —
   2018-13     V6/3.0L     PR Code J0Z                                                          85050, 54, 55, 56, 58          —                H9 (95R) AGM
   2018-13     V6/3.0L     PR Code J1U                                                          76050, 54, 55, 56, 58          —                H8 (49) AGM
   2018-13     V8/4.0L     PR Code J0Z                                                          85050, 54, 55, 56, 58          —                H9 (95R) AGM
   2018-13     V8/4.0L     PR Code J1U                                                          76050, 54, 55, 56, 58          —                H8 (49) AGM
   2016-15     V6/3.0L     Dsl, PR Code J1N                                                     80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2016-14     V6/3.0L     Dsl, PR Code J0B                                                     85033, 50, 54, 55, 56, 58      H8 (49) AGM      —
   2016-14     V6/3.0L     Dsl, PR Code J1U                                                     76050, 54, 55, 56, 58          —                H8 (49) AGM
   2016-14     W12/6.3L    PR Code J1N                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2016-12     W12/6.3L    PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM      —
   2016-12     W12/6.3L    PR Code J0P                                                          95033, 50, 54, 55, 56, 58      H9 (95R) AGM     —
   2016-12     W12/6.3L    PR Code J0Z                                                          85050, 54, 55, 56, 58          —                H9 (95R) AGM
   2016-12     W12/6.3L    PR Code J1U                                                          76050, 54, 55, 56, 58          —                H8 (49) AGM
   2014        V6/3.0L     Dsl, PR Code J0Z                                                     85050, 54, 55, 56, 58          —                H9 (95R) AGM
   2014-13     V8/4.0L     PR Code J0B                                                          92 Ah33, 50, 54, 55, 56, 58    H8 (49) AGM      —
   2014-13     V8/4.0L     PR Code J0P                                                          105 Ah33, 50, 54, 55, 56, 58   —                —
   2013        V6/3.0L     PR Code 0K1                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2013        V8/4.0L     PR Code 0K1                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2013-12     W12/6.3L    PR Code 0K1                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2012-10     V8/4.2L     PR Code 0K1                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2012-10     V8/4.2L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM      —
   2012-10     V8/4.2L     PR Code J0P                                                          105 Ah33, 50, 54, 55, 56, 58   —                —
   2012-10     V8/4.2L     PR Code J0Z                                                          85050, 54, 55, 56, 58          —                H9 (95R) AGM
   2012-10     V8/4.2L     PR Code J1U                                                          76050, 54, 55, 56, 58          —                H8 (49) AGM
   2009-08     V8/4.2L     Opt                                                                  85033, 50, 54, 55, 56          H8 (49) AGM      —
   2009-04     V8/4.2L                                                                          85050, 54, 55, 56              —                H9 (95R) AGM
   2003-97     V8/4.2L                                                                          85050, 54                      —                H8 (49) AGM
   2003-00     V8/4.2L     Opt                                                                  85050, 54                      —                H9 (95R) AGM
   See page 157 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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20                                                                                      Automotive/Light Truck
   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT           GROUP SIZE       ALTERNATE SIZE
                                                                                                        CCA/RATING                (NOTES)            (NOTES)

Audi allroad
2016-13     L4/2.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58   H8 (49) AGM      —
2016-13     L4/2.0L      PR Code J0L                                                             57050, 54, 55, 56, 58       H6 (48)          H6 (48) AGM
2016-13     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
2016-13     L4/2.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58   H9 (95R) AGM     —
2016-13     L4/2.0L      PR Code J0R                                                             64050, 54, 55, 56, 58       H7 (94R)         H7 (94R) AGM
2016-13     L4/2.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58       —                H9 (95R) AGM
2016-13     L4/2.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM     —
2016-13     L4/2.0L      PR Code J1U                                                             76050, 54, 55, 56, 58       —                H8 (49) AGM
2016-13     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
Audi allroad quattro
2005-04     V6/2.7L                                                                              65050                       H7 (94R)         H7 (94R) AGM
2005-03     V8/4.2L                                                                              76050                       —                H8 (49) AGM
2004        V6/2.7L                                                                              65050, 54                   H7 (94R)         H7 (94R) AGM
2003        V6/2.7L                                                                              76050, 54                   —                H8 (49) AGM
2002-01     V6/2.7L                                                                              64050                       H7 (94R)         H7 (94R) AGM
2002-01     V6/2.7L                                                                              64050, 54                   H7 (94R)         H7 (94R) AGM
Audi Cabriolet
1998-94 V6/2.8L                                                                                  650                         —                —
Audi Coupe quattro
1991-90 L5/2.3L                                                                                  65050                       —                —
Audi e-tron quattro
2021-19 Electric         Electric, PR Code J2D                                                   68033, 50, 55, 56, 58       H6 (48) AGM      —
Audi e-tron Sportback
2021-20 Electric         Electric, PR Code J2D                                                   68 Ah33, 50, 55, 56, 58     H6 (48) AGM      —
Audi Q3
2021-19     L4/2.0L      PR Code J0S                                                             54050, 56, 55, 58, 59       —                —
2021-19     L4/2.0L      PR Code J0V, J0T                                                        68050, 56, 55, 58, 59       —                —
2021-15     L4/2.0L      PR Code J1D                                                             64050, 54, 55, 56, 58       —                —
2021-15     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
2020-15     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
2018-16     L4/2.0L      PR Code J0T                                                             68045, 54, 58, 59           —                —
2018-15     L4/2.0L      PR Code J1P                                                             36045, 54, 58               —                —
2018-15     L4/2.0L      PR Code J2S                                                             48045, 54, 58               —                —
Audi Q3 quattro
2018-16     L4/2.0L      PR Code J0T                                                             68045, 54, 58, 59           —                —
2018-15     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
2018-15     L4/2.0L      PR Code J1D                                                             64050, 54, 55, 56, 58       —                —
2018-15     L4/2.0L      PR Code J1P                                                             36045, 54, 58               —                —
2018-15     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
2018-15     L4/2.0L      PR Code J2S                                                             48045, 54, 58               —                —
Audi Q5
2021-17     L4/2.0L      Auxiliary – Li-ion, PR Code 0K4                                         N/A45, 50, 55, 56, 58, 60   —             —
2021-11     L4/2.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58   H9 (95R) AGM —
2021-11     L4/2.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM —
2021-11     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM   —
2021-11     L4/2.0L      PR Code J0B                                                             92 Ah33, 50, 54, 55, 56, 58 H8 (49) AGM   —
2017-13     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58       H5 (47)       H5 (47) AGM
2017-13     V6/3.0L      PR Code J0B                                                             92 Ah33, 50, 54, 55, 56, 58 H8 (49) AGM   —
2017-13     V6/3.0L      PR Code J0L                                                             57050, 54, 55, 56, 58       H6 (48)       H6 (48) AGM
2017-13     V6/3.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58   H9 (95R) AGM —
2017-13     V6/3.0L      PR Code J0R                                                             64050, 54, 55, 56, 58       H7 (94R)      H7 (94R) AGM
2017-13     V6/3.0L      PR Code J0Z                                                             110 Ah50, 54, 55, 56, 58    —             —
2017-13     V6/3.0L      PR Code J1L                                                             54050, 54, 55, 56, 58       H5 (47)       H5 (47) AGM
2017-13     V6/3.0L      PR Code J1N                                                             75 Ah33, 50, 54, 55, 56, 58 H7 (94R) AGM —
2017-13     V6/3.0L      PR Code J1U                                                             76050, 54, 55, 56, 58       —             H8 (49) AGM
2017-13     V6/3.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM   —
2017-11     L4/2.0L      PR Code J0L                                                             57050, 54, 55, 56, 58       H6 (48)       H6 (48) AGM
2017-11     L4/2.0L      PR Code J0R                                                             64050, 54, 55, 56, 58       H7 (94R)      H7 (94R) AGM
2017-11     L4/2.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58       —             H9 (95R) AGM
2017-11     L4/2.0L      PR Code J1U                                                             76050, 54, 55, 56, 58       —             H8 (49) AGM
2016-14     V6/3.0L      Dsl, PR Code J0B                                                        92 Ah33, 50, 54, 55, 56, 58 H8 (49) AGM   —
2016-14     V6/3.0L      Dsl, PR Code J0L                                                        57050, 54, 55, 56, 58       H6 (48)       H6 (48) AGM
2016-14     V6/3.0L      Dsl, PR Code J0P                                                        95033, 50, 54, 55, 56, 58   H9 (95R) AGM —
2016-14     V6/3.0L      Dsl, PR Code J0R                                                        80 Ah50, 54, 55, 56, 58     H7 (94R)      H7 (94R) AGM
2016-14     V6/3.0L      Dsl, PR Code J0Z                                                        110 Ah50, 54, 55, 56, 58    —             —
2016-14     V6/3.0L      Dsl, PR Code J1L                                                        54050, 54, 55, 56, 58       H5 (47)       H5 (47) AGM
2016-14     V6/3.0L      Dsl, PR Code J1N                                                        75 Ah33, 50, 54, 55, 56, 58 H7 (94R) AGM —
2016-14     V6/3.0L      Dsl, PR Code J1U                                                        76050, 54, 55, 56, 58       —             H8 (49) AGM
2016-14     V6/3.0L      Dsl, PR Code J2D                                                        68 Ah33, 50, 54, 55, 56, 58 H6 (48) AGM   —
2012-11     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58       H5 (47)       H5 (47) AGM
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 157 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                   Costco_001820
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   Automotive/Light Truck                                                                                                                                                          21
      YEAR        ENGINE                                                OPTIONS                                                  ORIGINAL EQUIPMENT            GROUP SIZE       ALTERNATE SIZE
                                                                                                                                     CCA/RATING                 (NOTES)            (NOTES)

   Audi Q5 (continued)
   2012-09     V6/3.2L     PR Code J0B                                                                                        92 Ah33, 50, 54, 55, 56, 58   H8 (49) AGM     —
   2012-09     V6/3.2L     PR Code J0L                                                                                        57050, 54, 55, 56, 58         H6 (48)         H6 (48) AGM
   2012-09     V6/3.2L     PR Code J1L                                                                                        54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
   2012-09     V6/3.2L     PR Code J0P                                                                                        95033, 50, 54, 55, 56, 58     H9 (95R) AGM    —
   2012-09     V6/3.2L     PR Code J0R                                                                                        64050, 54, 55, 56, 58         H7 (94R)        H7 (94R) AGM
   2012-09     V6/3.2L     PR Code J0Z                                                                                        110 Ah50, 54, 55, 56, 58      —               —
   2012-09     V6/3.2L     PR Code J1N                                                                                        75 Ah33, 50, 54, 55, 56, 58   H7 (94R) AGM    —
   2012-09     V6/3.2L     PR Code J1U                                                                                        95 Ah50, 54, 55, 56, 58       —               H8 (49) AGM
   2012-09     V6/3.2L     PR Code J2D                                                                                        68 Ah33, 50, 54, 55, 56, 58   H6 (48) AGM     —
   Audi Q5 Sportback
   2022-21     L4/2.0L     Hybrid, PR Code J0B                                                                                92 Ah33, 50, 55, 56, 58       H8 (49) AGM     —
   2022-21     L4/2.0L     Hybrid, PR Code J0P                                                                                105 Ah33, 50, 55, 56, 58      —               —
   2022-21     L4/2.0L     Hybrid, PR Code J1N                                                                                75 Ah33, 50, 55, 56, 58       H7 (94R) AGM    —
   2022-21     L4/2.0L     Hybrid, PR Code J2D                                                                                68 Ah33, 50, 55, 56, 58       H6 (48) AGM     —
   2022-21     L4/2.0L     Hybrid, Auxiliary Li-ion Only. PR Code 0K4                                                         N/A45, 50, 55, 56, 58, 60     —               —
   Audi Q7
   2021-20     V6/3.0L     Hybrid, PR Code J0B                                                                                92 Ah33, 50, 55, 56, 58       H8 (49) AGM     —
   2021-20     V6/3.0L     Hybrid, PR Code J0P                                                                                105 Ah33, 50, 55, 56, 58      —               —
   2021-20     V6/3.0L     Hybrid, PR Code J1N                                                                                75 Ah33, 50, 55, 56, 58       H7 (94R) AGM    —
   2021-20     V6/3.0L     Hybrid, PR Code J2D                                                                                68 Ah33, 50, 55, 56, 58       H6 (48) AGM     —
   2020-17     V6/3.0L     PR Code J0B                                                                                        85033, 50, 54, 55, 56         H8 (49) AGM     —
   2020-17     V6/3.0L     PR Code J0P                                                                                        95033, 50, 54, 55, 56         H9 (95R) AGM    —
   2020-17     V6/3.0L     PR Code J2D                                                                                        68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
   2020-17     V6/3.0L     PR Code J1N                                                                                        80033, 50, 54, 55, 56, 58     H7 (94R) AGM    —
   2015-11     V6/3.0L     PR Code J0B                                                                                        85033, 50, 54, 55, 56         H8 (49) AGM     —
   2015-11     V6/3.0L     PR Code J0P                                                                                        95033, 50, 54, 55, 56         H9 (95R) AGM    —
   2015-11     V6/3.0L     PR Code J0R                                                                                        64050, 54, 55, 56             H7 (94R)        H7 (94R) AGM
   2015-11     V6/3.0L     PR Code J0Z                                                                                        85050, 54, 55, 56             —               H9 (95R) AGM
   2015-11     V6/3.0L     PR Code J1U                                                                                        76050, 54, 55, 56             —               H8 (49) AGM
   2015-10     V6/3.0L     Dsl, Opt                                                                                           85033, 50, 54, 55, 56         H8 (49) AGM     —
   2015-10     V6/3.0L     Dsl, PR Code J0P                                                                                   95033, 50, 54, 55, 56         H9 (95R) AGM    —
   2015-10     V6/3.0L     Dsl, PR Code J0R                                                                                   64050, 54, 55, 56             H7 (94R)        H7 (94R) AGM
   2015-09     V6/3.0L     Dsl, PR Code J0Z                                                                                   85050, 54, 55, 56             —               H9 (95R) AGM
   2015-09     V6/3.0L     Dsl, PR Code J1U                                                                                   76050, 54, 55, 56             —               H8 (49) AGM
   2014-11     V6/3.0L     Dsl, PR Code J0B                                                                                   92 Ah33, 50, 54, 55, 56       H8 (49) AGM     —
   2010        V6/3.6L     Opt                                                                                                85033, 50, 54, 55, 56         H8 (49) AGM     —
   2010        V6/3.6L     PR Code J0P                                                                                        95033, 50, 54, 55, 56         H9 (95R) AGM    —
   2010        V6/3.6L     PR Code J0R                                                                                        64050, 54, 55, 56             H7 (94R)        H7 (94R) AGM
   2010        V8/4.2L     Opt                                                                                                85033, 50, 54, 55, 56         H8 (49) AGM     —
   2010        V8/4.2L     PR Code J0P                                                                                        95033, 50, 54, 55, 56         H9 (95R) AGM    —
   2010        V8/4.2L     PR Code J0R                                                                                        64050, 54, 55, 56             H7 (94R)        H7 (94R) AGM
   2010-07     V6/3.6L     PR Code J0Z                                                                                        85050, 54, 55, 56             —               H9 (95R) AGM
   2010-07     V8/4.2L     PR Code J0Z                                                                                        85050, 54, 55, 56             —               H9 (95R) AGM
   Audi Q8
   2021-19     V6/3.0L     Hybrid, PR Code J0B                                                                                85033, 50, 55, 56, 58         H8 (49) AGM     —
   2021-19     V6/3.0L     Hybrid, PR Code J0P                                                                                95033, 50, 55, 56, 58         —               —
   2021-19     V6/3.0L     Hybrid, PR Code J1N                                                                                80033, 50, 55, 56, 58         H7 (94R) AGM    —
   2021-19     V6/3.0L     Hybrid, PR Code J2D                                                                                68033, 50, 55, 56, 58         H6 (48) AGM     —
   Audi R8
   2021-20     V10/ 5.2    L PR Code J0B                                                                                      85033, 50, 55, 56, 58         H8 (49) AGM     —
   2021-20     V10/ 5.2    L PR Code J1N                                                                                      80033, 50, 55, 56, 58         H7 (94R) AGM    —
   2018-17     V10/5.2L    PR Code J0B                                                                                        85033, 50, 54, 55, 56, 58     H8 (49) AGM     —
   2018-17     V10/5.2L    PR Code J1N                                                                                        80033, 50, 54, 55, 56, 58     H7 (94R) AGM    —
   2017        V10/5.2L    PR Code J0B, B0A, B0D,B0E, B0G, B0H, B0L, B0M, B0N, B0R, B0W, B1C, B1P, B1Q,                       85033, 50, 54, 55, 56, 58     H8 (49) AGM     —
                           B1R, B1S, B2A, B2E, B2G, B2H, B3E, B3H, B4G, B1Z
   2015        V10/5.2L    PR Code J2D                                                                                        68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
   2015        V8/4.2L     PR Code J2D                                                                                        68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
   2014        V10/5.2L    PR Code J2D                                                                                        68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
   2014        V8/4.2L     PR Code J2D                                                                                        68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
   2012-10     V10/5.2L    PR Code J0L                                                                                        57050, 54, 55, 56, 58         H6 (48)         H6 (48) AGM
   2012-10     V10/5.2L    PR Code J0Z                                                                                        85050, 54, 55, 56, 58         —               H9 (95R) AGM
   2012-10     V10/5.2L    PR Code J1D                                                                                        72 Ah50, 54, 55, 56, 58       —               —
   2012-09     V10/5.2L    PR Code J2D                                                                                        68 Ah33, 50, 54, 55, 56, 58   H6 (48) AGM     —
   2012-08     V8/4.2L     PR Code J0L                                                                                        57050, 54, 55, 56, 58         H6 (48)         H6 (48) AGM
   2012-08     V8/4.2L     PR Code J0Z                                                                                        85050, 54, 55, 56, 58         —               H9 (95R) AGM
   2012-08     V8/4.2L     PR Code J1D                                                                                        72 Ah50, 54, 55, 56, 58       —               —
   2012-08     V8/4.2L     PR Code J2D                                                                                        68 Ah33, 50, 54, 55, 56, 58   H6 (48) AGM     —
   2009        V10/5.2L    PR Code J0L                                                                                        70 Ah50, 54, 55, 56, 58       H6 (48)         H6 (48) AGM
   2009        V10/5.2L    PR Code J0Z                                                                                        110 Ah50, 54, 55, 56, 58      —               —
   Audi RS 4
   2008-07 V8/4.2L         PR Code J0B                                                                                        92 Ah33, 50, 54, 55, 56, 58   H8 (49) AGM     —
   See page 157 for Footnotes. Selection may vary by warehouse.                                           Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

                                                                                                                                                                                      Costco_001821
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22                                                                                      Automotive/Light Truck
   YEAR        ENGINE                                                         OPTIONS                                 ORIGINAL EQUIPMENT           GROUP SIZE       ALTERNATE SIZE
                                                                                                                          CCA/RATING                (NOTES)            (NOTES)

Audi RS 5
2018        V6/2.9L      PR Code J0P                                                                               95033, 50, 54, 55, 56, 58   H9 (95R) AGM     —
2018        V6/2.9L      PR Code J1N                                                                               80033, 50, 54, 55, 56, 58   H7 (94R) AGM     —
Audi RS 6
2004-03 V8/4.2L                                                                                                    85050, 54                   —                H8 (49) AGM
Audi RS 7
2018-14     V8/4.0L      PR Code J0B                                                                               85033, 50, 54, 55, 56, 58   H8 (49) AGM      —
2018-14     V8/4.0L      PR Code J0P                                                                               95033, 50, 54, 55, 56, 58   H9 (95R) AGM     —
2018-14     V8/4.0L      PR Code J0R                                                                               64050, 54, 55, 56, 58       H7 (94R)         H7 (94R) AGM
2018-14     V8/4.0L      PR Code J0Z                                                                               85050, 54, 55, 56, 58       —                H9 (95R) AGM
2018-14     V8/4.0L      PR Code J1N                                                                               80033, 50, 54, 55, 56, 58   H7 (94R) AGM     —
2018-14     V8/4.0L      PR Code J1U                                                                               76050, 54, 55, 56, 58       —                H8 (49) AGM
2018-14     V8/4.0L      PR Code J2D                                                                               68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
Audi RS Q8
2021-20     V8/4.0L      Hybrid, PR Code J0B                                                                       92 Ah33, 50, 55, 56, 58     H8 (49) AGM      —
2021-20     V8/4.0L      Hybrid, PR Code J0P                                                                       105 Ah33, 50, 55, 56, 58    —                —
2021-20     V8/4.0L      Hybrid, PR Code J1N                                                                       75 Ah33, 50, 55, 56, 58     H7 (94R) AGM     —
2021-20     V8/4.0L      Hybrid, PR Code J2D                                                                       68 Ah33, 50, 55, 56, 58     H6 (48) AGM      —
Audi RS3
2018-17 L5/2.5L          PR Code J1N                                                                               80033, 50, 54, 55, 56, 58   H7 (94R) AGM     —
Audi RS5
2021        V6/2.9L      PR Code J0P                                                                               105 Ah33, 50, 55, 56, 58    —                —
2021        V6/2.9L      PR Code J1N                                                                               75 Ah33, 50, 55, 56, 58     H7 (94R) AGM     —
2021        V6/2.9L      PR Code J4E                                                                               79 Ah50, 55, 56, 58, 59     —                —
Audi RS5 Sportback
2021        V6/2.9L      PR Code J0P                                                                               105 Ah33, 50, 55, 56, 58    —                —
2021        V6/2.9L      PR Code J1N                                                                               75 Ah33, 50, 55, 56, 58     H7 (94R) AGM     —
2021        V6/2.9L      PR Code J4E                                                                               79 Ah50, 55, 56, 58, 59     —                —
Audi RS6 Avant
2022-21 V8/4.0L          Hybrid, PR Code J2D                                                                       68 Ah33, 50, 55, 56, 58     H6 (48) AGM      —
Audi RS7 Sportback
2021        V8/4.0L      Hybrid, PR Code J2D                                                                       68 Ah33, 50, 55, 56, 58     H6 (48) AGM      —
Audi S3
2017-15     L4/2.0L      PR Code J0S                                                                               54045, 54, 58, 59           —                —
2017-15     L4/2.0L      PR Code J0T                                                                               68045, 54, 58, 59           —                —
2017-15     L4/2.0L      PR Code J1D                                                                               64050, 54, 55, 56, 58       —                —
2017-15     L4/2.0L      PR Code J2D                                                                               68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
2017-15     L4/2.0L      PR Code J1P                                                                               36045, 54, 58               —                —
2017-15     L4/2.0L      PR Code J1L                                                                               54050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
2016-15     L4/2.0L      PR Code J2S                                                                               48045, 54, 58               —                —
Audi S4
2021-20     V6/3.0L      PR Code J4E, EFB                                                                          79 Ah50, 55, 56, 58, 59     —                —
2021-18     V6/3.0L      PR Code J0H                                                                               58 Ah33, 50, 55, 56, 58     H5 (47) AGM      —
2021-18     V6/3.0L      PR Code J0Z                                                                               110 Ah50, 55, 56, 58        —                —
2021-18     V6/3.0L      PR Code J2D,0K0,0K2                                                                       68 Ah33, 50, 55, 56, 58     H6 (48) AGM      —
2021-18     V6/3.0L      PR Code 0K4 Auxiliary Li-ion Only                                                         N/A45, 50, 55, 56, 58, 60   —                —
2021-18     V6/3.0L      PR Code J0K, EFB                                                                          93 Ah50, 55, 56, 58, 59     —                —
2021-18     V6/3.0L      PR Code J0B                                                                               85033, 50, 54, 55, 56, 58   H8 (49) AGM      —
2021-18     V6/3.0L      PR Code J0P                                                                               95033, 50, 54, 55, 56, 58   H9 (95R) AGM     —
2021-18     V6/3.0L      PR Code J0Z                                                                               85050, 54, 55, 56, 58       —                H9 (95R) AGM
2021-18     V6/3.0L      PR Code J1N                                                                               80033, 50, 54, 55, 56, 58   H7 (94R) AGM     —
2021-18     V6/3.0L      PR Code J1U                                                                               76050, 54, 55, 56, 58       —                H8 (49) AGM
2021-18     V6/3.0L      PR Code J2D,0K0,0K2                                                                       68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
2018        V6/3.0L      PR Code J4E, EFB                                                                          N/A45, 58, 59               —                —
2016        V6/3.0L      PR Code J0B, B0A, B0L, B0M, B0N, B0R, B1C, B1D, B1Q, B1Z, B2E, B2H, B3D, B3E, B4G, B4K    85033, 50, 54, 55, 56, 58   H8 (49) AGM      —
2016-14     V6/3.0L      PR Code J0P                                                                               95033, 50, 54, 55, 56, 58   H9 (95R) AGM     —
2016-13     V6/3.0L      PR Code J2D                                                                               68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
2016-10     V6/3.0L      PR Code J0B                                                                               85033, 50, 54, 55, 56, 58   H8 (49) AGM      —
2016-10     V6/3.0L      PR Code J0Z                                                                               85050, 54, 55, 56, 58       —                H9 (95R) AGM
2016-10     V6/3.0L      PR Code J1N                                                                               80033, 50, 54, 55, 56, 58   H7 (94R) AGM     —
2016-10     V6/3.0L      PR Code J1U                                                                               76050, 54, 55, 56, 58       —                H8 (49) AGM
2015-13     V6/3.0L      PR Code J0L                                                                               57050, 54, 55, 56, 58       H6 (48)          H6 (48) AGM
2015-13     V6/3.0L      PR Code J1L                                                                               54050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
2015-10     V6/3.0L      PR Code J0R                                                                               64050, 54, 55, 56, 58       H7 (94R)         H7 (94R) AGM
2009        V8/4.2L      PR Code J0B                                                                               85033, 50, 54, 55, 56, 58   H8 (49) AGM      —
2009        V8/4.2L      PR Code J0P                                                                               95033, 50, 54, 55, 56, 58   H9 (95R) AGM     —
2009        V8/4.2L      PR Code J0Z                                                                               85050, 54, 55, 56, 58       —                H9 (95R) AGM
2009        V8/4.2L      PR Code J1N                                                                               80033, 50, 54, 55, 56, 58   H7 (94R) AGM     —
2009-04     V8/4.2L      PR Code J0R                                                                               64050, 54, 55, 56, 58       H7 (94R)         H7 (94R) AGM
2009-04     V8/4.2L      PR Code J1U                                                                               76050, 54, 55, 56, 58       —                H8 (49) AGM
2002        V6/2.7L      Turbo                                                                                     64050                       H7 (94R)         H7 (94R) AGM
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.                               See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                         23
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT            GROUP SIZE    ALTERNATE SIZE
                                                                                                       CCA/RATING                 (NOTES)         (NOTES)

   Audi S4 (continued)
   2001-00 V6/2.7L                                                                              57050, 54                     H6 (48)         H6 (48) AGM
   1994-93 L5/2.2L         Turbo                                                                65050                         —               —
   1992    L5/2.2L                                                                              650                           —               —
   Audi S5
   2021-17     V6/3.0L     PR Code J0H                                                          58 Ah33, 50, 55, 56, 58       H5 (47) AGM     —
   2021-17     V6/3.0L     Auxiliary Li-ion Only, PR Code 0K4                                   N/A45, 50, 55, 56, 58, 60     —               —
   2021-17     V6/3.0L     PR Code J0K, EFB                                                     93 Ah50, 55, 56, 58, 59       —               —
   2021-17     V6/3.0L     PR Code J4E, EFB                                                     79 Ah50, 55, 56, 58, 59       —               —
   2021-12     V6/3.0L     PR Code J1N                                                          80033, 50, 55, 56, 58         H7 (94R) AGM    —
   2021-10     V6/3.0L     PR Code J0B                                                          85033, 50, 55, 56, 58         H8 (49) AGM     —
   2021-10     V6/3.0L     PR Code J0P                                                          95033, 50, 55, 56, 58         —               —
   2021-10     V6/3.0L     PR Code J0Z                                                          85050, 55, 56, 58             —               H9 (95R) AGM
   2021-10     V6/3.0L     PR Code J1U                                                          76050, 55, 56, 58             —               H8 (49) AGM
   2021-10     V6/3.0L     PR Code J2D                                                          68 Ah33, 50, 55, 56, 58       H6 (48) AGM     —
   2018        V6/3.0L     PR Code 0K0                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
   2017-10     V6/3.0L     PR Code J0L                                                          57050, 54, 55, 56, 58         H6 (48)         H6 (48) AGM
   2017-10     V6/3.0L     PR Code J0R                                                          64050, 54, 55, 56, 58         H7 (94R)        H7 (94R) AGM
   2017-10     V6/3.0L     PR Code J1L                                                          54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
   2012-09     V8/4.2L     PR Code J1L                                                          54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
   2012-09     V8/4.2L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58     H8 (49) AGM     —
   2012-09     V8/4.2L     PR Code J0L                                                          70 Ah50, 54, 55, 56, 58       H6 (48)         H6 (48) AGM
   2012-09     V8/4.2L     PR Code J0P                                                          95033, 50, 54, 55, 56, 58     H9 (95R) AGM    —
   2012-09     V8/4.2L     PR Code J2D                                                          68 Ah33, 50, 54, 55, 56, 58   H6 (48) AGM     —
   2012-08     V8/4.2L     PR Code J0R                                                          64050, 54, 55, 56, 58         H7 (94R)        H7 (94R) AGM
   2012-08     V8/4.2L     PR Code J0Z                                                          85050, 54, 55, 56, 58         —               H9 (95R) AGM
   2012-08     V8/4.2L     PR Code J1U                                                          76050, 54, 55, 56, 58         —               H8 (49) AGM
   Audi S5 Sportback
   2021-18     V6/3.0L     PR Code J0B                                                          85033, 50, 55, 56, 58         H8 (49) AGM     —
   2021-18     V6/3.0L     PR Code J0H                                                          58 Ah33, 50, 55, 56, 58       H5 (47) AGM     —
   2021-18     V6/3.0L     PR Code J0P                                                          95033, 50, 55, 56, 58         —               —
   2021-18     V6/3.0L     PR Code J0Z                                                          85050, 55, 56, 58             —               H9 (95R) AGM
   2021-18     V6/3.0L     PR Code J1N                                                          80033, 50, 55, 56, 58         H7 (94R) AGM    —
   2021-18     V6/3.0L     PR Code J1U                                                          95 Ah50, 55, 56, 58           —               H8 (49) AGM
   2021-18     V6/3.0L     PR Code J2D                                                          68 Ah33, 50, 55, 56, 58       H6 (48) AGM     —
   2021-18     V6/3.0L     Auxiliary Li-ion Only, PR Code 0K4                                   N/A45, 50, 55, 56, 58, 60     —               —
   2021-18     V6/3.0L     PR Code J0K                                                          93 Ah50, 55, 56, 58, 59       —               —
   2021-18     V6/3.0L     PR Code J4E                                                          79 Ah50, 55, 56, 58, 59       —               —
   2018        V6/3.0L     PR Code 0K0                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
   Audi S6
   2021-20     V6/2.9L     Hybrid, PR Code J0P                                                  95033, 50, 55, 56, 58         —               —
   2021-20     V6/2.9L     Hybrid, PR Code J0Z                                                  85050, 55, 56, 58             —               H9 (95R) AGM
   2021-20     V6/2.9L     Hybrid, PR Code J2D                                                  68033, 50, 55, 56, 58         H6 (48) AGM     —
   2021-20     V6/2.9L     Hybrid, PR Code J0V                                                  70 Ah50, 55, 56, 58, 59       —               —
   2018-13     V8/4.0L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58     H8 (49) AGM     —
   2018-13     V8/4.0L     PR Code J0L                                                          64050, 54, 55, 56, 58         H6 (48)         H6 (48) AGM
   2018-13     V8/4.0L     PR Code J0P                                                          95033, 50, 54, 55, 56, 58     H9 (95R) AGM    —
   2018-13     V8/4.0L     PR Code J0R                                                          64050, 54, 55, 56, 58         H7 (94R)        H7 (94R) AGM
   2018-13     V8/4.0L     PR Code J0Z                                                          85050, 54, 55, 56, 58         —               H9 (95R) AGM
   2018-13     V8/4.0L     PR Code J1N                                                          80033, 50, 54, 55, 56, 58     H7 (94R) AGM    —
   2018-13     V8/4.0L     PR Code J1U                                                          76050, 54, 55, 56, 58         —               H8 (49) AGM
   2018-13     V8/4.0L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
   2011        V10/5.2L    PR Code J0B                                                          85033, 50, 54, 55, 56, 58     H8 (49) AGM     —
   2011        V10/5.2L    PR Code J0P                                                          95033, 50, 54, 55, 56, 58     H9 (95R) AGM    —
   2011        V10/5.2L    PR Code J0R                                                          80 Ah50, 54, 55, 56, 58       H7 (94R)        H7 (94R) AGM
   2011        V10/5.2L    PR Code J0Z                                                          85050, 54, 55, 56, 58         —               H9 (95R) AGM
   2011        V10/5.2L    PR Code J1N                                                          80033, 50, 54, 55, 56, 58     H7 (94R) AGM    —
   2011        V10/5.2L    PR Code J1U                                                          76050, 54, 55, 56, 58         —               H8 (49) AGM
   2011        V10/5.2L    PR Code J2D                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
   2010-07     V10/5.2L                                                                         57050, 54, 55, 56             H6 (48)         H6 (48) AGM
   2010-07     V10/5.2L    Opt                                                                  76050, 54, 55, 56             —               H8 (49) AGM
   2010-07     V10/5.2L    Opt                                                                  85033, 50, 54, 55, 56         H8 (49) AGM     —
   2010-07     V10/5.2L    Opt                                                                  64050, 54, 55, 56             H7 (94R)        H7 (94R) AGM
   2010-07     V10/5.2L    Opt                                                                  85050, 54, 55, 56             —               H9 (95R) AGM
   2002        V8/4.2L                                                                          72050, 54                     H8 (49)         H8 (49) AGM
   1997-95     L5/2.2L                                                                          65050                         —               —
   Audi S7
   2022-20     V6/2.9L     PR Code OK4                                                                                        —               —
   2022-20     V6/2.9L     PR Code J0P                                                          95033, 50, 54, 55, 56, 58     H9 (95R) AGM    —
   2022-20     V6/2.9L     PR Code J0T                                                          69 Ah50, 55, 56, 58, 59       —               —
   2022-20     V6/2.9L     PR Code J0Z                                                          85050, 54, 55, 56, 58         —               H9 (95R) AGM
   2022-20     V6/2.9L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
   See page 157 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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24                                                                                      Automotive/Light Truck
   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT          GROUP SIZE       ALTERNATE SIZE
                                                                                                        CCA/RATING               (NOTES)            (NOTES)

Audi S7 (continued)
2022-20     V6/2.9L      EFB,PR Code J0V                                                         78 Ah50, 55, 56, 58, 59     —               —
2018-13     V8/4.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58   H8 (49) AGM     —
2018-13     V8/4.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58   H9 (95R) AGM    —
2018-13     V8/4.0L      PR Code J0R                                                             64050, 54, 55, 56, 58       H7 (94R)        H7 (94R) AGM
2018-13     V8/4.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58       —               H9 (95R) AGM
2018-13     V8/4.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2018-13     V8/4.0L      PR Code J1U                                                             76050, 54, 55, 56, 58       —               H8 (49) AGM
2018-13     V8/4.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM     —
Audi S8
2021        V8/4.0L      Hybrid, EFB, PR Code J0V                                                78 Ah50, 55, 56, 58, 59     —               —
2021-20     V8/4.0L      Hybrid, PR Code J0B                                                     85033, 50, 55, 56, 58       H8 (49) AGM     —
2021-20     V8/4.0L      Hybrid, PR Code J0P                                                     95033, 50, 55, 56, 58       —               —
2021-20     V8/4.0L      Hybrid, PR Code J2D                                                     68033, 50, 55, 56, 58       H6 (48) AGM     —
2021-20     V8/4.0L      Hybrid, EFB, PR Code J0T                                                69 Ah50, 55, 56, 58, 59     —               —
2018-13     V8/4.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58   H8 (49) AGM     —
2018-13     V8/4.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58   H9 (95R) AGM    —
2018-13     V8/4.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58       —               H9 (95R) AGM
2018-13     V8/4.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2018-13     V8/4.0L      PR Code J1U                                                             76050, 54, 55, 56, 58       —               H8 (49) AGM
2013        V8/4.0L      PR Code 0K1                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2009        V10/5.2L                                                                             65050, 55                   —               H9 (95R) AGM
2009        V10/5.2L                                                                             85050, 54, 55, 56           —               H9 (95R) AGM
2009-08     V10/5.2L     Opt                                                                     85033, 50, 54, 55, 56       H8 (49) AGM     —
2008-07     V10/5.2L                                                                             85050, 55                   —               H9 (95R) AGM
2003-02     V8/4.2L                                                                              72050, 54                   H8 (49)         H8 (49) AGM
2001        V8/4.2L                                                                              76050, 54                   —               H8 (49) AGM
Audi SQ5
2018-14 V6/3.0L                                                                                  64054                       H7 (94R)        H7 (94R) AGM
Audi SQ8
2021-20     V8/4.0L      Hybrid, PR Code J0B                                                     85033, 50, 55, 56, 58       H8 (49) AGM     —
2021-20     V8/4.0L      Hybrid, PR Code J0P                                                     95033, 50, 55, 56, 58       —               —
2021-20     V8/4.0L      Hybrid, PR Code J1N                                                     80033, 50, 55, 56, 58       H7 (94R) AGM    —
2021-20     V8/4.0L      Hybrid, PR Code J2D                                                     68033, 50, 55, 56, 58       H6 (48) AGM     —
Audi TT quattro
2021-16     L4/2.0L      PR Code J0B                                                             92 Ah33, 50, 55, 56, 58     H8 (49) AGM     —
2021-16     L4/2.0L      PR Code J1U                                                             95 Ah50, 55, 56, 58         —               H8 (49) AGM
2021-16     L4/2.0L      PR Code J2D                                                             68033, 50, 55, 56, 58       H6 (48) AGM     —
2021-09     L4/2.0L      PR Code J0R                                                             80050, 55, 56, 58           H7 (94R)        H7 (94R) AGM
2021-09     L4/2.0L      PR Code J1N                                                             64033, 50, 55, 56, 58       H7 (94R) AGM    —
Audi TT RS quattro
2021-18     L5/2.5L      PR Code J0B                                                             85033, 50, 55, 56, 58       H8 (49) AGM     —
2021-18     L5/2.5L      PR Code J1N                                                             80033, 50, 55, 56, 58       H7 (94R) AGM    —
2013-12     L5/2.5L      PR Code J0R                                                             64050, 54, 55, 56, 58       H7 (94R)        H7 (94R) AGM
2013-12     L5/2.5L      PR Code J1N                                                             80033, 50, 55, 56, 58       H7 (94R) AGM    —
Audi TT, TT quattro
2018        L5/2.5L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58   H8 (49) AGM     —
2018        L5/2.5L      PR Code J0R                                                             64050, 54, 55, 56, 58       H7 (94R)        H7 (94R) AGM
2018        L5/2.5L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2018        L5/2.5L      PR Code J1U                                                             76050, 54, 55, 56, 58       —               H8 (49) AGM
2018        L5/2.5L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM     —
2018-16     L4/2.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58   H8 (49) AGM     —
2018-16     L4/2.0L      PR Code J0R                                                             64050, 54, 55, 56, 58       H7 (94R)        H7 (94R) AGM
2018-16     L4/2.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2018-16     L4/2.0L      PR Code J1U                                                             76050, 54, 55, 56, 58       —               H8 (49) AGM
2018-16     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM     —
2015-11     L4/2.0L      PR Code J0N                                                             54050, 54, 55, 56           —               —
2015-14     L4/2.0L      Opt                                                                     64050, 54, 55, 56           H7 (94R)        H7 (94R) AGM
2015-14     L4/2.0L      Opt                                                                     80033, 50, 54, 55, 56       H7 (94R) AGM    —
2009-08     V6/3.2L      PR Code J0R                                                             65050, 54, 55, 56, 58       H7 (94R)        H7 (94R) AGM
2009-08     V6/3.2L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2006-04     V6/3.2L      PR Code J0R                                                             65050, 54, 55, 56, 58       H7 (94R)        H7 (94R) AGM
2006-03     L4/1.8L      Opt, PR Code J1D                                                        72 Ah50, 54, 55, 56, 58     —               —
2006-00     L4/1.8L                                                                              48050, 54                   —               —
Audi TTS quattro
2021-16     L4/2.0L      PR Code J0B                                                             92 Ah33, 50, 55, 56, 58     H8 (49) AGM     —
2021-16     L4/2.0L      PR Code J1U                                                             95 Ah50, 55, 56, 58         —               H8 (49) AGM
2021-16     L4/2.0L      PR Code J2D                                                             68 Ah33, 50, 55, 56, 58     H6 (48) AGM     —
2021-09     L4/2.0L      PR Code J0R                                                             80 Ah50, 55, 56, 58         H7 (94R)        H7 (94R) AGM
2021-09     L4/2.0L      PR Code J1N                                                             75 Ah33, 50, 55, 56, 58     H7 (94R) AGM    —
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   25
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING            (NOTES)            (NOTES)

   Audi V8 quattro
   1994-92 V8/4.2L         32 Valve                                         72050                   —                —
   1991    V8/3.6L         32 Valve                                         72050                   —                —
   1990    V8/3.6L         32 Valve                                         65050                   —                —
   Avanti Avanti
   2007-05 V8/4.6L                                                          590                     96R              —
   Bentley Arnage
   2009-08     V8/6.8L     Left Side Auxiliary Battery                      75050                   —                —
   2009-08     V8/6.8L     Right Side                                       70050                   —                —
   2007-00     V8/6.8L                                                      700                     —                —
   2001-99     V8/4.4L                                                      700                     —                —
   Bentley Azure
   2010-08     V8/6.8L     Left Side Auxiliary Battery                      75050                   —                —
   2010-08     V8/6.8L     Right Side                                       70050                   —                —
   2007-06     V8/6.8L                                                      700                     —                —
   2003-96     V8/6.8L                                                      700                     —                —
   Bentley Brooklands
   2009-08 V8/6.8L         Left Side Auxiliary Battery                      75050                   —                —
   2009-08 V8/6.8L         Right Side                                       70050                   —                —
   1998-93 V8/6.8L                                                          700                     —                —
   Bentley Continental
   2014        W12/6.0L    Primary Battery – Right Side                     61050, 54               —                —
   2014-13     V8/4.0L     Auxiliary – Left Side                            85050, 54               —                H8 (49) AGM
   2014-13     V8/4.0L     Primary Battery– Right Side                      61050, 54               —                —
   2014-09     W12/6.0L    Auxiliary – Left Side                            85033, 50, 54           H8 (49) AGM      —
   2013-09     W12/6.0L    Right Side                                       61054                   —                —
   2008-04     W12/6.0L    Auxiliary – Left Side                            90033                   H8 (49) AGM      —
   2008-04     W12/6.0L    Right Side                                       650                     —                H5 (47) AGM
   2003-89     V8/6.8L                                                      650                     24               —
   2003        W12/6.0L                                                     650                     24               —
   Bentley Eight
   1991-90 V8/6.8L                                                          800                     —                —
   Bentley Flying Spur
   2017-15 V8/4.0L                                                          610                     —                —
   2017-14 W12/6.0L                                                         610                     —                —
   Bentley Mulsanne
   2014-11 V8/6.8L         Auxiliary – Left Side                            85050, 54               —                H8 (49) AGM
   2014-11 V8/6.8L         Primary Battery – Right Side                     61050, 54               —                —
   1992-90 V8/6.8L                                                          800                     —                —
   Bentley Turbo R
   1998-89 V8/6.8L                                                          700                     H6 (48)          H6 (48) AGM
   BMW 1 Series M
   2011        L6/3.0L                                                      76018, 33, 50, 54       H6 (48) AGM      —
   BMW 128i
   2013-08     L6/3.0L     Option 1                                         57018, 50, 54           H6 (48)          H6 (48) AGM
   2013-08     L6/3.0L     Option 2                                         64018, 50, 54           H7 (94R)         H7 (94R) AGM
   2013-08     L6/3.0L     Option 3                                         72018, 50, 54, 56       H8 (49)          H8 (49) AGM
   2013-08     L6/3.0L     w/AGM, Option 1                                  85018, 33, 50, 54       H8 (49) AGM      —
   2013-08     L6/3.0L     w/AGM, Option 2                                  90018, 33, 50, 54       H8 (49) AGM      —
   2013-08     L6/3.0L     w/AGM, Option 3                                  76018, 33, 50, 54       H6 (48) AGM      —
   BMW 135, 135is
   2013-08     L6/3.0L                                                      57018, 50, 54           H6 (48)          H6 (48) AGM
   2013-08     L6/3.0L     Option 1                                         64018, 50, 54           H7 (94R)         H7 (94R) AGM
   2013-08     L6/3.0L     Option 2                                         72018, 50, 54, 56       H8 (49)          H8 (49) AGM
   2013-08     L6/3.0L     w/AGM, Option 1                                  76018, 33, 50, 54       H6 (48) AGM      —
   2013-08     L6/3.0L     w/AGM, Option 2                                  85018, 33, 50, 54, 56   H8 (49) AGM      —
   2013-08     L6/3.0L     w/AGM, Option 3                                  90018, 33, 50, 54, 56   H8 (49) AGM      —
   BMW 228i
   2016-14 L4/2.0L                                                          80033, 50, 54, 55, 56   H7 (94R) AGM     —
   2016-14 L4/2.0L         Opt                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
   2015-14 L4/2.0L         Opt                                              85033, 50, 54, 55, 56   H8 (49) AGM      —
   BMW 228i xDrive
   2016-15 L4/2.0L                                                          80033, 50, 54, 55, 56   H7 (94R) AGM     —
   2016-15 L4/2.0L         Opt                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
   BMW 228i xDrive Gran Coupe
   2021-20 L4/2.0L                                                          70 Ah33, 50, 55, 56     H6 (48) AGM      —
   2021-20 L4/2.0L         Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2021-20 L4/2.0L         Opt                                              80 Ah33, 50, 55, 56     H7 (94R) AGM     —
   See page 157 for Footnotes. Selection may vary by warehouse.

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26                                                                  Automotive/Light Truck
  YEAR      ENGINE                                        OPTIONS               ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                    CCA/RATING            (NOTES)            (NOTES)

BMW 228i xDrive Gran Coupe (continued)
2021-20 L4/2.0L      Opt                                                     70 Ah50, 55, 56, 59     —                —
2021-20 L4/2.0L      Opt                                                     80 Ah50, 55, 56, 59     —                —
BMW 230i
2021-17 L4/2.0L                                                              90033, 50, 55, 56       H8 (49) AGM      —
BMW 230i xDrive
2021-17 L4/2.0L                                                              92 Ah33, 50, 55, 56     H8 (49) AGM      —
BMW 318i, 318iS, 318Ti
1999-96   L4/1.9L                                                            60050                   —                —
1997-96   L4/1.9L                                                            60050                   —                —
1997-96   L4/1.9L                                                            57534, 50               —                —
1995-91   L4/1.8L                                                            60050                   —                —
BMW 320i xDrive
2018-16   L4/2.0L    Opt                                                     80033, 50, 54, 55, 56   H7 (94R) AGM     —
2018-13   L4/2.0L                                                            76033, 50, 54, 55, 56   H6 (48) AGM      —
2016-13   L4/2.0L    Opt                                                     90033, 50, 54, 55, 56   H8 (49) AGM      —
2015-13   L4/2.0L                                                            80018, 33, 50, 54, 56   H7 (94R) AGM     —
2015-13   L4/2.0L    Auxiliary Battery                                       40 Ah45                 —                —
2015-13   L4/2.0L    Opt                                                     85018, 33, 50, 54, 56   H8 (49) AGM      —
BMW 320i, 320Xi
2018-16   L4/2.0L    Opt                                                     80033, 50, 54, 55, 56   H7 (94R) AGM     —
2018-12   L4/2.0L                                                            76033, 50, 54, 55, 56   H6 (48) AGM      —
2016-12   L4/2.0L    Opt                                                     90033, 50, 54, 55, 56   H8 (49) AGM      —
2015-12   L4/2.0L    Auxiliary Battery                                       40 Ah45                 —                —
2005-01   L6/2.2L                                                            57018, 50               H6 (48)          H6 (48) AGM
2005-01   L6/2.2L    Opt                                                     64018, 50, 54, 56       H7 (94R)         H7 (94R) AGM
BMW 323i, 323iS, 323Ci
2011-06   L6/2.5L    Option 1                                                64018, 50               H7 (94R)         H7 (94R) AGM
2011-06   L6/2.5L    w/AGM, Option 1                                         76018, 33, 50, 54       H6 (48) AGM      —
2011-06   L6/2.5L    w/AGM, Option 2                                         85018, 33, 50, 54, 56   H8 (49) AGM      —
2011-06   L6/2.5L    w/AGM, Option 3                                         90018, 33, 50, 54, 56   H8 (49) AGM      —
2011-06   L6/2.5L    w/o AGM, Option 1                                       57018, 50               H6 (48)          H6 (48) AGM
2011-06   L6/2.5L    w/o AGM, Option 2                                       72018, 50, 54, 56       H8 (49)          H8 (49) AGM
2000-99   L6/2.5L                                                            76518, 50               H7 (94R)         H7 (94R) AGM
2000      L6/2.5L    Conv                                                    64018, 50, 54, 56       H7 (94R)         H7 (94R) AGM
2000      L6/2.5L    Ex Conv                                                 75018, 33, 50, 54       H6 (48) AGM      —
1998      L6/2.5L                                                            60050                   —                —
1998      L6/2.5L                                                            57534, 50               —                —
BMW 325 Series
2006      L6/3.0L    w/AGM, Option 1                                         76018, 33, 50, 54       H6 (48) AGM      —
2006      L6/3.0L    w/AGM, Option 2                                         90018, 33, 50, 56       H8 (49) AGM      —
2006      L6/3.0L    w/AGM, Option 3                                         85018, 33, 50, 56       H8 (49) AGM      —
2006      L6/3.0L    w/o AGM, Option 1                                       57018, 50, 54           H6 (48)          H6 (48) AGM
2006      L6/3.0L    w/o AGM, Option 2                                       72018, 50, 54, 56       H8 (49)          H8 (49) AGM
2006      L6/3.0L    w/o AGM, Option 3                                       64018, 50, 54           H7 (94R)         H7 (94R) AGM
2006-03   L6/2.5L    325Ci SULEV w/AGM, Option 2                             85018, 33, 50           H8 (49) AGM      —
2006-03   L6/2.5L    SULEV w/AGM, Option 1                                   90018, 33, 50           H8 (49) AGM      —
2006-01   L6/2.5L    Ex SULEV                                                64018, 50, 54           H7 (94R)         H7 (94R) AGM
2005-04   L6/2.5L    w/M54 Eng                                               64018, 50, 54           H7 (94R)         H7 (94R) AGM
2005-04   L6/2.5L    w/M54 Eng, Option 1                                     57018, 50, 54           H6 (48)          H6 (48) AGM
2005-04   L6/2.5L    w/M54 or N52 Eng w/o AGM, Option 2                      64018, 50, 54           H7 (94R)         H7 (94R) AGM
2005-04   L6/2.5L    w/N52 Eng & AGM, Option 1                               76018, 33, 50, 54       H6 (48) AGM      —
2005-04   L6/2.5L    w/N52 Eng & AGM, Option 2                               85018, 33, 50           H8 (49) AGM      —
2005-04   L6/2.5L    w/N52 Eng & AGM, Option 3                               90018, 33, 50           H8 (49) AGM      —
2005-04   L6/2.5L    w/N52 Eng Opt                                           64018, 50, 54           H7 (94R)         H7 (94R) AGM
2005-04   L6/2.5L    w/N52 Eng w/o AGM                                       57018, 50, 54           H6 (48)          H6 (48) AGM
2005-04   L6/2.5L    w/N52 Eng w/o AGM Option 3                              72018, 50, 54           H8 (49)          H8 (49) AGM
2005-04   L6/2.5L    w/N52 or M54 Eng w/o AGM, Option 1                      57018, 50, 54           H6 (48)          H6 (48) AGM
2003-02   L6/2.5L    325i SULEV w/AGM, Option 1                              85018, 33, 50           H8 (49) AGM      —
2003-02   L6/2.5L    Ex SULEV, Option 1                                      57018, 50, 54           H6 (48)          H6 (48) AGM
2003-02   L6/2.5L    Ex SULEV, Option 2                                      64018, 50, 54           H7 (94R)         H7 (94R) AGM
2003-02   L6/2.5L    SULEV w/AGM, Option 2                                   90018, 33, 50           H8 (49) AGM      —
2003-01   L6/2.5L                                                            57018, 50, 54, 56       H6 (48)          H6 (48) AGM
2003-01   L6/2.5L    Opt                                                     64018, 50, 54, 56       H7 (94R)         H7 (94R) AGM
2001      L6/2.5L                                                            64018, 50, 54           H7 (94R)         H7 (94R) AGM
2001      L6/2.5L    Opt                                                     57018, 50, 54, 56       H6 (48)          H6 (48) AGM
1995-92   L6/2.5L                                                            57534                   —                —
1995-92   L6/2.5L                                                            65050                   —                —
1995-92   L6/2.5L                                                            65050                   —                —
1991-90   L6/2.5L                                                            600                     —                —
                                                                            See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                  27
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT      GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING           (NOTES)            (NOTES)

   BMW 328 Series
   2018        L4/2.0L     Dsl, Opt                                         90033, 50, 54, 55, 56   —               —
   2018-16     L4/2.0L     Dsl, Opt                                         80033, 50, 54, 55, 56   H7 (94R) AGM    —
   2018-14     L4/2.0L     Dsl                                              76033, 50, 54, 55, 56   H6 (48) AGM     —
   2016-15     L4/2.0L                                                      80033, 50, 54, 55, 56   H7 (94R) AGM    —
   2016-15     L4/2.0L     Opt                                              90033, 50, 54, 55, 56   H8 (49) AGM     —
   2016-14     L4/2.0L                                                      90033, 50, 54, 55, 56   H8 (49) AGM     —
   2016-14     L4/2.0L     Dsl, Opt                                         90033, 50, 54, 55, 56   H8 (49) AGM     —
   2015        L4/2.0L     Opt                                              85033, 50, 54, 55, 56   H8 (49) AGM     —
   2015-14     L4/2.0L     Auxiliary, Dsl                                   40 Ah45                 —               —
   2015-12     L4/2.0L     Auxiliary Battery                                40 Ah45                 —               —
   2014        L4/2.0L     Option 1                                         85018, 33, 50, 54, 56   H8 (49) AGM     —
   2014        L4/2.0L     Option 2                                         80018, 33, 50, 54, 56   H7 (94R) AGM    —
   2014-13     L4/2.0L                                                      80018, 33, 50, 54, 56   H7 (94R) AGM    —
   2014-12     L4/2.0L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM     —
   2013        L6/3.0L                                                      57018, 50, 54, 56       H6 (48)         H6 (48) AGM
   2013        L6/3.0L     Opt                                              76018, 33, 50, 54, 56   H6 (48) AGM     —
   2013        L6/3.0L     Opt                                              72018, 50, 54, 56       H8 (49)         H8 (49) AGM
   2013        L6/3.0L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM     —
   2013        L6/3.0L     Opt                                              90018, 33, 50, 54, 56   H8 (49) AGM     —
   2013        L6/3.0L     Opt                                              64018, 50, 54, 56       H7 (94R)        H7 (94R) AGM
   2012        L4/2.0L                                                      80018, 33, 50, 54       H7 (94R) AGM    —
   2012-09     L6/3.0L     AGM, Option 3                                    90018, 33, 50, 54, 56   H8 (49) AGM     —
   2012-09     L6/3.0L     w/o AGM, Option 3                                64018, 50, 54, 56       H7 (94R)        H7 (94R) AGM
   2012-07     L6/3.0L     AGM, Option 2                                    85018, 33, 50, 54, 56   H8 (49) AGM     —
   2012-07     L6/3.0L     w/AGM, Option 1                                  76018, 33, 50, 54       H6 (48) AGM     —
   2012-07     L6/3.0L     w/AGM, Option 2                                  85018, 33, 50, 54, 56   H8 (49) AGM     —
   2012-07     L6/3.0L     w/AGM, Option 3                                  90018, 33, 50, 54, 56   H8 (49) AGM     —
   2012-07     L6/3.0L     w/o AGM, Option 1                                57018, 50, 54           H6 (48)         H6 (48) AGM
   2012-07     L6/3.0L     w/o AGM, Option 2                                72018, 50, 54           H8 (49)         H8 (49) AGM
   2008-07     L6/3.0L     AGM, Option 3                                    90018, 33, 50, 54       H8 (49) AGM     —
   2008-07     L6/3.0L     w/o AGM, Option 3                                64018, 50, 54           H7 (94R)        H7 (94R) AGM
   2000        L6/2.8L                                                      75018, 50, 54           —               —
   2000        L6/2.8L     Opt                                              76518, 50               H7 (94R)        H7 (94R) AGM
   1999        L6/2.8L                                                      76518, 50               H7 (94R)        H7 (94R) AGM
   1999-96     L6/2.8L     Conv                                             575                     —               —
   1998-96     L6/2.8L                                                      650                     —               —
   1998-96     L6/2.8L     Ex Conv                                          650                     —               —
   BMW 330Ci, 330i, 330xi
   2018-17     L4/2.0L                                                      76033, 50, 54, 55, 56   H6 (48) AGM     —
   2018-17     L4/2.0L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM    —
   2006        L6/3.0L                                                      57018, 50, 54           H6 (48)         H6 (48) AGM
   2005-02     L6/3.0L                                                      64018, 50, 54           H7 (94R)        H7 (94R) AGM
   2001        L6/3.0L                                                      76550                   H7 (94R)        H7 (94R) AGM
   BMW 330e
   2021        L4/2.0L     Hybrid                                           80 Ah33, 50, 55, 56     H7 (94R) AGM    —
   2021        L4/2.0L     Hybrid, Opt                                      60 Ah33, 50, 55, 56     H5 (47) AGM     —
   2021        L4/2.0L     Hybrid, Opt                                      92 Ah33, 50, 55, 56     H8 (49) AGM     —
   2021        L4/2.0L     Hybrid, Opt                                      90 Ah33, 50, 55, 56     H8 (49) AGM     —
   2021        L4/2.0L     Hybrid, Opt                                      105 Ah33, 50, 55, 56    —               —
   2018-16     L4/2.0L                                                      76033, 50, 54, 55, 56   H6 (48) AGM     —
   2018-16     L4/2.0L     Opt                                              90033, 50, 54, 55, 56   H8 (49) AGM     —
   2018-16     L4/2.0L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM    —
   BMW 330e xDrive
   2021        L4/2.0L     Hybrid                                           80 Ah33, 50, 55, 56     H7 (94R) AGM    —
   2021        L4/2.0L     Hybrid, Opt                                      60 Ah33, 50, 55, 56     H5 (47) AGM     —
   2021        L4/2.0L     Hybrid, Opt                                      92 Ah33, 50, 55, 56     H8 (49) AGM     —
   2021        L4/2.0L     Hybrid, Opt                                      90 Ah33, 50, 55, 56     H8 (49) AGM     —
   2021        L4/2.0L     Hybrid, Opt                                      105 Ah33, 50, 55, 56    —               —
   BMW 330i
   2021-19     L4/2.0L     Opt                                              105 Ah33, 50, 55, 56    —               —
   2021-17     L4/2.0L                                                      70 Ah33, 50, 55, 56     H6 (48) AGM     —
   2021-17     L4/2.0L     Opt                                              92 Ah33, 50, 55, 56     H8 (49) AGM     —
   2021-17     L4/2.0L     Opt                                              90 Ah33, 50, 55, 56     H8 (49) AGM     —
   2021-17     L4/2.0L     Opt                                              80 Ah33, 50, 55, 56     H7 (94R) AGM    —
   2006        L6/3.0L                                                      57018, 50, 54, 56       H6 (48)         H6 (48) AGM
   2006-02     L6/3.0L                                                      64018, 50, 54, 56       H7 (94R)        H7 (94R) AGM
   BMW 330i GT xDrive
   2018-17 L4/2.0L                                                          90033, 50, 54, 55, 56   H8 (49) AGM     —
   BMW 330i xDrive
   2021-20 L4/2.0L                                                          80 Ah33, 50, 55, 56     H7 (94R) AGM    —
   2021-19 L4/2.0L         Opt                                              105 Ah33, 50, 55, 56    —               —
   See page 157 for Footnotes. Selection may vary by warehouse.

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28                                                 Automotive/Light Truck
  YEAR      ENGINE                       OPTIONS                ORIGINAL EQUIPMENT      GROUP SIZE        ALTERNATE SIZE
                                                                    CCA/RATING           (NOTES)             (NOTES)

BMW 330i xDrive (continued)
2021-17   L4/2.0L    Opt                                     92 Ah33, 50, 55, 56     H8 (49) AGM      —
2021-17   L4/2.0L    Opt                                     90 Ah33, 50, 55, 56     H8 (49) AGM      —
2019-17   L4/2.0L                                            76033, 50, 54, 55, 56   H6 (48) AGM      —
2019-17   L4/2.0L    Opt                                     80033, 50, 54, 55, 56   H7 (94R) AGM     —
BMW 335 Series
2019-17   L6/3.0L                                            90033, 50, 54, 55, 56   H8 (49) AGM      —
2015      L6/3.0L                                            80033, 50, 54, 55, 56   H7 (94R) AGM     —
2015      L6/3.0L    Opt                                     85033, 50, 54, 55, 56   H8 (49) AGM      —
2015-14   L6/3.0L    Auxiliary Battery                       40 Ah45                 —                —
2014      L6/3.0L                                            80018, 33, 50, 54, 56   H7 (94R) AGM     —
2014      L6/3.0L    Opt                                     85018, 33, 50, 54, 56   H8 (49) AGM      —
2014      L6/3.0L    Option 2                                80018, 33, 50, 54, 56   H7 (94R) AGM     —
2014-13   L6/3.0L    Option 1                                85018, 33, 50, 54, 56   H8 (49) AGM      —
2013      L6/3.0L                                            57018, 50, 54, 56       H6 (48)          H6 (48) AGM
2013      L6/3.0L    Opt                                     76018, 33, 50, 54, 56   H6 (48) AGM      —
2013      L6/3.0L    Opt                                     72018, 50, 54, 56       H8 (49)          H8 (49) AGM
2013      L6/3.0L    Opt                                     64018, 50, 54, 56       H7 (94R)         H7 (94R) AGM
2013      L6/3.0L    Option 2                                90018, 33, 50, 54, 56   H8 (49) AGM      —
2013-07   L6/3.0L    w/AGM, Option 1                         76018, 33, 50, 54       H6 (48) AGM      —
2013-07   L6/3.0L    w/AGM, Option 2                         85018, 33, 50, 54, 56   H8 (49) AGM      —
2013-07   L6/3.0L    w/AGM, Option 3                         90018, 33, 50, 54, 56   H8 (49) AGM      —
2013-07   L6/3.0L    w/o AGM, Option 1                       72018, 50, 54, 56       H8 (49)          H8 (49) AGM
2013-07   L6/3.0L    w/o AGM, Option 2                       64018, 50, 54           H7 (94R)         H7 (94R) AGM
2013-07   L6/3.0L    w/o AGM, Option 3                       57018, 50, 54           H6 (48)          H6 (48) AGM
BMW 340i
2018-16 L6/3.0L                                              76033, 50, 54, 55, 56   H6 (48) AGM      —
2018-16 L6/3.0L      Opt                                     80033, 50, 54, 55, 56   H7 (94R) AGM     —
2016    L6/3.0L      Opt                                     90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 340i GT xDrive
2018-17 L6/3.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 340i xDrive
2018-16 L6/3.0L                                              76033, 50, 54, 55, 56   H6 (48) AGM      —
2018-16 L6/3.0L      Opt                                     80033, 50, 54, 55, 56   H7 (94R) AGM     —
2016    L6/3.0L      Opt                                     90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 428i
2016-14 L4/2.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 428i xDrive
2016    L4/2.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
2015-14 L4/2.0L      Conv                                    90033, 50, 54, 55, 56   H8 (49) AGM      —
2015-14 L4/2.0L      Coupe                                   85033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 428i xDrive Gran Coupe
2016-15 L4/2.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 430i
2018-17 L4/2.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 430i Gran Coupe
2018-17 L4/2.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 430i xDrive
2018-17 L4/2.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 430i xDrive Gran Coupe
2018-17 L4/2.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 435i
2016      L6/3.0L                                            90033, 50, 54, 55, 56   H8 (49) AGM      —
2015      L6/3.0L    Coupe                                   85033, 50, 54, 55, 56   H8 (49) AGM      —
2015-14   L6/3.0L    Conv                                    90033, 50, 54, 55, 56   H8 (49) AGM      —
2014      L6/3.0L                                            85018, 33, 50, 54, 56   H8 (49) AGM      —
BMW 435i Gran Coupe
2016-15 L6/3.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 435i xDrive
2016      L6/3.0L                                            90033, 50, 54, 55, 56   H8 (49) AGM      —
2015      L6/3.0L    Conv                                    90033, 50, 54, 55, 56   H8 (49) AGM      —
2015      L6/3.0L    Coupe                                   85033, 50, 54, 55, 56   H8 (49) AGM      —
2014      L6/3.0L                                            85018, 33, 50, 54, 56   H8 (49) AGM      —
BMW 435i xDrive Gran Coupe
2016-15 L6/3.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 440i
2018-17 L6/3.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 440i Gran Coupe
2018-17 L6/3.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
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   Automotive/Light Truck                                                                                                  29
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT      GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING           (NOTES)            (NOTES)

   BMW 440i xDrive
   2018-17 L6/3.0L                                                          90033, 50, 54, 55, 56   H8 (49) AGM     —
   BMW 440i xDrive Gran Coupe
   2018-17 L6/3.0L                                                          90033, 50, 54, 55, 56   H8 (49) AGM     —
   BMW 525 Series
   2007-06     L6/3.0L     Option 1                                         72018, 50, 54           H8 (49)         H8 (49) AGM
   2007-06     L6/3.0L     Option 2                                         85018, 50, 54           —               H9 (95R) AGM
   2007-06     L6/3.0L     Option 3                                         64018, 50, 54           H7 (94R)        H7 (94R) AGM
   2005        L6/2.5L     Opt                                              90018, 50               —               H8 (49) AGM
   2005-02     L6/2.5L     Option 3                                         64018, 50, 54           H7 (94R)        H7 (94R) AGM
   2004-02     L6/2.5L     Option 1                                         72018, 50, 54           H8 (49)         H8 (49) AGM
   2004-02     L6/2.5L     Option 2                                         85018, 50, 54           —               H9 (95R) AGM
   2001        L6/2.5L                                                      76050                   —               H8 (49) AGM
   1995-93     L6/2.5L                                                      80050                   —               —
   1995-91     L6/2.5L                                                      65050                   —               —
   1993        L6/2.5L     Opt                                              80050                   —               —
   1993        L6/2.5L     Opt                                              80050                   —               —
   BMW 528 Series
   2016-15     L4/2.0L                                                      85033, 50, 54, 55, 56   H8 (49) AGM     —
   2015-14     L4/2.0L     Opt                                              95033, 50, 54, 55, 56   H9 (95R) AGM    —
   2014        L4/2.0L                                                      85018, 33, 50, 54, 56   H8 (49) AGM     —
   2014        L4/2.0L     Opt                                              90018, 33, 50, 54, 56   H8 (49) AGM     —
   2013-12     L4/2.0L     w/AGM, Option 1                                  85018, 33, 50, 54       H8 (49) AGM     —
   2013-12     L4/2.0L     w/AGM, Option 2                                  90018, 33, 50, 54, 56   H8 (49) AGM     —
   2013-12     L4/2.0L     w/AGM, Option 3                                  80018, 33, 50, 54       H7 (94R) AGM    —
   2013-12     L4/2.0L     w/o AGM                                          95018, 50, 54           —               H9 (95R) AGM
   2011-10     L6/3.0L     w/AGM, Option 1                                  85018, 33, 50, 54       H8 (49) AGM     —
   2011-10     L6/3.0L     w/AGM, Option 2                                  90018, 33, 50, 54, 56   H8 (49) AGM     —
   2011-10     L6/3.0L     w/AGM, Option 3                                  80018, 33, 50, 54       H7 (94R) AGM    —
   2011-10     L6/3.0L     w/o AGM                                          95018, 50, 54           —               H9 (95R) AGM
   2009-08     L6/3.0L     w/AGM                                            85018, 33, 50, 54, 56   H8 (49) AGM     —
   2009-08     L6/3.0L     w/o AGM, Option 1                                72018, 50, 54           H8 (49)         H8 (49) AGM
   2009-08     L6/3.0L     w/o AGM, Option 2                                64018, 50, 54           H7 (94R)        H7 (94R) AGM
   2009-08     L6/3.0L     w/o AGM, Option 3                                85018, 50, 54, 56       —               H9 (95R) AGM
   2000-97     L6/2.8L                                                      76050                   —               H8 (49) AGM
   BMW 530 Series
   2018-17     L4/2.0L                                                      68033, 50, 54, 55, 56   —               —
   2018-17     L4/2.0L     Auxiliary Battery                                12 Ah33, 45, 50         —               —
   2018-17     L4/2.0L     Opt                                              76033, 50, 54, 55, 56   H6 (48) AGM     —
   2018-17     L4/2.0L     Opt                                              90033, 50, 54, 55, 56   H8 (49) AGM     —
   2018-17     L4/2.0L     Opt                                              95033, 50, 54, 55, 56   H9 (95R) AGM    —
   2007-02     L6/3.0L     Option 2                                         64018, 50, 54           H7 (94R)        H7 (94R) AGM
   2007-02     L6/3.0L     Option 3                                         85018, 50, 54, 56       —               H9 (95R) AGM
   2007-02     L6/3.0L     w/AGM                                            85018, 33, 50, 54, 56   H8 (49) AGM     —
   2007-01     L6/3.0L     Option 1                                         72018, 50, 54           H8 (49)         H8 (49) AGM
   1995-94     V8/3.0L                                                      80050                   —               —
   BMW 530e
   2021-18     L4/2.0L     Hybrid                                           90033, 50, 55, 56       H8 (49) AGM     —
   2021-18     L4/2.0L     Hybrid, Opt                                      60 Ah33, 50, 55, 56     H5 (47) AGM     —
   2021-18     L4/2.0L     Hybrid, Opt                                      105 Ah33, 50, 55, 56    —               —
   2020-18     L4/2.0L     Hybrid, Auxiliary                                12Ah33, 50, 55, 56      —               —
   BMW 530e xDrive
   2021-18     L4/2.0L     Hybrid                                           92 Ah33, 50, 55, 56     H8 (49) AGM     —
   2021-18     L4/2.0L     Hybrid, Opt                                      60 Ah33, 50, 55, 56     H5 (47) AGM     —
   2021-18     L4/2.0L     Hybrid, Opt                                      105 Ah33, 50, 55, 56    —               —
   2021-18     L4/2.0L     Hybrid, Auxiliary Li-ion Only                    10 Ah33, 50, 55, 56     —               —
   2018        L4/2.0L     Hybrid                                           90033, 50, 54, 55, 56   H8 (49) AGM     —
   2018        L4/2.0L     Hybrid, Auxiliary                                12Ah33, 50, 55, 56      —               —
   BMW 530i
   2021-17     L4/2.0L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM     —
   2021-17     L4/2.0L     Opt                                              95033, 50, 54, 55, 56   H9 (95R) AGM    —
   2021-17     L4/2.0L     Opt                                              50 Ah33, 50, 55, 56     —               —
   2021-17     L4/2.0L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —               —
   BMW 530i xDrive
   2021-17     L4/2.0L     Opt                                              105 Ah33, 50, 55, 56    —               —
   2021-17     L4/2.0L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM     —
   2021-17     L4/2.0L     Opt                                              50 Ah33, 50, 55, 56     —               —
   2021-17     L4/2.0L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —               —
   2020-17     L4/2.0L                                                      68033, 50, 54, 55, 56   —               —
   2018-17     L4/2.0L     Auxiliary Battery                                12 Ah33, 45, 50         —               —
   2018-17     L4/2.0L     Opt                                              76033, 50, 54, 55, 56   H6 (48) AGM     —
   2018-17     L4/2.0L     Opt                                              90033, 50, 54, 55, 56   H8 (49) AGM     —
   See page 157 for Footnotes. Selection may vary by warehouse.

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30                                                           Automotive/Light Truck
  YEAR      ENGINE                                 OPTIONS               ORIGINAL EQUIPMENT      GROUP SIZE        ALTERNATE SIZE
                                                                             CCA/RATING           (NOTES)             (NOTES)

BMW 530Xi
2007-06   L6/3.0L                                                     72018, 50, 54, 56       H8 (49)          H8 (49) AGM
2007-06   L6/3.0L    Opt                                              85033, 50, 54, 55, 56   H8 (49) AGM      —
2007-06   L6/3.0L    Opt                                              64018, 50, 54, 56       H7 (94R)         H7 (94R) AGM
2007-06   L6/3.0L    Opt                                              85018, 50, 54, 56       —                H9 (95R) AGM
BMW 535 Series
2017-15   L6/3.0L                                                     85033, 50, 54, 55, 56   H8 (49) AGM      —
2015-14   L6/3.0L    Opt                                              95033, 50, 54, 55, 56   H9 (95R) AGM     —
2014      L6/3.0L                                                     85018, 33, 50, 54, 56   H8 (49) AGM      —
2014      L6/3.0L    Option 1                                         85018, 33, 50, 54, 56   H8 (49) AGM      —
2014      L6/3.0L    Option 2                                         90018, 33, 50, 54, 56   H8 (49) AGM      —
2013-11   L6/3.0L    w/AGM, Option 3                                  80018, 33, 50, 54       H7 (94R) AGM     —
2013-11   L6/3.0L    w/o AGM                                          95018, 50, 54           —                H9 (95R) AGM
2013-10   L6/3.0L    w/AGM, Option 1                                  90018, 33, 50, 54, 56   H8 (49) AGM      —
2013-08   L6/3.0L    w/AGM, Option 2                                  85018, 33, 50, 54, 56   H8 (49) AGM      —
2010-08   L6/3.0L    w/o AGM, Option 1                                72018, 50, 54           H8 (49)          H8 (49) AGM
2010-08   L6/3.0L    w/o AGM, Option 2                                64018, 50, 54           H7 (94R)         H7 (94R) AGM
2010-08   L6/3.0L    w/o AGM, Option 3                                85018, 50, 54, 56       —                H9 (95R) AGM
1993-90   L6/3.5L                                                     80050                   —                —
BMW 540i
2021-17   L6/3.0L                                                     90033, 50, 55, 56       H8 (49) AGM      —
2021-17   L6/3.0L    Opt                                              95033, 50, 55, 56       —                —
2021-17   L6/3.0L    Auxiliary Li-ion Only                            10 Ah45, 56, 59         —                —
2018-17   L6/3.0L                                                     68033, 50, 54, 55, 56   —                —
2018-17   L6/3.0L    Auxiliary Battery                                12 Ah33, 45, 50         —                —
2018-17   L6/3.0L    Opt                                              76033, 50, 54, 55, 56   H6 (48) AGM      —
2003      V8/4.4L    w/AGM                                            90018, 33, 50           H8 (49) AGM      —
2003-02   V8/4.4L                                                     72018, 50               H8 (49)          H8 (49) AGM
2001-97   V8/4.4L                                                     76050                   —                H8 (49) AGM
1995-94   V8/4.0L                                                     80050                   —                —
BMW 540i xDrive
2021-17   L6/3.0L                                                     90033, 50, 55, 56       H8 (49) AGM      —
2021-17   L6/3.0L    Opt                                              50 Ah33, 50, 55, 56     —                —
2021-17   L6/3.0L    Opt                                              95033, 50, 55, 56       —                —
2021-17   L6/3.0L    Auxiliary Li-ion Only                            10 Ah45, 56, 59         —                —
2020-17   L6/3.0L                                                     68033, 50, 54, 55, 56   —                —
2020-17   L6/3.0L    Auxiliary Battery                                12 Ah33, 45, 50         —                —
BMW 545i
2005      V8/4.4L                                                     64018, 50               H7 (94R)         H7 (94R) AGM
2005      V8/4.4L                                                     85050, 54, 55, 56       —                H9 (95R) AGM
2005-04   V8/4.4L    Opt                                              72050, 54, 55, 56       H8 (49)          H8 (49) AGM
2005-04   V8/4.4L    Opt                                              85033, 50, 54, 55, 56   H8 (49) AGM      —
2004      V8/4.4L                                                     85018, 50               —                H9 (95R) AGM
2004      V8/4.4L    Opt                                              64050, 54, 55, 56       H7 (94R)         H7 (94R) AGM
BMW 550 Series
2017-15   V8/4.4L                                                     85033, 50, 54, 55, 56   H8 (49) AGM      —
2015-14   V8/4.4L    Opt                                              95033, 50, 54, 55, 56   H9 (95R) AGM     —
2014      V8/4.4L                                                     85018, 33, 50, 54, 56   H8 (49) AGM      —
2014-13   V8/4.4L                                                     90018, 33, 50, 54, 56   H8 (49) AGM      —
2014-10   V8/4.4L                                                     90018, 33, 54           H8 (49) AGM      —
2014-10   V8/4.4L    Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
2013-11   V8/4.4L    w/AGM, Option 1                                  90018, 33, 50, 54       H8 (49) AGM      —
2013-11   V8/4.4L    w/AGM, Option 2                                  85018, 33, 50, 54       H8 (49) AGM      —
2013-11   V8/4.4L    w/o AGM                                          95018, 50, 54           —                H9 (95R) AGM
2010-06   V8/4.8L    w/o AGM, Option 1                                72018, 50, 54           H8 (49)          H8 (49) AGM
2010-06   V8/4.8L    w/o AGM, Option 2                                85018, 50, 56           —                H8 (49) AGM
2010-06   V8/4.8L    w/o AGM, Option 3                                64018, 50, 54           H7 (94R)         H7 (94R) AGM
2010-06   V8/4.8L    w/o AGM, Option 4                                85018, 50, 54, 56       —                H9 (95R) AGM
BMW 640 Series
2018-16   L6/3.0L                                                     95033, 50, 54, 55, 56   H9 (95R) AGM     —
2015      L6/3.0L                                                     85033, 50, 54, 55, 56   H8 (49) AGM      —
2015      L6/3.0L    Auxiliary Battery                                20033, 50, 54           —                —
2015-13   L6/3.0L    Opt                                              95033, 50, 54, 55, 56   H9 (95R) AGM     —
2014      L6/3.0L                                                     90018, 33, 54           H8 (49) AGM      —
2014-13   L6/3.0L    Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
2013      L6/3.0L    Opt                                              90018, 33, 54           H8 (49) AGM      —
2012      L6/3.0L    w/AGM, Option 1                                  90018, 33, 50, 54       H8 (49) AGM      —
2012      L6/3.0L    w/AGM, Option 2                                  85018, 33, 50, 54, 56   H8 (49) AGM      —
2012      L6/3.0L    w/o AGM                                          95018, 50, 54           —                H9 (95R) AGM
BMW 640i xDrive Gran Turismo
2018      L6/3.0L                                                     90033, 50, 54, 55, 56   H8 (49) AGM      —
2018      L6/3.0L    Auxiliary w/Executive Drive                      60 Ah33, 50, 55, 56     H5 (47) AGM      —
                                                                     See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   31
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING            (NOTES)            (NOTES)

   BMW 645Ci
   2005-04 V8/4.4L                                                          85018, 50               —                H9 (95R) AGM
   BMW 650 Series
   2018-16     V8/4.4L                                                      95033, 50, 54, 55, 56   H9 (95R) AGM     —
   2015-13     V8/4.4L     Opt                                              95033, 50, 54, 55, 56   H9 (95R) AGM     —
   2015-12     V8/4.4L                                                      85018, 33, 54           H8 (49) AGM      —
   2014        V8/4.4L                                                      90018, 33, 54           H8 (49) AGM      —
   2014        V8/4.4L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   2012        V8/4.4L     w/AGM                                            90018, 33, 50, 54       H8 (49) AGM      —
   2012        V8/4.4L     w/o AGM                                          95018, 50, 54           —                H9 (95R) AGM
   2010-06     V8/4.8L     w/AGM, Option 1                                  90018, 33, 50, 54       H8 (49) AGM      —
   2010-06     V8/4.8L     w/AGM, Option 2                                  85018, 33, 50, 54, 56   H8 (49) AGM      —
   2007-06     V8/4.8L     w/o AGM                                          85018, 50, 54, 56       —                H9 (95R) AGM
   BMW 740 Series
   2018        L6/3.0L                                                      90033, 50, 54, 55, 56   H8 (49) AGM      —
   2018-17     L6/3.0L     Auxiliary w/Executive Drive                      60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2017-16     L6/3.0L                                                      68033, 50, 54, 55, 56   —                —
   2016        L6/3.0L     Auxiliary Battery                                12 Ah33, 45, 50         —                —
   2015        L6/3.0L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2014-11     L6/3.0L                                                      90018, 33, 54           H8 (49) AGM      —
   2014-11     L6/3.0L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   2001        V8/4.4L                                                      85018, 50               —                H9 (95R) AGM
   2000-96     V8/4.4L                                                      95018, 50               —                H9 (95R) AGM
   1995        V8/4.0L                                                      95050                   —                H9 (95R) AGM
   1994-93     V8/4.0L                                                      80050                   —                —
   BMW 740e xDrive
   2018    L4/2.0L         Hybrid                                           60033, 50, 54, 55, 56   H8 (49) AGM      —
   2018-17 L4/2.0L         Hybrid, Auxiliary                                60 Ah33, 50, 55, 56     H5 (47) AGM      —
   BMW 740i
   2021-20     L6/3.0L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM      —
   2021-20     L6/3.0L     Opt                                              105 Ah33, 50, 55, 56    —                —
   2021-17     L6/3.0L     Auxiliary                                        12 Ah33, 50, 55, 56     —                —
   2021-17     L6/3.0L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2021-17     L6/3.0L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —                —
   BMW 740i xDrive
   2021-20     L6/3.0L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM      —
   2021-20     L6/3.0L     Opt                                              105 Ah33, 50, 55, 56    —                —
   2021-17     L6/3.0L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2021-17     L6/3.0L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —                —
   2019-17     L6/3.0L                                                      105 Ah33, 50, 55, 56    —                —
   2019-17     L6/3.0L     Opt                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
   2019-17     L6/3.0L     Auxiliary                                        12 Ah33, 50, 55, 56     —                —
   BMW 740Ld xDrive
   2015        L6/3.0L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   BMW 745e xDrive
   2021        L6/3.0L     Opt                                              105 Ah33, 50, 55, 56    —                —
   2021-20     L6/3.0L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM      —
   2021-20     L6/3.0L     Auxiliary                                        12 Ah33, 50, 55, 56     —                —
   2021-20     L6/3.0L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2021-20     L6/3.0L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —                —
   BMW 745i, 745 Li
   2005-02     V8/4.4L     w/AGM                                            90018, 33, 50, 56       H8 (49) AGM      —
   2003        V8/4.4L                                                      80018, 50               —                H9 (95R) AGM
   2002        V8/4.4L                                                      80033, 50, 55           H9 (95R) AGM     —
   2002        V8/4.4L                                                      85018, 50               —                H9 (95R) AGM
   BMW 750 Series
   2018        V8/4.4L                                                      90033, 50, 54, 55, 56   H8 (49) AGM      —
   2018-17     V8/4.4L     Auxiliary w/Executive Drive                      60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2017-16     V8/4.4L                                                      68033, 50, 54, 55, 56   —                —
   2015        V8/4.4L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2014-11     V8/4.4L                                                      90018, 33, 54           H8 (49) AGM      —
   2014-10     V8/4.4L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   2012-11     V8/4.4L     w/AGM Opt 1 Incl ActiveHybrid                    90018, 33, 50, 54       H8 (49) AGM      —
   2012-11     V8/4.4L     w/AGM Opt 2 Incl ActiveHybrid                    85018, 33, 50, 54       H8 (49) AGM      —
   2011-09     V8/4.4L     w/AGM, Option 1                                  90018, 33, 50, 54       H8 (49) AGM      —
   2009        V8/4.4L     Opt                                              85033, 50, 54, 55, 56   H8 (49) AGM      —
   2008-06     V8/4.8L     w/AGM, Option 1                                  90018, 33, 50, 54       H8 (49) AGM      —
   2008-06     V8/4.8L     w/AGM, Option 2                                  85018, 33, 50, 54       H8 (49) AGM      —
   2001        V12/5.4L                                                     85050                   —                H9 (95R) AGM
   2001        V12/5.4L    Auxiliary Battery                                65050                   H6 (48)          H6 (48) AGM
   2000-95     V12/5.4L                                                     95050                   —                H9 (95R) AGM
   See page 157 for Footnotes. Selection may vary by warehouse.

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32                                                     Automotive/Light Truck
  YEAR      ENGINE                           OPTIONS               ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                       CCA/RATING            (NOTES)            (NOTES)

BMW 750i xDrive
2021-20   V8/4.4L                                               92 Ah33, 50, 55, 56     H8 (49) AGM      —
2021-20   V8/4.4L    Opt                                        105 Ah33, 50, 55, 56    —                —
2021-16   V8/4.4L    Opt                                        60 Ah33, 50, 55, 56     H5 (47) AGM      —
2021-16   V8/4.4L    Auxiliary Li-ion Only                      10 Ah45, 56, 59         —                —
BMW 760i, 760Li
2015      V12/6.0L                                              85033, 50, 54, 55, 56   H8 (49) AGM      —
2014      V12/6.0L                                              90018, 33, 54           H8 (49) AGM      —
2014      V12/6.0L   Opt                                        85018, 33, 50, 54, 56   H8 (49) AGM      —
2013-10   V12/6.0L   w/AGM, Option 1                            90018, 33, 50, 54       H8 (49) AGM      —
2013-10   V12/6.0L   w/AGM, Option 2                            85018, 33, 50, 54       H8 (49) AGM      —
2008-06   V12/6.0L                                              72018, 50               H8 (49)          H8 (49) AGM
2005-03   V12/6.0L                                              90018, 50               —                H8 (49) AGM
BMW 840i
2021-20   L6/3.0L                                               105 Ah33, 50, 55, 56    —                —
2021-20   L6/3.0L    Opt                                        92 Ah33, 50, 55, 56     H8 (49) AGM      —
2021-20   L6/3.0L    Opt                                        90 Ah33, 50, 55, 56     H8 (49) AGM      —
2021-20   L6/3.0L    Auxiliary Li-ion Only                      10 Ah45, 56, 59         —                —
BMW 840i Gran Coupe
2021-20   L6/3.0L                                               105 Ah33, 50, 55, 56    —                —
2021-20   L6/3.0L    Opt                                        60 Ah33, 50, 55, 56     H5 (47) AGM      —
2021-20   L6/3.0L    Opt                                        92 Ah33, 50, 55, 56     H8 (49) AGM      —
2021-20   L6/3.0L    Opt                                        90 Ah33, 50, 55, 56     H8 (49) AGM      —
2021-20   L6/3.0L    Auxiliary Li-ion Only                      10 Ah45, 56, 59         —                —
BMW 840i xDrive
2021-20   L6/3.0L                                               105 Ah33, 50, 55, 56    —                —
2021-20   L6/3.0L    Opt                                        92 Ah33, 50, 55, 56     H8 (49) AGM      —
2021-20   L6/3.0L    Opt                                        90 Ah33, 50, 55, 56     H8 (49) AGM      —
2021-20   L6/3.0L    Auxiliary Li-ion Only                      10 Ah45, 56, 59         —                —
BMW 840i xDrive Gran Coupe
2021-20   L6/3.0L                                               N/A33, 50, 55, 56       —                —
2021-20   L6/3.0L    Opt                                        N/A33, 50, 55, 56       H5 (47) AGM      —
2021-20   L6/3.0L    Opt                                        N/A33, 50, 55, 56       H8 (49) AGM      —
2021-20   L6/3.0L    Opt                                        N/A33, 50, 55, 56       H8 (49) AGM      —
2021-20   L6/3.0L    Auxiliary Li-ion Only                      N/A45, 56, 59           —                —
BMW 850 Series
1997-95   V12/5.4L   Opt                                        60050                   —                —
1997-95   V12/5.4L                                              80050                   —                —
1995-94   V12/5.6L   Opt                                        60050                   —                —
1995-94   V12/5.6L                                              80050                   —                —
1994-93   V12/5.0L   Opt                                        60050                   —                —
1994-93   V12/5.0L                                              80050                   —                —
1992-91   V12/5.0L   Opt                                        60050                   —                —
1992-91   V12/5.0L                                              80050                   —                —
BMW ActiveHybrid 3
2015      L6/3.0L    Hybrid                                     80033, 50, 54, 55, 56   H7 (94R) AGM     —
2015      L6/3.0L    Hybrid, Opt                                85033, 50, 54, 55, 56   H8 (49) AGM      —
2014      L6/3.0L    Hybrid                                     80018, 33, 50, 54, 56   H7 (94R) AGM     —
2014      L6/3.0L    Hybrid, Opt                                85018, 33, 50, 54, 56   H8 (49) AGM      —
2013      L6/3.0L                                               80018, 33, 50, 54       H7 (94R) AGM     —
2013      L6/3.0L    Opt                                        85018, 33, 50, 54, 56   H8 (49) AGM      —
BMW ActiveHybrid 5
2016-15   L6/3.0L    Hybrid                                     85033, 50, 54, 55, 56   H8 (49) AGM      —
2015-14   L6/3.0L    Hybrid, Opt                                95033, 50, 54, 55, 56   H9 (95R) AGM     —
2014      L6/3.0L    Hybrid                                     90018, 33, 50, 54, 56   H8 (49) AGM      —
2014      L6/3.0L    Hybrid, Opt                                85018, 33, 50, 54, 56   H8 (49) AGM      —
2013-12   L6/3.0L    w/AGM                                      95018, 33, 50, 54, 56   H9 (95R) AGM     —
2013-12   L6/3.0L    w/AGM, Option 2                            85018, 33, 50, 54, 56   H8 (49) AGM      —
2013-12   L6/3.0L    w/AGM, Option 3                            90018, 33, 50, 54, 56   H8 (49) AGM      —
2013-12   L6/3.0L    w/o AGM                                    80018, 50, 54, 56       H7 (94R)         H7 (94R) AGM
BMW ActiveHybrid 7
2015      L6/3.0L    Hybrid                                     85033, 50, 54, 55, 56   H8 (49) AGM      —
2014      L6/3.0L    Hybrid                                     85018, 33, 50, 54, 56   H8 (49) AGM      —
2014-13   L6/3.0L    Hybrid, Opt                                90018, 33, 50, 54, 56   H8 (49) AGM      —
2013      L6/3.0L                                               80018, 33, 50, 54       H7 (94R) AGM     —
2013      L6/3.0L    Opt                                        85018, 33, 50, 54, 56   H8 (49) AGM      —
BMW Alpina B6 Gran Coupe
2016      V8/4.4L                                               95033, 50, 54, 55, 56   H9 (95R) AGM     —
BMW Alpina B6 xDrive Gran Coupe
2018-15 V8/4.4L                                                 95033, 50, 54, 55, 56   H9 (95R) AGM     —
                                                               See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   33
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING            (NOTES)            (NOTES)

   BMW Alpina B7
   2021-20     V8/4.4L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM      —
   2021-20     V8/4.4L     Opt                                              105 Ah33, 50, 55, 56    —                —
   2021-20     V8/4.4L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —                —
   2021-17     V8/4.4L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2019-17     V8/4.4L                                                      105 Ah33, 50, 55, 56    —                —
   2019-17     V8/4.4L     Auxiliary                                        1233, 50, 55, 56        —                —
   2019-17     V8/4.4L     Opt                                              92 Ah33, 50, 55, 56     H8 (49) AGM      —
   2015        V8/4.4L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2014        V8/4.4L                                                      90018, 33, 54           H8 (49) AGM      —
   2014        V8/4.4L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   2013-11     V8/4.4L     w/AGM                                            85018, 33, 50, 54       H8 (49) AGM      —
   2013-11     V8/4.4L     w/AGM, Incl xDrive                               90018, 33, 50, 54       H8 (49) AGM      —
   2008-07     V8/4.4L                                                      72050                   H8 (49)          H8 (49) AGM
   BMW Alpina B7 xDrive
   2015        V8/4.4L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2014        V8/4.4L                                                      90018, 33, 54           H8 (49) AGM      —
   2014        V8/4.4L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   2013-11     V8/4.4L     w/AGM                                            85018, 33, 50, 54       H8 (49) AGM      —
   2013-11     V8/4.4L     w/AGM, Incl xDrive                               90018, 33, 50, 54       H8 (49) AGM      —
   BMW Alpina B7L
   2015        V8/4.4L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2014        V8/4.4L                                                      90018, 33, 54           H8 (49) AGM      —
   2014        V8/4.4L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   2013-11     V8/4.4L     w/AGM                                            85018, 33, 50, 54       H8 (49) AGM      —
   2013-11     V8/4.4L     w/AGM, Incl xDrive                               90018, 33, 50, 54       H8 (49) AGM      —
   BMW Alpina B7L xDrive
   2015        V8/4.4L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2014        V8/4.4L                                                      90018, 33, 54           H8 (49) AGM      —
   2014        V8/4.4L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   2013-11     V8/4.4L     w/AGM                                            85018, 33, 50, 54       H8 (49) AGM      —
   2013-11     V8/4.4L     w/AGM, Incl xDrive                               90018, 33, 50, 54       H8 (49) AGM      —
   BMW i3
   2021-14 L2/0.6L         Hybrid                                           40 Ah45                 —                —
   2021-14 L2/0.6L         Hybrid, Opt                                      20 Ah33, 45             —                —
   2020-14                 Electric                                         40 Ah45                 —                —
   2020-14                 Electric, Opt                                    20 Ah33, 45             —                —
   BMW i3s
   2021-18     Electric    Electric, Opt                                    20 Ah33, 45             —                —
   2021-18     Electric    Electric                                         40 Ah45                 —                —
   2021-18     L2/0.6L     Hybrid                                           40 Ah45                 —                —
   2021-18     L2/0.6L     Hybrid, Opt                                      20 Ah33, 45             —                —
   BMW i8
   2020-14 L3/1.5L         Hybrid                                           50 Ah33, 45             —                —
   BMW M2
   2021-16 L6/3.0L                                                          92 Ah33, 50, 55, 56     H8 (49) AGM      —
   BMW M235i
   2016-14 L6/3.0L                                                          80033, 50, 54, 55, 56   H7 (94R) AGM     —
   2016-14 L6/3.0L         Conv or Opt                                      90033, 50, 54, 55, 56   H8 (49) AGM      —
   BMW M235i xDrive
   2016    L6/3.0L         Conv or Opt                                      90033, 50, 54, 55, 56   H8 (49) AGM      —
   2016-15 L6/3.0L                                                          80033, 50, 54, 55, 56   H7 (94R) AGM     —
   BMW M235i xDrive Gran Coupe
   2021-20     L4/2.0L                                                      70 Ah33, 50, 55, 56     H6 (48) AGM      —
   2021-20     L4/2.0L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2021-20     L4/2.0L     Opt                                              80 Ah33, 50, 55, 56     H7 (94R) AGM     —
   2021-20     L4/2.0L     Opt                                              70 Ah50, 55, 56, 59     —                —
   2021-20     L4/2.0L     Opt                                              80 Ah50, 55, 56, 59     —                —
   BMW M240i
   2021-17 L6/3.0L                                                          92 Ah33, 50, 55, 56     H8 (49) AGM      —
   2021-17 L6/3.0L         Opt                                              80 Ah33, 50, 55, 56     H7 (94R) AGM     —
   BMW M240i xDrive
   2021-17 L6/3.0L                                                          92 Ah33, 50, 55, 56     H8 (49) AGM      —
   BMW M3
   2021        L6/3.0L     Li-ion Only                                      70 Ah45, 56, 59         —                —
   2018-15     L6/3.0L     Li-ion Battery Only                              60 Ah45, 57, 60         —                —
   2013-08     V8/4.0L     w/AGM, Option 1                                  76018, 33, 50, 54       H6 (48) AGM      —
   2013-08     V8/4.0L     w/AGM, Option 2                                  90018, 33, 50, 54, 56   H8 (49) AGM      —
   See page 157 for Footnotes. Selection may vary by warehouse.

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34                                                        Automotive/Light Truck
  YEAR      ENGINE                              OPTIONS               ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                          CCA/RATING            (NOTES)            (NOTES)

BMW M3 (continued)
2013-08   V8/4.0L     w/AGM, Option 3                              85018, 33, 50, 54, 56   H8 (49) AGM      —
2013-08   V8/4.0L     w/o AGM, Option 1                            64018, 50, 54           H7 (94R)         H7 (94R) AGM
2013-08   V8/4.0L     w/o AGM, Option 2                            72018, 50, 54, 56       H8 (49)          H8 (49) AGM
2013-08   V8/4.0L     w/o AGM, Option 3                            57018, 50, 54           H6 (48)          H6 (48) AGM
2006      L6/3.2L                                                  57018, 50               H6 (48)          H6 (48) AGM
2005-02   L6/3.2L                                                  64050                   H7 (94R)         H7 (94R) AGM
2001      L6/3.2L                                                  76550                   H7 (94R)         H7 (94R) AGM
1999-98   L6/3.2L                                                  57534, 50               —                —
1999-96   L6/3.2L                                                  65050                   —                —
1999-96   L6/3.2L                                                  75 Ah47, 50             —                —
1995      L6/3.0L                                                  65050                   —                —
1995      L6/3.0L                                                  75 Ah47, 50             —                —
1994      L6/3.0L                                                  57550                   —                —
BMW M340i
2021-20   L6/3.0L                                                  80 Ah33, 50, 55, 56     H7 (94R) AGM     —
2021-20   L6/3.0L     Opt                                          92 Ah33, 50, 55, 56     H8 (49) AGM      —
2021-20   L6/3.0L     Opt                                          105 Ah33, 50, 55, 56    —                —
2021-20   L6/3.0L     Auxiliary Li-ion Only                        10 Ah45, 56, 59         —                —
BMW M340i xDrive
2021-20   L6/3.0L                                                  80 Ah33, 50, 55, 56     H7 (94R) AGM     —
2021-20   L6/3.0L     Opt                                          92 Ah33, 50, 55, 56     H8 (49) AGM      —
2021-20   L6/3.0L     Opt                                          105 Ah33, 50, 55, 56    —                —
2021-20   L6/3.0L     Auxiliary Li-ion Only                        10 Ah45, 56, 59         —                —
BMW M4
2021    L6/3.0L       Li-ion Only                                  70 Ah45, 56, 59         —                —
2018-16 L6/3.0L       Li-ion Battery Only                          60 Ah45, 57, 60         —                —
BMW M5
2021-18   V8/4.4L     Li-ion Only                                  69 Ah45, 56, 59         —                —
2016-15   V8/4.4L                                                  85033, 50, 54, 55, 56   H8 (49) AGM      —
2015-12   V8/4.4L     Opt                                          95033, 50, 54, 55, 56   H9 (95R) AGM     —
2014-12   V8/4.4L                                                  90018, 33, 54           H8 (49) AGM      —
2014-12   V8/4.4L     Opt                                          85018, 33, 50, 54, 56   H8 (49) AGM      —
2010-06   V10/5.0L    w/AGM, Option 1                              85018, 33, 50, 54, 56   H8 (49) AGM      —
2010-06   V10/5.0L    w/o AGM, Opt                                 64018, 50, 54           H7 (94R)         H7 (94R) AGM
2010-06   V10/5.0L    w/o AGM, Option 1                            72018, 50, 54, 56       H8 (49)          H8 (49) AGM
2010-06   V10/5.0L    w/o AGM, Option 2                            85018, 50, 54, 56       —                H9 (95R) AGM
2003      V8/5.0L                                                  80050                   —                H9 (95R) AGM
2002-01   V8/5.0L                                                  85050                   —                H9 (95R) AGM
2000      V8/5.0L                                                  95050                   —                H9 (95R) AGM
1993-91   L6/3.6L                                                  80050                   —                —
BMW M550i xDrive
2021-18   V8/4.4L                                                  92 Ah33, 50, 55, 56     H8 (49) AGM      —
2021-18   V8/4.4L     Auxiliary                                    50 Ah33, 50, 55, 56     —                —
2021-18   V8/4.4L     Opt                                          105 Ah33, 50, 55, 56    —                —
2021-18   V8/4.4L     Auxiliary Li-ion Only                        10 Ah45, 56, 59         —                —
2020-18   V8/4.4L     Opt                                          60 Ah33, 50, 55, 56     H5 (47) AGM      —
2020-18   V8/4.4L     Auxiliary                                    12 Ah33, 50, 55, 56     —                —
BMW M6
2018-16   V8/4.4L                                                  95033, 50, 54, 55, 56   H9 (95R) AGM     —
2015      V8/4.4L                                                  85033, 50, 54, 55, 56   H8 (49) AGM      —
2015-13   V8/4.4L     Opt                                          95033, 50, 54, 55, 56   H9 (95R) AGM     —
2014      V8/4.4L                                                  90018, 33, 50, 54, 56   H8 (49) AGM      —
2014-12   V8/4.4L     Opt                                          85018, 33, 50, 54, 56   H8 (49) AGM      —
2013-12   V8/4.4L                                                  90018, 33, 54           H8 (49) AGM      —
2012      V8/4.4L     Opt                                          95050, 54, 55, 56       —                H9 (95R) AGM
2010-06   V10/5.0L    w/AGM, Option 1                              90018, 33, 50, 54       H8 (49) AGM      —
2010-06   V10/5.0L    w/AGM, Option 2                              85018, 33, 50, 54       H8 (49) AGM      —
BMW M6 Gran Coupe
2018-16   V8/4.4L                                                  95033, 50, 54, 55, 56   H9 (95R) AGM     —
2015      V8/4.4L                                                  85033, 50, 54, 55, 56   H8 (49) AGM      —
2015-14   V8/4.4L     Opt                                          95033, 50, 54, 55, 56   H9 (95R) AGM     —
2014      V8/4.4L                                                  85018, 33, 50, 54, 56   H8 (49) AGM      —
BMW M760i xDrive
2021-17   V1/ 6.6     L Auxiliary Li-ion Only                      10 Ah45, 56, 59         —                —
2021-17   V12/ 6.6                                                 90033, 50, 55, 56       H8 (49) AGM      —
2021-17   V12/ 6.6    L Auxiliary                                  12 Ah33, 50, 55, 56     —                —
2021-17   V12/ 6.6    L Opt                                        60 Ah33, 50, 55, 56     H5 (47) AGM      —
2021-17   V12/ 6.6L   Opt                                          105 Ah33, 50, 55, 56    —                —
                                                                  See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   35
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING            (NOTES)            (NOTES)

   BMW M8
   2021-20 V8/4.4L         Li-ion Only                                      70 Ah45, 56, 59         —                —
   BMW M8 Gran Coupe
   2021-20 V8/4.4L         Li-ion Only                                      70 Ah45, 56, 59         —                —
   BMW M850i xDrive
   2021-19     V8/4.4L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM      —
   2021-19     V8/4.4L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2021-19     V8/4.4L     Opt                                              105 Ah33, 50, 55, 56    —                —
   2021-19     V8/4.4L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —                —
   BMW M850i xDrive Gran Coupe
   2021-20     V8/4.4L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM      —
   2021-20     V8/4.4L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2021-20     V8/4.4L     Opt                                              105 Ah33, 50, 55, 56    —                —
   2021-20     V8/4.4L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —                —
   BMW X1
   2021-20     L4/2.0L                                                      80 Ah33, 50, 55, 56     H7 (94R) AGM     —
   2021-20     L4/2.0L     Opt                                              70 Ah50, 55, 56, 59     —                —
   2021-20     L4/2.0L     Opt                                              80 Ah50, 55, 56, 59     —                —
   2019-16     L4/2.0L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM     —
   2019-16     L4/2.0L                                                      76033, 50, 54, 55, 56   H6 (48) AGM      —
   2015-12     L4/2.0L                                                      57050, 54, 55, 56       H6 (48)          H6 (48) AGM
   2015-12     L4/2.0L     Opt                                              76033, 50, 54, 55, 56   H6 (48) AGM      —
   2015-12     L4/2.0L     Opt                                              64050, 54, 55, 56       H7 (94R)         H7 (94R) AGM
   2015-12     L4/2.0L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM     —
   2015-13     L6/3.0L                                                      57050, 54, 55, 56       H6 (48)          H6 (48) AGM
   2015-13     L6/3.0L     Opt                                              76018, 33, 50, 54, 56   H6 (48) AGM      —
   2015-13     L6/3.0L     Opt                                              64018, 50, 54, 56       H7 (94R)         H7 (94R) AGM
   2015-13     L6/3.0L     Opt                                              80018, 33, 50, 54, 56   H7 (94R) AGM     —
   BMW X2
   2021-18     L4/2.0L                                                      70 Ah33, 50, 55, 56     H6 (48) AGM      —
   2021-18     L4/2.0L     Opt                                              80 Ah33, 50, 55, 56     H7 (94R) AGM     —
   2021-18     L4/2.0L     Opt                                              70 Ah50, 55, 56, 59     —                —
   2021-18     L4/2.0L     Opt                                              80 Ah50, 55, 56, 59     —                —
   BMW X3
   2021-19     L4/2.0L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM      —
   2021-19     L4/2.0L     Opt                                              50 Ah33, 50, 55, 56     —                —
   2021-19     L4/2.0L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2021-19     L4/2.0L     Opt                                              80 Ah33, 50, 55, 56     H7 (94R) AGM     —
   2021-19     L6/3.0L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM      —
   2021-19     L6/3.0L     Opt                                              50 Ah33, 50, 55, 56     —                —
   2021-19     L6/3.0L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2021-19     L6/3.0L     Opt                                              80033, 50, 55, 56       H7 (94R) AGM     —
   2018        L4/2.0L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2018-15     L4/2.0L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM     —
   2018-11     L6/3.0L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2018-11     L6/3.0L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM     —
   2017-16     L4/2.0L                                                      80033, 50, 54, 55, 56   H7 (94R) AGM     —
   2017-15     L4/2.0L     Dsl                                              80033, 50, 54, 55, 56   H7 (94R) AGM     —
   2017-15     L4/2.0L     Dsl, Opt                                         85033, 50, 54, 55, 56   H8 (49) AGM      —
   2017-13     L4/2.0L     Opt                                              85033, 50, 54, 55, 56   H8 (49) AGM      —
   2015        L4/2.0L     Opt                                              95033, 50, 54, 55, 56   H9 (95R) AGM     —
   2014        L4/2.0L     Opt                                              80018, 33, 50, 54, 56   H7 (94R) AGM     —
   2014-13     L4/2.0L                                                      90018, 33, 50, 54, 56   H8 (49) AGM      —
   2013        L4/2.0L     Opt                                              95050, 54, 55, 56       —                H9 (95R) AGM
   2013        L4/2.0L     Option 2                                         80018, 33, 50, 54, 56   H7 (94R) AGM     —
   2013-11     L6/3.0L     Opt                                              95050, 54, 55, 56       —                H9 (95R) AGM
   2011-04     L6/3.0L     w/AGM, Opt                                       90018, 33, 50, 54, 56   H8 (49) AGM      —
   2010-04     L6/3.0L     w/o AGM, Opt                                     72018, 50, 54, 56       H8 (49)          H8 (49) AGM
   2010-04     L6/3.0L     w/o AGM, Option 2                                57018, 50, 54           H6 (48)          H6 (48) AGM
   2006        L6/2.5L     Opt                                              72050, 54, 55, 56       H8 (49)          H8 (49) AGM
   2006-04     L6/2.5L                                                      57018, 50, 56           H6 (48)          H6 (48) AGM
   2006-04     L6/2.5L     Opt                                              85033, 50, 54, 55, 56   H8 (49) AGM      —
   2006-04     L6/2.5L     Opt                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
   2005-04     L6/2.5L     Opt                                              72018, 50, 56           H8 (49)          H8 (49) AGM
   BMW X4
   2021-19     L4/2.0L                                                      N/A33, 50, 55, 56       H8 (49) AGM      —
   2021-19     L4/2.0L     Opt                                              N/A33, 50, 55, 56       —                —
   2021-19     L4/2.0L     Opt                                              N/A33, 50, 55, 56       —                —
   2021-19     L6/3.0L                                                      N/A33, 50, 55, 56       H8 (49) AGM      —
   See page 157 for Footnotes. Selection may vary by warehouse.

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36                                                      Automotive/Light Truck
  YEAR      ENGINE                            OPTIONS               ORIGINAL EQUIPMENT      GROUP SIZE        ALTERNATE SIZE
                                                                        CCA/RATING           (NOTES)             (NOTES)

BMW X4 (continued)
2021-19   L6/3.0L    Opt                                         N/A33, 50, 55, 56       —                —
2021-19   L6/3.0L    Opt                                         N/A33, 50, 55, 56       —                —
2018-15   L4/2.0L                                                85033, 50, 54, 55, 56   H8 (49) AGM      —
2018-15   L4/2.0L    Opt                                         80033, 50, 54, 55, 56   H7 (94R) AGM     —
2018-15   L6/3.0L                                                85033, 50, 54, 55, 56   H8 (49) AGM      —
2018-15   L6/3.0L    Opt                                         80033, 50, 54, 55, 56   H7 (94R) AGM     —
BMW X5
2021-19   L6/3.0L                                                80 Ah33, 50, 55, 56    H7 (94R) AGM —
2021-19   L6/3.0L    Opt                                         50 Ah33, 50, 55, 56    —                  —
2021-19   L6/3.0L    Opt                                         60 Ah33, 50, 55, 56    H5 (47) AGM        —
2021-19   L6/3.0L    Opt                                         92 Ah33, 50, 55, 56    H8 (49) AGM        —
2021-19   L6/3.0L    Auxiliary Li-ion Only                       10 Ah45, 56, 59        —                  —
2021-19   V8/4.4L                                                80 Ah33, 50, 55, 56    H7 (94R) AGM —
2021-19   V8/4.4L    Opt                                         50 Ah33, 50, 55, 56    —                  —
2021-19   V8/4.4L    Opt                                         60 Ah33, 50, 55, 56    H5 (47) AGM        —
2021-19   V8/4.4L    Opt                                         92 Ah33, 50, 55, 56    H8 (49) AGM        —
2021-19   V8/4.4L    Auxiliary Li-ion Only                       10 Ah45, 56, 59        —                  —
2018      V8/4.4L                                                90033, 50, 54, 55, 56  H8 (49) AGM        —
2018-16   L4/2.0L    Hybrid                                      95033, 50, 54, 55, 56  H9 (95R) AGM —
2018-16   L4/2.0L    Hybrid, Auxiliary                           50 Ah33, 45, 50        —                  —
2018-16   L4/2.0L    Hybrid, Opt                                 90033, 50, 54, 55, 56  H8 (49) AGM        —
2018-14   L6/3.0L    Auxiliary, Dsl                              50 Ah33, 45, 50        —                  —
2018-14   L6/3.0L    Dsl                                         95033, 50, 54, 55, 56  H9 (95R) AGM —
2018-14   L6/3.0L    Gas                                         95033, 50, 54, 55, 56  H9 (95R) AGM —
2018-14   L6/3.0L    Gas, Auxiliary Battery                      50 Ah33, 45, 50        —                  —
2018-14   L6/3.0L    Gas, Opt                                    90033, 50, 54, 55, 56  H8 (49) AGM        —
2018-14   V8/4.4L                                                95033, 50, 54, 55, 56  H9 (95R) AGM —
2018-14   V8/4.4L    Auxiliary Battery                           50 Ah33, 45, 50        —                  —
2018-11   L6/3.0L    Dsl, Opt                                    90033, 50, 54, 55, 56  H8 (49) AGM        —
2017      L6/3.0L    US, Gas                                     95033, 50, 54, 55, 56  H9 (95R) AGM —
2017-14   V8/4.4L    Opt                                         90033, 50, 54, 55, 56  H8 (49) AGM        —
2013      L6/3.0L    Dsl                                         57050, 54, 55, 56      H6 (48)            H6 (48) AGM
2013      L6/3.0L    Dsl, Opt                                    90018, 33, 50, 54, 56  H8 (49) AGM        —
2013      L6/3.0L    Gas                                         90018, 33, 50, 54, 56  H8 (49) AGM        —
2013      L6/3.0L    Gas, Opt                                    85018, 33, 50, 54, 56  H8 (49) AGM        —
2013      L6/3.0L    Opt                                         57018, 54              H6 (48)            H6 (48) AGM
2013      V8/4.4L                                                57018, 50, 54, 56      H6 (48)            H6 (48) AGM
2013      V8/4.4L    Opt 1                                       90018, 33, 50, 54, 56  H8 (49) AGM        —
2013      V8/4.4L    Opt 2                                       85018, 33, 50, 54, 56  H8 (49) AGM        —
2013-11   L6/3.0L    Dsl, Opt                                    85033, 50, 54, 55, 56  H8 (49) AGM        —
2012      V8/4.4L    w/o AGM, Option 1                           57018, 50, 54          H6 (48)            H6 (48) AGM
2012-11   L6/3.0L    Dsl, w/o AGM Option                         57018, 50, 54          H6 (48)            H6 (48) AGM
2012-11   L6/3.0L    Gas, w/o AGM, Opt 1                         57018, 50, 54          H6 (48)            H6 (48) AGM
2012-11   L6/3.0L    Gas, w/o AGM, Opt 2                         95018, 50, 54          —                  H9 (95R) AGM
2012-11   V8/4.4L    w/o AGM, Option 2                           95018, 50, 54          —                  H9 (95R) AGM
2012-10   V8/4.4L    w/AGM, Option 1                             85018, 33, 50, 56      H8 (49) AGM        —
2012-10   V8/4.4L    w/AGM, Option 2                             90018, 33, 50, 56      H8 (49) AGM        —
2012-09   L6/3.0L    Dsl                                         95018, 50, 54          —                  H9 (95R) AGM
2012-09   L6/3.0L    w/AGM, Option 1                             90018, 33, 50, 54, 56  H8 (49) AGM        —
2012-09   L6/3.0L    w/AGM, Option 2                             85018, 33, 50, 56      H8 (49) AGM        —
2011      V8/4.4L                                                57033, 50, 54, 55      H6 (48) AGM        —
2011      V8/4.4L    w/AGM, Option 4                             750 18, 33, 50, 54
                                                                                        H6 (48) AGM        —
2010      L6/3.0L    Dsl, Opt                                    57018, 54              H6 (48)            H6 (48) AGM
2010      V8/4.4L    w/AGM, Option 3                             57018, 33, 50, 54      H6 (48) AGM        —
2010-09   L6/3.0L    Option 1                                    85018, 33, 50, 56      H8 (49) AGM        —
2010-09   L6/3.0L    Option 2                                    90018, 33, 50, 56      H8 (49) AGM        —
2010-07   V8/4.8L    w/AGM, Option 1                             90018, 33, 50, 54, 56  H8 (49) AGM        —
2010-07   V8/4.8L    w/AGM, Option 2                             85018, 33, 50, 56      H8 (49) AGM        —
2009      L6/3.0L    Dsl, Opt                                    57018                  H6 (48)            H6 (48) AGM
2008-07   L6/3.0L    w/AGM, Option 1                             85018, 33, 50, 54, 56  H8 (49) AGM        —
2008-07   L6/3.0L    w/AGM, Option 2                             90018, 33, 50, 54, 56  H8 (49) AGM        —
2006      L6/3.0L                                                72018, 50, 54          H8 (49)            H8 (49) AGM
2006-04   V8/4.4L                                                72018, 50              H8 (49)            H8 (49) AGM
2006-04   V8/4.8L                                                72018, 50, 54          H8 (49)            H8 (49) AGM
2006-04   V8/4.8L    Opt                                         64018, 50, 54          H7 (94R)           H7 (94R) AGM
2006-01   L6/3.0L    Opt                                         64050, 54, 55, 56      H7 (94R)           H7 (94R) AGM
2006-00   V8/4.4L    Opt                                         64050, 54, 55, 56      H7 (94R)           H7 (94R) AGM
2005      V8/4.4L    Opt                                         72018, 33, 50, 54      H8 (49) AGM        —
2005-02   L6/3.0L                                                64050                  H7 (94R)           H7 (94R) AGM
2005-01   L6/3.0L                                                72050, 54, 55, 56      H8 (49)            H8 (49) AGM
2003      V8/4.4L                                                740 50
                                                                                        —                  H8 (49) AGM
2003-02   V8/4.6L                                                72050, 54, 55, 56      H8 (49)            H8 (49) AGM
                                                                See page 157 for Footnotes. Selection may vary by warehouse.

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      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT      GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING           (NOTES)            (NOTES)

   BMW X5 (continued)
   2003-02     V8/4.6L                                                      74050                   —               H8 (49) AGM
   2003-02     V8/4.6L     Opt                                              64050, 54, 55, 56       H7 (94R)        H7 (94R) AGM
   2003-00     V8/4.4L                                                      72050, 54, 55, 56       H8 (49)         H8 (49) AGM
   2002        L6/3.0L     Opt                                              72050                   H8 (49)         H8 (49) AGM
   2002        V8/4.4L                                                      72050                   H8 (49)         H8 (49) AGM
   2002        V8/4.6L                                                      72050                   H8 (49)         H8 (49) AGM
   2001        L6/3.0L                                                      76550                   H7 (94R)        H7 (94R) AGM
   2001-00     V8/4.4L                                                      76050                   —               H8 (49) AGM
   BMW X6
   2021-20     L6/3.0L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM     —
   2021-20     L6/3.0L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM     —
   2021-20     L6/3.0L     Opt                                              105 Ah33, 50, 55, 56    —               —
   2021-20     L6/3.0L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —               —
   2021-20     V8/4.4L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM     —
   2021-20     V8/4.4L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM     —
   2021-20     V8/4.4L     Opt                                              105 Ah33, 50, 55, 56    —               —
   2021-20     V8/4.4L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —               —
   2019-15     L6/3.0L                                                      90033, 50, 54, 55, 56   H8 (49) AGM     —
   2019-15     L6/3.0L     Auxiliary Battery                                50 Ah33, 45, 50         —               —
   2019-15     V8/4.4L                                                      90033, 50, 54, 55, 56   H8 (49) AGM     —
   2019-15     V8/4.4L     Auxiliary Battery                                50 Ah33, 45, 50         —               —
   2014-13     L6/3.0L                                                      57018, 50, 54, 56       H6 (48)         H6 (48) AGM
   2014-13     L6/3.0L                                                      90018, 33, 50, 54, 56   H8 (49) AGM     —
   2014-13     L6/3.0L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM     —
   2014-13     V8/4.4L                                                      57018, 50, 54, 56       H6 (48)         H6 (48) AGM
   2014-13     V8/4.4L                                                      90018, 33, 50, 54, 56   H8 (49) AGM     —
   2014-13     V8/4.4L     Opt                                              57018, 50, 54, 56       H6 (48)         H6 (48) AGM
   2014-13     V8/4.4L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM     —
   2012        L6/3.0L     w/AGM                                            85018, 33, 50           H8 (49) AGM     —
   2012        V8/4.4L     w/AGM                                            95018, 33, 50           H9 (95R) AGM    —
   2012-11     V8/4.4L                                                      95018, 50, 54           —               H9 (95R) AGM
   2012-09     V8/4.4L     w/AGM                                            85018, 33, 50           H8 (49) AGM     —
   2012-08     L6/3.0L                                                      95018, 50, 54           —               H9 (95R) AGM
   2012-08     L6/3.0L     w/AGM                                            57018, 33, 50, 54       H6 (48) AGM     —
   2012-08     V8/4.4L     Opt                                              57018, 50, 54           H6 (48)         H6 (48) AGM
   2011        L6/3.0L     Opt                                              85018, 33, 50           H8 (49) AGM     —
   2011-10     V8/4.4L     Hybrid                                           76018, 33, 54           H6 (48) AGM     —
   2010-09     V8/4.4L     w/AGM                                            90018, 33, 50           H8 (49) AGM     —
   2010-08     L6/3.0L     Option 1                                         85018, 33, 50, 54, 56   H8 (49) AGM     —
   2010-08     L6/3.0L     Option 2                                         90018, 33, 50, 54, 56   H8 (49) AGM     —
   2010-08     V8/4.4L     Option 1                                         85018, 33, 50, 54, 56   H8 (49) AGM     —
   2010-08     V8/4.4L     Option 2                                         90018, 33, 50, 54, 56   H8 (49) AGM     —
   BMW X7
   2021-19     L6/3.0L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM     —
   2021-19     L6/3.0L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM     —
   2021-19     L6/3.0L     Opt                                              105 Ah33, 50, 55, 56    —               —
   2021-19     L6/3.0L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —               —
   2021-19     V8/4.4L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM     —
   2021-19     V8/4.4L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM     —
   2021-19     V8/4.4L     Opt                                              105 Ah33, 50, 55, 56    —               —
   2021-19     V8/4.4L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —               —
   BMW Z3
   2002        L6/2.5L                                                      57050                   H6 (48)         H6 (48) AGM
   2002        L6/3.0L                                                      57050                   H6 (48)         H6 (48) AGM
   2002        L6/3.2L                                                      57050                   H6 (48)         H6 (48) AGM
   2001-99     L6/2.5L                                                      65050                   H6 (48)         H6 (48) AGM
   2001-98     L6/3.2L                                                      65050                   H6 (48)         H6 (48) AGM
   2001        L6/3.0L                                                      65050                   H6 (48)         H6 (48) AGM
   2000-97     L6/2.8L                                                      65050                   H6 (48)         H6 (48) AGM
   1998-96     L4/1.9L                                                      65050                   H6 (48)         H6 (48) AGM
   BMW Z4
   2021-20     L6/3.0L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM     —
   2021-20     L6/3.0L     Opt                                              105 Ah33, 50, 55, 56    —               —
   2021-20     L6/3.0L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —               —
   2021-19     L4/2.0L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM     —
   2021-19     L4/2.0L     Opt                                              105 Ah33, 50, 55, 56    —               —
   2021-19     L4/2.0L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —               —
   2016-12     L4/2.0L                                                      76033, 50, 54, 55, 56   H6 (48) AGM     —
   2016-12     L4/2.0L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM    —
   2016-09     L6/3.0L                                                      76033, 50, 54, 55, 56   H6 (48) AGM     —
   2016-09     L6/3.0L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM    —
   See page 157 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                    OPTIONS                   ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                    CCA/RATING             (NOTES)            (NOTES)

BMW Z4 (continued)
2008-06   L6/3.0L    Opt                                     57018, 50, 54, 56       H6 (48)           H6 (48) AGM
2008-06   L6/3.0L                                            48050, 54, 55, 56       H5 (47)           H5 (47) AGM
2008-06   L6/3.0L    Opt                                     64018, 50, 54, 56       H7 (94R)          H7 (94R) AGM
2008-06   L6/3.0L    Opt AGM                                 76018, 33, 50, 54       H6 (48) AGM       —
2008-06   L6/3.2L                                            48018, 50               H5 (47)           H5 (47) AGM
2005-04   L6/2.5L                                            48050                   H5 (47)           H5 (47) AGM
2005-04   L6/2.5L    HD, Telematics                          64050                   H7 (94R)          H7 (94R) AGM
2005-04   L6/2.5L    Opt                                     57050                   H6 (48)           H6 (48) AGM
2005-04   L6/3.0L                                            48050                   H5 (47)           H5 (47) AGM
2005-04   L6/3.0L    Opt                                     57050                   H6 (48)           H6 (48) AGM
2005-03   L6/3.0L    HD, Telematics                          64050                   H7 (94R)          H7 (94R) AGM
2003      L6/2.5L                                            57050                   H6 (48)           H6 (48) AGM
2003      L6/3.0L                                            57050                   H6 (48)           H6 (48) AGM
BMW Z8
2003    V8/4.8L                                              74050                   —                 H8 (49) AGM
2002    V8/5.0L                                              72050                   H8 (49)           H8 (49) AGM
2001-00 V8/5.0L                                              76050                   —                 H8 (49) AGM
Buick Allure
2010      V6/3.0L                                            615                     H6 (48)           H6 (48) AGM
2010      V6/3.6L                                            615                     H6 (48)           H6 (48) AGM
2009      V8/5.3L                                            625                     —                 —
2009-05   V6/3.8L                                            750                     34                —
2008      V8/5.3L                                            590                     —                 —
2008-05   V6/3.6L                                            680                     34                —
Buick Cascada
2019-17 L4/1.6L                                              73033, 50               H7 (94R) AGM      —
2016    L4/1.6L                                              80033                   H7 (94R) AGM      —
Buick Century
2005-97   V6/3.1L                                            600                     78                —
1996-94   V6/3.1L                                            525                     75                —
1996-93   L4/2.2L                                            525                     75                —
1993-89   V6/3.3L                                            630                     75                —
1992-85   L4/2.5L                                            630                     75                —
Buick Commercial Chassis
1996-92 V8/5.7L                                              690                     78                —
1991    V8/5.0L                                              690                     78                —
Buick Electra
1990    V6/3.8L      Opt                                     730                     78                —
1990-85 V6/3.8L                                              630                     75                —
Buick Enclave
2021-18   V6/3.6L                                            73033, 50               H7 (94R) AGM      —
2020-19   V6/3.6L                                            85033, 50               H7 (94R) AGM      —
2017-10   V6/3.6L                                            66050                   H6 (48)           H6 (48) AGM
2009-08   V6/3.6L                                            73050                   H6 (48)           H6 (48) AGM
Buick Encore
2020      L4/1.4L                                            525                     H5 (47)           H5 (47) AGM
2019-16   L4/1.4L    w/o Start-Stop                          525                     H5 (47)           H5 (47) AGM
2019-16   L4/1.4L    w/Start-Stop                            70033                   H6 (48) AGM       —
2016      L4/1.4L                                            76033                   H6 (48) AGM       —
2015-13   L4/1.4L                                            52550                   H5 (47)           H5 (47) AGM
Buick Encore GX
2021-20 L3/1.2L                                              76033, 50               H6 (48) AGM       —
2021-20 L3/1.3L                                              76033, 50               H6 (48) AGM       —
Buick Envision
2020-18   L4/2.5L    Start-Stop                              72033, 50               H7 (94R) AGM      —
2021-16   L4/2.0L    Start-Stop                              72033, 50               H7 (94R) AGM      —
2017      L4/2.5L    Start-Stop                              73033, 50               H7 (94R) AGM      —
2017-16   L4/2.0L    Start-Stop                              73033, 50               H7 (94R) AGM      —
Buick Gran Sport
1967    V8/6.6L                                              350                     24                —
1966-65 V8/6.6L                                              440                     24                —
Buick GS 350
1969-68 V8/5.7L                                              440                     24                —
Buick GS 400
1969-68 V8/6.6L                                              440                     24                —
Buick LaCrosse
2019-18 L4/2.5L      Hybrid                                  615                    H6 (48)            H6 (48) AGM
2019-18 V6/3.6L                                              85033                  H7 (94R) AGM —
2017    V6/3.6L                                              73033                  H7 (94R) AGM —
                                                            See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   39
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Buick LaCrosse (continued)
   2016-12     L4/2.4L     Hybrid                                           525                    H5 (47)           H5 (47) AGM
   2016-10     V6/3.6L                                                      615                    H6 (48)           H6 (48) AGM
   2011-10     L4/2.4L                                                      615                    H6 (48)           H6 (48) AGM
   2010        V6/3.0L                                                      61550                  H6 (48)           H6 (48) AGM
   2009-08     V6/3.8L                                                      72033                  —                 —
   2009-08     V8/5.3L                                                      590                    —                 —
   2008        V6/3.6L                                                      72033                  —                 —
   2007        V6/3.6L                                                      75033                  —                 —
   2007        V6/3.8L                                                      750                    34                —
   2006        V6/3.6L                                                      690                    34                —
   2006        V6/3.8L                                                      690                    34                —
   2005        V6/3.6L                                                      68033                  —                 —
   2005        V6/3.8L                                                      680                    34                —
   Buick LeSabre
   2005-00     V6/3.8L                                                      77050                  100               —
   1999-95     V6/3.8L                                                      690                    78                —
   1997-94     V6/3.8L     Opt                                              770                    78                —
   1994-86     V6/3.8L                                                      630                    75                —
   1993-91     V6/3.8L     HD or w/HWS                                      770                    78                —
   1990        V8/5.0L     Opt                                              730                    78                —
   1990-86     V8/5.0L                                                      630                    75                —
   Buick Lucerne
   2011-09     V6/3.9L                                                      72050                  H7 (94R)          H7 (94R) AGM
   2011-09     V8/4.6L                                                      72050                  H7 (94R)          H7 (94R) AGM
   2008        V6/3.8L                                                      73050                  H6 (48)           H6 (48) AGM
   2008        V8/4.6L                                                      73050                  H6 (48)           H6 (48) AGM
   2007-06     V6/3.8L                                                      80050                  79                —
   2007-06     V8/4.6L                                                      80050                  79                —
   Buick Park Avenue
   2005-03     V6/3.8L                                                      690                    34                —
   2005-03     V6/3.8L     S/C                                              770                    34                —
   2002-98     V6/3.8L     S/C                                              770                    78                —
   2002-96     V6/3.8L     Naturally Aspirated                              690                    78                —
   1997-91     V6/3.8L     W/HD or HWS                                      770                    78                —
   1995-94     V6/3.8L                                                      600                    78                —
   1993-91     V6/3.8L                                                      630                    75                —
   Buick Rainier
   2007-04 L6/4.2L                                                          60040                  78                —
   2007-04 V8/5.3L                                                          60040                  78                —
   Buick Reatta
   1991-88 V6/3.8L                                                          770                    78                —
   Buick Regal
   2017-11     L4/2.0L                                                      615                    H6 (48)           H6 (48) AGM
   2017-11     L4/2.4L                                                      615                    H6 (48)           H6 (48) AGM
   2016-12     L4/2.4L     Gas                                              615                    H6 (48)           H6 (48) AGM
   2016-12     L4/2.4L     Hybrid                                           525                    H5 (47)           H5 (47) AGM
   2004-97     V6/3.8L     S/C                                              770                    78                —
   2004        V6/3.8L                                                      600                    78                —
   2003-96     V6/3.8L                                                      690                    78                —
   1996        V6/3.1L                                                      600                    78                —
   1995-94     V6/3.8L                                                      600                    75                —
   1995-90     V6/3.1L                                                      525                    75                —
   1993-90     V6/3.8L                                                      630                    75                —
   1985-84     V6/3.8L     Turbo, HD                                        630                    75                —
   1984        V6/3.8L     Turbo                                            500                    75                —
   Buick Regal Sportback
   2020-18 L4/2.0L                                                          72033                  H7 (94R) AGM      —
   2020-18 V6/3.6L                                                          72033                  H7 (94R) AGM      —
   Buick Regal TourX
   2020-18 L4/2.0L                                                          72033                  H7 (94R) AGM      —
   Buick Rendezvous
   2007-06     V6/3.5L                                                      600                    78                —
   2006        V6/3.6L                                                      690                    34                —
   2005-04     V6/3.6L                                                      600                    78                —
   2005-02     V6/3.4L                                                      600                    78                —
   Buick Riviera
   1999-98     V6/3.8L                                                      84050                  79                —
   1997-95     V6/3.8L                                                      97050                  —                 —
   1993-90     V6/3.8L                                                      770                    78                —
   1970        V8/7.5L                                                      500                    27                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                    OPTIONS                  ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

Buick Riviera (continued)
1969-68   V8/7.0L                                            360                    27                —
1969-65   V8/7.0L                                            500                    27                —
1967-63   V8/7.0L                                            325                    27                —
1965-63   V8/6.6L                                            325                    27                —
Buick Roadmaster
1996-95   V8/5.7L                                            600                    78                —
1994      V8/5.7L    Wagon                                   770                    78                —
1994-92   V8/5.7L                                            525                    75                —
1993      V8/5.7L    Wagon                                   690                    78                —
1991      V8/5.0L                                            525                    75                —
Buick Skylark
1998-96   L4/2.4L                                            600                    75                —
1998-94   V6/3.1L                                            600                    75                —
1995-93   L4/2.3L                                            600                    75                —
1993      V6/3.3L                                            600                    75                —
1992-89   V6/3.3L                                            630                    75                —
1992-88   L4/2.3L                                            630                    75                —
1991-85   L4/2.5L                                            630                    75                —
Buick Terraza
2007-06 V6/3.9L                                              600                    34                —
2006-05 V6/3.5L                                              600                    34                —
Buick Verano
2017-12 L4/2.4L                                              615                    H6 (48)           H6 (48) AGM
2016-13 L4/2.0L                                              615                    H6 (48)           H6 (48) AGM
Buick Wildcat
1970      V8/7.5L                                            325                    27                —
1969-64   V8/7.0L                                            325                    27                —
1966-63   V8/6.6L                                            325                    27                —
1962      V8/6.6L                                            350                    27                —
Cadillac Allanté
1993    V8/4.6L                                              77050                  78                —
1992-89 V8/4.5L                                              77050                  78                —
Cadillac ATS
2019-13   L4/2.0L    w/o Start-Stop                          70033, 50              H6 (48) AGM       —
2019-13   L4/2.0L    w/Start-Stop                            73033, 50              H7 (94R) AGM      —
2019-13   V6/3.6L    w/o Start-Stop                          70033, 50              H6 (48) AGM       —
2019-13   V6/3.6L    w/Start-Stop                            73033, 50              H7 (94R) AGM      —
2018      L4/2.0L    w/o Start-Stop                          700                    H6 (48)           H6 (48) AGM
2018      L4/2.0L    w/Start-Stop                            730                    H7 (94R)          H7 (94R) AGM
2017-16   L4/2.5L    w/Start-Stop                            73033, 50              H7 (94R) AGM      —
2017-16   V6/3.6L    ATS-V                                   56033, 50              —                 —
2017-13   L4/2.5L    w/o Start-Stop                          70033, 50              H6 (48) AGM       —
2016-15   L4/2.0L                                            70033, 50              H6 (48) AGM       —
2016-15   L4/2.5L                                            70033, 50              H6 (48) AGM       —
2016-15   V6/3.6L                                            70033, 50              H6 (48) AGM       —
2016-13   L4/2.0L    Start-Stop                              73033, 50              H7 (94R) AGM      —
2016-13   L4/2.5L    Start-Stop                              73033, 50              H7 (94R) AGM      —
2015-13   V6/3.6L    Start-Stop                              73033, 50              H7 (94R) AGM      —
Cadillac Brougham, Fleetwood
1996-95   V8/5.7L                                            770                    78                —
1994-92   V8/5.7L                                            770                    78                —
1992-91   V8/4.9L                                            540                    78                —
1992-91   V8/4.9L                                            770                    78                —
1991      V8/5.0L                                            730                    78                —
1991      V8/5.7L                                            730                    78                —
1990      V8/5.0L                                            730                    78                —
1990      V8/5.0L                                            730                    78                —
Cadillac Catera
2001-97 V6/3.0L                                              600                    —                 —
Cadillac Commercial Chassis
1996-92 V8/5.7L                                              770                    78                —
1993-91 V8/4.9L                                              770                    78                —
1990-89 V8/4.5L                                              770                    78                —
Cadillac CT4
2021-20   L4/2.0L    w/o Start-Stop                          70033, 50              H6 (48) AGM       —
2021-20   L4/2.0L    w/Start-Stop                            73033, 50              H7 (94R) AGM      —
2021-20   L4/2.7L    w/o Start-Stop                          70033, 50              H6 (48) AGM       —
2021-20   L4/2.7L    w/Start-Stop                            73033, 50              H7 (94R) AGM      —
                                                            See page 157 for Footnotes. Selection may vary by warehouse.

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                                                                               Cadillac
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   Automotive/Light Truck                                                                                                   41
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Cadillac CT5
   2021-20     L4/2.0L     w/o Start-Stop                                   70033, 50              H6 (48) AGM       —
   2021-20     L4/2.0L     w/Start-Stop                                     73033, 50              H7 (94R) AGM      —
   2021-20     V6/3.0L     w/o Start-Stop                                   70033, 50              H6 (48) AGM       —
   2021-20     V6/3.0L     w/Start-Stop                                     73033, 50              H7 (94R) AGM      —
   Cadillac CT6
   2020        V6/3.6L                                                      90033, 50              H8 (49) AGM       —
   2020        V8/4.2L                                                      90033, 50              H8 (49) AGM       —
   2019        L4/2.0L                                                      73033, 50              H7 (94R) AGM      —
   2019        V6/3.0L                                                      73033, 50              H7 (94R) AGM      —
   2019        V6/3.6L                                                      73033, 50              H7 (94R) AGM      —
   2019        V8/4.2L                                                      73033, 50              H7 (94R) AGM      —
   2018-17     V6/3.0L     Start-Stop                                       85033, 50              H8 (49) AGM       —
   2018-17     V6/3.6L     Start-Stop                                       85033, 50              H8 (49) AGM       —
   2018-16     L4/2.0L     Start-Stop                                       85033, 50              H8 (49) AGM       —
   2016        L4/2.0L     Start-Stop                                       85033                  H8 (49) AGM       —
   2016        V6/3.0L     Start-Stop                                       85033                  H8 (49) AGM       —
   2016        V6/3.6L     Start-Stop                                       85033                  H8 (49) AGM       —
   Cadillac CTS
   2019-14     L4/2.0L     Start-Stop                                       73033, 50              H7 (94R) AGM      —
   2019-14     V6/3.6L     Start-Stop                                       73033, 50              H7 (94R) AGM      —
   2019-14     V8/6.2L     Start-Stop                                       73033, 50              H7 (94R) AGM      —
   2015-14     L4/2.0L                                                      66050                  H6 (48)           H6 (48) AGM
   2015-14     L4/2.0L     w/o Start-Stop                                   66050                  H6 (48)           H6 (48) AGM
   2015-14     L4/2.0L     w/Start-Stop                                     73033, 50              H7 (94R) AGM      —
   2015-14     V6/3.6L     w/o Start-Stop                                   66050                  H6 (48)           H6 (48) AGM
   2015-14     V6/3.6L     w/Start-Stop                                     73033, 50              H7 (94R) AGM      —
   2015-14     V8/6.2L     w/o Start-Stop                                   66050                  H6 (48)           H6 (48) AGM
   2015-14     V8/6.2L     w/Start-Stop                                     73033, 50              H7 (94R) AGM      —
   2015-10     V6/3.6L                                                      66050                  H6 (48)           H6 (48) AGM
   2015-10     V8/6.2L                                                      66050                  H6 (48)           H6 (48) AGM
   2014        V6/3.0L     Start-Stop                                       73033, 50              H7 (94R) AGM      —
   2014-10     V6/3.0L                                                      66050                  H6 (48)           H6 (48) AGM
   2009        V8/6.2L                                                      73050                  H6 (48)           H6 (48) AGM
   2009-08     V6/3.6L                                                      73050                  H6 (48)           H6 (48) AGM
   2007-06     V8/6.0L     V Series                                         540                    —                 —
   2007-05     V6/2.8L                                                      540                    —                 —
   2007-04     V6/3.6L                                                      540                    —                 —
   2005-04     V8/5.7L                                                      540                    —                 —
   2004-03     V6/3.2L                                                      540                    —                 —
   Cadillac DeVille
   2005-00     V8/4.6L                                                      80050                  79                —
   1999-94     V8/4.6L                                                      770                    78                —
   1995-94     V8/4.9L                                                      770                    78                —
   1993-91     V8/4.9L                                                      540                    78                —
   1993-91     V8/4.9L                                                      770                    78                —
   Cadillac DTS
   2011-09 V8/4.6L                                                          72050                  H7 (94R)          H7 (94R) AGM
   2008    V8/4.6L                                                          73050                  H6 (48)           H6 (48) AGM
   2007-06 V8/4.6L                                                          80050                  79                —
   Cadillac Eldorado
   2000-93 V8/4.6L                                                          770                    78                —
   1993-91 V8/4.9L                                                          770                    78                —
   1990    V8/4.5L                                                          730                    78                —
   Cadillac ELR
   2016-14 L4/1.4L         Hybrid                                           52033, 50              —                 —
   Cadillac Escalade
   2021       L6/3.0L                                                       85033, 50              H8 (49) AGM       —
   2021       V8/6.2L                                                       73033, 50              H7 (94R) AGM      —
   2019-15 V8/6.2L                                                          720                    H7 (94R)          H7 (94R) AGM
   2015-12 V8/6.2L                                                          660                    H6 (48)           H6 (48) AGM
   2015-09 V8/6.2L         Opt                                              730                    H6 (48)           H6 (48) AGM
   2013-12 V8/6.0L         Hybrid                                           660                    H6 (48)           H6 (48) AGM
   2013-09 V8/6.0L         Hybrid, Opt                                      730                    H6 (48)           H6 (48) AGM
   2011-09 V8/6.0L         Hybrid                                           615                    H6 (48)           H6 (48) AGM
   2011-07 V8/6.2L                                                          615                    H6 (48)           H6 (48) AGM
   2006-02 V8/6.0L                                                          600                    78                —
   2005-02 V8/5.3L                                                          600                    78                —
   2000-99 V8/5.7L                                                          600                    78                —
   2000-99 V8/5.7L         Opt                                              690                    78                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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42                                                       Automotive/Light Truck
  YEAR      ENGINE                             OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                        CCA/RATING             (NOTES)            (NOTES)

Cadillac Escalade ESV
2021      L6/3.0L                                                 85033, 50              H8 (49) AGM       —
2021      V8/6.2L                                                 73033, 50              H7 (94R) AGM      —
2020-15   V8/6.2L                                                 720                    H7 (94R)          H7 (94R) AGM
2015-12   V8/6.2L                                                 660                    H6 (48)           H6 (48) AGM
2015-09   V8/6.2L    Opt                                          730                    H6 (48)           H6 (48) AGM
2011-07   V8/6.2L                                                 615                    H6 (48)           H6 (48) AGM
2006-03   V8/6.0L                                                 600                    78                —
Cadillac Escalade EXT
2013-12   V8/6.2L                                                 660                    H6 (48)           H6 (48) AGM
2013-09   V8/6.2L    Opt                                          730                    H6 (48)           H6 (48) AGM
2011-07   V8/6.2L                                                 615                    H6 (48)           H6 (48) AGM
2006-02   V8/6.0L                                                 600                    78                —
Cadillac Fleetwood (See Brougham, Fleetwood)
Cadillac Seville
2004-98   V8/4.6L                                                 800                    79                —
1997-93   V8/4.6L                                                 770                    78                —
1993-91   V8/4.9L                                                 770                    78                —
1990      V8/4.5L                                                 730                    78                —
Cadillac Sixty Special
1993      V8/4.9L                                                 770                    78                —
Cadillac SRX
2016-12   V6/3.6L                                                 660                    H6 (48)           H6 (48) AGM
2011-10   V6/2.8L                                                 615                    H6 (48)           H6 (48) AGM
2011-10   V6/3.0L                                                 615                    H6 (48)           H6 (48) AGM
2009-08   V6/3.6L                                                 730                    H6 (48)           H6 (48) AGM
2009-08   V8/4.6L                                                 730                    H6 (48)           H6 (48) AGM
2007-04   V6/3.6L                                                 540                    —                 —
2007-04   V8/4.6L                                                 540                    —                 —
Cadillac STS
2011-10   V6/3.6L                                                 660                    H6 (48)           H6 (48) AGM
2010      V8/4.6L                                                 660                    H6 (48)           H6 (48) AGM
2009-08   V6/3.6L                                                 730                    H6 (48)           H6 (48) AGM
2009-08   V8/4.4L                                                 730                    H6 (48)           H6 (48) AGM
2009-08   V8/4.6L                                                 730                    H6 (48)           H6 (48) AGM
2007-06   V8/4.4L                                                 540                    —                 —
2007-05   V6/3.6L                                                 540                    —                 —
2007-05   V8/4.6L                                                 540                    —                 —
Cadillac XLR
2009-08   V8/4.4L                                                 590                    —                 —
2009-08   V8/4.6L                                                 590                    —                 —
2007-06   V8/4.4L                                                 59050                  90 (T5)           —
2007-06   V8/4.6L                                                 59050                  90 (T5)           —
2005-04   V8/4.6L                                                 59050                  —                 —
Cadillac XT4
2021-19 L4/2.0L                                                   73033, 50              H7 (94R) AGM      —
Cadillac XT5
2021-20 L4/2.0L                                                   73033, 50              H7 (94R) AGM      —
2021-17 V6/3.6L                                                   73033, 50              H7 (94R) AGM      —
Cadillac XT6
2021    L4/2.0L                                                   73033, 50              H7 (94R) AGM      —
2021-20 V6/3.6L                                                   73033, 50              H7 (94R) AGM      —
Cadillac XTS
2019-13 V6/3.6L                                                   660                    H6 (48)           H6 (48) AGM
Chevrolet Astro
2005-94   V6/4.3L                                                 600                    78                —
2005-02   V6/4.3L    Opt                                          770                    78                —
1993-91   V6/4.3L                                                 630                    78                —
1990-87   L4/2.5L                                                 525                    75                —
1990-87   V6/4.3L                                                 525                    75                —
1990-87   V6/4.3L    Opt                                          630                    78                —
1989-87   L4/2.5L    Opt                                          630                    78                —
1986-85   L4/2.5L    Opt                                          540                    78                —
1986-85   V6/4.3L                                                 500                    75                —
Chevrolet Avalanche
2013-09   V8/5.3L    Opt                                          730                    H6 (48)           H6 (48) AGM
2013-07   V8/5.3L    w/o HD                                       615                    H6 (48)           H6 (48) AGM
2009      V8/6.0L    Opt                                          730                    H6 (48)           H6 (48) AGM
2009-07   V8/6.0L    w/o HD                                       615                    H6 (48)           H6 (48) AGM
                                                                 See page 157 for Footnotes. Selection may vary by warehouse.

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                                                                              Chevrolet
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   Automotive/Light Truck                                                                                                   43
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Chevrolet Avalanche 1500
   2006-02 V8/5.3L                                                          600                    78                —
   Chevrolet Avalanche 2500
   2006-02 V8/8.1L                                                          600                    78                —
   Chevrolet Aveo, Aveo5
   2011-04 L4/1.6L                                                          550                    86                —
   Chevrolet Bel Air
   1965-55     L6/3.8L     12-Volt                                          350                    24                —
   1957-55     L6/3.9L                                                      350                    24                —
   1957-55     L6/3.9L     12-Volt                                          350                    24                —
   1957-55     V8/4.3L                                                      350                    24                —
   1957-55     V8/4.3L     12-Volt                                          350                    24                —
   Chevrolet Beretta, Corsica
   1996-95     V6/3.1L                                                      600                    75                —
   1996-93     L4/2.2L     Opt                                              600                    75                —
   1996-92     L4/2.2L                                                      525                    75                —
   1994-93     L4/2.3L                                                      600                    75                —
   1994-93     V6/3.1L     Opt                                              600                    75                —
   1994-90     V6/3.1L                                                      525                    75                —
   1992-90     L4/2.3L                                                      630                    75                —
   1991-90     L4/2.2L     HD w/AT                                          630                    75                —
   1991-90     L4/2.2L     MT                                               525                    75                —
   1991-90     V6/3.1L     Opt                                              630                    75                —
   Chevrolet Blazer
   2021-20     L4/2.0L                                                      72033, 50              H7 (94R) AGM      —
   2021-19     L4/2.5L                                                      72033, 50              H7 (94R) AGM      —
   2021-19     V6/3.6L                                                      72033, 50              H7 (94R) AGM      —
   2020        L4/2.0L                                                      72033, 50              H7 (94R) AGM      —
   2020        L4/2.5L                                                      72033, 50              H7 (94R) AGM      —
   2020-19     L4/2.5L                                                      72033, 50              H7 (94R) AGM      —
   2020-19     V6/3.6L                                                      72033, 50              H7 (94R) AGM      —
   2019        L4/2.5L                                                      72033, 50              H7 (94R) AGM      —
   2019        V6/3.6L                                                      72033, 50              H7 (94R) AGM      —
   2005-95     V6/4.3L                                                      525                    75                —
   2005-95     V6/4.3L     Opt                                              690                    —                 —
   1994        V8/5.7L                                                      600                    78                —
   1994        V8/6.5L     Dsl                                              770                    78                —
   1993-91     V8/5.7L                                                      630                    78                —
   1993-91     V8/5.7L     Auxiliary Battery                                540                    78                —
   1991-90     V8/6.2L     Dsl                                              540                    78                —
   1990        V8/5.7L     Opt                                              630                    78                —
   1990-87     V8/5.7L                                                      525                    75                —
   Chevrolet Bolt EV
   2021-17 Electric        Electric                                         52033                  —                 —
   Chevrolet C/K, R/V Pickups
   2000-99 V8/5.7L         Opt                                              690                    78                —
   2000-99 V8/6.5L         Dsl, HD                                          690                    78                —
   2000-99 V8/7.4L         Opt                                              690                    78                —
   2000-97 V8/6.5L         Dsl                                              600                    78                —
   2000-94 V8/5.7L                                                          600                    78                —
   2000-94 V8/7.4L                                                          600                    78                —
   1999       V8/5.0L      PPkg, HD                                         770                    78                —
   1999       V8/5.7L      HD or PPkg                                       770                    78                —
   1999       V8/5.7L      PPkg, HD                                         770                    78                —
   1999       V8/6.5L      Dsl & Opt                                        690                    78                —
   1999       V8/7.4L      HD or PPkg                                       770                    78                —
   1999       V8/7.4L      PPkg, HD                                         770                    78                —
   1999       V8/7.4L      Primary Battery                                  600                    78                —
   1999-97 V8/5.0L         Opt                                              690                    78                —
   1999-94 V8/5.0L                                                          600                    78                —
   1998-94 V6/4.3L                                                          600                    78                —
   1996-94 V8/6.5L         Dsl                                              770                    78                —
   1993-92 V8/6.5L         Dsl                                              570                    75                —
   1993-91 V6/4.3L                                                          630                    78                —
   1993-91 V8/5.0L                                                          630                    78                —
   1993-91 V8/5.0L         Auxiliary Battery                                540                    78                —
   1993-91 V8/5.7L         Auxiliary Battery                                540                    78                —
   1993-91 V8/5.7L         Primary Battery                                  630                    78                —
   1993-90 V8/6.2L         Dsl                                              570                    75                —
   1993-90 V8/7.4L                                                          630                    78                —
   1993-90 V8/7.4L         Auxiliary Battery                                540                    78                —
   1991       V8/5.7L                                                       630                    78                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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44                                                              Automotive/Light Truck
  YEAR      ENGINE                                    OPTIONS                    ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                     CCA/RATING             (NOTES)            (NOTES)

Chevrolet C/K, R/V Pickups (continued)
1991      V8/6.2L    Dsl                                                       540                    78                —
1991      V8/6.2L    Dsl                                                       5402                   78                —
1991-88   V8/6.2L    Dsl                                                       5702                   75                —
1990      V8/5.0L                                                              525                    75                —
1990      V8/5.0L    Opt                                                       630                    78                —
1990      V8/5.7L    Opt                                                       630                    78                —
1990      V8/6.2L    Auxiliary Battery                                         540                    78                —
1990      V8/6.2L    Auxiliary, Dsl                                            540                    78                —
1990-88   V6/4.3L                                                              525                    75                —
1990-88   V8/5.7L                                                              525                    75                —
Chevrolet C/K, R/V Suburban
1999      V8/5.7L    HD or PPkg                                                770                    78                —
1999      V8/5.7L    Opt                                                       690                    78                —
1999      V8/5.7L    PPkg, HD                                                  770                    78                —
1999      V8/6.5L    Dsl & Opt                                                 690                    78                —
1999      V8/6.5L    Dsl, HD                                                   690                    78                —
1999      V8/7.4L    HD or PPkg                                                770                    78                —
1999      V8/7.4L    Opt                                                       690                    78                —
1999      V8/7.4L    PPkg, HD                                                  770                    78                —
1999      V8/7.4L    Primary Battery                                           600                    78                —
1999-97   V8/6.5L    Dsl                                                       600                    78                —
1999-94   V8/5.7L                                                              600                    78                —
1999-94   V8/7.4L                                                              600                    78                —
1996-94   V8/6.5L    Dsl                                                       770                    78                —
1993-91   V8/5.7L                                                              630                    78                —
1993-91   V8/5.7L    Auxiliary Battery                                         540                    78                —
1993-90   V8/7.4L                                                              630                    78                —
1993-89   V8/7.4L    Auxiliary Battery                                         540                    78                —
1991-90   V8/6.2L    Dsl                                                       5402                   78                —
1991-89   V8/6.2L    Dsl                                                       5702                   75                —
1990      V8/5.7L    Opt                                                       630                    78                —
1990      V8/6.2L    Auxiliary, Dsl                                            540                    78                —
1990-89   V8/5.7L                                                              525                    75                —
Chevrolet Camaro
2021-16   L4/2.0L                                                              70033, 50              H6 (48) AGM       —
2021-16   V6/3.6L                                                              70033, 50              H6 (48) AGM       —
2021-16   V8/6.2L                                                              70033, 50              H6 (48) AGM       —
2015-14   V8/7.0L                                                              73050                  H6 (48)           H6 (48) AGM
2015-10   V6/3.6L                                                              72050                  H7 (94R)          H7 (94R) AGM
2015-10   V8/6.2L                                                              72050                  H7 (94R)          H7 (94R) AGM
2002-95   V6/3.8L                                                              690                    —                 —
2002-93   V8/5.7L                                                              525                    75                —
1995-93   V6/3.4L                                                              525                    75                —
1992-90   V6/3.1L                                                              525                    75                —
1992-90   V8/5.0L    AT                                                        570                    75                —
1992-90   V8/5.0L    MT                                                        525                    75                —
1992-87   V8/5.7L                                                              630                    75                —
1969      L6/3.8L    Late                                                      275                    75                —
1969      L6/4.1L    Late                                                      275                    75                —
1969      V8/4.9L                                                              350                    78                —
1969      V8/5.0L                                                              275                    75                —
1969      V8/5.0L    Ex 302                                                    350                    78                —
1969      V8/5.3L                                                              350                    78                —
1969      V8/5.4L                                                              350                    78                —
1969      V8/5.7L                                                              350                    78                —
1969      V8/6.5L                                                              350                    78                —
1969      V8/7.0L                                                              350                    78                —
1968      L6/3.8L                                                              250                    26R               —
1968      V8/5.4L                                                              350                    24                —
1968      V8/5.7L                                                              350                    24                —
1968      V8/5.7L                                                              380                    24                —
1968      V8/6.5L                                                              350                    24                —
1968-67   L6/4.1L                                                              250                    26R               —
1968-67   V8/4.9L                                                              350                    24                —
1968-67   V8/5.3L                                                              350                    24                —
1967      V8/6.5L                                                              325                    24                —
Chevrolet Caprice, Impala
2020-19   L4/2.5L    w/Start-Stop                                              85033                  H7 (94R) AGM      —
2020-19   V6/3.6L    w/o Start-Stop                                            615                    H6 (48)           H6 (48) AGM
2020-18   L4/2.5L    Auxiliary for Start-Stop                                  18033, 50              —                 —
2019      V6/3.6L    Auxiliary for Start-Stop                                  18033, 50              —                 —
2019      V6/3.6L    w/Start-Stop                                              85033                  H7 (94R) AGM      —
                                                                              See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                45
      YEAR        ENGINE                                            OPTIONS     ORIGINAL EQUIPMENT      GROUP SIZE    ALTERNATE SIZE
                                                                                    CCA/RATING           (NOTES)         (NOTES)

   Chevrolet Caprice, Impala (continued)
   2019-14     L4/2.5L     w/o Start-Stop                                     615                    H6 (48)         H6 (48) AGM
   2018        L4/2.5L     Start-Stop                                         85033                  H7 (94R) AGM    —
   2018        V6/3.6L                                                        615                    H6 (48)         H6 (48) AGM
   2017-16     L4/2.5L     Impala Auxiliary for Start-Stop                    15533, 50              —               —
   2017-16     L4/2.5L     Start-Stop                                         73033                  H7 (94R) AGM    —
   2017-14     V6/3.6L     Caprice w/PPkg, Opt, Auxiliary Battery             70033, 50              H6 (48) AGM     —
   2017-14     V6/3.6L     Caprice w/PPkg, Primary Battery                    70033, 50              H6 (48) AGM     —
   2017-14     V6/3.6L     Impala Ex PPkg                                     615                    H6 (48)         H6 (48) AGM
   2017-14     V8/6.0L     Caprice w/PPkg, Opt, Auxiliary Battery             70033, 50              H6 (48) AGM     —
   2017-14     V8/6.0L     Caprice w/PPkg, Primary Battery                    70033, 50              H6 (48) AGM     —
   2017-12     V6/3.6L     Impala w/PPkg                                      720                    34              —
   2016        V8/6.0L     Caprice w/PPkg                                     700                    H7 (94R)        H7 (94R) AGM
   2016-15     V8/6.0L                                                        70033, 50              H6 (48) AGM     —
   2016-14     L4/2.5L                                                        615                    H6 (48)         H6 (48) AGM
   2015        V8/6.0L     Caprice                                            70033, 50              H6 (48) AGM     —
   2015-14     L4/2.5L     Auxiliary w/Start-Stop                             15533, 50              —               —
   2015-14     L4/2.5L     w/Start-Stop                                       85033                  H8 (49) AGM     —
   2014        L4/2.4L     Hybrid                                             525                    H5 (47)         H5 (47) AGM
   2014        L4/2.4L     Hybrid                                             615                    H6 (48)         H6 (48) AGM
   2014        V6/3.6L     Caprice Auxiliary Battery                          70033, 50              H6 (48) AGM     —
   2014        V6/3.6L     Caprice Primary Battery                            70033, 50              H6 (48) AGM     —
   2014-12     V6/3.6L     Impala Ex PPkg                                     600                    34              —
   2014-11     V8/6.0L     Caprice w/PPkg                                     76550                  H7 (94R)        H7 (94R) AGM
   2013-12     V6/3.6L     Caprice w/PPkg                                     76550                  H7 (94R)        H7 (94R) AGM
   2011-10     V6/3.9L     Ex PPkg                                            600                    34              —
   2011-10     V6/3.9L     w/PPkg                                             720                    34              —
   2011-08     V6/3.5L                                                        600                    34              —
   2009        V6/3.9L                                                        600                    34              —
   2009-08     V8/5.3L                                                        590                    —               —
   2008        V6/3.9L                                                        720                    34              —
   2007-06     V6/3.5L                                                        690                    34              —
   2007-06     V6/3.9L                                                        750                    34              —
   2007-06     V8/5.3L     SS                                                 625                    —               —
   2005        V6/3.8L                                                        770                    78              —
   2005        V6/3.8L     S/C                                                600                    78              —
   2005-00     V6/3.4L                                                        600                    78              —
   2004        V6/3.8L     S/C                                                690                    78              —
   2004-00     V6/3.8L                                                        600                    78              —
   2003-00     V6/3.4L     Opt                                                690                    78              —
   2003-00     V6/3.8L     Opt                                                690                    78              —
   1996-95     V8/4.3L                                                        600                    78              —
   1996-95     V8/5.7L                                                        600                    78              —
   1996-95     V8/5.7L     HD, SEO                                            770                    78              —
   1994        V8/4.3L                                                        525                    75              —
   1994        V8/5.7L                                                        770                    78              —
   1993-92     V6/4.3L                                                        730                    78              —
   1993-90     V8/5.0L                                                        525                    75              —
   1993-86     V8/5.7L                                                        730                    78              —
   1990-85     V6/4.3L                                                        630                    75              —
   1989-86     V8/5.0L                                                        525                    75              —
   1989-86     V8/5.0L     Opt                                                570                    75              —
   1987        V8/5.7L     SEO                                                730                    78              —
   1987-85     V8/5.7L     Opt                                                630                    75              —
   1985-84     V8/5.0L                                                        500                    75              —
   1985-84     V8/5.0L     Opt                                                630                    75              —
   1985-84     V8/5.7L                                                        500                    75              —
   1985-84     V8/5.7L     Dsl                                                4052                   75              —
   1985-83     V6/3.8L                                                        390                    75              —
   1985-83     V6/3.8L     Opt                                                550                    78              —
   1985-83     V8/5.7L     Dsl & Opt                                          550                    78              —
   1984        V6/3.8L                                                        405                    75              —
   1984-83     V6/3.8L     Opt                                                500                    75              —
   1983        V6/3.8L                                                        355                    75              —
   1983        V8/5.0L                                                        355                    75              —
   1983        V8/5.0L     Opt                                                500                    75              —
   1983        V8/5.7L                                                        355                    75              —
   1983        V8/5.7L     Dsl                                                500                    75              —
   1983        V8/5.7L     Dsl or HD                                          500                    75              —
   1983        V8/5.7L     Opt                                                500                    75              —
   1982        V6/3.8L                                                        400                    75              —
   1982        V8/4.4L                                                        350                    75              —
   1982        V8/5.7L     Dsl                                                4652                   75              —
   See page 157 for Footnotes. Selection may vary by warehouse.

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46                                                      Automotive/Light Truck
  YEAR      ENGINE                            OPTIONS                    ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                             CCA/RATING             (NOTES)            (NOTES)

Chevrolet Caprice, Impala (continued)
1982      V8/5.7L    Opt                                               465                    75                —
1982-81   V6/3.8L    HBL & AC                                          350                    75                —
1982-81   V8/4.4L    Opt                                               465                    75                —
1982-81   V8/5.0L                                                      350                    75                —
1982-81   V8/5.0L    Opt                                               465                    75                —
1982-81   V8/5.7L    Dsl or HD                                         4652                   75                —
1982-81   V8/5.7L    Dsl, HD                                           5502                   78                —
1982-81   V8/5.7L    Opt                                               5502                   78                —
1982-79   V8/5.7L                                                      350                    75                —
1981      V6/3.8L    Opt                                               465                    75                —
1981      V6/3.8L    Opt                                               550                    78                —
1981      V8/4.4L                                                      550                    78                —
1981      V8/5.7L                                                      350                    75                —
1981      V8/5.7L                                                      465                    78                —
1980      V6/3.8L                                                      325                    75                —
1980      V6/3.8L    Opt                                               450                    78                —
1980      V8/4.4L                                                      325                    75                —
1980      V8/4.4L    Opt                                               450                    78                —
1980      V8/5.7L    Opt                                               5402                   78                —
1980-78   V8/5.0L                                                      325                    75                —
1980-78   V8/5.0L    Opt                                               450                    78                —
1980-78   V8/5.7L                                                      325                    75                —
1980-78   V8/5.7L    Opt                                               450                    78                —
1980-75   V8/5.7L    Opt                                               465                    78                —
1979      V8/5.7L    Opt                                               505                    78                —
1979-78   L6/4.1L                                                      325                    75                —
1979-78   L6/4.1L    Opt                                               450                    78                —
1977-73   L6/4.1L                                                      350                    75                —
1977-71   V8/5.0L                                                      450                    78                —
1977-70   V8/5.7L                                                      450                    78                —
1976      V8/5.7L                                                      350                    75                —
1976      V8/6.6L                                                      350                    75                —
1976      V8/7.4L                                                      350                    75                —
1976-70   V8/7.4L                                                      450                    78                —
1975      V8/5.7L                                                      350                    78                —
1975-70   V8/6.6L                                                      450                    78                —
1972-70   L6/4.1L                                                      450                    78                —
1970      V8/6.6L    w/AC                                              325                    24                —
1970      V8/7.4L    w/AC                                              325                    24                —
1970-69   V8/5.7L    w/AC                                              325                    24                —
1970-65   L6/4.1L    w/o AC                                            250                    26R               —
1969-68   V8/5.0L    w/AC                                              325                    24                —
1969-65   V8/6.5L    w/AC                                              325                    24                —
1969-64   V8/5.4L    w/AC                                              325                    24                —
1969-63   V8/5.3L    w/AC                                              325                    24                —
1969-63   V8/7.0L    w/AC                                              325                    24                —
1967-66   L6/4.1L                                                      250                    26R               —
1967-66   L6/4.1L                                                      325                    24                —
1967-63   V8/4.6L    w/AC                                              325                    24                —
1966      L6/4.1L    AC                                                325                    24                —
1965-63   L6/3.8L    w/o AC                                            250                    26R               —
1965-63   V8/6.7L    w/AC                                              325                    24                —
1965-58   L6/3.8L                                                      325                    24                —
1963      V8/7.0L                                                      350                    26R               —
1963      V8/7.0L    AC                                                350                    24                —
1962      V8/5.3L                                                      325                    24                —
1962-61   V8/6.7L                                                      325                    24                —
1962-58   V8/4.6L                                                      325                    24                —
1961-58   V8/5.7L                                                      325                    24                —
Chevrolet Captiva Sport
2015-12 L4/2.4L                                                        615                    H6 (48)           H6 (48) AGM
2012    V6/3.0L                                                        660                    H6 (48)           H6 (48) AGM
Chevrolet Cavalier
2005-92   L4/2.2L                                                      525                    75                —
2002-96   L4/2.4L                                                      600                    75                —
2002      L4/2.2L                                                      600                    75                —
1995      L4/2.3L                                                      600                    75                —
1994-92   V6/3.1L                                                      525                    75                —
1991-90   L4/2.2L                                                      630                    75                —
1991-90   V6/3.1L                                                      630                    75                —
Chevrolet Celebrity
1990    V6/3.1L                                                        630                    75                 —
1990-85 L4/2.5L                                                        630                    75                 —
                                                                      See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   47
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Chevrolet Chevelle
   1973-71     L6/4.1L                                                      325                    75                —
   1973-71     L6/4.1L     Opt                                              450                    78                —
   1973-71     V8/5.0L                                                      325                    75                —
   1973-71     V8/5.0L     Opt                                              450                    78                —
   1973-71     V8/5.7L                                                      325                    75                —
   1973-71     V8/5.7L     Opt                                              450                    78                —
   1973-71     V8/6.6L                                                      325                    75                —
   1973-71     V8/6.6L     Opt                                              450                    78                —
   1973-71     V8/7.4L                                                      325                    75                —
   1973-71     V8/7.4L     Opt                                              450                    78                —
   1970        V8/5.0L                                                      325                    24                —
   1970        V8/5.7L                                                      325                    24                —
   1970        V8/6.5L                                                      325                    24                —
   1970        V8/6.6L                                                      325                    24                —
   1970        V8/7.4L                                                      450                    78                —
   1970-67     L6/4.1L                                                      250                    26R               —
   1969-68     V8/5.0L     Incl Malibu                                      325                    24                —
   1969-68     V8/5.7L     Incl Malibu                                      325                    24                —
   1969-67     L6/4.1L     Opt                                              325                    24                —
   1969-65     V8/6.5L     Incl Malibu                                      325                    24                —
   1969-64     L6/3.8L                                                      250                    26R               —
   1969-64     L6/3.8L     Opt                                              325                    24                —
   1968        V8/5.4L                                                      350                    24                —
   1968-64     V8/5.3L                                                      350                    24                —
   1967-65     V8/5.4L                                                      N/A                    24                —
   1967-64     V8/4.6L     Incl Malibu                                      325                    24                —
   1966        L6/3.2L                                                      250                    26R               —
   1966        L6/3.2L     AC                                               450                    24                —
   1966        L6/3.8L     AC or HD                                         325                    24                —
   1965        L6/3.2L                                                      450                    24                —
   Chevrolet Chevy II
   1968        V8/5.0L                                                      275                    26R               —
   1968        V8/5.0L     HD or w/AC                                       380                    24                —
   1968        V8/5.7L     HD or w/AC                                       380                    24                —
   1968        V8/6.5L     HD or w/AC                                       380                    24                —
   1968-66     V8/5.3L                                                      275                    26R               —
   1968-65     V8/5.3L     HD or w/AC                                       380                    24                —
   1968-65     V8/5.4L     HD or w/AC                                       380                    24                —
   1967-66     V8/4.6L                                                      275                    26R               —
   1967-63     V8/4.6L     HD or w/AC                                       380                    24                —
   1966        V8/5.4L                                                      275                    26R               —
   Chevrolet City Express
   2018-15 L4/2.0L                                                          500                    121R              —
   2017-15 L4/2.0L                                                          600                    121R              —
   2015    L4/2.0L                                                          N/A                    121R              —
   Chevrolet Classic
   2005-04 L4/2.2L                                                          525                    75                —
   Chevrolet Cobalt
   2010-09     L4/2.0L                                                      59050                  90 (T5)           —
   2010-08     L4/2.2L                                                      59050                  90 (T5)           —
   2008        L4/2.4L                                                      59050                  90 (T5)           —
   2008-05     L4/2.0L                                                      60050                  90 (T5)           —
   2007-06     L4/2.4L                                                      60050                  90 (T5)           —
   2007-05     L4/2.2L                                                      60050                  90 (T5)           —
   Chevrolet Colorado
   2021-16     L4/2.8L     Dsl                                              85033                  H8 (49) AGM       —
   2021-15     L4/2.5L                                                      615                    H6 (48)           H6 (48) AGM
   2021-15     V6/3.6L                                                      615                    H6 (48)           H6 (48) AGM
   2012-09     V8/5.3L                                                      59011, 40              86                —
   2012-08     L4/2.9L                                                      59040                  86                —
   2012-07     L5/3.7L                                                      59040                  86                —
   2007        L4/2.9L                                                      64011, 40              —                 —
   2007        L5/3.7L                                                      59011, 40              —                 —
   2006-04     L4/2.8L                                                      64011, 40              —                 —
   2006-04     L5/3.5L                                                      59011, 40              —                 —
   Chevrolet Commercial Chassis
   1994-91 V8/5.7L                                                          690                    78                —
   1992    V6/4.3L                                                          690                    78                —
   1992-91 V8/5.0L                                                          690                    78                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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48                                                                  Automotive/Light Truck
  YEAR      ENGINE                                        OPTIONS                    ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                         CCA/RATING             (NOTES)            (NOTES)

Chevrolet Corsica (See Beretta, Corsica)
Chevrolet Corvette
2021-20   V8/6.2L                                                                  730                    H6 (48)           H6 (48) AGM
2019-14   V8/6.2L                                                                  61550                  H6 (48)           H6 (48) AGM
2013      V8/7.0L    Ex Dry Sump System Pkg (Z52)                                  590                    —                 —
2013-09   V8/6.2L    Dry Sump Sys Pkg (Z52)                                        59050                  90 (T5)           —
2013-09   V8/6.2L    Ex Dry Sump System Pkg (Z52)                                  590                    —                 —
2013-09   V8/7.0L    Z06                                                           59050                  90 (T5)           —
2008-07   V8/7.0L    Z06                                                           60050                  90 (T5)           —
2007      V8/6.0L                                                                  60050                  90 (T5)           —
2006      V8/6.0L                                                                  590                    90 (T5)           —
2006      V8/7.0L                                                                  59050                  90 (T5)           —
2005      V8/6.0L                                                                  590                    86                —
2004      V8/5.7L                                                                  590                    86                —
2003      V8/5.7L                                                                  60033                  —                 —
2002      V8/5.7L                                                                  52533                  —                 —
2001      V8/5.7L                                                                  50033                  —                 —
2000-97   V8/5.7L                                                                  600                    78                —
1996-90   V8/5.7L    32 Valve                                                      690                    —                 —
1996-89   V8/5.7L    16 Valve                                                      525                    75                —
1988      V8/5.7L                                                                  525                    75                —
1987-86   V8/5.7L                                                                  630                    75                —
1985-84   V8/5.7L                                                                  500                    75                —
1982-81   V8/5.7L                                                                  465                    75                —
1980      V8/5.0L                                                                  325                    75                —
1980      V8/5.0L    Opt                                                           450                    78                —
1980-69   V8/5.7L                                                                  325                    75                —
1980-69   V8/5.7L    Opt                                                           450                    78                —
1975      V8/5.7L                                                                  420                    78                —
1974-70   V8/7.4L                                                                  325                    75                —
1974-70   V8/7.4L    Opt                                                           450                    78                —
1969      V8/7.0L                                                                  325                    75                —
1969      V8/7.0L    Opt                                                           450                    78                —
1968      V8/5.4L                                                                  325                    24                —
1968-66   V8/7.0L                                                                  32550                  —                 —
1968-62   V8/5.3L                                                                  325                    24                —
1965      V8/6.5L                                                                  325                    24                —
1961-57   V8/4.6L                                                                  325                    24                —
1956      V8/4.3L                                                                  325                    24                —
1955      V8/4.3L                                                                  N/A                    24                —
1953      L6/3.9L                                                                  N/A                    —                 —
Chevrolet Cruze
2019      L4/1.4L                                                                  80033, 50              H7 (94R) AGM      —
2019-17   L4/1.6L    Dsl                                                           72050                  H7 (94R)          H7 (94R) AGM
2018-16   L4/1.4L    w/o Start-Stop                                                52550                  H5 (47)           H5 (47) AGM
2018-16   L4/1.4L    w/o Start-Stop, Opt                                           61550                  H6 (48)           H6 (48) AGM
2018-16   L4/1.4L    w/Start-Stop                                                  73033, 50              H7 (94R) AGM      —
2016      L4/1.4L    Limited                                                       73033                  H7 (94R) AGM      —
2016      L4/1.4L    Premier                                                       73033                  H7 (94R) AGM      —
2015      L4/2.0L    Dsl                                                           73033                  H7 (94R) AGM      —
2015-11   L4/1.4L                                                                  525                    H5 (47)           H5 (47) AGM
2015-11   L4/1.8L                                                                  525                    H5 (47)           H5 (47) AGM
2014      L4/2.0L    Dsl                                                           73033, 50              H7 (94R) AGM      —
Chevrolet Cruze Limited
2016      L4/1.4L                                                                  73033                  H7 (94R) AGM      —
2016      L4/1.8L                                                                  615                    H6 (48)           H6 (48) AGM
Chevrolet El Camino
1987-85   V6/4.3L                                                                  630                    75                —
1987-85   V8/5.0L                                                                  525                    75                —
1987-85   V8/5.0L    Opt                                                           570                    75                —
1984      V6/3.8L    229 cid                                                       405                    75                —
1984      V6/3.8L    229 cid, HD                                                   500                    75                —
1984      V8/5.7L    Dsl                                                           4052                   75                —
1984-83   V6/3.8L    Opt                                                           550                    78                —
1984-83   V8/5.0L                                                                  405                    75                —
1984-83   V8/5.0L    Opt                                                           500                    75                —
1984-83   V8/5.7L    Dsl, HD                                                       550                    78                —
1984-81   V6/3.8L                                                                  315                    75                —
1983      V6/3.8L    229 cid                                                       355                    75                —
1983      V6/3.8L    229 cid, HD                                                   500                    75                —
1983      V8/5.7L    Dsl                                                           525                    75                —
1982      V6/3.8L    229 cid                                                       400                    75                —
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   Automotive/Light Truck                                                                                                   49
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Chevrolet El Camino (continued)
   1982        V6/3.8L     Opt                                              465                    75                —
   1982        V8/4.4L                                                      315                    75                —
   1982        V8/4.4L     Opt                                              465                    75                —
   1982        V8/5.0L                                                      315                    75                —
   1982-81     V8/5.0L     Opt                                              465                    75                —
   1981        V6/3.8L     229 cid                                          370                    75                —
   1981        V6/3.8L     229 cid, HD                                      465                    75                —
   1981        V6/3.8L     Opt                                              550                    78                —
   1981        V6/3.8L     w/AC                                             350                    75                —
   1981        V8/4.4L                                                      370                    75                —
   1981        V8/4.4L     Opt                                              465                    75                —
   1981        V8/5.0L                                                      370                    75                —
   1980-79     V8/4.4L                                                      450                    78                —
   1980-78     V6/3.8L                                                      275                    75                —
   1980-76     V8/5.0L                                                      350                    75                —
   1979-76     V8/5.7L                                                      350                    75                —
   1976        V8/6.6L                                                      350                    75                —
   1975-72     V8/6.6L                                                      350                    78                —
   1975-72     V8/7.4L                                                      465                    78                —
   1975-71     V8/5.7L                                                      350                    78                —
   1974-72     V8/6.6L                                                      465                    78                —
   1974-71     V8/5.7L                                                      465                    78                —
   1973        V8/5.0L                                                      350                    78                —
   1973-71     V8/5.0L                                                      465                    78                —
   1972        V8/7.4L                                                      350                    78                —
   1971        V8/6.6L                                                      420                    75                —
   1971        V8/7.4L                                                      420                    75                —
   1970        V8/6.5L                                                      340                    24                —
   1970        V8/6.6L                                                      350                    24                —
   1970        V8/7.4L                                                      350                    24                —
   1970-69     V8/5.7L                                                      350                    24                —
   1970-68     V8/5.0L                                                      350                    24                —
   1969        V8/6.5L                                                      350                    24                —
   1968        V8/5.4L                                                      350                    24                —
   1968        V8/6.5L                                                      320                    26R               —
   1967-66     V8/6.5L                                                      325                    24                —
   1967-64     V8/4.6L                                                      320                    26R               —
   1960-59     V8/4.6L                                                      450                    24                —
   1960-59     V8/5.7L                                                      450                    24                —
   Chevrolet Epica
   2006-04 L6/2.5L                                                          600                    34                —
   Chevrolet Equinox
   2021-18     L4/1.5L                                                      73033                  H6 (48) AGM       —
   2020-18     L4/2.0L                                                      73033                  H6 (48) AGM       —
   2019-18     L4/1.6L     Dsl                                              73033                  H6 (48) AGM       —
   2017-13     V6/3.6L                                                      660                    H6 (48)           H6 (48) AGM
   2017-10     L4/2.4L                                                      525                    H5 (47)           H5 (47) AGM
   2012        V6/3.0L                                                      660                    H6 (48)           H6 (48) AGM
   2011-10     V6/3.0L                                                      615                    H6 (48)           H6 (48) AGM
   2009-08     V6/3.6L                                                      650                    —                 H5 (47) AGM
   2009-07     V6/3.4L                                                      650                    —                 H5 (47) AGM
   2006-05     V6/3.4L                                                      600                    75                —
   Chevrolet Express 2500, 3500
   2021-17 L4/2.8L         Dsl                                              7702                   78                —
   Chevrolet Express Vans (1500-4500, Cargo)
   2020-96     V6/4.3L                                                      600                    78                —
   2020-17     L4/2.8L     Dsl                                              7702                   78                —
   2020-03     V8/6.0L                                                      600                    78                —
   2017-03     V8/4.8L                                                      600                    78                —
   2016-15     V8/6.6L     Dsl                                              7702                   78                —
   2014-07     V8/6.6L     Dsl                                              770                    78                —
   2014-03     V8/5.3L                                                      600                    78                —
   2013-09     V8/6.6L                                                      770                    78                —
   2006        V8/6.6L     Dsl                                              8002                   79                —
   2005-03     V6/4.3L     Opt                                              800                    79                —
   2005-03     V8/4.8L     Opt                                              800                    79                —
   2005-03     V8/5.3L     Opt                                              800                    79                —
   2005-03     V8/6.0L     Opt                                              800                    79                —
   2002-96     V8/5.0L                                                      600                    78                —
   2002-96     V8/5.7L                                                      600                    78                —
   2002        V6/4.3L     Opt                                              770                    78                —
   See page 157 for Footnotes. Selection may vary by warehouse.

                                                                                                                               Costco_001849
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50                                                                Automotive/Light Truck
  YEAR      ENGINE                                      OPTIONS                  ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                     CCA/RATING             (NOTES)            (NOTES)

Chevrolet Express Vans (1500-4500, Cargo) (continued)
2002      V8/5.0L    Opt                                                       770                    78                —
2002      V8/5.7L    Opt                                                       770                    78                —
2002      V8/6.5L    Dsl                                                       770                    78                —
2002      V8/8.1L    Opt                                                       770                    78                —
2002-01   V8/8.1L                                                              600                    78                —
2001-96   V8/6.5L    Dsl                                                       600                    78                —
2001      V8/8.1L    Opt                                                       690                    78                —
2001-00   V6/4.3L    Opt                                                       690                    78                —
2001-00   V8/5.0L    Opt                                                       690                    78                —
2001-00   V8/5.7L    Opt                                                       690                    78                —
2001-00   V8/6.5L    Dsl, HD                                                   690                    78                —
2000-96   V8/7.4L                                                              600                    78                —
2000      V8/7.4L    Opt                                                       690                    78                —
Chevrolet G-Series Vans
1996-94   V6/4.3L                                                              600                    78                —
1996-94   V8/5.7L                                                              600                    78                —
1996-94   V8/6.5L    Dsl                                                       600                    78                —
1996-94   V8/7.4L                                                              600                    78                —
1995-94   V8/5.0L                                                              600                    78                —
1993-91   V6/4.3L                                                              630                    78                —
1993-91   V8/5.0L                                                              630                    78                —
1993-91   V8/5.7L                                                              630                    78                —
1993-90   V8/6.2L    Dsl                                                       540                    78                —
1993-90   V8/7.4L                                                              630                    78                —
1990      V8/5.0L                                                              525                    75                —
Chevrolet HHR
2011-06 L4/2.2L                                                                60050                  90 (T5)           —
2011-06 L4/2.4L                                                                60050                  90 (T5)           —
2010-08 L4/2.0L                                                                60050                  90 (T5)           —
Chevrolet Impala (See Caprice, Impala)
Chevrolet Impala Limited
2016-14 V6/3.6L      Ex PPkg                                                   600                    34                —
2016-14 V6/3.6L      PPkg                                                      720                    34                —
Chevrolet K Series Pickup (See C/K, R/V Pickups)
Chevrolet LLV
1995-94   L4/2.2L                                                              525                    75                —
1995-94   L4/2.2L    Opt                                                       690                    78                —
1993-90   L4/2.5L                                                              525                    75                —
1993-90   L4/2.5L    Opt                                                       690                    78                —
Chevrolet Lumina, Lumina APV, Venture
2005-97   V6/3.4L                                                              600                    78                —
2001-96   V6/3.1L                                                              600                    78                —
1999-98   V6/3.8L                                                              690                    78                —
1997-96   V6/3.4L                                                              690                    78                —
1996      V6/3.4L                                                              525                    75                —
1995-93   V6/3.1L    HD, SEO                                                   690                    —                 —
1995-92   V6/3.8L                                                              630                    75                —
1995-91   V6/3.4L                                                              690                    —                 —
1995-90   V6/3.1L                                                              525                    75                —
1993      L4/2.2L                                                              525                    75                —
1992      V6/3.1L    Opt                                                       690                    —                 —
1992-90   L4/2.5L                                                              630                    75                —
Chevrolet Malibu Limited
2016      L4/2.5L    Auxiliary Battery                                         18033, 50              —                 —
2016      L4/2.5L    Auxiliary Battery                                         15533, 50              —                 —
2016      L4/2.5L    Start-Stop                                                73033                  H7 (94R) AGM      —
Chevrolet Malibu, Monte Carlo
2020-16   L4/1.5L                                                              70033, 50              H6 (48) AGM       —
2020-16   L4/2.0L                                                              660                    H6 (48)           H6 (48) AGM
2019-16   L4/1.8L    Hybrid                                                    525                    H5 (47)           H5 (47) AGM
2015-14   L4/2.5L    Auxiliary for Start-Stop                                  15533, 50              —                 —
2015-14   L4/2.5L    Start-Stop                                                85033                  H8 (49) AGM       —
2015-13   L4/2.0L                                                              525                    H5 (47)           H5 (47) AGM
2014-13   L4/2.4L    Hybrid                                                    525                    H5 (47)           H5 (47) AGM
2013      L4/2.5L                                                              525                    H5 (47)           H5 (47) AGM
2012-09   L4/2.4L                                                              590                    90 (T5)           —
2012-08   V6/3.6L                                                              590                    90 (T5)           —
2010-08   V6/3.5L                                                              590                    90 (T5)           —
2008      L4/2.2L                                                              590                    90 (T5)           —
2008      L4/2.4L    Gas                                                       590                    90 (T5)           —
                                                                              See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                51
      YEAR        ENGINE                                          OPTIONS    ORIGINAL EQUIPMENT      GROUP SIZE       ALTERNATE SIZE
                                                                                 CCA/RATING           (NOTES)            (NOTES)

   Chevrolet Malibu, Monte Carlo (continued)
   2008        L4/2.4L     Hybrid                                           590                   90 (T5)         —
   2007        V6/3.5L                                                      690                   34              —
   2007        V6/3.5L                                                      690                   —               —
   2007        V6/3.5L     Ex SS                                            690                   —               —
   2007        V6/3.9L                                                      690                   —               —
   2007-06     V8/5.3L     SS                                               625                   —               —
   2007-04     L4/2.2L                                                      525                   75              —
   2006        V6/3.5L                                                      600                   34              —
   2006        V6/3.9L                                                      750                   34              —
   2006        V6/3.9L                                                      590                   75              —
   2006-04     V6/3.5L                                                      525                   75              —
   2005-04     V6/3.8L                                                      770                   78              —
   2005-00     V6/3.4L                                                      600                   78              —
   2003-98     V6/3.8L                                                      600                   78              —
   2003-97     V6/3.1L                                                      600                   75              —
   2003-97     V6/3.1L     Ex SS                                            600                   75              —
   2000        V6/3.4L     Opt                                              690                   78              —
   2000        V6/3.8L     Opt                                              690                   78              —
   1999-97     L4/2.4L                                                      600                   75              —
   1999-96     V6/3.1L                                                      600                   78              —
   1997-96     V6/3.4L                                                      600                   78              —
   1995        V6/3.1L                                                      525                   75              —
   1995        V6/3.1L     HD, SEO                                          690                   —               —
   1995        V6/3.4L                                                      690                   —               —
   1988-86     V8/5.0L                                                      525                   75              —
   1988-86     V8/5.0L     Opt                                              570                   75              —
   1988-85     V6/4.3L                                                      630                   75              —
   1987        V6/3.8L                                                      525                   75              —
   1987-86     V6/3.8L     Opt                                              630                   75              —
   1986-85     V6/3.8L                                                      500                   75              —
   1985-84     V8/5.0L                                                      500                   75              —
   1985-84     V8/5.0L     Opt                                              630                   75              —
   1985-83     V6/3.8L     Opt                                              550                   78              —
   1984        V6/3.8L     229 cid                                          405                   75              —
   1984        V8/5.7L     Dsl                                              405                   75              —
   1984-83     V6/3.8L     229 cid, HD                                      500                   75              —
   1984-83     V8/5.7L     Dsl, HD                                          550                   78              —
   1984-81     V6/3.8L                                                      315                   75              —
   1983        V6/3.8L     229 cid                                          355                   75              —
   1983        V6/4.3L     Dsl, HD                                          550                   78              —
   1983        V8/5.0L                                                      405                   75              —
   1983        V8/5.0L     Opt                                              500                   75              —
   1983        V8/5.7L     Dsl                                              500                   75              —
   1983-82     V6/4.3L     Dsl                                              500                   75              —
   1982        V6/3.8L     229 cid                                          400                   75              —
   1982        V6/4.3L     Dsl, HD                                          465                   75              —
   1982        V8/4.4L                                                      315                   75              —
   1982        V8/5.0L                                                      315                   75              —
   1982        V8/5.7L     Dsl                                              4652                  75              —
   1982        V8/5.7L     Dsl, HD                                          5502                  78              —
   1982-81     V8/4.4L     Opt                                              465                   75              —
   1982-81     V8/5.0L     Opt                                              465                   75              —
   1981        V6/3.8L     229 cid                                          370                   75              —
   1981        V6/3.8L     229 cid, HD                                      465                   75              —
   1981        V6/3.8L     HBL & AC                                         350                   75              —
   1981        V6/3.8L     Opt                                              550                   78              —
   1981        V8/4.4L                                                      370                   75              —
   1981        V8/5.0L                                                      370                   75              —
   1981        V8/5.7L                                                      370                   75              —
   1981        V8/5.7L     Opt                                              465                   75              —
   1980-79     V8/4.4L                                                      325                   75              —
   1980-79     V8/4.4L     Opt                                              450                   78              —
   1980-78     V6/3.8L                                                      325                   75              —
   1980-78     V6/3.8L     Opt                                              450                   78              —
   1980-76     V8/5.0L                                                      325                   75              —
   1980-76     V8/5.0L     Opt                                              450                   78              —
   1980-71     V8/5.7L                                                      325                   75              —
   1980-71     V8/5.7L     Opt                                              450                   78              —
   1979-78     V6/3.3L                                                      325                   75              —
   1979-78     V6/3.3L     Opt                                              450                   78              —
   1977-73     L6/4.1L                                                      325                   75              —
   1977-73     L6/4.1L     Opt                                              450                   78              —
   See page 157 for Footnotes. Selection may vary by warehouse.

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52                                                          Automotive/Light Truck
  YEAR      ENGINE                                OPTIONS                    ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                 CCA/RATING             (NOTES)            (NOTES)

Chevrolet Malibu, Monte Carlo (continued)
1976-71   V8/6.6L                                                          325                    75                —
1976-71   V8/6.6L    Opt                                                   450                    78                —
1975      L6/4.1L                                                          275                    75                —
1975-71   V8/7.4L                                                          325                    75                —
1975-71   V8/7.4L    Opt                                                   450                    78                —
1973      V8/5.0L                                                          350                    78                —
1973      V8/5.0L    Opt                                                   465                    78                —
1970      V8/5.7L                                                          325                    24                —
1970      V8/6.6L                                                          325                    24                —
1970      V8/7.4L                                                          450                    78                —
1967      L6/4.1L                                                          275                    26R               —
1967      L6/4.1L    Opt                                                   3807                   24                —
1967-66   L6/3.8L                                                          N/A                    26R               —
1967-65   V8/6.5L                                                          325                    24                —
1967-64   V8/4.6L                                                          N/A                    24                —
1967-64   V8/4.6L    Incl Malibu                                           325                    24                —
1966      L6/3.2L                                                          N/A                    26R               —
1966      L6/3.2L    AC                                                    N/A                    24                —
1966      L6/3.8L    AC                                                    N/A                    24                —
1965-64   L6/3.2L                                                          N/A                    24                —
1965-64   L6/3.8L                                                          N/A                    24                —
Chevrolet Metro
2001-98 L4/1.3L                                                            390                    26R               —
2000-98 L3/1.0L                                                            390                    26R               —
1992    L4/1.3L                                                            440                    —                 —
Chevrolet Monte Carlo (See Malibu, Monte Carlo)
Chevrolet Nomad
1961      V8/6.7L    12-Volt                                               350                    24                —
1961-58   V8/5.7L    12-Volt                                               350                    24                —
1961-57   V8/4.6L    12-Volt                                               350                    24                —
1961-55   L6/3.8L    12-Volt                                               350                    24                —
1957-55   V8/4.3L    12-Volt                                               350                    24                —
Chevrolet Nova
1979      L6/4.1L    Opt                                                   505                    78                —
1979      V8/5.0L    Opt                                                   505                    78                —
1979      V8/5.7L    Opt                                                   505                    78                —
1979-78   L6/4.1L                                                          275                    75                —
1979-78   V8/5.0L                                                          350                    75                —
1979-78   V8/5.7L                                                          350                    75                —
1978-71   L6/4.1L    Opt                                                   465                    78                —
1977-76   V8/5.0L                                                          350                    75                —
1977-76   V8/5.0L    Opt                                                   465                    78                —
1977-76   V8/5.7L                                                          350                    75                —
1977-71   L6/4.1L                                                          275                    75                —
1977-70   V8/5.7L    Opt                                                   465                    78                —
1975      V8/4.3L                                                          350                    78                —
1975      V8/4.3L    Opt                                                   465                    78                —
1975-73   V8/5.7L                                                          350                    78                —
1974-71   V8/5.7L                                                          350                    75                —
1973      V8/5.0L                                                          350                    78                —
1973-71   V8/5.0L                                                          350                    75                —
1973-70   V8/5.0L    Opt                                                   465                    78                —
1972-71   V8/6.6L                                                          350                    75                —
1972-70   V8/6.6L    Opt                                                   465                    78                —
1971      V8/7.4L                                                          350                    75                —
1971-70   V8/7.4L    Opt                                                   465                    78                —
1970      L4/2.5L                                                          275                    26R               —
1970      L6/3.8L                                                          275                    26R               —
1970      L6/4.1L                                                          275                    26R               —
1970      V8/5.0L                                                          350                    24                —
1970      V8/5.7L                                                          350                    24                —
1970      V8/6.5L                                                          350                    24                —
1970      V8/6.5L    Opt                                                   465                    78                —
1970      V8/6.6L                                                          350                    24                —
1970      V8/7.4L                                                          350                    24                —
1970-69   L4/2.5L    Opt                                                   285                    24                —
1970-69   L6/3.8L    Opt                                                   285                    24                —
1970-69   L6/4.1L    Opt                                                   285                    24                —
1969      L4/2.5L    AC, AT or HD                                          400                    24                —
1969      L4/2.5L    Ex AC, AT or HD                                       275                    26R               —
1969      L6/3.8L    AC, AT or HD                                          400                    24                —
                                                                          See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   53
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Chevrolet Nova (continued)
   1969        L6/3.8L     Ex AC, AT or HD                                  275                    26R               —
   1969        L6/4.1L     AC, AT or HD                                     400                    24                —
   1969        L6/4.1L     Ex AC, AT or HD                                  275                    26R               —
   1969        V8/5.0L     AC, AT or HD                                     400                    24                —
   1969        V8/5.0L     Ex AC, AT or HD                                  275                    26R               —
   1969        V8/5.0L     Opt                                              285                    24                —
   1969        V8/5.7L     AC, AT or HD                                     400                    24                —
   1969        V8/5.7L     Ex AC, AT or HD                                  275                    26R               —
   1969        V8/5.7L     Opt                                              285                    24                —
   1969        V8/6.5L     AC, AT or HD                                     400                    24                —
   1969        V8/6.5L     Ex AC, AT or HD                                  275                    26R               —
   1969        V8/6.5L     Opt                                              285                    24                —
   Chevrolet Optra
   2007-04 L4/2.0L                                                          640                    86                —
   Chevrolet Orlando
   2014-12 L4/2.4L                                                          615                    H6 (48)           H6 (48) AGM
   Chevrolet P30
   1999-94     V8/6.5L                                                      600                    78                —
   1999-91     V6/4.3L                                                      600                    78                —
   1999-91     V8/5.7L                                                      600                    78                —
   1999-90     V8/7.4L                                                      600                    78                —
   1993-90     V8/6.2L                                                      600                    78                —
   1991-90     L4/3.9L                                                      425                    75                —
   1991-90     L4/3.9L                                                      630                    78                —
   1990        V6/4.3L                                                      525                    75                —
   1990-87     V8/5.7L                                                      525                    75                —
   Chevrolet R Series Pickup (See C/K, R/V Pickups)
   Chevrolet Silverado (1500, 2500, 3500)
   2020        V8/5.3L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2020        V8/6.2L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2020        V8/6.6L     Auxiliary Battery, 2500 HD                       730                    H6 (48)           H6 (48) AGM
   2020        V8/6.6L     Auxiliary Battery, 3500 HD                       730                    H6 (48)           H6 (48) AGM
   2020-19     L4/2.7L                                                      72033                  H7 (94R) AGM      —
   2020-19     V8/5.3L     VIN F                                            720                    H7 (94R)          H7 (94R) AGM
   2020-19     V8/5.3L     VIN D                                            73033                  H7 (94R) AGM      —
   2020-19     V8/6.2L                                                      72033                  H7 (94R) AGM      —
   2020-19     V8/6.2L                                                      72033                  H7 (94R) AGM      —
   2020-19     V8/6.6L     2500 HD Opt, AGM                                 73033                  H7 (94R) AGM      —
   2020-19     V8/6.6L     3500 HD Opt, AGM                                 73033                  H7 (94R) AGM      —
   2020-19     V8/6.6L     Dsl, 2500 HD                                     7302                   H6 (48)           H6 (48) AGM
   2020-19     V8/6.6L     Dsl, 3500 HD                                     7302                   H6 (48)           H6 (48) AGM
   2020-14     V6/4.3L                                                      730                    H6 (48)           H6 (48) AGM
   2018-15     V8/6.6L     Dsl, Auxiliary                                   7302                   H6 (48)           H6 (48) AGM
   2018-14     V8/5.3L                                                      720                    H7 (94R)          H7 (94R) AGM
   2018-14     V8/6.0L                                                      720                    H7 (94R)          H7 (94R) AGM
   2018-14     V8/6.2L                                                      720                    H7 (94R)          H7 (94R) AGM
   2018-08     V8/6.6L     Dsl                                              7302                   H6 (48)           H6 (48) AGM
   2014        V6/4.3L                                                      720                    H7 (94R)          H7 (94R) AGM
   2014-09     V6/4.3L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2014-09     V8/5.3L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2013-09     V6/4.3L                                                      615                    H6 (48)           H6 (48) AGM
   2013-09     V8/4.8L                                                      615                    H6 (48)           H6 (48) AGM
   2013-09     V8/4.8L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2013-09     V8/5.3L                                                      615                    H6 (48)           H6 (48) AGM
   2013-09     V8/6.0L                                                      615                    H6 (48)           H6 (48) AGM
   2013-09     V8/6.0L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2013-09     V8/6.2L                                                      615                    H6 (48)           H6 (48) AGM
   2013-09     V8/6.2L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2010-09     V8/6.0L     HD, Hybrid                                       730                    H6 (48)           H6 (48) AGM
   2008-07     V6/4.3L     From Late 2007                                   615                    H6 (48)           H6 (48) AGM
   2008-07     V8/4.8L     From Late 2007                                   615                    H6 (48)           H6 (48) AGM
   2008-07     V8/5.3L     From Late 2007                                   615                    H6 (48)           H6 (48) AGM
   2008-07     V8/6.0L     From Late 2007                                   615                    H6 (48)           H6 (48) AGM
   2007-06     V6/4.3L     Early 2007                                       600                    78                —
   2007-06     V8/4.8L     Early 2007                                       600                    78                —
   2007-06     V8/5.3L     Early 2007                                       600                    78                —
   2007-06     V8/6.0L     Early 2007                                       600                    78                —
   2007-03     V8/6.6L     Dsl                                              770                    78                —
   2007-01     V8/6.6L     Dsl                                              600                    78                —
   2006        V8/8.1L     Early 2007                                       600                    78                —
   2005-99     V6/4.3L                                                      600                    78                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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54                                                             Automotive/Light Truck
  YEAR      ENGINE                                   OPTIONS                 ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                 CCA/RATING             (NOTES)            (NOTES)

Chevrolet Silverado (1500, 2500, 3500) (continued)
2005-99   V6/4.3L    Opt                                                   770                    78                —
2005-99   V8/4.8L                                                          600                    78                —
2005-99   V8/4.8L    Opt                                                   770                    78                —
2005-99   V8/5.3L                                                          600                    78                —
2005-99   V8/5.3L    Opt                                                   770                    78                —
2005-99   V8/6.0L                                                          600                    78                —
2005-99   V8/6.0L    Opt                                                   770                    78                —
2005-01   V8/8.1L                                                          600                    78                —
2005-01   V8/8.1L    Opt                                                   770                    78                —
2002-01   V8/6.6L    Dsl, HD                                               7702                   78                —
2002-01   V8/6.6L    Dsl, Opt                                              7702                   78                —
Chevrolet Silverado 1500
2021      V8/6.2L                                                          73033                  H7 (94R) AGM      —
2021-20   L6/3.0L    Dsl                                                   85033                  H8 (49) AGM       —
2021-19   L4/2.7L                                                          73033                  H7 (94R) AGM      —
2021-19   V8/5.3L    VIN D                                                 73033                  H7 (94R) AGM      —
Chevrolet Silverado 1500 LD
2019      V8/5.3L                                                          720                    H7 (94R)          H7 (94R) AGM
Chevrolet Silverado 2500 HD
2021      V8/6.6L    Dsl                                                   7302                   H6 (48)           H5 (47) AGM
Chevrolet Silverado 2500 HD Classic
2007      V8/8.1L    Early                                                 600                    78                —
2007      V8/8.1L    Late                                                  615                    H6 (48)           H6 (48) AGM
Chevrolet Silverado 3500 Classic
2007      V8/6.0L    Early                                                 600                    78                —
2007      V8/6.0L    Late                                                  615                    H6 (48)           H6 (48) AGM
2007      V8/6.6L    Dsl                                                   7702                   78                —
2007      V8/8.1L    Early                                                 600                    78                —
2007      V8/8.1L    Late                                                  615                    H6 (48)           H6 (48) AGM
Chevrolet Silverado 3500 HD
2021      V8/6.6L    Dsl                                                   7302                   H6 (48)           H5 (47) AGM
Chevrolet Sonic
2020-12 L4/1.4L                                                            525                    H5 (47)           H5 (47) AGM
2018-12 L4/1.8L                                                            525                    H5 (47)           H5 (47) AGM
Chevrolet Spark
2021-16 L4/1.4L                                                            37554                  —                 —
2015-13 L4/1.2L                                                            375                    —                 —
2015-13 L4/1.2L                                                            410                    —                 —
Chevrolet Spark EV
2016-14              Electric                                              52033                  —                 —
Chevrolet SS
2017-14 V8/6.2L                                                            73033, 50              H6 (48) AGM       —
Chevrolet S-Series: Blazer, Pickup
2004-94   V6/4.3L    Opt                                                   690                    —                 —
2004-88   V6/4.3L                                                          525                    75                —
2003-94   L4/2.2L                                                          525                    75                —
2003-94   L4/2.2L    Opt                                                   690                    —                 —
1993-90   L4/2.5L    Opt                                                   630                    78                —
1993-88   V6/4.3L    Opt                                                   630                    78                —
1993-87   V6/2.8L    Opt                                                   630                    78                —
1989-87   V6/2.8L                                                          525                    75                —
Chevrolet SSR
2006-05 V8/6.0L                                                            600                    78                —
2004-03 V8/5.3L                                                            600                    78                —
Chevrolet Suburban
2021      L6/3.0L                                                          85033                  H8 (49) AGM       —
2021      V8/5.3L                                                          73033                  H7 (94R) AGM      —
2021      V8/6.2L                                                          73033                  H7 (94R) AGM      —
2020-19   V8/5.3L                                                          720                    H7 (94R)          H7 (94R) AGM
2020-19   V8/5.3L    Auxiliary Battery                                     730                    H6 (48)           H6 (48) AGM
2020-19   V8/6.2L                                                          720                    H7 (94R)          H7 (94R) AGM
2020-19   V8/6.2L    Auxiliary Battery                                     730                    H6 (48)           H6 (48) AGM
2014-12   V8/5.3L                                                          660                    H6 (48)           H6 (48) AGM
2014-09   V8/5.3L    Opt                                                   730                    H6 (48)           H6 (48) AGM
2013-12   V8/6.0L                                                          660                    H6 (48)           H6 (48) AGM
2013-09   V8/6.0L    Opt                                                   730                    H6 (48)           H6 (48) AGM
2011-07   V8/5.3L                                                          615                    H6 (48)           H6 (48) AGM
2011-07   V8/6.0L                                                          615                    H6 (48)           H6 (48) AGM
2006      V8/6.0L    Opt                                                   690                    78                —
                                                                          See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   55
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Chevrolet Suburban (continued)
   2006-01     V8/8.1L                                                      600                    78                —
   2006-00     V8/5.3L     Primary Battery                                  600                    78                —
   2006-00     V8/6.0L                                                      600                    78                —
   2005-03     V8/5.3L     Opt                                              770                    78                —
   2005-03     V8/6.0L     Opt                                              770                    78                —
   2005-03     V8/8.1L     Opt                                              770                    78                —
   2002-01     V8/8.1L     Opt                                              690                    78                —
   2002-00     V8/5.3L     Opt                                              690                    78                —
   2002-00     V8/6.0L     Opt                                              690                    78                —
   2000        V8/5.3L     HD or PPkg                                       770                    78                —
   2000        V8/5.3L     PPkg & Opt                                       770                    78                —
   2000        V8/6.0L     HD or PPkg                                       770                    78                —
   Chevrolet Suburban 3500 HD
   2020-19 V8/6.0L         Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2019-16 V8/6.0L                                                          720                    H7 (94R)          H7 (94R) AGM
   Chevrolet Tahoe
   2020-19     V8/5.3L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2020-19     V8/6.2L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2020-18     V8/6.2L                                                      720                    H7 (94R)          H7 (94R) AGM
   2020-15     V8/5.3L                                                      720                    H7 (94R)          H7 (94R) AGM
   2015-12     V8/5.3L                                                      660                    H6 (48)           H6 (48) AGM
   2015-09     V8/5.3L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2013-12     V8/6.0L     Hybrid                                           660                    H6 (48)           H6 (48) AGM
   2013-09     V8/6.0L     Hybrid, Opt                                      730                    H6 (48)           H6 (48) AGM
   2011-08     V8/6.0L     Hybrid                                           615                    H6 (48)           H6 (48) AGM
   2011-07     V8/5.3L                                                      615                    H6 (48)           H6 (48) AGM
   2009        V8/4.8L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2009-08     V8/6.2L                                                      615                    H6 (48)           H6 (48) AGM
   2009-08     V8/6.2L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2009-07     V8/4.8L                                                      615                    H6 (48)           H6 (48) AGM
   2006-00     V8/4.8L                                                      600                    78                —
   2006-00     V8/5.3L                                                      600                    78                —
   2005-03     V8/4.8L     Opt                                              770                    78                —
   2005-03     V8/5.3L     Opt                                              770                    78                —
   2002-00     V8/4.8L     Opt                                              690                    78                —
   2001-00     V8/5.3L     Opt                                              690                    78                —
   2000-99     V8/5.7L     Opt                                              690                    78                —
   2000-95     V8/5.7L                                                      600                    78                —
   1999        V8/5.7L     HD, PPkg                                         770                    78                —
   1999        V8/6.5L     Dsl                                              690                    78                —
   1998-97     V8/6.5L     Dsl                                              600                    78                —
   1996-95     V8/6.5L     Dsl                                              770                    78                —
   Chevrolet Tracker
   2004-01     V6/2.5L                                                      600                    —                 —
   2003        L4/2.0L                                                      600                    —                 —
   2002-99     L4/1.6L                                                      550                    —                 —
   2002-99     L4/2.0L                                                      550                    —                 —
   1998        L4/1.6L                                                      500                    26R               —
   1991-90     L4/1.6L                                                      525                    —                 —
   1989        L4/1.6L                                                      470                    51                —
   Chevrolet TrailBlazer
   2009-06 V8/6.0L                                                          60040                  78                —
   2009-02 L6/4.2L                                                          60040                  78                —
   2008-06 V8/5.3L                                                          60040                  78                —
   Chevrolet TrailBlazer EXT
   2006-03 V8/5.3L                                                          60040                  78                —
   2006-02 L6/4.2L                                                          60040                  78                —
   Chevrolet Traverse
   2021-18     V6/3.6L                                                      73033                  H7 (94R) AGM      —
   2019-18     L4/2.0L                                                      73033                  H7 (94R) AGM      —
   2019-18     V6/3.6L                                                      73033                  H7 (94R) AGM      —
   2017-10     V6/3.6L                                                      66050                  H6 (48)           H6 (48) AGM
   2009        V6/3.6L                                                      73050                  H6 (48)           H6 (48) AGM
   Chevrolet Trax
   2020-18 L4/1.4L         w/o Start-Stop                                   525                    H5 (47)           H5 (47) AGM
   2020-18 L4/1.4L         w/Start-Stop                                     73033                  H6 (48) AGM       —
   2017-13 L4/1.4L                                                          525                    H5 (47)           H5 (47) AGM
   Chevrolet Uplander
   2009-06 V6/3.9L                                                          600                    34                —
   2006-05 V6/3.5L                                                          600                    34                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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56                                                                      Automotive/Light Truck
  YEAR      ENGINE                                            OPTIONS                    ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                             CCA/RATING             (NOTES)            (NOTES)

Chevrolet V Series Pickup (See C/K, R/V Pickups)
Chevrolet Volt
2019      L4/1.5L    Hybrid                                                            63033, 50              H5 (47) AGM       —
2018-16   L4/1.5L    Hybrid                                                            60033, 50              H5 (47) AGM       —
2016      L4/1.5L    Hybrid                                                            63033, 50              H5 (47) AGM       —
2015-11   L4/1.4L    Hybrid                                                            60033, 50              H5 (47) AGM       —
2015-11   L4/1.4L    Hybrid                                                            63033, 50              H5 (47) AGM       —
Chrysler 200
2017-15   L4/2.4L                                                                      600                    H6 (48)           H6 (48) AGM
2017-15   L4/2.4L    Opt                                                               730                    H7 (94R)          H7 (94R) AGM
2017-15   V6/3.6L                                                                      600                    H6 (48)           H6 (48) AGM
2017-15   V6/3.6L    Opt                                                               730                    H7 (94R)          H7 (94R) AGM
2014-11   L4/2.4L                                                                      525                    86                —
2014-11   V6/3.6L                                                                      525                    86                —
Chrysler 300
2021-11   V6/3.6L                                                                      73050                  H7 (94R)          H7 (94R) AGM
2021-10   V8/5.7L                                                                      73050                  H7 (94R)          H7 (94R) AGM
2020-05   V8/5.7L                                                                      73050                  H7 (94R)          H7 (94R) AGM
2014-12   V8/6.4L                                                                      73050                  H7 (94R)          H7 (94R) AGM
2010-05   V6/2.7L                                                                      73050                  H7 (94R)          H7 (94R) AGM
2010-05   V6/3.5L                                                                      73050                  H7 (94R)          H7 (94R) AGM
2010-05   V8/6.1L                                                                      73050                  H7 (94R)          H7 (94R) AGM
2009-08   V6/3.5L                                                                      73050, 57              H7 (94R)          H7 (94R) AGM
Chrysler 300M
2004-99 V6/3.5L                                                                        600                    34                —
Chrysler Aspen
2009-08   V8/4.7L                                                                      75057                  65                65 AGM
2009-08   V8/5.7L                                                                      75057                  65                65 AGM
2007      V8/4.7L                                                                      750                    65                65 AGM
2007      V8/5.7L                                                                      750                    65                65 AGM
Chrysler Cirrus
2000-95 L4/2.4L                                                                        510                    75                —
2000-95 V6/2.5L                                                                        510                    75                —
2000    L4/2.0L                                                                        510                    75                —
Chrysler Concorde, Intrepid, LHS
2004-98   V6/2.7L                                                                      500                    34                —
2004-95   V6/3.5L                                                                      600                    34                —
2001-98   V6/3.2L                                                                      600                    34                —
1997-95   V6/3.3L                                                                      600                    34                —
1994-93   V6/3.3L                                                                      500                    34                —
1994-93   V6/3.5L                                                                      500                    34                —
Chrysler &URVVğUH
2008      V6/3.2L                                                                      70050                  H6 (48)           H6 (48) AGM
2007-06   V6/3.2L                                                                      64050                  H6 (48)           H6 (48) AGM
2005      V6/3.2L                                                                      70050                  H6 (48)           H6 (48) AGM
2004      V6/3.2L                                                                      58050                  H6 (48)           H6 (48) AGM
Chrysler Daytona, Dynasty
1993-92   L4/2.2L                                                                      600                    34                —
1993-92   L4/2.5L                                                                      600                    34                —
1993-91   V6/3.3L                                                                      500                    34                —
1993-89   V6/3.0L                                                                      500                    34                —
1991      L4/2.5L                                                                      625                    34                —
1991      L4/2.5L    Ex Turbo                                                          625                    34                —
1991      L4/2.5L    Turbo                                                             500                    34                —
1991      V6/3.0L                                                                      625                    34                —
1990      V6/3.3L                                                                      600                    34                —
1990-88   L4/2.2L                                                                      500                    34                —
1990-88   L4/2.5L                                                                      500                    34                —
Chrysler Grand Voyager, Voyager
2020      V6/3.6L    w/Start-Stop                                                      65033, 50              H6 (48) AGM       —
2020      V6/3.6L    Auxiliary Battery for Start-Stop                                  20033, 50              —                 —
2020      V6/3.6L    w/o Start-Stop                                                    73033, 50              H7 (94R) AGM      —
2003-01   V6/3.3L                                                                      600                    34                —
2003-00   L4/2.4L                                                                      600                    34                —
2000      V6/3.0L                                                                      500                    34                —
2000      V6/3.3L                                                                      500                    34                —
2000      V6/3.3L    Opt                                                               600                    34                —
Chrysler Imperial
1993-91 V6/3.8L                                                                        500                    34                —
1991-90 V6/3.3L                                                                        500                    34                —
                                                                                      See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   57
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Chrysler LeBaron
   1995-92     V6/3.0L                                                      500                    34                —
   1994-92     L4/2.5L                                                      600                    34                —
   1991        L4/2.5L     Convertible, Turbo                               500                    34                —
   1991        L4/2.5L     Coupe, Ex Turbo                                  625                    34                —
   1991        L4/2.5L     Coupe, Turbo                                     500                    34                —
   1991        L4/2.5L     Coupe/Conv, Ex Turbo                             625                    34                —
   1991        L4/2.5L     Coupe/Conv, Turbo                                500                    34                —
   1991        L4/2.5L     Sedan                                            625                    34                —
   1991        V6/3.0L     Coupe/Conv                                       625                    34                —
   1991        V6/3.0L     Sedan                                            625                    34                —
   1990        V6/3.0L                                                      500                    34                —
   1990-88     L4/2.2L                                                      500                    34                —
   1990-88     L4/2.5L                                                      500                    34                —
   Chrysler Neon
   2002-00 L4/2.0L                                                          450                    26R               —
   Chrysler New Yorker
   1996-95     V6/3.5L                                                      600                    34                —
   1994        V6/3.5L                                                      500                    34                —
   1993-91     V6/3.8L                                                      500                    34                —
   1993-90     V6/3.3L                                                      500                    34                —
   Chrysler 3DFLğFD
   2021-17     V6/3.6L     Auxiliary for Start-Stop                         20033, 50              —                 —
   2021-17     V6/3.6L     w/Start-Stop                                     65033, 50              H6 (48) AGM       —
   2021-17     V6/3.6L     w/o Start-Stop                                   730                    H7 (94R)          H7 (94R) AGM
   2017        V6/3.6L     Gas                                              750                    H7 (94R)          H7 (94R) AGM
   2008-07     V6/3.8L                                                      600                    34                —
   2008-07     V6/4.0L                                                      600                    34                —
   2006-05     V6/3.5L                                                      600                    34                —
   2005        V6/3.8L                                                      600                    34                —
   2004        V6/3.5L                                                      500                    34                —
   Chrysler Prowler
   2002-01 V6/3.5L                                                          525                    34                —
   Chrysler PT Cruiser
   2010-03 L4/2.4L                                                          510                    26R               —
   2002-01 L4/2.4L                                                          540                    26R               —
   Chrysler Sebring
   2010-07     V6/3.5L     Top Terminal                                     525                    86                —
   2010-01     L4/2.4L     Top Terminal                                     525                    86                —
   2010-01     L4/2.4L     w/side Terminals                                 510                    75                —
   2010-01     V6/2.7L     Top Terminal                                     525                    86                —
   2010-01     V6/2.7L     w/side Terminals                                 510                    75                —
   2005-01     V6/3.0L     Top Terminal                                     525                    86                —
   2005-01     V6/3.0L     w/side Terminals                                 510                    75                —
   2000-98     V6/2.5L     Top Terminal                                     525                    86                —
   2000-95     V6/2.5L     w/side Terminals                                 510                    75                —
   1999-98     L4/2.0L     Top Terminal                                     525                    86                —
   1999-98     L4/2.0L     w/side Terminals                                 510                    75                —
   1998-96     L4/2.4L     Conv                                             510                    75                —
   1997-96     L4/2.0L     Ex Conv w/MT                                     430                    86                —
   1997-95     L4/2.0L     Top Terminal, Ex Conv, Ex MT                     525                    86                —
   1997-95     V6/2.5L     Top Terminal, Ex Conv, Ex MT                     525                    86                —
   Chrysler TC by Maserati
   1991-90 V6/3.0L                                                          500                    34                —
   1990-89 L4/2.2L                                                          500                    34                —
   Chrysler Town & Country
   2016-12 V6/3.6L                                                          730                    H7 (94R)          H7 (94R) AGM
   2011       V6/3.6L                                                       700                    H7 (94R)          H7 (94R) AGM
   2010       V6/3.3L                                                       600                    34                —
   2010       V6/3.8L                                                       600                    34                —
   2010       V6/4.0L                                                       600                    34                —
   2009-08 V6/3.3L                                                          60057                  34                —
   2009-08 V6/3.8L                                                          60057                  34                —
   2009-08 V6/4.0L                                                          60057                  34                —
   2007       V6/3.3L                                                       600                    34                —
   2007       V6/3.8L                                                       600                    34                —
   2006-96 V6/3.3L                                                          500                    34                —
   2006-94 V6/3.8L                                                          500                    34                —
   2006-94 V6/3.8L         Opt                                              600                    34                —
   2006-04 V6/3.3L         Opt                                              600                    34                —
   1997       V6/3.8L                                                       600                    34                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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58                                                          Automotive/Light Truck
  YEAR      ENGINE                                OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                           CCA/RATING             (NOTES)            (NOTES)

Chrysler Town & Country (continued)
1993-92 V6/3.3L                                                      500                    34                —
1991-90 V6/3.3L                                                      625                    34                —
Chrysler Voyager
2021-20 V6/3.6L      Auxiliary for Start-Stop                        20033, 50              —                 —
2021-20 V6/3.6L      w/Start-Stop                                    65033, 50              H6 (48) AGM       —
Daewoo Lanos
2002-99 L4/1.5L                                                      52511                  86                —
2002-99 L4/1.6L                                                      52511                  86                —
Daewoo Leganza
2002-01 L4/2.2L                                                      62011                  86                —
2000-99 L4/2.2L                                                      63011                  86                —
Daewoo Nubira
2002-01 L4/2.0L                                                      62011                  86                —
2000-99 L4/2.0L                                                      63011                  86                —
Daihatsu Charade
1992-89 L4/1.3L                                                      500                    26R               —
1992-88 L3/1.0L                                                      500                    26R               —
Daihatsu Rocky
1992-90 L4/1.6L                                                      500                    —                 —
Dodge 2000 GTX
1990      L4/2.0L                                                    500                    24                —
Dodge Avenger
2014-11   V6/3.6L                                                    525                    86                —
2014-08   L4/2.4L                                                    525                    86                —
2010-08   V6/2.7L                                                    525                    86                —
2010-08   V6/3.5L                                                    525                    86                —
2009-08   V6/3.5L                                                    52557                  86                —
2000-95   V6/2.5L                                                    525                    86                —
1999-95   L4/2.0L                                                    525                    86                —
1997-95   L4/2.0L    MT                                              430                    86                —
Dodge B-Series Vans (150, 250, 350, 1500, 3500)
1998-96   V8/5.2L                                                    600                    27                —
1998-96   V8/5.2L    Opt                                             750                    27                —
1998-92   V6/3.9L    Ex T-Series                                     600                    27                —
1998-92   V6/3.9L    HD, Ex T-Series                                 750                    27                —
1998-92   V8/5.2L    Ex T-Series                                     600                    27                —
1998-92   V8/5.2L    HD, Ex T-Series                                 750                    27                —
1998-92   V8/5.9L    Ex T-Series                                     600                    27                —
1998-92   V8/5.9L    HD, Ex T-Series                                 750                    27                —
1995      V8/5.2L    Cutaway                                         81016                  —                 —
1995      V8/5.2L    Ex Cutaway                                      600                    27                —
1995      V8/5.2L    Ex Cutaway Opt                                  750                    27                —
1995-88   V6/3.9L    T-Series                                        81016                  —                 —
1995-88   V8/5.2L    T-Series                                        81016                  —                 —
1995-88   V8/5.9L    T-Series                                        81016                  —                 —
1991-89   V8/5.9L                                                    685                    34                —
1991-88   V6/3.9L                                                    600                    34                —
1991-88   V6/3.9L    Opt                                             685                    34                —
1991-88   V8/5.2L                                                    600                    34                —
1991-88   V8/5.2L    Opt                                             685                    34                —
Dodge Caliber
2012-07 L4/2.0L                                                      525                    86                —
2011-07 L4/2.4L                                                      525                    86                —
2009-07 L4/1.8L                                                      525                    86                —
Dodge Caravan, Grand Caravan
2020-12   V6/3.6L                                                    730                    H7 (94R)           H7 (94R) AGM
2011      V6/3.6L                                                    700                    H7 (94R)           H7 (94R) AGM
2010      V6/3.8L                                                    600                    34                 —
2010      V6/4.0L                                                    600                    34                 —
2010-07   V6/3.3L                                                    600                    34                 —
2009-08   V6/3.3L                                                    60057                  34                 —
2009-08   V6/3.8L                                                    60057                  34                 —
2009-08   V6/4.0L                                                    60057                  34                 —
2007      L4/2.4L                                                    600                    34                 —
2007      V6/3.8L                                                    600                    34                 —
2006-90   V6/3.3L                                                    500                    34                 —
2006-04   V6/3.8L    Opt                                             600                    34                 —
2006-03   L4/2.4L                                                    500                    34                 —
2006-03   L4/2.4L    Opt                                             600                    34                 —
                                                                    See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   59
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Dodge Caravan, Grand Caravan (continued)
   2006-03     V6/3.8L                                                      500                    34                —
   2006-01     V6/3.3L     Opt                                              600                    34                —
   2002-96     L4/2.4L                                                      600                    34                —
   2002-94     V6/3.8L                                                      600                    34                —
   2000-90     V6/3.0L                                                      500                    34                —
   1999-96     L4/2.4L     Opt                                              685                    34                —
   1999-94     V6/3.8L     Opt                                              685                    34                —
   1999-92     V6/3.0L     Opt                                              685                    34                —
   1999-92     V6/3.3L     Opt                                              685                    34                —
   1995-92     L4/2.5L                                                      600                    34                —
   1995-92     L4/2.5L     Opt                                              685                    34                —
   1991-90     V6/3.3L     Opt                                              625                    34                —
   1991-88     L4/2.5L                                                      500                    34                —
   1990        L4/2.5L     Opt                                              625                    34                —
   1990        V6/3.0L     Opt                                              625                    34                —
   Dodge Challenger
   2021-15     V8/6.2L                                                      73050                  H7 (94R)          H7 (94R) AGM
   2021-11     V6/3.6L                                                      73050                  H7 (94R)          H7 (94R) AGM
   2021-11     V8/6.4L                                                      73050                  H7 (94R)          H7 (94R) AGM
   2021-10     V8/5.7L                                                      73050                  H7 (94R)          H7 (94R) AGM
   2010-09     V6/3.5L                                                      73050                  H7 (94R)          H7 (94R) AGM
   2010-08     V8/6.1L                                                      73050                  H7 (94R)          H7 (94R) AGM
   1974        V8/5.9L                                                      440                    24                —
   1974-72     V8/6.6L                                                      350                    27                —
   1974-71     V8/5.9L                                                      350                    27                —
   1974-70     V8/5.2L                                                      350                    27                —
   1973-70     V8/5.6L                                                      350                    27                —
   1972-70     L6/3.7L                                                      350                    27                —
   1972-70     V8/7.2L                                                      350                    27                —
   1971-70     L6/3.2L                                                      350                    27                —
   1971-70     V8/6.3L                                                      350                    27                —
   1971-70     V8/7.0L                                                      350                    27                —
   Dodge Charger
   2021       V6/3.6L      PPkg                                             80033, 50              H8 (49) AGM       —
   2021       V8/5.7L      PPkg                                             80033, 50              H8 (49) AGM       —
   2021-17 V8/6.4L                                                          73050                  H7 (94R)          H7 (94R) AGM
   2021-15 V8/6.2L                                                          73050                  H7 (94R)          H7 (94R) AGM
   2021-11 V6/3.6L         Ex PPkg                                          73050                  H7 (94R)          H7 (94R) AGM
   2021-10 V8/5.7L         Ex PPkg                                          73050                  H7 (94R)          H7 (94R) AGM
   2020-11 V6/3.6L         PPkg                                             80050                  —                 H8 (49) AGM
   2020-11 V8/5.7L         PPkg                                             80050                  —                 H8 (49) AGM
   2020-10 V8/5.7L         Ex PPkg                                          73050                  H7 (94R)          H7 (94R) AGM
   2016-12 V8/6.4L         Ex PPkg                                          73050                  H7 (94R)          H7 (94R) AGM
   2016-12 V8/6.4L         PPkg                                             80050                  —                 H8 (49) AGM
   2010       V6/2.7L                                                       73050                  H7 (94R)          H7 (94R) AGM
   2010       V6/3.5L      Ex PPkg                                          73050                  H7 (94R)          H7 (94R) AGM
   2010       V6/3.5L      PPkg                                             80050                  —                 H8 (49) AGM
   2010       V8/5.7L      PPkg                                             85050                  —                 H8 (49) AGM
   2010       V8/6.1L      Ex PPkg                                          73050                  H7 (94R)          H7 (94R) AGM
   2010       V8/6.1L      PPkg                                             85050                  —                 H8 (49) AGM
   2010-06 V6/2.7L         Ex PPkg                                          73050                  H7 (94R)          H7 (94R) AGM
   2009       V6/3.5L      PPkg                                             80050, 57              —                 H8 (49) AGM
   2009       V8/5.7L      PPkg                                             80050, 57              —                 H8 (49) AGM
   2009       V8/6.1L      Ex PPkg                                          73050, 57              H7 (94R)          H7 (94R) AGM
   2009       V8/6.1L      PPkg                                             80050, 57              —                 H8 (49) AGM
   2009-08 V6/2.7L                                                          73050, 57              H7 (94R)          H7 (94R) AGM
   2009-08 V6/3.5L         Ex PPkg                                          73050, 57              H7 (94R)          H7 (94R) AGM
   2009-08 V8/5.7L         Ex PPkg                                          73050, 57              H7 (94R)          H7 (94R) AGM
   2008       V6/3.5L      PPkg                                             85050, 57              —                 H8 (49) AGM
   2008-06 V8/5.7L         PPkg                                             85050                  —                 H8 (49) AGM
   2008-06 V8/6.1L         Ex PPkg                                          73050                  H7 (94R)          H7 (94R) AGM
   2008-06 V8/6.1L         PPkg                                             85050                  —                 H8 (49) AGM
   2007-06 V6/2.7L                                                          73050                  H7 (94R)          H7 (94R) AGM
   2007-06 V6/3.5L         Ex PPkg                                          73050                  H7 (94R)          H7 (94R) AGM
   2007-06 V6/3.5L         PPkg                                             85050                  —                 H8 (49) AGM
   2007-06 V8/5.7L         Ex PPkg                                          73050                  H7 (94R)          H7 (94R) AGM
   1977-72 V8/6.6L                                                          350                    27                —
   1977-71 V8/5.9L                                                          350                    27                —
   1977-66 V8/5.2L                                                          350                    27                —
   1976-68 L6/3.7L                                                          350                    27                —
   1974       V8/5.9L                                                       440                    24                —
   1974-67 V8/7.2L                                                          350                    27                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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60                                                   Automotive/Light Truck
  YEAR      ENGINE                         OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                    CCA/RATING             (NOTES)            (NOTES)

Dodge Charger (continued)
1973-70   V8/5.6L                                             350                    27                —
1971-66   V8/6.3L                                             350                    27                —
1971-66   V8/7.0L                                             350                    27                —
1969      V8/7.2L                                             440                    27                —
1967      V8/4.5L                                             350                    27                —
1966      V8/5.9L                                             350                    24                —
Dodge Colt
1995-93   L4/1.5L    Canada                                   580                    24                —
1995-93   L4/1.5L    US                                       435                    51                —
1994-93   L4/1.8L    Canada                                   580                    24                —
1994-93   L4/1.8L    US                                       435                    51                —
1994-93   L4/2.4L    Canada                                   580                    24                —
1994-93   L4/2.4L    US                                       435                    51                —
1992      L4/1.5L    Canada, Ex Wagon                         420                    25                —
1992      L4/1.8L    Canada, Ex Wagon                         420                    25                —
1992      L4/1.8L    US                                       355                    25                —
1992      L4/1.8L    US, HD                                   430                    25                —
1992-91   L4/1.5L    US                                       355                    25                —
1992-91   L4/1.5L    US, HD                                   430                    25                —
1991      L4/2.0L    US                                       435                    51                —
1991-90   L4/1.5L    Canada                                   420                    25                —
1991-84   L4/2.0L    Canada                                   420                    25                —
1990      L4/1.5L                                             435                    51                —
1990      L4/1.5L    Ex Wagon                                 355                    25                —
1990      L4/1.6L                                             435                    51                —
1990      L4/1.6L    Canada                                   420                    25                —
1990      L4/1.8L                                             355                    25                —
1990-89   L4/1.8L    Wagon                                    435                    51                —
1990-89   L4/2.0L    Wagon, US                                435                    51                —
1990-88   L4/1.5L    Wagon                                    435                    51                —
Dodge D/W Series Pickups (150, 250, 350)
1993-92   L6/5.9L                                             600                    27                —
1993-92   L6/5.9L    Opt                                      810                    27                —
1993-92   V6/3.9L                                             600                    27                —
1993-92   V6/3.9L    Opt                                      810                    27                —
1993-92   V8/5.2L                                             600                    27                —
1993-92   V8/5.2L    Opt                                      810                    27                —
1993-92   V8/5.9L                                             600                    27                —
1993-92   V8/5.9L    Opt                                      810                    27                —
1993-89   L6/5.9L    Dsl                                      6002                   27                —
1993-89   L6/5.9L    Dsl                                      10252                  —                 —
1993-89   L6/5.9L    Dsl, Opt                                 7702                   78                —
1991-89   L6/5.9L                                             600                    34                —
1991-89   L6/5.9L    Opt                                      685                    34                —
1991-88   V6/3.9L                                             600                    34                —
1991-88   V6/3.9L    Opt                                      685                    34                —
1991-88   V8/5.2L                                             600                    34                —
1991-88   V8/5.2L    Opt                                      685                    34                —
1991-88   V8/5.9L                                             600                    34                —
1991-88   V8/5.9L    Opt                                      685                    34                —
Dodge Dakota
2010      V6/3.7L                                             600                    65                 65 AGM
2010      V6/3.7L    Opt                                      750                    65                 65 AGM
2010      V8/4.7L                                             600                    65                 65 AGM
2010      V8/4.7L    Opt                                      750                    65                 65 AGM
2009      V6/3.7L    Opt                                      75057                  65                 65 AGM
2009      V8/4.7L    Opt                                      75057                  65                 65 AGM
2009-08   V6/3.7L                                             60057                  65                 65 AGM
2009-08   V8/4.7L                                             60057                  65                 65 AGM
2007-06   V6/3.7L                                             600                    65                 65 AGM
2007-06   V8/4.7L                                             600                    65                 65 AGM
2006      V6/3.7L    Opt                                      650                    65                 65 AGM
2006      V8/4.7L    Opt                                      650                    65                 65 AGM
2005-04   V6/3.7L                                             600                    27                 —
2005-00   V8/4.7L                                             600                    27                 —
2004-01   V8/4.7L    Opt                                      750                    27                 —
2003-98   V8/5.9L                                             600                    27                 —
2003-98   V8/5.9L    Opt                                      750                    27                 —
2003-92   V6/3.9L                                             600                    27                 —
2003-92   V6/3.9L    Opt                                      750                    27                 —
2002-92   L4/2.5L                                             600                    27                 —
1999-92   L4/2.5L    Opt                                      750                    27                 —
                                                             See page 157 for Footnotes. Selection may vary by warehouse.

                                                                                                                            Costco_001860
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 662Dodge
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   Automotive/Light Truck                                                                                                   61
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Dodge Dakota (continued)
   1999-92     V8/5.2L                                                      600                    27                —
   1999-92     V8/5.2L     Opt                                              750                    27                —
   1991-89     L4/2.5L                                                      600                    34                —
   1991-89     L4/2.5L     Opt                                              685                    34                —
   1991-89     V8/5.2L                                                      600                    34                —
   1991-89     V8/5.2L     Opt                                              685                    34                —
   1991-88     V6/3.9L                                                      600                    34                —
   1991-88     V6/3.9L     Opt                                              685                    34                —
   Dodge Dart
   2016        L4/2.0L                                                      600                    —                 —
   2016-14     L4/1.4L                                                      600                    —                 —
   2016-14     L4/2.0L     SE                                               600                    —                 —
   2016-13     L4/2.0L     Ex SE                                            600                    H6 (48)           H6 (48) AGM
   2016-13     L4/2.4L                                                      600                    H6 (48)           H6 (48) AGM
   2016-13     L4/2.4L     Opt                                              500                    H5 (47)           H5 (47) AGM
   2014        L4/1.4L                                                      500                    H5 (47)           H5 (47) AGM
   2014        L4/2.0L                                                      500                    H5 (47)           H5 (47) AGM
   2014-13     L4/1.4L                                                      600                    H6 (48)           H6 (48) AGM
   2014-13     L4/2.0L     SE                                               500                    H5 (47)           H5 (47) AGM
   Dodge Daytona
   1993-92     L4/2.2L                                                      600                    34                —
   1993-92     L4/2.5L                                                      600                    34                —
   1993-90     V6/3.0L                                                      500                    34                —
   1991        L4/2.5L     Ex Turbo                                         625                    34                —
   1991        L4/2.5L     Turbo                                            500                    34                —
   1990-88     L4/2.2L                                                      500                    34                —
   1990-88     L4/2.5L                                                      500                    34                —
   Dodge Durango
   2021-18     V6/3.6L     w/o Start-Stop                                   70033, 50              H7 (94R) AGM      —
   2021-18     V6/3.6L     w/Start-Stop                                     65033, 50              H6 (48) AGM       —
   2021-18     V8/6.4L                                                      70033, 50              H7 (94R) AGM      —
   2021-17     V6/3.6L     Auxiliary for Start-Stop                         20033, 50              —                 —
   2021-17     V6/3.6L     w/Special Service Package                        80033, 50              H8 (49) AGM       —
   2021-14     V8/5.7L     w/o Special Service Package                      70033, 50              H7 (94R) AGM      —
   2021-14     V8/5.7L     w/Special Service Package                        80033, 50              H8 (49) AGM       —
   2020-18     V8/5.7L                                                      70050                  H7 (94R)          H7 (94R) AGM
   2020-18     V8/6.4L                                                      70050                  H7 (94R)          H7 (94R) AGM
   2018        V8/5.7L     Opt                                              80050                  —                 H8 (49) AGM
   2018        V8/6.4L     Opt                                              80050                  —                 H8 (49) AGM
   2016        V6/3.6L     Auxiliary for Start-Stop                         20045                  —                 —
   2017-16     V6/3.6L     w/o Start-Stop                                   80033, 50              H7 (94R) AGM      —
   2017-16     V6/3.6L     w/Start-Stop                                     76033, 50              H6 (48) AGM       —
   2017-15     V8/5.7L                                                      80033, 50              H8 (49) AGM       —
   2015-14     V6/3.6L                                                      73033, 50              H7 (94R) AGM      —
   2013-11     V6/3.6L                                                      70033, 50              H7 (94R) AGM      —
   2013-11     V8/5.7L                                                      70033, 50              H7 (94R) AGM      —
   2009        V6/3.7L                                                      75057                  65                65 AGM
   2009        V8/4.7L                                                      75057                  65                65 AGM
   2009        V8/5.7L                                                      75057                  65                65 AGM
   2009        V8/5.7L     Hybrid                                           50057                  90 (T5)           —
   2008        V6/3.7L                                                      60057                  65                65 AGM
   2008        V8/4.7L                                                      60057                  65                65 AGM
   2008        V8/5.7L                                                      60057                  65                65 AGM
   2007-04     V6/3.7L                                                      600                    65                65 AGM
   2007-04     V8/4.7L                                                      600                    65                65 AGM
   2007-04     V8/5.7L                                                      600                    65                65 AGM
   2006        V8/4.7L     Opt                                              750                    65                65 AGM
   2006        V8/5.7L     Opt                                              750                    65                65 AGM
   2006-04     V6/3.7L     Opt                                              750                    65                65 AGM
   2003-98     V8/5.9L                                                      600                    27                —
   2003-98     V8/5.9L     Opt                                              750                    27                —
   2003-00     V8/4.7L                                                      600                    27                —
   2003-00     V8/4.7L     Opt                                              750                    27                —
   2000-98     V8/5.2L                                                      600                    27                —
   2000-98     V8/5.2L     Opt                                              750                    27                —
   1999-98     V6/3.9L                                                      600                    27                —
   1999-98     V6/3.9L     Opt                                              750                    27                —
   Dodge Dynasty
   1993-92 L4/2.5L                                                          600                    34                —
   1993-90 V6/3.3L                                                          500                    34                —
   1993-88 V6/3.0L                                                          500                    34                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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62                                                           Automotive/Light Truck
  YEAR      ENGINE                                 OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                            CCA/RATING             (NOTES)            (NOTES)

Dodge Dynasty (continued)
1991    L4/2.5L      Ex Turbo                                         625                    34                —
1990-88 L4/2.5L                                                       500                    34                —
Dodge Grand Caravan (See Caravan, Grand Caravan)
Dodge Intrepid
2004-98   V6/2.7L                                                     500                    34                —
2004-00   V6/3.5L                                                     600                    34                —
2000-98   V6/3.2L                                                     600                    34                —
1997-95   V6/3.3L                                                     600                    34                —
1997-95   V6/3.5L                                                     600                    34                —
1994-93   V6/3.3L                                                     500                    34                —
1994-93   V6/3.5L                                                     500                    34                —
Dodge Journey
2019-11 V6/3.6L                                                       525                    86                —
2019-09 L4/2.4L                                                       525                    86                —
2010-09 V6/3.5L                                                       525                    86                —
Dodge Magnum
2008-06   V8/6.1L                                                     73050                  H7 (94R)          H7 (94R) AGM
2008-05   V6/2.7L                                                     73050                  H7 (94R)          H7 (94R) AGM
2008-05   V6/3.5L                                                     73050                  H7 (94R)          H7 (94R) AGM
2008-05   V8/5.7L                                                     73050                  H7 (94R)          H7 (94R) AGM
Dodge Monaco
1992      V6/3.0L                                                     600                    34                —
1991      V6/3.0L                                                     625                    34                —
1990      V6/3.0L                                                     500                    34                —
Dodge Neon
2005-03 L4/2.4L                                                       450                    26R               —
2005-00 L4/2.0L                                                       450                    26R               —
1999-95 L4/2.0L                                                       45035                  58                —
Dodge Nitro
2011-07 V6/3.7L                                                       600                    34                —
2011-07 V6/4.0L                                                       600                    34                —
Dodge Omni
1990      L4/2.2L                                                     430                    34                —
Dodge Ram 50
1993-91   L4/2.4L    4WD                                              435                    51                —
1993-91   L4/2.4L    RWD, Canada                                      490                    24                —
1993-91   L4/2.4L    RWD, US                                          435                    51                —
1992-91   L4/2.4L    RWD, HD, Canada                                  580                    24                —
1991      V6/3.0L    Opt                                              580                    24                —
1991-90   V6/3.0L                                                     490                    24                —
1990      L4/2.4L    Canada                                           580                    24                —
1990      L4/2.4L    US                                               435                    51                —
Dodge Ram Pickup (1500-3500)
2010      L6/6.7L    Dsl                                              7302                   H7 (94R)          H7 (94R) AGM
2010      V6/3.7L                                                     700                    H7 (94R)          H7 (94R) AGM
2010      V8/4.7L                                                     700                    H7 (94R)          H7 (94R) AGM
2010      V8/5.7L                                                     700                    H7 (94R)          H7 (94R) AGM
2009      V6/3.7L    Mexico Production                                70057                  65                65 AGM
2009      V6/3.7L    US Production                                    700                    H7 (94R)          H7 (94R) AGM
2009      V8/4.7L    Mexico Production                                70057                  65                65 AGM
2009      V8/4.7L    US                                               70057                  H7 (94R)          H7 (94R) AGM
2009      V8/4.7L    US Production                                    700                    H7 (94R)          H7 (94R) AGM
2009      V8/5.7L    Mexico Production                                70057                  65                65 AGM
2009      V8/5.7L    US Production                                    700                    H7 (94R)          H7 (94R) AGM
2009-08   L6/6.7L    Dsl                                              7502, 57               65                65 AGM
2008      V6/3.7L                                                     60057                  65                65 AGM
2008      V8/4.7L                                                     60057                  65                65 AGM
2008      V8/5.7L    HD, Mexico Production                            75057                  65                65 AGM
2008      V8/5.7L    HD, US Production                                730                    H7 (94R)          H7 (94R) AGM
2008      V8/5.7L    Mexico Production                                65057                  65                65 AGM
2008      V8/5.7L    US                                               62557                  H7 (94R)          H7 (94R) AGM
2008      V8/5.7L    US Production                                    625                    H7 (94R)          H7 (94R) AGM
2007      L6/6.7L    Dsl                                              7502                   65                65 AGM
2007      V8/4.7L                                                     750                    65                65 AGM
2007-06   V6/3.7L                                                     600                    65                65 AGM
2007-03   V8/5.7L                                                     600                    65                65 AGM
2007-03   V8/5.7L    Opt                                              750                    65                65 AGM
2007-02   L6/5.9L    Dsl                                              7502                   65                65 AGM
2006      V10/8.3L                                                    600                    65                65 AGM
2006      V10/8.3L   Opt                                              750                    65                65 AGM
                                                                     See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   63
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Dodge Ram Pickup (1500-3500) (continued)
   2006        V8/4.7L                                                      600                    65                65 AGM
   2006-03     V6/3.7L     Opt                                              750                    65                65 AGM
   2006-03     V8/4.7L     Opt                                              750                    65                65 AGM
   2005        V8/4.7L                                                      650                    65                65 AGM
   2005-04     V10/8.3L                                                     750                    65                65 AGM
   2005-04     V6/3.7L                                                      650                    65                65 AGM
   2004-03     V8/4.7L                                                      600                    65                65 AGM
   2003-94     V8/5.9L                                                      600                    27                —
   2003-94     V8/5.9L     Opt                                              750                    27                —
   2003        V10/8.0L    Late 2002 on                                     750                    65                65 AGM
   2003        V6/3.7L                                                      600                    65                65 AGM
   2002        L6/5.9L     Dsl, Early, 2500, 3500                           7502                   27                —
   2002        L6/5.9L     Dsl, Late                                        6502                   65                65 AGM
   2002        L6/5.9L     Dsl, Late 2002, 2500, 3500                       7502                   65                65 AGM
   2002        V10/8.0L    Late 2002                                        650                    65                65 AGM
   2002        V6/3.7L     Early or HD                                      750                    27                —
   2002        V6/3.7L     Late 2002                                        650                    65                65 AGM
   2002        V8/4.7L     Late 2002                                        650                    65                65 AGM
   2002        V8/4.7L     Late 2002, 2500, 3500                            750                    27                —
   2002        V8/5.9L     Early or HD                                      750                    27                —
   2002        V8/5.9L     Late                                             650                    65                65 AGM
   2002        V8/5.9L     Late 2002                                        650                    65                65 AGM
   2002-01     V10/8.0L    Early 2002                                       750                    27                —
   2001-97     L6/5.9L     Dsl or HD                                        7502                   27                —
   2001-94     V6/3.9L                                                      600                    27                —
   2001-94     V6/3.9L     Opt                                              750                    27                —
   2001-94     V8/5.2L                                                      600                    27                —
   2001-94     V8/5.2L     Opt                                              750                    27                —
   2001-00     L6/5.9L     Dsl                                              7502                   27                —
   2000-94     V10/8.0L                                                     750                    27                —
   1996-94     L6/5.9L                                                      600                    27                —
   1996-94     L6/5.9L     Dsl                                              7502                   27                —
   Dodge Ram Van (1500-3500)
   2003-99     V6/3.9L                                                      600                    27                —
   2003-99     V6/3.9L     Opt                                              750                    27                —
   2003-99     V8/5.2L                                                      600                    27                —
   2003-99     V8/5.2L     Opt                                              750                    27                —
   2003-99     V8/5.9L                                                      600                    27                —
   2003-99     V8/5.9L     Opt                                              750                    27                —
   Dodge Ramcharger
   1993-92     V8/5.2L                                                      610                    27                —
   1993-92     V8/5.2L     Opt                                              685                    27                —
   1993-92     V8/5.9L                                                      610                    27                —
   1993-92     V8/5.9L     Opt                                              685                    27                —
   1991-89     V8/5.2L     Opt                                              685                    34                —
   1991-89     V8/5.9L     Opt                                              685                    34                —
   1991-88     V8/5.2L                                                      600                    34                —
   1991-88     V8/5.9L                                                      600                    34                —
   Dodge Shadow
   1994-92     L4/2.5L                                                      600                    34                —
   1994-92     V6/3.0L                                                      500                    34                —
   1994-90     L4/2.2L                                                      500                    34                —
   1991        L4/2.5L                                                      625                    34                —
   1990-88     L4/2.5L                                                      500                    34                —
   Dodge Spirit
   1995-91     L4/2.5L                                                      600                    34                —
   1995-89     V6/3.0L                                                      500                    34                —
   1992-91     L4/2.2L                                                      600                    34                —
   1990-89     L4/2.5L                                                      500                    34                —
   Dodge Sprinter 2500
   2009-07 V6/3.0L         Dsl                                              85050                  —                 H8 (49) AGM
   2008-07 V6/3.5L                                                          85050                  —                 H8 (49) AGM
   2006-03 L5/2.7L         Dsl                                              85050                  —                 H8 (49) AGM
   Dodge Sprinter 3500
   2009-07 V6/3.0L         Dsl                                              85050                  —                 H8 (49) AGM
   2008-07 V6/3.5L                                                          85050                  —                 H8 (49) AGM
   2006-03 L5/2.7L         Dsl                                              85050                  —                 H8 (49) AGM
   Dodge Stealth
   1996-94 V6/3.0L                                                          520                    25                —
   1993-92 V6/3.0L                                                          490                    24                —
   1993-91 V6/3.0L         Opt                                              585                    24                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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64                                                Automotive/Light Truck
  YEAR      ENGINE                      OPTIONS                ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

Dodge Stealth (continued)
1991      V6/3.0L    DOHC                                    490                    24                —
1991      V6/3.0L    SOHC                                    420                    25                —
Dodge Stratus
2006-95   L4/2.4L    w/side Terminals                        510                    75                —
2006-03   V6/2.7L    Sedan                                   510                    75                —
2006-03   V6/2.7L    w/side Terminals                        510                    75                —
2006-01   L4/2.4L    Top Terminal                            525                    86                —
2006-01   V6/2.7L    Coupe                                   525                    86                —
2006-01   V6/2.7L    Top Terminal                            525                    86                —
2005-01   V6/3.0L    Top Terminal                            525                    86                —
2005-01   V6/3.0L    w/side Terminals                        510                    75                —
2002      V6/2.7L    Sedan                                   510                    86                —
2001      V6/2.7L    Sedan                                   510                    75                —
2000-98   L4/2.0L                                            510                    86                —
2000-95   L4/2.0L    Top Terminal                            510                    86                —
2000-95   V6/2.5L    Top Terminal                            510                    86                —
Dodge SX 2.0
2005-03 L4/2.0L                                              450                    26R               —
Dodge Viper
2017-15   V10/8.4L                                           59050                  90 (T5)           —
2010-08   V10/8.4L                                           60050                  34                —
2006-03   V10/8.3L                                           600                    34                —
2002-97   V10/8.0L                                           650                    78                —
1996-92   V10/8.0L                                           770                    78                —
1992      V10/8.0L                                           650                    78                —
Dodge Viper SRT
2014-13 V10/8.4L                                             590                    90 (T5)           —
Eagle 2000 GTX
1993-91 L4/2.0L                                              500                    24                —
Eagle Premier
1992    V6/3.0L                                              600                    34                —
1991-90 V6/3.0L                                              500                    34                —
Eagle Summit
1996-95   L4/1.5L                                            435                    51                —
1996-95   L4/1.8L                                            435                    51                —
1996-95   L4/1.8L    Wagon                                   355                    25                —
1996-95   L4/2.4L                                            435                    51                —
1996-95   L4/2.4L    Wagon                                   490                    24                —
1994-93   L4/1.5L    Canada                                  580                    24                —
1994-93   L4/1.5L    Ex Wagon, US                            435                    51                —
1994-93   L4/1.5L    US, Wagon                               350                    25                —
1994-93   L4/1.8L    Canada                                  580                    24                —
1994-93   L4/1.8L    Ex Wagon, US                            435                    51                —
1994-93   L4/2.4L    Canada                                  580                    24                —
1994-93   L4/2.4L    Ex Wagon, US                            435                    51                —
1994-92   L4/1.8L    Wagon, US                               350                    25                —
1994-92   L4/2.4L    Wagon, US                               490                    24                —
1992      L4/1.5L    Wagon, Canada                           580                    24                —
1992      L4/1.8L    Canada                                  420                    25                —
1992      L4/1.8L    Opt                                     430                    25                —
1992      L4/1.8L    Wagon, Canada                           580                    24                —
1992      L4/2.4L    Canada                                  420                    25                —
1992      L4/2.4L    Ex Wagon                                355                    25                —
1992      L4/2.4L    Opt                                     430                    25                —
1992      L4/2.4L    Wagon, Canada                           580                    24                —
1992-91   L4/1.5L    Ex Wagon                                355                    25                —
1992-91   L4/1.5L    Opt                                     430                    25                —
1992-90   L4/1.5L    Canada                                  420                    25                —
1990      L4/1.5L    US                                      355                    25                —
1990      L4/1.6L    Canada                                  420                    25                —
1990      L4/1.6L    US                                      435                    51                —
Eagle Talon
1998      L4/2.0L    Turbo                                   525                    86                 —
1998-95   L4/2.0L    AT                                      525                    86                 —
1998-95   L4/2.0L    MT                                      430                    86                 —
1997-95   L4/2.0L    Turbo, AT                               525                    86                 —
1994-93   L4/1.8L    Canada, w/AT                            525                    86                 —
1994-93   L4/1.8L    Canada, w/MT                            430                    86                 —
1994-90   L4/2.0L    Canada or Turbo                         525                    86                 —
                                                            See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                    65
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING             (NOTES)            (NOTES)

   Eagle Talon (continued)
   1994-90 L4/2.0L         US                                               430                     86                —
   1993    L4/1.8L         US                                               430                     86                —
   Eagle Vision
   1997-95     V6/3.3L                                                      600                     34                —
   1997-95     V6/3.5L                                                      600                     34                —
   1994-93     V6/3.3L                                                      500                     34                —
   1994-93     V6/3.5L                                                      500                     34                —
   Eagle Vista
   1992-90 L4/1.5L                                                          420                     25                —
   1991-90 L4/2.0L                                                          420                     25                —
   Ferrari 348 GTB
   1994-93 V8/3.4L                                                          N/A                     —                 —
   Ferrari 348 GTS
   1994-93 V8/3.4L                                                          N/A                     —                 —
   Ferrari 348 Spider
   1995-93 V8/3.4L                                                          N/A                     —                 —
   Ferrari 348 tb
   1992-90 V8/3.4L                                                          N/A                     —                 —
   Ferrari 348 ts
   1992-89 V8/3.4L                                                          N/A                     —                 —
   Ferrari 360
   2005-00 V8/3.6L                                                          57050                   —                 —
   Ferrari 458 Italia
   2015-10 V8/4.5L                                                          76033, 50, 54           H6 (48) AGM       —
   Ferrari 458 Speciale
   2015        V8/4.5L                                                      76033, 50, 54           H6 (48) AGM       —
   Ferrari 458 Spider
   2015-12 V8/4.5L                                                          76033, 50, 54           H6 (48) AGM       —
   Ferrari 488 GTB
   2019-18 V8/3.9L                                                          76033, 50, 54           H6 (48) AGM       —
   2017-16 V8/3.9L                                                          76033, 50, 54           H6 (48) AGM       —
   Ferrari 488 Spider
   2017-16 V8/3.9L                                                          76033, 50, 54           H6 (48) AGM       —
   Ferrari 575M Maranello
   2005        V12/5.7L                                                     68054                   —                 —
   Ferrari 599 GTB
   2009-07 V12/6.0L                                                         80050, 54               —                 —
   Ferrari 612 Scaglietti
   2010-05 V12/5.7L                                                         8506, 48, 50, 54        —                 —
   2008    V12/5.7L                                                         85050, 54               —                 —
   2006    V12/5.7L                                                         85050, 54               —                 —
   Ferrari California
   2014-13 V8/4.3L                                                          85050, 54               —                 —
   2012    V8/4.3L                                                          85054                   —                 —
   2011-09 V8/4.3L                                                          85050, 54               —                 —
   Ferrari F430
   2009-06 V8/4.3L                                                          76050, 54               —                 —
   Ferrari Mondial t
   1990        V8/3.4L                                                      700                     —                 —
   Ferrari Superamerica
   2005        V12/5.7L                                                     85054                   —                 —
   Ferrari Testarossa
   1990        H12/4.9L                                                     70045                   —                 —
   Fiat 124 Spider
   2017        L4/1.4L                                                      600                     H6 (48)           H6 (48) AGM
   Fiat 500
   2019                    Electric, US                                     500                     H5 (47)           H5 (47) AGM
   2019                    Electric, Canada                                 650                     —                 H5 (47) AGM
   2019    L4/1.4L         Canada                                           650                     —                 H5 (47) AGM
   2019    L4/1.4L         US                                               500                     H5 (47)           H5 (47) AGM
   2018-12 L4/1.4L                                                          500                     H5 (47)           H5 (47) AGM
   Fiat 500L
   2017-14 L4/1.4L                                                          500                     H5 (47)           H5 (47) AGM
   See page 157 for Footnotes. Selection may vary by warehouse.

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66                                                           Automotive/Light Truck
  YEAR      ENGINE                                 OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                            CCA/RATING             (NOTES)            (NOTES)

Fiat 500X
2016      L4/1.4L                                                     500                    H5 (47)           H5 (47) AGM
2016      L4/2.4L                                                     600                    H6 (48)           H6 (48) AGM
Ford Aerostar
1997-90 V6/4.0L                                                       650                    65                65 AGM
1997-89 V6/3.0L      From 10/1/1988                                   650                    65                65 AGM
Ford Aspire
1997-94 L4/1.3L                                                       460                    35                35 AGM
Ford Bronco
1996-90 V8/5.0L                                                       650                    65                65 AGM
1996-90 V8/5.8L                                                       650                    65                65 AGM
1992-90 L6/4.9L                                                       650                    65                65 AGM
Ford Bronco II
1990      V6/2.9L                                                     650                    65                65 AGM
Ford Bronco Sport
2021      L3/1.5L                                                     70059                  —                 —
2021      L4/2.0L                                                     70059                  —                 —
Ford C-Max
2018-13 L4/2.0L      Hybrid                                           39050                  —                 —
Ford Contour
2000-98   L4/2.0L                                                     590                    40R               —
2000-98   V6/2.5L                                                     590                    40R               —
1997-95   L4/2.0L                                                     590                    96R               —
1997-95   L4/2.0L    Opt                                              650                    —                 —
1997-95   V6/2.5L                                                     650                    —                 —
Ford Country Squire
1991-90 V8/5.0L      Opt                                              650                    65                65 AGM
1991-90 V8/5.0L                                                       540                    58                —
Ford Crown Victoria
2011-09   V8/4.6L    Opt                                              750                    65                65 AGM
2011-07   V8/4.6L                                                     650                    65                65 AGM
2006-98   V8/4.6L    PPkg                                             750                    65                65 AGM
2006-98   V8/4.6L    US                                               650                    65                65 AGM
2006-92   V8/4.6L    Canada & Opt                                     750                    65                65 AGM
2003      V8/4.6L    Canada or Opt                                    750                    65                65 AGM
1997      V8/4.6L    US                                               540                    59                —
1997-96   V8/4.6L    Natural Gas                                      850                    65                —
1997-92   V8/4.6L    w/HWS or PPkg                                    850                    65                —
1996      V8/4.6L    Early                                            540                    58                —
1996      V8/4.6L    Late                                             540                    59                —
1995-92   V8/4.6L    US                                               540                    58                —
Ford EcoSport
2021-18 L3/1.0L                                                       76033                  H6 (48) AGM       —
2021-18 L4/2.0L                                                       76033                  H6 (48) AGM       —
Ford Edge
2021-19   L4/2.0L                                                     76033                  H6 (48) AGM       —
2021-19   V6/2.7L                                                     76033                  H6 (48) AGM       —
2018-15   L4/2.0L    w/o Start-Stop                                   590                    90 (T5)           —
2018-15   L4/2.0L    w/Start-Stop                                     76033                  H6 (48) AGM       —
2018-15   V6/2.7L                                                     590                    90 (T5)           —
2018-15   V6/3.5L                                                     590                    90 (T5)           —
2017-15   L4/2.0L                                                     590                    90 (T5)           —
2017-15   L4/2.0L    Start-Stop                                       76033                  H6 (48) AGM       —
2014-12   L4/2.0L    w/o Power Code Remote Start                      540                    59                —
2014-12   L4/2.0L    w/Power Code Remote Start                        650                    65                65 AGM
2014-11   V6/3.5L    w/o Power Code Remote Start                      540                    59                —
2014-11   V6/3.5L    w/Power Code Remote Start                        650                    65                65 AGM
2014-11   V6/3.7L    w/o Power Code Remote Start                      540                    59                —
2014-11   V6/3.7L    w/Power Code Remote Start                        650                    65                65 AGM
2010      V6/3.5L                                                     650                    36R               —
2009      V6/3.5L                                                     540                    36R               —
2009      V6/3.5L    Opt                                              600                    36R               —
2008      V6/3.5L                                                     600                    36R               —
2007      V6/3.5L                                                     580                    36R               —
Ford Escape
2021      L3/1.5L                                                     76033                  H6 (48) AGM       —
2021      L4/2.0L                                                     76033                  H6 (48) AGM       —
2021      L4/2.5L    Hybrid                                           76033                  H6 (48) AGM       —
2020      L3/1.5L                                                     70059                  —                 —
2020      L4/2.0L                                                     70059                  —                 —
                                                                     See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   67
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Ford Escape (continued)
   2020        L4/2.5L     Hybrid                                           470                    —                 —
   2019        L4/1.5L                                                      76033                  H6 (48) AGM       —
   2019        L4/2.0L                                                      76033                  H6 (48) AGM       —
   2019-11     L4/2.5L                                                      590                    96R               —
   2018-17     L4/1.5L     w/o Start-Stop/Intelligent Access                590                    96R               —
   2018-17     L4/1.5L     w/Start-Stop/Intelligent Access                  76033                  H6 (48) AGM       —
   2018-17     L4/2.0L     w/o Start-Stop/Intelligent Access                590                    96R               —
   2018-17     L4/2.0L     w/Start-Stop/Intelligent Access                  76033                  H6 (48) AGM       —
   2016-15     L4/1.6L                                                      590                    96R               —
   2016-15     L4/2.0L                                                      590                    96R               —
   2014-13     L4/1.6L                                                      500                    96R               —
   2014-13     L4/1.6L     Opt                                              590                    96R               —
   2014-13     L4/2.0L     Opt                                              590                    96R               —
   2014-13     L4/2.5L                                                      500                    96R               —
   2014-13     L4/2.5L     Opt                                              590                    96R               —
   2014-01     L4/2.0L                                                      500                    96R               —
   2012-11     V6/3.0L                                                      590                    96R               —
   2012-09     L4/2.5L     Hybrid                                           500                    96R               —
   2010        L4/2.5L     Gas                                              650                    —                 —
   2010        L4/2.5L     Gas, Opt                                         590                    96R               —
   2010        V6/3.0L                                                      650                    —                 —
   2010        V6/3.0L     Opt                                              590                    96R               —
   2010-09     L4/2.5L     Ex Hybrid                                        590                    40R               —
   2009-01     V6/3.0L                                                      590                    40R               —
   2008-05     L4/2.3L     Ex Hybrid                                        590                    40R               —
   2008-05     L4/2.3L     Hybrid                                           500                    96R               —
   Ford Escort
   2003-98     L4/2.0L                                                      500                    58                —
   1997        L4/2.0L                                                      540                    58                —
   1996-95     L4/1.8L                                                      540                    35                35 AGM
   1996-91     L4/1.9L                                                      460                    35                35 AGM
   1994-91     L4/1.8L                                                      460                    35                35 AGM
   1990        L4/1.9L     w/CFI                                            460                    58                —
   1990-87     L4/1.9L     HD or w/MFI                                      540                    58                —
   Ford E-Series Vans
   2019-17 V10/6.8L Auxiliary Battery                                       750                    —                 65 AGM
   2019-17 V8/6.2L         Auxiliary Battery                                750                    —                 65 AGM
   2019-17 V8/6.2L         Primary Battery                                  650                    65                65 AGM
   2019-03 V10/6.8L Primary Battery                                         650                    65                65 AGM
   2016-97 V8/5.4L         Primary Battery                                  650                    65                65 AGM
   2016-07 V10/6.8L Auxiliary Battery                                       75031                  —                 65 AGM
   2016-07 V8/5.4L         Auxiliary Battery                                75031                  —                 65 AGM
   2014-07 V8/4.6L         Auxiliary Battery                                75031                  —                 65 AGM
   2014-03 V10/6.8L                                                         650                    65                65 AGM
   2014-03 V8/4.6L                                                          650                    65                65 AGM
   2014-00 V8/5.4L                                                          650                    65                65 AGM
   2010-04 V8/6.0L         Dsl                                              7502                   65                65 AGM
   2008-07 V8/5.4L                                                          6502                   65                65 AGM
   2006-97 V10/6.8L Auxiliary Battery                                       62531                  —                 65 AGM
   2006-97 V8/4.6L         Auxiliary Battery                                62531                  —                 65 AGM
   2006-97 V8/5.4L         Auxiliary Battery                                62531                  —                 65 AGM
   2003-97 V6/4.2L                                                          650                    65                65 AGM
   2003-97 V6/4.2L         Auxiliary Battery                                62531                  —                 65 AGM
   2003-97 V8/7.3L         Dsl                                              7502                   65                65 AGM
   2002-99 V10/6.8L Auxiliary Battery                                       65031                  —                 65 AGM
   2002-99 V10/6.8L Primary Battery                                         750                    65                65 AGM
   2002-97 V10/6.8L                                                         750                    65                65 AGM
   2002-97 V6/4.2L         Opt                                              750                    65                65 AGM
   2002-97 V8/4.6L         Opt                                              750                    65                65 AGM
   2002-97 V8/5.4L         Opt                                              750                    65                65 AGM
   2002       V8/4.6L      Auxiliary, HD                                    65031                  —                 65 AGM
   2002       V8/5.4L                                                       65031                  —                 65 AGM
   2002       V8/5.4L      Auxiliary Battery                                65031                  —                 65 AGM
   2001-97 V8/4.6L         Primary Battery                                  650                    65                65 AGM
   1996-95 V8/5.0L                                                          650                    65                65 AGM
   1996-95 V8/5.0L                                                          850                    65                —
   1996-95 V8/5.0L         Primary Battery                                  850                    65                —
   1996-92 L6/4.9L                                                          650                    65                65 AGM
   1996-92 L6/4.9L         Auxiliary Battery                                50031                  —                 —
   1996-92 L6/4.9L         Opt                                              850                    65                —
   1996-92 L6/4.9L         Primary Battery                                  650                    65                65 AGM
   1996-92 V8/5.0L         Auxiliary Battery                                50031                  —                 —
   See page 157 for Footnotes. Selection may vary by warehouse.

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   YEAR     ENGINE                                 OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                            CCA/RATING             (NOTES)            (NOTES)

Ford E-Series Vans (continued)
1996-92   V8/5.0L    Primary Battery                                  650                    65                65 AGM
1996-92   V8/5.8L                                                     650                    65                65 AGM
1996-92   V8/5.8L    Auxiliary Battery                                50031                  —                 —
1996-92   V8/5.8L    Opt                                              850                    65                —
1996-92   V8/7.3L    Dsl, Left Side                                   850                    65                —
1996-92   V8/7.3L    Dsl, Right Side                                  600                    —                 —
1996-92   V8/7.5L    Auxiliary Battery                                50031                  —                 —
1996-92   V8/7.5L    Gas                                              650                    65                65 AGM
1996-92   V8/7.5L    Opt                                              850                    65                —
1994-92   V8/5.0L    Opt                                              850                    65                —
1991-90   L6/4.9L    Auxiliary Battery                                350                    24F               24F AGM
1991-90   L6/4.9L    Gas                                              535                    —                 —
1991-90   V8/5.0L    Auxiliary Battery                                350                    24F               24F AGM
1991-90   V8/5.0L    Gas                                              535                    —                 —
1991-90   V8/5.8L    Auxiliary Battery                                350                    24F               24F AGM
1991-90   V8/5.8L    Gas                                              535                    —                 —
1991-90   V8/7.3L    Dsl                                              7002                   27                —
1991-90   V8/7.5L    Auxiliary Battery                                350                    24F               24F AGM
1991-90   V8/7.5L    Gas                                              535                    —                 —
1991-89   L6/4.9L    Primary Battery                                  535                    —                 —
1991-86   L6/4.9L                                                     535                    —                 —
Ford Excursion
2005-03   V8/6.0L    Dsl                                              7502                   65                65 AGM
2005-00   V10/6.8L                                                    750                    65                65 AGM
2005-00   V8/5.4L                                                     750                    65                65 AGM
2003-00   V8/7.3L    Dsl                                              7502                   65                65 AGM
Ford Expedition
2021-18   V6/3.5L                                                     80033                  H7 (94R) AGM      —
2017-16   V6/3.5L    w/Intelligent Access                             750                    65                65 AGM
2017-16   V6/3.5L    w/o Intelligent Access                           650                    65                65 AGM
2015      V6/3.5L                                                     650                    65                65 AGM
2015      V6/3.5L    Opt                                              750                    65                65 AGM
2014-97   V8/5.4L                                                     650                    65                65 AGM
2014-07   V8/5.4L    Opt                                              750                    65                65 AGM
2004-97   V8/4.6L                                                     650                    65                65 AGM
2001-97   V8/4.6L    Opt                                              750                    65                65 AGM
2001-97   V8/5.4L    Opt                                              750                    65                65 AGM
Ford Explorer
2021-20   L4/2.3L                                                     76033                  H6 (48) AGM       —
2021-20   V6/3.0L                                                     76033                  H6 (48) AGM       —
2021-20   V6/3.3L    Hybrid                                           76033                  H6 (48) AGM       —
2019-16   L4/2.3L    w/Intelligent Access                             650                    65                65 AGM
2019-16   L4/2.3L    w/o Intelligent Access                           540                    59                —
2019-15   V6/3.5L    w/Intelligent Access                             650                    65                65 AGM
2019-15   V6/3.5L    w/o Intelligent Access                           540                    59                —
2017-14   V6/3.5L    PPkg Version                                     750                    65                65 AGM
2015      L4/2.0L    w/Intelligent Access                             650                    65                65 AGM
2015      L4/2.0L    w/o Intelligent Access                           540                    59                —
2014      L4/2.0L    w/o Power Code Remote Start                      540                    59                —
2014      L4/2.0L    w/Power Code Remote Start                        650                    65                65 AGM
2014      V6/3.5L    w/o Power Code Remote Start                      540                    59                —
2014      V6/3.5L    w/Power Code Remote Start                        650                    65                65 AGM
2014-11   V6/3.5L                                                     650                    65                65 AGM
2013-12   L4/2.0L                                                     650                    65                65 AGM
2010-91   V6/4.0L                                                     650                    65                65 AGM
2010-02   V8/4.6L                                                     650                    65                65 AGM
2006      V6/4.0L    Opt                                              750                    65                65 AGM
2006      V8/4.6L    Opt                                              750                    65                65 AGM
2001-96   V8/5.0L                                                     650                    65                65 AGM
Ford Explorer Sport Trac
2010-07 V6/4.0L                                                       650                    65                65 AGM
2010-07 V8/4.6L                                                       650                    65                65 AGM
2005-01 V6/4.0L                                                       650                    65                65 AGM
Ford F-150, F-150 Heritage
2021      V6/2.7L                                                     76033                  H6 (48) AGM       —
2021      V6/3.3L                                                     76033                  H6 (48) AGM       —
2021      V6/3.5L    Gas                                              76033                  H6 (48) AGM       —
2021      V6/3.5L    Opt Gas, Hybrid                                  80033                  H7 (94R) AGM      —
2021      V8/5.0L                                                     76033                  H6 (48) AGM       —
2021      V8/5.0L    Opt                                              80033                  H7 (94R) AGM      —
2021-18   V6/3.0L    Dsl                                              85033                  H8 (49) AGM       —
                                                                     See page 157 for Footnotes. Selection may vary by warehouse.

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                                                                                 Ford
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   Automotive/Light Truck                                                                                                69
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE    ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)         (NOTES)

   Ford F-150, F-150 Heritage (continued)
   2020-18     V6/3.3L     Ex King Ranch, Lariat, Platinum                  76033                  H6 (48) AGM       —
   2020-18     V6/3.3L     King Ranch, Lariat, Platinum                     80033                  H7 (94R) AGM      —
   2020-18     V6/3.5L     Ex King Ranch, Lariat, Platinum                  76033                  H6 (48) AGM       —
   2020-18     V6/3.5L     King Ranch, Lariat, Platinum                     80033                  H7 (94R) AGM      —
   2020-18     V8/5.0L     Ex King Ranch, Lariat, Platinum                  76033                  H6 (48) AGM       —
   2020-18     V8/5.0L     King Ranch, Lariat, Platinum                     80033                  H7 (94R) AGM      —
   2020-17     V6/2.7L     King Ranch, Lariat, Platinum                     80033                  H7 (94R) AGM      —
   2020-15     V6/2.7L     Ex King Ranch, Lariat, Platinum                  76033                  H6 (48) AGM       —
   2017-15     V6/3.5L     Ex King Ranch, Lariat, Platinum                  610                    H6 (48)           H6 (48) AGM
   2017-15     V6/3.5L     King Ranch, Lariat, Platinum                     730                    H7 (94R)          H7 (94R) AGM
   2017-15     V8/5.0L     Ex King Ranch, Lariat, Platinum                  610                    H6 (48)           H6 (48) AGM
   2017-15     V8/5.0L     King Ranch, Lariat, Platinum                     730                    H7 (94R)          H7 (94R) AGM
   2015        V6/2.7L     King Ranch, Lariat, Platinum                     80033                  H7 (94R) AGM      —
   2014-11     V6/3.5L                                                      750                    65                65 AGM
   2014-11     V6/3.7L                                                      750                    65                65 AGM
   2014-11     V8/5.0L                                                      750                    65                65 AGM
   2014-10     V8/6.2L                                                      750                    65                65 AGM
   2010-97     V8/4.6L                                                      540                    59                —
   2010-97     V8/5.4L                                                      540                    59                —
   2010-07     V8/4.6L     Opt                                              650                    65                65 AGM
   2010-07     V8/5.4L     Opt                                              650                    65                65 AGM
   2008-97     V6/4.2L                                                      540                    59                —
   2008-07     V6/4.2L     Opt                                              650                    65                65 AGM
   2006-97     V6/4.2L     HD, Canada                                       650                    65                65 AGM
   2006-97     V8/4.6L     HD, Canada                                       650                    65                65 AGM
   2006-97     V8/5.4L     HD, Canada                                       650                    65                65 AGM
   1996-90     L6/4.9L     Opt                                              850                    65                —
   1996-87     L6/4.9L                                                      650                    65                65 AGM
   1996-87     V8/5.0L                                                      650                    65                65 AGM
   1996-87     V8/5.0L     Opt                                              850                    65                —
   1996-87     V8/5.8L                                                      650                    65                65 AGM
   1996-87     V8/5.8L     Opt                                              850                    65                —
   Ford F-250 HD
   1997        V8/5.8L                                                      540                    59                —
   1997        V8/5.8L     Opt                                              750                    65                65 AGM
   1997        V8/7.3L     Dsl                                              7502                   65                65 AGM
   1997        V8/7.5L                                                      540                    59                —
   1997        V8/7.5L     Opt                                              750                    65                65 AGM
   Ford F-250, F-250 Super Duty
   2021-11     V8/6.7L     Dsl                                              7502                   65                65 AGM
   2021-20     V8/7.3L                                                      750                    65                65 AGM
   2020-17     V8/6.2L     Ex XL                                            750                    65                65 AGM
   2020-17     V8/6.2L     XL                                               650                    65                65 AGM
   2020-11     V8/6.7L     Dsl                                              7502                   65                65 AGM
   2016-11     V8/6.2L                                                      650                    65                65 AGM
   2016-11     V8/6.2L     Opt                                              750                    65                65 AGM
   2010-99     V10/6.8L                                                     650                    65                65 AGM
   2010-99     V10/6.8L    Opt                                              750                    65                65 AGM
   2010        V8/6.4L     Dsl                                              7502                   65                65 AGM
   2010-08     V8/5.4L     HD, Over 8500 lb. GVW                            750                    65                65 AGM
   2010-08     V8/6.4L                                                      7502                   65                65 AGM
   2010-00     V8/5.4L                                                      650                    65                65 AGM
   2007-99     V8/5.4L     Opt                                              750                    65                65 AGM
   2007        V8/6.0L     Dsl                                              6502                   65                65 AGM
   2006-03     V8/6.0L     Dsl                                              7502                   65                65 AGM
   2003-99     V8/7.3L     Dsl                                              7502                   65                65 AGM
   1999-97     V8/4.6L     Opt                                              650                    65                65 AGM
   1999-97     V8/4.6L     Opt over 8500 lb.                                650                    65                65 AGM
   1999-97     V8/4.6L     Under 8500 lb. GVW                               540                    59                —
   1999-97     V8/5.4L     HD, Over 8500 lb. GVW                            750                    65                65 AGM
   1999-97     V8/5.4L     Over 8500 lb. GVW                                650                    65                65 AGM
   1999-97     V8/5.4L     Under 8500 lb. GVW                               540                    59                —
   1996-88     V8/7.3L     Dsl                                              8502                   65                —
   1996-87     L6/4.9L                                                      650                    65                65 AGM
   1996-87     L6/4.9L     Opt                                              850                    65                —
   1996-87     V8/5.0L                                                      650                    65                65 AGM
   1996-87     V8/5.0L     Opt                                              850                    65                —
   1996-87     V8/5.8L                                                      650                    65                65 AGM
   1996-87     V8/5.8L     Opt                                              850                    65                —
   1996-87     V8/7.5L                                                      650                    65                65 AGM
   1996-87     V8/7.5L     Opt                                              850                    65                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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70                                                                 Automotive/Light Truck
  YEAR      ENGINE                                       OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

Ford F-350, F-350 Super Duty
2021-11   V8/6.7L    Dsl                                                    7502                   65                65 AGM
2020      V8/7.3L                                                           750                    65                65 AGM
2020-17   V8/6.2L    Ex XL                                                  750                    65                65 AGM
2020-17   V8/6.2L    XL                                                     650                    65                65 AGM
2020-11   V8/6.7L    Dsl                                                    7502                   65                65 AGM
2016-11   V8/6.2L                                                           650                    65                65 AGM
2016-11   V8/6.2L    Opt                                                    750                    65                65 AGM
2010-99   V10/6.8L                                                          650                    65                65 AGM
2010-99   V10/6.8L   Opt                                                    750                    65                65 AGM
2010-99   V8/5.4L                                                           650                    65                65 AGM
2010-99   V8/5.4L    Opt                                                    750                    65                65 AGM
2010-08   V8/6.4L    Dsl                                                    7502                   65                65 AGM
2007      V8/6.0L    Dsl                                                    6502                   65                65 AGM
2006-03   V8/6.0L    Dsl                                                    7502                   65                65 AGM
2003-97   V8/7.3L    Dsl                                                    7502                   65                65 AGM
1997      V8/5.8L                                                           540                    59                —
1997      V8/5.8L    Opt                                                    750                    65                65 AGM
1997      V8/7.5L                                                           540                    59                —
1997      V8/7.5L    Opt                                                    750                    65                65 AGM
1996-88   V8/7.3L    Dsl                                                    8502                   65                —
1996-87   L6/4.9L                                                           650                    65                65 AGM
1996-87   L6/4.9L    Opt                                                    850                    65                —
1996-87   V8/5.8L                                                           650                    65                65 AGM
1996-87   V8/5.8L    Opt                                                    850                    65                —
1996-87   V8/7.5L                                                           650                    65                65 AGM
1996-87   V8/7.5L    Opt                                                    850                    65                —
Ford Festiva
1993-88 L4/1.3L                                                             390                    35                35 AGM
Ford Fiesta
2019-11   L4/1.6L                                                           500                    96R               —
2017-14   L3/1.0L                                                           500                    96R               —
2017-14   L3/1.0L    Opt                                                    590                    96R               —
2017-14   L4/1.6L    Opt                                                    590                    96R               —
Ford Five Hundred
2007-05 V6/3.0L                                                             540                    36R               —
2006-05 V6/3.0L      Opt                                                    600                    36R               —
Ford Flex
2019-15   V6/3.5L    Ex Ecoboost                                            650                    65                65 AGM
2019-10   V6/3.5L    w/Ecoboost                                             750                    65                65 AGM
2014-10   V6/3.5L    w/o Ecoboost                                           650                    65                65 AGM
2009      V6/3.5L                                                           750                    65                65 AGM
Ford Focus
2018                 Electric                                               390                    —                 —
2018-16   L4/2.0L    AT                                                     590                    96R               —
2018-16   L4/2.3L                                                           76033                  H6 (48) AGM       —
2018-15   L3/1.0L                                                           76033                  H6 (48) AGM       —
2018-15   L4/2.0L    MT                                                     500                    96R               —
2017-16   L4/2.3L    Automatic Dual Clutch                                  590                    96R               —
2017-16   L4/2.3L    MT                                                     500                    96R               —
2017-15   L4/2.0L    Automatic Dual Clutch                                  590                    96R               —
2017-12              Electric                                               390                    —                 —
2014-13   L4/2.0L    w/Ecoboost                                             590                    96R               —
2014-13   L4/2.0L    w/o Ecoboost                                           500                    96R               —
2012      L4/2.0L    Automatic Dual Clutch                                  590                    96R               —
2012      L4/2.0L    MT                                                     500                    96R               —
2011-05   L4/2.0L                                                           500                    96R               —
2007-05   L4/2.0L    Immersion Heater or Premium Radio                      590                    40R               —
2007-05   L4/2.3L    Immersion Heater or Premium Radio                      590                    40R               —
2007-03   L4/2.3L                                                           500                    96R               —
2004-03   L4/2.0L    Ex Zetec                                               590                    40R               —
2004-03   L4/2.0L    Zetec                                                  500                    96R               —
2002-00   L4/2.0L    Ex Zetec                                               500                    96R               —
2002-00   L4/2.0L    Zetec                                                  590                    40R               —
Ford Freestar
2007-04   V6/3.9L                                                           540                    59                —
2007-04   V6/3.9L    Opt                                                    650                    65                65 AGM
2007-04   V6/4.2L                                                           540                    59                —
2007-04   V6/4.2L    Opt                                                    650                    65                65 AGM
Ford Freestyle
2007-05 V6/3.0L                                                             540                    36R               —
2006-05 V6/3.0L      Opt                                                    600                    36R               —
                                                                           See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   71
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Ford Fusion
   2020-18     L4/1.5L                                                      76033                  H6 (48) AGM       —
   2020-18     L4/2.0L     Gas w/Intelligent Access                         590                    90 (T5)           —
   2020-18     L4/2.0L     Gas w/Start-Stop                                 76033                  H6 (48) AGM       —
   2020-18     L4/2.0L     Hybrid                                           590                    90 (T5)           —
   2020-18     L4/2.5L                                                      590                    90 (T5)           —
   2019-18     V6/2.7L                                                      590                    90 (T5)           —
   2017        L4/1.5L     w/Start-Stop                                     76033                  H6 (48) AGM       —
   2017        L4/2.0L     Gas                                              590                    90 (T5)           —
   2017        L4/2.0L     Hybrid                                           39050                  —                 —
   2017        L4/2.0L     US, Gas                                          590                    90 (T5)           —
   2017        V6/2.7L                                                      730                    H7 (94R)          H7 (94R) AGM
   2017-15     L4/1.5L     w/Intelligent Access                             590                    90 (T5)           —
   2017-15     L4/1.5L     w/o Intelligent Access                           500                    90 (T5)           —
   2017-15     L4/2.5L     w/Intelligent Access                             590                    90 (T5)           —
   2017-15     L4/2.5L     w/o Intelligent Access                           500                    90 (T5)           —
   2017-14     L4/1.5L     Start-Stop                                       76033                  H6 (48) AGM       —
   2016        L4/2.0L     Hybrid                                           390                    —                 —
   2016        L4/2.0L     w/Intelligent Access                             590                    90 (T5)           —
   2016        L4/2.0L     w/o Intelligent Access                           500                    90 (T5)           —
   2016-15     L4/2.0L     Start-Stop                                       76033                  H6 (48) AGM       —
   2016-15     L4/2.5L     Start-Stop                                       76033                  H6 (48) AGM       —
   2015        L4/2.0L     Gas                                              590                    90 (T5)           —
   2015-13     L4/2.0L     Hybrid                                           39050                  —                 —
   2014        L4/1.5L     w/o Power Code Remote Start                      500                    90 (T5)           —
   2014        L4/1.5L     w/Power Code Remote Start                        590                    90 (T5)           —
   2014-13     L4/1.6L     Start-Stop                                       76033                  H6 (48) AGM       —
   2014-13     L4/1.6L     w/o Power Code Remote Start                      500                    90 (T5)           —
   2014-13     L4/1.6L     w/Power Code Remote Start                        590                    90 (T5)           —
   2014-13     L4/2.0L     Gas                                              500                    90 (T5)           —
   2014-13     L4/2.0L     Gas, Opt                                         590                    90 (T5)           —
   2014-13     L4/2.5L     w/o Power Code Remote Start                      500                    90 (T5)           —
   2014-13     L4/2.5L     w/Power Code Remote Start                        590                    90 (T5)           —
   2013        L4/1.6L                                                      500                    96R               —
   2013        L4/1.6L     Opt                                              590                    96R               —
   2012-10     L4/2.5L                                                      500                    96R               —
   2012-10     L4/2.5L     Gas                                              500                    96R               —
   2012-10     L4/2.5L     Hybrid                                           390                    —                 —
   2012-10     V6/3.5L                                                      500                    96R               —
   2012-07     V6/3.0L                                                      500                    96R               —
   2009-07     L4/2.3L                                                      500                    96R               —
   2006        L4/2.3L                                                      590                    40R               —
   2006        V6/3.0L                                                      590                    40R               —
   Ford Gran Torino
   1976-75     V8/5.8L                                                      N/A                    26R               —
   1976-75     V8/6.6L                                                      N/A                    24F               24F AGM
   1976-75     V8/7.5L                                                      N/A                    24F               24F AGM
   1974        L6/4.1L                                                      290                    26R               —
   1974        V8/5.8L                                                      290                    26R               —
   1974        V8/6.6L                                                      455                    24F               24F AGM
   1974        V8/7.5L                                                      455                    24F               24F AGM
   1974-72     V8/5.0L                                                      290                    26R               —
   1973        L6/4.1L                                                      440                    26R               —
   1973        V8/5.0L     Opt                                              475                    24F               24F AGM
   1973        V8/5.8L                                                      350                    24F               24F AGM
   1973-72     V8/6.6L                                                      475                    24F               24F AGM
   1973-72     V8/7.0L                                                      475                    24F               24F AGM
   1972        L6/4.1L                                                      290                    26R               —
   1972        V8/5.8L                                                      475                    24F               24F AGM
   Ford GT
   2021-17 V6/3.5L         Li-ion Only                                      N/A33, 45              —                 —
   2006-05 V8/5.4L                                                          720                    —                 —
   Ford LTD Crown Victoria
   1991-90     V8/5.8L     Opt                                              650                    65                65 AGM
   1991-88     V8/5.0L     w/HWS or PPkg                                    850                    65                —
   1991-88     V8/5.8L                                                      540                    58                —
   1991-88     V8/5.8L     w/HWS or PPkg                                    850                    65                —
   1991-87     V8/5.0L                                                      540                    58                —
   1991-87     V8/5.0L     Opt                                              650                    65                65 AGM
   Ford Mustang
   2020-17 V8/5.2L                                                          390                    —                 —
   2020-15 L4/2.3L                                                          590                    96R               —
   See page 157 for Footnotes. Selection may vary by warehouse.

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72                                                      Automotive/Light Truck
   YEAR     ENGINE                            OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                       CCA/RATING             (NOTES)            (NOTES)

Ford Mustang (continued)
2020-15   V8/5.0L                                                590                    96R               —
2017-11   V6/3.7L                                                590                    96R               —
2016-15   V8/5.2L                                                390                    —                 —
2016-15   V8/5.2L    Cold Climate                                590                    96R               —
2014-13   V8/5.8L                                                590                    96R               —
2014-12   V8/5.0L    Boss Pkg                                    500                    96R               —
2014-12   V8/5.0L    Ex Boss Pkg                                 590                    96R               —
2012-10   V8/5.4L                                                590                    96R               —
2011      V8/5.0L                                                590                    96R               —
2010-08   V8/4.6L                                                500                    96R               —
2010-07   V8/5.4L                                                590                    40R               —
2010-05   V6/4.0L                                                500                    96R               —
2009-08   V6/4.0L    HD, High Elect Content                      590                    40R               —
2009-08   V8/4.6L    HD, High Elect Content                      590                    40R               —
2007      V8/4.6L                                                590                    40R               —
2006-05   V6/4.0L    Opt                                         590                    40R               —
2006-05   V8/4.6L                                                500                    96R               —
2006-05   V8/4.6L    Opt                                         590                    40R               —
2004-97   V6/3.8L                                                540                    59                —
2004-97   V8/4.6L                                                540                    59                —
2004      V6/3.9L                                                540                    59                —
2000      V8/5.4L                                                540                    59                —
1996      V6/3.8L    Early                                       540                    58                —
1996      V6/3.8L    Late                                        540                    59                —
1996      V8/4.6L    Early                                       540                    58                —
1996      V8/4.6L    Late                                        540                    59                —
1995      V8/5.8L                                                540                    58                —
1995-94   V6/3.8L                                                540                    58                —
1995-87   V8/5.0L                                                540                    58                —
1993-89   L4/2.3L    HD w/AT                                     540                    58                —
1993-87   L4/2.3L    MT                                          460                    58                —
Ford Police Interceptor Sedan
2019-15   V6/3.7L                                                750                    65                65 AGM
2019-14   V6/3.5L                                                750                    65                65 AGM
2014      V6/3.5L    Ex Ecoboost                                 540                    59                —
2014-13   V6/3.5L    w/Ecoboost                                  650                    65                65 AGM
2014-13   V6/3.7L                                                540                    59                —
2013      V6/3.5L    w/o Ecoboost                                540                    59                —
Ford Police Interceptor Utility
2021-20   V6/3.0L    Opt                                         85033                  H8 (49) AGM       —
2021-20   V6/3.3L    Gas/Hybrid Opt                              85033                  H8 (49) AGM       —
2021-20   V6/3.3L    Hybrid                                      80033                  H7 (94R) AGM      —
2021-20   V6/3.0L                                                730                    H7 (94R)          H7 (94R) AGM
2020      V6/3.3L    Gas                                         730                    H7 (94R)          H7 (94R) AGM
2019-15   V6/3.5L                                                750                    65                65 AGM
2019-15   V6/3.7L                                                750                    65                65 AGM
2014      V6/3.5L    Ex Ecoboost                                 540                    59                —
2014      V6/3.5L    w/Ecoboost                                  650                    65                65 AGM
2014-13   V6/3.7L                                                540                    59                —
Ford Probe
1997-93   L4/2.0L                                                580                    —                 —
1997-93   V6/2.5L                                                580                    —                 —
1992-90   L4/2.2L                                                505                    —                 —
1992-90   V6/3.0L                                                580                    —                 —
Ford Ranger
2021      L4/2.3L                                                76033                  H6 (48) AGM       —
2021-19   L4/2.3L    Opt                                         80033                  H7 (94R) AGM      —
2020-19   L4/2.3L                                                61033                  H6 (48) AGM       —
2020-19   L4/2.3L    Opt                                         80033                  H7 (94R) AGM      —
2011-97   V6/4.0L                                                540                    59                —
2011-01   L4/2.3L                                                540                    59                —
2008-97   V6/3.0L                                                540                    59                —
2001-98   L4/2.5L                                                540                    59                —
1997      L4/2.3L                                                540                    59                —
1997-91   V6/3.0L    Opt                                         650                    65                65 AGM
1997-90   V6/4.0L    Opt                                         650                    65                65 AGM
1997-89   L4/2.3L    Opt                                         650                    65                65 AGM
1996-91   V6/3.0L                                                540                    58                —
1996-91   V6/4.0L                                                650                    65                65 AGM
1996-89   L4/2.3L                                                540                    58                —
1992-89   V6/2.9L                                                540                    58                —
                                                                See page 157 for Footnotes. Selection may vary by warehouse.

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                                                                                 Ford
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   Automotive/Light Truck                                                                                                   73
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Ford Ranger (continued)
   1992-89 V6/2.9L         Opt                                              650                    65                65 AGM
   1990    V6/4.0L                                                          540                    58                —
   Ford Special Service Police Sedan
   2018-14 L4/2.0L                                                          750                    65                65 AGM
   Ford Taurus, Taurus X
   2019-16     V6/3.5L     Duratec w/Intelligent Access                     650                    65                65 AGM
   2019-16     V6/3.5L     Duratec w/o Intelligent Access                   540                    59                —
   2019-16     V6/3.5L     Ecoboost                                         650                    65                65 AGM
   2017-15     L4/2.0L     w/Intelligent Access                             650                    65                65 AGM
   2017-15     L4/2.0L     w/o Intelligent Access                           540                    59                —
   2016        V6/3.5L     w/Intelligent Access, Ecoboost                   650                    65                65 AGM
   2016        V6/3.5L     w/o Intelligent Access, Ecoboost                 540                    59                —
   2015        V6/3.5L     w/Intelligent Access, SHO                        650                    65                65 AGM
   2015        V6/3.5L     w/o Intelligent Access, Ex SHO                   540                    59                —
   2014-13     L4/2.0L     Ex SHO                                           540                    59                —
   2014-13     V6/3.5L     PPkg                                             750                    65                65 AGM
   2014-10     V6/3.5L     Ex SHO                                           540                    59                —
   2014-10     V6/3.5L     SHO                                              650                    65                65 AGM
   2009-08     V6/3.5L                                                      540                    59                —
   2007-06     V6/3.0L                                                      540                    36R               —
   2006        V6/3.0L     Opt                                              600                    36R               —
   2005        V6/3.0L     OHV                                              600                    36R               —
   2005-00     V6/3.0L     HD & Canada, DOHC                                600                    36R               —
   2004-01     V6/3.0L     HD, OHV                                          600                    36R               —
   2004-01     V6/3.0L     OHV                                              540                    36R               —
   2000-96     V6/3.0L     OHV                                              540                    —                 —
   1999        V6/3.0L     DOHC or HD                                       650                    36R               —
   1999-96     V8/3.4L     SHO                                              650                    36R               —
   1998-96     V6/3.0L     HD & Canada, DOHC                                650                    36R               —
   1995-93     V6/3.2L     SHO                                              650                    34                —
   1995-93     V6/3.8L     HD or PPkg                                       850                    65                —
   1995-92     V6/3.0L     Ex SHO Opt                                       650                    65                65 AGM
   1995-92     V6/3.0L     Opt                                              650                    65                65 AGM
   1995-92     V6/3.8L                                                      650                    65                65 AGM
   1995-91     V6/3.0L                                                      540                    58                —
   1995-90     V6/3.0L     Ex SHO                                           540                    58                —
   1995-89     V6/3.0L     SHO                                              650                    34                —
   1991        L4/2.5L                                                      650                    65                65 AGM
   1991        V6/3.8L     Ex Wagon                                         850                    65                —
   1991        V6/3.8L     Wagon                                            650                    65                65 AGM
   1991-90     V6/3.8L     HD, w/HWS or PPkg                                850                    65                —
   1990-89     V6/3.8L                                                      850                    65                —
   1990-88     L4/2.5L     AT                                               650                    65                65 AGM
   Ford Tempo
   1994        L4/2.3L                                                      540                    58                —
   1994-92     V6/3.0L                                                      460                    58                —
   1994-92     V6/3.0L     Opt                                              540                    58                —
   1993-87     L4/2.3L     HD w/AT                                          540                    58                —
   1993-87     L4/2.3L     MT                                               460                    58                —
   Ford Thunderbird
   2005-02     V8/3.9L                                                      65050                  —                 —
   1997        V6/3.8L                                                      540                    59                —
   1997-94     V8/4.6L                                                      650                    65                65 AGM
   1997-93     V6/3.8L     Canada & Opt                                     650                    65                65 AGM
   1996        V6/3.8L     Early                                            540                    58                —
   1996        V6/3.8L     Late                                             540                    59                —
   1995-93     V6/3.8L     S/C, HD & Canada                                 650                    65                65 AGM
   1995-91     V6/3.8L     S/C, w/MT                                        540                    58                —
   1994-93     V6/3.8L     US                                               540                    58                —
   1994-93     V6/3.8L     US, Opt or Canada                                650                    65                65 AGM
   1993-91     V8/5.0L                                                      650                    65                65 AGM
   1992-91     V6/3.8L     HD, Ex S/C                                       540                    58                —
   1992-91     V6/3.8L     Naturally Aspirated                              460                    58                —
   1992-91     V6/3.8L     S/C, Canada, Cold Climate Pkg                    650                    65                65 AGM
   1992-91     V6/3.8L     S/C, HD                                          650                    65                65 AGM
   1992-90     V6/3.8L     Canada or Turbo                                  650                    65                65 AGM
   1992-90     V6/3.8L     US Ex SC                                         460                    58                —
   1992-90     V6/3.8L     US Opt Ex SC                                     540                    58                —
   1990-89     V6/3.8L     S/C                                              650                    65                65 AGM
   1990-89     V6/3.8L     US                                               460                    58                —
   1990-89     V6/3.8L     US, HD, Ex S/C                                   540                    58                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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74                                             Automotive/Light Truck
  YEAR      ENGINE                   OPTIONS                   ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

Ford Thunderbird (continued)
1958      V8/4.8L                                            350                    27F               —
1958      V8/5.4L                                            350                    27F               —
1958      V8/5.8L                                            350                    27F               —
Ford Torino
1976-75   V8/5.8L    Opt                                     455                    24F               24F AGM
1976-74   V8/6.6L                                            455                    24F               24F AGM
1974      L6/4.1L                                            455                    24F               24F AGM
1974      V8/5.0L                                            455                    24F               24F AGM
1974      V8/5.8L                                            455                    24F               24F AGM
1973      L6/4.1L    Opt                                     N/A                    24F               24F AGM
1973      V8/5.0L    Opt                                     N/A                    24F               24F AGM
1973      V8/5.8L                                            350                    24F               24F AGM
1973      V8/7.0L                                            440                    24F               24F AGM
1973      V8/7.5L                                            440                    24F               24F AGM
1972      V8/6.6L                                            475                    24F               24F AGM
1972-69   L6/4.1L                                            290                    26R               —
1972-69   V8/5.0L                                            290                    26R               —
1972-69   V8/5.8L                                            475                    24F               24F AGM
1972-68   V8/7.0L                                            475                    24F               24F AGM
1971      V8/5.8L    Opt                                     290                    26R               —
1971-70   V8/7.0L                                            440                    24F               24F AGM
1971-69   V8/7.0L    Opt                                     450                    27F               —
1970-68   V8/6.4L                                            475                    24F               24F AGM
1968      L6/3.3L                                            290                    26R               —
1968      V8/7.0L    Opt                                     435                    27F               —
Ford Transit Connect
2020-14 L4/2.5L                                              590                    40R               —
2016-14 L4/1.6L                                              590                    40R               —
2013-10 L4/2.0L                                              590                    96R               —
2012                 Electric                                500                    96R               —
Ford Transit-150
2021-20   V6/3.5L    Opt                                     76033, 50              H6 (48) AGM       —
2021-15   V6/3.5L                                            61050                  H6 (48)           H5 (47) AGM
2020-17   V6/3.5L                                            61050                  H6 (48)           H6 (48) AGM
2019-17   L5/3.2L    Dsl                                     7602, 33, 50           H6 (48) AGM       —
2019-17   V6/3.7L                                            61050                  H6 (48)           H6 (48) AGM
2016-15   L5/3.2L    Dsl                                     76033                  H6 (48) AGM       —
2016-15   V6/3.5L                                            610                    H6 (48)           H6 (48) AGM
2016-15   V6/3.7L                                            610                    H6 (48)           H6 (48) AGM
Ford Transit-250
2021-20   V6/3.5L    Opt                                     76033, 50              H6 (48) AGM       —
2021-15   V6/3.5L                                            61050                  H6 (48)           H5 (47) AGM
2020-17   V6/3.5L                                            61050                  H6 (48)           H6 (48) AGM
2019-17   L5/3.2L    Dsl                                     7602, 33, 50           H6 (48) AGM       —
2019-17   V6/3.7L                                            61050                  H6 (48)           H6 (48) AGM
2016-15   L5/3.2L    Dsl                                     76033                  H6 (48) AGM       —
2016-15   V6/3.5L                                            610                    H6 (48)           H6 (48) AGM
2016-15   V6/3.7L                                            610                    H6 (48)           H6 (48) AGM
Ford Transit-350
2021-20   V6/3.5L    Opt                                     76033, 50              H6 (48) AGM       —
2021-15   V6/3.5L                                            61050                  H6 (48)           H5 (47) AGM
2020      L4/2.0L    Dsl                                     7602, 33, 50           H6 (48) AGM       —
2020-17   V6/3.5L                                            61050                  H6 (48)           H6 (48) AGM
2019-17   V6/3.7L                                            61050                  H6 (48)           H6 (48) AGM
2016-15   L5/3.2L    Dsl                                     76033                  H6 (48) AGM       —
2016-15   V6/3.5L                                            610                    H6 (48)           H6 (48) AGM
2016-15   V6/3.7L                                            610                    H6 (48)           H6 (48) AGM
Ford Transit-350 HD
2021-20   V6/3.5L                                            61050                  H6 (48)           H5 (47) AGM
2021-20   V6/3.5L    Opt                                     76033, 50              H6 (48) AGM       —
2019-15   L5/3.2L    Dsl                                     7602, 33, 50           H6 (48) AGM       —
2019-15   V6/3.5L                                            76033, 50              H6 (48) AGM       —
2019-15   V6/3.7L                                            76033, 50              H6 (48) AGM       —
Ford Windstar
2003-97   V6/3.8L    TTPkg or HD                             750                    65                65 AGM
2003-95   V6/3.8L                                            650                    65                65 AGM
2000-97   V6/3.0L                                            540                    59                —
2000      V6/3.0L    Opt                                     75048                  65                65 AGM
2000      V6/3.0L    TTPkg or HD                             750                    65                65 AGM
1999-97   V6/3.0L    TTPkg or HD                             650                    65                65 AGM
1996      V6/3.0L    TTPkg or HD                             850                    65                —
                                                            See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   75
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Ford Windstar (continued)
   1996        V6/3.8L     Opt                                              750                    65                65 AGM
   1996-95     V6/3.0L                                                      540                    58                —
   1996-95     V6/3.0L                                                      850                    65                —
   1996-95     V6/3.0L     TTPkg or HD                                      540                    58                —
   Freightliner Sprinter (2500, 3500)
   2017-15     L4/2.1L     Auxiliary, Dsl                                   10 Ah45                —                 —
   2017-15     L4/2.1L     Dsl                                              68050                  —                 —
   2017-15     L4/2.1L     Dsl, Opt                                         76033, 50              H6 (48) AGM       —
   2017-15     L4/2.1L     Dsl, Opt                                         76050                  —                 H8 (49) AGM
   2017-15     L4/2.1L     Dsl, Opt                                         85033, 50              H8 (49) AGM       —
   2017-15     V6/3.0L     Auxiliary, Dsl                                   10 Ah45                —                 —
   2017-15     V6/3.0L     Dsl                                              68050                  —                 —
   2017-15     V6/3.0L     Dsl, Opt                                         76033, 50              H6 (48) AGM       —
   2017-15     V6/3.0L     Dsl, Opt                                         76050                  —                 H8 (49) AGM
   2017-15     V6/3.0L     Dsl, Opt                                         85033, 50              H8 (49) AGM       —
   2014        L4/2.1L     Dsl                                              85050                  —                 H8 (49) AGM
   2014-07     V6/3.0L     Dsl                                              85050                  —                 H8 (49) AGM
   2008-07     V6/3.5L                                                      85050                  —                 H8 (49) AGM
   2006-02     L5/2.7L     Dsl                                              85050                  —                 H8 (49) AGM
   Genesis G80
   2019-18 V6/3.3L                                                          95033, 50              H9 (95R) AGM      —
   2019-17 V6/3.8L                                                          95033, 50              H9 (95R) AGM      —
   2019-17 V8/5.0L                                                          95033, 50              H9 (95R) AGM      —
   Genesis G90
   2019-17 V6/3.3L                                                          95033, 50              H9 (95R) AGM      —
   2019-17 V8/5.0L                                                          95033, 50              H9 (95R) AGM      —
   Geo Metro
   1997-95     L3/1.0L                                                      390                    26R               —
   1997-95     L4/1.3L                                                      390                    26R               —
   1994        L3/1.0L                                                      390                    —                 —
   1994        L4/1.3L                                                      390                    —                 —
   1993-92     L4/1.3L                                                      440                    —                 —
   1993-90     L3/1.0L                                                      440                    —                 —
   Geo Prizm
   1997-90 L4/1.6L                                                          310                    35                35 AGM
   Geo Storm
   1993-92 L4/1.8L                                                          360                    35                35 AGM
   1993-90 L4/1.6L                                                          360                    35                35 AGM
   Geo Tracker
   1997-95 L4/1.6L                                                          500                    26R               —
   1994-90 L4/1.6L                                                          525                    —                 —
   GMC Acadia
   2021-20     L4/2.0L                                                      73033                  H7 (94R) AGM      —
   2021-20     L4/2.5L                                                      73033                  H7 (94R) AGM      —
   2021-20     V6/3.6L                                                      73033                  H7 (94R) AGM      —
   2019-17     L4/2.5L     w/o Start-Stop                                   660                    H6 (48)           H6 (48) AGM
   2019-17     L4/2.5L     w/Start-Stop                                     73033                  H7 (94R) AGM      —
   2019-17     V6/3.6L     w/o Start-Stop                                   660                    H6 (48)           H6 (48) AGM
   2019-17     V6/3.6L     w/Start-Stop                                     73033                  H7 (94R) AGM      —
   2016-10     V6/3.6L                                                      66050                  H6 (48)           H6 (48) AGM
   2009-07     V6/3.6L                                                      73050                  H6 (48)           H6 (48) AGM
   GMC Acadia Limited
   2017        V6/3.6L                                                      66050                  H6 (48)           H6 (48) AGM
   GMC C/K, R/V Pickups, Jimmy, Suburban
   2005-94     V6/4.3L     Opt                                              690                    —                 —
   2005-92     V6/4.3L                                                      525                    75                —
   2000-99     V8/5.7L     Opt                                              690                    78                —
   2000-99     V8/6.5L     Dsl & Opt                                        6902                   78                —
   2000-99     V8/7.4L     Opt                                              690                    78                —
   2000-97     V8/6.5L     Dsl                                              6002                   78                —
   2000-94     V8/7.4L                                                      600                    78                —
   2000-91     V8/5.7L                                                      600                    78                —
   1999        V8/5.0L     Opt                                              690                    78                —
   1999        V8/6.5L     Dsl, HD                                          6002                   78                —
   1999-93     V8/7.4L     Primary Battery                                  600                    78                —
   1999-91     V8/5.0L                                                      600                    78                —
   1998-94     V6/4.3L                                                      600                    78                —
   1997        V8/6.5L     Dsl                                              6902                   78                —
   1996-94     V8/6.5L     Dsl                                              7702                   78                —
   1993        V6/4.3L     Auxiliary Battery                                525                    75                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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76                                                               Automotive/Light Truck
  YEAR      ENGINE                                     OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                CCA/RATING             (NOTES)            (NOTES)

GMC C/K, R/V Pickups, Jimmy, Suburban (continued)
1993-92   V6/4.3L    Opt                                                  630                    78                —
1993-92   V8/6.2L    Dsl                                                  5702                   75                —
1993-92   V8/6.5L    Dsl                                                  5702                   75                —
1993-91   V6/4.3L    Primary Battery                                      600                    78                —
1993-91   V8/5.0L    Primary Battery                                      600                    78                —
1993-91   V8/5.7L    Primary Battery                                      600                    78                —
1993-90   V8/7.4L    Auxiliary Battery                                    540                    78                —
1993-90   V8/7.4L    Primary Battery                                      630                    78                —
1993-88   V6/4.3L    Auxiliary Battery                                    540                    78                —
1993-88   V8/5.0L    Auxiliary Battery                                    540                    78                —
1993-88   V8/5.7L    Auxiliary Battery                                    540                    78                —
1992-91   V6/4.3L                                                         600                    78                —
1991      V8/5.7L    Primary Battery                                      630                    78                —
1991-90   V8/6.2L    Dsl                                                  5402                   78                —
1990      V6/4.3L    Opt                                                  630                    78                —
1990      V8/5.0L    Opt                                                  630                    78                —
1990      V8/5.0L    Primary Battery                                      525                    75                —
1990      V8/5.7L    Opt                                                  630                    78                —
1990-88   V6/4.3L    Primary Battery                                      525                    75                —
1990-88   V8/5.7L    Primary Battery                                      525                    75                —
1990-87   V8/6.2L    Dsl                                                  5702                   75                —
GMC Canyon
2021-16   L4/2.8L    Dsl                                                  85033                  H8 (49) AGM       —
2021-15   L4/2.5L                                                         615                    H6 (48)           H6 (48) AGM
2021-15   V6/3.6L                                                         615                    H6 (48)           H6 (48) AGM
2012-09   V8/5.3L                                                         59040                  86                —
2012-08   L4/2.9L                                                         59040                  86                —
2012-08   L5/3.7L                                                         59040                  86                —
2007      L4/2.9L                                                         64011, 40              —                 —
2007      L5/3.7L                                                         59011, 40              —                 —
2006-04   L4/2.8L                                                         64011, 40              —                 —
2006-04   L5/3.5L                                                         59011, 40              —                 —
GMC Envoy
2009-05 V8/5.3L                                                           60040                  78                —
2009-02 L6/4.2L                                                           60040                  78                —
GMC Envoy XL
2006-03 V8/5.3L                                                           60040                  78                —
2006-02 L6/4.2L                                                           60040                  78                —
GMC Envoy XUV
2005-04 L6/4.2L                                                           60040                  78                —
2005-04 V8/5.3L                                                           60040                  78                —
GMC G-Series Vans (1500, 2500, 3500)
1996-94   V8/5.7L                                                         600                    78                —
1996-94   V8/6.5L    Dsl                                                  6002                   78                —
1996-94   V8/7.4L                                                         600                    78                —
1995-94   V6/4.3L                                                         600                    78                —
1995-94   V8/5.0L                                                         600                    78                —
1993-91   V6/4.3L                                                         630                    78                —
1993-91   V8/5.0L                                                         630                    78                —
1993-91   V8/5.7L                                                         630                    78                —
1993-88   V8/7.4L                                                         630                    78                —
1993-87   V8/6.2L    Dsl                                                  5402                   78                —
1990      V8/5.0L                                                         525                    75                —
1990-87   V6/4.3L                                                         525                    75                —
1990-87   V8/5.7L                                                         525                    75                —
GMC K Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
GMC P-Series Vans (3500, 4500)
1999-97   V6/4.3L                                                         600                    78                 —
1999-97   V6/4.3L    Opt                                                  690                    78                 —
1999-97   V8/5.7L                                                         600                    78                 —
1999-97   V8/5.7L    Opt                                                  690                    78                 —
1999-94   V8/6.5L    Dsl                                                  6002                   78                 —
1999-94   V8/7.4L                                                         600                    78                 —
1996-94   V6/4.3L    Opt                                                  600                    78                 —
1996-94   V8/5.7L    Opt                                                  600                    78                 —
1996-90   V6/4.3L                                                         525                    75                 —
1996-89   V8/5.7L                                                         525                    75                 —
1993-90   V6/4.3L    Opt                                                  630                    78                 —
1993-90   V8/5.7L    Opt                                                  630                    78                 —
1993-90   V8/7.4L                                                         630                    78                 —
                                                                         See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                  77
      YEAR        ENGINE                                          OPTIONS    ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                 CCA/RATING             (NOTES)            (NOTES)

   GMC P-Series Vans (3500, 4500) (continued)
   1993-89 V8/6.2L         Dsl                                              5402                  78                —
   1991-89 L4/3.9L                                                          500                   75                —
   GMC R Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
   GMC Safari
   2005-94     V6/4.3L                                                      600                   78                —
   2005-04     V6/4.3L     HD or SEO                                        770                   78                —
   2003-02     V6/4.3L     Opt                                              770                   78                —
   1993-91     V6/4.3L                                                      630                   78                —
   1990        L4/2.5L     Opt                                              630                   78                —
   1990        V6/4.3L     Opt                                              630                   78                —
   1990-87     L4/2.5L                                                      525                   75                —
   1990-87     V6/4.3L                                                      525                   75                —
   GMC Savana 1500
   2014-96     V6/4.3L                                                      600                   78                —
   2014-10     V6/4.3L     Opt                                              770                   78                —
   2014-10     V8/5.3L     Opt                                              770                   78                —
   2014-03     V8/5.3L                                                      600                   78                —
   2005-03     V6/4.3L     HD or SEO                                        800                   79                —
   2005-03     V8/5.3L     Opt                                              800                   79                —
   2002-99     V6/4.3L     Opt                                              690                   78                —
   2002-99     V8/5.0L     Opt                                              690                   78                —
   2002-99     V8/5.7L     Opt                                              690                   78                —
   2002-96     V8/5.0L                                                      600                   78                —
   2002-96     V8/5.7L                                                      600                   78                —
   GMC Savana 2500
   2021-18     V6/4.3L                                                      600                   78                —
   2021-17     L4/2.8L     Dsl                                              7702                  78                —
   2020-03     V8/6.0L                                                      600                   78                —
   2017-10     V8/4.8L     Opt                                              770                   78                —
   2017-10     V8/6.0L     Opt                                              770                   78                —
   2017-03     V8/4.8L                                                      600                   78                —
   2016-07     V8/6.6L     Dsl                                              7702                  78                —
   2006        V8/6.6L     Dsl                                              8002                  79                —
   2005-96     V6/4.3L                                                      600                   78                —
   2005-03     V6/4.3L     HD or SEO                                        800                   79                —
   2005-03     V8/4.8L     Opt                                              800                   79                —
   2005-03     V8/5.3L                                                      600                   78                —
   2005-03     V8/5.3L     Opt                                              800                   79                —
   2005-03     V8/6.0L     Opt                                              800                   79                —
   2002-99     V6/4.3L     Opt                                              690                   78                —
   2002-99     V8/5.0L     Opt                                              690                   78                —
   2002-99     V8/5.7L     Opt                                              690                   78                —
   2002-96     V8/5.0L                                                      600                   78                —
   2002-96     V8/5.7L                                                      600                   78                —
   2002-96     V8/6.5L     Dsl                                              6002                  78                —
   2002-96     V8/6.5L     Dsl, HD                                          6902                  78                —
   GMC Savana 3500
   2021-18     V8/6.6L                                                      600                   78                —
   2021-17     L4/2.8L     Dsl                                              7702                  78                —
   2021-18     V6/4.3L                                                      600                   78                —
   2020-17     L4/2.8L     Dsl                                              7702                  78                —
   2020-03     V8/6.0L                                                      600                   78                —
   2017-10     V8/4.8L     Opt                                              770                   78                —
   2017-10     V8/6.0L     Opt                                              770                   78                —
   2017-04     V8/4.8L                                                      600                   78                —
   2016-07     V8/6.6L     Dsl                                              7702                  78                —
   2006        V8/6.6L                                                      8002                  79                —
   2006        V8/6.6L     Dsl                                              8002                  79                —
   2005-04     V8/4.8L     Opt                                              800                   79                —
   2005-03     V8/6.0L     Opt                                              800                   79                —
   2002-99     V8/5.7L     Opt                                              690                   78                —
   2002-96     V8/5.7L                                                      600                   78                —
   2002-96     V8/6.5L     Dsl                                              6002                  78                —
   2002-96     V8/6.5L     Dsl, HD                                          6902                  78                —
   2002-01     V8/8.1L                                                      600                   78                —
   2002-01     V8/8.1L     Opt                                              690                   78                —
   2000        V8/7.4L                                                      600                   78                —
   2000        V8/7.4L     Opt                                              690                   78                —
   1999        V8/7.4L                                                      630                   78                —
   1998-96     V8/7.4L                                                      600                   78                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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78                                                 Automotive/Light Truck
  YEAR      ENGINE                       OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

GMC Sierra 1500
2021-20   L6/3.0L    Dsl                                     85033, 50              H8 (49) AGM       —
2021-19   L4/2.7L                                            73033, 50              H7 (94R) AGM      —
2021-19   V8/5.3L    VIN D                                   73033, 50              H7 (94R) AGM      —
2021-19   V8/6.2L                                            73033, 50              H7 (94R) AGM      —
2020-19   L4/2.7L                                            80033, 50              H7 (94R) AGM      —
2020-19   V8/5.3L    w/Start-Stop                            80033, 50              H7 (94R) AGM      —
2020-18   V8/5.3L    w/o Start-Stop                          720                    H7 (94R)          H7 (94R) AGM
2020-15   V6/4.3L                                            730                    H6 (48)           H6 (48) AGM
2019      V8/6.2L                                            80033, 50              H7 (94R) AGM      —
2018      V8/5.3L    w/Start-Stop                            73033                  H7 (94R) AGM      —
2018-14   V8/6.2L                                            720                    H7 (94R)          H7 (94R) AGM
2017-14   V8/5.3L                                            720                    H7 (94R)          H7 (94R) AGM
2016      V6/4.3L                                            720                    H7 (94R)          H7 (94R) AGM
2014-09   V6/4.3L    Opt                                     730                    H6 (48)           H6 (48) AGM
2014-09   V8/5.3L    Opt                                     730                    H6 (48)           H6 (48) AGM
2014-09   V8/6.2L    Opt                                     730                    H6 (48)           H6 (48) AGM
2014-08   V8/6.2L                                            615                    H6 (48)           H6 (48) AGM
2014-07   V6/4.3L                                            615                    H6 (48)           H6 (48) AGM
2014-07   V8/5.3L                                            615                    H6 (48)           H6 (48) AGM
2013      V8/6.0L    Hybrid                                  730                    H6 (48)           H6 (48) AGM
2013-09   V8/4.8L    Opt                                     730                    H6 (48)           H6 (48) AGM
2013-07   V8/4.8L                                            615                    H6 (48)           H6 (48) AGM
2012-10   V8/6.0L    Hybrid                                  615                    H6 (48)           H6 (48) AGM
2012-10   V8/6.0L    Hybrid, HD                              730                    H6 (48)           H6 (48) AGM
2009      V8/6.0L    Opt                                     730                    H6 (48)           H6 (48) AGM
2009-07   V8/6.0L                                            615                    H6 (48)           H6 (48) AGM
2007-99   V6/4.3L                                            600                    78                —
2007-99   V8/4.8L                                            600                    78                —
2007-99   V8/5.3L                                            600                    78                —
2007      V8/6.2L    Early                                   600                    78                —
2007      V8/6.2L    Late                                    615                    H6 (48)           H6 (48) AGM
2007-01   V8/6.0L                                            600                    78                —
2006      V6/4.3L    Opt                                     690                    78                —
2006      V8/4.8L    Opt                                     690                    78                —
2006      V8/5.3L    Opt                                     690                    78                —
2006-05   V8/6.0L    Opt                                     690                    78                —
2005-99   V6/4.3L    Opt                                     770                    78                —
2005-99   V8/4.8L    Opt                                     770                    78                —
2005-04   V8/5.3L    Opt                                     770                    78                —
2004-01   V8/6.0L    Opt                                     770                    78                —
2001-99   V8/5.3L    Opt                                     770                    78                —
GMC Sierra 1500 Classic
2007      V6/4.3L    Early                                   600                    78                —
2007      V6/4.3L    Late                                    615                    H6 (48)           H6 (48) AGM
2007      V8/4.8L    Early                                   600                    78                —
2007      V8/4.8L    Late                                    615                    H6 (48)           H6 (48) AGM
2007      V8/5.3L    Early                                   600                    78                —
2007      V8/5.3L    Late                                    615                    H6 (48)           H6 (48) AGM
2007      V8/6.0L    Early                                   600                    78                —
2007      V8/6.0L    Late                                    615                    H6 (48)           H6 (48) AGM
GMC Sierra 1500 HD Classic
2007      V8/6.0L    Early                                   600                    78                —
2007      V8/6.0L    Late                                    615                    H6 (48)           H6 (48) AGM
GMC Sierra 1500 Limited
2019      V8/5.3L                                            720                    H7 (94R)          H7 (94R) AGM
2019      V8/5.3L    Auxiliary Battery                       730                    H6 (48)           H6 (48) AGM
GMC Sierra 1500HD
2006      V8/6.0L    Opt                                     690                    78                —
2006-05   V8/6.0L                                            600                    78                —
2005      V8/6.0L    Opt                                     770                    78                —
2003-01   V8/6.0L                                            600                    78                —
2003-01   V8/6.0L    Opt                                     770                    78                —
GMC Sierra 2500
2004-99   V8/6.0L                                            600                    78                 —
2004-99   V8/6.0L    Opt                                     770                    78                 —
2000-99   V8/5.3L                                            600                    78                 —
2000-99   V8/5.3L    Opt                                     770                    78                 —
                                                            See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   79
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   GMC Sierra 2500 HD
   2021-19     V8/6.6L     Dsl                                              7302                   H6 (48)           H5 (47) AGM
   2021-20     V8/6.6L                                                      73033                  H7 (94R) AGM      —
   2021-20     V8/6.6L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2019        V8/6.0L                                                      73033                  H7 (94R) AGM      —
   2019        V8/6.0L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2019-15     V8/6.0L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2018        V8/6.0L     w/o Start-Stop                                   720                    H7 (94R)          H7 (94R) AGM
   2018        V8/6.0L     w/Start-Stop                                     73033                  H7 (94R) AGM      —
   2018-15     V8/6.6L     Dsl                                              7302                   H6 (48)           H6 (48) AGM
   2018-15     V8/6.6L     Dsl, Auxiliary                                   7302                   H6 (48)           H6 (48) AGM
   2017        V8/6.0L                                                      73033                  H7 (94R) AGM      —
   2017-15     V8/6.0L                                                      730                    H6 (48)           H6 (48) AGM
   2016        V8/6.6L     Dsl                                              7202                   H7 (94R)          H7 (94R) AGM
   2016-14     V8/6.0L                                                      720                    H7 (94R)          H7 (94R) AGM
   2014-08     V8/6.6L                                                      7302                   H6 (48)           H6 (48) AGM
   2013-11     V8/6.0L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2013-08     V8/6.0L                                                      615                    H6 (48)           H6 (48) AGM
   2009        V8/6.0L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2007        V8/6.0L     Early                                            600                    78                —
   2007        V8/6.0L     Late                                             615                    H6 (48)           H6 (48) AGM
   2007        V8/6.6L     Dsl, Early                                       7702                   78                —
   2007        V8/6.6L     Dsl, Late                                        7302                   H6 (48)           H6 (48) AGM
   2006-03     V8/6.6L     Dsl                                              7702                   78                —
   2006        V8/6.0L     Opt                                              690                    78                —
   2006-02     V8/8.1L     Opt                                              690                    78                —
   2006-01     V8/6.0L                                                      600                    78                —
   2006-01     V8/8.1L                                                      600                    78                —
   2005-03     V8/8.1L     Opt                                              770                    78                —
   2005-01     V8/6.0L     Opt                                              770                    78                —
   2004        V8/6.6L     Dsl                                              6002                   78                —
   2002-01     V8/6.6L     Dsl                                              6002                   78                —
   2002-01     V8/6.6L     Dsl, Opt                                         6902                   78                —
   GMC Sierra 2500 HD Classic
   2007        V8/6.0L     Early                                            600                    78                —
   2007        V8/6.0L     Late                                             615                    H6 (48)           H6 (48) AGM
   2007        V8/6.6L     Dsl, Early                                       7702                   78                —
   2007        V8/6.6L     Dsl, Late                                        7302                   H6 (48)           H6 (48) AGM
   2007        V8/8.1L     Early                                            600                    78                —
   2007        V8/8.1L     Late                                             615                    H6 (48)           H6 (48) AGM
   GMC Sierra 3500
   2006        V8/6.0L     Opt                                              690                    78                —
   2006-03     V8/6.6L     Dsl                                              7702                   78                —
   2006-02     V8/8.1L     Opt                                              690                    78                —
   2006-01     V8/6.0L                                                      600                    78                —
   2006-01     V8/8.1L                                                      600                    78                —
   2005-03     V8/8.1L     Opt                                              770                    78                —
   2005-01     V8/6.0L     Opt                                              770                    78                —
   2004        V8/6.6L     Dsl                                              6002                   78                —
   2002-01     V8/6.6L     Dsl                                              6002                   78                —
   2002-01     V8/6.6L     Dsl, HD                                          6902                   78                —
   2002-01     V8/6.6L     Dsl, Opt                                         6902                   78                —
   2001        V8/8.1L     Opt                                              770                    78                —
   GMC Sierra 3500 Classic
   2007        V8/6.0L     Early                                            600                    78                —
   2007        V8/6.0L     Late                                             615                    H6 (48)           H6 (48) AGM
   2007        V8/6.6L     Dsl, Early                                       7702                   78                —
   2007        V8/6.6L     Dsl, Late                                        7302                   H6 (48)           H6 (48) AGM
   2007        V8/8.1L     Early                                            600                    78                —
   2007        V8/8.1L     Late                                             615                    H6 (48)           H6 (48) AGM
   GMC Sierra 3500 HD
   2021-20 V8/6.6L         Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2021-20 V8/6.6L                                                          73033                  H7 (94R) AGM      —
   2021-19 V8/6.6L         Dsl                                              7302                   H6 (48)           H5 (47) AGM
   2020-08 V8/6.6L         Dsl                                              7302                   H6 (48)           H6 (48) AGM
   2019       V8/6.0L                                                       73033                  H7 (94R) AGM      —
   2019       V8/6.0L      Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2019-17 V8/6.0L         Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   See page 157 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                                     OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                CCA/RATING             (NOTES)            (NOTES)

GMC Sierra 3500 HD (continued)
2018      V8/6.0L    w/o Start-Stop                                       720                    H7 (94R)          H7 (94R) AGM
2018      V8/6.0L    w/Start-Stop                                         73033                  H7 (94R) AGM      —
2018-15   V8/6.6L    Dsl                                                  7302                   H6 (48)           H6 (48) AGM
2018-15   V8/6.6L    Dsl, Auxiliary                                       7302                   H6 (48)           H6 (48) AGM
2017      V8/6.0L                                                         73033                  H7 (94R) AGM      —
2017-15   V8/6.0L                                                         730                    H6 (48)           H6 (48) AGM
2017-14   V8/6.0L                                                         720                    H7 (94R)          H7 (94R) AGM
2016-14   V8/6.6L    Dsl                                                  7202                   H7 (94R)          H7 (94R) AGM
2014-08   V8/6.6L    Dsl                                                  730                    H6 (48)           H6 (48) AGM
2014-09   V8/6.0L    Opt                                                  730                    H6 (48)           H6 (48) AGM
2013-08   V8/6.0L                                                         615                    H6 (48)           H6 (48) AGM
2007      V8/6.6L    Dsl, Early                                           6002                   78                —
2007      V8/6.6L    Dsl, Late                                            7302                   H6 (48)           H6 (48) AGM
2007      V8/6.0L    Early                                                6002                   78                —
2007      V8/6.0L    Late                                                 6152                   H6 (48)           H6 (48) AGM
GMC Sonoma
2004-94   V6/4.3L    Opt                                                  690                    —                 —
2004-91   V6/4.3L                                                         525                    75                —
2003-94   L4/2.2L                                                         525                    75                —
2002-94   L4/2.2L    Opt                                                  690                    —                 —
1993-91   L4/2.5L                                                         525                    75                —
1993-91   L4/2.5L    Opt                                                  630                    78                —
1993-91   V6/2.8L                                                         525                    75                —
1993-91   V6/2.8L    Opt                                                  630                    78                —
1993-91   V6/4.3L    Opt                                                  630                    78                —
GMC S-Series: Pickup, Jimmy
1991-90   V6/4.3L    Opt                                                  630                    78                —
1991-88   V6/4.3L                                                         525                    75                —
1990      L4/2.5L    Opt                                                  630                    78                —
1990      V6/2.8L    Opt                                                  630                    78                —
1990-87   L4/2.5L                                                         525                    75                —
1990-87   V6/2.8L                                                         525                    75                —
GMC Syclone
1991      V6/4.3L                                                         525                    75                —
1991      V6/4.3L    Opt                                                  630                    78                —
GMC Terrain
2021-18   L4/1.5L                                                         73033                  H6 (48) AGM       —
2020-18   L4/2.0L                                                         73033                  H6 (48) AGM       —
2019-18   L4/1.6L                                                         73033                  H6 (48) AGM       —
2017-13   V6/3.6L                                                         660                    H6 (48)           H6 (48) AGM
2017-10   L4/2.4L                                                         525                    H5 (47)           H5 (47) AGM
2012      V6/3.0L                                                         660                    H6 (48)           H6 (48) AGM
2011-10   V6/3.0L                                                         615                    H6 (48)           H6 (48) AGM
GMC Tracker
1991-90 L4/1.6L                                                           525                    —                 —
GMC Typhoon
1993-92 V6/4.3L                                                           525                    75                —
1993-92 V6/4.3L      Opt                                                  630                    78                —
GMC V Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
GMC Yukon XL
2021      L6/3.0L    Dsl                                                  73033, 50              H7 (94R) AGM      —
2021      V8/5.3L                                                         73033, 50              H7 (94R) AGM      —
2021      V8/6.2L                                                         73033, 50              H7 (94R) AGM      —
2020-15   V8/5.3L    Auxiliary Battery                                    730                    H6 (48)           H6 (48) AGM
2020-15   V8/6.2L    Auxiliary Battery                                    730                    H6 (48)           H6 (48) AGM
2020-15   V8/5.3L                                                         720                    H7 (94R)          H7 (94R) AGM
2020-15   V8/6.2L                                                         720                    H7 (94R)          H7 (94R) AGM
GMC Yukon, Yukon XL 1500, Yukon XL 2500
2021      L6/3.0L    Dsl                                                  73033, 50              H7 (94R) AGM      —
2021      V8/5.3L                                                         73033, 50              H7 (94R) AGM      —
2021      V8/6.2L                                                         73033, 50              H7 (94R) AGM      —
2020-17   V8/5.3L    Auxiliary Battery                                    730                    H6 (48)           H6 (48) AGM
2020-17   V8/6.2L    Auxiliary Battery                                    730                    H6 (48)           H6 (48) AGM
2020-15   V8/5.3L                                                         720                    H7 (94R)          H7 (94R) AGM
2020-15   V8/6.2L                                                         720                    H7 (94R)          H7 (94R) AGM
2015-09   V8/5.3L    Opt                                                  730                    H6 (48)           H6 (48) AGM
                                                                         See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                              81
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT      GROUP SIZE    ALTERNATE SIZE
                                                                                  CCA/RATING           (NOTES)         (NOTES)

   GMC Yukon, Yukon XL 1500, Yukon XL 2500 (continued)
   2015-09     V8/6.2L     Opt                                              730                    H6 (48)         H6 (48) AGM
   2014-12     V8/5.3L                                                      660                    H6 (48)         H6 (48) AGM
   2014-12     V8/6.2L                                                      660                    H6 (48)         H6 (48) AGM
   2013-12     V8/6.0L     Hybrid                                           660                    H6 (48)         H6 (48) AGM
   2013-12     V8/6.0L     Hybrid, HD                                       730                    H6 (48)         H6 (48) AGM
   2011-10     V8/6.0L     Hybrid, Opt                                      730                    H6 (48)         H6 (48) AGM
   2011-09     V8/6.0L     Opt                                              730                    H6 (48)         H6 (48) AGM
   2011-07     V8/5.3L                                                      615                    H6 (48)         H6 (48) AGM
   2011-07     V8/6.0L                                                      615                    H6 (48)         H6 (48) AGM
   2011-07     V8/6.2L                                                      615                    H6 (48)         H6 (48) AGM
   2009        V8/4.8L     Opt                                              730                    H6 (48)         H6 (48) AGM
   2009        V8/6.0L     Hybrid, HD                                       730                    H6 (48)         H6 (48) AGM
   2009-07     V8/4.8L                                                      615                    H6 (48)         H6 (48) AGM
   2006        V8/4.8L     Opt                                              690                    78              —
   2006        V8/5.3L     Opt                                              690                    78              —
   2006        V8/6.0L     Opt                                              690                    78              —
   2006-01     V8/8.1L                                                      600                    78              —
   2006-01     V8/8.1L     Opt                                              690                    78              —
   2006-00     V8/4.8L                                                      600                    78              —
   2006-00     V8/5.3L                                                      600                    78              —
   2006-00     V8/6.0L                                                      600                    78              —
   2005        V8/5.3L     Option 1                                         690                    78              —
   2005        V8/5.3L     Option 2                                         770                    78              —
   2005-03     V8/4.8L     Opt                                              770                    78              —
   2005-03     V8/5.3L     Opt                                              770                    78              —
   2005-03     V8/6.0L     Opt                                              770                    78              —
   2005-03     V8/8.1L     Opt                                              770                    78              —
   2004-03     V8/6.0L     Option 1                                         690                    78              —
   2004-03     V8/6.0L     Option 2                                         770                    78              —
   2002-00     V8/4.8L     Opt                                              690                    78              —
   2002-00     V8/5.3L     Opt                                              690                    78              —
   2002-00     V8/6.0L     Opt                                              690                    78              —
   2000-99     V8/5.7L     Opt                                              690                    78              —
   2000-99     V8/5.7L     PPkg or HD                                       770                    78              —
   2000-94     V8/5.7L                                                      600                    78              —
   2000        V8/5.3L     PPkg & Opt                                       770                    78              —
   2000        V8/5.3L     Primary Battery                                  600                    78              —
   2000        V8/6.0L     PPkg or HD                                       770                    78              —
   1999        V8/5.7L     PPkg & Opt                                       770                    78              —
   1997        V8/6.5L     Dsl                                              6002                   78              —
   1996-94     V8/6.5L     Dsl                                              7702                   78              —
   1993-92     V8/5.7L     Auxiliary Battery                                540                    78              —
   1993-92     V8/5.7L     Primary Battery                                  630                    78              —
   Honda Accord
   2021-18     L4/1.5L                                                      45059                  —               —
   2020-19     L4/2.0L     Hybrid                                           500                    51              —
   2020-18     L4/2.0L                                                      620                    H6 (48)         H6 (48) AGM
   2019-17     L4/2.0L     Hybrid                                           500                    51              —
   2017-13     L4/2.4L                                                      410                    51R             —
   2017-08     V6/3.5L                                                      55011                  24F 6, 10       24F AGM
   2015-14     L4/2.0L     Hybrid                                           500                    51              —
   2013        L4/2.4L     California & Canada                              440                    35              35 AGM
   2013-12     L4/2.4L     US, Ex California                                410                    51R             —
   2012        L4/2.4L     Canada & CA                                      440                    35              35 AGM
   2012-08     L4/2.4L     California, AT                                   440                    35              35 AGM
   2012-08     L4/2.4L     Ex California, AT                                410                    51R             —
   2011-10     L4/2.4L     MT                                               410                    51R             —
   2009-03     L4/2.4L                                                      435                    51R             —
   2007-03     V6/3.0L                                                      440                    35              35 AGM
   2002-98     L4/2.3L                                                      450                    35              35 AGM
   2002-98     V6/3.0L                                                      500                    24              —
   1997-96     V6/2.7L                                                      500                    24              —
   1997-94     L4/2.2L                                                      550                    24F             24F AGM
   1995        V6/2.7L                                                      550                    24F             24F AGM
   1993-90     L4/2.2L                                                      550                    24              —
   See page 157 for Footnotes. Selection may vary by warehouse.

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82                                                   Automotive/Light Truck
  YEAR      ENGINE                         OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                    CCA/RATING             (NOTES)            (NOTES)

Honda Accord Crosstour
2011-10 V6/3.5L                                               55011                  24F 6, 10         24F AGM
Honda Civic
2020-18   L4/2.0L    Type R                                   410                    H5 (47)           H5 (47) AGM
2020-18   L4/2.0L    Ex Type R                                410                    51R               —
2020-16   L4/1.5L                                             410                    51R               —
2017-16   L4/2.0L                                             410                    51R               —
2015-14   L4/1.8L                                             410                    51R               —
2015-14   L4/2.4L                                             410                    51R               —
2015-12   L4/1.5L    Hybrid                                   340                    —                 —
2013-12   L4/2.4L    Canada                                   410                    51R               —
2013-12   L4/2.4L    US                                       310                    51R               —
2013-08   L4/1.8L    Canada                                   410                    51R               —
2013-08   L4/1.8L    US                                       310                    51R               —
2011-08   L4/2.0L    Canada                                   410                    51R               —
2011-08   L4/2.0L    US                                       310                    51R               —
2011-06   L4/1.3L    Hybrid                                   340                    —                 —
2007      L4/2.0L                                             440                    51R               —
2007-06   L4/1.8L                                             435                    51R               —
2006-02   L4/2.0L                                             435                    51R               —
2005-03   L4/1.3L    Hybrid                                   4106                   51R               —
2005-01   L4/1.7L                                             410                    51                —
2000-92   L4/1.6L                                             410                    51R               —
1995-92   L4/1.5L                                             410                    51R               —
1991-90   L4/1.5L                                             405                    51                —
1991-90   L4/1.6L                                             405                    51                —
Honda Civic del Sol
1997-93 L4/1.6L                                               410                    51R               —
1995-93 L4/1.5L                                               410                    51R               —
Honda Clarity
2020-18                                                       500                    51R               —
2020-18 L4/1.5L                                               500                    51R               —
Honda Crosstour
2015-14   L4/2.4L                                             500                    51R               —
2015-14   V6/3.5L                                             550                    24F               24F AGM
2013-12   L4/2.4L    California & Canada                      440                    35                35 AGM
2013-12   L4/2.4L    US                                       410                    51R               —
2013-12   V6/3.5L                                             55011                  24F 6, 10         24F AGM
Honda CR-V
2021-20   L4/1.5L                                             45050, 59              —                 —
2020-18   L4/2.4L                                             410                    51R               —
2020-17   L4/1.5L                                             410                    51R               —
2017-02   L4/2.4L                                             410                    51R               —
2016-14   L4/2.4L    Canada                                   440                    35                35 AGM
2016-14   L4/2.4L    US                                       410                    51R               —
2001-97   L4/2.0L                                             410                    51R               —
Honda CRX
1991-90 L4/1.5L                                               405                    51                —
1991-90 L4/1.6L                                               405                    51                —
Honda CR-Z
2016-11 L4/1.5L      Hybrid                                   340                    —                 —
Honda Element
2011-03 L4/2.4L                                               410                    51R               —
Honda Fit
2020-07 L4/1.5L                                               340                    —                 —
2014-13              Electric                                 340                    —                 —
Honda HR-V
2020-18 L4/1.8L                                               500                    51R               —
2017-16 L4/1.8L                                               500                    51R               —
Honda Insight
2021-19 L4/1.5L      Hybrid                                   29533                  —                 —
2014-10 L4/1.3L      Hybrid                                   340                    —                 —
2006-00 L3/1.0L      Hybrid                                   270                    51                —
Honda Odyssey
2021      V6/3.5L                                             65033                  H6 (48) AGM       —
2020-18   V6/3.5L    Elite, Touring                           65033                  H6 (48) AGM       —
2020-18   V6/3.5L    Ex Elite, Touring                        620                    H6 (48)           H6 (48) AGM
2017      V6/3.5L                                             630                    24F               24F AGM
2016      V6/3.5L                                             730                    —                 —
2015      V6/3.5L                                             550                    24F               24F AGM
                                                             See page 157 for Footnotes. Selection may vary by warehouse.

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      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Honda Odyssey (continued)
   2014-05     V6/3.5L                                                      55011                  24F 6, 10         24F AGM
   2004-99     V6/3.5L                                                      550                    24F               24F AGM
   1998        L4/2.3L                                                      550                    24F               24F AGM
   1997-95     L4/2.2L                                                      550                    24F               24F AGM
   Honda Passport
   2021-19     V6/3.5L                                                      65033                  H6 (48) AGM       —
   2002-98     V6/3.2L                                                      600                    24F               24F AGM
   1997-96     V6/3.2L                                                      600                    24                —
   1996        L4/2.6L                                                      430                    86                —
   1996        L4/2.6L     Opt                                              600                    24                —
   1995-94     L4/2.6L                                                      380                    25                —
   1995-94     V6/3.2L     AT                                               600                    24                —
   1995-94     V6/3.2L     MT                                               380                    25                —
   Honda Pilot
   2021        V6/3.5L                                                      65033                  H6 (48) AGM       —
   2020-18     V6/3.5L     Elite, Touring, TRG                              65033                  H6 (48) AGM       —
   2020-18     V6/3.5L     Ex Elite, Touring, TRG                           620                    H6 (48)           H6 (48) AGM
   2017-16     V6/3.5L                                                      620                    H6 (48)           H6 (48) AGM
   2017-16     V6/3.5L     Elite, Touring                                   65033                  H6 (48) AGM       —
   2016        V6/3.5L     FWD                                              620                    H6 (48)           H6 (48) AGM
   2016        V6/3.5L     SH-AWD                                           65033                  H6 (48) AGM       —
   2015-03     V6/3.5L                                                      55011                  24F 6, 10         24F AGM
   Honda Prelude
   2001-92     L4/2.2L                                                      550                    24F               24F AGM
   1996-92     L4/2.3L                                                      550                    24F               24F AGM
   1991-90     L4/2.0L                                                      550                    24                —
   1991-90     L4/2.1L                                                      550                    24                —
   Honda Ridgeline
   2020-17     V6/3.5L                                                      620                    H6 (48)           H6 (48) AGM
   2014-11     V6/3.5L                                                      550                    24F               24F AGM
   2010-06     V6/3.5L                                                      585                    24F               24F AGM
   2006        V6/3.5L                                                      550                    24F               24F AGM
   Honda S2000
   2009-04 L4/2.2L                                                          430                    51                —
   2003-00 L4/2.0L                                                          430                    51                —
   Hummer H1
   2006    V8/6.6L                                                          840                    79                —
   2004-03 V8/6.5L                                                          8402                   79                —
   2002    V8/6.5L                                                          770                    78                —
   Hummer H2
   2009-08 V8/6.2L                                                          730                    H6 (48)           H6 (48) AGM
   2007-03 V8/6.0L                                                          840                    79                —
   Hummer H3
   2010        L5/3.7L                                                      59040                  86                —
   2010        V8/5.3L                                                      59040                  86                —
   2009        L5/3.7L                                                      59011, 40              86                —
   2009        V8/5.3L                                                      59011, 40              86                —
   2008        V8/5.3L                                                      64011, 40              86                —
   2008-07     L5/3.7L                                                      64011, 40              86                —
   2006        L5/3.5L                                                      64011, 40              —                 —
   Hummer H3T
   2010        L5/3.7L                                                      59040                  86                —
   2010        V8/5.3L                                                      59040                  86                —
   2009        L5/3.7L                                                      59011, 40              86                —
   2009        V8/5.3L                                                      59011, 40              86                —
   Hyundai Accent
   2021-18     L4/1.6L                                                      60 Ah33                H5 (47) AGM       —
   2017-14     L4/1.6L                                                      N/A                    H5 (47)           H5 (47) AGM
   2016        L4/1.6L                                                      600                    —                 —
   2013-01     L4/1.6L                                                      500                    121R              —
   2003-01     L4/1.5L                                                      500                    121R              —
   2000-98     L4/1.5L                                                      435                    121R              —
   1997-95     L4/1.5L                                                      410                    121R              —
   1997-95     L4/1.5L     Opt                                              580                    121R              —
   Hyundai Azera
   2017-07 V6/3.3L                                                          600                    124R              —
   2016    V6/3.3L                                                          700                    124R              —
   2011-06 V6/3.8L                                                          600                    124R              —
   See page 157 for Footnotes. Selection may vary by warehouse.

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84                                             Automotive/Light Truck
  YEAR      ENGINE                   OPTIONS                   ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

Hyundai Elantra
2021-19   L4/2.0L                                            64033                  H5 (47) AGM       —
2020-17   L4/1.4L                                            76033                  H6 (48) AGM       —
2019-17   L4/1.6L                                            550                    H5 (47)           H5 (47) AGM
2018-17   L4/2.0L                                            60 Ah33                H6 (48) AGM       —
2016-14   L4/1.8L    AT                                      76033                  H6 (48) AGM       —
2016-14   L4/1.8L    MT                                      550                    —                 H5 (47) AGM
2016-11   L4/2.0L                                            550                    —                 H5 (47) AGM
2013-11   L4/1.8L                                            550                    —                 H5 (47) AGM
2013-11   L4/1.8L    Opt                                     550                    H6 (48)           H6 (48) AGM
2010      L4/2.0L                                            600                    121R              —
2009-07   L4/2.0L                                            550                    121R              —
2006      L4/2.0L                                            500                    124R              —
2005-04   L4/2.0L                                            560                    124R              —
2003-99   L4/2.0L                                            550                    124R              —
1998-97   L4/1.8L                                            600                    121R              —
1996-93   L4/1.8L                                            435                    25                —
1996-93   L4/1.8L    Canada & Opt                            540                    24                —
1995-92   L4/1.6L                                            435                    25                —
1995-92   L4/1.6L    Canada & Opt                            540                    24                —
Hyundai Elantra Coupe
2014      L4/2.0L                                            550                    —                 H5 (47) AGM
2013      L4/1.8L                                            550                    —                 H5 (47) AGM
Hyundai Elantra GT
2019-18 L4/1.6L                                              550                    H5 (47)           H5 (47) AGM
2019-14 L4/2.0L                                              600                    H6 (48)           H6 (48) AGM
2013    L4/1.8L                                              550                    —                 H5 (47) AGM
Hyundai Entourage
2010-07 V6/3.8L                                              600                    124R              —
Hyundai Equus
2016-12 V8/5.0L                                              74050                  —                 H8 (49) AGM
2011    V8/4.6L                                              740                    —                 H8 (49) AGM
Hyundai Excel
1994-90 L4/1.5L                                              420                    25                —
Hyundai Genesis
2016      V6/3.8L    AGM                                     95033                  H9 (95R) AGM      —
2016      V8/5.0L    AGM                                     95033                  H9 (95R) AGM      —
2016-14   V6/3.8L                                            74050                  —                 H8 (49) AGM
2016-14   V8/5.0L                                            95033, 50              H9 (95R) AGM      —
2013-12   V8/5.0L                                            600                    —                 —
2013-09   V6/3.8L    Sedan                                   74054                  —                 H8 (49) AGM
2012-09   V8/4.6L    Sedan                                   74054                  —                 H8 (49) AGM
Hyundai Genesis Coupe
2016    V6/3.8L                                              700                    124R              —
2015-10 V6/3.8L                                              600                    124R              —
2014-10 L4/2.0L                                              600                    124R              —
Hyundai Kona
2018      L4/1.6L                                            76033                  H6 (48) AGM       —
2018      L4/2.0L                                            76033                  H6 (48) AGM       —
Hyundai Santa Fe
2019      L4/2.0L                                            600                    124R              —
2019-03   L4/2.4L                                            600                    124R              —
2018-07   V6/3.3L                                            600                    124R              —
2016      V6/3.3L                                            700                    124R              —
2012-03   V6/3.5L                                            600                    124R              —
2009-01   V6/2.7L                                            600                    124R              —
2002      L4/2.4L                                            550                    124R              —
2001      L4/2.4L                                            660                    124R              —
Hyundai Santa Fe Sport
2018-17   L4/2.0L                                            80033                  H7 (94R) AGM      —
2018-17   L4/2.4L                                            80033                  H7 (94R) AGM      —
2016-13   L4/2.0L                                            700                    124R              —
2016-13   L4/2.4L                                            700                    124R              —
Hyundai Santa Fe XL
2016    V6/3.3L                                              700                    124R              —
2016-13 V6/3.3L                                              600                    124R              —
Hyundai Scoupe
1995-94 L4/1.5L      Canada & Opt                            540                    24                —
1995-94 L4/1.5L      Canada or Opt                           54045                  —                 —
1993-91 L4/1.5L                                              420                    25                —
                                                            See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   85
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Hyundai Sonata
   2019-18     L4/2.0L     Hybrid                                           60045, 50              —                 —
   2019-18     L4/2.4L                                                      76033                  H6 (48) AGM       —
   2019-14     L4/2.0L                                                      76033                  H6 (48) AGM       —
   2018        L4/1.6L                                                      76033                  H6 (48) AGM       —
   2017-15     L4/1.6L                                                      80033                  H7 (94R) AGM      —
   2017-15     L4/2.4L                                                      80033                  H7 (94R) AGM      —
   2016        L4/2.0L     Gas                                              76033                  H6 (48) AGM       —
   2016        L4/2.0L     Hybrid                                           60045, 50              —                 —
   2015        L4/2.4L     Gas                                              80033                  H7 (94R) AGM      —
   2015-11     L4/2.4L     Hybrid                                           60045, 50              —                 —
   2014        L4/2.4L     Gas                                              76033                  H6 (48) AGM       —
   2013-11     L4/2.0L                                                      600                    124R              —
   2013-06     L4/2.4L     Gas                                              600                    124R              —
   2010        V6/3.3L                                                      700                    124R              —
   2009-06     V6/3.3L                                                      600                    124R              —
   2005-03     L4/2.4L                                                      560                    124R              —
   2005-02     V6/2.7L                                                      600                    124R              —
   2002-99     L4/2.4L                                                      550                    124R              —
   2001        V6/2.5L                                                      600                    124R              —
   2000-99     V6/2.5L                                                      540                    124R              —
   1998-92     L4/2.0L                                                      420                    25                —
   1998-92     L4/2.0L     Opt                                              540                    24                —
   1998-90     V6/3.0L                                                      540                    24                —
   1991-89     L4/2.4L                                                      420                    25                —
   1991-89     L4/2.4L     Opt                                              540                    24                —
   Hyundai Tiburon
   2008-97 L4/2.0L                                                          600                    124R              —
   2008-03 V6/2.7L                                                          600                    124R              —
   1997    L4/1.8L                                                          600                    124R              —
   Hyundai Tucson
   2019-18     L4/2.4L                                                      640                    H6 (48)           H6 (48) AGM
   2019-16     L4/2.0L                                                      640                    H6 (48)           H6 (48) AGM
   2018-16     L4/1.6L                                                      640                    H6 (48)           H6 (48) AGM
   2017                    Electric/Hydrogen                                600                    —                 —
   2016        L4/1.6L                                                      600                    124R              —
   2016-15                                                                  410                    H5 (47)           H5 (47) AGM
   2016-15                 Electric/Hydrogen                                600                    —                 —
   2016-11     L4/2.0L                                                      600                    124R              —
   2015-10     L4/2.4L                                                      600                    124R              —
   2009-05     L4/2.0L                                                      600                    124R              —
   2009-05     V6/2.7L                                                      600                    124R              —
   Hyundai Veloster
   2016        L4/1.6L     Turbo                                            410                    H5 (47)           H5 (47) AGM
   2016-13     L4/1.6L     Turbo                                            550                    —                 H5 (47) AGM
   2016-12     L4/1.6L     Non Turbo                                        550                    121R              —
   2014        L4/1.6L                                                      550                    —                 H5 (47) AGM
   2013-12     L4/1.6L                                                      600                    121R              —
   Hyundai Veracruz
   2012-09 V6/3.8L                                                          660                    124R              —
   2008-07 V6/3.8L                                                          600                    124R              —
   Hyundai XG300
   2001        V6/3.0L                                                      600                    124R              —
   Hyundai XG350
   2005-02 V6/3.5L                                                          600                    124R              —
   ,QğQLWLEX35
   2012-08 V6/3.5L                                                          585                    35                35 AGM
   ,QğQLWLEX37
   2013        V6/3.7L                                                      720                    —                 —
   ,QğQLWLFX35
   2012-09     V6/3.5L                                                      585                    35                35 AGM
   2008-07     V6/3.5L                                                      550                    24F               24F AGM
   2008-07     V6/3.5L     w/Intelligent Key                                750                    —                 —
   2008-07     V6/3.5L     w/o Intelligent Key                              550                    35                35 AGM
   2006-03     V6/3.5L                                                      490                    35                35 AGM
   ,QğQLWLFX37
   2013        V6/3.7L                                                      720                    —                 —
   ,QğQLWLFX45
   2008-07 V8/4.5L                                                          550                    24F               24F AGM
   2008-06 V8/4.5L         w/Intelligent Key                                750                    —                 —
   See page 157 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                         OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                    CCA/RATING             (NOTES)            (NOTES)

,QğQLWLFX45 (continued)
2008-06 V8/4.5L      w/o Intelligent Key                      550                    35                35 AGM
2006-03 V8/4.5L                                               490                    35                35 AGM
,QğQLWLFX50
2013-09 V8/5.0L                                               720                    —                 —
,QğQLWLG20
2002-99 L4/2.0L                                               585                    24F               24F AGM
1996-91 L4/2.0L      California                               360                    35                35 AGM
1996-91 L4/2.0L      Ex California                            585                    24F               24F AGM
,QğQLWLG25
2012-11 V6/2.5L                                               720                    —                 —
2012-11 V6/2.5L                                               585                    35                35 AGM
,QğQLWLG35
2008      V6/3.5L                                             550                    35                35 AGM
2007-03   V6/3.5L    Coupe                                    550                    35                35 AGM
2007-03   V6/3.5L    Sedan                                    550                    24F               24F AGM
2006-03   V6/3.5L                                             490                    35                35 AGM
,QğQLWLG37
2013-08 V6/3.7L                                               585                    35                35 AGM
,QğQLWLI30
2001-98   V6/3.0L                                             585                    24F               24F AGM
1997-96   V6/3.0L    California                               415                    24F               24F AGM
1997-96   V6/3.0L    Canada & Opt                             585                    24F               24F AGM
1997-96   V6/3.0L    US                                       360                    35                35 AGM
,QğQLWLI35
2004-03 V6/3.5L                                               445                    24F               24F AGM
2002    V6/3.5L                                               585                    24F               24F AGM
,QğQLWLJ30
1997-93 V6/3.0L                                               585                    24                —
,QğQLWLJX35
2013      V6/3.5L                                             720                    —                 —
,QğQLWLM30
1992      V6/3.0L    Conv                                     360                    25                —
1992      V6/3.0L    Ex Conv                                  415                    24                —
1992      V6/3.0L    Opt                                      585                    24                —
1991-90   V6/3.0L                                             415                    24                —
,QğQLWLM35
2010-06 V6/3.5L                                               700                    24F               24F AGM
,QğQLWLM37
2013-11 V6/3.7L                                               700                    24F               24F AGM
,QğQLWLM45
2010-06 V8/4.5L                                               750                    —                 —
2004    V8/4.5L                                               49045                  25                —
2003    V8/4.5L                                               585                    24                —
,QğQLWLM56
2013-11 V8/5.6L                                               750                    —                 —
,QğQLWLQ40
2015      V6/3.7L                                             585                    35                35 AGM
,QğQLWLQ45
2006-02 V8/4.5L                                               585                    24F               24F AGM
2001-97 V8/4.1L                                               585                    24                —
1996-90 V8/4.5L                                               625                    27                —
,QğQLWLQ50
2019-18   V6/3.0L                                             60045, 59              —                 —
2018      V6/3.5L    Hybrid                                   60045, 59              —                 —
2016      V6/3.5L    Ex HEV w/o EFB                           640                    35                35 AGM
2015      V6/3.5L    Hybrid                                   585                    35                35 AGM
2015-14   V6/3.7L                                             585                    35                35 AGM
2014      V6/3.5L    Hybrid                                   58559                  —                 —
,QğQLWLQ60
2019-17 V6/3.0L                                               60045, 59              —                 —
2015-14 V6/3.7L                                               720                    —                 —
2014    V6/3.7L                                               585                    35                35 AGM
,QğQLWLQ70
2016      V8/5.6L                                             700                    24F                24F AGM
2016-14   V6/3.7L                                             585                    35                 35 AGM
2015-14   V6/3.5L    Hybrid                                   585 50
                                                                                     —                  —
2015-14   V8/5.6L                                             585                    35                 35 AGM
                                                             See page 157 for Footnotes. Selection may vary by warehouse.

                                                                                                                            Costco_001886
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 688 Isuzu
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   Automotive/Light Truck                                                                                                   87
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   ,QğQLWLQ70L
   2016-15 V6/3.7L                                                          585                    35                35 AGM
   2016-15 V8/5.6L                                                          585                    35                35 AGM
   ,QğQLWLQX4
   2003        V6/3.5L                                                      490                    24                —
   2002        V6/3.5L                                                      360                    25                —
   2001        V6/3.5L                                                      490                    24                —
   2000-97     V6/3.3L     HD, w/HS & Canada                                450                    24                —
   2000-97     V6/3.3L     US                                               360                    25                —
   ,QğQLWLQX50
   2020-19     L4/2.0L                                                      7002, 50, 59           —                 —
   2017        V6/3.7L                                                      585                    35                35 AGM
   2016        V6/3.7L                                                      550                    35                35 AGM
   2016        V6/3.7L     Opt                                              720                    —                 —
   2015-14     V6/3.7L                                                      720                    —                 —
   ,QğQLWLQX56
   2013-12 V8/5.6L                                                          710                    27                —
   2010-04 V8/5.6L                                                          710                    27F               —
   ,QğQLWLQX60
   2017-14 V6/3.5L                                                          550                    35                35 AGM
   2015-14 L4/2.5L         Hybrid                                           500                    51R               —
   2015-14 V6/3.5L                                                          720                    —                 —
   ,QğQLWLQX70
   2017        V6/3.7L                                                      585                    35                35 AGM
   2016        V6/3.7L                                                      550                    35                35 AGM
   2016-15     V6/3.7L     Opt                                              720                    —                 —
   2015-14     V6/3.7L                                                      720                    —                 —
   ,QğQLWLQX80
   2017-14 V8/5.6L                                                          780                    27                —
   Isuzu Amigo
   2000-98     L4/2.2L                                                      600                    24F               24F AGM
   2000-98     V6/3.2L                                                      600                    24F               24F AGM
   1994-90     L4/2.6L     AT                                               600                    24                —
   1994-90     L4/2.6L     MT                                               430                    25                —
   1993-90     L4/2.3L     AT                                               600                    24                —
   1993-90     L4/2.3L     MT                                               430                    25                —
   Isuzu Ascender
   2008-03 L6/4.2L                                                          60040                  78                —
   2006-03 V8/5.3L                                                          60040                  78                —
   Isuzu Axiom
   2004-02 V6/3.5L                                                          600                    24F               24F AGM
   Isuzu Hombre
   2000-97     V6/4.3L                                                      525                    75                —
   2000-97     V6/4.3L     Opt                                              690                    —                 —
   2000-96     L4/2.2L                                                      525                    75                —
   2000-96     L4/2.2L     Opt                                              690                    —                 —
   Isuzu i-280
   2006        L4/2.8L                                                      64011, 40              86                —
   Isuzu i-290
   2008        L4/2.9L                                                      64040                  86                —
   2007        L4/2.9L                                                      64011, 40              86                —
   Isuzu i-350
   2006        L5/3.5L                                                      64011, 40              86                —
   Isuzu i-370
   2008        L5/3.7L                                                      64040                  86                —
   2007        L5/3.7L                                                      64011, 40              86                —
   Isuzu Impulse
   1992    L4/1.8L                                                          355                    35                35 AGM
   1992-90 L4/1.6L                                                          355                    35                35 AGM
   Isuzu Oasis
   1999-98 L4/2.3L                                                          550                    24F               24F AGM
   1997-96 L4/2.2L                                                          550                    24F               24F AGM
   Isuzu Pickup
   1995        L4/2.6L                                                      600                    24                —
   1995-90     L4/2.3L     AT                                               600                    24                —
   1995-90     L4/2.3L     MT                                               430                    25                —
   1994-91     V6/3.1L                                                      430                    25                —
   1994-90     L4/2.6L     AT                                               600                    24                —
   1994-90     L4/2.6L     MT                                               430                    25                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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88                                               Automotive/Light Truck
  YEAR      ENGINE                     OPTIONS                 ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

Isuzu Rodeo
2004-98   V6/3.2L                                            600                    24F               24F AGM
2004      V6/3.5L                                            650                    24                —
2003-98   L4/2.2L                                            600                    24F               24F AGM
2003      L4/2.2L    Canada & Opt                            625                    27F               —
2003-01   V6/3.2L    Canada & Opt                            625                    27F               —
1997      V6/3.2L                                            600                    24                —
1997-93   L4/2.6L                                            430                    86                —
1996      L4/2.6L    Opt                                     600                    24                —
1996-93   V6/3.2L    AT                                      600                    24                —
1996-93   V6/3.2L    MT                                      430                    86                —
1992-91   L4/2.6L                                            380                    25                —
1992-91   L4/2.6L    Opt                                     610                    24                —
1992-91   V6/3.1L    AT, HD                                  610                    24                —
1992-91   V6/3.1L    MT                                      380                    25                —
Isuzu Rodeo Sport
2003      L4/2.2L    Canada or Opt                           625                    27F               —
2003      L4/2.2L    US                                      600                    24F               24F AGM
2003      V6/3.2L    Canada or Opt                           625                    27F               —
2003      V6/3.2L    US                                      600                    24F               24F AGM
2002-01   L4/2.2L                                            600                    24F               24F AGM
2002-01   V6/3.2L                                            600                    24F               24F AGM
Isuzu Stylus
1993-91 L4/1.6L                                              355                    35                35 AGM
1992    L4/1.8L                                              355                    35                35 AGM
Isuzu Trooper
2002-01   V6/3.5L    HD or w/AT                              625                    27                —
2002-01   V6/3.5L    MT                                      585                    24                —
2000-98   V6/3.5L    AT                                      625                    27                —
2000-98   V6/3.5L    MT                                      580                    24                —
1997-95   V6/3.2L    AT                                      625                    27                —
1997-95   V6/3.2L    MT                                      580                    24                —
1994-92   V6/3.2L    AT                                      580                    24                —
1994-92   V6/3.2L    MT                                      490                    24                —
1994-92   V6/3.2L    Opt                                     620                    27                —
1991-90   L4/2.6L    AT                                      490                    24                —
1991-90   L4/2.6L    MT                                      350                    25                —
1991-90   V6/2.8L    AT                                      490                    24                —
1991-90   V6/2.8L    MT                                      350                    25                —
Isuzu VehiCROSS
2001-99 V6/3.5L      Opt                                     625                    27                —
2001    V6/3.5L                                              585                    24                —
2000-99 V6/3.5L                                              580                    24                —
Jaguar F-Pace
2017      L4/2.0L                                            85033                  H7 (94R) AGM      —
2017      V6/3.0L                                            85033                  H7 (94R) AGM      —
Jaguar F-Type
2017-14   V6/3.0L                                            90033, 54              H8 (49) AGM       —
2017-14   V8/5.0L                                            90033, 54              H8 (49) AGM       —
2016-15   V6/3.0L    Primary Battery                         90033                  H8 (49) AGM       —
2016-15   V8/5.0L    Primary Battery                         90033                  H8 (49) AGM       —
2014      V6/3.0L    Primary Battery                         85033                  H8 (49) AGM       —
2014      V8/5.0L    Primary Battery                         85033                  H8 (49) AGM       —
Jaguar S-Type
2008      V8/4.2L                                            80050                  —                 H8 (49) AGM
2008      V8/4.2L                                            85050                  —                 H8 (49) AGM
2008      V8/4.2L                                            85054                  —                 H8 (49) AGM
2008-07   V6/3.0L                                            90 Ah50                H8 (49)           H8 (49) AGM
2007      V8/4.2L                                            90 Ah50                H8 (49)           H8 (49) AGM
2006-03   V6/3.0L                                            75050                  —                 H8 (49) AGM
2006-03   V6/3.0L                                            75054                  —                 H8 (49) AGM
2006-03   V6/3.0L                                            80050                  —                 H8 (49) AGM
2006-03   V8/4.2L                                            75050                  —                 H8 (49) AGM
2006-03   V8/4.2L                                            75054                  —                 H8 (49) AGM
2006-03   V8/4.2L                                            80050                  —                 H8 (49) AGM
2002-01   V6/3.0L                                            68050                  H8 (49)           H8 (49) AGM
2002-00   V6/3.0L                                            68054                  H8 (49)           H8 (49) AGM
2002-00   V8/4.0L                                            68054                  H8 (49)           H8 (49) AGM
Jaguar Super V8
2009-07 V8/4.2L                                              80050                  —                  —
2006-05 V8/4.2L                                              680                    —                  —
                                                            See page 157 for Footnotes. Selection may vary by warehouse.

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Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 690Jaguar
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   Automotive/Light Truck                                                                                                   89
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Jaguar Vanden Plas
   2009        V8/4.2L                                                      68050                  —                 —
   2008-04     V8/4.2L                                                      680                    —                 —
   2003-98     V8/4.0L                                                      680                    H8 (49)           H8 (49) AGM
   1997        L6/4.0L                                                      680                    —                 —
   1996-94     L6/4.0L                                                      5905, 50               —                 H5 (47) AGM
   1993        L6/4.0L                                                      640                    —                 H5 (47) AGM
   1992-91     L6/4.0L                                                      5905, 50               —                 H5 (47) AGM
   1990        L6/4.0L                                                      59030, 50              —                 —
   Jaguar XE
   2017        L4/2.0L                                                      85033                  H7 (94R) AGM      —
   2017        V6/3.0L                                                      85033                  H7 (94R) AGM      —
   Jaguar XF
   2017        L4/2.0L                                                      85033                  H7 (94R) AGM      —
   2017-14     V6/3.0L                                                      85033                  H7 (94R) AGM      —
   2015-14     L4/2.0L                                                      800                    —                 H8 (49) AGM
   2015-14     V8/5.0L                                                      90033                  H8 (49) AGM       —
   2015-14     V8/5.0L     Primary Battery                                  90033                  H8 (49) AGM       —
   2015-13     V6/3.0L                                                      90033                  H8 (49) AGM       —
   2013        L4/2.0L                                                      80050                  —                 H8 (49) AGM
   2013        L4/2.0L     GTDi                                             90 Ah                  H8 (49)           H8 (49) AGM
   2013        V8/5.0L     Primary Battery                                  80033, 54              H8 (49) AGM       —
   2013-12     V8/5.0L     Canada (from VIN S30208)                         85033, 50              H8 (49) AGM       —
   2012-10     V8/5.0L                                                      80050                  —                 H8 (49) AGM
   2012-10     V8/5.0L     Canada (to VIN S30207)                           90 Ah50                H8 (49)           H8 (49) AGM
   2010-09     V8/4.2L                                                      80050                  —                 H8 (49) AGM
   Jaguar XFR
   2015-14 V8/5.0L         Primary Battery                                  90033                  H8 (49) AGM       —
   2015-11 V8/5.0L                                                          80050                  —                 H8 (49) AGM
   2013-10 V8/5.0L         S/C                                              80050                  —                 H8 (49) AGM
   Jaguar XFR-S
   2015-14 V8/5.0L         Primary Battery                                  90033                  H8 (49) AGM       —
   2015-13 V8/5.0L                                                          80050                  —                 H8 (49) AGM
   2013    V8/5.0L         S/C                                              80033, 50              H8 (49) AGM       —
   Jaguar XJ
   2017-16     V8/5.0L                                                      90033                  H8 (49) AGM       —
   2017-14     V6/3.0L                                                      90033                  H8 (49) AGM       —
   2016        V8/5.0L     Auxiliary Battery                                90033                  H8 (49) AGM       —
   2016        V8/5.0L     Primary Battery                                  90033                  H8 (49) AGM       —
   2015-14     V8/5.0L                                                      80033, 50              H8 (49) AGM       —
   2015-14     V8/5.0L                                                      90033, 50              H8 (49) AGM       —
   2013        V6/3.0L                                                      80050                  —                 H8 (49) AGM
   2013        V8/5.0L     Primary Battery                                  80033, 50              H8 (49) AGM       —
   2013-12     V8/5.0L     Canada (from VIN V26780)                         85033, 50              H8 (49) AGM       —
   2013-11     V8/5.0L                                                      80050                  —                 H8 (49) AGM
   2012-11     V8/5.0L                                                      80050, 54              —                 H8 (49) AGM
   Jaguar XJ12
   1996-94 V12/6.0L                                                         5905, 50               —                 H5 (47) AGM
   1992-91 V12/5.3L                                                         5905, 50               —                 H5 (47) AGM
   1990-86 V12/5.3L                                                         5906                   34                —
   Jaguar XJ6
   1997-95     L6/4.0L                                                      80050                  —                 H8 (49) AGM
   1994-93     L6/4.0L                                                      64050                  H6 (48)           H6 (48) AGM
   1992-90     L6/4.0L     Must use Jaguar tray DBC 10489                   64050                  H6 (48)           H6 (48) AGM
   1991-90     L6/4.0L     Opt                                              450                    —                 —
   Jaguar XJ8
   2009-04 V8/4.2L                                                          90 Ah50                H8 (49)           H8 (49) AGM
   2003-98 V8/4.0L                                                          680                    H8 (49)           H8 (49) AGM
   Jaguar XJR
   2009-07     V8/4.2L                                                      80050, 54              —                 H8 (49) AGM
   2006-04     V8/4.2L                                                      75050                  —                 H8 (49) AGM
   2003-98     V8/4.0L                                                      680                    H8 (49)           H8 (49) AGM
   1997        L6/4.0L                                                      680                    H8 (49)           H8 (49) AGM
   1996-95     L6/4.0L                                                      590                    —                 H5 (47) AGM
   Jaguar XJR-S
   1993        V12/6.0L                                                     590                    —                 H5 (47) AGM
   Jaguar XJS
   1996-95 L6/4.0L                                                          600                    H6 (48)           H6 (48) AGM
   1995-94 V12/6.0L                                                         5905, 50               —                 H5 (47) AGM
   1994-92 L6/4.0L                                                          5905, 50               —                 H5 (47) AGM
   See page 157 for Footnotes. Selection may vary by warehouse.

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90                                             Automotive/Light Truck
  YEAR      ENGINE                   OPTIONS                   ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

Jaguar XJS (continued)
1992-91 V12/5.3L                                             5905, 50               —                 H5 (47) AGM
1990-89 V12/5.3L                                             59030, 54              —                 —
Jaguar XK
2015-14   V8/5.0L                                            800                    —                 —
2013      V8/5.0L                                            80050                  —                 H8 (49) AGM
2013-10   V8/5.0L                                            80050                  —                 —
2012      V8/5.0L    Opt                                     80054                  —                 H8 (49) AGM
2011-10   V8/5.0L                                            80054                  —                 H8 (49) AGM
2009-07   V8/4.2L                                            80050                  —                 —
Jaguar XK8
2006      V8/4.2L                                            75054                  —                 H8 (49) AGM
2005-04   V8/4.2L                                            75050                  —                 H8 (49) AGM
2003      V8/4.2L                                            680                    H8 (49)           H8 (49) AGM
2002-97   V8/4.0L                                            680                    H8 (49)           H8 (49) AGM
Jaguar XKR
2015-14   V8/5.0L                                            800                    —                 —
2013-10   V8/5.0L                                            80050                  —                 H8 (49) AGM
2013-10   V8/5.0L                                            80054                  —                 H8 (49) AGM
2009-07   V8/4.2L                                            80050                  —                 —
2006-04   V8/4.2L                                            75050                  —                 H8 (49) AGM
2003      V8/4.2L                                            680                    H8 (49)           H8 (49) AGM
2002-00   V8/4.0L                                            680                    H8 (49)           H8 (49) AGM
Jaguar XKR-S
2015-14 V8/5.0L                                              800                    —                 —
2013    V8/5.0L                                              80050                  —                 H8 (49) AGM
2012    V8/5.0L                                              80054                  —                 H8 (49) AGM
Jaguar X-Type
2008-07   V6/3.0L                                            80 Ah                  H7 (94R)          H7 (94R) AGM
2006-04   V6/3.0L                                            700                    H7 (94R)          H7 (94R) AGM
2005-02   V6/2.5L                                            700                    H7 (94R)          H7 (94R) AGM
2003-02   V6/2.5L                                            640                    H7 (94R)          H7 (94R) AGM
2003-02   V6/3.0L                                            640                    H7 (94R)          H7 (94R) AGM
Jeep Cherokee
2021-19   L4/2.0L                                            70033, 50              H7 (94R) AGM      —
2021-19   L4/2.4L                                            70033, 50              H7 (94R) AGM      —
2021-19   V6/3.2L                                            70033, 50              H7 (94R) AGM      —
2018-14   L4/2.4L                                            600                    H6 (48)           H6 (48) AGM
2018-14   V6/3.2L                                            730                    H7 (94R)          H7 (94R) AGM
2018-14   V6/3.2L    Opt                                     73033                  H7 (94R) AGM      —
2001-98   L6/4.0L                                            500                    34                —
2000-98   L4/2.5L                                            500                    34                —
1997-90   L4/2.5L                                            430                    58                —
1997-90   L4/2.5L    Opt                                     500                    58                —
1997-90   L6/4.0L                                            430                    58                —
1997-90   L6/4.0L    Opt                                     500                    58                —
Jeep Comanche
1992-90   L4/2.5L                                            430                    58                —
1992-90   L4/2.5L    Opt                                     500                    58                —
1992-90   L6/4.0L                                            430                    58                —
1992-90   L6/4.0L    Opt                                     500                    58                —
Jeep Commander
2010      V6/3.7L                                            625                    H7 (94R)           H7 (94R) AGM
2010      V8/5.7L                                            625                    H7 (94R)           H7 (94R) AGM
2009      V6/3.7L                                            730                    H7 (94R)           H7 (94R) AGM
2009      V8/4.7L                                            730                    H7 (94R)           H7 (94R) AGM
2009      V8/4.7L                                            73057                  H7 (94R)           H7 (94R) AGM
2009      V8/5.7L                                            730                    H7 (94R)           H7 (94R) AGM
2008      V6/3.7L    Early                                   730                    H7 (94R)           H7 (94R) AGM
2008      V6/3.7L    Late                                    625                    H7 (94R)           H7 (94R) AGM
2008      V8/4.7L    Early                                   730                    H7 (94R)           H7 (94R) AGM
2008      V8/4.7L    Early                                   73057                  H7 (94R)           H7 (94R) AGM
2008      V8/4.7L    Late                                    625                    H7 (94R)           H7 (94R) AGM
2008      V8/4.7L    Late                                    62557                  H7 (94R)           H7 (94R) AGM
2008      V8/5.7L    Early                                   730                    H7 (94R)           H7 (94R) AGM
2008      V8/5.7L    Late                                    625                    H7 (94R)           H7 (94R) AGM
2007-06   V6/3.7L                                            73050                  H7 (94R)           H7 (94R) AGM
2007-06   V8/4.7L                                            730                    H7 (94R)           H7 (94R) AGM
2007-06   V8/4.7L                                            73050                  H7 (94R)           H7 (94R) AGM
2007-06   V8/5.7L                                            73050                  H7 (94R)           H7 (94R) AGM
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                                                                                                                           Costco_001890
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 692 Jeep
                                                                                 of
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   Automotive/Light Truck                                                                                                   91
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Jeep Compass
   2021-18     L4/2.4L     w/Start-Stop                                     60033                  H5 (47) AGM       —
   2021-17     L4/2.4L     Auxiliary for Start-Stop                         20033, 50              —                 —
   2021-17     L4/2.4L     w/o Start-Stop                                   600                    H6 (48)           H6 (48) AGM
   2017        L4/2.4L     w/Start-Stop                                     50033                  H5 (47) AGM       —
   2017-07     L4/2.0L                                                      525                    86                —
   2016-07     L4/2.4L                                                      525                    86                —
   Jeep Gladiator
   2021-20 V6/3.6L                                                          65033                  H6 (48) AGM       —
   2021-20 V6/3.6L         Auxiliary                                        20033, 50              —                 —
   2021-20 V6/3.6L         Opt                                              70033                  H7 (94R) AGM      —
   Jeep Grand Cherokee
   2021-18     V8/6.2L                                                      70033, 50              H7 (94R) AGM      —
   2021-16     V6/3.6L     Auxiliary for Start-Stop                         20033, 50              —                 —
   2021-16     V6/3.6L     w/o Start-Stop                                   70033, 50              H7 (94R) AGM      —
   2021-16     V6/3.6L     w/Start-Stop                                     65033, 50              H6 (48) AGM       —
   2021-15     V6/3.0L     Dsl                                              80033, 50              H8 (49) AGM       —
   2021-13     V8/5.7L                                                      70033, 50              H7 (94R) AGM      —
   2021-13     V8/6.4L                                                      70033, 50              H7 (94R) AGM      —
   2020        V6/3.6L     Opt Auxiliary Battery for Start-Stop             18033, 50              —                 —
   2015        V8/5.7L     Opt                                              80033, 50              H8 (49) AGM       —
   2015        V8/6.4L     Opt                                              80033, 50              H8 (49) AGM       —
   2015-11     V6/3.6L     Opt                                              80033, 50              H8 (49) AGM       —
   2014        V8/5.7L     Opt                                              80033, 50              H7 (94R) AGM      —
   2011        V8/5.7L                                                      70033, 50              H7 (94R) AGM      —
   2014        V8/6.4L     Opt                                              80033, 50              H7 (94R) AGM      —
   2014        V6/3.0L     Dsl                                              800                    —                 H8 (49) AGM
   2015-13     V6/3.6L                                                      70033, 50              H7 (94R) AGM      —
   2013-12     V8/6.4L     Opt                                              80033, 50              H8 (49) AGM       —
   2013-11     V6/3.6L     Opt                                              80033, 50              H8 (49) AGM       —
   2013-11     V8/5.7L     Opt                                              80033, 50              H8 (49) AGM       —
   2011        V6/3.6L                                                      70033, 50              H7 (94R) AGM      —
   2011        V8/5.7L                                                      70033, 50              H7 (94R) AGM      —
   2010        V6/3.7L                                                      750                    H7 (94R)          H7 (94R) AGM
   2010        V6/3.7L                                                      850                    —                 H8 (49) AGM
   2010        V8/5.7L                                                      750                    H7 (94R)          H7 (94R) AGM
   2010        V8/5.7L                                                      850                    —                 H8 (49) AGM
   2010        V8/6.1L                                                      750                    H7 (94R)          H7 (94R) AGM
   2010        V8/6.1L                                                      850                    —                 H8 (49) AGM
   2009-08     V6/3.7L                                                      73057                  H7 (94R)          H7 (94R) AGM
   2009-08     V6/3.7L     Opt                                              85057                  —                 H8 (49) AGM
   2009-08     V8/4.7L                                                      73057                  H7 (94R)          H7 (94R) AGM
   2009-08     V8/4.7L     Opt                                              85057                  —                 H8 (49) AGM
   2009-08     V8/5.7L                                                      73057                  H7 (94R)          H7 (94R) AGM
   2009-08     V8/5.7L     Opt                                              85057                  —                 H8 (49) AGM
   2009-08     V8/6.1L                                                      73057                  H7 (94R)          H7 (94R) AGM
   2009-08     V8/6.1L     Opt                                              85057                  —                 H8 (49) AGM
   2009-08     V6/3.0L     Dsl                                              85057                  —                 H8 (49) AGM
   2007        V6/3.0L     Dsl                                              850                    —                 H8 (49) AGM
   2007        V6/3.7L                                                      750                    H7 (94R)          H7 (94R) AGM
   2007        V6/3.7L                                                      850                    —                 H8 (49) AGM
   2007        V8/4.7L                                                      750                    H7 (94R)          H7 (94R) AGM
   2007        V8/4.7L                                                      850                    —                 H8 (49) AGM
   2007        V8/5.7L     Canada                                           730                    H7 (94R)          H7 (94R) AGM
   2007        V8/6.1L     US                                               750                    H7 (94R)          H7 (94R) AGM
   2006        V8/6.1L                                                      730                    H7 (94R)          H7 (94R) AGM
   2006-05     V6/3.7L                                                      730                    H7 (94R)          H7 (94R) AGM
   2006-05     V8/4.7L                                                      730                    H7 (94R)          H7 (94R) AGM
   2006-05     V8/5.7L                                                      730                    H7 (94R)          H7 (94R) AGM
   2006        V8/6.1L                                                      730                    H7 (94R)          H7 (94R) AGM
   2004-99     L6/4.0L                                                      625                    65                65 AGM
   2004-99     V8/4.7L                                                      625                    65                65 AGM
   1998        V8/5.9L                                                      600                    34                —
   1998-93     L6/4.0L                                                      600                    34                —
   1998-93     V8/5.2L                                                      600                    34                —
   Jeep Grand Wagoneer
   1993    V8/5.2L                                                          600                    34                —
   1991-90 V8/5.9L                                                          500                    58                —
   Jeep Liberty
   2012-03 V6/3.7L                                                          600                    34                —
   2006-05 L4/2.8L         Dsl                                              80045                  —                 —
   2005-03 L4/2.4L                                                          600                    34                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                                                OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                           CCA/RATING             (NOTES)            (NOTES)

Jeep Liberty (continued)
2002      L4/2.4L                                                                    525                    86                —
2002      V6/3.7L                                                                    525                    86                —
Jeep Patriot
2017-07 L4/2.0L                                                                      525                    86                —
2017-07 L4/2.4L                                                                      525                    86                —
Jeep Renegade
2021-20   L4/1.3L                                                                    N/A33, 50              H6 (48) AGM       —
2021-16   L4/2.4L                                                                    600                    H6 (48)           H6 (48) AGM
2019      L4/1.3L                                                                    500                    H5 (47)           H5 (47) AGM
2018-17   L4/1.4L                                                                    500                    H5 (47)           H5 (47) AGM
2016-15   L4/1.4L                                                                    600                    H6 (48)           H6 (48) AGM
2015      L4/2.4L    US                                                              650                    —                 H5 (47) AGM
2015      L4/2.4L    Canada                                                          600                    H6 (48)           H6 (48) AGM
Jeep TJ
2006-05   L4/2.4L                                                                    600                    34                —
2006-02   L6/4.0L                                                                    600                    34                —
2003      L4/2.4L                                                                    600                    34                —
2002      L4/2.5L                                                                    600                    34                —
2001-97   L4/2.5L                                                                    500                    34                —
2001-97   L6/4.0L                                                                    500                    34                —
Jeep Wagoneer
1990      L6/4.0L                                                                    430                    58                —
1990      L6/4.0L    Opt                                                             500                    58                —
Jeep Wrangler
2021      L4/2.0L    Auxiliary Battery, w/Start-Stop                                 18033, 50              —                 —
2021      V6/3.0L    AuxiliaryBattery, w/Start-Stop                                  18033, 50              —                 —
2021      V6/3.6L    Auxiliary, w/Start-Stop                                         18033, 50              —                 —
2021-20   L4/2.0L    w/o Start-Stop                                                  70033, 50              H7 (94R) AGM      —
2021-20   L4/2.0L    w/Start-Stop                                                    65033, 50              H6 (48) AGM       —
2021-20   V6/3.0L    w/o Start-Stop                                                  70033, 50              H7 (94R) AGM      —
2021-20   V6/3.0L    w/Start-Stop                                                    65033, 50              H6 (48) AGM       —
2021-19   V6/3.6L    w/o Start-Stop                                                  70033, 50              H7 (94R) AGM      —
2021-19   V6/3.6L    w/Start-Stop                                                    65033, 50              H6 (48) AGM       —
2020      L4/2.0L    Auxiliary Battery, w/Start-Stop                                 20033, 50              —                 —
2020      L4/2.0L    Opt Auxiliary Battery, w/Start-Stop                             18033, 50              —                 —
2020      V6/3.0L    Auxiliary Battery, w/Start-Stop                                 20033, 50              —                 —
2020      V6/3.0L    Opl Auxiliary Battery, w/Start-Stop                             18033, 50              —                 —
2020      V6/3.6L    Auxiliary Battery, w/Start-Stop                                 20033, 50              —                 —
2019-18   L4/2.0L    Hybrid, w/o Start-Stop                                          70033, 50              H7 (94R) AGM      —
2019-18   L4/2.0L    Hybrid, w/Start-Stop                                            65033, 50              H6 (48) AGM       —
2019      L4/2.0L    Hybrid Auxiliary Battery, w/Start-Stop                          20033, 50              —                 —
2019      L4/2.0L    Hybrid Opt Auxiliary Battery, w/Start-Stop                      18033, 50              —                 —
2019      V6/3.6L    Auxiliary Battery                                               20033, 50              —                 —
2018      L4/2.0L    Auxiliary Battery, w/Start-Stop                                 20033, 50              —                 —
2018      V6/3.6L                                                                    80033, 50              H7 (94R) AGM      —
2017-16   V6/3.6L                                                                    750                    —                 —
2017-16   V6/3.6L                                                                    80033, 50              H7 (94R) AGM      —
2015-12   V6/3.6L                                                                    640                    H6 (48) AGM       —
2011-10   V6/3.8L                                                                    600                    34                —
2010-09   V6/3.8L    Opt                                                             800                    34                —
2007      V6/3.8L                                                                    800                    34                —
2006-03   L4/2.4L    Incl TJ                                                         600                    34                —
2006-02   L6/4.0L                                                                    600                    34                —
2006-02   L6/4.0L    Incl TJ                                                         600                    34                —
2005-03   L4/2.4L                                                                    600                    34                —
2002      L4/2.5L                                                                    600                    34                —
2002      L4/2.5L    Incl TJ                                                         600                    34                —
2001-98   L6/4.0L                                                                    500                    34                —
2001-97   L4/2.5L                                                                    500                    34                —
2001-97   L4/2.5L    Incl TJ                                                         500                    34                —
2001-97   L6/4.0L    Incl TJ                                                         500                    34                —
2000-97   L4/2.5L    Opt                                                             600                    34                —
2000-97   L6/4.0L    Opt                                                             600                    34                —
1995-91   L6/4.0L                                                                    430                    58                —
1995-91   L6/4.0L    Opt                                                             500                    58                —
1995-90   L4/2.5L                                                                    430                    58                —
1995-90   L4/2.5L    Opt                                                             500                    58                —
1990      L4/2.5L    YJ                                                              420                    —                 —
1990      L4/2.5L    YJ & Opt                                                        450                    —                 —
1990      L4/2.5L    YJ HD                                                           500                    —                 —
1990      L6/4.2L                                                                    430                    58                —
                                                                                    See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   93
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Jeep Wrangler (continued)
   1990        L6/4.2L     Opt                                              500                    58                —
   1990        L6/4.2L     YJ                                               420                    —                 —
   1990        L6/4.2L     YJ & Opt                                         450                    —                 —
   1990        L6/4.2L     YJ HD                                            500                    —                 —
   Jeep Wrangler JK
   2018        V6/3.6L                                                      600                    H6 (48)           H6 (48) AGM
   Kia Amanti
   2009-07 V6/3.8L                                                          600                    124R              —
   2006-05 V6/3.5L                                                          600                    124R              —
   2004    V6/3.5L                                                          600                    —                 —
   Kia Borrego
   2011-09 V6/3.8L                                                          600                    124R              —
   2011-09 V8/4.6L                                                          90045                  —                 —
   Kia Cadenza
   2021-17 V6/3.3L                                                          80033                  H7 (94R) AGM      —
   2016-14 V6/3.3L                                                          660                    124R              —
   Kia Forte
   2021-19     L4/2.0L                                                      60033                  H5 (47) AGM       —
   2021-20     L4/1.6L                                                      600                    —                 H5 (47) AGM
   2018-17     L4/2.0L     MT                                               600                    —                 H5 (47) AGM
   2018-17     L4/2.0L     AT                                               60033                  H5 (47) AGM       —
   2018-17     L4/2.0L     Ex LX                                            640                    H6 (48)           H6 (48) AGM
   2017        L4/2.0L     LX                                               N/A33                  H5 (47) AGM       —
   2016-14     L4/1.8L                                                      550                    —                 H5 (47) AGM
   2016-14     L4/2.0L                                                      550                    —                 H5 (47) AGM
   2016-14     L4/2.0L                                                      640                    H6 (48)           H6 (48) AGM
   2014        L4/2.0L                                                      660                    H6 (48)           H6 (48) AGM
   2013-10     L4/2.0L                                                      550                    121R              —
   2013-10     L4/2.4L                                                      550                    121R              —
   Kia Forte5
   2021-20     L4/2.0L                                                      60033                  H5 (47) AGM       —
   2021-20     L4/1.6L                                                      600                    —                 H5 (47) AGM
   2018-17     L4/2.0L     MT                                               600                    —                 H5 (47) AGM
   2018-17     L4/2.0L     AT                                               60033                  H5 (47) AGM       —
   2017        L4/1.6L     Ex LX                                            550                    —                 H5 (47) AGM
   2017        L4/1.6L     LX                                               N/A33                  H5 (47) AGM       —
   2017        L4/2.0L     Ex LX                                            640                    H6 (48)           H6 (48) AGM
   2017        L4/2.0L     LX                                               N/A33                  H5 (47) AGM       —
   2016-14     L4/1.6L                                                      550                    —                 H5 (47) AGM
   2016-14     L4/2.0L                                                      640                    H6 (48)           H6 (48) AGM
   2013-12     L4/2.0L                                                      550                    121R              —
   2013-12     L4/2.4L                                                      550                    121R              —
   Kia Forte Koup
   2017-14     L4/1.6L                                                      600                    —                 —
   2016-14     L4/2.0L                                                      640                    H6 (48)           H6 (48) AGM
   2015-14     L4/1.6L                                                      550                    121R              —
   2015-10     L4/2.0L                                                      550                    121R              —
   2013-10     L4/2.4L                                                      550                    121R              —
   Kia K5
   2021        L4/1.6L                                                      76033                  H6 (48) AGM       —
   2021        L4/2.5L                                                      76033                  H6 (48) AGM       —
   Kia K900
   2021-19 V6/3.3L                                                          95033                  H9 (95R) AGM      —
   2017-15 V6/3.8L                                                          95033                  H9 (95R) AGM      —
   2017-15 V8/5.0L                                                          95033                  H9 (95R) AGM      —
   Kia Magentis
   2010-02 V6/2.7L                                                          600                    124R              —
   2010-01 L4/2.4L                                                          600                    124R              —
   2001    V6/2.5L                                                          600                    124R              —
   Kia Niro
   2021-17 L4/1.6L         Hybrid, Li-ion Only                              N/A33, 45              —                 —
   2021-18                 PHEV, EV                                         470                    —                 —
   Kia Optima
   2019       L4/1.6L                                                       76033                  H6 (48) AGM       —
   2019       L4/2.4L                                                       76033                  H6 (48) AGM       —
   2019-17 L4/2.0L         Hybrid                                           76033                  H6 (48) AGM       —
   2019-16 L4/2.0L                                                          76033                  H6 (48) AGM       —
   2018-16 L4/1.6L                                                          80033                  H7 (94R) AGM      —
   See page 157 for Footnotes. Selection may vary by warehouse.

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  YEAR       ENGINE                       OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                    CCA/RATING             (NOTES)            (NOTES)

Kia Optima (continued)
2018-16   L4/2.4L                                             80033                  H7 (94R) AGM      —
2015-14   L4/2.4L     Gas                                     76033                  H6 (48) AGM       —
2015-11   L4/2.0L                                             600                    124R              —
2015-11   L4/2.4L     Hybrid                                  60045, 50              —                 —
2013-04   L4/2.4L     Ex Hybrid                               600                    124R              —
2010-02   V6/2.7L                                             600                    124R              —
2003-01   L4/2.4L                                             60045                  —                 —
2001      V6/2.5L                                             60045                  —                 —
Kia Rio
2021-18   L4/1.6L                                             60033                  H5 (47) AGM       —
2017-14   L4/1.6L     w/o ISG                                 550                    121R              —
2017-13   L4/1.6L     w/ISG                                   76033                  H6 (48) AGM       —
2016      L4/1.6L     w/o ISG                                 600                    121R              —
2013-12   L4/1.6L                                             550                    121R              —
2011-03   L4/1.6L                                             500                    35                35 AGM
2002-01   L4/1.5L                                             500                    35                35 AGM
Kia Rio 5
2011-06 L4/1.6L                                               500                    35                35 AGM
Kia Rondo
2017-14 L4/2.0L                                               600                    124R              —
2012-07 L4/2.4L                                               600                    124R              —
2012-07 V6/2.7L                                               600                    124R              —
Kia Sedona
2021-15   V6/3.3L     R-MDPS                                  85033                  H8 (49) AGM       —
2021-15   V6/3.3L     non R-MDPS                              660                    124R              —
2014      V6/3.5L                                             660                    124R              —
2012-11   V6/3.5L                                             660                    124R              —
2010-06   V6/3.8L                                             600                    124R              —
2005-03   V6/3.5L                                             500                    24F               24F AGM
2002      V6/3.5L                                             600                    24F               24F AGM
Kia Seltos
2021      L4/1.6L                                             60033                  H5 (47) AGM       —
2021      L4/2.0L                                             76033                  H6 (48) AGM       —
Kia Sephia
2001-95 L4/1.8L                                               45045                  90 (T5)           —
1997-94 L4/1.6L                                               45023                  —                 —
Kia Sorento
2022-21   L4/2.5L                                             76033                  H6 (48) AGM       —
2021      L4/1.6L                                             650                    —                 H5 (47) AGM
2019-16   L4/2.4L                                             80033                  H7 (94R) AGM      —
2019-16   V6/3.3L                                             80033                  H7 (94R) AGM      —
2018-16   L4/2.0L                                             80033                  H7 (94R) AGM      —
2016      L4/2.0L     AGM                                     80033                  H7 (94R) AGM      —
2016      L4/2.4L     AGM                                     80033                  H7 (94R) AGM      —
2016      V6/3.3L     AGM                                     80033                  H7 (94R) AGM      —
2015      L4/2.4L                                             660                    124R              —
2015-14   V6/3.3L                                             660                    124R              —
2014      L4/2.4L                                             600                    124R              —
2013-11   L4/2.4L                                             700                    124R              —
2013-11   V6/3.5L                                             700                    124R              —
2009-08   V6/3.3L                                             600                    —                 —
2009-07   V6/3.8L                                             600                    —                 —
2006-03   V6/3.5L                                             600                    —                 —
Kia Soul
2021      L4/1.6L                                             76033                  H6 (48) AGM        —
2021-20   L4/2.0L     w/ISG                                   76033                  H6 (48) AGM        —
2021-20   L4/2.0L     w/o ISG                                 60033                  H5 (47) AGM        —
2019-17   L4/1.6L     MT or Turbo                             600                    121R               —
2019-17   L4/1.6L     AT                                      60033                  H5 (47) AGM        —
2019-16   L4/2.0L                                             76033                  H6 (48) AGM        —
2017      L4/1.6L     w/ISG or Turbo                          76033                  H6 (48) AGM        —
2017      L4/1.6L     w/o ISG and Turbo                       550                    121R               —
2016      L4/1.6L     w/o ISG                                 600                    121R               —
2016      L4/2.0L     w/o ISG                                 600                    121R               —
2016-13   L4/1.6L     w/ISG                                   76033                  H6 (48) AGM        —
2016-13   L4/1.6L     w/o ISG                                 550                    121R               —
2016-13   L4/2.0L     w/ISG                                   76033                  H6 (48) AGM        —
2015-10   L4/2.0L     w/o ISG                                 550                    121R               —
2012-10   L4/1.6L                                             550                    121R               —
2012-10   L4/1.6L     w/o ISG                                 410                    121R               —
                                                             See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   95
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Kia Soul EV
   2019-18                 Electric                                         600                    121R              —
   2017-15                 Electric                                         600                    121R              —
   Kia Spectra
   2009-04 L4/2.0L                                                          5406                   121R              —
   2004    L4/1.8L                                                          5406                   121R              —
   2003-00 L4/1.8L                                                          4506                   90 (T5)           —
   Kia Spectra 5
   2009-05 L4/2.0L                                                          5406                   121R              —
   Kia Sportage
   2019-17     L4/2.0L                                                      640                    H6 (48)           H6 (48) AGM
   2019-17     L4/2.4L                                                      640                    H6 (48)           H6 (48) AGM
   2016-11     L4/2.4L                                                      600                    124R              —
   2016-05     L4/2.0L                                                      600                    124R              —
   2010-05     V6/2.7L                                                      600                    124R              —
   2002        L4/2.0L     From VIN 5593488                                 540                    86                —
   2001-00     L4/2.0L     From VIN 5593488                                 5407                   86                —
   2000        L4/2.0L     To 5/16/2000                                     4707                   58                —
   1999        L4/2.0L                                                      4707                   58                —
   1999        L4/2.0L     From VIN 5593488                                 540                    86                —
   1998-95     L4/2.0L     To VIN 5593487                                   4706                   58                —
   Kia Stinger
   2021-18 L4/2.0L                                                          80033                  H7 (94R) AGM      —
   2021-18 V6/3.3L                                                          85033                  H8 (49) AGM       —
   Lamborghini Aventador
   2012        V12/6.5L                                                     80054                  —                 H8 (49) AGM
   Lamborghini Diablo
   2001-00 V12/6.0L                                                         70050                  —                 —
   2000-91 V12/5.7L                                                         70050                  —                 —
   1990    V12/5.7L                                                         70054                  —                 —
   Lamborghini Gallardo
   2012-09 V10/5.2L                                                         80050                  —                 H8 (49) AGM
   2009-08 V10/5.0L                                                         80050                  —                 H8 (49) AGM
   2007-04 V10/5.0L                                                         70050                  —                 —
   Lamborghini Murcielago
   2010-08 V12/6.5L                                                         80050                  —                 H8 (49) AGM
   2007-06 V12/6.5L                                                         70050                  —                 —
   2007-01 V12/6.2L                                                         70050                  —                 —
   Land Rover Defender 110
   2021-20     L4/2.0L                                                      85033, 50, 54          H8 (49) AGM       —
   2020        L6/3.0L     Hybrid                                           85033, 50, 54          H8 (49) AGM       —
   1993        V8/3.9L                                                      600                    24                —
   1993        V8/3.9L                                                      6009                   —                 —
   Land Rover Defender 90
   2020        L4/2.0L                                                      85033, 50, 54          H8 (49) AGM       —
   1997        V8/4.0L                                                      6009                   24                —
   1997        V8/4.0L                                                      6009                   —                 —
   1995-94     V8/3.9L                                                      6009                   24                —
   1995-94     V8/3.9L                                                      6009                   —                 —
   Land Rover Discovery
   2003        V8/4.6L                                                      5909                   24                —
   2002-99     V8/4.0L                                                      6009                   24                —
   1998-96     V8/4.0L     LJ Ser 1, Use L/R adapter                        6009                   34                —
   1995-94     V8/3.9L                                                      600                    34                —
   Land Rover Discovery Sport
   2016-15 L4/2.0L                                                          85033, 50, 54          H7 (94R) AGM      —
   2016-15 L4/2.0L         Auxiliary Battery                                N/A33                  —                 —
   Land Rover Freelander
   2005-04 V6/2.5L                                                          480                    H5 (47)           H5 (47) AGM
   2005-02 V6/2.5L                                                          680                    H6 (48)           H6 (48) AGM
   2003-02 V6/2.5L                                                          690                    —                 —
   Land Rover LR2
   2015-13 L4/2.0L                                                          720                    H7 (94R)          H7 (94R) AGM
   2012-08 L6/3.2L                                                          720                    H7 (94R)          H7 (94R) AGM
   Land Rover LR3
   2009-07     V6/4.0L                                                      700                    H7 (94R)          H7 (94R) AGM
   2009-05     V6/4.0L                                                      720                    H8 (49)           H8 (49) AGM
   2009-05     V8/4.4L                                                      720                    H8 (49)           H8 (49) AGM
   2009-05     V8/4.4L                                                      700                    H7 (94R)          H7 (94R) AGM
   See page 157 for Footnotes. Selection may vary by warehouse.

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96                                                                   Automotive/Light Truck
  YEAR      ENGINE                                         OPTIONS                     ORIGINAL EQUIPMENT      GROUP SIZE      ALTERNATE SIZE
                                                                                           CCA/RATING           (NOTES)           (NOTES)

Land Rover LR4
2016-14 V6/3.0L                                                                     720                     H7 (94R)         H7 (94R) AGM
2013-10 V8/5.0L                                                                     720                     H7 (94R)         H7 (94R) AGM
Land Rover Range Rover
2017-16   V6/3.0L    Dsl                                                            76033                   H8 (49) AGM      —
2017-16   V6/3.0L    Dsl, Cold Climate                                              85033, 50, 54           H8 (49) AGM      —
2017-16   V6/3.0L    Dsl, Auxiliary for Start-Stop                                  20033, 45, 50, 54       —                —
2017-14   V6/3.0L                                                                   85033, 50, 54           H8 (49) AGM      —
2017-14   V6/3.0L    Auxiliary for Start-Stop                                       20033, 45, 50, 54       —                —
2017-13   V8/5.0L                                                                   85033, 50, 54           H8 (49) AGM      —
2017-13   V8/5.0L    Auxiliary for Start-Stop                                       20033, 45, 50, 54       —                —
2016-15   V8/5.0L                                                                   90033                   H8 (49) AGM      —
2016-14   V6/3.0L                                                                   90033                   H8 (49) AGM      —
2015      V6/3.0L                                                                   720                     H8 (49)          H8 (49) AGM
2015      V8/5.0L                                                                   720                     H8 (49)          H8 (49) AGM
2014-13   V8/5.0L    Primary Battery                                                90033                   H8 (49) AGM      —
2012      V8/5.0L                                                                   85033, 54               H8 (49) AGM      —
2012      V8/5.0L    US (from VIN CA361272)                                         85033                   H8 (49) AGM      —
2012-11   V8/5.0L    Canada only                                                    85033                   H8 (49) AGM      —
2012-10   V8/5.0L                                                                   720                     H8 (49)          H8 (49) AGM
2012-10   V8/5.0L    Auxiliary Battery                                              50045                   —                —
2011      V8/5.0L    Opt up to VIN BA346442                                         90033                   H8 (49) AGM      —
2011      V8/5.0L    Up to VIN BA346442                                             720                     H8 (49)          H8 (49) AGM
2011      V8/5.0L    VIN BA346443 to BA349790                                       90033                   H8 (49) AGM      —
2011      V8/5.0L    VIN BA349791 up                                                85033, 54               H8 (49) AGM      —
2010      V8/5.0L    Opt on VIN AA309295 up                                         900                     —                H8 (49) AGM
2009-07   V8/4.2L                                                                   800                     —                H8 (49) AGM
2009-07   V8/4.4L                                                                   800                     —                H8 (49) AGM
2009-06   V8/4.2L    Auxiliary Battery                                              50045                   —                —
2009-06   V8/4.2L    Canada only                                                    720                     H8 (49)          H8 (49) AGM
2009-06   V8/4.2L    US (to VIN CA361271)                                           720                     H8 (49)          H8 (49) AGM
2009-06   V8/4.4L    Canada only                                                    720                     H8 (49)          H8 (49) AGM
2009-06   V8/4.4L    US (to VIN CA361271)                                           720                     H8 (49)          H8 (49) AGM
2009-03   V8/4.4L    Auxiliary Battery                                              50045                   —                —
2006      V8/4.2L                                                                   850                     —                H9 (95R) AGM
2006-03   V8/4.4L                                                                   850                     —                H9 (95R) AGM
2005-03   V8/4.4L                                                                   800                     —                —
2002-99   V8/4.6L                                                                   900                     —                —
2002-99   V8/4.6L    Bosch IGN from VIN XA410482                                    6009                    31A              —
2000-99   V8/4.0L                                                                   900                     —                —
2000-99   V8/4.0L    Bosch IGN from VIN XA410482                                    6009                    31A              —
1999-95   V8/4.0L    GEM-IGN to XA410481                                            6009                    —                —
1998-96   V8/4.6L                                                                   660                     31A              —
1998-95   V8/4.0L                                                                   825                     —                —
1995      V8/3.9L                                                                   825                     —                —
1995      V8/4.2L                                                                   6009                    24               —
1995-94   V8/4.2L    Classic I                                                      6009                    34               —
1994-93   V8/4.2L    Canada                                                         9009                    —                —
1994-93   V8/4.2L    US                                                             6009                    24               —
1994-90   V8/3.9L    Canada                                                         9009                    —                —
1994-90   V8/3.9L    Classic                                                        6009                    34               —
1994-89   V8/3.9L    US                                                             6009                    24               —
Land Rover Range Rover Evoque
2017      L4/2.0L                                                                   80033, 50, 54           H7 (94R) AGM     —
2017-14   L4/2.0L    Auxiliary Battery                                              20033, 45, 50, 54       —                —
2016      L4/2.0L                                                                   80033                   H7 (94R) AGM     —
2015      L4/2.0L                                                                   80033, 50, 54           H7 (94R) AGM     —
2014-12   L4/2.0L                                                                   80 Ah                   H7 (94R)         H7 (94R) AGM
Land Rover Range Rover Sport
2017-16   V6/3.0L    Dsl                                                            76033, 50, 54           H8 (49) AGM      —
2017-16   V6/3.0L    Dsl, Auxiliary for Start-Stop                                  20033, 45, 50, 54       —                —
2017-16   V6/3.0L    Dsl, Ex Cold Climate                                           85033, 50, 54           H8 (49) AGM      —
2017-14   V6/3.0L                                                                   85033, 50, 54           H8 (49) AGM      —
2017-14   V6/3.0L    Auxiliary for Start-Stop                                       20033, 45, 50, 54       —                —
2017-14   V8/5.0L                                                                   85033, 50, 54           H8 (49) AGM      —
2017-14   V8/5.0L    Auxiliary for Start-Stop                                       20033, 45, 50, 54       —                —
2016      V6/3.0L    Dsl                                                            90033                   H8 (49) AGM      —
2016      V8/5.0L                                                                   N/A33                   H8 (49) AGM      —
2016-15   V6/3.0L                                                                   90033                   H8 (49) AGM      —
2016-15   V8/5.0L                                                                   90033                   H8 (49) AGM      —
2015      V6/3.0L                                                                   720                     H7 (94R)         H7 (94R) AGM
2015-10   V8/5.0L                                                                   720                     H7 (94R)         H7 (94R) AGM
2014      V6/3.0L    Primary Battery                                                90033                   H8 (49) AGM      —
                                                                                   See page 157 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                  Costco_001896
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 698Lexus
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   Automotive/Light Truck                                                                                                    97
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING             (NOTES)            (NOTES)

   Land Rover Range Rover Sport (continued)
   2014        V8/5.0L     Primary Battery                                  90033                   H8 (49) AGM       —
   2013-10     V8/5.0L                                                      700                     H7 (94R)          H7 (94R) AGM
   2009-06     V8/4.2L                                                      720                     H8 (49)           H8 (49) AGM
   2009-06     V8/4.2L                                                      700                     H7 (94R)          H7 (94R) AGM
   2009-06     V8/4.4L                                                      720                     H8 (49)           H8 (49) AGM
   2009-06     V8/4.4L                                                      700                     H7 (94R)          H7 (94R) AGM
   Lexus CT200h
   2017-11 L4/1.8L         Hybrid                                           32533, 45, 50, 55       S46B AGM          —
   Lexus ES250
   1991-90 V6/2.5L                                                          360                     35                35 AGM
   Lexus ES300
   2003-92 V6/3.0L                                                          360                     35                35 AGM
   2003-92 V6/3.0L         Opt                                              585                     24F               24F AGM
   Lexus ES300h
   2018-13     L4/2.5L     Hybrid                                           45033, 45, 50, 61       —                 —
   2016        L4/2.5L                                                      325                     —                 —
   2015        L4/2.5L     Hybrid                                           45033, 50               —                 —
   2014-13     L4/2.5L     Hybrid                                           32533, 50               —                 —
   Lexus ES330
   2006-04 V6/3.3L                                                          585                     24F               24F AGM
   Lexus ES350
   2018-07 V6/3.5L                                                          585                     24F               24F AGM
   2016    V6/3.5L                                                          580                     24F               24F AGM
   Lexus GS F
   2019    V8/5.0L                                                          70 Ah                   24                —
   2018-16 V8/5.0L                                                          585                     24                —
   2016    V8/5.0L                                                          580                     24                —
   Lexus GS Turbo
   2017        L4/2.0L                                                      585                     24                —
   Lexus GS200t
   2016        L4/2.0L                                                      580                     24                —
   2016        L4/2.0L                                                      585                     24                —
   Lexus GS300
   2019-18     L4/2.0L                                                      70 Ah                   24                —
   2006        V6/3.0L                                                      585                     24                —
   2005-98     L6/3.0L                                                      585                     24                —
   1997-93     L6/3.0L                                                      585                     24F               24F AGM
   Lexus GS350
   2019-18     V6/3.5L                                                      70 Ah                   24                —
   2017-13     V6/3.5L                                                      585                     24                —
   2016-15     V6/3.5L                                                      580                     24                —
   2011-07     V6/3.5L                                                      585                     24                —
   Lexus GS400
   2000-98 V8/4.0L                                                          585                     24                —
   Lexus GS430
   2007-01 V8/4.3L                                                          585                     24                —
   Lexus GS450h
   2017-16     V6/3.5L     Hybrid                                           36033, 45, 50, 61       —                 —
   2016        V6/3.5L                                                      360                     —                 —
   2015-13     V6/3.5L     Hybrid                                           36033, 50               —                 —
   2011-07     V6/3.5L     Hybrid                                           36033, 50               —                 —
   Lexus GS460
   2011-08 V8/4.6L                                                          585                     24                —
   Lexus GX460
   2019-10 V8/4.6L                                                          585                     24F               24F AGM
   Lexus GX470
   2009-03 V8/4.7L                                                          710                     27F               —
   Lexus HS250h
   2012    L4/2.4L         Hybrid                                           36033, 45, 50, 55       —                 —
   2011-10 L4/2.4L         Hybrid                                           36033, 50, 54, 55       —                 —
   Lexus IS F
   2014-08 V8/5.0L                                                          585                     24                —
   Lexus IS Turbo
   2017        L4/2.0L                                                      585                     24                —
   Lexus IS200t
   2016        L4/2.0L                                                      580                     24                —
   2016        L4/2.0L                                                      585                     24                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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98                                                                      Automotive/Light Truck
  YEAR      ENGINE                                            OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                        CCA/RATING             (NOTES)            (NOTES)

Lexus IS250
2015-06 V6/2.5L                                                                  585                     24                —
Lexus IS300
2019-18   L4/2.0L                                                                585                     24                —
2019-16   V6/3.5L                                                                585                     24                —
2016      V6/3.5L                                                                580                     24                —
2005-01   L6/3.0L                                                                585                     24                —
Lexus IS350
2019-06 V6/3.5L                                                                  585                     24                —
Lexus LC500
2019-18 V8/5.0L                                                                  70 Ah50                 H6 (48)           H6 (48) AGM
2019-18 V8/5.0L      Cold Climate                                                80 Ah50                 H7 (94R)          H7 (94R) AGM
Lexus LC500h
2021-18 V6/3.5L      Hybrid                                                      69050                   H6 (48)           H5 (47) AGM
Lexus LFA
2012      V10/4.8L                                                               45033, 45, 50, 55       —                 —
Lexus LS400
2000-95 V8/4.0L                                                                  585                     24F               24F AGM
1994-90 V8/4.0L                                                                  580                     27F               —
Lexus LS430
2006-01 V8/4.3L                                                                  585                     24F               24F AGM
Lexus LS460
2017-15   V8/4.6L    w/o PTC Heater                                              585                     24                —
2017-13   V8/4.6L    w/PTC Heater                                                660                     27                —
2016      V8/4.6L    Cold Climate Pkg                                            680                     27                —
2015      V8/4.6L    w/o PTC Heater                                              580                     24                —
2014-07   V8/4.6L                                                                585                     24                —
2014-07   V8/4.6L    Cold Weather Pkg                                            710                     27                —
Lexus LS500
2019      V6/3.5L    Ex Executive, Luxury, F Sport Plus Pkg                      60550                   H6 (48)           H6 (48) AGM
2019      V6/3.5L    Executive, Luxury, F Sport Plus Pkg                         79550                   —                 H8 (49) AGM
2019      V6/3.5L    Opl F Sport Interior Upgrade Pkg                            69050                   H7 (94R)          H7 (94R) AGM
Lexus LS500h
2019      V6/3.5L    Hybrid, Ex Executive Pkg                                    60550                   H6 (48)           H6 (48) AGM
2019      V6/3.5L    Hybrid, Opt or Executive Pkg                                79550                   —                 H8 (49) AGM
Lexus LS600h
2016      V8/5.0L                                                                450                     —                 —
2016      V8/5.0L    Hybrid                                                      45033, 45, 50, 61       —                 —
2015      V8/5.0L    Hybrid                                                      45033, 45, 50           —                 —
2014-08   V8/5.0L    Hybrid                                                      45033, 50               —                 —
Lexus LX450
1997-96 L6/4.5L                                                                  625                     27F               —
Lexus LX470
2007-03 V8/4.7L                                                                  710                     27F               —
2002    V8/4.7L                                                                  585                     27F               —
2001-98 V8/4.7L                                                                  650                     27F               —
Lexus LX570
2019-13 V8/5.7L                                                                  710                     27F               —
2011-08 V8/5.7L                                                                  710                     27F               —
Lexus NX200t
2017-15 L4/2.0L                                                                  580                     24F               24F AGM
Lexus NX300
2019-18 L4/2.0L                                                                  580                     24F               24F AGM
Lexus NX300h
2021-15 L4/2.5L      Hybrid                                                      46050                   H5 (47)           H5 (47) AGM
Lexus RC F
2019-18 V8/5.0L                                                                  70 Ah                   —                 —
2017-15 V8/5.0L                                                                  59545                   —                 —
Lexus RC Turbo
2017      L4/2.0L                                                                585                     24                —
Lexus RC200t
2016      L4/2.0L                                                                580                     24                —
2016      L4/2.0L                                                                585                     24                —
Lexus RC300
2019-18 L4/2.0L                                                                  585                     24                —
2019-16 V6/3.5L                                                                  585                     24                —
2016    V6/3.5L                                                                  580                     24                —
                                                                                See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                    99
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING             (NOTES)            (NOTES)

   Lexus RC350
   2019-15 V6/3.5L                                                          585                     24                —
   Lexus RX300
   2003-99 V6/3.0L                                                          585                     24F               24F AGM
   Lexus RX330
   2006-04 V6/3.3L                                                          585                     24F               24F AGM
   Lexus RX350
   2019-16 V6/3.5L                                                          585                     24F               24F AGM
   2015    V6/3.5L                                                          58555                   24F               24F AGM
   2014-07 V6/3.5L                                                          585                     24F               24F AGM
   Lexus RX350L
   2019-18 V6/3.5L                                                          585                     24F               24F AGM
   Lexus RX400h
   2008-06 V6/3.3L         Hybrid                                           435                     51R               —
   Lexus RX450h
   2021-16     V6/3.5L     Hybrid                                           46033, 50, 55           H5 (47) AGM       —
   2016        V6/3.5L     Hybrid                                           355                     H5 (47)           H5 (47) AGM
   2015        V6/3.5L     Hybrid                                           36033, 45, 50, 55       —                 —
   2014-11     V6/3.5L     Hybrid                                           35633, 45, 50, 55       —                 —
   2014-11     V6/3.5L     Hybrid                                           36033, 45, 50, 55, 61   —                 —
   2010        V6/3.5L     Hybrid                                           36033, 45, 50, 55       —                 —
   Lexus RX450hL
   2021-18 V6/3.5L         Hybrid                                           36033, 45, 50, 55, 61   —                 —
   Lexus SC300
   2000-97 L6/3.0L                                                          585                     24F               24F AGM
   1996-92 L6/3.0L                                                          450                     27F               —
   Lexus SC400
   2000-93 V8/4.0L                                                          625                     27F               —
   1992    V8/4.0L                                                          450                     27F               —
   1992    V8/4.0L         Opt                                              625                     27F               —
   Lexus SC430
   2010-03 V8/4.3L                                                          585                     H6 (48)           H6 (48) AGM
   2002    V8/4.3L                                                          625                     H6 (48)           H6 (48) AGM
   Lexus UX200
   2019        L4/2.0L                                                      590                     H6 (48)           H6 (48) AGM
   Lexus UX250h
   2021-19 L4/2.0L         Hybrid                                           28550                   —                 —
   Lincoln Aviator
   2021-20     V6/3.0L                                                      80033, 50               H7 (94R) AGM      —
   2021-20     V6/3.0L     Opt                                              85033, 50               H8 (49) AGM       —
   2021-20     V6/3.0L     Auxiliary                                        10033, 45, 50           —                 —
   2005-03     V8/4.6L                                                      650                     65                65 AGM
   Lincoln Blackwood
   2002        V8/5.4L                                                      650                     65                65 AGM
   Lincoln Continental
   2020-19     V6/2.7L                                                      80033                   H7 (94R) AGM      —
   2020-19     V6/3.0L                                                      80033                   H7 (94R) AGM      —
   2020-19     V6/3.7L     Livery                                           80033                   H7 (94R) AGM      —
   2020-19     V6/3.7L     Non Livery                                       76033                   H6 (48) AGM       —
   2018-17     V6/2.7L                                                      730                     H7 (94R)          H7 (94R) AGM
   2018-17     V6/3.0L                                                      730                     H7 (94R)          H7 (94R) AGM
   2018-17     V6/3.7L     Livery                                           730                     H7 (94R)          H7 (94R) AGM
   2018-17     V6/3.7L     Non Livery                                       610                     H6 (48)           H6 (48) AGM
   2002-97     V8/4.6L                                                      750                     65                65 AGM
   1996-95     V8/4.6L                                                      850                     65                —
   1994        V6/3.8L     Opt                                              850                     65                —
   1994-90     V6/3.8L                                                      650                     65                65 AGM
   1993-90     V6/3.8L     w/HWS                                            850                     65                —
   Lincoln Corsair
   2021    L4/2.5L                                                          76033                   H6 (48) AGM       —
   2021-20 L4/2.0L                                                          80033                   H7 (94R) AGM      —
   2021-20 L4/2.3L                                                          80033                   H7 (94R) AGM      —
   Lincoln LS
   2006-00     V8/3.9L                                                      65050                   —                 —
   2005-01     V6/3.0L     Opt                                              75050                   —                 —
   2005-01     V8/3.9L     Opt                                              75050                   —                 —
   2005-00     V6/3.0L                                                      65050                   —                 —
   See page 157 for Footnotes. Selection may vary by warehouse.

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100                                                 Automotive/Light Truck
  YEAR      ENGINE                        OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

Lincoln Mark LT
2008-06   V8/5.4L                                            540                    59                —
2008-06   V8/5.4L    LT                                      540                    59                —
2008-06   V8/5.4L    LT, HD                                  650                    65                65 AGM
2008-06   V8/5.4L    Opt                                     650                    65                65 AGM
Lincoln Mark VII
1992-90 V8/5.0L                                              850                    65                —
Lincoln Mark VIII
1998-97 V8/4.6L      Opt                                     750                    65                65 AGM
1998-93 V8/4.6L      US                                      650                    65                65 AGM
1996-93 V8/4.6L      HD or Canada                            850                    65                —
Lincoln MKC
2019-17   L4/2.0L    w/o Start-Stop                          610                    H6 (48)           H6 (48) AGM
2019-17   L4/2.0L    w/Start-Stop                            76033                  H6 (48) AGM       —
2018-15   L4/2.3L                                            610                    H6 (48)           H6 (48) AGM
2016-15   L4/2.0L                                            610                    H6 (48)           H6 (48) AGM
Lincoln MKS
2016-10 V6/3.5L                                              650                    65                65 AGM
2016-09 V6/3.7L                                              650                    65                65 AGM
Lincoln MKT
2019-13   V6/3.5L                                            750                    65                65 AGM
2019-13   V6/3.7L                                            750                    65                65 AGM
2016-15   V6/3.5L                                            650                    65                65 AGM
2016-13   L4/2.0L                                            650                    65                65 AGM
2016-10   V6/3.7L                                            650                    65                65 AGM
2015      L4/2.0L                                            750                    65                65 AGM
2012-10   V6/3.5L                                            650                    65                65 AGM
2012-10   V6/3.5L    Opt                                     750                    65                65 AGM
2012-10   V6/3.7L    Opt                                     750                    65                65 AGM
Lincoln MKX
2018-17   V6/2.7L    w/o Start-Stop                          730                    H7 (94R)          H7 (94R) AGM
2018-17   V6/2.7L    w/Start-Stop                            80033                  H7 (94R) AGM      —
2018-17   V6/3.7L                                            80033                  H7 (94R) AGM      —
2016      V6/2.7L                                            730                    H7 (94R)          H7 (94R) AGM
2016      V6/3.7L                                            730                    H7 (94R)          H7 (94R) AGM
2015-11   V6/3.7L                                            650                    65                65 AGM
2010-07   V6/3.5L                                            650                    36R               —
Lincoln MKZ
2020-19   L4/2.0L    Gas                                     80033                  H7 (94R) AGM      —
2020-19   V6/3.0L                                            80033                  H7 (94R) AGM      —
2020-17   L4/2.0L    Hybrid                                  59050                  90 (T5)           —
2018-17   L4/2.0L    Gas                                     730                    H7 (94R)          H7 (94R) AGM
2018-17   L4/2.0L    Start-Stop                              80033                  H7 (94R) AGM      —
2018-17   V6/3.0L                                            730                    H7 (94R)          H7 (94R) AGM
2017      L4/2.0L    US, Gas                                 730                    H7 (94R)          H7 (94R) AGM
2016      L4/2.0L                                            590                    90 (T5)           —
2016      L4/2.0L    Hybrid                                  76033, 50              H6 (48) AGM       —
2016-13   L4/2.0L    Gas                                     590                    90 (T5)           —
2016-13   V6/3.7L                                            590                    90 (T5)           —
2015-13   L4/2.0L    Hybrid                                  39050                  —                 —
2014-13   L4/2.0L    Ex Hybrid                               500                    96R               —
2013      L4/2.0L    Opt                                     590                    96R               —
2012-11   L4/2.5L    Hybrid                                  390                    —                 —
2012-10   V6/3.5L                                            500                    96R               —
2009-07   V6/3.5L                                            590                    96R               —
Lincoln Nautilus
2021-19 L4/2.0L                                              80033                  H7 (94R) AGM      —
2021-19 V6/2.7L                                              80033                  H7 (94R) AGM      —
Lincoln Navigator
2021-18   V6/3.5L                                            85033                  H8 (49) AGM        —
2017-15   V6/3.5L                                            750                    65                 65 AGM
2014-98   V8/5.4L    w/o Heated Seats                        650                    65                 65 AGM
2014      V8/5.4L                                            750                    65                 65 AGM
2014-08   V8/5.4L    HD or Heated Seats                      750                    65                 65 AGM
2013-11   V8/5.4L    Climate seats                           750                    65                 65 AGM
2008-07   V8/5.4L    Climate seats                           750                    65                 65 AGM
2006-98   V8/5.4L                                            650                    65                 65 AGM
2006-98   V8/5.4L    Canada & Opt                            750                    65                 65 AGM
2006-98   V8/5.4L    Opt                                     750                    65                 65 AGM
                                                            See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                            101
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Lincoln Town Car
   2011-06     V8/4.6L     HD & Long Wheel Base                             750                    65                65 AGM
   2011-06     V8/4.6L     Short Wheel Base                                 650                    65                65 AGM
   2005-99     V8/4.6L     Limo, HD                                         750                    65                65 AGM
   2005-97     V8/4.6L     Ex Limo                                          650                    65                65 AGM
   1998-97     V8/4.6L     Limo, HD                                         850                    65                —
   1996-95     V8/4.6L     Ex HWS or Limo                                   650                    65                65 AGM
   1996-95     V8/4.6L     HWS or HD, Limo                                  850                    65                —
   1994-91     V8/4.6L     Ex HWS                                           650                    65                65 AGM
   1994-91     V8/4.6L     w/HWS                                            850                    65                —
   1990        V8/5.0L     Ex HWS                                           650                    65                65 AGM
   1990        V8/5.0L     w/HWS                                            850                    65                —
   Lincoln Zephyr
   2006        V6/3.0L                                                      590                    40R               —
   Lotus Elise
   2009-08 L4/1.8L                                                          52050                  H5 (47)           H5 (47) AGM
   2007-05 L4/1.8L                                                          550                    26R               —
   Lotus Exige
   2009-08 L4/1.8L                                                          60050                  H6 (48)           H6 (48) AGM
   2007-06 L4/1.8L                                                          550                    26R               —
   Maserati Coupe
   2007-03 V8/4.2L         Coupe                                            78550, 54              —                 —
   Maserati Ghibli
   2019-14 V6/3.0L                                                          95 Ah33, 50, 54        H8 (49) AGM       —
   Maserati GranSport
   2007-05 V8/4.2L         Coupe                                            78550, 54              —                 —
   Maserati GranTurismo
   2019-14 V8/4.7L                                                          95 Ah33, 50, 54        H8 (49) AGM       —
   2013-09 V8/4.7L                                                          60050, 54              H6 (48)           H6 (48) AGM
   2011-08 V8/4.2L                                                          60050, 54              H6 (48)           H6 (48) AGM
   Maserati Levante
   2019    V8/3.8L                                                          95 Ah33, 50, 54        H8 (49) AGM       —
   2019-17 V6/3.0L                                                          95 Ah33, 50, 54        H8 (49) AGM       —
   Maserati Quattroporte
   2019-14     V6/3.0L                                                      95 Ah33, 50, 54        H8 (49) AGM       —
   2019-14     V8/3.8L                                                      95 Ah33, 50, 54        H8 (49) AGM       —
   2013-09     V8/4.7L                                                      85050, 54              —                 H8 (49) AGM
   2011-08     V8/4.2L                                                      60050, 54              H6 (48)           H6 (48) AGM
   2007-04     V8/4.2L                                                      78550, 54              —                 —
   Maserati Spyder
   2006-02 V8/4.2L                                                          80 Ah50, 54            —                 —
   Maybach 57
   2012-06 V12/6.0L        Opt                                              95033, 50, 54          —                 —
   2012-03 V12/5.5L                                                         85033                  H8 (49) AGM       —
   2012-03 V12/5.5L        Opt                                              95033, 50, 54          —                 —
   Maybach 62
   2012-07     V12/6.0L                                                     85033                  H8 (49) AGM       —
   2012-07     V12/6.0L    Opt                                              95033, 50, 54          —                 —
   2012-03     V12/5.5L                                                     85033                  H8 (49) AGM       —
   2012-03     V12/5.5L    Opt                                              95033, 50, 54          —                 —
   Mazda 2
   2014    L4/1.5L         Canada & Cold Climate                            525                    35                35 AGM
   2014-11 L4/1.5L                                                          350                    35                35 AGM
   2013-11 L4/1.5L         Canada or Cold Climate Pkg                       525                    35                35 AGM
   Mazda 3
   2018-17 L4/2.0L         i-ELOOP                                          52045, 59              —                 —
   2018-17 L4/2.5L         i-ELOOP                                          52045, 59              —                 —
   2018-15 L4/2.0L         Ex i-ELOOP                                       520                    35                35 AGM
   2018-15 L4/2.5L         Ex i-ELOOP                                       520                    35                35 AGM
   2016       L4/2.0L      i-ELOOP                                          520                    —                 —
   2016       L4/2.5L      i-ELOOP                                          520                    —                 —
   2015       L4/2.0L      SKYACTIV                                         525                    35                35 AGM
   2015-11 L4/2.0L         Canada & Cold Climate                            525                    35                35 AGM
   2015-11 L4/2.5L                                                          350                    35                35 AGM
   2015-11 L4/2.5L         Canada & Cold Climate                            525                    35                35 AGM
   2015-05 L4/2.0L                                                          350                    35                35 AGM
   2013-12 L4/2.0L         SKYACTIV                                         525                    35                35 AGM
   2013-11 L4/2.0L         Cold Climate Pkg or AT                           525                    35                35 AGM
   2013-11 L4/2.3L                                                          525                    35                35 AGM
   2013-11 L4/2.5L         Cold Climate Pkg or AT                           525                    35                35 AGM
   See page 157 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                           OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                      CCA/RATING             (NOTES)          (NOTES)

Mazda 3 (continued)
2010      L4/2.5L                                               306                    26R               —
2010      L4/2.5L    AT                                         355                    35                35 AGM
2010      L4/2.5L    MT                                         310                    26R               —
2010-08   L4/2.0L                                               306                    26R               —
2010-08   L4/2.0L    AT                                         355                    35                35 AGM
2010-08   L4/2.0L    MT                                         310                    26R               —
2010-08   L4/2.3L    MT                                         310                    26R               —
2009-08   L4/2.3L                                               306                    26R               —
2009-08   L4/2.3L    AT                                         355                    35                35 AGM
2009-07   L4/2.3L    Mazdaspeed                                 360                    35                35 AGM
2007      L4/2.0L                                               355                    35                35 AGM
2007      L4/2.0L    AT                                         550                    35                35 AGM
2007      L4/2.0L    Cold Climate                               490                    35                35 AGM
2007      L4/2.0L    Cold Climate Pkg                           585                    24F               24F AGM
2007      L4/2.3L                                               355                    35                35 AGM
2007      L4/2.3L    AT                                         550                    35                35 AGM
2007      L4/2.3L    Cold Climate                               490                    35                35 AGM
2007      L4/2.3L    Cold Climate Pkg                           585                    24F               24F AGM
2006      L4/2.0L                                               550                    35                35 AGM
2006-04   L4/2.3L                                               550                    35                35 AGM
2005-04   L4/2.0L    Opt                                        520                    35                35 AGM
2004      L4/2.0L                                               310                    35                35 AGM
Mazda 3 Sport
2018-15   L4/2.0L    Ex i-ELOOP                                 520                    35                35 AGM
2018-15   L4/2.0L    i-ELOOP                                    52045, 59              —                 —
2018-15   L4/2.5L    Ex i-ELOOP                                 520                    35                35 AGM
2018-15   L4/2.5L    i-ELOOP                                    52045, 59              —                 —
2014      L4/2.0L    Canada & Cold Climate                      525                    35                35 AGM
2014      L4/2.5L    Canada & Cold Climate                      525                    35                35 AGM
2014-11   L4/2.0L                                               350                    35                35 AGM
2014-11   L4/2.5L                                               350                    35                35 AGM
2013-12   L4/2.0L    Cold Climate Pkg                           525                    35                35 AGM
2013-12   L4/2.5L    Cold Climate Pkg                           525                    35                35 AGM
2011      L4/2.0L    Canada & Cold Climate                      525                    35                35 AGM
2011      L4/2.5L    Canada & Cold Climate                      525                    35                35 AGM
2010      L4/2.5L    AT                                         355                    35                35 AGM
2010      L4/2.5L    MT                                         310                    26R               —
2010-09   L4/2.0L    AT                                         355                    35                35 AGM
2010-09   L4/2.0L    MT                                         310                    26R               —
Mazda 323
1995-91   L4/1.6L                                               350                    35                35 AGM
1994-93   L4/1.8L                                               310                    35                35 AGM
1994-93   L4/1.8L    Opt                                        350                    35                35 AGM
1991      L4/1.6L    Opt                                        310                    35                35 AGM
1991      L4/1.8L    California or HD                           310                    35                35 AGM
1991-90   L4/1.8L    Ex California                              350                    35                35 AGM
1990      L4/1.6L                                               310                    35                35 AGM
1990      L4/1.6L    Opt                                        360                    35                35 AGM
1990      L4/1.8L    California                                 310                    35                35 AGM
1990      L4/1.8L    Opt                                        360                    35                35 AGM
Mazda 5
2015-12   L4/2.5L    AT                                         550                    35                35 AGM
2015-12   L4/2.5L    MT                                         540                    26R               —
2012      L4/2.5L    Cold Climate Pkg                           520                    35                35 AGM
2010      L4/2.3L    AT                                         550                    35                35 AGM
2010      L4/2.3L    MT                                         540                    26R               —
2009      L4/2.3L    AT                                         355                    35                35 AGM
2009      L4/2.3L    MT                                         310                    26R               —
2008-06   L4/2.3L                                               550                    35                35 AGM
Mazda 6
2018      L4/2.5L    i-ELOOP                                    52045, 59              —                 —
2018-14   L4/2.5L    Ex i-ELOOP                                 520                    35                35 AGM
2017      L4/2.5L    i-ELOOP                                    52045                  —                 —
2016-14   L4/2.5L    i-ELOOP                                    520                    —                 —
2013-09   L4/2.5L                                               590                    96R               —
2013-09   V6/3.7L                                               590                    96R               —
2008-03   L4/2.3L                                               590                    40R               —
2008-03   V6/3.0L                                               590                    40R               —
2007      V6/3.0L                                               585                    40R               —
2007-06   L4/2.3L    Ex Mazdaspeed                              585                    40R               —
2007-06   L4/2.3L    Mazdaspeed                                 550                    35                35 AGM
                                                               See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                            103
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Mazda 626
   2002-98     L4/2.0L                                                      580                    36R               —
   2002-98     V6/2.5L                                                      580                    36R               —
   1997-93     L4/2.0L                                                      580                    —                 —
   1997-93     V6/2.5L                                                      580                    —                 —
   1992-91     L4/2.2L     Cold Climate Pkg                                 350                    35                35 AGM
   1992-90     L4/2.2L                                                      310                    35                35 AGM
   1990        L4/2.2L     Opt                                              350                    35                35 AGM
   Mazda 929
   1995-92     V6/3.0L     US                                               350                    35                35 AGM
   1995-90     V6/3.0L     Canada & Opt                                     585                    24F               24F AGM
   1993-92     V6/3.0L     Serenia, US                                      350                    35                35 AGM
   1991        V6/3.0L     US                                               310                    35                35 AGM
   1991-90     V6/3.0L                                                      310                    35                35 AGM
   Mazda B2200
   1993-90 L4/2.2L                                                          310                    25                —
   1990    L4/2.2L         Opt                                              490                    24                —
   Mazda B2300
   2010-97 L4/2.3L                                                          540                    59                —
   1997-94 L4/2.3L         Opt                                              540                    65                65 AGM
   1996-94 L4/2.3L                                                          540                    58                —
   Mazda B2500
   2001-98 L4/2.5L                                                          540                    59                —
   Mazda B2600
   1993-91     L4/2.6L     Canada & Opt                                     585                    24                —
   1993-90     L4/2.6L     US                                               310                    25                —
   1990        L4/2.6L                                                      310                    25                —
   1990        L4/2.6L     Opt                                              585                    24                —
   Mazda B3000
   2008-98 V6/3.0L                                                          540                    59                —
   1997-94 V6/3.0L                                                          540                    58                —
   Mazda B4000
   2010-98 V6/4.0L                                                          540                    59                —
   1997-94 V6/4.0L                                                          650                    65                65 AGM
   Mazda CX-3
   2019-16 L4/2.0L                                                          520                    35                35 AGM
   2016    L4/2.0L         Ex i-ELOOP                                       520                    35                35 AGM
   Mazda CX-5
   2016        L4/2.0L                                                      30645                  26R               —
   2016        L4/2.0L                                                      N/A45                  35                35 AGM
   2016        L4/2.5L                                                      30645                  26R               —
   2016        L4/2.5L                                                      N/A45                  35                35 AGM
   2016-15     L4/2.5L     Cold Weather Pkg                                 52045                  35                35 AGM
   2016-13     L4/2.0L     Cold Weather Pkg                                 52045                  35                35 AGM
   2014        L4/2.0L     Cold Weather Pkg or HD                           52045                  35                35 AGM
   2014        L4/2.5L     Cold Weather Pkg or HD                           52045                  35                35 AGM
   Mazda CX-7
   2012-11     L4/2.3L     Canada & Opt                                     585                    24F               24F AGM
   2012-10     L4/2.3L     US                                               525                    35                35 AGM
   2012-10     L4/2.5L                                                      550                    35                35 AGM
   2010        L4/2.3L                                                      550                    35                35 AGM
   2010        L4/2.3L     Canada                                           585                    24F               24F AGM
   2009-07     L4/2.3L                                                      360                    35                35 AGM
   Mazda CX-9
   2019-16 L4/2.5L                                                          520                    35                35 AGM
   2015-08 V6/3.7L                                                          585                    24F               24F AGM
   2007    V6/3.5L                                                          585                    24F               24F AGM
   Mazda Miata
   2005-94 L4/1.8L                                                          32050                  —                 —
   1993-90 L4/1.6L                                                          32050                  —                 —
   Mazda Millenia
   2002-95     V6/2.3L     Opt                                              585                    24F               24F AGM
   2002        V6/2.5L                                                      520                    35                35 AGM
   2002-01     V6/2.3L                                                      520                    35                35 AGM
   2002-01     V6/2.5L     Opt                                              490                    24F               24F AGM
   2001        V6/2.5L                                                      360                    35                35 AGM
   2000-95     V6/2.3L                                                      490                    35                35 AGM
   2000-95     V6/2.5L                                                      350                    35                35 AGM
   2000-95     V6/2.5L     Opt                                              490                    35                35 AGM
   See page 157 for Footnotes. Selection may vary by warehouse.

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104                                               Automotive/Light Truck
  YEAR      ENGINE                      OPTIONS                ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

Mazda MPV
2006-02   V6/3.0L                                            360                    35                35 AGM
2006-02   V6/3.0L    Opt                                     490                    24F               24F AGM
2001-00   V6/2.5L                                            360                    35                35 AGM
2001-00   V6/2.5L    Opt                                     490                    24F               24F AGM
1998-96   V6/3.0L    Canada & Opt                            490                    24F               24F AGM
1998-96   V6/3.0L    US                                      350                    35                35 AGM
1995-93   V6/3.0L    4WD                                     490                    24F               24F AGM
1995-93   V6/3.0L    Opt                                     585                    24F               24F AGM
1995-93   V6/3.0L    RWD                                     310                    35                35 AGM
1994-93   L4/2.6L    4WD                                     490                    24F               24F AGM
1994-93   L4/2.6L    Opt                                     585                    24F               24F AGM
1994-93   L4/2.6L    RWD                                     310                    35                35 AGM
1993      V6/3.0L    2WD                                     310                    35                35 AGM
1992-90   L4/2.6L    Canada & Opt                            585                    24F               24F AGM
1992-90   L4/2.6L    US                                      310                    35                35 AGM
1992-90   V6/3.0L    Canada & Opt                            585                    24F               24F AGM
1992-90   V6/3.0L    US                                      310                    35                35 AGM
Mazda MX-3
1996-95   L4/1.6L                                            310                    35                35 AGM
1995      L4/1.6L    Opt                                     350                    35                35 AGM
1995      V6/1.8L                                            350                    35                35 AGM
1994      V6/1.8L                                            630                    24F               24F AGM
1994      V6/1.8L    California                              310                    35                35 AGM
1994      V6/1.8L    Ex California                           420                    35                35 AGM
1994-92   L4/1.6L    HD w/AT                                 350                    35                35 AGM
1994-92   L4/1.6L    MT                                      310                    35                35 AGM
1993-92   V6/1.8L                                            420                    35                35 AGM
Mazda MX-5 Miata
2019-06 L4/2.0L                                              340                    51R               —
Mazda MX-6
1997-93   L4/2.0L                                            580                    —                 —
1997-93   V6/2.5L                                            580                    —                 —
1992-91   L4/2.2L    Cold Climate Pkg                        350                    35                35 AGM
1992-90   L4/2.2L                                            310                    35                35 AGM
Mazda Navajo
1994-91 V6/4.0L                                              650                    65                65 AGM
Mazda Protegé
2003-99   L4/1.6L                                            310                    35                35 AGM
2003-01   L4/1.6L    Opt                                     520                    35                35 AGM
2003-01   L4/2.0L                                            310                    35                35 AGM
2003-01   L4/2.0L    Opt                                     520                    35                35 AGM
2000-99   L4/1.6L    Opt                                     350                    35                35 AGM
2000-99   L4/1.8L                                            350                    35                35 AGM
1998-95   L4/1.5L                                            310                    35                35 AGM
1998-95   L4/1.5L    Opt                                     350                    35                35 AGM
1998-92   L4/1.8L                                            310                    35                35 AGM
1994-92   L4/1.8L    Opt                                     350                    35                35 AGM
1991      L4/1.8L    California or HD                        310                    35                35 AGM
1991-90   L4/1.8L    Ex California                           350                    35                35 AGM
1990      L4/1.8L    California                              310                    35                35 AGM
1990      L4/1.8L    Opt                                     360                    35                35 AGM
Mazda Protegé5
2003-02 L4/2.0L                                              310                    35                35 AGM
2003-02 L4/2.0L      Opt                                     520                    35                35 AGM
Mazda RX-7
1995-94   R2/1.3L    Canada, w/AT                            490                    24F               24F AGM
1995-94   R2/1.3L    MT                                      420                    35                35 AGM
1993      R2/1.3L                                            350                    35                35 AGM
1993      R2/1.3L    Opt                                     495                    24F               24F AGM
1991      R2/1.3L    US                                      350                    35                35 AGM
1991-90   R2/1.3L    Canada & Opt                            405                    35                35 AGM
1990      R2/1.3L    US                                      320                    35                35 AGM
Mazda RX-8
2011      R2/1.3L                                            525                    35                35 AGM
2011      R2/1.3L    Opt                                     585                    24F               24F AGM
2010      R2/1.3L                                            550                    35                35 AGM
2009-04   R2/1.3L                                            6409                   35                35 AGM
Mazda Tribute
2011      L4/2.5L                                            590                    96R               —
2011      V6/3.0L                                            590                    96R               —
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                                                                          Mercedes-Benz
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   Automotive/Light Truck                                                                                          105
      YEAR        ENGINE                                          OPTIONS    ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                 CCA/RATING            (NOTES)            (NOTES)

   Mazda Tribute (continued)
   2010        L4/2.5L     Gas                                              650                   —                —
   2010        V6/3.0L                                                      650                   —                —
   2010-09     L4/2.5L                                                      590                   40R              —
   2010-09     L4/2.5L     Hybrid                                           500                   96R              —
   2009-01     V6/3.0L                                                      590                   40R              —
   2008        L4/2.3L                                                      590                   40R              —
   2008        L4/2.3L     Hybrid                                           500                   96R              —
   2006-05     L4/2.3L                                                      590                   40R              —
   2004-01     L4/2.0L                                                      500                   96R              —
   Mercedes-Benz 190E
   1993-91 L4/2.3L                                                          550                   H6 (48)          H6 (48) AGM
   1993-90 L6/2.6L                                                          550                   H6 (48)          H6 (48) AGM
   Mercedes-Benz 300CE
   1993    L6/3.2L                                                          550                   H6 (48)          H6 (48) AGM
   1992-90 L6/3.0L                                                          550                   H6 (48)          H6 (48) AGM
   Mercedes-Benz 300D
   1993-92 L5/2.5L                                                          760                   —                —
   1991-90 L5/2.5L                                                          740                   H8 (49)          H8 (49) AGM
   Mercedes-Benz 300E
   1993        L6/2.8L                                                      550                   H6 (48)          H6 (48) AGM
   1993        L6/3.2L                                                      550                   H6 (48)          H6 (48) AGM
   1993-90     L6/3.0L                                                      550                   H6 (48)          H6 (48) AGM
   1993-90     L6/3.0L     4-Matic                                          550                   H6 (48)          H6 (48) AGM
   1992-90     L6/2.6L                                                      550                   H6 (48)          H6 (48) AGM
   Mercedes-Benz 300SD
   1993-92 L6/3.4L         Dsl                                              760                   —                —
   Mercedes-Benz 300SE
   1993-92 L6/3.2L                                                          760                   —                —
   1991-90 L6/3.0L                                                          740                   H8 (49)          H8 (49) AGM
   Mercedes-Benz 300SEL
   1991-90 L6/3.0L                                                          740                   H8 (49)          H8 (49) AGM
   Mercedes-Benz 300SL
   1993-92 L6/3.0L                                                          760                   —                —
   1991-90 L6/3.0L                                                          740                   H8 (49)          H8 (49) AGM
   Mercedes-Benz 300TE
   1993    L6/3.2L                                                          550                   H6 (48)          H6 (48) AGM
   1993-90 L6/3.0L                                                          550                   H6 (48)          H6 (48) AGM
   1993-90 L6/3.0L         4-Matic                                          550                   H6 (48)          H6 (48) AGM
   Mercedes-Benz 350SD
   1991        L6/3.4L     Dsl                                              740                   H8 (49)          H8 (49) AGM
   Mercedes-Benz 350SDL
   1991-90 L6/3.4L         Dsl                                              740                   H8 (49)          H8 (49) AGM
   Mercedes-Benz 400E
   1993-92 V8/4.2L                                                          760                   —                —
   Mercedes-Benz 400SE
   1992        V8/4.2L                                                      760                   —                —
   Mercedes-Benz 400SEL
   1993        V8/4.2L                                                      760                   —                —
   Mercedes-Benz 420SEL
   1991-90 V8/4.2L                                                          740                   H8 (49)          H8 (49) AGM
   Mercedes-Benz 500E
   1993-92 V8/5.0L                                                          760                   —                —
   Mercedes-Benz 500SEC
   1993        V8/5.0L                                                      760                   —                —
   Mercedes-Benz 500SEL
   1993-92 V8/5.0L                                                          760                   —                —
   Mercedes-Benz 500SL
   1993-92 V8/5.0L                                                          760                   —                —
   1991-90 V8/5.0L                                                          740                   H8 (49)          H8 (49) AGM
   Mercedes-Benz 560SEC
   1991-86 V8/5.6L                                                          740                   H8 (49)          H8 (49) AGM
   Mercedes-Benz 560SEL
   1991-86 V8/5.6L                                                          740                   H8 (49)          H8 (49) AGM
   Mercedes-Benz 600SEC
   1993        V12/6.0L                                                     760                   —                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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106                                                      Automotive/Light Truck
  YEAR      ENGINE                             OPTIONS                    ORIGINAL EQUIPMENT       GROUP SIZE        ALTERNATE SIZE
                                                                              CCA/RATING            (NOTES)             (NOTES)

Mercedes-Benz 600SEL
1993-92 V12/6.0L                                                        760                    —                 —
Mercedes-Benz 600SL
1993      V12/6.0L                                                      760                    —                 —
Mercedes-Benz A220
2021-19   L4/2.0L                                                       60 Ah33, 50, 56        H5 (47) AGM       —
2021-19   L4/2.0L    Opt                                                70 Ah33, 50, 56        H6 (48) AGM       —
2021-19   L4/2.0L    Opt                                                80 Ah33, 50, 56        H7 (94R) AGM      —
2021-19   L4/2.0L    Battery Backup                                     1.2 Ah45               —                 —
Mercedes-Benz A250
2021-19   L4/2.0L                                                       60 Ah33, 50, 56        H5 (47) AGM       —
2021-19   L4/2.0L    Opt                                                70 Ah33, 50, 56        H6 (48) AGM       —
2021-19   L4/2.0L    Opt                                                80 Ah33, 50, 56        H7 (94R) AGM      —
2021-19   L4/2.0L    Battery Backup                                     1.2 Ah45               —                 —
Mercedes-Benz AMG GT
2021-17   V8/4.0L                                                       60 Ah33, 50, 56        H5 (47) AGM       —
2021-17   V8/4.0L    Opt                                                80 Ah33, 50, 56        —                 —
2021-17   V8/4.0L    Optl, Li-ion Only                                  78 Ah45, 60            —                 —
2021-17   V8/4.0L    Opt                                                58 Ah45                —                 —
Mercedes-Benz AMG GT C
2021-18 V8/4.0L                                                         60 Ah33, 50, 56        H5 (47) AGM       —
2021-18 V8/4.0L      Opt                                                80 Ah33, 50, 56        —                 —
2021-18 V8/4.0L      Opt                                                58 Ah45                —                 —
Mercedes-Benz AMG GT R
2019      V8/4.0L                                                       60 Ah33, 50, 56        H5 (47) AGM       —
2019      V8/4.0L    Opt                                                80 Ah33, 50, 56        —                 —
2019      V8/4.0L    Opt                                                58 Ah45, 56            —                 —
2018      V8/4.0L                                                       60 Ah33, 50, 56        H5 (47) AGM       —
2018      V8/4.0L    Opt                                                80033, 50, 56          —                 —
Mercedes-Benz AMG GT S
2021      V8/4.0L                                                       60 Ah33, 50, 56        H5 (47) AGM       —
2021      V8/4.0L    Opt                                                80 Ah33, 50, 56        —                 —
2021      V8/4.0L    Optl, Li-ion Only                                  78 Ah45, 60            —                 —
2021      V8/4.0L    Opt                                                58 Ah45                —                 —
2019-16   V8/4.0L                                                       60 Ah33, 50, 56        H5 (47) AGM       —
2019-16   V8/4.0L    Opt                                                80033, 50, 56          —                 —
2019-16   V8/4.0L    Opt                                                58 Ah45, 56            —                 —
2019-16   V8/4.0L    Opt, Li-ion                                        78 Ah45, 56, 60        —                 —
Mercedes-Benz B Electric Drive
2015-14              Electric                                           68033, 54              —                 —
Mercedes-Benz B200
2011-06 L4/2.0L                                                         68050, 54              —                 —
Mercedes-Benz B250
2019-13   L4/2.0L                                                       70 Ah33, 50, 56        H6 (48) AGM       —
2019-13   L4/2.0L    Opt                                                80 Ah33, 50, 56        —                 —
2019-13   L4/2.0L    Auxiliary Battery                                  20033, 54              —                 —
2019-13   L4/2.0L                                                       76033, 54              H6 (48) AGM       —
2019-13   L4/2.0L    Opt                                                80033, 50, 54          —                 —
Mercedes-Benz B250e
2017                 Electric                                           68033, 50, 54          —                 —
2017                 Opt, Li-ion                                        N/A60                  —                 —
2017-16              Electric                                           60 Ah33, 50, 54        H5 (47) AGM       —
2016                 Electric                                           68060                  —                 —
Mercedes-Benz C220
1996-94 L4/2.2L                                                         76050                  —                 —
Mercedes-Benz C230
2009-08   V6/2.5L                                                       76050, 54              —                 —
2009-08   V6/2.5L    Auxiliary Battery                                  20033, 50              —                 —
2007-06   V6/2.5L                                                       76050                  —                 —
2005-04   L4/1.8L    S/C                                                76050                  —                 —
2003      L4/1.8L    S/C                                                82533, 50              H8 (49) AGM       —
2002      L4/2.3L                                                       76050                  —                 —
2000-97   L4/2.3L                                                       76050                  —                 —
Mercedes-Benz C240
2005-01 V6/2.6L      w/o AGM                                            76050                  —                 —
2003    V6/2.6L      w/AGM                                              85033, 50              H8 (49) AGM       —
Mercedes-Benz C250
2015-14 L4/1.8L      Opt Rear                                           95 Ah33, 50, 54        H8 (49) AGM       —
2015-13 L4/1.8L      Front                                              84 Ah50, 54            —                 —
                                                                       See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                            107
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING            (NOTES)            (NOTES)

   Mercedes-Benz C250 (continued)
   2015-12     L4/1.8L                                                      76033, 54               H6 (48) AGM      —
   2015-12     L4/1.8L     Auxiliary Battery                                20033                   —                —
   2012        L4/1.8L     Opt Rear                                         95 Ah33, 50, 54         H8 (49) AGM      —
   2012-10     V6/2.5L                                                      70054                   H7 (94R)         H7 (94R) AGM
   2012-10     V6/2.5L     Auxiliary Battery                                20033                   —                —
   2012-10     V6/2.5L     Opt                                              76033, 54               H6 (48) AGM      —
   Mercedes-Benz C280
   2007-06 V6/3.0L                                                          76050                   —                —
   2000-98 V6/2.8L                                                          76050                   —                —
   1997-94 L6/2.8L                                                          76050                   —                —
   Mercedes-Benz C300
   2018        L4/2.0L                                                      66033, 50, 54, 56       —                —
   2018        L4/2.0L     Opt                                              76033, 50, 56           H6 (48) AGM      —
   2018        L4/2.0L     Opt                                              80033, 50, 56           —                —
   2018        L4/2.0L     Opt, Li-ion                                      48 Ah45, 56, 60         —                —
   2017        L4/2.0L     Opt                                              76033, 50, 54           H6 (48) AGM      —
   2017-16     L4/2.0L     Opt, Li-ion                                      78 Ah45, 56, 60         —                —
   2017-15     L4/2.0L                                                      68033, 50, 54           —                —
   2016        L4/2.0L                                                      76033, 54               H6 (48) AGM      —
   2015        L4/2.0L                                                      70033, 50, 54           H7 (94R) AGM     —
   2015        L4/2.0L     Opt                                              76033, 50, 54           H6 (48) AGM      —
   2015        L4/2.0L     Opt, Li-ion                                      78 Ah45, 56, 57, 60     —                —
   2014-13     V6/3.5L                                                      70050, 54               H7 (94R)         H7 (94R) AGM
   2014-13     V6/3.5L     AGM Opt Trunk Mtd                                95 Ah33, 50, 54         H8 (49) AGM      —
   2014-13     V6/3.5L     Auxiliary Battery                                20033                   —                —
   2014-13     V6/3.5L     Front Battery                                    84 Ah50                 —                —
   2012        V6/3.0L     AGM Opt Trunk Mtd                                95 Ah33, 50, 54         H8 (49) AGM      —
   2012-08     V6/3.0L                                                      84 Ah50, 54             —                —
   2012-08     V6/3.0L     Auxiliary Battery                                20033                   —                —
   Mercedes-Benz C32 AMG
   2004-03 V6/3.2L                                                          76050                   —                —
   2002    V6/3.2L                                                          74 Ah50                 —                —
   2002    V6/3.2L                                                          85050                   —                —
   Mercedes-Benz C320
   2005-04     V6/3.2L                                                      76050                   —                —
   2003        V6/3.2L                                                      85033, 50               H8 (49) AGM      —
   2002        V6/3.2L                                                      74 Ah50                 —                —
   2002-01     V6/3.2L                                                      76050                   —                —
   2001        V6/3.2L     w/o AGM                                          100 Ah47, 50, 54        —                —
   Mercedes-Benz C350
   2016        V6/3.5L                                                      70050, 54               H7 (94R)         H7 (94R) AGM
   2016-08     V6/3.5L     Auxiliary Battery                                20033, 50               —                —
   2015        V6/3.5L                                                      84 Ah50, 54             —                —
   2014-08     V6/3.5L                                                      84 Ah50                 —                —
   2007-06     V6/3.5L                                                      76050                   —                —
   Mercedes-Benz C350e
   2018        L4/2.0L     Hybrid                                           80033, 50, 56           H7 (94R) AGM     —
   2018        L4/2.0L     Hybrid, Opt                                      80033, 50, 56           H7 (94R) AGM     —
   2018-16     L4/2.0L     Hybrid, Opt, Li-ion                              78 Ah45, 50, 56, 60     —                —
   2017-16     L4/2.0L     Hybrid                                           85033, 50, 54           H8 (49) AGM      —
   Mercedes-Benz C36 AMG
   1997-95 L6/3.6L                                                          76050                   —                —
   Mercedes-Benz C400
   2015        V6/3.0L                                                      76033, 50, 54           H6 (48) AGM      —
   2015        V6/3.0L     Opt, Li-ion                                      78 Ah45, 57, 60         —                —
   Mercedes-Benz C43 AMG
   2021-17 V6/3.0L                                                          70 Ah33, 50, 56         H6 (48) AGM      —
   2021-17 V6/3.0L         Opt                                              80 Ah33, 50, 56         —                —
   2021-17 V6/3.0L         Optl, Li-ion Only                                78 Ah45, 56, 59         —                —
   Mercedes-Benz C450 AMG
   2016        V6/3.0L                                                      76033, 54               H6 (48) AGM      —
   2016        V6/3.0L     Opt, Li-ion                                      78 Ah45, 50, 56, 60     —                —
   Mercedes-Benz C55 AMG
   2006-05 V8/5.5L                                                          100 Ah47, 50, 54        —                —
   Mercedes-Benz C63 AMG
   2021-20     V8/4.0L     Opt                                              N/A33, 50, 56           H8 (49) AGM      —
   2021-17     V8/4.0L     Auxiliary                                        N/A45                   —                —
   2021-16     V8/4.0L                                                      60 Ah33, 50, 56         H5 (47) AGM      —
   2021-16     V8/4.0L     Opt                                              80 Ah33, 50, 56         —                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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108                                                                       Automotive/Light Truck
  YEAR      ENGINE                                              OPTIONS                     ORIGINAL EQUIPMENT      GROUP SIZE        ALTERNATE SIZE
                                                                                                CCA/RATING           (NOTES)             (NOTES)

Mercedes-Benz C63 AMG (continued)
2021-16   V8/4.0L    Optl, Li-ion Only                                                   78 Ah45, 50, 56, 60     —                —
2020-19   V8/4.0L    Opt                                                                 85033, 50, 56           H8 (49) AGM      —
2019-17   V8/4.0L    Opt                                                                 92 Ah33, 50, 56         H8 (49) AGM      —
2015-08   V8/4.0L    Opt                                                                 80033, 50, 56           —                —
2015-08   V8/6.3L                                                                        85033, 50, 54           H8 (49) AGM      —
2015-08   V8/6.3L    Auxiliary Battery                                                   20033                   —                —
Mercedes-Benz C63 AMG S
2021-20   V8/4.0L                                                                        N/A33, 50, 56           H5 (47) AGM      —
2021-20   V8/4.0L    Opt                                                                 N/A33, 50, 56           H6 (48) AGM      —
2021-20   V8/4.0L    Opt                                                                 N/A33, 50, 56           H8 (49) AGM      —
2021-20   V8/4.0L    Optl, Li-ion Only                                                   N/A45, 50, 56, 60       —                —
2021-20   V8/4.0L    Auxiliary                                                           N/A45                   —                —
2019-15   V8/4.0L                                                                        68033, 50, 56           —                —
2019-15   V8/4.0L    Opt                                                                 80033, 50, 56           —                —
2019-18   V8/4.0L    Opt                                                                 85033, 50, 56           H8 (49) AGM      —
2019-15   V8/4.0L    Opt, Li-ion                                                         78 Ah45, 50, 56, 60     —                —
2018      V8/4.0L                                                                        60 Ah33, 50, 56         H5 (47) AGM      —
2018      V8/4.0L    Opt                                                                 80033, 50, 56           —                —
2017-15   V8/4.0L                                                                        95 Ah33, 50             H8 (49) AGM      —
2017-15   V8/4.0L                                                                        92 Ah33, 50             H8 (49) AGM      —
Mercedes-Benz CL500
2006-02 V8/5.0L                                                                          95 Ah33, 50             H8 (49) AGM      —
2001-98 V8/5.0L      w/o AGM                                                             76050                   —                —
Mercedes-Benz CL55 AMG
2006-02 V8/5.5L                                                                          95 Ah33                 H8 (49) AGM      —
2005-02 V8/5.5L                                                                          95 Ah33, 50             H8 (49) AGM      —
2001    V8/5.5L                                                                          76050                   —                —
Mercedes-Benz CL550
2014-12   V8/4.6L    Secondary Battery, 4-Matic                                          1.2 Ah                  —                —
2014-11   V8/4.6L    Auxiliary Battery                                                   20033, 54               —                —
2014-11   V8/4.6L    On-Board Electrical System Battery                                  85033, 50, 54           H8 (49) AGM      —
2014-11   V8/4.6L    Primary, 4-Matic                                                    95 Ah33, 50, 54         H8 (49) AGM      —
2011      V8/4.6L    Secondary Battery, 4-Matic                                          35 Ah                   —                —
2010-09   V8/5.5L    4-Matic                                                             95 Ah33, 47, 50         H8 (49) AGM      —
2010-07   V8/5.5L    On-Board Electrical System Battery                                  85033, 50, 54           H8 (49) AGM      —
2010-07   V8/5.5L    On-Board Electrical System Battery, Opt                             76033, 50, 54           H6 (48) AGM      —
2008-07   V8/5.5L    Primary Battery                                                     95 Ah33, 47, 50, 54     H8 (49) AGM      —
2008-07   V8/5.5L    Secondary Battery                                                   35 Ah50                 —                —
Mercedes-Benz CL600
2014-08   V12/5.5L   Primary Battery                                                     95 Ah33, 47, 50, 54     H8 (49) AGM      —
2014-07   V12/5.5L   On-Board Electrical System Battery                                  85033, 50, 54           H8 (49) AGM      —
2010      V12/5.5L   Secondary Battery                                                   35 Ah50                 —                —
2007      V12/5.5L   Starting Motor Battery                                              52045, 54               —                —
2006-03   V12/5.5L                                                                       95 Ah33, 50             H8 (49) AGM      —
2002-01   V12/5.8L                                                                       76050                   —                —
1999-98   V12/6.0L                                                                       76050, 54               —                —
Mercedes-Benz CL63 AMG
2014-11   V8/5.5L    Auxiliary Battery                                                   20033, 54               —                —
2014-11   V8/5.5L    Primary Battery                                                     85033, 50, 54           H8 (49) AGM      —
2010-08   V8/6.3L                                                                        85033, 50, 54           H8 (49) AGM      —
2010-08   V8/6.3L    Primary Battery                                                     95 Ah33, 47, 50         H8 (49) AGM      —
2010-08   V8/6.3L    Secondary Battery                                                   60 Ah33                 H5 (47) AGM      —
Mercedes-Benz CL65 AMG
2014-08   V12/6.0L   On-Board Electrical System Battery                                  85033, 50, 54           H8 (49) AGM      —
2014-08   V12/6.0L   Primary Battery                                                     95 Ah33, 47, 50         H8 (49) AGM      —
2011-08   V12/6.0L   Secondary Battery                                                   35 Ah50                 —                —
2006-05   V12/6.0L                                                                       95 Ah33, 50             H8 (49) AGM      —
Mercedes-Benz CLA250
2020-19   L4/2.0L    Opt                                                                 80033, 50, 55           —                —
2020-19   L4/2.0L    Auxiliary Battery                                                   80033                   —                —
2020-18   L4/2.0L                                                                        76033, 50, 55           H6 (48) AGM      —
2020-18   L4/2.0L    Auxiliary Battery                                                   20033                   —                —
2020-18   L4/2.0L    Opt                                                                 80033, 50, 56           —                —
2020-14   L4/2.0L    Opt                                                                 80033, 50, 54           H7 (94R) AGM     —
2017      L4/2.0L                                                                        76033, 50, 54           H6 (48) AGM      —
2017-14   L4/2.0L    Auxiliary Battery                                                   20033, 54               —                —
2016-14   L4/2.0L                                                                        76033, 54               H6 (48) AGM      —
Mercedes-Benz CLA45 AMG
2019      L4/2.0L                                                                        76033, 50, 56           H6 (48) AGM      —
2019      L4/2.0L    Opt                                                                 80033, 50, 55           —                —
                                                                                        See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                           109
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING            (NOTES)            (NOTES)

   Mercedes-Benz CLA45 AMG (continued)
   2019        L4/2.0L     Auxiliary Battery                                20033                  —                —
   2019        L4/2.0L     Battery Backup                                   1.2 Ah45               —                —
   2019        L4/2.0L     Opt                                              80 Ah33, 50, 56        H7 (94R) AGM     —
   2018        L4/2.0L                                                      76033, 50, 56          H6 (48) AGM      —
   2018        L4/2.0L     Auxiliary Battery                                20033                  —                —
   2018        L4/2.0L     Opt                                              80033, 50, 56          —                —
   2017        L4/2.0L                                                      76033, 50, 54          H6 (48) AGM      —
   2017-16     L4/2.0L     Opt                                              80033, 50, 54          H7 (94R) AGM     —
   2017-14     L4/2.0L     Auxiliary Battery                                20033, 54              —                —
   2016-14     L4/2.0L                                                      76033, 54              H6 (48) AGM      —
   2015-14     L4/2.0L     Opt                                              N/A33, 50, 54          —                —
   Mercedes-Benz CLK320
   2005-98 V6/3.2L                                                          76050                  —                —
   Mercedes-Benz CLK350
   2009    V6/3.5L         Cabrio, w/o AGM                                  100 Ah47, 50           —                —
   2009-06 V6/3.5L                                                          76050                  —                —
   2008-06 V6/3.5L         w/o AGM                                          100 Ah47, 50           —                —
   Mercedes-Benz CLK430
   2003-99 V8/4.3L                                                          76050                  —                —
   Mercedes-Benz CLK500
   2006-03 V8/5.0L                                                          100 Ah47, 50           —                —
   Mercedes-Benz CLK55 AMG
   2006-01 V8/5.5L                                                          76050                  —                —
   Mercedes-Benz CLK550
   2009    V8/5.5L         Cabrio                                           100 Ah47, 50           —                —
   2009-07 V8/5.5L                                                          76050                  —                —
   2008    V8/5.5L                                                          100 Ah47, 50           —                —
   Mercedes-Benz CLK63 AMG
   2009-08     V8/6.3L                                                      76050                  —                —
   2009-08     V8/6.3L     Cabrio                                           100 Ah47, 50           —                —
   2008        V8/6.3L     Black                                            70 Ah33, 50            H6 (48) AGM      —
   2008        V8/6.3L     Opt                                              76033                  H6 (48) AGM      —
   2007        V8/6.3L                                                      100 Ah47, 50           —                —
   Mercedes-Benz CLS400
   2017-15     V6/3.0L                                                      76033, 50, 54          H6 (48) AGM      —
   2017-15     V6/3.0L     Auxiliary Battery                                20033, 54              —                —
   2017-15     V6/3.0L     Opt                                              85033, 50, 54          H8 (49) AGM      —
   2017-15     V6/3.0L     Opt                                              80033, 50, 54          H7 (94R) AGM     —
   Mercedes-Benz CLS500
   2006        V8/5.0L                                                      76050, 54              —                —
   2006        V8/5.0L                                                      85033                  H8 (49) AGM      —
   2006        V8/5.0L     Auxiliary Battery                                20033, 50              —                —
   Mercedes-Benz CLS55 AMG
   2006        V8/5.5L                                                      76050, 54              —                —
   2006        V8/5.5L                                                      85033, 50              H8 (49) AGM      —
   2006        V8/5.5L     Auxiliary Battery                                20033, 50              —                —
   Mercedes-Benz CLS550
   2018        V8/4.6L                                                      80033, 50, 56          —                —
   2018        V8/4.6L     Auxiliary Battery                                20033                  —                —
   2018        V8/4.6L     Opt                                              80033, 50, 56          H7 (94R) AGM     —
   2017-12     V8/4.6L                                                      80033, 50, 54          H7 (94R) AGM     —
   2017-12     V8/4.6L     Auxiliary Battery                                20033, 54              —                —
   2017-12     V8/4.6L     Opt                                              85033, 50, 54          H8 (49) AGM      —
   2011-07     V8/5.5L                                                      95 Ah33, 47, 50        H8 (49) AGM      —
   2011-07     V8/5.5L     Auxiliary Battery                                20033                  —                —
   Mercedes-Benz CLS63 AMG
   2014-12     V8/5.5L                                                      80 Ah33, 47, 50        H7 (94R) AGM     —
   2014-12     V8/5.5L     Auxiliary Battery                                20033, 54              —                —
   2014-12     V8/5.5L     Opt                                              85033, 50, 54          H8 (49) AGM      —
   2011-07     V8/6.3L                                                      95 Ah33, 47, 50        H8 (49) AGM      —
   2011-07     V8/6.3L     Auxiliary Battery                                20033, 50              —                —
   Mercedes-Benz CLS63 AMG S
   2018        V8/5.5L                                                      80033, 50, 56          —                —
   2018        V8/5.5L     4-Matic                                          80033, 50, 56          H7 (94R) AGM     —
   2018        V8/5.5L     Opt                                              80033, 50, 56          H7 (94R) AGM     —
   2018-14     V8/5.5L     Auxiliary Battery                                20033                  —                —
   2017-15     V8/5.5L     Opt                                              85033, 50, 54          H8 (49) AGM      —
   2017-14     V8/5.5L                                                      80033, 50, 54          H7 (94R) AGM     —
   2014        V8/5.5L                                                      85033, 50, 54          H8 (49) AGM      —
   See page 157 for Footnotes. Selection may vary by warehouse.

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110                                                      Automotive/Light Truck
  YEAR      ENGINE                             OPTIONS                    ORIGINAL EQUIPMENT       GROUP SIZE        ALTERNATE SIZE
                                                                              CCA/RATING            (NOTES)             (NOTES)

Mercedes-Benz E250
2016-14 L4/2.1L      Auxiliary, Dsl                                     20033, 54              —                 —
2016-14 L4/2.1L      Dsl                                                76033, 54              H6 (48) AGM       —
2016-14 L4/2.1L      Dsl, Opt                                           85033, 54              H8 (49) AGM       —
Mercedes-Benz E280
2007      V6/3.0L                                                       76050, 54              —                 —
2007      V6/3.0L    Auxiliary Battery                                  20033, 50              —                 —
Mercedes-Benz E300
2019      L4/2.0L    Opt                                                80033, 50, 55          —                 —
2019-17   L4/2.0L                                                       76033, 50, 56          H6 (48) AGM       —
2019-17   L4/2.0L    Opt                                                68033, 50, 56          —                 —
2019-17   L4/2.0L    Opt                                                85033, 50, 56          H8 (49) AGM       —
2018-17   L4/2.0L    Opt                                                80 Ah33, 50, 56        H7 (94R) AGM      —
2018-17   L4/2.0L    Opt, Li-ion                                        78 Ah45, 56, 60        —                 —
2018-17   L4/2.0L    Opt, Li-ion                                        80 Ah45, 56, 60        —                 —
2016-15   V6/3.5L                                                       76033, 54              H6 (48) AGM       —
2016-15   V6/3.5L    Opt                                                85033, 54              H8 (49) AGM       —
2016-12   V6/3.5L    Auxiliary Battery                                  20033, 54              —                 —
2013-12   V6/3.5L                                                       76050, 54              —                 —
2009-08   V6/3.0L                                                       76050, 54              —                 —
2009-08   V6/3.0L    Auxiliary Battery                                  20033                  —                 —
1999-95   L6/3.0L    Dsl                                                100 Ah47, 50           —                 —
Mercedes-Benz E320
2009-08   V6/3.0L    BlueTEC w/AGM                                      85033, 47, 50          H8 (49) AGM       —
2009-08   V6/3.0L    Dsl                                                85033, 50, 54          H8 (49) AGM       —
2009-07   V6/3.0L    Auxiliary, Dsl                                     20033, 50              —                 —
2007      V6/3.0L    Dsl                                                85033, 50              H8 (49) AGM       —
2006      L6/3.2L    Dsl                                                85033, 50              H8 (49) AGM       —
2006-05   L6/3.2L    Auxiliary, Dsl                                     20033, 50              —                 —
2005-03   V6/3.2L    Auxiliary Battery                                  20033, 50              —                 —
2005-03   V6/3.2L                                                       95 Ah33, 47, 50        H8 (49) AGM       —
2004      V6/3.2L    E320S                                              100 Ah47, 50           —                 —
2002-98   V6/3.2L                                                       100 Ah47, 50           —                 —
1997-96   L6/3.2L                                                       690                    H6 (48)           H6 (48) AGM
1997-96   L6/3.2L                                                       100 Ah47, 50           —                 —
1995      L6/3.2L                                                       66050                  H6 (48)           H6 (48) AGM
1995-94   L6/3.2L    E320C-A                                            100 Ah47, 50           —                 —
1994      L6/3.2L    Ex Cabriolet                                       66050                  H6 (48)           H6 (48) AGM
Mercedes-Benz E350
2016-10   V6/3.5L                                                       76033, 50, 54          H6 (48) AGM       —
2016-10   V6/3.5L    Auxiliary Battery                                  20033, 54              —                 —
2016-06   V6/3.5L    Opt                                                85033, 50, 54          H8 (49) AGM       —
2015      V6/3.5L                                                       80 Ah33, 50, 54        H7 (94R) AGM      —
2014-12   V6/3.5L                                                       80 Ah33, 50, 56        H7 (94R) AGM      —
2014-10   V6/3.5L    Opt                                                70 Ah33, 50, 56        H6 (48) AGM       —
2013-11   V6/3.0L    Auxiliary, Dsl                                     20033, 54              —                 —
2013-11   V6/3.0L    Dsl                                                76033, 50, 54          H6 (48) AGM       —
2013-11   V6/3.0L    Dsl, Opt                                           85033, 50, 54          H8 (49) AGM       —
2009-06   V6/3.5L                                                       68050, 54              —                 —
2009-06   V6/3.5L                                                       95 Ah33, 47, 50        H8 (49) AGM       —
2009-06   V6/3.5L    Auxiliary Battery                                  20033, 50              —                 —
2009-06   V6/3.5L    Opt                                                76033, 50, 54          H6 (48) AGM       —
2009-06   V6/3.5L    Opt                                                76050, 54              —                 —
Mercedes-Benz E400
2018      V6/3.0L    Opt                                                60 Ah33, 50, 56        H5 (47) AGM       —
2018      V6/3.0L    Opt                                                80033, 50, 56          —                 —
2018      V6/3.0L    Opt, Li-ion                                        78 Ah45, 56, 60        —                 —
2018      V6/3.0L    Opt, Li-ion                                        80 Ah45, 56, 60        —                 —
2018-15   V6/3.0L                                                       76033, 50, 54          H6 (48) AGM       —
2018-15   V6/3.0L    Opt                                                85033, 50, 54          H8 (49) AGM       —
2017-15   V6/3.0L    Auxiliary Battery                                  20033, 54              —                 —
2015-13   V6/3.5L    Hybrid                                             85033, 50, 54          H8 (49) AGM       —
2015-13   V6/3.5L    Hybrid, Auxiliary                                  20033, 54              —                 —
Mercedes-Benz E420
1997    V8/4.2L                                                         690                    H6 (48)           H6 (48) AGM
1997    V8/4.2L                                                         100 Ah47, 50           —                 —
1995-94 V8/4.2L                                                         100 Ah47, 50           —                 —
Mercedes-Benz E43 AMG
2018      V6/3.0L    Opt                                                80033, 50, 56          —                 —
2018-17   V6/3.0L    Opt, Li-ion                                        78 Ah45, 56, 60        —                 —
2018-17   V6/3.0L    Opt, Li-ion                                        80 Ah45, 56, 60        —                 —
2018-17   V6/3.0L                                                       76033, 50, 56          H6 (48) AGM       —
                                                                       See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                           111
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING            (NOTES)            (NOTES)

   Mercedes-Benz E43 AMG (continued)
   2018-17 V6/3.0L         Opt                                              60 Ah33, 50, 56        H5 (47) AGM      —
   2018-17 V6/3.0L         Opt                                              85033, 50, 56          H8 (49) AGM      —
   2017    V6/3.0L         Opt                                              80033, 50, 54          H7 (94R) AGM     —
   Mercedes-Benz E430
   2002-98 V8/4.3L                                                          100 Ah47, 50           —                —
   Mercedes-Benz E500
   2006-03 V8/5.0L                                                          95 Ah33, 47, 50        H8 (49) AGM      —
   2006-03 V8/5.0L         Auxiliary Battery                                20033, 50              —                —
   1994    V8/5.0L                                                          100 Ah47, 50           —                —
   Mercedes-Benz E55 AMG
   2006-04     V8/5.5L                                                      95 Ah33, 47, 50        H8 (49) AGM      —
   2006-03     V8/5.5L     Auxiliary Battery                                20033, 50              —                —
   2003        V8/5.5L                                                      85050                  —                —
   2002-99     V8/5.5L                                                      76050                  —                —
   Mercedes-Benz E550
   2017        V8/4.6L                                                      70050, 54              H7 (94R)         H7 (94R) AGM
   2017        V8/4.6L     Auxiliary Battery                                20033, 50              —                —
   2016-12     V8/4.6L                                                      80 Ah33, 50            H7 (94R) AGM     —
   2016-12     V8/4.6L     Auxiliary Battery                                20033, 54              —                —
   2011-10     V8/5.5L                                                      85050, 54              —                —
   2011-10     V8/5.5L                                                      80 Ah33, 50            H7 (94R) AGM     —
   2011-10     V8/5.5L     Auxiliary Battery                                20033, 54              —                —
   2009-07     V8/5.5L                                                      95 Ah33, 47, 50        H8 (49) AGM      —
   2009-07     V8/5.5L     Auxiliary Battery                                20033, 50              —                —
   2009-07     V8/5.5L     Opt                                              85033, 50, 54          H8 (49) AGM      —
   Mercedes-Benz E63 AMG
   2015        V8/5.5L                                                      80 Ah33, 50, 54        H7 (94R) AGM     —
   2015-12     V8/5.5L                                                      76033, 50, 54          H6 (48) AGM      —
   2015-12     V8/5.5L     Auxiliary Battery                                20033, 54              —                —
   2014-12     V8/5.5L                                                      95 Ah33, 50, 54        H8 (49) AGM      —
   2014-12     V8/5.5L     Opt                                              80 Ah33, 50, 54        H7 (94R) AGM     —
   2011-10     V8/6.3L                                                      76033, 50, 54          H6 (48) AGM      —
   2011-10     V8/6.3L                                                      80 Ah33, 50, 54        H7 (94R) AGM     —
   2011-10     V8/6.3L     Auxiliary Battery                                20033, 54              —                —
   2009-07     V8/6.3L                                                      95 Ah33, 47, 50        H8 (49) AGM      —
   2009-07     V8/6.3L     Auxiliary Battery                                20033, 50              —                —
   Mercedes-Benz E63 AMG S
   2016-15 V8/5.5L                                                          76033, 50, 54          H6 (48) AGM      —
   2016-14 V8/5.5L         Auxiliary Battery                                20033, 54              —                —
   Mercedes-Benz G500
   2008        V8/5.0L     AGM                                              95 Ah33, 47, 50        H8 (49) AGM      —
   2008-07     V8/5.0L                                                      85050                  —                —
   2008-02     V8/5.0L     Auxiliary Battery                                20033, 54              —                —
   2007-02     V8/5.0L     AGM                                              90 Ah33, 47, 50        H8 (49) AGM      —
   2006-02     V8/5.0L                                                      76050                  —                —
   Mercedes-Benz G55 AMG
   2011-07     V8/5.5L                                                      85050, 54              —                —
   2011-03     V8/5.5L     Auxiliary Battery                                20033, 54              —                —
   2006-03     V8/5.5L                                                      82550                  —                —
   2003        V8/5.5L     Opt                                              85033, 50              H8 (49) AGM      —
   Mercedes-Benz G550
   2018-16     V8/4.0L                                                      85033, 50, 54          H8 (49) AGM      —
   2018-16     V8/4.0L                                                      N/A                    —                —
   2015-09     V8/5.5L     Auxiliary Battery                                85033, 50, 54          H8 (49) AGM      —
   2015-09     V8/5.5L     Auxiliary Battery                                20033, 54              —                —
   Mercedes-Benz G63 AMG
   2018-13 V8/5.5L                                                          85033, 50, 54          H8 (49) AGM      —
   2018-13 V8/5.5L         Auxiliary Battery                                20033                  —                —
   2014-13 V8/5.5L                                                          80 Ah33, 50            H7 (94R) AGM     —
   Mercedes-Benz G65 AMG
   2018-16 V12/6.0L                                                         85033, 50, 54          H8 (49) AGM      —
   Mercedes-Benz GL320
   2009-07 V6/3.0L         Dsl                                              85050, 54              —                —
   Mercedes-Benz GL350
   2016-13 V6/3.0L         Auxiliary, Dsl                                   20033, 54              —                —
   2016-10 V6/3.0L         Dsl                                              85033, 50, 54          H8 (49) AGM      —
   2014-10 V6/3.0L         Dsl, w/AGM                                       85033, 47, 50          H8 (49) AGM      —
   See page 157 for Footnotes. Selection may vary by warehouse.

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112                                                      Automotive/Light Truck
  YEAR      ENGINE                             OPTIONS                    ORIGINAL EQUIPMENT       GROUP SIZE        ALTERNATE SIZE
                                                                              CCA/RATING            (NOTES)             (NOTES)

Mercedes-Benz GL450
2016-15   V6/3.0L                                                       85033, 50, 54          H8 (49) AGM       —
2016-15   V6/3.0L    Auxiliary Battery                                  20033, 54              —                 —
2014-13   V8/4.6L    Auxiliary Battery                                  20033, 54              —                 —
2014-07   V8/4.6L                                                       85033, 50, 54          H8 (49) AGM       —
Mercedes-Benz GL550
2016-13 V8/4.6L                                                         85033, 50, 54          H8 (49) AGM       —
2016-13 V8/4.6L      Auxiliary Battery                                  20033, 54              —                 —
2012-08 V8/5.5L                                                         85033, 50, 54          H8 (49) AGM       —
Mercedes-Benz GL63 AMG
2016-13 V8/5.5L                                                         85033, 50, 54          H8 (49) AGM       —
2016-13 V8/5.5L      Auxiliary Battery                                  20033, 54              —                 —
Mercedes-Benz GLA250
2020-15 L4/2.0L                                                         76033, 54              H6 (48) AGM       —
2020-15 L4/2.0L      Auxiliary Battery                                  12 Ah33                —                 —
Mercedes-Benz GLA45 AMG
2020-15 L4/2.0L                                                         76033, 54              H6 (48) AGM       —
2020-15 L4/2.0L      Auxiliary Battery                                  12 Ah33                —                 —
Mercedes-Benz GLC300
2018-16 L4/2.0L                                                         68033, 54              —                 —
2018-16 L4/2.0L      Opt                                                76033, 54              H6 (48) AGM       —
2018-16 L4/2.0L      Opt, Li-ion                                        78 Ah45, 57, 60        —                 —
Mercedes-Benz GLC43 AMG
2018-17 V6/3.0L                                                         76033, 54              H6 (48) AGM       —
2018-17 V6/3.0L      Opt, Li-ion                                        78 Ah45, 57, 60        —                 —
Mercedes-Benz GLE300d
2016      L4/2.1L    Auxiliary, Dsl                                     20033, 54              —                 —
2016      L4/2.1L    Dsl                                                85033, 50, 54          H8 (49) AGM       —
Mercedes-Benz GLE350
2018-16 V6/3.5L                                                         85033, 50, 54          H8 (49) AGM       —
2018-16 V6/3.5L      Auxiliary Battery                                  20033                  —                 —
Mercedes-Benz GLE350d
2016      V6/3.0L    Auxiliary, Dsl                                     20033, 54              —                 —
2016      V6/3.0L    Dsl                                                85033, 50, 54          H8 (49) AGM       —
Mercedes-Benz GLE400
2019-18   V6/3.0L                                                       85033, 50, 54          H8 (49) AGM       —
2019-18   V6/3.0L    Auxiliary Battery                                  20033, 50              —                 —
2017-16   V6/3.0L                                                       85033, 50, 54          H8 (49) AGM       —
2017-16   V6/3.0L    Auxiliary Battery                                  20033, 54              —                 —
Mercedes-Benz GLE43 AMG
2019-17 V6/3.0L                                                         85033, 50, 54          H8 (49) AGM       —
2019-17 V6/3.0L      Auxiliary Battery                                  12 Ah33                —                 —
Mercedes-Benz GLE450 AMG
2016      V6/3.0L                                                       85033, 50, 54          H8 (49) AGM       —
2016      V6/3.0L    Auxiliary Battery                                  20033, 54              —                 —
Mercedes-Benz GLE550
2017-16 V8/4.6L                                                         85033, 50, 54          H8 (49) AGM       —
2017-16 V8/4.6L      Auxiliary Battery                                  20033, 54              —                 —
Mercedes-Benz GLE550e
2018    V6/3.0L      Hybrid, Auxiliary                                  20033                  —                 —
2018-16 V6/3.0L      Hybrid                                             85033, 50, 54          H8 (49) AGM       —
2017-16 V6/3.0L      Hybrid, Auxiliary                                  20033, 54              —                 —
Mercedes-Benz GLE63 AMG
2019-16 V8/5.5L                                                         85033, 50, 54          H8 (49) AGM       —
2019-16 V8/5.5L      Auxiliary Battery                                  20033                  —                 —
Mercedes-Benz GLE63 AMG S
2019-16 V8/5.5L                                                         85033, 50, 54          H8 (49) AGM       —
2019-16 V8/5.5L      Auxiliary Battery                                  20033                  —                 —
Mercedes-Benz GLK250
2015-13 L4/2.1L      Auxiliary, Dsl                                     20033, 54              —                 —
2015-13 L4/2.1L      Auxiliary, Dsl                                     1.2 Ah45               —                 —
2015-13 L4/2.1L      Dsl                                                80033, 50, 54          H7 (94R) AGM      —
Mercedes-Benz GLK350
2015      V6/3.5L                                                       80 Ah33, 50, 54        H7 (94R) AGM      —
2015-13   V6/3.5L                                                       76033, 50, 54          H6 (48) AGM       —
2015-10   V6/3.5L    Auxiliary Battery                                  20033, 54              —                 —
2012-10   V6/3.5L                                                       68050, 54              —                 —
2012-10   V6/3.5L    AGM                                                80 Ah33, 50            H7 (94R) AGM      —
                                                                       See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                           113
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING            (NOTES)            (NOTES)

   Mercedes-Benz GLK350 (continued)
   2012-10     V6/3.5L     Auxiliary Battery                                1.2 Ah45               —                —
   2012-10     V6/3.5L     Opt                                              76033, 50, 54          H6 (48) AGM      —
   2012-10     V6/3.5L     Opt                                              80033, 50, 54          H8 (49) AGM      —
   2012-10     V6/3.5L     Opt                                              70050, 54              H7 (94R)         H7 (94R) AGM
   2012-10     V6/3.5L     Opt                                              80033, 50, 54          H7 (94R) AGM     —
   Mercedes-Benz GLS450
   2019-17 V6/3.0L                                                          85033, 50, 54          H8 (49) AGM      —
   2019-17 V6/3.0L         Auxiliary Battery                                20033                  —                —
   Mercedes-Benz GLS550
   2018-17 V8/4.6L                                                          85033, 50, 54          H8 (49) AGM      —
   2017    V8/4.6L         Auxiliary Battery                                20033, 54              —                —
   Mercedes-Benz GLS63 AMG
   2019-17 V8/5.5L                                                          85033, 50, 54          H8 (49) AGM      —
   2019-17 V8/5.5L         Auxiliary Battery                                20033, 54              —                —
   Mercedes-Benz Maybach S550
   2017        V8/4.6L                                                      76033, 50, 54          H6 (48) AGM      —
   2017        V8/4.6L     Auxiliary Battery                                20033, 54              —                —
   2017        V8/4.6L     Opt                                              85033, 50, 54          H8 (49) AGM      —
   2017        V8/4.6L     Opt                                              80033, 50, 54          —                —
   Mercedes-Benz Maybach S560
   2020-19 V8/4.0L         Auxiliary Battery                                20033                  —                —
   Mercedes-Benz Maybach S600
   2017-16 V12/6.0L                                                         76033, 54              H6 (48) AGM      —
   2017-16 V12/6.0L        Auxiliary Battery                                20033, 54              —                —
   2017-16 V12/6.0L        Opt                                              85033, 54              H8 (49) AGM      —
   Mercedes-Benz Maybach S650
   2020-19 V12/6.0L        Auxiliary Battery                                20033                  —                —
   Mercedes-Benz Metris
   2020-18     L4/2.0L     Opt                                              85033, 45, 54          H8 (49) AGM      —
   2020-18     L4/2.0L     Opt                                              76033, 45, 54          H6 (48) AGM      —
   2020-16     L4/2.0L                                                      68050, 54              —                —
   2020-16     L4/2.0L     Opt                                              76050, 54              —                —
   2020-16     L4/2.0L     Auxiliary Battery                                20033, 50              —                —
   2017-16     L4/2.0L     Opt                                              76033, 50, 54          H6 (48) AGM      —
   2017-16     L4/2.0L     Opt                                              85033, 50, 54          H8 (49) AGM      —
   Mercedes-Benz ML250
   2015        L4/2.1L     Auxiliary, Dsl                                   20033, 54              —                —
   2015        L4/2.1L     Dsl                                              85033, 50, 54          H8 (49) AGM      —
   Mercedes-Benz ML320
   2009-07     V6/3.0L     AGM, CDI/BlueTEC                                 95 Ah33, 47, 50        H8 (49) AGM      —
   2009-07     V6/3.0L     Dsl                                              76050                  —                —
   2003-98     V6/3.2L                                                      760                    —                —
   2003-98     V6/3.2L     AGM, Opt                                         82533, 50, 54          H8 (49) AGM      —
   Mercedes-Benz ML350
   2015-12     V6/3.0L     Auxiliary, Dsl                                   20033, 54              —                —
   2015-12     V6/3.5L     Auxiliary Battery                                20033, 54              —                —
   2015-10     V6/3.0L     Dsl                                              85033, 50, 54          H8 (49) AGM      —
   2015-08     V6/3.5L                                                      85033, 50, 54          H8 (49) AGM      —
   2014-06     V6/3.5L     AGM                                              95 Ah33, 47, 50        H8 (49) AGM      —
   2012-10     V6/3.0L     Dsl, w/AGM                                       95 Ah33, 47, 50        H8 (49) AGM      —
   2007-06     V6/3.5L                                                      95033, 50, 54          —                —
   2007-06     V6/3.5L     AGM, 163/164                                     90 Ah33, 47, 50        H8 (49) AGM      —
   2005-04     V6/3.7L                                                      76050                  —                —
   2005-04     V6/3.7L                                                      76050, 54              —                —
   2003        V6/3.7L                                                      825                    —                —
   Mercedes-Benz ML400
   2015        V6/3.0L                                                      85033, 50, 54          H8 (49) AGM      —
   2015        V6/3.0L     Auxiliary Battery                                20033, 54              —                —
   Mercedes-Benz ML430
   2001-99 V8/4.3L                                                          825                    —                —
   Mercedes-Benz ML450
   2011-10 V6/3.5L         AGM                                              95 Ah33, 47, 50        H8 (49) AGM      —
   2011-10 V6/3.5L         Hybrid                                           76050, 54              —                —
   Mercedes-Benz ML500
   2007        V8/5.0L                                                      95033, 50, 54          —                —
   2007-06     V8/5.0L     AGM                                              95 Ah33, 47, 50        H8 (49) AGM      —
   2006        V8/5.0L                                                      95033, 50              —                —
   2005-02     V8/5.0L                                                      100 Ah47, 50           —                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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114                                                                       Automotive/Light Truck
  YEAR      ENGINE                                              OPTIONS                    ORIGINAL EQUIPMENT       GROUP SIZE        ALTERNATE SIZE
                                                                                               CCA/RATING            (NOTES)             (NOTES)

Mercedes-Benz ML55 AMG
2003-00 V8/5.5L                                                                          100 Ah47, 50           —                 —
Mercedes-Benz ML550
2015-12   V8/4.6L                                                                        76050, 54              —                 —
2015-12   V8/4.6L    Auxiliary Battery                                                   20033, 54              —                 —
2014-12   V8/4.6L    AGM                                                                 95 Ah33, 47, 50        H8 (49) AGM       —
2011-08   V8/5.5L                                                                        76050, 54              —                 —
2011-08   V8/5.5L    AGM                                                                 95 Ah33, 47, 50        H8 (49) AGM       —
Mercedes-Benz ML63 AMG
2015-12   V8/5.5L                                                                        85033                  H8 (49) AGM       —
2015-12   V8/5.5L    Auxiliary Battery                                                   20033, 54              —                 —
2014-12   V8/5.5L    AGM                                                                 95 Ah33, 47, 50        H8 (49) AGM       —
2011-07   V8/6.3L                                                                        85033                  H8 (49) AGM       —
2011-07   V8/6.3L    AGM                                                                 95 Ah33, 47, 50        H8 (49) AGM       —
Mercedes-Benz R320
2009    V6/3.0L      Dsl w/AGM, BlueTEC                                                  85033, 47, 50          H8 (49) AGM       —
2009-07 V6/3.0L      Dsl                                                                 85033, 50, 54          H8 (49) AGM       —
Mercedes-Benz R350
2013-12   V6/3.5L                                                                        76033, 50, 54          H6 (48) AGM       —
2013-12   V6/3.5L    Opt                                                                 85033, 50, 54          H8 (49) AGM       —
2013-10   V6/3.0L    Dsl                                                                 85033, 50, 54          H8 (49) AGM       —
2013-06   V6/3.5L    AGM                                                                 92 Ah33, 47, 50        H8 (49) AGM       —
2012-10   V6/3.0L    Dsl w/AGM, BlueTEC                                                  92 Ah33, 47, 50        H8 (49) AGM       —
2011-08   V6/3.5L                                                                        85033, 50, 54          H8 (49) AGM       —
2007-06   V6/3.5L                                                                        95033, 50, 54          —                 —
Mercedes-Benz R500
2007-06 V8/5.0L                                                                          95033, 50, 54          —                 —
2007-06 V8/5.0L      AGM                                                                 92 Ah33, 47, 50        H8 (49) AGM       —
Mercedes-Benz R63 AMG
2007      V8/6.3L                                                                        85033, 50, 54          H8 (49) AGM       —
2007      V8/6.3L    AGM                                                                 85033, 47, 50          H8 (49) AGM       —
Mercedes-Benz S320
1999-94 L6/3.2L                                                                          76050                  —                 —
Mercedes-Benz S350
2013-12   V6/3.0L    Auxiliary, Dsl                                                      20033, 54              —                 —
2013-12   V6/3.0L    Dsl w/AGM, BlueTEC                                                  85033, 50              H8 (49) AGM       —
2006      V6/3.7L    AGM                                                                 85033, 50              H8 (49) AGM       —
1995-94   L6/3.4L                                                                        760                    —                 —
1995-94   L6/3.4L    Dsl                                                                 76050, 54              —                 —
Mercedes-Benz S400
2013-10 V6/3.5L      Hybrid                                                              76033, 50, 54          H6 (48) AGM       —
2013-10 V6/3.5L      Hybrid, Auxiliary                                                   20033, 54              —                 —
2012-10 V6/3.5L      Hybrid                                                              80 Ah33, 50, 54        H7 (94R) AGM      —
Mercedes-Benz S420
1999-94 V8/4.2L                                                                          825                    —                 —
Mercedes-Benz S430
2006-02 V8/4.3L      AGM                                                                 85033, 50              H8 (49) AGM       —
2005-02 V8/4.3L                                                                          82533, 50              H8 (49) AGM       —
2001-00 V8/4.3L                                                                          760                    —                 —
Mercedes-Benz S450
2020-19   V6/3.0L    Auxiliary Battery                                                   20050                  —                 —
2011-08   V8/4.6L    Auxiliary Battery                                                   20033, 54              —                 —
2011-08   V8/4.6L    On-Board Electrical System Battery                                  85033, 50, 54          H8 (49) AGM       —
2011-08   V8/4.6L    Starting Motor Battery                                              52045, 54              —                 —
Mercedes-Benz S500
2006-02 V8/5.0L      AGM                                                                 85033, 50              H8 (49) AGM       —
2001-94 V8/5.0L                                                                          76033, 50, 54          H8 (49) AGM       —
2001-94 V8/5.0L                                                                          76050                  —                 —
Mercedes-Benz S55 AMG
2006      V8/5.5L                                                                        85033, 50              H8 (49) AGM       —
2005-04   V8/5.5L                                                                        82533, 50              H8 (49) AGM       —
2003      V8/5.5L                                                                        76050                  —                 —
2002-01   V8/5.5L                                                                        82533, 50              H8 (49) AGM       —
Mercedes-Benz S550
2017-15   V8/4.6L    On-Board Electrical System Battery                                  85033, 50, 54          H8 (49) AGM       —
2017-12   V8/4.6L    Auxiliary Battery                                                   20033, 54              —                 —
2016      V8/4.6L    Starting Battery                                                    52050, 54              —                 —
2015      V8/4.6L    Starting Motor Battery                                              52054                  —                 —
2015-14   V8/4.6L    Opt                                                                 105 Ah33, 50, 54       —                 —
                                                                                        See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                           115
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING            (NOTES)            (NOTES)

   Mercedes-Benz S550
   2014-12     V8/4.6L                                                      85033, 50              H8 (49) AGM      —
   2013-12     V8/4.6L     Opt                                              80 Ah33, 50, 54        H7 (94R) AGM     —
   2011-07     V8/5.5L                                                      85033, 50              H8 (49) AGM      —
   2011-07     V8/5.5L     Auxiliary Battery                                20033, 54              —                —
   2011-07     V8/5.5L     Secondary Battery                                35 Ah                  —                —
   2008-07     V8/5.5L     Opt                                              60 Ah33, 50, 54        H5 (47) AGM      —
   Mercedes-Benz S550e
   2017-15 V6/3.0L         Hybrid                                           76033, 54              H6 (48) AGM      —
   2017-15 V6/3.0L         Hybrid, Auxiliary                                20033, 54              —                —
   2017-15 V6/3.0L         Hybrid, Opt                                      85033, 54              H8 (49) AGM      —
   Mercedes-Benz S560
   2020-19 V8/4.0L         Auxiliary Battery                                20033, 50              —                —
   Mercedes-Benz S600
   2017-15     V12/6.0L                                                     76033, 54              H6 (48) AGM      —
   2017-15     V12/6.0L    Auxiliary Battery                                20033, 54              —                —
   2017-15     V12/6.0L    Opt                                              85033, 54              H8 (49) AGM      —
   2013-08     V12/5.5L    Auxiliary Battery                                95 Ah33, 47, 50        H8 (49) AGM      —
   2013-08     V12/5.5L    Primary Battery                                  35 Ah50                —                —
   2013-07     V12/5.5L    Auxiliary Battery                                20033, 54              —                —
   2013-07     V12/5.5L    On-Board Electrical System Battery               85033, 50, 54          H8 (49) AGM      —
   2007-03     V12/5.5L    AGM                                              95 Ah33, 50            H8 (49) AGM      —
   2006-03     V12/5.5L                                                     85033, 50, 54          H8 (49) AGM      —
   2002-01     V12/5.8L                                                     760                    —                —
   1999-94     V12/6.0L                                                     760                    —                —
   Mercedes-Benz S63 AMG
   2020-18     V8/4.0L     Auxiliary Battery                                20033                  —                —
   2018        V8/4.0L     Opt                                              85033, 50, 54          H8 (49) AGM      —
   2018        V8/4.0L     Opt, Li-ion                                      78 Ah45, 57, 60        —                —
   2018-14     V8/5.5L                                                      76033, 50, 54          H6 (48) AGM      —
   2017        V8/5.5L     Opt                                              85033, 50, 54          H8 (49) AGM      —
   2017-14     V8/5.5L     Opt, Li-ion                                      78 Ah45, 57, 60        —                —
   2017-11     V8/5.5L     Auxiliary Battery                                20033, 54              —                —
   2016-11     V8/5.5L                                                      85033, 50, 54          H8 (49) AGM      —
   2015-14     V8/5.5L     Opt                                              105 Ah33, 50, 54       —                —
   2014        V8/5.5L     Opt                                              85033, 50, 54          H8 (49) AGM      —
   2014-11     V8/5.5L     AGM                                              95 Ah33, 47, 50        H8 (49) AGM      —
   2013-11     V8/5.5L     Opt                                              80 Ah33, 50, 54        H7 (94R) AGM     —
   2010-09     V8/6.3L     AGM                                              95 Ah33, 47, 50        H8 (49) AGM      —
   2010-08     V8/6.3L                                                      85033, 50, 54          H8 (49) AGM      —
   2010-08     V8/6.3L     Auxiliary Battery                                20033, 54              —                —
   Mercedes-Benz S65 AMG
   2019-15     V12/6.0L                                                     76033, 54              H6 (48) AGM      —
   2019-15     V12/6.0L    Opt                                              85033, 54              H8 (49) AGM      —
   2019-07     V12/6.0L    Auxiliary Battery                                20033, 54              —                —
   2017-15     V12/6.0L    Opt, Li-ion                                      78 Ah45, 57, 60        —                —
   2013-08     V12/6.0L    AGM, Secondary Battery                           95 Ah33, 47, 50        H8 (49) AGM      —
   2013-08     V12/6.0L    Primary Battery                                  35 Ah50                —                —
   2013-07     V12/6.0L    On-Board Electrical System Battery               85033, 50, 54          H8 (49) AGM      —
   2007-06     V12/6.0L    AGM                                              95 Ah33, 47, 50        H8 (49) AGM      —
   2006        V12/6.0L                                                     85033, 50, 54          H8 (49) AGM      —
   Mercedes-Benz SL320
   1997-94 L6/3.2L                                                          760                    —                —
   Mercedes-Benz SL400
   2016-15 V6/3.0L                                                          85033, 54              H8 (49) AGM      —
   2016-15 V6/3.0L         Auxiliary Battery                                20033, 50              —                —
   Mercedes-Benz SL450
   2020-17 V6/3.0L                                                          85033, 50, 54          H8 (49) AGM      —
   2020-17 V6/3.0L         Auxiliary Battery                                20033, 50              —                —
   Mercedes-Benz SL500
   2006-03 V8/5.0L         AGM                                              70 Ah33, 47, 50        H6 (48) AGM      —
   2006-03 V8/5.0L         On-Board Electrical System Battery               76033, 50, 54          H6 (48) AGM      —
   2002-94 V8/5.0L                                                          76050                  —                —
   Mercedes-Benz SL55 AMG
   2008-03 V8/5.5L         AGM                                              70 Ah33, 47, 50        H6 (48) AGM      —
   2008-03 V8/5.5L         On-Board Electrical System Battery               76033, 50, 54          H6 (48) AGM      —
   2008-03 V8/5.5L         Secondary Battery                                35 Ah50                —                —
   Mercedes-Benz SL550
   2020-17 V8/4.6L                                                          85033, 50, 54          H8 (49) AGM      —
   2020-13 V8/4.6L         Auxiliary Battery                                20033, 50              —                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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116                                                                       Automotive/Light Truck
  YEAR      ENGINE                                              OPTIONS                    ORIGINAL EQUIPMENT       GROUP SIZE        ALTERNATE SIZE
                                                                                               CCA/RATING            (NOTES)             (NOTES)

Mercedes-Benz SL550 (continued)
2016      V8/4.6L    Auxiliary Electronics battery                                       85033, 50, 54          H8 (49) AGM       —
2015      V8/4.6L    Starting Motor Battery                                              52054                  —                 —
2015-13   V8/4.6L    On-Board Electrical System Battery                                  85033, 50, 54          H8 (49) AGM       —
2014-13   V8/4.6L    Starting Motor Battery                                              52045, 54              —                 —
2012-07   V8/5.5L    AGM, In trunk                                                       70 Ah33, 47            H6 (48) AGM       —
2012-07   V8/5.5L    AGM, Opt                                                            95 Ah33, 47            H8 (49) AGM       —
2012-07   V8/5.5L    On-Board Electrical System Battery                                  76033, 50, 54          H6 (48) AGM       —
2012-07   V8/5.5L    Secondary Battery                                                   35 Ah50                —                 —
Mercedes-Benz SL600
2011-04   V12/5.5L   AGM                                                                 70 Ah33, 47            H6 (48) AGM       —
2011-04   V12/5.5L   On-Board Electrical System Battery                                  76033, 50, 54          H6 (48) AGM       —
2009-05   V12/5.5L   Secondary Battery                                                   35 Ah                  —                 —
2002-94   V12/6.0L                                                                       760                    —                 —
Mercedes-Benz SL63 AMG
2020-19   V8/5.5L                                                                        85033, 50, 54          H8 (49) AGM       —
2020-13   V8/5.5L    Auxiliary Battery                                                   20033, 50              —                 —
2017      V8/5.5L                                                                        86033, 50, 54          H8 (49) AGM       —
2016      V8/5.5L    Starting Battery                                                    52050, 54              —                 —
2016-13   V8/5.5L                                                                        85033, 50, 54          H8 (49) AGM       —
2015      V8/5.5L    On-Board Electrical System Battery                                  76033, 50, 54          H6 (48) AGM       —
2015      V8/5.5L    Starting Motor Battery                                              52054                  —                 —
2015-13   V8/5.5L    Auxiliary Battery                                                   12 Ah33                —                 —
2015-13   V8/5.5L    On-Board Electrical System Battery, Opt                             95 Ah33, 50, 54        H8 (49) AGM       —
2012-09   V8/6.3L    On-Board Electrical System Battery                                  76033, 50, 54          H6 (48) AGM       —
2011-09   V8/6.3L    Auxiliary Battery                                                   70 Ah33, 50            H6 (48) AGM       —
2011-09   V8/6.3L    Starting Battery                                                    35 Ah50                —                 —
Mercedes-Benz SL65 AMG
2017-13   V12/6.0L                                                                       85033, 50, 54          H8 (49) AGM       —
2017-13   V12/6.0L   Auxiliary Battery                                                   20033, 50              —                 —
2016      V12/6.0L   Starting Battery                                                    52050, 54              —                 —
2015      V12/6.0L   Starting Motor Battery                                              52054                  —                 —
2015-13   V12/6.0L   Auxiliary Battery                                                   12 Ah33                —                 —
2015-13   V12/6.0L   On-Board Electrical System Battery                                  76033, 50, 54          H6 (48) AGM       —
2011-05   V12/6.0L   AGM                                                                 70 Ah33, 47            H6 (48) AGM       —
2011-05   V12/6.0L   On-Board Electrical System Battery                                  76033, 50, 54          H6 (48) AGM       —
Mercedes-Benz SLC300
2020-17 L4/2.0L      Auxiliary Battery                                                   20033, 50              —                 —
2018    L4/2.0L                                                                          80033                  —                 —
2017    L4/2.0L                                                                          76033, 54              H6 (48) AGM       —
Mercedes-Benz SLC43 AMG
2020-17 V6/3.0L      Auxiliary Battery                                                   20033, 50              —                 —
2017    V6/3.0L                                                                          76033, 54              H6 (48) AGM       —
Mercedes-Benz SLK230
2004-02 L4/2.3L                                                                          69050                  —                 —
2001-00 L4/2.3L                                                                          760                    —                 —
1999-98 L4/2.3L                                                                          690                    H6 (48)           H6 (48) AGM
Mercedes-Benz SLK250
2015      L4/1.8L    Opt                                                                 80 Ah33, 50, 54        H7 (94R) AGM      —
2015-12   L4/1.8L                                                                        76033, 50, 54          H6 (48) AGM       —
2015-12   L4/1.8L    Auxiliary Battery                                                   20033, 50              —                 —
2014-13   L4/1.8L                                                                        80 Ah33, 50, 54        H7 (94R) AGM      —
2012      L4/1.8L                                                                        80 Ah33, 50, 56        H7 (94R) AGM      —
Mercedes-Benz SLK280
2008-06 V6/3.0L                                                                          68050, 54              —                 —
2006    V6/3.0L                                                                          76033, 50              —                 —
Mercedes-Benz SLK300
2016    L4/2.0L                                                                          76033, 54              H6 (48) AGM       —
2016    L4/2.0L      Auxiliary Battery                                                   20033, 50              —                 —
2011-09 V6/3.0L                                                                          68050, 54              —                 —
Mercedes-Benz SLK32 AMG
2004-02 V6/3.2L                                                                          690                    —                 —
Mercedes-Benz SLK320
2004-01 V6/3.2L                                                                          69050, 54              —                 —
Mercedes-Benz SLK350
2016-12   V6/3.5L                                                                        76033, 50, 54          H6 (48) AGM       —
2016-12   V6/3.5L    Auxiliary Battery                                                   20033, 50              —                 —
2015      V6/3.5L                                                                        68050, 54              —                 —
2015-12   V6/3.5L    Opt                                                                 80 Ah33, 50, 54        H7 (94R) AGM      —
2011-05   V6/3.5L                                                                        48050, 54              H5 (47)           H5 (47) AGM
2011-05   V6/3.5L                                                                        68050, 54              —                 —
                                                                                        See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                            117
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Mercedes-Benz SLK55 AMG
   2016        V8/5.5L                                                      68033, 50              H6 (48) AGM       —
   2016-12     V8/5.5L     Auxiliary Battery                                20033, 50              —                 —
   2015-12     V8/5.5L                                                      68050, 54              —                 —
   2015-12     V8/5.5L     Opt                                              80 Ah33, 50, 54        H7 (94R) AGM      —
   2011-05     V8/5.5L                                                      74 Ah50                —                 —
   2006        V8/5.5L                                                      76033, 50              —                 —
   2006        V8/5.5L     Opt                                              76033, 50              —                 —
   2005        V8/5.5L                                                      825                    —                 —
   Mercedes-Benz SLR McLaren
   2009-06 V8/5.5L         On-Board Electrical System Battery               76033, 50              —                 —
   2009-05 V8/5.5L         Starting Motor Battery                           52045, 54              —                 —
   2005    V8/5.5L         On-Board Electrical System Battery               825                    —                 —
   Mercedes-Benz SLS AMG
   2015    V8/6.3L                                                          76033, 50, 54          H6 (48) AGM       —
   2014-11 V8/6.3L                                                          70 Ah33, 50, 54        H6 (48) AGM       —
   Mercedes-Benz Sprinter 2500
   2018-10     V6/3.0L     Dsl                                              68050, 54              —                 —
   2018-10     L4/2.1L     Dsl, Opt                                         85033, 50, 54          H8 (49) AGM       —
   2018-10     V6/3.0L     Dsl, Opt                                         85033, 50, 54          H8 (49) AGM       —
   2018-10     V6/3.0L     Auxiliary, Dsl                                   20033, 50              —                 —
   2018-10     V6/3.0L     Dsl, Opt                                         76033, 50, 54          H6 (48) AGM       —
   2018-10     V6/3.0L     Dsl, Opt                                         76050, 54              —                 —
   2017-14     L4/2.1L     Auxiliary, Dsl                                   20033, 50              —                 —
   2017-14     L4/2.1L     Dsl                                              68050, 54              —                 —
   2017-14     L4/2.1L     Dsl, Opt                                         76033, 50, 54          H6 (48) AGM       —
   2017-14     L4/2.1L     Dsl, Opt                                         76050, 54              —                 —
   2016-14     L4/2.1L                                                      85050                  —                 —
   Mercedes-Benz Sprinter 3500
   2018-10     V6/3.0L     Auxiliary, Dsl                                   20033, 50              —                 —
   2018-10     V6/3.0L     Dsl, Opt                                         85033, 50, 54          H8 (49) AGM       —
   2018-10     V6/3.0L     Dsl, Opt                                         76033, 50, 54          H6 (48) AGM       —
   2018-10     V6/3.0L     Dsl, Opt                                         76050, 54              —                 —
   2018-10     V6/3.0L                                                      85050                  —                 —
   2018-10     V6/3.0L     Dsl                                              850                    —                 —
   2018-10     V6/3.0L     Dsl                                              76050                  —                 —
   2018-110    V6/3.0L     Dsl                                              68050, 54              —                 —
   2017-14     L4/2.1L     Dsl, Opt                                         85033, 50, 54          H8 (49) AGM       —
   2017-14     L4/2.1L     Auxiliary, Dsl                                   20033, 50              —                 —
   2017-14     L4/2.1L     Dsl                                              68050, 54              —                 —
   2017-14     L4/2.1L     Dsl, Opt                                         76033, 50, 54          H6 (48) AGM       —
   2017-14     L4/2.1L     Dsl, Opt                                         76050, 54              —                 —
   Mercury Capri
   1994    L4/1.6L                                                          460                    35                35 AGM
   1993-91 L4/1.6L                                                          390                    35                35 AGM
   Mercury Colony Park
   1991        V8/5.0L                                                      650                    65                65 AGM
   1990        V8/5.0L                                                      540                    58                —
   Mercury Comet
   1969       L6/4.1L                                                       290                    26R               —
   1969       L6/4.1L      Opt                                              350                    24F               24F AGM
   1969       V8/5.8L                                                       290                    26R               —
   1969       V8/5.8L      AT, Opt                                          350                    24F               24F AGM
   1969       V8/5.8L      Opt                                              415                    27F               —
   1969       V8/5.8L      Opt                                              415                    27F               —
   1969       V8/6.4L      AT, Opt                                          350                    24F               24F AGM
   1969       V8/6.4L      Opt                                              415                    27F               —
   1969       V8/6.4L      Opt                                              415                    27F               —
   1969-68 V8/5.0L                                                          290                    —                 —
   1969-68 V8/5.0L                                                          290                    26R               —
   1969-68 V8/5.0L         Opt                                              350                    24F               24F AGM
   1969-68 V8/6.4L                                                          290                    26R               —
   1968       L6/3.3L      Opt                                              350                    24F               24F AGM
   1968       V8/6.4L      Opt                                              350                    24F               24F AGM
   1968-64 V8/4.7L                                                          250                    26R               —
   1967-66 V8/6.4L                                                          250                    26R               —
   1967-66 V8/6.4L         Opt                                              N/A                    24F               24F AGM
   1967-65 V8/4.7L         Opt                                              N/A                    24F               24F AGM
   See page 157 for Footnotes. Selection may vary by warehouse.

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118                                                         Automotive/Light Truck
  YEAR      ENGINE                                OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                           CCA/RATING             (NOTES)            (NOTES)

Mercury Cougar
2002-99   L4/2.0L                                                    590                    40R               —
2002-99   V6/2.5L                                                    590                    40R               —
1997      V6/3.8L                                                    540                    59                —
1997-94   V6/3.8L    Canada & Opt                                    650                    65                65 AGM
1997-94   V8/4.6L                                                    650                    65                65 AGM
1996      V6/3.8L    Early                                           540                    58                —
1996      V6/3.8L    US, Late                                        540                    59                —
1995-94   V6/3.8L                                                    540                    58                —
1993      V6/3.8L    Opt                                             650                    65                65 AGM
1993      V6/3.8L    US                                              540                    58                —
1993-91   V8/5.0L                                                    650                    65                65 AGM
1993-90   V6/3.8L    Canada or Cold Climate Pkg                      650                    65                65 AGM
1992-90   V6/3.8L                                                    460                    58                —
1992-90   V6/3.8L    Opt                                             540                    58                —
1990      V6/3.8L    S/C                                             650                    65                65 AGM
1969      V8/5.0L                                                    330                    —                 —
1968      V8/5.0L                                                    325                    24F               24F AGM
1968-67   V8/4.7L                                                    325                    24F               24F AGM
Mercury Cyclone
1969-68   V8/6.4L                                                    415                    27F               —
1968      V8/7.0L                                                    435                    27F               —
1967      V8/6.4L                                                    N/A                    27F               —
1967-65   V8/4.7L                                                    N/A                    24F               24F AGM
1966      V8/6.4L    AT                                              N/A                    24F               24F AGM
1965      V8/7.0L                                                    N/A                    27F               —
1964      L6/3.3L                                                    N/A                    —                 —
1964      L6/3.3L    Opt                                             N/A                    27F               —
1964      V8/4.3L                                                    N/A                    —                 —
1964      V8/4.3L    Opt                                             N/A                    27F               —
1964      V8/4.7L    Opt                                             N/A                    27F               —
Mercury Grand Marquis
2011-98   V8/4.6L                                                    650                    65                65 AGM
2011-09   V8/4.6L    HD or PPkg                                      750                    65                65 AGM
2006-97   V8/4.6L    Canada & Opt                                    750                    65                65 AGM
1997      V8/4.6L    US                                              540                    59                —
1996      V8/4.6L    Late                                            540                    59                —
1996      V8/4.6L    US, Early                                       540                    58                —
1996-95   V8/4.6L    PPkg                                            850                    65                —
1996-93   V8/4.6L    US, Opt or Canada                               750                    65                65 AGM
1995-93   V8/4.6L    US                                              540                    58                —
1993-92   V8/4.6L    w/HWS                                           850                    65                —
1992      V8/4.6L    Ex HWS                                          650                    65                65 AGM
1991      V8/5.0L                                                    650                    65                65 AGM
1991-90   V8/5.0L    w/HWS                                           850                    65                —
1990      V8/5.0L                                                    540                    58                —
1990      V8/5.0L    Opt                                             650                    65                65 AGM
Mercury Marauder
2004-03 V8/4.6L                                                      650                    65                65 AGM
1967    V8/6.4L      AT                                              N/A                    24F               24F AGM
Mercury Mariner
2011-10   V6/3.0L                                                    590                    96R               —
2011-09   L4/2.5L    Hybrid                                          500                    96R               —
2009      L4/2.5L                                                    590                    40R               —
2009-05   V6/3.0L                                                    590                    40R               —
2008-06   L4/2.3L    Hybrid                                          500                    96R               —
2008-05   L4/2.3L                                                    590                    40R               —
Mercury Milan
2011-10   L4/2.5L                                                    500                    96R               —
2011-10   L4/2.5L    Hybrid                                          390                    —                 —
2011-10   V6/3.0L                                                    500                    96R               —
2009      V6/3.0L                                                    590                    96R               —
2009-08   L4/2.3L                                                    500                    96R               —
2008      V6/3.0L                                                    500                    96R               —
2007-06   L4/2.3L                                                    590                    40R               —
2007-06   V6/3.0L                                                    590                    40R               —
Mercury Montego
2007    V6/3.0L                                                      540                    36R               —
2006-05 V6/3.0L                                                      600                    36R               —
                                                                    See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                             119
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING             (NOTES)            (NOTES)

   Mercury Monterey
   2007    V6/4.2L                                                          750                     65                65 AGM
   2006-04 V6/4.2L                                                          540                     59                —
   2006-04 V6/4.2L         Opt                                              750                     65                65 AGM
   Mercury Mountaineer
   2010-98 V6/4.0L                                                          650                     65                65 AGM
   2010-02 V8/4.6L                                                          650                     65                65 AGM
   2001-97 V8/5.0L                                                          650                     65                65 AGM
   Mercury Mystique
   2000-98     L4/2.0L                                                      590                     40R               —
   2000-98     V6/2.5L                                                      590                     40R               —
   1997-95     L4/2.0L                                                      590                     96R               —
   1997-95     L4/2.0L     Opt                                              650                     —                 —
   1997-95     V6/2.5L                                                      650                     —                 —
   Mercury Sable
   2009-08     V6/3.5L                                                      540                     59                —
   2005        V6/3.0L     HD & Canada,DOHC                                 600                     36R               —
   2005        V6/3.0L     OHV                                              600                     36R               —
   2004        V6/3.0L                                                      540                     36R               —
   2004        V6/3.0L     US                                               540                     36R               —
   2004        V6/3.0L     US, Opt or Canada                                600                     36R               —
   2003-02     V6/3.0L     HD & Canada,DOHC                                 600                     36R               —
   2003-02     V6/3.0L     OHV                                              600                     36R               —
   2001        V6/3.0L                                                      540                     36R               —
   2001        V6/3.0L     US                                               540                     36R               —
   2001        V6/3.0L     US, Opt or Canada                                600                     36R               —
   2000-96     V6/3.0L                                                      540                     —                 —
   2000-96     V6/3.0L     SOHC                                             540                     —                 —
   2000        V6/3.0L     HD & Canada,DOHC                                 600                     36R               —
   1999-96     V6/3.0L     HD & Canada,DOHC                                 650                     36R               —
   1995-93     V6/3.0L     Opt                                              650                     65                65 AGM
   1995-90     V6/3.0L                                                      540                     58                —
   1995-90     V6/3.8L                                                      650                     65                65 AGM
   1995-90     V6/3.8L     HD, w/HWS or PPkg                                850                     65                —
   1992-91     V6/3.0L     Ex HWS or PPKG                                   540                     58                —
   1992-91     V6/3.0L     HD, w/HWS or PPkg                                850                     65                —
   1990        V6/3.0L     Opt                                              850                     65                —
   Mercury Tracer, Topaz
   1999-98     L4/2.0L                                                      500                     58                —
   1997        L4/2.0L                                                      540                     58                —
   1996-95     L4/1.8L                                                      540                     35                35 AGM
   1996-94     L4/1.9L                                                      460                     35                35 AGM
   1994-92     V6/3.0L                                                      460                     58                —
   1994-92     V6/3.0L     Opt                                              540                     58                —
   1994-91     L4/1.8L                                                      460                     35                35 AGM
   1994-91     L4/2.3L                                                      540                     58                —
   1993        L4/1.9L     MT                                               460                     58                —
   1993-92     L4/1.9L                                                      390                     35                35 AGM
   1993-92     L4/1.9L     Opt                                              460                     35                35 AGM
   1993-92     L4/2.3L     AT & Opt                                         540                     58                —
   1992-90     L4/2.3L     MT                                               460                     58                —
   1991        L4/1.9L                                                      460                     35                35 AGM
   1990        L4/1.6L                                                      390                     35                35 AGM
   1990        L4/2.3L     AT                                               540                     58                —
   Mercury Villager
   2002-99     V6/3.3L                                                      450                     35                35 AGM
   2002-99     V6/3.3L     Canada & Opt                                     525                     24F               24F AGM
   1998-94     V6/3.0L     Canada & Opt                                     525                     24F               24F AGM
   1998-94     V6/3.0L     US                                               450                     35                35 AGM
   1993        V6/3.0L     Canada & Opt                                     585                     24F               24F AGM
   1993        V6/3.0L     US                                               350                     35                35 AGM
   Mini Cooper
   2017-15     L3/1.5L                                                      76033, 50, 54, 55, 56   H6 (48) AGM       —
   2017-15     L3/1.5L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM      —
   2017-15     L4/2.0L                                                      76033, 50, 54, 55, 56   H6 (48) AGM       —
   2017-15     L4/2.0L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM      —
   2015        L4/1.6L                                                      48018, 50, 54, 56       —                 —
   2015-14     L4/2.0L                                                      80033, 50, 54, 55, 56   H7 (94R) AGM      —
   2015-13     L4/1.6L     Opt                                              57018, 50, 54, 56       H6 (48)           H6 (48) AGM
   2015-07     L4/1.6L                                                      48050, 54, 55, 56       H5 (47)           H5 (47) AGM
   2015-07     L4/1.6L     Opt                                              68033, 50, 54, 55, 56   —                 —
   2015-07     L4/1.6L     Opt                                              57050, 54, 55, 56       H6 (48)           H6 (48) AGM
   See page 157 for Footnotes. Selection may vary by warehouse.

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120                                                  Automotive/Light Truck
  YEAR      ENGINE                         OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                     CCA/RATING             (NOTES)            (NOTES)

Mini Cooper (continued)
2014      L3/1.5L                                             80033, 50, 54, 55, 56   H7 (94R) AGM      —
2013      L4/1.6L    w/o AGM                                  470                     H5 (47)           H5 (47) AGM
2012-10   L4/1.6L                                             57050, 54, 55, 56       H6 (48)           H6 (48) AGM
2011-10   L4/1.6L    Starting Battery                         57050, 54, 55, 56       H6 (48)           H6 (48) AGM
2010      L4/1.6L    Opt, AGM                                 4809, 33, 50, 54        H5 (47) AGM       —
2009      L4/1.6L    Turbo                                    48050                   H5 (47)           H5 (47) AGM
2009-02   L4/1.6L    w/o AGM                                  48050                   H5 (47)           H5 (47) AGM
2008-02   L4/1.6L    Turbo or SC                              48050, 54, 55, 56       H5 (47)           H5 (47) AGM
2008-02   L4/1.6L    w/o Turbo or S/C                         48050, 54, 55, 56       H5 (47)           H5 (47) AGM
2005-04   L4/1.6L    Naturally Aspirated                      48050                   H5 (47)           H5 (47) AGM
Mini Cooper Clubman
2017    L4/2.0L                                               80033, 50, 54, 55, 56   H7 (94R) AGM      —
2017-16 L3/1.5L                                               76033, 50, 54, 55, 56   H6 (48) AGM       —
2016    L4/2.0L                                               76033, 50, 54, 55, 56   H6 (48) AGM       —
Mini Cooper Countryman
2017      L3/1.5L                                             76033, 50, 54, 55, 56   H6 (48) AGM       —
2017      L3/1.5L    Opt                                      80033, 50, 54, 55, 56   H7 (94R) AGM      —
2017      L4/2.0L                                             76033, 50, 54, 55, 56   H6 (48) AGM       —
2017      L4/2.0L    Opt                                      80033, 50, 54, 55, 56   H7 (94R) AGM      —
2016-11   L4/1.6L                                             48050, 54, 55, 56       H5 (47)           H5 (47) AGM
2016-11   L4/1.6L    Opt                                      68033, 50, 54, 55, 56   —                 —
2016-11   L4/1.6L    Opt                                      57050, 54, 55, 56       H6 (48)           H6 (48) AGM
2015      L4/1.6L                                             48050, 54, 55, 56       —                 —
2015-13   L4/1.6L    Opt                                      57018, 50, 54, 56       H6 (48)           H6 (48) AGM
2013      L4/1.6L    w/o AGM                                  470                     H5 (47)           H5 (47) AGM
2012-11   L4/1.6L                                             57050, 54, 55, 56       H6 (48)           H6 (48) AGM
Mini Cooper Paceman
2016-13   L4/1.6L                                             48050, 54, 55, 56       H5 (47)           H5 (47) AGM
2016-13   L4/1.6L    Opt                                      68033, 50, 54, 55, 56   —                 —
2016-13   L4/1.6L    Opt                                      57050, 54, 55, 56       H6 (48)           H6 (48) AGM
2015      L4/1.6L                                             48018, 50, 54, 56       —                 —
2015      L4/1.6L    Opt                                      57018, 54, 55, 56       H6 (48)           H6 (48) AGM
2014-13   L4/1.6L    Opt                                      57018, 50, 54, 56       H6 (48)           H6 (48) AGM
2013      L4/1.6L    w/o AGM                                  470                     H5 (47)           H5 (47) AGM
Mitsubishi 3000GT
1999-96 V6/3.0L                                               520                     25                —
1995-94 V6/3.0L                                               430                     24                —
1993-91 V6/3.0L                                               490                     24                —
Mitsubishi Diamante
2004      V6/3.5L                                             600                     24                —
2003-99   V6/3.5L                                             520                     86                —
1998-97   V6/3.5L                                             490                     24                —
1996-92   V6/3.0L                                             490                     24                —
Mitsubishi Eclipse
2012-06   V6/3.8L                                             550                     24                —
2012-00   L4/2.4L                                             525                     86                —
2005-00   V6/3.0L                                             525                     86                —
1999      L4/2.0L                                             525                     86                —
1999-96   L4/2.4L                                             430                     86                —
1999-95   L4/2.0L    MT                                       430                     86                —
1999-95   L4/2.0L    Turbo, AT                                525                     86                —
1998-95   L4/2.0L    AT                                       525                     86                —
1994-90   L4/1.8L                                             430                     86                —
1994-90   L4/2.0L                                             430                     86                —
Mitsubishi Eclipse Cross
2019-18 L4/1.5L                                               520                     35                35 AGM
Mitsubishi Endeavor
2011-04 V6/3.8L                                               550                     24                —
Mitsubishi Expo
1995-92 L4/2.4L                                               490                     24                —
Mitsubishi Expo LRV
1994-93 L4/2.4L                                               490                     24                —
1994-92 L4/1.8L                                               360                     25                —
Mitsubishi Galant
2012-99   L4/2.4L                                             525                    86                 —
2009-04   V6/3.8L                                             550                    24                 —
2003-99   V6/3.0L                                             525                    86                 —
1998-94   L4/2.4L                                             490                    —                  —
1993-90   L4/2.0L                                             435                    51                 —
                                                             See page 157 for Footnotes. Selection may vary by warehouse.

                                                                                                                             Costco_001920
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   Automotive/Light Truck                                                                                            121
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Mitsubishi i-MiEV
   2017-12                 Electric                                         370                    —                 —
   Mitsubishi Lancer
   2017-04     L4/2.4L                                                      520                    35                35 AGM
   2017-03     L4/2.0L                                                      520                    35                35 AGM
   2015        L4/2.0L     Evolution                                        70050                  —                 —
   2015-13     L4/2.0L     Evolution                                        70045, 50              —                 —
   2015-11     L4/2.0L     Ex Evolution                                     520                    35                35 AGM
   2013-08     L4/2.0L     Evolution                                        70050                  —                 —
   2012-11     L4/2.4L     Ex Evolution                                     520                    35                35 AGM
   2009        L4/2.4L     GTS                                              520                    35                35 AGM
   2009-08     L4/2.0L     ES, DE                                           520                    35                35 AGM
   2007        L4/2.0L                                                      550                    35                35 AGM
   2002        L4/2.0L                                                      435                    35                35 AGM
   Mitsubishi Mighty Max
   1996-95     L4/2.4L                                                      435                    51                —
   1994-91     L4/2.4L     RWD, Canada                                      490                    24                —
   1994-91     L4/2.4L     RWD, US, 4WD All                                 435                    51                —
   1994-90     V6/3.0L                                                      490                    24                —
   1992-91     L4/2.4L     Opt                                              580                    24                —
   1992-91     V6/3.0L     Opt                                              580                    24                —
   1990        L4/2.4L     Canada                                           580                    24                —
   1990        L4/2.4L     US                                               435                    51                —
   Mitsubishi Mirage
   2019-14     L3/1.2L                                                      355                    35                35 AGM
   2015-14     L3/1.2L                                                      360                    35                35 AGM
   2002-98     L4/1.5L                                                      435                    35                35 AGM
   2002-98     L4/1.8L                                                      435                    35                35 AGM
   1997        L4/1.5L                                                      435                    51R               —
   1997        L4/1.8L                                                      435                    51R               —
   1996-93     L4/1.5L                                                      430                    51                —
   1996-93     L4/1.8L                                                      430                    51                —
   1992-91     L4/1.6L                                                      355                    25                —
   1992-90     L4/1.5L                                                      355                    25                —
   Mitsubishi Mirage G4
   2019-17 L3/1.2L                                                          435                    35                35 AGM
   Mitsubishi Montero
   2006-03     V6/3.8L                                                      585                    24F               24F AGM
   2002        V6/3.5L     Opt                                              675                    27F               —
   2002-01     V6/3.5L                                                      585                    24F               24F AGM
   2000-94     V6/3.5L                                                      490                    24                —
   1996-90     V6/3.0L                                                      490                    24                —
   Mitsubishi Montero Sport
   2004-03     V6/3.5L                                                      585                    24                —
   2003-99     V6/3.5L     Opt                                              585                    24                —
   2003-97     V6/3.0L                                                      520                    25                —
   2003-97     V6/3.0L     Opt                                              585                    24                —
   2001-99     V6/3.5L                                                      520                    25                —
   1999-97     L4/2.4L                                                      520                    25                —
   1999-97     L4/2.4L     Opt                                              585                    24                —
   Mitsubishi Outlander
   2019-07     V6/3.0L                                                      585                    24F               24F AGM
   2019-03     L4/2.4L                                                      520                    35                35 AGM
   2013-12     V6/3.0L                                                      520                    35                35 AGM
   2006        L4/2.4L     Opt                                              620                    24F               24F AGM
   2005-04     L4/2.4L                                                      620                    24F               24F AGM
   Mitsubishi Outlander PHEV
   2019        L4/2.0L                                                      N/A45, 50              —                 —
   Mitsubishi Outlander Sport
   2019-15     L4/2.4L                                                      520                    35                35 AGM
   2019-11     L4/2.0L                                                      520                    35                35 AGM
   2016-15     L4/2.0L                                                      530                    35                35 AGM
   2016-15     L4/2.4L                                                      530                    35                35 AGM
   Mitsubishi Precis
   1994-90 L4/1.5L                                                          420                    25                —
   Mitsubishi Raider
   2009-06     V6/3.7L                                                      600                    65                65 AGM
   2007-06     V8/4.7L                                                      600                    65                65 AGM
   2006        V6/3.7L     Opt                                              650                    65                65 AGM
   2006        V8/4.7L     Opt                                              650                    65                65 AGM
   See page 157 for Footnotes. Selection may vary by warehouse.

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122                                                 Automotive/Light Truck
  YEAR      ENGINE                        OPTIONS                    ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                         CCA/RATING             (NOTES)            (NOTES)

Mitsubishi RVR
2019      L4/2.0L                                                  520                    35                35 AGM
2019      L4/2.4L                                                  520                    35                35 AGM
2017-15   L4/2.4L                                                  520                    35                35 AGM
2017-11   L4/2.0L                                                  520                    35                35 AGM
Mitsubishi Sigma
1990      V6/3.0L                                                  490                    24                —
Mitsubishi Van
1990      L4/2.4L                                                  435                    51                —
Mobility Ventures MV-1
2017-15 V6/3.7L                                                    750                    65                65 AGM
2015    V8/4.6L                                                    760                    65                65 AGM
2014    V8/4.6L                                                    750                    65                65 AGM
Nissan 200SX
1998-95   L4/1.6L    Canada                                        550                    24F               24F AGM
1998-95   L4/1.6L    US                                            490                    35                35 AGM
1998-95   L4/2.0L    Canada & Opt                                  550                    24F               24F AGM
1998-95   L4/2.0L    US                                            490                    35                35 AGM
Nissan 240SX
1998-90 L4/2.4L      Canada & Opt                                  415                    24                —
1998-90 L4/2.4L      US                                            360                    25                —
Nissan 300ZX
1996      V6/3.0L    Ex Conv                                       575                    24F               24F AGM
1996-93   V6/3.0L    AT                                            575                    24F               24F AGM
1996-93   V6/3.0L    Conv                                          550                    35                35 AGM
1996-93   V6/3.0L    Ex Conv w/MT                                  415                    24F               24F AGM
1992-90   V6/3.0L    AT                                            585                    24F               24F AGM
1992-90   V6/3.0L    MT                                            415                    24F               24F AGM
Nissan 350Z
2009-03 V6/3.5L                                                    585                    35                35 AGM
Nissan 370Z
2020-09 V6/3.7L                                                    585                    35                35 AGM
Nissan Altima
2020-19   L4/2.0L                                                  51054, 59              —                 —
2020-19   L4/2.5L                                                  51054, 59              —                 —
2018-15   L4/2.5L                                                  550                    35                35 AGM
2018-07   V6/3.5L                                                  550                    35                35 AGM
2014-07   L4/2.5L    Ex Hybrid                                     550                    35                35 AGM
2011-07   L4/2.5L    Hybrid                                        70050                  —                 —
2006-02   L4/2.5L                                                  550                    24F               24F AGM
2006-02   V6/3.5L                                                  550                    24F               24F AGM
2001-96   L4/2.4L                                                  550                    24F               24F AGM
1995-93   L4/2.4L    Canada & Opt                                  585                    24F               24F AGM
1995-93   L4/2.4L    US                                            350                    35                35 AGM
Nissan Armada
2020-17 V8/5.6L                                                    780                    27                —
2015-05 V8/5.6L      TTPkg                                         710                    27F               —
2015-05 V8/5.6L      w/o TTPkg                                     650                    24F               24F AGM
Nissan Axxess
1992-90 L4/2.4L      Canada                                        415                    24F               24F AGM
1990    L4/2.4L      US                                            350                    35                35 AGM
Nissan Cube
2014-09 L4/1.8L                                                    405                    35                35 AGM
2014-09 L4/1.8L                                                    410                    35                35 AGM
Nissan D21
1994      L4/2.4L                                                  530                    24                —
1994      V6/3.0L                                                  530                    24                —
1994-92   L4/2.4L    US                                            360                    25                —
1994-92   V6/3.0L    US                                            360                    25                —
1993-92   L4/2.4L    Canada                                        450                    24                —
1993-92   V6/3.0L    Canada                                        450                    27                —
1991-90   L4/2.4L    Canada & Opt                                  415                    24                —
1991-90   L4/2.4L    US                                            355                    25                —
1991-90   V6/3.0L    Canada & Opt                                  450                    27                —
1991-90   V6/3.0L    US                                            355                    25                —
Nissan Frontier
2019      L4/2.5L                                                  550                    —                  H5 (47) AGM
2019      V6/4.0L                                                  550                    —                  H5 (47) AGM
2018-11   L4/2.5L                                                  550                    35                 35 AGM
2018-11   V6/4.0L                                                  550                    35                 35 AGM
                                                                  See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                            123
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Nissan Frontier (continued)
   2010        L4/2.5L                                                      575                    24F               24F AGM
   2010        V6/4.0L                                                      575                    24F               24F AGM
   2009-05     L4/2.5L                                                      550                    24F               24F AGM
   2009-05     V6/4.0L                                                      550                    24F               24F AGM
   2004        V6/3.3L                                                      N/A                    24                —
   2004-03     L4/2.4L                                                      490                    25                —
   2004-03     L4/2.4L     Opt                                              575                    24                —
   2004-03     V6/3.3L                                                      575                    24                —
   2002-99     V6/3.3L     Canada                                           550                    24                —
   2002-99     V6/3.3L     US                                               490                    25                —
   2002-98     L4/2.4L     Canada                                           550                    24                —
   2002-98     L4/2.4L     US                                               490                    25                —
   2002-01     L4/2.4L     Canada & Opt                                     550                    24                —
   Nissan GT-R
   2020-19 V6/3.8L                                                          430                    51R               —
   2018-09 V6/3.8L                                                          410                    51R               —
   Nissan Juke
   2017-11 L4/1.6L                                                          570                    35                35 AGM
   2015-11 L4/1.6L                                                          550                    35                35 AGM
   Nissan Kicks
   2019        L4/1.6L                                                      51054, 59              —                 —
   Nissan Leaf
   2020-13                 Electric                                         410                    51R               —
   Nissan Maxima
   2020-19     V6/3.5L                                                      550                    —                 H5 (47) AGM
   2018-16     V6/3.5L                                                      550                    35                35 AGM
   2014-09     V6/3.5L                                                      550                    35                35 AGM
   2008-04     V6/3.5L                                                      550                    24F               24F AGM
   2003        V6/3.5L                                                      445                    24F               24F AGM
   2002        V6/3.5L                                                      585                    24F               24F AGM
   2001-00     V6/3.0L                                                      585                    24F               24F AGM
   1999-95     V6/3.0L     California & Canada                              585                    24F               24F AGM
   1999-95     V6/3.0L     US, Ex California                                360                    35                35 AGM
   1994-90     V6/3.0L                                                      350                    35                35 AGM
   1994-90     V6/3.0L     Canada                                           585                    24F               24F AGM
   1994-90     V6/3.0L     Canada & Opt                                     625                    27F               —
   Nissan Micra
   2019-15 L4/1.6L         Canada                                           470                    —                 —
   Nissan Murano
   2020-19     V6/3.5L                                                      550                    —                 H5 (47) AGM
   2018-16     V6/3.5L                                                      550                    35                35 AGM
   2016        L4/2.5L     Hybrid                                           410                    51R               —
   2016-09     V6/3.5L                                                      585                    35                35 AGM
   2007        V6/3.5L     Ex Intelligent Key                               575                    24F               24F AGM
   2007        V6/3.5L     Intelligent Key                                  700                    24F               24F AGM
   2006-04     V6/3.5L                                                      582                    35                35 AGM
   2006-04     V6/3.5L     w/Intelligent Key                                700                    24F               24F AGM
   2006-04     V6/3.5L     w/o Intelligent Key                              575                    24F               24F AGM
   2003        V6/3.5L                                                      490                    35                35 AGM
   Nissan NV1500
   2019-14 V6/4.0L                                                          650                    24F               24F AGM
   2013-12 V6/4.0L         w/o TTPkg                                        650                    24F               24F AGM
   2013-12 V6/4.0L         w/TTPkg                                          710                    27F               —
   Nissan NV200
   2020-13 L4/2.0L                                                          470                    121R              —
   2015-13 L4/2.0L                                                          470                    121R              —
   Nissan NV2500
   2020-17     V6/4.0L                                                      710                    27F               —
   2020-17     V8/5.6L                                                      710                    27F               —
   2016        V6/4.0L                                                      650                    24F               24F AGM
   2016        V8/5.6L                                                      650                    24F               24F AGM
   2016-13     V6/4.0L     TTPkg                                            710                    27F               —
   2016-13     V8/5.6L     TTPkg                                            710                    27F               —
   2016-12     V6/4.0L     w/o TTPkg                                        650                    24F               24F AGM
   2016-12     V6/4.0L     w/TTPkg                                          710                    27F               —
   2016-12     V8/5.6L     w/o TTPkg                                        650                    24F               24F AGM
   2016-12     V8/5.6L     w/TTPkg                                          710                    27F               —
   See page 157 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                   OPTIONS                   ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

Nissan NV3500
2020-17   V6/4.0L                                            710                    27F               —
2020-17   V8/5.6L                                            710                    27F               —
2016      V6/4.0L                                            650                    24F               24F AGM
2016      V6/4.0L    TTPkg                                   710                    27F               —
2016      V8/5.6L                                            650                    24F               24F AGM
2016      V8/5.6L    TTPkg                                   710                    27F               —
2016-12   V6/4.0L    w/o TTPkg                               650                    24F               24F AGM
2016-12   V6/4.0L    w/TTPkg                                 710                    27F               —
2016-12   V8/5.6L    w/o TTPkg                               650                    24F               24F AGM
2016-12   V8/5.6L    w/TTPkg                                 710                    27F               —
Nissan NX, Pulsar NX
1993-91   L4/1.6L    Canada                                  415                    24F               24F AGM
1993-91   L4/2.0L    Canada & Opt                            585                    24F               24F AGM
1993-91   L4/2.0L    US                                      350                    35                35 AGM
1993-83   L4/1.6L    US                                      350                    35                35 AGM
1990      L4/1.6L    Canada & Opt                            415                    24F               24F AGM
Nissan 3DWKğQGHU
2020-19   V6/3.5L                                            550                    —                 H5 (47) AGM
2017-13   V6/3.5L                                            550                    35                35 AGM
2012-10   V6/4.0L                                            550                    35                35 AGM
2012-08   V8/5.6L                                            650                    24F               24F AGM
2009-07   V6/4.0L                                            550                    24F               24F AGM
2006-05   V6/4.0L                                            700                    24F               24F AGM
2004-03   V6/3.5L                                            455                    24                —
2002-01   V6/3.5L                                            360                    25                —
2002-01   V6/3.5L    Canada & Opt                            450                    27                —
2002-01   V6/3.5L    Opt                                     450                    27                —
2002-01   V6/3.5L    US                                      360                    25                —
2000-96   V6/3.3L                                            360                    25                —
2000-96   V6/3.3L    Canada & Opt                            450                    27                —
1995-92   V6/3.0L    Canada                                  450                    27                —
1995-92   V6/3.0L    US                                      360                    25                —
1991-90   V6/3.0L    Canada & Opt                            450                    27                —
1991-90   V6/3.0L    US                                      355                    25                —
Nissan 3DWKğQGHU$UPDGD
2004      V8/5.6L                                            700                    24F               24F AGM
2004      V8/5.6L    Opt                                     710                    27F               —
Nissan Pickup
1997-95   L4/2.4L    Canada                                  525                    24                —
1997-95   L4/2.4L    US                                      360                    25                —
1995      V6/3.0L    Canada                                  525                    24                —
1995      V6/3.0L    US                                      360                    25                —
Nissan Qashqai
2019      L4/2.0L    Canada                                  51054, 59              —                 —
Nissan Quest
2017-11   V6/3.5L                                            550                    24F               24F AGM
2009-04   V6/3.5L                                            550                    24F               24F AGM
2002-99   V6/3.3L                                            450                    35                35 AGM
2002-99   V6/3.3L    Canada & Opt                            525                    24F               24F AGM
1998-93   V6/3.0L    Canada & Opt                            525                    24F               24F AGM
1998-93   V6/3.0L    US                                      450                    35                35 AGM
Nissan Rogue
2020-19   L4/2.5L                                            585                    —                 35 AGM
2019      L4/2.0L    Hybrid                                  77050                  —                 —
2018-17   L4/2.5L                                            550                    35                35 AGM
2016-08   L4/2.5L                                            585                    35                35 AGM
Nissan Rogue Select
2015-14 L4/2.5L                                              585                    35                35 AGM
Nissan Rogue Sport
2020-19 L4/2.0L                                              51054, 59              —                 —
Nissan Sentra
2019      L4/1.6L                                            550                    35                35 AGM
2019      L4/1.8L                                            550                    35                35 AGM
2017-13   L4/1.8L                                            470                    35                35 AGM
2012-08   L4/2.5L                                            550                    40R               —
2012-07   L4/2.0L                                            470                    35                35 AGM
2012-07   L4/2.5L    SE-R                                    590                    40R               —
2008-06   L4/2.5L                                            550                    35                35 AGM
2006      L4/1.8L                                            550                    35                35 AGM
2005-03   L4/2.5L                                            355                    35                35 AGM
                                                            See page 157 for Footnotes. Selection may vary by warehouse.

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      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Nissan Sentra (continued)
   2005-00     L4/1.8L                                                      355                    35                35 AGM
   2002        L4/2.5L                                                      490                    35                35 AGM
   2001        L4/2.0L                                                      490                    35                35 AGM
   2000-99     L4/2.0L                                                      490                    35                35 AGM
   1999        L4/1.6L                                                      490                    35                35 AGM
   1998        L4/2.0L     Canada                                           550                    24F               24F AGM
   1998        L4/2.0L     US                                               490                    35                35 AGM
   1998-95     L4/1.6L     Canada                                           550                    24F               24F AGM
   1998-95     L4/1.6L     US                                               490                    35                35 AGM
   1994-91     L4/2.0L     Canada & Opt                                     585                    24F               24F AGM
   1994-91     L4/2.0L     US                                               350                    35                35 AGM
   1994-90     L4/1.6L     Canada & Opt                                     415                    24F               24F AGM
   1994-90     L4/1.6L     US                                               350                    35                35 AGM
   Nissan Stanza
   1992-90 L4/2.4L                                                          350                    35                35 AGM
   1992-90 L4/2.4L         Canada & Opt                                     415                    24F               24F AGM
   Nissan Titan
   2019-17     V8/5.6L                                                      72059                  —                 —
   2015-14     V8/5.6L     w/TTPkg                                          710                    27F               —
   2015-10     V8/5.6L     w/o TTPkg                                        650                    24F               24F AGM
   2015-06     V8/5.6L     TTPkg                                            710                    27F               —
   2013-04     V8/5.6L                                                      650                    24F               24F AGM
   2008        V8/5.6L     Ex Flex Fuel & Ex TTPkg                          650                    24F               24F AGM
   2008        V8/5.6L     Flex                                             710                    27F               —
   2008        V8/5.6L     Flex Fuel or TTPkg                               710                    27F               —
   2008        V8/5.6L     Gas                                              650                    24F               24F AGM
   2006        V8/5.6L     TTPkg or HD                                      710                    27F               —
   2006        V8/5.6L     w/o TTPkg                                        650                    24F               24F AGM
   Nissan Titan XD
   2019    V8/5.6L                                                          650                    24F               24F AGM
   2019-16 V8/5.0L         Dsl                                              5502                   35                35 AGM
   2018-16 V8/5.6L                                                          780                    27                —
   Nissan Versa
   2019        L4/1.6L     Ex CVT                                           470                    —                 —
   2019-12     L4/1.6L     CVT-Transmission                                 410                    51R               —
   2018-13     L4/1.6L     Ex CVT                                           47045                  —                 —
   2012        L4/1.6L     w/CVT                                            50045                  51R               —
   2012-10     L4/1.6L     Ex CVT                                           470                    90 (T5)           —
   2012-10     L4/1.8L     Ex CVT                                           470                    90 (T5)           —
   2012-09     L4/1.6L     Ex CVT                                           470                    —                 —
   2012-09     L4/1.8L     w/CVT                                            41045                  51R               —
   2012-07     L4/1.8L     Ex CVT                                           470                    —                 —
   2008-07     L4/1.8L     CVT-Transmission                                 410                    51R               —
   2008-07     L4/1.8L     Ex CVT                                           470                    90 (T5)           —
   Nissan Versa Note
   2019-18 L4/1.6L                                                          470                    —                 —
   Nissan Xterra
   2015-10     V6/4.0L                                                      550                    35                35 AGM
   2009-05     V6/4.0L                                                      550                    24F               24F AGM
   2004        L4/2.4L                                                      490                    25                —
   2004        L4/2.4L     Opt                                              550                    24                —
   2004        V6/3.3L     Opt                                              550                    24                —
   2004-00     V6/3.3L                                                      490                    25                —
   2003-00     L4/2.4L     Canada & Opt                                     550                    24                —
   2003-00     L4/2.4L     US                                               490                    25                —
   2003-00     V6/3.3L     Canada & Opt                                     550                    24                —
   Nissan X-Trail
   2006        L4/2.5L     Canada                                           550                    24F               24F AGM
   2005        L4/2.5L     US                                               550                    35                35 AGM
   Oldsmobile 442
   1969-68     V8/6.6L                                                      380                    24                —
   1969-68     V8/7.5L                                                      380                    24                —
   1967        V8/6.6L                                                      N/A                    24                —
   1966-65     V8/6.6L                                                      N/A                    27                —
   Oldsmobile 88
   1999-95     V6/3.8L     Ex HWS                                           690                    78                —
   1997-92     V6/3.8L     HD or w/HWS                                      770                    78                —
   1995        V6/3.8L     w/HWS                                            770                    78                —
   1994        V6/3.8L     HD or HWS                                        770                    78                —
   1994-92     V6/3.8L                                                      630                    75                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                                     OPTIONS                   ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                     CCA/RATING             (NOTES)            (NOTES)

Oldsmobile 98
1996-95   V6/3.8L                                                              690                    78                —
1996-91   V6/3.8L    HD or w/HWS                                               770                    78                —
1994      V6/3.8L                                                              600                    78                —
1993-85   V6/3.8L                                                              630                    75                —
1992      V6/3.8L    Opt                                                       770                    78                —
1991      V6/3.8L    HD or HWS                                                 770                    78                —
1990-85   V6/3.8L    Opt                                                       770                    78                —
Oldsmobile Achieva
1998-96   L4/2.4L                                                              600                    75                —
1998-94   V6/3.1L                                                              600                    75                —
1995-92   L4/2.3L                                                              600                    75                —
1993-92   V6/3.3L                                                              600                    75                —
Oldsmobile Alero
2004-99   V6/3.4L                                                              600                    75                —
2004      L4/2.2L                                                              525                    75                —
2003-02   L4/2.2L                                                              600                    75                —
2001-99   L4/2.4L                                                              600                    75                —
Oldsmobile Aurora
2003-01   V8/4.0L                                                              77050                  100               —
2002-01   V6/3.5L                                                              77050                  100               —
1999-98   V8/4.0L                                                              84050                  79                —
1997-95   V8/4.0L                                                              97050                  —                 —
Oldsmobile Bravada
2004-02   L6/4.2L                                                              600                    78                —
2001-96   V6/4.3L    Opt                                                       690                    —                 —
2001-91   V6/4.3L                                                              525                    75                —
1994      V6/4.3L    Opt                                                       600                    78                —
1993-91   V6/4.3L    Opt                                                       630                    78                —
Oldsmobile Custom Cruiser, Delta 88, Regency
1998-97   V6/3.8L                                                              690                    78                —
1997      V6/3.8L    HD or w/HWS                                               770                    78                —
1992      V8/5.7L                                                              525                    75                —
1992-90   V8/5.0L                                                              525                    75                —
1991      V6/3.8L    HD or w/HWS                                               770                    78                —
1991-90   V6/3.8L    Opt                                                       730                    78                —
1991-87   V8/5.0L    Opt                                                       570                    75                —
1991-86   V6/3.8L                                                              630                    75                —
Oldsmobile Cutlass Calais
1991-90 L4/2.3L                                                                630                    75                —
1991-89 V6/3.3L                                                                630                    75                —
1991-88 L4/2.5L                                                                630                    75                —
Oldsmobile Cutlass, Cutlass Ciera, Cutlass Cruiser, Cutlass Supreme
1999-98   V6/3.1L                                                              600                    75                —
1997-96   V6/3.1L                                                              600                    78                —
1996      V6/3.4L                                                              690                    78                —
1996-94   L4/2.2L                                                              525                    75                —
1995      V6/3.1L    Early                                                     525                    75                —
1995      V6/3.1L    Late Incl Supreme                                         600                    78                —
1995      V6/3.4L    Early                                                     690                    —                 —
1995      V6/3.4L    Late Incl Supreme                                         690                    78                —
1994      V6/3.1L                                                              630                    75                —
1994-91   V6/3.4L                                                              690                    —                 —
1994-90   V6/3.1L                                                              525                    75                —
1993      L4/2.2L                                                              630                    75                —
1993-89   V6/3.3L                                                              630                    75                —
1992-84   L4/2.5L                                                              630                    75                —
1991-90   L4/2.3L                                                              630                    75                —
1969-68   V8/5.7L                                                              350                    24                —
1968      V8/6.6L                                                              400                    24                —
1968-67   V8/6.6L                                                              350                    24                —
1967      V8/5.4L                                                              N/A                    24                —
1967-66   V8/5.4L                                                              350                    24                —
1966-65   V8/6.6L                                                              N/A                    27                —
1965-64   V8/5.4L                                                              380                    24                —
Oldsmobile Delta 88 (See Custom Cruiser, Delta 88, Regency)
Oldsmobile Intrigue
2002-99 V6/3.5L                                                                690                    78                —
1999-98 V6/3.8L                                                                690                    78                —
Oldsmobile LSS
1999-96 V6/3.8L                                                                690                    78                —
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      YEAR        ENGINE                                          OPTIONS    ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                 CCA/RATING             (NOTES)            (NOTES)

   Oldsmobile Regency (See Custom Cruiser, Delta 88, Regency)
   Oldsmobile Silhouette
   2004-97     V6/3.4L                                                      600                   78                —
   1996        V6/3.4L                                                      525                   75                —
   1995-92     V6/3.8L                                                      630                   75                —
   1994-90     V6/3.1L                                                      525                   75                —
   Oldsmobile Toronado
   1992-91 V6/3.8L                                                          770                   78                —
   1990    V6/3.8L                                                          730                   78                —
   Panoz AIV Roadster
   2000-99 V8/4.6L                                                          580                   —                 —
   Panoz Esperante
   2007-01 V8/4.6L                                                          580                   —                 —
   Peugeot 405
   1991-90 L4/1.9L                                                          420                   24                —
   Peugeot 505
   1991-90     L4/2.2L     Ex Turbo                                         6606                  H6 (48)           H6 (48) AGM
   1991-90     L4/2.2L     Turbo                                            4955                  H6 (48)           H6 (48) AGM
   1990        L4/2.2L                                                      4956                  H6 (48)           H6 (48) AGM
   1990        V6/2.8L                                                      660                   H6 (48)           H6 (48) AGM
   Plymouth Acclaim
   1995-92 L4/2.5L                                                          600                   34                —
   1995-90 V6/3.0L                                                          500                   34                —
   1991-90 L4/2.5L                                                          500                   34                —
   Plymouth Barracuda
   1974        V8/5.9L                                                      305                   24                —
   1974-66     V8/5.2L                                                      325                   24                —
   1974-64     V8/5.9L                                                      325                   24                —
   1973-68     V8/5.6L                                                      325                   24                —
   1972-71     V8/7.2L                                                      325                   24                —
   1972-64     L6/3.7L                                                      325                   24                —
   1971        V8/6.3L                                                      325                   24                —
   1971        V8/7.0L                                                      325                   24                —
   1971-70     L6/3.2L                                                      325                   24                —
   1970-67     V8/6.3L                                                      440                   27                —
   1969-68     V8/7.0L                                                      440                   27                —
   1968-64     V8/4.5L                                                      325                   24                —
   1966-64     L6/2.8L                                                      325                   24                —
   Plymouth Belvedere
   1970-64 V8/6.3L                                                          440                   27                —
   Plymouth Breeze
   2000-97 L4/2.4L                                                          510                   75                —
   2000-96 L4/2.0L                                                          510                   75                —
   1996    L4/2.4L                                                          575                   75                —
   Plymouth Colt
   1995-93 L4/1.5L         US                                               435                   51                —
   1994       L4/1.8L      US                                               435                   25                —
   1994-93 L4/1.5L         Canada                                           580                   24                —
   1994-93 L4/1.8L         Canada                                           580                   24                —
   1994-92 L4/2.4L         HD or Canada                                     580                   24                —
   1994-92 L4/2.4L         US                                               490                   24                —
   1992       L4/1.5L      Canada, Ex Wagon                                 420                   25                —
   1992       L4/1.8L      Canada, Ex Wagon                                 420                   25                —
   1992       L4/1.8L      Opt                                              430                   25                —
   1992       L4/1.8L      US                                               350                   51                —
   1992       L4/1.8L      Wagon                                            580                   24                —
   1992       L4/2.4L      Canada                                           580                   24                —
   1992       L4/2.4L      Canada, Ex Wagon                                 420                   25                —
   1992       L4/2.4L      Opt                                              430                   25                —
   1992       L4/2.4L      Wagon                                            580                   24                —
   1992-91 L4/1.5L         Opt                                              430                   25                —
   1992-91 L4/1.5L         US                                               355                   25                —
   1991-90 L4/1.5L         Canada                                           420                   25                —
   1991-90 L4/2.0L         Canada                                           420                   25                —
   1991-90 L4/2.0L         US                                               435                   51                —
   1990       L4/1.5L      Ex Wagon                                         355                   25                —
   1990       L4/1.5L      Wagon                                            435                   51                —
   1990       L4/1.6L                                                       435                   51                —
   1990       L4/1.6L      Canada                                           420                   25                —
   1990       L4/1.8L      Wagon                                            435                   51                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                      OPTIONS                    ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                       CCA/RATING             (NOTES)            (NOTES)

Plymouth Cuda
1974      V8/5.2L    Opt                                         375                    24                —
1974      V8/5.9L                                                305                    24                —
1974      V8/5.9L    Opt                                         375                    24                —
1974-73   V8/5.2L                                                305                    24                —
1973      V8/5.2L    Opt                                         440                    24                —
1973      V8/5.6L                                                305                    24                —
1973      V8/5.6L    Opt                                         440                    24                —
1972      V8/5.6L    Opt                                         440                    27                —
1972-70   V8/5.6L                                                305                    25                —
1972-70   V8/5.6L    Opt                                         375                    24                —
1971-70   V8/6.3L                                                375                    24                —
1971-70   V8/6.3L    Opt                                         440                    27                —
1971-70   V8/7.0L                                                440                    27                —
1971-70   V8/7.2L                                                440                    27                —
Plymouth Duster
1976-74   V8/5.9L                                                370                    24                —
1976-74   V8/5.9L    Opt                                         460                    24                —
1976-70   V8/5.2L                                                370                    24                —
1976-70   V8/5.2L    Opt                                         460                    24                —
1974      V8/5.9L                                                305                    24                —
1973-70   V8/5.6L                                                370                    24                —
1973-70   V8/5.6L    Opt                                         460                    24                —
Plymouth Grand Voyager, Voyager
2000-96   L4/2.4L                                                600                    34                —
2000-90   V6/3.0L                                                500                    34                —
2000-90   V6/3.3L                                                500                    34                —
1999-96   L4/2.4L    Opt                                         685                    34                —
1999-94   V6/3.8L                                                600                    34                —
1999-94   V6/3.8L    Opt                                         685                    34                —
1999-91   V6/3.0L    Opt                                         685                    34                —
1999-91   V6/3.3L    Opt                                         685                    34                —
1995-92   L4/2.5L                                                600                    34                —
1995-91   L4/2.5L    Opt                                         685                    34                —
1991-90   L4/2.5L                                                500                    34                —
1990      L4/2.5L    Opt                                         625                    34                —
1990      V6/3.0L    Opt                                         625                    34                —
1990      V6/3.3L    Opt                                         625                    34                —
Plymouth Horizon
1990      L4/2.2L                                                430                    34                —
Plymouth Laser
1994-90 L4/1.8L                                                  430                    86                —
1994-90 L4/2.0L      Canada                                      525                    86                —
1994-90 L4/2.0L      US                                          430                    86                —
Plymouth Neon
2001-00 L4/2.0L                                                  450                    26R               —
2001-00 L4/2.0L      Opt                                         540                    26R               —
1999-95 L4/2.0L                                                  45035                  58                —
Plymouth Prowler
2001-99 V6/3.5L                                                  525                    34                —
1997    V6/3.5L                                                  525                    34                —
Plymouth Road Runner
1974      V8/5.9L                                                440                    27                —
1974-73   V8/5.2L                                                440                    27                —
1974-73   V8/6.6L                                                440                    27                —
1974-73   V8/7.2L                                                440                    27                —
1973      V8/5.6L                                                375                    24                —
1972      V8/5.2L                                                400                    24                —
1972      V8/6.6L                                                400                    24                —
1972-71   V8/5.6L                                                400                    24                —
1972-70   V8/7.2L                                                400                    24                —
1971      V8/6.3L                                                400                    24                —
1971      V8/7.0L                                                400                    24                —
1970-68   V8/6.3L                                                440                    27                —
1970-68   V8/7.0L                                                440                    27                —
1969      V8/7.2L                                                440                    27                —
1968      V8/4.5L                                                400                    24                —
1968      V8/5.2L                                                400                    24                —
Plymouth Satellite
1967-66 V8/7.2L                                                  N/A                    27                 —
1967-65 V8/7.0L                                                  N/A                    27                 —
                                                                See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                            129
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Plymouth Sundance
   1994-93     V6/3.0L                                                      500                    34                —
   1994-92     L4/2.5L                                                      600                    34                —
   1994-90     L4/2.2L                                                      500                    34                —
   1992        V6/3.0L                                                      600                    34                —
   1991        L4/2.5L                                                      625                    34                —
   1990        L4/2.5L                                                      500                    34                —
   Plymouth Superbird
   1970        V8/7.2L                                                      440                    27                —
   Plymouth Voyager (See Grand Voyager, Voyager)
   Pontiac 6000, Grand Am
   2005-99     V6/3.4L                                                      600                    75                —
   2005-02     L4/2.2L                                                      600                    75                —
   2004        L4/2.2L                                                      525                    75                —
   2001-96     L4/2.4L                                                      600                    75                —
   1998-94     V6/3.1L                                                      600                    75                —
   1995-93     L4/2.3L                                                      600                    75                —
   1993        V6/3.3L                                                      600                    75                —
   1992        V6/3.3L                                                      630                    75                —
   1992-88     L4/2.3L                                                      630                    75                —
   1991-90     V6/3.1L     Canada & Opt                                     630                    75                —
   1991-88     V6/3.1L                                                      525                    75                —
   1991-85     L4/2.5L                                                      630                    75                —
   Pontiac Aztek
   2005-01 V6/3.4L                                                          600                    78                —
   Pontiac Bonneville
   2005-04     V8/4.6L                                                      77050                  100               —
   2005-02     V6/3.8L                                                      77050                  100               —
   2003-02     V6/3.8L     S/C                                              80050, 51              79                —
   2001-00     V6/3.8L                                                      84050, 51              79                —
   1999-98     V6/3.8L     S/C                                              770                    78                —
   1999-95     V6/3.8L     Ex S/C                                           690                    78                —
   1997-92     V6/3.8L     Opt                                              770                    78                —
   1994-86     V6/3.8L                                                      630                    75                —
   1990        V6/3.8L     Opt                                              730                    78                —
   1969        V8/7.0L                                                      325                    24                —
   1968        V8/6.6L     w/High Comp                                      350                    24                —
   1968-67     V8/7.0L                                                      350                    27                —
   1967        V8/6.6L                                                      350                    27                —
   1967        V8/7.0L     Opt                                              350                    27                —
   1966        V8/6.4L                                                      350                    27                —
   1966        V8/6.4L     Opt                                              350                    27                —
   1966        V8/6.9L                                                      325                    24                —
   1965-63     V8/6.9L                                                      350                    27                —
   1965-59     V8/6.4L                                                      350                    27                —
   Pontiac Catalina
   1969        V8/7.0L                                                      325                    24                —
   1968-67     V8/6.6L                                                      250                    26R               —
   1968-67     V8/6.6L     Opt                                              350                    27                —
   1968-67     V8/7.0L                                                      250                    26R               —
   1968-67     V8/7.0L     Opt                                              350                    27                —
   1966        V8/6.4L                                                      250                    26R               —
   1966        V8/6.4L     Opt                                              350                    27                —
   Pontiac Firebird
   2002-95     V6/3.8L                                                      690                    —                 —
   2002-93     V8/5.7L                                                      525                    75                —
   1995-93     V6/3.4L                                                      525                    75                —
   1992-90     V6/3.1L                                                      525                    75                —
   1992-90     V8/5.0L     AT                                               570                    75                —
   1992-90     V8/5.0L     MT                                               525                    75                —
   1992-87     V8/5.7L                                                      630                    75                —
   1979        V8/4.9L                                                      350                    75                —
   1979        V8/4.9L     Opt                                              450                    78                —
   1979-78     V6/3.8L     Opt                                              450                    78                —
   1979-78     V8/5.0L                                                      350                    75                —
   1979-78     V8/5.0L     Opt                                              450                    78                —
   1979-78     V8/5.7L                                                      350                    75                —
   1979-78     V8/5.7L     Opt                                              450                    78                —
   1979-78     V8/6.6L                                                      430                    75                —
   1979-78     V8/6.6L     Opt                                              450                    78                —
   1977        V8/4.9L                                                      450                    78                —
   1977        V8/5.0L                                                      450                    78                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                      OPTIONS                ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

Pontiac Firebird (continued)
1977-73   V8/5.7L                                            450                    78                —
1977-73   V8/6.6L                                            450                    78                —
1976-73   L6/4.1L                                            450                    78                —
1976-73   V8/7.5L                                            450                    78                —
1972-71   V8/7.5L                                            325                    24                —
1972-68   L6/4.1L                                            325                    24                —
1972-68   V8/5.7L                                            325                    24                —
1972-67   V8/6.6L                                            325                    24                —
1967      L6/3.8L                                            350                    —                 —
Pontiac )LUHĠ\
2000-95   L3/1.0L                                            390                    26R               —
2000-94   L4/1.3L                                            390                    26R               —
1994      L3/1.0L                                            390                    —                 —
1991-90   L3/1.0L                                            440                    —                 —
Pontiac G3
2010-09 L4/1.6L                                              590                    86                —
Pontiac G3 Wave
2009      L4/1.6L                                            550                    86                —
Pontiac G5, Pursuit
2010-09 L4/2.2L                                              59050                  90 (T5)           —
2008-06 L4/2.4L                                              600                    90 (T5)           —
2008-05 L4/2.2L                                              60050                  90 (T5)           —
Pontiac G6
2010-08   L4/2.4L                                            590                    90 (T5)           —
2010-08   V6/3.5L                                            590                    90 (T5)           —
2009-08   V6/3.6L                                            590                    90 (T5)           —
2009-08   V6/3.9L                                            590                    90 (T5)           —
2007      V6/3.6L                                            525                    75                —
2007-06   L4/2.4L                                            525                    75                —
2007-06   V6/3.9L                                            525                    75                —
2007-05   V6/3.5L                                            525                    75                —
Pontiac G8
2009      V6/3.6L                                            72050                  H7 (94R)          H7 (94R) AGM
2009      V8/6.0L                                            72050                  H7 (94R)          H7 (94R) AGM
2009      V8/6.2L                                            72050                  H7 (94R)          H7 (94R) AGM
2008      V6/3.6L                                            70050                  H7 (94R)          H7 (94R) AGM
2008      V8/6.0L                                            70050                  H7 (94R)          H7 (94R) AGM
Pontiac Grand Am (See 6000, Grand Am)
Pontiac Grand Prix
2008      V8/5.3L                                            590                    —                  —
2008-06   V6/3.8L    w/AGM                                   69033                  34                 —
2007-05   V8/5.3L                                            625                    —                  —
2005-04   V6/3.8L    w/AGM                                   68033                  34                 —
2003-97   V6/3.8L    Ex S/C                                  690                    78                 —
2003-97   V6/3.8L    S/C                                     770                    78                 —
2003-96   V6/3.1L                                            600                    78                 —
1996      V6/3.4L                                            690                    78                 —
1995      V6/3.1L    Early                                   525                    75                 —
1995      V6/3.1L    Late                                    600                    78                 —
1995      V6/3.4L    Early                                   690                    —                  —
1995      V6/3.4L    Late                                    690                    78                 —
1994-91   V6/3.4L                                            690                    —                  —
1994-90   V6/3.1L                                            525                    75                 —
1991-90   L4/2.3L                                            630                    75                 —
1977      V8/4.9L                                            350                    75                 —
1977      V8/6.6L                                            450                    78                 —
1977-76   V8/5.7L                                            350                    75                 —
1977-76   V8/6.6L                                            350                    75                 —
1976      V8/7.5L                                            450                    78                 —
1975-73   V8/6.6L                                            450                    24                 —
1975-73   V8/6.6L    Side Terminal                           450                    78                 —
1975-73   V8/7.5L                                            450                    24                 —
1975-73   V8/7.5L    Side Terminal                           450                    78                 —
1972-70   V8/7.5L                                            325                    24                 —
1972-69   V8/6.6L                                            325                    24                 —
1969      V8/7.0L                                            325                    24                 —
1968-67   V8/6.6L                                            350                    27                 —
1968-67   V8/7.0L                                            350                    27                 —
1967      V8/7.0L    Opt                                     350                    27                 —
1966      V8/6.4L                                            350                    27                 —
                                                            See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                   131
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT         GROUP SIZE        ALTERNATE SIZE
                                                                                                       CCA/RATING              (NOTES)             (NOTES)

   Pontiac Grand Prix (continued)
   1966        V8/6.9L                                                                          250                      26R                —
   1966        V8/6.9L     Opt                                                                  350                      27                 —
   1965-63     V8/6.9L                                                                          350                      27                 —
   1965-63     V8/6.9L     Opt                                                                  N/A                      27                 —
   Pontiac GTO, Tempest
   2006-05     V8/6.0L                                                                          600                      —                  —
   2004        V8/5.7L                                                                          600                      —                  —
   1991-90     L4/2.2L     AT & Opt                                                             630                      75                 —
   1991-90     L4/2.2L     MT                                                                   525                      75                 —
   1991-90     V6/3.1L     AT                                                                   630                      75                 —
   1991-90     V6/3.1L     MT                                                                   525                      75                 —
   1973-71     V8/6.6L                                                                          465                      78                 —
   1973-71     V8/7.5L                                                                          465                      78                 —
   1970        V8/7.5L                                                                          325                      24                 —
   1970-68     L6/4.1L                                                                          250                      26R                —
   1970-68     V8/5.7L                                                                          325                      24                 —
   1970-67     V8/6.6L                                                                          325                      24                 —
   1967-63     V8/5.3L                                                                          325                      24                 —
   1966-64     V8/6.4L                                                                          325                      24                 —
   Pontiac LeMans, Optima
   1993-90 L4/1.6L                                                                              550                      —                  —
   1990    L4/2.0L                                                                              550                      —                  —
   1990    L4/2.0L         AT                                                                   630                      —                  —
   Pontiac Montana
   2009-06 V6/3.9L                                                                              600                      34                 —
   2006-05 V6/3.5L                                                                              600                      34                 —
   2005-99 V6/3.4L                                                                              600                      78                 —
   Pontiac Solstice
   2009-08     L4/2.0L                                                                          590                      86                 —
   2009-08     L4/2.4L                                                                          590                      86                 —
   2007        L4/2.0L                                                                          640                      86                 —
   2007        L4/2.4L                                                                          640                      86                 —
   2006        L4/2.4L                                                                          590                      86                 —
   Pontiac Sunbird
   1994-92 V6/3.1L                                                                              525                      75                 —
   1994-88 L4/2.0L                                                                              630                      75                 —
   1991    V6/3.1L                                                                              630                      75                 —
   Pontiac 6XQğUH
   2005-95     L4/2.2L                                                                          525                      75                 —
   2002        L4/2.4L                                                                          525                      75                 —
   2001-96     L4/2.4L                                                                          600                      75                 —
   1995        L4/2.3L                                                                          600                      75                 —
   Pontiac Sunrunner
   1997-95 L4/1.6L                                                                              390                      26R                —
   1994    L4/1.6L                                                                              500                      —                  —
   Pontiac Tempest (See GTO, Tempest)
   Pontiac Torrent
   2009-08 V6/3.6L                                                                              650                      —                  H5 (47) AGM
   2009-07 V6/3.4L                                                                              650                      —                  H5 (47) AGM
   2006    V6/3.4L                                                                              600                      75                 —
   Pontiac Trans Sport
   1999-97     V6/3.4L                                                                          600                      78                 —
   1996        V6/3.4L                                                                          525                      75                 —
   1995-92     V6/3.8L                                                                          630                      75                 —
   1995-90     V6/3.1L                                                                          525                      75                 —
   Pontiac Vibe
   2010-09 L4/2.4L                                                                              575                      24F                24F AGM
   2008-03 L4/1.8L                                                                              550                      35                 35 AGM
   Pontiac Wave, Wave 5
   2008-05 L4/1.6L                                                                              550                      86                 —
   2007-05 L4/1.6L                                                                              590                      86                 —
   Porsche 718 Boxster
   2020-17 H4/2.0L         PR Code 195                                                          70 AH                    H6 (48) AGM        —
   2020-17 H4/2.0L         PR Code 195                                                          70 AH                    H6 (48) AGM        —
   Porsche 718 Cayman
   2020-17 H4/2.0L         PR Code 195                                                          70 AH                    H6 (48) AGM        —
   2020-17 H4/2.5L         PR Code 195                                                          70 AH                    H6 (48) AGM        —
   2020    H4/2.0L         PR Code 195                                                          70 AH                    H6 (48) AGM        —
   See page 157 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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   YEAR        ENGINE                                                         OPTIONS              ORIGINAL EQUIPMENT       GROUP SIZE        ALTERNATE SIZE
                                                                                                       CCA/RATING            (NOTES)             (NOTES)

Porsche 911
2016        H6/4.0L                                                                              74050                  H8 (49)           H8 (49) AGM
2016-12     H6/3.4L                                                                              74050                  H8 (49)           H8 (49) AGM
2016-10     H6/3.8L                                                                              74050                  H8 (49)           H8 (49) AGM
2012        H6/3.4L      Option 1                                                                74050                  H8 (49)           H8 (49) AGM
2012-10     H6/3.6L                                                                              74050                  H8 (49)           H8 (49) AGM
2012-10     H6/3.8L      Option 1                                                                74050                  H8 (49)           H8 (49) AGM
2012-09     H6/3.6L      Option 1                                                                74050                  H8 (49)           H8 (49) AGM
2011        H6/4.0L                                                                              74050                  H8 (49)           H8 (49) AGM
2009-05     H6/3.6L                                                                              74050                  H7 (94R)          H7 (94R) AGM
2009-05     H6/3.8L                                                                              74050                  H7 (94R)          H7 (94R) AGM
2004-02     H6/3.6L      Ex GT2                                                                  650                    H7 (94R)          H7 (94R) AGM
2004-02     H6/3.6L      Ex GT2                                                                  7409, 50               H7 (94R)          H7 (94R) AGM
2004-02     H6/3.6L      GT2                                                                     6509, 50               —                 —
2004-01     H6/3.6L      GT2                                                                     65050                  H6 (48)           H6 (48) AGM
2001-99     H6/3.4L                                                                              65050                  H6 (48)           H6 (48) AGM
2001        H6/3.6L      Ex GT2                                                                  65050                  —                 —
1998-90     H6/3.6L                                                                              65050                  H6 (48)           H6 (48) AGM
1992        H6/3.3L                                                                              65054                  H6 (48)           H6 (48) AGM
1991        H6/3.3L      Turbo                                                                   65054                  H6 (48)           H6 (48) AGM
Porsche 928
1995-93 V8/5.4L                                                                                  650                    H6 (48)           H6 (48) AGM
1991-90 V8/5.0L                                                                                  650                    H6 (48)           H6 (48) AGM
Porsche 968
1995-92 L4/3.0L                                                                                  600                    —                 —
Porsche Boxster
2014-13     H6/2.7L                                                                              65050                  H7 (94R)          H7 (94R) AGM
2014-07     H6/3.4L                                                                              65050                  H7 (94R)          H7 (94R) AGM
2012-09     H6/2.9L                                                                              65050                  H7 (94R)          H7 (94R) AGM
2008-06     H6/2.7L                                                                              65050                  H7 (94R)          H7 (94R) AGM
2006        H6/3.2L                                                                              65050                  H7 (94R)          H7 (94R) AGM
2005-02     H6/2.7L      Opt                                                                     65050                  H7 (94R)          H7 (94R) AGM
2005-02     H6/3.2L      Opt                                                                     65050                  H7 (94R)          H7 (94R) AGM
2005-00     H6/2.7L                                                                              65050                  H6 (48)           H6 (48) AGM
2005-00     H6/3.2L                                                                              65050                  H6 (48)           H6 (48) AGM
1999-97     H6/2.5L                                                                              65050                  H6 (48)           H6 (48) AGM
Porsche Carrera GT
2005-04 V10/5.7L                                                                                 65054                  H6 (48)           H6 (48) AGM
Porsche Cayenne
2021-19     V6/2.9L      Li-ion Only                                                             60 Ah45, 50, 60        —                 —
2021-19     V6/3.0L      Li-ion Only                                                             60 Ah45, 50, 60        —                 —
2021-19     V8/4.0L      Li-ion Only                                                             60 Ah45, 50, 60        —                 —
2018        V6/3.0L      Early Hyb, PR Code J0B                                                  92 Ah33                H8 (49) AGM       —
2018        V6/3.0L      Early Hyb, PR Code J0P                                                  102 Ah33               H9 (95R) AGM      —
2018        V6/3.0L      Early Hyb, PR Code J1N                                                  75 Ah33                H7 (94R) AGM      —
2018        V6/3.0L      Late Hyb, Lithium ion only                                              N/A60                  —                 —
2018        V6/3.6L      Early, PR Code J0B                                                      92 Ah33                H8 (49) AGM       —
2018        V6/3.6L      Early, PR Code J0P                                                      102 Ah33               H9 (95R) AGM 48   —
2018        V6/3.6L      Early, PR Code J1N                                                      75 Ah33                H7 (94R) AGM      —
2018        V6/3.6L      Late, Lithium ion only                                                  N/A60                  —                 —
2018        V8/4.8L      Early, PR Code J0B                                                      92 Ah33                H8 (49) AGM       —
2018        V8/4.8L      Early, PR Code J0P                                                      102 Ah33               H9 (95R) AGM 48   —
2018        V8/4.8L      Early, PR Code J1N                                                      75 Ah33                H7 (94R) AGM      —
2018        V8/4.8L      Late, Lithium ion only                                                  N/A60                  —                 —
2017-11     V6/3.0L      PR Code J0B                                                             85050                  —                 H8 (49) AGM
2017-11     V6/3.0L      PR Code J0P                                                             102 Ah33               H9 (95R) AGM 48   —
2017-11     V6/3.0L      PR Code J1N                                                             65050                  H7 (94R)          H7 (94R) AGM
2017-11     V6/3.6L      PR Code J0B                                                             74050                  H8 (49)           H8 (49) AGM
2017-11     V6/3.6L      PR Code J0P                                                             102 Ah33               H9 (95R) AGM 48   —
2017-11     V6/3.6L      PR Code J1N                                                             65050                  H7 (94R)          H7 (94R) AGM
2017-11     V8/4.8L      PR Code J0B                                                             74050                  H8 (49)           H8 (49) AGM
2017-11     V8/4.8L      PR Code J0P                                                             102 Ah33               H9 (95R) AGM 48   —
2017-11     V8/4.8L      PR Code J1N                                                             65050                  H7 (94R)          H7 (94R) AGM
2016-13     V6/3.0L      PR Code J0B                                                             85050                  —                 H8 (49) AGM
2016-13     V6/3.0L      PR Code J0P                                                             102 Ah33               H9 (95R) AGM 48   —
2016-13     V6/3.0L      PR Code J1N                                                             65050                  H7 (94R)          H7 (94R) AGM
2010-08     V6/3.6L      PR Code J0L                                                             57050, 56, 58          H6 (48)           H6 (48) AGM
2010-08     V6/3.6L      PR Code J0Z                                                             N/A50, 56, 58          —                 H9 (95R) AGM
2010-08     V6/3.6L      PR Code J1U                                                             74050, 56, 58          H8 (49)           H8 (49) AGM
2010-08     V8/4.8L      PR Code J0L                                                             57050, 56, 58          H6 (48)           H6 (48) AGM
2010-08     V8/4.8L      PR Code J0Z                                                             N/A50, 56, 58          —                 H9 (95R) AGM
2008        V8/4.8L      PR Code J1U                                                             74050, 56, 58          H8 (49)           H8 (49) AGM
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 157 for Footnotes. Selection may vary by warehouse.

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                                                                                 Ram
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   Automotive/Light Truck                                                                                                                   133
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT         GROUP SIZE        ALTERNATE SIZE
                                                                                                       CCA/RATING              (NOTES)             (NOTES)

   Porsche Cayenne (continued)
   2006-04     V6/3.2L     PR Code J1U                                                          74050, 56, 58            H8 (49)            H8 (49) AGM
   2006-04     V6/3.2L     PR Code J0L                                                          57050, 56, 58            H6 (48)            H6 (48) AGM
   2006-04     V6/3.2L     PR Code J0Z                                                          N/A50, 56, 58            —                  H9 (95R) AGM
   2006-04     V6/3.2L     PR Code J2C                                                          N/A33, 50, 56, 58        H9 (95R) AGM       —
   2006-03     V8/4.5L     PR Code J1U                                                          74050                    H8 (49)            H8 (49) AGM
   2006-03     V8/4.5L     PR Code J0L                                                          57050, 56, 58            H6 (48)            H6 (48) AGM
   2006-03     V8/4.5L     PR Code J0Z                                                          N/A50, 56, 58            —                  H9 (95R) AGM
   2006-03     V8/4.5L     PR Code J2C                                                          N/A33, 50, 56, 58        H9 (95R) AGM       —
   Porsche Cayman
   2014        H6/2.7L                                                                          74050                    H8 (49)            H8 (49) AGM
   2014        H6/3.4L                                                                          74050                    H8 (49)            H8 (49) AGM
   2012-10     H6/3.4L                                                                          74050                    H8 (49)            H8 (49) AGM
   2012-09     H6/2.9L                                                                          74050                    H8 (49)            H8 (49) AGM
   2009-06     H6/3.4L                                                                          74050                    H7 (94R)           H7 (94R) AGM
   2008-07     H6/2.7L                                                                          74050                    H7 (94R)           H7 (94R) AGM
   Porsche Macan
   2020-17     L4/2.0L     PR Code J0B                                                          85033, 50, 55, 56, 58    H8 (49) AGM        —
   2020-17     L4/2.0L     PR Code J0P                                                          95033, 50, 55, 56, 58    H9 (95R) AGM       —
   2020        V6/2.9L     PR Code J0B                                                          85033, 50, 55, 56, 58    H8 (49) AGM        —
   2020        V6/2.9L     PR Code J0P                                                          95033, 50, 55, 56, 58    H9 (95R) AGM       —
   2020-15     V6/3.0L     PR Code J0B                                                          85033, 50, 55, 56, 58    H8 (49) AGM        —
   2020-15     V6/3.0L     PR Code J0P                                                          95033, 50, 55, 56, 58    H9 (95R) AGM       —
   2018-17     L4/2.0L     PR Code J1N                                                          80033, 50, 55, 56, 58    H7 (94R) AGM       —
   2018-16     V6/3.0L     PR Code J1N                                                          80033, 50, 55, 56, 58    H7 (94R) AGM       —
   2018-15     V6/3.6L     PR Code J0B                                                          85033, 50, 55, 56, 58    H8 (49) AGM        —
   2018-15     V6/3.6L     PR Code J0P                                                          95033, 50, 55, 56, 58    H9 (95R) AGM       —
   2018-16     V6/3.6L     PR Code J1N                                                          80033, 50, 55, 56, 58    H7 (94R) AGM       —
   Porsche Panamera
   2020-17     V6/2.9L     PR Code J0B                                                          85033, 50, 55, 56, 58    H8 (49) AGM        —
   2020-17     V6/2.9L     PR Code J0P                                                          95033, 50, 55, 56, 58    H9 (95R) AGM       —
   2020-17     V6/2.9L     PR Code J1N                                                          80033, 50, 55, 56, 58    H7 (94R) AGM       —
   2016-12     V6/3.0L     PR Code 197                                                          80033, 50, 55, 56, 58    H7 (94R) AGM       —
   2016-12     V6/3.0L     PR Code 200                                                          85033, 50, 55, 56, 58    H8 (49) AGM        —
   2016-12     V6/3.0L     PR Code 201                                                          95033, 50, 55, 56, 58    —                  —
   2020-17     V6/3.0L     PR Code J0B                                                          85033, 50, 55, 56, 58    H8 (49) AGM        —
   2020-17     V6/3.0L     PR Code J0P                                                          95033, 50, 55, 56, 58    H9 (95R) AGM       —
   2020-17     V6/3.0L     PR Code J1N                                                          80033, 50, 55, 56, 58    H7 (94R) AGM       —
   2016-11     V6/3.6L     PR Code 197                                                          80033, 50, 55, 56, 58    H7 (94R) AGM       —
   2016-11     V6/3.6L     PR Code 200                                                          85033, 50, 55, 56, 58    H8 (49) AGM        —
   2016-11     V6/3.6L     PR Code 201                                                          95033, 50, 55, 56, 58    H9 (95R) AGM       —
   2020-17     V8/4.0L     PR Code J0B                                                          85033, 50, 55, 56, 58    H8 (49) AGM        —
   2020-17     V8/4.0L     PR Code J0P                                                          95033, 50, 55, 56, 58    H9 (95R) AGM       —
   2020-17     V8/4.0L     PR Code J1N                                                          80033, 50, 55, 56, 58    H7 (94R) AGM       —
   2016-10     V8/4.8L     PR Code 197                                                          80033, 50, 55, 56, 58    H7 (94R) AGM       —
   2016-10     V8/4.8L     PR Code 200                                                          85033, 50, 55, 56, 58    H8 (49) AGM        —
   2016-10     V8/4.8L     PR Code 201                                                          95033, 50, 55, 56, 58    H9 (95R) AGM       —
   2014-11     V6/3.6L                                                                          74050                    H8 (49)            H8 (49) AGM
   2014-10     V8/4.8L                                                                          74050                    H8 (49)            H8 (49) AGM
   Porsche Taycan
   2021-20 Electric        Electric, Li-ion Only                                                40 Ah45, 60              —                  —
   Ram 1500
   2021-14     V6/3.0L     Dsl                                                                  80033                    H8 (49) AGM        —
   2020-13     V6/3.6L                                                                          730                      H7 (94R)           H7 (94R) AGM
   2020-11     V8/5.7L                                                                          730                      H7 (94R)           H7 (94R) AGM
   2013-11     V8/4.7L                                                                          730                      H7 (94R)           H7 (94R) AGM
   2012-11     V6/3.7L                                                                          730                      H7 (94R)           H7 (94R) AGM
   Ram 2500
   2021-11 L6/6.7L         Dsl                                                                  7302                     H7 (94R)           H7 (94R) AGM
   2020-14 V8/6.4L                                                                              730                      H7 (94R)           H7 (94R) AGM
   2018-11 V8/5.7L                                                                              730                      H7 (94R)           H7 (94R) AGM
   Ram 3500
   2021-11 L6/6.7L         Dsl                                                                  7302                     H7 (94R)           H7 (94R) AGM
   2020-14 V8/6.4L                                                                              730                      H7 (94R)           H7 (94R) AGM
   2018-11 V8/5.7L                                                                              730                      H7 (94R)           H7 (94R) AGM
   Ram C/V
   2015-12 V6/3.6L                                                                              730                      H7 (94R)           H7 (94R) AGM
   Ram Dakota
   2011        V6/3.7L                                                                          600                      65                 65 AGM
   2011        V6/3.7L     Opt                                                                  750                      65                 65 AGM
   2011        V8/4.7L                                                                          600                      65                 65 AGM
   2011        V8/4.7L     Opt                                                                  750                      65                 65 AGM
   See page 157 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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134                                                        Automotive/Light Truck
  YEAR      ENGINE                               OPTIONS              ORIGINAL EQUIPMENT       GROUP SIZE        ALTERNATE SIZE
                                                                          CCA/RATING            (NOTES)             (NOTES)

Ram ProMaster 1500
2021-14   V6/3.6L                                                   80050                  —                 H8 (49) AGM
2021-14   V6/3.6L    Opt                                            95033, 50              H9 (95R) AGM      —
2017      L4/3.0L    Dsl                                            80050                  —                 H8 (49) AGM
2017-14   L4/3.0L    Dsl, Opt                                       95033, 50              H9 (95R) AGM      —
2017-14   L4/3.0L    Dsl                                            800                    —                 H8 (49) AGM
2017-14   V6/3.6L    Opt                                            95033, 50              H9 (95R) AGM      —
2016-14   V6/3.6L                                                   800                    —                 H8 (49) AGM
Ram ProMaster 2500
2021-14   V6/3.6L                                                   80050                  —                 H8 (49) AGM
2021-14   V6/3.6L    Opt                                            95033, 50              H9 (95R) AGM      —
2018-17   L4/3.0L    Dsl                                            80050                  —                 H8 (49) AGM
2017-14   L4/3.0L    Dsl, Opt                                       95033, 50              H9 (95R) AGM      —
2016-14   L4/3.0L    Dsl                                            80050                  —                 H8 (49) AGM
Ram ProMaster 3500
2021-14   V6/3.6L                                                   80050                  —                 H8 (49) AGM
2021-14   V6/3.6L    Opt                                            95033, 50              H9 (95R) AGM      —
2018-14   L4/3.0L    Dsl                                            80050                  —                 H8 (49) AGM
2018-14   L4/3.0L    Dsl, Opt                                       95033, 50              H9 (95R) AGM      —
Ram ProMaster City
2019    L4/2.4L                                                     750                    H6 (48) AGM       —
2019-17 L4/2.4L                                                     750                    —                 —
Rolls-Royce Ghost
2015-10 V12/6.6L                                                    90033, 50, 54          H8 (49) AGM       —
Rolls-Royce Phantom
2015-04 V12/6.7L                                                    76033, 50, 54          H6 (48) AGM       —
2014-04 V12/6.7L     Opt                                            90033, 50, 54          H8 (49) AGM       —
Rolls-Royce Wraith
2015-14 V12/6.6L                                                    90033, 50, 54          H8 (49) AGM       —
Saab 900
1998-94   L4/2.0L                                                   520                    H5 (47)           H5 (47) AGM
1998-94   L4/2.3L                                                   520                    H5 (47)           H5 (47) AGM
1997-94   V6/2.5L                                                   520                    H5 (47)           H5 (47) AGM
1994      L4/2.1L                                                   520                    H5 (47)           H5 (47) AGM
1993-91   L4/2.1L                                                   405                    —                 —
1993-90   L4/2.0L                                                   405                    —                 —
Saab 9000
1998-94   L4/2.3L                                                   570                    —                 —
1998-94   L4/2.3L    Group 47 fits 9 1Ş2” tray                      52056                  —                 —
1997-95   V6/3.0L                                                   570                    —                 —
1997-95   V6/3.0L    Group 47 fits 9 1Ş2” tray                      52056                  —                 —
1993-92   L4/2.3L                                                   520                    H5 (47)           H5 (47) AGM
1991-90   L4/2.3L                                                   450                    H5 (47)           H5 (47) AGM
1991-90   L4/2.3L    Opt                                            450                    —                 —
1990-86   L4/2.0L                                                   450                    H5 (47)           H5 (47) AGM
1990-86   L4/2.0L    Opt                                            450                    —                 —
Saab 9-2X, 9-3, 9-3X, 9-4X, 9-5, 9-7X
2011      L4/2.0L    9-5                                            550                    —                 —
2011      V6/2.8L    9-4X                                           700                    H6 (48)           H6 (48) AGM
2011      V6/3.0L    9-4X                                           700                    H6 (48)           H6 (48) AGM
2011-10   L4/2.0L    9-3                                            70 Ah                  H6 (48)           H6 (48) AGM
2011-10   V6/2.8L    9-5                                            700                    H6 (48)           H6 (48) AGM
2011-08   L4/2.0L                                                   70 Ah                  H6 (48)           H6 (48) AGM
2009-08   L4/2.3L    9-5                                            70 Ah                  H6 (48)           H6 (48) AGM
2009-08   V8/6.0L    9-7X                                           600                    78                —
2009-06   V6/2.8L                                                   70 Ah50                H6 (48)           H6 (48) AGM
2009-05   L6/4.2L    9-7X                                           600                    78                —
2009-05   V8/5.3L    9-7X                                           600                    78                —
2007-99   L4/2.3L    9-5                                            520                    —                 —
2007-04   L4/2.0L                                                   70050                  H6 (48)           H6 (48) AGM
2007-04   L4/2.0L    Conv                                           60 Ah                  —                 —
2007-04   L4/2.3L                                                   700                    H6 (48)           H6 (48) AGM
2007-03   L4/2.0L    Sport Sedan                                    60 Ah                  —                 —
2006      H4/2.5L    9-2X Aero                                      550                    35                35 AGM
2005      H4/2.0L                                                   550                    25                —
2005      H4/2.0L    9-2X Aero                                      550                    25                —
2005      H4/2.5L                                                   550                    25                —
2005      H4/2.5L    9-2X Linear                                    550                    35                35 AGM
2003-99   V6/3.0L    9-5                                            520                    —                 —
2003      L4/2.0L    Conv                                           58040                  H5 (47)           H5 (47) AGM
2003      L4/2.0L    Sport Sedan                                    70050                  H6 (48)           H6 (48) AGM
                                                                   See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                            135
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Saab 9-2X, 9-3, 9-3X, 9-4X, 9-5, 9-7X (continued)
   2003-02     L4/2.3L                                                      70050                  H6 (48)           H6 (48) AGM
   2003-02     V6/3.0L                                                      700                    H6 (48)           H6 (48) AGM
   2002-99     L4/2.0L     Conv                                             520                    H5 (47)           H5 (47) AGM
   2002-99     L4/2.3L     Sedan                                            58040                  H5 (47)           H5 (47) AGM
   2002        L4/2.0L                                                      58040                  H5 (47)           H5 (47) AGM
   2001-99     L4/2.0L                                                      580                    —                 —
   2001-99     V6/3.0L                                                      650                    H6 (48)           H6 (48) AGM
   2001-00     L4/2.3L                                                      650                    H6 (48)           H6 (48) AGM
   1999        L4/2.3L                                                      700                    H6 (48)           H6 (48) AGM
   Saleen S7
   2006-02 V8/7.0L                                                          750                    34                —
   Saturn Astra
   2009-08 L4/1.8L                                                          600                    —                 —
   Saturn Aura
   2009        L4/2.4L                                                      600                    90 (T5)           —
   2009        V6/3.6L                                                      600                    90 (T5)           —
   2008        L4/2.4L                                                      590                    90 (T5)           —
   2008        V6/3.5L                                                      590                    90 (T5)           —
   2008        V6/3.6L                                                      590                    90 (T5)           —
   2007        L4/2.4L     XE                                               575                    75                —
   2007        L4/2.4L     XR                                               690                    —                 —
   2007        V6/3.5L                                                      690                    —                 —
   2007        V6/3.6L                                                      690                    —                 —
   Saturn Ion
   2007-06     L4/2.2L     From 6/2006                                      60050                  78                —
   2007-06     L4/2.4L     From 6/2006                                      60050                  78                —
   2007-04     L4/2.0L                                                      60050                  78                —
   2006        L4/2.2L     To 6/2006                                        60050                  —                 —
   2006        L4/2.4L     To 6/2006                                        60050                  —                 —
   2005-03     L4/2.2L                                                      60050                  —                 —
   Saturn L, LS, LW, SC, SL, SW
   2002-91 L4/1.9L                                                          525                    75                —
   2000    L4/2.2L                                                          525                    75                —
   2000    V6/3.0L                                                          525                    75                —
   Saturn L100
   2002        L4/2.2L                                                      600                    78                —
   2001        L4/2.2L                                                      525                    75                —
   Saturn L200
   2003-02 L4/2.2L                                                          600                    78                —
   2001    L4/2.2L                                                          525                    75                —
   Saturn L300
   2005-02 V6/3.0L                                                          600                    78                —
   2004    L4/2.2L                                                          600                    78                —
   2001    V6/3.0L                                                          525                    75                —
   Saturn LW200
   2003-02 L4/2.2L                                                          600                    78                —
   2001    L4/2.2L                                                          525                    75                —
   Saturn LW300
   2003-02 V6/3.0L                                                          600                    78                —
   2001    V6/3.0L                                                          525                    75                —
   Saturn Outlook
   2010    V6/3.6L                                                          66050                  H6 (48)           H6 (48) AGM
   2009-07 V6/3.6L                                                          73050                  H6 (48)           H6 (48) AGM
   Saturn Relay
   2007-06 V6/3.9L                                                          600                    34                —
   2006-05 V6/3.5L                                                          600                    34                —
   Saturn SC, SL, SW (See L, LS, LW, SC, SL, SW)
   Saturn Sky
   2010-07 L4/2.0L                                                          590                    86                —
   2010-07 L4/2.4L                                                          590                    86                —
   Saturn Vue
   2010-08     L4/2.4L                                                      650                    —                 H5 (47) AGM
   2010-08     V6/3.5L                                                      730                    H6 (48)           H6 (48) AGM
   2010-08     V6/3.6L                                                      730                    H6 (48)           H6 (48) AGM
   2007        L4/2.2L                                                      525                    75                —
   2007        L4/2.4L                                                      590                    86                —
   2007        V6/3.5L                                                      640                    86                —
   2006-04     L4/2.2L                                                      550                    75                —
   See page 157 for Footnotes. Selection may vary by warehouse.

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136                                                  Automotive/Light Truck
  YEAR      ENGINE                         OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                    CCA/RATING             (NOTES)            (NOTES)

Saturn Vue (continued)
2006-04 V6/3.5L                                               590                    86                —
2003-02 L4/2.2L                                               600                    75                —
2003-02 V6/3.0L                                               600                    75                —
Scion FR-S
2016    H4/2.0L                                               430                    35                35 AGM
2015-13 H4/2.0L                                               430                    35                35 AGM
Scion iA
2016      L4/1.5L                                             N/A                    35                35 AGM
Scion iM
2016      L4/1.8L                                             N/A                    35                35 AGM
Scion iQ
2015-12 L4/1.3L                                               295                    51                —
2015-12 L4/1.3L      Opt, Cold Climate                        320                    35                35 AGM
2014    L4/1.3L      Cold Climate Pkg                         320                    25                —
Scion tC
2016    L4/2.5L                                               530                    24F               24F AGM
2015-11 L4/2.5L                                               575                    24F               24F AGM
2010-05 L4/2.4L                                               575                    24                —
Scion xA
2006-04 L4/1.5L                                               550                    25                —
Scion xB
2015-08   L4/2.4L                                             575                    24F               24F AGM
2014-10   L4/2.4L                                             585                    24F               24F AGM
2009-08   L4/2.4L                                             550                    24F               24F AGM
2006-04   L4/1.5L                                             550                    25                —
Smart Fortwo
2016                 Electric, Opt                            68033, 50, 54          —                 —
2016      L3/0.9L                                             48050, 54              H5 (47)           H5 (47) AGM
2016      L3/0.9L    Opt                                      68033, 50, 54          —                 —
2016      L3/0.9L    AGM, Opt                                 68033, 50, 54          —                 —
2016-12              AGM, Opt                                 68033, 50, 54          —                 —
2016-11              Electric                                 48050, 54              H5 (47)           H5 (47) AGM
2015      L3/1.0L                                             68033, 50, 54          —                 —
2015-12   L3/1.0L                                             48050, 54              H5 (47)           H5 (47) AGM
2015-08   L3/1.0L    w/o AGM                                  48050, 54              H5 (47)           H5 (47) AGM
2014-08   L3/1.0L    Opt                                      68033, 50, 54          —                 —
2011                 Electric, Opt                            68033, 50, 54          —                 —
2010-08   L3/1.0L                                             48050, 54              H5 (47)           H5 (47) AGM
2007-05   L3/0.8L                                             54050, 54              —                 —
Sterling 827
1991-89 V6/2.7L                                               675                    —                 —
Subaru Ascent
2020-19 H4/2.4L                                               550                    35                35 AGM
Subaru B9 Tribeca
2007-06 H6/3.0L                                               490                    35                35 AGM
Subaru Baja
2006-03 H4/2.5L      AT                                       490                    35                35 AGM
2006-03 H4/2.5L      MT                                       430                    35                35 AGM
Subaru BRZ
2020-13 H4/2.0L                                               550                    35                35 AGM
Subaru Crosstrek
2020    H4/2.0L      Gas, w/o Start-Stop                      550                    35                35 AGM
2020-19 H4/2.0L      Hybrid                                   390                    35                35 AGM
2019-16 H4/2.0L                                               390                    35                35 AGM
Subaru Forester
2018-16   H4/2.0L                                             390                    35                35 AGM
2018-16   H4/2.5L                                             390                    35                35 AGM
2015-14   H4/2.0L                                             550                    35                35 AGM
2015-10   H4/2.5L                                             550                    35                35 AGM
2009-08   H4/2.5L                                             490                    35                35 AGM
2007      H4/2.5L                                             500                    35                35 AGM
2006      H4/2.5L    AT                                       490                    35                35 AGM
2006      H4/2.5L    MT                                       360                    35                35 AGM
2005-98   H4/2.5L    AT or HD                                 520                    35                35 AGM
2005      H4/2.5L    MT                                       430                    35                35 AGM
2004-98   H4/2.5L    MT                                       360                    35                35 AGM
                                                             See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                  137
      YEAR        ENGINE                                          OPTIONS                         ORIGINAL EQUIPMENT         GROUP SIZE         ALTERNATE SIZE
                                                                                                      CCA/RATING              (NOTES)              (NOTES)

   Subaru Impreza
   2020-12     H4/2.0L                                                                         550                      35                  35 AGM
   2014-10     H4/2.5L                                                                         550                      35                  35 AGM
   2009-01     H4/2.5L                                                                         520                      35                  35 AGM
   2006        H4/2.5L     AT                                                                  490                      35                  35 AGM
   2006        H4/2.5L     MT                                                                  420                      35                  35 AGM
   2005-98     H4/2.5L     AT                                                                  520                      35                  35 AGM
   2005        H4/2.0L     AT                                                                  520                      35                  35 AGM
   2005        H4/2.0L     MT                                                                  430                      35                  35 AGM
   2005        H4/2.5L     MT                                                                  430                      35                  35 AGM
   2004-98     H4/2.5L     MT                                                                  360                      35                  35 AGM
   2004-02     H4/2.0L     AT                                                                  420                      35                  35 AGM
   2004-02     H4/2.0L     MT                                                                  360                      35                  35 AGM
   2001-95     H4/2.2L     AT                                                                  520                      35                  35 AGM
   2001-95     H4/2.2L     MT                                                                  360                      35                  35 AGM
   1997-93     H4/1.8L     AT                                                                  520                      35                  35 AGM
   1997-93     H4/1.8L     MT                                                                  360                      35                  35 AGM
   Subaru Justy
   1995    L3/1.2L                                                                             550                      35                  35 AGM
   1994-90 L3/1.2L                                                                             420                      35                  35 AGM
   Subaru Legacy, Outback
   2020        H4/2.4L                                                                         620                      —                   H5 (47) AGM
   2020        H4/2.5L                                                                         620                      —                   H5 (47) AGM
   2019-16     H4/2.5L                                                                         355                      25                  —
   2019-10     H6/3.6L                                                                         490                      25                  —
   2015-10     H4/2.5L                                                                         490                      25                  —
   2009-07     H4/2.5L                                                                         490                      35                  35 AGM
   2009-07     H6/3.0L                                                                         490                      35                  35 AGM
   2008        H4/2.5L     Legacy                                                              430                      35                  35 AGM
   2008-00     H4/2.5L     Opt                                                                 430                      —                   —
   2006-99     H4/2.5L     MT                                                                  430                      35                  35 AGM
   2006-96     H4/2.5L     AT                                                                  490                      35                  35 AGM
   2006        H6/3.0L     AT                                                                  490                      35                  35 AGM
   2005-01     H6/3.0L                                                                         490                      35                  35 AGM
   1999        H4/2.2L     AT, HD                                                              430                      35                  35 AGM
   1999-97     H4/2.2L     AT                                                                  490                      35                  35 AGM
   1999-95     H4/2.2L     Opt                                                                 430                      —                   —
   1998        H4/2.2L     MT                                                                  430                      35                  35 AGM
   1998-96     H4/2.5L     Opt                                                                 430                      35                  35 AGM
   1997-96     H4/2.5L     MT                                                                  355                      35                  35 AGM
   1997-95     H4/2.2L     MT                                                                  355                      35                  35 AGM
   1996-95     H4/2.2L     AT, HD                                                              490                      35                  35 AGM
   1994-91     H4/2.2L     AT & Turbo                                                          490                      35                  35 AGM
   1994-90     H4/2.2L                                                                         550                      35                  35 AGM
   1994-90     H4/2.2L     MT, Ex Turbo                                                        355                      35                  35 AGM
   1994-90     H4/2.2L     Opt                                                                 430                      35                  35 AGM
   Subaru Loyale
   1994-91     H4/1.8L     MT                                                                  305                      25                  —
   1994-90     H4/1.8L     AT                                                                  420                      25                  —
   1990        H4/1.8L     MT                                                                  310                      25                  —
   1990        H4/1.8L     Turbo, AT                                                           490                      24                  —
   Subaru Outback (See Legacy, Outback)
   Subaru SVX
   1997-92 H6/3.3L                                                                             585                      24                  —
   Subaru Tribeca
   2014-08 H6/3.6L                                                                             490                      35                  35 AGM
   Subaru WRX
   2020-19 H4/2.0L                                                                             550                      35                  35 AGM
   2019-15 H4/2.0L                                                                             390                      35                  35 AGM
   2014-13 H4/2.5L                                                                             390                      35                  35 AGM
   Subaru WRX STI
   2020-19     H4/2.5L                                                                         550                      35                  35 AGM
   2019-17     H4/2.5L                                                                         390                      35                  35 AGM
   2016        H4/2.5L                                                                         39045                    35                  35 AGM
   2015        H4/2.5L                                                                         39045                    35                  35 AGM
   2015-13     H4/2.5L                                                                         390                      35                  35 AGM
   2014-13     H4/2.5L                                                                         390                      35                  35 AGM
   Subaru XT
   1991    H4/1.8L         AT                                                                  405                      25                  —
   1991    H6/2.7L         AT                                                                  490                      25                  —
   1991-90 H4/1.8L         MT                                                                  310                      25                  —
   See page 157 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet

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   YEAR        ENGINE                                                         OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                                       CCA/RATING             (NOTES)            (NOTES)

Subaru XT (continued)
1991-90 H6/2.7L          MT                                                                      350                    25                —
1990    H4/1.8L          AT, Ex Turbo                                                            490                    25                —
Subaru XV Crosstrek
2015-14 H4/2.0L          Hybrid                                                                  N/A                    —                 —
2015-13 H4/2.0L          Gas                                                                     390                    35                35 AGM
Sunbeam Tiger
1967    V8/4.7L          Ex Sport Sedan                                                          325                    24                —
1967-64 V8/4.3L          Ex Sport Sedan                                                          325                    24                —
1967-64 V8/4.3L          Opt                                                                     350                    27                —
Suzuki Aerio
2007-04 L4/2.3L                                                                                  700                    24F               24F AGM
2003-02 L4/2.0L                                                                                  700                    24F               24F AGM
Suzuki Equator
2012-09 L4/2.5L                                                                                  550                    24F               24F AGM
2012-09 V6/4.0L                                                                                  550                    24F               24F AGM
Suzuki Esteem
2002-99 L4/1.8L                                                                                  440                    26R               —
2001    L4/1.6L                                                                                  540                    26R               —
2000-95 L4/1.6L                                                                                  440                    26R               —
Suzuki Forenza
2008-04 L4/2.0L                                                                                  61011                  86                —
Suzuki Grand Vitara
2013-09     L4/2.4L                                                                              700                    24F               24F AGM
2010-09     V6/3.2L                                                                              700                    24F               24F AGM
2008-06     V6/2.7L                                                                              700                    24F               24F AGM
2005-04     V6/2.5L                                                                              700                    24F               24F AGM
2003-99     V6/2.5L                                                                              550                    —                 —
2001        V6/2.7L                                                                              550                    24F               24F AGM
Suzuki Kizashi
2013-10 L4/2.4L                                                                                  700                    24F               24F AGM
Suzuki Reno
2008-05 L4/2.0L                                                                                  61011                  86                —
Suzuki Samurai
1995-90 L4/1.3L                                                                                  405                    51                —
Suzuki Sidekick
1998-96 L4/1.6L                                                                                  390                    26R               —
1998-96 L4/1.8L                                                                                  550                    —                 —
1995-90 L4/1.6L                                                                                  405                    51                —
Suzuki Swift
2001-95     L4/1.3L                                                                              440                    26R               —
1994-92     L3/1.0L                                                                              435                    51                —
1994-90     L4/1.3L                                                                              435                    51                —
1993-92     L4/1.6L                                                                              435                    51                —
Suzuki Swift+
2009-04 L4/1.6L                                                                                  550                    86                —
Suzuki SX4, SX4 Crossover
2013-07 L4/2.0L                                                                                  700                    24                —
Suzuki Verona
2006-04 L6/2.5L                                                                                  70011                  —                 —
Suzuki Vitara
2004        V6/2.5L                                                                              600                    —                 —
2003-99     L4/2.0L                                                                              550                    —                 —
2002        L4/1.6L                                                                              540                    26R               —
2001-99     L4/1.6L                                                                              550                    —                 —
Suzuki X-90
1998-96 L4/1.6L                                                                                  440                    26R               —
Suzuki XL7
2009-07 V6/3.6L                                                                                  650                    —                 H5 (47) AGM
2006-04 V6/2.7L                                                                                  700                    24F               24F AGM
2003-02 V6/2.7L                                                                                  550                    —                 —
Toyota 4Runner
2021-03     V6/4.0L                                                                              585                    24F                24F AGM
2010-96     L4/2.7L                                                                              585                    24F                24F AGM
2010        L4/2.7L      HD or Cold Climate                                                      710                    27F                —
2009-03     V6/4.0L      HD or Cold Climate                                                      710                    27F                —
2009-03     V8/4.7L                                                                              585                    24F                24F AGM
2009-03     V8/4.7L      HD or Cold Climate                                                      710                    27F                —
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet              See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                  139
      YEAR        ENGINE                                          OPTIONS                         ORIGINAL EQUIPMENT         GROUP SIZE       ALTERNATE SIZE
                                                                                                      CCA/RATING              (NOTES)            (NOTES)

   Toyota 4Runner (continued)
   2002-01     V6/3.4L                                                                         585                      24F                 24F AGM
   2002-01     V6/3.4L     Opt                                                                 710                      27F                 —
   2000-96     V6/3.4L                                                                         360                      35                  35 AGM
   2000-96     V6/3.4L     Opt                                                                 585                      24F                 24F AGM
   1995-91     L4/2.4L                                                                         360                      25                  —
   1995-91     L4/2.4L     Opt                                                                 585                      24                  —
   1995-91     V6/3.0L                                                                         360                      25                  —
   1995-91     V6/3.0L     Opt                                                                 585                      24                  —
   1990        L4/2.4L                                                                         350                      25                  —
   1990        V6/3.0L                                                                         585                      24                  —
   Toyota 86
   2020-18 H4/2.0L                                                                             390                      35                  35 AGM
   Toyota Avalon
   2020-19     L4/2.5L     Hybrid                                                              35550                    H5 (47)             H5 (47) AGM
   2020-19     V6/3.5L                                                                         605                      H6 (48)             H6 (48) AGM
   2018-16     L4/2.5L     Hybrid                                                              35533, 45, 50, 61        —                   —
   2018-05     V6/3.5L                                                                         585                      24F                 24F AGM
   2016        L4/2.5L     Hybrid                                                              585                      24F                 24F AGM
   2015        L4/2.5L     Hybrid                                                              35533, 50                —                   —
   2015        L4/2.5L     Hybrid, w/Mayday System                                             45033, 50                —                   —
   2015-05     V6/3.5L     Opt                                                                 390                      35                  35 AGM
   2014-13     L4/2.5L     Hybrid                                                              35533, 50, 54            —                   —
   2014-13     L4/2.5L     Hybrid, w/Mayday System                                             45033, 45, 50, 61        —                   —
   2011-05     V6/3.5L     Alt                                                                 310                      35                  35 AGM
   2004-03     V6/3.0L                                                                         585                      24F                 24F AGM
   2004-03     V6/3.0L     Opt                                                                 390                      35                  35 AGM
   2002-95     V6/3.0L     Canada & Opt                                                        585                      24F                 24F AGM
   2002        V6/3.0L     US                                                                  390                      35                  35 AGM
   2001-95     V6/3.0L     US                                                                  360                      35                  35 AGM
   Toyota Camry, Solara
   2020        L4/2.5L     Gas                                                                 58550                    H5 (47)             H5 (47) AGM
   2020        L4/2.5L     Hybrid w/Moonroof                                                   58550                    H5 (47)             H5 (47) AGM
   2019-18     L4/2.5L     Gas                                                                 605                      H6 (48)             H6 (48) AGM
   2020-18     L4/2.5L     Hybrid                                                              34550                    H5 (47)             H5 (47) AGM
   2020-19     L4/2.5L     Hybrid                                                              34550                    H5 (47)             H5 (47) AGM
   2019-18     L4/2.5L     Hybrid w/Moonroof                                                   35550                    H5 (47)             H5 (47) AGM
   2019-18     V6/3.5L                                                                         605                      H6 (48)             H6 (48) AGM
   2017-16     L4/2.5L     Hybrid w/Moonroof                                                   45033, 45, 50, 61        —                   —
   2017-12     L4/2.5L     Gas                                                                 585                      24F                 24F AGM
   2017-12     L4/2.5L     Hybrid                                                              35533, 45, 50, 61        —                   —
   2017-07     V6/3.5L                                                                         585                      24F                 24F AGM
   2015        L4/2.5L     Hybrid                                                              35533, 50                —                   —
   2015        L4/2.5L     Hybrid w/Moonroof                                                   45033, 50                —                   —
   2011        L4/2.4L     Hybrid w/Moonroof                                                   N/A33, 50                —                   —
   2011-10     L4/2.5L                                                                         585                      24F                 24F AGM
   2010-07     L4/2.4L     Hybrid                                                              N/A33, 50                —                   —
   2009        L4/2.4L     Opt, w/o Cold Climate                                               390                      35                  35 AGM
   2009-07     L4/2.4L     Hybrid                                                              N/A33, 45, 50, 61        —                   —
   2009-04     L4/2.4L     Gas                                                                 585                      24F                 24F AGM
   2008        L4/2.4L     Opt                                                                 390                      35                  35 AGM
   2008-07     V6/3.3L                                                                         585                      24F                 24F AGM
   2008-02     L4/2.4L     Cold Climate                                                        585                      24F                 24F AGM
   2007-02     L4/2.4L                                                                         390                      35                  35 AGM
   2006-05     V6/3.0L                                                                         585                      24F                 24F AGM
   2006-04     V6/3.0L     Cold Climate                                                        585                      24F                 24F AGM
   2006-04     V6/3.0L     w/o Cold Climate                                                    390                      35                  35 AGM
   2006-04     V6/3.3L     Cold Climate                                                        585                      24F                 24F AGM
   2006-04     V6/3.3L     w/o Cold Climate                                                    390                      35                  35 AGM
   2003-02     L4/2.4L                                                                         360                      35                  35 AGM
   2003-02     L4/2.4L     Opt                                                                 585                      24F                 24F AGM
   2003-02     L4/2.4L     US                                                                  360                      35                  35 AGM
   2003-02     V6/3.0L     US                                                                  390                      35                  35 AGM
   2003-01     V6/3.0L     Canada & Opt                                                        585                      24F                 24F AGM
   2002        V6/3.0L     Canada or Opt                                                       585                      24F                 24F AGM
   2001        L4/2.2L     Canada & Opt                                                        585                      24F                 24F AGM
   2001        L4/2.2L     US                                                                  360                      35                  35 AGM
   2001        V6/3.0L     US                                                                  360                      35                  35 AGM
   2000-95     V6/3.0L     Canada & Cold Climate                                               585                      24F                 24F AGM
   2000-92     L4/2.2L                                                                         360                      35                  35 AGM
   2000-92     L4/2.2L     Opt                                                                 585                      24F                 24F AGM
   2000-92     V6/3.0L                                                                         360                      35                  35 AGM
   1994-92     V6/3.0L     Opt                                                                 585                      24F                 24F AGM
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   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                                        CCA/RATING             (NOTES)            (NOTES)

Toyota Camry, Solara (continued)
1991-90     L4/2.0L      Japan Production                                                        350                     35                35 AGM
1991-90     L4/2.0L      US                                                                      330                     35                35 AGM
1991-90     V6/2.5L      Japan Production                                                        350                     35                35 AGM
1991-90     V6/2.5L      US                                                                      330                     35                35 AGM
Toyota Celica
2005-00     L4/1.8L                                                                              310                     35                35 AGM
2004-02     L4/1.8L      Opt                                                                     360                     35                35 AGM
2001-94     L4/1.8L      Opt                                                                     420                     35                35 AGM
1999-95     L4/2.2L      Opt                                                                     420                     35                35 AGM
1999-92     L4/2.2L                                                                              360                     35                35 AGM
1997-94     L4/1.8L                                                                              360                     35                35 AGM
1993-92     L4/2.0L                                                                              360                     35                35 AGM
1993-92     L4/2.2L      Opt                                                                     490                     24F               24F AGM
1993-90     L4/1.6L                                                                              360                     35                35 AGM
1991-90     L4/2.2L                                                                              350                     35                35 AGM
1991-86     L4/2.0L      FWD                                                                     350                     35                35 AGM
Toyota C-HR
2019-18 L4/2.0L                                                                                  345                     H5 (47)           H5 (47) AGM
Toyota Corolla
2021-20     L4/1.8L                                                                              210                     —                 —
2021-19     L4/2.0L                                                                              345                     H5 (47)           H5 (47) AGM
2019-09     L4/1.8L                                                                              355                     35                35 AGM
2012-11     L4/2.4L                                                                              585                     24F               24F AGM
2010-09     L4/2.4L                                                                              575                     24F               24F AGM
2008-06     L4/1.8L                                                                              420                     35                35 AGM
2005-04     L4/1.8L                                                                              310                     35                35 AGM
2003-95     L4/1.8L                                                                              360                     35                35 AGM
1997-95     L4/1.6L      Opt                                                                     310                     35                35 AGM
1996        L4/1.6L      Standard Battery                                                        360                     35                35 AGM
1994        L4/1.6L                                                                              310                     35                35 AGM
1994-93     L4/1.8L                                                                              310                     35                35 AGM
1994-93     L4/1.8L      Opt                                                                     360                     35                35 AGM
1994-90     L4/1.6L      Opt                                                                     350                     35                35 AGM
1993-91     L4/1.6L      Opt                                                                     310                     35                35 AGM
1993-90     L4/1.6L                                                                              310                     35                35 AGM
Toyota Corolla iM
2018-17 L4/1.8L                                                                                  355                     35                35 AGM
Toyota Cressida
1992-90 L6/3.0L                                                                                  450                     27F               —
Toyota Echo
2005-03     L4/1.5L                                                                              420                     25                —
2002        L4/1.5L      Canada & Opt                                                            360                     25                —
2002-00     L4/1.5L      US                                                                      310                     25                —
2001        L4/1.5L      Canada & Opt                                                            420                     25                —
Toyota FJ Cruiser
2014    V6/4.0L                                                                                  585                     24F               24F AGM
2013-11 V6/4.0L                                                                                  585                     24F               24F AGM
2010-07 V6/4.0L                                                                                  710                     27F               —
Toyota Highlander
2021-20     L4/2.5L      Hybrid                                                                  34550                   H5 (47)           H5 (47) AGM
2021-20     V6/3.5L                                                                              605                     H6 (48)           H6 (48) AGM
2019        V6/3.5L      Gas w/Start-Stop                                                        58545                   24F               24F AGM
2019-16     V6/3.5L      Hybrid                                                                  36033, 45, 50, 61       —                 —
2019-09     L4/2.7L                                                                              585                     24F               24F AGM
2018-11     V6/3.5L      Gas                                                                     585                     24F               24F AGM
2017        V6/3.5L      US, Gas                                                                 585                     24F               24F AGM
2016        V6/3.5L      Hybrid                                                                  585                     24F               24F AGM
2015-11     V6/3.5L      Hybrid                                                                  36033, 50               —                 —
2014-08     V6/3.5L                                                                              585                     24F               24F AGM
2010-06     V6/3.3L      Hybrid                                                                  435                     51R               —
2007-04     V6/3.3L                                                                              585                     24F               24F AGM
2007-01     L4/2.4L                                                                              585                     24F               24F AGM
2003-01     V6/3.0L                                                                              585                     24F               24F AGM
Toyota Land Cruiser
2020-13     V8/5.7L                                                                              710                     27F               —
2011-08     V8/5.7L                                                                              710                     27F               —
2007-01     V8/4.7L                                                                              710                     27F               —
2000-98     V8/4.7L                                                                              575                     24F               24F AGM
1997-93     L6/4.5L                                                                              450                     24F               24F AGM
1997-93     L6/4.5L      Canada & Opt                                                            625                     27F               —
1992-90     L6/4.0L                                                                              450                     27                —
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet              See page 157 for Footnotes. Selection may vary by warehouse.

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      YEAR        ENGINE                                                    OPTIONS                         ORIGINAL EQUIPMENT         GROUP SIZE         ALTERNATE SIZE
                                                                                                                CCA/RATING              (NOTES)              (NOTES)

   Toyota Matrix
   2013-09 L4/2.4L                                                                                       575                      24F                 24F AGM
   2008-03 L4/1.8L                                                                                       550                      35                  35 AGM
   Toyota Mirai
   2020-16                 Electric/Hydrogen                                                             36033, 45, 50, 61        —                   —
   Toyota MR2
   1995-93     L4/2.0L                                                                                   360                      35                  35 AGM
   1995-93     L4/2.0L     Opt                                                                           490                      24F                 24F AGM
   1995-93     L4/2.2L                                                                                   490                      24F                 24F AGM
   1992-91     L4/2.0L                                                                                   350                      35                  35 AGM
   1992-91     L4/2.2L                                                                                   350                      35                  35 AGM
   Toyota MR2 Spyder
   2005-00 L4/1.8L                                                                                       430                      51R                 —
   Toyota Paseo
   1999-98     L4/1.5L                                                                                   550                      25                  —
   1997        L4/1.5L     Opt                                                                           360                      25                  —
   1997-92     L4/1.5L                                                                                   310                      25                  —
   1996-93     L4/1.5L     Opt                                                                           410                      25                  —
   1992        L4/1.5L     Canada & Opt                                                                  350                      25                  —
   Toyota Pickup, T100
   1998-95     V6/3.4L                                                                                   585                      24F                 24F AGM
   1998-94     L4/2.7L                                                                                   585                      24F                 24F AGM
   1995-91     L4/2.4L     Canada & Opt                                                                  585                      24                  —
   1995-91     L4/2.4L     US                                                                            360                      25                  —
   1995-91     V6/3.0L     Canada & Opt                                                                  585                      24                  —
   1995-91     V6/3.0L     US                                                                            360                      25                  —
   1990        L4/2.4L                                                                                   320                      25                  —
   1990        L4/2.4L     Opt                                                                           350                      25                  —
   1990        V6/3.0L                                                                                   585                      24                  —
   1990        V6/3.0L     Opt                                                                           350                      25                  —
   Toyota Previa
   1997-91 L4/2.4L                                                                                       360                      35                  35 AGM
   1997-91 L4/2.4L         Opt                                                                           585                      24F                 24F AGM
   Toyota Prius
   2020-18     L4/1.8L     Hybrid                                                                        295                      —                   —
   2017-16     L4/1.8L     Hybrid                                                                        480                      —                   —
   2015-10     L4/1.8L     Hybrid                                                                        32533, 45, 50            S46B AGM            —
   2014        L4/1.8L     Plug in                                                                       36033, 50                S46B AGM            —
   2009-04     L4/1.5L     HD, Opt or Smart Key                                                          32533, 45, 50            S46B AGM            —
   2009-04     L4/1.5L     w/o Smart Key                                                                 27033, 50                —                   —
   2003-01     L4/1.5L                                                                                   27033, 50                —                   —
   Toyota Prius AWD-e
   2020-19 L4/1.8L         Hybrid                                                                        295                      —                   —
   Toyota Prius c
   2019    L4/1.5L         Hybrid                                                                        28045, 50                —                   —
   2017-12 L4/1.5L         Hybrid                                                                        27033, 45, 50            —                   —
   Toyota Prius Plug-In
   2015-12 L4/1.8L         Hybrid                                                                        32533, 45, 50            S46B AGM            —
   Toyota Prius Prime
   2020-18 L4/1.8L         Hybrid                                                                        295                      —                   —
   2017    L4/1.8L         Hybrid                                                                        480                      —                   —
   Toyota Prius v
   2018-12 L4/1.8L         Hybrid                                                                        32533, 45, 50            S46B AGM            —
   Toyota RAV4
   2020-19     L4/2.5L     Gas w/o Start-Stop                                                            565                      —                   H5 (47) AGM
   2020-19     L4/2.5L     Gas w/Start-Stop                                                              60550, 59                —                   —
   2020-19     L4/2.5L     Hybrid w/Wireless Smart door lock, Opt Audio                                  34550                    H5 (47)             H5 (47) AGM
   2020-19     L4/2.5L     Hybrid w/o Wireless Smart door lock, Opt Audio                                28550                    —                   —
   2018-16     L4/2.5L     Gas                                                                           355                      35                  35 AGM
   2018-16     L4/2.5L     Hybrid, w/o Premium Sound System                                              32533, 45, 50, 61        —                   —
   2018-16     L4/2.5L     Hybrid, w/ Premium Sound System                                               35533, 45, 50, 61        —                   —
   2015        L4/2.5L                                                                                   355                      35                  35 AGM
   2014        L4/2.5L                                                                                   356                      35                  35 AGM
   2014-12                 Electric                                                                      35545                    35                  35 AGM
   2013-09     L4/2.5L                                                                                   585                      24F                 24F AGM
   2012-06     V6/3.5L                                                                                   585                      24F                 24F AGM
   2008-04     L4/2.4L                                                                                   585                      24F                 24F AGM
   2003-01     L4/2.0L                                                                                   420                      35                  35 AGM
   2000-96     L4/2.0L                                                                                   360                      35                  35 AGM
   See page 157 for Footnotes. Selection may vary by warehouse.                       Note: PR Codes are located on a tag near the spare tire or in the warranty booklet

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  YEAR      ENGINE                           OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                      CCA/RATING             (NOTES)          (NOTES)

Toyota Sequoia
2020-08   V8/5.7L                                               710                    27F               —
2012-10   V8/4.6L                                               710                    27F               —
2009-04   V8/4.7L                                               710                    27F               —
2003-02   V8/4.7L    Opt                                        710                    27F               —
2003-01   V8/4.7L                                               585                    24F               24F AGM
2001      V8/4.7L    Opt                                        650                    27F               —
Toyota Sienna
2020-07   V6/3.5L                                               585                    24F               24F AGM
2013-11   L4/2.7L                                               585                    24F               24F AGM
2006-04   V6/3.3L                                               585                    24F               24F AGM
2003-02   V6/3.0L                                               360                    35                35 AGM
2003-02   V6/3.0L    Opt                                        585                    24F               24F AGM
2001-98   V6/3.0L                                               585                    24F               24F AGM
Toyota Solara (See Camry, Solara)
Toyota Supra
1998-94   L6/3.0L    AT                                         585                    24F               24F AGM
1998-93   L6/3.0L    MT                                         490                    24F               24F AGM
1993      L6/3.0L    AT                                         485                    24F               24F AGM
1992-90   L6/3.0L                                               450                    27F               —
Toyota T100 (See Pickup, T100)
Toyota Tacoma
2020-05   L4/2.7L                                               585                    24F               24F AGM
2020-16   V6/3.5L                                               585                    24F               24F AGM
2016      V6/3.5L                                               710                    27F               —
2015-09   V6/4.0L                                               710                    27F               —
2008-07   V6/4.0L    Cold Climate or TTPkg                      710                    27F               —
2008-05   V6/4.0L                                               585                    24F               24F AGM
2006      V6/4.0L    HD & Cold Climate                          710                    27F               —
2005      V6/4.0L    Cold Climate or TTPkg                      710                    27F               —
2004      L4/2.4L                                               310                    35                35 AGM
2004      L4/2.7L                                               310                    35                35 AGM
2004      V6/3.4L                                               550                    24F               24F AGM
2003-01   L4/2.4L    Canada & Opt                               585                    24F               24F AGM
2003-01   L4/2.4L    US                                         360                    35                35 AGM
2003-01   L4/2.7L    Canada & Opt                               585                    24F               24F AGM
2003-01   L4/2.7L    US                                         360                    35                35 AGM
2003-01   V6/3.4L    Canada & Opt                               585                    24F               24F AGM
2003-01   V6/3.4L    US                                         360                    35                35 AGM
2000-95   L4/2.4L                                               360                    35                35 AGM
2000-95   L4/2.4L    Opt                                        585                    24F               24F AGM
2000-95   V6/3.4L                                               360                    35                35 AGM
2000-95   V6/3.4L    Opt                                        585                    24F               24F AGM
Toyota Tercel
1999-97   L4/1.5L    Opt                                        360                    25                —
1999-91   L4/1.5L                                               310                    25                —
1996-93   L4/1.5L                                               360                    25                —
1996-93   L4/1.5L    Opt                                        410                    25                —
1992-91   L4/1.5L    Opt                                        350                    25                —
1990      L4/1.5L                                               310                    35                35 AGM
1990      L4/1.5L    Opt                                        350                    35                35 AGM
Toyota Tundra
2020-17   V8/5.7L                                               585                    24F               24F AGM
2020-17   V8/5.7L    Opt                                        710                    27F               —
2019-10   V8/4.6L    Opt                                        710                    27F               —
2019-10   V8/4.6L                                               585                    24F               24F AGM
2016      V8/5.7L                                               710                    27F               —
2015      V8/5.7L    Opt                                        710                    27F               —
2015-07   V8/5.7L                                               585                    24F               24F AGM
2014-08   V8/5.7L    HD & Cold Climate                          710                    27F               —
2014-05   V6/4.0L                                               585                    24F               24F AGM
2014-05   V6/4.0L    HD & Cold Climate                          710                    27F               —
2009-08   V8/4.7L    Opt                                        710                    27F               —
2009-00   V8/4.7L                                               585                    24F               24F AGM
2006-02   V8/4.7L    HD & Cold Climate                          710                    27F               —
2004-00   V6/3.4L    AT or HD                                   585                    24F               24F AGM
2004-00   V6/3.4L    MT                                         360                    35                35 AGM
2000      V8/4.7L    Opt                                        650                    27F               —
Toyota Venza
2016-09 L4/2.7L                                                 585                    24F                24F AGM
2016-09 V6/3.5L                                                 585                    24F                24F AGM
                                                               See page 157 for Footnotes. Selection may vary by warehouse.

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      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT           GROUP SIZE       ALTERNATE SIZE
                                                                                                       CCA/RATING                (NOTES)            (NOTES)

   Toyota Yaris
   2020        L4/1.5L                                                                          355                         35               35 AGM
   2019-17     L4/1.5L                                                                          355                         H5 (47)          H5 (47) AGM
   2016        L4/1.5L     Hatchback                                                            360                         H5 (47)          H5 (47) AGM
   2016        L4/1.5L     Sedan                                                                360                         35               35 AGM
   2016-15     L4/1.5L     Sedan                                                                36045                       35               35 AGM
   2014-06     L4/1.5L                                                                          36045                       —                —
   Volkswagen Arteon
   2021-19     L4/2.0L     PR Code J0B                                                          85033, 50, 55, 56, 58       H8 (49) AGM      —
   2021-19     L4/2.0L     PR Code J0N                                                          54056, 55, 58               —                —
   2021-19     L4/2.0L     PR Code J1D                                                          64056, 55, 58               —                —
   2021-19     L4/2.0L     PR Code J2D                                                          68033, 50, 55, 56, 58       H6 (48) AGM      —
   2021-19     L4/2.0L     PR Code J2S                                                          48056, 55, 58               —                —
   2021-19     L4/2.0L     PR Code J0S                                                          54050, 55, 56, 59           —                —
   2021-19     L4/2.0L     PR Code J0T                                                          68050, 55, 56, 59           —                —
   2021-19     L4/2.0L     PR Code J0V                                                          68050, 55, 56, 59           —                —
   Volkswagen Atlas
   2020-18     L4/2.0L     PR Code J1L                                                          54055, 56, 58               H5 (47)          H5 (47) AGM
   2020-18     L4/2.0L     PR Code J2D                                                          68033, 55, 56, 58           H6 (48) AGM      —
   2020-18     L4/2.0L     PR Code J0T                                                          68055, 56, 58, 59           —                —
   2020-18     L4/2.0L     PR Code J0V, J0T                                                     68055, 56, 58, 59           —                —
   2020-18     L4/2.0L     PR Code J1D                                                          64055, 56, 58               —                —
   2020-18     V6/3.6L     PR Code J1D                                                          64055, 56, 58               —                —
   2020-18     V6/3.6L     PR Code J0T                                                          68055, 56, 58, 59           —                —
   2020-18     V6/3.6L     PR Code J0V, J0T                                                     68055, 56, 58, 59           —                —
   2020-18     V6/3.6L     PR Code J2D                                                          68033, 55, 56, 58           H6 (48) AGM      —
   Volkswagen Atlas Cross Sport
   2021-20 L4/2.0L         PR Code J0V                                                          68050, 55, 56, 59           —                —
   2021-20 V6/3.6L         PR Code J0V                                                          68050, 55, 56, 59           —                —
   Volkswagen Beetle
   2019-18     L4/2.0L     PR Code J0N                                                          54055, 56, 58               —                —
   2019-18     L4/2.0L     PR Code J2D                                                          68033, 55, 56, 58           H6 (48) AGM      —
   2019-18     L4/2.0L     PR Code J1D                                                          64055, 56, 58               —                —
   2019-18     L4/2.0L     PR Code J0T                                                          68055, 56, 58, 59           —                —
   2019-18     L5/2.5L     PR Code J0N                                                          54055, 56, 58               —                —
   2019-18     L5/2.5L     PR Code J0S                                                          54055, 56, 58, 59           —                —
   2019-18     L5/2.5L     PR Code J2D                                                          68033, 55, 56, 58           H6 (48) AGM      —
   2019-18     L5/2.5L     PR Code J1D                                                          64055, 56, 58               —                —
   2019-18     L5/2.5L     PR Code J0T                                                          68055, 56, 58, 59           —                —
   2019-17     L4/2.0L     PR Code J0S                                                          54055, 56, 58, 59           —                —
   2017        L4/1.8L     PR Code J0S                                                          54054, 58, 59               —                —
   2017-14     L4/1.8L     PR Code J0N                                                          54050, 54, 55, 56, 58       —                —
   2017-14     L4/1.8L     PR Code J0T                                                          68045, 54, 58, 59           —                —
   2017-14     L4/1.8L     PR Code J1D                                                          64050, 54, 55, 56, 58       —                —
   2017-14     L4/1.8L     PR Code J1L                                                          48050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
   2017-14     L4/1.8L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
   2017-12     L4/2.0L     PR Code J0N                                                          54050, 54, 55, 56, 58       —                —
   2017-12     L4/2.0L     PR Code J0T                                                          68045, 54, 58, 59           —                —
   2017-12     L4/2.0L     PR Code J1D                                                          64050, 54, 55, 56, 58       —                —
   2017-12     L4/2.0L     PR Code J1L                                                          48050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
   2017-12     L4/2.0L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
   2015        L4/2.0L     Dsl, PR Code J0N                                                     54050, 54, 55, 56, 58       —                —
   2015        L4/2.0L     PR Code J1L                                                          60 Ah50, 54, 55, 56, 58     H5 (47)          H5 (47) AGM
   2015-13     L4/2.0L     Dsl, PR Code J0T                                                     68045, 54, 58, 59           —                —
   2015-13     L4/2.0L     Dsl, PR Code J1D                                                     64050, 54, 55, 56, 58       —                —
   2015-13     L4/2.0L     Dsl, PR Code J1L                                                     48050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
   2015-13     L4/2.0L     Dsl, PR Code J2D                                                     68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
   2014-13     L4/2.0L     Dsl, PR Code J1L                                                     54050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
   2014-13     L4/2.0L     Dsl, PR Code J2D                                                     68 Ah33, 50, 55, 56, 58     H6 (48) AGM      —
   2014-11     L4/2.0L     PR Code J1L                                                          54050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
   2014-11     L4/2.0L     AGM, PR Code J2D                                                     68 Ah33, 50, 55, 56, 58     H6 (48) AGM      —
   2014-11     L5/2.5L     PR Code J0T                                                          68045, 54, 58, 59           —                —
   2014-11     L5/2.5L     PR Code J1D                                                          64050, 54, 55, 56, 58       —                —
   2014-11     L5/2.5L     PR Code J1L                                                          48050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
   2014-11     L5/2.5L     PR Code J1L                                                          54050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
   2014-11     L5/2.5L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
   2014-11     L5/2.5L     AGM, PR Code J2D                                                     54033, 50, 54, 55, 56, 58   H6 (48) AGM      —
   2012        L4/2.0L     PR Code J1D                                                          68050, 54, 55, 56, 58       —                —
   2010-08     L5/2.5L     PR Code J1D                                                          54050, 54, 55, 56, 58       —                —
   2010-08     L5/2.5L     PR Code J1L                                                          60 Ah50, 55, 56, 58         H5 (47)          H5 (47) AGM
   2010-06     L5/2.5L                                                                          54050, 54, 55, 56           —                —
   2010-06     L5/2.5L     Opt                                                                  64050, 54, 55, 56           —                —
   See page 157 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT           GROUP SIZE       ALTERNATE SIZE
                                                                                                        CCA/RATING                (NOTES)            (NOTES)

Volkswagen Beetle (continued)
2007-06     L5/2.5L      PR Code J1L                                                             48050, 55, 56, 58           H5 (47)          H5 (47) AGM
2006        L4/1.9L      Turbo Dsl                                                               54050, 54, 55, 56           —                —
2006        L4/1.9L      Turbo Dsl, Opt                                                          64050, 54, 55, 56           —                —
2006-05     L4/1.9L      Dsl                                                                     48050, 54, 55, 56           H5 (47)          H5 (47) AGM
2005-98     L4/2.0L                                                                              48050, 54                   H5 (47)          H5 (47) AGM
2005-04     L4/1.8L                                                                              48050, 54                   H5 (47)          H5 (47) AGM
2004-98     L4/1.9L      Dsl                                                                     640                         —                —
2004-03     L4/1.8L      Turbo                                                                   640                         —                —
2003        L4/1.8L                                                                              640                         —                —
2002-00     L4/1.8L                                                                              48050, 54                   H5 (47)          H5 (47) AGM
1999        L4/1.8L                                                                              640                         —                —
Volkswagen Cabrio, Cabriolet
2002-00     L4/2.0L                                                                              520                         H5 (47)          H5 (47) AGM
2002-00     L4/2.0L                                                                              540                         —                —
1999-98     L4/2.0L                                                                              575                         —                —
1997-95     L4/2.0L                                                                              460                         —                —
1993-90     L4/1.8L                                                                              500                         —                —
Volkswagen CC
2017-12     L4/2.0L                                                                              54050, 54, 55, 56           —                —
2017-12     L4/2.0L      Opt                                                                     64050, 54, 55, 56           —                —
2017-12     L4/2.0L      Opt                                                                     68033, 50, 54, 55, 56       H6 (48) AGM      —
2017-12     L4/2.0L      Opt                                                                     76050, 54, 55, 56           —                H8 (49) AGM
2017-12     L4/2.0L      Opt                                                                     68045, 54, 59               —                —
2017-12     V6/3.6L                                                                              54050, 54, 55, 56           —                —
2017-12     V6/3.6L      Opt                                                                     64050, 54, 55, 56           —                —
2017-12     V6/3.6L      Opt                                                                     68033, 50, 54, 55, 56       H6 (48) AGM      —
2017-12     V6/3.6L      Opt                                                                     76050, 54, 55, 56           —                H8 (49) AGM
2017-12     V6/3.6L      Opt                                                                     68045, 54, 59               —                —
2014-09     L4/2.0L      PR Code J1L                                                             60 Ah50, 55, 56, 58         H5 (47)          H5 (47) AGM
2014-09     L4/2.0L      PR Code JOL                                                             70 Ah50, 55, 56, 58         H6 (48)          H6 (48) AGM
2014-09     V6/3.6L      PR Code J1U                                                             95 Ah50, 55, 58             —                H8 (49) AGM
2011-09     L4/2.0L                                                                              48050, 54                   H5 (47)          H5 (47) AGM
2011-09     V6/3.6L                                                                              64050, 54                   —                —
Volkswagen Corrado
1995-92 V6/2.8L                                                                                  460                         —                —
1992-90 L4/1.8L                                                                                  460                         —                —
Volkswagen e-Golf
2020-18                  Electric, PR Code J0S                                                   54055, 56, 58, 59           —                —
2020-18                  Electric, PR Code J1L                                                   54055, 56, 58               H5 (47)          H5 (47) AGM
2020-18                  Electric, w/o Start-Stop, PR Code J2D                                   68033, 55, 56, 58           H6 (48) AGM      —
2020-18                  Electric, w/Start-Stop, PR Code J2D                                     68055, 56, 58, 59           —                —
2017-16                  Electric, PR Code J0S                                                   54054, 58, 59               —                —
2017-15                  Electric, PR Code J1P                                                   36045, 54, 58, 59           —                —
2017-15                  Electric, PR Code J1L                                                   54050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
2017-15                  Electric, PR Code J2D                                                   68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
2015                     Electric, PR Code J0S                                                   54050, 54, 55, 56, 58, 59   —                —
Volkswagen Eos
2016-15     L4/2.0L                                                                              54050, 54, 55, 56           —                —
2016-15     L4/2.0L      Opt                                                                     68033, 50, 54, 55, 56       H6 (48) AGM      —
2016-11     L4/2.0L      Opt                                                                     68045, 54, 59               —                —
2016-07     L4/2.0L      Opt                                                                     64050, 54, 55, 56           —                —
2014-11     L4/2.0L      Opt, w/o AGM, PR Code J1D                                               64050, 55, 56, 58           —                —
2014-11     L4/2.0L      PR Code J1L                                                             54050, 55, 56, 58           H5 (47)          H5 (47) AGM
2014-09     L4/2.0L      Opt, w/AGM, PR Code J2D                                                 68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
2010        L4/2.0L      Opt                                                                     68033, 50, 54, 55, 56       H6 (48) AGM      —
2010-07     L4/2.0L                                                                              54050, 54, 55, 56           —                —
2010-07     L4/2.0L      PR Code J1L                                                             60 Ah50, 55, 56, 58         H5 (47)          H5 (47) AGM
2010-07     L4/2.0L      PR Code J1D                                                             64050, 55, 56, 58           —                —
2010-07     L4/2.0L      PR Code JOL                                                             70 Ah50, 55, 56, 58         H6 (48)          H6 (48) AGM
2008-07     V6/3.2L      6V, AGM                                                                 5402                        —                —
Volkswagen EuroVan
2003-00     V6/2.8L                                                                              57550                       —                —
2002-99     V6/2.8L      Auxiliary Battery                                                       57031                       27DC             —
2002-00     V6/2.8L      Primary Battery                                                         57550, 54                   —                —
1999        V6/2.8L                                                                              460                         —                —
1997        V6/2.8L                                                                              460                         —                —
1997-93     L5/2.4L      Auxiliary Battery                                                       57031                       27DC             —
1997-93     L5/2.4L      Dsl                                                                     575                         —                —
1996        L5/2.5L      Auxiliary Battery                                                       570                         27DC             —
1996        L5/2.5L      Primary Battery                                                         575                         —                —
1995-92     L5/2.5L                                                                              460                         —                —
1994        L5/2.4L                                                                              460                         —                —
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                        145
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT               GROUP SIZE       ALTERNATE SIZE
                                                                                                       CCA/RATING                    (NOTES)            (NOTES)

   Volkswagen Fox
   1993    L4/1.8L                                                                              450                             —                —
   1992-90 L4/1.8L                                                                              500                             —                —
   Volkswagen Golf
   2020-19 L4/1.4L         PR Code J0S                                                          54055, 56, 58, 59               —                —
   2020-19 L4/1.4L         PR Code J0T                                                          68055, 56, 58, 59               —                —
   2020-19 L4/2.0L         PR Code J0S                                                          54055, 56, 58, 59               —                —
   2020-19 L4/2.0L         PR Code J0T                                                          68055, 56, 58, 59               —                —
   2020-19 L4/2.0L         PR Code J1D                                                          64055, 56, 58                   —                —
   2020-19 L4/2.0L         PR Code J2D                                                          68033, 55, 56, 58               H6 (48) AGM      —
   2020-18 L4/1.4L         PR Code J1D                                                          64055, 56, 58                   —                —
   2020-18 L4/1.4L         PR Code J2D                                                          68033, 55, 56, 58               H6 (48) AGM      —
   2018-17 L4/1.8L         PR Code J2D                                                          48033, 50, 54, 55, 56, 58       H6 (48) AGM      —
   2018-15 L4/1.8L         PR Code J1L                                                          54050, 54, 55, 56, 58           H5 (47)          H5 (47) AGM
   2018-15 L4/1.8L         PR Code J0S                                                          54050, 54, 55, 56, 58, 59       —                —
   2018-15 L4/1.8L         PR Code J0T                                                          68045, 50, 54, 55, 56, 58, 59   —                —
   2018-15 L4/1.8L         PR Code J1D                                                          64050, 54, 55, 56, 58           —                —
   2017-15 L4/1.8L         PR Code J1P                                                          36045, 50, 54, 55, 56, 58       —                —
   2017-15 L4/1.8L         PR Code J2S                                                          48045, 50, 54, 55, 56, 58       —                —
   2016       L4/1.8L      PR Code J2D                                                          68033, 50, 54, 55, 56, 58       H6 (48) AGM      —
   2015       L4/1.8L      PR Code J2D                                                          68033, 45, 50, 54, 55, 56, 58   H6 (48) AGM      —
   2015       L4/2.0L      Dsl, PR Code J0N, J1L                                                54050, 54, 55, 56, 58           —                —
   2015       L4/2.0L      Dsl, PR Code J1D                                                     64050, 54, 55, 56, 58           —                —
   2015       L4/2.0L      Dsl, PR Code J1P                                                     36045, 50, 54, 55, 56, 58       —                —
   2015       L4/2.0L      Dsl, PR Code J2D                                                     68033, 45, 50, 54, 55, 56, 58   H6 (48) AGM      —
   2015-14 L4/2.0L         Dsl, PR Code J0S                                                     54050, 54, 55, 56, 58, 59       —                —
   2015-14 L4/2.0L         Dsl, PR Code J2S                                                     48045, 50, 54, 55, 56, 58       —                —
   2015-13 L4/2.0L         Dsl, PR Code J0T                                                     68045, 50, 54, 55, 56, 58, 59   —                —
   2014       L4/2.0L      Dsl                                                                  54050, 54                       —                —
   2014       L4/2.0L      Dsl, Opt                                                             64050, 54                       —                —
   2014       L5/2.5L      PR Code J0S                                                          54050, 54, 55, 56, 58, 59       —                —
   2014       L5/2.5L      PR Code J2S                                                          48045, 50, 54, 55, 56, 58       —                —
   2014-13 L5/2.5L         PR Code J0T                                                          68045, 50, 54, 55, 56, 58, 59   —                —
   2014-12 L5/2.5L                                                                              54050, 54, 55, 56               —                —
   2014-12 L5/2.5L         Opt                                                                  64050, 54, 55, 56               —                —
   2014-10 L5/2.5L         HD, PR Code J1D                                                      64050, 54, 55, 58               —                —
   2014-10 L5/2.5L         PR Code J1L                                                          48050, 54, 58                   H5 (47)          H5 (47) AGM
   2013       L4/2.0L      Gas                                                                  54050, 54, 55, 56               —                —
   2013       L4/2.0L      Gas, HD PR Code J1D                                                  64050, 55, 56, 58               —                —
   2013       L4/2.0L      Gas, Opt                                                             64050, 54, 55, 56               —                —
   2013       L4/2.0L      Gas, Opt                                                             68033, 50, 54, 55, 56           H6 (48) AGM      —
   2013       L4/2.0L      Gas, PR Code J0T                                                     68045, 50, 54, 55, 56, 58, 59   —                —
   2013       L4/2.0L      Gas, PR Code J1L                                                     48058                           H5 (47)          H5 (47) AGM
   2013-12 L4/2.0L         Dsl                                                                  54050, 54, 55, 56               —                —
   2013-12 L4/2.0L         Dsl, Opt                                                             64050, 54, 55, 56               —                —
   2013-12 L4/2.0L         Dsl, Opt                                                             68033, 50, 54, 55, 56           H6 (48) AGM      —
   2013-12 L5/2.5L         Opt                                                                  68033, 50, 54, 55, 56           H6 (48) AGM      —
   2013-10 L4/2.0L         TDI, PR Code J1D                                                     64050, 55, 56, 58               —                —
   2013-10 L4/2.0L         TDI, PR Code J1L                                                     48058                           H5 (47)          H5 (47) AGM
   2012       L4/2.0L      Dsl, Opt                                                             68045, 50, 54, 55, 56, 59       —                —
   2012       L5/2.5L      Gas                                                                  54050, 54, 55, 56               —                —
   2012       L5/2.5L      Gas, HD PR Code J1D                                                  64050, 55, 56, 58               —                —
   2012       L5/2.5L      Gas, Opt                                                             68033, 50, 54, 55, 56           H6 (48) AGM      —
   2012       L5/2.5L      Gas, PR Code J1L                                                     48058                           H5 (47)          H5 (47) AGM
   2012       L5/2.5L      Opt                                                                  68045, 50, 54, 55, 56, 59       —                —
   2011-10 L4/2.0L         Dsl                                                                  54050, 54                       —                —
   2011-10 L5/2.5L                                                                              54050, 54                       —                —
   2006       L4/1.8L      PR Code J1L                                                          48050, 58                       H5 (47)          H5 (47) AGM
   2006       L4/1.9L      PR Code J1D                                                          57050, 55, 56, 58               —                —
   2006       L4/2.0L      PR Code J1L                                                          48050, 58                       H5 (47)          H5 (47) AGM
   2005-04 L4/1.9L         Dsl, PR Code J0R                                                     64050, 58                       H7 (94R)         H7 (94R) AGM
   2005-03 L4/1.8L         PR Code J1L                                                          54058                           H5 (47)          H5 (47) AGM
   2005-03 L4/2.0L         PR Code J1L                                                          54058                           H5 (47)          H5 (47) AGM
   2005-03 V6/2.8L                                                                              640                             H7 (94R)         H7 (94R) AGM
   2004       V6/3.2L                                                                           48054                           H5 (47)          H5 (47) AGM
   2003-01 L4/1.9L         Dsl, PR Code J0N, J1L                                                54058                           —                —
   2002-00 L4/1.8L         PR Code J0N                                                          54058                           —                —
   2002-00 L4/2.0L         PR Code J0N                                                          54058                           —                —
   2002-00 V6/2.8L         PR Code J0N                                                          54058                           —                —
   2001-99 L4/2.0L         PR Code J0L                                                          57050, 55, 56, 58               H6 (48)          H6 (48) AGM
   2000       L4/1.9L                                                                           620                             H7 (94R)         H7 (94R) AGM
   1999       L4/1.9L      Dsl                                                                  620                             —                —
   1999-98 L4/2.0L                                                                              575                             —                —
   See page 157 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT               GROUP SIZE       ALTERNATE SIZE
                                                                                                        CCA/RATING                    (NOTES)            (NOTES)

Volkswagen Golf (continued)
1999-98     V6/2.8L                                                                              575                             —                —
1998        L4/1.8L                                                                              575                             —                —
1998        L4/1.9L      Dsl                                                                     575                             —                —
1997        L4/1.8L                                                                              460                             —                —
1997        L4/1.9L      Dsl                                                                     620                             —                —
1997        L4/2.0L                                                                              460                             —                —
1997        V6/2.8L                                                                              460                             —                —
1996        L4/1.9L      Turbo, Dsl                                                              6506                            —                —
1996-95     V6/2.8L                                                                              575                             —                —
1996-95     V6/2.8L      Opt                                                                     650                             —                —
1996-93     L4/1.8L                                                                              575                             —                —
1996-93     L4/1.9L      Opt                                                                     650                             —                —
1996-93     L4/2.0L                                                                              575                             —                —
1996-93     L4/2.0L      Opt                                                                     650                             —                —
1996-90     L4/1.8L      Opt                                                                     650                             —                —
1995-93     L4/1.9L                                                                              575                             —                —
1992-90     L4/1.6L                                                                              500                             —                —
1992-90     L4/1.8L                                                                              500                             —                —
1992-90     L4/2.0L                                                                              500                             —                —
Volkswagen Golf Alltrack
2019-18     L4/1.8L      PR Code J1D                                                             64055, 56, 58                   —                —
2019-18     L4/1.8L      PR Code J2D                                                             68033, 55, 56, 58               H6 (48) AGM      —
2019-17     L4/1.8L      PR Code J0S                                                             54055, 56, 58, 59               —                —
2019-17     L4/1.8L      PR Code J0T                                                             68055, 56, 58, 59               —                —
2017        L4/1.8L      PR Code J0N                                                             54050, 54, 55, 56, 58           —                —
2017        L4/1.8L      PR Code J1D                                                             64050, 54, 55, 56, 58           —                —
2017        L4/1.8L      PR Code J1P                                                             36045, 50, 54, 55, 56, 58       —                —
2017        L4/1.8L      PR Code J2D                                                             48033, 50, 54, 55, 56, 58       H6 (48) AGM      —
2017        L4/1.8L      PR Code J2S                                                             48045, 50, 54, 55, 56, 58       —                —
Volkswagen Golf City
2010-07 L4/2.0L          PR Code J1L                                                             54054, 58                       H5 (47)          H5 (47) AGM
Volkswagen Golf R
2019-18     L4/2.0L      PR Code J0S                                                             54055, 56, 58, 59               —                —
2019-18     L4/2.0L      PR Code J2D                                                             68033, 55, 56, 58               H6 (48) AGM      —
2019-18     L4/2.0L      PR Code J0T                                                             68055, 56, 58, 59               —                —
2019-18     L4/2.0L      PR Code J1D                                                             64055, 56, 58                   —                —
2017-16     L4/2.0L      PR Code J2D                                                             48033, 50, 54, 55, 56, 58       H6 (48) AGM      —
2017-16     L4/2.0L      PR Code J0N                                                             54050, 54, 55, 56, 58           —                —
2017-16     L4/2.0L      PR Code J0S                                                             54050, 54, 55, 56, 58, 59       —                —
2017-16     L4/2.0L      PR Code J0T                                                             68050, 54, 55, 56, 58, 59       —                —
2017-16     L4/2.0L      PR Code J1D                                                             64050, 54, 55, 56, 58           —                —
2017-16     L4/2.0L      PR Code J1P                                                             36045, 50, 54, 55, 56, 58       —                —
2017-16     L4/2.0L      PR Code J2S                                                             48045, 50, 54, 55, 56, 58       —                —
2015        L4/2.0L      Gas, PR Code J0S                                                        54050, 54, 55, 56, 58, 59       —                —
2015        L4/2.0L      Gas, PR Code J0T                                                        68050, 54, 55, 56, 58, 59       —                —
2015        L4/2.0L      Gas, PR Code J1D                                                        64050, 54, 55, 56, 58           —                —
2015        L4/2.0L      Gas, PR Code J0N                                                        54050, 54, 55, 56, 58           —                —
2015        L4/2.0L      Gas, PR Code J1P                                                        36045, 50, 54, 55, 56, 58       —                —
2015        L4/2.0L      Gas, PR Code J2S                                                        48045, 50, 54, 55, 56, 58       —                —
2015        L4/2.0L      Gas, PR Code J2D                                                        68033, 45, 50, 54, 55, 56, 58   H6 (48) AGM      —
2013-12     L4/2.0L      Gas                                                                     54050, 54, 55, 56               —                —
2013-12     L4/2.0L      Gas, Opt                                                                64050, 54, 55, 56               —                —
2013-12     L4/2.0L      Gas, Opt                                                                68033, 50, 54, 55, 56           H6 (48) AGM      —
Volkswagen Golf SportWagen
2019        L4/1.4L      PR Code J0S                                                             54055, 56, 58, 59               —                —
2019        L4/1.4L      PR Code J1D                                                             64055, 56, 58                   —                —
2019        L4/1.4L      PR Code J0T                                                             68055, 56, 58, 59               —                —
2019-15     L4/1.8L      PR Code J1D                                                             64055, 56, 58                   —                —
2019-15     L4/1.8L      PR Code J0T                                                             68055, 56, 58, 59               —                —
2019-15     L4/1.8L      PR Code J0S                                                             54055, 56, 58, 59               —                —
2017-15     L4/1.8L      PR Code J0N                                                             54050, 54, 55, 56, 58           —                —
2017-15     L4/1.8L      PR Code J2S                                                             48045, 54, 58                   —                —
2015        L4/2.0L      Dsl, PR Code J0N                                                        54050, 54, 55, 56, 58           —                —
2015        L4/2.0L      Dsl, PR Code J0S                                                        54054, 58, 59                   —                —
2015        L4/2.0L      Dsl, PR Code J0T                                                        680 54, 58, 59                  —                —
2015        L4/2.0L      Dsl, PR Code J1D                                                        64050, 54, 55, 56, 58           —                —
2015        L4/2.0L      Dsl, PR Code J2S                                                        48045, 54, 58                   —                —
Volkswagen GTI
2020-19 L4/2.0L          PR Code J0S                                                             54055, 56, 58, 59               —                —
2020-18 L4/2.0L          PR Code J0T                                                             68055, 56, 58, 59               —                —
2020-18 L4/2.0L          PR Code J1D                                                             64055, 56, 58                   —                —
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 157 for Footnotes. Selection may vary by warehouse.

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      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT              GROUP SIZE    ALTERNATE SIZE
                                                                                                       CCA/RATING                   (NOTES)         (NOTES)

   Volkswagen GTI (continued)
   2020-18     L4/2.0L     PR Code J2D                                                          68033, 55, 56, 58               H6 (48) AGM     —
   2017        L4/2.0L     PR Code J2D                                                          48033, 50, 54, 55, 56, 58       H6 (48) AGM     —
   2017-15     L4/2.0L     PR Code J0N                                                          54050, 54, 55, 56, 58           —               —
   2017-15     L4/2.0L     PR Code J1D                                                          64050, 54, 55, 56, 58           —               —
   2017-15     L4/2.0L     PR Code J1P                                                          36045, 50, 54, 55, 56, 58       —               —
   2017-14     L4/2.0L     PR Code J0S                                                          54050, 54, 55, 56, 58, 59       —               —
   2017-14     L4/2.0L     PR Code J2S                                                          48045, 50, 54, 55, 56, 58       —               —
   2017-13     L4/2.0L     PR Code J0T                                                          68050, 54, 55, 56, 58, 59       —               —
   2016        L4/2.0L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58       H6 (48) AGM     —
   2016-15     L4/2.0L                                                                          54050, 54                       —               —
   2015        L4/2.0L     PR Code J2D                                                          68033, 45, 50, 54, 55, 56, 58   H6 (48) AGM     —
   2014-12     L4/2.0L     Opt                                                                  64050, 54, 55, 56               —               —
   2014-11     L4/2.0L                                                                          54054                           —               —
   2014-11     L4/2.0L     Opt                                                                  57054                           H6 (48)         H6 (48) AGM
   2013-12     L4/2.0L                                                                          54050, 54, 55, 56               —               —
   2013-12     L4/2.0L     Opt                                                                  68033, 50, 54, 55, 56           H6 (48) AGM     —
   2012        L4/2.0L     Opt                                                                  68045, 50, 54, 55, 56, 59       —               —
   2011        L4/2.0L                                                                          54050, 54                       —               —
   2011        L4/2.0L     Opt                                                                  57050, 54                       H6 (48)         H6 (48) AGM
   2010-09     L4/2.0L                                                                          57054                           H6 (48)         H6 (48) AGM
   2008-06     L4/2.0L                                                                          54054                           H6 (48)         H6 (48) AGM
   Volkswagen Jetta
   2020-19 L4/1.4L         PR Code J1D                                                          64055, 56, 58                   —               —
   2020-19 L4/2.0L         PR Code J0T                                                          68055, 56, 58, 59               —               —
   2020-19 L4/2.0L         PR Code J1D                                                          64055, 56, 58                   —               —
   2020-19 L4/2.0L         PR Code J2D                                                          68033, 55, 56, 58               H6 (48) AGM     —
   2020-19 L4/2.0L         PR Code J0N                                                          54055, 56, 58                   —               —
   2020-19 L4/2.0L         PR Code J0S                                                          54055, 56, 58, 59               —               —
   2020-18 L4/1.4L         PR Code J0N                                                          54055, 56, 58                   —               —
   2020-18 L4/1.4L         PR Code J0S                                                          54055, 56, 58, 59               —               —
   2020-18 L4/1.4L         PR Code J0T                                                          68055, 56, 58, 59               —               —
   2020-18 L4/1.4L         PR Code J2D                                                          68033, 55, 56, 58               H6 (48) AGM     —
   2018-14 L4/1.8L         PR Code J0N                                                          54055, 56, 58                   —               —
   2018-14 L4/1.8L         PR Code J0S                                                          54055, 56, 58, 59               —               —
   2018-14 L4/1.8L         PR Code J0T                                                          68055, 56, 58, 59               —               —
   2018-14 L4/1.8L         PR Code J1D                                                          64055, 56, 58                   —               —
   2018-14 L4/1.8L         PR Code J2D                                                          68033, 55, 56, 58               H6 (48) AGM     —
   2017       L4/1.4L      PR Code J2D                                                          68033, 55, 56, 58               H6 (48) AGM     —
   2017       L4/1.4L      Opt                                                                  54045, 50, 54, 55, 56, 58, 59   —               —
   2017       L4/2.0L      PR Code J2D                                                          68033, 50, 54, 55, 56, 58       H6 (48) AGM     —
   2017       L4/2.0L      Opt                                                                  54045, 50, 54, 55, 56, 58, 59   —               —
   2017-16 L4/1.4L                                                                              48050, 54, 55, 56               H6 (48)         H6 (48) AGM
   2017-16 L4/1.4L         Opt                                                                  54050, 54, 55, 56               —               —
   2017-16 L4/1.4L         PR Code J1D                                                          64050, 54, 55, 56               —               —
   2017-16 L4/1.4L         PR Code J0T                                                          68045, 50, 54, 55, 56, 58, 59   —               —
   2017-16 L4/2.0L         Opt                                                                  68045, 50, 54, 55, 56, 58, 59   —               —
   2017-15 L4/2.0L                                                                              48050, 54, 55, 56               H6 (48)         H6 (48) AGM
   2017-15 L4/2.0L         Opt                                                                  54050, 54, 55, 56               —               —
   2017-15 L4/2.0L         Opt                                                                  64050, 54, 55, 56               —               —
   2016       L4/1.4L      Opt                                                                  68033, 50, 54, 55, 56           H6 (48) AGM     —
   2016       L4/1.4L      PR Code J0S                                                          54050, 54, 55, 56, 58, 59       —               —
   2016       L4/2.0L      PR Code J0S                                                          54050, 54, 55, 56, 58, 59       —               —
   2016-15 L4/2.0L         Opt                                                                  68033, 50, 54, 55, 56           H6 (48) AGM     —
   2015       L4/1.4L      Hybrid                                                               48050, 54, 55, 56               H6 (48)         H6 (48) AGM
   2015       L4/1.4L      Hybrid, Opt                                                          54050, 54, 55, 56               —               —
   2015       L4/1.4L      Hybrid, Opt                                                          64050, 54, 55, 56               —               —
   2015       L4/1.4L      Hybrid, Opt                                                          68033, 50, 54, 55, 56           H6 (48) AGM     —
   2015       L4/1.4L      Hybrid, Opt                                                          68045, 54, 59                   —               —
   2015       L4/1.4L      Hybrid, PR Code J0S                                                  540 54, 58, 59                  —               —
   2015       L4/2.0L      Dsl                                                                  48050, 54, 55, 56               H6 (48)         H6 (48) AGM
   2015       L4/2.0L      Dsl, Opt                                                             54050, 54, 55, 56               —               —
   2015       L4/2.0L      Opt                                                                  68045, 54, 59                   —               —
   2015       L4/2.0L      PR Code J0S                                                          540 54, 58, 59                  —               —
   2015-12 L4/2.0L         Dsl, PR Code J0S                                                     540 54, 58, 59                  —               —
   2015-11 L4/2.0L         Dsl, Opt                                                             64050, 54, 55, 56               —               —
   2015-11 L4/2.0L         Dsl, Opt                                                             68033, 50, 54, 55, 56           H6 (48) AGM     —
   2015-11 L4/2.0L         Dsl, Opt                                                             68045, 54, 59                   —               —
   2014       L4/1.4L      Opt                                                                  57050, 54                       H6 (48)         H6 (48) AGM
   2014-13 L4/1.4L         Hybrid                                                               54050, 54                       —               —
   2014-13 L4/1.4L         Opt                                                                  64050, 54, 55, 56               —               —
   2014-13 L4/1.4L         Opt                                                                  68033, 50, 54, 55, 56           H6 (48) AGM     —
   2014-13 L4/1.4L         Opt                                                                  68045, 54, 59                   —               —
   See page 157 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT      GROUP SIZE      ALTERNATE SIZE
                                                                                                        CCA/RATING           (NOTES)           (NOTES)

Volkswagen Jetta (continued)
2014-13     L4/1.4L      PR Code J0S                                                             540 54, 58, 59          —                —
2014-12     L4/2.0L      Gas, PR Code J0S                                                        540 54, 58, 59          —                —
2014-12     L5/2.5L      PR Code J0S                                                             540 54, 58, 59          —                —
2014-11     L4/2.0L      Dsl                                                                     54050, 54, 55, 56       —                —
2014-11     L4/2.0L      Gas, Opt                                                                64050, 54, 55, 56       —                —
2014-11     L4/2.0L      Gas, Opt                                                                68033, 50, 54, 55, 56   H6 (48) AGM      —
2014-11     L4/2.0L      Gas, Opt                                                                68045, 54, 59           —                —
2014-11     L5/2.5L      Opt                                                                     64050, 54, 55, 56       —                —
2014-11     L5/2.5L      Opt                                                                     68033, 50, 54, 55, 56   H6 (48) AGM      —
2014-11     L5/2.5L      Opt                                                                     68045, 54, 59           —                —
2014-09     L4/2.0L      TDI                                                                     54054                   —                —
2014-09     L4/2.0L      TDI, Opt, PR Code J0L                                                   57050, 55, 56, 58       H6 (48)          H6 (48) AGM
2014-08     L4/2.0L                                                                              54054                   —                —
2014-08     L4/2.0L      Gas, Opt                                                                570                     H6 (48) AGM      —
2014-06     L5/2.5L                                                                              54054                   —                —
2014-05     L5/2.5L      Opt                                                                     570                     —                —
2011        L4/2.0L      Dsl, Opt                                                                54045, 54, 59           —                —
2011        L4/2.0L      Gas, Opt                                                                54045, 54, 59           —                —
2011        L5/2.5L      Opt                                                                     54045, 54, 59           —                —
2010-09     L4/1.8L      PR Code J1P                                                             360                     —                —
2010-09     L4/1.8L      PR Code J0N                                                             540                     —                —
2010-08     L4/2.0L      Gas                                                                     54050, 54               —                —
2010-08     L4/2.0L      Gas, Opt                                                                57050, 54               H6 (48)          H6 (48) AGM
2009        L4/2.0L      Dsl & Opt                                                               80 Ah                   H7 (94R)         H7 (94R) AGM
2009        L4/2.0L      Dsl, Opt                                                                64050, 54               H7 (94R)         H7 (94R) AGM
2009-08     L4/2.0L      Gas, Opt                                                                64050, 54               H7 (94R)         H7 (94R) AGM
2009-08     L4/2.0L      PR Code J0L                                                             570                     H6 (48)          H6 (48) AGM
2009-08     L4/2.0L      PR Code J0R                                                             80 Ah                   H7 (94R)         H7 (94R) AGM
2009-06     L5/2.5L      PR Code J0L                                                             570                     H6 (48)          H6 (48) AGM
2009-06     L5/2.5L      PR Code J0R                                                             80 Ah                   H7 (94R)         H7 (94R) AGM
2009-05     L5/2.5L      Opt                                                                     64050, 54               H7 (94R)         H7 (94R) AGM
2007        L4/2.0L                                                                              54050, 54               —                —
2007        L4/2.0L      Opt                                                                     57050, 54               H6 (48)          H6 (48) AGM
2007        L4/2.0L      Opt                                                                     64050, 54               H7 (94R)         H7 (94R) AGM
2007-06     L4/2.0L      PR Code J0L                                                             57050                   H6 (48)          H6 (48) AGM
2007-05     L4/2.0L      Gas, Opt                                                                80 Ah                   H7 (94R)         H7 (94R) AGM
2006-98     L4/1.9L      Dsl, Opt                                                                64050, 54               H7 (94R)         H7 (94R) AGM
2006        L4/1.9L      Dsl                                                                     54050, 54               —                —
2006        L4/1.9L      Dsl, PR Code J0L                                                        70 Ah50                 H6 (48)          H6 (48) AGM
2006        L4/2.0L      Turbo                                                                   54050, 54               —                —
2006        L4/2.0L      Turbo, Opt                                                              57050, 54               H6 (48)          H6 (48) AGM
2006        L4/2.0L      Turbo, Opt                                                              64050, 54               H7 (94R)         H7 (94R) AGM
2006-05     L4/1.9L      Dsl, Opt                                                                57050, 54               H6 (48)          H6 (48) AGM
2005        L4/1.8L      Late                                                                    54050, 54               —                —
2005        L4/1.9L      Dsl, Early                                                              52050, 54               H5 (47)          H5 (47) AGM
2005        L4/1.9L      Dsl, Late                                                               54050, 54               —                —
2005        L4/2.0L      Early                                                                   52050, 54               H5 (47)          H5 (47) AGM
2005        L4/2.0L      Late                                                                    54050, 54               —                —
2005        L4/2.0L      Opt                                                                     57050, 54               H6 (48)          H6 (48) AGM
2005        L5/2.5L      Early                                                                   52050, 54               H5 (47)          H5 (47) AGM
2005        L5/2.5L      Late                                                                    54050, 54               —                —
2005        L5/2.5L      Opt                                                                     54050, 54               H6 (48)          H6 (48) AGM
2005        L5/2.5L      PR Code J1L                                                             60 Ah                   H5 (47)          H5 (47) AGM
2005-03     L4/1.8L      Opt                                                                     570                     H6 (48)          H6 (48) AGM
2005-03     L4/1.8L      PR Code J1L                                                             60 Ah                   H5 (47)          H5 (47) AGM
2005-03     L4/1.8L      Wagon, Opt                                                              640                     H7 (94R)         H7 (94R) AGM
2005-03     L4/1.9L      PR Code J1L                                                             60 Ah                   H5 (47)          H5 (47) AGM
2005-03     L4/1.9L      TDI                                                                     640                     H7 (94R)         H7 (94R) AGM
2005-03     L4/2.0L      PR Code J1L                                                             60 Ah                   H5 (47)          H5 (47) AGM
2005-01     L4/2.0L      Opt Incl Wagon                                                          640                     H7 (94R)         H7 (94R) AGM
2005-00     L4/1.8L                                                                              520                     H5 (47)          H5 (47) AGM
2004-98     L4/1.9L      Dsl                                                                     52050, 54               H5 (47)          H5 (47) AGM
2004        L4/2.0L                                                                              52050, 54               H5 (47)          H5 (47) AGM
2004        V6/2.8L      Wagon, Opt                                                              640                     H7 (94R)         H7 (94R) AGM
2004-03     V6/2.8L                                                                              52050, 54               H5 (47)          H5 (47) AGM
2004-02     V6/2.8L      Opt                                                                     640                     H7 (94R)         H7 (94R) AGM
2003-00     L4/2.0L                                                                              520                     H5 (47)          H5 (47) AGM
2002-98     L4/1.9L      Dsl, Opt                                                                57050, 54               H6 (48)          H6 (48) AGM
2002-98     L4/2.0L      Opt                                                                     57050, 54               H6 (48)          H6 (48) AGM
2002-98     V6/2.8L      Opt                                                                     57050, 54               H6 (48)          H6 (48) AGM
2002        L4/1.8L      Opt                                                                     640                     H7 (94R)         H7 (94R) AGM
2002        L4/1.9L      TDI, Wagon, Opt                                                         72 Ah                   —                —
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 157 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                               Costco_001948
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   Automotive/Light Truck                                                                                                                   149
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT        GROUP SIZE        ALTERNATE SIZE
                                                                                                       CCA/RATING             (NOTES)             (NOTES)

   Volkswagen Jetta (continued)
   2002        L4/2.0L     Wagon, Opt                                                           72 Ah                     —                 —
   2002-00     L4/1.9L     Dsl & Opt                                                            620                       H7 (94R)          H7 (94R) AGM
   2002-00     V6/2.8L                                                                          520                       H5 (47)           H5 (47) AGM
   2001        L4/1.8L     Opt, Cold Climate                                                    76050, 54                 —                 H8 (49) AGM
   2001        L4/1.8L     Wagon, Opt                                                           640                       H7 (94R)          H7 (94R) AGM
   2001        L4/1.9L     Dsl, Opt, Cold Climate                                               76050, 54                 —                 H8 (49) AGM
   2001        L4/2.0L     Opt, Cold Climate                                                    76050, 54                 —                 H8 (49) AGM
   2001        L4/2.0L     Wagon                                                                95 Ah                     —                 H8 (49) AGM
   2001        V6/2.8L     Opt, Cold Climate                                                    76050, 54                 —                 H8 (49) AGM
   2001        V6/2.8L     Wagon                                                                95 Ah                     —                 H8 (49) AGM
   2001        V6/2.8L     Wagon, Opt                                                           640                       H7 (94R)          H7 (94R) AGM
   2000-98     L4/2.0L     Opt                                                                  64050, 54                 H7 (94R)          H7 (94R) AGM
   2000-98     V6/2.8L     Opt                                                                  64050, 54                 H7 (94R)          H7 (94R) AGM
   2000        L4/1.8L     Opt                                                                  64050, 54                 H7 (94R)          H7 (94R) AGM
   1999-98     L4/1.9L     Dsl                                                                  575                       —                 —
   1999-98     L4/2.0L                                                                          52050, 54                 H5 (47)           H5 (47) AGM
   1999-98     L4/2.0L                                                                          575                       —                 —
   1999-98     V6/2.8L                                                                          52050, 54                 H5 (47)           H5 (47) AGM
   1999-98     V6/2.8L                                                                          575                       —                 —
   1997        L4/1.9L     Dsl                                                                  620                       —                 —
   1997        L4/2.0L                                                                          460                       —                 —
   1997        V6/2.8L                                                                          460                       —                 —
   1996        L4/1.9L     Dsl                                                                  5755                      —                 —
   1996        V6/2.8L     Opt                                                                  575                       —                 —
   1996-94     V6/2.8L                                                                          575                       —                 —
   1996-93     L4/1.9L     Dsl                                                                  6506                      —                 —
   1996-93     L4/2.0L                                                                          575                       —                 —
   1996-93     L4/2.0L     Opt                                                                  650                       —                 —
   1995        V6/2.8L     Opt                                                                  650                       —                 —
   1995-93     L4/1.8L                                                                          575                       —                 —
   1994        V6/2.8L     Opt                                                                  575                       —                 —
   1992-90     L4/1.6L     Dsl                                                                  650                       —                 —
   1992-90     L4/1.8L                                                                          500                       —                 —
   1992-90     L4/2.0L                                                                          500                       —                 —
   Volkswagen Jetta City
   2009-07     L4/2.0L                                                                          54054                     —                 —
   2009-07     L4/2.0L     Opt                                                                  57050, 54                 H6 (48)           H6 (48) AGM
   2009-07     L4/2.0L     Opt                                                                  64050, 54                 H7 (94R)          H7 (94R) AGM
   2009-07     L4/2.0L     PR Code J0R                                                          640                       H7 (94R)          H7 (94R) AGM
   2009-07     L4/2.0L     PR Code J0L                                                          57050, 55, 56, 58         H6 (48)           H6 (48) AGM
   2008        L4/2.0L                                                                          640                       H7 (94R)          H7 (94R) AGM
   Volkswagen Passat
   2021-18 L4/2.0L         PR Code J0N                                                          61 Ah50, 55, 56, 58       —                 —
   2021-18 L4/2.0L         PR Code J1D                                                          72 Ah50, 55, 56, 58       —                 —
   2021-18 L4/2.0L         PR Code J1U                                                          95 Ah50, 55, 56, 58       —                 H8 (49) AGM
   2021-18 L4/2.0L         PR Code J2D                                                          68 Ah33, 50, 55, 56, 58   H6 (48) AGM       —
   2018       L5/2.5L      PR Code J0N                                                          54050, 55, 56, 58         —                 —
   2018       L5/2.5L      PR Code J1D                                                          64050, 55, 56, 58         —                 —
   2018       L5/2.5L      PR Code J2D                                                          68033, 50, 55, 56, 58     H6 (48) AGM       —
   2018       L5/2.5L      PR Code J1U                                                          76050, 55, 56, 58         —                 H8 (49) AGM
   2018-16 V6/3.6L         PR Code J0N                                                          54050, 54, 55, 56, 58     —                 —
   2018-16 V6/3.6L         PR Code J1D                                                          64050, 54, 55, 56, 58     —                 —
   2018-16 V6/3.6L         PR Code J1U                                                          76050, 55, 56, 58         —                 H8 (49) AGM
   2017-16 L4/1.8L         PR Code J0N                                                          54050, 54, 55, 56, 58     —                 —
   2017-16 L4/1.8L         PR Code J1D                                                          64050, 54, 55, 56, 58     —                 —
   2015       L4/2.0L      Dsl, PR Code J1D                                                     64050, 54, 55, 56         —                 —
   2015       L4/2.0L      Dsl, PR Code J1U                                                     76050, 54, 55, 56         —                 H8 (49) AGM
   2015-14 L4/1.8L         PR Code J0N                                                          54050, 54, 55, 56         —                 —
   2015-14 L4/1.8L         Dsl, PR Code J1D                                                     64050, 54, 55, 56         —                 —
   2015-14 L4/1.8L         Dsl, PR Code J1U                                                     76050, 54, 55, 56         —                 H8 (49) AGM
   2015-12 L4/2.0L         Dsl, PR Code J0N                                                     54050, 54, 55, 56         —                 —
   2014       L4/2.0L      PR Code J1D                                                          64050, 54, 55, 56         —                 —
   2014       L4/2.0L      PR Code J1U                                                          76050, 54, 55, 56         —                 H8 (49) AGM
   2014-12 L5/2.5L         PR Code J0N                                                          54050, 54, 55, 56         —                 —
   2014-12 L5/2.5L         PR Code J1D                                                          64050, 54, 55, 56         —                 —
   2014-12 L5/2.5L         PR Code J1U                                                          76050, 54, 55, 56         —                 H8 (49) AGM
   2014-12 V6/3.6L         PR Code J0N                                                          54050, 54, 55, 56         —                 —
   2014-12 V6/3.6L         PR Code J1D                                                          64050, 54, 55, 56         —                 —
   2014-12 V6/3.6L         PR Code J1U                                                          76050, 54, 55, 56         —                 H8 (49) AGM
   2013-12 L4/2.0L         Dsl, PR Code J1D                                                     64050, 54, 55, 56         —                 —
   2013-12 L4/2.0L         Dsl, PR Code J1U                                                     76050, 54, 55, 56         —                 H8 (49) AGM
   2010-08 L4/2.0L                                                                              48054                     H5 (47)           H5 (47) AGM
   See page 157 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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150                                                                                     Automotive/Light Truck
   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT      GROUP SIZE        ALTERNATE SIZE
                                                                                                        CCA/RATING           (NOTES)             (NOTES)

Volkswagen Passat (continued)
2010-08     V6/3.6L                                                                              64054                   —                —
2010-08     V6/3.6L      PR Code J1D                                                             72 Ah50, 55, 56, 58     —                —
2010-06     L4/2.0L                                                                              48050, 54               H5 (47)          H5 (47) AGM
2010-06     L4/2.0L      Opt                                                                     72 Ah                   —                —
2009-06     L4/2.0L      Syn/4 Mot, AGM, Opt                                                     92 Ah33                 H8 (49) AGM      —
2009-06     V6/3.6L      Syn/4 Mot, AGM                                                          68 Ah33                 H6 (48) AGM      —
2009-06     V6/3.6L      Syn/4 Mot, AGM, HD                                                      92 Ah33                 H8 (49) AGM      —
2008-07     V6/3.6L      Wagon                                                                   68 Ah33                 H6 (48) AGM      —
2008-07     V6/3.6L      Wagon, Opt                                                              92 Ah33                 H8 (49) AGM      —
2008-06     V6/3.6L      Sedan                                                                   95 Ah                   —                H8 (49) AGM
2007        L4/2.0L                                                                              480                     H5 (47)          H5 (47) AGM
2007        V6/3.6L                                                                              640                     —                —
2006        L4/2.0L                                                                              48054                   H5 (47)          H5 (47) AGM
2006        V6/3.6L                                                                              64054                   —                —
2005-98     L4/1.8L      Ex 4 Motion                                                             570                     H6 (48)          H6 (48) AGM
2005-98     V6/2.8L                                                                              54054                   H6 (48)          H6 (48) AGM
2005        L4/1.8L                                                                              57050                   H6 (48)          H6 (48) AGM
2005        L4/1.8L      Ex 4 Motion                                                             74050                   —                H8 (49) AGM
2005        L4/2.0L                                                                              64054                   H7 (94R)         H7 (94R) AGM
2005-04     V6/2.8L      Ex 4 Motion                                                             57050                   H6 (48)          H6 (48) AGM
2005-03     V6/2.8L      4 Motion, HD, PR Code J0R                                               64050, 58               H7 (94R)         H7 (94R) AGM
2004        L4/2.0L      Dsl                                                                     64054                   H7 (94R)         H7 (94R) AGM
2004        L4/2.0L      Dsl, PR Code J0R                                                        80 Ah50, 58             H7 (94R)         H7 (94R) AGM
2004-03     W8/4.0L                                                                              64050                   H7 (94R)         H7 (94R) AGM
2003        V6/2.8L      Ex 4 Motion (no vent)                                                   57050                   H6 (48)          H6 (48) AGM
2002        V6/2.8L      4 Motion                                                                57050                   H6 (48)          H6 (48) AGM
2002        W8/4.0L                                                                              57050                   H6 (48)          H6 (48) AGM
2002        W8/4.0L      Ex 4 Motion                                                             57050, 54               H6 (48)          H6 (48) AGM
2001        V6/2.8L      HD, PR Code J0R                                                         64050, 58               H7 (94R)         H7 (94R) AGM
1997        L4/1.9L      Dsl                                                                     650                     —                —
1997-93     V6/2.8L                                                                              460                     —                —
1996        L4/1.9L      Dsl                                                                     6506                    —                —
1996-95     L4/2.0L      Opt                                                                     650                     —                —
1996-90     L4/2.0L                                                                              460                     —                —
1995-93     L4/1.9L      Dsl                                                                     460                     —                —
1995-93     V6/2.8L      Opt                                                                     650                     —                —
1993        L4/1.8L                                                                              475                     —                —
1992-91     L4/1.8L                                                                              460                     —                —
Volkswagen Passat CC
2010-09     L4/2.0L                                                                              48050, 54               H5 (47)          H5 (47) AGM
2010-09     L4/2.0L      PR Code J1L                                                             60 Ah50, 54, 58         H5 (47)          H5 (47) AGM
2010-09     L4/2.0L      PR Code JOL                                                             70 Ah50, 55, 56, 58     H6 (48)          H6 (48) AGM
2010-09     V6/3.6L                                                                              64050, 54               —                —
2010-09     V6/3.6L      PR Code J1U                                                             95 Ah50, 54, 58         —                H8 (49) AGM
Volkswagen Phaeton
2006        W12/6.0L                                                                             74050                   —                H8 (49) AGM
2006        W12/6.0L     Auxiliary, In Trunk                                                     92 Ah33                 H8 (49) AGM      —
2006        W12/6.0L     Starting, In Trunk                                                      61 Ah50, 55, 56         —                —
2006-04     V8/4.2L                                                                              74050                   —                H8 (49) AGM
2006-04     V8/4.2L      Auxiliary, In Trunk                                                     92 Ah33                 H8 (49) AGM      —
2006-04     V8/4.2L      Starting, In Trunk                                                      61 Ah50, 55, 56         —                —
Volkswagen R32
2008        V6/3.2L                                                                              64054                   H7 (94R)         H7 (94R) AGM
Volkswagen Rabbit
2009-06 L5/2.5L          HD, PR Code J0R                                                         64050, 58               H7 (94R)         H7 (94R) AGM
2009-06 L5/2.5L          PR Code J0L                                                             54050, 55, 56, 58       H6 (48)          H6 (48) AGM
Volkswagen Routan
2014-11     V6/3.6L                                                                              700                     H7 (94R)         H7 (94R) AGM
2010-09     V6/3.8L                                                                              600                     34               —
2010-09     V6/3.8L                                                                              700                     34               —
2010-09     V6/4.0L                                                                              600                     34               —
2010-09     V6/4.0L                                                                              700                     34               —
Volkswagen Tiguan
2020-19     L4/1.4L      PR Code J0V                                                             68050, 56, 55, 58, 59   —                —
2020-19     L4/1.4L      PR Code J1D                                                             64050, 55, 56, 58       —                —
2020-19     L4/1.4L      PR Code J2D                                                             68033, 50, 55, 56, 58   H6 (48) AGM      —
2020-19     L4/1.4L      PR Code J1N                                                             80033, 50, 55, 56, 58   H7 (94R) AGM     —
2020-18     L4/2.0L      PR Code J1N                                                             80033, 50, 55, 56, 58   H7 (94R) AGM     —
2020-18     L4/2.0L      PR Code J0V                                                             68050, 56, 55, 58, 59   —                —
2020-18     L4/2.0L      PR Code J1D                                                             64050, 55, 56, 58       —                —
2020-17     L4/2.0L      PR Code J2D                                                             68033, 50, 55, 56, 58   H6 (48) AGM      —
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                       151
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT              GROUP SIZE       ALTERNATE SIZE
                                                                                                       CCA/RATING                   (NOTES)            (NOTES)

   Volkswagen Tiguan (continued)
   2018        L4/2.0L     PR Code J0N                                                          540 50, 56, 55, 58            —                 —
   2018        L4/2.0L     PR Code J0S                                                          54054, 55, 57, 58, 59         —                 —
   2018        L4/2.0L     PR Code J0T                                                          680                           —                 —
   2018        L4/2.0L     PR Code J1P                                                          36045, 54, 55, 57, 58         —                 —
   2018-17     L4/2.0L     PR Code J2S                                                          48045, 54, 55, 57, 58         —                 —
   2017-12     L4/2.0L     Opt                                                                  68045, 54, 59                 —                 —
   2017-12     L4/2.0L     PR Code J0S                                                          540 54, 58, 59                —                 —
   2017-09     L4/2.0L                                                                          54050, 54, 55, 56             —                 —
   2017-09     L4/2.0L     Opt                                                                  64050, 54, 55, 56             —                 —
   2014-09     L4/2.0L     HD, PR Code J1D                                                      64050, 55, 56, 58             —                 —
   2014-09     L4/2.0L     Opt                                                                  68033, 50, 54, 55, 56         H6 (48) AGM       —
   2014-09     L4/2.0L     PR Code J0L                                                          54050, 54, 55, 56             H6 (48)           H6 (48) AGM
   Volkswagen Touareg
   2017-11     V6/3.6L     PR Code J1N                                                          64050, 54, 55, 56             H7 (94R)          H7 (94R) AGM
   2017-11     V6/3.6L      PR Code J1U                                                         85033, 50, 54, 55, 56         H8 (49) AGM       —
   2017-11     V6/3.6L     Opt                                                                  80033, 50, 54, 55, 56         H7 (94R) AGM      —
   2017-11     V6/3.6L     Opt                                                                  85050, 54, 55, 56             —                 H9 (95R) AGM
   2017-11     V6/3.6L     Opt                                                                  95033, 50, 54, 55, 56         —                 H9 (95R) AGM
   2017-11     V6/3.6L     Opt, w/o AGM, PR Code J2T                                            76050, 54, 55, 56             H7 (94R)          H7 (94R) AGM
   2016-11     V6/3.0L     Dsl                                                                  64050, 54, 55, 56             H7 (94R)          H7 (94R) AGM
   2016-11     V6/3.0L     Dsl, Opt                                                             85033, 50, 54, 55, 56         H8 (49) AGM       —
   2016-11     V6/3.0L     Dsl, Opt                                                             80033, 50, 54, 55, 56         H7 (94R) AGM      —
   2016-11     V6/3.0L     Dsl, Opt                                                             85050, 54, 55, 56             —                 H9 (95R) AGM
   2016-11     V6/3.0L     Dsl, Opt                                                             95033, 50, 54, 55, 56         —                 H9 (95R) AGM
   2016-11     V6/3.0L     Dsl, Opt, PR Code J2T                                                76050, 54, 55, 56             H7 (94R)          H7 (94R) AGM
   2016-11     V6/3.0L     Hybrid                                                               64050, 54, 55, 56             H7 (94R)          H7 (94R) AGM
   2016-11     V6/3.0L     Hybrid, Opt                                                          85033, 50, 54, 55, 56         H8 (49) AGM       —
   2016-11     V6/3.0L     Hybrid, Opt                                                          80033, 50, 54, 55, 56         H7 (94R) AGM      —
   2016-11     V6/3.0L     Hybrid, Opt                                                          85050, 54, 55, 56             —                 H9 (95R) AGM
   2016-11     V6/3.0L     Hybrid, Opt                                                          95033, 50, 54, 55, 56         —                 H9 (95R) AGM
   2016-11     V6/3.0L     Hybrid, Opt, PR Code J2T                                             76050, 54, 55, 56             H7 (94R)          H7 (94R) AGM
   2014-11     V6/3.0L     Hybrid, PR Code J1N                                                  75 Ah33, 50, 54, 55, 56, 58   H7 (94R) AGM      —
   2014-11     V6/3.0L     Opt, HD, PR Code J1D                                                 64050, 55, 56, 58             —                 —
   2014-11     V6/3.0L     Opt, w/o AGM, PR Code J2T                                            85 Ah50, 54, 55, 56, 58       —                 —
   2014-11     V6/3.6L     Opt, HD, PR Code J1D                                                 64050, 54, 55, 56, 58         —                 —
   2014-09     V6/3.0L     TDI, PR Code J0Z                                                     110 Ah50, 54, 55, 56, 58      —                 —
   2014-07     V6/3.6L     Opt 1 PR Code J1U                                                    76050, 54, 55, 56, 58         —                 H8 (49) AGM
   2014-07     V6/3.6L     Opt 2 PR Code J0Z                                                    110 Ah50, 54, 55, 56, 58      —                 —
   2010-09     V6/3.0L     Dsl                                                                  85050, 54                     —                 H9 (95R) AGM
   2010-07     V6/3.6L     Opt                                                                  85050, 54                     —                 H9 (95R) AGM
   2009-08     V8/4.2L                                                                          79050, 54                     —                 —
   2009-04     V8/4.2L     Under seat w/o AGM, PR Code J2T                                      85 Ah50, 54, 55, 56, 58       —                 —
   2008-07     V10/5.0L    Dsl                                                                  74050, 54                     —                 —
   2008-05     V10/5.0L    In trunk – AGM Battery                                               92 Ah33, 50, 54, 55, 56, 58   H8 (49) AGM       —
   2008-05     V10/5.0L    Under driver seat                                                    110 Ah50, 54, 55              —                 —
   2008-05     V10/5.0L    w/o AGM                                                              95 Ah50, 54, 55               —                 H8 (49) AGM
   2007-06     V8/4.2L                                                                          74050, 54                     —                 —
   2006-05     V10/5.0L    Dsl                                                                  85033, 50, 54                 H8 (49) AGM       —
   2006-05     V6/3.2L                                                                          64050                         H7 (94R)          H7 (94R) AGM
   2005-04     V8/4.2L                                                                          74050                         —                 H8 (49) AGM
   2004        V10/4.9L    Auxiliary, Dsl                                                       95050, 54                     —                 H9 (95R) AGM
   2004        V10/4.9L    Dsl                                                                  85033, 50, 54                 H8 (49) AGM       —
   2004        V10/4.9L    Dsl, w/o AGM                                                         95 Ah50, 54, 55               —                 H8 (49) AGM
   2004        V6/3.2L                                                                          64050, 54                     H7 (94R)          H7 (94R) AGM
   Volkswagen Vanagon
   1991-87 H4/2.1L                                                                              500                           —                 —
   Volvo 1800
   1968    L4/1.8L                                                                              350                           24                —
   1967-61 L4/1.8L                                                                              315                           24                —
   Volvo 240
   1993-90 L4/2.3L         Standard Battery                                                     500                           H5 (47)           H5 (47) AGM
   1992-91 L4/2.3L         Opt                                                                  600                           H6 (48)           H6 (48) AGM
   Volvo 740
   1992-89     L4/2.3L     Standard Battery                                                     460                           H5 (47)           H5 (47) AGM
   1992-85     L4/2.3L                                                                          520                           H5 (47)           H5 (47) AGM
   1992-85     L4/2.3L     Opt                                                                  600                           H6 (48)           H6 (48) AGM
   1990        L4/2.3L     Opt                                                                  500                           H6 (48)           H6 (48) AGM
   Volvo 760
   1990    L4/2.3L                                                                              450                           H5 (47)           H5 (47) AGM
   1990    V6/2.8L                                                                              450                           H5 (47)           H5 (47) AGM
   1990-84 L4/2.3L                                                                              520                           H5 (47)           H5 (47) AGM
   See page 157 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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152                                                        Automotive/Light Truck
  YEAR      ENGINE                               OPTIONS              ORIGINAL EQUIPMENT       GROUP SIZE      ALTERNATE SIZE
                                                                          CCA/RATING            (NOTES)           (NOTES)

Volvo 760 (continued)
1990-84 L4/2.3L      Opt                                            600                    H6 (48)           H6 (48) AGM
1990-83 V6/2.8L                                                     520                    H5 (47)           H5 (47) AGM
1990-83 V6/2.8L      Opt                                            600                    H6 (48)           H6 (48) AGM
Volvo 780
1991      L4/2.3L    Coupe                                          440                    H5 (47)           H5 (47) AGM
1991-90   L4/2.3L    Opt                                            600                    H6 (48)           H6 (48) AGM
1991-89   L4/2.3L                                                   520                    H5 (47)           H5 (47) AGM
1990      V6/2.8L    Opt                                            600                    H6 (48)           H6 (48) AGM
1990-87   V6/2.8L                                                   520                    H5 (47)           H5 (47) AGM
Volvo 850
1997-94 L5/2.3L      Standard Battery                               520                    H5 (47)           H5 (47) AGM
1997-93 L5/2.4L                                                     520                    H5 (47)           H5 (47) AGM
Volvo 940
1995-91 L4/2.3L      Standard Battery                               520                    H5 (47)           H5 (47) AGM
1992-91 L4/2.3L      Opt                                            600                    H6 (48)           H6 (48) AGM
Volvo 960
1997-92 L6/2.9L                                                     600                    H6 (48)           H6 (48) AGM
Volvo C30
2013-08   L5/2.5L                                                   59050                  —                 —
2013-07   L5/2.5L    Opt                                            80 Ah                  H7 (94R)          H7 (94R) AGM
2013-07   L5/2.5L    Standard Battery                               59050                  —                 —
2010-07   L5/2.4L                                                   59050                  —                 —
2010-07   L5/2.4L    Opt                                            70050                  H7 (94R)          H7 (94R) AGM
Volvo C70
2013-06   L5/2.5L                                                   59050                  —                 —
2013-06   L5/2.5L    Opt                                            80 Ah                  H7 (94R)          H7 (94R) AGM
2013-06   L5/2.5L    Standard Battery                               590                    —                 —
2004-01   L5/2.3L                                                   600                    H6 (48)           H6 (48) AGM
2004-01   L5/2.4L                                                   600                    H6 (48)           H6 (48) AGM
2000-98   L5/2.3L                                                   520                    H5 (47)           H5 (47) AGM
2000-98   L5/2.4L                                                   520                    H5 (47)           H5 (47) AGM
Volvo S40
2011      L5/2.5L    w/o Premium Stereo                             59050                  —                 —
2011-06   L5/2.5L                                                   52050                  —                 —
2011-05   L5/2.5L    HD, Late 2004 on                               700                    H7 (94R)          H7 (94R) AGM
2011-05   L5/2.5L    w/Premium Stereo                               70050                  H7 (94R)          H7 (94R) AGM
2010-07   L5/2.4L    w/Premium Stereo                               70050                  H7 (94R)          H7 (94R) AGM
2010-06   L5/2.4L                                                   52050                  —                 —
2010-05   L5/2.4L                                                   59050                  —                 —
2010-05   L5/2.4L    HD, Late 2004 on                               700                    H7 (94R)          H7 (94R) AGM
2010-05   L5/2.5L                                                   59050                  —                 —
2005      L5/2.4L    Late 2004 on                                   52050                  —                 —
2005      L5/2.5L    Late 2004 on                                   52050                  —                 —
2004      L4/1.9L    Late                                           59050                  —                 —
2004      L4/1.9L    Late, w/Premium Stereo                         70050                  H7 (94R)          H7 (94R) AGM
2004      L4/1.9L    Turbo                                          60050                  H6 (48)           H6 (48) AGM
2004      L5/2.4L    Early                                          600                    H6 (48)           H6 (48) AGM
2004      L5/2.4L    Late                                           59050                  —                 —
2004      L5/2.4L    Late, w/Premium Stereo                         70050                  H7 (94R)          H7 (94R) AGM
2004      L5/2.5L    Early                                          600                    H6 (48)           H6 (48) AGM
2004      L5/2.5L    Late                                           59050                  —                 —
2004      L5/2.5L    Late, w/Premium Stereo                         70050                  H7 (94R)          H7 (94R) AGM
2004-00   L4/1.9L    Early 2004                                     600                    H6 (48)           H6 (48) AGM
2002-00   L4/1.9L                                                   600                    H6 (48)           H6 (48) AGM
Volvo S60
2020-19   L4/2.0L    Auxiliary                                      18033, 50              —                  —
2020-19   L4/2.0L    Code CS0C                                      80033, 50              H7 (94R) AGM —
2018-17   L4/2.0L    Auxiliary                                      18033, 50              —                  —
2018-17   L4/2.0L    Code CS01                                      60050                  H6 (48)            H6 (48) AGM
2018-17   L4/2.0L    Code CS02                                      52050                  H5 (47)            H5 (47) AGM
2018-17   L4/2.0L    Code CS03                                      70050                  —                  —
2018-17   L4/2.0L    Code CS13                                      80033, 50              H7 (94R) AGM —
2016      L4/2.0L    Start-Stop or Inscription                      80033, 50              H7 (94R) AGM —
2016      L5/2.5L    Inscription                                    80033, 50              H7 (94R) AGM —
2016      L6/3.0L    Polestar                                       76033, 50              H6 (48) AGM        —
2016-15   L4/2.0L    Start-Stop, Opt                                76033, 50              H6 (48) AGM        —
2016-15   L5/2.5L    Opt, w/Premium Stereo                          76033, 50              H6 (48) AGM        —
2016-15   L6/3.0L    Opt, w/Premium Stereo                          76033, 50              H6 (48) AGM        —
2016-11   L5/2.5L    w/o Premium Stereo                             60050                  H6 (48)            H6 (48) AGM
2016-12   L5/2.5L    w/Premium Stereo                               70050                  —                  —
                                                                   See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                          153
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT      GROUP SIZE    ALTERNATE SIZE
                                                                                  CCA/RATING           (NOTES)         (NOTES)

   Volvo S60 (continued)
   2016-11     L6/3.0L     w/o Premium Stereo                               60050                  H6 (48)         H6 (48) AGM
   2016-11     L6/3.0L     w/Premium Stereo                                 70050                  —               —
   2009-03     L5/2.5L     Opt                                              80050                  —               H8 (49) AGM
   2009-03     L5/2.5L     Standard Battery                                 60050                  H6 (48)         H6 (48) AGM
   2009-01     L5/2.4L     Opt                                              80050                  —               H8 (49) AGM
   2009-01     L5/2.4L     Premium Audio, RTI, RSE Opt 1                    80 Ah47, 50            —               —
   2009-01     L5/2.4L     Standard Battery                                 60050                  H6 (48)         H6 (48) AGM
   2008-06     L5/2.4L                                                      60050                  H6 (48)         H6 (48) AGM
   2007-04     L5/2.5L                                                      60050                  H6 (48)         H6 (48) AGM
   2004-01     L5/2.3L     Opt                                              80050                  —               H8 (49) AGM
   2004-01     L5/2.3L     Standard Battery                                 60050                  H6 (48)         H6 (48) AGM
   2003-01     L5/2.4L                                                      60050                  H6 (48)         H6 (48) AGM
   Volvo S60 Cross Country
   2018        L4/2.0L     Auxiliary                                        18033, 50              —               —
   2018        L4/2.0L     Code CS01                                        60050                  H6 (48)         H6 (48) AGM
   2018        L4/2.0L     Code CS02                                        52050                  H5 (47)         H5 (47) AGM
   2018        L4/2.0L     Code CS03                                        70050                  —               —
   2018        L4/2.0L     Code CS13                                        80033, 50              H7 (94R) AGM    —
   2017        L4/2.0L     Inscription                                      80033, 50              H7 (94R) AGM    —
   2017        L4/2.0L     Opt, w/Premium Stereo                            76033, 50              H6 (48) AGM     —
   2017        L4/2.0L     w/o Premium Stereo                               60050                  H6 (48)         H6 (48) AGM
   2017        L4/2.0L     w/Premium Stereo                                 70050                  —               —
   2016        L5/2.5L                                                      76033, 50              H6 (48) AGM     —
   2016        L5/2.5L     Inscription                                      80033, 50              H7 (94R) AGM    —
   2016        L5/2.5L     Opt, w/Premium Stereo                            76033, 50              H6 (48) AGM     —
   2016        L5/2.5L     w/o Premium Stereo                               60050                  H6 (48)         H6 (48) AGM
   2016        L5/2.5L     w/Premium Stereo                                 70050                  —               —
   Volvo S70
   2000-98     L5/2.3L     Opt                                              600                    H6 (48)         H6 (48) AGM
   2000-98     L5/2.3L     Standard Battery                                 520                    H5 (47)         H5 (47) AGM
   2000-98     L5/2.4L     Opt                                              600                    H6 (48)         H6 (48) AGM
   2000-98     L5/2.4L     Standard Battery                                 520                    H5 (47)         H5 (47) AGM
   2000        L5/2.4L                                                      600                    H6 (48)         H6 (48) AGM
   1999        L5/2.4L                                                      520                    H5 (47)         H5 (47) AGM
   1999        L5/2.4L     From Chassis #491304                             600                    H6 (48)         H6 (48) AGM
   Volvo S80
   2016        L4/2.0L                                                      76033, 50              H6 (48) AGM     —
   2016-15     L4/2.0L     Start-Stop                                       80033, 50              H7 (94R) AGM    —
   2016-15     L4/2.0L     Start-Stop, Opt                                  76033, 50              H6 (48) AGM     —
   2015        L4/2.0L     w/o Premium Stereo                               60050                  H6 (48)         H6 (48) AGM
   2015        L4/2.0L     w/Premium Stereo                                 70050                  —               —
   2015        L6/3.0L     Opt, w/Premium Stereo                            76033, 50              H6 (48) AGM     —
   2015-14     L6/3.0L     w/o Premium Stereo                               60050                  H6 (48)         H6 (48) AGM
   2015-08     L6/3.0L     w/Premium Stereo                                 70050                  —               —
   2014        L6/3.2L     w/o Premium Stereo                               60050                  H6 (48)         H6 (48) AGM
   2014-08     L6/3.0L     Premium Audio, RTI, RSE Opt 1                    80 Ah47, 50            —               —
   2014-07     L6/3.2L     Premium Audio, RTI, RSE Opt 1                    80 Ah47, 50            —               —
   2014-07     L6/3.2L     w/Premium Stereo                                 70050                  —               —
   2013-08     L6/3.0L                                                      60050                  H6 (48)         H6 (48) AGM
   2013-07     L6/3.2L                                                      60050                  H6 (48)         H6 (48) AGM
   2011-10     L6/3.0L     w/o Premium Stereo                               60050                  H6 (48)         H6 (48) AGM
   2010        V8/4.4L     w/Premium Stereo                                 70050                  —               —
   2010-07     V8/4.4L                                                      60050                  H6 (48)         H6 (48) AGM
   2010-07     V8/4.4L     Premium Audio, RTI, RSE Opt 1                    80 Ah47, 50            —               —
   2010-07     V8/4.4L     Premium Audio, RTI, RSE Opt 2                    80050                  —               —
   2009-08     L6/3.2L     w/o Premium Stereo                               60050                  H6 (48)         H6 (48) AGM
   2009-07     V8/4.4L     Opt                                              70050                  —               —
   2006-04     L5/2.5L                                                      60050                  H6 (48)         H6 (48) AGM
   2006-04     L5/2.5L     Opt                                              80050                  —               H8 (49) AGM
   2005-99     L6/2.9L                                                      60050                  H6 (48)         H6 (48) AGM
   2005-99     L6/2.9L     Opt                                              80050                  —               H8 (49) AGM
   2001-99     L6/2.8L                                                      60050                  H6 (48)         H6 (48) AGM
   2001-99     L6/2.8L     Opt                                              80050                  —               H8 (49) AGM
   Volvo S90
   2020-18 L4/2.0L         Auxiliary                                        18033, 50              —               —
   2020-18 L4/2.0L         Code CS04                                        80033, 50              H7 (94R) AGM    —
   2017       L4/2.0L      Auxiliary for Start-Stop                         N/A45                  —               —
   2017       L4/2.0L                                                       80033, 50              H7 (94R) AGM    —
   2017       L4/2.0L      Opt                                              85033, 50              H8 (49) AGM     —
   1998-97 L6/2.9L                                                          60050                  H6 (48)         H6 (48) AGM
   See page 157 for Footnotes. Selection may vary by warehouse.

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154                                                         Automotive/Light Truck
  YEAR      ENGINE                                OPTIONS              ORIGINAL EQUIPMENT       GROUP SIZE        ALTERNATE SIZE
                                                                           CCA/RATING            (NOTES)             (NOTES)

Volvo V40
2004-00 L4/1.9L                                                      60050                  H6 (48)           H6 (48) AGM
Volvo V50
2011-05   L5/2.5L                                                    590                    —                 —
2011-05   L5/2.5L    Opt                                             700                    H7 (94R)          H7 (94R) AGM
2010-05   L5/2.4L                                                    590                    —                 —
2010-05   L5/2.4L    Opt                                             700                    H7 (94R)          H7 (94R) AGM
2007-05   L5/2.5L    w/o Premium Stereo                              59050                  —                 —
2007-05   L5/2.5L    w/Premium Stereo                                70050                  H7 (94R)          H7 (94R) AGM
Volvo V60
2020-19   L4/2.0L    Code CA0C                                       80033, 50              H7 (94R) AGM      —
2020-17   L4/2.0L    Auxiliary                                       18033, 50              —                 —
2018-17   L4/2.0L    Code CS01                                       600                    H6 (48)           H6 (48) AGM
2018-17   L4/2.0L    Code CS02                                       520                    H5 (47)           H5 (47) AGM
2018-17   L4/2.0L    Code CS03                                       700                    —                 —
2018-17   L4/2.0L    Code CS04                                       800                    —                 —
2018-17   L4/2.0L    Code CS0D or CS0F, EFB                          72050, 59              —                 —
2018-17   L4/2.0L    Code CS13                                       800                    H7 (94R) AGM      —
2016      L4/2.0L                                                    76033, 50              H6 (48) AGM       —
2016      L4/2.0L    Start-Stop or Inscription                       80033, 50              H7 (94R) AGM      —
2016      L6/3.0L    Polestar                                        76033, 50              H6 (48) AGM       —
2016      L6/3.0L    w/Premium Stereo                                700                    —                 —
2016-15   L4/2.0L    Start-Stop, Opt                                 76033, 50              H6 (48) AGM       —
2016-15   L6/3.0L    Opt, w/Premium Stereo                           76033, 50              H6 (48) AGM       —
2016-15   L6/3.0L    w/o Premium Stereo                              60050                  H6 (48)           H6 (48) AGM
2015      L4/2.0L                                                    80033, 50              H7 (94R) AGM      —
2015      L4/2.0L    Start-Stop                                      80033, 50              H7 (94R) AGM      —
2015      L5/2.5L    Opt, w/Premium Stereo                           76033, 50              H6 (48) AGM       —
2015      L5/2.5L    w/o Premium Stereo                              60050                  H6 (48)           H6 (48) AGM
2015      L5/2.5L    w/Premium Stereo                                70050                  —                 —
2015      L6/3.0L    w/Premium Stereo                                70050                  —                 —
Volvo V60 Cross Country
2020-19   L4/2.0L    Code CA0C                                       80033, 50              H7 (94R) AGM      —
2020-17   L4/2.0L    Auxiliary                                       18033, 50              —                 —
2018-17   L4/2.0L    Code CS01                                       600                    H6 (48)           H6 (48) AGM
2018-17   L4/2.0L    Code CS02                                       520                    H5 (47)           H5 (47) AGM
2018-17   L4/2.0L    Code CS03                                       700                    —                 —
2018-17   L4/2.0L    Code CS04                                       800                    —                 —
2018-17   L4/2.0L    Code CS0D or CS0F, EFB                          72050, 59              —                 —
2018-17   L4/2.0L    Code CS13                                       80033, 50              H7 (94R) AGM      —
2016      L5/2.5L    E FWD                                           80 Ah33                H7 (94R) AGM      —
2016      L5/2.5L    Inscription                                     80033, 50              H7 (94R) AGM      —
2016-15   L5/2.5L    Opt, w/Premium Stereo                           76033, 50              H6 (48) AGM       —
2016-15   L5/2.5L    w/o Premium Stereo                              60050                  H6 (48)           H6 (48) AGM
2016-15   L5/2.5L    w/Premium Stereo                                70050                  —                 —
Volvo V70
2010-08   L6/3.2L    Ex Premium Audio, RTI, RSE                      60050                  H6 (48)           H6 (48) AGM
2010-08   L6/3.2L    Premium Audio, RTI, RSE                         80 Ah47, 50            —                 —
2010-08   L6/3.2L    w/Premium Stereo                                70050                  —                 —
2007-98   L5/2.4L                                                    520                    H5 (47)           H5 (47) AGM
2007-98   L5/2.4L    Opt 1                                           60050                  H6 (48)           H6 (48) AGM
2007-03   L5/2.5L                                                    520                    H5 (47)           H5 (47) AGM
2007-03   L5/2.5L    HD, Electronic Upgrade                          80050                  —                 H8 (49) AGM
2007-03   L5/2.5L    Opt 1                                           60050                  H6 (48)           H6 (48) AGM
2007-02   L5/2.4L    HD, Electronic Upgrade                          80050                  —                 H8 (49) AGM
2004-98   L5/2.3L                                                    520                    H5 (47)           H5 (47) AGM
2004-02   L5/2.3L    HD, Electronic Upgrade                          80050                  —                 H8 (49) AGM
2004-01   L5/2.3L    Opt 1                                           60050                  H6 (48)           H6 (48) AGM
2003-99   L5/2.4L                                                    52050                  H5 (47)           H5 (47) AGM
2003-99   L5/2.4L    Opt                                             60050                  H6 (48)           H6 (48) AGM
2003-02   L5/2.4L    Opt                                             80050                  —                 H8 (49) AGM
2000-98   L5/2.3L    Opt                                             60050                  H6 (48)           H6 (48) AGM
Volvo V90
2020-18   L4/2.0L    Auxiliary                                       18033, 50              —                 —
2020-18   L4/2.0L    Code CS02                                       80033, 50              H7 (94R) AGM      —
2020-18   L4/2.0L    Code CS0C                                       85033, 50              H8 (49) AGM       —
1998-97   L6/2.9L                                                    60050                  H6 (48)           H6 (48) AGM
Volvo V90 Cross Country
2020-17 L4/2.0L      Auxiliary                                       18033, 50              —                 —
2020-17 L4/2.0L      Code CS02                                       80033, 50              H7 (94R) AGM      —
2020-17 L4/2.0L      Code CS0C                                       85033, 50              H8 (49) AGM       —
                                                                    See page 157 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                          155
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT      GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING           (NOTES)            (NOTES)

   Volvo XC40
   2020-19 L4/2.0L                                                          76033, 50              H6 (48) AGM     —
   2020-19 L4/2.0L         Auxiliary                                        18033, 50              —               —
   Volvo XC60
   2020-18     L4/2.0L     Code CS02                                        80033, 50              H7 (94R) AGM    —
   2020-18     L4/2.0L     Code CS0C                                        85033, 50              H8 (49) AGM     —
   2020-17     L4/2.0L     Auxiliary                                        18033, 50              —               —
   2017        L4/2.0L     Code CS01                                        600                    H6 (48)         H6 (48) AGM
   2017        L4/2.0L     Code CS02                                        520                    H5 (47)         H5 (47) AGM
   2017        L4/2.0L     Code CS03                                        700                    —               —
   2017        L4/2.0L     Code CS13                                        80033, 50              H7 (94R) AGM    —
   2016-15     L4/2.0L     Start-Stop                                       80033, 50              H7 (94R) AGM    —
   2016-15     L4/2.0L     Start-Stop, Opt                                  76033, 50              H6 (48) AGM     —
   2016-15     L5/2.5L     Opt, w/Premium Stereo                            76033, 50              H6 (48) AGM     —
   2016-15     L5/2.5L     w/o Premium Stereo                               60050                  H6 (48)         H6 (48) AGM
   2016-15     L5/2.5L     w/Premium Stereo                                 70050                  —               —
   2016-15     L6/3.0L     Opt, w/Premium Stereo                            76033, 50              H6 (48) AGM     —
   2016-10     L6/3.0L     w/o Premium Stereo                               60050                  H6 (48)         H6 (48) AGM
   2016-10     L6/3.0L     w/Premium Stereo                                 70050                  —               —
   2015-10     L6/3.2L     w/o Premium Stereo                               60050                  H6 (48)         H6 (48) AGM
   2015-10     L6/3.2L     w/Premium Stereo                                 70050                  —               —
   2014-10     L6/3.0L     Opt                                              80 Ah47                —               —
   2014-10     L6/3.2L     Opt                                              80 Ah47                —               —
   2013-10     L6/3.0L     Standard Battery                                 70 Ah                  H6 (48)         H6 (48) AGM
   2013-10     L6/3.2L                                                      70 Ah                  H6 (48)         H6 (48) AGM
   Volvo XC70
   2016        L4/2.0L                                                      80 Ah33                H7 (94R) AGM    —
   2016        L4/2.0L     E-FWD Pkg, Keyless locking                       70 Ah33, 50            H6 (48) AGM     —
   2016        L4/2.0L     Start-Stop                                       80033, 50              H7 (94R) AGM    —
   2016        L5/2.5L                                                      80 Ah33                H7 (94R) AGM    —
   2016        L5/2.5L     AWD                                              70 Ah33, 50            H6 (48) AGM     —
   2016        L5/2.5L     Opt, w/Premium Stereo                            76033, 50              H6 (48) AGM     —
   2016        L5/2.5L     w/o Premium Stereo                               60050                  H6 (48)         H6 (48) AGM
   2016        L5/2.5L     w/Premium Stereo                                 70050                  —               —
   2016-15     L4/2.0L     Start-Stop, Opt                                  76033, 50              H6 (48) AGM     —
   2015        L4/2.0L                                                      80033, 50              H7 (94R) AGM    —
   2015        L6/3.0L     Opt, w/Premium Stereo                            76033, 50              H6 (48) AGM     —
   2015        L6/3.2L     Opt, w/Premium Stereo                            76033, 50              H6 (48) AGM     —
   2015-09     L6/3.0L     w/o Premium Stereo                               60050                  H6 (48)         H6 (48) AGM
   2015-09     L6/3.0L     w/Premium Stereo                                 70050                  —               —
   2015-08     L6/3.2L     w/o Premium Stereo                               60050                  H6 (48)         H6 (48) AGM
   2015-08     L6/3.2L     w/Premium Stereo                                 70050                  —               —
   2014-09     L6/3.0L     SI6                                              590                    H6 (48)         H6 (48) AGM
   2014-09     L6/3.0L     SI6, Prem Audio, RTI, RSE                        80 Ah47                —               —
   2014-08     L6/3.2L     SI6                                              590                    H6 (48)         H6 (48) AGM
   2014-08     L6/3.2L     SI6, Prem Audio, RTI, RSE                        80 Ah47                —               —
   2007-04     L5/2.5L                                                      52050                  H5 (47)         H5 (47) AGM
   2007-04     L5/2.5L     Opt                                              60050                  H6 (48)         H6 (48) AGM
   2007-03     L5/2.5L     Ex Premium Audio, RTI, RSE                       52050                  H5 (47)         H5 (47) AGM
   2007-03     L5/2.5L     Opt                                              80050                  —               H8 (49) AGM
   2007-03     L5/2.5L     RTI, RSE, Opt 1                                  60050                  H6 (48)         H6 (48) AGM
   Volvo XC90
   2020-18 L4/2.0L         Code CS0E, CS04                                  85033, 50              —               —
   2020-17 L4/2.0L         Auxiliary                                        18033, 50              —               —
   2020-17 L4/2.0L         Code CS03, CS0C                                  80033, 50              H7 (94R) AGM    —
   2016       L4/2.0L      Early                                            95 Ah33, 50            H8 (49) AGM     —
   2016       L4/2.0L      Late                                             80 Ah33, 50            H7 (94R) AGM    —
   2014-07 L6/3.2L         Opt                                              76050                  —               H8 (49) AGM
   2014-07 L6/3.2L         Standard Battery                                 60050                  H6 (48)         H6 (48) AGM
   2011-05 V8/4.4L         Opt                                              76050                  —               H8 (49) AGM
   2011-05 V8/4.4L         Standard Battery                                 60050                  H6 (48)         H6 (48) AGM
   2010-07 L6/3.2L                                                          60050                  H6 (48)         H6 (48) AGM
   2006-04 L5/2.5L                                                          60050                  H6 (48)         H6 (48) AGM
   2006-03 L5/2.5L         Opt                                              76050                  —               H8 (49) AGM
   2006-03 L5/2.5L         Standard Battery                                 60050                  H6 (48)         H6 (48) AGM
   2005-03 L6/2.9L                                                          60050                  H6 (48)         H6 (48) AGM
   2005-03 L6/2.9L         Opt                                              76050                  —               H8 (49) AGM
   2005-03 L6/2.9L         Standard Battery                                 60050                  H6 (48)         H6 (48) AGM
   See page 157 for Footnotes. Selection may vary by warehouse.

                                                                                                                             Costco_001955
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Workhorse                   Document 117-5 Entered on FLSD Docket 02/20/2023 Page 757 of
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156                                         Automotive/Light Truck
  YEAR      ENGINE                OPTIONS                    ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                 CCA/RATING             (NOTES)            (NOTES)

Workhorse FasTrack FT1061
2005-04 V8/4.8L                                            690                    78                —
2004-02 V8/5.7L                                            690                    78                —
Workhorse FasTrack FT1260
2001-00 V8/5.7L                                            690                    78                —
Workhorse FasTrack FT1261
2005    V8/4.8L                                            690                    78                —
2005-04 L4/3.9L                                            690                    78                —
2005-02 V8/5.7L                                            690                    78                —
Workhorse FasTrack FT1460
2002-00 V8/5.7L                                            690                    78                —
Workhorse FasTrack FT1461
2005-04   L4/3.9L                                          690                    78                —
2005-04   V8/4.8L                                          690                    78                —
2005-04   V8/6.0L                                          690                    78                —
2005-02   V8/5.7L                                          690                    78                —
Workhorse FasTrack FT1600
2001-00 V8/5.7L                                            690                    78                —
Workhorse FasTrack FT1601
2005-04 L4/3.9L                                            690                    78                —
2005-04 V8/4.8L                                            690                    78                —
2005-02 V8/5.7L                                            690                    78                —
Workhorse FasTrack FT1800
2001-00 V8/5.7L                                            690                    78                —
Workhorse FasTrack FT1801
2005-04 V8/6.0L                                            690                    78                —
2005-02 V8/6.5L                                            6002                   78                —
2004-02 V8/5.7L                                            690                    78                —
Workhorse FasTrack FT1802
2003-02 V8/5.7L                                            690                    78                —
2003-02 V8/6.5L                                            6002                   78                —
Workhorse FasTrack FT931
2003-02 V6/4.3L                                            690                    78                —
Workhorse P30
2005-00 V8/5.7L                                            690                    78                —
Yugo Cabrio
1992    L4/1.3L                                            37045                  58                —
1991-90 L4/1.3L                                            370                    58                —
Yugo GV
1992      L4/1.3L                                          37045                  —                 —
1991      L4/1.3L                                          370                    —                 —
1990      L4/1.3L                                          370                    —                 —




                                                          See page 157 for Footnotes. Selection may vary by warehouse.

                                                                                                                         Costco_001956
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   Footnotes                                                                                                                                   157
   2.    Two batteries may be required.
      %HVWŴWHVWLPDWH
      & KHFNIRUKHLJKW KRRGFOHDUDQFH WUD\URRPDQGKROGGRZQŴW&KHFNFOHDUDQFHEHIRUHFRQQHFWLQJFDEOHV
   7.    Check polarity and cable length before connecting cables.
   9. Manufacturer’s recommended replacement battery shown. May vary from OE battery.
    0RGLŴFDWLRQRIKROGGRZQRUKHDWVKLHOGPD\EHQHFHVVDU\
    2(EDWWHU\KDVŵXVKYHQWV
    5 HTXLUHVLQGLYLGXDOYHQWFDSVIRUSURSHUKRRGFOHDUDQFH'RQRWŴWEDWWHULHVZLWKSRGW\SHYHQWFDSV
   18. I-drive vehicles require system reset after battery installation. See BMW authorized repair for service.
   23. Special 12V: 10" x 6 1Ş16" x 8 3Ş8". Check polarity before installing.
   30. Special 12V: 9" x 7 1Ş4" x 7 1Ş2"
   31. Special deep-cycle battery
   33.   Valve-regulated AGM battery
   34.   Vibration-resistant battery
   35.   Without handle bracket
   40.   Battery in “active cooling box” with air snorkel to outside of engine compartment.
   45.   Non-BCI group size
   47.   The recommended battery for this vehicle is based on Ah and not CCA.
   48.   May not meet OE requirements.
   50.   Battery is vented outside of vehicle.
   51.   Battery may require vent hose.
   54. CCA is an EN (European Norm) rating
   55. Vehicle computer system must be reset. Contact your service specialist.
   56. Various group size batteries used in production.
   57. Models (2008 and 2009) with “MyGig” REN or REZ radios require the feed fuse for the radio to be removed before disconnecting battery.
       See Chrysler 08-003-09 Service procedure.
   58. PR Codes are located on a tag near the spare tire or in the warranty booklet.
   59. Enhanced Flooded Battery (EFB)
   60. Lithium-ion battery only
   61. With sensor




                                                                                                                                                Costco_001957
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  BATTERYBASICS
                                          AGM VS. FLOODED


    INTERSTATE® ABSORBED GLASS-MAT (AGM) BATTERIES
    DUH GHVLJQHG WR SURYLGH WKH VXSHULRU SRZHU UHOLDELOLW\
    DQG VDIHW\ QHHGHG IRU PDQ\ RI WRGD\ŔV YHKLFOHV
    7RGD\ YHKLFOHV KDYH  HOHFWULFDO GHYLFHV  \HDUV
    DJR YHKLFOHV KDG DURXQG  — Modern Tire Dealer
    • 'HVLJQHG IRU KLJKHU DFFHVVRU\ ORDGV VWDUWVWRS
     V\VWHPV *36 %OXHWRRWK VDWHOOLWH UDGLR DQG PRUH
    • 6XSHULRU VWDUWLQJ SRZHU DQG SHUIRUPDQFH LQ
     H[WUHPH ZHDWKHU FRQGLWLRQV
    •   6SLOOSURRI GHVLJQ




                                                              INTERSTATE STARTING/STANDARD BATTERIES
                                                              SURYLGH WKH SRZHU WR VWDUW D YHKLFOH DQG VXSSRUW
                                                              VWDQGDUG HOHFWULFDO DFFHVVRULHV UHOLDEO\
                                                              •   ,QWHQGHG IRU QRUPDO VWDUWLQJ OLJKWLQJ DQG LJQLWLRQ
                                                              •   5HOLDEOH FUDQNLQJ SRZHU
                                                              •   )LWV VWDQGDUG YHKLFOH PRGHOV
                                                              6WLOOQRWVXUHDERXWWKHEHVWĬWIRU\RXUYHKLFOH"
                                                              &RQVXOWWKLVEDWWHU\UHSODFHPHQWJXLGHRUD&RVWFR
                                                              VDOHVDVVRFLDWHIRUPRUHLQIRUPDWLRQ




                                             COSTCO LIMITED BATTERY WARRANTY
                     $XWRPRWLYH EDWWHULHV DUH EDFNHG E\ DQ H[FOXVLYH ZDUUDQW\ 7KH ZDUUDQW\ LV SRVWHG
                        DW WKH EDWWHU\ UDFN GLVSOD\ <RX PD\ DOVR YLVLW WKH 7LUH 6DOHV 'HVN IRU GHWDLOV




                                                                                                                        Costco_001961
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                                                                                                  Costco_001962
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                                        2021 BATTERY REPLACEMENT GUIDE
                                        USA




                                       1963
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             FIND YOUR
             PERFECT
             FIT                  BATTERY REPLACEMENT
                                  GUIDE 2 0 2 2
                                   USA




                                                                                Costco_001964
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How to Use This Battery Replacement Guide

Choosing Your Battery Is as Easy as                                                                          1 • 2 • 3
1   ,GHQWLI\ WKH PDNH PRGHO DQG \HDU RI \RXU YHKLFOH
     H[DPSOH  )RUG ) 3LFNXS


2 )LQG \RXU YHKLFOH LQ WKH UHSODFHPHQW JXLGH
                                                                  Example
             YEAR      ENGINE                 OPTIONS                ORIGINAL EQUIPMENT        GROUP SIZE        ALTERNATE SIZE
                                                                         CCA/RATING             (NOTES)             (NOTES)

           Ford F-150, F-150 Heritage
           2017-15   V6/3.5L    King Ranch, Lariat, Platinum               730            H7 (94R)           H7 (94R) AGM
           2017-15   V8/5.0L    Ex King Ranch, Lariat, Platinum            610            H6 (48)            H6 (48) AGM
           2017-15   V8/5.0L    King Ranch, Lariat, Platinum               730            H7 (94R)           H7 (94R) AGM
           2014-11   V6/3.5L                                               750            65                 65 AGM
           2014-11   V6/3.7L                                               750            65                 65 AGM
           2014-11   V8/5.0L                                               750            65                 65 AGM
           2014-10   V8/6.2L                                               750            65                 65 AGM
           2010-97   V8/4.6L                                               540            59
           2010-97   V8/5.4L                                               540            59
           2010-07   V8/4.6L    Opt                                        650            65                 65 AGM
           2010-07   V8/5.4L    Opt                                        650            65                 65 AGM
           2008-97   V6/4.2L                                               540            59
           2008-07   V6/4.2L    Opt                                        650            65                 65 AGM
           2006-97   V6/4.2L    HD, Can                                    650            65                 65 AGM




3 8VH WKH *URXS 6L]H VSHFLĬHG LQ WKH UHSODFHPHQW JXLGH WR ĬQG \RXU
    EDWWHU\ RQ WKH UDFN 7KH *URXS 6L]H LV ORFDWHG RQ WKH IURQW ODEHO

                                                                  Front label



                                                                                          65
                                                                                                                  AUTOMOTIVE




                                                                                 GROUP
                                                                                   SIZE




                                                                                   CCA

                                                                                          850
                                                                                LIMITED
                                                                             WARRANTY
                                                                           REPLACEMENT
                                                                                          36         MONTH




 )RUDFRPSOHWHOLVWRIDSSOLFDWLRQV LQFOXGLQJ YLQWDJH YLVLW &RVWFRFRP
 &OLFNRQ6KRS7LUHV $XWR,QWHUVWDWH%DWWHULHV WR ĬQG D EDWWHU\ IRU \RXU FDU RU WUXFN




                                                                                                                                  Costco_001965
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          AGM vs. Flooded/Warranty                                              Inside Back Cover




          The replacement battery information in this catalog has been obtained from Battery Council
          International (“BCI”), original equipment (“OE”) manufacturers and other industry sources.
          Users are cautioned that the information in this catalog was the most current information
          provided at the time of publication. However, the information is subject to change upon
          QRWLFHIURP2(PDQXIDFWXUHUVRUĬHOGH[SHULHQFH7KHUHIRUHXVHUVVKRXOGXVHWKHPRVW
          current edition of the Battery Replacement Data Book.

          :KLOH,QWHUVWDWH%DWWHULHVDQG%&,KDYHPDGHHYHU\HıRUWWRDFFXUDWHO\FDWDORJWKHUHSODFHPHQW
          EDWWHU\LQIRUPDWLRQLQWKLVFDWDORJWKH\GLVFODLPDQ\OLDELOLW\H[SUHVVHGRULPSOLHGIRUWKH
          accuracy of this information or for damages as a consequence of using or misusing this
          information. Since some OE manufacturers do not provide complete replacement battery
          GDWDDQHVWLPDWHIRUUHSODFHPHQWEDWWHU\VL]HLVJLYHQIRUHQGXVHUJXLGDQFH)RUVSHFLĬF
          replacement battery size information, see the OE manufacturer.




                                                                                                             Costco_001966
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2                                                                Battery Basics

How a Battery Works                              2. POWER What are the Cold Cranking Amp
A battery stores energy in chemical form that    requirements of your vehicle? The power a
can be released on demand as electricity. This   battery can deliver decreases as the tempera-
electrical power is used by the car’s ignition   ture gets colder. Batteries are rated at both
system for cranking the engine. The car’s        Ƅb) &UDQNLQJ$PSV&$ DQGƄb) &ROG
battery also may power the lights and other      Cranking Amps/CCA). Using either rating
accessories. Should the alternator or fan belt   for comparison, the higher the number, the
fail, the battery might also need to power the   greater the starting power of the battery.
vehicle’s entire electrical system for a short
period of time.                                  3. WARRANTY Automotive batteries are
                                                 EDFNHGE\DQH[FOXVLYHZDUUDQW\7KHZDUUDQW\
Three Things to Consider When Buying             is posted at the battery rack display. You may
a Battery                                        also visit the Tire Sales Desk for details.
1. SIZE What are the dimensions of your
original equipment battery? The Battery
Council International (BCI) uses a two-digit
number to identify the height, length and
width shape of original equipment sizes.


             As the temperature drops, more cranking power is required to start
                a vehicle’s engine, but a battery’s available power decreases.



                                                                     AS THE
                                                                  TEMPERATURE
                                                                   DECREASES,
                                                                   THE ENGINE
                                                                    DEMANDS
                                                                      MORE
                                                                    CRANKING
                                                                     POWER.




                                                                                                  Costco_001967
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   %DWWHU\6SHFLğFDWLRQV                                                                                                         
                           Costco Item                                                   Overall Dimensions (inches)       Warranty
      Group Size                              CCA               CA     RC      Ah
                            Number                                                    Length        Width       Height     (months)
                                                        Interstate Automotive
          24               852163             700             875       130      —    11            6 7Ş8        8 3Ş4       36
         24F                852154            700             875       130      —    11            6 7Ş8        8 3Ş4       36
          25               852231             550             690       100      —     9            6 7Ş8        8 3Ş4       36
         26R               1131856            540             675        81      —     8 1Ş4        6 3Ş4        7 3Ş4       36
          27               1130806            810            1000       140      —    12            6 3Ş4        8 7Ş8       36
         27F               1131901            710             890       165      —    12            6 3Ş4        8 7Ş8       36
          34               8850241            800            1000       110      —    10 1Ş4        6 7Ş8        7 3Ş4       36
          35               8850242            640             800       100      —     9            6 7Ş8        8 3Ş4       36
         36R                852185            650             815       130      —    10 3Ş8        7 1Ş4        8 1Ş8       36
         40R                852174            590             740       105      —    10 15Ş16      6 7Ş8        6 7Ş8       36
          51               852180             500             625        85      —     9 3Ş8        5 1Ş8        8 7Ş8       36
         51R                852210            500             625        85      —     9 3Ş8        5 1Ş8        8 7Ş8       36
          58               852203             550             690        80      —    10            7 1Ş4        7 1Ş2       36
          59               1131494            590             740       100      —    10 1Ş16       7 5Ş8        7 3Ş4       36
          65               852186             850            1000       150      —    12            7 1Ş2        7 1Ş2       36
          75               8850261            650             875        95      —     9            7 1Ş4        7 5Ş8       36
          78               879463             800            1000       110      —    10 1Ş4        7 1Ş4        7 5Ş8       36
          79               1130566            840            1050       140      —    12 1Ş16       7 1Ş16       7 3Ş8       36
          86               852195             590             810       110      —     9 1Ş16       6 13Ş16      8           36
       90 (T5)             1624788            650             810        90      —     9 9Ş16       6 7Ş8        6 7Ş8       36
         96R                852197            590             740        95      —     9 1Ş2        6 15Ş16      6 15Ş16     36
         100               1131795            800             965       110      —    10 1Ş4        7 1Ş4        7 5Ş8       36
        121R               1130744            600             750       100      —     8 1Ş4        7            5           36
        124R               852235             700             875       120      —    10 3Ş8        7            8 5Ş8       36
       H5 (47)              852243             —               —          —     60     9 5Ş16       7            7 1Ş2       36
       H6 (48)             8852242            730             910       115     70    10 7Ş8        6 7Ş8        7 1Ş2       36
      H7 (94R)             852241              —               —          —     80    12 3Ş8        6 7Ş8        7 1Ş2       36
       H8 (49)              852240            730             910       175     90    13 15Ş16      6 7Ş8        7 1Ş2       36
      24F AGM              1421400            710             885       120      —    10 15Ş16      6 3Ş4        9           36
      35 AGM               1421402            650             800       100      —     9 1Ş16       6 15Ş16      8 7Ş8       36
      65 AGM               1421403            750             935       120      —    12 1Ş16       7 9Ş16       7 7Ş16      36
     S46B AGM              1525444            410             510        75     41    10            5 1Ş16       8 15Ş16     36
    H5 (47) AGM            1355768            650             750       100     60     9 1Ş2        6 7Ş8        7 1Ş2       36
    H6 (48) AGM            1355770            760             950       120     70    10 15Ş16      6 7Ş8        7 1Ş2       36
    H7 (94R) AGM           1355852            850            1000       140     80    12 9Ş16       6 7Ş8        7 1Ş2       36
    H8 (49) AGM            1355853            900            1000       160     95    13 15Ş16      6 7Ş8        7 1Ş2       36
    H9 (95R) AGM           1355854            950            1000       190    100    15 9Ş16       6 7Ş8        7 1Ş2       36
                                                    Interstate Batteries Marine/RV
        24DC                850281             550         MCA 700      140      —    11            6 7Ş8        9 1Ş2       12
        27DC                850982             600         MCA 750      160      —    12 3Ş4        6 3Ş4        9 1Ş2       12
      24M AGM              1444326             750         MCA 940      140     70    10 1Ş4        6 13Ş16      8 7Ş8       12
                                                 Interstate Batteries Lawn & Garden
          U1               1565788             250            310        25      —     7 3Ş4        5 3Ş16       7 5Ş16       6
                                                   Interstate Batteries Commercial
         8D                989782             1400           1750       450      —    20 3Ş4      11             9 5Ş8       12
         31T               1333133             950           1190       195      —    13           6 3Ş4         9 3Ş8       18
         31A               1333040             950           1190       195      —    13           6 3Ş4         9 3Ş8       18
                                                    Interstate Batteries Golf Car
                                Costco Item                                              Overall Dimensions (inches)       Warranty
    Group Size     Volts                                   RC                  Ah
                                 Number                                               Length        Width       Height     (months)
     GC2            6            850284              RC @ 75A 105              210    10 5Ş16       7 1Ş8      11            12
     GC8            8            850984              RC @ 56A 110              160    10 5Ş16       7 1Ş8      11            12
     GC12          12            851560              RC @ 75A 70               150    13            7 1Ş8      10 3Ş4        12


                                                                                                                              Costco_001968
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                                       929
4                                                                           BCI Assembly Figures
                                   Assembly
Group Dimensions (inches)
                                     Figure Voltage
  Size Length Width Height
                                    Number
   21    8 1Ş8    6 3Ş4    8 9Ş16      10     12
  21R    8 1Ş8    6 3Ş4    8 9Ş16      11     12
  22F    9 3Ş8    6 7Ş8    8 3Ş16      11F    12
 22NF    9 Ş8
           3
                  5 Ş2
                    1
                           8 Ş16
                             13
                                       11F    12
   24   11        6 7Ş8    8 3Ş4       10     12
  24F   10 15Ş16  6 7Ş8    8 11Ş16     11F    12
   25    9 11Ş16  6 7Ş8    8 13Ş16     10     12
   26    8 1Ş2    6 3Ş4    7 3Ş4       10     12
  26R    8 1Ş2    6 3Ş4    7 3Ş4       11     12
   27   12 3Ş4    6 5Ş8    8 13Ş16     10     12
  27F   12 3Ş4    6 5Ş8    8 13Ş16     11F    12
 29NF 13          5 1Ş2    8 15Ş16     11F    12
   34   10 15Ş16  6 7Ş8    7 13Ş16     10     12
   35    9 11Ş16  6 7Ş8    8 13Ş16     11     12
  36R   10 3Ş8    7 1Ş4    8 7Ş8       19     12
  40R   11 3Ş8    6 13Ş16  6 13Ş16     15     12
   41   12 1Ş4    6 7Ş8    6 7Ş8       15     12
   42    9 Ş2
           1
                  6 Ş8
                    7
                           6 Ş8
                             7
                                       15     12
   45    9 3Ş8    5 1Ş2    8 13Ş16     10F    12
   46   10 15Ş16  6 13Ş16  8 11Ş16     10F    12
47 (H5) 9 1Ş16    6 15Ş16  7 1Ş2     24(A,F)  12
48 (H6) 11 3Ş8    6 7Ş8    7 1Ş2       24     12
49 (H8) 14 Ş16
           5
                  6 Ş8
                    7
                           7 Ş2
                             1
                                       24     12
   50   13 1Ş4    5 9Ş16   8 13Ş16     10     12
   51    9 3Ş8    5 1Ş8    8 7Ş8       10     12
  51R    9 5Ş16   5        8 11Ş16     11     12
   56   10 11Ş16  6        8 5Ş16      19     12
   58   10        7 Ş16
                    3
                           7           26     12
  58R   10        7 3Ş16   7           19     12
   59   10        7 7Ş16   7 5Ş8       21     12
   64   12 1Ş4    6 1Ş4    8 13Ş16     20     12
   65   12        7 7Ş16   7 5Ş8       21     12
   66   12 Ş16
           1
                  7 Ş16
                    7
                           7 Ş16
                             11
                                       13     12
   70    8 11Ş16  6 3Ş4    7 7Ş16      17     12
   74   10 7Ş8    7 1Ş4    8 3Ş8       17     12
   75    9 11Ş16  7 1Ş4    7 1Ş4       17     12
   78   10 15Ş16  7 1Ş4    7 1Ş4       17     12
   79   12 1Ş16   7 1Ş16   7 3Ş8       35     12
   85    9 1Ş8    6 13Ş16  7 13Ş16     11     12
   86    9 1Ş16   6 7Ş8    8           10     12
   92   12 11Ş16  6 15Ş16  6 15Ş16     24     12
  94R   12 3Ş8    6 7Ş8    8           24     12
  95R   15 9Ş16   6 15Ş16  7 1Ş2       24     12
  96R    9 1Ş2    6 13Ş16  6 7Ş8       15     12
  100   10 1Ş4    7 1Ş16   7 3Ş8       35     12
  101   10 1Ş4    7 1Ş16   6 11Ş16     17     12
 121R    8 Ş4
           1
                  7        8 Ş2
                             1
                                       19     12
 124R 10 5Ş16     7        8 5Ş8       19     12
  30H   13 1Ş2    6 13Ş16  9 1Ş4       10     12
   31   13        6 13Ş16  9 3Ş8     18(A,T)  12
  31P   13        6 13Ş16  9 3Ş8     18(A,T)  12
  27M 12 7Ş8      6 3Ş4    9 1Ş8       NA     12
  24M 11 1Ş16     6 3Ş4    9 1Ş8       NA     12
 29HM 13          6 3Ş4   10           NA     12
   4D   20        8 3Ş16   9 9Ş16       8     12
   8D   20 3Ş8   10 1Ş8    9 13Ş16      8     12
  3EE   19 1Ş4    4 1Ş4    8 9Ş16       9     12
   3ET  19 1Ş4    4 1Ş4    9 9Ş16       9     12
  4DLT 20         8 3Ş16   7 15Ş16     NA     12
  16TF 16 9Ş16    7 1Ş8   11 1Ş8       10F    12
  17TF 17 1Ş16    6 15Ş16  7 15Ş16     11L    12
   U1    8 1Ş4    5 3Ş16   7 3Ş16     10(X)   12
  U1R    8 1Ş4    5 3Ş16   7 3Ş16     11(X)   12
 U1RT    8 1Ş4    5 3Ş16   7 3Ş16      11     12
34/78DT 11        7 1Ş4    8 1Ş8       NA     12
75/86DT 9 11Ş16   7 1Ş4    8 1Ş8       NA     12
    1    9 1Ş8    7 1Ş8    9 3Ş8        2      6
    2   10 3Ş8    7 1Ş8    9 3Ş8        2      6
    4   12 7Ş8    7        9 3Ş8        2      6
  3EH   19 1Ş4    4 1Ş4    9 9Ş16       5      6
 17HF    7 3Ş8    6 7Ş8    9           2B      6
  19L    8 Ş2
           1
                  7        7 Ş2
                             1
                                        2      6      Designs and designations supplied by Battery Council International and are provided for
                                                      UHIHUHQFHRQO\6HHVSHFLŴFDWLRQFKDUWIRUGLPHQVLRQDOGHWDLOV


                                                                                                                                                Costco_001969
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                                      929
   Group Size Dimensions                                                                                                          5

                                    BCI DESIGN                                                          *DIN DESIGN




                                        FORD                                                           FORD/MAZDA




                                                                   GENERAL MOTORS




   127('LPHQVLRQVOLVWHGDERYHDUH%DWWHU\&RXQFLO,QWHUQDWLRQDO %&, GLPHQVLRQV%DWWHU\GLPHQVLRQVDUHURXQGHGWR".
    ',1  'HXWVFKHV,QVWLWXWI¾U1RUPXQJ *URXSVL]HVVKRZQDUH%&,HTXLYDOHQWWR',1JURXSVL]HV


                                                                                                                                Costco_001970
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                                        929
6                                                                                      Abbreviations
2V          2 Valve per Cylinder              DT       Dual Terminal                   MT         Manual Transmission
4V          4 Valve per Cylinder              EFB      Enhanced Flooded Battery        MY         Model Year
2WD         Two-Wheel Drive                   EFI      Electronic Fuel Injection       N/A        Not Available
4WD         Four-Wheel Drive                  ELWB     ([WUD/RQJ:KHHO%DVH           No.        Number
AC          Air Conditioning                  Eng      Engine                          OE         Original Equipment
AGM         Absorbed Glass-Mat                ETR      Electronic Tuning Radio         OHC        Overhead Cam
Ah          Amp Hour                          Ex       ([FHSW                          OHV        Overhead Valve
Alt         Alternate                         Fig      Figure                          Opt        Optional
AT          Automatic Transmission            FI       Fuel Injection                  Pkg        Package
Aux         $X[LOLDU\                         Fla      Florida                         PPkg       Police Package
AWD         All Wheel Drive                   FWD      Front-Wheel Drive               PS         Power Steering
Bat         Battery                           GVW      Gross Vehicle Weight            PTO        Power Take-Off
BCI         Battery Council International     HBL      Heated Back Light (Rear         RC         Reserve Capacity
                                                       Window Defroster)               RRC        Repetitive Reserve Cycles
Calif       California
                                              HA       High Altitude                   Rt         Right
CA          Cranking Amps
                                              HD       Heavy Duty                      RWD        Rear-Wheel Drive
Can         Canada
                                              HO       High Output                     S/C        Super Charged
Carb        Carburetor
                                              HP       Horsepower                      SEO        Special Electrical Option
CFI         Central Fuel Injection
                                                       High Swirl Combustion
cc          Cubic Centimeter                  HSC      (chamber)                       SG         Sound Guard
CCA         &ROG&UDQNLQJ$PSV Ƅ)          Htr      Heater                          SHO        Super High Output
CDI         Common Direct Injection           HWS      Heated Windshield               SOHC       Single Overhead Cam
ci          Cubic inch                        Hyb      Hybrid                          Std        Standard
Comp        Compression                       Ign      Ignition                        SULEV      Super Ultra Low Emissions
                                                                                                  Vehicle
Cont        Continental                       IHC      International Harvester Co.     TBI        Throttle Body Injection
Conv        Convertible                       Incl     Including                       TDI        Turbo Direct Injection
            Continuously Variable             Ind      Industrial
CVT                                                                                    US         United States
            Transmission
                                              L        Liter                           V          Venturi
Cyl         Cylinder
                                                       In-Line 4, 5 or 6 Cylinder
DES         Direct Injection Start            L4/L5/L6 Engine                          TTPkg      Trailer Towing Package
            Deutsche Institut für             Lft      Left                            Turbo      Turbo Charged
DIN
            Normung                                                                    w/         With
                                              LPG      Liquified Petroleum Gas
DOHC        Dual Overhead Cam                                                          w/o        Without
                                              MFI      Multi-Port Fuel Injection
Dsl         Diesel                                                                     Wisc       Wisconsin
                                              Modif    Modified


Glossary
CCA (Cold Cranking Amps)                                            Ah (Amp Hours)
&&$ 7KHQXPEHURIDPSHUHVDEDWWHU\DWƄbF                       A unit of measurement for a battery’s electrical storage
(-17.8Ƅb& FDQGHOLYHUIRUVHFRQGVDQGPDLQWDLQD               capacity, obtained by multiplying the current in
voltage equal to or higher than 1.2 volts per cell (7.2             DPSHUHVE\WKHWLPHLQKRXUVRIGLVFKDUJH([DPSOH$
volts for a 12-volt battery).                                       EDWWHU\GHOLYHUVDPSV[+RXUV $K
CA (Cranking Amps) or MCA (Marine Cranking Amps)                    Cycle Life (SAE – J240B)
CA or MCA is the discharge load in amperes which                    $WƄbF the battery is discharged at 25 amperes for
a new, fully charged battery at 32Ƅb) ƄbC) can                    IRXUPLQXWHVDQGWKHQUHFKDUJHGIRUPLQXWHV7KLV
FRQWLQXRXVO\GHOLYHUIRUVHFRQGVDQGPDLQWDLQD                 cycle is continued until the battery fails to meet its
terminal voltage equal to or higher than 1.2 volts per cell         VSHFLĬHG&&$UDWLQJ
(7.2 volts for a 12-volt battery).                                  Vibration
RC (Reserve Capacity)                                               The battery is mounted onto a shaker table and
A battery must provide emergency power for ignition,                vibrated at 3.5 Gs until it is physically damaged, loses
lights, etc., in the event of failure in the vehicle’s battery      electrical capacity or leaks acid. The minimum vibration
UHFKDUJLQJV\VWHP7KH5&UDWLQJLVGHĬQHGDVWKH                  time for automotive batteries is four hours.
number of minutes a new fully charged battery at
ƄbF (26.7ƄbC) can be discharged at 25 amperes and
maintain a terminal voltage equal to or higher than
YROWVSHUFHOO YROWVIRUDYROWEDWWHU\ 


                                                                                                                               Costco_001971
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   Safety Information                                                                             7




   Do Not Inhale Sulfuric Acid Mist                 • Remove old battery. Note the position
   Danger of Exploding Batteries                      of positive (+) terminal and negative
                                                      (-) terminal. Mark the cables for correct
   Batteries contain sulfuric acid and produce        connection to new battery.
   H[SORVLYHPL[WXUHVRIK\GURJHQDQGR[\JHQ
   Because self-discharge action generates          • Clean terminals and cable connections with
   hydrogen gas even when the battery is not in       a wire brush. Broken connections, frayed or
   operation, make sure batteries are stored and      cut cables should be replaced.
   worked on in a well-ventilated area. Always      • Install the new battery in the same position
   wear safety glasses and a face shield when         as the old one. Be sure to secure it with the
   working on or near batteries.                      holddown assembly.
   :KHQZRUNLQJZLWKEDWWHULHV                     • Make sure the terminals do not touch any
   • Always wear proper eye, face and                 metal mounting, engine or body parts.
     hand protection.                               • Connect cables tightly. Connect ground
   • Remove all jewelry to avoid electrical           FDEOHODVWWRDYRLGVSDUNVDQGH[SORVLRQ
      contact, which can create sparks or cause
      severe burns.                                 Handling Battery Acid
   ş.HHSDOOVSDUNVĭDPHVDQGFLJDUHWWHVDZD\   Battery acid, or electrolyte, is a solution
     from the battery.                              of sulfuric acid and water that can destroy
                                                    FORWKLQJDQGEXUQWKHVNLQ8VHH[WUHPH
   ş'RQRWDWWHPSWWRRSHQDĭXVKFRYHU          caution when handling electrolyte and keep
      battery.                                      an acid neutralizing solution—such as baking
   • Never lean over battery while boosting,        soda—readily available. When handling
     testing or charging.                           EDWWHULHV
   • Cover vent caps with a damp cloth to           • Always wear proper eye, face and hand
     minimize gas seepage.                            protection.
   • Make sure work area is well ventilated.        • If electrolyte is splashed into an eye,
                                                       LPPHGLDWHO\IRUFHWKHH\HRSHQDQGĭRRGLW
   • Do not remove or damage vent caps.
                                                       with clean, cool water for at least 15 minutes.
   • Do not breathe acid mist.                         Get prompt medical attention.
                                                    • If electrolyte is taken internally, drink large
   Safe Battery Installation                           quantities of water or milk. Do not induce
   To assure safe installation and proper              vomiting. Call a physician immediately.
   operation, follow these installation
                                                    • Neutralize any electrolyte that spills
   procedures.
                                                       LPPHGLDWHO\ZLWKDPL[WXUHRIZDWHUDQG
   • Always wear proper eye, face and hand             baking soda.
     protection.
                                                    ş0L[LQJDFLGFDQEHYHU\GDQJHURXV'R
   ş'LVFRQQHFWJURXQGFDEOHĬUVW7KLVLV           not attempt without proper training.
      usually the negative cable; however, older
      vehicles may have a positive ground.



                                                                                                Costco_001972
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8                                                          Safety Information

Safe Charging                                          • Always turn the charger OFF before
Before beginning the charging operation,                 removing charger leads from the battery
read and follow the instructions that                    to avoid dangerous sparks.
come with the charger. Never attempt to                Safe Booster Cable Operation
FKDUJHDEDWWHU\ZLWKRXWĬUVWUHYLHZLQJWKH
instructions for the charger being used.               When jump-starting, always wear proper
In addition to the charger manufacturer’s              eye, face and hand protection and never
instructions, these general precautions                lean over the battery. Do not jump-start a
VKRXOGEHIROORZHG                                    damaged battery; inspect both batteries
                                                       before connecting booster cable. Be sure
• Always charge batteries in a well-                   vent caps are tight and level. Place a damp
   ventilated area and wear proper eye, face           cloth over the vent caps of both batteries.
   and hand protection.                                Make certain that the vehicles and cable
• Turn the charger and timer OFF before                ends are not touching and both ignition
   connecting the leads to the battery to              switches are turned to the OFF position.
   avoid dangerous sparks.                             1. Connect positive (+) booster cable to
ş7RDYRLGDQH[SORVLRQQHYHUWU\WRFKDUJH            positive (+) terminal of discharged
   a visibly damaged or frozen battery.                   battery.
• Connect the charger leads to the battery;            2. Connect other end of positive (+) cable to
   red positive (+) lead to the positive (+)               positive (+) terminal of assisting battery.
   terminal and black negative (-) lead to the         3. Connect negative (-) cable to negative (-)
   negative (-) terminal. If the battery is still in       terminal of assisting battery.
   the vehicle, connect the negative lead to
   the engine block to serve as a ground. (If          0DNHĬQDOFRQQHFWLRQRIQHJDWLYH  FDEOH
   the vehicle is positive grounded, connect               to engine block of stalled vehicle, away from
   the positive lead to the engine block.)                 battery.
• Make sure that the leads to the                      5. Start vehicle and remove cables in reverse
   connections are tight.                                  order of connections.
• Set the timer, turn the charger on and
   slowly increase the charging rate until the
   desired ampere value is reached.
• If the battery becomes hot or if violent
   gassing or spewing of electrolyte occurs,
   reduce the charging rate or temporarily
   halt the charger.

                                     MAKE CERTAIN VEHICLES
                                        DO NOT TOUCH!




                                                                                                           Costco_001973
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         PROPOSITION 65
            WARNING

         • Battery posts, terminals and
           related accessories contain
           lead and lead compounds,
           chemicals known to the state
           of California to cause cancer
           and reproductive harm.

         • Batteries also contain other
           chemicals known to the state
           of California to cause cancer.

         • Wash hands after handling.



                                                                                Costco_001974
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10                                                                   Notes




                                                                                Costco_001975
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 777Acura
                                                                                 of
                                      929
   Automotive/Light Truck                                                                                                   11
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Acura CL
   2003-01     V6/3.2L                                                      55011                  —                 —
   1999-98     L4/2.3L                                                      55011                  24F 6, 10         24F AGM
   1999-97     V6/3.0L                                                      55011                  —                 —
   1997        L4/2.2L                                                      550                    24F               24F AGM
   Acura CSX
   2011-08 L4/2.0L                                                          410                    51R               —
   2007    L4/2.0L                                                          440                    51R               —
   2006    L4/2.0L                                                          500                    51R               —
   Acura EL
   2005-01 L4/1.7L                                                          410                    51                —
   2000-97 L4/1.6L                                                          410                    51R               —
   Acura ILX
   2022-19     L4/2.4L                                                      500                    51R               —
   2018-13     L4/2.4L                                                      410                    51R               —
   2015-13     L4/1.5L     Hybrid                                           340                    —                 —
   2015-13     L4/2.0L                                                      410                    51R               —
   Acura Integra
   2001-94 L4/1.8L                                                          410                    51R               —
   1993-92 L4/1.7L                                                          435                    25                —
   1993-90 L4/1.8L                                                          435                    25                —
   Acura Legend
   1995-91 V6/3.2L                                                          585                    24                —
   1990    V6/2.7L                                                          585                    24F               24F AGM
   Acura MDX
   2020-17     V6/3.0L     Hybrid                                           65033                  H6 (48) AGM       —
   2020-16     V6/3.5L                                                      620                    H6 (48)           H6 (48) AGM
   2020-16     V6/3.5L     Advance Package                                  65033                  H6 (48) AGM       —
   2015-14     V6/3.5L                                                      550                    24F               24F AGM
   2013-07     V6/3.7L                                                      630                    24F               24F AGM
   2006-01     V6/3.5L                                                      550                    24F               24F AGM
   2022        V6/3.5L                                                      65033                  H6 (48) AGM       —
   2016        V6/3.5L     AWD                                              65033                  H6 (48) AGM       —
   2016        V6/3.5L     FWD                                              620                    H6 (48)           H6 (48) AGM
   Acura NSX
   2021-17     V6/3.5L     Hybrid                                           60033                  H5 (47) AGM       —
   2005-97     V6/3.2L     MT                                               435                    35                35 AGM
   2005-91     V6/3.0L     AT or HD                                         585                    24F               24F AGM
   2005-91     V6/3.0L     MT                                               435                    35                35 AGM
   2022        V6/3.5L                                                      60033                  H5 (47) AGM       —
   1999        V6/3.2L     AT                                               585                    24F               24F AGM
   Acura RDX
   2022-19     L4/2.0L                                                      65033                  H6 (48) AGM       —
   2015-13     V6/3.5L                                                      550                    24F               24F AGM
   2012-07     L4/2.3L                                                      440                    35                35 AGM
   2018        V6/3.5L                                                      630                    24F               24F AGM
   2017        V6/3.5L                                                      63011                  24F 6, 10         24F AGM
   2016        V6/3.5L                                                      73011                  —                 —
   Acura RL
   2012-09 V6/3.7L                                                          55011                  —
   2008-05 V6/3.5L                                                          58511                  —
   2004-96 V6/3.5L                                                          550                    24
   Acura RLX
   2019-14 V6/3.5L                                                          550                    24F               24F AGM
   2020    V6/3.5L                                                          630                    24F               24F AGM
   Acura RSX
   2006-02 L4/2.0L                                                          400                    51R
   Acura SLX
   1999-98     V6/3.5L     AT                                               585                    24
   1999-98     V6/3.5L     Opt                                              610                    27
   1997        V6/3.2L                                                      585                    24
   1997        V6/3.2L     Opt                                              610                    27
   1996        V6/3.2L     AT or HD                                         610                    27
   Acura TL
   2014-09     V6/3.7L                                                      55011                  24F 6, 10         24F AGM
   2014-07     V6/3.5L                                                      55011                  24F 6, 10         24F AGM
   2008-04     V6/3.2L                                                      55011                  24F 6, 10         24F AGM
   2003-99     V6/3.2L                                                      55011                  —
   1998-96     V6/3.2L                                                      450                    25
   1998-95     L5/2.5L                                                      450                    35                35 AGM
   See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                               Costco_001976
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12                                                        Automotive/Light Truck
  YEAR      ENGINE                              OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                          CCA/RATING             (NOTES)            (NOTES)

Acura TLX
2022-21   L4/2.0L                                                  85033                   H7 (94R) AGM      —
2020-19   V6/3.5L                                                  650                     H6 (48)           H6 (48) AGM
2020-18   L4/2.4L                                                  470                     —                 —
2020-15   V6/3.5L    SH-AWD, Start/Stop                            65033                   H6 (48) AGM       —
2018-15   V6/3.5L                                                  620                     H6 (48)           H6 (48) AGM
2017-15   L4/2.4L                                                  440                     —                 —
2021      V6/3.0L                                                  85033                   H7 (94R) AGM      —
Acura TSX
2014-10 V6/3.5L                                                    550                     24F               24F AGM
2014-04 L4/2.4L                                                    430                     51R
Acura Vigor
1994-92 L5/2.5L                                                    435                     35                35 AGM
Acura ZDX
2013-10 V6/3.7L                                                    550                     24F               24F AGM
Alfa Romeo 164
1995-91 V6/3.0L                                                    68550                   31A
Alfa Romeo 4C
2020-15 L4/1.7L                                                    500                     —
Alfa Romeo 8C
2008      V8/4.7L                                                  580                     24F               24F AGM
Alfa Romeo Giulia
2021-17 L4/2.0L                                                    95 Ah                   —                 —
2021-17 V6/2.9L                                                    95 Ah                   —                 —
Alfa Romeo Spider
1994-91 L4/2.0L      Factory Install                               3007                    —
1994-90 L4/2.0L      Port of entry installed                       5507                    34
1990    L4/2.0L      Factory Install                               5007                    24F               24F AGM
Alfa Romeo Stelvio
2021-18 L4/2.0L                                                    80054                   H7 (94R)          H7 (94R) AGM
2021-18 V6/2.9L                                                    80054                   H7 (94R)          H7 (94R) AGM
AM General Humvee
2001-94 V8/6.5L      Dsl                                           7702                    78
1996-95 V8/5.7L                                                    7702                    78
1993-92 V8/6.2L      Dsl                                           7702                    78
American Motors Corp Gremlin, Hornet, Javelin
1974-71   V8/5.9L                                                  3857                    24
1974-71   V8/6.6L                                                  305                     26R
1974-71   V8/6.6L    Opt                                           4107                    24
1974-70   V8/5.9L                                                  305                     26R
1974-70   V8/5.9L                                                  4107                    24
1974-70   V8/5.9L    Opt                                           4107                    24
1970-68   V8/6.4L                                                  305                     26R
1970-68   V8/6.4L    Opt                                           4107                    24
1969-68   V8/4.7L                                                  305                     26R
1969-68   V8/4.7L    Opt                                           410                     24
1969-68   V8/5.6L                                                  305                     26R
1969-68   V8/5.6L    Opt                                           4107                    24
1968      L6/3.8L                                                  4107                    24
Aston Martin DB11
2021-18 V8/4.0L                                                    85033, 54               H8 (49) AGM       —
2021-17 V12/5.2L                                                   85033, 54               H8 (49) AGM       —
Aston Martin DB7
2004-00 V12/6.0L                                                   78050, 54               —                 —
1998-97 L6/3.2L                                                    78050, 54               —                 —
Aston Martin DB9
2016-05 V12/6.0L                                                   83050, 54               —                 —
Aston Martin DBS
2021-19 V12/5.2L                                                   85033, 50, 54           H8 (49) AGM       —
2012-08 V12/6.0L                                                   83050, 54               —                 —
Aston Martin One-77
2011      V12/7.3L                                                 83054                   —                 —
Aston Martin Rapide
2019-11 V12/6.0L                                                   83050, 54               —                 —
Aston Martin V12 Vantage
2017-15 V12/6.0L                                                   83050, 54              —                  —
2013-10 V12/6.0L                                                   83050, 54              —                  —
                                                                  See page 158 for Footnotes. Selection may vary by warehouse.

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      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT              GROUP SIZE       ALTERNATE SIZE
                                                                                                       CCA/RATING                   (NOTES)            (NOTES)

   Aston Martin V8 Vantage
   2021-18 V8/4.0L                                                                              83050, 54                     —                 —
   Aston Martin Vanquish
   2017-14 V12/6.0L                                                                             83050, 54                     —                 —
   2006-01 V12/6.0L                                                                             83050, 54                     —                 —
   Aston Martin Virage
   2012        V12/6.0L                                                                         83050, 54                     —                 —
   Asüna 6XQğUH
   1993        L4/1.8L                                                                          350                           35                35 AGM
   Asüna Sunrunner
   1993        L4/1.6L                                                                          525                           —
   1992        L4/1.6L                                                                          550                           75
   Audi 100, 100 quattro
   1994-92     V6/2.8L                                                                          57550                         —
   1994-92     V6/2.8L     Opt                                                                  65050                         —
   1991-90     L5/2.3L                                                                          57550                         —
   1991-90     L5/2.3L     Opt                                                                  65050                         —
   Audi 200, 200 quattro
   1991-90 L5/2.2L                                                                              65050                         —
   Audi 80, 80 quattro
   1992-91     L5/2.3L     Opt                                                                  650                           —
   1992-90     L5/2.3L                                                                          575                           —
   1990        L4/2.0L                                                                          575                           —
   1990        L4/2.0L     Opt                                                                  650                           —
   Audi 90, 90 quattro
   1995-93 V6/2.8L                                                                              650                           —
   1992-90 L5/2.3L                                                                              650                           —
   Audi A3
   2023-22     L4/2.0L     PR Code J0V                                                          68055, 56, 58, 59             —                 —
   2023-22     L4/2.0L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM       —
   2023-22     L4/2.0L     PR Code J1N                                                          75 Ah33, 55, 56, 58           H7 (94R) AGM
   2023-22     L4/2.0L     PR Code J0S                                                          54045, 54, 58, 59             —
   2023-22     L4/2.0L     PR Code J0V                                                          68055, 56, 58, 59             —                 —
   2023-22     L4/2.0L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM       —
   2023-22     L4/2.0L     PR Code J1N                                                          75 Ah33, 55, 56, 58           H7 (94R) AGM
   2023-22     L4/2.0L     PR Code J0S                                                          54045, 54, 58, 59             —
   2020-19     L4/1.4L     PR Code J0S                                                          54055, 56, 58, 59             —                 —
   2020-19     L4/1.4L     PR Code J1L                                                          54055, 56, 58                 H5 (47)           H5 (47) AGM
   2020-19     L4/1.4L     PR Code J2D                                                          68033, 55, 56, 58             H6 (48) AGM       —
   2020-19     L4/1.4L     PR Code J0T                                                          68055, 56, 58, 59             —                 —
   2020-19     L4/1.4L     PR Code J0V                                                          68055, 56, 58, 59             —                 —
   2020-19     L4/1.4L     PR Code J1D                                                          64055, 56, 58                 —                 —
   2020-17     L4/2.0L     PR Code J0V                                                          68055, 56, 58, 59             —                 —
   2020-17     L4/2.0L     PR Code J0S                                                          54045, 54, 58, 59             —
   2020-09     L4/2.0L     PR Code J0T                                                          68045, 54, 58, 59             —
   2020-09     L4/2.0L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM       —
   2018-17     L4/2.0L     PR Code J1D                                                          64050, 54, 55, 56, 58         —                 —
   2018-17     L4/2.0L     PR Code J1P                                                          36045, 54, 58                 —
   2016-15     L4/1.8L     PR Code J1L                                                          54050, 54, 55, 56, 58         H5 (47)           H5 (47) AGM
   2016-15     L4/1.8L     PR Code J0S                                                          54045, 54, 58, 59             —
   2016-15     L4/1.8L     PR Code J0T                                                          68045, 54, 58, 59             —
   2016-15     L4/1.8L     PR Code J1D                                                          64050, 54, 55, 56, 58         —                 —
   2016-15     L4/1.8L     PR Code J1P                                                          36045, 54, 58                 —
   2016-15     L4/1.8L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM       —
   2016-15     L4/1.8L     PR Code J2S                                                          48045, 54, 58                 —
   2016-15     L4/2.0L     Dsl, PR Code J0S                                                     54059                         —
   2016-15     L4/2.0L     Dsl, PR Code J1D                                                     64050, 54, 55, 56, 58         —                 —
   2016-15     L4/2.0L     Dsl, PR Code J1P                                                     36045, 54, 58                 —
   2016-15     L4/2.0L     Dsl, PR Code J2S                                                     48045, 54, 58                 —
   2016-10     L4/2.0L     Dsl, PR Code J0N                                                     54050, 54, 55, 56, 58         H5 (47)           H5 (47) AGM
   2016-10     L4/2.0L     Dsl, PR Code J0T                                                     68045, 54, 58, 59             —
   2016-10     L4/2.0L     Dsl, PR Code J2D                                                     68033, 50, 54, 55, 56, 58     H6 (48) AGM       —
   2013-10     L4/2.0L     Dsl, PR Code J0L, J1D                                                64050, 54, 55, 56, 58         —                 —
   2013-09     L4/2.0L     PR Code J0L, J1D                                                     64050, 54, 55, 56, 58         —                 —
   2013-06     L4/2.0L     PR Code J1L                                                          54050, 54, 55, 56, 58         H5 (47)           H5 (47) AGM
   2013-06     L4/2.0L     PR Code J0R                                                          80 Ah50, 54, 55, 56, 58       H7 (94R)          H7 (94R) AGM
   2008-06     L4/2.0L     PR Code J0L, J1D                                                     64050, 54, 55, 56             —                 —
   2008-06     L4/2.0L     PR Code J1N                                                          75 Ah33, 50, 54, 55, 56, 58   H7 (94R) AGM      —
   Audi A3 quattro
   2018-17 L4/2.0L         PR Code J0S                                                          54045, 54, 58, 59             —
   2018-17 L4/2.0L         PR Code J1L                                                          54050, 54, 55, 56, 58         H5 (47)           H5 (47) AGM
   See page 158 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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                                                                                                        CCA/RATING                 (NOTES)            (NOTES)

Audi A3 quattro (continued)
2018-15     L4/2.0L      PR Code J1D                                                             64050, 54, 55, 56, 58         —               —
2018-15     L4/2.0L      PR Code J1P                                                             36045, 54, 58                 —
2018-09     L4/2.0L      PR Code J0T                                                             68045, 54, 58, 59             —
2018-09     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
2016-15     L4/2.0L      PR Code J0S                                                             54045, 58                     —
2016-15     L4/2.0L      PR Code J2S                                                             48045, 58                     —
2016-09     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
2013-09     L4/2.0L      PR Code J0R                                                             80 Ah50, 54, 55, 56, 58       H7 (94R)        H7 (94R) AGM
2013-09     L4/2.0L      PR Code J0L, J1D                                                        64050, 54, 55, 56, 58         —               —
2009-06     V6/3.2L      PR Code J1L                                                             54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
2009-06     V6/3.2L      PR Code J0R                                                             64050, 54, 55, 56, 58         H7 (94R)        H7 (94R) AGM
2008-06     V6/3.2L      PR Code J1N                                                             75 Ah33, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2019        L4/2.0L      PR Code J0H                                                             58 Ah33, 45, 55, 56, 58       H5 (47) AGM     —
2019        L4/2.0L      PR Code J0S                                                             59 Ah55, 56, 58, 59           —               —
2019        L4/2.0L      PR Code J0T                                                             69 Ah55, 56, 58, 59           —               —
2019        L4/2.0L      PR Code J0V                                                             70 Ah45, 55, 56, 58, 59       —               —
2019        L4/2.0L      PR Code J1D                                                             72 Ah55, 56, 58               —               —
2019        L4/2.0L      PR Code J1L                                                             60 Ah55, 56, 58               H5 (47)         H5 (47) AGM
2019        L4/2.0L      PR Code J1P                                                             44 Ah45, 55, 56, 58           —
2019        L4/2.0L      PR Code J2D                                                             68 Ah33, 55, 56, 58           H6 (48) AGM     —
2009        V6/3.2L      PR Code J2D                                                             68 Ah33, 50, 54, 55, 56, 58   H6 (48) AGM     —
Audi A3 Sportback e-tron
2018-17     L4/1.4L      Hybrid, PR Code J0T                                                     68045, 54, 58, 59             —
2018-17     L4/1.4L      Hybrid, PR Code J1L                                                     54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
2018-16     L4/1.4L      Hybrid, PR Code J0S                                                     54045, 54, 58, 59             —
2018-16     L4/1.4L      Hybrid, PR Code J1D                                                     64050, 54, 55, 56, 58         —               —
2018-16     L4/1.4L      Hybrid, PR Code J1P                                                     36045, 54, 58                 —
2018-16     L4/1.4L      Hybrid, PR Code J2D                                                     68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
2018-16     L4/1.4L      Hybrid, PR Code J0N                                                     54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
2016        L4/1.4L      Hybrid, Multiple PR Codes                                               68045, 54, 58, 59             —
2016        L4/1.4L      Hybrid, PR Code J2S                                                     48045, 54, 58                 —
Audi A4
2020-16     L4/2.0L      PR Code J2D, 0K0, 0K2, 0K4                                              68033, 50, 55, 56, 58         H6 (48) AGM  —
2020-16     L4/2.0L      PR Code J0H                                                             58 Ah33, 45, 50, 55, 56, 58   H5 (47) AGM  —
2020-16     L4/2.0L      PR Code J0K                                                             93 Ah  45, 50, 55, 56, 58, 59
                                                                                                                               —
2020-16     L4/2.0L      PR Code JE4                                                             79 Ah45, 50, 55, 56, 58, 59   —
2020-09     L4/2.0L      PR Code J1N                                                             80033, 50, 55, 56, 58         H7 (94R) AGM —
2020-09     L4/2.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58         —            H9 (95R) AGM
2020-09     L4/2.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58     H9 (95R) AGM —
2020-09     L4/2.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58     H8 (49) AGM  —
2020-05     L4/2.0L      PR Code J1U                                                             76050, 54, 55, 56, 58         —            H8 (49) AGM
2018-16     L4/2.0L      PR Code J2D, 0K2                                                        68033, 50, 54, 55, 56, 58     H6 (48) AGM  —
2016-13     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58     H6 (48) AGM  —
2015-13     L4/2.0L      PR Code J0L                                                             57050, 54, 55, 56, 58         H6 (48)      H6 (48) AGM
2015-13     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58         H5 (47)      H5 (47) AGM
2015-09     L4/2.0L      Opt, PR Code J0Z                                                        110 Ah50, 54, 55, 56, 58      —            —
2015-05     L4/2.0L      PR Code J0R                                                             64050, 54, 55, 56, 58         H7 (94R)     H7 (94R) AGM
2008-06     V6/3.2L      PR Code J0R                                                             64050, 54, 55, 56, 58         H7 (94R)     H7 (94R) AGM
2007-06     V6/3.2L                                                                              64050                         H7 (94R)     H7 (94R) AGM
2007-06     V6/3.2L                                                                              64050, 54, 55, 56             H7 (94R)     H7 (94R) AGM
2007-06     V6/3.2L      Opt                                                                     76050, 54                     —            H8 (49) AGM
2007-06     V6/3.2L      Opt                                                                     76050, 54, 55, 56             —            H8 (49) AGM
2007-05     L4/2.0L                                                                              64050                         H7 (94R)     H7 (94R) AGM
2007-05     L4/2.0L      Opt                                                                     76050, 54                     —            H8 (49) AGM
2005-03     L4/1.8L                                                                              64050                         H7 (94R)     H7 (94R) AGM
2005-03     V6/3.0L                                                                              64050                         H7 (94R)     H7 (94R) AGM
2005-03     V6/3.0L      Opt                                                                     76050, 54                     —            H8 (49) AGM
2005-02     L4/1.8L      Opt                                                                     76050, 54                     —            H8 (49) AGM
2002-97     L4/1.8L                                                                              64050                         H6 (48)      H6 (48) AGM
2002-97     L4/1.8L      Opt                                                                     64050                         H7 (94R)     H7 (94R) AGM
2002-97     L4/1.8L      Opt                                                                     72050, 54, 55, 56             H7 (94R)     H7 (94R) AGM
2001-96     V6/2.8L      Opt                                                                     64050                         H7 (94R)     H7 (94R) AGM
2001-96     V6/2.8L      Opt                                                                     72050, 54, 55, 56             H7 (94R)     H7 (94R) AGM
2001-00     V6/2.8L                                                                              64050                         —            —
1999-98     V6/2.8L                                                                              64 Ah                         —
1999-96     V6/2.8L      Opt                                                                     64050                         H6 (48)      H6 (48) AGM
1997-96     V6/2.8L                                                                              54050                         H6 (48)      H6 (48) AGM
2008        V6/3.2L      PR Code J1U                                                             76050, 54, 55, 56, 58         —            H8 (49) AGM
2006        L4/1.8L                                                                              64050, 54, 55, 56, 58         H7 (94R)     H7 (94R) AGM
2006        L4/1.8L      Opt                                                                     76050, 54, 55, 56, 58         —            H8 (49) AGM
2006        L4/2.0L                                                                              640 50, 54, 55, 56
                                                                                                                               H7 (94R)     H7 (94R) AGM
2006        L4/2.0L      Opt                                                                     76050, 54, 55, 56             —            H8 (49) AGM
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 158 for Footnotes. Selection may vary by warehouse.

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                                                                                                             CCA/RATING               (NOTES)            (NOTES)

   Audi A4 (continued)
   2002        L4/1.8L     Option 1                                                                  76050, 54, 55, 56             —              H8 (49) AGM
   2002        L4/1.8L     Option 2                                                                  64050, 54, 55, 56             H7 (94R)       H7 (94R) AGM
   2002        V6/3.0L                                                                               64050                         —              —
   2002        V6/3.0L     Opt                                                                       72050, 54, 55, 56             H7 (94R)       H7 (94R) AGM
   2002        V6/3.0L     Option 1                                                                  76050, 54, 55, 56             —              H8 (49) AGM
   2002        V6/3.0L     Option 2                                                                  64050, 54, 55, 56             H7 (94R)       H7 (94R) AGM
   1997        L4/1.8L     Opt                                                                       54050, 54, 55, 56             —              —
   1997        V6/2.8L                                                                               64050                         H6 (48)        H6 (48) AGM
   1997        V6/2.8L                                                                               64050, 54, 55, 56             —              —
   1997        V6/2.8L     Opt                                                                       36045                         —              —
   1997        V6/2.8L     Opt                                                                       54050, 54, 55, 56             —              —
   1997        V6/2.8L     Opt                                                                       64050, 54, 55, 56             H7 (94R)       H7 (94R) AGM
   Audi A4 allroad
   2022-21     L4/2.0L     Hybrid, PR Code J0B                                                       92 Ah33, 50, 55, 56, 58       H8 (49) AGM    —
   2022-21     L4/2.0L     Hybrid, PR Code J0H                                                       58 Ah33, 50, 55, 56, 58       H5 (47) AGM    —
   2022-21     L4/2.0L     Hybrid, PR Code J0P                                                       105 Ah33, 50, 55, 56, 58      —              —
   2022-21     L4/2.0L     Hybrid, PR Code J0Z                                                       110 Ah50, 55, 56, 58          —              —
   2022-21     L4/2.0L     Hybrid, PR Code J1N                                                       75 Ah33, 50, 55, 56, 58       H7 (94R) AGM   —
   2022-21     L4/2.0L     Hybrid, PR Code J1U                                                       95 Ah50, 55, 56, 58           —              H8 (49) AGM
   2022-21     L4/2.0L     Hybrid, PR Code J2D, 0K0, 0K2                                             68 Ah33, 50, 55, 56, 58       H6 (48) AGM    —
   2022-21     L4/2.0L     Hybrid, PR Code J0K                                                       93 Ah50, 55, 56, 58, 59       —              —
   2022-21     L4/2.0L     Hybrid, PR Code J4E                                                       79 Ah50, 55, 56, 58, 59       —              —
   2021-17     L4/2.0L     Hybrid, PR Code 0K4 Auxiliary Li-ion Only                                 45, 50, 55, 56, 58, 60
                                                                                                                                   —              —
   2020-17     L4/2.0L     PR Code J2D, 0K0, 0K2                                                     68033, 50, 55, 56, 58         H6 (48) AGM    —
   2020-17     L4/2.0L     PR Code J0H                                                               58 Ah33, 45, 50, 55, 56, 58   H5 (47) AGM    —
   2020-17     L4/2.0L     PR Code J0K                                                               93 Ah45, 50, 55, 56, 58, 59   —
   2020-17     L4/2.0L     PR Code JE4                                                               79 Ah45, 50, 55, 56, 58, 59   —
   2020-13     L4/2.0L     PR Code J0B                                                               85033, 50, 55, 56, 58         H8 (49) AGM    —
   2020-13     L4/2.0L     PR Code J1U                                                               76050, 55, 56, 58             —              H8 (49) AGM
   2020-13     L4/2.0L     PR Code J1N                                                               80033, 50, 55, 56, 58         H7 (94R) AGM   —
   2020-13     L4/2.0L     PR Code J0P                                                               95033, 50, 55, 56, 58         H9 (95R) AGM   —
   2020-13     L4/2.0L     PR Code J0Z                                                               85050, 55, 56, 58             —              H9 (95R) AGM
   2016-13     L4/2.0L     PR Code J0L                                                               57050, 54, 55, 56, 58         H6 (48)        H6 (48) AGM
   2016-13     L4/2.0L     PR Code J0R                                                               64050, 54, 55, 56, 58         H7 (94R)       H7 (94R) AGM
   2016-13     L4/2.0L     PR Code J2D                                                               68033, 50, 54, 55, 56, 58     H6 (48) AGM    —
   2015-13     L4/2.0L     Opt, PR Code J0Z                                                          110 Ah50, 54, 55, 56, 58      —              —
   Audi A4 quattro
   2021-16 L4/2.0L         PR Code J0H                                                               58 Ah33, 45, 50, 55, 56, 58   H5 (47) AGM    —
   2021-16 L4/2.0L         PR Code J0K                                                               93 Ah45, 50, 55, 56, 58, 59   —
   2021-16 L4/2.0L         PR Code JE4                                                               79 Ah45, 50, 55, 56, 58, 59   —
   2021-13 L4/2.0L         PR Code J2D                                                               68033, 50, 54, 55, 56, 58     H6 (48) AGM    —
   2021-09 L4/2.0L         PR Code J0P                                                               95033, 50, 55, 56, 58         H9 (95R) AGM   —
   2021-09 L4/2.0L         PR Code J0Z                                                               85050, 54, 55, 56, 58         —              H9 (95R) AGM
   2021-09 L4/2.0L         PR Code J0B                                                               85033, 50, 54, 55, 56, 58     H8 (49) AGM    —
   2021-09 L4/2.0L         PR Code J1N                                                               80033, 50, 54, 55, 56, 58     H7 (94R) AGM   —
   2021-05 L4/2.0L         PR Code J1U                                                               76050, 54, 55, 56, 58         —              H8 (49) AGM
   2015-13 L4/2.0L         PR Code J0L                                                               57050, 54, 55, 56, 58         H6 (48)        H6 (48) AGM
   2015-05 L4/2.0L         PR Code J0R                                                               64050, 54, 55, 56, 58         H7 (94R)       H7 (94R) AGM
   2007-05 V6/3.2L         PR Code J0R                                                               64050, 54, 55, 56             H7 (94R)       H7 (94R) AGM
   2007-05 V6/3.2L         PR Code J1U                                                               76050, 54, 55, 56             —              H8 (49) AGM
   2007-05 V6/3.2L         PR Code J1N                                                               72033, 50, 55, 56, 58         H7 (94R) AGM   —
   2006-03 V6/3.0L                                                                                   64050                         H7 (94R)       H7 (94R) AGM
   2006-03 V6/3.0L         Opt                                                                       76050, 54                     —              H8 (49) AGM
   2005-03 L4/1.8L                                                                                   64050                         H7 (94R)       H7 (94R) AGM
   2005-03 L4/1.8L         Opt                                                                       76050, 54, 55, 56             —              H8 (49) AGM
   2002-99 L4/1.8L         Opt                                                                       72050, 54, 55, 56             H7 (94R)       H7 (94R) AGM
   2002-97 L4/1.8L                                                                                   64050                         H6 (48)        H6 (48) AGM
   2002-97 L4/1.8L         Opt                                                                       64050, 54, 55, 56             H7 (94R)       H7 (94R) AGM
   2001-96 V6/2.8L         Opt                                                                       64050, 54, 55, 56             H7 (94R)       H7 (94R) AGM
   2001-96 V6/2.8L         Opt                                                                       72050, 54, 55, 56             H7 (94R)       H7 (94R) AGM
   2001-00 V6/2.8L                                                                                   64050                         —              —
   1999-98 V6/2.8L                                                                                   64 Ah                         —
   1999-96 V6/2.8L         Opt                                                                       64050                         H6 (48)        H6 (48) AGM
   1997-96 V6/2.8L         PR Code J0L                                                               54050                         H6 (48)        H6 (48) AGM
   2022       L4/2.0L      Hybrid, PR Code J0B                                                       92 Ah33, 50, 55, 56, 58       H8 (49) AGM    —
   2022       L4/2.0L      Hybrid, PR Code J0H                                                       58 Ah33, 50, 55, 56, 58       H5 (47) AGM    —
   2022       L4/2.0L      Hybrid, PR Code J0K                                                       93 Ah50, 55, 56, 58, 59       —              —
   2022       L4/2.0L      Hybrid, PR Code J0P                                                       95033, 50, 55, 56, 58         —              —
   2022       L4/2.0L      Hybrid, PR Code J0Z                                                       85050, 55, 56, 58             —              H9 (95R) AGM
   2022       L4/2.0L      Hybrid, PR Code J1N                                                       75 Ah33, 50, 55, 56, 58       H7 (94R) AGM   —
   2022       L4/2.0L      Hybrid, PR Code J1U                                                       95 Ah50, 55, 56, 58           —              H8 (49) AGM
   2022       L4/2.0L      Hybrid, PR Code J4E                                                       79 Ah50, 55, 56, 58, 59       —              —
   See page 158 for Footnotes. Selection may vary by warehouse.                  Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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16                                                                                      Automotive/Light Truck
   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT            GROUP SIZE       ALTERNATE SIZE
                                                                                                        CCA/RATING                 (NOTES)            (NOTES)

Audi A4 quattro (continued)
2022        L4/2.0L      Hybrid, PR Code J2D, 0K0, 0K2                                           68 Ah33, 50, 55, 56, 58        H6 (48) AGM    —
2009        L4/2.0L      PR Code J1N                                                             75 Ah33, 50, 54, 55, 56, 58    H7 (94R) AGM   —
2002        V6/3.0L                                                                              64050                          —              —
2002        V6/3.0L      Opt                                                                     72050, 54, 55, 56              H7 (94R)       H7 (94R) AGM
2002        V6/3.0L      Option 1                                                                76050, 54, 55, 56              —              H8 (49) AGM
2002        V6/3.0L      Option 2                                                                64050, 54, 55, 56              H7 (94R)       H7 (94R) AGM
1996        V6/2.8L      PR Code J0N                                                             54050, 54, 55, 56              —              —
Audi A5
2014-12     L4/2.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58      H7 (94R) AGM   —
2014-11     L4/2.0L      PR Code J0R                                                             80 Ah50, 54, 55, 56, 58        H7 (94R)       H7 (94R) AGM
2014-10     L4/2.0L      PR Code J0B                                                             92 Ah33, 50, 54, 55, 56, 58    H8 (49) AGM    —
2014-10     L4/2.0L      PR Code J0L                                                             57050, 54, 55, 56, 58          H6 (48)        H6 (48) AGM
2014-10     L4/2.0L      PR Code J0P                                                             105 Ah33, 50, 54, 55, 56, 58   —              —
2014-10     L4/2.0L      PR Code J0Z                                                             110 Ah50, 54, 55, 56, 58       —              —
2014-10     L4/2.0L      PR Code J1D                                                             72 Ah50, 54, 55, 56, 58        —              —
2014-10     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58          H5 (47)        H5 (47) AGM
2014-10     L4/2.0L      PR Code J1U                                                             76050, 54, 55, 56, 58          —              H8 (49) AGM
2014-10     L4/2.0L      PR Code J2D                                                             68 Ah33, 50, 54, 55, 56, 58    H6 (48) AGM    —
2019        L4/2.0L      PR Code J2D                                                             68033, 50, 55, 56, 58          H6 (48) AGM    —
2019        L4/2.0L      PR Code J0B                                                             85033, 50, 55, 56, 58          H8 (49) AGM    —
2019        L4/2.0L      PR Code J1U                                                             76050, 55, 56, 58              —              H8 (49) AGM
2019        L4/2.0L      PR Code J1N                                                             80033, 50, 55, 56, 58          H7 (94R) AGM   —
2019        L4/2.0L      PR Code J0P                                                             95033, 50, 55, 56, 58          H9 (95R) AGM   —
2019        L4/2.0L      PR Code J0Z                                                             85050, 55, 56, 58              —              H9 (95R) AGM
2010        L4/2.0L      PR Code J0R                                                             640                            H7 (94R)       H7 (94R) AGM
Audi A5 quattro
2022-21     L4/2.0L      PR Code OK4                                                             —45, 56, 58, 60                —              —
2022-12     L4/2.0L      PR Code J1N                                                             80033, 50, 55, 56, 58          H7 (94R) AGM   —
2022-10     L4/2.0L      PR Code J0P                                                             95033, 50, 55, 56, 58          H9 (95R) AGM   —
2022-10     L4/2.0L      PR Code J0Z                                                             85050, 55, 56, 58              —              H9 (95R) AGM
2022-10     L4/2.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58      H8 (49) AGM    —
2022-10     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58      H6 (48) AGM    —
2022-10     L4/2.0L      PR Code J1U                                                             76050, 54, 55, 56, 58          —              H8 (49) AGM
2017-10     L4/2.0L      PR Code J0R                                                             64050, 54, 55, 56, 58          H7 (94R)       H7 (94R) AGM
2017-10     L4/2.0L      PR Code J0L                                                             57050, 54, 55, 56, 58          H6 (48)        H6 (48) AGM
2017-10     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58          H5 (47)        H5 (47) AGM
2014-10     L4/2.0L      PR Code J1D                                                             72 Ah50, 54, 55, 56, 58        —              —
2010-08     V6/3.2L      PR Code J0R                                                             80 Ah50, 54, 55, 56, 58        H7 (94R)       H7 (94R) AGM
2010-08     V6/3.2L      PR Code J0Z                                                             110 Ah50, 54, 55, 56, 58       —              —
2010-08     V6/3.2L      PR Code J1U                                                             76050, 54, 55, 56, 58          —              H8 (49) AGM
2018        L4/2.0L      PR Code 0K0                                                             68033, 50, 54, 55, 56, 58      H6 (48) AGM    —
2010        V6/3.2L      PR Code J0P                                                             105 Ah33, 50, 54, 55, 56, 58   —              —
2010        V6/3.2L      PR Code J0B                                                             92 Ah33, 50, 54, 55, 56, 58    H8 (49) AGM    —
2010        V6/3.2L      PR Code J0L                                                             57050, 54, 55, 56, 58          H6 (48)        H6 (48) AGM
2010        V6/3.2L      PR Code J1L                                                             54050, 54, 55, 56, 58          H5 (47)        H5 (47) AGM
2010        V6/3.2L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58      H6 (48) AGM    —
2010        V6/3.2L      PR Code J0N                                                             60 Ah50, 54, 55, 56, 58        H5 (47)        H5 (47) AGM
Audi A5 Sportback
2022-18     L4/2.0L      PR Code J1U                                                             76050, 55, 56, 58              —              H8 (49) AGM
2022-18     L4/2.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58          —              —
2022-18     L4/2.0L      PR Code J1N                                                             80033, 50, 55, 56, 58          H7 (94R) AGM   —
2022-18     L4/2.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58      H8 (49) AGM    —
2022-18     L4/2.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58      H9 (95R) AGM   —
2022-18     L4/2.0L      PR Code J0Z                                                             85050, 55, 56, 58              —              H9 (95R) AGM
2022-18     L4/2.0L      PR Code J0H                                                             58 Ah33, 45, 50, 55, 56, 58    H5 (47) AGM    —
2022-18     L4/2.0L      PR Code J0K                                                             93 Ah45, 50, 55, 56, 58, 59    —
2022-18     L4/2.0L      PR Code J4E                                                             79 Ah45, 50, 55, 56, 58, 59    —
2022-18     L4/2.0L      PR Code 0K0                                                             68033, 50, 54, 55, 56, 58      H6 (48) AGM    —
2022-18     V6/3.2L      PR Code J2D                                                             68033, 50, 55, 56, 58          H6 (48) AGM    —
Audi A6
2018-16     L4/2.0L      PR Code J0L                                                             64050, 54, 55, 56, 58          H6 (48)        H6 (48) AGM
2018-16     L4/2.0L      PR Code J0R                                                             64050, 54, 55, 56, 58          H7 (94R)       H7 (94R) AGM
2018-16     L4/2.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58          —              H9 (95R) AGM
2018-15     L4/2.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58      H7 (94R) AGM   —
2018-12     L4/2.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58      H8 (49) AGM    —
2018-12     L4/2.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58      H9 (95R) AGM   —
2018-12     L4/2.0L      PR Code J1U                                                             76050, 54, 55, 56, 58          —              H8 (49) AGM
2018-12     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58      H6 (48) AGM    —
2015-12     L4/2.0L      PR Code J0R                                                             80 Ah50, 54, 55, 56, 58        H7 (94R)       H7 (94R) AGM
2015-12     L4/2.0L      PR Code J0Z                                                             110 Ah50, 54, 55, 56, 58       —              —
2011-09     V6/3.2L      PR Code J0R                                                             80 Ah50, 54, 55, 56, 58        H7 (94R)       H7 (94R) AGM
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                          17
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT             GROUP SIZE    ALTERNATE SIZE
                                                                                                       CCA/RATING                  (NOTES)         (NOTES)

   Audi A6 (continued)
   2011-09     V6/3.2L     PR Code J0L                                                          70 Ah50, 54, 55, 56, 58        H6 (48)         H6 (48) AGM
   2011-06     V6/3.2L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
   2011-06     V6/3.2L     PR Code J1U                                                          76050, 54, 55, 56, 58          —               H8 (49) AGM
   2011-06     V6/3.2L     PR Code J0Z                                                          85050, 54, 55, 56, 58          —               H9 (95R) AGM
   2004-02     V6/3.0L     PR Code J1D                                                          64050, 54, 55, 56              —               —
   2004-02     V6/3.0L     PR Code J1U                                                          76050, 54, 55, 56              —               H8 (49) AGM
   2004-02     V6/3.0L     PR Code J1D                                                          64050, 54, 55, 56              —               —
   2004-02     V6/3.0L     PR Code J1R                                                          72050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
   2001-95     V6/2.8L     PR Code J0L                                                          57050, 54                      H6 (48)         H6 (48) AGM
   2011        V6/3.2L     PR Code J1D                                                          64050, 54, 55, 56              —               —
   2011        V6/3.2L     PR Code J0P                                                          95033, 50, 54, 55, 56, 58      H9 (95R) AGM    —
   2011        V6/3.2L     PR Code J1N                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM    —
   2011        V6/3.2L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58      H6 (48) AGM     —
   1995        V6/2.8L                                                                          65050                          —
   Audi A6 allroad
   2022-20     V6/3.0L     Hybrid, PR Code J0V                                                  68050, 56, 55, 58, 59          —               —
   2022-20     V6/3.0L     Hybrid, PR Code J2D                                                  68033, 50, 55, 56, 58          H6 (48) AGM     —
   2022-20     V6/3.0L     Hybrid, PR Code J0Z                                                  85050, 55, 56, 58              —               H9 (95R) AGM
   2022-20     V6/3.0L     Hybrid, PR Code J0P                                                  95033, 50, 55, 56, 58          —               —
   2022        L4/2.0L     Hybrid, PR Code J0V                                                  68050, 56, 55, 58, 59          —               —
   2022        L4/2.0L     Hybrid, PR Code J2D                                                  68033, 50, 55, 56, 58          H6 (48) AGM     —
   2022        L4/2.0L     Hybrid, PR Code J0Z                                                  85050, 55, 56, 58              —               H9 (95R) AGM
   2022        L4/2.0L     Hybrid, PR Code J0P                                                  95033, 50, 55, 56, 58          —               —
   Audi A6 quattro
   2022-19 V6/3.0L         Hybrid, PR Code J0V, EFB                                             70 Ah50, 55, 56, 58, 59        —               —
   2022-19 V6/3.0L         Hybrid, PR Code J0P                                                  95033, 50, 55, 56, 58          —               —
   2022-19 V6/3.0L         Hybrid, PR Code J0Z                                                  85050, 55, 56, 58              —               H9 (95R) AGM
   2022-19 V6/3.0L         Hybrid, PR Code J2D                                                  68033, 50, 54, 55, 56, 58      H6 (48) AGM     —
   2022-19 V6/3.0L         Hybrid, PR Code J0V, EFB                                             70 Ah50, 55, 56, 58, 59        —               —
   2021-19 L4/2.0L         PR Code J0V, EFB                                                     70 Ah50, 55, 56, 58, 59        —               —
   2021-13 L4/2.0L         PR Code J0P                                                          95033, 50, 55, 56, 58          —               —
   2021-13 L4/2.0L         PR Code J0Z                                                          85050, 55, 56, 58              —               H9 (95R) AGM
   2021-13 L4/2.0L         PR Code J2D                                                          68 Ah33, 50, 55, 56, 58        H6 (48) AGM     —
   2018-16 L4/2.0L         PR Code J0K                                                          93 Ah50, 55, 56, 58, 59        —               —
   2018-16 V6/3.0L         PR Code J0K                                                          93 Ah50, 55, 56, 58, 59        —               —
   2018-15 V6/3.0L         PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
   2018-13 L4/2.0L         PR Code J0L                                                          64050, 54, 55, 56, 58          H6 (48)         H6 (48) AGM
   2018-13 L4/2.0L         PR Code J0R                                                          64050, 54, 55, 56, 58          H7 (94R)        H7 (94R) AGM
   2018-13 L4/2.0L         PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
   2018-13 L4/2.0L         PR Code J1N                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM    —
   2018-13 L4/2.0L         PR Code J1U                                                          76050, 54, 55, 56, 58          —               H8 (49) AGM
   2018-11 V6/3.0L         PR Code J0L                                                          64050, 54, 55, 56, 58          H6 (48)         H6 (48) AGM
   2018-11 V6/3.0L         PR Code J0R                                                          64050, 54, 55, 56, 58          H7 (94R)        H7 (94R) AGM
   2018-11 V6/3.0L         PR Code J1N                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM    —
   2018-11 V6/3.0L         PR Code J0P                                                          95033, 50, 54, 55, 56, 58      H9 (95R) AGM    —
   2018-11 V6/3.0L         PR Code J2D                                                          68033, 50, 54, 55, 56, 58      H6 (48) AGM     —
   2018-09 V6/3.0L         PR Code J1U                                                          76050, 54, 55, 56, 58          —               H8 (49) AGM
   2016-14 V6/3.0L         Dsl, PR Code J0B                                                     85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
   2016-14 V6/3.0L         Dsl, PR Code J0R                                                     64050, 54, 55, 56, 58          H7 (94R)        H7 (94R) AGM
   2016-14 V6/3.0L         Dsl, PR Code J0Z                                                     85050, 54, 55, 56, 58          —               H9 (95R) AGM
   2016-14 V6/3.0L         Dsl, PR Code J1U                                                     76050, 54, 55, 56, 58          —               H8 (49) AGM
   2016-14 V6/3.0L         Dsl, PR Code J2D                                                     68033, 50, 54, 55, 56, 58      H6 (48) AGM     —
   2015-14 V6/3.0L         Dsl, PR Code J0P                                                     105 Ah33, 50, 54, 55, 56, 58   —               —
   2015-14 V6/3.0L         Dsl, PR Code J1N                                                     75 Ah33, 50, 54, 55, 56, 58    H7 (94R) AGM    —
   2011-05 V8/4.2L         PR Code J0L                                                          70 Ah50, 54, 55, 56, 58        H6 (48)         H6 (48) AGM
   2011-05 V8/4.2L         PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
   2011-05 V8/4.2L         PR Code J0Z                                                          110 Ah50, 54, 55, 56, 58       —               —
   2011-02 V8/4.2L         PR Code J0R                                                          80 Ah50, 54, 55, 56, 58        H7 (94R)        H7 (94R) AGM
   2011-02 V8/4.2L         PR Code J1U                                                          76050, 54, 55, 56, 58          —               H8 (49) AGM
   2010-09 V6/3.0L         PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM     —
   2010-09 V6/3.0L         PR Code J0R                                                          64050, 54, 55, 56, 58          H7 (94R)        H7 (94R) AGM
   2010-09 V6/3.0L         PR Code J0L                                                          57050, 54, 55, 56, 58          H6 (48)         H6 (48) AGM
   2008-05 V6/3.2L         PR Code J0L                                                          57050, 54, 55, 56              H6 (48)         H6 (48) AGM
   2008-05 V6/3.2L         PR Code J1U                                                          76050, 54, 55, 56              —               H8 (49) AGM
   2008-05 V6/3.2L         PR Code J0B                                                          85033, 50, 54, 55, 56          H8 (49) AGM     —
   2008-05 V6/3.2L         PR Code J1D                                                          64050, 54, 55, 56              —               —
   2008-05 V6/3.2L         PR Code J0Z                                                          85050, 54, 55, 56              —               H9 (95R) AGM
   2004-02 V6/2.7L         All, PR Code J1U                                                     76050, 54, 55, 56              —               H8 (49) AGM
   2004-02 V6/2.7L         All, PR Code J0R                                                     64050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
   2004-02 V6/2.7L         All, PR Code J1R                                                     72050, 54, 55, 56              H7 (94R)        H7 (94R) AGM
   2004-02 V6/2.7L         All, PR Code J1D                                                     64050, 54, 55, 56              —               —
   2004-02 V6/3.0L         PR Code J1D                                                          64050, 54, 55, 56              —               —
   See page 158 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

                                                                                                                                                      Costco_001982
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18                                                                                      Automotive/Light Truck
   YEAR        ENGINE                                                         OPTIONS                 ORIGINAL EQUIPMENT         GROUP SIZE       ALTERNATE SIZE
                                                                                                          CCA/RATING              (NOTES)            (NOTES)

Audi A6 quattro (continued)
2004-02     V6/3.0L      PR Code J1U                                                             76050, 54, 55, 56           —                H8 (49) AGM
2004-02     V6/3.0L      PR Code J0R                                                             64050, 54, 55, 56           H7 (94R)         H7 (94R) AGM
2004-02     V6/3.0L      PR Code J1R                                                             72050, 54, 55, 56           H7 (94R)         H7 (94R) AGM
2004-02     V8/4.2L      PR Code J1D                                                             64050, 54, 55, 56           —                —
2004-02     V8/4.2L      PR Code J1R                                                             72050, 54, 55, 56           H7 (94R)         H7 (94R) AGM
2001-99     V6/2.8L                                                                              57050, 54                   H6 (48)          H6 (48) AGM
2001-95     V6/2.8L      Opt                                                                     57050                       H6 (48)          H6 (48) AGM
2001-00     V8/4.2L      PR Code J0B                                                             85050                       H8 (49) AGM      —
2022        L4/2.0L      Hybrid, PR Code J0V, EFB                                                70 Ah50, 55, 56, 58, 59     —                —
2022        L4/2.0L      Hybrid, PR Code J0P                                                     95033, 50, 55, 56, 58       —                —
2022        L4/2.0L      Hybrid, PR Code J0Z                                                     85050, 55, 56, 58           —                H9 (95R) AGM
2022        L4/2.0L      Hybrid, PR Code J2D                                                     68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
2016        V6/3.0L      Dsl, PR Code J0P                                                        95033, 50, 54, 55, 56, 58   H9 (95R) AGM     —
2016        V6/3.0L      Dsl, PR Code J1N                                                        80033, 50, 54, 55, 56, 58   H7 (94R) AGM     —
2011        V8/4.2L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58   H9 (95R) AGM     —
2011        V8/4.2L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM     —
2011        V8/4.2L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
2010        V6/3.0L      Dsl, PR Code J0B                                                        85033, 50, 54, 55, 56       H8 (49) AGM      —
Audi A7 quattro
2022-18     V6/3.0L      Hybrid, PR Code J0Z                                                     110 Ah50, 55, 56, 58        —                —
2022-18     V6/3.0L      Hybrid, PR Code J2D                                                     68 Ah33, 50, 55, 56, 58     H6 (48) AGM      —
2022-18     V6/3.0L      Hybrid, PR Code 0K4 Auxiliary                                           45
                                                                                                                             —                —
2022-18     V6/3.0L      Hybrid, PR Code J0T                                                     69 Ah50, 55, 56, 58, 59     —                —
2022-18     V6/3.0L      Hybrid, PR Code J0V                                                     70 Ah50, 55, 56, 58, 59     —                —
2018-12     V6/3.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
2018-12     V6/3.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM     —
2018-12     V6/3.0L      PR Code J1U                                                             76050, 54, 55, 56, 58       —                H8 (49) AGM
2018-12     V6/3.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58   H8 (49) AGM      —
2018-12     V6/3.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58   H9 (95R) AGM     —
2018-12     V6/3.0L      PR Code J0R                                                             64050, 54, 55, 56, 58       H7 (94R)         H7 (94R) AGM
2018-12     V6/3.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58       —                H9 (95R) AGM
2016-14     V6/3.0L      Dsl, PR Code J0B                                                        85033, 50, 54, 55, 56, 58   H8 (49) AGM      —
2016-14     V6/3.0L      Dsl, PR Code J0P                                                        95033, 50, 54, 55, 56, 58   H9 (95R) AGM     —
2016-14     V6/3.0L      Dsl, PR Code J0R                                                        64050, 54, 55, 56, 58       H7 (94R)         H7 (94R) AGM
2016-14     V6/3.0L      Dsl, PR Code J1N                                                        80033, 50, 54, 55, 56, 58   H7 (94R) AGM     —
2016-14     V6/3.0L      Dsl, PR Code J1U                                                        76050, 54, 55, 56, 58       —                H8 (49) AGM
2016-14     V6/3.0L      Dsl, PR Code J2D                                                        68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
2016-14     V6/3.0L      Dsl, PR Code J0Z                                                        85050, 54, 55, 56, 58       —                H9 (95R) AGM
2022        V6/3.0L      Hybrid, PR Code J0P                                                     105 Ah33, 50, 55, 56, 58    —                —
Audi A7 Sportback
2022-19     V6/3.0L      Hybrid, PR Code J0Z                                                     110 Ah50, 55, 56, 58        —                —
2022-19     V6/3.0L      Hybrid, PR Code J2D                                                     68 Ah33, 50, 55, 56, 58     H6 (48) AGM      —
2022-19     V6/3.0L      Hybrid, PR Code 0K4 Auxiliary                                           45
                                                                                                                             —                —
2022-19     V6/3.0L      Hybrid, PR Code J0T                                                     69 Ah50, 55, 56, 58, 59     —                —
2022-19     V6/3.0L      Hybrid, PR Code J0V                                                     70 Ah50, 55, 56, 58, 59     —                —
2021-19     V6/3.0L      Hybrid, PR Code J0P                                                     105 Ah33, 50, 55, 56, 58    —                —
2022        L4/2.0L      Hybrid, PR Code J0Z                                                     110 Ah50, 55, 56, 58        —                —
2022        L4/2.0L      Hybrid, PR Code J2D                                                     68 Ah33, 50, 55, 56, 58     H6 (48) AGM      —
2022        L4/2.0L      Hybrid, PR Code 0K4 Auxiliary                                           45
                                                                                                                             —                —
2022        L4/2.0L      Hybrid, PR Code J0T                                                     69 Ah50, 55, 56, 58, 59     —                —
2022        L4/2.0L      Hybrid, PR Code J0V                                                     70 Ah50, 55, 56, 58, 59     —                —
2022        L4/2.0L      Hybrid, PR Code J0P                                                     105 Ah33, 50, 55, 56, 58    —                —
2022        V6/3.0L      Hybrid, PR Code J0P                                                     105 Ah33, 50, 55, 56, 58    —                —
2021        V6/3.0L      PR Code J0P                                                             105 Ah33, 50, 55, 56, 58    —                —
2021        V6/3.0L      PR Code J0Z                                                             110 Ah50, 55, 56, 58        —                —
2021        V6/3.0L      PR Code J2D                                                             68 Ah33, 50, 55, 56, 58     H6 (48) AGM      —
2021        V6/3.0L      PR Code 0K4 Auxiliary                                                   45
                                                                                                                             —                —
2021        V6/3.0L      PR Code J0T                                                             69 Ah50, 55, 56, 58, 59     —                —
2021        V6/3.0L      PR Code J0V                                                             70 Ah50, 55, 56, 58, 59     —                —
Audi A8
1999-97 V8/3.7L                                                                                  85050                       —                H8 (49) AGM
1999-97 V8/3.7L          Std                                                                     76050                       —                H8 (49) AGM
Audi A8 quattro
2023-19     V6/3.0L      Hybrid, PR Code J0B                                                     92 Ah33, 50, 55, 56, 58     H8 (49) AGM      —
2023-19     V6/3.0L      Hybrid, PR Code J0P                                                     105 Ah33, 50, 55, 56, 58    —                —
2023-19     V6/3.0L      Hybrid, PR Code J2D                                                     68 Ah33, 50, 55, 56, 58     H6 (48) AGM      —
2023-19     V6/3.0L      Hybrid, PR Code J0T                                                     69 Ah50, 55, 56, 58, 59     —                —
2023-19     V6/3.0L      Hybrid, PR Code J0V                                                     70 Ah50, 55, 56, 58, 59     —                —
2023-19     V8/4.0L      Hybrid, PR Code J0V                                                     78 Ah50, 55, 56, 58, 59     —                —
2023-19     V8/4.0L      Hybrid, PR Code J0B                                                     92 Ah33, 50, 55, 56, 58     H8 (49) AGM      —
2023-19     V8/4.0L      Hybrid, PR Code J0P                                                     105 Ah33, 50, 55, 56, 58    —                —
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                   Costco_001983
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   Automotive/Light Truck                                                                                                                              19
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT              GROUP SIZE       ALTERNATE SIZE
                                                                                                       CCA/RATING                   (NOTES)            (NOTES)

   Audi A8 quattro (continued)
   2023-19     V8/4.0L     Hybrid, PR Code J2D                                                  68 Ah33, 50, 55, 56, 58        H6 (48) AGM      —
   2023-19     V8/4.0L     Hybrid, PR Code J0T                                                  69 Ah50, 55, 56, 58, 59        —                —
   2018-13     V6/3.0L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM      —
   2018-13     V6/3.0L     PR Code J1N                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2018-13     V6/3.0L     PR Code J0P                                                          95033, 50, 54, 55, 56, 58      H9 (95R) AGM     —
   2018-13     V6/3.0L     PR Code J0Z                                                          85050, 54, 55, 56, 58          —                H9 (95R) AGM
   2018-13     V6/3.0L     Dsl, PR Code J0P                                                     95033, 50, 54, 55, 56, 58      H9 (95R) AGM     —
   2018-13     V8/4.0L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM      —
   2018-13     V8/4.0L     PR Code J1N                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2018-13     V8/4.0L     PR Code J0Z                                                          85050, 54, 55, 56, 58          —                H9 (95R) AGM
   2018-13     V8/4.0L     PR Code J1U                                                          76050, 54, 55, 56, 58          —                H8 (49) AGM
   2016-15     V6/3.0L     Dsl, PR Code J1N                                                     80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2016-14     V6/3.0L     Dsl, PR Code J0B                                                     85033, 50, 54, 55, 56, 58      H8 (49) AGM      —
   2016-14     V6/3.0L     Dsl, PR Code J1U                                                     76050, 54, 55, 56, 58          —                H8 (49) AGM
   2016-14     V6/3.0L     Dsl, PR Code J0Z                                                     85050, 54, 55, 56, 58          —                H9 (95R) AGM
   2016-12     W12/6.3L    PR Code J1N                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2016-12     W12/6.3L    PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM      —
   2016-12     W12/6.3L    PR Code J0P                                                          95033, 50, 54, 55, 56, 58      H9 (95R) AGM     —
   2016-12     W12/6.3L    PR Code J0Z                                                          85050, 54, 55, 56, 58          —                H9 (95R) AGM
   2016-12     W12/6.3L    PR Code J1U                                                          76050, 54, 55, 56, 58          —                H8 (49) AGM
   2014-13     V8/4.0L     PR Code J0B                                                          92 Ah33, 50, 54, 55, 56, 58    H8 (49) AGM      —
   2014-13     V8/4.0L     PR Code J0P                                                          105 Ah33, 50, 54, 55, 56, 58   —                —
   2012-10     V8/4.2L     PR Code 0K1                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2012-10     V8/4.2L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM      —
   2012-10     V8/4.2L     PR Code J0P                                                          105 Ah33, 50, 54, 55, 56, 58   —                —
   2012-10     V8/4.2L     PR Code J1U                                                          76050, 54, 55, 56, 58          —                H8 (49) AGM
   2012-03     V8/4.2L     PR Code J0Z                                                          85050, 54, 55, 56, 58          —                H9 (95R) AGM
   2009-07     W12/6.3L    PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM      —
   2009-05     W12/6.3L    PR Code J0Z                                                          85050, 54, 55, 56, 58          —                H9 (95R) AGM
   2009-04     V8/4.2L                                                                          85050, 54, 55, 56              —                H9 (95R) AGM
   2007-03     V8/4.2L     Opt                                                                  85033, 50, 54, 55, 56          H8 (49) AGM      —
   2003-97     V8/4.2L                                                                          95 Ah50, 54                    —                H8 (49) AGM
   2003-00     V8/4.2L     Opt                                                                  85050, 54                      —                H9 (95R) AGM
   2013        V6/3.0L     PR Code 0K1                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2013        V8/4.0L     PR Code 0K1                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   Audi allroad
   2016-13     L4/2.0L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58      H8 (49) AGM      —
   2016-13     L4/2.0L     PR Code J0P                                                          95033, 50, 54, 55, 56, 58      H9 (95R) AGM     —
   2016-13     L4/2.0L     PR Code J0Z                                                          85050, 54, 55, 56, 58          —                H9 (95R) AGM
   2016-13     L4/2.0L     PR Code J1N                                                          80033, 50, 54, 55, 56, 58      H7 (94R) AGM     —
   2016-13     L4/2.0L     PR Code J1U                                                          76050, 54, 55, 56, 58          —                H8 (49) AGM
   2016-13     L4/2.0L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58      H6 (48) AGM      —
   2015-13     L4/2.0L     PR Code J0R                                                          64050, 54, 55, 56, 58          H7 (94R)         H7 (94R) AGM
   2015-13     L4/2.0L     PR Code J0L                                                          57050, 54, 55, 56, 58          H6 (48)          H6 (48) AGM
   2015-13     L4/2.0L     PR Code J0N                                                          54050, 54, 55, 56, 58          H5 (47)          H5 (47) AGM
   2016        L4/2.0L     PR Code J0H                                                          5833, 50, 55, 56               H5 (47) AGM      —
   2016        L4/2.0L     PR Code J0K                                                          93 Ah50, 55, 56, 59            —                —
   2016        L4/2.0L     PR Code J4E                                                          79 Ah50, 55, 56, 59            —                —
   Audi allroad quattro
   2005-03     V6/2.7L                                                                          65050                          H7 (94R)         H7 (94R) AGM
   2005-03     V6/2.7L     Opt                                                                  76050, 54                      —                H8 (49) AGM
   2005-03     V8/4.2L                                                                          76050                          —                H8 (49) AGM
   2002-01     V6/2.7L                                                                          640                            H7 (94R)         H7 (94R) AGM
   Audi Cabriolet
   1998-94 V6/2.8L                                                                              650                            —
   Audi Coupe quattro
   1991-90 L5/2.3L                                                                              65050                          —
   Audi e-tron quattro
   2022-19                 Electric, PR Code J2D                                                68033, 50, 55, 56, 58          H6 (48) AGM      —
   Audi e-tron Sportback, e-tron Sportback S
   2022-20                 Electric, PR Code J2D                                                68 Ah33, 50, 55, 56, 58        H6 (48) AGM      —
   Audi Q3
   2022-19     L4/2.0L     PR Code J0S                                                          54050, 56, 55, 58, 59          —                —
   2022-19     L4/2.0L     PR Code J0H                                                          58 Ah33, 50, 55, 56, 58        H5 (47) AGM      —
   2022-19     L4/2.0L     PR Code J0V, J0T                                                     68050, 56, 55, 58, 59          —                —
   2022-16     L4/2.0L     PR Code J0T                                                          68045, 54, 58, 59              —
   2022-15     L4/2.0L     PR Code J1D                                                          64050, 54, 55, 56, 58          —                —
   2022-15     L4/2.0L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58      H6 (48) AGM      —
   2018-15     L4/2.0L     PR Code J1P                                                          36045, 54, 58                  —
   2018-15     L4/2.0L     PR Code J2S                                                          48045, 54, 58                  —
   See page 158 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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20                                                                                      Automotive/Light Truck
   YEAR        ENGINE                                                         OPTIONS                ORIGINAL EQUIPMENT           GROUP SIZE       ALTERNATE SIZE
                                                                                                         CCA/RATING                (NOTES)            (NOTES)

Audi Q3 quattro
2018-16     L4/2.0L      PR Code J0T                                                             69 Ah45, 54, 58, 59           —
2018-16     L4/2.0L      PR Code J0V                                                             70 Ah45, 54, 58, 59           —               —
2018-15     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
2018-15     L4/2.0L      PR Code J1D                                                             64050, 54, 55, 56, 58         —               —
2018-15     L4/2.0L      PR Code J1P                                                             36045, 54, 58                 —
2018-15     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
2018-15     L4/2.0L      PR Code J2S                                                             48045, 54, 58                 —
Audi Q5
2022-17     L4/2.0L      PR Code 0K4 Auxiliary – Li-ion                                          45, 50, 55, 56, 58, 60
                                                                                                                               —               —
2022-11     L4/2.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58     H9 (95R) AGM    —
2022-11     L4/2.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58     H7 (94R) AGM    —
2022-11     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
2022-11     L4/2.0L      PR Code J0B                                                             92 Ah33, 50, 54, 55, 56, 58   H8 (49) AGM     —
2017-13     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
2017-13     V6/3.0L      PR Code J0B                                                             92 Ah33, 50, 54, 55, 56, 58   H8 (49) AGM     —
2017-13     V6/3.0L      PR Code J0L                                                             57050, 54, 55, 56, 58         H6 (48)         H6 (48) AGM
2017-13     V6/3.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58     H9 (95R) AGM    —
2017-13     V6/3.0L      PR Code J0R                                                             64050, 54, 55, 56, 58         H7 (94R)        H7 (94R) AGM
2017-13     V6/3.0L      PR Code J0Z                                                             110 Ah50, 54, 55, 56, 58      —               —
2017-13     V6/3.0L      PR Code J1L                                                             54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
2017-13     V6/3.0L      PR Code J1N                                                             75 Ah33, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2017-13     V6/3.0L      PR Code J1U                                                             76050, 54, 55, 56, 58         —               H8 (49) AGM
2017-13     V6/3.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
2017-11     L4/2.0L      PR Code J0L                                                             57050, 54, 55, 56, 58         H6 (48)         H6 (48) AGM
2017-11     L4/2.0L      PR Code J0R                                                             64050, 54, 55, 56, 58         H7 (94R)        H7 (94R) AGM
2017-11     L4/2.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58         —               H9 (95R) AGM
2017-11     L4/2.0L      PR Code J1U                                                             76050, 54, 55, 56, 58         —               H8 (49) AGM
2016-14     V6/3.0L      Dsl, PR Code J0B                                                        92 Ah33, 50, 54, 55, 56, 58   H8 (49) AGM     —
2016-14     V6/3.0L      Dsl, PR Code J0L                                                        57050, 54, 55, 56, 58         H6 (48)         H6 (48) AGM
2016-14     V6/3.0L      Dsl, PR Code J0P                                                        95033, 50, 54, 55, 56, 58     H9 (95R) AGM    —
2016-14     V6/3.0L      Dsl, PR Code J0R                                                        80 Ah50, 54, 55, 56, 58       H7 (94R)        H7 (94R) AGM
2016-14     V6/3.0L      Dsl, PR Code J0Z                                                        110 Ah50, 54, 55, 56, 58      —               —
2016-14     V6/3.0L      Dsl, PR Code J1L                                                        54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
2016-14     V6/3.0L      Dsl, PR Code J1N                                                        75 Ah33, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2016-14     V6/3.0L      Dsl, PR Code J1U                                                        76050, 54, 55, 56, 58         —               H8 (49) AGM
2016-14     V6/3.0L      Dsl, PR Code J2D                                                        68 Ah33, 50, 54, 55, 56, 58   H6 (48) AGM     —
2012-11     L4/2.0L      PR Code J1L                                                             54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
2012-09     V6/3.2L      PR Code J0B                                                             92 Ah33, 50, 54, 55, 56, 58   H8 (49) AGM     —
2012-09     V6/3.2L      PR Code J0L                                                             57050, 54, 55, 56, 58         H6 (48)         H6 (48) AGM
2012-09     V6/3.2L      PR Code J1L                                                             54050, 54, 55, 56, 58         H5 (47)         H5 (47) AGM
2012-09     V6/3.2L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58     H9 (95R) AGM    —
2012-09     V6/3.2L      PR Code J0R                                                             64050, 54, 55, 56, 58         H7 (94R)        H7 (94R) AGM
2012-09     V6/3.2L      PR Code J0Z                                                             110 Ah50, 54, 55, 56, 58      —               —
2012-09     V6/3.2L      PR Code J1N                                                             75 Ah33, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2012-09     V6/3.2L      PR Code J1U                                                             95 Ah50, 54, 55, 56, 58       —               H8 (49) AGM
2012-09     V6/3.2L      PR Code J2D                                                             68 Ah33, 50, 54, 55, 56, 58   H6 (48) AGM     —
Audi Q5 PHEV
2022-20     L4/2.0L      Hybrid                                                                  —45, 50, 55, 56, 58, 60       —               —
2022-20     L4/2.0L      Hybrid, PR Code J0B                                                     92 Ah33, 50, 54, 55, 56, 58   H8 (49) AGM     —
2022-20     L4/2.0L      Hybrid, PR Code J0P                                                     95033, 50, 54, 55, 56, 58     —               —
2022-20     L4/2.0L      Hybrid, PR Code J1N                                                     75 Ah33, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2022-20     L4/2.0L      Hybrid, PR Code J2D                                                     68 Ah33, 50, 54, 55, 56, 58   H6 (48) AGM     —
Audi Q5 Sportback
2023-21     L4/2.0L      Hybrid, PR Code J0B                                                     92 Ah33, 50, 55, 56, 58       H8 (49) AGM     —
2023-21     L4/2.0L      Hybrid, PR Code J0P                                                     105 Ah33, 50, 55, 56, 58      —               —
2023-21     L4/2.0L      Hybrid, PR Code J1N                                                     75 Ah33, 50, 55, 56, 58       H7 (94R) AGM    —
2023-21     L4/2.0L      Hybrid, PR Code J2D                                                     68 Ah33, 50, 55, 56, 58       H6 (48) AGM     —
2023-21     L4/2.0L      Hybrid, PR Code 0K4 Auxiliary Li-ion Only                               —45, 50, 55, 56, 58, 60       —               —
Audi Q7
2022-20     V6/3.0L      Hybrid, PR Code J0B                                                     92 Ah33, 50, 55, 56, 58       H8 (49) AGM     —
2022-20     V6/3.0L      Hybrid, PR Code J0P                                                     105 Ah33, 50, 55, 56, 58      —               —
2022-20     V6/3.0L      Hybrid, PR Code J1N                                                     75 Ah33, 50, 55, 56, 58       H7 (94R) AGM    —
2022-20     V6/3.0L      Hybrid, PR Code J2D                                                     68 Ah33, 50, 55, 56, 58       H6 (48) AGM     —
2021-17     L4/2.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58     H7 (94R) AGM    —
2021-17     L4/2.0L      PR Code J0B                                                             85033, 50, 54, 55, 56         H8 (49) AGM     —
2021-17     L4/2.0L      PR Code J0P                                                             95033, 50, 54, 55, 56         H9 (95R) AGM    —
2019-17     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
2019-17     V6/3.0L      PR Code J0B                                                             85033, 50, 54, 55, 56         H8 (49) AGM     —
2019-17     V6/3.0L      PR Code J0P                                                             95033, 50, 54, 55, 56         H9 (95R) AGM    —
2019-17     V6/3.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
2019-17     V6/3.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58     H7 (94R) AGM    —
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                            21
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT            GROUP SIZE       ALTERNATE SIZE
                                                                                                       CCA/RATING                 (NOTES)            (NOTES)

   Audi Q7 (continued)
   2015-11     V6/3.0L     PR Code J0B                                                          85033, 50, 54, 55, 56         H8 (49) AGM     —
   2015-11     V6/3.0L     PR Code J0P                                                          95033, 50, 54, 55, 56         H9 (95R) AGM    —
   2015-11     V6/3.0L     PR Code J0R                                                          64050, 54, 55, 56             H7 (94R)        H7 (94R) AGM
   2015-11     V6/3.0L     PR Code J0Z                                                          85050, 54, 55, 56             —               H9 (95R) AGM
   2015-11     V6/3.0L     PR Code J1U                                                          76050, 54, 55, 56             —               H8 (49) AGM
   2015-11     V6/3.0L     PR Code J2V                                                          115 Ah50, 55, 56, 58          —               —
   2015-10     V6/3.0L     Dsl, PR Code J0P                                                     95033, 50, 54, 55, 56         H9 (95R) AGM    —
   2015-10     V6/3.0L     Dsl, PR Code J0B                                                     92 Ah33, 50, 54, 55, 56       H8 (49) AGM     —
   2015-10     V6/3.0L     Dsl, PR Code J2V                                                     115 Ah50, 55, 56, 58          —               —
   2015-10     V6/3.0L     Dsl, PR Code J0R                                                     64050, 54, 55, 56             H7 (94R)        H7 (94R) AGM
   2015-09     V6/3.0L     Dsl, PR Code J0Z                                                     85050, 54, 55, 56             —               H9 (95R) AGM
   2015-09     V6/3.0L     Dsl, PR Code J1U                                                     76050, 54, 55, 56             —               H8 (49) AGM
   2010-07     V6/3.6L     PR Code J0Z                                                          85050, 54, 55, 56             —               H9 (95R) AGM
   2010-07     V8/4.2L     PR Code J1U                                                          85033, 50, 54, 55, 56         H8 (49) AGM     —
   2010-07     V8/4.2L     PR Code J0Z                                                          85050, 54, 55, 56             —               H9 (95R) AGM
   2022        L4/2.0L     Hybrid, PR Code J0B                                                  92 Ah33, 50, 55, 56, 58       H8 (49) AGM     —
   2022        L4/2.0L     Hybrid, PR Code J0P                                                  105 Ah33, 50, 55, 56, 58      —               —
   2022        L4/2.0L     Hybrid, PR Code J1N                                                  75 Ah33, 50, 55, 56, 58       H7 (94R) AGM    —
   2022        L4/2.0L     Hybrid, PR Code J2D                                                  68 Ah33, 50, 55, 56, 58       H6 (48) AGM     —
   2010        V6/3.6L     PR Code J0B                                                          85033, 50, 54, 55, 56         H8 (49) AGM     —
   2010        V6/3.6L     PR Code J0P                                                          95033, 50, 54, 55, 56         H9 (95R) AGM    —
   2010        V6/3.6L     PR Code J0R                                                          64050, 54, 55, 56             H7 (94R)        H7 (94R) AGM
   2010        V8/4.2L     PR Code J0B                                                          85033, 50, 54, 55, 56         H8 (49) AGM     —
   2010        V8/4.2L     PR Code J0P                                                          95033, 50, 54, 55, 56         H9 (95R) AGM    —
   2010        V8/4.2L     PR Code J2V                                                          115 Ah50, 55, 56, 58          —               —
   2010        V8/4.2L     PR Code J0R                                                          64050, 54, 55, 56             H7 (94R)        H7 (94R) AGM
   Audi Q8
   2022-19     V6/3.0L     Hybrid, PR Code J0B                                                  85033, 50, 55, 56, 58         H8 (49) AGM     —
   2022-19     V6/3.0L     Hybrid, PR Code J0P                                                  95033, 50, 55, 56, 58         —               —
   2022-19     V6/3.0L     Hybrid, PR Code J1N                                                  80033, 50, 55, 56, 58         H7 (94R) AGM    —
   2022-19     V6/3.0L     Hybrid, PR Code J2D                                                  68033, 50, 55, 56, 58         H6 (48) AGM     —
   Audi R8
   2022-20     V10/5.2L    PR Code J0B                                                          85033, 50, 55, 56, 58         H8 (49) AGM     —
   2022-20     V10/5.2L    PR Code J1N                                                          80033, 50, 55, 56, 58         H7 (94R) AGM    —
   2018-17     V10/5.2L    PR Code J0B                                                          85033, 50, 54, 55, 56, 58     H8 (49) AGM     —
   2018-17     V10/5.2L    PR Code J1N                                                          80033, 50, 54, 55, 56, 58     H7 (94R) AGM    —
   2015-14     V10/5.2L    PR Code J2D                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
   2015-14     V8/4.2L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
   2012-09     V10/5.2L    PR Code J0L                                                          57050, 54, 55, 56, 58         H6 (48)         H6 (48) AGM
   2012-09     V10/5.2L    PR Code J0Z                                                          85050, 54, 55, 56, 58         —               H9 (95R) AGM
   2012-09     V10/5.2L    PR Code J1D                                                          72 Ah50, 54, 55, 56, 58       —               —
   2012-09     V10/5.2L    PR Code J2D                                                          68 Ah33, 50, 54, 55, 56, 58   H6 (48) AGM     —
   2012-08     V8/4.2L     PR Code J0L                                                          57050, 54, 55, 56, 58         H6 (48)         H6 (48) AGM
   2012-08     V8/4.2L     PR Code J0Z                                                          85050, 54, 55, 56, 58         —               H9 (95R) AGM
   2012-08     V8/4.2L     PR Code J1D                                                          72 Ah50, 54, 55, 56, 58       —               —
   2012-08     V8/4.2L     PR Code J2D                                                          68 Ah33, 50, 54, 55, 56, 58   H6 (48) AGM     —
   Audi RS 3
   2020-17 L5/2.5L         L PR Code J1N                                                        80033, 50, 55, 56, 58         H7 (94R) AGM    —
   2022    L5/2.5L         L PR Code J1N                                                        80033, 50, 55, 56, 58         H7 (94R) AGM    —
   Audi RS 4
   2008-07 V8/4.2L         PR Code J0B                                                          85033, 50, 54, 55, 56, 58     H8 (49) AGM     —
   Audi RS 5
   2022-21     V6/2.9L     PR Code J0P                                                          95033, 50, 54, 55, 56, 58     H9 (95R) AGM    —
   2022-21     V6/2.9L     PR Code J1N                                                          80033, 50, 54, 55, 56, 58     H7 (94R) AGM    —
   2022-21     V6/2.9L     PR Code J0B                                                          85033, 50, 55, 56, 58         H8 (49) AGM     —
   2022-21     V6/2.9L     PR Code J4E                                                          79 Ah50, 55, 56, 58, 59       —               —
   2019-18     V6/2.9L     PR Code J0P                                                          95033, 50, 54, 55, 56, 58     H9 (95R) AGM    —
   2019-18     V6/2.9L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58     H8 (49) AGM     —
   2019-18     V6/2.9L     PR Code J1N                                                          80033, 50, 54, 55, 56, 58     H7 (94R) AGM    —
   2019-18     V6/2.9L     PR Code J4E                                                          79 Ah50, 55, 56, 58, 59       —               —
   2015-13     V8/4.2L     PR Code J1U                                                          95 Ah50, 55, 56, 58           —               H8 (49) AGM
   2015-13     V8/4.2L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM     —
   2015-13     V8/4.2L     PR Code J0P                                                          95033, 50, 54, 55, 56, 58     H9 (95R) AGM    —
   2015-13     V8/4.2L     PR Code J0Z                                                          85050, 55, 56, 58             —               H9 (95R) AGM
   2015-13     V8/4.2L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58     H8 (49) AGM     —
   Audi RS 5 Sportback
   2022-21     V6/2.9L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58     H8 (49) AGM     —
   2022-21     V6/2.9L     PR Code J0P                                                          95033, 50, 54, 55, 56, 58     H9 (95R) AGM    —
   2022-21     V6/2.9L     PR Code J1N                                                          80033, 50, 54, 55, 56, 58     H7 (94R) AGM    —
   2022-21     V6/2.9L     PR Code J4E                                                          79 Ah50, 55, 56, 58, 59       —               —
   2019        V6/2.9L     PR Code J0B                                                          85033, 50, 54, 55, 56, 58     H8 (49) AGM     —
   See page 158 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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22                                                                                      Automotive/Light Truck
   YEAR        ENGINE                                                         OPTIONS                ORIGINAL EQUIPMENT         GROUP SIZE       ALTERNATE SIZE
                                                                                                         CCA/RATING              (NOTES)            (NOTES)

Audi RS 5 Sportback (continued)
2019        V6/2.9L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58   H9 (95R) AGM    —
2019        V6/2.9L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2019        V6/2.9L      PR Code J4E                                                             79 Ah50, 55, 56, 58, 59     —               —
Audi RS 7
2018-14     V8/4.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58   H8 (49) AGM     —
2018-14     V8/4.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58   H9 (95R) AGM    —
2018-14     V8/4.0L      PR Code J0R                                                             64050, 54, 55, 56, 58       H7 (94R)        H7 (94R) AGM
2018-14     V8/4.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58       —               H9 (95R) AGM
2018-14     V8/4.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2018-14     V8/4.0L      PR Code J1U                                                             76050, 54, 55, 56, 58       —               H8 (49) AGM
2018-14     V8/4.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM     —
Audi RS Q8
2021-20     V8/4.0L      Hybrid, PR Code J0B                                                     92 Ah33, 50, 55, 56, 58     H8 (49) AGM     —
2021-20     V8/4.0L      Hybrid, PR Code J0P                                                     105 Ah33, 50, 55, 56, 58    —               —
2021-20     V8/4.0L      Hybrid, PR Code J1N                                                     75 Ah33, 50, 55, 56, 58     H7 (94R) AGM    —
2021-20     V8/4.0L      Hybrid, PR Code J2D                                                     68 Ah33, 50, 55, 56, 58     H6 (48) AGM     —
Audi RS3
2018-17 L5/2.5L          PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM    —
Audi RS5
2021        V6/2.9L      PR Code J0P                                                             105 Ah33, 50, 55, 56, 58    —               —
2021        V6/2.9L      PR Code J1N                                                             75 Ah33, 50, 55, 56, 58     H7 (94R) AGM    —
2021        V6/2.9L      PR Code J4E                                                             79 Ah50, 55, 56, 58, 59     —               —
Audi RS5 Sportback
2021        V6/2.9L      PR Code J0P                                                             105 Ah33, 50, 55, 56, 58    —               —
2021        V6/2.9L      PR Code J1N                                                             75 Ah33, 50, 55, 56, 58     H7 (94R) AGM    —
2021        V6/2.9L      PR Code J4E                                                             79 Ah50, 55, 56, 58, 59     —               —
Audi RS6 Avant
2022-21 V8/4.0L          Hybrid, PR Code J2D                                                     68 Ah33, 50, 55, 56, 58     H6 (48) AGM     —
Audi RS7 Sportback
2022-21 V8/4.0L          Hybrid, PR Code J2D                                                     68 Ah33, 50, 55, 56, 58     H6 (48) AGM     —
Audi S3
2023-22     L4/2.0L      PR Code J0S                                                             54045, 54, 58, 59           —               —
2023-22     L4/2.0L      PR Code J0V                                                             70 Ah55, 56, 58, 59         —               —
2023-22     L4/2.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2023-22     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM     —
2020-17     L4/2.0L      PR Code J0H                                                             58 Ah33, 50, 55, 56, 58     H5 (47) AGM     —
2020-17     L4/2.0L      PR Code J0V                                                             70 Ah54, 56, 58, 59         —               —
2020-15     L4/2.0L      PR Code J0S                                                             54054, 58, 59               —               —
2020-15     L4/2.0L      PR Code J0N                                                             54050, 54, 55, 56, 58       H5 (47)         H5 (47) AGM
2020-15     L4/2.0L      PR Code J0T                                                             68045, 54, 58, 59           —               —
2020-15     L4/2.0L      PR Code J1D                                                             64050, 54, 55, 56, 58       —               —
2020-15     L4/2.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM     —
2020-15     L4/2.0L      PR Code J1P                                                             36045, 54, 58               —
2016-15     L4/2.0L      PR Code J2S                                                             48045, 54, 58               —
Audi S4
2022-20     V6/3.0L      PR Code J4E, EFB                                                        79 Ah50, 55, 56, 58, 59     —               —
2022-18     V6/3.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58   H8 (49) AGM     —
2022-18     V6/3.0L      PR Code J0H                                                             58 Ah33, 50, 55, 56, 58     H5 (47) AGM     —
2022-18     V6/3.0L      PR Code J0Z                                                             110 Ah50, 55, 56, 58        —               —
2022-18     V6/3.0L      PR Code J2D, 0K0, 0K2                                                   68 Ah33, 50, 55, 56, 58     H6 (48) AGM     —
2022-18     V6/3.0L      PR Code 0K4 Auxiliary Li-ion Only                                       45, 50, 55, 56, 58, 60
                                                                                                                             —               —
2021-18     V6/3.0L      PR Code J0K, EFB                                                        93 Ah50, 55, 56, 58, 59     —               —
2021-18     V6/3.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58   H8 (49) AGM     —
2021-18     V6/3.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58   H9 (95R) AGM    —
2021-18     V6/3.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58       —               H9 (95R) AGM
2021-18     V6/3.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2021-18     V6/3.0L      PR Code J1U                                                             76050, 54, 55, 56, 58       —               H8 (49) AGM
2021-18     V6/3.0L      PR Code J2D, 0K0, 0K2                                                   68033, 50, 54, 55, 56, 58   H6 (48) AGM     —
2019-18     V6/3.0L      PR Code J4E, EFB                                                        N/A45, 58, 59               —               —
2016-14     V6/3.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58   H9 (95R) AGM    —
2016-10     V6/3.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58   H8 (49) AGM     —
2016-10     V6/3.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58       —               H9 (95R) AGM
2016-10     V6/3.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM    —
2016-10     V6/3.0L      PR Code J1U                                                             76050, 54, 55, 56, 58       —               H8 (49) AGM
2015-13     V6/3.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM     —
2015-13     V6/3.0L      PR Code J0L                                                             57050, 54, 55, 56, 58       H6 (48)         H6 (48) AGM
2015-13     V6/3.0L      PR Code J0N                                                             52050, 54, 55, 56, 58       H5 (47)         H5 (47) AGM
2015-10     V6/3.0L      PR Code J0R                                                             64050, 54, 55, 56, 58       H7 (94R)        H7 (94R) AGM
2009-04     V8/4.2L      PR Code J0R                                                             64050, 54, 55, 56, 58       H7 (94R)        H7 (94R) AGM
2009-04     V8/4.2L      PR Code J1U                                                             76050, 54, 55, 56, 58       —               H8 (49) AGM
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                                                         23
      YEAR        ENGINE                                                 OPTIONS                                                    ORIGINAL EQUIPMENT          GROUP SIZE     ALTERNATE SIZE
                                                                                                                                        CCA/RATING               (NOTES)          (NOTES)

   Audi S4 (continued)
   2009-04     V8/4.2L     PR Code J0R                                                                                          64050, 54, 55, 56, 58         H7 (94R)       H7 (94R) AGM
   2001-00     V6/2.7L                                                                                                          57050, 54                     H6 (48)        H6 (48) AGM
   1994-93     L5/2.2L     Turbo                                                                                                65050                         —
   2016        V6/3.0L     PR Code J0B, B0A, B0L, B0M, B0N, B0R, B1C, B1D, B1Q, B1Z, B2E, B2H, B3D, B3E, B4G, B4K               85033, 50, 54, 55, 56, 58     H8 (49) AGM    —
   2016        V6/3.0L     PR Code J0K, EFB                                                                                     93 Ah50, 55, 56, 58, 59       —              —
   2016        V6/3.0L     PR Code J2D, 0K0, 0K2                                                                                68 Ah33, 50, 55, 56, 58       H6 (48) AGM    —
   2016        V6/3.0L     PR Code J4E, EFB                                                                                     79 Ah50, 55, 56, 58, 59       —              —
   2009        V8/4.2L     PR Code J0B                                                                                          85033, 50, 54, 55, 56, 58     H8 (49) AGM    —
   2009        V8/4.2L     PR Code J0P                                                                                          95033, 50, 54, 55, 56, 58     H9 (95R) AGM   —
   2009        V8/4.2L     PR Code J1N                                                                                          80033, 50, 54, 55, 56, 58     H7 (94R) AGM   —
   2009        V8/4.2L     PR Code J0Z                                                                                          85050, 54, 55, 56, 58         —              H9 (95R) AGM
   2002        V6/2.7L     Turbo                                                                                                64050                         H7 (94R)       H7 (94R) AGM
   1992        L5/2.2L                                                                                                          650                           —
   Audi S5
   2022-17     V6/3.0L     PR Code J0H                                                                                          58 Ah33, 50, 55, 56, 58       H5 (47) AGM    —
   2022-17     V6/3.0L     PR Code 0K4 Auxiliary Li-ion Only                                                                    45, 50, 55, 56, 58, 60
                                                                                                                                                              —              —
   2022-17     V6/3.0L     PR Code J0K, EFB                                                                                     93 Ah50, 55, 56, 58, 59       —              —
   2022-17     V6/3.0L     PR Code J4E, EFB                                                                                     79 Ah50, 55, 56, 58, 59       —              —
   2022-12     V6/3.0L     PR Code J1N                                                                                          80033, 50, 55, 56, 58         H7 (94R) AGM   —
   2022-10     V6/3.0L     PR Code J0B                                                                                          85033, 50, 55, 56, 58         H8 (49) AGM    —
   2022-10     V6/3.0L     PR Code J0P                                                                                          95033, 50, 55, 56, 58         —              —
   2022-10     V6/3.0L     PR Code J0Z                                                                                          85050, 55, 56, 58             —              H9 (95R) AGM
   2022-10     V6/3.0L     PR Code J1U                                                                                          76050, 55, 56, 58             —              H8 (49) AGM
   2022-10     V6/3.0L     PR Code J2D                                                                                          68 Ah33, 50, 55, 56, 58       H6 (48) AGM    —
   2017-10     V6/3.0L     PR Code J0L                                                                                          57050, 54, 55, 56, 58         H6 (48)        H6 (48) AGM
   2017-10     V6/3.0L     PR Code J0R                                                                                          64050, 54, 55, 56, 58         H7 (94R)       H7 (94R) AGM
   2017-10     V6/3.0L     PR Code J1L                                                                                          54050, 54, 55, 56, 58         H5 (47)        H5 (47) AGM
   2012-09     V8/4.2L     PR Code J1L                                                                                          54050, 54, 55, 56, 58         H5 (47)        H5 (47) AGM
   2012-09     V8/4.2L     PR Code J0B                                                                                          85033, 50, 54, 55, 56, 58     H8 (49) AGM    —
   2012-09     V8/4.2L     PR Code J0L                                                                                          70 Ah50, 54, 55, 56, 58       H6 (48)        H6 (48) AGM
   2012-09     V8/4.2L     PR Code J0P                                                                                          95033, 50, 54, 55, 56, 58     H9 (95R) AGM   —
   2012-09     V8/4.2L     PR Code J2D                                                                                          68 Ah33, 50, 54, 55, 56, 58   H6 (48) AGM    —
   2012-08     V8/4.2L     PR Code J0R                                                                                          64050, 54, 55, 56, 58         H7 (94R)       H7 (94R) AGM
   2012-08     V8/4.2L     PR Code J0Z                                                                                          85050, 54, 55, 56, 58         —              H9 (95R) AGM
   2012-08     V8/4.2L     PR Code J1U                                                                                          76050, 54, 55, 56, 58         —              H8 (49) AGM
   Audi S5 Sportback
   2022-18     V6/3.0L     PR Code J0B                                                                                          85033, 50, 55, 56, 58         H8 (49) AGM    —
   2022-18     V6/3.0L     PR Code J0H                                                                                          58 Ah33, 50, 55, 56, 58       H5 (47) AGM    —
   2022-18     V6/3.0L     PR Code J0P                                                                                          95033, 50, 55, 56, 58         —              —
   2022-18     V6/3.0L     PR Code J0Z                                                                                          85050, 55, 56, 58             —              H9 (95R) AGM
   2022-18     V6/3.0L     PR Code J1N                                                                                          80033, 50, 55, 56, 58         H7 (94R) AGM   —
   2022-18     V6/3.0L     PR Code J1U                                                                                          95 Ah50, 55, 56, 58           —              H8 (49) AGM
   2022-18     V6/3.0L     PR Code J2D                                                                                          68 Ah33, 50, 55, 56, 58       H6 (48) AGM    —
   2022-18     V6/3.0L     PR Code 0K4 Auxiliary Li-ion Only                                                                    45, 50, 55, 56, 58, 60
                                                                                                                                                              —              —
   2022-18     V6/3.0L     PR Code J0K                                                                                          93 Ah50, 55, 56, 58, 59       —              —
   2022-18     V6/3.0L     PR Code J4E                                                                                          79 Ah50, 55, 56, 58, 59       —              —
   Audi S6
   2022-20     V6/2.9L     Hybrid, PR Code J0P                                                                                  95033, 50, 55, 56, 58         —              —
   2022-20     V6/2.9L     Hybrid, PR Code J0Z                                                                                  85050, 55, 56, 58             —              H9 (95R) AGM
   2022-20     V6/2.9L     Hybrid, PR Code J2D                                                                                  68033, 50, 55, 56, 58         H6 (48) AGM    —
   2022-20     V6/2.9L     Hybrid, PR Code J0V                                                                                  70 Ah50, 55, 56, 58, 59       —              —
   2018-16     V8/4.0L     PR Code J0K                                                                                          93Ah50, 55, 56, 58, 59        —              —
   2018-13     V8/4.0L     PR Code J0B                                                                                          85033, 50, 54, 55, 56, 58     H8 (49) AGM    —
   2018-13     V8/4.0L     PR Code J0L                                                                                          64050, 54, 55, 56, 58         H6 (48)        H6 (48) AGM
   2018-13     V8/4.0L     PR Code J0P                                                                                          95033, 50, 54, 55, 56, 58     H9 (95R) AGM   —
   2018-13     V8/4.0L     PR Code J0R                                                                                          64050, 54, 55, 56, 58         H7 (94R)       H7 (94R) AGM
   2018-13     V8/4.0L     PR Code J0Z                                                                                          85050, 54, 55, 56, 58         —              H9 (95R) AGM
   2018-13     V8/4.0L     PR Code J1N                                                                                          80033, 50, 54, 55, 56, 58     H7 (94R) AGM   —
   2018-13     V8/4.0L     PR Code J1U                                                                                          76050, 54, 55, 56, 58         —              H8 (49) AGM
   2018-13     V8/4.0L     PR Code J2D                                                                                          68033, 50, 54, 55, 56, 58     H6 (48) AGM    —
   2011-09     V10/5.2L    PR Code J0L                                                                                          70 Ah                         H6 (48)        H6 (48) AGM
   2011-09     V10/5.2L    PR Code J0R                                                                                          64050, 54, 55, 56, 58         H7 (94R)       H7 (94R) AGM
   2011-07     V10/5.2L    PR Code J0Z                                                                                          85050, 54, 55, 56             —              H9 (95R) AGM
   2011-07     V10/5.2L    PR Code J1U                                                                                          76050, 54, 55, 56, 58         —              H8 (49) AGM
   2010-07     V10/5.2L    Opt                                                                                                  76050, 54, 55, 56             —              H8 (49) AGM
   2010-07     V10/5.2L    Opt                                                                                                  85033, 50, 54, 55, 56         H8 (49) AGM    —
   2010-07     V10/5.2L    Opt                                                                                                  64050, 54, 55, 56             H7 (94R)       H7 (94R) AGM
   2003-02     V8/4.2L     PR Code J1U                                                                                          76050, 54                     —              H8 (49) AGM
   2003-02     V8/4.2L     PR Code J1D                                                                                          72 Ah50, 54, 55, 56, 58       —              —
   2003-02     V8/4.2L     PR Code J1R                                                                                          82 Ah                         —              —
   2003-02     V8/4.2L     PR Code J0R                                                                                          64050, 54, 55, 56             H7 (94R)       H7 (94R) AGM
   1997-95     L5/2.2L                                                                                                          65050                         —
   See page 158 for Footnotes. Selection may vary by warehouse.                                             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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   YEAR        ENGINE                                                         OPTIONS                 ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                                          CCA/RATING            (NOTES)            (NOTES)

Audi S6 (continued)
2011        V10/5.2L     PR Code J0B                                                             85033, 50, 54, 55, 56, 58   H8 (49) AGM    —
2011        V10/5.2L     PR Code J0P                                                             95033, 50, 54, 55, 56, 58   H9 (95R) AGM   —
2011        V10/5.2L     PR Code J0R                                                             80 Ah50, 54, 55, 56, 58     H7 (94R)       H7 (94R) AGM
2011        V10/5.2L     PR Code J0Z                                                             85050, 54, 55, 56, 58       —              H9 (95R) AGM
2011        V10/5.2L     PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM   —
2011        V10/5.2L     PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM    —
2011        V10/5.2L     PR Code J1D                                                             72 Ah50, 54, 55, 56, 58     —              —
Audi S7
2018-13     V8/4.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58   H8 (49) AGM    —
2018-13     V8/4.0L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58   H9 (95R) AGM   —
2018-13     V8/4.0L      PR Code J0R                                                             64050, 54, 55, 56, 58       H7 (94R)       H7 (94R) AGM
2018-13     V8/4.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58       —              H9 (95R) AGM
2018-13     V8/4.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM   —
2018-13     V8/4.0L      PR Code J1U                                                             76050, 54, 55, 56, 58       —              H8 (49) AGM
2018-13     V8/4.0L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM    —
Audi S7 Sportback
2022-20     V6/2.9L      PR Code OK4                                                                                         —              —
2022-20     V6/2.9L      PR Code J0P                                                             95033, 50, 54, 55, 56, 58   H9 (95R) AGM   —
2022-20     V6/2.9L      PR Code J0T                                                             69 Ah50, 55, 56, 58, 59     —              —
2022-20     V6/2.9L      PR Code J0Z                                                             85050, 54, 55, 56, 58       —              H9 (95R) AGM
2022-20     V6/2.9L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM    —
2022-20     V6/2.9L      PR Code J0V, EFB                                                        78 Ah50, 55, 56, 58, 59     —              —
Audi S8
2022-20     V8/4.0L      Hybrid, PR Code J0V, EFB                                                78 Ah50, 55, 56, 58, 59     —              —
2022-20     V8/4.0L      Hybrid, PR Code J0B                                                     85033, 50, 55, 56, 58       H8 (49) AGM    —
2022-20     V8/4.0L      Hybrid, PR Code J0P                                                     95033, 50, 55, 56, 58       —              —
2022-20     V8/4.0L      Hybrid, PR Code J2D                                                     68033, 50, 55, 56, 58       H6 (48) AGM    —
2022-20     V8/4.0L      Hybrid, PR Code J0T, EFB                                                69 Ah50, 55, 56, 58, 59     —              —
2018-13     V8/4.0L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58   H8 (49) AGM    —
2018-13     V8/4.0L      PR Code J0P                                                             95033, 50, 55, 56, 58       —              —
2018-13     V8/4.0L      PR Code J0Z                                                             85050, 54, 55, 56, 58       —              H9 (95R) AGM
2018-13     V8/4.0L      PR Code J1N                                                             80033, 50, 54, 55, 56, 58   H7 (94R) AGM   —
2018-13     V8/4.0L      PR Code J1U                                                             76050, 54, 55, 56, 58       —              H8 (49) AGM
2009-08     V10/5.2L     PR Code J0B                                                             85033, 50, 54, 55, 56       H8 (49) AGM    —
2009-07     V10/5.2L     PR Code J0Z                                                             85050, 55                   —              H9 (95R) AGM
2003-02     V8/4.2L      PR Code J1U                                                             72050, 54                   —              H8 (49) AGM
2001        V8/4.2L      PR Code J1U                                                             76050, 54                   —              H8 (49) AGM
Audi SQ5
2022-17     V6/3.0L      PR Code OK4, Li-ion                                                     45, 60
                                                                                                                             —              —
2022-14     V6/3.0L      PR Code J0B                                                             85033, 50, 55, 56, 58       H8 (49) AGM    —
2022-14     V6/3.0L      PR Code J0P                                                             95033, 50, 55, 56, 58       H9 (95R) AGM
2022-14     V6/3.0L      PR Code J1N                                                             80033, 50, 55, 56, 58       H7 (94R) AGM   —
2022-14     V6/3.0L      PR Code J2D                                                             68033, 50, 55, 56, 58       H6 (48) AGM    —
2017-14     V6/3.0L      PR Code J0L                                                             570                         H6 (48)        H6 (48) AGM
2017-14     V6/3.0L      PR Code J0N                                                             54050, 54, 55, 56, 58       H5 (47)        H5 (47) AGM
2017-14     V6/3.0L      PR Code J0Z                                                             850                         —              H9 (95R) AGM
2017-14     V6/3.0L      PR Code J1U                                                             95 Ah                       —
2017-14     V6/3.0L      PR Code J0R                                                             64050, 54, 55, 56, 58       H7 (94R)       H7 (94R) AGM
2016-14     V6/3.0L      Auxiliary
Audi SQ5 Sportback
2023-21     V6/3.0L      PR Code OK4, Li-ion                                                     60
                                                                                                                             —              —
2023-21     V6/3.0L      PR Code J0P                                                             95033, 50, 55, 56, 58       H9 (95R) AGM
2023-21     V6/3.0L      PR Code J1N                                                             80033, 50, 55, 56, 58       H7 (94R) AGM   —
2023-21     V6/3.0L      PR Code J2D                                                             68033, 50, 55, 56, 58       H6 (48) AGM    —
2023-21     V6/3.0L      PR Code J0B                                                             85033, 50, 55, 56, 58       H8 (49) AGM    —
Audi SQ7
2022-20     V8/4.0L      Hybrid, PR Code J0B                                                     85033, 50, 55, 56, 58       H8 (49) AGM    —
2022-20     V8/4.0L      Hybrid, PR Code J0P                                                     95033, 50, 55, 56, 58       —              —
2022-20     V8/4.0L      Hybrid, PR Code J1N                                                     80033, 50, 55, 56, 58       H7 (94R) AGM   —
2022-20     V8/4.0L      Hybrid, PR Code J2D                                                     68033, 50, 55, 56, 58       H6 (48) AGM    —
Audi SQ8
2022-20     V8/4.0L      Hybrid, PR Code J0B                                                     85033, 50, 55, 56, 58       H8 (49) AGM    —
2022-20     V8/4.0L      Hybrid, PR Code J0P                                                     95033, 50, 55, 56, 58       —              —
2022-20     V8/4.0L      Hybrid, PR Code J1N                                                     80033, 50, 55, 56, 58       H7 (94R) AGM   —
2022-20     V8/4.0L      Hybrid, PR Code J2D                                                     68033, 50, 55, 56, 58       H6 (48) AGM    —
Audi TT RS quattro
2022-18     L5/2.5L      PR Code J0B                                                             85033, 50, 55, 56, 58  H8 (49) AGM        —
2022-18     L5/2.5L      PR Code J1N                                                             80033, 50, 55, 56, 58  H7 (94R) AGM —
2013-12     L5/2.5L      PR Code J0R                                                             64050, 54, 55, 56, 58  H7 (94R)           H7 (94R) AGM
2013-12     L5/2.5L      PR Code J1N                                                             80033, 50, 55, 56, 58  H7 (94R) AGM
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 158 for Footnotes. Selection may vary by warehouse.

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      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT           GROUP SIZE       ALTERNATE SIZE
                                                                                                       CCA/RATING                (NOTES)            (NOTES)

   Audi TT, TT quattro
   2022-16     L4/2.0L     PR Code J0B                                                          92 Ah33, 50, 55, 56, 58     H8 (49) AGM
   2022-16     L4/2.0L     PR Code J1U                                                          95 Ah50, 55, 56, 58         —                H8 (49) AGM
   2022-16     L4/2.0L     PR Code J2D                                                          68033, 50, 55, 56, 58       H6 (48) AGM      —
   2022-09     L4/2.0L     PR Code J0R                                                          80050, 55, 56, 58           H7 (94R)         H7 (94R) AGM
   2022-09     L4/2.0L     PR Code J1N                                                          64033, 50, 55, 56, 58       H7 (94R) AGM     —
   2015-14     L4/2.0L     Opt                                                                  64050, 54, 55, 56           H7 (94R)         H7 (94R) AGM
   2015-14     L4/2.0L     Opt                                                                  80033, 50, 54, 55, 56       H7 (94R) AGM     —
   2015-11     L4/2.0L     PR Code J0N                                                          54050, 54, 55, 56           H5 (47)          H5 (47) AGM
   2009-08     V6/3.2L     PR Code J0R                                                          65050, 54, 55, 56, 58       H7 (94R)         H7 (94R) AGM
   2009-08     V6/3.2L     PR Code J1N                                                          80033, 50, 54, 55, 56, 58   H7 (94R) AGM     —
   2006-04     V6/3.2L     PR Code J0R                                                          65050, 54, 55, 56, 58       H7 (94R)         H7 (94R) AGM
   2006-03     L4/1.8L     PR Code J1D, Opt                                                     72 Ah50, 54, 55, 56, 58     —                —
   2006-00     L4/1.8L                                                                          48050, 54                   —                —
   Audi TTS quattro
   2022-16     L4/2.0L     PR Code J0B                                                          92 Ah33, 50, 55, 56, 58     H8 (49) AGM      —
   2022-16     L4/2.0L     PR Code J1U                                                          95 Ah50, 55, 56, 58         —                H8 (49) AGM
   2022-16     L4/2.0L     PR Code J2D                                                          68 Ah33, 50, 55, 56, 58     H6 (48) AGM      —
   2022-09     L4/2.0L     PR Code J0R                                                          80 Ah50, 55, 56, 58         H7 (94R)         H7 (94R) AGM
   2022-09     L4/2.0L     PR Code J1N                                                          75 Ah33, 50, 55, 56, 58     H7 (94R) AGM     —
   2015-11     L4/2.0L     PR Code J0N                                                          61 Ah                       —                —
   Audi V8 quattro
   1994-92 V8/4.2L         32 Valve                                                             72050                       —                —
   1991    V8/3.6L         32 Valve                                                             72050                       —                —
   1990    V8/3.6L         32 Valve                                                             65050                       —
   Avanti Avanti
   2007-05 V8/4.6L                                                                              590                         96R
   Bentley Arnage
   2009-08     V8/6.8L     Left Side Auxiliary Battery                                          75050                       —                —
   2009-08     V8/6.8L     Right Side                                                           70050                       —                —
   2007-00     V8/6.8L                                                                          700                         —                —
   2001-99     V8/4.4L                                                                          700                         —                —
   Bentley Azure
   2010-08     V8/6.8L     Left Side Auxiliary Battery                                          75050                       —                —
   2010-08     V8/6.8L     Right Side                                                           70050                       —                —
   2007-06     V8/6.8L                                                                          700                         —                —
   2003-96     V8/6.8L                                                                          700                         —                —
   Bentley Bentayga
   2020-19 V8/4.0L                                                                              105 Ah50, 55, 56            —                —
   2020-17 W12/6.0L                                                                             105 Ah50, 55, 56            —                —
   2020    V6/3.0L                                                                              105 Ah50, 55, 56            —                —
   Bentley Brooklands
   2009-08 V8/6.8L         Left Side Auxiliary Battery                                          75050                       —                —
   2009-08 V8/6.8L         Right Side                                                           70050                       —                —
   1998-93 V8/6.8L                                                                              700                         —                —
   Bentley Continental
   2014-13     V8/4.0L     Auxiliary – Left Side                                                85050, 54                   —                H8 (49) AGM
   2014-13     V8/4.0L     Primary Battery – Right Side                                         61050, 54                   —                —
   2014-09     W12/6.0L    Auxiliary – Left Side                                                85033, 50, 54               H8 (49) AGM      —
   2013-09     W12/6.0L    Right Side                                                           61054                       —                —
   2008-04     W12/6.0L    Auxiliary – Left Side                                                90033                       H8 (49) AGM      —
   2008-04     W12/6.0L    Right Side                                                           650                         —                H5 (47) AGM
   2003-89     V8/6.8L                                                                          650                         24               —
   2014        W12/6.0L    Primary Battery – Right Side                                         61050, 54                   —                —
   2003        W12/6.0L                                                                         650                         24               —
   Bentley Eight
   1991-90 V8/6.8L                                                                              800                         —                —
   Bentley Flying Spur
   2017-15 V8/4.0L                                                                              610                         —                —
   2017-14 W12/6.0L                                                                             610                         —                —
   Bentley Mulsanne
   2014-11 V8/6.8L         Auxiliary – Left Side                                                85050, 54                   —                H8 (49) AGM
   2014-11 V8/6.8L         Primary Battery – Right Side                                         61050, 54                   —                —
   1992-90 V8/6.8L                                                                              800                         —                —
   Bentley Turbo R
   1998-89 V8/6.8L                                                                              700                         H6 (48)          H6 (48) AGM
   BMW 1 Series M
   2011        L6/3.0L                                                                          76018, 33, 50, 54           H6 (48) AGM      —
   See page 158 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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  YEAR      ENGINE                                        OPTIONS               ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                    CCA/RATING            (NOTES)            (NOTES)

BMW 128i
2013-08   L6/3.0L    Option 1                                                57018, 50, 54           H6 (48)          H6 (48) AGM
2013-08   L6/3.0L    Option 2                                                64018, 50, 54           H7 (94R)         H7 (94R) AGM
2013-08   L6/3.0L    Option 3                                                72018, 50, 54, 56       H8 (49)          H8 (49) AGM
2013-08   L6/3.0L    w/AGM, Option 1                                         85018, 33, 50, 54       H8 (49) AGM      —
2013-08   L6/3.0L    w/AGM, Option 2                                         90018, 33, 50, 54       H8 (49) AGM      —
2013-08   L6/3.0L    w/AGM, Option 3                                         76018, 33, 50, 54       H6 (48) AGM      —
BMW 135, 135is
2013-08   L6/3.0L                                                            57018, 50, 54           H6 (48)          H6 (48) AGM
2013-08   L6/3.0L    Option 1                                                64018, 50, 54           H7 (94R)         H7 (94R) AGM
2013-08   L6/3.0L    Option 2                                                72018, 50, 54, 56       H8 (49)          H8 (49) AGM
2013-08   L6/3.0L    w/AGM, Option 1                                         76018, 33, 50, 54       H6 (48) AGM      —
2013-08   L6/3.0L    w/AGM, Option 2                                         85018, 33, 50, 54, 56   H8 (49) AGM      —
2013-08   L6/3.0L    w/AGM, Option 3                                         90018, 33, 50, 54, 56   H8 (49) AGM      —
BMW 228i
2016-14 L4/2.0L                                                              80033, 50, 54, 55, 56   H7 (94R) AGM     —
2016-14 L4/2.0L      Opt                                                     90033, 50, 54, 55, 56   H8 (49) AGM      —
2015-14 L4/2.0L      Opt                                                     85033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 228i xDrive
2016-15 L4/2.0L                                                              80033, 50, 54, 55, 56   H7 (94R) AGM     —
2016-15 L4/2.0L      Opt                                                     90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 228i xDrive Gran Coupe
2021-20   L4/2.0L                                                            70 Ah33, 50, 55, 56     H6 (48) AGM      —
2021-20   L4/2.0L    Opt                                                     60 Ah33, 50, 55, 56     H5 (47) AGM      —
2021-20   L4/2.0L    Opt                                                     80 Ah33, 50, 55, 56     H7 (94R) AGM     —
2021-20   L4/2.0L    Opt                                                     70 Ah50, 55, 56, 59     —                —
2021-20   L4/2.0L    Opt                                                     80 Ah50, 55, 56, 59     —                —
BMW 230i
2021-17 L4/2.0L                                                              90033, 50, 55, 56       H8 (49) AGM
BMW 230i xDrive
2021-17 L4/2.0L                                                              92 Ah33, 50, 55, 56     H8 (49) AGM
BMW 318i, 318iS, 318Ti
1999-96   L4/1.9L                                                            60050                   —
1997-96   L4/1.9L                                                            60050                   —
1997-96   L4/1.9L                                                            57534, 50               —
1995-91   L4/1.8L                                                            60050                   —
BMW 320i xDrive
2018-16   L4/2.0L    Opt                                                     80033, 50, 54, 55, 56   H7 (94R) AGM     —
2018-13   L4/2.0L                                                            76033, 50, 54, 55, 56   H6 (48) AGM      —
2016-13   L4/2.0L    Opt                                                     90033, 50, 54, 55, 56   H8 (49) AGM      —
2015-13   L4/2.0L                                                            80018, 33, 50, 54, 56   H7 (94R) AGM     —
2015-13   L4/2.0L    Auxiliary Battery                                       40 Ah45                 —
2015-13   L4/2.0L    Opt                                                     85018, 33, 50, 54, 56   H8 (49) AGM      —
BMW 320i, 320Xi
2018-16   L4/2.0L    Opt                                                     80033, 50, 54, 55, 56   H7 (94R) AGM     —
2018-12   L4/2.0L                                                            76033, 50, 54, 55, 56   H6 (48) AGM      —
2016-12   L4/2.0L    Opt                                                     90033, 50, 54, 55, 56   H8 (49) AGM      —
2015-12   L4/2.0L    Auxiliary Battery                                       40 Ah45                 —
2005-01   L6/2.2L                                                            57018, 50               H6 (48)          H6 (48) AGM
2005-01   L6/2.2L    Opt                                                     64018, 50, 54, 56       H7 (94R)         H7 (94R) AGM
BMW 323i, 323iS, 323Ci
2011-06   L6/2.5L    Option 1                                                64018, 50               H7 (94R)         H7 (94R) AGM
2011-06   L6/2.5L    w/AGM, Option 1                                         76018, 33, 50, 54       H6 (48) AGM      —
2011-06   L6/2.5L    w/AGM, Option 2                                         85018, 33, 50, 54, 56   H8 (49) AGM      —
2011-06   L6/2.5L    w/AGM, Option 3                                         90018, 33, 50, 54, 56   H8 (49) AGM      —
2011-06   L6/2.5L    w/o AGM, Option 1                                       57018, 50               H6 (48)          H6 (48) AGM
2011-06   L6/2.5L    w/o AGM, Option 2                                       72018, 50, 54, 56       H8 (49)          H8 (49) AGM
2000-99   L6/2.5L                                                            76518, 50               H7 (94R)         H7 (94R) AGM
2000      L6/2.5L    Convertible                                             64018, 50, 54, 56       H7 (94R)         H7 (94R) AGM
2000      L6/2.5L    Ex Conv                                                 75018, 33, 50, 54       H6 (48) AGM      —
1998      L6/2.5L                                                            60050                   —
1998      L6/2.5L                                                            57534, 50               —
BMW 325 Series
2006-03   L6/2.5L    325Ci SULEV w/AGM, Option 2                             85018, 33, 50           H8 (49) AGM      —
2006-03   L6/2.5L    SULEV w/AGM, Option 1                                   90018, 33, 50           H8 (49) AGM      —
2006-01   L6/2.5L    Ex SULEV                                                64018, 50, 54           H7 (94R)         H7 (94R) AGM
2005-04   L6/2.5L    w/M54 Eng                                               64018, 50, 54           H7 (94R)         H7 (94R) AGM
2005-04   L6/2.5L    w/M54 Eng, Option 1                                     57018, 50, 54           H6 (48)          H6 (48) AGM
2005-04   L6/2.5L    w/M54 or N52 Eng w/o AGM, Option 2                      64018, 50, 54           H7 (94R)         H7 (94R) AGM
2005-04   L6/2.5L    w/N52 Eng & AGM, Option 1                               76018, 33, 50, 54       H6 (48) AGM      —
2005-04   L6/2.5L    w/N52 Eng & AGM, Option 2                               85018, 33, 50           H8 (49) AGM      —
                                                                            See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                  27
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT      GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING           (NOTES)            (NOTES)

   BMW 325 Series (continued)
   2005-04     L6/2.5L     w/N52 Eng & AGM, Option 3                        90018, 33, 50           H8 (49) AGM     —
   2005-04     L6/2.5L     w/N52 Eng Opt                                    64018, 50, 54           H7 (94R)        H7 (94R) AGM
   2005-04     L6/2.5L     w/N52 Eng w/o AGM                                57018, 50, 54           H6 (48)         H6 (48) AGM
   2005-04     L6/2.5L     w/N52 Eng w/o AGM Option 3                       72018, 50, 54           H8 (49)         H8 (49) AGM
   2005-04     L6/2.5L     w/N52 or M54 Eng w/o AGM, Option 1               57018, 50, 54           H6 (48)         H6 (48) AGM
   2003-02     L6/2.5L     325i SULEV w/AGM, Option 1                       85018, 33, 50           H8 (49) AGM     —
   2003-02     L6/2.5L     Ex SULEV, Option 1                               57018, 50, 54           H6 (48)         H6 (48) AGM
   2003-02     L6/2.5L     Ex SULEV, Option 2                               64018, 50, 54           H7 (94R)        H7 (94R) AGM
   2003-02     L6/2.5L     SULEV w/AGM, Option 2                            90018, 33, 50           H8 (49) AGM     —
   2003-01     L6/2.5L                                                      57018, 50, 54, 56       H6 (48)         H6 (48) AGM
   2003-01     L6/2.5L     Opt                                              64018, 50, 54, 56       H7 (94R)        H7 (94R) AGM
   1995-92     L6/2.5L                                                      57534                   —
   1995-92     L6/2.5L                                                      65050                   —
   1995-92     L6/2.5L                                                      65050                   —
   1991-90     L6/2.5L                                                      600                     —
   2006        L6/3.0L     w/AGM, Option 1                                  76018, 33, 50, 54       H6 (48) AGM     —
   2006        L6/3.0L     w/AGM, Option 2                                  90018, 33, 50, 56       H8 (49) AGM     —
   2006        L6/3.0L     w/AGM, Option 3                                  85018, 33, 50, 56       H8 (49) AGM     —
   2006        L6/3.0L     w/o AGM, Option 1                                57018, 50, 54           H6 (48)         H6 (48) AGM
   2006        L6/3.0L     w/o AGM, Option 2                                72018, 50, 54, 56       H8 (49)         H8 (49) AGM
   2006        L6/3.0L     w/o AGM, Option 3                                64018, 50, 54           H7 (94R)        H7 (94R) AGM
   2001        L6/2.5L                                                      64018, 50, 54           H7 (94R)        H7 (94R) AGM
   2001        L6/2.5L     Opt                                              57018, 50, 54, 56       H6 (48)         H6 (48) AGM
   BMW 328 Series
   2018-16     L4/2.0L     Dsl, Opt                                         80033, 50, 54, 55, 56   H7 (94R) AGM    —
   2018-14     L4/2.0L     Dsl                                              76033, 50, 54, 55, 56   H6 (48) AGM     —
   2016-15     L4/2.0L                                                      80033, 50, 54, 55, 56   H7 (94R) AGM    —
   2016-15     L4/2.0L     Opt                                              90033, 50, 54, 55, 56   H8 (49) AGM     —
   2016-14     L4/2.0L                                                      90033, 50, 54, 55, 56   H8 (49) AGM     —
   2016-14     L4/2.0L     Dsl, Opt                                         90033, 50, 54, 55, 56   H8 (49) AGM     —
   2015-14     L4/2.0L     Auxiliary, Dsl                                   40 Ah45                 —
   2015-12     L4/2.0L     Auxiliary Battery                                40 Ah45                 —
   2014-13     L4/2.0L                                                      80018, 33, 50, 54, 56   H7 (94R) AGM    —
   2014-12     L4/2.0L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM     —
   2012-09     L6/3.0L     AGM, Option 3                                    90018, 33, 50, 54, 56   H8 (49) AGM     —
   2012-09     L6/3.0L     w/o AGM, Option 3                                64018, 50, 54, 56       H7 (94R)        H7 (94R) AGM
   2012-07     L6/3.0L     AGM, Option 2                                    85018, 33, 50, 54, 56   H8 (49) AGM     —
   2012-07     L6/3.0L     w/AGM, Option 1                                  76018, 33, 50, 54       H6 (48) AGM     —
   2012-07     L6/3.0L     w/AGM, Option 2                                  85018, 33, 50, 54, 56   H8 (49) AGM     —
   2012-07     L6/3.0L     w/AGM, Option 3                                  90018, 33, 50, 54, 56   H8 (49) AGM     —
   2012-07     L6/3.0L     w/o AGM, Option 1                                57018, 50, 54           H6 (48)         H6 (48) AGM
   2012-07     L6/3.0L     w/o AGM, Option 2                                72018, 50, 54           H8 (49)         H8 (49) AGM
   2008-07     L6/3.0L     AGM, Option 3                                    90018, 33, 50, 54       H8 (49) AGM     —
   2008-07     L6/3.0L     w/o AGM, Option 3                                64018, 50, 54           H7 (94R)        H7 (94R) AGM
   1999-96     L6/2.8L     Convertible                                      575                     —
   1998-96     L6/2.8L                                                      650                     —
   1998-96     L6/2.8L     Ex Conv                                          650                     —
   2018        L4/2.0L     Dsl, Opt                                         90033, 50, 54, 55, 56   —               —
   2015        L4/2.0L     Opt                                              85033, 50, 54, 55, 56   H8 (49) AGM     —
   2014        L4/2.0L     Option 1                                         85018, 33, 50, 54, 56   H8 (49) AGM     —
   2014        L4/2.0L     Option 2                                         80018, 33, 50, 54, 56   H7 (94R) AGM    —
   2013        L6/3.0L                                                      57018, 50, 54, 56       H6 (48)         H6 (48) AGM
   2013        L6/3.0L     Opt                                              76018, 33, 50, 54, 56   H6 (48) AGM     —
   2013        L6/3.0L     Opt                                              72018, 50, 54, 56       H8 (49)         H8 (49) AGM
   2013        L6/3.0L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM     —
   2013        L6/3.0L     Opt                                              90018, 33, 50, 54, 56   H8 (49) AGM     —
   2013        L6/3.0L     Opt                                              64018, 50, 54, 56       H7 (94R)        H7 (94R) AGM
   2012        L4/2.0L                                                      80018, 33, 50, 54       H7 (94R) AGM    —
   2000        L6/2.8L                                                      75018, 50, 54           —               —
   2000        L6/2.8L     Opt                                              76518, 50               H7 (94R)        H7 (94R) AGM
   1999        L6/2.8L                                                      76518, 50               H7 (94R)        H7 (94R) AGM
   BMW 330Ci, 330i, 330xi
   2018-17     L4/2.0L                                                      76033, 50, 54, 55, 56   H6 (48) AGM     —
   2018-17     L4/2.0L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM    —
   2005-02     L6/3.0L                                                      64018, 50, 54           H7 (94R)        H7 (94R) AGM
   2006        L6/3.0L                                                      57018, 50, 54           H6 (48)         H6 (48) AGM
   2001        L6/3.0L                                                      76550                   H7 (94R)        H7 (94R) AGM
   BMW 330e
   2018-16     L4/2.0L                                                      76033, 50, 54, 55, 56   H6 (48) AGM     —
   2018-16     L4/2.0L     Opt                                              90033, 50, 54, 55, 56   H8 (49) AGM     —
   2018-16     L4/2.0L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM    —
   2021        L4/2.0L     Hybrid                                           80 Ah33, 50, 55, 56     H7 (94R) AGM    —
   See page 158 for Footnotes. Selection may vary by warehouse.

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28                                                 Automotive/Light Truck
  YEAR      ENGINE                       OPTIONS                ORIGINAL EQUIPMENT      GROUP SIZE        ALTERNATE SIZE
                                                                    CCA/RATING           (NOTES)             (NOTES)

BMW 330e (continued)
2021      L4/2.0L    Hybrid, Optional                        60 Ah33, 50, 55, 56     H5 (47) AGM      —
2021      L4/2.0L    Hybrid, Optional                        92 Ah33, 50, 55, 56     H8 (49) AGM
2021      L4/2.0L    Hybrid, Optional                        90 Ah33, 50, 55, 56     H8 (49) AGM
2021      L4/2.0L    Hybrid, Opt                             105 Ah33, 50, 55, 56    —                —
BMW 330e xDrive
2021      L4/2.0L    Hybrid                                  80 Ah33, 50, 55, 56     H7 (94R) AGM     —
2021      L4/2.0L    Hybrid, Optional                        60 Ah33, 50, 55, 56     H5 (47) AGM      —
2021      L4/2.0L    Hybrid, Optional                        92 Ah33, 50, 55, 56     H8 (49) AGM
2021      L4/2.0L    Hybrid, Optional                        90 Ah33, 50, 55, 56     H8 (49) AGM
2021      L4/2.0L    Hybrid, Opt                             105 Ah33, 50, 55, 56    —                —
BMW 330i
2021-19   L4/2.0L    Opt                                     105 Ah33, 50, 55, 56    —                —
2021-17   L4/2.0L                                            70 Ah33, 50, 55, 56     H6 (48) AGM      —
2021-17   L4/2.0L    Opt                                     92 Ah33, 50, 55, 56     H8 (49) AGM
2021-17   L4/2.0L    Opt                                     90 Ah33, 50, 55, 56     H8 (49) AGM
2021-17   L4/2.0L    Opt                                     80 Ah33, 50, 55, 56     H7 (94R) AGM     —
2006-02   L6/3.0L                                            64018, 50, 54, 56       H7 (94R)         H7 (94R) AGM
2006      L6/3.0L                                            57018, 50, 54, 56       H6 (48)          H6 (48) AGM
BMW 330i GT xDrive
2018-17 L4/2.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 330i xDrive
2021-20   L4/2.0L                                            80 Ah33, 50, 55, 56     H7 (94R) AGM     —
2021-19   L4/2.0L    Opt                                     105 Ah33, 50, 55, 56    —                —
2021-17   L4/2.0L    Opt                                     92 Ah33, 50, 55, 56     H8 (49) AGM
2021-17   L4/2.0L    Opt                                     90 Ah33, 50, 55, 56     H8 (49) AGM
2019-17   L4/2.0L                                            76033, 50, 54, 55, 56   H6 (48) AGM      —
2019-17   L4/2.0L    Opt                                     80033, 50, 54, 55, 56   H7 (94R) AGM     —
BMW 335 Series
2019-17   L6/3.0L                                            90033, 50, 54, 55, 56   H8 (49) AGM      —
2015-14   L6/3.0L    Auxiliary Battery                       40 Ah45                 —
2014-13   L6/3.0L    Option 1                                85018, 33, 50, 54, 56   H8 (49) AGM      —
2013-07   L6/3.0L    w/AGM, Option 1                         76018, 33, 50, 54       H6 (48) AGM      —
2013-07   L6/3.0L    w/AGM, Option 2                         85018, 33, 50, 54, 56   H8 (49) AGM      —
2013-07   L6/3.0L    w/AGM, Option 3                         90018, 33, 50, 54, 56   H8 (49) AGM      —
2013-07   L6/3.0L    w/o AGM, Option 1                       72018, 50, 54, 56       H8 (49)          H8 (49) AGM
2013-07   L6/3.0L    w/o AGM, Option 2                       64018, 50, 54           H7 (94R)         H7 (94R) AGM
2013-07   L6/3.0L    w/o AGM, Option 3                       57018, 50, 54           H6 (48)          H6 (48) AGM
2015      L6/3.0L                                            80033, 50, 54, 55, 56   H7 (94R) AGM     —
2015      L6/3.0L    Opt                                     85033, 50, 54, 55, 56   H8 (49) AGM      —
2014      L6/3.0L                                            80018, 33, 50, 54, 56   H7 (94R) AGM     —
2014      L6/3.0L    Opt                                     85018, 33, 50, 54, 56   H8 (49) AGM      —
2014      L6/3.0L    Option 2                                80018, 33, 50, 54, 56   H7 (94R) AGM     —
2013      L6/3.0L                                            57018, 50, 54, 56       H6 (48)          H6 (48) AGM
2013      L6/3.0L    Opt                                     76018, 33, 50, 54, 56   H6 (48) AGM      —
2013      L6/3.0L    Opt                                     72018, 50, 54, 56       H8 (49)          H8 (49) AGM
2013      L6/3.0L    Opt                                     64018, 50, 54, 56       H7 (94R)         H7 (94R) AGM
2013      L6/3.0L    Option 2                                90018, 33, 50, 54, 56   H8 (49) AGM      —
BMW 340i
2018-16 L6/3.0L                                              76033, 50, 54, 55, 56   H6 (48) AGM      —
2018-16 L6/3.0L      Opt                                     80033, 50, 54, 55, 56   H7 (94R) AGM     —
2016    L6/3.0L      Opt                                     90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 340i GT xDrive
2018-17 L6/3.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 340i xDrive
2018-16 L6/3.0L                                              76033, 50, 54, 55, 56   H6 (48) AGM      —
2018-16 L6/3.0L      Opt                                     80033, 50, 54, 55, 56   H7 (94R) AGM     —
2016    L6/3.0L      Opt                                     90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 428i
2016-14 L4/2.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 428i xDrive
2015-14 L4/2.0L      Convertible                             90033, 50, 54, 55, 56   H8 (49) AGM      —
2015-14 L4/2.0L      Coupe                                   85033, 50, 54, 55, 56   H8 (49) AGM      —
2016    L4/2.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 428i xDrive Gran Coupe
2016-15 L4/2.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 430i
2020-17 L4/2.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 430i Gran Coupe
2020-17 L4/2.0L                                              90033, 50, 54, 55, 56   H8 (49) AGM      —
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                  29
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT      GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING           (NOTES)            (NOTES)

   BMW 430i xDrive
   2020-17 L4/2.0L                                                          90033, 50, 54, 55, 56   H8 (49) AGM     —
   BMW 430i xDrive Gran Coupe
   2018-17 L4/2.0L                                                          90033, 50, 54, 55, 56   H8 (49) AGM     —
   BMW 435i
   2015-14     L6/3.0L     Convertible                                      90033, 50, 54, 55, 56   H8 (49) AGM     —
   2016        L6/3.0L                                                      90033, 50, 54, 55, 56   H8 (49) AGM     —
   2015        L6/3.0L     Coupe                                            85033, 50, 54, 55, 56   H8 (49) AGM     —
   2014        L6/3.0L                                                      85018, 33, 50, 54, 56   H8 (49) AGM     —
   BMW 435i Gran Coupe
   2016-15 L6/3.0L                                                          90033, 50, 54, 55, 56   H8 (49) AGM     —
   BMW 435i xDrive
   2016        L6/3.0L                                                      90033, 50, 54, 55, 56   H8 (49) AGM     —
   2015        L6/3.0L     Convertible                                      90033, 50, 54, 55, 56   H8 (49) AGM     —
   2015        L6/3.0L     Coupe                                            85033, 50, 54, 55, 56   H8 (49) AGM     —
   2014        L6/3.0L                                                      85018, 33, 50, 54, 56   H8 (49) AGM     —
   BMW 435i xDrive Gran Coupe
   2016-15 L6/3.0L                                                          90033, 50, 54, 55, 56   H8 (49) AGM     —
   BMW 440i
   2020-17 L6/3.0L                                                          90033, 50, 54, 55, 56   H8 (49) AGM     —
   BMW 440i Gran Coupe
   2020-17 L6/3.0L                                                          90033, 50, 54, 55, 56   H8 (49) AGM     —
   BMW 440i xDrive
   2020-17 L6/3.0L                                                          90033, 50, 54, 55, 56   H8 (49) AGM     —
   BMW 440i xDrive Gran Coupe
   2020-17 L6/3.0L                                                          90033, 50, 54, 55, 56   H8 (49) AGM     —
   BMW 525 Series
   2007-06     L6/3.0L     Option 1                                         72018, 50, 54           H8 (49)         H8 (49) AGM
   2007-06     L6/3.0L     Option 2                                         85018, 50, 54           —               H9 (95R) AGM
   2007-06     L6/3.0L     Option 3                                         64018, 50, 54           H7 (94R)        H7 (94R) AGM
   2005-02     L6/2.5L     Option 3                                         64018, 50, 54           H7 (94R)        H7 (94R) AGM
   2004-02     L6/2.5L     Option 1                                         72018, 50, 54           H8 (49)         H8 (49) AGM
   2004-02     L6/2.5L     Option 2                                         85018, 50, 54           —               H9 (95R) AGM
   1995-93     L6/2.5L                                                      80050                   —
   1995-91     L6/2.5L                                                      65050                   —
   2005        L6/2.5L     Opt                                              90018, 50               —               H8 (49) AGM
   2001        L6/2.5L                                                      76050                   —               H8 (49) AGM
   1993        L6/2.5L     Opt                                              80050                   —
   1993        L6/2.5L     Opt                                              80050                   —
   BMW 528 Series
   2016-15     L4/2.0L                                                      85033, 50, 54, 55, 56   H8 (49) AGM     —
   2015-14     L4/2.0L     Opt                                              95033, 50, 54, 55, 56   H9 (95R) AGM    —
   2013-12     L4/2.0L     w/AGM, Option 1                                  85018, 33, 50, 54       H8 (49) AGM     —
   2013-12     L4/2.0L     w/AGM, Option 2                                  90018, 33, 50, 54, 56   H8 (49) AGM     —
   2013-12     L4/2.0L     w/AGM, Option 3                                  80018, 33, 50, 54       H7 (94R) AGM    —
   2013-12     L4/2.0L     w/o AGM                                          95018, 50, 54           —               H9 (95R) AGM
   2011-10     L6/3.0L     w/AGM, Option 1                                  85018, 33, 50, 54       H8 (49) AGM     —
   2011-10     L6/3.0L     w/AGM, Option 2                                  90018, 33, 50, 54, 56   H8 (49) AGM     —
   2011-10     L6/3.0L     w/AGM, Option 3                                  80018, 33, 50, 54       H7 (94R) AGM    —
   2011-10     L6/3.0L     w/o AGM                                          95018, 50, 54           —               H9 (95R) AGM
   2009-08     L6/3.0L     w/AGM                                            85018, 33, 50, 54, 56   H8 (49) AGM     —
   2009-08     L6/3.0L     w/o AGM, Option 1                                72018, 50, 54           H8 (49)         H8 (49) AGM
   2009-08     L6/3.0L     w/o AGM, Option 2                                64018, 50, 54           H7 (94R)        H7 (94R) AGM
   2009-08     L6/3.0L     w/o AGM, Option 3                                85018, 50, 54, 56       —               H9 (95R) AGM
   2000-97     L6/2.8L                                                      76050                   —               H8 (49) AGM
   2014        L4/2.0L                                                      85018, 33, 50, 54, 56   H8 (49) AGM     —
   2014        L4/2.0L     Opt                                              90018, 33, 50, 54, 56   H8 (49) AGM     —
   BMW 530 Series
   2018-17     L4/2.0L                                                      68033, 50, 54, 55, 56   —               —
   2018-17     L4/2.0L     Auxiliary Battery                                12 Ah33, 45, 50         —
   2018-17     L4/2.0L     Opt                                              76033, 50, 54, 55, 56   H6 (48) AGM     —
   2018-17     L4/2.0L     Opt                                              90033, 50, 54, 55, 56   H8 (49) AGM     —
   2018-17     L4/2.0L     Opt                                              95033, 50, 54, 55, 56   H9 (95R) AGM    —
   2007-02     L6/3.0L     Option 2                                         64018, 50, 54           H7 (94R)        H7 (94R) AGM
   2007-02     L6/3.0L     Option 3                                         85018, 50, 54, 56       —               H9 (95R) AGM
   2007-02     L6/3.0L     w/AGM                                            85018, 33, 50, 54, 56   H8 (49) AGM     —
   2007-01     L6/3.0L     Option 1                                         72018, 50, 54           H8 (49)         H8 (49) AGM
   1995-94     V8/3.0L                                                      80050                   —
   BMW 530e
   2021-18 L4/2.0L         Hybrid                                           90033, 50, 55, 56       H8 (49) AGM
   See page 158 for Footnotes. Selection may vary by warehouse.

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30                                                             Automotive/Light Truck
  YEAR      ENGINE                                   OPTIONS               ORIGINAL EQUIPMENT      GROUP SIZE        ALTERNATE SIZE
                                                                               CCA/RATING           (NOTES)             (NOTES)

BMW 530e (continued)
2021-18 L4/2.0L      Hybrid, Optional                                   60 Ah33, 50, 55, 56     H5 (47) AGM      —
2021-18 L4/2.0L      Hybrid, Optional                                   105 Ah33, 50, 55, 56    —                —
2020-18 L4/2.0L      Hybrid, Auxiliary                                  12 Ah33, 50, 55, 56     —                —
BMW 530e xDrive
2021-18   L4/2.0L    Hybrid                                             92 Ah33, 50, 55, 56     H8 (49) AGM
2021-18   L4/2.0L    Hybrid, Optional                                   60 Ah33, 50, 55, 56     H5 (47) AGM      —
2021-18   L4/2.0L    Hybrid, Optional                                   105 Ah33, 50, 55, 56    —                —
2021-18   L4/2.0L    Hybrid, Auxiliary Li-ion Only                      10 Ah33, 50, 55, 56     —                —
2018      L4/2.0L    Hybrid                                             90033, 50, 54, 55, 56   H8 (49) AGM      —
2018      L4/2.0L    Hybrid, Auxiliary                                  12 Ah33, 50, 55, 56     —                —
BMW 530i
2021-17   L4/2.0L                                                       10518, 50, 54, 55, 56   —                —
2021-17   L4/2.0L                                                       92 Ah33, 50, 55, 56     H8 (49) AGM
2021-17   L4/2.0L    Opt                                                95033, 50, 54, 55, 56   H9 (95R) AGM     —
2021-17   L4/2.0L    Opt                                                50 Ah33, 50, 55, 56     —                —
2021-17   L4/2.0L    Auxiliary Li-ion Only                              10 Ah45, 56, 59         —                —
2020-18   L4/2.0L                                                       6018, 33, 50, 56        H5 (47) AGM      —
2020-17   L4/2.0L                                                       1218, 50, 56            —                —
2007-03   L6/3.0L                                                       72018, 50, 54, 55, 56   H8 (49)          H8 (49) AGM
2007-03   L6/3.0L                                                       85018, 33, 50, 56       H8 (49) AGM      —
2007-03   L6/3.0L                                                       64018, 50, 54, 55, 56   H7 (94R)         H7 (94R) AGM
2007-03   L6/3.0L                                                       85018, 50, 54, 55, 56   —                H9 (95R) AGM
2017      L4/2.0L                                                       5018, 33, 50, 55, 56    H5 (47) AGM      —
BMW 530i xDrive
2021-17   L4/2.0L    Opt                                                105 Ah33, 50, 55, 56    —                —
2021-17   L4/2.0L                                                       92 Ah33, 50, 55, 56     H8 (49) AGM
2021-17   L4/2.0L    Opt                                                50 Ah33, 50, 55, 56     —                —
2021-17   L4/2.0L    Auxiliary Li-ion Only                              10 Ah45, 56, 59         —                —
2020-17   L4/2.0L                                                       68033, 50, 54, 55, 56   —                —
2018-17   L4/2.0L    Auxiliary Battery                                  12 Ah33, 45, 50         —
2018-17   L4/2.0L    Opt                                                76033, 50, 54, 55, 56   H6 (48) AGM      —
2018-17   L4/2.0L    Opt                                                90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW 530Xi
2007-06   L6/3.0L                                                       72018, 50, 54, 56       H8 (49)          H8 (49) AGM
2007-06   L6/3.0L    Opt                                                85033, 50, 54, 55, 56   H8 (49) AGM
2007-06   L6/3.0L    Opt                                                64018, 50, 54, 56       H7 (94R)         H7 (94R) AGM
2007-06   L6/3.0L    Opt                                                85018, 50, 54, 56                        H9 (95R) AGM
BMW 535 Series
2017-15   L6/3.0L                                                       85033, 50, 54, 55, 56   H8 (49) AGM      —
2015-14   L6/3.0L    Opt                                                95033, 50, 54, 55, 56   H9 (95R) AGM     —
2013-11   L6/3.0L    w/AGM, Option 3                                    80018, 33, 50, 54       H7 (94R) AGM     —
2013-11   L6/3.0L    w/o AGM                                            95018, 50, 54           —                H9 (95R) AGM
2013-10   L6/3.0L    w/AGM, Option 1                                    90018, 33, 50, 54, 56   H8 (49) AGM      —
2013-08   L6/3.0L    w/AGM, Option 2                                    85018, 33, 50, 54, 56   H8 (49) AGM      —
2010-08   L6/3.0L    w/o AGM, Option 1                                  72018, 50, 54           H8 (49)          H8 (49) AGM
2010-08   L6/3.0L    w/o AGM, Option 2                                  64018, 50, 54           H7 (94R)         H7 (94R) AGM
2010-08   L6/3.0L    w/o AGM, Option 3                                  85018, 50, 54, 56       —                H9 (95R) AGM
1993-90   L6/3.5L                                                       80050                   —
2014      L6/3.0L                                                       85018, 33, 50, 54, 56   H8 (49) AGM      —
2014      L6/3.0L    Option 1                                           85018, 33, 50, 54, 56   H8 (49) AGM      —
2014      L6/3.0L    Option 2                                           90018, 33, 50, 54, 56   H8 (49) AGM      —
BMW 540i
2021-17   L6/3.0L                                                       90033, 50, 55, 56       H8 (49) AGM
2021-17   L6/3.0L    Opt                                                95033, 50, 55, 56       —                —
2021-17   L6/3.0L    Auxiliary Li-ion Only                              10 Ah45, 56, 59         —                —
2018-17   L6/3.0L                                                       68033, 50, 54, 55, 56   —                —
2018-17   L6/3.0L    Auxiliary Battery                                  12 Ah33, 45, 50         —
2018-17   L6/3.0L    Opt                                                76033, 50, 54, 55, 56   H6 (48) AGM      —
2003-02   V8/4.4L                                                       72018, 50               H8 (49)          H8 (49) AGM
2001-97   V8/4.4L                                                       76050                   —                H8 (49) AGM
1995-94   V8/4.0L                                                       80050                   —
2003      V8/4.4L    w/AGM                                              90018, 33, 50           H8 (49) AGM      —
BMW 540i xDrive
2021-17   L6/3.0L                                                       90033, 50, 55, 56       H8 (49) AGM
2021-17   L6/3.0L    Opt                                                50 Ah33, 50, 55, 56     —                —
2021-17   L6/3.0L    Opt                                                95033, 50, 55, 56       —                —
2021-17   L6/3.0L    Auxiliary Li-ion Only                              10 Ah45, 56, 59         —                —
2020-17   L6/3.0L                                                       68033, 50, 54, 55, 56   —                —
2020-17   L6/3.0L    Auxiliary Battery                                  12 Ah33, 45, 50         —
                                                                       See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   31
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING            (NOTES)            (NOTES)

   BMW 545i
   2005-04     V8/4.4L     Opt                                              72050, 54, 55, 56       H8 (49)          H8 (49) AGM
   2005-04     V8/4.4L     Opt                                              85033, 50, 54, 55, 56   H8 (49) AGM      —
   2005        V8/4.4L                                                      64018, 50               H7 (94R)         H7 (94R) AGM
   2005        V8/4.4L                                                      85050, 54, 55, 56       —                H9 (95R) AGM
   2004        V8/4.4L                                                      85018, 50               —                H9 (95R) AGM
   2004        V8/4.4L     Opt                                              64050, 54, 55, 56       H7 (94R)         H7 (94R) AGM
   BMW 550 Series
   2017-15     V8/4.4L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2015-14     V8/4.4L     Opt                                              95033, 50, 54, 55, 56   H9 (95R) AGM     —
   2014-13     V8/4.4L                                                      90018, 33, 50, 54, 56   H8 (49) AGM      —
   2014-10     V8/4.4L                                                      90018, 33, 54           H8 (49) AGM      —
   2014-10     V8/4.4L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   2013-11     V8/4.4L     w/AGM, Option 1                                  90018, 33, 50, 54       H8 (49) AGM      —
   2013-11     V8/4.4L     w/AGM, Option 2                                  85018, 33, 50, 54       H8 (49) AGM      —
   2013-11     V8/4.4L     w/o AGM                                          95018, 50, 54           —                H9 (95R) AGM
   2010-06     V8/4.8L     w/o AGM, Option 1                                72018, 50, 54           H8 (49)          H8 (49) AGM
   2010-06     V8/4.8L     w/o AGM, Option 2                                85018, 50, 56           —                H8 (49) AGM
   2010-06     V8/4.8L     w/o AGM, Option 3                                64018, 50, 54           H7 (94R)         H7 (94R) AGM
   2010-06     V8/4.8L     w/o AGM, Option 4                                85018, 50, 54, 56       —                H9 (95R) AGM
   2014        V8/4.4L                                                      85018, 33, 50, 54, 56   H8 (49) AGM      —
   BMW 640 Series
   2018-16     L6/3.0L                                                      95033, 50, 54, 55, 56   H9 (95R) AGM     —
   2015-13     L6/3.0L     Opt                                              95033, 50, 54, 55, 56   H9 (95R) AGM     —
   2015-12     L6/3.0L     Auxiliary Battery                                20033, 50, 54           —
   2014-13     L6/3.0L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   2015        L6/3.0L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2014        L6/3.0L                                                      90018, 33, 54           H8 (49) AGM      —
   2013        L6/3.0L     Opt                                              90018, 33, 54           H8 (49) AGM      —
   2012        L6/3.0L     w/AGM, Option 1                                  90018, 33, 50, 54       H8 (49) AGM      —
   2012        L6/3.0L     w/AGM, Option 2                                  85018, 33, 50, 54, 56   H8 (49) AGM      —
   2012        L6/3.0L     w/o AGM                                          95018, 50, 54           —                H9 (95R) AGM
   BMW 640i xDrive Gran Turismo
   2018        L6/3.0L                                                      90033, 50, 54, 55, 56   H8 (49) AGM      —
   2018        L6/3.0L     Auxiliary, w/Executive Drive                     60 Ah33, 50, 55, 56     H5 (47) AGM
   BMW 645Ci
   2005-04 V8/4.4L                                                          85018, 50               —                H9 (95R) AGM
   BMW 650 Series
   2019-16     V8/4.4L                                                      95033, 50, 54, 55, 56   H9 (95R) AGM     —
   2015-13     V8/4.4L     Opt                                              95033, 50, 54, 55, 56   H9 (95R) AGM     —
   2015-12     V8/4.4L                                                      85018, 33, 54           H8 (49) AGM      —
   2010-06     V8/4.8L     w/AGM, Option 1                                  90018, 33, 50, 54       H8 (49) AGM      —
   2010-06     V8/4.8L     w/AGM, Option 2                                  85018, 33, 50, 54, 56   H8 (49) AGM      —
   2007-06     V8/4.8L     w/o AGM                                          85018, 50, 54, 56       —                H9 (95R) AGM
   2014        V8/4.4L                                                      90018, 33, 54           H8 (49) AGM      —
   2014        V8/4.4L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   2012        V8/4.4L     w/AGM                                            90018, 33, 50, 54       H8 (49) AGM      —
   2012        V8/4.4L     w/o AGM                                          95018, 50, 54           —                H9 (95R) AGM
   BMW 740 Series
   2018-17     L6/3.0L     Auxiliary, w/Executive Drive                     60 Ah33, 50, 55, 56     H5 (47) AGM
   2017-16     L6/3.0L                                                      68033, 50, 54, 55, 56   —                —
   2014-11     L6/3.0L                                                      90018, 33, 54           H8 (49) AGM      —
   2014-11     L6/3.0L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   2000-96     V8/4.4L                                                      95018, 50               —                H9 (95R) AGM
   1994-93     V8/4.0L                                                      80050                   —
   2018        L6/3.0L                                                      90033, 50, 54, 55, 56   H8 (49) AGM      —
   2016        L6/3.0L     Auxiliary Battery                                12 Ah33, 45, 50         —
   2015        L6/3.0L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2001        V8/4.4L                                                      85018, 50               —                H9 (95R) AGM
   1995        V8/4.0L                                                      95050                   —                H9 (95R) AGM
   BMW 740e xDrive
   2019-18 L4/2.0L         Hybrid                                           60033, 50, 54, 55, 56   H8 (49) AGM      —
   2019-17 L4/2.0L         Hybrid, Auxiliary                                60 Ah33, 50, 55, 56     H5 (47) AGM
   BMW 740i
   2021-20     L6/3.0L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM
   2021-20     L6/3.0L     Opt                                              105 Ah33, 50, 55, 56    —                —
   2021-17     L6/3.0L     Auxiliary                                        12 Ah33, 50, 55, 56     —                —
   2021-17     L6/3.0L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2021-17     L6/3.0L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —                —
   BMW 740i xDrive
   2021-20 L6/3.0L                                                          92 Ah33, 50, 55, 56     H8 (49) AGM
   See page 158 for Footnotes. Selection may vary by warehouse.

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32                                                             Automotive/Light Truck
  YEAR      ENGINE                                   OPTIONS                ORIGINAL EQUIPMENT      GROUP SIZE       ALTERNATE SIZE
                                                                                CCA/RATING           (NOTES)            (NOTES)

BMW 740i xDrive (continued)
2021-20   L6/3.0L    Opt                                                105 Ah33, 50, 55, 56     —               —
2021-17   L6/3.0L    Opt                                                60 Ah33, 50, 55, 56      H5 (47) AGM     —
2021-17   L6/3.0L    Auxiliary Li-ion Only                              10 Ah45, 56, 59          —               —
2019-17   L6/3.0L                                                       105 Ah33, 50, 55, 56     —               —
2019-17   L6/3.0L    Opt                                                90033, 50, 54, 55, 56    H8 (49) AGM     —
2019-17   L6/3.0L    Auxiliary                                          12 Ah33, 50, 55, 56      —
BMW 740Ld xDrive
2015      L6/3.0L                                                       85033, 50, 54, 55, 56    H8 (49) AGM     —
BMW 745e xDrive
2021-20   L6/3.0L    Opt                                                105 Ah33, 50, 55, 56     —               —
2021-20   L6/3.0L                                                       92 Ah33, 50, 55, 56      H8 (49) AGM
2021-20   L6/3.0L    Auxiliary                                          12 Ah33, 50, 55, 56      —               —
2021-20   L6/3.0L    Opt                                                60 Ah33, 50, 55, 56      H5 (47) AGM     —
2021-20   L6/3.0L    Auxiliary Li-ion Only                              10 Ah45, 56, 59          —               —
BMW 745i, 745 Li
2005-02   V8/4.4L    w/AGM                                              90018, 33, 50, 56        H8 (49) AGM     —
2003      V8/4.4L                                                       80018, 50                —               H9 (95R) AGM
2002      V8/4.4L                                                       80033, 50, 55            H9 (95R) AGM    —
2002      V8/4.4L                                                       85018, 50                —               H9 (95R) AGM
BMW 750 Series
2018-17   V8/4.4L    Auxiliary, w/Executive Drive                       60 Ah33, 50, 55, 56      H5 (47) AGM
2017-16   V8/4.4L                                                       68033, 50, 54, 55, 56    —               —
2014-11   V8/4.4L                                                       90018, 33, 54            H8 (49) AGM     —
2014-10   V8/4.4L    Opt                                                85018, 33, 50, 54, 56    H8 (49) AGM     —
2012-11   V8/4.4L    w/AGM Opt 1 Incl ActiveHybrid                      90018, 33, 50, 54        H8 (49) AGM     —
2012-11   V8/4.4L    w/AGM Opt 2 Incl ActiveHybrid                      85018, 33, 50, 54        H8 (49) AGM     —
2011-09   V8/4.4L    w/AGM, Option 1                                    90018, 33, 50, 54        H8 (49) AGM     —
2008-06   V8/4.8L    w/AGM, Option 1                                    90018, 33, 50, 54        H8 (49) AGM     —
2008-06   V8/4.8L    w/AGM, Option 2                                    85018, 33, 50, 54        H8 (49) AGM     —
2000-95   V12/5.4L                                                      95050                    —               H9 (95R) AGM
2018      V8/4.4L                                                       90033, 50, 54, 55, 56    H8 (49) AGM     —
2015      V8/4.4L                                                       85033, 50, 54, 55, 56    H8 (49) AGM     —
2009      V8/4.4L    Opt                                                85033, 50, 54, 55, 56    H8 (49) AGM     —
2001      V12/5.4L                                                      85050                    —               H9 (95R) AGM
2001      V12/5.4L   Auxiliary Battery                                  65050                    H6 (48)         H6 (48) AGM
BMW 750i xDrive
2021-20   V8/4.4L                                                       92 Ah33, 50, 55, 56      H8 (49) AGM
2021-20   V8/4.4L    Opt                                                105 Ah33, 50, 55, 56     —               —
2021-16   V8/4.4L    Opt                                                60 Ah33, 50, 55, 56      H5 (47) AGM     —
2021-16   V8/4.4L    Auxiliary Li-ion Only                              10 Ah45, 56, 59          —               —
BMW 760i, 760Li
2013-10   V12/6.0L   w/AGM, Option 1                                    90018, 33, 50, 54        H8 (49) AGM     —
2013-10   V12/6.0L   w/AGM, Option 2                                    85018, 33, 50, 54        H8 (49) AGM     —
2008-06   V12/6.0L                                                      72018, 50                H8 (49)         H8 (49) AGM
2005-03   V12/6.0L                                                      90018, 50                —               H8 (49) AGM
2015      V12/6.0L                                                      85033, 50, 54, 55, 56    H8 (49) AGM     —
2014      V12/6.0L                                                      90018, 33, 54            H8 (49) AGM     —
2014      V12/6.0L   Opt                                                85018, 33, 50, 54, 56    H8 (49) AGM     —
BMW 840i
2021-20   L6/3.0L                                                       105 Ah33, 50, 55, 56     —               —
2021-20   L6/3.0L    Opt                                                92 Ah33, 50, 55, 56      H8 (49) AGM     —
2021-20   L6/3.0L    Opt                                                90 Ah33, 50, 55, 56      H8 (49) AGM     —
2021-20   L6/3.0L    Auxiliary Li-ion Only                              10 Ah45, 56, 59          —               —
BMW 840i Gran Coupe
2021-20   L6/3.0L                                                       105 Ah33, 50, 55, 56     —               —
2021-20   L6/3.0L    Opt                                                60 Ah33, 50, 55, 56      H5 (47) AGM     —
2021-20   L6/3.0L    Opt                                                92 Ah33, 50, 55, 56      H8 (49) AGM     —
2021-20   L6/3.0L    Opt                                                90 Ah33, 50, 55, 56      H8 (49) AGM     —
2021-20   L6/3.0L    Auxiliary Li-ion Only                              10 Ah45, 56, 59          —               —
BMW 840i xDrive
2021-20   L6/3.0L                                                       105 Ah33, 50, 55, 56     —               —
2021-20   L6/3.0L    Opt                                                92 Ah33, 50, 55, 56      H8 (49) AGM     —
2021-20   L6/3.0L    Opt                                                90 Ah33, 50, 55, 56      H8 (49) AGM     —
2021-20   L6/3.0L    Auxiliary Li-ion Only                              10 Ah45, 56, 59          —               —
BMW 840i xDrive Gran Coupe
2021-20   L6/3.0L                                                       33, 50, 55, 56
                                                                                                 —               —
2021-20   L6/3.0L    Opt                                                —33, 50, 55, 56          H5 (47) AGM     —
2021-20   L6/3.0L    Opt                                                33, 50, 55, 56
                                                                                                 H8 (49) AGM     —
2021-20   L6/3.0L    Opt                                                33, 50, 55, 56
                                                                                                 H8 (49) AGM     —
2021-20   L6/3.0L    Auxiliary Li-ion Only                              45, 56, 59
                                                                                                 —               —
                                                                       See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   33
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING            (NOTES)            (NOTES)

   BMW 850 Series
   1997-95     V12/5.4L    Opt                                              60050                   —
   1997-95     V12/5.4L                                                     80050                   —
   1995-94     V12/5.6L    Opt                                              60050                   —
   1995-94     V12/5.6L                                                     80050                   —
   1994-93     V12/5.0L    Opt                                              60050                   —
   1994-93     V12/5.0L                                                     80050                   —
   1992-91     V12/5.0L    Opt                                              60050                   —
   1992-91     V12/5.0L                                                     80050                   —
   BMW ActiveHybrid 3
   2015        L6/3.0L     Hybrid                                           80033, 50, 54, 55, 56   H7 (94R) AGM     —
   2015        L6/3.0L     Hybrid, Opt                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2014        L6/3.0L     Hybrid                                           80018, 33, 50, 54, 56   H7 (94R) AGM     —
   2014        L6/3.0L     Hybrid, Opt                                      85018, 33, 50, 54, 56   H8 (49) AGM      —
   2013        L6/3.0L                                                      80018, 33, 50, 54       H7 (94R) AGM     —
   2013        L6/3.0L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   BMW ActiveHybrid 5
   2016-15     L6/3.0L     Hybrid                                           85033, 50, 54, 55, 56   H8 (49) AGM      —
   2015-14     L6/3.0L     Hybrid, Opt                                      95033, 50, 54, 55, 56   H9 (95R) AGM     —
   2013-12     L6/3.0L     w/AGM                                            95018, 33, 50, 54, 56   H9 (95R) AGM     —
   2013-12     L6/3.0L     w/AGM, Option 2                                  85018, 33, 50, 54, 56   H8 (49) AGM      —
   2013-12     L6/3.0L     w/AGM, Option 3                                  90018, 33, 50, 54, 56   H8 (49) AGM      —
   2013-12     L6/3.0L     w/o AGM                                          80018, 50, 54, 56       H7 (94R)         H7 (94R) AGM
   2014        L6/3.0L     Hybrid                                           90018, 33, 50, 54, 56   H8 (49) AGM      —
   2014        L6/3.0L     Hybrid, Opt                                      85018, 33, 50, 54, 56   H8 (49) AGM      —
   BMW ActiveHybrid 7
   2014-13     L6/3.0L     Hybrid, Opt                                      90018, 33, 50, 54, 56   H8 (49) AGM      —
   2015        L6/3.0L     Hybrid                                           85033, 50, 54, 55, 56   H8 (49) AGM      —
   2014        L6/3.0L     Hybrid                                           85018, 33, 50, 54, 56   H8 (49) AGM      —
   2013        L6/3.0L                                                      80018, 33, 50, 54       H7 (94R) AGM     —
   2013        L6/3.0L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   BMW Alpina B6 Gran Coupe
   2016        V8/4.4L                                                      95033, 50, 54, 55, 56   H9 (95R) AGM     —
   BMW Alpina B6 xDrive Gran Coupe
   2019-15 V8/4.4L                                                          95033, 50, 54, 55, 56   H9 (95R) AGM     —
   BMW Alpina B7
   2021-20     V8/4.4L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM
   2021-20     V8/4.4L     Opt                                              105 Ah33, 50, 55, 56    —                —
   2021-20     V8/4.4L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —                —
   2021-17     V8/4.4L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2019-17     V8/4.4L                                                      105 Ah33, 50, 55, 56    —                —
   2019-17     V8/4.4L     Auxiliary                                        1233, 50, 55, 56        —                —
   2019-17     V8/4.4L     Opt                                              92 Ah33, 50, 55, 56     H8 (49) AGM
   2013-11     V8/4.4L     w/AGM                                            85018, 33, 50, 54       H8 (49) AGM      —
   2013-11     V8/4.4L     w/AGM, Incl xDrive                               90018, 33, 50, 54       H8 (49) AGM      —
   2008-07     V8/4.4L                                                      72050                   H8 (49)          H8 (49) AGM
   2015        V8/4.4L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2014        V8/4.4L                                                      90018, 33, 54           H8 (49) AGM      —
   2014        V8/4.4L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   BMW Alpina B7 xDrive
   2013-11     V8/4.4L     w/AGM                                            85018, 33, 50, 54       H8 (49) AGM      —
   2013-11     V8/4.4L     w/AGM, Incl xDrive                               90018, 33, 50, 54       H8 (49) AGM      —
   2015        V8/4.4L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2014        V8/4.4L                                                      90018, 33, 54           H8 (49) AGM      —
   2014        V8/4.4L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   BMW Alpina B7L
   2013-11     V8/4.4L     w/AGM                                            85018, 33, 50, 54       H8 (49) AGM      —
   2013-11     V8/4.4L     w/AGM, Incl xDrive                               90018, 33, 50, 54       H8 (49) AGM      —
   2015        V8/4.4L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2014        V8/4.4L                                                      90018, 33, 54           H8 (49) AGM      —
   2014        V8/4.4L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   BMW Alpina B7L xDrive
   2013-11     V8/4.4L     w/AGM                                            85018, 33, 50, 54       H8 (49) AGM      —
   2013-11     V8/4.4L     w/AGM, Incl xDrive                               90018, 33, 50, 54       H8 (49) AGM      —
   2015        V8/4.4L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2014        V8/4.4L                                                      90018, 33, 54           H8 (49) AGM      —
   2014        V8/4.4L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   BMW i3
   2021-14 L2/0.6L         Hybrid                                           40 Ah45                 —                —
   2021-14 L2/0.6L         Hybrid, Optional                                 20 Ah33, 45             —                —
   See page 158 for Footnotes. Selection may vary by warehouse.

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34                                                     Automotive/Light Truck
  YEAR      ENGINE                           OPTIONS               ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                       CCA/RATING            (NOTES)            (NOTES)

BMW i3 (continued)
2020-14              Electric                                   40 Ah45                 —
2020-14              Electric, Opt                              20 Ah33, 45             —
BMW i3s
2021-18              Electric, Opt                              20 Ah33, 45             —                —
2021-18              Electric                                   40 Ah45                 —                —
2021-18 L2/0.6L      Hybrid                                     40 Ah45                 —                —
2021-18 L2/0.6L      Hybrid, Optional                           20 Ah33, 45             —                —
BMW i8
2020-14 L3/1.5L      Hybrid                                     50 Ah33, 45             —
BMW M2
2021-16 L6/3.0L                                                 92 Ah33, 50, 55, 56     H8 (49) AGM
BMW M235i
2016-14 L6/3.0L                                                 80033, 50, 54, 55, 56   H7 (94R) AGM     —
2016-14 L6/3.0L      Convertible or Opt                         90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW M235i xDrive
2016-15 L6/3.0L                                                 80033, 50, 54, 55, 56   H7 (94R) AGM     —
2016    L6/3.0L      Convertible or Opt                         90033, 50, 54, 55, 56   H8 (49) AGM      —
BMW M235i xDrive Gran Coupe
2021-20   L4/2.0L                                               70 Ah33, 50, 55, 56     H6 (48) AGM      —
2021-20   L4/2.0L    Opt                                        60 Ah33, 50, 55, 56     H5 (47) AGM      —
2021-20   L4/2.0L    Opt                                        80 Ah33, 50, 55, 56     H7 (94R) AGM     —
2021-20   L4/2.0L    Opt                                        70 Ah50, 55, 56, 59     —                —
2021-20   L4/2.0L    Opt                                        80 Ah50, 55, 56, 59     —                —
BMW M240i
2021-17 L6/3.0L                                                 92 Ah33, 50, 55, 56     H8 (49) AGM
2021-17 L6/3.0L      Opt                                        80 Ah33, 50, 55, 56     H7 (94R) AGM     —
BMW M240i xDrive
2021-17 L6/3.0L                                                 92 Ah33, 50, 55, 56     H8 (49) AGM
BMW M3
2018-15   L6/3.0L    Li-ion Battery Only                        60 Ah45, 57, 60         —
2013-08   V8/4.0L    w/AGM, Option 1                            76018, 33, 50, 54       H6 (48) AGM      —
2013-08   V8/4.0L    w/AGM, Option 2                            90018, 33, 50, 54, 56   H8 (49) AGM      —
2013-08   V8/4.0L    w/AGM, Option 3                            85018, 33, 50, 54, 56   H8 (49) AGM      —
2013-08   V8/4.0L    w/o AGM, Option 1                          64018, 50, 54           H7 (94R)         H7 (94R) AGM
2013-08   V8/4.0L    w/o AGM, Option 2                          72018, 50, 54, 56       H8 (49)          H8 (49) AGM
2013-08   V8/4.0L    w/o AGM, Option 3                          57018, 50, 54           H6 (48)          H6 (48) AGM
2005-02   L6/3.2L                                               64050                   H7 (94R)         H7 (94R) AGM
1999-98   L6/3.2L                                               57534, 50               —
1999-96   L6/3.2L                                               65050                   —
1999-96   L6/3.2L                                               75 Ah47, 50             —
2021      L6/3.0L    Li-ion Battery Only                        70 Ah45, 56, 59         —                —
2006      L6/3.2L                                               57018, 50               H6 (48)          H6 (48) AGM
2001      L6/3.2L                                               76550                   H7 (94R)         H7 (94R) AGM
1995      L6/3.0L                                               65050                   —
1995      L6/3.0L                                               75 Ah47, 50             —
1994      L6/3.0L                                               57550                   —
BMW M340i
2021-20   L6/3.0L                                               80 Ah33, 50, 55, 56     H7 (94R) AGM     —
2021-20   L6/3.0L    Opt                                        92 Ah33, 50, 55, 56     H8 (49) AGM
2021-20   L6/3.0L    Opt                                        105 Ah33, 50, 55, 56    —                —
2021-20   L6/3.0L    Auxiliary Li-ion Only                      10 Ah45, 56, 59         —                —
BMW M340i xDrive
2021-20   L6/3.0L                                               80 Ah33, 50, 55, 56     H7 (94R) AGM     —
2021-20   L6/3.0L    Opt                                        92 Ah33, 50, 55, 56     H8 (49) AGM
2021-20   L6/3.0L    Opt                                        105 Ah33, 50, 55, 56    —                —
2021-20   L6/3.0L    Auxiliary Li-ion Only                      10 Ah45, 56, 59         —                —
BMW M4
2020-15 L6/3.0L      Li-ion Battery Only                        60 Ah45, 57, 60         —
2021    L6/3.0L      Li-ion Battery Only                        70 Ah45, 56, 59         —                —
BMW M5
2021-18   V8/4.4L    Li-ion Battery Only                        69 Ah45, 56, 59         —                —
2016-12   V8/4.4L                                               85033, 50, 54, 55, 56   H8 (49) AGM      —
2016-12   V8/4.4L    Opt                                        95033, 50, 54, 55, 56   H9 (95R) AGM     —
2016-12   V8/4.4L                                               90018, 33, 54           H8 (49) AGM      —
2016-12   V8/4.4L    Opt                                        85018, 33, 50, 54, 56   H8 (49) AGM      —
2010-06   V10/5.0L   w/AGM, Option 1                            85018, 33, 50, 54, 56   H8 (49) AGM      —
2010-06   V10/5.0L   w/o AGM, Opt                               64018, 50, 54           H7 (94R)         H7 (94R) AGM
2010-06   V10/5.0L   w/o AGM, Option 1                          72018, 50, 54, 56       H8 (49)          H8 (49) AGM
2010-06   V10/5.0L   w/o AGM, Option 2                          85018, 50, 54, 56       —                H9 (95R) AGM
                                                               See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   35
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING            (NOTES)            (NOTES)

   BMW M5 (continued)
   2002-01     V8/5.0L                                                      85050                   —                H9 (95R) AGM
   1993-91     L6/3.6L                                                      80050                   —
   2003        V8/5.0L                                                      80050                   —                H9 (95R) AGM
   2000        V8/5.0L                                                      95050                   —                H9 (95R) AGM
   BMW M550i xDrive
   2021-18     V8/4.4L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM
   2021-18     V8/4.4L     Auxiliary                                        50 Ah33, 50, 55, 56     —                —
   2021-18     V8/4.4L     Opt                                              105 Ah33, 50, 55, 56    —                —
   2021-18     V8/4.4L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —                —
   2020-18     V8/4.4L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2020-18     V8/4.4L     Auxiliary                                        12 Ah33, 50, 55, 56     —                —
   BMW M6
   2018-16     V8/4.4L                                                      95033, 50, 54, 55, 56   H9 (95R) AGM     —
   2015-13     V8/4.4L     Opt                                              95033, 50, 54, 55, 56   H9 (95R) AGM     —
   2014-12     V8/4.4L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM      —
   2013-12     V8/4.4L                                                      90018, 33, 54           H8 (49) AGM      —
   2010-06     V10/5.0L    w/AGM, Option 1                                  90018, 33, 50, 54       H8 (49) AGM      —
   2010-06     V10/5.0L    w/AGM, Option 2                                  85018, 33, 50, 54       H8 (49) AGM      —
   2015        V8/4.4L                                                      85033, 50, 54, 55, 56   H8 (49) AGM      —
   2014        V8/4.4L                                                      90018, 33, 50, 54, 56   H8 (49) AGM      —
   2012        V8/4.4L     Opt                                              95050, 54, 55, 56       —                H9 (95R) AGM
   BMW M6 Gran Coupe
   2019-14 V8/4.4L                                                          95033, 50, 54, 55, 56   H9 (95R) AGM     —
   2019-14 V8/4.4L         Auxiliary                                        12 Ah33, 50, 55, 56     —                —
   2019-14 V8/4.4L                                                          85033, 50, 54, 55, 56   H8 (49) AGM      —
   BMW M760i xDrive
   2021-17     V12/ 6.6L   Auxiliary Li-ion Only                            10 Ah45, 56, 59         —                —
   2021-17     V12/ 6.6L   Opt                                              105 Ah33, 50, 55, 56    —                —
   2021-17     V12/6.6L                                                     90033, 50, 55, 56       H8 (49) AGM
   2021-17     V12/6.6L    Auxiliary                                        12 Ah33, 50, 55, 56     —                —
   2021-17     V12/6.6L    Optional                                         60 Ah33, 50, 55, 56     H5 (47) AGM      —
   BMW M8
   2020        V8/4.4L     Li-ion Battery Only                              70 Ah45, 56, 59         —                —
   BMW M8 Gran Coupe
   2021-20 V8/4.4L         Li-ion Battery Only                              70 Ah45, 56, 59         —                —
   BMW M850i xDrive
   2021-19     V8/4.4L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM
   2021-19     V8/4.4L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2021-19     V8/4.4L     Opt                                              105 Ah33, 50, 55, 56    —                —
   2021-19     V8/4.4L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —                —
   BMW M850i xDrive Gran Coupe
   2021-20     V8/4.4L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM
   2021-20     V8/4.4L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2021-20     V8/4.4L     Opt                                              105 Ah33, 50, 55, 56    —                —
   2021-20     V8/4.4L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —                —
   BMW X1
   2021-20     L4/2.0L                                                      80 Ah33, 50, 55, 56     H7 (94R) AGM     —
   2021-20     L4/2.0L     Opt                                              70 Ah50, 55, 56, 59     —                —
   2021-20     L4/2.0L     Opt                                              80 Ah50, 55, 56, 59     —                —
   2019-16     L4/2.0L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM     —
   2019-16     L4/2.0L                                                      76033, 50, 54, 55, 56   H6 (48) AGM      —
   2015-13     L6/3.0L                                                      57050, 54, 55, 56       H6 (48)          H6 (48) AGM
   2015-13     L6/3.0L     Opt                                              76018, 33, 50, 54, 56   H6 (48) AGM      —
   2015-13     L6/3.0L     Opt                                              64018, 50, 54, 56       H7 (94R)         H7 (94R) AGM
   2015-13     L6/3.0L     Opt                                              80018, 33, 50, 54, 56   H7 (94R) AGM     —
   2015-12     L4/2.0L                                                      57050, 54, 55, 56       H6 (48)          H6 (48) AGM
   2015-12     L4/2.0L     Opt                                              76033, 50, 54, 55, 56   H6 (48) AGM      —
   2015-12     L4/2.0L     Opt                                              64050, 54, 55, 56       H7 (94R)         H7 (94R) AGM
   2015-12     L4/2.0L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM     —
   BMW X2
   2021-18     L4/2.0L                                                      70 Ah33, 50, 55, 56     H6 (48) AGM      —
   2021-18     L4/2.0L     Opt                                              80 Ah33, 50, 55, 56     H7 (94R) AGM     —
   2021-18     L4/2.0L     Opt                                              70 Ah50, 55, 56, 59     —                —
   2021-18     L4/2.0L     Opt                                              80 Ah50, 55, 56, 59     —                —
   BMW X3
   2021-19     L4/2.0L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM
   2021-19     L4/2.0L     Opt                                              50 Ah33, 50, 55, 56     —                —
   2021-19     L4/2.0L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM      —
   2021-19     L4/2.0L     Opt                                              80 Ah33, 50, 55, 56     H7 (94R) AGM     —
   See page 158 for Footnotes. Selection may vary by warehouse.

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36                                                      Automotive/Light Truck
  YEAR      ENGINE                            OPTIONS                ORIGINAL EQUIPMENT     GROUP SIZE        ALTERNATE SIZE
                                                                         CCA/RATING          (NOTES)             (NOTES)

BMW X3 (continued)
2021-19   L6/3.0L                                                92 Ah33, 50, 55, 56      H8 (49) AGM
2021-19   L6/3.0L    Opt                                         50 Ah33, 50, 55, 56      —               —
2021-19   L6/3.0L    Opt                                         60 Ah33, 50, 55, 56      H5 (47) AGM     —
2021-19   L6/3.0L    Opt                                         80033, 50, 55, 56        H7 (94R) AGM    —
2018-15   L4/2.0L    Opt                                         80033, 50, 54, 55, 56    H7 (94R) AGM    —
2018-11   L6/3.0L                                                85033, 50, 54, 55, 56    H8 (49) AGM     —
2018-11   L6/3.0L    Opt                                         80033, 50, 54, 55, 56    H7 (94R) AGM    —
2017-16   L4/2.0L                                                80033, 50, 54, 55, 56    H7 (94R) AGM    —
2017-15   L4/2.0L    Dsl                                         80033, 50, 54, 55, 56    H7 (94R) AGM    —
2017-15   L4/2.0L    Dsl, Opt                                    85033, 50, 54, 55, 56    H8 (49) AGM     —
2017-13   L4/2.0L    Opt                                         85033, 50, 54, 55, 56    H8 (49) AGM     —
2014-13   L4/2.0L                                                90018, 33, 50, 54, 56    H8 (49) AGM     —
2013-11   L6/3.0L    Opt                                         95050, 54, 55, 56        —               H9 (95R) AGM
2011-04   L6/3.0L    w/AGM, Opt                                  90018, 33, 50, 54, 56    H8 (49) AGM     —
2010-04   L6/3.0L    w/o AGM, Opt                                72018, 50, 54, 56        H8 (49)         H8 (49) AGM
2010-04   L6/3.0L    w/o AGM, Option 2                           57018, 50, 54            H6 (48)         H6 (48) AGM
2006-04   L6/2.5L                                                57018, 50, 56            H6 (48)         H6 (48) AGM
2006-04   L6/2.5L    Opt                                         85033, 50, 54, 55, 56    H8 (49) AGM     —
2006-04   L6/2.5L    Opt                                         90033, 50, 54, 55, 56    H8 (49) AGM     —
2005-04   L6/2.5L    Opt                                         72018, 50, 56            H8 (49)         H8 (49) AGM
2018      L4/2.0L                                                85033, 50, 54, 55, 56    H8 (49) AGM     —
2015      L4/2.0L    Opt                                         95033, 50, 54, 55, 56    H9 (95R) AGM    —
2014      L4/2.0L    Opt                                         80018, 33, 50, 54, 56    H7 (94R) AGM    —
2013      L4/2.0L    Opt                                         95050, 54, 55, 56        —               H9 (95R) AGM
2013      L4/2.0L    Option 2                                    80018, 33, 50, 54, 56    H7 (94R) AGM    —
2006      L6/2.5L    Opt                                         72050, 54, 55, 56        H8 (49)         H8 (49) AGM
BMW X4
2021-19   L4/2.0L                                                33, 50, 55, 56
                                                                                          H8 (49) AGM
2021-19   L4/2.0L    Opt                                         33, 50, 55, 56
                                                                                          —               —
2021-19   L4/2.0L    Opt                                         33, 50, 55, 56
                                                                                          —               —
2021-19   L6/3.0L                                                33, 50, 55, 56
                                                                                          H8 (49) AGM
2021-19   L6/3.0L    Opt                                         33, 50, 55, 56
                                                                                          —               —
2021-19   L6/3.0L    Opt                                         33, 50, 55, 56
                                                                                          —               —
2018-15   L4/2.0L                                                85033, 50, 54, 55, 56    H8 (49) AGM     —
2018-15   L4/2.0L    Opt                                         80033, 50, 54, 55, 56    H7 (94R) AGM    —
2018-15   L6/3.0L                                                85033, 50, 54, 55, 56    H8 (49) AGM     —
2018-15   L6/3.0L    Opt                                         80033, 50, 54, 55, 56    H7 (94R) AGM    —
BMW X5
2021-19   L6/3.0L                                                80 Ah33, 50, 55, 56    H7 (94R) AGM —
2021-19   L6/3.0L    Opt                                         50 Ah33, 50, 55, 56    —                  —
2021-19   L6/3.0L    Opt                                         60 Ah33, 50, 55, 56    H5 (47) AGM        —
2021-19   L6/3.0L    Opt                                         92 Ah33, 50, 55, 56    H8 (49) AGM
2021-19   L6/3.0L    Auxiliary Li-ion Only                       10 Ah45, 56, 59        —                  —
2021-19   V8/4.4L                                                80 Ah33, 50, 55, 56    H7 (94R) AGM —
2021-19   V8/4.4L    Opt                                         50 Ah33, 50, 55, 56    —                  —
2021-19   V8/4.4L    Opt                                         60 Ah33, 50, 55, 56    H5 (47) AGM        —
2021-19   V8/4.4L    Opt                                         92 Ah33, 50, 55, 56    H8 (49) AGM
2021-19   V8/4.4L    Auxiliary Li-ion Only                       10 Ah45, 56, 59        —                  —
2018-16   L4/2.0L    Hybrid                                      95033, 50, 54, 55, 56  H9 (95R) AGM —
2018-16   L4/2.0L    Hybrid, Auxiliary                           50 Ah33, 45, 50        —
2018-16   L4/2.0L    Hybrid, Opt                                 90033, 50, 54, 55, 56  H8 (49) AGM        —
2018-16   V8/4.4L                                                90033, 50, 54, 55, 56  H8 (49) AGM        —
2018-14   L6/3.0L    Auxiliary, Dsl                              50 Ah33, 45, 50        —
2018-14   L6/3.0L    Dsl                                         95033, 50, 54, 55, 56  H9 (95R) AGM —
2018-14   L6/3.0L    Gas                                         95033, 50, 54, 55, 56  H9 (95R) AGM —
2018-14   L6/3.0L    Gas, Auxiliary Battery                      50 Ah33, 45, 50        —
2018-14   L6/3.0L    Gas, Opt                                    90033, 50, 54, 55, 56  H8 (49) AGM        —
2018-14   V8/4.4L                                                95033, 50, 54, 55, 56  H9 (95R) AGM —
2018-14   V8/4.4L    Auxiliary Battery                           50 Ah33, 45, 50        —
2018-11   L6/3.0L    Dsl, Opt                                    90033, 50, 54, 55, 56  H8 (49) AGM        —
2017-14   V8/4.4L    Opt                                         90033, 50, 54, 55, 56  H8 (49) AGM        —
2013-11   L6/3.0L    Dsl, Opt                                    85033, 50, 54, 55, 56  H8 (49) AGM        —
2012-11   L6/3.0L    Dsl, w/o AGM Option                         57018, 50, 54          H6 (48)            H6 (48) AGM
2012-11   L6/3.0L    Gas, w/o AGM, Opt 1                         57018, 50, 54          H6 (48)            H6 (48) AGM
2012-11   L6/3.0L    Gas, w/o AGM, Opt 2                         95018, 50, 54          —                  H9 (95R) AGM
2012-11   V8/4.4L    w/o AGM, Option 2                           95018, 50, 54          —                  H9 (95R) AGM
2012-10   V8/4.4L    w/AGM, Option 1                             85018, 33, 50, 56      H8 (49) AGM        —
2012-10   V8/4.4L    w/AGM, Option 2                             90018, 33, 50, 56      H8 (49) AGM        —
2012-09   L6/3.0L    Dsl                                         95018, 50, 54          —                  H9 (95R) AGM
2012-09   L6/3.0L    w/AGM, Option 1                             90018, 33, 50, 54, 56  H8 (49) AGM        —
2012-09   L6/3.0L    w/AGM, Option 2                             85018, 33, 50, 56      H8 (49) AGM        —
2010-09   L6/3.0L    Option 1                                    85018, 33, 50, 56      H8 (49) AGM        —
                                                                See page 158 for Footnotes. Selection may vary by warehouse.

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Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 803 BMW
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   Automotive/Light Truck                                                                                                 37
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT     GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING          (NOTES)            (NOTES)

   BMW X5 (continued)
   2010-09     L6/3.0L     Option 2                                         90018, 33, 50, 56       H8 (49) AGM    —
   2010-07     V8/4.8L     w/AGM, Option 1                                  90018, 33, 50, 54, 56   H8 (49) AGM    —
   2010-07     V8/4.8L     w/AGM, Option 2                                  85018, 33, 50, 56       H8 (49) AGM    —
   2008-07     L6/3.0L     w/AGM, Option 1                                  85018, 33, 50, 54, 56   H8 (49) AGM    —
   2008-07     L6/3.0L     w/AGM, Option 2                                  90018, 33, 50, 54, 56   H8 (49) AGM    —
   2006-04     V8/4.4L                                                      72018, 50               H8 (49)        H8 (49) AGM
   2006-04     V8/4.8L                                                      72018, 50, 54           H8 (49)        H8 (49) AGM
   2006-04     V8/4.8L     Opt                                              64018, 50, 54           H7 (94R)       H7 (94R) AGM
   2006-01     L6/3.0L     Opt                                              64050, 54, 55, 56       H7 (94R)       H7 (94R) AGM
   2006-00     V8/4.4L     Opt                                              64050, 54, 55, 56       H7 (94R)       H7 (94R) AGM
   2005-02     L6/3.0L                                                      64050                   H7 (94R)       H7 (94R) AGM
   2005-01     L6/3.0L                                                      72050, 54, 55, 56       H8 (49)        H8 (49) AGM
   2003-02     V8/4.6L                                                      72050, 54, 55, 56       H8 (49)        H8 (49) AGM
   2003-02     V8/4.6L                                                      74050                   —              H8 (49) AGM
   2003-02     V8/4.6L     Opt                                              64050, 54, 55, 56       H7 (94R)       H7 (94R) AGM
   2003-00     V8/4.4L                                                      72050, 54, 55, 56       H8 (49)        H8 (49) AGM
   2001-00     V8/4.4L                                                      76050                   —              H8 (49) AGM
   2017        L6/3.0L     US, Gas                                          95033, 50, 54, 55, 56   H9 (95R) AGM   —
   2013        L6/3.0L     Dsl                                              57050, 54, 55, 56       H6 (48)        H6 (48) AGM
   2013        L6/3.0L     Dsl, Opt                                         90018, 33, 50, 54, 56   H8 (49) AGM    —
   2013        L6/3.0L     Gas                                              90018, 33, 50, 54, 56   H8 (49) AGM    —
   2013        L6/3.0L     Gas, Opt                                         85018, 33, 50, 54, 56   H8 (49) AGM    —
   2013        L6/3.0L     Opt                                              57018, 54               H6 (48)        H6 (48) AGM
   2013        V8/4.4L                                                      57018, 50, 54, 56       H6 (48)        H6 (48) AGM
   2013        V8/4.4L     Opt 1                                            90018, 33, 50, 54, 56   H8 (49) AGM    —
   2013        V8/4.4L     Opt 2                                            85018, 33, 50, 54, 56   H8 (49) AGM    —
   2012        V8/4.4L     w/o AGM, Option 1                                57018, 50, 54           H6 (48)        H6 (48) AGM
   2011        V8/4.4L                                                      57033, 50, 54, 55       H6 (48) AGM    —
   2011        V8/4.4L     w/AGM, Option 4                                  75018, 33, 50, 54       H6 (48) AGM    —
   2010        L6/3.0L     Dsl, Opt                                         57018, 54               H6 (48)        H6 (48) AGM
   2010        V8/4.4L     w/AGM, Option 3                                  57018, 33, 50, 54       H6 (48) AGM    —
   2009        L6/3.0L     Dsl, Opt                                         57018                   H6 (48)        H6 (48) AGM
   2006        L6/3.0L                                                      72018, 50, 54           H8 (49)        H8 (49) AGM
   2005        V8/4.4L     Opt                                              72018, 33, 50, 54       H8 (49) AGM    —
   2003        V8/4.4L                                                      74050                   —              H8 (49) AGM
   2002        L6/3.0L     Opt                                              72050                   H8 (49)        H8 (49) AGM
   2002        V8/4.4L                                                      72050                   H8 (49)        H8 (49) AGM
   2002        V8/4.6L                                                      72050                   H8 (49)        H8 (49) AGM
   2001        L6/3.0L                                                      76550                   H7 (94R)       H7 (94R) AGM
   BMW X6
   2021-20     L6/3.0L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM
   2021-20     L6/3.0L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM    —
   2021-20     L6/3.0L     Opt                                              105 Ah33, 50, 55, 56    —              —
   2021-20     L6/3.0L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —              —
   2021-20     V8/4.4L                                                      92 Ah33, 50, 55, 56     H8 (49) AGM
   2021-20     V8/4.4L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM    —
   2021-20     V8/4.4L     Opt                                              105 Ah33, 50, 55, 56    —              —
   2021-20     V8/4.4L     Auxiliary Li-ion Only                            10 Ah45, 56, 59         —              —
   2019-15     L6/3.0L                                                      90033, 50, 54, 55, 56   H8 (49) AGM    —
   2019-15     L6/3.0L     Auxiliary Battery                                50 Ah33, 45, 50         —
   2019-15     V8/4.4L                                                      90033, 50, 54, 55, 56   H8 (49) AGM    —
   2019-15     V8/4.4L     Auxiliary Battery                                50 Ah33, 45, 50         —
   2014-13     L6/3.0L                                                      57018, 50, 54, 56       H6 (48)        H6 (48) AGM
   2014-13     L6/3.0L                                                      90018, 33, 50, 54, 56   H8 (49) AGM    —
   2014-13     L6/3.0L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM    —
   2014-13     V8/4.4L                                                      57018, 50, 54, 56       H6 (48)        H6 (48) AGM
   2014-13     V8/4.4L                                                      90018, 33, 50, 54, 56   H8 (49) AGM    —
   2014-13     V8/4.4L     Opt                                              57018, 50, 54, 56       H6 (48)        H6 (48) AGM
   2014-13     V8/4.4L     Opt                                              85018, 33, 50, 54, 56   H8 (49) AGM    —
   2012-11     V8/4.4L                                                      95018, 50, 54           —              H9 (95R) AGM
   2012-09     V8/4.4L     w/AGM                                            85018, 33, 50           H8 (49) AGM    —
   2012-08     L6/3.0L                                                      95018, 50, 54           —              H9 (95R) AGM
   2012-08     L6/3.0L     w/AGM                                            57018, 33, 50, 54       H6 (48) AGM    —
   2012-08     V8/4.4L     Opt                                              57018, 50, 54           H6 (48)        H6 (48) AGM
   2011-10     V8/4.4L     Hybrid                                           76018, 33, 54           H6 (48) AGM    —
   2010-09     V8/4.4L     w/AGM                                            90018, 33, 50           H8 (49) AGM    —
   2010-08     L6/3.0L     Option 1                                         85018, 33, 50, 54, 56   H8 (49) AGM    —
   2010-08     L6/3.0L     Option 2                                         90018, 33, 50, 54, 56   H8 (49) AGM    —
   2010-08     V8/4.4L     Option 1                                         85018, 33, 50, 54, 56   H8 (49) AGM    —
   2010-08     V8/4.4L     Option 2                                         90018, 33, 50, 54, 56   H8 (49) AGM    —
   2012        L6/3.0L     w/AGM                                            85018, 33, 50           H8 (49) AGM    —
   2012        V8/4.4L     w/AGM                                            95018, 33, 50           H9 (95R) AGM   —
   2011        L6/3.0L     Opt                                              85018, 33, 50           H8 (49) AGM    —
   See page 158 for Footnotes. Selection may vary by warehouse.

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38                                                     Automotive/Light Truck
  YEAR      ENGINE                           OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                       CCA/RATING             (NOTES)            (NOTES)

BMW X7
2021-19   L6/3.0L                                               92 Ah33, 50, 55, 56     H8 (49) AGM
2021-19   L6/3.0L    Opt                                        60 Ah33, 50, 55, 56     H5 (47) AGM       —
2021-19   L6/3.0L    Opt                                        105 Ah33, 50, 55, 56    —                 —
2021-19   L6/3.0L    Auxiliary Li-ion Only                      10 Ah45, 56, 59         —                 —
2021-19   V8/4.4L                                               92 Ah33, 50, 55, 56     H8 (49) AGM
2021-19   V8/4.4L    Opt                                        60 Ah33, 50, 55, 56     H5 (47) AGM       —
2021-19   V8/4.4L    Opt                                        105 Ah33, 50, 55, 56    —                 —
2021-19   V8/4.4L    Auxiliary Li-ion Only                      10 Ah45, 56, 59         —                 —
BMW Z3
2001-99   L6/2.5L                                               65050                   H6 (48)           H6 (48) AGM
2001-98   L6/3.2L                                               65050                   H6 (48)           H6 (48) AGM
2000-97   L6/2.8L                                               65050                   H6 (48)           H6 (48) AGM
1998-96   L4/1.9L                                               65050                   H6 (48)           H6 (48) AGM
2002      L6/2.5L                                               57050                   H6 (48)           H6 (48) AGM
2002      L6/3.0L                                               57050                   H6 (48)           H6 (48) AGM
2002      L6/3.2L                                               57050                   H6 (48)           H6 (48) AGM
2001      L6/3.0L                                               65050                   H6 (48)           H6 (48) AGM
BMW Z4
2021-20   L6/3.0L                                               92 Ah33, 50, 55, 56     H8 (49) AGM
2021-20   L6/3.0L    Opt                                        105 Ah33, 50, 55, 56    —                 —
2021-20   L6/3.0L    Auxiliary Li-ion Only                      10 Ah45, 56, 59         —                 —
2021-19   L4/2.0L                                               92 Ah33, 50, 55, 56     H8 (49) AGM
2021-19   L4/2.0L    Opt                                        105 Ah33, 50, 55, 56    —                 —
2021-19   L4/2.0L    Auxiliary Li-ion Only                      10 Ah45, 56, 59         —                 —
2016-12   L4/2.0L                                               76033, 50, 54, 55, 56   H6 (48) AGM       —
2016-12   L4/2.0L    Opt                                        80033, 50, 54, 55, 56   H7 (94R) AGM      —
2016-09   L6/3.0L                                               76033, 50, 54, 55, 56   H6 (48) AGM       —
2016-09   L6/3.0L    Opt                                        80033, 50, 54, 55, 56   H7 (94R) AGM      —
2008-06   L6/3.0L    Opt                                        57018, 50, 54, 56       H6 (48)           H6 (48) AGM
2008-06   L6/3.0L                                               48050, 54, 55, 56       H5 (47)           H5 (47) AGM
2008-06   L6/3.0L    Opt                                        64018, 50, 54, 56       H7 (94R)          H7 (94R) AGM
2008-06   L6/3.0L    Opt AGM                                    76018, 33, 50, 54       H6 (48) AGM       —
2008-06   L6/3.2L                                               48018, 50               H5 (47)           H5 (47) AGM
2005-04   L6/2.5L                                               48050                   H5 (47)           H5 (47) AGM
2005-04   L6/2.5L    HD, Telematics                             64050                   H7 (94R)          H7 (94R) AGM
2005-04   L6/2.5L    Opt                                        57050                   H6 (48)           H6 (48) AGM
2005-04   L6/3.0L                                               48050                   H5 (47)           H5 (47) AGM
2005-04   L6/3.0L    Opt                                        57050                   H6 (48)           H6 (48) AGM
2005-03   L6/3.0L    HD, Telematics                             64050                   H7 (94R)          H7 (94R) AGM
2003      L6/2.5L                                               57050                   H6 (48)           H6 (48) AGM
2003      L6/3.0L                                               57050                   H6 (48)           H6 (48) AGM
BMW Z8
2001-00 V8/5.0L                                                 76050                   —                 H8 (49) AGM
2003    V8/4.8L                                                 74050                   —                 H8 (49) AGM
2002    V8/5.0L                                                 72050                   H8 (49)           H8 (49) AGM
Buick Allure
2009-05   V6/3.8L                                               750                     34
2008-05   V6/3.6L                                               680                     34
2010      V6/3.0L                                               615                     H6 (48)           H6 (48) AGM
2010      V6/3.6L                                               615                     H6 (48)           H6 (48) AGM
2009      V8/5.3L                                               625                     —
2008      V8/5.3L                                               590                     —
Buick Cascada
2019-17 L4/1.6L                                                 73033, 50               H7 (94R) AGM      —
2016    L4/1.6L                                                 80033                   H7 (94R) AGM      —
Buick Century
2005-97   V6/3.1L                                               600                     78
1996-94   V6/3.1L                                               525                     75
1996-93   L4/2.2L                                               525                     75
1993-89   V6/3.3L                                               630                     75
1992-85   L4/2.5L                                               630                     75
Buick Commercial Chassis
1996-92 V8/5.7L                                                 690                     78
1991    V8/5.0L                                                 690                     78
Buick Electra
1990-85 V6/3.8L                                                 630                     75
1990    V6/3.8L      Opt                                        730                     78
Buick Enclave
2022-18 V6/3.6L                                                 73033, 50               H7 (94R) AGM      —
                                                               See page 158 for Footnotes. Selection may vary by warehouse.

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Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 805Buick
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   Automotive/Light Truck                                                                                                   39
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Buick Enclave (continued)
   2017-10 V6/3.6L                                                          66050                  H6 (48)           H6 (48) AGM
   2009-08 V6/3.6L                                                          73050                  H6 (48)           H6 (48) AGM
   Buick Encore
   2022-20     L4/1.4L                                                      525                    H5 (47)           H5 (47) AGM
   2019-16     L4/1.4L     w/o Start/Stop                                   525                    H5 (47)           H5 (47) AGM
   2019-16     L4/1.4L     w/Start/Stop                                     70033                  H6 (48) AGM       —
   2015-13     L4/1.4L                                                      52550                  H5 (47)           H5 (47) AGM
   Buick Encore GX
   2022-20 L3/1.2L                                                          76033, 50              H6 (48) AGM       —
   2022-20 L3/1.3L                                                          76033, 50              H6 (48) AGM       —
   Buick Envision
   2022-16 L4/2.0L         Start/Stop                                       72033, 50              H7 (94R) AGM      —
   2020-17 L4/2.5L         Start/Stop                                       72033, 50              H7 (94R) AGM      —
   Buick Gran Sport
   1966-65 V8/6.6L                                                          440                    24
   1967    V8/6.6L                                                          350                    24
   Buick GS 350
   1969-68 V8/5.7L                                                          440                    24
   Buick GS 400
   1969-68 V8/6.6L                                                          440                    24
   Buick LaCrosse
   2019-18     L4/2.5L     Hybrid                                           615                    H6 (48)           H6 (48) AGM
   2019-18     V6/3.6L                                                      85033                  H7 (94R) AGM      —
   2016-12     L4/2.4L     Hybrid                                           525                    H5 (47)           H5 (47) AGM
   2016-10     V6/3.6L                                                      615                    H6 (48)           H6 (48) AGM
   2011-10     L4/2.4L                                                      615                    H6 (48)           H6 (48) AGM
   2009-08     V6/3.8L                                                      72033                  —
   2009-08     V8/5.3L                                                      590                    —
   2017        V6/3.6L                                                      73033                  H7 (94R) AGM      —
   2010        V6/3.0L                                                      61550                  H6 (48)           H6 (48) AGM
   2008        V6/3.6L                                                      72033                  —
   2007        V6/3.6L                                                      75033                  —
   2007        V6/3.8L                                                      750                    34
   2006        V6/3.6L                                                      690                    34
   2006        V6/3.8L                                                      690                    34
   2005        V6/3.6L                                                      68033                  —
   2005        V6/3.8L                                                      680                    34
   Buick LeSabre
   2005-00     V6/3.8L                                                      77050                  100
   1999-95     V6/3.8L                                                      690                    78
   1997-94     V6/3.8L     Opt                                              770                    78
   1994-86     V6/3.8L                                                      630                    75
   1993-91     V6/3.8L     HD or w/HWS                                      770                    78
   1990-86     V8/5.0L                                                      630                    75
   1990        V8/5.0L     Opt                                              730                    78
   Buick Lucerne
   2011-09     V6/3.9L                                                      72050                  H7 (94R)          H7 (94R) AGM
   2011-09     V8/4.6L                                                      72050                  H7 (94R)          H7 (94R) AGM
   2007-06     V6/3.8L                                                      80050                  79
   2007-06     V8/4.6L                                                      80050                  79
   2008        V6/3.8L                                                      73050                  H6 (48)           H6 (48) AGM
   2008        V8/4.6L                                                      73050                  H6 (48)           H6 (48) AGM
   Buick Park Avenue
   2005-03     V6/3.8L                                                      690                    34
   2005-03     V6/3.8L     S/C                                              770                    34
   2002-98     V6/3.8L     S/C                                              770                    78
   2002-96     V6/3.8L     Naturally Aspirated                              690                    78
   1997-91     V6/3.8L     w/HD or HWS                                      770                    78
   1995-94     V6/3.8L                                                      600                    78
   1993-91     V6/3.8L                                                      630                    75
   Buick Rainier
   2007-04 L6/4.2L                                                          60040                  78
   2007-04 V8/5.3L                                                          60040                  78
   Buick Reatta
   1991-88 V6/3.8L                                                          770                    78
   Buick Regal
   2017-11 L4/2.0L                                                          615                    H6 (48)           H6 (48) AGM
   2017-11 L4/2.4L                                                          615                    H6 (48)           H6 (48) AGM
   2016-12 L4/2.4L         Gas                                              615                    H6 (48)           H6 (48) AGM
   See page 158 for Footnotes. Selection may vary by warehouse.

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40                                              Automotive/Light Truck
  YEAR      ENGINE                    OPTIONS                  ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

Buick Regal (continued)
2016-12   L4/2.4L    Hybrid                                  525                    H5 (47)           H5 (47) AGM
2004-97   V6/3.8L    S/C                                     770                    78
2003-96   V6/3.8L                                            690                    78
1995-94   V6/3.8L                                            600                    75
1995-90   V6/3.1L                                            525                    75
1993-90   V6/3.8L                                            630                    75
1985-84   V6/3.8L    Turbo, HD                               630                    75
2004      V6/3.8L                                            600                    78
1996      V6/3.1L                                            600                    78
1984      V6/3.8L    Turbo                                   500                    75
Buick Regal Sportback
2020-18 L4/2.0L                                              72033                  H7 (94R) AGM      —
2020-18 V6/3.6L                                              72033                  H7 (94R) AGM      —
Buick Regal TourX
2020-18 L4/2.0L                                              72033                  H7 (94R) AGM      —
Buick Rendezvous
2007-06   V6/3.5L                                            600                    78
2005-04   V6/3.6L                                            600                    78
2005-02   V6/3.4L                                            600                    78
2006      V6/3.6L                                            690                    34
Buick Riviera
1999-98   V6/3.8L                                            84050                  79
1997-95   V6/3.8L                                            97050                  —
1993-90   V6/3.8L                                            770                    78
1969-68   V8/7.0L                                            360                    27
1969-65   V8/7.0L                                            500                    27
1967-63   V8/7.0L                                            325                    27
1965-63   V8/6.6L                                            325                    27
1970      V8/7.5L                                            500                    27
Buick Roadmaster
1996-95   V8/5.7L                                            600                    78
1994-92   V8/5.7L                                            525                    75
1994      V8/5.7L    Wagon                                   770                    78
1993      V8/5.7L    Wagon                                   690                    78
1991      V8/5.0L                                            525                    75
Buick Skylark
1998-96   L4/2.4L                                            600                    75
1998-94   V6/3.1L                                            600                    75
1995-93   L4/2.3L                                            600                    75
1992-89   V6/3.3L                                            630                    75
1992-88   L4/2.3L                                            630                    75
1991-85   L4/2.5L                                            630                    75
1993      V6/3.3L                                            600                    75
Buick Terraza
2007-06 V6/3.9L                                              600                    34
2006-05 V6/3.5L                                              600                    34
Buick Verano
2017-12 L4/2.4L                                              615                    H6 (48)           H6 (48) AGM
2016-13 L4/2.0L                                              615                    H6 (48)           H6 (48) AGM
Buick Wildcat
1969-64   V8/7.0L                                            325                    27
1966-63   V8/6.6L                                            325                    27
1970      V8/7.5L                                            325                    27
1962      V8/6.6L                                            350                    27
Cadillac Allanté
1992-89 V8/4.5L                                              77050                  78
1993    V8/4.6L                                              77050                  78
Cadillac ATS
2019-13   L4/2.0L    w/o Start/Stop                          70033, 50              H6 (48) AGM       —
2019-13   L4/2.0L    w/Start/Stop                            73033, 50              H7 (94R) AGM      —
2019-13   V6/3.6L    w/o Start/Stop                          70033, 50              H6 (48) AGM       —
2019-13   V6/3.6L    w/Start/Stop                            73033, 50              H7 (94R) AGM      —
2017-16   L4/2.5L    w/Start/Stop                            73033, 50              H7 (94R) AGM      —
2017-16   V6/3.6L    ATS-V                                   56033, 50              —                 —
2017-13   L4/2.5L    w/o Start/Stop                          70033, 50              H6 (48) AGM       —
2016-15   L4/2.0L                                            70033, 50              H6 (48) AGM       —
2016-15   L4/2.5L                                            70033, 50              H6 (48) AGM       —
2016-15   V6/3.6L                                            70033, 50              H6 (48) AGM       —
2016-13   L4/2.0L    Start/Stop                              73033, 50              H7 (94R) AGM      —
2016-13   L4/2.5L    Start/Stop                              73033, 50              H7 (94R) AGM      —
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   41
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Cadillac ATS (continued)
   2015-13 V6/3.6L         Start/Stop                                       73033, 50              H7 (94R) AGM      —
   2018    L4/2.0L         w/o Start/Stop                                   700                    H6 (48)           H6 (48) AGM
   2018    L4/2.0L         w/Start/Stop                                     730                    H7 (94R)          H7 (94R) AGM
   Cadillac Brougham, Fleetwood
   1996-95     V8/5.7L                                                      770                    78
   1994-92     V8/5.7L                                                      770                    78
   1992-91     V8/4.9L                                                      540                    78
   1992-91     V8/4.9L                                                      770                    78
   1991        V8/5.0L                                                      730                    78
   1991        V8/5.7L                                                      730                    78
   1990        V8/5.0L                                                      730                    78
   1990        V8/5.0L                                                      730                    78
   Cadillac Catera
   2001-97 V6/3.0L                                                          600                    —
   Cadillac Commercial Chassis
   1996-92 V8/5.7L                                                          770                    78
   1993-91 V8/4.9L                                                          770                    78
   1990-89 V8/4.5L                                                          770                    78
   Cadillac CT4
   2021-20     L4/2.0L     w/o Start/Stop                                   70033, 50              H6 (48) AGM       —
   2021-20     L4/2.0L     w/Start/Stop                                     73033, 50              H7 (94R) AGM      —
   2021-20     L4/2.7L     w/o Start/Stop                                   70033, 50              H6 (48) AGM       —
   2021-20     L4/2.7L     w/Start/Stop                                     73033, 50              H7 (94R) AGM      —
   Cadillac CT5
   2021-20     L4/2.0L     w/o Start/Stop                                   70033, 50              H6 (48) AGM       —
   2021-20     L4/2.0L     w/Start/Stop                                     73033, 50              H7 (94R) AGM      —
   2021-20     V6/3.0L     w/o Start/Stop                                   70033, 50              H6 (48) AGM       —
   2021-20     V6/3.0L     w/Start/Stop                                     73033, 50              H7 (94R) AGM      —
   2022        L4/2.0L     w/Start/Stop                                     73033, 50              H7 (94R) AGM      —
   2022        V8/6.2L     w/o Start/Stop                                   70033, 50              H6 (48) AGM       —
   Cadillac CT6
   2020-19     V6/3.6L                                                      90033, 50              H8 (49) AGM       —
   2020-19     V8/4.2L                                                      90033, 50              H8 (49) AGM       —
   2018-17     L4/2.0L     Plug in Hybrid                                   73033, 50              H7 (94R) AGM      —
   2018-17     V6/3.0L     Start/Stop                                       85033, 50              H8 (49) AGM       —
   2018-17     V6/3.6L     Start/Stop                                       85033, 50              H8 (49) AGM       —
   2018-16     L4/2.0L     Start/Stop, Gas                                  85033, 50              H8 (49) AGM       —
   2018-16     V6/3.0L     Start/Stop                                       85033                  H8 (49) AGM       —
   2018-16     V6/3.6L     Start/Stop                                       85033                  H8 (49) AGM       —
   2019        L4/2.0L                                                      73033, 50              H7 (94R) AGM      —
   2019        V6/3.0L                                                      73033, 50              H7 (94R) AGM      —
   2016        L4/2.0L     Start/Stop                                       85033                  H8 (49) AGM       —
   Cadillac CTS
   2019-16     L4/2.0L     Start/Stop                                       73033, 50              H7 (94R) AGM      —
   2019-16     V6/3.6L     Start/Stop                                       73033, 50              H7 (94R) AGM      —
   2019-16     V8/6.2L     Start/Stop                                       73033, 50              H7 (94R) AGM      —
   2015-14     L4/2.0L                                                      66050                  H6 (48)           H6 (48) AGM
   2015-14     L4/2.0L     w/o Start/Stop                                   66050                  H6 (48)           H6 (48) AGM
   2015-14     L4/2.0L     w/Start/Stop                                     73033, 50              H7 (94R) AGM      —
   2015-14     V6/3.6L     w/o Start/Stop                                   66050                  H6 (48)           H6 (48) AGM
   2015-14     V6/3.6L     w/Start/Stop                                     73033, 50              H7 (94R) AGM      —
   2015-14     V8/6.2L     w/o Start/Stop                                   66050                  H6 (48)           H6 (48) AGM
   2015-14     V8/6.2L     w/Start/Stop                                     73033, 50              H7 (94R) AGM      —
   2015-10     V6/3.6L                                                      66050                  H6 (48)           H6 (48) AGM
   2015-10     V8/6.2L                                                      66050                  H6 (48)           H6 (48) AGM
   2014-10     V6/3.0L                                                      66050                  H6 (48)           H6 (48) AGM
   2009-08     V6/3.6L                                                      73050                  H6 (48)           H6 (48) AGM
   2007-06     V8/6.0L     V Series                                         540                    —
   2007-05     V6/2.8L                                                      540                    —
   2007-04     V6/3.6L                                                      540                    —
   2005-04     V8/5.7L                                                      540                    —
   2004-03     V6/3.2L                                                      540                    —
   2014        V6/3.0L     Start/Stop                                       73033, 50              H7 (94R) AGM      —
   2009        V8/6.2L                                                      73050                  H6 (48)           H6 (48) AGM
   Cadillac DeVille
   2005-00 V8/4.6L                                                          80050                  79
   1999-94 V8/4.6L                                                          770                    78
   1995-94 V8/4.9L                                                          770                    78
   1993-91 V8/4.9L                                                          540                    78
   1993-91 V8/4.9L                                                          770                    78
   See page 158 for Footnotes. Selection may vary by warehouse.

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42                                                       Automotive/Light Truck
  YEAR      ENGINE                             OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                        CCA/RATING             (NOTES)            (NOTES)

Cadillac DTS
2011-09 V8/4.6L                                                   72050                  H7 (94R)          H7 (94R) AGM
2007-06 V8/4.6L                                                   80050                  79
2008    V8/4.6L                                                   73050                  H6 (48)           H6 (48) AGM
Cadillac Eldorado
2000-93 V8/4.6L                                                   770                    78
1993-91 V8/4.9L                                                   770                    78
1990    V8/4.5L                                                   730                    78
Cadillac ELR
2016-14 L4/1.4L      Hybrid                                       52033, 50              —                 —
Cadillac Escalade
2022-21   L6/3.0L    Dsl                                          85033, 50              H8 (49) AGM
2020-15   V8/6.2L                                                 720                    H7 (94R)          H7 (94R) AGM
2014-12   V8/6.2L                                                 660                    H6 (48)           H6 (48) AGM
2014-09   V8/6.2L    Opt                                          730                    H6 (48)           H6 (48) AGM
2013-12   V8/6.0L    Hybrid                                       660                    H6 (48)           H6 (48) AGM
2013-09   V8/6.0L    Hybrid, Opt                                  730                    H6 (48)           H6 (48) AGM
2011-09   V8/6.0L    Hybrid                                       615                    H6 (48)           H6 (48) AGM
2011-07   V8/6.2L                                                 615                    H6 (48)           H6 (48) AGM
2006-02   V8/6.0L                                                 600                    78
2005-02   V8/5.3L                                                 600                    78
2000-99   V8/5.7L                                                 600                    78
2000-99   V8/5.7L    Opt                                          690                    78
2022      V8/6.2L                                                 85033, 50              H8 (49) AGM
2021      V8/6.2L                                                 73033, 50              H7 (94R) AGM      —
Cadillac Escalade ESV
2022-21   L6/3.0L    Dsl                                          85033, 50              H8 (49) AGM
2020-15   V8/6.2L                                                 720                    H7 (94R)          H7 (94R) AGM
2014-12   V8/6.2L                                                 660                    H6 (48)           H6 (48) AGM
2014-09   V8/6.2L    Opt                                          730                    H6 (48)           H6 (48) AGM
2011-07   V8/6.2L                                                 615                    H6 (48)           H6 (48) AGM
2006-03   V8/6.0L                                                 600                    78
2022      V8/6.2L                                                 85033, 50              H8 (49) AGM
2021      V8/6.2L                                                 73033, 50              H7 (94R) AGM      —
Cadillac Escalade EXT
2013-12   V8/6.2L                                                 660                    H6 (48)           H6 (48) AGM
2013-09   V8/6.2L    Opt                                          730                    H6 (48)           H6 (48) AGM
2011-07   V8/6.2L                                                 615                    H6 (48)           H6 (48) AGM
2006-03   V8/6.0L                                                 600                    78
Cadillac Fleetwood (See Brougham, Fleetwood)
Cadillac Seville
2004-98   V8/4.6L                                                 800                    79
1997-93   V8/4.6L                                                 770                    78
1993-91   V8/4.9L                                                 770                    78
1990      V8/4.5L                                                 730                    78
Cadillac Sixty Special
1993      V8/4.9L                                                 770                    78
Cadillac SRX
2016-12   V6/3.6L                                                 660                    H6 (48)           H6 (48) AGM
2011-10   V6/2.8L                                                 615                    H6 (48)           H6 (48) AGM
2011-10   V6/3.0L                                                 615                    H6 (48)           H6 (48) AGM
2009-08   V6/3.6L                                                 730                    H6 (48)           H6 (48) AGM
2009-08   V8/4.6L                                                 730                    H6 (48)           H6 (48) AGM
2007-04   V6/3.6L                                                 540                    —
2007-04   V8/4.6L                                                 540                    —
Cadillac STS
2011-10   V6/3.6L                                                 660                    H6 (48)           H6 (48) AGM
2009-08   V6/3.6L                                                 730                    H6 (48)           H6 (48) AGM
2009-08   V8/4.4L                                                 730                    H6 (48)           H6 (48) AGM
2009-08   V8/4.6L                                                 730                    H6 (48)           H6 (48) AGM
2007-06   V8/4.4L                                                 540                    —
2007-05   V6/3.6L                                                 540                    —
2007-05   V8/4.6L                                                 540                    —
2010      V8/4.6L                                                 660                    H6 (48)           H6 (48) AGM
Cadillac XLR
2009-08 V8/4.4L                                                   590                    —
2009-08 V8/4.6L                                                   590                    —
2007-06 V8/4.4L                                                   59050                  90 (T5)
                                                                 See page 158 for Footnotes. Selection may vary by warehouse.

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                                                                              Chevrolet
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   Automotive/Light Truck                                                                                                   43
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Cadillac XLR (continued)
   2007-06 V8/4.6L                                                          59050                  90 (T5)
   2005-04 V8/4.6L                                                          59050                  —
   Cadillac XT4
   2022-19 L4/2.0L                                                          73033, 50              H7 (94R) AGM      —
   Cadillac XT5
   2022-20 L4/2.0L                                                          73033, 50              H7 (94R) AGM      —
   2022-17 V6/3.6L                                                          73033, 50              H7 (94R) AGM      —
   Cadillac XT6
   2022-21 L4/2.0L                                                          73033, 50              H7 (94R) AGM      —
   2022-20 V6/3.6L                                                          73033, 50              H7 (94R) AGM      —
   Cadillac XTS
   2019-13 V6/3.6L                                                          660                    H6 (48)           H6 (48) AGM
   Chevrolet Astro
   2005-94     V6/4.3L                                                      600                    78
   2005-02     V6/4.3L     Opt                                              770                    78
   1993-91     V6/4.3L                                                      630                    78
   1990-87     L4/2.5L                                                      525                    75
   1990-87     V6/4.3L                                                      525                    75
   1990-87     V6/4.3L     Opt                                              630                    78
   1989-87     L4/2.5L     Opt                                              630                    78
   1986-85     L4/2.5L     Opt                                              540                    78
   1986-85     V6/4.3L                                                      500                    75
   Chevrolet Avalanche
   2013-09     V8/5.3L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2013-07     V8/5.3L     w/o HD                                           615                    H6 (48)           H6 (48) AGM
   2009-07     V8/6.0L     w/o HD                                           615                    H6 (48)           H6 (48) AGM
   2009        V8/6.0L     Opt                                              730                    H6 (48)           H6 (48) AGM
   Chevrolet Avalanche 1500
   2006-02 V8/5.3L                                                          600                    78
   Chevrolet Avalanche 2500
   2006-02 V8/8.1L                                                          600                    78
   Chevrolet Aveo, Aveo5
   2011-04 L4/1.6L                                                          550                    86
   Chevrolet Bel Air
   1965-55     L6/3.8L     12-Volt                                          350                    24
   1957-55     L6/3.9L                                                      350                    24
   1957-55     L6/3.9L     12-Volt                                          350                    24
   1957-55     V8/4.3L                                                      350                    24
   1957-55     V8/4.3L     12-Volt                                          350                    24
   Chevrolet Beretta, Corsica
   1996-95     V6/3.1L                                                      600                    75
   1996-93     L4/2.2L     Opt                                              600                    75
   1996-92     L4/2.2L                                                      525                    75
   1994-93     L4/2.3L                                                      600                    75
   1994-93     V6/3.1L     Opt                                              600                    75
   1994-90     V6/3.1L                                                      525                    75
   1992-90     L4/2.3L                                                      630                    75
   1991-90     L4/2.2L     HD w/AT                                          630                    75
   1991-90     L4/2.2L     MT                                               525                    75
   1991-90     V6/3.1L     Opt                                              630                    75
   Chevrolet Blazer
   2022-20     L4/2.0L                                                      73033, 50              H7 (94R) AGM      —
   2022-19     L4/2.5L                                                      73033, 50              H7 (94R) AGM      —
   2022-19     V6/3.6L                                                      73033, 50              H7 (94R) AGM      —
   2005-95     V6/4.3L                                                      525                    75
   2005-95     V6/4.3L     Opt                                              690                    —
   1993-91     V8/5.7L                                                      630                    78
   1993-91     V8/5.7L     Auxiliary Battery                                540                    78
   1991-90     V8/6.2L     Dsl                                              540                    78
   1990-87     V8/5.7L                                                      525                    75
   1994        V8/5.7L                                                      600                    78
   1994        V8/6.5L     Dsl                                              770                    78
   1990        V8/5.7L     Opt                                              630                    78
   Chevrolet Bolt EUV
   2022                    Electric                                         52033                  —                 —
   Chevrolet Bolt EV
   2022-17                 Electric                                         52033                  —                 —
   See page 158 for Footnotes. Selection may vary by warehouse.

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44                                                       Automotive/Light Truck
  YEAR      ENGINE                             OPTIONS                    ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                              CCA/RATING             (NOTES)          (NOTES)

Chevrolet C/K, R/V Pickups
2000-99   V8/5.7L    Opt                                                690                    78
2000-99   V8/6.5L    Dsl, HD                                            690                    78
2000-99   V8/7.4L    Opt                                                690                    78
2000-97   V8/6.5L    Dsl                                                600                    78
2000-94   V8/5.7L                                                       600                    78
2000-94   V8/7.4L                                                       600                    78
1999-97   V8/5.0L    Opt                                                690                    78
1999-94   V8/5.0L                                                       600                    78
1998-94   V6/4.3L                                                       600                    78
1996-94   V8/6.5L    Dsl                                                770                    78
1993-92   V8/6.5L    Dsl                                                570                    75
1993-91   V6/4.3L                                                       630                    78
1993-91   V8/5.0L                                                       630                    78
1993-91   V8/5.0L    Auxiliary Battery                                  540                    78
1993-91   V8/5.7L    Auxiliary Battery                                  540                    78
1993-91   V8/5.7L    Primary Battery                                    630                    78
1993-90   V8/6.2L    Dsl                                                570                    75
1993-90   V8/7.4L                                                       630                    78
1993-90   V8/7.4L    Auxiliary Battery                                  540                    78
1991-88   V8/6.2L    Dsl                                                5702                   75
1990-88   V6/4.3L                                                       525                    75
1990-88   V8/5.7L                                                       525                    75
1999      V8/5.0L    PPkg, HD                                           770                    78
1999      V8/5.7L    HD or PPkg                                         770                    78
1999      V8/5.7L    PPkg, HD                                           770                    78
1999      V8/6.5L    Dsl & Opt                                          690                    78
1999      V8/7.4L    HD or PPkg                                         770                    78
1999      V8/7.4L    PPkg, HD                                           770                    78
1999      V8/7.4L    Primary Battery                                    600                    78
1991      V8/5.7L                                                       630                    78
1991      V8/6.2L    Dsl                                                540                    78
1991      V8/6.2L    Dsl                                                5402                   78
1990      V8/5.0L                                                       525                    75
1990      V8/5.0L    Opt                                                630                    78
1990      V8/5.7L    Opt                                                630                    78
1990      V8/6.2L    Auxiliary Battery                                  540                    78
1990      V8/6.2L    Auxiliary, Dsl                                     540                    78
Chevrolet C/K, R/V Suburban
1999-97   V8/6.5L    Dsl                                                600                    78
1999-94   V8/5.7L                                                       600                    78
1999-94   V8/7.4L                                                       600                    78
1996-94   V8/6.5L    Dsl                                                770                    78
1993-91   V8/5.7L                                                       630                    78
1993-91   V8/5.7L    Auxiliary Battery                                  540                    78
1993-90   V8/7.4L                                                       630                    78
1993-89   V8/7.4L    Auxiliary Battery                                  540                    78
1991-90   V8/6.2L    Dsl                                                5402                   78
1991-89   V8/6.2L    Dsl                                                5702                   75
1990-89   V8/5.7L                                                       525                    75
1999      V8/5.7L    HD or PPkg                                         770                    78
1999      V8/5.7L    Opt                                                690                    78
1999      V8/5.7L    PPkg, HD                                           770                    78
1999      V8/6.5L    Dsl & Opt                                          690                    78
1999      V8/6.5L    Dsl, HD                                            690                    78
1999      V8/7.4L    HD or PPkg                                         770                    78
1999      V8/7.4L    Opt                                                690                    78
1999      V8/7.4L    PPkg, HD                                           770                    78
1999      V8/7.4L    Primary Battery                                    600                    78
1990      V8/5.7L    Opt                                                630                    78
1990      V8/6.2L    Auxiliary, Dsl                                     540                    78
Chevrolet Camaro
2022-16   L4/2.0L                                                       70033, 50              H6 (48) AGM        —
2022-16   V6/3.6L                                                       70033, 50              H6 (48) AGM        —
2022-16   V8/6.2L                                                       70033, 50              H6 (48) AGM        —
2015-14   V8/7.0L                                                       73050                  H6 (48)            H6 (48) AGM
2015-10   V6/3.6L                                                       72050                  H7 (94R)           H7 (94R) AGM
2015-10   V8/6.2L                                                       72050                  H7 (94R)           H7 (94R) AGM
2002-95   V6/3.8L                                                       690                    —
2002-93   V8/5.7L                                                       525                    75
1995-93   V6/3.4L                                                       525                    75
1992-90   V6/3.1L                                                       525                    75
1992-90   V8/5.0L    AT                                                 570                    75
                                                                       See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                  45
      YEAR        ENGINE                                            OPTIONS     ORIGINAL EQUIPMENT     GROUP SIZE       ALTERNATE SIZE
                                                                                    CCA/RATING          (NOTES)            (NOTES)

   Chevrolet Camaro (continued)
   1992-90     V8/5.0L     MT                                                 525                    75
   1992-87     V8/5.7L                                                        630                    75
   1968-67     L6/4.1L                                                        250                    26R
   1968-67     V8/4.9L                                                        350                    24
   1968-67     V8/5.3L                                                        350                    24
   1969        L6/3.8L     Late                                               275                    75
   1969        L6/4.1L     Late                                               275                    75
   1969        V8/4.9L                                                        350                    78
   1969        V8/5.0L                                                        275                    75
   1969        V8/5.0L     Ex 302                                             350                    78
   1969        V8/5.3L                                                        350                    78
   1969        V8/5.4L                                                        350                    78
   1969        V8/5.7L                                                        350                    78
   1969        V8/6.5L                                                        350                    78
   1969        V8/7.0L                                                        350                    78
   1968        L6/3.8L                                                        250                    26R
   1968        V8/5.4L                                                        350                    24
   1968        V8/5.7L                                                        350                    24
   1968        V8/5.7L                                                        380                    24
   1968        V8/6.5L                                                        350                    24
   1967        V8/6.5L                                                        325                    24
   Chevrolet Caprice, Impala
   2020-19     L4/2.5L     w/Start/Stop                                       85033                  H7 (94R) AGM   —
   2020-19     V6/3.6L     w/o Start/Stop, 2020 All                           615                    H6 (48)        H6 (48) AGM
   2020-18     L4/2.5L     Auxiliary for Start/Stop                           18033, 50              —
   2019-14     L4/2.5L     w/o Start/Stop                                     615                    H6 (48)        H6 (48) AGM
   2017-16     L4/2.5L     Impala Auxiliary for Start/Stop                    15533, 50              —
   2017-16     L4/2.5L     Start/Stop                                         73033                  H7 (94R) AGM   —
   2017-14     V6/3.6L     Caprice w/PPkg, Opt, Auxiliary Battery             70033, 50              H6 (48) AGM    —
   2017-14     V6/3.6L     Caprice w/PPkg, Primary Battery                    70033, 50              H6 (48) AGM    —
   2017-14     V6/3.6L     Impala Ex PPkg                                     615                    H6 (48)        H6 (48) AGM
   2017-14     V8/6.0L     Caprice w/PPkg, Opt, Auxiliary Battery             70033, 50              H6 (48) AGM    —
   2017-14     V8/6.0L     Caprice w/PPkg, Primary Battery                    70033, 50              H6 (48) AGM    —
   2017-12     V6/3.6L     Impala w/PPkg                                      720                    34
   2016-15     V8/6.0L                                                        70033, 50              H6 (48) AGM    —
   2016-14     L4/2.5L                                                        615                    H6 (48)        H6 (48) AGM
   2015-14     L4/2.5L     Auxiliary, w/Start/Stop                            15533, 50              —
   2015-14     L4/2.5L     w/Start/Stop                                       85033                  H8 (49) AGM    —
   2014-12     V6/3.6L     Impala Ex PPkg                                     600                    34
   2014-11     V8/6.0L     Caprice w/PPkg                                     76550                  H7 (94R)       H7 (94R) AGM
   2013-12     V6/3.6L     Caprice w/PPkg                                     76550                  H7 (94R)       H7 (94R) AGM
   2011-10     V6/3.9L     Ex PPkg                                            600                    34
   2011-10     V6/3.9L     w/PPkg                                             720                    34
   2011-08     V6/3.5L                                                        600                    34
   2009-08     V8/5.3L                                                        590                    —
   2007-06     V6/3.5L                                                        690                    34
   2007-06     V6/3.9L                                                        750                    34
   2007-06     V8/5.3L     SS                                                 625                    —
   2005-00     V6/3.4L                                                        600                    78
   2004-00     V6/3.8L                                                        600                    78
   2003-00     V6/3.4L     Opt                                                690                    78
   2003-00     V6/3.8L     Opt                                                690                    78
   1996-95     V8/4.3L                                                        600                    78
   1996-95     V8/5.7L                                                        600                    78
   1996-95     V8/5.7L     HD, SEO                                            770                    78
   1993-92     V6/4.3L                                                        730                    78
   1993-90     V8/5.0L                                                        525                    75
   1993-86     V8/5.7L                                                        730                    78
   1990-85     V6/4.3L                                                        630                    75
   1989-86     V8/5.0L                                                        525                    75
   1989-86     V8/5.0L     Opt                                                570                    75
   1987-85     V8/5.7L     Opt                                                630                    75
   1985-84     V8/5.0L                                                        500                    75
   1985-84     V8/5.0L     Opt                                                630                    75
   1985-84     V8/5.7L                                                        500                    75
   1985-84     V8/5.7L     Dsl                                                4052                   75
   1985-83     V6/3.8L                                                        390                    75
   1985-83     V6/3.8L     Opt                                                550                    78
   1985-83     V8/5.7L     Dsl & Opt                                          550                    78
   1984-83     V6/3.8L     Opt                                                500                    75
   1982-81     V6/3.8L     HBL & AC                                           350                    75
   1982-81     V8/4.4L     Opt                                                465                    75
   1982-81     V8/5.0L                                                        350                    75
   See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                              Costco_002010
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46                                                               Automotive/Light Truck
  YEAR      ENGINE                                     OPTIONS                    ORIGINAL EQUIPMENT       GROUP SIZE      ALTERNATE SIZE
                                                                                      CCA/RATING            (NOTES)           (NOTES)

Chevrolet Caprice, Impala (continued)
1982-81   V8/5.0L    Opt                                                        465                    75
1982-81   V8/5.7L    Dsl or HD                                                  4652                   75
1982-81   V8/5.7L    Dsl, HD                                                    5502                   78
1982-81   V8/5.7L    Opt                                                        5502                   78
1982-79   V8/5.7L                                                               350                    75
1980-78   V8/5.0L                                                               325                    75
1980-78   V8/5.0L    Opt                                                        450                    78
1980-78   V8/5.7L                                                               325                    75
1980-78   V8/5.7L    Opt                                                        450                    78
1980-75   V8/5.7L    Opt                                                        465                    78
1979-78   L6/4.1L                                                               325                    75
1979-78   L6/4.1L    Opt                                                        450                    78
1977-73   L6/4.1L                                                               350                    75
1977-71   V8/5.0L                                                               450                    78
1977-70   V8/5.7L                                                               450                    78
1976-70   V8/7.4L                                                               450                    78
1975-70   V8/6.6L                                                               450                    78
1972-70   L6/4.1L                                                               450                    78
1970-69   V8/5.7L    w/AC                                                       325                    24
1970-65   L6/4.1L    w/o AC                                                     250                    26R
1969-68   V8/5.0L    w/AC                                                       325                    24
1969-65   V8/6.5L    w/AC                                                       325                    24
1969-64   V8/5.4L    w/AC                                                       325                    24
1969-63   V8/5.3L    w/AC                                                       325                    24
1969-63   V8/7.0L    w/AC                                                       325                    24
1967-66   L6/4.1L                                                               250                    26R
1967-66   L6/4.1L                                                               325                    24
1967-63   V8/4.6L    w/AC                                                       325                    24
1965-63   L6/3.8L    w/o AC                                                     250                    26R
1965-63   V8/6.7L    w/AC                                                       325                    24
1965-58   L6/3.8L                                                               325                    24
1962-61   V8/6.7L                                                               325                    24
1962-58   V8/4.6L                                                               325                    24
1961-58   V8/5.7L                                                               325                    24
2019      V6/3.6L    Auxiliary for Start/Stop                                   18033, 50              —
2019      V6/3.6L    w/Start/Stop                                               85033                  H7 (94R) AGM      —
2018      L4/2.5L    Start/Stop                                                 85033                  H7 (94R) AGM      —
2018      V6/3.6L                                                               615                    H6 (48)           H6 (48) AGM
2016      V8/6.0L    Caprice w/PPkg                                             700                    H7 (94R)          H7 (94R) AGM
2015      V8/6.0L    Caprice                                                    70033, 50              H6 (48) AGM       —
2014      L4/2.4L    Hybrid                                                     525                    H5 (47)           H5 (47) AGM
2014      L4/2.4L    Hybrid                                                     615                    H6 (48)           H6 (48) AGM
2014      V6/3.6L    Caprice Auxiliary Battery                                  70033, 50              H6 (48) AGM       —
2014      V6/3.6L    Caprice Primary Battery                                    70033, 50              H6 (48) AGM       —
2009      V6/3.9L                                                               600                    34
2008      V6/3.9L                                                               720                    34
2005      V6/3.8L                                                               770                    78
2005      V6/3.8L    S/C                                                        600                    78
2004      V6/3.8L    S/C                                                        690                    78
1994      V8/4.3L                                                               525                    75
1994      V8/5.7L                                                               770                    78
1987      V8/5.7L    SEO                                                        730                    78
1984      V6/3.8L                                                               405                    75
1983      V6/3.8L                                                               355                    75
1983      V8/5.0L                                                               355                    75
1983      V8/5.0L    Opt                                                        500                    75
1983      V8/5.7L                                                               355                    75
1983      V8/5.7L    Dsl                                                        500                    75
1983      V8/5.7L    Dsl or HD                                                  500                    75
1983      V8/5.7L    Opt                                                        500                    75
1982      V6/3.8L                                                               400                    75
1982      V8/4.4L                                                               350                    75
1982      V8/5.7L    Dsl                                                        4652                   75
1982      V8/5.7L    Opt                                                        465                    75
1981      V6/3.8L    Opt                                                        465                    75
1981      V6/3.8L    Opt                                                        550                    78
1981      V8/4.4L                                                               550                    78
1981      V8/5.7L                                                               350                    75
1981      V8/5.7L                                                               465                    78
1980      V6/3.8L                                                               325                    75
1980      V6/3.8L    Opt                                                        450                    78
1980      V8/4.4L                                                               325                    75
                                                                               See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                              Costco_002011
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   Automotive/Light Truck                                                                                               47
      YEAR        ENGINE                                          OPTIONS    ORIGINAL EQUIPMENT        GROUP SIZE    ALTERNATE SIZE
                                                                                 CCA/RATING             (NOTES)         (NOTES)

   Chevrolet Caprice, Impala (continued)
   1980        V8/4.4L     Opt                                              450                   78
   1980        V8/5.7L     Opt                                              5402                  78
   1979        V8/5.7L     Opt                                              505                   78
   1976        V8/5.7L                                                      350                   75
   1976        V8/6.6L                                                      350                   75
   1976        V8/7.4L                                                      350                   75
   1975        V8/5.7L                                                      350                   78
   1970        V8/6.6L     w/AC                                             325                   24
   1970        V8/7.4L     w/AC                                             325                   24
   1966        L6/4.1L     AC                                               325                   24
   1963        V8/7.0L                                                      350                   26R
   1963        V8/7.0L     AC                                               350                   24
   1962        V8/5.3L                                                      325                   24
   Chevrolet Captiva Sport
   2015-12 L4/2.4L                                                          615                   H6 (48)           H6 (48) AGM
   2012    V6/3.0L                                                          660                   H6 (48)           H6 (48) AGM
   Chevrolet Cavalier
   2005-92     L4/2.2L                                                      525                   75
   2002-96     L4/2.4L                                                      600                   75
   1994-92     V6/3.1L                                                      525                   75
   1991-90     L4/2.2L                                                      630                   75
   1991-90     V6/3.1L                                                      630                   75
   2002        L4/2.2L                                                      600                   75
   1995        L4/2.3L                                                      600                   75
   Chevrolet Celebrity
   1990-85 L4/2.5L                                                          630                   75
   1990    V6/3.1L                                                          630                   75
   Chevrolet Chevelle
   1973-71     L6/4.1L                                                      325                   75
   1973-71     L6/4.1L     Opt                                              450                   78
   1973-71     V8/5.0L                                                      325                   75
   1973-71     V8/5.0L     Opt                                              450                   78
   1973-71     V8/5.7L                                                      325                   75
   1973-71     V8/5.7L     Opt                                              450                   78
   1973-71     V8/6.6L                                                      325                   75
   1973-71     V8/6.6L     Opt                                              450                   78
   1973-71     V8/7.4L                                                      325                   75
   1973-71     V8/7.4L     Opt                                              450                   78
   1970-67     L6/4.1L                                                      250                   26R
   1969-68     V8/5.0L     Incl Malibu                                      325                   24
   1969-68     V8/5.7L     Incl Malibu                                      325                   24
   1969-67     L6/4.1L     Opt                                              325                   24
   1969-65     V8/6.5L     Incl Malibu                                      325                   24
   1969-64     L6/3.8L                                                      250                   26R
   1969-64     L6/3.8L     Opt                                              325                   24
   1968-64     V8/5.3L                                                      350                   24
   1967-65     V8/5.4L                                                      N/A                   24
   1967-64     V8/4.6L     Incl Malibu                                      325                   24
   1970        V8/5.0L                                                      325                   24
   1970        V8/5.7L                                                      325                   24
   1970        V8/6.5L                                                      325                   24
   1970        V8/6.6L                                                      325                   24
   1970        V8/7.4L                                                      450                   78
   1968        V8/5.4L                                                      350                   24
   1966        L6/3.2L                                                      250                   26R
   1966        L6/3.2L     AC                                               450                   24
   1966        L6/3.8L     AC or HD                                         325                   24
   1965        L6/3.2L                                                      450                   24
   Chevrolet Chevy II
   1968-66 V8/5.3L                                                          275                   26R
   1968-65 V8/5.3L         HD or w/AC                                       380                   24
   1968-65 V8/5.4L         HD or w/AC                                       380                   24
   1967-66 V8/4.6L                                                          275                   26R
   1967-63 V8/4.6L         HD or w/AC                                       380                   24
   1968       V8/5.0L                                                       275                   26R
   1968       V8/5.0L      HD or w/AC                                       380                   24
   1968       V8/5.7L      HD or w/AC                                       380                   24
   1968       V8/6.5L      HD or w/AC                                       380                   24
   1966       V8/5.4L                                                       275                   26R
   See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                           Costco_002012
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48                                                                  Automotive/Light Truck
  YEAR      ENGINE                                        OPTIONS                    ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                                         CCA/RATING             (NOTES)          (NOTES)

Chevrolet City Express
2018-15 L4/2.0L                                                                    500                    121R
2017-15 L4/2.0L                                                                    600                    121R
2015    L4/2.0L                                                                    N/A                    121R
Chevrolet Classic
2005-04 L4/2.2L                                                                    525                    75
Chevrolet Cobalt
2010-09   L4/2.0L                                                                  59050                  90 (T5)
2010-08   L4/2.2L                                                                  59050                  90 (T5)
2008-05   L4/2.0L                                                                  60050                  90 (T5)
2007-06   L4/2.4L                                                                  60050                  90 (T5)
2007-05   L4/2.2L                                                                  60050                  90 (T5)
2008      L4/2.4L                                                                  59050                  90 (T5)
Chevrolet Colorado
2022-16   L4/2.8L    Dsl                                                           85033                  H8 (49) AGM       —
2022-15   L4/2.5L                                                                  615                    H6 (48)           H6 (48) AGM
2022-15   V6/3.6L                                                                  615                    H6 (48)           H6 (48) AGM
2012-10   V8/5.3L                                                                  59011, 40              86
2012-08   L4/2.9L                                                                  59040                  86
2012-08   L5/3.7L                                                                  59040                  86
2006-04   L4/2.8L                                                                  64011, 40              —
2006-04   L5/3.5L                                                                  59011, 40              —
2007      L4/2.9L                                                                  64011, 40              —
2007      L5/3.7L                                                                  59011, 40              —
Chevrolet Commercial Chassis
1994-91 V8/5.7L                                                                    690                    78
1992-91 V8/5.0L                                                                    690                    78
1992    V6/4.3L                                                                    690                    78
Chevrolet Corsica (See Beretta, Corsica)
Chevrolet Corvette
2022-20   V8/6.2L                                                                  730                    H6 (48)            H6 (48) AGM
2019-14   V8/6.2L                                                                  61550                  H6 (48)            H6 (48) AGM
2013-09   V8/6.2L    Dry Sump Sys Pkg (Z52)                                        59050                  90 (T5)
2013-09   V8/6.2L    Ex Dry Sump System Pkg (Z52)                                  590                    —
2012-09   V8/7.0L    Z06                                                           59050                  90 (T5)
2008-07   V8/7.0L    Z06                                                           60050                  90 (T5)
2000-97   V8/5.7L                                                                  600                    78
1996-90   V8/5.7L    32 Valve                                                      690                    —
1996-89   V8/5.7L    16 Valve                                                      525                    75
1987-86   V8/5.7L                                                                  630                    75
1985-84   V8/5.7L                                                                  500                    75
1982-81   V8/5.7L                                                                  465                    75
1980-69   V8/5.7L                                                                  325                    75
1980-69   V8/5.7L    Opt                                                           450                    78
1974-70   V8/7.4L                                                                  325                    75
1974-70   V8/7.4L    Opt                                                           450                    78
1968-66   V8/7.0L                                                                  32550                  —
1968-62   V8/5.3L                                                                  325                    24
1961-57   V8/4.6L                                                                  325                    24
2013      V8/7.0L    Dry Sump Sys Pkg (Z52)                                        59050                  90 (T5)
2013      V8/7.0L    Ex Dry Sump System Pkg (Z52)                                  590                    —
2007      V8/6.0L                                                                  60050                  90 (T5)
2006      V8/6.0L                                                                  590                    90 (T5)
2006      V8/7.0L                                                                  59050                  90 (T5)
2005      V8/6.0L                                                                  590                    86
2004      V8/5.7L                                                                  590                    86
2003      V8/5.7L                                                                  60033                  —
2002      V8/5.7L                                                                  52533                  —
2001      V8/5.7L                                                                  50033                  —
1988      V8/5.7L                                                                  525                    75
1980      V8/5.0L                                                                  325                    75
1980      V8/5.0L    Opt                                                           450                    78
1975      V8/5.7L                                                                  420                    78
1969      V8/7.0L                                                                  325                    75
1969      V8/7.0L    Opt                                                           450                    78
1968      V8/5.4L                                                                  325                    24
1965      V8/6.5L                                                                  325                    24
1956      V8/4.3L                                                                  325                    24
1955      V8/4.3L                                                                  N/A                    24
1953      L6/3.9L                                                                  N/A                    —
                                                                                  See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                 Costco_002013
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   Automotive/Light Truck                                                                                             49
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT     GROUP SIZE    ALTERNATE SIZE
                                                                                  CCA/RATING          (NOTES)         (NOTES)

   Chevrolet Cruze
   2019-17     L4/1.6L     Dsl                                              72050                  H7 (94R)       H7 (94R) AGM
   2018-16     L4/1.4L     w/o Start/Stop                                   52550                  H5 (47)        H5 (47) AGM
   2018-16     L4/1.4L     w/o Start/Stop, Opt                              61550                  H6 (48)        H6 (48) AGM
   2018-16     L4/1.4L     w/Start/Stop                                     73033, 50              H7 (94R) AGM   —
   2015-11     L4/1.4L                                                      525                    H5 (47)        H5 (47) AGM
   2015-11     L4/1.8L                                                      525                    H5 (47)        H5 (47) AGM
   2019        L4/1.4L                                                      80033, 50              H7 (94R) AGM   —
   2016        L4/1.4L     Limited                                          73033                  H7 (94R) AGM   —
   2016        L4/1.4L     Premier                                          73033                  H7 (94R) AGM   —
   2015        L4/2.0L     Dsl                                              73033                  H7 (94R) AGM   —
   2014        L4/2.0L     Dsl                                              73033, 50              H7 (94R) AGM   —
   Chevrolet Cruze Limited
   2016        L4/1.4L                                                      73033                  H7 (94R) AGM   —
   2016        L4/1.8L                                                      615                    H6 (48)        H6 (48) AGM
   Chevrolet El Camino
   1987-85 V6/4.3L                                                          630                    75
   1987-85 V8/5.0L                                                          525                    75
   1987-85 V8/5.0L         Opt                                              570                    75
   1984-83 V6/3.8L         Opt                                              550                    78
   1984-83 V8/5.0L                                                          405                    75
   1984-83 V8/5.0L         Opt                                              500                    75
   1984-83 V8/5.7L         Dsl, HD                                          550                    78
   1984-81 V6/3.8L                                                          315                    75
   1982-81 V8/5.0L         Opt                                              465                    75
   1980-79 V8/4.4L                                                          450                    78
   1980-78 V6/3.8L                                                          275                    75
   1980-76 V8/5.0L                                                          350                    75
   1979-76 V8/5.7L                                                          350                    75
   1975-72 V8/6.6L                                                          350                    78
   1975-72 V8/7.4L                                                          465                    78
   1975-71 V8/5.7L                                                          350                    78
   1974-72 V8/6.6L                                                          465                    78
   1974-71 V8/5.7L                                                          465                    78
   1973-71 V8/5.0L                                                          465                    78
   1970-69 V8/5.7L                                                          350                    24
   1970-68 V8/5.0L                                                          350                    24
   1967-66 V8/6.5L                                                          325                    24
   1967-64 V8/4.6L                                                          320                    26R
   1960-59 V8/4.6L                                                          450                    24
   1960-59 V8/5.7L                                                          450                    24
   1984       V6/3.8L      229 cid                                          405                    75
   1984       V6/3.8L      229 cid, HD                                      500                    75
   1984       V8/5.7L      Dsl                                              4052                   75
   1983       V6/3.8L      229 cid                                          355                    75
   1983       V6/3.8L      229 cid, HD                                      500                    75
   1983       V8/5.7L      Dsl                                              525                    75
   1982       V6/3.8L      229 cid                                          400                    75
   1982       V6/3.8L      Opt                                              465                    75
   1982       V8/4.4L                                                       315                    75
   1982       V8/4.4L      Opt                                              465                    75
   1982       V8/5.0L                                                       315                    75
   1981       V6/3.8L      229 cid                                          370                    75
   1981       V6/3.8L      229 cid, HD                                      465                    75
   1981       V6/3.8L      Opt                                              550                    78
   1981       V6/3.8L      w/AC                                             350                    75
   1981       V8/4.4L                                                       370                    75
   1981       V8/4.4L      Opt                                              465                    75
   1981       V8/5.0L                                                       370                    75
   1976       V8/6.6L                                                       350                    75
   1973       V8/5.0L                                                       350                    78
   1972       V8/7.4L                                                       350                    78
   1971       V8/6.6L                                                       420                    75
   1971       V8/7.4L                                                       420                    75
   1970       V8/6.5L                                                       340                    24
   1970       V8/6.6L                                                       350                    24
   1970       V8/7.4L                                                       350                    24
   1969       V8/6.5L                                                       350                    24
   1968       V8/5.4L                                                       350                    24
   1968       V8/6.5L                                                       320                    26R
   See page 158 for Footnotes. Selection may vary by warehouse.

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50                                                          Automotive/Light Truck
  YEAR      ENGINE                                OPTIONS                    ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                                 CCA/RATING             (NOTES)          (NOTES)

Chevrolet Epica
2006-04 L6/2.5L                                                            600                    34
Chevrolet Equinox
2022-19   L4/1.5L                                                          73033                  H6 (48) AGM       —
2022-19   L4/2.0L                                                          73033                  H6 (48) AGM       —
2017-13   V6/3.6L                                                          660                    H6 (48)           H6 (48) AGM
2017-10   L4/2.4L                                                          525                    H5 (47)           H5 (47) AGM
2011-10   V6/3.0L                                                          615                    H6 (48)           H6 (48) AGM
2009-08   V6/3.6L                                                          650                    —                 H5 (47) AGM
2009-07   V6/3.4L                                                          650                    —                 H5 (47) AGM
2006-05   V6/3.4L                                                          600                    75
2019      L4/1.6L    Dsl                                                   73033                  H6 (48) AGM       —
2018      L4/1.5L                                                          73033                  H6 (48) AGM       —
2018      L4/1.6L                                                          73033                  H6 (48) AGM       —
2018      L4/2.0L                                                          73033                  H6 (48) AGM       —
2012      V6/3.0L                                                          660                    H6 (48)           H6 (48) AGM
Chevrolet Express 2500, 3500
2022-21 V8/6.6L      2500, 3500                                            600                    78
2021-17 L4/2.8L      Dsl                                                   7702                   78
Chevrolet Express 3500
2022-21 V8/6.6L      Opt, 3500                                             770                    78
Chevrolet Express Vans (1500-4500, Cargo)
2021-96   V6/4.3L                                                          600                    78
2020-17   L4/2.8L    Dsl                                                   7702                   78
2020-03   V8/6.0L                                                          600                    78
2017-03   V8/4.8L                                                          600                    78
2016-15   V8/6.6L    Dsl                                                   7702                   78
2014-07   V8/6.6L    Dsl                                                   770                    78
2014-03   V8/5.3L                                                          600                    78
2013-09   V8/6.6L                                                          770                    78
2005-03   V6/4.3L    Opt                                                   800                    79
2005-03   V8/4.8L    Opt                                                   800                    79
2005-03   V8/5.3L    Opt                                                   800                    79
2005-03   V8/6.0L    Opt                                                   800                    79
2002-96   V8/5.0L                                                          600                    78
2002-96   V8/5.7L                                                          600                    78
2002-01   V8/8.1L                                                          600                    78
2001-96   V8/6.5L    Dsl                                                   600                    78
2001-00   V6/4.3L    Opt                                                   690                    78
2001-00   V8/5.0L    Opt                                                   690                    78
2001-00   V8/5.7L    Opt                                                   690                    78
2001-00   V8/6.5L    Dsl, HD                                               690                    78
2000-96   V8/7.4L                                                          600                    78
2006      V8/6.6L    Dsl                                                   8002                   79
2002      V6/4.3L    Opt                                                   770                    78
2002      V8/5.0L    Opt                                                   770                    78
2002      V8/5.7L    Opt                                                   770                    78
2002      V8/6.5L    Dsl                                                   770                    78
2002      V8/8.1L    Opt                                                   770                    78
2001      V8/8.1L    Opt                                                   690                    78
2000      V8/7.4L    Opt                                                   690                    78
Chevrolet G-Series Vans
1996-94   V6/4.3L                                                          600                    78
1996-94   V8/5.7L                                                          600                    78
1996-94   V8/6.5L    Dsl                                                   600                    78
1996-94   V8/7.4L                                                          600                    78
1995-94   V8/5.0L                                                          600                    78
1993-91   V6/4.3L                                                          630                    78
1993-91   V8/5.0L                                                          630                    78
1993-91   V8/5.7L                                                          630                    78
1993-90   V8/6.2L    Dsl                                                   540                    78
1993-90   V8/7.4L                                                          630                    78
1990      V8/5.0L                                                          525                    75
Chevrolet HHR
2011-06 L4/2.2L                                                            60050                  90 (T5)
2011-06 L4/2.4L                                                            60050                  90 (T5)
2010-08 L4/2.0L                                                            60050                  90 (T5)
Chevrolet Impala (See Caprice, Impala)
Chevrolet Impala Limited
2016-14 V6/3.6L      Ex PPkg                                               600                    34
2016-14 V6/3.6L      PPkg                                                  720                    34
                                                                          See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                         Costco_002015
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                                                                              Chevrolet
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   Automotive/Light Truck                                                                                                   51
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Chevrolet K Series Pickup (See C/K, R/V Pickups)
   Chevrolet LCF
   2018-17 V8/6.0L                                                          750                    31T               —
   2016    V8/6.0L                                                          750                    31T               —
   Chevrolet LLV
   1995-94     L4/2.2L                                                      525                    75
   1995-94     L4/2.2L     Opt                                              690                    78
   1993-90     L4/2.5L                                                      525                    75
   1993-90     L4/2.5L     Opt                                              690                    78
   Chevrolet Lumina, Lumina APV, Venture
   2005-97     V6/3.4L                                                      600                    78
   2001-96     V6/3.1L                                                      600                    78
   1999-98     V6/3.8L                                                      690                    78
   1997-96     V6/3.4L                                                      690                    78
   1995-93     V6/3.1L     HD, SEO                                          690                    —
   1995-92     V6/3.8L                                                      630                    75
   1995-91     V6/3.4L                                                      690                    —
   1995-90     V6/3.1L                                                      525                    75
   1992-90     L4/2.5L                                                      630                    75
   1996        V6/3.4L                                                      525                    75
   1993        L4/2.2L                                                      525                    75
   1992        V6/3.1L     Opt                                              690                    —
   Chevrolet Malibu Limited
   2016        L4/2.5L     Auxiliary Battery                                18033, 50              —
   2016        L4/2.5L     Auxiliary Battery                                15533, 50              —
   2016        L4/2.5L     Start/Stop                                       73033                  H7 (94R) AGM      —
   Chevrolet Malibu, Monte Carlo
   2022-16     L4/1.5L                                                      70033, 50              H6 (48) AGM       —
   2022-16     L4/2.0L                                                      660                    H6 (48)           H6 (48) AGM
   2019-16     L4/1.8L     Hybrid                                           525                    H5 (47)           H5 (47) AGM
   2015-14     L4/2.5L     Auxiliary for Start/Stop                         15533, 50              —
   2015-14     L4/2.5L     Start/Stop                                       85033                  H8 (49) AGM       —
   2015-13     L4/2.0L                                                      525                    H5 (47)           H5 (47) AGM
   2014-13     L4/2.4L     Hybrid                                           525                    H5 (47)           H5 (47) AGM
   2012-09     L4/2.4L                                                      590                    90 (T5)
   2012-08     V6/3.6L                                                      590                    90 (T5)
   2010-08     V6/3.5L                                                      590                    90 (T5)
   2007-06     V8/5.3L     SS                                               625                    —
   2007-04     L4/2.2L                                                      525                    75
   2006-04     V6/3.5L                                                      525                    75
   2005-04     V6/3.8L                                                      770                    78
   2005-00     V6/3.4L                                                      600                    78
   2003-98     V6/3.8L                                                      600                    78
   2003-97     V6/3.1L                                                      600                    75
   2003-97     V6/3.1L     Ex SS                                            600                    75
   1999-97     L4/2.4L                                                      600                    75
   1999-96     V6/3.1L                                                      600                    78
   1997-96     V6/3.4L                                                      600                    78
   1988-86     V8/5.0L                                                      525                    75
   1988-86     V8/5.0L     Opt                                              570                    75
   1988-85     V6/4.3L                                                      630                    75
   1987-86     V6/3.8L     Opt                                              630                    75
   1986-85     V6/3.8L                                                      500                    75
   1985-84     V8/5.0L                                                      500                    75
   1985-84     V8/5.0L     Opt                                              630                    75
   1985-83     V6/3.8L     Opt                                              550                    78
   1984-83     V6/3.8L     229 cid, HD                                      500                    75
   1984-83     V8/5.7L     Dsl, HD                                          550                    78
   1984-81     V6/3.8L                                                      315                    75
   1983-82     V6/4.3L     Dsl                                              500                    75
   1982-81     V8/4.4L     Opt                                              465                    75
   1982-81     V8/5.0L     Opt                                              465                    75
   1980-79     V8/4.4L                                                      325                    75
   1980-79     V8/4.4L     Opt                                              450                    78
   1980-78     V6/3.8L                                                      325                    75
   1980-78     V6/3.8L     Opt                                              450                    78
   1980-76     V8/5.0L                                                      325                    75
   1980-76     V8/5.0L     Opt                                              450                    78
   1980-71     V8/5.7L                                                      325                    75
   1980-71     V8/5.7L     Opt                                              450                    78
   1979-78     V6/3.3L                                                      325                    75
   1979-78     V6/3.3L     Opt                                              450                    78
   See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                               Costco_002016
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52                                                          Automotive/Light Truck
  YEAR      ENGINE                                OPTIONS                    ORIGINAL EQUIPMENT       GROUP SIZE      ALTERNATE SIZE
                                                                                 CCA/RATING            (NOTES)           (NOTES)

Chevrolet Malibu, Monte Carlo (continued)
1977-73   L6/4.1L                                                          325                    75
1977-73   L6/4.1L    Opt                                                   450                    78
1976-71   V8/6.6L                                                          325                    75
1976-71   V8/6.6L    Opt                                                   450                    78
1975-71   V8/7.4L                                                          325                    75
1975-71   V8/7.4L    Opt                                                   450                    78
1967-66   L6/3.8L                                                          N/A                    26R
1967-65   V8/6.5L                                                          325                    24
1967-64   V8/4.6L                                                          N/A                    24
1967-64   V8/4.6L    Incl Malibu                                           325                    24
1965-64   L6/3.2L                                                          N/A                    24
1965-64   L6/3.8L                                                          N/A                    24
2013      L4/2.5L                                                          525                    H5 (47)           H5 (47) AGM
2008      L4/2.2L                                                          590                    90 (T5)
2008      L4/2.4L    Gas                                                   590                    90 (T5)
2008      L4/2.4L    Hybrid                                                590                    90 (T5)
2007      V6/3.5L                                                          690                    34
2007      V6/3.5L                                                          690                    —
2007      V6/3.5L    Ex SS                                                 690                    —
2007      V6/3.9L                                                          690                    —
2006      V6/3.5L                                                          600                    34
2006      V6/3.9L                                                          750                    34
2006      V6/3.9L                                                          590                    75
2000      V6/3.4L    Opt                                                   690                    78
2000      V6/3.8L    Opt                                                   690                    78
1995      V6/3.1L                                                          525                    75
1995      V6/3.1L    HD, SEO                                               690                    —
1995      V6/3.4L                                                          690                    —
1987      V6/3.8L                                                          525                    75
1984      V6/3.8L    229 cid                                               405                    75
1984      V8/5.7L    Dsl                                                   405                    75
1983      V6/3.8L    229 cid                                               355                    75
1983      V6/4.3L    Dsl, HD                                               550                    78
1983      V8/5.0L                                                          405                    75
1983      V8/5.0L    Opt                                                   500                    75
1983      V8/5.7L    Dsl                                                   500                    75
1982      V6/3.8L    229 cid                                               400                    75
1982      V6/4.3L    Dsl, HD                                               465                    75
1982      V8/4.4L                                                          315                    75
1982      V8/5.0L                                                          315                    75
1982      V8/5.7L    Dsl                                                   4652                   75
1982      V8/5.7L    Dsl, HD                                               5502                   78
1981      V6/3.8L    229 cid                                               370                    75
1981      V6/3.8L    229 cid, HD                                           465                    75
1981      V6/3.8L    HBL & AC                                              350                    75
1981      V6/3.8L    Opt                                                   550                    78
1981      V8/4.4L                                                          370                    75
1981      V8/5.0L                                                          370                    75
1981      V8/5.7L                                                          370                    75
1981      V8/5.7L    Opt                                                   465                    75
1975      L6/4.1L                                                          275                    75
1973      V8/5.0L                                                          350                    78
1973      V8/5.0L    Opt                                                   465                    78
1970      V8/5.7L                                                          325                    24
1970      V8/6.6L                                                          325                    24
1970      V8/7.4L                                                          450                    78
1967      L6/4.1L                                                          275                    26R
1967      L6/4.1L    Opt                                                   3807                   24
1966      L6/3.2L                                                          N/A                    26R
1966      L6/3.2L    AC                                                    N/A                    24
1966      L6/3.8L    AC                                                    N/A                    24
Chevrolet Metro
2001-98 L4/1.3L                                                            390                    26R
2000-98 L3/1.0L                                                            390                    26R
1992    L4/1.3L                                                            440                    —
Chevrolet Monte Carlo (See Malibu, Monte Carlo)
Chevrolet Nomad
1961-58   V8/5.7L    12-Volt                                               350                    24
1961-57   V8/4.6L    12-Volt                                               350                    24
1961-55   L6/3.8L    12-Volt                                               350                    24
1957-55   V8/4.3L    12-Volt                                               350                    24
1961      V8/6.7L    12-Volt                                               350                    24
                                                                          See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   53
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Chevrolet Nova
   1979-78     L6/4.1L                                                      275                    75
   1979-78     V8/5.0L                                                      350                    75
   1979-78     V8/5.7L                                                      350                    75
   1978-71     L6/4.1L     Opt                                              465                    78
   1977-76     V8/5.0L                                                      350                    75
   1977-76     V8/5.0L     Opt                                              465                    78
   1977-76     V8/5.7L                                                      350                    75
   1977-71     L6/4.1L                                                      275                    75
   1977-70     V8/5.7L     Opt                                              465                    78
   1975-73     V8/5.7L                                                      350                    78
   1974-71     V8/5.7L                                                      350                    75
   1973-71     V8/5.0L                                                      350                    75
   1973-70     V8/5.0L     Opt                                              465                    78
   1972-71     V8/6.6L                                                      350                    75
   1972-70     V8/6.6L     Opt                                              465                    78
   1971-70     V8/7.4L     Opt                                              465                    78
   1970-69     L4/2.5L     Opt                                              285                    24
   1970-69     L6/3.8L     Opt                                              285                    24
   1970-69     L6/4.1L     Opt                                              285                    24
   1979        L6/4.1L     Opt                                              505                    78
   1979        V8/5.0L     Opt                                              505                    78
   1979        V8/5.7L     Opt                                              505                    78
   1975        V8/4.3L                                                      350                    78
   1975        V8/4.3L     Opt                                              465                    78
   1973        V8/5.0L                                                      350                    78
   1971        V8/7.4L                                                      350                    75
   1970        L4/2.5L                                                      275                    26R
   1970        L6/3.8L                                                      275                    26R
   1970        L6/4.1L                                                      275                    26R
   1970        V8/5.0L                                                      350                    24
   1970        V8/5.7L                                                      350                    24
   1970        V8/6.5L                                                      350                    24
   1970        V8/6.5L     Opt                                              465                    78
   1970        V8/6.6L                                                      350                    24
   1970        V8/7.4L                                                      350                    24
   1969        L4/2.5L     AC, AT or HD                                     400                    24
   1969        L4/2.5L     Ex AC, AT or HD                                  275                    26R
   1969        L6/3.8L     AC, AT or HD                                     400                    24
   1969        L6/3.8L     Ex AC, AT or HD                                  275                    26R
   1969        L6/4.1L     AC, AT or HD                                     400                    24
   1969        L6/4.1L     Ex AC, AT or HD                                  275                    26R
   1969        V8/5.0L     AC, AT or HD                                     400                    24
   1969        V8/5.0L     Ex AC, AT or HD                                  275                    26R
   1969        V8/5.0L     Opt                                              285                    24
   1969        V8/5.7L     AC, AT or HD                                     400                    24
   1969        V8/5.7L     Ex AC, AT or HD                                  275                    26R
   1969        V8/5.7L     Opt                                              285                    24
   1969        V8/6.5L     AC, AT or HD                                     400                    24
   1969        V8/6.5L     Ex AC, AT or HD                                  275                    26R
   1969        V8/6.5L     Opt                                              285                    24
   Chevrolet Optra
   2007-04 L4/2.0L                                                          640                    86
   Chevrolet Orlando
   2014-12 L4/2.4L                                                          615                    H6 (48)           H6 (48) AGM
   Chevrolet P30
   1999-94     V8/6.5L                                                      600                    78
   1999-91     V6/4.3L                                                      600                    78
   1999-91     V8/5.7L                                                      600                    78
   1999-90     V8/7.4L                                                      600                    78
   1993-90     V8/6.2L                                                      600                    78
   1991-90     L4/3.9L                                                      425                    75
   1991-90     L4/3.9L                                                      630                    78
   1990-87     V8/5.7L                                                      525                    75
   1990        V6/4.3L                                                      525                    75
   Chevrolet R Series Pickup (See C/K, R/V Pickups)
   Chevrolet Silverado (1500, 2500, 3500)
   2022-20     V8/6.6L     2500HD, 3500HD                                   7202                   H7 (94R)          H7 (94R) AGM
   2022-19     V8/6.6L     Dsl, 2500HD, 3500HD                              7302                   H6 (48)           H5 (47) AGM
   2022-19     V8/6.6L     Auxiliary Battery, 2500HD                        730                    H6 (48)           H6 (48) AGM
   2021-20     L6/3.0L     Dsl, 1500                                        85033                  H8 (49) AGM
   2021-19     L4/2.7L     1500                                             72033                  H7 (94R) AGM      —
   See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                               Costco_002018
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54                                                             Automotive/Light Truck
  YEAR      ENGINE                                   OPTIONS                    ORIGINAL EQUIPMENT       GROUP SIZE        ALTERNATE SIZE
                                                                                    CCA/RATING            (NOTES)             (NOTES)

Chevrolet Silverado (1500, 2500, 3500) (continued)
2021-19   V8/5.3L    VIN F, 1500                                              720                    H7 (94R)          H7 (94R) AGM
2021-19   V8/5.3L    VIN D, 1500                                              73033                  H7 (94R) AGM      —
2021-14   V6/4.3L    1500                                                     730                    H6 (48)           H6 (48) AGM
2020-19   V8/6.2L    1500                                                     72033                  H7 (94R) AGM      —
2020-19   V8/6.6L    2500 HD Opt, AGM                                         73033                  H7 (94R) AGM      —
2020-19   V8/6.6L    3500 HD Opt, AGM                                         73033                  H7 (94R) AGM      —
2018-15   V8/6.6L    Dsl, Auxiliary                                           7302                   H6 (48)           H6 (48) AGM
2018-14   V8/5.3L    Auxiliary Battery                                        730                    H6 (48)           H6 (48) AGM
2018-14   V8/5.3L                                                             720                    H7 (94R)          H7 (94R) AGM
2018-14   V8/6.0L                                                             720                    H7 (94R)          H7 (94R) AGM
2018-14   V8/6.2L                                                             720                    H7 (94R)          H7 (94R) AGM
2018-14   V8/6.2L    Auxiliary Battery                                        730                    H6 (48)           H6 (48) AGM
2018-08   V8/6.6L    Dsl                                                      7302                   H6 (48)           H6 (48) AGM
2014-09   V6/4.3L    Opt                                                      730                    H6 (48)           H6 (48) AGM
2014-09   V8/5.3L    Opt                                                      730                    H6 (48)           H6 (48) AGM
2013-09   V6/4.3L                                                             615                    H6 (48)           H6 (48) AGM
2013-09   V8/4.8L                                                             615                    H6 (48)           H6 (48) AGM
2013-09   V8/4.8L    Opt                                                      730                    H6 (48)           H6 (48) AGM
2013-09   V8/5.3L                                                             615                    H6 (48)           H6 (48) AGM
2013-09   V8/6.0L                                                             615                    H6 (48)           H6 (48) AGM
2013-09   V8/6.0L    Opt                                                      730                    H6 (48)           H6 (48) AGM
2013-09   V8/6.2L                                                             615                    H6 (48)           H6 (48) AGM
2013-09   V8/6.2L    Opt                                                      730                    H6 (48)           H6 (48) AGM
2010-09   V8/6.0L    HD, Hybrid                                               730                    H6 (48)           H6 (48) AGM
2008-07   V6/4.3L    From Late 2007                                           615                    H6 (48)           H6 (48) AGM
2008-07   V8/4.8L    From Late 2007                                           615                    H6 (48)           H6 (48) AGM
2008-07   V8/5.3L    From Late 2007                                           615                    H6 (48)           H6 (48) AGM
2008-07   V8/6.0L    From Late 2007                                           615                    H6 (48)           H6 (48) AGM
2007-06   V6/4.3L    Early 2007                                               600                    78
2007-06   V8/4.8L    Early 2007                                               600                    78
2007-06   V8/5.3L    Early 2007                                               600                    78
2007-06   V8/6.0L    Early 2007                                               600                    78
2007-03   V8/6.6L    Dsl                                                      770                    78
2007-01   V8/6.6L    Dsl                                                      600                    78
2005-99   V6/4.3L                                                             600                    78
2005-99   V6/4.3L    Opt                                                      770                    78
2005-99   V8/4.8L                                                             600                    78
2005-99   V8/4.8L    Opt                                                      770                    78
2005-99   V8/5.3L                                                             600                    78
2005-99   V8/5.3L    Opt                                                      770                    78
2005-99   V8/6.0L                                                             600                    78
2005-99   V8/6.0L    Opt                                                      770                    78
2005-01   V8/8.1L                                                             600                    78
2005-01   V8/8.1L    Opt                                                      770                    78
2002-01   V8/6.6L    Dsl, HD                                                  7702                   78
2002-01   V8/6.6L    Dsl, Opt                                                 7702                   78
2021      V8/6.2L    1500                                                     73033                  H7 (94R) AGM      —
2020      V8/5.3L    Auxiliary Battery, 1500                                  730                    H6 (48)           H6 (48) AGM
2020      V8/6.2L    Auxiliary Battery, 1500                                  730                    H6 (48)           H6 (48) AGM
2014      V6/4.3L                                                             720                    H7 (94R)          H7 (94R) AGM
2006      V8/8.1L    Early 2007                                               600                    78
Chevrolet Silverado 1500 LD
2019      V8/5.3L                                                             720                    H7 (94R)          H7 (94R) AGM
Chevrolet Silverado 2500 HD Classic
2007      V8/8.1L    Early                                                    600                    78
2007      V8/8.1L    Late                                                     615                    H6 (48)           H6 (48) AGM
Chevrolet Silverado 3500 Classic
2007      V8/6.0L    Early                                                    600                    78
2007      V8/6.0L    Late                                                     615                    H6 (48)           H6 (48) AGM
2007      V8/6.6L    Dsl                                                      7702                   78
2007      V8/8.1L    Early                                                    600                    78
2007      V8/8.1L    Late                                                     615                    H6 (48)           H6 (48) AGM
Chevrolet Silverado 3500 HD
2022-19 V8/6.6L      Auxiliary Battery                                        730                    H6 (48)           H6 (48) AGM
Chevrolet Sonic
2020-12 L4/1.4L                                                               525                    H5 (47)           H5 (47) AGM
2018-12 L4/1.8L                                                               525                    H5 (47)           H5 (47) AGM
Chevrolet Spark
2021-16 L4/1.4L                                                               37554                  —                 —
2015-13 L4/1.2L                                                               375                    —
2015-13 L4/1.2L                                                               410                    —
                                                                             See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   55
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Chevrolet Spark EV
   2016-14                 Electric                                         52033                  —                 —
   Chevrolet SS
   2017-14 V8/6.2L                                                          73033, 50              H6 (48) AGM       —
   Chevrolet S-Series: Blazer, Pickup
   2004-94     V6/4.3L     Opt                                              690                    —
   2004-88     V6/4.3L                                                      525                    75
   2003-94     L4/2.2L                                                      525                    75
   2003-94     L4/2.2L     Opt                                              690                    —
   1993-90     L4/2.5L     Opt                                              630                    78
   1993-88     V6/4.3L     Opt                                              630                    78
   1993-87     V6/2.8L     Opt                                              630                    78
   1989-87     V6/2.8L                                                      525                    75
   Chevrolet SSR
   2006-05 V8/6.0L                                                          600                    78
   2004-03 V8/5.3L                                                          600                    78
   Chevrolet Suburban
   2022-21     V8/5.3L                                                      73033                  H7 (94R) AGM      —
   2022-21     V8/6.2L                                                      73033                  H7 (94R) AGM      —
   2020-19     V8/5.3L                                                      720                    H7 (94R)          H7 (94R) AGM
   2020-19     V8/5.3L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2020-19     V8/6.2L                                                      720                    H7 (94R)          H7 (94R) AGM
   2020-19     V8/6.2L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2014-12     V8/5.3L                                                      660                    H6 (48)           H6 (48) AGM
   2014-09     V8/5.3L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2013-12     V8/6.0L                                                      660                    H6 (48)           H6 (48) AGM
   2013-09     V8/6.0L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2011-07     V8/5.3L                                                      615                    H6 (48)           H6 (48) AGM
   2011-07     V8/6.0L                                                      615                    H6 (48)           H6 (48) AGM
   2006-01     V8/8.1L                                                      600                    78
   2006-00     V8/5.3L     Primary Battery                                  600                    78
   2006-00     V8/6.0L                                                      600                    78
   2005-03     V8/5.3L     Opt                                              770                    78
   2005-03     V8/6.0L     Opt                                              770                    78
   2005-03     V8/8.1L     Opt                                              770                    78
   2002-01     V8/8.1L     Opt                                              690                    78
   2002-00     V8/5.3L     Opt                                              690                    78
   2002-00     V8/6.0L     Opt                                              690                    78
   2022        L6/3.0L     Dsl                                              73033                  H7 (94R) AGM      —
   2021        L6/3.0L     Dsl                                              85033                  H8 (49) AGM       —
   2006        V8/6.0L     Opt                                              690                    78
   2000        V8/5.3L     HD or PPkg                                       770                    78
   2000        V8/5.3L     PPkg & Opt                                       770                    78
   2000        V8/6.0L     HD or PPkg                                       770                    78
   Chevrolet Suburban 3500 HD
   2020-19 V8/6.0L         Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2019-16 V8/6.0L                                                          720                    H7 (94R)          H7 (94R) AGM
   Chevrolet Tahoe
   2022-21     V8/6.2L                                                      73033                  H7 (94R) AGM      —
   2020-19     V8/5.3L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2020-19     V8/6.2L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2020-18     V8/6.2L                                                      720                    H7 (94R)          H7 (94R) AGM
   2020-15     V8/5.3L                                                      720                    H7 (94R)          H7 (94R) AGM
   2015-12     V8/5.3L                                                      660                    H6 (48)           H6 (48) AGM
   2015-09     V8/5.3L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2013-12     V8/6.0L     Hybrid                                           660                    H6 (48)           H6 (48) AGM
   2013-09     V8/6.0L     Hybrid, Opt                                      730                    H6 (48)           H6 (48) AGM
   2011-08     V8/6.0L     Hybrid                                           615                    H6 (48)           H6 (48) AGM
   2011-07     V8/5.3L                                                      615                    H6 (48)           H6 (48) AGM
   2009-08     V8/6.2L                                                      615                    H6 (48)           H6 (48) AGM
   2009-08     V8/6.2L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2009-07     V8/4.8L                                                      615                    H6 (48)           H6 (48) AGM
   2006-00     V8/4.8L                                                      600                    78
   2006-00     V8/5.3L                                                      600                    78
   2005-03     V8/4.8L     Opt                                              770                    78
   2005-03     V8/5.3L     Opt                                              770                    78
   2002-00     V8/4.8L     Opt                                              690                    78
   2001-00     V8/5.3L     Opt                                              690                    78
   2000-99     V8/5.7L     Opt                                              690                    78
   2000-95     V8/5.7L                                                      600                    78
   1998-97     V8/6.5L     Dsl                                              600                    78
   1996-95     V8/6.5L     Dsl                                              770                    78
   See page 158 for Footnotes. Selection may vary by warehouse.

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Chevrolet                                   Document 117-5 Entered on FLSD Docket 02/20/2023 Page 822 of
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56                                                           Automotive/Light Truck
  YEAR      ENGINE                                 OPTIONS                   ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                 CCA/RATING             (NOTES)            (NOTES)

Chevrolet Tahoe (continued)
2022      L6/3.0L    Dsl                                                   73033                  H7 (94R) AGM      —
2021      L6/3.0L    Dsl                                                   85033                  H8 (49) AGM       —
2009      V8/4.8L    Opt                                                   730                    H6 (48)           H6 (48) AGM
1999      V8/5.7L    HD, PPkg                                              770                    78
1999      V8/6.5L    Dsl                                                   690                    78
Chevrolet Tracker
2004-01   V6/2.5L                                                          600                    —                 —
2002-99   L4/1.6L                                                          550                    —                 —
2002-99   L4/2.0L                                                          550                    —                 —
1991-90   L4/1.6L                                                          525                    —                 —
2003      L4/2.0L                                                          600                    —
1998      L4/1.6L                                                          500                    26R               —
1989      L4/1.6L                                                          470                    51
Chevrolet TrailBlazer
2022-21   L3/1.2L                                                          76033                  H6 (48) AGM       —
2022-21   L3/1.3L                                                          76033                  H6 (48) AGM       —
2009-06   V8/6.0L                                                          60040                  78                —
2009-02   L6/4.2L                                                          60040                  78                —
2008-06   V8/5.3L                                                          60040                  78                —
Chevrolet TrailBlazer EXT
2006-03 V8/5.3L                                                            60040                  78                —
2006-02 L6/4.2L                                                            60040                  78                —
Chevrolet Traverse
2022-18   V6/3.6L                                                          73033                  H7 (94R) AGM      —
2019-18   L4/2.0L                                                          73033                  H7 (94R) AGM      —
2019-18   V6/3.6L                                                          73033                  H7 (94R) AGM      —
2017-10   V6/3.6L                                                          66050                  H6 (48)           H6 (48) AGM
2009      V6/3.6L                                                          73050                  H6 (48)           H6 (48) AGM
Chevrolet Trax
2022-21   L4/1.4L                                                          525                    H5 (47)           H5 (47) AGM
2020-18   L4/1.4L    w/o Start/Stop                                        525                    H5 (47)           H5 (47) AGM
2020-18   L4/1.4L    w/Start/Stop                                          73033                  H6 (48) AGM       —
2017-13   L4/1.4L                                                          525                    H5 (47)           H5 (47) AGM
Chevrolet Uplander
2009-06 V6/3.9L                                                            600                    34
2006-05 V6/3.5L                                                            600                    34
Chevrolet V Series Pickup (See C/K, R/V Pickups)
Chevrolet Volt
2019-16   L4/1.5L    Hybrid                                                63033, 50              H5 (47) AGM       —
2015-11   L4/1.4L    Hybrid                                                60033, 50              H5 (47) AGM       —
2015-11   L4/1.4L    Hybrid                                                63033, 50              H5 (47) AGM       —
2016      L4/1.5L    Hybrid                                                63033, 50              H5 (47) AGM       —
Chrysler 200
2017-15   L4/2.4L                                                          600                    H6 (48)           H6 (48) AGM
2017-15   L4/2.4L    Opt                                                   730                    H7 (94R)          H7 (94R) AGM
2017-15   V6/3.6L                                                          600                    H6 (48)           H6 (48) AGM
2017-15   V6/3.6L    Opt                                                   730                    H7 (94R)          H7 (94R) AGM
2014-11   L4/2.4L                                                          525                    86
2014-11   V6/3.6L                                                          525                    86
Chrysler 300
2022-11   V6/3.6L                                                          73050                  H7 (94R)          H7 (94R) AGM
2022-10   V8/5.7L                                                          73050                  H7 (94R)          H7 (94R) AGM
2020-05   V8/5.7L                                                          73050                  H7 (94R)          H7 (94R) AGM
2014-12   V8/6.4L                                                          73050                  H7 (94R)          H7 (94R) AGM
2010-05   V6/2.7L                                                          73050                  H7 (94R)          H7 (94R) AGM
2010-05   V6/3.5L                                                          73050                  H7 (94R)          H7 (94R) AGM
2010-05   V8/6.1L                                                          73050                  H7 (94R)          H7 (94R) AGM
2009-08   V6/3.5L                                                          73050, 57              H7 (94R)          H7 (94R) AGM
Chrysler 300M
2004-99 V6/3.5L                                                            600                    34
Chrysler Aspen
2009-08   V8/4.7L                                                          75057                  65                65 AGM
2009-08   V8/5.7L                                                          75057                  65                65 AGM
2007      V8/4.7L                                                          750                    65                65 AGM
2007      V8/5.7L                                                          750                    65                65 AGM
Chrysler Cirrus
2000-95 L4/2.4L                                                            510                    75
2000-95 V6/2.5L                                                            510                    75
2000    L4/2.0L                                                            510                    75
                                                                          See page 158 for Footnotes. Selection may vary by warehouse.

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                                                                              Chrysler
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   Automotive/Light Truck                                                                                                   57
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Chrysler Concorde, Intrepid, LHS
   2004-98     V6/2.7L                                                      500                    34
   2004-95     V6/3.5L                                                      600                    34
   2001-98     V6/3.2L                                                      600                    34
   1997-95     V6/3.3L                                                      600                    34
   1994-93     V6/3.3L                                                      500                    34
   1994-93     V6/3.5L                                                      500                    34
   Chrysler &URVVğUH
   2007-06     V6/3.2L                                                      64050                  H6 (48)           H6 (48) AGM
   2008        V6/3.2L                                                      70050                  H6 (48)           H6 (48) AGM
   2005        V6/3.2L                                                      70050                  H6 (48)           H6 (48) AGM
   2004        V6/3.2L                                                      58050                  H6 (48)           H6 (48) AGM
   Chrysler Daytona, Dynasty
   1993-92     L4/2.2L                                                      600                    34
   1993-92     L4/2.5L                                                      600                    34
   1993-91     V6/3.3L                                                      500                    34
   1993-89     V6/3.0L                                                      500                    34
   1990-88     L4/2.2L                                                      500                    34
   1990-88     L4/2.5L                                                      500                    34
   1991        L4/2.5L                                                      625                    34
   1991        L4/2.5L     Ex Turbo                                         625                    34
   1991        L4/2.5L     Turbo                                            500                    34
   1991        V6/3.0L                                                      625                    34
   1990        V6/3.3L                                                      600                    34
   Chrysler Grand Caravan
   2021        V6/3.6L                                                      65033                  H6 (48) AGM       —
   2021        V6/3.6L     Auxiliary                                        12 Ah33                —                 —
   Chrysler Grand Voyager, Voyager
   2003-01     V6/3.3L                                                      600                    34
   2003-00     L4/2.4L                                                      600                    34
   2020        V6/3.6L     w/Start/Stop                                     65033, 50              H6 (48) AGM       —
   2020        V6/3.6L     Auxiliary Battery for Start/Stop                 20033, 50              —                 —
   2020        V6/3.6L     w/o Start/Stop                                   73033, 50              H7 (94R) AGM      —
   2000        V6/3.0L                                                      500                    34
   2000        V6/3.3L                                                      500                    34
   2000        V6/3.3L     Opt                                              600                    34
   Chrysler Imperial
   1993-91 V6/3.8L                                                          500                    34
   1991-90 V6/3.3L                                                          500                    34
   Chrysler LeBaron
   1995-92     V6/3.0L                                                      500                    34
   1994-92     L4/2.5L                                                      600                    34
   1990-88     L4/2.2L                                                      500                    34
   1990-88     L4/2.5L                                                      500                    34
   1991        L4/2.5L     Convertible, Turbo                               500                    34
   1991        L4/2.5L     Coupe, Ex Turbo                                  625                    34
   1991        L4/2.5L     Coupe, Turbo                                     500                    34
   1991        L4/2.5L     Coupe/Conv, Ex Turbo                             625                    34
   1991        L4/2.5L     Coupe/Conv, Turbo                                500                    34
   1991        L4/2.5L     Sedan                                            625                    34
   1991        V6/3.0L     Coupe/Conv                                       625                    34
   1991        V6/3.0L     Sedan                                            625                    34
   1990        V6/3.0L                                                      500                    34
   Chrysler Neon
   2002-00 L4/2.0L                                                          450                    26R
   Chrysler New Yorker
   1996-95     V6/3.5L                                                      600                    34
   1993-91     V6/3.8L                                                      500                    34
   1993-90     V6/3.3L                                                      500                    34
   1994        V6/3.5L                                                      500                    34
   Chrysler 3DFLğFD
   2021-17     V6/3.6L     Auxiliary for Start/Stop                         20033, 50              —                 —
   2021-17     V6/3.6L     w/Start/Stop                                     65033, 50              H6 (48) AGM       —
   2021-17     V6/3.6L     w/o Start/Stop                                   730                    H7 (94R)          H7 (94R) AGM
   2008-07     V6/3.8L                                                      600                    34
   2008-07     V6/4.0L                                                      600                    34
   2006-05     V6/3.5L                                                      600                    34
   2022        V6/3.6L                                                      65033, 50              H6 (48) AGM
   2022        V6/3.6L     Auxiliary                                        20033, 50
   2017        V6/3.6L     Gas                                              750                    H7 (94R)          H7 (94R) AGM
   See page 158 for Footnotes. Selection may vary by warehouse.

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58                                                            Automotive/Light Truck
  YEAR      ENGINE                                  OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                             CCA/RATING             (NOTES)            (NOTES)

Chrysler 3DFLğFD (continued)
2005      V6/3.8L                                                      600                    34
2004      V6/3.5L                                                      500                    34
Chrysler Prowler
2002-01 V6/3.5L                                                        525                    34
Chrysler PT Cruiser
2010-03 L4/2.4L                                                        510                    26R
2002-01 L4/2.4L                                                        540                    26R
Chrysler Sebring
2010-07   V6/3.5L    Top Terminal                                      525                    86
2010-01   L4/2.4L    Top Terminal                                      525                    86
2010-01   L4/2.4L    w/Side Terminals                                  510                    75
2010-01   V6/2.7L    Top Terminal                                      525                    86
2010-01   V6/2.7L    w/Side Terminals                                  510                    75
2005-01   V6/3.0L    Top Terminal                                      525                    86
2005-01   V6/3.0L    w/Side Terminals                                  510                    75
2000-98   V6/2.5L    Top Terminal                                      525                    86
2000-95   V6/2.5L    w/Side Terminals                                  510                    75
1999-98   L4/2.0L    Top Terminal                                      525                    86
1999-98   L4/2.0L    w/Side Terminals                                  510                    75
1998-96   L4/2.4L    Convertible                                       510                    75
1997-96   L4/2.0L    Ex Conv w/MT                                      430                    86
1997-95   L4/2.0L    Top Terminal, Ex Conv, Ex MT                      525                    86
1997-95   V6/2.5L    Top Terminal, Ex Conv, Ex MT                      525                    86
Chrysler TC by Maserati
1991-90 V6/3.0L                                                        500                    34
1990-89 L4/2.2L                                                        500                    34
Chrysler Town & Country
2016-12   V6/3.6L                                                      730                    H7 (94R)          H7 (94R) AGM
2009-08   V6/3.3L                                                      60057                  34
2009-08   V6/3.8L                                                      60057                  34
2009-08   V6/4.0L                                                      60057                  34
2006-96   V6/3.3L                                                      500                    34
2006-94   V6/3.8L                                                      500                    34
2006-94   V6/3.8L    Opt                                               600                    34
2006-04   V6/3.3L    Opt                                               600                    34
1993-92   V6/3.3L                                                      500                    34
1991-90   V6/3.3L                                                      625                    34
2011      V6/3.6L                                                      700                    H7 (94R)          H7 (94R) AGM
2010      V6/3.3L                                                      600                    34
2010      V6/3.8L                                                      600                    34
2010      V6/4.0L                                                      600                    34
2007      V6/3.3L                                                      600                    34
2007      V6/3.8L                                                      600                    34
1997      V6/3.8L                                                      600                    34
Chrysler Voyager
2021-20   V6/3.6L    Auxiliary for Start/Stop                          20033, 50              —                 —
2021-20   V6/3.6L    w/Start/Stop                                      65033, 50              H6 (48) AGM       —
2022      V6/3.6L                                                      65033, 50              H6 (48) AGM       —
2022      V6/3.6L    Auxiliary                                         20033, 50              —                 —
Daewoo Lanos
2002-99 L4/1.5L                                                        52511                  86
2002-99 L4/1.6L                                                        52511                  86
Daewoo Leganza
2002-01 L4/2.2L                                                        62011                  86
2000-99 L4/2.2L                                                        63011                  86
Daewoo Nubira
2002-01 L4/2.0L                                                        62011                  86
2000-99 L4/2.0L                                                        63011                  86
Daihatsu Charade
1992-89 L4/1.3L                                                        500                    26R
1992-88 L3/1.0L                                                        500                    26R
Daihatsu Rocky
1992-90 L4/1.6L                                                        500                    —
Dodge 2000 GTX
1990      L4/2.0L                                                      500                    24
Dodge Avenger
2014-11 V6/3.6L                                                        525                    86
2014-08 L4/2.4L                                                        525                    86
2010-08 V6/2.7L                                                        525                    86
                                                                      See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                     Costco_002023
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 825Dodge
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   Automotive/Light Truck                                                                                                59
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE    ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)         (NOTES)

   Dodge Avenger (continued)
   2010-08     V6/3.5L                                                      525                    86
   2009-08     V6/3.5L                                                      52557                  86
   2000-95     V6/2.5L                                                      525                    86
   1999-95     L4/2.0L                                                      525                    86
   1997-95     L4/2.0L     MT                                               430                    86
   Dodge B-Series Vans (150, 250, 350, 1500, 3500)
   1998-96     V8/5.2L                                                      600                    27
   1998-96     V8/5.2L     Opt                                              750                    27
   1998-92     V6/3.9L     Ex T-Series                                      600                    27
   1998-92     V6/3.9L     HD, Ex T-Series                                  750                    27
   1998-92     V8/5.2L     Ex T-Series                                      600                    27
   1998-92     V8/5.2L     HD, Ex T-Series                                  750                    27
   1998-92     V8/5.9L     Ex T-Series                                      600                    27
   1998-92     V8/5.9L     HD, Ex T-Series                                  750                    27
   1995-88     V6/3.9L     T-Series                                         81016                  —
   1995-88     V8/5.2L     T-Series                                         81016                  —
   1995-88     V8/5.9L     T-Series                                         81016                  —
   1991-89     V8/5.9L                                                      685                    34
   1991-88     V6/3.9L                                                      600                    34
   1991-88     V6/3.9L     Opt                                              685                    34
   1991-88     V8/5.2L                                                      600                    34
   1991-88     V8/5.2L     Opt                                              685                    34
   1995        V8/5.2L     Cutaway                                          81016                  —
   1995        V8/5.2L     Ex Cutaway                                       600                    27
   1995        V8/5.2L     Ex Cutaway Opt                                   750                    27
   Dodge Caliber
   2012-07 L4/2.0L                                                          525                    86
   2011-07 L4/2.4L                                                          525                    86
   2009-07 L4/1.8L                                                          525                    86
   Dodge Caravan, Grand Caravan
   2020-12     V6/3.6L                                                      730                    H7 (94R)          H7 (94R) AGM
   2010-07     V6/3.3L                                                      600                    34
   2009-08     V6/3.3L                                                      60057                  34
   2009-08     V6/3.8L                                                      60057                  34
   2009-08     V6/4.0L                                                      60057                  34
   2006-90     V6/3.3L                                                      500                    34
   2006-04     V6/3.8L     Opt                                              600                    34
   2006-03     L4/2.4L                                                      500                    34
   2006-03     L4/2.4L     Opt                                              600                    34
   2006-03     V6/3.8L                                                      500                    34
   2006-01     V6/3.3L     Opt                                              600                    34
   2002-96     L4/2.4L                                                      600                    34
   2002-94     V6/3.8L                                                      600                    34
   2000-90     V6/3.0L                                                      500                    34
   1999-96     L4/2.4L     Opt                                              685                    34
   1999-94     V6/3.8L     Opt                                              685                    34
   1999-92     V6/3.0L     Opt                                              685                    34
   1999-92     V6/3.3L     Opt                                              685                    34
   1995-92     L4/2.5L                                                      600                    34
   1995-92     L4/2.5L     Opt                                              685                    34
   1991-90     V6/3.3L     Opt                                              625                    34
   1991-88     L4/2.5L                                                      500                    34
   2011        V6/3.6L                                                      700                    H7 (94R)          H7 (94R) AGM
   2010        V6/3.8L                                                      600                    34
   2010        V6/4.0L                                                      600                    34
   2007        L4/2.4L                                                      600                    34
   2007        V6/3.8L                                                      600                    34
   1990        L4/2.5L     Opt                                              625                    34
   1990        V6/3.0L     Opt                                              625                    34
   Dodge Challenger
   2022-15     V8/6.2L                                                      73050                  H7 (94R)          H7 (94R) AGM
   2022-11     V6/3.6L                                                      73050                  H7 (94R)          H7 (94R) AGM
   2022-11     V8/6.4L                                                      73050                  H7 (94R)          H7 (94R) AGM
   2022-10     V8/5.7L                                                      73050                  H7 (94R)          H7 (94R) AGM
   2010-09     V6/3.5L                                                      73050, 57              H7 (94R)          H7 (94R) AGM
   2010-08     V8/6.1L                                                      73050, 57              H7 (94R)          H7 (94R) AGM
   1974-72     V8/6.6L                                                      350                    27
   1974-71     V8/5.9L                                                      350                    27
   1974-70     V8/5.2L                                                      350                    27
   1973-70     V8/5.6L                                                      350                    27
   See page 158 for Footnotes. Selection may vary by warehouse.

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60                                             Automotive/Light Truck
  YEAR      ENGINE                   OPTIONS                   ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)          (NOTES)

Dodge Challenger (continued)
1972-70   L6/3.7L                                            350                    27
1972-70   V8/7.2L                                            350                    27
1971-70   L6/3.2L                                            350                    27
1971-70   V8/6.3L                                            350                    27
1971-70   V8/7.0L                                            350                    27
1974      V8/5.9L                                            440                    24
Dodge Charger
2022-21   V6/3.6L    PPkg                                    80033, 50              H8 (49) AGM       —
2022-21   V8/5.7L    PPkg                                    80033, 50              H8 (49) AGM       —
2022-17   V8/6.4L                                            73050                  H7 (94R)          H7 (94R) AGM
2022-15   V8/6.2L                                            73050                  H7 (94R)          H7 (94R) AGM
2022-11   V6/3.6L    Ex PPkg                                 73050                  H7 (94R)          H7 (94R) AGM
2022-10   V8/5.7L    Ex PPkg                                 73050                  H7 (94R)          H7 (94R) AGM
2020-11   V6/3.6L    PPkg                                    80050                  —                 H8 (49) AGM
2020-11   V8/5.7L    PPkg                                    80050                  —                 H8 (49) AGM
2020-10   V8/5.7L    Ex PPkg                                 73050                  H7 (94R)          H7 (94R) AGM
2016-12   V8/6.4L    Ex PPkg                                 73050                  H7 (94R)          H7 (94R) AGM
2016-12   V8/6.4L    PPkg                                    80050                  —                 H8 (49) AGM
2010-06   V6/2.7L    Ex PPkg                                 73050                  H7 (94R)          H7 (94R) AGM
2009-08   V6/2.7L                                            73050, 57              H7 (94R)          H7 (94R) AGM
2009-08   V6/3.5L    Ex PPkg                                 73050, 57              H7 (94R)          H7 (94R) AGM
2009-08   V8/5.7L    Ex PPkg                                 73050, 57              H7 (94R)          H7 (94R) AGM
2008-06   V8/5.7L    PPkg                                    85050                  —                 H8 (49) AGM
2008-06   V8/6.1L    Ex PPkg                                 73050                  H7 (94R)          H7 (94R) AGM
2008-06   V8/6.1L    PPkg                                    85050                  —                 H8 (49) AGM
2007-06   V6/2.7L                                            73050                  H7 (94R)          H7 (94R) AGM
2007-06   V6/3.5L    Ex PPkg                                 73050                  H7 (94R)          H7 (94R) AGM
2007-06   V6/3.5L    PPkg                                    85050                  —                 H8 (49) AGM
2007-06   V8/5.7L    Ex PPkg                                 73050                  H7 (94R)          H7 (94R) AGM
1977-72   V8/6.6L                                            350                    27
1977-71   V8/5.9L                                            350                    27
1977-66   V8/5.2L                                            350                    27
1976-68   L6/3.7L                                            350                    27
1974-67   V8/7.2L                                            350                    27
1973-70   V8/5.6L                                            350                    27
1971-66   V8/6.3L                                            350                    27
1971-66   V8/7.0L                                            350                    27
2010      V6/2.7L                                            73050                  H7 (94R)          H7 (94R) AGM
2010      V6/3.5L    Ex PPkg                                 73050                  H7 (94R)          H7 (94R) AGM
2010      V6/3.5L    PPkg                                    80050                  —                 H8 (49) AGM
2010      V8/5.7L    PPkg                                    85050                  —                 H8 (49) AGM
2010      V8/6.1L    Ex PPkg                                 73050                  H7 (94R)          H7 (94R) AGM
2010      V8/6.1L    PPkg                                    85050                  —                 H8 (49) AGM
2009      V6/3.5L    PPkg                                    80050, 57              —                 H8 (49) AGM
2009      V8/5.7L    PPkg                                    80050, 57              —                 H8 (49) AGM
2009      V8/6.1L    Ex PPkg                                 73050, 57              H7 (94R)          H7 (94R) AGM
2009      V8/6.1L    PPkg                                    80050, 57              —                 H8 (49) AGM
2008      V6/3.5L    PPkg                                    85050, 57              —                 H8 (49) AGM
1974      V8/5.9L                                            440                    24
1969      V8/7.2L                                            440                    27
1967      V8/4.5L                                            350                    27
1966      V8/5.9L                                            350                    24
Dodge Colt
1995-93   L4/1.5L    Can                                     580                    24
1995-93   L4/1.5L    US                                      435                    51
1994-93   L4/1.8L    Can                                     580                    24
1994-93   L4/1.8L    US                                      435                    51
1994-93   L4/2.4L    Can                                     580                    24
1994-93   L4/2.4L    US                                      435                    51
1992-91   L4/1.5L    US                                      355                    25
1992-91   L4/1.5L    US, HD                                  430                    25
1991-90   L4/1.5L    Can                                     420                    25
1991-84   L4/2.0L    Can                                     420                    25
1990-89   L4/1.8L    Wagon                                   435                    51
1990-89   L4/2.0L    Wagon, US                               435                    51
1990-88   L4/1.5L    Wagon                                   435                    51
1992      L4/1.5L    Can, Ex Wagon                           420                    25
1992      L4/1.8L    Can, Ex Wagon                           420                    25
1992      L4/1.8L    US                                      355                    25
1992      L4/1.8L    US, HD                                  430                    25
1991      L4/2.0L    US                                      435                    51
1990      L4/1.5L                                            435                    51
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                           Costco_002025
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 827Dodge
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   Automotive/Light Truck                                                                                                61
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE    ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)         (NOTES)

   Dodge Colt (continued)
   1990        L4/1.5L     Ex Wagon                                         355                    25
   1990        L4/1.6L                                                      435                    51
   1990        L4/1.6L     Can                                              420                    25
   1990        L4/1.8L                                                      355                    25
   Dodge D/W Series Pickups (150, 250, 350)
   1993-92     L6/5.9L                                                      600                    27
   1993-92     L6/5.9L     Opt                                              810                    27
   1993-92     V6/3.9L                                                      600                    27
   1993-92     V6/3.9L     Opt                                              810                    27
   1993-92     V8/5.2L                                                      600                    27
   1993-92     V8/5.2L     Opt                                              810                    27
   1993-92     V8/5.9L                                                      600                    27
   1993-92     V8/5.9L     Opt                                              810                    27
   1993-89     L6/5.9L     Dsl                                              6002                   27
   1993-89     L6/5.9L     Dsl                                              10252                  —
   1993-89     L6/5.9L     Dsl, Opt                                         7702                   78
   1991-89     L6/5.9L                                                      600                    34
   1991-89     L6/5.9L     Opt                                              685                    34
   1991-88     V6/3.9L                                                      600                    34
   1991-88     V6/3.9L     Opt                                              685                    34
   1991-88     V8/5.2L                                                      600                    34
   1991-88     V8/5.2L     Opt                                              685                    34
   1991-88     V8/5.9L                                                      600                    34
   1991-88     V8/5.9L     Opt                                              685                    34
   Dodge Dakota
   2009-08     V6/3.7L                                                      60057                  65                65 AGM
   2009-08     V8/4.7L                                                      60057                  65                65 AGM
   2007-06     V6/3.7L                                                      600                    65                65 AGM
   2007-06     V8/4.7L                                                      600                    65                65 AGM
   2005-04     V6/3.7L                                                      600                    27
   2005-00     V8/4.7L                                                      600                    27
   2004-01     V8/4.7L     Opt                                              750                    27
   2003-98     V8/5.9L                                                      600                    27
   2003-98     V8/5.9L     Opt                                              750                    27
   2003-92     V6/3.9L                                                      600                    27
   2003-92     V6/3.9L     Opt                                              750                    27
   2002-92     L4/2.5L                                                      600                    27
   1999-92     L4/2.5L     Opt                                              750                    27
   1999-92     V8/5.2L                                                      600                    27
   1999-92     V8/5.2L     Opt                                              750                    27
   1991-89     L4/2.5L                                                      600                    34
   1991-89     L4/2.5L     Opt                                              685                    34
   1991-89     V8/5.2L                                                      600                    34
   1991-89     V8/5.2L     Opt                                              685                    34
   1991-88     V6/3.9L                                                      600                    34
   1991-88     V6/3.9L     Opt                                              685                    34
   2010        V6/3.7L                                                      600                    65                65 AGM
   2010        V6/3.7L     Opt                                              750                    65                65 AGM
   2010        V8/4.7L                                                      600                    65                65 AGM
   2010        V8/4.7L     Opt                                              750                    65                65 AGM
   2009        V6/3.7L     Opt                                              75057                  65                65 AGM
   2009        V8/4.7L     Opt                                              75057                  65                65 AGM
   2006        V6/3.7L     Opt                                              650                    65                65 AGM
   2006        V8/4.7L     Opt                                              650                    65                65 AGM
   Dodge Dart
   2016-14     L4/1.4L                                                      600                    —                 —
   2016-14     L4/2.0L     SE                                               600                    —                 —
   2016-13     L4/2.0L     Ex SE                                            600                    H6 (48)           H6 (48) AGM
   2016-13     L4/2.4L                                                      600                    H6 (48)           H6 (48) AGM
   2016-13     L4/2.4L     Opt                                              500                    H5 (47)           H5 (47) AGM
   2014-13     L4/1.4L                                                      600                    H6 (48)           H6 (48) AGM
   2014-13     L4/2.0L     SE                                               500                    H5 (47)           H5 (47) AGM
   2016        L4/2.0L                                                      600                    —                 —
   2014        L4/1.4L                                                      500                    H5 (47)           H5 (47) AGM
   2014        L4/2.0L                                                      500                    H5 (47)           H5 (47) AGM
   Dodge Daytona
   1993-92     L4/2.2L                                                      600                    34
   1993-92     L4/2.5L                                                      600                    34
   1993-90     V6/3.0L                                                      500                    34
   1990-88     L4/2.2L                                                      500                    34
   1990-88     L4/2.5L                                                      500                    34
   See page 158 for Footnotes. Selection may vary by warehouse.

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62                                                           Automotive/Light Truck
  YEAR      ENGINE                                 OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                            CCA/RATING             (NOTES)          (NOTES)

Dodge Daytona (continued)
1991      L4/2.5L    Ex Turbo                                         625                    34
1991      L4/2.5L    Turbo                                            500                    34
Dodge Durango
2021-18   V6/3.6L    w/o Start/Stop                                   70033, 50              H7 (94R) AGM      —
2021-18   V6/3.6L    w/Start/Stop                                     65033, 50              H6 (48) AGM       —
2021-18   V8/6.4L                                                     70033, 50              H7 (94R) AGM      —
2021-17   V6/3.6L    Auxiliary for Start/Stop                         20033, 50              —                 —
2021-17   V6/3.6L    w/Special Service Package                        80033, 50              H8 (49) AGM       —
2021-14   V8/5.7L    w/o Special Service Package                      70033, 50              H7 (94R) AGM      —
2021-14   V8/5.7L    w/Special Service Package                        80033, 50              H8 (49) AGM       —
2020-18   V8/5.7L                                                     70050                  H7 (94R)          H7 (94R) AGM
2020-18   V8/6.4L                                                     70050                  H7 (94R)          H7 (94R) AGM
2017-16   V6/3.6L    w/o Start/Stop                                   80033, 50              H7 (94R) AGM      —
2017-16   V6/3.6L    w/Start/Stop                                     76033, 50              H6 (48) AGM       —
2017-15   V8/5.7L                                                     80033, 50              H8 (49) AGM       —
2015-14   V6/3.6L                                                     73033, 50              H7 (94R) AGM      —
2013-11   V6/3.6L                                                     70033, 50              H7 (94R) AGM      —
2013-11   V8/5.7L                                                     70033, 50              H7 (94R) AGM      —
2007-04   V6/3.7L                                                     600                    65                65 AGM
2007-04   V8/4.7L                                                     600                    65                65 AGM
2007-04   V8/5.7L                                                     600                    65                65 AGM
2006-04   V6/3.7L    Opt                                              750                    65                65 AGM
2003-98   V8/5.9L                                                     600                    27
2003-98   V8/5.9L    Opt                                              750                    27
2003-00   V8/4.7L                                                     600                    27
2003-00   V8/4.7L    Opt                                              750                    27
2000-98   V8/5.2L                                                     600                    27
2000-98   V8/5.2L    Opt                                              750                    27
1999-98   V6/3.9L                                                     600                    27
1999-98   V6/3.9L    Opt                                              750                    27
2018      V8/5.7L    Opt                                              80050                  —                 H8 (49) AGM
2018      V8/6.4L    Opt                                              80050                  —                 H8 (49) AGM
2016      V6/3.6L    Auxiliary for Start/Stop                         20045                  —
2009      V6/3.7L                                                     75057                  65                65 AGM
2009      V8/4.7L                                                     75057                  65                65 AGM
2009      V8/5.7L                                                     75057                  65                65 AGM
2009      V8/5.7L    Hybrid                                           50057                  90 (T5)
2008      V6/3.7L                                                     60057                  65                65 AGM
2008      V8/4.7L                                                     60057                  65                65 AGM
2008      V8/5.7L                                                     60057                  65                65 AGM
2006      V8/4.7L    Opt                                              750                    65                65 AGM
2006      V8/5.7L    Opt                                              750                    65                65 AGM
Dodge Dynasty
1993-92   L4/2.5L                                                     600                    34
1993-90   V6/3.3L                                                     500                    34
1993-88   V6/3.0L                                                     500                    34
1990-88   L4/2.5L                                                     500                    34
1991      L4/2.5L    Ex Turbo                                         625                    34
Dodge Grand Caravan (See Caravan, Grand Caravan)
Dodge Intrepid
2004-98   V6/2.7L                                                     500                    34
2004-00   V6/3.5L                                                     600                    34
2000-98   V6/3.2L                                                     600                    34
1997-95   V6/3.3L                                                     600                    34
1997-95   V6/3.5L                                                     600                    34
1994-93   V6/3.3L                                                     500                    34
1994-93   V6/3.5L                                                     500                    34
Dodge Journey
2020-09 L4/2.4L                                                       525                    86
2019-11 V6/3.6L                                                       525                    86
2010-09 V6/3.5L                                                       525                    86
Dodge Magnum
2008-06   V8/6.1L                                                     73050                  H7 (94R)          H7 (94R) AGM
2008-05   V6/2.7L                                                     73050                  H7 (94R)          H7 (94R) AGM
2008-05   V6/3.5L                                                     73050                  H7 (94R)          H7 (94R) AGM
2008-05   V8/5.7L                                                     73050                  H7 (94R)          H7 (94R) AGM
Dodge Monaco
1992      V6/3.0L                                                     600                    34
1991      V6/3.0L                                                     625                    34
1990      V6/3.0L                                                     500                    34
                                                                     See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                63
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE    ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)         (NOTES)

   Dodge Neon
   2005-03 L4/2.4L                                                          450                    26R
   2005-00 L4/2.0L                                                          450                    26R
   1999-95 L4/2.0L                                                          45035                  58
   Dodge Nitro
   2011-07 V6/3.7L                                                          600                    34
   2011-07 V6/4.0L                                                          600                    34
   Dodge Omni
   1990        L4/2.2L                                                      430                    34
   Dodge Ram 50
   1993-91     L4/2.4L     4WD                                              435                    51
   1993-91     L4/2.4L     RWD, Can                                         490                    24
   1993-91     L4/2.4L     RWD, US                                          435                    51
   1992-91     L4/2.4L     RWD, HD, Can                                     580                    24
   1991-90     V6/3.0L                                                      490                    24
   1991        V6/3.0L     Opt                                              580                    24
   1990        L4/2.4L     Can                                              580                    24
   1990        L4/2.4L     US                                               435                    51
   Dodge Ram Pickup (1500-3500)
   2009-08     L6/6.7L     Dsl                                              7502, 57               65                65 AGM
   2007-06     V6/3.7L                                                      600                    65                65 AGM
   2007-03     V8/5.7L                                                      600                    65                65 AGM
   2007-03     V8/5.7L     Opt                                              750                    65                65 AGM
   2007-02     L6/5.9L     Dsl                                              7502                   65                65 AGM
   2006-03     V6/3.7L     Opt                                              750                    65                65 AGM
   2006-03     V8/4.7L     Opt                                              750                    65                65 AGM
   2005-04     V10/8.3L                                                     750                    65                65 AGM
   2005-04     V6/3.7L                                                      650                    65                65 AGM
   2004-03     V8/4.7L                                                      600                    65                65 AGM
   2003-94     V8/5.9L                                                      600                    27
   2003-94     V8/5.9L     Opt                                              750                    27
   2002-01     V10/8.0L    Early 2002                                       750                    27
   2001-97     L6/5.9L     Dsl or HD                                        7502                   27
   2001-94     V6/3.9L                                                      600                    27
   2001-94     V6/3.9L     Opt                                              750                    27
   2001-94     V8/5.2L                                                      600                    27
   2001-94     V8/5.2L     Opt                                              750                    27
   2001-00     L6/5.9L     Dsl                                              7502                   27
   2000-94     V10/8.0L                                                     750                    27
   1996-94     L6/5.9L                                                      600                    27
   1996-94     L6/5.9L     Dsl                                              7502                   27
   2010        L6/6.7L     Dsl                                              7302                   H7 (94R)          H7 (94R) AGM
   2010        V6/3.7L                                                      700                    H7 (94R)          H7 (94R) AGM
   2010        V8/4.7L                                                      700                    H7 (94R)          H7 (94R) AGM
   2010        V8/5.7L                                                      700                    H7 (94R)          H7 (94R) AGM
   2009        V6/3.7L     Mexico Production                                70057                  65                65 AGM
   2009        V6/3.7L     US Production                                    700                    H7 (94R)          H7 (94R) AGM
   2009        V8/4.7L     Mexico Production                                70057                  65                65 AGM
   2009        V8/4.7L     US                                               70057                  H7 (94R)          H7 (94R) AGM
   2009        V8/4.7L     US Production                                    700                    H7 (94R)          H7 (94R) AGM
   2009        V8/5.7L     Mexico Production                                70057                  65                65 AGM
   2009        V8/5.7L     US Production                                    700                    H7 (94R)          H7 (94R) AGM
   2008        V6/3.7L                                                      60057                  65                65 AGM
   2008        V8/4.7L                                                      60057                  65                65 AGM
   2008        V8/5.7L     HD, Mexico Production                            75057                  65                65 AGM
   2008        V8/5.7L     HD, US Production                                730                    H7 (94R)          H7 (94R) AGM
   2008        V8/5.7L     Mexico Production                                65057                  65                65 AGM
   2008        V8/5.7L     US                                               62557                  H7 (94R)          H7 (94R) AGM
   2008        V8/5.7L     US Production                                    625                    H7 (94R)          H7 (94R) AGM
   2007        L6/6.7L     Dsl                                              7502                   65                65 AGM
   2007        V8/4.7L                                                      750                    65                65 AGM
   2006        V10/8.3L                                                     600                    65                65 AGM
   2006        V10/8.3L    Opt                                              750                    65                65 AGM
   2006        V8/4.7L                                                      600                    65                65 AGM
   2005        V8/4.7L                                                      650                    65                65 AGM
   2003        V10/8.0L    Late 2002 on                                     750                    65                65 AGM
   2003        V6/3.7L                                                      600                    65                65 AGM
   2002        L6/5.9L     Dsl, Early, 2500, 3500                           7502                   27
   2002        L6/5.9L     Dsl, Late                                        6502                   65                65 AGM
   2002        L6/5.9L     Dsl, Late 2002, 2500, 3500                       7502                   65                65 AGM
   2002        V10/8.0L    Late 2002                                        650                    65                65 AGM
   2002        V6/3.7L     Early or HD                                      750                    27
   See page 158 for Footnotes. Selection may vary by warehouse.

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64                                                     Automotive/Light Truck
  YEAR      ENGINE                           OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                      CCA/RATING             (NOTES)          (NOTES)

Dodge Ram Pickup (1500-3500) (continued)
2002      V6/3.7L    Late 2002                                  650                    65                65 AGM
2002      V8/4.7L    Late 2002                                  650                    65                65 AGM
2002      V8/4.7L    Late 2002, 2500, 3500                      750                    27
2002      V8/5.9L    Early or HD                                750                    27
2002      V8/5.9L    Late                                       650                    65                65 AGM
2002      V8/5.9L    Late 2002                                  650                    65                65 AGM
Dodge Ram Van (1500-3500)
2003-99   V6/3.9L                                               600                    27
2003-99   V6/3.9L    Opt                                        750                    27
2003-99   V8/5.2L                                               600                    27
2003-99   V8/5.2L    Opt                                        750                    27
2003-99   V8/5.9L                                               600                    27
2003-99   V8/5.9L    Opt                                        750                    27
Dodge Ramcharger
1993-92   V8/5.2L                                               610                    27
1993-92   V8/5.2L    Opt                                        685                    27
1993-92   V8/5.9L                                               610                    27
1993-92   V8/5.9L    Opt                                        685                    27
1991-89   V8/5.2L    Opt                                        685                    34
1991-89   V8/5.9L    Opt                                        685                    34
1991-88   V8/5.2L                                               600                    34
1991-88   V8/5.9L                                               600                    34
Dodge Shadow
1994-92   L4/2.5L                                               600                    34
1994-92   V6/3.0L                                               500                    34
1994-90   L4/2.2L                                               500                    34
1990-88   L4/2.5L                                               500                    34
1991      L4/2.5L                                               625                    34
Dodge Spirit
1995-91   L4/2.5L                                               600                    34
1995-89   V6/3.0L                                               500                    34
1992-91   L4/2.2L                                               600                    34
1990-89   L4/2.5L                                               500                    34
Dodge Sprinter 2500
2009-07 V6/3.0L      Dsl                                        85050                  —                 H8 (49) AGM
2008-07 V6/3.5L                                                 85050                  —                 H8 (49) AGM
2006-03 L5/2.7L      Dsl                                        85050                  —                 H8 (49) AGM
Dodge Sprinter 3500
2009-07 V6/3.0L      Dsl                                        85050                  —                 H8 (49) AGM
2008-07 V6/3.5L                                                 85050                  —                 H8 (49) AGM
2006-03 L5/2.7L      Dsl                                        85050                  —                 H8 (49) AGM
Dodge Stealth
1996-94   V6/3.0L                                               520                    25
1993-92   V6/3.0L                                               490                    24
1993-91   V6/3.0L    Opt                                        585                    24
1991      V6/3.0L    DOHC                                       490                    24
1991      V6/3.0L    SOHC                                       420                    25
Dodge Stratus
2006-95   L4/2.4L    w/Side Terminals                           510                    75
2006-03   V6/2.7L    Sedan                                      510                    75
2006-03   V6/2.7L    w/Side Terminals                           510                    75
2006-01   L4/2.4L    Top Terminal                               525                    86
2006-01   V6/2.7L    Coupe                                      525                    86
2006-01   V6/2.7L    Top Terminal                               525                    86
2005-01   V6/3.0L    Top Terminal                               525                    86
2005-01   V6/3.0L    w/Side Terminals                           510                    75
2000-98   L4/2.0L                                               510                    86
2000-95   L4/2.0L    Top Terminal                               510                    86
2000-95   V6/2.5L    Top Terminal                               510                    86
2002      V6/2.7L    Sedan                                      510                    86
2001      V6/2.7L    Sedan                                      510                    75
Dodge SX 2.0
2005-03 L4/2.0L                                                 450                    26R
Dodge Viper
2017-15   V10/8.4L                                              59050                  90 (T5)
2010-08   V10/8.4L                                              60050                  34
2006-03   V10/8.3L                                              600                    34
2002-97   V10/8.0L                                              650                    78
                                                               See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                               65
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE   ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)        (NOTES)

   Dodge Viper (continued)
   1996-92 V10/8.0L                                                         770                    78
   1992    V10/8.0L                                                         650                    78
   Dodge Viper SRT
   2014-13 V10/8.4L                                                         590                    90 (T5)
   Eagle 2000 GTX
   1993-91 L4/2.0L                                                          500                    24
   Eagle Premier
   1991-90 V6/3.0L                                                          500                    34
   1992    V6/3.0L                                                          600                    34
   Eagle Summit
   1996-95     L4/1.5L                                                      435                    51
   1996-95     L4/1.8L                                                      435                    51
   1996-95     L4/1.8L     Wagon                                            355                    25
   1996-95     L4/2.4L                                                      435                    51
   1996-95     L4/2.4L     Wagon                                            490                    24
   1994-93     L4/1.5L     Can                                              580                    24
   1994-93     L4/1.5L     Ex Wagon, US                                     435                    51
   1994-93     L4/1.5L     US, Wagon                                        350                    25
   1994-93     L4/1.8L     Can                                              580                    24
   1994-93     L4/1.8L     Ex Wagon, US                                     435                    51
   1994-93     L4/2.4L     Can                                              580                    24
   1994-93     L4/2.4L     Ex Wagon, US                                     435                    51
   1994-92     L4/1.8L     Wagon, US                                        350                    25
   1994-92     L4/2.4L     Wagon, US                                        490                    24
   1992-91     L4/1.5L     Ex Wagon                                         355                    25
   1992-91     L4/1.5L     Opt                                              430                    25
   1992-90     L4/1.5L     Can                                              420                    25
   1992        L4/1.5L     Wagon, Can                                       580                    24
   1992        L4/1.8L     Can                                              420                    25
   1992        L4/1.8L     Opt                                              430                    25
   1992        L4/1.8L     Wagon, Can                                       580                    24
   1992        L4/2.4L     Can                                              420                    25
   1992        L4/2.4L     Ex Wagon                                         355                    25
   1992        L4/2.4L     Opt                                              430                    25
   1992        L4/2.4L     Wagon, Can                                       580                    24
   1990        L4/1.5L     US                                               355                    25
   1990        L4/1.6L     Can                                              420                    25
   1990        L4/1.6L     US                                               435                    51
   Eagle Talon
   1998-95     L4/2.0L     AT                                               525                    86
   1998-95     L4/2.0L     MT                                               430                    86
   1997-95     L4/2.0L     Turbo, AT                                        525                    86
   1994-93     L4/1.8L     Can, w/AT                                        525                    86
   1994-93     L4/1.8L     Can, w/MT                                        430                    86
   1994-90     L4/2.0L     Can or Turbo                                     525                    86
   1994-90     L4/2.0L     US                                               430                    86
   1998        L4/2.0L     Turbo                                            525                    86
   1993        L4/1.8L     US                                               430                    86
   Eagle Vision
   1997-95     V6/3.3L                                                      600                    34
   1997-95     V6/3.5L                                                      600                    34
   1994-93     V6/3.3L                                                      500                    34
   1994-93     V6/3.5L                                                      500                    34
   Eagle Vista
   1992-90 L4/1.5L                                                          420                    25
   1991-90 L4/2.0L                                                          420                    25
   Ferrari 348 GTB
   1994-93 V8/3.4L                                                          N/A                    —
   Ferrari 348 GTS
   1994-93 V8/3.4L                                                          N/A                    —
   Ferrari 348 Spider
   1995-93 V8/3.4L                                                          N/A                    —
   Ferrari 348 tb
   1992-90 V8/3.4L                                                          N/A                    —
   Ferrari 348 ts
   1992-89 V8/3.4L                                                          N/A                    —
   Ferrari 360
   2005-00 V8/3.6L                                                          57050                  —
   See page 158 for Footnotes. Selection may vary by warehouse.

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66                                              Automotive/Light Truck
  YEAR      ENGINE                    OPTIONS                   ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                    CCA/RATING             (NOTES)            (NOTES)

Ferrari 458 Italia
2015-10 V8/4.5L                                              76033, 50, 54           H6 (48) AGM       —
Ferrari 458 Speciale
2015      V8/4.5L                                            76033, 50, 54           H6 (48) AGM       —
Ferrari 458 Spider
2015-12 V8/4.5L                                              76033, 50, 54           H6 (48) AGM       —
Ferrari 488 GTB
2019-16 V8/3.9L                                              76033, 50, 54           H6 (48) AGM       —
Ferrari 488 Spider
2018-16 V8/3.9L                                              76033, 50, 54           H6 (48) AGM       —
Ferrari 575M Maranello
2005      V12/5.7L                                           68054                   —
Ferrari 599 GTB
2009-07 V12/6.0L                                             80050, 54               —
Ferrari 612 Scaglietti
2010-05 V12/5.7L                                             8506, 48, 50, 54        —
Ferrari California
2014-09 V8/4.3L      w/o Start/Stop                          85050, 54               —
2014-09 V8/4.3L      w/Start/Stop                            85033, 50, 54           H8 (49) AGM
Ferrari F430
2009-06 V8/4.3L                                              76050, 54               —
Ferrari Mondial t
1990      V8/3.4L                                            700                     —
Ferrari Superamerica
2005      V12/5.7L                                           85054                   —
Ferrari Testarossa
1990      H12/4.9L                                           70045                   —
Fiat 124 Spider
2017      L4/1.4L                                            600                     H6 (48)           H6 (48) AGM
Fiat 500
2019-16 L4/1.4L      US                                      500                     H5 (47)           H5 (47) AGM
2018-16 L4/1.4L                                              500                     H5 (47)           H5 (47) AGM
2015-13              Electric, US                            500                     H5 (47)           H5 (47) AGM
2015-13              Electric, Can                           650                     —                 H5 (47) AGM
2019                 Electric, US                            500                     H5 (47)           H5 (47) AGM
2019                 Electric, Can                           650                     —                 H5 (47) AGM
2019    L4/1.4L      Can                                     650                     —                 H5 (47) AGM
Fiat 500L
2017-14 L4/1.4L                                              500                     H5 (47)           H5 (47) AGM
Fiat 500X
2016      L4/1.4L                                            500                     H5 (47)           H5 (47) AGM
2016      L4/2.4L                                            600                     H6 (48)           H6 (48) AGM
Ford Aerostar
1997-90 V6/4.0L                                              650                     65                65 AGM
1997-89 V6/3.0L      From 10/1/1988                          650                     65                65 AGM
Ford Aspire
1997-94 L4/1.3L                                              460                     35                35 AGM
Ford Bronco
2022-21   L4/2.3L                                            80033                   H7 (94R) AGM
2022-21   V6/2.7L                                            80033                   H7 (94R) AGM
1996-90   V8/5.0L                                            650                     65                65 AGM
1996-90   V8/5.8L                                            650                     65                65 AGM
1992-90   L6/4.9L                                            650                     65                65 AGM
Ford Bronco II
1990      V6/2.9L                                            650                     65                65 AGM
Ford Bronco Sport
2022-21   L3/1.5L                                            70059                   —                 —
2022-21   L4/2.0L                                            70059                   —                 —
2022      L3/1.5L    Opt                                     76033                   H6 (48) AGM       —
2022      L4/2.0L    Opt                                     76033                   H6 (48) AGM       —
Ford C-Max
2018-13 L4/2.0L      Hybrid                                  39050                   —
Ford Contour
2000-98 L4/2.0L                                              590                     40R
2000-98 V6/2.5L                                              590                     40R
1997-95 L4/2.0L                                              590                     96R
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

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                                                                                 Ford
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   Automotive/Light Truck                                                                                                   67
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Ford Contour (continued)
   1997-95 L4/2.0L         Opt                                              650                    —
   1997-95 V6/2.5L                                                          650                    —
   Ford Country Squire
   1991-90 V8/5.0L         Opt                                              650                    65                65 AGM
   1991-90 V8/5.0L                                                          540                    58
   Ford Crown Victoria
   2011-09     V8/4.6L     Opt                                              750                    65                65 AGM
   2011-07     V8/4.6L                                                      650                    65                65 AGM
   2006-98     V8/4.6L     PPkg                                             750                    65                65 AGM
   2006-98     V8/4.6L     US                                               650                    65                65 AGM
   2006-92     V8/4.6L     Can & Opt                                        750                    65                65 AGM
   1997-96     V8/4.6L     Natural Gas                                      850                    65                —
   1997-92     V8/4.6L     w/HWS or PPkg                                    850                    65                —
   1995-92     V8/4.6L     US                                               540                    58
   2003        V8/4.6L     Can or Opt                                       750                    65                65 AGM
   1997        V8/4.6L     US                                               540                    59
   1996        V8/4.6L     Early                                            540                    58
   1996        V8/4.6L     Late                                             540                    59
   Ford EcoSport
   2021-18 L3/1.0L                                                          76033                  H6 (48) AGM       —
   2021-18 L4/2.0L                                                          76033                  H6 (48) AGM       —
   Ford Edge
   2022-19     L4/2.0L                                                      76033                  H6 (48) AGM       —
   2022-19     V6/2.7L                                                      76033                  H6 (48) AGM       —
   2018-15     L4/2.0L     w/o Start/Stop                                   590                    90 (T5)
   2018-15     L4/2.0L     w/o Start/Stop                                   590                    90 (T5)
   2018-15     L4/2.0L     w/Start/Stop                                     76033                  H6 (48) AGM       —
   2018-15     V6/2.7L                                                      590                    90 (T5)
   2018-15     V6/3.5L                                                      590                    90 (T5)
   2017-15     L4/2.0L                                                      590                    90 (T5)
   2017-15     L4/2.0L     Start/Stop                                       76033                  H6 (48) AGM       —
   2014-12     L4/2.0L     w/o Power Code Remote Start                      540                    59
   2014-12     L4/2.0L     w/Power Code Remote Start                        650                    65                65 AGM
   2014-11     V6/3.5L     w/o Power Code Remote Start                      540                    59
   2014-11     V6/3.5L     w/Power Code Remote Start                        650                    65                65 AGM
   2014-11     V6/3.7L     w/o Power Code Remote Start                      540                    59
   2014-11     V6/3.7L     w/Power Code Remote Start                        650                    65                65 AGM
   2010        V6/3.5L                                                      650                    36R
   2009        V6/3.5L                                                      540                    36R
   2009        V6/3.5L     Opt                                              600                    36R
   2008        V6/3.5L                                                      600                    36R
   2007        V6/3.5L                                                      580                    36R
   Ford Escape
   2022-21     L3/1.5L                                                      76033                  H6 (48) AGM       —
   2022-21     L4/2.0L                                                      76033                  H6 (48) AGM       —
   2022-20     L4/2.5L     Hybrid                                           470                    —                 —
   2019-15     L4/2.5L                                                      590                    96R
   2018-17     L4/1.5L     w/o Start/Stop/Intelligent access                590                    96R
   2018-17     L4/1.5L     w/Start/Stop/Intelligent access                  76033                  H6 (48) AGM       —
   2018-17     L4/2.0L     w/o Start/Stop/Intelligent access                590                    96R
   2018-17     L4/2.0L     w/Start/Stop/Intelligent access                  76033                  H6 (48) AGM       —
   2016-15     L4/1.6L                                                      590                    96R
   2016-15     L4/2.0L                                                      590                    96R
   2014-13     L4/1.6L                                                      500                    96R
   2014-13     L4/1.6L     Opt                                              590                    96R
   2014-13     L4/2.0L     Opt                                              590                    96R
   2014-13     L4/2.5L                                                      500                    96R
   2014-13     L4/2.5L     Opt                                              590                    96R
   2014-01     L4/2.0L                                                      500                    96R
   2012-11     V6/3.0L                                                      590                    96R
   2012-09     L4/2.5L     Hybrid                                           500                    96R
   2010-09     L4/2.5L     Ex Hybrid                                        590                    40R
   2009-01     V6/3.0L                                                      590                    40R
   2008-05     L4/2.3L     Ex Hybrid                                        590                    40R
   2008-05     L4/2.3L     Hybrid                                           500                    96R
   2020        L3/1.5L                                                      70059                  —                 —
   2020        L4/2.0L                                                      70059                  —                 —
   2019        L4/1.5L                                                      76033                  H6 (48) AGM       —
   2019        L4/2.0L                                                      76033                  H6 (48) AGM       —
   2010        L4/2.5L     Gas                                              650                    —
   2010        L4/2.5L     Gas, Opt                                         590                    96R
   See page 158 for Footnotes. Selection may vary by warehouse.

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68                                                                Automotive/Light Truck
  YEAR      ENGINE                                      OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                 CCA/RATING             (NOTES)            (NOTES)

Ford Escape (continued)
2010      V6/3.0L                                                          650                    —
2010      V6/3.0L    Opt                                                   590                    96R
Ford Escort
2003-98   L4/2.0L                                                          500                    58
1996-95   L4/1.8L                                                          540                    35                35 AGM
1996-91   L4/1.9L                                                          460                    35                35 AGM
1994-91   L4/1.8L                                                          460                    35                35 AGM
1990-87   L4/1.9L    HD or w/MFI                                           540                    58
1997      L4/2.0L                                                          540                    58
1990      L4/1.9L    w/CFI                                                 460                    58
Ford E-Series Vans
2022-21   V8/7.3L    Auxiliary, E-350 Super Duty                           750                    65                65 AGM
2022-21   V8/7.3L    Primary Battery E-350 Super Duty                      750                    65                65 AGM
2019-17   V10/6.8L   Auxiliary Battery                                     750                    —                 65 AGM
2019-17   V8/6.2L    Auxiliary Battery                                     750                    —                 65 AGM
2019-17   V8/6.2L    Primary Battery                                       650                    65                65 AGM
2019-03   V10/6.8L   Primary Battery                                       650                    65                65 AGM
2016-97   V8/5.4L    Primary Battery                                       650                    65                65 AGM
2016-07   V10/6.8L   Auxiliary Battery                                     75031                  —                 65 AGM
2016-07   V8/5.4L    Auxiliary Battery                                     75031                  —                 65 AGM
2014-07   V8/4.6L    Auxiliary Battery                                     75031                  —                 65 AGM
2014-03   V10/6.8L                                                         650                    65                65 AGM
2014-03   V8/4.6L                                                          650                    65                65 AGM
2014-00   V8/5.4L                                                          650                    65                65 AGM
2010-04   V8/6.0L    Dsl                                                   7502                   65                65 AGM
2008-07   V8/5.4L                                                          6502                   65                65 AGM
2006-97   V10/6.8L   Auxiliary Battery                                     62531                  —                 65 AGM
2006-97   V8/4.6L    Auxiliary Battery                                     62531                  —                 65 AGM
2006-97   V8/5.4L    Auxiliary Battery                                     62531                  —                 65 AGM
2003-97   V6/4.2L                                                          650                    65                65 AGM
2003-97   V6/4.2L    Auxiliary Battery                                     62531                  —                 65 AGM
2003-97   V8/7.3L    Dsl                                                   7502                   65                65 AGM
2002-99   V10/6.8L   Auxiliary Battery                                     65031                  —                 65 AGM
2002-99   V10/6.8L   Primary Battery                                       750                    65                65 AGM
2002-97   V10/6.8L                                                         750                    65                65 AGM
2002-97   V6/4.2L    Opt                                                   750                    65                65 AGM
2002-97   V8/4.6L    Opt                                                   750                    65                65 AGM
2002-97   V8/5.4L    Opt                                                   750                    65                65 AGM
2001-97   V8/4.6L    Primary Battery                                       650                    65                65 AGM
1996-95   V8/5.0L                                                          650                    65                65 AGM
1996-95   V8/5.0L                                                          850                    65                —
1996-95   V8/5.0L    Primary Battery                                       850                    65                —
1996-92   L6/4.9L                                                          650                    65                65 AGM
1996-92   L6/4.9L    Auxiliary Battery                                     50031                  —
1996-92   L6/4.9L    Opt                                                   850                    65                —
1996-92   L6/4.9L    Primary Battery                                       650                    65                65 AGM
1996-92   V8/5.0L    Auxiliary Battery                                     50031                  —
1996-92   V8/5.0L    Primary Battery                                       650                    65                65 AGM
1996-92   V8/5.8L                                                          650                    65                65 AGM
1996-92   V8/5.8L    Auxiliary Battery                                     50031                  —
1996-92   V8/5.8L    Opt                                                   850                    65                —
1996-92   V8/7.3L    Dsl, Left Side                                        850                    65                —
1996-92   V8/7.3L    Dsl, Right Side                                       600                    —
1996-92   V8/7.5L    Auxiliary Battery                                     50031                  —
1996-92   V8/7.5L    Gas                                                   650                    65                65 AGM
1996-92   V8/7.5L    Opt                                                   850                    65                —
1994-92   V8/5.0L    Opt                                                   850                    65                —
1991-90   L6/4.9L    Auxiliary Battery                                     350                    24F               24F AGM
1991-90   L6/4.9L    Gas                                                   535                    —
1991-90   V8/5.0L    Auxiliary Battery                                     350                    24F               24F AGM
1991-90   V8/5.0L    Gas                                                   535                    —
1991-90   V8/5.8L    Auxiliary Battery                                     350                    24F               24F AGM
1991-90   V8/5.8L    Gas                                                   535                    —
1991-90   V8/7.3L    Dsl                                                   7002                   27
1991-90   V8/7.5L    Auxiliary Battery                                     350                    24F               24F AGM
1991-90   V8/7.5L    Gas                                                   535                    —
1991-89   L6/4.9L    Primary Battery                                       535                    —
1991-86   L6/4.9L                                                          535                    —
2002      V8/4.6L    Auxiliary, HD                                         65031                  —                 65 AGM
2002      V8/5.4L                                                          65031                  —                 65 AGM
2002      V8/5.4L    Auxiliary Battery                                     65031                  —                 65 AGM
                                                                          See page 158 for Footnotes. Selection may vary by warehouse.

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                                                                                 Ford
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   Automotive/Light Truck                                                                                                69
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE    ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)         (NOTES)

   Ford Excursion
   2005-03     V8/6.0L     Dsl                                              7502                   65                65 AGM
   2005-00     V10/6.8L                                                     750                    65                65 AGM
   2005-00     V8/5.4L                                                      750                    65                65 AGM
   2003-00     V8/7.3L     Dsl                                              7502                   65                65 AGM
   Ford Expedition
   2022-21     V6/3.5L     From 11-30-20                                    76033                  H6 (48) AGM       —
   2021-18     V6/3.5L     To 11-30-20                                      80033                  H7 (94R) AGM      65 AGM
   2017-16     V6/3.5L     w/Intelligent Access                             750                    65                65 AGM
   2017-16     V6/3.5L     w/o Intelligent Access                           650                    65                65 AGM
   2014-97     V8/5.4L                                                      650                    65                65 AGM
   2014-07     V8/5.4L     Opt                                              750                    65                65 AGM
   2004-97     V8/4.6L                                                      650                    65                65 AGM
   2001-97     V8/4.6L     Opt                                              750                    65                65 AGM
   2001-97     V8/5.4L     Opt                                              750                    65                65 AGM
   2015        V6/3.5L                                                      650                    65                65 AGM
   2015        V6/3.5L     Opt                                              750                    65                65 AGM
   Ford Explorer
   2022-20     L4/2.3L                                                      76033                  H6 (48) AGM       —
   2022-20     V6/3.0L                                                      76033                  H6 (48) AGM       —
   2022-20     V6/3.3L     Hybrid                                           76033                  H6 (48) AGM       —
   2019-16     L4/2.3L     w/Intelligent Access                             650                    65                65 AGM
   2019-16     L4/2.3L     w/o Intelligent Access                           540                    59
   2019-15     V6/3.5L     w/Intelligent Access                             650                    65                65 AGM
   2019-15     V6/3.5L     w/o Intelligent Access                           540                    59
   2017-14     V6/3.5L     PPkg Version                                     750                    65                65 AGM
   2014-11     V6/3.5L                                                      650                    65                65 AGM
   2013-12     L4/2.0L                                                      650                    65                65 AGM
   2010-91     V6/4.0L                                                      650                    65                65 AGM
   2010-02     V8/4.6L                                                      650                    65                65 AGM
   2001-96     V8/5.0L                                                      650                    65                65 AGM
   2015        L4/2.0L     w/Intelligent Access                             650                    65                65 AGM
   2015        L4/2.0L     w/o Intelligent Access                           540                    59
   2014        L4/2.0L     w/o Power Code Remote Start                      540                    59
   2014        L4/2.0L     w/Power Code Remote Start                        650                    65                65 AGM
   2014        V6/3.5L     w/o Power Code Remote Start                      540                    59
   2014        V6/3.5L     w/Power Code Remote Start                        650                    65                65 AGM
   2006        V6/4.0L     Opt                                              750                    65                65 AGM
   2006        V8/4.6L     Opt                                              750                    65                65 AGM
   Ford Explorer Sport Trac
   2010-07 V6/4.0L                                                          650                    65                65 AGM
   2010-07 V8/4.6L                                                          650                    65                65 AGM
   2005-01 V6/4.0L                                                          650                    65                65 AGM
   Ford F-150, F-150 Heritage
   2022-21     V6/2.7L                                                      76033                  H6 (48) AGM       —
   2022-21     V6/3.3L                                                      76033                  H6 (48) AGM       —
   2022-21     V6/3.5L     Gas                                              76033                  H6 (48) AGM       —
   2022-21     V6/3.5L     Opt Gas, Hybrid                                  80033                  H7 (94R) AGM      —
   2022-21     V8/5.0L                                                      76033                  H6 (48) AGM       —
   2022-21     V8/5.0L     Opt                                              80033                  H7 (94R) AGM      —
   2021-18     V6/3.0L     Dsl                                              85033                  H8 (49) AGM       —
   2020-18     V6/3.3L     Ex King Ranch, Lariat, Platinum                  76033                  H6 (48) AGM       —
   2020-18     V6/3.3L     King Ranch, Lariat, Platinum                     80033                  H7 (94R) AGM      —
   2020-18     V6/3.5L     Ex King Ranch, Lariat, Platinum                  76033                  H6 (48) AGM       —
   2020-18     V6/3.5L     King Ranch, Lariat, Platinum                     80033                  H7 (94R) AGM      —
   2020-18     V8/5.0L     Ex King Ranch, Lariat, Platinum                  76033                  H6 (48) AGM       —
   2020-18     V8/5.0L     King Ranch, Lariat, Platinum                     80033                  H7 (94R) AGM      —
   2020-17     V6/2.7L     King Ranch, Lariat, Platinum                     80033                  H7 (94R) AGM      —
   2020-15     V6/2.7L     Ex King Ranch, Lariat, Platinum                  76033                  H6 (48) AGM       —
   2017-15     V6/3.5L     Ex King Ranch, Lariat, Platinum                  610                    H6 (48)           H6 (48) AGM
   2017-15     V6/3.5L     King Ranch, Lariat, Platinum                     730                    H7 (94R)          H7 (94R) AGM
   2017-15     V8/5.0L     Ex King Ranch, Lariat, Platinum                  610                    H6 (48)           H6 (48) AGM
   2017-15     V8/5.0L     King Ranch, Lariat, Platinum                     730                    H7 (94R)          H7 (94R) AGM
   2014-11     V6/3.5L                                                      750                    65                65 AGM
   2014-11     V6/3.7L                                                      750                    65                65 AGM
   2014-11     V8/5.0L                                                      750                    65                65 AGM
   2014-10     V8/6.2L                                                      750                    65                65 AGM
   2010-97     V8/4.6L                                                      540                    59
   2010-97     V8/5.4L                                                      540                    59
   2010-07     V8/4.6L     Opt                                              650                    65                65 AGM
   2010-07     V8/5.4L     Opt                                              650                    65                65 AGM
   2008-97     V6/4.2L                                                      540                    59
   See page 158 for Footnotes. Selection may vary by warehouse.

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70                                                            Automotive/Light Truck
  YEAR      ENGINE                                  OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                             CCA/RATING             (NOTES)          (NOTES)

Ford F-150, F-150 Heritage (continued)
2008-07   V6/4.2L    Opt                                               650                    65                65 AGM
2006-97   V6/4.2L    HD, Can                                           650                    65                65 AGM
2006-97   V8/4.6L    HD, Can                                           650                    65                65 AGM
2006-97   V8/5.4L    HD, Can                                           650                    65                65 AGM
1996-90   L6/4.9L    Opt                                               850                    65                —
1996-87   L6/4.9L                                                      650                    65                65 AGM
1996-87   V8/5.0L                                                      650                    65                65 AGM
1996-87   V8/5.0L    Opt                                               850                    65                —
1996-87   V8/5.8L                                                      650                    65                65 AGM
1996-87   V8/5.8L    Opt                                               850                    65                —
2015      V6/2.7L    King Ranch, Lariat, Platinum                      80033                  H7 (94R) AGM      —
Ford F-250 HD
1997      V8/5.8L                                                      540                    59
1997      V8/5.8L    Opt                                               750                    65                65 AGM
1997      V8/7.3L    Dsl                                               7502                   65                65 AGM
1997      V8/7.5L                                                      540                    59
1997      V8/7.5L    Opt                                               750                    65                65 AGM
Ford F-250, F-250 Super Duty
2022-20   V8/7.3L                                                      750                    65                65 AGM
2022-17   V8/6.2L    Ex XL                                             750                    65                65 AGM
2022-17   V8/6.2L    XL                                                650                    65                65 AGM
2022-11   V8/6.7L    Dsl                                               7502                   65                65 AGM
2022-11   V8/6.7L    Dsl                                               7502                   65                65 AGM
2016-11   V8/6.2L                                                      650                    65                65 AGM
2016-11   V8/6.2L    Opt                                               750                    65                65 AGM
2010-99   V10/6.8L                                                     650                    65                65 AGM
2010-99   V10/6.8L   Opt                                               750                    65                65 AGM
2010-08   V8/5.4L    HD, Over 8500 lb. GVW                             750                    65                65 AGM
2010-08   V8/6.4L    Dsl                                               7502                   65                65 AGM
2010-08   V8/6.4L                                                      7502                   65                65 AGM
2010-00   V8/5.4L                                                      650                    65                65 AGM
2007-99   V8/5.4L    Opt                                               750                    65                65 AGM
2006-03   V8/6.0L    Dsl                                               7502                   65                65 AGM
2003-99   V8/7.3L    Dsl                                               7502                   65                65 AGM
1999-97   V8/4.6L    Opt                                               650                    65                65 AGM
1999-97   V8/4.6L    Opt over 8500 lb.                                 650                    65                65 AGM
1999-97   V8/4.6L    Under 8500 lb. GVW                                540                    59
1999-97   V8/5.4L    HD, Over 8500 lb. GVW                             750                    65                65 AGM
1999-97   V8/5.4L    Over 8500 lb. GVW                                 650                    65                65 AGM
1999-97   V8/5.4L    Under 8500 lb. GVW                                540                    59
1996-88   V8/7.3L    Dsl                                               8502                   65                —
1996-87   L6/4.9L                                                      650                    65                65 AGM
1996-87   L6/4.9L    Opt                                               850                    65                —
1996-87   V8/5.0L                                                      650                    65                65 AGM
1996-87   V8/5.0L    Opt                                               850                    65                —
1996-87   V8/5.8L                                                      650                    65                65 AGM
1996-87   V8/5.8L    Opt                                               850                    65                —
1996-87   V8/7.5L                                                      650                    65                65 AGM
1996-87   V8/7.5L    Opt                                               850                    65                —
2007      V8/6.0L    Dsl                                               6502                   65                65 AGM
Ford F-350, F-350 Super Duty
2022-20   V8/7.3L                                                      750                    65                65 AGM
2022-17   V8/6.2L    Ex XL                                             750                    65                65 AGM
2022-17   V8/6.2L    XL                                                650                    65                65 AGM
2022-11   V8/6.7L    Dsl                                               7502                   65                65 AGM
2022-11   V8/6.7L    Dsl                                               7502                   65                65 AGM
2016-11   V8/6.2L                                                      650                    65                65 AGM
2016-11   V8/6.2L    Opt                                               750                    65                65 AGM
2010-99   V10/6.8L                                                     650                    65                65 AGM
2010-99   V10/6.8L   Opt                                               750                    65                65 AGM
2010-99   V8/5.4L                                                      650                    65                65 AGM
2010-99   V8/5.4L    Opt                                               750                    65                65 AGM
2010-08   V8/6.4L    Dsl                                               7502                   65                65 AGM
2006-03   V8/6.0L    Dsl                                               7502                   65                65 AGM
2003-97   V8/7.3L    Dsl                                               7502                   65                65 AGM
1996-88   V8/7.3L    Dsl                                               8502                   65                —
1996-87   L6/4.9L                                                      650                    65                65 AGM
1996-87   L6/4.9L    Opt                                               850                    65                —
1996-87   V8/5.8L                                                      650                    65                65 AGM
1996-87   V8/5.8L    Opt                                               850                    65                —
1996-87   V8/7.5L                                                      650                    65                65 AGM
1996-87   V8/7.5L    Opt                                               850                    65                —
                                                                      See page 158 for Footnotes. Selection may vary by warehouse.

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                                                                                 Ford
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   Automotive/Light Truck                                                                                                   71
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Ford F-350, F-350 Super Duty (continued)
   2007        V8/6.0L     Dsl                                              6502                   65                65 AGM
   1997        V8/5.8L                                                      540                    59
   1997        V8/5.8L     Opt                                              750                    65                65 AGM
   1997        V8/7.5L                                                      540                    59
   1997        V8/7.5L     Opt                                              750                    65                65 AGM
   Ford Festiva
   1993-88 L4/1.3L                                                          390                    35                35 AGM
   Ford Fiesta
   2019-11     L4/1.6L                                                      500                    96R
   2017-14     L3/1.0L                                                      500                    96R
   2017-14     L3/1.0L     Opt                                              590                    96R
   2017-14     L4/1.6L     Opt                                              590                    96R
   Ford Five Hundred
   2007-05 V6/3.0L                                                          540                    36R
   2006-05 V6/3.0L         Opt                                              600                    36R
   Ford Flex
   2019-10 V6/3.5L         Ex Ecoboost                                      650                    65                65 AGM
   2019-10 V6/3.5L         w/Ecoboost                                       750                    65                65 AGM
   2009    V6/3.5L                                                          750                    65                65 AGM
   Ford Focus
   2018-16     L4/2.0L     AT                                               590                    96R
   2018-16     L4/2.3L                                                      76033                  H6 (48) AGM       —
   2018-15     L3/1.0L                                                      76033                  H6 (48) AGM       —
   2018-15     L4/2.0L     MT                                               500                    96R
   2018-12                 Electric                                         390                    —
   2017-16     L4/2.3L     Automatic Dual Clutch                            590                    96R
   2017-16     L4/2.3L     MT                                               500                    96R
   2017-15     L4/2.0L     Automatic Dual Clutch                            590                    96R
   2017-12                 Electric                                         390                    —
   2014-13     L4/2.0L     w/Ecoboost                                       590                    96R
   2014-13     L4/2.0L     w/o Ecoboost                                     500                    96R
   2011-05     L4/2.0L                                                      500                    96R
   2007-05     L4/2.0L     Immersion Heater or Premium Radio                590                    40R
   2007-05     L4/2.3L     Immersion Heater or Premium Radio                590                    40R
   2007-03     L4/2.3L                                                      500                    96R
   2004-03     L4/2.0L     Ex Zetec                                         590                    40R
   2004-03     L4/2.0L     Zetec                                            500                    96R
   2002-00     L4/2.0L     Ex Zetec                                         500                    96R
   2002-00     L4/2.0L     Zetec                                            590                    40R
   2012        L4/2.0L     Automatic Dual Clutch                            590                    96R
   2012        L4/2.0L     MT                                               500                    96R
   Ford Freestar
   2007-04     V6/3.9L                                                      540                    59
   2007-04     V6/3.9L     Opt                                              650                    65                65 AGM
   2007-04     V6/4.2L                                                      540                    59
   2007-04     V6/4.2L     Opt                                              650                    65                65 AGM
   Ford Freestyle
   2007-05 V6/3.0L                                                          540                    36R
   2006-05 V6/3.0L         Opt                                              600                    36R
   Ford Fusion
   2020-18 L4/1.5L                                                          76033                  H6 (48) AGM       —
   2020-18 L4/2.0L         Gas w/Intelligent Access                         590                    90 (T5)
   2020-18 L4/2.0L         Gas w/Start/Stop                                 76033                  H6 (48) AGM       —
   2020-18 L4/2.0L         Hybrid                                           590                    90 (T5)
   2020-18 L4/2.5L                                                          590                    90 (T5)
   2019-18 V6/2.7L                                                          590                    90 (T5)
   2017-15 L4/1.5L         w/Intelligent Access                             590                    90 (T5)
   2017-15 L4/1.5L         w/o Intelligent Access                           500                    90 (T5)
   2017-15 L4/2.5L         w/Intelligent Access                             590                    90 (T5)
   2017-15 L4/2.5L         w/o Intelligent Access                           500                    90 (T5)
   2017-14 L4/1.5L         Start/Stop                                       76033                  H6 (48) AGM       —
   2016-15 L4/2.0L         Start/Stop                                       76033                  H6 (48) AGM       —
   2016-15 L4/2.5L         Start/Stop                                       76033                  H6 (48) AGM       —
   2015-13 L4/2.0L         Hybrid                                           39050                  —
   2014-13 L4/1.6L         Start/Stop                                       76033                  H6 (48) AGM       —
   2014-13 L4/1.6L         w/o Power Code Remote Start                      500                    90 (T5)
   2014-13 L4/1.6L         w/Power Code Remote Start                        590                    90 (T5)
   2014-13 L4/2.0L         Gas                                              500                    90 (T5)
   2014-13 L4/2.0L         Gas, Opt                                         590                    90 (T5)
   2014-13 L4/2.5L         w/o Power Code Remote Start                      500                    90 (T5)
   See page 158 for Footnotes. Selection may vary by warehouse.

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72                                                           Automotive/Light Truck
  YEAR      ENGINE                                 OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                             CCA/RATING             (NOTES)            (NOTES)

Ford Fusion (continued)
2014-13   L4/2.5L    w/Power Code Remote Start                        590                     90 (T5)
2012-10   L4/2.5L                                                     500                     96R
2012-10   L4/2.5L    Gas                                              500                     96R
2012-10   L4/2.5L    Hybrid                                           390                     —
2012-10   V6/3.5L                                                     500                     96R
2012-07   V6/3.0L                                                     500                     96R
2009-07   L4/2.3L                                                     500                     96R
2017      L4/1.5L    w/Start/Stop                                     76033                   H6 (48) AGM       —
2017      L4/2.0L    Gas                                              590                     90 (T5)
2017      L4/2.0L    Hybrid                                           39050                   —
2017      L4/2.0L    US, Gas                                          590                     90 (T5)
2017      V6/2.7L                                                     730                     H7 (94R)          H7 (94R) AGM
2016      L4/2.0L    Hybrid                                           390                     —
2016      L4/2.0L    w/Intelligent Access                             590                     90 (T5)
2016      L4/2.0L    w/o Intelligent Access                           500                     90 (T5)
2015      L4/2.0L    Gas                                              590                     90 (T5)
2014      L4/1.5L    w/o Power Code Remote Start                      500                     90 (T5)
2014      L4/1.5L    w/Power Code Remote Start                        590                     90 (T5)
2013      L4/1.6L                                                     500                     96R
2013      L4/1.6L    Opt                                              590                     96R
2006      L4/2.3L                                                     590                     40R
2006      V6/3.0L                                                     590                     40R
Ford Gran Torino
1976-75   V8/5.8L                                                     N/A                     26R
1976-75   V8/6.6L                                                     N/A                     24F               24F AGM
1976-75   V8/7.5L                                                     N/A                     24F               24F AGM
1974-72   V8/5.0L                                                     290                     26R
1973-72   V8/6.6L                                                     475                     24F               24F AGM
1973-72   V8/7.0L                                                     475                     24F               24F AGM
1974      L6/4.1L                                                     290                     26R
1974      V8/5.8L                                                     290                     26R
1974      V8/6.6L                                                     455                     24F               24F AGM
1974      V8/7.5L                                                     455                     24F               24F AGM
1973      L6/4.1L                                                     440                     26R
1973      V8/5.0L    Opt                                              475                     24F               24F AGM
1973      V8/5.8L                                                     350                     24F               24F AGM
1972      L6/4.1L                                                     290                     26R
1972      V8/5.8L                                                     475                     24F               24F AGM
Ford GT
2021-17 V6/3.5L      Li-ion Battery Only                              33, 45
                                                                                              —                 —
2006-05 V8/5.4L                                                       720                     —
Ford LTD Crown Victoria
1991-90   V8/5.8L    Opt                                              650                     65                65 AGM
1991-88   V8/5.0L    w/HWS or PPkg                                    850                     65                —
1991-88   V8/5.8L                                                     540                     58
1991-88   V8/5.8L    w/HWS or PPkg                                    850                     65                —
1991-87   V8/5.0L                                                     540                     58
1991-87   V8/5.0L    Opt                                              650                     65                65 AGM
Ford Mustang
2021-15   V8/5.0L                                                     590                     96R
2020-17   V8/5.2L                                                     390                     —                 —
2020-15   L4/2.3L                                                     590                     96R
2017-11   V6/3.7L                                                     590                     96R
2016-15   V8/5.2L                                                     390                     —
2016-15   V8/5.2L    Cold Climate                                     590                     96R
2014-13   V8/5.8L                                                     590                     96R
2014-12   V8/5.0L    Boss Pkg                                         500                     96R
2014-12   V8/5.0L    Ex Boss Pkg                                      590                     96R
2012-10   V8/5.4L                                                     590                     96R
2010-08   V8/4.6L                                                     500                     96R
2010-07   V8/5.4L                                                     590                     40R
2010-05   V6/4.0L                                                     500                     96R
2009-08   V6/4.0L    HD, High Elect Content                           590                     40R
2009-08   V8/4.6L    HD, High Elect Content                           590                     40R
2006-05   V6/4.0L    Opt                                              590                     40R
2006-05   V8/4.6L                                                     500                     96R
2006-05   V8/4.6L    Opt                                              590                     40R
2004-97   V6/3.8L                                                     540                     59
2004-97   V8/4.6L                                                     540                     59
1995-94   V6/3.8L                                                     540                     58
1995-87   V8/5.0L                                                     540                     58
                                                                     See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                   73
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Ford Mustang (continued)
   1993-89     L4/2.3L     HD w/AT                                          540                    58
   1993-87     L4/2.3L     MT                                               460                    58
   2021        L4/2.3L                                                      560                    96R
   2021        V8/5.2L                                                      590                    96R
   2011        V8/5.0L                                                      590                    96R
   2007        V8/4.6L                                                      590                    40R
   2004        V6/3.9L                                                      540                    59
   2000        V8/5.4L                                                      540                    59
   1996        V6/3.8L     Early                                            540                    58
   1996        V6/3.8L     Late                                             540                    59
   1996        V8/4.6L     Early                                            540                    58
   1996        V8/4.6L     Late                                             540                    59
   1995        V8/5.8L                                                      540                    58
   Ford Mustang Mach E
   2022-21                 Electric                                         38033                  —                 —
   Ford Police Interceptor Sedan
   2019-15     V6/3.7L                                                      750                    65                65 AGM
   2019-14     V6/3.5L                                                      750                    65                65 AGM
   2014-13     V6/3.5L     w/Ecoboost                                       650                    65                65 AGM
   2014-13     V6/3.7L                                                      540                    59
   2014        V6/3.5L     Ex Ecoboost                                      540                    59
   2013        V6/3.5L     w/o Ecoboost                                     540                    59
   Ford Police Interceptor Utility
   2022-20     V6/3.0L     Opt                                              85033                  H8 (49) AGM       —
   2022-20     V6/3.0L                                                      730                    H7 (94R)          H7 (94R) AGM
   2022-20     V6/3.3L     Gas/Hybrid Optional                              85033                  H8 (49) AGM       —
   2022-20     V6/3.3L     Hybrid                                           80033                  H7 (94R) AGM      —
   2019-15     V6/3.5L                                                      750                    65                65 AGM
   2019-15     V6/3.7L                                                      750                    65                65 AGM
   2014-13     V6/3.7L                                                      540                    59
   2020        V6/3.3L     Gas                                              730                    H7 (94R)          H7 (94R) AGM
   2014        V6/3.5L     Ex Ecoboost                                      540                    59
   2014        V6/3.5L     w/Ecoboost                                       650                    65                65 AGM
   Ford Probe
   1997-93     L4/2.0L                                                      580                    —
   1997-93     V6/2.5L                                                      580                    —
   1992-90     L4/2.2L                                                      505                    —
   1992-90     V6/3.0L                                                      580                    —
   Ford Ranger
   2022-21     L4/2.3L                                                      76033                  H6 (48) AGM       —
   2022-19     L4/2.3L     Opt                                              80033                  H7 (94R) AGM      —
   2020-19     L4/2.3L                                                      61033                  H6 (48) AGM       —
   2011-97     V6/4.0L                                                      540                    59
   2011-01     L4/2.3L                                                      540                    59
   2008-97     V6/3.0L                                                      540                    59
   2001-98     L4/2.5L                                                      540                    59
   1997-91     V6/3.0L     Opt                                              650                    65                65 AGM
   1997-90     V6/4.0L     Opt                                              650                    65                65 AGM
   1997-89     L4/2.3L     Opt                                              650                    65                65 AGM
   1996-91     V6/3.0L                                                      540                    58
   1996-91     V6/4.0L                                                      650                    65                65 AGM
   1996-89     L4/2.3L                                                      540                    58
   1992-89     V6/2.9L                                                      540                    58
   1992-89     V6/2.9L     Opt                                              650                    65                65 AGM
   1997        L4/2.3L                                                      540                    59
   1990        V6/4.0L                                                      540                    58
   Ford Special Service Police Sedan
   2018-14 L4/2.0L                                                          750                    65                65 AGM
   Ford Taurus, Taurus X
   2019-16     V6/3.5L     Duratec w/Intelligent Access                     650                    65                65 AGM
   2019-16     V6/3.5L     Duratec w/o Intelligent Access                   540                    59
   2019-16     V6/3.5L     Ecoboost                                         650                    65                65 AGM
   2017-15     L4/2.0L     w/Intelligent Access                             650                    65                65 AGM
   2017-15     L4/2.0L     w/o Intelligent Access                           540                    59
   2014-13     L4/2.0L     Ex SHO                                           540                    59
   2014-13     V6/3.5L     PPkg                                             750                    65                65 AGM
   2014-10     V6/3.5L     Ex SHO                                           540                    59
   2014-10     V6/3.5L     SHO                                              650                    65                65 AGM
   2009-08     V6/3.5L                                                      540                    59
   2007-06     V6/3.0L                                                      540                    36R
   2005-00     V6/3.0L     HD & Can, DOHC                                   600                    36R
   See page 158 for Footnotes. Selection may vary by warehouse.

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74                                                                Automotive/Light Truck
   YEAR     ENGINE                                      OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                                 CCA/RATING             (NOTES)          (NOTES)

Ford Taurus, Taurus X (continued)
2004-01   V6/3.0L    HD, OHV                                               600                    36R
2004-01   V6/3.0L    OHV                                                   540                    36R
2000-96   V6/3.0L    OHV                                                   540                    —
1999-96   V8/3.4L    SHO                                                   650                    36R
1998-96   V6/3.0L    HD & Can, DOHC                                        650                    36R
1995-93   V6/3.2L    SHO                                                   650                    34
1995-93   V6/3.8L    HD or PPkg                                            850                    65                —
1995-92   V6/3.0L    Ex SHO Opt                                            650                    65                65 AGM
1995-92   V6/3.0L    Opt                                                   650                    65                65 AGM
1995-92   V6/3.8L                                                          650                    65                65 AGM
1995-91   V6/3.0L                                                          540                    58
1995-90   V6/3.0L    Ex SHO                                                540                    58
1995-89   V6/3.0L    SHO                                                   650                    34
1991-90   V6/3.8L    HD, w/HWS or PPkg                                     850                    65                —
1990-89   V6/3.8L                                                          850                    65                —
1990-88   L4/2.5L    AT                                                    650                    65                65 AGM
2016      V6/3.5L    w/Intelligent Access, Ecoboost                        650                    65                65 AGM
2016      V6/3.5L    w/o Intelligent Access, Ecoboost                      540                    59
2015      V6/3.5L    w/Intelligent Access, SHO                             650                    65                65 AGM
2015      V6/3.5L    w/o Intelligent Access, Ex SHO                        540                    59
2006      V6/3.0L    Opt                                                   600                    36R
2005      V6/3.0L    OHV                                                   600                    36R
1999      V6/3.0L    DOHC or HD                                            650                    36R
1991      L4/2.5L                                                          650                    65                65 AGM
1991      V6/3.8L    Ex Wagon                                              850                    65                —
1991      V6/3.8L    Wagon                                                 650                    65                65 AGM
Ford Tempo
1994-92   V6/3.0L                                                          460                    58
1994-92   V6/3.0L    Opt                                                   540                    58
1993-87   L4/2.3L    HD w/AT                                               540                    58
1993-87   L4/2.3L    MT                                                    460                    58
1994      L4/2.3L                                                          540                    58
Ford Thunderbird
2005-02   V8/3.9L                                                          65050                  —
1997-94   V8/4.6L                                                          650                    65                65 AGM
1997-93   V6/3.8L    Can & Opt                                             650                    65                65 AGM
1995-93   V6/3.8L    S/C, HD & Can                                         650                    65                65 AGM
1995-91   V6/3.8L    S/C, w/MT                                             540                    58
1994-93   V6/3.8L    US                                                    540                    58
1994-93   V6/3.8L    US, Opt or Can                                        650                    65                65 AGM
1993-91   V8/5.0L                                                          650                    65                65 AGM
1992-91   V6/3.8L    HD, Ex S/C                                            540                    58
1992-91   V6/3.8L    Naturally Aspirated                                   460                    58
1992-91   V6/3.8L    S/C, Can, Cold Climate Pkg                            650                    65                65 AGM
1992-91   V6/3.8L    S/C, HD                                               650                    65                65 AGM
1992-90   V6/3.8L    Can or Turbo                                          650                    65                65 AGM
1992-90   V6/3.8L    US Ex S/C                                             460                    58
1992-90   V6/3.8L    US Opt Ex S/C                                         540                    58
1990-89   V6/3.8L    S/C                                                   650                    65                65 AGM
1990-89   V6/3.8L    US                                                    460                    58
1990-89   V6/3.8L    US, HD, Ex S/C                                        540                    58
1997      V6/3.8L                                                          540                    59
1996      V6/3.8L    Early                                                 540                    58
1996      V6/3.8L    Late                                                  540                    59
1958      V8/4.8L                                                          350                    27F
1958      V8/5.4L                                                          350                    27F
1958      V8/5.8L                                                          350                    27F
Ford Torino
1976-75   V8/5.8L    Opt                                                   455                    24F               24F AGM
1976-74   V8/6.6L                                                          455                    24F               24F AGM
1972-69   L6/4.1L                                                          290                    26R
1972-69   V8/5.0L                                                          290                    26R
1972-69   V8/5.8L                                                          475                    24F               24F AGM
1972-68   V8/7.0L                                                          475                    24F               24F AGM
1971-70   V8/7.0L                                                          440                    24F               24F AGM
1971-69   V8/7.0L    Opt                                                   450                    27F
1970-68   V8/6.4L                                                          475                    24F               24F AGM
1974      L6/4.1L                                                          455                    24F               24F AGM
1974      V8/5.0L                                                          455                    24F               24F AGM
1974      V8/5.8L                                                          455                    24F               24F AGM
1973      L6/4.1L    Opt                                                   N/A                    24F               24F AGM
1973      V8/5.0L    Opt                                                   N/A                    24F               24F AGM
                                                                          See page 158 for Footnotes. Selection may vary by warehouse.

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                                                                               Genesis
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   Automotive/Light Truck                                                                                                    75
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING             (NOTES)            (NOTES)

   Ford Torino (continued)
   1973        V8/5.8L                                                      350                     24F               24F AGM
   1973        V8/7.0L                                                      440                     24F               24F AGM
   1973        V8/7.5L                                                      440                     24F               24F AGM
   1972        V8/6.6L                                                      475                     24F               24F AGM
   1971        V8/5.8L     Opt                                              290                     26R
   1968        L6/3.3L                                                      290                     26R
   1968        V8/7.0L     Opt                                              435                     27F
   Ford Transit Connect
   2022-19     L4/2.0L                                                      590                     40R
   2022-19     L4/2.0L     Opt                                              80033                   H7 (94R) AGM      —
   2022-14     L4/2.5L                                                      590                     40R
   2016-14     L4/1.6L                                                      590                     40R
   2013-10     L4/2.0L                                                      590                     96R
   2012                    Electric                                         500                     96R
   Ford Transit-150
   2022-20     V6/3.5L     Opt                                              76033, 50               H6 (48) AGM       —
   2022-15     V6/3.5L                                                      61050                   H6 (48)           H5 (47) AGM
   2019-15     L5/3.2L     Dsl                                              7602, 33, 50            H6 (48) AGM       —
   2019-15     V6/3.7L                                                      61050                   H6 (48)           H6 (48) AGM
   Ford Transit-250
   2022-20     V6/3.5L     Opt                                              76033, 50               H6 (48) AGM       —
   2022-15     V6/3.5L                                                      61050                   H6 (48)           H5 (47) AGM
   2019-15     L5/3.2L     Dsl                                              7602, 33, 50            H6 (48) AGM       —
   2019-15     V6/3.7L                                                      61050                   H6 (48)           H6 (48) AGM
   Ford Transit-350
   2022-20     V6/3.5L     Opt                                              76033, 50               H6 (48) AGM       —
   2022-15     V6/3.5L                                                      61050                   H6 (48)           H5 (47) AGM
   2019-15     L5/3.2L     Dsl                                              76033                   H6 (48) AGM       —
   2019-15     V6/3.7L                                                      61050                   H6 (48)           H6 (48) AGM
   Ford Transit-350 HD
   2022-20     V6/3.5L                                                      61050                   H6 (48)           H5 (47) AGM
   2022-20     V6/3.5L     Opt                                              76033, 50               H6 (48) AGM       —
   2019-15     L5/3.2L     Dsl                                              7602, 33, 50            H6 (48) AGM       —
   2019-15     V6/3.5L                                                      76033, 50               H6 (48) AGM       —
   2019-15     V6/3.7L                                                      76033, 50               H6 (48) AGM       —
   Ford Windstar
   2003-97     V6/3.8L     TTPkg or HD                                      750                     65                65 AGM
   2003-95     V6/3.8L                                                      650                     65                65 AGM
   2000-97     V6/3.0L                                                      540                     59
   1999-97     V6/3.0L     TTPkg or HD                                      650                     65                65 AGM
   1996-95     V6/3.0L                                                      540                     58
   1996-95     V6/3.0L                                                      850                     65                —
   1996-95     V6/3.0L     TTPkg or HD                                      540                     58
   2000        V6/3.0L     Opt                                              75048                   65                65 AGM
   2000        V6/3.0L     TTPkg or HD                                      750                     65                65 AGM
   1996        V6/3.0L     TTPkg or HD                                      850                     65                —
   1996        V6/3.8L     Opt                                              750                     65                65 AGM
   Freightliner Sprinter (2500, 3500)
   2018-15     V6/3.0L     Auxiliary, Dsl                                   10 Ah45                 —
   2018-15     V6/3.0L     Dsl                                              68050                   —                 —
   2018-15     V6/3.0L     Dsl, Opt                                         76033, 50               H6 (48) AGM       —
   2018-15     V6/3.0L     Dsl, Opt                                         76050                   —                 H8 (49) AGM
   2018-15     V6/3.0L     Dsl, Opt                                         85033, 50               H8 (49) AGM       —
   2017-15     L4/2.1L     Auxiliary, Dsl                                   10 Ah45                 —
   2017-15     L4/2.1L     Dsl                                              68050                   —                 —
   2017-15     L4/2.1L     Dsl, Opt                                         76033, 50               H6 (48) AGM       —
   2017-15     L4/2.1L     Dsl, Opt                                         76050                   —                 H8 (49) AGM
   2017-15     L4/2.1L     Dsl, Opt                                         85033, 50               H8 (49) AGM       —
   2014-07     V6/3.0L     Dsl                                              85050                   —                 H8 (49) AGM
   2008-07     V6/3.5L                                                      85050                   —                 H8 (49) AGM
   2006-02     L5/2.7L     Dsl                                              85050                   —                 H8 (49) AGM
   2014        L4/2.1L     Dsl                                              85050                   —                 H8 (49) AGM
   Genesis G80
   2019-18 V6/3.3L                                                          95033, 50               H9 (95R) AGM      —
   2019-17 V6/3.8L                                                          95033, 50               H9 (95R) AGM      —
   2019-17 V8/5.0L                                                          95033, 50               H9 (95R) AGM      —
   Genesis G90
   2019-17 V6/3.3L                                                          95033, 50               H9 (95R) AGM      —
   2019-17 V8/5.0L                                                          95033, 50               H9 (95R) AGM      —
   See page 158 for Footnotes. Selection may vary by warehouse.

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76                                                 Automotive/Light Truck
  YEAR      ENGINE                       OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)          (NOTES)

Geo Metro
1997-95   L3/1.0L                                            390                    26R
1997-95   L4/1.3L                                            390                    26R
1993-92   L4/1.3L                                            440                    —
1993-90   L3/1.0L                                            440                    —
1994      L3/1.0L                                            390                    —
1994      L4/1.3L                                            390                    —
Geo Prizm
1997-90 L4/1.6L                                              310                    35                35 AGM
Geo Storm
1993-92 L4/1.8L                                              360                    35                35 AGM
1993-90 L4/1.6L                                              360                    35                35 AGM
Geo Tracker
1997-95 L4/1.6L                                              500                    26R
1994-90 L4/1.6L                                              525                    —
GMC Acadia
2022-20   L4/2.0L                                            73033                  H7 (94R) AGM      —
2022-20   V6/3.6L                                            73033                  H7 (94R) AGM      —
2021-20   L4/2.5L                                            73033                  H7 (94R) AGM      —
2019-17   L4/2.5L    w/o Start/Stop                          660                    H6 (48)           H6 (48) AGM
2019-17   L4/2.5L    w/Start/Stop                            73033                  H7 (94R) AGM      —
2019-17   V6/3.6L    w/o Start/Stop                          660                    H6 (48)           H6 (48) AGM
2019-17   V6/3.6L    w/Start/Stop                            73033                  H7 (94R) AGM      —
2016-10   V6/3.6L                                            66050                  H6 (48)           H6 (48) AGM
2009-07   V6/3.6L                                            73050                  H6 (48)           H6 (48) AGM
GMC Acadia Limited
2017      V6/3.6L                                            66050                  H6 (48)           H6 (48) AGM
GMC C/K, R/V Pickups, Jimmy, Suburban
2005-94   V6/4.3L    Opt                                     690                    —
2005-92   V6/4.3L                                            525                    75
2000-99   V8/5.7L    Opt                                     690                    78
2000-99   V8/6.5L    Dsl & Opt                               6902                   78
2000-99   V8/7.4L    Opt                                     690                    78
2000-97   V8/6.5L    Dsl                                     6002                   78
2000-94   V8/7.4L                                            600                    78
2000-91   V8/5.7L                                            600                    78
1999-93   V8/7.4L    Primary Battery                         600                    78
1999-91   V8/5.0L                                            600                    78
1998-94   V6/4.3L                                            600                    78
1996-94   V8/6.5L    Dsl                                     7702                   78
1993-92   V6/4.3L    Opt                                     630                    78
1993-92   V8/6.2L    Dsl                                     5702                   75
1993-92   V8/6.5L    Dsl                                     5702                   75
1993-91   V6/4.3L    Primary Battery                         600                    78
1993-91   V8/5.0L    Primary Battery                         600                    78
1993-91   V8/5.7L    Primary Battery                         600                    78
1993-90   V8/7.4L    Auxiliary Battery                       540                    78
1993-90   V8/7.4L    Primary Battery                         630                    78
1993-88   V6/4.3L    Auxiliary Battery                       540                    78
1993-88   V8/5.0L    Auxiliary Battery                       540                    78
1993-88   V8/5.7L    Auxiliary Battery                       540                    78
1992-91   V6/4.3L                                            600                    78
1991-90   V8/6.2L    Dsl                                     5402                   78
1990-88   V6/4.3L    Primary Battery                         525                    75
1990-88   V8/5.7L    Primary Battery                         525                    75
1990-87   V8/6.2L    Dsl                                     5702                   75
1999      V8/5.0L    Opt                                     690                    78
1999      V8/6.5L    Dsl, HD                                 6002                   78
1997      V8/6.5L    Dsl                                     6902                   78
1993      V6/4.3L    Auxiliary Battery                       525                    75
1991      V8/5.7L    Primary Battery                         630                    78
1990      V6/4.3L    Opt                                     630                    78
1990      V8/5.0L    Opt                                     630                    78
1990      V8/5.0L    Primary Battery                         525                    75
1990      V8/5.7L    Opt                                     630                    78
GMC Canyon
2022-16   L4/2.8L    Dsl                                     85033                  H8 (49) AGM       —
2022-15   L4/2.5L                                            615                    H6 (48)           H6 (48) AGM
2022-15   V6/3.6L                                            615                    H6 (48)           H6 (48) AGM
2012-09   V8/5.3L                                            59040                  86
2012-08   L4/2.9L                                            59040                  86
2012-08   L5/3.7L                                            59040                  86
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                               77
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE   ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)        (NOTES)

   GMC Canyon (continued)
   2006-04     L4/2.8L                                                      64011, 40              —
   2006-04     L5/3.5L                                                      59011, 40              —
   2007        L4/2.9L                                                      64011, 40              —
   2007        L5/3.7L                                                      59011, 40              —
   GMC Envoy
   2009-05 V8/5.3L                                                          60040                  78
   2009-02 L6/4.2L                                                          60040                  78
   GMC Envoy XL
   2006-03 V8/5.3L                                                          60040                  78
   2006-02 L6/4.2L                                                          60040                  78
   GMC Envoy XUV
   2005-04 L6/4.2L                                                          60040                  78
   2005-04 V8/5.3L                                                          60040                  78
   GMC G-Series Vans (1500, 2500, 3500)
   1996-94     V8/5.7L                                                      600                    78
   1996-94     V8/6.5L     Dsl                                              6002                   78
   1996-94     V8/7.4L                                                      600                    78
   1995-94     V6/4.3L                                                      600                    78
   1995-94     V8/5.0L                                                      600                    78
   1993-91     V6/4.3L                                                      630                    78
   1993-91     V8/5.0L                                                      630                    78
   1993-91     V8/5.7L                                                      630                    78
   1993-88     V8/7.4L                                                      630                    78
   1993-87     V8/6.2L     Dsl                                              5402                   78
   1990-87     V6/4.3L                                                      525                    75
   1990-87     V8/5.7L                                                      525                    75
   1990        V8/5.0L                                                      525                    75
   GMC Hummer EV
   2022                    Electric                                         73033                  H7 (94R) AGM
   GMC K Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
   GMC P-Series Vans (3500, 4500)
   1999-97     V6/4.3L                                                      600                    78
   1999-97     V6/4.3L     Opt                                              690                    78
   1999-97     V8/5.7L                                                      600                    78
   1999-97     V8/5.7L     Opt                                              690                    78
   1999-94     V8/6.5L     Dsl                                              6002                   78
   1999-94     V8/7.4L                                                      600                    78
   1996-94     V6/4.3L     Opt                                              600                    78
   1996-94     V8/5.7L     Opt                                              600                    78
   1996-90     V6/4.3L                                                      525                    75
   1996-89     V8/5.7L                                                      525                    75
   1993-90     V6/4.3L     Opt                                              630                    78
   1993-90     V8/5.7L     Opt                                              630                    78
   1993-90     V8/7.4L                                                      630                    78
   1993-89     V8/6.2L     Dsl                                              5402                   78
   1991-89     L4/3.9L                                                      500                    75
   GMC R Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
   GMC Safari
   2005-94     V6/4.3L                                                      600                    78
   2005-04     V6/4.3L     HD or SEO                                        770                    78
   2003-02     V6/4.3L     Opt                                              770                    78
   1993-91     V6/4.3L                                                      630                    78
   1990-87     L4/2.5L                                                      525                    75
   1990-87     V6/4.3L                                                      525                    75
   1990        L4/2.5L     Opt                                              630                    78
   1990        V6/4.3L     Opt                                              630                    78
   GMC Savana 1500
   2014-96 V6/4.3L                                                          600                    78
   2014-10 V6/4.3L         Opt                                              770                    78
   2014-10 V8/5.3L         Opt                                              770                    78
   2014-03 V8/5.3L                                                          600                    78
   2005-03 V6/4.3L         HD or SEO                                        800                    79
   2005-03 V8/5.3L         Opt                                              800                    79
   2002-99 V6/4.3L         Opt                                              690                    78
   2002-99 V8/5.0L         Opt                                              690                    78
   2002-99 V8/5.7L         Opt                                              690                    78
   2002-96 V8/5.0L                                                          600                    78
   2002-96 V8/5.7L                                                          600                    78
   See page 158 for Footnotes. Selection may vary by warehouse.

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78                                             Automotive/Light Truck
  YEAR      ENGINE                   OPTIONS                   ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)          (NOTES)

GMC Savana 2500
2021-18   V6/4.3L                                            600                    78
2021-17   L4/2.8L    Dsl                                     7702                   78
2020-03   V8/6.0L                                            600                    78
2017-10   V8/4.8L    Opt                                     770                    78
2017-10   V8/6.0L    Opt                                     770                    78
2017-03   V8/4.8L                                            600                    78
2016-07   V8/6.6L    Dsl                                     7702                   78
2005-96   V6/4.3L                                            600                    78
2005-03   V6/4.3L    HD or SEO                               800                    79
2005-03   V8/4.8L    Opt                                     800                    79
2005-03   V8/5.3L                                            600                    78
2005-03   V8/5.3L    Opt                                     800                    79
2005-03   V8/6.0L    Opt                                     800                    79
2002-99   V6/4.3L    Opt                                     690                    78
2002-99   V8/5.0L    Opt                                     690                    78
2002-99   V8/5.7L    Opt                                     690                    78
2002-96   V8/5.0L                                            600                    78
2002-96   V8/5.7L                                            600                    78
2002-96   V8/6.5L    Dsl                                     6002                   78
2002-96   V8/6.5L    Dsl, HD                                 6902                   78
2021      V8/6.6L                                            600                    78
2006      V8/6.6L    Dsl                                     8002                   79
GMC Savana 3500
2021-18   V6/4.3L                                            600                    78
2021-18   V8/6.6L                                            600                    78
2021-17   L4/2.8L    Dsl                                     7702                   78
2021-17   L4/2.8L    Dsl                                     7702                   78
2020-03   V8/6.0L                                            600                    78
2017-10   V8/4.8L    Opt                                     770                    78
2017-10   V8/6.0L    Opt                                     770                    78
2017-04   V8/4.8L                                            600                    78
2016-07   V8/6.6L    Dsl                                     7702                   78
2005-04   V8/4.8L    Opt                                     800                    79
2005-03   V8/6.0L    Opt                                     800                    79
2002-99   V8/5.7L    Opt                                     690                    78
2002-96   V8/5.7L                                            600                    78
2002-96   V8/6.5L    Dsl                                     6002                   78
2002-96   V8/6.5L    Dsl, HD                                 6902                   78
2002-01   V8/8.1L                                            600                    78
2002-01   V8/8.1L    Opt                                     690                    78
1998-96   V8/7.4L                                            600                    78
2006      V8/6.6L                                            8002                   79
2006      V8/6.6L    Dsl                                     8002                   79
2000      V8/7.4L                                            600                    78
2000      V8/7.4L    Opt                                     690                    78
1999      V8/7.4L                                            630                    78
GMC Sierra 1500
2021-20   L6/3.0L    Dsl                                     85033, 50              H8 (49) AGM        —
2021-19   L4/2.7L                                            73033, 50              H7 (94R) AGM —
2021-19   V8/5.3L    VIN D                                   73033, 50              H7 (94R) AGM —
2021-19   V8/5.3L    VIN F                                   720                    H7 (94R)           H7 (94R) AGM
2021-19   V8/6.2L                                            73033, 50              H7 (94R) AGM —
2021-14   V6/4.3L                                            730                    H6 (48)            H6 (48) AGM
2020-19   L4/2.7L                                            80033, 50              H7 (94R) AGM —
2018-15   V6/4.3L    Auxiliary                               730                    H6 (48)            H6 (48) AGM
2018-14   V8/5.3L    Auxiliary                               730                    H6 (48)            H6 (48) AGM
2018-14   V8/6.2L    Auxiliary                               730                    H6 (48)            H6 (48) AGM
2018-14   V8/6.2L                                            720                    H7 (94R)           H7 (94R) AGM
2017-14   V8/5.3L                                            720                    H7 (94R)           H7 (94R) AGM
2014-09   V6/4.3L    Opt                                     730                    H6 (48)            H6 (48) AGM
2014-09   V8/5.3L    Opt                                     730                    H6 (48)            H6 (48) AGM
2014-09   V8/6.2L    Opt                                     730                    H6 (48)            H6 (48) AGM
2014-08   V8/6.2L                                            615                    H6 (48)            H6 (48) AGM
2014-07   V6/4.3L                                            615                    H6 (48)            H6 (48) AGM
2014-07   V8/5.3L                                            615                    H6 (48)            H6 (48) AGM
2013-09   V8/4.8L    Opt                                     730                    H6 (48)            H6 (48) AGM
2013-07   V8/4.8L                                            615                    H6 (48)            H6 (48) AGM
2012-10   V8/6.0L    Hybrid                                  615                    H6 (48)            H6 (48) AGM
2012-10   V8/6.0L    Hybrid, HD                              730                    H6 (48)            H6 (48) AGM
2009-07   V8/6.0L                                            615                    H6 (48)            H6 (48) AGM
2007-99   V6/4.3L                                            600                    78
2007-99   V8/4.8L                                            600                    78
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                79
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE    ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)         (NOTES)

   GMC Sierra 1500 (continued)
   2007-99     V8/5.3L                                                      600                    78
   2007-01     V8/6.0L                                                      600                    78
   2006-05     V8/6.0L     Opt                                              690                    78
   2005-99     V6/4.3L     Opt                                              770                    78
   2005-99     V8/4.8L     Opt                                              770                    78
   2005-04     V8/5.3L     Opt                                              770                    78
   2004-01     V8/6.0L     Opt                                              770                    78
   2001-99     V8/5.3L     Opt                                              770                    78
   2019        V8/6.2L                                                      80033, 50              H7 (94R) AGM      —
   2018        V8/5.3L     w/o Start/Stop                                   720                    H7 (94R)          H7 (94R) AGM
   2018        V8/5.3L     w/Start/Stop                                     73033                  H7 (94R) AGM      —
   2016        V6/4.3L                                                      720                    H7 (94R)          H7 (94R) AGM
   2013        V8/6.0L     Hybrid                                           730                    H6 (48)           H6 (48) AGM
   2009        V8/6.0L     Opt                                              730                    H6 (48)           H6 (48) AGM
   2007        V8/6.2L     Early                                            600                    78
   2007        V8/6.2L     Late                                             615                    H6 (48)           H6 (48) AGM
   2006        V6/4.3L     Opt                                              690                    78
   2006        V8/4.8L     Opt                                              690                    78
   2006        V8/5.3L     Opt                                              690                    78
   GMC Sierra 1500 Classic
   2007        V6/4.3L     Early                                            600                    78
   2007        V6/4.3L     Late                                             615                    H6 (48)           H6 (48) AGM
   2007        V8/4.8L     Early                                            600                    78
   2007        V8/4.8L     Late                                             615                    H6 (48)           H6 (48) AGM
   2007        V8/5.3L     Early                                            600                    78
   2007        V8/5.3L     Late                                             615                    H6 (48)           H6 (48) AGM
   2007        V8/6.0L     Early                                            600                    78
   2007        V8/6.0L     Late                                             615                    H6 (48)           H6 (48) AGM
   GMC Sierra 1500 HD
   2006-05     V8/6.0L                                                      600                    78
   2003-01     V8/6.0L                                                      600                    78
   2003-01     V8/6.0L     Opt                                              770                    78
   2006        V8/6.0L     Opt                                              690                    78
   2005        V8/6.0L     Opt                                              770                    78
   GMC Sierra 1500 HD Classic
   2007        V8/6.0L     Early                                            600                    78
   2007        V8/6.0L     Late                                             615                    H6 (48)           H6 (48) AGM
   GMC Sierra 1500 Limited
   2019        V8/5.3L                                                      720                    H7 (94R)          H7 (94R) AGM
   2019        V8/5.3L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   GMC Sierra 2500
   2004-99     V8/6.0L                                                      600                    78
   2004-99     V8/6.0L     Opt                                              770                    78
   2000-99     V8/5.3L                                                      600                    78
   2000-99     V8/5.3L     Opt                                              770                    78
   GMC Sierra 2500 HD
   2006-02     V8/8.1L     Opt                                              690                    78
   2006-01     V8/8.1L                                                      600                    78
   2005-03     V8/8.1L     Opt                                              770                    78
   2022-20     V8/6.6L                                                      73033                  H7 (94R) AGM      —
   2022-20     V8/6.6L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2022-19     V8/6.6L     Dsl                                              7302                   H6 (48)           H5 (47) AGM
   2018-15     V8/6.6L     Dsl                                              7302                   H6 (48)           H6 (48) AGM
   2018-15     V8/6.6L     Dsl, Auxiliary                                   7302                   H6 (48)           H6 (48) AGM
   2014-08     V8/6.6L                                                      7302                   H6 (48)           H6 (48) AGM
   2006-03     V8/6.6L     Dsl                                              7702                   78
   2002-01     V8/6.6L     Dsl                                              6002                   78
   2002-01     V8/6.6L     Dsl, Opt                                         6902                   78
   2016        V8/6.6L     Dsl                                              7202                   H7 (94R)          H7 (94R) AGM
   2007        V8/6.6L     Dsl, Early                                       7702                   78
   2007        V8/6.6L     Dsl, Late                                        7302                   H6 (48)           H6 (48) AGM
   2004        V8/6.6L     Dsl                                              6002                   78
   2019        V8/6.0L                                                      73033                  H7 (94R) AGM
   2019        V8/6.0L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2019-15     V8/6.0L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2018        V8/6.0L     w/o Start/Stop                                   720                    H7 (94R)          H7 (94R) AGM
   2018        V8/6.0L     w/Start/Stop                                     73033                  H7 (94R) AGM      —
   2017        V8/6.0L                                                      73033                  H7 (94R) AGM      —
   2017-15     V8/6.0L                                                      730                    H6 (48)           H6 (48) AGM
   2016-14     V8/6.0L                                                      720                    H7 (94R)          H7 (94R) AGM
   2013-11     V8/6.0L     Opt                                              730                    H6 (48)           H6 (48) AGM
   See page 158 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                       OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)          (NOTES)

GMC Sierra 2500 HD (continued)
2013-08   V8/6.0L                                            615                    H6 (48)           H6 (48) AGM
2009      V8/6.0L    Opt                                     730                    H6 (48)           H6 (48) AGM
2007      V8/6.0L    Early                                   600                    78
2007      V8/6.0L    Late                                    615                    H6 (48)           H6 (48) AGM
2006      V8/6.0L    Opt                                     690                    78
2006-01   V8/6.0L                                            600                    78
2005-01   V8/6.0L    Opt                                     770                    78
GMC Sierra 2500 HD Classic
2007      V8/6.0L    Early                                   600                    78
2007      V8/6.0L    Late                                    615                    H6 (48)           H6 (48) AGM
2007      V8/6.6L    Dsl, Early                              7702                   78
2007      V8/6.6L    Dsl, Late                               7302                   H6 (48)           H6 (48) AGM
2007      V8/8.1L    Early                                   600                    78
2007      V8/8.1L    Late                                    615                    H6 (48)           H6 (48) AGM
GMC Sierra 3500
2006-03   V8/6.6L    Dsl                                     7702                   78
2006-02   V8/8.1L    Opt                                     690                    78
2006-01   V8/6.0L                                            600                    78
2006-01   V8/8.1L                                            600                    78
2005-03   V8/8.1L    Opt                                     770                    78
2005-01   V8/6.0L    Opt                                     770                    78
2002-01   V8/6.6L    Dsl                                     6002                   78
2002-01   V8/6.6L    Dsl, HD                                 6902                   78
2002-01   V8/6.6L    Dsl, Opt                                6902                   78
2006      V8/6.0L    Opt                                     690                    78
2004      V8/6.6L    Dsl                                     6002                   78
2001      V8/8.1L    Opt                                     770                    78
GMC Sierra 3500 Classic
2007      V8/6.0L    Early                                   600                    78
2007      V8/6.0L    Late                                    615                    H6 (48)           H6 (48) AGM
2007      V8/6.6L    Dsl, Early                              7702                   78
2007      V8/6.6L    Dsl, Late                               7302                   H6 (48)           H6 (48) AGM
2007      V8/8.1L    Early                                   600                    78
2007      V8/8.1L    Late                                    615                    H6 (48)           H6 (48) AGM
GMC Sierra 3500 HD
2022-20   V8/6.6L    Auxiliary Battery                       730                    H6 (48)           H6 (48) AGM
2022-20   V8/6.6L                                            73033                  H7 (94R) AGM      —
2022-19   V8/6.6L    Dsl                                     7302                   H6 (48)           H5 (47) AGM
2018-15   V8/6.6L    Dsl                                     7302                   H6 (48)           H6 (48) AGM
2018-15   V8/6.6L    Dsl, Auxiliary                          7302                   H6 (48)           H6 (48) AGM
2016-14   V8/6.6L    Dsl                                     7202                   H7 (94R)          H7 (94R) AGM
2014-08   V8/6.6L    Dsl                                     730                    H6 (48)           H6 (48) AGM
2007      V8/6.6L    Dsl, Early                              6002                   78
2007      V8/6.6L    Dsl, Late                               7302                   H6 (48)           H6 (48) AGM
2019      V8/6.0L                                            73033                  H7 (94R) AGM
2019      V8/6.0L    Auxiliary Battery                       730                    H6 (48)           H6 (48) AGM
2019-17   V8/6.0L    Auxiliary Battery                       730                    H6 (48)           H6 (48) AGM
2018      V8/6.0L    w/o Start/Stop                          720                    H7 (94R)          H7 (94R) AGM
2018      V8/6.0L    w/Start/Stop                            73033                  H7 (94R) AGM      —
2017      V8/6.0L                                            73033                  H7 (94R) AGM      —
2017-15   V8/6.0L                                            730                    H6 (48)           H6 (48) AGM
2017-14   V8/6.0L                                            720                    H7 (94R)          H7 (94R) AGM
2014-09   V8/6.0L    Opt                                     730                    H6 (48)           H6 (48) AGM
2013-08   V8/6.0L                                            615                    H6 (48)           H6 (48) AGM
2007      V8/6.0L    Early                                   6002                   78
2007      V8/6.0L    Late                                    6152                   H6 (48)           H6 (48) AGM
GMC Sonoma
2004-94   V6/4.3L    Opt                                     690                    —
2004-91   V6/4.3L                                            525                    75
2003-94   L4/2.2L                                            525                    75
2002-94   L4/2.2L    Opt                                     690                    —
1993-91   L4/2.5L                                            525                    75
1993-91   L4/2.5L    Opt                                     630                    78
1993-91   V6/2.8L                                            525                    75
1993-91   V6/2.8L    Opt                                     630                    78
1993-91   V6/4.3L    Opt                                     630                    78
GMC S-Series: Pickup, Jimmy
1991-90 V6/4.3L      Opt                                     630                    78
1991-88 V6/4.3L                                              525                    75
1990-87 L4/2.5L                                              525                    75
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                81
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE    ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)         (NOTES)

   GMC S-Series: Pickup, Jimmy (continued)
   1990-87 V6/2.8L                                                          525                    75
   1990    L4/2.5L         Opt                                              630                    78
   1990    V6/2.8L         Opt                                              630                    78
   GMC Syclone
   1991        V6/4.3L                                                      525                    75
   1991        V6/4.3L     Opt                                              630                    78
   GMC Terrain
   2022-18     L4/1.5L                                                      73033                  H6 (48) AGM       —
   2020-18     L4/2.0L                                                      73033                  H6 (48) AGM       —
   2019-18     L4/1.6L                                                      73033                  H6 (48) AGM       —
   2017-13     V6/3.6L                                                      660                    H6 (48)           H6 (48) AGM
   2017-10     L4/2.4L                                                      525                    H5 (47)           H5 (47) AGM
   2011-10     V6/3.0L                                                      615                    H6 (48)           H6 (48) AGM
   2012        V6/3.0L                                                      660                    H6 (48)           H6 (48) AGM
   GMC Tracker
   1991-90 L4/1.6L                                                          525                    —
   GMC Typhoon
   1993-92 V6/4.3L                                                          525                    75
   1993-92 V6/4.3L         Opt                                              630                    78
   GMC V Series Pickups (See C/K, R/V Pickups, Jimmy, Suburban)
   GMC Yukon XL
   2022-21     L6/3.0L     Dsl                                              73033, 50              H7 (94R) AGM      —
   2022-21     V8/5.3L                                                      73033, 50              H7 (94R) AGM      —
   2022-21     V8/6.2L                                                      73033, 50              H7 (94R) AGM      —
   2020-15     V8/5.3L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2020-15     V8/5.3L                                                      720                    H7 (94R)          H7 (94R) AGM
   2020-15     V8/6.2L     Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2020-15     V8/6.2L                                                      720                    H7 (94R)          H7 (94R) AGM
   GMC Yukon, Yukon XL 1500, Yukon XL 2500
   2022-21 L6/3.0L         Dsl                                              73033, 50              H7 (94R) AGM      —
   2022-21 V8/5.3L                                                          73033, 50              H7 (94R) AGM      —
   2022-21 V8/6.2L                                                          73033, 50              H7 (94R) AGM      —
   2020-17 V8/5.3L         Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2020-17 V8/6.2L         Auxiliary Battery                                730                    H6 (48)           H6 (48) AGM
   2020-15 V8/5.3L                                                          720                    H7 (94R)          H7 (94R) AGM
   2020-15 V8/6.2L                                                          720                    H7 (94R)          H7 (94R) AGM
   2015-09 V8/5.3L         Opt                                              730                    H6 (48)           H6 (48) AGM
   2015-09 V8/6.2L         Opt                                              730                    H6 (48)           H6 (48) AGM
   2014-12 V8/5.3L                                                          660                    H6 (48)           H6 (48) AGM
   2014-12 V8/6.2L                                                          660                    H6 (48)           H6 (48) AGM
   2013-12 V8/6.0L         Hybrid                                           660                    H6 (48)           H6 (48) AGM
   2013-12 V8/6.0L         Hybrid, HD                                       730                    H6 (48)           H6 (48) AGM
   2011-10 V8/6.0L         Hybrid, Opt                                      730                    H6 (48)           H6 (48) AGM
   2011-09 V8/6.0L         Opt                                              730                    H6 (48)           H6 (48) AGM
   2011-07 V8/5.3L                                                          615                    H6 (48)           H6 (48) AGM
   2011-07 V8/6.0L                                                          615                    H6 (48)           H6 (48) AGM
   2011-07 V8/6.2L                                                          615                    H6 (48)           H6 (48) AGM
   2009-07 V8/4.8L                                                          615                    H6 (48)           H6 (48) AGM
   2006-01 V8/8.1L                                                          600                    78
   2006-01 V8/8.1L         Opt                                              690                    78
   2006-00 V8/4.8L                                                          600                    78
   2006-00 V8/5.3L                                                          600                    78
   2006-00 V8/6.0L                                                          600                    78
   2005-03 V8/4.8L         Opt                                              770                    78
   2005-03 V8/5.3L         Opt                                              770                    78
   2005-03 V8/6.0L         Opt                                              770                    78
   2005-03 V8/8.1L         Opt                                              770                    78
   2004-03 V8/6.0L         Option 1                                         690                    78
   2004-03 V8/6.0L         Option 2                                         770                    78
   2002-00 V8/4.8L         Opt                                              690                    78
   2002-00 V8/5.3L         Opt                                              690                    78
   2002-00 V8/6.0L         Opt                                              690                    78
   2000-99 V8/5.7L         Opt                                              690                    78
   2000-99 V8/5.7L         PPkg or HD                                       770                    78
   2000-94 V8/5.7L                                                          600                    78
   1996-94 V8/6.5L         Dsl                                              7702                   78
   1993-92 V8/5.7L         Auxiliary Battery                                540                    78
   1993-92 V8/5.7L         Primary Battery                                  630                    78
   See page 158 for Footnotes. Selection may vary by warehouse.

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82                                                              Automotive/Light Truck
  YEAR      ENGINE                                    OPTIONS              ORIGINAL EQUIPMENT       GROUP SIZE      ALTERNATE SIZE
                                                                               CCA/RATING            (NOTES)           (NOTES)

GMC Yukon, Yukon XL 1500, Yukon XL 2500 (continued)
2009      V8/4.8L    Opt                                                 730                    H6 (48)           H6 (48) AGM
2009      V8/6.0L    Hybrid, HD                                          730                    H6 (48)           H6 (48) AGM
2006      V8/4.8L    Opt                                                 690                    78
2006      V8/5.3L    Opt                                                 690                    78
2006      V8/6.0L    Opt                                                 690                    78
2005      V8/5.3L    Option 1                                            690                    78
2005      V8/5.3L    Option 2                                            770                    78
2000      V8/5.3L    PPkg & Opt                                          770                    78
2000      V8/5.3L    Primary Battery                                     600                    78
2000      V8/6.0L    PPkg or HD                                          770                    78
1999      V8/5.7L    PPkg & Opt                                          770                    78
1997      V8/6.5L    Dsl                                                 6002                   78
Honda Accord
2022-21   L4/1.5L                                                        45059                  —                 —
2022-18   L4/2.0L                                                        620                    H6 (48)           H6 (48) AGM
2022-17   L4/2.0L    Hybrid                                              500                    51
2020-18   L4/1.5L                                                        540                    H5 (47)           H5 (47) AGM
2017-14   L4/2.4L                                                        410                    51R
2017-08   V6/3.5L                                                        55011                  24F 6, 10         24F AGM
2015-14   L4/2.0L    Hybrid                                              500                    51
2013-12   L4/2.4L    US, Ex Calif                                        410                    51R
2012-08   L4/2.4L    Calif, AT                                           440                    35                35 AGM
2012-08   L4/2.4L    Ex Calif, AT                                        410                    51R
2011-10   L4/2.4L    MT                                                  410                    51R
2009-03   L4/2.4L                                                        435                    51R
2007-03   V6/3.0L                                                        440                    35                35 AGM
2002-98   L4/2.3L                                                        450                    35                35 AGM
2002-98   V6/3.0L                                                        500                    24
1997-96   V6/2.7L                                                        500                    24
1997-94   L4/2.2L                                                        550                    24F               24F AGM
1993-90   L4/2.2L                                                        550                    24
2013      L4/2.4L    Calif & Can                                         440                    35                35 AGM
2012      L4/2.4L    Can & CA                                            440                    35                35 AGM
1995      V6/2.7L                                                        550                    24F               24F AGM
Honda Accord Crosstour
2011-10 V6/3.5L                                                          55011                  24F 6, 10         24F AGM
Honda Civic
2021-17   L4/2.0L    Type R                                              410                    H5 (47)           H5 (47) AGM
2021-17   L4/2.0L    Ex Type R                                           410                    51R
2021-16   L4/1.5L                                                        410                    51R
2015-14   L4/1.8L                                                        410                    51R
2015-14   L4/2.4L                                                        410                    51R
2015-12   L4/1.5L    Hybrid                                              340                    —
2013-12   L4/2.4L    Can                                                 410                    51R
2013-12   L4/2.4L    US                                                  310                    51R
2013-08   L4/1.8L    Can                                                 410                    51R
2013-08   L4/1.8L    US                                                  310                    51R
2011-08   L4/2.0L    Can                                                 410                    51R
2011-08   L4/2.0L    US                                                  310                    51R
2011-06   L4/1.3L    Hybrid                                              340                    —
2007-06   L4/1.8L                                                        435                    51R
2006-02   L4/2.0L                                                        435                    51R
2005-03   L4/1.3L    Hybrid                                              4106                   51R
2005-01   L4/1.7L                                                        410                    51
2000-92   L4/1.6L                                                        410                    51R
1995-92   L4/1.5L                                                        410                    51R
1991-90   L4/1.5L                                                        405                    51
1991-90   L4/1.6L                                                        405                    51
2016      L4/2.0L                                                        410                    51R
2007      L4/2.0L                                                        440                    51R
Honda Civic del Sol
1997-93 L4/1.6L                                                          410                    51R
1995-93 L4/1.5L                                                          410                    51R
Honda Clarity
2021-17                                                                  500                    51R
2021-17 L4/1.5L                                                          500                    51R
Honda Crosstour
2015-14   L4/2.4L                                                        500                    51R
2015-14   V6/3.5L                                                        550                    24F               24F AGM
2013-12   L4/2.4L    Calif & Can                                         440                    35                35 AGM
2013-12   L4/2.4L    US                                                  410                    51R
2013-12   V6/3.5L                                                        55011                  24F 6, 10         24F AGM
                                                                        See page 158 for Footnotes. Selection may vary by warehouse.

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                                                                              Hummer
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   Automotive/Light Truck                                                                                                   83
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Honda CR-V
   2021-20     L4/1.5L                                                      45050, 59              —                 —
   2021-20     L4/2.0L     Hybrid                                           500                    51                —
   2019-17     L4/1.5L                                                      410                    51R
   2019-17     L4/2.4L                                                      410                    51R
   2016-14     L4/2.4L     Can                                              440                    35                35 AGM
   2016-14     L4/2.4L     US                                               410                    51R
   2013-97     L4/2.0L                                                      410                    51R
   Honda CRX
   1991-90 L4/1.5L                                                          405                    51
   1991-90 L4/1.6L                                                          405                    51
   Honda CR-Z
   2016-11 L4/1.5L         Hybrid                                           340                    —
   Honda Element
   2011-03 L4/2.4L                                                          410                    51R
   Honda Fit
   2020-07 L4/1.5L                                                          340                    —
   2014-13                 Electric                                         340                    —
   Honda HR-V
   2021-16 L4/1.8L                                                          500                    51R
   Honda Insight
   2022-19 L4/1.5L         Hybrid                                           29533                  —                 —
   2014-10 L4/1.3L         Hybrid                                           340                    —
   2006-00 L3/1.0L         Hybrid                                           270                    51
   Honda Odyssey
   2022-21     V6/3.5L                                                      65033                  H6 (48) AGM       —
   2020-18     V6/3.5L     Elite, Touring                                   65033                  H6 (48) AGM       —
   2020-18     V6/3.5L     Ex Elite, Touring                                620                    H6 (48)           H6 (48) AGM
   2014-05     V6/3.5L                                                      55011                  24F 6, 10         24F AGM
   2004-99     V6/3.5L                                                      550                    24F               24F AGM
   1997-95     L4/2.2L                                                      550                    24F               24F AGM
   2017        V6/3.5L                                                      630                    24F               24F AGM
   2016        V6/3.5L                                                      730                    —                 —
   2015        V6/3.5L                                                      550                    24F               24F AGM
   1998        L4/2.3L                                                      550                    24F               24F AGM
   Honda Passport
   2021-19     V6/3.5L                                                      65033                  H6 (48) AGM       —
   2002-98     V6/3.2L                                                      600                    24F               24F AGM
   1997-96     V6/3.2L                                                      600                    24
   1995-94     L4/2.6L                                                      380                    25
   1995-94     V6/3.2L     AT                                               600                    24
   1995-94     V6/3.2L     MT                                               380                    25
   1996        L4/2.6L                                                      430                    86
   1996        L4/2.6L     Opt                                              600                    24
   Honda Pilot
   2020-18     V6/3.5L     Elite, Touring, TRG                              65033                  H6 (48) AGM       —
   2020-18     V6/3.5L     Ex Elite, Touring, TRG                           620                    H6 (48)           H6 (48) AGM
   2017-16     V6/3.5L                                                      620                    H6 (48)           H6 (48) AGM
   2017-16     V6/3.5L     Elite, Touring                                   65033                  H6 (48) AGM       —
   2015-03     V6/3.5L                                                      55011                  24F 6, 10         24F AGM
   2021        V6/3.5L                                                      65033                  H6 (48) AGM       —
   2016        V6/3.5L     FWD                                              620                    H6 (48)           H6 (48) AGM
   2016        V6/3.5L     SH-AWD                                           65033                  H6 (48) AGM       —
   Honda Prelude
   2001-92     L4/2.2L                                                      550                    24F               24F AGM
   1996-92     L4/2.3L                                                      550                    24F               24F AGM
   1991-90     L4/2.0L                                                      550                    24
   1991-90     L4/2.1L                                                      550                    24
   Honda Ridgeline
   2020-17     V6/3.5L                                                      620                    H6 (48)           H6 (48) AGM
   2014-11     V6/3.5L                                                      550                    24F               24F AGM
   2010-06     V6/3.5L                                                      585                    24F               24F AGM
   2006        V6/3.5L                                                      550                    24F               24F AGM
   Honda S2000
   2009-04 L4/2.2L                                                          430                    51
   2003-00 L4/2.0L                                                          430                    51
   Hummer H1
   2004-03 V8/6.5L                                                          8402                   79
   2006    V8/6.6L                                                          840                    79
   2002    V8/6.5L                                                          770                    78
   See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                               Costco_002048
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84                                             Automotive/Light Truck
  YEAR      ENGINE                   OPTIONS                   ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

Hummer H2
2009-08 V8/6.2L                                              730                    H6 (48)           H6 (48) AGM
2007-03 V8/6.0L                                              840                    79
Hummer H3
2008-07   L5/3.7L                                            64011, 40              86
2010      L5/3.7L                                            59040                  86
2010      V8/5.3L                                            59040                  86
2009      L5/3.7L                                            59011, 40              86
2009      V8/5.3L                                            59011, 40              86
2008      V8/5.3L                                            64011, 40              86
2006      L5/3.5L                                            64011, 40              —
Hummer H3T
2010      L5/3.7L                                            59040                  86
2010      V8/5.3L                                            59040                  86
2009      L5/3.7L                                            59011, 40              86
2009      V8/5.3L                                            59011, 40              86
Hyundai Accent
2021-18   L4/1.6L                                            60 Ah33                H5 (47) AGM       —
2017-14   L4/1.6L                                            N/A                    H5 (47)           H5 (47) AGM
2013-01   L4/1.6L                                            500                    121R
2003-01   L4/1.5L                                            500                    121R
2000-98   L4/1.5L                                            435                    121R
1997-95   L4/1.5L                                            410                    121R
1997-95   L4/1.5L    Opt                                     580                    121R
2016      L4/1.6L                                            600                    —                 —
Hyundai Azera
2017-07 V6/3.3L                                              600                    124R
2011-06 V6/3.8L                                              600                    124R
2016    V6/3.3L                                              700                    124R
Hyundai Elantra
2021-19   L4/2.0L                                            64033                  H5 (47) AGM       —
2021-17   L4/1.6L                                            550                    H5 (47)           H5 (47) AGM
2018-17   L4/1.4L                                            76033                  H6 (48) AGM       —
2018-17   L4/2.0L                                            60 Ah33                H6 (48) AGM       —
2016-14   L4/1.8L    AT                                      76033                  H6 (48) AGM       —
2016-14   L4/1.8L    MT                                      550                    —                 H5 (47) AGM
2016-11   L4/2.0L                                            550                    —                 H5 (47) AGM
2013-11   L4/1.8L                                            550                    —                 H5 (47) AGM
2013-11   L4/1.8L    Opt                                     550                    H6 (48)           H6 (48) AGM
2009-07   L4/2.0L                                            550                    121R
2005-04   L4/2.0L                                            560                    124R
2003-99   L4/2.0L                                            550                    124R
1998-97   L4/1.8L                                            600                    121R
1996-93   L4/1.8L                                            435                    25
1996-93   L4/1.8L    Can & Opt                               540                    24
1995-92   L4/1.6L                                            435                    25
1995-92   L4/1.6L    Can & Opt                               540                    24
2021      L4/1.6L    Hybrid                                  550                    H5 (47)           H5 (47) AGM
2010      L4/2.0L                                            600                    121R
2006      L4/2.0L                                            500                    124R
Hyundai Elantra Coupe
2014      L4/2.0L                                            550                    —                 H5 (47) AGM
2013      L4/1.8L                                            550                    —                 H5 (47) AGM
Hyundai Elantra GT
2020-18 L4/1.6L                                              550                    H5 (47)           H5 (47) AGM
2020-14 L4/2.0L                                              600                    H6 (48)           H6 (48) AGM
2013    L4/1.8L                                              550                    —                 H5 (47) AGM
Hyundai Entourage
2010-07 V6/3.8L                                              600                    124R
Hyundai Equus
2016-12 V8/5.0L                                              74050                  —                 H8 (49) AGM
2011    V8/4.6L                                              740                    —                 H8 (49) AGM
Hyundai Excel
1994-90 L4/1.5L                                              420                    25
Hyundai Genesis
2016-14   V6/3.8L                                            74050                  —                 H8 (49) AGM
2016-14   V8/5.0L                                            95033, 50              H9 (95R) AGM      —
2013-12   V8/5.0L                                            600                    —
2013-09   V6/3.8L    Sedan                                   74054                  —                 H8 (49) AGM
2012-09   V8/4.6L    Sedan                                   74054                  —                 H8 (49) AGM
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

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                                                                              Hyundai
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   Automotive/Light Truck                                                                                                     85
      YEAR        ENGINE                                          OPTIONS       ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                    CCA/RATING             (NOTES)            (NOTES)

   Hyundai Genesis (continued)
   2016        V6/3.8L     AGM                                              95033                    H9 (95R) AGM      —
   2016        V8/5.0L     AGM                                              95033                    H9 (95R) AGM      —
   Hyundai Genesis Coupe
   2015-10 V6/3.8L                                                          600                      124R
   2014-10 L4/2.0L                                                          600                      124R
   2016    V6/3.8L                                                          700                      124R
   Hyundai Ioniq
   2021-17                 Electric                                         —                        —                 —
   Hyundai Kona
   2018        L4/1.6L                                                      76033                    H6 (48) AGM       —
   2018        L4/2.0L                                                      76033                    H6 (48) AGM       —
   Hyundai Santa Fe
   2020-19     L4/2.0L                                                      800                      H7 (94R) AGM      —
   2020-19     L4/2.0L                                                      600                      124R
   2020-19     L4/2.4L                                                      800                      H7 (94R) AGM      —
   2019-03     L4/2.4L                                                      600                      124R
   2018-07     V6/3.3L                                                      600                      124R
   2012-03     V6/3.5L                                                      600                      124R
   2009-01     V6/2.7L                                                      600                      124R
   2016        V6/3.3L                                                      700                      124R
   2002        L4/2.4L                                                      550                      124R
   2001        L4/2.4L                                                      660                      124R
   Hyundai Santa Fe Sport
   2018-17     L4/2.0L                                                      80033                    H7 (94R) AGM      —
   2018-17     L4/2.4L                                                      80033                    H7 (94R) AGM      —
   2016-13     L4/2.0L                                                      700                      124R
   2016-13     L4/2.4L                                                      700                      124R
   Hyundai Santa Fe XL
   2016-13 V6/3.3L                                                          600                      124R
   2016    V6/3.3L                                                          700                      124R
   Hyundai Scoupe
   1995-94 L4/1.5L         Can & Opt                                        540                      24
   1995-94 L4/1.5L         Can or Opt                                       54045                    —
   1993-91 L4/1.5L                                                          420                      25
   Hyundai Sonata
   2019-18     L4/2.4L                                                      76033                    H6 (48) AGM       —
   2019-16     L4/2.0L     Hybrid                                           60045, 50                —
   2019-14     L4/2.0L     Gas                                              76033                    H6 (48) AGM       —
   2017-16     L4/2.4L                                                      80033                    H7 (94R) AGM      —
   2017-15     L4/1.6L                                                      80033                    H7 (94R) AGM      —
   2015-11     L4/2.4L     Hybrid                                           60045, 50                —                 —
   2013-11     L4/2.0L                                                      600                      124R
   2013-06     L4/2.4L     Gas                                              600                      124R
   2009-06     V6/3.3L                                                      600                      124R
   2005-03     L4/2.4L                                                      560                      124R
   2005-02     V6/2.7L                                                      600                      124R
   2002-99     L4/2.4L                                                      550                      124R
   2000-99     V6/2.5L                                                      540                      124R
   1998-92     L4/2.0L                                                      420                      25
   1998-92     L4/2.0L     Opt                                              540                      24
   1998-90     V6/3.0L                                                      540                      24
   1991-89     L4/2.4L                                                      420                      25
   1991-89     L4/2.4L     Opt                                              540                      24
   2018        L4/1.6L                                                      76033                    H6 (48) AGM       —
   2015        L4/2.4L     Gas                                              80033                    H7 (94R) AGM      —
   2014        L4/2.4L     Gas                                              76033                    H6 (48) AGM       —
   2010        V6/3.3L                                                      700                      124R
   2001        V6/2.5L                                                      600                      124R
   Hyundai Tiburon
   2008-97 L4/2.0L                                                          600                      124R
   2008-03 V6/2.7L                                                          600                      124R
   1997    L4/1.8L                                                          600                      124R
   Hyundai Tucson
   2021-18     L4/2.4L                                                      640                      H6 (48)           H6 (48) AGM
   2021-16     L4/2.0L                                                      640                      H6 (48)           H6 (48) AGM
   2018-16     L4/1.6L                                                      640                      H6 (48)           H6 (48) AGM
   2017-15                 Electric/Hydrogen                                600                      —                 —
   2015-11     L4/2.0L                                                      600                      124R
   2015-10     L4/2.4L                                                      600                      124R
   2009-05     L4/2.0L                                                      600                      124R
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                                                                                                                                 Costco_002050
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86                                                   Automotive/Light Truck
  YEAR      ENGINE                         OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                    CCA/RATING             (NOTES)            (NOTES)

Hyundai Tucson (continued)
2009-05 V6/2.7L                                               600                    124R
2016    L4/1.6L                                               600                    124R
Hyundai Veloster
2016-13   L4/1.6L    Turbo                                    550                    —                 H5 (47) AGM
2016-12   L4/1.6L    Non Turbo                                550                    121R
2013-12   L4/1.6L                                             600                    121R
2016      L4/1.6L    Turbo                                    410                    H5 (47)           H5 (47) AGM
2014      L4/1.6L                                             550                    —                 H5 (47) AGM
Hyundai Veracruz
2012-09 V6/3.8L                                               660                    124R
2008-07 V6/3.8L                                               600                    124R
Hyundai XG300
2001      V6/3.0L                                             600                    124R
Hyundai XG350
2005-02 V6/3.5L                                               600                    124R
,QğQLWLEX35
2012-08 V6/3.5L                                               585                    35                35 AGM
,QğQLWLEX37
2013      V6/3.7L                                             720                    —                 —
,QğQLWLFX35
2012-09   V6/3.5L                                             585                    35                35 AGM
2008-07   V6/3.5L                                             550                    24F               24F AGM
2008-07   V6/3.5L    w/Intelligent Key                        750                    —                 —
2008-07   V6/3.5L    w/o Intelligent Key                      550                    35                35 AGM
2006-03   V6/3.5L                                             490                    35                35 AGM
,QğQLWLFX37
2013      V6/3.7L                                             720                    —                 —
,QğQLWLFX45
2008-07   V8/4.5L                                             550                    24F               24F AGM
2008-06   V8/4.5L    w/Intelligent Key                        750                    —                 —
2008-06   V8/4.5L    w/o Intelligent Key                      550                    35                35 AGM
2006-03   V8/4.5L                                             490                    35                35 AGM
,QğQLWLFX50
2013-09 V8/5.0L                                               720                    —                 —
,QğQLWLG20
2002-99 L4/2.0L                                               585                    24F               24F AGM
1996-91 L4/2.0L      Calif                                    360                    35                35 AGM
1996-91 L4/2.0L      Ex Calif                                 585                    24F               24F AGM
,QğQLWLG25
2012-11 V6/2.5L                                               720                    —                 —
2012-11 V6/2.5L                                               585                    35                35 AGM
,QğQLWLG35
2007-03   V6/3.5L    Coupe                                    550                    35                35 AGM
2007-03   V6/3.5L    Sedan                                    550                    24F               24F AGM
2006-03   V6/3.5L                                             490                    35                35 AGM
2008      V6/3.5L                                             550                    35                35 AGM
,QğQLWLG37
2013-08 V6/3.7L                                               585                    35                35 AGM
,QğQLWLI30
2001-98   V6/3.0L                                             585                    24F               24F AGM
1997-96   V6/3.0L    Calif                                    415                    24F               24F AGM
1997-96   V6/3.0L    Can & Opt                                585                    24F               24F AGM
1997-96   V6/3.0L    US                                       360                    35                35 AGM
,QğQLWLI35
2004-03 V6/3.5L                                               445                    24F               24F AGM
2002    V6/3.5L                                               585                    24F               24F AGM
,QğQLWLJ30
1997-93 V6/3.0L                                               585                    24
,QğQLWLJX35
2013      V6/3.5L                                             720                    —                 —
,QğQLWLM30
1991-90   V6/3.0L                                             415                    24
1992      V6/3.0L    Convertible                              360                    25
1992      V6/3.0L    Ex Conv                                  415                    24
1992      V6/3.0L    Opt                                      585                    24
,QğQLWLM35
2010-06 V6/3.5L                                               700                    24F               24F AGM
                                                             See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                            Costco_002051
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 853 Isuzu
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   Automotive/Light Truck                                                                                                    87
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING             (NOTES)            (NOTES)

   ,QğQLWLM37
   2013-11 V6/3.7L                                                          700                     24F               24F AGM
   ,QğQLWLM45
   2010-06 V8/4.5L                                                          750                     —                 —
   2004    V8/4.5L                                                          49045                   25
   2003    V8/4.5L                                                          585                     24
   ,QğQLWLM56
   2013-11 V8/5.6L                                                          750                     —                 —
   ,QğQLWLQ40
   2015        V6/3.7L                                                      585                     35                35 AGM
   ,QğQLWLQ45
   2006-02 V8/4.5L                                                          585                     24F               24F AGM
   2001-97 V8/4.1L                                                          585                     24
   1996-90 V8/4.5L                                                          625                     27
   ,QğQLWLQ50
   2022-16     V6/3.0L     Trunk                                            60045, 59               —                 —
   2022-16     V6/3.0L                                                      78045, 59               —                 —
   2015-14     V6/3.7L                                                      585                     35                35 AGM
   2018        V6/3.5L     Hybrid                                           60045, 59               —                 —
   2016        V6/3.5L     Ex HEV w/o EFB                                   640                     35                35 AGM
   2015        V6/3.5L     Hybrid                                           60045, 59               —                 —
   2014        V6/3.5L     Hybrid                                           60045, 59               —                 —
   ,QğQLWLQ60
   2022-17 V6/3.0L                                                          78045, 59               —                 —
   2022-17 V6/3.0L         TC                                               60045, 59               —                 —
   2015-14 V6/3.7L                                                          585                     35                35 AGM
   ,QğQLWLQ70
   2019-16     V6/3.7L                                                      585                     35                35 AGM
   2019-16     V8/5.6L                                                      720                     —                 —
   2018-14     V6/3.5L     Hybrid                                           60050, 59               —                 —
   2015-14     V8/5.6L                                                      585                     35                35 AGM
   ,QğQLWLQ70L
   2019-16     V6/3.7L                                                      585                     35                35 AGM
   2019-16     V8/5.6L                                                      720                     —                 —
   2016-15     V6/3.7L                                                      585                     35                35 AGM
   2016-15     V8/5.6L                                                      585                     35                35 AGM
   ,QğQLWLQX4
   2000-97     V6/3.3L     HD, w/HS & Can                                   450                     24
   2000-97     V6/3.3L     US                                               360                     25
   2003        V6/3.5L                                                      490                     24
   2002        V6/3.5L                                                      360                     25
   2001        V6/3.5L                                                      490                     24
   ,QğQLWLQX50
   2021-19     L4/2.0L                                                      7002, 50, 59            —                 —
   2015-14     V6/3.7L                                                      720                     —                 —
   2017        V6/3.7L                                                      585                     35                35 AGM
   2016        V6/3.7L                                                      550                     35                35 AGM
   2016        V6/3.7L     Opt                                              720                     —                 —
   ,QğQLWLQX56
   2013-12 V8/5.6L                                                          710                     27
   2010-04 V8/5.6L                                                          710                     27F
   ,QğQLWLQX60
   2020-19     V6/3.5L                                                      63 Ah                   —                 —
   2019-14     V6/3.5L                                                      550                     35                35 AGM
   2017-14     L4/2.5L     Hybrid                                           500                     51R
   2015-14     V6/3.5L                                                      720                     —                 —
   ,QğQLWLQX70
   2017-14 V6/3.7L                                                          585                     35                35 AGM
   2015-14 V8/5.0L                                                          720                     —                 —
   ,QğQLWLQX80
   2022-14 V8/5.6L                                                          780                     27
   Isuzu Amigo
   2000-98     L4/2.2L                                                      600                     24F               24F AGM
   2000-98     V6/3.2L                                                      600                     24F               24F AGM
   1994-90     L4/2.6L     AT                                               600                     24
   1994-90     L4/2.6L     MT                                               430                     25
   1993-90     L4/2.3L     AT                                               600                     24
   1993-90     L4/2.3L     MT                                               430                     25
   See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                Costco_002052
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88                                             Automotive/Light Truck
  YEAR      ENGINE                   OPTIONS                   ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)          (NOTES)

Isuzu Ascender
2008-03 L6/4.2L                                              60040                  78
2006-03 V8/5.3L                                              60040                  78
Isuzu Axiom
2004-02 V6/3.5L                                              600                    24F               24F AGM
Isuzu Hombre
2000-97   V6/4.3L                                            525                    75
2000-97   V6/4.3L    Opt                                     690                    —
2000-96   L4/2.2L                                            525                    75
2000-96   L4/2.2L    Opt                                     690                    —
Isuzu i-280
2006      L4/2.8L                                            64011, 40              86
Isuzu i-290
2008      L4/2.9L                                            64040                  86
2007      L4/2.9L                                            64011, 40              86
Isuzu i-350
2006      L5/3.5L                                            64011, 40              86
Isuzu i-370
2008      L5/3.7L                                            64040                  86
2007      L5/3.7L                                            64011, 40              86
Isuzu Impulse
1992-90 L4/1.6L                                              355                    35                35 AGM
1992    L4/1.8L                                              355                    35                35 AGM
Isuzu Oasis
1999-98 L4/2.3L                                              550                    24F               24F AGM
1997-96 L4/2.2L                                              550                    24F               24F AGM
Isuzu Pickup
1995-90   L4/2.3L    AT                                      600                    24
1995-90   L4/2.3L    MT                                      430                    25
1994-91   V6/3.1L                                            430                    25
1994-90   L4/2.6L    AT                                      600                    24
1994-90   L4/2.6L    MT                                      430                    25
1995      L4/2.6L                                            600                    24
Isuzu Rodeo
2004-98   V6/3.2L                                            600                    24F               24F AGM
2003-98   L4/2.2L                                            600                    24F               24F AGM
2003-01   V6/3.2L    Can & Opt                               625                    27F
1997-93   L4/2.6L                                            430                    86
1996-93   V6/3.2L    AT                                      600                    24
1996-93   V6/3.2L    MT                                      430                    86
1992-91   L4/2.6L                                            380                    25
1992-91   L4/2.6L    Opt                                     610                    24
1992-91   V6/3.1L    AT, HD                                  610                    24
1992-91   V6/3.1L    MT                                      380                    25
2004      V6/3.5L                                            650                    24
2003      L4/2.2L    Can & Opt                               625                    27F
1997      V6/3.2L                                            600                    24
1996      L4/2.6L    Opt                                     600                    24
Isuzu Rodeo Sport
2002-01   L4/2.2L                                            600                    24F               24F AGM
2002-01   V6/3.2L                                            600                    24F               24F AGM
2003      L4/2.2L    Can or Opt                              625                    27F
2003      L4/2.2L    US                                      600                    24F               24F AGM
2003      V6/3.2L    Can or Opt                              625                    27F
2003      V6/3.2L    US                                      600                    24F               24F AGM
Isuzu Stylus
1993-91 L4/1.6L                                              355                    35                35 AGM
1992    L4/1.8L                                              355                    35                35 AGM
Isuzu Trooper
2002-01   V6/3.5L    HD or w/AT                              625                    27
2002-01   V6/3.5L    MT                                      585                    24
2000-98   V6/3.5L    AT                                      625                    27
2000-98   V6/3.5L    MT                                      580                    24
1997-95   V6/3.2L    AT                                      625                    27
1997-95   V6/3.2L    MT                                      580                    24
1994-92   V6/3.2L    AT                                      580                    24
1994-92   V6/3.2L    MT                                      490                    24
1994-92   V6/3.2L    Opt                                     620                    27
1991-90   L4/2.6L    AT                                      490                    24
1991-90   L4/2.6L    MT                                      350                    25
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                           Costco_002053
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 855Jaguar
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   Automotive/Light Truck                                                                                                   89
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Isuzu Trooper (continued)
   1991-90 V6/2.8L         AT                                               490                    24
   1991-90 V6/2.8L         MT                                               350                    25
   Isuzu VehiCROSS
   2001-99 V6/3.5L         Opt                                              625                    27
   2000-99 V6/3.5L                                                          580                    24
   2001    V6/3.5L                                                          585                    24
   Jaguar F-Pace
   2022-21     L4/2.0L     Li-ion Battery Only                              —45, 60                                  —
   2022-21     L6/3.0L     Li-ion Battery Only                              —45, 60                                  —
   2022-21     L6/3.0L     w/Park Heater or HD Battery                      90033, 54              H8 (49) AGM       —
   2022-21     V6/3.0L     Std w/o Park Heater or HD Battery                85033                  H7 (94R) AGM      —
   2022-21     V8/5.0L     Li-ion Battery Only                              —45, 60                                  —
   2022-17     L4/2.0L     Std w/o Park Heater or HD Battery                85033                  H7 (94R) AGM      —
   2022-17     L4/2.0L     w/Park Heater or HD Battery                      90033, 54              H8 (49) AGM       —
   2022-17     V6/3.0L     Std w/o Park Heater or HD Battery                85033                  H7 (94R) AGM      —
   2022-17     V6/3.0L     w/Park Heater or HD Battery                      90033, 54              H8 (49) AGM       —
   2022-17     V8/5.0L     Std w/o Park Heater or HD Battery                85033                  H7 (94R) AGM      —
   2022-17     V8/5.0L     w/Park Heater or HD Battery                      90033, 54              H8 (49) AGM       —
   Jaguar F-Type
   2017-14     V6/3.0L     Primary Battery                                  90033, 54              H8 (49) AGM       —
   2017-14     V6/3.0L     Auxiliary Battery                                —                      —                 —
   2017-14     V8/5.0L     Primary Battery                                  90033, 54              H8 (49) AGM       —
   2017-14     V8/5.0L     Auxiliary Battery                                —                      —                 —
   Jaguar S-Type
   2008-07     V6/3.0L                                                      95050                  —                 —
   2008-07     V6/3.0L                                                      95050                  —                 —
   2006-03     V6/3.0L                                                      75050                  —                 H8 (49) AGM
   2006-03     V8/4.2L                                                      75050                  —                 H8 (49) AGM
   2002-01     V6/3.0L                                                      68050                  H8 (49)           H8 (49) AGM
   2002-00     V6/3.0L                                                      68054                  H8 (49)           H8 (49) AGM
   2002-00     V8/4.0L                                                      68054                  H8 (49)           H8 (49) AGM
   2008        V8/4.2L                                                      85050                  —                 H8 (49) AGM
   2008        V8/4.2L                                                      85054                  —                 H8 (49) AGM
   2007        V8/4.2L                                                      95050                  —                 —
   Jaguar Super V8
   2009-07 V8/4.2L                                                          80050                  —
   2006-05 V8/4.2L                                                          680                    —
   Jaguar Vanden Plas
   2008-04     V8/4.2L                                                      680                    —
   2003-98     V8/4.0L                                                      680                    H8 (49)           H8 (49) AGM
   1996-94     L6/4.0L                                                      5905, 50               —                 H5 (47) AGM
   1992-91     L6/4.0L                                                      5905, 50               —                 H5 (47) AGM
   2009        V8/4.2L                                                      68050                  —
   1997        L6/4.0L                                                      680                    —
   1993        L6/4.0L                                                      640                    —                 H5 (47) AGM
   1990        L6/4.0L                                                      59030, 50              —
   Jaguar XE
   2017        L4/2.0L                                                      85033                  H7 (94R) AGM      —
   2017        V6/3.0L                                                      85033                  H7 (94R) AGM      —
   Jaguar XF
   2017-14     V6/3.0L                                                      85033                  H7 (94R) AGM      —
   2015-14     L4/2.0L                                                      800                    —                 H8 (49) AGM
   2015-14     V8/5.0L                                                      90033                  H8 (49) AGM       —
   2015-14     V8/5.0L     Primary Battery                                  90033                  H8 (49) AGM       —
   2015-13     V6/3.0L                                                      90033                  H8 (49) AGM       —
   2013-12     V8/5.0L     Can (from VIN S30208)                            85033, 50              H8 (49) AGM       —
   2012-10     V8/5.0L                                                      80050                  —                 H8 (49) AGM
   2012-10     V8/5.0L     Can (to VIN S30207)                              90 Ah50                H8 (49)           H8 (49) AGM
   2010-09     V8/4.2L                                                      80050                  —                 H8 (49) AGM
   2017        L4/2.0L                                                      85033                  H7 (94R) AGM      —
   2013        L4/2.0L                                                      80050                  —                 H8 (49) AGM
   2013        L4/2.0L     GTDi                                             90 Ah                  H8 (49)           H8 (49) AGM
   2013        V8/5.0L     Primary Battery                                  80033, 54              H8 (49) AGM       —
   Jaguar XFR
   2015-14 V8/5.0L         Primary Battery                                  90033                  H8 (49) AGM       —
   2015-11 V8/5.0L                                                          80050                  —                 H8 (49) AGM
   2013-10 V8/5.0L         S/C                                              80050                  —                 H8 (49) AGM
   Jaguar XFR-S
   2015-13 V8/5.0L                                                          80050                  —                 H8 (49) AGM
   See page 158 for Footnotes. Selection may vary by warehouse.

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90                                                              Automotive/Light Truck
  YEAR      ENGINE                                    OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                               CCA/RATING             (NOTES)          (NOTES)

Jaguar XJ
2017-16   V8/5.0L                                                        90033                  H8 (49) AGM       —
2017-14   V6/3.0L                                                        90033                  H8 (49) AGM       —
2015-14   V8/5.0L                                                        90033, 50              H8 (49) AGM       —
2013-12   V8/5.0L    Can (from VIN V26780)                               85033, 50              H8 (49) AGM       —
2013-11   V8/5.0L                                                        80050                  —                 H8 (49) AGM
2012-11   V8/5.0L                                                        80050, 54              —                 H8 (49) AGM
2013      V6/3.0L                                                        80050                  —                 H8 (49) AGM
2013      V8/5.0L    Primary Battery                                     80033, 50              H8 (49) AGM       —
Jaguar XJ12
1996-94 V12/6.0L                                                         5905, 50               —                 H5 (47) AGM
1992-91 V12/5.3L                                                         5905, 50               —                 H5 (47) AGM
1990-86 V12/5.3L                                                         5906                   34
Jaguar XJ6
1997-95   L6/4.0L                                                        80050                  —                 H8 (49) AGM
1994-93   L6/4.0L                                                        64050                  H6 (48)           H6 (48) AGM
1992-90   L6/4.0L    Must use Jaguar tray DBC 10489                      64050                  H6 (48)           H6 (48) AGM
1991-90   L6/4.0L    Opt                                                 450                    —
Jaguar XJ8
2009-04 V8/4.2L                                                          90 Ah50                H8 (49)           H8 (49) AGM
2003-98 V8/4.0L                                                          680                    H8 (49)           H8 (49) AGM
Jaguar XJR
2009-07   V8/4.2L                                                        80050, 54              —                 H8 (49) AGM
2006-04   V8/4.2L                                                        75050                  —                 H8 (49) AGM
2003-98   V8/4.0L                                                        680                    H8 (49)           H8 (49) AGM
1996-95   L6/4.0L                                                        590                    —                 H5 (47) AGM
1997      L6/4.0L                                                        680                    H8 (49)           H8 (49) AGM
Jaguar XJR-S
1993      V12/6.0L                                                       590                    —                 H5 (47) AGM
Jaguar XJS
1996-95   L6/4.0L                                                        600                    H6 (48)           H6 (48) AGM
1995-94   V12/6.0L                                                       5905, 50               —                 H5 (47) AGM
1994-92   L6/4.0L                                                        5905, 50               —                 H5 (47) AGM
1992-91   V12/5.3L                                                       5905, 50               —                 H5 (47) AGM
1990-89   V12/5.3L                                                       59030, 54              —
Jaguar XK
2015-14   V8/5.0L                                                        800                    —
2013-10   V8/5.0L                                                        80050                  —
2011-10   V8/5.0L                                                        80054                  —                 H8 (49) AGM
2009-07   V8/4.2L                                                        80050                  —
2013      V8/5.0L                                                        80050                  —                 H8 (49) AGM
2012      V8/5.0L    Opt                                                 80054                  —                 H8 (49) AGM
Jaguar XK8
2006-04 V8/4.2L                                                          75050                  —                 H8 (49) AGM
2002-97 V8/4.0L                                                          680                    H8 (49)           H8 (49) AGM
2003    V8/4.2L                                                          680                    H8 (49)           H8 (49) AGM
Jaguar XKR
2015-14   V8/5.0L                                                        800                    —
2013-10   V8/5.0L                                                        80050                  —                 H8 (49) AGM
2009-07   V8/4.2L                                                        80050                  —
2006-04   V8/4.2L                                                        75050                  —                 H8 (49) AGM
2002-00   V8/4.0L                                                        680                    H8 (49)           H8 (49) AGM
2003      V8/4.2L                                                        680                    H8 (49)           H8 (49) AGM
Jaguar XKR-S
2015-14 V8/5.0L                                                          800                    —
2013-12 V8/5.0L                                                          80050                  —                 H8 (49) AGM
Jaguar X-Type
2008-07   V6/3.0L                                                        80 Ah                  H7 (94R)          H7 (94R) AGM
2006-04   V6/2.5L                                                        700                    H7 (94R)          H7 (94R) AGM
2006-04   V6/3.0L                                                        700                    H7 (94R)          H7 (94R) AGM
2003-02   V6/2.5L                                                        640                    H7 (94R)          H7 (94R) AGM
2003-02   V6/3.0L                                                        640                    H7 (94R)          H7 (94R) AGM
Jeep Cherokee
2022-19   L4/2.0L                                                        70033, 50              H7 (94R) AGM      —
2022-19   L4/2.4L                                                        70033, 50              H7 (94R) AGM      —
2022-19   V6/3.2L                                                        70033, 50              H7 (94R) AGM      —
2018-14   L4/2.4L                                                        600                    H6 (48)           H6 (48) AGM
2018-14   V6/3.2L                                                        730                    H7 (94R)          H7 (94R) AGM
2018-14   V6/3.2L    Opt                                                 730                    H7 (94R) AGM      —
2001-98   L6/4.0L                                                        500                    34
                                                                        See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                       Costco_002055
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 857 Jeep
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   Automotive/Light Truck                                                                                                   91
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Jeep Cherokee (continued)
   2000-98     L4/2.5L                                                      500                    34
   1997-90     L4/2.5L                                                      430                    58
   1997-90     L4/2.5L     Opt                                              500                    58
   1997-90     L6/4.0L                                                      430                    58
   1997-90     L6/4.0L     Opt                                              500                    58
   Jeep Comanche
   1992-90     L4/2.5L                                                      430                    58
   1992-90     L4/2.5L     Opt                                              500                    58
   1992-90     L6/4.0L                                                      430                    58
   1992-90     L6/4.0L     Opt                                              500                    58
   Jeep Commander
   2007-06     V6/3.7L                                                      73050                  H7 (94R)          H7 (94R) AGM
   2007-06     V8/4.7L                                                      730                    H7 (94R)          H7 (94R) AGM
   2007-06     V8/4.7L                                                      73050                  H7 (94R)          H7 (94R) AGM
   2007-06     V8/5.7L                                                      73050                  H7 (94R)          H7 (94R) AGM
   2010        V6/3.7L                                                      625                    H7 (94R)          H7 (94R) AGM
   2010        V8/5.7L                                                      625                    H7 (94R)          H7 (94R) AGM
   2009        V6/3.7L                                                      730                    H7 (94R)          H7 (94R) AGM
   2009        V8/4.7L                                                      730                    H7 (94R)          H7 (94R) AGM
   2009        V8/4.7L                                                      73057                  H7 (94R)          H7 (94R) AGM
   2009        V8/5.7L                                                      730                    H7 (94R)          H7 (94R) AGM
   2008        V6/3.7L     Early                                            730                    H7 (94R)          H7 (94R) AGM
   2008        V6/3.7L     Late                                             625                    H7 (94R)          H7 (94R) AGM
   2008        V8/4.7L     Early                                            730                    H7 (94R)          H7 (94R) AGM
   2008        V8/4.7L     Early                                            73057                  H7 (94R)          H7 (94R) AGM
   2008        V8/4.7L     Late                                             625                    H7 (94R)          H7 (94R) AGM
   2008        V8/4.7L     Late                                             62557                  H7 (94R)          H7 (94R) AGM
   2008        V8/5.7L     Early                                            730                    H7 (94R)          H7 (94R) AGM
   2008        V8/5.7L     Late                                             625                    H7 (94R)          H7 (94R) AGM
   Jeep Compass
   2021-18     L4/2.4L     w/Start/Stop                                     60033                  H5 (47) AGM       —
   2021-17     L4/2.4L     Auxiliary for Start/Stop                         20033, 50              —                 —
   2021-17     L4/2.4L     w/o Start/Stop                                   600                    H6 (48)           H6 (48) AGM
   2017-07     L4/2.0L                                                      525                    86
   2016-07     L4/2.4L                                                      525                    86
   2017        L4/2.4L     w/Start/Stop                                     50033                  H5 (47) AGM
   Jeep Gladiator
   2021-20 V6/3.6L                                                          65033                  H6 (48) AGM       —
   2021-20 V6/3.6L         Auxiliary                                        20033, 50              —                 —
   2021-20 V6/3.6L         Opt                                              70033                  H7 (94R) AGM      —
   Jeep Grand Cherokee
   2021-18     V8/6.2L                                                      70033, 50              H7 (94R) AGM      —
   2021-16     V6/3.6L     Auxiliary for Start/Stop                         20033, 50              —                 —
   2021-16     V6/3.6L     w/o Start/Stop                                   70033, 50              H7 (94R) AGM      —
   2021-16     V6/3.6L     w/Start/Stop                                     65033, 50              H6 (48) AGM       —
   2021-14     V6/3.0L     Dsl                                              80033, 50              H8 (49) AGM       —
   2021-13     V8/5.7L                                                      70033, 50              H7 (94R) AGM      —
   2021-13     V8/6.4L                                                      70033, 50              H7 (94R) AGM      —
   2015-13     V6/3.6L                                                      70033, 50              H7 (94R) AGM      —
   2014-11     V6/3.6L     Opt                                              80033, 50              H8 (49) AGM       —
   2013-12     V8/6.4L     Opt                                              80033, 50              H8 (49) AGM       —
   2013-11     V6/3.6L     Opt                                              80033, 50              H8 (49) AGM       —
   2013-11     V8/5.7L     Opt                                              80033, 50              H8 (49) AGM       —
   2009-08     V6/3.0L     Dsl                                              85057                  —                 H8 (49) AGM
   2009-08     V6/3.7L                                                      73057                  H7 (94R)          H7 (94R) AGM
   2009-08     V6/3.7L     Opt                                              85057                  —                 H8 (49) AGM
   2009-08     V8/4.7L                                                      73057                  H7 (94R)          H7 (94R) AGM
   2009-08     V8/4.7L     Opt                                              85057                  —                 H8 (49) AGM
   2009-08     V8/5.7L                                                      73057                  H7 (94R)          H7 (94R) AGM
   2009-08     V8/5.7L     Opt                                              85057                  —                 H8 (49) AGM
   2009-08     V8/6.1L                                                      73057                  H7 (94R)          H7 (94R) AGM
   2009-08     V8/6.1L     Opt                                              85057                  —                 H8 (49) AGM
   2006-05     V6/3.7L                                                      730                    H7 (94R)          H7 (94R) AGM
   2006-05     V8/4.7L                                                      730                    H7 (94R)          H7 (94R) AGM
   2006-05     V8/5.7L                                                      730                    H7 (94R)          H7 (94R) AGM
   2004-99     L6/4.0L                                                      625                    65                65 AGM
   2004-99     V8/4.7L                                                      625                    65                65 AGM
   1998-93     L6/4.0L                                                      600                    34
   1998-93     V8/5.2L                                                      600                    34
   2020        V6/3.6L     Opt Auxiliary Battery for Start/Stop             18033, 50              —                 —
   2015        V6/3.6L     Opt                                              80033, 50              H8 (49) AGM       —
   See page 158 for Footnotes. Selection may vary by warehouse.

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92                                                                               Automotive/Light Truck
  YEAR      ENGINE                                                     OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                                 CCA/RATING             (NOTES)            (NOTES)

Jeep Grand Cherokee (continued)
2015      V8/5.7L    Opt                                                                  80033, 50               H8 (49) AGM       —
2015      V8/6.4L    Opt                                                                  80033, 50               H8 (49) AGM       —
2014      V8/5.7L    Opt                                                                  80033, 50               H7 (94R) AGM      —
2014      V8/6.4L    Opt                                                                  80033, 50               H7 (94R) AGM      —
2011      V6/3.6L                                                                         70033, 50               H7 (94R) AGM      —
2011      V8/5.7L                                                                         70033, 50               H7 (94R) AGM      —
2011      V8/5.7L                                                                         70033, 50               H7 (94R) AGM      —
2010      V6/3.7L                                                                         750                     H7 (94R)          H7 (94R) AGM
2010      V6/3.7L    Opt                                                                  850                     —                 H8 (49) AGM
2010      V8/5.7L                                                                         750                     H7 (94R)          H7 (94R) AGM
2010      V8/5.7L    Opt                                                                  850                     —                 H8 (49) AGM
2010      V8/6.1L                                                                         750                     H7 (94R)          H7 (94R) AGM
2010      V8/6.1L    Opt                                                                  850                     —                 H8 (49) AGM
2007      V6/3.0L    Dsl                                                                  850                     —                 H8 (49) AGM
2007      V6/3.7L                                                                         750                     H7 (94R)          H7 (94R) AGM
2007      V6/3.7L    Opt                                                                  850                     —                 H8 (49) AGM
2007      V8/4.7L                                                                         750                     H7 (94R)          H7 (94R) AGM
2007      V8/4.7L                                                                         850                     —                 H8 (49) AGM
2007      V8/5.7L    Can                                                                  730                     H7 (94R)          H7 (94R) AGM
2007      V8/6.1L    US                                                                   750                     H7 (94R)          H7 (94R) AGM
2006      V8/6.1L                                                                         730                     H7 (94R)          H7 (94R) AGM
2006      V8/6.1L                                                                         730                     H7 (94R)          H7 (94R) AGM
1998      V8/5.9L                                                                         600                     34
Jeep Grand Wagoneer
1991-90 V8/5.9L                                                                           500                     58
1993    V8/5.2L                                                                           600                     34
Jeep Liberty
2012-03   V6/3.7L                                                                         600                     34
2006-05   L4/2.8L    Dsl                                                                  80045                   —
2005-03   L4/2.4L                                                                         600                     34
2002      L4/2.4L                                                                         525                     86
2002      V6/3.7L                                                                         525                     86
Jeep Patriot
2017-07 L4/2.0L                                                                           525                     86
2017-07 L4/2.4L                                                                           525                     86
Jeep Renegade
2021-20   L4/1.3L                                                                         33, 50
                                                                                                                  H6 (48) AGM       —
2021-16   L4/2.4L                                                                         600                     H6 (48)           H6 (48) AGM
2018-17   L4/1.4L                                                                         500                     H5 (47)           H5 (47) AGM
2016-15   L4/1.4L    US                                                                   500                     H5 (47)           H5 (47) AGM
2016-15   L4/1.4L    Can                                                                  600                     H6 (48)           H6 (48) AGM
2019      L4/1.3L                                                                         500                     H5 (47)           H5 (47) AGM
2015      L4/2.4L    US                                                                   650                     —                 H5 (47) AGM
2015      L4/2.4L    Can                                                                  600                     H6 (48)           H6 (48) AGM
Jeep TJ
2006-05   L4/2.4L                                                                         600                     34
2006-02   L6/4.0L                                                                         600                     34
2001-97   L4/2.5L                                                                         500                     34
2001-97   L6/4.0L                                                                         500                     34
2003      L4/2.4L                                                                         600                     34
2002      L4/2.5L                                                                         600                     34
Jeep Wagoneer
1990      L6/4.0L                                                                         430                     58
1990      L6/4.0L    Opt                                                                  500                     58
Jeep Wrangler
2021-20   V6/3.0L    w/o Start/Stop                                                       70033, 50               H7 (94R) AGM      —
2021-20   V6/3.0L    w/Start/Stop                                                         65033, 50               H6 (48) AGM       —
2021-19   L4/2.0L    w/o Start/Stop                                                       70033, 50               H7 (94R) AGM      —
2021-19   L4/2.0L    w/Start/Stop                                                         65033, 50               H6 (48) AGM       —
2021-19   V6/3.6L    w/o Start/Stop                                                       70033, 50               H7 (94R) AGM      —
2021-18   V6/3.6L    w/Start/Stop                                                         65033, 50               H6 (48) AGM       —
2020-19   L4/2.0L    Hybrid Auxiliary Battery, w/Start/Stop                               20033, 50               —                 —
2020-19   L4/2.0L    Hybrid Optional Auxiliary Battery, w/Start/Stop                      18033, 50               —                 —
2019-18   L4/2.0L    Hybrid, w/o Start/Stop                                               70033, 50               H7 (94R) AGM      —
2019-18   L4/2.0L    Hybrid, w/Start/Stop                                                 65033, 50               H6 (48) AGM       —
2017-16   V6/3.6L                                                                         750                     —                 —
2017-16   V6/3.6L                                                                         80033, 50               H7 (94R) AGM      —
2015-12   V6/3.6L                                                                         640                     H6 (48) AGM       —
2011-10   V6/3.8L                                                                         600                     34                —
2010-09   V6/3.8L    Opt                                                                  800                     34                —
2009-08   V6/3.8L                                                                         60057                   34                —
                                                                                         See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                 93
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT      GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING           (NOTES)            (NOTES)

   Jeep Wrangler (continued)
   2006-03     L4/2.4L     Incl TJ                                          600                    34              —
   2006-02     L6/4.0L     Incl TJ                                          600                    34              —
   2005-03     L4/2.4L                                                      600                    34              —
   2001-98     L6/4.0L                                                      500                    34              —
   2001-97     L4/2.5L                                                      500                    34              —
   2001-97     L4/2.5L     Incl TJ                                          500                    34              —
   2001-97     L6/4.0L     Incl TJ                                          500                    34              —
   2000-97     L4/2.5L     Opt                                              600                    34              —
   2000-97     L6/4.0L     Opt                                              600                    34              —
   1995-91     L6/4.0L                                                      430                    58              —
   1995-91     L6/4.0L     Opt                                              500                    58              —
   1995-90     L4/2.5L                                                      430                    58              —
   1995-90     L4/2.5L     Opt                                              500                    58              —
   2021        L4/2.0L     Auxiliary, w/Start/Stop                          18033, 50              —               —
   2021        V6/3.0L     Auxiliary, w/Start/Stop                          18033, 50              —               —
   2021        V6/3.6L     Auxiliary, w/Start/Stop                          18033, 50              —               —
   2020        L4/2.0L     Auxiliary Battery, w/Start/Stop                  20033, 50              —               —
   2020        L4/2.0L     Opt Auxiliary Battery, w/Start/Stop              18033, 50              —               —
   2020        V6/3.0L     Auxiliary Battery, w/Start/Stop                  20033, 50              —               —
   2020        V6/3.0L     Opt Auxiliary Battery, w/Start/Stop              18033, 50              —               —
   2020        V6/3.6L     Auxiliary Battery, w/Start/Stop                  20033, 50              —               —
   2019        V6/3.6L     Auxiliary Battery                                20033, 50              —               —
   2018        L4/2.0L     Auxiliary Battery, w/Start/Stop                  20033, 50              —               —
   2018        V6/3.6L     w/o Start/Stop                                   80033, 50              H7 (94R) AGM    —
   2007        V6/3.8L                                                      800                    34              —
   2002        L4/2.5L                                                      600                    34              —
   2002        L4/2.5L     Incl TJ                                          600                    34              —
   1990        L4/2.5L     YJ                                               420                    —
   1990        L4/2.5L     YJ & Opt                                         450                    —
   1990        L4/2.5L     YJ HD                                            500                    —
   1990        L6/4.2L                                                      430                    58
   1990        L6/4.2L     Opt                                              500                    58
   1990        L6/4.2L     YJ                                               420                    —
   1990        L6/4.2L     YJ & Opt                                         450                    —
   1990        L6/4.2L     YJ HD                                            500                    —
   Jeep Wrangler JK
   2018        V6/3.6L                                                      600                    H6 (48)         H6 (48) AGM
   2018        V6/3.6L     Opt                                              80033, 50              H7 (94R) AGM    —
   Kia Amanti
   2009-07 V6/3.8L                                                          600                    124R
   2006-05 V6/3.5L                                                          600                    124R
   2004    V6/3.5L                                                          600                    —
   Kia Borrego
   2011-09 V6/3.8L                                                          600                    124R
   2011-09 V8/4.6L                                                          90045                  —
   Kia Cadenza
   2021-17 V6/3.3L                                                          80033                  H7 (94R) AGM    —
   2016-14 V6/3.3L                                                          660                    124R
   Kia Carnival
   2022        V6/3.5L                                                      80033                  H7 (94R) AGM    —
   Kia EV6
   2022                    Electric                                         550                    H5 (47)         H5 (47) AGM
   Kia Forte
   2022-20     L4/1.6L                                                      600                    —               H5 (47) AGM
   2021-19     L4/2.0L                                                      60033                  —               H5 (47) AGM
   2018-17     L4/2.0L     MT                                               600                    —               H5 (47) AGM
   2018-17     L4/2.0L     AT                                               60033                  H5 (47) AGM     —
   2018-17     L4/2.0L     Ex LX                                            640                    H6 (48)         H6 (48) AGM
   2016-14     L4/1.8L                                                      550                    —               H5 (47) AGM
   2016-14     L4/2.0L                                                      550                    —               H5 (47) AGM
   2016-14     L4/2.0L                                                      640                    H6 (48)         H6 (48) AGM
   2013-10     L4/2.0L                                                      550                    121R
   2013-10     L4/2.4L                                                      550                    121R
   2017        L4/2.0L     LX                                               N/A33                  H5 (47) AGM
   2014        L4/2.0L                                                      660                    H6 (48)         H6 (48) AGM
   Kia Forte 5
   2016-14 L4/1.6L                                                          550                    —               H5 (47) AGM
   2016-14 L4/2.0L                                                          640                    H6 (48)         H6 (48) AGM
   2013-12 L4/2.0L                                                          550                    121R            —
   2013-12 L4/2.4L                                                          550                    121R            —
   See page 158 for Footnotes. Selection may vary by warehouse.

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94                                                    Automotive/Light Truck
   YEAR      ENGINE                         OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                      CCA/RATING             (NOTES)            (NOTES)

Kia Forte 5 (continued)
2017       L4/1.6L    Ex LX                                    550                     —                 H5 (47) AGM
2017       L4/1.6L    LX                                       N/A33                   H5 (47) AGM
2017       L4/2.0L    Ex LX                                    640                     H6 (48)           H6 (48) AGM
2017       L4/2.0L    LX                                       N/A33                   H5 (47) AGM
Kia Forte Koup
2017-14    L4/1.6L                                             600                     —                 —
2016-14    L4/2.0L                                             640                     H6 (48)           H6 (48) AGM
2015-14    L4/1.6L                                             550                     121R              —
2015-10    L4/2.0L                                             550                     121R              —
2013-10    L4/2.4L                                             550                     121R              —
Kia Forte5
2022-20    L4/1.6L                                             600                     —                 H5 (47) AGM
2022-20    L4/2.0L                                             60033                   H5 (47) AGM       —
2018-17    L4/2.0L    MT                                       600                     —                 H5 (47) AGM
2018-17    L4/2.0L    AT                                       60033                   H5 (47) AGM       —
Kia K5
2022-21 L4/1.6L                                                76033                   H6 (48) AGM       —
2022-21 L4/2.5L                                                76033                   H6 (48) AGM       —
Kia K900
2021-19 V6/3.3L                                                95033                   H9 (95R) AGM      —
2017-15 V6/3.8L                                                95033                   H9 (95R) AGM      —
2017-15 V8/5.0L                                                95033                   H9 (95R) AGM      —
Kia Magentis
2010-03 L4/2.4L                                                600                     124R              —
2010-03 V6/2.7L                                                600                     124R              —
Kia Niro
2022-17 L4/1.6L       Hybrid; Li-ion Only                      33, 45
                                                                                       —                 —
2021-18               Electric                                 470                     —                 —
Kia Optima
2020-19    L4/1.6L                                             76033                   H6 (48) AGM       —
2020-19    L4/2.4L                                             76033                   H6 (48) AGM       —
2020-17    L4/2.0L    Hybrid                                   76033                   H6 (48) AGM       —
2020-16    L4/2.0L                                             76033                   H6 (48) AGM       —
2018-16    L4/1.6L                                             80033                   H7 (94R) AGM      —
2018-16    L4/2.4L                                             80033                   H7 (94R) AGM      —
2015-14    L4/2.4L    Gas                                      76033                   H6 (48) AGM       —
2015-11    L4/2.0L                                             600                     124R
2015-11    L4/2.4L    Hybrid                                   60045, 50               —
2013-04    L4/2.4L    Ex Hybrid                                600                     124R
2010-02    V6/2.7L                                             600                     124R
2003-01    L4/2.4L                                             60045                   —                 —
2001       V6/2.5L                                             60045                   —                 —
Kia Rio
2022-18    L4/1.6L                                             60033                   H5 (47) AGM       —
2017-14    L4/1.6L    w/o ISG                                  550                     121R
2017-13    L4/1.6L    w/ISG                                    76033                   H6 (48) AGM       —
2011-03    L4/1.6L                                             500                     35                35 AGM
2002-01    L4/1.5L                                             500                     35                35 AGM
2012       L4/1.6L                                             550                     121R
Kia Rio 5
2011-06 L4/1.6L                                                500                     35                35 AGM
Kia Rondo
2017-14 L4/2.0L                                                600                     124R
2012-07 L4/2.4L                                                600                     124R
2012-07 V6/2.7L                                                600                     124R
Kia Sedona
2021-15    V6/3.3L    R-MDPS                                   85033                   H8 (49) AGM       —
2021-15    V6/3.3L    Non R-MDPS                               660                     124R
2012-11    V6/3.5L                                             660                     124R
2010-06    V6/3.8L                                             600                     124R
2005-03    V6/3.5L                                             500                     24F               24F AGM
2014       V6/3.5L                                             660                     124R
2002       V6/3.5L                                             600                     24F               24F AGM
Kia Seltos
2022-20 L4/1.6L                                                60033                   H5 (47) AGM       —
2022-20 L4/2.0L                                                76033                   H6 (48) AGM       —
Kia Sephia
2001-95 L4/1.8L                                                45045                   90 (T5)
1997-94 L4/1.6L                                                45023                   —
                                                              See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                              Costco_002059
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 PageLamborghini
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   Automotive/Light Truck                                                                                                  95
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING            (NOTES)            (NOTES)

   Kia Sorento
   2022-21     L4/2.5L                                                      76033                  H6 (48) AGM      —
   2020-16     L4/2.4L                                                      80033                  H7 (94R) AGM     —
   2020-16     V6/3.3L                                                      80033                  H7 (94R) AGM     —
   2018-16     L4/2.0L                                                      80033                  H7 (94R) AGM     —
   2013-11     L4/2.4L                                                      700                    124R
   2013-11     V6/3.5L                                                      700                    124R
   2009-08     V6/3.3L                                                      600                    —
   2009-07     V6/3.8L                                                      600                    —
   2006-03     V6/3.5L                                                      600                    —
   2021        L4/1.6L                                                      650                    —                H5 (47) AGM
   2015        L4/2.4L                                                      660                    124R
   2014        L4/2.4L                                                      600                    124R
   Kia Soul
   2021-20     L4/2.0L     w/ISG                                            76033                  H6 (48) AGM      —
   2021-20     L4/2.0L     w/o ISG                                          60033                  H5 (47) AGM      —
   2019-17     L4/1.6L     MT or Turbo                                      600                    121R             —
   2019-17     L4/1.6L     AT                                               60033                  H5 (47) AGM
   2019-16     L4/2.0L                                                      76033                  H6 (48) AGM      —
   2016-13     L4/1.6L     w/ISG                                            76033                  H6 (48) AGM      —
   2016-13     L4/1.6L     w/o ISG                                          550                    121R
   2016-13     L4/2.0L     w/ISG                                            76033                  H6 (48) AGM      —
   2015-10     L4/2.0L     w/o ISG                                          550                    121R
   2012-10     L4/1.6L                                                      550                    121R
   2012-10     L4/1.6L     w/o ISG                                          410                    121R
   2021        L4/1.6L                                                      76033                  H6 (48) AGM      —
   2017        L4/1.6L     w/ISG or Turbo                                   76033                  H6 (48) AGM      —
   2017        L4/1.6L     w/o ISG and Turbo                                550                    121R
   2016        L4/1.6L     w/o ISG                                          600                    121R
   2016        L4/2.0L     w/o ISG                                          600                    121R
   Kia Soul EV
   2019-18                 Electric                                         600                    121R
   2017-15                 Electric                                         600                    121R
   Kia Spectra
   2009-04 L4/2.0L                                                          5406                   121R
   2003-00 L4/1.8L                                                          4506                   90 (T5)
   2004    L4/1.8L                                                          5406                   121R
   Kia Spectra 5
   2009-05 L4/2.0L                                                          5406                   121R
   Kia Sportage
   2019-17     L4/2.0L                                                      640                    H6 (48)          H6 (48) AGM
   2019-17     L4/2.4L                                                      640                    H6 (48)          H6 (48) AGM
   2016-11     L4/2.4L                                                      600                    124R
   2016-05     L4/2.0L                                                      600                    124R
   2010-05     V6/2.7L                                                      600                    124R
   2001-00     L4/2.0L     From VIN 5593488                                 5407                   86
   1998-95     L4/2.0L     To VIN 5593487                                   4706                   58
   2002        L4/2.0L     From VIN 5593488                                 540                    86
   2000        L4/2.0L     To 5/16/2000                                     4707                   58
   1999        L4/2.0L                                                      4707                   58
   1999        L4/2.0L     From VIN 5593488                                 540                    86
   Kia Stinger
   2022-18 V6/3.3L                                                          85033                  H8 (49) AGM      —
   2021-18 L4/2.0L                                                          80033                  H7 (94R) AGM     —
   2022    L4/2.5L                                                          80033                  H7 (94R) AGM     —
   Kia Telluride
   2022-20 V6/3.8L                                                          80033                  H7 (94R) AGM     —
   Lamborghini Aventador
   2012        V12/6.5L                                                     80054                  —                H8 (49) AGM
   Lamborghini Diablo
   2001-00 V12/6.0L                                                         70050                  —
   2000-91 V12/5.7L                                                         70050                  —
   1990    V12/5.7L                                                         70054                  —
   Lamborghini Gallardo
   2012-09 V10/5.2L                                                         80050                  —                H8 (49) AGM
   2009-08 V10/5.0L                                                         80050                  —                H8 (49) AGM
   2007-04 V10/5.0L                                                         70050                  —
   Lamborghini Murcielago
   2010-08 V12/6.5L                                                         80050                  —                H8 (49) AGM
   2007-06 V12/6.5L                                                         70050                  —
   2007-01 V12/6.2L                                                         70050                  —
   See page 158 for Footnotes. Selection may vary by warehouse.

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96                                                                      Automotive/Light Truck
  YEAR      ENGINE                                            OPTIONS                    ORIGINAL EQUIPMENT      GROUP SIZE        ALTERNATE SIZE
                                                                                             CCA/RATING           (NOTES)             (NOTES)

Land Rover Defender 110
2023-20   L4/2.0L                                                                     85033, 50, 54           H8 (49) AGM      —
2022-20   L6/3.0L    Hybrid                                                           85033, 50, 54           H8 (49) AGM      —
2022      V8/5.0L                                                                     85033, 50, 54           H8 (49) AGM      —
1993      V8/3.9L                                                                     600                     24
1993      V8/3.9L                                                                     6009                    —
Land Rover Defender 90
2023-22   V8/5.0L                                                                     85033, 50, 54           H8 (49) AGM      —
2023-21   L4/2.0L                                                                     85033, 50, 54           H8 (49) AGM
2023-21   L6/3.0L    Hybrid                                                           85033, 50, 54           H8 (49) AGM
1995-94   V8/3.9L                                                                     6009                    24
1995-94   V8/3.9L                                                                     6009                    —
1997      V8/4.0L                                                                     6009                    24
1997      V8/4.0L                                                                     6009                    —
Land Rover Discovery
2023-21   L4/2.0L    Hybrid                                                           85033, 50, 54           H8 (49) AGM
2022-21   L6/3.0L    Hybrid                                                           85033, 50, 54           H8 (49) AGM
2020-17   L6/3.0L                                                                     85033, 50, 54           H8 (49) AGM
2020-17   L6/3.0L    Dsl                                                              85033, 50, 54           H8 (49) AGM
2004-03   V8/4.6L    Series II, Use with adapter No. 358310                           7009, 1B                34
2002-99   V8/4.0L                                                                     6009                    24
1998-96   V8/4.0L    LJ Ser 1, Use L/R adapter                                        6009                    34
1995-94   V8/3.9L                                                                     600                     34
2003      V8/4.6L                                                                     5909                    24
Land Rover Discovery Sport
2022-20 L4/2.0L      Auxiliary Battery                                                14 Ah33                 —                —
2022-15 L4/2.0L                                                                       85033, 50, 54           H7 (94R) AGM     —
Land Rover Freelander
2005-04 V6/2.5L                                                                       480                     H5 (47)          H5 (47) AGM
2005-02 V6/2.5L                                                                       680                     H6 (48)          H6 (48) AGM
2003-02 V6/2.5L                                                                       690                     —
Land Rover LR2
2015-13 L4/2.0L                                                                       720                     H7 (94R)         H7 (94R) AGM
2012-08 L6/3.2L                                                                       720                     H7 (94R)         H7 (94R) AGM
Land Rover LR3
2009-07   V6/4.0L                                                                     700                     H7 (94R)         H7 (94R) AGM
2009-05   V6/4.0L                                                                     7209                    H8 (49)          H8 (49) AGM
2009-05   V8/4.4L                                                                     720                     H8 (49)          H8 (49) AGM
2009-05   V8/4.4L                                                                     700                     H7 (94R)         H7 (94R) AGM
Land Rover LR4
2016-14 V6/3.0L                                                                       720                     H7 (94R)         H7 (94R) AGM
2013-10 V8/5.0L                                                                       720                     H7 (94R)         H7 (94R) AGM
Land Rover Range Rover
2022-13   V8/5.0L                                                                     85033, 50, 54          H8 (49) AGM        —
2022-13   V8/5.0L    Auxiliary for Start/Stop                                         20033, 45, 50, 54      —
2021-20   L6/3.0L    Hybrid                                                           85033, 50, 54          H8 (49) AGM        —
2021-20   L6/3.0L    Hybrid, Auxiliary                                                14 Ah                  —                  —
2021-16   V6/3.0L    Dsl                                                              76033                  H8 (49) AGM        —
2021-16   V6/3.0L    Dsl, Cold Climate                                                85033, 50, 54          H8 (49) AGM        —
2021-16   V6/3.0L    Dsl, Auxiliary for Start/Stop                                    20033, 45, 50, 54      —
2019-14   V6/3.0L                                                                     85033, 50, 54          H8 (49) AGM        —
2019-14   V6/3.0L    Auxiliary for Start/Stop                                         20033, 45, 50, 54      —
2015-14   V6/3.0L                                                                     90033                  H8 (49) AGM        —
2012-11   V8/5.0L    Can only                                                         85033                  H8 (49) AGM        —
2012-10   V8/5.0L    Auxiliary Battery                                                50045                  —
2009-07   V8/4.2L                                                                     800                    —                  H8 (49) AGM
2009-07   V8/4.4L                                                                     800                    —                  H8 (49) AGM
2009-06   V8/4.2L    Auxiliary Battery                                                50045                  —
2009-06   V8/4.2L    Can only                                                         720                    H8 (49)            H8 (49) AGM
2009-06   V8/4.2L    US (to VIN CA361271)                                             720                    H8 (49)            H8 (49) AGM
2009-06   V8/4.4L    Can only                                                         720                    H8 (49)            H8 (49) AGM
2009-06   V8/4.4L    US (to VIN CA361271)                                             720                    H8 (49)            H8 (49) AGM
2009-03   V8/4.4L    Auxiliary Battery                                                50045                  —
2006-03   V8/4.4L                                                                     850                    —                  H9 (95R) AGM
2005-03   V8/4.4L                                                                     800                    —
2002-99   V8/4.6L                                                                     900                    —
2002-99   V8/4.6L    Bosch IGN from VIN XA410482                                      6009                   31A
2000-99   V8/4.0L                                                                     900                    —
2000-99   V8/4.0L    Bosch IGN from VIN XA410482                                      6009                   31A
1999-95   V8/4.0L    GEM-IGN to XA410481                                              6009                   —
1998-96   V8/4.6L                                                                     660                    31A
                                                                                     See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                    Costco_002061
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 863Lexus
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   Automotive/Light Truck                                                                                                  97
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT      GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING           (NOTES)            (NOTES)

   Land Rover Range Rover (continued)
   1998-95     V8/4.0L                                                      825                     —
   1995-94     V8/4.2L     Classic I                                        6009                    34
   1994-93     V8/4.2L     Can                                              9009                    —
   1994-93     V8/4.2L     US                                               6009                    24
   1994-90     V8/3.9L     Can                                              9009                    —
   1994-90     V8/3.9L     Classic                                          6009                    34
   1994-89     V8/3.9L     US                                               6009                    24
   2022        L6/3.0L     Hybrid, Li-ion only                              —                       —               —
   2015        V6/3.0L                                                      720                     H8 (49)         H8 (49) AGM
   2012        V8/5.0L                                                      85033, 54               H8 (49) AGM     —
   2011        V8/5.0L     Optional up to VIN BA346442                      90033                   H8 (49) AGM     —
   2011        V8/5.0L     Up to VIN BA346442                               720                     H8 (49)         H8 (49) AGM
   2011        V8/5.0L     VIN BA346443 to BA349790                         90033                   H8 (49) AGM     —
   2011        V8/5.0L     VIN BA349791 up                                  85033, 54               H8 (49) AGM     —
   2010        V8/5.0L     Opt on VIN AA309295 up                           900                     —               H8 (49) AGM
   2006        V8/4.2L                                                      850                     —               H9 (95R) AGM
   1995        V8/3.9L                                                      825                     —
   1995        V8/4.2L                                                      6009                    24
   Land Rover Range Rover Evoque
   2022-19     L4/2.0L                                                      85033, 50, 54           —               —
   2022-14     L4/2.0L     Auxiliary Battery                                20033, 45, 50, 54       —
   2018-14     L4/2.0L                                                      80033, 50, 54           H7 (94R) AGM    —
   2013-12     L4/2.0L                                                      80 Ah                   H7 (94R)        H7 (94R) AGM
   Land Rover Range Rover Sport
   2022-18     V8/5.0L     Auxiliary for Start/Stop                         20033, 45, 50, 54       —
   2022-16     V6/3.0L     Dsl, Cold Climate                                76033, 50, 54           H6 (48) AGM     —
   2022-16     V6/3.0L     Dsl, Auxiliary for Start/Stop                    20033, 45, 50, 54       —
   2022-16     V6/3.0L     Dsl, Ex Cold Climate                             85033, 50, 54           H8 (49) AGM     —
   2022-14     V8/5.0L                                                      85033, 50, 54           H8 (49) AGM     —
   2019-14     V6/3.0L                                                      85033                   H8 (49) AGM     —
   2013-10     V8/5.0L                                                      700                     H7 (94R)        H7 (94R) AGM
   2009-06     V8/4.2L                                                      720                     H8 (49)         H8 (49) AGM
   2009-06     V8/4.2L                                                      700                     H7 (94R)        H7 (94R) AGM
   2009-06     V8/4.4L                                                      720                     H8 (49)         H8 (49) AGM
   2009-06     V8/4.4L                                                      700                     H7 (94R)        H7 (94R) AGM
   Land Rover Range Rover Velar
   2022-21     L6/3.0L     Hybrid Auxiliary                                 14 Ah33, 50             —               —
   2022-21     L6/3.0L     Hybrid, Auxiliary, Li-ion only                   —45, 50, 60             —               —
   2022-21     L6/3.0L     Hybrid, Cold Climate                             90033, 50, 54           H8 (49) AGM     —
   2022-21     L6/3.0L     Hybrid, Ex Cold Climate                          85033, 50, 54           H7 (94R) AGM    —
   2022-18     L4/2.0L     Auxiliary                                        14 Ah33, 50             —               —
   2022-18     L4/2.0L     Auxiliary, Li-ion only                           —45, 50, 60             —               —
   2022-18     L4/2.0L     Cold Climate                                     90033, 50, 54           H8 (49) AGM     —
   2022-18     L4/2.0L     Ex Cold Climate                                  85033, 50, 54           H7 (94R) AGM    —
   2020-18     L4/2.0L     Dsl, Auxiliary                                   14 Ah33, 50             —               —
   2020-18     L4/2.0L     Dsl, Auxiliary, Li-ion only                      —45, 50, 60             —               —
   2020-18     L4/2.0L     Dsl, Cold Climate                                90033, 50, 54           H8 (49) AGM     —
   2020-18     L4/2.0L     Dsl, Ex Cold Climate                             85033, 50, 54           H7 (94R) AGM    —
   2020-18     V6/3.0L     Auxiliary                                        14 Ah33, 50             —               —
   2020-18     V6/3.0L     Auxiliary, Li-ion only                           —45, 50, 60             —               —
   2020-18     V6/3.0L     Cold Climate                                     90033, 50, 54           H8 (49) AGM     —
   2020-18     V6/3.0L     Ex Cold Climate                                  85033, 50, 54           H7 (94R) AGM    —
   2020        V8/5.0L     Auxiliary                                        14 Ah33, 50             —               —
   2020        V8/5.0L     Auxiliary, Li-ion only                           —45, 50, 60             —               —
   2020        V8/5.0L     Cold Climate                                     90033, 50, 54           H8 (49) AGM     —
   2020        V8/5.0L     Ex Cold Climate                                  85033, 50, 54           H7 (94R) AGM    —
   Lexus CT200h
   2017-11 L4/1.8L         Hybrid                                           32533, 45, 50, 55       S46B AGM        —
   Lexus ES250
   2022-21 L4/2.5L                                                          600                     H6 (48)         H6 (48) AGM
   1991-90 V6/2.5L                                                          360                     35              35 AGM
   Lexus ES300
   2003-92 V6/3.0L                                                          360                     35              35 AGM
   2003-92 V6/3.0L         Opt                                              585                     24F             24F AGM
   Lexus ES300h
   2022-19     V6/3.0L                                                      560                     H5 (47)         H5 (47) AGM
   2018-13     L4/2.5L     Hybrid                                           45033, 45, 50, 61       —
   2014-13     L4/2.5L     Hybrid                                           32533, 50               —
   2016        L4/2.5L                                                      325                     —
   2015        L4/2.5L     Hybrid                                           45033, 50               —
   See page 158 for Footnotes. Selection may vary by warehouse.

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98                                             Automotive/Light Truck
  YEAR      ENGINE                   OPTIONS                    ORIGINAL EQUIPMENT        GROUP SIZE    ALTERNATE SIZE
                                                                    CCA/RATING             (NOTES)         (NOTES)

Lexus ES330
2006-04 V6/3.3L                                              585                     24F               24F AGM
Lexus ES350
2022-19 V6/3.5L                                              600                     H6 (48)           H6 (48) AGM
2018-07 V6/3.5L                                              585                     24F               24F AGM
2016    V6/3.5L                                              580                     24F               24F AGM
Lexus GS F
2022-16 V8/5.0L                                              585                     24
Lexus GS Turbo
2017      L4/2.0L                                            585                     24
Lexus GS200t
2016      L4/2.0L                                            580                     24
2016      L4/2.0L                                            585                     24
Lexus GS300
2019-18   L4/2.0L                                            70 Ah                   24
2005-98   L6/3.0L                                            585                     24
1997-93   L6/3.0L                                            585                     24F               24F AGM
2006      V6/3.0L                                            585                     24
Lexus GS350
2020-18   V6/3.5L                                            70 Ah                   24
2017-13   V6/3.5L                                            585                     24
2016-15   V6/3.5L                                            580                     24
2011-07   V6/3.5L                                            585                     24
Lexus GS400
2000-98 V8/4.0L                                              585                     24
Lexus GS430
2007-01 V8/4.3L                                              585                     24
Lexus GS450h
2018-16 V6/3.5L      Hybrid                                  36033, 45, 50, 61       —
2016-13 V6/3.5L                                              36033, 50               —
2011-07 V6/3.5L      Hybrid                                  36033, 50               —
Lexus GS460
2011-08 V8/4.6L                                              585                     24
Lexus GX460
2022-10 V8/4.6L                                              585                     24F               24F AGM
Lexus GX470
2009-03 V8/4.7L                                              710                     27F
Lexus HS250h
2011-10 L4/2.4L      Hybrid                                  36033, 50, 54, 55       —
2012    L4/2.4L      Hybrid                                  36033, 45, 50, 55       —
Lexus IS F
2014-08 V8/5.0L                                              585                     24
Lexus IS Turbo
2017      L4/2.0L                                            585                     24
Lexus IS200t
2016      L4/2.0L                                            580                     24
2016      L4/2.0L                                            585                     24
Lexus IS250
2015-06 V6/2.5L                                              585                     24
Lexus IS300
2022-18 L4/2.0L                                              585                     24
2022-16 V6/3.5L                                              585                     24
2005-01 L6/3.0L                                              585                     24
Lexus IS350
2022-06 V6/3.5L                                              585                     24
Lexus LC500
2022-18 V8/5.0L                                              70 Ah50                 H6 (48)           H6 (48) AGM
2022-18 V8/5.0L      Cold Climate                            80 Ah50                 H7 (94R)          H7 (94R) AGM
Lexus LC500h
2022-18 V6/3.5L      Hybrid                                  69050                   H6 (48)           H5 (47) AGM
Lexus LFA
2012      V10/4.8L                                           45033, 45, 50, 55       —
Lexus LS400
2000-95 V8/4.0L                                              585                     24F               24F AGM
1994-90 V8/4.0L                                              580                     27F
Lexus LS430
2006-01 V8/4.3L                                              585                     24F               24F AGM
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                           Costco_002063
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   Automotive/Light Truck                                                                                                      99
      YEAR        ENGINE                                            OPTIONS      ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                     CCA/RATING             (NOTES)            (NOTES)

   Lexus LS460
   2017-13     V8/4.6L     w/o PTC Heater                                     585                     24
   2017-13     V8/4.6L     w/PTC Heater                                       660                     27
   2014-07     V8/4.6L     Cold Weather Pkg                                   710                     27
   2012-07     V8/4.6L                                                        585                     24
   Lexus LS500
   2022-18 V6/3.5L         Ex Executive, Luxury, F Sport Plus Pkg             60550                   H6 (48)           H6 (48) AGM
   2022-18 V6/3.5L         Executive, Luxury, F Sport Plus Pkg                79550                   —                 H8 (49) AGM
   2022-18 V6/3.5L         Opt F Sport Interior Upgrade Pkg                   69050                   H7 (94R)          H7 (94R) AGM
   Lexus LS500h
   2022-18 V6/3.5L         Hybrid, Ex Executive Pkg                           60550                   H6 (48)           H6 (48) AGM
   2022-18 V6/3.5L         Hybrid, Optional or Executive Pkg                  79550                   —                 H8 (49) AGM
   Lexus LS600h
   2016-08 V8/5.0L         Hybrid                                             45033, 45, 50, 61       —
   Lexus LX450
   1997-96 L6/4.5L                                                            625                     27F
   Lexus LX470
   2007-03 V8/4.7L                                                            710                     27F
   2001-98 V8/4.7L                                                            650                     27F
   2002    V8/4.7L                                                            585                     27F
   Lexus LX570
   2023-22 V6/3.5L                                                            77559                   —                 —
   2021-13 V8/5.7L                                                            710                     27F
   2011-08 V8/5.7L                                                            710                     27F
   Lexus NX200t
   2017-15 L4/2.0L                                                            580                     24F               24F AGM
   Lexus NX250
   2023-22 L4/2.5L                                                            60059                   —                 —
   Lexus NX300
   2021-18 L4/2.0L                                                            580                     24F               24F AGM
   Lexus NX300h
   2021-15 L4/2.5L         Hybrid                                             46050                   H5 (47)           H5 (47) AGM
   Lexus RC F
   2022-15 V8/5.0L                                                            70 Ah                   —
   Lexus RC200t
   2017-16 L4/2.0L                                                            580                     24
   Lexus RC300
   2022-18 L4/2.0L                                                            585                     24
   2022-16 V6/3.5L                                                            585                     24
   Lexus RC350
   2022-15 V6/3.5L                                                            585                     24
   Lexus RX300
   2003-99 V6/3.0L                                                            585                     24F               24F AGM
   Lexus RX330
   2006-04 V6/3.3L                                                            585                     24F               24F AGM
   Lexus RX350
   2022-16 V6/3.5L                                                            585                     24F               24F AGM
   2015-10 V6/3.5L                                                            58555                   24F               24F AGM
   2009-07 V6/3.5L                                                            585                     24F               24F AGM
   Lexus RX350L
   2022-18 V6/3.5L                                                            585                     24F               24F AGM
   Lexus RX400h
   2008-06 V6/3.3L         Hybrid                                             435                     51R
   Lexus RX450h
   2022-16 V6/3.5L         Hybrid                                             46033, 50, 55           H5 (47) AGM       —
   2015-10 V6/3.5L         Hybrid                                             36033, 45, 50, 55       —
   Lexus RX450hL
   2022-18 V6/3.5L         Hybrid                                             36033, 45, 50, 55, 61   —                 —
   Lexus SC300
   2000-97 L6/3.0L                                                            585                     24F               24F AGM
   1996-92 L6/3.0L                                                            450                     27F
   Lexus SC400
   2000-93 V8/4.0L                                                            625                     27F
   1992    V8/4.0L                                                            450                     27F
   1992    V8/4.0L         Opt                                                625                     27F
   See page 158 for Footnotes. Selection may vary by warehouse.

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100                                             Automotive/Light Truck
  YEAR      ENGINE                    OPTIONS                   ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                    CCA/RATING             (NOTES)            (NOTES)

Lexus SC430
2010-03 V8/4.3L                                              585                     H6 (48)           H6 (48) AGM
2002    V8/4.3L                                              625                     H6 (48)           H6 (48) AGM
Lexus UX200
2022-19 L4/2.0L                                              590                     H6 (48)           H6 (48) AGM
Lexus UX250h
2022-19 L4/2.0L      Hybrid                                  28550                   —                 —
Lincoln Aviator
2022-20   V6/3.0L                                            80033, 50               H7 (94R) AGM      —
2022-20   V6/3.0L    Opt                                     85033, 50               H8 (49) AGM       —
2022-20   V6/3.0L    Auxiliary                               10033, 45, 50           —                 —
2005-03   V8/4.6L                                            650                     65                65 AGM
Lincoln Blackwood
2002      V8/5.4L                                            650                     65                65 AGM
Lincoln Continental
2020-19   V6/2.7L                                            80033                   H7 (94R) AGM      —
2020-19   V6/3.0L                                            80033                   H7 (94R) AGM      —
2020-19   V6/3.7L    Livery                                  80033                   H7 (94R) AGM      —
2020-19   V6/3.7L    Non Livery                              76033                   H6 (48) AGM       —
2018-17   V6/2.7L                                            730                     H7 (94R)          H7 (94R) AGM
2018-17   V6/3.0L                                            730                     H7 (94R)          H7 (94R) AGM
2018-17   V6/3.7L    Livery                                  730                     H7 (94R)          H7 (94R) AGM
2018-17   V6/3.7L    Non Livery                              610                     H6 (48)           H6 (48) AGM
2002-97   V8/4.6L                                            750                     65                65 AGM
1996-95   V8/4.6L                                            850                     65                —
1994-90   V6/3.8L                                            650                     65                65 AGM
1993-90   V6/3.8L    w/HWS                                   850                     65                —
1994      V6/3.8L    Opt                                     850                     65                —
Lincoln Corsair
2022-21 L4/2.5L                                              76033                   H6 (48) AGM       —
2022-20 L4/2.0L                                              80033                   H7 (94R) AGM      —
2022-20 L4/2.3L                                              80033                   H7 (94R) AGM      —
Lincoln LS
2006-00   V8/3.9L                                            65050                   —
2005-01   V6/3.0L    Opt                                     75050                   —
2005-01   V8/3.9L    Opt                                     75050                   —
2005-00   V6/3.0L                                            65050                   —
Lincoln Mark LT
2008-06 V8/5.4L                                              540                     59
2008-06 V8/5.4L      Opt                                     650                     65                65 AGM
Lincoln Mark VII
1992-90 V8/5.0L                                              850                     65                —
Lincoln Mark VIII
1998-97 V8/4.6L      Opt                                     750                     65                65 AGM
1998-93 V8/4.6L      US                                      650                     65                65 AGM
1996-93 V8/4.6L      HD or Can                               850                     65                —
Lincoln MKC
2019-17   L4/2.0L    w/o Start/Stop                          610                     H6 (48)           H6 (48) AGM
2019-17   L4/2.0L    w/Start/Stop                            76033                   H6 (48) AGM       —
2018-15   L4/2.3L                                            610                     H6 (48)           H6 (48) AGM
2016-15   L4/2.0L                                            610                     H6 (48)           H6 (48) AGM
Lincoln MKS
2016-10 V6/3.5L                                              650                     65                65 AGM
2016-09 V6/3.7L                                              650                     65                65 AGM
Lincoln MKT
2019-13   V6/3.5L                                            750                     65                65 AGM
2019-13   V6/3.7L                                            750                     65                65 AGM
2016-13   L4/2.0L                                            650                     65                65 AGM
2016-10   V6/3.7L                                            650                     65                65 AGM
2012-10   V6/3.5L                                            650                     65                65 AGM
2012-10   V6/3.5L    Opt                                     750                     65                65 AGM
2012-10   V6/3.7L    Opt                                     750                     65                65 AGM
Lincoln MKX
2018-17   V6/2.7L    w/o Start/Stop                          730                    H7 (94R)           H7 (94R) AGM
2018-17   V6/2.7L    w/Start/Stop                            80033                  H7 (94R) AGM —
2018-17   V6/3.7L                                            80033                  H7 (94R) AGM —
2015-11   V6/3.7L                                            650                    65                 65 AGM
2010-07   V6/3.5L                                            650                    36R
2016      V6/2.7L                                            730                    H7 (94R)           H7 (94R) AGM
2016      V6/3.7L                                            730                    H7 (94R)           H7 (94R) AGM
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                            101
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Lincoln MKZ
   2020-19     L4/2.0L     Gas                                              80033                  H7 (94R) AGM      —
   2020-19     V6/3.0L                                                      80033                  H7 (94R) AGM      —
   2020-17     L4/2.0L     Hybrid                                           59050                  90 (T5)
   2018-17     L4/2.0L     Gas                                              730                    H7 (94R)          H7 (94R) AGM
   2018-17     L4/2.0L     Start/Stop                                       80033                  H7 (94R) AGM      —
   2018-17     V6/3.0L                                                      730                    H7 (94R)          H7 (94R) AGM
   2016-13     L4/2.0L     Gas                                              590                    90 (T5)
   2016-13     V6/3.7L                                                      590                    90 (T5)
   2015-13     L4/2.0L     Hybrid                                           39050                  —
   2014-13     L4/2.0L     Ex Hybrid                                        500                    96R
   2012-11     L4/2.5L     Hybrid                                           390                    —
   2012-10     V6/3.5L                                                      500                    96R
   2009-07     V6/3.5L                                                      590                    96R
   2017        L4/2.0L     US, Gas                                          730                    H7 (94R)          H7 (94R) AGM
   2016        L4/2.0L                                                      590                    90 (T5)
   2016        L4/2.0L     Hybrid                                           76033, 50              H6 (48) AGM       —
   2013        L4/2.0L     Opt                                              590                    96R
   Lincoln Nautilus
   2022-19 L4/2.0L                                                          80033                  H7 (94R) AGM      —
   2022-19 V6/2.7L                                                          80033                  H7 (94R) AGM      —
   Lincoln Navigator
   2021-18     V6/3.5L                                                      85033                  H8 (49) AGM       —
   2017-15     V6/3.5L                                                      750                    65                65 AGM
   2014-98     V8/5.4L     w/o Heated Seats                                 650                    65                65 AGM
   2014-08     V8/5.4L     HD or Heated Seats                               750                    65                65 AGM
   2013-11     V8/5.4L     Climate seats                                    750                    65                65 AGM
   2008-07     V8/5.4L     Climate seats                                    750                    65                65 AGM
   2006-98     V8/5.4L                                                      650                    65                65 AGM
   2006-98     V8/5.4L     Can & Opt                                        750                    65                65 AGM
   2006-98     V8/5.4L     Opt                                              750                    65                65 AGM
   2022        V6/3.5L                                                      80033                  H7 (94R) AGM      —
   2014        V8/5.4L                                                      750                    65                65 AGM
   Lincoln Town Car
   2011-06     V8/4.6L     HD & Long Wheel Base                             750                    65                65 AGM
   2011-06     V8/4.6L     Short Wheel Base                                 650                    65                65 AGM
   2005-99     V8/4.6L     Limo, HD                                         750                    65                65 AGM
   2005-97     V8/4.6L     Ex Limo                                          650                    65                65 AGM
   1998-97     V8/4.6L     Limo, HD                                         850                    65                —
   1996-95     V8/4.6L     Ex HWS or Limo                                   650                    65                65 AGM
   1996-95     V8/4.6L     HWS or HD, Limo                                  850                    65                —
   1994-91     V8/4.6L     Ex HWS                                           650                    65                65 AGM
   1994-91     V8/4.6L     w/HWS                                            850                    65                —
   1990        V8/5.0L     Ex HWS                                           650                    65                65 AGM
   1990        V8/5.0L     w/HWS                                            850                    65                —
   Lincoln Zephyr
   2006        V6/3.0L                                                      590                    40R
   Lotus Elise
   2009-08 L4/1.8L                                                          52050                  H5 (47)           H5 (47) AGM
   2007-05 L4/1.8L                                                          550                    26R
   Lotus Exige
   2009-08 L4/1.8L                                                          60050                  H6 (48)           H6 (48) AGM
   2007-06 L4/1.8L                                                          550                    26R
   Maserati Coupe
   2007-03 V8/4.2L         Coupe                                            78550, 54              —                 —
   Maserati Ghibli
   2019-14 V6/3.0L                                                          95 Ah33, 50, 54        H8 (49) AGM       —
   Maserati GranSport
   2007-05 V8/4.2L         Coupe                                            78550, 54              —                 —
   Maserati GranTurismo
   2019-14 V8/4.7L                                                          95 Ah33, 50, 54        H8 (49) AGM       —
   2013-09 V8/4.7L                                                          60050, 54              H6 (48)           H6 (48) AGM
   2011-08 V8/4.2L                                                          60050, 54              H6 (48)           H6 (48) AGM
   Maserati Levante
   2019-17 V6/3.0L                                                          95 Ah33, 50, 54        H8 (49) AGM       —
   2019    V8/3.8L                                                          95 Ah33, 50, 54        H8 (49) AGM       —
   Maserati Quattroporte
   2019-14 V6/3.0L                                                          95 Ah33, 50, 54        H8 (49) AGM       —
   2019-14 V8/3.8L                                                          95 Ah33, 50, 54        H8 (49) AGM       —
   2013-09 V8/4.7L                                                          85050, 54              —                 H8 (49) AGM
   See page 158 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                                  OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                              CCA/RATING             (NOTES)            (NOTES)

Maserati Quattroporte (continued)
2011-08 V8/4.2L                                                        60050, 54               H6 (48)           H6 (48) AGM
2007-04 V8/4.2L                                                        78550, 54               —                 —
Maserati Spyder
2006-02 V8/4.2L                                                        80 Ah50, 54             —                 —
Maybach 57
2012-06 V12/6.0L     Opt                                               95033, 50, 54           —                 —
2012-03 V12/5.5L                                                       85033                   H8 (49) AGM       —
2012-03 V12/5.5L     Opt                                               95033, 50, 54           —                 —
Maybach 62
2012-07   V12/6.0L                                                     85033                   H8 (49) AGM       —
2012-07   V12/6.0L   Opt                                               95033, 50, 54           —                 —
2012-03   V12/5.5L                                                     85033                   H8 (49) AGM       —
2012-03   V12/5.5L   Opt                                               95033, 50, 54           —                 —
Mazda 2
2014-11 L4/1.5L                                                        350                     35                35 AGM
2014-11 L4/1.5L      Can or Cold Climate Pkg                           525                     35                35 AGM
Mazda 3
2018-15   L4/2.0L    i-ELOOP                                           52045, 59               —                 —
2018-15   L4/2.0L    Ex i-ELOOP                                        520                     35                35 AGM
2018-15   L4/2.5L    i-ELOOP                                           52045, 59               —                 —
2018-15   L4/2.5L    Ex i-ELOOP                                        520                     35                35 AGM
2015-11   L4/2.0L    Can & Cold Climate                                525                     35                35 AGM
2015-11   L4/2.5L                                                      350                     35                35 AGM
2015-11   L4/2.5L    Can & Cold Climate                                525                     35                35 AGM
2015-05   L4/2.0L                                                      350                     35                35 AGM
2013-12   L4/2.0L    SKYACTIV                                          525                     35                35 AGM
2013-11   L4/2.0L    Cold Climate Pkg or AT                            525                     35                35 AGM
2013-11   L4/2.3L                                                      525                     35                35 AGM
2013-11   L4/2.5L    Cold Climate Pkg or AT                            525                     35                35 AGM
2010-08   L4/2.0L                                                      306                     26R
2010-08   L4/2.0L    AT                                                355                     35                35 AGM
2010-08   L4/2.0L    MT                                                310                     26R
2010-08   L4/2.3L    MT                                                310                     26R
2009-08   L4/2.3L                                                      306                     26R
2009-08   L4/2.3L    AT                                                355                     35                35 AGM
2009-07   L4/2.3L    Mazdaspeed                                        360                     35                35 AGM
2006-04   L4/2.3L                                                      550                     35                35 AGM
2005-04   L4/2.0L    Opt                                               520                     35                35 AGM
2015      L4/2.0L    SKYACTIV                                          525                     35                35 AGM
2010      L4/2.5L                                                      306                     26R
2010      L4/2.5L    AT                                                355                     35                35 AGM
2010      L4/2.5L    MT                                                310                     26R
2007      L4/2.0L                                                      355                     35                35 AGM
2007      L4/2.0L    AT                                                550                     35                35 AGM
2007      L4/2.0L    Cold Climate                                      490                     35                35 AGM
2007      L4/2.0L    Cold Climate Pkg                                  585                     24F               24F AGM
2007      L4/2.3L                                                      355                     35                35 AGM
2007      L4/2.3L    AT                                                550                     35                35 AGM
2007      L4/2.3L    Cold Climate                                      490                     35                35 AGM
2007      L4/2.3L    Cold Climate Pkg                                  585                     24F               24F AGM
2006      L4/2.0L                                                      550                     35                35 AGM
2004      L4/2.0L                                                      310                     35                35 AGM
Mazda 3 Sport
2021-19   L4/2.0L    Japan Production, Ex i-ELOOP                      520                     35                35 AGM
2021-19   L4/2.0L    Mexico Production                                 520                     H5 (47)           H5 (47) AGM
2021-19   L4/2.5L    Japan Production, Ex i-ELOOP                      520                     35                35 AGM
2021-19   L4/2.5L    Mexico Production                                 520                     H5 (47)           H5 (47) AGM
2018-15   L4/2.0L    Ex i-ELOOP                                        520                     35                35 AGM
2018-15   L4/2.0L    i-ELOOP                                           52045, 59               —
2018-15   L4/2.5L    Ex i-ELOOP                                        520                     35                35 AGM
2018-15   L4/2.5L    i-ELOOP                                           52045, 59               —
2014-11   L4/2.0L    Cold Climate Pkg                                  525                     35                35 AGM
2014-11   L4/2.0L                                                      350                     35                35 AGM
2014-11   L4/2.5L    Cold Climate Pkg                                  525                     35                35 AGM
2014-11   L4/2.5L                                                      350                     35                35 AGM
2010-09   L4/2.0L    AT                                                355                     35                35 AGM
2010-09   L4/2.0L    MT                                                310                     26R
2010      L4/2.5L    AT                                                355                     35                35 AGM
2010      L4/2.5L    MT                                                310                     26R
                                                                      See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                      Costco_002067
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   Automotive/Light Truck                                                                                            103
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE    ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)         (NOTES)

   Mazda 323
   1995-91     L4/1.6L                                                      350                    35                35 AGM
   1994-93     L4/1.8L                                                      310                    35                35 AGM
   1994-93     L4/1.8L     Opt                                              350                    35                35 AGM
   1991-90     L4/1.8L     Ex Calif                                         350                    35                35 AGM
   1991        L4/1.6L     Opt                                              310                    35                35 AGM
   1991        L4/1.8L     Calif or HD                                      310                    35                35 AGM
   1990        L4/1.6L                                                      310                    35                35 AGM
   1990        L4/1.6L     Opt                                              360                    35                35 AGM
   1990        L4/1.8L     Calif                                            310                    35                35 AGM
   1990        L4/1.8L     Opt                                              360                    35                35 AGM
   Mazda 5
   2016-12     L4/2.5L     AT or Cold Climate Pkg                           550                    35                35 AGM
   2016-12     L4/2.5L     MT                                               540                    26R
   2008-06     L4/2.3L                                                      550                    35                35 AGM
   2010        L4/2.3L     AT                                               550                    35                35 AGM
   2010        L4/2.3L     MT                                               540                    26R
   2009        L4/2.3L     AT                                               355                    35                35 AGM
   2009        L4/2.3L     MT                                               310                    26R
   Mazda 6
   2021-19     L4/2.5L     Ex i-ELOOP                                       520                    35                35 AGM
   2018-14     L4/2.5L     Ex i-ELOOP                                       520                    35                35 AGM
   2017-14     L4/2.5L     i-ELOOP                                          52045, 59              —
   2013-09     L4/2.5L                                                      590                    96R
   2013-09     V6/3.7L                                                      590                    96R
   2008-03     L4/2.3L                                                      590                    40R
   2008-03     V6/3.0L                                                      590                    40R
   2007-06     L4/2.3L     Ex Mazdaspeed                                    585                    40R
   2007-06     L4/2.3L     Mazdaspeed                                       550                    35                35 AGM
   2018        L4/2.5L     i-ELOOP                                          52045, 59              —
   2007        V6/3.0L                                                      585                    40R
   Mazda 626
   2002-98     L4/2.0L                                                      580                    36R
   2002-98     V6/2.5L                                                      580                    36R
   1997-93     L4/2.0L                                                      580                    —
   1997-93     V6/2.5L                                                      580                    —
   1992-91     L4/2.2L     Cold Climate Pkg                                 350                    35                35 AGM
   1992-90     L4/2.2L                                                      310                    35                35 AGM
   1990        L4/2.2L     Opt                                              350                    35                35 AGM
   Mazda 929
   1995-92     V6/3.0L     US                                               350                    35                35 AGM
   1995-90     V6/3.0L     Can & Opt                                        585                    24F               24F AGM
   1993-92     V6/3.0L     Serenia, US                                      350                    35                35 AGM
   1991-90     V6/3.0L                                                      310                    35                35 AGM
   1991        V6/3.0L     US                                               310                    35                35 AGM
   Mazda B2200
   1993-90 L4/2.2L                                                          310                    25
   1990    L4/2.2L         Opt                                              490                    24
   Mazda B2300
   2010-97 L4/2.3L                                                          540                    59
   1997-94 L4/2.3L         Opt                                              540                    65                65 AGM
   1996-94 L4/2.3L                                                          540                    58
   Mazda B2500
   2001-98 L4/2.5L                                                          540                    59
   Mazda B2600
   1993-91     L4/2.6L     Can & Opt                                        585                    24
   1993-90     L4/2.6L     US                                               310                    25
   1990        L4/2.6L                                                      310                    25
   1990        L4/2.6L     Opt                                              585                    24
   Mazda B3000
   2008-98 V6/3.0L                                                          540                    59
   1997-94 V6/3.0L                                                          540                    58
   Mazda B4000
   2010-98 V6/4.0L                                                          540                    59
   1997-94 V6/4.0L                                                          650                    65                65 AGM
   Mazda CX-3
   2021-16 L4/2.0L                                                          520                    35                35 AGM
   See page 158 for Footnotes. Selection may vary by warehouse.

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104                                               Automotive/Light Truck
  YEAR      ENGINE                      OPTIONS                ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)          (NOTES)

Mazda CX-5
2021-18 L4/2.2L      Dsl                                     710                    27F               —
2021-13 L4/2.0L      Gas                                     520                    35                35 AGM
2016-13 L4/2.5L      Gas                                     520                    35                35 AGM
Mazda CX-7
2012-10   L4/2.3L    Can & Opt                               585                    24F               24F AGM
2012-10   L4/2.3L    US                                      525                    35                35 AGM
2012-10   L4/2.5L                                            550                    35                35 AGM
2009-07   L4/2.3L                                            360                    35                35 AGM
Mazda CX-9
2022-16 L4/2.5L                                              520                    35                35 AGM
2015-08 V6/3.7L                                              585                    24F               24F AGM
2007    V6/3.5L                                              585                    24F               24F AGM
Mazda Miata
2005-94 L4/1.8L                                              32050                  —
1993-90 L4/1.6L                                              32050                  —
Mazda Millenia
2002-95   V6/2.3L    Opt                                     585                    24F               24F AGM
2002-01   V6/2.3L                                            520                    35                35 AGM
2002-01   V6/2.5L    Opt                                     490                    24F               24F AGM
2000-95   V6/2.3L                                            490                    35                35 AGM
2000-95   V6/2.5L                                            350                    35                35 AGM
2000-95   V6/2.5L    Opt                                     490                    35                35 AGM
2002      V6/2.5L                                            520                    35                35 AGM
2001      V6/2.5L                                            360                    35                35 AGM
Mazda MPV
2006-02   V6/3.0L                                            360                    35                35 AGM
2006-02   V6/3.0L    Opt                                     490                    24F               24F AGM
2001-00   V6/2.5L                                            360                    35                35 AGM
2001-00   V6/2.5L    Opt                                     490                    24F               24F AGM
1998-96   V6/3.0L    Can & Opt                               490                    24F               24F AGM
1998-96   V6/3.0L    US                                      350                    35                35 AGM
1995-93   V6/3.0L    4WD                                     490                    24F               24F AGM
1995-93   V6/3.0L    Opt                                     585                    24F               24F AGM
1995-93   V6/3.0L    RWD                                     310                    35                35 AGM
1994-93   L4/2.6L    4WD                                     490                    24F               24F AGM
1994-93   L4/2.6L    Opt                                     585                    24F               24F AGM
1994-93   L4/2.6L    RWD                                     310                    35                35 AGM
1992-90   L4/2.6L    Can & Opt                               585                    24F               24F AGM
1992-90   L4/2.6L    US                                      310                    35                35 AGM
1992-90   V6/3.0L    Can & Opt                               585                    24F               24F AGM
1992-90   V6/3.0L    US                                      310                    35                35 AGM
1993      V6/3.0L    RWD                                     310                    35                35 AGM
Mazda MX-3
1996-95   L4/1.6L                                            310                    35                35 AGM
1994-92   L4/1.6L    HD w/AT                                 350                    35                35 AGM
1994-92   L4/1.6L    MT                                      310                    35                35 AGM
1993-92   V6/1.8L                                            420                    35                35 AGM
1995      L4/1.6L    Opt                                     350                    35                35 AGM
1995      V6/1.8L                                            350                    35                35 AGM
1994      V6/1.8L                                            630                    24F               24F AGM
1994      V6/1.8L    Calif                                   310                    35                35 AGM
1994      V6/1.8L    Ex Calif                                420                    35                35 AGM
Mazda MX-5 Miata
2022-06 L4/2.0L                                              340                    51R
Mazda MX-6
1997-93   L4/2.0L                                            580                    —
1997-93   V6/2.5L                                            580                    —
1992-91   L4/2.2L    Cold Climate Pkg                        350                    35                35 AGM
1992-90   L4/2.2L                                            310                    35                35 AGM
Mazda Navajo
1994-91 V6/4.0L                                              650                    65                65 AGM
Mazda Protegé
2003-99   L4/1.6L                                            310                    35                35 AGM
2003-01   L4/1.6L    Opt                                     520                    35                35 AGM
2003-01   L4/2.0L                                            310                    35                35 AGM
2003-01   L4/2.0L    Opt                                     520                    35                35 AGM
2000-99   L4/1.6L    Opt                                     350                    35                35 AGM
2000-99   L4/1.8L                                            350                    35                35 AGM
1998-95   L4/1.5L                                            310                    35                35 AGM
1998-95   L4/1.5L    Opt                                     350                    35                35 AGM
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                           105
      YEAR        ENGINE                                          OPTIONS    ORIGINAL EQUIPMENT        GROUP SIZE    ALTERNATE SIZE
                                                                                 CCA/RATING             (NOTES)         (NOTES)

   Mazda Protegé (continued)
   1998-92     L4/1.8L                                                      310                   35                35 AGM
   1994-92     L4/1.8L     Opt                                              350                   35                35 AGM
   1991-90     L4/1.8L     Ex Calif                                         350                   35                35 AGM
   1991        L4/1.8L     Calif or HD                                      310                   35                35 AGM
   1990        L4/1.8L     Calif                                            310                   35                35 AGM
   1990        L4/1.8L     Opt                                              360                   35                35 AGM
   Mazda Protegé5
   2003-02 L4/2.0L                                                          310                   35                35 AGM
   2003-02 L4/2.0L         Opt                                              520                   35                35 AGM
   Mazda RX-7
   1995-94     R2/1.3L     Can, w/AT                                        490                   24F               24F AGM
   1995-94     R2/1.3L     MT                                               420                   35                35 AGM
   1991-90     R2/1.3L     Can & Opt                                        405                   35                35 AGM
   1993        R2/1.3L                                                      350                   35                35 AGM
   1993        R2/1.3L     Opt                                              495                   24F               24F AGM
   1991        R2/1.3L     US                                               350                   35                35 AGM
   1990        R2/1.3L     US                                               320                   35                35 AGM
   Mazda RX-8
   2009-04     R2/1.3L                                                      6409                  35                35 AGM
   2011        R2/1.3L                                                      525                   35                35 AGM
   2011        R2/1.3L     Opt                                              585                   24F               24F AGM
   2010        R2/1.3L                                                      550                   35                35 AGM
   Mazda Tribute
   2010-09     L4/2.5L                                                      590                   40R
   2010-09     L4/2.5L     Hybrid                                           500                   96R
   2009-01     V6/3.0L                                                      590                   40R
   2006-05     L4/2.3L                                                      590                   40R
   2004-01     L4/2.0L                                                      500                   96R
   2011        L4/2.5L                                                      590                   96R
   2011        V6/3.0L                                                      590                   96R
   2010        L4/2.5L     Gas                                              650                   —
   2010        V6/3.0L                                                      650                   —
   2008        L4/2.3L                                                      590                   40R
   2008        L4/2.3L     Hybrid                                           500                   96R
   Mercedes-Benz 190E
   1993-91 L4/2.3L                                                          550                   H6 (48)           H6 (48) AGM
   1993-90 L6/2.6L                                                          550                   H6 (48)           H6 (48) AGM
   Mercedes-Benz 300CE
   1992-90 L6/3.0L                                                          550                   H6 (48)           H6 (48) AGM
   1993    L6/3.2L                                                          550                   H6 (48)           H6 (48) AGM
   Mercedes-Benz 300D
   1993-92 L5/2.5L                                                          760                   —                 H8 (49) AGM
   1991-90 L5/2.5L                                                          740                   H8 (49)           H8 (49) AGM
   Mercedes-Benz 300E
   1993-90     L6/3.0L                                                      550                   H6 (48)           H6 (48) AGM
   1993-90     L6/3.0L     4-Matic                                          550                   H6 (48)           H6 (48) AGM
   1992-90     L6/2.6L                                                      550                   H6 (48)           H6 (48) AGM
   1993        L6/2.8L                                                      550                   H6 (48)           H6 (48) AGM
   1993        L6/3.2L                                                      550                   H6 (48)           H6 (48) AGM
   Mercedes-Benz 300SD
   1993-92 L6/3.4L         Dsl                                              760                   —                 H8 (49) AGM
   Mercedes-Benz 300SE
   1993-92 L6/3.2L                                                          760                   —                 H8 (49) AGM
   1991-90 L6/3.0L                                                          740                   H8 (49)           H8 (49) AGM
   Mercedes-Benz 300SEL
   1991-90 L6/3.0L                                                          740                   H8 (49)           H8 (49) AGM
   Mercedes-Benz 300SL
   1993-92 L6/3.0L                                                          760                   —                 H8 (49) AGM
   1991-90 L6/3.0L                                                          740                   H8 (49)           H8 (49) AGM
   Mercedes-Benz 300TE
   1993-90 L6/3.0L                                                          550                   H6 (48)           H6 (48) AGM
   1993-90 L6/3.0L         4-Matic                                          550                   H6 (48)           H6 (48) AGM
   1993    L6/3.2L                                                          550                   H6 (48)           H6 (48) AGM
   Mercedes-Benz 350SD
   1991        L6/3.4L     Dsl                                              740                   H8 (49)           H8 (49) AGM
   Mercedes-Benz 350SDL
   1991-90 L6/3.4L         Dsl                                              740                   H8 (49)           H8 (49) AGM
   See page 158 for Footnotes. Selection may vary by warehouse.

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106                                                      Automotive/Light Truck
  YEAR      ENGINE                             OPTIONS                    ORIGINAL EQUIPMENT       GROUP SIZE        ALTERNATE SIZE
                                                                              CCA/RATING            (NOTES)             (NOTES)

Mercedes-Benz 400E
1993-92 V8/4.2L                                                         760                    —                 H8 (49) AGM
Mercedes-Benz 400SE
1992      V8/4.2L                                                       760                    —                 H8 (49) AGM
Mercedes-Benz 400SEL
1993      V8/4.2L                                                       760                    —                 H8 (49) AGM
Mercedes-Benz 420SEL
1991-90 V8/4.2L                                                         740                    H8 (49)           H8 (49) AGM
Mercedes-Benz 500E
1993-92 V8/5.0L                                                         760                    —                 H8 (49) AGM
Mercedes-Benz 500SEC
1993      V8/5.0L                                                       760                    —                 H8 (49) AGM
Mercedes-Benz 500SEL
1993-92 V8/5.0L                                                         760                    —                 H8 (49) AGM
Mercedes-Benz 500SL
1993-92 V8/5.0L                                                         760                    —                 H8 (49) AGM
1991-90 V8/5.0L                                                         740                    H8 (49)           H8 (49) AGM
Mercedes-Benz 560SEC
1991-86 V8/5.6L                                                         740                    H8 (49)           H8 (49) AGM
Mercedes-Benz 560SEL
1991-86 V8/5.6L                                                         740                    H8 (49)           H8 (49) AGM
Mercedes-Benz 600SEC
1993      V12/6.0L                                                      760                    —                 H8 (49) AGM
Mercedes-Benz 600SEL
1993-92 V12/6.0L                                                        760                    —                 H8 (49) AGM
Mercedes-Benz 600SL
1993      V12/6.0L                                                      760                    —                 H8 (49) AGM
Mercedes-Benz A220
2021-19   L4/2.0L                                                       60 Ah33, 50, 56        H5 (47) AGM       —
2021-19   L4/2.0L    Opt                                                70 Ah33, 50, 56        H6 (48) AGM       —
2021-19   L4/2.0L    Opt                                                80 Ah33, 50, 56        H7 (94R) AGM      —
2021-19   L4/2.0L    Battery Backup                                     1.2 Ah45               —                 —
Mercedes-Benz A250
2021-19   L4/2.0L                                                       60 Ah33, 50, 56        H5 (47) AGM       —
2021-19   L4/2.0L    Opt                                                70 Ah33, 50, 56        H6 (48) AGM       —
2021-19   L4/2.0L    Opt                                                80 Ah33, 50, 56        H7 (94R) AGM      —
2021-19   L4/2.0L    Battery Backup                                     1.2 Ah45               —                 —
Mercedes-Benz AMG GT
2021-17   V8/4.0L                                                       60 Ah33, 50, 56        H5 (47) AGM       —
2021-17   V8/4.0L    Opt                                                8033, 50, 56           H7 (94R) AGM
2021-17   V8/4.0L    Opt, Li-ion Only                                   78 Ah45, 60            —                 —
2021-17   V8/4.0L    Opt, Li-ion Only                                   58 Ah45, 60            —                 —
Mercedes-Benz AMG GT C
2021-18 V8/4.0L                                                         60 Ah33, 50, 56        H5 (47) AGM       —
2021-18 V8/4.0L      Opt                                                80 Ah33, 50, 56        —                 —
2021-18 V8/4.0L      Opt, Li-ion Only                                   58 Ah45, 60            —                 —
Mercedes-Benz AMG GT R Pro
2020      V8/4.0L    Li-ion                                             78 Ah                  —                 —
Mercedes-Benz AMG GT R, GT R Pro
2020-18 V8/4.0L                                                         60 Ah33, 50, 56        H5 (47) AGM       —
2020-18 V8/4.0L                                                         8033, 50, 56           H7 (94R) AGM
2020-18 V8/4.0L      Li-ion                                             58 Ah45, 56, 60        —                 —
Mercedes-Benz AMG GT S
2019-16   V8/4.0L                                                       60 Ah33, 50, 56        H5 (47) AGM       —
2019-16   V8/4.0L    Opt                                                8033, 50, 56           H7 (94R) AGM
2019-16   V8/4.0L    Opt                                                58 Ah45, 56            —
2019-16   V8/4.0L    Opt, Li-ion                                        78 Ah45, 56, 60        —
Mercedes-Benz B Electric Drive
2015-14              Electric                                           68033, 54              —                 —
Mercedes-Benz B200
2011-06 L4/2.0L                                                         68050, 54              —                 —
Mercedes-Benz B250
2019-13   L4/2.0L                                                       70 Ah33, 50, 56        H6 (48) AGM       —
2019-13   L4/2.0L    Opt                                                80 Ah33, 50, 56        —                 —
2019-13   L4/2.0L    Auxiliary Battery                                  20033, 54              —                 —
2019-13   L4/2.0L                                                       76033, 54              H6 (48) AGM       —
2019-13   L4/2.0L    Opt                                                80033, 50, 54          —
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   Automotive/Light Truck                                                                                              107
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT         GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING              (NOTES)            (NOTES)

   Mercedes-Benz B250e
   2017-16                 Electric                                         60 Ah33, 50, 54           H5 (47) AGM      —
   2017                    Electric                                         68033, 50, 54             —                —
   2017                    Opt, Li-ion                                      N/A60                     —
   2016                    Electric                                         68060                     —                —
   Mercedes-Benz C220
   1996-94 L4/2.2L                                                          76050                     —                H8 (49) AGM
   Mercedes-Benz C230
   2009-08     V6/2.5L                                                      76050, 54                 —                H8 (49) AGM
   2009-08     V6/2.5L     Auxiliary Battery                                20033, 50                 —
   2007-06     V6/2.5L                                                      76050                     —                H8 (49) AGM
   2005-04     L4/1.8L     S/C                                              76050                     —                H8 (49) AGM
   2000-97     L4/2.3L                                                      76050                     —                H8 (49) AGM
   2003        L4/1.8L     S/C                                              82533, 50                 H8 (49) AGM      —
   2002        L4/2.3L                                                      76050                     —                H8 (49) AGM
   Mercedes-Benz C240
   2005-03 V6/2.6L                                                          74 Ah50, 56               —                —
   2005-01 V6/2.6L         Opt, w/o AGM                                     76050                     —                H8 (49) AGM
   2003    V6/2.6L         w/AGM                                            85033, 50                 H8 (49) AGM      —
   Mercedes-Benz C250
   2015-12     L4/1.8L     Opt Rear                                         95 Ah33, 50, 54           H8 (49) AGM      —
   2015-12     L4/1.8L     Front                                            84 Ah50, 54               —                —
   2015-12     L4/1.8L                                                      76033, 54                 H6 (48) AGM      —
   2015-12     L4/1.8L     Auxiliary Battery                                20033                     —
   2012-10     V6/2.5L     Opt                                              70054                     H7 (94R)         H7 (94R) AGM
   2012-10     V6/2.5L     Opt                                              70033 50, 56              H7 (94R) AGM
   2012-10     V6/2.5L     Auxiliary Battery                                20033                     —
   2012-10     V6/2.5L     Opt                                              76033, 54                 H6 (48) AGM      —
   2012        V6/2.5L     Opt                                              62 Ah50, 56               —                —
   2012        V6/2.5L     Opt                                              60 Ah33, 50, 56           H5 (47) AGM
   Mercedes-Benz C280
   2007-06     V6/3.0L     Opt                                              76050                     —                H8 (49) AGM
   2007-06     V6/3.0L                                                      68050                     H6 (48)          H6 (48) AGM
   2000-98     V6/2.8L                                                      76050                     —                H8 (49) AGM
   1997-94     L6/2.8L                                                      76050                     —                H8 (49) AGM
   Mercedes-Benz C300
   2018-17     L4/2.0L     Opt                                              80033, 50, 56             —                —
   2018-16     L4/2.0L     Opt                                              76033, 50, 56             H6 (48) AGM      —
   2018-15     L4/2.0L                                                      68033, 50, 54, 56         —                —
   2018-15     L4/2.0L     Opt, Li-ion                                      48 Ah45, 56, 60           —
   2018-15     L4/2.0L     Opt, Li-ion                                      78 Ah45, 56, 60           —
   2018-15     L4/2.0L                                                      70033, 50, 54             H7 (94R) AGM     —
   2014-13     V6/3.5L                                                      70050, 54                 H7 (94R)         H7 (94R) AGM
   2014-13     V6/3.5L     AGM, Opt Trunk Mtd                               95 Ah33, 50, 54           H8 (49) AGM      —
   2014-13     V6/3.5L     Auxiliary Battery                                20033                     —
   2014-13     V6/3.5L     Front Battery                                    84 Ah50                   —                —
   2012-08     V6/3.0L                                                      84 Ah50, 54               —                —
   2012-08     V6/3.0L     Auxiliary Battery                                20033                     —
   2012        V6/3.0L     AGM, Opt Trunk Mtd                               95 Ah33, 50, 54           H8 (49) AGM      —
   Mercedes-Benz C32 AMG
   2004-03 V6/3.2L                                                          82550                     —                —
   Mercedes-Benz C320
   2005-04     V6/3.2L                                                      82550, 54                 —                —
   2002-01     V6/3.2L                                                      76050                     —                —
   2003        V6/3.2L                                                      85033, 50                 H8 (49) AGM      —
   2002        V6/3.2L                                                      74 Ah50                   —                —
   2001        V6/3.2L     w/o AGM                                          100 Ah47, 50, 54          —                —
   Mercedes-Benz C350
   2015-08 V6/3.5L                                                          70050, 54                 H7 (94R)         H7 (94R) AGM
   2015-08 V6/3.5L         Auxiliary Battery                                20033, 50                 —
   2015    V6/3.5L                                                          84 Ah50, 54               —                —
   Mercedes-Benz C350e
   2018-16 L4/2.0L         Hybrid                                           85033, 50, 54             H8 (49) AGM      —
   2018-16 L4/2.0L         Opt, Li-ion Only                                 58 Ah45, 50, 54, 56, 60   —                —
   Mercedes-Benz C36 AMG
   1997-95 L6/3.6L                                                          76050                     H8 (49)          H8 (49) AGM
   Mercedes-Benz C400
   2015       V6/3.0L                                                       76033, 50, 54             H6 (48) AGM      —
   2015       V6/3.0L      Opt, Li-ion                                      78 Ah45, 57, 60           —
   See page 158 for Footnotes. Selection may vary by warehouse.

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108                                                                       Automotive/Light Truck
  YEAR      ENGINE                                              OPTIONS                       ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                                  CCA/RATING            (NOTES)            (NOTES)

Mercedes-Benz C43 AMG
2021-17 V6/3.0L                                                                          70 Ah33, 50, 56           H6 (48) AGM      —
2021-17 V6/3.0L      Opt                                                                 80 Ah33, 50, 56           —                —
2021-17 V6/3.0L      Opt, Li-ion Only                                                    78 Ah45, 56, 59           —                —
Mercedes-Benz C450 AMG
2016      V6/3.0L                                                                        76033, 54                 H6 (48) AGM      —
2016      V6/3.0L    Opt, Li-ion                                                         78 Ah45, 50, 56, 60       —
Mercedes-Benz C55 AMG
2006-05 V8/5.5L                                                                          100 Ah47, 50, 54          —                —
Mercedes-Benz C63 AMG
2021-20   V8/4.0L    Opt                                                                 92 Ah33, 50, 56           H8 (49) AGM      —
2021-17   V8/4.0L    Auxiliary                                                           45
                                                                                                                   —                —
2021-16   V8/4.0L    Opt                                                                 60 Ah33, 50, 56           H5 (47) AGM      —
2021-16   V8/4.0L    Opt                                                                 80 Ah33, 50, 56           —                —
2021-16   V8/4.0L    Opt, Li-ion Only                                                    78 Ah45, 50, 56, 60       —                —
2020-19   V8/4.0L    Opt                                                                 85033, 50, 56             H8 (49) AGM      —
2019-17   V8/4.0L    Opt                                                                 92 Ah33, 50, 56           H8 (49) AGM      —
2018-17   V8/4.0L    Opt                                                                 95 Ah33, 50, 56           H8 (49) AGM      —
2015-08   V8/4.0L    Opt                                                                 80033, 50, 56             —                —
2015-08   V8/6.3L                                                                        80 Ah33, 50, 56           —                —
2015-08   V8/6.3L                                                                        85033, 50, 54             H8 (49) AGM      —
2015-08   V8/6.3L    Auxiliary Battery                                                   20033                     —
2021      V8/4.0L    Opt                                                                 95 Ah33, 50, 56           H8 (49) AGM      —
Mercedes-Benz C63 AMG S
2021-20   V8/4.0L    Opt                                                                 95 Ah33, 50, 56           H8 (49) AGM      —
2021-17   V8/4.0L    Auxiliary                                                           45
                                                                                                                   —                —
2021-15   V8/4.0L                                                                        33, 50, 56
                                                                                                                   H5 (47) AGM      —
2021-15   V8/4.0L    Opt                                                                 33, 50, 56
                                                                                                                   H6 (48) AGM      —
2021-15   V8/4.0L    Opt, Li-ion Only                                                    45, 50, 56, 60
                                                                                                                   —                —
2019-18   V8/4.0L    Opt                                                                 85033, 50, 56             H8 (49) AGM      —
2021      V8/4.0L                                                                        95 Ah
Mercedes-Benz CL500
2005-03 V8/5.0L      w/o AGM                                                             76050                     —                —
2006    V8/5.0L                                                                          95 Ah33, 50               H8 (49) AGM      —
Mercedes-Benz CL55 AMG
2005-04 V8/5.5L                                                                          95 Ah5                                     H8 (49) AGM
2006    V8/5.5L                                                                          95 Ah33                   H8 (49) AGM      —
2003    V8/5.5L                                                                          76050                     H8 (49)          H8 (49) AGM
Mercedes-Benz CL550
2014-12   V8/4.6L    Secondary Battery, 4-Matic                                          1.2 Ah                    —
2014-11   V8/4.6L    Auxiliary Battery                                                   20033, 54                 —
2014-11   V8/4.6L    On-Board Electrical System Battery                                  85033, 50, 54             H8 (49) AGM      —
2014-11   V8/4.6L    Primary, 4-Matic                                                    95 Ah33, 50, 54           H8 (49) AGM      —
2010-07   V8/5.5L    On-Board Electrical System Battery                                  85033, 50, 54             H8 (49) AGM      —
2010-07   V8/5.5L    On-Board Electrical System Battery, Opt                             76033, 50, 54             H6 (48) AGM      —
2010-07   V8/5.5L    Primary Battery                                                     95 Ah33, 47, 50, 54       H8 (49) AGM      —
2010-07   V8/5.5L    Secondary Battery                                                   35 Ah50                   —
2011      V8/4.6L    Secondary Battery, 4-Matic                                          35 Ah                     —
Mercedes-Benz CL600
2014-08   V12/5.5L   Primary Battery                                                     95 Ah33, 47, 50, 54       H8 (49) AGM      —
2014-07   V12/5.5L   On-Board Electrical System Battery                                  85033, 50, 54             H8 (49) AGM      —
2014-07   V12/5.5L   Secondary Battery                                                   35 Ah50                   —
2006-03   V12/5.5L                                                                       95 Ah33, 50               H8 (49) AGM      —
2002-01   V12/5.8L                                                                       76050                     —                —
1999-98   V12/6.0L                                                                       76050, 54                 —                H8 (49) AGM
Mercedes-Benz CL63 AMG
2014-11 V8/5.5L      Primary Battery                                                     85033, 50, 54             H8 (49) AGM      —
2010-08 V8/6.3L      Primary Battery                                                     85033, 47, 50             H8 (49) AGM      —
2014    V8/5.5L      Auxiliary Battery                                                   20033, 54                 —
Mercedes-Benz CL65 AMG
2014-08   V12/6.0L   On-Board Electrical System Battery                                  85033, 50, 54             H8 (49) AGM      —
2014-08   V12/6.0L   Primary Battery                                                     95 Ah33, 47, 50           H8 (49) AGM      —
2014-08   V12/6.0L   Secondary Battery                                                   35 Ah50                   —
2006-05   V12/6.0L                                                                       85033, 50                 H8 (49) AGM      —
Mercedes-Benz CLA250
2021-14 L4/2.0L      Optional                                                            80033, 50, 55             —                —
2021-14 L4/2.0L      Opt                                                                 80033                     —
2021-14 L4/2.0L      Auxiliary Battery                                                   20033                     —
                                                                                        See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                            109
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING            (NOTES)            (NOTES)

   Mercedes-Benz CLA45 AMG
   2019-14 L4/2.0L                                                          76033, 50, 56           H6 (48) AGM      —
   2019-14 L4/2.0L         Optional                                         80033, 50, 55           —                —
   2019-14 L4/2.0L         Auxiliary Battery                                20033                   —
   Mercedes-Benz CLK320
   2005-98 V6/3.2L                                                          82550                   —                —
   Mercedes-Benz CLK350
   2009-06 V6/3.5L         Cabrio, w/o AGM                                  100 Ah47, 50            —                —
   2009-06 V6/3.5L                                                          76050                   —                —
   2009-06 V6/3.5L         w/o AGM                                          100 Ah47, 50            —                —
   Mercedes-Benz CLK430
   2003-99 V8/4.3L                                                          76050                   —                —
   Mercedes-Benz CLK500
   2006-03 V8/5.0L                                                          100 Ah47, 50            —                —
   Mercedes-Benz CLK55 AMG
   2006-01 V8/5.5L                                                          100 Ah50                —                —
   Mercedes-Benz CLK550
   2009-07 V8/5.5L                                                          100 Ah50                —                —
   2009    V8/5.5L         Cabrio                                           100 Ah47, 50            —                —
   2008    V8/5.5L                                                          100 Ah47, 50            —                —
   Mercedes-Benz CLK63 AMG
   2009-08 V8/6.3L         Cabrio                                           100 Ah47, 50            —                —
   2008    V8/6.3L         Black                                            70 Ah33, 50             H6 (48) AGM      —
   Mercedes-Benz CLS400
   2017-15     V6/3.0L                                                      76033, 50, 54           H6 (48) AGM      —
   2017-15     V6/3.0L     Auxiliary Battery                                20033, 54               —
   2017-15     V6/3.0L     Opt                                              85033, 50, 54           H8 (49) AGM      —
   2017-15     V6/3.0L     Opt                                              80033, 50, 54           H7 (94R) AGM     —
   Mercedes-Benz CLS500
   2006        V8/5.0L                                                      76050, 54               —                —
   2006        V8/5.0L     Opt AGM                                          85033                   H8 (49) AGM      —
   2006        V8/5.0L     Auxiliary Battery                                20033, 50               —
   Mercedes-Benz CLS55 AMG
   2006        V8/5.5L                                                      76050, 54               —                —
   2006        V8/5.5L                                                      85033, 50               H8 (49) AGM      —
   2006        V8/5.5L     Auxiliary Battery                                20033, 50               —
   Mercedes-Benz CLS550
   2017-12     V8/4.6L                                                      80033, 50, 54           H7 (94R) AGM     —
   2017-12     V8/4.6L     Auxiliary Battery                                20033, 54               —
   2017-12     V8/4.6L     Opt                                              85033, 50, 54           H8 (49) AGM      —
   2011-07     V8/5.5L                                                      95 Ah33, 47, 50         H8 (49) AGM      —
   2011-07     V8/5.5L     Auxiliary Battery                                20033                   —
   2018        V8/4.6L                                                      80033, 50, 56           —                —
   2018        V8/4.6L     Auxiliary Battery                                20033                   —
   2018        V8/4.6L     Opt                                              80033, 50, 56           H7 (94R) AGM     —
   Mercedes-Benz CLS63 AMG
   2014-12     V8/5.5L                                                      80 Ah33, 47, 50         H7 (94R) AGM     —
   2014-12     V8/5.5L     Auxiliary Battery                                20033, 54               —
   2014-12     V8/5.5L     Opt                                              85033, 50, 54           H8 (49) AGM      —
   2011-07     V8/6.3L                                                      95 Ah33, 47, 50         H8 (49) AGM      —
   2011-07     V8/6.3L     Auxiliary Battery                                20033, 50               —
   Mercedes-Benz CLS63 AMG S
   2018-14     V8/5.5L     Auxiliary Battery                                20033                   —
   2017-15     V8/5.5L     Opt                                              85033, 50, 54           H8 (49) AGM      —
   2017-14     V8/5.5L                                                      80033, 50, 54           H7 (94R) AGM     —
   2018        V8/5.5L                                                      80033, 50, 56           —                —
   2018        V8/5.5L     4-Matic                                          80033, 50, 56           H7 (94R) AGM     —
   2018        V8/5.5L     Opt                                              80033, 50, 56           H7 (94R) AGM     —
   2014        V8/5.5L                                                      85033, 50, 54           H8 (49) AGM      —
   Mercedes-Benz E250
   2016-14 L4/2.1L         Auxiliary, Dsl                                   20033, 54               —
   2016-14 L4/2.1L         Dsl                                              76033, 54               H6 (48) AGM      —
   2016-14 L4/2.1L         Dsl, Opt                                         85033, 54               H8 (49) AGM      —
   Mercedes-Benz E280
   2007        V6/3.0L                                                      76050, 54               —                —
   2007        V6/3.0L     Auxiliary Battery                                20033, 50               —
   Mercedes-Benz E300
   2019-17 L4/2.0L                                                          76033, 50, 56           H6 (48) AGM      —
   2019-17 L4/2.0L         Opt                                              68033, 50, 56           —                —
   See page 158 for Footnotes. Selection may vary by warehouse.

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110                                                      Automotive/Light Truck
  YEAR      ENGINE                             OPTIONS                    ORIGINAL EQUIPMENT       GROUP SIZE        ALTERNATE SIZE
                                                                              CCA/RATING            (NOTES)             (NOTES)

Mercedes-Benz E300 (continued)
2019-17   L4/2.0L    Opt                                                85033, 50, 56          H8 (49) AGM       —
2018-17   L4/2.0L    Opt                                                80 Ah33, 50, 56        H7 (94R) AGM      —
2018-17   L4/2.0L    Opt, Li-ion                                        78 Ah45, 56, 60        —
2018-17   L4/2.0L    Opt, Li-ion                                        80 Ah45, 56, 60        —
2016-15   V6/3.5L                                                       76033, 54              H6 (48) AGM       —
2016-15   V6/3.5L    Opt                                                85033, 54              H8 (49) AGM       —
2016-12   V6/3.5L    Auxiliary Battery                                  20033, 54              —
2013-12   V6/3.5L                                                       76050, 54              —                 —
2009-08   V6/3.0L                                                       76050, 54              —                 —
2009-08   V6/3.0L    Auxiliary Battery                                  20033                  —
1999-95   L6/3.0L    Dsl                                                85047, 50              —                 H8 (49) AGM
Mercedes-Benz E320
2009-07   V6/3.0L    Dsl                                                85033, 50, 54          H8 (49) AGM       —
2009-07   V6/3.0L    Auxiliary, Dsl                                     20033, 50              —
2006-03   L6/3.2L    Auxiliary, Dsl                                     20033, 50              —
2006-03   V6/3.2L                                                       95 Ah33, 47, 50        H8 (49) AGM       —
2002-98   V6/3.2L                                                       100 Ah47, 50           —                 —
1997-96   L6/3.2L                                                       690                    H6 (48)           H6 (48) AGM
1997-96   L6/3.2L                                                       82547, 50              —                 H8 (49) AGM
1995-94   L6/3.2L    E320C-A                                            82547, 50              —                 H8 (49) AGM
1995      L6/3.2L                                                       66050                  H6 (48)           H6 (48) AGM
1994      L6/3.2L    Ex Cabriolet                                       66050                  H6 (48)           H6 (48) AGM
Mercedes-Benz E350
2016-10   V6/3.5L                                                       76033, 50, 54          H6 (48) AGM       —
2016-10   V6/3.5L    Auxiliary Battery                                  20033, 54              —
2016-06   V6/3.5L    Opt                                                85033, 50, 54          H8 (49) AGM       —
2014-12   V6/3.5L                                                       80 Ah33, 50, 56        H7 (94R) AGM      —
2014-10   V6/3.5L    Opt                                                70 Ah33, 50, 56        H6 (48) AGM       —
2013-11   V6/3.0L    Auxiliary, Dsl                                     20033, 54              —
2013-11   V6/3.0L    Dsl                                                76033, 50, 54          H6 (48) AGM       —
2013-11   V6/3.0L    Dsl, Opt                                           85033, 50, 54          H8 (49) AGM       —
2009-06   V6/3.5L                                                       68050, 54              —                 —
2009-06   V6/3.5L                                                       95 Ah33, 47, 50        H8 (49) AGM       —
2009-06   V6/3.5L    Auxiliary Battery                                  20033, 50              —
2009-06   V6/3.5L    Opt                                                76033, 50, 54          H6 (48) AGM       —
2009-06   V6/3.5L    Opt                                                76050, 54              —                 —
2015      V6/3.5L                                                       80 Ah33, 50, 54        H7 (94R) AGM      —
Mercedes-Benz E400
2018-15   V6/3.0L                                                       76033, 50, 54          H6 (48) AGM       —
2018-15   V6/3.0L    Opt                                                85033, 50, 54          H8 (49) AGM       —
2017-15   V6/3.0L    Auxiliary Battery                                  20033, 54              —
2015-13   V6/3.5L    Hybrid                                             85033, 50, 54          H8 (49) AGM       —
2015-13   V6/3.5L    Hybrid, Auxiliary                                  20033, 54              —
2018      V6/3.0L    Opt                                                60 Ah33, 50, 56        H5 (47) AGM       —
2018      V6/3.0L    Opt                                                80033, 50, 56          —                 —
2018      V6/3.0L    Opt, Li-ion                                        78 Ah45, 56, 60        —
2018      V6/3.0L    Opt, Li-ion                                        80 Ah45, 56, 60        —
Mercedes-Benz E420
1995-94 V8/4.2L                                                         82547, 50              —                 H8 (49) AGM
1997    V8/4.2L                                                         690                    H6 (48)           H6 (48) AGM
1997    V8/4.2L                                                         82547, 50              —                 H8 (49) AGM
Mercedes-Benz E43 AMG
2018-17   V6/3.0L    Opt, Li-ion                                        78 Ah45, 56, 60        —
2018-17   V6/3.0L    Opt, Li-ion                                        80 Ah45, 56, 60        —
2018-17   V6/3.0L                                                       76033, 50, 56          H6 (48) AGM       —
2018-17   V6/3.0L    Opt                                                60 Ah33, 50, 56        H5 (47) AGM       —
2018-17   V6/3.0L    Opt                                                85033, 50, 56          H8 (49) AGM       —
2018      V6/3.0L    Opt                                                80033, 50, 56          —                 —
2017      V6/3.0L    Opt                                                80033, 50, 54          H7 (94R) AGM      —
Mercedes-Benz E430
2002-98 V8/4.3L                                                         100 Ah47, 50           —                 —
Mercedes-Benz E500
2006-03 V8/5.0L                                                         95 Ah33, 47, 50        H8 (49) AGM       —
2006-03 V8/5.0L      Auxiliary Battery                                  20033, 50              —
1994    V8/5.0L                                                         82547, 50              —                 H8 (49) AGM
Mercedes-Benz E55 AMG
2006-04 V8/5.5L                                                         95 Ah33, 47, 50        H8 (49) AGM       —
2006-03 V8/5.5L      Auxiliary Battery                                  20033, 50              —
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   Automotive/Light Truck                                                                                            111
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING            (NOTES)            (NOTES)

   Mercedes-Benz E55 AMG (continued)
   2002-99 V8/5.5L                                                          76050                   —                —
   2003    V8/5.5L                                                          85050                   —                —
   Mercedes-Benz E550
   2017-13     V8/4.6L     Auxiliary Battery                                20033, 54               —
   2017-12     V8/4.6L                                                      80 Ah33, 50             H7 (94R) AGM     —
   2011-10     V8/5.5L                                                      85050, 54               —                —
   2011-10     V8/5.5L                                                      80 Ah33, 50             H7 (94R) AGM     —
   2011-10     V8/5.5L     Auxiliary Battery                                20033, 54               —
   2009-07     V8/5.5L                                                      95 Ah33, 47, 50         H8 (49) AGM      —
   2009-07     V8/5.5L     Auxiliary Battery                                20033, 50               —
   2009-07     V8/5.5L     Opt                                              85033, 50, 54           H8 (49) AGM      —
   Mercedes-Benz E63 AMG
   2015-12     V8/5.5L                                                      76033, 50, 54           H6 (48) AGM      —
   2015-12     V8/5.5L     Auxiliary Battery                                20033, 54               —
   2015-12     V8/5.5L     Opt                                              80 Ah33, 50, 54         H7 (94R) AGM     —
   2014-12     V8/5.5L                                                      95 Ah33, 50, 54         H8 (49) AGM      —
   2011-10     V8/6.3L                                                      76033, 50, 54           H6 (48) AGM      —
   2011-10     V8/6.3L     Opt                                              80 Ah33, 50, 54         H7 (94R) AGM     —
   2011-10     V8/6.3L     Auxiliary Battery                                20033, 54               —
   2009-07     V8/6.3L                                                      95 Ah33, 47, 50         H8 (49) AGM      —
   2009-07     V8/6.3L     Auxiliary Battery                                20033, 50               —
   Mercedes-Benz E63 AMG S
   2016-15 V8/5.5L                                                          76033, 50, 54           H6 (48) AGM      —
   2016-14 V8/5.5L         Auxiliary Battery                                20033, 54               —
   Mercedes-Benz G500
   2008-07     V8/5.0L                                                      85050                   —                —
   2008-02     V8/5.0L     Auxiliary Battery                                20033, 54               —
   2007-02     V8/5.0L     AGM                                              90 Ah33, 47, 50         H8 (49) AGM      —
   2006-02     V8/5.0L                                                      76050                   —                —
   2008        V8/5.0L     AGM                                              95 Ah33, 47, 50         H8 (49) AGM      —
   Mercedes-Benz G55 AMG
   2011-07     V8/5.5L                                                      85050, 54               —                —
   2011-03     V8/5.5L     Auxiliary Battery                                20033, 54               —
   2006-03     V8/5.5L                                                      82550                   —                —
   2003        V8/5.5L     Opt                                              85033, 50               H8 (49) AGM      —
   Mercedes-Benz G550
   2018-16     V8/4.0L                                                      85033, 50, 54           H8 (49) AGM      —
   2018-16     V8/4.0L                                                                              —
   2015-09     V8/5.5L                                                      85033, 50, 54           H8 (49) AGM      —
   2015-09     V8/5.5L     Auxiliary Battery                                20033, 54               —
   Mercedes-Benz G63 AMG
   2018-13 V8/5.5L                                                          85033, 50, 54           H8 (49) AGM      —
   2018-13 V8/5.5L         Auxiliary Battery                                20033                   —
   2014-13 V8/5.5L                                                          80 Ah33, 50             H7 (94R) AGM     —
   Mercedes-Benz G65 AMG
   2018-16 V12/6.0L                                                         85033, 50, 54           H8 (49) AGM      —
   Mercedes-Benz GL320
   2009-07 V6/3.0L         Dsl                                              85050, 54               —                —
   Mercedes-Benz GL350
   2016-13 V6/3.0L         Auxiliary, Dsl                                   20033, 54               —
   2016-10 V6/3.0L         Dsl                                              85033, 50, 54           H8 (49) AGM      —
   2014-10 V6/3.0L         Dsl, w/AGM                                       85033, 47, 50           H8 (49) AGM      —
   Mercedes-Benz GL450
   2016-15     V6/3.0L                                                      85033, 50, 54           H8 (49) AGM      —
   2016-15     V6/3.0L     Auxiliary Battery                                20033, 54               —
   2014-13     V8/4.6L     Auxiliary Battery                                20033, 54               —
   2014-07     V8/4.6L                                                      85033, 50, 54           H8 (49) AGM      —
   Mercedes-Benz GL550
   2016-13 V8/4.6L                                                          85033, 50, 54           H8 (49) AGM      —
   2016-13 V8/4.6L         Auxiliary Battery                                20033, 54               —
   2012-08 V8/5.5L                                                          85033, 50, 54           H8 (49) AGM      —
   Mercedes-Benz GL63 AMG
   2016-13 V8/5.5L                                                          85033, 50, 54           H8 (49) AGM      —
   2016-13 V8/5.5L         Auxiliary Battery                                20033, 54               —
   Mercedes-Benz GLA250
   2020-15 L4/2.0L                                                          76033, 54               H6 (48) AGM      —
   2020-15 L4/2.0L         Auxiliary Battery                                12 Ah33                 —
   See page 158 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                             OPTIONS                     ORIGINAL EQUIPMENT      GROUP SIZE        ALTERNATE SIZE
                                                                               CCA/RATING           (NOTES)             (NOTES)

Mercedes-Benz GLA45 AMG
2019-15 L4/2.0L                                                         76033, 54               H6 (48) AGM      —
2019-15 L4/2.0L      Auxiliary Battery                                  12 Ah33                 —
Mercedes-Benz GLC300
2021-16   L4/2.0L                                                       68033, 54               —                —
2021-16   L4/2.0L    Opt                                                76033, 54               H6 (48) AGM      —
2021-16   L4/2.0L    Opt                                                80 Ah33, 54             H7 (94R) AGM
2021-16   L4/2.0L    Opt, Li-ion                                        78 Ah45, 57, 60         —
Mercedes-Benz GLC350e
2020-18 L4/2.0L      Hybrid                                             80 Ah33, 50, 56         H7 (94R) AGM
2020-18 L4/2.0L      Hybrid                                             10 Ah33, 50, 56
Mercedes-Benz GLC43 AMG
2020-17 V6/3.0L                                                         76033, 54               H6 (48) AGM      —
2020-17 V6/3.0L      Opt                                                80 Ah33, 54             H7 (94R) AGM
2018-17 V6/3.0L      Opt, Li-ion                                        78 Ah45, 57, 60         —
Mercedes-Benz GLC63 AMG, AMG S
2020-18 V6/3.0L      Opt                                                80 Ah33, 54             H7 (94R) AGM
Mercedes-Benz GLE300d
2017-16 L4/2.1L      Auxiliary, Dsl                                     20033, 54               —
2017-16 L4/2.1L      Dsl                                                85033, 50, 54           H8 (49) AGM      —
Mercedes-Benz GLE350
2021-21   L4/2.0L    Auxiliary Battery                                  20033                   —
2021-20   L4/2.0L                                                       80 Ah33, 54             H7 (94R) AGM
2018-16   V6/3.5L                                                       85033, 50, 54           H8 (49) AGM      —
2018-16   V6/3.5L    Auxiliary Battery                                  20033                   —
Mercedes-Benz GLE350d
2016      V6/3.0L    Auxiliary, Dsl                                     20033, 54               —
2016      V6/3.0L    Dsl                                                85033, 50, 54           H8 (49) AGM      —
Mercedes-Benz GLE400
2019-18   V6/3.0L                                                       85033, 50, 54           H8 (49) AGM      —
2019-18   V6/3.0L    Auxiliary Battery                                  20033, 50               —                —
2017-16   V6/3.0L                                                       85033, 50, 54           H8 (49) AGM      —
2017-16   V6/3.0L    Auxiliary Battery                                  20033, 54               —
Mercedes-Benz GLE43 AMG
2019-17 V6/3.0L                                                         85033, 50, 54           H8 (49) AGM      —
2019-17 V6/3.0L      Auxiliary Battery                                  12 Ah33                 —
Mercedes-Benz GLE450
2021-20   V6/3.0L    Auxiliary Battery                                  12 Ah33                 —
2021-20   V6/3.0L                                                       80 Ah33, 50             H7 (94R) AGM     —
2021-20   V6/3.0L    Opt                                                95 Ah33, 50, 54         H8 (49) AGM      —
2021-20   V6/3.0L    Opt                                                92 Ah33, 50, 54         H8 (49) AGM      —
Mercedes-Benz GLE450 AMG
2016      V6/3.0L                                                       85033, 50, 54           H8 (49) AGM      —
2016      V6/3.0L    Auxiliary Battery                                  20033, 54               —
Mercedes-Benz GLE550
2018-16 V8/4.6L                                                         85033, 50, 54           H8 (49) AGM      —
2018-16 V8/4.6L      Auxiliary Battery                                  20033, 54               —
Mercedes-Benz GLE550e
2018-16 V6/3.0L      Hybrid, Auxiliary                                  20033                   —
2018-16 V6/3.0L      Hybrid                                             85033, 50, 54           H8 (49) AGM      —
Mercedes-Benz GLE63 AMG
2019-16 V8/5.5L                                                         85033, 50, 54           H8 (49) AGM      —
2019-16 V8/5.5L      Auxiliary Battery                                  20033                   —
Mercedes-Benz GLE63 AMG S
2019-16 V8/5.5L                                                         85033, 50, 54           H8 (49) AGM      —
2019-16 V8/5.5L      Auxiliary Battery                                  20033                   —
Mercedes-Benz GLK250
2015-13 L4/2.1L      Auxiliary, Dsl                                     20033, 54               —
2015-13 L4/2.1L      Auxiliary, Dsl                                     1.2 Ah45                —
2015-13 L4/2.1L      Dsl                                                80033, 50, 54           H7 (94R) AGM     —
Mercedes-Benz GLK350
2015-13   V6/3.5L                                                       76033, 50, 54           H6 (48) AGM      —
2015-10   V6/3.5L    Auxiliary Battery                                  20033, 54               —
2012-10   V6/3.5L                                                       68050, 54               —                —
2012-10   V6/3.5L    AGM                                                80 Ah33, 50             H7 (94R) AGM     —
2012-10   V6/3.5L    Auxiliary Battery                                  1.2 Ah45                —
2012-10   V6/3.5L    Opt                                                76033, 50, 54           H6 (48) AGM      —
2012-10   V6/3.5L    Opt                                                80033, 50, 54           H8 (49) AGM      —
2012-10   V6/3.5L    Opt                                                70050, 54               H7 (94R)         H7 (94R) AGM
                                                                       See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                            113
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING            (NOTES)            (NOTES)

   Mercedes-Benz GLK350 (continued)
   2012-10 V6/3.5L         Opt                                              80033, 50, 54           H7 (94R) AGM     —
   2015    V6/3.5L                                                          80 Ah33, 50, 54         H7 (94R) AGM     —
   Mercedes-Benz GLS450
   2019-17 V6/3.0L                                                          85033, 50, 54           H8 (49) AGM      —
   2019-17 V6/3.0L         Auxiliary Battery                                20033                   —
   Mercedes-Benz GLS550
   2019-17 V8/4.6L                                                          85033, 50, 54           H8 (49) AGM      —
   2019-17 V8/4.6L         Auxiliary Battery                                20033, 54               —
   Mercedes-Benz GLS63 AMG
   2019-17 V8/5.5L                                                          85033, 50, 54           H8 (49) AGM      —
   2019-17 V8/5.5L         Auxiliary Battery                                20033, 54               —
   Mercedes-Benz Maybach S550
   2017        V8/4.6L                                                      76033, 50, 54           H6 (48) AGM      —
   2017        V8/4.6L     Auxiliary Battery                                20033, 54               —
   2017        V8/4.6L     Opt                                              85033, 50, 54           H8 (49) AGM      —
   2017        V8/4.6L     Opt                                              80033, 50, 54           —
   Mercedes-Benz Maybach S560
   2020-18 V8/4.0L         Auxiliary Battery                                20033                   —                —
   Mercedes-Benz Maybach S600
   2017-16 V12/6.0L                                                         76033, 54               H6 (48) AGM      —
   2017-16 V12/6.0L        Auxiliary Battery                                20033, 54               —
   2017-16 V12/6.0L        Opt                                              85033, 54               H8 (49) AGM      —
   Mercedes-Benz Maybach S650
   2020-19 V12/6.0L        Auxiliary Battery                                20033                   —                —
   Mercedes-Benz Metris
   2020-16     L4/2.0L     Opt                                              85033, 45, 54           H8 (49) AGM      —
   2020-16     L4/2.0L     Opt                                              76033, 45, 54           H6 (48) AGM      —
   2020-16     L4/2.0L                                                      68050, 54               —                —
   2020-16     L4/2.0L     Opt                                              76050, 54               —                —
   2020-16     L4/2.0L     Auxiliary Battery                                20033, 50               —
   2017-16     L4/2.0L     Opt                                              76033, 50, 54           H6 (48) AGM      —
   2017-16     L4/2.0L     Opt                                              85033, 50, 54           H8 (49) AGM      —
   Mercedes-Benz ML250
   2015        L4/2.1L     Auxiliary, Dsl                                   20033, 54               —
   2015        L4/2.1L     Dsl                                              85033, 50, 54           H8 (49) AGM      —
   Mercedes-Benz ML320
   2009-07     V6/3.0L     AGM, CDI/BlueTEC                                 95 Ah33, 47, 50         H8 (49) AGM      —
   2009-07     V6/3.0L     Dsl                                              76050                   —                —
   2003-98     V6/3.2L                                                      760                     —                —
   2003-98     V6/3.2L     AGM, Opt                                         82533, 50, 54           H8 (49) AGM      —
   Mercedes-Benz ML350
   2015-12     V6/3.0L     Auxiliary, Dsl                                   20033, 54               —
   2015-12     V6/3.5L     Auxiliary Battery                                20033, 54               —
   2015-10     V6/3.0L     Dsl                                              85033, 50, 54           H8 (49) AGM      —
   2015-08     V6/3.5L                                                      85033, 50, 54           H8 (49) AGM      —
   2014-06     V6/3.5L     AGM                                              95 Ah33, 47, 50         H8 (49) AGM      —
   2012-10     V6/3.0L     Dsl, w/AGM                                       95 Ah33, 47, 50         H8 (49) AGM      —
   2007-06     V6/3.5L                                                      95033, 50, 54           —                —
   2007-06     V6/3.5L     AGM, 163/164                                     90 Ah33, 47, 50         H8 (49) AGM      —
   2005-04     V6/3.7L                                                      76050                   —                —
   2005-04     V6/3.7L                                                      76050, 54               —                —
   2003        V6/3.7L                                                      825                     —                —
   Mercedes-Benz ML400
   2015        V6/3.0L                                                      85033, 50, 54           H8 (49) AGM      —
   2015        V6/3.0L     Auxiliary Battery                                20033, 54               —
   Mercedes-Benz ML430
   2001-99 V8/4.3L                                                          825                     —                —
   Mercedes-Benz ML450
   2011-10 V6/3.5L         AGM                                              95 Ah33, 47, 50         H8 (49) AGM      —
   2011-10 V6/3.5L         Hybrid                                           76050, 54               —                —
   Mercedes-Benz ML500
   2007-06     V8/5.0L     AGM                                              95 Ah33, 47, 50         H8 (49) AGM      —
   2005-02     V8/5.0L                                                      100 Ah47, 50            —                —
   2007        V8/5.0L                                                      95033, 50, 54           —                —
   2006        V8/5.0L                                                      95033, 50               —                —
   Mercedes-Benz ML55 AMG
   2003-00 V8/5.5L                                                          100 Ah47, 50            —                —
   See page 158 for Footnotes. Selection may vary by warehouse.

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114                                                                       Automotive/Light Truck
  YEAR      ENGINE                                              OPTIONS                     ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                                CCA/RATING            (NOTES)            (NOTES)

Mercedes-Benz ML550
2015-12   V8/4.6L                                                                        76050, 54               —                —
2015-12   V8/4.6L    Auxiliary Battery                                                   20033, 54               —
2014-12   V8/4.6L    AGM                                                                 95 Ah33, 47, 50         H8 (49) AGM      —
2011-08   V8/5.5L                                                                        76050, 54               —                —
2011-08   V8/5.5L    AGM                                                                 95 Ah33, 47, 50         H8 (49) AGM      —
Mercedes-Benz ML63 AMG
2015-12   V8/5.5L                                                                        85033                   H8 (49) AGM      —
2015-12   V8/5.5L    Auxiliary Battery                                                   20033, 54               —
2014-12   V8/5.5L    AGM                                                                 95 Ah33, 47, 50         H8 (49) AGM      —
2011-07   V8/6.3L                                                                        85033                   H8 (49) AGM      —
2011-07   V8/6.3L    AGM                                                                 95 Ah33, 47, 50         H8 (49) AGM      —
Mercedes-Benz R320
2009-07 V6/3.0L      Dsl                                                                 85033, 50, 54           H8 (49) AGM      —
2009    V6/3.0L      Dsl w/AGM, BlueTEC                                                  85033, 47, 50           H8 (49) AGM      —
Mercedes-Benz R350
2013-12   V6/3.5L                                                                        76033, 50, 54           H6 (48) AGM      —
2013-12   V6/3.5L    Opt                                                                 85033, 50, 54           H8 (49) AGM      —
2013-10   V6/3.0L    Dsl                                                                 85033, 50, 54           H8 (49) AGM      —
2013-06   V6/3.5L    AGM                                                                 92 Ah33, 47, 50         H8 (49) AGM      —
2012-10   V6/3.0L    Dsl w/AGM, BlueTEC                                                  92 Ah33, 47, 50         H8 (49) AGM      —
2011-08   V6/3.5L                                                                        85033, 50, 54           H8 (49) AGM      —
2007-06   V6/3.5L                                                                        95033, 50, 54           —                —
Mercedes-Benz R500
2007-06 V8/5.0L                                                                          95033, 50, 54           —                —
2007-06 V8/5.0L      AGM                                                                 92 Ah33, 47, 50         H8 (49) AGM      —
Mercedes-Benz R63 AMG
2007      V8/6.3L                                                                        85033, 50, 54           H8 (49) AGM      —
2007      V8/6.3L    AGM                                                                 85033, 47, 50           H8 (49) AGM      —
Mercedes-Benz S320
1999-94 L6/3.2L                                                                          76050                   —                H8 (49) AGM
Mercedes-Benz S350
2013-12   V6/3.0L    Auxiliary, Dsl                                                      20033, 54               —
2013-12   V6/3.0L    Dsl w/AGM, BlueTEC                                                  85033, 50               H8 (49) AGM      —
1995-94   L6/3.4L                                                                        760                     —                H8 (49) AGM
1995-94   L6/3.4L    Dsl                                                                 85050, 54               —                H8 (49) AGM
2006      V6/3.7L    AGM                                                                 85033, 50               H8 (49) AGM      —
Mercedes-Benz S400
2013-10 V6/3.5L      Hybrid                                                              76033, 50, 54           H6 (48) AGM      —
2013-10 V6/3.5L      Hybrid, Auxiliary                                                   20033, 54               —
2012-10 V6/3.5L      Hybrid                                                              80 Ah33, 50, 54         H7 (94R) AGM     —
Mercedes-Benz S420
1999-94 V8/4.2L                                                                          825                     —                H8 (49) AGM
Mercedes-Benz S430
2006-02 V8/4.3L      AGM                                                                 85033, 50               H8 (49) AGM      —
2005-02 V8/4.3L                                                                          82533, 50               H8 (49) AGM      —
2001-00 V8/4.3L                                                                          760                     —                —
Mercedes-Benz S450
2020-18   V6/3.0L    Auxiliary Battery                                                   20050                   —                —
2011-08   V8/4.6L    Auxiliary Battery                                                   20033, 54               —
2011-08   V8/4.6L    On-Board Electrical System Battery                                  85033, 50, 54           H8 (49) AGM      —
2011-08   V8/4.6L    Starting Motor Battery                                              52045, 54               —
Mercedes-Benz S500
2006-02 V8/5.0L      AGM                                                                 85033, 50               H8 (49) AGM      —
2001-94 V8/5.0L                                                                          76033, 50, 54           H8 (49) AGM      —
2001-94 V8/5.0L                                                                          76050                   —                —
Mercedes-Benz S55 AMG
2005-04   V8/5.5L                                                                        82533, 50               H8 (49) AGM      —
2002-01   V8/5.5L                                                                        82533, 50               H8 (49) AGM      —
2006      V8/5.5L                                                                        85033, 50               H8 (49) AGM      —
2003      V8/5.5L                                                                        76050                   —                —
Mercedes-Benz S550
2017-15   V8/4.6L    On-Board Electrical System Battery                                  85033, 50, 54          H8 (49) AGM        —
2017-12   V8/4.6L    Auxiliary Battery                                                   20033, 54              —
2015-14   V8/4.6L    Opt                                                                 105 Ah33, 50, 54       —                  —
2014-12   V8/4.6L                                                                        85033, 50              H8 (49) AGM        —
2013-12   V8/4.6L    Opt                                                                 80 Ah33, 50, 54        H7 (94R) AGM —
2011-07   V8/5.5L                                                                        85033, 50              H8 (49) AGM        —
2011-07   V8/5.5L    Auxiliary Battery                                                   20033, 54              —
2011-07   V8/5.5L    Secondary Battery                                                   35 Ah                  —
                                                                                        See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                            115
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING            (NOTES)            (NOTES)

   Mercedes-Benz S550 (continued)
   2008-07 V8/5.5L         Opt                                              60 Ah33, 50, 54         H5 (47) AGM      —
   2016    V8/4.6L         Starting Battery                                 52050, 54               —
   2015    V8/4.6L         Starting Motor Battery                           52054                   —
   Mercedes-Benz S550e
   2017-15 V6/3.0L         Hybrid                                           76033, 54               H6 (48) AGM      —
   2017-15 V6/3.0L         Hybrid, Auxiliary                                20033, 54               —
   2017-15 V6/3.0L         Hybrid, Opt                                      85033, 54               H8 (49) AGM      —
   Mercedes-Benz S560
   2020-19     V8/4.0L                                                      95 Ah33, 50, 56         H8 (49) AGM      —
   2020-19     V8/4.0L     Opt                                              105 Ah33, 50, 57        —                —
   2020-19     V8/4.0L     Li-ion Battery Only                              —60                     —                —
   2020-18     V8/4.0L     Auxiliary Battery                                20033, 50               —                —
   Mercedes-Benz S600
   2017-15     V12/6.0L                                                     76033, 54               H6 (48) AGM      —
   2017-15     V12/6.0L    Auxiliary Battery                                20033, 54               —                —
   2017-15     V12/6.0L    Opt                                              85033, 54               H8 (49) AGM      —
   2013-08     V12/5.5L    Auxiliary Battery                                95 Ah33, 47, 50         H8 (49) AGM      —
   2013-08     V12/5.5L    Primary Battery                                  35 Ah50                 —                —
   2013-07     V12/5.5L    Auxiliary Battery                                20033, 54               —                —
   2013-07     V12/5.5L    On-Board Electrical System Battery               85033, 50, 54           H8 (49) AGM      —
   2007-03     V12/5.5L    AGM                                              95 Ah33, 50             H8 (49) AGM      —
   2006-03     V12/5.5L                                                     85033, 50, 54           H8 (49) AGM      —
   2002-01     V12/5.8L                                                     760                     —                —
   1999-94     V12/6.0L                                                     760                     —                H8 (49) AGM
   Mercedes-Benz S63 AMG
   2020-18     V8/4.0L     Auxiliary Battery                                20033                   —
   2020-18     V8/4.0L     Opt                                              85033, 50, 54           H8 (49) AGM      —
   2020-18     V8/4.0L     Opt, Li-ion                                      78 Ah45, 57, 60         —                —
   2020-18     V8/4.0L                                                      105 Ah33, 50, 56        —                —
   2018-14     V8/5.5L                                                      76033, 50, 54           H6 (48) AGM      —
   2017-14     V8/5.5L     Opt, Li-ion                                      78 Ah45, 57, 60         —
   2017-11     V8/5.5L     Auxiliary Battery                                20033, 54               —
   2016-11     V8/5.5L                                                      85033, 50, 54           H8 (49) AGM      —
   2015-14     V8/5.5L     Opt                                              105 Ah33, 50, 54        —                —
   2014-11     V8/5.5L     AGM                                              95 Ah33, 47, 50         H8 (49) AGM      —
   2013-11     V8/5.5L     Opt                                              80 Ah33, 50, 54         H7 (94R) AGM     —
   2010-09     V8/6.3L     AGM                                              95 Ah33, 47, 50         H8 (49) AGM      —
   2010-08     V8/6.3L                                                      85033, 50, 54           H8 (49) AGM      —
   2010-08     V8/6.3L     Auxiliary Battery                                20033, 54               —
   2017        V8/5.5L     Opt                                              85033, 50, 54           H8 (49) AGM      —
   2014        V8/5.5L     Opt                                              85033, 50, 54           H8 (49) AGM      —
   Mercedes-Benz S65 AMG
   2019-15     V12/6.0L                                                     76033, 54               H6 (48) AGM      —
   2019-15     V12/6.0L    Opt                                              85033, 54               H8 (49) AGM      —
   2019-07     V12/6.0L    Auxiliary Battery                                20033, 54               —
   2017-15     V12/6.0L    Opt, Li-ion                                      78 Ah45, 57, 60         —
   2013-08     V12/6.0L    AGM, Secondary Battery                           95 Ah33, 47, 50         H8 (49) AGM      —
   2013-08     V12/6.0L    Primary Battery                                  35 Ah50                 —
   2013-07     V12/6.0L    On-Board Electrical System Battery               85033, 50, 54           H8 (49) AGM      —
   2007-06     V12/6.0L    AGM                                              95 Ah33, 47, 50         H8 (49) AGM      —
   2006        V12/6.0L                                                     85033, 50, 54           H8 (49) AGM      —
   Mercedes-Benz SL320
   1997-94 L6/3.2L                                                          760                     —                H8 (49) AGM
   Mercedes-Benz SL400
   2016-15 V6/3.0L                                                          85033, 54               H8 (49) AGM      —
   2016-15 V6/3.0L         Auxiliary Battery                                20033, 50               —
   Mercedes-Benz SL450
   2020-17 V6/3.0L                                                          85033, 50, 54           H8 (49) AGM      —
   2020-17 V6/3.0L         Auxiliary Battery                                20033, 50               —
   Mercedes-Benz SL500
   2006-03 V8/5.0L         AGM                                              70 Ah33, 47, 50         H6 (48) AGM      —
   2006-03 V8/5.0L         On-Board Electrical System Battery               76033, 50, 54           H6 (48) AGM      —
   2002-94 V8/5.0L                                                          76050                   —                —
   Mercedes-Benz SL55 AMG
   2008-03 V8/5.5L         AGM                                              70 Ah33, 47, 50         H6 (48) AGM      —
   2008-03 V8/5.5L         On-Board Electrical System Battery               76033, 50, 54           H6 (48) AGM      —
   2008-03 V8/5.5L         Secondary Battery                                35 Ah50                 —
   Mercedes-Benz SL550
   2020-13 V8/4.6L                                                          85033, 50, 54           H8 (49) AGM      —
   See page 158 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                                              OPTIONS                     ORIGINAL EQUIPMENT       GROUP SIZE       ALTERNATE SIZE
                                                                                                CCA/RATING            (NOTES)            (NOTES)

Mercedes-Benz SL550 (continued)
2020-13   V8/4.6L    Auxiliary Battery                                                   20033, 50               —
2012-07   V8/5.5L    AGM, In trunk                                                       70 Ah33, 47             H6 (48) AGM      —
2012-07   V8/5.5L    AGM, Opt                                                            95 Ah33, 47             H8 (49) AGM      —
2012-07   V8/5.5L    On-Board Electrical System Battery                                  76033, 50, 54           H6 (48) AGM      —
2012-07   V8/5.5L    Secondary Battery                                                   35 Ah50                 —
Mercedes-Benz SL600
2011-04   V12/5.5L   AGM                                                                 70 Ah33, 47             H6 (48) AGM      —
2011-04   V12/5.5L   On-Board Electrical System Battery                                  76033, 50, 54           H6 (48) AGM      —
2009-05   V12/5.5L   Secondary Battery                                                   35 Ah                   —
2002-94   V12/6.0L                                                                       760                     —                —
Mercedes-Benz SL63 AMG
2019-13   V8/5.5L                                                                        85033, 50, 54           H8 (49) AGM      —
2019-13   V8/5.5L    Auxiliary Battery                                                   20033, 50               —
2012-09   V8/6.3L    On-Board Electrical System Battery                                  76033, 50, 54           H6 (48) AGM      —
2012-09   V8/6.3L    Auxiliary Battery                                                   70 Ah33, 50             H6 (48) AGM      —
2012-09   V8/6.3L    Starting Battery                                                    35 Ah50                 —
Mercedes-Benz SL65 AMG
2018-13   V12/6.0L                                                                       85033, 50, 54           H8 (49) AGM      —
2018-13   V12/6.0L   Auxiliary Battery                                                   20033, 50               —
2012-09   V12/6.0L   Starting Battery                                                    52050, 54               —
2011-05   V12/6.0L   Auxiliary Battery                                                   12 Ah33                 —
2011-05   V12/6.0L   AGM                                                                 76033, 47               H6 (48) AGM      —
Mercedes-Benz SLC300
2020-17 L4/2.0L      Auxiliary Battery                                                   20033, 50               —
2018-17 L4/2.0L                                                                          80033                   —                —
Mercedes-Benz SLC43 AMG
2020-17 V6/3.0L      Auxiliary Battery                                                   20033, 50               —
2017    V6/3.0L                                                                          76033, 54               H6 (48) AGM      —
Mercedes-Benz SLK230
2004-02 L4/2.3L                                                                          69050                   H6 (48)          H6 (48) AGM
2001-00 L4/2.3L                                                                          760                     —                —
1999-98 L4/2.3L                                                                          690                     H6 (48)          H6 (48) AGM
Mercedes-Benz SLK250
2015-12 L4/1.8L                                                                          76033, 50, 54           H6 (48) AGM      —
2015-12 L4/1.8L      Auxiliary Battery                                                   20033, 50               —
2015    L4/1.8L      Opt                                                                 80 Ah33, 50, 54         H7 (94R) AGM     —
Mercedes-Benz SLK280
2008-07 V6/3.0L                                                                          68050, 54               —                —
2006    V6/3.0L                                                                          76033, 50               —
Mercedes-Benz SLK300
2011-09 V6/3.0L                                                                          68050, 54               —                —
2016    L4/2.0L                                                                          76033, 54               H6 (48) AGM      —
2016    L4/2.0L      Auxiliary Battery                                                   20033, 50               —
Mercedes-Benz SLK32 AMG
2004-02 V6/3.2L                                                                          690                     H6 (48)          H6 (48) AGM
Mercedes-Benz SLK320
2004-01 V6/3.2L                                                                          69050, 54               H6 (48)          H6 (48) AGM
Mercedes-Benz SLK350
2016-12   V6/3.5L                                                                        76033, 50, 54           H6 (48) AGM      —
2016-12   V6/3.5L    Auxiliary Battery                                                   20033, 50               —
2015-12   V6/3.5L    Opt                                                                 80 Ah33, 50, 54         H7 (94R) AGM     —
2011-05   V6/3.5L                                                                        48050, 54               H5 (47)          H5 (47) AGM
2011-05   V6/3.5L                                                                        68050, 54               —                —
Mercedes-Benz SLK55 AMG
2016-12   V8/5.5L    Auxiliary Battery                                                   20033, 50               —
2016-07   V8/5.5L                                                                        68050, 54               —                —
2016      V8/5.5L                                                                        68033, 50               H6 (48) AGM      —
2006      V8/5.5L                                                                        76033, 50               —
2005      V8/5.5L                                                                        825                     —                —
Mercedes-Benz SLR McLaren
2009-06 V8/5.5L      On-Board Electrical System Battery                                  76033, 50               —
2009-05 V8/5.5L      Starting Motor Battery                                              52045, 54               —
2005    V8/5.5L      On-Board Electrical System Battery                                  825                     —                —
Mercedes-Benz SLS AMG
2015-11 V8/6.3L                                                                          70 Ah33, 50, 54         H6 (48) AGM      —
Mercedes-Benz Sprinter 2500
2018-10 L4/2.1L      Dsl, Opt                                                            85033, 50, 54          H8 (49) AGM        —
2018-10 V6/3.0L      Dsl                                                                 68050, 54              —                  —
                                                                                        See page 158 for Footnotes. Selection may vary by warehouse.

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                                                                              Mercury
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   Automotive/Light Truck                                                                                             117
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING             (NOTES)            (NOTES)

   Mercedes-Benz Sprinter 2500 (continued)
   2018-10     V6/3.0L     Dsl, Opt                                         85033, 50, 54           H8 (49) AGM       —
   2018-10     V6/3.0L     Auxiliary, Dsl                                   20033, 50               —
   2018-10     V6/3.0L     Dsl, Opt                                         76033, 50, 54           H6 (48) AGM       —
   2018-10     V6/3.0L     Dsl, Opt                                         76050, 54               —                 —
   2017-14     L4/2.1L     Auxiliary, Dsl                                   20033, 50               —
   2017-14     L4/2.1L     Dsl                                              68050, 54               —                 —
   2017-14     L4/2.1L     Dsl, Opt                                         76033, 50, 54           H6 (48) AGM       —
   2017-14     L4/2.1L     Dsl, Opt                                         76050, 54               —                 —
   2016-14     L4/2.1L                                                      85050                   —                 —
   Mercedes-Benz Sprinter 3500
   2018-110    V6/3.0L     Dsl                                              68050, 54               —                 —
   2018-10     V6/3.0L     Auxiliary, Dsl                                   20033, 50               —
   2018-10     V6/3.0L     Dsl, Opt                                         85033, 50, 54           H8 (49) AGM       —
   2018-10     V6/3.0L     Dsl, Opt                                         76033, 50, 54           H6 (48) AGM       —
   2018-10     V6/3.0L     Dsl, Opt                                         76050, 54               —                 —
   2018-10     V6/3.0L                                                      85050                   —                 —
   2018-10     V6/3.0L     Dsl                                              850                     —                 —
   2018-10     V6/3.0L     Dsl                                              76050                   —                 —
   2017-14     L4/2.1L     Dsl, Opt                                         85033, 50, 54           H8 (49) AGM       —
   2017-14     L4/2.1L     Auxiliary, Dsl                                   20033, 50               —
   2017-14     L4/2.1L     Dsl                                              68050, 54               —                 —
   2017-14     L4/2.1L     Dsl, Opt                                         76033, 50, 54           H6 (48) AGM       —
   2017-14     L4/2.1L     Dsl, Opt                                         76050, 54               —                 —
   Mercury Capri
   1993-91 L4/1.6L                                                          390                     35                35 AGM
   1994    L4/1.6L                                                          460                     35                35 AGM
   Mercury Colony Park
   1991        V8/5.0L                                                      650                     65                65 AGM
   1990        V8/5.0L                                                      540                     58
   Mercury Comet
   1969-68     V8/5.0L                                                      290                     —
   1969-68     V8/5.0L                                                      290                     26R
   1969-68     V8/5.0L     Opt                                              350                     24F               24F AGM
   1969-68     V8/6.4L                                                      290                     26R
   1968-64     V8/4.7L                                                      250                     26R
   1967-66     V8/6.4L                                                      250                     26R
   1967-66     V8/6.4L     Opt                                              N/A                     24F               24F AGM
   1967-65     V8/4.7L     Opt                                              N/A                     24F               24F AGM
   1969        L6/4.1L                                                      290                     26R
   1969        L6/4.1L     Opt                                              350                     24F               24F AGM
   1969        V8/5.8L                                                      290                     26R
   1969        V8/5.8L     AT, Opt                                          350                     24F               24F AGM
   1969        V8/5.8L     Opt                                              415                     27F
   1969        V8/5.8L     Opt                                              415                     27F
   1969        V8/6.4L     AT, Opt                                          350                     24F               24F AGM
   1969        V8/6.4L     Opt                                              415                     27F
   1969        V8/6.4L     Opt                                              415                     27F
   1968        L6/3.3L     Opt                                              350                     24F               24F AGM
   1968        V8/6.4L     Opt                                              350                     24F               24F AGM
   Mercury Cougar
   2002-99     L4/2.0L                                                      590                     40R
   2002-99     V6/2.5L                                                      590                     40R
   1997-94     V6/3.8L     Can & Opt                                        650                     65                65 AGM
   1997-94     V8/4.6L                                                      650                     65                65 AGM
   1995-94     V6/3.8L                                                      540                     58
   1993-91     V8/5.0L                                                      650                     65                65 AGM
   1993-90     V6/3.8L     Can or Cold Climate Pkg                          650                     65                65 AGM
   1992-90     V6/3.8L                                                      460                     58
   1992-90     V6/3.8L     Opt                                              540                     58
   1968-67     V8/4.7L                                                      325                     24F               24F AGM
   1997        V6/3.8L                                                      540                     59
   1996        V6/3.8L     Early                                            540                     58
   1996        V6/3.8L     US, Late                                         540                     59
   1993        V6/3.8L     Opt                                              650                     65                65 AGM
   1993        V6/3.8L     US                                               540                     58
   1990        V6/3.8L     S/C                                              650                     65                65 AGM
   1969        V8/5.0L                                                      330                     —
   1968        V8/5.0L                                                      325                     24F               24F AGM
   Mercury Cyclone
   1969-68 V8/6.4L                                                          415                     27F
   1967-65 V8/4.7L                                                          N/A                     24F               24F AGM
   See page 158 for Footnotes. Selection may vary by warehouse.

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118                                             Automotive/Light Truck
  YEAR      ENGINE                    OPTIONS                  ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

Mercury Cyclone (continued)
1968      V8/7.0L                                            435                    27F
1967      V8/6.4L                                            N/A                    27F
1966      V8/6.4L    AT                                      N/A                    24F               24F AGM
1965      V8/7.0L                                            N/A                    27F
1964      L6/3.3L                                            N/A                    —
1964      L6/3.3L    Opt                                     N/A                    27F
1964      V8/4.3L                                            N/A                    —
1964      V8/4.3L    Opt                                     N/A                    27F
1964      V8/4.7L    Opt                                     N/A                    27F
Mercury Grand Marquis
2011-98   V8/4.6L                                            650                    65                65 AGM
2011-09   V8/4.6L    HD or PPkg                              750                    65                65 AGM
2006-97   V8/4.6L    Can & Opt                               750                    65                65 AGM
1996-95   V8/4.6L    PPkg                                    850                    65                —
1996-93   V8/4.6L    US, Opt or Can                          750                    65                65 AGM
1995-93   V8/4.6L    US                                      540                    58
1993-92   V8/4.6L    w/HWS                                   850                    65                —
1991-90   V8/5.0L    w/HWS                                   850                    65                —
1997      V8/4.6L    US                                      540                    59
1996      V8/4.6L    Late                                    540                    59
1996      V8/4.6L    US, Early                               540                    58
1992      V8/4.6L    Ex HWS                                  650                    65                65 AGM
1991      V8/5.0L                                            650                    65                65 AGM
1990      V8/5.0L                                            540                    58
1990      V8/5.0L    Opt                                     650                    65                65 AGM
Mercury Marauder
2004-03 V8/4.6L                                              650                    65                65 AGM
1967    V8/6.4L      AT                                      N/A                    24F               24F AGM
Mercury Mariner
2011-10   L4/2.5L                                            590                    40R
2011-10   V6/3.0L                                            590                    96R
2011-09   L4/2.5L    Hybrid                                  500                    96R
2009-05   V6/3.0L                                            590                    40R
2008-06   L4/2.3L    Hybrid                                  500                    96R
2008-05   L4/2.3L                                            590                    40R
Mercury Milan
2011-10   L4/2.5L                                            500                    96R
2011-10   L4/2.5L    Hybrid                                  390                    —
2011-10   V6/3.0L                                            500                    96R
2009-08   L4/2.3L                                            500                    96R
2007-06   L4/2.3L                                            590                    40R
2007-06   V6/3.0L                                            590                    40R
2009      V6/3.0L                                            590                    96R
2008      V6/3.0L                                            500                    96R
Mercury Montego
2006-05 V6/3.0L                                              600                    36R
2007    V6/3.0L                                              540                    36R
Mercury Monterey
2006-04 V6/4.2L                                              540                    59
2006-04 V6/4.2L      Opt                                     750                    65                65 AGM
2007    V6/4.2L                                              750                    65                65 AGM
Mercury Mountaineer
2010-98 V6/4.0L                                              650                    65                65 AGM
2010-02 V8/4.6L                                              650                    65                65 AGM
2001-97 V8/5.0L                                              650                    65                65 AGM
Mercury Mystique
2000-98   L4/2.0L                                            590                    40R
2000-98   V6/2.5L                                            590                    40R
1997-95   L4/2.0L                                            590                    96R
1997-95   L4/2.0L    Opt                                     650                    —
1997-95   V6/2.5L                                            650                    —
Mercury Sable
2009-08   V6/3.5L                                            540                    59
2003-02   V6/3.0L    HD & Can, DOHC                          600                    36R
2003-02   V6/3.0L    OHV                                     600                    36R
2000-96   V6/3.0L                                            540                    —
2000-96   V6/3.0L    SOHC                                    540                    —
1999-96   V6/3.0L    HD & Can, DOHC                          650                    36R
1995-93   V6/3.0L    Opt                                     650                    65                65 AGM
1995-90   V6/3.0L                                            540                    58
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                             119
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING             (NOTES)            (NOTES)

   Mercury Sable (continued)
   1995-90     V6/3.8L                                                      650                     65                65 AGM
   1995-90     V6/3.8L     HD, w/HWS or PPkg                                850                     65                —
   1992-91     V6/3.0L     Ex HWS or PPKG                                   540                     58
   1992-91     V6/3.0L     HD, w/HWS or PPkg                                850                     65                —
   2005        V6/3.0L     HD & Can, DOHC                                   600                     36R
   2005        V6/3.0L     OHV                                              600                     36R
   2004        V6/3.0L     US                                               540                     36R
   2004        V6/3.0L     US, Opt or Can                                   600                     36R
   2001        V6/3.0L                                                      540                     36R
   2001        V6/3.0L     US                                               540                     36R
   2001        V6/3.0L     US, Opt or Can                                   600                     36R
   2000        V6/3.0L     HD & Can, DOHC                                   600                     36R
   1990        V6/3.0L     Opt                                              850                     65                —
   Mercury Tracer, Topaz
   1999-98     L4/2.0L                                                      500                     58
   1996-95     L4/1.8L                                                      540                     35                35 AGM
   1996-94     L4/1.9L                                                      460                     35                35 AGM
   1994-92     V6/3.0L                                                      460                     58
   1994-92     V6/3.0L     Opt                                              540                     58
   1994-91     L4/1.8L                                                      460                     35                35 AGM
   1994-91     L4/2.3L                                                      540                     58
   1993-92     L4/1.9L                                                      390                     35                35 AGM
   1993-92     L4/1.9L     Opt                                              460                     35                35 AGM
   1993-92     L4/2.3L     AT & Opt                                         540                     58
   1992-90     L4/2.3L     MT                                               460                     58
   1997        L4/2.0L                                                      540                     58
   1993        L4/1.9L     MT                                               460                     58
   1991        L4/1.9L                                                      460                     35                35 AGM
   1990        L4/1.6L                                                      390                     35                35 AGM
   1990        L4/2.3L     AT                                               540                     58
   Mercury Villager
   2002-99     V6/3.3L                                                      450                     35                35 AGM
   2002-99     V6/3.3L     Can & Opt                                        525                     24F               24F AGM
   1998-94     V6/3.0L     Can & Opt                                        525                     24F               24F AGM
   1998-94     V6/3.0L     US                                               450                     35                35 AGM
   1993        V6/3.0L     Can & Opt                                        585                     24F               24F AGM
   1993        V6/3.0L     US                                               350                     35                35 AGM
   Mini Cooper
   2022-21                 Electric                                         70 Ah50, 55, 56, 59     —                 —
   2022-21                 Electric                                         80 Ah50, 55, 56, 59     —                 —
   2022-20                 Electric                                         50 Ah50, 55, 56, 59     —                 —
   2022-16     L3/1.5L                                                      76033, 50, 54, 55, 56   H6 (48) AGM       —
   2022-16     L4/2.0L                                                      70 Ah33                 H6 (48) AGM
   2022-16     L4/2.0L                                                      76033, 50, 54, 55, 56   H6 (48) AGM       —
   2022-16     L4/2.0L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM      —
   2022-14     L3/1.5L     Opt                                              80033, 50, 54, 55, 56   H7 (94R) AGM      —
   2022-14     L3/1.5L     Opt                                              80 Ah50, 55, 56         H7 (94R)          H7 (94R) AGM
   2022-14     L3/1.5L     Opt                                              80 Ah50, 55, 56, 59     —                 —
   2022-14     L3/1.5L     Opt                                              60 Ah33, 50, 55, 56     H5 (47) AGM
   2022-14     L3/1.5L     Opt                                              70 Ah33, 50, 55, 56     H6 (48) AGM
   2022-14     L3/1.5L     Opt                                              70 Ah50, 55, 56, 59     —                 —
   2022-14     L4/2.0L                                                      70 Ah33                 H6 (48) AGM
   2022-14     L4/2.0L                                                      70 Ah59
   2022-14     L4/2.0L                                                      80033, 50, 54, 55, 56   H7 (94R) AGM      —
   2022-14     L4/2.0L                                                      80 Ah50, 55, 56         H7 (94R)          H7 (94R) AGM
   2022-14     L4/2.0L                                                      80 Ah50, 55, 56, 59     —                 —
   2021-14     L3/1.5L                                                      70 Ah33, 50, 55, 56     H6 (48) AGM
   2021-14     L4/2.0L                                                      60 Ah33, 50, 55, 56     H5 (47) AGM
   2021-14     L4/2.0L                                                      70 Ah33, 50, 55, 56     H6 (48) AGM
   2015-14     L4/1.5L                                                      470                     H5 (47)           H5 (47) AGM
   2015-14     L4/1.5L     Opt                                              44 Ah18, 50, 54, 56     —
   2015-14     L4/2.0L                                                      80033, 50, 54, 55, 56   H7 (94R) AGM      —
   2015-07     L4/1.6L                                                      48018, 50, 54, 56       —
   2015-07     L4/1.6L                                                      48050, 54, 55, 56       H5 (47)           H5 (47) AGM
   2015-07     L4/1.6L     Opt                                              68033, 50, 54, 55, 56   —                 —
   2015-07     L4/1.6L     Opt                                              57050, 54, 55, 56       H6 (48)           H6 (48) AGM
   2009-02     L4/1.6L     w/o AGM                                          48050                   H5 (47)           H5 (47) AGM
   2008-02     L4/1.6L     Turbo or SC                                      48050, 54, 55, 56       H5 (47)           H5 (47) AGM
   2008-02     L4/1.6L     w/o Turbo or S/C                                 48050, 54, 55, 56       H5 (47)           H5 (47) AGM
   2005-04     L4/1.6L     Naturally Aspirated                              48050                   H5 (47)           H5 (47) AGM
   2022        L4/2.0L                                                      60 Ah33, 50, 55, 56     H5 (47) AGM
   2015        L4/1.5L                                                      70 Ah33, 50, 55, 56     H6 (48) AGM
   See page 158 for Footnotes. Selection may vary by warehouse.

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120                                            Automotive/Light Truck
  YEAR      ENGINE                   OPTIONS                    ORIGINAL EQUIPMENT            GROUP SIZE       ALTERNATE SIZE
                                                                    CCA/RATING                 (NOTES)            (NOTES)

Mini Cooper (continued)
2013      L4/1.6L    w/o AGM                                 470                         H5 (47)           H5 (47) AGM
2010      L4/1.6L    Opt, AGM                                4809, 33, 50, 54            H5 (47) AGM
2009      L4/1.6L    Turbo                                   48050                       H5 (47)           H5 (47) AGM
Mini Cooper Clubman
2022-19   L4/2.0L                                            70 Ah50, 55, 56, 59         —                 —
2022-19   L4/2.0L                                            80 Ah50, 55, 56, 59         —                 —
2022-16   L4/2.0L                                            70 Ah33, 50, 55, 56         H6 (48) AGM
2022-16   L4/2.0L                                            70 Ah33, 50, 55, 56         H6 (48) AGM
2017-16   L3/1.5L                                            76033, 50, 54, 55, 56       H6 (48) AGM       —
2017      L4/2.0L                                            80033, 50, 54, 55, 56       H7 (94R) AGM      —
2016      L4/2.0L                                            76033, 50, 54, 55, 56       H6 (48) AGM       —
Mini Cooper Countryman
2022-21   L3/1.5L                                            80 Ah33, 50, 55, 56         H7 (94R) AGM      —
2022-21   L4/2.0L                                            80 Ah33, 50, 55, 56         H7 (94R) AGM      —
2022-17   L3/1.5L    Opt                                     60 Ah33, 50, 55, 56         H5 (47) AGM       —
2022-17   L3/1.5L                                            76033, 50, 54, 55, 56       H6 (48) AGM       —
2022-17   L3/1.5L    Opt                                     80050, 54, 55, 56 , 59      —                 —
2022-17   L4/2.0L                                            76033, 50, 54, 55, 56       H6 (48) AGM       —
2022-17   L4/2.0L    Opt                                     80050, 54, 55, 56 , 59      —                 —
2022-17   L4/2.0L    Opt                                     60 Ah33, 50, 55, 56         H5 (47) AGM       —
2020-17   L3/1.5L                                            70 Ah 50, 54, 55, 56 , 59   —                 —
2020-17   L3/1.5L                                            70 Ah33, 50, 55, 56         H6 (48) AGM       —
2020-17   L3/1.5L                                            80 Ah33, 50, 55, 56         H7 (94R) AGM
2020-17   L4/2.0L                                            70 Ah 50, 54, 55, 56 , 59   —                 —
2020-17   L4/2.0L                                            70 Ah33, 50, 55, 56         H6 (48) AGM       —
2020-17   L4/2.0L                                            80 Ah                       H7 (94R) AGM      —
2016-11   L4/1.6L                                            48050, 54, 55, 56           H5 (47)           H5 (47) AGM
2016-11   L4/1.6L    Opt                                     68033, 50, 54, 55, 56       —                 —
2016-11   L4/1.6L    Opt                                     57050, 54, 55, 56           H6 (48)           H6 (48) AGM
2016-11   L4/1.6L    Opt                                     70 Ah33, 50, 55, 56         H6 (48) AGM       —
2016-11   L4/1.6L    Opt                                     80 Ah50, 54, 55, 56         H7 (94R)          H7 (94R) AGM
Mini Cooper Paceman
2016-13   L4/1.6L                                            48050, 54, 55, 56           H5 (47)           H5 (47) AGM
2016-13   L4/1.6L    Opt                                     68033, 50, 54, 55, 56       —                 —
2016-13   L4/1.6L    Opt                                     57050, 54, 55, 56           H6 (48)           H6 (48) AGM
2016-13   L4/1.6L    Opt                                     70 Ah33, 50, 55, 56         H6 (48) AGM       —
2016-13   L4/1.6L    Opt                                     80 Ah50, 54, 55, 56         H7 (94R)          H7 (94R) AGM
Mitsubishi 3000GT
1999-96 V6/3.0L                                              520                         25
1995-94 V6/3.0L                                              430                         24
1993-91 V6/3.0L                                              490                         24
Mitsubishi Diamante
2003-99   V6/3.5L                                            520                         86
1998-97   V6/3.5L                                            490                         24
1996-92   V6/3.0L                                            490                         24
2004      V6/3.5L                                            600                         24
Mitsubishi Eclipse
2012-06   V6/3.8L                                            550                         24
2012-00   L4/2.4L                                            525                         86
2005-00   V6/3.0L                                            525                         86
1999-96   L4/2.4L                                            430                         86
1999-95   L4/2.0L    MT                                      430                         86
1999-95   L4/2.0L    Turbo, AT                               525                         86
1998-95   L4/2.0L    AT                                      525                         86
1994-90   L4/1.8L                                            430                         86
1994-90   L4/2.0L                                            430                         86
1999      L4/2.0L                                            525                         86
Mitsubishi Eclipse Cross
2022-18 L4/1.5L                                              520                         35                35 AGM
Mitsubishi Endeavor
2011-04 V6/3.8L                                              550                         24
Mitsubishi Expo
1995-92 L4/2.4L                                              490                         24
Mitsubishi Expo LRV
1994-93 L4/2.4L                                              490                         24
1994-92 L4/1.8L                                              360                         25
Mitsubishi Galant
2012-99 L4/2.4L                                              525                         86
2009-04 V6/3.8L                                              550                         24
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                Costco_002085
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      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING             (NOTES)            (NOTES)

   Mitsubishi Galant (continued)
   2003-99 V6/3.0L                                                          525                     86
   1998-94 L4/2.4L                                                          490                     —
   1993-90 L4/2.0L                                                          435                     51
   Mitsubishi i-MiEV
   2017-12                 Electric                                         370                     —
   Mitsubishi Lancer
   2017-04     L4/2.4L                                                      520                     35                35 AGM
   2017-03     L4/2.0L                                                      520                     35                35 AGM
   2015-13     L4/2.0L     Evolution                                        70045, 50               —
   2015-11     L4/2.0L     Ex Evolution                                     520                     35                35 AGM
   2013-08     L4/2.0L     Evolution                                        70050                   —
   2012-11     L4/2.4L     Ex Evolution                                     520                     35                35 AGM
   2009-08     L4/2.0L     ES, DE                                           520                     35                35 AGM
   2015        L4/2.0L     Evolution                                        70050                   —
   2009        L4/2.4L     GTS                                              520                     35                35 AGM
   2007        L4/2.0L                                                      550                     35                35 AGM
   2002        L4/2.0L                                                      435                     35                35 AGM
   Mitsubishi Mighty Max
   1996-95     L4/2.4L                                                      435                     51
   1994-91     L4/2.4L     RWD, Can                                         490                     24
   1994-91     L4/2.4L     RWD, US, 4WD All                                 435                     51
   1994-90     V6/3.0L                                                      490                     24
   1992-91     L4/2.4L     Opt                                              580                     24
   1992-91     V6/3.0L     Opt                                              580                     24
   1990        L4/2.4L     Can                                              580                     24
   1990        L4/2.4L     US                                               435                     51
   Mitsubishi Mirage
   2022-14     L3/1.2L                                                      355                     35                35 AGM
   2015-14     L3/1.2L                                                      360                     35                35 AGM
   2002-98     L4/1.5L                                                      435                     35                35 AGM
   2002-98     L4/1.8L                                                      435                     35                35 AGM
   1996-93     L4/1.5L                                                      430                     51
   1996-93     L4/1.8L                                                      430                     51
   1992-91     L4/1.6L                                                      355                     25
   1992-90     L4/1.5L                                                      355                     25
   1997        L4/1.5L                                                      435                     51R
   1997        L4/1.8L                                                      435                     51R
   Mitsubishi Mirage G4
   2022-17 L3/1.2L                                                          435                     35                35 AGM
   Mitsubishi Montero
   2006-03     V6/3.8L                                                      585                     24F               24F AGM
   2002-01     V6/3.5L                                                      585                     24F               24F AGM
   2000-94     V6/3.5L                                                      490                     24
   1996-90     V6/3.0L                                                      490                     24
   2002        V6/3.5L     Opt                                              675                     27F
   Mitsubishi Montero Sport
   2004-03     V6/3.5L                                                      585                     24
   2003-99     V6/3.5L     Opt                                              585                     24
   2003-97     V6/3.0L                                                      520                     25
   2003-97     V6/3.0L     Opt                                              585                     24
   2001-99     V6/3.5L                                                      520                     25
   1999-97     L4/2.4L                                                      520                     25
   1999-97     L4/2.4L     Opt                                              585                     24
   Mitsubishi Outlander
   2020-14     V6/3.0L                                                      585                     24F               24F AGM
   2020-08     L4/2.4L                                                      520                     35                35 AGM
   2013-12     V6/3.0L                                                      520                     35                35 AGM
   2005-04     L4/2.4L                                                      620                     24F               24F AGM
   2022        L4/2.5L                                                      72059                   —                 —
   2006        L4/2.4L     Opt                                              620                     24F               24F AGM
   2003        L4/2.4L                                                      520                     35                35 AGM
   Mitsubishi Outlander PHEV
   2022-21 L4/2.4L                                                          45, 50
                                                                                                    —                 —
   2020-18 L4/2.0L                                                          45, 50
                                                                                                    —                 —
   Mitsubishi Outlander Sport
   2022-15 L4/2.4L                                                          520                     35                35 AGM
   2022-11 L4/2.0L                                                          520                     35                35 AGM
   Mitsubishi Precis
   1994-90 L4/1.5L                                                          420                     25
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  YEAR      ENGINE                        OPTIONS                    ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                         CCA/RATING             (NOTES)          (NOTES)

Mitsubishi Raider
2009-06   V6/3.7L                                                  600                    65                65 AGM
2007-06   V8/4.7L                                                  600                    65                65 AGM
2006      V6/3.7L    Opt                                           650                    65                65 AGM
2006      V8/4.7L    Opt                                           650                    65                65 AGM
Mitsubishi RVR
2022-15 L4/2.4L                                                    520                    35                35 AGM
2022-11 L4/2.0L                                                    520                    35                35 AGM
Mitsubishi Sigma
1990      V6/3.0L                                                  490                    24
Mitsubishi Van
1990      L4/2.4L                                                  435                    51
Mobility Ventures MV-1
2017-15 V6/3.7L                                                    750                    65                65 AGM
2015    V8/4.6L                                                    760                    65                65 AGM
2014    V8/4.6L                                                    750                    65                65 AGM
Nissan 200SX
1998-95   L4/1.6L    Can                                           550                    24F               24F AGM
1998-95   L4/1.6L    US                                            490                    35                35 AGM
1998-95   L4/2.0L    Can & Opt                                     550                    24F               24F AGM
1998-95   L4/2.0L    US                                            490                    35                35 AGM
Nissan 240SX
1998-90 L4/2.4L      Can & Opt                                     415                    24
1998-90 L4/2.4L      US                                            360                    25
Nissan 300ZX
1996-93   V6/3.0L    AT                                            575                    24F               24F AGM
1996-93   V6/3.0L    Convertible                                   550                    35                35 AGM
1996-93   V6/3.0L    Ex Conv w/MT                                  415                    24F               24F AGM
1992-90   V6/3.0L    AT                                            585                    24F               24F AGM
1992-90   V6/3.0L    MT                                            415                    24F               24F AGM
1996      V6/3.0L    Ex Conv                                       575                    24F               24F AGM
Nissan 350Z
2009-03 V6/3.5L                                                    585                    35                35 AGM
Nissan 370Z
2020-09 V6/3.7L                                                    585                    35                35 AGM
Nissan Altima
2022-19   L4/2.0L                                                  51054, 59              —                 —
2022-19   L4/2.5L                                                  51054, 59              —                 —
2018-12   L4/2.5L                                                  550                    35                35 AGM
2018-07   V6/3.5L                                                  550                    35                35 AGM
2014-07   L4/2.5L    Ex Hybrid                                     550                    35                35 AGM
2011-07   L4/2.5L    Hybrid                                        70050                  —
2006-02   L4/2.5L                                                  550                    24F               24F AGM
2006-02   V6/3.5L                                                  550                    24F               24F AGM
2001-96   L4/2.4L                                                  550                    24F               24F AGM
1995-93   L4/2.4L    Can & Opt                                     585                    24F               24F AGM
1995-93   L4/2.4L    US                                            350                    35                35 AGM
Nissan Armada
2022-17 V8/5.6L                                                    780                    27
2015-05 V8/5.6L      TTPkg                                         710                    27F
2015-05 V8/5.6L      w/o TTPkg                                     650                    24F               24F AGM
Nissan Axxess
1992-90 L4/2.4L      Can                                           415                    24F               24F AGM
1990    L4/2.4L      US                                            350                    35                35 AGM
Nissan Cube
2014-09 L4/1.8L                                                    405                    35                35 AGM
Nissan D21
1994-92   L4/2.4L    US                                            360                    25
1994-92   V6/3.0L    US                                            360                    25
1993-92   L4/2.4L    Can                                           450                    24
1993-92   V6/3.0L    Can                                           450                    27
1991-90   L4/2.4L    Can & Opt                                     415                    24
1991-90   L4/2.4L    US                                            355                    25
1991-90   V6/3.0L    Can & Opt                                     450                    27
1991-90   V6/3.0L    US                                            355                    25
1994      L4/2.4L                                                  530                    24
1994      V6/3.0L                                                  530                    24
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      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Nissan Frontier
   2022-20     V6/3.8L                                                      51054, 59              —                 —
   2018-11     L4/2.5L                                                      550                    35                35 AGM
   2018-11     V6/4.0L                                                      550                    35                35 AGM
   2009-05     L4/2.5L                                                      550                    24F               24F AGM
   2009-05     V6/4.0L                                                      550                    24F               24F AGM
   2004-03     L4/2.4L                                                      490                    25
   2004-03     L4/2.4L     Opt                                              575                    24
   2004-03     V6/3.3L                                                      575                    24
   2002-99     V6/3.3L     Can                                              550                    24
   2002-99     V6/3.3L     US                                               490                    25
   2002-98     L4/2.4L     Can                                              550                    24
   2002-98     L4/2.4L     US                                               490                    25
   2002-01     L4/2.4L     Can & Opt                                        550                    24
   2019        L4/2.5L                                                      550                    —                 H5 (47) AGM
   2019        V6/4.0L                                                      550                    —                 H5 (47) AGM
   2010        L4/2.5L                                                      575                    24F               24F AGM
   2010        V6/4.0L                                                      575                    24F               24F AGM
   2004        V6/3.3L                                                      N/A                    24
   Nissan GT-R
   2020-10 V6/3.8L                                                          430                    51R
   2009    V6/3.8L                                                          435                    51R
   Nissan Juke
   2017-11 L4/1.6L                                                          570                    35                35 AGM
   2015-11 L4/1.6L                                                          550                    35                35 AGM
   Nissan Kicks
   2022-18 L4/1.6L                                                          51054, 59              —                 —
   Nissan Leaf
   2019-13                 Electric                                         410                    51
   Nissan Maxima
   2022-19     V6/3.5L                                                      550                    —                 H5 (47) AGM
   2018-16     V6/3.5L                                                      550                    35                35 AGM
   2014-09     V6/3.5L                                                      550                    35                35 AGM
   2008-04     V6/3.5L                                                      550                    24F               24F AGM
   2001-00     V6/3.0L                                                      585                    24F               24F AGM
   1999-95     V6/3.0L     Calif & Can                                      585                    24F               24F AGM
   1999-95     V6/3.0L     US, Ex Calif                                     360                    35                35 AGM
   1994-90     V6/3.0L                                                      350                    35                35 AGM
   1994-90     V6/3.0L     Can                                              585                    24F               24F AGM
   1994-90     V6/3.0L     Can & Opt                                        625                    27F
   2003        V6/3.5L                                                      445                    24F               24F AGM
   2002        V6/3.5L                                                      585                    24F               24F AGM
   Nissan Micra
   2019-15 L4/1.6L         Can                                              470                    —
   Nissan Murano
   2022-19     V6/3.5L                                                      550                    —                 H5 (47) AGM
   2018-16     V6/3.5L                                                      550                    35                35 AGM
   2016-09     V6/3.5L                                                      585                    35                35 AGM
   2006-04     V6/3.5L                                                      582                    35                35 AGM
   2006-04     V6/3.5L     w/Intelligent Key                                700                    24F               24F AGM
   2006-04     V6/3.5L     w/o Intelligent Key                              575                    24F               24F AGM
   2016        L4/2.5L     Hybrid                                           410                    51R
   2007        V6/3.5L     Ex Intelligent Key                               575                    24F               24F AGM
   2007        V6/3.5L     Intelligent Key                                  700                    24F               24F AGM
   2003        V6/3.5L                                                      490                    35                35 AGM
   Nissan NV1500
   2020-14 V6/4.0L                                                          650                    24F               24F AGM
   2013-12 V6/4.0L         w/o TTPkg                                        650                    24F               24F AGM
   2013-12 V6/4.0L         w/TTPkg                                          710                    27F
   Nissan NV200
   2021-13 L4/2.0L                                                          470                    121R
   2015-13 L4/2.0L                                                          470                    121R
   Nissan NV2500
   2021-17     V6/4.0L                                                      710                    27F               —
   2021-17     V8/5.6L                                                      710                    27F               —
   2016-13     V6/4.0L     TTPkg                                            710                    27F
   2016-13     V8/5.6L     TTPkg                                            710                    27F
   2016-12     V6/4.0L     w/o TTPkg                                        650                    24F               24F AGM
   2016-12     V6/4.0L     w/TTPkg                                          710                    27F
   2016-12     V8/5.6L     w/o TTPkg                                        650                    24F               24F AGM
   2016-12     V8/5.6L     w/TTPkg                                          710                    27F
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  YEAR      ENGINE                   OPTIONS                   ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

Nissan NV2500 (continued)
2016      V6/4.0L                                            650                    24F               24F AGM
2016      V8/5.6L                                            650                    24F               24F AGM
Nissan NV3500
2021-17   V6/4.0L                                            710                    27F               —
2021-17   V8/5.6L                                            710                    27F               —
2016-12   V6/4.0L    w/o TTPkg                               650                    24F               24F AGM
2016-12   V6/4.0L    w/TTPkg                                 710                    27F
2016-12   V8/5.6L    w/o TTPkg                               650                    24F               24F AGM
2016-12   V8/5.6L    w/TTPkg                                 710                    27F
2016      V6/4.0L                                            650                    24F               24F AGM
2016      V6/4.0L    TTPkg                                   710                    27F
2016      V8/5.6L                                            650                    24F               24F AGM
2016      V8/5.6L    TTPkg                                   710                    27F
Nissan NX, Pulsar NX
1993-91   L4/1.6L    Can                                     415                    24F               24F AGM
1993-91   L4/2.0L    Can & Opt                               585                    24F               24F AGM
1993-91   L4/2.0L    US                                      350                    35                35 AGM
1993-83   L4/1.6L    US                                      350                    35                35 AGM
1990      L4/1.6L    Can & Opt                               415                    24F               24F AGM
Nissan 3DWKğQGHU
2023-22   V6/3.5L                                            72033                  H7 (94R) AGM
2020-19   V6/3.5L                                            550                    —                 H5 (47) AGM
2017-13   V6/3.5L                                            550                    35                35 AGM
2012-10   V6/4.0L                                            550                    35                35 AGM
2012-08   V8/5.6L                                            650                    24F               24F AGM
2009-07   V6/4.0L                                            550                    24F               24F AGM
2006-05   V6/4.0L                                            700                    24F               24F AGM
2004-03   V6/3.5L                                            455                    24
2002-01   V6/3.5L                                            360                    25
2002-01   V6/3.5L    Can & Opt                               450                    27
2002-01   V6/3.5L    Opt                                     450                    27
2002-01   V6/3.5L    US                                      360                    25
2000-96   V6/3.3L                                            360                    25
2000-96   V6/3.3L    Can & Opt                               450                    27
1995-92   V6/3.0L    Can                                     450                    27
1995-92   V6/3.0L    US                                      360                    25
1991-90   V6/3.0L    Can & Opt                               450                    27
1991-90   V6/3.0L    US                                      355                    25
Nissan 3DWKğQGHU$UPDGD
2004      V8/5.6L                                            700                    24F               24F AGM
2004      V8/5.6L    Opt                                     710                    27F
Nissan Pickup
1997-95   L4/2.4L    Can                                     525                    24
1997-95   L4/2.4L    US                                      360                    25
1995      V6/3.0L    Can                                     525                    24
1995      V6/3.0L    US                                      360                    25
Nissan Qashqai
2019      L4/2.0L    Canada                                  51054, 59              —                 —
Nissan Quest
2017-11   V6/3.5L                                            550                    24F               24F AGM
2009-04   V6/3.5L                                            550                    24F               24F AGM
2002-99   V6/3.3L                                            450                    35                35 AGM
2002-99   V6/3.3L    Can & Opt                               525                    24F               24F AGM
1998-93   V6/3.0L    Can & Opt                               525                    24F               24F AGM
1998-93   V6/3.0L    US                                      450                    35                35 AGM
Nissan Rogue
2020-19   L4/2.5L                                            585                    35                35 AGM
2018-17   L4/2.5L                                            550                    35                35 AGM
2016-08   L4/2.5L                                            585                    35                35 AGM
2022      L4/1.5L                                            72059                  —                 —
2021      L4/2.5L                                            72059                  —                 —
2019      L4/2.0L    Hybrid                                  77050                  —                 —
Nissan Rogue Select
2015-14 L4/2.5L                                              585                    35                35 AGM
Nissan Rogue Sport
2020-19 L4/2.0L                                              51054, 59              —                 —
Nissan Sentra
2022-20 L4/2.0L                                              51059                  —                 —
2019-18 L4/1.6L                                              550                    35                35 AGM
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

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      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)            (NOTES)

   Nissan Sentra (continued)
   2019-18     L4/1.8L                                                      550                    35                35 AGM
   2017-13     L4/1.8L                                                      470                    35                35 AGM
   2012-08     L4/2.5L                                                      550                    40R
   2012-07     L4/2.0L                                                      470                    35                35 AGM
   2012-07     L4/2.5L     SE-R                                             590                    40R
   2008-06     L4/2.5L                                                      550                    35                35 AGM
   2005-03     L4/2.5L                                                      355                    35                35 AGM
   2005-00     L4/1.8L                                                      355                    35                35 AGM
   2000-99     L4/2.0L                                                      490                    35                35 AGM
   1998-95     L4/1.6L     Can                                              550                    24F               24F AGM
   1998-95     L4/1.6L     US                                               490                    35                35 AGM
   1994-91     L4/2.0L     Can & Opt                                        585                    24F               24F AGM
   1994-91     L4/2.0L     US                                               350                    35                35 AGM
   1994-90     L4/1.6L     Can & Opt                                        415                    24F               24F AGM
   1994-90     L4/1.6L     US                                               350                    35                35 AGM
   2006        L4/1.8L                                                      550                    35                35 AGM
   2002        L4/2.5L                                                      490                    35                35 AGM
   2001        L4/2.0L                                                      490                    35                35 AGM
   1999        L4/1.6L                                                      490                    35                35 AGM
   1998        L4/2.0L     Can                                              550                    24F               24F AGM
   1998        L4/2.0L     US                                               490                    35                35 AGM
   Nissan Stanza
   1992-90 L4/2.4L                                                          350                    35                35 AGM
   1992-90 L4/2.4L         Can & Opt                                        415                    24F               24F AGM
   Nissan Titan
   2022-17     V8/5.6L                                                      72059                  —                 —
   2015-14     V8/5.6L     w/TTPkg                                          710                    27F
   2015-10     V8/5.6L     w/o TTPkg                                        650                    24F               24F AGM
   2015-06     V8/5.6L     TTPkg                                            710                    27F
   2013-04     V8/5.6L                                                      650                    24F               24F AGM
   2008        V8/5.6L     Ex Flex Fuel & Ex TTPkg                          650                    24F               24F AGM
   2008        V8/5.6L     Flex                                             710                    27F
   2008        V8/5.6L     Flex Fuel or TTPkg                               710                    27F
   2008        V8/5.6L     Gas                                              650                    24F               24F AGM
   2006        V8/5.6L     TTPkg or HD                                      710                    27F
   2006        V8/5.6L     w/o TTPkg                                        650                    24F               24F AGM
   Nissan Titan XD
   2021-19 V8/5.6L                                                          650                    24F               24F AGM
   2019-16 V8/5.0L         Dsl                                              5502                   35                35 AGM
   2018-16 V8/5.6L                                                          780                    27
   Nissan Versa
   2022-20     L4/1.6L                                                      51054, 59              —                 —
   2019-12     L4/1.6L     CVT-Transmission                                 410                    51R
   2018-13     L4/1.6L     Ex CVT                                           47045                  —
   2012-10     L4/1.6L     Ex CVT                                           470                    90 (T5)
   2012-10     L4/1.8L     Ex CVT                                           470                    90 (T5)
   2012-09     L4/1.6L     Ex CVT                                           470                    —
   2012-09     L4/1.8L     w/CVT                                            41045                  51R
   2012-07     L4/1.8L     Ex CVT                                           470                    —
   2008-07     L4/1.8L     CVT-Transmission                                 410                    51R
   2008-07     L4/1.8L     Ex CVT                                           470                    90 (T5)
   2019        L4/1.6L     Ex CVT                                           470                    —
   2012        L4/1.6L     w/CVT                                            50045                  51R
   Nissan Versa Note
   2019-14 L4/1.6L                                                          470                    —
   Nissan Xterra
   2015-10     V6/4.0L                                                      550                    35                35 AGM
   2009-05     V6/4.0L                                                      550                    24F               24F AGM
   2004-00     V6/3.3L                                                      490                    25
   2003-00     L4/2.4L     Can & Opt                                        550                    24
   2003-00     L4/2.4L     US                                               490                    25
   2003-00     V6/3.3L     Can & Opt                                        550                    24
   2004        L4/2.4L                                                      490                    25
   2004        L4/2.4L     Opt                                              550                    24
   2004        V6/3.3L     Opt                                              550                    24
   Nissan X-Trail
   2006        L4/2.5L     Can                                              550                    24F               24F AGM
   2005        L4/2.5L     US                                               550                    35                35 AGM
   Oldsmobile 442
   1969-68 V8/6.6L                                                          380                    24
   1969-68 V8/7.5L                                                          380                    24
   See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                               Costco_002090
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  YEAR      ENGINE                                     OPTIONS                   ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                                     CCA/RATING             (NOTES)          (NOTES)

Oldsmobile 442 (continued)
1966-65 V8/6.6L                                                                N/A                    27
1967    V8/6.6L                                                                N/A                    24
Oldsmobile 88
1999-95   V6/3.8L    Ex HWS                                                    690                    78
1997-92   V6/3.8L    HD or w/HWS                                               770                    78
1994-92   V6/3.8L                                                              630                    75
1995      V6/3.8L    w/HWS                                                     770                    78
1994      V6/3.8L    HD or HWS                                                 770                    78
Oldsmobile 98
1996-95   V6/3.8L                                                              690                    78
1996-91   V6/3.8L    HD or w/HWS                                               770                    78
1993-85   V6/3.8L                                                              630                    75
1990-85   V6/3.8L    Opt                                                       770                    78
1994      V6/3.8L                                                              600                    78
1992      V6/3.8L    Opt                                                       770                    78
1991      V6/3.8L    HD or HWS                                                 770                    78
Oldsmobile Achieva
1998-96   L4/2.4L                                                              600                    75
1998-94   V6/3.1L                                                              600                    75
1995-92   L4/2.3L                                                              600                    75
1993-92   V6/3.3L                                                              600                    75
Oldsmobile Alero
2004-99   V6/3.4L                                                              600                    75
2003-02   L4/2.2L                                                              600                    75
2001-99   L4/2.4L                                                              600                    75
2004      L4/2.2L                                                              525                    75
Oldsmobile Aurora
2003-01   V8/4.0L                                                              77050                  100
2002-01   V6/3.5L                                                              77050                  100
1999-98   V8/4.0L                                                              84050                  79
1997-95   V8/4.0L                                                              97050                  —
Oldsmobile Bravada
2004-02   L6/4.2L                                                              600                    78
2001-96   V6/4.3L    Opt                                                       690                    —
2001-91   V6/4.3L                                                              525                    75
1993-91   V6/4.3L    Opt                                                       630                    78
1994      V6/4.3L    Opt                                                       600                    78
Oldsmobile Custom Cruiser, Delta 88, Regency
1998-97   V6/3.8L                                                              690                    78
1992-90   V8/5.0L                                                              525                    75
1991-90   V6/3.8L    Opt                                                       730                    78
1991-87   V8/5.0L    Opt                                                       570                    75
1991-86   V6/3.8L                                                              630                    75
1997      V6/3.8L    HD or w/HWS                                               770                    78
1992      V8/5.7L                                                              525                    75
1991      V6/3.8L    HD or w/HWS                                               770                    78
Oldsmobile Cutlass Calais
1991-90 L4/2.3L                                                                630                    75
1991-89 V6/3.3L                                                                630                    75
1991-88 L4/2.5L                                                                630                    75
Oldsmobile Cutlass, Cutlass Ciera, Cutlass Cruiser, Cutlass Supreme
1999-98   V6/3.1L                                                              600                    75
1997-96   V6/3.1L                                                              600                    78
1996-94   L4/2.2L                                                              525                    75
1994-91   V6/3.4L                                                              690                    —
1994-90   V6/3.1L                                                              525                    75
1993-89   V6/3.3L                                                              630                    75
1992-84   L4/2.5L                                                              630                    75
1991-90   L4/2.3L                                                              630                    75
1969-68   V8/5.7L                                                              350                    24
1968-67   V8/6.6L                                                              350                    24
1967-66   V8/5.4L                                                              350                    24
1966-65   V8/6.6L                                                              N/A                    27
1965-64   V8/5.4L                                                              380                    24
1996      V6/3.4L                                                              690                    78
1995      V6/3.1L    Early                                                     525                    75
1995      V6/3.1L    Late Incl Supreme                                         600                    78
1995      V6/3.4L    Early                                                     690                    —
1995      V6/3.4L    Late Incl Supreme                                         690                    78
1994      V6/3.1L                                                              630                    75
                                                                              See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                             Costco_002091
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   Automotive/Light Truck                                                                                                    127
      YEAR        ENGINE                                          OPTIONS             ORIGINAL EQUIPMENT        GROUP SIZE    ALTERNATE SIZE
                                                                                          CCA/RATING             (NOTES)         (NOTES)

   Oldsmobile Cutlass, Cutlass Ciera, Cutlass Cruiser, Cutlass Supreme (continued)
   1993        L4/2.2L                                                               630                   75
   1968        V8/6.6L                                                               400                   24
   1967        V8/5.4L                                                               N/A                   24
   Oldsmobile Delta 88 (See Custom Cruiser, Delta 88, Regency)
   Oldsmobile Intrigue
   2002-99 V6/3.5L                                                                   690                   78
   1999-98 V6/3.8L                                                                   690                   78
   Oldsmobile LSS
   1999-96 V6/3.8L                                                                   690                   78
   Oldsmobile Regency (See Custom Cruiser, Delta 88, Regency)
   Oldsmobile Silhouette
   2004-97     V6/3.4L                                                               600                   78
   1995-92     V6/3.8L                                                               630                   75
   1994-90     V6/3.1L                                                               525                   75
   1996        V6/3.4L                                                               525                   75
   Oldsmobile Toronado
   1992-91 V6/3.8L                                                                   770                   78
   1990    V6/3.8L                                                                   730                   78
   Panoz AIV Roadster
   2000-99 V8/4.6L                                                                   580                   —
   Panoz Esperante
   2007-01 V8/4.6L                                                                   580                   —
   Peugeot 405
   1991-90 L4/1.9L                                                                   420                   24
   Peugeot 505
   1991-90     L4/2.2L     Ex Turbo                                                  6606                  H6 (48)           H6 (48) AGM
   1991-90     L4/2.2L     Turbo                                                     4955                  H6 (48)           H6 (48) AGM
   1990        L4/2.2L                                                               4956                  H6 (48)           H6 (48) AGM
   1990        V6/2.8L                                                               660                   H6 (48)           H6 (48) AGM
   Plymouth Acclaim
   1995-92 L4/2.5L                                                                   600                   34
   1995-90 V6/3.0L                                                                   500                   34
   1991-90 L4/2.5L                                                                   500                   34
   Plymouth Barracuda
   1974-66     V8/5.2L                                                               325                   24
   1974-64     V8/5.9L                                                               325                   24
   1973-68     V8/5.6L                                                               325                   24
   1972-71     V8/7.2L                                                               325                   24
   1972-64     L6/3.7L                                                               325                   24
   1971-70     L6/3.2L                                                               325                   24
   1970-67     V8/6.3L                                                               440                   27
   1969-68     V8/7.0L                                                               440                   27
   1968-64     V8/4.5L                                                               325                   24
   1966-64     L6/2.8L                                                               325                   24
   1974        V8/5.9L                                                               305                   24
   1971        V8/6.3L                                                               325                   24
   1971        V8/7.0L                                                               325                   24
   Plymouth Belvedere
   1970-64 V8/6.3L                                                                   440                   27
   Plymouth Breeze
   2000-97 L4/2.4L                                                                   510                   75
   2000-96 L4/2.0L                                                                   510                   75
   1996    L4/2.4L                                                                   575                   75
   Plymouth Colt
   1995-93     L4/1.5L     US                                                        435                   51
   1994-93     L4/1.5L     Can                                                       580                   24
   1994-93     L4/1.8L     Can                                                       580                   24
   1994-92     L4/2.4L     HD or Can                                                 580                   24
   1994-92     L4/2.4L     US                                                        490                   24
   1992-91     L4/1.5L     Opt                                                       430                   25
   1992-91     L4/1.5L     US                                                        355                   25
   1991-90     L4/1.5L     Can                                                       420                   25
   1991-90     L4/2.0L     Can                                                       420                   25
   1991-90     L4/2.0L     US                                                        435                   51
   1994        L4/1.8L     US                                                        435                   25
   1992        L4/1.5L     Can, Ex Wagon                                             420                   25
   1992        L4/1.8L     Can, Ex Wagon                                             420                   25
   1992        L4/1.8L     Opt                                                       430                   25
   See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                    Costco_002092
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  YEAR      ENGINE                         OPTIONS                    ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                          CCA/RATING             (NOTES)          (NOTES)

Plymouth Colt (continued)
1992      L4/1.8L    US                                             350                    51
1992      L4/1.8L    Wagon                                          580                    24
1992      L4/2.4L    Can                                            580                    24
1992      L4/2.4L    Can, Ex Wagon                                  420                    25
1992      L4/2.4L    Opt                                            430                    25
1992      L4/2.4L    Wagon                                          580                    24
1990      L4/1.5L    Ex Wagon                                       355                    25
1990      L4/1.5L    Wagon                                          435                    51
1990      L4/1.6L                                                   435                    51
1990      L4/1.6L    Can                                            420                    25
1990      L4/1.8L    Wagon                                          435                    51
Plymouth Cuda
1974-73   V8/5.2L                                                   305                    24
1972-70   V8/5.6L                                                   305                    25
1972-70   V8/5.6L    Opt                                            375                    24
1971-70   V8/6.3L                                                   375                    24
1971-70   V8/6.3L    Opt                                            440                    27
1971-70   V8/7.0L                                                   440                    27
1971-70   V8/7.2L                                                   440                    27
1974      V8/5.2L    Opt                                            375                    24
1974      V8/5.9L                                                   305                    24
1974      V8/5.9L    Opt                                            375                    24
1973      V8/5.2L    Opt                                            440                    24
1973      V8/5.6L                                                   305                    24
1973      V8/5.6L    Opt                                            440                    24
1972      V8/5.6L    Opt                                            440                    27
Plymouth Duster
1976-74   V8/5.9L                                                   370                    24
1976-74   V8/5.9L    Opt                                            460                    24
1976-70   V8/5.2L                                                   370                    24
1976-70   V8/5.2L    Opt                                            460                    24
1973-70   V8/5.6L                                                   370                    24
1973-70   V8/5.6L    Opt                                            460                    24
1974      V8/5.9L                                                   305                    24
Plymouth Grand Voyager, Voyager
2000-96   L4/2.4L                                                   600                    34
2000-90   V6/3.0L                                                   500                    34
2000-90   V6/3.3L                                                   500                    34
1999-96   L4/2.4L    Opt                                            685                    34
1999-94   V6/3.8L                                                   600                    34
1999-94   V6/3.8L    Opt                                            685                    34
1999-91   V6/3.0L    Opt                                            685                    34
1999-91   V6/3.3L    Opt                                            685                    34
1995-92   L4/2.5L                                                   600                    34
1995-91   L4/2.5L    Opt                                            685                    34
1991-90   L4/2.5L                                                   500                    34
1990      L4/2.5L    Opt                                            625                    34
1990      V6/3.0L    Opt                                            625                    34
1990      V6/3.3L    Opt                                            625                    34
Plymouth Horizon
1990      L4/2.2L                                                   430                    34
Plymouth Laser
1994-90 L4/1.8L                                                     430                    86
1994-90 L4/2.0L      Can                                            525                    86
1994-90 L4/2.0L      US                                             430                    86
Plymouth Neon
2001-00 L4/2.0L                                                     450                    26R
2001-00 L4/2.0L      Opt                                            540                    26R
1999-95 L4/2.0L                                                     45035                  58
Plymouth Prowler
2001-99 V6/3.5L                                                     525                    34
1997    V6/3.5L                                                     525                    34
Plymouth Road Runner
1974-73   V8/5.2L                                                   440                    27
1974-73   V8/6.6L                                                   440                    27
1974-73   V8/7.2L                                                   440                    27
1972-71   V8/5.6L                                                   400                    24
1972-70   V8/7.2L                                                   400                    24
                                                                   See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                  Costco_002093
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   Automotive/Light Truck                                                                                            129
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE   ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)        (NOTES)

   Plymouth Road Runner (continued)
   1970-68     V8/6.3L                                                      440                    27
   1970-68     V8/7.0L                                                      440                    27
   1974        V8/5.9L                                                      440                    27
   1973        V8/5.6L                                                      375                    24
   1972        V8/5.2L                                                      400                    24
   1972        V8/6.6L                                                      400                    24
   1971        V8/6.3L                                                      400                    24
   1971        V8/7.0L                                                      400                    24
   1969        V8/7.2L                                                      440                    27
   1968        V8/4.5L                                                      400                    24
   1968        V8/5.2L                                                      400                    24
   Plymouth Satellite
   1967-66 V8/7.2L                                                          N/A                    27
   1967-65 V8/7.0L                                                          N/A                    27
   Plymouth Sundance
   1994-93     V6/3.0L                                                      500                    34
   1994-92     L4/2.5L                                                      600                    34
   1994-90     L4/2.2L                                                      500                    34
   1992        V6/3.0L                                                      600                    34
   1991        L4/2.5L                                                      625                    34
   1990        L4/2.5L                                                      500                    34
   Plymouth Superbird
   1970        V8/7.2L                                                      440                    27
   Plymouth Voyager (See Grand Voyager, Voyager)
   Pontiac 6000, Grand Am
   2005-99     V6/3.4L                                                      600                    75
   2005-02     L4/2.2L                                                      600                    75
   2001-96     L4/2.4L                                                      600                    75
   1998-94     V6/3.1L                                                      600                    75
   1995-93     L4/2.3L                                                      600                    75
   1992-88     L4/2.3L                                                      630                    75
   1991-90     V6/3.1L     Can & Opt                                        630                    75
   1991-88     V6/3.1L                                                      525                    75
   1991-85     L4/2.5L                                                      630                    75
   2004        L4/2.2L                                                      525                    75
   1993        V6/3.3L                                                      600                    75
   1992        V6/3.3L                                                      630                    75
   Pontiac Aztek
   2005-01 V6/3.4L                                                          600                    78
   Pontiac Bonneville
   2005-04     V8/4.6L                                                      77050                  100
   2005-02     V6/3.8L                                                      77050                  100
   2003-02     V6/3.8L     S/C                                              80050, 51              79
   2001-00     V6/3.8L                                                      84050, 51              79
   1999-98     V6/3.8L     S/C                                              770                    78
   1999-95     V6/3.8L     Ex S/C                                           690                    78
   1997-92     V6/3.8L     Opt                                              770                    78
   1994-86     V6/3.8L                                                      630                    75
   1968-67     V8/7.0L                                                      350                    27
   1965-63     V8/6.9L                                                      350                    27
   1965-59     V8/6.4L                                                      350                    27
   1990        V6/3.8L     Opt                                              730                    78
   1969        V8/7.0L                                                      325                    24
   1968        V8/6.6L     w/High Comp                                      350                    24
   1967        V8/6.6L                                                      350                    27
   1967        V8/7.0L     Opt                                              350                    27
   1966        V8/6.4L                                                      350                    27
   1966        V8/6.4L     Opt                                              350                    27
   1966        V8/6.9L                                                      325                    24
   Pontiac Catalina
   1968-67     V8/6.6L                                                      250                    26R
   1968-67     V8/6.6L     Opt                                              350                    27
   1968-67     V8/7.0L                                                      250                    26R
   1968-67     V8/7.0L     Opt                                              350                    27
   1969        V8/7.0L                                                      325                    24
   1966        V8/6.4L                                                      250                    26R
   1966        V8/6.4L     Opt                                              350                    27
   Pontiac Firebird
   2002-95 V6/3.8L                                                          690                    —
   2002-93 V8/5.7L                                                          525                    75
   See page 158 for Footnotes. Selection may vary by warehouse.

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130                                               Automotive/Light Truck
  YEAR      ENGINE                      OPTIONS                ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)          (NOTES)

Pontiac Firebird (continued)
1995-93   V6/3.4L                                            525                    75
1992-90   V6/3.1L                                            525                    75
1992-90   V8/5.0L    AT                                      570                    75
1992-90   V8/5.0L    MT                                      525                    75
1992-87   V8/5.7L                                            630                    75
1979-78   V6/3.8L    Opt                                     450                    78
1979-78   V8/5.0L                                            350                    75
1979-78   V8/5.0L    Opt                                     450                    78
1979-78   V8/5.7L                                            350                    75
1979-78   V8/5.7L    Opt                                     450                    78
1979-78   V8/6.6L                                            430                    75
1979-78   V8/6.6L    Opt                                     450                    78
1977-73   V8/5.7L                                            450                    78
1977-73   V8/6.6L                                            450                    78
1976-73   L6/4.1L                                            450                    78
1976-73   V8/7.5L                                            450                    78
1972-71   V8/7.5L                                            325                    24
1972-68   L6/4.1L                                            325                    24
1972-68   V8/5.7L                                            325                    24
1972-67   V8/6.6L                                            325                    24
1979      V8/4.9L                                            350                    75
1979      V8/4.9L    Opt                                     450                    78
1977      V8/4.9L                                            450                    78
1977      V8/5.0L                                            450                    78
1967      L6/3.8L                                            350                    —
Pontiac )LUHĠ\
2000-95   L3/1.0L                                            390                    26R
2000-94   L4/1.3L                                            390                    26R
1991-90   L3/1.0L                                            440                    —
1994      L3/1.0L                                            390                    —
Pontiac G3
2010-09 L4/1.6L                                              590                    86
Pontiac G3 Wave
2009      L4/1.6L                                            550                    86
Pontiac G5, Pursuit
2010-09 L4/2.2L                                              59050                  90 (T5)
2008-06 L4/2.4L                                              600                    90 (T5)
2008-05 L4/2.2L                                              60050                  90 (T5)
Pontiac G6
2010-08   L4/2.4L                                            590                    90 (T5)
2010-08   V6/3.5L                                            590                    90 (T5)
2009-08   V6/3.6L                                            590                    90 (T5)
2009-08   V6/3.9L                                            590                    90 (T5)
2007-06   L4/2.4L                                            525                    75
2007-06   V6/3.9L                                            525                    75
2007-05   V6/3.5L                                            525                    75
2007      V6/3.6L                                            525                    75
Pontiac G8
2009      V6/3.6L                                            72050                  H7 (94R)          H7 (94R) AGM
2009      V8/6.0L                                            72050                  H7 (94R)          H7 (94R) AGM
2009      V8/6.2L                                            72050                  H7 (94R)          H7 (94R) AGM
2008      V6/3.6L                                            70050                  H7 (94R)          H7 (94R) AGM
2008      V8/6.0L                                            70050                  H7 (94R)          H7 (94R) AGM
Pontiac Grand Am (See 6000, Grand Am)
Pontiac Grand Prix
2008-06   V6/3.8L    w/AGM                                   69033                  34                 —
2007-05   V8/5.3L                                            625                    —
2005-04   V6/3.8L    w/AGM                                   68033                  34                 —
2003-97   V6/3.8L    Ex S/C                                  690                    78
2003-97   V6/3.8L    S/C                                     770                    78
2003-96   V6/3.1L                                            600                    78
1994-91   V6/3.4L                                            690                    —
1994-90   V6/3.1L                                            525                    75
1991-90   L4/2.3L                                            630                    75
1977-76   V8/5.7L                                            350                    75
1977-76   V8/6.6L                                            350                    75
1975-73   V8/6.6L                                            450                    24
1975-73   V8/6.6L    Side Terminal                           450                    78
1975-73   V8/7.5L                                            450                    24
1975-73   V8/7.5L    Side Terminal                           450                    78
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                           131
      YEAR        ENGINE                                          OPTIONS    ORIGINAL EQUIPMENT        GROUP SIZE    ALTERNATE SIZE
                                                                                 CCA/RATING             (NOTES)         (NOTES)

   Pontiac Grand Prix (continued)
   1972-70     V8/7.5L                                                      325                   24
   1972-69     V8/6.6L                                                      325                   24
   1968-67     V8/6.6L                                                      350                   27
   1968-67     V8/7.0L                                                      350                   27
   1965-63     V8/6.9L                                                      350                   27
   1965-63     V8/6.9L     Opt                                              N/A                   27
   2008        V8/5.3L                                                      590                   —
   1996        V6/3.4L                                                      690                   78
   1995        V6/3.1L     Early                                            525                   75
   1995        V6/3.1L     Late                                             600                   78
   1995        V6/3.4L     Early                                            690                   —
   1995        V6/3.4L     Late                                             690                   78
   1977        V8/4.9L                                                      350                   75
   1977        V8/6.6L                                                      450                   78
   1976        V8/7.5L                                                      450                   78
   1969        V8/7.0L                                                      325                   24
   1967        V8/7.0L     Opt                                              350                   27
   1966        V8/6.4L                                                      350                   27
   1966        V8/6.9L                                                      250                   26R
   1966        V8/6.9L     Opt                                              350                   27
   Pontiac GTO, Tempest
   2006-05     V8/6.0L                                                      600                   —
   1991-90     L4/2.2L     AT & Opt                                         630                   75
   1991-90     L4/2.2L     MT                                               525                   75
   1991-90     V6/3.1L     AT                                               630                   75
   1991-90     V6/3.1L     MT                                               525                   75
   1973-71     V8/6.6L                                                      465                   78
   1973-71     V8/7.5L                                                      465                   78
   1970-68     L6/4.1L                                                      250                   26R
   1970-68     V8/5.7L                                                      325                   24
   1970-67     V8/6.6L                                                      325                   24
   1967-63     V8/5.3L                                                      325                   24
   1966-64     V8/6.4L                                                      325                   24
   2004        V8/5.7L                                                      600                   —
   1970        V8/7.5L                                                      325                   24
   Pontiac LeMans, Optima
   1993-90 L4/1.6L                                                          550                   —
   1990    L4/2.0L                                                          550                   —
   1990    L4/2.0L         AT                                               630                   —
   Pontiac Montana
   2009-06 V6/3.9L                                                          600                   34
   2006-05 V6/3.5L                                                          600                   34
   2005-99 V6/3.4L                                                          600                   78
   Pontiac Solstice
   2009-08     L4/2.0L                                                      590                   86
   2009-08     L4/2.4L                                                      590                   86
   2007        L4/2.0L                                                      640                   86
   2007        L4/2.4L                                                      640                   86
   2006        L4/2.4L                                                      590                   86
   Pontiac Sunbird
   1994-92 V6/3.1L                                                          525                   75
   1994-88 L4/2.0L                                                          630                   75
   1991    V6/3.1L                                                          630                   75
   Pontiac 6XQğUH
   2005-95     L4/2.2L                                                      525                   75
   2001-96     L4/2.4L                                                      600                   75
   2002        L4/2.4L                                                      525                   75
   1995        L4/2.3L                                                      600                   75
   Pontiac Sunrunner
   1997-95 L4/1.6L                                                          390                   26R
   1994    L4/1.6L                                                          500                   —
   Pontiac Tempest (See GTO, Tempest)
   Pontiac Torrent
   2009-08 V6/3.6L                                                          650                   —                 H5 (47) AGM
   2009-07 V6/3.4L                                                          650                   —                 H5 (47) AGM
   2006    V6/3.4L                                                          600                   75
   Pontiac Trans Sport
   1999-97 V6/3.4L                                                          600                   78
   1995-92 V6/3.8L                                                          630                   75
   1995-90 V6/3.1L                                                          525                   75
   1996       V6/3.4L                                                       525                   75
   See page 158 for Footnotes. Selection may vary by warehouse.

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   YEAR        ENGINE                                                         OPTIONS                ORIGINAL EQUIPMENT         GROUP SIZE       ALTERNATE SIZE
                                                                                                         CCA/RATING              (NOTES)            (NOTES)

Pontiac Vibe
2010-09 L4/2.4L                                                                                  575                       24F               24F AGM
2008-03 L4/1.8L                                                                                  550                       35                35 AGM
Pontiac Wave, Wave 5
2008-05 L4/1.6L                                                                                  550                       86
2007-05 L4/1.6L                                                                                  590                       86
Porsche 918
2015        V8/4.6L      Hybrid, Li-ion only                                                     —                         —                 —
Porsche 718 Boxster
2022-21 H6/4.0L          PR Code 195                                                             70 Ah                     H6 (48) AGM       —
2020-17 H4/2.0L          PR Code 195                                                             70 Ah                     H6 (48) AGM       —
2020-17 H4/2.0L          PR Code 195                                                             70 Ah                     H6 (48) AGM       —
Porsche 718 Cayman
2022-21     H6/4.0L      PR Code 195                                                             70 Ah                     H6 (48) AGM       —
2020-17     H4/2.0L      PR Code 195                                                             70 Ah                     H6 (48) AGM       —
2020-17     H4/2.5L      PR Code 195                                                             70 Ah                     H6 (48) AGM       —
2020        H4/2.0L      PR Code 195                                                             70 Ah                     H6 (48) AGM       —
Porsche 911
2019-17     H6/3.0L      PR Code 195                                                             70 Ah33, 50, 55, 56, 58   H6 (48) AGM       —
2019-17     H6/3.0L      PR Code 196                                                             80 Ah33, 50, 55, 56, 58   H7 (94R) AGM      —
2019-17     H6/3.0L      PR Code 200                                                             95 Ah33, 50, 55, 56, 58   H8 (49) AGM       —
2019-17     H6/3.8L      PR Code 195                                                             70 Ah33, 50, 55, 56, 58   H6 (48) AGM       —
2019-17     H6/3.8L      PR Code 196                                                             80 Ah33, 50, 55, 56, 58   H7 (94R) AGM      —
2019-17     H6/3.8L      PR Code 200                                                             95 Ah33, 50, 55, 56, 58   H8 (49) AGM       —
2019-17     H6/4.0L      PR Code 195                                                             70 Ah33, 50, 55, 56, 58   H6 (48) AGM       —
2019-17     H6/4.0L      PR Code 196                                                             80 Ah33, 50, 55, 56, 58   H7 (94R) AGM      —
2019-17     H6/4.0L      PR Code 200                                                             95 Ah33, 50, 55, 56, 58   H8 (49) AGM       —
2016        H6/4.0L      —                                                                       74050                     H8 (49)           H8 (49) AGM
2016-12     H6/3.4L      —                                                                       74050                     H8 (49)           H8 (49) AGM
2016-10     H6/3.8L      —                                                                       74050                     H8 (49)           H8 (49) AGM
2012-10     H6/3.6L      —                                                                       74050                     H8 (49)           H8 (49) AGM
2012-10     H6/3.8L      Option 1                                                                74050                     H8 (49)           H8 (49) AGM
2012-09     H6/3.6L      Option 1                                                                74050                     H8 (49)           H8 (49) AGM
2009-05     H6/3.6L      —                                                                       74050                     H7 (94R)          H7 (94R) AGM
2009-05     H6/3.8L      —                                                                       74050                     H7 (94R)          H7 (94R) AGM
2004-02     H6/3.6L      Ex GT2                                                                  650—                      H7 (94R)          H7 (94R) AGM
2004-02     H6/3.6L      Ex GT2                                                                  7409, 50                  H7 (94R)          H7 (94R) AGM
2004-02     H6/3.6L      GT2                                                                     6509, 50                  —                 —
2004-01     H6/3.6L      GT2                                                                     65050                     H6 (48)           H6 (48) AGM
2001-99     H6/3.4L      —                                                                       65050                     H6 (48)           H6 (48) AGM
1998-90     H6/3.6L      —                                                                       65050                     H6 (48)           H6 (48) AGM
2012        H6/3.4L      Option 1                                                                74050                     H8 (49)           H8 (49) AGM
2011        H6/4.0L      —                                                                       74050                     H8 (49)           H8 (49) AGM
2001        H6/3.6L      Ex GT2                                                                  65050                     —                 —
1992        H6/3.3L      —                                                                       65054                     H6 (48)           H6 (48) AGM
1991        H6/3.3L      Turbo                                                                   65054                     H6 (48)           H6 (48) AGM
Porsche 928
1995-93 V8/5.4L                                                                                  650                       H6 (48)           H6 (48) AGM
1991-90 V8/5.0L                                                                                  650                       H6 (48)           H6 (48) AGM
Porsche 968
1995-92 L4/3.0L                                                                                  600                       —
Porsche Boxster
2016-13     H6/2.7L      PR Code 195                                                             70 Ah33, 50, 55, 56, 58  H6 (48) AGM      —
2016-13     H6/2.7L      PR Code 196                                                             80 Ah33, 50, 55, 56, 58  H7 (94R) AGM —
2016-13     H6/2.7L      PR Code 200                                                             95 Ah33, 50, 55, 56, 58  H8 (49) AGM      —
2016-12     H6/3.4L      PR Code 195                                                             70 Ah33, 50, 55, 56, 58  H6 (48) AGM      —
2016-12     H6/3.4L      PR Code 196                                                             80 Ah33, 50, 55, 56, 58  H7 (94R) AGM —
2016-12     H6/3.4L      PR Code 200                                                             95 Ah33, 50, 55, 56, 58  H8 (49) AGM      —
2014-07     H6/3.4L                                                                              65050                    H7 (94R)         H7 (94R) AGM
2012-09     H6/2.9L                                                                              65050                    H7 (94R)         H7 (94R) AGM
2008-06     H6/2.7L                                                                              65050                    H7 (94R)         H7 (94R) AGM
2005-02     H6/2.7L      Opt                                                                     65050                    H7 (94R)         H7 (94R) AGM
2005-02     H6/3.2L      Opt                                                                     65050                    H7 (94R)         H7 (94R) AGM
2005-00     H6/2.7L                                                                              65050                    H6 (48)          H6 (48) AGM
2005-00     H6/3.2L                                                                              65050                    H6 (48)          H6 (48) AGM
1999-97     H6/2.5L                                                                              65050                    H6 (48)          H6 (48) AGM
2016        H6/3.8L      PR Code 195                                                             70 Ah33, 50, 55, 56, 58  H6 (48) AGM      —
2016        H6/3.8L      PR Code 196                                                             80 Ah33, 50, 55, 56, 58  H7 (94R) AGM —
2016        H6/3.8L      PR Code 200                                                             95 Ah 33, 50, 55, 56, 58
                                                                                                                          H8 (49) AGM      —
2006        H6/3.2L                                                                              65050                    H7 (94R)         H7 (94R) AGM
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                   133
      YEAR        ENGINE                                          OPTIONS                           ORIGINAL EQUIPMENT       GROUP SIZE         ALTERNATE SIZE
                                                                                                        CCA/RATING            (NOTES)              (NOTES)

   Porsche Carrera GT
   2005-04 V10/5.7L                                                                             65054                     H6 (48)           H6 (48) AGM
   Porsche Cayenne
   2021-19     V6/2.9L     Li-ion Battery Only                                                  60 Ah45, 50, 60           —                 —
   2021-19     V6/3.0L     Li-ion Battery Only                                                  60 Ah45, 50, 60           —                 —
   2021-19     V8/4.0L     Li-ion Battery Only                                                  60 Ah45, 50, 60           —                 —
   2017-11     V6/3.0L     PR Code J0B                                                          85050                     —                 H8 (49) AGM
   2017-11     V6/3.0L     PR Code J0P                                                          102 Ah33                  H9 (95R) AGM 48   —
   2017-11     V6/3.0L     PR Code J1N                                                          65050                     H7 (94R)          H7 (94R) AGM
   2017-11     V6/3.6L     PR Code J0B                                                          74050                     H8 (49)           H8 (49) AGM
   2017-11     V6/3.6L     PR Code J0P                                                          102 Ah33                  H9 (95R) AGM 48   —
   2017-11     V6/3.6L     PR Code J1N                                                          65050                     H7 (94R)          H7 (94R) AGM
   2017-11     V8/4.8L     PR Code J0B                                                          74050                     H8 (49)           H8 (49) AGM
   2017-11     V8/4.8L     PR Code J0P                                                          102 Ah33                  H9 (95R) AGM 48   —
   2017-11     V8/4.8L     PR Code J1N                                                          65050                     H7 (94R)          H7 (94R) AGM
   2016-13     V6/3.0L     PR Code J0B                                                          85050                     —                 H8 (49) AGM
   2016-13     V6/3.0L     PR Code J0P                                                          102 Ah33                  H9 (95R) AGM 48   —
   2016-13     V6/3.0L     PR Code J1N                                                          65050                     H7 (94R)          H7 (94R) AGM
   2010-08     V6/3.6L     PR Code J0L                                                          57050, 56, 58             H6 (48)           H6 (48) AGM
   2010-08     V6/3.6L     PR Code J0Z                                                          50, 56, 58
                                                                                                                          —                 H9 (95R) AGM
   2010-08     V6/3.6L     PR Code J1U                                                          74050, 56, 58             H8 (49)           H8 (49) AGM
   2010-08     V8/4.8L     PR Code J0L                                                          57050, 56, 58             H6 (48)           H6 (48) AGM
   2010-08     V8/4.8L     PR Code J0Z                                                          50, 56, 58
                                                                                                                          —                 H9 (95R) AGM
   2006-04     V6/3.2L     PR Code J1U                                                          74050, 56, 58             H8 (49)           H8 (49) AGM
   2006-04     V6/3.2L     PR Code J0L                                                          57050, 56, 58             H6 (48)           H6 (48) AGM
   2006-04     V6/3.2L     PR Code J0Z                                                          50, 56, 58
                                                                                                                          —                 H9 (95R) AGM
   2006-04     V6/3.2L     PR Code J2C                                                          33, 50, 56, 58
                                                                                                                          H9 (95R) AGM
   2006-03     V8/4.5L     PR Code J1U                                                          74050                     H8 (49)           H8 (49) AGM
   2006-03     V8/4.5L     PR Code J0L                                                          57050, 56, 58             H6 (48)           H6 (48) AGM
   2006-03     V8/4.5L     PR Code J0Z                                                          50, 56, 58
                                                                                                                          —                 H9 (95R) AGM
   2006-03     V8/4.5L     PR Code J2C                                                          33, 50, 56, 58
                                                                                                                          H9 (95R) AGM
   2022        V8/4.0L     Hybrid, Li-ion Only                                                  60 Ah45, 50, 60           —                 —
   2018        V6/3.0L     Early Hybrid, PR Code J0B                                            92 Ah33                   H8 (49) AGM       —
   2018        V6/3.0L     Early Hybrid, PR Code J0P                                            102 Ah33                  H9 (95R) AGM      —
   2018        V6/3.0L     Early Hybrid, PR Code J1N                                            75 Ah33                   H7 (94R) AGM      —
   2018        V6/3.0L     Late Hybrid, Lithium ion only                                        —60                       —                 —
   2018        V6/3.6L     Early, PR Code J0B                                                   92 Ah33                   H8 (49) AGM       —
   2018        V6/3.6L     Early, PR Code J0P                                                   102 Ah33                  H9 (95R) AGM 48   —
   2018        V6/3.6L     Early, PR Code J1N                                                   75 Ah33                   H7 (94R) AGM      —
   2018        V6/3.6L     Late, Lithium ion only                                               —60                       —                 —
   2018        V8/4.8L     Early, PR Code J0B                                                   92 Ah33                   H8 (49) AGM       —
   2018        V8/4.8L     Early, PR Code J0P                                                   102 Ah33                  H9 (95R) AGM 48   —
   2018        V8/4.8L     Early, PR Code J1N                                                   75 Ah33                   H7 (94R) AGM      —
   2018        V8/4.8L     Late, Lithium ion only                                               —60                       —                 —
   2008        V8/4.8L     PR Code J1U                                                          74050, 56, 58             H8 (49)           H8 (49) AGM
   Porsche Cayman
   2016-14     H6/2.7L     PR Code 195                                                          70 Ah33, 50, 55, 56, 58   H6 (48) AGM       —
   2016-14     H6/2.7L     PR Code 196                                                          80 Ah33, 50, 55, 56, 58   H7 (94R) AGM      —
   2016-14     H6/2.7L     PR Code 200                                                          95 Ah33, 50, 55, 56, 58   H8 (49) AGM       —
   2016-14     H6/3.4L     PR Code 195                                                          70 Ah33, 50, 55, 56, 58   H6 (48) AGM       —
   2016-14     H6/3.4L     PR Code 196                                                          80 Ah33, 50, 55, 56, 58   H7 (94R) AGM      —
   2016-14     H6/3.4L     PR Code 200                                                          95 Ah33, 50, 55, 56, 58   H8 (49) AGM       —
   2012-10     H6/3.4L                                                                          74050                     H8 (49)           H8 (49) AGM
   2012-09     H6/2.9L     PR Code 195                                                          70 Ah33, 50, 55, 56, 58   H6 (48) AGM       —
   2012-09     H6/2.9L     PR Code 196                                                          80 Ah33, 50, 55, 56, 58   H7 (94R) AGM      —
   2012-09     H6/3.4L     PR Code 195                                                          70 Ah33, 50, 55, 56, 58   H6 (48) AGM       —
   2012-09     H6/3.4L     PR Code 196                                                          80 Ah33, 50, 55, 56, 58   H7 (94R) AGM      —
   2008-07     H6/2.7L     PR Code 195                                                          70 Ah33, 50, 55, 56, 58   H6 (48) AGM       —
   2008-07     H6/2.7L     PR Code 196                                                          80 Ah33, 50, 55, 56, 58   H7 (94R) AGM      —
   2016        H6/3.8L     PR Code 195                                                          70 Ah33, 50, 55, 56, 58   H6 (48) AGM       —
   2016        H6/3.8L     PR Code 196                                                          80 Ah33, 50, 55, 56, 58   H7 (94R) AGM      —
   2016        H6/3.8L     PR Code 200                                                          95 Ah33, 50, 55, 56, 58   H8 (49) AGM       —
   Porsche Macan
   2022-20     V6/2.9L     PR Code J0B                                                          85033, 50, 55, 56, 58     H8 (49) AGM       —
   2022-20     V6/2.9L     PR Code J0P                                                          95033, 50, 55, 56, 58     H9 (95R) AGM      —
   2022-17     L4/2.0L     PR Code J0B                                                          85033, 50, 55, 56, 58     H8 (49) AGM       —
   2022-17     L4/2.0L     PR Code J0P                                                          95033, 50, 55, 56, 58     H9 (95R) AGM      —
   2021-15     V6/3.0L     PR Code J0B                                                          85033, 50, 55, 56, 58     H8 (49) AGM       —
   2021-15     V6/3.0L     PR Code J0P                                                          95033, 50, 55, 56, 58     H9 (95R) AGM      —
   2018-16     V6/3.6L     PR Code J1N                                                          80033, 50, 55, 56, 58     H7 (94R) AGM      —
   2018-15     V6/3.6L     PR Code J0B                                                          85033, 50, 55, 56, 58     H8 (49) AGM       —
   2018-15     V6/3.6L     PR Code J0P                                                          95033, 50, 55, 56, 58     H9 (95R) AGM      —
   See page 158 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                                        CCA/RATING             (NOTES)            (NOTES)

Porsche Panamera
2022-17     V6/2.9L      PR Code J0B                                                             85033, 50, 55, 56, 58   H8 (49) AGM       —
2022-17     V6/2.9L      PR Code J0P                                                             95033, 50, 55, 56, 58   H9 (95R) AGM      —
2022-17     V6/2.9L      PR Code J1N                                                             80033, 50, 55, 56, 58   H7 (94R) AGM      —
2022-17     V8/4.0L      PR Code J0B                                                             85033, 50, 55, 56, 58   H8 (49) AGM       —
2022-17     V8/4.0L      PR Code J0P                                                             95033, 50, 55, 56, 58   H9 (95R) AGM      —
2022-17     V8/4.0L      PR Code J1N                                                             80033, 50, 55, 56, 58   H7 (94R) AGM      —
2020-17     V6/3.0L      PR Code J0B                                                             85033, 50, 55, 56, 58   H8 (49) AGM       —
2020-17     V6/3.0L      PR Code J0P                                                             95033, 50, 55, 56, 58   H9 (95R) AGM      —
2020-17     V6/3.0L      PR Code J1N                                                             80033, 50, 55, 56, 58   H7 (94R) AGM      —
2020-17     V6/3.0L      PR Code J0B                                                             85033, 50, 55, 56, 58   H8 (49) AGM       —
2020-17     V6/3.0L      PR Code J0P                                                             95033, 50, 55, 56, 58   H9 (95R) AGM      —
2020-17     V6/3.0L      PR Code J1N                                                             80033, 50, 55, 56, 58   H7 (94R) AGM      —
2020-17     V8/4.0L      PR Code J0B                                                             85033, 50, 55, 56, 58   H8 (49) AGM       —
2020-17     V8/4.0L      PR Code J0P                                                             95033, 50, 55, 56, 58   H9 (95R) AGM      —
2020-17     V8/4.0L      PR Code J1N                                                             80033, 50, 55, 56, 58   H7 (94R) AGM      —
2016-12     V6/3.0L      PR Code 197                                                             80033, 50, 55, 56, 58   H7 (94R) AGM      —
2016-12     V6/3.0L      PR Code 200                                                             85033, 50, 55, 56, 58   H8 (49) AGM       —
2016-12     V6/3.0L      PR Code 201                                                             95033, 50, 55, 56, 58   —                 —
2016-11     V6/3.6L      PR Code 197                                                             80033, 50, 55, 56, 58   H7 (94R) AGM      —
2016-11     V6/3.6L      PR Code 200                                                             85033, 50, 55, 56, 58   H8 (49) AGM       —
2016-11     V6/3.6L      PR Code 201                                                             95033, 50, 55, 56, 58   H9 (95R) AGM      —
2016-10     V8/4.8L      PR Code 197                                                             80033, 50, 55, 56, 58   H7 (94R) AGM      —
2016-10     V8/4.8L      PR Code 200                                                             85033, 50, 55, 56, 58   H8 (49) AGM       —
2016-10     V8/4.8L      PR Code 201                                                             95033, 50, 55, 56, 58   H9 (95R) AGM      —
2014-11     V6/3.6L                                                                              74050                   H8 (49)           H8 (49) AGM
2014-10     V8/4.8L                                                                              74050                   H8 (49)           H8 (49) AGM
Porsche Taycan
2022-20                  Electric, Li-ion Only                                                   40 Ah45, 60             —                 —
Ram 1500
2021-20     V6/3.0L      Dsl                                                                     730                     H7 (94R)          H7 (94R) AGM
2021-13     V6/3.6L                                                                              730                     H7 (94R)          H7 (94R) AGM
2021-11     V8/5.7L                                                                              730                     H7 (94R)          H7 (94R) AGM
2018-14     V6/3.0L      Dsl                                                                     80033                   H8 (49) AGM       —
2013-11     V8/4.7L                                                                              730                     H7 (94R)          H7 (94R) AGM
2012-11     V6/3.7L                                                                              730                     H7 (94R)          H7 (94R) AGM
2021        V8/6.2L                                                                              730                     H7 (94R)          H7 (94R) AGM
Ram 2500
2021-14 V8/5.7L                                                                                  730                     H7 (94R)          H7 (94R) AGM
2021-11 L6/6.7L          Dsl                                                                     7302                    H7 (94R)          H7 (94R) AGM
2020-14 V8/6.4L                                                                                  730                     H7 (94R)          H7 (94R) AGM
Ram 3500
2021-14 V8/6.4L                                                                                  730                     H7 (94R)          H7 (94R) AGM
2021-11 L6/6.7L          Dsl                                                                     7302                    H7 (94R)          H7 (94R) AGM
2018-11 V8/5.7L                                                                                  730                     H7 (94R)          H7 (94R) AGM
Ram C/V
2015-12 V6/3.6L                                                                                  730                     H7 (94R)          H7 (94R) AGM
Ram Dakota
2011        V6/3.7L                                                                              600                     65                65 AGM
2011        V6/3.7L      Opt                                                                     750                     65                65 AGM
2011        V8/4.7L                                                                              600                     65                65 AGM
2011        V8/4.7L      Opt                                                                     750                     65                65 AGM
Ram ProMaster 1500
2021-14     V6/3.6L                                                                              80050                   —                 H8 (49) AGM
2021-14     V6/3.6L      Opt                                                                     95033, 50               H9 (95R) AGM      —
2017-14     L4/3.0L      Dsl, Opt                                                                95033, 50               H9 (95R) AGM      —
2017-14     L4/3.0L      Dsl                                                                     800                     —                 H8 (49) AGM
2017-14     V6/3.6L      Opt                                                                     95033, 50               H9 (95R) AGM      —
2016-14     V6/3.6L                                                                              800                     —                 H8 (49) AGM
Ram ProMaster 2500
2021-14     V6/3.6L                                                                              80050                   —                 H8 (49) AGM
2021-14     V6/3.6L      Opt                                                                     95033, 50               H9 (95R) AGM      —
2018-14     L4/3.0L      Dsl, Opt                                                                95033, 50               H9 (95R) AGM      —
2018-14     L4/3.0L      Dsl                                                                     80050                   —                 H8 (49) AGM
Ram ProMaster 3500
2021-14     V6/3.6L                                                                              80050                   —                 H8 (49) AGM
2021-14     V6/3.6L      Opt                                                                     95033, 50               H9 (95R) AGM      —
2018-14     L4/3.0L      Dsl                                                                     80050                   —                 H8 (49) AGM
2018-14     L4/3.0L      Dsl, Opt                                                                95033, 50               H9 (95R) AGM      —
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                Costco_002099
Case 9:21-cv-80826-AMC Document 117-5 Entered on FLSD Docket 02/20/2023 Page 901Saturn
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   Automotive/Light Truck                                                                                             135
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING             (NOTES)            (NOTES)

   Ram ProMaster City
   2020-15 L4/2.4L                                                          750                     H6 (48) AGM       —
   Rolls-Royce Ghost
   2015-10 V12/6.6L                                                         90033, 50, 54           H8 (49) AGM       —
   Rolls-Royce Phantom
   2015-04 V12/6.7L                                                         76033, 50, 54           H6 (48) AGM       —
   2014-04 V12/6.7L        Opt                                              90033, 50, 54           H8 (49) AGM       —
   Rolls-Royce Wraith
   2015-14 V12/6.6L                                                         90033, 50, 54           H8 (49) AGM       —
   Saab 900
   1998-94     L4/2.0L                                                      520                     H5 (47)           H5 (47) AGM
   1998-94     L4/2.3L                                                      520                     H5 (47)           H5 (47) AGM
   1997-94     V6/2.5L                                                      520                     H5 (47)           H5 (47) AGM
   1993-91     L4/2.1L                                                      405                     —
   1993-90     L4/2.0L                                                      405                     —
   1994        L4/2.1L                                                      520                     H5 (47)           H5 (47) AGM
   Saab 9000
   1998-94     L4/2.3L                                                      570                     —
   1998-94     L4/2.3L     Group 47 fits 9 1/2" tray                        52056                   —
   1997-95     V6/3.0L                                                      570                     —
   1997-95     V6/3.0L     Group 47 fits 9 1/2" tray                        52056                   —
   1993-92     L4/2.3L                                                      520                     H5 (47)           H5 (47) AGM
   1991-90     L4/2.3L                                                      450                     H5 (47)           H5 (47) AGM
   1991-90     L4/2.3L     Opt                                              450                     —
   1990-86     L4/2.0L                                                      450                     H5 (47)           H5 (47) AGM
   1990-86     L4/2.0L     Opt                                              450                     —
   Saab 9-2X, 9-3, 9-3X, 9-4X, 9-5, 9-7X
   2011-10     L4/2.0L     9-3                                              70 Ah                   H6 (48)           H6 (48) AGM
   2011-10     V6/2.8L     9-5                                              700                     H6 (48)           H6 (48) AGM
   2011-08     L4/2.0L                                                      70 Ah                   H6 (48)           H6 (48) AGM
   2009-08     L4/2.3L     9-5                                              70 Ah                   H6 (48)           H6 (48) AGM
   2009-08     V8/6.0L     9-7X                                             600                     78
   2009-06     V6/2.8L                                                      70 Ah50                 H6 (48)           H6 (48) AGM
   2009-05     L6/4.2L     9-7X                                             600                     78
   2009-05     V8/5.3L     9-7X                                             600                     78
   2007-99     L4/2.3L     9-5                                              520                     —
   2007-04     L4/2.0L                                                      70050                   H6 (48)           H6 (48) AGM
   2007-04     L4/2.0L     Convertible                                      60 Ah                   —
   2007-04     L4/2.3L                                                      700                     H6 (48)           H6 (48) AGM
   2007-03     L4/2.0L     Sport Sedan                                      60 Ah                   —
   2003-99     V6/3.0L     9-5                                              520                     —
   2003-02     L4/2.3L                                                      70050                   H6 (48)           H6 (48) AGM
   2003-02     V6/3.0L                                                      700                     H6 (48)           H6 (48) AGM
   2002-99     L4/2.0L     Convertible                                      520                     H5 (47)           H5 (47) AGM
   2002-99     L4/2.3L     Sedan                                            58040                   H5 (47)           H5 (47) AGM
   2001-99     L4/2.0L                                                      580                     —                 —
   2001-99     V6/3.0L                                                      650                     H6 (48)           H6 (48) AGM
   2001-00     L4/2.3L                                                      650                     H6 (48)           H6 (48) AGM
   2011        L4/2.0L     9-5                                              550                     —
   2011        V6/2.8L     9-4X                                             700                     H6 (48)           H6 (48) AGM
   2011        V6/3.0L     9-4X                                             700                     H6 (48)           H6 (48) AGM
   2006        H4/2.5L     9-2X Aero                                        550                     35                35 AGM
   2005        H4/2.0L                                                      550                     25
   2005        H4/2.0L     9-2X Aero                                        550                     25
   2005        H4/2.5L                                                      550                     25
   2005        H4/2.5L     9-2X Linear                                      550                     35                35 AGM
   2003        L4/2.0L     Convertible                                      58040                   H5 (47)           H5 (47) AGM
   2003        L4/2.0L     Sport Sedan                                      70050                   H6 (48)           H6 (48) AGM
   2002        L4/2.0L                                                      58040                   H5 (47)           H5 (47) AGM
   1999        L4/2.3L                                                      700                     H6 (48)           H6 (48) AGM
   Saleen S7
   2006-02 V8/7.0L                                                          750                     34
   Saturn Astra
   2009-08 L4/1.8L                                                          600                     —
   Saturn Aura
   2009        L4/2.4L                                                      600                     90 (T5)
   2009        V6/3.6L                                                      600                     90 (T5)
   2008        L4/2.4L                                                      590                     90 (T5)
   2008        V6/3.5L                                                      590                     90 (T5)
   2008        V6/3.6L                                                      590                     90 (T5)
   2007        L4/2.4L     XE                                               575                     75
   See page 158 for Footnotes. Selection may vary by warehouse.

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136                                                       Automotive/Light Truck
  YEAR      ENGINE                              OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE     ALTERNATE SIZE
                                                                         CCA/RATING             (NOTES)          (NOTES)

Saturn Aura (continued)
2007      L4/2.4L    XR                                            690                    —
2007      V6/3.5L                                                  690                    —
2007      V6/3.6L                                                  690                    —
Saturn Ion
2007-06   L4/2.2L    From 6/2006                                   60050                  78
2007-06   L4/2.4L    From 6/2006                                   60050                  78
2007-04   L4/2.0L                                                  60050                  78
2005-03   L4/2.2L                                                  60050                  —
2006      L4/2.2L    To 6/2006                                     60050                  —
2006      L4/2.4L    To 6/2006                                     60050                  —
Saturn L, LS, LW, SC, SL, SW
2002-91 L4/1.9L                                                    525                    75
2000    L4/2.2L                                                    525                    75
2000    V6/3.0L                                                    525                    75
Saturn L100
2002      L4/2.2L                                                  600                    78
2001      L4/2.2L                                                  525                    75
Saturn L200
2003-02 L4/2.2L                                                    600                    78
2001    L4/2.2L                                                    525                    75
Saturn L300
2005-02 V6/3.0L                                                    600                    78
2004    L4/2.2L                                                    600                    78
2001    V6/3.0L                                                    525                    75
Saturn LW200
2003-02 L4/2.2L                                                    600                    78
2001    L4/2.2L                                                    525                    75
Saturn LW300
2003-02 V6/3.0L                                                    600                    78
2001    V6/3.0L                                                    525                    75
Saturn Outlook
2009-07 V6/3.6L                                                    73050                  H6 (48)           H6 (48) AGM
2010    V6/3.6L                                                    66050                  H6 (48)           H6 (48) AGM
Saturn Relay
2007-06 V6/3.9L                                                    600                    34
2006-05 V6/3.5L                                                    600                    34
Saturn SC, SL, SW (See L, LS, LW, SC, SL, SW)
Saturn Sky
2010-07 L4/2.0L                                                    590                    86
2010-07 L4/2.4L                                                    590                    86
Saturn Vue
2010-08   L4/2.4L                                                  650                    —                 H5 (47) AGM
2010-08   V6/3.5L                                                  730                    H6 (48)           H6 (48) AGM
2010-08   V6/3.6L                                                  730                    H6 (48)           H6 (48) AGM
2006-04   L4/2.2L                                                  550                    75
2006-04   V6/3.5L                                                  590                    86
2003-02   L4/2.2L                                                  600                    75
2003-02   V6/3.0L                                                  600                    75
2007      L4/2.2L                                                  525                    75
2007      L4/2.4L                                                  590                    86
2007      V6/3.5L                                                  640                    86
Scion FR-S
2015-13 H4/2.0L                                                    430                    35                35 AGM
2016    H4/2.0L                                                    430                    35                35 AGM
Scion iA
2016      L4/1.5L                                                  N/A                    35                35 AGM
Scion iM
2016      L4/1.8L                                                  N/A                    35                35 AGM
Scion iQ
2015-12 L4/1.3L                                                    295                    51
2015-12 L4/1.3L      Opt, Cold Climate                             320                    35                35 AGM
2014    L4/1.3L      Cold Climate Pkg                              320                    25
Scion tC
2015-11 L4/2.5L                                                    575                    24F               24F AGM
2010-05 L4/2.4L                                                    575                    24
2016    L4/2.5L                                                    530                    24F               24F AGM
                                                                  See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                 Costco_002101
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                                                                               Subaru
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   Automotive/Light Truck                                                                                             137
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING             (NOTES)            (NOTES)

   Scion xA
   2006-04 L4/1.5L                                                          550                     25
   Scion xB
   2015-08     L4/2.4L                                                      575                     24F               24F AGM
   2014-10     L4/2.4L                                                      585                     24F               24F AGM
   2009-08     L4/2.4L                                                      550                     24F               24F AGM
   2006-04     L4/1.5L                                                      550                     25
   Smart EQ Fortwo
   2019                    Electric                                         40 Ah45, 50, 54, 56     —                 —
   2019                    Electric, Opt                                    48033, 50, 54           H5 (47) AGM
   Smart Fortwo
   2018-17                 Electric                                         40 Ah45, 50, 54, 56     —                 —
   2018-17                 Electric, Opt                                    48033, 50, 54           H5 (47) AGM
   2016-11                 Electric, Opt                                    68033, 50, 54           —                 —
   2016-11                 Electric                                         48050, 54               H5 (47)           H5 (47) AGM
   2015-08     L3/1.0L     w/o AGM                                          48050, 54               H5 (47)           H5 (47) AGM
   2015-08     L3/1.0L     Opt                                              68033, 50, 54           —                 —
   2017        L3/0.9L                                                      40 Ah45, 50, 54, 56     —                 —
   2017        L3/0.9L     Opt                                              48033, 50, 54           H5 (47) AGM
   2016        L3/0.9L     Opt                                              68033, 50, 54           —                 —
   2016        L3/0.9L     w/o AGM                                          48050, 54               H5 (47)           H5 (47) AGM
   SRT Viper
   2014-13 V10/8.4L                                                         590                     90 (T5)           —
   Sterling 827
   1991-89 V6/2.7L                                                          675                     —
   Subaru Ascent
   2022-19 H4/2.4L                                                          550                     35                35 AGM
   Subaru B9 Tribeca
   2007-06 H6/3.0L                                                          490                     35                35 AGM
   Subaru Baja
   2006-03 H4/2.5L         AT                                               490                     35                35 AGM
   2006-03 H4/2.5L         MT                                               430                     35                35 AGM
   Subaru BRZ
   2020-13 H4/2.0L                                                          550                     35                35 AGM
   Subaru Crosstrek
   2022-21     H4/2.5L     Gas, w/o Start/Stop                              550                     35                35 AGM
   2022-21     H4/2.5L     Gas, w/Start/Stop, EFB                           52059                   —                 —
   2022-21     H4/2.5L     Hybrid                                           390                     35                35 AGM
   2022-20     H4/2.0L     Gas, w/Start/Stop, EFB                           52059                   —                 —
   2022-20     H4/2.0L     Gas, w/o Start/Stop                              550                     35                35 AGM
   2020-17     H4/2.0L                                                      550                     35                35 AGM
   2016        H4/2.0L                                                      390                     35                35 AGM
   Subaru Forester
   2022-19     H4/2.5L                                                      52059                   —                 —
   2018-16     H4/2.0L                                                      390                     35                35 AGM
   2018-16     H4/2.5L                                                      390                     35                35 AGM
   2015-14     H4/2.0L                                                      550                     35                35 AGM
   2015-10     H4/2.5L                                                      550                     35                35 AGM
   2009-08     H4/2.5L                                                      490                     35                35 AGM
   2005-98     H4/2.5L     AT or HD                                         520                     35                35 AGM
   2004-98     H4/2.5L     MT                                               360                     35                35 AGM
   2007        H4/2.5L                                                      500                     35                35 AGM
   2006        H4/2.5L     AT                                               490                     35                35 AGM
   2006        H4/2.5L     MT                                               360                     35                35 AGM
   2005        H4/2.5L     MT                                               430                     35                35 AGM
   Subaru Impreza
   2022-12     H4/2.0L                                                      550                     35                35 AGM
   2014-10     H4/2.5L                                                      550                     35                35 AGM
   2009-01     H4/2.5L                                                      520                     35                35 AGM
   2005-98     H4/2.5L     AT                                               520                     35                35 AGM
   2004-98     H4/2.5L     MT                                               360                     35                35 AGM
   2004-02     H4/2.0L     AT                                               420                     35                35 AGM
   2004-02     H4/2.0L     MT                                               360                     35                35 AGM
   2001-95     H4/2.2L     AT                                               520                     35                35 AGM
   2001-95     H4/2.2L     MT                                               360                     35                35 AGM
   1997-93     H4/1.8L     AT                                               520                     35                35 AGM
   1997-93     H4/1.8L     MT                                               360                     35                35 AGM
   2006        H4/2.5L     AT                                               490                     35                35 AGM
   2006        H4/2.5L     MT                                               420                     35                35 AGM
   2005        H4/2.0L     AT                                               520                     35                35 AGM
   See page 158 for Footnotes. Selection may vary by warehouse.

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138                                              Automotive/Light Truck
  YEAR      ENGINE                     OPTIONS                 ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                   CCA/RATING             (NOTES)            (NOTES)

Subaru Impreza (continued)
2005      H4/2.0L    MT                                      430                    35                35 AGM
2005      H4/2.5L    MT                                      430                    35                35 AGM
Subaru Justy
1994-90 L3/1.2L                                              420                    35                35 AGM
1995    L3/1.2L                                              550                    35                35 AGM
Subaru Legacy, Outback
2022-20   H4/2.4L                                            62059                  —                 —
2022-20   H4/2.5L                                            62059                  —                 —
2019-16   H4/2.5L                                            355                    25
2019-10   H6/3.6L                                            490                    25
2015-10   H4/2.5L                                            490                    25
2009-07   H4/2.5L                                            490                    35                35 AGM
2009-07   H6/3.0L                                            490                    35                35 AGM
2008-00   H4/2.5L    Opt                                     430                    —
2006-99   H4/2.5L    MT                                      430                    35                35 AGM
2006-96   H4/2.5L    AT                                      490                    35                35 AGM
2005-01   H6/3.0L                                            490                    35                35 AGM
1999-97   H4/2.2L    AT                                      490                    35                35 AGM
1999-95   H4/2.2L    Opt                                     430                    —
1998-96   H4/2.5L    Opt                                     430                    35                35 AGM
1997-96   H4/2.5L    MT                                      355                    35                35 AGM
1997-95   H4/2.2L    MT                                      355                    35                35 AGM
1996-95   H4/2.2L    AT, HD                                  490                    35                35 AGM
1994-91   H4/2.2L    AT & Turbo                              490                    35                35 AGM
1994-90   H4/2.2L                                            550                    35                35 AGM
1994-90   H4/2.2L    MT, Ex Turbo                            355                    35                35 AGM
1994-90   H4/2.2L    Opt                                     430                    35                35 AGM
2008      H4/2.5L    Legacy                                  430                    35                35 AGM
2006      H6/3.0L    AT                                      490                    35                35 AGM
1999      H4/2.2L    AT, HD                                  430                    35                35 AGM
1998      H4/2.2L    MT                                      430                    35                35 AGM
Subaru Loyale
1994-91   H4/1.8L    MT                                      305                    25
1994-90   H4/1.8L    AT                                      420                    25
1990      H4/1.8L    MT                                      310                    25
1990      H4/1.8L    Turbo, AT                               490                    24
Subaru Outback (See Legacy, Outback)
Subaru SVX
1997-92 H6/3.3L                                              585                    24
Subaru Tribeca
2014-08 H6/3.6L                                              490                    35                35 AGM
Subaru WRX
2021-19 H4/2.0L                                              550                    35                35 AGM
2019-15 H4/2.0L                                              390                    35                35 AGM
2014-13 H4/2.5L                                              390                    35                35 AGM
Subaru WRX STI
2022-19 H4/2.5L                                              550                    35                35 AGM
2018-13 H4/2.5L                                              390                    35                35 AGM
Subaru XT
1991-90   H4/1.8L    MT                                      310                    25
1991-90   H6/2.7L    MT                                      350                    25
1991      H4/1.8L    AT                                      405                    25
1991      H6/2.7L    AT                                      490                    25
1990      H4/1.8L    AT, Ex Turbo                            490                    25
Subaru XV Crosstrek
2015-14 H4/2.0L      Hybrid                                                         —
2015-13 H4/2.0L      Gas                                     390                    35                35 AGM
Sunbeam Tiger
1967-64 V8/4.3L      Ex Sport Sedan                          325                    24
1967-64 V8/4.3L      Opt                                     350                    27
1967    V8/4.7L      Ex Sport Sedan                          325                    24
Suzuki Aerio
2007-04 L4/2.3L                                              700                    24F               24F AGM
2003-02 L4/2.0L                                              700                    24F               24F AGM
Suzuki Equator
2012-09 L4/2.5L                                              550                    24F               24F AGM
2012-09 V6/4.0L                                              550                    24F               24F AGM
                                                            See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                           Costco_002103
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   Automotive/Light Truck                                                                                              139
      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT         GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING              (NOTES)            (NOTES)

   Suzuki Esteem
   2002-99 L4/1.8L                                                          440                      26R
   2000-95 L4/1.6L                                                          440                      26R
   2001    L4/1.6L                                                          540                      26R
   Suzuki Forenza
   2008-04 L4/2.0L                                                          61011                    86
   Suzuki Grand Vitara
   2013-09     L4/2.4L                                                      700                      24F               24F AGM
   2010-09     V6/3.2L                                                      700                      24F               24F AGM
   2008-06     V6/2.7L                                                      700                      24F               24F AGM
   2005-04     V6/2.5L                                                      700                      24F               24F AGM
   2003-99     V6/2.5L                                                      550                      —
   2001        V6/2.7L                                                      550                      24F               24F AGM
   Suzuki Kizashi
   2013-10 L4/2.4L                                                          700                      24F               24F AGM
   Suzuki Reno
   2008-05 L4/2.0L                                                          61011                    86
   Suzuki Samurai
   1995-90 L4/1.3L                                                          405                      51
   Suzuki Sidekick
   1998-96 L4/1.6L                                                          390                      26R
   1998-96 L4/1.8L                                                          550                      —
   1995-90 L4/1.6L                                                          405                      51
   Suzuki Swift
   2001-95     L4/1.3L                                                      440                      26R
   1994-92     L3/1.0L                                                      435                      51
   1994-90     L4/1.3L                                                      435                      51
   1993-92     L4/1.6L                                                      435                      51
   Suzuki Swift+
   2009-04 L4/1.6L                                                          550                      86
   Suzuki SX4, SX4 Crossover
   2013-07 L4/2.0L                                                          700                      24
   Suzuki Verona
   2006-04 L6/2.5L                                                          70011                    —
   Suzuki Vitara
   2003-99     L4/2.0L                                                      550                      —
   2001-99     L4/1.6L                                                      550                      —
   2004        V6/2.5L                                                      600                      —
   2002        L4/1.6L                                                      540                      26R
   Suzuki X-90
   1998-96 L4/1.6L                                                          440                      26R
   Suzuki XL7
   2009-07 V6/3.6L                                                          650                      —                 H5 (47) AGM
   2006-04 V6/2.7L                                                          700                      24F               24F AGM
   2003-02 V6/2.7L                                                          550                      —
   Tesla 3
   2022-17                 Electric                                         44 Ah9, 45, 50, 57, 62   —                 —
   Tesla Roadster
   2011-08                 Electric                                         8 Ah9, 33, 57, 62        —                 —
   Tesla S
   2020-17                 Electric                                         30 Ah                    —                 —
   2015-12                 Electric                                         30 Ah                    —                 —
   2022                    Electric                                         6.9 Ah                   —                 —
   2021                    Electric                                         6.9 Ah                   —                 —
   2021                    Electric                                         30 Ah                    —                 —
   2016                    Electric                                         30 Ah                    —                 —
   2016                    Electric                                         30 Ah                    —                 —
   Tesla X
   2020-16                 Electric                                         45 Ah                    —                 —
   2022                    Electric                                         6.9 Ah                   —                 —
   2021                    Electric                                         6.9 Ah                   —                 —
   2021                    Electric                                         45 Ah9, 45, 50, 57, 62   —                 —
   Tesla Y
   2022-20                 Electric                                         44 Ah9, 45, 50, 57, 62   —                 —
   Think City
   2011                    Electric                                         44 Ah                    —                 —
   See page 158 for Footnotes. Selection may vary by warehouse.

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140                                                      Automotive/Light Truck
  YEAR      ENGINE                             OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE    ALTERNATE SIZE
                                                                         CCA/RATING             (NOTES)         (NOTES)

Toyota 4Runner
2022-03   V6/4.0L                                                 585                     24F               24F AGM
2010-96   L4/2.7L                                                 585                     24F               24F AGM
2009-03   V6/4.0L    HD or Cold Climate                           710                     27F
2009-03   V8/4.7L                                                 585                     24F               24F AGM
2009-03   V8/4.7L    HD or Cold Climate                           710                     27F
2002-01   V6/3.4L                                                 585                     24F               24F AGM
2002-01   V6/3.4L    Opt                                          710                     27F
2000-96   V6/3.4L                                                 360                     35                35 AGM
2000-96   V6/3.4L    Opt                                          585                     24F               24F AGM
1995-91   L4/2.4L                                                 360                     25
1995-91   L4/2.4L    Opt                                          585                     24
1995-91   V6/3.0L                                                 360                     25
1995-91   V6/3.0L    Opt                                          585                     24
2010      L4/2.7L    HD or Cold Climate                           710                     27F
1990      L4/2.4L                                                 350                     25
1990      V6/3.0L                                                 585                     24
Toyota 86
2020-18 H4/2.0L                                                   390                     35                35 AGM
Toyota Avalon
2022-21   L4/2.5L                                                 565                     —                 H5 (47) AGM
2022-19   V6/3.5L                                                 605                     H6 (48)           H6 (48) AGM
2020-19   L4/2.5L    Hybrid                                       35550                   H5 (47)           H5 (47) AGM
2018-16   L4/2.5L    Hybrid                                       35533, 45, 50, 61       —
2018-05   V6/3.5L                                                 585                     24F               24F AGM
2015-05   V6/3.5L    Opt                                          390                     35                35 AGM
2014-13   L4/2.5L    Hybrid                                       35533, 50, 54           —
2014-13   L4/2.5L    Hybrid, w/Mayday System                      45033, 45, 50, 61       —
2011-05   V6/3.5L    Alt                                          310                     35                35 AGM
2004-03   V6/3.0L                                                 585                     24F               24F AGM
2004-03   V6/3.0L    Opt                                          390                     35                35 AGM
2002-95   V6/3.0L    Can & Opt                                    585                     24F               24F AGM
2001-95   V6/3.0L    US                                           360                     35                35 AGM
2022      L4/2.5L    Hybrid                                       355                     H5 (47)           H5 (47) AGM
2016      L4/2.5L    Hybrid                                       585                     24F               24F AGM
2015      L4/2.5L    Hybrid                                       35533, 50               —
2015      L4/2.5L    Hybrid, w/Mayday System                      45033, 50               —
2002      V6/3.0L    US                                           390                     35                35 AGM
Toyota Camry, Solara
2022-20   L4/2.5L    Gas                                          58550                   H5 (47)           H5 (47) AGM
2022-20   L4/2.5L    Hybrid w/Moonroof                            58550                   H5 (47)           H5 (47) AGM
2022-18   V6/3.5L                                                 605                     H6 (48)           H6 (48) AGM
2020-19   L4/2.5L    Hybrid                                       34550                   H5 (47)           H5 (47) AGM
2020-18   L4/2.5L    Hybrid                                       34550                   H5 (47)           H5 (47) AGM
2019-18   L4/2.5L    Gas                                          605                     H6 (48)           H6 (48) AGM
2019-18   L4/2.5L    Hybrid w/Moonroof                            35550                   H5 (47)           H5 (47) AGM
2017-12   L4/2.5L    Hybrid w/Moonroof                            45033, 45, 50, 61       —
2017-12   L4/2.5L    Gas                                          585                     24F               24F AGM
2017-12   L4/2.5L    Hybrid                                       35533, 45, 50, 61       —
2017-07   V6/3.5L                                                 585                     24F               24F AGM
2011-10   L4/2.5L                                                 585                     24F               24F AGM
2010-07   L4/2.4L    Hybrid                                       N/A33, 45, 50, 61       —
2009-07   L4/2.4L    Hybrid                                       N/A33, 45, 50, 61       —
2009-04   L4/2.4L    Gas                                          585                     24F               24F AGM
2008-07   V6/3.3L                                                 585                     24F               24F AGM
2008-02   L4/2.4L    Cold Climate                                 585                     24F               24F AGM
2007-02   L4/2.4L                                                 390                     35                35 AGM
2006-05   V6/3.0L                                                 585                     24F               24F AGM
2006-04   V6/3.0L    Cold Climate                                 585                     24F               24F AGM
2006-04   V6/3.0L    w/o Cold Climate                             390                     35                35 AGM
2006-04   V6/3.3L    Cold Climate                                 585                     24F               24F AGM
2006-04   V6/3.3L    w/o Cold Climate                             390                     35                35 AGM
2003-02   L4/2.4L                                                 360                     35                35 AGM
2003-02   L4/2.4L    Opt                                          585                     24F               24F AGM
2003-02   L4/2.4L    US                                           360                     35                35 AGM
2003-02   V6/3.0L    US                                           390                     35                35 AGM
2003-01   V6/3.0L    Can & Opt                                    585                     24F               24F AGM
2000-95   V6/3.0L    Can & Cold Climate                           585                     24F               24F AGM
2000-92   L4/2.2L                                                 360                     35                35 AGM
2000-92   L4/2.2L    Opt                                          585                     24F               24F AGM
                                                                 See page 158 for Footnotes. Selection may vary by warehouse.

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      YEAR        ENGINE                                          OPTIONS      ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                   CCA/RATING             (NOTES)            (NOTES)

   Toyota Camry, Solara (continued)
   2000-92     V6/3.0L                                                      360                     35                35 AGM
   1994-92     V6/3.0L     Opt                                              585                     24F               24F AGM
   1991-90     L4/2.0L     Japan Production                                 350                     35                35 AGM
   1991-90     L4/2.0L     US                                               330                     35                35 AGM
   1991-90     V6/2.5L     Japan Production                                 350                     35                35 AGM
   1991-90     V6/2.5L     US                                               330                     35                35 AGM
   2011        L4/2.4L     Hybrid w/Moonroof                                N/A33, 45, 50, 61       —
   2009        L4/2.4L     Opt, w/o Cold Climate                            390                     35                35 AGM
   2008        L4/2.4L     Opt                                              390                     35                35 AGM
   2002        V6/3.0L     Can or Opt                                       585                     24F               24F AGM
   2001        L4/2.2L     Can & Opt                                        585                     24F               24F AGM
   2001        L4/2.2L     US                                               360                     35                35 AGM
   2001        V6/3.0L     US                                               360                     35                35 AGM
   Toyota Celica
   2005-00     L4/1.8L                                                      310                     35                35 AGM
   2004-02     L4/1.8L     Opt                                              360                     35                35 AGM
   2001-94     L4/1.8L     Opt                                              420                     35                35 AGM
   1999-95     L4/2.2L     Opt                                              420                     35                35 AGM
   1999-92     L4/2.2L                                                      360                     35                35 AGM
   1997-94     L4/1.8L                                                      360                     35                35 AGM
   1993-92     L4/2.0L                                                      360                     35                35 AGM
   1993-92     L4/2.2L     Opt                                              490                     24F               24F AGM
   1993-90     L4/1.6L                                                      360                     35                35 AGM
   1991-90     L4/2.2L                                                      350                     35                35 AGM
   1991-86     L4/2.0L     FWD                                              350                     35                35 AGM
   Toyota C-HR
   2019-18 L4/2.0L                                                          345                     H5 (47)           H5 (47) AGM
   Toyota Corolla
   2021-20     L4/1.8L                                                      210                     —                 —
   2021-19     L4/2.0L                                                      345                     H5 (47)           H5 (47) AGM
   2019-09     L4/1.8L                                                      355                     35                35 AGM
   2012-11     L4/2.4L                                                      585                     24F               24F AGM
   2010-09     L4/2.4L                                                      575                     24F               24F AGM
   2008-06     L4/1.8L                                                      420                     35                35 AGM
   2005-04     L4/1.8L                                                      310                     35                35 AGM
   2003-95     L4/1.8L                                                      360                     35                35 AGM
   1997-95     L4/1.6L     Opt                                              310                     35                35 AGM
   1994-93     L4/1.8L                                                      310                     35                35 AGM
   1994-93     L4/1.8L     Opt                                              360                     35                35 AGM
   1994-90     L4/1.6L     Opt                                              350                     35                35 AGM
   1993-91     L4/1.6L     Opt                                              310                     35                35 AGM
   1993-90     L4/1.6L                                                      310                     35                35 AGM
   1996        L4/1.6L     Std Battery                                      360                     35                35 AGM
   1994        L4/1.6L                                                      310                     35                35 AGM
   Toyota Corolla Cross
   2023-22 L4/2.0L                                                          60059                   —                 —
   Toyota Corolla iM
   2018-17 L4/1.8L                                                          355                     35                35 AGM
   Toyota Cressida
   1992-90 L6/3.0L                                                          450                     27F
   Toyota Echo
   2005-03     L4/1.5L                                                      420                     25
   2002-00     L4/1.5L     US                                               310                     25
   2002        L4/1.5L     Can & Opt                                        360                     25
   2001        L4/1.5L     Can & Opt                                        420                     25
   Toyota FJ Cruiser
   2013-11 V6/4.0L                                                          585                     24F               24F AGM
   2010-07 V6/4.0L                                                          710                     27F
   2014    V6/4.0L                                                          585                     24F               24F AGM
   Toyota GR Supra
   2022-21 L4/2.0L                                                          85033                   —                 —
   2022-20 L6/3.0L                                                          95033                   H9 (95R) AGM      —
   Toyota Highlander
   2022-20     L4/2.5L     Hybrid                                           34550                   H5 (47)           H5 (47) AGM
   2022-20     V6/3.5L                                                      605                     H6 (48)           H6 (48) AGM
   2019-17     V6/3.5L     Gas w/Start/Stop                                 58545, 59               —                 —
   2019-17     V6/3.5L     Gas w/o Start/Stop                               585                     24F               24F AGM
   2019-11     V6/3.5L     Hybrid                                           36033, 45, 50, 61       —
   2019-09     L4/2.7L                                                      585                     24F               24F AGM
   See page 158 for Footnotes. Selection may vary by warehouse.

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  YEAR      ENGINE                          OPTIONS               ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                      CCA/RATING             (NOTES)            (NOTES)

Toyota Highlander (continued)
2016-11   V6/3.5L    Gas                                       585                     24F               24F AGM
2010-08   V6/3.5L                                              585                     24F               24F AGM
2010-06   V6/3.3L    Hybrid                                    435                     51R
2007-04   V6/3.3L                                              585                     24F               24F AGM
2007-01   L4/2.4L                                              585                     24F               24F AGM
2003-01   V6/3.0L                                              585                     24F               24F AGM
Toyota Land Cruiser
2021-13   V8/5.7L                                              710                     27F
2011-08   V8/5.7L                                              710                     27F
2007-01   V8/4.7L                                              710                     27F
2000-98   V8/4.7L                                              575                     24F               24F AGM
1997-93   L6/4.5L                                              450                     24F               24F AGM
1997-93   L6/4.5L    Can & Opt                                 625                     27F
1992-90   L6/4.0L                                              450                     27
Toyota Matrix
2013-09 L4/2.4L                                                575                     24F               24F AGM
2008-03 L4/1.8L                                                550                     35                35 AGM
Toyota Mirai
2023-21              Electric/Hydrogen                         34550                   H5 (47)           H5 (47) AGM
2020-16              Electric/Hydrogen                         36033, 45, 50, 61       —                 —
Toyota MR2
1995-93   L4/2.0L                                              360                     35                35 AGM
1995-93   L4/2.0L    Opt                                       490                     24F               24F AGM
1995-93   L4/2.2L                                              490                     24F               24F AGM
1992-91   L4/2.0L                                              350                     35                35 AGM
1992-91   L4/2.2L                                              350                     35                35 AGM
Toyota MR2 Spyder
2005-00 L4/1.8L                                                430                     51R
Toyota Paseo
1999-98   L4/1.5L                                              550                     25
1997-92   L4/1.5L                                              310                     25
1996-93   L4/1.5L    Opt                                       410                     25
1997      L4/1.5L    Opt                                       360                     25
1992      L4/1.5L    Can & Opt                                 350                     25
Toyota Pickup, T100
1998-95   V6/3.4L                                              585                     24F               24F AGM
1998-94   L4/2.7L                                              585                     24F               24F AGM
1995-91   L4/2.4L    Can & Opt                                 585                     24
1995-91   L4/2.4L    US                                        360                     25
1995-91   V6/3.0L    Can & Opt                                 585                     24
1995-91   V6/3.0L    US                                        360                     25
1990      L4/2.4L                                              320                     25
1990      L4/2.4L    Opt                                       350                     25
1990      V6/3.0L                                              585                     24
1990      V6/3.0L    Opt                                       350                     25
Toyota Previa
1997-91 L4/2.4L                                                360                     35                35 AGM
1997-91 L4/2.4L      Opt                                       585                     24F               24F AGM
Toyota Prius
2022-18   L4/1.8L    Hybrid                                    295                     —
2017-16   L4/1.8L    Hybrid                                    480                     —
2015-10   L4/1.8L    Hybrid                                    32533, 45, 50           S46B AGM          —
2009-04   L4/1.5L    HD, Opt or Smart Key                      32533, 45, 50           S46B AGM          —
2009-04   L4/1.5L    w/o Smart Key                             27033, 50               —                 —
2003-01   L4/1.5L                                              27033, 50               —                 —
2014      L4/1.8L    Plug-in                                   36033, 50               S46B AGM          —
Toyota Prius AWD-e
2022-19 L4/1.8L      Hybrid                                    295                     —                 —
Toyota Prius c
2019-18 L4/1.5L      Hybrid                                    28045, 50               —                 —
2017-12 L4/1.5L      Hybrid                                    27033, 45, 50           —                 —
Toyota Prius Plug-In
2015-12 L4/1.8L      Hybrid                                    32533, 45, 50           S46B AGM          —
Toyota Prius Prime
2022-18 L4/1.8L      Hybrid                                    295                    —                  —
2017    L4/1.8L      Hybrid                                    480                    —                  —
                                                              See page 158 for Footnotes. Selection may vary by warehouse.

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      YEAR        ENGINE                                                    OPTIONS      ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                                             CCA/RATING             (NOTES)            (NOTES)

   Toyota Prius v
   2018-12 L4/1.8L         Hybrid                                                     32533, 45, 50           S46B AGM          —
   Toyota RAV4
   2022-19     L4/2.5L     Gas w/o Start/Stop                                         565                     —                 H5 (47) AGM
   2022-19     L4/2.5L     Gas w/Start/Stop                                           60550, 59               —                 —
   2022-19     L4/2.5L     Hybrid w/Wireless/Smart door lock, Opt Audio               34550                   H5 (47)           H5 (47) AGM
   2022-19     L4/2.5L     Hybrid w/o Wireless/Smart door lock, Opt Audio             28550                   —                 —
   2018-16     L4/2.5L     Gas                                                        355                     35                35 AGM
   2018-16     L4/2.5L     Hybrid, w/o Premium Sound System                           32533, 45, 50, 61       —                 —
   2018-16     L4/2.5L     Hybrid, w/ Premium Sound System                            35533, 45, 50, 61       —                 —
   2014-12                 Electric                                                   35545                   35                35 AGM
   2013-09     L4/2.5L                                                                585                     24F               24F AGM
   2012-06     V6/3.5L                                                                585                     24F               24F AGM
   2008-04     L4/2.4L                                                                585                     24F               24F AGM
   2003-01     L4/2.0L                                                                420                     35                35 AGM
   2000-96     L4/2.0L                                                                360                     35                35 AGM
   2015        L4/2.5L                                                                355                     35                35 AGM
   2014        L4/2.5L                                                                356                     35                35 AGM
   Toyota RAV4 Prime
   2022-21 L4/2.5L         Hybrid                                                     34550                   H5 (47)           H5 (47) AGM
   Toyota Sequoia
   2022-08     V8/5.7L                                                                710                     27F
   2012-10     V8/4.6L                                                                710                     27F
   2009-04     V8/4.7L                                                                710                     27F
   2003-02     V8/4.7L     Opt                                                        710                     27F
   2003-01     V8/4.7L                                                                585                     24F               24F AGM
   2001        V8/4.7L     Opt                                                        650                     27F
   Toyota Sienna
   2023-21     L4/2.5L     Hybrid                                                     560                     —                 H5 (47) AGM
   2020-07     V6/3.5L                                                                585                     24F               24F AGM
   2013-11     L4/2.7L                                                                585                     24F               24F AGM
   2006-04     V6/3.3L                                                                585                     24F               24F AGM
   2003-02     V6/3.0L                                                                360                     35                35 AGM
   2003-02     V6/3.0L     Opt                                                        585                     24F               24F AGM
   2001-98     V6/3.0L                                                                585                     24F               24F AGM
   Toyota Solara (See Camry, Solara)
   Toyota Supra
   1998-94     L6/3.0L     AT                                                         585                     24F               24F AGM
   1998-93     L6/3.0L     MT                                                         490                     24F               24F AGM
   1992-90     L6/3.0L                                                                450                     27F
   1993        L6/3.0L     AT                                                         485                     24F               24F AGM
   Toyota T100 (See Pickup, T100)
   Toyota Tacoma
   2022-16     V6/3.5L                                                                585                     24F               24F AGM
   2022-05     L4/2.7L                                                                585                     24F               24F AGM
   2015-09     V6/4.0L                                                                710                     27F
   2008-07     V6/4.0L     Cold Climate or TTPkg                                      710                     27F
   2008-05     V6/4.0L                                                                585                     24F               24F AGM
   2003-01     L4/2.4L     Can & Opt                                                  585                     24F               24F AGM
   2003-01     L4/2.4L     US                                                         360                     35                35 AGM
   2003-01     L4/2.7L     Can & Opt                                                  585                     24F               24F AGM
   2003-01     L4/2.7L     US                                                         360                     35                35 AGM
   2003-01     V6/3.4L     Can & Opt                                                  585                     24F               24F AGM
   2003-01     V6/3.4L     US                                                         360                     35                35 AGM
   2000-95     L4/2.4L                                                                360                     35                35 AGM
   2000-95     L4/2.4L     Opt                                                        585                     24F               24F AGM
   2000-95     V6/3.4L                                                                360                     35                35 AGM
   2000-95     V6/3.4L     Opt                                                        585                     24F               24F AGM
   2006        V6/4.0L     HD & Cold Climate                                          710                     27F
   2005        V6/4.0L     Cold Climate or TTPkg                                      710                     27F
   2004        L4/2.4L                                                                310                     35                35 AGM
   2004        L4/2.7L                                                                310                     35                35 AGM
   2004        V6/3.4L                                                                550                     24F               24F AGM
   Toyota Tercel
   1999-97     L4/1.5L     Opt                                                        360                     25
   1999-91     L4/1.5L                                                                310                     25
   1996-93     L4/1.5L                                                                360                     25
   1996-93     L4/1.5L     Opt                                                        410                     25
   1992-91     L4/1.5L     Opt                                                        350                     25
   1990        L4/1.5L                                                                310                     35                35 AGM
   1990        L4/1.5L     Opt                                                        350                     35                35 AGM
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   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT            GROUP SIZE       ALTERNATE SIZE
                                                                                                        CCA/RATING                 (NOTES)            (NOTES)

Toyota Tundra
2022-08     V8/5.7L      Opt                                                                     710                         27F
2022-07     V8/5.7L                                                                              585                         24F               24F AGM
2019-10     V8/4.6L                                                                              585                         24F               24F AGM
2019-10     V8/4.6L      Opt                                                                     710                         27F
2014-08     V8/5.7L      HD & Cold Climate                                                       710                         27F
2014-05     V6/4.0L                                                                              585                         24F               24F AGM
2014-05     V6/4.0L      HD & Cold Climate                                                       710                         27F
2009-08     V8/4.7L      Opt                                                                     710                         27F
2009-00     V8/4.7L                                                                              585                         24F               24F AGM
2006-02     V8/4.7L      HD & Cold Climate                                                       710                         27F
2004-00     V6/3.4L      AT or HD                                                                585                         24F               24F AGM
2004-00     V6/3.4L      MT                                                                      360                         35                35 AGM
2000        V8/4.7L      Opt                                                                     650                         27F
Toyota Venza
2023-21 L4/2.5L          Hybrid                                                                  34550                       H5 (47)           H5 (47) AGM
2016-09 L4/2.7L                                                                                  585                         24F               24F AGM
2016-09 V6/3.5L                                                                                  585                         24F               24F AGM
Toyota Yaris
2019-17     L4/1.5L                                                                              355                         H5 (47)           H5 (47) AGM
2016-15     L4/1.5L      Sedan                                                                   36045                       35                35 AGM
2014-06     L4/1.5L                                                                              36045                       —                 —
2020        L4/1.5L                                                                              355                         35                35 AGM
2016        L4/1.5L      Hatchback                                                               360                         H5 (47)           H5 (47) AGM
2016        L4/1.5L      Sedan                                                                   360                         35                35 AGM
Toyota Yaris iA
2018-17 L4/1.5L                                                                                  355                         35                35 AGM
Volkswagen Arteon
2022-19     L4/2.0L      PR Code J0B                                                             85033, 50, 55, 56, 58       H8 (49) AGM       —
2022-19     L4/2.0L      PR Code J0N                                                             54056, 55, 58               —                 —
2022-19     L4/2.0L      PR Code J1D                                                             64056, 55, 58               —                 —
2022-19     L4/2.0L      PR Code J2D                                                             68033, 50, 55, 56, 58       H6 (48) AGM       —
2022-19     L4/2.0L      PR Code J2S                                                             48056, 55, 58               —                 —
2022-19     L4/2.0L      PR Code J0S                                                             54050, 55, 56, 59           —                 —
2022-19     L4/2.0L      PR Code J0T                                                             68050, 55, 56, 59           —                 —
2022-19     L4/2.0L      PR Code J0V                                                             68050, 55, 56, 59           —                 —
2022        L4/2.0L      PR Code J0H                                                             58 Ah33, 50, 55, 56, 58     H5 (47) AGM       —
Volkswagen Atlas
2022-18     L4/2.0L      PR Code J0N                                                             54055, 56, 58               —                 —
2022-18     L4/2.0L      PR Code J2D                                                             68033, 55, 56, 58           H6 (48) AGM       —
2022-18     L4/2.0L      PR Code J0T                                                             68055, 56, 58, 59           —                 —
2022-18     L4/2.0L      PR Code J0V, J0T                                                        68055, 56, 58, 59           —                 —
2022-18     L4/2.0L      PR Code J1D                                                             64055, 56, 58               —                 —
2022-18     V6/3.6L      PR Code J0N                                                             54055, 56, 58               —                 —
2022-18     V6/3.6L      PR Code J1D                                                             64055, 56, 58               —                 —
2022-18     V6/3.6L      PR Code J0T                                                             68055, 56, 58, 59           —                 —
2022-18     V6/3.6L      PR Code J0V, J0T                                                        68055, 56, 58, 59           —                 —
2022-18     V6/3.6L      PR Code J2D                                                             68033, 55, 56, 58           H6 (48) AGM       —
Volkswagen Atlas Cross Sport
2022-20 L4/2.0L          PR Code J0V                                                             68050, 55, 56, 59           —                 —
2022-20 V6/3.6L          PR Code J0V                                                             68050, 55, 56, 59           —                 —
Volkswagen Beetle
2019-17     L4/2.0L      PR Code J0S                                                             54055, 56, 58, 59           —                 —
2019-12     L4/2.0L      PR Code J1L                                                             48050, 54, 55, 56, 58       H5 (47)           H5 (47) AGM
2019-12     L4/2.0L      PR Code J0N                                                             54055, 56, 58               —                 —
2019-12     L4/2.0L      PR Code J2D                                                             68033, 55, 56, 58           H6 (48) AGM       —
2019-12     L4/2.0L      PR Code J1D                                                             64050, 54, 55, 56, 58       —                 —
2019-12     L4/2.0L      PR Code J0T                                                             68055, 56, 58, 59           —                 —
2017-14     L4/1.8L      PR Code J0N                                                             54050, 54, 55, 56, 58       —                 —
2017-14     L4/1.8L      PR Code J0T                                                             68045, 54, 58, 59           —
2017-14     L4/1.8L      PR Code J1D                                                             64050, 54, 55, 56, 58       —                 —
2017-14     L4/1.8L      PR Code J1L                                                             48050, 54, 55, 56, 58       H5 (47)           H5 (47) AGM
2017-14     L4/1.8L      PR Code J2D                                                             68033, 50, 54, 55, 56, 58   H6 (48) AGM       —
2015-13     L4/2.0L      Dsl, PR Code J0N                                                        54050, 54, 55, 56, 58       —                 —
2015-13     L4/2.0L      Dsl, PR Code J0T                                                        68045, 54, 58, 59           —
2015-13     L4/2.0L      Dsl, PR Code J1D                                                        64050, 54, 55, 56, 58       —                 —
2015-13     L4/2.0L      Dsl, PR Code J1L                                                        48050, 54, 55, 56, 58       H5 (47)           H5 (47) AGM
2015-13     L4/2.0L      Dsl, PR Code J2D                                                        68033, 50, 54, 55, 56, 58   H6 (48) AGM       —
2014-12     L5/2.5L      PR Code J0N                                                             54055, 56, 58               —                 —
2014-12     L5/2.5L      PR Code J0S                                                             54055, 56, 58, 59           —                 —
2014-12     L5/2.5L      PR Code J1D                                                             64055, 56, 58               —                 —
2014-12     L5/2.5L      PR Code J0T                                                             68055, 56, 58, 59           —                 —
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                    145
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT           GROUP SIZE       ALTERNATE SIZE
                                                                                                       CCA/RATING                (NOTES)            (NOTES)

   Volkswagen Beetle (continued)
   2014-12     L5/2.5L     PR Code J0S                                                          54055, 56, 58, 59           —                —
   2014-11     L5/2.5L     PR Code J1D                                                          64050, 54, 55, 56, 58       —                —
   2014-11     L5/2.5L     PR Code J1L                                                          48050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
   2014-11     L5/2.5L     PR Code J2D                                                          68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
   2010-06     L5/2.5L     PR Code J0N                                                          54050, 54, 55, 56           —                —
   2010-06     L5/2.5L     Opt., PR Code J1D                                                    64050, 54, 55, 56, 58       —                —
   2007-06     L5/2.5L     PR Code J0N                                                          54050, 55, 56, 58           —                —
   2006-03     L4/1.9L     Turbo Dsl                                                            54050, 54, 55, 56           —                —
   2006-03     L4/1.9L     Turbo DSL, Opt                                                       64050, 54, 55, 56           —                —
   2005-98     L4/2.0L     PR Code J1D                                                          68050, 54, 55, 56, 58       —                —
   2005-98     L4/2.0L                                                                          61 Ah55, 56                 —                —
   2005-03     L4/1.8L                                                                          61 Ah55, 56                 —                —
   2005-03     L4/1.8L     Opt                                                                  72 Ah55, 56                 —                —
   2004-98     L4/1.9L     Dsl                                                                  640                         —                —
   2017        L4/1.8L     PR Code J0S                                                          54054, 58, 59               —                —
   1999        L4/1.8L                                                                          640                         —                —
   Volkswagen Cabrio, Cabriolet
   2002-00     L4/2.0L                                                                          520                         H5 (47)          H5 (47) AGM
   2002-00     L4/2.0L                                                                          540                         —                —
   1999-98     L4/2.0L                                                                          575                         —
   1997-95     L4/2.0L                                                                          460                         —
   1993-90     L4/1.8L                                                                          500                         —
   Volkswagen CC
   2017-12     L4/2.0L     Opt, PR Code J0T                                                     68050, 54, 55, 56, 59       —                —
   2017-12     V6/3.6L     Opt, PR Code J0T                                                     68050, 54, 55, 56, 59       —                —
   2017-09     L4/2.0L     PR Code J0N                                                          54050, 54, 55, 56           —                —
   2017-09     L4/2.0L     PR Code J1D                                                          64050, 54, 55, 56           H6 (48)          H6 (48) AGM
   2017-09     L4/2.0L     PR Code J1U                                                          76033, 50, 55, 56, 58       —                H8 (49) AGM
   2017-09     L4/2.0L     PR Code J2D                                                          680                         H6 (48) AGM
   2017-09     V6/3.6L     PR Code J0N                                                          54050, 54, 55, 56           —                —
   2017-09     V6/3.6L     PR Code J1D                                                          64050, 54, 55, 56           H6 (48)          H6 (48) AGM
   2017-09     V6/3.6L     PR Code J1U                                                          76033, 50, 55, 56, 58       —                H8 (49) AGM
   2017-09     V6/3.6L     PR Code J2D                                                          680                         H6 (48) AGM
   2017-09     V6/3.6L     Opt, PR Code J1D                                                     64050, 54, 55, 56           —                —
   2014-09     L4/2.0L     PR Code J1L                                                          60 Ah50, 55, 56, 58         H5 (47)          H5 (47) AGM
   2014-09     L4/2.0L     PR Code JOL                                                          70 Ah50, 55, 56, 58         H6 (48)          H6 (48) AGM
   2011-09     L4/2.0L                                                                          48050, 54                   H5 (47)          H5 (47) AGM
   2011-09     V6/3.6L                                                                          64050, 54                   —                —
   Volkswagen Corrado
   1995-92 V6/2.8L                                                                              460                         —
   1992-90 L4/1.8L                                                                              460                         —
   Volkswagen e-Golf
   2020-15                 Electric, PR Code J0S                                                54055, 56, 58, 59           —                —
   2020-15                 Electric, PR Code J1L                                                54055, 56, 58               H5 (47)          H5 (47) AGM
   2020-15                 Electric, PR Code J2D w/o Start/Stop                                 68033, 55, 56, 58           H6 (48) AGM      —
   2020-15                 Electric, PR Code J2D w/Start/Stop                                   68055, 56, 58, 59           —                —
   2020-15                 Electric, PR Code J0S                                                54054, 58, 59               —                —
   2020-15                 Electric, PR Code J1P                                                36045, 54, 58, 59           —
   2020-15                 Electric, PR Code J1L                                                54050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
   2020-15                 Electric, PR Code J2D                                                68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
   2020-15                 Electric, PR Code J0S                                                54050, 54, 55, 56, 58, 59   —                —
   Volkswagen Eos
   2016-15     L4/2.0L                                                                          54050, 54, 55, 56           —                —
   2016-15     L4/2.0L     Opt                                                                  68033, 50, 54, 55, 56       H6 (48) AGM      —
   2016-11     L4/2.0L     Opt                                                                  68045, 54, 59               —
   2016-07     L4/2.0L     Opt                                                                  64050, 54, 55, 56           —                —
   2014-11     L4/2.0L     Opt, w/o AGM, PR Code J1D                                            64050, 55, 56, 58           —                —
   2014-11     L4/2.0L     PR Code J1L                                                          54050, 55, 56, 58           H5 (47)          H5 (47) AGM
   2014-09     L4/2.0L     Opt, w/AGM, PR Code J2D                                              68033, 50, 54, 55, 56, 58   H6 (48) AGM      —
   2010-07     L4/2.0L                                                                          54050, 54, 55, 56           —                —
   2010-07     L4/2.0L     PR Code J1L                                                          60 Ah50, 55, 56, 58         H5 (47)          H5 (47) AGM
   2010-07     L4/2.0L     PR Code J1D                                                          64050, 55, 56, 58           —                —
   2010-07     L4/2.0L     PR Code JOL                                                          70 Ah50, 55, 56, 58         H6 (48)          H6 (48) AGM
   2008-07     V6/3.2L     6V, AGM                                                              5402                        —
   2010        L4/2.0L     Opt                                                                  68033, 50, 54, 55, 56       H6 (48) AGM      —
   Volkswagen EuroVan
   2003-00     V6/2.8L                                                                          57550                       —
   2002-99     V6/2.8L     Auxiliary Battery                                                    57031                       27DC
   2002-00     V6/2.8L     Primary Battery                                                      57550, 54                   —
   1997-93     L5/2.4L     Auxiliary Battery                                                    57031                       27DC
   1997-93     L5/2.4L     Dsl                                                                  575                         —
   See page 158 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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146                                                                                     Automotive/Light Truck
   YEAR        ENGINE                                                         OPTIONS              ORIGINAL EQUIPMENT       GROUP SIZE      ALTERNATE SIZE
                                                                                                       CCA/RATING            (NOTES)           (NOTES)

Volkswagen EuroVan (continued)
1995-92     L5/2.5L                                                                              460                    —
1999        V6/2.8L                                                                              460                    —
1997        V6/2.8L                                                                              460                    —
1996        L5/2.5L      Auxiliary Battery                                                       570                    27DC
1996        L5/2.5L      Primary Battery                                                         575                    —
1994        L5/2.4L                                                                              460                    —
Volkswagen Fox
1992-90 L4/1.8L                                                                                  500                    —
1993    L4/1.8L                                                                                  450                    —
Volkswagen Golf
2021-19     L4/1.4L      PR Code J0H                                                             64033, 55, 56, 58              H6 (48) AGM —
2021-19     L4/1.4L      PR Code J0S                                                             54055, 56, 58, 59              —           —
2021-19     L4/1.4L      PR Code J0T                                                             68055, 56, 58, 59              —           —
2021-19     L4/1.4L      PR Code J1D                                                             64055, 56, 58                  —           —
2021-19     L4/1.4L      PR Code J2D                                                             68033, 55, 56, 58              H6 (48) AGM —
2021-19     L4/1.4L      PR Code J1L                                                             54050, 54, 55, 56, 58          H5 (47)     H5 (47) AGM
2018-15     L4/1.8L      PR Code J2D                                                             48033, 50, 54, 55, 56, 58      H6 (48) AGM —
2018-15     L4/1.8L      PR Code J1L                                                             54050, 54, 55, 56, 58          H5 (47)     H5 (47) AGM
2018-15     L4/1.8L      PR Code J0S                                                             54050, 54, 55, 56, 58, 59      —           —
2018-15     L4/1.8L      PR Code J0T                                                             68045, 50, 54, 55, 56, 58, 59 —
2018-15     L4/1.8L      PR Code J1D                                                             64050, 54, 55, 56, 58          —           —
2017-15     L4/1.8L      PR Code JON                                                             54055, 56, 58                  —           —
2017-15     L4/1.8L      PR Code J1P                                                             36045, 50, 54, 55, 56, 58      —
2017-15     L4/1.8L      PR Code J2S                                                             48045, 50, 54, 55, 56, 58      —
2015-14     L4/2.0L      Dsl, PR Code J1D                                                        64050, 54, 55, 56, 58          —           —
2015-14     L4/2.0L      Dsl, PR Code J0S                                                        54050, 54, 55, 56, 58, 59      —           —
2015-14     L4/2.0L      Dsl, PR Code J2S                                                        48050, 54, 55, 56, 58          —
2015-13     L4/2.0L      Dsl, PR Code J0T                                                        68045, 50, 54, 55, 56, 58, 59 —
2014-10     L5/2.5L      PR Code J2S                                                             48045, 50, 54, 55, 56, 58      —
2014-10     L5/2.5L      PR Code J0N                                                             54050, 54, 55, 56              —           —
2014-10     L5/2.5L      PR Code J1D                                                             64050, 54, 55, 56, 58          —           —
2013-12     L4/2.0L      Dsl, PR Code J0N                                                        54050, 54, 55, 56              —           —
2013-12     L4/2.0L      Dsl, PR Code J1D                                                        64050, 54, 55, 56              —           —
2013-12     L4/2.0L      Dsl, Opt                                                                68033, 50, 54, 55, 56          H6 (48) AGM —
2013-12     L5/2.5L      PR Code J0T                                                             680 45, 50, 54, 55, 56, 58, 59
                                                                                                                                —
2013-10     L4/2.0L      Dsl, PR Code J1P                                                        36045, 50, 54, 55, 56, 58      —
2013-10     L4/2.0L      TDI, PR Code J1D                                                        64050, 55, 56, 58              —           —
2013-10     L4/2.0L      TDI, PR Code J1L                                                        48058                          H5 (47)     H5 (47) AGM
2013-10     L5/2.5L      Gas, Opt PR Code J2D                                                    68033, 50, 54, 55, 56          H6 (48) AGM —
2011-10     L4/2.0L      Dsl                                                                     54050, 54                      —           —
2005-04     L4/1.9L      Dsl, PR Code J0R                                                        64050, 58                      H7 (94R)    H7 (94R) AGM
2005-03     L4/1.8L      PR Code J1L                                                             54058                          H5 (47)     H5 (47) AGM
2005-03     L4/2.0L      PR Code J1L                                                             54058                          H5 (47)     H5 (47) AGM
2005-03     V6/2.8L                                                                              640                            H7 (94R)    H7 (94R) AGM
2003-01     L4/1.9L      Dsl, PR Code J0N, J1L                                                   54058                          —           —
2002-00     L4/1.8L      PR Code J0N                                                             54058                          —           —
2002-00     L4/2.0L      PR Code J0N                                                             54058                          —           —
2002-00     V6/2.8L      PR Code J0N                                                             54058                          —           —
2001-99     L4/2.0L      PR Code J0L                                                             57050, 55, 56, 58              H6 (48)     H6 (48) AGM
1999-98     L4/2.0L                                                                              575                            —
1999-98     V6/2.8L                                                                              575                            —
1996-95     V6/2.8L                                                                              575                            —
1996-95     V6/2.8L      Opt                                                                     650                            —
1996-93     L4/1.8L                                                                              575                            —
1996-93     L4/1.9L      Opt                                                                     650                            —
1996-93     L4/2.0L                                                                              575                            —
1996-93     L4/2.0L      Opt                                                                     650                            —
1996-90     L4/1.8L      Opt                                                                     650                            —
1995-93     L4/1.9L                                                                              575                            —
1992-90     L4/1.6L                                                                              500                            —
1992-90     L4/1.8L                                                                              500                            —
1992-90     L4/2.0L                                                                              500                            —
2015        L4/2.0L      Dsl, PR Code J0N, J1L                                                   54050, 54, 55, 56, 58          —           —
2015        L4/2.0L      Dsl, PR Code J1P                                                        36045, 50, 54, 55, 56, 58      —
2015        L4/2.0L      Dsl, PR Code J2D                                                        68033, 45, 50, 54, 55, 56, 58 H6 (48) AGM  —
2014        L4/2.0L      Dsl, PR Code JON                                                        54050, 54                      —           —
2014        L5/2.5L      PR Code J0S                                                             54050, 54, 55, 56, 58, 59      —           —
2014        L5/2.5L      PR Code J1L                                                             48050, 54, 58                  H5 (47)     H5 (47) AGM
2013        L4/2.0L      Gas, PR Code J2S                                                        48050, 54, 55, 56, 58          —           —
2013        L4/2.0L      Gas, PR Code J1L                                                        54050, 54, 55, 56              —           —
2013        L4/2.0L      Gas, HD PR Code J1D                                                     640 50, 55, 56, 58
                                                                                                                                —           —
2013        L4/2.0L      Gas, PR Code J2D                                                        68033, 50, 54, 55, 56          H6 (48) AGM —
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 158 for Footnotes. Selection may vary by warehouse.

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      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT               GROUP SIZE       ALTERNATE SIZE
                                                                                                       CCA/RATING                    (NOTES)            (NOTES)

   Volkswagen Golf (continued)
   2013        L4/2.0L     Gas, PR Code J0T                                                     68045, 50, 54, 55, 56, 58, 59   —
   2013        L4/2.0L     Gas, PR Code J1L                                                     48058                           H5 (47)          H5 (47) AGM
   2012        L4/2.0L     Dsl, Opt                                                             68045, 50, 54, 55, 56, 59       —
   2006        L4/1.8L     PR Code J1L                                                          48050, 58                       H5 (47)          H5 (47) AGM
   2006        L4/1.9L     PR Code J1D                                                          57050, 55, 56, 58               —                —
   2006        L4/2.0L     PR Code J1L                                                          48050, 58                       H5 (47)          H5 (47) AGM
   2004        V6/3.2L                                                                          48054                           H5 (47)          H5 (47) AGM
   2000        L4/1.9L                                                                          620                             H7 (94R)         H7 (94R) AGM
   1999        L4/1.9L     Dsl                                                                  620                             —
   1998        L4/1.8L                                                                          575                             —
   1998        L4/1.9L     Dsl                                                                  575                             —
   1997        L4/1.8L                                                                          460                             —
   1997        L4/1.9L     Dsl                                                                  620                             —
   1997        L4/2.0L                                                                          460                             —
   1997        V6/2.8L                                                                          460                             —
   1996        L4/1.9L     Turbo, DSL                                                           6506                            —
   Volkswagen Golf Alltrack
   2019-17     L4/1.8L     PR Code J1D                                                          64055, 56, 58                   —                —
   2019-17     L4/1.8L     PR Code J2D                                                          68033, 55, 56, 58               H6 (48) AGM      —
   2019-17     L4/1.8L     PR Code J0S                                                          54055, 56, 58, 59               —                —
   2019-17     L4/1.8L     PR Code J0T                                                          68055, 56, 58, 59               —                —
   2017        L4/1.8L     PR Code J0N                                                          54050, 54, 55, 56, 58           —                —
   2017        L4/1.8L     PR Code J1P                                                          36045, 50, 54, 55, 56, 58       —
   2017        L4/1.8L     PR Code J2S                                                          48045, 50, 54, 55, 56, 58       —
   Volkswagen Golf City
   2010-07 L4/2.0L         PR Code J1L                                                          54054, 58                       H5 (47)          H5 (47) AGM
   Volkswagen Golf R
   2019-18     L4/2.0L     PR Code J0H                                                          64033, 55, 56, 58               H6 (48) AGM      —
   2019-16     L4/2.0L     PR Code J2D                                                          68033, 55, 56, 58               H6 (48) AGM      —
   2019-15     L4/2.0L     PR Code J0S                                                          54055, 56, 58, 59               —                —
   2019-15     L4/2.0L     PR Code J1D                                                          64055, 56, 58                   —                —
   2019-15     L4/2.0L     PR Code J1L                                                          54054, 58                       H5 (47)          H5 (47) AGM
   2019-15     L4/2.0L     PR Code J0T                                                          68055, 56, 58, 59               —                —
   2017-16     L4/2.0L     PR Code J1P                                                          36045, 50, 54, 55, 56, 58       —
   2017-15     L4/2.0L     PR Code J0N                                                          54050, 54, 55, 56, 58           —                —
   2017-15     L4/2.0L     PR Code J2S                                                          48045, 50, 54, 55, 56, 58       —
   2013-12     L4/2.0L     Gas                                                                  54050, 54, 55, 56               —                —
   2013-12     L4/2.0L     Gas, Opt                                                             64050, 54, 55, 56               —                —
   2013-12     L4/2.0L     Gas, Opt                                                             68033, 50, 54, 55, 56           H6 (48) AGM      —
   Volkswagen Golf SportWagen
   2019-18     L4/1.4L     PR Code J0T                                                          68055, 56, 58, 59               —                —
   2019-15     L4/1.4L     PR Code J1D                                                          64055, 56, 58                   —                —
   2019-15     L4/1.8L     PR Code J0T                                                          68055, 56, 58, 59               —                —
   2019-15     L4/1.8L     PR Code J0S                                                          54055, 56, 58, 59               —                —
   2017-15     L4/1.8L     PR Code J0N                                                          54050, 54, 55, 56, 58           —                —
   2017-15     L4/1.8L     PR Code J2S                                                          48045, 54, 58                   —
   2015        L4/2.0L     Dsl, PR Code J0N                                                     54050, 54, 55, 56, 58           —                —
   2015        L4/2.0L     Dsl, PR Code J0S                                                     54054, 58, 59                   —                —
   2015        L4/2.0L     Dsl, PR Code J0T                                                     680 54, 58, 59                  —
   2015        L4/2.0L     Dsl, PR Code J1D                                                     64050, 54, 55, 56, 58           —                —
   2015        L4/2.0L     Dsl, PR Code J2S                                                     48045, 54, 58                   —
   Volkswagen GTI
   2023-22     L4/2.0L     PR Code J0H                                                          58 Ah33, 50, 55, 56, 58         H5 (47) AGM      —
   2023-22     L4/2.0L     PR Code J0S                                                          54055, 56, 58, 59               —                —
   2023-22     L4/2.0L     PR Code J0V                                                          70 Ah55, 56, 58, 59             —                —
   2023-22     L4/2.0L     PR Code J2D                                                          48033, 50, 54, 55, 56, 58       H6 (48) AGM      —
   2021-15     L4/2.0L     PR Code J0T                                                          68055, 56, 58, 59               —                —
   2021-15     L4/2.0L     PR Code J2D                                                          68033, 55, 56, 58               H6 (48) AGM      —
   2021-14     L4/2.0L     PR Code J0S                                                          54055, 56, 58, 59               —                —
   2021-14     L4/2.0L     PR Code J1D                                                          64055, 56, 58                   —                —
   2021-14     L4/2.0L     PR Code J1L                                                          52050, 54, 55, 56, 58           H5 (47)          H5 (47) AGM
   2017-15     L4/2.0L     PR Code J1P                                                          36045, 50, 54, 55, 56, 58       —
   2017-14     L4/2.0L     PR Code J0N                                                          54050, 54, 55, 56, 58           —                —
   2017-14     L4/2.0L     PR Code J2S                                                          48045, 50, 54, 55, 56, 58       —
   2017-12     L4/2.0L     PR Code J0T                                                          68050, 54, 55, 56, 58, 59       —
   2014-12     L4/2.0L     Opt                                                                  64050, 54, 55, 56               —                —
   2014-11     L4/2.0L     Opt                                                                  57054                           H6 (48)          H6 (48) AGM
   2013-12     L4/2.0L     Opt                                                                  68033, 50, 54, 55, 56           H6 (48) AGM      —
   2013-10     L4/2.0L     PR Code J0N                                                          54054                           —                —
   2013-10     L4/2.0L                                                                          54050, 54, 55, 56               —                —
   2011-09     L4/2.0L     Opt                                                                  57050, 54                       H6 (48)          H6 (48) AGM
   See page 158 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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148                                                                                     Automotive/Light Truck
   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT           GROUP SIZE       ALTERNATE SIZE
                                                                                                        CCA/RATING                (NOTES)            (NOTES)

Volkswagen GTI (continued)
2008-06     L4/2.0L                                                                              54054                       H6 (48)          H6 (48) AGM
2012        L4/2.0L      Opt                                                                     68045, 50, 54, 55, 56, 59   —
2010        L4/2.0L      PR Code J1L                                                             52050, 54, 55, 56, 58       H5 (47)          H5 (47) AGM
2010        L4/2.0L      PR Code J0R                                                             80 Ah50, 55, 56, 58         H7 (94R)         H7 (94R) AGM
Volkswagen ID 4
2023-21                  Electric, PR Code J1H                                                   49                          —                —
2023-21                  Electric, PR Code J2S                                                   51                          —                —
Volkswagen Jetta
2022-18     L4/2.0L      PR Code J0T                                                             68055, 56, 58, 59             —           —
2022-15     L4/2.0L      PR Code J0S                                                             54055, 56, 58, 59             —           —
2022-03     L4/2.0L      PR Code J1D                                                             64055, 56, 58                 —           —
2022-03     L4/2.0L      PR Code J0N                                                             54055, 56, 58                 —           —
2021-18     L4/1.4L      PR Code J0T                                                             68055, 56, 58, 59             —           —
2021-17     L4/1.4L      PR Code J0N                                                             54055, 56, 58                 —           —
2021-17     L4/1.4L      PR Code J0S                                                             54055, 56, 58, 59             —           —
2021-17     L4/1.4L      PR Code J2D                                                             68033, 55, 56, 58             H6 (48) AGM —
2021-11     L4/2.0L      PR Code J2D                                                             68033, 55, 56, 58             H6 (48) AGM —
2018-17     L4/1.4L      PR Code J1P                                                             44 Ah55, 56, 58               —           —
2018-15     L4/1.8L      PR Code J0S                                                             54055, 56, 58, 59             —           —
2018-14     L4/1.8L      PR Code J0N                                                             54055, 56, 58                 —           —
2018-14     L4/1.8L      PR Code J0T                                                             68055, 56, 58, 59             —           —
2018-14     L4/1.8L      PR Code J1D                                                             640 55, 56, 58
                                                                                                                               —           —
2018-14     L4/1.8L      PR Code J2D                                                             68033, 55, 56, 58             H6 (48) AGM —
2017-16     L4/1.4L                                                                              48050, 54, 55, 56             H6 (48)     H6 (48) AGM
2017-16     L4/1.4L      Opt                                                                     54050, 54, 55, 56             —           —
2017-16     L4/1.4L      PR Code J1D                                                             64050, 54, 55, 56             —           —
2017-16     L4/1.4L      PR Code J0T                                                             68045, 50, 54, 55, 56, 58, 59 —
2017-15     L4/2.0L                                                                              48050, 54, 55, 56             H6 (48)     H6 (48) AGM
2016-15     L4/2.0L      Opt                                                                     68033, 50, 54, 55, 56         H6 (48) AGM —
2015-12     L4/2.0L      Dsl, PR Code J0S                                                        540 54, 58, 59                —           —
2015-11     L4/2.0L      Dsl, Code J1D                                                           64050, 54, 55, 56             —           —
2015-11     L4/2.0L      Dsl, Opt                                                                68033, 50, 54, 55, 56         H6 (48) AGM —
2015-11     L4/2.0L      Dsl, Opt                                                                68045, 54, 59                 —
2014-13     L4/1.4L      Hybrid                                                                  54050, 54                     —           —
2014-13     L4/1.4L      Opt                                                                     64050, 54, 55, 56             —           —
2014-13     L4/1.4L      Opt                                                                     68033, 50, 54, 55, 56         H6 (48) AGM —
2014-13     L4/1.4L      Opt                                                                     68045, 54, 59                 —
2014-13     L4/1.4L      PR Code J0S                                                             540 54, 58, 59                —           —
2014-12     L4/2.0L      Gas, PR Code J0S                                                        540 54, 58, 59                —           —
2014-12     L5/2.5L      PR Code J0S                                                             540 54, 58, 59                —           —
2014-11     L4/2.0L      Dsl                                                                     54050, 54, 55, 56             —           —
2014-11     L4/2.0L      Gas, Opt                                                                68033, 50, 54, 55, 56         H6 (48) AGM —
2014-11     L4/2.0L      Gas, Opt                                                                68045, 54, 59                 —
2014-11     L5/2.5L      Opt                                                                     64050, 54, 55, 56             —           —
2014-11     L5/2.5L      Opt                                                                     68033, 50, 54, 55, 56         H6 (48) AGM —
2014-11     L5/2.5L      Opt                                                                     68045, 54, 59                 —
2014-09     L4/2.0L      TDI                                                                     54054                         —           —
2014-09     L4/2.0L      TDI, Opt, PR Code J0L                                                   57050, 55, 56, 58             H6 (48)     H6 (48) AGM
2014-08     L4/2.0L                                                                              54054                         —           —
2014-08     L4/2.0L      Gas, Opt                                                                570                           H6 (48)     H6 (48) AGM
2014-06     L5/2.5L                                                                              54054                         —           —
2014-05     L5/2.5L      Opt                                                                     570                           H6 (48)     H6 (48) AGM
2010-98     L4/1.9L      Dsl, PR Code J1L                                                        52050, 54                     H5 (47)     H5 (47) AGM
2010-09     L4/1.8L      PR Code J1P                                                             360                           —           —
2010-09     L4/1.8L      PR Code J0N                                                             540                           —           —
2010-08     L4/2.0L      Gas                                                                     54050, 54                     —           —
2010-08     L4/2.0L      Gas, Opt                                                                57050, 54                     H6 (48)     H6 (48) AGM
2009-08     L4/2.0L      Gas, Opt                                                                64050, 54                     H7 (94R)    H7 (94R) AGM
2009-08     L4/2.0L      PR Code J0L                                                             570                           H6 (48)     H6 (48) AGM
2009-08     L4/2.0L      PR Code J0R                                                             80 Ah                         H7 (94R)    H7 (94R) AGM
2009-06     L5/2.5L      PR Code J0L                                                             570                           H6 (48)     H6 (48) AGM
2009-06     L5/2.5L      PR Code J0R                                                             80 Ah                         H7 (94R)    H7 (94R) AGM
2009-05     L5/2.5L      Opt                                                                     64050, 54                     H7 (94R)    H7 (94R) AGM
2007-06     L4/2.0L      PR Code J0L                                                             57050                         H6 (48)     H6 (48) AGM
2007-05     L4/2.0L      Gas, Opt                                                                80 Ah                         H7 (94R)    H7 (94R) AGM
2006-98     L4/1.9L      Dsl, PR Code J0R                                                        64050, 54                     H7 (94R)    H7 (94R) AGM
2006-05     L4/1.9L      Dsl, Opt                                                                57050, 54                     H6 (48)     H6 (48) AGM
2005-03     L4/1.8L      Opt                                                                     570                           H6 (48)     H6 (48) AGM
2005-03     L4/1.8L      PR Code J1L                                                             60 Ah                         H5 (47)     H5 (47) AGM
2005-03     L4/1.8L      Wagon, Opt                                                              640                           H7 (94R)    H7 (94R) AGM
2005-03     L4/2.0L      PR Code J1L                                                             60 Ah                         H5 (47)     H5 (47) AGM
2005-01     L4/2.0L      Opt Incl Wagon                                                          640                           H7 (94R)    H7 (94R) AGM
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                   149
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT          GROUP SIZE      ALTERNATE SIZE
                                                                                                       CCA/RATING               (NOTES)           (NOTES)

   Volkswagen Jetta (continued)
   2005-00     L4/1.8L                                                                          520                         H5 (47)         H5 (47) AGM
   2004-03     V6/2.8L                                                                          52050, 54                   H5 (47)         H5 (47) AGM
   2004-02     V6/2.8L     Opt                                                                  640                         H7 (94R)        H7 (94R) AGM
   2003-00     L4/2.0L                                                                          520                         H5 (47)         H5 (47) AGM
   2002-98     L4/1.9L     Dsl, Opt                                                             57050, 54                   H6 (48)         H6 (48) AGM
   2002-98     L4/2.0L     Opt                                                                  57050, 54                   H6 (48)         H6 (48) AGM
   2002-98     V6/2.8L     Opt                                                                  57050, 54                   H6 (48)         H6 (48) AGM
   2002-00     V6/2.8L                                                                          520                         H5 (47)         H5 (47) AGM
   2000-98     L4/2.0L     Opt, PR Code J0R                                                     64050, 54                   H7 (94R)        H7 (94R) AGM
   2000-98     V6/2.8L     Opt, PR Code J0R                                                     64050, 54                   H7 (94R)        H7 (94R) AGM
   1999-98     L4/1.9L     Dsl                                                                  575                         —
   1999-98     L4/2.0L     PR Code J1L                                                          52050, 54                   H5 (47)         H5 (47) AGM
   1999-98     L4/2.0L                                                                          575                         —
   1999-98     V6/2.8L     PR Code J1L                                                          52050, 54                   H5 (47)         H5 (47) AGM
   1999-98     V6/2.8L     PR Code J0N                                                          540                         —
   1996-94     V6/2.8L                                                                          575                         —
   1996-94     V6/2.8L     Opt                                                                  650                         —
   1996-93     L4/2.0L                                                                          575                         —
   1996-93     L4/2.0L     Opt                                                                  650                         —
   1995-93     L4/1.8L                                                                          575                         —
   1995-93     L4/1.9L     Dsl                                                                  6506                        —
   1992-90     L4/1.6L     Dsl                                                                  650                         —
   1992-90     L4/1.8L                                                                          500                         —
   1992-90     L4/2.0L                                                                          500                         —
   2016        L4/1.4L     Opt                                                                  68033, 50, 54, 55, 56       H6 (48) AGM     —
   2016        L4/1.4L     PR Code J0S                                                          54050, 54, 55, 56, 58, 59   —               —
   2015        L4/1.4L     Hybrid                                                               48050, 54, 55, 56           H6 (48)         H6 (48) AGM
   2015        L4/1.4L     Hybrid, Opt                                                          54050, 54, 55, 56           —               —
   2015        L4/1.4L     Hybrid, Opt                                                          64050, 54, 55, 56           —               —
   2015        L4/1.4L     Hybrid, Opt                                                          68033, 50, 54, 55, 56       H6 (48) AGM     —
   2015        L4/1.4L     Hybrid, Opt                                                          68045, 54, 59               —
   2015        L4/1.4L     Hybrid, PR Code J0S                                                  540 54, 58, 59              —               —
   2015        L4/2.0L     Dsl                                                                  48050, 54, 55, 56           H6 (48)         H6 (48) AGM
   2015        L4/2.0L     Dsl, Opt                                                             54050, 54, 55, 56           —               —
   2015        L4/2.0L     Opt                                                                  68045, 54, 59               —
   2015        L4/2.0L     PR Code J0S                                                          540 54, 58, 59              —               —
   2014        L4/1.4L     Opt                                                                  57050, 54                   H6 (48)         H6 (48) AGM
   2011        L4/2.0L     Dsl, Opt                                                             54045, 54, 59               —
   2011        L4/2.0L     Gas, Opt                                                             54045, 54, 59               —
   2011        L5/2.5L     Opt                                                                  54045, 54, 59               —
   2009        L4/2.0L     Dsl & Opt                                                            80 Ah                       H7 (94R)        H7 (94R) AGM
   2009        L4/2.0L     Dsl, Opt                                                             64050, 54                   H7 (94R)        H7 (94R) AGM
   2007        L4/2.0L                                                                          54050, 54                   —               —
   2007        L4/2.0L     Opt                                                                  57050, 54                   H6 (48)         H6 (48) AGM
   2007        L4/2.0L     Opt                                                                  64050, 54                   H7 (94R)        H7 (94R) AGM
   2006        L4/1.9L     Dsl, PR Code J0L                                                     70 Ah50                     H6 (48)         H6 (48) AGM
   2006        L4/2.0L     Turbo                                                                54050, 54                   —               —
   2006        L4/2.0L     Turbo, Opt                                                           57050, 54                   H6 (48)         H6 (48) AGM
   2006        L4/2.0L     Turbo, Opt                                                           64050, 54                   H7 (94R)        H7 (94R) AGM
   2005        L4/1.8L     Late                                                                 54050, 54                   —               —
   2005        L4/1.9L     Dsl, Late                                                            54050, 54                   —               —
   2005        L4/2.0L     Early                                                                52050, 54                   H5 (47)         H5 (47) AGM
   2005        L4/2.0L     Late                                                                 54050, 54                   —               —
   2005        L4/2.0L     Opt                                                                  57050, 54                   H6 (48)         H6 (48) AGM
   2005        L5/2.5L     Early                                                                52050, 54                   H5 (47)         H5 (47) AGM
   2005        L5/2.5L     Late                                                                 54050, 54                   —               —
   2005        L5/2.5L     Opt                                                                  54050, 54                   H6 (48)         H6 (48) AGM
   2005        L5/2.5L     PR Code J1L                                                          60 Ah                       H5 (47)         H5 (47) AGM
   2004        L4/2.0L     PR Code J1L                                                          52050, 54                   H5 (47)         H5 (47) AGM
   2004        V6/2.8L     Wagon, Opt                                                           640                         H7 (94R)        H7 (94R) AGM
   2002        L4/1.8L     Opt                                                                  640                         H7 (94R)        H7 (94R) AGM
   2002        L4/1.9L     TDI, Wagon, Opt                                                      72 Ah                       —               —
   2002        L4/2.0L     Wagon, Opt                                                           72 Ah                       —               —
   2001        L4/1.8L     Opt, Cold Climate, PR Code J1U                                       76050, 54                   —               H8 (49) AGM
   2001        L4/1.8L     Wagon, PR Code J0R                                                   640                         H7 (94R)        H7 (94R) AGM
   2001        L4/1.9L     Dsl, Opt, Cold Climate                                               76050, 54                   —               H8 (49) AGM
   2001        L4/2.0L     Opt, Cold Climate, PR Code J1U                                       76050, 54                   —               H8 (49) AGM
   2001        L4/2.0L     Wagon                                                                95 Ah                       —               H8 (49) AGM
   2001        V6/2.8L     Opt, Cold Climate, PR Code J1U                                       76050, 54                   —               H8 (49) AGM
   2001        V6/2.8L     Wagon                                                                95 Ah                       —               H8 (49) AGM
   2001        V6/2.8L     Wagon, PR Code J0R                                                   640                         H7 (94R)        H7 (94R) AGM
   2000        L4/1.8L     Opt, PR Code J0R                                                     64050, 54                   H7 (94R)        H7 (94R) AGM
   See page 158 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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150                                                                                     Automotive/Light Truck
   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT         GROUP SIZE    ALTERNATE SIZE
                                                                                                        CCA/RATING              (NOTES)         (NOTES)

Volkswagen Jetta (continued)
1997        L4/1.9L      Dsl                                                                     620                       —
1997        L4/2.0L                                                                              460                       —
1997        V6/2.8L                                                                              460                       —
1996        L4/1.9L      Dsl                                                                     5755                      —
Volkswagen Jetta City
2009-07 L4/2.0L          PR Code J0N                                                             54054                     —                —
2009-07 L4/2.0L          PR Code J0R                                                             640                       H7 (94R)         H7 (94R) AGM
2009-07 L4/2.0L          PR Code J0L                                                             57050, 55, 56, 58         H6 (48)          H6 (48) AGM
Volkswagen Passat
2022-18     L4/2.0L      PR Code J0N                                                             61 Ah50, 55, 56, 58       —                —
2022-18     L4/2.0L      PR Code J1D                                                             72 Ah50, 55, 56, 58       —                —
2022-18     L4/2.0L      PR Code J1U                                                             76050, 55, 56, 58         —                H8 (49) AGM
2022-18     L4/2.0L      PR Code J2D                                                             68 Ah33, 50, 55, 56, 58   H6 (48) AGM      —
2018-16     V6/3.6L      PR Code J2D                                                             68033, 50, 55, 56, 58     H6 (48) AGM      —
2018-16     V6/3.6L      PR Code J0N                                                             54050, 54, 55, 56, 58     —                —
2018-16     V6/3.6L      PR Code J1D                                                             72 Ah50, 54, 55, 56, 58   —                —
2018-16     V6/3.6L      PR Code J1U                                                             76050, 55, 56, 58         —                H8 (49) AGM
2018-12     L5/2.5L      PR Code J0N                                                             54050, 55, 56, 58         —                —
2018-12     L5/2.5L      PR Code J1D                                                             64050, 55, 56, 58         —                —
2018-12     L5/2.5L      PR Code J2D                                                             68033, 50, 55, 56, 58     H6 (48) AGM      —
2018-12     L5/2.5L      PR Code J1U                                                             76050, 55, 56, 58         —                H8 (49) AGM
2017-16     L4/1.8L      PR Code J0N                                                             54050, 54, 55, 56, 58     —                —
2017-16     L4/1.8L      PR Code J1D                                                             64050, 54, 55, 56, 58     —                —
2015-14     L4/1.8L      PR Code J0N                                                             54050, 54, 55, 56         —                —
2015-14     L4/1.8L      Dsl, PR Code J1D                                                        64050, 54, 55, 56         —                —
2015-14     L4/1.8L      Dsl, PR Code J1U                                                        76050, 54, 55, 56         —                H8 (49) AGM
2015-12     L4/2.0L      Dsl, PR Code J1D                                                        64050, 54, 55, 56         —                —
2015-12     L4/2.0L      Dsl, PR Code J1U                                                        76050, 54, 55, 56         —                H8 (49) AGM
2015-12     L4/2.0L      Dsl, PR Code J0N                                                        54050, 54, 55, 56         —                —
2014-12     L5/2.5L      PR Code J0N                                                             54050, 54, 55, 56         —                —
2014-12     L5/2.5L      PR Code J1D                                                             64050, 54, 55, 56         —                —
2014-12     L5/2.5L      PR Code J1U                                                             76050, 54, 55, 56         —                H8 (49) AGM
2014-12     V6/3.6L      PR Code J0N                                                             54050, 54, 55, 56         —                —
2014-12     V6/3.6L      PR Code J1D                                                             72 Ah50, 54, 55, 56       —                —
2014-12     V6/3.6L      PR Code J1U                                                             76050, 54, 55, 56         —                H8 (49) AGM
2010-09     L4/2.0L      PR Code J1P                                                             44 Ah                     —                —
2010-09     L4/2.0L      PR Code J0N                                                             54050, 54, 55, 56         —                —
2010-09     L4/2.0L      PR Code J1L                                                             48054                     H5 (47)          H5 (47) AGM
2010-09     L4/2.0L      PR Code J2S                                                             51 Ah50, 55, 56, 58       —                —
2010-09     L4/2.0L      PR Code J2D                                                             68 Ah33, 50, 55, 56, 58   H6 (48) AGM      —
2010-09     L4/2.0L      PR Code J1D                                                             72 Ah                     —                —
2010-09     L4/2.0L      Syn/4 Mot, AGM, Opt, PR Code J0B                                        92 Ah33                   H8 (49) AGM      —
2010-06     L4/2.0L      PR Code J1U                                                             76050, 55, 56, 58         —                H8 (49) AGM
2010-06     V6/3.6L      PR Code J1D                                                             72 Ah50, 55, 56, 58       —                —
2010-06     V6/3.6L      Syn/4 Mot, AGM, HD, PR Code J0B                                         85033, 50, 55, 56, 58     H8 (49) AGM      —
2009-07     V6/3.6L      PR Code J0N                                                             54050, 54, 55, 56         —                —
2009-06     V6/3.6L      Syn/4 Mot, AGM, PR Code J2D                                             68033                     H6 (48) AGM      —
2008-07     V6/3.6L      Wagon, PR Code J2D                                                      68033                     H6 (48) AGM      —
2008-07     V6/3.6L      Wagon, Opt, PR Code J0B                                                 85033, 50, 55, 56, 58     H8 (49) AGM      —
2008-06     V6/3.6L      Sedan                                                                   76050, 55, 56, 58         —                H8 (49) AGM
2007-06     L4/2.0L      PR Code J0N                                                             480                       H5 (47)          H5 (47) AGM
2005-98     L4/1.8L      PR Code J1D                                                             64050, 54, 55, 56, 58     H6 (48)          H6 (48) AGM
2005-98     L4/1.8L      PR Code J2T                                                             76050, 54, 55, 56, 58     H7 (94R)         H5 (47) AGM
2005-98     L4/1.8L      PR Code JoR                                                             64050, 54, 55, 56, 58     H7 (94R)         H5 (47) AGM
2005-98     V6/2.8L      PR Code J1D                                                             54050, 55, 56, 58         H6 (48)          H6 (48) AGM
2005-98     V6/2.8L      HD, PR Code J0R                                                         64050, 55, 56, 58         H7 (94R)         H7 (94R) AGM
2005-04     L4/2.0L      Dsl, PR Code J0R                                                        64050, 55, 56, 58         H7 (94R)         H7 (94R) AGM
2004-02     W8/4.0L      PR Code J0R                                                             64050                     H7 (94R)         H7 (94R) AGM
1996-94     L4/2.0L      PR Code J1D                                                             72 Ah50, 55, 56, 58       —                —
1996-94     L4/2.0L      PR Code J0N                                                             61 Ah50, 55, 56, 58       —                —
1996-94     L4/2.0L      PR Code J1U                                                             76050, 55, 56, 58         —                H8 (49) AGM
1995-93     L4/1.9L      Dsl                                                                     460                       —
1993-90     L4/2.0L                                                                              460                       —
1992-91     L4/1.8L                                                                              460                       —
2005        L4/1.8L                                                                              57050                     H6 (48)          H6 (48) AGM
2005        L4/1.8L      Ex 4 Motion                                                             74050                     —                H8 (49) AGM
2002        W8/4.0L      PR Code J0L                                                             57050, 54                 H6 (48)          H6 (48) AGM
1997        L4/1.9L      Dsl                                                                     650                       —
1996        L4/1.9L      Dsl                                                                     6506                      —
1993        L4/1.8L                                                                              475                       —
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                     151
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT            GROUP SIZE       ALTERNATE SIZE
                                                                                                       CCA/RATING                 (NOTES)            (NOTES)

   Volkswagen Passat CC
   2010-09     L4/2.0L     PR Code JON                                                          61 Ah50, 54                   —               —
   2010-09     L4/2.0L     PR Code J2D                                                          68 Ah33, 50, 55, 56, 58       H6 (48) AGM
   2010-09     L4/2.0L     PR Code J1L                                                          60 Ah50, 54, 58               H5 (47)         H5 (47) AGM
   2010-09     L4/2.0L     PR Code JOL                                                          70 Ah50, 55, 56, 58           H6 (48)         H6 (48) AGM
   2010-09     V6/3.6L     PR Code J1D                                                          72 Ah50, 54                   —               —
   2010-09     V6/3.6L     PR Code J1U                                                          95 Ah50, 54, 58               —               H8 (49) AGM
   Volkswagen Phaeton
   2006-04     V8/4.2L     Auxiliary, In Trunk                                                  92 Ah33                       H8 (49) AGM     —
   2006-04     V8/4.2L     Starting, In Trunk                                                   61 Ah50, 55, 56               —               —
   2006        W12/6.0L    Auxiliary, In Trunk                                                  92 Ah33                       H8 (49) AGM     —
   2006        W12/6.0L    Starting, In Trunk                                                   61 Ah50, 55, 56               —               —
   Volkswagen R32
   2008        V6/3.2L                                                                          64054                         H7 (94R)        H7 (94R) AGM
   Volkswagen Rabbit
   2009-06 L5/2.5L         HD, PR Code J0R                                                      64050, 58                     H7 (94R)        H7 (94R) AGM
   2009-06 L5/2.5L         PR Code J0L                                                          54050, 55, 56, 58             H6 (48)         H6 (48) AGM
   Volkswagen Routan
   2014-11     V6/3.6L                                                                          700                           H7 (94R)        H7 (94R) AGM
   2010-09     V6/3.8L                                                                          600                           34
   2010-09     V6/3.8L                                                                          700                           34
   2010-09     V6/4.0L                                                                          600                           34
   2010-09     V6/4.0L                                                                          700                           34
   Volkswagen Taos
   2023-22 L4/1.5L         PR Code J1L                                                          52050, 55, 56, 58             H5 (47          H5 (47) AGM
   2023-22 L4/1.5L         PR Code J0S                                                          540 54, 58, 59                —               —
   Volkswagen Tiguan
   2023-17     L4/2.0L     PR Code J1N                                                          80033, 50, 55, 56, 58         H7 (94R) AGM    —
   2023-17     L4/2.0L     PR Code J1L                                                          52050, 55, 56, 58             H5 (47          H5 (47) AGM
   2023-12     L4/2.0L     PR Code J0S                                                          540 54, 58, 59                —               —
   2023-12     L4/2.0L     PR Code J0V                                                          68050, 56, 55, 58, 59         —               —
   2023-11     L4/2.0L     PR Code J1P                                                          36045, 54, 57, 67, 70         —               —
   2023-09     L4/1.4L     PR Code J1D                                                          64050, 55, 56, 58             —               —
   2023-09     L4/2.0L     PR Code J2S                                                          48045, 54, 57, 67, 70         —               —
   2023-09     L4/2.0L     PR Code J2D                                                          68033, 50, 55, 56, 58         H6 (48) AGM     —
   2018-12     L4/2.0L     PR Code J0T                                                          680                           —               —
   2018-09     L4/2.0L     PR Code J0N                                                          540 50, 56, 55, 58            —               —
   Volkswagen Tiguan Limited
   2018-17     L4/1.4L     PR Code J1D                                                          64050, 55, 56, 58             —               —
   2018-17     L4/2.0L     PR Code J1N                                                          80033, 50, 55, 56, 58         H7 (94R) AGM    —
   2018-17     L4/2.0L     PR Code J1L                                                          52050, 55, 56, 58             H5 (47          H5 (47) AGM
   2018-17     L4/2.0L     PR Code J0S                                                          540 54, 58, 59                —               —
   2018-17     L4/2.0L     PR Code J0V                                                          68050, 56, 55, 58, 59         —               —
   2018-17     L4/2.0L     PR Code J1P                                                          36045, 54, 57, 67, 70         —               —
   2018-17     L4/2.0L     PR Code J2S                                                          48045, 54, 57, 67, 70         —               —
   2018-17     L4/2.0L     PR Code J2D                                                          68033, 50, 55, 56, 58         H6 (48) AGM     —
   2018-17     L4/2.0L     PR Code J0N                                                          540 50, 56, 55, 58            —               —
   2018-17     L4/2.0L     PR Code J0T                                                          680                           —               —
   Volkswagen Touareg
   2017-11 V6/3.6L         PR Code J1N                                                          64033, 50, 54, 55, 56, 58     H7 (94R) AGM    —
   2017-11 V6/3.6L         PR Code J0P                                                          95033, 50, 54, 55, 56, 58     H9 (95R) AGM    —
   2017-11 V6/3.6L         PR Code J0R                                                          64050, 54, 55, 56, 58         H7 (94R)        H7 (94R) AGM
   2017-07 V6/3.6L         PR Code J0B                                                          85033, 50, 54, 55, 56, 58     H8 (49) AGM     —
   2017-07 V6/3.6L         PR Code J0Z                                                          85050, 54, 55, 56, 58         —               H9 (95R) AGM
   2017-07 V6/3.6L         PR Code J2T                                                          80050, 54, 55, 56, 58         H7 (94R)        H7 (94R) AGM
   2016-11 V6/3.0L         Dsl, PR Code J1N                                                     64050, 54, 55, 56, 58         H7 (94R)        H7 (94R) AGM
   2016-11 V6/3.0L         Dsl, PR Code J0B                                                     85033, 50, 54, 55, 56, 58     H8 (49) AGM     —
   2016-11 V6/3.0L         Dsl, PR Code J2T                                                     80033, 50, 54, 55, 56, 58     H7 (94R) AGM    —
   2016-11 V6/3.0L         Dsl, PR Code J0P                                                     95033, 50, 54, 55, 56, 58     —               H9 (95R) AGM
   2016-11 V6/3.0L         Dsl, PR Code J0R                                                     64050, 54, 55, 56, 58         H7 (94R)        H7 (94R) AGM
   2016-11 V6/3.0L         Dsl, PR Code J 0Z                                                    85050, 54, 55, 56, 58         —               H9 (95R) AGM
   2016-11 V6/3.0L         Dsl, PR Code J2T                                                     76050, 54, 55, 56, 58         H7 (94R)        H7 (94R) AGM
   2015-11 V6/3.0L         Hybrid, PR Code J1N                                                  64050, 54, 55, 56, 58         H7 (94R)        H7 (94R) AGM
   2015-11 V6/3.0L         Hybrid, PR Code J0B                                                  85033, 50, 54, 55, 56, 58     H8 (49) AGM     —
   2015-11 V6/3.0L         Hybrid, PR Code J2T                                                  80033, 50, 54, 55, 56, 58     H7 (94R) AGM    —
   2015-11 V6/3.0L         Hybrid, PR Code J0P                                                  85050, 54, 55, 56, 58         —               H9 (95R) AGM
   2015-11 V6/3.0L         Hybrid, PR Code J0Z                                                  95033, 50, 54, 55, 56, 58     —               H9 (95R) AGM
   2015-11 V6/3.0L         Hybrid, Opt, PR Code J2T                                             76050, 54, 55, 56, 58         H7 (94R)        H7 (94R) AGM
   2015-11 V6/3.0L         Hybrid, PR Code J1N                                                  75 Ah33, 50, 54, 55, 56, 58   H7 (94R) AGM    —
   2014-11 V6/3.0L         Opt, PR Code J1D, HD                                                 64050, 55, 56, 58             —               —
   2014-11 V6/3.0L         Opt, PR Code J2T, w/o AGM                                            85 Ah50, 54, 55, 56, 58       —               —
   See page 158 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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   YEAR        ENGINE                                                         OPTIONS               ORIGINAL EQUIPMENT              GROUP SIZE    ALTERNATE SIZE
                                                                                                        CCA/RATING                   (NOTES)         (NOTES)

Volkswagen Touareg (continued)
2014-07     V6/3.6L      Opt 1 PR Code J1U                                                       76050, 54, 55, 56, 58         —                 H8 (49) AGM
2009-07     V8/4.2L                                                                              79050, 54, 56, 58             —
2009-07     V8/4.2L      PR Code J2T                                                             85 Ah50, 54, 55, 56, 58       —                 —
2009-04     V8/4.2L      Dsl, PR Code J1U                                                        76050, 54, 55, 56, 58         —                 H8 (49) AGM
2009-04     V8/4.2L      PR Code J0B                                                             85033, 50, 54, 55, 56, 58     H8 (49) AGM       —
2009-04     V8/4.2L      PR Code J1U                                                             76050, 54, 55, 56, 58         —                 H8 (49) AGM
2009-04     V8/4.2L      PR Code J2T. Under seat w/o AGM                                         85 Ah50, 54, 55, 56, 58       —                 —
2008-07     V10/5.0L     Dsl                                                                     74050, 54, 56, 58             —
2008-05     V10/5.0L     In trunk AGM Battery                                                    92 Ah33, 50, 54, 55, 56, 58   H8 (49) AGM       —
2008-05     V10/5.0L     Under driver seat                                                       110 Ah50, 54, 55, 56, 58      —                 —
2008-05     V10/5.0L     w/o AGM                                                                 95 Ah50, 54, 55, 56, 58       —                 H8 (49) AGM
2007-06     V8/4.2L                                                                              74050, 54, 56, 58             —
2006-05     V10/5.0L     Dsl                                                                     85033, 50, 54, 56, 58         H8 (49) AGM       —
2006-05     V6/3.2L      PR Code J2T                                                             64050                         H7 (94R)          H7 (94R) AGM
2005-04     V8/4.2L                                                                              74050                         —                 H8 (49) AGM
2004        V10/4.9L     PR Code J1U                                                             76050, 54, 55, 56, 58         —                 H8 (49) AGM
2004        V10/4.9L     Auxiliary, Dsl, PR Code J0Z                                             95050, 54                     —                 H9 (95R) AGM
2004        V10/4.9L     Dsl, PR Code J0B, w/o AGM                                               95 Ah50, 54, 55, 56, 58       —                 H8 (49) AGM
2004        V6/3.2L      PR Code J2T                                                             64050, 54                     H7 (94R)          H7 (94R) AGM
Volkswagen Vanagon
1991-87 H4/2.1L                                                                                  500                           —
Volvo 1800
1967-61 L4/1.8L                                                                                  315                           24
1968    L4/1.8L                                                                                  350                           24
Volvo 240
1993-90 L4/2.3L          Std Battery                                                             500                           H5 (47)           H5 (47) AGM
1992-91 L4/2.3L          Opt                                                                     600                           H6 (48)           H6 (48) AGM
Volvo 740
1992-89     L4/2.3L      Std Battery                                                             460                           H5 (47)           H5 (47) AGM
1992-85     L4/2.3L                                                                              520                           H5 (47)           H5 (47) AGM
1992-85     L4/2.3L      Opt                                                                     600                           H6 (48)           H6 (48) AGM
1990        L4/2.3L      Opt                                                                     500                           H6 (48)           H6 (48) AGM
Volvo 760
1990-84     L4/2.3L                                                                              520                           H5 (47)           H5 (47) AGM
1990-84     L4/2.3L      Opt                                                                     600                           H6 (48)           H6 (48) AGM
1990-83     V6/2.8L                                                                              520                           H5 (47)           H5 (47) AGM
1990-83     V6/2.8L      Opt                                                                     600                           H6 (48)           H6 (48) AGM
1990        L4/2.3L                                                                              450                           H5 (47)           H5 (47) AGM
1990        V6/2.8L                                                                              450                           H5 (47)           H5 (47) AGM
Volvo 780
1991-90     L4/2.3L      Opt                                                                     600                           H6 (48)           H6 (48) AGM
1991-89     L4/2.3L                                                                              520                           H5 (47)           H5 (47) AGM
1990-87     V6/2.8L                                                                              520                           H5 (47)           H5 (47) AGM
1991        L4/2.3L      Coupe                                                                   440                           H5 (47)           H5 (47) AGM
1990        V6/2.8L      Opt                                                                     600                           H6 (48)           H6 (48) AGM
Volvo 850
1997-94 L5/2.3L          Std Battery                                                             520                           H5 (47)           H5 (47) AGM
1997-93 L5/2.4L                                                                                  520                           H5 (47)           H5 (47) AGM
Volvo 940
1995-91 L4/2.3L          Std Battery                                                             520                           H5 (47)           H5 (47) AGM
1992-91 L4/2.3L          Opt                                                                     600                           H6 (48)           H6 (48) AGM
Volvo 960
1997-92 L6/2.9L                                                                                  600                           H6 (48)           H6 (48) AGM
Volvo C30
2013-08     L5/2.5L                                                                              59050                         —
2013-07     L5/2.5L      Opt                                                                     80 Ah                         H7 (94R)          H7 (94R) AGM
2013-07     L5/2.5L      Std Battery                                                             59050                         —
2010-07     L5/2.4L                                                                              59050                         —
2010-07     L5/2.4L      Opt                                                                     70050                         H7 (94R)          H7 (94R) AGM
Volvo C40
2022                     Electric, Code CS0A                                                     76033                         H6 (48) AGM
Volvo C70
2013-06     L5/2.5L                                                                              59050                         —
2013-06     L5/2.5L      Opt                                                                     80 Ah                         H7 (94R)          H7 (94R) AGM
2013-06     L5/2.5L      Std Battery                                                             590                           —
2004-01     L5/2.3L                                                                              600                           H6 (48)           H6 (48) AGM
2004-01     L5/2.4L                                                                              600                           H6 (48)           H6 (48) AGM
2000-98     L5/2.3L                                                                              520                           H5 (47)           H5 (47) AGM
2000-98     L5/2.4L                                                                              520                           H5 (47)           H5 (47) AGM
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 158 for Footnotes. Selection may vary by warehouse.

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   Automotive/Light Truck                                                                                                                   153
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT        GROUP SIZE        ALTERNATE SIZE
                                                                                                       CCA/RATING             (NOTES)             (NOTES)

   Volvo S40
   2011-06     L5/2.5L                                                                          52050                    —
   2011-05     L5/2.5L     HD, Late 2004 on                                                     700                      H7 (94R)           H7 (94R) AGM
   2011-05     L5/2.5L     w/Premium Stereo                                                     70050                    H7 (94R)           H7 (94R) AGM
   2010-07     L5/2.4L     w/Premium Stereo                                                     70050                    H7 (94R)           H7 (94R) AGM
   2010-06     L5/2.4L                                                                          52050                    —
   2010-05     L5/2.4L                                                                          59050                    —
   2010-05     L5/2.4L     HD, Late 2004 on                                                     700                      H7 (94R)           H7 (94R) AGM
   2010-05     L5/2.5L                                                                          59050                    —
   2004-00     L4/1.9L     Early 2004                                                           600                      H6 (48)            H6 (48) AGM
   2002-00     L4/1.9L                                                                          600                      H6 (48)            H6 (48) AGM
   2011        L5/2.5L     w/o Premium Stereo                                                   59050                    —
   2005        L5/2.4L     Late 2004 on                                                         52050                    —
   2005        L5/2.5L     Late 2004 on                                                         52050                    —
   2004        L4/1.9L     Late                                                                 59050                    —
   2004        L4/1.9L     Late, w/Premium Stereo                                               70050                    H7 (94R)           H7 (94R) AGM
   2004        L4/1.9L     Turbo                                                                60050                    H6 (48)            H6 (48) AGM
   2004        L5/2.4L     Early                                                                600                      H6 (48)            H6 (48) AGM
   2004        L5/2.4L     Late                                                                 59050                    —
   2004        L5/2.4L     Late, w/Premium Stereo                                               70050                    H7 (94R)           H7 (94R) AGM
   2004        L5/2.5L     Early                                                                600                      H6 (48)            H6 (48) AGM
   2004        L5/2.5L     Late                                                                 59050                    —
   2004        L5/2.5L     Late, w/Premium Stereo                                               70050                    H7 (94R)           H7 (94R) AGM
   Volvo S60
   2022-19     L4/2.0L     Auxiliary                                                            18033, 50                —                  —
   2022-19     L4/2.0L     PR Code CS0C                                                         80033, 50                H7 (94R) AGM       —
   2018-17     L4/2.0L     Auxiliary                                                            18033, 50                —                  —
   2018-17     L4/2.0L     V Code CS01                                                          60050                    H6 (48)            H6 (48) AGM
   2018-17     L4/2.0L     V Code CS02                                                          52050                    H5 (47)            H5 (47) AGM
   2018-17     L4/2.0L     V Code CS03                                                          70050                    —                  —
   2018-17     L4/2.0L     V Code CS13                                                          80033, 50                H7 (94R) AGM       —
   2016-15     L4/2.0L     Start/Stop, Opt                                                      76033, 50                H6 (48) AGM        —
   2016-15     L5/2.5L     Opt, w/Premium Stereo                                                76033, 50                H6 (48) AGM        —
   2016-15     L6/3.0L     Opt, w/Premium Stereo                                                76033, 50                H6 (48) AGM        —
   2016-12     L5/2.5L     w/Premium Stereo                                                     70050                    —
   2016-11     L5/2.5L     w/o Premium Stereo                                                   60050                    H6 (48)            H6 (48) AGM
   2016-11     L6/3.0L     w/o Premium Stereo                                                   60050                    H6 (48)            H6 (48) AGM
   2016-11     L6/3.0L     w/Premium Stereo                                                     70050                    —
   2009-03     L5/2.5L     Opt                                                                  80050                    —                  H8 (49) AGM
   2009-03     L5/2.5L     Std Battery                                                          60050                    H6 (48)            H6 (48) AGM
   2009-01     L5/2.4L     Opt                                                                  80050                    —                  H8 (49) AGM
   2009-01     L5/2.4L     Premium Audio, RTI, RSE Opt 1                                        80 Ah47, 50              —                  —
   2009-01     L5/2.4L     Std Battery                                                          60050                    H6 (48)            H6 (48) AGM
   2008-06     L5/2.4L                                                                          60050                    H6 (48)            H6 (48) AGM
   2007-04     L5/2.5L                                                                          60050                    H6 (48)            H6 (48) AGM
   2004-01     L5/2.3L     Opt                                                                  80050                    —                  H8 (49) AGM
   2004-01     L5/2.3L     Std Battery                                                          60050                    H6 (48)            H6 (48) AGM
   2003-01     L5/2.4L                                                                          60050                    H6 (48)            H6 (48) AGM
   2016        L4/2.0L     Start/Stop or Inscription                                            80033, 50                H7 (94R) AGM       —
   2016        L5/2.5L     Inscription                                                          80033, 50                H7 (94R) AGM       —
   2016        L6/3.0L     Polestar                                                             76033, 50                H6 (48) AGM        —
   Volvo S60 Cross Country
   2018        L4/2.0L     Auxiliary                                                            180
   2018        L4/2.0L     V Code CS01                                                          60050                    H6 (48)            H6 (48) AGM
   2018        L4/2.0L     V Code CS02                                                          52050                    H5 (47)            H5 (47) AGM
   2018        L4/2.0L     V Code CS03                                                          70050                    —                  —
   2018        L4/2.0L     V Code CS13                                                          80033, 50                H7 (94R) AGM       —
   2017        L4/2.0L     Inscription                                                          80033, 50                H7 (94R) AGM       —
   2017        L4/2.0L     Opt, w/Premium Stereo                                                76033, 50                H6 (48) AGM        —
   2017        L4/2.0L     w/o Premium Stereo                                                   60050                    H6 (48)            H6 (48) AGM
   2017        L4/2.0L     w/Premium Stereo                                                     70050                    —
   2016        L5/2.5L                                                                          76033, 50                H6 (48) AGM        —
   2016        L5/2.5L     Inscription                                                          80033, 50                H7 (94R) AGM       —
   2016        L5/2.5L     Opt, w/Premium Stereo                                                76033, 50                H6 (48) AGM        —
   2016        L5/2.5L     w/o Premium Stereo                                                   60050                    H6 (48)            H6 (48) AGM
   2016        L5/2.5L     w/Premium Stereo                                                     70050                    —
   Volvo S70
   2000-98 L5/2.3L         Opt                                                                  600                      H6 (48)            H6 (48) AGM
   2000-98 L5/2.3L         Std Battery                                                          520                      H5 (47)            H5 (47) AGM
   2000-98 L5/2.4L         Opt                                                                  600                      H6 (48)            H6 (48) AGM
   2000-98 L5/2.4L         Std Battery                                                          520                      H5 (47)            H5 (47) AGM
   2000       L5/2.4L                                                                           600                      H6 (48)            H6 (48) AGM
   1999       L5/2.4L                                                                           520                      H5 (47)            H5 (47) AGM
   1999       L5/2.4L      From Chassis #491304                                                 600                      H6 (48)            H6 (48) AGM
   See page 158 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

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   YEAR        ENGINE                                                         OPTIONS                 ORIGINAL EQUIPMENT      GROUP SIZE       ALTERNATE SIZE
                                                                                                          CCA/RATING           (NOTES)            (NOTES)

Volvo S80
2016-15     L4/2.0L      Start/Stop                                                              80033, 50                 H7 (94R) AGM    —
2016-15     L4/2.0L      Start/Stop, Opt                                                         76033, 50                 H6 (48) AGM     —
2015-14     L6/3.0L      w/o Premium Stereo                                                      60050                     H6 (48)         H6 (48) AGM
2015-08     L6/3.0L      w/Premium Stereo                                                        70050                     —
2014-08     L6/3.0L      Premium Audio, RTI, RSE Opt 1                                           80 Ah47, 50               —
2014-07     L6/3.2L      Premium Audio, RTI, RSE Opt 1                                           80 Ah47, 50               —
2014-07     L6/3.2L      w/Premium Stereo                                                        70050                     —
2013-08     L6/3.0L                                                                              60050                     H6 (48)         H6 (48) AGM
2013-07     L6/3.2L                                                                              60050                     H6 (48)         H6 (48) AGM
2011-10     L6/3.0L      w/o Premium Stereo                                                      60050                     H6 (48)         H6 (48) AGM
2010-07     V8/4.4L                                                                              60050                     H6 (48)         H6 (48) AGM
2010-07     V8/4.4L      Premium Audio, RTI, RSE Opt 1                                           80 Ah47, 50               —
2010-07     V8/4.4L      Premium Audio, RTI, RSE Opt 2                                           80050                     —
2009-08     L6/3.2L      w/o Premium Stereo                                                      60050                     H6 (48)         H6 (48) AGM
2009-07     V8/4.4L      Opt                                                                     70050                     —
2006-04     L5/2.5L                                                                              60050                     H6 (48)         H6 (48) AGM
2006-04     L5/2.5L      Opt                                                                     80050                     —               H8 (49) AGM
2005-99     L6/2.9L                                                                              60050                     H6 (48)         H6 (48) AGM
2005-99     L6/2.9L      Opt                                                                     80050                     —               H8 (49) AGM
2001-99     L6/2.8L                                                                              60050                     H6 (48)         H6 (48) AGM
2001-99     L6/2.8L      Opt                                                                     80050                     —               H8 (49) AGM
2015        L4/2.0L      w/o Premium Stereo                                                      60050                     H6 (48)         H6 (48) AGM
2015        L4/2.0L      w/Premium Stereo                                                        70050                     —
2015        L6/3.0L      Opt, w/Premium Stereo                                                   76033, 50                 H6 (48) AGM     —
2014        L6/3.2L      w/o Premium Stereo                                                      60050                     H6 (48)         H6 (48) AGM
2010        V8/4.4L      w/Premium Stereo                                                        70050                     —
Volvo S90
2022-21     L4/2.0L      V Code CS04                                                             85033, 50                 H8 (49) AGM     —
2022-21     L4/2.0L      US Code CS04: Can Code CS03, CS0B                                       80033, 50                 H7 (94R) AGM
2022-18     L4/2.0L      Auxiliary                                                               18033, 50                 —               —
2020-18     L4/2.0L      PR Code CS04                                                            80033, 50                 H7 (94R) AGM    —
1998-97     L6/2.9L                                                                              60050                     H6 (48)         H6 (48) AGM
2017        L4/2.0L      Auxiliary for Start/Stop                                                45
                                                                                                                           —               —
2017        L4/2.0L                                                                              80033, 50                 H7 (94R) AGM    —
2017        L4/2.0L      Opt                                                                     85033, 50                 H8 (49) AGM     —
Volvo V40
2004-00 L4/1.9L                                                                                  60050                     H6 (48)         H6 (48) AGM
Volvo V50
2011-05     L5/2.5L                                                                              590                       —
2011-05     L5/2.5L      Opt                                                                     700                       H7 (94R)        H7 (94R) AGM
2010-05     L5/2.4L                                                                              590                       —
2010-05     L5/2.4L      Opt                                                                     700                       H7 (94R)        H7 (94R) AGM
2007-05     L5/2.5L      w/o Premium Stereo                                                      59050                     —
2007-05     L5/2.5L      w/Premium Stereo                                                        70050                     H7 (94R)        H7 (94R) AGM
Volvo V60
2022-19     L4/2.0L      PR Code CS0C                                                            80033, 50                 H7 (94R) AGM    —
2022-17     L4/2.0L      Auxiliary                                                               18033, 50                 —               —
2018-17     L4/2.0L      V Code CS01                                                             600                       H6 (48)         H6 (48) AGM
2018-17     L4/2.0L      V Code CS02                                                             520                       H5 (47)         H5 (47) AGM
2018-17     L4/2.0L      V Code CS03                                                             700                       —               —
2018-17     L4/2.0L      V Code CS04                                                             800                       —               —
2018-17     L4/2.0L      V Code CS0D or CS0F, EFB                                                72050, 59                 —               —
2018-17     L4/2.0L      V Code CS13                                                             800                       H7 (94R) AGM    —
2016-15     L4/2.0L      Start/Stop, Opt                                                         76033, 50                 H6 (48) AGM     —
2016-15     L6/3.0L      Opt, w/Premium Stereo                                                   76033, 50                 H6 (48) AGM     —
2016-15     L6/3.0L      w/o Premium Stereo                                                      60050                     H6 (48)         H6 (48) AGM
2016        L4/2.0L                                                                              76033, 50                 H6 (48) AGM     —
2016        L4/2.0L      Start/Stop or Inscription                                               80033, 50                 H7 (94R) AGM    —
2016        L6/3.0L      Polestar                                                                76033, 50                 H6 (48) AGM     —
2016        L6/3.0L      w/Premium Stereo                                                        700                       —
2015        L4/2.0L                                                                              80033, 50                 H7 (94R) AGM    —
2015        L4/2.0L      Start/Stop                                                              80033, 50                 H7 (94R) AGM    —
2015        L5/2.5L      Opt, w/Premium Stereo                                                   76033, 50                 H6 (48) AGM     —
2015        L5/2.5L      w/o Premium Stereo                                                      60050                     H6 (48)         H6 (48) AGM
2015        L5/2.5L      w/Premium Stereo                                                        70050                     —
2015        L6/3.0L      w/Premium Stereo                                                        70050                     —
Volvo V60 Cross Country
2022-19     L4/2.0L      PR Code CS0C                                                            80033, 50                 H7 (94R) AGM    —
2022-17     L4/2.0L      Auxiliary                                                               18033, 50                 —               —
2018-17     L4/2.0L      V Code CS01                                                             600                       H6 (48)         H6 (48) AGM
2018-17     L4/2.0L      V Code CS02                                                             520                       H5 (47)         H5 (47) AGM
Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.             See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                                                Costco_002119
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   Automotive/Light Truck                                                                                                                   155
      YEAR        ENGINE                                          OPTIONS                          ORIGINAL EQUIPMENT        GROUP SIZE         ALTERNATE SIZE
                                                                                                       CCA/RATING             (NOTES)              (NOTES)

   Volvo V60 Cross Country (continued)
   2018-17     L4/2.0L     V Code CS03                                                          700                      —                  —
   2018-17     L4/2.0L     V Code CS04                                                          800                      —                  —
   2018-17     L4/2.0L     V Code CS0D or CS0F, EFB                                             72050, 59                —                  —
   2018-17     L4/2.0L     V Code CS13                                                          80033, 50                H7 (94R) AGM       —
   2016-15     L5/2.5L     Opt, w/Premium Stereo                                                76033, 50                H6 (48) AGM        —
   2016-15     L5/2.5L     w/o Premium Stereo                                                   60050                    H6 (48)            H6 (48) AGM
   2016-15     L5/2.5L     w/Premium Stereo                                                     70050                    —
   2016        L5/2.5L     Inscription                                                          80033, 50                H7 (94R) AGM       —
   Volvo V70
   2010-08     L6/3.2L     Ex Premium Audio, RTI, RSE                                           60050                    H6 (48)            H6 (48) AGM
   2010-08     L6/3.2L     Premium Audio, RTI, RSE                                              80 Ah47, 50              —
   2010-08     L6/3.2L     w/Premium Stereo                                                     70050                    —
   2007-98     L5/2.4L                                                                          520                      H5 (47)            H5 (47) AGM
   2007-98     L5/2.4L     Opt 1                                                                60050                    H6 (48)            H6 (48) AGM
   2007-03     L5/2.5L                                                                          520                      H5 (47)            H5 (47) AGM
   2007-03     L5/2.5L     HD, Electronic Upgrade                                               80050                    —                  H8 (49) AGM
   2007-03     L5/2.5L     Opt 1                                                                60050                    H6 (48)            H6 (48) AGM
   2007-02     L5/2.4L     HD, Electronic Upgrade                                               80050                    —                  H8 (49) AGM
   2004-98     L5/2.3L                                                                          520                      H5 (47)            H5 (47) AGM
   2004-02     L5/2.3L     HD, Electronic Upgrade                                               80050                    —                  H8 (49) AGM
   2004-01     L5/2.3L     Opt 1                                                                60050                    H6 (48)            H6 (48) AGM
   2003-99     L5/2.4L                                                                          52050                    H5 (47)            H5 (47) AGM
   2003-99     L5/2.4L     Opt                                                                  60050                    H6 (48)            H6 (48) AGM
   2003-02     L5/2.4L     Opt                                                                  80050                    —                  H8 (49) AGM
   2000-98     L5/2.3L     Opt                                                                  60050                    H6 (48)            H6 (48) AGM
   Volvo V90
   2021-18     L4/2.0L     Auxiliary                                                            18033, 50                —                  —
   2021-18     L4/2.0L     V Code CS0C,CS03                                                     80033, 50                H7 (94R) AGM       —
   2021-18     L4/2.0L     V Code CS0E, CS04                                                    85033, 50                H8 (49) AGM        —
   1998-97     L6/2.9L                                                                          60050                    H6 (48)            H6 (48) AGM
   Volvo V90 Cross Country
   2022-17 L4/2.0L         Auxiliary                                                            18033, 50                —                  —
   2022-17 L4/2.0L         V Code CS0C,CS03                                                     80033, 50                H7 (94R) AGM       —
   2022-17 L4/2.0L         V Code CS0E, CS04                                                    85033, 50                H8 (49) AGM        —
   Volvo XC40
   2022-21                 Electric                                                             76033, 50                H6 (48) AGM        —
   2021-19     L4/2.0L     Auxiliary                                                            18033, 50                —                  —
   2020-19     L4/2.0L                                                                          76033, 50                H6 (48) AGM        —
   2021        L4/2.0L     V Code CS07, CS09                                                    72059                    —                  —
   2021        L4/2.0L     V Code CS0F, CS0A                                                    76033, 50                H6 (48) AGM        —
   Volvo XC60
   2022-18     L4/2.0L     Opt, V Code CS02                                                     85033, 50                H8 (49) AGM        —
   2022-18     L4/2.0L     V Code CS02,V Code CS03                                              80033, 50                H7 (94R) AGM       —
   2022-17     L4/2.0L     Auxiliary                                                            18033, 50                —                  —
   2020-18     L4/2.0L     V Code CS0C                                                          85033, 50                H8 (49) AGM        —
   2016-15     L4/2.0L     Start/Stop                                                           80033, 50                H7 (94R) AGM       —
   2016-15     L4/2.0L     Start/Stop, Opt                                                      76033, 50                H6 (48) AGM        —
   2016-15     L5/2.5L     Opt, w/Premium Stereo                                                76033, 50                H6 (48) AGM        —
   2016-15     L5/2.5L     w/o Premium Stereo                                                   60050                    H6 (48)            H6 (48) AGM
   2016-15     L5/2.5L     w/Premium Stereo                                                     70050                    —
   2016-15     L6/3.0L     Opt, w/Premium Stereo                                                76033, 50                H6 (48) AGM        —
   2016-10     L6/3.0L     w/o Premium Stereo                                                   60050                    H6 (48)            H6 (48) AGM
   2016-10     L6/3.0L     w/Premium Stereo                                                     70050                    —
   2015-10     L6/3.2L     w/o Premium Stereo                                                   60050                    H6 (48)            H6 (48) AGM
   2015-10     L6/3.2L     w/Premium Stereo                                                     70050                    —
   2014-10     L6/3.0L     Opt                                                                  80 Ah47                  —
   2014-10     L6/3.2L     Opt                                                                  80 Ah47                  —
   2013-10     L6/3.0L     Std Battery                                                          70 Ah                    H6 (48)            H6 (48) AGM
   2013-10     L6/3.2L                                                                          70 Ah                    H6 (48)            H6 (48) AGM
   2017        L4/2.0L     PR Code CS01                                                         600                      H6 (48)            H6 (48) AGM
   2017        L4/2.0L     PR Code CS02                                                         520                      H5 (47)            H5 (47) AGM
   2017        L4/2.0L     PR Code CS03                                                         700                      —                  —
   2017        L4/2.0L     PR Code CS13                                                         80033, 50                H7 (94R) AGM       —
   Volvo XC70
   2016-15     L4/2.0L     E-FWD Pkg, Keyless locking                                           70 Ah33, 50              H6 (48) AGM        —
   2016-15     L4/2.0L     Start/Stop                                                           80033, 50                H7 (94R) AGM       —
   2016-15     L4/2.0L     Start/Stop, Opt                                                      76033, 50                H6 (48) AGM        —
   2015-09     L6/3.0L     w/o Premium Stereo                                                   60050                    H6 (48)            H6 (48) AGM
   2015-09     L6/3.0L     w/Premium Stereo                                                     70050                    —
   2015-08     L6/3.2L     w/o Premium Stereo                                                   60050                    H6 (48)            H6 (48) AGM
   2015-08     L6/3.2L     w/Premium Stereo                                                     70050                    —
   See page 158 for Footnotes. Selection may vary by warehouse.             Note: PR Codes are located on a tag near the spare tire or in the warranty booklet.

                                                                                                                                                      Costco_002120
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156                                                         Automotive/Light Truck
  YEAR      ENGINE                                OPTIONS              ORIGINAL EQUIPMENT        GROUP SIZE       ALTERNATE SIZE
                                                                           CCA/RATING             (NOTES)            (NOTES)

Volvo XC70 (continued)
2014-09   L6/3.0L    SI6                                             590                    H6 (48)           H6 (48) AGM
2014-09   L6/3.0L    SI6, Prem Audio, RTI, RSE                       80 Ah47                —
2014-08   L6/3.2L    SI6                                             590                    H6 (48)           H6 (48) AGM
2014-08   L6/3.2L    SI6, Prem Audio, RTI, RSE                       80 Ah47                —
2007-04   L5/2.5L                                                    52050                  H5 (47)           H5 (47) AGM
2007-04   L5/2.5L    Opt                                             60050                  H6 (48)           H6 (48) AGM
2007-03   L5/2.5L    Ex Premium Audio, RTI, RSE                      52050                  H5 (47)           H5 (47) AGM
2007-03   L5/2.5L    Opt                                             80050                  —                 H8 (49) AGM
2007-03   L5/2.5L    RTI, RSE, Opt 1                                 60050                  H6 (48)           H6 (48) AGM
2016      L5/2.5L                                                    80 Ah33                H7 (94R) AGM      —
2016      L5/2.5L    AWD                                             70 Ah33, 50            H6 (48) AGM       —
2016      L5/2.5L    Opt, w/Premium Stereo                           76033, 50              H6 (48) AGM       —
2016      L5/2.5L    w/o Premium Stereo                              60050                  H6 (48)           H6 (48) AGM
2016      L5/2.5L    w/Premium Stereo                                70050                  —
2015      L4/2.0L                                                    80033, 50              H7 (94R) AGM      —
2015      L6/3.0L    Opt, w/Premium Stereo                           76033, 50              H6 (48) AGM       —
2015      L6/3.2L    Opt, w/Premium Stereo                           76033, 50              H6 (48) AGM       —
Volvo XC90
2022-18   L4/2.0L    V Code CS0E, CS04                               85033, 50              —                 —
2022-17   L4/2.0L    Auxiliary                                       18033, 50              —                 —
2022-17   L4/2.0L    V Code CS03, CS0C                               80033, 50              H7 (94R) AGM      —
2014-07   L6/3.2L    Opt                                             76050                  —                 H8 (49) AGM
2014-07   L6/3.2L    Std Battery                                     60050                  H6 (48)           H6 (48) AGM
2011-05   V8/4.4L    Opt                                             76050                  —                 H8 (49) AGM
2011-05   V8/4.4L    Std Battery                                     60050                  H6 (48)           H6 (48) AGM
2010-07   L6/3.2L                                                    60050                  H6 (48)           H6 (48) AGM
2006-04   L5/2.5L                                                    60050                  H6 (48)           H6 (48) AGM
2006-03   L5/2.5L    Opt                                             76050                  —                 H8 (49) AGM
2006-03   L5/2.5L    Std Battery                                     60050                  H6 (48)           H6 (48) AGM
2005-03   L6/2.9L                                                    60050                  H6 (48)           H6 (48) AGM
2005-03   L6/2.9L    Opt                                             76050                  —                 H8 (49) AGM
2005-03   L6/2.9L    Std Battery                                     60050                  H6 (48)           H6 (48) AGM
2017      L4/2.0L    V Code CS04                                     8533, 50               H8 (49) AGM       —
2016      L4/2.0L    Early                                           85033, 50              H8 (49) AGM       —
2016      L4/2.0L    Late                                            80 Ah33, 50            H7 (94R) AGM      —
VPG MV-1
2012-11 V8/4.6L                                                      750                    65                65 AGM
Workhorse FasTrack FT1061
2005-04 V8/4.8L                                                      690                    78
2004-02 V8/5.7L                                                      690                    78
Workhorse FasTrack FT1260
2001-00 V8/5.7L                                                      690                    78
Workhorse FasTrack FT1261
2005-04 L4/3.9L                                                      690                    78
2005-02 V8/5.7L                                                      690                    78
2005    V8/4.8L                                                      690                    78
Workhorse FasTrack FT1460
2002-00 V8/5.7L                                                      690                    78
Workhorse FasTrack FT1461
2005-04   L4/3.9L                                                    690                    78
2005-04   V8/4.8L                                                    690                    78
2005-04   V8/6.0L                                                    690                    78
2005-02   V8/5.7L                                                    690                    78
Workhorse FasTrack FT1600
2001-00 V8/5.7L                                                      690                    78
Workhorse FasTrack FT1601
2005-04 L4/3.9L                                                      690                    78
2005-04 V8/4.8L                                                      690                    78
2005-02 V8/5.7L                                                      690                    78
Workhorse FasTrack FT1800
2001-00 V8/5.7L                                                      690                    78
Workhorse FasTrack FT1801
2005-04 V8/6.0L                                                      690                    78
2005-02 V8/6.5L                                                      6002                   78
2004-02 V8/5.7L                                                      690                    78
Workhorse FasTrack FT1802
2003-02 V8/5.7L                                                      690                    78
2003-02 V8/6.5L                                                      6002                   78
                                                                    See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                                   Costco_002121
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   Automotive/Light Truck                                                                                            157
      YEAR        ENGINE                                          OPTIONS     ORIGINAL EQUIPMENT        GROUP SIZE   ALTERNATE SIZE
                                                                                  CCA/RATING             (NOTES)        (NOTES)

   Workhorse FasTrack FT931
   2003-02 V6/4.3L                                                          690                    78
   Workhorse P30
   2005-00 V8/5.7L                                                          690                    78
   Yugo Cabrio
   1991-90 L4/1.3L                                                          370                    58
   1992    L4/1.3L                                                          37045                  58
   Yugo GV
   1992        L4/1.3L                                                      37045                  —
   1991        L4/1.3L                                                      370                    —
   1990        L4/1.3L                                                      370                    —




   See page 158 for Footnotes. Selection may vary by warehouse.

                                                                                                                           Costco_002122
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Footnotes                                                                                                                                   158
2.     Two batteries may be required.
    %HVWŴWHVWLPDWH
    & KHFNIRUKHLJKW KRRGFOHDUDQFH WUD\URRPDQGKROGGRZQŴW&KHFNFOHDUDQFHEHIRUHFRQQHFWLQJFDEOHV
7.     Check polarity and cable length before connecting cables.
9. Manufacturer’s recommended replacement battery shown. May vary from OE battery.
 0
      RGLŴFDWLRQRIKROGGRZQRUKHDWVKLHOGPD\EHQHFHVVDU\
 2(EDWWHU\KDVŵXVKYHQWV
 5 HTXLUHVLQGLYLGXDOYHQWFDSVIRUSURSHUKRRGFOHDUDQFH'RQRWŴWEDWWHULHVZLWKSRGW\SHYHQWFDSV
18. I-drive vehicles require system reset after battery installation. See BMW authorized repair for service.
23. Special 12V: 10" x 6 1Ş16" x 8 3Ş8". Check polarity before installing.
30. Special 12V: 9" x 7 1Ş4" x 7 1Ş2"
31. Special deep-cycle battery
33.    Valve-regulated AGM battery
34.    Vibration-resistant battery
35.    Without handle bracket
40.    Battery in “active cooling box” with air snorkel to outside of engine compartment.
45.    Non-BCI group size
47.    The recommended battery for this vehicle is based on Ah and not CCA.
48.    May not meet OE requirements.
50.    Battery is vented outside of vehicle.
51.    Battery may require vent hose.
54. CCA is an EN (European Norm) rating
55. Vehicle computer system must be reset. Contact your service specialist.
56. Various group size batteries used in production.
57. Models (2008 and 2009) with “MyGig” REN or REZ radios require the feed fuse for the radio to be removed before disconnecting battery.
    See Chrysler 08-003-09 Service procedure.
58. PR Codes are located on a tag near the spare tire or in the warranty booklet.
59. Enhanced Flooded Battery (EFB)
60. Lithium-ion battery only
61. With sensor




                                                                                                                                                  Costco_002123
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   Notes                                                                     159




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                                 BATTERY
                                 BASICS                               AGM VS. FLOODED




    INTERSTATE® ABSORBED GLASS-MAT (AGM)) BATTERIES DUH
                                        ZHU UHOLDELOLW\
    GHVLJQHG WR SURYLGH WKH VXSHULRU SRZHU
    DQG VDIHW\ QHHGHG IRU PDQ\ RI WRGD\ŔV
                                        \ŔV YHKLFOHV
    7RGD\ YHKLFOHV KDYH  HOHFWULFDO GHYLFHV  \HDUV
                                        ern Tire Dealer
    DJR YHKLFOHV KDG DURXQG  — Modern
    • 'HVLJQHG IRU KLJKHU DFFHVVRU\ ORDGV
                                        DGV VWDUWVWRS
     V\VWHPV *36 %OXHWRRWK VDWHOOLWH UDGLR DQG PRUH
    • 6XSHULRU VWDUWLQJ SRZHU DQG SHUIRUPDQFH
                                       UPDQFH LQ
     H[WUHPH ZHDWKHU FRQGLWLRQV
    •   6SLOOSURRI GHVLJQ




                                                            INTERSTATE STARTING/STANDARD BATTERIES SURYLGH
                                                            INTERSTATE
                                                            WKH SRZHU WR VWDUW D YHKLFOH DQG VXSSRUW VWDQGDUG
                                                            HOHFWULFDO DFFHVVRULHV UHOLDEO\
                                                            •   ,QWHQGHG IRU QRUPDO VWDUWLQJ OLJKWLQJ DQG LJQLWLRQ
                                                            •   5HOLDEOH FUDQNLQJ SRZHU
                                                            •   )LWV VWDQGDUG YHKLFOH PRGHOV
                                                            6WLOOQRWVXUHDERXWWKHEHVWĬWIRU\RXUYHKLFOH"
                                                            &RQVXOWWKLVEDWWHU\UHSODFHPHQWJXLGHRUD&RVWFR
                                                            VDOHVDVVRFLDWHIRUPRUHLQIRUPDWLRQ




                                          COSTCO LIMITED BATTERY WARRANTY
                  $XWRPRWLYH EDWWHULHV DUH EDFNHG E\ DQ H[FOXVLYH ZDUUDQW\ 7KH ZDUUDQW\ LV SRVWHG
                     DW WKH EDWWHU\ UDFN GLVSOD\ <RX PD\ DOVR YLVLW WKH 7LUH 6DOHV 'HVN IRU GHWDLOV




                                                                                                                      Costco_002126
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                                        BATTERY REPLACEMENT GUIDE 2022
                                          USA




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